                           Case 22-11238-LSS           Doc 2      Filed 11/30/22        Page 1 of 5495




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 11

             WINC, INC., et al.,1                                    Case No. 22- _____ (___)

                                              Debtors.               (Joint Administration Requested)


                      CERTIFICATION OF DEBTORS’ CONSOLIDATED CREDITOR MATRIX

                      In accordance with rule 1007(a) of the Federal Rules of Bankruptcy Procedure and rule

         1007-2(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States

         Bankruptcy Court for the District of Delaware (the “Local Rules”), a list of creditors (the “Creditor

         Matrix”) of the above-captioned debtors and debtors in possession (collectively, the “Debtors”) is

         filed by attachment hereto.

                      The Creditor Matrix has been prepared, on a consolidated basis, from the Debtors’ books

         and records. The undersigned, Brian Smith, Interim Chief Executive Officer for the Debtors,

         hereby certifies that the Creditor Matrix contains the names and addresses of all creditors of the

         Debtors that could be ascertained after diligent inquiry, based on a review of the Debtors’ books

         and records and is consistent with the information contained therein. To the extent practicable,

         the Creditor Matrix complies with Local Rule 1007-1(a). The Debtors reserve the right to amend

         or supplement the Creditor Matrix as necessary.

                      Although the information contained in the Creditor Matrix is based on a review of the

         Debtors’ books and records, the Debtors have not completed a comprehensive legal and/or factual

         investigation with regard to possible defenses of the Debtors and their estates to any claims of the


         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Winc, Inc. (8960); BWSC, LLC (0899); and Winc Lost Poet, LLC (N/A). The Debtors’ mailing address
         for purposes of these chapter 11 cases is 1751 Berkeley Street, Studio 3, Santa Monica, CA 90404.

29890627.1
                        Case 22-11238-LSS        Doc 2    Filed 11/30/22     Page 2 of 5495




         potential claimants included in the Creditor Matrix. In addition, certain of the parties included in

         the Creditor Matrix may not hold outstanding claims as of the date hereof, and therefore may not

         be creditors of the Debtors and their estates for purposes of these chapter 11 cases. Therefore, the

         Creditor Matrix does not and should not be deemed or otherwise construed to constitute either

         (i) a waiver of any defense of the Debtors and their estates to any claims that may be asserted

         against the Debtors and their estates or (ii) an acknowledgement or admission of the validity,

         priority, or amount of any claims that may be asserted against the Debtors and their estates.


             Dated: November 30, 2022          /s/ Brian Smith
                                               Brian Smith
                                               Interim Chief Executive Officer




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                                                          2
1 800 GOT JUNK          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     101, ROOMMATES                            Page
                                                                                  12 3 of 5495 LLC (PERKSPOT)
                                                                                     INTERACTIVE
301-887 GREAT NORTHERN WAY           ADDRESS AVAILABLE UPON REQUEST                216 W. OHIO ST. FLOOR 4
VANCOUVER, BC V5T4T5                                                               CHICAGO, IL 60614
CANADA




1425 MARKET ST LLC                      1440 MEDIA, LLC                            1487 EXTRA SPACE
ADDRESS UNAVAILABLE AT TIME OF FILING   222 W MERCHANDISE MART PLAZA SUITE         ADDRESS UNAVAILABLE AT TIME OF FILING
                                        1212
                                        CHICAGO, IL 60654




15 ANGELS II LLC                        1515 GARNET LLC                            1515 GARNET MINE ROAD HOLDINGS LP
1865 PALMER AVENUE SUITE 104            1000A LAKE STREET                          900 ROUTE 9
LARCHMONT, NY 10538                     RAMSEY, NJ 07446                           NORTH WOODBRIDGE, NJ 07095




1515 GARNET MINE ROAD HOLDINGS LP       1515 GARNET MINE ROAD HOLDINGS LP          1515 GARNET MINE ROAD HOLDINGS LP
ATTN: MARK WHITE                        C/O COMPASSROCK REAL ESTATE 2.0, LLC       C/O CWCAPITAL ASSET MANAGEMENT LLC
1515 GARNET MINE RD, STE A              10700 E. BETHANY DRIVE, SUITE 101          7501 WISCONSIN AVE, STE 500 W
BETHEL TOWNSHIP, PA 19060               DENVER, CO 80014                           BETHESDA, MD 20814




1515 GARNET MINE ROAD HOLDINGS LP       1515 GARNET MINE ROAD HOLDINGS LP          1515 GARNET MINE VENTURES, LLC
C/O CWCAPITAL ASSET MANAGEMENT LLC      C/O ONYX EQUITIES LLC                      (MARYLAND)
ATTN ALEX KILLICK                       ATTN MICHAEL NEVINS                        1010 WISCONSIN AVE NW, SUITE 307
7501 WISCONSIN AVE, STE 500 W           900 RT 9N, STE 400                         WASHINGTON, DC 20008
BETHESDA, MD 20814                      WOODBRIDGE, NJ 07095



1515 GARNET MINE VENTURES, LLC          1515 GARNET MINE VENTURES, LLC             1515 GARNET MINE VENTURES, LLC
(MARYLAND)                              (MARYLAND)                                 (MARYLAND)
2233 WISCONSIN AVE NW, SUITE 520        EVERGREEN PRIVATE FINANCE                  PO BOX 60937
WASHINGTON, DC 20007                    1010 WISCONSIN AVE NW, SUITE 307           POTOMAC, MD 20859
                                        WASHINGTON, DC 20007



1535 6TH ST, CHASEN DANIELS             15FIVE, INC.                               1745 BERKELEY LLC
ADDRESS AVAILABLE UPON REQUEST          3053 FILLMORE STREET 279                   11601 WILSHIRE BLVD., 2180
                                        SAN FRANCISCO, CA 94123                    LOS ANGELES, CA 90025




1-800-FLOWERS.COM INC.                  1820 FRANKLIN STREET, INC                  1868 PUBLIC AFFAIRS, LLC
2 JERICHO PLZ STE 200                   DBA J & J MATERIAL HANDLING SYSTEMS        162 W STATE STREET, 1ST FLOOR
JERICHO, NY 11753-1681                  1820 FRANKLIN STREET                       TRENTON, NJ 08608
                                        COLUMBIA, PA 17512-2050




1FORPLANET                              1PASSWORD                                  1PASSWORD
ADDRESS UNAVAILABLE AT TIME OF FILING   4711 YONGE ST, 10TH FLOOR                  4711 YONGE ST, 10TH FLOOR
                                        TORONTO M2N 6K8                            TORONTO, ON M2N 6K8
                                        CANADA                                     CANADA




2013 BRAIN TUMOR WALK                   23H, 401 2ND AVE                           24 SEVEN STAFFING, INC.
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST             120 WOOSTER STREET, 4TH FLOOR
DENVER, CO                                                                         NEW YORK, NY 10012
24 SEVEN STAFFING, INC.     Case 22-11238-LSS
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                                                   LLC 2      Filed 11/30/22     Page
                                                                                    2464JEFFERSON
                                                                                         of 5495 DR, ROBERT E GARDNER JR
PO BOX 5854                               105 MAXESS ROAD, SUITE N201                ADDRESS AVAILABLE UPON REQUEST
HICKSVILLE, NY 11802-5854                 MELVILLE, NY 11747




2526199 ONTARIO INC                       3 SQUARE CAFE                              3 TIER BEVERAGES
105 HOPECREST ROAD                        1121 ABBOT KINNEY BLVD                     3501 N SOUTHPORT AVE 153
MARKHAM, ON L6C 2V7                       VENICE, CA 90291                           CHICAGO, IL 60657
CANADA




300 MILLIGRAMS INC.                       3000 NE 2ND AVE, JODY SPAZIANO             303 SOLUTIONS LLC
300 PIONEER WAY STE D                     ADDRESS AVAILABLE UPON REQUEST             2316 MALAGA PEAK
MOUNTAIN VIEW, CA 94041                                                              SUMMERLIN, NV 89135




3201 200TH AVE, CLARA KEVEK               360 SOCIAL                                 4-6 ROSE AVE LLC (THE ROSE ROOM LLC)
ADDRESS AVAILABLE UPON REQUEST            15112 ERIEL AVE                            2 ROSE AVENUE
                                          GARDENA, CA 90249                          VENICE, CA 90291




4IMPRINT                                  4INKJETS                                   500 STARTUPS
101 COMMERCE ST                           3788 HEINEMANN AVE                         4163 HUBBARTT DRIVE
OSHKOSH, WI 54901                         LONG BEACH, CA 90808                       PALO ALTO, CA 94306




5280 PUBLISHING INC                       5BY5 PRODUCTIONS LLC                       5FORMS
675 LARIMER ST # 675                      (QUIT, THE PIPELINE, & THE PODCAST         2765 MICHIGAN AVENUE RD NE
DENVER, CO 80202                          METHOD)                                    CLEVELAND, TN 37323
                                          3307 NORTHLAND DR. STE 295
                                          AUSTIN, TX 78731



727 ENTERTAINMENT, LLC                    7-ELEVEN                                   8 BUSY BS
1027 COURT STREET                         ONE ARTS PLAZA                             3140 MANOR BRIDGE DRIVE
SYRACUSE, NY 13208                        1722 ROUTH STREET, SUITE 1000              ALPHARETTA, GA 30004
                                          DALLAS, TX 75201




800 DEGREES                               8020 CONSULTING LLC                        8020 CONSULTING LLC
120 WILSHIRE BOULEVARD                    6303 OWENS MOUTH AVE., 6TH FLOOR           6303 OWENS MOUTH AVE., 6TH FLOOR
SANTA MONICA, CA 90401                    DAVID LEWIS, CHIEF EXECUTIVE OFFICER       WOODLAND HILLS, CA 91367
                                          WOODLAND HILLS, CA 91367




805 WINE SERVICES                         8443 WARNER                                879 USA PETROLEUM
179 NIBLICK RD SUITE 249                  8443 WARNER DRIVE                          ADDRESS UNAVAILABLE AT TIME OF FILING
PASO ROBLES, CA 93446                     CULVER CITY, CA 90232




880 PACIFIC STREET, HEIDI RUSTIN          95TH RIFLES CAPITAL LLC                    9744576 CANADA INC.
ADDRESS AVAILABLE UPON REQUEST            215 EMILY LN                               2570 CENTRE STREET
                                          YORKTOWN, VA 23690                         MONTREAL, QC H3K 1J8
                                                                                     CANADA
99 CENTS ONLY STORE    Case 22-11238-LSS      Doc 2
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                                                                                 A BRANTLEY,
241 LINCOLN BLVD                      ADDRESS UNAVAILABLE AT TIME OF FILING       ADDRESS AVAILABLE UPON REQUEST
VENICE, CA 90291




A DEMERLIS, JACQUELINE                A DENG, REBECCA                             A DENUZZIO, MARK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




A FARRAR, MELODY                      A FRAME OFFICE SUPPLIES                     A GENG, GENE
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A GIL SANCHEZ, RICHARD                A GRIFFITHS, KATHRYN                        A HARPER, PATRICIA
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A HARVEY, FRANCESCA                   A HEBNER, MARIA                             A HEDDEN, CHLOE
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A HERBERT ALEXANDER                   A JOHNSON, CHARLOTTE                        A KOSYDOR, KELLI
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A LAUCHIE, SHIRLEY                    A LOYA, CARLOS                              A PARKER, SHARAIN
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A PETERSON, CHARLOTTE                 A PLATT, CLAYTON                            A SANTIAGO, JOSE
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A SPANOGHE, CARL                      A SPILATORE, BARRY                          A TANICO, ALYSSA
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A THIESSEN, STEPHEN                   A VILLAROSA, KRYSTA                         A VINE APS.
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                                                                                  SKORPING 9520
                                                                                  DENMARK
A WEBER, KIMBERLY       Case 22-11238-LSS     Doc
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A WOODRUM, BRITTNEY                  A ZAREMBA, ANTHONY                    A&JAY, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1431 E. CHAPMAN AVE
                                                                           ORANGE, CA 92866




A, BLAZE                             A, CARLOS                             A, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




A, CHRISTA                           A, CHRISTOPHER                        A, CODY
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A, DANA                              A, DEBRA                              A, ELIZABETH
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A, EUN                               A, J                                  A, JANELLE
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A, JENNIFER                          A, JOSE                               A, KATHLEEN
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A, KATIE                             A, LAURA                              A, LEV
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A, LEX                               A, LUKE                               A, MADELINE
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A, MARY                              A, MBER                               A, MITY
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A, NIKA                              A, PATRICIA                                  A, REBECCA
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A, ROSS                              A, SARAH                                     A, SHANNON
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A, VICKI                             A, YOSHI                                     A. BRANCH-FORAKER, VELORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




A., AMINA                            A., DANIELLE                                 A., MELLISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




A., MICHELLE                         A.K.A. WINES LLC (SCRIBE WINERY- BWSC)       A.K.A. WINES LLC (SCRIBE WINERY- BWSC)
ADDRESS AVAILABLE UPON REQUEST       2100 DENMARK ST.                             PO BOX 11106
                                     SONOMA, CA 95476                             OAKLAND, CA 94611




A-1 ELECTRIC SERVICE CO, INC         A4D, INC.                                    AA
4204 SEPULVEDA BLVD                  6965 EL CAMINO REAL, 105-441                 ADDRESS AVAILABLE UPON REQUEST
CULVER CITY, CA 90230                CARLSBAD, CA 92009




AAAA OFFICE WAREHOUSE                AAKER, AMANDA                                AAKRE, SHIRLEY
3041 MARWIN RD                       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST
BENSALEM, PA 19020




AALAND, JANINE                       AALBERS, KAYLEE                              AANESTAD, ZOE
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AANONSEN, KAYE                       AARON ALICE ANDERSON                         AARON ANTHONY HASBUN
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AARON CARSON                        AARON CLEANERS                        AARON DRABKIN
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AARON FORMAN                        AARON FORMAN                          AARON GROSSKOPF
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AARON HEADLEY                       AARON JOHN BRINKERHOFF                AARON KAHN
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AARON KATEN                         AARON KELLY                           AARON KLEIN
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AARON KRIVITZKY                     AARON LEDET                           AARON MADISON DUFFY
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AARON MICHAEL REINBOLD              AARON MITCHELL                        AARON MOULTON
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AARON NISE                          AARON PORRAS                          AARON PUGH
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AARON ROSENBLATT                    AARON SAMPSON                         AARON V SMITH
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AARON VON GEISERT                   AARON WESSLEY SHONK                   AARON, ALANNA
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                                     AARON, BEN                       Page 9 of 5495
                                                                         AARON, BRITNEY
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AARON, CASSANDRA                    AARON, CHARISMA                       AARON, HALLI
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AARON, JOSEY                        AARON, LAURA                          AARON, MILLER LEE
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AARONS, MARTHA                      AARRON LIGHT                          AARTS, ADRIENNE
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AARUP, STEPHANIE                    AASEN, SHERI                          AASLID, ASHLEY
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ABAD, ANNAMARIA                     ABAD, CARLOS & NAYELI                 ABAD, EMILY
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ABAD, KATRINA                       ABAD, NATE                            ABAH, THERESA
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ABALIHI, NNAMDI                     ABALIHI, NNAMDI                       ABALO, MIGUEL
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ABALOV, GREGORY                     ABALOYAN, AIMEE                       ABARCA, CARLOS
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ABARE, KAREN                        ABATANGELO HIGGINS, JOSEPH            ABATE, ELLA
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ABATE, SELAMAWIT                     ABATEMARCO, VANESSA                  ABAUOG CORDERO, MEGANDA
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ABBA, KELLY                          ABBAD, GRISEL                        ABBAMONTE, MICHELLE
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ABBAS, JOE                           ABBASI, CRYSTAL                      ABBASI, MAHWISH
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ABBASSI, DESIREH                     ABBATE, ALLIE                        ABBATE, GAONE
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ABBATE, SHEENA                       ABBED, KEVIN                         ABBEY CARDENAS
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ABBEY EHMAN                          ABBEY TABACCHI                       ABBEY, KELSEY
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ABBIE SMITH                          ABBO, JAMI                           ABBONDANDELO, TINA
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ABBOTT, APRIL                        ABBOTT, BRANDY                       ABBOTT, CHARLES
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ABBOTT, CLAUDIA                      ABBOTT, ERIN                         ABBOTT, JAMES
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ABBOTT, KYRA                         ABBOTT, LINDSAY                      ABBOTT, MALLORY
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ABBOTT, MEGAN                        ABBOTT, MICHAEL                      ABBOTT, MONTY
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ABBOTT, NANCY                        ABBOTT, NATASHA                      ABBOTT, NICOLE
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ABBOTT, PARRI                        ABBOTT, ROBYN                        ABBOTT, ROXANNE
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ABBOTT, SAVANNAH                     ABBOTT, SHANNON                      ABBOTT, SONYA
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ABBOTT, STEVE                        ABBOTT, THERESA                      ABBOTT, TORI
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ABBOU, JULIE                         ABBOUD, DIMA                         ABBRUSCATO, JOSHUA
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ABBRUZZESE, MATTEO                   ABBRUZZESE, RICK                     ABBRUZZI, JC
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ABBY LOTZ                            ABBY ROLL                            ABBY SPIWAK
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3027 N SAN FERNANDO RD                 ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90065




ABDALA, JONATHAN                       ABDALLA, CHELSEA                     ABDALLAH KAMAL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ABDALLAH, HATEM                        ABDEL, MATTHEW                       ABDELAAL, ZAINEP
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ABDELAZIZ, DIANDRA                     ABDELHAMID, ISLAM                    ABDEL-JELIL, AMINA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ABDELKARIM, SANA                       ABDELLA, PATTIE                      ABDELRAHMAN, LIZ
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ABDELWAHED, SARAH                      ABDIELIZA ACEVEDO                    ABDO, KAITLYN
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ABDUL R KHAN                           ABDUL-AZEEM, RAHEEM                  ABDULLA, KARIMA
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ABDULLAH ALBYATI                       ABDULLAH SIDIQI                      ABDULLAH, CHRISTOPHER
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ABDULLAH, FATIMAH                      ABDULLAH, GABRIEL                    ABDULLAH, KALI
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ABDULLAH, KHADIJAH                     ABDULLAH, LINDSEY                    ABDULLAH, SAPHEERAH
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                                     ABE, LYNNE                       PageABE,
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                                                                               of 5495
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ABED, KATIE                          ABEDIN, ENCY                         ABEE, TAYLOR
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ABEGAIL, MA                          ABEL BECERRA                         ABEL ELLINGSON
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ABEL SILVA                           ABEL, ANGELA                         ABEL, ANNA
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ABEL, BECKY                          ABEL, CINDY                          ABEL, CLARA
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ABEL, CORBY                          ABEL, CORI                           ABEL, DANIEL
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ABEL, DANIELLE                       ABEL, DEREK                          ABEL, JARED
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ABEL, JESSICA                        ABEL, MELISSA                        ABEL, PATRICIA
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ABEL, RACHEL                         ABEL, SERRA                          ABEL, YVONNE
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ABELARDO, KIM                        ABELE, CAROLYN                       ABELEIN, CARLY
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                                     ABELL, CASSIE                    PageABELL,
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ABELL, NANCY                         ABELL, RACHEL                        ABELL, WHITNEY
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ABELLA, RONA                         ABELS, DAVE                          ABENDSCHEIN, CHASE
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ABENOJAR, JESSICA                    ABER, DANYELLE                       ABER, MICHELLE
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ABERBOOK, VICTORIA                   ABERCROMBIE, TIM                     ABERDEEN, SHEOMA
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ABERLE, CARLI                        ABERMAN, ALEX                        ABERNATHY, CATHERINE
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ABERNATHY, CRAIG                     ABERNATHY, ERIC                      ABERNATHY, OLIVIA
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ABERTE, JAIME                        ABEYSEKERA, TAMARSH                  ABEYTA, SHARI
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ABGARIAN, ALEX                       ABHILASH CHUTEI                      ABHISEK RATH
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ABHISHEK LINGINENI                   ABHISHEK PRASAD                      ABHYANKAR, CHINMAY
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ABIERA, AMANDA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ABIGAIL HERINGER                  PageABIGAIL
                                                                            15 of CECELIA
                                                                                   5495 FRAZIER
ADDRESS AVAILABLE UPON REQUEST       203 E 33RD STREET APT 17              ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10016




ABIGAIL GONNELLA                      ABIGAIL GORDON                       ABIGAIL KAWOLA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ABIGAIL LILLARD                       ABIGAIL ROSE HAWK                    ABIGAIL
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ABILASH PATEL (LOTUS CAPITAL)         ABILD, KIMBERLY                      ABINES, SHIRLEY
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ABINWI NCHISE                         ABISINITO, ABIGAIL                   ABITO, MIKE
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ABIUSO, ISABELLA                      ABLA, SARAH                          ABLAO, DAVID
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ABLE, ALLIE                           ABLES, ROBERT                        ABLOWICH, CONNOR
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ABM PARKING SERVICES                  ABM PARKING SERVICES                 ABN AMROCC (0695)
1150 SOUTH OLIVE STREET, 19TH FLOOR   2041 ROSECRANS AVE, SUITE 200        ATTN PROXY DEPT
LOS ANGELES, CA 90015                 EL SEGUNDO, CA 90245                 175 W. JACKSON BLVD
                                                                           STE 2050
                                                                           CHICAGO, IL 60605



ABNER, VANESSA                        ABNEY, JOSEPH                        ABOCHIE-ANSAH, ELISHA
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ABOKHODAIR, NORAH                     ABOLINS, KENNETH                     ABOOD, CHRIS
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ABOOD, JEFFREY          Case 22-11238-LSS   DocSAMIHA
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ABOUAF, JESSICA                      ABOUCH, ISLAM                        ABOUCHEDID, OLIVIA
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ABOULAFIA, LAUREN                    ABOURCHED, DIANA                     ABOUZEID, AJ
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ABOVITZ, ANDREW                      ABOZEED, MAGDA                       ABPLANALP, PAUL
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ABRA, BELKE,                         ABRACHINSKY, NICOLE                  ABRAHAM SALAS
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ABRAHAM, ALEXANDRIA                  ABRAHAM, ANTONY                      ABRAHAM, ASHLEA
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ABRAHAM, DAWN                        ABRAHAM, DEANNA                      ABRAHAM, EMILY
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ABRAHAM, ILANA                       ABRAHAM, JESSICA                     ABRAHAM, LEAH
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ABRAHAM, MICHAEL                     ABRAHAM, NIKKIA                      ABRAHAM, PRISCILA
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ABRAHAM, RACHEL                      ABRAHAM, RACHEL                      ABRAHAM, REBECCA
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ABRAHAM, SCOTT          Case 22-11238-LSS
                                     ABRAHAM,Doc  2 Filed 11/30/22
                                              SHARON                  PageABRAHAM,
                                                                           17 of 5495
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ABRAHAM, SHEEBA                      ABRAHAM, SHEENA                      ABRAHAM, VICTOR
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ABRAHAMI, DANIEL                     ABRAHAMS, KYLE                       ABRAHAMSEN, LINDA
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ABRAHAM-SINGH, ARUN                  ABRAHAMSON, CASSIDY                  ABRAHAMSON, JORDAN
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ABRAHAMSON, LAUREN                   ABRAM MONZON                         ABRAM, KRISTA
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ABRAMEK, SUSAN                       ABRAMES, KATHERINE                   ABRAMOFF, CLAIRE
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ABRAMOVA, DARIA                      ABRAMOVITZ, ALEXANDER                ABRAMOVITZ, HOWARD
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ABRAMOWITZ, STEVE                    ABRAMS ARTISTS AGENCY                ABRAMS MCLEAN, JEANINE
ADDRESS AVAILABLE UPON REQUEST       275 7TH AVE 25TH FLOOR               ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10001




ABRAMS, ABIGAIL                      ABRAMS, ANCELLA                      ABRAMS, ANGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ABRAMS, BROOK                        ABRAMS, CHRISSY                      ABRAMS, CHRISTINE
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ABRAMS, CINDY           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ABRAMS, COURTNEY                 PageABRAMS,
                                                                           18 of 5495
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ABRAMS, JACLYN                       ABRAMS, JIMMY                        ABRAMS, JODI
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ABRAMS, JODIE                        ABRAMS, JULIAN                       ABRAMS, JULIE
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ABRAMS, MICHAEL                      ABRAMS, NICHOLAS                     ABRAMS, NICOLE
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ABRAMS, OLIVIA                       ABRAMS, SHANNON                      ABRAMSKY, SAM
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ABRAMSON, DANIEL                     ABRANTES, DENISE                     ABRASZEK, COURTNEY
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ABREGO, ALLISON                      ABREGO, STEPHANIE                    ABRELL, AUDREY
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ABRENCILLO, JONAHLYN                 ABRESCH, THOMAS                      ABREU, ANGEL
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ABREU, ANGELA                        ABREU, ERIC                          ABREU, KIRSY
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ABREU, LDA                           ABREU, LOURDES                       ABREU, MARLENE
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ABREU, VERONICA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ABRIAM, CHED                     PageABRIL,
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ABRIL, STEPHANIE                     ABRIOLA, LISA                        ABROMAITIS, KATE
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ABROMAITIS, SUSANNE                  ABROMITIS, MACEY                     ABROUQ, LEILA
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ABRUSCATO, JOHN                      ABRUZZI, NICOLE                      ABRUZZO, KAILA
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ABRUZZO, KATE                        ABRUZZO, LINDA                       ABRUZZO, MEGHAN
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ABSALOM, ANITA                       ABSALON, ARIANA                      ABSHIER, MINDY
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ABSHIRE, CHRIS                       ABSHIRE, JESSICA                     ABU BAKR ABDUL ALLAM
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ABUBAKER, AABIR                      ABU-EIDEH, HANNAH                    ABUJBARAH, MARIE
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ABUNDANT ETHOS LLC                   ABUNDIS, JOANNA                      ABURN, ELLIE
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ABURTO, LILIANA                      ABURTO, SHANNON                      ABUSAMRA, FRANCESCA
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ABUSHHIWA, ASHLEIGH     Case 22-11238-LSS   Doc
                                     ABUSHHIWA,   2 Filed 11/30/22
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                                                                            20 of 5495ALISA
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ABY, JOHN                            ABZUN MONROY, DELMI                    ACADIA ALDEN
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ACAMPORA, CODY                       ACANELA LLC                            ACCARDO, ANGELA
ADDRESS AVAILABLE UPON REQUEST       4106 N FREMONT DRIVE                   ADDRESS AVAILABLE UPON REQUEST
                                     LEHI, UT 84043




ACCARDO, SAL                         ACCELERATION PARTNERS                  ACCESS DISPLAY GROUP
ADDRESS AVAILABLE UPON REQUEST       C/O SUPPORTING STRATEGIES              151 SOUTH MAIN STREET
                                     800 CUMMINGS CENTER, SUITE 375W        FREEPORT, NY 11520
                                     BEVERLY, MA 01915




ACCETTA, ARIA                        ACCO ENGINEERED SYSTEMS                ACCORDINO, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       6265 SAN FERNANDO ROAD                 ADDRESS AVAILABLE UPON REQUEST
                                     GLENDALE, CA 91201-2214




ACCOUNTING CONFERENCES AND           ACCURATE FLO & MOTION                  ACCURATE FORKLIFT, INC
SEMINARS LLC                         1226 FURUKAWA WAY # 226                PO BOX 4860
491 BALTIMORE PIKE, STE 1034         SANTA MARIA, CA 93458                  85 SCENIC AVENUE
SPRINGFIELD, PA 19064                                                       SANTA ROSA, CA 95402




ACCURATE RECYCLING CORP              ACE AMERICAN INSURANCE COMPANY         ACE AMERICAN INSURANCE COMPANY
508 E BALTIMORE AVE                  436 WALNUT ST                          C/O CHUBB
LANSDOWNE, PA 19050                  PHILADELPHIA, PA 19106                 ATTN ADRIENNE LOGAN, LEAD ANALYST
                                                                            436 WALNUT ST, WA04K
                                                                            PHILADELPHIA, PA 19106



ACE AMERICAN INSURANCE COMPANY       ACE HOTEL - CLUB W                     ACE HOTEL DOWNTOWN LA
C/O DUANE MORRIS LLP                 ACE HOTEL 929 S BROADWAY               929 S BROADWAY
ATTN WENDY M SIMKULAK                LOS ANGELES, CA 90015                  LOS ANGELES, CA 90015
30 S 17TH ST
PHILADELPHIA, PA 19103



ACE PARKING                          ACE USA                                ACE, NINA
645 ASH STREET                       DEPT CH 14089                          ADDRESS AVAILABLE UPON REQUEST
SAN DIEGO, CA 92101                  PALATINE, IL 60055-4089




ACEBO, NINA                          ACERBI, ALYSSA                         ACERET, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ACERRA, CYNTHIA         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ACERRA, TONI                     PageACETO-NETEMEYER,
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ACEVEDO DE JESUS, ANABELLE           ACEVEDO GOMEZ, ABIGAIL               ACEVEDO, DENISE
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ACEVEDO, LISSETTE                    ACEVEDO, MICHELLE                    ACEVEDO, MODESTO
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ACEVEDO, OSCAR                       ACEVEDO, SERENA                      ACEVEDO, SHERRI
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ACEVEDO, STEPHANIE                   ACEVEDO, STEPHANNY                   ACEVEDO, THERESA
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ACEVEDO, TONY                        ACEVEDO, VERONICA                    ACEVES, ALISE
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ACEVES, ERIKA                        ACH, SUSAN                           ACHA-MORFAW, GEORGE
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ACHARYA, LILA                        ACHARYA, NEELISHA                    ACHENBACH, JOSIE
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ACHERMANN, JESSICA                   ACHESON, ALLAN                       ACHESON, PAT
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ACHILLE, CASSANDRA                   ACHIN, MICHELE                       ACHTELLIK, JUDY
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ACHTER, REBECCA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           22 of 5495LAUREN
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ACKATZ, NICOLE                       ACKER, BRIAN                          ACKER, CAROLYN
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ACKER, KELLY                         ACKER, SAMANTHA                       ACKER, SARA
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ACKERMAN, ALYSSA                     ACKERMAN, AMALIA                      ACKERMAN, AMY
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ACKERMAN, AMY                        ACKERMAN, ANJANETTE                   ACKERMAN, BLAKE
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ACKERMAN, BRANDY                     ACKERMAN, CAITLIN                     ACKERMAN, CARLYN
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ACKERMAN, CARON                      ACKERMAN, DEBORAH                     ACKERMAN, ELSA
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ACKERMAN, ERIN                       ACKERMAN, GABRIELLE                   ACKERMAN, JADA
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ACKERMAN, JENNIFER                   ACKERMAN, JULIA                       ACKERMAN, KARA
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ACKERMAN, LUKE                       ACKERMAN, MARIA                       ACKERMAN, NOAH
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ACKERMAN, PAIGE         Case 22-11238-LSS   Doc
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                                               SCOTT                         PageACKERMAN,
                                                                                  23 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ACKERMANN, CHRIS                     ACKERS, HANNAH                              ACKERSON, ABBY
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ACKERSON, TESS                       ACKLAM, AMY                                 ACKLEY, COLE
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ACKLEY, JESSICA                      ACKLEY, LISA                                ACKLEY, REBECCA
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ACKMAN, OLEN                         ACME                                        ACNE PHOTOGRAPHY AB
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                                                                                 STOCKHOLM
                                                                                 SWEDEN




ACOLATSE, CHERYL                     ACORN WEST PAPER PRODUCTS CO                ACORNS GROW INCORPORATED
ADDRESS AVAILABLE UPON REQUEST       3686 E. OLYMPIC BLVD                        5300 CALIFORNIA AVE
                                     LOS ANGELES, CA 90023                       IRVINE, CA 92617




ACOSTA GARCIA, ALMA                  ACOSTA OWENS, ALEXANDRA                     ACOSTA, ALISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ACOSTA, ASHLEY                       ACOSTA, ASHLEY                              ACOSTA, BRANDON
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ACOSTA, CAROLINA                     ACOSTA, CHRISTY                             ACOSTA, CYNTHIA
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ACOSTA, DAVID                        ACOSTA, DESIREE                             ACOSTA, EFREN
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ACOSTA, EMILY           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ACOSTA, ERIC                     PageACOSTA,
                                                                           24 of 5495
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ACOSTA, GERARDO                      ACOSTA, IDA                          ACOSTA, JADE
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ACOSTA, JAIME                        ACOSTA, JANET                        ACOSTA, JOHANA
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ACOSTA, KAILANI                      ACOSTA, KHIMBERLY                    ACOSTA, LINDSAY
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ACOSTA, LISBETH                      ACOSTA, MARIA                        ACOSTA, MARIA
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ACOSTA, MARIBEL                      ACOSTA, MICHELLE                     ACOSTA, MONICA
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ACOSTA, NICHOLAS                     ACOSTA, SILVIA                       ACOUSTICAL SURFACES
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ACQUAVITA, FRED                      ACQUAVIVA, AMANDA                    ACQUISTAPACE, BRIDGETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ACTION DOOR REPAIR CORPORATION       ACTIONX                              ACTIVE DISCLOSURE
5420 MALABAR STREET                  520 BROADWAY 5TH FLOOR               ADDRESS UNAVAILABLE AT TIME OF FILING
HUNTINGTON PARK, CA 90255            NEW YORK, NY 10012




ACTKINSON, ASHLEY                    ACUFF, SARAH                         ACUNA, DANIELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ACUNA, DIANA            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ACUNA, MARIA                                PageACUNZO,
                                                                                      25 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                  ADDRESS AVAILABLE UPON REQUEST




ACUPAN, ALVIN                            ACUY, ALISON                                ACXIOM CORPORATION
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              301 E. DAVE WARD DR.
                                                                                     CONWAY, AR 72032




ACXIOM CORPORATION                       ACZEL, DR M                                 ACZEL, MIRIAM
4057 COLLECTION CENTER DR.               ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60693




ACZEL, MIRIAM                            ACZEL, MIRIAM                               ACZEL, MIRIAM
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ACZEL, MIRIAM                            ACZEL, MIRIAM                               ACZEL, MIRIAM
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ACZEL, MIRIAM                            ACZON, JEANKIE                              AD EXCHANGE GROUP
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              18400 VON KARMAN AVE, SUITE 1000
                                                                                     IRVINE, CA 92612




AD TRUST MARKETING LLC                   ADAGE                                       ADAIKALAM, ARUN KARUPPAIYA
(POPULAR MARKETING LLC & TLC DATA LLC)   ADDRESS UNAVAILABLE AT TIME OF FILING       ADDRESS AVAILABLE UPON REQUEST
1801 E 51ST STREET, SUITE 365
AUSTIN, TX 78723




ADAIR, ABIGAIL                           ADAIR, ANDREA                               ADAIR, ANNA
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ADAIR, BLARE                             ADAIR, CARRIE                               ADAIR, DEBORAH
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ADAIR, JULIE                             ADAIR, LINDA                                ADAIR, MOLLY
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
ADAIR, NATHAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ADALID, VICTOR                   PageADALYNN
                                                                           26 of 5495
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ADAM SCHEICH                         ADAM SCHEICH                         ADAM ALABRASH
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ADAM ALFANO                          ADAM AYERS                           ADAM BLOCK DESIGN, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       23361 EL TORO RD STE 219
                                                                          LAKE FOREST, CA 92630




ADAM BOYLE                           ADAM CANADY                          ADAM DAVID BIER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ADAM DAVIS                           ADAM DAVIS                           ADAM GOLDENBERG
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ADAM GREENBERG                       ADAM HARRIS                          ADAM HOWARD
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ADAM HOWELL                          ADAM JOSEPH THOMAS                   ADAM KATZENBERG
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ADAM LINET                           ADAM MAIN                            ADAM MICHAEL POWELL
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ADAM PEIRS                           ADAM PETH                            ADAM PIWOWARCZYK
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ADAM ROUMM                           ADAM SCHEICH                         ADAM THODEY
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                                                                           27 ofELIZABETH
                                                                                  5495
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ADAM, GAGE                           ADAM, KARLI                          ADAM, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ADAM, LILY                           ADAM, RICHARDSON                     ADAMAITIS, RENEE
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                                                                           28 ofALYSSA
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                                     ADAMS, KATHRYN                   PageADAMS,
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                                                                           32 ofMARY
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ADAMS, RACHEL                        ADAMS, RACHEL                        ADAMS, RHIANNA
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                                     ADAMS, RIKI                      PageADAMS,
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ADAMS, RODERICK                      ADAMS, ROGER                         ADAMS, ROSS
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                                     ADAMS, SUSIE                     PageADAMS,
                                                                           34 ofTAMMY
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ADAMS, TINA                          ADAMS, TRACY                         ADAMS, TRAVIS
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ADAMSKI, PAIGE                       ADAMS-MAKI, JEN                      ADAMSON, ALLISON
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ADAMSON, CAROL                       ADAMSON, CAROLYN                     ADAMSON, MELISSA
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ADAMSON, PATRICK                     ADAMS-SARTHOU, ANNA                  ADAMS-WEBER, ROBIN
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ADAN, NINO                           ADAN, RICCI                          ADANA MCALLISTERS
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ADARIO, ANTHONY                      ADARKWAH, NIKITA                     ADAVEN, KATIE
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ADCOCK, PHILIP                       ADCOCK, REBECKAH                      ADCOX, C
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ADCOX, JOHN                          ADDADY, MIKEY                         ADDEO, MEGAN
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ADDESA, COLLEEN                      ADDESA, HAYLEY                        ADDICKS, MOLLIE
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ADDINGTON, CORDELIA                  ADDINK, JOLYNNA                       ADDISON, BARBARA
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ADDISON, BRI                         ADDISON, DEBBY                        ADDISON, GIBBONS
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ADDONIZIO, THOMAS                    ADDONO, CAMILA                        ADDRESS, SHIPPING
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ADE, KIMBERLY                        ADEBAYO, ADEDEJI                     ADEDIGBA, ADEWOLE
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ADELE STEWART                        ADELEKAN, KELLY                      ADELEKE, MARY
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ADELEYE, CIMONE                      ADELINE FERRO LIVING TRUST           ADELLA DANIELS
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ADELMAN, BEN                         ADELMAN, JULI                        ADELMAN, MADELINE
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ADELSMAN, KRYSTA                     ADELSON, ELIZA                       ADELSON, LAETITIA
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ADEN, ASHLEY                         ADEN, KENAN                          ADENIJI, AMANDA
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ADER, JEFFREY                        ADER, JOAN                           ADES AND LEVINSON, JANEY & BRAM
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ADES, LAURA                          ADES, LILY                           ADESINA, TOLU
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ADEY, CAROL                          ADEYI, OYEDELE                       ADGAR, JAMES
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ADGATE MEDIA LLC                     ADHIKARI, SUBARNA                    ADHLAKHA, SHIVANKAR
241 W 37 ST SUITE 1207               ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10018




ADICKES, MARK                        ADINOLFI, TIFFANY                    ADJEI, ABENAA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ADJEI-BOHYEN, KWAKU                  ADJOODANI, BRITTANY                  ADJUST, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       500 MONTGOMERY STREET, SUITE A
                                                                          SAN FRANCISCO, CA 94111




ADKINS, ABIGAIL                      ADKINS, AMANDA                       ADKINS, AMANDA
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                                     ADKINS, BECKY                    PageADKINS,
                                                                           38 of CATHY
                                                                                  5495
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ADKINS, SHANE                        ADKINS, TRISHA                       ADKISON, ALISA
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ADKISON, REBECCA                     ADKISON, SAMANTHA                    ADLARGE MEDIA, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       52 VANDERBUILT AVENUE, 7TH FLOOR
                                                                          NEW YORK, NY 10017




ADLER, ALISON                        ADLER, DIANA                         ADLER, ERYN
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ADLER, HEATHER                       ADLER, LIZA                          ADLER, STEVEN
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ADMIRE, JOHNNY                          ADMIXT, INC.                         ADO PROFESSIONAL SOLUTIONS, INC. (DBA
ADDRESS AVAILABLE UPON REQUEST          40 E. MAIN ST. 692                   AJILON)
                                        NEWARK, DE 19711                     10151 DEERWOOD PARK BLVD 200-400
                                                                             JACKSONVILLE, FL 32256




ADOBE CREATIVE CLOUD                    ADOBE SYSTEMS, INC.                  ADOLF PENNO
345 PARK AVE.                           345 PARK AVE.                        ADDRESS AVAILABLE UPON REQUEST
SAN JOSE, CA 95110-2704                 SAN JOSE, CA 95110-2704




ADOLF, VICKI                            ADOLFO MARQUEZ                       ADOLFO RODRIGUEZ JR
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ADOLFO VILLANUEVA                       ADOLPH, HANNAH                       ADOLPH, JENNA
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ADOLPH, TINA                            ADOLPHSON, GORDON                    ADOLPHSON, SARAH
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ADOUKONOU, REBEKAH                      ADPERIO, INC.                        ADRANLY, ROCHAEL
ADDRESS AVAILABLE UPON REQUEST          2000 S. COLORADO BLVD T1-7000        ADDRESS AVAILABLE UPON REQUEST
                                        DENVER, CO 80222




ADRIA GRAY                              ADRIAN APREUSS                       ADRIAN CHEUNG
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ADRIAN DIRUSSO                          ADRIAN HILL                          ADRIAN N. TARALUNGA
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                                     ADRIAN, FRANCIS                          PageADRIAN,
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ADRIAN, PERLA                         ADRIANA BETZ                                ADRIANA HOLSBERG
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ADRIANA RAMOS                         ADRIANCE, JOHN                              ADRIANE COLDMAN
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ADRIANI, ALBERT                       ADRIANNA FRITZ                              ADRIANNE VERGA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ADRIENNE LO                           ADROLL                                      ADS ALLIANCE DATA SYSTEMS, INC.
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING       (CONVERSANT, LLC)
                                                                                  3100 EASTON SQUARE PLACE
                                                                                  COLUMBUS, OH 43219




ADS ALLIANCE DATA SYSTEMS, INC.       ADS DIRECT MEDIA, INC                       ADSIMILIS
(CONVERSANT, LLC)                     250 S AUSTRALIAN AVENUE, SUITE 1600         WESTEINDE 3-A ZH 2275 AA
P.O. BOX 849725                       WEST PALM BEACH, FL 33401                   VOORBURG
LOS ANGELES, CA 90084-9725                                                        NETHERLANDS




ADSTRACK MOBILE, LLC.                 ADSUAR, ISABELA                             ADT SECURITY SERVICE
2633 NORTH MILDRED AVE 3              ADDRESS AVAILABLE UPON REQUEST              1501 YAMATO ROAD
CHICAGO, IL 60614                                                                 BOCA RATON, FL 33431




ADT US HOLDINGS, INC. (ADT SECURITY   ADT                                         ADTRIB, INC. (MAESTROQA)
SERVICES)                             1501 YAMATO ROAD                            110 5TH AVENUE, 5TH FLOOR
1501 YAMATO ROAD                      BOCA RATON, FL 33431                        NEW YORK, NY 10011
BOCA RATON, FL 33431




ADUBOFOUR, MONICA                     ADULTS AND CRAFTS, LLC.                     ADVANCE LOCK AND KEY
ADDRESS AVAILABLE UPON REQUEST        3658 N. MILWANKEE ST.                       ADDRESS UNAVAILABLE AT TIME OF FILING
                                      DENVER, CO 80205




ADVANCED CAPITAL GROUP LLC            ADVANCED SOLUTIONS, INC.                    ADVANI, DIANA
1180 W BALL 9576                      CLUB W 1901 NELSON MILLER PARKWAY           ADDRESS AVAILABLE UPON REQUEST
ANAHEIM, CA 92812                     LOUISVILLE, KY 40223
                       Case 22-11238-LSS
ADVANTAGE BEVERAGE SOLUTIONS LLC            Doc
                                    ADVANTAGE     2 Filed 11/30/22
                                               TRANSPORTATION               PageADVINTAGE
                                                                                 41 of 5495
                                                                                          DISTRIBUTING (TENNESSEE -
PO BOX 744224                       4524 WEST 1980 SOUTH                         VINTAGE PURSUITS, LLC)
ATLANTA, GA 30374-4224              SALT LAKE CITY, UT 84104                     305 SEABOARD LANE SUITE 322
                                                                                 FRANKLIN, TN 37067




ADVINTAGE DISTRIBUTING OF NORTH     ADVINTAGE DISTRIBUTING OF NORTH              ADVINTAGE DISTRIBUTING OF TENNESSEE
CAROLINA                            CAROLINA                                     VINTAGE PURSUITS, LLC
110 SUNRISE CENTER DRIVE            9570 WILLIAM AIKEN AVE                       305 SEABOARD LANE, STE 322
THOMASVILLE, NC 27360               LADSON, SC 29456                             FRANKLIN, TN 37607




ADXPERIENCE SAS                     ADY, AMANDA                                  ADY-REGELE, BRITTNI
15 RUE PASTEUR                      ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST
LEVALLOIS PERRET 92300
FRANCE




AEB BIOCHEMICAL, USA                AEB BIOCHEMICAL, USA                         AEBKER, EMILY
111 N. CLUFF AVE                    PO BOX 670                                   ADDRESS AVAILABLE UPON REQUEST
LODI, CA 95240                      LODI, CA 95241




AEG PRESENTS LLC (GOLDENVOICE)      AELING, MEGAN                                AEPPLI, KIMBERLY
425 W 11TH STREET SUITE 300         ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90015




AERTS, ABIGAIL                      AERTS, ARIKA                                 AERY, DYLAN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




AESCHLIMAN, SPENCER                 AESTUS                                       AFARAY, ENRIQUE
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AFECH, DANIEL                       AFERIAT, ALEX                                AFFENITA, ALLISON
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AFFHOLTER, LEE                      AFFILIOUS, INC (WINECLUBREVIEWS.NET)         AFFINITY NEGOTIATIONS LLC
ADDRESS AVAILABLE UPON REQUEST      JESSYCA FREDERICK AFFILIOUS, INC             2166 GRAND AVE 2ND FL
                                    47785 STILLWATER DRIVE                       BRONX, NY 10453
                                    LA QUINTA, CA 92253




AFFRUNTI, ANTHONY                   AFIA KONTOH                                  AFIFY, SARAH
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AFOLABI, OLUWATOYIN     Case 22-11238-LSS     Doc CO.
                                     A-FRAME WINE   2 LLC
                                                        Filed 11/30/22   PageAFS,
                                                                              42 LLC
                                                                                  of 5495
ADDRESS AVAILABLE UPON REQUEST       1054 FISKE ST.                          330 MARSHALL STREET, SUITE 400
                                     PACIFIC PALISADES, CA 90272             SHREVEPORT, LA 71101




AFS, LLC                              AFSHAR, NELLIE                         AFTON, BERYL
PO BOX 1986                           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHREVEPORT, LA 71166




AFZAL, WAJIHA                         AGADA, ANGELA                          AGAJANIAN, INC. (AGAJANIAN VINEYARDS)
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         11060 HIGHWAY 41
                                                                             MADERA, CA 93636




AGAKIAN COLON, STEPHANIE              AGALLIANOS, HELEN                      AGAMAITE, JULIANNE
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AGAMAITE, MATTHEW                     AGAMATA, COURTNEY                      AGAN, EMILY
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AGAPITIDES, ALEKA                     AGAR, KIM                              AGARD, AUBREY
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AGARWAL, SAURABH                      AGARWAL, SNIGDHA                       AGARWAL, SUMIT
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AGATHA KING                           AGATHA STEVENS                         AGBAOSI, JENNIFER
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AGBAOSI, JENNIFER                     AGBAOSI, JENNIFER                      AGBEDE, TEMILOLA
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AGBOOLA, DAMI                         AGCAOILI, BIANCA                       AGEDAY, DERRICK
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AGEE, LEANN                          AGEE, ROBERT                         AGEE, ROSE
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AGEE, STEPHANIE                      AGENCY 21 CONSULTING, LLC            AGENT, SELLERS
ADDRESS AVAILABLE UPON REQUEST       1428 BRICKELL AVE., STE 303          ADDRESS AVAILABLE UPON REQUEST
                                     MIAMI, FL 33131




AGER, SUSAN                          AGESEN, MORGAN                       AGEYEVA, NATALIYA
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AGGANIS, MARISA                      AGGARWAL, NEERA                      AGGARWAL, SONAL
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AGGERWAL, AARON                      AGHION, DENISE                       AGIN, SHANNON
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AGLAR, SARAH                         AGLER, TARINA                        AGLIO, TRACI
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AGLIPAY, FRAYLANIE                   AGNAMBA, LINDSEY                     AGNELLO, APRIL
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AGNES FOK                            AGNES, MOMMA                         AGNESS, ZACHARY
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AGNEW, CHRISTY                       AGNEW, DAWN                          AGNEW, EMELINE
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AGNIHOTRI, DHANU        Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     AGOFF, ALY                       PageAGOMUO,
                                                                           44 of 5495
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AGONIS, DEVIN                        AGOS, CHRISTIE                       AGOSTA, CAITLIN
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AGOSTA, OLIVIA                       AGOSTA, TERI                         AGOSTINELLI, MARIA
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AGOSTINO, REBECCA                    AGOSTO, ISABEL                       AGOSTO, LAURA
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AGOSTO, LIZ                          AGOSTO, MARIA                        AGOSTO, MELISSA
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AGOVINO, ANGELO                      AGRAVIADOR, MARGARET                 AGRAWAL, NIKHIL
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AGRAWAL, RISHI                       AGRAZ, JACKSON                       AGREST, BELEN
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AGRESTI, LISA                        AGRICOLA, CHELSEA                    AGUAYO, KECIA
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AGUAYO, KRISTIN                      AGUDELO, CHRISTINA                   AGUDELO, HECTOR
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AGUERO, JEFF                         AGUERO, ROBERT                       AGUET, DOMINIQUE
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AGUILAR, AMALIA                      AGUILAR, ANTHONY                      AGUILAR, ARIANA
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AGUILAR, CAROLINA                    AGUILAR, CAROLINA                     AGUILAR, CASEY
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AGUILAR, CLAUDIA                     AGUILAR, DAVID                        AGUILAR, DAVID
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AGUILAR, ELIZABETH                   AGUILAR, GISELA                       AGUILAR, JACQUELINE
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AGUILAR, JULIO                       AGUILAR, KARLA                        AGUILAR, LARISA
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AGUILAR, MARGIE                      AGUILAR, MARY                         AGUILAR, NICKI
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AGUILAR, NOELLE                      AGUILAR, REZA                         AGUILAR, ROBERT
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AGUILAR, SAFIYA                      AGUILAR, SOPHIA                       AGUILAR, STACY
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AGUILAR, TARA           Case 22-11238-LSS
                                     AGUILAR, Doc
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                                                                            46 of 5495
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AGUILAR, TIVISAY                     AGUILAR, VALENTINA                    AGUILAR, YANIRKA
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AGUILAR-ARGUETA, MARIA               AGUILAR-GONZALEZ, ZAYRA               AGUILERA, ELBA
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AGUILERA, JASON                      AGUILERA, KATIE                       AGUILERA, MELISSA NICOLE
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AGUILERA, MICHELLE                   AGUILLARD, RHONDA                     AGUINALDO, JENNIFER
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AGUINALDO, SAMUEL                    AGUINGIA, CHLOE                       AGUIRRE, BLAISE
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AGUIRRE, CHRISTOPHER                 AGUIRRE, CYNTHIA                      AGUIRRE, DIANA
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AGUIRRE, ISABEL                      AGUIRRE, JESSICA                      AGUIRRE, JOSH
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AGUIRRE, LIANA                       AGUIRRE, PHIL                         AGUIRRE, RAUL
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AGUIRRE, VANESSA                     AGUIRRE, WENDY                        AGUIRRE-ECHEVARRIA, LARISSA
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AGULTO, DESIREE         Case 22-11238-LSS
                                     AGUNDEZ,Doc  2 Filed 11/30/22
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                                                                           47 ofSUDJONO
                                                                                 5495
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AGUON, NESIA                         AGUR, JESS                           AGURTO, KELLEA
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AGUSTIN MARTINEZ OSSO                AGYEMAN, ABENA                       AGYEMAN, NANA
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AGYEMANG, YAW                        AH, EUN                              AHA LAB
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AHAD, TAJWAR                         AHANONU, CECILIA                     AHARONI, MICHELLE
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AHARONY, RAVID                       AHART, LINDSAY                       AHDOKOBO, RUDA
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AHEARN, ALISON                       AHEARN, EDWARD                       AHEARN, JAMES
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AHEARN, JULIE                        AHEARN, SAMANTHA                     AHEARNE, ALLIE
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AHERN, BRIAN                         AHERN, JULIE                         AHERN, LAURA
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AHERN, ROBERT                        AHERN, SARAH                         AHIR, VARUN
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AHL, IAN                Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     AHL, SOPHIA                      PageAHL,
                                                                           48 SOPHIA
                                                                               of 5495
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AHLER, HANNAH                        AHLERS, DREW                         AHLERT, LINDSEY
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AHLES, MARIA                         AHLFELD, EMILY                       AHLQUIST, NANCY
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AHLSTROM, ANDREA                     AHLSTROM, PER                        AHLSTROM, ROBERT
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AHMAD GANDY                          AHMAD, IMTIAZ                        AHMAD, LEXA
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AHMAD, MICHELE                       AHMAD, SHALAH                        AHMAD, TARIQ
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AHMADI, LADAN                        AHMADI, TRISTAN                      AHMADIAN, NAVID
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AHMADIEH, NASSAB                     AHMAD-TAYLOR, TY                     AHMANSON, EMILY
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AHMED, BASIL                         AHMED, BINA                          AHMED, DAWN
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AHMED, JEFFREY                       AHMED, NICOLE                        AHMED, TREENY
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AHN, ALICE              Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     AHN, DANA                        PageAHN,
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                                                                               of 5495
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AHN, SOYEON                          AHN, YEANA                           AHN, YEANA
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AHNER, CHRISTINA                     AHO, LANA                            AHQUIN, CAROL
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AHRENBERG, JILLIAN                   AHRENDSEN, CHRISTINA                 AHRENDSEN, JILL
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AHRENDT, ANA                         AHRENS, ANGELA                       AHRENS, AUSTIN
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AHRENS, CHRIS                        AHRENS, CRYSTAL                      AHRENS, DANIEL
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AHRENS, EMILY                        AHRENS, JADEN                        AHRENS, JASON
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AHRENS, KATIE                        AHRNS, COURTNEY                      AHRNS, LAURYN
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AHTONE, JERAL                        AHUA, ROSELYN                        AHUJA, KARAN
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AHUJA, KARTHIKA                      AHYEON LEE                           AI, YANRAN
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AIDID, ANAB             Case 22-11238-LSS     Doc 2 Filed 11/30/22
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AIELLO, ANNA                         AIELLO, BRIAN                        AIELLO, CASSIE
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AIELLO, CECILIA                      AIELLO, ELANA                        AIELLO, FRANK
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AIELLO, JOHN                         AIELLO, KATHLEEN                     AIELLO, RAEGAN
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AIER, KRISTINA                       AIFALA AMA                           AIG RISK SPECIALIST COMPANIES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       INSURANCE
                                                                          AGENCY INC
                                                                          D/B/A RSCIA IN NH, UT & VT
                                                                          1225 17TH ST, STE 1700
                                                                          DENVER, CO 80202

AIGBE, CHRISTINE                     AIGERIM KIKIMOVA                     AIGNASSE, MARY
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AIGNER, STEPHANIE                    AIKEN WALKER, AVI                    AIKEN, BENJAMIN
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AIKEN, BRIAN                         AIKEN, HEATHER                       AIKEN, JOHN
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AIKEN, LOWELL                        AIKEN, MAUREEN                       AIKEN, MICHELE
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AIKEN, SONNIE                        AIKEN, TOM                           AIKENS, ASHLEY
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                                     AIKINS, JOSHUA                          PageAIKMAN,
                                                                                  51 of JUDITH
                                                                                         5495
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AIME, MIA                            AIMEE DIEGO                                 AIMEE GORDON
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AIMEE R GOGUEN                       AINESH RAVI                                 AINSLIE, JAMES
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AINSWORTH, DEBORAH                   AINSWORTH, GRANT                            AINSWORTH, KIM
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AINSWORTH, TRESEANNE                 AINZA, LESLIE                               AIRBNB INC
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AIRD, LESLIE                         AIRGAS                                      AIRINGTON, TERRIE
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AISHWARYA SHARMA                     AITCHISON, ALIZA                            AITHAL, AYUSHEE
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AITKEN, PATRICK                      AITKEN, SUSAN                               AITKIN, JAMES
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AIYEDATIWA, DENISE                   AIZENSHTAT, KEVIN                           AIZMAN, JULIA
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AJAKAIYE, HANNAH        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                                     52 of  5495
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AJAX TURNER CO., INC.                   AJAX TURNER CO., INC.                       AJBANI, RUTVI
4010 CENTREPOINTE DRIVE                 4010 CENTREPOINTE WAY                       ADDRESS AVAILABLE UPON REQUEST
LA VERGNE, TN 37086                     LA VERGNE, TN 37086




AJI, NEPHELI NEETA                      AJMERA, JATAN                               AJOQK, SIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




AJTJ LLC                                AJUZ, DIEGO                                 AJZ 55 INVESTMENTS LLC
8069 N SHERMAN BLVD                     ADDRESS AVAILABLE UPON REQUEST              31 MEREDITH DR
BROWN DEER, WI 53209                                                                SPARTA, NJ 07871




AJZEN, ROMAN                            AKA WINES                                   AKAASH RAMANUJAM
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AKANNAM, SHANE                          AKANO, ADEKEMI NGOZI                        AKASH BAID
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AKASHA RESTAURANT                       AKASON, ANDREW                              AKE, SIOBHAN
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AKEL, SARAH                             AKER, CLARE                                 AKER, CYNTHIA
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AKERET, ELAINA                          AKERLEY, BARBARA                            AKERS, AZIA
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AKERS, BETHANY                          AKERS, JESSICA                              AKERS, JOHN
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                                     AKERS, KAMMIE                    PageAKERS,
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AKERS, KRISTEN                       AKERS, LAURA                         AKERS, LAUREN
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AKERS, LOUISE                        AKERS, MARISAH                       AKERS, NATE
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AKERS, NICOLE                        AKERS, SARA                          AKERS, SHAWNDA
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AKERS, SHELBY                        AKERS, TERRI                         AKERS, TERRIE
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AKERS, TRICIA                        AKERSON, JOSHUA                      AKHAVAN, TADJI
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AKHTAR, TANVEER                      AKIBA, D                             AKIKOS RESTAURANT
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AKILAH BAKER                         AKIMOFF, AIMEE                       AKIN, ABBY
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AKIN, AMY                            AKIN, BRIANA                         AKIN, KAITLYN
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AKINKUOYE, GEORGE                    AKINMADE, YINKA                      AKINREMI, ADISA
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AKINS, CATHERINE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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AKINS, EDWARD                        AKINS, EMILOU332GMAIL.COM            AKINS, JAHALA
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AKINS, KELSEY                        AKINS, KRISTIE                       AKINS, KYLIE
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AKINS, L                             AKINS, LAUREN                        AKINS, LYNN
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AKINS, NICOLE                        AKINTOBI, ADRIANA                    AKINYEMI, TOLUWA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




AKINYEYE, NIKKI                      AKKAN, SELIN                         AKL, GEORGE FRANCOUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




AKRAM, ASMA                          AKRE, MIL                            AKRIDGE, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




AKRIGHT, JESSICA                     AKSTIN, CAROLINE                     AKSU, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




AKUBATHINI, KEERTHI                  AKUCHIE, AMARACHI                    AKULA, SAHITHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




AKULSCHIN, JEFFREY                   AKYILDIZ, OZAN                       AL ALCOHOLIC BEVERAGE CONTROL BOARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       2715 GUNTER PARK DR W
                                                                          MONTGOMERY, AL 36109
                           Case 22-11238-LSS
AL1 INC (ALL IN ONE ELECTRIC)           ALABAMA Doc  2 Filed
                                                ALCOHOLIC     11/30/22
                                                          BEVERAGE CONTROLPageALABAMA
                                                                               55 of 5495
                                                                                      DEPARTMENT OF LABOR
3420 TILDEN AVENUE                      BOARD                                 649 MONROE ST
LOS ANGELES, CA 90034                   2715 GUNTER PARK DR W                 MONTGOMERY, AL 36131
                                        MONTGOMERY, AL 36109




ALABAMA DEPT OF REVENUE                 ALABAMA SECURITIES COMMISSION        ALABI, PATRICIA
INDIVIDUAL & CORPORATE TAX DIVISION     401 ADAMS AVE                        ADDRESS AVAILABLE UPON REQUEST
50 N RIPLEY ST                          SUITE 280
MONTGOMERY, AL 36104                    MONTGOMERY, AL 36104




ALADIN, AMANDA                          ALAGAPPAN, KUMAR                     ALAGEM, ALEXIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAGGIA, MELODY                         ALAGIA, MADELINE                     ALAGNA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAILIMA, DIONYSIANNA                   ALAIN MIRZAEI                        ALAINA KITZ
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAINA MEYER                            ALAINA MILLER                        ALALI, KHALID
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAMEDA, LANI                           ALAMEDA, MARY                        ALAMEDA, NANCY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAMEDA, VICTORIA                       ALAMI, NAWAL                         ALAMO CREEK RANCH, INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       935 ARCADY RD
                                                                             SANTA BARBARA, CA 93108




ALAMO                                   ALAMO, IVELISSE                      ALAN ABRAMS
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAN BUTTERWORTH                        ALAN FLEISCHER PEICHER               ALAN GORDON ENTERPRISES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       5625 MELROSE AVE
                                                                             HOLLYWOOD, CA 90038
ALAN GREENWALD          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ALAN HUANG                       PageALAN
                                                                           56 of  5495
                                                                               INNES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAN JAEGER                          ALAN MYERS                           ALAN SHERWOOD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAN THOMAS                          ALAN W NASH                          ALAN, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALAN, TESS                           ALANA JOY ALFECHE                    ALANA MCKINNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALANE, TOM                           ALANIS, ANA                          ALANIS, ANALISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALANIS, ARIEAL                       ALANIS, CYNTHIA                      ALANIS, JUSTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALANIS, TATYANA                      ALANIZ, JAMEY                        ALANIZ, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALANIZ, MARISELA                     ALANIZ, PRISCILLA                    ALANN BHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALANNA REBECCA                       ALANNAH                              ALARCON, BILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALARCON, EDDI                        ALARCON, SIMONA                      ALARCON-YOUNG, DAMIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALARID, ERIKA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALARID, JACKIE                          PageALAS,
                                                                                  57 of  5495
                                                                                       ANGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALASIA, MAURICIO                     ALASKA AIRLINES                             ALASKA DEPT OF LABOR AND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING       WORKFORCE DEVELOPMENT
                                                                                 1016 WEST SIXTH AVE
                                                                                 SUITE 40
                                                                                 ANCHORAGE, AK 99501



ALASKA DEPT OF REVENUE               ALASKA DEPT OF REVENUE                      ALASKA DIVISION OF BANKING &
550 W 7TH AVE                        PO BOX 110420                               SECURITIES
STE 500                              JUNEAU, AK 99811-0420                       550 W 7TH AVE
ANCHORAGE, AK 99501-3555                                                         STE 1850
                                                                                 ANCHORAGE, AK 99501



ALASKA DIVISION OF BANKING &         ALATALO, MARIA                              ALATI, JENNIFER
SECURITIES                           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
STATE OFFICE BUILDING
333 WILOUGHBY AVE
9TH FL
JUNEAU, AK 99801

ALATRISTE, JORGE                     ALATRISTE, NATALIE                          ALAY, MILKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALBA, ESTELLA                        ALBA, GAEL                                  ALBA, GAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALBA, KELLY                          ALBA, NICK                                  ALBAN, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALBAN, ROBERT                        ALBANESE, AGGIE                             ALBANESE, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALBANESE, GIANNA                     ALBANO, JACQUELINE                          ALBANO, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALBANO, NEIDE                        ALBANO, PAUL                                ALBANOS, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
ALBAR, CHRISTIE         Case 22-11238-LSS
                                     ALBATRANS,Doc  2 Filed 11/30/22
                                                 INC.                  PageALBAUGH,
                                                                            58 of 5495
                                                                                    CINDY
ADDRESS AVAILABLE UPON REQUEST       149-10 183RD ST                       ADDRESS AVAILABLE UPON REQUEST
                                     JAMAICA, NY 11413-4035




ALBAUM, VANESSA                      ALBEE, EVELYN                         ALBEE, NAKIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALBEE, RENE                          ALBEE, SAMUEL                         ALBELOUSHI, ABDUALLAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALBER, GRANT                         ALBER, ISABEL                         ALBER, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALBERDI, ALEXANDRA                   ALBERES, ALEXANDRA                    ALBERGA, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALBERINO, JAMES                      ALBERNI, APRIL                        ALBERNI, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALBERO, AMY                          ALBERS, AMANDA                        ALBERS, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALBERS, BRETT                        ALBERS, ELLEN                         ALBERS, GABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALBERS, JAMIE                        ALBERS, JUSTIN                        ALBERS, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALBERS, LAUREN                       ALBERS, MARISSA                       ALBERS, REAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ALBERS, SARAH           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALBERS, SHELLY                   PageALBERS,
                                                                           59 of 5495
                                                                                  TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERS, TODD                         ALBERSON, DIANE                      ALBERT DIXON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERT ELIAS, ALBERT                 ALBERT EUGENE CONRAD                 ALBERT INGRAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERT M HERSHBERGER                 ALBERT S OTT                         ALBERT TORRES, GEORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERT VONURBAN                      ALBERT, ALEXANDER                    ALBERT, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERT, ASHLEY                       ALBERT, BRIANNA                      ALBERT, CELESTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERT, COLLIN                       ALBERT, DANIEL                       ALBERT, DEVON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERT, ERIN                         ALBERT, JENNIFER                     ALBERT, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERT, LINDA                        ALBERT, LYNDSAY                      ALBERT, M
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBERT, SCOTT                        ALBERT, VANESSA                      ALBERT, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALBERTA, NIKKI          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALBERTI, AARON                             PageALBERTI,
                                                                                     60 of 5495
                                                                                             GABRIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                  ADDRESS AVAILABLE UPON REQUEST




ALBERTI, GABRIEL                        ALBERTI, GINA                                ALBERTI, KIM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




ALBERTI, LEIGH                          ALBERTINI, ANGELA                            ALBERTINI, ELIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




ALBERTINI, JOELLEN                      ALBERTO ALEJANDRO GUEVARA DIAZ               ALBERTO FERNANDEZ
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




ALBERTO LIM                             ALBERTO, JENNIE                              ALBERTS, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




ALBERTS, RICHARD                        ALBERTS, SARAH                               ALBERTSEN, BRITTNEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




ALBERTSEN, NOAH                         ALBERTSON                                    ALBERTSON, CHARISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING        ADDRESS AVAILABLE UPON REQUEST




ALBERTSON, HEIDI                        ALBERTSON, JOCELYN                           ALBERTSON, PATTY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




ALBERTSONS                              ALBERTY, ISABEL                              ALBIERO, BECCA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




ALBIN, ANDREA                           ALBIN, HEATHER                               ALBIN, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST
ALBINO-CONTRERAS, LISA Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                    ALBOLD, KAYLA                    PageALBORIVERA,
                                                                          61 of 5495 CLAUDIA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRACHT, DAVE                      ALBRACHT, JESS                       ALBRACHT, JOSHUA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRAND, DANIEL                     ALBRECHT, CHRIS                      ALBRECHT, EMILY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRECHT, GUNNHILD                  ALBRECHT, JEAN                       ALBRECHT, JULIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRECHT, KATHERINE                 ALBRECHT, KELLY                      ALBRECHT, KELSEY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRECHT, KENNETH                   ALBRECHT, LAUREN                     ALBRECHT, LUKE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRECHT, MACKENZIE                 ALBRECHT, MARK                       ALBRECHT, MARY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRECHT, MICHAEL                   ALBRECHT, RITA                       ALBRECHT, SUE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRECHT, SUZANNE                   ALBRECHT-GRAY, PIA                   ALBRECHTSEN, ANDREW
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRENT, CRYSTAL                    ALBREST, BROOK                       ALBRIGHT, ABBIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALBRIGHT, ASHLEY        Case 22-11238-LSS
                                     ALBRIGHT,Doc 2 Filed 11/30/22
                                               BARBARA                PageALBRIGHT,
                                                                           62 of 5495
                                                                                    BECCAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRIGHT, EILEEN                     ALBRIGHT, ELLEN                      ALBRIGHT, HAROLD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRIGHT, HILARY                     ALBRIGHT, JUSTIN                     ALBRIGHT, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRIGHT, ROBIN                      ALBRIGHT, SALLY                      ALBRIGHT, SHIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRIGHT, TERRI                      ALBRIGHT, TRAVIS                     ALBRITTAIN, MARIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRITTON, AMBER                     ALBRITTON, CAPRICIA                  ALBRITTON, ROQUES ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRITTON, SARAH                     ALBRIZIO, DANIELLE                   ALBRO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALBRO, CHAS                          ALBURY, KELLY                        ALBY, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALCAINE, MANUEL                      ALCALA, ARTURO                       ALCALA, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALCALAY, RONALD                      ALCAMO, STEPHANIE                    ALCANTAR, KARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALCANTAR, LEXI          Case 22-11238-LSS   Doc
                                     ALCANTARA,   2 Filed 11/30/22
                                                HECTOR                         PageALCANTARA,
                                                                                    63 of 5495JULIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




ALCANTARA, JUSTIN                      ALCAZAR, KRISTINE                           ALCIME, ASHLEY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALCIN, DANA                            ALCIVAR, DIANA                              ALCOCER, AYANA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALCOCER, LAURA                         ALCOHOL & GAMING                            ALCOHOL & MARIJUANA CONTROL OFFICE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING       550 W 7TH AVE, STE 1600
                                                                                   ANCHORAGE, AK 99501




ALCOHOL & MARIJUANA CONTROL OFFICE     ALCOHOL & TOBACCO TAX BUREAU                ALCOHOL & TOBACCO TAX BUREAU
675 7TH AVENUE, SUITE D                ADDRESS UNAVAILABLE AT TIME OF FILING       NATIONAL REVENUE CENTER TTB
FAIRBANKS, AK 99701                                                                550 MAIN ST 8002
                                                                                   CINCINNATI, OH 45202




ALCOHOL AND TOBACCO COMMISSION         ALCOHOL BEVERAGE CONSULTING SERVICE         ALCOHOL BEVERAGE CONTROL BUREAU
INDIANA GOVERNMENT CENTER SOUTH        ADDRESS UNAVAILABLE AT TIME OF FILING       IDAHO STATE POLICE 700 SOUTH
302 W. WASHINGTON STREET, ROOM E-114                                               STRATFORD DRIVE STE 115
INDIANAPOLIS, IN 46204                                                             MERIDIAN, ID 83642




ALCOHOLIC BEVERAGE CONTROL             ALCOHOLIC BEVERAGE CONTROL                  ALCOHOLIC BEVERAGE CONTROL OFFICE
ADMINISTRATION                         ENFORCEMENT                                 P.O. BOX 540
MAIN STREET MALL 101 EAST CAPITOL,     101 EAST CAPITOL AVENUE, SUITE 401          MADISON, MS 39110-0540
SUITE 401                              LITTLE ROCK, AR 72201
LITTLE ROCK, AR 72201



ALCOHOLIC BEVERAGE LAW                 ALCOHOLIC BEVERAGE REGULATION               ALCOHOLIC BEVERAGES CONTROL
ENFORCEMENT COMMISSION (ABLE)          ADMINISTRATION                              COMMISSION
ALCOHOLIC BEVERAGE LAWS                2000 14TH STREET, NW, SUITE 400 S           95 FOURTH STREET, SUITE 3
ENFORCEMENT COMMISSION                 WASHINGTON, DC 20009                        CHELSEA, MA 02150-2358
50 NE 23RD STREET
OKLAHOMA CITY, OK 73105

ALCOMBRIGHT, LOREN                     ALCON, MICHELLE                             ALCON-HERAUX, MARIA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALCORN, EMILY                          ALCORN, JULIE                               ALCOTT, ANDREW
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
ALCOTT, EMILY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALCOTT, JAMIE                    PageALCOTT,
                                                                           64 of 5495
                                                                                  JOSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDAGAROV, EMILY                     ALDANA, JUSTIN                       ALDANA, NICO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDANA, SHARLINE                     ALDAPA, BIANCA                       ALDARELLI, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDAY, MELISSA                       ALDEBOT, ARIANNA                     ALDEN, ALYSHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDEN, CARRIE                        ALDEN, KEN                           ALDER SPRINGS VINEYARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       PO BOX 838
                                                                          LAYTONVILLE, CA 95454




ALDER, BRIDGETT                      ALDER, CHRISTINA                     ALDER, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDERETE, KATE                       ALDERKS, KYLEE                       ALDERMAN, KEITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDERMAN, LINDSAY                    ALDERMAN, ROGER                      ALDERMAN, WANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDERSON, CYNDI                      ALDERSON, JADE                       ALDERSON, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDO LUIS ARJONA                     ALDON, LOUIE                         ALDOROTY, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALDRED, JASON           Case 22-11238-LSS   Doc
                                     ALDREDGE,    2 Filed 11/30/22
                                               BRITTANY               PageALDREDGE,
                                                                           65 of 5495
                                                                                    FRED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDREDGE, MARYALYCE                  ALDRETE, CINDY                       ALDRIANA CUEVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDRICH, AMBER                       ALDRICH, AMELIA                      ALDRICH, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDRICH, GRACE                       ALDRICH, JENNIFER                    ALDRICH, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDRICH, KRISTYN                     ALDRICH, LUCINDA                     ALDRICH, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDRICH, SHANNON                     ALDRICH, WILLIAM                     ALDRIDGE, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDRIDGE, ELISABETH                  ALDRIDGE, GEOFF                      ALDRIDGE, JULIET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALDRIDGE, SUZANNE                    ALDRIN, MILA                         ALDWORTH, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALEC HORTON                          ALEC MORRISON                        ALECIA BEAVON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALEESIA HAVERDINK                    ALEFANTIS, PANAGIOTIS                ALEGNANI, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALEGRIA, JACQUELYNN     Case 22-11238-LSS
                                     ALEGRIA, Doc  2 Filed 11/30/22
                                              MARIANA                   PageALEGUAS,
                                                                             66 of 5495
                                                                                     EVELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ALEIDA LEMES                         ALEIXO, GABRIEL                        ALEJANDRA CAROLINA PEREZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ALEJANDRA MOSCOSO                    ALEJANDRA RAMIREZ SANCHEZ, MARIA       ALEJANDRE, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ALEJANDRIA, AMANDA                   ALEJANDRO LACY                         ALEJANDRO SORIANO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ALEJANDRO, MARCELINO                 ALEJANDRO, ROMULO                      ALEKSANDER W KALYNOVYCH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ALEKSANDRA JOVANOVIC                 ALEKSANDRA MARTIN                      ALEKSANDROVA, NATALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ALEKSEY LYASHEVSKY                   ALEKSEYS IMPORTS - CHATTANOOGA(AOC)    ALEKSZA, MARY ELLEN
ADDRESS AVAILABLE UPON REQUEST       4295 CROMWELL RD 414                   ADDRESS AVAILABLE UPON REQUEST
                                     CHATTANOOGA, TN 37421




ALELES, VICTORIA                     ALEMAN, CLAUDIA                        ALEMIAN, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ALENA DEPAOLA, ALENA                 ALENCASTRE, MONIQUE                    ALERDING, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ALESHIA HANSEN                       ALESHIA JOHNY                          ALESHIRE, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ALESIA PINNEY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALESIA SANDERS                   PageALESIUS,
                                                                           67 of 5495
                                                                                   BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALESSANDRA SOLBERG                   ALESSANDRO LAMON                      ALESSANDRO M COPPOLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALESSANDRO PUCCIO                    ALESSI, BECCA                         ALESSI, CHARLES
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ALESSI, MARIETTA                     ALESSI, SAMANTHA                      ALETHIA WILLIAMS
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ALETO, NICOLE                        ALEWINE, REBEKAH                      ALEX BARONE
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ALEX BIBBEY                          ALEX BOURNE                           ALEX CAMARA
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ALEX GOODWIN                         ALEX GRANDE FERMIN JR                 ALEX HARVEY KAUFMAN
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ALEX JONES                           ALEX KAUFMAN                          ALEX KOBER
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ALEX LIU                             ALEX MONTERROSA                       ALEX PARTY & EVENT RENTAL
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ALEX PURTELL                         ALEX TURNBOW                          ALEX, ANDRA
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ALEX, ANNE              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALEX, HOLLY                         PageALEX,
                                                                              68 ofJILL5495
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ALEX, RICHARD                           ALEX, ROBYN                           ALEXA BERGER
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ALEXA INTERNET                          ALEXA NICOLE RITACCO                  ALEXA SINGH
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ALEXA, ELIZABETH                        ALEXANDER ADELSBERGER                 ALEXANDER AGAPOV
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ALEXANDER BINIAZ-HARRIS                 ALEXANDER BRUCE                       ALEXANDER CASSELL
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ALEXANDER COLLETTI                      ALEXANDER GONZALEZ                    ALEXANDER GOODWIN
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ALEXANDER HOLMES                        ALEXANDER HOPKINS                     ALEXANDER JOA
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ALEXANDER JOHN MARK                     ALEXANDER JOSEPH HO                   ALEXANDER KEMP
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ALEXANDER LARCHEVEQUE                   ALEXANDER LEONARD                     ALEXANDER MATTHEW SAIP
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ALEXANDER MOLINA                        ALEXANDER OXMAN                       ALEXANDER PAZ
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                                     ALEXANDER    2 Filed 11/30/22
                                               R TAYLOR               PageALEXANDER
                                                                           69 of 5495
                                                                                    RAMLALL
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ALEXANDER ROTKER                     ALEXANDER SHAFIR                     ALEXANDER SOFRONAS
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ALEXANDER STUEMPFIG                  ALEXANDER TORRES                     ALEXANDER, ALETHEA
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ALEXANDER, DANDREA                   ALEXANDER, DAVE                      ALEXANDER, DAVID
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                                     ALEXANDER,   2 Filed 11/30/22
                                                DEBBIE                PageALEXANDER,
                                                                           70 of 5495DIANE
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ALEXANDER, DON                       ALEXANDER, ELIZABETH                 ALEXANDER, EMILY
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ALEXANDER, HALEY                     ALEXANDER, JADA                      ALEXANDER, JAMIE
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ALEXANDER, JERRY                     ALEXANDER, JESSICA                   ALEXANDER, JILL
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ALEXANDER, JULIAN                    ALEXANDER, KASMIRA                   ALEXANDER, KATINA
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ALEXANDER, KAYLIE                    ALEXANDER, KELSEY                    ALEXANDER, KELSEY
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ALEXANDER, KRYSTINA                  ALEXANDER, LAUREN                    ALEXANDER, LAUREN
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ALEXANDER, LIZ          Case 22-11238-LSS   Doc
                                     ALEXANDER,   2 Filed 11/30/22
                                                MACKENZIE             PageALEXANDER,
                                                                           71 of 5495MARIA
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ALEXANDER, MARIE                     ALEXANDER, MARY                      ALEXANDER, MARY
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ALEXANDER, MAUREEN                   ALEXANDER, MICHAEL                   ALEXANDER, MICHAEL
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ALEXANDER, MISTY                     ALEXANDER, NATALIE                   ALEXANDER, ORLANDO
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ALEXANDER, PHILIP                    ALEXANDER, RASHONDA                  ALEXANDER, REBECCA
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ALEXANDER, RICHARD                   ALEXANDER, SARA                      ALEXANDER, SARAH
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ALEXANDER, SARAH                     ALEXANDER, SHARLENE                  ALEXANDER, SUSAN
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ALEXANDER, SUSAN                     ALEXANDER, SYAMALA                   ALEXANDER, TERRELL
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ALEXANDER, TERRENCE                  ALEXANDER, TEYON                     ALEXANDER, THERESA
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ALEXANDER, THOMAS                    ALEXANDER, TINA                      ALEXANDER, TISH
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                        Case 22-11238-LSS
ALEXANDER, TONI AND SCOTT                   Doc
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                                                TONI                  PageALEXANDER,
                                                                           72 of 5495WILLIAM
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ALEXANDER, ZOE                       ALEXANDERSON, CHRISTINA              ALEXANDRA CRESPO
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ALEXANDRA DESERIO                    ALEXANDRA DRESSMAN                   ALEXANDRA HSIE
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ALEXANDRA JANSEN                     ALEXANDRA KERN                       ALEXANDRA LOPEZ
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ALEXANDRA LOUISE MARCHBANK           ALEXANDRA MEJIA                      ALEXANDRA OLSON
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ALEXANDRA PEREZ GONZALEZ             ALEXANDRA POPE                       ALEXANDRA RUTHERFORD
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ALEXANDRA VAN NESS                   ALEXANDRA                            ALEXANDRA, MARIA
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ALEXANDRE KRASTEV                    ALEXANDRE RICHARD                    ALEXANDRE ZHANG
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ALEXANDRE, CARLINE                   ALEXANDREA, KRISTYN                  ALEXANDRIA ESTES
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ALEXANDRIA NOLAN                     ALEXANDRIA STANDI                    ALEXEY BUSHUYEV
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ALEXIOU, LAUREN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALEXIS BARNES                    PageALEXIS
                                                                           73 ofBAUGHEY
                                                                                 5495
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ALEXIS BOHLANDER                     ALEXIS DRAKE                         ALEXIS FELGER
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ALEXIS S DE MAN                      ALEXIS THOMPSON                      ALEXIS, ELBA
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ALEXIS, MCLEISH                      ALEXIS, NAOMI                        ALEXIS, RAVEN
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ALEXIUS AMOS                         ALEXYSS RUBJERG                      ALEY, CASEY
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ALEY, JESSICA                        ALEYAH FARMBRY                       ALF, RON
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ALFANO, ERIKA                        ALFANO, SARAH                        ALFANO-SMITH, MIRANDA
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ALFARO, DAVID                        ALFARO, DAVID                        ALFARO, JOANNA
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ALFARO, MAYRA                        ALFARO, SOFIA                        ALFARO, VANESSA
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ALFARO, YADI                         ALFECHE, ALANA                       ALFERA, JOCELYN
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ALFIMOW, VICTORIA       Case 22-11238-LSS
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                                                                            74 of 5495
                                                                                    ALANNAH
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ALFONSO, CHRISTINE                   ALFONSO, CRISTINA                     ALFONSO, JULIANA
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ALFONSO, MARK                        ALFONSO, MIRTHA                       ALFONZO, RAFAEL
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ALFORD, ALEX                         ALFORD, ASHLEY                        ALFORD, BRANDY
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ALFORD, BRIANA                       ALFORD, DAVID                         ALFORD, DEBORAH
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ALFORD, HAILEY                       ALFORD, JESSIE                        ALFORD, KATHY
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ALFORD, KRIS                         ALFORD, LEANNE                        ALFORD, LINDSEY
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ALFOUZAN, YASMEEN                    ALFRED E MCNAIR JR                    ALFRED H PLUMMER III
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ALFRED PATRON                        ALFRED RODRIGUES                      ALFRED, JAMES
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ALFRED, KIMBERLY                     ALFRED, SAVANNAH                      ALFREDSON, GARY
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ALFREDSON, REBECCA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALFREY, JASON                    PageALFSEN,
                                                                           75 of KAREN
                                                                                  5495
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ALGE, KENZIE                         ALGER, MALLORY                       ALGER, MISSI
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ALGER, RICHARD                       ALGER, WADE                          ALGHAMDI, MOHAMMED
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ALGYA, JORDAN                        ALGYA, NICK                          ALHADEF, REAGAN
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ALHADEFF, NINA                       ALHANNA, ESSA                        ALHANTE, JORDANA
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ALHARBI, MSHARY                      ALHAWAS, REEM                        AL-HIREZ, KYLEY
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ALI CLARK                            ALI HALFORD                          ALI HANLON, ALI
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ALI HILGERS                          ALI KHAN                             ALI KUENZEL
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ALI MAHONEY                          ALI OCHOA                            ALI, AMENA
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ALI, ANNESHA                         ALI, DANYAL                          ALI, DERRICK
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ALI, DEVIN              Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ALI, ELIZABETH                   PageALI,
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                                                                               of 5495
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ALI, JUZER                           ALI, KHUSHNASEEB                     ALI, MARISELA
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ALI, MOUSHUMI                        ALI, NADIYA                          ALI, SERENA
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ALI, STEPHANIE                       ALI, SUNITA                          ALIANELL, TESSA
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ALIBERTI, BRITTANY                   ALIBERTO, VINCENT                    ALIBEY, ISHA
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ALIBRANDO, VINCE                     ALICE HENRY                          ALICE J OCONNOR
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ALICE L HOOD                         ALICE P LANGLEY                      ALICE U HAHN
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ALICE VIRGINIA KOEHLER               ALICE, MARY                          ALICEA, AMBER
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ALICEA, FELIX                        ALICEA, LINDA                        ALICEA, MELODY ANN
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ALICEA, WILFREDO                     ALICEN HUMPHREYS                     ALICIA GARNEY
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ALICIA HURLEY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALICIA JONES                     PageALICIA
                                                                           77 ofRAMFOS
                                                                                 5495
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ALICIA RODRIGUEZ                     ALICIA SODERBERG                     ALICIA SUNARYO
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ALICIA WARD                          ALICIA WILLEY                        ALICIA WITMAN
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ALICIA YOPCHICK                      ALICK, CHRISTINE                     ALICK, JESSE
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ALIEV, MICHELLE                      ALIFF, CINDY                         ALIFF, DIANA
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ALIFF, KAYSEE                        ALIFF, MALLORY                       ALI-HASAN, NABEELA
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ALIMENT, NICOLE                      ALIMOVA, MASHA                       ALINA DENG
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ALINE PEZENTE                        ALINSOD, NAP                         ALIOTO, MARIA
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ALIPERTI, KAROL                      ALIPIO, JUSTINE                      ALIQUO, CAITLIN
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ALISA MANNY             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALISA SHORAGO                   PageALISE
                                                                          78 of  5495
                                                                               ELLIOTT
ADDRESS AVAILABLE UPON REQUEST       SHORAGO TRAINING SERVICES           ADDRESS AVAILABLE UPON REQUEST
                                     2307 FENTON PKWY, STE 107-14
                                     SAN DIEGO, CA 92108




ALISHA GANDHI, AJ BROWN &           ALISHA RUNCKEL                       ALISHA RUNCKEL
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ALISIA FELIPE AMAYA                 ALISON BERMAN                        ALISON BETH DOERFFEL MCNICHOLAS
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ALISON C JOHNSON                    ALISON HODGES                        ALISON MACKENZIE
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ALISON MARINO                       ALISON PHILLIPS                      ALISON QUINN
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ALISON ROSE TAKAHASHI               ALISON STANTON                       ALISSA BONNEAU
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ALISSA PINKAS                       ALIT, KARRIE                         ALIX, MADISON
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ALIXANDRIA MCDEAVITT                ALIYA ALI                            ALIYEV, ISRAFIL
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ALIYEV, ISRAFIL                     ALJANCIC, ABBY                       ALJANCIC, LAUREN
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ALJAWAI, YOSRA                      ALKAS, SARAH                         ALKEBSI, GHADIR
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ALKESH PATEL            Case 22-11238-LSS
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                                                                                        of 5495
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ALL AMERICAN CONTAINERS OF PACIFIC      ALL AMERICAN CONTAINERS OF PACIFIC          ALL AMERICAN HOME SOLUTIONS LLC
COAST, INC.                             COAST, INC.                                 8108 LIMEHOUSE LN
5600 EARHART COURT                      9330 NW 110 AVENUE                          LOUISVILLE, KY 40220
WINDSOR, CA 95492                       MIAMI, FL 33178




ALL TAXI MANAGEMENT                     ALL THE TIME MOVERS, INC                    ALLA ZBIRUN
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                                        DENVER, CO 80223




ALLAIN, CHRIS                           ALLAIRE, JAMIE                              ALLAMAN, ELAINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALLAN CARROLL DINGMAN                   ALLAN JEFFRIES FRAMING                      ALLAN ROY RICHARDS JR
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ALLAN, KAREN                            ALLAN, KRISTIN                              ALLAN, LAURA
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ALLAN, SAMER                            ALLAN, TERRI                                ALLAN, WENDY
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ALLANBROOK, ASHLEY                      ALLAN-DANTAS, SHELLEY                       ALLAN-HAGEDORN, JENNIFER
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ALLANTE, TALBERT,                       ALLAR, DANIEL                               ALLARD, CHARLOTTE
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ALLARD, ELIZABETH                       ALLARD, HILLARY CARBERRY                    ALLARD, JEFF
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ALLARD, JESSI           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALLARD, MARGARET                     PageALLARDICE,
                                                                               80 of 5495DONNA
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ALLARDYCE, KRISTEN                   ALLATAR, ALLEN                           ALLATTA, ELIZABETH
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ALLBEE, KRISTA                       ALLBRIGHT, ABIGAIL                       ALLBRIGHT, BILL
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ALLBRIGHT, RYAN                      ALLBRITTON, CHRIS                        ALLBRITTON, RAVEN
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ALLBRITTON, STACY                    ALLCORN, NICOLE                          ALLDREDGE, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ALLDREDGE, LILLY                     ALLEGIS GROUP HOLDINGS, INC. (AEROTEK,   ALLEGIS GROUP HOLDINGS, INC. (AEROTEK,
ADDRESS AVAILABLE UPON REQUEST       INC.)                                    INC.)
                                     7301 PARKWAY DRIVE                       7301 PARKWAY DRIVE
                                     HANOVER, MD 21076                        THOMAS KELLY, PRESIDENT
                                                                              HANOVER, MD 21076



ALLEGOOD, KATHLEEN                   ALLEGOOD, LAURA                          ALLEGRA PRINT & IMAGING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           363 CORAL CIRCLE EL
                                                                              SEGUNDO, CA 90245




ALLEGRE, WESLEY                      ALLEGREZZA, ISABELLA                     ALLEGREZZA, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ALLEGROTTI, TRACY                    ALLELUIA, JANINE                         ALLEMAN, CAITLIN
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ALLEMAN, DEBORAH                     ALLEMAN, PADEN                           ALLEMANN, BRYCE
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ALLEN CALDWELL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALLEN FIELD                      PageALLEN
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ALLEN FIELD                          ALLEN FLEMING                        ALLEN HAMERS
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ALLEN JENNIFER                       ALLEN M KLEIN                        ALLEN SCOTT HERRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLEN, ABIGAIL                       ALLEN, ADRIANNE                      ALLEN, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLEN, ALEXANDRA                     ALLEN, AMANDA                        ALLEN, AMBER
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ALLEN, AMY                           ALLEN, AMY                           ALLEN, ANGEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLEN, ANGELA                        ALLEN, ANGELINA                      ALLEN, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLEN, ANTOINETTE                    ALLEN, ASHLEY                        ALLEN, AUDREY
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ALLEN, BAILEY                        ALLEN, BARBARA                       ALLEN, BECKY
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ALLEN, BETTY                         ALLEN, BILL                          ALLEN, BOYD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALLEN, BRIAN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           82 ofBRIDGETTE
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ALLEN, BRITTANY                      ALLEN, CAITLIN                       ALLEN, CAPRICE
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ALLEN, CATHLEEN                      ALLEN, CATHY                         ALLEN, CAYLI
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ALLEN, CHAD                          ALLEN, CHELSEA                       ALLEN, CHELSEA
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ALLEN, CHELSEY                       ALLEN, CHIC                          ALLEN, CHRISTY
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ALLEN, CINDY                         ALLEN, CLAIRE                        ALLEN, CONISA
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ALLEN, CORALY                        ALLEN, COURTNEY                      ALLEN, CYNDI
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ALLEN, DAN                           ALLEN, DANICA                        ALLEN, DANIELLE
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ALLEN, DANNY                         ALLEN, DAVID                         ALLEN, DEBRA
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ALLEN, DENA                          ALLEN, DIANNA                        ALLEN, DINA
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ALLEN, DOROTHY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           83 ofELISE
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ALLEN, ELISE.                        ALLEN, ELIZABETH                     ALLEN, EMILY
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ALLEN, EMILY                         ALLEN, ERIKA                         ALLEN, ERIN
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ALLEN, EVA                           ALLEN, GABRIELLE                     ALLEN, GEOFFREY
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ALLEN, GLORIA                        ALLEN, GRACE                         ALLEN, GREGORY
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ALLEN, HALEY                         ALLEN, HEATHER                       ALLEN, HEATHER
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ALLEN, HUNTER                        ALLEN, JACQUEZ                       ALLEN, JADE
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ALLEN, JAKOB                         ALLEN, JAMES                         ALLEN, JAMIE
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ALLEN, JANEE                         ALLEN, JANEL                         ALLEN, JANET
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ALLEN, JASMINE                       ALLEN, JASON                         ALLEN, JASON
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ALLEN, JEFF             Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           84 ofJENNIFER
                                                                                 5495
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ALLEN, JENNIFER                      ALLEN, JENNIFER                      ALLEN, JESSE
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ALLEN, JESSICA                       ALLEN, JESSICA                       ALLEN, JESSICA
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ALLEN, JESSICA                       ALLEN, JOEI                          ALLEN, JOHN
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ALLEN, JOY                           ALLEN, JULIA                         ALLEN, JULIA
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ALLEN, JULIE                         ALLEN, JUSTIN                        ALLEN, KAISEY
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ALLEN, KAREN                         ALLEN, KATE                          ALLEN, KATHERINE
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ALLEN, KATHERINE                     ALLEN, KATHLEEN                      ALLEN, KATHRYN
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ALLEN, KATHRYN                       ALLEN, KATHRYN                       ALLEN, KATHY
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ALLEN, KATY                          ALLEN, KAYLIE                        ALLEN, KELSEY
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ALLEN, KELSEY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           85 ofKES
                                                                                 5495
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ALLEN, KIM                           ALLEN, KIMBERLY                      ALLEN, KRIS
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ALLEN, KRISHON                       ALLEN, KRISTEN                       ALLEN, KRISTIE
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ALLEN, KRISTIN                       ALLEN, KRISTINA                      ALLEN, KRISTINA
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ALLEN, KRISTINA                      ALLEN, KRISTY                        ALLEN, LAUREN
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ALLEN, LAURY                         ALLEN, LAURYN                        ALLEN, LAURYN
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ALLEN, LEE                           ALLEN, LESLEY                        ALLEN, LESLIE
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ALLEN, LINDSEY                       ALLEN, LINDSEY                       ALLEN, LIZZIE
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ALLEN, MARISSA                       ALLEN, MARLIANA                      ALLEN, MARY JO
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ALLEN, MATT                          ALLEN, MAYA                          ALLEN, MCKENZIE
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ALLEN, MEAGAN           Case 22-11238-LSS    Doc 2 Filed 11/30/22
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                                                                           86 ofMELISSA
                                                                                 5495
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ALLEN, MERLE                         ALLEN, MICHAEL                       ALLEN, MICHELLE
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ALLEN, MICHELLE                      ALLEN, MICHELLE                      ALLEN, MONICA
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ALLEN, MONICA                        ALLEN, NATALIE                       ALLEN, NICALA
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ALLEN, NIKOLE                        ALLEN, NINA                          ALLEN, PATRICIA
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ALLEN, PAULA                         ALLEN, PAULINE                       ALLEN, PETER
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ALLEN, PHILLIP                       ALLEN, PHYLLIS                       ALLEN, POLLY
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ALLEN, RACHEL                        ALLEN, RAHSAANA                      ALLEN, REBECCA
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ALLEN, RICHARD                       ALLEN, ROBERT                        ALLEN, ROXANNE
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ALLEN, RYAN                          ALLEN, S KATHRYN                     ALLEN, SHEA
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ALLEN, SHEILA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           87 ofSHELLIE
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ALLEN, STEPHANIE                     ALLEN, STEPHANIE                     ALLEN, STEPHANIE
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ALLEN, STEPHON                       ALLEN, STEVEN                        ALLEN, SUSAN
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ALLEN, SUSAN                         ALLEN, TAJ                           ALLEN, TAMARA
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ALLEN, TAYLOR                        ALLEN, TERI                          ALLEN, TERICA
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ALLEN, THERESA                       ALLEN, TIMOTHY                       ALLEN, TONI
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ALLEN, TRISHA                        ALLEN, TYLER                         ALLEN, VICKI
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ALLEN, WILL                          ALLEN, ZSA ZSA                       ALLENDE, JENYS
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ALLENDER, ANDREA                     ALLENDER, JUDY                       ALLENDER, LAUREN
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ALLENDER, LORI                       ALLEN-LEWIS, MARAENA                 ALLENSON, KYLE
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ALLER, ALEXANDRA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                                  88 ofJESSICA
                                                                                        5495
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ALLER, LAURA                         ALLERDICE-GEROW, HEATHER                    ALLERT, BILL
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ALLEVA, NICK                         ALLEVATO, NICHOLAS                          ALLEY, EMILY
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ALLEY, HANNAH                        ALLEY, KELLY                                ALLEY, OLIVIA
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ALLEYN, ALYSSA                       ALLEYNE, AMANDA                             ALLEYNE, DIANA
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ALLEYNE, SARAH                       ALLEYNE-RODRIGUEZ, TONYA                    ALLGIRE, LYNN
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ALLI, ALEENA                         ALLI, YASMIN                                ALLIBONE, KEITH
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ALLIE, KRISTIN                       ALLIE, LEIGH                                ALLIE, SKYLAR
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ALLIED GRAPE GROWERS                 ALLIED RENT A CAR                           ALLIED WORLD INSURANCE COMPANY
7030 N. FRUIT, SUITE 115             ADDRESS UNAVAILABLE AT TIME OF FILING       550 S HOPE ST, STE 1825
FRESNO, CA 93711                                                                 LOS ANGELES, CA 90071




ALLIERI, RAYMOND                     ALLIGOOD, JOE                               ALLINGER, CRAIG
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ALLINGER, MICHAEL       Case 22-11238-LSS
                                     ALLINSON,Doc  2 Filed 11/30/22
                                               KELLY                  PageALLISON
                                                                           89 of 5495
                                                                                  ANNE KIMSEY
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ALLISON B THORNTON                   ALLISON B THORNTON                   ALLISON BANTZ
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ALLISON BLAKE SEIGLER                ALLISON BRENNER                      ALLISON C SOTELO
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ALLISON CHAFFO                       ALLISON CHENEY                       ALLISON GERWICK
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ALLISON HARRELL                      ALLISON HOPE                         ALLISON MAE STALBERGER
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ALLISON MELONI                       ALLISON NICHUALS                     ALLISON PROVOST
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ALLISON SCULL                        ALLISON WESTFAHL                     ALLISON, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLISON, AMBER                       ALLISON, BAILEY                      ALLISON, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLISON, CHANCE                      ALLISON, DARBE                       ALLISON, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLISON, DIANNE                      ALLISON, EMILY                       ALLISON, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALLISON, GAYELEA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALLISON, GORDON                  PageALLISON,
                                                                           90 of 5495
                                                                                   JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLISON, JAMES                       ALLISON, JENNIFER                     ALLISON, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLISON, JESSICA                     ALLISON, JOHN                         ALLISON, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLISON, KAREN                       ALLISON, LORRAINE                     ALLISON, MARY HOPKINS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLISON, MARY                        ALLISON, OLGA                         ALLISON, REGINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLISON, SARA                        ALLISON, SARAH                        ALLISON, SUMMER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLISON, TAYLOR                      ALLMAIER, GRACE                       ALLMAN, ASHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLMAN, CLAIRE                       ALLMAN, DEAN                          ALLMAN, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLMAN, ZACHARY                      ALLMARAS, LAURETTA                    ALLMAYER, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALLMENDINGER, MOLLY                  ALLMON, SARAH                         ALLOU, CLAUDIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ALLOY, VALERIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALLRED, CYNTHIA                  PageALLRED,
                                                                           91 of JACQUI
                                                                                  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLRED, PAULA                        ALLRED, SANDRA                       ALLRED, TONYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLS, ELISE                          ALLSHOUSE, MEGAN                     ALLSPAUGH, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALLSUP, SHELBY                       ALLWORTH, ALYSSA                     ALLY, RAYMOND
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ALLYSON MORALES                      ALLYSSA SAMPSON                      ALMAGUER, ABBY
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ALMAGUER, KIMBERLY                   ALMAGUER, YESENIA                    ALMAN, ALEXIS
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ALMANZA, JULIANA                     ALMANZA, LEILANI                     ALMANZAR, RONIEL
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ALMANZAR, ROSEANNE                   ALMANZAR, SAUL                       ALMANZA-WADE, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALMARAZ, KRISTEN                     ALMARAZ-CAMACHO, ALONDRA             ALMAZAN, DEBBIE
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ALMAZAN, ESTEBAN                     ALMAZAN, MIRIAM                      ALMEDA, FALYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALMEDINA, ALEXAVIER     Case 22-11238-LSS
                                     ALMEDOM,Doc
                                              ELIM2   Filed 11/30/22   PageALMEIDA,
                                                                            92 of 5495
                                                                                    ADRIAN
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ALMEIDA, BIANCA                      ALMEIDA, JOSE                          ALMEIDA, JULIA
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ALMEIDA, KRISTHAL                    ALMEIDA, NATHALIA                      ALMEIDA, VALERIA
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ALMEIDA-GARDNER, JUCELI              ALMEN, MADELINE                        ALMENDARES, ASHLEY
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ALMENDAREZ, HEATHER                  ALMENDAREZ, OSCAR                      ALMENDARIZ, PERLA
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ALMESTICA, TAINA                     ALMIROL, CATHERINE                     ALMODOVAR, ADRIAN
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ALMODOVAR, LISSETH                   ALMOGY, NECHAMA                        ALMON, OLIVIA
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ALMONACY, RODINI                     ALMOND, ALEX                           ALMOND, JEFF
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ALMOND, LADONNA                      ALMOND, TERESA                         ALMOND, VINCE
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ALMONTE, DIO                         ALMONTE, ELEISIDA                      ALMONTE, EMELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ALMONTE, MARLIN         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ALMONY, GINNY                       PageALMORIN,
                                                                              93 of 5495
                                                                                      JORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ALMOST STAVRAKIS, EMILY                 ALMOSUA, WADAD                       ALMQUIST, ERIKA
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ALMROTH, EMMALEE                        ALMY, JUSTIN                         ALMY, MARNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALOHA FRIDAYS                           ALOI, BIANCA                         ALOI, DONNA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALOIA, DAVID                            ALOISIO, TRACEY                      ALOK SINGH
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ALOMAR, KRYSTLE                         ALONGI, CATHERINE                    ALONGI, KAILEY
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ALONGI, MICHELE                         ALONGI, SERRA                        ALONSO, ALLISON
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ALONSO, ASHLEY                          ALONSO, CARMEN                       ALONSO, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALONSO, EVA                             ALONSO, HELEN                        ALONSO, JIA
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ALONSO, JORGE                           ALONSO, NATALIA                      ALONSO, NICHOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALONSO, PAULA           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ALONSO, ROY                             PageALONSO,
                                                                                  94 of 5495
                                                                                         SABRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALONSO, TANYA                        ALONSO, WILLIAM                             ALONZO, CYNTHIA
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ALONZO, EDDIE                        ALONZO, LAURA                               ALONZO, LINDA
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ALONZO, MARANDA                      ALONZO, RYAN                                ALONZO, SUSANA E.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALONZO, VIRGINIA                     ALOSCO, BRIAN                               ALOSI, HEATHER
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ALOU-HICKS, MERCEDES                 ALPER, LAURA                                ALPERT, ADAM
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ALPERT, LYNN                         ALPERT, PHILLIP                             ALPHONSE, JOSEPH
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ALPIAN, MASSIMO                      ALPINE MARKET INC                           ALPTEKIN, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING       ADDRESS AVAILABLE UPON REQUEST




AL-QATTAN, DANYA                     ALQUIST, PIERCE                             AL-RASHID, NOOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




ALRICH, BRITTANY                     ALSABROOK, COLTON                           ALSABROOK, JOY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
ALSAWALHI, AHMAD        Case 22-11238-LSS   Doc
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                                                                           95 ofMATTHEW
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ALSMAN, MACEY                        ALSOBROOK, ALYN                      ALSOBROOK, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALSOBROOK, MELISSA                   ALSOBROOKS, KATIE                    ALSOP, KARLA
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ALSOP, ROBERT                        ALSTEAD, JESSICA                     ALSTERLUND, NORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALSTON, ASHLEE                       ALSTON, ASHLEIGH                     ALSTON, AURELIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALSTON, BRAD                         ALSTON, COREY                        ALSTON, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALSTON, FELICIA                      ALSTON, JOYCE                        ALSTON, KASHEKA
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ALSTON, KATHY                        ALSTON, MEREDITH                     ALSTON, NATASHA
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ALSTON, ROBERT                       ALSTON, SCARLETT                     ALSTON, TAWNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALSTON, TEMPEST                      ALSTON, VICKI                        ALSUP, AVERY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALSUP, GRAY             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALSUP, LINDSAY                   PageALT,
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                                                                               of 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALT, MELINDA                         ALTA BAJA MARKET                     ALTA LOMA VINEYARD, LLC
ADDRESS AVAILABLE UPON REQUEST       201 E. 4TH ST.                       ATTN: MATT PARKER, EVP
                                     SANTA ANA, CA 92701                  855 BORDEAUX WAY, SUITE 100
                                                                          NAPA, CA 94558




ALTADONNA, JENNIFER                  ALTAFFER, HAILEE                     ALTAMIRANDA, VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALTAMIRANO, BRIDGET                  ALTAMIRANO, MANUEL                   ALTEBRANDO, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALTEMUS, JENNIFER                    ALTEMUS, STEPHANIE                   ALTENDORF, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALTENHOFEN, SAGE                     ALTENWERTH, DELANEY                  ALTER, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALTER, DR. LEO                       ALTER, JOHN                          ALTER, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALTER, LIZ                           ALTER, MORGYN                        ALTERIO, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALTERMATT, JAIME                     ALTERS, JANEL                        ALTHEIDE, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ALTHOFF, CRAIG                       ALTHOFF, KEVIN                       ALTHOUSE, ALEENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ALTHOUSE, COURTNEY      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ALTIERI, KATI                     PageALTIERI,
                                                                            97 of MEREDITH
                                                                                    5495
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ALTINE, LOUIS                        ALTIZER, NICOLE                       ALTMAN, ALEXANDRA
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ALTMAN, AUDREY                       ALTMAN, DANA                          ALTMAN, FAITH
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ALTMAN, GRETCHEN                     ALTMAN, JACKLIN                       ALTMAN, JOSEPHINE
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ALTMAN, KELLY                        ALTMAN, KT                            ALTMAN, LAUREN
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ALTMAN, TARA                         ALTMANN, AVA                          ALTMANN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALTMANN, PATRIZIA                    ALTMANSBERGER, TIMOTHY                ALTO IRA EMPIRE TRUST CUSTODIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        FBO JENNIE HSU-LUMETTA IRA
                                                                           1906 GLEN ECHO ROAD 159301
                                                                           NASHVILLE, TN 37215




ALTO                                 ALTOBELLI, MARY ANN                   ALTOIRA - JERRY W KING
900 DRAGON ST STE 100                ADDRESS AVAILABLE UPON REQUEST        1906 GLEN ECHO ROAD 159301
DALLAS, TX 75207                                                           NASHVILLE, TN 27215




ALTOIRA EMPIRE TRUST CUSTODIAN       ALTOIRA EMPIRE TRUST CUSTODIAN        ALTOIRA EMPIRE TRUST CUSTODIAN
FBO ANA GUZMAN IRA                   FBO ANDREW EHRET                      FBO CARLOS RIVERA IRA
1906 GLEN ECHO ROAD 159301           500 11TH AVENUE N 790                 1906 GLEN ECHO ROAD 159301
NASHVILLE, TN 27215                  NASHVILLE, TN 37204                   NASHVILLE, TN 37215




ALTOIRA EMPIRE TRUST CUSTODIAN       ALTOIRA EMPIRE TRUST CUSTODIAN        ALTOIRA EMPIRE TRUST CUSTODIAN
FBO CHARLES J MERRILL IRA            FBO CHRISTOPHER LUDWIG ROTH IRA       FBO DAVID DEVITA IRA
1906 GLEN ECHO ROAD 159301           ALTO SOLUTIONS, INC.                  1906 GLEN ECHO ROAD 159301
NASHVILLE, TN 27215                  500 11TH AVE N SUITE 790              NASHVILLE, TN 27215
                                     NASHVILLE, TN 37203
                         Case 22-11238-LSS
ALTOIRA EMPIRE TRUST CUSTODIAN                 Doc 2TRUST
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                                                             CUSTODIAN    PageALTOIRA
                                                                               98 of 5495
                                                                                      EMPIRE TRUST CUSTODIAN
FBO DOMINIC HARDIMAN                  FBO DONALD JACK BERGMAN                 FBO DUKE ROMKEY ROTH IRA
ALTO SOLUTIONS, INC.                  ALTO SOLUTIONS, INC.                    ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790              500 11TH AVE N SUITE 790                500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                   NASHVILLE, TN 37203                     NASHVILLE, TN 37203



ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN
FBO ESTHER BEAUTY KIM IRA              FBO GERMAN GUERRERO                    FBO HIREN DESAI ROTH IRA
ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                    NASHVILLE, TN 37203                    NASHVILLE, TN 37203



ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN
FBO HONGSHI XU IRA                     FBO JOSEPH MARRA IRA                   FBO KUNAL BAVISHI
ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                    NASHVILLE, TN 37203                    NASHVILLE, TN 37203



ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN
FBO KYRA TIMIAN IRA                    FBO MARK DAVID SHERIDAN IRA            FBO MARTY KAYE IRA
ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                    NASHVILLE, TN 37203                    NASHVILLE, TN 37203



ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN
FBO MATTHEW BOUTHILETTE IRA            FBO MATTHEW YAUCH IRA                  FBO PETRA DANIELA GOLLONG
ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                    NASHVILLE, TN 37203                    NASHVILLE, TN 37203



ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN
FBO REBECCA STORER                     FBO ROBERT CLAGGETT                    FBO ROBERT WAGNON
ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                    NASHVILLE, TN 37203                    NASHVILLE, TN 37203



ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN
FBO RYAN A MOORE                       FBO SHRIRAM MOGALLAPALLI IRA           FBO STEVEN EGBERT IRA
ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                    NASHVILLE, TN 37203                    NASHVILLE, TN 37203



ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN
FBO SUE SMECKERT YAMAMOTO IRA          FBO SUZANN WESTERFIELD                 FBO SUZANNE JARDINE IRA
ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                    NASHVILLE, TN 37203                    NASHVILLE, TN 37203



ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOIRA EMPIRE TRUST CUSTODIAN         ALTOMARE, JOANNE
FBO TODD BECKMANN IRA                  FBO VINCENT CURTIS WALTERS IRA         ADDRESS AVAILABLE UPON REQUEST
ALTO SOLUTIONS, INC.                   ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790               500 11TH AVE N SUITE 790
NASHVILLE, TN 37203                    NASHVILLE, TN 37203



ALTON W POWELL III                     ALTON, BRYAUNA                         ALTON, LARINA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
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                                                                         99 of 5495
                                                                                  OLIVIA
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALTROCK, CHRISTINE                 ALTROOZ, INC.                         ALTSCHUL, EMILY
ADDRESS AVAILABLE UPON REQUEST     6 ASH AVENUE                          ADDRESS AVAILABLE UPON REQUEST
                                   CORTE MADERA, CA 94925




ALTSCHULER, GIUSTINE               ALTSCHULER, SERENA                    ALTSHULER, COURTNEY
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALTSTADT, TODD                     ALTUNIAN, LARA                        ALTYN TOKBAYEVA
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALUICIO, VERONICA                  ALUNAN, MARIE                         ALUNKAL, KAREN
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ALUSIOLA, ANGELA                   ALVA, ANTONIO                         ALVA, DANIEL
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ALVARADO, ADRIANA                  ALVARADO, ANALIZA                     ALVARADO, ANGELINA
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVARADO, ASHLEY                   ALVARADO, CARLOS                      ALVARADO, CAROLINA
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVARADO, CLAUDIA                  ALVARADO, COLLEEN                     ALVARADO, DALLAS
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ALVARADO, DIANE                    ALVARADO, DIANNA                      ALVARADO, GABRIELA
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ALVARADO, GABRIELLA    Case 22-11238-LSS    Doc
                                     ALVARADO,   2 Filed 11/30/22
                                               JACQUE                 Page ALVARADO,
                                                                            100 of 5495
                                                                                     JACQUELYN
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ALVARADO, JANETH                     ALVARADO, JENNIFER                    ALVARADO, JERRY
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ALVARADO, JILLIAN                    ALVARADO, JOSE                        ALVARADO, JOSEPH
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ALVARADO, KAITLYN                    ALVARADO, KAYLEY                      ALVARADO, LORENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVARADO, MARCO                      ALVARADO, MARIAH                      ALVARADO, MARLON
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ALVARADO, MATILDE                    ALVARADO, MIRNA                       ALVARADO, TRAVIS
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ALVARADO, VALORIE                    ALVARADO, WILSON                      ALVARADO-TELLEZ, SABRINA
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ALVARE, SAMANTHA                     ALVARENGA, GUILHERME                  ALVAREZ CRUZ, CYNTHIA
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ALVAREZ MELLS, CARLA                 ALVAREZ, ADRIANA                      ALVAREZ, ALMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, ALYSSA                      ALVAREZ, ANDRES                       ALVAREZ, ANDY & BECCA
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ALVAREZ, ARIANA        Case 22-11238-LSS
                                     ALVAREZ,Doc  2 Filed 11/30/22
                                              AUTUMN                  Page ALVAREZ,
                                                                            101 of 5495
                                                                                    BRENNEN
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ALVAREZ, CAMERON                     ALVAREZ, CARMEN                       ALVAREZ, CRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, DARYELIS                    ALVAREZ, EDMARIE                      ALVAREZ, EDUARDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, ELIZABETH                   ALVAREZ, ELLEN                        ALVAREZ, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, GONZALO                     ALVAREZ, GONZALO                      ALVAREZ, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, JASAN                       ALVAREZ, JEANETTE                     ALVAREZ, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, JENNIFER                    ALVAREZ, JOSEPH                       ALVAREZ, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, KATHERINE                   ALVAREZ, KATHLEEN                     ALVAREZ, KATRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, KELSEY                      ALVAREZ, LARA                         ALVAREZ, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALVAREZ, LIL                         ALVAREZ, LIZ                          ALVAREZ, MARIA DAISY
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ALVAREZ, MARK          Case 22-11238-LSS
                                     ALVAREZ,Doc 2 Filed 11/30/22
                                              MARLEN                  Page ALVAREZ,
                                                                            102 of 5495
                                                                                    MELINDA
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ALVAREZ, MIGUEL                      ALVAREZ, MILLIAM                      ALVAREZ, NATALIA
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ALVAREZ, NELSON                      ALVAREZ, OSCAR                        ALVAREZ, PELAYO
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ALVAREZ, PRISCILLA                   ALVAREZ, REBECCA                      ALVAREZ, SABRINA
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ALVAREZ, SADYE                       ALVAREZ, SERGIO                       ALVAREZ, STACEY
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ALVAREZ, TANYA                       ALVAREZ, YESENIA                      ALVARO F PATARROYO
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ALVARO TAPIA HIDALGO                 ALVARO, FINN                          ALVARO, NICOLE
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ALVEAL, GUS                          ALVEAL, GUSTAVO                       ALVERSON, SHASTA
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ALVERSON, TAMMY                      ALVES, ANDRE                          ALVES, ANGELA
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ALVES, CAMILA                        ALVES, HELIA                          ALVES, JEFF
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ALVES, KATHERINE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ALVES, RAFAELA                   Page ALVES,
                                                                            103 ofTAMMY
                                                                                    5495
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ALVEY, JOSEPH                        ALVGREN, HANNA                        ALVIAR, FRANCIS
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ALVICH, JENNIFER                     ALVIN, DANA                           ALVINO, ALYSSA
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ALVIS, JERRY                         ALVIS, KRISTIN                        ALVORD, GRACE
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ALVORD, JAMES                        ALVORD, MEGAN                         ALVRUS, JAMIE
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ALWAN, AKILAH                        ALWANG, ALEX                          ALWANI, ASHA
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ALWARD, MATTHEW                      ALWIN, MARYJO                         ALWORTH, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALYACOUB, LEEN                       ALYCE, INC.                           ALYCIA QUICK
ADDRESS AVAILABLE UPON REQUEST       105 KINGSTON ST.                      ADDRESS AVAILABLE UPON REQUEST
                                     BOSTON, MA 02111-2120




ALYSE ZIEDE                          ALYSON BENDER                         ALYSON LEWIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ALYSSA GILMETTE                      ALYSSA J SMITH                        ALYSSA PHANNENSTJEL
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ALYSSA VERTUCA         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ALYSSA WEINSTEIN-SEARS           Page ALZHEIMER,
                                                                            104 of 5495
                                                                                      BRIDGET
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AMA BANAHENE                         AMACHER, JACQUELINE                   AMACHER, KIMBERLY
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AMACKER, JEFFERSON                   AMADA, OSCAR                          AMADO, KRISTINA
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AMADO, MARCELO                       AMADOR, ALEJANDRA                     AMADOR, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMADOR, CLAUDIA                      AMADOR, GABRIEL                       AMADOR, NATALIA
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AMADOR, NICK                         AMADOR, PAGE                          AMAECHI, BLERTA
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AMAKER, JENNIFER                     AMAKOM, IFEOMA                        AMALFITANO, CAROLINE
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AMAN, EMILY                          AMANDA ARNOLD                         AMANDA BECKER
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AMANDA BUSCH                         AMANDA CHRISTINE FRIEBERG             AMANDA COKELY
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AMANDA DELARATTA                     AMANDA DOMALECZNY                     AMANDA EDWARDS
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AMANDA FLETCHER        Case 22-11238-LSS
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                                                                            105 of HOLT
                                                                                    5495
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AMANDA JACKOWSKI                     AMANDA JONES                          AMANDA KEHR
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AMANDA KLINGER                       AMANDA LANGION                        AMANDA LAUGHLIN
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AMANDA LIEBERT                       AMANDA LOCH                           AMANDA LYN ROBERTS
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AMANDA MARCELLE                      AMANDA MENNELLA                       AMANDA MULVIHILL
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AMANDA NAPOLSKI                      AMANDA NGUYEN                         AMANDA PERSAUD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMANDA RAIDAN-FRANCA                 AMANDA S ANSELMINO                    AMANDA SAMOYLOFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMANDA SOWDEN                        AMANDA STRONG                         AMANDA VON PFEIFFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMANDA WHITING                       AMANDA WOLFE                          AMANDA ZABLOCKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMANDA                               AMANDA, GADACZ,                       AMANDA, SHANTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
AMANEE HEARNS          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AMANN, JENNIFER                     Page AMANN,
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AMANTE COFFEE                           AMAR BHAKTA                           AMAR J KUMAR
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMAR, NOMIN                             AMAR, RONI                            AMARA, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMARA, SEBASTIANO                       AMARACHI EMERHO                       AMARAL, ANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMARAL, LEXY                            AMARANTE, FERNANDO                    AMARI, BRITTANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMARI, COLLEEN                          AMARIE, KHADIJAH                      AMARILLAS, SHELLEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMARITI, ELLEN                          AMARJARGAL, OYUT                      AMARO GUZMAN, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMARO, ANDRE                            AMARO, ISIDRO                         AMARO, SUSIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMARO, VALENTINA                        AMAROSA, ASHLEY                       AMASH, JUSTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMASH, MEGAN                            AMASS BRANDS INC.                     AMAT, SIMON
ADDRESS AVAILABLE UPON REQUEST          130 SOUTH ANDERSON STREET             ADDRESS AVAILABLE UPON REQUEST
                                        LOS ANGELES, CA 90033
AMATO, ADRIANA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AMATO, AGOSTINO                  Page AMATO,
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AMATO, ALEXIS                        AMATO, ANNE                           AMATO, BRITNEY
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AMATO, CYNTHIA                       AMATO, DANIEL                         AMATO, ELLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMATO, EMILY                         AMATO, JESSICA                        AMATO, JOSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMATO, JUSTINE                       AMATO, KATHRYN                        AMATO, LYNDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMATO, MIKE                          AMATO, REGINA                         AMATO, ROBERT
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AMATO, ROGER                         AMATO, SUSAN                          AMATO, TAYLOR
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AMATO, VALERIE                       AMAURI HIDALGO                        AMAYA APARICIO, CRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMAYA, ALFREDO                       AMAYA, CARL                           AMAYA, COLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMAYA, LILIANA                       AMAZAN, ALAIN                         AMAZON FRESH
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AMAZON WEBSTAURANTSTORE                 AMAZON                                  AMAZON.COM
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AMBACHER-WHITE, CHRISHANA               AMBACHER-WHITE, CHRISHANA               AMBAS, PHILLIP
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AMBER ABRAMS                            AMBER COSTLEY                           AMBER DON
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AMBER HADLEY                            AMBER HERBERT                           AMBER MERRITT
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AMBER NETT, JAMIE                       AMBER ODELL                             AMBER RIVERS, AMBER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




AMBER ROLLE                             AMBER SEBA                              AMBER SIMPSON
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AMBER TAYLOR                            AMBER WINIARCZYK                        AMBER YUKIKO SAKAI
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AMBER, BLACK                            AMBER, MARCIA                           AMBERSON, SIDNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




AMBERSON, SIDNEY                        AMBITIOUS KITCHEN, INC.                 AMBLE, DIANE
ADDRESS AVAILABLE UPON REQUEST          4745 N MALDEN ST 302                    ADDRESS AVAILABLE UPON REQUEST
                                        CHICAGO, IL 60640
AMBLER, WAYNE          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     AMBLO, WENDY                     Page AMBO,
                                                                            109 of 5495
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AMBOOKEN, TRESA                      AMBORN, ANA                           AMBORSKI, NICOLE
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AMBORSKI, VALERY                     AMBOS, NOLAN                          AMBRIZ, NANCY
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AMBROGI, TIMOTHY                     AMBROGI, VICTORIA                     AMBROGIO, JESSICA
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AMBROISE, ERNST                      AMBROSE, ALEXANDRA                    AMBROSE, CATHERINE
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AMBROSE, CLAUDIA                     AMBROSE, DAWN                         AMBROSE, GABRIELLA
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AMBROSE, JAMES                       AMBROSE, JENNIFER                     AMBROSE, JOHN
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AMBROSE, MARK                        AMBROSE, SHELBY                       AMBROSE, VICTORIA
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AMBROSETTI, DAVID                    AMBROSI, LOLA L.                      AMBROSINI, MELISSA
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AMBROSIO, CHRISTEN                   AMBROSIO, PATRICIA                    AMBROSIO, PATTY
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                                                                               110 of 5495
                                                                                         JOSEPH
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AMBULKAR, MAYUR                      AMBULOS, VANESSA                         AMBURN, ASHLEY
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AMC USA INC                          AMC                                      AMEDEO
142 W 57TH STREET                    ADDRESS UNAVAILABLE AT TIME OF FILING    163 CAMINO DORADO
NEW YORK, NY 10019                                                            NAPA, CA 94558




AMEDEO, JILL                         AMEEN, JASON                             AMEER, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AMEGASHIE, DANIELLE                  AMELI, BIJAN                             AMELIA ELIZABETH SMITH
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AMELIA RAMIREZ                       AMELIA SCHROEDER                         AMELIO, JEANINE
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AMEMATSRO, ELOM                      AMEN, KARI                               AMEN, LINDA
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AMEND, ERIN                          AMEND, STACI                             AMEND, VICKI
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AMENDOLA, CHRISTINE                  AMENDOLA-JOHNSON, STACIE                 AMENE, CHIAZO
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AMENT, MICHAEL                       AMER, KERRY                              AMER, LANA
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AMER, LINDSAY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AMER, YASMINE                          Page AMERICA,
                                                                                  111 of 5495
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AMERICAN AIRLINES                       AMERICAN EXPRESS TRAVEL RELATED          AMERICAN EXPRESS
ADDRESS UNAVAILABLE AT TIME OF FILING   SERVICES COMPANY, INC.                   ADDRESS UNAVAILABLE AT TIME OF FILING
                                        200 VESEY STREET
                                        NEW YORK, NY 10285




AMERICAN FINE WINE COMPETITION & GALA   AMERICAN GREETINGS CORPORATION           AMERICAN LOGISTICS GROUP, INC.
ADDRESS UNAVAILABLE AT TIME OF FILING   ONE AMERICAN BOULEVARD                   68S SERVICE NY RD, SUITE 100
                                        CLEVELAND, OH 44145                      MELVILLE, NY 11747




AMERICAN NATIONAL RED CROSS             AMERICAN NORTHWEST DIST. INC - OREGON    AMERICAN NORTHWEST DISTRIBUTORS,
ADDRESS UNAVAILABLE AT TIME OF FILING   239 SE MADISON ST                        INC.
                                        PORTLAND, OR 97214                       6733 E MARGINAL WAY S
                                                                                 SEATTLE, WA 98108




AMERICAN NORTHWEST DISTRIBUTORS,        AMERICAN RELOCATION                      AMERICAN STOCK TRANSFER & TRUST CO,
INC.                                    ADDRESS UNAVAILABLE AT TIME OF FILING    LLC
6733 E. MARGINAL WAY S                                                           ATTN: LEGAL DEPARTMENT
SEATTLE, WA 98108                                                                48 WALL STREET, 22ND FLOOR
                                                                                 NEW YORK, NY 10005



AMERICAN STOCK TRANSFER & TRUST CO,     AMERICAN STOCK TRANSFER & TRUST          AMERICAN TARTARIC PRODUCTS INC. (ATP
LLC                                     COMPANY LLC                              GROUP)
ATTN: RELATIONSHIP MANAGEMENT           6201 15TH AVENUE                         1230 SHILOH ROAD
6201 15TH AVENUE                        BROOKLYN, NY 11219                       WINDSOR, CA 95492
BROOKLYN, NY 11219



AMERICAN TARTARIC PRODUCTS INC. (ATP    AMERICAN WINESECRETS, LLC                AMERICAN YOUTH SOCCER ORGANIZATION
GROUP)                                  1446 INDUSTRIAL AVENUE                   AYSO REGION 2/
2 MADISON AVENUE, SUITE 210             SEBASTOPOL, CA 95472                     ATTENTION:TREASURER
LARCHMONT, NY 10538                                                              PO BOX 1144
                                                                                 MONROVIA, CA 91017



AMERICAN, ALL                           AMERICAS FAMILY NETWORK, LLC.            AMERICAS TEST KITCHEN
ADDRESS AVAILABLE UPON REQUEST          2323 S. WADSWORTH BLVD. SUITE 102        17 STATION STREET
                                        LAKEWOOD, CO 80227                       BROOKLINE, MA 02445




AMERIPRISE (0756)                       AMEROVA ROGERS, KIRA                     AMERSON, CRYSTAL
ATTN GREG WRAALSTAD OR PROXY MGR        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
901 3RD AVE SOUTH
MINNEAPOLIS, MN 55474




AMERVIN, INC. (TURRENTINE BROKERAGE)    AMERY, CATE                              AMES, ANDREA
7599 REDWOOD BLVD, SUITE 103            ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
NOVATO, CA 94945
AMES, CARRIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AMES, JENNIFER                      Page AMES,
                                                                               112 of 5495
                                                                                    JENNIFER
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AMES, JOHN                           AMES, KARLEY                             AMES, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AMES, LAUREN                         AMES, MICHAEL                            AMES, NATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AMES, STEVEN                         AMES, VICTORIA                           AMESBURY, DOROTHEA
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AMESQUITA, EMILY                     AMETAJ, AMANTIA                          AMEX TRAVEL
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AMEZCUA, THIERRY                     AMEZQUITA, ROBERT                        AMEZQUITA, TIFFANY
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AMEZQUITA, YAZMIN                    AMF                                      AMFRANKA1
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AMHOF, SARAH                         AMI AMIN                                 AMI KLEIN
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AMI REIDER                           AMICI, KYLENE                            AMICK, PAULA
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AMICO, ALEXIS                        AMICO, GREGORY                           AMICON, PAIGE
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AMICONE, STEPHANIE     Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     AMIDEI, NATALIE                       Page AMIDON,
                                                                                 113 of EMILY
                                                                                         5495
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AMIDON, JAMIE                        AMIE BONNER                                AMIGON MORA, AMERICO
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AMIN, AVNI                           AMIN, HIRSA                                AMIN, JAISAL
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AMIN, MARIAM                         AMIN, MARZIA                               AMIN, MONIC
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AMIN, PARTH                          AMIN, ROSHNI                               AMIN, SHRUTI
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AMIN, TAAJ                           AMINI, JAFAR                               AMINI, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




AMINI, SEDIGHEH                      AMINIAN BUSINESS SERVICES INC.             AMINOV, EMILY
ADDRESS AVAILABLE UPON REQUEST       200 SPECTRUM CENTER DRIVE SUITE 300        ADDRESS AVAILABLE UPON REQUEST
                                     IRVINE, CA 92618




AMIR FARHANG ASSADI                  AMIREH, MANAR                              AMIRI, AMIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




AMIRIAN, ASLAN                       AMIRREZVANI, ALLISON                       AMISS, PHILLIP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




AMISSAH, CARMENIA                    AMISSON, MARIE                             AMIT JAGETIA
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AMIT SHIVAJI BARTAKE                 AMIT SHUKLA                               AMIT, MICHAEL
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AMKAYA, DEBORAH                      AMMERAAL, LEIGH AND JOHN                  AMMERMAN, CASSIDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




AMMERMAN, NORI                       AMMERMAN, TESS                            AMMIDON, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




AMMIRABILE, KRISTY                   AMMON, JUDITH                             AMMON, SOLEIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




AMMONS, CAMBUR                       AMMOURI, BASSEM                           AMMOURI, SHADI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




AMN MEDIA, INC. (DBA REVSHARE)       AMOBEE, INC.                              AMOBEE, INC.
32836 WOLF STORE ROAD                100 REDWOOD SHORES PARKWAY, 4TH FL        901 MARSHALL STREET, SUITE 200
TEMECULA, CA 92592                   REDWOOD CITY, CA 94065                    REDWOOD CITY, CA 94063




AMODEO, AMANDA                       AMODIE, THOMAS                            AMODIO, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




AMODIO, ELIANA                       AMOIA, ANNA                               AMON, FELICIA
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AMONDSEN, DEANNA                     AMOR, CATALINA                            AMORE, KARI
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AMORELLO, OLIVIA       Case 22-11238-LSS   Doc
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                                                                            115 ofCORK
                                                                                   5495AMERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        360 DEVLIN RD
                                                                           NAPA, CA 94558




AMOROSI, BRANDY                      AMOROSO, CHASTITY                     AMOROSO, JOSIE
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AMOROSO, KRISTIN                     AMOROSO, MEGAN                        AMOROSO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AMOROSO, RYAN                        AMOROSO, VINCENT                      AMOS, CANDACE
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AMOS, CIAM                           AMOS, DANIELLE                        AMOS, DAVID
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AMOS, JULIA                          AMOS, YVETTE                          AMOS-MCNARY, BRANDEN
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AMOSS, JAIME                         AMPARAN, LORI                         AMPCO SYSTEMS PARKING
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AMPERITY, INC.                       AMPLIFY LA CAPITAL II LLC             AMPLIFY LA CAPITAL LLC
701 5TH AVENUE, STE 2600             1600 MAIN ST                          1600 MAIN ST
SEATTLE, WA 98104                    VENICE, CA 90401                      VENICE, CA 90401




AMPLIFY LA OPPORTUNITY FUND L P      AMPLIFY                               AMPONIN, DEVON
1600 MAIN ST                         1600 MAIN ST                          ADDRESS AVAILABLE UPON REQUEST
VENICE, CA 90401                     VENICE, CA 90401




AMPUDIA, FRANCES                     AMRHEIN, BRENDA                       AMRITA KHARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
AMSBERRY, NICOLE       Case 22-11238-LSS   Doc BECKY
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                                                                              116 of 5495
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AMSELEM, MARY CLARE                  AMSTUTZ, CHRISTIANE                     AMSTUTZ, KAMERON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




AMSTUTZ, MELISSA                     AMTMANN, RICHARD                        AMTRUST NORTH AMERICA INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          P.O. BOX 6939
                                                                             CLEVELAND, OH 44101-0849




AMTRUST NORTH AMERICA INC.           AMTRUST NORTH AMERICA                   AMTT INVESTMENTS PTY LTD ATF
P.O. BOX 6939                        800 SUPERIOR AVENUE EAST, 21ST FLOOR    ADDRESS AVAILABLE UPON REQUEST
CLEVELAND, OH 44101-1939             CLEVELAND, OH 44114




AMU, OYINDA                          AMUNDSEN, CHRISTIAN                     AMUNDSON, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




AMUNDSON, KARI                       AMWEG, NICOLE                           AMY BARCHERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




AMY BELIEVES IN PINK                 AMY BOLICK                              AMY BRAUN
350 EAST 79TH STREET APT 6G          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10075




AMY C HALL                           AMY CLARY                               AMY DARRINGTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




AMY DEMINGSIMKINS                    AMY DENISON                             AMY DEVARY
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AMY FEHIR                            AMY GUTHRIE                             AMY HEMPHILL
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                                     AMY J BALLOR                     Page AMY
                                                                            117JANOUSEK
                                                                                of 5495
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AMY JOHNSON                          AMY KOZLOWSKI                         AMY L DAVIS
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AMY LARSON                           AMY M PESA                            AMY MAROLF
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AMY MAULDIN                          AMY MILLER-BOWMAN                     AMY MINTER
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AMY N AKIN                           AMY PLUMB, AMY                        AMY PONTIUS SMITH
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AMY RUZICKA                          AMY SAMPLE                            AMY SCHMITZ-SCIBORSKI
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AMY SEAGREAVES                       AMY SILBEY                            AMY SKONIECZNY
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AMY STUART                           AMY VEZZETTI                          AMY WHEATON
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AMY WHITED                           AMYOT, ALYSSA                         AMYOUNY, KIM
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AMYX, CAROL                          AN, AGNES                             AN, REBECCA
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                                     ANA C LANDAVEREDE                Page ANA
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                                                                                of 5495
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ANA FERRARA                          ANA GUZMAN                            ANA MARIA RAYNES
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ANA PAULA TENORIO VIVANCO            ANA, TATI                             ANABEL GARCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANABLE, MICHAEL                      ANAEL, FERNANDO                       ANALIESE JISELLE BARNES-CLASSEN
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ANAMARIA RIVERA                      ANAMOS, ELENA                         ANAN, MM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANAND, ANISHA                        ANAND, CORY                           ANAND, KANIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANAND, SHRUTI                        ANANDWALA, AMIT                       ANANIA, LISA
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ANANTANI, RISHI                      ANANTHAKRISHNAN, RAM                  ANANTHARAJU, ANUSHA
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ANARNA, WILL                         ANASTAS, KERRIE                       ANASTASI, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANASTASI, JOHN                       ANASTASIA BUBENSHCHIKOVA              ANASTASIA MCGREGOR
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ANASTASIA, THOMAS      Case 22-11238-LSS    Doc
                                     ANASTOS,     2 Filed 11/30/22
                                              NICOLE                   Page ANATER,
                                                                             119 of RAYMOND
                                                                                    5495
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ANATOLI ALEXANDER NARESHNI            ANAVEL CUEVAS                         ANAWALT, FRED
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANAYA, ADALINE                        ANAYA, ASHLEY                         ANAYA, HILBERT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANAYA, KIMBERLY                       ANAYA, SHELBY                         ANBALAGAN, RAJENDRAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANCELMO-WALKER, ESMERALDA             ANCHETA, JANET                        ANCHETA, JEFF RUSSELL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANCHEV, ANDREW                        ANCHONDO, CYNTHIA                     ANCIENT LAKE WINE COMPANY LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        PO BOX 1260
                                                                            QUINCY, WA 98848




ANCKERMANN, PAMELA                    ANCORA, MICHELE                       ANCZARSKI, LYNN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AND ADAM KEMBERLING, ALLIE MARTINEZ   AND TAI MESCHES, KIRRA                AND, CHUCK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AND, EARL                             AND, JAKE                             AND, KELLY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AND, LINDSEY                          AND, MATT                             AND, MATTHEW
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AND, ROB               Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AND, STEVE                       Page AND,
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                                                                                of 5495
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ANDAL, EVEGAIL                       ANDALI, KARA                          ANDAZ
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ANDELL, NICOLE                       ANDELMAN, STEPHANIE                   ANDELORA, AMY
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ANDEMICHAEL, RAHWA                   ANDERER, MEREDITH                     ANDERLE, GENEVIEVE
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ANDERS RORDAME HILL                  ANDERS, CAITLIN                       ANDERS, ERIC
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ANDERS, HEIDI                        ANDERS, JANET                         ANDERS, SADE
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ANDERS, SAMANTHA                     ANDERS, SARAH                         ANDERS, STACY
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ANDERS, TERESA                       ANDERS, TYLER                         ANDERSEN, ALAINA
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ANDERSEN, ALIA                       ANDERSEN, ANGELA                      ANDERSEN, ANITA
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ANDERSEN, CASEY        Case 22-11238-LSS   Doc
                                     ANDERSEN,   2 Filed 11/30/22
                                               CRISTIN                 Page ANDERSEN,
                                                                             121 of 5495
                                                                                      DELACEY
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ANDERSEN, DOROTHY                    ANDERSEN, ELIZABETH                    ANDERSEN, ERIN
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ANDERSKOW, PATRICIA                  ANDERSON & MIDDLETON COMPANY           ANDERSON BROTHERS DESIGN & SUPPLY
ADDRESS AVAILABLE UPON REQUEST       111 MARKET STREET NE, SUITE 360        212 MAIN STREET
                                     OLYMPIA, WA 98501                      SEAL BEACH, CA 90740




ANDERSON LILLEY                      ANDERSON WHITE, ELLEN                  ANDERSON WINE CLUB
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ANDERSON, AARON        Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               ABIGAIL                Page ANDERSON,
                                                                            122 of 5495
                                                                                     ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




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ANDERSON, AYLA         Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               BAILY                  Page ANDERSON,
                                                                            123 of 5495
                                                                                     BARBARA
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ANDERSON, CHELSEA      Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               CHERYL                 Page ANDERSON,
                                                                            124 of 5495
                                                                                     CHLOE
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                                     ANDERSON,   2 Filed 11/30/22
                                               DIANNE                 Page ANDERSON,
                                                                            125 of 5495
                                                                                     DOLORES
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                                     ANDERSON,   2 Filed 11/30/22
                                               GRETCHEN               Page ANDERSON,
                                                                            126 of 5495
                                                                                     HALEY
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ANDERSON, JENNIFER     Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               JENNIFER               Page ANDERSON,
                                                                            127 of 5495
                                                                                     JENNIFER
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ANDERSON, KARA         Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               KAREN                  Page ANDERSON,
                                                                            128 of 5495
                                                                                     KAREN
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ANDERSON, KELSEY                     ANDERSON, KERRY                       ANDERSON, KEVIN
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ANDERSON, KIM          Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               KIMBERLY               Page ANDERSON,
                                                                            129 of 5495
                                                                                     KIMBERLY
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ANDERSON, KIMBERLY                   ANDERSON, KINGSLEY                    ANDERSON, KIRK
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                                     ANDERSON,    2 Filed 11/30/22
                                               LINDSAY                Page ANDERSON,
                                                                            130 of 5495
                                                                                     LINDSEY
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ANDERSON, MELISSA      Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               MELISSA                Page ANDERSON,
                                                                            131 of 5495
                                                                                     MELISSA
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ANDERSON, PAMELA       Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               PAT                    Page ANDERSON,
                                                                            132 of 5495
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ANDERSON, SEANE        Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               SHAKIRA                Page ANDERSON,
                                                                            133 of 5495
                                                                                     SHANNA
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ANDERSON, TAMORA       Case 22-11238-LSS   Doc
                                     ANDERSON,   2 Filed 11/30/22
                                               TASHNA                 Page ANDERSON,
                                                                            134 of 5495
                                                                                     TAYLOR
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ANDERSON-GIEST, RACHEL               ANDERSON-GUNN, DALILA                 ANDERSON-KAPKE, JENNIFER
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                                                                            135 of 5495
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ANDERTON, ABBY                       ANDES, BLAIRE                         ANDES, ERIC
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ANDES, JULIA                         ANDES, ROBIN                          ANDI DORFMAN
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ANDINO, BRENDA                       ANDINO, DACHALEEN                     ANDINO, DAVID
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ANDINO, KAREN                        ANDINO, XIOMARA                       ANDRADA, CANDACE
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ANDRADA, KASSANDRA                   ANDRADE, ADAM                         ANDRADE, AMBER
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ANDRADE, ANANDA                      ANDRADE, ANDREA                       ANDRADE, ANGELISA
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                                     ANDRADE,    2 Filed 11/30/22
                                              MARINA                  Page ANDRADE,
                                                                            136 of 5495
                                                                                    MARSHA
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ANDRADE, SHELLEE                     ANDRADE, TINA                         ANDRADE-HUPP, MONICA
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ANDRADE-OLIVEIRA, ANGELICA           ANDRADES, TAMARA                      ANDRAE BANKS
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ANDRAE, MANDA                        ANDRAKIN, AUDRA                       ANDRAOS, MELISSA
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ANDRAYO, TIFFANY                     ANDRE HALE                            ANDRE, ALTAGRACIA
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ANDRE, MASON                         ANDRE, RACHEL                         ANDRE, WINDY
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ANDREA BRUCKER                       ANDREA COUCH                          ANDREA CURRIE
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ANDREA DEMEO                         ANDREA DIVINA DELA ROSA               ANDREA HARTMAN
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ANDREA JEAN COLICH                   ANDREA KORENEK                        ANDREA KRETSCH
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                                                                                   5495
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ANDREA MATTIS                        ANDREA MUNOZ                          ANDREA MYERS
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ANDREA OLSON                         ANDREA OLSON                          ANDREA PERRIGO-LANGEN
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ANDREA ROMEO                         ANDREA ROSEWALL                       ANDREA SABRINA HALL
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ANDREA SHEAHAN                       ANDREA SHEARIN                        ANDREA SHIELDS
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ANDREA SMITH                         ANDREA STEVENSON                      ANDREA STIPE
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ANDREA VIVIANO-ENYEDY                ANDREA WELSH                          ANDREA WINTER
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ANDREE, BRIDGET        Case 22-11238-LSS
                                     ANDREE,Doc  2 Filed 11/30/22
                                            CHRISTINA                 Page ANDREEN,
                                                                            138 of 5495
                                                                                    ALISA
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ANDREI PETROV                        ANDREINI, COURTNEY                    ANDREINI, JEFFREY
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ANDRESEN, TAMMY                      ANDRESS, BAILEY                       ANDRESS, DIANNA
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ANDREW ALLEN           Case 22-11238-LSS
                                     ANDREWDoc   2 Filed
                                            ARIZMENDI II   11/30/22   Page ANDREW
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                                                                                   5495KLIMA
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ANDREW DUPONT                        ANDREW FABRY                          ANDREW GIACOMAZZA
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ANDREW HAGEWOOD                      ANDREW J JACKSON                      ANDREW JAMES COUPE
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ANDREW JAY GRZESKOWIAK               ANDREW JENKINS                        ANDREW JOSEPH CRAMER
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ANDREW KIM                           ANDREW L MARKS                        ANDREW LARSON CLARKE
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ANDREW LAWSON                        ANDREW LEE RUTHERFORD                 ANDREW LEE
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ANDREW LIU                           ANDREW MARK ROSENWACH                 ANDREW MCCORMICK
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ANDREW MCCORMICK                     ANDREW MENA                           ANDREW MICHAEL FISHER
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ANDREW MUNOZ                         ANDREW MURRAY VINEYARDS, LLC          ANDREW NEWCOMBE
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                                     LOS OLIVOS, CA 93441




ANDREW PAUL HARACOURT                ANDREW PETER MEDVEDEV                 ANDREW POWELL
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                                     ANDREWDoc   2 Filed 11/30/22
                                            REILLY                    Page ANDREW
                                                                            140 of RIDGE
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANDREW ROSEN                         ANDREW SAULINO                        ANDREW SCHNEIDER
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ANDREW SETSER                        ANDREW SNELLA                         ANDREW STENCIL
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ANDREW THAN                          ANDREW THEODORE BAY                   ANDREW TODD FUNK
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ANDREW VANDERSCHAAF                  ANDREW VOGL                           ANDREW VRIEZE
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ANDREW WERNER                        ANDREW, BETHANY                       ANDREW, CATHLEEN
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ANDREW, JESSICA                      ANDREW, LAUREN                        ANDREW, MACHELLE
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ANDREW, STEPHANIE                    ANDREWS, ALAN                         ANDREWS, ALAN
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ANDREWS, ALEXA                       ANDREWS, ALEXIS                       ANDREWS, ALLYSON
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ANDREWS, AMBER         Case 22-11238-LSS   Doc
                                     ANDREWS,    2 Filed 11/30/22
                                              CAROLINE                Page ANDREWS,
                                                                            141 of 5495
                                                                                    CAROLYN
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ANDREWS, CHRISTINE                   ANDREWS, CHRISTOPHER                  ANDREWS, CLAUDINE
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ANDREWS, CYNDY                       ANDREWS, DAVID                        ANDREWS, DIANE
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ANDREWS, EMILY                       ANDREWS, EMILY                        ANDREWS, ERIN
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ANDREWS, ERIN                        ANDREWS, HARRISON                     ANDREWS, HAYLEE
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ANDREWS, IAIN                        ANDREWS, JAIMIE                       ANDREWS, JASON
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ANDREWS, KATE                        ANDREWS, KATE                         ANDREWS, KATHRYN
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ANDREWS, KAYLA                       ANDREWS, KAYLA                        ANDREWS, KEISHA
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ANDREWS, KEITH                       ANDREWS, KELLI                        ANDREWS, KELSEY
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ANDREWS, KELSEY        Case 22-11238-LSS   Doc
                                     ANDREWS,    2 Filed 11/30/22
                                              KIMBERLY                Page ANDREWS,
                                                                            142 of 5495
                                                                                    KYLE
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ANDREWS, LAURA                       ANDREWS, MARK                         ANDREWS, MARY
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ANDREWS, MARY                        ANDREWS, MATTHEW                      ANDREWS, MICHAEL
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ANDREWS, MICHELLE                    ANDREWS, MIRANDA                      ANDREWS, MORGAN
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ANDREWS, NICHOLAS                    ANDREWS, NIKOLAS                      ANDREWS, PAIGE
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ANDREWS, SIERRA                      ANDREWS, SUSAN                        ANDREWS, TOM
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ANDREWS, TOM                         ANDREWS, VALERIE                      ANDREWS, WILLIAM
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ANDREWSON, JESSICA                   ANDREY ZAHARIEV                       ANDREYEV, TATYANA
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ANDRIA, JAMES,                       ANDRIAKOS, JACQUELINE                 ANDRIAKOS, SARAH
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ANDRIANA BOULDIN       Case 22-11238-LSS    Doc
                                     ANDRIANI,     2 Filed 11/30/22
                                               LESLIE                 Page ANDRICK,
                                                                            143 of 5495
                                                                                    KIMBERLY
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ANDRIELLA, FABRIANA                  ANDRIESCU, CORINA                     ANDRIGHETTI, JOHN
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ANDRIJIC, JELICA                     ANDRING, LAUREN                       ANDRING, RACHEL
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ANDRIOLE, CHIARA                     ANDRIS, ANNA                          ANDRIST, SHARISSA
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ANDRIYEVSKA, VIRA                    ANDRLE, TOM                           ANDRON, KELLY
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ANDROS, HEATHER                      ANDROSKY, AYLA                        ANDROSOV, INESSA
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ANDROY, LAUREN                       ANDRUS, CAROLE                        ANDRUS, KAT
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ANDRUZZI, GABRIELLE                  ANDUEZA, NICOLAS                      ANDUIZA, ALEXIS
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ANDUJAR BLOM, KAT                    ANDUJAR, JOAN                         ANDUJO, LUPE
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ANDY DEMESIER                        ANDY J LOCKSMITH                      ANEESAH SMITH
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                                     ANEMA, JANELL                    Page ANESE,
                                                                            144 ofMELISSA
                                                                                   5495
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ANGEL SINGH                          ANGEL VERA                            ANGEL, BETH
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ANGEL, CATALINA                      ANGEL, CHRISTINE                      ANGEL, CONNIE
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ANGEL, DAVID                         ANGEL, EARTH                          ANGEL, ERIKA
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ANGEL, FERMIN                        ANGEL, IRIZARRY                       ANGEL, JACK
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ANGEL, PATTY                         ANGEL, RITA                           ANGEL, WILLIAM
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ANGELA ANGELOSANTO                   ANGELA CASE                           ANGELA CONCEPCION
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                                     ANGELA FALL                         Page ANGELA
                                                                               145 ofFORERO
                                                                                      5495
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ANGELA HARVEY, PETER HARVEY          ANGELA HOWARD                            ANGELA JO SILVERMAN
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ANGELA KILLOREN                      ANGELA MIN                               ANGELA ROUSE
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ANGELA SCHELLENBERG                  ANGELA STEMMLER                          ANGELA STOUT
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ANGELA TRIPLETT PIERCE               ANGELA WARD                              ANGELA WILSON
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ANGELA, MS                           ANGELA, PILETZ,                          ANGELBECK, NICOLE
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ANGELEE RICHARDS                     ANGELES WINE AGENCY                      ANGELES, JANELLA
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ANGELES, KAT                         ANGELES, MICHAEL                         ANGELES, NORA
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ANGELES, STACEY                      ANGELES, TATUM                           ANGELICA LEON
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ANGELICA VARGAS                      ANGELICA, MARIA                          ANGELICO, ANTHONY
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                                     ANGELINAS   2 BAR
                                               PANINI Filed 11/30/22 Page ANGELINE,
                                                                            146 of 5495
                                                                                    CODY
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ANGELINE, SAMANTHA                      ANGELINI, SUZANNE                  ANGELINO, ROBERT & PAULA
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ANGELL, DEBBIE                          ANGELL, LUCY                       ANGELL, ROBIN
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ANGELLO MAGGIO                          ANGELO LAURY IVORY                 ANGELO RELLA
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ANGELO, ALEXA                           ANGELO, BRITTANY                   ANGELO, CAROL
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ANGELO, ELIZABETH                       ANGELO, SALVATORE                  ANGELONI, TANYA
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ANGERMAN, AMY                           ANGERMAN, ELIZABETH                ANGERMANN, RANDOLPH
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ANGEROSA, MATT                          ANGEROSA, NICO                     ANGERS, MONICA
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ANGHEL, STEFAN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ANGIE FREESEN                    Page ANGIE
                                                                            147 of
                                                                                 LEE5495
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ANGIE NEWTON, ANGIE                  ANGIE RODRIGUEZ                       ANGIE SUNDSTROM
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ANGKASA, CLARISSE                    ANGLADE, DEMISHA                      ANGLADE, MERCELITA
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ANGLE, CALEB                         ANGLE, MELANIE                        ANGLE, SAMANTHA
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ANGLES, ELIZABETH                    ANGLEWICZ, EMILY                      ANGLEY, ERIKA
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ANGLIM, EMILY                        ANGLIN, A                             ANGLIN, HALEY
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ANGLIN, JENNY                        ANGLIN, JONATHAN                      ANGLIN, KARLA
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ANGLIN, MICHELE                      ANGLIN, TESS                          ANGONE, KRISTEL
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ANGORN, SARA                         ANGOTTA, MICHELLE                     ANGOTTA, SHANNEN
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ANGOWITZ, BENJAMIN                   ANGST, JULIE                          ANGSTADT, GARY
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ANGSTEN, ALEXIS        Case 22-11238-LSS    Doc
                                     ANGUIANO,   2 Filed 11/30/22
                                               ALMA                   Page ANGUIANO,
                                                                            148 of 5495
                                                                                     ROBERT
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ANGULO, EILEEN                       ANGULO, J.J.                          ANGUN, COLPAN
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ANGUS ANDREW CHARLES EVENDEN         ANGUS, BRYAN                          ANGUS, RHIANNON
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ANHALTZER, MARISA                    ANHEUSER, LOLA                        ANHORN, NICKOLE
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ANIADES, ANNE MARIE                  ANICCA LLC. (WINEWARS)                ANICH, SHARON
ADDRESS AVAILABLE UPON REQUEST       5438 WOODLEY LANE                     ADDRESS AVAILABLE UPON REQUEST
                                     MADISON, WI 53713




ANICHINI, DEAN                       ANICHINI, JANE                        ANIGUID, NICOLE
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ANIL CHINTAPARTHI                    ANIL KUMAR LALA                       ANIL NAIR
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ANILKUMAR N PAI                      ANISA PATEL                           ANISH JACOB
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ANISIMOV, ARIADNA                    ANISKO, JAMES                         ANITA HUNTSMAN
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ANITA L CHANTARASAKA                 ANJALI IYER                           ANJALI SIMH
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ANJAN, SHWETA          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ANJANA RAMES                     Page ANJORIE
                                                                            149 of JHAVERI
                                                                                    5495
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ANJORIN, KEMISOLA                    ANK, IRENE                            ANKENY, KATHRYN
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ANKENY, RHIANNON                     ANKENY, STEPHANIE                     ANKERMAN, JOHN
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ANKIT SRIVASTAVA                     ANKROM, LINDSEY                       ANKROM, MATTHEW
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ANKUDOWICH, ELIZABETH                ANKUR GARG                            ANKUR SAHNI
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ANN CHERNICOFF                       ANN COLLINS                           ANN D MASSARO
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ANN GARY OLIVER, ANN                 ANN KROLL                             ANN L JOHNSON
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ANN LAURITZEN                        ANN LIPCSEY                           ANN LOUDERMILK
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ANN MARIE BELLOWS                    ANN MOYER                             ANN NAPELA T GASPANG
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ANN SCHMID                           ANN TROY, KIMBERLY                    ANN
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                                                                                of 5495
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ANN, JESSI                           ANN, JILLIAN                          ANN, JO
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ANN, JO                              ANN, JODY                             ANN, KRISTI
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ANN, LAURA                           ANN, LEE                              ANN, LEIGH
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ANN, LEONA                           ANN, MADISON                          ANN, MARGARET
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ANN, MARY                            ANN, MARY                             ANN, MARY
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ANN, MARY                            ANN, MARY                             ANN, MARY
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ANNA BEVERLEY                        ANNA BROWN                            ANNA COLQUITT
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ANNA DIAZ                            ANNA DORAZIO                          ANNA ELIZABETH STRAHAN
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ANNA GAIDAENKO                       ANNA HARTNETT                         ANNA HINCK
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ANNA KAPYRINA          Case 22-11238-LSS    DocLEVIN
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                                                                                of 5495
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ANNA MADRID                          ANNA MATHIASEN                        ANNA MCNAB
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ANNA NISSEN                          ANNA OSULLIVAN                        ANNA ROPALO
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ANNA RUNNER                          ANNA SCHUETZENHOFER                   ANNA THOMAS
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ANNA WATERHOUSE                      ANNA, EMILY                           ANNABELLE FIGUEROA
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ANNALIESE, SCHULER,                  ANNAMARIE HILL                        ANNAMOUKHAMEDOBA, GOZEL
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ANNAN, PRECIOUS                      ANNARELLI, HANNAH                     ANNE CRAMER
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ANNE CROWE                           ANNE FREEMAN                          ANNE GRAY
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ANNE HEIKE                           ANNE LARKIN                           ANNE LOUGHRAIN
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ANNE MARIE KEARNS                    ANNE MESSING                          ANNE MORPHETT
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                                     ANNE NICOLE 2 Filed 11/30/22     Page ANNE
                                                                            152 ROCKEY
                                                                                of 5495
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ANNE SARSFIELD                       ANNE SCHELDE, SARAH                   ANNE SHELTON, RACHAEL
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ANNE STEELE                          ANNE STEPTOE                          ANNE WINTERS
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ANNE, LEIGH                          ANNE, MARY                            ANNE, NICOLE
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ANNE, TAMMY                          ANNEMARIE DREISTADT                   ANNEMARIE HUBER
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ANNEN, ADAM                          ANNEN, ROBERT                         ANNETTE K APPELBAUM
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ANNETTE PETRUCELLI                   ANNIE CAMPBELL CATERING               ANNIE FLETCHER
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ANNIE GOMEZ                          ANNIE HEISS                           ANNIE HERVEY
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ANNIE MOYER                          ANNIE O’CONNELL                       ANNIE PREECE
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ANNIE ROUSSEAU                       ANNIE, KEITA                          ANNIES EDIBLES INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3606 HOLDREGE AVE
                                                                           LOS ANGELES, CA 90016
ANNIKA MISCHE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                            153 of  5495
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ANNUNZIATA, GABRIEL                  ANNUNZIATO, NORA                      ANONYMOUS VENDOR
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ANOP, BARBARA                        ANOSHINA, NADEZHDA                    ANOSIKE, NNEOMA
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ANOSKEY, ALANA                       ANSALDI, KATHLEEN                     ANSARI, AYDIN
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ANSBERRY, TIM                        ANSBRO, MELISSA                       ANSEL, JORDYN
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ANSELL, JOY                          ANSELMI, CARLI                        ANSELMI, CODY
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ANSELMO, DIANE                       ANSELMO, JESSICA                      ANSELMO, KELLY
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ANSELMO, NELANDRA                    ANSLEY, ALEX                          ANSLEY, AMY
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ANSLEY, NICOLE                       ANSLOAN, RYAN                         ANSON ABRAHAM
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ANSON, JULIE                         ANSON, LINDSAY                        ANSON, MATTHEW
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                                     ANSONG-MANU,    Filed 11/30/22   Page ANSTEAD,
                                                                            154 of 5495
                                                                                    TRACY
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ANSTEY, MELODIE                      ANSZPERGER, JAN                       ANTAL, LAUREN
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ANTAMENG, NICODEMUS                  ANTAO, LOUIS                          ANTAR, NICOLE
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ANTCLIFF, LAUREN                     ANTEBI CROWE PROPERTY LLC             ANTENUCCI, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       3350 MONTREAL STATION                 ADDRESS AVAILABLE UPON REQUEST
                                     TUCKER, GA 30084




ANTES, RALPH                         ANTHEM BLUE CROSS                     ANTHEM
ADDRESS AVAILABLE UPON REQUEST       PO BOX 54630                          ADDRESS UNAVAILABLE AT TIME OF FILING
                                     LOS ANGELES, CA 90054-0630




ANTHES-WASHBURN, EDWARD              ANTHIS, CARLA                         ANTHONY ARELLANO-KRUSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANTHONY BARRETT KOCH                 ANTHONY BELLO SPARKS                  ANTHONY BOLOGNESE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANTHONY BOZZANO, LLC                 ANTHONY BRISSON                       ANTHONY BROWN
(DBA BOZZANO AND COMPANY)            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PO BOX 14105
SAN LUIS OBISPO, CA 93406




ANTHONY CHENG                        ANTHONY CHRISTOPHER MANILLA           ANTHONY DAIUTO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ANTHONY ELTON BECKETT                ANTHONY FARELLO                       ANTHONY GIORDANO
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ANTHONY HILL           Case 22-11238-LSS
                                     ANTHONYDoc  2 Filed 11/30/22
                                             HOEFER                   Page ANTHONY
                                                                            155 of 5495
                                                                                   J BONO
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ANTHONY JACKSON                      ANTHONY JETER                         ANTHONY LACCONA
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ANTHONY LUPO JR                      ANTHONY MOFFETT                       ANTHONY NEAL SUNDQUIST
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ANTHONY NIYAMUDDIN                   ANTHONY PORTO                         ANTHONY SILVA
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ANTHONY THOMAS                       ANTHONY TRUONG                        ANTHONY VELEZ
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ANTHONY VERKRUYSE                    ANTHONY VINES                         ANTHONY WHERRY
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ANTHONY, ANGEL                       ANTHONY, BRITNEY                      ANTHONY, BROOKE
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ANTHONY, CANDICE                     ANTHONY, CASEY                        ANTHONY, CATHY
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ANTHONY, CHAD                        ANTHONY, CHRIS                        ANTHONY, CHRISTIAN
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ANTHONY, ERIN                        ANTHONY, GERALD                       ANTHONY, HANNAH
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ANTHONY, JACOB         Case 22-11238-LSS   Doc
                                     ANTHONY,    2 Filed 11/30/22
                                              JASPER                     Page ANTHONY,
                                                                               156 of 5495
                                                                                       JULIE
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ANTHONY, JULIE                          ANTHONY, KATHERINE                    ANTHONY, KATIE
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ANTHONY, KAYLA                          ANTHONY, KYLE                         ANTHONY, LAUREN
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ANTHONY, LIZ                            ANTHONY, MICHAEL                      ANTHONY, NICK
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ANTHONY, PEGGY                          ANTHONY, RICHARD                      ANTHONY, STEPHEN
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ANTHONY, THOMAS                         ANTHONY, TOM                          ANTHONY, WILLIAM
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ANTHROPOLOGIE                           ANTI, MELODY                          ANTICO, JAZMINE
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ANTIGUA, JONATHAN                       ANTIL, NICHOLE                        ANTIL, VINEET
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ANTILL, PAIGE                           ANTILLON, BRANDON                     ANTINIS, KRISTA
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ANTINOZZI, VINCENZO                     ANTKOWIAK, MICHELLE                   ANTLEY, LEE
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ANTLITZ, KEVIN         Case 22-11238-LSS    Doc
                                     ANTOGNINI,   2 Filed 11/30/22
                                                BRIAN                 Page ANTOINE
                                                                            157 of BAILEY
                                                                                   5495
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ANTOINE GEORGES                      ANTOINETTE HIMEL                      ANTOINETTE MAYS
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ANTOL, SHELLY                        ANTOLIK, PAIGE                        ANTOLIN, SUSAN
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ANTOLINI, TOM                        ANTOLOS, KRISTEN                      ANTOLOVIC, AMY
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ANTON UNIIAT                         ANTON, KELLY                          ANTON, MARY
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ANTON, MARY                          ANTON, NICHOLE                        ANTONACCI, BARB
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ANTONACCI, DIANE                     ANTONANGELI, JADE                     ANTONELLE, LAUREN
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ANTONELLI, BEVERLY                   ANTONELLI, CATHERINE                  ANTONELLI, DEBRA
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ANTONELLI, ELIZABETH                 ANTONELLI, ELIZABETH                  ANTONELLI, JESSICA
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ANTONELLI, JOSEPH                    ANTONELLIS, MELISSA                   ANTONETTE BOYNES
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ANTONETTI, LOU         Case 22-11238-LSS   Doc 2 Filed
                                     ANTONETTI-TRICKER, ALICIA11/30/22   Page ANTONI,
                                                                               158 ofKRISTEN
                                                                                      5495
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ANTONIA CABRERA ESCOBAR, CECILIA       ANTONIADIS, ALEXIS                     ANTONIAZZI, ALEXANDRA
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ANTONIAZZI, BART                       ANTONINI, NICOLE                       ANTONIO CASELLAS-BOND
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ANTONIO DE NOVA DAGNINO                ANTONIO DIAZ                           ANTONIO GRAY
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ANTONIO LUIS REGO CANHA                ANTONIO MANUEL CHARONDO                ANTONIO THOMPSON
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ANTONIO YACOVELLI                      ANTONIO, ADRIENNE                      ANTONIO, CRAIG
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ANTONIO, JUAN                          ANTONIO, MARCIA                        ANTONIOLI, ERIN
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ANTONIOS SKORDAS                       ANTONIOS, JENNIFER                     ANTONISSEN, OLA
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ANTONITIS, DEBBIE                      ANTONOPLOS, KERRI                      ANTONOPOULOS, VICKY
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ANTONOVA, LYUDMILA                     ANTONOWICZ, LINDSAY                    ANTONOWICZ, MICHAEL
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ANTONOWICZ, STEVE      Case 22-11238-LSS   Doc
                                     ANTONSEN,   2 Filed 11/30/22
                                               HEATHER                Page ANTONUCCI,
                                                                            159 of 5495
                                                                                      ALEX
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ANTONUCCI, JONATHAN                  ANTONUCCI, NICOLE                     ANTOS, ISABELLE
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ANTOSHAK, ANN                        ANTRAM, PATRICIA                      ANTRIM, JENNIFER
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ANTUNEZ, VALERIA                     ANUFRIYEVA, NATALIE                   ANUGO, NDIDIAMAKA
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ANUJ BAVEJA                          ANUJ OSWAL                            ANUJ PATEL
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ANUNDSON, KAREN                      ANURAG JAIN                           ANWAR DAVID ILLUSTRATION
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ANWAR H PATWARY                      ANWAR, MELISSA                        ANWESH ACHARYA, 3238 MEADWAY DR
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ANYA EDSTROM                         ANYA FEINBERG                         ANYANWU, FLORENCE
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ANYANWU, OGECHI                      ANYELY DE LOS SANTOS                  ANYIKA, KALISTA
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ANYIKUDE, JENN                       ANYON, EMILY                          ANYPROMO
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ANZALDI FAMILY, THE    Case 22-11238-LSS    Doc
                                     ANZALONE,    2 Filed 11/30/22
                                               KRISTIE                     Page ANZALONE,
                                                                                 160 of 5495
                                                                                          SARINA
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ANZANO, KENT                         ANZARDO VALDES, JENNIFER                   ANZHELA STOROZHENKO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




ANZUENA, HOLLY                       AO, LIN                                    AOB LLC (AUSTIN ON BUDGET)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             811 E 11TH STREET APT 148
                                                                                AUSTIN, TX 78702




AOL ADVERTISING INC                  AOL ADVERTISING INC                        APA, JEFFREY
22000 AOL WAY                        GENERAL POST OFFICE PO BOX 5696            ADDRESS AVAILABLE UPON REQUEST
DULLES, VA 20166                     NEW YORK, NY 10087-5696




APAH, MARK                           APAKIAN, LAUREN                            APAR, ELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




APARBAL, CINDY                       APARICIO, KATE                             APARO, EMALEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




APARTMENT 3B PRODUCTIONS             APARTMENTS, RIVERWALK                      APATIGA SALGADO, ISMAEL
10202 W. WASHINGTON BOULEVARD        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
POITIER BUILDING, SUITE 3111
CULVER CITY, CA 90232




APAU, ABENA                          APEA, ADWOA                                APEL, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




APELIAN, JEREMY                      APELLANIZ, JUNE                            APELLIDO, KRISTOFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




APEX CUSTODIAN FBO DAVID J DECKER    APEX/ETRADE (0158/0385)                    APICELLO, DEIRDRE
TRAD IRA                             C/O BRDRIDGE SECS PROCESSING               ADDRESS AVAILABLE UPON REQUEST
11 RAMBLE LN                         ATT: YASMINE CASSEUS, 2 GATEWAY CTR
BURNT HILLS, NY 12027                283-299 MARKET ST - 16TH FL
                                     NEWARK, NJ 07102
APICI, CHIARA          Case 22-11238-LSS    Doc
                                     APKARIAN,    2 Filed 11/30/22
                                               EMILY                    Page APLE,
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                                                                                   of 5495
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APLIN, BRET                          APODACA, CAMILLE                        APODACA, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APODACA, MARISSA                     APODACA, RENE                           APOLITO, NAIROBYS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APOLLON, BIANCA                      APOLLONIO CASA VINICOLA S.R.L.          APOLONIO, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       VIA S. PIETRO IN LAMA, 7 - 73047        ADDRESS AVAILABLE UPON REQUEST
                                     MONTERONI DI LECCE (LE)
                                     ITALY




APONIK, ASHLEY                       APONTE, ARIELLE                         APONTE, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APONTE, JAMES                        APONTE, JARED                           APONTE, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APONTE, KASEY                        APONTE, LARISSA                         APONTE, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APONTE, MARISA                       APONTE, PATRICIA                        APONTE-GUITEAU, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APONTE-ROSSINI, CAMILLE              APOSHIAN, SARKIS                        APOSTOL, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APOSTOLICO, MELANIE                  APPA, AYESHA                            APPAREL MEDIA GROUP, INC. (SPARKGIFT)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          314 W INSTITUTE PL 3E
                                                                             CHICAGO, IL 60610
APPAREL MEDIA GROUP, INC. Case   22-11238-LSS
                            (SPARKGIFT)   APPAREL,Doc 2 Filed 11/30/22
                                                   PAWOL                   Page APPEL,
                                                                                 162 ofANA
                                                                                         5495
SPARK COMMERCE, INC                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
2910 DISTRICT AVE SUITE 300
FAIRFAX, VA 22031




APPEL, AVI                              APPEL, BRI                              APPEL, LINDSAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APPEL, LISA                             APPEL, LISA                             APPELBAUM, ALLISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APPELBAUM, TAMARAN                      APPELGATE, BRUCE                        APPELL, KATHRYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APPELL, RYANN                           APPELLE, RENEE                          APPELT, ANDREW
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APPERSON, ERIC                          APPIAH, AMBER                           APPLE
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APPLE, AMANDA                           APPLE, CATHERINE                        APPLE, ELLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




APPLE, ERIN                             APPLE, KATHRYN                          APPLEBAUM, SY
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APPLEBEAS                               APPLEBEE, ANNA                          APPLEBEE, KERI
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APPLEBY, DIANE                          APPLEGATE, ALAN                         APPLEGATE, JOHN
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APPLEGATE, KELLY       Case 22-11238-LSS    DocKYAL
                                     APPLEGATE,  2 Filed 11/30/22        Page APPLEGATE,
                                                                               163 of 5495
                                                                                         LISA
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APPLEGATE, ROGER                     APPLE-IAD MEDIA                          APPLEQUIST, KELSEY
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APPLETON, CATHY                      APPLETON, JULIE                          APPLETON, KAREN
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APPLETON, MONECE                     APPLETON, VERONICA                       APPLEWHITE, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




APPLEYARD, KAYLA                     APPLYU INC.                              APPNEL, BRIANNE
ADDRESS AVAILABLE UPON REQUEST       322 W 52ND STR 180                       ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10101




APPNEL, MELISSA                      APPOLDT, CHRISTOPHER                     APPRAISAL, BLOSSMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




APRICENO, MELISSA                    APRIL BERGSTROM                          APRIL CORNELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




APRIL GUO                            APRIL LONGHITANO                         APRIL VANLEEVE
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APRIL, RACHEL                        APRILL, MEGAN                            APRUZZESE, MARY
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APT, GREG                            APT, STEPHEN                             APTITUDE MEDIA, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           2407 S CONGRESS AVE, STE E 135
                                                                              AUSTIN, TX 78704
APURV KULKARNI         Case 22-11238-LSS    Doc 2LLC Filed 11/30/22
                                     APW FINANCIAL                         Page AQUA
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                                                                                     of 5495
                                                                                           SOLUTIONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             1140 WALL STREET, 733
                                                                                LA JOLLA, CA 92037




AQUA GREEN SOLUTIONS                     AQUENT LLC                             AQUENT LLC
P.O. BOX 2                               501 BOYLSTON STREET, SUITE 3101        FILE 70238
DEL MAR, CA 92014                        BOSTON, MA 02116                       LOS ANGELES, CA 90074-0238




AQUI, CAMILLE                            AQUILINA, COURTNEY                     AQUILINA, DANIELLE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




AQUILINA, ERICA                          AQUILINO, JENNIFER                     AQUINO, ALYSSA
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AQUINO, ASHLEY                           AQUINO, CAREY                          AQUINO, GENESIS
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AQUINO, JOSEPH & MONIQUE                 AQUINO, KATIE                          AQUINO, LISANA
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AQUINO, MCKAYLA                          AQUINO, RACHEL                         AQUINO, ROSETTE
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AR. DEPT OF FINANCE AND ADMINISTRATION   ARA DYMOND                             ARAB, NIKI
OFFICE OF STATE REVENUE ADMIN.           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
1509 W 7TH ST
LITTLE ROCK, AR 72201




ARABIA, DEVON                            ARABIAN, CHRIS                         ARABIE, MONIQUE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ARACELY VAN KIRK                         ARAGAKI, JEFF                          ARAGAO, POLYANA
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ARAGO, SARAH           Case 22-11238-LSS
                                     ARAGON,Doc
                                            ALEX 2   Filed 11/30/22   Page ARAGON,
                                                                            165 of BEN
                                                                                   5495
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ARAGON, DANIEL                       ARAGON, JENNIFER                      ARAGON, MIRANDA
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ARAGON, NATHAN                       ARAGON, RICHARD                       ARAGONA, CHANDLER
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ARAI, ANDREA                         ARAIZA, ASHLEY                        ARAIZA, OSCAR
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ARAIZA, STEVE                        ARAIZA, TRINIDAD                      ARAKAKI, AMY
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ARAKAKI, DAVID                       ARAMAKI, RON                          ARAMBULA, VICTORIA
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ARANA, AMANDA                        ARANA, LINDA J                        ARANA, MAITANE
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ARANA, MARIBEL                       ARANA, MICHAEL                        ARANA, TANIA
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ARANCIO, TERESA                      ARAND, CHRISTINA                      ARANDA, AARON
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ARANDA, DEVON                        ARANDA, ELIZABETH                     ARANDA, ESTEFANY
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ARANDA, KATHERINE      Case 22-11238-LSS    Doc 2 ANETTE
                                     ARANDA-FREGOZO, Filed 11/30/22   Page ARANDA-MICHEL,
                                                                            166 of 5495 EDGAR
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ARANGO, CRISTIAN                     ARANGO, CRISTIAN                      ARANGO, DAVID F
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ARANGO, DAVID                        ARANGO, LUCAS                         ARANGO, SENASTIAN ARANGO
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ARANGO-VARGAS, CAROLINA              ARANOFF, ZACH                         ARANT, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARAO, ROBERT                         ARARAT IMPORT EXPORT - (NORTH         ARARAT IMPORT EXPORT CO. LLC
ADDRESS AVAILABLE UPON REQUEST       CAROLINA)                             1505 CAPITAL BLVD. SUITE 21
                                     1505 CAPITAL BLVD. SUITE 21           RALEIGH, NC 27603
                                     RALEIGH, NC 27603




ARASH AGHEL                          ARASIM, KYLE                          ARASIN, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARATA, CATHY                         ARATA-MAIERS, RACHEL                  ARATEN-CASTILLO, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARATHUZIK, CAITLYN                   ARATO, AREN                           ARAUJO, CHARISSE
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ARAUJO, DEBRA                        ARAUJO, GRECIA                        ARAUJO, KARITA
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ARAUJO, LUCY                         ARAUJO, MEAGAN                        ARAUJO, PEDRO
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                                     ARAULA, Doc  2 Filed 11/30/22
                                             GIBSON                      Page ARAYA,
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ARBEIT, JENNIFER                     ARBELO, ANGEL                            ARBERG, MOMMY
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ARBESS, DANIEL                       ARBIZO, KAITLYN                          ARBIZZANI, ALLISON
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ARBOGAST, MARGARET                   ARBOLEDA, ERNESTO                        ARBOLEDA, NATHAN
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ARBOLEDA, PATRICIA                   ARBOLINO, KIM                            ARBOR, RACHEL
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ARBOUR, JEFFERY                      ARBSLAND, OSIRIS                         ARBUCKLE, DAVID
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ARBUCKLE, KRISTA                     ARBUCKLE, STACY                          ARBURY, CHELSEA
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ARBUSTO, MARIA                       ARBUTHNOT, ETHAN                         ARC SERVICES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




ARCA, JESSICA                        ARCADE AND PARTY RENTALS                 ARCARA, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




ARCE, ALBERTINA                      ARCE, GENEVIEVE                          ARCE, JESSICA
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ARCE, JOSEPH           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ARCE, RACHEL                     Page ARCE,
                                                                            168 of 5495
                                                                                 ROSANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARCE, TAYLOR                         ARCENEAUX, KENDRA                     ARCHAMBAULT, ALLISON
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ARCHAMBAULT, GABRIELLE               ARCHAMBAULT, KAITLYN                  ARCHAMBAULT, MATTHEW
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ARCHAMBEAU, MELISSA                  ARCHAMBEAULT, KARLA                   ARCHANGEL, ONYIA
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ARCHBOLD, NAN                        ARCHER, ALEX                          ARCHER, ALYSSA
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ARCHER, AMY                          ARCHER, BARB                          ARCHER, CAROLINE
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ARCHER, DENISE                       ARCHER, DIXIE                         ARCHER, ELIZABETH
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ARCHER, EMILY                        ARCHER, ERICA                         ARCHER, GRACE
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ARCHER, JODI                         ARCHER, JOYCE                         ARCHER, KAYLA
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ARCHER, KELSEY                       ARCHER, KEONNA                        ARCHER, KRISTINA
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ARCHER, KYLA           Case 22-11238-LSS
                                     ARCHER,Doc  2 Filed 11/30/22
                                            MADELINE                  Page ARCHER,
                                                                            169 of MATTHEW
                                                                                   5495
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ARCHER, NYREE-DAWN                   ARCHER, RUTH                          ARCHER, VALERIE
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ARCHIBALD, AMY                       ARCHIBALD, KATIE                      ARCHIBEQUE, KRYSTAL
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ARCHIE LIBORO                        ARCHIE WINTHROP JENNINGS              ARCHIE, CURTIS.
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ARCHILA, CINDY                       ARCHIT SAXENA                         ARCHITECTS, IA INTERIOR
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ARCHULETA, ISAAC                     ARCHULETA, MELISSA                    ARCHULETTA, PAUL
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ARCHUT, BERNADETTE                   ARCIAGA, DAVID                        ARCIERI, ELISABETH
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ARCILA, ALEX                         ARCINIEGA, CARMEN                     ARCINIEGA, NICOLE
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ARCINIEGA, VIOLETA                   ARCINO, PAUL                          ARCO
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ARCURI, KRISTINA                     ARCUTI, ANGELO                        ARD, LAURA
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ARDAGH GLASS INC.      Case 22-11238-LSS
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                                             GLASS2INC.Filed 11/30/22   Page ARDALAN,
                                                                              170 of 5495
                                                                                      MARYAM
10194 CROSSPOINT BOULEVARD           PO BOX 50487                            ADDRESS AVAILABLE UPON REQUEST
INDIANAPOLIS, IN 46256               INDIANAPOLIS, IN 46250




ARDAN, DIANNE                         ARDEN, MEGAN                           ARDEN, OLIVIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ARDILA, ANDRES                        ARDILA, JOHN                           ARDIS JAMES
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ARDIS, GARRETT                        ARDITI, ASHLIANN                       ARDIZZONE, ALYSHA
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ARDO, SUZANNE                         ARDOIN, CARMEN                         ARDOLINO, KATE
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ARDREY, SUSAN                         ARDUINI, DANIELLE                      ARDUINI, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ARDUINO, EMILY                        AREA 51 VINEYARDS, LLC.                AREA 51 VINEYARDS, LLC.
ADDRESS AVAILABLE UPON REQUEST        224 EAST HIGHWAY 246, STE A            PO BOX 1943
                                      BUELLTON, CA 93427                     BUELLTON, CA 93427




AREBALO, LUIS                         AREBALO, TINA                          ARECHIGA, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




AREGBE, KEVO                          AREHART, BRITTANY                      AREHART, LINDSAY AND COREY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




AREIAS, ANTHONY                       AREIAS, ISABELLA                       ARELLANO, ALEJANDRA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ARELLANO, ASHLEY       Case 22-11238-LSS    Doc
                                     ARELLANO,    2 Filed 11/30/22
                                               GIOVANNI               Page ARELLANO,
                                                                            171 of 5495
                                                                                     RACHEL
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ARELLANO, TONY                       ARELY CURE                            ARENA, ASHLEY
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ARENA, BRITTANY                      ARENA, JEN                            ARENA, JULIA
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ARENA, MARC                          ARENA, PETER                          ARENA, SOPHIA
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ARENANDER, SVEN                      ARENAS, AMANDA                        ARENAS, AMANDA
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ARENAS, MELISSA                      ARENDS, CHERYLLE                      ARENDT, DANIELLE
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ARENDT, JAMES                        ARENO, TERRY                          ARENS, TYLER
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ARENSON, LAUREN                      ARENT, LISA                           ARESON, DOTTIE
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ARESON, DOTTIE                       ARETZ, MELISSA                        AREVALO, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AREY, KAREN                          ARGABRITE, ANGIE                      ARGALL, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ARGALL, CLAIRE         Case 22-11238-LSS
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                                                                                   5495
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ARGAY, CHLOE                         ARGEL, MELANIE                        ARGENAL, LUZ
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ARGENIO, LAUREN                      ARGENTI, CHANTE                       ARGENTI, LEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARGENTIN FILS-AIME                   ARGENZIANO, JERUSCHKA                 ARGER, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARGIRIOU, CHRISTINA                  ARGIRO, ANDREA                        ARGIRO, CAROL
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ARGIROS, ALEXANDRA                   ARGIS, MICHAEL                        ARGO, GERI
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ARGO, TEGAN                          ARGRAVES, MELISSA                     ARGROVES, BARRY
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ARGROW, JOHN                         ARGUELLES, ANDREA                     ARGUELLES, JESSICA
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ARGUELLO, ANDREW                     ARGUELLO, LEONARDO                    ARGUELLO, MILEY
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ARGUERA, LIVETTE                     ARGUERO, RACHEL                       ARGUETA, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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                                     ARGUETA,    2 Filed 11/30/22
                                              RONY                    Page ARGUETA,
                                                                            173 of 5495
                                                                                    SIDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARGUS, DINA                          ARGYLE SEARCH PARTNERS LLC            ARGYROS, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       3315 COLLINS AVE, 4D                  ADDRESS AVAILABLE UPON REQUEST
                                     MIAMI BEACH, FL 33140




ARI RADETSKY                         ARI TYE RADETSKY                      ARIA, SHAMIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIAAN MODDER                        ARIADNA EVANS                         ARIAIL, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIAN, JULIA                         ARIANA ALLEN                          ARIANA CHRISTINA ALLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIANA KATERYNA WOLYNEC-WERNER       ARIANA LUCAS                          ARIANA PAHLAVAN
DIMEO                                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ADDRESS AVAILABLE UPON REQUEST




ARIANA RUTZ                          ARIANNA ARIAS                         ARIANNA DINES
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ARIANNA MESBAHI                      ARIAS, AMANDA                         ARIAS, ANA
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ARIAS, ANABEL                        ARIAS, ANGEL                          ARIAS, ANTONIA
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ARIAS, C                             ARIAS, CAROLINA                       ARIAS, CHRISTIAN
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ARIAS, FELIPE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ARIAS, FRANCISCO                 Page ARIAS,
                                                                            174 of  5495
                                                                                  JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIAS, JONATHAN                      ARIAS, JULISSA                        ARIAS, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIAS, MARA                          ARIAS, ROSANNA                        ARIAS, TAY-LIEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIAS, VALESKA                       ARICCA DESIRE                         ARICCA DESIRE
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ARICK, JESSICA                       ARIE WELLE                            ARIEL BLACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIEL MANKIEWICZ                     ARIEL SWEETLAND                       ARIEL WEBB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIEL                                ARIELLE ADAMO                         ARIELLE TANO
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ARIENS, JULIE                        ARIENTI, ELIZABETH                    ARIGA, HARUNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIKIAN, KRISTIN                     ARIMA, LONNIE                         ARIN, YASEMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARINGTON, MICHAEL                    ARIS, URSULA                          ARISMENDI, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ARISMENDY, JUAN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ARISPE, JEANNIE                  Page ARISPE,
                                                                            175 ofJOSEPH
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARISPE, KIRSTEN                      ARISPE, STEPHANIE                     ARIZA, YAI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARIZMENDEZ, TATYANA                  ARIZMENDI, GIOVANNI                   ARIZONA DEPARTMENT OF LIQUOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        LICENSES AND CONTROL
                                                                           800 W. WASHINGTON, 5TH FLOOR
                                                                           PHOENIX, AZ 85007




ARIZONA DEPARTMENT OF REVENUE        ARIZONA DEPT OF REVENUE               ARJAN, HANA
PO BOX 29085                         1600 W. MONROE                        ADDRESS AVAILABLE UPON REQUEST
PHOENIX, AZ 85038-9085               PHOENIX, AZ 85007-2650




ARJMAND, AVA                         ARJUN MURALI SRINIVASAN               ARJUN SRINIVASAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARJUN SRINIVASAN                     ARKAN, ITIR                           ARKANSAS DEPT OF LABOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        10421 WEST MARKHAM
                                                                           LITTLE ROCK, AR 72205




ARKANSAS SECURITIES DEPARTMENT       ARKEMA, CHANDRA                       ARKING, TAMARA
HERITAGE WEST BUILDING               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
201 EAST MARKHAM STREET
SUITE 300
LITTLE ROCK, AR 72201-1692



ARLAUSKAS, MICHAEL                   ARLEDGE, KAREN                        ARLEN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARLENE STWEART                       ARLEO, ALEXIA                         ARLIN E GAFFNER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARLINGTON, COURTNEY                  ARLINGTON, DEBORAH                    ARLINGTON, JAMIE
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ARLOTTO, CLAIRE        Case 22-11238-LSS   DocTANYA
                                     ARMACHAIN,  2 Filed 11/30/22     Page ARMAGAST,
                                                                            176 of 5495
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ARMALAVAGE, BRYAN                    ARMAN, AKMARAL                        ARMAN, JUDITH
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ARMAN, KELLEY                        ARMAND DESROCHES, ROSE MARIE          ARMAND, YENNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARMANDO PEREZ LANDSCAPING CORP       ARMANDO, CARLOS                       ARMANI, CARA
P.O. BOX 340984                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ARLETA, CA 91334




ARMANIOUS, SARAH                     ARMANNO, APRIL                        ARMANNO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARMANTROUT, NICOLE                   ARMATO, JENNA                         ARMATO, MATTHEW
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ARMATO, PAULA                        ARMBRISTER, MICHELLE                  ARMBRUST, SAMANTHA
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ARMBRUSTER, COURTNEY                 ARMBRUSTER, JADE                      ARMBRUSTER, RACHAEL
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ARMELIN, AMANDA                      ARMELLA, LAURA                        ARMENDARIZ, ARLETH
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ARMENTA, ALYSSA                      ARMENTOR, DAVID                       ARMENTROUT, JESSICA
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ARMENTROUT, SHEA       Case 22-11238-LSS   Doc 2
                                     ARMENTROUT, ZACHFiled 11/30/22   Page ARMER,
                                                                            177 ofSTEPHANIE
                                                                                   5495
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ARMERO, DANA                         ARMIJO, HEATHER                       ARMIJO, MARCIA
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ARMIN ALEXANDER SCHMIDT              ARMINIO, KATHY                        ARMINTROUT, STEVE
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ARMISTEAD, JULIA                     ARMISTEAD, TERRELL                    ARMOCIDA, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARMOR, BLANE                         ARMOUR RIDGE, LLC                     ARMOUR, ALISON
ADDRESS AVAILABLE UPON REQUEST       PO BOX 1673                           ADDRESS AVAILABLE UPON REQUEST
                                     ARROYO GRANDE, CA 93421




ARMOUR, ALISON                       ARMOUR, ANDRELLA                      ARMOUR, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARMOUR, SUSAN                        ARMS-NORMENT, AYANNA                  ARMSTEAD, ISAAC
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ARMSTRONG RANCH ENTERPRISES LLC      ARMSTRONG, ABIGAIL                    ARMSTRONG, ALAN
32 TIMBER RIDGE TRL                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LORENA, TX 76655




ARMSTRONG, ALANNA                    ARMSTRONG, ALYSSA                     ARMSTRONG, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARMSTRONG, AMY                       ARMSTRONG, AMY                        ARMSTRONG, AMY
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ARMSTRONG, ANDREW      Case 22-11238-LSS   DocAPRIL
                                     ARMSTRONG,  2 Filed 11/30/22     Page ARMSTRONG,
                                                                            178 of 5495
                                                                                      ASHLEY
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ARMSTRONG, ASHLEY                    ARMSTRONG, ASHLEY                     ARMSTRONG, BELINDA
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ARMSTRONG, BETH                      ARMSTRONG, BRIANNE                    ARMSTRONG, BRIDGETTE
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ARMSTRONG, CANDICE                   ARMSTRONG, CARI                       ARMSTRONG, CATHERINE
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ARMSTRONG, CATHERINE                 ARMSTRONG, CHRISTOPHER                ARMSTRONG, COURTNEY
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ARMSTRONG, DEVON                     ARMSTRONG, EDWARD                     ARMSTRONG, GABBY
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ARMSTRONG, GARY                      ARMSTRONG, GEOFFREY                   ARMSTRONG, JACKIE
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ARMSTRONG, JANET                     ARMSTRONG, JO                         ARMSTRONG, JUNE
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ARMSTRONG, KATHERINE                 ARMSTRONG, KATHLEEN                   ARMSTRONG, KATIE
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ARMSTRONG, KAYLA                     ARMSTRONG, KAYLA                      ARMSTRONG, KELSEY
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ARMSTRONG, KIRSTEN     Case 22-11238-LSS   DocKRISTA
                                     ARMSTRONG,  2 Filed 11/30/22     Page ARMSTRONG,
                                                                            179 of 5495
                                                                                      KRISTY
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ARMSTRONG, LAUREN                    ARMSTRONG, LAUREN                     ARMSTRONG, LEAZA
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ARMSTRONG, LERONNE                   ARMSTRONG, LINDSAY                    ARMSTRONG, LORI
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ARMSTRONG, MAKAYLA                   ARMSTRONG, MARJORIE                   ARMSTRONG, MARLANA
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ARMSTRONG, MEGAN                     ARMSTRONG, MEGAN                      ARMSTRONG, MEGAN
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ARMSTRONG, MICHELLE                  ARMSTRONG, MICHELLE                   ARMSTRONG, NANCY
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ARMSTRONG, RACHEL                    ARMSTRONG, RANDALL                    ARMSTRONG, REBECCA
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ARMSTRONG, ROBERT                    ARMSTRONG, SCOTT                      ARMSTRONG, SHANITA
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ARMSTRONG, SHARI                     ARMSTRONG, SHELBY                     ARMSTRONG, SHELBY
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ARMSTRONG, SUSAN                     ARMSTRONG, TANSIE                     ARMSTRONG, TENIA
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ARMSTRONG, TERRY       Case 22-11238-LSS   DocTIFFANY
                                     ARMSTRONG,  2 Filed 11/30/22     Page ARMSTRONG,
                                                                            180 of 5495
                                                                                      TINA
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ARMSTRONG, TORI                      ARMSTRONG, WENDI                      ARMUSEWICZ, COURTNEY
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ARMUTH, JOLINE                       ARMWOOD, WRENNA                       ARN, ASHLEY
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ARN, CHRISTOPHER                     ARNADO, ALEXIS                        ARNADO, JALEEL
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ARNALL, GINA                         ARNAOUT, ANGELENA                     ARNASON, LEE ANN
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ARNAU, JULIA                         ARNAUT, GALINA                        ARNBERG, ERIKA
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ARNDT, HALEY                         ARNDT, JAN                            ARNDT, LISA
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ARNDT, MARY ELLEN                    ARNDT, MICHELLE                       ARNDT, STEVEN
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ARNEL, CINDY                         ARNEL, KAELIE                         ARNER, SUSAN
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ARNESEN, BJORN                       ARNESON, KARLY                        ARNETT, AJ
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ARNETT, ASHLEY         Case 22-11238-LSS
                                     ARNETT, Doc 2 Filed 11/30/22
                                             EUSONDIA                 Page ARNETT,
                                                                            181 of JOSEPH
                                                                                    5495
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ARNETT, MARIA CHRISTINA              ARNETTE, L. ANN                       ARNEY, DEBRA
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ARNEY, KATIE                         ARNEY, SHANNON                        ARNHART, ERNEST
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ARNIERI, GABI                        ARNING, HEATHER                       ARNINI, JENNIFER
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ARNIOTIS, ZOE                        ARNO JOE TOUTOUNJIAN                  ARNO, CHRISTIANA
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ARNOFSKY, SHARA                      ARNOLD DIAZ JUNIOR                    ARNOLD SENGOOBA
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ARNOLD WEBRE JR                      ARNOLD, ABBI                          ARNOLD, ALEXANDRA
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ARNOLD, ALLISON                      ARNOLD, ALLISON                       ARNOLD, AMY
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ARNOLD, ANURAG                       ARNOLD, ASHLEY                        ARNOLD, BILL
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ARNOLD, BRETT                        ARNOLD, BRETT                         ARNOLD, BRIAN
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ARNOLD, BRITTANY       Case 22-11238-LSS
                                     ARNOLD, Doc 2 Filed 11/30/22
                                             CONNIE                   Page ARNOLD,
                                                                            182 of COURTNEY
                                                                                   5495
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ARNOLD, DANIELLE                     ARNOLD, ELOISE                        ARNOLD, ERIN
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ARNOLD, ERIN                         ARNOLD, FRANCIS                       ARNOLD, GABRIELLE
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ARNOLD, GENENE                       ARNOLD, HANNAH                        ARNOLD, HANNAH
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ARNOLD, HEATHER                      ARNOLD, JACQUELYN                     ARNOLD, JAMES
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ARNOLD, JESSICA                      ARNOLD, JOANNA                        ARNOLD, KARA
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ARNOLD, KATHLEEN                     ARNOLD, KATHRYN                       ARNOLD, KELSEE
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ARNOLD, KRISTA                       ARNOLD, KRISY                         ARNOLD, LAUREN
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ARNOLD, LAURYN                       ARNOLD, LISA                          ARNOLD, LORI
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ARNOLD, MACKENZIE                    ARNOLD, MARLENE                       ARNOLD, MARVA
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ARNOLD, MEG            Case 22-11238-LSS
                                     ARNOLD, Doc 2 Filed 11/30/22
                                             MELODY                   Page ARNOLD,
                                                                            183 of MICHELE
                                                                                   5495
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ARNOLD, MORGAN                       ARNOLD, NATALIE SINCLAIR              ARNOLD, NICK
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ARNOLD, OLIVIA                       ARNOLD, PAULINE                       ARNOLD, PENNY
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ARNOLD, RACHEL                       ARNOLD, REBECCA                       ARNOLD, ROBERT
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ARNOLD, SIDNEY                       ARNOLD, STACY                         ARNOLD, STEPHANIE
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ARNOLD, SUE                          ARNOLD, TODD                          ARNOLD, TRENT
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ARNOLD, VALERIE                      ARNOLD, WILLIAM                       ARNOLD, WILLIAM
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ARNOLD, ZACK                         ARNOLDI, DEBRA                        ARNOLDY, MARC P
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ARNONE, ERIK                         ARNOSKY, CORRINNE                     ARNOTT, LAUREN
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ARNOTTT, VICTORIA                    ARNSDORFF, LISA                       ARNTZ, CATHERINE
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ARNTZ, KAREN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AROCA, TATIANA                   Page AROCHO,
                                                                            184 of 5495
                                                                                   REBECA
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AROGO, LILLIAN                       AROMATORIO, JENELLE                   AROMOLARAN, MICHAEL
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ARON LONG                            ARON, EMILY                           ARON, JACQUELINE
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ARON, ZOE                            ARONAUER, TODD                        ARONOFF, JOSH
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ARONOWITZ, DAVID                     ARONSON, CAROL                        ARONSON, CLIFFORD
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ARONSON, JENNIFER                    ARONSON, JOEL                         ARONSON, LAUREN
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ARONSON, ROBERT                      AROON RUSTEMI                         ARORA, ASHISH
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ARORA, FANCY                         ARORA, JENNI                          ARORA, MANISH
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ARORA, MANVI                         ARORA, MEETA                          ARORA, MICHELE
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ARORA, SAHIL                         AROSTEGUI, KATHERINE                  AROYO, ALEXANDRA
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ARP, ALLYSON           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ARP, KELSIE                      Page ARP,
                                                                            185MELISSA
                                                                                of 5495
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ARPAIA, BRETT                        ARPIE, BRIANNA                        ARPIN, CAROLA JOAN
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ARPINO, PAUL                         ARQUILLA, MARIE                       ARRA, JACK
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ARRANT, TAINESHA                     ARRAS, JOANNA                         ARREAZA, DAN
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ARREDONDO DELGADO, ANA I.            ARREDONDO, ARELI                      ARREDONDO, CARLOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARREDONDO, DAMIAN                    ARREDONDO, EVANJELINA                 ARREDONDO, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARREDONDO, MONIKA                    ARREGUIN, LISA                        ARREGUIN, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARREGUY, LIZ                         ARREOLA, AMANDA                       ARREOLA, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARREOLA, CHRYSTAL                    ARREOLA, JENNIFER                     ARREOLA, NIEKA
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ARRIAGA, ABBY                        ARRIAGA, OLGA                         ARRIAGA, OLIVIA
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ARRIAGADA, NICOLAS     Case 22-11238-LSS
                                     ARRIETA,Doc 2 Filed 11/30/22
                                             ARMANDO                     Page ARRIETA,
                                                                               186 of GABRIELLE
                                                                                       5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARRIETA, RACHEL                      ARRIGO, LINDA                            ARRINGTON, ALEXANDRIA
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ARRINGTON, ANJANETTE                 ARRINGTON, CAROLINE                      ARRINGTON, KERRI
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ARRINGTON, KESHIA                    ARRINGTON, LAURA                         ARRINGTON, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARRINGTON, LINDSAY                   ARRINGTON, LINDSAY                       ARRINGTON, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARRINGTON, OLIVIA                    ARRINGTON, RENEE                         ARRINGTON, SAVANNAH
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ARRINGTON, TATYANA                   ARRINGTON, TAYLOR                        ARRINGTON, VARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARRINGTON, VICKIE                    ARRIOLA, ELSA                            ARRIOLA, KALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARRIVE LOGISTICS                     ARROLLADO, MICHELLE                      ARROTTA, KAYELA
7701 METROPOLIS DR BUILDING 15       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
AUSTIN, TX 78744




ARROW ELECTRIC                       ARROWHEAD WATER                          ARROWOOD, NATALIE
VAUDRY ENTERPRISES, INC              ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
8347 EASTERN AVE
BELL GARDENS, CA 90201
ARROWSMITH, CATHY      Case 22-11238-LSS   Doc
                                     ARROYAVE,   2 Filed 11/30/22
                                               CAROLINA                  Page ARROYO
                                                                               187 of HILL
                                                                                      5495 DEVELOPMENT , INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           837 NORTH SPRING STREET SUITE 213
                                                                              LOS ANGELES, CA 90012




ARROYO SANTIAGO, NINA                   ARROYO, ANJA                          ARROYO, BERNARDO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARROYO, CLAUDIA                         ARROYO, DAVID                         ARROYO, ELYSA
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ARROYO, FRANCES                         ARROYO, JULIE                         ARROYO, OPHELIA
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ARROYO, RUTHIE                          ARROYO, SAMANTHA                      ARROYO, SHIRLEY
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ARROYO, TYIESHA                         ARROYO, YAMILE                        ARRUDA DWYER, ASHLEY
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ARRUDA, DARLENE                         ARRUDA, JOHN                          ARRUDA, KATELYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARRUDA, RACHAEL                         ARRUDA-LEUPPERT, NATHANIEL            ARRUTI, APRIL
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ARSENAL                                 ARSENAULT, CAROLINE                   ARSENAULT, JAMES
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARSENAULT, KAREN                        ARSENAULT, MARLENE                    ARSENAULT, RYAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ARSENEAU, AMANDA       Case 22-11238-LSS    Doc
                                     ARSENEAU,   2 Filed 11/30/22
                                               MICAELA                   Page ARSENIE,
                                                                               188 of 5495
                                                                                       KAYLA
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ARSHAK TOROSSIAN                     ARSHAKIAN, NATALIE                       ARSNOW, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARSUAGA, MARIA                       ART FARM WINE                            ART FARM WINE
ADDRESS AVAILABLE UPON REQUEST       2185 SILVERADO TRAIL                     THE GIRLS IN THE VINEYARD
                                     NAPA, CA 94558                           1370 TRANCAS 749
                                                                              NAPA, CA 94558




ART & MOTION                         ART BEAT STUDIOS                         ARTAMONOV, KATHRIN
1207 4TH STREET, SUITE 250           ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90401




ARTEAGA, JONATHAN                    ARTEAGA, JOSE                            ARTEAGA, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARTEMAN, NORMA                       ARTEMOVA, MARIANNA                       ARTER, JESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARTERBURY, B                         ARTHALONY, BROOK                         ARTHMIRE, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARTHUR FAGEN                         ARTHUR L MARTIN                          ARTHUR MALKANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARTHUR SHEN                          ARTHUR WONG                              ARTHUR, ABBEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ARTHUR, ALLISON                      ARTHUR, BETHANY                          ARTHUR, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
ARTHUR, JENNIFER       Case 22-11238-LSS
                                     ARTHUR, Doc
                                             JOE 2   Filed 11/30/22   Page ARTHUR,
                                                                            189 of KATIE
                                                                                   5495
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ARTHUR, KEN                          ARTHUR, LIZ                           ARTHUR, MIKAELA
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ARTHUR, NATALIE                      ARTHUR, PAM                           ARTHUR-BROWN, ISAIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARTHURS, JAMES                       ARTHURS, JENNY                        ARTHURS, JOSEPH
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ARTICA, BRIAN                        ARTIGA, FRANK                         ARTILES, DAYNEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARTIS COLLIER                        ARTIS, AMBER                          ARTISAN BARRELS & TANKS INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        6050 COLTON BLVD
                                                                           OAKLAND, CA 94611




ARTISAN BRANDS LLLP                  ARTISAN FINE WINE AND SPIRITS         ARTISAN FINE WINE AND SPIRITS
7011 E 46TH ST                       6516 E. 12TH ST.                      6516 E. 12TH STREET
TULSA, OK 74145                      TULSA, OK 74112                       TULSA, OK 74112




ARTMAN, TAYLOR                       ARTMONT, KIMBERLY                     ARTNER, MARIKAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARTONE, SAM                          ARTRY, KIARA                          ARTSON, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARTURO FUENTES                       ARTY, EILEEN                          ARTY, NANCY
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ARUIZA, JENNIFER       Case 22-11238-LSS   Doc 2SHAJIFiled 11/30/22
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                                                                            190 ANBUMANI
                                                                                of 5495
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ARUN KARUPPAIYA ADAIKALAM            ARUN SHRRIVATS RAMASUBRAMANIAN        ARVAIPORTER, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARVANITIDES, ALEXIS                  ARVAY, HEATHER                        ARVELLA BATTICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARVID E DAHLSTROM                    ARVIE, MARISA                         ARVIN, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARVIND CHERUKU                       ARVIND, SANCHIT RAM                   ARVINGER, EBENA
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ARVISO, CHASE                        ARVIZU, MATT                          ARYCK RUSSELL
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ARYSTANOVA, ELMIRA                   ARZ                                   ARZOLA, OLGA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ARZUAGA, SHAYLIN                     ARZUAGA, SHERYL                       ASAAD, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASADDULLAH, HYAFFA                   ASADORIAN, DONALD                     ASADORIAN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASAMOAH, ERICKA                      ASANA                                 ASANGA, NICHOLAS AZENUI
ADDRESS AVAILABLE UPON REQUEST       1550 BRYANT STREET SUITE 900          ADDRESS AVAILABLE UPON REQUEST
                                     SAN FRANCISCO, CA 94103
ASANOVICH, JENNIFER    Case 22-11238-LSS
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                                                                            191 PHORAGE
                                                                                of 5495
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ASARAF, ASHLEY                       ASARKOF, EILEEN                       ASARO, ALISON
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ASARO, MELISSA                       ASAY, SAMUEL                          ASBELL, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASBURY, DEANA                        ASBURY, EMILY                         ASBURY, HALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASBURY, HANNAH                       ASBURY, NINA                          ASCANIO, ELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASCENCIO, CASSY & DAVID              ASCENCIO, ERICA                       ASCENCIO, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASCENTIS CORPORATION                 ASCENZO, AMANDA                       ASCHBACHER, MICHELE
11995 SINGLETREE LN, STE 400         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EDEN PRAIRIE, MN 55344




ASCHE, FREDDY                        ASCHENBRENNER, SHAROLYN               ASCHER, EVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASCHER, LAURA                        ASCHLIMAN, SAMANTHA                   ASCIOLLA, JILLIAN
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ASCIONE, RACHEL                      ASCOLESE, EMILY                       ASCOLESE’S, VICKI
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ASCOLI, FEDERICO       Case 22-11238-LSS
                                     ASD   Doc 2 Filed 11/30/22       Page ASDELL,
                                                                            192 ofSTEPHANIE
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ASEEM BALHARA                        ASEN, JOSHUA                          ASERRAF, JONATHAN
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ASEYEV, ILYA                         ASFAW, ELIAS                          ASGHARZADEH, PARISA
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ASH, ALEX                            ASH, ANTI                             ASH, COURTNEY
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ASH, DIANA                           ASH, ELENA                            ASH, EMMA
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ASH, JULIE                           ASH, KATE                             ASH, LAUREN
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ASH, MARTHA                          ASH, MELINA                           ASHA, PRAGATHI KANTH
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ASHBAUGH, CONNOR                     ASHBAUGH, DAN                         ASHBRIDGE, DANIELLE
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ASHBROOK, CHELSEA                    ASHBURN, LAURA                        ASHBY, ALEXIS
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ASHBY, ANDREW                        ASHBY, EASTIN                         ASHBY, JANET
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ASHBY, JILL            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ASHBY, KURTIS                    Page ASHBY,
                                                                            193 ofMARY
                                                                                   5495
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ASHBY, NICOLE                        ASHBY, SAMANTHA                       ASHBY, TIFFANY
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ASHCRAFT SR, RALPH                   ASHCRAFT, CHRISTIN                    ASHCRAFT, DIANA
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ASHCRAFT, JODI                       ASHCRAFT, KRISTINA                    ASHCRAFT, LINDSAY
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ASHE, AMY                            ASHE, ANGELA                          ASHE, EDWINA
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ASHE, JACQUELYNNE                    ASHE, KYLE                            ASHE, SARAH
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ASHENBRENNER, MARY                   ASHENFELTER, JESS                     ASHENFELTER, JESSICA
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ASHER, DONNA - RUTH                  ASHER, ELIZABETH                      ASHER, JACKIE
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ASHFORD, ANN                         ASHFORD, KELLY                        ASHFORD, PENNIE
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ASHFORD, RACHEL                      ASHFORD, THERESA                      ASHFORD, TRISHA
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                                     ASHING, MARA                     Page ASHINHURST,
                                                                            194 of 5495EMILY
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ASHIRU, JENNIFER                     ASHISH ANAND                          ASHISH KUMAR VERMA
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ASHIZAWA, KEI                        ASHLA, STEVE                          ASHLAW, ELISE
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ASHLEE VANN                          ASHLEE WOODROOF                       ASHLEIGH HUTCHISON
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ASHLEIGH TRESSO                      ASHLEIGH, JEN                         ASHLEY ADAMS
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ASHLEY BARETZ                        ASHLEY BOOKARD                        ASHLEY BORRELLI
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ASHLEY BROOKE DESIGNS, LLC           ASHLEY CHRISTIANSEN                   ASHLEY DURR
9625 SWEETLEAF STREET                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ORLANDO, FL 32827




ASHLEY GASPAR, TRAILCO INC           ASHLEY GIDDENS                        ASHLEY GOSSETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASHLEY HAMILTON                      ASHLEY HAZELWOOD                      ASHLEY HESS
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ASHLEY HILTON                        ASHLEY HUGHES                         ASHLEY JAMES ROBINSON
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                                     ASHLEY KLINE                     Page ASHLEY
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ASHLEY LILLIS                        ASHLEY MCCALL                         ASHLEY MERRILL
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ASHLEY MITCHELL                      ASHLEY MITCHELL                       ASHLEY MORRIS
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ASHLEY NEGLIA                        ASHLEY NICOLE LOMELIN                 ASHLEY NICOLE ST JULES
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ASHLEY REESE                         ASHLEY RENEE SOUTH                    ASHLEY RICHARDSON
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ASHLEY RIDEAUX                       ASHLEY SAWYER                         ASHLEY SEABOLT
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ASHLEY SHEHAN                        ASHLEY SILCOTT                        ASHLEY TAYLOR
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ASHLEY TYLER                         ASHLEY YODER                          ASHLEY
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ASHLEY                               ASHLEY, BEBEAU,                       ASHLEY, CATHERINE
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ASHLEY, CLINT                        ASHLEY, DEANNA                        ASHLEY, ELIZABETH
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                                     ASHLEY, Doc
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                                                                            196 ofKYLE
                                                                                   5495
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ASHLEY, LAURA                        ASHLEY, LAUREN                        ASHLEY, MANNING,
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ASHLEY, MS                           ASHLEY, RICHARD                       ASHLEY, ROCHELLE
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ASHLEY, SHELBY                       ASHLIE N SUMMER                       ASHLIN, DEANN
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ASHLYN BRADBURY                      ASHMAN, JENNA                         ASHMAN, KELSEY
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ASHMAN, THERESA                      ASHMORE, JACLYN                       ASHMORE, JEANNE
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ASHMORE, LINDSAY                     ASHMORE, SARA                         ASHOK SANGHAVI
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ASHOK, LAKSHMI                       ASHPOLE, ELISE                        ASHRAF, SHOVON
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ASHTON, ANNA                         ASHTON, BRIANA                        ASHTON, DANIEL
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ASHTON, JOHNNA                       ASHTON, LINDA                         ASHTON, MICHELLE
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                                     ASHTON,Doc  2 Filed 11/30/22
                                            THERESA                      Page ASHTON,
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ASHU CHOHAN                             ASHUWR PERSON                         ASHWINIKUMAR JOSHI
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ASHWINIKUMAR SOEKHOE                    ASHWINKUMAR L PATEL                   ASHWORTH, CHAD
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ASHWORTH, CHRIS                         ASHWORTH, JOSHUA                      ASHWORTH, RALPH
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ASIANA                                  ASIEDU, ELIJAH                        ASIK, ANNA
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ASK, KAT                                ASKARNIA, ALEX                        ASKEGAARD, JESSICA
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ASKEW, ALEXANDRIA                       ASKEW, EMILY                          ASKEW, HANNAH
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ASKEW, JESSICA                          ASKEW, JILL                           ASKEW, MEGAN
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ASKEW, RON                              ASKEW, WAVERLY                        ASKEY, CHRIS
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ASKEY, SARA                             ASKIM, LAURA                          ASKIN, DAVID
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ASKINS, BRIAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ASKINS, SCOTT                    Page ASKMEN.COM
                                                                            198 of 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        SUITE, 801, 4200 ST. LAURENT
                                                                           MONTREAL, QC H2W 2R2
                                                                           CANADA




ASKWYTH, MARYANNE                    ASLAKSEN, RACHEL                      ASLAM, HINNAH
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ASLAN, OYKU                          ASLESON, BREE                         ASLINGER, ELIZABETH
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ASMAN, SHANNAH                       ASMAR, CALINE                         ASMIS, DOROTHEE AND OLAF
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ASNON, NYKOLE                        ASOMOZA, ERIN                         ASP, ASHLEE
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ASPE, BIANCA                         ASPEITIA, DAVID                       ASPELUND, CATHRYN
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ASPEN, GREG                          ASPENSON, REGAN                       ASPER, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ASPEYTIA, ZABRINA                    ASPHOLM, NICHOLAS                     ASPLAND, ROSE
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ASPLUND, JEREMY                      ASSA, LIZZIE                          ASSEFA, MALENA
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ASSEILY, KIM                         ASSEL, ALLISON                        ASSELIN, CHLOE
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ASSI, AKIRAN           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ASSIA, JASMINE                   Page ASSIBEY-MENSAH,
                                                                            199 of 5495 VANESSA
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ASSIMAKOPOULOS, BARBARA              ASSIMOS, ANDREANA                    ASSIS, FRANCINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ASSOCIATED WINERY SYSTEMS, INC       ASSUDANI, NUPUR                      ASTANOVITZ, PAULA
7787 BELL ROAD                       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
WINDSOR, CA 95492




ASTARITA, KRISTA                     ASTENGO, NICHOLLE                    ASTHEIMER, BRYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ASTHEIMER, JENNIFER                  ASTIASO, MARIA                       ASTLEFORD, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ASTON, CHERYL                        ASTON, LIZ                           ASTON, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ASTOR, SAM                           ASTORE, ROSANNE                      ASTORGA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ASTORGA, CLAUDIA                     ASTORINO, DAWN                       ASTRAPOUCH NORTH AMERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       38 HICKORY LN
                                                                          ROCHESTER, NY 14625




ASTRID HOFFMANN                      ASTRUP, ELIZABETH                    ASTRUP, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




ASTURIAS, MEGAN                      ASUBONTEN, RANDALL                   ASUGO, OCHIENG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
ASUMA, LEENA           Case 22-11238-LSS    Doc
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                                              BORATGIS                      Page ASUNCION,
                                                                                  200 of 5495
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ASUNCION, SHWETA                        AT MOBILE BOTTLING LINE, LLC             AT&T MOBILITY
ADDRESS AVAILABLE UPON REQUEST          412 ST. ANDREWS DRIVE                    P.O. BOX 6463
                                        NAPA, CA 94558                           CAROL STREAM, IL 60197-6463




AT&T U-VERSE                            AT&T                                     AT&T
ADDRESS UNAVAILABLE AT TIME OF FILING   208 S AKARD ST                           C/O AT&T SERVICES INC
                                        DALLAS, TX 75202                         ATTN KAREN A CAVAGNARO, PARALEGAL
                                                                                 ONE AT&T WAY, RM 3A104
                                                                                 BEDMINISTER, NJ 07921



ATABANSI, NICOLE                        ATADERO, JENNIFER                        ATADERO, LIAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ATAK GRAPHICS, INC. (ALLEGRA SOUTH      ATAMANCHUK, NICOLE                       ATANASOFF, KAYLEIGH
BAY)                                    ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
363 CORAL CIRCLE EL
SEGUNDO, CA 90245




ATANSAH, PRISCILLA                      ATARI-YA JAPANESE RESTAURANT             ATASSI, KELLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




ATAY, OGUZHAN                           ATCHERSON, SABRINA                       ATCHIBA, OBEDATH
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ATCHINSON, CLARA                        ATCHISON, BRITTNEY                       ATCHISON, MAUREEN
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ATCHISON, TISH                          ATCHLEY, ANTOINETTE                      ATCHLEY, CAROLYN
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ATCHLEY, JENNIFER                       ATCHLEY, KARLY                           ATEHORTUA, JUAN
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                                     ATTN JAY THOMSON, MGR
                                     1160 HOPPER AVE
                                     SANTA ROSA, CA



ATEN, WESLEY                          ATENCIO, BRANDY                        ATES, MATTHEW
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ATESHIAN, ALEXA                       ATHA, AMANDA                           ATHANASAKIS, PATRICIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ATHANASEN, JAMES                      ATHAY, JASON                           ATHENA BRANDS, LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         (DBA CONVOY BEVERAGE ALLIANCE)
                                                                             1000 BRICKELL AVE, STE 915
                                                                             MIAMI, FL 33131




ATHENS, CAROLYN                       ATHERLEY, RACHAEL                      ATHERTON, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ATHERTON, EMILY                       ATHERTON, LOGAN                        ATHERTON, MALCOLM
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ATHERTON, NEIL                        ATHERTON, RAVEN                        ATHEY, BOBETTE
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ATHMAN YAMAMOTO, LAURA ANN            ATHMER, ADAM                           ATHORN, CHELSEA
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ATHY, ALICIA                          ATI, INES                              ATIEH, LAUREN
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ATIGRE, PHILIP                        ATIKA MUHAMMAD                         ATILANO, JESSICA
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                                     ATILES, DENNESSA                 Page ATKINS,
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ATKINS, CHELSEY                      ATKINS, CHRISTIE                      ATKINS, CRYSTAL
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ATKINS, DAVID                        ATKINS, DAVID                         ATKINS, ERIKA
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ATKINS, HEATHER                      ATKINS, JANNA                         ATKINS, JESSICA
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ATKINS, LINDSAY                      ATKINS, MARIA                         ATKINS, NATHAN
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ATKINS, REBECCA                      ATKINS, ROBERT                        ATKINS, SARAH
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ATKINS, SCHUYLER                     ATKINS, SHAWN                         ATKINS, STEPHANIE
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ATKINS, SURRIE                       ATKINSON, ANECA                       ATKINSON, AREN
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ATKINSON, BECCA                      ATKINSON, BENJAMIN                    ATKINSON, BREANNA
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ATKINSON, BRUCE                      ATKINSON, DAVID                       ATKINSON, DAWN
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ATKINSON, DEBRA        Case 22-11238-LSS    Doc
                                     ATKINSON,    2 Filed 11/30/22
                                               ELISABETH              Page ATKINSON,
                                                                            203 of 5495
                                                                                     JESSIE
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ATKINSON, KATHERINE                  ATKINSON, KATHERINE                   ATKINSON, KATY
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ATKINSON, KAYCELYN                   ATKINSON, KIM                         ATKINSON, LAUREN
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ATKINSON, LINDA                      ATKINSON, LISA                        ATKINSON, NICOLE
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ATKINSON, NICOLE                     ATKINSON, NICOLE                      ATKINSON, ROSA
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ATKINSON, ROSALIE                    ATKINSON, SHANNON                     ATKINSON, TARA
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ATKINSON, WESLEY                     ATLAS, MAYA                           ATLASSIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




ATLEE, NORMA                         ATLESKI, KRISTINA                     ATOMIC LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        5125 E 6 AVE
                                                                           DENVER, CO 80220




ATOMIC PUBLIC RELATIONS              ATONDO, ALYSON                        ATOR, AMANDA
735 MARKET ST 4TH FLOOR              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94103




ATSMA, DEANNE                        ATTA, SARAH                           ATTA-MENSAH, AFUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ATTAWAY, BRITTANY      Case 22-11238-LSS   Doc
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                                                                            204 of 5495
                                                                                     MOBILE INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        221 RIVER STREET 9TH FLOOR
                                                                           HOBOKEN, NJ 07030




ATTENTIVE MOBILE INC.                ATTERBURY, ANNIE                      ATTERHOLT, AMY
221 RIVER STREET, SUITE 9047         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOBOKEN, NJ 07030




ATTIA, AMIN                          ATTICUS PUBLISHING, LLC               ATTICUS PUBLISHING, LLC
ADDRESS AVAILABLE UPON REQUEST       2004 FORD ST                          2004 FORD ST
                                     AUSTIN, TX 78704                      DUNCAN PENN, OWNER
                                                                           AUSTIN, TX 78704




ATTICUS PUBLISHING, LLC              ATTICUS PUBLISHING, LLC               ATTICUS PUBLISHING, LLC
990 SUNSET AVE                       F/S/O DUNCAN PENN                     F/S/O DUNCAN PENN
VENICE, CA 90291                     4338 REDWOOD AVE APT 209B             ATTN SPENCER ROEHRE
                                     MARINA DEL REY, CA 90292              4141 GLENCOE AVE, UNIT 409
                                                                           MARINA DEL REY, CA 90292



ATTICUS PUBLISHING, LLC              ATTIPOE, KWAMI                        ATTIYEH, ROSIE
F/S/O DUNCAN PENN                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
C/O PEARLMAN LINDHOLM; ANDREW PIKE
201-19 DALLAS RD
VICTORIA, BC V8V 5A6 CANADA



ATTN M CHURCH, FRANCIS               ATTN NANCY LEMKE, STEP BY STEP        ATTN: ALEX, ADG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ATTO K ROBERTS                       ATTON, BOB                            ATTRIDGE, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ATWELL, ANNELIESE                    ATWELL, ARIEL                         ATWELL, CHELSEA
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ATWELL, CHELSEA                      ATWELL, KIMBERLY                      ATWELL, LORYNNE
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ATWELL, MELISSA                      ATWOOD, DAVID                         ATWOOD, HAYLEY
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AU, YAT-PANG                            AUBE, CHRISTIAN                          AUBE, LARRY
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AUBE, SAVANNAH                          AUBERGE                                  AUBEY, JORDAN
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AUBIHL, STEPHEN                         AUBIN, HAYLEY M.                         AUBRAC, MARIANNE
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AUBRAE GULLICK                          AUBREY WOOD                              AUBREY, ANNA
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AUBREY, MARIKA                          AUBREY, MAURA                            AUBREY, MEGAN
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AUBRIE BROMLOW                          AUBRY, CARMEN                            AUBRY, JAMIE
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AUBRY, KAYLI                            AUBRY, MATTHEW                           AUBUCHON, ADRIENE
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AUBUCHON, ALYSSA                        AUBUCHON, STEPHEN                        AUCHLY, CARRIE
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AUCOIN, MICHELLE                     AUCOIN, PAULA                            AUCOTT, AMY
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AUDATTE, STEPHANIA                   AUDELL, MARY                             AUDEN, JOSH
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AUDET, MARRIN                        AUDETTE, JARRYD                          AUDETTE, KASSIE
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AUDI, GEORGES                        AUDIBLE                                  AUDIENCE CONNECT LLC
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                                                                              LOS ANGELES, CA 90034




AUDIJE, MILYN                        AUDILET, LANA                            AUDINO, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AUDIOBOOM (PODCAST)                  AUDISS, HOLLY                            AUDRA CURRAN
40 E34TH ST. SUITE 601               ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
NEW YORK CITY, NY 10016




AUDRA LEIGH SNYDER                   AUDREY CREARY                            AUDREY HAYES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AUDREY KRUSE                         AUDREY L KIDD                            AUDREY WOOD
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AUDRICA W BANKS                      AUDU, SEYI                               AUER, KRYSTYNA
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AUERBACH, AMY                        AUERBACH, BRADFORD                     AUERBACH, ELIZABETH
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AUERBACH, ZOE                        AUFFANT, FABIO                         AUFFARTH, SHAYLYN
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AUFMANN, DANIEL                      AUFSES, MICHAEL                        AUGDON ROBERTS
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AUGE, ELIZABETH                      AUGENBAUGH, MATT                       AUGENSEN, FINN
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AUGEO CLO, LLC (DBA FIGG)            AUGER, ANNETTE                         AUGER, CASEY
2561 TERRITORIAL ROAD                ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SAINT PAUL, MN 55414




AUGER, ELLEN                         AUGER, KAILEY                          AUGER, MEAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




AUGER, SUSAN                         AUGIE BELLO MUSIC LLC                  AUGIER, GABRIELA
ADDRESS AVAILABLE UPON REQUEST       165 W 4TH STREET, APT 33               ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10014




AUGIS, RIMVYDAS                      AUGOSTINI, MIA                         AUGSBERGER, KATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




AUGSBURGER, JESSICA                  AUGUST, DAVID                          AUGUSTA FARA (MARRIED TO MURDER)
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                                                                            ST. LOUIS, MO 63131
                       Case
AUGUSTA FARA (MARRIED TO     22-11238-LSS
                         MURDER)      AUGUSTADoc  2 Filed 11/30/22
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                                                                             208 of 5495
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6556 DAKOTA RIDGE DR.                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EL PASO, TX 79912




AUGUSTA, KATHLEEN                    AUGUSTAD, TARA                         AUGUSTERFER, JOHN
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AUGUSTIN, CELAINE                    AUGUSTIN, DAYANA                       AUGUSTIN, LINDA
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AUGUSTIN, MEGAN                      AUGUSTIN, ROCHELLE                     AUGUSTIN, RUTH
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AUGUSTINE, ANDRE                     AUGUSTINE, FRANCES                     AUGUSTINE, KELLI
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AUGUSTINE, LINDSEY                   AUGUSTINE, LISA                        AUGUSTINE, MEGAN
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AUGUSTINE, ROHAN                     AUGUSTINIAK, CATHERINE                 AUGUSTO, FERNANDO
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AUGUSTO, PERSIA                      AUGUSTYN, CHRISTINE                    AUGUSTYN, JACOB
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AUGUSTYN, JASON                      AUGUSTYN, SYLVIA                       AULD, CHRISTINE
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AULD, GWENDOLYN                      AULENBACH, ASHLEY                      AULNER, RENATE
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AULT, ALEXA            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AULT, ALISHA                     Page AULT,
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                                                                                 of 5495
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AULT, CHRISTINE                      AULT, KEELEY                          AULT, NICOLE
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AULT, RICH                           AULT, SPENCER                         AULTZ, HEATHER
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AULTZ, JESSICA                       AUMAN, MICHELE                        AUMAN, SARA
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AUMAN, STEPHANIE                     AUMEN, KAREN                          AUNER, MEGHAN
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AUNI, GUSTAVO                        AUPTIX, INC.                          AUQUEL DUCHARM
ADDRESS AVAILABLE UPON REQUEST       2330 COUSTEAU COURT, STE 200          ADDRESS AVAILABLE UPON REQUEST
                                     VISTA, CA 92081




AURAND, RACHEL                       AURELIA, RACHEL                       AURELIO, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AURELUS, JENNIE                      AURIANE KOSTER                        AURIEMMA, BECCA
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AURIEMMA, BENJAMIN                   AURIEMMA, TONY                        AURINGER, JOEL
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AURORA ALBRIGHT                      AURORA, MARISA                        AURORE SIANO LORMEUS
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AUSPOS, PATRICIA                     AUST, ERIN                            AUST, MARY ELISE
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AUSTEFJORD, KIERSTEN                 AUSTIN HUGH ANDERSON                  AUSTIN KLINGENSMITH
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AUSTIN ROBERT HERRINGTON             AUSTIN, AARON                         AUSTIN, ALEJANDRA
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AUSTIN, ALYSSA                       AUSTIN, AMBER                         AUSTIN, ASHLEY
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AUSTIN, BAHJA                        AUSTIN, BARBARA                       AUSTIN, BRITTANY
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AUSTIN, BROCK                        AUSTIN, CASEY                         AUSTIN, CHARLES
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AUSTIN, CHRISTY                      AUSTIN, CLARE                         AUSTIN, CURTIS
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AUSTIN, DANI                         AUSTIN, DANIEL                        AUSTIN, DAVID
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AUSTIN, DAWN                         AUSTIN, DIANE                         AUSTIN, DYLAN
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AUSTIN, EBONY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AUSTIN, ELLA                     Page AUSTIN,
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AUSTIN, ERIKA                        AUSTIN, ERIN                          AUSTIN, HAILEY
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AUSTIN, HANNAH                       AUSTIN, HARRIET                       AUSTIN, JADE
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AUSTIN, JAN                          AUSTIN, JANA                          AUSTIN, JANET
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AUSTIN, JANN                         AUSTIN, JEFFREY                       AUSTIN, JENNIFER
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AUSTIN, JESSICA                      AUSTIN, JILLIAN                       AUSTIN, JODI
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AUSTIN, JOHN                         AUSTIN, JULIA                         AUSTIN, KAYLA
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AUSTIN, KRISTOFER                    AUSTIN, LEIGHA                        AUSTIN, LINDSAY
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AUSTIN, LIZ                          AUSTIN, LIZ                           AUSTIN, LORRAINE
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AUSTIN, MADELINE                     AUSTIN, MARKARA                       AUSTIN, MARLA
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AUSTIN, MARY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AUSTIN, MELISSA                     Page AUSTIN,
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AUSTIN, ROBIN                        AUSTIN, SAVANNAH                         AUSTIN, SHELEEN
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AUSTIN, SIMON                        AUSTIN, TRICIA                           AUSTIN, VENUS
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AUSTIN, VERONICA                     AUSTINCRAFTON, TIERRA                    AUSTRIA, KATIE
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AUTEN, ASHLEY                        AUTEN, MEREDITH                          AUTH, DELANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AUTH, FELICIA                        AUTHILL WINES GMBH                       AUTIO, PAM
ADDRESS AVAILABLE UPON REQUEST       HOUPTSTRASSE 65                          ADDRESS AVAILABLE UPON REQUEST
                                     DOBERMANNSDORF 2181
                                     AUSTRIA




AUTISSIER, ESTELLE                   AUTODESK, INC                            AUTREY, ALLISON
ADDRESS AVAILABLE UPON REQUEST       PO BOX 894229                            ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90189-4229




AUTUMN COMMUNICATIONS LLC            AUTUMN COMMUNICATIONS, LLC.              AUTUMN COMMUNICATIONS, LLC.
C/O ROTHSTEIN PRATA MCCABE CPAS      146 NORTH CLARK DRIVE 2A                 15260 VENTURA BLVD STE 2100
303 FIFTH AVENUE, SUITE 1813/14      LOS ANGELES, CA 90048                    SHERMAN OAKS, CA 91403
NEW YORK, NY 10016




AUTUMN COMMUNICATIONS, LLC.          AUTUMN COMMUNICATIONS, LLC.              AUTUMN COMMUNICATIONS, LLC.
16133 VENTURA BLVD. SUITE 500        8322 BEVERLY BLVD., STE 201              C/O PRAGER METIS CPAS LLC
ENCINO, CA 91436                     LOS ANGELES, CA 90048                    14 PENN PLAZA, SUITE 2000
                                                                              NEW YORK, NY 10122




AUTUMN COMMUNICATIONS, LLC.          AUTUMN COMMUNICATIONS, LLC.              AUTUMN HAUENSTEIN
C/O ROTHSTEIN PRATA MCCABE CPAS      C/O SCHREIBER ADVISORS, P.C.             ADDRESS AVAILABLE UPON REQUEST
303 FIFTH AVENUE, SUITE 1813/14      7031 ORCHARD LAKE ROAD, SUITE 203
NEW YORK, NY 10016                   WEST BLOOMFIELD, MI 48322
AUTUORI, SUSAN         Case 22-11238-LSS
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AVAKIAN, BRAD                        AVAKIAN, HERMINEH                        AVALARA AVATAX
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AVALARA INC.                         AVALARA INC.                             AVALARA
255 S. KING ST., SUITE 1800          ATTN: GM, BEVERAGE ALCOHOL               255 S. KING ST., SUITE 1800
SEATTLE, WA 98104                    1650 RAMADA DR, STE 180                  SEATTLE, WA 98104
                                     PASO ROBLES, CA 93447




AVALLON, GREG                        AVALOS, ANNA                             AVALOS, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AVALOS, MARIA                        AVANGATE, INC.                           AVANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




AVANT, TRACI                         AVANZADO, VIRGIL                         AVANZATO, JOHN
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AVASARALA, SHALINI                   AVDOYAN, ALEXIS                          AVEDIAN, NATHAN
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AVELAR, CARLOS                       AVELAR, PAOLA                            AVELIN, KIMBERLY
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AVELIN, MICHAEL                      AVELLA, ALEX                             AVELLANET, KEN
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AVELLINO, DANIELLE                   AVENALI, JENNIFER                        AVENDANO, JORGE
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AVENT, MARIAN                        AVENTAGGIATO, DOMINIK NITAI           AVENTINE
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AVERETT, JONI                        AVERGUN, JODI                         AVERILL, KRISTIN
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AVERILL, MARILYN                     AVERILL, NANCY                        AVERITT, CATHERINE
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AVERY HELWIG                         AVERY WALLACE                         AVERY, ABBY
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AVERY, ALEX                          AVERY, BRENDAN                        AVERY, BRIANA
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AVERY, CHANTAL                       AVERY, CLARICE                        AVERY, CLIFF
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AVERY, ERICA                         AVERY, ERIN                           AVERY, KELLY
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AVERY, KRISTEN                       AVERY, LAURA                          AVERY, LEIGH
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AVERY, MARSHA                        AVERY, MICHAEL                        AVERY, MORGAN
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AVERY, VAL                           AVETOOM, MARGARET                     AVEY, AMANDA
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AVEY, MEGAN                          AVEZZIE, ARIANA                       AVGEROS, VIVI
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AVIL, SIERRA                         AVILA B, LUCIA                        AVILA, ADRIANA
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AVILA, ALANA                         AVILA, ANDREA                         AVILA, ANNE
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AVILA, CHRISTINA                     AVILA, DARLA                          AVILA, EDWARD
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AVILA, ELIZABETH                     AVILA, FRED                           AVILA, JENNIFER
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AVILA, JUVENTINO                     AVILA, KARLA                          AVILA, KATHY
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AVILA, MYKA                          AVILA, PHILLIP                        AVILA, REBECA
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AVILA, ROBERTO                       AVILA-CAREY, ROBIN                    AVILES, ARYANNA
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AVILEZ, REBECCA                       AVINA, MELISA                            AVINA, MELISA
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AVINA, ROSE                           AVINOAM, DANA                            AVIO VENTURES
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AVIRETT, KAILI                        AVIS RENT-A-CAR                          AVIS, KALEIGH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




AVISON YOUNG - SOUTHERN CALIFORNIA,   AVISS, EILEEN                            AVITABLE, JOSEPH
LTD                                   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
555 S FLOWER STREET SUITE 3200
LOS ANGELES, CA 90071




AVIV, SONIA                           AVJIAN, KRISTIN                          AVNI, DANNY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AVOCATOAST BY LIZZY                   AVOLA, CAITLIN                           AVOLIO, BETH
1469 1/5 SCOTT AVE                    ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90026




AVON, LAUREN                          AVOTS, MARTA                             AVRIETT, ROB
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AVRIL, ANDREW                         AVSHALUMOV, ANDREA                       AVYLYNN CHOWDHURY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AWAASAH, RAMATOU                      AWAD, MAHA                               AWAIS, YASMINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
AWALIGA, JUDE          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     AWAN, SARAH                          Page AWASTHI,
                                                                                217 of 5495
                                                                                        SAURABH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




AWE, SHELLEY                          AWE-HUSKY, CAROLYN                       AWESOME OS, INC. (OFFSOURCING, INC)
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           8605 SANTA MONICA BLVD 30540
                                                                               LOS ANGELES, CA 90069




AWESOME OS, INC. (OFFSOURCING, INC)   AWTREY, AMANDA                           AWTREY, RACHEL
AWESOME OS, INC. 8605 SANTA MONICA    ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BLVD 30540
HELEN LEE
LOS ANGELES, CA 90069



AWUAH, CHARLES                        AXANI, ERIKA                             AXBERG, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AXELRAD, JONATHAN                     AXELROD, AMY                             AXELROD, SYDNEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AXELSON, LESLIE                       AXELSON, LIZZIE                          AXELSON, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AXFORD, DAISY                         AXIS CONSTRUCTION MANAGEMENT, LLC        AXIS INSURANCE COMPANY
ADDRESS AVAILABLE UPON REQUEST        215 WEST CHURCH ROAD SUITE 111           10000 AVALON BLVD, STE 200
                                      KING OF PRUSSIA, PA 19406                ALPHARETTA, GA 30009




AXIS INSURANCE COMPANY                AXIS INSURANCE COMPANY                   AXIS MARKETING
ATTN JILL FARNHAM, VP                 ATTN RAYMOND WALSH, VP                   1235 ELATI ST
111 S WACKER DR, STE 3500             450 SANSOME ST, STE 1600                 DENVER, CO 80204
CHICAGO, IL 60606                     SAN FRANCISCO, CA 94111




AXOS/COR CLEARING (0052)              AXT, KENDALL                             AXT, KEVIN
ATTN CORPORATE ACTIONS DEPT           ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
1200 LANDMARK CTR, STE. 800
OMAHA, NE 68102-1916




AXTELL, CHELSEA                       AXTELL, JENNIFER                         AXTELL, SUE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
AXTELL, WENDY          Case 22-11238-LSS
                                     AXTMAN, Doc  2 Filed 11/30/22
                                             NICOLE                   Page AXXCESS.COM
                                                                            218 of 5495
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AYA KHASIN                           AYA, CARLOS                           AYAK
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AYALA FERRELL, MARILYN               AYALA, ARACELIS                       AYALA, CARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYALA, COURTNEY                      AYALA, DORA                           AYALA, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYALA, JENNIFER                      AYALA, JESSICA                        AYALA, JESSICA
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AYALA, LAUREN                        AYALA, LISA                           AYALA, MARITZA
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AYALA, MARLEEN                       AYALA, MARTA                          AYALA, MARTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYALA, MARTI                         AYALA, MARVIN                         AYALA, MIGUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYALA, NICOLE                        AYALA, ROCIO                          AYALA, SHERLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYALA, SOPHIA                        AYALA, VICKI                          AYALA, VIVIANA
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AYALEW, HAIMI          Case 22-11238-LSS    Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYAS, MEHMET                         AYCOCK, JESSICA                       AYCOCK, WHITNEY
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AYCRIGG, SARAH                       AYELLA, CHARLOTTE                     AYELLO, LAUREN
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AYENI, CASSIE                        AYER, CAITLIN                         AYER, KRISTINA
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AYER, PATRICK                        AYERS, CAROLINE                       AYERS, DAN
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AYERS, EMMA                          AYERS, JACLYN                         AYERS, JANE
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AYERS, KARLI                         AYERS, KELLY                          AYERS, LINDA
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AYERS, LISA                          AYERS, MICHAELLE                      AYERS, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYERS, MIKELE                        AYERS, NICOLA                         AYERS, QUINESIA
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AYERS, ROBERT                        AYERS, SARAH                          AYERS, STEVE & SANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
AYERS, TEGAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AYERS, VALERIE                   Page AYES,
                                                                            220 GLADYS
                                                                                 of 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYETTE, MARLA                        AYINDE, NYASHO                        AYLE, ELAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYLE, ELAINE                         AYLER, KIRK                           AYLES, KRISTEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYLING, PAMELA                       AYLWARD, BROOKE                       AYLWARD, GAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYLWARD, VEDA                        AYMAR, SHAINA                         AYMONG, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYO OGUNDELE                         AYON, ANGELICA                        AYOOLA, IRENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYOUB, VANESSA                       AYOUBKHAN, SIMONE                     AYRE, JONATHAN
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AYRES, AMANDA                        AYRES, JOLENE                         AYRES, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYRES, MARCY                         AYRES, MARCY                          AYRES, QUINN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AYRES, SHARON                        AYRES-REICHERT, LESLIE                AYRICA END
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
AYSCUE, CLAUDINE       Case 22-11238-LSS
                                     AYTONA, Doc  2 Filed 11/30/22
                                             DIANEDRA                    Page AYVAR,
                                                                               221 ofPAMELA
                                                                                      5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AYVAZIAN, BIAYNA                     AYYATHURAI, SENTHIL                      AZ DEPT OF LIQUOR LICENSES AND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           CONTROL
                                                                              800 W. WASHINGTON, 5TH FLOOR
                                                                              PHOENIX, AZ 85007




AZ DEPT OF REVENUE                   AZ LIQUOR LICENSES                       AZAD, FARHAD
1600 W MONROE ST                     ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
PHOENIX, AZ 85007




AZAD, KANIZ                          AZADAN, CHAD                             AZALI, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AZAM, NOOR ZEHRA                     AZAR, ALEXANDRIA                         AZCARATE, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AZCUI, LUANNE                        AZCUY, JORGE                             AZCUY, MARIELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AZEEZ PATRICIA                       AZEEZ, OLUWASEGUN                        AZEMAN, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AZENABOR, GRACE                      AZENARO-MOORE, ANASTASIA                 AZER, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AZERO, NICOLE                        AZIM, ROSIE                              AZIMOVA, RANO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AZIZA CALLAHAN                       AZIZBAYEVAA, FELIS                       AZIZI, MASOOMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
AZIZI, NORWAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     AZOFF, JARED                        Page AZORES,
                                                                               222 of NICOLE
                                                                                      5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




AZOULAY, ALEX                           AZOY, LARA                            AZOY, LARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AZUERO-DAJUD, JUAN PABLO                AZUR ASSOCIATES                       AZURDIA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          AZUR GROUP LLC                        ADDRESS AVAILABLE UPON REQUEST
                                        2151 MAIN ST., STE C
                                        NAPA, CA 94559




AZURE                                   AZUSA SHIMADA                         AZZARANO, KATHLEEN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




AZZARI, NATALIE                         AZZINARO, TINA                        AZZIZ, RENAE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




B ALLEN, JEFFREY                        B AVILA, NESTOR                       B CLUB W
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




B EDISON, ELI                           B FAUSTINO, ALEXANDER                 B GRILL & STEAKHOUSE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




B PATISSERIE                            B ROSARIO, CLAUDIA                    B SPOT
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




B STUART, DONALD                        B TWO DIRECT, LLC                     B WILKINS, KENDAL
ADDRESS AVAILABLE UPON REQUEST          6375 MERCURY DRIVE, SUITE 102         ADDRESS AVAILABLE UPON REQUEST
                                        MECHANICSBURG, PA 17050




B YOUNG, MYLA                           B&H PHOTO & ELECTRONICS CORP          B, AMANDA
ADDRESS AVAILABLE UPON REQUEST          420 NINTH AVE                         ADDRESS AVAILABLE UPON REQUEST
                                        NEW YORK, NY 10001-2404
B, ANNE                Case 22-11238-LSS
                                     B, C  Doc 2 Filed 11/30/22          Page B,223 of 5495
                                                                                 CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




B, DORATHY                              B, H                                  B, HANNAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




B, JOHN                                 B, LINA & ADAM                        B, MAGGIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




B, MARY                                 B, MEGHAN                             B, MIKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




B, NICOLE                               B, PEGGY                              B, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




B, TRE                                  B, VICKIE                             B. SCOTT MEDIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        424 S. BROADWAY UNIT 601
                                                                              LOS ANGELES, CA 90013




BA BAR RESTAURANT                       BA MINH HA                            BAACK, TRACY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAADE, NICOLE                           BAADE, STEVEN                         BAAH, SANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAARCK, NICOLE                          BAAS, ELLIE                           BAAS, STEPHEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAATH, CECILIA                          BAATZ, ALICIA                         BABADJANIAN, IVETTA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BABAKHANIAN, MEGHEDI   Case 22-11238-LSS   Doc
                                     BABAWALE    2 Filed 11/30/22
                                              BANKOLE                 Page BABAYAN,
                                                                            224 of 5495
                                                                                    SOFI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABB, AIMEE                          BABB, MICHAEL                         BABB, SISSEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABBITT, JOHN                        BABBS, MELISSA                        BABCHINETSKAYA, IZABELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABCOCK ENTERPRISE, INC              BABCOCK ENTERPRISE, INC               BABCOCK, ABIGAIL
5175 HIGHWAY 246                     P.O. BOX 637                          ADDRESS AVAILABLE UPON REQUEST
LOMPOC, CA 93436                     LOMPOC, CA 93438-0637




BABCOCK, AUTUMN                      BABCOCK, BOB                          BABCOCK, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABCOCK, GINA                        BABCOCK, LIVIA                        BABCOCK, MR. & MRS. PARKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABCOCK, RAQUEL                      BABCOCK, THEADORA                     BABE, ELEANOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABE, SARAH                          BABENZIEN, RYAN                       BABER, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABER, CAROL                         BABER, ELIZABETH                      BABER, KENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABER, TIM                           BABIAK, KATELYN                       BABIC, ARIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BABIC, LILI            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BABICH, FRANK                       Page BABICZ,
                                                                               225 ofRUTH
                                                                                      5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BABIGIAN, ROXANNE                       BABIN, AMANDA                         BABIN, CLAIRE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABIN, MICHAEL                          BABINAT, ASHLEY                       BABINE, JUANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABINGTON, NICOLE                       BABINO, ANGELICA                      BABIONE, ANDREW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABIRAD, PATRICIA                       BABISH, APRIL                         BABISS, PAULA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABON, JANE                             BABROWICZ, JANE                       BABSKI, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABST, MARY                             BABU, SRIYA                           BABUSIAK, KATHRYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABY BLUES BBQ                          BABYAR, AMANDA                        BABYAR, JENNY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BABYBITES                               BABYBITES                             BACA APRIL
28 OSHEA LANE                           6 BEEKMAN ROAD                        ADDRESS AVAILABLE UPON REQUEST
SUMMIT, NJ 07901                        SUMMIT, NJ 07901




BACA, DESI                              BACA, EVELYN                          BACA, JAYLEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BACA, JAYLEN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BACA, JULIANA                    Page BACA,
                                                                            226 of 5495
                                                                                 NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACA, PATRICIA                       BACA, ROBERT                          BACA, SEFERINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACA, SHANTEL                        BACA, THOMAS                          BACA, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACARELLA, LOIS                      BACCAM, DIANA                         BACCARELLA, ALYSSA
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BACCARI, GINA                        BACCE, AGUSTINA                       BACCEI, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACCELLIERI, LINDSEY                 BACCHAS, WAHID                        BACCHIONE, JENNIFIER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACCHUS DISTRIBUTOR                  BACCHUS, MEERA                        BACCHUS, SAFIA
887 GREAT NORTHERN WAY               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VANCOUVER, BC V5T 4T5
CANADA




BACCHUS, SHENYCE                     BACCUS, L                             BACEVA, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACH BRACKET                         BACH, CHELSEA                         BACH, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACH, MEGAN                          BACH, SPENCER                         BACHA, MARYCLARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BACHAND, COLETTE       Case 22-11238-LSS   DocJEREMY
                                     BACHARACH,  2 Filed 11/30/22     Page BACHELIER,
                                                                            227 of 5495
                                                                                      JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACHER, HENRY                        BACHER, NICOLE                        BACHI, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACHICH, CATHERINE                   BACHKOSKY, TARA J                     BACHLANI, AISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACHLER, RITA                        BACHMAN, AMANDA                       BACHMAN, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACHMAN, DANIEL                      BACHMAN, DEANNA                       BACHMAN, JENNA
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BACHMAN, KYLE                        BACHMAN, PAMELA                       BACHMAN, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACHMAN, RYAN                        BACHMAN, STEPHANIE                    BACHMAN, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACHMANN, SHANA                      BACHMEIER, ELIZABETH                  BACHMEIER, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACHMEYER, AMY                       BACH-MOORE, LINDSAY                   BACHORSKI, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACHTEL, LAUREN                      BACIGALUPI, GREG                      BACK BAR USA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2673 WESTERN AVE
                                                                           LAS VEGAS, NV 89109
BACK IN STOCK APP      Case 22-11238-LSS      DocBRANDING,
                                      BACK LABEL     2 Filed
                                                           LLC11/30/22   Page BACK,
                                                                               228 of  5495
                                                                                    IDALIA
ADDRESS UNAVAILABLE AT TIME OF FILING 214 E 2ND ST., 206                      ADDRESS AVAILABLE UPON REQUEST
                                      WHITEFISH, MT 59937




BACK, JESSIE                           BACKER, AUGUSTINE                      BACKER, CASSIE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BACKER, LILY                           BACKER, TARA                           BACKES, CAMERON
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BACKES, ERIKA                          BACKHAUS, JANA                         BACKIEL, JOHN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BACKMAN, JENNIFER                      BACKUS, WALTER                         BACLICH, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BACOLINI, ANGELICA                     BACON, ALICE                           BACON, BRANDY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BACON, CASEY                           BACON, CHRISTOPHER                     BACON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BACON, HENRY                           BACON, JACLYN                          BACON, JENNIFER
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BACON, JOHN                            BACON, MARIA                           BACON, MELISSA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BACON, RACHEL                          BACON, RILEY                           BACON-BLABER, PATRICK
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
BACOT, KIAHNA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BACOT, LISA                      Page BACOTE,
                                                                            229 of SAMUEL
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BACSALMASI, HANNAH                   BACTAT, ALEXANDER                     BADAGLIACCA, JEFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BADALAMENTE, JILL                    BADAMO, ANDREW                        BADAMO, ANTONINO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BADANO, TONY                         BADDERS, FAITH                        BADDOO, WINNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BADE, GRACE                          BADEA, NICOLETA                       BADEAU, BILLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BADEN, ELISE                         BADEN, JESSICA                        BADER, ALANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BADER, ANGELICA                      BADER, DIANA                          BADER, FARAJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BADER, ROBERT                        BADER, STEPHANIE                      BADER, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BADER, TIM                           BADER-FLERES, TAMARAH                 BADGER, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BADGER, AUBREY                       BADGER, CARRIE                        BADGER, HALLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BADGER, MOLLY          Case 22-11238-LSS
                                     BADGER,Doc  2 Filed 11/30/22
                                            NATALIA                   Page BADGER,
                                                                            230 of TOBI
                                                                                   5495
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BADGETT, ZEBADIAH                    BADGEWICK, BONNIE                     BADGI, SHIVANI
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BADHWAR, BRENT                       BADICS, SHAY                          BADILLO RODRIGUEZ, LUIS MIGUEL
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BADILLO, ALEJANDRO                   BADILLO, MARY ANNE                    BADIN, THERY
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BADINELLI, KEITH                     BADLANI, SUNIL                        BADO, JOHN
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BADO, VICTORIA                       BADOLATO, AMBER                       BADOVINAC, PAMELA
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BADOY, BEVERLY                       BADR, MONA                            BADROS, GINNY
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BADUA-KONO, TAYLOR                   BADY, THOMAS                          BADZO, BARBIE
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BAE, AMY                             BAE, JUNGHYUN                         BAE, ZOE
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BAEHR, EMILY                         BAEHR, SARAH                          BAEHRE, SHEILA
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BAEK, JIEUN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAENA, CESAR                     Page BAER,
                                                                            231 of 5495
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BAER, BECCA                          BAER, CAITLIN                         BAER, DAVID
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BAER, DEBRA                          BAER, HAYDEN                          BAER, ISABEL
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BAER, JESSICA                        BAER, KATY                            BAER, KEVIN
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BAER, LYDIA                          BAER, MARLEY                          BAER, NICK
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BAER, RACHEL                         BAER, SARAH                           BAER, SARAH
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BAER, STEVEN                         BAER, SYDNEY                          BAERG, BILL
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BAERG, LORI                          BAERGA, HASSE                         BAERLOCHER, PATRICIA
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BAERREN, SARA                        BAER-SINNOTT, SARA                    BAERWALDE, REGINA
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BAESMAN GROUP, INC                   BAEZ RIZZI, ROSAIDA                   BAEZ, ANGELA
4477 REYNOLDS DRIVE                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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BAEZ, ANTONIO          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAEZ, CARLOS                     Page BAEZ,
                                                                            232 CASSANDRA
                                                                                 of 5495
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BAEZ, CRISTIAN                       BAEZ, JASHIRA                         BAEZ, JULIE
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BAEZ, MARITZA                        BAEZ, ROSSLYN                         BAEZA, CHRYSTAL
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BAEZA, JENNIFER                      BAFARAT, BASHAIR                      BAFFA, BRETT
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BAFFI, MARIAHE                       BAFFIELD, LADONNA                     BAFTALOVSKA, ANGELINA
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BAGAMAN, SARAH                       BAGARUS, KEITH                        BAGBY, AMANDA
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BAGBY, BRIANA                        BAGCI, GULDEN                         BAGDASAR, NICCOLE
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BAGDASARIAN, EMMANUELLE              BAGE, JULIA                           BAGEL NOSH
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BAGER, ELIZABETH                     BAGGARLY, JEFFREY                     BAGGE, ELENA
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BAGGETT, CIARA                       BAGGETT, LAURA                        BAGGETT, LYNN
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                                     BAGGETT,     2 Filed 11/30/22
                                              VINCENT                    Page BAGGOTT,
                                                                               233 of 5495
                                                                                       ALEX
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BAGGOTT-ROWE, ALEXANDER                 BAGGS, BRIAN                          BAGHAIPOUR, YASAMIN
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BAGHERI, LAURA                          BAGHERI, TANYA                        BAGLE, MONIKA
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BAGLEY, ANN                             BAGLEY, HARLEY                        BAGLEY, JIM
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BAGLEY, JUSTIN                          BAGLEY, KATELYN                       BAGLEY, LISA
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BAGLEY, MEGHAN                          BAGLEY, TERESA                        BAGLEY, TERESA
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BAGLEY, WHITLEY                         BAGLINI, KAREN                        BAGLIO, AMBER
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BAGNAL, MENEFEE                         BAGNASCO, PHIL                        BAGNATO, MELISSA
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BAGNERIS, BOBBIE                        BAGNI, KERRIE                         BAGRIN, MARIANA
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BAGS & BOWS                             BAGS, BRIANNA                         BAGSBY, BRITTNI
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                                     BAGULEY,    2 Filed 11/30/22
                                              NATALIE                 Page BAGWELL,
                                                                            234 of 5495
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BAGWELL, DAVID                       BAGWELL, ELIZABETH                    BAGWELL, HOLLY
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BAH, BETTY                           BAHADOSINGH, PATRICIA                 BAHADUR, HIMANSHU
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BAHADUR, NINA                        BAHADUR, PRANAV                       BAHAREH ZOORANI
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BAHAS, ALEXIS                        BAHE, KELSIE                          BAHENA, ASHLEY
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BAHL, CHRIS                          BAHL, THERESA                         BAHL, TRUPTI
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BAHMAN, ALEX                         BAHMANI, JULIE                        BAHN, ANNETTE
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BAHNERT, ANDREW                      BAHNO, JAN                            BAHNS, NICKOLAS
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BAHNSEN, CORY                        BAHNSEN, RYAN                         BAHOUI, JUDD
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BAHR, KATHERINE                      BAHR, LILLIAN                         BAHR, PATTY
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                                                                             235 of   5495
                                                                                   LINA
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BAHRNS, JANA                         BAHTI, BENJAMIN                        BAHTIARIAN, CHRISTINE
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BAIDWAN, SANDEEP                     BAIER, ELISA                           BAIER, TIM
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BAIERL, EMILY                        BAIG, MIRZA                            BAIG, SARA
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BAIKIE, KIA                          BAILENSON, ALEX                        BAILES, CHRISTI
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BAILES, ELANA                        BAILEY GARRISON                        BAILEY MOBLEY
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BAILEY WILFONG                       BAILEY                                 BAILEY, ALICIA
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BAILEY, ALLIE                        BAILEY, ALYSHIA                        BAILEY, AMANDA
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BAILEY, AMANDA                       BAILEY, AMY                            BAILEY, AMY
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BAILEY, ANDREW                       BAILEY, AUDRA                          BAILEY, BRENDAN
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BAILEY, BRIDGETTE      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     BAILEY, BROOKE                   Page BAILEY,
                                                                            236 ofBRUCE
                                                                                   5495
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BAILEY, C HOLT                       BAILEY, CANDACE                       BAILEY, CAROL
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BAILEY, CAROLINE                     BAILEY, CASSANDRA                     BAILEY, CASSANDRA
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BAILEY, CATHERINE                    BAILEY, CATHERINE                     BAILEY, CHATUAN
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BAILEY, CHRISTINA                    BAILEY, CHRISTINA                     BAILEY, CHRISTINA
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BAILEY, CHRISTINE                    BAILEY, CINDY                         BAILEY, CODY
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BAILEY, COLLINS                      BAILEY, CONNIE                        BAILEY, DAN
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BAILEY, DARBY                        BAILEY, DAVID                         BAILEY, DEANA
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BAILEY, DENISE                       BAILEY, DENNIS                        BAILEY, DEVAN
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BAILEY, DIANA                        BAILEY, DYLAN                         BAILEY, ELIZABETH
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                                                                            237 ofEMILY
                                                                                   5495
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BAILEY, EMILY                        BAILEY, EMILY                         BAILEY, ERIN
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BAILEY, EVELIN                       BAILEY, GABBY                         BAILEY, GEANNE
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BAILEY, GINA                         BAILEY, GOLDIE                        BAILEY, GRACE
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BAILEY, GRAHAM                       BAILEY, HEATHER                       BAILEY, JACKIE
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BAILEY, JACOB                        BAILEY, JANESSA                       BAILEY, JENA
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BAILEY, JENNIFER                     BAILEY, JENNIFER                      BAILEY, JESSICA
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BAILEY, JESSICA                      BAILEY, JESSICA                       BAILEY, JOEL
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BAILEY, JOHN                         BAILEY, JORDAN                        BAILEY, KAILEY
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BAILEY, KATHLEEN                     BAILEY, KATIE                         BAILEY, KELLY
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BAILEY, KERRY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     BAILEY, KEVIN                    Page BAILEY,
                                                                            238 ofKINDRA
                                                                                    5495
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BAILEY, LARA                         BAILEY, LARHESA                       BAILEY, LAUREN
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BAILEY, LAURIE                       BAILEY, LINDSEY                       BAILEY, LINDSEY
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BAILEY, LISA                         BAILEY, MARGE                         BAILEY, MARIAH
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BAILEY, MARK                         BAILEY, MATTHEW                       BAILEY, MEGAN
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BAILEY, MEGHAN                       BAILEY, MELISSA                       BAILEY, MICHAEL
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BAILEY, MICHAEL                      BAILEY, MIRANDA                       BAILEY, MOLLY
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BAILEY, MORGAN                       BAILEY, NIKKI                         BAILEY, NORA
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BAILEY, NOREEN                       BAILEY, PEYTON                        BAILEY, REBECCA
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BAILEY, REBECCA                      BAILEY, RENAIE                        BAILEY, RONALD
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BAILEY, SADIE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     BAILEY, SAMANTHA                 Page BAILEY,
                                                                            239 ofSAMANTHA
                                                                                   5495
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BAILEY, SAMANTHA                     BAILEY, SAMUEL                        BAILEY, SANDRA
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BAILEY, SARA                         BAILEY, SARAH                         BAILEY, SARAH
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BAILEY, SARAH                        BAILEY, SHANIA                        BAILEY, SHARI
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BAILEY, SHERYL                       BAILEY, STACY                         BAILEY, STEVEN
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BAILEY, STEVIE                       BAILEY, SUZANNE                       BAILEY, TARA
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BAILEY, TERESA                       BAILEY, TERRI                         BAILEY, TIFFANIE
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BAILEY, TOM                          BAILEY, WANDA                         BAILEY, ZACHARY
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BAILEY-DURAN, BRITTANY               BAILEY-EL, KENNETH                    BAILEY-PULLER, SHANNON
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BAILIE, COLETTE                      BAILIN MD, JOSHUA                     BAILLIE, GILLIAN
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BAILLIE, RACHEL        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     BAILLIE, VICTORIA                Page BAILO,
                                                                            240 of  5495
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BAILYS, KARA                         BAIN, ANDREA                          BAIN, ANITA
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BAIN, CALEIGH                        BAIN, CORIE                           BAIN, EMILY
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BAIN, KRISTIN                        BAINES, ANDREANNA                     BAINES, BRIGIT
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BAINS, RAVNEET                       BAINTER, JEFF                         BAINTON, JAMIE
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BAINUM, BLAKE                        BAINUM, BROOKE                        BAIOCCO, ROBERT
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BAIPING GUO                          BAIR, BRENNAN                         BAIR, LAUREN
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BAIR, TAWNIE                         BAIR, THOMAS                          BAIRD, ABBY
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BAIRD, AMANDA                        BAIRD, ANNIE                          BAIRD, BRETT
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BAIRD, BRITTNEY                      BAIRD, CHELSI                         BAIRD, CHRISTINA
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                                     BAIRD, EMILY                     Page BAIRD,
                                                                            241 of  5495
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BAIRD, JUSTIN                        BAIRD, KALI                           BAIRD, KATIE
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BAIRD, LOGAN                         BAIRD, STEVEN                         BAIRD, TAYLOR
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BAIRD, TORI                          BAIRD, VALERIE                        BAIRES, LAURIE
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BAIRHALTER, JULIE                    BAISLY, ERIN                          BAITCHER, MARTHA
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BAITER, MARGE                        BAITH, TAYLOR                         BAITINGER, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAIZ, BROOKLYNN                      BAJA EAST LLC                         BAJAJ, NIKESH
ADDRESS AVAILABLE UPON REQUEST       535 W 23RD STREET APT S3F             ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10011




BAJAKIAN, THALIA                     BAJCSEV, BEATRIX                      BAJKOWSKI, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAJOREK, KIMBERLY                    BAJORIA, MADHAVIKA                    BAJPAYEE, ABHISHEK
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BAJRAKTARI, EVA                      BAJRAMI, MIRA                         BAJWA, MAHEEN
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BAJZATH, DANIELLE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAK, JESSE                       Page BAK,
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                                                                                of 5495
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BAK, PAULINA                         BAKA, LEIGH                           BAKALARSKI, ASHLEY
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BAKALBASIC, MELANIE                  BAKALOVA, SOFIYA                      BAKAR, ASIF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAKARI, MARRIAM                      BAKAS, NIKKI                          BAKER & HOSTETLER LLP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1375 E. 9TH STREET, SUITE 2100
                                                                           CLEVELAND, OH 44114-1794




BAKER TILLY US, LLP                  BAKER, ALEC                           BAKER, ALEXANDRA
PO BOX 7398                          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MADISON, WI 53707-7398




BAKER, ALEXIS                        BAKER, ALICIA                         BAKER, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAKER, AMONI                         BAKER, AMY                            BAKER, AMYSUE
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BAKER, ANDREA                        BAKER, ANDREW                         BAKER, ANDREW
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BAKER, ANGELA                        BAKER, ANGIE                          BAKER, ANNA
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BAKER, APRIL                         BAKER, ASHLEY                         BAKER, ASHLEY
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BAKER, BARBARA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAKER, BART                      Page BAKER,
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BAKER, BOBBI                         BAKER, BRAD                           BAKER, BRANDON
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BAKER, BRANDY                        BAKER, BRIANA                         BAKER, BRITNEY
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BAKER, BRITTANY                      BAKER, BRITTANY                       BAKER, BROOK
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BAKER, BROOKE                        BAKER, BROOKE                         BAKER, BRUCE
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BAKER, CARMEN                        BAKER, CAROL                          BAKER, CAROLINE
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BAKER, CAROLYN                       BAKER, CATHARINA                      BAKER, CHANDLER
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BAKER, CHARLES                       BAKER, CHARLES                        BAKER, CHERYL
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BAKER, CHRISTA                       BAKER, CHRISTINE                      BAKER, CLARISSA
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BAKER, COLLEEN                       BAKER, CRAIG                          BAKER, CYNTHIA
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BAKER, DALLAS          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAKER, DAVID                     Page BAKER,
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BAKER, DEBBIE                        BAKER, DIANA                          BAKER, DIANE
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BAKER, DINA                          BAKER, DODIE                          BAKER, ELISE
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BAKER, ELLIE                         BAKER, ELSA                           BAKER, ERIC
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BAKER, ERIN                          BAKER, ERIN                           BAKER, ERRIKA
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BAKER, GAIL                          BAKER, GARRETT                        BAKER, GARY
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BAKER, GRACE                         BAKER, GREGG                          BAKER, HANNAH
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BAKER, HEATHER                       BAKER, HEATHER                        BAKER, HEATHER
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BAKER, HEIDI                         BAKER, HILLARY                        BAKER, HOLLY
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BAKER, JAKE                          BAKER, JAMES                          BAKER, JAMIE
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BAKER, JAMIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAKER, JANA                      Page BAKER,
                                                                            245 ofJANAE
                                                                                    5495
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BAKER, JARROD                        BAKER, JAYME                          BAKER, JEANETTE
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BAKER, JEN                           BAKER, JENNIFER                       BAKER, JENNIFER
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BAKER, JENNIFER                      BAKER, JERRY                          BAKER, JESSICA
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BAKER, JESSICA                       BAKER, JESSICA                        BAKER, JILL
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BAKER, JORDAN                        BAKER, JORDAN                         BAKER, JOSHUA
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BAKER, JOSHUA                        BAKER, JOYCE                          BAKER, JULIANNE
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BAKER, JULIE                         BAKER, JULIE                          BAKER, JULIEA
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BAKER, JUNO                          BAKER, KANDYCE                        BAKER, KAREN
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BAKER, KAREN                         BAKER, KAREN                          BAKER, KAREN
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BAKER, KAREN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAKER, KATE                      Page BAKER,
                                                                            246 ofKATELYN
                                                                                   5495
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BAKER, KATELYN                       BAKER, KATHERINE                      BAKER, KATHERINE
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BAKER, KATHERINE                     BAKER, KATHERINE                      BAKER, KATHLYN
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BAKER, KATHRYN                       BAKER, KATHRYN                        BAKER, KATIE
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BAKER, KATIE                         BAKER, KELLY ROSE                     BAKER, KELLY
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BAKER, KELLY                         BAKER, KELSEY                         BAKER, KENDALL
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BAKER, KENNEDY                       BAKER, KEVIN                          BAKER, KIMBERLY
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BAKER, KIMBERLY                      BAKER, KRIS                           BAKER, KRISTEN
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BAKER, KYLA                          BAKER, KYLE                           BAKER, LAUREN
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BAKER, LAURIE                        BAKER, LAURYN                         BAKER, LEAH
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BAKER, LEE             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAKER, LINDSAY                   Page BAKER,
                                                                            247 ofLISA
                                                                                    5495
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BAKER, LISA                          BAKER, LM                             BAKER, LYSANDRA
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BAKER, MADISON                       BAKER, MALLORY                        BAKER, MANDY
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BAKER, MARGARET                      BAKER, MARION                         BAKER, MARTIN
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BAKER, MARY                          BAKER, MARY                           BAKER, MATT
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BAKER, MATTHEW                       BAKER, MAUREEN                        BAKER, MAX
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BAKER, MCKENZIE                      BAKER, MEAGAN                         BAKER, MEGAN
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BAKER, MEGAN                         BAKER, MEGHAN                         BAKER, MEGHAN
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BAKER, MELISSA                       BAKER, MICHAEL                        BAKER, MICHAEL
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BAKER, MICHELLE                      BAKER, MICHELLE                       BAKER, MIKE
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BAKER, MILLIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAKER, MITCHELLE                 Page BAKER,
                                                                            248 ofMOLLY
                                                                                   5495
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BAKER, MOLLY                         BAKER, MONICA                         BAKER, MORGAN
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BAKER, MORGAN                        BAKER, MORGAN                         BAKER, NANCY
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BAKER, NATALIE                       BAKER, NICHOLE                        BAKER, OLGA
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BAKER, PAMELA                        BAKER, PAMELA                         BAKER, PARKER
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BAKER, PAUL                          BAKER, PETER                          BAKER, RACHAEL
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BAKER, RACHEL                        BAKER, RACHEL                         BAKER, RACHEL
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BAKER, REBECCA                       BAKER, RHODES                         BAKER, RICK
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BAKER, ROBERT                        BAKER, ROBERT                         BAKER, ROBIN
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BAKER, ROY                           BAKER, SAMANTHA                       BAKER, SARA
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BAKER, SARAH           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAKER, SARAH                     Page BAKER,
                                                                            249 ofSARAH
                                                                                   5495
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BAKER, SHAMOY                        BAKER, SHANNON                        BAKER, SHARON
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BAKER, SHEILA                        BAKER, STEPHANIE                      BAKER, STEPHANIE
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BAKER, STEVEN                        BAKER, SYDNEY                         BAKER, SYDNEY
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BAKER, SYDNEY                        BAKER, TAMARA                         BAKER, TAMI
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BAKER, TIFFANI                       BAKER, TIMOTHY                        BAKER, TRACEY
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BAKER, WATSON                        BAKER, WHITNEY                        BAKER, WILLIAM
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BAKER, YVONNE                        BAKER-DURANTE, NOA                    BAKERIS, TOM
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BAKER-WILLIAMS, TYLER                BAKEWELL, MELISSA                     BAKEY JR, JIM
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BAKHSH, ANGELICA                     BAKHSHI, K                            BAKHTIARI, MARIAM
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BAKIRIDDIN, ALIYA      Case 22-11238-LSS
                                     BAKKAR, Doc 2 Filed 11/30/22
                                             FARAH                    Page BAKKE,
                                                                            250 ofANITA
                                                                                   5495
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BAKKE, ERIK                          BAKKE, TESSA                          BAKKEN, AUDREY
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BAKKEN, CHRISTINA                    BAKKEN, JILL                          BAKKEN, KAREN
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BAKKEN, NICK                         BAKKER, ERIN                          BAKKESTUEN, SAMANTHA
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BAKLEY, BONNIE                       BAKLEY, RICHARD                       BAKO, KIMBERLEY
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BAKOLIAS, CHRISTOS                   BAKOS, EDWARD                         BAKOWSKI, ALEXA
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BAKOWSKI, KIERSTEN                   BAKSA, TOMISLAV                       BAKSHI, SUKHMANI
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BAKULA, KERRY                        BAKULSKI, ANDREW                      BAKUN, TRACEY M.
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BAL, NAV                             BALA VENKATAPATHY                     BALA, BRIDGITTE
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BALA, CASSIE                         BALA, ROMEISH                         BALA, SHEKAR
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BALACH, LAURA          Case 22-11238-LSS    Doc 2 UMA
                                     BALACHANDRAN,   Filed 11/30/22   Page BALACUIT,
                                                                            251 of 5495
                                                                                     DONALD
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BALADEZ, FREDDI                      BALAEBAIL, RAJAINDRA                  BALAGNA, JILL
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BALAK, STEPHANIE                     BALAKRISHNAN, AMRITHA                 BALAKRISHNAN, SUBBU
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BALAKRISHNAN, SWATHI                 BALANAY, ASHLEY                       BALANOFF, ROBERT
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BALAREZO, CHRISTINA                  BALASA, JASON                         BALASSA, DANA
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BALAYAN, JULIA                       BALAZS, CARLEY                        BALAZS, RICHARD
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BALBIRNIE, TANYA                     BALBONI, LUCAS                        BALBUENA-NEDROW, COLETTE
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BALCAZAR, NATALY                     BALCAZAR, PRISCILA                    BALCERAK, JOHN
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BALCH, EMILY                         BALCH, SARAH                          BALCITA, ANGELA
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BALCKE, MARC                         BALCOM, LINDSAY                       BALCOM, ROBYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BALCORTA, SYLVIA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BALD, BARBARA                    Page BALD,
                                                                            252 BRITTANY
                                                                                 of 5495
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BALD, WILLIAM                        BALDA, LISSA                          BALDARI, ALEXIS
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BALDASSANO, ASHLEY                   BALDASSARI, BRANDON                   BALDASSI, STEFANO
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BALDASSI, STEPHANIE                  BALDASSO, ABEL                        BALDAUF, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALDAUF, MICHAEL                     BALDE, ROSENIE                        BALDER, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALDERA, ALEXANDER                   BALDERAS, JENNIFER                    BALDERRAMA, GREG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALDES, LORRA                        BALDI, JENNIFER                       BALDIE, AMBER
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BALDINGER, CHRISTY                   BALDINI, JEN                          BALDINO, ANTHONY
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BALDINO, ELIAS                       BALDINO, KATE                         BALDINO, MARK
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BALDOCK, REBECCA                     BALDOMERO, JUSSARA                    BALDONADO, KEITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BALDONI, STEPHEN       Case 22-11238-LSS
                                     BALDOR, Doc 2 Filed 11/30/22
                                             DANNY                    Page BALDRICA,
                                                                            253 of 5495
                                                                                     MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALDRICHE, JITZA                     BALDRIDGE, ELIZABETH                  BALDRIDGE, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALDRIDGE, SANDRA                    BALDUCCI, LAURENE                     BALDWIN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALDWIN, ASHLEY                      BALDWIN, AUTUMN                       BALDWIN, BAILLEE
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BALDWIN, BROCK                       BALDWIN, CALEB                        BALDWIN, CANDICE
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BALDWIN, CHARLENE                    BALDWIN, DENISE                       BALDWIN, EILEEN
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BALDWIN, GEORGIA                     BALDWIN, GRACE                        BALDWIN, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALDWIN, JESSICA                     BALDWIN, JULIA                        BALDWIN, KALA
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BALDWIN, KATE                        BALDWIN, KATI                         BALDWIN, LINDA
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BALDWIN, LINDSEY                     BALDWIN, MALIKA                       BALDWIN, MARTINA
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BALDWIN, MARTY         Case 22-11238-LSS
                                     BALDWIN,Doc  2 Filed 11/30/22
                                              NATAVIA                 Page BALDWIN,
                                                                            254 of 5495
                                                                                    REBECCA
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BALDWIN, RIAN                        BALDWIN, RILEY                        BALDWIN, SARAH
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BALDWIN, STACY                       BALDWIN, TAFT                         BALDWIN, TODD
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BALDWIN, VERONICA                    BALDWIN-GORDON, LAUREN                BALDY, COURTNEY
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BALDZICKI, OLIVIA                    BALE, CHRIS                           BALENSIEFEN, BRANDI
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BALENT, RACHAEL                      BALENTINE, LAUREN                     BALES, ABIGAIL
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BALES, ASHLEY                        BALES, INA                            BALES, MELISSA
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BALES, STEPHEN                       BALESKI, LAUREN                       BALESTERI, DANIEL
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BALESTINO, JEANNIE                   BALESTRA, DANIELLE                    BALESTRERI, BRITNEY
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BALEY, SUSAN                         BALGEMAN, JULIE                       BALHARA, ASEEM
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BALICH, CYNTHIA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     BALICKI, ASHLEE                   Page BALICKI,
                                                                             255 ofSCOTT
                                                                                     5495
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BALILI, DENISE                       BALINGIT, RACHEL                       BALINO, ALEXANDRA
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BALINT, ANDREW                       BALIS, CRISTAL                         BALISI, THELMA
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BALISTRERI, SARAH                    BALK, ELLEN                            BALKAM, DANNY
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BALKAM, SARAH                        BALKAN, LAUREN                         BALKARAN, LETICIA
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BALKCOM, CEARIE                      BALKCOM, DANNY                         BALKCOM, FLORENCE
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BALKE, ELLA                          BALKIN, HALLIE                         BALKO, ELIZA
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BALKO, MEGAN                         BALL METAL BEVERAGE CONTAINER CORP.    BALL, ANNA
ADDRESS AVAILABLE UPON REQUEST       11080 CIRCLEPOINT ROAD                 ADDRESS AVAILABLE UPON REQUEST
                                     WESTMINSTER, CO 80020




BALL, AUDREY                         BALL, BROOKE                           BALL, COLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BALL, DANIELLE                       BALL, DELILAH                          BALL, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
BALL, DREXEL B.        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BALL, DYLAN                      Page BALL,
                                                                            256 ELIZABETH
                                                                                 of 5495
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BALL, ELIZABETH                      BALL, EMILY                           BALL, EMILY
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BALL, JAMES                          BALL, JEFFREY                         BALL, JENNIFER
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BALL, JESSICA                        BALL, JESSICA                         BALL, JOANNA
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BALL, JONATHAN                       BALL, JULIA                           BALL, JUSTIN
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BALL, KARI                           BALL, KATELYN                         BALL, KATIE
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BALL, LAURA                          BALL, LAUREN                          BALL, LUCAS
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BALL, MARYJO                         BALL, MICHAELA                        BALL, NATALEE
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BALL, PAIGE                          BALL, RAYMOND                         BALL, SARAH
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BALL, SARAH                          BALL, SHELBY                          BALL, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BALL, ZACHARY          Case 22-11238-LSS    Doc
                                     BALLADON,   2 Filed 11/30/22
                                               ANTHONY                Page BALLAGH,
                                                                            257 of 5495
                                                                                    KATIE
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BALLANCO, ERIN                       BALLANT, GUNNAR                       BALLANTINE, CHENOA
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BALLANTINE, DAVID                    BALLANTYNE, KEETON                    BALLANTYNE, SHANNON
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BALLANTYNE, TUCKER                   BALLARD, ADELAIDE                     BALLARD, ALYSSA
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BALLARD, AMY                         BALLARD, AMY                          BALLARD, ANGELA
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BALLARD, AUTUMN                      BALLARD, BRENT                        BALLARD, CASEY
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BALLARD, CATHERINE                   BALLARD, DAVID                        BALLARD, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLARD, DEBBIE                      BALLARD, DIANA                        BALLARD, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLARD, HEATHER                     BALLARD, JAMIE                        BALLARD, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLARD, JESSICA                     BALLARD, JUDY                         BALLARD, KACI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BALLARD, LARRY         Case 22-11238-LSS
                                     BALLARD,Doc  2 Filed 11/30/22
                                              LAURA                   Page BALLARD,
                                                                            258 of 5495
                                                                                    LEVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLARD, LISA                        BALLARD, NELL                         BALLARD, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLARD, SHARON                      BALLARD, SHELBY                       BALLARD, ZADIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLAS, JENNIFER                     BALLASTINE INTERNATIONAL CORP.        BALLBACH, DAVID
ADDRESS AVAILABLE UPON REQUEST       195 G ARANETA AVENUE 3RD FLOOR        ADDRESS AVAILABLE UPON REQUEST
                                     ILO BUILDING
                                     QUEZON CITY 1113
                                     PHILIPPINES



BALLEGEER, SHANNON                   BALLEK, GARRY                         BALLEM, NAVEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLEN, SARA                         BALLENGER, TYPHANIE                   BALLENGER, ZACHARY
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BALLENTINE, DEVON                    BALLENTINE, KELLY                     BALLENTINE, MINDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLESTER, FRANCESCA                 BALLESTEROS, FERNANDA                 BALLESTEROS, JAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BALLEW, AMANDA                       BALLEW, AUBREY                        BALLEW, BOB
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BALLEW, COREY                        BALLEW, HEATHER                       BALLEW, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BALLEW, MEGAN          Case 22-11238-LSS
                                     BALLEW, Doc 2 Filed 11/30/22
                                             WENDY                       Page BALLHEIMER,
                                                                               259 of 5495KEN
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BALLIET, TARYN                       BALLINGER, CHRIS                         BALLINGER, JACKIE
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BALLINGER, JESSICA                   BALLINGER, MEGAN                         BALLINGER, NATALIE
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BALLISH, RACHAEL                     BALLISTER, MICHELE                       BALLMAIER, ELIZABETH
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BALLMAN, JILL                        BALLMER, LAUREN                          BALLOG, JOHN
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BALLONE, LYNN                        BALLOONFAST                              BALLOU, STEPHANIE
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BALLOU, STEPHANIE                    BALME, GABRIEL                           BALMER, ELISABETH
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BALMER, MATTHEW                      BALMER, NICOLE                           BALMER, SAMANTHA
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BALMER, TINA                         BALMES, CASEY                            BALMES, JESSICA
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BALMORES, GABRIELLE                  BALMUTH, JASON                           BALOCO, ALEJANDRO
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BALOG, ADY             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BALOG, DANIELLE                     Page BALOG,
                                                                               260 ofDUWANA
                                                                                      5495
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BALOGH, MARY RITA                    BALOGH, PATRICIA                         BALOS, SALIENA
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BALOURDOS, MELISSA                   BALOURIS, YANNI                          BALQUE, MARY
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BALSAM, LEAH                         BALSAMO-CARILLI, BREE                    BALSANO, COLLEEN
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BALSER, HEATHER                      BALSER, KATHY                            BALSHAW, CAROLINE
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BALSIDE, BRITTANY                    BALSIMELLI, DR DENISE                    BALSKUS, EMILY
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BALSOM, LEO                          BALSTAD, BRENDA                          BALSTER, JULIANNE
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BALSZ, MICHELE                       BALTAZAR, ADRIANA                        BALTAZAR, CORTNEY
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BALTAZAR, MEGAN                      BALTERA, RUDOLF                          BALTES, ADRIENNE
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BALTES, ALEXANDRA                    BALTHAZAR                                BALTIERRA, JULIO
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BALTIMORE, MEGAN       Case 22-11238-LSS    DocYARA
                                     BALTODANO,  2 Filed 11/30/22        Page BALTOZER,
                                                                               261 of 5495
                                                                                        ASHLEY
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BALTRUSH, HEATHER                       BALTZ, LARRY                          BALUCH, FARHAN
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BALUCH, JENN                            BALZANO, JAMES                        BALZER, NOELLE
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BALZUWEIT, ALLYSON                      BAMANA, KOUMAADA                      BAMBACH, MATTHEW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAMBER, MARY                            BAMBI MCCLURE                         BAMBOO HOLDINGS LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAMBOO HR                               BAMERT, MADISON                       BAMFORD, MICHELLE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAMLET, CARISSA                         BAMMER, SABINE                        BAMONTE, ASHLEY
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BAN YOON                                BAN, STACEY                           BAN, VAN
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BANACH, CATHERINE                       BANACHOSKI, JALEE                     BANACK, ANGELA
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BANAGA, SHANNON                         BANAHENE, DARTEY                      BANAHENE, OSEI A
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BANALA, SOWMYA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BANAS, ADAM                      Page BANAS,
                                                                            262 ofJULIA
                                                                                    5495
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BANAS, ROBIN Y                       BANASZEK, KELLY                       BANAT, MADELYN
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BANC OF CAL                          BANC OF CALIFORNIA                    BANC OF CALIFORNIA, N.A.
3 MACARTHUR PLACE                    3 MACARTHUR PL                        ATTN: MICHAEL BARANOWSKI
SANTA ANA, CA 92707                  SANTA ANA, CA 92707                   3 MACARTHUR PLACE
                                                                           SANTA ANA, CA 92707




BANCEWICZ, JENNA                     BANCEWICZ, KASIA                      BANCHERO, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANCO, SARAH                         BANCROFT, ALYSON                      BANCROFT, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANCROFT, JACKIE                     BAND, CAROL                           BANDA, BRIAN
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BANDA, JACKIE                        BANDA, VIVIANA                        BANDEL, NICOLA
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BANDELA, SPANDANA                    BANDELEAN, BEN                        BANDELOW, KELSEY
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BANDHOLZ, DIANE                      BANDI, LAKSHMI                        BANDIERA-WOETZEL, LISA
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BANDIVAS, JAMAICA                    BANDLEY, DANON                        BANDOH, EDWARD
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BANDOO, MAHLEEYAH      Case 22-11238-LSS
                                     BANDOS,Doc  2 Filed 11/30/22
                                            KRISTEN                   Page BANDREMER,
                                                                            263 of 5495
                                                                                      ZACHARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANDSTRA, AMY                        BANDU, UMA                            BANDURA, RYAN
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BANDURKO, TETIANA                    BANDURRAGA, SANDRA                    BANDY, DEBBIE
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BANDY, JETT                          BANDY, KITTY                          BANDY, MEREDITH
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BANDY, ROSS                          BANDY, SAMANTHA                       BANDY, TRACY
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BANDYOPADHYAY, SHEILA                BANE, BETHANY                         BANE, DEBORAH
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BANE, RACHAEL                        BANEGAS, GLADYS                       BANEGAS, JULIA
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BANEK, KAITLYNN                      BANERJEE, ANWESHA                     BANERJEE, MITALI
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BANERJEE, RAKA                       BANES, DAVID                          BANET, LAUREN
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BANFIELD, FARRIS                     BANG, JON                             BANGAYAN, JUDD
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BANGE, MICHAEL         Case 22-11238-LSS   Doc
                                     BANGERT,    2 Filed 11/30/22
                                              SASHA                   Page BANGHART,
                                                                            264 of 5495
                                                                                     BIANCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANGI, ASHLEY                        BANGLOS, ANJELA                       BANGMA, JACKIE
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BANGO, LORI                          BANGS, DANIELLE                       BANGS, MIKE
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BANGURA, MALALIA                     BANH, ALLISON                         BANHAM, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANIAS, JOYCE                        BANIPAL, RUBY                         BANISTER, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANK OF CALIFORNIA                   BANK OF CALIFORNIA                    BANK OF MANHATTAN
ATTN MIKE BARANOWSKI, VP SPECIAL     ATTN ROBERT SELWAY                    ADDRESS UNAVAILABLE AT TIME OF FILING
SITUATIONS                           3 MACARTHUR PL
3 MACARTHUR PL                       SANTA ANA, CA 92707
SANTA ANA, CA 92707



BANK OF NEW YORK MELLON (0901)       BANK, ALYSSA                          BANKCARD MTOT DISC
ATTN EVENT CREATION                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
ROOM 151-1700
PITTSBURGH, PA 15258




BANKERT, LINDSEY                     BANKHWAL, MEDHA                       BANKMANN, HEIDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKO, MELISSA                       BANKORD, COLLETTE                     BANKS, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS, AMY                           BANKS, BRANDI                         BANKS, CASSIE
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BANKS, DAMION          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BANKS, DANIELLE                  Page BANKS,
                                                                            265 ofFAIRFAX
                                                                                    5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS, FRANKLIN                      BANKS, GINA                           BANKS, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS, JARON                         BANKS, JAYLYNN                        BANKS, JAYLYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS, KAMERON                       BANKS, KAREN                          BANKS, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS, LADRA                         BANKS, LEZLIE                         BANKS, LIANA
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BANKS, MARIA                         BANKS, MEAGAN                         BANKS, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS, PATRICIA                      BANKS, PHILIP                         BANKS, RASHAUNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS, RON                           BANKS, SARAH                          BANKS, TIEHEARRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS, TIMOTHY                       BANKS, WARREN                         BANKS, ZEANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANKS-DIANA, JULIE                   BANKSON, HALEY                        BANKUTI, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BANN, LOUISA           Case 22-11238-LSS
                                     BANNAR,Doc
                                            DEREK2 Filed 11/30/22     Page BANNER,
                                                                            266 of DAVID
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANNER, EMILY                        BANNER, RONDA                         BANNERMAN, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANNETT, BOZENA                      BANNING, ANGELA                       BANNING, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANNING, DONNA                       BANNINGER, CAROLE                     BANNISTER, ANDRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANNISTER, BRENNA                    BANNISTER, BRITTANY                   BANNISTER, CAMERET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANNISTER, LEAH                      BANNISTER, ROBERT                     BANNON, ANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANNON, KEVIN                        BANNON, ROXANNE                       BANOVIC, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANSAL, JAG                          BANSAL, NEHA                          BANSAL, TONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANSBACH, JAMES                      BANSE, NATHAN                         BANSHEE PRESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        BRITT MADDEN 2715 LARIMER ST
                                                                           DENVER, CO 80205




BANSHEE WINES                        BANSIL, NOEL                          BANTA, ANDY
241 CENTER STREET SUITE B            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HEALDSBURG, CA 95448
BANTA, ELIZABETH       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BANTA, RACHEL                    Page BANTA,
                                                                            267 ofREBECCA
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANTER, CORINNE                      BANTI, ANNA                           BANTIEN, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANTON, ANNE                         BANUELOS, ANID                        BANUELOS, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANUELOS, MIREYA                     BANVILLE, COURTNEY                    BANVILLE, JANELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANWART, LEXI                        BANY, DAVE                            BANYARD, BONNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BANYON, DREW                         BAO, LAURA                            BAO, YUNSHUANG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAPAT, AMIT                          BAPAT, SANIKA                         BAPTISTA, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAPTISTA, NICHOLAS                   BAPTISTE, BREEANN                     BAPTISTE, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAPTISTE, TUESDAY                    BAPTISTE, YAHNAY                      BAQUE, NIVEK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAQUEDANO, JENNIFER                  BAQUERO, CAITLAN                      BAQUERO-NICHOL, KIRSTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BAQUET, MOM AND DAD    Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAQUI, MEGAN                           Page BAR
                                                                                  268AS,ofLAUREN
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BAR BOUCHON                             BAR CENTRAAL                             BAR ON FIFTH
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BAR TARTINE                             BAR, BRIAN                               BARABASH, KAITLIN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BARABUSCIO, LINDA                       BARABUSCIO, SAL                          BARACH, JONATHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BARACHINA, KIMBERLY                     BARACIA, DANIELLE                        BARADARAN, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BARADO, ASHLEY                          BARAHONA, ALLISON                        BARAHONA, GISELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BARAHONA, KORINNE                       BARAJAS, ANGELICA                        BARAJAS, DAWNMARIE
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BARAJAS, GABRIELA                       BARAJAS, MINA                            BARAJAS, NICOLAS
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BARAJAS, RODOLFO                        BARAJAS, VALDIVIES                       BARAJAS, VICTOR
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BARAKAT, AMARA                          BARAKAT, SIMONE                          BARAM, LENA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BARAN, ALYSSA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BARAN, AUDREY                    Page BARAN,
                                                                            269 ofCAROLYN
                                                                                   5495
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BARAN, EMILY                         BARAN, MEGAN                          BARAN, RENEE
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BARANCYK, KATHRYN                    BARANET, DANIEL                       BARANKO, KATRINA
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BARANOV, ROBERT                      BARANOWSKI, CARL                      BARANOWSKI, MATTHEW
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BARANOWSKI, STEFANI                  BARANSKE, MARION                      BARANSKI, EMILY
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BARANSKI, LINDSEY                    BARANY, BARBARA                       BARARD, MICHELE
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BARASSO, DEBRA                       BARATA, ANA                           BARATA, BARBARA
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BARATTA, BRIDGET                     BARATTA, JOSEPH                       BARATTA, MICHAEL
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BARATZ, ELI                          BARB, BRENDA                          BARB, BRITTNEY
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BARBA, ALEXANDRIA                    BARBA, ELEANOR                        BARBA, KIMBERLY
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BARBA, MELSNIE         Case 22-11238-LSS    DocLEXIE
                                     BARBACANE,  2 Filed 11/30/22     Page BARBACCIA,
                                                                            270 of 5495
                                                                                      DANIELA
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BARBACHANO, BRYAN                    BARBAGALLO, RHONDA                    BARBALATO, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARBANTI, KENDRA                     BARBARA A MACIEL                      BARBARA ADAMS SUMMERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARBARA ANDERSON, ESQ                BARBARA ANN LEONARD                   BARBARA BATES
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BARBARA EVANS                        BARBARA J TENNISON                    BARBARA KLEIBER
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BARBARA LUTTEMBARCK                  BARBARA MARCUS                        BARBARA VOGLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARBARA, ANDERSON                    BARBARA, FELKER                       BARBARAN, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARBAREE, REBECCA                    BARBARELLO, JENNA                     BARBARESI, ANNA
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BARBARI, CHRIS                       BARBARITE, ROSIE                      BARBAT, RACHEL
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BARBATELLI, CRISTIANA                BARBATO, CARA                         BARBATO, CRYSTAL
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BARBATO, NICK          Case 22-11238-LSS    Doc
                                     BARBATO,     2 Filed 11/30/22
                                              WILLIAM                 Page BARBAZOTE,
                                                                            271 of 5495
                                                                                      ANGELINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARBE, KAMARIE                       BARBEAU, EMILY                        BARBEE, BRANDI
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BARBEE, COURTNEY                     BARBEE, SARAH                         BARBEEE, RICKEY
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BARBELLA, RACHEL                     BARBEN, JAHNA                         BARBER, A
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARBER, ALEXIS                       BARBER, ALLYSA                        BARBER, AMI
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BARBER, ANGIE                        BARBER, BRIAN                         BARBER, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARBER, CATHERINE                    BARBER, CHARLIE                       BARBER, CHELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARBER, CHRISTINE                    BARBER, COREY                         BARBER, DANIELLE
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BARBER, DEBRA                        BARBER, ELEANOR                       BARBER, ELLEN
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BARBER, EMILY                        BARBER, ERIKA                         BARBER, FRANK AND MICHELE
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BARBER, JADE                         BARBER, JAMES                         BARBER, JOSETTE
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BARBER, KASEY                        BARBER, KIM                           BARBER, MATTHEW
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BARBER, MEGAN                        BARBER, MELANIE                       BARBER, MICHELE
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BARBER, NANCY                        BARBER, NATHAN                        BARBER, PAMELA
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BARBER, RACHEL                       BARBER, RACHEL                        BARBER, ROBERT
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BARBER, ROBERT                       BARBER, RYAN                          BARBER, SARAH
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BARBER, TEKESHA                      BARBERA, GAIL                         BARBERA, LISA
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BARBETTA, THERESA                    BARBETTI, CHARLES                     BARBEY, KATRINA
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BARBIAN, LAUREN                      BARBIER, AMANDA                       BARBIER, CLAIRE
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BARBOSA, JACYARA                     BARBOSA, JESSICA                      BARBOSA, LISA
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BARBOSA, SELMO                       BARBOSA, SUSANA                       BARBOUR VENTURES
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                                                                           SAN DIEGO, CA 92037




BARBOUR, ANYSSA                      BARBOUR, CAROLINE                     BARBOUR, JAMIE
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BARBOUR, MARC                        BARBOUR, MARIANNE                     BARBOUR, MARLENE
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BARBOUR, RAQUEL                      BARBOUR, SARAH                        BARBOUR, TONYA
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BARBOZA, ALVARO                      BARBOZA, BRENDA                       BARBOZA, JULIO
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BARBOZA, MARY                        BARCAL, SHAWN                         BARCAN, JESSICA
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BARCELON, JOYCE ANN                  BARCELONA, MELISSA                    BARCELOS, LAURA
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BARCENAS, MIGUEL                     BARCH III, FABIAN                     BARCH, ANNIE
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                                                                               274 of 5495
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BARCLAY, ASHLEY                      BARCLAY, KATE                            BARCLAY, KELSEY
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BARCLAY, KRISTIN                     BARCLAY, LAURA                           BARCLAY, NICK
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BARCLAYS CAPITAL (8455)              BARCLAYS CENTER                          BARCLIFT, ALICIA
ATTN CORPORATE ACTIONS/REORG         ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
745 7TH AV, 3RD FL
NEW YORK, NY 10019




BARCO, BEA                           BARCUS, BRITTANY                         BARD, AMY
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BARD, HOWARD                         BARD, MARY                               BARDALES, MARLENE
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BARDAR, CHRISTA                      BARDARO, ANTHONY                         BARDARO, CHANTEL
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BARDELLI, CLIFF                      BARDEN, MACKENZIE                        BARDEN, RICHARD
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BARDER, AMANDA                       BARDHA, ANISA                            BARDI, LORRAINE
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BARDI, MADELINE                      BARDIN, ERICA                            BARDIS, CONSTANTINE
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                                     BARDON,Doc
                                            CLARA2 Filed 11/30/22     Page BARDONNER,
                                                                            275 of 5495
                                                                                      GENE
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BARDONSKI, ANNIE                     BARDOS, JULIE                         BARDOWELL, LINDA
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BARDSLEY, CATHERINE                  BARDUGONE, THERESA                    BARDWELL, SHANNON
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BARDWELL, VICTORIA                   BARDZEL, KAYLA                        BARE, AMANDA
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BAREFOOT, KAREN                      BAREFOOT, WILL                        BAREISS, MADELINE
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BARELA, DIANNA                       BARELA, ESMERALDA                     BARELLA, BARBRA
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BARENDT, MEGAN                       BARESWILT, JASON                      BARFIELD, CARRINGTON
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BARFIELD, KIMBERLY                   BARFIELD, THERESA                     BARFOOT, KATHLEEN
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BARFORD, THOMAS                      BARFORD, TRACY                        BARGABUS, RUSTIN
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BARGE, ANNE                          BARGE, EMILY                          BARGER, AMBER
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BARGER, KAREN          Case 22-11238-LSS
                                     BARGER,Doc
                                            KASIE2   Filed 11/30/22   Page BARGER,
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                                                                                   5495
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BARGER, LAUREN                       BARGER, LENORE                        BARGMAN, JOSH
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BARGMANN, HANNAH                     BARHAM, EMILY                         BARHAM, JESSICA
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BARHAM, MACON                        BARHITE, KATELYN                      BARHORST, CHRISTOPHER
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BARHORST, CHRISTOPHER                BARHORST, CRAIG                       BARHORST, RACHEL
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BARHORST, SARAH                      BARIA, DIVYANG                        BARICEVICH, ALYSSA
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BARIE, SAMANTHA                      BARIL, MARY                           BARILE, LINDA
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BARILE, MARIA                        BARILL, SHELBY                        BARILLA, BRONWIN
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BARILLA, CASEY                       BARILLAS, ALEJANDRA                   BARILLO, NATHAN
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BARING-GOULD, RACHEL                 BARIONEL BARON GUITEAU                BARISH, WILLIAM
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BARKAN, LAUREN                       BARKEL, MAYAN                         BARKER, ASHLEE
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BARKER, AUNT KAY                     BARKER, BARBIE                        BARKER, BRITTANY
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BARKER, BURT                         BARKER, CHANNING                      BARKER, CHRISTINE
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BARKER, CICELY                       BARKER, CLAIRE                        BARKER, CLARK
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BARKER, DOMINIQUE                    BARKER, HEIDI                         BARKER, ILANA
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BARKER, JAIME                        BARKER, JESSICA                       BARKER, JOANNE
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BARKER, JOHN                         BARKER, JUSTIN                        BARKER, KARY
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BARKER, KATELYN                      BARKER, KATHERINE                     BARKER, KATHIE
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BARKER, KAYLA                        BARKER, KIMBERLY                      BARKER, KRISTINA
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                                                                            278 of LESLEE
                                                                                   5495
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BARKER, MARY                         BARKER, MEREDITH                      BARKER, NANA
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BARKER, SEAN                         BARKER, SYDNEY                        BARKER, TRISHA
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BARKER-MORRISON, NATALIA             BARKHOLZ, SAMANTHA                    BARKIMER, PAT
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BARKLEY, ANNE                        BARKLEY, CRYSTAL                      BARKLEY, CYNTHIA
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BARKLEY, JENETTE                     BARKLEY, KYLE                         BARKLEY, ORIN
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BARKOW, JOSH                         BARKOWSKI, BRIAN                      BARKS, ASHLEY
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BARKS, TARA                          BARKSDALE, BRAD                       BARKSDALE, JOHN
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BARKSDALE, MARY                      BARKSDALE, RACHEL                     BARKWILL, EVE
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BAR-LAVI, GABRIELLA                  BARLET, LAURENE                       BARLETTA, MATT
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BARLEVA, ANASTACIA     Case 22-11238-LSS
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                                              ANASTASIA               Page BARLEVA,
                                                                            279 of 5495
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BARLEY, AMANDA                       BARLEY, ANDREW                        BARLEY, MICAIAH
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BARLEY, RYAN                         BARLOW, CRAIG                         BARLOW, CYNTHIA
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BARLOW, GREG                         BARLOW, LESLIE                        BARLOW, MAGGIE
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BARLOW, MATT                         BARLOW, MATTHEW                       BARLOW, SAMANTHA
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BARLOW, SHANDA                       BARLOW, SHANNON                       BARLOWE, REMI
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BARLOWE, RICK                        BARLOWE, SARA                         BARMADA, CARLIN
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BARMADA, CHRISTINA                   BARMADA, FADY                         BARMADA, RUBY
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BARMADAT, AMRITA                     BARMAN, KAREN                         BARMAN, LAURA
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BARMASH, ALEJANDRA                   BARNA, CORY                           BARNA, JOSS
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BARNA, LAURA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BARNA, MELISSA                   Page BARNABY,
                                                                            280 of 5495
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BARNABY, DONNA                       BARNABY, JESSICA                      BARNABY, MELISSA
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BARNACLE, TRACY                      BARNARD, ALLIE                        BARNARD, AMANDA
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BARNARD, CHRISTIE                    BARNARD, EMILY                        BARNARD, KYLEE
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BARNARD, LAUREN                      BARNARD, LINDSEY                      BARNARD, MEGAN
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BARNARD, RENEE                       BARNAS, REN                           BARNBY, DEREK
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BARNDT, KATHLEEN                     BARNEKOW, KATE                        BARNES C/O TWIST, KELLY
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BARNES, ALEX                         BARNES, ALIA                          BARNES, ALISHA
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BARNES, AMANDA                       BARNES, AMY                           BARNES, ANDREW
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BARNES, ANNA                         BARNES, ANNA                          BARNES, ARIEL
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BARNES, BOB                          BARNES, BRIANNA                       BARNES, BRITTANY
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BARNES, CARA                         BARNES, CAROLINE                      BARNES, CARRIE
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BARNES, CASEY                        BARNES, CHERHON                       BARNES, CHRIS
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BARNES, CHRISTOPHER                  BARNES, CODY                          BARNES, COURTNEY
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BARNES, CYNTHIA                      BARNES, D                             BARNES, DALLAS
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BARNES, DANIEL                       BARNES, DANIELLE                      BARNES, EDWARD
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BARNES, ELIZABETH                    BARNES, ERIKA                         BARNES, ETHAN
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BARNES, EVA                          BARNES, GEORGE                        BARNES, GINA
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BARNES, GINGER                       BARNES, HEATHER                       BARNES, HEATHER
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                                     BARNES, Doc
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                                                                            282 of JAMES
                                                                                   5495
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BARNES, JILLIAN                      BARNES, JOANNE                        BARNES, JOHN
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BARNES, JULIA                        BARNES, JULIA                         BARNES, KAITLYN
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BARNES, KAMARA                       BARNES, KELLI                         BARNES, KIM
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BARNES, KRISTINE                     BARNES, LA-TOYA                       BARNES, LAURA
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BARNES, LISA                         BARNES, LYNN                          BARNES, MACIE
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BARNES, MATT                         BARNES, MCKENZIE                      BARNES, MEGHAN
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BARNES, MELISSA                      BARNES, MERCEDES                      BARNES, MOLLY
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BARNES, NATALIA                      BARNES, NATHAN                        BARNES, PAIGE
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BARNES, PHILIP                       BARNES, RACHEL                        BARNES, REBECCA
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                                     BARNES, Doc 2 Filed 11/30/22
                                             SCOTT                    Page BARNES,
                                                                            283 of SEAN
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BARNES, SHANNON                      BARNES, SHELBY                        BARNES, SHERI
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BARNES, SHIRLEY                      BARNES, SHURIAH                       BARNES, STEF
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BARNES, SUSAN                        BARNES, SUSAN                         BARNES, TEKOYA
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BARNES, TONI                         BARNES, TONYA                         BARNES, TRAVIS
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BARNES, VALERIE                      BARNES, VICTORIA                      BARNES, VICTORIA
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BARNES, VIRGINIA                     BARNES, WENDY                         BARNES, WHITNEY
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BARNETT JR., GARY                    BARNETT, AMANDA                       BARNETT, AMY
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BARNETT, ANDREW                      BARNETT, BEN                          BARNETT, BONNIE
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BARNETT, CHRISTAN                    BARNETT, DON                          BARNETT, EMILY
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BARNETT, GREGORY       Case 22-11238-LSS
                                     BARNETT,Doc  2 Filed 11/30/22
                                              JACKIE                  Page BARNETT,
                                                                            284 of 5495
                                                                                    JEAN
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BARNETT, JENNIFER                    BARNETT, JENNIFER                     BARNETT, JILLIAN
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BARNETT, KATHERINE                   BARNETT, KIM                          BARNETT, LAMONT
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BARNETT, LOGAN                       BARNETT, LORI                         BARNETT, LYNANN
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BARNETT, MARK                        BARNETT, MELANIE                      BARNETT, MICHAEL
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BARNETT, MICHAEL                     BARNETT, MICHELLE                     BARNETT, PAMEL
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BARNETT, QUINN                       BARNETT, SARAH                        BARNETT, SCOTT
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BARNETT, SHANNON                     BARNETT, WILLA                        BARNETTE, ANNETTE
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BARNETTE, ASHLEY                     BARNETTE, GLORIA                      BARNETTE, HAYLEY
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BARNETTE, JACKIE                     BARNETTE, MARISSA                     BARNETTE, MARSHALL
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BARNEY, ALEXA          Case 22-11238-LSS
                                     BARNEY, Doc 2 Filed 11/30/22
                                             ALEXANDRA                Page BARNEY,
                                                                            285 of ANNA
                                                                                   5495
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BARNEY, ELIZABETH                    BARNEY, EMILY                         BARNEY, KAIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARNEY, MAUREEN                      BARNEY, SKYLAR                        BARNEY, STUART
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARNFIELD, KRISTINA                  BARNHART, ADISON                      BARNHART, BRITTANY
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BARNHART, CATHERINE                  BARNHART, DERANA                      BARNHART, ERIKA
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BARNHART, INGE                       BARNHART, KACI                        BARNHART, KATHERINE
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BARNHART, LAUREN                     BARNHART, TAMMIE                      BARNHILL, ALISON
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BARNHILL, BRIANA                     BARNHILL, KATHARINE                   BARNHILL, WILLIAM
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BARNHOUSE, CAITLIN                   BARNISH, ANDREW                       BARNISH, CAMERON
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BARNOON, YAARA                       BARNOSKI, MICHAEL                     BARNUM, CHRISSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BARNUM, MICHELLE       Case 22-11238-LSS   Doc
                                     BARNWELL,    2 Filed 11/30/22
                                               KIARA                  Page BARNWELL,
                                                                            286 of 5495
                                                                                     RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAROCAS, MARLENE                     BAROCH, JESSICA                       BAROCIO, YESENIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAROFF, SAMANTHA                     BARON, ADELE                          BARON, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARON, BLAKE                         BARON, CAROLINE                       BARON, DARCEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARON, DAVID                         BARON, JAKE                           BARON, JENNY
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BARON, KATHERINE                     BARON, MEREDITH                       BARON, ROCHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARON, RUTH                          BARON, SHIRA                          BARON, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARONE IMPORTS & WHOLESALE           BARONE, ALEXIS                        BARONE, ANTHONY
(BARONE DISTRIBUTION)                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PO BOX 19427
RENO, NV 89511




BARONE, CAROLINE                     BARONE, CHELSEA                       BARONE, CHRISTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARONE, CHRISTINA                    BARONE, CLAIRESSE                     BARONE, EMILY & ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BARONE, FRANCES        Case 22-11238-LSS
                                     BARONE,Doc
                                            JAYME2 Filed 11/30/22     Page BARONE,
                                                                            287 of JOSEPH
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARONE, LAURA                        BARONE, RUTHIE                        BARONETSKI, MELINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARONI, KYM                          BARON-ORTEGA, JENNIFER                BAROODY, ALYSSA
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BAROS, GRACE                         BAROSKY, CHRISTINA                    BAROSY, ANTHONY
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BAROUXIS, RENEE                      BARR ENGEL, DAVID                     BARR, ANDREW
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BARR, ANNA                           BARR, BRITTANY                        BARR, BRITTANY
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BARR, CAITLIN                        BARR, DARIN                           BARR, ED
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BARR, HUNTER                         BARR, JULIE                           BARR, KAYLIN
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BARR, KELSEY                         BARR, LAUREN                          BARR, LAUREN
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BARR, LEO                            BARR, LYNN                            BARR, LYNN
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BARR, MAYA             Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BARR, MYCHAL                     Page BARR,
                                                                            288 of 5495
                                                                                 ROBERT
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BARR, RUBECCA                        BARR, SHERYL                          BARR, STEPHANIE
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BARR, SUSY                           BARRA, LANA                           BARRAGAN, AMANDA
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BARRAGAN, ELIZA                      BARRAGAN, EVELYN                      BARRAGAN, JESUS
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BARRAGAN, NICOLE                     BARRAGAN, RAQUEL                      BARRALE, EMILY
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BARRANGER, JAY                       BARRANS, MORGAN                       BARRANT, WINSTON
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BARRANTES, ADRIAN                    BARRANTES, NOHEMI                     BARRAS, SHANNON
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BARRAZA, ANA                         BARRAZA, BELLE                        BARRAZA, EVELYN
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BARRE, BRENDA                        BARREIRO, ARYN                        BARREL ASSOCIATES INTERNATIONAL, LP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2180 OAK KNOLL AVENUE
                                                                           NAPA, CA 94558




BARREN, KIM                          BARRENTINE, DESIREE                   BARRENTINE, PATRICK
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BARRERA, CHRISTIAN     Case 22-11238-LSS   Doc
                                     BARRERA,    2 Filed 11/30/22
                                              EFRAIN                  Page BARRERA,
                                                                            289 of 5495
                                                                                    JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARRERA, JESSYCA                     BARRERA, NATASHA                      BARRERA, NOE
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BARRERA, RAUL                        BARRERA, ROXANA                       BARRERA, STACY
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BARRERA, VICTOR                      BARRERO, FERNANDO                     BARRESI, BRIANA
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BARRESI, EMMA                        BARRESI, JEAN                         BARRESI, LISA
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BARRETO, FERNANDA                    BARRETO, LUIS                         BARRETT JAMES
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BARRETT LAI, ELIZABETH               BARRETT, ALEXA                        BARRETT, ALYSSA
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BARRETT, AUDREY                      BARRETT, BEVERLY                      BARRETT, CHRISTIE
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BARRETT, CHRISTINA                   BARRETT, CORY                         BARRETT, COURTNEY8565
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BARRETT, DENICE                      BARRETT, DIANA                        BARRETT, DONALD
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BARRETT, ELAINA        Case 22-11238-LSS
                                     BARRETT,Doc  2 Filed 11/30/22
                                              ELISA                   Page BARRETT,
                                                                            290 of 5495
                                                                                    ELISABETH
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BARRETT, ERICA                       BARRETT, ERIN                         BARRETT, ERIN
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BARRETT, ESSENCE                     BARRETT, JAMES                        BARRETT, JEFF
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BARRETT, JESSE                       BARRETT, JESSICA                      BARRETT, JESSICA
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BARRETT, JESSICA                     BARRETT, KELLY                        BARRETT, KELLY
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BARRETT, KRISTINA                    BARRETT, MACIE                        BARRETT, MARGARET
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BARRETT, MARK                        BARRETT, MC                           BARRETT, MCKAYLA
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BARRETT, MEGAN                       BARRETT, MEGHAN                       BARRETT, RAYMOND
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BARRETT, SOPHIA                      BARRETT, STEPHENIE                    BARRETT, TAMARA
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BARRETT, THOMAS                      BARRETT, THOMAS                       BARRETT, TYLER
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BARRETT, WHITNEY       Case 22-11238-LSS    Doc
                                     BARRETTA,    2 Filed 11/30/22
                                               TALIA                  Page BARRETTE,
                                                                            291 of 5495
                                                                                     FELICIA
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BARRETTE, JENNIFER                   BARRETT-ZAHN, ELIZABETH               BARRICK, CAROL
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BARRICK, CINDY                       BARRICKLOW, JAMES                     BARRIE KAMEN
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BARRIE, ISATU                        BARRIE, JENNIFER                      BARRIENT, ASHLEY
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BARRIENTOS, EVELYN                   BARRIENTOS, GLORIA                    BARRIENTOS, SANDRA
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BARRIENTOS, SANDRA                   BARRIENTOS, SARA                      BARRIENTOS, YOKO
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BARRIER, KATE                        BARRIER, SANDRA                       BARRIE-SCHWARZ, JOSEPH & MEGAN
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BARRIGA, JESSIE                      BARRIGA, RICHARD                      BARRILE, THOMAS
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BARRINGHAUS, MACKENZIE               BARRINS, COLLEEN                      BARRINS, SEAN
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BARRIO, KELLY                        BARRIOS, ALLYSSA                      BARRIOS, ANTONIO
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BARRIOS, CHRISTIAN     Case 22-11238-LSS
                                     BARRIOS,Doc  2 Filed 11/30/22
                                              NICHOLAS                Page BARRIOS,
                                                                            292 of 5495
                                                                                    SHANTE
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BARRO, MIKEY                         BARROCAS, JOSEPH                      BARROETA, ADRIANA
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BARROETA, VALERIA                    BARRON DVIZAC, SANDRA                 BARRON, ABBY
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BARRON, ALEXA                        BARRON, ALEXANDRA                     BARRON, ALISSA
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BARRON, ASHLEY                       BARRON, BARBARA                       BARRON, CAITLIN
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BARRON, JAMES                        BARRON, JASON                         BARRON, JERRY
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BARRON, JODI                         BARRON, MARIA                         BARRON, RACHEL
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BARRON, RYAN                         BARRON, STEVEN                        BARRON, VALERIE
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BARRONE, BEN                         BARRON-LOPEZ, LAURA                   BARROS, DIANA
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BARROSA, ROSE                        BARROSO, DANIELLE                     BARROSO, ROMAN
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BARROSO, YGDELINA      Case 22-11238-LSS
                                     BARROT,Doc
                                            JOHN 2   Filed 11/30/22   Page BARROW,
                                                                            293 of 5495
                                                                                   ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARROW, ISAAC                        BARROW, JENNIFER                      BARROW, JOHN
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BARROW, KATHY                        BARROW, L                             BARROW, MAIA
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BARROW, RACHAEL                      BARROWS, ANTWON                       BARROWS, AUSTIN
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BARROWS, JACKIE                      BARROWS, JENNIFER                     BARROWS, KAILEY
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BARROWS, NATHAN                      BARROWS, PATRICIA                     BARROWS, THOMAS
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BARROWS, TYRA                        BARRS, JAHI                           BARRUECO, ALBERT
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BARRUS, HELENE                       BARRY E SAMPSON                       BARRY FALTER
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BARRY HOELSCHER                      BARRY MAYLOR                          BARRY RITCHEY
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BARRY RONALD SMITH                   BARRY, AIDAN                          BARRY, ALEXIS
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BARRY, AMANDA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BARRY, BARBARA                   Page BARRY,
                                                                            294 ofBONNIE
                                                                                   5495
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BARRY, BRIDGET                       BARRY, CAITLIN                        BARRY, CASEY
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BARRY, CATHERINE                     BARRY, CATHY                          BARRY, CHRISTINE
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BARRY, COLLEEN                       BARRY, CORRINE                        BARRY, CURTIS
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BARRY, DANIEL                        BARRY, DEBORAH                        BARRY, ERIN
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BARRY, FREDERICK                     BARRY, GALE                           BARRY, GINA
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BARRY, HEATHER                       BARRY, HEIDI                          BARRY, JAMIE
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BARRY, JANET AND DANIEL              BARRY, JEANNE                         BARRY, JENNIFER
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BARRY, JILLIAN                       BARRY, JOAN                           BARRY, JULIANNE
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BARRY, KASSIDY                       BARRY, KATIE                          BARRY, KENDALL
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BARRY, KENYA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BARRY, KEVIN                     Page BARRY,
                                                                            295 ofKIRSTINA
                                                                                    5495
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BARRY, LEAH                          BARRY, LUKE                           BARRY, MAEBH
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BARRY, MARILYN                       BARRY, MEGAN                          BARRY, MICHELLE
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BARRY, REBECCA                       BARRY, RICHARD                        BARRY, SARAH
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BARRY, SEAN                          BARRY, STEVEN                         BARRY, TERRELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARRY, TIMOTHY                       BARSE, JACK                           BARSELLA, RITA
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BARSEMA, KRISTINA                    BARSENAS, JESSICA                     BARSEVER, GALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARSI, JASON                         BARSKY, BRITTANY                      BARSNESS, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARSNESS, KARI                       BARSNESS, LUCY                        BARSNESS, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARSON, CHAD                         BARSUKOVA, DARIA                      BART TEEUWEN
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BART                   Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                      BARTA, DEBBIE                    Page BARTA,
                                                                             296 ofHEIDI
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BARTA, JENN                          BARTAK, CAREY                          BARTASIUS, OLIVIA
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BARTCZAK, DOREEN                     BARTEE, ADRIANE                        BARTEK, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BARTEK, SHANE                        BARTEL, AMY                            BARTEL, CAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BARTEL, HILDA                        BARTEL, JEANNIE                        BARTEL, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BARTEL, KATARINA                     BARTELDES, KARLA                       BARTELL, CATEE
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BARTELL, JENNIFER                    BARTELL, JENNY                         BARTELL, SETH
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BARTELMO, SALLY                      BARTELS, BETH                          BARTELS, CATHY
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BARTELS, FLANNERY JARED              BARTENFELD, SUSAN                      BARTER, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BARTGES, ASHLEIGH                    BARTH, ANTHONY                         BARTH, DANIEL
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BARTH, KELLY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BARTH, LAUREN                    Page BARTH,
                                                                            297 ofMARY
                                                                                   5495
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BARTH, TIMOTHY                       BARTHA, EMILY                         BARTHE, FRANCIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARTHEL, ALEXIS                      BARTHEL, JESSICA                      BARTHEL, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARTHELEMY, LANDY D                  BARTHELME, ROBERT                     BARTHELME, SUSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BARTHLOME, KATELYN                   BARTHLOME, LEYLA                      BARTHOL, HAYLEE
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BARTHOLD, LEANNA                     BARTHOLD, NANCY                       BARTHOLDT, GITTA
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BARTHOLOMEW, ALLEXA                  BARTHOLOMEW, BRAD                     BARTHOLOMEW, KELLIE
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BARTHOLOMEW, KIERANNA                BARTHOLOMEW, KYLE                     BARTHOLOMEW, LINDSAY
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BARTHOLOMEW, LUCIA                   BARTHOLOMEW, MARGARET                 BARTHOLOMEW, MICHAEL
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BARTHOLOMEW, MORGAN                  BARTHOLOMEW, SARAH                    BARTHOLOMEW, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BARTHOLOMEW, VICTORIA Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                    BARTIE, DEREK                    Page BARTIG,
                                                                           298 ofNICOLE
                                                                                  5495
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BARTILOTTI, SHELBY                  BARTKOWSKI, KATHERINE                 BARTL, KENDRA
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BARTLESON, KATELYNN                 BARTLETT, AMANDA                      BARTLETT, BECCAH
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BARTLETT, BRIAN                     BARTLETT, EMILY                       BARTLETT, ERIC
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BARTLETT, JAKE                      BARTLETT, JESSICA                     BARTLETT, KAITLYN
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BARTLETT, KATHRYN                   BARTLETT, KRISTEN                     BARTLETT, LAUREN
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BARTLETT, LAUREN                    BARTLETT, LORI                        BARTLETT, MICHAEL
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BARTLETT, RUBY                      BARTLETT, SAMANTHA                    BARTLETT, SCOTT
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BARTLETT, STEPHANIE                 BARTLETT, SUZANNE                     BARTLETT, TREVON
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BARTLETT, TRISHA                    BARTLEY, BRIDGET                      BARTLEY, JAMIE
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BARTLEY, JAMIE         Case 22-11238-LSS
                                     BARTLEY,Doc 2 Filed 11/30/22
                                              MEGAN                   Page BARTLEY,
                                                                            299 of 5495
                                                                                    SABRINA
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BARTLEY, SLOANE                      BARTLEYS, THE                         BARTLING, ARIEL
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BARTNETT, NANCY                      BARTO, CHRISTINE                      BARTO, RACHEL
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BARTO, SHAWN                         BARTOK, ALLISON                       BARTOK, ZACHARY
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BARTOLETTI, ZITA                     BARTOLI, CATHERINE                    BARTOLINI, KELLI
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BARTOLINI, NICOLE                    BARTOLOME, KATRINA                    BARTOLOMEI, CRISTINA
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BARTOLOMEO, JESSICA                  BARTOLONE, BREANA                     BARTOLOTTA, CHARLES
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BARTOLOZZI, GIA                      BARTON KAYSER                         BARTON, AARON
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BARTON, ADAM                         BARTON, ALEXANDRA                     BARTON, ALYSSA
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BARTON, ANNIE                        BARTON, ANTHONY                       BARTON, BARBARA
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BARTON, BARBARA        Case 22-11238-LSS
                                     BARTON,Doc  2 Filed 11/30/22
                                            BRADLEY                   Page BARTON,
                                                                            300 of CAROLINE
                                                                                   5495
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BARTON, CAROLYN                      BARTON, DAVID                         BARTON, ERIN
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BARTON, EVE                          BARTON, GARY                          BARTON, HOLLIS
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BARTON, IRINA                        BARTON, JAIME                         BARTON, JEFF
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BARTON, JEFFREY                      BARTON, JENAVEE                       BARTON, JESSIE
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BARTON, JOYCE                        BARTON, KRISTEN LEE                   BARTON, KRISTIN
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BARTON, KRISTINE                     BARTON, KRYSTAL                       BARTON, KRYSTAL
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BARTON, L RENEE                      BARTON, MEGHAN                        BARTON, MICHELLE
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BARTON, NICOLLE                      BARTON, RICHARD                       BARTON, ROBERT
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BARTON, SHANNAN                      BARTON, SLOANE                        BARTON, STEVEN
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BARTON, TAYLOR         Case 22-11238-LSS
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                                                                                   5495
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BARTON, WILLIAM                      BARTON, WILLIAM                       BARTONE, BETSY
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BARTONEK, GRETCHEN                   BARTOS, LINDSEY                       BARTOS, V
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BARTOSH, JILL                        BARTOSIC, STEVE                       BARTOSIEWICZ, KYLE
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BARTOSZEWICZ, ALLIE                  BARTOV, GILAD                         BARTRAM-HAISLIP, TAYLOR
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BARTROM, CARLA                       BARTRON, STEPHANIE                    BARTS, ANGIE
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BARTSCH, JEN                         BARTUCCA, TOMMY                       BARTUCCI, KRISTEN
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BARTUNEK, BRETT                      BARTUS, PAM                           BARTUSCH, JASON
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BARTUSIAK, JENNIFER                  BARTZ, BRITTNEY                       BARTZ, LEA
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BARTZOKIS, NICOLLETTE                BARU, MAYROV                          BARUA, KABIR
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                                     BARUFFO,    2 Filed 11/30/22
                                              JESSICA                 Page BARVE,
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                                                                                   5495
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BARWICK, CAROLINE                    BARWICK, JOSH                         BARWIS, ATHENA
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BARZANO, RON                         BAR-ZEMER, YASMIN                     BARZESKI, KATHRYN
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BARZILAI, REBECCA                    BARZILLA, SHANDA                      BAS, ROMAN
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BASA, BRITNEY                        BASA, LORI                            BASABE, KARA
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BASALONE, KATHRYN                    BASARA, MATTHEW                       BASARAB, SUSAN
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BASCHOFF, BRITTNEY                   BASCIANO, SAMANTHA                    BASCIOTTA, LAURA
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BASCOM, JAMIE                        BASCOM, LAUREL                        BASCOMBE, SHAIMA
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BASCUE, ANGELA                       BASCUE, LAUREN                        BASCUNAN, EMILIO
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BASDEN, DEBBIE                       BASDEN, RHONI                         BASDEN, SAMANTHA
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BASE                   Case 22-11238-LSS     Doc
                                      BASECKE, JEFF2  Filed 11/30/22   Page BASEDOW,
                                                                             303 of 5495
                                                                                     NIKOLAUS
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BASEHORE, DANA                       BASELER, ERIC                          BASEN, IYAL
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BASEY, MADISEN                       BASH, JOHN                             BASH, NATHAN
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BASHA, CRISTIN                       BASHADA, NATALIE                       BASHAM, DANIEL
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BASHAM, JILL                         BASHAM, MONICA                         BASHAM, RACHAEL
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BASHANSCI, MARIA                     BASHARA, NICHOLE                       BASHFORD, BREANNA
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BASHIRIAN, KRISTIN                   BASHORE, ANDREW                        BASHORUN, ABIOLA
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BASIL VICTOR ZARAGOZA VARGAS         BASIL, ADRIENNE                        BASIL, NADIA
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BASILE, ALEXANDRA                    BASILE, ASHLEY                         BASILE, JENNIFER
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BASILE, THERESA                      BASILIO, KIMBERLY                        BASINGER, WESLEY & KATIE
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BASKETT, CAMERON                     BASKIN, ANNA                             BASKIN, BARRY
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BASKIN, CHAD DOUGLAS                 BASKIN, LAURENCE                         BASLER, AUBY
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BASLER, MATTHEW                      BASMAGY, KRIS                            BASMAJIAN, GARY
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BASNER, DAVID                        BASNEY, CASSIDY                          BASOM, JEAN
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BASON, TIZIANA                       BASORE, COLLEEN                          BASORE, SANDY
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BASOV, DMITRY                        BASQUE BOULANGERIE                       BASS, ALEXIS
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BASS, ALLISON                        BASS, ANDREW                             BASS, ASHLEY
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BASS, BLANCA                         BASS, CASSANDRA                          BASS, CHELSI
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BASS, D                Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BASS, DEBRA                      Page BASS,
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                                                                                 of 5495
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BASS, EMILY                          BASS, JASMINE                         BASS, JESSE
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BASS, KAYCI                          BASS, KENDAL                          BASS, LAUREN
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BASS, MALLORY                        BASS, MARILYN                         BASS, MEGAN
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BASS, MYA                            BASS, RHONDA                          BASS, SALLY
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BASS, SARAH                          BASS, SCOTT                           BASS, WENDY
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BASSAM, MOHAMMED                     BASSAN, DANA                          BASSEGIO, ERIN
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BASSELEN, DENA                       BASSET, AMANDA                        BASSETT, AMY
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BASSETT, ANGELA                      BASSETT, BRITTANY                     BASSETT, COLLIN
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BASSETT, ELIZABETH                   BASSETT, GREG                         BASSETT, KALLIE
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BASSETT, KRISSY        Case 22-11238-LSS
                                     BASSETT,Doc
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                                                                            306 of 5495
                                                                                    MAGGIE
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BASSETT, MARGARET                    BASSETT, MICHAEL                      BASSETT, NICOLE
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BASSETT, PENELOPE                    BASSETT, TIFFANY                      BASSEY, SHERRALYN
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BASSFORD, BRETT                      BASSHAM, ANNA                         BASSHAM, KATIE
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BASSI, GREGORY                       BASSI, TONI                           BASSIL, KATARINA
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BASSILA, JEAN CLAUDE                 BASSIN, BROOKE                        BASSIN, JAKE AND MIRTHE
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BASSINGER, SHELBY                    BASSO, BRENT                          BASSO, MONIQUE
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BASSO, TINA                          BASSO, TOM                            BASSOLINO, KRISTY
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BAST, MELISSA                        BASTA, LUKE                           BASTA, SAM
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BASTAIN, BROOKE                      BASTEK, ELAINE                        BASTIAN, ALISON
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BASTIAN, ANTHONY       Case 22-11238-LSS
                                     BASTIAN,Doc 2 Filed 11/30/22
                                             LLOYD                    Page BASTIAN,
                                                                            307 of NIKKI
                                                                                    5495
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BASTIDAS, JOAN                       BASTIE, KATHERINE                     BASTIEN CONPANY, GUY NORDEUS
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BASTIEN, BOB-CATHY                   BASTIN, JORDAN                        BASTIN, KATHRYN
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BASTIN, LORA                         BASTINELLI, AARON                     BASTOLICH, EMMA
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BASTON, ROSALIND                     BASTON, TIFFANY                       BASTON-LEBLANC, ALICIA
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BASTOS, LAURIN                       BASTOS, MELISSA                       BASTURA, EMILY
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BASU, ANIRBAN                        BASU, DEVRAJ                          BASU, JAYATI
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BASU, MONISHA                        BASURTO MCIVER, ANDRES                BASYE, SHARI
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BATA, SARAH & AARON                  BATAEVA, ANNA                         BATAILLE, ALYSON
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BATALHA, AMANDA                      BATALLA, AMANDA                       BATARA, KYRA
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BATARSEH, CAROLINE     Case 22-11238-LSS    Doc
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                                               S.P.A                 Page BATCHELDER,
                                                                           308 of 5495DOMINIQUE
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BATCHELDER, GABRIELLA               BATCHELLER, CHANSEREI                 BATCHELLER, JUSTIN
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BATCHELLER, KARA                    BATCHELLER, KARA                      BATCHELOR, KATHERYN
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BATCHELOR, NICOLE                   BATCHELOR, SUSAN                      BATE, ETHAN
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BATEMAN, AUBREY                     BATEMAN, BILL AND DIANA               BATEMAN, BO
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BATEMAN, CHRIS                      BATEMAN, DAVID                        BATEMAN, ELLEN
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BATEMAN, JENNY                      BATEMAN, KRISTEN                      BATEMAN, KYLEIGH
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BATEMAN, LARISSA                    BATEMAN, LAUREN                       BATEMAN, MAILYS
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BATEMAN, MEGAN                      BATEMAN, MICHELLE                     BATEMAN, MICHELLE
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BATEMAN, RYAN                       BATEMAN, SUSAN                        BATEMON, EMILY
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BATES FREED, ELIZABETH Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BATES, AMBER                     Page BATES,
                                                                            309 ofAMY
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BATES, ANN                           BATES, ANTHONY                        BATES, ASHLEY
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BATES, BONNIE                        BATES, BRENDA                         BATES, CHANDRIKA
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BATES, EMILY                         BATES, EMILY                          BATES, ERIN
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BATES, JENNIFER                      BATES, JENNIFER                       BATES, KATELYN
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BATES, KATHLEEN                      BATES, KATHRYN                        BATES, LANA
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BATES, LAUREN                        BATES, LESLIE                         BATES, LORI
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BATES, LORNNA                        BATES, MARY                           BATES, MEGAN
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BATES, MICHAEL                       BATES, MICHELLE                       BATES, MICK
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BATES, MOLLY                         BATES, MOLLY                          BATES, MS. TAQUIA
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BATES, NATALIE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BATES, QUANACHIA                 Page BATES,
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                                                                                   5495
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BATES, ROSEMARY                      BATES, ROSEMARY                       BATES, SAMANTHA
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BATES, SAMANTHA                      BATES, SANDRA                         BATES, SARAH
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BATES, SHANE                         BATES, SHANNON                        BATES, STACI
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BATES, STEPHAN                       BATES, STEVEN                         BATES, TARICA
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BATES, TWILA                         BATES-ROSENBERG, CARLA                BATEY, CYNTHIA
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BATEY, JESSICA                       BATEY-JARMON, BROOKLYN                BATH, GREG
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BATH, MICHELLE                       BATHE, TOM                            BATHEN, ZAC
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BATHER, DANIELLE                     BATISTA, ANTONIO                      BATISTA, ASHLEY
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BATISTA, BENJAMIN                    BATISTA, CESAR                        BATISTA, DEANNA
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BATISTA, ELEIDE        Case 22-11238-LSS
                                     BATISTA,Doc
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                                                                            311 of GABRIEL
                                                                                    5495
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BATISTA, HEIDI                       BATISTA, INGRID NATALI                BATISTA, INGRID
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BATISTA, JULIANO                     BATISTA, STACEY                       BATISTA, STEPHANY
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BATJER, BRIAN                        BATKINS, CONSTANCE                    BATLAS, RACHEL
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BATLEY, MADELINE                     BATMAN, STEPHEN                       BATOVE, APRIL
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BATRA, JUDY                          BATRA, NIKHIL                         BATRA, RADHIKA
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BATRUNY, MARTHA                      BATSAIKHAN, BATKHUYAG                 BATSON, GLENN
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BATT, KATIE                          BATT, NINA                            BATTAGLIA, KELLY
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BATTAGLIA, KELLY                     BATTAGLIA, MIKE                       BATTAGLIA, MORGAN
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BATTAGLIA, ROSEMARIE                 BATTAGLIA, RUSSELL                    BATTAGLIOLA, TITO
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BATTAN, APU            Case 22-11238-LSS
                                     BATTAS, Doc  2 Filed 11/30/22
                                             ASHLEY                   Page BATTEN,
                                                                            312 ofKRISTINA
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BATTERSHELL, LAUREN                  BATTERSHELL, PENNY                    BATTERTON, JOHN
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BATTIATO, KRISTEN                    BATTISTA, AMY                         BATTISTA, ROBERT
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BATTISTE, DANIELLE                   BATTISTI, ELIZABETH                   BATTISTI, ERICA
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BATTLE, AMANDA                       BATTLE, BARBARA                       BATTLE, BERNARD
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BATTLE, BRITTANY                     BATTLE, CHRIS                         BATTLE, KAREN
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BATTLE, KATHERINE                    BATTLE, LAUREN                        BATTLE, MARCY
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BATTLE, RENEE                        BATTLE, TERRANCE                      BATTLE, TIKIRA
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BATTLES, EDITH                       BATTLES, LAUREN                       BATTOGLIA, DARLENE
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BATTOOL, SAMMAR                      BATTRAM, TIFFANIE                     BATTS, ANTONETTE
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BATTS, DENISE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BATTS, JENNIFER                  Page BATUGINA,
                                                                            313 of 5495
                                                                                     ANNA
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BATY, HARLEY                         BAUBIE, WHITNEY                       BAUCCIO, MICHAELA
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BAUCHNER, HOWARD                     BAUCOM, SUSANNE                       BAUDER, ERIC
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BAUDLER, ANGI                        BAUDOIN, ANGIE                        BAUDOIN, LINDA
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BAUDOIN, TRACY                       BAUDOUIN LATZ, ARIANA                 BAUDVILLE INC
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BAUER, ALEX                          BAUER, ALISON                         BAUER, AMAND
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BAUER, AMANDA                        BAUER, ANNA                           BAUER, ANNA
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BAUER, ARDUS                         BAUER, AUBREY                         BAUER, BEKAH
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BAUER, BROOKE                        BAUER, CASSY                          BAUER, CHIYA
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BAUER, COURTNEY                      BAUER, ERIN                           BAUER, GARRETT
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BAUER, HEATHER         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAUER, IAN                       Page BAUER,
                                                                            314 ofJACLYN
                                                                                    5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAUER, JAN                           BAUER, JENNIFER                       BAUER, JOHN
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BAUER, JOSEPH                        BAUER, JULIA                          BAUER, JULIA
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BAUER, KAREN                         BAUER, KIMBERLY                       BAUER, KRISTINA
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BAUER, LAUREN                        BAUER, LYNN                           BAUER, MEGAN
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BAUER, MELANIE                       BAUER, MEREDITH                       BAUER, MICHAEL
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BAUER, PAT                           BAUER, RACHEL                         BAUER, ROBIN
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BAUER, SAMANTHA                      BAUER, SARAH                          BAUER, SARAH
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BAUER, STACY                         BAUER, STEPHANIE                      BAUER, STEPHEN
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BAUER, SYDNEY                        BAUER, WHITNEY                        BAUER, WHITNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BAUER, YOLANDA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAUER, ZACH                      Page BAUER-BRINKER,
                                                                            315 of 5495 CORINNA
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BAUEREISS, CHRISSY                   BAUERNFEIND, NICHOLAS                 BAUERSCHLAG, AMY
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BAUGH, AMANDA                        BAUGH, K                              BAUGH, MALLORY
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BAUGH, TIANA                         BAUGHEY, ALEXIS                       BAUGHMAN, ALYSSA
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BAUGHMAN, BARBARA                    BAUGHMAN, LAURA                       BAUGHMAN, REBECCA
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BAUGHMAN, REBECCA                    BAUGHMAN, YALEA                       BAUHAUS, BILL
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BAUK, NICOLE                         BAUKE, ERIN                           BAUKE, JULIE
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BAULCH, SARAH                        BAULER, JODI                          BAUM, CAITLYN
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BAUM, CARA                           BAUM, DENNIS                          BAUM, DONNA
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BAUM, EVAN                           BAUM, JACLYN                          BAUM, JESSICA
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BAUM, JULIE            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BAUM, KRISTA                     Page BAUM,
                                                                            316 of 5495
                                                                                 KRISTI
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BAUM, LARA                           BAUM, ROBIN                           BAUM, ROCHELLE
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BAUMAN, ANYA                         BAUMAN, AUSTIN                        BAUMAN, BECKY
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BAUMAN, BETHANY                      BAUMAN, DAVE                          BAUMAN, DEBRA
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BAUMAN, HEATHER                      BAUMAN, PETER                         BAUMAN, QUINN
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BAUMAN, REBEKAH                      BAUMAN, RHIANNON                      BAUMAN, SARAH
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BAUMAN, SHYANNE                      BAUMANN, ABBY                         BAUMANN, DANIELLE
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BAUMANN, DEBORAH                     BAUMANN, EMILY                        BAUMANN, JOSH
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BAUMANN, KARA                        BAUMANN, MICHELLE                     BAUMANN, MOLLY
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BAUMANN, PETRA                       BAUMANN, ROBERTA                      BAUMANN, RUDY
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BAUMANN, SARAH         Case 22-11238-LSS   Doc
                                     BAUMANN,    2 Filed 11/30/22
                                              STEPHANIE               Page BAUMEL,
                                                                            317 of NANCY
                                                                                   5495
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BAUMER, ANTHONY                      BAUMER, BETTY                         BAUMERT, HANNAH
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BAUMGAERTNER, EILEEN                 BAUMGARDEN, TIFFINEY                  BAUMGARDNER, CINDI
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BAUMGARDNER, KELLY                   BAUMGARDNER, VICTORIA                 BAUMGARDT, ROBYN
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BAUMGART, DEBORAH                    BAUMGART, TIFFANI                     BAUMGARTEN, JULIE
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BAUMGARTNER, ABBEY                   BAUMGARTNER, BROOKE                   BAUMGARTNER, BRYAN
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BAUMGARTNER, DOUG                    BAUMGARTNER, JOSHUA                   BAUMGARTNER, KATANNA
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BAUMGARTNER, KIMBERLY                BAUMGARTNER, MADELYN                  BAUMGARTNER, PEGGY
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BAUMGARTNER, SARAH                   BAUMGARTNER, STEPHANIE                BAUN, ALI
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BAUN, JEFFREY                        BAUNE, KATRYNA                        BAUR, ALEXANDER
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BAUR, ARIELA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAUS, SUSAN                      Page BAUSEMER,
                                                                            318 of 5495
                                                                                     EMILY
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BAUSONE, SUSAN                       BAUTCH, AMBER                         BAUTERS, MARISA
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BAUTISTA, JEANNETTE                  BAUTISTA, JULIA                       BAUTISTA, REBEKA
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BAUTISTA, ROBERT                     BAUTISTA, SAMANTHA                    BAUTISTA-LEAF, DEVIN
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BAUX, CHRISTINE                      BAUZA, JORGE                          BAVARIA, EDWARD
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BAVE, CHRISTINE                      BAVISHI, KUNAL                        BAWA, JARED
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BAWDEN, ABIGAIL                      BAWROSKI, CAITLIN                     BAX, MICHELLE
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BAXENDALE, ALEXANDER                 BAXENDALE, EMMA                       BAXENDALE, KATE
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BAXHIJA, ELDA                        BAXI, AVANI                           BAXLEY, ADRIANA
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BAXLEY, BRENT                        BAXLEY, DENISE                        BAXLEY, HAYLEY
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BAXLEY, KATIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAXLEY, TEMPLE                   Page BAXTER
                                                                            319 ofOF5495
                                                                                     CALIFORNIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8524 WASHINGTON BLVD
                                                                           CULVER CITY, CA 90232




BAXTER OF CALIFORNIA                 BAXTER, ALLISON                       BAXTER, AMANDA
PROFESSIONAL PRODUCTS DIVISION       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PO BOX 731125
DALLAS, TX 75373




BAXTER, ANDREA                       BAXTER, BAILEY                        BAXTER, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAXTER, CHERYL                       BAXTER, CLIFTON                       BAXTER, DEBRA
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BAXTER, DON                          BAXTER, HAYLEY                        BAXTER, HELENA
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BAXTER, JOHN P.                      BAXTER, KATHERINE                     BAXTER, LAURA
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BAXTER, MARGARET                     BAXTER, OPHELIA                       BAXTER, SARA
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BAXTER, SONIA                        BAXTER, SYDNEY                        BAXTER, VALERIE
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BAXTER, WHITNEY                      BAY, JENNIFER                         BAY, MATT
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BAY, RAEANNA                         BAY, VICTORIA                         BAYADSY, ANDY
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BAYARD, LEVI           Case 22-11238-LSS
                                     BAYARD, Doc 2 Filed 11/30/22
                                             MARGARET                 Page BAYAZIT,
                                                                            320 of PERI
                                                                                    5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAY-CITIES                           BAY-CITIES                            BAYEH, ELIAS
5138 INDUSTRY AVE                    BAY-CITIES 5138 INDUSTRY AVE          ADDRESS AVAILABLE UPON REQUEST
PICO RIVERA, CA 90660                PICO RIVERA, CA 90660




BAYER, ALEX                          BAYER, AMANDA                         BAYER, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAYER, CASSANDRA                     BAYER, ELIZABETH                      BAYER, EVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAYER, MEGAN                         BAYER, TARAH                          BAYERL, ANNE
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BAYHA, JENNY                         BAYKO, BROOKE                         BAYLES, JAY
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BAYLES, MARTI                        BAYLESS, BRYAN                        BAYLESS, CARLY
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BAYLESS, NICOLE                      BAYLESS, TIFFANI                      BAYLEY, SUZY
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BAYLOR, SEQUOIA                      BAYLY, KISHA                          BAYNARD, ERIN
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BAYNE, KELLY                         BAYOL, MAXIME                         BAYONA, DENNISE
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BAYONA, DOMINIQUE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BAYOT, DENRICK                   Page BAYRAMLI,
                                                                            321 of 5495
                                                                                     DEVRIM
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BAYROOTY, ALIS                       BAYSDEN, LANE                         BAYSE, MARY K
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAYSINGER, ELIZABETH                 BAYSTATE WINE & SPIRITS               BAYSTATE WINE AND SPIRITS -
ADDRESS AVAILABLE UPON REQUEST       321 MANLEY STREET                     (MASSACHUSETTS)
                                     WEST BRIDGEWATER, MA 02379            321 MANLEY STREET WEST
                                                                           BRIDGEWATER, MA 02379




BAYUK, MICHELLE                      BAYUK, RACHEL                         BAYZE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BAZAIL, ROLANDO                      BAZAN, AMANDA                         BAZAN, AMBER
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BAZAN, SHARON                        BAZANY, JENNIFER                      BAZANY, PATRICIA
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BAZELON, DANA                        BAZEMORE, ELIJAH                      BAZEMORE, HANNAH
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BAZEMORE, LAURA                      BAZEN, QUINCY                         BAZIL, ASHA
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BAZILE, JONATHAN                     BAZINET, MICHELLE                     BAZIRE, GERMAINE
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BAZLEY, MELISSA                      BAZOS, JOHANNA                        BAZUAYE, EBUN
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BAZZANELLA, JOHN       Case 22-11238-LSS
                                     BAZZANI,Doc 2 Filed 11/30/22
                                             HALEY                         Page BAZZAR,
                                                                                 322 ofASHLEY
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




BAZZETTA, SARAH                         BAZZILL, JOSEPH                         BAZZOLI, IAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BAZZOLI, SHELLY                         BB MEDIA LLC (BROOKLYN BASED)           BBB
ADDRESS AVAILABLE UPON REQUEST          33 NASSAU AVE., 2ND FLOOR               ADDRESS UNAVAILABLE AT TIME OF FILING
                                        BROOKLYN, NY 11222




BCHTIKIAN, NARINA                       BE SOCIAL PUBLIC RELATIONS , LLC        BEABEAU, BRONWYN
ADDRESS AVAILABLE UPON REQUEST          150 ALHAMBRA PLAZA, SUITE1200           ADDRESS AVAILABLE UPON REQUEST
                                        CORAL GABLES, FL 33134




BEACH RESTAURANT                        BEACH, ANNA                             BEACH, BAILIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BEACH, BEVERLY                          BEACH, BRENNA                           BEACH, CELINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BEACH, CHARLIE                          BEACH, CHERIE                           BEACH, CHRISTINE
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BEACH, ELIZABETH                        BEACH, GAIL                             BEACH, JENNIFER
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BEACH, MEREDITH                         BEACH, PENNIE                           BEACH, RENEE
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BEACH, SUSANNE                          BEACH, TAMARA                           BEACHAM, HEIDI
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BEACHAM, MIKE          Case 22-11238-LSS    Doc 2 HALEY
                                     BEACH-COSTELLO, Filed 11/30/22   Page BEACHSIDE
                                                                            323 of 5495
                                                                                     RESTAURANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




BEACHY, ASHLEY                       BEACHY, NICOLE                        BEACHY, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEACHY, VIKTORIA                     BEACOM, ELIZABETH                     BEAD SOURCE
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BEADLING, RUSSELL                    BEADNELL, MARIA                       BEAFORE, ERIN
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BEAGAN, MICHAEL                      BEAGLE, SARAH                         BEAGLE, TAYLOR
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BEAGLES, BENJAMIN                    BEAGLES, BRYAN                        BEAGLEY, LISA
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BEAHM, KRISTEN                       BEAHON, JOE                           BEAIRD, KHRYSTA
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BEAKLINI, TATIANA                    BEAL, ALLISON                         BEAL, ANTHONY
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BEAL, COLE                           BEAL, DEBORAH                         BEAL, JONI
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BEAL, JONI                           BEAL, KELLY                           BEAL, LAURA
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BEAL, LAURA-JEAN       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BEAL, LAUREN                     Page BEAL,
                                                                            324 LESLIE
                                                                                 of 5495
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BEAL, MADELINE                       BEALE, BLAIR                          BEALE, EVAN
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BEALE, JESSI                         BEALE, LAUREN                         BEALE, RK
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BEALL, BROOKE                        BEALL, HOLLY                          BEALL, JEFFREY
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BEALL, KELLY                         BEALL, PATRICK                        BEALLE, WILTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEALL-OHLMANN, JOHNA                 BEALS, GILDA                          BEALS, JULIA
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BEALS, ROBERT                        BEALS, SHELLEY                        BEALYER, IVY
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BEAM, BRIANNA                        BEAM, CHANDRA                         BEAM, GAYLE
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BEAM, JUDITH                         BEAM, LEANNA                          BEAM, MORGAN
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BEAM, PATRICK                        BEAM, SANDY                           BEAM, SUZETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BEAM, TAYLOR           Case 22-11238-LSS
                                     BEAMAN,Doc  2 Filed 11/30/22
                                            AUBREY                    Page BEAMAN,
                                                                            325 of HANNAH
                                                                                   5495
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BEAMAN, JACKILENE                    BEAMAN, YURIKO                        BEAMER, BETH
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BEAMON, CHERYL                       BEAMON, KATHERINE                     BEAMON, TATIANA
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BEAN, ALEC                           BEAN, CANISE                          BEAN, CHERYLE
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BEAN, DEANNA                         BEAN, ELIZABETH                       BEAN, FREDRICK
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BEAN, JULIE                          BEAN, KATELYN                         BEAN, KYRSTEN
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BEAN, KYRSTEN                        BEAN, MARLENE                         BEAN, MIKE
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BEAN, MORGAN                         BEANE, BOBBIE                         BEANE, BRIAN
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BEANE, CASEY                         BEANE, SHELLEY                        BEANLAND, JISOO
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BEANS, MICHAEL                       BEAR ROBE, AMBER-DAWN                 BEAR, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BEARCE, HAILEE         Case 22-11238-LSS    DocALEXA
                                     BEARD NEILL, 2 Filed 11/30/22    Page BEARD
                                                                            326 of 5495
                                                                                 PAPA
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BEARD, AVERY                         BEARD, BRANDON                        BEARD, BRITTNEY
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BEARD, CHERYL                        BEARD, FLORA                          BEARD, JACOB
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BEARD, JEANETTE                      BEARD, JEMIYAH                        BEARD, KAYLA
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BEARD, KAYLA                         BEARD, LYNNE                          BEARD, MARIAH
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BEARD, MARTI                         BEARD, NICOLE                         BEARD, PAM
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BEARD, ROXIE                         BEARD, SARAH                          BEARD, SUSAN
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BEARD, TAKAIRA                       BEARD, TAMMY                          BEARD, TERESA
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BEARDALL, TAYLOR                     BEARDEN, ALLISON                      BEARDEN, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEARDEN, LLOYD                       BEARDEN, MEGHAN                       BEARDSLEE, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BEARDSLEY, HENRY       Case 22-11238-LSS    DocJAROD
                                     BEARDSLEY,  2 Filed 11/30/22     Page BEARDSLEY,
                                                                            327 of 5495
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BEARDSLEY, KATIE                     BEARDSLEY, RICHARD                    BEARDSLEY, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEARER, BRIDGET                      BEARESE, LAUREN                       BEARGIE, SARAH
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BEARSON, REBECCA                     BEARUP, KRYSTY                        BEARY, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEAS, VIRGINIA                       BEASLEY, ABBIE                        BEASLEY, ARNETHEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEASLEY, BEVERLY                     BEASLEY, JADE                         BEASLEY, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEASLEY, LORI                        BEASLEY, MACKENZIE                    BEASLEY, MARTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEASLEY, MEGAN                       BEASLEY, ROB                          BEASLEY, ROB
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BEASLEY, SYDNEY                      BEASLEY, TORI                         BEASLY, JESSICA
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BEASON, ANN                          BEASON, EMILY                         BEASON, MARILYN
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                       Case 22-11238-LSS
BEAST & BOTTLE RESTAURANT                     Doc
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                                                 LATER), BAILEY11/30/22   Page BEAT,
                                                                                328 SHAWNA
                                                                                     of 5495
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BEATBOX                                 BEATE ELY-CROFT                        BEATO, KATIE
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BEATON, JAIMIE                          BEATON, LISA                           BEATON, MELISSA
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BEATON, PETER                           BEATRIZ GODOY                          BEATRIZ ROJAS
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BEATTIE, ALEXANDRA                      BEATTIE, ALICE                         BEATTIE, DEBRA
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BEATTIE, ELIZABETH                      BEATTIE, MADELIN                       BEATTIE, RAYMOND
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BEATTIE, SHELLY                         BEATTY, ADRIENNE                       BEATTY, BEVERLY
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BEATTY, BRIGID                          BEATTY, BRYAN                          BEATTY, COLLENE
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BEATTY, ERIN                            BEATTY, JASON                          BEATTY, JOSEPH
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BEATTY, KAREN                           BEATTY, SABRA                          BEATTY, SHANNON
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BEATTY, ZACHARY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BEATY, CATHRYN                   Page BEATY,
                                                                            329 ofJAYSON
                                                                                    5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEATY, MICAELA                       BEATY, PAIGE                          BEATY, STEVE
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BEAUBIEN, LAUREN                     BEAUCHAINE, CHRISTINE                 BEAUCHAMP, DAVID
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BEAUCHAMP, KATE                      BEAUCHAMP, RENEE                      BEAUCHAMP, VICTORIA
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BEAUCHER, JOHN                       BEAUCHESNE, ANN                       BEAUCHMAN, MAKAYLA
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BEAUCHMAN, RENAY                     BEAUCHNER, MEGAN                      BEAUDIN, JAMES
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BEAUDION, CHRIS                      BEAUDOIN, MARY                        BEAUDOIN, MELISSA
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BEAUDREAU, TOM                       BEAUDRY, ALISON                       BEAUDRY, ANNA
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BEAUDRY, BRIAN                       BEAUDRY, ELIZABETH                    BEAUDRY, KIMBERLEY
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BEAUDRY, KRISTINA                    BEAUDRY, LAURA                        BEAUDRY, SHAILAH
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BEAUDRY, SIMON         Case 22-11238-LSS   Doc
                                     BEAUDUY,    2 Filed 11/30/22
                                              REED                    Page BEAUFORT,
                                                                            330 of 5495
                                                                                     ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEAUFORT, ANDREW                     BEAUFRESH MEDIA LLC                   BEAUGE, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       5850 W 3RD ST STE 224                 ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90036




BEAUGUREAU, AUSTEN                   BEAULAC, EMILY                        BEAULAC, MARY PAT
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BEAULIEU, ELIZABETH                  BEAULIEU, JOSEPH                      BEAULIEU, LUCIA
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BEAULIEU, LYNDSAY                    BEAULIEU, RACHEL                      BEAULIEU-LASCKO, CINDY LEA
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BEAUMAN, REBECCA                     BEAUMIER, MAYA                        BEAUMIER, ZOE
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BEAUMONT, JAIDE                      BEAUMONT, JAIDE                       BEAUMONT, JOHN
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BEAUMONT, KIM                        BEAUMONT, MAX                         BEAUMONT, STACY
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BEAUPARLANT, EMILY                   BEAUPRE, HEATHER                      BEAUPRE, SHARON
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BEAURAIN, STEPHANIE                  BEAUREGARD, BRAD                      BEAUREGARD, ELIZABETH
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                                     BEAUREGARD, LINDAFiled 11/30/22       Page BEAUREGARD,
                                                                                 331 of 5495NICOLE
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BEAUSSART, MICHEL                    BEAUTYKO USA INC (LIVINGSOCIAL INC)        BEAUVAIS, GREGORY
ADDRESS AVAILABLE UPON REQUEST       57 WATERMILL LN                            ADDRESS AVAILABLE UPON REQUEST
                                     GREAT NECK, NY 11021




BEAUVAIS, TABATHA                    BEAVAN, KRISTIN                            BEAVEN, CHELSEA
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BEAVER, CASEY                        BEAVER, DAN                                BEAVER, GARY
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BEAVER, HANNAH                       BEAVER, JAMISON                            BEAVER, KARL
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BEAVER, MICHELLE                     BEAVER, PATRICK                            BEAVER, RACHEL
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BEAVER, SUZANNE                      BEAVER-GUZMAN, STEPHANIE                   BEAVERS, HEATHER
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BEAVERS, KAILA                       BEAVERS, KELLYANN                          BEAVERS, KIM
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BEAVERS, LINDA                       BEAVERS, MADDIE                            BEAVERS, NICOLE
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BEAVERS, REBECCA                     BEAVIN, JILL                               BEBEE, ANTHONY
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BEBENSEE, CARTER       Case 22-11238-LSS   Doc
                                     BEBERGER,   2 Filed 11/30/22
                                               AMANDA                 Page BECAK
                                                                            332 of 5495CHRISTINE
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BECCA BARRY                          BECCARD, TRISHA                       BECCIO, MATT
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BECERRA, CRISTIAN                    BECERRA, EDGARDO                      BECERRA, ISABELLA
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BECERRA, KATHY                       BECERRA, LESLIE                       BECERRA, MICHAEL
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BECH, TRICIA                         BECH, VIRGINIA                        BECHARA, SAMIA
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BECHARD, ANGELA                      BECHARD, CRAIG                        BECHARD, JENNIFER
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BECHARD, SALLY                       BECHEN, CARLEY                        BECHER, JON
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BECHER, MEGAN                        BECHER, MJ                            BECHERER, HENRY N MARYANNE
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BECHIR, CATHYE                       BECHLER, DAVID                        BECHTEL, EMILY
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BECHTEL, STACEY                      BECHTEL, TRAVIS                       BECHTHOLD, MORGAN
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BECHTLE, PATRICK       Case 22-11238-LSS    Doc
                                     BECHTOLD,   2 Filed 11/30/22
                                               GARY                   Page BECHTOLD,
                                                                            333 of 5495
                                                                                     GINGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BECHTOLD, LAURA                      BECHTOLD, ROBIN                       BECHTOLD, SAMANTHA
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BECK, AARON                          BECK, ALEX                            BECK, ALISON
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BECK, ALLISON                        BECK, ASHLEY                          BECK, BRANT
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BECK, BRIAN                          BECK, BRITTANY                        BECK, BRITTANY
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BECK, CARLEE                         BECK, CARLY                           BECK, CAROL
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BECK, CHARLES                        BECK, CHRISTINA                       BECK, CYNTHIA
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BECK, DAYDRAH                        BECK, DOTTIE                          BECK, EBILTULIK
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BECK, EILEEN                         BECK, ELIZABETH                       BECK, ELIZABETH
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BECK, ERNIE                          BECK, ESTEE                           BECK, J
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BECK, JACQUELINE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BECK, JAMIE                      Page BECK,
                                                                            334 of  5495
                                                                                 JAMIE
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BECK, JESSICA                        BECK, KAITLIN                         BECK, KAITLYN
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BECK, KALEENA                        BECK, KATHERINE                       BECK, KAYLA
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BECK, KAYLA                          BECK, KELLER                          BECK, KIMBERLY
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BECK, LAUREN                         BECK, LAUREN                          BECK, MADELINE
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BECK, MAURA                          BECK, MEGAN                           BECK, MELINDA
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BECK, MELISSA                        BECK, MELISSA                         BECK, MELISSA
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BECK, MELODY                         BECK, MICHAELA                        BECK, MIRACLE
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BECK, OLIVIA                         BECK, RACHEL                          BECK, RENEE
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BECK, ROBIN                          BECK, RYLEE                           BECK, SHAUN
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BECK, SHERRI           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BECK, SPENCER                    Page BECK,
                                                                            335 of  5495
                                                                                 TAYLOR
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BECK, TERESA                         BECK, THERESA                         BECKA, JENNIFER
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BECKELHEIMER, ROBERT                 BECKELMAN, HEATHER                    BECKER ROBLES, KRISTA
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BECKER, ALEXANDRA                    BECKER, ALISON                        BECKER, AMELIA
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BECKER, ANDREA                       BECKER, ANNE                          BECKER, ANNIE
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BECKER, BARBARA                      BECKER, BERT                          BECKER, BRITTANY
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BECKER, CINDY                        BECKER, DIANE                         BECKER, ELISE
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BECKER, ELIZABETH                    BECKER, ELLEN                         BECKER, FALON
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BECKER, HALE                         BECKER, HEATHER                       BECKER, HILARY
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BECKER, JENNIFER       Case 22-11238-LSS
                                     BECKER, Doc
                                             JENNY2  Filed 11/30/22   Page BECKER,
                                                                            336 of JOCELYN
                                                                                   5495
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BECKER, JONATHAN                     BECKER, JUSTIN                        BECKER, KEATON
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BECKER, KIMBERLEY                    BECKER, KRISTINA                      BECKER, LARA
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BECKER, LAURA                        BECKER, LAUREN                        BECKER, LINDSEY
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BECKER, MARIE                        BECKER, MARITZA                       BECKER, MEG
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BECKER, MEGAN                        BECKER, MELANIE                       BECKER, MELINDA
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BECKER, MELISSA                      BECKER, MIKAYLA                       BECKER, MIKEL
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BECKER, NATALIE                      BECKER, NIKI                          BECKER, RENEE
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BECKER, ROGER                        BECKER, RYAN                          BECKER, SARA
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BECKER, SARAH          Case 22-11238-LSS
                                     BECKER, Doc 2 Filed 11/30/22
                                             SCOTT                    Page BECKER,
                                                                            337 of SHENIRA
                                                                                   5495
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BECKER, SKY                          BECKER, STEVE                         BECKER, STEVEN
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BECKER, SUSANNE                      BECKER, TARA                          BECKER, VICTORIA
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BECKER, ZACHARY                      BECKERMAN, GABRIEL                    BECKERMAN, NEIL
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BECKER-REDD, KINDRA                  BECKERT, MARY                         BECKER-WILLIAMS, AMANDA
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BECKETT, ANGELA                      BECKETT, ASHTON                       BECKETT, BOB
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BECKETT, DAMEON                      BECKETT, HALEY                        BECKETT, RACHEL
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BECKETT, TIFFANY                     BECKFORD, DANIELLE                    BECKFORD, KEESHA
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BECKHAM, GRACE                       BECKHAM, JAMIE                        BECKHAM, JORDAN
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BECKHAM, KAITLIN                     BECKHAM, KATIE                        BECKHAM, SPEARS
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BECKHAM, WILL          Case 22-11238-LSS
                                     BECKLER,Doc
                                              ANNE2  Filed 11/30/22   Page BECKLER,
                                                                            338 of 5495
                                                                                    CYNTHIA
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BECKLEY, KIM                         BECKMAN, ANDI                         BECKMAN, CAROLINE
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BECKMAN, HEATHER                     BECKMAN, JOHN                         BECKMAN, KATIE
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BECKMAN, KIRK                        BECKMAN, KRISTIN                      BECKMAN, REBECCA
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BECKMANN, ANNA                       BECKMANN, RHONDA                      BECKMANN, WENDY
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BECKNAL, STEPHANIE                   BECKNELL, MICHAEL                     BECKNELL, TAYLOR
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BECKNER, KELLY                       BECKOM, MARGARET                      BECKSTED, HEIDI
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BECKSTRAND, LAUREN                   BECKSTRAND, LEXIE                     BECKSTROM, KIRSTIE
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BECKUM, MARIE                        BECKWITH, CRYSTAL                     BECKWITH, GREG
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BECKWITH, JACOB                      BECKWITH, JACQUELINE                  BECKWITH, JO
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BECKWITH, JORDAN       Case 22-11238-LSS    Doc
                                     BECKWITH,   2 Filed 11/30/22
                                               MEGAN                     Page BECKWITH,
                                                                               339 of 5495
                                                                                        STEPHANIE
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BECKY CONTRERAS                         BECKY KURTH                           BECKY
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BECNEL, CHARLETTE                       BECTON, COURTNEY                      BECTON, GINGER
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BECTON, KRISTA                          BECWAR, AMANDA                        BED BATH & BEYOND
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BEDAL, THERESA                          BEDARD, PHIL                          BEDART UHLENKOTT, ANDREA
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BEDDELL, KRISTA                         BEDDES, HALLIE                        BEDELL, CHERIE
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BEDELL, ERIN                            BEDELL, JANE                          BEDELL, MELANIE
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BEDELL, ROY                             BEDELL, VILLA                         BEDENBAUGH, KURT
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BEDFORD & BURNS                         BEDFORD ENTERPRISES, INC.             BEDFORD ENTERPRISES, INC.
ADDRESS UNAVAILABLE AT TIME OF FILING   940 WEST BETTERAVIA ROAD              PO BOX 5875
                                        SANTA MARIA, CA 93455                 SANTA MARIA, CA 93458




BEDFORD, MOLLY                          BEDI, JUGAD                           BEDIZ, DAVID
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BEDLAN, SHERRIE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BEDLE, MARGRET                   Page BEDNARSKI,
                                                                            340 of 5495
                                                                                      VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEDNARZ, MATT                        BEDNARZ, SYLVIA                       BEDNASH, PAIGE
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BEDNER, MATTHEW                      BEDO, VIKTORIA                        BEDOR, JOHN
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BEDOY, AMANDA                        BEDOYA, VICTOR                        BEDROSIAN, KIMBERLY
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BEDSOLE, CYNTHIA                     BEDWELL, EMILY                        BEDWELL, JOEY
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BEDWELL, SARAH                       BEE, CORY                             BEE, LULU
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BEEBE, ANGELA                        BEEBE, CHARLES                        BEEBE, CLARE
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BEEBE, ELLEN                         BEEBE, ERICA                          BEEBE, GARY
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BEEBE, KATE                          BEEBE, LAMONT                         BEEBE, LEAH
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BEEBE, MITZI                         BEEBE, PAMELA                         BEEBE, SHELBY
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BEEBY, NATASHA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BEECH, AMELIA                    Page BEECH,
                                                                            341 ofJOHN
                                                                                    5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEECH, KAREN                         BEECH, MELISSA                        BEECH, SHARON
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BEECHAM, LORI                        BEECHER, ERICA                        BEECHER, KATIE
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BEECHUM, NANCY                       BEECROFT, BILL                        BEEDY, JAN
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BEEGAN, DANIELLE                     BEEGAY, CASEY                         BEEGHLY, RANDY AND KIM
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BEEGHLY, WILLIAM                     BEEKMAN, LISA                         BEEKMAN, RACHAEL
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BEEKS, ETHAN                         BEEKS, JULIAN                         BEELER, NATALIE
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BEELOW, HOPE                         BEEMAN, DON                           BEEMAN, REBECCA
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BEEMAN, THOMAS                       BEEMAN, WILLIAM                       BEENE, BRETT
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BEENE, DAWN                          BEENE-SKUBAN, JENNY                   BEENKEN, ASHLEY
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                        Case 22-11238-LSS
BEER AND WINE SERVICES INC                    Doc 2 Filed 11/30/22
                                      BEER, DEVON                      Page BEER,
                                                                             342 of 5495
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BEER, JENNA                          BEER, MELINDA                          BEER, WHITNEY
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BEERBOWER, CHESTER                   BEERS, BETH                            BEERS, CHRYSTIN
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BEERS, DOUG                          BEERS, ELYSSA                          BEERS, JEREME
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BEERS, JEREMY                        BEERS, LINDSEY                         BEERS, REBECCA
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BEERY, CHARLES                       BEERY, DEB                             BEERY, MARY
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BEESEN, ANA                          BEESON, BROOKE                         BEESON, JEFFREY
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BEESON, KRISTIN                      BEETH, LUCILLE                         BEEVER, LYNN
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BEEVERS, ANGELA                      BEEVERS, BONNIE                        BEEZER, KELLY
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BEEZHOLD, DON                        BEFORE, RACHEL                         BEG, TEHMINA
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                                     BEGANY,Doc
                                            SARAH2 Filed 11/30/22     Page BEGEROWSKI,
                                                                            343 of 5495SYDNEY
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BEGEY, KATHLEEN                      BEGG, CHERYL                          BEGGS, JOANNA
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BEGGS, JONEL                         BEGGS, LEESHAWNNA                     BEGGS, LESLIE
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BEGIN, MADISON                       BEGLEN, KEVIN                         BEGLEY, LAURA
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BEGLIN, CLAUDIA                      BEGLIN, COURTNEY                      BEGNOCHE, JUSTIN
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BEGOUN, ADAM                         BEGOVIC, MICHELLE                     BEGUE, GWENAELLE
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BEGUELIN, ADAM                       BEHAL, SUDESH                         BEHAN, DEIRDRE
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BEHAN, LAUREN                        BEHAR, ALEXANDRA                      BEHAR, LINDSAY
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BEHARI, ANNIE                        BEHARRY, JULICIA                      BEHBEHANIAN, LALEH
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BEHELER, AMY                         BEHEN, AMANDA                         BEHEREC, KATHERINE
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BEHIZADEH, RABBI JIM   Case 22-11238-LSS
                                     BEHLER, Doc
                                             MARIA2  Filed 11/30/22   Page BEHLMANN,
                                                                            344 of 5495
                                                                                     MEGAN
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BEHLOW, JAYMIE                       BEHM, KATHRYN                         BEHM, LINDSEY
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BEHM, MAEGAN                         BEHM, NICHOLAS                        BEHM, SARAH
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BEHNE, STEPHANIE                     BEHNKE, CHRISTOPHER                   BEHNKE, DANA
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BEHNKE, MARKUS                       BEHNKE, TERRI                         BEHNKEN, SERAVIN
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BEHRANG FATHI                        BEHRENDS, KRISTYN                     BEHRENS, AARON
DTE MEDIA                            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
506 SANTA MONICA BLVD. SUITE 327
SANTA MONICA, CA 90401




BEHRENS, FAY                         BEHRENS, ISABELLA                     BEHRENS, JACOB
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BEHRENS, KATRINA                     BEHRENS, LAURA                        BEHRENS, LIESL
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BEHRENS, MADISON                     BEHRENS, RYAN                         BEHRINGER, STEVEN
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BEHRMANN, BRADLEY                    BEHROUZ, ROSA                         BEHUN, MARISSA
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BEICHEL, MADISYN       Case 22-11238-LSS    Doc
                                     BEIDEMAN, JOE2  Filed 11/30/22   Page BEIDLEMAN,
                                                                            345 of 5495
                                                                                      PATRICIA
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BEIER, ALISON                        BEIER, ELLIOTT                        BEIER, JENNA
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BEIER, SARAH                         BEIERLE, PHOEBE                       BEIK, ALLIE
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BEIL, JAMES                          BEIL, MICHELLE AND                    BEIL, NATE
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BEILBY, GRAHAM                       BEILBY, JAMES                         BEILEIN, ANDREW
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BEILER, LENA                         BEILER, PEARL                         BEILMAN, BAILEE
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BEILMAN, CAROLINE                    BEILMAN, JACKIE                       BEILMAN, PATRICIA
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BEIMFORD & ASSOCIATES, LLC           BEIN, SHAM                            BEINECKE, JESSICA
1980 S QUEBEC ST STE 204             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80231




BEIRICH, KEVIN                       BEIRIGER, FRAN                        BEIRIGER, FRANCINE
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BEIRISE-MCAULEY, ELIZABETH           BEISEL, ARIELLE                       BEISEL, MARCUS
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BEITA, AMANDA          Case 22-11238-LSS     Doc MARIE
                                     BEITA, GRACE 2 Filed 11/30/22    Page BEITER,
                                                                            346 ofJOANNA
                                                                                   5495
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BEITIA, ALEXANDRA                    BEJARANO, MICHELLE                    BEJCEK, ALEXANDRA
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BEJERANO, GUY                        BEKAS, STACEY                         BEKE, MAYA
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BEKEL, NANCY                         BEKENY, CONSTANCE                     BEKESSY, MELANIE
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BEKKER, BRONWYN                      BEKO FAMILY                           BEKTURGANOV, CHOKAN
ADDRESS AVAILABLE UPON REQUEST       (COTTONWOOD CANYON VINEYARD &         ADDRESS AVAILABLE UPON REQUEST
                                     WINERY)
                                     3940 DOMINION ROAD
                                     SANTA MARIA, CA 93454



BELA PATEL                           BELABRE, BREANNA                      BELAIEF, COREY
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BELAIR, LAUREN                       BELAIR, SUE                           BELAND, JARED
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BELANDRES, PRISCA                    BELANGER, ABIGAIL                     BELANGER, ALYSSA
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BELANGER, ANN                        BELANGER, BRITTANY                    BELANGER, DANIELLE
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BELANGER, DERRICK                    BELANGER, LISA                        BELANGER, NATALIE
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BELANGER, NICOLE       Case 22-11238-LSS    Doc
                                     BELANGER,   2 Filed 11/30/22
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                                                                            347 of 5495
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BELANI, RACHEL                       BELARDE, KOURTNEY                     BELARDI WONG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        39 BROADWAY, 32ND FLOOR
                                                                           NEW YORK, NY 10006




BELARDO, JEFFREY                     BELARMINO, AMANDA                     BELAVAL, LEONOR
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BELCHER, BEN                         BELCHER, CAROL                        BELCHER, CHRISTINA
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BELCHER, JAY                         BELCHER, JOELLE                       BELCHER, LAURA
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BELCHER, LINDSEY                     BELCHER, MARK                         BELCHER, TRILBY
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BELCZAK, SOPHIA                      BELDEN, EMILY                         BELDEN, SARA
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BELDEN, SARAH                        BELDEN, SHANIA                        BELDEN, WENDY
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BELDICK, DR. GARY                    BELEGRIN, ALEXANDRA                   BELEN, LISA
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BELEN, NICOLAS                       BELENDES, SHAYE                       BELENKY, PHILLIP
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BELESIS, IOANNIS       Case 22-11238-LSS    Doc
                                     BELFANCE,   2 Filed 11/30/22
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BELFI, KIMBERLY                      BELFIELD, ANGELA                      BELFIELD, AURELIA
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BELFIORE, BRIDGET                    BELFORD, BETHANY                      BELFORT, ZAYRA
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BELGARDE, ANNA                       BELGRAM, AMANDA                       BELGROVE, JONATHAN
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BELGUM, RACHEL                       BELICH, WHITNEY                       BELINDA ELKAIM
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BELINSKI, MOLLY                      BELIS, DAVID                          BELISLE, CLAIRE
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BELISLE, LISA                        BELISLE, STACY                        BELISLE, WAYNE
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BELIVEAU, SARAH                      BELIZAIRE, KELLY                      BELIZOR, STANLEY
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BELK, ALEX                           BELK, BRITTNEY                        BELK, KIM
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BELKE, CAROL                         BELKEN, KIRSTIN                       BELKLE, MARY
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BELKNAP, NATALIE       Case 22-11238-LSS
                                     BELKNAP,Doc 2 Filed 11/30/22
                                              RACHEL                  Page BELL
                                                                            349CAB
                                                                                of 5495
                                                                                   MANAGEMENT
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BELL, AARON                          BELL, ALAYNA                          BELL, ALEXANDRA
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BELL, ALLEGIANCE                     BELL, ALLISON                         BELL, ANNIE
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BELL, ASHLEY                         BELL, AUDREY                          BELL, AUDREY
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BELL, AUTUMN                         BELL, BARBARA                         BELL, BENECCA
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BELL, BRIAN                          BELL, CAITLIN                         BELL, CAMERON
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BELL, CAROLE                         BELL, CAROLYN                         BELL, CHASSIE
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BELL, CHELSEA                        BELL, CHRIS                           BELL, CHRIS
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BELL, CINDY                          BELL, COBY                            BELL, COURTNEY
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BELL, DANIELLE                       BELL, DARRIUS                         BELL, DAYSHA
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BELL, DELANA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BELL, DENISE                     Page BELL,
                                                                            350 DENISE
                                                                                 of 5495
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BELL, DEVON                          BELL, DIANE                           BELL, EDEN
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BELL, ELISABETH M.                   BELL, ELIZABETH                       BELL, ELIZABETH
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BELL, EMILY                          BELL, ERIC                            BELL, ERICA
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BELL, FLOYD                          BELL, HANNAH                          BELL, HANNAH
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BELL, HEATHER                        BELL, HEATHER                         BELL, HELENA
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BELL, JACLYN                         BELL, JAMES                           BELL, JAMES
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BELL, JAMES                          BELL, JANE                            BELL, JASMINE
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BELL, JAZMINE                        BELL, JENNIFER                        BELL, JERRY
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BELL, JESSICA                        BELL, JO                              BELL, JORDAN
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BELL, JUDY             Case 22-11238-LSS     Doc
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                                                                                 of 5495
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BELL, KARHLEEN                       BELL, KATHRYN                         BELL, KAYLYN
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BELL, KELSEY                         BELL, KERRA                           BELL, KEVIN
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BELL, KRISTEN                        BELL, KRISTOFER                       BELL, KRYSTAL
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BELL, LATISHA                        BELL, LAURA                           BELL, LAURA
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BELL, LAUREN                         BELL, LAUREN                          BELL, LAURYN
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BELL, LEAH                           BELL, LIBERTY                         BELL, LINDSAY
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BELL, LINDSEY                        BELL, LISA                            BELL, LISA
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BELL, LIZ                            BELL, LORRAINE                        BELL, LYNNA
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BELL, LYNNE                          BELL, MACKENZIE                       BELL, MADELEINE
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                                                                            352 MARLENA
                                                                                 of 5495
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BELL, MARTI                          BELL, MEGAN                           BELL, MEGAN
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BELL, MICHAEL                        BELL, MICHAEL                         BELL, MICHELLE
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BELL, MONICA                         BELL, MORGAN                          BELL, NATHAN
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BELL, NICOLE                         BELL, NOELLE                          BELL, NYA
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BELL, OLIVIA                         BELL, PAMELA                          BELL, PASCALE
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BELL, PAT                            BELL, PETER                           BELL, PRISCILLA
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BELL, RACHAEL                        BELL, RACHELANN                       BELL, REBECCA
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BELL, REBECCA                        BELL, RICHARD                         BELL, SARAH
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BELL, SARAH                          BELL, SHARN                           BELL, SHAWNA
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BELL, SHELBY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BELL, SHIRLEY                    Page BELL,
                                                                            353 STRELKA
                                                                                 of 5495
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BELL, SUSAN                          BELL, TAMMY                           BELL, TARA
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BELL, TAYLOR                         BELL, TAYLOR                          BELL, TAYLOR
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BELL, TIFFANY                        BELL, TIMOTHY                         BELL, TINA
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BELL, TYNE                           BELLA AVANESSIAN                      BELLA, BETSY AND TIM
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BELLACOME, LINDA                     BELLACOSA, ROBERT                     BELLAFANTE, KRISTIN
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BELLAFIORE, SAL                      BELLAFRONTE, LOUIS                    BELLAMY, ABBIE
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BELLAMY, ERICA                       BELLAMY, JESSICA                      BELLAMY, KRISTIN
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BELLAMY, MALIKA                      BELLAMY, RACHELL                      BELLAN, PATRICIA
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BELLANCA, SUZANNE                    BELLANDO, RACHEL                      BELLAR, JOSEPH
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BELLARD, HILDA         Case 22-11238-LSS
                                     BELLARE,Doc 2 Filed 11/30/22
                                              MAUREEN                 Page BELLARY,
                                                                            354 of 5495
                                                                                    MEGHANA
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BELLAVANCE, KENNETH                  BELLAVY, EMILY                        BELLAY, LAURENT
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BELLAY, STEPHANIE                    BELLBER, MASON                        BELLCOURT, CHLOE
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BELLE, CARLY                         BELLE, KWAME                          BELLELO, AARON
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BELLENBAUM, KRISTINE                 BELLENDIR, KRISTEN                    BELLENDIR, MATTHEW
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BELLENOIT, ROSS                      BELLER, AMY                           BELLER, KAPLAN
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BELLER, MAX                          BELLER, RACHEL                        BELLER, TRAVIS
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BELLET, MADISEN                      BELLETTI, JANICE                      BELLEVAGE, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BELLEVUE, SADE                       BELLEW, MADDY                         BELL-FREEMAN, DELLA
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BELL-HOERTH, CARRIE                  BELLI, JOSEPHINE                      BELLICOT, KRISTIN
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BELLIMER, KIM          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     BELLIN, ASHLEY                   Page BELLINA,
                                                                            355 of ANDREW
                                                                                    5495
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BELLINDER, LAUREN                    BELLINGAN, VJ                         BELLINGER, JASSMINE
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BELLINGER, JENNIFER                  BELLINGERI, COLLEEN                   BELLINGHAM, TANYA
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BELLINI, ALBERT                      BELLINI, NATALIE                      BELLIOTTI, MICHAEL
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BELLIS, AUDREY                       BELLIS, ROBERTA                       BELLISE, COLLEEN
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BELLISSIMO, ANNETTE                  BELLIVEAU, MEGHAN                     BELLIVEAU, SHEILA
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BELLIZIA, PATRICIA                   BELLIZZI, FRANK                       BELLMYER, LACEY
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BELLO, EDDY                          BELLO, JOHN                           BELLO, LETICIA
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BELLO, MELISSA                       BELLO, RENE J.                        BELLO, ROSANNY
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BELLO, SAMANTHA                      BELLOCCHIO, RICH                      BELLOCK, MELANIE
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BELLO-CONTE, LAURA     Case 22-11238-LSS    Doc
                                     BELLOISE,    2 Filed 11/30/22
                                               SALVATORE              Page BELLOMO,
                                                                            356 of 5495
                                                                                    GINA
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BELLOMO, NICOLA                      BELLONY, JEAN-CLAUDE                  BELLOPEDE, RON
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BELLOS, KATHY                        BELL-TAYLOR, NAETTA                   BELLUCCI, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BELLUCCI, LAWRENCE                   BELLUCHE, DANIEL                      BELLUCHE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BELLUM, LLC                          BELLUS, KATHLEEN                      BELLUSCI, MICHELLE
P.O. BOX 12958                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN LUIS OBISPO, CA 93406




BELLVILLE, SHARYN                    BELMONT, JUSTIN                       BELMONT, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BELMONTE, COLLEEN                    BELMONTE, JOHN                        BELMONTE, PETER
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BELNICK, JASON                       BELOIAN, LAURA                        BELOKOPITSKY, KATE
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BELON, JACQUELINE                    BELONGIE, NATALIE                     BELONY, AMANDA
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BELOT, DUSTIN                        BELOTA, SHELLY                        BELOTE, REBECCA
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                                     BELOVA, Doc
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                                                                            357 ofCATE
                                                                                   5495
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BELSHE, SANDY                        BELSITO, HAILEY                       BELSITO, JOE
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BELSON, CARLY                        BELSTLER, AMY                         BELT, CHLOE
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BELT, JENNA                          BELT, SHARIE                          BELT, STACEY
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BELT, SUSAN                          BELTA, CAITLIN                        BELTCHEVA, JORDANKA
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BELTER, DARLENE                      BELTMANN RELOCATION GROUP             BELTON, ALEC
ADDRESS AVAILABLE UPON REQUEST       13021 LEFFINGWELL AVE                 ADDRESS AVAILABLE UPON REQUEST
                                     SANTA FE SPRINGS, CA 90670




BELTON, CHARLOTTE                    BELTON, EVANGELINE                    BELTRAMI, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BELTRAMO, FERNANDO                   BELTRAMO, MILENA                      BELTRAN, ALEXIS
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BELTRAN, ANABEL                      BELTRAN, AUSTIN                       BELTRAN, BRITTANY
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BELTRAN, CIARA                       BELTRAN, ELICE                        BELTRAN, EUNICE
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BELTRAN, GABY          Case 22-11238-LSS
                                     BELTRAN,Doc  2 Filed 11/30/22
                                              JUSTIN                  Page BELTRAN,
                                                                            358 of 5495
                                                                                    KARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BELTRAN, MEGHAN                      BELTRAN, MULLIN                       BELTRAN, PAOLA
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BELTRAN, VONNY                       BELTRANI, DIANE                       BELTS, JESSICA
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BELTZ, ALEXANDRA                     BELTZ, TORI                           BELUE, TERRAN
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BELYEA, ZOEY                         BELYN, PAMELA                         BELYNA, NICOLE
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BELZA, EMMA                          BELZER, JOSEPH                        BELZUNG, CASIE
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BEM, HANNA                           BEMAN, JACOB                          BEMBRY, JAZNE
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BEMDIWARE (KT PROMOTIONAL LLC)       BEMENT, DANIEL                        BEMENT, WILLIAM
7 GRANITE PLACE UNIT 116             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GAITHERSBURG, MD 20878




BEMILLER, KIMBERLY                   BEMILLER, KIMBERLY                    BEMIS, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEMIS, THEODORE                      BEMISS, NICOLE                        BEN DETTMANN
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BEN HAGOOLI            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BEN HOBBS                        Page BEN
                                                                            359MEREDITH
                                                                                of 5495
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BEN PALATIERE, LARISSA ALLSUP AND    BEN SHULEVA                           BEN SUISKIND
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BEN VAN DER BUNT AND LAURA FOX       BEN VAN DER BUNT                      BEN YAIR, MAYA
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BEN ZARIFPOUR                        BENAIM, ANDREA                        BENALCAZAR, ANDREA
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BENALCAZAR, ROSE                     BENALLY, SUNNY                        BENANTI, MARY
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BENARD, CHLOE                        BENARES, SOFIA                        BENARIEH, TAL
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BENASSI, TAYLOR                      BENATI, LOREN                         BENAU, CASSANDRA
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BENAVIDES, DIANA                     BENAVIDES, KATELYN                    BENAVIDES, VANESSA
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BENAVIDEZ, BRADLEY                   BENAVIDEZ, COURTNEY                   BENAVIDEZ, NATALIA
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BENAY, MEGAN                         BENAZZI, HEATHER                      BENBANASTE, MELISSA
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BENBOW, CAMILLA        Case 22-11238-LSS
                                     BENBOW,Doc  2 CLAIRE
                                             ELLEN   Filed 11/30/22   Page BENBOW,
                                                                            360 of 5495
                                                                                   MIKAYLA
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BENBRAHIM, LILLYANNA                 BENCAL, CYNTHIA                       BENCE, BRODY
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BENCE, RYAN                          BENCE, TAMI                           BENCH, ASHLEIGH
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BENCH, MARY                          BENCHAYA, MICHELLE                    BENCHEIKH, CATHERINE
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BENCICH, SAMANTHA                    BENCIVENGA, LESLIE                    BENCOMO, ADRIANA
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BENCOMO, ALEJANDRO                   BENCZE, KELSEY                        BENDALA, POOJA
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BENDANA, MARTHA                      BENDEL, ELIZABETH                     BENDELL, DANIEL
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BENDER, BECCA                        BENDER, BOBBIE                        BENDER, COURTNEY
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BENDER, DEBRA                        BENDER, DEVIN                         BENDER, HANNAH
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BENDER, IVONNE                       BENDER, JULIE                         BENDER, JULIE
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BENDER, KATE           Case 22-11238-LSS
                                     BENDER,Doc
                                            LORE 2   Filed 11/30/22   Page BENDER,
                                                                            361 of MELANIE
                                                                                   5495
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BENDER, MERRYL                       BENDER, MISTY                         BENDER, NICOLE
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BENDER, REAGAN                       BENDER, SARAH                         BENDER, SHERRIE
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BENDER, STEPHANIE                    BENDER, TARA                          BENDER, TARA
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BENDER, TAYLOR                       BENDER, THOMAS                        BENDIK, JAY
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BENDIK, SHAUN                        BENDING, MICHAEL                      BENDIX, EMILY
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BENDIXEN, BARB                       BENDLE, ALEXANDRA                     BENDLE, HILLARY
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BENDORF, MOLLY                       BENDTSCHNEIDER, TODD                  BENDZEWICZ, LINDA
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BENDZSA, KYLE                        BENEAR, CARLEE                        BENEDEK, FLAVIA
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BENEDETTI, KELLY                     BENEDETTI, KIMBERLY                   BENEDETTI, KRYSTINA
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BENEDETTO, CAMERON     Case 22-11238-LSS    DocDORI
                                     BENEDETTO,  2 Filed 11/30/22     Page BENEDETTO,
                                                                            362 of 5495
                                                                                      KAREN
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BENEDETTO, NANCY                     BENEDICT, BRITTANY                    BENEDICT, CHRISTINA
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BENEDICT, DANA                       BENEDICT, GLENN                       BENEDICT, HANNAH
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BENEDICT, HEATHER                    BENEDICT, JORDAN                      BENEDICT, LESLEY
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BENEDICT, MAKAYLA                    BENEDICT, MARISSA                     BENEDICT, SAMI
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BENEDICT, SUZANNE                    BENEDICT, TORI                        BENEDIT, IRLANDA
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BENEDUCE, BRANDON                    BENEDUCI, JESSICA                     BENEDUM, MICHAEL
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BENEFIEL, ROXANNE                    BENEFIEL, TY                          BENEFIELD, CHARITY
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BENEFIELD, S&39;NETA                 BENEFIT, ALYSSA                       BENEKE, BRITNEY
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BENEKE, MEGAN                        BENELLI, COLIN                        BENENATE, PETER
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                                                                                    5495
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BENESH CHUDASAMA                     BENETTI, ANN MARIE                    BENEVENTANO, MARIA
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BENFASI, SAM                         BENFIELD, CHRISTINA                   BENFIELD, DANA
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BENFIELD, KATIE                      BENFIELD, SHANE                       BENFIELD, SYDNEY
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BENGE, ERIN                          BENGE, MARY                           BENGEL, DIRK
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BENGFORD, BREANNE                    BENGSTON, BROOKE                      BENGTSON, BRANDON
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BENGUSSIE, AIDA                      BENHAM, JESS                          BENHAMOU, MICHAEL
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BENHOFF, CHELSIE                     BENICHOU, CHLOE                       BENIGHT, HOLLY
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BENIGNO, JOE                         BENIGNO, LUKE                         BENINCASA, ANTHONY
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BENINGHOVE, TREY                     BENISCH, JUSTINE                      BENISH, CAROL
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BENISH, GERALDINE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BENISH, VIRGINIA                 Page BENISON,
                                                                            364 of 5495
                                                                                    FRANK
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BEN-ISRAEL, YURIEL                   BENITEZ, ANGELICIA                    BENITEZ, ANGELINE
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BENITEZ, BRIGITTE                    BENITEZ, CAROLINA                     BENITEZ, CHARISSE
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BENITEZ, JESSICA                     BENITEZ, KAREN                        BENITEZ, KARINA
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BENITEZ, LORI                        BENITEZ, MAGALYNE                     BENITEZ, NANCY
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BENITEZ, REBECA                      BENITEZ, ROSY                         BENITH, JUSTINE
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BENITHA GARCIA MINTZ                 BENITO, BETTINA                       BENITZ, CHRYSSI
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BENIVAMONDEZ, NATHAN                 BENJAMIN A SMITH                      BENJAMIN A VOLKHARDT III
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BENJAMIN ADAM DOWNS                  BENJAMIN ARTHUR GREINKE               BENJAMIN BRYANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BENJAMIN DAVID FRANKLIN              BENJAMIN DE LEON                      BENJAMIN FADEN
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BENJAMIN FORESTIER     Case 22-11238-LSS    Doc
                                     BENJAMIN    2 Filed 11/30/22
                                              GARCHAR                 Page BENJAMIN
                                                                            365 of 5495
                                                                                    GARCHAR
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BENJAMIN GILES                       BENJAMIN GUIDOLIN                     BENJAMIN HOOPER
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BENJAMIN ILER                        BENJAMIN J NELSON                     BENJAMIN J YODER
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BENJAMIN LEE SCHEICH                 BENJAMIN M LUBAN                      BENJAMIN MARION KOONTZ
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BENJAMIN MCNEILL                     BENJAMIN MICHAEL EGAN                 BENJAMIN MUDRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BENJAMIN PAUL                        BENJAMIN PERLEY                       BENJAMIN PIGGOTT
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BENJAMIN PIGGOTT                     BENJAMIN POTTS                        BENJAMIN PROZINSKI
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BENJAMIN ROSELLE                     BENJAMIN SCOTT DARLINGTON             BENJAMIN TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BENJAMIN WHITLA                      BENJAMIN WING-KAY LEE                 BENJAMIN ZAROUK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BENJAMIN ZASTOVNIK                   BENJAMIN ZEOLLA                       BENJAMIN, ALEXANDRA
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BENJAMIN, AMBER        Case 22-11238-LSS    Doc
                                     BENJAMIN,    2 Filed 11/30/22
                                               BECKY                  Page BENJAMIN,
                                                                            366 of 5495
                                                                                     BRADIE
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BENJAMIN, CORY                       BENJAMIN, DAVID                       BENJAMIN, DOROTHY
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BENJAMIN, ELDICA                     BENJAMIN, EMILY                       BENJAMIN, EMMA
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BENJAMIN, KERY                       BENJAMIN, KIMMI                       BENJAMIN, LAUREN
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BENJAMIN, LAURI                      BENJAMIN, MATTHEW                     BENJAMIN, MOLLIE
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BENJAMIN, SHELBY                     BENJAMIN, SHELBY                      BENJIMAN READ
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BENKA, SHARON                        BENKART, MEGAN                        BENKO, ISTVAN
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BENMAYOR, SIBEL                      BENMBAREK, MERIAM                     BENN, CORISSA
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BENN, ELIZABETH                      BENN, JILLIAN                         BENN, KYLEE
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BENNAKHI, AHMAD                      BENNARDO, ARIANA                      BENNER, ABBY
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BENNER, ADAM           Case 22-11238-LSS
                                     BENNER,Doc  2 Filed 11/30/22
                                            JENIFER                   Page BENNER,
                                                                            367 of JOHN
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BENNER, MADDISON                     BENNER, MELINDA                       BENNER, MEREDITH
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BENNER, MICHELE                      BENNER, TANA                          BENNER, TANYA
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BENNET, ANDY                         BENNET, REAGAN                        BENNETT A JORDAN II
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BENNETT B DARNELL                    BENNETT I MACHANIC                    BENNETT POULIN
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BENNETT, ALEXANDRA                   BENNETT, ALEXIS                       BENNETT, ALISA
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BENNETT, ALLIE                       BENNETT, ANGIE                        BENNETT, ANNIE
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BENNETT, APRIL                       BENNETT, ASHLEY                       BENNETT, ASHLEY
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BENNETT, ASHLEY                      BENNETT, BAILEY                       BENNETT, BARRY F
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BENNETT, BRENDA                      BENNETT, BRENDA                       BENNETT, BRYAN
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BENNETT, CALEY         Case 22-11238-LSS
                                     BENNETT,Doc 2 Filed 11/30/22
                                              CAMILLE                 Page BENNETT,
                                                                            368 of 5495
                                                                                    CAREY
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BENNETT, CAROLINE                    BENNETT, CHARLIE                      BENNETT, CHELSEA
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BENNETT, CHIP                        BENNETT, CHRISTEN                     BENNETT, CHRISTOPHER
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BENNETT, CICELE                      BENNETT, DANYELLE                     BENNETT, DEBI
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BENNETT, DEIRDRE                     BENNETT, DERRICK                      BENNETT, EDWARD
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BENNETT, ETHAN                       BENNETT, EVA                          BENNETT, GARY
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BENNETT, GREG                        BENNETT, HEATHER                      BENNETT, HUGH
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BENNETT, IRETON                      BENNETT, JACKSON                      BENNETT, JACQUELINE
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BENNETT, JAMES                       BENNETT, JENNIFER                     BENNETT, JESSICA
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BENNETT, JORDYN                      BENNETT, JOVAN                        BENNETT, JUDY
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BENNETT, KATE          Case 22-11238-LSS
                                     BENNETT,Doc 2 Filed 11/30/22
                                              KATHERINE               Page BENNETT,
                                                                            369 of 5495
                                                                                    KENDALL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BENNETT, KENT                        BENNETT, KEVIN                        BENNETT, KIERAN
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BENNETT, KYLE                        BENNETT, LACEY                        BENNETT, LANDON
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BENNETT, LAURA                       BENNETT, LAURA                        BENNETT, LAURA
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BENNETT, LAUREN                      BENNETT, LAYLA                        BENNETT, LESA
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BENNETT, LESLIE                      BENNETT, LINDSEY                      BENNETT, MARNIE
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BENNETT, MARY                        BENNETT, MCKENZIE                     BENNETT, MICHELLE
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BENNETT, NANCY                       BENNETT, NICOLE                       BENNETT, PAMELA
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BENNETT, PATRICK                     BENNETT, PAULINA                      BENNETT, PETER
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BENNETT, ROBIN                       BENNETT, ROXANNE                      BENNETT, SADIE
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BENNETT, SANDRA        Case 22-11238-LSS
                                     BENNETT,Doc
                                              SARA2  Filed 11/30/22   Page BENNETT,
                                                                            370 of 5495
                                                                                    SARAH
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BENNETT, SARAH                       BENNETT, SHANNA                       BENNETT, SHANNON
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BENNETT, SHARDAE                     BENNETT, SHIRLEY                      BENNETT, STACIE
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BENNETT, STEPHANIE                   BENNETT, SUSAN                        BENNETT, SYDNEY
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BENNETT, SYDNEY                      BENNETT, TARA                         BENNETT, TARA
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BENNETT, TERRY                       BENNETT, THERESA                      BENNETT, TIA
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BENNETT, TRISHA                      BENNETT, URSULA                       BENNETT, VANESSA
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BENNETT, VIKTORIJA                   BENNETT, WENDI                        BENNETT, WHITNEY
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BENNETT, ZACHARY                     BENNETTE, ANDREA                      BENNETT-HAUGHEY, HANNAH
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BENNETTS, CELINE                     BENNINGER, ABIGAIL                    BENNINGTON, KALIN
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BENNINGTON, RICHARD    Case 22-11238-LSS    Doc SUSAN
                                     BENNINGTON, 2 Filed 11/30/22     Page BENNINK,
                                                                            371 of 5495
                                                                                    CARLIE
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BENNIS, JAIME                        BENNIS, SHELLY                        BENNISON, EMILY
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BENNITT, FRED                        BENNY, KALEB                          BENOIT, CHRIS
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BENOIT, DONALD                       BENOIT, JOHN                          BENOIT, NIA
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BENOIT, SAMANTHA                     BENOV, CRAIG                          BENOWITZ, KALEE
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BENSEMA, DEBRA                       BENSKY, DANIELLE                      BENSMAN, JENNIFER
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BENSON KOSCHMIDER, ANNE              BENSON, A.J.                          BENSON, ADRIENNE
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BENSON, ALLISON                      BENSON, ANDREA                        BENSON, ANNE
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BENSON, ASHLEY                       BENSON, BARBARA                       BENSON, BARRETT
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BENSON, BAYLEY         Case 22-11238-LSS
                                     BENSON,Doc
                                            CAROL2 Filed 11/30/22        Page BENSON,
                                                                               372 of CAT
                                                                                      5495
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BENSON, CHARLES                      BENSON, DALE                             BENSON, DAVID
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BENSON, ELIZABETH                    BENSON, ELIZABETH                        BENSON, HALEY
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BENSON, HANNAH                       BENSON, IVA                              BENSON, JANELLE
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BENSON, JENNIFER                     BENSON, JILL                             BENSON, JIM
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BENSON, JUDY                         BENSON, KATHY                            BENSON, KEVIN
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BENSON, LEIGH ANN                    BENSON, LYNDA                            BENSON, MEGHAN
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BENSON, MONA                         BENSON, RHONDA                           BENSON, SARAH
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BENSON, STEPHANIE                    BENSON, STEPHANIE                        BENSON, TERENCE
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BENSON, TERRI LYNN                   BENSON/ C/O VAN RITE FAMILY, MARY        BENSTEN, WILLIAM
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BENT, IAN              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BENT, JENNIFER                   Page BENT,
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                                                                                 of 5495
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BENTELE, HANNAH                      BENTFIELD, KRISTI                     BENTFIELD, LEAH
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BENTFINGER INC (EFFINBE PODCAST)     BENTHIN, HELEN                        BENTIVENGA, SARAH
PO BOX 366                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MONROVIA, MD 21770




BENTIVOGLIO, BRIAN                   BENTLER, STEVE                        BENTLEY, BARBARA
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BENTLEY, BRIANNA                     BENTLEY, CHELSEA                      BENTLEY, CINDY
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BENTLEY, COLIN                       BENTLEY, DAVE                         BENTLEY, DAVID
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BENTLEY, HANNAH                      BENTLEY, KYLE                         BENTLEY, LEAH
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BENTLEY, LISA                        BENTLEY, LYNNE                        BENTLEY, MADISON
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BENTLEY, NIKKI                       BENTLEY, PATRICK                      BENTLEY, PATTY
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BENTLEY, SHANNON                     BENTLEY, STEPHEN                      BENTON, ALEXANDRIA
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BENTON, ALYSSA         Case 22-11238-LSS
                                     BENTON,Doc  2 Filed 11/30/22
                                            BRENDA                    Page BENTON,
                                                                            374 of EMILY
                                                                                   5495
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BENTON, FRANCY                       BENTON, JOHN                          BENTON, KAREN
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BENTON, KATIE                        BENTON, KRISTEN                       BENTON, LINDSEY
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BENTON, MAGGIE                       BENTON, MEGAN                         BENTON, MOLLY
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BENTON, SUMMER                       BENTOV, YEHUDA                        BENTRIM, HALEY
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BENTROTT, BRYAN                      BENTZ, BRIANNA                        BENTZ, DAVI
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BENTZ, GARRETT                       BENTZONI, SHELBY                      BEN-TZUR, JONATHAN
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BENUDIS, ELISSA                      BENUSA, MICHELLE                      BENVENUTO, ALEXANDER
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BENVENUTO, ALYSSA                    BENVENUTO, ELAINE                     BENVENUTO, JOELLE
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BENVENUTO, LARAINE                   BENVENUTO, NANCY                      BENVENUTO, NICOLE
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BENYA, MELINDA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BENYA, REBECCA                   Page BENYAH
                                                                            375 ofSHAPARENKO
                                                                                   5495
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BENZ, CHRISTINE                      BENZ, KAREN                           BENZ, MADELINE
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BENZ, MONICA                         BENZ, SIGRID                          BENZA, KIMBERLY
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BENZAN-DUVAL, CHLOE                  BENZAQUEN, MERCY                      BENZEL, CRAIG
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BENZENBERG, ROBERT                   BENZIE, ASHLEY                        BENZIGER, AMY
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BEPPLER, LEAH                        BEQUETTE, JEANINE                     BER, MARY
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BERA, DESIREE                        BERANEK, CAROLYN                      BERANEK, DAVID
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BERARD, KAITLYN                      BERARDI, GIOVANNA                     BERARDI, TARA
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BERARDO, SUZY                        BERARDUCCI, ALICE                     BERBER, SHARON
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BERBERABE, ROSE                      BERBERICH, ANGELA                     BERBERICH, JEANETTE
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BERBOS, SARAH          Case 22-11238-LSS
                                     BERCAW,Doc
                                             LUKE2   Filed 11/30/22   Page BERCELI,
                                                                            376 of LISA
                                                                                    5495
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BERCHIELLI, JOANNA                   BERCIAN, JUAN                         BERCUME, ELIZABETH
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BERCZUK, KRISTEN                     BERDAN, MOLLY                         BERDOLL, PHIL
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BEREGI, KANDICE                      BERENATO, KERRY                       BERENATO, SOPHIA
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BERENBAUM, PETER                     BERENDS, SUMMER                       BERENDSEN, LISA
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BERENDZEN, VICTORIA                  BERENGUER, JACKIE                     BERENS, DIAN
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BERENS, JONATHAN                     BERENS, MICHELE                       BERENSON, MARY
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BERENSON, THEODORA                   BERENT, ASHLEY                        BERENYI, BRITTANY
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BERENZ, BROOKLYN                     BERENZ, ERIN                          BERESFORD, JIM
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BERESH, STEVE                        BERESNEVA, ELENA                      BERESOVOY, NANCY
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BERETTA, CAROLINA      Case 22-11238-LSS
                                     BERETTA,Doc 2 Filed 11/30/22
                                              REBEKAH                 Page BEREZNIAK,
                                                                            377 of 5495
                                                                                      SVETLANA
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BEREZNICKI, MICHELLE                 BERG POWERS, CARA                     BERG, ALICIA
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BERG, ALTHEA                         BERG, AMANDA                          BERG, AMBER
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BERG, ANA                            BERG, ARNE                            BERG, BAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERG, BEV                            BERG, BLAKE                           BERG, CAROLYN
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BERG, CHELSEA                        BERG, CHRISTINE                       BERG, DANIELLE
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BERG, DAVID                          BERG, DILLON                          BERG, EBEN
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BERG, EMILY                          BERG, HEATHER                         BERG, HEIDI
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BERG, JENNIFER                       BERG, JULIANN                         BERG, KATRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERG, KELSEY                         BERG, KIM                             BERG, KJERSTIN
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BERG, KORY             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BERG, KRISTIN                    Page BERG,
                                                                            378 of  5495
                                                                                 LILY
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BERG, LISA                           BERG, LISA                            BERG, MICHAEL
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BERG, ROBYN                          BERG, SHELBY                          BERG, STEFANI
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BERG, SUSAN                          BERG, TORE                            BERGAMASCO, DENA
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BERGAMESCA, DANIEL                   BERGAMO, PETER                        BERGAMOTTO, JENNIFER
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BERGAN, MAE                          BERGAN, MAUREEN                       BERGANINI, DANIELLE
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BERGANTINO, PATRICIA                 BERGBOWER, EMILY                      BERGE, MAREN
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BERGE, TIFFANY                       BERGEMAN, FELICIA                     BERGEN, ANTHONY
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BERGEN, ELISABETH                    BERGEN, KRISTY                        BERGEN, LAUREN
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BERGEN, NETTIE                       BERGENHEM, NILS                       BERGER BROS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
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                                    BERGER,Doc
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                                                                           379 of CHRIS
                                                                                  5495
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BERGER, CLAIRE                      BERGER, DAYA                          BERGER, DOREEN
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BERGER, ELIZABETH                   BERGER, ELLA                          BERGER, JAMIE
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BERGER, JIM                         BERGER, JOEL                          BERGER, JOYCE
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BERGER, JULIA                       BERGER, JULIE                         BERGER, KATELYN
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BERGER, KEITH                       BERGER, LAURA                         BERGER, LISA
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BERGER, MIKE                        BERGER, OLGA                          BERGER, REBECCA
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BERGER, SANDY                       BERGER, SHEILA                        BERGER, SUSAN
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BERGER, SUSAN                       BERGER, SYLVIA                        BERGER, TERESA A
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BERGER, VICTORIA                    BERGERON, ABIGAIL                     BERGERON, AMY
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BERGERON, BREANNA      Case 22-11238-LSS   Doc
                                     BERGERON,   2 Filed 11/30/22
                                               JENNIFER                  Page BERGERON,
                                                                               380 of 5495
                                                                                        KATIEMAE
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BERGERON, KRISTIN                       BERGERON, LINDA                       BERGERON, MARIA
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BERGERON, MIRI                          BERGERON, PATRICIA                    BERGERON, ROMAN
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BERGERON, SARA                          BERGERON, SARAH                       BERGERON, SCOTT
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BERGERON, SHERRY                        BERGERON, STEPHANIE                   BERGERON, WENDY
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BERGES, NANCY                           BERGESON, MADDIE                      BERGESON, PAM
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BERGEY, KRISTIN                         BERGFALK, CHRIS                       BERGFELD, JESSI
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BERGFELD, KATIE                         BERGGREN, JENNY                       BERGH, JENNIFER
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BERGHOFF CAFE                           BERGIA, ANDREA                        BERGIN, KAITLIN
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BERGIN, KEELY                           BERGIN, KEVIN                         BERGIN, MICHAEL
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BERGIN, TRACEY         Case 22-11238-LSS    Doc
                                     BERGJANS,   2 Filed 11/30/22
                                               DANIEL                 Page BERGKAMP,
                                                                            381 of 5495
                                                                                     WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERGLEY, EMILY                       BERGLIN, ANNA                         BERGLIN, KEISHA
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BERGLOFF, DAVID                      BERGLUND, ABBY                        BERGLUND, KATHLEEN
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BERGLUND, KELSEY                     BERGLUND, MARY                        BERGLUND, PAULA
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BERGLUND, RAYMOND                    BERGMAN, ANNIE                        BERGMAN, BRIDGET
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BERGMAN, DONALD                      BERGMAN, ERIC                         BERGMAN, JESSICA
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BERGMAN, KAT                         BERGMAN, MARY ANNE                    BERGMAN, MICHAEL
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BERGMAN, NOLINA                      BERGMAN, SUSAN                        BERGMAN, ZACHARY
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BERGMANN, DONNA                      BERGMANN, GABRIELLE                   BERGMANN, HEATHER
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BERGMANN, JESSICA                    BERGMANN, RYAN                        BERGMANN, TROY
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BERGOU, KATALIN        Case 22-11238-LSS   DocSKYE
                                     BERGQUIST,  2 Filed 11/30/22     Page BERGQUIST,
                                                                            382 of 5495
                                                                                      TREVA
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BERGREN, MELISSA                     BERGS, VICTORIA                       BERGSMAN, MARGIE
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BERGSTEDT, ELLIE                     BERGSTEIN, SAMARA                     BERGSTRASSER, MARTIN
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BERGSTROM, ERIK                      BERGSTROM, JESSICA                    BERGSTROM, KATE
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BERGSTROM, PRIYA                     BERGSTROM, REBECCA                    BERGSTROM, TARYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERGUM, AMY                          BERGUM, MADELINE                      BERGWALL, TORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERHALTER, STEPHANIE                 BERHE, SABA                           BERHENKE, TAMIE
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BERI, NINA                           BERI, SHAM                            BERICAL, TRACEY
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BERICH, RYAN                         BERINGER, ARIEL                       BERINGER, PATRICIA
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BERINGER, TAELOR                     BERINGHELE, TRUDY                     BERIS, JEREMY
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BERISH, BRANDIE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BERISH, KELSEY                   Page BERK,
                                                                            383 of 5495
                                                                                 ANDREW
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BERK, CHARLIE                        BERK, KEN                             BERK, SARA
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BERKE, LAURA                         BERKE, TAL                            BERKEBILE, PATRICIA
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BERKEN, JOY                          BERKERY, ABBY                         BERKERY, JOSEPH
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BERKERY, SHANNON                     BERKEY, STEPHEN                       BERKLEY, EILEEN
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BERKLEY, LISA                        BERKLEY, MARSHA                       BERKLITE, JESSICA
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BERKMAN, BONNIE                      BERKON, KEIKO                         BERKOVITZ, ZOE
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BERKOWITZ, ANDI                      BERKOWITZ, ARIEL                      BERKOWITZ, BARRY
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BERKOWITZ, DANIELLA                  BERKOWITZ, DAVID                      BERKOWITZ, EMILY
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BERKOWITZ, HANNAH                    BERKOWITZ, LAUREN                     BERKOWITZ, MARVIN
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BERKOWITZ, PATRICIA    Case 22-11238-LSS
                                     BERLAM, Doc 2 Filed 11/30/22
                                             MICHAEL                    Page BERLAND,
                                                                              384 of 5495
                                                                                      TERRANCE
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BERLANGA, ANNA                       BERLIN PACKAGING LLC                    BERLIN PACKAGING LLC
ADDRESS AVAILABLE UPON REQUEST       525 W. MONROE STREET, 14TH FLOOR        P.O. BOX 74007164
                                     CHICAGO, IL 60661                       CHICAGO, IL 60674-7164




BERLIN PACKAGING LLC                 BERLIN, JACQUELINE                      BERLIN, PRYCE
PO BOX 95584                         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60694-5584




BERLIN, SABRINA                      BERLIN, SUSIE                           BERLINER, PAUL
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BERLONI, DOROTHY                     BERMAN, ALAN                            BERMAN, ELIZABETH
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BERMAN, ELLEN                        BERMAN, EMILIE                          BERMAN, JULIA
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BERMAN, MICHELE                      BERMAN, ROCHELLE                        BERMAN, SAMANTHA
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BERMAN, STEPHANIE                    BERMEO, ERIN                            BERMINGHAM, MARY
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BERMUDEZ, JENNY        Case 22-11238-LSS   Doc
                                     BERMUDEZ,   2 Filed 11/30/22
                                               JESSICA                Page BERMUDEZ,
                                                                            385 of 5495
                                                                                     JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERMUDEZ, JULIANA                    BERMUDEZ, JULIO                       BERMUDEZ, KAYLA
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BERMUDEZ, MARIA                      BERMUDEZ, MICHAEL                     BERNA, EVAN
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BERNABEI, LEAH                       BERNADETT, GABRIELA                   BERNADETTE CHEN
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BERNAL, ALLIE                        BERNAL, JACKIE                        BERNAL, JORDAN
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BERNAL, JORGE                        BERNAL, KATRINA                       BERNAL, MEGAN
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BERNAL, ROSAANA                      BERNAL, TWILA                         BERNALES, DANIELA
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BERNALILLO GP INC                    BERNARD ESTIN                         BERNARD PUDIMOTT
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BERNARD, ALEXANDER                   BERNARD, AMANDA                       BERNARD, ARRIE MARIE
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BERNARD, AVA           Case 22-11238-LSS   Doc
                                     BERNARD,    2 Filed 11/30/22
                                              BRANDI                    Page BERNARD,
                                                                              386 of 5495
                                                                                      BRYANNA
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BERNARD, BRYCE                       BERNARD, CHELSEIGH                      BERNARD, DEVANDRIA
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BERNARD, LETHIA                      BERNARD, MARISA                         BERNARD, MARKENLIE
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BERNARD, MATTHEW                     BERNARD, NINA                           BERNARD, NOVEMBER
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BERNARD, PRISCILLA                   BERNARD, RON                            BERNARD, SHAINA
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BERNARDINI, PATRICIA                 BERNARDINOS & CARVALHO, SA              BERNARDO M DEL HIERRO
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BERNARDO, EMILY        Case 22-11238-LSS   Doc
                                     BERNARDO,   2 Filed 11/30/22
                                               MIKE                   Page BERNARDO-HINESLEY,
                                                                            387 of 5495       SHERYL
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BERNARDS, CHRISTINA                  BERNAS, MARISSA                       BERNASCONI, MICHELLE
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BERNASCONI, NICOLE                   BERNAT, ABIGAIL                       BERNATH, JOSHUA
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BERNAU, ERIN                         BERNAUER, SARAH                       BERND, SARAH
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BERNDT, ERIC                         BERNDT, JUSTINE                       BERNDT, LAURA
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BERNDT, SCOTT                        BERNECKER, KOURTNEY                   BERNELL, RON
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BERNER, EVAN                         BERNER, MARY                          BERNER, MEGAN
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BERNFIELD, JESSICA                   BERNHARD, BARRY                       BERNHARD, CAITLYN
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BERNHARDT, ANN DOLORES               BERNHARDT, KEVIN                      BERNHARDT, SYDNEY
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BERNHEIM, JAMIE                      BERNHEIM, NATHAN                      BERNHJELM, KATIE
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BERNHOFT, BETHANY      Case 22-11238-LSS   Doc
                                     BERNHOLZ,    2 Filed 11/30/22
                                               JEFFREY                Page BERNICK,
                                                                            388 of 5495
                                                                                    CRAIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERNIER, ASHLEY                      BERNIER, ASHLEY                       BERNIER, BLAIR
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BERNIER, CHRISTOPHER                 BERNIER, DANIELLE                     BERNIER, MAUREEN
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BERNING, EMILY                       BERNING, EMMY                         BERNING, LAURA
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BERNINGER, ALY                       BERNO, SARAH                          BERNOT, CRYSTAL
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BERNS, KRISTINA                      BERNS, MARLEY                         BERNSEE, TIFFANNY
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BERNSTEIN, ALYSSA                    BERNSTEIN, DIANA                      BERNSTEIN, ELEANOR
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BERNSTEIN, EMILY                     BERNSTEIN, JAKE                       BERNSTEIN, JAMES
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BERNSTEIN, RHODA       Case 22-11238-LSS    Doc
                                     BERNSTEIN,   2 Filed 11/30/22
                                                SAM                   Page BERNSTEIN,
                                                                            389 of 5495
                                                                                      SAMI
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BERNSTEIN, TONY                      BERNTSEN, SARAH                       BERO, KATIE
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BERO, STEVEN                         BEROKOFF, JEFF                        BERON HARPER, LAURA
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BERONA, BARRY                        BEROTH, MARK                          BERQUAM, THOMAS
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BERQUIST, ASHLEY                     BERRA, JASON                          BERRA, THERESA
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BERRES, AMANDA                       BERRES, MACKENZIE                     BERRESFORD, JOSH
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BERRETH, ASHLEY                      BERRETTINI, SAMUEL                    BERRIAN, THOMAS
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BERRIDGE, JENNIFER                   BERRIEN, WHITNEY                      BERRIER, TAYLOR
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BERRIGAN, KATHERINE                  BERRINGER, CAROL                      BERRINGER, TIFFANY
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BERRIOS, DAVID                       BERRIOS, EDDALIZ                      BERRIOS, JULIO
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BERRIOS, WILFREDO      Case 22-11238-LSS
                                     BERRON,Doc
                                            M    2 Filed 11/30/22        Page BERRONG,
                                                                               390 of 5495
                                                                                       SHERI
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BERRY, ELISABETH                     BERRY, ELIZABETH                         BERRY, EMILY
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BERRY, FRITZ                         BERRY, HANNAH                            BERRY, IAN
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BERRY, JAMES                         BERRY, JAMI                              BERRY, JANET
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BERRY, JENNIFER                      BERRY, JENNY                             BERRY, JESSICA
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BERRY, JORDYN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BERRY, JOSH                      Page BERRY,
                                                                            391 ofJULIE
                                                                                    5495
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BERRY, JUSTIN                        BERRY, KATE                           BERRY, KATE
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BERRY, KATHY                         BERRY, KELLEY                         BERRY, KELSIE
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BERRY, KIMBERLY                      BERRY, KRISTEN                        BERRY, KYLIE
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BERRY, LAURA                         BERRY, LEAH                           BERRY, MACK
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BERRY, MARTIN                        BERRY, MEGAN                          BERRY, MEGAN
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BERRY, MEGHAN                        BERRY, MERRY                          BERRY, MICHAEL
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BERRY, MILLARD                       BERRY, MJ                             BERRY, NANCY
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BERRY, PETER                         BERRY, RACHEL                         BERRY, RACHEL
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BERRY, RACHEL                        BERRY, RANDA                          BERRY, REAGAN
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BERRY, REBECCA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BERRY, RENEE                     Page BERRY,
                                                                            392 ofSCOTT
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERRY, SHANE                         BERRY, SIMONE                         BERRY, STEFANIE
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BERRY, TIFFANY                       BERRY, TRACEY                         BERRY, VICTORIA
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BERRY, WHITNEY                       BERRYANN, DANIELLE                    BERRYHILL, KELSEY
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BERRYMAN, ALYSSA                     BERRYMAN, MARK                        BERRYMAN, MELYNDA
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BERRYMAN, MICHELLE                   BERRYMAN, TESSA                       BERRYMAN, THOMAS
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BERRY-MATHIS, SABRINA                BERRY-STRUBE, SHANNON                 BERSCHEIT, KELLY
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BERSHAW, JENNIFER                    BERSIN, ADAM                          BERSTER, JESSICA
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BERT, JENNIFER                       BERT, RYAN                            BERTAGNOLLI, MARK
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BERTELLI, LORI                       BERTELSEN, JANE                       BERTELSEN, SOPHIE
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BERTERO, VICTORIA      Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BERTHA MORALES                   Page BERTHIAUME,
                                                                            393 of 5495ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERTHIAUME, MICHELLE                 BERTHIAUME, RENEE                     BERTHOUD, MATTHEW
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BERTI, PAUL                          BERTI, VICTORIA                       BERTINI, ELIZABETH
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BERTINI, MICHAEL                     BERTINO, SAMUEL                       BERTLING, ALEXIS
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BERTOCCI, JULIANA                    BERTOCCI, KIM                         BERTOLDO, TREALA
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BERTOLINE, MEG                       BERTOLINI, ALEX                       BERTOLINO, JEANNE
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BERTOLLI, KARENA                     BERTOLUCCI, JILLIAN                   BERTON, CHARLES
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BERTON, RANDI                        BERTORELLI, RENE                      BERTRAM, ALLI
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BERTRAM, DONNA                       BERTRAM, JANE                         BERTRAM, JOHN
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BERTRAM, TARA                        BERTRAN, MOISES                       BERTRAN, REBECCA
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BERTRAND, ASHLYN       Case 22-11238-LSS    Doc
                                     BERTRAND,   2 Filed 11/30/22
                                               HEATHER                Page BERTRAND,
                                                                            394 of 5495
                                                                                     KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BERTRAND, KORALY                     BERTRAND, LANCE                       BERTRAND, MERYL
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BERTSCH, CYNTHIA                     BERTSCH, MEAGHAN                      BERTSCH, MICHAEL
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BERTSCHI WRIGLEY, ALEXANDER          BERTUCCI, TIFFANY                     BERTUGLIA, RENEE
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BERUBE, ADAM                         BERUBE, AMY                           BERUBE, CATHERINE
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BERUBE, MARK                         BERUBE, MARY BETH                     BERUBE, ROBIN
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BERUBE, TAYLOR                       BERUBE-RIVERA, AMY                    BERWICK, CAITLIN
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BERWICK, EMRYS                       BERZELLINI, CANDACE                   BERZINS, ALEKSANDRA
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BERZINSKI, CARMEN                    BESCH, ADRIANA                        BESCH, SHANNON
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BESCHINSKI, JENNIFER                 BESEDA, OLIVIA                        BESHEARS, MICHELLE
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BESHEARS, RICHARD      Case 22-11238-LSS   Doc
                                     BESHORE,     2 Filed 11/30/22
                                              DIANA                      Page BESITULA,
                                                                               395 of 5495
                                                                                        MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BESKAR, XAVQIOR                      BESKE, JESSICA                           BESKE, TORI
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BESKOW, TINA                         BESLEY, DONNA                            BESOZZI, LAURA
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BESS, CAROLE                         BESS, EMY                                BESS, ERICA
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BESS, JAY                            BESS, LAURA                              BESS, NIKITA
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BESSEL, LARRY                        BESSEMER VENTURE PARTNERS VIII           BESSEMER VENTURE PARTNERS VIII
ADDRESS AVAILABLE UPON REQUEST       INSTITUTIONAL LP                         INSTITUTIONAL LP
                                     1865 PALMER AVENUE SUITE 104             535 MIDDLEFIELD ROAD SUITE 245
                                     LARCHMONT, NY 10538                      MENLO PARK, CA 94025




BESSENT, MARK                        BESSETTE, LINDSAY                        BESSEY, DEBRA
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BESSINGER, MARI                      BESSON, DAVID                            BESSONOV, OKSANA
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BEST BAD INFLUENCE, LLC              BEST BAY LOGISTICS INC                   BEST BUY
1600 DIVISION ST, SUITE 225          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING
NASHVILLE, TN 37203




BEST CHEFS MANAGEMT ,LLC             BEST COAST WINES                         BEST COAST WINES
PO BOX 3222                          1827 WHITECLIFF WAY                      CASTORO CELLARS
LOUISVILLE, KY 40201                 SAN MATEO, CA 94402                      6465 VON DOLLEN RD
                                                                              SAN MIGUEL, CA 93451
                        Case 22-11238-LSS
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BEST, DIVINE                         BEST, DOGZ                             BEST, FERN
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BEST, GAVIN                          BEST, HANNAH                           BEST, JEFF
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BEST, KASEY                          BEST, KENNEDY                          BEST, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BEST, LORRAINE                       BEST, MICHAEL                          BEST, MOLLYLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BEST, MONICA                         BEST, SHAKIRA                          BEST, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BEST, TAMMY                          BESTARD, BLAKE                         BESTCARE, INC., ILYNE RABINOWITZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BESTER, MARISSAH                     BESWICK, VICTORIA                      BETANCES, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BETANCOURK, TASHANA                  BETANCOURT, JEFF                       BETANCOURT, KATALINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BETANCOURT, KATHERINE                BETANCOURT, YAZIL                      BETANCOURT, YOBALIS
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BETANCUR, ALEJANDRA    Case 22-11238-LSS    Doc
                                     BETANCUR,   2 Filed 11/30/22
                                               JUAN                     Page BETAR,
                                                                              397 ofSARAH
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BETAU, KRISTIN                       BETCHES LLC                             BETH A HOFFMAN ROTH IRA
ADDRESS AVAILABLE UPON REQUEST       37 WOODLAND ROAD                        ADDRESS AVAILABLE UPON REQUEST
                                     ROSLYN, NY 11576




BETH A TRACY                         BETH FORTMUELLER                        BETH GLAZER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BETH KOWALSKI                        BETH LEMANACH (ENTERTAINING WITH        BETH MUNFORD
ADDRESS AVAILABLE UPON REQUEST       BETH)                                   ADDRESS AVAILABLE UPON REQUEST
                                     5923 CORBIN AVE.
                                     TARZANA, CA 91356




BETH ROWLEY                          BETH THOMPSON                           BETH WILLIAMS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BETH                                 BETH, JEAN                              BETH, KACIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BETH, MARY                           BETH, MARY                              BETH, MARY
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BETH, SARAH                          BETHANCOURT, PATRICIA                   BETHANY ANN ODELL
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BETHANY DUNAJ                        BETHANY FRENCH                          BETHANY HRABUSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BETHANY LATORRE                      BETHANY MCCLAIN                         BETHANY SMITH
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BETHANY SORRELL        Case 22-11238-LSS
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                                             WALTON                   Page BETHEA,
                                                                            398 of BARBARA
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BETHEA, LAUREN                       BETHEL CLEANING SERVICES, LLC         BETHEL TOWNSHIP
ADDRESS AVAILABLE UPON REQUEST       3038 FOULK RD.                        CODE ENFORCEMENT OFFICE
                                     GARNET VALLEY, PA 19060               1092 BETHEL ROAD
                                                                           GARNET VALLEY, PA 19060




BETHEL, BRANDON                      BETHEL, JAMES                         BETHEL, JENN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BETHEL, MARY                         BETHELMIE, FLOYD                      BETHHAUSER, ERIKA
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BETHKE, DIANA                        BETHKE, KRIS                          BETHKE, MEGHAN
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BETHMANN, ERIKA                      BETHUNE, BERNANETTE                   BETHUNE, CARLOS
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BETHUNE, KIARA                       BETHUNE, RANDALL                      BETHUNE, SONJA
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BETHUNE, TARA                        BETHUREM, COLTER                      BETIN, DARYA
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BETKA, LARISSA                       BETLACH, SCOTT AND JODY               BETLEY, ALLYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BETLEY, COURTNEY                     BETRU, TINA                           BETSCH, ZACHARY
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BETSCHMAN, SUSAN       Case 22-11238-LSS
                                     BETSON, Doc 2 Filed 11/30/22
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                                                                                    of 5495
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BETTENCOURT, ANA                        BETTENCOURT, CARLEY                   BETTENHAUSER, KEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BETTER UPTIME                           BETTER WITH BACON GROUP               BETTERMENT FOR BUSINESS, LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   PO BOX 204653                         61 W. 23RD ST, 5TH FLOOR
                                        DALLAS, TX 75320-4653                 NEW YORK, NY 10010




BETTERMENT FOR BUSINESS, LLC            BETTERS, BRIANA                       BETTERS-MIDTVEDT, AMY
8 W 24TH ST, FLOOR 6                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10010




BETTHAUSER, BONITA                      BETTHAUSER, TAYLOR                    BETTI, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BETTIS, BLAKE                           BETTIS, ELIZABETH                     BETTIS, HEATHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BETTIS, JON                             BETTISON, MEGAN                       BETTIUS, KAREN
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BETTNER, CHASE                          BETTNER, KRISTINA                     BETTON, MARY
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BETTONI, NANDYELLI                      BETTS, COURTNEY                       BETTS, DORA
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BETTS, KARLEE                           BETTY CELSKI                          BETTY HILL
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BETTY J AYERS          Case 22-11238-LSS
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BETTY, PATTY                         BETTYE HARTWELL                       BETZ, DENE
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BETZ, JENNI                          BETZ, MARY                            BETZ, MICHAEL
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BETZ, STEPHANIE                      BETZ, TESSA                           BETZ, THOM
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BETZ, WILLIAM                        BETZA, SHALYNN                        BETZNER, BRAEDON
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BEUCHEL, ASHLEY                      BEUG, DIANA                           BEUK, JILL
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BEUKEMA, JOHANNA                     BEUKEMA, PHILIP                       BEULAH LAND INVESTMENT GROUP LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        44428 SOUTH BAPTIST RD
                                                                           HAMMOND, LA 70401




BEURLE, JAMES                        BEUSCHER, KRISTIN                     BEUTE, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEUTEL, MARGARET                     BEUTNER, SARA                         BEVACQUA, RONALD
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BEVAN, AMANDA                        BEVAN, APRIL                          BEVAN, FRANK
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BEVAN, NATE            Case 22-11238-LSS    Doc 2 INDEMNITY,
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BEVANS, APRIL                           BEVANS, SHADEREON                     BEVENOUR, MEGHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEVER, HOLLY                            BEVER, JORDAN                         BEVER, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEVER, SAVANNAH                         BEVERAGE CONTAINER LABEL              BEVERAGE MARKETING & MORE INC.
ADDRESS AVAILABLE UPON REQUEST          REGISTRATION                          92-1086 OLANI STREET APT 3
                                        AND LICENSING PORTAL                  KAPOLEI, HI 96707




BEVERAGE WAREHOUSE                      BEVERAGE, ADAM                        BEVERAGE, JAMIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEVERAGES & MORE                        BEVERIDGE, JANE                       BEVERIDGE, NICOLE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEVERLEY, ANNA                          BEVERLY AMMONS                        BEVERLY SMITH
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BEVERLY, ALICIA                         BEVERLY, ANN                          BEVERLY, YOLONDA
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BEVERS, JESSICA                         BEVICH, MICHELLE                      BEVILACQUA, JENNIFER
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BEVILACQUA, KATERINA                    BEVILACQUA, KEVIN                     BEVILACQUA, LOU
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                                                                            402 of 5495SHARI
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BEVILACQUA, SIRENA                   BEVILL, ANNA                          BEVILLE, LYNN
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BEVIN, JAMIE                         BEVINGTON, JUDITH                     BEVINS, DYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEVZERO SERVICES, INC.               BEWLEY, ERIN                          BEX, KRISTIN
1450 AIRPORT BLVD. SUITE 180         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA ROSA, CA 95403




BEY, ADILAH                          BEY, MAJOUR                           BEYELER, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BEYER, ALEX                          BEYER, ALEXIS                         BEYER, AMANDA
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BEYER, ANGELA                        BEYER, BETHANY                        BEYER, BRAIN
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BEYER, BRENDAN                       BEYER, JANICE                         BEYER, JEN
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BEYER, JENNA                         BEYER, JESSIKA                        BEYER, JULIE
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BEYER, KAITLYN                       BEYER, LACEY                          BEYER, MARIA
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BEYER, PAIGE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BEYER, ROBIN                     Page BEYER,
                                                                            403 ofSTEPHEN
                                                                                   5495
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BEYER-JOHNSON, KIM                   BEYNON, DOUG                          BEYNON, LAURA
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BEYRLE, SAM                          BEYROUTI, JAY                         BEYT, JILL
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BEZ, SUSAN                           BEZ, VALERIE                          BEZARES, DIANA
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BEZDEK, JESSE                        BEZIO, GABRIELA                       BEZMEN, LAUREN
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BEZNOSKA, SARAH                      BEZOZA, MICHEL                        BEZUIDENHOUT, DIVAN
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BEZYANOV, THEO                       BFIT CORP EPSP 401K                   BHABHALIA, SONYA
ADDRESS AVAILABLE UPON REQUEST       673 NILE RIVER DRIVE                  ADDRESS AVAILABLE UPON REQUEST
                                     OXNARD, CA 93036




BHACHU, JAS                          BHADA, CARRIE                         BHADKAMKAR, SUCHITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BHAGAT, HITA                         BHAGAUTI, AMANDA                      BHAGWAT, SAMIR
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BHAKTA NUNEZ, BHAVISHA               BHAKTA, AMAR                          BHAKTA, NIKITA
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BHALJA, AAKRUTI        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BHALLA, AISHWARYA                Page BHALLA,
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BHALLA, EESHA                        BHALLA, RUCHIKA                       BHAMLA, AYAAS
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BHAN, JASON                          BHANDARAM, SUNDARA                    BHANDARI, ABHAY
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BHANDARI, SABRINA                    BHANDARU, RAMANA                      BHANGLEY, SHIVANI
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BHAR, DEVAN                          BHARADWA, ANIL                        BHARADWAJ, ANKITHA
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BHARAT M PATEL                       BHARATH, FELICIA                      BHARDWAJ, KSHITIJ
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BHARGAVA, ARJUN                      BHARGAVA, SHAVETA                     BHARGAVE, AVYA
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BHARNE, JAYA                         BHARRATT, SHOBA                       BHASKAR, GABRIELA
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BHASKAR, TRIPTI                      BHASKAR, UDAY                         BHAT, DEEPA
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BHATIA, ANUSCHKA                     BHATIA, BHAVNA                        BHATIA, GURMEHAR
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BHATIA, NINA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BHATIA, SONAL                    Page BHATIA,
                                                                            405 ofTANYA
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BHATIA, VIKRANT                      BHATIANI, SAMIR                       BHATLA, AJAY
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BHATNAGAR, VIVEK                     BHATT, NIMIT                          BHATT, PRIYANKA
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BHATTACHARJEE, ARPITA                BHATTACHARJEE, PALLAMI                BHATTI, BOBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BHATTI, MARIA                        BHATTI, MEREDITH                      BHAVANTHULA, RAMAKRISHNA
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BHAYANA, PRIYA                       BHEEMAN, CHANDNI                      BHENDE, PINAK
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BHIDE, ANSHUL                        BHISE, ADITYA                         BHOGALE, SHWETA
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BHOLA BHATTARAI                      BHOOPAL, DR. VASIREDDY                BHOWMIK, GOLDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BHUIYAN, KHADIJA                     BHULA, DEAN                           BHUSHAN SHIVAJI SALUNKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BI, ARIELA                           BIAFORE, SUZANNE                      BIAGI BROS, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        787 AIRPARK ROAD
                                                                           NAPA, CA 94558
BIAGI VINSON, BILLIE   Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     BIAGI, MICKINA                   Page BIAGI,
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                                                                                  of 5495
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BIAGIONI, APRIL                      BIAGIONI, JORGE                       BIALAS, HEATHER
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BIALECKI, KARA                       BIALEK, PAT                           BIALIS, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIALK, BIANCA                        BIALOW, NIKKI                         BIALOZYNSKI, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIAN, DEBBY                          BIANCA GASPARRO                       BIANCA GEORGION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIANCA GONZALEZ                      BIANCA KIM                            BIANCA LEACH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIANCA, NICHOLAS                     BIANCANIELLO, CAROLINE                BIANCHETTA, STACI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIANCHETTO, ROBYN                    BIANCHI, ALLISON                      BIANCHI, CALLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIANCHI, ERIKA                       BIANCHI, KRISTEN                      BIANCHI, MATTEO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIANCHI, RACHEL                      BIANCO, DANIELLE                      BIANCO, JILLIAN
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BIANCO, LAUREN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BIANCO, LYNDSAY                  Page BIANCO,
                                                                            407 ofMELISSA
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BIANCO, MICHAEL                      BIANCO, MICHAEL                       BIANCO, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIANCULLI, CIARRA                    BIANDO, CHARLES                       BIAS, CASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIAS, MELANIE                        BIASE, LAUREN M                       BIASILLO, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIASON, HAYLEY                       BIBB, LORIN                           BIBB, SARAH
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BIBB, VICTORIA                       BIBBERO, NIKKI                        BIBBEY, SARAH
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BIBEE, SHELLIE                       BIBER, JULIA                          BIBLE, BETTY
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BIBLE, XANTHE                        BIBLER, JENNIFER                      BIBLER, SHIRLEY
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BIBY, BILLIE                         BIBY, DIANE                           BICAN, HOLLY
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BICE, ANNE                           BICE, LAURA                           BICE, SARAH
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BICHAN, AMANDA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BICHUN, CELIA                    Page BICKEL,
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BICKEL, CHELSEY                      BICKEL, LAUREN                        BICKEL, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BICKERSTAFF, BRYAN                   BICKERSTAFF, DONNA                    BICKERSTAFF, JANAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BICKERT, SAMANTHA                    BICKFORD, AUSTEN                      BICKFORD, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BICKFORD, EMMY KATE                  BICKFORD, MARIBETH                    BICKFORD, MARTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BICKFORD, NOEL                       BICKFORD, PAMELA                      BICKHAM, BRITTNEY
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BICKHAM, D                           BICKHAM, MADISON                      BICKHAM, TONI
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BICKHART, VINCENT                    BICKING, CHARLOTTE                    BICKLEY, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BICKMORE, NATASHA                    BICKNELL, DANIELLE                    BICKNELL, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BICKNELL, KAREN                      BICKNESE, ERIN                        BIDANSET, BARBARA
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BIDDICK, STEPHANIE     Case 22-11238-LSS    Doc
                                     BIDDINGER,   2 Filed 11/30/22
                                                AMANDA                Page BIDDISON,
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BIDDLE JONES, JANE                   BIDDLE, ALEXANDRA                     BIDDLE, JEFFREY
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BIDDLE, JESSICA                      BIDDLE, KELLY                         BIDDLE, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIDDLE, RITA                         BIDDLES, MALCOLM                      BIDDY, CURRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIDKHANIAN, JERIKA                   BIDOU, LILIANNE                       BIDWELL, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIDWELL, HOLLY                       BIDWELL-GIANNONE, JAMES               BIDWICK, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIDYANANDA, TANDRA                   BIEBEL, THOMAS                        BIEBER, GORDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BIEBER, JANE                         BIEBER, MICHAEL                       BIEBER, NICHOLE
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BIEBESHEIMER, LEA                    BIEBESHEIMER, MIKE                    BIEBIGHAUSER, KC
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BIEBIGHAUSER, NIKKI                  BIECHLER, LAURA                       BIECHLER, SOPHIE
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                                     BIEDE, VIRGINIA                  Page BIEDENHARN,
                                                                            410 of 5495DANIELLE
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BIEDERWOLF, KRISTIE                  BIEGEL, LISA                          BIEGEL, REBECCA
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BIEGEL, TAYLOR                       BIEGLER, ASHLEY                       BIEHAHN, DEBORAH
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BIEHL, EMILYL                        BIEHL, KIRSTEN                        BIEHL, RACHEL
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BIEHN, ALEXANDRA                     BIEKER, KERSTIN                       BIEL, KATHY
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BIELAWSKI, COURTNEY                  BIELAWSKI, LIANA                      BIELER, NICOLE
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BIELLIER, CARTER                     BIELMEIER, RACHEL                     BIELSKI, LAUREN
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BIELSKI, R                           BIEN, LAURIE                          BIEN-AIME, ROSELINE
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BIENEMANN, BRIANNE                   BIENENFELD, JOSHUA                    BIENHOFF, KELLY
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BIENIEK, KIMBERLY                    BIENKOWSKI, MARY                      BIENSTOCK, JOSH
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                                                                                      of 5495
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BIERER, EMILY                          BIERHAUS, ELIZABETH                      BIERI, SARAH
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BIERMAIER, KALLIE                      BIERMAN, AMBER                           BIERMANN, JENNIFER
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BIERONSKI, BARB                        BIERSCH, CURTIS                          BIERY, AMANDA
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BIERZYNSKI, DANIELLE                   BIESS, JENNIFER                          BIETY, LEIGH ANN
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BIEVER, KAITLYN                        BIFANO, CHRISTINA                        BIFFL, CLAIRE
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BIFFLE, PHILLIP                        BIG 5 SPORTING GOODS                     BIG LOTS
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BIG PHOTOGRAPHIC LIMITED               BIG STOCK PHOTO                          BIG TREE BOTTLES
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LONDON N1 9AG
UNITED KINGDOM




BIGALBAL, VANGIE                       BIGALKE, KRISTIN                         BIGAM, COURTNEY
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BIGDELI, VANESSA                       BIGELOW, ELEANOR                         BIGELOW, HOLLY
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                                     BIGELOW,     2 Filed 11/30/22
                                              WILLIAM                 Page BIGFORD,
                                                                            412 of 5495
                                                                                    BROOKE
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BIGG, MICHAEL                        BIGGER, DEBRA                         BIGGERS, ASHLEY
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BIGGERS, KELLI                       BIGGERS, KENNETH                      BIGGERS, LUCY
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BIGGERS, MARIA                       BIGGERS, SUSANNE                      BIGGERSTAFF, ANNE
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BIGGS, ALAN                          BIGGS, ALYSSA                         BIGGS, BILLIE
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BIGGS, CHARLYNE                      BIGGS, JENNIFER                       BIGGS, JENNIFER
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BIGGS, JULIE                         BIGGS, LASHAWNDA                      BIGGS, REMY
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BIGGS, TRAVIS                        BIGGUS, CHELSEA                       BIGHAM, ALLINE
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BIGHAM, AMANDA                       BIGHAM, FRITS                         BIGHAM, LATISHA
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BIGLAY, MELODY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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BIGLER, JANA                            BIGLER, LAURA                            BIGLER, LAURA
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BIGLER, MICHAILA                        BIGLEY, CRAIG                            BIGLEY, EMILY
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BIGLEY, ERIN                            BIGLEY, KERRI                            BIGLEY, TODD
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BIGLIN, ANA                             BIGLIN, BETSY                            BIGLOW, LEXI
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BIGNALL, AMANDA                         BIGNALL, BRAD                            BIGNELL, CINDY
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BIGONESS, KATIE                         BIGONESS, TRACY                          BIGRENTZ.COM
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BIGSTOCKPHOTO.COM                       BIHAN, ARIANE                            BIJARCHI, BIJAN
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BIJOU, GABRIELLE                        BIKE ATTACK PV                           BIKE, CALLIE
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BILA, JESSICA                           BILAL, FAHEEMAH                          BILAL, MAHDEE
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BILAL, RASHEEDAH       Case 22-11238-LSS    DocJUSTIN
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BILBAO, JESSICA                      BILBO, BRIAN                          BILBREY, MEGHAN
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BILBREY, SUSAN                       BILD, ANNE                            BILECA, STEVEN
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BILES, CORRIE                        BILES, CORRIE                         BILES, JANIE
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BILES, JENNIE                        BILES, JOE                            BILEY, TREVOR
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BILGER, LAURA                        BILGO, SHELBY                         BILIC, LANA
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BILICH, SURAB                        BILICI, REYHAN                        BILICIC, ANDREA
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BILICK, EUNICE                       BILIK, KATHERINE                      BILISOLY, NASH
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BILKEY, JACOB                        BILL AND SUSAN HAYES                  BILL COM VERIFY
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BILL OKOSUN                          BILL, MIKE                            BILL.COM
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                                                                           PALO ALTO, CA 94303
BILL.COM              Case 22-11238-LSS      Doc 2 Filed 11/30/22
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PALO ALTO, CA 94306




BILLETT, HANNAH                      BILLHARTZ, CHRISTY                    BILLIART, ALEXIA
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BILLICH, CAROL                       BILLICH, CAROL                        BILLIE POPE
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BILLIG, JENNIFER                     BILLING, CAMILLE                      BILLINGER, LAUREN
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BILLINGHAM, ELIZABETH                BILLINGS, CIERRA                      BILLINGS, GARRETT
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BILLINGS, JACK                       BILLINGS, JOSEPH                      BILLINGS, KALI
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BILLINGS, KATELYN                    BILLINGS, KELSEY                      BILLINGS, MARION
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BILLINGS, MELISSA                    BILLINGS, PEYTON                      BILLINGS, TAYLOR
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BILLINGSLEA, GRACE                   BILLINGSLEY, ANA                      BILLINGSLEY, ANNA
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BILLINGSLEY, BETH                    BILLINGSLEY, BRIAN                    BILLINGSLEY, HALEY
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BILLIOT, JORY                        BILLMAN, ASHLEY                       BILLO, DANIEL
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BILLOT, MARC                         BILLOTTE, TAMI                        BILLOW, SARAH
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BILLOWS, GEOFFREY                    BILLS, DUSTY                          BILLS, ELIZABETH
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BILLS, LISA                          BILLUPS, AMY                          BILLUPS, CARMEN
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BILLUPS, PATRICE                     BILLY BRUCE ARRINGTON                 BILLY CHRZAN
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BILLY CORDON                         BILLY OCONNELL                        BILLY OCONNELL
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BILLY, ELIZABETH                     BILODEAU, MARIA                       BILODEAU, RACHEL
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BILODEAU, SADHANA                    BILODEAU, SUE                         BILODEAU-LEVINE, STEPHANIE
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BILOF, MICHAEL                       BILOSKI, SEAN                         BILOTTA, ELIZABETH
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                                     BILOTTA,Doc 2 Filed 11/30/22
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BILSBURY, EVAN                       BILSKI, ALLISON                       BILSKI, JESSICA
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BILSKI, MICHELLE                     BILSON, ROBYN                         BILSON, ROBYN
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BILTOFT, LINDSEY                     BILTZ, LEANNE                         BILYEU, AMY
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BILYEW, ANN                          BILYNSKY, ALLISON                     BIMAL SARAIYA
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BIN WANG, HUEI                       BIN, SU                               BINA C SOURI
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BINA, BRETT                          BINDER, BRIGITTE                      BINDER, CHRISTYN
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BINDER, LEXI                         BINDER, MELISSA                       BINDER, SHAWN
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BINDER, STACEY                       BINDER, STEPHANIE                     BINDER, ZACHARY
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BINDNER, LINDSAY                     BINETTE, AIMEE                        BINETTE, AJA
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BINETTE, JO            Case 22-11238-LSS
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BINETTE, RYAN                        BINETTI, GIANNA                          BING, LOIS
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BINGAMAN, LAURA                      BINGER, LAUREN                           BINGHAM, ALYSSA
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BINGHAM, BAILEY                      BINGHAM, BERYL                           BINGHAM, HANNAH
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BINGHAM, LAURIE                      BINGHAM, MANDI                           BINGHAM, MICHELLE
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BINGHAM, PATRICIA                    BINGHAM, PREETI                          BINGHAM, SARAH
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BINGHAM, TABITHA                     BINGHAM, TONI                            BINGHAMTON PHILHARMONIC ORCHESTRA,
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BINGLER, EMILY                       BINH TRIEU                               BINI, CLAIRE
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BINIAKEWITZ, MATTHEW                 BINIASZ, CHAD                            BINIASZ, JENNIFER
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BINIAZ-HARRIS, ALEX                  BINICK DIGITAL                           BINKERD, TRACIE
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BINKLEY, AMANDA        Case 22-11238-LSS
                                     BINKLEY,Doc 2 Filed 11/30/22
                                             BEATRIZ                  Page BINKLEY,
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                                                                                    5495
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BINKLEY, BRANDI                      BINKLEY, KATIE                        BINKLEY, PAT
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BINMEDE PTY LTD AS TRUSTEE FOR       BINNEY JR., JAY                       BINNIE, LAURA
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BINNS, KARL                          BINSCHUS, JOYCE                       BINTI, MARTIKA
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BINTLIFF, ABBIE                      BIONDI, JAIME                         BIONDO, STEVEN
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BIONGHI, NEDA                        BIORATO, FERNANDO                     BIORDI, CATHRYN
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BIPARVA, ARASP                       BIPPUS, MARISA                        BIRBAL, ASHLEY
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BIRCH, ALAN                          BIRCH, BAILEY                         BIRCH, JENNIFER
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BIRCH, LUNDY                         BIRCH, THAYER                         BIRCHEM, JESSICA
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BIRCHER, ERIN                        BIRCHER, JOSEPH                       BIRCHFIELD, JOSH
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BIRCKHEAD, KAREN       Case 22-11238-LSS
                                     BIRCSAK,Doc 2 Filed 11/30/22
                                             SAMANTHA                 Page BIRCU,
                                                                            420 of  5495
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BIRD BECKER, ALEXANDRA               BIRD, ABBI                            BIRD, AMANDA
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BIRD, ARIANA                         BIRD, ASHLEIGH                        BIRD, CAROL
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BIRD, CARTER                         BIRD, CATHERINE                       BIRD, CHELSEA
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BIRD, CURT                           BIRD, DEANNA                          BIRD, EWA
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BIRD, HEATHER                        BIRD, JESSICA                         BIRD, JESSICA
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BIRD, KAREN                          BIRD, KATELYN                         BIRD, KELLY
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BIRD, KYMBERLY                       BIRD, MORIAH                          BIRD, QUINCY
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BIRD, ROBERT                         BIRD, SHAWN MARIE                     BIRD, SUSAN
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BIRD, TINA                           BIRDINGROUND, ALEXIS                  BIRDSALL, ABIGAIL
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BIRDSALL, ANNALISA     Case 22-11238-LSS    Doc
                                     BIRDSELL,     2 Filed 11/30/22
                                               IVONA                  Page BIRDSELL,
                                                                            421 of 5495
                                                                                     JULIE
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BIRDWELL, MELISSA                    BIRENBAUM, RENEE                       BIRGER, MAAYAN
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BIRGIT KROME                         BIRINYI, LAURA                         BIRJAH, SHIVANNA
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BIRK, JENNIFER                       BIRKELAND, BRENDA                      BIRKENHOLZ, SAMANTHA
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BIRKENSTAMM, JENNIFER                BIRKETT, CODY                          BIRKETT, REILLY
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BIRKHEAD, HUNTER                     BIRKHIMER, ERIN                        BIRKHOLD, LAUREN
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BIRKHOLD, TAYLOR                     BIRKHOLZ, SUSAN                        BIRKS, JOCELYNN
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BIRLADEANU, MARLENA                  BIRMINGHAM, ALLISON                    BIRMINGHAM, ANNA
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BIRMINGHAM, CHRISTINA                BIRMINGHAM, DANIELLE                   BIRMINGHAM, JENNIFER
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BIRMINGHAM, MELISSA                  BIRMINGHAM, NAOMI                      BIRMINGHAM, REGINA
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                                     BIRNBACH,    2 Filed 11/30/22
                                               MICHELLE               Page BIRNBAUM,
                                                                            422 of 5495
                                                                                     EVELYN
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BIRNBAUM, JULIANA                    BIRNBAUM, MARC                        BIRNBAUM, MARY
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BIRNBAUM, RACHEL                     BIRNEY, KATIE                         BIRNIE, APRIL
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BIRNIE, SHILO                        BIRNSTEIN, MAAYAN                     BIROL, MARGO
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BIRON, JESSICA                       BIRON-VONGLIS, DOROTHY                BIROS, ELLEN
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BIRR, PAUL                           BIRRELL, CALEIGH                      BIRREN, ALYSSA
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BIRRU, HELLINA                       BIRT, STEPHANIE                       BIRTCHNALL, MIKE
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BIRTLES, ANNA                        BIRTWELL, LEAH                        BIRTWELL, SANDRA
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BIRTWISTLE, LISA                     BIRUN BALAMI                          BIS, SYLVIA
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BISARO, EE                           BISBAL, HOLLI                         BISBAL, ZAIDA
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BISBEE, LEAH           Case 22-11238-LSS
                                     BISBERG,Doc  2 Filed 11/30/22
                                              LOREN                   Page BISCARDI,
                                                                            423 of 5495
                                                                                     CAROLYN
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BISCARDI, JULES                      BISCEGLIA, PATRICIA                   BISCEGLIE, VINCENZA
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BISCH, REGAN                         BISCHEL, AMANDA                       BISCHOF, BLAIR
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BISCHOFF, CASSIDY                    BISCHOFF, EMMA                        BISCI, KATIE
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BISCOGLIA, ANDREW                    BISEK, MELISSA                        BISENIUS, MICHELLE
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BISESI, JAMIE                        BISGROVE, JENNIFER                    BISHEL, ALISSA
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BISHER, GAIL                         BISHOP, ABBY                          BISHOP, ABIGAIL
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BISHOP, ALECIA                       BISHOP, ALEXIS                        BISHOP, ALLEN
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BISHOP, AMANDA                       BISHOP, AMANDA                        BISHOP, AMY
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BISHOP, ARICA                        BISHOP, ASHLEY                        BISHOP, BECCA
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BISHOP, BRANDON        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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BISHOP, CATHERINE                    BISHOP, CHANDLER                      BISHOP, CHARLOTTE
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BISHOP, DANIELLE                     BISHOP, DARLENE                       BISHOP, DEBBY
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BISHOP, DON                          BISHOP, ELIZABETH                     BISHOP, EMILY
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BISHOP, ERIC                         BISHOP, GRACE                         BISHOP, JACQUELINE
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BISHOP, JAN                          BISHOP, JENI                          BISHOP, JIM
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BISHOP, JOHN                         BISHOP, JOYCE                         BISHOP, KATHERINE
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BISHOP, KATIE                        BISHOP, KAYLA                         BISHOP, KAYLIE
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BISHOP, KENSLEY                      BISHOP, KIM                           BISHOP, KYLE
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BISHOP, MELISSA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BISHOP, MISTY                    Page BISHOP,
                                                                            425 ofPASCALE
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BISHOP, SARAH                        BISHOP, STEPHANIE                     BISHOP, TAYLOR
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BISHOP, TESS                         BISHOP, TIFFANY                       BISHOP, VALERIE
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BISHOP, VICTORIA                     BISHTON, ELIZABETH                    BISHWAJEET PAUL
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BISIG, COLLEEN                       BISIGNANO, JESSICA                    BISIRRI, GABRIELLA
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BISK, LEONARD                        BISMUTH, JORDAN                       BISNETTE, JESSICA
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BISOGNI, GINA                        BISON, KARI                           BISONO, GABRIELA
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BISONO, MARIA                        BISS, MARY                            BISS, MEG
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BISSEL, ANDREW                       BISSELL, WHITNEY                      BISSET, STEPHANIE
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BISSING, PAM                         BISSO, EMILY                          BISSON, RIAN
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BISSON, STEPHAN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BISSON, WELCOME                     Page BISSONNETTE,
                                                                               426 of 5495MICHELLE
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BISSOO, BRANDON                      BISTLINE, BROOKE                         BISTOURY, ROBERT
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BISTRANIN, SONJA                     BISTRO BARBES                            BISTROMOWITZ, REGINA
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BISWESE, TRACI                       BITANA, GEOFFREY                         BITAR, EMILY
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BITAT, LEAH                          BITE CATERING COUTURE, LLC               BITE, MARISA
ADDRESS AVAILABLE UPON REQUEST       3380 S. ROBERTSON BLVD.                  ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90034




BITIUM.COM                           BITLY INC.                               BITNER, JACQUELINE
2448 MAIN STREET                     139 5TH AVE, FLOOR 5                     ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90405               NEW YORK, NY 10010




BITNER, JODI                         BITONTI, MADISON                         BITTENBENDER, AMY
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BITTENBENDER, AMY                    BITTER, DIANA                            BITTER, PEG
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BITTERMAN, LEONARD                   BITTICK, KAITLYN                         BITTING, DONNA
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BITTING, ERIN                        BITTING, NEIL                            BITTINGER, SHAIN
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                                     BITTNER,Doc 2 Filed 11/30/22
                                             CHRISTINE                Page BITTNER,
                                                                            427 of ELIZABETH
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BITTNER, EMILY                       BITTNER, ERIN                         BITTNER, PAM
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BITTNER, RYAN                        BITTO, ANNE                           BITTO, STEPHANIE
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BITTROLFF, HANNAH                    BITZ, CRYSTAL                         BITZ, KATHERINE
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BITZ, LAURIE                         BITZAS, PETER                         BIVIANO, MARILYN
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BIVIN, AMA                           BIVINS, COREY                         BIVINS, TOTIANA
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BIWER, JASON                         BIXBY, BRENDA                         BIXBY, KRISTIN
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BIXBY, LAURA                         BIXBY, MELISSA                        BIXBY, SARAH
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BIXBY, TERESA                        BIXEL, LESLIE                         BIXLER, ANNA
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BIXLER, BETHANY                      BIXLER, EMILY                         BIZANEK, MAXIMILIAN
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BIZEAU, MELISSA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     BIZIEN, CELIA                           Page BIZZARI,
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BIZZELL, CASSIDY                        BIZZELL, JOHN                             BIZZLE, KIA
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BIZZOZERO, MELISSA                      BJ WHOLESALE                              BJERKE, JORDYN
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BJERKLIE, ERIKA                         BJERKNESS, ROBIN                          BJORK, JEAN
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BJORK, KRISTI                           BJORLIN, DANI                             BJORNAAS, KRISTI
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BJORNNES, ALEXANDRA                     BJORNRUD, NICHOLE                         BJORNSON, HILARY
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BJS                                     BK OF AMERICA/GWIM TST OPER (0955)        BK OF AMERICA/LASALLE BK NA (2251)
ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN CORPORATE ACTIONS MANAGER            ATTN VINCENZO RUOCCO / PROXY DEPT
                                        901 MAIN ST                               222 BRDWAY
                                        12TH FL                                   11TH FL
                                        DALLAS, TX 75202                          NEW YORK, NY 10038



BLAASE, LAURA                           BLABAC, KERRI L                           BLACHARCZYK, TAMELA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BLACK GIRL IN OM LLC                    BLACK KURP, BETHANY                       BLACK RIDGE VINEYARDS
8035 BOULDER RIDGE ROAD                 ADDRESS AVAILABLE UPON REQUEST            18570 BLACK ROAS
WOODBURY, MN 55125                                                                LOS GATOS, CA 95033




BLACK SHEEP FINDS                       BLACK, ABIGAIL                            BLACK, ALISON
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
BLACK, ALLIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLACK, AMANDA                    Page BLACK,
                                                                            429 ofAMANDA
                                                                                   5495
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BLACK, AMY                           BLACK, ANDREA                         BLACK, ANDREW
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BLACK, ANDREW                        BLACK, ASHLEIGH                       BLACK, AUDREY
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BLACK, AUTUM                         BLACK, BAILEY                         BLACK, BEVERLEY
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BLACK, BRYCE                         BLACK, CARRIE                         BLACK, CHARLEY
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BLACK, CHARLIE                       BLACK, CHRISTINA                      BLACK, DANIEL
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BLACK, ELISE                         BLACK, ERIC                           BLACK, ERIN
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BLACK, ETHEL                         BLACK, EVELYN                         BLACK, GEORGIA
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BLACK, ISAIAH                        BLACK, JAKE                           BLACK, JAMIE
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BLACK, JEFF                          BLACK, JENNIFER                       BLACK, JEROME
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BLACK, JILLIAN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLACK, KAITLIN                   Page BLACK,
                                                                            430 ofKARA
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BLACK, KATIE                         BLACK, KENNY                          BLACK, KEVIN
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BLACK, KIM                           BLACK, KIM                            BLACK, KRISTOPHER
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BLACK, LAFAYETTE                     BLACK, LAURA                          BLACK, LILY
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BLACK, MADELINE                      BLACK, MARAIKY                        BLACK, MARY BETH
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BLACK, MEGHAN                        BLACK, MELISSA                        BLACK, MILLIE
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BLACK, NATALIE                       BLACK, NATALIE                        BLACK, NICHAE
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BLACK, NICOLE                        BLACK, PETER                          BLACK, RACHEL
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BLACK, REBECCA                       BLACK, RILEY                          BLACK, ROBERTA
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BLACK, RYAN                          BLACK, SARAH                          BLACK, SHELBY
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BLACK, SUMMER          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLACK, SUSANNAH                  Page BLACK,
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BLACK, TIM                           BLACK, TYLER                          BLACKALLER, OSVALDO
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BLACKBEARDS CRAFTS                   BLACKBIRD, ASHLEEN                    BLACKBOARD EATS, LLC
1820 SAWTELLE BLVD                   ADDRESS AVAILABLE UPON REQUEST        2554 LINCOLN BLVD., 352
LOS ANGELES, CA 90025                                                      VENICE, CA 90291




BLACKBURB, ANDREA                    BLACKBURN, AARIONA                    BLACKBURN, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLACKBURN, ANNA                      BLACKBURN, BRETT                      BLACKBURN, CAITLIN
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BLACKBURN, CARLA                     BLACKBURN, COLLEEN                    BLACKBURN, DANA
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BLACKBURN, DANIELLE                  BLACKBURN, DENNIS                     BLACKBURN, DIANA
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BLACKBURN, JENNIFER                  BLACKBURN, JONATHAN                   BLACKBURN, JULIA
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BLACKBURN, KATE                      BLACKBURN, KELLEY                     BLACKBURN, MARLA
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BLACKBURN, MICHAEL                   BLACKBURN, MIRANDA                    BLACKBURN, MORGAN
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BLACKBURN, PATRICK     Case 22-11238-LSS    DocSYDNEY
                                     BLACKBURN,  2 Filed 11/30/22     Page BLACKBURN,
                                                                            432 of 5495
                                                                                      TROY
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BLACKBURN, VINT                      BLACKER, APRIL                        BLACKER, JOAN
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BLACKER, LEANNE                      BLACKETER, CARMEN                     BLACKFORD, KYLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLACKFORD, LAUREN                    BLACKHAWK NETWORK INC.                BLACKIE, KIM
ADDRESS AVAILABLE UPON REQUEST       6220 STONERIDGE MALL RD               ADDRESS AVAILABLE UPON REQUEST
                                     PLEASANTON, CA 94588




BLACKISTONE, TRAVIS                  BLACKLEDGE, KERRI                     BLACKLEY, BRANDON
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BLACKLEY, JOSHUA                     BLACKMAN, AMY                         BLACKMAN, DANIELLE
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BLACKMAN, GILLIAN                    BLACKMAN, KRYSTAL                     BLACKMAN, KYNDRA
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BLACKMAN, LESLIE                     BLACKMER, ESTHER                      BLACKMER, KATIE
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BLACKMON, ANDREA                     BLACKMON, CHAPARIS                    BLACKMON, KOURTNEY
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BLACKMON, MARTIE                     BLACKMORE, TYLER                      BLACKSHAW, ROBERT
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BLACKSHEAR, ILLIANA    Case 22-11238-LSS    DocHALLE
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                                                                            433 of 5495KALEY
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BLACKSTOCK, KISHA                    BLACKSTONE, EUGENIA                   BLACKSTONE, MICHELLE
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BLACKSTONE, ROBYN                    BLACKSTONE, ROBYN                     BLACKWELDER, EVAN
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BLACKWELDER, RICHARD                 BLACKWELL, AVRIE                      BLACKWELL, BONITA
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BLACKWELL, BRYCE                     BLACKWELL, CAELYNNE                   BLACKWELL, ELIZABETH
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BLACKWELL, ERIN                      BLACKWELL, HANNAH                     BLACKWELL, KATHLEEN
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BLACKWELL, KATIE                     BLACKWELL, LAURA                      BLACKWELL, LINDSEY
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BLACKWELL, LOUISE                    BLACKWELL, MARQUITA                   BLACKWELL, MARYLEE
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BLACKWELL, MINDY                     BLACKWELL, SHAWN                      BLACKWELL, TERI
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BLACKWELL, THERESA                   BLACKWELL, VONDA                      BLACKWELL, WILLIAM
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BLACKWOOD, ALEYNA      Case 22-11238-LSS   DocAMBER
                                     BLACKWOOD,  2 Filed 11/30/22     Page BLACKWOOD,
                                                                            434 of 5495
                                                                                      BRANDON
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BLACKWOOD, CANDACE                   BLACKWOOD, LAUREN                     BLACKWOOD, STEPHANIE
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BLACKWOOD-BLOOM, RACHEL              BLACUTT, MIGUEL                       BLAD, DIANA
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BLADA, BRENDA                        BLADES, DANIELLE                      BLADES, ETHAN
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BLADES, GABRIELLE                    BLADES, LARRY                         BLADES, REGINA
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BLADON, CAROLINE                     BLAEMIRE, BRIAN                       BLAES, ALISHA
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BLAEUL WALKER, EXODUS                BLAGG, LOGAN                          BLAHA, ERIN
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BLAHNIK, SARAH                       BLAHO, VICTORIA                       BLAINE, AUBREY
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BLAINE, SETH                         BLAINEDAVIS, EMILY                    BLAIR COOLEY
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BLAIR ELIZABETH MORTON               BLAIR WISDOM, KRISTEN                 BLAIR, ALLIE
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BLAIR, AMY             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLAIR, ASHLEY                    Page BLAIR,
                                                                            435 of  5495
                                                                                  ASHLEY
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BLAIR, AUSTIN                        BLAIR, BONNIE                         BLAIR, CARISSA
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BLAIR, CAROL                         BLAIR, CAROL                          BLAIR, CAROLINE
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BLAIR, CHANCE                        BLAIR, CHERYL                         BLAIR, CHLOE
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BLAIR, COLIN                         BLAIR, DANIEL                         BLAIR, DAVID
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BLAIR, DEVONA                        BLAIR, DINA                           BLAIR, GRETCHEN
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BLAIR, HEIDI                         BLAIR, HOLLY                          BLAIR, ISABEL
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BLAIR, JACLYN                        BLAIR, JANET                          BLAIR, JEFFREY
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BLAIR, JENNIFER                      BLAIR, JEROLD                         BLAIR, KATHLEEN
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BLAIR, KERI                          BLAIR, LAUREN                         BLAIR, LESHA
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BLAIR, LISA            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLAIR, MARIA                     Page BLAIR,
                                                                            436 of  5495
                                                                                  MARY
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BLAIR, MCKENZIE                      BLAIR, NIKKI                          BLAIR, PAULA S
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BLAIR, RICHARD                       BLAIR, SARA                           BLAIR, SAVANNAH
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BLAIR, SHANICE                       BLAIR, SHARON                         BLAIR, SOPHIA
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BLAIR, STACI                         BLAIR-WATSON, LAKEISHA                BLAIS, ANNA
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BLAIS, ELANIE                        BLAIS, MARY                           BLAIS, MEGAN
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BLAIS, NICOLE                        BLAISDELL, JOHN                       BLAISE AGUIRRE
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BLAISE, TIMOTHY                      BLAIZE, ALLISON                       BLAIZE, LESLIE
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BLAKE APPLEGATE                      BLAKE J EASTAMN                       BLAKE KEATS
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BLAKE, ASHLEY                        BLAKE, ASHLYN                         BLAKE, BRANDON
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BLAKE, BROOKE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLAKE, BROOKE                    Page BLAKE,
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BLAKE, CANDICE                       BLAKE, CASEY                          BLAKE, CATRINA
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BLAKE, CHERYL                        BLAKE, CHRISTINE                      BLAKE, CRYSTAL
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BLAKE, CRYSTAL                       BLAKE, DAWN                           BLAKE, DREW
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BLAKE, HALCYON                       BLAKE, HUNTER                         BLAKE, JUSTIN
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BLAKE, KATHY                         BLAKE, KELSEY                         BLAKE, LEIGHA
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BLAKE, LENKA                         BLAKE, LINDSAY                        BLAKE, MACKENZIE
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BLAKE, MAGGIE                        BLAKE, MEREDITH                       BLAKE, MOLLY
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BLAKE, NATEYANA                      BLAKE, NIKKIA                         BLAKE, OLIVIA
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BLAKE, PATRICK                       BLAKE, PHILIP                         BLAKE, SAMANTHA
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                                     BLAKE, TAMARA                    Page BLAKE,
                                                                            438 ofTIFFANY
                                                                                    5495
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BLAKE, VALERIA                       BLAKE, ZENOBIA                        BLAKE-LEIBOWITZ, CROSBY
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BLAKELEY, TARAH                      BLAKELY, ANNIE                        BLAKELY, ASHLEY
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BLAKELY, DANIEL                      BLAKELY, LEIGH                        BLAKELY, LEXSEAS
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BLAKEMAN, ALAHNA                     BLAKEMAN, MEGHAN                      BLAKEMAN, SANDRA
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BLAKEMAN, TYLER                      BLAKEMORE, ADAM                       BLAKEMORE, DIANA
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BLAKEMORE, KATHLEEN                  BLAKEMORE, SUSAN                      BLAKEMORE, TJ
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BLAKEMORE, TRISHA                    BLAKENEY, MIKYLA                      BLAKENEY, STEPHANIE
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BLAKE-ROBINSON, KAREN                BLAKESLEE, BARBARA                    BLAKEY, LILLIAN
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BLAKEY, MARY                         BLAKEY, MERRITT                       BLAKLEY, LINDA
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BLAKNEY, ABDUL         Case 22-11238-LSS    Doc
                                     BLAKSLEE,    2 Filed 11/30/22
                                               DIANNE                 Page BLALOCK,
                                                                            439 of 5495
                                                                                    LESLIE
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BLALOCK, NATHANIEL                   BLALOCK, PAUL                         BLANC, KATIE
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BLANC, RYAN                          BLANCA ESTELA RAMIREZ SANCHEZ         BLANCERO, BETZY
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BLANCET, SHELBY                      BLANCETT, PAIGE                       BLANCH, ELIZABETH
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BLANCH, KATRINA                      BLANCH, TAYLOR                        BLANCHARD, ARYANA
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BLANCHARD, AURORA                    BLANCHARD, BARBARA                    BLANCHARD, BILL AND BECKY
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BLANCHARD, ELAINE                    BLANCHARD, JEANNE                     BLANCHARD, JENNIFER
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BLANCHARD, KARA                      BLANCHARD, KARLEE                     BLANCHARD, KERBY
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BLANCHARD, KYLA                      BLANCHARD, MARLENE                    BLANCHARD, SANDY
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BLANCHARD, SARAH                     BLANCHARD, SUNDI                      BLANCHE, CAMILLE
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BLANCHETTE, KELLY      Case 22-11238-LSS    Doc LINDA
                                     BLANCHETTE, 2 Filed 11/30/22     Page BLANCHETTE,
                                                                            440 of 5495MARCY
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BLANCHETTE, RACHEL                   BLANCHETTE, STEPHANIE                 BLANCHFIELD, ELIE
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BLANCK, ROBERT                       BLANCK, SCOTT                         BLANCO, ALEC
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BLANCO, ALLYSON                      BLANCO, CLO                           BLANCO, FAITH
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BLANCO, FELICIA                      BLANCO, GENESIS                       BLANCO, LEDY
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BLANCO, MAKENA                       BLANCO, MARJORIE                      BLANCO, MARK
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BLANCO, MONICA                       BLANCO, NADINE                        BLANCO, OBED
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BLANCO, RAILY                        BLANCO, RAILY                         BLANCO, REGGIE
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BLANCO, TINEA                        BLANCO, VALERIE                       BLANCO, XENIA
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BLAND, DYLAN                         BLAND, ERICA                          BLAND, LAUREN
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BLAND, OLIVIA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLAND, RACHEL                    Page BLAND,
                                                                            441 ofREBECCA
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLAND, SHARI                         BLANDI, ANGIE                         BLANDIN, CARRIE
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BLANDING, JONTAI                     BLANEY, ERIN                          BLANEY, JIM
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BLANEY, STEVE                        BLANFORD, SARAH                       BLANK, ADRIANNE
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BLANK, AUDREY                        BLANK, CAMILLE                        BLANK, COURTNEY
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BLANK, DANIELLE                      BLANK, JOAN                           BLANK, KENNETH
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BLANK, LANA                          BLANK, MACKINZI                       BLANK, MALINDA
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BLANK, SARA                          BLANK, SARA                           BLANK, TERI
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BLANK, WILLIAM                       BLANKENHORN, ABBY                     BLANKENHORN, KIM
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BLANKENHORN, KIM                     BLANKENHORN, SARA                     BLANKENHSIP, KEVIN
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BLANKENSHIP, ANNIE     Case 22-11238-LSS    Doc 2
                                     BLANKENSHIP,     Filed 11/30/22
                                                  BAILEY               Page BLANKENSHIP,
                                                                             442 of 5495BAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BLANKENSHIP, CHELSEA                 BLANKENSHIP, CRAIG                     BLANKENSHIP, ED
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BLANKENSHIP, ELIZABETH               BLANKENSHIP, ERIN                      BLANKENSHIP, HAROLD
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BLANKENSHIP, HEATHER                 BLANKENSHIP, HELEN                     BLANKENSHIP, JOANNE
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BLANKENSHIP, KIM                     BLANKENSHIP, LAURA                     BLANKENSHIP, RICH
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BLANKENSHIP, SAMMI                   BLANKENSHIP, TOM                       BLANKENSHIP, TRAVIS
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BLANKENSHIP1, BARBARA                BLANKERS, KRISTEN                      BLANKMANN-ALEXANDER, DONNA
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BLANKS, KAREN                        BLANKS, RHEA                           BLANKSON-WOOD, ADWOA
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BLANTON, ALLISON                     BLANTON, ASHLEE                        BLANTON, BROOKE
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BLANTON, DONICE                      BLANTON, DONNA                         BLANTON, ELIZABETH
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BLANTON, HEATHER       Case 22-11238-LSS    Doc
                                     BLANTON, KELLI2 Filed 11/30/22   Page BLANTON,
                                                                            443 of 5495
                                                                                    KRISTEN
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BLANTON, MACEY                       BLANTON, NAJAT                        BLANTON, ROBERTA
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BLANTON, SARA                        BLANZ, BRITTANY                       BLANZ, ERIC
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BLARDONY, ANGELA                     BLAS, ANDRES                          BLAS, ANGELO
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BLAS, KRISTIAN                       BLASCHAK, JOAN E                      BLASER, CRISTINA
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BLASI, ELIZABETH                     BLASINGAME, SARA                      BLASKY, CHARLES
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BLASLAND, JIMMY                      BLASO, REBECCA                        BLASS, JOHN
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BLASSINGAME, TRAVIS                  BLASSINGILLE, BRANDI                  BLASZCZYK, GREGORY
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BLASZCZYK, STEPHANIE                 BLATCHFORD, EMILY                     BLATHERWICK, HILLARY
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BLATNICK, DAVID                      BLATNIK, BILL                         BLATT, BERNICE
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BLATT, CHRIS           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLATT, DAVID                     Page BLATT,
                                                                            444 of  5495
                                                                                  ROBIN
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BLATTEIS, DARA                       BLATTNER, FALLON                      BLATTNER, KATE
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BLATTNER, VICKIE                     BLATZ, ALLISON                        BLATZ, ASHTON
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BLAU, AMANDA                         BLAU, CHRIS                           BLAU, LINDA
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BLAUKOPF, JULIA                      BLAUM, JUSTIN                         BLAUSEY, BRITTANY
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BLAUTH, ALEX                         BLAUTH, MORGAN                        BLAUVELT, NICHOLAS
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BLAUWKAMP, KEN                       BLAVAT, JAMIE                         BLAY, NICOLE
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BLAY, SHANNON                        BLAYLOCK, DAVID                       BLAYLOCK, PAM
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BLAZE, DARRYL                        BLAZEK, HALEY                         BLAZEK, MK
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BLAZEK, NIKKI                        BLAZER, JENNIFER                      BLAZER, RYAN
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BLAZER, TRICIA         Case 22-11238-LSS    Doc
                                     BLAZUSIAK,   2 Filed 11/30/22
                                                KATIE                 Page BLECHA,
                                                                            445 of KERRY
                                                                                    5495
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BLECHER, CALLIE                      BLECHER, ROBIN                        BLEDSOE, CELINE
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BLEDSOE, JOANNE                      BLEDSOE, KRISTEN                      BLEDSOE, MONICA
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BLEDSOE, SUSANNE                     BLEECKER, CORI                        BLEGEN, CASSANDRA
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BLEICH, MARYA                        BLEILE, JASON                         BLEJEC, SIMONE
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BLEKHTER, ELENA                      BLEKKENK, PARKER                      BLENDED WAXES, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1512 S. MAIN STREET
                                                                           OSHKOSH, WI 54902




BLENDER, MARK                        BLENDER, MELISSA                      BLENNAU, THOMAS
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BLESENER, DOMINIC                    BLESI, KRYSTAL                        BLESOFF, DORIE
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BLESSING STRATEGIES LLC              BLESSING, CHRISTOPHER                 BLESSING, KELLY
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BLESSING, KYLE                       BLESSING, ROBERT                      BLESSING, SANDI
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BLESSINGER, MORGAN     Case 22-11238-LSS    Doc
                                     BLESSNER,   2 Filed 11/30/22
                                               NORA                   Page BLETCHER,
                                                                            446 of 5495
                                                                                     JUDY
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BLETHEN, SHAWN                       BLEVENS, RACHEL                       BLEVINS, ANGEL
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BLEVINS, ASHLEY                      BLEVINS, AUSTIN                       BLEVINS, BROOKE
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BLEVINS, JESSICA                     BLEVINS, JOSH                         BLEVINS, LINDSEY
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BLEVINS, MICHELLE                    BLEVINS, MR. & MRS. TONY              BLEVINS, NICKI
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BLEVINS, NICOLE                      BLEVINS, ROBIN                        BLEVINS, RON
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BLEVINS, TANYA                       BLEVINS, TONY                         BLEVINS-SMITH, JEAN S.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLEW, ANITA                          BLEWETT, CHELSEA                      BLEWITT, EMILY
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BLEY, KENDRA                         BLICE, LISA                           BLICKENSTAFF, CATHERINE
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BLICKHAN, TAYLOR                     BLIDARU, ALEXANDRU                    BLIDARU, ALEXANDRU
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BLIEDEN, JAKE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLIGH, DONNA                      Page BLIGH,
                                                                             447 of  5495
                                                                                   JULIA
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BLIND FERRET ENTERTAINMENT INC.      BLIND FERRET ENTERTAINMENT INC.        BLIND, KATHLEEN
2308 32E AVENUE                      5000 JEAN TALON QUEST SUITE 260        ADDRESS AVAILABLE UPON REQUEST
MONTREAL, QC H8T 3H4                 MONTREAL, QC H49 1W9
CANADA                               CANADA




BLINDAUER, KEVIN                     BLINDT, KELLY                          BLINN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BLINN, JENNIFER                      BLINN, KAYLA                           BLINN, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BLINN, RITA                          BLINOVA, YANA                          BLINSTRUP, BRYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BLINT, JESSICA                       BLISARD, MORGAN                        BLISS POINT MEDIA, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         233 WILSHIRE BLVD, STE 720
                                                                            SANTA MONICA, CA 90401




BLISS, AMANDA                        BLISS, DAVID                           BLISS, FAITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BLISS, JEFF                          BLISS, JENNY                           BLISS, KEVIN
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BLISS, ROXANNE                       BLISS, SARAH                           BLITCH, ALEXANDRA
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BLITCHINGTON, ROBERT                 BLITMAN, JASON                         BLITZ, LAWRENCE
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BLITZ, MADISON         Case 22-11238-LSS     Doc
                                     BLITZBLAU,   2 Filed 11/30/22
                                                KATHERINE             Page BLITZER,
                                                                            448 of JESSICA
                                                                                    5495
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BLITZSTEIN, ANDREA                   BLIXT, WILLIAM                        BLIZZARD, AMANDA
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BLIZZARD, GRETCHEN                   BLIZZARD, HALEY                       BLIZZARD, PAM
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BLOCH, ANDREA                        BLOCH, EDWARD                         BLOCH, EMILY
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BLOCH, KELLY                         BLOCH, LAUREL                         BLOCH, RALPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLOCH, ROBERT                        BLOCHO, ANDREW                        BLOCK PARTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        5052 YORK BLVD
                                                                           LOS ANGELES, CA 90042




BLOCK, AMY                           BLOCK, ASHLEY                         BLOCK, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLOCK, CARRIE                        BLOCK, COLLETTE                       BLOCK, EBONEE
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BLOCK, EBONEE                        BLOCK, ILYSSA                         BLOCK, JESSICA
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BLOCK, KATHRYN                       BLOCK, MADELYN                        BLOCK, MELISSA
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BLOCK, MELISSA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLOCK, MICHAEL                   Page BLOCK,
                                                                            449 ofSTEVEN
                                                                                   5495
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BLOCK, VIRGINIA                      BLOCK, ZAKARY                         BLOCKSOM, CARLA
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BLOCKUS, MARISSA                     BLODGETT, ASHLEY                      BLODGETT, KENSIE
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BLODGETT, MEGAN                      BLODGETT, PEYTON                      BLODGETT, STEPHANIE
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BLOEDORN, BROOKE                     BLOGIST                               BLOM, DIANA
ADDRESS AVAILABLE UPON REQUEST       357 COMMERCIAL ST, APT 320            ADDRESS AVAILABLE UPON REQUEST
                                     BOSTON, MA 02109




BLOM, ELISSA                         BLOM, GERARD                          BLOM, KENNITH
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BLOM, LARA                           BLOM, MARC                            BLOM, SCOTT
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BLOMBERG, BRIAN                      BLOMBERG, GUY                         BLOMBERG, MISSY
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BLOMBERG, SANGITA                    BLOME, SARAH                          BLOMEKE, KEARSTON
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BLOMMER, KATIE                       BLOMQUIST, KATIE                      BLOMQUIST, TRACY
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BLOMQUIST, WHITNEY     Case 22-11238-LSS   DocLINDA
                                     BLOMSNESS,  2 Filed 11/30/22     Page BLOMSTEDT,
                                                                            450 of 5495
                                                                                      KENDRA
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BLON, MATTHEW                        BLONDER, DORIA                        BLONDET, CRISTIAN
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BLONDIN, JAMES                       BLONKSY, JULIE                        BLOOD, ALEXIS
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BLOOD, MANDY                         BLOOD, MIKAELA                        BLOOD, TROY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLOODGOOD, KENDALL                   BLOODGOOD, MARISA                     BLOODGOOD, MATTHEW
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BLOODGOOD, SARAH                     BLOODWORTH, CONNOR                    BLOODWORTH, NOEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLOOM, APRIL                         BLOOM, AUDRA                          BLOOM, BRITTANY
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BLOOM, DEBRA                         BLOOM, EDEN                           BLOOM, JANE
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BLOOM, JENNY                         BLOOM, JILLIAN                        BLOOM, JULIE
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BLOOM, KELLIE                        BLOOM, LARRY                          BLOOM, MAYA
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BLOOM, NATHAN          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BLOOM, PAMELA                       Page BLOOM,
                                                                               451 ofSABINA
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BLOOM, TADD                          BLOOM, TYLER                             BLOOMER, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLOOMER, MICAELA                     BLOOMFIELD, AARON                        BLOOMFIELD, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLOOMFIELD, DOUGLAS                  BLOOMINGDALES                            BLOOMSPOT, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




BLOOMSTONE, JEREMY                   BLOOMX VENTURES LLC                      BLOORE, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLORE, PAUL                          BLOSCH, SYDNEY                           BLOSE, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLOSS, JESSICA                       BLOSS, KARISSA                           BLOSSER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLOSSER, KAIA                        BLOSSER, WILLIAM                         BLOSSOM TOUSSAINT
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BLOSSOM, AIMEE                       BLOSSOM, ANNE                            BLOSSOM, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLOSSOM, JOSEPH                      BLOSSOM, SARAH                           BLOTZER-MILLER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BLOUCH, ERICA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLOUIN, MEGHAN                         Page BLOUNT,
                                                                                  452 of ANDREW
                                                                                         5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BLOUNT, CAROLINE                        BLOUNT, HANNAH                           BLOUNT, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLOUNT, LAURA                           BLOUNT, NICOLE                           BLOUNT, STEFEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLOUNT, TONI                            BLOWARS, TAMMY                           BLOWE, CONNIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLOWER, STEPHANIE                       BLOWERS, ASHLEY                          BLOXSOM, WENDIE
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BLU DOT DESIGN                          BLUBAUGH, DEVYN                          BLUCHER, BRITTA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BLUDAU, DANIELLE                        BLUDAU, RANDI                            BLUE APRON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




BLUE BOTTLE COFFEE                      BLUE COTTON.COM                          BLUE JEANS NETWORK
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




BLUE MORPHO PSP                         BLUE RIBBON SUSHI                        BLUE SPACE CO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    153 BAYARD STREET
                                                                                 BROOKLYN, NY 11222




BLUE SPACE CO                           BLUE STAR DONUTS                         BLUE, CHRIS
5109 SE CORA ST                         ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
PORTLAND, OR 97206
BLUE, EDWINA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLUE, GEROD                      Page BLUE,
                                                                            453 KENN
                                                                                 of 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUE, LINDA                          BLUE, LORI                            BLUE, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUE, MARGARET                       BLUE, NICOLE                          BLUE, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUE, TRAVIS                         BLUE-GRACE LOGISTICS LLC              BLUES KENYON, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       2846 S. FALKENBURG RD                 ADDRESS AVAILABLE UPON REQUEST
                                     RIVERVIEW, FL 33578




BLUESTEIN, DANIEL                    BLUESTONE, KATHY                      BLUESTONE, MARCIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUHER, LINDSEY                      BLUHM, ASHLEY                         BLUITT, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUJ, SAMANTHA                       BLUKHER, MARIE                        BLUM, BRIDGET
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BLUM, CATHERINE                      BLUM, DANIELLE                        BLUM, JENNIFER
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BLUM, MARGARET                       BLUM, SAMANTHA                        BLUMBERG, EMILY
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BLUMBERG, NINA                       BLUME, KAILEE                         BLUME, LAUREN
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BLUME, PETER           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLUME, SANDRA                    Page BLUME,
                                                                            454 ofSARAH
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUMENBERG, LEIGH                    BLUMENSCHEIN, LUCAS                   BLUMENSHINE, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUMENSTEIN, STEVE                   BLUMENTHAL, AMY                       BLUMENTHAL, DREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUMENTHAL, JUDY                     BLUMENTHAL, RAYNE                     BLUMENTHAL, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUMENTRITT, ASHLEY                  BLUMER, JOSEPH                        BLUMERIS, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUMEYER, CARTER                     BLUMEYER, KURT                        BLUMKA, MILLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUMREITER, JAMIE                    BLUMROSEN, ERICA                      BLUMSACK, KAREN
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BLUNCK, RYAN                         BLUNDO, JESSICA                       BLUNT, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUNT, DORSEY                        BLUNT, JILLIAN                        BLUNT, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BLUTE, BOB                           BLUTH, EMILY                          BLUTH, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BLUTH, MINDY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BLYER, TIM                              Page BLYSTONE,
                                                                                   455 of 5495
                                                                                            GEORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




BLYTHE, ANGELA                          BLYTHE, MEGHAN                            BLYUMIN, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BMD FINANCIAL PARTNERS INC              BMO NESBITT BURNS INC. /CDS (5043)        BNP/CUST (2147/ 2787)
ADDRESS AVAILABLE UPON REQUEST          ATTN PHUTHORN PENIKETT                    ATTN PROXY DEPT
                                        250 YONGE ST., 14TH FL                    525 WASHINGTON BLVD
                                        TORONTO, ON M5B 2M8                       9TH FL
                                        CANADA                                    JERSEY CITY, NJ 07310



BO KHAMSIN, NOURA                       BO, MOLLY                                 BOADI, PAMELA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOAGS, ERICA                            BOAK, HEATHER                             BOAKAI, JOSEPH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOALT, STEPHANY                         BOAM, KAYLA                               BOAM, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOARD OF EQUALIZATION SPECIAL TAXES     BOARD, TEXANNA                            BOARDMAN, JAMES
AND FEES                                ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
P.O. BOX 942879
SACRAMENTO, CA 94279-6081




BOARDMAN, JEREMY                        BOARDMAN, JOHN                            BOARDMAN, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOARDWALK                               BOAS, WILLIAM                             BOASBERG, ANNIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOASORTE, EMILY                         BOAST, DAVID                              BOAST, KYLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
BOATMAN, JANA          Case 22-11238-LSS   Doc
                                     BOATMAN,    2 Filed 11/30/22
                                              SCOTT                   Page BOATNER,
                                                                            456 of 5495
                                                                                    KARREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOATRIGHT, HALEY                     BOATRIGHT, KASEY                      BOATWRIGHT, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOATWRIGHT, CLAUDIA                  BOATWRIGHT, JOCELYN                   BOAZ, NICOLETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOB S WELL BREAD                     BOB, BERT                             BOB, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBADILLA, GRISELDA                  BOBADILLA, PAOLA                      BOBAK, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBB, AMY                            BOBB, JENNIFER                        BOBB, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBB, TIA                            BOBBETT, MAUREEN                      BOBBI STARR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBBIE ROBINSON                      BOBBIN, SHAWN                         BOBBITT, JANELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBBITT, TRISH                       BOBBY KUDLEK                          BOBBY THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBBY, SARA                          BOBER, AYLISSA                        BOBER, MARLOWE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOBERT, SARAH          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOBI THRONEBURG                  Page BOBIER,
                                                                            457 ofDANIEL
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBIER, JUSTICE                      BOBINSKI, MEGHAN                      BOBIS, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBO, BEN                            BOBO, CHRISTIAN                       BOBO, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBO, CYNTHIA                        BOBO, JENNIFER                        BOBO, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOBO, SHANA                          BOBOLA, KRISTIN                       BOBULSKY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOC, ANDREA                          BOC, JONATHAN                         BOCA, JERMAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCANEGRA, MARIA                     BOCANEGRA-MONTOYA, ARIEL              BOCCACINO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCCARD, DAISHA                      BOCCARDI, ANDREA                      BOCCHIO, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCCIERI, MICHAEL                    BOCCUTO, JILL                         BOCEK, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCEK, MALLORY                       BOCHARNIKOVA, NELLI                   BOCHES, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOCHICCHIO, DONNA      Case 22-11238-LSS    DocLAUREN
                                     BOCHICCHIO, 2 Filed 11/30/22     Page BOCHMAN,
                                                                            458 of 5495
                                                                                    ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCHNER, RISA                        BOCICH, KELLY                         BOCK, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCK, BONNIE                         BOCK, BRITTANY                        BOCK, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCK, DILLON                         BOCK, JACQUELINE                      BOCK, JOYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCK, KATHERINE                      BOCK, KELSEY                          BOCK, ZACHARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCKELMANN, JULIE                    BOCKHORST, MATT                       BOCKLET, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCKLET, MEREDITH                    BOCKMAN, SHARRON                      BOCKMEYER, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCKMIER, ALEXA                      BOCKNEK, ANNA                         BOCKTING, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOCOCK, NATHAN                       BOCZAR, BRITTANY                      BOCZON, GREG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODAGER, HALEY                       BODANSKE, REBEKKAH                    BODDEN, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BODDEN, SHEENA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BODDIE, SARAH                     Page BODE,
                                                                             459 of 5495
                                                                                  ERINN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BODE, JORDAN                          BODE, LAURA                           BODE, LOLA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODE, MARISSA                         BODE, MOLLY                           BODEGA MATARROMERA S.L.
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        CTRA SAN BERNARDO S/N
                                                                            47359 VALBUENA DE DUERO
                                                                            VALLADOLID
                                                                            SPAIN



BODEGA Y VINEDOS MAURICIO LORCA S.A   BODEGAS ATECA S.L.                    BODEGAS IRANZO S.L.
BRANDSEN 1039 PERDRIEL (5509)         BODEGAS ATECA S.L. CARRETERA          CRITA, MADRID, 60 CAUDETE DE LA
LUJAN DE CUYO                         NACIONAL II KM-221                    FUENTES, ES -
MENDOZA                               ATECA                                 VALENCIA 46315
ARGENTINA                             SPAIN                                 SPAIN



BODEGAS LA PURISIMA                   BODEGAS LO NUEVO, S.L.                BODEKER, HANNAH
BODEGAS LA PURISIMA CTRA. DE PINOSO   PARAJE LA HOYA, S/N                   ADDRESS AVAILABLE UPON REQUEST
3 APTDO. 27                           JUMILLA 30520
YECLA (MURCIA) SC                     SPAIN
SPAIN



BODELL, JORIE                         BODEN, MICHAEL                        BODENMILLER, FRANK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODENSCHATZ, JEREMY                   BODERMAN, CORRINE                     BODGE, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODHAINE, AMANDA                      BODHINATHAN, KARTHIK                  BODINE, JAKE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODIO, ALANNA                         BODISCH, LINDSAY                      BODJA, LUNE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODKIN, KELLY                         BODKINS, TOMMY                        BODMER, CATHERINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BODNAR, DONNA          Case 22-11238-LSS
                                     BODNAR,Doc
                                            LISA 2   Filed 11/30/22   Page BODNAR,
                                                                            460 of SAMANTHA
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODNER, AMANDA                       BODNER, BROOKE                        BODOR, ARIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODOW, CHELSEA                       BODRICK, JASMINE                      BODUR, SEVKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODUSZEK, JOCELYN                    BODY, LESLIE                          BODYTKO, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BODZIN, MERRILEE                     BOEBEL, ASHLEY                        BOEBEL, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOECK, LESLIE                        BOECKMAN, KAYLIN                      BOECKMAN, LEAANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEDEKER, STEPHANIE                  BOEDER, ANNIKA                        BOEDIGHEIMER, BRANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEGE, MELINDA                       BOEGEMAN, EMILY                       BOEGER, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEGLIN, TED                         BOEHLER, TAMMY                        BOEHM, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEHM, KAREN                         BOEHM, KELLI                          BOEHM, SKYLER
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BOEHM, STACEY          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOEHM, TIM                       Page BOEHM,
                                                                            461 ofTODD
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEHMCKE, PAIGE                      BOEHMCKE, WYNN                        BOEHME, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEHME, HANNAH                       BOEHME, MARY                          BOEHME, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEHMER, AMANDA                      BOEHMER, MELANIE                      BOEHNKE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEHNKE, YVETTE                      BOEHNLEIN, LEXI                       BOEHRINGER, JESSICA
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BOEHRINGER, SHAUN                    BOEHRNSEN, TARA                       BOEING, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEIRA, PATRICIA                     BOEKEL, COURTNEY                      BOEKER, DREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOEKER, JUSTIN                       BOELENS, ELYSE                        BOELSEN, LYNDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOELTER, JENNA                       BOEN, CHRIS                           BOER, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOERGER, ALLISON                     BOERJAN, JAMEY                        BOERMA, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOERMAN, NATHAN        Case 22-11238-LSS   Doc
                                     BOERNER,    2 Filed 11/30/22
                                              GEARLD                        Page BOERSEMA,
                                                                                  462 of 5495
                                                                                           MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BOERSMA, MARIA                       BOES, RYAN                                  BOESCHENSTEIN, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BOETTCHER, ASHLEY                    BOETTCHER, EMILY                            BOETTCHER, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BOETTCHER, JENNIFER                  BOETTCHER, KARLY                            BOETTCHER, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BOETTCHER, STEPHANIE                 BOETTNER, KRISTINE                          BOEVE, ANGELICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BOEVE, MIKE                          BOFA SECS, INC. (0161, 5198, 5143, 0671,    BOFF, RANDY
ADDRESS AVAILABLE UPON REQUEST       8862)                                       ADDRESS AVAILABLE UPON REQUEST
                                     ATTN EARL WEEKS OR PROXY DEPT
                                     C/O MERRILL LYNCH CORPORATE ACTIONS
                                     4804 DEER LAKE DR. E.
                                     JACKSONVILLE, FL 32246

BOFFERDING, JODI                     BOFILL, JORDI                               BOFILL, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BOFOSSA, MICHELE                     BOFSHEVER, JESSICA                          BOGAARD, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BOGAARD, JAN                         BOGACH, SARA                                BOGAD, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




BOGAN, ALANA                         BOGAN, ASIA                                 BOGAN, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
BOGANES, CORAL         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOGAR, ASHLEY                    Page BOGAR,
                                                                            463 ofBRAD
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGAR, LESLIE                        BOGARD, KARLA                         BOGARD, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGARD, RHONDA                       BOGARDUS, CHLOE                       BOGART, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGART, KATHERINE                    BOGART, MADELEINE                     BOGART, STEFFI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGATZ, KIMBERLY                     BOGDAN, ALI                           BOGDAN, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGDAN, KURT                         BOGDANSKI, VERONICA                   BOGDZIEWICZ, LUKASZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGENSCHNEIDER, BROOKE               BOGENSCHUTZ, JESSICA                  BOGER, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGERTMAN, CHERYL                    BOGETTI, CURTIS                       BOGGEMAN, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGGESS, JOHNNA                      BOGGESS, PHIL                         BOGGESS, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGGIO, JOY                          BOGGS, ANNA                           BOGGS, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOGGS, CHRIS           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOGGS, DONNA                     Page BOGGS,
                                                                            464 ofELIZABETH
                                                                                   5495 A.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGGS, HALEY                         BOGGS, JEAN                           BOGGS, JONI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGGS, JOY                           BOGGS, KAILA                          BOGGS, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGGS, MEGAN                         BOGGS, RICARDO                        BOGGS, SHERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGGUESS, MEREDITH                   BOGHOSIAN, EMILY                      BOGIN, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGIN, ROBERT                        BOGLE VINEYARDS, INC                  BOGLE, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       49762 HAMILTON ROAD                   ADDRESS AVAILABLE UPON REQUEST
                                     CLARKSBURG, CA 95612




BOGLE, CYNTHIA                       BOGLE, MERIDITH                       BOGLE, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGLI, KRISTYN                       BOGNER, ELIZABETH                     BOGNER, HOLLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGNER, LAUREN                       BOGNER, WILLIAM                       BOGNOT, KARMELLA
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BOGOMOLOVA, TATANA                   BOGORAD, DAVID                        BOGOSHIAN, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOGOSIAN, DEMETRIA     Case 22-11238-LSS   Doc
                                     BOGOSTA,     2 Filed 11/30/22
                                              KAITLYN                    Page BOGOWITH,
                                                                               465 of 5495
                                                                                        PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BOGUE, CHRISTIAN                        BOGUE, KATE                           BOGUILLE, DAVID
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BOGUMIL, ELIZABETH                      BOGUS, SALLY                          BOGUSLAWSKI, MELISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOGUSZ, REBECCA                         BOGYO, MAGDALENA                      BOHAC, DANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHACZ, NICK                            BOHAKER, KELLY                        BOHAN, CASSIDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHAN, JENNY                            BOHANNAN, AISLYNN                     BOHANNAN, JAMIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHANNON, JACQUELINE                    BOHANNON, KIMBERLY                    BOHANNON, MARGARET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHANNON, MCKENZIE                      BOHANNON, NEAL                        BOHANNON, SARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHART, TAYLOR                          BOHBRINK, JOHN                        BOHEMAN, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHEMIAN CODING                         BOHL, BRAD                            BOHL, OLIVIA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                       Case 22-11238-LSS
BOHLAND-ANHALT, JENNIFER                   DocALEXIS
                                     BOHLANDER,  2 Filed 11/30/22     Page BOHLANDER,
                                                                            466 of 5495
                                                                                      JEZREEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHLING, JUDY                        BOHLING, KAITLYN                      BOHLING, MEREDITH
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BOHLMAN, BRENDA                      BOHLMANN, CARRIE                      BOHLS, LINDSAY
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BOHM, AMY                            BOHMBACH, SARIE                       BOHMFALK, MADDIE
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BOHN, BAILEY                         BOHN, EVAN                            BOHN, FRANCES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHN, NINA                           BOHNEL, ELIZABETH                     BOHNENKAMP, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOHNERT, ANDREA                      BOHNERT, BRENT                        BOHNERT, JODI
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BOHNERT, OLIVER                      BOHNERT, WILLIAM                      BOHNET, KRISTY
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BOHNET, LORRAINE                     BOHNSACK, TARA                        BOHR, CATHERINE
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BOHR, JENNIFER                       BOHRA, KAMNA                          BOHRA, NEELAM
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BOHREN, DEBRA          Case 22-11238-LSS   Doc
                                     BOHRMAN,    2 Filed 11/30/22
                                              LYNNE                   Page BOHRMANN,
                                                                            467 of 5495
                                                                                     MARTHA
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BOHRNSTEDT, COURTNEY & KURTIS        BOHUSLAVICKY, BETTY                   BOIKE, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOIKOALONSO, TIFFANY                 BOIN, THERESA                         BOINGO WIRELESS
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BOIS, BETHANY                        BOIS, DIANA                           BOISCLAIR, CASSIE
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BOISI, ZACHARY                       BOISMENU, MICHEL                      BOISSEAU, SARAH
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BOISSET EFFERVESCENCE                BOISSONNEAULT, HANNAH                 BOISTER, JESSIE
2 PASSAGE MONTGOLFIER                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NUITS-SAINT-GEORGES 21700
FRANCE




BOISTURE, WILL                       BOISVERT, CINDY                       BOITSOVA-CONVIS, MIKIKO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOJI, JENNY                          BOJORQUEZ, ANDREA                     BOJORQUEZ, JULIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOJORQUEZ, VANESA                    BOJSEN, THOMAS                        BOKAMPER, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOKANO, CHERYL                       BOKATH, RANDALL                       BOKEY, SHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOKHNYAK, SERGIY       Case 22-11238-LSS
                                     BOKISCHDoc
                                              INC 2     Filed 11/30/22   Page BOKISCH
                                                                               468 of VINEYARDS
                                                                                      5495
ADDRESS AVAILABLE UPON REQUEST       PO BOX 335                               P.O. BOX 335
                                     VICTOR, CA 95253                         VICTOR, CA 95253




BOKOVITZ, MICHAEL                     BOKUNIEWICZ, GERNELLE                   BOKUSKY, BUDDIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BOL, MADELEINE                        BOLAN, MELISSA                          BOLAND, COLLEEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BOLAND, EVELYN                        BOLAND, JENNIE                          BOLAND, KILEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BOLAND, LACEY                         BOLAND, MARY                            BOLAND, MEGHAN
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BOLAND, PAT                           BOLAND, PATRICIA                        BOLAND, REBECCA
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BOLANDER, MADISON                     BOLAND-SPATES, AMBER                    BOLANIS, FRAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BOLANOS, LHUANYS                      BOLANOS, MARIANNA                       BOLANOS, MARIANNA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BOLANOS, MARIO                        BOLANOS, RUTH                           BOLAS, KATHRYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




BOLBIRER, DANIEL                      BOLD ECHO                               BOLD, THOMAS
ADDRESS AVAILABLE UPON REQUEST        369 BENVENUE AVE                        ADDRESS AVAILABLE UPON REQUEST
                                      LOS ALTOS, CA 94024
BOLDA, TASHA           Case 22-11238-LSS
                                     BOLDEN, Doc 2 Filed 11/30/22
                                             AARON                    Page BOLDEN,
                                                                            469 of JAMES
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLDENOW, BRETT                      BOLDENOW, BRETT                       BOLDON, BIANCA
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BOLDRINI, CECILIA                    BOLDS, CORA                           BOLDT, LEAH
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BOLDUC, BENJAMIN                     BOLDUC, DAVE                          BOLDUC, TIMOTHY
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BOLE, CAROLINE                       BOLE, RALPH                           BOLE, VICTORIA
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BOLEJACK, COLLEEN                    BOLEN, CHRISTINA                      BOLEN, LINDA
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BOLEN, STEVEN                        BOLENBAKER, TARA                      BOLENBAUGH, GAY
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BOLERJACK, KELSIE                    BOLES, ANDREA                         BOLES, ASHTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLES, TAYLOR                        BOLESKI, GAIL                         BOLESKI, KRISTEN
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BOLEY, KANDICE                       BOLGER, ERIN                          BOLGER, KERRY
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BOLHOUS, MARGIE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOLICK, ANSLEY                   Page BOLIN,
                                                                            470 of  5495
                                                                                  BRITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLIN, HANNAH                        BOLIN, JOLENE                         BOLIN, MEGAN
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BOLIN, NOELLE                        BOLING, ANNA                          BOLING, ERNIE
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BOLING, K ROXANNE                    BOLING, KATIE                         BOLING, KIMBERLY
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BOLING, MARK                         BOLINGER, ALLISON                     BOLINGER, MELANIE
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BOLINGER, OLIVIA                     BOLK, ERIN                            BOLKO, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLLA, RAVI                          BOLLENBACHER, LAURA                   BOLLENBECKER, NICOLE
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BOLLENDORF, BRIDGET                  BOLLENDORF, JULIA                     BOLLER, CARMELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLLER, EMILY                        BOLLERT, KRISTEN                      BOLLES, KRISTI
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BOLLES, LAURA                        BOLLIER, BRETT                        BOLLING, CANDRA
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BOLLING, JALIL         Case 22-11238-LSS    Doc
                                     BOLLINGER,   2 Filed 11/30/22
                                                ABIGAIL               Page BOLLINGER,
                                                                            471 of 5495
                                                                                      ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLLINGER, CELESTE                   BOLLINGER, CHELSEA                    BOLLINGER, ELIZABETH
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BOLLINGER, GRACE                     BOLLINGER, JENNIFER                   BOLLINGER, KELLY
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BOLLINGER, KIMBERLY                  BOLLINGER, KIRSTEN                    BOLLINGER, MICHAEL
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BOLLINGER, SUSAN                     BOLLISH, KALLA                        BOLMER, EMILY
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BOLOGNA, JERRY                       BOLOGNA, LISA                         BOLOR, MARY
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BOLOS, KAYLA                         BOLOTINA, OLGA                        BOLOTINSKY, NATASHA
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BOLOTOV, OLEG                        BOLSON, ANDREW                        BOLSTAD, EILEEN
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BOLSTAD, KIM                         BOLSTAD, SANDY                        BOLSTER, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLSTER, JESSICA                     BOLSTER, KATHERINE                    BOLT, BRIGETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOLT, JESSICA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOLT, KRISTEN                    Page BOLT,
                                                                            472 LATISHA
                                                                                 of 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLTON, AMY                          BOLTON, ANGELA                        BOLTON, BEVERLY
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BOLTON, BLAIR                        BOLTON, CALLAN                        BOLTON, HEATHER
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BOLTON, JOSEPH                       BOLTON, LACY                          BOLTON, PAMELA
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BOLTON, PHILATHIA                    BOLTON, RYAN                          BOLTON, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLTON, SANDRA                       BOLTON, SARAH                         BOLTON, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLTON, XAVIER                       BOLTS, DARLA                          BOLTS, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOLUNG, JOSEPHINDO                   BOLWELL, EDWARD                       BOLYARD, BRET
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BOLZ, TRICIA                         BOMAL, HALEY                          BOMARSI, BETH
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BOMB, EBBY                           BOMBACH, JOSH                         BOMBACK, COLETTE
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BOMBARD, BEN           Case 22-11238-LSS   Doc 2JOANFiled 11/30/22
                                     BOMBARDIERE,                     Page BOMBERG,
                                                                            473 of 5495
                                                                                    JEREMY
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BOMBOY, HALEY                        BOMHOWER, SANDRA                      BOMMARITO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOMMELYN, AMANDA                     BOMMER, QUIN                          BOMPARD, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONACCORSI, ADAM                     BONACORSI, ROSE                       BONACQUISTI, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONACQUISTI, LARYSSA                 BONADDIO, CORINNE                     BONADIES, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONADIES, ELAINE                     BONADIES, MATT                        BONADONNA, MARYELLEN
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BONAFINA, MARCELA                    BONAGURA, ERIN                        BONAGURO, MADELINE
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BONAHOOM, JAMILA                     BONAIUTO, JENNIFER                    BONANNI, PAIGE
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BONANNI, SARA                        BONANNO, ALEXA                        BONANNO, CHRISTINA
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BONANNO, KRISTEN                     BONANNO, MARINA                       BONAPARTE, AMAYA
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BONAROS, ALEXA         Case 22-11238-LSS   Doc
                                     BONAROTI,    2 Filed 11/30/22
                                               KARA                   Page BONARRIGO,
                                                                            474 of 5495
                                                                                      ANGELA
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BONASERA, EMMA                       BONASSO, KRISTEN                      BONATESTA, JILL
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BONATESTA, ROBIN                     BONAVENIA, ASHLEY                     BONAVENIA, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONAVENTURA, MIKE                    BONAVENTURA, NICOLE                   BONAVISE, ANTHONY
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BONAVITA, FRANCESCA                  BONAVOTA, MICHAEL                     BONCELLA, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONCORE, MORGAN                      BONCORE, MORGAN                       BOND CREATIVE SEARCH INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        134 SPRING ST SUITE 501
                                                                           NEW YORK, NY 10012




BOND, ALYSSA                         BOND, AMANDA                          BOND, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOND, ANNE                           BOND, BEVERLY                         BOND, BILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOND, BRETT                          BOND, CAROL                           BOND, CARRIE
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BOND, CASSANDRA                      BOND, DANIELLE                        BOND, DEBBIE
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BOND, DEKE             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOND, DICK                       Page BOND,
                                                                            475 of 5495
                                                                                 DOROTHY
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BOND, EVON                           BOND, GLORIA                          BOND, JAMES
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BOND, JENNIFER                       BOND, JESSICA                         BOND, JESSICA
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BOND, JIBBY                          BOND, KEITH                           BOND, KEN
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BOND, KENDALL                        BOND, KRISTEN                         BOND, KRISTINA
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BOND, MATTHEW                        BOND, MAUREEN                         BOND, MICHAELA
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BOND, MIKE                           BOND, OLIVIA                          BOND, PHILIP
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BOND, QUINN                          BOND, REBECCA                         BOND, SHELBY
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BONDALAPATI, NEEHARIKA               BONDANELLI, TESSA                     BONDELLIO, LINDA
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BONDER, DANI                         BONDESSON, ERICA                      BONDI, HANNAH
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BONDOC, ASHLEIGH       Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BONDS, DALEG                        Page BONDS,
                                                                               476 ofELIOTT
                                                                                      5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BONDS, KRISTIN                       BONDS, TATYANA                           BONDSD, DALEH
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BONDURANT, AMBER                     BONDURANT, HANNAH                        BONDY, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BONE, RACHAEL                        BONE, TABITHA                            BONEBRAKE, CAYSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BONEBRAKE, EMILY                     BONEBRAKE, EMILY                         BONEBRAKE, KRISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BONECHER, BRANDY                     BONEFISH GRILL                           BONELLI, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




BONELLI, JESSICA                     BONELLI, NATALIE                         BONELLI, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BONELLO, MISSY                       BONENFANT, REBECCA                       BONER, CHELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BONER, ETHAN                         BONES, ALISSA                            BONESS, RAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BONESTEEL, JENNIFER                  BONESTEEL, RICHARD                       BONESTROO, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BONESZ MARECEK, KATE Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                   BONET, JESSICA                    Page BONET,
                                                                           477 ofSTACEY
                                                                                  5495
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BONETTI, AMY                        BONETTI, LAUREN                       BONETTI, SHANA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONFANTE, MARCELLA                  BONFANTINI, LISA                      BONFIELD, KAITLYN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONFIG, JULIE                       BONFIGLIO, GRACE                      BONG, VIVI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONGARZONE, MEGAN                   BONGIORNI, RACHEL                     BONGIORNO, KIM
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONGO, MARIA                        BONGOLAN, CHARLLIE                    BONHAM, EDWARD
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONHAM, KERRI                       BONHAM, KRIS                          BONHAM, KRISTOPHER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONHAM, MOE                         BONHAM, STEPHEN                       BONHAM, TURNER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONHOMME, ANDREA                    BONHOMME, ASHLEY                      BONHOMME, JENNIFER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONI, JOE                           BONI, RENEE                           BONICA, DIANE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BONIDIE, MATT          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BONIEK, LINDSEY                  Page BONIELLO,
                                                                            478 of 5495
                                                                                     DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONIFACE, MADISON                    BONIFIELD, SAIDA                      BONILLA FIGUEROA, MARIANGEL
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BONILLA INGLES, NANCY                BONILLA, ALFONSO                      BONILLA, AMANDA
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BONILLA, JANICE                      BONILLA, JAQUELIN                     BONILLA, KENNY
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BONILLA, MADELINE                    BONILLA, PAOLA                        BONILLA, TONYA
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BONILLA, VANESSA                     BONIN, AFTON                          BONIN, ANGEL
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BONIN, MICHELLE                      BONIN, SHEALYN                        BONIN, SHEALYN
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BONINE, RACHEL                       BONINO, SUSAN                         BONISCAVAGE, ELYSE
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BONISH, BRITTANY                     BONITZ, STEPHANIE                     BONK, CARRIE
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BONK, COURTNEY                       BONK, PAIGE                           BONNABEAU, MARIE
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BONNAFOUX, JEAN-PHILIPPECase 22-11238-LSS   Doc
                                      BONNEAU,    2 Filed 11/30/22
                                               AMANDA                  Page BONNEAU,
                                                                             479 of 5495
                                                                                     CAROL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONNEAU, HEATHER                     BONNELL, AIMEE                         BONNELL, JANE
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BONNELL, KATHERINE                   BONNEN, MICHELLE                       BONNER, HALEY
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BONNER, HARRISON                     BONNER, JULIE                          BONNER, KATHARINE
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BONNER, KHAKKI                       BONNER, MITCH                          BONNER, NIKOLE
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BONNER, ROBERT                       BONNER, SPRING                         BONNET, AMY
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BONNETT, KAMI                        BONNETT, KAREN                         BONNETT, KRISTYN
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BONNEWELL, CHRISTY                   BONNEWELL, CHRISTY                     BONNIE ARBUCKLE
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BONNIE BURNS                         BONNIE GAGNER                          BONNIE YEE
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BONNOT, SUZANNA                      BONNSTETTER, TESSA                     BONNY DOON WINERY, INC
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BONO, GINA             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BONO, LEAH                       Page BONO,
                                                                            480 of 5495
                                                                                 MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BONO, NICHOLAS                       BONOGOFSKY-PARKER, SHARON             BONOMO, JERI
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BONOVA, TZVETELINA                   BONSA, SAYDOU                         BONSALL, HALEY
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BONSE, MARIA                         BONSIERO, HEATHER                     BONSIGNORE JR, JOSEPH
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BONSU, ALFRED                        BONSU, SARAH                          BONTA, LYNDSAY
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BONTADELLI, CHARITY                  BONTATIBUS, RICK                      BONTRAGER, BRAD
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BONTRAGER, CHRIS                     BONTRAGER, JENNIFER                   BONTRAGER, JORDAN
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BONUCCELLI, ALISON                   BONURA, JAKE                          BONURA, JEANNE
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BONVALLET, PAIGE                     BONVALLET, PAIGE                      BONVEGNA, LAURA
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BONVENTURE, JANICE                   BONVILLE, JEANNIE                     BONVISSUTO, MADISON
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BONZA, KAY             Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOO, BERNARD                     Page BOOBAR,
                                                                            481 of JAIME
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOOCOCK, NIKKI                       BOODOO, JESSE                         BOODOO, SAMANTHA
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BOODRAM, FELICIA                     BOOHER, ANNA                          BOOK CDT MYUGE
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BOOK, ALYSSA                         BOOK, SHEREE                          BOOK, TARA
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BOOKER, ALEXANDRA                    BOOKER, BARBARA                       BOOKER, CATINA
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BOOKER, DAMIAN                       BOOKER, DAWN                          BOOKER, DONA
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BOOKER, ENDIAN                       BOOKER, ERICA                         BOOKER, FELTON
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BOOKER, JAMES                        BOOKER, KATHERINE                     BOOKER, KATIE
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BOOKER, MACKENZIE                    BOOKER, MADALENE                      BOOKER, MICHAEL AND ABBY
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BOOKER, NICOLE                       BOOKER, SHERRY                        BOOKER-DAY, IMANI
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BOOKMAN, TRINITA       Case 22-11238-LSS   Doc
                                     BOOLEAN,    2 Filed 11/30/22
                                              STEPHANIE               Page BOOMERANG
                                                                            482 of 5495
                                                                                     FOR GMAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




BOOMGAARD, JULIE                     BOOMHOWER, THOMAS                     BOON, CHERYL
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BOON, DAVID                          BOONE JR, DAVID                       BOONE, ADAM
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BOONE, ALISON                        BOONE, BECCA                          BOONE, BILL
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BOONE, CATHY                         BOONE, DARLA                          BOONE, ELIZABETH
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BOONE, ELLE                          BOONE, JANET                          BOONE, JOYCE
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BOONE, LINDSAY                       BOONE, LISA                           BOONE, MALLORY
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BOONE, MICHAEL                       BOONE, MORGAN                         BOONE, NICOLE
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BOONE, REBECCA                       BOONE, SONDRA                         BOONE, STACY
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BOONE, STEPHEN         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOONE, SUSAN                     Page BOONE,
                                                                            483 ofTESS
                                                                                   5495
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BOONE, TIFFANY                       BOORD, WENDY                          BOORMAN, NAIARA
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BOORMAN, PAIGE                       BOORMAN, PILAR                        BOORSE, ANDREA
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BOORSTEIN, ALI                       BOOSKA, ROBERT                        BOOTH, ABIGAIL
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BOOTH, AMY                           BOOTH, ANDREW                         BOOTH, BRYNA
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BOOTH, CHARMAINE                     BOOTH, ELIZABETH                      BOOTH, ERICA
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BOOTH, HALEY                         BOOTH, JAIME                          BOOTH, JENNA
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BOOTH, JENNIFER                      BOOTH, JESSICA                        BOOTH, JILIAN
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BOOTH, JUDI                          BOOTH, JULIA                          BOOTH, KATHRYN
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BOOTH, KATIE                         BOOTH, KAYLA                          BOOTH, LAURA
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BOOTH, MARCUS          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOOTH, NICHOLAS                  Page BOOTH,
                                                                            484 ofNICK
                                                                                   5495
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BOOTH, NICOLE                        BOOTH, PEYTON                         BOOTH, SPRING
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BOOTH, STEVEN                        BOOTHBY, ARIELLE                      BOOTHBY, JENNIFER
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BOOTHE, CHRISTINA                    BOOTHE, JASMINE                       BOOTHMAN, KATIE
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BOOTHROYD, GAIL                      BOOTMANN, OLIVER                      BOOTON, CALLIE
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BOOYSEN, WES                         BOOZE, MARGARET                       BOOZER, KERRI
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BOOZER, TINA                         BOPCHIE, BOPCHE                       BOQUILA, MA JANELLE
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BOQUIN, CARLOS                       BORAKOWSKI, NATALYA                   BORAL, ANDRES
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BORATYN, KINGA                       BORBA, ANDRE                          BORBOA, EMMANUEL
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BORCHARDT, DANIEL                    BORCHARDT, TAMERA                     BORCHELT, MATTHEW
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BORCHELT, SARAH        Case 22-11238-LSS   Doc
                                     BORCHERS,   2 Filed 11/30/22
                                               KLETA                  Page BORCHERS,
                                                                            485 of 5495
                                                                                     MARY ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BORCHERT, ALLIE                      BORCHERT, ALLISON                     BORCHERT, JOHN
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BORCHERT, MIKE                       BORCK, NICOLE                         BORCZYK, NICOLE
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BORD, ERIC                           BORDA, CYNTHIA                        BORDA, MARIA
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BORDANO, KAREN                       BORDAS, MARGOT                        BORDEAUX, BRIANNA
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BORDEAUX, CRISTINA                   BORDEAUX, EVELYN                      BORDELON, JESSICA
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BORDELON, KELSEY                     BORDEN, ABBY                          BORDEN, ASHLEY
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BORDEN, CHAD                         BORDEN, DAVID                         BORDEN, ERIKA
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BORDEN, KYLIE                        BORDEN, PAIGE                         BORDER, JADEN
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BORDER, MEREDITH                     BORDERS, ELIZABETH                    BORDERS, JARED
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BORDERS, KAITLYN       Case 22-11238-LSS
                                     BORDES,Doc  2 Filed 11/30/22
                                            TAYLOR                    Page BORDEWIJK
                                                                            486 of 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




BORDIERI, JULIA                      BORDISSO, ALEX                        BORDIUK, AMY
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BORDNER, JESSICA                     BORDNER, REBECCA                      BORDON, CHARLES
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BORDOWITZ, MICHAEL                   BORDUIN, RACHEL                       BORECKY, TAUMIE
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BORECZKY, RITA                       BOREK, JOHN                           BOREK, KATE
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BOREK, VIVIAN                        BORELL, GRACE                         BORELLA, BETSY
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BORELLA, LUIS                        BOREMAN, MICHELE                      BOREN, ANDREW
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BOREN, DAVID                         BOREN, LUKE                           BORENSTEIN, CASSANDRA
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BORER, ALICIA                        BORER, JILL                           BORER, LEAH
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BORESOFF, RAQUEL                     BORETZ-GRIFFITH, MARIANNE             BORETZKY, FELICIA
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BORG, ERICA            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BORG, SUSAN                      Page BORGAARD
                                                                            487 of 5495
                                                                                    TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BORGARDT, JIM                        BORGE, HILARY                         BORGE, KRISTINA
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BORGEN, MELISSA                      BORGER, VALERIE                       BORGERDING, CHRISTINE
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BORGERDING, JULEE                    BORGERT, CHARLOTTE                    BORGES AGUIAR, JESSICA
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BORGES, ERIN                         BORGES, HENRIQUE                      BORGES, JUSTIN
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BORGES, MAFALDA                      BORGES, MANNY                         BORGES, MCKENNA
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BORGES, MICHELLE                     BORGES, SOFIA                         BORGESE, JOSEPH
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BORGIEL, HOLLY                       BORGMANN, CALLIE                      BORGMEYER, AUSTIN
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BORGNER, ERIN                        BORGO, ERICA                          BORGSTROM,, CATHERINE
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BORGWARDT, KRISTI                    BORH, AMY                             BORILLO, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BORIM, HOWARD          Case 22-11238-LSS
                                     BORING, Doc
                                             RUSH 2  Filed 11/30/22   Page BORIS
                                                                            488 of 5495
                                                                                 BELOBRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BORIS BORRAYO                        BORIS CHUNG                           BORIS, MACKENSIE
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BORISENKO, KEVIN                     BORISOVA, GABRIELA                    BORJA, CAMILLE
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BORJA, SAMANTHA S                    BORJAS, JOVEL                         BORKACKI, VICTOR
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BORKOVITZ, KATHRYN                   BORKOWSKI, ALYSSA                     BORKOWSKI, LONI
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BORKOWSKI, MARILYN                   BORKOWSKI, MICHAEL                    BORKOWSKI, VICTORIA
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BORLAND, CARY                        BORLAND, MARIA                        BORLAND, PAMELA
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BORLEY, FARAH                        BORMAN, ALANA                         BORMAN, JACKSON
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BORMAN, MAXWELL                      BORMANN, J B                          BORMET, EMMA
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BORN, JOAN                           BORN, MATTIE                          BORN, SIERRA
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BORN, STEPHANIE        Case 22-11238-LSS   Doc
                                     BORNARTH,   2 Filed 11/30/22
                                               REGINA                 Page BORNE,
                                                                            489 ofALLEN
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BORNE, COURTNEY                      BORNEMAN, ALEXANDRA                   BORNEMANN, JACLYN
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BORNFREUND, JESSE                    BORNGRAEBER, BRYCE                    BORNHOLDT, MARGARET
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BORNMANN, HANNAH                     BORNSTEIN, AMY                        BORNSTEIN, JACKIE
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BORNTRAGER, SAMANTHA                 BORODICH, JACQUELINE                  BORODIN, MIKHAIL
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BORODITSKY, ILYA                     BOROFSKY, SAMANTHA                    BORON-BRENNER, DANIEL
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BORONOW, ARLENE                      BOROSKO, ABBEY                        BOROUGHS, AMY
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BOROVICK, JEANNE                     BOROVINA, JANE                        BOROWICZ, JOY
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BOROWICZ, PATRICIA                   BOROWIEC, HEATHER                     BOROWSKI, CHRISTINE
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BOROWSKI, DIANA                      BOROWSKI, JACLYN                      BORRAS, KENDAL
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BORREGO, DANIELLE      Case 22-11238-LSS   Doc
                                     BORREGO,    2 Filed 11/30/22
                                              JESSICA                    Page BORREGO,
                                                                               490 of 5495
                                                                                       RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BORRELL, TIA                         BORRELLI, ASHLEY                         BORRELLI, GLENN
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BORRERO, DEBORAH                     BORRERO, SARAH                           BORRESEN, KELSEY
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BORRIELLO, ANGELENA                  BORRIELLO, JESSICA                       BORRIELLO, LAURIE
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BORRIES, JESSICA                     BORRIS, STEPHANIE                        BORRIS, TED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BORROMEO, LYNETTE                    BORROR, MEGAN                            BORROWLENSES
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BORROWMAN, SARAH                     BORRUD, ALLY                             BORSE, SARAH
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BORSELLINO, EMILY                    BORSHEIM, KIMBERLY                       BORSKI, SARAH
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BORSKY, ALEXIS                       BORTEK INDUSTRIES                        BORTNEM, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




BORTON, CHRISTOPHER                  BORTON, SARAH                            BORTZ, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BORTZ, KIMBERLEE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BORTZ, REBECCA                      Page BORUEL,
                                                                               491 of JACKIE
                                                                                      5495
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BORUFF, ROXANNE                         BORUI XU                              BORUM, JEROME
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BORUTA, ERIN                            BORWEGE, AMANDA                       BORZA, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BORZECKI, CAROLLE                       BORZI, SALVATORE                      BOS, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSAK, RAYMOND                          BOSARGE, KAYLA                        BOSBYSHELL, KATIE
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BOSCH                                   BOSCH, ANDREW                         BOSCH, DENEEN
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BOSCH, ELLEN                            BOSCH, FEMKE                          BOSCH, HALEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSCH, MICHELE                          BOSCH, WHITNEY                        BOSCHERT, BETHANY
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BOSCIA, MATTHEW                         BOSCO, LAUREN                         BOSCO, LUPE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSCO, MARCY                            BOSCO, REBECCA                        BOSCO, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOSCOV-ELLEN, JULIA    Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOSE, ASHIM                      Page BOSE,
                                                                            492 of  5495
                                                                                 JAVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSE, JUDITH                         BOSE, ROSENE                          BOSE, URSULA
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BOSEK, KRISTIN                       BOSELLI, NICOLE                       BOSETTI, ALY
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BOSHART, HARVEY                      BOSI, SANJO                           BOSI-KEMPER, ROSSANA
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BOSILJCIC, ANJA                      BOSLAND, KRISTINA                     BOSLAND, LAUREN
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BOSLER, TOREY                        BOSLEY, BRUCE                         BOSLEY, CORGAN
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BOSLEY, KATIE                        BOSLEY, NICOLE                        BOSLEY, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSMA, ANDREA                        BOSMA, DEBORAH                        BOSON, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSONE, CATHERINE                    BOSS, ANDREA                          BOSS, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSS, ELIZABETH                      BOSS, JANE                            BOSS, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOSSALLER, MARY FRANCESCase 22-11238-LSS   Doc
                                     BOSSARD,     2 Filed 11/30/22
                                              CAITLIN                 Page BOSSBALY,
                                                                            493 of 5495
                                                                                     BIANCA
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BOSSE, KATHY                         BOSSECKERT, ALEXANDRA                 BOSSELMAN, PAULA
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BOSSEN, DANA                         BOSSERDET, STEPHEN                    BOSSERMAN, DANIEL
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BOSSERT, DANA                        BOSSERT, GRACE                        BOSSERT, MELINDA
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BOSSERT, MICHAEL                     BOSSERT, SHANA                        BOSSLET, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSSLET, REBECCA                     BOSSMANN, JESSICA                     BOSSOLA, KELLY
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BOSTARDI, HANNAH                     BOSTER, WILLIA                        BOSTIC, KRYSTAL
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BOSTIC, TERESA                       BOSTICK, CHRISTINA                    BOSTICK, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOSTICK, MONIQUE                     BOSTICK, RIMA                         BOSTOB, AISHA
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BOSTOCK, ERIN                        BOSTOCK, LAUREN                       BOSTOCK, PAULA
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BOSTON RICKSHAW        Case 22-11238-LSS
                                      BOSTON,Doc  2 Filed 11/30/22
                                             CASSIDY                   Page BOSTON,
                                                                             494 of CHRIS
                                                                                    5495
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BOSTON, CLAIRE                       BOSTON, DENAE                          BOSTON, ELIZABETH
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BOSTON, EMILY                        BOSTON, HUNTER                         BOSTON, MARINA
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BOSTON-KIDD, SHAHRIA                 BOSTROM, LYNN                          BOSTWICK, DAN
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BOSTWICK, JENNIFER                   BOSU, ROMIR                            BOSWELL, AUBREY
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BOSWELL, CHRISTOPHER                 BOSWELL, HEATHER                       BOSWELL, JORDAN
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BOSWELL, KIMBERLY                    BOSWELL, LAUREN                        BOSWELL, SARAH
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BOSWELL, SARAH                       BOSWELL, SHEENA                        BOSWOOD, RAY
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BOSWORTH, ALEXANDRA                  BOSWORTH, CHELSEA                      BOSWORTH, JESSICA
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BOTCHWAY, JOSEPHINE                  BOTCHWEY, EDWARD                       BOTELHO, JOYCE
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BOTELHO, KAYLA         Case 22-11238-LSS
                                     BOTELLO,Doc
                                              ALEX2  Filed 11/30/22       Page BOTELLO,
                                                                                495 of 5495
                                                                                        ELVIRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOTERO, BIANCA                       BOTHE, JENNIFER                           BOTHNER, SARAH
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BOTHWELL, ANNE                       BOTKA, TESSA                              BOTKIN, BRIAN
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BOTKIN, BRINTON                      BOTLINGER, JODI                           BOTSFORD, JEROME
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BOTSFORD, LINDSEY                    BOTSFORD, SAMUEL                          BOTT, SUZANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOTTA, LILLY                         BOTTEGA FALAI NEW YORK                    BOTTEMILLER, JAUNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS AVAILABLE UPON REQUEST




BOTTENFIELD, KELLY                   BOTTER CASA VINICOLA                      BOTTERBUSCH, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       VIA CADORNA 17 30020 FOSSALTA DI PIAVE    ADDRESS AVAILABLE UPON REQUEST
                                     VENEZIA
                                     ITALY




BOTTGE, PAUL                         BOTTI, BRYAN                              BOTTI, FRANCINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOTTING, DIANNE                      BOTTING, MARY BETH                        BOTTINI, DOROTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BOTTINI, TINA-MARIE                  BOTTINO, MEGAN                            BOTTITTA, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
BOTTJER, BRIAN         Case 22-11238-LSS    Doc 2SHOPFiled 11/30/22 Page BOTTLENOTES,
                                     BOTTLE STOCK                           496 of 5495INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING 555 BRYANT ST 575
                                                                           PALO ALTO, CA 94301




BOTTLENOTES, INC.                     BOTTLENOTES, INC.                      BOTTLICK, VICTORIA
ATTN: JENNIFER FRANK                  PO BOX 1510                            ADDRESS AVAILABLE UPON REQUEST
459 HAMILITON AVENUE, SUITE 306       LOS ALTOS, CA 94023-1510
PALO ALTO, CA 94301




BOTTOM, KRISTEN                       BOTTOMS, JUSTIN                        BOTTOMS, SAM
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BOTTOMS, TASHA                        BOTTONI, ROGER                         BOTTORFF, LISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BOTTS, JOHNNY M                       BOTTS, MALLORY                         BOTTS, MIRANDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BOTTS, TAYLOR                         BOTWICK, THEODORE                      BOTYRIUS, MICHELLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BOUCARD, VICTORIA                     BOUCHARD, AMY                          BOUCHARD, ARIES
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BOUCHARD, ELIZABETH                   BOUCHARD, GRAY                         BOUCHARD, KATHRYN
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BOUCHARD, KIM                         BOUCHARD, LAURA                        BOUCHARD, NADINE
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BOUCHARD, NATHALIE                    BOUCHARD, QUINN                        BOUCHAT, JUSTIN
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BOUCHAT, THOMAS        Case 22-11238-LSS
                                     BOUCHE,Doc  2 Filed 11/30/22
                                            ELIZABETH                    Page BOUCHEE,
                                                                               497 of 5495
                                                                                       DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BOUCHER, ASHLEIGH                       BOUCHER, BRITTANY                     BOUCHER, CHELAINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUCHER, LAUREN                         BOUCHER, MARTINE                      BOUCHER, MARY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUCHER, NORA                           BOUCHER, PEGGY                        BOUCHER, REBECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUCHER, TARYN                          BOUCHER, TAYLOR                       BOUCHER, TAYLOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUCHET, CHRISTOPHER                    BOUCHNER, ELISE                       BOUCHON BAKERY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




BOUCHON                                 BOUCICAUT, BARBARA                    BOUCK, ROSALIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUCLIER, MARC                          BOUDART, NICOLE                       BOUDET, ROBERT
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BOUDOS, NATALIE                         BOUDREAU, CECILIA                     BOUDREAU, HANNAH
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BOUDREAU, MIKAELA                       BOUDREAU, NANCY                       BOUDREAU, SAMANTHA
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BOUDREAU, TAMMY        Case 22-11238-LSS   Doc MANON
                                     BOUDREAULT, 2 Filed 11/30/22        Page BOUDREAUX,
                                                                               498 of 5495
                                                                                         BRIANNA
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BOUDREAUX, DREW                      BOUDREAUX, ELIZABETH                     BOUDREAUX, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BOUDREAUX, MICHAELA                  BOUEY-SUEN, ERIN                         BOUEY-SUEN, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BOUFFARD, HELENE                     BOUGH, MARIEL                            BOUGHAMER, COREY
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BOUGHER, MICHELLE                    BOUGHER, WIN                             BOUGHNER, ANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BOUGHTER-DORNFELD, MAURA             BOUGHTON, NANCY                          BOUGIE, BONNIE
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BOUGIE, CHRISTINE                    BOUGIE, JONATHAN                         BOUHON, JESSICA
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BOUILLE, LIZ                         BOUKNIGHT, WHITNEY                       BOULAND, FREDERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BOULANGER, DAVID                     BOULANGER, MARY                          BOULDEN, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BOULDEN, HEIDI                       BOULDER PARKING                          BOULDIN, ANDRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
BOULDIN, BRITANI       Case 22-11238-LSS
                                     BOULDIN,Doc  2 Filed 11/30/22
                                              MATTHEW                 Page BOULEY,
                                                                            499 of KIMBERLEE
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOULGER, JESSICA                     BOULLET, KYLE                         BOULMAAROUF, AYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOULOS, ERICA                        BOULTON, TARA                         BOULTON-MANCHEGO, CLARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOULWARE, KEVIN                      BOUMAN, SANDRA                        BOUMLIK, MOURAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUN, NANCY                          BOUN, RAFAELA                         BOUNCE EXCHANGE INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        285 FULTON ST, ONE WORLD TRADE
                                                                           CENTER 74TH FLOOR
                                                                           NEW YORK, NY 10007




BOUNDS, CHELSI                       BOUNDS, JANINE                        BOUNDS, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUNDY, AARON                        BOUNOUGIAS, PETER                     BOUNTY, KYLE
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BOUNTY, WHITNEY                      BOUQUET, VICKI                        BOUQUETS
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BOUQUIO, MARISOL                     BOUR, SOKINA                          BOURAS, JAMI
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BOURASSA, CHELSEA                    BOURASSA, RACHEL                      BOURBEAU, BRETT
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BOURBEAU, GRACEN       Case 22-11238-LSS   Doc
                                     BOURBEAU,   2 Filed 11/30/22
                                               JAMIE                  Page BOURBEAU,
                                                                            500 of 5495
                                                                                     LIZ
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BOURBONNAIS, LISA                    BOURDASE, JOHN                        BOURDEAU, BONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOURDO, SHELBY                       BOURGAULT, NICOLE                     BOURGEOIS, ASHLEY
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BOURGEOIS, BERNADETTE                BOURGEOIS, CARLY                      BOURGEOIS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOURGEOIS, MATTHEW                   BOURGEOIS, MONIQUE                    BOURGEOIS, NOELLE
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BOURGEOIS, REBEKAH                   BOURGEOIS, SHANNON                    BOURGEOIS, STEPHANIE
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BOURGEOIS, THOMAS                    BOURGERIE, MADDI                      BOURGOGNE, ALISON
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BOURGOIN, MARK                       BOURGOIN, RACHELLE                    BOURIS, LUKE
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BOURKE, TAYLOR                       BOURLAKAS, SARAH                      BOURLAND, LORI
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BOURLAND, MICHELLE                   BOURNE, JUDY                          BOURNE, LOIS
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BOURNE-PETERS, ALYSSA Case 22-11238-LSS   Doc
                                    BOURQUE, AMY2   Filed 11/30/22   Page BOURQUE,
                                                                           501 of 5495
                                                                                   ANNA
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BOURQUE, BRIANNA                    BOURQUE, DANIEL                       BOURQUE, DANIELLE
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BOURQUE, JAMES                      BOURQUE, KASIE                        BOURQUE, LESLIE
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BOURQUE, MATTHEW                    BOURQUE, MICHAEL                      BOURQUE, PATRICK
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BOURQUE, ZACH                       BOUSABA, JOSEPH                       BOUSANTI, ARIELLE
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BOUSKA, KAYLA                       BOUSLEIMAN, SARA                      BOUSLOG, KAREN
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BOUSMAN, LAURA                      BOUSQUET, GLORIA                      BOUSQUET, KRISTIN
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BOUSQUET, LISA                      BOUSQUET, RACHEL                      BOUSSIOS, JOHN
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BOUTAH, VICKY                       BOUTAUGH, SARAH                       BOUTCHER, SYDNEY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUTELLE, BETSEY                    BOUTERSE, KARLA                       BOUTHILETTE, MATT
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BOUTHOT, ADRIAN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOUTIS, BETTY                    Page BOUTROS,
                                                                            502 of 5495
                                                                                    SACHA
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BOUTSABOUALOY, JANETH                BOUTSELIS, CHARLES                    BOUTSICARIS, STEPHANIE
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BOUTSIS, EVE                         BOUTTE FOMBIN, DR. NATASHA            BOUTTE, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOUTWELL, DANIELLE                   BOUTWELL, STEVE                       BOUVERAT, JIGISHA
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BOUVIER, VICTORIA                    BOUYA, RITA                           BOVA, HEIDI
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BOVARD, CAROLYN                      BOVARD, GRACE                         BOVE WILSON, DANIELLE
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BOVE, ANN                            BOVE, FRANCINE                        BOVE, LYNETTA
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BOVE, ZACH                           BOVEE, DEANDRA                        BOVENT, CHARLENE
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BOVIN, MICHELLE                      BOVITZ, DONNA                         BOVY, KIMBERLY
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BOW, DIABLO                          BOWBEER, TERI                         BOWDEN, BETH
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BOWDEN, CASSEY         Case 22-11238-LSS
                                     BOWDEN,Doc  2 Filed 11/30/22
                                             DANIELLE                 Page BOWDEN,
                                                                            503 of 5495
                                                                                   ERIC
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BOWDEN, JASON                        BOWDEN, JOSHUA                        BOWDEN, KELSEY
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BOWDEN, LAUREN                       BOWDEN, PEG                           BOWDEN, SARAH
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BOWDEN, TAYLOR                       BOWDICH, REBECCA                      BOWDITCH, MICHELLE
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BOWDLER, TAMARA                      BOWDOIN, SAVANNAH                     BOWDREN, JACLYN
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BOWDREN, REBECCA                     BOWE, CAITLIN                         BOWE, DARLENE
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BOWE, LINDA                          BOWE, MARY                            BOWE, RACHEL
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BOWEN, ALLAN                         BOWEN, ALLISON                        BOWEN, ANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWEN, ANTHONY                       BOWEN, ASHLEY                         BOWEN, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWEN, CRYSTAL                       BOWEN, ELIZABETH                      BOWEN, ELIZABETH
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BOWEN, ELIZABETH       Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOWEN, ELIZABETH                 Page BOWEN,
                                                                            504 ofFATIMA
                                                                                   5495
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BOWEN, GLENN                         BOWEN, HEATHER                        BOWEN, JACOB
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BOWEN, JONI                          BOWEN, JOY                            BOWEN, LEO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWEN, LESLEA                        BOWEN, MARIAH                         BOWEN, MARY KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWEN, MATTHEW                       BOWEN, MEGAN                          BOWEN, PORSHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWEN, RACHAEL                       BOWEN, REBEKAH                        BOWEN, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWEN, STEPHEN                       BOWEN, SUSANNE                        BOWEN, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWEN, VIRGINIA                      BOWENS, DEAUNDERIA                    BOWER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWER, BRIANNA                       BOWER, CHALLIS                        BOWER, JARED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWER, JEFF                          BOWER, JORDAN                         BOWER, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOWER, MICHAEL         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOWER, MIKE                      Page BOWERMAN,
                                                                            505 of 5495
                                                                                     MASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWERMAN, WENDY                      BOWERMAN, WILLIAM                     BOWERMASTER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BOWERS, ALESIA                       BOWERS, ALEXANDRA                     BOWERS, ALYSSA
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BOWERS, ALYSSA                       BOWERS, ANDREA                        BOWERS, ASHLEY
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BOWERS, BRANT                        BOWERS, BRIANNE                       BOWERS, CAMILLE
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BOWERS, COURTNEY                     BOWERS, DEBBIE                        BOWERS, ERIKA
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BOWERS, ETHELYN                      BOWERS, GARY                          BOWERS, ISABELLA
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BOWERS, JANE                         BOWERS, JOSH                          BOWERS, KATIE
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BOWERS, KELLEY                       BOWERS, KIKI                          BOWERS, LOUISA
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BOWERS, MARISA                       BOWERS, MELANIE                       BOWERS, MICAELA
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BOWERS, NATHAN         Case 22-11238-LSS
                                     BOWERS,Doc  2 Filed 11/30/22
                                             RACHEL                   Page BOWERS,
                                                                            506 of 5495
                                                                                   SAWYER
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BOWERS, SIERRA                       BOWERS, STACY                         BOWERS, STEPHANIE
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BOWERS, STEPHANIE                    BOWERS, TAYLOR                        BOWERS, TERESA
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BOWERS, TRICIA                       BOWERSOCK, CARI                       BOWERSOCK, JUDY
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BOWERSOX, MICHELLE                   BOWERS-SWORD, RACHEL                  BOWES, CLAUDIA
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BOWES, ELAINE                        BOWES, EVERETT                        BOWHAY, BROOKE
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BOWIE, JENNIFER                      BOWIE, KATHRYN                        BOWIE, KINSEY
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BOWIE, KIRSTEN                       BOWIE, LANAEA                         BOWIE, MONICA
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BOWIE, SUSAN                         BOWIE, WHITNEY                        BOWKER, ALYSSA
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BOWKER, MARY LOU                     BOWLBY, CHRISTINE                     BOWLBY, JENNA
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BOWLBY, LISA           Case 22-11238-LSS
                                     BOWLBY,Doc
                                            MENDY2 Filed 11/30/22     Page BOWLER,
                                                                            507 of 5495
                                                                                   LYNNE
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BOWLES, BRYAN                        BOWLES, DAVID                         BOWLES, KATHLEEN
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BOWLES, KATRINA                      BOWLES, KAYLA                         BOWLES, KRISTINA
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BOWLES, LISA                         BOWLES, SAMANTHA                      BOWLES, SHERYL
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BOWLES, THOMAS                       BOWLEY, DANIEL                        BOWLEY, NANCY
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BOWLEY, OLIVIA                       BOWLIN, AMBER                         BOWLIN, KATHRINE
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BOWLING, ANGELA                      BOWLING, CODY                         BOWLING, DANIEL
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BOWLING, WILLIAM                     BOWMAN BALESTRIERI, BLYTHE            BOWMAN, AMY
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BOWMAN, ANNA                         BOWMAN, BEN                           BOWMAN, BRENT
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BOWMAN, BRITTANY                     BOWMAN, BROOKE                        BOWMAN, BROOKE
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BOWMAN, CATHY          Case 22-11238-LSS
                                     BOWMAN,Doc  2 Filed 11/30/22
                                             CHARA                    Page BOWMAN,
                                                                            508 of 5495
                                                                                   CHRISTINA
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BOWMAN, COLLEEN                      BOWMAN, DANAE                         BOWMAN, DYLAN
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BOWMAN, EBONY                        BOWMAN, EMILY                         BOWMAN, HANNAH
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BOWMAN, HANNAH                       BOWMAN, HEATHER                       BOWMAN, JAMES
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BOWMAN, JANICE                       BOWMAN, JOHN                          BOWMAN, JUDY
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BOWMAN, KATHERINE                    BOWMAN, KATHERINE                     BOWMAN, KATHRYN
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BOWMAN, KYLE                         BOWMAN, LAUREN                        BOWMAN, LINDSAY
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BOWMAN, LISA                         BOWMAN, MELISSA                       BOWMAN, MICHAEL
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BOWMAN, MICHELLE                     BOWMAN, NIVIA                         BOWMAN, RYAN
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BOWMAN, SARAH                        BOWMAN, SEAN                          BOWMAN, SHEA
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BOWMAN, TYLER          Case 22-11238-LSS
                                     BOWMAR,Doc  2 Filed 11/30/22
                                             SARAH                        Page BOWSER,
                                                                                509 of 5495
                                                                                       ERIC
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BOWSER, ERIN                         BOWSER, KINSEY                            BOWSER, MACY
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BOWSER, MONIKA                       BOWSER, RYLIE & NICK                      BOWYER, ALEXANDRIA
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BOWYER, HANNAH                       BOWYER, ZACH                              BOX, AMBER
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BOX, CHARMAINE                       BOX, GREG                                 BOX, KIM
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BOX, MACKENZIE                       BOX.COM                                   BOXBERGER, HARRY
ADDRESS AVAILABLE UPON REQUEST       BOX, IBC 4440                             ADDRESS AVAILABLE UPON REQUEST
                                     EL CAMINO REAL LOS ALTOS, CA 94022




BOXER, JONATHAN                      BOXER, SHIRA                              BOXLEITER, CATHERINE
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BOXLEY, MARLINDA                     BOYAJIAN, GLENDA                          BOYAJIAN, SAMMI
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BOYAN, LISA                          BOYANOVSKY, JENNIFER                      BOYCE, ASHLEY
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BOYCE, BRITTANY                      BOYCE, CAROLYN                            BOYCE, CHELSEA
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BOYCE, CLAIRE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOYCE, DANIEL                    Page BOYCE,
                                                                            510 ofHEATHER
                                                                                   5495
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BOYCE, HOLLY                         BOYCE, HOPE                           BOYCE, JODI
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BOYCE, KAREN                         BOYCE, KATHLEEN                       BOYCE, LAUREN
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BOYCE, MELISSA                       BOYCE, NADIA                          BOYCE, RHEA
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BOYCE, ROGER                         BOYCE, RYA                            BOYCE, SARAH
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BOYCE, SUSAN                         BOYCE, TUCKER                         BOYCE, VASHTI
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BOYD BRADLEY                         BOYD, ALISA                           BOYD, ALISON
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BOYD, ARIANA                         BOYD, AYLA                            BOYD, BAILEY
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BOYD, BAR                            BOYD, BETH                            BOYD, BETTY
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BOYD, BRADY                          BOYD, BRANDY                          BOYD, BRIA
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BOYD, BRYNN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOYD, CALSIE                     Page BOYD,
                                                                            511 of 5495
                                                                                 CAROLINE
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BOYD, CHERYL                         BOYD, CHRISTINE                       BOYD, CIERA
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BOYD, COLIN                          BOYD, CORBYN                          BOYD, CORY
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BOYD, DEMI                           BOYD, DEVIN                           BOYD, EMILY
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BOYD, EMILY                          BOYD, ERICA                           BOYD, ERICA
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BOYD, EVAN                           BOYD, GARY                            BOYD, GREGG
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BOYD, HAROLD                         BOYD, JAMES                           BOYD, JANITH
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BOYD, JENNIFER                       BOYD, JENNIFER                        BOYD, JENNY
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BOYD, JOHN                           BOYD, JOSIE                           BOYD, JULIA
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BOYD, KARA                           BOYD, KATE                            BOYD, KATHERINE
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BOYD, KATIE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOYD, KAYLEIGH                   Page BOYD,
                                                                            512 of 5495
                                                                                 KELLEY
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BOYD, KELLY                          BOYD, KELLY                           BOYD, KENYA
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BOYD, KIMBERLY                       BOYD, KIMBERLY                        BOYD, KIRSTEN
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BOYD, KRISTINA                       BOYD, LACEY                           BOYD, LEAH
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BOYD, LIZA                           BOYD, LOGAN                           BOYD, LUERETHER
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BOYD, MAGDALENA                      BOYD, MARGARET                        BOYD, MARTI
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BOYD, MARY                           BOYD, MAURICE                         BOYD, MOLLY MARTINDALE
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BOYD, MOLLY                          BOYD, NATALIE                         BOYD, NATHAN
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BOYD, NICHOLE                        BOYD, NICOLE                          BOYD, NICOLE
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BOYD, NICOLE                         BOYD, SANDY                           BOYD, SHAYLA
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BOYD, STACY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOYD, TAYLOR                     Page BOYD,
                                                                            513 of 5495
                                                                                 TERRI
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BOYD, TRACEY                         BOYD, TRACI                           BOYD, VANESSA
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BOYD, WESTON                         BOYDE, ANDRIA                         BOYDEN, MACKENZIE
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BOYDSTON, MARTHA                     BOYDSTON, STEPHEN                     BOYD-VENABLE, CHAUNCI
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BOYE, FREDERIC                       BOYER, ALLISON                        BOYER, AMY
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BOYER, ANDREW                        BOYER, ASHLEY                         BOYER, ASHLEY
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BOYER, BRIGITTE                      BOYER, CHRISTOPHER                    BOYER, HALEY
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BOYER, JAMES                         BOYER, JAN                            BOYER, JOAN
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BOYER, KACE                          BOYER, KATY                           BOYER, KELSEY
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BOYER, LUCAS                         BOYER, MAGDALA                        BOYER, MAGGIE
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BOYER, MARK            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BOYER, MEAGAN                    Page BOYER,
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BOYER, NATALIE                       BOYER, NICOLE                         BOYER, SAMANTHA
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BOYER, SAMANTHA                      BOYER, SARA                           BOYER, TIM
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BOYER, VADA                          BOYER, VANESSA                        BOYER, VERONICA
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BOYERS, AMANDA                       BOYERS, MELISSA                       BOYETT, ERIN
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BOYETT, LORELEI                      BOYETT, MICHAEL                       BOYETT, SHANTELL
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BOYHAN, CARLY                        BOYHER, LAURA                         BOYINGTON, HANNAH
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BOYKIN, BOB                          BOYKIN, DANIELA                       BOYKIN, JACKIE
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BOYKIN, KRISTAL                      BOYKIN, MIA                           BOYKIN, PAMELA
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BOYKIN, SHEANTE                      BOYKINS, SHAWN                        BOYKO, EDEN
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BOYKO, LAUREN          Case 22-11238-LSS
                                     BOYLAN, Doc  2 Filed 11/30/22
                                             ALEXANDRA                Page BOYLAN,
                                                                            515 of EMMA
                                                                                   5495
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BOYLAN, KATHY                        BOYLAN, KATIE                         BOYLAN, KATIE
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BOYLAN, RICHARD                      BOYLAN, SAMANTHA                      BOYLAN, SUZANNE
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BOYLAND, KELLY                       BOYLE CLARK, GINNY                    BOYLE, 2733 W BELDEN APT 705
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BOYLE, ALYSSA                        BOYLE, AMY                            BOYLE, BRENDAN
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BOYLE, CAMREN                        BOYLE, CATHERINE                      BOYLE, CHRISTOPHER
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BOYLE, CONOR                         BOYLE, DONOVAN                        BOYLE, DYLAN
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BOYLE, EMILY                         BOYLE, ERIC                           BOYLE, JASON
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BOYLE, JOHN                          BOYLE, JORDAN                         BOYLE, KATHLEEN
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BOYLE, KATIE                         BOYLE, KATIE                          BOYLE, KATIE
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BOYLE, KELLY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOYLE, MARK                      Page BOYLE,
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BOYLE, MATT                          BOYLE, MCKAILAH                       BOYLE, PATRICK
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BOYLE, RACHAEL                       BOYLE, SAMANTHA                       BOYLE, TERENCE
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BOYLE, THERESA                       BOYLE, TYLER                          BOYLE, WINNIE
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BOYLER, EMILY                        BOYLES, BYRON                         BOYLES, DEVON
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BOYLES, HANNAH                       BOYLES, KATHARINE                     BOYLES, LAURA
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BOYLES, RACHEL                       BOYLES, RHONDA                        BOYLES, SHANNON
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BOYLL, DEBORAH                       BOYNE, JOHN                           BOYNE, JULIE
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BOYNES, ANTONETTE                    BOYNES, BILL                          BOYNES, SHAWN
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BOYNTON, STACIE                      BOYSON, LAURIE                        BOYTE, KELSEY
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BOYTER, SANDRA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BOZA, ANA                        Page BOZANICH,
                                                                            517 of 5495
                                                                                     KRISTINA
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BOZARD, JEANNE                       BOZARTH, AMY                          BOZEMAN, WAYNE
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BOZICH, DAN AND MARGARET             BOZINOVSKI, TATJANA                   BOZMAN, TAYLOR
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BOZNER, OLIVIA                       BOZORGI, AMANDA                       BOZZA, MIKAELA
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BOZZANO AND COMPANY                  BOZZELLI, NATALIE                     BOZZI, ALEX
PO BOX 14105                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN LUIS OBISPO, CA 93406




BOZZINI, DANI                        BR COHN WINERY, INC.                  BRAAKSMA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       15000 SONOMA HWY                      ADDRESS AVAILABLE UPON REQUEST
                                     GLEN ELLEN, CA 95442




BRAATZ, CHRISTINA                    BRAATZ, JASON                         BRABANT, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRABLC, ED                           BRABSON, BLAIRE                       BRACA, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRACAGLIA, MADISON                   BRACCIA, JACQUELINE                   BRACE, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRACE, CHANEL                        BRACE, HAILEY                         BRACE, MONICA
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BRACE, TYLER           Case 22-11238-LSS   Doc
                                     BRACERO,     2 Filed 11/30/22
                                              PILAR                   Page BRACEROS,
                                                                            518 of 5495
                                                                                     KELANI
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BRACETTI, ALEX                       BRACEY, RODNEY                        BRACH, CAROL
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BRACH, PENNY                         BRACHMAN, ANASTASIA                   BRACHNA, WHIT
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BRACHT, ALLISON                      BRACHT, KEN                           BRACIAK, WILLIAM
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BRACK, LISA                          BRACK, MARILYN                        BRACKBILL, GIOVANNA
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BRACKEN, CYNTHIA                     BRACKEN, EMILY                        BRACKEN, JILL
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BRACKEN, KYLIE                       BRACKEN, LAINE                        BRACKEN, LAURA
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BRACKEN, MARISA                      BRACKEN, RACHAEL                      BRACKEN, RON
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BRACKEN, TYLER                       BRACKETT, ALYSSA                      BRACKETT, JOYCE
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BRACKETT, KRISTIE                    BRACKETT, LISA                        BRACKETT, LYNNE
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BRACKETT, ROBYN        Case 22-11238-LSS    Doc
                                     BRACKETT,    2 Filed 11/30/22
                                               TATIANA                Page BRACKETT,
                                                                            519 of 5495
                                                                                     TORY
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BRACKIN, KRIS                        BRACKNELL, REAGAN                     BRACKNEY, CAITLIN
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BRACKNEY, RYLIE                      BRAD BOWMAN                           BRAD GREEN
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BRAD OGBONNA                         BRAD SCHWARTZ                         BRAD URBA
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BRADACH, KARA                        BRADARICH, NATALIE                    BRADASCIO, MATTHEW
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BRADBURN, JAN                        BRADBURRY, MARGOT                     BRADBURY, AMY
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BRADBURY, CARLA                      BRADBURY, CURTIS                      BRADBURY, JENNIE
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BRADBURY, KIMBERLY                   BRADBURY, SAMUEL                      BRADBURY, SCOTT
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BRADBURY, VICTORIA                   BRADDICK, MARJORIE                    BRADDOCK, LAURA
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BRADDOCK, TREY                       BRADDY, FAITH                         BRADEN WELDY
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BRADEN, ALLIE          Case 22-11238-LSS
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BRADEN, MACKENZIE                    BRADEN, MELISSA                       BRADEN, MEREDITH
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BRADEN, MICHELE                      BRADEN, OLIVIA                        BRADEN, TONI
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BRADER, RACHEL                       BRADFIELD, DIANA                      BRADFIELD, JENNIFER
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BRADFIELD, LURA                      BRADFIELD, MICHAEL                    BRADFIELD, RHONDA
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BRADFISH, ALEX                       BRADFORD, AMANDA                      BRADFORD, AMANDA
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BRADFORD, ANITA                      BRADFORD, BELINDA                     BRADFORD, CARYN
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BRADFORD, CHRIS                      BRADFORD, DEANDREA                    BRADFORD, DOUGLAS
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BRADFORD, EMILY                      BRADFORD, GRACE                       BRADFORD, KATHY
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BRADFORD, LINDA                      BRADFORD, LINDSAY                     BRADFORD, MELANIE
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                                     BRADFORD,   2 Filed 11/30/22
                                               PHOEBE                 Page BRADFORD,
                                                                            521 of 5495
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BRADFORD, STEPHANIE                  BRADFORD, WHITNEY                     BRADHAM, DESARAE
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BRADISH, MAUREEN                     BRADLEY ALAN PHILLIPS                 BRADLEY ALLEN SHARKEY
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BRADLEY ALLEN SHARKEY                BRADLEY AU                            BRADLEY BALBER
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BRADLEY DELANEY                      BRADLEY H ABRAMSON                    BRADLEY HUGH PARKER
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BRADLEY JAMES BONDY                  BRADLEY JAY SOUCEK                    BRADLEY K HUNT
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BRADLEY LHUILLIER                    BRADLEY MATTHEWS                      BRADLEY NELSON
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BRADLEY R LORD                       BRADLEY R LORD                        BRADLEY ROBINSON
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BRADLEY RUSSELL COTHRAN              BRADLEY SCOTT WILCOSH                 BRADLEY TYLER WARREN
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BRADLEY, ALICE                       BRADLEY, ALISON                       BRADLEY, ALLISON
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                                                                            522 of 5495
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BRADLEY, BEN                         BRADLEY, BENJAMIN                     BRADLEY, BRANDI
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BRADLEY, BRYAN                       BRADLEY, CARYN                        BRADLEY, CHARLENE
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BRADLEY, CHERRYL                     BRADLEY, DAN                          BRADLEY, DANA
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BRADLEY, DANYELLE                    BRADLEY, DEVON                        BRADLEY, DINA JO
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BRADLEY, DREW                        BRADLEY, DUSTIN                       BRADLEY, ELLEN
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BRADLEY, ERIN                        BRADLEY, ERIN                         BRADLEY, JANE
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BRADLEY, JENNA                       BRADLEY, JEREMY                       BRADLEY, JORDANNE
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BRADLEY, JOSINA                      BRADLEY, JOYIA                        BRADLEY, JULI
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BRADLEY, KEGAN                       BRADLEY, KELLEY                       BRADLEY, KEYERA
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BRADLEY, KRISTINA      Case 22-11238-LSS
                                     BRADLEY,Doc  2 Filed 11/30/22
                                              LATOYA                  Page BRADLEY,
                                                                            523 of 5495
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BRADLEY, LISA                        BRADLEY, LYDIA                        BRADLEY, MARCIA
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BRADLEY, MARY LOU                    BRADLEY, MARY                         BRADLEY, MEGAN
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BRADLEY, NICOLE                      BRADLEY, NORA                         BRADLEY, PATRICK
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BRADLEY, RILEY                       BRADLEY, RITA                         BRADLEY, RYAN
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BRADLEY, RYAN                        BRADLEY, SHANNON                      BRADLEY, SHARI
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BRADLEY, SUSAN                       BRADLEY, TANYA                        BRADLEY, THERRI
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BRADLEY, THOMAS E                    BRADLEY, ZACHARY                      BRADLEY, ZACHARY
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BRADLEY-BUTTS, PATRICE               BRADMILLER-FELD, JOHN                 BRADSETH, LINDSEY
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BRADSHAW, ALLISON                    BRADSHAW, AMANDA                      BRADSHAW, ASHLEE
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                                     BRADSHAW,   2 Filed 11/30/22     Page BRADSHAW,
                                                                            524 of 5495
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BRADSHAW, FAITH                      BRADSHAW, JOANNA                      BRADSHAW, JODY
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BRADSHAW, LINDA                      BRADSHAW, LINDSEY                     BRADSHAW, LYNN
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BRADSHAW, MARIE                      BRADSHAW, PIERRETTE                   BRADSHAW, RACHEL
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BRADSHAW, SAMANTHA                   BRADSHAW, SELENE                      BRADSHAW, SUE
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BRADT, MADELYN                       BRADY WARWICK                         BRADY, ADRIENNE
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BRADY, ALEXANDRA                     BRADY, ALEXIS                         BRADY, ALLISON
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BRADY, BENNETT                       BRADY, CARRIE                         BRADY, CHELSEA
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BRADY, COLEEN                        BRADY, COLEEN                         BRADY, CONNOR
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BRADY, COURTNEY                      BRADY, ELIZABETH                      BRADY, ERIN
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BRADY, ERIN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRADY, GINNIE                    Page BRADY,
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BRADY, JANICE                        BRADY, JEFFREY                        BRADY, JENNFER
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BRADY, JENNYFER                      BRADY, JESSICA                        BRADY, JUSTIN
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BRADY, KAITLYN                       BRADY, KATHLEEN                       BRADY, KEIRENY
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BRADY, KELLIE                        BRADY, KEVIN                          BRADY, KRISTINE
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BRADY, LAUREN                        BRADY, LYNNE                          BRADY, MARGARET
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BRADY, MARIA                         BRADY, MARY ELLEN                     BRADY, MARY
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BRADY, MCKENZIE                      BRADY, MEGAN                          BRADY, MICHAEL
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BRADY, NADIA                         BRADY, NICHOLAS                       BRADY, PAULETTE
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BRADY, PHIL                          BRADY, SARAH                          BRADY, SETH
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BRADY, STEPHANIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRADY, TESS                      Page BRADY-MORAN,
                                                                            526 of 5495MARY
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BRADY-PRICE, LARISSA                 BRAESE, SARAH                         BRAESICKE, JOHN
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BRAET, AMY                           BRAFF, KRISTEN                        BRAGA, JUSTIN
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BRAGA, SAM                           BRAGG, ALISSON                        BRAGG, EMILY
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BRAGG, HANNAH                        BRAGG, HORACE                         BRAGG, JESSICA
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BRAGG, KENNEDY                       BRAGG, MARIE                          BRAGGINS, LEIA
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BRAGGS, NATALIE                      BRAGGS, ROHIT                         BRAHAM, FRANCES
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BRAHAM, TIFFANY                      BRAHAN, JOHN J                        BRAHMBHATT, MICHELLE
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BRAHMS, LILY                         BRAICKS, LIZZIE                       BRAIDA, VICTORIA
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BRAIDA, ZACHARY                      BRAIG, JANELLE                        BRAILEY, TARA
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BRAILSFORD, JAMES      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRAIN FREEZE                     Page BRAINARD,
                                                                            527 of 5495
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BRAINARD, JOSH                       BRAINARD, LISA                        BRAINARD, MARGARET
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BRAINARD, SARAH                      BRAINTREE                             BRAISLIN, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       111 N. CANAL STREET SUITE 455         ADDRESS AVAILABLE UPON REQUEST
                                     CHICAGO, IL 60606




BRAISTED, GAYL                       BRAITHWAITE, AKEEM                    BRAITHWAITE, ALEXANDER
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BRAITHWAITE, CHELSEA                 BRAJCZEWSKI, DAVE                     BRAKE, AMBER
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BRAKE, HEATHER                       BRAKE, JAMES                          BRAKE, LAUREN
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BRAKEFIELD, CARTER                   BRAKE-MILLER, ALLYSON                 BRAKENHOFF, MARANDA
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BRAKLEY, TINA                        BRAKYE, EMMANUELLA                    BRAM, GAIL
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BRAM, JESSICA                        BRAMAROV, DORIAN                      BRAMBILAS DRAPERY INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        5018 W VENICE BLVD
                                                                           LOS ANGELES, CA 90019




BRAMBLE, CHRIS                       BRAMBLE, DERRICK                      BRAMBLE, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BRAMBLE, TAYLOR        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRAME, ALLISON                   Page BRAME,
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BRAMER, KELSEY                       BRAMER, PATRICIA                      BRAMHALL, SCOTT
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BRAMHALL, STACEY                     BRAMHAM, ANGELA                       BRAMLETT, LINDSEY
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BRAMMAN, LEE                         BRAMMEIER, SARA                       BRAMMER, ALEXANDRA
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BRAMMER, JOHN                        BRAMMER, LEILA                        BRAMMER, LISA
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BRAMOW, JEREMY                       BRAMWELL, BRITTANY                    BRANAM, LINDA
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BRANCA, MARGARET                     BRANCA, SOPHIA                        BRANCACCIO, VINCENT
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BRANCATI, ALYSSA                     BRANCATO, AMANDA                      BRANCATO, JULIE
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BRANCATO, VICTORIA                   BRANCH, ANNETTE                       BRANCH, ASHLEY
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BRANCH, BECKY                        BRANCH, CARL                          BRANCH, EVELYN
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BRANCH, GAYLE          Case 22-11238-LSS
                                     BRANCH,Doc  2 Filed 11/30/22
                                            JESSICA                      Page BRANCH,
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BRANCH, KATIE                        BRANCH, KWANZA                           BRANCH, MICHELE
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BRANCH, SARAH                        BRANCH, VALERIE                          BRANCHEAU, MARCIA
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BRANCHINI, MADELINE                  BRANCHTRACK                              BRANCIFORTI, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




BRAND IT ADVERTISING                 BRAND, AUDREY                            BRAND, DAVID
122 N RAYMOND RD                     ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
SPOKANE, WA 99206




BRAND, EMILY                         BRAND, JOHN                              BRAND, KAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BRAND, MATTHEW                       BRAND, MONICA                            BRAND, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BRAND, SANDRA                        BRAND, STEPHANIE                         BRAND, SUSAN
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BRANDAO E SOUZA, PEDRO               BRANDAO, ATALA                           BRANDEBERRY, HALEY
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BRANDEE STOOTS                       BRANDEE YOUNGER                          BRANDEL, KENNETH
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BRANDEL, KENNETH       Case 22-11238-LSS    Doc
                                     BRANDEL,    2 Filed 11/30/22
                                              TARYN                   Page BRANDELL,
                                                                            530 of 5495
                                                                                     KAREN
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BRANDELL, KATE                       BRANDEN STEWART                       BRANDENBURG, ADAM
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BRANDENBURG, EMILY                   BRANDENBURG, EMMA                     BRANDENBURG, JESSICA
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BRANDENBURG, KATHERINE               BRANDENBURG, KATHLEEN                 BRANDENBURG, LEAH
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BRANDENBURG, PAM                     BRANDENBURG, REBECCA                  BRANDENBURG, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANDENBURGER, KATIE                 BRANDENSTEIN, JEN                     BRANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        604 ARIZONA
                                                                           SANTA MONICA, CA 90401




BRANDES, KATHLEEN                    BRANDES, LAUREN                       BRANDES, LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANDES, TAYLOR                      BRANDFASS, ASHLEY                     BRANDFONBRENER, CLARE
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BRANDI BORCHERT                      BRANDI BROWNEWELL                     BRANDI ELLISON
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BRANDI LILES STEVENS                 BRANDI MCGANN, CATHY RODRIGUEZ        BRANDI R CLARKE REVOCABLE TRUST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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                                     BRANDIE,Doc
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BRANDLI, GAIL                        BRANDNER, JOSH                        BRANDNER, WENDY
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BRANDOLINO, EVAN                     BRANDOLINO, EVAN                      BRANDON ALEXANDER MARTINS
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BRANDON ASHTON STEIN                 BRANDON BRADFORD                      BRANDON C OTTE
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BRANDON COLE                         BRANDON CROWDER                       BRANDON DIGGS
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BRANDON GERHARDT                     BRANDON HEXSEL                        BRANDON HOOD
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BRANDON JOSEPH DELALLO               BRANDON MONTANA                       BRANDON OSBON
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BRANDON OSBORNE                      BRANDON PELZEL                        BRANDON ROSE
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BRANDON WANNER                       BRANDON WILLIAMS                      BRANDON WOOD
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BRANDON, ANDREA                      BRANDON, ANNE                         BRANDON, ANNETTE
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                                     BRANDON,    2 Filed 11/30/22
                                              BRIANNA                 Page BRANDON,
                                                                            532 of 5495
                                                                                    BROWN,
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BRANDON, CAMILLE                     BRANDON, CAROLINE                     BRANDON, CHARLEE
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BRANDON, DAVID                       BRANDON, KRISTY                       BRANDON, MELONY
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BRANDON, MELONY                      BRANDON, MONICA                       BRANDON, TAYLOR
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BRANDSEY, SHARI                      BRANDT, ANDREW                        BRANDT, ANDREW
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BRANDT, ANGELA                       BRANDT, CAROLINE                      BRANDT, CHRIS
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BRANDT, COURTNEY                     BRANDT, DAN                           BRANDT, DEBORAH
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BRANDT, EMILY                        BRANDT, EMMA                          BRANDT, GEORGE
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BRANDT, HAYLEY                       BRANDT, JACLYNN                       BRANDT, JENNIFER
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BRANDT, JENNIFER                     BRANDT, JORDAN                        BRANDT, MAKENNA
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BRANDT, MARGARITA      Case 22-11238-LSS
                                     BRANDT, Doc  2 Filed 11/30/22
                                             NICHOLAS                 Page BRANDT,
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BRANDT, SARAH                        BRANDT, TARA                          BRANDWEIN-FRYAR, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANDXADS (BRANDX)                   BRANDY COOPER                         BRANDY JOHNSON
60 RAILROAD PLACE, SUITE 203         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SARATOGA SPRINGS, NY 12866




BRANE, JENNIE                        BRANG, MICHAEL                        BRANGMAN, H. ALAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANHAM, CHRISTINA                   BRANHAM, MELISSA                      BRANIGAN, EVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANK, TIFFANY                       BRANKER, RACHEL                       BRANN, RACHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANN, TAMSYN                        BRANNAGAN, KAITLYN                    BRANNAN, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANNAN, HALY                        BRANNAN, STEVE                        BRANNEN, KELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANNEN, RUSS                        BRANNEN, TY                           BRANNICK, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANNIGAN, DONNA                     BRANNIGAN, JESSICA                    BRANNIGAN, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BRANNOCH, SYDNEY       Case 22-11238-LSS   Doc
                                     BRANNON,    2 Filed 11/30/22
                                              ADISON                  Page BRANNON,
                                                                            534 of 5495
                                                                                    BILL
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BRANNON, ELIZABETH                   BRANNON, GILLIAN                      BRANNON, HEIDI
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BRANNON, MICHELLE                    BRANNON, ORIANNA                      BRANNON, R BRUCE
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BRANOM, BRANDY                       BRANOM, MONICA                        BRANON, NANCY
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BRANSCUM, COLTON                     BRANSCUM, WESLEY                      BRANSFIELD, KIRK
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BRANSFIELD, LAUREL                   BRANSIDE, CARMEN                      BRANSON, DANIEL
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BRANSON, JAMES                       BRANSON, JANA                         BRANSON, MARIE
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BRANSTATOR, NICK                     BRANT, BETHANY                        BRANT, CELESTE
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BRANT, CHRISTINA                     BRANT, DARIANNA                       BRANT, JANET
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BRANT, KAILEIGH                      BRANT, LEAH                           BRANT, PAMELA
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BRANT, PHILIPPA        Case 22-11238-LSS    Doc
                                     BRANTLEY,   2 Filed 11/30/22
                                               ANNA                   Page BRANTLEY,
                                                                            535 of 5495
                                                                                     ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRANTLEY, CAROLYN                    BRANTLEY, ELIZABETH                   BRANTLEY, JENNIFER
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BRANTLEY, KIMBERLY                   BRANTLEY, NYKIAH                      BRANTLEY, SEAN
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BRANTLEY, TAYLOR                     BRANTMAN, BECKY                       BRANTMYER, JUDITH
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BRANTON, KAITIE                      BRANUM, AMY                           BRANZER, RACHEL
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BRAR, JANPREET                       BRAS, ROXANNE                         BRASACCHIO, GENE
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BRASCETTA, PAMELA                    BRASCHE, MONIKA                       BRASFIELD, JAN
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BRASFIELD, KATIE                     BRASHER, CHRIS                        BRASHER, WARREN
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BRASIER, CHRISTOPHER                 BRASIL, MICHELLE                      BRASILEIRO, NATHALIA
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BRASINGTON, MELYNDA                  BRASINGTON, NATALIE                   BRASKETT, VICTORIA
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BRASS, JOANN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRASS, ROBIN                     Page BRASSARD,
                                                                            536 of 5495
                                                                                     JOYCE
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BRASSEAUX, DANNY                     BRASSELL, SHANNON                     BRASSEUR, CALI
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BRASWELL, ANNEMARIE                  BRASWELL, CARRIE                      BRASWELL, GRATE
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BRASWELL, JANEILLE                   BRASWELL, JAQUINTON                   BRASWELL, KHENDRA
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BRASWELL, MADISON                    BRAT, TANYA                           BRATBERG, LYNDSEY
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BRATCHER, TERESA                     BRATHWAITE, AISHA                     BRATHWAITE, BRANDON
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BRATHWAITE, KAYE                     BRATHWAITE, NICOLE                    BRATHWAITE, VICTORIA
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BRATKOVSKAIA, OLGA                   BRATT, SCOTT R.                       BRATTAIN, SHAWNA
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BRATTAIN, YASHAWNA                   BRATTEN, CHELSEA                      BRATTON, BOBBIE
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BRATTON, CARRIE                      BRATTON, LESLIE                       BRATZ, JULIA
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BRATZ, LAURA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRAU, EMILY                      Page BRAUCH,
                                                                            537 of JESSICA
                                                                                   5495
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BRAUCHLE, EMILY                      BRAUDE, JULIA                         BRAUER, CAITLIN
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BRAUER, EMILY                        BRAUER, EMILY                         BRAUER, JUSTIN
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BRAUER, MEGAN                        BRAULT, CAROL                         BRAULT, PASCAL
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BRAUN(C/O KYLE BACON), RACHEL        BRAUN, ADAM                           BRAUN, ALEXANDRIA
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BRAUN, ALLISON                       BRAUN, AMBER                          BRAUN, AMY
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BRAUN, ANIA                          BRAUN, BEVERLY                        BRAUN, CALI
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BRAUN, CAROL                         BRAUN, DEIRDRE                        BRAUN, DONNA
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BRAUN, EMILY                         BRAUN, ERIK                           BRAUN, GALE
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BRAUN, JON                           BRAUN, JULIE                          BRAUN, KATHY
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BRAUN, KEANU           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRAUN, KRISTA                    Page BRAUN,
                                                                            538 ofKRISTINE
                                                                                   5495
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BRAUN, LYNN                          BRAUN, MADELEINE                      BRAUN, MARVIN
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BRAUN, MAX                           BRAUN, MELISSA                        BRAUN, PATRICIA
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BRAUN, RAQUEL                        BRAUN, ROBIN                          BRAUN, SARAH
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BRAUN, TONI                          BRAUN, TRICIA                         BRAUNEIS, MICHELLE
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BRAUNER, ANNE                        BRAUNING, JORDAN                      BRAUNSTEIN, BRADLEY
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BRAUNSTEIN, JAMIE                    BRAUNSTEIN, JASON                     BRAUNSTEIN, JESSICA
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BRAUSEN, SYDNEY                      BRAUSS, DARRYL                        BRAUSS, PATRICK
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BRAUTIGAM, JACKIE                    BRAVE & MAIDEN ESTATE LTD             BRAVE & MAIDEN ESTATE LTD
ADDRESS AVAILABLE UPON REQUEST       512 N REXFORD DR.                     690 ALAMO PINTADO ROAD
                                     BEVERLY HILLS, CA 90210               SOLVANG, CA 93463




BRAVE & MAIDEN ESTATE LTD            BRAVE OAK VINEYARD, LLC               BRAVE SPACE ALLIANCE
PO BOX 1094                          5010 MARTINGALE CIRCLE                1515 E. 52ND PLACE, 3RD FLOOR
SANTA YNEZ, CA 93460                 SAN MIGUEL, CA 93451                  CHICAGO, IL 60615
BRAVE, BRITTANY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRAVO, BECKA                     Page BRAVO,
                                                                            539 ofBRIANNA
                                                                                   5495
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BRAVO, JENNIFER                      BRAVO, MAUREEN AND RICARDO            BRAVO, RAFAEL
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BRAWER, DANIEL                       BRAWLEY, DANIELLE                     BRAWLEY, LORETTA
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BRAWLEY, MIKE                        BRAWNER, CARRIE                       BRAWNER, DON
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BRAXTON, AHJANAE                     BRAXTON, BRANDIZE                     BRAXTON, DEBORAH
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BRAXTON, MARY                        BRAY, BRIANA                          BRAY, CHELSY
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BRAY, CHERITH                        BRAY, CRYSTAL                         BRAY, DAVID
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BRAY, DIANE                          BRAY, ELIZABETH                       BRAY, GORDON
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BRAY, HUGH                           BRAY, JACK                            BRAY, JULIE
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BRAY, KASSANDRA                      BRAY, KAYLEIGH                        BRAY, KRISTY
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BRAY, KRYSTAL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRAY, LIANNA                     Page BRAY,
                                                                            540 of 5495
                                                                                 LORNA
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BRAY, MICHELLE                       BRAY, PAUL                            BRAY, STACEY
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BRAY, SUSAN                          BRAY, SUSIE                           BRAYBOY, DANIKA
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BRAYE, MADELEINE                     BRAYKOVICH, MARK                      BRAYMER, WESLEY
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BRAYTON, JAMIE                       BRAZ DIAS, DANIELA                    BRAZ, RENEE
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BRAZAUSKAS, KARISSA                  BRAZDA, CAROLYN                       BRAZELL, BRADLEY
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BRAZELL, SARAH                       BRAZELTON, HATTIE                     BRAZIER, ALLISON
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BRAZILL, DIANA                       BRAZILL, GEORGE                       BRAZILLE, NAOMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRAZNELL, JACKIE                     BRAZZLE, JOE                          BREA, ALICE
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BREA, LOURDES                        BREACH, DIANE                         BREAD AND BUTTER
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BREAKOUT ROOM TEAM     Case 22-11238-LSS     Doc
                                      BREANA E    2 Filed 11/30/22
                                               DODD                      Page BREANNE
                                                                               541 of 5495
                                                                                      LYNCH
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BREATHER.COM                            BREAU, ROBERT                         BREAULT, CHLOE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREAULT, DANIEL                         BREAULT, MEGAN                        BREAULT, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREAUX, ALISON                          BREAUX, AMY                           BREAUX, COURTNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREAUX, DANA                            BREAUX, JENNIFER                      BREAUX, LISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREAUX, TAYLOR                          BREAYANA SUMLIN                       BREAZEALE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRECCIA, NICOLE                         BRECEDA, JEANNE                       BRECHBIEL, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRECHEISEN, DINA                        BRECHER, MICHELLE                     BRECHNER, REID
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BRECHT, ALEXA                           BRECHT, TRACY                         BRECKENRIDGE, CONOR
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BRECKENRIDGE, KLINDT                    BRECKENRIDGE, KYRSTI                  BRECKER, ANDREA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BRECKHEIMER, KATEY     Case 22-11238-LSS    Doc
                                     BRECKLINE   2 Filed 11/30/22 Page BRECKON,
                                               TECHNOLOGIES                 542 of 5495
                                                                                    NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




BREDALE RUCKER                       BREDEHOFT, HEIDI                      BREDEHOFT, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREDEN, HANNAH                       BREDEN, JESSICA                       BREDESON, NIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREDWELL, CAITLYN                    BREE DAUPHINEE                        BREE, KAELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREECE, DONNA JEAN                   BREECE, PENNY                         BREED, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREED, MEGHAN                        BREEDEN, ANDREW                       BREEDEN, JESSE
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BREEDEN, MAGGIE                      BREEDEN, MELODY                       BREEDEN, MICHAEL
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BREEDEN, MITCHELL                    BREEDEN, SHANE                        BREEDING, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BREEDING, ERIN                       BREEDLOVE, JAMIE                      BREEDLOVE, LINDSEY
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BREEDLOVE, MELANIE                   BREEDLOVE-PEARCE, MEGHAN              BREEDON, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BREEDT, KELLY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BREEN, BETH                      Page BREEN,
                                                                            543 ofCAITLYN
                                                                                   5495
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BREEN, DAKOTA                        BREEN, ELIZABETH                      BREEN, ERIN
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BREEN, GRETCHEN                      BREEN, JENA                           BREEN, MARISSA
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BREEN, MORGAN                        BREEN, NATASHA                        BREEN, PATRICK
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BREEN, RACHEL                        BREEN, SADIE                          BREEN, SARAH
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BREEN, STEFANIE                      BREEN, STEPHANIE                      BREEN, VALERIE
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BREES, MICHEAL                       BREESE, MARIA                         BREEZY HR
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BREGANDE, MARISSA                    BREGANT, ELISABETH                    BREGAR, NICOLE
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BREGARD, GRACE                       BREGENZER, KELLEY                     BREGMAN, SONIA
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BREGOLI, NATE                        BREGON, SOPHIA                        BREHM, ROBIN
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BREHM, ZACH            Case 22-11238-LSS    Doc 2ANN Filed 11/30/22
                                     BREIDENBACH,                     Page BREIDENSTEIN,
                                                                            544 of 5495SARAH
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BREIG, MATTHEW                       BREIHAN, KATIE                        BREIHAN, LYDIA
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BREIMHURST, JACQUELINE               BREINDEL, ELIZABETH                   BREISTER, MAGGIE
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BREITBACH, ALLISON                   BREITBACH, ELIZABETH                  BREITENBACH, SARAH
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BREITENBACH, SARAH                   BREITFELLER, TYLER                    BREITHAUPT, KELLY
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BREITKOPF, SCOTT                     BREITZKA, MICHELLE                    BREITZMAN, LEE
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BREKHUS, SHANTELL                    BREKKE, ALEXANDRIA                    BREKKE, HEATHER
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BREKKE, KATE                         BREKKE, LONE                          BREKKEN, LARS
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BREKOVSKY, SUSAN                     BRELAND, PEGGY                        BRELAND-JONES, KATHISHA
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BRELJE, JORDAN                       BRELLENTHIN, JAZZ                     BRELLENTHIN, JOSHUA
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BRELSFORD, STEPHANIE   Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BREM, EMMA                       Page BREMBERG,
                                                                            545 of 5495
                                                                                     JOSEPH
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BREMER, ELISE                        BREMER, JOHN                          BREMER, JOHN
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BREMER, MEG                          BREMERKAMP, MONI MITCH                BREMER-PADDOCK, HARRISON
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BREMMER, RICK                        BRENARD, REBEKAH                      BRENCI, DINA
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BRENDA ARMIJO                        BRENDA CAMPBELL                       BRENDA COLSON
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BRENDA DAVIS                         BRENDA HENDERSON                      BRENDA KLODA
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BRENDA MCCAIN                        BRENDA PATTON                         BRENDA REYES
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BRENDA RIVENES                       BRENDA SCHWEIGER                      BRENDA SHRIVER
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BRENDA TUCK                          BRENDA WILLIAMS                       BRENDA, MS.
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BRENDAN FOGARTY                      BRENDAN HEALY                         BRENDAN LESLIE DOSS
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BRENDAN MULHERN        Case 22-11238-LSS
                                     BRENDANDoc  2 Filed 11/30/22
                                             ROONEY                   Page BRENDAN
                                                                            546 of 5495
                                                                                   SHELLY
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BRENDEL, ALLY JO                     BRENDEL, ANNIE                        BRENDEL, PETER
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BRENDEL, SAMANTHA                    BRENDEN D KENNEDY                     BRENDEN, LUKAS
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BRENDING, JOHN                       BRENEGAN, DAISY                       BRENER INTERNATIONAL GROUP
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BRENES, NURIA                        BRENES, RICHARD                       BRENHOLT, SHELLEY
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BRENING, KRISTA                      BRENK, LAUREN                         BRENN, CARA
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BRENNA BANNISTER                     BRENNA REILLY                         BRENNAN, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRENNAN, ANNE                        BRENNAN, ASHLEE                       BRENNAN, BERNICE
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BRENNAN, BRIAN                       BRENNAN, BRIDGET                      BRENNAN, BRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRENNAN, CARMEL                      BRENNAN, CAROLYN                      BRENNAN, CASEY
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BRENNAN, CASEY         Case 22-11238-LSS   Doc
                                     BRENNAN,    2 Filed 11/30/22
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                                                                            547 of 5495
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BRENNAN, COLIN                       BRENNAN, CYNTHIA                      BRENNAN, ERIN
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BRENNAN, HARRISON                    BRENNAN, JEANNE                       BRENNAN, JOCELYN
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BRENNAN, KAITLIN                     BRENNAN, KALEIGH                      BRENNAN, KATE
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BRENNAN, KATHERINE                   BRENNAN, KATHLEEN                     BRENNAN, KATHY
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BRENNAN, LAURA                       BRENNAN, LENA                         BRENNAN, LORI
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BRENNAN, MADELYNNE                   BRENNAN, MALLORY                      BRENNAN, MARY
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BRENNAN, MEGAN                       BRENNAN, MEGAN                        BRENNAN, MIRIAM
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BRENNAN, MOLLIE                      BRENNAN, MOLLY                        BRENNAN, NICOLE
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BRENNAN, OWEN                        BRENNAN, SHANE                        BRENNAN, SUZANNE
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                                                                             548 of 5495
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BRENNEMAN, EMILY                     BRENNEMAN, ERIN                        BRENNEMAN, KATIE
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BRENNEMAN, RACHEL                    BRENNEN, DESTANY                       BRENNEN, LORALIE
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BRENNER, ABBIE                       BRENNER, ALLISON                       BRENNER, CHRISTINE
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BRENNER, DAVE                        BRENNER, EMILY                         BRENNER, EMILY
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BRENNER, ERIN                        BRENNER, JANE                          BRENNER, JULIA
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BRENNER, LYNNE                       BRENNER, MADELEINE                     BRENNER, NICOLE
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BRENNER, PATRICK                     BRENNER, RONALD                        BRENNER, RYAN
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BRENNER, ZACH                        BRENNOLT, QUINN                        BRENNY, KAITLIN
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BRENO, ROBERT                        BRENSDAL, ANGELA                       BRENSING, SHELLY
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BRENT CHASE                          BRENT E WALKER                        BRENT GOODE
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BRENT HAMBLETON                      BRENT PALMAN                          BRENT SCHOONOVER
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BRENT SMART                          BRENT T HEAVICAN                      BRENT VANTIL
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BRENT, ERICA                         BRENT, KATHERINE                      BRENT, SCHULLER
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BRENT, SCOTT                         BRENT-CHESSUM, CAROLINE               BRENTON ESKA
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BRENTON, ANNA                        BRENTON, BARBARA                      BRENTON, RYAN
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BRENTZEL, TANYA                      BRESCIA, GEORGE                       BRESCIANI, KEITH
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BRESKA, CAROLINE                     BRESLAW, AMANDA                       BRESLAWSKI, TOM
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BRESLIN KRISTA                       BRESLIN, CARA                         BRESLIN, FIONA
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BRESLIN, KAILEE        Case 22-11238-LSS
                                     BRESLIN,Doc 2 Filed 11/30/22
                                             MICHAEL                  Page BRESLIN,
                                                                            550 of NANCY
                                                                                    5495
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BRESLIN, SHANNON                     BRESNAHAN, KAILYN                     BRESNAHAN, LYNDA
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BRESNAN, SARAH                       BRESNIHAN, GERALD                     BRESS, KIM
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BREST, NICOLE                        BRESTAR, AUGUSTYNA                    BRET PRASCAK
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BRETAO, KIMBERLY                     BRETHAUER, ROBDEN                     BRETON, CAROLINE
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BRETON, HOLLIE                       BRETON, PATRICIA                      BRETT CASBEER
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BRETT MCKNIGHT RUSSELL               BRETT NOLAN                           BRETT RADOCAJ
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BRETT RICKERT                        BRETT TEETER                          BRETT, LAURA
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BRETT, LIZ                           BRETT, MORGAN                         BRETT, PATRICIA
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                                     BRETTANY    2 Filed 11/30/22
                                              HALLAHAN                   Page BRETTINGEN,
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BRETTMAN, SKYE                       BRETZ, ANNE                              BRETZ, GEORGE
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BRETZINGER, AMANDA                   BRETZLAFF, MIKE                          BREUER, PAULA
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BREUER, RACHEL                       BREUNER, NICOLE                          BREUNIG, EMILY
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BREUNIG, SHARON & RICHARD            BREVARD, TEMPEST                         BREVNER, MARK
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BREW, KIMBERLY                       BREWCO                                   BREWER, ALAN
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BREWER, ANDREW                       BREWER, ASHLEY                           BREWER, BENJAMIN
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BREWER, BENNETT                      BREWER, BRITTNEY                         BREWER, CAROLINE
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BREWER, CAROLINE                     BREWER, CHELSEY                          BREWER, COLLIN
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BREWER, CORIE                        BREWER, CYNTHIA                          BREWER, DANIELLE
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BREWER, DELANEY        Case 22-11238-LSS
                                     BREWER,Doc  2 Filed 11/30/22
                                             DENVER                   Page BREWER,
                                                                            552 of 5495
                                                                                   DEVON
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BREWER, ERIN                         BREWER, ERIN                          BREWER, GABIE
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BREWER, GAYLE                        BREWER, JACKIE                        BREWER, JAMIE
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BREWER, JAMIE                        BREWER, JENNY                         BREWER, JESSICA
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BREWER, JORDAN                       BREWER, JORDAN                        BREWER, JOSEPH
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BREWER, KIM                          BREWER, KRISTIN                       BREWER, LEXI
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BREWER, MELISSA                      BREWER, MOLLY                         BREWER, NIKKI
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BREWER, RACHAEL                      BREWER, SARAH                         BREWER, SETH
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BREWER, SHERRYL                      BREWER, STACI                         BREWER, STEPHANIE
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BREWER, TONIA                        BREWER-CALVERT, KATIE                 BREWIN, JENNY
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BREWSAUGH, SARAH       Case 22-11238-LSS   Doc
                                     BREWSTER,   2 Filed 11/30/22
                                               BEN                     Page BREWSTER,
                                                                             553 of 5495
                                                                                      CHARLINDA
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BREWSTER, CHRISTIE                   BREWSTER, DANIEL                       BREWSTER, HANNAH
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BREWSTER, JOSHUA                     BREWSTER, LAURA                        BREWSTER, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BREWSTER, TESSA                      BREWTON, FORREST                       BREX INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         12832 S FRONTRUNNER BLVD
                                                                            STE 500
                                                                            DRAPER, UT 84020-5757




BREX INC.                            BREX INC.                              BREY, ANDREW
153 TOWNSEND STREET, 6TH FLOOR       153 TOWNSEND STREET, 6TH FLOOR         ADDRESS AVAILABLE UPON REQUEST
GAVIN CLEAVELAND, PRESIDENT          SAN FRANCISCO, CA 94107
SAN FRANCISCO, CA 94107




BREYER, CRAIG                        BREYMEIER, SARAH                       BREYMEYER, SUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BREYNAERT, ROBYN                     BREZA, LAUREN                          BREZINSKI, KLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BRI EMERY, INC                       BRIA HAMMEL INTERIORS, LLC             BRIAN AGGEN
(DESIGN LOVE FEST)                   750 MAIN STREET, 214                   ADDRESS AVAILABLE UPON REQUEST
2140 E. 7TH PLACE, UNIT A2S          MENDOTA HEIGHTS, MN 55118
LOS ANGELES, CA 90021




BRIAN AIELLO                         BRIAN AND HOPE ANN BAILEY REVOCABLE    BRIAN BOSTIC
ADDRESS AVAILABLE UPON REQUEST       TRUST                                  ADDRESS AVAILABLE UPON REQUEST
                                     ADDRESS AVAILABLE UPON REQUEST




BRIAN C TANGE                        BRIAN CAROL                            BRIAN CHARLES MILOSKI
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BRIAN COLEMAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRIAN COOK                       Page BRIAN
                                                                            554 of 5495
                                                                                 CRAWFORD
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BRIAN D BOONE                        BRIAN D FELIX                         BRIAN DE SANTIAGO
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BRIAN DILLON                         BRIAN DOUVILLE                        BRIAN DRISCOLL
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BRIAN EDWARD KARNS                   BRIAN EUGENE PRIBIL                   BRIAN FELLION
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BRIAN FRANKLIN                       BRIAN GERSON                          BRIAN HILLS
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BRIAN JONES                          BRIAN JUNE GREEN                      BRIAN K DAUPHIN
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BRIAN K DEVANEY                      BRIAN KEAN                            BRIAN KEARNEY
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BRIAN KIRBY                          BRIAN LADAH                           BRIAN LEE
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BRIAN MCLAUGHLIN                     BRIAN MICHAEL CLARK                   BRIAN MIKITA
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BRIAN MORAN                          BRIAN MOUA                            BRIAN MUSIL
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BRIAN NELSON           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRIAN NORTH                      Page BRIAN
                                                                            555 of 5495
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BRIAN PETER FARGNOLI                 BRIAN PETER ROCK                      BRIAN QUARESMA
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BRIAN SCOTT                          BRIAN SMITH                           BRIAN SMITH
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BRIAN THOMAS SCOTT                   BRIAN VALENTIN                        BRIAN WADSWORTH
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BRIAN, BINNIE                        BRIAN, HARDY                          BRIANA BONTER
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BRIANA MASON                         BRIANA RIEMER                         BRIAND, JODI
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BRIANE LOWERR                        BRIANNA ALLEN                         BRIANNA MANZELLI
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BRIANNA SHARP                        BRIANNE ENGLES                        BRIANNE HARVEY
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BRIANNE LUCOT                        BRIANO, MARY                          BRIAR, JESSICA
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BRIARLEY DAVIDSON                    BRIARS, COLLEEN                       BRICE, BRITTANY
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BRICE, MARGARITA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRICE, WENONA                       Page BRICENO,
                                                                               556 of 5495
                                                                                       MARJORIE
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BRICE-SPRENGER, MICHELLE                BRICHETTI, EMILY                      BRICK AND MORTAR
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BRICK HOUSE CAFE                        BRICK, JOHN                           BRICK, KATIE
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BRICK, KATIE                            BRICK, MARTHA                         BRICK, MEGAN
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BRICKATES, ANNE                         BRICKEL, ALLISON                      BRICKELL, DANA
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BRICKER, DONNA                          BRICKER, EMILY                        BRICKER, HANNAH
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BRICKER, JAMES                          BRICKER, JEANANNE                     BRICKER, MORIAH
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BRICKER, SARAH                          BRICKERT, VICTORIA                    BRICKEY, KAITLYN
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BRICKEY-NGUYEN, SARAH                   BRICKHOUSE, KEESHA                    BRICKHOUSE, TONYA
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BRICKLEMAIER, CATHY AND GEORGE          BRICKLEY, JOHN                        BRICKLEY, PETER
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BRICKLIN, SYDNEY       Case 22-11238-LSS    Doc
                                     BRICKMAN,   2 Filed 11/30/22
                                               RENEE                  Page BRICKWORKS
                                                                            557 of 5495
                                                                                      ROASTHOUSE
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BRIDDICK, BETHANY                    BRIDEAU, JESSICA                      BRIDES, AMBER
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BRIDGE BANK                          BRIDGE, DANIELLE                      BRIDGE, ERICA
55 ALMADEN BOULEVARD, SUITE 100      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN JOSE, CA 95113




BRIDGE, LARAINE                      BRIDGE, MELINDA                       BRIDGE, SETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRIDGE, STACEY                       BRIDGEFORD, KELLY                     BRIDGEMAN, MIRIAM
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BRIDGEMAN, STACY                     BRIDGERS, JENNIFER                    BRIDGERS, LISA
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BRIDGERS, NATALIE                    BRIDGES, ALLY                         BRIDGES, BECCA
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BRIDGES, BOBBIE                      BRIDGES, BRITTANY                     BRIDGES, CHRISSY
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BRIDGES, CHRISTOPHER                 BRIDGES, DONNA                        BRIDGES, DURANT
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BRIDGES, EDWARD                      BRIDGES, ERIC                         BRIDGES, GLENWARD
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BRIDGES, JACE          Case 22-11238-LSS
                                     BRIDGES,Doc  2 Filed 11/30/22
                                              JACQUELINE              Page BRIDGES,
                                                                            558 of 5495
                                                                                    JODIE
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BRIDGES, KAYLA                       BRIDGES, MELISSA                      BRIDGES, PATRICIA
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BRIDGES, PEYTON                      BRIDGES, REGGIE                       BRIDGES, SAMANTHA
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BRIDGES, SARAH                       BRIDGES, SHELBY                       BRIDGES, TIFFANY
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BRIDGES, WAYNE                       BRIDGES-EDMONDSON, KARENSA            BRIDGET JEFFRIES
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BRIDGET MCDONALD                     BRIDGET PANSINI                       BRIDGET, COLLINS,
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BRIDGETTE BRANSON                    BRIDGEWATER, DUSTIN                   BRIDGEWATER, JANET
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BRIDGEWATER, KAYLA                   BRIDGFORD, ANNIE                      BRIDGFORD, CELESTE
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BRIDGMAN, LAUREN                     BRIDWELL, JOSHUA                      BRIDWELL, RAH
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BRIECK, LESLIE                       BRIEDE, ERIN                          BRIEHL, ALEXA
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BRIEN, ANDREW          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRIEN, AVERY                     Page BRIEN,
                                                                            559 of  5495
                                                                                  JENNA
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BRIEN, RENE                          BRIENZA, BRIANNA                      BRIENZA, JULIANNE
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BRIER, BRITTANY                      BRIERE, NATALY                        BRIERLEY, MARK
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BRIERRE, JESSICA                     BRIERS, DANIEL                        BRIERTON, ASHLEY F
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BRIFFITT, CHARLIE                    BRIGGS, ALEXIS                        BRIGGS, ANTONIO
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BRIGGS, ASHLEY                       BRIGGS, BAILEY                        BRIGGS, BRIELLE
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BRIGGS, CASSIE                       BRIGGS, CHRISTINA                     BRIGGS, COLLEEN
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BRIGGS, COURTNEE                     BRIGGS, DEBBIE                        BRIGGS, ELMA
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BRIGGS, EMMALEE                      BRIGGS, GIL                           BRIGGS, HALEY
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BRIGGS, HEATHER                      BRIGGS, JESSICA                       BRIGGS, JESSICA
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                                     BRIGGS, Doc
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BRIGGS, KIMBERLY                     BRIGGS, LEAKHANA                      BRIGGS, MARY LYNN
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BRIGGS, MAXWELL                      BRIGGS, MEGHAN                        BRIGGS, NICOLE
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BRIGGS, NICOLE                       BRIGGS, ROBERT                        BRIGGS, SAMANTHA
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BRIGGS, TAWNEY                       BRIGGS, TYLER                         BRIGGS, TYLER
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BRIGHAM, ABBY                        BRIGHAM, ABIGAIL                      BRIGHAM, ALICIA
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BRIGHAM, ROSEMARIE                   BRIGHAM, WILLIAM                      BRIGHT CELLARS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




BRIGHT SIDE CONSULTING LLC           BRIGHT, ANGELA                        BRIGHT, BARTON
1515 5TH AVENUE NORTH APT 344        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NASHVILLE, TN 37208




BRIGHT, BLAKE                        BRIGHT, CACEY                         BRIGHT, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRIGHT, CHANCE                       BRIGHT, CHARISSA                      BRIGHT, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BRIGHT, JEFFREY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRIGHT, JENNIFER                  Page BRIGHT,
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BRIGHT, KRISTEN                      BRIGHT, LAMARK                         BRIGHT, LORRIE
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BRIGHT, MCKENZIE                     BRIGHT, MICHELLE                       BRIGHT, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BRIGHT, TAMMY                        BRIGHT, TRAVIS                         BRIGHT, VERNET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BRIGHTCLIFFE, EVE                    BRIGHTEDGE TECHNOLOGIES, INC.          BRIGHTMAN, EMILY
ADDRESS AVAILABLE UPON REQUEST       989 E. HILLSDALE BLVD., STE 300        ADDRESS AVAILABLE UPON REQUEST
                                     FOSTER CITY, CA 94404




BRIGHTON, ABBY-JO                    BRIGHTON, JENNIFER                     BRIGHTWELL, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BRIGHTWELL, TREVER                   BRIGID OCONNOR                         BRIGID OCONNOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




BRIGIS, OLGA                         BRIGIT BOWERS                          BRIGLIO, ALYSSA
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BRIGMAN, JENNIFER                    BRIGNAC, LESLIE                        BRIGNONE, VERONICA
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BRILES, KEELA                        BRILEY, MARIE                          BRILL, ALEXANDER
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BRILL, ALEXANDRIA      Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                            562 of  5495
                                                                                  KENT
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BRILL, LORI                          BRILL, NATALIE                        BRILLHART, AIMEE
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BRILLHART, EMMA                      BRILLIANT, ASHLEY                     BRILLIANT, NATALIE
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BRIM, CHRIISTOPHER                   BRIM, NATALIE                         BRIM, REBECCA
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BRIMER, JENNIFER                     BRIMEYER, CATHERINE                   BRIMEYER, ELIZABETH
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BRIMFIELD, WHITNEY                   BRIMHALL, KIMBERLY                    BRIMM, TERESITA
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BRINBERG, TODD                       BRINCK, LORI                          BRINCK, MARA
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BRINDLE, JESSICA                     BRINDLEY, COREY                       BRINDZA, NICHOLE
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BRINEGAR, KATHLEEN                   BRINER, CAYCIE                        BRINER, KATHLEEN
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BRINGHURST, MICHELLE                 BRINI, DANIEL                         BRINK, CHEYENNE
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BRINK, ELIZABETH       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRINK, JESS                      Page BRINK,
                                                                            563 of  5495
                                                                                  JONATHAN
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BRINK, LISA                          BRINK, MADISON                        BRINK, MAGENNA
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BRINKEL, HELEN                       BRINKER, EVIN                         BRINKER, KIMBERLY
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BRINKER, LISA                        BRINKER, LYNSEY                       BRINKER, TALENE
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BRINKLEY PARKER, SHARONE             BRINKLEY, AMANDA                      BRINKLEY, AMY
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BRINKLEY, COURTNEY                   BRINKLEY, JEANNINE                    BRINKLEY, SARAH
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BRINKLEY, SUSANNAH                   BRINKMAN, STEPHANIE                   BRINKMANN, SHANA
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BRINKOETTER, ELIZABETH               BRINKS, AUSTIN                        BRINKS, HILARY
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BRINKS, LIZ                          BRINKWORTH, JENNA                     BRINKWORTH, LINDA
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BRINLEY, MICHAEL                     BRINNEMAN, JENELLE                    BRINSON, ALISHA
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                                     BRINSON,Doc  2 Filed 11/30/22
                                              DIONNE                  Page BRINSON,
                                                                            564 of 5495
                                                                                    KEVIN
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BRINSON, KRISTEN                     BRINSON, MORGAN                       BRINSON, SARAH
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BRINSON, SARAH                       BRINSON, STEPHANIE                    BRINSON, VELMA
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BRINTLE, KIRSTIE                     BRINTLINGER, HANNAH                   BRINTON HOTEL
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BRINTON, ODETTE                      BRINTON, SUSAN                        BRINTZ, CATHY
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BRION SNYDER                         BRIONES, CARLA                        BRIONES, CHRISTIE
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BRIONES, CINDY                       BRIONES, STEPHANIE                    BRIQUELET, KATE
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BRISBANE, BAERBEL                    BRISBIN, ANDREA                       BRISBOIS, AMY
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BRISCO, PATRICK                      BRISCOE, AUDREY                       BRISCOE, BRAD
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BRISCOE, DAWN                        BRISCOE, IRVING                       BRISCOE, JAMES
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BRISCOE, JESSICA       Case 22-11238-LSS
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                                                                               565 of 5495
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BRISCOE, NATALIE                     BRISCOE, SIMONE                          BRISCOE, SYLVIA
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BRISENO, FRANCISCO                   BRISENO, JAVIER                          BRISENO, LETICIA
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BRISENO, MONICA                      BRISENO, SANDRA                          BRISENTINE, CARA ESHLEMAN
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BRISENTINE, CARA                     BRISGONE, MICHAEL                        BRISKE, PAULETTE
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BRISKEY, CATHIE                      BRISKI, MEGHAN                           BRISKY, GENESE
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BRISLIN, MATTHEW                     BRISSON, CHERYL                          BRISSON, KATIE
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BRISTLE, JOANNA                      BRISTOL FARMS                            BRISTOL, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




BRISTOL, HANNAH                      BRISTOL, JULIA                           BRISTOL, JULIA
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BRISTOL, MARY                        BRISTOL, NICOLE                          BRISTOL, SHIRLEY
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                                     BRISTON,Doc
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                                                                            566 of 5495
                                                                                    DAVID
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BRISTOW, SORAN                       BRITO, BERNADETTE                     BRITO, EVERALDO
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BRITO, JC                            BRITO, MALORIE                        BRITO, MARGIE
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BRITO, MICHELLE                      BRITO, RUDDY                          BRITO, SHEILA
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BRITO, SINUHE                        BRITO, SONIA                          BRITO, THALES
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BRITO-RODRIGUEZ, ELIZABETH           BRITSKE, KAY                          BRITT BARTHELMAS
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BRITT CONNECTS                       BRITT, ANNA                           BRITT, ASHLEY
1012 3RD ST 208                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90404




BRITT, ELIZABETH                     BRITT, FRANCES                        BRITT, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRITT, MARCUS                        BRITT, SARAH                          BRITT, SUMMER
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BRITT, TIANA                         BRITTA GRAVELIN                       BRITTAIN, ASHLEY
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BRITTAIN, CAREY        Case 22-11238-LSS
                                     BRITTAIN,Doc  2 Filed 11/30/22
                                               JANET                  Page BRITTAIN,
                                                                            567 of 5495
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BRITTAIN, SARAH                      BRITTAIN, SUZANNE                     BRITTANEI NEUBERT
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BRITTANIE STINSON                    BRITTANY ALANE BRUNSON                BRITTANY CARTLIDGE
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BRITTANY COWDEN                      BRITTANY DARDEN                       BRITTANY FORD
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BRITTANY GRABOWSKI                   BRITTANY HEULITT                      BRITTANY KEITH
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BRITTANY LEE                         BRITTANY LEMMONS                      BRITTANY MUSCIO
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BRITTANY PRIDE                       BRITTANY R HARLAN                     BRITTANY RIVERA
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BRITTANY SHAULIS                     BRITTANY SMITH                        BRITTANY TURNER
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BRITTANY WALL                        BRITTANY, MARROW,                     BRITTANY, RIZO,
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BRITTEN, BRITNEY                     BRITTIGAN, ERIC                       BRITTINGHAM, JENNIFER
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BRITTLE, JENNIFER      Case 22-11238-LSS
                                     BRITTNEYDoc  2 Filed 11/30/22
                                              A CARDILLO              Page BRITTNEY
                                                                            568 of 5495
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BRITTNEY COLEMAN                     BRITTNEY JONES                        BRITTNEY, QUINTANA,
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BRITTNI HALL                         BRITTO, AYANA                         BRITTO, DANA
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BRITTO, DARELL                       BRITTON, DUANE                        BRITTON, ENID
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BRITTON, JOSHUA                      BRITTON, KATHRYN                      BRITTON, LYNN
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BRITTON, MIKE                        BRITTON, SARAH                        BRITTON, STACEY
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BRITZ, CLAUDIA                       BRIWA, CHARLES                        BRIX, EMILY
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BRIXEY, JILL                         BRIZENDINE, ANGELA                    BRIZUELA, JORGE
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BRIZZEE, SHERYL                      BRIZZOLARA, MEGAN                     BRKIC, VESNA
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BRKICH, CASSIE                       BRLAS, RONALD                         BRNADA, TAMARA
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BRNILOVICH, CARISSA    Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BROAD, BRITTANY                     Page BROAD,
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                                                                                       5495
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BROAD, KATIE                         BROADBELT, KRISTIN                       BROADBELT, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BROADBENT, STEPHANEY                 BROADDUS, CYNTHIA                        BROADEN, LEKEISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BROADNAX, SUSAN                      BROADRIDGE INVESTOR COMMUNICATION        BROADUS, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       SOLUTIONS INC.                           ADDRESS AVAILABLE UPON REQUEST
                                     51 MERCEDES WAY
                                     EDGEWOOD, NY 11717




BROADWAY BREESE, ELIZABETH           BROADWAY WINE & SPIRITS                  BROADWELL, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       1011 BROADWAY                            ADDRESS AVAILABLE UPON REQUEST
                                     SANTA MONICA, CA 90401




BROBST, ALLISON                      BROBST, CATHIE                           BROBST, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BROCATO, GREGORY                     BROCCHI, DIANE                           BROCE, TIFFANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BROCHIN, ALLEGRA                     BROCHU, JOHN                             BROCHU, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BROCIES, KARA                        BROCK D JOHNSTON INVESTMENTS LLC         BROCK HIGHAM
ADDRESS AVAILABLE UPON REQUEST       2607 N VAL VISTA RD                      ADDRESS AVAILABLE UPON REQUEST
                                     APACHE JUNCTION, AZ 85119




BROCK P WALKER                       BROCK, ALEXIS                            BROCK, BRYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BROCK, CAROLINE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BROCK, ELISE                     Page BROCK,
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BROCK, JANITA                        BROCK, JIM                            BROCK, KAYLA
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BROCK, LIANNE                        BROCK, MARSHA                         BROCK, MARY
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BROCK, MATTHEW                       BROCK, MOLLIE                         BROCK, MYRA
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BROCK, RACHEL                        BROCK, RANDY                          BROCK, REBECCA
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BROCK, SARAH                         BROCK, SIDNEE                         BROCK, STEVE
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BROCK, TOM                           BROCK, VICTORIA                       BROCK, WANDA
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BROCKELMAN, CORY                     BROCKENBERRY, DAMON                   BROCKENBURY, GAIL
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BROCKERS, ALICIA                     BROCKETT, EMILY                       BROCKHOFF, LIBBY
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BROCKING, FERNANDA                   BROCKINGTON, KEEYA                    BROCKINGTON, SARAH
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BROCKLEHURST, LENA     Case 22-11238-LSS    Doc MICHELLE
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                                                                            571 of 5495
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BROCKMAN, JENNIFER                   BROCKMAN, LAUREN                      BROCKMAN, MIRANDA
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BROCKMAN, SHARON                     BROCKMAN, ZINA                        BROCKMANN, KYRSTEN
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BROCKMEYER, KATE                     BROCKUS, STACEY                       BROCKWAY, BONNIE AND CARL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROCKWAY, CARL AND BONNIE            BROCKWAY, MICHAEL                     BROCKWAY, RUSSELL
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BROCKWAY, TIMOTHY                    BROCKWELL, ANDREW                     BROCUGLIO, TAYLOR
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BRODA, ROBYN                         BRODAK, STACEY                        BRODBAR, DEBBIE
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BRODD, ASHLEY                        BRODE, DUSTIN                         BRODELL, PAMELA
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BRODELL, PAMELA                      BRODERICK, ADAM                       BRODERICK, AMANDA
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BRODERICK, ANJULIE                   BRODERICK, ANN                        BRODERICK, BRANDY
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                                                                            572 of 5495
                                                                                      JENNIFER
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BRODERICK, JOSEPH                    BRODERICK, JULIA                      BRODERICK, SHANNON
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BRODERICK, STACY                     BRODERICK, TRINITY                    BRODERS, SAMANTHA
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BRODHEAD, LAVERN                     BRODIE, NATASHA                       BRODIE, STEVEN
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BRODIE, TRACY                        BRODIN, BECCA                         BRODMAN, KELSEY
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BRODMAN, LEIGH                       BRODMERKEL, KRISTINA                  BRODNANSKY, LOGAN
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BRODNAX, JOHN                        BRODOF, EMILY                         BRODRICK, EMILY
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BRODRIQUE, ELISE                     BRODSHO, CHRISTINA                    BRODSKY, JENNIFER
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BRODT, KATIE                         BRODY, AARON                          BRODY, AMANDA
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BRODY, JONATHAN                      BRODY, KELLI                          BRODY, PETER
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                                               ANNA                   Page BROE,
                                                                            573 of 5495
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BROECKER, KATHERINE                  BROEHM, MICHELLE                      BROEKEMIER, NOLAND
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BROEKER, DARBY                       BROEKER, ROGER                        BROEKHUIS, NICHOLE
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BROEKHUYSEN, LISA                    BROEN, ALEXIS                         BROERMANN, KENNETH
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BROETZ, PATRICIA                     BROGAARD, KRYSTAL                     BROGAN, ERICA
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BROGAN, JENA                         BROGAN, KATHLEEN                      BROGAN, LAINE
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BROGAN, NATE                         BROGAN, NATHALIE                      BROGDON, BRITTANY
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BROGDON, JACLYN                      BROGDON, LESLIE                       BROGDON, MALCOLM AND VICTORIA
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BROGLI, VANESSA                      BROGLIA, MARY JANE                    BROGLIE, ADRIANA
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BROGUIERE, SANDRA                    BROHAMER, JACK                        BROHM, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BROHOLM, FRANCES       Case 22-11238-LSS
                                     BROKAW,Doc  2 Filed 11/30/22
                                             KAITLYN                  Page BROKAW,
                                                                            574 of 5495
                                                                                   LOGAN
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BROKKE, MARISSA                      BROKMAN, KINERET                      BROKOS, JUSTYNA
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BROKX, KATY                          BROLL, FELICIA                        BROLL, KELSEY
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BROLLEY, MEG                         BROMAGEM, SUZETTE                     BROMAGHIM, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROMBERG, NEIL                       BROMFIELD, LAURA                      BROMGARD, EILEEN
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BROMLEY, KIM                         BROMLEY, MARIA                        BROMLEY, STEPHANIE
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BROMLOW, TRACY                       BROMMENSCHENKEL, ANN                  BRONAUGH, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRONCHETTI, JAYSON                   BRONCO WINE COMPANY                   BRONDO, KERI
ADDRESS AVAILABLE UPON REQUEST       P.O. BOX 789                          ADDRESS AVAILABLE UPON REQUEST
                                     CERES, CA 95307




BRONGERS, RYAN                       BRONK, ELIZABETH                      BRONKE, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRONKEMA, YAZMIN                     BRONNER, PHIL                         BRONSDON, KERISHA
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                                     BRONSON,    2 Filed 11/30/22
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                                                                               575 of 5495
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BRONSON, MELISSA                        BRONSON, SHIRLEY                      BRONSTEIN, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRONSTEIN, DEBRA                        BRONTE, LORI                          BROOK, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROOK, MELISSA                          BROOKE KAISER                         BROOKE KAPPHAHN
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BROOKE L MORALES                        BROOKE LEMMONS                        BROOKE MOSER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROOKE MYNATT                           BROOKE NONA                           BROOKE PROCK
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BROOKE SCREWS                           BROOKE SMITH LA FATA                  BROOKE TREDWAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROOKE, GLENN                           BROOKE, JENNIFER                      BROOKE, MRS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROOKE, PATRICK                         BROOKER, BRIAN                        BROOKES, BRITTANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROOKESTONE                             BROOKEY, LAUREN                       BROOKHART, DANI
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BROOKHOUSE, OWEN       Case 22-11238-LSS    Doc
                                     BROOKING,   2 Filed 11/30/22
                                               MARY                   Page BROOKINGS,
                                                                            576 of 5495
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BROOKINGS, VICKI                     BROOKINS, CHENOA                      BROOKINS, DOMINIC
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BROOKLEE MARSHALL                    BROOKLYN NETS, LLC                    BROOKOVER, SARAH
ADDRESS AVAILABLE UPON REQUEST       15 METROTECH CENTER 11TH FLOOR        ADDRESS AVAILABLE UPON REQUEST
                                     BROOKLYN, NY 11201




BROOKS BURTON                        BROOKS SALZWEDEL                      BROOKS SEAMANS, ANDREAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROOKS, ABBEY                        BROOKS, ALAN                          BROOKS, AMANDA
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BROOKS, AMANDA                       BROOKS, ANDRE                         BROOKS, ANDREA
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BROOKS, ANDREW                       BROOKS, ANDY                          BROOKS, ANGELICA
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BROOKS, ANNA                         BROOKS, ARIEL                         BROOKS, ASHLEY
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BROOKS, ASHLEY                       BROOKS, BARRY                         BROOKS, BOBBY
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BROOKS, BONNIE                       BROOKS, BRETT                         BROOKS, C
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                                     BROOKS,Doc  2 Filed 11/30/22
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                                                                            577 of CARISTY
                                                                                   5495
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BROOKS, CAROLINE                     BROOKS, CATHERINE                     BROOKS, CHARLES
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BROOKS, CHLOE                        BROOKS, CHRISTINA                     BROOKS, CHRISTINE
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BROOKS, CIERA                        BROOKS, COLIN                         BROOKS, CRYSTINA
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BROOKS, DANIELLE                     BROOKS, DANNIELLE                     BROOKS, DAVE
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BROOKS, DAVID                        BROOKS, DEBBIE                        BROOKS, DEBBY
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BROOKS, DEE                          BROOKS, DENISE                        BROOKS, ELIZABETH
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BROOKS, ELLEN                        BROOKS, ELMA                          BROOKS, ERIN
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BROOKS, GEORGE                       BROOKS, HAZEL                         BROOKS, HEIDI
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BROOKS, HOWARD                       BROOKS, JANAE                         BROOKS, JAZMINE
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BROOKS, JAZMYN         Case 22-11238-LSS
                                     BROOKS,Doc
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BROOKS, JERIKA                       BROOKS, JIM                           BROOKS, JOY
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BROOKS, JULIE                        BROOKS, KALLEE                        BROOKS, KARA
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BROOKS, KARYN                        BROOKS, KATIE                         BROOKS, KEELEY
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BROOKS, KEKE                         BROOKS, KELLI                         BROOKS, KENNETH
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BROOKS, KEVIN                        BROOKS, KEVIN                         BROOKS, KIM
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BROOKS, KRISTEN                      BROOKS, KRISTEN                       BROOKS, KYLA
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BROOKS, LAUREN                       BROOKS, LAUREN                        BROOKS, LUCAS
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BROOKS, MARION                       BROOKS, MATT                          BROOKS, MEGAN
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BROOKS, MELISSA                      BROOKS, MICHAEL                       BROOKS, NAN
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BROOKS, NICOLE         Case 22-11238-LSS
                                     BROOKS,Doc  2 Filed 11/30/22
                                            PHILLIP                   Page BROOKS,
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BROOKS, PORTIA                       BROOKS, RENEE                         BROOKS, RICHARD
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BROOKS, RYAN                         BROOKS, SARAH                         BROOKS, SARAH
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BROOKS, SERENA                       BROOKS, SHEENA                        BROOKS, SHELBY
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BROOKS, SOMMER                       BROOKS, STEPHANIE                     BROOKS, STEPHANIE
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BROOKS, SUMMER                       BROOKS, SUSAN                         BROOKS, SUZANNE
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BROOKS, THIBAUT                      BROOKS, TIM                           BROOKS, TREVOR
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BROOKS, TREVOR                       BROOKS, TYRAN                         BROOKS-FINCHER, CATHY
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BROOKSHIRE, ANDREA                   BROOKS-JONES, KESHA                   BROOM, NICOLE
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BROOM, PATRICIA                      BROOME, ASHLEY                        BROOME, BONNIE
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BROOME, DEBBIE         Case 22-11238-LSS
                                     BROOME,Doc  2 Filed 11/30/22
                                             SAMANTHA                    Page BROOMFIELD,
                                                                               580 of 5495CONNIE
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BROOMFIELD, KRISTY                   BROPHY BROS                              BROPHY, BEVERLY
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BROPHY, ELI                          BROPHY, KRISTEN                          BRORSEN, TRAVIS
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BROSCHART, KAITLIN                   BROSCIOUS, RACHAEL                       BROSCO SADLER, JOIA AND JORDAN
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BROSEN, DOROTA                       BROSH, MICHELLE                          BROSH, STELLA
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BROSIOUS, MATTHEW                    BROSNAHAN, GARLAN JUDE                   BROSNAN, BARBARA
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BROSNAN, CYNTHIA                     BROSNAN, JAIME                           BROSNAN, NICOLE
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BROSNIHAN, SHEA & PATRICK            BROSOSKY, ALEXA                          BROSS, PAULA
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BROSSETTE, MISTIE                    BROST, KELLY                             BROSTEK, MARK
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BROSTEN, JANEY                       BROTBY, MELODY                           BROTHERHOOD, ELISA
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BROTHERS, AMANDA       Case 22-11238-LSS   Doc
                                     BROTHERS,   2 Filed 11/30/22
                                               BEN                    Page BROTHERS,
                                                                            581 of 5495
                                                                                     DAN
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BROTHERS, MICHELLE                   BROTHERTON, GARRY                     BROTHERTON, KYE
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BROTOSKY, JAMES                      BROTTON, JULIA                        BROTT-SILKETT, ANITA
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BROTZKI, CAROLINE                    BROTZMAN, LAURA                       BROU, LINA
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BROUCEK, JAMES                       BROUDY, KATIE                         BROUGH, KELSIE
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BROUGHAN, LAURIE                     BROUGHTON, ALEXANDRA                  BROUGHTON, CODY
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BROUGHTON, JENNA                     BROUGHTON, KIRBIE                     BROUGHTON, SHANNON
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BROUGHTON, TIM                       BROUILLETTE, ANDREE                   BROUILLETTE, RONALD
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BROULETTE, JUNELLE                   BROUN, HOLLY                          BROUSE, KELLY
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BROUSSARD, ALEXANDRA                 BROUSSARD, BETHANY                    BROUSSARD, CAMILLE
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BROUSSARD, ELIZABETH   Case 22-11238-LSS   DocGUY
                                     BROUSSARD,  2 Filed 11/30/22     Page BROUSSARD,
                                                                            582 of 5495
                                                                                      KATHERINE
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BROUSSARD, KATHERINE                 BROUSSARD, LAURA                      BROUSSARD, NICHOLAS
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BROUSSARD, NICOLE                    BROUSSARD, PAM                        BROUSSARD, SUSAN
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BROUSTRA, SEBASTIEN                  BROUWER, BRUNO                        BROUWER, KALEY
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BROUWER, MICHAELA                    BROUWER, SHAWN                        BROWDER, KIRA
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BROWE, MCKENZIE                      BROWER, DEE                           BROWER, EBEN
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BROWER, GREG                         BROWER, HAILEY                        BROWER, HALEY
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BROWER, KARA                         BROWER, LAUREN                        BROWER, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROWER, STEPHEN                      BROWN - JENSEN, DEBORAH               BROWN BROS HARRIMAN & CO (0010)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ATTN CORPORATE ACTIONS / VAULT
                                                                           140 BRDWAY
                                                                           NEW YORK, NY 10005




BROWN EL, TYISHA                     BROWN KELLY, STACIE                   BROWN KLOCHANEY, KRYSTA
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BROWN, AARON           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BROWN, AARON                     Page BROWN,
                                                                            583 ofAARON
                                                                                   5495
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BROWN, ABBEY                         BROWN, ABBIGAIL                       BROWN, ABBY
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BROWN, ABBY                          BROWN, ABBY                           BROWN, ABIGAIL
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BROWN, ABIGAIL                       BROWN, ADAM                           BROWN, AILEEN
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BROWN, ALEX                          BROWN, ALEX                           BROWN, ALEXA
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BROWN, ALEXA                         BROWN, ALEXANDRA                      BROWN, ALEXANDRA
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BROWN, ALEXANDRIA                    BROWN, ALEXIS                         BROWN, ALICIA
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BROWN, ALLISON                       BROWN, ALLISON                        BROWN, ALLY
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BROWN, ALVIN                         BROWN, ALYSIA                         BROWN, ALYSSA
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BROWN, ALYSSA                        BROWN, ALYSSIA                        BROWN, AMANDA
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BROWN, AMANDA          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BROWN, AMANDA                    Page BROWN,
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BROWN, AMBER                         BROWN, AMY                            BROWN, AMY
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BROWN, AMY                           BROWN, AMY                            BROWN, AMY
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BROWN, ANASTASIA                     BROWN, ANDREE                         BROWN, ANDREW
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BROWN, ANDREW                        BROWN, ANGELA                         BROWN, ANGELA
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BROWN, ANGELA                        BROWN, ANGIE                          BROWN, ANNA
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BROWN, ANNA                          BROWN, ANNE                           BROWN, ANNE
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BROWN, ANNETTE                       BROWN, ANNMARIE                       BROWN, ANTONIA
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BROWN, APRIL                         BROWN, ARCH                           BROWN, ASHIRA
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BROWN, ASHLEY                        BROWN, ASHLEY                         BROWN, ASHLEY
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BROWN, ASHLEY          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BROWN, ASHLEY                    Page BROWN,
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BROWN, AUGUST                        BROWN, AUSTIN                         BROWN, AUTUMN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BROWN, AYLA                          BROWN, BAILEY                         BROWN, BETSY
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BROWN, BEVERLY                       BROWN, BLAKE                          BROWN, BLAKELEA
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BROWN, BOYD                          BROWN, BRANDON                        BROWN, BRANDON
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BROWN, BRENNA                        BROWN, BRIAN                          BROWN, BRIANNA
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BROWN, BRIELLE                       BROWN, BRITTANY                       BROWN, BRYAN
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BROWN, BT                            BROWN, CAITLIN                        BROWN, CAITLIN
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BROWN, CAITLIN                       BROWN, CAMERON                        BROWN, CANTRELL
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BROWN, CARIE                         BROWN, CARL                           BROWN, CAROLINE
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BROWN, CARRIE          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BROWN, CARRIE                    Page BROWN,
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BROWN, CASEY                         BROWN, CASEY                          BROWN, CASSANDRA
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BROWN, CATHERINE                     BROWN, CATHERINE                      BROWN, CATHERINE
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BROWN, CATHERINE                     BROWN, CATHLEEN                       BROWN, CATIE
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BROWN, CHANELL                       BROWN, CHANETTA                       BROWN, CHARITY
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BROWN, CHASEEMILY                    BROWN, CHAZ                           BROWN, CHELSEI
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BROWN, CHELSEY                       BROWN, CHELSI                         BROWN, CHERI
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BROWN, CHERRELL                      BROWN, CHERYL                         BROWN, CHEYENNE
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BROWN, CHLOE                         BROWN, CHRIS                          BROWN, CHRIS
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BROWN, CHRIS                         BROWN, CHRIS                          BROWN, CHRISTIE
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BROWN, CHRISTINE       Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BROWN, CHRISTINE                 Page BROWN,
                                                                            587 ofCHRISTINE
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BROWN, CHRISTINE                     BROWN, CHRISTOPHER                    BROWN, CHRISTOPHER
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BROWN, CHRYSTAL-STARR                BROWN, CINDI                          BROWN, CINDI
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BROWN, CLARICE                       BROWN, COLEMAN                        BROWN, COLLIN
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BROWN, CONNIE                        BROWN, CONOR                          BROWN, CORINNE
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BROWN, COURTNEY                      BROWN, COURTNEY                       BROWN, CRIS
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BROWN, CRYSHONA                      BROWN, CRYSTAL                        BROWN, CURTIS
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BROWN, CYNTHIA                       BROWN, DAJASIA                        BROWN, DANA
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BROWN, DANEQUA                       BROWN, DANIEL                         BROWN, DANIEL
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BROWN, DANIEL                        BROWN, DANIELLE                       BROWN, DANIELLE
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                                     BROWN, DARRELL                   Page BROWN,
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BROWN, DARRY                         BROWN, DAVID                          BROWN, DAVID
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BROWN, DAVID                         BROWN, DAWN                           BROWN, DAYNA
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BROWN, DAYSIA                        BROWN, DEANA                          BROWN, DEANNA
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BROWN, DEBB                          BROWN, DEBBIE                         BROWN, DEBBIE
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BROWN, DENISE                        BROWN, DEREK                          BROWN, DESHAWN
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BROWN, DEVONDRIUS                    BROWN, DIANA                          BROWN, DONNA
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BROWN, DOROTHY                       BROWN, DOROTHY                        BROWN, DOROTHY
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BROWN, DOUG                          BROWN, DOUGLAS                        BROWN, DYLAN
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BROWN, ELICIA                        BROWN, ELISHA                         BROWN, ELIZABETH
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BROWN, ELIZABETH                     BROWN, ELIZABETH                      BROWN, ELLEN
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BROWN, ELLIANNA                      BROWN, EMILIE                         BROWN, EMILY
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BROWN, ERIK                          BROWN, ERIKA                          BROWN, ERIN
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BROWN, ESTHER                        BROWN, FALECIA                        BROWN, FRANCES
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BROWN, GERALD                        BROWN, GRACE                          BROWN, GRACE
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BROWN, GREG                          BROWN, GRETCHEN                       BROWN, HALEY
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BROWN, HANAKO                        BROWN, HANNAH                         BROWN, HANNAH
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BROWN, HELEN                         BROWN, HILARY                         BROWN, HILLARY
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BROWN, JACKIE                        BROWN, JACOB                          BROWN, JAIME
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BROWN, JAMES AND KONDA               BROWN, JAMES                          BROWN, JAMES
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                                     BROWN, JAMIE                     Page BROWN,
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BROWN, JAMORA                        BROWN, JARED                          BROWN, JASMINE
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BROWN, JASMINE                       BROWN, JASON                          BROWN, JASON
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BROWN, JIAVHANNIE                    BROWN, JILL                           BROWN, JILL
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BROWN, JOCELYN                       BROWN, JOEL                           BROWN, JONI
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BROWN, JOSHUA                        BROWN, JOSHUA                         BROWN, JUDITH
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BROWN, KATHRYN                       BROWN, KATHRYN                        BROWN, KATHRYN
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BROWN, KENDALIN                      BROWN, KENDALL                        BROWN, KEVIN
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BROWN, KEVIN           Case 22-11238-LSS    Doc 2 Filed 11/30/22
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BROWN, KIMBERLY                      BROWN, KIMMI                          BROWN, KRISTEL
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BROWN, LARISA                        BROWN, LARRY                          BROWN, LAURA
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BROWN, LAUREN                        BROWN, LESLIE                         BROWN, LETESHIA
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BROWN, LILLIAN         Case 22-11238-LSS    Doc 2 Filed 11/30/22
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BROWN, LINDSAY                       BROWN, LINDSAY                        BROWN, LINDSEY
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BROWN, LIONEL                        BROWN, LISA                           BROWN, LISA
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BROWN, MARCEL                        BROWN, MARCELLA                       BROWN, MAREN
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BROWN, MARIE                         BROWN, MARINA                         BROWN, MARK
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BROWN, MEGHAN          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BROWN, MELANIE                   Page BROWN,
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BROWN, MEREDITH                      BROWN, MIA                            BROWN, MICHAEL
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BROWN, MONICA                        BROWN, MONIQUE                        BROWN, MORGAN
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BROWN, NALVOLIA        Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BROWN, NANCY                     Page BROWN,
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BROWN, NANCY                         BROWN, NANNETTE                       BROWN, NATALIE
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BROWN, NEIL                          BROWN, NIA                            BROWN, NICOLE
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BROWN, NICOLE                        BROWN, NIKKI                          BROWN, NOELLE
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BROWN, NOELLE                        BROWN, NOVA                           BROWN, NYESHA
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BROWN, OLIVIA                        BROWN, OLIVIA                         BROWN, OLIVIA
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BROWN, ONTARIO                       BROWN, OWEN                           BROWN, PAIGE
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BROWN, PAMELA                        BROWN, PATRICIA                       BROWN, PAUL
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BROWN, PAULI                         BROWN, PEGGY                          BROWN, RACHEL
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BROWN, RAHEL                         BROWN, RAMSEY                         BROWN, RAYMOND
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BROWN, REBECCA         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BROWN, REBECCA                   Page BROWN,
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BROWN, REBECCA                       BROWN, RICHARD                        BROWN, RICKY
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BROWN, RIK                           BROWN, ROBERT                         BROWN, ROBERT
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BROWN, ROBIN                         BROWN, RODNEY                         BROWN, ROGER
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BROWN, RONALD                        BROWN, RONALD                         BROWN, ROSS
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BROWN, RYAN                          BROWN, RYANNE                         BROWN, SABRINA
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BROWN, SAM                           BROWN, SAMANTHA                       BROWN, SAMANTHA
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BROWN, SAMANTHA                      BROWN, SAMANTHA                       BROWN, SANDRA
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                                     BROWN, SAVANNAH                  Page BROWN,
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BROWN, SAVELLE                       BROWN, SCOTT                          BROWN, SCOTT
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BROWN, SEAN                          BROWN, SESLIE                         BROWN, SHAKIRIM
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BROWN, SHALONDA                      BROWN, SHANNON                        BROWN, SHARILYN
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BROWN, SHERI                         BROWN, SHERMIN                        BROWN, SHIRLEY
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BROWN, SIMON.P.                      BROWN, SOPHIA                         BROWN, STACEY
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BROWN, SYDNEY                        BROWN, TALLYN                         BROWN, TAMECHE
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BROWN, TAMMIE                        BROWN, TANYA                          BROWN, TARA
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BROWN, TRISTAN                       BROWN, TROY                           BROWN, TYLER
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BROWN, VANESSA                       BROWN, VANVER                         BROWN, VICTORIA
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BROWN, VIOLA                         BROWN, VIRGINIA                       BROWN, VIRGINIA
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BROWN, WANDA                         BROWN, WARNER                         BROWN, WAYNE
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BROWN, WILLIAM                       BROWN, ZACHARY                        BROWN, ZACHARY
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BROWNDORF, SARA                      BROWNE, ALISON                        BROWNE, GRAHAM
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BROWNE, HOWELL                       BROWNE, IRIS                          BROWNE, JULIE
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BROWNE, KIM                          BROWNE, MANDY                         BROWNE, NATHAN
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                                     BROWNE,Doc  2 Filed 11/30/22
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BROWNE, SCOTT                        BROWNE, SHANNON                       BROWNE, SHERRY
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BROWNE, TEQUANA                      BROWNE, TREVOR                        BROWNELL, CECILIA
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BROWNELL, EDEN                       BROWNELL, JEAN                        BROWNELL, LEAH
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BROWNELL, MEGHAN                     BROWNELL, PETER                       BROWNELL, SANDRA
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BROWNER, SARA                        BROWNFIELD, ADDISON                   BROWNFIELD, JARRETT
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BROWNFIELD, JENNA                    BROWNGOLD, MAX                        BROWNING, ALYSHIA
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BROWNING, ANASTATIA                  BROWNING, ANN                         BROWNING, BRETT
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BROWNING, BRIDGET                    BROWNING, ELIZABETH                   BROWNING, ELIZABETH
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BROWNING, EMILY                      BROWNING, EVAN                        BROWNING, GAELLE
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                                               HANNAH                 Page BROWNING,
                                                                            604 of 5495
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BROWNING, JEREMY                     BROWNING, JESSICA                     BROWNING, JILL
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BROWNING, JULIA                      BROWNING, KAILA                       BROWNING, KAREN
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BROWNING, KASSI                      BROWNING, KATHRYN                     BROWNING, LESLIE
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BROWNING, MICHELLE                   BROWNING, MIKAELA                     BROWNING, MIKE
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BROWNING, MISSY                      BROWNING, MOLLY                       BROWNING, NICOLE
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BROWNING, ROBERT                     BROWNING, SANDY                       BROWNLEE, KENNETH
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BROWNLOW, BRITTANY                   BROWNLOW, KAMARI                      BROWNLOWE, JAZMIN
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BROWNRIDGE, JOLIE                    BROWNS, SHIRLEY                       BROWNSON, JENNIFER
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BROWN-SPEIGHTS, TUSAJIGWE            BROWNSTEIN, MARY                      BROWNSTONE, PATTI
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BROWN-WELLS, ASHLEY    Case 22-11238-LSS   Doc 2 ANGELIQUE
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                                                                            605 of 5495 YASMINE
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BROYLES, BRIANNE                     BROYLES, DAVID                        BROYLES, ELLEN
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BROYLES, JESSICA                     BROYLES, JUSTIN                       BROYLES, TED
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BROYTMAN, LEXIE                      BROZ, LENA                            BROZ, MATTHEW
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BROZEK, HANNAH                       BROZOVICH, ALAN                       BRRCH LLC
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BRRG, ANNABELLE                      BRUBAKER, BRITTANY                    BRUBAKER, CAILYN
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BRUBAKER, JENNIFER                   BRUBAKER, KATARINA                    BRUBAKER, KEN
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BRUBAKER, RALA                       BRUBAKER, ROY                         BRUBAKER, SARAHJANE
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BRUCATO, ASHLEY                      BRUCATO, KATHRYN                      BRUCCOLERI, PETER
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BRUCE A RAMSEY LIVING TRUST          BRUCE A RAMSEY                        BRUCE AND ANN-MARIE PARKER LIVING
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BRUCE D WERTZ          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BRUCE DAVIS                      Page BRUCE
                                                                            606 ofDROSTE
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BRUCE G SHOPE                        BRUCE GREGORY TIEMANN                 BRUCE HAUER
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BRUCE J RYON                         BRUCE LANTELME                        BRUCE NUNZIO TARTAGLIA
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BRUCE REINHART                       BRUCE SANDERS                         BRUCE WADSWORTH
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BRUCE WERTZ                          BRUCE, AMY                            BRUCE, AMY
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BRUCE, AUSTIN                        BRUCE, BAILEY                         BRUCE, BETTY
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BRUCE, DAVID                         BRUCE, DEDE                           BRUCE, DENISE
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BRUCE, FRITCH                        BRUCE, GEORGE                         BRUCE, JOAN
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BRUCE, JODY                          BRUCE, JUSTYNA                        BRUCE, KATHERINE
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BRUCE, KELLY                         BRUCE, LINDA                          BRUCE, LIZ
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BRUCE, MARQUES         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BRUCE, MATT                      Page BRUCE,
                                                                            607 ofMATTHEW
                                                                                   5495
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BRUCE, MEGAN                         BRUCE, MICHAEL                        BRUCE, MORGAN
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BRUCE, MORGAN                        BRUCE, PAULA                          BRUCE, SHADRA
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BRUCE, SHELIA                        BRUCE, SUZANNE                        BRUCE-EDDINGS, CARLA
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BRUCH, ROSEMARY                      BRUCH, RUSSELL                        BRUCHER, KATHLEEN
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BRUCHHAUS, KAYLA                     BRUCKMAN, KATE                        BRUCKMAN, KIM
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BRUCKMANN, AYLA                      BRUCKNER, BECKY                       BRUCKNER, JACK
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BRUCKNER, JOSEPH                     BRUDELIE, JULIE                       BRUDER, ASHLEY
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BRUDER, PATRICIA                     BRUDNY, KATIE                         BRUECHER, TAYLOR
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BRUECKNER, KEISHA                    BRUEGGEMANN, MARY                     BRUEGGENJOHANN, TYLER
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BRUEGGER, KATIE        Case 22-11238-LSS
                                     BRUEHL, Doc  2 Filed 11/30/22
                                             MELISSIA                 Page BRUEMMER,
                                                                            608 of 5495
                                                                                     LAURA
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BRUENING, CHRISTINE                  BRUENNER, GEORGETTE                   BRUENS, TERRY JOE AND BRANDI
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BRUETT, HEATHER                      BRUFF, CHRISTOPHER                    BRUFLAT, TAYLOR
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BRUGENHEMKE, APRIL                   BRUGGEMAN, JENNA                      BRUGLER, SARAH
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BRUGLIERA, JULIA                     BRUGMAN, COLLEEN                      BRUGMAN, PATRICIA
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BRUGMAN, SARA                        BRUGNONI, KRISTA                      BRUGNONI, MARTINA
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BRUHN, DICK                          BRUHN, MIMS                           BRUHNKE, MATTHEW
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BRUHNKE, ZACH                        BRUKALO, BREANNA                      BRULAND, KAYLA
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BRULPORT, THOMAS                     BRUMBACK, CHRISTINE                   BRUMBACK, LAUREN
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BRUMBAUGH, JOHN                      BRUMBAUGH, KELLIE                     BRUMBAUGH, MARVIN
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BRUMBERG, MARGARET     Case 22-11238-LSS    Doc
                                     BRUMFIEL, LORI2 Filed 11/30/22   Page BRUMFIELD,
                                                                            609 of 5495
                                                                                      ALLISON
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BRUMFIELD, EMILY                     BRUMFIELD, JORDANA                    BRUMFIELD, MADELYN
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BRUMFIELD, MELISSA                   BRUMFIELD, TERESA                     BRUMFIELF, SAVANNAH
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BRUMLEY, BRYAN                       BRUMLEY, MONICA                       BRUMMELER, JADE
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BRUMMETT, TONI                       BRUMMITT, LAUREN                      BRUMMOND, MADISON
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BRUMWELL, JENN                       BRUNACHE, NATHALIE                    BRUNBECK, HOLLY
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BRUNDAGE, JOY                        BRUNDLE, KEVIN                        BRUNDRETT, AMANDA
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BRUNDRETT, STACEY                    BRUNDRETT, TERESA                     BRUNE, KRISTINE
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BRUNEAU, TERRY                       BRUNELL, DANIEL                       BRUNER, CLIFFORD
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BRUNER, EMILY                        BRUNER, HEATHER                       BRUNER, JANE
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                                     BRUNER,Doc
                                            JOHN2    Filed 11/30/22   Page BRUNER,
                                                                            610 of KAREN
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BRUNER, LAURA                        BRUNER, TASHA                         BRUNER, TINA
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BRUNETTE, CHRISTINA                  BRUNETTE, KATARINA                    BRUNETTE, NICOLE
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BRUNETTI, MARIELLA                   BRUNFELD, DAVID                       BRUNGER, CANDACE
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BRUNGER, KATIE                       BRUNI GLASS PACKAGING, INC.           BRUNI, KELLEY
ADDRESS AVAILABLE UPON REQUEST       2750 MAXWELL WAY                      ADDRESS AVAILABLE UPON REQUEST
                                     FAIRFIELD, CA 94534




BRUNING, KRISTIN                     BRUNING, VIRGIE                       BRUNISH, AMANDA
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BRUNK, HANNAH                        BRUNKEN, JESSICA                      BRUNKEN, JOSHUA
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BRUNKEN, MEGAN                       BRUNKHURST, ROBYN                     BRUNNER, ABIGAIL
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BRUNNER, BARBARA                     BRUNNER, CHERYL                       BRUNNER, ELIZABETH
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BRUNNER, ERIKA                       BRUNNER, GRACE                        BRUNNER, KARA
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BRUNNER, LAURA         Case 22-11238-LSS   Doc
                                     BRUNNER,    2 Filed 11/30/22
                                              MADISON                 Page BRUNNER,
                                                                            611 of 5495
                                                                                    PATRICIA
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BRUNNER, STEPHANIE                   BRUNNHOEFFER, GILBERT                 BRUNO DECARIA
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BRUNO ROCHA                          BRUNO ROSA                            BRUNO STRAPKO
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BRUNO, ALYSIA                        BRUNO, AMY                            BRUNO, ANGELA
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BRUNO, ANTHONY                       BRUNO, BRIAN                          BRUNO, BRITTANY
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BRUNO, CARRIE                        BRUNO, CONNIE                         BRUNO, DANIEL
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BRUNO, FRANCES                       BRUNO, GIANNA                         BRUNO, HANNAH
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BRUNO, IZZY                          BRUNO, JOANNE                         BRUNO, MARISSA
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BRUNO, MICHAEL                       BRUNO, NICOLE                         BRUNO, ROGER
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BRUNO, RYAN                          BRUNO, STACEY                         BRUNO, TINA
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BRUNO, VICTORIA        Case 22-11238-LSS
                                     BRUNOW,Doc
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                                                                            612 ofIV,5495
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BRUNS, ALISA                         BRUNS, CHELCEE                        BRUNS, ERIK
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BRUNS, MEAGAN                        BRUNS, MORGAN                         BRUNS, STEPHANIE
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BRUNSCHWYLER, THOMAS                 BRUNSILIUS, JANET                     BRUNSMAN, MORGAN
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BRUNSON, AMANDA                      BRUNSON, BRITTANY                     BRUNSON, CAMY
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BRUNSON, EMILY                       BRUNSON, JULIE                        BRUNSON, KATE
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BRUNSON, TARA                        BRUNSON, ZAC                          BRUNSTAD, MEREDITH
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BRUNSVOLD, KENNETH                   BRUNSVOLD, SHELBY                     BRUNTRAGER, SARAH
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BRUNY ORTEGA                         BRUS, KATHY                           BRUSCA, GEOFFREY
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BRUSCH, ANIQUE                       BRUSCHETTI, MARTA                     BRUSER, HENRY
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BRUSH, GLIZETH         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRUSH, SAMANTHA                     Page BRUSH,
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                                                                                      5495
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BRUSKE, THOMAS                       BRUSKI, ANDREA                           BRUSKO, ALEXANDRA
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BRUSKO, PATRICE                      BRUSNAHAN, ERIN                          BRUSS, ELIZABETH
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BRUSS, EMMA                          BRUSS, KILEY                             BRUSS, SARAH
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BRUSSELL, KIM                        BRUSSELS AIRLINES                        BRUST, DON
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BRUST, EMILY                         BRUST, JOHN                              BRUST, KIMBERLY
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BRUST, MICHELLE                      BRUSTEIN COTLER, JOLIE                   BRUSVEEN, KIM
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BRUTON, BRISA                        BRUTON, CAROLE                           BRUTON, DEBORAH
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BRUTON, KRISTIN                      BRUTTELL, RACHEL                         BRUURSEMA, JORDAN
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BRUYETTE, KIMBERLY                   BRUYN, JORDAN                            BRUZENAK, SHAWNDAE
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BRY, FLO               Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BRYAN BOTTI                      Page BRYAN
                                                                            614 of 5495
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BRYAN D MILES                        BRYAN DUKE                            BRYAN FILL
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BRYAN HAYES                          BRYAN JOSEPH GRUNSKY                  BRYAN LIBERATOR
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BRYAN LOUGHNEY                       BRYAN MARSH                           BRYAN MICHAEL FERRIS
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BRYAN TOPSCHER                       BRYAN TROST                           BRYAN WALTER NELSON
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BRYAN WILLIAMSON                     BRYAN, AARON                          BRYAN, ANNE
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BRYAN, ANTHONY                       BRYAN, ASHLEY                         BRYAN, CORALEE
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BRYAN, CRAIG                         BRYAN, DANI                           BRYAN, DONNA
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BRYAN, ED                            BRYAN, GAIL-ANN                       BRYAN, HARVEY
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BRYAN, II, ARTHUR                    BRYAN, JAY AND JO                     BRYAN, JO
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BRYAN, JOHN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BRYAN, KAREN                     Page BRYAN,
                                                                            615 ofKATRINA
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BRYAN, KAYLEE                        BRYAN, KEVIN                          BRYAN, LEIGH
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BRYAN, LINDA                         BRYAN, ROSALINDA                      BRYAN, STEPHANIE
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BRYAN, TAYLOR                        BRYAN, TAYLOR                         BRYAN, TESSA
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BRYAN, TIM                           BRYANA JOHNSON                        BRYANT WILLIAMS
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BRYANT, ALEXANDER                    BRYANT, AMANDA                        BRYANT, AMANDA
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BRYANT, AMBER                        BRYANT, ANGELINE                      BRYANT, APRIL
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BRYANT, APRIL                        BRYANT, ASHBY                         BRYANT, BARBARA
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BRYANT, BRITTANY                     BRYANT, CALLIE                        BRYANT, CAROL
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BRYANT, CHRIS                        BRYANT, COURTNEY                      BRYANT, COURTNEY
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BRYANT, CYNTHIA        Case 22-11238-LSS
                                     BRYANT, Doc  2 Filed 11/30/22
                                             DANIELLE                 Page BRYANT,
                                                                            616 of DANIELLE
                                                                                   5495
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BRYANT, GEMI                         BRYANT, GRACE                         BRYANT, HEATHER
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BRYANT, ISABEL                       BRYANT, JACQUELINE                    BRYANT, JAMES
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BRYANT, JANE                         BRYANT, JENA                          BRYANT, JENNIFER
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BRYANT, JENNIFER                     BRYANT, JENNIFER                      BRYANT, JESSICA
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BRYANT, JILLIAN                      BRYANT, JOCELYNN                      BRYANT, JOLENTA
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BRYANT, JOSH                         BRYANT, JOSHUA                        BRYANT, JULIE
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BRYANT, JULIE                        BRYANT, KAREN                         BRYANT, KAREN
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BRYANT, KATHLEEN                     BRYANT, KAYLA                         BRYANT, KELLY
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BRYANT, KENYA          Case 22-11238-LSS
                                     BRYANT, Doc
                                             KEVIN2  Filed 11/30/22   Page BRYANT,
                                                                            617 of KRISTINA
                                                                                   5495
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BRYANT, LAKISHA                      BRYANT, LARRY                         BRYANT, LATOYIA
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BRYANT, LAUREN                       BRYANT, LINDSAY                       BRYANT, LINDY
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BRYANT, LISA                         BRYANT, MAEION                        BRYANT, MARCUS
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BRYANT, MELANIE                      BRYANT, MINDY                         BRYANT, MOLLY
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BRYANT, MOLLY                        BRYANT, MORGAN                        BRYANT, NICHOLE
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BRYANT, NIKI                         BRYANT, PRISCILLA                     BRYANT, ROBIN
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BRYANT, RONALD                       BRYANT, SARAH                         BRYANT, SARAH
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BRYANT, SARAH                        BRYANT, SEAN                          BRYANT, SHELLIE
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BRYANT, SUSAN                        BRYANT, TERYN                         BRYANT, TIA
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                                                                            618 of VENESCHIA
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BRYANT, YVONNE                       BRYBAG, JUSTINE                       BRYCE, ANGELA
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BRYCE, GRAYSON                       BRYCE, NATALIE                        BRYCE, PAUL
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BRYDE, KARLEE                        BRYDEBELL, NOEL                       BRYDON, ALLISON
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BRYDON, ANDREW                       BRYDON, BRENT                         BRYDON, MARRIA
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BRYDON, MICHAEL                      BRYER, NANCY                          BRYL, EMILY
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BRYNICZKA, CAROL                     BRYON WADE BROCKEL                    BRYSON DEMETRO, PAMELA
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BRYSON, ALLISON                      BRYSON, AMANDA                        BRYSON, BRIDY
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                                     BRYSON,Doc  2 Filed 11/30/22
                                            CHRISTY                      Page BRYSON,
                                                                               619 of EMILY
                                                                                      5495
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BRYSON, JACLYN                       BRYSON, KAITLYN                          BRYSON, KYLE
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BRYSON, LEAH                         BRYSON, MICHAEL                          BRYSON, ROBERTA
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BRYSON, STEVEN                       BRYZEK, KATE                             BRZINSKI, TED
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BRZOSTOWSKA, MAGDALENA               BRZOZOWSKI, EMILY                        BRZYGOT, MEGANNE
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BUASOD, KAYLA                        BUBB, KALLAN                             BUBB, TERRY
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BUBECK, KELLY                        BUBELIS, DANIELLE                        BUBLOSKI, ROSE
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                                                                            620 of 5495
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BUCELLO, ANTHONY                     BUCHACA, DANA                         BUCHALTER
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                                                                           1000 WILSHIRE BOULEVARD SUITE 1500
                                                                           (COUNSEL TO PREPETITION LENDERS)
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BUCHALTER, MARK                      BUCHAN, KELLI                         BUCHANAN DUNN, H
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                                     BUCHANAN,    2 Filed 11/30/22
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BUCHANAN, VIVIAN                     BUCHANAN, WILLIAM                     BUCHANAN-CRAIG, KAYLA
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BUCHNER, CORY                        BUCHWALD, ASHLEY                      BUCHWALD, ED
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                                                                                of 5495
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BUCK, ALEX                           BUCK, ALEX                            BUCK, ALEXANDRA
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BUCK, ASHLY                          BUCK, BRIANA                          BUCK, CAITLIN
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BUCK, COLLEEN                        BUCK, DEBBIE                          BUCK, GRACE
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BUCK, JAYNE                          BUCK, JENNIFER                        BUCK, JORDAN
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BUCK, KATHLEEN                       BUCK, KELLY                           BUCK, MEGAN
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BUCK, MICHAEL                        BUCK, NICHOLAS                        BUCK, SALLY
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BUCK, SALLY                          BUCK, TAMARA                          BUCK, TIFFANY
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BUCK, TRACY                          BUCK, TRISH                           BUCKALEW, THERESA
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BUCKINGHAM, HEATHER                  BUCKINGHAM, JULIE                     BUCKINGHAM, LEANNA
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BUCKINGHAM, MARGUERITE               BUCKINGHAM, MICHELLE                  BUCKLAND, JORDAN
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BUCKLAND, NICHOLAS                   BUCKLE, SARAH                         BUCKLER, AUBREY
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BUCKLER, JOSH                        BUCKLER, SARA                         BUCKLES, COLETTE
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BUCKLEY BIGGS, DAVID                 BUCKLEY, ALVIN                        BUCKLEY, BRENDA
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BUCKLEY, BROOKE                      BUCKLEY, CONSTANCE                    BUCKLEY, ELIZABETH
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BUCKLEY, GAIL                        BUCKLEY, HANNAH                       BUCKLEY, HEATHER
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BUCKLEY, J SCOTT                     BUCKLEY, JAMES                        BUCKLEY, JAMIE
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BUCKLEY, JEANNE                      BUCKLEY, KARI                         BUCKLEY, KATHARINE
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BUCKLEY, KATHLEEN      Case 22-11238-LSS
                                     BUCKLEY,Doc  2 Filed 11/30/22
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                                                                            625 of 5495
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BUCKLEY, KELVIE                      BUCKLEY, KYLEIGH                      BUCKLEY, LAUREN
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BUCKLEY, LINDA                       BUCKLEY, LYNNE                        BUCKLEY, MELISSA
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BUCKLEY, RACHEL                      BUCKLEY, RENEE                        BUCKLEY, ROWAN
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BUCKLEY, RYAN                        BUCKLEY, SAMANTHA                     BUCKLEY, SARAH
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BUCKLEY, SHARON                      BUCKLEY, TERESA                       BUCKLEY, VALERIE
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BUCKLEY, WHITNI                      BUCKLIN, EMILY                        BUCKMAN, JANICE
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BUCKNER, JEFFREY       Case 22-11238-LSS   Doc
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BUCKOVICH, MORGAN                    BUCKRIDGE, JENA                       BUCKSHAW, ELIZABETH
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BUCKSTEIN, KAYLA                     BUCKTOOTH, NIKKI                      BUCKWALTER, JOHN
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BUCKWARD, ELISE                      BUCSHON, CALEB                        BUCUR, DANIELLE
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BUCUR, LACRAMIOARA                   BUCUR, PHILIP                         BUCY, ANNE
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BUDD, AARON                          BUDD, CLARISSA                        BUDD, JONATHAN
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BUDD, SAMANTHA                       BUDD, TIARA                           BUDDEMEIER, DONNA
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BUDDEN, MEGAN                        BUDER, DESIRE                         BUDGE, KATELYNN
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BUDGETT, ALEX                        BUDHIJANTO, THOMAS                    BUDHIRAJA, AASHLI
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BUDLONG, RACHEL                      BUDNICK, DARA                         BUDNICK, KELSEY
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BUDNIK, ARIEL                        BUDOFF, DONNNA                        BUDREAU, JODY
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BUDRICK, ANTHONY                     BUDRYK, BRE                           BUDTKE, ASHLEY
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BUDUMA, VENKATESHWAR                 BUDZ, CHRISTOPHER                     BUDZINSKI, AMANDA
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BUECKLERS, BIANCA                    BUEHLER, LINDSEY                      BUEHLER, RACHEL
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BUEHLER, SAMANTHA                    BUEHNER, MARTHA                       BUEK, MAX
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BUEKER, HEATHER                      BUELL, HEATHER                        BUELL, KELLEY
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                                     BUELL, SAMANTHA                     Page BUELNA,
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BUELOW, JESSICA                         BUELTEL, ELENA                        BUENA SONOMA
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BUENDICHO, JASMINE                      BUENNING, ANTHONY                     BUENNING, JESSICA
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BUENO, AIDEE                            BUENO, ANALIA                         BUENO, BRIN
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BUENO, DAWN                             BUENO, KATIE                          BUENO, MARIA
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BUENO, RAINA                            BUENO, ROBERTO                        BUENROSTRO, KIM
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BUERCK, CHRIS                           BUERGENTHAL, RANDI                    BUERGER, DANIELLE
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BUERMEYER, ALISON                       BUESCHER, MICHAEL                     BUESE, ALEXIS MILLER
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BUESE, MATT            Case 22-11238-LSS
                                     BUESING,Doc  2 Filed 11/30/22
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BUETTNER, ANN                        BUETTNER, LINDSAY                     BUETTNER, PETE
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BUFANO, JILL                         BUFF, ALICIA                          BUFFARDI, NICOLA
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BUFFINGTON, ASHLEY                   BUFFINGTON, CHARLES                   BUFFINTON, AMANDA
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BUFKIN, KARLI                        BUFORD, HERBERT                       BUFORD, KYAH
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BUFTON, BRETT                        BUFTON, RYAN                          BUGAEV, MICHAEL
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BUGAJ, HOLLY                         BUGAOAN, KRISTIAN                     BUGARIN, AMANDA
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BUGAS, LISA                          BUGBY, KATE                           BUGEL, TINA
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BUGG, ANGIE                          BUGG, FREDERICK                       BUGGE, KATHY
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BUHLER, COURTNEY                     BUHMAN, JENNA                         BUHN, ELIZABETH
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BUHR, AMANDA                         BUHR, MARY                            BUHRMAN, PATRICIA
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BUHRMANN, JILL                       BUHRO, JESSICA                        BUHROW, SONYA
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BUHTANIC, CLAIRE                     BUI, ELIZABETH                        BUI, HOA
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BUI, KHOA                            BUI, LIEN                             BUI, PETER
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BUI, RYAN                            BUI, TIFFANY                          BUI, VIVIAN
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BUICE, GLORIA                        BUIE, ALANA                           BUIE, JONATHAN
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                                     BUIE, NATHANIEL                     Page BUIGUES,
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BUIS, JULIA                          BUISKER, DARBY                           BUIST, EILEEN
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BUITER, GINGER                       BUJ, LINDA                               BUJALSKI, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BUJAN, DANIEL                        BUJNOCH, KATARINA                        BUJNOSKI, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BUJOSA, DEBBIE                       BUJOSA, ROBERT                           BUKENYA, JUDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BUKER, STEPHEN                       BUKOLT, SAMANTHA                         BUKOSKI, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BUKOVCIK, ELIZABETH                  BUKOVSKY, MILENICE                       BUKOWSKI, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BULBULIAN, NAZARETH                  BULETZA, ANNA                            BULFAMANTE, SONIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BULGER, DEVIN                        BULGER, KELSEY                           BULGER, TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BULGER, VIRGINIA       Case 22-11238-LSS
                                     BULGRIN,Doc  2 Filed 11/30/22
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                                                                            632 of NANCY
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULI, JULIA                          BULINSKI, ROXANNE                     BULKLEY, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULL, ALAINA                         BULL, BECCA                           BULL, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULL, GEORGE                         BULL, JORDAN                          BULL, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULL, KATIE AND JULIAN               BULL, NICOLE                          BULLA, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLA, VERA                          BULLARD, BRIAN                        BULLARD, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLARD, BRYCE                       BULLARD, CAROLINE                     BULLARD, CATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLARD, COLONEL NANCY               BULLARD, COURTNEY                     BULLARD, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLARD, GINA                        BULLARD, JACQUELINE                   BULLARD, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLARD, LAURA                       BULLARD, LIZ                          BULLARD, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BULLEN, KATHERINE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BULLEN, RACHEL                   Page BULLER,
                                                                            633 ofALLI
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLER, BROOKE                       BULLER, CLARA                         BULLICK, AMELIA
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BULLINGER, LAUREN                    BULLINGHAM, BREE                      BULLINGTON, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLINGTON, JAYNE                    BULLINGTON, KATIE                     BULLINGTON, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLINS, CAMEREN                     BULLION, AMANDA                       BULLIS, JENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLIS, JILLIAN                      BULLIS, JOHN                          BULLISTER, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLOCK, ALLIE                       BULLOCK, ANNA BLAIR                   BULLOCK, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLOCK, ASHLEY                      BULLOCK, BRANDIE                      BULLOCK, BRIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLOCK, ERIN MARIE                  BULLOCK, JACEY                        BULLOCK, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLOCK, JAMES                       BULLOCK, JENNIFER                     BULLOCK, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BULLOCK, JESSIE        Case 22-11238-LSS
                                     BULLOCK,Doc
                                              KERI2  Filed 11/30/22   Page BULLOCK,
                                                                            634 of 5495
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BULLOCK, LOLA                        BULLOCK, MARGARET                     BULLOCK, MASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLOCK, MELANIE                     BULLOCK, MELISSA                      BULLOCK, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLOCK, NICOLE RENE                 BULLOCK, SALLIE                       BULLOCK, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLOCK, SHELLEY                     BULLOCK, THOMAS                       BULLOCK, TOM & SUZANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULLOS, JUAN                         BULLUCK, DONA                         BULL-WINDHAM, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULMAN, KASEY                        BULMAN, KIMBERLY                      BULMAN, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULOTTI, JULIA                       BULS, KAREN                           BULSTERBAUM, KRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULSTERBAUM, MICHELLE                BULTHUIS, KYLE                        BULTMAN, JEANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BULTMAN, MATTHEW                     BUMA, KERIN                           BUMBALO, SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BUMGARDNER, ALLIE      Case 22-11238-LSS   Doc 2KIM Filed 11/30/22
                                     BUMGARDNER,                      Page BUMGARDNER,
                                                                            635 of 5495NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUMGARNER, TRACY                     BUMP, BRANDY                          BUMP, STERLING
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BUMP, TAYLOR                         BUMPASS, MIKE AND ROSEANNE            BUMPUS, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUMPUS, SHANNON                      BUNAL, BRIANNA                        BUNCE, TODD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNCH, BECKY                         BUNCH, BEVERLY                        BUNCH, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNCH, JODIE                         BUNCH, JULES                          BUNCH, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNCH, LISA                          BUNCH, MEREDITH                       BUNDA, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNDA, LAURA                         BUNDA, STEPHANIE                      BUNDAY, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNDER, CHRISTOPHER                  BUNDICK, HALIE                        BUNDRA, CARYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNDY, ALYSSA                        BUNDY, BRADLEY                        BUNDY, CHERIE
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BUNDY, COLLIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BUNDY, DONYA                     Page BUNDY,
                                                                            636 ofKATELYN
                                                                                   5495
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BUNDY, KATHLEEN                      BUNDY, MEGAN                          BUNDY, SUNNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNDY, TYREE                         BUNGAY, SOPHIA                        BUNGE, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNGE, CAROLINA                      BUNGE, JASON                          BUNGE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNGENSTOCK, DEVON                   BUNGER, ALICIA                        BUNGER, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNIGER, KYLE                        BUNIGER, TAMARA                       BUNIN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNIVA, BARBARA                      BUNK, SUSAN                           BUNKER HILL RESTAURANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




BUNKER, BEN                          BUNKER, CATHERINE                     BUNKER, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNKER, STEPHANIE                    BUNKERS, WANDA                        BUNKIE INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNN, ALYSSA                         BUNN, JENNY                           BUNN, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BUNN, PHILIP           Case 22-11238-LSS
                                     BUNNELL,Doc  2 Filed 11/30/22
                                              AVIANNE                 Page BUNNELL,
                                                                            637 of 5495
                                                                                    ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNNER, ALICIA                       BUNNIN, LORI                          BUNSEN, SUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNSICK, MARA                        BUNTEN, NATASHA                       BUNTING, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNTING, CARMEN                      BUNTING, DANIEL                       BUNTING, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNTING, RICHARD                     BUNTING, ROBERT                       BUNTING, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNTMANN, KELLY                      BUNTON, ANNA                          BUNTON, BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNTON, CRYSTAL                      BUNTON, GRACE                         BUNTON, LEENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNTROCK, CAT                        BUNUCCI, ALEXA                        BUNZEL, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUNZEL, RICK                         BUONAMICI, AMANDA                     BUONICONTI, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUONO, ALMA                          BUONO, KARA                           BUONVIRI, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BUOYE, KELLIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BUPP, JORDAN                     Page BUQUICCHIO,
                                                                            638 of 5495GERARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURAC, PEEBEE                        BURACK, DIANE                         BURACK, NELSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURAK KEBAPCI                        BURAN, BAILEY                         BURANDT, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURBA, PAULA                         BURBACH, TERESA                       BURBECK, HARRIET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURBICK, WENDY                       BURBIDGE, SARAH                       BURBRINK, YOLONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURBURAN, VINCENT                    BURBY, KATHLEEN                       BURCH, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCH, AMANDA                        BURCH, ASHLEY                         BURCH, ASHLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCH, CARRIE                        BURCH, CHRISTINE                      BURCH, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCH, JESSICA                       BURCH, KATHRYN                        BURCH, KERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCH, KORTNEY                       BURCH, KRISTEN                        BURCH, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURCH, MARY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BURCH, SUZAN                     Page BURCH,
                                                                            639 ofTOM
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCH, VICTORIA                      BURCHAT, NATALIE                      BURCHELL, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCHELL, XANDER                     BURCHETT, CLAY                        BURCHETT, JOEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCHETT, KATIE                      BURCHFIELD, AMY                       BURCHFIELD, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCHFIELD, ELIZABETH                BURCHFIELD, ELIZABETH                 BURCHFIELD, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCHFIELD, SHAWN                    BURCHFIELD, THOMAS                    BURCHFIELD, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCHFIELD, ZOE                      BURCHILL, ANNIE                       BURCIAGA, BRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCKHARDT, KRISTA                   BURCKLEY, ROBIN                       BURCZYK, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURCZYK, NICOLE                      BURD, JORDYN                          BURD, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURD, LAURA                          BURD, NIKKI                           BURD, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURDA, ALI             Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURDEN, MAHOGANY                     BURDETT, CULLIN                          BURDETT, JAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURDETT, KIM                         BURDETTE, CATHERINE                      BURDETTE, KENNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURDICK, ALESTRA                     BURDICK, GINNY                           BURDICK, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURDICK, JONATHAN                    BURDICK, LAUREN                          BURDICK, MANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURDICK, MELANIE                     BURDICK, SHELBY                          BURDITT, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURDOCK, CAITLYN                     BURDOCK, KALEIGH                         BURDWOOD, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BUREAU M, LLC                        BUREAU OF ALCOHOLIC BEVERAGES AND        BUREK, LYNDA
KIMBERLY MARIN PRESKE                LOTTERY OPERATIONS                       ADDRESS AVAILABLE UPON REQUEST
219 S. BARRINGTON AVENUE APT 203     BUREAU OF ALCOHOLIC BEVERAGES &
LOS ANGELES, CA 90049                LOTTERY OPERATIONS
                                     8 STATE HOUSE STATION
                                     AUGUSTA, ME 04333-0008

BURELL, TRISTIN                      BURENIN, TATIANA                         BURESH, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURFORD, BRITTNEY                    BURFORD, KATIE                           BURFORD, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BURFORD, MCKENNA       Case 22-11238-LSS   Doc
                                     BURFORD,    2 Filed 11/30/22
                                              MOLLY                   Page BURG,
                                                                            641 of 5495
                                                                                 ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURG, AMY                            BURG, BRANDI                          BURG, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGAN, LINDSEY                      BURGAN, NEELEMA                       BURGBACHER, JESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGDORF, JENNA                      BURGDORF, NICHOLE                     BURGE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGE, LAURA                         BURGEI, SUZANNE                       BURGENER, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGENER, SARAH                      BURGENER, SHELLY                      BURGER, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGER, ALLYSON                      BURGER, ANITA                         BURGER, ANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGER, ANTONIE                      BURGER, ERICA                         BURGER, GENESE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGER, JENNIFER                     BURGER, KAITIE                        BURGER, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGER, LES                          BURGER, LIZ                           BURGER, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURGER, LORI           Case 22-11238-LSS
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                                            MICHAEL                   Page BURGER,
                                                                            642 of MOLLY
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGER, NATHANIEL                    BURGER, SARAH                         BURGES, AFROZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, AMITHY                      BURGESS, AMY                          BURGESS, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, ANDREW                      BURGESS, ANGIE                        BURGESS, BANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, BARBARA                     BURGESS, BRANDON                      BURGESS, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, BRIAN                       BURGESS, CATHY                        BURGESS, CATRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, CLINT                       BURGESS, CONNOR                       BURGESS, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, FAITH                       BURGESS, GLORIA                       BURGESS, HAYLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, JANICE F                    BURGESS, JENNIFER                     BURGESS, JODI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, JOELLE                      BURGESS, JOHANNA                      BURGESS, JOHNATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURGESS, JOHNATHAN     Case 22-11238-LSS   Doc
                                     BURGESS,    2 Filed 11/30/22
                                              KARYN                   Page BURGESS,
                                                                            643 of 5495
                                                                                    KATHARINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, KATRINA                     BURGESS, KRISTEN                      BURGESS, LATICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, LAURA                       BURGESS, MARILYN                      BURGESS, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, MEGHAN                      BURGESS, MICHAEL                      BURGESS, MIRANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, MOLLY                       BURGESS, PATRICIA                     BURGESS, RACHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, ROBERT                      BURGESS, ROBIN                        BURGESS, RON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, SAWYER                      BURGESS, SHATERIA                     BURGESS, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, SUZANNE                     BURGESS, THOMAS                       BURGESS, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGESS, TRACY                       BURGESS, WENDY                        BURGETT, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGETT, KELLY                       BURGETT, KIM                          BURGETT, RON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURGH, DEBRA           Case 22-11238-LSS   DocCLYDE
                                     BURGHARDT,  2 Filed 11/30/22     Page BURGHARDT,
                                                                            644 of 5495
                                                                                      MEGGEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGIN, KEELE                        BURGIN, MEGHAN                        BURGIN, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGIN, ZENAS                        BURGINS, KETHRY                       BURGMEIER, LUCAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGO, ROSE                          BURGO, SHANE                          BURGOON, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGOON, JESSICA                     BURGOS, ADRIANNA                      BURGOS, DEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGOS, FEDERICO                     BURGOS, JACQUELINE                    BURGOS, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURGOS, PABLO                        BURGOYNE, KATHERINE                   BURGOYNE, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURHENN, LISA                        BURHOE, AIMEE                         BURI, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURIAN, NATALKA                      BURICH, ANNALIESE                     BURIES-SNOW, KISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURIGO, JANICE                       BURILLO, ALICIA                       BURISE, CHEAKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURISH, CATHI          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BURJU, ROHIT                        Page BURK,
                                                                               645 of 5495
                                                                                    AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURK, BRANDON                        BURK, CAITLIN                            BURK, MARY ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURK, SUMMER                         BURKA, JACKIE                            BURKARDT, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURKART, AMANDA                      BURKAVAGE, BROOK                         BURKAVAGE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURKE - COHN, DARLENE                BURKE WILLIAMS SPA                       BURKE, ALANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




BURKE, ALEXANDRA                     BURKE, ALLISON                           BURKE, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURKE, ANDREA                        BURKE, ANN                               BURKE, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURKE, ASHLEY                        BURKE, BERNADETTE                        BURKE, BLAIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURKE, BRIAN                         BURKE, BRIANNA                           BURKE, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURKE, BRYN                          BURKE, CAMERON                           BURKE, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
BURKE, CATHERINE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BURKE, CATHY                     Page BURKE,
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURKE, CHRISTY                       BURKE, CLARE                          BURKE, CONNOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURKE, COURTNEY                      BURKE, CRYSTAL                        BURKE, DAVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURKE, DAVID                         BURKE, DAVID                          BURKE, DEVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURKE, ELIZABETH                     BURKE, ERICA                          BURKE, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURKE, FELECIA                       BURKE, FRANCIS                        BURKE, GERRY
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BURKE, GREG                          BURKE, GRETCHEN                       BURKE, HALEY
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BURKE, HEATHER                       BURKE, HOPE                           BURKE, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURKE, JACQUIE                       BURKE, JAMES                          BURKE, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURKE, JAMES                         BURKE, JANINE                         BURKE, JANIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURKE, JEN             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BURKE, JENNIFER                  Page BURKE,
                                                                            647 ofJENNIFER
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BURKE, JENNIFER                      BURKE, JENNIFER                       BURKE, JESSICA
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BURKE, JOHN                          BURKE, JOHN                           BURKE, JOHN
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BURKE, JOSLYN                        BURKE, JUDITH                         BURKE, JULIE
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BURKE, JULIE                         BURKE, KAELEIGH                       BURKE, KARIN
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BURKE, KATHY AND JOHN                BURKE, KATHY                          BURKE, KATIE
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BURKE, KELLY                         BURKE, KELSEY                         BURKE, KERRY
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BURKE, KERRY                         BURKE, KEVIN                          BURKE, KIMBERLY
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BURKE, KRISTIN                       BURKE, LAURA                          BURKE, LAUREN
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BURKE, LYNN                          BURKE, MARY                           BURKE, MATTHEW
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BURKE, MEGAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BURKE, MELANIE                   Page BURKE,
                                                                            648 ofMICHAEL
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BURKE, MICHAEL                       BURKE, MONICA                         BURKE, MORGAN
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BURKE, NATALIE                       BURKE, NEAL                           BURKE, NOEL
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BURKE, OLIVIA                        BURKE, OLIVIA                         BURKE, REYNA
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BURKE, SAMANTHA                      BURKE, SANDRA                         BURKE, SARA
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BURKE, SAVANNAH                      BURKE, SIOBHAN                        BURKE, SOFIA
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BURKE, SOREN                         BURKE, STEPHANIE                      BURKE, STEPHEN
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BURKE, STERLING                      BURKE, STEVE                          BURKE, STEVEN
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BURKE, SUZANNE                       BURKE, THERESE                        BURKE, TIFFANY
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BURKE-KELLY, JOAN                    BURKEL, JOHN                          BURKELL, SCOTT
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BURKERT, TYLER         Case 22-11238-LSS
                                     BURKETT,Doc  2 Filed 11/30/22
                                              CAITLYN                 Page BURKETT,
                                                                            649 of 5495
                                                                                    DONNY
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BURKETT, KATHY                       BURKETT, LACEY                        BURKETT, LAURA
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BURKETT, RALPH                       BURKEY, ALLISON                       BURKEY, ROBERTA
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BURKHALTER, SHANNON                  BURKHARD, DON                         BURKHARDT, BRITTANY
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BURKHARDT, HALEY                     BURKHARDT, KIMBERLY                   BURKHARDT, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURKHARDT, RYAN                      BURKHARDT, THOMAS                     BURKHART, ANASTASIA
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BURKHART, ASHLEY                     BURKHART, BENJAMIN                    BURKHART, BILL
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BURKHART, BLAKE                      BURKHART, DANIEL                      BURKHART, GLORIA
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BURKHART, HOLLY                      BURKHART, KATHI                       BURKHART, MICHAEL
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BURKHART, SUZANNE                    BURKHART, TARAH                       BURKHOLDER, JAMES
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BURKHOLDER, REBECCA    Case 22-11238-LSS    Doc
                                     BURKLAND,   2 Filed 11/30/22
                                               THOMAS                 Page BURKLE,
                                                                            650 of ANGIE
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BURKLE, EMILY                        BURKLOW, EMILY                        BURKLUND, JAMIE
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BURKLY, EILEEN                       BURKS, ADRIENE                        BURKS, BRIGITTA
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BURKS, DAN                           BURKS, ERIN                           BURKS, JENNIFER
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BURKS, LORA                          BURKS, MELANIE                        BURKS, MIKE
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BURKS, MILTON                        BURKS, RICHARD                        BURKS, SOPHIA
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BURKWALD, ANGELA                     BURKY, KATHERINE                      BURL, THERESA
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BURLAGE, DAVE                        BURLAND, PATRICK                      BURLEIGH, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURLEIGH, JULIE                      BURLESON, ALYSSA                      BURLESON, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURLESON, KENT                       BURLESON, LANDIS                      BURLESON, RACHAEL
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                                     BURLEY, Doc
                                             DIANE2  Filed 11/30/22   Page BURLEY,
                                                                            651 of JACOB
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BURLEY, JESSICA                      BURLEY, KEISHA                        BURLEY, KRISTEN
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BURLEY, SARAH                        BURLHOLDER, VICTORIA                  BURLING, ERIC
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BURLINGAME, JASON                    BURLINGAME, LISA                      BURLINGAME, MARLYSE
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BURLISON, DANI                       BURLISON, RACHEL                      BURMAN, JAMIE
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BURMEISTER, AUSTIN                   BURMEISTER, HANNA                     BURMEISTER, HANNAH
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BURMEISTER, JOHANNA                  BURMEISTER, LEE                       BURMEISTER, SHANNON
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BURMEISTER, VICTORIA                 BURMESTER, MANDY                      BURN, IAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNE, KATHRINE                      BURNELL, ALLISON                      BURNELL, BREANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNELL, MATTHEW                     BURNETT, ALISON                       BURNETT, ANNA
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                       Case 22-11238-LSS
BURNETT, CHARLOTTE ALICE                    Doc
                                     BURNETT,    2 Filed 11/30/22
                                              CHELSI                  Page BURNETT,
                                                                            652 of 5495
                                                                                    CHEVY
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BURNETT, CHRISTIE                    BURNETT, DANIELLE                     BURNETT, ERIC
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BURNETT, GAYLE                       BURNETT, HEATHER                      BURNETT, JANELLE
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BURNETT, JENNIFER                    BURNETT, JOHNNY                       BURNETT, KRISTEN
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BURNETT, LENA                        BURNETT, MONIQUE                      BURNETT, RACHEAL
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BURNETT, REBECCA                     BURNETT, TIFFANY                      BURNETT, TRACY
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BURNETTE, CHELSEA                    BURNETTE, COLETTE                     BURNETTE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNETTE, JULIET                     BURNETTE, KELLY                       BURNETTE, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNETTE, RACHEL                     BURNETTE, ZACHARY                     BURNEY, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNEY, EMEKA                        BURNHAM LAMBORN, EMILY                BURNHAM, JAMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURNHAM, JANE ELLEN    Case 22-11238-LSS   Doc
                                     BURNHAM,    2 Filed 11/30/22
                                              KARISSA                 Page BURNHAM,
                                                                            653 of 5495
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BURNHAM, RACHEL                      BURNHAM, TIFFANY                      BURNICH, CONNOR
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BURNIE, KATIE                        BURNITT-ERP, JOSEPH                   BURNLEY, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNLEY, JANET                       BURNS, ABBY                           BURNS, ADRIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, ALESSANDRO                    BURNS, ALEXANDRA                      BURNS, ALVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, ANNIE                         BURNS, BJ                             BURNS, BRANDON
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BURNS, BRENDON                       BURNS, BRIA N                         BURNS, BRITTANY
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BURNS, BRITTANY                      BURNS, BRYAN                          BURNS, CARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, CHARLIE                       BURNS, CHRIS                          BURNS, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, CLAIRE                        BURNS, COURTNEY                       BURNS, DACIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURNS, DANA            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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BURNS, DENISE                        BURNS, DEVIN                          BURNS, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, ELAINE                        BURNS, ELISE                          BURNS, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, ELIZABETH                     BURNS, EMILY                          BURNS, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, GRAYSON                       BURNS, HAILEY                         BURNS, HALLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, HEATHER                       BURNS, HEATHER                        BURNS, JALYSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, JEANETTE                      BURNS, JEFFREY                        BURNS, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, JENNIFER                      BURNS, JENNIFER                       BURNS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, JENNY                         BURNS, JILL                           BURNS, JOANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, JOHN W                        BURNS, JOHN                           BURNS, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURNS, JOSHUA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BURNS, JOSHUA                    Page BURNS,
                                                                            655 ofJULIE
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, KALYNN                        BURNS, KARA                           BURNS, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, KELLY                         BURNS, KELSEY                         BURNS, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, KEVIN                         BURNS, KRISTIN                        BURNS, KRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, LAURA                         BURNS, LAURA                          BURNS, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, LINDA                         BURNS, LIS                            BURNS, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, LISA                          BURNS, LYNNE                          BURNS, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, MAIRI                         BURNS, MANDY                          BURNS, MARCI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, MARILYN                       BURNS, MARY                           BURNS, MARYKATE
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BURNS, MARYLEE                       BURNS, MAURITA                        BURNS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURNS, MEGAN           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BURNS, MEGHAN                    Page BURNS,
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, MICHAEL                       BURNS, MICHELLE                       BURNS, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, MORGAN                        BURNS, NINA                           BURNS, NORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, RYAN                          BURNS, SABRINA                        BURNS, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, SHANNON                       BURNS, SUE                            BURNS, SUZANNE
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BURNS, TARA                          BURNS, TAYLOR                         BURNS, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNS, VANESSA                       BURNS, WENDY                          BURNS, ZENA
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BURNSED, TREVOR                      BURNSIDE, AMY                         BURNSIDE, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNSIDE, EMILY                      BURNSIDE, JACQUELYN                   BURNSIDE, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNSIDE, MADELINE                   BURNSIDE, MADELYN                     BURNSIDE, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURNSON, ELLEN         Case 22-11238-LSS    Doc
                                     BURNSTEIN,   2 Filed 11/30/22
                                                SAM                   Page BURNUM,
                                                                            657 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURNWORTH, JEAN                      BURNWORTH2, STEVEN                    BURPO, BRENTON
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BURPOE, AMANDA                       BURR, AMANDA                          BURR, DEREK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURR, ELIZABETH                      BURR, HARRY                           BURR, SHELLY
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BURRAGE, LUCY                        BURRAGE, RACHEL                       BURRAS, FRAN
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BURRE, DANA                          BURRELL, CHERYL                       BURRELL, CHRISTINE
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BURRELL, JONAH                       BURRELL, LAURA                        BURRELL, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURRELL, MICHELLE                    BURRELL, SARA                         BURRELL, WADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURRESS, MACI                        BURRESS, REAGAN                       BURRIDGE, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURRIER, MEGAN                       BURRIS, AMANDA                        BURRIS, BRANDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURRIS, CAMDEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BURRIS, GERALD                      Page BURRIS,
                                                                               658 ofJENN
                                                                                      5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




BURRIS, KATHRYN                         BURRIS, KELLY                         BURRIS, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURRIS, MATTHEW                         BURRIS, REBECCA                       BURRIS, SANDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURRIS, SUMMER                          BURRISS, REBECCA                      BURRITT, CHRYSTAL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURRO GOODS                             BURROLA, BREANNA                      BURROLA, MANUEL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURROUGH, LEE ANNE                      BURROUGHS, AMBER                      BURROUGHS, ARIANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURROUGHS, JENNIFER                     BURROUGHS, LOGAN                      BURROUGHS, SANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURROW, ELSA                            BURROW, GARY                          BURROW, HUGH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURROW-BELL, SOPHIE                     BURROWES, RANDI                       BURROWES, TAYLOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURROWES, YANA                          BURROWS, JEN                          BURROWS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURROWS, LISA          Case 22-11238-LSS   Doc
                                     BURROWS,    2 Filed 11/30/22
                                              LYNNE                   Page BURROWS,
                                                                            659 of 5495
                                                                                    MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURROWS, PAIGE                       BURROWS, SUSAN                        BURROWS, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURRUD, KATHRYN                      BURRUS, ALEXANNDRA                    BURRUS, ISABELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURRUS, MAIGREADE                    BURSAC, JOVANA                        BURSACK, JULIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURSCH, CAYLIN                       BURSE, ERIC                           BURSH, DARYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURSON, GLORIA                       BURSON, NINA                          BURSON-THOMAS, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BURSTEIN, GUY                        BURSTEIN, SUZANNE                     BURSZTYNSKY, AMANDA
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BURT, ANDREW                         BURT, CHARITY                         BURT, COURTNEY
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BURT, LAURIE                         BURT, LINDA                           BURT, LOANN
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BURT, MACKENZIE                      BURT, SKY                             BURT, TAYLOR
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                                     BURTIS, NEVILLE                  Page BURTON
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BURTON WEISSMAN                      BURTON, AMANDA                        BURTON, ANTONIO
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BURTON, ARLINE                       BURTON, BRIAN                         BURTON, CAITLIN
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BURTON, CARLIE                       BURTON, CARRIE                        BURTON, CASSIDI
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BURTON, CELESTE                      BURTON, DEANA                         BURTON, DEREK
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BURTON, EMILIE                       BURTON, ERIN                          BURTON, FAITH
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BURTON, FLAVIA                       BURTON, GRACE                         BURTON, HUNTER
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BURTON, ISANELA                      BURTON, JENNA                         BURTON, JENNA
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BURTON, JESSICA                      BURTON, JORDAN                        BURTON, KARA
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BURTON, KATERINA                     BURTON, KIM                           BURTON, KIMANI
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BURTON, MARK                         BURTON, MARY                          BURTON, MICHAEL
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BURTON, MICHAELLA                    BURTON, PATRICIA                      BURTON, REBECCA
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BURTON, RICK                         BURTON, RIKKI                         BURTON, ROSS
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BURTON, SAMANTHA                     BURTON, SARA                          BURTON, SARAH
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BURTON, SEAN                         BURTON, STEPHANIE                     BURTON, SYDNEY
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BURTON, TONI                         BURTON, WILLIAM                       BURTONFORBES, MARY
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BURTON-WOOD, EMILY                   BURTRAND, OLIVIA                      BURTS, VALARI
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BURTT, CARLEY                        BURT-WADE, CHERYL                     BURTZLAFF, SHANE
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BURUD, JAMIE                         BURWELL BELL                          BURWELL, BRITTANY
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                                              STEPHEN                 Page BURWELL,
                                                                            662 of 5495
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BURY, ELLEN                          BURY, MERRITT                         BURZIMATI, MARINNA
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BURZIMATI, NICOLE                    BUSACCA, JEREMY                       BUSALACCHI, KRISTEN
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BUSBEE, ALLIE                        BUSBEE, JO                            BUSBY, ANGIE
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BUSBY, CAMILLA                       BUSBY, COLEEN                         BUSBY, COURTNEY
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BUSBY, DANIEL                        BUSBY, IMANI                          BUSBY, JOSHUA
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BUSBY, JUSTIN                        BUSBY, LAVINA                         BUSBY, MICHELLE
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BUSBY, ROBIN                         BUSBY, RONALD                         BUSBY, SHELBY
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BUSBY, ZACH                          BUSCARENO, ANNAMARIE                  BUSCARNERA, VINCENT
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BUSCEMI, MICHELE                     BUSCETTA, DANIELLE                    BUSCH JR, JOHN
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BUSCH, BRITTANY                      BUSCH, ELIZABETH                      BUSCH, JOHN
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BUSCH, KAREN                         BUSCH, KRISTEN                        BUSCH, MELISSA
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BUSCH, MONICA                        BUSCH, PAULA                          BUSCH, SHAFER
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BUSCH, WILLIAM                       BUSCHEK, KRISTINA                     BUSCHER, AMANDA
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BUSCHETTE, BRITTANY                  BUSCHLE, SAMANTHA                     BUSCHOW, JULIA
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BUSDICKER, MICHELLE                  BUSEMAN, ADAM                         BUSENBARK, BRITANY
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BUSENBURG-HILL, LYNN                 BUSER, CLAIRE                         BUSEY, LUKE
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BUSH, AVERY                          BUSH, BRANDON                         BUSH, CARY
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BUSH, CASSANDRA                      BUSH, DANIELLA                        BUSH, DAVID
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BUSH, EMMA             Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BUSH, GREG                       Page BUSH,
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BUSH, JENNIFER                       BUSH, JILL                            BUSH, JOSHUA
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BUSH, KAREN                          BUSH, KELLY                           BUSH, LAUREN
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BUSH, LINDSAY                        BUSH, MALINDA                         BUSH, MARCHELLEA
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BUSH, MARY ELIZABETH                 BUSH, MIRANDA                         BUSH, ROGER
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BUSH, SARAH                          BUSH, SEAN                            BUSH, SUZANNAH
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BUSH, TAMIKA                         BUSHART, BAILEY                       BUSHBY OAKES, LAUREN
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BUSHEE, JILL                         BUSHEE, MARY                          BUSHER, PEGGY
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BUSHEY, NICOLE                       BUSHEY, ZACHARY                       BUSHMA, ALINA
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BUSHMAN, AMBER                       BUSHMAN, CLARE                        BUSHMAN, KARMEN
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                                                                            665 of 5495
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BUSHNELL, JENNIFER                   BUSHNELL, WESLEY                      BUSHONG, BRITT
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BUSHONG, KRISTINE                    BUSHONG, MATTHEW                      BUSHONG, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUSHONG, TROY                        BUSHROD, ANTHONY                      BUSHUR, JEANETTE
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BUSHUYEV, ALEXEY                     BUSHYHEAD, AVIA                       BUSIC, YENI
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BUSILLO, PAT                         BUSKEY, AMANDA                        BUSKEY, RACHEL
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BUSKEY, TIMOTHY                      BUSKIRK, MIRANDA                      BUSKLAND, JOANNE
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BUSMAN, JILL                         BUSS, BRITTA                          BUSS, COLIN
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BUSS, ERIC                           BUSS, GAIL                            BUSS, NOELLE
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BUSSA-CAMMON, JON                    BUSSARD, BARRY                        BUSSE, DEBBIE
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                                                                                   5495
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BUSSEY, AVERY                        BUSSEY, BRIANNA                       BUSSEY, DAVID
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BUSSEY, ILSY                         BUSSEY, JACQUI                        BUSSEY, NEHAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUSSEY-WILKERSON, SARAH              BUSSIAN, ALEX                         BUSSIAN, ELIZABETH
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BUSSIAN, SASHA                       BUSSICULO, STEVE                      BUSSIS, JIM
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BUSSMAN, DEBBIE                      BUSSMANN, ALEXA                       BUSSO, MARISSA
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BUSSONE, ABI                         BUSTAMANTE, LAURA                     BUSTAMANTE, MARIA
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BUSTAMANTE, MARISELA                 BUSTER, DEBRA                         BUSTILLO, KAREN
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BUSTILLOS SORELLE, DANIELLE          BUSTIN, COLLEEN                       BUSTIN, JACQUELINE
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BUSTOS, ALYSSA                       BUSTOS, DANA                          BUSTOS, JOSH
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                                     BUSTOS, Doc
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BUTALA, EMILY                        BUTALA, NIRALI                        BUTANIS, TORI
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BUTCH, MONICA                        BUTCHER, ANAND                        BUTCHER, JOE
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BUTCHER, KAITLYN                     BUTCHER, MARIANNE                     BUTCHER, MICHAELA
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BUTCHKO, MICHELLE                    BUTEAU, JOSEPH                        BUTELO, CHANILE
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BUTENINA, VERONICA                   BUTERA, ALEXANDRA                     BUTERA, CASSIDY
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BUTERA, JEANNINE                     BUTERA, JENNIFER                      BUTERA, MICHAEL
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BUTERA, ROBERT                       BUTERA, SAMANTHA                      BUTERA, STACEY
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BUTERA, STEPHANIE                    BUTERBAUGH, AMY                       BUTERO, ANTHONY
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BUTHE, ASHLEY                        BUTHUSIEM, RACHEL                     BUTKIEWICZ, TANYA
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BUTKUS, LINDA          Case 22-11238-LSS
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BUTLER, ALEXANDRIA                   BUTLER, ALEXANDRIA                    BUTLER, ALI
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BUTLER, ALLISON                      BUTLER, AMANDA                        BUTLER, ANN
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BUTLER, AWANDA                       BUTLER, BARBARA                       BUTLER, BETH
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BUTLER, BLYTHE                       BUTLER, CAOIMHE                       BUTLER, CHASSIDY
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BUTLER, COREY                        BUTLER, DAKOTA                        BUTLER, DANIELLE
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BUTLER, DAVID                        BUTLER, DEANDRA                       BUTLER, DIANN
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BUTLER, DOUGLAS                      BUTLER, ELIZABETH                     BUTLER, HANNAH
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BUTLER, HARVEY                       BUTLER, HEATHER                       BUTLER, HEATHER
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BUTLER, JAIME                        BUTLER, JANE                          BUTLER, JASMINE
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BUTLER, JASON          Case 22-11238-LSS
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BUTLER, JILL                         BUTLER, JOHN                          BUTLER, JONATHAN
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BUTLER, KASSIDY                      BUTLER, KATHERYN                      BUTLER, KATHRYN
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BUTLER, KATIE                        BUTLER, KELLI                         BUTLER, KELLIE
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BUTLER, KELSEY                       BUTLER, KRISTEN                       BUTLER, KRISTY
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BUTLER, KYLE                         BUTLER, LAURA                         BUTLER, LAUREN
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BUTLER, LEA ANN                      BUTLER, LESLIE                        BUTLER, LINDY
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BUTLER, LISA                         BUTLER, LIZ                           BUTLER, MADELINE
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BUTLER, MADISON                      BUTLER, MARA                          BUTLER, MARISELA
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BUTLER, MARTHA                       BUTLER, MATT                          BUTLER, MAXINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BUTLER, MEGAN          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTLER, MICHELLE                     BUTLER, NACHELLE                      BUTLER, NICHOLAS
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BUTLER, PATRICK                      BUTLER, PHILLIP                       BUTLER, REGINA
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BUTLER, SAMANTHA                     BUTLER, SANDRA                        BUTLER, SARA
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BUTLER, SARA                         BUTLER, SARAH                         BUTLER, SETH
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BUTLER, SHANNON                      BUTLER, SHANNON                       BUTLER, SHEA
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BUTLER, SHELBY                       BUTLER, SHIYALA                       BUTLER, TALLIS
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BUTLER, TOSHIBA                      BUTLER, VANCE                         BUTLER, WES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTLER-STAUB, SUSAN                  BUTNER, KAELEE                        BUTO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTOWSKY, LAUREN                     BUTRUS, CASEY                         BUTSCH, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BUTSCHLE, RYAN         Case 22-11238-LSS
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BUTT, RAJEHA                         BUTTACAVOLI, MARYBETH                 BUTTAFUOCO, RUTH
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BUTTARI, CAITLIN                     BUTTENDORF, KELSEY                    BUTTERFIELD, ALYSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTTERFIELD, BARNABY                 BUTTERFIELD, BRIDGET                  BUTTERFIELD, GREG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTTERFIELD, NICHOLAS                BUTTERFIELD, TAYLOR                   BUTTERLY, WANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTTERS, YVONNE                      BUTTERWORTH, ALEX                     BUTTLEMAN, TERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTTON, ERIC                         BUTTON, INC.                          BUTTON, JEREMY
ADDRESS AVAILABLE UPON REQUEST       220 EAST 23RD ST.                     ADDRESS AVAILABLE UPON REQUEST
                                     PENTHOUSE
                                     NEW YORK, NY 10010




BUTTON, KRISTIN                      BUTTON, LYNNE                         BUTTON, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTTRESS, KAYCI                      BUTTREY, SHERRY                       BUTTRICK, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTTRICK, HILARY                     BUTTRILL, BRITT                       BUTTS, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BUTTS, CATHERINE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BUTTS, CHRIS                     Page BUTTS,
                                                                            672 ofFAITH
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTTS, GEANIE                        BUTTS, KANDI                          BUTTS, KAREN
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BUTTS, KATHRYN                       BUTTS, KENYA                          BUTTS, KIMBERLY
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BUTTS, KWYNN                         BUTTS, RACHEL                         BUTTS, WHITNEY
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BUTURLA, MICHELLE                    BUTUS, CASSANDRA                      BUTWIN, ANGELA
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BUTWIN, SAMANTHA                     BUTYNSKI, JENNIFER                    BUTZ, DEANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUTZIN, KAY                          BUTZLER, BRITTANY                     BUUCK, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUUM, ALYSON                         BUURMA, ANDREA                        BUXBAUM, ALAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUXMAN, JAEDA                        BUXTON, CHELSEY                       BUXTON, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BUYAGAWAN, LIETHIA                   BUYDIG.COM                            BUYER, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       CUSTOMER SERVICE DEPARTMENT           ADDRESS AVAILABLE UPON REQUEST
                                     80 CARTER DRIVE
                                     EDISON, NJ 08817
BUYSE, ERIN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BUYSELLADS.COM                      Page BUYSKE,
                                                                               673 of MARC
                                                                                      5495AND JAN
ADDRESS AVAILABLE UPON REQUEST       PO BOX 50071                             ADDRESS AVAILABLE UPON REQUEST
                                     BOSTON, MA 02205




BUYSSE, ABIGAIL                     BUZARD, AUBREY                            BUZBEE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BUZBY, MARK                         BUZELLI, SOOJIN                           BUZOGANY, NICOLE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BUZONAS, TRACY                      BUZYNSKI, KARA                            BUZZANGA, ALLY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BUZZARD, JENNIFER                   BUZZELL, ALTON                            BUZZELL, BRITTANY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BUZZFEED (PRODUCT LABS INC.)        BUZZI, JEANNE                             BUZZI, MARLENA
111 E 18TH STREET                   ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10003




BUZZOTTA, ASHLEY                    BWSC, LLC                                 BY THE DAY, EATING HEALTHY
ADDRESS AVAILABLE UPON REQUEST      980 HARRISON AVE                          ADDRESS AVAILABLE UPON REQUEST
                                    ROXBURY, MA 02119




BYAL, ERIN                          BYARS, BARBARA                            BYARS, JULIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BYARS, KATHRYN                      BYARS, SARAH                              BYAS-GIBBS, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




BYATT, WILLIAM                      BYBE, INC.                                BYBEE, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST      250 SOUTH CIVIC CENTER DRIVE SUITE 550    ADDRESS AVAILABLE UPON REQUEST
                                    COLUMBUS, OH 43215
BYBEE, LHM/EMILY       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BYBEE, MORGAN                    Page BYBEE,
                                                                            674 ofSAMANTHA
                                                                                   5495
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BYBEE, TAWNY                         BYCHINSKI, KAIA                       BYCZEK, DENISE
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BYCZKIEWICZ, BRANDI                  BYE, ALICIA                           BYE, LEAH
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BYE, SIENNA                          BYER, ALEXANDRIA                      BYER, AMY
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BYER, TROY                           BYERLY, AUDRA                         BYERLY, CORY
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BYERLY, ERIN                         BYERS, ABBY                           BYERS, BETH
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BYERS, BRETT                         BYERS, CAROLINE                       BYERS, COLTON
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BYERS, JORDYN                        BYERS, MATTHEW                        BYERS, MEGAN
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BYERS, MELISSA                       BYERS, SANDY                          BYERS, STEPHANIE
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BYERS, SUSAN                         BYERS, VICTORIA                       BYERS, WHITNEY
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BYFIELD, KRISTA        Case 22-11238-LSS
                                     BYFIELD,Doc 2 Filed 11/30/22
                                             MIKAYLA                  Page BYFORD,
                                                                            675 of CINDY
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




BYHRE, EMMA                          BYIK, JANUSZ                          BYINGTON, ABIGAIL
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BYKE, KRISTEN                        BYKER, MARY                           BYKOWSKI, SHERRIE
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BYL, CRISTIAAN                       BYLER, APRIL                          BYLER, LINDA
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BYLER, MICHELE                       BYLINOWSKI, RAY                       BYNDER LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        24 FARNSWORTH STREET, SUITE 400
                                                                           BOSTON, MA 02210




BYNES, MASON                         BYNON, DEVON                          BYNON, KRISTEN
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BYNUM, CHANTEL                       BYNUM, DOLORES                        BYNUM, DREU
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BYNUM, JAMES                         BYNUM, LAURA ANNE                     BYNUM, REGINALD
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BYNUM, RYLEE                         BYRAGANI, SHARMISHTA                  BYRAM, CARLY
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BYRAMS, KARA                         BYRD, ANISA                           BYRD, ASHTON
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BYRD, AUTUMN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BYRD, CANDACE                    Page BYRD,
                                                                            676 of 5495
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BYRD, CHARLENE                       BYRD, CHRISTOPHER                     BYRD, DAVID
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BYRD, GLEN                           BYRD, IVANA                           BYRD, JAYME
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BYRD, JENNIFER                       BYRD, JUDY                            BYRD, JUSTIN
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BYRD, KATHY                          BYRD, KELLY                           BYRD, KYLE
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BYRD, LILY                           BYRD, MELISSA                         BYRD, PAIGE
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BYRD, PATRICIA                       BYRD, RACHEL                          BYRD, RACHEL
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BYRD, RACHEL                         BYRD, RYAN                            BYRD, TAIANN
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BYRD, TAMARA                         BYRD, TAMIKA                          BYRD, TERRI
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BYRD, TIFFANY                        BYRD, TRACEY                          BYRD, VICTORIA
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BYRDNEST LLC           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     BYRNE, BETH                      Page BYRNE,
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BYRNE, BRITTANY                      BYRNE, CATHERINE                      BYRNE, CHRIS
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BYRNE, CLARE                         BYRNE, DEVIN                          BYRNE, JAMES
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BYRNE, JAMIE                         BYRNE, JEANNE                         BYRNE, JENNA
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BYRNE, JENNIFER                      BYRNE, JENNIFER                       BYRNE, JESSICA
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BYRNE, JO ANN                        BYRNE, KAELA                          BYRNE, KAITLYN
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BYRNE, KATE                          BYRNE, LIBBY                          BYRNE, MATTHEW
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BYRNE, MEGAN                         BYRNE, PATRICK                        BYRNE, PATRICK
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BYRNE, SHANNON                       BYRNE, TAYLOR                         BYRNE, TERRI
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BYRNE, TIM                           BYRNE, TIMOTHY                        BYRNE, VALERIE
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BYRNE, VICTORIA        Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     BYRNE, WILLIAM                   Page BYRNES,
                                                                            678 of ALANA
                                                                                   5495
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BYRNES, BRIAN                        BYRNES, CATHERINE                     BYRNES, COURTNEY
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BYRNES, DANIELLE                     BYRNES, HEATHER                       BYRNES, HEATHER
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BYRNES, HELENE                       BYRNES, KELSEY                        BYRNES, MARZENA
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BYRNES, MATT                         BYRNES, PATTY                         BYRNES, RACHEL
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BYRNES, RHONDA                       BYRNES, ROSE                          BYRNES, STEVE
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BYRNES, THEO                         BYROADE, MELISSA                      BYRON F KATZUR TSANG
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BYRON KOSUGE                         BYRON, CARLEY                         BYRON, DANA
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BYRON, JOE                           BYRON, KENNETH                        BYRON, TAYLOR
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BYRUM, LAUREN                        BYRUM, REBECCA                        BYRUM, ZUZANA
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BYSSHE, ABIGAIL        Case 22-11238-LSS   Doc JAHNNA
                                     BYTHEWOOD,  2 Filed 11/30/22        Page BYTHROW,
                                                                               679 of 5495
                                                                                       BRITTNEY
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BYUN, JANICE                            BYUN, WON OK                          BYWATERS, SUSAN
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BYXBE, JENN                             BYXBEE, KARLYN                        BZOSTEK, ANDREW
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C ALTER, JOHN                           C CARTER, DARRIEN                     C GREEN, JOHNNIE
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C MILLER, JOSHUA                        C VEGA, KENDALL                       C WILSON, EMMA
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C&C CAPSULES                            C&H EQUITY MANAGEMENT LLC             C&O CUCINA
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                                        LAS VEGAS, NV 89121




C, ANDREW                               C, ATHERINE                           C, ATHY
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C, DARRELL                              C, DEANNA                             C, ELDA
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C, EMILY                                C, JEANNA                             C, JEFFREY
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C, JESSA                                C, JESSICA                            C, JOSH
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C, JUAN                Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     C, KEELEY                              Page C,680 of 5495
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C, M                                  C, MARGARET                                C, MARISSA
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C, RIHARD                             C, SANDRA                                  C, SARA
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C, TEGAN                              C, TIANN                                   C, TRAVIS
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C., REGINALD                          C.H. ROBINSON COMPANY                      C/O AAM, ARDITO LAW GROUP, PC
ADDRESS AVAILABLE UPON REQUEST        C. H. ROBINSON P.O. BOX 9121               ADDRESS AVAILABLE UPON REQUEST
                                      MINNEAPOLIS, MN 55480




C/O ANA CAMPOS, WAYFAIR               C/O BECKY LYNCH, JODY MCDANIEL             C/O CAROL & STACEY WEBB, DONITA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             BETTENCOURT
                                                                                 ADDRESS AVAILABLE UPON REQUEST




C/O CHELSEA PROEHL, WAYFAIR           C/O MARY DAIBER, TRUCK CENTERS, INC        C/O MATTHEW JACKSON, WALGREENS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




C/O MCLAUGHLIN JUDD PHYSICAL          C/O PERFECT PRODUCTS, KRISTIN              C/O SARA INCE, LUCINDA LITTRELL
THERAPY, HEATHER LACASSE              BAUKNECHT                                  ADDRESS AVAILABLE UPON REQUEST
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




C2 CLUB W HOLDINGS LLC                C2 CLUB W SPV LLC                          CA DEPARTMENT OF ALCOHOLIC
3110 MAIN ST                          ADDRESS AVAILABLE UPON REQUEST             BEVERAGE CONTROL
PH SANTA MONICA, CA 90405                                                        3927 LENNANE DR, SUITE 100
                                                                                 SACRAMENTO, CA 95834




CA DEPARTMENT OF BUSINESS OVERSIGHT   CA EDD                                     CA SDU
1515 K ST., STE 200                   ADDRESS UNAVAILABLE AT TIME OF FILING      ADDRESS UNAVAILABLE AT TIME OF FILING
SACRAMENTO, CA 95814-4052
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1001 "I" ST                           PO BOX 806                              ADDRESS AVAILABLE UPON REQUEST
SACRAMENTO, CA 95814-2828             SACRAMENTO, CA 95812-0806




CAAMPUED, PATRICIA                     CAASI, NOEL                            CABACCANG, NOAH
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CABACUNGAN, ALMA                       CABADA, KIMBERLY                       CABADA, RICHARD
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CABADA-PENICHET, BRIDGET               CABALAR, MEGAN                         CABALLERO, JOHNATHAN
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CABALLERO, JUAN                        CABALLERO, MICHAEL                     CABALLERO, NICOLE
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CABALLERO, OSCAR                       CABALLERO, RAQUEL                      CABALLERO, RHIANNON
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CABALLERO, SAGE                        CABALLERO, SHELLIE                     CABALLES, HANNAH
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CABAN, AMANDA                          CABAN, DAVID                           CABAN, KRISTEN
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CABANA, COCOS                          CABANAS, DARIO                         CABANIN, JESSICA
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CABATO, KASHA                          CABAZA, DAMIEN                         CABBAGE PATCH
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CABE, AARON            Case 22-11238-LSS   Doc
                                     CABECHE,    2 Filed 11/30/22
                                              PATRICIA                Page CABEL,
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CABELL, HANNAH                       CABELLO, EBERTO                       CABELLO, JACQUELINE
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CABESO, JOHN                         CABEY, DANA                           CABEZAS, DANIELA
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CABEZAS, MELISSA                     CABIGAS, KARA                         CABILES, VERREE
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CABINE, CARMEN                       CABLAYAN, KYLIE                       CABLE, ASHLEY
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CABLE, CRAIG                         CABLE, CURTIS                         CABLE, FRANK
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CABLE, KIMBERLY                      CABLE, MORGAN                         CABO SEAFOOD GRILL
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CABOT, TORI                          CABRAL, CINDY                         CABRAL, DONEILLE
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CABRAL, JANICE                       CABRAL, JENN                          CABRAL, KATHERINE
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CABRAL, L                            CABRAL, LAURIE                        CABRAL, MELANIE
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CABRAL, RYAN           Case 22-11238-LSS
                                     CABRAL, Doc 2 Filed 11/30/22
                                             STEPHANIE                Page CABRERA,
                                                                            683 of 5495
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CABRERA, ARYANNA                     CABRERA, BARBARA                      CABRERA, CRISTINA
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CABRERA, DANIELA                     CABRERA, ENRIQUE                      CABRERA, ERIKA
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CABRERA, GABRIELA                    CABRERA, GLORIA                       CABRERA, JUSTIN
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CABRERA, KATRINA                     CABRERA, KELAILA                      CABRERA, MARIA
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CABRERA, MARY                        CABRERA, NICOLE                       CABRERA, NIDZA
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CABRERA, STEPHANIE                   CABRERA-MARUS, ANNEL                  CABREY, JOAN
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CABUSORA, KEVIN                      CABY, JOHN                            CACACE, PATRICIA
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CACCAMO, EMILY                       CACCAVELLA, MARIANA                   CACCESE, LINDSAY
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CACCHIONE, VICTORIA                  CACCIATORE, GIANNA                    CACCIATORE, ISABELLA
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CACCIATORE, SOPHIA     Case 22-11238-LSS    Doc
                                     CACCIOLA,    2 Filed 11/30/22
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CACERES, ELSA                           CACERES, ROBIN MARSHALL               CACHO, ALICIA
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CACHU, EDGAR                            CACIOPPO, HEIDI                       CACKLER, SUSAN
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CACOPARDO, JANELLE                      CACTUS MEDIA                          CAD DESIGN SOLO 401K TRUST
ADDRESS AVAILABLE UPON REQUEST          176 N. OLD WOODWARD                   7177 SOUTH LEEWYNN DRIVE
                                        BIRMINGHAM, MI 48009                  SARASOTA, FL 34240




CADAGIN, BRI                            CADARET, ABBY                         CADDELL, NATALIE
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CADDEY, LUJEAN                          CADDICK, REGINA                       CADDIGAN, HEATHER
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CADE, JANICE M.                         CADE, VALERIE                         CADE, WENDY
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CADE, WENDY                             CADENA, FERNANDO                      CADENAS, AMBER
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CADENAZZI, AMY                          CADENHEAD, ANNA MARIE                 CADENHEAD, SAMANTHA
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CADET                                   CADET, WONDHA                         CADET, YASMINE
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CADMAN, BEN                             CADOGAN, COURTNEY                        CADOGAN, MARJORIE
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CADORETTE, STEVEN                       CADORETTE, TYLER                         CADWALLADER, GINA
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CADWALLADER, VICTORIA                   CADWELL, DEANNA                          CADWELL, SCOTT
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CADY, ALYSSA                            CADY, AUDREY                             CADY, JENNY
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CADY, PAIGE                             CAESAR JONDEE                            CAESAR MARMOLEJO
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CAESAR, BRONTE                          CAESAR, JONATHAN                         CAESAR, KATOYA
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CAETANO, ANDREW                         CAFARELLI, JILL                          CAFASSO, SARAH
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CAFE CLOVER                             CAFE GRATITUDE VENICE                    CAFE GRUMPY
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CAFE RIO                                CAFE VIDA EL                             CAFE VIDA
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CAFFERTY, SUSAN                      CAFFERTY, SUZANNE                      CAFFERY, STEPHANIE
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CAFFES, ROBERT                       CAFFEY, STEVEN                         CAFFREY, BRANDON
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CAFFREY, GENEVIEVE                   CAFFREY, JOHN                          CAFFREY, NADINE
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CAFFREY, SARAH                       CAFFREY, SHANNON                       CAFIERO, JULIANNA
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CAFUA, MEREDITH                      CAGAN, JOSH                            CAGGIANO, ANTHONY
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CAGGIANO, JOYCE                      CAGGIANO, MACKENZIE                    CAGGIULA, PAMELA
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CAGIDE, CORINNE                      CAGLE, DENISE                          CAGLE, JACEY
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CAGLE, KELLY                         CAGLE, ROBIN                           CAGLE, SHEILA
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CAGLE, STORM                         CAGLE, TAMMY                           CAGNAZZI, LIANNE
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CAGNI, BRI             Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CAGNO, SAMANTHA                  Page CAHALANE,
                                                                            687 of 5495
                                                                                     JASMINE
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CAHALIN, MARYANN                     CAHALL, HALEY                         CAHILL, ALISON
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CAHILL, AMY                          CAHILL, ANNA                          CAHILL, BENEDICT
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CAHILL, BRITTNEY                     CAHILL, CARA                          CAHILL, DANIEL
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CAHILL, DEBORAH                      CAHILL, DIANA                         CAHILL, HEATHER
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CAHILL, JENNIFER                     CAHILL, JUSTIN                        CAHILL, KAINE
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CAHILL, KARA                         CAHILL, KAREN                         CAHILL, KATHARINE
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CAHILL, LESLIE                       CAHILL, LIZ                           CAHILL, MARY
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CAHILL, MEGHAN                       CAHILL, NICOLE                        CAHILL, RILEY
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CAHILL, TAYLOR                       CAHILL, TERRI                         CAHILL, WILLIAM
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CAHILLANE, MEGAN       Case 22-11238-LSS    Doc
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CAHN, SAM                            CAHO, NANCY                           CAHOON, JULIE
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CAHOON, PHILLIP                      CAHOURS, HANNAH                       CAHOW, STEVE
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CAI, KARL                            CAI, KAYLEE                           CAI, LIQIONG
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CAI, LIXIA                           CAI, QINGAN                           CAI, SOPHIA
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CAIAZZA, TARA                        CAIAZZO, LISA                         CAIAZZO, NANCY
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CAIAZZO, ROBERT                      CAICCO, HAYLE                         CAICEDO, BARBIE
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CAICEDO, BRYAN                       CAIDEN, OLIVER                        CAIL, KAREN
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CAILE, NOLAN                         CAIN, ADAM                            CAIN, ALANNA
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CAIN, AMY                            CAIN, CAROL                           CAIN, CHANTEL
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CAIN, COURTNEY         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                                 of 5495
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CAIN, ERNES                          CAIN, GARY                            CAIN, JESSICA
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CAIN, JESSICA                        CAIN, LIZ                             CAIN, MARISA
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CAIN, MICHELLE                       CAIN, NICK                            CAIN, PATRICIA
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CAIN, RACHEL                         CAIN, RHEA                            CAIN, STEPHANIE
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CAIN, VICKY                          CAINE, MARK                           CAINE, MICHELLE
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CAINE, STAR                          CAINE, TENSY                          CAINES, SHENAI
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CAINONG, ROMELLI                     CAIOLA, JESSICA                       CAIOLA, NICOLE
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CAIRELLI, HANNAH                     CAIRNS, CAITLIN                       CAIRNS, IAN
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CAIRO, JOE                           CAISON, JEN                           CAISSE, ELAINE
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CAISSE, MARGARET       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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CAITLIN BYRD                            CAITLIN DOMANICO                         CAITLIN FAWCETT
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CAITLIN MCGILL                          CAITLIN PANNESE                          CAITLIN S WHITE
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CAITLIN, JOHNSON,                       CAITLYN MARSHALL                         CAIVANO, JENNA
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CAJIAO MARCELA                          CAJIGAS, PETER                           CAJKA, ALYSSA
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CAJKA, PHILIP                           CAKE BAKE SHOP                           CAKE CRUMBS
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CAKE, ELIZABETH                         CAKORA, RHONDA                           CAKOUNES, PETER
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CAL CHAMBER OF COMMERCE                 CAL COAST BEVERAGE                       CAL COAST CARPET WAREHOUSE. INC.
ADDRESS UNAVAILABLE AT TIME OF FILING   945 WARD DR. SPC 70                      1309 PACIFIC BLVD.
                                        SANTA BARBARA, CA 93111                  OCEANO, CA 93445




CALABRESE, ALEXANDRA                    CALABRESE, FRANCESCA                     CALABRESE, ISABELLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CALABRESE, KRISTINA                     CALABRESE, KRISTINA                      CALABRESE, LISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
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                                     CALABRESE,  2 Filed 11/30/22     Page CALABRESE,
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                                                                                      MAYA
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CALABRESE, RALPH                     CALABRESE, ZACHARY                    CALABRETTA, MARY
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CALABRIA, RICHARD                    CALABRO, MEGHAN                       CALABRO, STEPHEN/SHERYL
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CALACCI, RICHARD                     CALADO, JESSICA                       CALAHAN, ERIN
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CALAMARI, ALYSSA                     CALAMAS, HANNAH                       CALAMIA, ALYSSA
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CALAMIGOS GUEST RANCH & BEACH CLUB   CALANDRA, COURTNEY                    CALANDRA, TYLER
327 S LATIGO CANYON ROAD             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MALIBU, CA 90265




CALANDRINO, JO ANN                   CALANDRO, FRANK                       CALAO, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CALAPA, PJ                           CALARCO, CALI                         CALASCIBETTA, ALICIA
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CALAUTTI, AMY                        CALAUTTI, REBECCA                     CALAVANO, DOMINICK
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CALAVITTA, MONICA                    CALAWAY, BROOKE                       CALAWAY, CAROLINE
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CALAWAY, CHRISTIN      Case 22-11238-LSS   DocCHRIS
                                     CALAWERTS,  2 Filed 11/30/22     Page CALAYCAY,
                                                                            692 of 5495
                                                                                     CHERYLL
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CALAYCAY, CHRISTIE                   CALBREATH, CARLY                      CALCAGNO, SHERRI
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CALCASOLA, MICHELLE                  CALCHAMBER                            CALDARI, CHRIS
ADDRESS AVAILABLE UPON REQUEST       CALIFORNIA CHAMBER OF COMMERCE        ADDRESS AVAILABLE UPON REQUEST
                                     PO BOX 398336
                                     SAN FRANCISCO, CA 94139-8336




CALDARONE, ANNE                      CALDART, ELIZABETH                    CALDEIRA, CLEUSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CALDER, JULIA                        CALDER, PATRICIA                      CALDERA, ANDRES
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CALDERALA, HEATHER                   CALDERARO, COURTNEY                   CALDERBANK, JENNA
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CALDERON CASTILLO, RAUL              CALDERON, ABIGAIL                     CALDERON, ANDRES
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CALDERON, ANGEL                      CALDERON, ARANTZA                     CALDERON, BRITTANY
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CALDERON, DELIA                      CALDERON, JAIMMIE                     CALDERON, JUAN/VALERIE
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CALDERON, KARLA                      CALDERON, LUIS                        CALDERON, MARIA
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CALDERON, MARY         Case 22-11238-LSS    Doc
                                     CALDERON,    2 Filed 11/30/22
                                               NICOLE                 Page CALDERON,
                                                                            693 of 5495
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CALDERON, ROCIO                      CALDERON, SANDRA                      CALDERON, SUSAN
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CALDERON, SUSANA                     CALDERONE, BRIAN                      CALDERON-GUTHE, KLARA
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CALDERWOOD, CRYSTALEE                CALDERWOOD, MONTGOMERY                CALDWELL, ARIA
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CALDWELL, ASHLEY                     CALDWELL, ASHLEY                      CALDWELL, BRENDA
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CALDWELL, BRENETHA                   CALDWELL, BRIAN                       CALDWELL, BRITTANY
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CALDWELL, BRITTANY                   CALDWELL, CANDACE                     CALDWELL, CAROL
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CALDWELL, CATHRYN                    CALDWELL, CHEYENNE                    CALDWELL, CHRISTAL
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CALDWELL, DAVID                      CALDWELL, DAWN                        CALDWELL, DINAH
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CALDWELL, GRAEME                     CALDWELL, HANNAH                      CALDWELL, JACQUELINE
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CALDWELL, JACQUETTA    Case 22-11238-LSS   Doc
                                     CALDWELL,   2 Filed 11/30/22
                                               JARRATT                Page CALDWELL,
                                                                            694 of 5495
                                                                                     JARRATT
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CALDWELL, KRISTENE                   CALDWELL, LAUREN                      CALDWELL, MARGARET
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CALDWELL, MARSHA                     CALDWELL, MARY PAT                    CALDWELL, MIKE
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CALDWELL, NICOLE                     CALDWELL, ROBBIN                      CALDWELL, SARAH
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CALDWELL, STEPHANIE                  CALDWELL, STEPHANIE                   CALDWELL, TRACEY
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CALDWELL. TOM JAMES COMPANY, JASON   CALDWELL-SMITH, KATHERINE             CALE, ELIANA
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CALE, MARISSA                        CALEAH MINARICH                       CALEB AUSTON
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CALEB CALDWELL                       CALEB MARSHALL                        CALEF, AUNA
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CALEGARI, NATALIA                    CALELLO, SHEILA                       CALENA, NICHOLAS
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CALERO, BANIA          Case 22-11238-LSS
                                     CALERO, Doc 2 Filed 11/30/22
                                             NANCY                    Page CALEV,
                                                                            695 ofKEZIA
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CALEX RENOVATIONS                    CALEY, SARAH                          CALFO, CLAIRE
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CALGARO, MICHAEL                     CALHOON, JEN                          CALHOON, JILL
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CALHOUN SCOTT MARTIN, CECILY         CALHOUN, ANGONIQUE                    CALHOUN, BILL
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CALHOUN, CAITLIN                     CALHOUN, CAROLINE                     CALHOUN, CHRISTINA
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CALHOUN, DONNA                       CALHOUN, ELISE                        CALHOUN, ERICA
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CALHOUN, GARY                        CALHOUN, HOLLY                        CALHOUN, JADE
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CALHOUN, JENNIFER                    CALHOUN, JIM                          CALHOUN, JUSTIN
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CALHOUN, KAITLYN                     CALHOUN, KELSEY                       CALHOUN, MELANIE
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CALHOUN, NICOLE                      CALHOUN, ROSS                         CALHOUN, SABRINA
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CALHOUN, SAMANTHA      Case 22-11238-LSS   Doc
                                     CALHOUN,    2 Filed 11/30/22
                                              SARAH                            Page CALHOUN,
                                                                                     696 of 5495
                                                                                             SARAH
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CALHOUN, SHAWN                           CALHOUN, THOMAS                            CALI, ABBY
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CALI, CHRISTINA                          CALI, JESSICA                              CALIAN, KYLE
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CALIAN, STACIE                           CALICCHIO, THOMAS                          CALICKER, SHARI
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




CALICO, ROBERT                           CALIENDO, CHRISTINA                        CALIFORNIA ACRYLIC DESIGN
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CALIFORNIA AIR RESOURCES BOARD           CALIFORNIA AIR RESOURCES BOARD             CALIFORNIA BOARD OF EQUALIZATION
1001 "I" ST                              PO BOX 2815                                450 N ST
SACRAMENTO, CA 95814                     SACRAMENTO, CA 95812                       PO BOX 942879
                                                                                    SACRAMENTO, CA 95814




CALIFORNIA BOARD OF EQUALIZATION         CALIFORNIA CHAMBER OF COMMERCE             CALIFORNIA CHICKEN
EXECUTIVE OFFICE, MIC: 73, LISA RENATI   ADDRESS UNAVAILABLE AT TIME OF FILING      ADDRESS UNAVAILABLE AT TIME OF FILING
CHIEF DEPUTY DIRECTOR PO BOX 942879
SACRAMENTO, CA 94279-0073




CALIFORNIA CHOICE                        CALIFORNIA CHOICE                          CALIFORNIA CONCENTRATE CO
721 S PARKER SUITE 200                   BENEFITS ADMINISTRATORS PO BOX 7088        18678 N HIGHWAY 99
ORANGE, CA 92868                         ORANGE, CA 92863-7088                      ACAMPO, CA 95220




CALIFORNIA DEPARTMENT CONSUMER           CALIFORNIA DEPARTMENT OF ALCOHOLIC         CALIFORNIA DEPARTMENT OF HEALTHCARE
AFFAIRS                                  BEVERAGE CONTROL                           SERVICES, ATTN: JENNIFER KENT, DIR
CONSUMER INFORMATION DIVISION            ALCOHOLIC BEVERAGE CONTROL                 DEPARTMENT OF HEALTH SERVICES
1625 N MARKET BLVD STE N 112             3927 LENNANE DRIVE, SUITE 100              P.O. BOX 997413, MS 0000
SACRAMENTO, CA 95834                     SACRAMENTO, CA 95834                       SACRAMENTO, CA 95899-7413



CALIFORNIA DEPARTMENT OF TAX AND         CALIFORNIA DEPT OF BUSINESS OVERSIGHT      CALIFORNIA DEPT OF CONSERVATION
FEE ADMINISTRATION                       1515 K STREET                              801 K ST, MS 24-01
RETURN PROCESSING RANCH                  SUITE 200                                  SACRAMENTO, CA 95814
P.O. BOX 942879                          SACRAMENTO, CA 95814-4052
SACRAMENTO, CA 94279-6001
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CALIFORNIA DEPT OF WATER     22-11238-LSS
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                                                              RESOURCESPage CALIFORNIA
                                                                             697 of 5495
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1416 9TH ST                           PO BOX 94236                          ADDRESS UNAVAILABLE AT TIME OF FILING
SACRAMENTO, CA 95814                  SACRAMENTO, CA 94236




CALIFORNIA ENVIRONMENTAL PROTECTION    CALIFORNIA ETCHING                      CALIFORNIA FISH GRILL
AGENCY                                 1952 IROQUOIS ST                        ADDRESS UNAVAILABLE AT TIME OF FILING
1001 I ST                              NAPA, CA 94559
PO BOX 2815
SACRAMENTO, CA 95812-2815



CALIFORNIA FRANCHISE TAX BOARD         CALIFORNIA FRANCHISE TAX BOARD          CALIFORNIA FRANCHISE TAX BOARD
121 SPEAR ST                           1515 CLAY ST                            300 S SPRING ST
STE 400                                STE 305                                 STE 5704
SAN FRANCISCO, CA 94105-1584           OAKLAND, CA 94612-1445                  LOS ANGELES, CA 90013-1265




CALIFORNIA FRANCHISE TAX BOARD         CALIFORNIA FRANCHISE TAX BOARD          CALIFORNIA FRANCHISE TAX BOARD
3321 POWER INN RD                      600 W SANTA ANA BLVD                    7575 METROPOLITAN DR
STE 250                                STE 300                                 STE 201
SACRAMENTO, CA 95826-3893              SANTA ANA, CA 92701-4543                SAN DIEGO, CA 92108-4421




CALIFORNIA FRANCHISE TAX BOARD         CALIFORNIA FRANCHISE TAX BOARD          CALIFORNIA INTEGRATED WASTE MGMT
BANKRUPTCY SECTION MS A340             PO BOX 942867                           BOARD
PO BOX 2952                            SACRAMENTO, CA 94257                    1001 I ST
SACRAMENTO, CA 95812-2952                                                      PO BOX 4025
                                                                               SACRAMENTO, CA 95812-4025



CALIFORNIA NATURAL PRODUCTS            CALIFORNIA PIZZA                        CALIFORNIA SECRETARY OF STATE
1250 E. LATHROP ROAD                   ADDRESS UNAVAILABLE AT TIME OF FILING   BUSINESS PROGRAMS DIVISION
LATHROP, CA 95330                                                              BUSINESS ENTITIES RECORDS
                                                                               P.O. BOX 944260
                                                                               SACRAMENTO, CA 94244-2600



CALIFORNIA STATE CONTROLLERS OFFICE    CALIFORNIA STATE DISBURSEMENT UNIT      CALIFORNIA STATE UNIVERSITY
UNCLAIMED PROPERTY DIVISION            PO BOX 989067                           NORTHRIDGE
10600 WHITE ROCK RD, STE 141           WEST SACRAMENTO, CA 95798-9067          18111 NORDHOFF STREET, MD8448
RANCHO CORDOVA, CA 95670                                                       NORTHRIDGE, CA 91330




CALIFORNIA UNEMPLOYMENT INSURANCE      CALIFORNIA WINE TRANSPORT, INC.         CALIGARIS, MARLA
EMPLOYMENT DEVELOPMENT DEPT            930 MCLAUGHLIN AVENUE                   ADDRESS AVAILABLE UPON REQUEST
PO BOX 8268800                         SAN JOSE, CA 95122
UIPCD, MIC 40
SACRAMENTO, CA 94280-0001



CALIGIURI, CORNELIA                    CALIGREENS CAFE                         CALIMAN, LIA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




CALIN, DANIEL                          CALIOLO, JENNIFER                       CALIP, BRYAN
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CALISE, DIANA          Case 22-11238-LSS    Doc
                                     CALISHER,    2 Filed 11/30/22
                                               KAREN                      Page CALISTO,
                                                                                698 of ADRIAN
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CALIX, MARIELA                       CALIX, SUSAN                              CALIXTO MENDOZA, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CALIXTRO, NICOLE                     CALKINS (FROM E &E), HUGH AND BETH        CALKINS, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CALKINS, KARI                        CALKINS, RACHEL                           CALKINS-DELFORGE, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CALKINS-DELFORGE, LINDSAY            CALKUM, COLYNN                            CALL YOUR GIRLFRIEND, LLC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            502 7TH STREET 87PJ
                                                                               SAN FRANCISCO, CA 94103




CALL, DANIELLE                       CALL, JOSHUA                              CALL, KACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CALL, KIMBERLY                       CALL, STORMI                              CALL, TERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CALLAGHAN, BRIDGET                   CALLAGHAN, MARGARET                       CALLAGHAN, MELISSA
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CALLAGHAN, THALISA                   CALLAHAN, ANN                             CALLAHAN, AUSTIN
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CALLAHAN, BRICE                      CALLAHAN, BRIDGET                         CALLAHAN, CAROLINE
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CALLAHAN, CATHERINE    Case 22-11238-LSS    Doc
                                     CALLAHAN,   2 Filed 11/30/22
                                               COLIN                  Page CALLAHAN,
                                                                            699 of 5495
                                                                                     CORTNEY
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CALLAHAN, DANIELLE                   CALLAHAN, DEIRDRE                     CALLAHAN, ELIZABETH
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CALLAHAN, EMILY                      CALLAHAN, EMILY                       CALLAHAN, ENITH
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CALLAHAN, ERIN                       CALLAHAN, JENNIFER                    CALLAHAN, JESSICA
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CALLAHAN, KAT                        CALLAHAN, KATHERINE                   CALLAHAN, KILEY
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CALLAHAN, LINDA                      CALLAHAN, MATTIE                      CALLAHAN, MEGAN
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CALLAHAN, MEGHAN                     CALLAHAN, ROBERT                      CALLAHAN, SEAN
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CALLAHAN, SHANNON                    CALLAHAN, SHAWN                       CALLAHAN, STEVEN
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CALLAHAN, THOMAS                     CALLAHAN, THOMAS                      CALLAHAN, TIFFANY
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CALLAHAN, VINCE                      CALLAHAN, WHITNEY                     CALLAHAN, ZACHARY
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CALLAIO, JOHN          Case 22-11238-LSS
                                     CALLAIS, Doc 2 Filed 11/30/22
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CALLAN, CAITLIN                      CALLAN, DEVIN                         CALLAN, KAREN
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CALLAN, NICOLLE                      CALLAN, STEVE                         CALLANAN, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CALLANAN, PORTER                     CALLANAN, SOPHIA                      CALLANAN, TUCKER
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CALLANDER, MEREDITH                  CALLARI, ALLISON                      CALLAWAY, KELLY
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CALLAWAY, STEVEN                     CALLAWAY, TAYLOR                      CALLAWAY, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CALLEJA, SEAN                        CALLEJON, DREW                        CALLENDER, KENDAL
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CALLENDER, SHANTE                    CALLERI, MATTHEW                      CALLERY, ANNMARIE
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CALLERY, KEVIN                       CALLES, ANNA                          CALLES, MELISSA
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CALLICOTT, KATHLEENE                 CALLIE DANIELSON                      CALLIER, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CALLIES, NICKI         Case 22-11238-LSS    Doc CLAUDIA
                                     CALLIGARICH, 2 Filed 11/30/22    Page CALLIHAN,
                                                                            701 of 5495
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CALLIHAN, LOGAN                      CALLINA, DANIELLE                     CALLIOPE PORTER
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CALLIS, OLIVIA                       CALLISON, MARIA                       CALLISTHA, VIA
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CALLOWAY, JEANNE                     CALLOWAY, MONIQUE                     CALLOWAY, RACHEL
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CALLOWAY, WILL                       CALLUM, KATHRYN                       CALLUS, VICTORIA
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CALMA, RAI                           CALNAN, CATHERINE                     CALNAN, DANIELLE
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CALNAN, JUDIE                        CALNAN, KATHLEEN                      CALNAN, MEAGHAN
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CALO, BELINDA                        CALO, LARA                            CALO, MAYRA
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CALOMERIS, ANDREA                    CALSAM, MARIE                         CALSETTA, CHELSEA
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CALTA, AMANDA                        CALUAG, STEPHANIE                     CALUCCHIA, CHRISTIE
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                                     CALUMPONG,  2 Filed 11/30/22     Page CALUPITAN,
                                                                            702 of 5495
                                                                                      CHRISTINE
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CALVANESE, GINA                      CALVANOL, RACHEL                      CALVERLEY, EMMA
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CALVERT, CATHY                       CALVERT, JARRATT                      CALVERT, MORGAN
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CALVERT, SAMANTHA                    CALVET, CRISTINA                      CALVEY, ERIN
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CALVILLO, LILIANA                    CALVIN RICHARD LANGRIDGE              CALVIN, BROOKLEY
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CALVIN, CHRISTOPHER                  CALVIN, RYAN                          CALVIT, MARK
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CALVO, ALLAN                         CALVO, CLAUDIA                        CALVO, MARIO
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CALVO, MARTHA                        CALVO, PETER                          CALVO, SCARLET
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CALVO, TARA                          CALYX MITCHEM                         CALZADA, DAWN
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CALZADILLA, JAIME                    CAM, ANH                              CAMA, JENNIE
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CAMAC, JENNY           Case 22-11238-LSS   Doc
                                     CAMACHO     2 JASSE
                                             VERA,   Filed 11/30/22   Page CAMACHO,
                                                                            703 of 5495
                                                                                    ATHENA
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CAMACHO, BRIANNA                     CAMACHO, CHRISTIAN                    CAMACHO, DAVID
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CAMACHO, DIANA                       CAMACHO, ELYSE                        CAMACHO, JESSA MAE
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CAMACHO, JOAN                        CAMACHO, KRISTIN                      CAMACHO, KYLE
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CAMACHO, LAUREN                      CAMACHO, MARISA                       CAMACHO, MATEO
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CAMACHO, MAYRA                       CAMACHO, SERINA                       CAMAJ, ADRIANA
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CAMANN, RACHEL                       CAMANO, ASHLEY                        CAMAPLAN SDIRA OF THOMAS J COGHLAN
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CAMARA, ALEX                         CAMARA, CASSIOPEIA                    CAMARA, JOY
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CAMARA, MIGSABET                     CAMARATA, KATE                        CAMARDA, CHRISTIE
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CAMARDO, FRANCIS                     CAMARENA, TALIA                       CAMARGO-MERINO, STEPHANIE
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CAMARILLO, LOUISE      Case 22-11238-LSS    Doc
                                     CAMARILLO,   2 Filed 11/30/22
                                                MADISON                  Page CAMARILLO,
                                                                               704 of 5495
                                                                                         VICTORIA
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CAMAROTE, RACHEL                     CAMAROTTI, GABRIELA                      CAMAYD, CAMILLE
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CAMAYD-MUNOZ, CRISTINA               CAMBA, TRACI                             CAMBEIRO, URSULA
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CAMBERG, JULIE T.                    CAMBERS, JENNIFER                        CAMBIANO, JULIET
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CAMBRIA, QUINN                       CAMBRIDGE, MAUREEN                       CAMBRIDGE, MILDRED
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CAMDEN DEVERICKS                     CAMDEN, RACHEL                           CAMDEN, SAMUEL
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CAMDEN, SARA                         CAMEJO, VERONICA                         CAMEL, DAWOINE
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CAMELLIA, VIOLET                     CAMEN, JESSE                             CAMENETI, JACQUELINE
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CAMER, JERI                          CAMERA LENS RENTAL                       CAMERANO, NICOLE
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CAMERATA, JULIE                      CAMERATO, ANNA                           CAMERATO, REBECCA
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CAMERIK, MORGAN        Case 22-11238-LSS   Doc
                                     CAMERON     2 Filed 11/30/22
                                             HOOKS                    Page CAMERON
                                                                            705 of 5495
                                                                                    HUGHES WINE
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CAMERON MACBAIN                      CAMERON MARK JOHNSON                  CAMERON STUART CAROTHERS
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CAMERON, ALI                         CAMERON, ALTHEA                       CAMERON, AMANDA
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CAMERON, AMBER                       CAMERON, ASHLEY                       CAMERON, BRIAN
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CAMERON, CHRIS                       CAMERON, DAVID                        CAMERON, JAMIE
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CAMERON, JEFF                        CAMERON, JENNY                        CAMERON, JULIA
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CAMERON, KATE                        CAMERON, KATHRYN                      CAMERON, KATY
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CAMERON, KELSEY                      CAMERON, MARIE                        CAMERON, PETER
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CAMERON, RACHEL                      CAMERON, RHONDA                       CAMERON, RILEY
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CAMERON, ROBERT                      CAMERON, ROBERT                       CAMERON, SALLY
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CAMERON, SHELBY        Case 22-11238-LSS   Doc
                                     CAMERON,    2 Filed 11/30/22
                                              SUSAN                   Page CAMERON,
                                                                            706 of 5495
                                                                                    VERONICA
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CAMEROTA, KIMBERLY                   CAMESAS, ALEXANDRA                    CAMEUS GUILLAUME
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CAMFFERMAN, CANDICE                  CAMILLA PACE                          CAMILLO, MARCUS/
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CAMILO ABELA                         CAMILO J LOZANO                       CAMILO, LUZ
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CAMIN, AIYA                          CAMINITI, KASEY                       CAMINOS, CARLOS
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CAMIRE, AMY                          CAMIRE, ASHLEY                        CAMIS, SONDRA
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CAMMACK, ASHLEE                      CAMMACK, CAMERON                      CAMMACK, MEGAN
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CAMMARANO, EILEEN                    CAMMARATA, MATTHEW                    CAMMARATA, RACHEL
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CAMMEYER, SYDNEY                     CAMMOCK, HILEY                        CAMMOCK, MELINDA
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CAMMON, MICHAEL                      CAMMY FROUDE                          CAMOS, DAVID
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ADDRESS AVAILABLE UPON REQUEST       8302 MELROSE AVENUE & SWEETZER         ADDRESS AVAILABLE UPON REQUEST
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                                     LOS ANGELES, CA 90069




CAMP GROUND, L AND K                 CAMP, ALYSSA                           CAMP, AMANDA
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CAMP, AMIE                           CAMP, BRANDON                          CAMP, BRITTANY
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CAMP, CAITLIN                        CAMP, CLAYTON                          CAMP, DESIREE
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CAMP, ERICA                          CAMP, ERIN                             CAMP, HEATHER
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CAMP, JOAN                           CAMP, JOHN                             CAMP, JOSEPH
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CAMP, JOSHUA                         CAMP, MARY LEE                         CAMP, MICHAEL
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CAMP, MICHAEL                        CAMP, MOLLY                            CAMP, RACHEL
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CAMP, VERA                           CAMPA, REBECCA                         CAMPAGNA-GROUT, LISA
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CAMPAGNI, DAVID                      CAMPAGNOLI 5B, MARISSA                 CAMPAGNONE, CASSANDRA
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CAMP-ALERTE, NICOLE    Case 22-11238-LSS   Doc
                                     CAMPANA,    2 Filed 11/30/22
                                              CHANDRA                 Page CAMPANA,
                                                                            708 of 5495
                                                                                    FRANCIS
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CAMPANA, IRAN                        CAMPANA, KELSEY                       CAMPANA, MARYJO
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CAMPANELLA, DANA                     CAMPANELLA, ELIZABETH                 CAMPANELLA, JOSEPH
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CAMPANELLA, LENA                     CAMPANELLA, TAMRA                     CAMPANY, ILANA
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CAMPANY, NOELLE                      CAMPBELL YORK, MARE                   CAMPBELL, AARON
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CAMPBELL, ALEC                       CAMPBELL, ALEX                        CAMPBELL, ALEXIS
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CAMPBELL, ALI                        CAMPBELL, ALISON                      CAMPBELL, ANDY
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CAMPBELL, ANGELA                     CAMPBELL, ANNA                        CAMPBELL, ANNELISE
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CAMPBELL, ARIANNA                    CAMPBELL, ARIEL                       CAMPBELL, BOBBI
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CAMPBELL, BREEANA                    CAMPBELL, BRIAN                       CAMPBELL, BRIANA
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CAMPBELL, BRIANNA      Case 22-11238-LSS   Doc
                                     CAMPBELL,    2 Filed 11/30/22
                                               BRIGITTA               Page CAMPBELL,
                                                                            709 of 5495
                                                                                     BRITTANY
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CAMPBELL, BRYCE                      CAMPBELL, CAITLIN                     CAMPBELL, CANDACE
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CAMPBELL, CARLY                      CAMPBELL, CARSON                      CAMPBELL, CASEY
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CAMPBELL, CASSANDRA                  CAMPBELL, CASSANDRA                   CAMPBELL, CASSIDY
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CAMPBELL, CAYLA                      CAMPBELL, CAYLIN                      CAMPBELL, CHELSEA
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CAMPBELL, CHELSEY                    CAMPBELL, CHELSI                      CAMPBELL, CHERYL
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CAMPBELL, CHRISTI                    CAMPBELL, CHRISTIN                    CAMPBELL, CHRISTINA
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CAMPBELL, CHRISTINE                  CAMPBELL, CONNIE                      CAMPBELL, COURTNEY
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CAMPBELL, COURTNEY                   CAMPBELL, DANA                        CAMPBELL, DANIELLE
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CAMPBELL, DAVID                      CAMPBELL, DENNIS                      CAMPBELL, DEVAN
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CAMPBELL, DIANA        Case 22-11238-LSS   Doc
                                     CAMPBELL,    2 Filed 11/30/22
                                               DILLON                 Page CAMPBELL,
                                                                            710 of 5495
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CAMPBELL, DYLAN                      CAMPBELL, ELAINA                      CAMPBELL, ELAINE
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CAMPBELL, ELIZABETH                  CAMPBELL, EMILY                       CAMPBELL, EMILY
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CAMPBELL, EMILY                      CAMPBELL, GEORGIA                     CAMPBELL, GRACE
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CAMPBELL, GRETCHEN                   CAMPBELL, HALEY                       CAMPBELL, HEATHER
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CAMPBELL, ISABEL                     CAMPBELL, JALYN                       CAMPBELL, JAMES
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CAMPBELL, JAMIE                      CAMPBELL, JEAN                        CAMPBELL, JEFFREY
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CAMPBELL, JENNA                      CAMPBELL, JENNIFER MARIE              CAMPBELL, JENNIFER
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CAMPBELL, JENNIFER                   CAMPBELL, JENNIFER                    CAMPBELL, JEREMIAH
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CAMPBELL, JESSICA                    CAMPBELL, JESSICA                     CAMPBELL, JESSICA
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CAMPBELL, JILL         Case 22-11238-LSS   Doc
                                     CAMPBELL,   2 CHRISTOPHER
                                               JOHN  Filed 11/30/22   Page CAMPBELL,
                                                                            711 of 5495
                                                                                     JOHN
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CAMPBELL, JOYCE                      CAMPBELL, KALINDA                     CAMPBELL, KARISSA
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CAMPBELL, KATE                       CAMPBELL, KATE                        CAMPBELL, KATHRYN
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CAMPBELL, KATHY                      CAMPBELL, KATIE                       CAMPBELL, KATIE
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CAMPBELL, KAYLYN                     CAMPBELL, KELLY                       CAMPBELL, KELSEA
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CAMPBELL, KELSEY                     CAMPBELL, KEMBER                      CAMPBELL, KEVIN
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CAMPBELL, KIM                        CAMPBELL, KRISTA                      CAMPBELL, KYLE
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CAMPBELL, LANNI                      CAMPBELL, LAURA                       CAMPBELL, LAUREN
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CAMPBELL, LINDSEY                    CAMPBELL, LINDSEY                     CAMPBELL, LISA
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CAMPBELL, LISA                       CAMPBELL, LUCY                        CAMPBELL, LYDIA
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CAMPBELL, LYNDSEY      Case 22-11238-LSS   Doc
                                     CAMPBELL,    2 Filed 11/30/22
                                               LYNDSEY                Page CAMPBELL,
                                                                            712 of 5495
                                                                                     MACKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAMPBELL, MACKENZIE                  CAMPBELL, MADISON                     CAMPBELL, MALLORY
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CAMPBELL, MARGARETT                  CAMPBELL, MARGIE                      CAMPBELL, MARIE
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CAMPBELL, MARJORIE                   CAMPBELL, MARTHA                      CAMPBELL, MARY JEANNE
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CAMPBELL, MATT                       CAMPBELL, MATT                        CAMPBELL, MAUREEN
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CAMPBELL, MCKENZIE                   CAMPBELL, MEGAN                       CAMPBELL, MEGAN
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CAMPBELL, MELANIE                    CAMPBELL, MICHAEL                     CAMPBELL, MICHAEL
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CAMPBELL, MICHAEL                    CAMPBELL, MICHELLE                    CAMPBELL, MICHELLE
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CAMPBELL, MICHELLE                   CAMPBELL, MIMI                        CAMPBELL, MINDY
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CAMPBELL, MOLLY                      CAMPBELL, MORGAN                      CAMPBELL, MOYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CAMPBELL, NANCY        Case 22-11238-LSS   Doc
                                     CAMPBELL,   2 Filed 11/30/22
                                               NATALIE                Page CAMPBELL,
                                                                            713 of 5495
                                                                                     NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAMPBELL, NICHOLAS                   CAMPBELL, NICOLE                      CAMPBELL, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAMPBELL, NIKKI                      CAMPBELL, NIKKI                       CAMPBELL, OLIVIA
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CAMPBELL, PAIGE                      CAMPBELL, PAMELA                      CAMPBELL, PATRICE
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CAMPBELL, PATSEY                     CAMPBELL, RACHEL                      CAMPBELL, RADIANCE
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CAMPBELL, RHONDA                     CAMPBELL, ROBIN                       CAMPBELL, RON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAMPBELL, RONNIE                     CAMPBELL, SABRINA                     CAMPBELL, SADINE
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CAMPBELL, SALLY                      CAMPBELL, SARA                        CAMPBELL, SARA
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CAMPBELL, SARAH                      CAMPBELL, SARAH                       CAMPBELL, SCOTT
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CAMPBELL, SCOTT                      CAMPBELL, SHEA                        CAMPBELL, SHELBY
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CAMPBELL, STACIE                     CAMPBELL, STACY                       CAMPBELL, STEFANI
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CAMPBELL, STEPHEN                    CAMPBELL, STUART                      CAMPBELL, SUSAN
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CAMPBELL, TIFFANY                    CAMPBELL, TINA                        CAMPBELL, TOM
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CAMPBELL, TRACIE                     CAMPBELL, VICTORIA                    CAMPBELL, WALKER
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CAMPBELL, WILLIAM                    CAMPBELL, ZAC                         CAMPBELL-DUNBAR, SHAWNEILLE
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CAMPBELL-TULLOCH, TASHI              CAMPE, ELISE                          CAMPEN, LARA
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CAMPER, JESSICA                      CAMPER, MIYHANA M.                    CAMPI, CARMEN
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CAMPINANILE, LIN                     CAMPION, COLLEEN                      CAMPION, JULIA
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CAMPION, LISA                        CAMPIONE, ANNE                        CAMPISE, MARY
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CAMPISE, SYDNEY                      CAMPISI, FRED                         CAMPISI, JENNIFER
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CAMPOREALE, MATTHEW                  CAMPOS, AARON                         CAMPOS, ALLY
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CAMPOS, ELIZABETH                    CAMPOS, ELIZABETH                     CAMPOS, EMILY
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CAMPOS, ISABELA                      CAMPOS, JERICO                        CAMPOS, LESLEY
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CAMPOS, LUCAS                        CAMPOS, MARCI                         CAMPOS, MARIA
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CAMPOS, MARIO                        CAMPOS, NATHAN                        CAMPOS, PAULA
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CAMPOS, SHANNON                      CAMPOS, TIFFANY                       CAMPOY, SARAH
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CAMPS, ELAINE                        CAMPSON, PAUL                         CAMPTON, JORDAN
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CAMPUZANO, ALFREDO                   CAMRY, MS                             CAMUGLIA, MICHELLE
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CAMUS, MALLORY                       CAMUSO, MATTHEW                       CANABUSH, ASHLI
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CANACCORD GENUITY LLC                CANADA, JESSICA                       CANADA, KATY
535 MADISON AVE                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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CANADA, SHAUNYALE      Case 22-11238-LSS   Doc
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CANADY, ALLISON                      CANADY, CATHERINE                           CANADY, JACEY
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CANADY, ROBYN                        CANALES, ADRIANA                            CANALES, BILMA
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CANALES, BRYANA                      CANALES, EDGAR                              CANALES, LOURDES
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CANALES, MATTHEW                     CANALS, THOMAS                              CANAN, DAWN
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CANARD, BRANDON                      CANARY LLC (CANARY MARKETING)               CANAVAN, JEFF
ADDRESS AVAILABLE UPON REQUEST       600 SAN RAMON VALLEY BLVD, SUITE 200        ADDRESS AVAILABLE UPON REQUEST
                                     DANVILLE, CA 94526




CANAVAN, KELLY                       CANAVAN, RENEE                              CANAVAN, RYAN
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CANAVARRO, MACKENZIE                 CANCEL, ISABEL                              CANCEL, JANNETH
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CANCEL, LESLIE                       CANCEL, LESLIE                              CANCEL, ROBERTO
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CANCELMI, JENNIE                     CANCHELA, ANDREA                            CANCHOLA, ALEXANDRIA
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CANCINO, DARCIE        Case 22-11238-LSS
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                                                                                   NELSON LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        10952 SANTA MONICA BOULEVARD
                                                                           LOS ANGELES, CA 90025




CANDACE WIDDOES                      CANDACE                               CANDACE, MALLORY
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CANDAL, RAQUEL                       CANDEE, RICHARD                       CANDEL, LINDSAY
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CANDELA, MELISSA                     CANDELARI, JULIE                      CANDELARIA, TREVOR
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CANDELARIO, LORENA                   CANDELETTI, MELISSA                   CANDELLA, ANNA
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CANDELORE, KRISTIN                   CANDELORO, CECILIA                    CANDELORO, LAURIE
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CANDICE EMERSON                      CANDICE HAIR                          CANDICE LAPIN
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CANDICE MITCHELL                     CANDICE WHALEN                        CANDIDO, ALANA
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CANDIFF, PRISCILLA M.                CANDIO, CHRISTINE                     CANDITO, BRIANA
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CANDLER, KATHY                       CANDLER, NICOLE                       CANDLER, VICKI
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CANDOR, ROBERT         Case 22-11238-LSS    Doc
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CANDYWAREHOUSE.COM                      CANE, KAITLYN                         CANEL, TANIA
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CANELA, EVELYN                          CANELL, BRIAN                         CANELLI, ALYSSA
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CANELLI, NANA                           CANELLI, TAYLOR                       CANEPA, LAUREN
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CANEPA, LUIGI                           CANERDAY, SARAH                       CANESTARO, SARAH
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CANET, MARIA                            CANEVARI, TONYA                       CANEY, SARAH
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CANEZIN, ASHLEY                         CANFIELD, ALI                         CANFIELD, CRYSTAL
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CANFIELD, DEBRA                         CANFIELD, KRISTI                      CANFIELD, NATALIE
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CANFIELD, SARAH                         CANGAS, ALESSANDRA                    CANGE, LEAH
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CANGELOSE, BRIANNE                      CANGELOSI, GABRIELLE                  CANGELOSI, SARA
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CANINO, GABE                         CANINO, MICHAEL                       CANION, LYNLEA
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CANIPE, LESLIE                       CANIZALES, SARAH                      CANIZARO, KAREN
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CANJURA, ATHENA                      CANLAS-LAFLAM, JACQUELINE             CANN, LYNDA
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CANNADAY, JIM                        CANNADY, ANGELA                       CANNADY, CECILIA
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CANNADY, MARY                        CANNATA, ANTHONY                      CANNATA, SAMANTHA
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CANNEDY, EMILY                       CANNEFAX, MARILYN                     CANNELL, KATHLEEN
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CANNELLA, JESSICA                    CANNELLA, KATHY                       CANNELLOS, LISA
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CANNEY, MEGAN                        CANNIFF, DREW                         CANNIFF, KRYSTELL
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CANNING, ELISA                       CANNING, JUDITH                       CANNING, JUSTYNA
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CANNIZZARO, JOHN                     CANNIZZARO, MICHAEL                   CANNIZZARO, MICHELLE
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CANNIZZO, VICTORIA                   CANNON STREET                         CANNON, ANN
ADDRESS AVAILABLE UPON REQUEST       300 MONTGOMERY ST STE 825             ADDRESS AVAILABLE UPON REQUEST
                                     SAN FRANCISCO, CA 94104-1918




CANNON, ANNA                         CANNON, ANNE                          CANNON, BETH
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CANNON, CARINA                       CANNON, CARMEN                        CANNON, CHRISTINE
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CANNON, CLARICE                      CANNON, COLLEEN                       CANNON, COLTON
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CANNON, DAMARIS                      CANNON, DELORES                       CANNON, DINA
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CANNON, ELIZABETH                    CANNON, HANNAH                        CANNON, HEATHER
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CANNON, JANICE                       CANNON, JEFFREY                       CANNON, JENNIFER
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CANNON, JENNIFER                     CANNON, JESSE                         CANNON, JIM
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CANNON, JOSHUA                       CANNON, KELLY                         CANNON, KENDRA
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CANNON, MAKAYLA                      CANNON, MARY BETH                     CANNON, MEGAN
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CANNON, MICHELLE                     CANNON, RYAN                          CANNON, SAM
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CANNON, STACEY                       CANNON, STUART                        CANNON, SUNSHINE
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CANNON, TIFFANIE                     CANNON, TRENA                         CANNON, TREVOR
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CANNON-MOYE, NYJERI                  CANNY, EDWARD                         CANNY, KALLIE
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CANO, ALEI                           CANO, ALLY                            CANO, EDNA
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CANO, JANET                          CANO, JENNIFER                        CANO, MACARIO
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CANO, MALLORY                        CANO, PORFIRIO                        CANO, STEPHEN
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CANOPYBANNERS                           CANORO, ALANA                            CANOVIC, MERSIHA
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CANRIGHT, CASEY                         CANSFIELD, THOMAS                        CANSLER, KELSEY
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CANT LIVE WITHOUT IT, LLC (SWELL        CANT LIVE WITHOUT, LLC.                  CANTABRANA, MARIA
BOTTLE)                                 ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
50 WEST 17TH STREET, 12TH FLOOR
NEW YORK, NY 10011




CANTAL, DANTE                           CANTALINO, SUSAN                         CANTALUPI-REICHEL, SUSAN
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CANTALUPO, GERARD                       CANTARERO, KARI                          CANTATORE, ALYSSA
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CANTAVE, DOMINIQUE                      CANTELMI, DIANE                          CANTER, ALYSSA
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CANTER, BRITTANY                        CANTER, MARY                             CANTERBURY, CHARDE
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CANTERBURY, KAT                         CANTIELLO, NICHOLAS                      CANTILLANO, ANA
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CANTILLON, CHARLOTTE                    CANTIN, ELODIE                           CANTIN, TIFFANY
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CANTO, MARY                               CANTON DIAZ, CAROLINE                      CANTON, JODI
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CANTON, KACY                              CANTOR, LEAH                               CANTOR, MICHELE
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CANTRELL, ADDALEE                         CANTRELL, ALEXANDRA                        CANTRELL, AMANDA
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CANTRELL, ANDREA                          CANTRELL, CAROLYN                          CANTRELL, CATHERINE
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CANTRELL, DANNY                           CANTRELL, ELIZABETH                        CANTRELL, EMILY
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CANTRELL, GARY                            CANTRELL, HAILEY                           CANTRELL, HALEY
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CANTRELL, JERRY                           CANTRELL, JOSEPH                           CANTRELL, JOSEPH
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CANTRELL, KAREN                           CANTRELL, KENNEDY                          CANTRELL, KYLE
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CANTRELL, MICHELLE                      CANTRELL, MICHELLE                    CANTRELL, MIRANDA
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CANTRELL, RACHEL                        CANTRELL, RON                         CANTRELL, SARA
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CANTRELLE, PAMELA                       CANTU, AMANDA                         CANTU, DANIEL
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CANTU, EMILY                            CANTU, LAUREN                         CANTU, MICHELLE
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CANTU, SARAH                            CANTU, TESSA                          CANTWELL, CELESTE
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CANTWELL, JACQUELINE                    CANTWELL, JEANETTE                    CANTWELL, KATHLEEN
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CANTWELL, KIMBERLY                      CANTWELL, SIMON                       CANTY, AUSTIN
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CANTY, DIANA                            CANTY, TARA                           CANUPP, CHERA
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CANVA FOR WORK                          CANZIO, THOMAS                        CANZONERI, THERESA
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CAO, SHURUI                          CAO, STAR                             CAO, STEPHANIE
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CAO, THERESA                         CAO, XINYUAN                          CAO, YUCHEN
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CAOUETTE, ANDREA                     CAOUETTE, EMILY                       CAOUETTE, JANET
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CAOUETTE, KATIE                      CAPA, SHPEND                          CAPACHIETTI, LESLIE
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CAPADONA, ANTHONY                    CAPALBO, THOMAS                       CAPALDI, ELYSE
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CAPALDI, SAMANTHA                    CAPALDI, SHARI                        CAPALDI, SUNNY
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CAPANO, MARIA                        CAPAROSA, MARY                        CAPAROSO, SHAYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPARROTTA, JOE                      CAPATA LLP                            CAPDAU, FELICIA
ADDRESS AVAILABLE UPON REQUEST       28202 CABOT ROAD SUITE 525            ADDRESS AVAILABLE UPON REQUEST
                                     LAGUNA NIGUEL, CA 92677




CAPE, ERIC                           CAPE, LOUIS                           CAPECE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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CAPEL, MEG                           CAPEL, RACHEL                         CAPELL, TROY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPELLAN, JOEL                       CAPELLI, MICHAEL                      CAPELLI, ROBERT
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CAPELTON, CARMENCITA                 CAPERS, CATHERINE                     CAPERS, SEMAJ
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CAPERS, TANYA                        CAPES, CHRISTOPHER                    CAPESIUS, SIERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPETILLO JR, JOSE L                 CAPETILLO, CYNDI                      CAPICI, LOUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPILLE, TONI                        CAPILLI, SHARRON & MARY LOU           CAPIN, IVANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPITAL AGRICULTURAL PROPERTY        CAPITAL CORRUGATED INC.               CAPITAL INVESTMENTS & TECHNOLOGY
SERVICES, INC                        (CAPITAL CORRUGATED & CARTON)         1315 CANON PERDIDO ST
WASHINGTON STREET 8TH FLOOR          8333 24TH AVENUE                      CHULA VISTA, CA 91913
TAX DEPARTMENT NEWARK, NJ 07102      SACRAMENTO, CA 95826




CAPITAL TECHNOLOGY SOLUTIONS INC.    CAPITAL WIN CORPORATION               CAPITAL WINE & SPIRITS LLC
530 7TH AVENUE, SUITE 405            1076 SKYLINE DR                       DBA BREAKTHRU BEVERAGE GROUP PA
NEW YORK, NY 10018                   LAGUNA BEACH, CA 92651                129 HARTMAN RD.
                                                                           NORTH WALES, PA 19454




CAPITAL WINE AND SPIRITS LLC         CAPITAL, GREENBOX                     CAPITANO, FANO AND STAR
DBA BREAKTHRU BEVERAGE GROUP PA      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
11601 ROOSEVELT BLVD
PHILADELPHIA, PA 19154
CAPLAN, JIMMY          Case 22-11238-LSS
                                     CAPLAN, Doc 2 Filed 11/30/22
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                                                                                    5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPLAN, MOLLY                        CAPLAN, VICTORIA                      CAPLES, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPLES, BENETA                       CAPLES, CLINT                         CAPLINGER, BEN
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CAPO, ROB                            CAPOBIANCO, CARLENE                   CAPOBIANCO, DJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPOBIANCO, JOANNA                   CAPOGRECO, RYAN                       CAPOLINO, CAROLINE
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CAPOLINO, GINO                       CAPON, PAUL                           CAPONE, ANGELA
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CAPONIO, TERESA                      CAPORALI, JENELLE                     CAPORIZZO, CYNTHIA
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CAPOSSELA, ERRICA                    CAPOTE, ANNA                          CAPOTE, BIANCA
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CAPOTE, KELLIE                       CAPOZZI, MELISSA                      CAPOZZI, NICOLE
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CAPP, BRANDI                         CAPP, PEGGY                           CAPPA, MORGAN
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CAPPADONA, STEVE       Case 22-11238-LSS    Doc
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CAPPELLANO, KASEY                    CAPPELLI, GABRIELLE                   CAPPELLI, TRICIA
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CAPPELLO, ASHLEIGH                   CAPPELLO, CAROL                       CAPPELLO, LACEY
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CAPPELLONI, ALISON                   CAPPERELLA, JOEL                      CAPPERELLA, OLIVIA
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CAPPIELLO, ASHLEY                    CAPPILLINO, DONALD                    CAPPITELLI, CATHY
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CAPPITELLI, KRISTEN                  CAPPLEMAN, EUGENE                     CAPPO, SUSAN
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CAPPOLA, LINDSEY                     CAPPS, ALISON                         CAPPS, ANGIE
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CAPPS, CARRIE                        CAPPS, DUSTIN                         CAPPS, KATHRYN
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CAPPS, ROBERT                        CAPPS, TAMRA                          CAPPS, VIKI
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CAPPUCCI, BERRY                      CAPPUCCI, MICHAELA                    CAPPUCCIO, NICOLE
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                                                                            730 of 5495
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CAPRARIELLO, ALEXANDRA               CAPRARIO, GABI                        CAPRAROLA, DORETTA
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CAPRETTA, KASSANDRA                  CAPRETTI, DANIELLE                    CAPRETTO, JACQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPRI CREATIVE                       CAPRI CREATIVE                        CAPRIC, ALLMA
1201 E 5TH STREET B                  634 FLAMINGO DRIVE                    ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90013                FORT LAUDERDALE, FL 33301




CAPRIO, JOHN                         CAPRIOTTI, NICOLE                     CAPRIOTTI, R
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPSEY, RACHEL                       CAPSHAW, HANNAH                       CAPTIVATE, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        900 CHELMSFORD ST SUITE 3101
                                                                           LOWELL, MA 01851




CAPUANA, NICOLE                      CAPUANO, KELSEY                       CAPUANO, MARY ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPULA, LUCA GAETANO                 CAPUTO, ALYSSA                        CAPUTO, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAPUTO, ANTHONY                      CAPUTO, GIUSEPPE                      CAPUTO, GRAZIELLA
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CAPUTO, IRENE                        CAPUTO, JOEY                          CAPUTO, LORRAINE
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CAPUTO, MARINA         Case 22-11238-LSS
                                     CAPUTO,Doc  2 Filed 11/30/22
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CAPUTO, STEVEN                       CAPUTO, TAYLOR                        CAPUZZI, MARY LOU
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CAPWELL, STEVIE                      CAPY GOLDFARB, FREESIA                CAR SERVICE TAX
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CARA NIELSEN                         CARA STULL                            CARABAJO, VIVIANA
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CARABALLO, ZULEYKA                   CARABELLI, GIOVANNI                   CARABELLO, COURTNEY
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CARABELLO, KATHRYN                   CARABIN, MARISSA                      CARACCILO, NICHOLAS
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CARACCIOLO, KERRY                    CARACCIOLO, ROSALIE                   CARACIOLO, MARICHEL
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CARAEFF, RIO                         CARAM, ALEXANDER                      CARAMEROS, LYNNE
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CARAMES, HAROLD                      CARANDO, KATHLEEN                     CARANFA, LAURYSSA
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CARANO, DONALD                       CARANO, JESSICA                       CARAOS, WARREN
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CARAVELLO, SCOTT       Case 22-11238-LSS   Doc
                                     CARAVEO,    2 Filed 11/30/22
                                              SANDRA                  Page CARAWAY,
                                                                            732 of 5495
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CARAWAY, COLTIN                      CARAWAY, JIMESHA                      CARAWAY, STEPHANIE
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CARAWAY, STEPHANIE                   CARAWAY, TARITA                       CARAWAY, TAYLOR
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CARAYANNOPOULOS, NICOLAS             CARBAJAL, CARLOS                      CARBAJAL, CARLOS
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CARBAJAL, CHRISTINA                  CARBAJAL, GRACE                       CARBAJAL, KATHRYN
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CARBAJAL, LAUREN                     CARBAJAL, TOM                         CARBALLADA, TOMMY
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CARBALLEIRA, JULIENNE                CARBALLO, MARIO                       CARBALLOSO, SONIA
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CARBAUGH, ISABELLA                   CARBAUGH-DIETER, TONNA                CARBERRY, ALEX
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CARBERRY, ALI                        CARBERRY, EMILY                       CARBERRY, LISA
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CARBINE, MARISSA                     CARBO, PAUL                           CARBON, BRITTANY
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CARBONE, CHRIS                       CARBONE, JAMES                        CARBONE, LAUREN
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CARBONE, RENEE                       CARBONE, STEVE                        CARBONILLA, ROESHENE
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CARBUCCIA, CYNTHIA                   CARBUCCIA, DENISE                     CARCAMO, SEYDAH
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CARCANO, JOSE                        CARCEL, JENNIFER                      CARCHI, ROSANNA
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CARCIERO, JOHN                       CARCIONE, ERIC                        CARCIONE, SABRINA
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CARD, ADRIENNE                       CARD, AMY                             CARD, ANDREAS
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CARDA, HEATHER                       CARDACIN, MELINDA                     CARDAMONE, GABRIELA
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CARDAMONE, LISA                      CARDARELLI, LEAH                      CARDELLA-KOLL, BRENDAN
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CARDEN, KAREN                        CARDEN, KATE                          CARDEN, TERI
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                                     CARDENAS,   2 Filed 11/30/22
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                                                                            734 of 5495
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CARDENAS, ANN                        CARDENAS, AUDRY KARINA                CARDENAS, CARLOS
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CARDENAS, ERIC                       CARDENAS, FRANCISCO                   CARDENAS, ILIANA
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CARDENAS, JENNY                      CARDENAS, KATELYN                     CARDENAS, KATHERINE
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CARDENAS, LILIANA                    CARDENAS, MARY                        CARDENAS, MEAGHAN
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CARDENAS, MELISSA                    CARDENAS, NORMA                       CARDENAS, NORMA
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CARDENAS, OLIMPIA                    CARDENAS, RESTITUTO                   CARDENAS, RICHARD
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CARDER, JENNIFER                     CARDER, KATHERINE                     CARDER, STEVE
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CARDER, TORI                         CARDILE, CRISTINA                     CARDILE, JOHN
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CARDILLO, ALISSAMARIE                CARDILLO, FRANCESCA                   CARDILLO, SARAH
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CARDILLO, TRINA        Case 22-11238-LSS    Doc
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CARDINALE, CHRISTINE                 CARDINALE, JULIE                      CARDINALE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARDINALI, KRISTY                    CARDINALLI, ANDREA                    CARDLYTICS, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        675 PONCE DE LEON AVE NE STE6000
                                                                           ATLANTA, GA 30308




CARDONA, ANTHONY                     CARDONA, DORA                         CARDONA, GABRIELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARDONA, JAMES                       CARDONA, MARIANA                      CARDONA, MARISELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARDONA, NICHOLAS                    CARDONA, SKYE                         CARDONA, SONIA
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CARDONA, STEPHANIE                   CARDONA, WENDY                        CARDONE, AMANDA
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CARDONE, ANTHONY                     CARDONI, ALDO                         CARDONI, GINA
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CARDONICK, MELISSA                   CARDOSI, CAITRIN                      CARDOSI, PAUL
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CARDOSO, DANIELLE                    CARDOZA, CHELSEA                      CARDOZA, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CARDOZA, KARISSA       Case 22-11238-LSS   Doc
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                                                                            736 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARDWELL, JOSHUA                     CARDWELL, LAUREN                      CARDWELL, SHANNON
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CARELLA, JAMES                       CARELLA, JENNA                        CARELLA, KAITLIN
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CARELLA, LOREN                       CARENBAUER, PAULA                     CARERI, BILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARE-SUSOR, STACEY                   CAREW, ANNIE                          CAREW, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAREW, MARYELLEN                     CAREW, RYAN                           CAREW, SUSANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAREY DURRELL                        CAREY, ALEXA                          CAREY, ALEXANDRA
3478 W. 67TH ST.                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90043




CAREY, ALLISON                       CAREY, BRIAN                          CAREY, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CAREY, CHARLES                       CAREY, CHARLES                        CAREY, CHRYS
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CAREY, EVA                           CAREY, GEORGE                         CAREY, ISABELLA
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CAREY, KATHERINE                     CAREY, KELSIE                         CAREY, MADELINE
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CAREY, MADISON                       CAREY, MARGARET                       CAREY, MICHAEL
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CAREY, PATRICK                       CAREY, RACHEL                         CAREY, RACHEL
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CAREY, RACHEL                        CAREY, RAVEN                          CAREY, REBEKAH
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CAREY, SARAH                         CAREY, TAYLOR                         CAREY, THERESA
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CAREY, TINA                          CAREY, TONY                           CAREY, WILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARFAGNA, SKYLA                      CARFAGNO, ANNA                        CARFAGNO, JESSICA
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CARGILE, MATTHEW                     CARGILL, AMANDA                       CARGILL, CLARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARHART, REBECCA                     CARI PETLOVANY                        CARIAS, XOCHITL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CARICO, LLINDSAY       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                            738 ofGIA
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CARIGNAN, ASHLEY                     CARIN, BRIE                           CARINA HALLER
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CARINGI, JULIE                       CARINGI, MADELINE                     CARINI, ANGELA
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CARINO, DANIEL                       CARINO, LOU                           CARINO, MAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARIOTO, DAVID                       CARIOTO, JOHN                         CARIS, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARIS, KELLY                         CARIS, SARA                           CARISELLA, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARISSA LONGSON                      CARISSA SPITZER                       CARISSA, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARITHERS, TAYLOR                    CARL ALEXANDER MINDEN                 CARL BROOKS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARL CHIDESTER II                    CARL MILLER                           CARL RALPH JENSEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARL SPANOGHE                        CARL, ALAJHED                         CARL, CAROL
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CARLA ABBA                            CARLA CABALLERO                       CARLA PRUGUE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLA V SANTIAGO DUXETRANS SERVICES   CARLEN, SAMANTHA                      CARLETON, KELLI
849 S. SHENANDOAH STREET 304          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90035




CARLEY, DANIELLE                      CARLEY, DAWN                          CARLEY, MELISSA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLEY, MELISSA                       CARLIER, ERIKA                        CARLILE, KAYLA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLILE, TRACY                        CARLIN, BRENT                         CARLIN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLIN, ERIN                          CARLIN, GRAINNE                       CARLIN, JULIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLIN, SCOTT                         CARLINI, ANNIE                        CARLINI, DONNA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLINO, ELIZABETH                    CARLINO, SYDNEY                       CARLISLE, AARON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLISLE, BREANNE                     CARLISLE, DEIRDRE                     CARLISLE, ELLEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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                                                                                     LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLISLE, LINDSEY                    CARLISLE, PAUL                        CARLISLE, PHYLLIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLISLE, SHANE                      CARLISLE, SUSAN                       CARLISLE, TONIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLISTA, ALYSON                     CARLO JOHNSON                         CARLO, ANGELO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLO, ANNE                          CARLOCK, KATHRYN                      CARLOCK, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CARLOCK, MAGGIE                      CARLOINA, SU                          CARLOS ALBERTO VILLARREAL MENDEZ
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CARLOS ARISTOTELES SALAS-PORRAS      CARLOS CERVANTES                      CARLOS CORTES
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CAROL LARK                           CAROL MARIE PURDY                    CAROL MUNGAS
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CAROL SMITH                          CAROL SMOKE                          CAROL SUZANNE ISHAK
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CAROL WINDFELDER                     CAROL ZELLERHENDERSON                CAROL, LAUREN
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CAROL, MARTHA                        CAROLAN, MARGARET                    CAROLANN SARACCO
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                                              FLASPOHLER              Page CAROLINE
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                                                                            752 of 5495
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                                     CARPENTER,  2 Filed 11/30/22     Page CARPENTER,
                                                                            753 of 5495
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                                                                               754 of 5495
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CARR, ANTOINETTE                        CARR, ASHANTE                         CARR, ASIA
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CARR, BAILEY                            CARR, BETH                            CARR, BETH
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CARR, BRETT            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CARR, CAITLIN                    Page CARR,
                                                                            755 of 5495
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CARR, CATHERINE                      CARR, CHASE                           CARR, CHERI
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CARR, CRISTIN                        CARR, DEBBIE                          CARR, DEBRA
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CARR, ELIZABETH                      CARR, ERIN                            CARR, ERIN
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CARR, FREDRICK                       CARR, GEORGYANN                       CARR, GORDON
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CARR, GRACYN                         CARR, ISABELLA                        CARR, JENNIFER
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CARR, JOSEPH                         CARR, KARA                            CARR, KELLY
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CARR, KELSEY                         CARR, KERRY                           CARR, KEVIN
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CARR, KHAKI                          CARR, LATOYA                          CARR, LEAANN
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CARR, LERUE                          CARR, LYNNE                           CARR, MCKENSIE
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CARR, MELISSA          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CARR, MEREDITH                   Page CARR,
                                                                            756 of  5495
                                                                                 MICHAEL
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CARR, MIESHA                         CARR, NANCY-JANE                      CARR, NANDEE
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CARR, NATALIE                        CARR, OLGA                            CARR, PAUL
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CARR, WILLIAM                        CARRACCIA, KRISTINA                   CARRAFIELLO, GABRIELLA
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                                     CARRASCO,   2 Filed 11/30/22
                                               CIELO                  Page CARRASCO,
                                                                            757 of 5495
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CARRERO, RAMON         Case 22-11238-LSS    Doc
                                     CARRETE, IVY 2  Filed 11/30/22   Page CARRETTA,
                                                                            758 of 5495
                                                                                     LAUREN
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CARRIER, SUSAN         Case 22-11238-LSS
                                     CARRIER,Doc  2 Filed 11/30/22
                                              VICTORIA                Page CARRIERE,
                                                                            759 of 5495
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                                     CARRINGTON, 2 Filed 11/30/22     Page CARRINGTON,
                                                                            760 of 5495WINSLOW
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                                     CARROLL,     2 Filed 11/30/22
                                              ELLERETTA               Page CARROLL,
                                                                            761 of 5495
                                                                                    EMILY
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CARROLL, MELANIE       Case 22-11238-LSS    Doc
                                     CARROLL,    2 Filed 11/30/22
                                              MELANNA                 Page CARROLL,
                                                                            762 of 5495
                                                                                    MICHAEL
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CARROLL-BOLGER, LAUREN               CARROLL-SWANGER, MICHAEL              CARROLL-TANSEY, RANDI
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CARRON, DENISE         Case 22-11238-LSS
                                     CARROS,Doc  2 Filed 11/30/22
                                            VICTORIA                  Page CARROTHERS,
                                                                            763 of 5495NATHANIEL
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CARROTHERS, NICHOLAS                 CARROZZA, CHRISTINE                   CARROZZA, DANIEL
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CARROZZA, ROCCO                      CARR-SHARPE, CATHLEEN                 CARRUTH, MARTHA
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CARRUTHER, GERARD                    CARRY, EMILY                          CARRY, UGANDA
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CARSEN, ANNA                         CARSNER, JAMES                        CARSON LEE
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CARSON, ANDREW                       CARSON, BRITNI                        CARSON, BRITTNI
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CARSON, JEAN                         CARSON, JODELL                        CARSON, KATHY
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CARSON, KEISHA                       CARSON, KEYLA                         CARSON, MARIA
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CARSON, MAUREEN                      CARSON, ROB                           CARSON, STASIA
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CARSON, TANA                         CARSON, TIFFANY                       CARSON, WILLIAM
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                                                                           764 of 5495VICTOR
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CARSTEN, BETH                       CARSTENS, LORRAINE                    CARSTENSEN, ERIN
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CARSTENSEN, PAIGE                   CARSWELL, TRAVIS                      CARTA, KARLA
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CARTA, MARION-JO                    CARTAGENA, ANDRE                      CARTAINO, SAMANTHA
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CARTE, ELIZABETH                    CARTEE, DONNA                         CARTEL WINE
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CARTER MCKINNEY, SHANI              CARTER PRICE                          CARTER ROMAN
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CARTER, ADAM                        CARTER, ALEXANDRA                     CARTER, ALEXANDRA
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CARTER, ALEXANDRIA                  CARTER, ALICE                         CARTER, ALICIA
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CARTER, ANDREA                      CARTER, ANDY                          CARTER, ANISHA
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CARTER, ARIEL          Case 22-11238-LSS
                                     CARTER, Doc 2 Filed 11/30/22
                                             ASHLEY                   Page CARTER,
                                                                            765 of ASHLEY
                                                                                   5495
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CARTER, DANA                         CARTER, DANIELLE                      CARTER, DAVE
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CARTER, DEBORAH                      CARTER, DEMARVELOUS                   CARTER, DEVIN
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                                     CARTER, Doc
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                                                                            766 of EMILY
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CARTER, KRIS           Case 22-11238-LSS
                                     CARTER, Doc  2 Filed 11/30/22
                                             KRISTEN                  Page CARTER,
                                                                            767 of KRISTIN
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CARTER, NIKKI          Case 22-11238-LSS
                                     CARTER, Doc
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                                                                            768 of PAULETTE
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CARTER, TRENNETTA                    CARTER, VADIM                         CARTER, VALERIE
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CARTER, VICTORIA       Case 22-11238-LSS
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CARTER, WES                          CARTER, WESLEY                        CARTER, WHITNEY
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CARTHERN, BREANNA                    CARTIER, MACKENZIE                    CARTIER, MEGAN
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CARTIER, TIFFANY                     CARTIN, DENISE                        CARTINO, LAURA
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CARTLEDGE, RACHEL                    CARTLIDGE, KATHERINE                  CARTMEL, KRISTINA
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CARTMILL, LEE                        CARTWRIGHT, ALEXANDRA                 CARTWRIGHT, ANDREW
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CARTWRIGHT, ANDY                     CARTWRIGHT, ASHLEY                    CARTWRIGHT, BAILEY
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CARTWRIGHT, DOUGLAS                  CARTWRIGHT, JESS                      CARTWRIGHT, KATIE
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CARTWRIGHT, KELLY                    CARTWRIGHT, KELLY                     CARTWRIGHT, LEROY
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CARTWRIGHT, MEG                      CARTWRIGHT, TONY                      CARTWRIGHT, VICTORIA
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CARTWRIGHT, ZACK       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CARTY, CATHERINE                 Page CARTY,
                                                                            770 ofCHRISTINE
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CARTY, JOHN                          CARTY, KELLY                          CARTY, LAURIE
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CARTY, MONET                         CARUCCI, COURTNEY                     CARUMBA, JUSTIN
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CARUSO, ANN                          CARUSO, CHERYL                        CARUSO, CHRIS
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CARUSO, CHRISTOPHER                  CARUSO, DEANNA                        CARUSO, EMANUELA
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CARUSO, ERIN                         CARUSO, EVAN                          CARUSO, GIOVANNA
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CARUSO, JANE                         CARUSO, JENNIFER                      CARUSO, JUDY
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CARUSO, KIM                          CARUSO, LYNN                          CARUSO, MARY
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CARUSO, MATT                         CARUSO, MICHELLE                      CARUSO, MOLLY
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CARUSO, RICHARD                      CARUSO, SHANNON                       CARUSO, SHELLEY
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CARUSO, SONDRA         Case 22-11238-LSS
                                     CARUSO,Doc  2 Filed 11/30/22
                                            STACEY                    Page CARUSO,
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CARUSO, SUZANNE                      CARUSO, VICTORIA                      CARUSONE, ANDREW
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CARUSONE, NICOLE                     CARUTHERS, KELLI                      CARVAJAL MAHECHA, MARIA LAURA
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CARVAJAL, MARGARITA                  CARVAJAL, NATHALY                     CARVAJAL, NOEMI
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CARVAJAL, PRISCILLA                  CARVALHO, AMY                         CARVALHO, CAROLINE
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CARVALHO, EVANDRO                    CARVALHO, JON                         CARVALHO, MARTIN
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CARVALHO, MIGUEL                     CARVALHO, PETER                       CARVER, CAMERON
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CARVER, CARLY                        CARVER, JENNIFER                      CARVER, JENNY
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CARVER, JESSIE                       CARVER, LACEY                         CARVER, LISE
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CARVER, LORRAINE                     CARVER, MEAGAN                        CARVER, MELISSA
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CARVER, RACHEL         Case 22-11238-LSS
                                     CARVER,Doc  2 Filed 11/30/22
                                            STEVEN                       Page CARVER,
                                                                               772 of TAMARA
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CARVER, TARA                            CARWILE, THOMAS                       CARY LIU
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CARY WIENER                             CARY, ALEX                            CARY, ALISHA
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CARY, BERISHA                           CARY, CHRIS                           CARY, JOHN
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CARY, MELISSA                           CARY, MORGAN                          CARY, RACHAEL
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CARY, STACY                             CARYL J GUTH REVOCABLE TRUST          CARYN LIEBER
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CARYN ROGERS                            CASA BECKER, INC.                     CASA, VINCENT
ADDRESS AVAILABLE UPON REQUEST          3118 17TH STREET                      ADDRESS AVAILABLE UPON REQUEST
                                        SANTA MONICA, CA 90405




CASA.COM                                CASABONA, LAUREN                      CASABONA, TRISHA
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CASACCIA, ROXANN                        CASADEVALL, MELISSA                   CASADO, COREY
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CASADO, CRYSTAL                         CASADY, AMANDA                        CASAGRAND, TINA
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                       Case 22-11238-LSS
CASAGRANDE MARTINELLI, JOAO                Doc 2
                                     CASAGRANDE, GARYFiled 11/30/22   Page CASAGRANDE,
                                                                            773 of 5495PEGGY
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CASALE, CECILIA                      CASALE, JANE                          CASALE, JULIE
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CASALE, LAUREN                       CASALE, MARINA                        CASALE, MARY
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CASALE, MELISSA                      CASALE, ROSSANA                       CASALI, JACK
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CASALI, MATTHEW                      CASALI, TIFFANY                       CASALINI, ROSEANN
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CASALMIR, TRICIA                     CASALY, SHARYN                        CASAMENTO, JERYL
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CASANAS, VINNIE                      CASANOVA, INES                        CASANOVA, KELLY
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CASANOVA, MICHELLE                   CASANOVA, PAM                         CASAR, JENNA
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CASARELLA, AMY                       CASAREZ, ALEXANDRA                    CASAREZ, AUBREY
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CASAREZ, BETHANY                     CASAREZ, DENISE                       CASAREZ, ELISE
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CASAREZ, FELICIA       Case 22-11238-LSS    Doc
                                     CASAREZ,    2 Filed 11/30/22
                                              MADISON                 Page CASAS,
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CASAS, AMBER                         CASAS, CARELY                         CASAS, KATHY
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CASAS, KIMBERLY                      CASAS, MARIANNE                       CASAS, SHANNON
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CASAVANT DEFLUMERE, KATIE            CASAZZA, CHRISTOPHER                  CASAZZA, ERINN
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CASAZZA, MICHAEL                     CASBERG, SYLVIA                       CASBY, BLANDA
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CASCADIA CAPITAL LLC                 CASCANETT, ANN                        CASCINO, LINDSAY
1000 2ND AVE, SUITE 1200             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEATTLE, WA 98104




CASCIO, JENNIFER                     CASCIO, SARAH                         CASCO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CASCOS, ANDREA                       CASE, ALYSSA                          CASE, AMANDA
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CASE, BRIAN                          CASE, BRIANNA                         CASE, JENNIFER
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CASE, JENNIFER                       CASE, KARLA                           CASE, KATHLEEN
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CASE, KATHLEEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CASE, KIM                              Page CASE,
                                                                                  775 of 5495
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CASE, MARTHA                            CASE, RACHEL                             CASE, RAMONA
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CASE, ROBIN                             CASE, STACY                              CASE, TAMMY
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CASE, TRICIA                            CASEBEER, SALLY                          CASEL, CRYSTAL
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CASEL, LINDSAY                          CASELDEN, KIMBERLY                       CASELLA, COLEEN
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CASELLA, CRISTINA                       CASELLA, MARISSA                         CASELLI, FRANCESCA
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CASELTON, KELLY                         CASESTACK, INC.                          CASESTACK, INC.
ADDRESS AVAILABLE UPON REQUEST          3000 OCEAN PARK BLVD., SUITE 1000        ACCOUNTS RECEIVABLE
                                        SANTA MONICA, CA 90405                   FILE 51030
                                                                                 LOS ANGELES, CA 90074-1030




CASEY CORBETT                           CASEY DRENGLER                           CASEY ELLIOTT
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CASEY FLAT RANCH                        CASEY LOVELACE                           CASEY WINCHESTER RHEA
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CASEY, AMBER                            CASEY, AVANI                             CASEY, BETH
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CASEY, BRIER           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CASEY, CARMEN                    Page CASEY,
                                                                            776 ofCHRISTOPHER
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CASEY, CLARE                         CASEY, COLLEEN                        CASEY, DEBI
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CASEY, DONAL                         CASEY, ELIZABETH                      CASEY, EMILY
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CASEY, EMILY                         CASEY, ERIN                           CASEY, HANNAH
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CASEY, JACKY                         CASEY, JAIME                          CASEY, JENNIFER
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CASEY, JESSICA                       CASEY, JOANNE                         CASEY, JOHN
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CASEY, KATHLEEN                      CASEY, KELSEY                         CASEY, KENYA
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CASEY, KIANA                         CASEY, KIM                            CASEY, LAUREN
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CASEY, LAUREN                        CASEY, LEAH                           CASEY, LISA
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CASEY, MARESE                        CASEY, MARIA                          CASEY, MARY
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CASEY, MARY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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CASEY, PATRICIA                      CASEY, RACHEL                         CASEY, RYAN
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CASEY, SAM                           CASEY, SHANNON                        CASEY, SINEAD
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CASEY, STEPHEN                       CASEY, SUE                            CASEY, TJ
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CASEY, WARREN                        CASEY, WENDY                          CASH JORDAN
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CASH, BONNIE                         CASH, BRENDA                          CASH, CHARLES
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CASH, CRYSTAL                        CASH, EMILY                           CASH, JAY
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CASH, JESSICA                        CASH, JOEY                            CASH, KAITY
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CASH, KATHY                          CASH, LORI                            CASH, MARY
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CASH, RODNEY OR KIM                  CASH, SHANNON                         CASH, SIDONIE
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CASHA DOEMLAND         Case 22-11238-LSS   Doc WAYNE
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                                                                            778 of COURTNEY
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CASHEL, MARIE                        CASHEN, JOSEPH                        CASHIN, DANNY
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CASHIN, JAMES                        CASHIN, JESSICA                       CASHION, AUBREY
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CASHION, SARAH                       CASHMORE, SHIVANI                     CASHWELL, RONALD
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CASIANO, CHARLIN                     CASIAS, ALLISON                       CASIAS, ANGELA
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CASIDSID, KAREN                      CASILE, SARAH                         CASILLAN, ROHANEE
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CASILLAS, KATHERINE                  CASILLAS, LETICIA                     CASIMIR, GEORGETTE
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CASINADER, JENNIFER                  CASINATHEN, DHARSHINI                 CASINI, ANTHONY
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CASINI, BRITTNEY                     CASKEY, COLLEEN                       CASKEY, DEBRA
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CASKEY, EMMA                         CASKS & CORKS LLC                     CASLER, HEATHER
ADDRESS AVAILABLE UPON REQUEST       1600 NORTH A AVE                      ADDRESS AVAILABLE UPON REQUEST
                                     SIOUX FALLS, SD 57104
CASLER, NATHAN         Case 22-11238-LSS
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CASNE, THOMAS                        CASNER, ANN MARIE                     CASNER, ZEYNEP
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CASON, HANNAH                        CASON, KRISTI                         CASON, SYLVIA
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CASORIO, JOSEPH                      CASPARIAN, PETER                      CASPARIUS, LISA
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CASPER, ANNETTE                      CASPER, ASH                           CASPER, CAROLYN
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CASPER, KATELYND                     CASPER, LAURA                         CASPER, MEGAN
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CASPER, REAGAN                       CASPI, NOA                            CASS, ALEX
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CASS, BLAKE                          CASS, CHADWICK                        CASS, CODI
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CASS, EDWARD                         CASS, SUSANNA                         CASSADAY, STEVE
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CASSADEE POPE ENTERPRISES LLC        CASSADY, BRIANNA                      CASSADY, JENNIFER
72 LYLE LANE                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NASHVILLE, TN 37210
CASSADY, KRISTAN       Case 22-11238-LSS   DocBOOM
                                     CASSANDRA   2 Filed 11/30/22     Page CASSANDRA
                                                                            780 of 5495
                                                                                     CARD
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CASSANDRA NORRIE MCGOWON             CASSANDRA ROSE                        CASSANDRO, RACHEL
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CASSANO, JOSEPH                      CASSANO, MARGE                        CASSANO, OLIVIA
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CASSAR, KRISTIN                      CASSAR, MICHELLE                      CASSARAS, GINGER
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CASSARINO, CHRIS                     CASSARO, LISA                         CASSATA, HEAVEN
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CASSEL, ASHLEY                       CASSEL, JESSICA                       CASSEL, JILL
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CASSEL, KAITLYN                      CASSEL, SARAH                         CASSELL, ALEXANDER
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CASSELL, CARIMA                      CASSELL, JOANN                        CASSELL, KATHERINE
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CASSELMAN, JENNIFER                  CASSELS, JOSEPH                       CASSENS, JEFFREY
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CASSERA, PAMELA                      CASSERO, TONY                         CASSETTA, KATIE
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CASSETTE, SARAH        Case 22-11238-LSS    Doc
                                     CASSEUS, MAKI2  Filed 11/30/22      Page CASSI
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CASSIA                                  CASSIDA, STACEY                       CASSIDY, ANDREW
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CASSIDY, BRETT                          CASSIDY, BRIANNE                      CASSIDY, JANICE
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CASSIDY, JEFFREY                        CASSIDY, KAITLYN                      CASSIDY, KIMBERLY
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CASSIDY, KRYSTYN                        CASSIDY, LINDA                        CASSIDY, LISA
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CASSIDY, MAURA                          CASSIDY, MICHELLE                     CASSIDY, NANCY
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CASSIDY, SHANNON                        CASSIDY, SHARON                       CASSIDY, SHERILYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CASSIDY, TERRY                          CASSIE CAROLAN                        CASSIE LATHAM
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CASSIE LETHIN                           CASSIE ROSE                           CASSIE STOLL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CASSIE TOLMASOFF                        CASSILLY, HELENA                      CASSIN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CASSIN, KIMBERLY       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CASSIO, MARISSA                  Page CASSLING,
                                                                            782 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CASSOL, LUCAS                        CASSON, JEAN                          CASSON, MICHELLE
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CASSOTTA, JULIE                      CASSTEVENS, AMY                       CASSTEVENS, SUSAN
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CASSUTT, STACIE                      CAST, ALYSSA                          CAST, BRITANNY
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CAST, CYN                            CASTAGNA, JENNA                       CASTAGNETTA, BLAIR
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CASTALDO, DEBBIE                     CASTALDO, LISA                        CASTALDO, LISA
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CASTALDO, VINCE                      CASTALINE, MICHELLE                   CASTANEDA, CARLOS
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CASTANEDA, CARLOS                    CASTANEDA, DOLORES                    CASTANEDA, JAVIER
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CASTANEDA, JESSICA                   CASTANEDA, LORI                       CASTANEDA, RANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CASTANEDA, STEPHANIE                 CASTANEDA, ZENIA                      CASTANET, MORGAN
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CASTANON, RHIANNON     Case 22-11238-LSS    Doc
                                     CASTBERG,   2 Filed 11/30/22
                                               CRYSTAL                Page CASTEEL,
                                                                            783 of 5495
                                                                                    HOLLIE
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CASTEEL, MAKENZY                     CASTEELE, BRITTNEY216                 CASTELAZ, LEAH
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CASTELEYN, KIMBERLY                  CASTELHANO, JASON                     CASTELLANE, NICHOLAS
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CASTELLANI, ALYSSA                   CASTELLANI, JARED                     CASTELLANO, ALEXANDRIA
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CASTELLANO, CARLA                    CASTELLANO, COURTNEY                  CASTELLANO, CYNTHIA
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CASTELLANO, KRYSTAL                  CASTELLANO, PATRICIA                  CASTELLANO, VICTORIA
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CASTELLANOS, BEATRIZ                 CASTELLANOS, CAROLINA                 CASTELLANOS, CINDY
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CASTELLANOS, LUISA                   CASTELLANOS, MARGARET                 CASTELLANOS, MARINA
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CASTELLINO, MARINA     Case 22-11238-LSS    Doc
                                     CASTELLO,   2 Filed 11/30/22
                                               AMBER                  Page CASTELLO,
                                                                            784 of 5495
                                                                                     ANITA
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CASTELLO, CASEY                      CASTELLO, CHRISSY                     CASTELLOE, MARY LAUREN
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CASTELLON, DIANA                     CASTELLON, JENNIFER                   CASTELVECCHI, WANDA
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CASTI, CAITLIN                       CASTIELLO, SUSANNA                    CASTIGLIA, ROBERT
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CASTILLO, ANNALYSSE                  CASTILLO, ASHLEY                      CASTILLO, BRIDGET
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CASTILLO, CRISTINA     Case 22-11238-LSS     Doc
                                     CASTILLO,    2 Filed 11/30/22
                                               CYNTHIA                Page CASTILLO,
                                                                            785 of 5495
                                                                                     EMILY
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CASTILLO, OLGA                       CASTILLO, SARAH                       CASTILLO, SHARON
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CASTILLO, TONY         Case 22-11238-LSS     Doc
                                     CASTILLO,     2 Filed 11/30/22
                                               VELIA                  Page CASTILLO,
                                                                            786 of 5495
                                                                                     WILLIAM
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CASTNER, MARY                        CASTO, JUDY                           CASTODIO, ERNEST
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CASTOIRE, DAVID                      CASTONGUAY, ADRIANNA                  CASTONGUAY, ANGELA
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CASTONGUAY, MICHELLE                 CASTOR, JENNIFER                      CASTOR, LISCHNA
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CASTORENO, MARILYNN    Case 22-11238-LSS
                                     CASTORODoc   2 Filed
                                              BOTTLING     11/30/22
                                                       COMPANY        Page CASTREJON,
                                                                            787 of 5495
                                                                                      JULISSA
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CASTRILLI, MIKE                      CASTRILLON, FERNANDO                  CASTRILLO-VIGUERA, CARMEN
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CASTRO DEL RIO, ALIOSHA              CASTRO, ADA                           CASTRO, ADRIANA
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CASTRO, ALEXANDRA                    CASTRO, BRIAN                         CASTRO, CARLA
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CASTRO, CARMENZA                     CASTRO, CASSANDRA                     CASTRO, CHARLENE
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CASTRO, CHARLOTTE                    CASTRO, CHRISTIAN                     CASTRO, CHRISTINA
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CASTRO, CRYSTAL                      CASTRO, DAGO                          CASTRO, DANIEL
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CASTRO, DANIEL                       CASTRO, ERNIE                         CASTRO, GENESIS
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CASTRO, GREGORY                      CASTRO, JAVIER                        CASTRO, JOHN
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CASTRO, JOHN                         CASTRO, KAITLYN                       CASTRO, KARLA
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CASTRO, KATHERINE      Case 22-11238-LSS
                                     CASTRO,Doc
                                            KELLY2   Filed 11/30/22   Page CASTRO,
                                                                            788 of KIARA
                                                                                   5495
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CASTRO, KRISTY                       CASTRO, KRYSTAL                       CASTRO, LAUREN
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CASTRO, LENNY                        CASTRO, LORY                          CASTRO, MARIA
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CASTRO, MARION                       CASTRO, MICHAEL                       CASTRO, MILAGROS
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CASTRO, NOELLE                       CASTRO, PATRICIA                      CASTRO, PAUL
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CASTRO, SAMANTHA                     CASTRO, SARA                          CASTRO, STEPHANIE
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CASTRO, SUNNY                        CASTRO, SWITZLEONE                    CASTRO, TANIA
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CASTRO, VERONICA                     CASTRO, VICTOR                        CASTRO, VIRGINIA
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CASTRO, WENDY                        CASTRO, YACETTY                       CASTROGIOVANNI, MORGAN
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CASTROP, BILLIE                      CASTROP, KATIE                        CASTRUITA, DANIRL
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CASUAL SPORTSWEAR      Case 22-11238-LSS    Doc
                                      CASUBOLO,    2 Filed 11/30/22
                                                LISA                   Page CASUCCIO,
                                                                             789 of 5495
                                                                                      KAYLAH
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CASUTT VON BATEMBERG, CECILE         CASWELL, DESTINY                       CASWELL, JAMON
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CATAIN, KRISTINA                     CATALA, OLGA                           CATALAN, EMILY
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CATALANI, CARICIA                    CATALANO, ADRIENNE                     CATALANO, ALISON
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CATALANO, BETHANY                    CATALANO, COURTNEY                     CATALANO, KATHERINE
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CATALANO, LISA                       CATALANO, NICHOLAS                     CATALANO, SONDRA
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CATALANO, SUSAN                      CATALDI, DANIELLE                      CATALDI, DOMINIC M.
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CATALDI, JAMES                       CATALDO, AMELIA                        CATALDO, BEVERLY
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CATALDO, CHRISTINA                   CATALDO, HANNAH                        CATALDO, KRISTIN
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CATALDO, SUE                         CATALDO-QUINN, JACKIE                  CATALFAMO, FRANK
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CATALON, STACY         Case 22-11238-LSS
                                     CATANA, Doc  2 Filed 11/30/22
                                             ADRIANA                     Page CATANDELLA,
                                                                               790 of 5495SANDRA
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CATANESE, DEBORAH                       CATANIA, ALLY                         CATANIA, DANA
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CATANIA, DOMONIQUE                      CATANIA, KIM                          CATANZARO, CHRISTINE
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CATANZARO, RIANA                        CATANZARO, SAMANTHA                   CATAPANO, JULIANNA
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CATARISANO, AVIANA                      CATAROZOLI, SARA                      CATAVOLO, CHERYL
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CATAVOLOS, LINDSAY                      CATBAGAN, WENDY                       CATCH AND RELEASE
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CATCHINGS, CHARAN                       CATE, MARY                            CATE, SARAH
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CATEDRAL, HANS                          CATELLO, DANA                         CATER, MARIAH
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CATES, GAYLE                            CATES, GLENDA                         CATES, MARGARET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CATES, NINA            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CATES, REBECCA                   Page CATES,
                                                                            791 ofTANDI
                                                                                    5495
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CATES, TERESA                        CATES, WENDY                          CATHALIFAUD, MAURICE
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CATHARINA J BROADFOOT                CATHELL, RALPH                        CATHER, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CATHERINE BLOXSOM                    CATHERINE CAMPBELL                    CATHERINE DAVIS
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CATHERINE F DUFF                     CATHERINE GEHRINGER                   CATHERINE GRANT
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CATHERINE GREY                       CATHERINE HARKINS                     CATHERINE KUO
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CATHERINE LOUISE TOMEZSKO            CATHERINE M RHOADES                   CATHERINE O HARA
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CATHERINE ROMMELFANGER               CATHERINE SOULE                       CATHERINE TRAN FELLOWS
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CATHERINE VIGNONA                    CATHERINE VON ALST                    CATHERINE, ANNE
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CATHERS, KAYLA                       CATHERWOOD, ELIZABETH                 CATHEY, ALYSSA
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CATHEY, AUSTIN         Case 22-11238-LSS
                                     CATHEY, Doc 2 Filed 11/30/22
                                             HEATHER                  Page CATHEY,
                                                                            792 of SHANNON
                                                                                   5495
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CATHIE HICKS                         CATHIE                                CATHLEEN M BROWN
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CATHLEEN, COURTNEY                   CATHY FULLER                          CATHY GOLDSMITH
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CATHY HORTON                         CATHY JONES                           CATHY NEILL
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CATHY, GROVE,                        CATHY, SANDRA                         CATIE RITACCO
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CATILLAZ, MARIE                      CATINGUB, JESSICA                     CATINO, ANNE
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CATINO, CAROLINE                     CATLETT, CHRISTINE                    CATLETT, MICHAEL
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CATLIN, AMY                          CATLIN, MEGAN                         CATLYNN CABRAL
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CATO, SAMANTHA                       CATO, SARAH                           CATOE, ANNA
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CATOIRE, BRANDI                      CATON, BONNIE                         CATON, KATHRYN
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CATON, KORINE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CATON, LARRY                     Page CATON,
                                                                            793 ofMARCIA
                                                                                   5495
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CATON, MICHAEL                       CATON, RUBY                           CATRESE HILL KILGORE
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CATRILLO, DANIELLE                   CATRINA BLAKE                         CATRON, ERIN
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CATRY, UGO                           CATSOULES, VICTORIA                   CATTANACH, JAKE
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CATTANEO, ASHLEY                     CATTANEO, COURTNEY                    CATTARULLA, ELLIOT
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CATTERSON, KRISTIN                   CATTET, ANTHONY                       CATTINY, MARY
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CAUDEL, LACY                         CAUDELL, NATHANIEL                    CAUDILL, CHRIS & TIFFANY
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CAUDILL, JEFF                        CAUDILL, MARK                         CAUDILL, SAMANTHA
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CAUDILL, TRACI                       CAUDILLO, LAINE                       CAUDLE, AMELIA
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CAUDLE, JESSIE         Case 22-11238-LSS    Doc
                                     CAUDULLO,   2 Filed 11/30/22
                                               YVONNE                 Page CAUGHENBAUGH,
                                                                            794 of 5495 ERIC
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CAUGHLIN, TARA                       CAUGHRAN, FELICITY                    CAUL, KRISTINA
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CAULDER, ALYSON                      CAULEY, CELESTE                       CAULEY, DARCY
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CAULEY, JOANNE                       CAULEY, SANDRA                        CAULFIELD, CAITLIN
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CAULFIELD, KATHERINE                 CAULK, SHELBY                         CAULKINS, DERICK
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CAUM, MICHAEL                        CAUSBIE COWGILL, SUSAN                CAUSEY GREGORY, KARA
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CAUSEY, BRENT                        CAUSEY, LESLIE                        CAUSEY, RYAN
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CAUTELA, JULIA                       CAUTHON, MONICA                       CAUTHORNE, EMILY
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CAVALERI, ASHLEY                     CAVALIER, ALEXANDRA                   CAVALIER, SHARON
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CAVALIERI, KRISTEN                   CAVALLARO, ALICIA                     CAVALLARO, ANGELA
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CAVALLARO, DEB         Case 22-11238-LSS    DocVIRGINIA
                                     CAVALLETTI, 2 Filed 11/30/22     Page CAVALLINI,
                                                                            795 of 5495
                                                                                      ANASTASIA
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CAVALLO, BRANDI                      CAVALLO, TOM                          CAVAN, JUSTINE
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CAVANAGH, JOHN                       CAVANAGH, KATIE                       CAVANAGH, KELLY
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CAVANAGH, PAUL                       CAVANAGH, WENDY                       CAVANAUGH, AMY
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CAVANAUGH, ASHLEIGH                  CAVANAUGH, BRITTANY                   CAVANAUGH, CAITLIN
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CAVANAUGH, CHRIS                     CAVANAUGH, DEREK                      CAVANAUGH, ELIZABETH
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CAVANAUGH, EMILY                     CAVANAUGH, JENNIFER                   CAVANAUGH, JESS
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CAVANAUGH, KATE                      CAVANAUGH, LINDA                      CAVANAUGH, LINDSAY
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CAVANAUGH, MAKENNA                   CAVANAUGH, MATT                       CAVANAUGH, MELISSA
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CAVANAUGH, NICOLE                    CAVATAIO, BIANCA                      CAVATAIO, N.SAMANTHA
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CAVATONI, JOSEPH       Case 22-11238-LSS    Doc
                                     CAVAZOS,     2 Filed 11/30/22
                                              CRISTINA                Page CAVAZOS,
                                                                            796 of 5495
                                                                                    ELOY
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CAVAZOS, HANNAH                      CAVE, GEORGIANA                       CAVE, KORINA
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CAVE, LATOYA                         CAVE, M                               CAVE, ZOE
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CAVEDON, DANA                        CAVEN, JULIET                         CAVEN, MICHAL
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CAVENDER, LESLIE                     CAVENDER, MIKE                        CAVENDER, ROBYN
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CAVENDISH, SHANNON                   CAVERLY, CATHERINE                    CAVERS, ADAM
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CAVESDEAL, MICHELLE                  CAVEY, RALEIGH                        CAVEZZA, JENNIFER
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CAVIANI, CARRIE                      CAVIAR, GINA                          CAVIGLIANO, DOREEN
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CAVIGNAC, BERKELEY                   CAVIN, ALLISON                        CAVIN, DANIEL
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CAVINESS, CHRISTIN                   CAVINTA, ALMARIE                      CAVISTON, RYAN
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CAVOTO, SUSAN                        CAVRAK, DEB                               CAVRAK, SUSAN
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CAVUOTO, JESSICA                     CAWLEY, JEN                               CAWLEY, MATTHEW
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CAWLEY, MAYA                         CAWLEY, MICHELLE                          CAWLEY, NATALIE
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CAWLEY, NICOLE                       CAWLEY, RICHARD                           CAWLEY, TESSA
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CAWLFIELD, TARYN                     CAWOSKI, HANNAH                           CAWS, JASON
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CAWTHON, JOSHUA                      CAWTHON, MARC                             CAWTHRON, ELISABETH
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CAYA, BRYNN                          CAYANAN, NESTOR                           CAYARD, ANNETTE
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CAYETANO, ZOE AIYANNA                CAYETANO, ZOE AIYANNA                     CAYIA, PENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CAYLOR, JANET                        CAYMAN SPIRITS CO                         CAYON, MALLORY
ADDRESS AVAILABLE UPON REQUEST       C/O SEABOARD MARINE CAYMAN SPIRITS        ADDRESS AVAILABLE UPON REQUEST
                                     CO. WR
                                     8001 NW 79 TH AVENUE
                                     MIAMI, FL 33166
CAYS, KRISTINE         Case 22-11238-LSS
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CAYWOOD, BONNIE                            CAZABON, SARAH                           CAZARES RODDY, BRIANNA
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CAZARES, JOCELYN                           CAZARES, JOSE                            CAZARES, MIZADA
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CAZAUDUMEC, DIANA                          CAZAUDUMEC, DIANA                        CAZZOLLI, DAVA
ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CAZZORLA, ANNAMARIA                        CBC IMPORTS (CALMONT BEVERAGE)           CBC JOINT VENTURES PARTNERS
ADDRESS AVAILABLE UPON REQUEST             308 INDUSTRIAL LANE                      ADDRESS UNAVAILABLE AT TIME OF FILING
                                           BARRE, VT 05641




CBI PARALLELS                              CBKUSA ELECTRONICS                       CBRE, INC.
ADDRESS UNAVAILABLE AT TIME OF FILING      ADDRESS UNAVAILABLE AT TIME OF FILING    PO BOX 740935
                                                                                    LOCATION CODE 2187
                                                                                    LOS ANGELES, CA 90074-0935




CBS RADIO INC. (CBS RADIO DIGITAL SALES)   CBTL TERMINAL                            CCF ALLA OWNER, LLC
1271 AVENUE OF THE AMERICAS, 44TH          ADDRESS UNAVAILABLE AT TIME OF FILING    11777 SAN VICENTE SUITE 650
FLOOR                                                                               LOS ANGELES, CA 90049
NEW YORK, NY 10020




CCF PS ALLA OWNER LLC                      CCF PS ALLA OWNER LLC                    CCROUCH, JASON
C/O CANYON CAPITAL REALTY ADVISORS         C/O PACSHORE PROPERTIES LLC              ADDRESS AVAILABLE UPON REQUEST
ATTN MARIA STAMOLIS                        ATTN BRIAN ABBOTT
2000 AVE OF THE STARTS, 11TH FL            11999 SAN VINCENTE BLVD, STE 220
LOS ANGELES, CA 90067                      LOS ANGELES, CA 90049



CD HOLDING AS                              CDFA 90295                               CEARLEY EARNEST, JANDA
ADDRESS AVAILABLE UPON REQUEST             1220 N STREET                            ADDRESS AVAILABLE UPON REQUEST
                                           SACRAMENTO, CA 95814




CEARLEY, CALVIN                            CEARLEY, NICK                            CEASAR, ESTER LINDA
ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
CEASER, AYANA          Case 22-11238-LSS    Doc
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CEBOTARI, SOFIA AND IVAN                CEBULA, BRITTANY                      CEBULLA, KANDACE
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CEBULSKI, LAUREL                        CECALA, BRIANNA                       CECAVA, KATHRYN
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CECCHI, DILLON                          CECCHINI, KIM                         CECCOLA, SARAH
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CECCONIS                                CECERE, FELICIA                       CECERE, GAETANO
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CECH, STEVEN                            CECIL, ALEX                           CECIL, ALEXANDER
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CECIL, EMMA                             CECIL, JOHN                           CECIL, JORDAN
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CECIL, KATE                             CECILE LOWREY                         CECILE SHELLMAN
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CECILIA FANNING MITCHELL                CECILIA OGUDE                         CECILIA ORZECHOWSKI
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CECILIA OSORIO RANGEL                   CECILIA WILLIAMS                      CECILIANI, RYAN
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CECOTT, CHARLES        Case 22-11238-LSS
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CEDAR GRAPHICS                          CEDAR, EMMA                               CEDAR, SUSAN
311 PARSONS DRIVE                       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
HIAWATHA, IA 52233




CEDARS, RYAN                            CEDE & CO (FAST ACCOUNT)                  CEDENO, BRIANA
ADDRESS AVAILABLE UPON REQUEST          PO BOX 20                                 ADDRESS AVAILABLE UPON REQUEST
                                        BOWLING GREEN STATION NEW YORK, NY
                                        10004




CEDENO, ELISE                           CEDENO, GISSELLE                          CEDENO, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CEDENO, SHEILA                          CEDENO, TWIGY                             CEDERQUIST, COREY
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CEDILLO LIMOUSINE                       CEDILLO, JOHN                             CEDRIC JOHNSON
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CEDRONE, ARIANA                         CEDRONE, CHERYL                           CEDRONE, DANIEL
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CEFALO, CHRISTINE                       CEFALONI, ERIC                            CEFARATTI, JENNIFER
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CEGELKA, JESSICA                        CEGELKA, JODI                             CEGELKA, MICHELLE
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CEGIELSKI, AVERY                        CEGIELSKI, POLLY                          CEJA, ARTURO
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CEJA, JESSICA                        CEJA, KAREN                           CEJA, LETICIA
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CEKANI, NERTILA                      CELADA, MARIA                         CELANO, DONNA
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CELAYA, STEPHANY                     CELECKI, JANA                         CELEDONIA, STEPHANIE
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CELENTANO, MICHELLE                  CELENTE, ELIZABETH                    CELESTE ANNABELLE HOLLAND
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CELESTE BROOKS                       CELESTE GREEN                         CELESTE SCHEER
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CELESTE, COURTNEY                    CELESTE, MICHELLE                     CELESTIN, CHRISY
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CELESTIN, MEGAN                      CELESTIN, SUZETTE                     CELESTINE, CHARLSIE
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CELESTINO, CAITLYN                   CELIA E ARREOLA                       CELIA NIGHTINGALE
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CELIA QUILLIAN                       CELIA, TAYLOR                         CELIK, HUMEYRA
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CELLA, JACK                          CELLA, KRISTIN                               CELLA, STELLA AND JOSEPH
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CELLAK, KENNETH                      CELLER DE CAPCANES                           CELLI, VINCENT
ADDRESS AVAILABLE UPON REQUEST       SCCL VAT: ES F 43011659 C/LLABERIA, 4        ADDRESS AVAILABLE UPON REQUEST
                                     CAPCANES 43776
                                     SPAIN




CELONI, JUSTINE                      CELSKI, LEE                                  CEMAN, JOSEPH
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CENATIEMPO, ANGELA                   CENCI, KATIE                                 CENDEJAS, RAELENE
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CENDROWSKI, MEGAN                    CENEVIVA, TONY                               CENGIA, MARIA
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CENSNER, DOMINI                      CENTANNI LLC                                 CENTANNI, CATHERINA
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CENTANNI, MELANIE                    CENTAURO, ASHLEY                             CENTEIO, CINTIA
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CENTENO, ANDREA                      CENTER, JENNIFER                             CENTER, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




CENTERFIELD                          CENTERPLATE                                  CENTERS FOR DISEASE CONT. &
12130 MILLENIUM DRIVE, SUITE 600     ADDRESS UNAVAILABLE AT TIME OF FILING        PREVENTION
LOS ANGELES, CA 90094                                                             1600 CLINTON ROAD
                                                                                  ATLANTA, GA 30329-4027
CENTERS, SAMANTHA      Case 22-11238-LSS    Doc
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CENTOFANTE, KATARZYNA                 CENTOFANTE, MATTHEW                  CENTOFANTI, JACLYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




CENTOFONTI, SUSANA                    CENTORINO, ADRIANA                   CENTRAL BRANDS GROUP PANAMA INC.
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST       EDIFICIO PH DESING CENTER TOWER
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                                                                           PANAMA

CENTRAL COAST WINE SERVICES           CENTRAL COAST WINE SERVICES          CENTRAL DISTRICT OF CALIFORNIA
132 E. CARRILLO STREET                2717 AVIATION WAY                    312 N SPRING ST, STE 1200
SANTA BARBARA, CA 93101               SANTA MARIA, CA 93455                LOS ANGELES, CA 90012




CENTRAL ENTERTAINMENT GROUP, INC.     CENTRAL NATIONAL GOTTESMAN INC.      CENTRAL VALLEY ADMINISTRATORS INC
1001 AVENUE OF AMERICAS, 14TH FLOOR   (DBA MEDIA HORIZONS LLC)             3115 OCEAN FRONT WALK SUITE 301
NEW YORK, NY 10018                    3 MANHATTANVILLE ROAD SUITE 301      MARINA DEL REY, CA 90292
                                      PURCHASE, NY 10577




CENTRELLA, NICOLE                     CENTRELLA, SCOTT                     CENTRO, INC.
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST       11 E. MADISON ST.
                                                                           CHICAGO, IL 60602




CENTURINO, VICTORIA                   CENTURY LINK                         CENTURY THEATRES
ADDRESS AVAILABLE UPON REQUEST        PO BOX 29040                         ADDRESS UNAVAILABLE AT TIME OF FILING
                                      PHOENIX, AZ 85038-9040




CENUSER, VANESSA                      CEONZO, JACQUELINE                   CEPEDA, EDUARDO
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




CEPEDA, FRANCISCO                     CEPEDA, JENNIFER                     CEPEDA, JESSICA
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CEPEDA, MARISA                        CEPELA, ANA                          CEPESA, ADRIANA
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CEPPOS, LARRY                           CER, OLYVIA                           CERAFICE, GREGORY
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CERAME, BRIANNA                         CERAMI, ANDREW                        CERAMI, JILLIAN
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CERAR, MICHAEL                          CERASOLI, LISA                        CERAVOLO, AMANDA
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CERAVONE, JILL                          CERBANTEC, MICHELLE                   CERBERVILLE, CARMEN
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CERCENIA, LORIANNE                      CERCIELLO, CARLA                      CERCIELLO, CORINA
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CERCLE ROUGE                            CERCONE, CHRISTOPHER                  CERCY, STEPHANIE
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CERDA, ALI                              CERDA, ANNIE                          CERDA, ERIKA
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CERDA, OLIVIA                           CERDA, SABRINA                        CERE, NENA
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CEREGHINO, SARAH                        CERESA, CASSIDY                       CERESA, CRISTINA
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CERKCENIK, SOFIA                     CERKVENIK, COLLEEN                    CERMENO, NANCY
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CERMINARA, KAYLEA                    CERNA, HALEY                          CERNA, LIVIA
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CERNAK, STEPHANIE                    CERNAKOVA, KAROLINA                   CERNEY, SUSAN
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CERNIGLIA, KAYLA                     CERNIUS, NATALIE                      CERNOVOL, LUDMILA
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CERNY, ANDY                          CERNY, REBECCA                        CERNY, WENDY
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CERNY-CZYKIER, TIFFANY               CERON, VALERIA                        CERONE GIOIA, JILL
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CERONE, JILL                         CERQUA, MCKENNA                       CERRATO, JUSTIN
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CERRATO, JUSTIN                      CERRATO, NICOLE                       CERRATO, REBECCA
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CERRETANI, MARISSA                   CERRI, HALEY                          CERRITELLI, RHODA
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CERTA, DANIELLE                      CERTAIN SOURCE                        CERTAIN, JENNY
ADDRESS AVAILABLE UPON REQUEST       338 COMMERCE DRIVE, 2ND FLOOR         ADDRESS AVAILABLE UPON REQUEST
                                     FAIRFIELD, CT 06825




CERTENT, INC                         CERTIFIED LABORATORIES LLC            CERTILMAN, LEE
4683 CHABOT DR. STE 260              65 MARCUS DRIVE                       ADDRESS AVAILABLE UPON REQUEST
PLEASANTON, CA 94588                 MELVILLE, NY 11747




CERTO, EMILY                         CERTUSE, VICTORIA                     CERULLI, LYNDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CERULLO, JILL                        CERULLO, JULIE                        CERULLO, WILLIAM
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CERUTO, HARRISON                     CERUTO, JESSICA                       CERUTTI, GEMMA
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CERVANTES, ALEJANDRO                 CERVANTES, ASHLEY                     CERVANTES, CODY
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CERVANTES, ELIZABETH                 CERVANTES, FRANCISCO                  CERVANTES, JACLYN
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CERVANTES, KEITH                     CERVANTES, KENYA                      CERVANTES, KORTNEY
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CERVANTES, MARIE                     CERVANTES, NATALIE                    CERVANTES, RAMSES
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                                     CERVANTES-MONROE,     11/30/22
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CERVANTEZ, DEBORAH                   CERVANTEZ, NEXI                       CERVENKA, ADAM
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CERVERA, OSCAR                       CERVI, JESSICA                        CERVIN, ANA
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CERVINI, LINDA                       CERVINKA, LORI                        CERVONE, MARINA
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CERWINSKE, LEAH                      CESAK, PENNY                          CESANI, AMANDA
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CESAR, CASSIE                        CESAR, RODNEY                         CESARANO, KELSEY
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CESARI, TRICIA                       CESARZ, ANDREW                        CESINO, VICTORIA
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CESPEDES, CRISTIAN                   CESPEDES, KELLY                       CESPEDES, PAULA
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CESSNA, VICTORIA                     CESTRONE, DOROTHY                     CETINA, DANIEL
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CETINO, MELANIE                      CETINTAS, ROSEANNE                    CETRULLO, ALESSANDRO
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CEVALLOS, RICARDO                       CEYROLLES, MALLORY                    CFT CLEAR FINANCE TECHNOLOGY CORP
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ATTN MITCH DANIEL, INVESTOR DIRECTOR
                                                                              2810 N CHURCH ST 68100
                                                                              WILMINGTON, DE 19802-4447




CFT CLEAR FINANCE TECHNOLOGY CORP.      CHA, CHU HUI                          CHA, ESTHER
ATTN: MITCH DANIEL, INVESTOR DIRECTOR   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
2810 N. CHURCH ST., 68100
WILMINGTON, DE 19802-4447




CHA, FRANCESCA                          CHA, JENNIFER                         CHA, JIEUN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHA, SUMIN                              CHA, TONI                             CHAAR, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHABAN, DANIA                           CHABLA, MARIA                         CHABOT II, SHAWN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHABOT, PHILIP                          CHABOT, SAMUEL                        CHABOUDE, CHARLIE
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CHABOYA, LOUIS                          CHACE, JACLYN                         CHACHA, PATIENCE
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CHACHULA, NANCY                         CHACKAN, NARINDER                     CHACKO, BETSIE
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CHACKO, RACHAEL                         CHACON, ALEXANDRIA                    CHACON, AZALEA
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CHACON, MATTHEW                      CHACON, PEARL                         CHACON, ZINA
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CHACOROWSKI, VANESSA                 CHAD ANDREW EBERLY                    CHAD CURTIN
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CHAD THYZEL                          CHAD WALKER                           CHADA, S
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CHADBAND, EM                         CHADBURN, PIERCE                      CHADDA, ANISHA
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CHADDERTON, DEVIN                    CHADDOCK, JORDAN                      CHADER, MICHELE
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CHADHA, ARCHA MEHTA                  CHADWELL, KRISTIN                     CHADWICK KUHN
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CHADWICK, ALLISON                    CHADWICK, CATHERINE                   CHADWICK, DANIEL
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CHADWICK, ELIZABETH    Case 22-11238-LSS    Doc
                                     CHADWICK,   2 Filed 11/30/22
                                               HELENE                 Page CHADWICK,
                                                                            810 of 5495
                                                                                     JESSIE
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CHADWICK, JOHNATHON                  CHADWICK, KASEY                       CHADWICK, KATIE
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CHADWICK, KRISTEN                    CHADWICK, KRISTIN                     CHADWICK, TIFFANY
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CHADWICK, TONI                       CHAE, ILJOO                           CHAE, JAKYOUNG
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CHAFEN, MEGAN                        CHAFFE, SARAH                         CHAFFEE, CATHAL
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CHAFFEE, MICHELLE                    CHAFFEE, RICHARD                      CHAFFEE, ROSALIND
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CHAFFEE, THERESA                     CHAFFEY, DONNA                        CHAFFEY, WENDY
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CHAFFIN, STEPHANIE                   CHAFFMAN, CASSANDRA                   CHAFIN, JESSE
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CHAFIN, ROBERT                       CHAFLOQUE, GEOVANIA                   CHAGAS, WANDERSON
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CHAGNON, COREY         Case 22-11238-LSS   Doc
                                     CHAGOLLA,    2 Filed 11/30/22
                                               CINDY                  Page CHAHAL,
                                                                            811 of RACHEL
                                                                                   5495
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CHAHAL, RANDEEP                      CHAHAL, SIMRAN                        CHAHANOVICH, STEPHEN
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CHAHINE-NIKIC, NADEEN                CHAI CHINEA                           CHAI, ALEXANDER
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CHAI, PAUL                           CHAIDEZ, BEATRIZ                      CHAIDEZ, JESS
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CHAIKIN, SARAH                       CHAIRION, CHELSEA                     CHAIRNOFF, SARAH
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CHAKKALAKAL, SMIRTHI                 CHAKOIAN, KAREN                       CHAKRABARTY, SANDEEP
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CHAKRABORTI, PRANAMITA Case 22-11238-LSS   Doc 2DISHANI
                                     CHAKRABORTY,    Filed 11/30/22   Page CHAKRAVORTY,
                                                                            812 of 5495MILANENDU
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CHAL, BIANCA                         CHAL, ELLIOT                          CHALAM, NIVEDITHA
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CHALAT, ALEXANDRA                    CHALCO, DIANA                         CHALELA, KRISTIN
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CHALET, JANET                        CHALFIN, SALLIE                       CHALIK, MARK
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CHALK, BRITTANY                      CHALLA, SNEHA                         CHALLENGER, BRIAN
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CHALLENGER, KATHERINE                CHALLENGER, NATALIE                   CHALLINGSWORTH, CONNIE
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CHALSON, CHELSEA                     CHALTRY, HOLLY                        CHALTRY, REBEKKA
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CHALUISAN, DOMENIC     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHAM, JULIENNE                   Page CHAM,
                                                                            813 of 5495
                                                                                 TRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHAMANARA, SARAH                     CHAMBEAU, BRUCE                       CHAMBERLAIN PARRIS, ADRIENNE
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CHAMBERLAIN, ALEXANDRA               CHAMBERLAIN, CASEY                    CHAMBERLAIN, CODY
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CHAMBERS, ANDREW       Case 22-11238-LSS   Doc
                                     CHAMBERS,   2 Filed 11/30/22
                                               ANDY                   Page CHAMBERS,
                                                                            814 of 5495
                                                                                     ANTHEA
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CHAMBERS, LYNN                       CHAMBERS, MCKENZIE                    CHAMBERS, MCKINZIE
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CHAMBERS, MEGAN                      CHAMBERS, MEGAN                       CHAMBERS, MELISSA
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CHAMBERS, MELISSA      Case 22-11238-LSS   Doc
                                     CHAMBERS,   2 Filed 11/30/22
                                               MICHAEL                Page CHAMBERS,
                                                                            815 of 5495
                                                                                     MORIAH
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CHAMBERS, NATHAN                     CHAMBERS, RACHEL                      CHAMBERS, RACHEL
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CHAMBERS, REBECCA                    CHAMBERS, RYANN                       CHAMBERS, SAM
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CHAMBERS, SARA                       CHAMBERS, SARAH                       CHAMBERS, SAVANNAH
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CHAMBERS, TAYLER                     CHAMBERS, TERRY                       CHAMBERS, TIFFANY
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CHAMBERS, VALERIE                    CHAMBERS, VANESSA                     CHAMBERS, WENDY
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CHAMBLEE, TORI                       CHAMBLESS, CHRIS                      CHAMBLESS, EMMA
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CHAMBLESS, JAMES                     CHAMBLEY, PATRICIA                    CHAMBLIN, TYLER
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CHAMBLISS, BRYAN                     CHAMBLISS, MARY                       CHAMBOULLIDES, SARA
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CHAMBULE, SYDNEY                     CHAMIZO, GISELLE                      CHAMMAS, MELISSA
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CHAMNESS, BLOSSOM      Case 22-11238-LSS   Doc
                                     CHAMOFF,    2 Filed 11/30/22
                                              JEFFREY                 Page CHAMOUN,
                                                                            816 of 5495
                                                                                    RAMZI
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CHAMP, CHARLOTTE                     CHAMP, PAMELA                         CHAMPAGNE, ELENI
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CHAMPAGNE, JOANNA                    CHAMPAGNE, MICHELLE                   CHAMPAGNE, ROSALINE
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CHAMPAGNE, SETH                      CHAMPAGNE, VICKY                      CHAMPALANNE, MICHELLE
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CHAMPE, JUDY                         CHAMPEAU, KATIE                       CHAMPENE, LISA
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CHAMPINE, VERONICA                   CHAMPION, MATTHEW                     CHAMPION, SHAUN
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CHAMPION, TERESA                     CHAMPLEY, DUSTY                       CHAMPLIN, COREY
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CHAMPLIN, DEBORAH                    CHAMPLIN, JOSEPHINE                   CHAMPLIN, KAITLYN
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CHAMPNEY, JENNIFER                   CHAMPOUX, EMMA ANNE                   CHAMRYK, LESIA
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CHAN, ABIGAIL                        CHAN, ALBERT                          CHAN, AMY
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CHAN, ASHLEY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHAN, BETHANY                    Page CHAN,
                                                                            817 of 5495
                                                                                 BRIAN
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CHAN, CAITLIN                        CHAN, CARMEN                          CHAN, CHRISTIAN
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CHAN, CONNIE                         CHAN, EDWIN                           CHAN, EMILY
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CHAN, GABRIELLE                      CHAN, HANNAH                          CHAN, HAO LIN
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CHAN, HELEN                          CHAN, HOWARD                          CHAN, JACQUELINE
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CHAN, JEANNIE                        CHAN, JENNIFER                        CHAN, JOHN
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CHAN, LAURA                          CHAN, LIAN                            CHAN, LUCILLA
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CHAN, MARTIN                         CHAN, MEGHAN                          CHAN, MIKE
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CHAN, SERENE                         CHAN, STEVEN                          CHAN, TRACY
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CHAN, WENDY            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CHAN, WILLIAM                    Page CHAN,
                                                                            818 of 5495
                                                                                 XAVIER
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CHAN, ZOE                            CHANCE, LAURA                         CHANCE, MATTHEW
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CHANCE, SHEIMEITA                    CHANCE, TIFFANY                       CHANCELLOR, JESSICA
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CHANCEY, BENJAMIN                    CHANCEY, TAMMIE                       CHAND, AMRITA
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CHANDA, DEBASHIS                     CHANDANDEEP SODHI                     CHANDLALL, ADRIANA
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CHANDLER BURTON                      CHANDLER DUTTON                       CHANDLER, AMELIA
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CHANDLER, AMY                        CHANDLER, ANDREW                      CHANDLER, BRANDY
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CHANDLER, CASSIE                     CHANDLER, CHELSEA                     CHANDLER, CHELSEA
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CHANDLER, DAKOTA                     CHANDLER, EMILY                       CHANDLER, GABRIELLE
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CHANDLER, GRACE                      CHANDLER, HANNAH                      CHANDLER, HEATHER
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CHANDLER, JAKE         Case 22-11238-LSS    Doc
                                     CHANDLER,   2 Filed 11/30/22
                                               JESSICA                Page CHANDLER,
                                                                            819 of 5495
                                                                                     JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHANDLER, KAITLIN                    CHANDLER, KATE                        CHANDLER, KAYLEE
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CHANDLER, KRISTEN                    CHANDLER, LAURA                       CHANDLER, LEWIS
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CHANDLER, LORETTA                    CHANDLER, MATT                        CHANDLER, MEGAN
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CHANDLER, MICHAEL                    CHANDLER, MICHELLE                    CHANDLER, MICHELLE
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CHANDLER, RICHARD                    CHANDLER, ROBERT                      CHANDLER, ROBIN
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CHANDLER, SARAH                      CHANDLER, SONDRA                      CHANDLER, STEPHANIE
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CHANDLER, SUSAN                      CHANDLER, TOMEY                       CHANDLESS, MEGAN
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CHANDOLA, ANKIT                      CHANDRA SEKHARA RAJAGIRI              CHANDRA, VYSHAK
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CHANDRAMOULI, KIRTHANA               CHANDRAN BAKER                        CHANDRASEKAR JAGADEESWARAIAH
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CHANDRASEKAR, BHARGAVICase 22-11238-LSS   Doc 2 BALAJI
                                    CHANDRASEKHAR,  Filed 11/30/22   Page CHANDRASHEKAR
                                                                           820 of 5495 PATHAPATI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHANDWANI, ASHISH                   CHANDWANI, VINITA                     CHANEL CLOETE
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CHANEL-FAITEAU, CHARDLINE           CHANEY, ABBY                          CHANEY, ANA
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CHANEY, ANGIE                       CHANEY, CALIFORNIA                    CHANEY, CARLY
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CHANG, CHUN            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CHANG, CLAYTON                   Page CHANG,
                                                                            821 ofCLEMENT
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHANG, CONNIE                        CHANG, CORINAMARIE                    CHANG, DAVID
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CHANG, DIANE                         CHANG, EDEN                           CHANG, ELIZABETH
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CHANG, ELIZABETH                     CHANG, EMILY                          CHANG, HO
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CHANG, IRIS                          CHANG, JANE                           CHANG, JEFFREY
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CHANG, JOHN                          CHANG, JOSEPH                         CHANG, JOYCE
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CHANG, KATHRYN                       CHANG, MARIA                          CHANG, MARIA
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CHANG, NATHAN                        CHANG, NORMAN                         CHANG, OLIVIA
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CHANG, RANDY                         CHANG, SANDY                          CHANG, SATORI
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CHANG, STEPHANE        Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CHANG, TERREN                    Page CHANG,
                                                                            822 ofTRACY
                                                                                   5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHANG, YOO-REE                       CHANGMU, TANTSENG                     CHANGOSE, EMMA
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CHANIN COLES                         CHANNARASAPPA, KEERTHI                CHANNELL, ANGELA
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CHANNELL, JERRI                      CHANNELL, JESSIE                      CHANNEN, MIKE
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CHANNER, KEISHA                      CHANNING, KAYLEIGH                    CHANT, ALLISON
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CHANT, MARCELLA                      CHANTAL HANSEN                        CHANTAL JACOB
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CHANTE LAWRENCE                      CHANTEL, ASHIA                        CHANTHAPASEUT, KELLY
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CHANTHAVONG, CRYSTAL                 CHANTRY, KAITLYN                      CHAO, ALBERT
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CHAO, ERIC                           CHAO, JESSICA                         CHAO, PATRICIA
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CHAO, TAI FONG                       CHAPA, REBECCA                        CHAPA, SERGIO
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CHAPARRO, BARBARA      Case 22-11238-LSS   Doc
                                     CHAPARRO,   2 Filed
                                               MEGAN DELYSE11/30/22   Page CHAPERON,
                                                                            823 of 5495
                                                                                     MEG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHAPIE, CASSIE                       CHAPIN, ALLISON                       CHAPIN, GABRIELLE
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CHAPIN, JESSICA                      CHAPIN, KRYSTAL                       CHAPIN, TAYLOR
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CHAPLAIN, ALEX                       CHAPLAIN, BROOKE                      CHAPLIN AND GAURA, MARK AND MARK
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CHAPLIN, ALANA                       CHAPLIN, ALFREDA                      CHAPLIN, BRITTANY
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CHAPLIN, ROMAIN                      CHAPMAN, AIMEE                        CHAPMAN, ALYSSA
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CHAPMAN, ANGELA                      CHAPMAN, APRIL                        CHAPMAN, ASHLEY
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CHAPMAN, ASHLEY                      CHAPMAN, BARBARA                      CHAPMAN, BEN
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CHAPMAN, BRANDON                     CHAPMAN, CANDY                        CHAPMAN, CINDY
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CHAPMAN, CLIFFORD                    CHAPMAN, DANIEL                       CHAPMAN, EVA
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                                     CHAPMAN,    2 Filed 11/30/22
                                              JAMES                   Page CHAPMAN,
                                                                            824 of 5495
                                                                                    JAMIE
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CHAPMAN, JILL                        CHAPMAN, JILLIAN                      CHAPMAN, JOANNE
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CHAPMAN, JOHN                        CHAPMAN, JOHN                         CHAPMAN, JOHN
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CHAPMAN, JORDYN                      CHAPMAN, JOSHUA                       CHAPMAN, JULIA
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CHAPMAN, KRISTIN                     CHAPMAN, LINDA                        CHAPMAN, LINSEY
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CHAPMAN, LISA                        CHAPMAN, MATT                         CHAPMAN, MATTHEW
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CHAPMAN, MEGAN                       CHAPMAN, MELANIE                      CHAPMAN, MELISSA
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CHAPMAN, MICHELLE                    CHAPMAN, MIKE                         CHAPMAN, NICHOLAS
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                                     CHAPMAN,    2 Filed 11/30/22
                                              PAUL                    Page CHAPMAN,
                                                                            825 of 5495
                                                                                    RACHEL
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CHAPMAN, RAE                         CHAPMAN, RANDY                        CHAPMAN, REESE
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CHAPMAN, ROBERT                      CHAPMAN, SAMANTHA                     CHAPMAN, SAMUEL
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CHAPMAN, SCOTT                       CHAPMAN, SHANNON                      CHAPMAN, SHAYNA
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CHAPPELL, MARY MARGARET              CHAPPELL, MICHAEL                     CHAPPELL, NATALIE
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                                     CHAPPELL,    2 Filed 11/30/22
                                               SABRINAH               Page CHAPPELL,
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                                                                                     TAMARA
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CHAPPELL, TIFFANY                    CHAPPELLE, COURTNEY                   CHAPPELLE, NELSON
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CHAPPELOW, AMANDA                    CHAPPLE, PEPPA                        CHAPUS, CAROLINE
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CHAPUT, CASSIE                       CHAPUT, JESSICA                       CHARANJIT KAUR
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CHARAP, REBECCA                      CHARBONIER, SANDRA                    CHARBONNEAU, EMILY
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CHARCHAR, MELINDA                    CHARD, JENNIFER                       CHAREST, CARSON
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CHAREST, JOHN                        CHAREST, JOHN                         CHAREST, TINA
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CHARETTE, ABIGAIL                    CHARETTE, KELLY                       CHARETTE, NITA
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CHARETTE, SUSAN                      CHARGOIS, TINA                        CHARISSA LAWRENCE
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CHARITY WATER                        CHARITY, CRYSTALINE                   CHARLA FRANCINE GRUBER
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CHARLES A WILSON                     CHARLES ANTHONY LELM                     CHARLES AYODELE SMITH
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CHARLES BARTON LOVEKIN               CHARLES BRYAN SADLEIR                    CHARLES CZUPRYNSKI
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CHARLES D HERNANDEZ                  CHARLES DAUGHERTY                        CHARLES ECK
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CHARLES FLEMING                      CHARLES FREEMAN                          CHARLES HECTOR WRENCH
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CHARLES HOLLSTEIN                    CHARLES J MERRILL                        CHARLES J OLSEN IV
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CHARLES L WALDING                    CHARLES LOUIS ORWIG                      CHARLES LUCQUES
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CHARLES MAUNEY                       CHARLES MOUNT                            CHARLES ORWIG
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CHARLES PHELPS                       CHARLES REED                             CHARLES S FREEHILL
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CHARLES S RAPER                      CHARLES SCHWAB & CO., INC. (0164)        CHARLES SHERRIT
ADDRESS AVAILABLE UPON REQUEST       ATTN CHRISTINA YOUNG OR PROXY MGR        ADDRESS AVAILABLE UPON REQUEST
                                     2423 EAST LINCOLN DR
                                     PHOENIX, AZ 85016-1215
CHARLES SHIBER         Case 22-11238-LSS
                                     CHARLESDoc
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                                                                            828 of 5495
                                                                                   SMITH
ADDRESS AVAILABLE UPON REQUEST       35 SPOKANE STREET                     ADDRESS AVAILABLE UPON REQUEST
                                     WALLA WALLA, WA 99362




CHARLES SMITH                        CHARLES STEWART                       CHARLES TAO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHARLES WILLIAM BRIFFITT             CHARLES WILSON                        CHARLES, ALEXA
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CHARLES, AVALLINA                    CHARLES, BOOHER                       CHARLES, CASSANDRA
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CHARLES, CHANTAL                     CHARLES, COURTNEY                     CHARLES, DANIKA
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CHARLES, DEBRA                       CHARLES, GESTEY                       CHARLES, GINNY
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CHARLES, GIOVANNI                    CHARLES, JACKIE                       CHARLES, JEAN/JONATHAN
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CHARLES, KATINA                      CHARLES, KAYLA                        CHARLES, KAYLA
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CHARLES, KAYTE                       CHARLES, KRISTEN                      CHARLES, MARIAH
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CHARLES, PERSIS                      CHARLES, SARAH                        CHARLES, SARAH
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CHARLES, SARAH         Case 22-11238-LSS    Doc
                                     CHARLES,    2 Filed 11/30/22
                                              STEPHANIE               Page CHARLES,
                                                                            829 of 5495
                                                                                    TAYLOR
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CHARLES, THANA-ASHLEY                CHARLES, TIA                          CHARLES, WICKENSON
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CHARLESTON, CATON                    CHARLEY, VERONICA                     CHARLIER, CHRISTINE
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CHARLIER, MONICA                     CHARLINO, SAM                         CHARLOT, JACQUELINE
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CHARLOT, RENEE                       CHARLOTTE DUJARDIN                    CHARLOTTE ELOISE STANCIOFF
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CHARLOTTE FAZIO                      CHARLOTTE HARRIS                      CHARLOTTE OUALLINE
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CHARLOTTE WADSWORTH                  CHARLSON, JACK                        CHARLSON, SYDNEY
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CHARLTON CEVIN MILLER                CHARLTON, DIANE                       CHARLTON, ELIZABETH
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CHARLTON, SARA                       CHARLTON, TIFFANY                     CHARLTON, TRICIA
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CHARLTON, VANESSA                    CHARLWOOD, ELLEN                      CHARMAGNE AINSLEY
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CHARMAINE CAMPBELL     Case 22-11238-LSS
                                     CHARNY,Doc  2 Filed 11/30/22
                                            ALLISON                      Page CHARNY,
                                                                               830 of STEVEN
                                                                                      5495
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CHARPENTIER, MAUD                       CHARPENTIER, NICOLE                   CHARRIEZ, ANDREA
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CHARROUF, ERIN                          CHARTER COMMUNICATIONS (D/B/A         CHARTER COMMUNICATIONS (D/B/A
ADDRESS AVAILABLE UPON REQUEST          SPECTRUM)                             SPECTRUM)
                                        400 WASHINGTON BLVD                   ATTN BANKRUPTCY
                                        STAMFORD, CT 06902                    1600 DUBLIN RD
                                                                              COLUMBUS, OH 43215



CHARTER COMMUNICATIONS                  CHARTER, CRYSTAL                      CHARTER, KAYCI
(D/B/A SPECTRUM)                        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
P.O. BOX 60074
CITY OF INDUSTRY, CA 91716-0074




CHARTON, STEVE                          CHARYSZYN, LISA                       CHARYYEVA, MERJEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHASE BANK                              CHASE CHARLES HAY                     CHASE HAMILTON PARKER
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CHASE III, RICKY                        CHASE SCHOCK                          CHASE, AIMEE
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CHASE, ANNIE                            CHASE, CAPT TARA                      CHASE, CHRISTINA
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CHASE, CLAUDIA                          CHASE, COURTNEY                       CHASE, DELANEY
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CHASE, DIAN                             CHASE, DIANA                          CHASE, EMMA
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CHASE, ETHAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHASE, GLENN                     Page CHASE,
                                                                            831 ofHANNAH
                                                                                   5495
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CHASE, JAMIE                         CHASE, JOSEPH                         CHASE, JULIE
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CHASE, KRISTIN                       CHASE, LAUREN                         CHASE, MARA
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CHASE, MEGAN                         CHASE, MICKENZIE                      CHASE, MORGAN
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CHASE, OLIVER                        CHASE, SUSAN                          CHASE, SYLVIA
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CHASE, TAMI                          CHASE, TAYLOR                         CHASE, TIMOTHY
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CHASE, VANESSA                       CHASELLE MIRANDA                      CHASEY, SARAH
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CHASHNIK, TATYANA                    CHASIN, JONATHAN                      CHASKES, ALEXA
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CHASLYN PILARCIK                     CHASSE, AMELIA                        CHASSEREAU, WAYNE
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CHASTAIN, AMY                        CHASTAIN, BOBBY                       CHASTAIN, CANDACE
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                                     CHASTEEN,   2 Filed 11/30/22
                                               CARLY                  Page CHASTEK,
                                                                            832 of 5495
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CHASTITY GOODWIN                     CHATAGNIER, AMY                       CHATAL, LAUREN
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CHATEAU DE NAGES                     CHATEAU DIANA LLC                     CHATEAU MARMONT F
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CHEMIN DES CANAUX                    HEALDSBURG, CA 95448
CAISSARGUES 30132
FRANCE



CHATELAIN, TIFFANY                   CHATFIELD, MEGHAN                     CHATHAM, ALANI
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CHATLOSH, CARLI                      CHATMAN, CAMI                         CHATMAN, DAVIDA
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CHATMAN, FELECIA                     CHATOIAN, MIRIAM                      CHATRI JHUNJHNUWALA
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CHATT, ALEXANDRIA                    CHATTERGOON, MARIE                    CHATTERJEE, MALA
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CHATTERTON, DEVIN                    CHATTIN, SARAH                        CHATTOPADHYAY, DEBORATI
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CHATURVEDI, NIKITA                   CHATZKY, EMILY                        CHAU, CINDY
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CHAU, DAVID                          CHAU, ELIZABETH                       CHAU, HOI
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CHAU, MICHELLE         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CHAU, QUOC                       Page CHAU,
                                                                            833 of  5495
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CHAUCA, BRITTANY                     CHAUDER, SANDIE                       CHAUDHARI, BRITTANY
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CHAUDHARY, AUBREE                    CHAUDHARY, JAI                        CHAUDHRY, SHAWN
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CHAUHAN, SHIVANI                     CHAUHAN, VINEET                       CHAUNCEY, GAIL
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CHAUNCEY, TERESA                     CHAUNER, BAILEY                       CHAUSOW, STEPHANIE
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CHAUVETTE, MARC                      CHAUVIN, JASON                        CHAUVIN, LOU
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CHAVANNE, CAROLANNE                  CHAVARRI, LISI                        CHAVARRIA, BRENDA
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CHAVARRIA, FLORIBETH                 CHAVARRIA, VANESSA                    CHAVERRA, MARIA
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CHAVES, ALYSSA                       CHAVES, ANGELICA                      CHAVES, JOE
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CHAVES, NATALIE                      CHAVES, STEPHANIE                     CHAVEZ BOWEN, JOSE XAVIER
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                                     CHAVEZ, Doc
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CHAVEZ, ANTHONY                      CHAVEZ, ANTHONY                       CHAVEZ, ANTHONY
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CHAVEZ, ARIANA                       CHAVEZ, ARMANDO                       CHAVEZ, ASHLEY
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CHAVEZ, BARBARA                      CHAVEZ, BRANDY                        CHAVEZ, CANDY
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CHAVEZ, CARLA                        CHAVEZ, CARLEY                        CHAVEZ, CHLOE
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CHAVEZ, CHRISTIAN                    CHAVEZ, CHRISTINA                     CHAVEZ, CHRISTINA
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CHAVEZ, CHRISTOPHER BRIAN            CHAVEZ, CHRISTOPHER                   CHAVEZ, DANIELA
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CHAVEZ, DANYRA                       CHAVEZ, DEARBHAILE                    CHAVEZ, DEICI
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CHAVEZ, EILEEN                       CHAVEZ, EMILY                         CHAVEZ, ERICA
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CHAVEZ, GABRIEL                      CHAVEZ, HECTOR                        CHAVEZ, JAVIER
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                                     CHAVEZ, Doc  2 Filed 11/30/22
                                             JENNIFER                  Page CHAVEZ,
                                                                             835 of JESSICA
                                                                                     5495
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CHAVEZ, JONAH                         CHAVEZ, JOSHUA                        CHAVEZ, JOSIE
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CHAVEZ, KARMA                         CHAVEZ, KATHRYN                       CHAVEZ, KELLY
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CHAVEZ, MICHAEL                       CHAVEZ, MYKA                          CHAVEZ, PRICILLA
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CHAVEZ, RENEE                         CHAVEZ, RENEE                         CHAVEZ, RICKEY
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CHAVEZ, RUTH                          CHAVEZ, SALVADOR                      CHAVEZ, SARAH
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CHAVEZ, STACI                         CHAVEZ, VANESSA                       CHAVEZ, YADIRA
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CHAVEZ-HOLZMAN, SALVADOR              CHAVIANO, ANSARY                      CHAVIN, NATHANIEL
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CHAVIRA, TARA                         CHAVIS, GINA                          CHAVIS, JERI
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CHAVIS, MS. HEATHER AND MR. PRESTON   CHAVIS, TESAEN                        CHAVONNE BARON
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                                     CHAWLA,Doc  2 Filed 11/30/22
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                                                                               836 of NITIN
                                                                                      5495
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CHAWLA, SONIA                           CHAWLA, VEDIKA                        CHAWNER, DEBRA
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CHAWNTA ANDERSON                        CHAYER, SHEILA                        CHAZ GRADY
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CHE, CARISSA                            CHE, CHANG                            CHEA, ASHLEY
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CHEADLE, MARCIA                         CHEADLE, STEPHANIE                    CHEAH, SARAH
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CHEAIRS, DESHARA                        CHEAP, COLTON                         CHEAPOAIR.COM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




CHEAPTIX                                CHEATHAM, ANGIE                       CHEATHAM, DIANE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEATHAM, TUNISIA                       CHEATWOOD, KAREN                      CHEBANU, AUREL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEBBINE, LYDIA                         CHECCHI, NICOLE                       CHECCHI, STEPHANIE
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CHECCHIO, STEPHANIE                     CHECE, LUKE                           CHECINSKI, ALICIA
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CHECINSKI, MAGDALENA   Case 22-11238-LSS     Doc 2 Filed 11/30/22
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CHECKBUILDER PRO                        CHECKLE, ELIZABETH                    CHECKMAN, LESLIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHECO, JAN                              CHEDIAK, LEILA                        CHEE, BRADLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEE, FLORENCE                          CHEEK, ABBI                           CHEEK, BILLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEEK, CARLA                            CHEEK, CASEY                          CHEEK, CATHERINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEEK, ELLIE                            CHEEMA, AJAY                          CHEEMA, MANMEET
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CHEERS, KIRRA                           CHEESEBRO, WILLIAM                    CHEESECAKE FACTORY
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CHEESEMAN, NICOLE                       CHEESMAN, ANDREW                      CHEESMAN, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEESMAN, JONATHAN                      CHEETHAM, CARA                        CHEEVER, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEEVER, JOY                            CHEEVERS, CARA                        CHEEVERS, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHEEVES, ARCELIA       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       291 CORAL CIRCLE EL                  ADDRESS AVAILABLE UPON REQUEST
                                     SEGUNDO, CA 90245




CHEFITZ, GABRIELLE                  CHEHAK, RUIE                          CHEI, DANIELLE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEIKHALI, RITA                     CHEL LOVES WINE LLC                   CHELAK, DIANNE
ADDRESS AVAILABLE UPON REQUEST      110 1ST ST, APT 21G                   ADDRESS AVAILABLE UPON REQUEST
                                    JERSEY CITY, NJ 07302




CHELALA, PETRA                      CHELCHOWSKI, OLIVIA                   CHELI, ALBERT
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHELIOS, TARA                       CHELLAIAH, TAMIL                      CHELLAPPA, RACHEL
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CHELLEW, ASHLEY                     CHELNOKOV, JULIA                      CHELOTTI, BETH
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CHELSEA ALICIA BARRON               CHELSEA ANDREWS, CHELSEA              CHELSEA BANKS
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CHELSEA BRICHE                      CHELSEA COLLINS                       CHELSEA ELLIOTT
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CHELSEA HERSEY                      CHELSEA HITCH                         CHELSEA JENKINS
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CHELSEA MARKS                       CHELSEA NASH                          CHELSEA PARKER
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CHELSEA ROBERTS        Case 22-11238-LSS
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                                                                            839 of 5495
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CHELSEA SKIDMORE                     CHELSEA WEATHERBY                     CHELSEA, CANFIELD,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHELSEA, MEDSGER,                    CHELSEY NORTON                        CHELSIE PETRAS
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CHELSO, MARLENE                      CHELSY GRANT                          CHELTON, SANDRA
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CHEN                                 CHEN, AMY                             CHEN, ANDREA
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CHEN, ANDREA                         CHEN, ARTHUR                          CHEN, ASHLEY
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CHEN, AUSTIN                         CHEN, BARBIE                          CHEN, BETTY
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CHEN, CAROLINE                       CHEN, CAROLYN                         CHEN, CATHERINE
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CHEN, CHERYAL                        CHEN, CHRISTINE                       CHEN, CHRISTOPHER
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CHEN, CLAIRE                         CHEN, CYNTHIA                         CHEN, DAVID
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CHEN, DAVID            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHEN, DEAN                       Page CHEN,
                                                                            840 of 5495
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CHEN, DONNA                          CHEN, FANNY                           CHEN, HAN HAN
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CHEN, HENG                           CHEN, HUNG-KUAN                       CHEN, JACQUELINE
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CHEN, JASON                          CHEN, JEANNIE                         CHEN, JENNIFER
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CHEN, JENNY                          CHEN, JESSICA                         CHEN, JESSICA
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CHEN, JESSICA                        CHEN, JIA WEN                         CHEN, JIMMY
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CHEN, JOAN                           CHEN, JOHN                            CHEN, JONATHAN
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CHEN, JULIE                          CHEN, KUN                             CHEN, LEO
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CHEN, LESLIE                         CHEN, LU                              CHEN, MARILYN
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CHEN, MIKE                           CHEN, MOUYIN                          CHEN, NANCY
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CHEN, PAIHSUEH         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHEN, PATRICK                    Page CHEN,
                                                                            841 of 5495
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CHEN, PEIJIN                         CHEN, PETER                           CHEN, SARAH
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CHEN, SHANG-YANG                     CHEN, SHANNON                         CHEN, SHELLY
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CHEN, SHIRLEY                        CHEN, SIHAN                           CHEN, SIYUAN
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CHEN, SONG                           CHEN, STACY                           CHEN, STANLEY
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CHEN, SUNDY                          CHEN, TAYLOR                          CHEN, TIFFANY
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CHEN, TIFFANY                        CHEN, TIFFANY                         CHEN, TIFFANY
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CHEN, TINGZHAO                       CHEN, TZUFANG                         CHEN, VIVIAN
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CHEN, WEISHENG                       CHEN, WEI-TI                          CHEN, XI
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CHEN, XIN                            CHEN, XU                              CHEN, XUANANG
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CHEN, YANGYI           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHEN, YII-ANN                    Page CHEN,
                                                                            842 of  5495
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CHEN, YIYI                           CHEN, YUNG-LUNG                       CHEN, ZHAOYUE
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CHENAULT, KATHERINE                  CHENAULT, SHIRLEY AND JOE             CHENCHARIK, KATHY
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CHENCHEN, TAYLOR                     CHENEY, ALEXANDRA                     CHENEY, ASHLEY
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CHENEY, CHELSEA                      CHENEY, CHRISTOPHER                   CHENEY, ELLEN
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CHENEY, JUSTIN                       CHENEY, NICOLE                        CHENEY, PATRICK
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CHENEY, SAMANTHA                     CHENEY, TIFFANY                       CHENEY, TIFFANY
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CHENG, CHIEHCHUNG                    CHENG, CHRISTOPHER                    CHENG, HERBERT
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CHENG, IRENE                         CHENG, JANET                          CHENG, JIA MIN
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CHENG, KARYN                         CHENG, KATHERINE                      CHENG, LAWRENCE
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CHENG, LESTER          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHENG, LISA                      Page CHENG,
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CHENG, MEENA                         CHENG, MICHAEL                        CHENG, OLIVER
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CHENG, PANSY                         CHENG, RACHEL                         CHENG, TIFFANY
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CHENG, YANG                          CHENG, YING                           CHENGPI WU
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CHENGWEI YEN                         CHENNAMANENI, SAICHANDER              CHENNAT, ASHWATY
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CHENNELLS, MELISSA                   CHENOK, LIZ                           CHENOWETH, ZACHARY
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CHENOWITH, AMY                       CHENTORYCKI, STEPHANIE                CHEPAYKINA, EKATERINA
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CHEPOLIS, WILLIAM                    CHEPOTE, ADRIANA                      CHERABIE, SARAH
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CHERCHES, DAPHNE AND MATT            CHEREBIN, CARELLE                     CHEREF, CHAIMAA
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CHERENEK, ROBERT                     CHERENFANT, PATRICK                   CHEREPINSKY, SARA
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CHERFILS, RICARDO      Case 22-11238-LSS    Doc 2 Filed 11/30/22
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CHERICHELLA, LAUREN                  CHERIE NAVRATIL                       CHERIE, SUMMER
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CHERILYN E DAVIDSONCIBELLI           CHERIN WATANABE                       CHERINGTON, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHERISH HOWARD                       CHERISH, V. LYNN                      CHERMAK, AMBER
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CHERMAK, TALIA                       CHERNAY, REBECCA                      CHERNEK, ROSE
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CHERNESKY, SUSAN                     CHERNESS, JESSICA                     CHERNEY, JARED
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CHERNEY, LIZA                        CHERNGSAARD, SERENA                   CHERNICKI, CASSANDRA
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CHERNIKOV, ALEXEI                    CHERNOCK, JOSEPH                      CHERNOFF, MICHELLE
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CHERNOFF, WHITNEY                    CHERNOFF-STEIER, KELLY                CHERNOFF-TAYLOR, HOLLIND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHERNOMORETS, OLGA                   CHERNOWETZ, KATIE                     CHERNY, ALINA
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CHERNY, STEVEN         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       5463 CHEROKEE ROAD                         ADDRESS AVAILABLE UPON REQUEST
                                     STOCKTON, CA 95215




CHERPAK, NICOLE                        CHERRABI, ZAK                            CHERRELUS, RUDDENS
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CHERRINGTON, BETHANY                   CHERRY BOMBE, INC                        CHERRY CREEK MALL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




CHERRY, CALEB                          CHERRY, DESTINY                          CHERRY, EMILY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CHERRY, EMMA                           CHERRY, JESSICA                          CHERRY, JILL
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CHERRY, KATHY                          CHERRY, KELSIE                           CHERRY, LINDSAY
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CHERRY, MELISSA                        CHERRY, MICHAEL                          CHERRY, MONICA
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CHERRY, NICHELLE                       CHERRY, STEVE                            CHERRY, TARAH
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CHERRYHOLMES, ALISON                   CHERSI, DANA                             CHERSTON, CAROLINE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CHERTAVIAN, ELIZABETH                  CHERTOFF, MICHAEL                        CHERUKURI, SRI LAKSHMI
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CHERVETS, MARYANA      Case 22-11238-LSS   Doc
                                     CHERVETS,   2 Filed 11/30/22
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                                                                            846 of 5495 OLGA
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CHERVINSKY, LINDSAY                  CHERY, GERALDINE                      CHERY, MATHILDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHERYL EMERY                         CHERYL LAROU                          CHERYL LYNN ANGERER
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CHERYL MARINO                        CHERYL MILLER                         CHERYL SEEGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHERYL WU-BRESHEARS                  CHESHIER, DEBI                        CHESHIER, MELISSA
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CHESHIRE, ELIZABETH                  CHESKIS, MARIANA                      CHESLAK, SCOTT
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CHESLEY, CASEY                       CHESLOCK, MICHAEL                     CHESMAN, BERNARD
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CHESNEY, ABBIE                       CHESNEY, DANEE                        CHESNOKOVA, ARINA
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CHESNOKOVA, LIDIA                    CHESS, DANIELLE                       CHESSER, ABIGAIL
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CHESSER, JOHN                        CHESSER, KIRSTEN                      CHESSER, KRISTINE
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CHESSER, LINDA         Case 22-11238-LSS    Doc
                                     CHESSLER,   2LYNN
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                                                                            847 of 5495
                                                                                     WYNNE
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CHESSSLER, AMY                       CHESTER K LAPP                        CHESTER PEREZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHESTER, BRIAN                       CHESTER, COURTNEY                     CHESTER, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHESTER, DEBORAH                     CHESTER, HANNA                        CHESTER, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHESTER, LISA                        CHESTER, LOUISE                       CHESTER, LYNN
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CHESTER, MEGAN                       CHESTER, PATRICIA                     CHESTERFIELD, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHESTERS, JAMES                      CHESTLER, JESSICA                     CHESTNUT, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHESTNUTT-LINN, JESSE                CHESWORTH, BECKY                      CHETAN PATEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHETARRA JENKINS                     CHETCUTI, MORGAN                      CHETHAN REDDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEUNG, AL                           CHEUNG, BONNIE                        CHEUNG, CARREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHEUNG, HO KWAN        Case 22-11238-LSS
                                     CHEUNG,Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEUNG, KATIE                        CHEUNG, MICHELLE                      CHEUNG, NORA
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CHEUNG, PAGEE                        CHEUNG, STEPHEN                       CHEUNG, WILFRED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEUNG, ZOE                          CHEUVRONT, KRISTIN                    CHEUVRONT, STACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEVALEAU, MARC                      CHEVALIER, ALEXANDRA                  CHEVALIER, ANDREA
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CHEVALIER, ANDREA                    CHEVALIER, ANDREA                     CHEVALIER, EDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEVASCO, JAHAIRA                    CHEVES, JACLYN                        CHEVRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




CHEW, ALICIA                         CHEW, ELYSA                           CHEW, KRISTIN
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CHEW, LORRAINE                       CHEW, NICOLE                          CHEW, RODNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEWNING, CANDACE                    CHEWNING, DEANNA                      CHEWNING, DIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHEWNING, RACHEL       Case 22-11238-LSS    Doc
                                     CHEWNING,   2 Filed 11/30/22
                                               SHANNON                Page CHEY,
                                                                            849 of
                                                                                 KAY5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHEZ, JENNIFER                       CHHABRA, BHAVDEEP                     CHHABRA, GURNEET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHHABRA, MANIK                       CHHATRAPATI, MOHIT                    CHHAY, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHHENG, JOAN                         CHHIKARA, PRATEEK                     CHHOTU, NYRALEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHHOUK, STEPHANIE                    CHHUGANI, HARISH                      CHI CAFE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




CHI CHOI                             CHI HUI HO                            CHI LUNG CHOI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHI, JACQUELINE                      CHI, JANE                             CHI, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHI, JULIE                           CHI, MICHELLE                         CHIABI, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIAM, KATHY                         CHIAMETTI, HANNAH                     CHIAMULERA, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIANCOLA, AMANDA                    CHIANESE, NAOMI                       CHIANG, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHIANG, GRACE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHIANG, GRACE                    Page CHIANG,
                                                                            850 ofJAN
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CHIANG, JOANNA                       CHIANG, MATT                          CHIANG, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIANG, NELLIE                       CHIANG, WESLEY                        CHIANGPRADIT, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIAPPETTA, ANDREW                   CHIAPPETTA, CARMINE                   CHIAPPETTA, DORIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIAPPINI, LAUREN                    CHIAPPONE, AJ                         CHIARADONNA, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIARAMONTE, ALISON                  CHIARAMONTE, DELAINIE                 CHIARAMONTE, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIARAMONTE, RACHEL                  CHIARELLA, ARI                        CHIARELLA, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIARELLI, ALICIA                    CHIARO, PETE                          CHIASSON, CADENCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHIASSON, OPAL                       CHIASSON, TIFFANY                     CHIBNALL, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHICAGO COFFEES AND TEAS             CHICANEAU, AGANIA                     CHICARELLA, ASHLEY
2155 S CARPENTER                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60608
CHICARIELLI, PETER     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHICAS, CELESTE                     Page CHICCARINE,
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CHICKERING, JENNIFER                 CHICKERING, MEGIN                        CHICKPEA MAGAZINE
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CHICO, CHLOE                         CHICO, JOSE                              CHICOINE, MELISSA
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CHICOLA, VINCENT                     CHICOS, AMY                              CHIDDIX, CHRISTOPHER
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CHIDDIX, DEANNA                      CHIDESTER II, CARL                       CHIDLOW, LIBBY
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CHIECO, JANE                         CHIEFFO, MICHAEL                         CHIELLI, LAUREN
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CHIEN, EUGENIA                       CHIEN, JIM                               CHIEN, LAUREN
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CHIEN, THERESA                       CHIEN, YU-TING                           CHIENG, TIFFANY
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CHIJIK, STAS                         CHIJIOKE, CHIBUNNA                       CHIKALLA, MADELINE
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CHIKE-OBI, CHUMA       Case 22-11238-LSS
                                     CHIKLIS, Doc 2 Filed 11/30/22
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CHIKOSKY, MARYPEARL                  CHILCOTE, KATHLEEN                    CHILCOTT, DANELLE
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CHILD, CARA                          CHILD, CHERYL                         CHILD, JOSHUA
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CHILD, LORA                          CHILD, MARCY                          CHILD, MATT
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CHILD, MELISSA                       CHILD, ROBERT                         CHILDERS, CALEB
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CHILDERS, CAMERON                    CHILDERS, ECHELLE                     CHILDERS, HALEY
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CHILDERS, JANTZEN A                  CHILDERS, JESSICA                     CHILDERS, JESSICA
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CHILDERS, JESSICA                    CHILDERS, KIMBERLY                    CHILDERS, KRISTI
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CHILDERS, LOGAN                      CHILDERS, NATALIE                     CHILDERS, TERESA
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CHILDERSTON, HARRY                   CHILDRESS, ASHLEY                     CHILDRESS, BETH
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CHILDRESS, DEBRA       Case 22-11238-LSS    Doc
                                     CHILDRESS,   2 Filed 11/30/22
                                                JOSHUA                Page CHILDRESS,
                                                                            853 of 5495
                                                                                      KATHY
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CHILES, ERICA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     CHILES, JANET                       Page CHILES,
                                                                               854 ofJANET
                                                                                      5495
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CHILES, MARSHALL                        CHILES, MICHAEL                       CHILES, MICHELLE
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CHILL-N-GO                              CHILLOT, BARBARA                      CHILOIRO, FRANCESCA
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CHILSOM, IVETTE                         CHILSON, DEBORAH                      CHILSON, MARIA
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CHILTON, ALEXANDRA                      CHILTON, BEAU                         CHILUKURI, RAMESH
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CHIMENTO, DAWN                          CHIMINIELLO, ROBERT                   CHIN, ANITA
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CHIN, BETSY                             CHIN, CHELSEA                         CHIN, CHIA-CHENG
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CHIN, CHRIS                             CHIN, CHRISTINA                       CHIN, CHRISTOPHER
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CHIN, CHRISTY                           CHIN, CINDY                           CHIN, COURTNEY
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CHIN, DAVID            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHIN, DEBBIE                        Page CHIN,
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                                                                                    of 5495
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CHIN, JAIMIE                         CHIN, JAMES                              CHIN, JESSICA
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CHIN, JESSICA                        CHIN, ROXANA                             CHIN, STEPHANIE
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CHINA BASIN BALLPARK COMPANY LLC     CHINA JONES CHOW TRUCK                   CHINA, ELIZABETH
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SAN FRANCISCO, CA 94107




CHINCHILLA, INELDA                   CHINCHIOLO, ADAM                         CHINEN-MENDEZ, ALYSSA
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CHING, EMILY                         CHING, KRISTEN                           CHINI, WHITNEY
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CHINN, BERNADETTE                    CHINN, JENNIFER                          CHINN, KRYSTAL
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CHINNAKONDA, SHABDESH                CHINNICI, HOLLY                          CHINOPOROS, A
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CHINQUEE, RACHEL                     CHINTHAPALLY, NAVEEN                     CHINYAMUTANGIRA, KENNEDY
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CHIOCCARIELLO, FRANK                 CHIODO, MATTHEW                          CHIOFOLO, JENNIFER
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CHIONUMA, ZANETA       Case 22-11238-LSS    Doc
                                     CHIORELLO,   2 Filed 11/30/22
                                                TERI                  Page CHIOVARI-KAPLAN,
                                                                            856 of 5495 ANDREA
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CHIOY, BRIAN                         CHIPAK, KIM                          CHIPENKO, VALERIYA
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CHIPMAN, KATIE                       CHIPOTLE MEXICAN GRILL               CHIPPERO, JANET
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                                     MARINA DEL REY, CA 90292




CHIPPY, KYLE                         CHIQUETTI, VICTOR                    CHIQUITO, JIOVANNY
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CHIRAG AHIR                          CHIRAG DHAR                          CHIRAG MITHANI
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CHIRAYATHUMADOM, RAMA                CHIRGWIN, MICHAEL                    CHIRGWIN, MICHAEL
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CHIRIACO, MARGARET                   CHIRICHELLA, LARA                    CHIRILLO, NICHOLAS
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CHIRIRBOGA, CHRIS                    CHIRSAN, ALICIA                      CHIRUMBOLE, MICHAEL
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CHISHOLM, ALYSSA                     CHISHOLM, DAKOTA                     CHISHOLM, ELISABETH
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CHISHOLM, EMILY                      CHISHOLM, EVA-ELIZABETH              CHISHOLM, MARGARET
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CHISICK, MELISSA       Case 22-11238-LSS
                                     CHISLER,Doc 2 Filed 11/30/22
                                             LACEY                    Page CHISLEY,
                                                                            857 of COREATHA
                                                                                    5495
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CHISLON, ARI                         CHISM, KIMBERLY                       CHISM, MEGAN
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CHISM, SARAH                         CHISNALL, KERRY                       CHISOM, BRIAN
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CHISONGA, HIBAJENE                   CHISUM, PAMELA                        CHITALE, YASHASHREE
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CHITHELEN, NATALIE                   CHITKARA, JESSICA                     CHITNIS, CHAKRAPANI
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CHITTAJALLU, PUNYA                   CHITTENDEN, HEATHER                   CHITTIM, CLAUDIA
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CHITTIM, JOY                         CHITTIM, KYLE                         CHITTUM, WENDY
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CHITWOOD, AMBER                      CHITWOOD, CASEY                       CHITWOOD, DIANE
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CHITWOOD, MEGAN                      CHITWOOD, PAUL                        CHITWOOD, ROBERT
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CHIU, COURTNEY                       CHIU, JENNY                           CHIU, WINNIE
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CHIUSANO, BRITTANY     Case 22-11238-LSS     DocGROUP,
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                                                                              858 of 5495
                                                                                       GINGER
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CHIVERS, SUZETTE                      CHIVINGTON, DENISE                     CHIZ, DANIELLE
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CHIZEK, RACHEL                        CHIZMADIA, JOHN                        CHIZMAR, TREY
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CHLASTAWA, LUKE                       CHLEBAK, LAUREN                        CHLEBEK, HANNAH
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CHLEBEK, MICHELLE                     CHLOE DONOVAN                          CHLOE, IRIS
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CHLOPEK, JESSICA                      CHLOUN, KATIE                          CHLUDZINSKI, ERICA
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CHMIEL, DENEE                         CHMIELEWSKI, ALISON                    CHMIELEWSKI, BROOKE
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CHMIELEWSKI, DAVID                    CHMIELEWSKI, ELIZABETH                 CHMIELEWSKI, KATHRYN
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CHMIELEWSKI, STACY                    CHMURA, CHRISTINA                      CHMURA, MICHAEL
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CHMURA, REGINA                        CHMYKH, ALEKSANDR                      CHO, ABBEY
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CHO, AHRA              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHO, ALEX                        Page CHO,
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                                                                                of 5495
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CHO, ALLISON                         CHO, AMY                              CHO, DANIEL
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CHO, ESTEFANIA                       CHO, HYUN JEAN                        CHO, JAY
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CHO, JENNIFER                        CHO, MEEN                             CHO, MINNCHULL
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CHO, NICOLE                          CHO, PAULINA                          CHO, SARAH
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CHO, SOO                             CHO, SUZY                             CHO, WONTAI
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CHO, YOUNG                           CHOATE, ANNA                          CHOATE, BETSY
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CHOATE, DIANA                        CHOATE, ERICA                         CHOATE, MARK
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CHOATE, MEGAN                        CHOATE, TAMARA                        CHOATE, TAYLOR
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CHOCK, JASMINE                       CHOCKER, DARBIE                       CHOCKLEY, KATIE
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CHOCOLATERIE AIG       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                      CHOE, JOSEPH                     Page CHOE,
                                                                             860 of 5495
                                                                                  SUN
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CHOE, YOON HEE                       CHOFFEL, SUZANNA                       CHOI CHI LUNG
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CHOI, ANDREA                         CHOI, BYN                              CHOI, CHI
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CHOI, CHRISTINE                      CHOI, DAHEE                            CHOI, EMILY
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CHOI, ERIC                           CHOI, ERIC                             CHOI, ERIN
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CHOI, HANNAH                         CHOI, HANNAH                           CHOI, HEIDI
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CHOI, HYOUNG                         CHOI, JAEHYUK                          CHOI, JAEPIL
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CHOI, JASON                          CHOI, JENNIFER                         CHOI, JENNY
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CHOI, JI                             CHOI, JOSH                             CHOI, JUNG MIN
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CHOI, KATIE                          CHOI, LEAH                             CHOI, NAEYEOUNG
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CHOI, NICKYWICKY       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHOI, ROBERT                     Page CHOI,
                                                                            861 ROBIN
                                                                                 of 5495
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CHOI, SHINHAE                        CHOI, SIJIN                           CHOI, SOO
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CHOI, SUSAN                          CHOI, TANIA                           CHOI, YEONSU
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CHOI, YUNI                           CHOICEBUILDER                         CHOINA, KAILEN
ADDRESS AVAILABLE UPON REQUEST       ATTN: ACCOUNTS RECEIVABLE             ADDRESS AVAILABLE UPON REQUEST
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                                     ORANGE, CA 92863-7405




CHOINKA, ERICA                       CHOJNACKI, GEORGINA                   CHOJNICKI, ERIC
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CHOLEWA, MELISSA                     CHOLIS, AMY                           CHOLOK, DAVID
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CHOLTCO, REBECCA                     CHOMENKO, ANITA                       CHOMICK, GRACE
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CHOMICKI, WILLIAM                    CHOMINSKI, KATHLEEN                   CHOMKO, ANNE
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CHOMNIAK, ALLISON                    CHONES, KAAYLA                        CHONG YUNG KENT
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CHONG, CHRISTINA                     CHONG, CRYSTAL                        CHONG, JILL
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CHONG, JOE             Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CHONG, KRISTY                    Page CHONIN,
                                                                            862 ofHALEY
                                                                                   5495
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CHONKO, KAILEE                       CHOO, KEVIN                           CHOONG, SARAH-MARIE
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CHOPRA, JATIN                        CHOPRA, MAHI                          CHOPRA, PARTH
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CHOPRA, PRNAY                        CHOPRA, RAJ                           CHOPRA, RUCHIKA
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CHOPRA, SAURABH                      CHOQUETTE, KARIN                      CHORANZIAK, ROBIN
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CHORLOG, LAUREN                      CHORZEMPA, DAVID                      CHOTARAY, CHINMAY
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CHOTARAY, CHINMAY                    CHOU, ABBY                            CHOU, ALISON
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CHOU, FRANCISCA                      CHOU, JESSICA                         CHOU, LAWRENCE
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CHOU, LEANNE                         CHOU, PETER                           CHOU, PIN-HUA
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CHOU, SARAH                          CHOU, STEPHANIE                       CHOU, WEI-LIN
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CHOU, YING-TUNG        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHOU, YI-SHUAN                   Page CHOUBEY,
                                                                            863 of 5495
                                                                                    MEGHANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHOUCAIR, SARAH                      CHOUDHARY, RAVINDER                   CHOUDHURY, ANIKA
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CHOUDHURY, DRISHTI                   CHOUDHURY, NANDINI                    CHOUGH, OLIVIA
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CHOUINARD, KAITLIN                   CHOUINARD, SARAH                      CHOULER, MELISSA
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CHOUTKA, AMANDA                      CHOVANETZ, COURTNEY                   CHOW, BEN
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CHOW, JARVA                          CHOW, JENNY                           CHOW, LAURA
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CHOW, LYDIA                          CHOW, MICHAEL                         CHOW, RUI
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CHOW, STEPHEN                        CHOWANIEC, JANE                       CHOWDHURY, CHANDAN
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CHOWDHURY, TANZEELA                  CHOWNING, JEFFREY                     CHOY, SUSAN
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CHOYCE, KATHERINE                    CHRABASZCZ, DARIA                     CHRANS, THY
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CHREST, SARAH          Case 22-11238-LSS    Doc
                                     CHRETIEN,    2 Filed 11/30/22
                                               DEIRDRE                Page CHRIMES,
                                                                            864 of 5495
                                                                                    JENNIFER
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CHRIN, MIRABAI MARIE                 CHRIS ANDRUS                          CHRIS ANIELLO
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CHRIS BUTTERBAUGH                    CHRIS COBB                            CHRIS D BUSICK
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CHRIS GOSS                           CHRIS HUXLEY                          CHRIS KEPHART
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CHRIS KOSTOPOULOS                    CHRIS MAGGIORE                        CHRIS NOSSER
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CHRIS REILLY                         CHRIS THOMPSON                        CHRIS TRANER
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CHRIS W HILLER                       CHRIS WALKER                          CHRIS, KATHRINE
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CHRISFIELD, BENJAMIN                 CHRISITAN, CAROLINE                   CHRISMAN, JAMES
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CHRISMAN, SADENA                     CHRISMAN, SEBRINA                     CHRISMAN, STEPHANIE
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CHRISMAN, VALENCIA                   CHRISMER, JESSICA                     CHRIST, ANDREW
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CHRIST, ASHLEY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHRIST, CARA                     Page CHRIST,
                                                                            865 ofDOUGLAS
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CHRIST, KELLY                        CHRIST, LINDSAY                       CHRIST, MARY KAY
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CHRISTENSEN, HAYLEY    Case 22-11238-LSS    Doc 2HOLLIFiled 11/30/22
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                                                                            867 of 5495
                                                                                     BINKLEY
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CHRISTIAN ROUSE                      CHRISTIAN T AMUNDSEN                  CHRISTIAN WICK
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CHRISTIAN, DENISE                    CHRISTIAN, ELIZABETH                  CHRISTIAN, ERICK
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CHRISTIAN, JEN         Case 22-11238-LSS     Doc
                                     CHRISTIAN, KAT2 Filed 11/30/22      Page CHRISTIAN,
                                                                               868 of 5495
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CHRISTIAN, OLIVIA                       CHRISTIAN, QIANA                      CHRISTIAN, SETH
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CHRISTIANSEN, BRIDGET                   CHRISTIANSEN, DWIGHT                  CHRISTIANSEN, ELIZABETH
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CHRISTIANSEN, SUSAN    Case 22-11238-LSS     Doc 2ADDIE
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                                                                            869 of 5495BRITTNEY
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CHRISTIE CARBONE                     CHRISTIE MARKOWITZ                    CHRISTIE STUMPF, LISA
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CHRISTIE, AMITY                      CHRISTIE, CAROLINE                    CHRISTIE, DIANA
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CHRISTINA COOKSEY                    CHRISTINA COOTS                       CHRISTINA CRAFT
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CHRISTINA DUBOIS                     CHRISTINA DYE                         CHRISTINA FRANCOIS
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                                     CHRISTINA    2 MARTIN
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                                                                            870 of 5495
                                                                                     LITKE
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CHRISTINA PROIETTI                   CHRISTINA RINGWALT                    CHRISTINA SHARP
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CHRISTINA WOOG                       CHRISTINA, ALLYSA                     CHRISTINA, MARIA
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CHRISTINE BAEZ-SEGARRA               CHRISTINE C MOJAZZA                   CHRISTINE CARILLO
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CHRISTINE CARLSON                    CHRISTINE COOPER                      CHRISTINE DALTON
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CHRISTINE DOIG                       CHRISTINE ECKHEART                    CHRISTINE FERGUSON, LINNEA
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CHRISTINE GOLEMBIEWSKI               CHRISTINE HOWLETT                     CHRISTINE JOHNSON
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CHRISTINE L MITCHELL                 CHRISTINE LEWANDOWSKI                 CHRISTINE LOGAN
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                                     CHRISTINE    2 CARLSON
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                                                                             871 of 5495
                                                                                      LYNN DESSANTI
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CHRISTINE WEBER                      CHRISTINE WEEKS                        CHRISTINE WILSON
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CHRISTINE Y CHEUNG                   CHRISTINE YEAGER                       CHRISTINE
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CHRISTINE, TWILA                     CHRISTINE, YARZABEK,                   CHRISTINE, YEARING
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CHRISTINE, ZENRUFFINEN,              CHRISTL BONAPARTE                      CHRISTLE, BRIANNA
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                                     CHRISTMAN,  2 Filed 11/30/22     Page CHRISTMAS,
                                                                            872 of 5495
                                                                                      ALEXANDRIA
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CHRISTOPHER ANGELUCCI                CHRISTOPHER BARNETT                   CHRISTOPHER BASSETT-BOUCHARD
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CHRISTOPHER DAVID SHORT              CHRISTOPHER DECKER                    CHRISTOPHER DOUGHERTY
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                                     CHRISTOPHER     Filed 11/30/22
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                                                                            873 of 5495E MAHONEY
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CHRISTOPHER HARCOURT                 CHRISTOPHER HEY                       CHRISTOPHER HUGHES
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CHRISTOPHER JOHN GREGORY             CHRISTOPHER L LE                      CHRISTOPHER LEE
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CHRISTOPHER SCOTT ANDERSON          CHRISTOPHER STOVER                    CHRISTOPHER SWAIN
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CHRISTOPHER THON                    CHRISTOPHER TODD SMITH                CHRISTOPHER TOLFORD
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                                                                            875 of 5495 NISSE
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CHRISTY                              CHRISTY, CASSIE                      CHRISTY, DAVIS
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CHRISTY, DEBORAH                     CHRISTY, JEANETTE                    CHRISTY, LAUREN
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CHRISTY, SHEMEEKA                    CHRISTY, VICTORIA                    CHROBAK-MARCHESE, BETH
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CHRONES, KEVIN                       CHRONIAK, CAITI                      CHRONIC, ANNE
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CHROSNIAK, SAMANTHA                  CHRYSANTHEMUM, ZAYNE                 CHRYST, NANCY
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CHRYSTAL ANDERSON                    CHRYSTAL NAGLE                       CHRYSTAL, ANYA
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CHRYSTIE, KATHLEEN                   CHSZ LLC (SHOTZOOM, LLC)             CHU, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       11101 W. 120TH AVE, STE 300          ADDRESS AVAILABLE UPON REQUEST
                                     BROOMFIELD, CO 80021
CHU, CHARLES           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CHU, CHIH-CHI                    Page CHU,
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CHU, FIONA                           CHU, JENNIFER                         CHU, KELLI
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CHU, KENNY                           CHU, KEVIN                            CHU, KEVIN
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CHU, KEVIN                           CHU, KRISTIN                          CHU, OLIVIA
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CHU, RAYMOND                         CHU, SHARON                           CHU, SZU HUA
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CHU, TIFFANY                         CHU, VIVIAN                           CHU, WILHELM
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CHUA, ANGELICA                       CHUA, MEDELYN                         CHUA, OMAR
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CHUAN KHO                            CHUANG, HAO-HSIANG                    CHUB, IVAN
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CHUBB & SON                          CHUBB GLOBAL CASUALTY                 CHUBB
PO BOX 382001                        ROUTING 1275-2W                       202B HALLS MILL ROAD
PITTSBURGH, PA 15250-8001            ONE BEAVER VALLEY RD                  WHITEHOUSE STATION, NJ 08889
                                     WILMINGTON, DE 19802




CHUBB                                CHUCK FRYBERGER FILMS                 CHUCK WYTIAZ
555 S. FLOWER STREET, 3RD FLOOR      12965 W 20TH AVE                      ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90071                GOLDEN, CO 80401
CHUCK, EMIL            Case 22-11238-LSS   Doc
                                     CHUCKRAN,   2 Filed 11/30/22
                                               KRISTEN                Page CHUCKS
                                                                            877 ofPARKING
                                                                                   5495 SERVICES, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        13437 VENTURA BOULEVARD SUITE 218
                                                                           SHERMAN OAKS, CA 91423




CHUDACOFF, MICHAEL                   CHUDAKOFF, KATHRYN                    CHUDASAMA, BENESH
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CHUDNER, IRINA                       CHUDOBA, BRANDI                       CHUDZICKI, PAWEL
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CHUECA, JOSE                         CHUFFE, ROMEO                         CHUGANEY, ROSHNI
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CHUGH, GAGAN                         CHUGHTAI, MOHAMMAD                    CHUI, PATRICIA
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CHUI, STACEY                         CHUKHMANAVA, HANNA                    CHUKWU, ASHLEY
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CHUKWUKA, JOSH                       CHUKWURAH, EDWARD                     CHUMA, BASHIR
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CHUMASH VINEYARD, LLC                CHUMLEY, MADELINE                     CHUMLEY, NATALIE
585 MCMURRAY ROAD                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BUELLTON, CA 93427




CHUMLEY, SOYYA                       CHUMNEY, ALEXANDRA                    CHUMPITAZ, TERESA
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CHUMPITAZI, JOHN                     CHUN, JIA                             CHUN, JOYCE
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CHUN, SARAH            Case 22-11238-LSS   Doc
                                     CHUNCHU,    2 Filed 11/30/22
                                              SEJAL                   Page CHUNG,
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CHUNG, AUBREE                        CHUNG, BORIS T.                       CHUNG, BREANNA
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CHUNG, CHRISTINE                     CHUNG, ELIZABETH                      CHUNG, ELLEN
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CHUNG, IJIN                          CHUNG, JAE                            CHUNG, JENNIFER
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CHUNG, JOSH                          CHUNG, JUNE                           CHUNG, LELA
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CHUNG, LISA                          CHUNG, NOREEN                         CHUNG, SARA
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CHUNG, SARAH                         CHUNG, STEPHANIE                      CHUNG, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CHUNG, STEPHEN                       CHUNG, YUJIN                          CHUNHEE YUN
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CHUNLAN SHEN                         CHUPEK, BILL                          CHUPKA, TARA
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CHUPP, KATIE                         CHUPP, KENZI                          CHURAK, JEREMY
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CHURBOCK, NICOLE       Case 22-11238-LSS
                                     CHURCH,Doc  2 Filed 11/30/22
                                            CHARLES                   Page CHURCH,
                                                                            879 of HEATHER
                                                                                   5495
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CHURCH, JEFF                         CHURCH, JEFF                          CHURCH, KIM
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CHURCH, KYLE                         CHURCH, MACEON                        CHURCH, MARLENE
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CHURCH, MASON                        CHURCH, NINA                          CHURCH, PATTY
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CHURCH, SAMANTHA                     CHURCH, WHITNEY                       CHURCHILL, ANNA
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CHURCHILL, BARBARA                   CHURCHILL, CHERYL                     CHURCHILL, JOHN
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CHURCHILL, JULIA                     CHURCHILL, PHILIP                     CHURCHILL, SARA
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CHURCHILL, SARAJEAN                  CHURCH-KEY INC.                       CHURCHMAN, TRACEY
ADDRESS AVAILABLE UPON REQUEST       5201 S. TORREY PINES DRIVE            ADDRESS AVAILABLE UPON REQUEST
                                     LAS VEGAS, NV 89118




CHURCHWELL, XAN                      CHURILLA, AUBREE                      CHURNS, TAMI
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CHUTE, BENJAMIN                      CHUTE, NICOLE                         CHUTE, RACHEL
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CHUTEI & ACCAMMA VARKEYCase 22-11238-LSS
                                     CHUZAS, Doc
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                                                                            880 of  5495
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CHVATAL, JAMIE                       CHVATAL, VICKI                        CHWALIBOG, ADAM
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CHWISTEK, KAROLINA                   CHYBOWSKI, DAVID                      CHYNCES, ANNABEL
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CHYTRAUS, LOGAN                      CHYZHYK, KATSIARYNA                   CIABURRI, KIM
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CIACCIO, APRIL                       CIACIAK, SUZANNE                      CIALLELA, DAPHNE
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CIALLELLA, CHRISTINA                 CIAMPA, CHELSEA                       CIAMPA, ROBERT
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CIANCHETTA, MICHAEL                  CIANCI, ALEXIS                        CIANCI, ASHLEY
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CIANCI, KARLA                        CIANCI, MADISON                       CIANCIMINO, KAREN
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CIANFLONE, KELLEY                    CIANFRANI, SIOBHAN                    CIANI, SAVANNAH
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CIANO, DOMINIC                       CIAPCIAK, MICHAEL                     CIAPETTA, THOMAS
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CIARAVELLA, MARESA     Case 22-11238-LSS     Doc
                                     CIARAVINO      2 Filed 11/30/22
                                               III, WILLIAM            Page CIARAVINO,
                                                                             881 of 5495
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CIARLEGLIO, JENNIFER                 CIARLO, AMY                            CIARLONE, PAT
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CIARMELLA, KRISTIN                   CIARROCCA, SHERRILL                    CIATTO, FRANCESCA
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CIATTO, THERESA                      CIAVARDONI, JACKSON                    CIAVARINO, REBECA
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CIAVARRO, GINA                       CIAVATTONE, DOMENIQUE                  CIAVOLELLA, PAUL
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CIBRIAN, LINDSAY                     CIBUZAR, PAUL                          CICCAGLIONE, LAUREL
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CICCARELLI, RACHAEL                  CICCARONE, PATRICIA                    CICCHELLA, MELISSA
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CICCHETTI, CARMEN                    CICCHETTI, PHYLLIS                     CICCHINO, CHARLES
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CICCIARELLI, JORDAN                  CICCOLINI, KATIE                       CICCONE, BRANDON
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CICCONE, BRIAN                       CICCONE, ELIZABETH                     CICCONE, SAMANTHA
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CICCONI, KELLY         Case 22-11238-LSS    Doc
                                     CICERELLI,    2 Filed 11/30/22
                                                JAIMEE                Page CICERON,
                                                                            882 of 5495
                                                                                    TERESA
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CICHALSKI, SCOTT                     CICHANOWICZ, SUSANNA                  CICHOCKI, MARY KATE
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CICHON, ASHLEY                       CICHON, MATTHEW                       CICHOSZ, DANIEL
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CICHOSZ, KAYLEY                      CICHY, CHELIS                         CICILIONI, FRED
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CICONTE, CHRISTINA                   CIDONI, FRANCINE                      CIELINSKI, SCOTT
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CIEPIELA, LISA                       CIEPLICKI, KAITY                      CIERRA LUCILLE JACKSON
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CIESIELSKI, MELISSA                  CIESIELSKI, TAYLOR                    CIESLA, JOSEPH
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CIESLA, VANESSA                      CIESLAK, CATHY                        CIESZESKI, MIKAYLA
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CIEZADLO, AGATA                      CIFELLI, BRIANA                       CIFELLI, CHRISTINE
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CIFELLI, CLAIRE                      CIFELLI, ERIC                         CIFUENTES, DAVID
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CIGNAVITCH, DIANA      Case 22-11238-LSS      Doc 2 Filed 11/30/22
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CILENTI, ELENA                       CILETTI, LISA                         CILLIS, LAUREN
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CILLO, AUDREY                        CILMI, LORI                           CILUFFO, EILEEN
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CIMADEVILLA, ANA                     CIMALA, MORGAN                        CIMARUSTI-CLIFFORD, ANGELA & BEN
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CIMBER, KERRY                        CIMINERA, MALLORY                     CIMINO, BRITTNEY
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CIMINO, DANIEL                       CIMINO, LINDSEY                       CIMINO, MARC
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CIMINO, NICOLA                       CIMMINO, MICHAEL                      CIMORELLI, AMBER
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CIMPEANU, ADA                        CINA, AMANDA                          CINCINNATI, NICOLE
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CINCOTTA, BARBARA                    CINCOTTA, FRANCIS                     CINCOTTA, JENN
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CINCOTTA, STEPHEN                    CINDI CRAIG                           CINDY COE, CYNTHIA
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CINDY JACKSON          Case 22-11238-LSS
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                                                                               884 of 5495
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CINDY PALMER                            CINDY SMITH                           CINDY TAN
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CINEMA CAMERA RENTALS                   CINICOLA, ANNA                        CINICOLA, ANNA
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CINIELLO, ALLISON                       CINIELLO, CHRISTOPHER                 CINNANTE, M
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CINOTTI, DAVID                          CINOTTO, LINDSAY                      CINQUE, JOHN
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CINQUINA, ALLYSSA                       CINTRON, JADE                         CINTRON, JEAN
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CINTRON, MIRANDA                        CIOBANU, VICTORIA                     CIOCCA, ALEX
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CIOCCA, NINA                            CIOCE, ANNA                           CIOCH, AUDREY
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CIOCH, KATARZYNA                        CIOFANI, ALYSSA                       CIOFFI, GINA
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CIOFFI, TAYLOR                          CIOLEK, JACQUELINE                    CIOLEK, RHONDA
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CIOMBER, SANDIE        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     CIONCI, AMANDA                   Page CIONNI,
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CIOTTI, JOHN                         CIOTTI, LAUREN                        CIPOLETTI, JENNIFER
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CIPOLLA, KYLIE                       CIPOLLETTI, KATHLEEN                  CIPOLLINA, CARLO
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CIPRA, ALLI                          CIPRA, BRIAN                          CIPRIAN MARIVIU RUS
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CIPRIANI, MICHAEL                    CIPRIANI, REGINA                      CIPRIANO, COURTNEY
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CIPRIANO, ELIZABETH                  CIPRIANO, EMILY                       CIPRIANO, LOUIS
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CIPULLO, HEATHER                     CIRA, JACQULYNN                       CIRACI, KATHERINE
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CIRACI, KATI                         CIRAL, DAN                            CIRANNI, NANCY
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CIRAOLO, BRITTANY                    CIRARA, PAMELA                        CIRBUS, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CIRCLE S VINEYARD INC                CIRCO, DIANE                          CIRCOSTA, SCOTT
720SOUTH RIDGEMARK DRIVE             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLLISTER, CA 95023
CIRIANNI, ADRIANA      Case 22-11238-LSS     Doc
                                     CIRIGLIANO,   2 Filed 11/30/22
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                                                                               886 ofJESSICA
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CIRILLO, LOUIS                          CIRIO, NICOLE                         CIRISOLI, TIM
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CIRONE, BROOKE                          CIRONE, DAVID                         CIRONE, FRANK
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CIRONE, KATHERINE                       CIRONE, VALERIE                       CIRROTTI, JILL
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CIRRUS INSIGHT                          CISCO, MEREDITH                       CISE, JUSTIN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CISEK, MADELINE                         CISILOTTO, LUCIA                      CISION US INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        130 EAST RANDOLPH STREET 7TH FL
                                                                              CHICAGO, IL 60601




CISKOWSKI, EVELYN                       CISLO, JESSICA                        CISMARESCU, TUDOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CISNEROS BRANCOCCIO, EVELYN             CISNEROS, A.                          CISNEROS, ANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CISNEROS, CASSIE                        CISNEROS, CINDY                       CISNEROS, HAILEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CISNEROS, HILLARY                       CISNEROS, VICTORIA                    CISSELL, DEMI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CISTONE, FRANCESCA     Case 22-11238-LSS
                                     CITADEL Doc   2 (8430)
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ADDRESS AVAILABLE UPON REQUEST       ATTN KEVIN NEWSTEAD OR PROXY MGR             ADDRESS AVAILABLE UPON REQUEST
                                     131 SOUTH DEARBORN ST
                                     35TH FL
                                     CHICAGO, IL 60603



CITARELLA, PAIGE                        CITIBANK, N.A. (0908)                     CITIZEN, BRANDY
ADDRESS AVAILABLE UPON REQUEST          ATTN SHERIDA SINANAN OR PROXY DEPT        ADDRESS AVAILABLE UPON REQUEST
                                        3801 CITIBANK CTR
                                        B/3RD FL/ZONE 12
                                        TAMPA, FL 33610



CITLALLI, MORENO,                       CITRON, REBECCA                           CITTADINO, FRANK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CITTADINO, LAUREN                       CITTADINO, MARY                           CITY OF BEVERLY HILLS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS UNAVAILABLE AT TIME OF FILING




CITY OF EL SEGUNDO                      CITY OF LA PARK LOT                       CITY OF LOS ANGELES
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING     PO BOX 30879
                                                                                  FALSE ALARMS LOS ANGELES, CA 90030-
                                                                                  0879




CITY OF LOS ANGELES                     CITY OF MANHATTAN BEACH                   CITY OF PHILADELPHIA
PO BOX 51112                            ADDRESS UNAVAILABLE AT TIME OF FILING     PHILADELPHIA DEPARTMENT OF REVENUE
LOS ANGELES, CA 90051-5412                                                        P.O. BOX 1670
                                                                                  PHILADELPHIA, PA 19105-1670




CITY OF SANTA MONICA - REVENUE          CITY OF SANTA MONICA                      CITY OF SANTA MONICA
DIVISION                                1685 MAIN STREET                          FINANCE DEPT
PO BOX 2200                             SANTA MONICA, CA 90401                    1685 MAIN ST, MS 09
SANTA MONICA, CA 90407-2200                                                       SANTA MONICA, CA 90401




CITY OF SANTA MONICA                    CITY OF SM                                CITY OF
PO BOX 2200                             ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS UNAVAILABLE AT TIME OF FILING
SANTA MONICA, CA 90407-2200




CITY SPIRITS                            CITY TAVERN                               CITY WINERY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS UNAVAILABLE AT TIME OF FILING




CITYMB-PKG-IPS                          CIUCCI, JENNY                             CIVIDANES, WENDY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
CIVILETTA, ARTHUR      Case 22-11238-LSS     Doc
                                     CIVILETTI,     2 Filed 11/30/22
                                                ELIZABETH              Page CIVILETTI,
                                                                             888 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CIZEL, JANKO                         CJ WESBY                               CLAAR, KATIE
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CLAAR, LISA                          CLAAR, MARY                            CLAAS, ALLISON
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CLAASSEN, MARY                       CLAASSEN, SARAH                        CLABBY, MARISA
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CLABORN, GEORGE                      CLACK, CRYSTAL                         CLADINOS, M
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CLAES, ZANE                          CLAFFEY, CANDICE                       CLAFLIN, ALYSSA
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CLAFLIN, AMANDA                      CLAFLIN, KAREN                         CLAFLIN, KYLE
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CLAHERTY, DEVON                      CLAIBORN, LINDSAY                      CLAIBORNE, KISHA
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CLAIBOURN, VICTORIA                  CLAIR, CANADA                          CLAIR, ERICA
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CLAIR, JOHN                          CLAIRE DUCASSE                         CLAIRE FREY
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CLAIRE LEWIS           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLAIRE MATTHEWS                  Page CLAIRE,
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CLAIRE, ALLISON                      CLAIRE, ANNIE                         CLAIRE, BUFFA
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CLAIRE, MARY                         CLAIRE, MARY                          CLAIRJOUR, ROOSEVELT
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CLAISE, ELIZABETH                    CLAITT, CHERITA                       CLAKLEY, AMANDA
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CLAMME, JENNIFER                     CLAMME, MATTHEW                       CLANCEY, CHERYL
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CLANCY, BECCA                        CLANCY, BRIAN                         CLANCY, HANNAH
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CLANCY, JANE                         CLANCY, JUDITH A                      CLANCY, KARI
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CLANCY, KATHERINE                    CLANCY, KELLY                         CLANCY, LAUREN
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CLANCY, LISE                         CLANCY, MATT                          CLANCY, RUARI
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CLANCY, SUSAN                        CLANCY, THOMAS                        CLANEY, REBECCA
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CLANTON, ALLA          Case 22-11238-LSS    Doc
                                     CLANTON,    2 Filed 11/30/22
                                              CORRIE                      Page CLANTON,
                                                                                890 of 5495
                                                                                        LINDY
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CLANTON, MANDI                         CLANTON, MELISSA                        CLANTON, SARAH
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CLAPP, EDITH                           CLAPP, EMMA                             CLAPP, JULIE
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CLAPP, PATRICK                         CLAPP, SONJA                            CLAPPER, ALEX
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CLAPPER, ANDREW                        CLAPSADDLE, BRIANA                      CLAPSADDLE, MICHELE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




CLARA STREET COMPANY (SALESPROS LLC)   CLARE JOHNSON                           CLARE, BRIANNE
251 RHODE ISLAND STREET, SUITE 203     ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94103




CLARE, LOGAN                           CLARENCE, WEST,                         CLARICE PEI HSIA HONG
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




CLARION, GEREMY                        CLARISSA BUTLER                         CLARISSA PATTERSON
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




CLARITY, LAURA                         CLARK COUNTY BEVERAGE MANAGEMENT        CLARK KENT PARKER
ADDRESS AVAILABLE UPON REQUEST         LLC                                     ADDRESS AVAILABLE UPON REQUEST
                                       9524 W. CAMELBACK RD C130-156
                                       GLENDALE, AZ 85305




CLARK ROBERT GRIFFITH                  CLARK WRIGHT                            CLARK, ADAM
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
CLARK, ADAM            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLARK, ADAM                      Page CLARK,
                                                                            891 ofADAM
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CLARK, ADRIENNE                      CLARK, AILEEN                         CLARK, AISHA
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CLARK, ALBERT                        CLARK, ALEX                           CLARK, ALEXANDER
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CLARK, ALEXANDRA                     CLARK, ALI                            CLARK, ALIEA
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CLARK, ALISON                        CLARK, ALLI                           CLARK, ALLISON
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CLARK, AMANDA                        CLARK, AMANDA                         CLARK, AMANDA
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CLARK, AMY                           CLARK, ANGELA                         CLARK, ANGIE
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CLARK, ANNE                          CLARK, ANNETTE                        CLARK, ASHLEY
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CLARK, ASHLEY                        CLARK, ASHLEY                         CLARK, ASHLEY
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CLARK, ASHLEY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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CLARK, BEVERLY                       CLARK, BEVERLY                        CLARK, BRANDI
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CLARK, BREONNA                       CLARK, BRIAN & JORDAN                 CLARK, BRIANNA
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CLARK, BROOKE                        CLARK, BRYAN                          CLARK, BURT
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CLARK, CALANDRA                      CLARK, CANDY                          CLARK, CAREY
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CLARK, CARLIS                        CLARK, CAROL                          CLARK, CAROLINE
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CLARK, CASSANDRA                     CLARK, CATHERINE                      CLARK, CHANDRA
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CLARK, CHARLES                       CLARK, CHELSEA                        CLARK, CHERYL
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CLARK, CHRISTINE                     CLARK, CHRISTINE                      CLARK, CHRISTOPHER
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CLARK, CHRISTOPHER                   CLARK, CIARAH                         CLARK, CLAIRE
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CLARK, COURTNEY                      CLARK, CYNTHIA                        CLARK, DALLAS
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CLARK, DANA                          CLARK, DAPHNE                         CLARK, DARYN
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CLARK, DONNA                         CLARK, DUDLEY                         CLARK, EBONY
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CLARK, ELLEN                         CLARK, ELLEN                          CLARK, ELLEN
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CLARK, ERIKA                         CLARK, ERIN                           CLARK, ERIN
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CLARK, EVA                           CLARK, EVELYN                         CLARK, GABRIELLE
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CLARK, GARY                          CLARK, GENISE                         CLARK, GEOFFREY
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CLARK, GERALD          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLARK, GRACE                     Page CLARK,
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CLARK, HALEY                         CLARK, HANNAH                         CLARK, HANNAH
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CLARK, HANNAH                        CLARK, HARRY                          CLARK, HEATHER R.
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CLARK, HEATHER                       CLARK, HEATHER                        CLARK, IMANI
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CLARK, J. MICHAEL                    CLARK, JAMES                          CLARK, JAMIE
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CLARK, JAMIE                         CLARK, JANAE                          CLARK, JANICE
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CLARK, JASMINE                       CLARK, JASON                          CLARK, JEFF
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CLARK, JENNA M                       CLARK, JENNIFER                       CLARK, JENNIFER
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CLARK, JENNIFER                      CLARK, JENNIFER                       CLARK, JENNIFER
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CLARK, JENSEN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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CLARK, JESS                          CLARK, JESSICA                        CLARK, JESSICA
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CLARK, JESSICA                       CLARK, JESSICA                        CLARK, JILLIAN
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CLARK, JOHN                          CLARK, JONATHAN                       CLARK, JONI
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CLARK, JORDAN                        CLARK, JOSHUA                         CLARK, JUDY
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CLARK, JULEA                         CLARK, KALIDAH                        CLARK, KAMRY
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CLARK, KANDY                         CLARK, KATE                           CLARK, KATELYN
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CLARK, KATHERINE                     CLARK, KAYLA                          CLARK, KELLEY
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CLARK, KELLY                         CLARK, KELSEY                         CLARK, KELSEY
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CLARK, KENLEIGH                      CLARK, KEVIN                          CLARK, KIM
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CLARK, KIMBERLY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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CLARK, KRYSTAL                       CLARK, KYLE                           CLARK, KYRA
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CLARK, LAURA                         CLARK, LAURA                          CLARK, LAURA
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CLARK, LAUREN                        CLARK, LAUREN                         CLARK, LAURIE
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CLARK, LAURIE                        CLARK, LAWRENCE                       CLARK, LEA
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CLARK, LEAH                          CLARK, LEAH                           CLARK, LEENA
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CLARK, LEISELLE                      CLARK, LELA                           CLARK, LEONA
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CLARK, LESLIE                        CLARK, LESLIE                         CLARK, LETTIA
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CLARK, LILLIAN                       CLARK, LILY                           CLARK, LINDA
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CLARK, LINDA                         CLARK, LINDA                          CLARK, LINDSAY
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CLARK, LINDSEY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLARK, LISA                      Page CLARK,
                                                                            897 ofLISA
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CLARK, LIZ                           CLARK, MADELINE                       CLARK, MARGARET
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CLARK, MARI                          CLARK, MARIA                          CLARK, MARIA
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CLARK, MARIE                         CLARK, MARION                         CLARK, MARTHA
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CLARK, MARTHE                        CLARK, MARTHE                         CLARK, MARY GRACE
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CLARK, MATT                          CLARK, MAYA                           CLARK, MEAGHAN
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CLARK, MEGAN                         CLARK, MEGAN                          CLARK, MEGAN
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CLARK, MEGAN                         CLARK, MEGHAN                         CLARK, MEGHAN
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CLARK, MELANIE                       CLARK, MELANIE                        CLARK, MELANIE
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CLARK, MELINDA                       CLARK, MELISSA                        CLARK, MELISSA
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CLARK, MERRILEE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLARK, MICHAEL                   Page CLARK,
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CLARK, MICHELLE                      CLARK, MIKAELA                        CLARK, MILES
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CLARK, MIRANDA                       CLARK, MISTY                          CLARK, MORGAN
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CLARK, NATALIE                       CLARK, NICHOLAS                       CLARK, NICHOLAS
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CLARK, NICHOLAS                      CLARK, NICHOLAS                       CLARK, NICKI
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CLARK, NICOLE                        CLARK, NICOLE                         CLARK, NOELLE
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CLARK, PEARL                         CLARK, PETER                          CLARK, PETER
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CLARK, PETER                         CLARK, PJ                             CLARK, RACHAEL
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CLARK, RACHAEL                       CLARK, RACHEL                         CLARK, RACHEL
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CLARK, RANDY                         CLARK, RAQUEL                         CLARK, REBECCA
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CLARK, REBECCA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLARK, REBECCA                   Page CLARK,
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CLARK, RENEE                         CLARK, RHONDA                         CLARK, RILEY
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CLARK, ROB                           CLARK, ROBERT                         CLARK, ROBERTA
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CLARK, ROBIN                         CLARK, RYAN                           CLARK, RYAN
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CLARK, SABRINA                       CLARK, SALLY                          CLARK, SAMMIE
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CLARK, SARA                          CLARK, SARAH                          CLARK, SARAH
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CLARK, SARAH                         CLARK, SARAH                          CLARK, SCOTT
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CLARK, SEAN                          CLARK, SHANE                          CLARK, SHAR-LEANN J.
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CLARK, SHAUNA                        CLARK, SHELLBIE                       CLARK, SHERONDA
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CLARK, SILVIA                        CLARK, STEPHANIE                      CLARK, SU
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CLARK, SUE             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLARK, SUSAN                     Page CLARK,
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CLARK, SYDNEY                        CLARK, TARA R.                        CLARK, TAYLOR
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CLARK, TAYLOR                        CLARK, TENEKA                         CLARK, THOMAS
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CLARK, TIMOTHY                       CLARK, TOM                            CLARK, TRICIA
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CLARK, TYLER                         CLARK, TYLER                          CLARK, VALERIE
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CLARK, VANESSA                       CLARK, VICKIE                         CLARK, WHITNEY
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CLARK, WHITNEY                       CLARKE SIEVERS, AMY                   CLARKE SMITH, CLAUDETTE
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CLARKE, AILEIAH                      CLARKE, AMAANY                        CLARKE, AMANDA
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CLARKE, APRIL                        CLARKE, BRENNA                        CLARKE, BRIAN
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CLARKE, CHRISTIE                     CLARKE, ERIC                          CLARKE, ERIKA
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                                     CLARKE, Doc
                                             FAITH 2 Filed 11/30/22   Page CLARKE,
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CLARKE, GILDA                        CLARKE, GWENDOLYN                     CLARKE, GWYNNE
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CLARKE, HEATHER                      CLARKE, JEAN                          CLARKE, JEREMY
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CLARKE, JEREMY                       CLARKE, JERMAINE                      CLARKE, JESSICA
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CLARKE, JOSEPH                       CLARKE, JULIAN                        CLARKE, KAREN
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CLARKE, KAREN                        CLARKE, KATHLEEN                      CLARKE, KATIE
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CLARKE, KEVIN                        CLARKE, KRISTINE                      CLARKE, KYLEEN
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CLARKE, LINDSEY                      CLARKE, LISA                          CLARKE, LORRAINE
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CLARKE, MARJORIE                     CLARKE, MARQUIS                       CLARKE, MATTHEW
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CLARKE, MELISSA                      CLARKE, MEREDITH                      CLARKE, MICHAEL
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CLARKE, RICHARD                      CLARKE, RICHARD                       CLARKE, ROBERT
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CLARKE, ROBERT                       CLARKE, ROBIN                         CLARKE, ROSANNA
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CLARKE, SANDRA                       CLARKE, SARA                          CLARKE, SHANNON
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CLARKE, SUZANNE                      CLARKE, TAYLOR                        CLARKE, TREVOR
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CLARKE, VICKIE                       CLARKE, VINCENT                       CLARKE, WALTER
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CLARK-GAUN, RAINA                    CLARKIN, KATIE                        CLARKIN-BRESLIN, RACHEL
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CLARK-KILCOYNE, MEGHAN               CLARKSBURG WINE CO. LLC               CLARK-SIMS, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       P.O. BOX 123                          ADDRESS AVAILABLE UPON REQUEST
                                     CLARKSBURG, CA 95612




CLARKSON, CASEY                      CLARKSON, EMILY                       CLARKSON, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLARKSON, JAN                        CLARKSON, KELLY                       CLARO, JESSICA
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CLAROS, DEBORAH        Case 22-11238-LSS
                                     CLARRY, Doc 2 Filed 11/30/22
                                             RAVEN                    Page CLARY,
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CLASON, KARA                         CLASPY, ANNA                          CLASS, CAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLASSEN, GIOVANNI                    CLASSEY, JACQUELINE                   CLASSIC BEVERAGE COMPANY LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        6498 E. 39TH AVENUE
                                                                           DENVER, CO 80207




CLASSIC BEVERAGE COMPANY             CLASSIC INVESTMENT TRUST              CLASSIC PARTY RENTALS
6489 E. 39TH AVE.                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
DENVER, CO 80207




CLASSIE, KRISTY                      CLATCH, KAREN                         CLATTERBUCK, EMILY
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CLAUDAT, GLORIA                      CLAUDE, VICTORIA                      CLAUDIA ANDERSON
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CLAUDIA CARDONA                      CLAUDIA COBB DAVIS                    CLAUDIA WILLIAMS
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CLAUDIO, JOSE                        CLAUNCH, SARAH                        CLAUS CASEY
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CLAUS, CORTNEY                       CLAUS, KATY                           CLAUS, KENDALL
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CLAUSE, NATALIE                      CLAUSELL, TURI                        CLAUSEN, ANDREW
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                                     CLAUSEN,    2 Filed 11/30/22
                                              CHRISTINA               Page CLAUSEN,
                                                                            904 of 5495
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CLAUSEN, EMILY                       CLAUSEN, TYLER                        CLAUSIUS, SARAH
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CLAUSS, LAURA                        CLAUSS, MATTHEW                       CLAUSSEN, CYNTHIA
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CLAUSSEN, KATHY                      CLAUSSEN, MORGAN                      CLAVET, JAMIE
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CLAVEUS, FALOON                      CLAVIN, LAUREN                        CLAVIN, MARISSA
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CLAWSON, BRITTANY                    CLAWSON, CANDICE                      CLAWSON, LAURA
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CLAWSON, MARY                        CLAXTON, CHRIS                        CLAXTON, IRMA
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CLAXTON, KATELYN                     CLAY, AMBER                           CLAY, ANDREA
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CLAY, BECCA                          CLAY, CAMILA                          CLAY, CASSANDRA
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CLAY, DAVID                          CLAY, JENNA                           CLAY, KRYSTLE
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CLAY, LENISE           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     CLAY, LINDA                      Page CLAY,
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CLAY, PETER                          CLAY, RENEE                           CLAY, TRACIE
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CLAY, VANESSA                        CLAYBORN, MATTHEW                     CLAYBROOK, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLAYBURGH, STESHA                    CLAYCO CAPITAL VENTURES LLC           CLAYCO CAPITAL VENTURES LLC
ADDRESS AVAILABLE UPON REQUEST       (NCROWD, INC / BOOMSTREET)            (NCROWD, INC / BOOMSTREET)
                                     602 S GAY ST. 2ND FLOOR               810 W CLINCH AVE 8TH FLOOR
                                     KNOXVILLE, TN 37902                   KNOXVILLE, TN 37902




CLAYE, STACY                         CLAYMAN, ERIN                         CLAYPOOL, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLAYPOOL, ANNETTE                    CLAYPOOL, DANIELLE                    CLAYPOOL, DJ
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CLAYPOOL, LAUREN                     CLAYPOOL, MARLENE                     CLAYTER, RICHARD
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CLAYTON ANDREWS                      CLAYTON LEE HATFIELD                  CLAYTON MEADOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLAYTON NORRIS                       CLAYTON, ABBIE                        CLAYTON, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLAYTON, APRIL                       CLAYTON, BRETT                        CLAYTON, CATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CLAYTON, COURTNEY      Case 22-11238-LSS    Doc
                                     CLAYTON,    2 Filed 11/30/22
                                              DANAE                   Page CLAYTON,
                                                                            906 of 5495
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CLAYTON, HANNAH                      CLAYTON, JAMES                        CLAYTON, JAMES
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CLAYTON, JENNIFER                    CLAYTON, JESSICA                      CLAYTON, JIM
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CLAYTON, KATHRYN                     CLAYTON, KATIE                        CLAYTON, LYNSEA
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CLAYTON, MARGIE                      CLAYTON, MICAH                        CLAYTON, PETA
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CLAYTON, RYLEIGH                     CLAYTON, SARAH                        CLAYTON, TAYLOR
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CLAYTON, TAYLOR                      CLAYTON, VICKI                        CLAYTOR, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLEAN PLATES OMNIMEDIA, INC.         CLEANSKINS WINE LLC                   CLEAR CHANNEL BROADCASTING, INC
16 EAST 40TH STEET 6TH FLOOR         (AMY ATWOOD SELECTIONS)               5080 COLLECTION CENTER DRIVE
NEW YORK, NY 10016                   2658 GRIFFITH PARK BLVD 732           CHICAGO, IL 60693
                                     LOS ANGELES, CA 90039




CLEAR CHANNEL OUTDOOR, INC           CLEAR CHANNEL OUTDOOR, INC            CLEARFIELD, DAN
19320 HARBORGATE WAY                 PO BOX 847247                         ADDRESS AVAILABLE UPON REQUEST
TORRANCE, CA 90501                   DALLAS, TX 75284-7247




CLEARVIEW STRATEGIC PARTNERS INC.    CLEARY, KATE                          CLEARY, KATHLEEN
372 BAY STREET, SUITE 1902           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TORONTO, ON M5H 2W9
CANADA
CLEARY, KATHLEEN       Case 22-11238-LSS
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CLEARY, KIM                          CLEARY, MARY GRACE                    CLEARY, MIKAYLA
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CLEARY, NIKI                         CLEARY, SARA                          CLEARY, SUE
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CLEASBY, MICHELE                     CLEAVELAND, LISA                      CLEAVER, BOB
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CLEAVER, ERIKA                       CLEAVER, JESSLAYN                     CLEAVER, JOSEPH
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CLEAVER, MIKAYLA                     CLEBORNE, ROCKY                       CLECKLER, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLEDARA LIMITED                      CLEFISCH, KELLY                       CLEGG, HOLLY
35-41, FORA, FOLGATE STREET          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONDON W16BX
UNITED KINGDOM




CLEGG, JACQUELINE                    CLEGG, JENNIFER                       CLEGG, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLEGG, MARY KATE                     CLEGG, WILLIAM                        CLELAND, DREW
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CLEM, BRENDA                         CLEM, ELLEN                           CLEM, MATTHEW
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CLEM, MELANIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLEM, ROBIN                      Page CLEM,
                                                                            908 of  5495
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CLEMANS, KAY                         CLEMANS-COPE, LISA                    CLEMENCY, CHRISSIE
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CLEMENS, ASHLEY                      CLEMENS, CAROLE                       CLEMENS, CAROLE
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CLEMENS, CAROLE                      CLEMENS, CONSTANCE R                  CLEMENS, KIERSTEN
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CLEMENT, ALEXIS                      CLEMENT, BRANDI                       CLEMENT, CARLA
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CLEMENT, CHRIS                       CLEMENT, ELIZABETH                    CLEMENT, JESSICA
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CLEMENT, JUDY                        CLEMENT, LIV                          CLEMENT, MIKE
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CLEMENT, STEWART                     CLEMENT, WENDIE                       CLEMENT, WILLIAM
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CLEMENT, ZOE                         CLEMENTE, BRIDGET                     CLEMENTE, FERNANDO
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CLEMENTE, JAROD                      CLEMENTE, JOSE                        CLEMENTE, KIM
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CLEMENTS, BENJAMIN                   CLEMENTS, BRI                         CLEMENTS, BURKE
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CLEMENTS, CAROLINE                   CLEMENTS, CHRISTINA                   CLEMENTS, DONNA
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CLEMENTS, ED                         CLEMENTS, EDWARD                      CLEMENTS, ELIZABETH
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CLEMENTS, ERIN                       CLEMENTS, JEFF                        CLEMENTS, JENNA
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CLEMENTS, JULIE                      CLEMENTS, KORBY                       CLEMENTS, LIZ
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CLEMENTS, LORETTA                    CLEMENTS, MADELEINE                   CLEMENTS, MATT
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CLEMENTS, MICHELLE                   CLEMENTS, MICHI                       CLEMENTS, SYDNEY
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CLEMINSON, MONIQUE                   CLEMMER, MARGARET                     CLEMMONS, REBECCA
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CLEMMONS, ZINZI                      CLEMONS, CHIQUITA                     CLEMONS, HAILEY
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CLEMONS, NED                         CLEMONS, PATRICIA                     CLEMONS, TREASURE
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CLEMOW, JOHN                         CLEMSON, BOB                          CLENDANIEL, DOUGLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLENDENNEN, LORI                     CLENDENNEN, SUE                       CLENDENNY, TYCHO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLENDON, FRANCESCA                   CLENTON C WILSON                      CLEOLMSTEAD, CIERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLEPPER, KAREN                       CLERICO, MICHELLE                     CLERY, TRACEY
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CLETHEN, BROOKE                      CLETO, MARIKA                         CLEVELAND, ANNA
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CLEVELAND, BRYON                     CLEVELAND, CHARLIE                    CLEVELAND, CHRISTINA
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CLEVELAND, CLAY                      CLEVELAND, CURTIS                     CLEVELAND, DANA
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CLEVELAND, HALEY                     CLEVELAND, HAYLEY                     CLEVELAND, HEATHER
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CLEVELAND, MADELINE                  CLEVELAND, MARYJO                     CLEVELAND, PAULETTE
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CLEVELAND, ROCHELLE                  CLEVELAND, STEPHANIE                  CLEVENGER, CANDIS
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CLEVENGER, CHELSEY                   CLEVENGER, CRYSTAL                    CLEVENGER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLEVENGER, MARTHA                    CLEVENGER, MICHELE                    CLEVENGER, SUZANNE
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CLEVERLEY, JACK                      CLEVERLEY, TXANTON                    CLEVINGER, CHAZZ
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CLEW, SEAN                           CLEWETT, COURTNIE                     CLEWIS, SYDNEY
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CLEWLOW, CAYLIE                      CLEWS, ROBERT                         CLIATT, JESSICA
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CLIBER, MADELAINE                    CLIBON, COLLIN                        CLIBURN, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLICK, MOLLY                         CLICK, SUZANNE                        CLICKBOOTH.COM, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        5901 N. HONORE AVE SUITE 114
                                                                           SARASOTA, FL 34243
CLICKNER, BLAKE        Case 22-11238-LSS
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                                                                                    of 5495
ADDRESS AVAILABLE UPON REQUEST       1411 MCHENRY ROAD SUITE 227              ADDRESS AVAILABLE UPON REQUEST
                                     BUFFALO GROVE, IL 60089




CLIFF, JORDAN                           CLIFF, TICIA                          CLIFFORD ALEXANDER ABBOTT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLIFFORD MOSSON                         CLIFFORD, CASSANDRA                   CLIFFORD, DARA
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CLIFFORD, DIANA                         CLIFFORD, ELIZABETH                   CLIFFORD, JANE
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CLIFFORD, JORDAN                        CLIFFORD, KIMBERLY                    CLIFFORD, LEAH
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CLIFFORD, MARY                          CLIFFORD, MICHAEL                     CLIFFORD, ROBERT
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CLIFFORD, SAMANTHA                      CLIFFORD, SETH                        CLIFFORD, SUSAN
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CLIFT HOTEL                             CLIFT, SHANE                          CLIFTON ANTHONY LEWIS
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CLIFTON, ARIADNE                        CLIFTON, CINDY                        CLIFTON, DANIELLE
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CLIFTON, DONNA                          CLIFTON, ELIZABETH                    CLIFTON, EMILY
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CLIFTON, HAILEY        Case 22-11238-LSS
                                     CLIFTON,Doc 2 Filed 11/30/22
                                             JENNA                    Page CLIFTON,
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CLIFTON, KATELIN                     CLIFTON, LAURIE                       CLIFTON, MEGAN
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CLIFTON, RACHEL                      CLIFTON, REBECCA                      CLIMACO, JUNNELOU
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CLIME, MARGARET                      CLINARD, NICK                         CLINARD, RENEE
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CLINCH, AISLINN                      CLINCHER, TYLER                       CLINCO, LOIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLINDINNING, NOREEN                  C-LINE EXPRESS                        CLINE, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       P.O. BOX 540                          ADDRESS AVAILABLE UPON REQUEST
                                     NAPA, CA 94559




CLINE, BRUCE                         CLINE, CASEY                          CLINE, CASSIDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLINE, COURTNEY                      CLINE, CYNTHIA                        CLINE, ERIN
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CLINE, HELENA                        CLINE, KRISTINE                       CLINE, MEGAN
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CLINE, MELISSA                       CLINE, MICHAEL                        CLINE, PAUL
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CLINE, SHANNON         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     CLINE, TAYLOR                      Page CLINE,
                                                                              914 of   5495
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CLINES, ELIZABETH                      CLINGAMAN, MELISSA                    CLINGENPEEL, MOLLY
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CLINGER, HOLLY                         CLINGERMAN, ADAM                      CLINGMAN, REBECCA
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CLINKENBEARD, AMY                      CLINKHAMMER, EMILY                    CLINKSCALE, JASON
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CLINKSCALES, WHITTNEY                  CLINT BETROS                          CLINT COWEN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLINTON FITZGERALD SIKES               CLINTON LENARD REDO                   CLINTON, CHLOE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLINTON, ELLEN                         CLINTON, EMILY                        CLINTON, JONATHAN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLINTON, MARY                          CLINTON, MEREDITH                     CLIPSHAM, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLIQUE MEDIA, INC                      CLIQUE MEDIA, INC                     CLIREHUGH, STACY
750 NORTH SAN VICENTE BLVD., 8TH FLR   8641 WILSHIRE BLVD                    ADDRESS AVAILABLE UPON REQUEST
EAST WEST HOLLYWOOD, CA 90069          BEVERLY HILLS, CA 90211




CLITES-BOGARD, MORGAN                  CLIVER, JEFFREY                       CLIVER, JEFFREY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CL-LJ INVESTMENTS LLC  Case 22-11238-LSS    Doc
                                     CLOAKEY,    2 Filed 11/30/22
                                              ANGELICA                Page CLOE,
                                                                            915 of 5495
                                                                                 MEGAN
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CLOETE, YVONNE                       CLOHERTY, MARY KATE                   CLOKE, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLOLINGER, SARA                      CLOMA, EXSENCIA                       CLONINGER, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLONINGER, KRISS                     CLONTS, ROSANNE                       CLONTZ, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLOONAN, CASEY                       CLOPTON, NATHANIEL                    CLOSE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLOSE, JORDAN                        CLOSS, EMILIA                         CLOSSMAN, NESRENE
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CLOSSON, MARSHA                      CLOSTERMAN, JESSICA                   CLOSUIT, SARAH-GRACE
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CLOTAR, GAIL                         CLOTHIER, CALEB                       CLOTHIER, JACQUELINE
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CLOTHIER, KELLI                      CLOUD, AMY                            CLOUD, BREA
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CLOUD, CARRIE                        CLOUD, CHRISTOPHER                    CLOUD, JENNIFER
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CLOUD, KENDALL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CLOUD, LAEL                      Page CLOUD,
                                                                            916 ofLINDA
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CLOUD, MADELINE                      CLOUD, TAMMY                          CLOUD, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLOUD-ANDERSON, SABRINA              CLOUDFLARE, INC.                      CLOUGH, ANNIE
ADDRESS AVAILABLE UPON REQUEST       101 TOWNSEND ST                       ADDRESS AVAILABLE UPON REQUEST
                                     SAN FRANCISCO, CA 94107




CLOUGH, DANIELLE                     CLOUGH, DONNA                         CLOUGH, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLOUGH, JOSEPH                       CLOUGH, KIMBERLY                      CLOUGH, LAURA
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CLOUGH, MADELINE                     CLOUGH, STEPHANIE                     CLOUGH, STEPHANIE
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CLOUGH, TYLER                        CLOUSER, KIMBERLY                     CLOUTHIER, ALEXA
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CLOUTHIER, NICOLE                    CLOUTIER, DANIELLE                    CLOUTIER, JACQUELINE
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CLOUTIER, JULIA                      CLOUTIER, KAREN                       CLOUTIER, KATHRYN
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CLOUTIER, NICOLE                     CLOUTIER, NICOLE                      CLOVER, KATHRYN
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CLOWER, KATIE                       CLOWER, PATRICIA                      CLOWERS, LINDSAY
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CLOWES, EDWARD                      CLOY, MANDY                           CLUBB, CYNTHIA
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CLUBB, JANA                         CLUBB, LISA                           CLUBW.COM
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CLUCK, SHERRY                       CLUFF, ERIC                           CLUGSTON, BRIANA
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CLUKEY, NICOLE                      CLUNE, KATHY                          CLUNE, LISA
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CLUNE, SHANE                        CLURMAN, KATHERINE                    CLUSKEY, BETHANY
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CLYCE, LAUREN                       CLYDE ANTHONY EDWARDS JR              CLYDE E ANDREW
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CLYDE, DANA                         CLYDE, MATTHEW                        CLYDE, MICHELLE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CLYDE, RON                          CLYMER, CANDY                         CLYMER, CIERRA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CLYMER, KELLY          Case 22-11238-LSS
                                     CLYMER, Doc 2 Filed 11/30/22
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                                                                                   & ASSOCIATES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             8800 S SEPULVEDA BLVD STE 8
                                                                                LOS ANGELES, CA 90045




CMCG INC.                               CMEREK, MARCI                           CMGC INC.
C/O MURPHY                              ADDRESS AVAILABLE UPON REQUEST          407 SOUTH KENMORE AVENUE 209
4812 SALOMA AVE                                                                 LOS ANGELES, CA 90020
SHERMAN OAKS, CA 91403




CNA INSURANCE                           CNA INSURANCE                           CNP BON APPETIT
151 N. FRANKLIN ST. 12TH FL             POLICY SERVICES DEPARTMENT              ADDRESS UNAVAILABLE AT TIME OF FILING
CHICAGO, IL 60606                       PO BOX 958487
                                        LAKE MARY, FL 32746-9487




CO DEPARTMENT OF REVENUE                CO DEPARTMENT OF REVENUE                COACH
1375 SHERMAN ST                         PO BOX 17087                            ADDRESS UNAVAILABLE AT TIME OF FILING
DENVER, CO 80261                        DENVER, CO 80217-0087




COADY, JESSICA                          COAKLEY, ELIZABETH                      COAKLEY, JANET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COAKLEY, KELLY                          COAKLEY, KERRI                          COAKLEY, REGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COALDRAKE, PETER                        COAN, HEATHER                           COAN, RYAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COAN, SPENCER                           COANE, MARY                             COANE, MOLLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COASH, EMILY                            COASTAL COPY INC.                       COASTAL COPY
ADDRESS AVAILABLE UPON REQUEST          849 WARD DRIVE                          ADDRESS UNAVAILABLE AT TIME OF FILING
                                        SANTA BARBARA, CA 93111




COASTAL PRODUCTS                        COASTAL VINEYARD CARE ASSOCIATES        COASTAL VINEYARD CARE ASSOCIATES
ADDRESS UNAVAILABLE AT TIME OF FILING   224 EAST HIGHWAY 246, STE A             PO BOX 1943
                                        BUELLTON, CA 93427                      BUELLTON, CA 93427
COATES, CHRISTOPHER    Case 22-11238-LSS
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                                                                            919 of EDIE
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COATES, GARY                         COATES, HILLARY                       COATES, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COATES, JONATHAN                     COATES, KELLY                         COATES, LEZLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COATES, MALLORY                      COATES, ROSS                          COATES, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COATNEY, SARA                        COATS, MARIA                          COATS, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COATS, RACHELLE                      COBAR, XENIA                          COBB, ALLISON
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COBB, ALLISON                        COBB, AMY                             COBB, AURORA
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COBB, COURTNEY                       COBB, DARRYL                          COBB, DEJA
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COBB, HOLLY                          COBB, JACINTA                         COBB, JENNA
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COBB, JENNIFER                       COBB, JILL                            COBB, JILL
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                                                                            920 of 5495
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COBB, KRISTEN                        COBB, MADAILEIN                       COBB, MIKEY
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COBB, MILDRED                        COBB, PARKER                          COBB, PETER
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COBB, STEPHEN                        COBB, TINA                            COBBIN, CHARLESTON
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COBBLEDICK, CONNOR                   COBBS, ANNA                           COBBS, ARIANA
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COBBS, HENRY                         COBBS, HUNTER                         COBBS, JESSICA
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COBBS, LOVER                         COBEN, JULIE                          COBIN, ANGELA
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COBIN, MARLA                         COBLE, AMANDA                         COBLE, BRANDI
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COBLE, BRIAN                         COBLE, CAROLINE                       COBLE, HALI
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COBLE, HANNAH                        COBLE, KELLY                          COBLEIGH, JOANNA
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COBLEIGH, KAY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                            921 of 5495 ROSE
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COBOS, DAVID                         COBOS, LUISA                          COBRANCHI, CHELSEA
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COBURN, ADLISE                       COBURN, JANICE                        COBURN, JESSICA
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COBURN, KIM                          COBURN, MICHAEL                       COBURN, RUTHANN
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COBURN, SAFITA                       COBY AKEO                             COBY, DOROTHY
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COBY, RUTH                           COCA, BECKY                           COCA, MIHAELA
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COCA, SUZANNE                        COCALLAS, CHRIS                       COCCA, KATIE
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COCCHIANO, SUSAN                     COCCHIARELLA, DANA                    COCCHIOLA, ELIZABETH
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COCCHIOLA, JULIA                     COCCIA, PAULA                         COCCO, HANNAH
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COCCO, LISA                          COCCO-JONES, JENNIFER                 COCHENOUR, KAREN
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COCHEO, DEBORAH        Case 22-11238-LSS
                                     COCHEO,Doc
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COCHRAN, ALLISON                     COCHRAN, BROOKE                       COCHRAN, BRUCE
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COCHRAN, CHANELL                     COCHRAN, CHRISTINA                    COCHRAN, CLARK
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COCHRAN, SANDY                       COCHRAN, SHANNON                      COCHRAN, SHANNON
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COCHRAN, SHIRLEY                     COCHRAN, TAYLOR                       COCHRAN, VICTORIA
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COCHRANE, CHERYL                     COCHRANE, DEBRA                       COCHRANE, GLEN
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COCHRANE, JESSICA                    COCHRANE, SEAN                        COCHRANE, SHANNON
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                                     COCKE, ELANA                     Page COCKE,
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COCKERHAM, KAREN                     COCKERHAM, SAMANTHA                   COCKERILLE, JENNIFER
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COCKFIELD, LAURYN                    COCKFIELD, WAYNE                      COCKLE, MARY HELEN
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COCKLE, MICHELLE                     COCKRELL, JACQUE                      COCKREN, KAITLYN
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COCKRUM, SETH                        COCKTAIL ACADEMY LP                   COCO, FRANK
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                                     LOS ANGELES, CA 90021




COCO, JENNIFER                       COCO, KIRK                            COCO, SOPHIE
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COCOS, SARAH                         COCREHAM, KATIE                       CODD, ANGELA
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CODEMO, LAUREN                       CODER, DUSTIN                         CODER, KASI
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CODI LANCLOS                         CODNEY, MADISON                       CODUTE, PATRICK
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CODY RYBA                            CODY, DEBRA                           CODY, EDMOND
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CODY, GLORIANNE        Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CODY, GRANT                      Page CODY,
                                                                            924 of 5495
                                                                                 JACQUELINE
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CODY, JODI                           CODY, KAITLYN                         CODY, MEAGHAN
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CODY, MELISSA                        CODY, RACHEL                          CODY, SHANTEL
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COE, CHRISTINA                       COE, DIANE                            COE, EDWARD
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COE, KEIKO                           COE, KELSEY                           COE, LARISSA
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COE, LATASHA                         COE, LESLEY                           COE, MARION
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COE, MERLE                           COE, OLIVIA                           COE, SHANNAH
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COE, SHERRY                          COE, TAYLOR                           COE, TIFFANY
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COELLO, STEPHANIE                    COEN, AMANDA                          COEN, BARBARA
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                                     COEN, WILL                             Page COENEN,
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COES, MICHELLE                          COETZEE, ANTOINE                         COFER, ERIC
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COFER, LUCAS                            COFFEE BEAN                              COFFEE BREAK WITH DANI, LLC.
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COFFEE, BRYNE                           COFFEE, LAURA                            COFFEE, PATRICIA
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COFFEE-HOGAN, TAMICKA                   COFFELT, CARA                            COFFELT, CHRISTINE
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COFFEY, AIMEE                           COFFEY, ALEX                             COFFEY, BRIAN
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COFFEY, GERIANNE                        COFFEY, JAMES                            COFFEY, KATHERINE
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COFFEY, KATHERINE                       COFFEY, KATIE                            COFFEY, KRISTEN
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COFFEY, LACHELLE                        COFFEY, LAUREN                           COFFEY, LEANNE
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COFFEY, LYNN           Case 22-11238-LSS
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COFFEY, MELANIE                      COFFEY, MINDY                         COFFEY, RHONDA
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COFFEY, ROLAND                       COFFEY, SHANA                         COFFEY, SHANNON
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COFFEY, SUMMER                       COFFIN, BETH                          COFFIN, EMILY
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COFFIN, JACQUELINE                   COFFIN, KEELY                         COFFINET, CLAIRE
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COFFING, KATIE                       COFFMAN, CHRISTIE                     COFFMAN, ERIN
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COFFMAN, JACQUELINE                  COFFMAN, LISA                         COFFMAN, MOLLY
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COFFMAN, MOLLY                       COFFMAN, REBECCA                      COFFMAN, REBECCA
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COFFMAN, STORMY                      COFFMAN, SUZANNE                      COFFMAN-PEACOCK, JEFFREY
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COFIELD, MADISON                     COFIELD-BENJAMIN, JYI-LEEK            COFOID, TERRI
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COGAN, MADELINE                      COGAN, STEPHANIE                      COGAR, NANCY
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COGAR, WESLEY                        COGBURN, MACKENZIE                    COGDELL, WHITNEY
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COGEN, ALEXANDRA                     COGEN, BARBARA                        COGERT, BARBARA
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COGGESHALL, WHITNEY                  COGGIN, JENNIFER                      COGGIN, KELSEY
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COGGIN, TIMOTHY                      COGGINS, CHARLES                      COGGINS, COLLEEN
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COGGINS, LANI                        COGGINS, MEREDITH                     COGGINS, RICHARD
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COGGINS, SAMANTHA                    COGHLAN, ELLEN                        COGHLAN, LAUREN
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COGLEY, LAURA                        COGLIANO, KIMBERLY                    COGNAT, BRIANA
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COGNIUS INC.                         COGSWELL, AMY                         COGSWELL, LAWRENCE
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CAMBRIDGE, MA 02139
COHAN, DARI            Case 22-11238-LSS    Doc 2 Filed 11/30/22
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COHEN, AARON                         COHEN, ABBE                           COHEN, ADAM
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COHEN, ALEKSANDRA                    COHEN, ALEXANDRA                      COHEN, ALLISON
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COHEN, ALLISON                       COHEN, ALYSSA                         COHEN, AMANDA
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COHEN, ANNA                          COHEN, ANTONIA                        COHEN, ARIANNA
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COHEN, BEN                           COHEN, BENJAMIN                       COHEN, BENJAMIN
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COHEN, BRIENNA                       COHEN, CAITLIN                        COHEN, CC
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COHEN, CHELSEA                       COHEN, CLAUDINE                       COHEN, CLO
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COHEN, CONNOR                        COHEN, CYNTHIA                        COHEN, DANIEL
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COHEN, DANIELLE                      COHEN, DAVIDA                         COHEN, EDOE
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COHEN, EMILY           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     COHEN, EMILY                     Page COHEN,
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COHEN, GABI                          COHEN, HAILEY                         COHEN, HALEY
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COHEN, HARRISON                      COHEN, HEATHER                        COHEN, HEATHER
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COHEN, HENRY                         COHEN, HUDSON                         COHEN, JACKIE AND MARK
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COHEN, JACOB                         COHEN, JAKE                           COHEN, JAMES
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COHEN, JAMES                         COHEN, JENNIFER                       COHEN, JESSICA
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COHEN, JESSICA                       COHEN, JODI AND NEIL                  COHEN, JOHN
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COHEN, JUDEAN                        COHEN, LAURA                          COHEN, LAUREN
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COHEN, LINDSEY                       COHEN, LISA                           COHEN, LUCINDA
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COHEN, MADELINE                      COHEN, MARCI                          COHEN, MARGARET
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COHEN, MARK            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     COHEN, MARYJANE                  Page COHEN,
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COHEN, MICHAEL                       COHEN, MICHAEL                        COHEN, MICHAEL
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COHEN, MICHAEL                       COHEN, MICHELLE                       COHEN, MISUDA
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COHEN, PHOEBE                        COHEN, RABBIT                         COHEN, RACHAEL
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COHEN, RACHEL                        COHEN, REBECCA                        COHEN, RUTH
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COHEN, SALLY                         COHEN, SAMANTHA                       COHEN, SANDY
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COHEN, SANDY                         COHEN, SARI                           COHEN, SCOTT
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COHEN, SHARON                        COHEN, SHARYN                         COHEN, SILVIE
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COHEN, STEFANIE                      COHEN, WHITAKER                       COHEN, WILL
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COHEN, ZACH                          COHEN-PILAT, MEREDITH                 COHICK, SASKIA
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COHN, ANDREA           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     COHN, ARTHUR                     Page COHN,
                                                                            931 of 5495
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COHN, ELLEN                          COHN, GARY                            COHN, JONATHAN
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COHN, KIM                            COHN, LISA                            COHN, ROBIN
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COHN, SANDRA                         COHN, SHELLEY                         COHN, STEPHANIE
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COHN, TERRI                          COHRS, STEPHEN                        COICHY DAUPHIN, MARIE
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COIE, DAVID AND CYNTHIA              COIL, AMBER                           COIL, CHELSY
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COILE, MIKE                          COIN, LINDA                           COINER, JESSICA
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COINER, TERESA                       COIRO, MARY GRACE                     COISCOU, KEVIN
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COISH, KAREN                         COISH, KAREN                          COKANASIGA, BEN
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COKAS, LORIN                         COKASH, MICHAEL                       COKE, ASHA
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COKE, ELIZABETH        Case 22-11238-LSS
                                     COKEING,Doc 2 Filed 11/30/22
                                              MARY                    Page COKENOUR,
                                                                            932 of 5495
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COKER, AISLINN                       COKER, ALISON                         COKER, DENNIS
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COKER, GEORGIA                       COKER, JENNIFER                       COKER, KAITLYN
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COKER, KARLA                         COKER, KELINI                         COKER, LINDSAY
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COKER, MADISON                       COKER, REBECCA                        COKER, SARA
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COLA, DONALD                         COLA, LINDSAY                         COLALUCA, FAYE
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COLAN MCGEEHAN                       COLAN, LINDSAY                        COLAN, SABRINA
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COLANERI, GINA                       COLANGELO, CAROLINE                   COLANGELO, LAUREN
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COLAR, LAURA                         COLAROSSI, JESSICA                    COLARUOTOLO, RAYMOND
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COLARUSSO, CHRIS                     COLARUSSO, KATHLEEN                   COLARUSSO, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COLAS, MARGAUX         Case 22-11238-LSS    DocALEXANDRA
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COLATO, MELVIN                       COLATO, NADYNA                        COLAVITO, KATHLEEN
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COLBATH, CRAIG                       COLBAUGH, TYLER                       COLBERG, CLAUDIA
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COLBERT, ALISHIA                     COLBERT, BRADFORD                     COLBERT, BRANDIE
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COLBERT, DANIEL                      COLBERT, ELIZABETH                    COLBERT, JENNIFER
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COLBERT, JOHN                        COLBERT, LAUREN                       COLBERT, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLBERT, PATTI                       COLBERT, RACHEL                       COLBORN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLBORNE, ROBIN                      COLBRY, KRISTEN                       COLBURN, CECILIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLBURN, COURTNEY                    COLBURN, DAVID & JOANN                COLBURN, KIERSTEN
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COLBURN, LARRY         Case 22-11238-LSS   Doc
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COLBY, CHARLENE                      COLBY, DEREK                          COLBY, JENNIFER
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COLBY, KARA                          COLBY, LAUREN                         COLCLOUGH, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLCORD, LISA                        COLDAGELLI, DANA                      COLDAGELLI, MARIA-RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLDEN, CHRIS                        COLDSMITH, ERIN                       COLDSTONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




COLE KELLY WILSON                    COLE PISANO                           COLE THORNTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLE, ABIGAIL                        COLE, ALLISON                         COLE, AMANDA
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COLE, AMBUR                          COLE, AMY                             COLE, ANDREW
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COLE, ANNELISE                       COLE, ARIA                            COLE, ASHLEY
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COLE, BARBARA                        COLE, BENNETT                         COLE, BRIANNA
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COLE, CHAREL                         COLE, CHELSEA                         COLE, CHRISTINA
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COLE, CHRISTINE                      COLE, COURTNEY                        COLE, DANNI
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COLE, DARCY                          COLE, DEVIN                           COLE, DOROTHY
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COLE, EILEEN                         COLE, EMMALIE                         COLE, HADLEY
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COLE, HALEY                          COLE, HANNAH                          COLE, HEATHER
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COLE, JACKIE                         COLE, JARRETT                         COLE, JENNA
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COLE, JENNIFER                       COLE, JERROLD                         COLE, JESSICA
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COLE, JON AND SUSAN                  COLE, JONATHAN                        COLE, JORDAN
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COLE, JOSEPH                         COLE, JOSHUA                          COLE, JUDY
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COLE, JUSTIN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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COLE, KELLEN                         COLE, KEONNA                          COLE, KEVIN
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COLE, KIMBERLY                       COLE, KRISTYN                         COLE, KYLE
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COLE, LANCE                          COLE, LAVETTE                         COLE, LEXI
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COLE, LISA                           COLE, MACKENZIE                       COLE, MARY JO
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COLE, MEG MULDOON                    COLE, MEGAN                           COLE, MELISSA
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COLE, MICHELLE                       COLE, MICHELLE                        COLE, MORGAN
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COLE, PATRICK                        COLE, PAULETTE                        COLE, RAMONA
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COLE, REBECCA                        COLE, REBEKAH                         COLE, RHONDA
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COLE, RICHARD                        COLE, RODGER                          COLE, ROSA
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COLE, RYAN             Case 22-11238-LSS     Doc 2 Filed 11/30/22
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COLE, SHAQUEENA                      COLE, SHEENA                          COLE, STEPHANIE
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COLE, STEPHEN                        COLE, SYLVIA                          COLE, TALYSA
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COLE, TERRY                          COLE, TIFFANY                         COLE, VELVET
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COLE, VICTOR                         COLE, WHITTANY                        COLEBURN, LILA
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COLE-CLARK, DEJA                     COLEEN, MARY                          COLELLO, LIZ
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COLEMAN FROST LLP                    COLEMAN GARCIA, KARLA                 COLEMAN, ALESHA
201 NEVADA ST                        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EL SEGUNDO, CA 90245




COLEMAN, ALEXANDRA                   COLEMAN, ALLISON                      COLEMAN, ALLISON
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COLEMAN, ALLISON                     COLEMAN, ANNEMARIE                    COLEMAN, ANTHONY
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COLEMAN, ANTHONY                     COLEMAN, ARICA                        COLEMAN, AZA
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COLEMAN, CAROLYN                     COLEMAN, CASSIDY                      COLEMAN, CHANEL
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COLEMAN, CHERELLE                    COLEMAN, CHRISTIANA                   COLEMAN, COURTNEY
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COLEMAN, DANIELLE                    COLEMAN, DARCY                        COLEMAN, DONNA
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COLEMAN, ELIZA                       COLEMAN, EMILY                        COLEMAN, ERIKA
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COLEMAN, EUGENE                      COLEMAN, FARRON                       COLEMAN, HILLARY
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COLEMAN, HUNTER                      COLEMAN, IRA                          COLEMAN, JACOB
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COLEMAN, JALISA                      COLEMAN, JAMES                        COLEMAN, JANA
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COLEMAN, JESS                        COLEMAN, JESS                         COLEMAN, JO-ANN
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COLEMAN, JUDY                        COLEMAN, JULIE                        COLEMAN, JULIE
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COLEMAN, KATIE                       COLEMAN, KAYLA                        COLEMAN, KELLEY
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COLEMAN, KELLY                       COLEMAN, KELLY                        COLEMAN, KELSEY
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COLEMAN, LANA                        COLEMAN, LAURA                        COLEMAN, LAYLA
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COLEMAN, LIAM                        COLEMAN, LINDA                        COLEMAN, LINDA
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COLEMAN, LINDSAY                     COLEMAN, LINDSAY                      COLEMAN, LINLEY
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COLEMAN, LISA                        COLEMAN, LISHA                        COLEMAN, LORIN
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COLEMAN, LYDIA                       COLEMAN, LYNDSAY                      COLEMAN, MARY
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COLEMAN, MELISSA                     COLEMAN, MICHAEL                      COLEMAN, MICHAEL
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COLEMAN, NICOLE                      COLEMAN, OLIVIA                       COLEMAN, PAUL
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COLEMAN, RENEE                       COLEMAN, ROB                          COLEMAN, ROBERT
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COLEMAN, ROBERT                      COLEMAN, RONNA                        COLEMAN, SABRINA
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COLEMAN, SAMANTHA                    COLEMAN, SANDRA                       COLEMAN, SEAN
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COLEMAN, SEQUELLA                    COLEMAN, SHAQUOYAH                    COLEMAN, SHELBY
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COLEMAN, SUSAN                       COLEMAN, TAMARA                       COLEMAN, TARYN
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COLEMAN, TIFFANY                     COLEMAN, TIFFANY                      COLEMAN, TIM
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COLEMAN, TORI                        COLEMAN, VALERIE                      COLEMAN, VANESSA
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COLEMAN, WAYNE                       COLEMAN, WHITNEY                      COLEMAN, YULIA
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COLEMAN, ZANE                        COLEMAN-RAWLINSON, TRACEY             COLES, C.JAY
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COLES, JACK            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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COLES, MAYA                          COLES, MELANIE                        COLES, MICHAEL
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COLES, PEYTON                        COLES, RACHEL                         COLES, VICTORIA
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COLETTA, ALEX                        COLETTE MARIE CROOMS                  COLETTE ROBINSON
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COLETTE Y LEKACHMAN                  COLEY, ANNISSA                        COLEY, KRISTIN
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COLEY, LAWRENCE                      COLFER, CRYSTAL                       COLFER, NICOLE
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COLFLESH, CODY                       COLFORD, SARAH                        COLGAN, ANN-LOUISE
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COLGAN, CONOR                        COLGAN, KATIE                         COLGAN, KATIE
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COLGAN, KIARA                        COLGAN, SARAH                         COLGATE, JACK
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COLHOUN, BARRETT                     COLHOUN, SHANNON                      COLI, ALESSANDRO
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COLIN OWENSBY                        COLIN RILEY MCCOMBS                   COLIN STUART LASSITER
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COLIN, MEDEGINE                      COLINA, ELIANA                        COLINA, ESTEFANIA PAOLA
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COLINDRES, ALEJANDRO                 COLINDRES, ERICK A                    COLINDRES, LILIAN
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COLINDRES, MARIELA                   COLIO HERNANDEZ, LAURA E.             COLIO, IVAN
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COLISTRA, KATRINA                    COLL, ANDREW                          COLL, JULIA
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COLL, KRYSTLE                        COLL, MARY JO                         COLL, PATRICK P
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COLLABOLLETTA, CRISTINA              COLLADO, DEYA                         COLLADO, ERI
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COLLADO, JULIE                       COLLADO, MARIANELA                    COLLADO, MARY
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COLLADO, MATTHEW                     COLLADO, ROSIE                        COLLADO, STEPHANIE
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COLLADO, VICKIE        Case 22-11238-LSS
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COLLASO, STACEY                      COLLAZO, BRITTANY                     COLLAZO, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLAZO, MARIEL                      COLLECTIVE DIGITAL STUDIO, LLC        COLLEEN ALICE DORR
ADDRESS AVAILABLE UPON REQUEST       8383 WILSHIRE BLVD SUITE 1050         ADDRESS AVAILABLE UPON REQUEST
                                     BEVERLY HILLS, CA 90211




COLLEEN GRAVEN-DURSTON               COLLEEN O'REGAN                       COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLEN, REBECCA                      COLLENDER, ALLISON                    COLLENS, DANNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLETT, ELIZA                       COLLETT, LINDSEY                      COLLETTA ENTERPRISES LLC (ILOVEWINE)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        33 CORIANDER
                                                                           IRVINE, CA 92603




COLLETTE SANDRA DOUGLAS              COLLETTE, AMANDA                      COLLETTE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLETTE, KATHERINE                  COLLETTE, RONDI                       COLLETTI, ELIZABETH
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COLLETTI, JAKE                       COLLETTI, JEAN                        COLLETTI, LYNSI
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COLLETTI, SALVATORE                  COLLETTI, TANESHA                     COLLETTI, VICTORIA
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COLLEY, ALEXANDRA      Case 22-11238-LSS
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COLLEY, REBECCA                      COLLIANDER, GRANT                     COLLIATIE, DEANNA
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COLLIE, CHARLOTTE                    COLLIE, KATELYN                       COLLIE, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLIE, SHAYLA                       COLLIE, WHITNEY                       COLLIER SIMON INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1642 WILCOX AVE.
                                                                           LOS ANGELES, CA 90028




COLLIER VILLAUME, SARAH              COLLIER, ALEXANDRA                    COLLIER, ARTIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLIER, BRIANNA                     COLLIER, CHRISTINE                    COLLIER, DAVID
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COLLIER, DEEDEE                      COLLIER, DOUG                         COLLIER, GUY
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COLLIER, HEATHER                     COLLIER, JENNIFER                     COLLIER, JOSEPH
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COLLIER, K.E.                        COLLIER, KHANYA                       COLLIER, LAUREN
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COLLIER, LAURIE                      COLLIER, LINDSAY                      COLLIER, MONICA
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COLLIER, SHARON                      COLLIER, TINA                         COLLIER, TRACY
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COLLIER-ZANS, ELLEN                  COLLIGAN, CHRISTINA                   COLLIGAN-LEVINE, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLIGNON, BRIAN                     COLLIN WOOSTER                        COLLING, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLING, GLORIA                      COLLINGS, LAURIE                      COLLINS CLOSETS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        670 S. PERKINS RD.
                                                                           MEMPHIS, TN 38119




COLLINS, ALEXA                       COLLINS, ALISON                       COLLINS, ALIYAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLINS, ALLAIN                      COLLINS, AMANDA                       COLLINS, AMANDA
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COLLINS, AMY                         COLLINS, ANN                          COLLINS, ARIANNA
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COLLINS, ASHLEY                      COLLINS, ASHLEY                       COLLINS, ASHLEY
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COLLINS, ASHLEY                      COLLINS, AUTUMN                       COLLINS, BAILEE
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                                                                            946 of BETH
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COLLINS, BETH                        COLLINS, BETTY                        COLLINS, BRENT
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COLLINS, BRIAN                       COLLINS, BRIGETTE                     COLLINS, BRYAN
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COLLINS, CAIT                        COLLINS, CARI                         COLLINS, CAROLINE
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COLLINS, CAROLYN                     COLLINS, CASEY                        COLLINS, CATHERINE
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COLLINS, CHERYL                      COLLINS, CHRIS                        COLLINS, CHRISTEL
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COLLINS, CHRISTINA                   COLLINS, CLAIRE                       COLLINS, CODIE
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COLLINS, COURTNEY                    COLLINS, CRIS                         COLLINS, CRYSTAL
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COLLINS, DAMON                       COLLINS, DANIEL                       COLLINS, DEANNA
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COLLINS, DOREAN                      COLLINS, DOROTHY                      COLLINS, ELIZABETH
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COLLINS, ELIZABETH     Case 22-11238-LSS
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COLLINS, ELLEN                       COLLINS, ELLEN                        COLLINS, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLINS, EMILY                       COLLINS, ERIC                         COLLINS, FRANCES
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COLLINS, GINA                        COLLINS, HELEN                        COLLINS, J. MARKHAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLINS, JACKSON                     COLLINS, JACQUELYN                    COLLINS, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLINS, JAMES                       COLLINS, JANESSA                      COLLINS, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLINS, JASON                       COLLINS, JEFF                         COLLINS, JEFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLINS, JENN                        COLLINS, JENNA                        COLLINS, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLINS, JENNIFER                    COLLINS, JENNIFER                     COLLINS, JENNY
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COLLINS, JESSICA                     COLLINS, JILL                         COLLINS, JORDAN
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COLLINS, JULIE         Case 22-11238-LSS
                                     COLLINS,Doc  2 Filed 11/30/22
                                             JUSTIN                   Page COLLINS,
                                                                            948 of JUSTINE
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COLLINS, KAITLIN                     COLLINS, KATE                         COLLINS, KATE
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COLLINS, KATIE                       COLLINS, KELLI                        COLLINS, KELLI
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COLLINS, KELLY                       COLLINS, KELLY                        COLLINS, KELSEY
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COLLINS, KENDALL                     COLLINS, KENDRA                       COLLINS, KIM
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COLLINS, KIMBERLEE                   COLLINS, KIRSTEN                      COLLINS, KRISTEN
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COLLINS, KRISTI                      COLLINS, KRISTIN                      COLLINS, LANCE
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COLLINS, LAURA                       COLLINS, LAUREN                       COLLINS, LAUREN
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COLLINS, LESLIE                      COLLINS, LIZ                          COLLINS, MACKENZIE
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COLLINS, MACKENZIE                   COLLINS, MARICAR                      COLLINS, MARICAR
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COLLINS, MARIN         Case 22-11238-LSS
                                     COLLINS,Doc
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COLLINS, MATTHEW                     COLLINS, MEGAN                        COLLINS, MEGAN
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COLLINS, MELANIE                     COLLINS, MICAH                        COLLINS, MICHAEL
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COLLINS, MICHAEL                     COLLINS, MICHELE THIBODEAU            COLLINS, MICHELLE
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COLLINS, MIKE                        COLLINS, MISSY                        COLLINS, MOLLEE
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COLLINS, MOLLY                       COLLINS, NADYA                        COLLINS, NANCY
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COLLINS, NICK                        COLLINS, PAM                          COLLINS, PATSY
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COLLINS, PATTI ANN                   COLLINS, PEGGY                        COLLINS, QUEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLINS, RACHARD                     COLLINS, RASHAD                       COLLINS, REBECCA
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COLLINS, ROBERT                      COLLINS, RYAN                         COLLINS, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COLLINS, SARAH         Case 22-11238-LSS
                                     COLLINS,Doc 2 Filed 11/30/22
                                             SASHMORE                  Page COLLINS,
                                                                             950 of SCOTT
                                                                                     5495
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COLLINS, SCOTT                       COLLINS, SHANNON                       COLLINS, SHANNON
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COLLINS, SHANNON                     COLLINS, SHARON                        COLLINS, SHAUN
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COLLINS, SHELBY                      COLLINS, SHERI                         COLLINS, STACIE
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COLLINS, STACY                       COLLINS, STEPHANIE                     COLLINS, STEVEN
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COLLINS, SUSAN                       COLLINS, TAYLOR                        COLLINS, THERESA
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COLLINS, THOMAS                      COLLINS, TIFFANY                       COLLINS, TRACEY
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COLLINS, TRACI                       COLLINS, VANESSA                       COLLINS, WES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COLLINS, ZACHARY                     COLLINSON CLO, INC                     COLLIS, RACHEL
ADDRESS AVAILABLE UPON REQUEST       5217 TENNYSON PARKWAY SUITE 100        ADDRESS AVAILABLE UPON REQUEST
                                     PLANO, TX 75024




COLLISHAW, HANNAH                    COLLISON, GILLIAN                      COLLISON, ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
COLLISON, STEPHANIE    Case 22-11238-LSS    Doc
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                                                                                     MARY
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COLLIVER, JESSICA                    COLLMER, LESLIE                       COLLOP, RICH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLOTYPE LABELS-SONOMA              COLLUM, EMMA                          COLLUM, KATY
21684 EIGHT STREET SUITE 700         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SONOMA, CA 95476




COLLURA, JACQUELYN                   COLLURA, STEFANO                      COLLXAB LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        110 HORATIO STREET, APT 415
                                                                           NEW YORK, NY 10014




COLLYER, ALEXANDRA                   COLLYER, DEBRA                        COLLYER, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLLYMORE, DEANNA                    COLMAN, JESSICA                       COLMAN, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLMAN, WALT                         COLMAN, ZOE                           COLMENARES, MARIA
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COLMENARES, PATRICIA                 COLOCOUSIS, CHRISTINE                 COLODONATO, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLOM, RAQUEL                        COLOMA, LINDSAY                       COLOMA, SELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLOMB, DAVID                        COLOMBERO, STEVE                      COLOMBINI, SAWYER
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COLOMBO, DANIELLE      Case 22-11238-LSS   Doc
                                     COLOMBO,    2 Filed 11/30/22
                                              FRANCESCO               Page COLOMBO,
                                                                            952 of 5495
                                                                                    GRETCHEN
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COLOMBO, JESSICA                     COLOMBO, KIMBERLY                     COLOMBO, LORI
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COLOMBO, NICHOLAS                    COLOMBO, RAELENE                      COLOMINA, SARAH
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COLON FELIX                          COLON, AMARIS                         COLON, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLON, ANGIE                         COLON, BRANDYN                        COLON, CARLOS
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COLON, CHRISTIAN                     COLON, DAMIAN                         COLON, DESTINY
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COLON, EDUARDO                       COLON, ELEANOR                        COLON, EMILY
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COLON, GINA                          COLON, JAMES                          COLON, JANE
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COLON, JOSE                          COLON, JULIAN                         COLON, KARLEE
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COLON, KATHIA                        COLON, KELSIE                         COLON, LORRAINE
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COLON, LOURDES         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     COLON, LUIS                       Page COLON,
                                                                             953 ofMARIA
                                                                                    5495
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COLON, MARISOL                       COLON, MARTHA                          COLON, NANCY
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COLON, PABLO                         COLON, PATI                            COLON, PATRICIA
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COLON, ROSAL                         COLON, ROSEMARY                        COLON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COLON, SOPHIA                        COLONA, TARA                           COLON-CORTES, IVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COLONELL, MAGGIE                     COLONIAL LIFE                          COLONNA, ANDY
ADDRESS AVAILABLE UPON REQUEST       PROCESSING CENTER                      ADDRESS AVAILABLE UPON REQUEST
                                     P.O BOX 1365
                                     COLUMBIA, SC 29202-1365




COLONNA, ASHTON                      COLORADO DEPARTMENT OF REVENUE         COLORADO DEPARTMENT OF REVENUE
ADDRESS AVAILABLE UPON REQUEST       1375 SHERMAN ST                        PO BOX 17087
                                     DENVER, CO 80261                       DENVER, CO 80217-0087




COLORADO DEPARTMENT OF REVENUE-      COLORADO DEPARTMENT OF REVENUE-        COLORADO DEPARTMENT OF REVENUE-
LIQUOR ENFORCEMENT DIVISION          LIQUOR ENFORCEMENT DIVISION            LIQUOR ENFORCEMENT DIVISION
1707 COLE BLVD, SUITE 300            2447 NORTH UNION BOULEVARD             632 MARKET STREET SUITE G
LAKEWOOD, CO 80401                   COLORADO SPRINGS, CO 80909             GRAND JUNCTION, CO 81506




COLORADO DEPT OF LABOR AND           COLORADO DEPT OF LABOR AND             COLORADO DIVISION OF SECURITIES
EMPLOYMENT                           EMPLOYMENT                             1560 BROADWAY
633 17TH STREET SUITE 201            UNEMPLOYMENT INSURANCE EMPLOYER        SUITE 900
DENVER, CO 80202-3660                SERVICES                               DENVER, CO 80202
                                     P.O BOX 956
                                     DENVER, CO 80201-0956

COLORADO STATE TREASURER             COLOREDGE, INC.                        COLOSIMO, JAIME
COLORADO DIVISION OF SECURITIES      132 WEST 31ST STREET                   ADDRESS AVAILABLE UPON REQUEST
REGISTRATIONS                        NEW YORK, NY 10001
1560 BROADWAY, STE 900
DENVER, CO 80202
COLOSIMO, JAMES        Case 22-11238-LSS    Doc
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COLPAS, DANIEL                       COLQUITT, MICHELLE                    COLSON, CANDACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLSON, JESSICA                      COLSTON, DAILYN                       COLSTON, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLT, MEAGAN                         COLTA, MAGDA                          COLTER, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLTON, MERYL                        COLTON, RENA                          COLTRAINHANKINS, KERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLTRANE, ASHLEY                     COLTRIN, ALLYSA                       COLUCCI, JILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLUCCI, JOSEPH                      COLUCCI, JUDY                         COLUCCI, TASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLUCCIO, CORINNE                    COLUMBARE, TYLER                      COLUMBIA BUSINESS CENTER PARTNERS,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        L.P.
                                                                           750 PISMO STREET
                                                                           SAN LUIS OBISPO, CA 93401




COLUMBO, JUDITH                      COLUNGA, JOANNA                       COLUNGA, NATALIE EVELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLUSSI, MARY                        COLUSSY, SARAH                        COLVILLE, MARY
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COLVILLE, TIMOTHY      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     COLVIN, AYANA                    Page COLVIN,
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COLVIN, CRISTIN                      COLVIN, DAVID                         COLVIN, DEIDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLVIN, HEATHER                      COLVIN, MELISA                        COLVIN, WILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLVIS, GIANNA                       COLWAY, BETH                          COLWELL, CATHIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLWELL, HANA                        COLWELL, KAYLA                        COLWICK, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COLYER, JANINE                       COLYER, JESSICA                       COMALANDER, DEVAN
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COMAN, JOHN                          COMAR, DONNA                          COMARDA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COMBO, MIKAELA                       COMBOY, JASON                         COMBS, ALAETRA
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COMBS, ALLYSON                       COMBS, ALLYSON                        COMBS, AMANDA
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COMBS, AMY                           COMBS, ASHLEY                         COMBS, CHERYLYN
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COMBS, EMILY           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     COMBS, HEATHER                   Page COMBS,
                                                                            956 ofJAMES
                                                                                   5495
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COMBS, JANETTE                       COMBS, JEANETTE                       COMBS, KATIE
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COMBS, KAYLA                         COMBS, LAUREN                         COMBS, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COMBS, NICK                          COMBS, SHALONDA                       COMBS, STAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COMBS, WILLIAM                       COMCAST CORP.                         COMCAST CORP.
ADDRESS AVAILABLE UPON REQUEST       COMCAST CENTER                        P.O. BOX 70219
                                     1701 JFK BLVD                         PHILADELPHIA, PA 19176-0219
                                     PHILADELPHIA, PA 19103




COMEAU, JENNIFER                     COMEAU, KATHRYN                       COMEAU, MARIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COMEAU, SARAH                        COMEAU, SARAH                         COMEAU, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COMEAUX, ELIZABETH                   COMER, ALAN                           COMER, ARIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COMER, BRIGID                        COMER, CHRISTINE                      COMER, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COMER, ERIN                          COMER, HOLLY                          COMER, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COMER, TEALA           Case 22-11238-LSS   DocHOLLY
                                     COMERFORD,  2 Filed 11/30/22           Page COMERFORD,
                                                                                  957 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




COMERFORD, TAYLOR                       COMERT, ECE                              COMESANAS, JOELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMETA, MALLORY                         COMEX CONSULTING SL                      COMEX CONSULTING, SL
ADDRESS AVAILABLE UPON REQUEST          ATTN: EDWARD FIELD                       PLAZA CASTELLINI NO 9, 10 IZQ.
                                        PLAZA CASTELLINI, 9-1 IZQ                CARTAGENA, MURCIA 30201
                                        CARTAGENA 30201                          SPAIN
                                        SPAIN



COMEY, JACQUELINE                       COMFORT, BLAIR                           COMFORT, BRITTANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMFORT, LEXIE                          COMICE, CRYSTAL                          COMINA, MATIAS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMINI, ALEJANDRA                       COMISI, KAREN                            COMISKEY, KENDYL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMISSIONG, MICHELLE                    COMITA, PAUL                             COMITO, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMMANDER, MICHELLE                     COMMERCIAL INSURANCE PROGRAM             COMMERCIAL INSURANCE PROGRAM
ADDRESS AVAILABLE UPON REQUEST          C/O WOODRUFF-SAWYER & CO                 POLICY SERVICE DEPT
                                        2 PARK PLAZA, STE 500                    PO BOX 958487
                                        IRVINE, CA 92614                         LAKE MARY, FL 32746-8487




COMMERCIAL PLUMBING, INC                COMMISSIONER OF REVENUE SERVICES         COMMISSIONER OF SECURITIES, STATE OF
467 S. MARKET STREET                    ADDRESS UNAVAILABLE AT TIME OF FILING    LOUISIANA
INGLEWOOD, CA 90301                                                              LOUISIANA OFFICE OF FINANCIAL
                                                                                 INSTITUTIONS
                                                                                 SECURITIES DIVISION
                                                                                 8660 UNITED PLAZA BLVD., 2ND FLOOR
                                                                                 BATON ROUGE, LA 70809

COMMISSIONER OF TAXATION AND FINANCE    COMMISSIONER OF TAXATION                 COMMISSO, ALEXANDER
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
COMMON ACQUIRE, LLC     Case 22-11238-LSS
                                      COMMONDoc 2 Filed
                                            COLLABS, LLC 11/30/22         Page COMMON
                                                                                958 of 5495
                                                                                       LIVING INC.
78 KETEWAMOKE AVENUE                  ATTN: RICHARD KIM                         6 E 43RD ST, 18TH FL
BABYLON, NY 11702                     1820 E. WALNUT AVE                        NEW YORK, NY 10280
                                      FULLERTON, CA 92831




COMMONS, JANELL                       COMMONS, STEPHANIE                        COMMONWEALTH OF MASSACHUSETTS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            SECURITIES DIVISION
                                                                                MCCORMACK BLDG
                                                                                ONE ASHBURTON PLACE, 17TH FLOOR
                                                                                BOSTON, MA 02108



COMMONWEALTH OF PUERTO RICO ATTY      COMMONWEALTH OF VIRGINIA                  COMMUNAL BRANDS
GENERAL                               ADDRESS UNAVAILABLE AT TIME OF FILING     51-02 VERNON BLVD. SECOND FLOOR
SECTION 902192                                                                  REAR LONG ISLAND CITY, NY 11101
SAN JUAN, PR 00902-0192




COMMUNE DESIGN, INC.                  COMMYN, KIMBERLY                          COMO, ANTHONY
2504 W 7TH STREET SUITE A             ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90057




COMO, BARB                            COMOLLI, ANDY                             COMOLLI, MAX
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




COMPACTORS, INC.                      COMPAGNONI, MAGGIE                        COMPAIN, STEPHANIE
71 LIGHTHOUSE ROAD SUITE 221          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
HILTON HEAD ISLAND, SC 29928




COMPANIONI, SADIAILEN                 COMPARIS TRATTORIA PIZZA                  COMPARTES CHOCOLATIER INC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING     912 S BARRINGTON AVE
                                                                                LOS ANGELES, CA 90049




COMPENSATION ADVISORY PARTNERS, LLC   COMPERE, LAUREN                           COMPINTELLIGENCE, INC.
1133 AVENUE OF THE AMERICAS, FL 14    ADDRESS AVAILABLE UPON REQUEST            56 DRIFTWAY LANE
NEW YORK, NY 10036                                                              NEW CANAAN, CT 06840




COMPITELLO, LIZ                       COMPITELLO, MICHELE                       COMPLI, INC.
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            8834 MORRO ROAD
                                                                                ATASCADERO, CA 93422




COMPLI, INC.                          COMPLIANCE SERVICE OF AMERICA             COMPONILE, JOSEPH
PO BOX 3617                           54476 MARIAH ROAD                         ADDRESS AVAILABLE UPON REQUEST
PASO ROBLES, CA 93447                 MYRTLE POINT, OR 97458
COMPTON, AARON         Case 22-11238-LSS   Doc
                                     COMPTON,    2 Filed 11/30/22
                                              ADAM                          Page COMPTON,
                                                                                  959 of 5495
                                                                                          ALEXANDRA
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COMPTON, BRANDY                         COMPTON, CHELSEA                         COMPTON, EMMA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMPTON, KAT                            COMPTON, KELLY                           COMPTON, MARIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMPTON, MAUREEN                        COMPTON, MELISSA                         COMPTON, MIKALA
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COMPTON, NINETTE                        COMPTON, RACHEL                          COMPTON, RHIANNON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMPTON, ROCKY                          COMPTON, SARAH                           COMPTON, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMPTON, SEAN                           COMPTON, TRYSTEN                         COMPTON, TYLER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COMPTON, WILLIAM                        COMPTON-BROWN, ANNE                      COMPTROLLER OF MDBWSC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




COMPTROLLER OF MDCW                     COMPUTECH SUPPORT SVC                    COMPUTER SOLUTIONS
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    1404 VIA ASUETO
                                                                                 SANTA MARIA, CA 93454




COMPUTER TECHS, INC                     COMRIE, MOLLY                            COMSTOCK, KAITLYN
1158 SHANNON LANE                       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
ARROYO GRANDE, CA 93420
COMSTOCK, MADELYN      Case 22-11238-LSS   Doc
                                     COMSTOCK,   2 Filed 11/30/22
                                               RICHARD                Page COMUNALE,
                                                                            960 of 5495
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COMUNALE, MARY                       COMYNS, ERIN                          CON, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CONABLE, CHRISTIAN                   CONAGHAN, LINDA                       CONANAN, VINCENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CONANT, ASHLEY                       CONANT, DEEDEE                        CONANT, ERIN
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CONANT, HEATHER                      CONANT, NOEL                          CONARD, NANCY
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CONARD, VALERIE                      CONARTY, MURRAY                       CONATSER, BRIANA
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CONATSER, LINDA                      CONATY, CARA                          CONATY, DOROTHY
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CONATY, RYAN                         CONAWAY, CODY                         CONAWAY, SUSAN
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CONBOY, JEANINE                      CONBOY, MARYELLEN                     CONCANNON, KATIE
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CONCANNON, KIELY                     CONCEICAO, KERRY                      CONCEICAO, LEXI
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                                                                            961 of 5495CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CONCEPCION, DIANA                    CONCEPCION, JENNIFER                  CONCEPCION, MARIA CECILIA JESUSA
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CONCEPCION, RICARDO                  CONCEPT MEDIA PARTNERS, INC.          CONCESSI, ROB
ADDRESS AVAILABLE UPON REQUEST       307 108 VILLAGE SQUARE                ADDRESS AVAILABLE UPON REQUEST
                                     SOMERS, NY 10589




CONCHAS, ALEXANDER                   CONCHOLA, LEAH                        CONCIALDI, MONICA
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CONCIATORI, GLENN & BARBARA          CONCINI, CHRISTEN                     CONCOFF, MANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CONCUR TECHNOLOGIES, INC.            CONDE, ASHLEY                         CONDE, KIARA
601 108TH AVENUE NE SUITE 1000       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BELLEVUE, WA 98004




CONDE, MAYRA                         CONDE, STEPHANIE                      CONDELLA, SHIRLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CONDER, JAIME                        CONDER, JILLIAN                       CONDIE, DENNIS
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CONDILES, CARINA                     CONDON, ASHLEIGH                      CONDON, DEBI
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CONDON, EMILY                        CONDON, ERINMAURA                     CONDON, HANNAH
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CONDON, JOCELYN        Case 22-11238-LSS
                                     CONDON,Doc  2 Filed 11/30/22
                                             JOSEPH                   Page CONDON,
                                                                            962 of 5495
                                                                                   JULIA
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CONDON, KAITLYN                      CONDON, KATHLEEN                      CONDON, MADELINE
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CONDON, MAGGIE                       CONDON, MELANIE                       CONDON, PAMELA
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CONDON, RICK                         CONDON, STEPH                         CONDRA, KATE
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CONDRACK, HILARIE                    CONDRO, JASON                         CONDUITT, KIMBERLY
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CONDYLIS, LAURA                      CONE, ALLISON                         CONE, ANNE
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CONE, CHRISTINA                      CONE, JASON                           CONE, KACIE
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CONE, MICHAEL                        CONESET, CHELSEA                      CONEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 6241
                                                                           ORANGE, CA 92863-6241




CONEXUS SEARCH LLC                   CONEXUS SEARCH LLC                    CONEY, TIANA
5151 CALIFORNIA AVE, SUITE 100       5151 CALIFORNIA AVE, SUITE 100        ADDRESS AVAILABLE UPON REQUEST
IRVINE, CA 92617                     STEPHEN FINGAL, OWNER
                                     IRVINE, CA 92617




CONEYS, KRISTEN                      CONFER, ALLYSON                       CONFLICT SOLUTIONS CENTER OF S.B.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        COUNTY
                                                                           120 E. JONES ST, SUITE 133
                                                                           SANTA MARIA, CA 93454
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                                      CONFORTI,    2 Filed 11/30/22
                                                ANTHONY                Page CONFORTI,
                                                                             963 of 5495
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CONFORTI, MARK                       CONFORTI, WILLIAM                      CONFORTO, SIMONE
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CONG, LEI                            CONGDEN, LISA                          CONGDON, KIMBERLY
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CONGDON, SCOTT                       CONGER, ALISON                         CONGER, NICHOLE
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CONGER, SHARON                       CONHEENEY, MEGAN                       CONIAN, LISA
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CONICELLO, JENNIFER                  CONIDI, HILLARY                        CONIGLIARO, DONNA
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CONIGLIARO, KRISTINA                 CONINE, ANDREA                         CONINE, SAMANTHA
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CONINE, SHELLY                       CONKLIN, BRIAN                         CONKLIN, CATHERINE
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CONKLIN, ELIZABETH                   CONKLIN, JOHN                          CONKLIN, KEVIN
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CONKLIN, LISA                        CONKLIN, MACKENZIE                     CONKLIN, MEGHAN
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CONKLIN, SABRINA       Case 22-11238-LSS
                                     CONKLIN,Doc  2 Filed 11/30/22
                                              SHELBY                  Page CONKLIN,
                                                                            964 of 5495
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CONKLIN, WILLIAM                     CONLAN, KATHERINE                     CONLAN, KEVIN
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CONLAN, MICHAEL                      CONLEY, ALLISON                       CONLEY, AMY
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CONLEY, ANDREW                       CONLEY, BETH                          CONLEY, BRIAN
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CONLEY, CHRIS                        CONLEY, DEBBIE                        CONLEY, JAMES
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CONLEY, JESSIE                       CONLEY, KERI                          CONLEY, LAURICE
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CONLEY, LEANDRA                      CONLEY, LEIGH                         CONLEY, LINDSEY
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CONLEY, LOREE                        CONLEY, MAEVE                         CONLEY, MARGARET
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CONLEY, MICHELLE                     CONLEY, NICOLE                        CONLEY, NOREEN
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CONLEY, PATRICK                      CONLEY, PATTI                         CONLEY, RICHARD
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                                     CONLEY, Doc  2 Filed 11/30/22
                                             SHIRLEY                     Page CONLEY,
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CONLEY, VIVIAN                       CONLEY-DAS, CAROLYN                      CONLIN, JANIS
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CONLIN, LISA                         CONLISK, KRISTIN                         CONLON, ASHLEY
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CONLON, GEORGE                       CONLON, JONNA                            CONLON, KEVIN
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CONLON, MARIA                        CONLON, MARY                             CONLON, RICHARD
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CONN, CC                             CONN, HANNAH                             CONN, MARIAH
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CONN, TERRY                          CONNARD, CHRIS                           CONNAUGHTON, ANNE
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CONNAUGHTON, ERIN                    CONNEALY, JED                            CONNEARNEY, LEAH
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CONNECTICUT DEPARTMENT OF            CONNECTICUT DEPARTMENT OF LABOR          CONNECTICUT DEPARTMENT OF
CONSUMER PROTECTION                  200 FOLLY BROOK BLVD                     CONSUMER PROTECTION
DEPARTMENT OF CONSUMER PROTECTION    WETHERSFIELD, CT 06109                   450 COLUMBUS BLVD
450 COLUMBUS BOULEVARD, SUITE 901                                             STE 901
HARTFORD, CONNECTICUT 06103-1840                                              HARTFORD, CT 06103-1840



CONNECTICUT DEPT OF REVENUE          CONNECTICUT DEPT OF REVENUE              CONNECTICUT SECURITIES AND BUSINESS
SERVICES                             SERVICES                                 INVESTMENTS DIVISION
25 SIGOURNEY ST, SUITE 2             OPERATIONS DIVISION - INCOME TAX TEAMS   260 CONSTITUTION PLAZA
HARTFORD, CT 06106-5032              450 COLUMBUS BLVD., STE 1                HARTFORD, CT 06103-1800
                                     HARTFORD, CT 6103-5032
CONNEELY, DANICA       Case 22-11238-LSS   Doc
                                     CONNEELY,   2 Filed 11/30/22
                                               DANIELLE               Page CONNELL,
                                                                            966 of 5495
                                                                                    AMELIA
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CONNELL, ASHLEY                      CONNELL, AUBREY                       CONNELL, BRIANNA
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CONNELL, CAMERON                     CONNELL, CATIE                        CONNELL, DEBBIE
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CONNELL, JAMES                       CONNELL, JAYJAY                       CONNELL, JILLIAN
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CONNELL, JULIE                       CONNELL, JUSTINA                      CONNELL, LAUREN
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CONNELL, MANDY                       CONNELL, MARY                         CONNELL, REGAN
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CONNELL, SHANDI                      CONNELL, SIERRA                       CONNELLY, ALISON
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CONNELLY, BEN                        CONNELLY, BRIAN                       CONNELLY, BRIANNA
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CONNELLY, CHRISTINE                  CONNELLY, CRYSTAL                     CONNELLY, EILEEN
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CONNELLY, EILEEN                     CONNELLY, GERARD                      CONNELLY, JENNIFER
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CONNELLY, JULIA        Case 22-11238-LSS    Doc
                                     CONNELLY,   2 Filed 11/30/22
                                               KATHY                  Page CONNELLY,
                                                                            967 of 5495
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CONNELLY, KEVIN                      CONNELLY, KORILEE                     CONNELLY, KRISTIN
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CONNELLY, KRISTINA                   CONNELLY, MOLLY                       CONNELLY, RICHARD
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CONNELLY, SARAH                      CONNELLY, SHANNON                     CONNELLY, TERRENCE
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CONNER, ALICIA                       CONNER, ALISON                        CONNER, AMBER
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CONNER, ASHLEY                       CONNER, BILL                          CONNER, BILL
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CONNER, BRIANNA                      CONNER, CAROLYN                       CONNER, CHRISTA
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CONNER, CHRISTY                      CONNER, COURTNEY                      CONNER, DAVID
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CONNER, DINNIA                       CONNER, ETHAN                         CONNER, JENNA
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CONNER, KAYLA                        CONNER, KIM                           CONNER, LAURA
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CONNER, LAUREL         Case 22-11238-LSS
                                     CONNER,Doc  2 Filed 11/30/22
                                            LAUREN                    Page CONNER,
                                                                            968 of MADELINE
                                                                                   5495
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CONNER, MAKENZI                      CONNER, MARTIN                        CONNER, MIKALYN
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CONNER, SAMANTHA                     CONNER, VICKI                         CONNERLEY, SCOTT
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CONNERLY, VICKI                      CONNERS, COLLEEN                      CONNERS, JANICE
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CONNERS, KIRSTIE                     CONNERS, PEYTON                       CONNERTY, CAITLYN
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CONNERTY, ELAINE                     CONNERTY, LEAH                        CONNERTY, MEAGHAN
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CONNET, MICHAEL                      CONNET, PAUL                          CONNETT, GREG
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CONNICK, EMILY                       CONNIE CHEN                           CONNIE FLORES
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CONNIE KEDERAL GRAHAM                CONNIE L REED                         CONNIE MONROE
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CONNIE POST                          CONNIE STATTMANN                      CONNIE, GOODNER
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CONNOLLU, CAITLIN      Case 22-11238-LSS   Doc
                                     CONNOLLY    2 Filed
                                              TURNER, KIT  11/30/22   Page CONNOLLY,
                                                                            969 of 5495
                                                                                     AMANDA
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CONNOLLY, ANNA                       CONNOLLY, AUDREY                      CONNOLLY, CAITLIN
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CONNOLLY, CAROLYN                    CONNOLLY, CHERYL                      CONNOLLY, CLAIRE
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CONNOLLY, DANIELLE                   CONNOLLY, DIANNE                      CONNOLLY, DONNA
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CONNOLLY, FRANCIS                    CONNOLLY, FRANK                       CONNOLLY, JENNA
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CONNOLLY, JENNIFER                   CONNOLLY, JILL                        CONNOLLY, JOHN
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CONNOLLY, JULIANNE                   CONNOLLY, KATHERINE                   CONNOLLY, KYLEEN
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CONNOLLY, LAURA                      CONNOLLY, LAUREN                      CONNOLLY, LISA
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CONNOLLY, MARGARET                   CONNOLLY, MARY                        CONNOLLY, MICAELA
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CONNOLLY, PATRICIA                   CONNOLLY, PATRICK                     CONNOLLY, PHYLLIS
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CONNOLLY, ROSE         Case 22-11238-LSS   Doc
                                     CONNOLLY,   2 Filed 11/30/22
                                               SHANNON                Page CONNOLLY,
                                                                            970 of 5495
                                                                                     SHAWN
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CONNOLLY, SIERRA                     CONNOLLY, STACY                       CONNOLLY, STACY
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CONNOLLY, SUSAN                      CONNOLLY, SUSAN                       CONNOLLY, THOMAS
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CONNOLLY, WILLIAM                    CONNON, JOSEPH                        CONNOR AKIRA FALLE
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CONNOR DAVIS YOCKUS                  CONNOR GROUP                          CONNOR GROUP
ADDRESS AVAILABLE UPON REQUEST       3700 BARRON WAY, SUITE 2              DEPT 3748
                                     RENO, NV 89511                        PO BOX 123748
                                                                           DALLAS, TX 75312-3748




CONNOR MOONEY                        CONNOR ONEILL                         CONNOR SKELLY
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CONNOR, BLAYRE                       CONNOR, BRUCE                         CONNOR, CHRISTOPHER
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CONNOR, DEBRA                        CONNOR, ELISE                         CONNOR, JESSICA
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CONNOR, KATIE                        CONNOR, MARK                          CONNOR, MARY
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CONNOR, MATTHEW                      CONNOR, MEGAN                         CONNOR, MICHELLE
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CONNOR, MIKE           Case 22-11238-LSS
                                     CONNOR,Doc  2 Filed 11/30/22
                                             SHERI                       Page CONNOR,
                                                                               971 of 5495
                                                                                      TRINA
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CONNORS, ANGELA                         CONNORS, BARBARA                      CONNORS, CASSANDRA
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CONNORS, CASSANDRA                      CONNORS, CATHERINE                    CONNORS, DARLENE
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CONNORS, DAWN                           CONNORS, DELORES                      CONNORS, DONALD
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CONNORS, EILEEN                         CONNORS, HEATHER                      CONNORS, JESSICA
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CONNORS, KATHERINE                      CONNORS, MARIA                        CONNORS, MARY
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CONNORS, RACHEL                         CONNORS, SHANNON                      CONNORS-MCBRIDE, MAUREEN
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CONOLLY, ANDRIA                         CONOLY, ERIN                          CONONICO, AMBER
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CONOR, DELANEY,                         CONOVER, BOBBI                        CONOVER, CATRICE
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CONOVER, DAVID         Case 22-11238-LSS   Doc
                                     CONOVER,    2 Filed 11/30/22
                                              HEATHER                 Page CONOVER,
                                                                            972 of 5495
                                                                                    NIKOLENA
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CONOVER, NINA                        CONOVER, SUSAN                        CONOVER, TERESA
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CONRAD CHEEKS                        CONRAD FLOWERS                        CONRAD TARTE
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CONRAD, ADAM                         CONRAD, ANNELIESE                     CONRAD, CANDYCE
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CONRAD, CATIE                        CONRAD, FRED                          CONRAD, JACQUELINE
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CONRAD, JADE                         CONRAD, JENNIE                        CONRAD, JENNIFER
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CONRAD, JOANNA                       CONRAD, KATE                          CONRAD, KATHERINE
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CONRAD, KELLY                        CONRAD, KIM                           CONRAD, KIM
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CONRAD, KRISTEN                      CONRAD, KYLENE                        CONRAD, LYNDSEY
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CONRAD, MARGARET                     CONRAD, MEGAN                         CONRAD, MELANIE
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CONRAD, NICOLE         Case 22-11238-LSS
                                     CONRAD,Doc
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CONRAD, RACHEAL                      CONRAD, SARAH                            CONRAD, TYSON
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CONRAN, MARC                         CONROY, ALEXIUS                          CONROY, BETH
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CONROY, COLLEEN                      CONROY, DELIA                            CONROY, EVAN R.
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CONROY, JAMES                        CONROY, JULIE                            CONROY, MAGGIE
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CONROY, SARAH                        CONROY, SCOTT                            CONROY, VERONICA
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CONRY, SHERIANNE                     CONS, JONATHAN                           CONSALVI, NATALIE
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CONSELYEA, CHRISTINE                 CONSERV FUEL                             CONSIDINE, CALI
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CONSIDINE, FARRAH                    CONSIDINE, KERRI                         CONSIDINE, MICHELLE
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CONSIGLIO, KENNETH                   CONSKY, ALEXANDER                        CONSOLES, VICTORIA
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CONSTABLE, ERICA       Case 22-11238-LSS   DocSARAH
                                     CONSTABLE,  2 Filed 11/30/22        Page CONSTABLE,
                                                                               974 of 5495
                                                                                         TARYN
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CONSTANCE A MORGAN                      CONSTANCE OBRYANT                     CONSTANDOGLO, IRINA
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CONSTANT, MARJORIE                      CONSTANT, NICHOLAS                    CONSTANTIN, LINDA
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CONSTANTINE, ADRIENNE                   CONSTANTINE, DEANNA                   CONSTANTINE, JAMIE
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CONSTANTINE, JOHN                       CONSTANTINE, JULIE                    CONSTANTINE, KATE
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CONSTANTINE, KRISTIN                    CONSTANTINE, MATTHEW                  CONSTANTINEAU, AIMEE
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CONSTANTINO, AL                         CONSTANTINO, KERRIGAN                 CONSTANTINO, KIM
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CONSTANTINOS KRASHIAS                   CONSTANZO, ANDREYNA                   CONSTRUCTION MANAGEMENT &
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        INSPECTION SERVICES INC
                                                                              1751 BERKELEY ST STUDIO 3
                                                                              SANTA MONICA, CA 90404




CONTAINER TECHNOLOGY, INC.              CONTAINER TECHNOLOGY, INC.            CONTAINER TECHNOLOGY, INC.
1000 N. GREEN VALLEY PKWY STE 440-616   P.O BOX 60508                         P.O. BOX 60508
HENDERSON, NV 89074                     SANTA BARBARA, CA 93160               SANTA BARBARA, CA 93160




CONTAINERSTORE.COM                      CONTANT, NAOMI                        CONTAT, NATHALIE
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CONTE, LISA                             CONTE, NICK                           CONTE, RENATA
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CONTEH, HAWA                            CONTEH, ISATU                         CONTEH, TIANSAL
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CONTES, CONNIE                          CONTI, ANNE                           CONTI, COLLEEN
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CONTI, ELIZABETH                        CONTI, ELLEN                          CONTI, FRANK
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CONTI, MARIE                            CONTI, NICOLETTE                      CONTICH, MICHELLE
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CONTILLO, JOLEEN                        CONTIN, YERINA                        CONTINE, BENJAMIN
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CONTINENTAL ATRIUM CO                   CONTINENTAL VINEYARDS, LLC            CONTINENTAL VINEYARDS, LLC
C/O BANK OF AMERICA FILE 50128          (BROKEN EARTH WINERY)                 (BROKEN EARTH WINERY)
LOS ANGELES, CA 90074-0128              5625 EAST HIGHWAY 46                  PO BOX 1498
                                        PASO ROBLES, CA 93446                 PASO ROBLES, CA 93447




CONTINI, KATHRYN                        CONTINO, HALEY                        CONTINO, JASON
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CONTOIS, NICOLLE                     CONTRACT, MARC                        CONTRACTOR, MANIJEH
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CONTRATA, KENNETH                    CONTRATTO, VANESSA                    CONTRERAS, ASHLEY
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CONTRERAS, BEATRIZ                   CONTRERAS, BRIDGITTE                  CONTRERAS, CANDICE
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CONTRERAS, MICHELLE                  CONTRERAS, NICOLE                     CONTRERAS, REBECCA
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CONTRERAS, REBECCA                   CONTRERAS, SANDRA                     CONTRERAS, SARAI
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CONTRERAS, VIRGINIA                  CONTRERAS-MARIEL, JOSE IGNACIO        CONTRINO, KELLY
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                                                                              PHOENIX, AZ 85038-9040




CONVERSE, ELLEN                      CONVERSE, JENNA                          CONVERSE, JILL
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CONVERSE, KAREN                      CONVERT2MEDIA, LLC                       CONVEYOR HANDLING COMPANY, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    6715 SANTA BARBARA COURT
                                                                              ELKRIDGE, MD 21075




CONVISER, HOWARD                     CONVISSOR, CAITLIN                       CONWARD, CARLA
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CON-WAY MULTIMODAL                   CON-WAY MULTIMODAL                       CON-WAY MULTIMODAL
2211 OLD EARHART ROAD                PO BOX 4156                              PO BOX 4156
ANN ARBOR, MI 48105                  97208-4156                               PORTLAND, OR 97208-4156




CONWAY, AMBER                        CONWAY, ASHLEY                           CONWAY, BARON
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CONWAY, CLAUDIA                      CONWAY, DEB                              CONWAY, ELIZABETH
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                                     CONWAY,Doc  2 Filed 11/30/22
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CONWAY, KRISTEN                      CONWAY, LISA                          CONWAY, MEGAN
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CONWAY, MIKE                         CONWAY, NICOLE                        CONWAY, PEGGY
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CONYERS, DARLENE                     CONYERS, MELISSA                      CONYERS, SHAY
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CONYERS, THAISIS                     CONZE, MELODI                         COODY, RANDY
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COOEY, TARA                          COOGAN, ANNIE                         COOGAN, ROSE
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COOGOZZO, JOSEPH                     COOIL, AMANDA                         COOK, ADRIANNA
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                                     COOK, ALYSSA                     Page COOK,
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COOK, AMANDA                         COOK, AMBER                           COOK, ANASTASIA
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COOK, ANDREA                         COOK, ANDREA                          COOK, ANGELA
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COOK, ANNE                           COOK, BENSON                          COOK, BONNIE
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COOK, BRAEDEN & ALYSON               COOK, BREANNA                         COOK, BRIAN
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COOK, BRITTANY                       COOK, BRITTANY                        COOK, C.
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COOK, CAITLIN                        COOK, CARLY                           COOK, CARRIE
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COOK, CASSANDRA                      COOK, CATHERINE                       COOK, CHARLES
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COOK, CHELSEA                        COOK, CHEREE                          COOK, CHRIS
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COOK, CHRIS                          COOK, CHRISTINE                       COOK, CINDEE
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COOK, COURTNEY                       COOK, DALLAS                          COOK, DANA
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COOK, DAVID                          COOK, DEANNE                          COOK, EARL
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COOK, EMILIE                         COOK, EMILY                           COOK, ERIN
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COOK, HARLIN                         COOK, HARRY                           COOK, HAYLEY
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COOK, HOLLY                          COOK, IAN                             COOK, JACKIE
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COOK, JACQUELINE                     COOK, JAMES                           COOK, JAMIE
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COOK, JANELL                         COOK, JASMINE                         COOK, JASON
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COOK, JEAN                           COOK, JENNIFER                        COOK, JENNIFER
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                                     COOK, JOAN                       Page COOK,
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COOK, JODIE                          COOK, JON                             COOK, JONATHAN
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COOK, JOY                            COOK, KAITLIN                         COOK, KAREN
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COOK, KATHERINE                      COOK, KATHRYN                         COOK, KATHRYN
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COOK, KATY                           COOK, KELSEY                          COOK, KENDALL
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COOK, KERRY                          COOK, KERRY                           COOK, KEVIN B
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COOK, KIM                            COOK, KIMBERELY                       COOK, KIMBERLY
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COOK, KRISTA                         COOK, KRISTA                          COOK, KRISTI
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COOK, KRISTIN                        COOK, KYLEE JO                        COOK, LACI
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COOK, LATOYA                         COOK, LAUREN                          COOK, LAUREN
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COOK, LEAH             Case 22-11238-LSS     Doc 2 Filed 11/30/22
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COOK, LETRESE                        COOK, LINDA                           COOK, LINDSAY
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COOK, LINDSEY                        COOK, LISA                            COOK, LOGAN
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COOK, MARGARET                       COOK, MARGUERITE                      COOK, MARY
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COOK, MATT                           COOK, MATTHEW                         COOK, MEGAN
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COOK, MEGAN                          COOK, MEGHAN                          COOK, MICHAEL
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COOK, MICHELE                        COOK, MICHELLE                        COOK, MICHELLE
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COOK, NATHANIEL                      COOK, NICOLE                          COOK, OLIVIA
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COOK, ONDREA                         COOK, PAIGE                           COOK, PAMELA
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COOK, RACHEL                         COOK, REBECCA                         COOK, RILEY
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COOK, RILEY            Case 22-11238-LSS    Doc 2 Filed 11/30/22
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                                                                            983 of 5495
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COOK, SAMANTHA                       COOK, SHELL                           COOK, STEPHANIE
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COOK, SUSAN                          COOK, TALLEY                          COOK, TARA
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COOK, TAYLOR                         COOK, THOMAS                          COOK, TONI
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COOK, TONYA                          COOK, VALERIE                         COOK, VANESSA
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COOK, VERANDA                        COOK, VERONICA                        COOK, VICTOR
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COOK-ANDRES, ZIA                     COOK-COTTONE, CATHERINE               COOKE, ALYSSA
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COOKE, AMANDA                        COOKE, ANDRE                          COOKE, ANDREA
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COOKE, BRITTANY                      COOKE, CHRISTOPHER                    COOKE, DAMIAN
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COOKE, DAVID                         COOKE, JOSH                           COOKE, KAYLA
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COOKE, KELLI           Case 22-11238-LSS    Doc 2 Filed 11/30/22
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COOKE, SANDAE                        COOKE, SHIRLEY                           COOKIE DO
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COOKS, CHRISTOPHER                   COOKS, TERRI                             COOKSEY, BRETT
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COOKSEY, CATHY                       COOKSEY, CHRISTINA                       COOKSEY, JESSICA
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COOKSEY, KELSEY                      COOKSEY, LESLIE                          COOKSON, DANIELLE
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COOKSON, ELIZABETH                   COOKSON, KIMBLE                          COOKSON, ROBERT
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COOKSTON, JENNIFER                   COOL PC INCORPORATED                     COOL, ELISA
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COOL, REBECCA                        COOLERGUYS.COM                           COOLEY LLP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ATTN: ERIC E. WALKER
                                                                              110 N. WACKER DRIVE, SUITE 4200
                                                                              CHICAGO, IL 60606




COOLEY, ASHLEY                       COOLEY, BALY                             COOLEY, CELESTE
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COOLEY, CHARLES                      COOLEY, CHERIE                           COOLEY, CHERYL
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COOLEY, KATE                         COOLEY, LLP                             COOLEY, LLP
ADDRESS AVAILABLE UPON REQUEST       101 CALIFORNIA STREET, 5TH FLOOR        1333 2ND STREET SUITE 400
                                     SAN FRANCISCO, CA 94111-5800            SANTA MONICA, CA 90401




COOLEY, MARVIN                       COOLEY, MCKENZIE                        COOLEY, MICHAEL
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COOLEY, MORGAN                       COOLEY, SARA                            COOLEY, SHAWMA
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COOLEY, TOM AND CAROL                COOLEY, VICTORIA                        COOLHAUS
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COOLIDGE, LINDA                      COOLS, KYLA                             COOMBER, NICOLE
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COOMBS, KRISTOPHER                   COOMBS, MELISSA                         COOMBS, WHITNEY
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COOMER, LAURA                        COOMES, ALYSSA                          COOMES, REBECCA
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COON, ALYSSA                         COON, ARYN                              COON, ASHLEY
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COON, COLIN                          COON, DENNIS                            COON, ERIN
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COON, LAKOTA                         COON, RYAN                            COONAN, CATIE
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COONAN, CATIE                        COONAN, DENNIS                        COONCE, JENNIFER
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COONEY, AUDREY                       COONEY, CAITLIN                       COONEY, ELEANOR
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COONEY, MICHELE                      COONEY, MONICA                        COONEY, PETER
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COONEY, RUTHANN                      COONEY, SIOBHAN                       COONEY, VIRGINIA
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COONLEY, DANIEL                      COONRAD, EMMY                         COONS, AMY
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COONS, CHAUNDRA                      COONS, DIANA                          COONS, KAYLEE
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COONS, KRISTA                        COONS, MARGARET                       COONS, RACHAEL
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COONS-COE, JUDITH      Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       3300 CLAY STREET UNIT 1
                                                                          SAN FRANCISCO, CA 94118




COOPER MOORE, EMILY                  COOPER SIMMS, MARCIA                 COOPER, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




COOPER, ALLEE                        COOPER, ALLISON                      COOPER, AMBER
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COOPER, AMY                          COOPER, ANDISHA                      COOPER, ANGELA
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COOPER, ANN                          COOPER, ANNETTE                      COOPER, ANNIE
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COOPER, ASHLEY                       COOPER, ASHLEY                       COOPER, BETHANY
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COOPER, BIANCA                       COOPER, BLAKE                        COOPER, BRANTLEY
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COOPER, BRIAN                        COOPER, BRITNEY                      COOPER, BRITTANY
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COOPER, CAREY                        COOPER, CATHY                        COOPER, CELINE
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COOPER, CHRISTEN                     COOPER, CHRISTIE                     COOPER, CHRISTINA
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COOPER, COLLEEN                      COOPER, COURTNEY                      COOPER, DANIELLE
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COOPER, DAVID                        COOPER, DEANNA                        COOPER, DELORES
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COOPER, DENISE                       COOPER, DOROTHY                       COOPER, ELIZABETH
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COOPER, ELLEN                        COOPER, EMILY                         COOPER, ERICA
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COOPER, ERIKA                        COOPER, FELICIA                       COOPER, GAYLE
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COOPER, GINA                         COOPER, GINNY                         COOPER, GREG M
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COOPER, HEATHER                      COOPER, HEIDI                         COOPER, JACQUELINE
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COOPER, JAKE                         COOPER, JAMIE                         COOPER, JANIS
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COOPER, JAY                          COOPER, JENNIFER                      COOPER, JESSICA
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COOPER, KALLIE                       COOPER, KATE                          COOPER, KATHERINE
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COOPER, KATIE                        COOPER, KAYLIN                        COOPER, KRISTEN
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COOPER, KRISTIN                      COOPER, LARKIN                        COOPER, LAURA
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COOPER, LAUREN                       COOPER, LAUREN                        COOPER, LEIGH
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COOPER, LEIGHANNE                    COOPER, LEXIA                         COOPER, LINDSAY
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COOPER, MAGGIE                       COOPER, MARGARETTE                    COOPER, MELISSA
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COOPER, MICHAEL                      COOPER, MICHELLE                      COOPER, MIRANDA
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COOPER, NESTA                        COOPER, NICOLE                        COOPER, NICOLLE
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COOPER, NICOLLE                      COOPER, NIKOLE                        COOPER, OLIVIA
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COOPER, PATRICIA       Case 22-11238-LSS
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COOPER, ROBERT                       COOPER, RON                           COOPER, RONNIE
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COOPER, ROSALIND                     COOPER, ROSIE                         COOPER, ROSS
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COOPER, ROXANNE                      COOPER, RUTH                          COOPER, RYAN
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COOPER, SAMANTHA                     COOPER, SAMANTHA                      COOPER, SANDRA
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COOPER, SANDY                        COOPER, SARAH                         COOPER, SARAH
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COOPER, SELINA                       COOPER, SHANTEL                       COOPER, SHAWN
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COOPER, SHELBY                       COOPER, SHELBY                        COOPER, SHERIDAN
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COOPER, STEFANIE                     COOPER, SUSAN L                       COOPER, TAHIRA
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COOPER, TAMMY                        COOPER, TERESA                        COOPER, TERRI
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COOPER, TRANG                           COOPER, TRICIA                        COOPER, VALARIE
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COOPER, WAYLAND                         COOPERSMITH, TRACY                    COOPERSTROM, ERIC
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COORDS, MICHAEL                         COOTS, LESLIE                         COOTS, RACHEL
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COPA FINA                               COPE, ANGELA                          COPE, BEN
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COPE, GENTRY                            COPE, GEORGIANA                       COPE, MELISSA
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COPE, MICHAEL                           COPE, NATALIE                         COPE, PAYTON
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COPE, SANDRA                            COPECK, ALLY                          COPELAND, ASHLEY
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COPELAND, CANDACE                       COPELAND, CINDY                       COPELAND, DANIELLE
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COPELAND, DAWN                          COPELAND, DEXTER                      COPELAND, JANINE
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COPELAND, KAITLIN      Case 22-11238-LSS    Doc
                                     COPELAND,   2 Filed 11/30/22
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COPELAND, KIMBERLY                   COPELAND, KRISSY                      COPELAND, LIBBY
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COPELAND, LINDSAY                    COPELAND, LIZ                         COPELAND, MACKENZIE
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COPELAND, MARY                       COPELAND, MEAGHAN                     COPELAND, RACHEL
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COPELAND, SAMANTHA                   COPELAND, SHERRE                      COPELAND, SYDNEY
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COPELAND, TIM                        COPELLA, ABIGAIL                      COPEMAN, DARWIN
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COPEMAN, JESSICA                     COPEN, GABRIELLE                      COPENHAVER, JACQUELYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COPENHAVER, JOHN                     COPENHAVER, MORGAN                    COPER, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COPE-RANDALL, KELLY                  COPI, ERIN                            COPILEVITZ & CANTER P.C
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        310 W. 20TH STREET, SUITE 300
                                                                           KANSAS CITY, MO 64108




COPILEVITZ, CHLOE                    COPING, VERONICA                      COPIOUS MANAGEMENT, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8127 MELROSE AVE., STE 4
                                                                           LOS ANGELES, CA 90046
COPLAN, JOSEPH         Case 22-11238-LSS
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COPLEY, EMILY                        COPLEY, LORYN                            COPLEY, SINEAD
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COPLEY, WHITNEY                      COPOULOS, ZACHARIAH                      COPOULOS, ZOE
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COPP, COURTNEY                       COPP, JODY                               COPP, MELISSA
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COPPA, JACQUELINE                    COPPA, LINNET                            COPPEDGE, KARI
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COPPEL, ABBY                         COPPELIA BAKERY                          COPPELMAN, ALISON
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COPPENS, CAROLE                      COPPER, MEGAN                            COPPERI, PAM
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COPPERMAN, ELIZABETH                 COPPERSMITH, ROBERT                      COPPERSTONE, ALEXA
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COPPERT, KIMBERLY                    COPPES, EMMA                             COPPINGER, DOREEN
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COPPINGER, LAUREN                    COPPINGER, WALLY                         COPPLE, LAUREN
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COPPLE, NORA           Case 22-11238-LSS   Doc
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                                                                            994 of 5495
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COPPOLA, ANNA                        COPPOLA, CHRISTINE                    COPPOLINO, ELIZABETH
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COPUS, TIFFANY                       COQUERAN, KIMBERLY                    CORA APPLE
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CORA, ELAINE                         CORACI, VALENTINA                     CORADO, ZONIA
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CORALEA, WENNBERG,                   CORALLO, CHRIS                        CORAM, FRANCES
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CORAM, FRANCY                        CORAM, KATELYN                        CORATEKIN, DEDIANE
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CORAZZINI, KAREN                     CORAZZINI, KIMBERLY                   CORBA, DEBBIE
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CORBAN ROURKE, KIMBERLY              CORBEAN, SYDNEY                       CORBEIL, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORBETT VINEYARDS                    CORBETT, ANDREW                       CORBETT, BRENDON
(DBA CENTER OF EFFORT WINES)         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
2195 CORBETT CANYON ROAD
ARROYO GRANDE, CA 93420




CORBETT, CASEY                       CORBETT, CHERYL                       CORBETT, DEVONDIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CORBETT, EMILY         Case 22-11238-LSS   Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORBETT, JASON                       CORBETT, JEREMY                       CORBETT, JONATHAN K
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CORBETT, JUSTIN                      CORBETT, KAREN                        CORBETT, KYLE
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CORBETT, LATISHA                     CORBETT, LETITIA                      CORBETT, MADELYN
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CORBETT, MARGARET                    CORBETTA, LINDSEY                     CORBETTE, LINDA
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CORBI, KRISTEN                       CORBI, LAURIE                         CORBIE, CELINE
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CORBIN LYNN MILLER                   CORBIN, BLAKELY                       CORBIN, BRUCE
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CORBIN, ERIN                         CORBIN, JAMIE                         CORBIN, JARUSHA
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CORBIN, KATHY                        CORBIN, LOGAN                         CORBIN, LORI
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CORBIN, MALLORY                      CORBIN, MINDY                         CORBIN, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CORBIN, SUSAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CORBIN, TANIKA                   Page CORBIN,
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORBITT, DELANEY                     CORBITT, MADISON                      CORBO, STACEY
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CORBRAN, JACLYN                      CORBUS, LESLIE                        CORCETTI, ASHLEY
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CORCHIN, JESSICA                     CORCHO, RICARDO                       CORCIONE, NIKKI
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CORCIONE, RACHEL                     CORCORAN, BRIAN                       CORCORAN, CHRISTINA
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CORCORAN, DAVID                      CORCORAN, ELENA                       CORCORAN, ELIZABETH
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CORCORAN, ERIC                       CORCORAN, ERIN                        CORCORAN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORCORAN, HAILEY                     CORCORAN, JACK                        CORCORAN, JENNY
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CORCORAN, JOAN                       CORCORAN, JULIA                       CORCORAN, KRISTEN
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CORCORAN, LAURA                      CORCORAN, LINDA                       CORCORAN, LYDIA
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CORCORAN, MEGHAN       Case 22-11238-LSS   DocMELISSA
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                                                                            997 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORCORAN, NICOLE                     CORCORAN, RYAN                        CORCORAN, SHANNON
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CORCORAN, SUSAN                      CORD, DAVID                           CORDA, ALISSA
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CORDARO, KIMBERLY                    CORDEIRO, VICTORIA                    CORDELL, AUTUMN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORDELL, BROOKE                      CORDELL, DIANNE                       CORDELL, JACQUELINE
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CORDELL, LAUREN                      CORDELL, RACHEL                       CORDER, CHRISTOPHER
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CORDER, LACO                         CORDERO, ALISHA                       CORDERO, ARRIELLE
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CORDERO, ASHLEY                      CORDERO, CHARLENE                     CORDERO, JAMES
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CORDERO, JORGE                       CORDERO, MELISSA                      CORDERO, NATALIE
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CORDERO, NORMA                       CORDERO, SMIK                         CORDERO, YANICSA
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CORDES, EMMA           Case 22-11238-LSS
                                     CORDES,Doc  2 Filed 11/30/22
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CORDES, TRACY                        CORDIC, CLAUDIA                       CORDIELLO-NIEVES, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORDIER                              CORDIER, MARY                         CORDILEONE, CHRISTY
1 RUE DE LA SEIGLIERE                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BORDEAUX CODEX CS91958-33088
FRANCE




CORDILEONE, LESLEY                   CORDILLO, SAVANNAH                    CORDINGLEY, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORDLE, JAMES                        CORDOBA, NEDELKA                      CORDON, BILLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORDOVA & ASSOCIATES                 CORDOVA, CHRISTY                      CORDOVA, DAISY
5 ROBINSONG                          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
IRVINE, CA 92614




CORDOVA, DANIEL                      CORDOVA, DAWN                         CORDOVA, ELISABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORDOVA, GABRIELA                    CORDOVA, HALEY                        CORDOVA, MICHAEL
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CORDOVA, MICHELLE                    CORDOVA, RODNEY                       CORDOVANO, ANGELA
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CORDREY, LAUREN                      CORDRY, MEG                           COREIL, JEFFREY
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                                     CORELLA,Doc 2 Filed 11/30/22
                                              AMANDA                     Page CORELLA,
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CORELLA, MARCO                       CORELLI, SALLY                           COREY D FISHER
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COREY NOELLE MOIST                   COREY SOLMAN                             COREY STEVEN BREGMAN
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COREY, ALEX                          COREY, DIANA                             COREY, EMILY
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COREY, GEOFFREY                      COREY, LACI                              COREY, LARA
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CORGHI, MARIANELLA                   CORI AUZA                                CORICA, TIM
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CORIGLIANO, ALISSA                   CORIGLIANO, COSMO                        CORIGLIANO, PAUL
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CORIN, L                             CORINE, LYDIA                            CORINI, HAYLEY
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CORINNE DAUTEUIL                     CORISSA MILLER                           CORK SUPPLY USA, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           531 STONE ROAD
                                                                              BENICIA, CA 94510




CORK, CAROLINE                       CORKCIRCLE                               CORKELL, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
CORKER, DONALD        Case 22-11238-LSS    Doc
                                     CORKERY,   2 Filed 11/30/22
                                              AUBREE                  Page 1000 of 5495
                                                                           CORKERY, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORKERY, EMILY                       CORKERY, JUDI                          CORKRAN, CHARLIE
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CORKUM, ANN                          CORKUM, LLOYD                          CORLE, BREANNA
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CORLEW, ANTHONY                      CORLEW, JENNIFER                       CORLEY, ANDREA
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CORLEY, BETH                         CORLEY, CAITLIN                        CORLEY, CASSANDRA
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CORLEY, CIARA                        CORLEY, DEBORAH                        CORLEY, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORLEY, JAMES                        CORLEY, KRISTOPHER                     CORLEY, NATHANIEL
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CORLEY, PATTI                        CORLEY, SAMANTHA                       CORLISS, SHAUNA
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CORLL, ELIZABETH                     CORMACK, DANIELLE                      CORMICAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORMICAN, JESSICA                    CORMIER, AIMEE                         CORMIER, AMANDA
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CORMIER, AMBER        Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORMIER, JEFFREY                     CORMIER, ROBIN                         CORMIER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORN, CLAYTON                        CORN, KIP                              CORN, SIDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORNACCHIA, JULIA                    CORNACCHIA, JULIA                      CORNEJO, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORNELIS JACOBUS MARIA SCHILDER      CORNELISON, CHARLES                    CORNELIUS, BILLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORNELIUS, CARRY                     CORNELIUS, MEGAN                       CORNELIUS, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORNELIUS, RACHEL                    CORNELIUS, ROBERT                      CORNELIUS, TARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORNELL, CHRISTINA                   CORNELL, DANIELL                       CORNELL, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORNELL, DEVON                       CORNELL, EVAN                          CORNELL, IAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORNELL, JEAN                        CORNELL, KELLY                         CORNELL, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
CORNELL, SHELBEY      Case 22-11238-LSS    Doc
                                     CORNELL,    2 Filed 11/30/22
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                                                                           CORNELL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORNELL, TIFFANY                     CORNELL-DEMOSS, JANIS                 CORNER HOUSE COFFEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




CORNER, ZOE                          CORNETT, APRIL                        CORNETT, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORNETT, KATY                        CORNETTE, STEPHANIE                   CORNISH, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORNISH, ASHLEY                      CORNISH, ELISSA                       CORNISH, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORNISH, LAURA                       CORNISH, REBEKAH                      CORNISH, SABRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORNISH, TKAYHLIA                    CORNN, MORGAN                         CORNS, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORNWELL, ALANNA                     CORNWELL, ASHLEE                      CORNWELL, BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORNWELL, CHERYL                     CORNWELL, JAIME                       CORNWELL, JODIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORNWELL, MADISON                    CORNWELL, REBECCA                     CORNWELL, SOPHIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CORONA BEACH GRILL    Case 22-11238-LSS     Doc
                                      CORONA,    2 Filed 11/30/22
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                                                                            CORONA, 5495
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORONA, CINDY                         CORONA, CRYSTAL                       CORONA, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORONA, GERALEE                       CORONA, JENNA                         CORONA, JOHANA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORONA, LAURA                         CORONA, MADISON                       CORONA, NATALIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORONA, SARAH                         CORONA, VINCE                         CORONADO, ALICIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORONADO, DIAMOND                     CORONADO, FRANCES                     CORONADO, IAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORONADO, MARCELINO                   CORONADO, MARCUS                      CORONADO, MARIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORONADO, MEGAN                       CORONEL, BRITTNEY                     CORONEL-KHAN, ANGELA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORONEOS, SHELBY                      CORP, PATRICIA                        CORPORATE SERVICE COMPANY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        PO BOX 13397
                                                                            PHILADELPHIA, PA 19101-3397




CORPORATION SERVICE COMPANY           CORPORATION SERVICE COMPANY           CORPORATION SERVICE COMPANY
251 LITTLE FALLS DR                   2711 CENTERVILLE ROAD                 AS REPRESENTATIVE
WILMINGTON, DE 19808                  WILMINGTON, DE 19808                  PO BOX 2576
                                                                            SPRINGFIELD, IL 62708
CORPUS, ALYSSA        Case 22-11238-LSS    Doc
                                     CORPUS,     2 Filed 11/30/22
                                             TATIANA                  Page 1004  of 5495
                                                                           CORR, ALLISON
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CORR, ALLISON                        CORR, ANNA                            CORR, MELANIE
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CORR, MICHAEL                        CORR, MITCHELL                        CORRA, SARAH
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CORRADI, FRANK                       CORRADO COUSSENS, CHELSEA             CORRADO, ANGELA
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CORRADO, ASHLEE                      CORRADO, JOHN                         CORRADO, JULIANA
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CORRADO, MARY                        CORRADO, ROBERT                       CORRAL, AZAHLIA
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CORRAL, LISSETH                      CORRAL, STEPHANIE                     CORRALEJO, JAZMYNE
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CORRALES, JAVIER                     CORRALES, KATHERINE                   CORRALES, LISSET
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CORRALES, MAITE                      CORRAO, PHIL                          CORREA, ALLIE
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CORREA, CARMEN                       CORREA, CAROLINE                      CORREA, CHRISTINE
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CORREA, CRISTINA      Case 22-11238-LSS    Doc
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                                                                           CORREA, 5495& ROB
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CORREA, JUAN                         CORREA, KRISTIN                       CORREA, KRISTYN
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CORREA, LILIA                        CORREA, MAGGIE                        CORREA, RENALDO
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CORREA, SARA                         CORREA, YESENIA                       CORREA, YOLANDA
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CORREDATO, JULIE                     CORREDOR, AMANDA                      CORREIA, AMANDA
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CORREIA, ANTONIO                     CORREIA, DAVID                        CORREIA, FERNANDO
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CORREIA, JOHN                        CORREIA, LEANDRO                      CORREIA, LORI
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CORREIA, NICOLE                      CORREIA, PHIL                         CORREIA, RITA
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CORREIA, ROBERT AND ELISA            CORREIA, SHAVONNE                     CORREIA-STAUDT, KAYLA
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CORRELL, LAUREN                      CORRELL, STEPHANIE                    CORREN, MONIQUE
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CORRENTI, MICHELLE    Case 22-11238-LSS    Doc
                                     CORRERA,    2 Filed 11/30/22
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                                                                           CORRICK, 5495
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CORRIDON, BRIDGET                    CORRIDON, LISA                        CORRIDONI, KATIE
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CORRIE, HANNA                        CORRIGAN, BRITTANY                    CORRIGAN, CAITLIN
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CORRIGAN, CAITLYNN                   CORRIGAN, CAROLYN                     CORRIGAN, ELISSE
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CORRIGAN, FRANK                      CORRIGAN, JESSICA                     CORRIGAN, JOHN
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CORRIGAN, KALEY                      CORRIGAN, LINDSEY                     CORRIGAN, LYNNE
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CORRIGAN, SHEERA                     CORRIHER, KAILYN                      CORRIN ONGSTAD
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CORRINA MARTINEZ                     CORRIS, BETSY                         CORRIVEAU, BEATRICE
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CORRON, LAURIE                       CORRON, SAMANTHA                      CORROW, ALEXA
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CORRY, DIANA                         CORRY, HELEN                          CORRY, HUEY
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CORSA, AUDREY         Case 22-11238-LSS    DocGINA
                                     CORSANICO, 2 Filed 11/30/22      Page 1007 of 5495
                                                                           CORSARO, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORSARO, LINDSEY                     CORSE CAMPION, KERRY                   CORSELLO, HEATHER
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CORSO, ANNE                          CORSO, ANTHONY                         CORSO, CODEY
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CORSO, DANA                          CORSO, NATALIE                         CORSO, SABAH
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CORSO, TINA                          CORSON, ALEXANDRIA                     CORSON, CARRIE
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CORSON, MARY-CATHERINE               CORSON, SUZANNE                        CORSONES, EMILY
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CORTES, ALEJANDRA                    CORTES, DANNY                          CORTES, FRANCISCO
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CORTES, JESSICA                      CORTES, LAURA                          CORTES, LOURDES
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CORTES, LUISA                        CORTES, MIGUEL                         CORTES, TATIANA
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CORTES, WILLIAM                      CORTESE, A                             CORTESE, BARBARA
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CORTESE, ELIZABETH    Case 22-11238-LSS    Doc
                                     CORTESE,    2 Filed 11/30/22
                                              JOHN                    Page 1008 of 5495
                                                                           CORTESE, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CORTES-FREEMAN, KAMERON              CORTEZ, ADAM                          CORTEZ, AMBER
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CORTEZ, ANSON                        CORTEZ, CASSIE                        CORTEZ, DAMIAN
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CORTEZ, DEBRA                        CORTEZ, EMANUEL                       CORTEZ, HARLEY
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CORTEZ, ISABEL                       CORTEZ, JOSIE                         CORTEZ, MAGAN
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CORTEZ, MELANIE                      CORTEZ, MELISSA                       CORTEZ, NATASHA-QUINN
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CORTEZ, TAYLOR                       CORTEZ, THELMA                        CORTI, JOHN
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CORTIJO, CHASTITY                    CORTINA, DEBRA                        CORTINA, GERI
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CORTINAS, ABIGAIL                    CORTINAS, YANELIS                     CORTIZO, KATE
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CORTOPASSI, LIZZY                    CORTOR, DANIELLE                      CORTRIGHT, ERIC
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CORUN, JAMIE          Case 22-11238-LSS    DocCOURTENEY
                                     CORVALAN,  2 Filed 11/30/22      Page 1009 of 5495
                                                                           CORVASCE, APRIL
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CORVELLO, KATIE                      CORWIN J KELTNER                       CORWIN, LEIGH-ANNE
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CORWIN, VIVIAN                       CORY ALAN WALKER                       CORY ARTHUR OWENS
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CORY HUGHES                          CORY J ANDERSON                        CORY LIEBMANN
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CORY VAN LOOZEN                      CORY, CANDACE                          CORY, IAN
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CORY, LINDSAY                        CORY, LINDSAY                          CORY, LISA
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CORYELL, CALE                        CORZINE, ASHLEY                        CORZINE, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CORZINE, LACEY                       COSBY, BERNADETTE                      COSBY, COLEMAN
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COSBY, JONATHAN                      COSBY, STEVE                           COSCARELLI, BOB
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COSCIA, KAREN                        COSENTINI, MICHELE                     COSENTINO, DEBORAH
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COSENTINO, LEAH       Case 22-11238-LSS    DocMARK
                                     COSENTINO, 2 Filed 11/30/22      Page 1010 of 5495
                                                                           COSENTINO, MARY
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COSETTE POSKO                        COSFORD, DENISE                       COSGEL, METIN
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COSGROVE, BRITTANIE                  COSGROVE, ERICA                       COSGROVE, GRIFFIN
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COSGROVE, LAUREN                     COSGROVE, LEE                         COSGROVE, MILLY
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COSGROVE, SUSAN                      COSHEYEV, NIKOLAY                     COSIC, SANELLA
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COSIMANO, CHRISTOPHER                COSIMO, MICHAEL                       COSIO, LEONARDO
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COSMANO, JENNIFER                    COSMAS, CHRISTEN                      COSMAS, KIM
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COSME, ASHLEY                        COSME, JESSICA                        COSME, ORLANDO
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COSMIDES, CANDICE                    COSS, ABEL                            COSS, ASHLEY
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COSS, CLIFF                          COSS, MARISSA                         COSSER, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COSSLETT, ELIZABETH   Case 22-11238-LSS     DocWORLD
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING




COSTA, ALAINA                          COSTA, ANALISA                         COSTA, ANDRESSA
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COSTA, ANISA                           COSTA, ANNIE                           COSTA, CARLA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COSTA, CLARK                           COSTA, CRISTINA                        COSTA, DIANNE
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COSTA, DOMINIQUE                       COSTA, DONNA                           COSTA, ELIANA
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COSTA, ESTHER                          COSTA, ESTHER                          COSTA, EVE
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COSTA, GINA                            COSTA, GLENNA                          COSTA, INGRID
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COSTA, JANET                           COSTA, KASEY                           COSTA, LOUIS
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COSTA, MEREDITH                        COSTA, MICHAEL                         COSTA, MICHELLE
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COSTA, MICHELLE                        COSTA, MYRA                            COSTA, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
COSTA, NICOLE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     COSTA, ROBERT                      Page 1012
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COSTABILE, BLAKE                     COSTABILE, DAVID                        COSTAIN, EMILY-JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COSTALES, TATIANA                    COSTANTINI, RENEE                       COSTANTINI, VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COSTANTINO, ERMINIA                  COSTANTINO, STEVEN                      COSTANZA, CHARLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COSTANZA, ERICA                      COSTANZA, JENNIFER                      COSTANZO, ELAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COSTANZO, JENNIFER                   COSTANZO, TINA                          COSTARIDES, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COSTAS, LETICIA                      COSTCO                                  COSTEIRA, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




COSTELLA, LAUREN                     COSTELLE, ALEX                          COSTELLO AND SONS INSURANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          BROKERS, INC.
                                                                             1752 LINCOLN AVENUE
                                                                             SAN RAFAEL, CA 94903




COSTELLO, ALYSON                     COSTELLO, AMY                           COSTELLO, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COSTELLO, ANNA                       COSTELLO, ANNA                          COSTELLO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
COSTELLO, BILL        Case 22-11238-LSS    Doc
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                                                                           COSTELLO, CAITLIN
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COSTELLO, CHRISTINA                  COSTELLO, COLTON                       COSTELLO, DAVID G
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COSTELLO, DELANEY                    COSTELLO, FRANCESCA                    COSTELLO, JAMES
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COSTELLO, JENNY                      COSTELLO, JESSICA                      COSTELLO, JESSICA
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COSTELLO, JOHN                       COSTELLO, JORDAN                       COSTELLO, JULIE
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COSTELLO, KAITLYN                    COSTELLO, KELLY                        COSTELLO, KRIS
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COSTELLO, KRISTEN                    COSTELLO, KRISTEN                      COSTELLO, KRISTINA
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COSTELLO, LAUREN                     COSTELLO, LINDSEY                      COSTELLO, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COSTELLO, MENDE                      COSTELLO, MICHELLE                     COSTELLO, TARA
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COSTELLO, TERESA                     COSTEN, CRYSTAL                        COSTER, ELEISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
COSTES, MAX           Case 22-11238-LSS    Doc 2TARAFiled 11/30/22
                                     COSTIGLIOLA,                     Page 1014  of 5495
                                                                           COSTILOW, ATHENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COSTILOW, RITA                       COSTIN, CASEY                         COSTLEY, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COSTNER, ALYSON                      COSTON, KARRI                         COSTOS, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTA, ANNALIA                        COTA, BETH                            COTA, CATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTA, CLARISSA                       COTA, GRACE                           COTA, JANET
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COTA, LEEANNA                        COTA, MADISON                         COTA, RICHARD
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COTA, ROSANA                         COTA, VANESSA                         COTE, ALEXANDRA
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COTE, ALICIA                         COTE, ALYSSA                          COTE, ANDREA
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COTE, ANGELA                         COTE, ELYSE                           COTE, GABRIELLE
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COTE, JARROD                         COTE, MOLLY                           COTE, TARA
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COTES, ADRIANA        Case 22-11238-LSS    Doc
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                                                                               COTHIERE, NADEGE
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COTHREN, EMMA                        COTLEUR, JORDAN                           COTNOIR, AUDREY
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COTNOIR, CHELSEA                     COTNOIR, DANIELLE                         COTO, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




COTO-CHANG, OSWALDO                  COTON COLORS EXPRESS, LLC. (COTON-        COTRONE, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       COLORS)                                   ADDRESS AVAILABLE UPON REQUEST
                                     2718 CENTERVILLE ROAD
                                     TALLAHASSEE, FL 32308




COTRONE, MIKE                        COTRONE, MIKE                             COTRONE, NICHOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




COTRONEO, MATTHEW                    COTRUPI, CATHERINE                        COTTELL, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




COTTEN, CAROLINE                     COTTEN, DAN                               COTTER, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




COTTER, CHRISTINE                    COTTER, DIANE                             COTTER, JENNIFER
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COTTER, MARY                         COTTER, MATTHEW                           COTTER, PETE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




COTTER, STEPHANIE                    COTTER-BARON, KATHY                       COTTERMAN, DIONNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
COTTERMAN, SHANNON    Case 22-11238-LSS    Doc 2ESTELLE
                                     COTTINGHAM,     Filed 11/30/22   Page 1016  of 5495
                                                                           COTTINGHAM, JASMYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTTLE, KELLY                        COTTLE, SARAH                         COTTLES, CHRISTIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTTMAN, INAYAH                      COTTO, ALEX                           COTTO, DANNIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTTO, MAKITA                        COTTO, NIKKI                          COTTO, VENUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTTON, ALEC                         COTTON, AMBER                         COTTON, BRITNEY
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COTTON, CARRIE                       COTTON, JONI                          COTTON, KADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTTON, KARLI                        COTTON, KENDRA                        COTTON, MATTHEW
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COTTON, TAYLOR                       COTTON, TERRI & JOHN                  COTTON, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTTONARO, SARAH                     COTTRELL, BARBARA                     COTTRELL, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COTTRELL, JARED                      COTTRELL, KATHY                       COTTRELL, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COTTRELL, MIAH        Case 22-11238-LSS    Doc
                                     COTTRELL,   2 Filed 11/30/22
                                               MIKHAYLA               Page 1017 of 5495
                                                                           COTTRELL, MINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COTTRELL, SUMMER                     COTTRILL, ALISCHER                     COTTRILL, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COTTY, CHRISTIE                      COTTY, KENZIE                          COTUGNO, GIANA
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COTUMACCIO, SAMARA                   COUCH, CLAIRE                          COUCH, DANELLE
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COUCH, KATELYN                       COUCH, KIKI                            COUCH, KRISTIN
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COUCH, MARIA                         COUCH, NATALIE                         COUCHE, REBECCA
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COUCOUROUX, CLAIRE                   COUDRIER, CHRISTINE                    COUEY, LAURA AND ALEX
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COUGHLAN, BRENDAN                    COUGHLAN, JILL                         COUGHLAN, JOE
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COUGHLIN, BRIANNA                    COUGHLIN, CHERYL                       COUGHLIN, HAILEY
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COUGHLIN, JOANNE                     COUGHLIN, LAWRENCE                     COUGHLIN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
COUGHLIN, NANCY       Case 22-11238-LSS    Doc
                                     COUGHLIN,   2 Filed 11/30/22
                                               PATRICK                Page 1018 of 5495
                                                                           COUGHLIN, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COUGHLIN, SARAH                      COUGHLIN, SARAH                        COUGHLIN, STEVE
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COUGHLIN, TIA                        COUGHLIN, TIM                          COUGHLIN, WILLIAM
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COUGLE, COLLEEN                      COULARD, ALEXANDER                     COULAS, AUBREY
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COULBOURN, COREY                     COULES, KATE                           COULEUR, NANCY
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COULL, KATEY                         COULOMBE, ALEXA                        COULSON, MONIQUE
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COULSON, PAULA                       COULTER, ABBY                          COULTER, ANDY
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COULTER, BETH                        COULTER, DAVID                         COULTER, JESSICA
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COULTER, JILLIAN                     COULTER, KAILEY                        COULTER, LISA
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COULTER, MARTIN                      COULTER, MEGAN                         COULTER, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
COULTER, VICTORIA     Case 22-11238-LSS    Doc 2 ROSEMARY
                                     COULTERCOOKE,   Filed 11/30/22        Page 1019 of 5495
                                                                                COULTHARD, ANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




COUMING, MARY                           COUNCE, PATTI                            COUNCELL, JOHN MARK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COUNCELLER, MARISSA                     COUNCIL, HARRISON                        COUNCIL, KYRIAKI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COUNCIL, PATRICIA                       COUNSELL, ASHLEY                         COUNSMAN, DEBORAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COUNTERPATH CORPORATION                 COUNTRY CLUB                             COUNTRY HAVEN INVESTMENTS LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    2206 COUNTRY HAVEN DR
                                                                                 EUGENE, OR 97408




COUNTRYMAN, CARRIE                      COUNTRYMAN, CLARITY                      COUNTRYMAN, RAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COUNTRYMAN, SHERRY                      COUNTRYMAN, TAYLOR                       COUNTS, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COUNTS, BRYAN                           COUNTS, EMILY                            COUNTS, WAYNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




COUNTY OF LA BEACHES                    COUNTY OF SAN LUIS OBISPO                COUPA CAFE
ADDRESS UNAVAILABLE AT TIME OF FILING   KIRK CONSULTING                          ADDRESS UNAVAILABLE AT TIME OF FILING
                                        8830 MORRO ROAD
                                        ATASCADERO, CA 93422




COUPET, NICOLE                          COURDUFF, JEANIMARIE                     COUREMBIS, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
COURIDES, CHLOE       Case 22-11238-LSS
                                     COURIE,Doc
                                            MARY2    Filed 11/30/22     Page 1020  ofJACQUELYN
                                                                             COURIM,  5495
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COURINGTON, ERIN                     COURNOYER, BETH                         COURNOYER, DIANE
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COURNOYER, JACQUELINE                COURNOYER, KARA                         COURRIER, ALEXANDRA
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COURSER, SHARI                       COURSEY, ANSLEY                         COURSEY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




COURSEY, KELLY                       COURSEY, LYNDI                          COURSEY, TAYLOR
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COURSEY, TIM                         COURT OF MASTER SOMMELIE                COURT, MANDY
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COURTADE, TAYLOR                     COURTEMANCHE, TRACY                     COURTENAY HALL
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COURTENAY, NADIA                     COURTER, DAN                            COURTER, KENNETH
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COURTER, SARA                        COURTNEY B CANFIELD                     COURTNEY ELAM
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COURTNEY FREDERIKSEN                 COURTNEY FREDERIKSEN                    COURTNEY JACKSON
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COURTNEY JAMES        Case 22-11238-LSS    Doc
                                     COURTNEY   2 Filed 11/30/22
                                              KAWATA                     Page 1021 of 5495
                                                                              COURTNEY LICHTENBERGER
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COURTNEY MITCHELL                       COURTNEY P CHAPLIN                    COURTNEY PRESLEY
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COURTNEY SIMONETTI                      COURTNEY STEPHENSON MCFARLANE-        COURTNEY TAWADROUS
ADDRESS AVAILABLE UPON REQUEST          KENNEDY                               ADDRESS AVAILABLE UPON REQUEST
                                        ADDRESS AVAILABLE UPON REQUEST




COURTNEY WATTS                          COURTNEY, BRENDA                      COURTNEY, CATHY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COURTNEY, CHRISTINE                     COURTNEY, COURTNEY                    COURTNEY, JOSHUA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COURTNEY, KATHRYN                       COURTNEY, LAUREN                      COURTNEY, MARGARET
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COURTNEY, MARLENE                       COURTNEY, MRS                         COURTNEY, SUSIE
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COURTNEY-RAE SIMMONDS                   COURTRIGHT, LAURA                     COURTS, ADRIANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COURTYARD                               COURY, JESS                           COUSART, TABITHA
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COUSIN, KELLY                           COUSIN, MICHAEL                       COUSINEAU, LINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COUSINO, EMILY        Case 22-11238-LSS    Doc
                                     COUSINS,     2 Filed 11/30/22
                                              ALLISON                 Page 1022  of BUCARO
                                                                           COUSINS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COUSINS-ALANIS, SAVANNAH             COUSMINER, DIANA                      COUSO, BRIANNA
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COUTIN, NICOLE                       COUTLEE, RYAN                         COUTO, AGUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COUTO, NICOLE                        COUTOIS, JUNIOR                       COUTTS, BAILEY
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COUTTS, MADILYN                      COUTTS, NATHAN                        COUTURE, ALEXIA
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COUTURE, ANNE                        COUTURE, BRITTANY                     COUTURE, HAUTE
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COUTURE, JANELLE                     COUTURE, MARY                         COUTURE, PEGGY
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COUTURE, SARA                        COUTURE, TAWNYA                       COUTURE-MONSALVE, REBECCA
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COUTURER, ALAN                       COUTURIER, AMANDA                     COUTURIER, GREG
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COUVILLION, ALLISON                  COVAIS, ANTHONY                       COVALESKI, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COVALL, HARRISON      Case 22-11238-LSS    Doc 2GERARDO
                                     COVARRUBIAS,    Filed 11/30/22   Page 1023 of 5495
                                                                           COVARRUBIAS, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COVARRUBIAS, JOSE                    COVEL, KELLY                           COVELL, NATASHA
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COVELL, STEPHANIE                    COVEN, RACHEL                          COVENTRY, ELYSIA
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COVERDALE, KEIRA                     COVERT, ASHLEY                         COVERT, LISA
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COVERT, WILLIAM                      COVEY, BONNIE                          COVEY, ERIN
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COVEY, JEFFREY                       COVEY, JOHN                            COVEY, OLIVIA
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COVEY, SARA                          COVEY, TERESA                          COVI, JESSICA
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COVI, MARIO                          COVIELLO, LYNDA                        COVIELLO, SABRINA
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COVILLE, KELL                        COVINGTON, APRIL                       COVINGTON, AUDREY
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COVINGTON, BEN                       COVINGTON, CAITLIN                     COVINGTON, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
COVINGTON, KENDALL    Case 22-11238-LSS    DocMARK
                                     COVINGTON, 2 Filed 11/30/22      Page 1024  of 5495
                                                                           COVINGTON, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COVINGTON, SCOTT                     COVITZ, FRED                          COVO, SABINA
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COWAN, ANTONIA                       COWAN, BRITTANY                       COWAN, DARBY
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COWAN, EMILY                         COWAN, ERIC                           COWAN, ERIN
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COWAN, HAILEY                        COWAN, JAMES                          COWAN, JD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COWAN, KYNDAL                        COWAN, LAUREN                         COWAN, MELISSA
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COWAN, ROBERTA                       COWAN, SARAH                          COWANS, JUDY
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COWAN-WIDEMAN, JAMILA                COWARD, ELIZABETH                     COWARD, JACINTHA
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COWARD, STUART                       COWART, CHRISTIAN                     COWART, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COWDEN, AVERY                        COWDEN, CAMERON                       COWDEN, VALARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COWDREY, RYAN         Case 22-11238-LSS    Doc
                                     COWDREY,   2 Filed 11/30/22
                                              STEPHANIE               Page 1025 ofANDREW
                                                                           COWELL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COWELL, JOHN                         COWELL, RACHEL                        COWEN, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COWEN, CLINT                         COWEN, DARIN                          COWEN, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COWEN, SAMANTHA                      COWEN, VERONICA                       COWGER, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COWGER, LORRAINE                     COWGILL, AMY                          COWGILL, JAIME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COWGILL, RAINA                       COWHER, KELSEY                        COWHER, VERONICA
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COWIE, JENNA                         COWIE, KENDALL                        COWLES, AMANDA
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COWLES, CAROLINE                     COWLEY, KLAREEN                       COWLEY, MADDISON
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COWLING, JESSICA                     COWN, SYLVAN                          COWPER, ANNE
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COWPER, MARISSA                      COWPER, MIA                           COWSERT, BARB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COX VINEYARDS        Case 22-11238-LSS     Doc 2
                                    COX, ALEXIS    Filed 11/30/22    Page 1026   of 5495
                                                                          COX, ALLISON
PO BOX 1389                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
UKIAH, CA 95482




COX, AMANDA                         COX, AMY                              COX, ANDRE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COX, ANDREW                         COX, ASHLEY                           COX, ASHLEY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COX, AYDEN                          COX, BRENDAN                          COX, BRIAN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COX, BRIANNA                        COX, BRIANNAH                         COX, BROOKE
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COX, CECILIA                        COX, CHANEY                           COX, CHARLES
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COX, CHERYL                         COX, CHRISTINE                        COX, CLYNTON
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COX, COLEMAN                        COX, COLIN                            COX, CONNIE
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COX, COURTNEY                       COX, CRAIG                            COX, CRYSTAL
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COX, CYNDI                          COX, DAKOTA                           COX, DANA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COX, DAVID            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     COX, DAVID                       Page 1027  of 5495
                                                                           COX, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COX, DEBRA                           COX, DENA                             COX, DENISE
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COX, DENISE                          COX, EILEEN                           COX, ELISABETH
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COX, ELIZABETH                       COX, ELIZABETH                        COX, ERICA
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COX, ERIN                            COX, ERRICK                           COX, EVAN
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COX, FRANCES                         COX, HANNAH                           COX, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COX, HELAN                           COX, JAMIE                            COX, JANIE
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COX, JESSICA                         COX, JESSICA                          COX, JESSICA
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COX, JOHN                            COX, JOHN                             COX, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COX, KAITLYN                         COX, KATIE                            COX, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COX, KRISTIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     COX, KRISTIN                     Page 1028  of 5495
                                                                           COX, KRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




COX, KYLE                            COX, LAUREN                            COX, LAUREN
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COX, LAUREN                          COX, LAUREN                            COX, LEAH
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COX, LEANNE                          COX, LEIGH                             COX, LINDA
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COX, LISA                            COX, LISETTE                           COX, LORELIE
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COX, LYDIA                           COX, MADISON & CJ                      COX, MALEAH
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COX, MARIE                           COX, MEGAN                             COX, MEGAN
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COX, MEGHAN                          COX, MELISSA                           COX, MICHELLI
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COX, MINDY                           COX, MONA                              COX, MUSETTE
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COX, NANCY                           COX, NANCY                             COX, NELLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
COX, NICHOLAS         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     COX, NICOLE                      Page 1029   of 5495
                                                                           COX, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COX, PAMELA                          COX, ROBERT                           COX, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COX, SARAH                           COX, SARAH                            COX, TARA
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COX, TIMOTHY                         COX, TOM                              COX, VANDE
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COX-DORMAN, GENA                     COXE, SARAH                           COXEN, BRENDAN
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COX-STEINER, COLIN                   COY, APRIL                            COY, CANDICE
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COY, DEBORAH                         COY, JANELLE                          COY, RICH
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COY, SAMUEL                          COYLE, ALICIA                         COYLE, CHERYL
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COYLE, DANA                          COYLE, JACK                           COYLE, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




COYLE, LISA                          COYLE, LIZ                            COYLE, LORRAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COYLE, MEAGHAN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     COYLE, PATRICK                   Page 1030
                                                                           COYLE,of 5495
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COYLE, STEPHEN                       COYNE JR, EDWARD                      COYNE, ALISON
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COYNE, AMY                           COYNE, ANNA                           COYNE, JOHN
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COYNE, KERRY                         COYNE, MCKENNA                        COYNE, MEGAN
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COYNE, MELINDA                       COYNE, MICHAEL                        COYNE, MIKE
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COYNE, MOLLY                         COYNE, SAMANTHA                       COYNE, ZACHARY
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COYOTE LOGISTICS, LLC                COZAD, MARY                           COZART, CATHERINE
COYOTE PO BOX 742636                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ATLANTA, GA 30374-2636




COZART, MACKENZIE                    COZBY, BRADFORD                       COZENS, RACHEL
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COZIER, DEJALOMO                     COZIER, NIKITA                        COZINE, ELIZABETH
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COZZA, LAUREN                        COZZA, MARISSA                        COZZENS, AMANDA
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COZZENS, LAUREN       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     COZZI, BARBARA                     Page 1031   of 5495
                                                                             COZZI, EMILY
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COZZIE, MADELINE                     COZZO, ALEXANDRA                        COZZO, KAITLIN
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COZZOLINA, LINDA                     CPA, WOOD                               CPC RESOURCES LLC
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CPI SOLUTIONS                        CPR                                     CRABB, ALEXANDER
5999 RIDGEVIEW STREET UNIT A         ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
CAMARILLO, CA 93012




CRABBE, CHELSEY                      CRABBE, DEBORAH                         CRABBE, LISA
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CRABBS, COREY                        CRABLE, MELANIE                         CRABTREE, CRYSTAL
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CRABTREE, JOSH                       CRABTREE, KENZIE                        CRABTREE, LISA
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CRABTREE, RYAN                       CRABTREE, SARAH                         CRABTREE, SIENNA
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CRABTREE, THERESE                    CRACCHIOLA, PATRICIA                    CRACE, DANIELLE
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CRADDOCK, ANNA                       CRADDOCK, BERNADINE                     CRADDOCK, JOHN
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CRADDOCK, KYLE        Case 22-11238-LSS    DocTHERESA
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CRADY, NORA                             CRADY, SARA                           CRAFFEY, LAURA
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CRAFT A BEER                            CRAFT, ANDREW                         CRAFT, ANNIE
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CRAFT, BROOKE                           CRAFT, CHRIS                          CRAFT, JESSICA
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CRAFT, JOHN                             CRAFT, KILA                           CRAFT, LISA
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CRAFT, SHAUN                            CRAFT, STEPHEN                        CRAFT, SUSAN
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CRAFT, TASMAII                          CRAFTI, NILAY                         CRAFTON, AMBER
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CRAFTON, ERIN                           CRAFTON, SHARON                       CRAFTS, SARAH
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CRAGAN, CLARE                           CRAGER, ZITA                          CRAGGETT, CARA
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CRAGIN, MIKE                            CRAHAN, ASHLYN                        CRAIB-COX, SUSANNA
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CRAIG A GRONINGER     Case 22-11238-LSS
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                                                                           CRAIG BROADHEAD
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CRAIG CHATHAM                        CRAIG EASTMAN JOHNSON                 CRAIG GRETHER, CRAIG
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CRAIG HYLAND                         CRAIG KINSEY                          CRAIG LIPPINCOTT
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CRAIG MCBRIDE                        CRAIG MCLAUGHLIN                      CRAIG PALUMBO
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CRAIG ROBBINS PAINTING               CRAIG SCHLEICHER                      CRAIG SNYDER
22262 CRAGGYVIEW SY                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHATSWORTH, CA 91311




CRAIG THOMAS CHINDEMI                CRAIG WERNETTE                        CRAIG WILLOW
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CRAIG WRIGHT                         CRAIG, ASHLEY                         CRAIG, BEVERLY
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CRAIG, BRETT                         CRAIG, CAROLINE                       CRAIG, CHARLES
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CRAIG, CHARLES                       CRAIG, CINDI                          CRAIG, DANIELLE
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CRAIG, DEVAN                         CRAIG, GERALD                         CRAIG, HANNAH
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CRAIG, HANNAH         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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CRAIG, JENNIFER                      CRAIG, JERRY                          CRAIG, JILL
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CRAIG, JILLIAN                       CRAIG, JIM                            CRAIG, JOAN
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CRAIG, KELSEY                        CRAIG, KIM                            CRAIG, KOLLIN
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CRAIG, LAURA                         CRAIG, LAURA                          CRAIG, LEONA
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CRAIG, LINDA                         CRAIG, MEGAN                          CRAIG, MICHELLE
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CRAIG, MOLLY                         CRAIG, RHONDA                         CRAIG, SAMANTHA
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CRAIG, SANTANA                       CRAIG, SARAH                          CRAIG, SHERETHA
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CRAIG, TANYA                         CRAIG, TREVOR                         CRAIG, WILLIAM
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CRAIG, WILLIAM                       CRAIGER, AMY                          CRAIGER, CLAYTON
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CRAIGIE, KIRA         Case 22-11238-LSS    DocABBY
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CRAIGO, RACHEL                       CRAIGS PLUMBING                          CRAIGSLIST.COM
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CRAIL, ROBIN                         CRAIN, ASHLEY                            CRAIN, GARETH
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CRAIN, HEATHER                       CRAIN, JAYME                             CRAIN, MICHELLE
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CRAIN, NICOLE                        CRAIN, TERESITA                          CRAIN, VIVIAN
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CRALL, ERIN                          CRALL, NICHOLAS                          CRALL, RYAN
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CRAMER, AMY                          CRAMER, BEVERLY                          CRAMER, BROOKE
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CRAMER, DEB                          CRAMER, EMILY                            CRAMER, HOLLY
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CRAMER, MADISON                      CRAMER, MEGGIE                           CRAMER, REBECCA
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CRAMER, SARA          Case 22-11238-LSS    Doc
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CRAMMOND, MARTHA                        CRAMOY, JOSHUA                        CRAMPSIE, KATHLEEN
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CRANBERRY                               CRANBERRY, TEA                        CRANCE, DAVID
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CRANCER, JENNIFER                       CRANDALL, CAROL                       CRANDALL, CASSANDRA
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CRANDALL, CATHERINE                     CRANDALL, DAWN                        CRANDALL, KAYLA
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CRANDALL, LAUREN                        CRANDALL, LISA                        CRANDALL, WENDY
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CRANDELL, JESSICA                       CRANDON, STEPHANIE                    CRANE, ALLISON
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CRANE, CAROLINE                         CRANE, CLARA                          CRANE, COLIN
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CRANE, COLLEEN                          CRANE, CORRIE                         CRANE, CRYSTAL
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CRANE, DAVE                             CRANE, DIANE                          CRANE, DOUG
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CRANE, HEATHER        Case 22-11238-LSS
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CRANE, JULIE                         CRANE, NANCY                          CRANE, NATALIE
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CRANE, PAULA                         CRANE, RAVEN                          CRANE, SHELBIE
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CRANE, TARA                          CRANE, TARA                           CRANFIELD, LARONDA
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CRANFORD, CRYSTAL                    CRANFORD, JACKIE                      CRANFORD, JESSICA
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CRANFORD, LISA                       CRANKER, CLAIRE                       CRANKSHAW, GEOFFREY
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CRANMER, BRIGID                      CRANMER, KAYLA                        CRANMER, LESLIE
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CRANMORE, MARYJO                     CRANNY, ANNE                          CRANSTON, EMMA
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CRANTON, BILLY                       CRANTSHAW, DONNA                      CRANZANO, JOSEPH
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CRAPARO, ERIKA                       CRAPULLI, RENEE                       CRARY, ANDREA
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CRARY, BENJAMIN       Case 22-11238-LSS
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CRATE & BARREL- BWSC                    CRATE AND BARREL                        CRAVEN, ALAINA
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CRAVEN, CARLA                           CRAVEN, CAROLINE                        CRAVEN, CORISSA
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CRAVEN, JAMES                           CRAVEN, JENNIFER                        CRAVEN, JENNIFER
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CRAVEN, KRISTA                          CRAVEN, LOURDES                         CRAVEN, MICHAEL
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CRAVEN-RISEDORPH, BOBBI                 CRAVENS, MOLLY                          CRAVER, HEATHER
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CRAVER, LYNNE                           CRAVER, MADISON                         CRAVEY, LANE
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CRAVOTTA-PURVIS, KIMBERLY               CRAVOTTA-PURVIS, KIMBERLY               CRAW, ASHLEY
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CRAWFORD, ABBEY                         CRAWFORD, ABBY                          CRAWFORD, ALEXANDRA
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CRAWFORD, ALYSSA                        CRAWFORD, AMANDA                        CRAWFORD, AMY
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CRAWFORD, ANDREW      Case 22-11238-LSS    DocANGELA
                                     CRAWFORD,  2 Filed 11/30/22      Page 1039 of 5495
                                                                           CRAWFORD, APRIL
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CRAWFORD, ARLEXUS                    CRAWFORD, ASHLEY                      CRAWFORD, ASHLEY
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CRAWFORD, ASHLEY                     CRAWFORD, ASHLEY                      CRAWFORD, BRANDY
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CRAWFORD, BRIAN                      CRAWFORD, BUREN                       CRAWFORD, CHANDLER
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CRAWFORD, CHELSEA                    CRAWFORD, CHRIS                       CRAWFORD, CINDY
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CRAWFORD, CODY                       CRAWFORD, CORONDA                     CRAWFORD, COURTNEY
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CRAWFORD, DAVID                      CRAWFORD, EDIE                        CRAWFORD, ELIZABETH
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CRAWFORD, ELIZABETH                  CRAWFORD, EMMA                        CRAWFORD, ERICA
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CRAWFORD, ERIN                       CRAWFORD, GARY & LYNN                 CRAWFORD, GEORGE
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CRAWFORD, GEORGE                     CRAWFORD, GIDGET                      CRAWFORD, GRETHELL
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CRAWFORD, HELEN       Case 22-11238-LSS    DocHYOJUNG
                                     CRAWFORD,  2 Filed 11/30/22      Page 1040 of 5495
                                                                           CRAWFORD, IVANOVA
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CRAWFORD, JESSICA                    CRAWFORD, JESSICA                     CRAWFORD, JESSICA
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CRAWFORD, JOSEPH                     CRAWFORD, JULIE                       CRAWFORD, KAITLYN
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CRAWFORD, KATHY                      CRAWFORD, KATIE                       CRAWFORD, KEVIN
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CRAWFORD, KRISTIE                    CRAWFORD, LESLIE                      CRAWFORD, LINDSEY
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CRAWFORD, LINDSEY                    CRAWFORD, LIZ                         CRAWFORD, LORI
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CRAWFORD, LYNN                       CRAWFORD, MARK                        CRAWFORD, MATHEW
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CRAWFORD, MICHAEL                    CRAWFORD, MICHELLE                    CRAWFORD, MIKE
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CRAWFORD, MOLLY                      CRAWFORD, NICOLE                      CRAWFORD, OLIVIA
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CRAWFORD, PATRICIA                   CRAWFORD, RYAN                        CRAWFORD, RYNE
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CRAWFORD, SHIRLEY     Case 22-11238-LSS    DocSTEPHEN
                                     CRAWFORD,  2 Filed 11/30/22      Page 1041 of 5495
                                                                           CRAWFORD, STEVEN
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CRAWFORD, SUE                        CRAWFORD, TAWNYA                      CRAWFORD, VICTORIA
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CRAWFORD, YESHIKA                    CRAWFORD-SMITH, DELANIE               CRAWL, APRYL
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CRAWLEY, DANIEL                      CRAWLEY, GLENN                        CRAWLEY, KATIE
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CRAWLEY, RACHEL                      CRAWSHAW, ANNA                        CRAWSON, SYDNEY
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CRAY-DUBAZ, HAILEY                   CRAYLE, TIFFANY                       CRAZYEGG.COM
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CREAGAN, MARY                        CREAGER, CARL                         CREAGER, CINDY LOU
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CREAGER, JAMESON                     CREAGER, JODI                         CREAGH, DAVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CREAM WINE COMPANY, LLC.             CREAM WINE                            CREAMER, BRIANNA
2455 S. DAMEN AVE. SUITE 900         2455 S DAMEN AVE SUITE 900            ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60608                    CHICAGO, IL 60608




CREAMER, JAMIE                       CREAMER, KATHERINE                    CREAMER, NICHOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CREAN, ANDREW         Case 22-11238-LSS
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CREANEY, DORENE                         CREASER, CATHRYN                      CREASON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CREASY, JESSICA                         CREATE & CULTIVATE LLC                CREATE & CULTIVATE LLC
ADDRESS AVAILABLE UPON REQUEST          1201 N MAIN ST                        4164 EDENHURST AVE.
                                        LOS ANGELES, CA 90012                 LOS ANGELES, CA 90039




CREATED BY STORM LLC                    CREATEFLUENCE LLC                     CREATH, KAY
SARA R STORM-WILSON                     5151 COLLINS AVENUE UNIT 1420         ADDRESS AVAILABLE UPON REQUEST
10427 DURANGO PLACE                     MIAMI BEACH, FL 33140
LONGMONT, CO 80504




CREATINI, TESSA                         CREATIVE ARTISTS AGENCY, LLC          CREATIVE KINGS HOLDINGS LLC
ADDRESS AVAILABLE UPON REQUEST          2000 AVENUE OF THE STARS              65 4TH AVENUE APT 1
                                        LOS ANGELES, CA 90067                 BROOKLYN, NY 11217




CREATIVE MARKET                         CREAVIN, DAMIEN                       CRECCO, ANNE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRECCO, KELLY                           CRECELIUS, LYNN                       CREDENTIAL SECS INC (5083)
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ATTN DANIELLE MONTANARI OR PROXY MGR
                                                                              700 - 1111 W. GEORGIA ST
                                                                              VANCOUVER, BC V6E 4T6
                                                                              CANADA



CREDS, NICOLE                           CREE, ELIJAH                          CREE, LEXI
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CREE, RICHARD                           CREECH, AUBREY                        CREECH, BYRON
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CREECH, CORINE                          CREECH, JUSTIN                        CREECH, LONNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CREECH, LUKE          Case 22-11238-LSS
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CREED, KANDICE                       CREED, TANISHA                        CREEDON, RACHEL
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CREEDON, SAMANTHA                    CREEGAN, WILLIAM                      CREEGER, JADIE
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CREEL, AARON                         CREEL, CHRISTINA                      CREEL, JESSICA
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CREEL, LAUREN                        CREEL, ROBERT                         CREELMAN, JENNIFER
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CREENCIA, TARRAH                     CREER, KIARA                          CREESER, BRETT
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CREGAR, MARK                         CREGER, JIM                           CREGGER, MICHELLE
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CREIGHTON, AMBER                     CREIGHTON, COLIN                      CREIGHTON, GABRIELLA
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CREIGHTON, JULIE                     CREIGHTON, LAURIE                     CREIGHTON, MARGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CREIGHTON, MICHELLE                  CRELIN, EMILY                         CRELLIN, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CREMER, JODY          Case 22-11238-LSS    Doc
                                     CREMERS, JOE2   Filed 11/30/22   Page 1044 of 5495
                                                                           CREMERS, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CREMIN, BRIGID                       CRENSHAW, JAMES                       CRENSHAW, JENSEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRENSHAW, JORDAN                     CRENSHAW, JUDITH                      CRENSHAW, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRENSHAW, MARIA                      CRENSHAW, OCHA                        CREPES BONAPARTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




CREPEZZI, SARAH                      CREPS, SANDY                          CREQUE, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRESCENDO COMMUNICATIONS             CRESCENZI, ALEXANDRA                  CRESCENZO, KAITLYN
95 SOUTH 35TH STREET                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOUOLDER, CO 80305




CRESCITELLI, SOPHIA                  CRESPI, MARA                          CRESPINO, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRESPO, ADRIANA                      CRESPO, ANTONIO                       CRESPO, BRENDAMARIS
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CRESPO, CODY                         CRESPO, DOLLY                         CRESPO, ERIKA
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CRESPO, GIANNA                       CRESPO, JESSICA                       CRESPO, NADELYN
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CRESPY, SUSAN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CRESS, ANDREW                    Page 1045
                                                                           CRESS,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRESS, WHITNEY                       CRESSER, KRISTINE                     CRESSLER, APRIL
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CRESSY, ELENA                        CRESTA C ROBERTSON                    CRESTA, DEIRDRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRESTO, MAGGIE                       CRETE, JENNA                          CRETELLA, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CREUTZ, GWEN                         CREUTZ, LAUREN                        CREW WINE COMPANY LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 493
                                                                           ZAMORA, CA 95698




CREW, CORRIE                         CREW, EMILY                           CREW, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CREW, MELISSA                        CREWELL, KATHY                        CREWS OF CALIFORNIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




CREWS, AMY                           CREWS, DERRICK                        CREWS, DON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CREWS, DOUGLAS                       CREWS, LAQUISHA                       CREWSE, CANDACE
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CREWSE, JUSTIN                       CRIBB, ALISON                         CRIBB, LAN
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CRIBB, SONIA          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CRIBBS, STEPHANIE                    CRICHTON, ROSE                           CRICKET VENTURES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




CRICKMORE, VANESSA                   CRIDDLE, DEON                            CRIDDLE, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CRIDER, BRIANA                       CRIDER, CHRISTY                          CRIDER, JENNIFER
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CRIDER, KELSEY                       CRIERIE, ANNA                            CRIFASI, KATHERINE
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CRIGGER, DARBY                       CRIGGER, JESSICA                         CRIGMAN, MELISSA
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CRILLS, NICOLE                       CRILLY, JESSICA                          CRIM, CASEY
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CRIMALDI, GAIL                       CRIMALDI, LAURA                          CRIMALDI, SHARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CRIMMINS, AIDAN                      CRIMMINS, JAMES                          CRIMMINS, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CRIMMINS, TRISTAN                    CRIMSON WINE GROUP LTD                   CRINE, WENDY
ADDRESS AVAILABLE UPON REQUEST       (CHAMISAL VINEYARDS)                     ADDRESS AVAILABLE UPON REQUEST
                                     2700 NAPA VALLEY CORPORATE DRIVE,
                                     SUITE B
                                     NAPA, CA 94558
CRINION, DANELLE      Case 22-11238-LSS    Doc
                                     CRIPPEN,     2 Filed 11/30/22
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                                                                           CRIPPEN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRIPPS, HANNAH                       CRISAFI, JARED                        CRISAFULLI, GABRIELLA
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CRISAFULLI, JOSEPH                   CRISAFULLI, LAURA                     CRISALLI, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRISCERA, CHRIS                      CRISCI, HEATHER                       CRISCIONE, JESSICA
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CRISCITO, BRITTNEY                   CRISCUOLO, DANIELLE                   CRISLIP, DAVID
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CRISLIP, NANCY                       CRISMAN, ELAINE                       CRISMON, ANDREA
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CRISOFULLI, ELIZABETH                CRISP, DANIEL                         CRISP, DONNA
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CRISP, HAELWYN                       CRISP, JEFFREY                        CRISP, JOHN
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CRISP, KARI                          CRISP, KATHERINE                      CRISP, KIM
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CRISP, MORGAN                        CRISP, SAMANTHA                       CRISPINO, CHIP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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CRISSANDRA JONES FAISON              CRISSY, Doc 2 Filed 11/30/22
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                                                                           CRIST, ANNA
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CRIST, JORDAN                        CRIST, KATHRYN                        CRIST, MELANIE
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CRIST, MR. & MRS. JIM                CRIST, PAT                            CRISTA WERTH
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CRISTI MIDKIFF                       CRISTINA ABELGAS                      CRISTINA FREY, CRISTINA
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CRISTINA I JIMENEZ                   CRISTINA JIMENEZ                      CRISTO, ANDRE
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CRISTO, SABRINA                      CRISTOFORIS, EMILY                    CRISTYLE BLANCHARD
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CRISWELL, AARON                      CRISWELL, JENNIE                      CRITCHFIELD, PATRICK
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CRITCHLEY, HEATHER                   CRITCHLEY, KRISTEN                    CRITES, KRIS
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CRITES, LAUREN                       CRITIKOS, XANDER                      CRITTENBERGER, LEE
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CRITTENDEN, ASHLEY                   CRITTENDEN, CAITLIN                   CRITTENDEN, JOHN
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CRITTENDEN, JUSTIN    Case 22-11238-LSS     Doc ROBERT
                                     CRITTENDEN, 2 Filed 11/30/22     Page 1049  of 5495
                                                                           CRIVELLO, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CRNKOVIC, TAYLOR                     CROCCO, CHRISTINA                      CROCE, CRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CROCE-ASTALKOSKI, MARIACONCETTA      CROCETTI, CHRIS                        CROCETTI, JOSHUA
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CROCETTI, LINDSAY                    CROCETTI, TOMASINA                     CROCHET, RACHEL
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CROCK, KIMBERLIE                     CROCKARD, COMER                        CROCKER, CHRISTI
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CROCKER, COLTON                      CROCKER, CONNIE                        CROCKER, KAITLYN
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CROCKER, KATELIN                     CROCKER, KAYLA                         CROCKER, LISA
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CROCKER, LOUISE                      CROCKER, MADISON                       CROCKER, OLIVIA
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CROCKETT, CAROLINE                   CROCKETT, JEFFREY                      CROCKETT, JODI
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CROCKETT, JOY                        CROCKETT, KATHLEEN                     CROCKETT, KATRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
CROCKETT, NI KARI     Case 22-11238-LSS    DocRUSSELL
                                     CROCKETT,  2 Filed 11/30/22      Page 1050 of 5495
                                                                           CROCKETT, STEFANIE
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CROCKETT, ZANE                       CROCKIN, SUSAN                         CROCKTON, ANDREA
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CRODELLE, KATHERINE                  CROFFIE, EKUA                          CROFFORD, MELINDA
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CROFOOT, DEMETRIA                    CROFOOT, MARK                          CROFOOT, RACHEL
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CROFT, BRITTANY                      CROFT, CAROLYN                         CROFT, HALEY
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CROFT, JENNIFER                      CROFT, JERRY                           CROFT, KRISTEN
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CROFT, LAUREN                        CROFT, NORA                            CROFT, REBECCA
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CROFT, SARAH                         CROFT, SHANNON                         CROFTON, CECELIA
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CROFTON, JULIUS                      CROFTS, JAMES                          CROFTS, SUZANNE
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CROGNALE, DANIELLE                   CROGNALE, JOSEPH                       CROISANT, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
CROITORU, XENIA       Case 22-11238-LSS
                                     CROLEY,Doc  2 Filed 11/30/22
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                                                                           CROLLA,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROMACK, NORMA                       CROMBIE, KATHERINE                    CROMELIN, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROMER, JOHN                         CROMER, KATIE                         CROMER, KRISTIN
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CROMER, MAUREEN                      CROMER, ZACHARY                       CROMEY, RACHEL
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CROMEYER, ELENA                      CROMMETT, AMANDA                      CROMPTON, ANNE
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CROMPTON, BEN                        CROMWELL, BROOKE                      CROMWELL, JORDAN
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CROMWELL, LAURA                      CROMWELL, SEBASTIAN                   CRON, DELANEY
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CRON, KEITH                          CRONA, LEORA                          CRONAN, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRONAN, JOHN                         CRONAN, MELISSA                       CRONE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRONE, MEGAN                         CRONEN, CHRISTINA                     CRONENWETT, MEREDITH
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CRONIN, BARBARA       Case 22-11238-LSS
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CRONIN, CAITLIN                      CRONIN, CARMEN                        CRONIN, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRONIN, CHRISTOPHER                  CRONIN, COLLEEN                       CRONIN, HAILEY
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CRONIN, HANNAH                       CRONIN, JEN                           CRONIN, KATE
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CRONIN, KATHLEEN                     CRONIN, LAUREN                        CRONIN, LEAH
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CRONIN, LUCIA                        CRONIN, MARION                        CRONIN, MICHELLE
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CRONIN, NICOLE                       CRONIN, PAUL                          CRONIN, RILEY
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CRONIN, SARAH                        CRONIN, SUSAN                         CRONIN-FURMAN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRONK, BRIANA                        CRONK, RAYMOND                        CRONK, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRONKHITE, TONJA                     CRONMILLER, KATERINA                  CRONNELLY, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CROOK, AIMEE          Case 22-11238-LSS
                                     CROOK, Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CROOK, KELSEY                           CROOK, LINDSAY                        CROOK, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROOK, VALERIE                          CROOKER, KIM                          CROOKES, DONNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROOKS, BOBBI SHAE                      CROOKS, JENNIFER                      CROOKS, KELSEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROOKS, KHAFRA                          CROOKS, LAURA                         CROOKS, MATTHEW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROOM, REBECCA                          CROOP, RICK                           CROPPER, BRITTANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROPPER, MARY                           CROPPER-PAM, JAMICA                   CROSBIE, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSBY STREET HOTEL                     CROSBY, ASHURA                        CROSBY, CHELSEA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSBY, CYNDEE                          CROSBY, DIANE                         CROSBY, DONNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSBY, ERIN                            CROSBY, JESSICA                       CROSBY, JIM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CROSBY, JULIA         Case 22-11238-LSS
                                     CROSBY,Doc  2 Filed 11/30/22
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                                                                           CROSBY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSBY, KRISTEN                      CROSBY, KYLE                          CROSBY, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSBY, MICHAEL                      CROSBY, MICHAL                        CROSBY, NOELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSBY, PRECIOUS                     CROSBY, RACHEL                        CROSBY, RENAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSBY, SERENA                       CROSBY, TINA                          CROSBY, TORRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSEN, NANCY                        CROSETTI, ANNA AND VICTOR             CROSIER-CAMPSEY, ABEGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSKEY, SUZANNE                     CROSLAND, EVERETT                     CROSS CANYON VINEYARD, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 1673
                                                                           ARROYO GRANDE, CA 93421




CROSS, ADRIENNE                      CROSS, ALLI                           CROSS, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSS, ANDREA                        CROSS, ARIEL                          CROSS, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSS, BILL                          CROSS, CASEY                          CROSS, CELISSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CROSS, DARLA          Case 22-11238-LSS
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CROSS, EMILY                         CROSS, EMILY                          CROSS, JACQUELINE
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CROSS, JAIME                         CROSS, JAMIE                          CROSS, JANET
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CROSS, JENNIFER                      CROSS, JENNIFER                       CROSS, JOANNA
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CROSS, JOSHUA                        CROSS, KAREN                          CROSS, KELSIE
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CROSS, KIT                           CROSS, LUANNE                         CROSS, MIRIHA
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CROSS, NATALIE                       CROSS, NIGEL                          CROSS, PAUL
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CROSS, PEGGY                         CROSS, RYLEE                          CROSS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSS, SEAN                          CROSS, SHAWNTINA                      CROSS, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSS, ZACH                          CROSSAN, GILLIAN                      CROSSCUT VENTURES 2 L P
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3110 MAIN ST, PH
                                                                           SANTA MONICA, CA 90405
CROSSCUT VENTURES      Case 22-11238-LSS    Doc
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                                               CECELIA                 Page 1056 of 5495
                                                                            CROSSEN, KATHLEEN
3110 MAIN ST, PH                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90405




CROSSIN, CAITLIN                      CROSSLAND, ASHLEY                     CROSSLAND, MARCIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSSLAND, MEGAN                      CROSSLAND, MORGEN                     CROSSLAND, SPENCER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSSLAND, STEPHEN                    CROSSLEY, CHRISTINA                   CROSSMAN, KEVIN
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CROSS-NAJAFI, ISABELLA                CROSSNOE, GABRIELLE                   CROSSON, BRIAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROSSON, CASANDRA                     CROSSON, KATONIA                      CROSSROADS FINANCIAL GROUP , LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        6001 BROKEN SOUND PARKWAY 620
                                                                            BOCA RATON, FL 33487




CROSSROADS                            CROSSTYRK, CONNIE                     CROSTIC, KEVIN
8284 MELROSE AVENUE                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90046




CROSWELL, MEGAN                       CROSWELL, SHAWN                       CROTEAU, ADAM
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROTEAU, AMOLIA                       CROTEAU, MARIANNE                     CROTS, KARA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROTTS, CHERYL                        CROTTY, ANNE                          CROTTY, LESLIE
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CROTTY, MAIREAD       Case 22-11238-LSS
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                                                                           CROTTY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROUCH, BETH                         CROUCH, DONNA                         CROUCH, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROUCH, KARLIE                       CROUCH, KRISTY                        CROUCH, MORGAN
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CROUCH, RICHARD                      CROUCH, TARA                          CROUCH, WESLEY
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CROUCH-ALMEIDA, RACHEL               CROUCHELLI, DANIELLE                  CROUCHLEY, MICHAEL
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CROUDER, JENNIFER                    CROUGH SHARON                         CROUPPEN, ELIZABETH
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CROUSE, ALLISON                      CROUSE, CALLI                         CROUSE, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROUSE, ERICA                        CROUSE, JEFF                          CROUSE, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROUSE, KATELYN                      CROUSE, MARY                          CROUT, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROVATO, LISA                        CROVATTO, ALEXANDRA                   CROW, BEATRICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CROW, CHRISTINE       Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     CROW, GILDA                      Page 1058
                                                                           CROW, of 5495
                                                                                 JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROW, JESSIE                         CROW, KASANDRA                        CROW, KELSEY
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CROW, LAUREN                         CROW, LYNN                            CROW, NIKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROW, ROBERT                         CROW, TESSIE                          CROWDCHECK, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        721 N OVERLOOK DR
                                                                           ALEXANDRIA, VA 22305




CROWDER, COREY                       CROWDER, EILEEN                       CROWDER, KEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CROWDER, MARK                        CROWDER, MATTHEW                      CROWE, AMY
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CROWE, BEVERLY                       CROWE, CAITLIN                        CROWE, CIERRA
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CROWE, DANTE                         CROWE, DEBRA                          CROWE, ERIKA
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CROWE, JASON                         CROWE, JILL                           CROWE, JILL
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CROWE, KATIE                         CROWE, KRISTIE                        CROWE, LAUREN
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CROWE, LEESA          Case 22-11238-LSS
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CROWE, MARGARET                      CROWE, NANCY                          CROWE, NICOLE
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CROWE, PATTI                         CROWE, ROB                            CROWE, SIERRA
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CROWE, STEPHANIE                     CROWE, TORY                           CROWELL, ALAN
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CROWELL, AMANDA                      CROWELL, CASEY                        CROWELL, CHRISTOPHER
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CROWELL, JEREMIAH                    CROWELL, JOE                          CROWELL, KATE
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CROWELL, KATHY                       CROWELL, KENNETH                      CROWELL, REBECCA
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CROWELL, TODD                        CROWELL, WESLEY                       CROWE-URGO, CINDY
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CROWL, GILLIAN                       CROWL, GILLIAN                        CROWL, STEVEN
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CROWLEY, AMANDA                      CROWLEY, AMANDA                       CROWLEY, ANNE
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CROWLEY, BOSCHA       Case 22-11238-LSS    Doc
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                                              CHRISTINE               Page 1060 of 5495
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CROWLEY, DARIN                       CROWLEY, GABBY                         CROWLEY, JACKIE
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CROWLEY, JAIME                       CROWLEY, JOHN                          CROWLEY, KATIE
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CROWLEY, KEVIN                       CROWLEY, KIMBERLY                      CROWLEY, LAURA
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CROWLEY, LAUREN                      CROWLEY, MARCELLA                      CROWLEY, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CROWLEY, MOIRA                       CROWLEY, P.                            CROWN POINT VINEYARDS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1733 FLETCHER WAY
                                                                            SANTA YNEZ, CA 93460




CROWNALYTICS, LLC                    CROWNHART, SIERRA                      CROWNINSHIELD, ANNIE
PO BOX 1635                          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LONGMONT, CO 80502




CROWNOVER, GREGORY                   CROWSON, CHERYL                        CROWTHER, JENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CROWTHER, JESS                       CROWTHER, KATHY                        CROXTON, BRICE
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CROY, BRANDI                         CROY, CONRAD                           CROZIER, ALICE
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CROZIER, JIM          Case 22-11238-LSS    Doc
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CRUCHETT, ANDREA                     CRUDELE, ROBIN                        CRUDEN, AMY
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CRUELL, JORDYN                       CRUES, MARVIN                         CRUICKSHANK, FIONA
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CRUISE, SHAYLEE                      CRUM, DEBBIE                          CRUM, DYLAN
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CRUM, ELIZABETH                      CRUM, ELIZABETH                       CRUM, ELLEN
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CRUM, GEORGE                         CRUM, JAMIE                           CRUM, JESSICA
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CRUM, JOHN PATRICK                   CRUM, LAUREN                          CRUM, LAUREN
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CRUM, MR AND MRS                     CRUM, QUENN                           CRUM, SARAH
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CRUMB, CHRISTOPHER                   CRUMBAKER, ASHLEY                     CRUMBLEY, CAITLIN
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CRUMBLEY, ELISA                      CRUMBLEY, KAREN                       CRUMBLEY, OLIVIA
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CRUMBLY, DEBORAH      Case 22-11238-LSS    Doc
                                     CRUMBLY,   2 Filed 11/30/22
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CRUMLEY, MASON                       CRUMMELL, MIYA                         CRUMP, APRIL
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CRUMP, BAILEY                        CRUMP, DONA                            CRUMP, JAMIE
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CRUMP, KAREN                         CRUMP, LINDA                           CRUMP, NITA
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CRUMP, SONYA                         CRUMP, TASHAWNA                        CRUMP, WAYNE
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CRUMPACKER, ANDREA                   CRUMPLER, JUSTIN                       CRUMPLEY, CAITLIN
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CRUMRINE, MERCEDES                   CRUPI, MIA                             CRUPPER, LAUREN
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CRUSE, ANGELA                        CRUSE, JENNIFER                        CRUSE, JESSIE
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CRUSE, MARY KATHRYN                  CRUSE-POE, KAITLIN                     CRUSER, NESHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CRUSH DISTRIBUTORS (NEW HAMPSHIRE)   CRUSH DISTRIBUTORS NH                  CRUSH DISTRIBUTORS
63 MOUNTAIN DRIVE                    CRUSH WINES 63 MOUNTAIN DRIVE          151 WALTON STREET
GILFORD, NH 03249                    GILFORD, NH 03249                      PORTLAND, ME 04103
CRUSH DISTRIBUTORS      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                       CRUSH IMPORTS                  Page 1063 of 5495
                                                                           CRUSH.PICS
511 RIVERSIDE INDUSTRIAL PKWY          3515 15TH STREET SW                 ADDRESS UNAVAILABLE AT TIME OF FILING
PORTLAND, ME 04103                     CALGARY, AB T2T 4A4
                                       CANADA




CRUST, REBECCA                       CRUTCHER, MARK                        CRUTCHER, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRUTCHER, SONJA                      CRUTCHFIELD, ALEX                     CRUTCHFIELD, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRUTCHFIELD, JOHN                    CRUTCHFIELD, SERENA                   CRUZ ALVAREZ, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRUZ, AARON                          CRUZ, ADRIANA                         CRUZ, AILENETTE
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CRUZ, ALEX                           CRUZ, ALEXANDRA                       CRUZ, ANGEL
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CRUZ, ARNOLD                         CRUZ, ASHLEY                          CRUZ, BENJAMIN
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CRUZ, BRANDON                        CRUZ, BRITTNEY                        CRUZ, BRYAN
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CRUZ, CHRISTINA                      CRUZ, DAISY                           CRUZ, DALIANNA
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CRUZ, DANIEL                         CRUZ, DANIEL                          CRUZ, DARIANA
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CRUZ, DEBBIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           CRUZ, ERIKA
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CRUZ, FAYE                           CRUZ, FRANCES                         CRUZ, GARRET
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CRUZ, GRETCHEN                       CRUZ, HALEY                           CRUZ, HECTOR
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CRUZ, IRENE                          CRUZ, IVETTE                          CRUZ, JANELLE LYNNE
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CRUZ, JENNY                          CRUZ, JESSICA                         CRUZ, JODI
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CRUZ, JOHN                           CRUZ, JON                             CRUZ, JUSTIN
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CRUZ, KALYSTA                        CRUZ, KAROLINA                        CRUZ, KATHRYN
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CRUZ, KIMBERLY                       CRUZ, KRISTEN                         CRUZ, LARISSA
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CRUZ, LAURA                          CRUZ, LAUREN                          CRUZ, LAURENCE
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CRUZ, LESLIE                         CRUZ, LORENA                          CRUZ, LUIS
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CRUZ, LUZ             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     CRUZ, LUZMARY                    Page 1065  of 5495
                                                                           CRUZ, MARCUS
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CRUZ, MARIA                          CRUZ, MARIA                           CRUZ, MARIBEL
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CRUZ, MARK A                         CRUZ, MEG                             CRUZ, MICHELLE
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CRUZ, MINDY                          CRUZ, NORMA                           CRUZ, OSCAR
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CRUZ, PATSY                          CRUZ, PETER R                         CRUZ, ROXANNE
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CRUZ, SABRINA                        CRUZ, SARA                            CRUZ, SARAH
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CRUZ, SARINA                         CRUZ, SHELSEA                         CRUZ, SINAI
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CRUZ, SIOBHAN                        CRUZ, STEPHANIE                       CRUZ, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRUZ, TAMARA                         CRUZ, VALERIE                         CRUZ, VANESSA
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CRUZ, WARDELMAR                      CRUZ, WYANNIE                         CRUZ, YELFRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CRUZADO, ERIN         Case 22-11238-LSS    Doc
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                                                                              CRUZ-ALVAREZ,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CRUZAN, COURTNEY                        CRUZE, CHANEY                         CRUZE, KASEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRUZE, LARISA                           CRUZE, TAYLOR                         CRYAN, LISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRYDER, ERIN                            CRYDERMAN, TESSA                      CRYMES, CARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRYSTAL KLAVER                          CRYSTAL MAGEE                         CRYSTAL MEARS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CRYSTAL OF AMERICA                      CRYSTAL PITZER                        CRYSTAL RUCAS
110 FIELDCREST AVENUE 4TH FLOOR, BOX    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
12
EDISON, NJ 08837




CRYSTAL SPRINGS WATER                   CRYSTAL SUTPHIN                       CRYSTAL VILKAITIS
3215 ROCKVIEW PLACE                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN LUIS OBISPO, CA 93401




CRYSTAL, ACHENBACH                      CRYSTAL, MACOM                        CRYSTAL, RYAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CSA CLIENT FUNDS                        CSABA KONKOLY                         CSABA MESZAROS
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CSAK, ALEXANDER                         CSASZAR, CHRISTINA                    CSEH, MARTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CSENCSITS, HEIDI      Case 22-11238-LSS     Doc 2 Filed
                                     CSM REDEMPTION,  INC.  11/30/22       Page 1067 of PAULO
                                                                                CSOGOR, 5495
ADDRESS AVAILABLE UPON REQUEST       30 CALLE                                   ADDRESS AVAILABLE UPON REQUEST
                                     PACIFICA SAN CLEMENTE, CA 92673




CSOLAK, GEORGE                          CSUTOROS, DONNA                         CT COMMISSIONER OF REVENUE SERVICES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          450 COLUMBUS BLVD
                                                                                HARTFORD, CT 06103




CT CORPORATION                          CT SECRETARY OF STATE                   CT STATE TREASURER
PO BOX 4349                             165 CAPITOL AVE                         165 CAPITOL AVE
CAROL STREAM, IL 60197-4349             HARTFORD, CT 06106                      HARTFORD, CT 06106




CUA, CAROLINE                           CUA, DANIEL                             CUARTERO, JAIMMIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




CUBA-DANCA, WENDY                       CUBBAGE, KAYLA                          CUBBAGE, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




CUBBIN, PATTY                           CUBBIN, TOBY                            CUBBISON, CHRISTINE
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CUBE SOFTWARE                           CUBE                                    CUBERO, JUAN JOSE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




CUBIC, DOUG                             CUBILLO, CAROLINE                       CUBINE, KENDAL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




CUBSTEAD, JOCELYN                       CUCCARO, STEPHEN                        CUCCHIELLA, CAITLIN
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CUCCI, CHARLEEN                         CUCCIA, KERRI                           CUCCIO, MICHAEL
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CUCCOVIA, BARBARA     Case 22-11238-LSS    Doc 2JODIFiled 11/30/22
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                                                                           CUCINELLO, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUCINOTTA, JENNIFER                  CUCINOTTA, JOSEPH                     CUCKOOS NEST WEST, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1910 HUNTINGTON LN 1
                                                                           REDONDO BEACH, CA 90278




CUCUZZA, CHRISTABEL                  CUDA, ASHLEY                          CUDA, BARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUDA, LAUREN                         CUDAHY, MARY                          CUDAHY, ROXANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUDBY, CHARLEIGH                     CUDDIHY, DAVID                        CUDDIHY, JEREMIAH
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CUDDY, ELISE                         CUDNEY, JAMES                         CUDWORTH, WILLIAM
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CUE, SANDRA                          CUE, SANDRA                           CUELLAR, GUIZLENA
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CUELLAR, HECTOR                      CUELLAR, LISA                         CUELLAR, MONIKA
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CUELLAR, RICARDO                     CUELLAR, SHAWNA                       CUELLAR-LOPEZ, RICH
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CUENCA, NICOLE                       CUENOD, ANNIE                         CUERDEN, JANET
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CUERDON, PAUL         Case 22-11238-LSS    Doc
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CUESTA, DENISE                       CUESTAS, ELIZABETH                    CUETO, NICHOLE
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CUETO, NICOLE                        CUETTER, DAVID                        CUEVAS, ALEXANDRA
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CUEVAS, ALLISON                      CUEVAS, ANAVEL                        CUEVAS, ASHLEY
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CUEVAS, FRANK                        CUEVAS, FRANK                         CUEVAS, HECTOR
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CUEVAS, HEIDY                        CUEVAS, LAUREN                        CUEVAS, LUCY
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CUEVAS, MAC                          CUEVAS, MARCY                         CUEVAS, NANCY
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CUEVAS, RICKY                        CUEVAS, TIANA                         CUFF, JILLIAN
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CUFFE, RENEE                         CUFFE, WILLIAM                        CUGINI, SARAH
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CUGLE, BRIDGET                       CUGLEY, JESSICA                       CUI, BING
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CUI, CHENLU           Case 22-11238-LSS      Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CUISSE DE GRENOUILLEPARIS               CUJE, VICTORIA                        CUKIER, DAPHNE
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CULBERSON, BRANDON                      CULBERSON, CALEB                      CULBERSON, MADISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULBERTSON, BRITTANY                    CULBERTSON, CAITLIN                   CULBERTSON, HALEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULBERTSON, LILLI                       CULBERTSON, LISA                      CULBERTSON, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULBERTSON, STEPHANIE                   CULBREATH, ALICE                      CULBREATH, HAVANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULBRETH, SHARMAINE                     CULCLASURE, KAYDEE                    CULEN, DEAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULEY, BRITT                            CULGIN, CHRISTINE                     CULHANE, JOE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULHANE, LINDA                          CULKIN, MEGAN                         CULLADO, ANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULLATHER, MORGAN                       CULLEN KELLY                          CULLEN, BRANDON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CULLEN, CAREY         Case 22-11238-LSS
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CULLEN, GEN                          CULLEN, HARRY                         CULLEN, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULLEN, JANELLE                      CULLEN, JENNIFER                      CULLEN, KATE
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CULLEN, KELLY                        CULLEN, LINDSEY                       CULLEN, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULLEN, MEGAN                        CULLEN, RORAIGH                       CULLEN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULLEN, SARAH                        CULLEN, STEFANIE                      CULLEN, TERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULLEN, VICTORIA                     CULLEN-DUPONT, KATHRYN                CULLERTON, ED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULLERTON, FAITH                     CULLEY, ERICA                         CULLEY, MEAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULLEY, YVONNE                       CULLIGAN SAN PASO                     CULLIGAN, DANIEL
ADDRESS AVAILABLE UPON REQUEST       700 W. COOK ST                        ADDRESS AVAILABLE UPON REQUEST
                                     SANTA MARIA, CA 93458




CULLIGAN, KELSEY                     CULLIGAN, MELISSA                     CULLIN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CULLINAN, LAURA       Case 22-11238-LSS     Doc
                                     CULLINAN,   2 Filed 11/30/22
                                               MEGHAN                 Page 1072  of 5495
                                                                           CULLINAN, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CULLINANE, BRIDGET                   CULLINANE, VICTORIA                    CULLINS, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CULLINS, JOANNA                      CULLINS, MARY                          CULLISON, CLIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CULLMANN, KIRA                       CULLNAN, PATRICK                       CULLUM, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CULLUM, KELLYE                       CULLUM, RAYNE                          CULNANE, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CULOTTA, KENT                        CULP, JAYME                            CULP, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CULP, KRISTEN                        CULPEPPER, ERICA                       CULPEPPER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CULTURE AMP                          CULVER, CONNIE                         CULVER, GREG
13949 VENTURA BLVD STE 215           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHERMAN OAKS, CA 91423




CULVER, HALEY                        CULVER, JULIE                          CULVER, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CULVER, LEA                          CULVER, MORGAN                         CULVER, PHILIP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
CULVER, RACHEL        Case 22-11238-LSS
                                     CULVER,Doc  2 Filed 11/30/22
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                                                                           CULVER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CULVER, SAMANTHA                     CULWELL, LOGAN                        CULWELL, TONI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUMBER, CORY                         CUMBERBATCH, JNAYA                    CUMBERFORD, JENNA
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CUMBERLEDGE, HEATHER                 CUMBEY, TERRY                         CUMBIA, EMILY
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CUMBO, ANNMARIE                      CUMINGS, LIZ                          CUMISKEY, BRENDAN
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CUMISKEY, ERIN                       CUMISKEY, TRICIA                      CUMMER, DIANA
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CUMMING, JANICE                      CUMMING, ROBERT                       CUMMINGS, ASHLEY
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CUMMINGS, BARBARA                    CUMMINGS, CAMERON                     CUMMINGS, CAROL
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CUMMINGS, CHARLES                    CUMMINGS, DANIEL                      CUMMINGS, DANIELLE
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CUMMINGS, DEVIN                      CUMMINGS, ERIN                        CUMMINGS, ERIN
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CUMMINGS, GWEN        Case 22-11238-LSS    DocHAZEL
                                     CUMMINGS,  2 Filed 11/30/22      Page 1074 of 5495
                                                                           CUMMINGS, JACLYNN
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CUMMINGS, JULIA                      CUMMINGS, KATIE                       CUMMINGS, KHRISTI
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CUMMINGS, KIM                        CUMMINGS, LINDSEY                     CUMMINGS, LINDSEY
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CUMMINGS, LORI                       CUMMINGS, LORRA                       CUMMINGS, MARY
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CUMMINGS, MICHAEL                    CUMMINGS, MICHAELA                    CUMMINGS, MONIQUE
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CUMMINGS, PATRICIA                   CUMMINGS, PEARL                       CUMMINGS, RAQUEL
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CUMMINGS, REBEKAH                    CUMMINGS, SHERYL                      CUMMINGS, SHEVON
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CUMMINGS, SKYLAR                     CUMMINGS, STEVEN                      CUMMINGS, SYLVIA
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CUMMINGS, TANISHIA                   CUMMINGS, TEVIN                       CUMMINGS, TIFFANY
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CUMMINGS-WARDEN, MYORKA              CUMMINS, ANDREA                       CUMMINS, ARIANA
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CUMMINS, ARIANA       Case 22-11238-LSS    Doc
                                     CUMMINS,    2 Filed 11/30/22
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                                                                           CUMMINS, 5495
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CUMMINS, KATE                        CUMMINS, KIMBERLY                     CUMMINS, LAUREN
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CUMMINS, LYNN                        CUMMINS, PATRICK                      CUMMINS, REN
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CUMMINS, STEVEN                      CUMMISKEY, REBECCA                    CUMMONS, MIRIAM
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CUMOLETTI, MARINA                    CUMPLIDO, JOSE                        CUMPLIDO, KRISTY
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CUMPSTON, JENNIFER                   CUNANAN, AIKO                         CUNDEY, LISA
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CUNDIFF, JESSICA                     CUNEO, DANIELA                        CUNEO, ELISE
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CUNFER, SYDNEY                       CUNG, KENNINGTON                      CUNHA, JACQUELINE
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CUNHA, KELLY                         CUNHA, SHEY                           CUNNANE, BRITTANY
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CUNNIFF, BREEZY                      CUNNINGHAM, ALEXANDRA                 CUNNINGHAM, ALI
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CUNNINGHAM, AMBER     Case 22-11238-LSS    Doc 2ANNEFiled 11/30/22
                                     CUNNINGHAM,                      Page 1076  of 5495
                                                                           CUNNINGHAM, ANNETTE
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CUNNINGHAM, BARB                     CUNNINGHAM, BRADLEY                   CUNNINGHAM, CAITLYN
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CUNNINGHAM, CARI                     CUNNINGHAM, CAROLINE                  CUNNINGHAM, CASS
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CUNNINGHAM, CASSANDRA                CUNNINGHAM, CAYLA                     CUNNINGHAM, CELIA
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CUNNINGHAM, CHRISTINA                CUNNINGHAM, CHRISTINA                 CUNNINGHAM, CHRISTINE OR KEVIN
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CUNNINGHAM, COLLEEN                  CUNNINGHAM, CORYNNE                   CUNNINGHAM, DEANA
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CUNNINGHAM, DEMEKA                   CUNNINGHAM, DENISE                    CUNNINGHAM, DOMINQUE
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CUNNINGHAM, EBONY                    CUNNINGHAM, ELIJAH                    CUNNINGHAM, EMMA
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CUNNINGHAM, GINA                     CUNNINGHAM, GRACE                     CUNNINGHAM, HANNAH
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CUNNINGHAM, JACI                     CUNNINGHAM, JANICE                    CUNNINGHAM, JENNIFER
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CUNNINGHAM, JEREMY    Case 22-11238-LSS    Doc 2JESSICA
                                     CUNNINGHAM,     Filed 11/30/22   Page 1077  of 5495
                                                                           CUNNINGHAM, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUNNINGHAM, JONATHAN                 CUNNINGHAM, JORDAN                    CUNNINGHAM, JULEE
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CUNNINGHAM, KAITLYN                  CUNNINGHAM, KAREN                     CUNNINGHAM, KATHERIN
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CUNNINGHAM, KEELY                    CUNNINGHAM, KEITH                     CUNNINGHAM, KEN
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CUNNINGHAM, KERRIE                   CUNNINGHAM, KEVIN                     CUNNINGHAM, KRISTIN
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CUNNINGHAM, LAYLA                    CUNNINGHAM, LEPHATE                   CUNNINGHAM, MADDISON
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CUNNINGHAM, MADISON                  CUNNINGHAM, MAUREEN                   CUNNINGHAM, MEGAN
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CUNNINGHAM, MEGAN                    CUNNINGHAM, MELANIE                   CUNNINGHAM, MELISSA
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CUNNINGHAM, MICHAEL                  CUNNINGHAM, MICHAEL                   CUNNINGHAM, MIKAELA
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CUNNINGHAM, MOLLY                    CUNNINGHAM, MORGAN                    CUNNINGHAM, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CUNNINGHAM, NEIL      Case 22-11238-LSS    Doc 2NICOLE
                                     CUNNINGHAM,     Filed 11/30/22   Page 1078  of 5495
                                                                           CUNNINGHAM, NOLAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUNNINGHAM, PAMELA                   CUNNINGHAM, RACHEL                    CUNNINGHAM, REBECCA
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CUNNINGHAM, RENAE                    CUNNINGHAM, SALLY                     CUNNINGHAM, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUNNINGHAM, SARAH                    CUNNINGHAM, SARAH                     CUNNINGHAM, SHARON
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CUNNINGHAM, STACY                    CUNNINGHAM, TABETHA                   CUNNINGHAM, TARA
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CUNNINGHAM, TAYLOR                   CUNNINGHAM, TERRY                     CUNNINGHAM, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUNNINGHAM, TIMOTHY                  CUNNINGHAM, TORY                      CUNNINGHAM, VENESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUNNINGHAM, VY                       CUNNINGTON, JOSHUA                    CUNNION, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUNY, ED                             CUNY, TRISH                           CUOCCIO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CUOMO, KRISTIN                       CUOMO, SARAH                          CUOZZO, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CUP, KAITLIN          Case 22-11238-LSS    Doc
                                     CUPERO,    2 Filed 11/30/22
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                                                                              CUPICHA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




CUPID CHARITIES                         CUPLER, SHONTELL                       CUPO, RONALD
1200 EAST WEST HWY, UNIT 1117           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SILVER SPRING, MD 20910




CUPO, THOMAS                            CUPO, TIFFANY                          CUPOLI, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CUPP, MATT                              CUPP, MELISSA                          CUPPLES, MADISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CUPPS, BARBARA                          CUPRZYNSKI, EMILY                      CURA, PRISCILLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CURATALO, JAMES                         CURATALO, TIANNA                       CURATILO, PHIL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CURBELO, JUAN                           CURBERA, JULIA                         CURBISHLEY, CHERYL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CURBSTAND                               CURCIO, DANIELLE                       CURCIO, JULIA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CURCIO, MARIANNE                        CURCIO, SARAH                          CURDA, RILEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CURDTS, JOSHUA                          CURETON, MELVIN                        CURFMAN, KERI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
CURFMAN, THERESA      Case 22-11238-LSS     Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURIOSO, TOM                         CURIS, TERI                           CURL, JAIME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURL, MELANIE                        CURL, TOBY                            CURL, TYLER
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CURLEUY, KELL                        CURLEY, CAROLINE                      CURLEY, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURLEY, KEVIN                        CURLEY, LAURA                         CURLEY, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURLEY, MEG                          CURLEY, MEGHAN                        CURLEY, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURLEY, PATRICIA                     CURLEY, PATRICK                       CURLEY, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURNOW, KELLY                        CURNUTTE, COLE                        CUROE, CATHRYN
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CURRAN, ALANAH                       CURRAN, ALEXA                         CURRAN, ALEXANDRA
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CURRAN, AMY                          CURRAN, CARLY                         CURRAN, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CURRAN, CHANDLER      Case 22-11238-LSS
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                                                                           CURRAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRAN, EMILY                        CURRAN, ERIN                          CURRAN, IAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRAN, JAMES                        CURRAN, JAMIE                         CURRAN, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRAN, KAITLIN                      CURRAN, KASEY                         CURRAN, KATHLEEN
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CURRAN, KIMBERLY                     CURRAN, LIZZY                         CURRAN, MARGARET
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CURRAN, MARY                         CURRAN, MICHAEL                       CURRAN, PATTI
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CURRAN, PETER                        CURRAN, POLLY                         CURRAN, ROB
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CURRAN, SARA                         CURRAN, SEAN                          CURRAN, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRAN, THOMAS                       CURRAN, TRAVIS                        CURRAN, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRAN, VIRGINIA                     CURRANT, KELLY                        CURRIE, BRENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CURRIE, BRUCE         Case 22-11238-LSS
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                                                                           CURRIE,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRIE, JELANI                       CURRIE, KATE                          CURRIE, KAYLA
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CURRIE, LOGAN                        CURRIE, MEGAN                         CURRIE, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRIER, ALEXANDER                   CURRIER, BRADLEY                      CURRIER, BRADLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRIER, CAILIN                      CURRIER, KATIE                        CURRIER, NANCI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRIN, ELIZABETH                    CURRIN, PATRICK                       CURRISTON, SHIRLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRY, ADAM                          CURRY, AMANDA                         CURRY, BRANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRY, BRIANNE                       CURRY, CASSIE                         CURRY, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRY, CHERYL                        CURRY, CHRISTOPHER                    CURRY, COLLEEN
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CURRY, DEIDRA                        CURRY, DEMITRI                        CURRY, ELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CURRY, HEATHER        Case 22-11238-LSS
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                                            JERRELL                   Page 1083
                                                                           CURRY,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




CURRY, JULIA                         CURRY, KURT                           CURRY, MATT
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CURRY, MEAGAN                        CURRY, MEGAN                          CURRY, MICHELLE
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CURRY, PHYLLIS                       CURRY, RACHEL                         CURRY, RACHEL
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CURRY, REBECCA                       CURRY, REGINALD                       CURRY, RYAN
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CURRY, STACY                         CURRY, SUSAN                          CURRY, T.
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CURRY, TARA                          CURRY, THOMAS                         CURSCHMAN, MORGAN
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CURT BELSHE                          CURT EDMUND JABLONOWSKI               CURT J FREUND
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CURT, HALEY                          CURT, KATHERINE                       CURTACHIO, TONY
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CURTH, JANE                          CURTI, VERONICA                       CURTICE, CARRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CURTICE, KEVIN        Case 22-11238-LSS
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                                            BRIDGET                     Page 1084
                                                                             CURTIN,of 5495
                                                                                     BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CURTIN, CAMILA                       CURTIN, CHAD                             CURTIN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CURTIN, JESSICA                      CURTIN, KATE                             CURTIN, KRISTY
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CURTIN, MEGAN                        CURTIS CLARENCE FUSSY                    CURTIS J KAUFMAN
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CURTIS LANE CALLAWAY                 CURTIS PARK DELICATESSEN                 CURTIS SAUNDERS, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




CURTIS, ABBY                         CURTIS, ALIA                             CURTIS, ALISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CURTIS, ALLISON                      CURTIS, ANDREW                           CURTIS, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CURTIS, ANDY                         CURTIS, BARBARA                          CURTIS, BLANCA A
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




CURTIS, BRANDON                      CURTIS, CAILA                            CURTIS, CECILY
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CURTIS, CHARLIE                      CURTIS, CHELSEY                          CURTIS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
CURTIS, DIANA         Case 22-11238-LSS
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CURTIS, GERALD                       CURTIS, JASMINE                       CURTIS, JENNIE
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CURTIS, KARINA                       CURTIS, LAURA                         CURTIS, LUCILLE
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CURTIS, LUCY                         CURTIS, MELISSA                       CURTIS, NIC
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CURTIS, SAMANTHA                     CURTIS, SHANNON                       CURTIS, SHAYLA
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CURTIS, SHELLEY                      CURTIS, TAYLOR                        CURTIS, VALERIE
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CURTISS, SAMANTHA                    CURTO, ALEXANDER                      CURTO, DOLORES
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CURTO, LAURA                         CURTO, MICHAEL                        CURTY BENJAMIN
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CURWEN, JESSICA                      CURWIN, REBECCA                       CURYLO, KELLY
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CUSACK, CHRISTOPHER                  CUSACK, CLAIRE                        CUSACK, LUCAS
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CUSEGLIO, RAINE       Case 22-11238-LSS    Doc
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                                              KATHRYN                      Page 1086  of ANNE
                                                                                CUSHING, 5495
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CUSHING, MARI                           CUSHING, RILEY                          CUSHMAN, BECKY
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CUSHMAN, BLINN                          CUSHMAN, JOHN                           CUSHMAN, MACKENZIE
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CUSICK, CHELSEY                         CUSICK, CHRISTOPHER                     CUSICK, DONNIE
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CUSIMANO, ZACH                          CUSMANO, ANN                            CUSSINS, DAWN
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CUSTER, AMANDA                          CUSTER, BETTY                           CUSTER, EMILY
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CUSTER, GREG                            CUSTER, JEFF                            CUSTER, JOY
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CUSTER, MEAGHAN                         CUSTER, REBECCA                         CUSTODI, JILLIAN
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CUSTODIA, NORA                          CUSTOM FIELDS APP                       CUSTOM HOTEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




CUSTOM INK T SHIRTS                     CUSTOM LABEL                            CUSTOM WOVEN TOWELS, LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   3392 INVESTMENT BLVD.                   8209 MARKET STREET, UNIT A 292
                                        HAYWARD, CA 94545                       WILMINGTON, NC 28411
                      Case 22-11238-LSS
CUSTOMINK TSHIRTS MCLEAN              CUSTORA,Doc
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                                                                             CUSUMANO, ASHLEY
ADDRESS UNAVAILABLE AT TIME OF FILING 530 7TH AVENUE SUITE 2001              ADDRESS AVAILABLE UPON REQUEST
                                      NEW YORK, NY 10018




CUSUMANO, DANIELLE                    CUTAIA, TARA                           CUTCHER, CAITLIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CUTCHINS, MEGAN                       CUTHILL, KATIE                         CUTHILL, NICOLE
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CUTI, FAITH                           CUTIGNOLA, JENNIFER                    CUTILLO, JOHN
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CUTINO, JOSHUA                        CUTITTA, GENEVIEVE                     CUTITTA, OLIVIA
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CUTLER, CAITLIN                       CUTLER, CHRISTY                        CUTLER, JAYSON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




CUTLER, KATIE                         CUTLER, KENNY                          CUTLETICS, LLC (DBA PROPERBRAND)
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         922 SANTA
                                                                             FLORENCIA SOLANA BEACH, CA 92075




CUTLIP, AARON                         CUTLIP, JAMES                          CUTLIP, MARY
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CUTRALI, MARY                         CUTRI, GINO                            CUTRIGHT, RYAN
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CUTRIGHT, SANDRINE                    CUTRIGHT, SANDRINE                     CUTRONA, SAMANTHA
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CUTRONI, JAMES        Case 22-11238-LSS
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CUTTER, NOELLE                       CUTTERIDGE, DELANEY                     CUTTICA, LIZ
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CUTTILL, LAURA                       CUTTING, JAMILA                         CUTTINO, TALUEZETA N
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CUVELIER, JUSTIN                     CUVIELLO, JOELLE                        CUYA, HANNAH
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CUYLER, BROOKE                       CUYLER, KIM                             CUZZI, JULIANA
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CUZZI, STEVE                         CVANCARA, HANNAH                        CVENGROS, JOHN
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CVETANOVICH, ARIEL                   CVETKOVSKI, JUSTIN                      CVETKOVSKI, RACHEL
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CVIJETIC, MARTINA                    CVITANOVICH, PATRICK                    CVITKOVIC, MARY
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CVITKOVICH, PAMELA                   CVS                                     CW HENDERSON IRREVOCABLE TRUST
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CWALINA, DOMINIKA                    CWALINA-ZALEWSKI, AMY                   CWI
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CWYNAR, STEPHANIE                    CX3 ADS                               CYBORAN, RACHEL
ADDRESS AVAILABLE UPON REQUEST       427 N TATNALL ST 58331                ADDRESS AVAILABLE UPON REQUEST
                                     WILMINGTON, DE 19801




CYBORON, LEIGH-ANN                   CYBUL, JENNY                          CYCON, KELLY
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CYCZ, MARGUERITE                     CYGAN, HEATHER                        CYGAN, SARAH
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CYGAN, SHARRON                       CYMERMAN, ARIELLE                     CYNDI CASSELL, BRIAN HOFFMAN
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CYNTHIA ARMISTO                      CYNTHIA BALLARD                       CYNTHIA CUELLO COOK
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CYNTHIA DAVIS                        CYNTHIA DONNELLY                      CYNTHIA FOSTER
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CYNTHIA JUAREZ                       CYNTHIA KURIAL                        CYNTHIA L BRAIDFOOT
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CYNTHIA L DOXTATER                   CYNTHIA LAM                           CYNTHIA M REA
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CYNTHIA MAIGNAN                      CYNTHIA MARCHAND                      CYNTHIA MARIBEL MEDINA
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CYNTHIA MONACO                        CYNTHIA MORALES                         CYNTHIA ROMEO
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CYNTHIA SIMMONS                       CYNTHIA STAPLES                         CYNTHIA, MRS
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CYPERT, BRIAN                         CYPERT, WHITNIE                         CYPHER, DEREK
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CYPHERS, KARINNE                      CYPIN, TAYLER                           CYR, ALISON
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CYR, JAYLENE                          CYR, JILL                               CYR, JOANNA
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CYR, JONATHAN                         CYR, LISA                               CYR, RACHEL
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CYRAN, OLYA                           CYRAN, SYLVESTER                        CYRIL DELUCA-VERLEY
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CYRULIK, MEGAN                        CYRUS, CHRISTINA                        CYRUS, KAYTLYN
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CZACHOR, MARZENA                      CZAJKA, MAREK                           CZAJKA, RON
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CZAMARA, ALEXANDRA    Case 22-11238-LSS     Doc
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                                                                           CZARNIAK, RENEE
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CZARNIECKI, JENNIFER                 CZARNOPYS, EMMA                        CZECH, ASHLEY
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CZECH, BERNARD                       CZECH, KATHERINE                       CZECH, MONA
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CZECH, PATTY                         CZECHAN, BRANDA                        CZELUSNIAK, JAMIE
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CZEPIEL, KEVIN                       CZERENDA, CATHERINE                    CZEREPAK, ELIZABETH
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CZEREPAK, RACHEL                     CZERNECKA, ALDONA                      CZERNECKI, ANN
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CZERNICKI, JESS                      CZERNY, MICHAEL                        CZERWINSKI, ANDREA
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CZIKOWSKY, KATHY                     CZITROM, JACQUELINE                    CZONSTKA, AMBER
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CZOPCZYC, MICHAL                     CZORNIAK, LAUREN                       CZOSEK, JERRI
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CZOSNOWSKI, MICHELE                  CZUCHRA, SHERYL                        CZUDAK, ASHLEY
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CZULADA, AMY          Case 22-11238-LSS    Doc
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CZURA, RACHEL                        CZYZEWICZ, SARA                       CZYZEWSKI, HOPE
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D ADAMO, JOHN                        D BRADLEY, DONNA                      D CAIN, RYAN
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D COSTA, TERESA                      D GARCIA, SHARON                      D GRIMSTEAD, LINWOOD
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D MARKEY, PAULA                      D MAX BRUCE                           D MCCARTY, PATRICK
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D MCCONNELL, RANDALL                 D NIESEN, NATHANIEL                   D OLEA SIMUNOVIC, CRISTIAN
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D THATCHER, COLLIN                   D WESTROPE, JOHN                      D, BETHANY
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D, BRADLEY                           D, CYNTHIA                            D, ELIZABETH
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D, FELICIA                           D, HEATHER                            D, JILL
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D, KESLEY                            D, KRISTINA                           D, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
D, N                  Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     D, NANCY                         Page 1093  of 5495
                                                                           D, RUSTIN
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D, TAMMY                             D, TOSHA                              D, YOLANE
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D. CORNWALL, ANDERSON                D., BETTY                             D., SHIRLEY
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D., ZEPHYR                           D’ADAMO, SEAN                         D’AGOSTINO, SARAH
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D’ALTRUI, ELIZABETH                  D’AMATO, ANT                          D’AMATO, SALLY
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D’AMICO, JESSICA                     D’AMICO, LIANA                        D’AMICO, MICHAEL
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D’ANGELO, AMY                        D’ANGELO, MARY                        D’ANGELO, MATTHEW
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D’AQUILA, ERIN                       D’ARCO, KELLY                         D’ARCY, SHAUNA
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D’ELIA, DANA                         D’EON, KATHRYN                        D’GYVES, PAOLA
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D’OLIVEIRA, ELIZABETH                D’OLIVEIRA, ELIZABETH                 D2M PARTNERS LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        12885 SHERBROOKE DR
                                                                           FRISCO, TX 75035
DA COSTA, CARRIE      Case 22-11238-LSS    Doc
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                                                                              DA COSTA, MELANIE
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DA COSTA, MIRANDA                       DA COSTA, SARAH                        DA CRUZ MEDEIROS, SARAH
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DA KIKOKIKO                             DA ROSA, DEBBIE                        DA ROSA, JOAO
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DA SILVA BRITO, EVERALDO                DA SILVA, ALEXAS                       DA SILVA, ALLISON
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DA SILVA, JULIE                         DA SILVA, KIMBERLY                     DA SILVA, MIGUEL
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DA SILVA, OZEIAS                        DA SILVA, STEPHANIE                    DA SILVA, TAIS
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DA, GABRIEL                             DA, KRISTINA                           DA, MENGNA
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DA, RILDO                               DAANE, MELISSA                         DABAGYAN, ESTHER
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DABBS, JASMINE                          DABBS, JULIE                           DABBS, SAMANTHA
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DABBS, SHARON                           DABELSTEIN, SIGRID                     DABLAING, ANDREW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DABLER, HEATHER       Case 22-11238-LSS
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DABNEY, T                            DABOLD, SARAH                         DABROW, LORI
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DABROWSKI, AUTUMN                    DABROWSKI, CONNIE                     DABROWSKI, DANIELLE
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DABROWSKI, THEODORA                  DABUNDO, ELIZABETH                    DACALOS, MICHELLE
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DACALOS, RICHARD                     DACEY, CHELSEA                        DACEY, MARGURITE
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DACEY, RACHAEL                       DACEY, SARAH                          DACH, TIRZAH
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DACHES, MADISON                      DACHILLE, ARIELLE                     DACIERNO, BETSY
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DACOSTA, AMANDA                      DACOSTA, CHRISTOPHER                  DACOSTA, EDSON
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DACOSTA, MALLORY                     DACUMOS, DONABEL                      DACUNTO, KATHLEEN
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DACUNTO, NICOLE                      DACY, CARMEN                          DACY, RYANN
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DACY, TERI            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DADA DAILY LLC                       DADAMO, JULIE                         DADAMO, MAUREEN
600 MADISON AVE STE 14               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10022




DADDARIO, JESSICA                    DADDIECO, ALYSSA                      DADDONA, CORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DADE, CHRISTINE                      DADE, STANIELLA                       DADIKA, LAURANNE
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DADSON, SARINA                       DADY, ANDREW                          DADY, SANTI
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DAEKE, DON                           DAESCHNER, DIANE                      DAFALIAS, THERESIA
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DAFF, KATHRYN                        DAFFIN, KATHLEEN                      DAFFRON, ADDIE
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DAFFRON, DEVIN                       DAGA, MISHRI                          DAGEFORD, KELSEY
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DAGES, JENNIFER                      DAGESSE, STEPHANIE                    DAGGER, CARL
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DAGGETT, ALEX                        DAGGETT, HEATHER                      DAGGETT, KATIE
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DAGGETT, RACHEL       Case 22-11238-LSS    Doc
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DAGHER, DALIA                        DAGHER, LAYALL                        DAGHER, MICHAEL
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DAGIOS, JONI                         DAGIT, JULIE                          DAGNINO, ALLY
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DAGOBERTO CASTRO                     DAGOSTINO, JULIA                      DAGOSTINO, VINCENT
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DAGUE                                DAHL, ALISON                          DAHL, ANNE
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DAHL, CARL                           DAHL, CASE                            DAHL, CONNOR
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DAHL, DARCIE                         DAHL, DIANE                           DAHL, DORIS
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DAHL, EMILY                          DAHL, JACKIE                          DAHL, JEFFERSON
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DAHL, JENNIFER                       DAHL, JENNY                           DAHL, LENA
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DAHL, MADI                           DAHL, MEGAN                           DAHL, SARA
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DAHL, SUZANNE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           DAHLAGER, JILL
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DAHLBERG, ANNA                       DAHLBERG, WILLIAM AND VIRGINIA        DAHLE, CAROLINE
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DAHLE, JANESSA                       DAHLEM, HANNAH                        DAHLGREN, COLLEEN
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DAHLHAUSEN, CARA                     DAHLHAUSER, HELEN                     DAHLIN, SONJA
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DAHLINGER, JULIE                     DAHLKE, JORDAN                        DAHLQUIST, ALAINA
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DAHLSTROM, DINDA                     DAHLSTROM, RICHARD                    DAHM, SUSAN
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DAHMES, ELLIE                        DAHMES, ELLIE                         DAHMS, BRADFORD
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DAHMS, RACHAEL                       DAHMS, SARA                           DAHN, MEGHAN
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DAHNKE, TYLER                        DAI HYUN LEE                          DAI, ANNA
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DAI, BIRTHDAY GIRL LIZA              DAI, MU                               DAI, SHAOJIE
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DAI, XIAORONG         Case 22-11238-LSS
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DAIGLE, BRIAN                        DAIGLE, BRITTANY                      DAIGLE, DAWNA
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DAIGLE, DIANE                        DAIGLE, JEFFREY                       DAIGLE, JENNIFER
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DAIGLE, JENNIFER                     DAIGLE, RODD                          DAIGLE, STEPHANIE
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DAIGLE, SUZANNE                      DAIHA, YASMIN                         DAIJA H
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DAIL, KEVIN                          DAIL, MARY                            DAILEY, BRIDGET
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DAILEY, BRIDGET                      DAILEY, CURT                          DAILEY, DAVID
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DAILEY, KELLY                        DAILEY, KEVIN                         DAILEY, KEVIN
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DAILEY, KIERA                        DAILEY, LISA                          DAILEY, MEGAN
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DAILEY, MELISSA                      DAILEY, MICKENZIE                     DAILEY, MIKKI
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DAILY HARVEST, INC.      Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                              DAILY, DAVID
37 W 20TH STREET, SUITE 1101            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10011




DAILY, ELIZABETH                       DAILY, SCOTT                           DAILY, STEPHEN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAILY, TERRY                           DAIN BLODORN                           DAIN
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DAIN, DANIELLE                         DAIN, MAGEN                            DAINSON, TANIA
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DAISUKE YAMADA                         DAISY DANIELLE COLEMAN                 DAIWA CAPITAL MKTS AMERICA (0647)
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ATTN DAVID BIALER OR PROXY MGR
                                                                              1 FIN SQ
                                                                              32 OLD SLIP, 14TH FL
                                                                              NEW YORK, NY 10005



DAKE, JOHN                             DAKHE, STANISLAV                       DAKHLIAN, MEGAN
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DAKOTA WOODIE                          DAKOYANNIS, CHRISTIANA                 DAL PORTO, STEPHANIE
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DAL, OLGA                              DALAGER, KATHERINE                     DALAL, ROBIN
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DALALAU, VICTORIA                      DALAN, H.                              DALBA, SHARON
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DALBEC, GIULIA                         DALBECK, CAITLIN                       DALBERTO, MARY
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DALBEY, STEVE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DALBY, ELIZABETH                 Page 1101 of 5495
                                                                           DALCHAND, TEJWATIE
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DALE ACKER                           DALE BROADUS                           DALE E FALK
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DALE III, BOBBY                      DALE MILLER                            DALE, ANGIE
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DALE, ASHLEY                         DALE, CHARLES                          DALE, CHELSEA
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DALE, CORTNEY                        DALE, CORTNEY                          DALE, E
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DALE, EMILY                          DALE, GABRIELLE                        DALE, JANE
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DALE, JILL                           DALE, KATRINE                          DALE, KENNETH
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DALE, KIM                            DALE, LAURA                            DALE, LUKE
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DALE, MARIANNE                       DALE, MELISSA                          DALE, SHARON
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DALEASANDRO, ANTHONY                 DALEHITE, CAITLYN                      DALENCE, GENNA
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DALEO, CHARLOTTE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DALES, JEFFREY                   Page 1102  of 5495WALT & LISA
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DALESSANDRO, CYNTHIA                 DALESSANDRO, DANIELLE                  DALESSANDRO, JOHN
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DALESSANDRO, JONATHAN                DALESSANDRO, MARIA                     DALESSANDRO, MATTHEW
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DALESSANDRO, STACEY                  DALESSIO, BRITTANY                     DALEY, ASHLEY
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DALEY, BRIDGET                       DALEY, COURTNEY                        DALEY, COURTNEY
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DALEY, DANA                          DALEY, DEAN                            DALEY, EMMA
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DALEY, JIM                           DALEY, JONELLE                         DALEY, KATIE
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DALEY, KELLIE                        DALEY, KYLE                            DALEY, LARRY
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DALEY, LAUREN                        DALEY, MARYANN                         DALEY, RICHARD
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DALEY, RICKY                         DALEY, STEPHEN                         DALEZMAN, BENJAMIN
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DALHOFF, MEGAN        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           DALIMONTE, DARLENE
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DALIPE, CANDI                        DALKE, ALLEN                           DALKE, BRITTANY
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DALLABRIDA, DAVID                    DALLAGIACOMO, KAROL                    DALLAIRE, DAN
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DALLARA, RACHEL                      DALLAS ADOLPHSEN                       DALLAS TUNG
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DALLAS, CANDISE                      DALLAS, JESSICA                        DALLAS, KIRA
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DALLE, RON                           DALLEO, CINDY                          DALLESANDRO, KRISTEN
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DALLESASSE, LAUREN                   DALLETT, KATHERINE                     DALLMAN, LUCY
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DALLMANN, LISA                       DALLNER, MISSY                         DALMACIO, STEPHANIE
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DALMAN, DANIELLE                     DALMAN, RENEE                          DALMORE GROUP LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         525 GREEN PLACE
                                                                            WOODMERE, NY 11598




DALONI, ALEXIS                       DALPHONSE, ASHLEY                      DALQUIST, AMANDA
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DALRYMPLE, CAROLYN    Case 22-11238-LSS    DocCHRISTINE
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                                                                           DALRYMPLE, GENEVIEVE
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DALRYMPLE, ROY                       DALSEMER, LAWRENCE                     DALTON, ALICIA
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DALTON, CARA                         DALTON, CRAIG                          DALTON, DEBORAH
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DALTON, HOLLY                        DALTON, JANN                           DALTON, JEFF
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DALTON, JESSICA                      DALTON, JESSICA                        DALTON, JESSICA
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DALTON, JILL                         DALTON, JI-NEE                         DALTON, KATELYN
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DALTON, KATHLEEN                     DALTON, KAYLA                          DALTON, KAYLEE
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DALTON, KERRI                        DALTON, KEWEI                          DALTON, KIMBERLY
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DALTON, KRISTA                       DALTON, L                              DALTON, LINDSAY
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DALTON, RACHEL                       DALTON, REBEKAH                        DALTON, SAMANTHA
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DALTON, SHELDON       Case 22-11238-LSS
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                                                                           DALTON, 5495
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DALTON, TRACY                        DALTORIO, GINA                        DALVA L MOELLENBERG
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DALY, ALLISON                        DALY, AMANDA                          DALY, AMY
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DALY, ANDREW                         DALY, BILL & BEV                      DALY, BRIAN
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DALY, BRIDGET                        DALY, CARA                            DALY, CAROL
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DALY, CLAIR                          DALY, DIANE                           DALY, ELIZABETH
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DALY, ELIZABETH                      DALY, ELIZABETH                       DALY, EMILY
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DALY, ERIN                           DALY, JAN                             DALY, JANET
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DALY, KELLY                          DALY, KEVIN                           DALY, KIM
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DALY, LAURA                          DALY, LAUREN                          DALY, MEGAN
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DALY, MICHAEL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           DALY, NAOISE
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DALY, NORA                           DALY, SAMANTHA                        DALY, SARA
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DALY, SINEAD                         DALY, STEPHANIE                       DALY, SUSAN
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DALY, TAYLOR                         DALY-MACK, DAWN                       DALYSMAR CABREJA
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DALZELL, SHANNON                     DALZIELL, SUSAN                       DAM, JOAN
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DAM, SHAWNA                          DAMANI, KARISHMA                      DAMANSKAS, MICHELLE
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DAMARIS, JILLIAN                     DAMARODAS, MARIA                      DAMAS, DORCAS
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DAMAS, SEBASTIEN                     DAMASCENO, SOPHIA                     DAMASCHINO, JAMIE
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DAMASKE, LAURA                       DAMASSA, KELSEY                       DAMATO, ANDREA
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DAMATO, OLIVIA                       DAMATO, PETER                         DAMAZIO, MARLENE
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DAMBROSIO, JAMES      Case 22-11238-LSS    DocKRISTEN
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                                                                           DAMBROSIO, PIA
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DAMBROSIO, SARAH                     DAME OF GREEN POND, NOTRE             DAME, CAROLYN
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DAME, KATHERINE                      DAME, TIANA                           DAMELE, LISA
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DAMELIO, ERIN                        DAMERON, ALLISON                      DAMERON, MARCI
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DAMES, PAT                           DAMETZ, SARAH                         DAMIAN ANTHONY WHITE
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DAMIAN CARSON                        DAMIANI, ANNE MARIE                   DAMIANI, JAMILAH
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DAMIANO, ALISON                      DAMIANO, KARA                         DAMIANO, MATTHEW
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DAMIAO A LOUCAO                      DAMICO, ANNA                          DAMICO, ANNA
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DAMICO, ANNE                         DAMICO, ASHLEE                        DAMICO, ASHLEY
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DAMICO, CARMEN                       DAMICO, DOMENIC                       DAMICO, JILL
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DAMICO, JILL          Case 22-11238-LSS
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DAMICO, LISA                         DAMICO, MARISA                        DAMICO, MARYBETH
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DAMICO, SHARON                       DAMKJER, DEBORAH                      DAMM, JENNIFER
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DAMM, MICHELLE                       DAMM, PAUL                            DAMM, SKYLAR
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DAMMON, REBECCA                      DAMON STEPHENS                        DAMON WILLIAMSON
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DAMON, BRUCE                         DAMON, ERICA                          DAMON, HAVERLY
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DAMON, LORA                          DAMORA, JAMIE                         DAMORE, CHRISTIE
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DAMORE, JULES                        DAMORE, JULIAN                        DAMORE, KRISTEN
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DAMORE, THOMAS                       DAMOUR, ROSEMARY                      DAMRON, ARLENE
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DAMRON, CHELSIE                      DAMRON, GORDON                        DAMRON, SCOTT
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DAMRON, SHERYL        Case 22-11238-LSS    Doc 2MARYFiled 11/30/22
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DAN EUGENE ROSELAND                  DAN H CONSTABLE                       DAN KLORES COMMUNICATIONS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        261 FIFTH AVE 2ND FLOOR
                                                                           NEW YORK, NY 10016




DAN LEAGUE                           DAN, CHENGMIN                         DAN, CHENGMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DANA & MARSHA MERRILL                DANA A GEHMAN                         DANA ALMARAZ
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DANA COVIT                           DANA COVIT                            DANA CRAGIN
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DANA ESTATES INC                     DANA GUNTHER                          DANA HARTFIELD
PO BOX 153                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUTHERFORD, CA 94573




DANA HIBBS                           DANA MATLAK KOETZ                     DANA PERRY
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DANA RODRIGUEZ                       DANA ROME                             DANA SCHWENT
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DANA SEEMAN                          DANA SUTTON                           DANA TEAGUE, DANA
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DANA YARBRO WHITE                    DANA, DAVID                           DANA, DAVIS,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DANA, DEENA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DANA, FRANCESCA                  Page 1110  of 5495
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DANA, MARISA                         DANAHER, DANIEL                       DANAHY, HEIDI
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DANALEWICH, JESSICA                  DANAN, AMIRA                          DANAN, PETER AND SUSAN
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DANBOM, MICHEAL                      DANBUSKY, JENNIFER                    DANCEL, BETHANY
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DANCER WOODLEY, GABBY                DANCH, ALEX                           DANCH, NANCY
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DANCY, ALEXANDRIA                    DANCY, HABEN                          DANCY, MEKA
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DANDAMUDI, ROOPA                     DANDASHI, NADIA                       DANDERS, DENNIS
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DANDOIS, DANIELLE                    DANDREA, COLE                         DANDREA, JEANNE
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DANDREA, SEAN                        DANE, KATHRYN                         DANEK, JACKIE
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DANEK, SHANNON                       DANEKAS, KRISTIN                      DANEKER, LAUREN
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DANELLO, BENTLEY      Case 22-11238-LSS    Doc 2JACQUELINE
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DANER, ELAINE                        DANES, BETH                           DANESH, MO
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DANETTE VECCHIO                      DANEY, UNDINE                         DANFORTH, ALLISON
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DANG GUAY, STEPHANIE                 DANG, CHRISTOPHER                     DANG, DESTINI
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DANG, HUONG                          DANG, KIMBERLY                        DANG, SYLVIA
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DANGEL, MEREDITH                     DANGELO, APRIL                        DANGELO, BRIDGET
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DANGELO, CARA                        DANGELO, CASEY                        DANGELO, HEATHER
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DANGELO, JUSTIN                      DANGELO, KAITY                        DANGELO, LORRAINE
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DANGELO, LOUIS                       DANGELO, MEREDITH                     DANGELO, NICOLE
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DANGELO, STEVE                       DANGERS, CHRISTINE                    DANGLES, KENDRA
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DANGOND, MARIA        Case 22-11238-LSS    Doc
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DANICO, ANNMARIE                     DANIEL A PAPULA                       DANIEL A RODRIGUEZ
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DANIEL ADAMS                         DANIEL AGO ROLLINGS                   DANIEL AND ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DANIEL BAUR                          DANIEL BISKUPSKI                      DANIEL BOYER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DANIEL BROADWATER                    DANIEL BUSBY                          DANIEL BUSBY
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DANIEL CALLOWAY                      DANIEL COLINA                         DANIEL CUA
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DANIEL DAVID WEST                    DANIEL DEITRICK                       DANIEL DIAZ
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DANIEL DORAN                         DANIEL DOUGLAS                        DANIEL EARL FRENCH
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DANIEL ERIC SHERIDAN                 DANIEL ERLANGER                       DANIEL ESPIN
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DANIEL FISHEL                        DANIEL GALBREATH NICHOLS REVOCABLE    DANIEL GALBREATH
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                                      DANIEL GLENN    Filed 11/30/22   Page 1113
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                                                                                   GOLDBECK
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DANIEL GONZALEZ                       DANIEL GRABER                         DANIEL GRINEVICH
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DANIEL H LYNAM                        DANIEL HALL                           DANIEL HAMILTON
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DANIEL HAYES-PATTERSON                DANIEL HOWARD DINGLE                  DANIEL J JOWISKI
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DANIEL J LICARI                       DANIEL J ZENDER                       DANIEL JOHN COSTELLO
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DANIEL JORDAN                         DANIEL JOSE ARAGON MAY                DANIEL JOSEPH RADER
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DANIEL KAUFMAN                        DANIEL L DECARVALHO JR                DANIEL LEHNHARD PA
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DANIEL LEWIS                          DANIEL MAKUROF                        DANIEL MCDONALD
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DANIEL MU                             DANIEL NAVARRO, DAN                   DANIEL PATRICK MCLEMORE
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DANIEL R BOTKIN                       DANIEL RADER                          DANIEL RICHARD KING
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DANIEL RIDER          Case 22-11238-LSS     Doc 2 SNYDER
                                     DANIEL ROBERT   Filed 11/30/22   Page 1114
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DANIEL RODRIGUEZ GARCIA              DANIEL ROMERO                         DANIEL S SAUNDERS
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DANIEL SAMPSON                       DANIEL SAUGH                          DANIEL SECUYA
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DANIEL SELLARS                       DANIEL STARK                          DANIEL TAO
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DANIEL THOMAS WIEDERKEHR             DANIEL VALENTINE JONES                DANIEL WAGNER
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DANIEL WHITE                         DANIEL WIGGINS                        DANIEL WILLIS
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DANIEL WOLFANGER                     DANIEL, BRANTLEY                      DANIEL, BRUCE
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DANIEL, BRYAN                        DANIEL, CATHERINE                     DANIEL, CHARLES
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DANIEL, COURTNEY                     DANIEL, ERIN                          DANIEL, JAMILA
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DANIEL, JASPER                       DANIEL, JEAN                          DANIEL, JEANNIE
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DANIEL, JESSICA       Case 22-11238-LSS
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DANIEL, KATIE                        DANIEL, KAYLA                         DANIEL, KAYLEE
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DANIEL, LAURA                        DANIEL, LEAH                          DANIEL, LINDSAY
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DANIEL, MAGGIE                       DANIEL, MALLORY                       DANIEL, MICHELLE
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DANIEL, NASH                         DANIEL, PAM                           DANIEL, RANDALL
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DANIEL, SHELBY                       DANIEL, SHELBY                        DANIEL, STEPHANIE
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DANIEL, STEVEN                       DANIEL, TYLER                         DANIEL, VICTOR
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DANIEL, WILLIE                       DANIELA TRIANA                        DANIELE, JOSEPH
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DANIELE, NICO                        DANIELI, CAMILLE                      DANIELL, MELISSA
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DANIELLA BIANCHI                     DANIELLE ALBERICO                     DANIELLE CALLEAR
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DANIELLE CHAFFEE      Case 22-11238-LSS     Doc
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DANIELLE DUNCAN                      DANIELLE GARBIS                       DANIELLE GROVES
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DANIELLE HOHOS                       DANIELLE KIEVIT                       DANIELLE LARKIN
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DANIELLE LEE                         DANIELLE LEFFERTS                     DANIELLE LYNN PRAY
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DANIELLE MAIALE                      DANIELLE MARIE NAUGLER                DANIELLE SHARAPAN
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DANIELLE SIGISMONDO                  DANIELLE SILVEIRA                     DANIELLE STOKEN
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DANIELLE SUKIS                       DANIELLE SUPYK                        DANIELLE TAL
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DANIELLE TORRES                      DANIELLE W HAMBLETT                   DANIELLE WILLIAMS-RIVERA
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DANIELLE, BAILEY                     DANIELLE, NAKI                        DANIELLE, RENNA
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DANIELS, ADELLE                      DANIELS, ALESIA                       DANIELS, ALEX
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DANIELS, ANDRE        Case 22-11238-LSS     Doc
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DANIELS, BRYCE                       DANIELS, CARLEN                        DANIELS, CINDY
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DANIELS, CLARE                       DANIELS, CLIFFORD                      DANIELS, COURTNEY
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DANIELS, DEBORAH                     DANIELS, DIANE                         DANIELS, EDGAR
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DANIELS, ELIZABETH                   DANIELS, EMILY                         DANIELS, HEATHER
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DANIELS, HEATHER                     DANIELS, HEIDI                         DANIELS, JAMIE
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DANIELS, JANET                       DANIELS, JANET                         DANIELS, JESSICA
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DANIELS, JOHN                        DANIELS, JOHN                          DANIELS, JONATHAN
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DANIELS, JOSEPH                      DANIELS, KAI                           DANIELS, KAYLIN
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DANIELS, KELLY                       DANIELS, KELLY                         DANIELS, KYLA
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DANIELS, LAURA        Case 22-11238-LSS     Doc
                                     DANIELS,    2 Filed 11/30/22
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                                                                           DANIELS, 5495
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DANIELS, LAVINIA                     DANIELS, LISA                         DANIELS, MADISON AND JONATHAN
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DANIELS, MARIE                       DANIELS, MELISSA                      DANIELS, MICHAEL
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DANIELS, NATASHA                     DANIELS, NOELLE                       DANIELS, ROBIN
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DANIELS, RUSSELL                     DANIELS, RYNE                         DANIELS, SHARON
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DANIELS, SHELLY                      DANIELS, TEMISHA                      DANIELS, THERESA
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DANIELS, WAYNE                       DANIELS, YOKIANA                      DANIELSEN, SOMMER
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DANIELSON, AVERY                     DANIELSON, CHLOE                      DANIELSON, ELIZABETH
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DANIELSON, ELYSE                     DANIELSON, HANNAH                     DANIELSON, KARISSA
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DANIELSON, KATIE                     DANIELSON, KATIE                      DANIELSON, MAGGIE
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DANIELSON, MEGAN      Case 22-11238-LSS     DocMIKE
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                                                                           DANIELSON, PAIGE
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DANIELSON, ROBERT                    DANIELSON, STACY                       DANIELSON, TAMARA
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DANIELSON, TAYLOR                    DANIELSON, TAYLOR                      DANIELSON, WADE
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DANIHEL, DONNA                       DANIHY-TORPEY, KRISTEN                 DANIIL KRETS
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DANILE, LAURA                        DANILIUK, ASHLEY                       DANILO ANTONIO SANTOS
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DANILOVA, IRINA                      DANILOVICH, NADIA                      DANILSON, BRETT
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DANIS, ANGIE                         DANIS, CHRISTINA                       DANKER, POPPY
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DANKERS, DAVID                       DANKERT, REBECCA                       DANKMYER, NORA
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DANKO, JERRY                         DANKS, RYAN                            DANLEY, OLIVIA
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DANN, CAROLINE                       DANN, LAUREN                           DANN, RISA
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DANNA NGO             Case 22-11238-LSS    Doc 2 Filed 11/30/22
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DANNA, KATHLEEN                      DANNA, MERT                             DANNA, NICOLE
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DANNAKER, MARAYA                     DANNENBERG, JULIE                       DANNER, CARRIE
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DANNER, DAVID                        DANNER, JESSICA                         DANNER, MONICA
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DANNER, SAMANTHA                     DANNER, STEPHANIE                       DANNER, TIERNEY
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DANNEWITZ, BRENDA                    DANNHAUER, MARI                         DANNS, KYM
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DANNUNZIO, ALEX                      DANNY HOOD                              DANNY MARQUEZ
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DANNY MATHEW                         DANOFF, ALEX                            DANOVICH, HORACIO
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DANOWSKI, MORGAN                     DANS PAPER                              DANSBY, KAMARIA
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DANSCHIN, MAYRA                      DANSELMI, JOHN                          DANT, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DANTAN WERNECKE       Case 22-11238-LSS
                                     DANTAS,Doc  2 Filed 11/30/22
                                             ASHLEY                     Page 1121 ofJOSEPH
                                                                             DANTAS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DANTAS, PAUL                         DANTAXI                                 DANTIMO, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




DANTONA, CHRIS                       DANTONI, CLAIRE                         DANTONI, JANET
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DANTONIO, JOHN                       DANTONIO, KIMBERLY                      DANTONIO, PETER
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DANTU, SANJEEVA                      DANTUONO, MORGAN                        DANTZLER, FRANCES
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DANUSER, TRENESA                     DANVERS, DONNA MARIE                    DANVERS, GREGORY
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DANY KHALEK                          DANYLYK, SVYATOSLAV                     DANZ, ANNA
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DANZ, ARIC                           DANZ, EMILY                             DANZ, TODD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DANZEY, CHARLES                      DANZIG, HALEY                           DANZIGER, DIANNE
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DANZIGER, LUC                        DANZIGER, MALINDA                       DAO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DAO, LAM              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DAO, LYNDA                       Page 1122  of 5495
                                                                           DAO, QUANG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAO, TIEN                            DAOUD, SARA                           DAOUD, SARA
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DAOULABANI, SUSAN                    DAOUPHARS, PHILIPPE                   DAPHNIS, ASHLEY
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DAPKUS, PAUL                         DAPOLITO, SHARON                      DAPP, BRIAN
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DAPPEN, SLAYDE                       DAPPER, KELLIE                        DAPPER, SAMANTHA
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DAPRA, NICOLE                        DAPRANO, ANNE                         DAPRIZIO, PEYTON
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DAQUILA, CHRISTINA                   DAQUINO, OTTAVIA                      DAQUINO, RITA
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DAR MANARANG LLC                     DARAMOLA, ZAHRA                       DARAPHON, ANGELA
1585 W TEDMAR AVE                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ANAHEIM, CA 92802




DARBANDI, MOHAMMAD                   DARBY HART                            DARBY, ALLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DARBY, BRADLEY                       DARBY, JAYNE                          DARBY, KATHRYN
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DARBY, KAYLA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DARBY, LANDERS                   Page 1123
                                                                           DARBY,of 5495
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DARBY, NAN                           DARCANGELO, JESSE                     DARCEY MERIDITH
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DARCEY, BECKAH                       DARCH, CAROLINE                       DARCHI, NOELLE
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DARCI, TESS                          DARCY KORHONEN                        DARCY LYLE
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DARCY, BERNICE                       DARCY, NICOLE                         DARCY, SARAH
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DARCY, TAYLOR                        DARDARIS, CHRISTOPHER                 DARDEN, ALISHA
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DARDEN, MICHAEL                      DARDEN, NOLA                          DARDEN, PARIN
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DARDEN, RHONDA                       DARDEN, VICKI                         DARDIS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DARE, JONATHAN                       DARENSBOURG, ALLISON                  DARENSBOURG, TASHA
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DARGAHI, CIARA                       DARGAN, KEVIN                         DARGART, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DARGENZIO, JENNA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           DARIA SNEGOVSKIKH
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DARIAN, SOPHIA                       DARIEN, BREE                          DARIENZO, KAITLYN
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DARIENZO, LAURIE                     DARIGO, JACLYN                        DARIIA KOSHELENKO
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DARILEK, SAMANTHA                    DARIN HOLT                            DARIN MACRAE
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DARIN SCOTT                          DARIO VERGARA                         DARITH NGOY
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DARKEY, HANNAH                       DARKOW, KATIE                         DARLA KAY MILLER
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DARLENE BONG                         DARLENE BRIENZA                       DARLENE CHRISTY
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DARLEY, AMY                          DARLEY, HEIDI                         DARLING, ALIVIA
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DARLING, ANGELA                      DARLING, ANN                          DARLING, DEB
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DARLING, DIA                         DARLING, ERIN                         DARLING, GRACE
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DARLING, JILL         Case 22-11238-LSS    Doc
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                                                                           DARLINGTON, AUDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DARLINGTON, BEN                      DARLINGTON, CATHERINE                 DARLINGTON, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DARLINGTON, FRED                     DARMANIN, TRUDIE                      DARMODY, SIOBHAN
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DARMON, ZACH                         DARNABY, KATHERINE                    DARNELL, ASHTON
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DARNELL, LIZ                         DARNELL, SHEREA                       DARNELL, TAYLOR
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DARNER, LARA                         DARNER, STEPHANIE                     DARNEY, HEATHER
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DARNEY, SARAH                        DARNOLD, AMY                          DARO, KIMBERLY
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DAROFF, JOURDAN                      DAROS, BEVERLY                        DAROSA, KATHLEEN
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DARPA, JESSICA                       DARR, CAROLINE                        DARR, CHRISTENE
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DARR, NOLAN                          DARR, SARAH                           DARRAGH, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DARRAGH, MICHELLE     Case 22-11238-LSS
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                                                                                    SEAHORN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DARRELL B JOHNSON                    DARRELL BROWN                           DARREN BRUNGARDT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DARREN CHAPPELL                      DARREN SMITH                            DARREN TETSUO KANENAGA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DARREN TSUCHIYA                      DARRENS RESTAURANT                      DARRIE GARTH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




DARRIE                               DARRIN, LANA                            DARRINGTON, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DARROUGH, LEXIE                      DARROW, ALLAYANA                        DARROW, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DARROW, NICHOLAS                     DARRYL DOCTOR                           DARRYL HALL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DARRYL MOLINA                        DARRYL WASH                             DARRYL WASHINGTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DARSEY, KAYLA                        DARSHAK PATEL                           DART, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DART, PAULA                          DART, RACHAEL                           DARTNELL, MALIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DARTY, STORMI         Case 22-11238-LSS    Doc
                                     DARVEAU,    2 Filed 11/30/22
                                              EMILY                   Page 1127  of 5495
                                                                           DARVILLE, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DARVISH, SAYEH                       DARWAZEH, AMANDA                       DARWENT, CELESTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DARWIN AI, LLC                       DARWIN, CAITLIN                        DARWIN, LIZA
318 W ADAMS ST 1612                  ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60606




DARYL F MCCLENDON                    DAS, AHANA                             DAS, DEBLEENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAS, HRILINA                         DAS, RANJAN                            DAS, RASHMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAS, REWD                            DAS, RINI                              DAS, SUDIPA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DASARATHY, KESHAVA                   DASCENZIO, MALLORY                     DASCENZO, MAKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DASCHUK, MICHELLE                    DASCO, DYLAN                           DASCOLI, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DASH TWO, INC                        DASH, LAURA                            DASH, LESA
11645 MONTANA 223                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90049




DASH, MALLORY                        DASH, SHELBY                           DASHARA JACKSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DASHEVSKY, BRIANNE    Case 22-11238-LSS    DocLILIA
                                     DASHEVSKY, 2 Filed 11/30/22       Page 1128  of 5495
                                                                            DASHIELL, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DASIKA, ADINARAYANA                  DASILVA, BEATA                         DASILVA, FATIMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DASILVA, GABRIELLE                   DASILVA, JILLIAN                       DASILVA, JOSE
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DASILVA, MEGAN                       DASILVA, MICHAEL                       DASPIT, FATIMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DASS, JORDYN                         DASU, ANITA                            DASWANI, L
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAS-YOUNG, LEENA                     DATA NET COMMUNICATIONS, INC.          DATARI, SUSHMITA
ADDRESS AVAILABLE UPON REQUEST       24338 EL TORO RD. SUITE E-239          ADDRESS AVAILABLE UPON REQUEST
                                     LAGUNA WOODS, CA 92637




DATASITE LLC                         DATASITE LLC                           DATASITE LLC
733 S. MARQUETTE AVE                 733 S. MARQUETTE AVE, SUITE 600        733 S. MARQUETTE AVE, SUITE 600
MINNEAPOLIS, MN 55402                MINNEAPOLIS, MN 55402                  RICK ATTERBUNY, PRESIDENT & COO
                                                                            MINNEAPOLIS, MN 55402




DATE, ANJALI                         DATE, JESSIE                           DATES, RITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DATRES, CARNIE                       DATSERIS, KENDALL                      DATTA SAMBARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DATTA, ADITI                         DATTA, DHRUV                           DATTA, SIMARJYOT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DATTOLO, MICHELLE     Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DATZ, NICOLE                     Page 1129 of 5495
                                                                           DATZMAN, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAU, EMMA                            DAU, STEVEN                           DAUB, LINDSEY
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DAUBE, DANIEL                        DAUBENHAUSER, NINAROSE                DAUBERT, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAUBERT, KATIE                       DAUBMAN, BREANNA                      DAUGHARTHY, JENNIFER
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DAUGHERTY, APRIL                     DAUGHERTY, AUSTIN                     DAUGHERTY, CHARLIE
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DAUGHERTY, CHARLOTTE                 DAUGHERTY, CHRISTINE                  DAUGHERTY, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAUGHERTY, ELEANOR                   DAUGHERTY, ERIN                       DAUGHERTY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAUGHERTY, JUSTIN                    DAUGHERTY, KAMMIE                     DAUGHERTY, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAUGHERTY, LAUREN                    DAUGHERTY, LORI                       DAUGHERTY, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAUGHERTY, RAE                       DAUGHERTY, ROBERT J.                  DAUGHERTY, TRENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DAUGHERTY, WILL       Case 22-11238-LSS    DocBRENT
                                     DAUGHRITY, 2 Filed 11/30/22         Page 1130 of 5495
                                                                              DAUGHTERS, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAUGHTRY, KAILA                         DAUGHTRY, LADONNA                      DAUGUSTA, DAVID
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAUKSAVAGE, MARY                        DAUL, RYAN                             DAUM, ALY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAUM, KAREN                             DAUNHAUER, CHRIS                       DAUNT, DANIELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAURIA, DAWN                            DAURIA, JOE                            DAURIO, DOMINIC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAURIZIO, KAYLA                         DAUSCH, CAROLINE                       DAUSES, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAUSMAN, DAVID                          DAUT, SHAWN                            DAUTAS, MELISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVE & BUSTERS                          DAVE LEWIS                             DAVE ZYBOWSKI
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVE, KING                              DAVELAAR, GAGE                         DAVENDER BHARDWAJ
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVENNY, LUCY                           DAVENPORT, ALISON                      DAVENPORT, ALMA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DAVENPORT, BAILEY     Case 22-11238-LSS    Doc BONNIE
                                     DAVENPORT, 2 Filed 11/30/22      Page 1131 of 5495
                                                                           DAVENPORT, BRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVENPORT, CRYSTAL                   DAVENPORT, DEBORAH                     DAVENPORT, DOMINIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVENPORT, EDGAR                     DAVENPORT, EILEEN                      DAVENPORT, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVENPORT, EMILY                     DAVENPORT, ERIN                        DAVENPORT, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVENPORT, KATE                      DAVENPORT, KAYLYN                      DAVENPORT, KD KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVENPORT, MELAYNA                   DAVENPORT, MICHELLE                    DAVENPORT, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVENPORT, NICOLE                    DAVENPORT, SHAHEED                     DAVERN, KELI
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DAVES, ALYSA                         DAVES, JONATHAN                        DAVES, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVEY, ALEXANDRA                     DAVEY, AUSTIN                          DAVEY, CYNTHIA
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DAVEY, JESSICA                       DAVEY, KAITLYN                         DAVEY, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DAVEY, KEVIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DAVEY, MARGY                     Page 1132
                                                                           DAVEY,of 5495
                                                                                 MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVEY, MARY                          DAVEY, MITCH                          DAVEY, MYCHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVEY, VICTORIA                      DAVI, RICHARD                         DAVIA, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIA, PAUL                          DAVID & SONS INC.                     DAVID A ELLEY
ADDRESS AVAILABLE UPON REQUEST       339 WASHINGTON BLVD.                  ADDRESS AVAILABLE UPON REQUEST
                                     VENICE, CA 90292




DAVID A HAYWARD                      DAVID A PENN                          DAVID A PRITCHETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID A ROSENBAUM                    DAVID A SHOCKET                       DAVID ALAN WAGNER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID ANDREW DAHL                    DAVID ANTHONY DEROSE                  DAVID ANTHONY KUTCH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID ANTHONY STEWART                DAVID ASHLEY                          DAVID BAKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID BARLOW                         DAVID BECHARA                         DAVID BECK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID BELANGER                       DAVID BENHAMOU                        DAVID BERANEK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DAVID BERLIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DAVID BERNAL                     Page 1133  of 5495
                                                                           DAVID BIRSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID BREGIO                         DAVID CHARLES SAURUSAITIS             DAVID CHECEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID CHRISTOPHER BONES              DAVID COLE                            DAVID COX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID DANNEMILLER                    DAVID DE WISPELAERE                   DAVID DIANGELO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID DILLON                         DAVID DOUGLASS HEARNE                 DAVID DYJUR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID E BAXLEY                       DAVID EVANS                           DAVID FRANKLIN REVOCABLE TRUST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID FURTADO                        DAVID GOODMAN                         DAVID GREENHAUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID H ELLIS                        DAVID H JONES                         DAVID H STEUER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID H WONG                         DAVID HAROLD WARE                     DAVID HARRISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID HAWBAKER                       DAVID HEROUX                          DAVID J ZEHRING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DAVID JOHN CLAYTON    Case 22-11238-LSS     DocKRUEGER
                                     DAVID JOHN 2 Filed 11/30/22          Page 1134  of 5495
                                                                               DAVID KEBEBAW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID KOCH                           DAVID KULAKOFSKY                          DAVID L PHILLIPS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID LAYNE                          DAVID LECOMTE, CITY WINERY PIER 57        DAVID LEE BOONE JR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID LEE DUNNAVANT                  DAVID LEE JOHNSON                         DAVID LEE NEWMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID LUDWICK                        DAVID M DUFENHORST                        DAVID M DURHAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID M KUSHNER                      DAVID M MALONE & BRENNA M MALONE          DAVID M. RAGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID MACLENNAN                      DAVID MARKERT                             DAVID MARTINELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID MCCARRON                       DAVID MEW                                 DAVID MILLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID MYRES                          DAVID ODELL                               DAVID ORTIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DAVID OSBUN                          DAVID OTERO                               DAVID PAUL HOGUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
DAVID PAUL WAKFER     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DAVID PEREZ                      Page 1135  of 5495
                                                                           DAVID PERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID PETERS                         DAVID PINION                          DAVID PLATTS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID QUIJANO                        DAVID R DEVEREAUX                     DAVID R KWONG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID R MOTES                        DAVID RAY JONES                       DAVID ROAHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID ROBERT LUDWIG                  DAVID RODRIGUEZ, ALAN                 DAVID ROSEN BAKERY SUPPLIES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        5921 QUEENS MIDTOWN EXPRESSWAY
                                                                           MASPETH, NY 11378-1220




DAVID ROSS HANSEN                    DAVID RUKUNDO                         DAVID S WEBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID SANNA                          DAVID SARNOFF                         DAVID SASSER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID SCHNEIDER ANDERSON             DAVID SCOTT LOGIE                     DAVID SEMON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID SIPPLE                         DAVID SMITH                           DAVID STACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID STEELE                         DAVID SUBICH                          DAVID SUTER AND PATSY SUTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        REVOCABLE TRUST
                                                                           ADDRESS AVAILABLE UPON REQUEST
DAVID T COCETTI       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DAVID THORPE                     Page 1136   of 5495
                                                                           DAVID TOSHIO ARAKAKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVID TROVATO                        DAVID TROYA                            DAVID VANINGEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVID WALLACE                        DAVID WALLIS                           DAVID WARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVID WEBB                           DAVID Z RING III                       DAVID, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVID, CARLY                         DAVID, CLARK                           DAVID, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVID, DREW                          DAVID, FERN                            DAVID, JEANNETTE
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DAVID, JEN                           DAVID, JEREMY                          DAVID, JOY
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DAVID, KAITLYN                       DAVID, KARREE                          DAVID, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVID, LAUREN                        DAVID, MR.                             DAVID, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVID, NATHEMA                       DAVID, RACHEL                          DAVID, REGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DAVID, ROBERT         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVID, STEFFANIE                 Page 1137   of 5495
                                                                           DAVID, TOBYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVID, TRAMAINE                      DAVID, URSULA                         DAVIDE, GALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIDGE, JOE                         DAVIDIAN, LIZA                        DAVIDOFF, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIDOVICH, ANNA                     DAVIDOVICH, ELIZABETH                 DAVIDOVICZ, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIDS BRIDAL LLC                    DAVIDS, MARY                          DAVIDSBURG, ELISHA
1001 WASHINGTON STREET               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CONSHOHOCKEN, PA 19428




DAVIDSEN, CAROLINE                   DAVIDSON, ALANA                       DAVIDSON, ALISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, AMANDA                     DAVIDSON, AMANDA                      DAVIDSON, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, AMY                        DAVIDSON, AMY                         DAVIDSON, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, ANTHONY                    DAVIDSON, ASHLEE                      DAVIDSON, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, ASHLEY                     DAVIDSON, BRIDGET                     DAVIDSON, CANDYCE
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DAVIDSON, CAROLYN     Case 22-11238-LSS    Doc
                                     DAVIDSON,   2 Filed 11/30/22
                                               CARRIE                 Page 1138  of 5495
                                                                           DAVIDSON, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, CHRISTINA                  DAVIDSON, CLAYTON                      DAVIDSON, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, DANIEL                     DAVIDSON, DEBORAH                      DAVIDSON, DENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, DESIREE                    DAVIDSON, DEVON                        DAVIDSON, DIANA
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DAVIDSON, EKATERINA                  DAVIDSON, ELIZABETH                    DAVIDSON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, ELLEN                      DAVIDSON, EMILY                        DAVIDSON, EMILY
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DAVIDSON, ERIN                       DAVIDSON, ERIN                         DAVIDSON, GAYLA
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DAVIDSON, GAYLE                      DAVIDSON, GINGER                       DAVIDSON, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, HARLEY                     DAVIDSON, HARRY                        DAVIDSON, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, JAMIE                      DAVIDSON, JANE                         DAVIDSON, JENNA
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DAVIDSON, JENNIFER    Case 22-11238-LSS    Doc
                                     DAVIDSON,   2 Filed 11/30/22
                                               JENNY                  Page 1139  of 5495
                                                                           DAVIDSON, JESSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, JESSICA                    DAVIDSON, JIM                          DAVIDSON, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, JOSH                       DAVIDSON, KAITLYN                      DAVIDSON, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, KATHLEEN                   DAVIDSON, KIM                          DAVIDSON, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, LINDA                      DAVIDSON, LINDA                        DAVIDSON, LINDSEY
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DAVIDSON, LYNN                       DAVIDSON, MACKENZIE                    DAVIDSON, MADELEINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, MATTHEW                    DAVIDSON, MELISSA                      DAVIDSON, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, MORGAN                     DAVIDSON, PATRICIA                     DAVIDSON, ROB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, ROCKI                      DAVIDSON, RUSSELL                      DAVIDSON, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DAVIDSON, SARAH                      DAVIDSON, SAVANNAH                     DAVIDSON, SHAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DAVIDSON, STEPHANIE   Case 22-11238-LSS    Doc
                                     DAVIDSON,   2 Filed 11/30/22
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                                                                           DAVIE, IRYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIES, ALISON                       DAVIES, ANNA                          DAVIES, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIES, DANIEL                       DAVIES, DANIEL                        DAVIES, DARLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIES, DEVON                        DAVIES, JENNY                         DAVIES, JOANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIES, KAILY                        DAVIES, KATE                          DAVIES, KATHY
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DAVIES, KEVIN                        DAVIES, KRISTIN                       DAVIES, LEAH
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DAVIES, LIZ                          DAVIES, LYNCEE                        DAVIES, MCKENZIE
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DAVIES, MICHAELA                     DAVIES, MIRANDA                       DAVIES, NINA
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DAVIES, OWAIN                        DAVIES, RICHARD                       DAVIES, ROBYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIES, SARAH                        DAVIES, SEAN                          DAVIES, STEPHANIE
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DAVIES, VICTORIA      Case 22-11238-LSS    Doc
                                     DAVIGNON,   2 Filed 11/30/22
                                               CAT                    Page 1141  of 5495
                                                                           DAVIGNON, DANIELLE
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DAVIGNON, JESSIE                     DAVIGNON, TERESA                       DAVILA, ALMA
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DAVILA, AUTUMN                       DAVILA, BRITTANY                       DAVILA, BRONWYN
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DAVILA, KATIE                        DAVILA, KELLY                          DAVILA, KELLY
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DAVILA, LINDSEY                      DAVILA, MARY                           DAVILA, MELANIE
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DAVILA, SHARON                       DAVILA, SOFIA                          DAVIN, AIMEE
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DAVINO, TARYN                        DAVIO, CORRINNE                        DAVIS JR, JOHNNY E
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DAVIS WRIGHT TREMAINE LLP            DAVIS, AARON                           DAVIS, ACACIA
1300 S. W. FIFTH AVENUE, STE 2400    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SEATTLE, OR 97201-5610




DAVIS, ADAISHA                       DAVIS, ALEX                            DAVIS, ALEX
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DAVIS, ALEXANDRA                     DAVIS, ALEXANDRIA                      DAVIS, ALEXANDRIA
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DAVIS, ALI            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, ALICIA                    Page 1142   of 5495
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DAVIS, ALLISON                       DAVIS, ALLISON                        DAVIS, ALYSSA
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DAVIS, ALYSSA                        DAVIS, ALYZABETH                      DAVIS, AMANDA
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DAVIS, AMANDA                        DAVIS, AMANDA                         DAVIS, AMY
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DAVIS, AMY                           DAVIS, AMY                            DAVIS, ANDRA
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DAVIS, ANDREA                        DAVIS, ANDREW                         DAVIS, ANDREW
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DAVIS, ANGELA                        DAVIS, ANGELYN                        DAVIS, ANGIE
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DAVIS, ANGIE                         DAVIS, ANN                            DAVIS, ANNAMARIE
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DAVIS, ANNIE                         DAVIS, ANTHONY                        DAVIS, ASHLEIGH
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DAVIS, ASHLEY                        DAVIS, AUTUMN                         DAVIS, BABETTE
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DAVIS, BAILEY         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, BARBARA                   Page 1143   of 5495
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DAVIS, BAYCEL                        DAVIS, BEN                            DAVIS, BENJAMIN
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DAVIS, BERLYN                        DAVIS, BERRY                          DAVIS, BETH
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DAVIS, BETHANY                       DAVIS, BETSY                          DAVIS, BEVERLY
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DAVIS, BRANDI                        DAVIS, BRANDON                        DAVIS, BREE
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DAVIS, BRENT                         DAVIS, BRIAN                          DAVIS, BRITTANY
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DAVIS, BRITTANY                      DAVIS, BROCK                          DAVIS, BROOK
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DAVIS, BROOKE                        DAVIS, BRYAN                          DAVIS, BRYTTANI
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DAVIS, CAITLIN                       DAVIS, CAITLIN                        DAVIS, CAMEO
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DAVIS, CAMERON                       DAVIS, CAMILLE                        DAVIS, CAREN
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DAVIS, CARMA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, CAROL                     Page 1144   of 5495
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DAVIS, CAROLINE                      DAVIS, CASEY                           DAVIS, CASEY
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DAVIS, CASEY                         DAVIS, CASSIDY                         DAVIS, CATHERINE
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DAVIS, CATHERINE                     DAVIS, CATHERINE                       DAVIS, CATIE
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DAVIS, CAYSEE                        DAVIS, CHANCE                          DAVIS, CHANEL CHRISTOFF
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DAVIS, CHARISSA                      DAVIS, CHARISSA                        DAVIS, CHARLES
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DAVIS, CHASE                         DAVIS, CHELSEA                         DAVIS, CHELSEY
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DAVIS, CHERYL                        DAVIS, CHRISTEN                        DAVIS, CHRISTIAN
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DAVIS, CHRISTOPHER                   DAVIS, CHRISTY                         DAVIS, CHRISTY
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DAVIS, CINDY                         DAVIS, CLAIRE                          DAVIS, CLAUDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DAVIS, CODY           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, COLBY                     Page 1145   of 5495
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DAVIS, CONNOR                        DAVIS, COURTNEY                       DAVIS, COURTNEY
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DAVIS, COURTNEY                      DAVIS, COURTNEY                       DAVIS, CRYSTAL
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DAVIS, CYNTHIA                       DAVIS, DANIEL & TIFFANY               DAVIS, DANIELLE
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DAVIS, DANIELLE                      DAVIS, DARCY                          DAVIS, DARREN
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DAVIS, DAVID                         DAVIS, DAWN                           DAVIS, DEBBIE
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DAVIS, DEBORAH                       DAVIS, DENICE                         DAVIS, DENISE
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DAVIS, DESIREE                       DAVIS, DEVON                          DAVIS, DIANA
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DAVIS, DOMINI                        DAVIS, DOMINIC                        DAVIS, DONALD
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DAVIS, DONNA                         DAVIS, DONNA                          DAVIS, DONNA
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DAVIS, DONNA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, DORA                      Page 1146   of 5495
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DAVIS, DYLAN                         DAVIS, DYSON                          DAVIS, ED
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DAVIS, EDENS                         DAVIS, EILEEN                         DAVIS, ELAINE
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DAVIS, ELENA                         DAVIS, ELIZABETH                      DAVIS, ELIZABETH
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DAVIS, ELIZABETH                     DAVIS, ELLIE                          DAVIS, EMILEE
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DAVIS, EMILY RACHAEL                 DAVIS, EMILY                          DAVIS, EMILY
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DAVIS, EMILY                         DAVIS, EMILY                          DAVIS, EMILY
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DAVIS, EMILY                         DAVIS, EMILY                          DAVIS, EMY
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DAVIS, ERIC                          DAVIS, ERIC                           DAVIS, ERICA
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DAVIS, ERICA                         DAVIS, ERICA                          DAVIS, ERIKA
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DAVIS, ERIKA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, ERIN                      Page 1147   of 5495
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DAVIS, ESSENSE                       DAVIS, FAWN                           DAVIS, FORREST
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DAVIS, FORREST                       DAVIS, GABRIELLA                      DAVIS, GABRIELLE
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DAVIS, GARY                          DAVIS, GAYLE                          DAVIS, GEORGE
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DAVIS, GINA                          DAVIS, GINNY                          DAVIS, GRACE
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DAVIS, GREG                          DAVIS, HALEY                          DAVIS, HALEY
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DAVIS, HALEY                         DAVIS, HANNAH                         DAVIS, HANNAH
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DAVIS, HANNAH                        DAVIS, HANNAH                         DAVIS, HARRY
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DAVIS, HEATHER                       DAVIS, HILARY                         DAVIS, HILLARY
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DAVIS, HOLLY                         DAVIS, HOLLY                          DAVIS, HOLLY
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DAVIS, ILYSSA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, IRMA                      Page 1148   of 5495
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DAVIS, JAKE                          DAVIS, JANE                            DAVIS, JANET
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DAVIS, JANICE                        DAVIS, JANIE                           DAVIS, JENNIFER
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DAVIS, JENNIFER                      DAVIS, JENNIFER                        DAVIS, JENNIFER
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DAVIS, JENNIFER                      DAVIS, JENNIFER                        DAVIS, JEREMY
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DAVIS, JESIKA                        DAVIS, JESSA                           DAVIS, JESSICA
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DAVIS, JESSICA                       DAVIS, JESSICA                         DAVIS, JESSIE
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DAVIS, JILL                          DAVIS, JOAN                            DAVIS, JOANNA
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DAVIS, JOELLE                        DAVIS, JOHN                            DAVIS, JOHN
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DAVIS, JONATHAN                      DAVIS, JORDAN                          DAVIS, JORDAN
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DAVIS, JORDAN         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, JORDAN                    Page 1149   of 5495
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DAVIS, JORDAN                        DAVIS, JOSEPHINE                      DAVIS, JOY
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DAVIS, JUDY                          DAVIS, JULEE                          DAVIS, JULIA
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DAVIS, JUSTIN                        DAVIS, KACI                           DAVIS, KAREN
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DAVIS, KARI RAE                      DAVIS, KASEY                          DAVIS, KAT
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DAVIS, KATELIN                       DAVIS, KATELYN                        DAVIS, KATHERINE
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DAVIS, KATHERINE                     DAVIS, KATHERINE                      DAVIS, KATHERINE
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DAVIS, KATHLEEN                      DAVIS, KATHY                          DAVIS, KATHY
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DAVIS, KATHY                         DAVIS, KATIE                          DAVIS, KATIE
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DAVIS, KATIE                         DAVIS, KATIE                          DAVIS, KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DAVIS, KAY            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, KAYCEE                    Page 1150   of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIS, KELLIE                        DAVIS, KELLY                          DAVIS, KELLY
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DAVIS, KELLY                         DAVIS, KELLY                          DAVIS, KELLY
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DAVIS, KELLY                         DAVIS, KELSEY                         DAVIS, KELSEY
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DAVIS, KENDRA                        DAVIS, KERRY                          DAVIS, KEVIN
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DAVIS, KEVIN                         DAVIS, KIARA                          DAVIS, KIM
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DAVIS, KIM                           DAVIS, KIMBERLY                       DAVIS, KIMBERLY
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DAVIS, KIMBERLY                      DAVIS, KIMBERLY                       DAVIS, KIMBERLY
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DAVIS, KRISSY                        DAVIS, KRISTEN                        DAVIS, KRISTEN
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DAVIS, KRISTEN                       DAVIS, KRISTOPHER                     DAVIS, KYLEEN
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DAVIS, KYLIE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, LACEY                     Page 1151   of 5495
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DAVIS, LARISSA                       DAVIS, LAURA                          DAVIS, LAURA
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DAVIS, LAURA                         DAVIS, LAURA                          DAVIS, LAUREN
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DAVIS, LAUREN                        DAVIS, LAUREN                         DAVIS, LAUREN
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DAVIS, LESLIE                        DAVIS, LEW                            DAVIS, LINDA
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DAVIS, LINDA                         DAVIS, LINDA                          DAVIS, LINDSEY
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DAVIS, LISA                          DAVIS, LISA                           DAVIS, LIZ
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DAVIS, LONNIE                        DAVIS, LORRAINE                       DAVIS, LOU
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DAVIS, LOYCE                         DAVIS, LUCIA                          DAVIS, LUCY
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DAVIS, LYNDSAY                       DAVIS, M. CYNTHIA                     DAVIS, MADISON
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DAVIS, MAGGIE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, MARCIA                    Page 1152   of 5495
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DAVIS, MARIA                         DAVIS, MARIANNE                        DAVIS, MARIE
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DAVIS, MARISSA                       DAVIS, MARK                            DAVIS, MARK
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DAVIS, MARK                          DAVIS, MARKUS                          DAVIS, MARTIN
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DAVIS, MARVAN                        DAVIS, MARY KATHERINE                  DAVIS, MATTHEW
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DAVIS, MAX                           DAVIS, MAXINE                          DAVIS, MAYA
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DAVIS, MCKENZIE                      DAVIS, MCKENZY                         DAVIS, MEGAN
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DAVIS, MEGAN                         DAVIS, MEGHAN                          DAVIS, MEGHAN
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DAVIS, MELANEE                       DAVIS, MELISSA                         DAVIS, MELISSA
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DAVIS, MELISSA                       DAVIS, MEREDITH                        DAVIS, MICHAEL H
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DAVIS, MICHAEL        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, MICHELE                   Page 1153   of 5495
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DAVIS, MICHELLE                      DAVIS, MICHELLE                        DAVIS, MICHELLE
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DAVIS, MOLLY                         DAVIS, MORRIS                          DAVIS, MORRIS
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DAVIS, NANCY                         DAVIS, NATASHA                         DAVIS, NATHAN
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DAVIS, NATHAN                        DAVIS, NICHOLE                         DAVIS, NICOLE
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DAVIS, NICOLE                        DAVIS, NICOLE                          DAVIS, NOEL
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DAVIS, OLIVIA                        DAVIS, OLIVIA                          DAVIS, ORINE
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DAVIS, ORLANDO                       DAVIS, OZELLA                          DAVIS, PATRICIA
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DAVIS, PATRICIA                      DAVIS, PATRICK                         DAVIS, PAUL
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DAVIS, PAULETTE                      DAVIS, PEYTON                          DAVIS, PIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DAVIS, PIA            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, PIPER                     Page 1154   of 5495
                                                                           DAVIS, PRISCILLA
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DAVIS, RACHAEL                       DAVIS, RACHEL                          DAVIS, RACHEL
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DAVIS, RACHEL                        DAVIS, RACHEL                          DAVIS, RACHELLE
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DAVIS, RAELYNN                       DAVIS, RAMONA                          DAVIS, REBECCA
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DAVIS, REBEKAH                       DAVIS, ROBERT                          DAVIS, ROBERT
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DAVIS, ROCHELLE                      DAVIS, RODREA                          DAVIS, ROGER
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DAVIS, ROGER                         DAVIS, RON                             DAVIS, SAMANTHA
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DAVIS, SAMUEL                        DAVIS, SANDY                           DAVIS, SARA
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DAVIS, SARAH                         DAVIS, SARAH                           DAVIS, SARAH
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DAVIS, SARAH                         DAVIS, SARAH                           DAVIS, SAVANNAH
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DAVIS, SCOTT          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DAVIS, SCOTT                     Page 1155   of 5495
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DAVIS, SETH                          DAVIS, SHALLEEN                       DAVIS, SHANNON
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DAVIS, SHARA                         DAVIS, SHARON                         DAVIS, SHARON
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DAVIS, SHEILA                        DAVIS, SLOANE                         DAVIS, SOLANA
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DAVIS, SONYA                         DAVIS, SPENCER                        DAVIS, STACEY
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DAVIS, STACEY                        DAVIS, STEPHANIE                      DAVIS, STEPHANIE
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DAVIS, STEPHANIE                     DAVIS, STEPHANIE                      DAVIS, STEPHEN
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DAVIS, STEVE                         DAVIS, STEVEN                         DAVIS, STEVIA
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DAVIS, SUPRIYA                       DAVIS, SUSAN                          DAVIS, SUSAN
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DAVIS, SUSANE                        DAVIS, SUZANNE                        DAVIS, SUZANNE
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DAVIS, SUZANNE        Case 22-11238-LSS
                                     DAVIS, TDoc 2   Filed 11/30/22   Page 1156   of 5495
                                                                           DAVIS, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DAVIS, TAMEKA                        DAVIS, TAMI                           DAVIS, TANGIER
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DAVIS, TANNER                        DAVIS, TANYA                          DAVIS, TARA
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DAVIS, TAYLOR                        DAVIS, TERA                           DAVIS, THOMAS
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DAVIS, TIFFANY                       DAVIS, TIFFANY                        DAVIS, TIFFANY
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DAVIS, TIM                           DAVIS, TIM                            DAVIS, TINA
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DAVIS, TONYA                         DAVIS, TRACEY                         DAVIS, TRACY
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DAVIS, TYANN                         DAVIS, TYLER                          DAVIS, VENETTA
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DAVIS, VENETTA                       DAVIS, VICTOR                         DAVIS, VICTORIA
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DAVIS, VICTORIA                      DAVIS, WENDY                          DAVIS, WENDY
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DAVIS-BURKE, JOY      Case 22-11238-LSS     Doc 2 RUTH
                                     DAVIS-HASTLER,  Filed 11/30/22   Page 1157  of 5495
                                                                           DAVIS-HORAN, KATE
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DAVIS-MCMATH, CHAYA                  DAVIS-MENDOZA, LINDA                   DAVISON, ALLIE
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DAVISON, DANA                        DAVISON, JORDAN                        DAVISON, KATHERINE
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DAVISON, KELLY                       DAVISON, MORGAN                        DAVISON, TERESA
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DAVISON, TRANAE                      DAVISSON, JANEL                        DAVIS-STEYER, MARY BETH
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DAVITT, MEGHAN                       DAVLIN, HILLARY                        DAVLYN, ANGIE
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DAVOL, CHARLENE                      DAVOS, MICHAEL                         DAVOUD, CHRISTINA
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DAVY, CLARE                          DAVY, CLARE                            DAVY, IAN
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DAVY, MARIE-LAURE                    DAVY, MINDA                            DAVY, MOLLY
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DAVY, SYDNEY                         DAVYDOVA, LIZA                         DAW, COLLEEN
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DAW, MICHAEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DAW, VALERIE                     Page 1158  of 5495
                                                                           DAWA, TENZIN
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DAWBER, WAYNE                        DAWES, KRISTEN                        DAWES, KRISTOPHER
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DAWES, SANDRA                        DAWES, TEDDY                          DAWID WIACEK
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DAWIDOWSKI, BRETT                    DAWIS, DAVID                          DAWKINS, ABBIE
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DAWKINS, LAKISHA                     DAWKINS, MEGAN                        DAWKINS, MORGAN
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DAWKINS, RONALD                      DAWKINS, SHANNON                      DAWKINS, SYLVIA
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DAWKINS, TERRENCE                    DAWLEY, FRANK                         DAWLEY, JESSICA
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DAWN GERON                           DAWN LANDRY                           DAWN MARIE PEACOCK
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DAWN MORRIS                          DAWN OMO                              DAWN RICCIO
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DAWN, CRYSTAL                        DAWN, LACIE                           DAWNMARIE HUNTER
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DAWS, STEPHANIE       Case 22-11238-LSS    Doc
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DAWSEY, KENDRA                       DAWSON, ALI                           DAWSON, AMY
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DAWSON, ANDREA                       DAWSON, ANNA                          DAWSON, ASHLEY
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DAWSON, ASHLYNN                      DAWSON, CAPRESIAH                     DAWSON, CHARLYNN
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DAWSON, CINDY                        DAWSON, CONNIE                        DAWSON, DAVINA
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DAWSON, DENISE                       DAWSON, GENYZA                        DAWSON, GEORGE
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DAWSON, HELEN                        DAWSON, HOLLI                         DAWSON, JEFFREY
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DAWSON, JESSICA                      DAWSON, JESSICA                       DAWSON, JESSICA
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DAWSON, JILL                         DAWSON, JO ANN                        DAWSON, JULIA
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DAWSON, KASIA                        DAWSON, KELLY                         DAWSON, KRISTEN
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DAWSON, KYLIE         Case 22-11238-LSS    Doc
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DAWSON, MAGGIE                       DAWSON, MALLORY                       DAWSON, NICK
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DAWSON, SANDER                       DAWSON, SARAH MADISON                 DAWSON, SARAH
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DAWSON, SHARI                        DAWSON, SHAYLA                        DAWSON, SUSAN
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DAWSON, THOMAS                       DAWSON, VIRGINIA                      DAWSON, WHITNEY
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DAWSON, WILL                         DAY LA JEUNESSE, KYLE                 DAY, ALLIE
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DAY, ANDY                            DAY, ASHLEY                           DAY, BRITTANY
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DAY, CATHERINE                       DAY, CECIL                            DAY, CLAIRE
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DAY, COURTNEY                        DAY, DANIELLE                         DAY, DAVELYNN
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DAY, DEIRDRE                         DAY, DIANA                            DAY, DOUG
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                                     DAY, ELIZABETH                   Page 1161  of 5495
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DAY, GEOFFREY                        DAY, GRIFFIN                          DAY, JACKIE
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DAY, JACKIE                          DAY, JAMES                            DAY, JASMINE
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DAY, JEFFREY                         DAY, JENNA                            DAY, JENNIFER
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DAY, JENNIFER                        DAY, JOHN                             DAY, JOHN
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DAY, JOHN                            DAY, JUSTIN                           DAY, KATHLEEN
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DAY, KENNY                           DAY, KIMBERLY                         DAY, KRISTEN
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DAY, LAUREN                          DAY, LAUREN                           DAY, LESLIE
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DAY, LINDA                           DAY, MARY                             DAY, MICHELLE
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DAY, MIKE                            DAY, MINDY                            DAY, MOLLY
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DAY, MORGAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DAY, MORGAN                            Page 1162  of 5495
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DAY, NICOLE                             DAY, NICOLE                              DAY, PATRICIA
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DAY, PATRICK                            DAY, PEGGY                               DAY, RACHEL
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DAY, RICHARD                            DAY, SERENA                              DAY, SHARI
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DAY, SHELBY                             DAY, SHELBY                              DAY, SUSAN
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DAY, THOMAS                             DAY, WILLIE                              DAYANNA, FRANCY
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DAYE, DENICE                            DAYMUDE, THOMAS                          DAYTON A LEWIS
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DAYTON, HAI-LI                          DAYTON, KARLI                            DAZA, KARINA
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DAZEY, MADISON                          DAZZO, GIANNA                            DAZZO, PERRY
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DBA MEDIA (DRIVE BY DOGS PRODUCTIONS)   DBA MEDIA LLC                            DC DEPT OF EMPLOYMENT SERVICES
8414 ELMWOOD AVE.                       (DIGITAL BRAND ARCHITECTS)               4058 MINNESOTA AVE NE
STONEWOOD, WV 26301                     750 N SAN VINCENTE BLVD., STE 950        WASHINGTON, DC 20019
                                        WEST HOLLYWOOD, CA 90069
                        CaseLLC
DC ENTERTAINMENT SOLUTIONS    22-11238-LSS     Doc 2 Filed 11/30/22
                                        DC TREASURER                  Page 1163 of 5495 ENTERPRISES LLC
                                                                           DCG WORLDWIDE
7765 WILLOW POINT DRIVE                 DC DEPARTMENT OF INSURANCE,        6112 N MESA STREET 6007
FALLS CHURCH, VA 22042                  SECURITIES                         EL PASO, TX 79912
                                        AND BANKING
                                        PO BOX 92660
                                        WASHINGTON, DC 20090

DCOSTA, RIYA                         DCRUZ, GENEVIEVE                      DCSS - NEW CASTLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




DE ROSSI, SARA                       DE AGUERO, BRANDON                    DE ANDA, GABRIELA
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DE ARMAS, LISA                       DE AUGUSTINIS, AUGUSTINE              DE BACA, ELVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DE BARROS, SANDRA                    DE BELLEGARDE, PAUL MERY              DE BOER, JORDYN
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DE BOLT, WILLIAM                     DE BRAUCOURT, HUGUES                  DE BRUYN, MIKO
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DE BRUYN, TARYN                      DE CASTRO, DIANA                      DE CASTRO, DIANA
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DE CASTRO, ORDALITA                  DE CASTRO, PENELOPE                   DE COCK, BRENDA
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DE COO, MINELLY                      DE DIOS, JESENIA                      DE DIOS, LESLEY
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DE FILIPPO, FRANCESCA                DE FREITAS, ANGELICA                  DE GENNARO, KAREN
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DE GRACIA, EDGAR JOEL Case 22-11238-LSS    DocTRISHA
                                     DE GUZMAN, 2 Filed 11/30/22      Page 1164  of 5495
                                                                           DE HOYOS, MICAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DE JESUS RIVERA, MIRIANDRA           DE JESUS VEGA, JEZIEL                  DE JESUS, ANNA
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DE JESUS, CHRISTY                    DE JESUS, ILEANA                       DE JESUS, MARKUS
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DE JESUS, PEDRO                      DE JONG, LISA                          DE JONGE, KAREN
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DE KUYPER, MCKINNON                  DE LA CRUZ, ALYSSA                     DE LA CRUZ, CANDICE
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DE LA CRUZ, CRYSTAL                  DE LA CRUZ, JAY                        DE LA CRUZ, RICK
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DE LA CRUZ, RON                      DE LA FLOR, NICOLAS                    DE LA GARZA, HERMAN
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DE LA GARZA, LETICIA                 DE LA GUARDIA, MICHELLE                DE LA HOZ ZB116032, LUIS
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DE LA HOZ, MIKE                      DE LA MATA, EDUARDO                    DE LA NUEZ, WENDY
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DE LA PENA, RICHARD                  DE LA PENA, SCOTT                      DE LA ROSA, ANDY
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DE LA ROSA, CHRISTOPHERCase 22-11238-LSS     DocCINTHIA
                                      DE LA ROSA, 2 Filed 11/30/22     Page 1165   of 5495
                                                                            DE LA ROSA, GABRIEL
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DE LA ROSA, LINDSAY                   DE LA ROSA, SARA                       DE LA ROSA, VICTORIA
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DE LA ROSA, YOSMARY                   DE LA TORRE, ALVAR                     DE LA TORRE, AMELIA
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DE LA TORRE, ART                      DE LA TORRE, GALE F                    DE LA TORRE, MAYRET
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DE LA TORRE, VANESSA                  DE LA VEGA, JORDYN                     DE LANGE, HERCULES
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DE LAO, JACLYN                        DE LAPOUYADE, BEAUJEAUX                DE LEO, SARAH
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DE LEON, ANTHONY                      DE LEON, CRISPINE                      DE LEON, FELICIANO
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DE LEON, GERRY                        DE LEON, JENNA                         DE LEON, KATHARINE AND LUIS
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DE LEON, MARTHA                       DE LEON, PIA                           DE LEON, ROCIO
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DE LEON, ROXANA                       DE LOACH, JEN                          DE LORENZO, AMY
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DE LOS ANGELES, JUSTIN Case 22-11238-LSS     Doc 2ELISABET
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DE LOS REYES, ALEXANDRA               DE LOS REYES, MARICAR                 DE LOS REYES, REYES
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DE LOS REYES, VINCE                   DE LOS SANTOS, LAURA                  DE LOS SANTOS, MICHAELANN
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DE LOS SANTOS, VICKIANA               DE LUCA, ROSANNA                      DE LUNA CASTRO, CLAUDIA
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DE LUNA, ARI                          DE LUNA, IVONN                        DE LUNA, JOSHUA
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DE LUNA, KAREN                        DE LUNA, RAMERY                       DE MACEDO, ALEX
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DE MARS, DENNIS                       DE MENIL, SOPHIE                      DE MESA, ANGELA
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DE MESA, JESSICA                      DE MOLINA, NICK                       DE MONTIS, MARCELA
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DE MOURA, KRISHNA                     DE NICOLO, KEVIN                      DE NOBREGA, CARLA
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DE OCAMPO, ANGELA                     DE OLIVEIRA, AMANDA                   DE OLIVEIRA, CHRISTINA
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DE OLIVEIRA, JOHN     Case 22-11238-LSS     Doc
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DE PAZ, BIANCA                       DE PEDRO, DENISE                       DE PENA, MARIELA
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DE PENA, MARIELA                     DE POPE, JASON                         DE QUESADA COVEY, FRANCESCA
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DE QUEVEDO, BARBARA                  DE RAAD, NICK                          DE RAAD, ZACK
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DE RAISMES, JOHN                     DE REDON, EMILY                        DE REGO, SHELBY
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DE RIVERA, MARICELA                  DE ROJAS, NATALIE                      DE RUYTER, MARTHA
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DE SANTIAGO, MIKKI                   DE SIMONE, JENNA                       DE SOSTOA, KELSEY
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DE SOUSA, MARIA                      DE SOUZA, ANNA                         DE SOUZA, FABIANE
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DE SOUZA, GRAZIELE                   DE SOUZA, NAIARA                       DE VARONA, YELANY
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DE VASSAL, PAUL                      DE VERA, LAURA                         DE VRIES, SOPHIA
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DE WEIRDT, MEAGAN     Case 22-11238-LSS    Doc
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DE ZUTTER, JAMES                     DE, BRENDA                            DE, CARINA
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DE, FERNANDA                         DE, JESSICA                           DE, JORDANA
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DE, KATIE                            DE, KRISTY                            DE, KYLE
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DE, LAURA                            DE, LAUREN                            DE, MARIA
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DE, MARIOM                           DE, MARY                              DE, MICHELLE
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DE, MONTRESSA                        DE, NICOLE                            DE, PAMELA
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DEA, COREY                           DEACON, JENNIFER                      DEACON, SHAUNA
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DEACONSON, EMMA                      DEADMAN, CHASE                        DEADMON, ERIC
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DEADMON, KELLY                       DEADRICK, TARA                        DEAFENBAUGH, LISA
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DEAHN, ANDY                           DEAK, ALEX                              DEAKINS, LAURIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DEAL NATION                           DEAL, CHRISTA                           DEAL, CHRISTINA
3845 TENNYSON ST SUITE 140            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80212




DEAL, ELIZABETH                       DEAL, GEORGE                            DEAL, JEFF
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DEAL, JOHN                            DEAL, JUDY                              DEAL, MEGAN
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DEAL, SHAWNA                          DEAL, TOBY                              DEALBA, BRITTANY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DEALNEWS.COM INC.                     DEALY, GENEVIEVE                        DEALY, SIMON
203 GREENE ST. SE                     ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HUNTSVILLE, AL 35801




DEAM, TAMMY                           DEAN & DELUCA                           DEAN CARLSON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




DEAN GUILMETTE                        DEAN HICKEY                             DEAN HOWARD WAGNER
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DEAN ROSE                             DEAN SIMONTON                           DEAN STREET TOWNHOUSLONDON
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DEAN SWINDLE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DEAN, ALICIA                     Page 1170  of 5495
                                                                           DEAN, ANGELA
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DEAN, ANNA BLISS                     DEAN, ANTONIA                         DEAN, BARBARA
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DEAN, BRITTANY                       DEAN, CASSIE                          DEAN, CHANDRA
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DEAN, CHELSEA                        DEAN, CHELSEA                         DEAN, CHESTER
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DEAN, CHRISTINE                      DEAN, CHRISTOPHER                     DEAN, CLAYTON
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DEAN, COLLIN                         DEAN, DARNELL                         DEAN, ERIN
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DEAN, HANNAH                         DEAN, ISABELLE                        DEAN, JESSE
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DEAN, JESSICA                        DEAN, JESSICA                         DEAN, JOAN
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DEAN, JULIANA                        DEAN, JUSTIN                          DEAN, KAREN
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DEAN, LAURA                          DEAN, LINDSEY                         DEAN, MARGARET
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DEAN, MARTHA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DEAN, MELISSA                    Page 1171  of 5495
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DEAN, NICOLE                         DEAN, PHILIP                          DEAN, RACHEL
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DEAN, ROGER                          DEAN, SAMANTHA                        DEAN, SARAH
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DEAN, SHANNON                        DEAN, SPENCER                         DEAN, STEPHANIE
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DEAN, SUSAN                          DEAN, TARA                            DEAN, TAUNA
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DEAN, THOMAS                         DEAN, TODD                            DEAN, TROY
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DEANE CROMWELL, KIMBERLEE            DEANE, ALYSSA                         DEANE, CHRISTIE
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DEANE, JEFF                          DEANE, JENIFER                        DEANE, LESLIE
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DEANE, TARA                          DEANER, JESSICA                       DEANGELIS, CHERI
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DEANGELIS, DIANE                     DEANGELIS, KATIE                      DEANGELIS, MAX
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                                     DEANGELIS, 2 Filed 11/30/22      Page 1172 of 5495
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DEANGELO, BRIAN                      DEANGELO, CAROL                       DEANGELO, JESS
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DEANGELO, JILL                       DEANGELS, JUDY                        DEAN-KNOTTS, MANDY
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DEANNA AMONDSEN                      DEANNA COLLINS                        DEANNA D JONES
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DEANNA SINITO                        DEANNI, NICOLE                        DEANO, GRETA
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DEANS, KYMBRE                        DEANS, VERONICA                       DEANTONIS, AMELIA
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DEAPPOLONIO, CATHERINE               DEARAGON, RACHEL                      DEARBORN, GREGORY
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DEARCOS, CORTNEY                     DEARDEN, HILLARY                      DEARDEN, SAMANTHA
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DEARDEN, SONJA                       DEARDORFF, BRENDA                     DEARDORFF, KAITLIN
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DEARIE, JOANNE                       DEARING, BRYAN                        DEARING, DOMINICA
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DEARING, LAUREN       Case 22-11238-LSS    DocJESSICA
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DEARMOND, IAN                        DEARMOND, LISA                        DEARMOND, NATALIE
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DEARSTYNE, SARAH                     DEAS, FAITH                           DEAS, MEGAN
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DEASON-LOONEY, CAROL                 DEASY, KELLY                          DEASY, MICHAELA
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DEATHERAGE, MELISSA                  DEATHERAGE, MICHAEL                   DEATLEY, DENNIS
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DEATON, AMANDA                       DEATON, CHANEY                        DEATON, MADLIN
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DEATON, SAMANTHA                     DEATRICK, HOLLY                       DEAVER, BETH
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DEAVER, JAMIE                        DEAVERS, SHAY                         DEAVILA, MARGARITA
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DEB CONROY                           DEB FAGAN                             DEB HENDERSON
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DEB, ROHINI                          DEBACCO, KATRINA                      DEBARBERIE, GABRIELLA
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DEBARTOLO, DEVYN      Case 22-11238-LSS    DocJOE
                                     DEBARTOLO, 2 Filed 11/30/22      Page 1174 ofSANDRA
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DEBAZ, LENA                          DEBBIE BEERS                          DEBBIE GESSINGER
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DEBBIE KOVETS                        DEBBIE NARDOZZI                       DEBBIE SCHUMACHER
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DEBBIE TAYLOR, MAIL BOXES PLUS       DEBBIE, COTTERALL,                    DEBBY S BROWN
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DEBELLA, SARA                        DEBELLIS, DJ                          DEBERARDINIS, KRISTINA
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DEBERRY, EILEEN                      DEBERRY, SHAWN                        DEBERRY, TERRY
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DEBERRY, TESS                        DEBES, JODEE                          DEBI LANPHEAR
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DEBIAS, KEISHA                       DEBICCARI, CAPRI                      DEBIE, KARA
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DEBLASI, LAUREN                      DEBLASI, NOAH                         DEBLASIO, BETTA
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DEBOALT, LAUREN                      DEBOARD, ANN                          DEBOER, DLEENE
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DEBOER, LUKE                         DEBOLD, JON                           DEBOLT, BLAIR
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DEBOLT, MELISA                       DEBONIS, LAUREN                       DEBONIS, SARA
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DEBONO, CHRISTINA                    DEBONO, JOHN                          DEBONO, MICHELLE
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DEBONO, TARA                         DEBONTE, MICHAEL                      DEBONVILLE, CHRISTIAN
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DEBORA BALES                         DEBORA FENDER                         DEBORA GREENHOW
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DEBORAH AYERS                        DEBORAH BROWN                         DEBORAH GARDNER
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DEBORAH GOLDBERG                     DEBORAH HICKS                         DEBORAH J GEYER
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DEBORAH JOHNSON                      DEBORAH L GRISANTI                    DEBORAH LEPERE
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DEBORAH STANLEY       Case 22-11238-LSS    Doc
                                     DEBORAH,    2 Filed 11/30/22
                                              PRICE,                  Page 1176 ofAARON
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DEBORD, KAITLYN                      DEBORD, NICOLE                        DEBOSE, KYLE
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DEBOSIK, SAMANTHA                    DEBOUCK, GAETANA                      DEBRA BEAN
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DEBRA COLVIN                         DEBRA GLENDENMEYER                    DEBRA HILMERSON
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DEBRA HOLTHAM                        DEBRA JOYCE BAUMGARTNER               DEBRA KATCHEN
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DEBRA KEITZER OUTLAW                 DEBRA MORRISS                         DEBRA STAPA
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DEBRA STEPHENSON                     DEBRAGGIO, ELIZABETH                  DEBROSSE, LEANNE
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DEBRUYN, JEANNE                      DEBURGOS-MILSTEAD, AMANDA             DEBY HIRSCH
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DEBYE, CHARLOTTE                     DEC, STACEY                           DECALONGNE, CHARISSE
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DECAMP, MARK                         DECAMPS, LILLIAN                      DECAPRIO, DANIELLE
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DECARBO, NATALIE      Case 22-11238-LSS    Doc
                                     DECARLI,    2 Filed 11/30/22
                                              JENNIFER                Page 1177 of 5495
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DECARLO, JEANNIE                     DECARLO, LIZ                          DECARLO, MICHELE
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DECARO, CHRISTY                      DECAROLIS, BRYAN                      DECAS, OLIVIA
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DECASPERIS, ALISON                   DECASTRO, JACOB                       DECASTRO, LYNN
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DECASTRO, MARI                       DECAT, ALINE                          DECATO, SARAH
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DECATUR, BRITTANY                    DECECCO, DAVE                         DECECCO, STEPHANIE
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DECELLES, HANNAH                     DECERBO, CINDY                        DECERBO, KADIE
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DECESARE, ELIZABETH                  DECESARE, JENNIFER                    DECESARO, EVA
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DECEW, HANNAH                        DECH, NATALIE                         DECHAMBRE, BRETT
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DECHEINE, AERIAL                     DECHON, BREANA                        DECICCIO, WHITNEY
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DECIO, KEN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DECK, JON                        Page 1178  of 5495
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DECK, SHELBY                         DECK, TARAH                           DECKARD, AMY
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DECKARD, RICHARD                     DECKEL, MARY                          DECKER, ALICE
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DECKER, BROOKE                       DECKER, CARMEN                        DECKER, CAROL
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DECKER, CAROL                        DECKER, COLLEEN                       DECKER, CYNTHIA
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DECKER, DANCIA                       DECKER, DANIEL                        DECKER, EDNA
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DECKER, ERIC                         DECKER, JACLYN                        DECKER, JARRON
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DECKER, JESSICA                      DECKER, JESSICA                       DECKER, JORDAN
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DECKER, JUSTIN                       DECKER, KEVIN                         DECKER, KIM
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DECKER, LAUREN                       DECKER, LINDSAY                       DECKER, LINNETTE
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DECKER, MATTHEW       Case 22-11238-LSS
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DECKER, MELINDA                      DECKER, MICHELLE                      DECKER, RACHEL
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DECKER, SARA                         DECKER, SCOTT                         DECKER, TONI
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DECKMAN, ALEXANDER                   DECKOW, SHAINA                        DECKY, KEVIN
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DECLEENE, OLIVIA                     DECLERCK, DAVE                        DECLERCK, KAREN
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DECLERCQ, TINA                       DECOLLI, STACEY                       DECONGILIO, TRACI
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DECOO, JEANNIE                       DECOOK, CASSIDY                       DECOOK, JANELLE
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DECOOK, KEN                          DECOSMO, ANTHONY                      DECOSSE, HELENE
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DECOSTA, NICHELLE                    DECOSTA, SASKIYA                      DECOSTANZO, RACHEL
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DECOSTE, BRANDON                     DECOSTER, BARBARA                     DECOSTER, KERI
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DECOTEAU, JENNIFER    Case 22-11238-LSS
                                     DECOU, Doc
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                                                                           DECOURSEY, CAMILLE
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DECOURSEY, KATHY                     DECOURTE, TIESHIA                      DECREM, NICOLE
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DECRESCENZO, ALEK                    DECRESCENZO, KIMBERLY                  DECRISTO, HEATHER
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DECRISTOFANO, NANCY                  DECUFFA, CHRISTEN                      DEDA, CHAD
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DEDECKER, LAUREN                     DEDELOW, JEANETTE                      DEDICATED MEDIA, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         P.O BOX 740273
                                                                            LOS ANGELES, CA 90074-0273




DEDINSKY, AMANDA                     DEDMAN, KELLY                          DEDOSHKA, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DEDRICK, COURTNEY                    DEE DEVELOPMENTS LLC                   DEE
ADDRESS AVAILABLE UPON REQUEST       791 BARNABY ST SE                      ADDRESS AVAILABLE UPON REQUEST
                                     WASHINGTON, DC 20032




DEE, ALISON                          DEE, HANNAH                            DEE, KAREN (MOM)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DEE, LINDSAY                         DEE, PATTY                             DEEB, BASIM
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DEEB, MICHELE                        DEEBLE, DANIELLE                       DEECHER, ELIZABETH
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                                     DEEDS, SHAYLEY                     Page 1181 ofALLIE
                                                                             DEEGAN, 5495
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DEEGAN, CORRI                        DEEGAN, KAREN                           DEEKEN, MARK A
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DEEKLE, GLENNA                       DEEL, MALLORY                           DEELY, JENNY
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DEEMER, MARY LOU                     DEEN, ANA                               DEENAGH GIJSBERS
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DEENIHN, KATIE                       DEEPA PARAMESH                          DEEPAK BHALLA
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DEEPAK KHETPAL                       DEER USA INC.                           DEER, KAREN
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DEER, MALEENA                        DEERING, TIFFANY                        DEERY, SANDRA
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DEERY, SHARON                        DEES, BETH                              DEES, DANIEL
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DEES, JOHNNA                         DEESE, BENNA                            DEESE, RENA
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DEETS, JILLIAN                       DEFA, GINA                              DEFALTAY, SAROLTA G
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DEFAZIO, CHERYL                      DEFAZIO, JEFF                         DEFEE, ELIZABETH
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DEFELICE, EMILY                      DEFELICE, EMILY                       DEFELICE, LAUREN
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DEFENBAUGH, DIRK                     DEFEO, AMANDA                         DEFEO, COURTNEY
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DEFEO, JEANNE                        DEFEO, JERI                           DEFEO, JOE
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DEFEO, LOUIS                         DEFEO, MARK                           DEFEO, VERONICA
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DEFEVER, RYAN                        DEFFENBAUGH, ANNA                     DEFFENBAUGH, CHRIS
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DEFFENBAUGH, HALEY                   DEFFENBAUGH, LISA                     DEFFLEY, HOLLY
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DEFFLEY, LIZ                         DEFILIPPIS, DEANNA                    DEFILIPPO, EMILY
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DEFILIPPO, LINDSY                    DEFILIPPO, OLIVIA                     DEFILIPPO, PAUL
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                                     DEFIORE,     2 Filed 11/30/22
                                              CAITLYN                 Page 1183 of 5495
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DEFLORIO, SUZETTE                    DEFOE, MAEGAN                          DEFOOR, TERRY
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DEFORD, JESSALIN                     DEFOREST, DIANE                        DEFOREST, ELIZABETH
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DEFOREST, EMILY                      DEFOREST, KAITLIN                      DEFRANCESCHI, ELISSA
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DEFRANCESCHI, NIC                    DEFRANCESCHI, NIC                      DEFRANCESCO, ANTHONY
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DEFRANCESCO, NOREEN                  DEFRANCESCO, RHONDA                    DEFRANCIS, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DEFRANCISCI, CLAIRE                  DEFREES, BRUCE                         DEFREHN, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DEFREITAS, KAREN                     DEFRESSINE, LAUREN                     DEFRIECE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DEFURIA, TONI                        DEFURIO, NICOLE                        DEFUSCO, SHAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DEFY MEDIA, LLC                      DEGARMO, NORMA                         DEGARMO, RUSTY
498 7TH AVENUE, 19TH FLOOR           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10018
DEGEL, ASHLEY         Case 22-11238-LSS    DocRYDELL
                                     DEGELDERE, 2 Filed 11/30/22      Page 1184 ofBRANDON
                                                                           DEGELE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEGEN, CARLY                         DEGENHARDT, MAYCIE                    DEGENHARDT, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEGENNARO, KATELYN                   DEGEORGE, ALEXANDRA                   DEGEORGE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEGGENDORFER, JULIET                 DEGHAND, ALEXA                        DEGHAND, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEGLANE, RUTHMARIE                   DEGLERIS, MARIA                       DEGLISE, JIVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEGNAN, ANN                          DEGNAN, BRITTANY                      DEGNAN, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEGNAN, LAURA                        DEGNAN, MAUREEN                       DEGNEAU, CONNIE
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DEGRACE, DONALD                      DEGRACE, MONA                         DEGRACIA, CAITLYN
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DEGRACIA, NOELIA                     DEGRACIA, TRACY                       DEGRADO, ANTHONY
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DEGRAFF, KERI                        DEGRASSE, LANEY                       DEGRAVE, STEPHANIE
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DEGRAW, LIZ           Case 22-11238-LSS
                                     DEGRAY,Doc 2 Filed 11/30/22
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                                                                           DEGRAZIA, DONA
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DEGRAZIA, FRANK                      DEGRAZIA, PATTY                       DEGRE, HENRI
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DEGRE, SAMANTHA                      DEGREGORIO, HEATHER                   DEGREGORIO, JANELLE
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DEGREGORIO, SABRINA                  DEGROAT, BRITTANY                     DEGROAT, CHRISTOPHER
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DEGROODT, GALEN                      DEGROOT, ALLYSON                      DEGROOT, HOLLY
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DEGROOT, KEELY                       DEGROVE, PAUL                         DEGRUTTOLA, DELANIE
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DEGRUY, JUSTIN                       DEGTYAREVA, YEKATERINA                DEGUIO, BETHANY
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DEGUISTO, DANIEL                     DEGULIS, JORDAN                       DEGUTIS, MADELYN
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DEGUZMAN, MELISSA                    DEHAAI, AMANDA                        DEHAAN, ANITA
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DEHAAN, KARLEE                       DEHAARTE, TYLER                       DEHAAS, MELISSA
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DEHARDER, SHINE       Case 22-11238-LSS
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DEHART, SARAH                        DEHAVEN, ELIZABETH                    DEHEER, BROOKE
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DEHEN, PATRICIA                      DEHERRERA, MONIQUE                    DEHLBOM, ELYSE
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DEHMLOW, LAURA                       DEHN, JENNIFER                        DEHN, JOANNA
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DEHN, TIFFANY                        DEHNE, GARY                           DEHNER, KATHRYN
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DEHNERT, LORI                        DEHNING, HAYLEE                       DEHNKE, KATIE
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DEHOMBRE, JESSICA                    DEHONNEY, DELINA                      DEHOPE, TERESA
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DEHOVITZ, HANA                       DEIBEL, NICOLE                        DEIBERT, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEIBERT, SARAH                       DEIBLER, RICHARD                      DEICHERT, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEICHERT, NICOLE                     DEICHL, ERIC                          DEICHMANN, ELIZABETH
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DEICHMEISTER, LAUREN Case 22-11238-LSS    Doc
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                                                                             DEIHL, SUSAN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DEIMEL, JESSICA                      DEIN, FORREST                           DEINERT, GARY
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DEIR, CONSTANTINE                    DEIRATANI, MONICA                       DEIRDRE NELIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DEIRDRE RAPPLE                       DEISHER, OLYVIA JO                      DEISSLER, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DEITZ, DEBRA                         DEITZ, MARIE                            DEITZ, MARVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DEITZ, MELISSA                       DEITZ, RONI                             DEITZ, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DEITZZINGER, ALIX                    DEIULIIS, KRYSTAL                       DEJAGER, MICHAEL
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DEJAH WILLIAMS                       DEJAN NIKITOVIC                         DEJANA, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




DEJANA, MICHAEL                      DEJARNETT, MARGARET                     DEJEAN, LAURA
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DEJESUS, AMBER                       DEJESUS, DESTINY                        DEJESUS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DEJESUS, JESSICA      Case 22-11238-LSS    Doc
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                                                                           DEJESUS, 5495
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DEJESUS, KATHRYN                     DEJESUS, KELSEY                       DEJESUS, LISA
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DEJESUS, MITZI                       DEJNAROWICZ, ALEKSANDRA               DEJOHN, VINCENT
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DEJONG, AMY                          DEJONG, BRITTNEE                      DEJONG, CARRIE
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DEJONG, NICK                         DEJONG, OLIVIA                        DEJONG, RACHEL
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DEJORDY, LINDA                       DEJOSEPH, JUDY                        DEJOURNETTE, KEELAR
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DEJOY, HEIDI                         DEJOY, SYDNEY                         DEJULIO, MARK
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DEKAN, HOLLY                         DEKAY, KAREN                          DEKAY, KATE
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DEKIS, KATIE                         DEKOCK, CLAY                          DEKONINCK, ELIZABETH
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DEKONING, BRIAN                      DEKOW, ASHLEY                         DEKREON, SUSIE
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DEL BEN, JOANNE       Case 22-11238-LSS     DocCESAR
                                     DEL CARPIO, 2 Filed 11/30/22       Page 1189  of 5495
                                                                             DEL CASTILLO, MARCO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DEL CID, CARLA                       DEL CORRAL, GABRIEL                      DEL CORRAL, MEGAN
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DEL FRATE, CASSIE                    DEL GAUDIO, DAVIDE                       DEL GAUDIO, HUMBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DEL GIACCO, LOUIS                    DEL GRECO, KELSEY                        DEL GRECO, LORETTA
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DEL GROSSO, EMILIA                   DEL HIERRO, PAIGE                        DEL MAURO, EMILY
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DEL MONTE, JILL                      DEL PESCHIO, KIRSTEN                     DEL RE, AUDREY
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DEL REAL, KAROL                      DEL REY PARTY RENTALS                    DEL RINCON, LUCINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




DEL RIO VINEYARDS                    DEL RIO, ASHLEY                          DEL RIO, CRIS
52 N RIVER ROAD, PO BOX 906          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
GOLD HILL, OR 97525




DEL RIO, LIDIA                       DEL ROSSO, KRISTIN                       DEL SOL, NACHI LUZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DEL TESTA, DAVID                     DEL TORO, LYLE                           DEL VALLE, ADA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
DEL VECCHIO, JANE     Case 22-11238-LSS     Doc 2MEGAN
                                     DEL VECCHIO,    Filed 11/30/22   Page 1190   of 5495
                                                                           DEL, ANALUISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEL, CHARLOTTE                       DEL, DENINE                           DEL, GABRIELLE
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DEL, KATIE                           DEL, MARIA                            DEL, SOPHIA
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DEL, SUZANNE                         DEL, VIENNA                           DELA CRUZ, DANIELLE
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DELA CRUZ, HELEN                     DELA CRUZ, PATRICIA                   DELA PENA, GABRIELLE
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DELA ROSA, MARIA                     DELA TORRE, VANIA                     DELA, KELLY
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DELA, VANNA                          DELABAR, JUSTIN                       DELABAR, KATIE
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DELABBIO, CAMILLO                    DELA-CRUZ, KRISTINA                   DELACRUZ, MARIA
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DELACRUZ, PLOY                       DELACRUZ, SONDRA                      DELACRUZ, TERRI
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DELACRUZ, WALKER                     DELACRUZ, YESICA                      DELAGARZA, SARAH
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DELAGE, CHRISTINA     Case 22-11238-LSS
                                     DELAGO,Doc  2 Filed 11/30/22
                                             JENNIFER                 Page 1191 of 5495
                                                                           DELAHUNT, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DELAINE MANSFIELD                    DELALLA, BARBARA                       DELAMATER, TYLER
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DELAMONTAIGNE, KIM                   DELANA, ALICE                          DELANCY, PAUL
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DELAND, LOUISA                       DELANEY, ALEXANDRA                     DELANEY, ALIDA
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DELANEY, BRIAN                       DELANEY, CHRISTINA                     DELANEY, DANIELLE
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DELANEY, JUDITH                      DELANEY, KATHRYN                       DELANEY, KRISTEN
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DELANEY, KRISTY                      DELANEY, LAURIE                        DELANEY, MARGARET
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DELANEY, MARK                        DELANEY, MEGAN                         DELANEY, MICEALA
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DELANEY, MICHAEL F                   DELANEY, MOLLY                         DELANEY, PRISCILLA
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DELANEY, SHANNA                      DELANEY, TERESA                        DELANEY, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DELANGE, EMMA         Case 22-11238-LSS    Doc
                                     DELANGE,    2 Filed 11/30/22
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                                                                           DELANO, 5495
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DELANO, JANELLE                      DELANO, KRISTINA                      DELANO, SUSANNAH
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DELANO, TAYLOR                       DELANOE, ARNAUD                       DELANY, ALI
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DELAP, JESS                          DELAPP, CARLY                         DELARIA, KARY
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DELAROSA, ANTHONY                    DELAROSA, ZACHARY                     DELASALLE, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELASHMUTT, CASEY                    DELASOS, BRITTANY                     DELATE, CHRISTINS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELATORRE, MANUEL                    DELAUNE, ROSALIE                      DELAURENZO, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELAVAL, REBECCA                     DELAVALLADE, JALEESA                  DELAVEGA, ELENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELAWARE DEPARTMENT OF JUSTICE       DELAWARE DEPARTMENT OF LABOR          DELAWARE DIV OF CORP
FRAUD & CONSUMER PROTECTION          4425 NORTH MARKET S                   ADDRESS UNAVAILABLE AT TIME OF FILING
CARVEL STATE BUILDING                WILMINGTON, DE 19802
820 N FRENCH ST 5TH FL
WILMINGTON, DE 19801



DELAWARE DIVISION OF REVENUE         DELAWARE DIVISION OF REVENUE          DELAWARE DIVISION OF REVENUE
20653 DUPONT BLVD                    540 S DUPONT HIGHWAY                  820 N FRENCH ST
STE 2                                DOVER, DE 19901                       WILMINGTON, DE 19801
GEORGETOWN, DE 19947
                       Case 22-11238-LSS
DELAWARE INVESTOR PROTECTION UNIT            Doc
                                      DELAWARE     2 FiledOF11/30/22
                                                 SECRETARY    STATE    Page 1193 of 5495
                                                                            DELAWARE STATE TREASURY
CARVEL STATE OFFICE BUILDING          DIVISION OF CORPORATIONS              820 SILVER LAKE BLVD., SUITE 100
820 N. FRENCH STREET                  PO BOX 5509                           DOVER, DE 19904
5TH FLOOR                             BINGHAMTON, NY 13902-5509
WILMINGTON, DE 19801



DELAWARE, JUDY                        DELAWTER, KATRINA                     DELAY, CIERRA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELAY, EMILY                          DELAY, LEILANI                        DELAZZER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELBANCO, YVONNE                      DELBERT L MYERS                       DELBROCCO, ASHLEY
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DELBRUECK, WILLIAM                    DELBUONO, ALISHA                      DELBURY, MARY CLAIR
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DELCASINO, TERESA                     DELCUORE, MISTY                       DELCUZE, BETHANY
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DELDOTTO, DANA                        DELECCE, AMBER                        DELEEDE, GAIL
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DELELLIS, JENNIFER                    DELEMOS, FAYE                         DELENA, ALEXIS
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DELENA, SARAH                         DELENCLOS, MARION                     DELENIKOS, MAKENZIE
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DELEO, CELESTE                        DELEON KNAPP, SOPHIA                  DELEON, ANDREW
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DELEON, ASHLEY        Case 22-11238-LSS
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                                                                           DELEON, 5495
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DELEON, JESSICA                      DELEON, LAUREN                        DELEON, LISA
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DELEON, PERNILLE                     DELEON, PHILLIP                       DELEON, THELMA
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DELEON, TRICIA                       DELERME, MAGDA                        DELESSIO, JULIANNE
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DELESSIO, PJ                         DELETE                                DELETE
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DELETE                               DELEUW, KATIE                         DELEVANTE, SERENA
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DELFELD, MEGAN                       DELFIN, BILLIE                        DELFINA RESTAURANT
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DELFINO, CAROLYN                     DELFINO, MATTHEW                      DELFINO-SILVA, GABY
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DELFRATTE, KATHY                     DELFS, BRADLEY                        DELGADILLO, ALICE
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DELGADILLO, ALICIA                   DELGADO, ARIANNA                      DELGADO, BREANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DELGADO, DIANA        Case 22-11238-LSS    Doc
                                     DELGADO,    2 Filed 11/30/22
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                                                                           DELGADO, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELGADO, JARED                       DELGADO, JEANINE                      DELGADO, JENNIFER
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DELGADO, JOELLE                      DELGADO, JULIA                        DELGADO, LARRY
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DELGADO, LAUREN                      DELGADO, LEANNA                       DELGADO, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELGADO, LUCIA                       DELGADO, MADISSON                     DELGADO, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELGADO, MARIA                       DELGADO, MARYANNE                     DELGADO, MIGUEL
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DELGADO, NATALIE                     DELGADO, OSWALDO ELIAS                DELGADO, RAYNE
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DELGADO, VICTORIA                    DELGADO, YAMILE                       DELGATTO, VINCENT
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DELGAUDIO, STACY                     DELGIUDICE, PENNY                     DELGIUDICE, TERESA
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DELGOBBO, KATE                       DELGRECO, KATELYN                     DELGRECO, KRISTAN
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DELGROSSO, KATHY      Case 22-11238-LSS    Doc LINDSAY
                                     DELGROSSO, 2 Filed 11/30/22         Page 1196 of 5495
                                                                              DELGROSSO, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DELI BOARD                              DELIA, CECILIA                        DELIA, MARIA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELIBERA, JOHN                          DELIBERTO, NICK                       DELICATO VINEYARDS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        12001 S HWY 99
                                                                              MANTECA, CA 95336-8499




DELICH, JENNIFER                        DELICIA KAMINS                        DELICIOUS SPOON, THE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELIGHTED INC                           DELIGNY, ARMAND                       DELIJANI, AFI
2555 PARK BOULEVARD SUITE 32            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PALO ALTO, CA 94306




DELILAH WILSON                          DELIMONT, LAUREL                      DELIN, ANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELINE, MICHALA                         DELIO, MARINA                         DELIRA-BOSACKI, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELISE, THERESA                         DELISLE, MICHELLE                     DELISLE, TINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELISO, BRIANNA                         DELISSIO, VICTORIA                    DELIUS, HERBY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELIZ, TAINA                            DELIZIO, CINDY                        DELJUIDICE, CAROLEANN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DELK, AMY             Case 22-11238-LSS     Doc 2 LPFiled 11/30/22
                                     DELL MARKETING                   Page 1197
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ADDRESS AVAILABLE UPON REQUEST       ONE DELL WAY, MS RR8-07               ADDRESS UNAVAILABLE AT TIME OF FILING
                                     ROUND ROCK, TX 78682




DELL, GREGORY                        DELL, TRISH                           DELLA RATTA, TONI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELLA, KATHERINE                     DELLACONA, ANTHONY                    DELLAFERA, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELLAFERA, KATHRYN                   DELLAGLIO, ANDREA                     DELLAGUARDIA, KALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELLANNO, LISA                       DELLAPENNA, DANIELLE                  DELLAQUILA, ALEXIS
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DELLARATTA, JOSEPHINE                DELLAVOLPE, SARA                      DELLE BOVI, HOPE
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DELLEN, DONNA                        DELLER, ERIN                          DELLERARIO, BRIAN
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DELLERT, KIMBERLEY                   DELLESTATE, NATALIE                   DELLI PAOLI, CARA
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DELLINGER, CINDY                     DELLINGER, LEIGHA                     DELLINGER, LORI
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DELLINGER, TAYLOR                    DELLINGER, VANESSA                    DELLITALIA, ISABELLA
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DELLO STRITTO, JODIE  Case 22-11238-LSS     Doc
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                                                                           DELLORO, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DELLORUSSO, BRIAN                    DELLOS, ANTHONY                       DELLOSTRITTO, KATHERINE
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DELLPLAIN, PATRICIA                  DELMA GILL BAKER                      DELMAN, STEPHANIE
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DELMAR, ELPIDIA                      DELMASTRO, ANTHONY                    DELMASTRO, TAYLOR
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DELMASTRO, TREVIANA                  DELMONICO, HANK                       DELMONICO, TOM
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DELMONTE, CATHERINE                  DELMOTTE-MARION, JAY                  DELOACH, ELYSA
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DELOACH, LACEY                       DELOACH, STEPHEN                      DELOACHE, DANIELLE
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DELODOVICI, JASON                    DELOERA, JERRY                        DELONEY, ASHLEY
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DELONEY, CURTIS                      DELONEY, DELIGHT                      DELONG, AMANDA
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DELONG, BRUCE                        DELONG, LAURI                         DELONG, ROCHELLE
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DELONG, SCOTT         Case 22-11238-LSS
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                                                                           DELORENZI, IRENE
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DELORENZO, BRIANA                    DELORENZO, CHRISTINE                   DELORENZO, EMILY
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DELORENZO, KACIE                     DELORENZO, KAYLA                       DELORENZO, MEGHAN
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DELORENZO, TARA                      DELORENZO, TIM                         DELORES, BECKER,
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DELOREY, JAMIE                       DELORGE, DANIELLE                      DELORIEA, JESSICA
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DELORM, STEPHANIE                    DELORME, ELIZABETH                     DELORME, LAUREN
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DELOSADA, JACOB                      DELOSH, LEANNE                         DELOSREYES, ANGELICA
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DELOSREYES, TEODORA                  DELOSSANTO, WILLIAM                    DELOSSANTOS, DESS
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DELOSSANTOS, JOHANNA                 DELOUISE, MAUREEN                      DELOUISE, ROSE
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DELOZIER, RITA                       DELP, ALEXANDRA                        DELP, DAVID NYCE
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DELP, ROSEMARY        Case 22-11238-LSS    Doc
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DELPH, JESSICA                       DELPHIA, DANIELLE                       DELPO, COLLEEN
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DELPP, JULIANNE                      DELPRETE, DIANNA                        DELSALTO, JENNY
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DELSANTO, CHRISTINA                  DELSENER, MARY                          DELSIGNORE, MICHAEL
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DELSORDO, MORIAH                     DELTA AIRLINES                          DELTE, JENNIFER
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DELTUFO, PEG                         DELUCA, ANNIE                           DELUCA, BARBARA
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DELUCA, CHERYL                       DELUCA, CLAUDIA                         DELUCA, CYNTHIA
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DELUCA, DALTON                       DELUCA, DAYNA                           DELUCA, DIANE
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DELUCA, DOUG                         DELUCA, ELENA                           DELUCA, GRETCHEN
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DELUCA, KELSEY                       DELUCA, LAURA                           DELUCA, LAURA
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DELUCA, LUANN         Case 22-11238-LSS
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DELUCA, MYRA                         DELUCA, ONEIDA                        DELUCA, REGINA
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DELUCA, STEPHANIE                    DELUCCIA, JIM                         DELUCIA, LAUREN
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DELUCIA, MICHAEL                     DELUGO, JESS                          DELUISE, JAN
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DELUNA, JOSIE                        DELUZIO, NICHOLE                      DELUZIO, VICTORIA
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DELVA, JACQUELINE                    DELVALLE, KELLY                       DELVECCHIO, DANIELLE
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DELVECCHIO, LAUREN                   DELVECCHIO, PHILIP                    DELVECCHIO, SOFIA
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DELVOIS, MARCOH                      DELY, JULIANA                         DELYN RAMEY
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DELZELL, JODY                        DELZER, RON                           DELZOTTO, JOE
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DEMACOPOULOS, ZOE                    DEMAIO, RAY AND MICHELLE              DEMANSS, ATHENA
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DEMAR JACKSON         Case 22-11238-LSS
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DEMARAIS, JAYMON                     DEMARCE, ANNABEL                      DEMARCHE, HEATHER & BURT
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DEMARCHENA, JULIE                    DEMARCO, ANGELA                       DEMARCO, DEANNA
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DEMARCO, KARA                        DEMARCO, KAT                          DEMARCO, MARY ELLEN
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DEMARCO, MEGAN                       DEMARCO, OLIVIA PAIGE                 DEMARCO, SARAH
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DEMARCO, SHANNON                     DEMARCO, SHARA                        DEMAREST, BROOKE
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DEMAREST, JESS                       DEMAREST, MICHAELA                    DEMARET, HEIDI
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DEMARET, PAUL                        DEMARI, SUE                           DEMARIA, WENDY
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DEMARS, ALEXANDRA                    DEMARS, DAUNDRE                       DEMARS, LAURA
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DEMARS, MIRANDA                      DEMARTELLY, TORY                      DEMARTINI, BARBARA
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DEMARTINI, JAN        Case 22-11238-LSS    DocDANA
                                     DEMARTINO, 2 Filed 11/30/22      Page 1203 of 5495
                                                                           DEMARTINO, SARAH
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DEMARZI, ALYSSA                      DEMARZI, DEBORAH                      DEMARZO, BROOKE
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DEMAS, ARIANNA                       DEMAS, KRISTA                         DEMASI, BRIANNE
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DEMATTEO, AMBER                      DEMATTEO, DARA                        DEMBECK, ZACHARY
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DEMBY, MOM                           DEMEESTER, JAIME                      DEMEIS, WALTER
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DEMEL, LAUREN                        DEMELLO, NIKKI                        DEMELO, KELSY
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DEMENDONCA, MAHLY                    DEMENT, JACQUELINE                    DEMENT, KATY
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DEMEO, LUCY                          DEMERCY, ALEXANDRA                    DEMEROUKAS, MICHELLE
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DEMERS, CAROLE                       DEMERS, DARCY                         DEMERS, GEERA
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DEMERS, JAMIE                        DEMERS, JOSEPH                        DEMERS, LINDSAY
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DEMERS, MINDY         Case 22-11238-LSS
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                                                                           DEMESTIHAS, ALI
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DEMETER ASSOCIATION, INC.            DEMETER ASSOCIATION, INC.              DEMETER, MARTIN
11933 W. BURLEIGH STREET             PO BOX 1390                            ADDRESS AVAILABLE UPON REQUEST
MILWAUKEE, WI 53222                  PHILOMATH, OR 97370-1390




DEMETER, RICHARD                     DEMETER, SIMONA                        DEMETOR, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DEMETRIADES, ELENI                   DEMETRIOU, LISA                        DEMETRIUS DOZIER
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DEMETRIUS SAJOUS-BRADY               DEMETRO, LOUIS                         DEMETROFF, BRANDY
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DEMETZ, KAYLIE                       DEMGEN, MATTHEW                        DEMIAN SCOTT VAUGHS
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DEMICHAEL, JAMES                     DEMIDOW, JOSEPH                        DEMILLO, MEGAN
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DEMING, ELTON                        DEMING, KATE                           DEMING, WENDY
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DEMINO, LAUREN                       DEMIRJIAN, JENIKA                      DEMKE, CHRISTINA
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DEMKO, ADRIAN                        DEMKO, ALEK                            DEMKO, LISA
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DEMKO, SHANNON        Case 22-11238-LSS    Doc PAUL
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                                                                           DEMM, ANNE
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DEMMA, JOANNE                        DEMMI, STACEY                         DEMMIN, DENNIS
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DEMMONS, ALESSANDRA & PATRICK        DEMMY, TARA                           DEMNATI, SALIM
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DEMNEY, LAUREN                       DEMONS, ANGELA                        DEMONTE, DAMIANO
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DEMONTE, HELENE                      DEMONTE, KATIE                        DEMONTE, LOUIS
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DEMONTMORENCY, NAOMI                 DEMOREST, KIMBERLY                    DEMOREST, SHANDA
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DEMOSS, HEATHER                      DEMOTT, ANTHONY                       DEMOTT, BEATRICE
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DEMOTT, LINDSEY                      DEMOVILLE, CAROL                      DEMOYA, LOURDES
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DEMPSEY, ALLISON                     DEMPSEY, BEATRIZ                      DEMPSEY, BRENDA
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DEMPSEY, DEBRA                       DEMPSEY, EMILY                        DEMPSEY, EVAN
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DEMPSEY, FINA         Case 22-11238-LSS    Doc
                                     DEMPSEY,    2 Filed 11/30/22
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                                                                           DEMPSEY, KELLY
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DEMPSEY, KEVIN                       DEMPSEY, KIMBERLY                     DEMPSEY, KRISTIN
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DEMPSEY, KRISTINE                    DEMPSEY, LEO                          DEMPSEY, LINDSEY
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DEMPSEY, LISA                        DEMPSEY, LYNSEY                       DEMPSEY, MANDY
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DEMPSEY, MARK J.                     DEMPSEY, MICHAELA                     DEMPSEY, PAMELA
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DEMPSEY, ROBERT                      DEMPSEY, SUMMER                       DEMPSON, DEBRA
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DEMPTON, ANNA                        DEMPZ, ALICIA                         DEMRO, JEAN
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DEMSKO, CHRISTINA                    DEMULIER, VALERIE-ANNE                DEMURO, COREY
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DEMURO, MARIA                        DEMUTH, REBECCA                       DEMUTH, RYAN
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DEMUYNCK, JENNIFER                   DEMYAN, SARAH                         DEN HERDER, ALEXA
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DEN HERDER, JENELLE   Case 22-11238-LSS    Doc
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                                                                           DENAPOLI, LAUREN
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DENAPOLI, NICK                       DENAPOLI, VAL                          DENARDIS, RICK
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DENARDO, ANN                         DENARO, GABRIELLE                      DENAXAS, MARGOT
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DENBOER, ROCHELLE                    DENCH, KACIA                           DENEAU, THERESA
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DENECOCHEA, REGINA                   DENEGRI, CHELSEA                       DENERO, KATIE
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DENEWETH, BLAKE                      DENEY, JACOB                           DENG, AIWEI
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DENG, HUIQI                          DENG, JIAYI                            DENG, YANA
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DENG, YUNMENG                        DENGAH, FARAH                          DENGEL, CHELSEA
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DENGLER, CAROLINE                    DENGLER, KELLY                         DENGLER, MARYKATE
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DENHAM, ANNA                         DENHAM, BRIENNA                        DENHAM, DOROTHY
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DENHAM, LIZ           Case 22-11238-LSS    Doc
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DENHOFF, JULIA                       DENHOLM, MASON                        DENHOLM, RACHAEL
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DENICOLA, PATTY                      DENIRO, ALLISON                       DENIRO, LAUREN
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DENIS, ADRIANN                       DENIS, BAILEY                         DENIS, FABIOLA
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DENIS, LYNN                          DENISE ARRUDA                         DENISE DAY
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DENISE DIANE GOODING                 DENISE GABRIELE                       DENISE SACHECK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DENISE STURDIVANT (V)                DENISE WOODS                          DENISE, SANDRA
ELEGANT WINES AND SPIRITS LLC        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
5994 S. HOLLY ST
GREENWOOD VILLAGE, CO 80111




DENISENKO, DMITRY                    DENISON, AMY                          DENISON, ASHLY
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DENISON, ASTRID                      DENISON, LEAH                         DENISON, RILEY
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DENISON, VERONICA                    DENISOVA, KSENIIA                     DENIZAC, IVAN
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DENKE, ABIASSI        Case 22-11238-LSS
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DENKIN, ROSS                         DENLINGER, CORINNE K                   DENLINGER, JONALYN
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DENMAN, BRIANA                       DENMAN, JAMIE                          DENMARK, ALLEY
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DENMARK, AYANNA                      DENMARK, LISA                          DENNARD, JENNIFER
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DENNARD-TURNER, MARY                 DENNEHY, JILLIAN                       DENNEHY, JOHN
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DENNEHY, KC                          DENNELL, KADY                          DENNEN, KATELYN
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DENNER, CHANTAL                      DENNESE DEVESA                         DENNETT, TONYA
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DENNEWITZ, LAURA                     DENNEY, CASSIE                         DENNEY, CHANTELL
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DENNEY, DEBORA                       DENNEY, EMILY                          DENNEY, EMILY
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DENNEY, JOHN                         DENNEY, JOSHUA                         DENNEY, KAITLYN
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DENNIES, COREY                       DENNIG, CATHERINE                      DENNIG, MELANIE
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DENNIN, CAROLINE                     DENNING, BRIAN                         DENNING, EVA
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DENNING, JILL                        DENNING, KORI                          DENNING, MARIE
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DENNING, MICHELLE                    DENNINGTON, JEANNE                     DENNINGTON, NINA
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DENNINGTON, TARA                     DENNIS ALAN HARRIS                     DENNIS B PHELPS JR REVOCABLE TRUST
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DENNIS BATES EMORY                   DENNIS BAUM                            DENNIS E REINKING
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DENNIS EDWARD STUCKE                 DENNIS FRAZIER                         DENNIS HARMS
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DENNIS HEALY                         DENNIS JAMES FORWARD                   DENNIS KAUFFMAN
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DENNIS L ECKARD                      DENNIS MAREK JR                        DENNIS MICHAEL WELLS
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DENNIS MICHAEL WELLS Case 22-11238-LSS
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DENNIS REY PENA                      DENNIS RICHARDS                       DENNIS TATSUO MASAKI
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DENNIS TSUGIO TANAKA                 DENNIS                                DENNIS, ANNA
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DENNIS, ANNA                         DENNIS, ANNE MARIE                    DENNIS, ASHLEY
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DENNIS, BREYANNA                     DENNIS, CHELSI                        DENNIS, CINDY
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DENNIS, COLTON                       DENNIS, COOPER                        DENNIS, HELEN
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DENNIS, ISABEL                       DENNIS, JENNIFER                      DENNIS, JUSTIN
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DENNIS, LAUREN                       DENNIS, LEROY                         DENNIS, LINDSEY
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DENNIS, MARIA                        DENNIS, MARQUIS                       DENNIS, MATTHEW
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DENNIS, MATTHEW                      DENNIS, MEGAN                         DENNIS, MIKE
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DENNIS, NAJJEMBA      Case 22-11238-LSS
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DENNIS, RYAN                         DENNIS, SARAH                         DENNIS, STEPHEN
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DENNISON, AMBER                      DENNISON, ANGI                        DENNISON, CHRISTOPHER
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DENNISON, KRISTEN                    DENNISON, LINDSAY                     DENNISON, MEGAN
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DENNISON, RACHAEL                    DENNISON, VENUS                       DENNISS, BRITTANY
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DENNISTON, ERIN                      DENNO, BASSAM                         DENNO, JOE
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DENNO, WISAM                         DENNY, ALISON                         DENNY, DEBBY
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DENNY, DEVIN                         DENNY, JANET                          DENNY, JOHN
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DENNY, LOUISE                        DENNY, LYNN                           DENNY, RY
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DENNYS HERMAN                        DENO, JENA                            DENO, KRISTEN
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DENOFRIO, CASEY       Case 22-11238-LSS    Doc
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DENOME, NOELLE                       DENOVILLE, SAMANTHA                    DENOWSKI, PATRICIA
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DENSBERGER, TERRY                    DENSING, ASHLEY                        DENSMORE, JACKIE
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DENSMORE, MENDEN                     DENSON, HANNA                          DENSON, JERRI
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DENSON, SUE                          DENT, ASHLEY                           DENT, CYANN
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DENT, DENISE                         DENT, ELI                              DENT, LAURA
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DENT, LESLIE                         DENT, OLIVIA                           DENTINGER, ALLISON
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DENTLEY, EVAN                        DENTON REAL ESTATE COMPANY INC 401K    DENTON, ANNA
ADDRESS AVAILABLE UPON REQUEST       PSP                                    ADDRESS AVAILABLE UPON REQUEST
                                     1751 BERKELEY ST STUDIO 3
                                     SANTA MONICA, CA 90404




DENTON, BRIAN                        DENTON, COLLEEN                        DENTON, FAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DENTON, HALEY                        DENTON, JAMIE                          DENTON, JULIE
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DENTON, JULIENNA      Case 22-11238-LSS
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                                                                              DENTON, 5495
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DENTON, MADISON                         DENTON, MARK                          DENTON, TESSA
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DENU, AMANDA                            DENUNZIO, ALEX                        DENUZZIO, DANIELA
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DENVER GAY PROFESSIONALS                DENVER PAUL                           DENVER, LEANNA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DENYER, POPPY                           DENYS, ANGEL                          DENZER, CRISTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DENZER, JESSICA                         DENZIL MENEZES 401K PSP               DENZINGER, JULEE
ADDRESS AVAILABLE UPON REQUEST          326 PARKWOOD LN                       ADDRESS AVAILABLE UPON REQUEST
                                        COPPELL, TX 75019




DEO, CRISI                              DEODHAR, ABHISHEK                     DEOGRACIAS, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEOLIVEIRA, JAYME                       DEOLIVEIRA, SHELLY                    DEORTENTIIS, PETER
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DEOT, BALJIT                            DEPACE, NICOLE                        DEPADOVA, DANIELLE
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DEPAGNIER, ALEXIS                       DEPALLO, MIA                          DEPALMA, SHEENA
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DEPANICIS, TIFFANY    Case 22-11238-LSS    Doc
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                                                                                   DEPAOLI, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




DEPAOLO, MONICA                         DEPARTMENT OF ALCOHOLIC BEVERAGE           DEPARTMENT OF BUSINESS REGULATION
ADDRESS AVAILABLE UPON REQUEST          CONTROL (UTAH)                             SECURITIES DIVISION
                                        1625 SOUTH 900 WEST                        1511 PONTIAC AVENUE
                                        SALT LAKE CITY, UT 84104                   CRANSTON, RI 02920




DEPARTMENT OF FOOD & AGRICULTURE        DEPARTMENT OF FOOD AND AGRICULTURE         DEPARTMENT OF HOMELAND SECURITY
MARKET ENFORCEMENT BRANCH STATE OF      DIVISION OF MARKETING SERVICES,            BUREAU OF CUSTOMS AND BORDER
CALIFORNIA                              AGRICULTURAL                               PROTECTION
1220 N STREET, SACRAMENTO ROOM 140      STATISTICS BRANCH                          6650 TELECOM DRIVE
SACRAMENTO, CA 95814                    650 CAPITOL MALL, SUITE 6-100              INDIANAPOLIS, IN 46278
                                        SACRAMENTO, CA 95814

DEPARTMENT OF LIQUOR CONTROL            DEPARTMENT OF LIQUOR CONTROL               DEPARTMENT OF LIQUOR CONTROL
COUNTY OF HAWAII                        COUNTY OF HAWAII                           COUNTY OF KAUAI
EAST HAWAI‘I, DIRECTOR: GERALD TAKASE   WEST HAWAI‘I, , DIRECTOR: GERALD           LEO SANDOVAL DIRECTOR DEPARTMENT
HILO LAGOON CENTER,                     TAKASE,                                    OF LIQUOR CONTROL LIHUE CIVIC CENTER
HILO, HI 96720                          75-5706 KUAKINI HIGHWAY, SUITE 103 & 107   MOIKEHA BUILDING
                                        (CONFERENCE ROOM)                          4444 RICE STREET, SUITE 120
                                        101 AUPUNI STREET, SUITE 230               LIHUE, KAUAI, HI 96766
                                        KAILUA-KONA, HI 96740

DEPARTMENT OF LIQUOR CONTROL            DEPARTMENT OF LIQUOR LICENSES AND          DEPARTMENT OF REVENUE SERVICES
110 ALA’IHI STREET ROOM 212             CONTROL                                    ADDRESS UNAVAILABLE AT TIME OF FILING
KAHULUI, HI 96732                       800 WEST WASHINGTON
                                        FIFTH FLOOR PHONEIX, AZ 85007




DEPARTMENT OF THE SECRETARY OF          DEPASQUALE, JOSEPH                         DEPASQUALE, MARGIE
STATE                                   ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
DIVISION OF CORPORATIONS, UCC AND
COMMISSIONS
101 STATE HOUSE STATION
AUGUSTA, ME 04333-0101

DEPASQUALE, MARY                        DEPASQUALE, PAUL                           DEPASS, JAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




DEPATIE, DAVID                          DEPATIE, TRINITY                           DEPAUL, GAVIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




DEPAUL, SARA                            DEPCZYNSKI, CARA                           DEPEDRO, DINA
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DEPELTEAU, SHARON                       DEPENA, KAITLYN                            DEPERRO, PHIL
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DEPERRY, BEN          Case 22-11238-LSS    Doc ELIZABETH
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DEPEW, SUZANNE                       DEPHILLIPS, DAN                       DEPIETRO, DEANNA
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DEPIETRO, DEANNA                     DEPIETRO, RACHAEL                     DEPILLO, RAYMOND
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DEPINA, LAUREN                       DEPIPPO, MOLLY                        DEPIRO, JULIE
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DEPLANTY, MARANDA                    DEPOINT, LORI                         DEPOMPEI, DEBRA
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DEPONTE, NICK                        DEPOY, EDITH                          DEPOY, MICHELLE
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DEPOY, MICHELLE                      DEPPE, MELISSA                        DEPPERSCHMIDT, TERESA
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DEPREY, GENNA                        DEPREY, JACQUELINE                    DEPREY-SEVERANCE, HANNAH
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DEPREZ, EMMA                         DEPREZ, KYRA                          DEPRIEST, JENNINGS
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DEPRIEST, TRACY                      DEPRISCO, DOROTHEA                    DEPTULSKI, MOLLY
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DEPUGH, LEICA         Case 22-11238-LSS    Doc
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DEQUIROZ, MEGAN                      DER SARKISSIAN, KAYO                  DERAIMO, TONY
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DERAJTYS, NANCY                      DERAMO, JILLIAN                       DERAMUS, TIMOTHY
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DERANGO, JAKOB                       DERASMO, ANGELA                       DERASMO, JO ANN
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DERAVIL, WITHNEY                     DERBY, JACQUELINE                     DERBY, SAMANTHA
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DERCK, ELIZABETH                     DERCK, GARY                           DERE, KAYLYN
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DEREE, CINDY                         DEREE, DANE                           DEREK A CYPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DEREK ALAN HALECKY (HUNTERS OAK      DEREK ANDREW RUSSO                    DEREK BRAHNEY LLC
VINEYARD)                            ADDRESS AVAILABLE UPON REQUEST        192 FLATBUSH AVE 4E
18101 E. STAMPED RD                                                        BROOKLYN, NY 11217
LODI, CA 95240




DEREK CHRISTOPHER EUKEL              DEREK CLAY                            DEREK CLEMENT
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DEREK DANIEL GRIMM                   DEREK DIAZ                            DEREK FREEMAN
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DEREK GORTHY          Case 22-11238-LSS    Doc 2 Filed 11/30/22
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DEREK M COOKE                        DEREK MICHAEL LASHURE                 DEREK NGUYEN
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DEREK PALMER                         DEREK TEUNISSEN                       DEREMER, CRAIG
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DEREN, ERIN                          DERENE, THERESA DEREME                DERENONCOURT, LORETTA
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DERENZIS, DEVAN                      DERENZO, NICHOLAS                     DERENZO, NICK
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DERESCHUK, SHANE                     DERFUSS, JENNIFER                     DERICK, AMY
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DERIDOVICH, NATALIIA                 DERIEG, CAZ                           DERIGGI, KRISTEN
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DERIN, REBECCA                       DERISSE, EMMANUEL                     DERIZANS, KATHLEEN
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DERKITS, JENNIFER                    DERKS, ERIN                           DERKS, KIMBERLY
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DERKSEN, TANYA                       DERLINK, AMY                          DERMAN, RACHEL
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DERMO, RONI           Case 22-11238-LSS    Doc
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                                                                           DERMODY, HUGH
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DERMODY, JOHN M                      DERN, VICTORIA                        DERNOGA, DANIELLE
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DEROCCO, AMY                         DEROCHE, MICHELLE                     DEROCHE, REBECCA
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DEROCK, MELODY                       DEROO, ALLIE                          DEROOS, GABRIELLE
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DEROSA, GINA                         DEROSA, JAMES                         DEROSA, JESSICA
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DEROSA, LEANNE                       DEROSA, LINDSEY                       DEROSA, MATTHEW
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DEROSA, MELISSA                      DEROSA, PETER                         DEROSA, SAMANTHA
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DEROSA, SUSAN                        DEROSA, TERESA                        DEROSE DAVID, LEHIGH EYE SPECIALISTS
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DEROSE, EMILEE                       DEROSE, SARAH                         DEROSIER, CALVIN
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DEROSIER, WILMINE                    DEROSSO, STACI                        DEROUEN, LINDSEY
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DEROUIN, DEVON        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DERR, BREANNE                    Page 1220  of 5495
                                                                           DERR, COURTNEY
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DERR, LARENDA                        DERR, LAURA                           DERR, ROBERT
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DERR, TAYLOR                         DERREBERRY, CHRIS                     DERRICHO, EDGAR
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DERRICK BRAMBLE                      DERRICK JOHN NYBAKKEN                 DERRICK KINNEY
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DERRICK, JENNIFER                    DERRICK, NATALIE                      DERRICKSON, CAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DERRICKSON, HAILEY                   DERRICO, AMANDA                       DERRIG, ROSALIE
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DERRY, MICHELLE                      DERRYBERRY, JENNIFER                  DERSCH, WAYNE
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DERUBBIO, JESSICA                    DERUBIS, MADELON                      DERUELLE, MACHELLE
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DERUNTZ, THERESA                     DERUPO, SARAH                         DERUYTER, DANIELLE
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DES ROSIERS, JOSEPHINE               DESA, ALEX                            DESA, RALUCA
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DESAI, AMIT           Case 22-11238-LSS      Doc 2 Filed 11/30/22
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DESAI, CRYSTAL                       DESAI, DHRUMIL                        DESAI, HETA
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DESAI, KANCHEE                       DESAI, KOMIL                          DESAI, KSHAMATA
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DESAI, MARGI                         DESAI, MEERA                          DESAI, MONA
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DESAI, MONISH                        DESAI, MOULIN                         DESAI, NAMRATA
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DESAI, NIHIT                         DESAI, NIKITA                         DESAI, PAYAL
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DESAI, POOJA                         DESAI, PREEYA                         DESAI, SAHLIA
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DESAI, SALIL                         DESAI, SNEHA                          DESAI, TEJAL
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DESAI, VALEE                         DESAI, VISHWA                         DESALVA, GREGORY
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DESALVO, JENNIFER                    DESALVO, LIZ                          DESALVO, MARCIA
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DESANDO, ALLEN        Case 22-11238-LSS    Doc 2
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                                                                           DESANTIS, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DESANTIS, ERIN                       DESANTIS, JENNIFER                     DESANTIS, KARA
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DESANTIS, NATALIE                    DESANTO, DANIELLA                      DESANTO, MALLEY
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DESANTOS, KATHY                      DESAPRI, SHERI                         DESART, BREANNA
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DESBORDES, BRUNA                     DESCALO, BOAZ                          DESCARDES, MINDY
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DESCHAINE, ARIANA                    DESCHAINE, MARGARET                    DESCHAINE-HURD, TAYLOR
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DESCHAMPS, ANA                       DESCHAMPS, LAURA                       DESCHENE, ROBERT
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DESCHNER, CORY                       DESCOTEAUX, LAUREN                     DESHA, CARRIE
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DESHA, TANIA                         DESHANTEL TIMPERANZA                   DESHARNAIS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DESHAW-WILNER, GRACE                 DESHAY, JANA                           DESHAZO, CARLOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DESHAZO, CHIRAE       Case 22-11238-LSS    DocTHANDIWE
                                     DESHAZOR,  2 Filed   11/30/22
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                                                                           DESHIELDS, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DESHMUKH, DIPTEE                     DESHMUKH, SMITA                       DESHONG, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DESHPANDE, ISHA                      DESHPANDE, RAJANI                     DESIATO, ELODIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DESIDERIO, ASHLEY                    DESIDERIO, FRANCESCA                  DESIDERIO, QUINN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DESIGN DARLING LLC                   DESIGN SEND, LLC                      DESIGN WITHIN REACH
168 TOKENEKE ROAD                    2147 W MOFFAT ST                      ADDRESS UNAVAILABLE AT TIME OF FILING
DARIEN, CT 06820                     CHICAGO, IL 60647




DESIGNOR, LARA                       DESILETS, SUSAN                       DESILVA, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DESIMONE, DENISE                     DESIMONE, JENNA                       DESIMONE, KARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DESIMONE, MARYANN                    DESING, JULIANNA                      DESINOR, TRISTAN
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DESIREA, LOZENSKY,                   DESIREE BRENDA WILLIAMS               DESIREE COVIELLO
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DESIREE GOODSON                      DESIREE MCKINNEY                      DESIREE S BONNVILLE
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DESISTO MGMT LLC       Case 22-11238-LSS    DocREBECCA
                                      DESJARDIN, 2 Filed 11/30/22        Page 1224  of 5495
                                                                              DESJARDINS SECS INC.(5028)
113 EILEEN LN                         ADDRESS AVAILABLE UPON REQUEST           ATTN KARLA DIAZ/VALUERS MOBILIARES
MANAHAWKIN, NJ 08050                                                           2 COMPLEXE DESJARDINS TOUR EST
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DESLIENS, SHIRLINE                    DESMAN, COURTNEY                         DESMARAIS, BRIAN
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DESMARAIS, GRACE                      DESMARAIS, JACOB                         DESMARAIS, JASON
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DESMARAIS, MICKEY                     DESMARAIS, ROBIN                         DESMARAIS, SARAH
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                                     DESMOND,   2 Filed 11/30/22
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DESOMBRE, MEGAN                      DESOMOV, NICHOLAS                      DESORETZ, ANDREA
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DESOTO, ANNA                         DESOTO, KATHLEEN                       DESOUCHET, JENNY
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DESOUSA, DANA                        DESOUZA, AMANDA                        DESOUZA, CARMEN
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DESPAIN, CHRISTOPHER                 DESPAIN, KORRINA                       DESPIAU, YARIMAR
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DESPIEGLER, RAYMOND                  DESPLECHIN, JASON                      DESPOSITO, JOHN
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DESPRES, KIM                         DESPRES, MARY                          DESROCHERS, AGNIESZKA
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DESROCHERS, CHARLENE                 DESROCHERS, CRYSTAL                    DESROCHERS, JESSE
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DESROCHES, DANIELLE                  DESROCHES, JENNIFER                    DESROSIER, ERIN
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DETAR, AMANDA                           DETCHEMENDY, DEANNA                    DETCHEVA, DONNIE
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DETELS, MILLY         Case 22-11238-LSS    DocMEGHAN
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DETORO, KATIE                        DETRANA, ALEXANDER                    DETRAZ, DAWN
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DEUEL, WHITNEY                       DEULKAR, ISHAN                        DEUR, KATHY
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DEURINGER, HOWARD                    DEUSER, KEN                           DEUSTER, MELISSA
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DEUTERMANN, THOMAS                   DEUTH, RENEE                          DEUTSCH, DANIELLA
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DEUTSCH, DAVID                       DEUTSCH, JEROME                       DEUTSCH, KAREN
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DEUTSCH, KEVIN                       DEUTSCH, LAUREN                       DEUTSCH, MACKENZIE
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DEUTSCH, MATTHEW                     DEUTSCH, RUSSELL                      DEUTSCHMAN, ERICA
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DEVANEY EWERS, REGINA                DEVANEY, BRIAN                        DEVANEY, COLLEEN
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                                     DEVANEY,    2 Filed 11/30/22
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DEVANTIER, HEATHER                   DEVARAJAN, SHANTA                      DEVARAKONDA, SHILPA
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DEVASKAR, CHET                       DEVASTO, PHILIP                        DEVAUGHN, DEVIN
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DEVENDRA SHARMA                      DEVENEY, ALYSON                        DEVENY, DALYCE
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DEVENY, LONA                         DEVENY, SABRINA                        DEVENY, SHANNON
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DEVER, ALEJANDRO                     DEVER, AMANDA                          DEVER, JACK
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DEVER, SHALYN                        DEVERDIS, MARY                         DEVEREAUX, KAILA
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DEVERS, DEVON                        DEVERS, WILLIAM                        DEVERY, ARIECA
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DEVERY, CALLAN                       DEVES, MICHELLE                        DEVEZA, PIOLITO
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DEVGUN, CHARU                        DEVIA, CRISTINA                        DEVIES, FELICITY
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DEVILLA, LISA                        DEVILLAR, MICHELLE                     DEVILLE, CONNIE
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DEVILLE, MARIA                       DEVILLIER, ALYSSA                      DEVIN LAFAYE
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DEVINCENZO, ANTHONY                  DEVINCENZO, JENNA                      DEVINCENZO, RACHEL
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DEVINDER K MAKKER                    DEVINE, AMANDA                         DEVINE, ANGELA
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DEVINE, ASHLEY                       DEVINE, BRADEN                         DEVINE, CHRIS
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DEVINE, FRANCESCA                    DEVINE, GERI                           DEVINE, HILLARY
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DEVINE, JOHN                         DEVINE, KEVIN                         DEVINE, LAURA
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DEVINE, LORI                         DEVINE, MARY                          DEVINE, MICHAEL
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DEVINE, MICHAEL                      DEVINE, MICHAEL                       DEVINE, MONICA
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DEVINE, NICOLE                       DEVINE, PATRICK                       DEVINE, RACH
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DEVINE, RYAN                         DEVINE, SIOBHAN                       DEVINE, VICKI
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DEVINEY, AMY                         DEVITO, DANIELLE                      DEVITO, DEENA
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DEVITO, GAIL                         DEVITO, MICHAEL                       DEVITO, P A
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DEVIVO, JOE                          DEVLEMING, KRISTIN                    DEVLIN, ELIZABETH
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DEVLIN, FRANCESCA                    DEVLIN, ISABEL                        DEVLIN, KATHLEEN
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DEVLIN, KAYLA                        DEVLIN, SARAH                         DEVLIN, SEAN
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DEVOL, KARI                          DEVOL, SIDNEY                         DEVON COETZER
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DEVON FAIELLA                        DEVON, JOHNSON,                       DEVONTE OLIVER
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DEVOR, SARAH                         DEVORA, TRACI                         DEVORE, ALICIA
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DEVORE, BJ                           DEVORE, CHAD                          DEVORE, DANIELLE
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DEVORE, JAMIE                        DEVORE, MARISHA                       DEVORE, ROSS
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DEVORE, SHANNON                      DEVORE, TODD                          DEVORE-PUENTE, ANTHONY
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DEVOSE, AJA                          DEVOUE, DEVIN                         DEVOURSNEY, JOEL
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DEVRIES, AMANDA                      DEVRIES, JOANNE                       DEVRIES, KEVIN
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DEVRIES, LANCE                       DEVRIES, TARYN                        DEVRIESE, MEGAN
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DEVULAPALLI, SUNJEEV                 DEW, BILLY                            DEW, JAMES
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DEW, KENNY                           DEWAELSCHE, HEATHER                   DEWAL, AVADHISH
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DEWALD, BETHANY                      DEWALD, SHERI                         DEWALTERS, AUDRA
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DEWAN, MCGARA                        DEWAN, SARAH                          DEWANE, JESSE
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DEWAR, JOHN                          DEWATER, JESSICA                      DEWATERS, KRISTINE
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DEWAYNE WATTERS                      DEWBERRY, KAREN                       DEWBERRY, RANDY
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DEWBERRY, SHENAY                     DEWEES, SAM                           DEWEY, ELIZABETH
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DEWEY, HEATHER                       DEWEY, JENNIFER                       DEWEY, PAUL
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DEWHIRST, DAVID                      DEWILDE, KRISTEN                      DEWITT, DOUG
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DEWITT, JANIS                        DEWITT, JESSICA                       DEWITT, KERRY
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DEWITT, LAURA                        DEWITT, MARY                          DEWITT, ROBIN
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DEWITT, RYAN                         DEWITT, SHAWNEE                       DEWITT, TRACI
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DEWOLFE, BRITTANY                    DEWOLFE, TAYLOR                       DEWOSKIN, DANIEL
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DEXTER WRIGHT, DEE ANNA              DEXTER, BRIDGET                       DEXTER, CASSANDRA
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DEXTER, CHASNEY                      DEXTER, DANIELA                       DEXTER, HEATHER
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DEXTER, HEIDI                        DEXTER, JAMIE                         DEXTER, KAYCEE
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DEXTER, MEGAN                        DEY, LASHAUNA                         DEYHLE, VANESSA
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DEYNAKA, KIM                         DEYO, JUSTIN                          DEYO, NICK
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DEYOE, DANYELL                       DEYOUNG, CATHERINE                    DEYOUNG, COLE
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DEYULIS, KARLEE                      DEYULUS, CHRISTINA                    DEZALIA, MEGAN
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DEZENDORF, BRUCE                     DEZFOLI, ALLEN                        DEZSO, KAILYN
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DEZURIK, MOLLY                       DGA CAPITAL LLC                       DHAEM, PATTI
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DHAGE, GAURAV         Case 22-11238-LSS
                                     DHAKAL,Doc 2 Filed 11/30/22
                                            SUDARSHAN                    Page 1236   of 5495
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DHALIWAL, GURU                       DHANDA, SNEHA                            DHANESH GADRE
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DHANI, FAUZI RAHMAT                  DHANIK, ANDY                             DHANRAJ, AMANDA
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DHANVINDER, SINGH                    DHAR, HEDIA                              DHAR, MARCELA
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DHARAMSEY, AMAR                      DHARAWAT, AMY                            DHARIA, HARSHAL
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DHARMA, RAJA SHEKAR                  DHARMENDER MATHA                         DHAWAN, ARJUN
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DHAWAN, ARJUN                        DHAWKA, LUVNA                            DHAYER, BRITTANY
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DHINDSA, MARIA                       DHL EXPRESS USA INC                      DHL EXPRESS USA INC
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                                     FORT LAUDERDALE, FL 33324                CHICAGO, IL 60693




DHOBLE, EMILY                        DHODAPKAR, VIJAY                         DHOLAKIA, AYESHA
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DHONDIBA KAVATEKAR                   DHOOT, KHUSHBOO                          DHOOT, NILESH
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DHOTE, AKANKSHA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DHRU, KARISHMA                   Page 1237  of 5495
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DI COLA, ALLISON                     DI GIACOMO, AMY                        DI LONARDO, KRISTEN
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DI MAGGIO, NANCY                     DI MARCO, SAVANNAH                     DI NALLO, LIGIA
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DI NINO, KIMBERLY                    DI NIZO, ANTHONY                       DI PASQUALE, ROSLYN
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DI PIAZZA, COURTNIE                  DI SALVIO, TREVAH                      DI SILVESTRO, MARGARET
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DI STEFANO, AARON                    DI TULLIO, MAGGY                       DI, HAYDEE
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DI, MARIA                            DI, MATTHEW                            DIA DE CAMPOS
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DIA                                  DIABLO MEDIA, LLC.                     DIABLO VALLEY PACKAGING
237 CENTRE STREET FLOOR 2            2641 WALNUST ST.                       2373 NORTH WATNEY WAY
NEW YORK, NY 10013                   DENVER, CO 80205                       FAIRFIELD, CA 94533




DIABLO VALLEY PACKAGING              DIACO, JUSTIN                          DIAGOSTINO, KATHRYN
PO BOX 95584                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60694-5584




DIAL, CELESTE                        DIAL, CHLOE                            DIAL, JESSICA
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DIAL, SARAH           Case 22-11238-LSS       Doc 2 Filed 11/30/22
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DIAMADUROS, ELIZABETH                DIAMENTI, AUDRA                        DIAMOND IMPORTERS, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         528 W. WRIGHTWOOD
                                                                            CHICAGO, IL 60614




DIAMOND, AMANDA                      DIAMOND, AVIGAYIL                      DIAMOND, BRIAN
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DIAMOND, BRIDGET                     DIAMOND, CHRISTINE                     DIAMOND, COLLEEN
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DIAMOND, FANNIE                      DIAMOND, GWENDOLINE                    DIAMOND, HANNAH
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DIAMOND, JESSICA                     DIAMOND, JESSICA                       DIAMOND, JOAN
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DIAMOND, JONATHAN                    DIAMOND, MALORIE                       DIAMOND, PRECIOUS
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DIAMOND, SARAH-ANNE                  DIAMOND, SEAN                          DIAMONDSTEIN, MEGAN
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DIANA C RUANO         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DIANA CASTELLANO                 Page 1239  of 5495
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DIANA JENUL                          DIANA LATONA                          DIANA MENDOZA
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DIANA SOUDER                         DIANA SUN                             DIANA, ALEXANDRO
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DIANA, ANDREA                        DIANA, DAVID                          DIANA, LOPEZ,
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DIANE FITZJOHN                       DIANE GIDDENS                         DIANE GRUENWALD
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DIANE HAINES                         DIANE HUGHART                         DIANE HUGHART
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DIANE LARSEN-REDING                  DIANE LUTJE                           DIANE R GAYTON
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DIANE RICE                           DIANE RODRIGUEZ                       DIANE SCHOENSIEGEL WOLD
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DIANE WOLD                           DIANELYS VARGAS                       DIANNA HAMM
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DIARRA WATERS                        DIARRA, LYSA                          DIAS, ALEXANDER
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DIAS, AMY                            DIAS, DANIEL                          DIAS, EMILY
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DIAS, JENNIFER                       DIAS, LISA                            DIAS, ROSE
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DIAZ ALMONTE, BRYAN                  DIAZ CHAVEZ, PRINCELA                 DIAZ DE LEWIS, LILIA
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DIAZ DE LOS SANTOS, NICOLE           DIAZ WINBORN, VANESSA                 DIAZ, ADRIANA
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DIAZ, ALEXIS                         DIAZ, AMANDA                          DIAZ, ANDREA
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DIAZ, CYNTHIA                        DIAZ, DANIEL                          DIAZ, DAVID
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DIAZ, ELIZABETH                      DIAZ, ERNESTO                         DIAZ, EVELYN
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DIAZ, GENOVEVA                       DIAZ, GLORIA                          DIAZ, HANDIS
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DIAZ, JACQUELINE                     DIAZ, JAIME R.                        DIAZ, JEANNETTE
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DIAZ, JENNIFER        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DIAZ, JENNIFER                   Page 1242   of 5495
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DIAZ, JESSENOA                       DIAZ, JOANNIE                         DIAZ, JUSTINE
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DIAZ, MICHELLE                       DIAZ, MICHELLE                        DIAZ, MILAGROS
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DIAZ, PATRICIA                       DIAZ, RAMON                           DIAZ, REBEKAH
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DIAZ, ROBERT                         DIAZ, ROCIO                           DIAZ, ROSITA
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DIAZ, TAYLOR                         DIAZ, TRINITY                         DIAZ, VERONICA
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DIAZ, WALTER                         DIAZ, WILDALLIE                       DIAZ, WILLIAM SR.
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DIAZPEREZ, MARIA                     DIBACCO, AMANDA                       DIBACCO, EDMUND
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DIBACCO, JOSEPH                      DIBACCO, MELISSA                      DIBARTOLOMEO, CHANTAL
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DIBATTISTO, JESSICA                   DIBATTISTO, MOLLY                      DIBBEN, RACHEL
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DIBENEDETTO, JULIA                    DIBENEDETTO, KATHLEEN                  DIBENEDETTO, MARY
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DIBENEDETTO, PJ                       DIBENEDETTO, SUZIE                     DIBENIGNO, MARIAELENA
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DIBI, LESLEY                          DIBIASE, ANGIE                         DIBLASIO, CARLA
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DIBLASSIO, JUSTIN                     DIBLE, MAISHA                          DIBLE, MASON
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DIBONA, LESLIE                        DIBONA, NYASIA                         DIBONAVENTURA, CASSANDRE
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DIBRA, FLLADINA                       DIBRIENZA, MARIE                       DIBRIENZA, STEPHANIE
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DICAMILLO, DEBBIE                     DICAMILLO, JOYCE                       DICAMILLO, MARY
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                                                                           DICE, CAROLANNE
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DICE, SARAH                          DICEGLIE, MAURO                        DICENSO, RACHAEL
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DICIOCCIO, SARAH                     DICK, CALEB                            DICK, COURTNEY
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DICK, DAVID                          DICK, ETHAN                            DICK, GERRY
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DICK, GIGI                           DICK, HELENE                           DICK, JACI
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DICK, KATYANN                        DICK, KELLY                            DICK, KIMBERLY
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DICK, MATTHEW                        DICK, RACHEL                           DICK, SARA
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DICK, SARA                           DICK, STEVE                            DICKEN, BROOKE
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DICKENS, ALEXIA                      DICKENS, ALEXIS                        DICKENS, CHRISTINA
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DICKENS, EVAN         Case 22-11238-LSS    Doc
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DICKENS, SAUNDRA                     DICKENSHEETS, ELIZABETH               DICKER, ALICIA
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DICKERBOOM, MEGAN                    DICKERHOOF, MORGAN                    DICKERSON, ALAYNA
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DICKERSON, AMY                       DICKERSON, BETHANY                    DICKERSON, CALEB
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DICKERSON, CAMILLE                   DICKERSON, COREY                      DICKERSON, CRAIG
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DICKERSON, DANIELLE                  DICKERSON, DAVID O.                   DICKERSON, DONNA
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DICKERSON, DONNA                     DICKERSON, JEFF                       DICKERSON, JERAMY
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DICKERSON, JULIE                     DICKERSON, KALISE                     DICKERSON, MEGAN
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DICKERSON, MEGAN                     DICKERSON, MIKE                       DICKERSON, MOLLY
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DICKERSON, MONICA                    DICKERSON, PAMELA                     DICKERSON, SARAH
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DICKERSON, STEPHANIE Case 22-11238-LSS    DocSYLVIA
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                                                                           DICKERSON, VICTORIA
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DICKERT, JAMES                       DICKERT, LINDSAY                       DICKERT, LUCINDA
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DICKESON, JEFF                       DICKEY, CLAIRE                         DICKEY, DOUG
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DICKEY, JACOB                        DICKEY, KIMBERLY                       DICKEY, LESLIE
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DICKEY, ROGER                        DICKEY, SHANNON                        DICKEY, SHEA
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DICKEYPAIGEDICKEY, PAIGE             DICKHAUS, ELLEN                        DICKI, NEVA
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DICKINSON, AIMEE                     DICKINSON, ALEX                        DICKINSON, ASHLEY
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DICKINSON, AUDREY                    DICKINSON, CHERYL                      DICKINSON, CHRISTINE
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DICKINSON, KRISTINA                  DICKINSON, PATRICK                     DICKINSON, PEYTON
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DICKINSON, VICTORIA                  DICKINSON, YVONNE                      DICKINSONFERRELL, TAMMY
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DICKISON, ALEXANDRA   Case 22-11238-LSS     Doc
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DICKMAN, NIKOLE                      DICKMAN, THE 'S                        DICKSON, ANDREW
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DICKSON, DAVID                       DICKSON, DEE                           DICKSON, DREW
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DICKSON, ELIZABETH                   DICKSON, GWEN                          DICKSON, JANICE
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DICKSON, KARIN                       DICKSON, KATRICE                       DICKSON, KATY
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DICKSON, KRISTEN                     DICKSON, KRISTI                        DICKSON, MARY
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DICKSON, MARY                        DICKSON, PERTALA                       DICKSON, WAYNE
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DICKSON, ZACHARIAH                   DICKSON, ZACHARY                       DICLEMENTI, DONNA
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DICOLA, LINDSEY                      DICOSTANZO, KELLY                      DICRESCE, ERICA
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DIDIGU, CHUKA                        DIDINO, MARISA                         DIDION, KELLEY
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DIDOMENICO, AMANDA                   DIDOMENICO, KELSEY                     DIDOMENICO, RACHEL
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DIDONATO, KATY                       DIDONATO, LEAH                         DIDONATO, MELISSA
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DIDONATO, SOPHIE                     DIEBAL, LISA                           DIEBERT, MALLORY
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DIEBNER, ERIC                        DIEBOLD, BARB                          DIEBOLD, CARRIE
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DIECKMANN, JAMIE                     DIECKVOSS, ANDRE                       DIEDE, LOREN
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DIEDEN, KINA                         DIEDERICH, CASEY                       DIEDERICH, ELIZABETH
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DIEDRICK, CHRISTYL                   DIEDWARDO, DEBRA                       DIEFENBACH, ALLISON
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DIEGO CARVAJAL                       DIEGO, JOHN                           DIEHL, ALICA
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DIEHL, ANGIE                         DIEHL, DRAKE                          DIEHL, GARY
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DIEHL, JENNIFER                      DIEHL, JULIA                          DIEHL, KATHERINE
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DIEHL, KATIE                         DIEHL, KELSEY                         DIEHL, MATT
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DIEHL, RYAN                          DIEHL, SIERRA                         DIEHL-MILLER, SARAH
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DIEMER, JULIANNE                     DIEMER, MONICA                        DIENER, ERICA
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DIENG, DIOR                          DIEP NGUYEN                           DIEP, JOHNNY
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DIEPENBROCK, EMILY    Case 22-11238-LSS    Doc
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DIERINGER, CAITLIN                   DIERINGER, MARISSA                    DIERINGER, TAYLOR
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DIERKHISING, NIKKI                   DIERLAM, LOIS                         DIEROV, DJAMILIA
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DIERS, BRENT                         DIERSCHKE, KATHERINE                  DIES, MOLLY
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DIESBURG, PATTI                      DIESSLIN, JENNIFER                    DIETAEN, KEITH
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DIETDERICH, NICOLE                   DIETEL, SHEILA                        DIETERLE, JACLYN
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DIETIKER, MACKENZIE                  DIETRICH, ALEXANDRIA                  DIETRICH, ANNA
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DIETRICH, CHRISTOPHER                DIETRICH, COURTNEY                    DIETRICH, HANNAH
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DIETRICH, JERRY                      DIETRICH, KALEY                       DIETRICH, KATE
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DIETRICH, MARK                       DIETRICH, MELISSA                     DIETRICH, THOMAS
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DIETSCH, AIMEE        Case 22-11238-LSS     Doc
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DIETZ, ANNA                          DIETZ, DEANNA                         DIETZ, DOMINIQUE
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DIETZ, KAITLIN                       DIETZ, KATELYNN                       DIETZ, KATHLEEN
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DIETZ, KRISTI                        DIETZ, MARTHLENE                      DIETZ, MARYETTA
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DIETZ, MEREDITH                      DIETZ, ROBYN                          DIETZ, SARAH
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DIETZ, SHARON                        DIETZ, SOPHIE                         DIETZ, STEPHANIE
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DIETZ, STEVE                         DIETZ, TRACI                          DIETZEL, MICHAEL
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DIEWOCK, CARRIE                      DIEZ, MAXIMILLAN                      DIEZ, SANDRA
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DIFALCO, SHARLEESHA                  DIFATTA, AMY                          DIFELICE, BETH
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DIFFEE, MELISSA       Case 22-11238-LSS     Doc 2AUBREY
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DIFILIPPO, ASHLEY                    DIFILLIPPO, JESSICA                    DIFIORE, MARIA
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DIFLORIO, CARMELA                    DIFONZO, ANASTASIA                     DIFONZO, JUDITH
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DIFONZO, KATE                        DIFRANCESCA, EILEEN                    DIFRANCESCO, DANIEL
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DIFRANCESCO, JEANNE                  DIFRANCO, JEN                          DIFRANCO, NICHOLAS
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DIFRANZA, SHARON                     DIFRONZO, CHIARA                       DIFULVIO, ALEXANDRA
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DIFURIA, JESSICA                     DIGA, CRIZEL                           DIGENA, ALISON
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DIGENA, JESSICA                      DIGENAKIS, HELEN                       DIGENNARO, JILL
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DIGENNARO, LYNNE                     DIGEON, ABBIE                          DIGERONIMO, JENNIFER
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DIGG                                 DIGGINS, PAUL                          DIGGINS, SARAH
29 LITTLE WEST 12TH STREET           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10014
DIGGS, AMANDA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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DIGGS, JASON                         DIGGS, RACHEL                           DIGGS, TANYA
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DIGHERO, BRIDGET                     DIGIACOPO, ELISA                        DIGIAMBATTISTA, SOPHIE
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DIGICERT, INC.                       DIGILIO, KRISTEN                        DIGIOIA, ANTHONY
2600 EXECUTIVE PKWY                  ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LEHI, UT 84043




DIGIOVANNA, MARK                     DIGIOVANNI, ARIA                        DIGIOVANNI, BRADLEY
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DIGIOVANNI, JONATHAN                 DIGIROLAMO, CHRISTINE                   DIGIROLAMO, ELIZABETH
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DIGIROLAMO, ERIN                     DIGIROLAMO, GABRIELLE                   DIGITAL BUYER
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DIGITAL DOGMA CORP                   DIGITAL LA                              DIGITAL MEDIA SOLUTIONS LLC
13003 LOS NIETOS RD                  ADDRESS UNAVAILABLE AT TIME OF FILING   11833 MISSIPPI AVE 2ND FLOOR
SANTA FE SPRINGS, CA 90670                                                   LOS ANGELES, CA 90025




DIGITAL MEDIA SOLUTIONS LLC          DIGITAL MEDIA SOLUTIONS LLC             DIGITAL MEDIA SOLUTIONS LLC
4800 140TH AVE N SUITE 101           W4 HOLDING COMPANY LLC                  W4 LLC
CLEARWATER, FL 33762                 4800 140TH AVE NORTH, STE 101           11833 MISSISSIPPI AVE, 2ND FLOOR
                                     CLEARWATER, FL 33762                    LOS ANGELES, CA 90025




DIGITAL MEDIA SOLUTIONS LLC          DIGITAL MEDIA SOLUTIONS LLC             DIGITALOCEAN
W4 LLC                               W4 LLC                                  ADDRESS UNAVAILABLE AT TIME OF FILING
2644 30TH STREET SUITE 100           DEPT. LA 23609
SANTA MONICA, CA 90405               PASADENA, CA 91185-3609
DIGITALUX, LLC.        Case 22-11238-LSS
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1333 HUDSON STREET, 1108N             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOBOKEN, NJ 07030




DIGNON, ANDREA                        DIGRAVIO, DONNA                       DIGRE, MAYA
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DIGREGORIO, CANDRA                    DIGREGORIO, CHRISTOPHER               DIGREGORIO, JOHN
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DIGREGORIO, STEPHANIE                 DIGUISEPPE, CHRISTINE                 DIHLE, CHRISTINE
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DIIENNO, JAMES                        DIIENNO, KRISTYN                      DIIMMITT, LON
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DIIORIO, GIOVANNA                     DIIORIO, RENEE                        DIJEROME, LAURA
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DIJKHOFFZ, ANISA                      DIJOLS, ISABELLE                      DIKEC, TIMUR
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DILANIAN, SARVEN                      DILAURO, CELESTE                      DILAURO, COLETTE
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DILAVERI, LORETA                      DILAWARI, KAVIKA                      DILBECK, ARDEN
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DILDAY, TERESA                        DILDINE, KIMBERLY                     DILELLO, SAMANTHA
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DILEONARDO, MARIA                    DILEONE, BROOKE                       DILEONE, NICOLE
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DILGER, AUBREY                       DILGER, KRISTINA                      DILIBERTA, JOSEPH
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DILIBERTO, HANNAH                    DILIBERTO, MARLA                      DILICK, IAN
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DILICK, SARAH                        DILIONE, ART                          DILIONE, PAUL
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DILIP NARAYANAN RAVINDRAN            DILIP PATEL                           DILIP, MONISHA
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DILKS, JESSICA                       DILL, ASHLEY                          DILL, BETHANY
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DILL, BREANNE                        DILL, CAROLINE                        DILL, COURTNEY
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DILL, DELANEY                        DILL, EMMA                            DILL, HALEY
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DILL, PAT                            DILL, SARA                            DILL, TAMMY
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DILLABAUGH, JACOB     Case 22-11238-LSS     DocDARRELL
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DILLARD, ANDREA                      DILLARD, CARRIE                        DILLARD, CECILIA
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DILLARD, ERIN                        DILLARD, KAITLYN                       DILLARD, KENISHA
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DILLARD, SCOTT                       DILLARD, SIOBHAN                       DILLARD, SYDNIE
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DILLE, ADDIE                         DILLE, NICOLE                          DILLE, VICTORIA
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DILLEN, DAWN                         DILLENBECK JR, EARL                    DILLER, JULIE
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DILLER, MINDY                        DILLER, RHETT                          DILLEY, JULIE
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DILLEY, LAURA                        DILLEY, PAIGE                          DILLI R SUBEDI
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DILLING, KELSEY                      DILLION, MATT                          DILLION, RACHEL
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DILLMAN, MADYSEN                     DILLMAN, MIKE                          DILLOIAN, ALLI
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DILLON, ALLISON                      DILLON, AMY                           DILLON, ANDREW
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DILLON, ANGELA                       DILLON, ANNIE                         DILLON, APRIL
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DILLON, AUDREY                       DILLON, BECKY                         DILLON, BRANDI
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DILLON, BRIANNA                      DILLON, CAITLIN                       DILLON, CASEY
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DILLON, CHERYL                       DILLON, DANIEL                        DILLON, DELLA
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DILLON, DIANE                        DILLON, INA                           DILLON, JAMES
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DILLON, JAMES                        DILLON, JULIANNA                      DILLON, JULIE
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DILLON, LAUREN                       DILLON, LISA                          DILLON, LUCY
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DILLON, MAGGIE                       DILLON, MEAGHAN                       DILLON, PATTY
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DILLON, REILLY        Case 22-11238-LSS
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DILLON, STEVEN                        DILLON, SUSAN                          DILLON, THOMAS
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DILLON, TIMOTHY                       DILLON, WILLIAM                        DILLOW, HAYLEY
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DILLOWAY, JILLIAN                     DILLS, STEFANI                         DILLS, TENA
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DILLWOOD, HEATHER                     DILLY, DAVID                           DILOCKER, ANNIE
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DILODOVICO, AMANDA                    DILOLLO, NICHOLAS                      DILONE, JENNA
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DILORATI, OLIVIA                      DILORENZO, LAUREN                      DILORENZO, LEANN
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DILORENZO, STEVEN                     DILORETO, DEREK                        DILORETO-HILL, JD
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DILSAVER, ALAN                        DILSAVER, RACHEL                       DILSHEIMER, CAROLINE
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DILUCA, JOSEPH                        DILUCENTE, ANTHONY                     DILULLO, ELIZABETH
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DILUOFFO, RYAN        Case 22-11238-LSS    Doc
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                                                                           DILWORTH, ASHTYN
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DIMAANO, KIRSTEN                     DIMAGGIO, FRANCES                     DIMAGGIO, SARA
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DIMAGUIPO-MUNOZ, CARINA              DIMAIO, ALYSSA                        DIMAIO, RICHARD
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DIMAKOS, LAURIE                      DIMAMBRO, KATHY                       DIMANGO, TIM
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DIMAO, LEIGH                         DIMAPILIS, DARLENE                    DIMAR, NANCY
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DIMARCA, SOFIA                       DIMARCELLA, CHRIS                     DIMARCO, MAY-MAY
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DIMARCO, MELINA                      DIMARE, KATY                          DIMARE, MARIA
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DIMARIA, KATHRYN                     DIMARIANO, MICHAEL                    DIMARIANO, NICOLE
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DIMARTILE, LESLIE                    DIMARTINO, DOMINIQUE                  DIMARZO, CHRISTINA
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DIMARZO, PATRICK                     DIMAS, MARI                           DIMASSIMO, SARA
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DIMATTEO, ANN         Case 22-11238-LSS    Doc
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                                                                           DIMAYUGA, JANEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DIMEDIO, JOSEPH                      DIMEGLIO, VICKI                        DIMENNA, MAGGIE
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DIMEO, JEAN                          DIMERCURIO, ERICA                      DIMES, AMY
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DIMETRES, JACLYN                     DIMIC, DARLENE                         DIMIC, MELISSA
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DIMICELI, ANNA                       DIMICHELE, JILL                        DIMICK, DANIELLE
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DIMICK, VALERIE                      DIMIGOU, MIREILLE                      DIMILLO, CARMELLA
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DIMITRIOU, ROHANIE                   DIMITRIUS KING                         DIMITROFF, SARAH
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DIMITROV, LAUREN                     DIMITROVA, PLAMENA                     DIMITRUK, KELSEY
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DIMLA, RONNIE                        DIMMER, PHILLIP                        DIMMICK, SARAH
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DIMOCK, CLAIRE                       DIMOFF, ANDREA                         DIMON, TAYLOR
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DMITRIY POGORELOV LENINA 15, 12      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KORKINO 456550
RUSSIA




DIMOND, TRACY                        DIMOS, LOIS                           DIMOU, VICTORIA
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DIMUCCIO, PAIGE                      DIMURO, VANESSA                       DINA, KATHRYN
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DINALLO, MELISSA                     DINAN, BRITTNEY                       DINAN, KIMBERLY
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DINARDO, CARRIE                      DINARDO, JEFF                         DINARDO, MAURA
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DINAS, MELINA                        DINATALE, JOSH                        DINCAU, LYCI
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DINCER, SUZAN                        DINE, JANICE                          DINEEN, ALLISON
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DINEEN, HOLLY                        DINEEN, KEVIN                         DINEEN, MEGHAN
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DINEEN, NICHOLE                      DINEEN, NICOLLETTE                    DINEEN, PATRICIA
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DINERMAN, NADINE                     DINES, ARIANNA                        DINES, MEGAN
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DINGEMAN, MICHELLE                   DINGLE, DON                           DINGLE, SOPHIE
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DINGLEDY, SARA                       DINGLER, LAYNE                        DINGMAN, ALLAN
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DINGMAN, BETH                        DINGMAN, SHAUNA                       DINGUS, JOSHUA
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DINH, ASHLEY                         DINH, CHRISTY                         DINH, MICHELLE
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DINH, TERESA                         DINH, TU ANH                          DINH, TU
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DINI, AMY                            DINICE, ANTHONY                       DINICOLA, AMBER
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DINICOLA, SARAH                      DININGER, NICHOLAS                    DININO, ASHLEY
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DINITZ-SKLAR, JILL                   DINIUS, KAITLIN                       DINIZ, GIOVANNE
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DINKEL, AMY                          DINKEL, HOLLY                         DINKEY, JESSICA
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




DINSDALE, KINSEY                     DINSLAGE, MELISSA                     DINSMOOR, CASSIE
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DINSMORE, BEN                        DINSMORE, EMILY                       DINSMORE, GABBY
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DINSMORE, LAUREN                     DINSON, MISHA                         DINSTELL, BECCA
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DINUNZIO, THERESA                    DINWIDDIE, REBEKAH                    DINWIDDIE, SARAH BETH
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DINWOODIE, CHERYL                    DINZEY, ASHLEY                        DIODATO, HEATHER
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DIOGO, HENRY                         DIOLIVEIRA, MEGAN                     DION, ALICE
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DION, MEGHAN                         DION, MICHELLE                        DION, NINA
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DIONGZON, ALEXIS                     DIONISIO, MYRA                        DIONNE LEWIS
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DIONNE, KRISTINE                     DIONNE, OLIVIA                        DIONNE, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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11581 ROBERTSON DRIVE                    11581 ROBERTSON DR. SUITE 101          ADDRESS AVAILABLE UPON REQUEST
MANASSAS, VA 20109                       MANASSAS, VA 20109




DIORIO, BREANNE                          DIORIO, HEATHER                        DIORIO, MARIA
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DIOSA, LAURA                             DIOTALEVI, AMANDA                      DIPACE, JOSEPH
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DIPACE, LARA                             DIPACE, LARA                           DIPALMA, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DIPANFILO, MEGAN                         DIPAOLA, NICK                          DIPAOLO, EMILY
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DIPAOLO, GRACE                           DIPAOLO, STEPHANIE                     DIPASQUALE, SARAH
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DIPASQUALE-ZYGA, JEN                     DIPEN VARDHE                           DIPERNO, DAN
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DIPERT, SIERA                            DIPIETRANTONIO, KELLY                  DIPIETRO, ANDREW
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DIPIETRO, CARRIE                         DIPIETRO, DAWN                         DIPIETRO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DIPIETRO, ROBERT                         DIPIKAR, JAI                           DIPILLA, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DIPOLVERE, JOHN       Case 22-11238-LSS    Doc
                                     DIPOMPEI,    2 Filed 11/30/22
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                                                                           DIPOO, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIPOTO, JUSTIN                       DIPPOLD, SETH                         DIPRIMA, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIPRISCO, JOVANA                     DIRADO, STEVE                         DIRECT SHOPPING CENTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




DIRECT SOURCE PACKAGING              DIRECTOR, MELISSA                     DIRIENZI, LISA
SUITE 4240 225 HIGH RIDGE ROAD       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STAMFORD, CT 06905




DIRIENZO, ALLISON                    DIRIG, YVONNE                         DIRISIO, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIRK PRIEUR DU PLESSIS               DIRK V TULLY                          DIRKES, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIRKS, AMBER                         DIRKS, MICHAEL                        DIRKSEN, CHYEANNA
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DIRKSEN, ROGER                       DIRKSEN, SHANNA                       DIRKSMEYER, VANESSA
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DIROCCO, LUJAN                       DIROCCO, MERISA                       DIROSARIO, KELSEA
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DIROSE, JUSTIN                       DIRR, ALEXANDRA                       DIRUBBA, WENDY
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DIRUBBO, CARA MIA     Case 22-11238-LSS    Doc
                                     DIRUBBO,    2 Filed 11/30/22
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                                                                              DIRUSSO, 5495
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DISA, JOHN                              DISALVATORE, JACQUELINE                DISALVO, SARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DISANTI, TATIANA                        DISANTIS, LAURA                        DISANTO, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DISANTOSTEFANO, CHRISTINA               DISARRO, ASHLEY                        DISBROW, SHANNON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DISCENZA, GABBY                         DISCH, ABBY                            DISCHEL, MURIEL
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DISCHINGER, NATALIE                     DISCHLER, ELIZABETH                    DISCHNER, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DISCOE, LISA                            DISCOLA, NICK                          DISCOUNTASP.NET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




DISCOUNTMUGS.COM                        DISCOVERY BENEFITS LLC                 DISCOVERY OFFICE SYSTEMS
ADDRESS UNAVAILABLE AT TIME OF FILING   4321 20TH AVE. S.                      2550 APOLLO WAY 100
                                        FARGO, ND 58103                        SANTA ROSA, CA 95407




DISDIER, JAMES                          DISEND, JONAH                          DISHAROON, BRANTLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DISHART, GREGORY                        DISHART, MAURA                         DISHLER, BETHANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DISHMAN, BOB          Case 22-11238-LSS    Doc
                                     DISHMAN,    2 Filed 11/30/22
                                              KENDRA                     Page 1268  of STEPHANIE
                                                                              DISHMAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DISHNER, JACKIE                         DISHNER, ROBIN                         DISHONG, BETH
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DISHY, ZAIDA                            DISICK, GRANT                          DISKIN, JEANMARIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DISLER, JENNIFER                        DISMUKE, HILARY                        DISNEY, SHAWNIECE
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DISOMMA, DIANE                          DISON, CATHY                           DISPALTRO, ROB
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DISPENSERKE                             DISPER, TERRY                          DISPLAY-WORLD
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




DISPONZIO, ROBIN                        DISPOTO, CAROL                         DISSEN, RYAN
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DISSER, MARY ANN                        DISSTON, BRITTANY                      DISTANISLAO, LAURA
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DISTASI, RICHARD                        DISTASIO, DESTINY                      DISTASIO, KRISTEN
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DISTASO, IMOGEN                         DISTASO, JACK                          DISTEFANO, ALISSA
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DISTEFANO, AUBRYANNA Case 22-11238-LSS     DocKATTYA
                                    DISTEFANO, 2 Filed 11/30/22       Page 1269  of 5495
                                                                           DISTEFANO, PAUL
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DISTELL, JENNIFER                    DISTENFELD, ERICA                      DISTRICT OF COLUMBIA ATTORNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         GENERAL
                                                                            441 4TH ST, NW
                                                                            WASHINGTON, DC 20001




DISTRICT OF COLUMBIA                 DISZ, JAIME                            DITARANTO, WHITNEY
1101 4TH STREET, SW                  ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SUITE 270
WASHINGTON, DC 20024




DITCHER, SCOTT                       DITCHMAN, NANCI                        DITCHMAN, SHAWNTIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DITIZIO, RYLAND                      DITKOFF, NAOMI                         DITO, LO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DITOMASO, OLIVIA                     DITOMASSO, JANET                       DITRI, AMANDA
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DITTA, RACHEL                        DITTHARDT, ROBERT                      DITTMANN, ANDREA
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DITTMAR, KATLYN                      DITTMER, CRISSY                        DITTMER, EMILY
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DITTO, JACK                          DITTRICH, CHRISTINE                    DITTRICH, DIANE
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DITULLIO, KATE                       DITULLIO, MAGGIE                       DITULLIO, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DITZEL, BECKY         Case 22-11238-LSS    Doc
                                     DITZMAN,    2 Filed 11/30/22
                                              TANYA                        Page 1270  of 5495 LLC
                                                                                DIV MANAGEMENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             1550 N EL CENTRO AVENUE 403
                                                                                LOS ANGELES, CA 90028




DIVELEY, QUINCY                        DIVELY, KIRBY                            DIVEN, DIANE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DIVERNIERO, STEVE                      DIVERSIFIED COMMUNICATIONS               DIVILBISS, WHIT
ADDRESS AVAILABLE UPON REQUEST         121 FREE STREET                          ADDRESS AVAILABLE UPON REQUEST
                                       PORTLAND, ME 04101




DIVILOVA, ISABELLA                     DIVINA EUROPA SL                         DIVINAGRACIA, ARLYN
ADDRESS AVAILABLE UPON REQUEST         CL FRANCESC LAYRET NO 11 OISO 3          ADDRESS AVAILABLE UPON REQUEST
                                       HOSPITALET LLOBREGAT
                                       BARCELONA 08903
                                       SPAIN



DIVINE BEST                            DIVINE, CHERYL                           DIVINE, GORDON
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DIVINE, JESSICA                        DIVINE, LAUREN                           DIVINE, MARY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DIVINE, SAVINA                         DIVINEY, SHELBY                          DIVIRGILIO, PAUL J.
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DIVISION OF ALCOHOL AND TOBACCO        DIVISION OF ALCOHOLIC BEVERAGES &        DIVISION OF ALCOHOLIC BEVERAGES AND
CONTROL                                TOBACCO                                  TOBACCO-FLORIDA
1738 E. ELM LOWER LEVEL                2601 BLAIR STONE ROAD                    ADDRESS UNAVAILABLE AT TIME OF FILING
JEFFERSON CITY, MO 65101               TALLAHASSEE, FL 32399




DIVISION OF COMMERCIAL LICENSING AND   DIVISION OF LIQUOR CONTROL               DIVISION OF SPECIAL TAXES
REGULATION LIQUOR ENFORCEMENT AND      DIVISION OF LIQUOR CONTROL 6606          445 E CAPITOL AVENUE
COMPLIANCE                             TUSSING ROAD                             PIERRE, SD 57501
BUILDING 68, 1511 PONTIAC AVE          REYNOLDSBURG, OH 43068
CRANSTON, RI 02920



DIVISION-D                             DIVOZZO, NOELLE                          DIVYA SHROFF
602 FAY STREET                         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
COLUMBIA, MO 65201
DIVYA SINGH           Case 22-11238-LSS    Doc
                                     DIWAKAR,    2 Filed 11/30/22
                                              PRIYA                   Page 1271   of 5495
                                                                           DIX, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIX, MICAELA                         DIX, PEYTON                           DIX, SHEILA
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DIXIT, AJIT                          DIXIT, ANNU                           DIXIT, SHIVANI
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DIXON, AARON                         DIXON, AIMEE                          DIXON, ALIZA
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DIXON, ANNIE                         DIXON, BRIAN                          DIXON, BRIAN
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DIXON, CAITLYN                       DIXON, CARLIE                         DIXON, CAROL
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DIXON, CARRIE                        DIXON, CHARLA                         DIXON, CHLOE
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DIXON, CORIE                         DIXON, COURTNEY                       DIXON, CRAIG
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DIXON, CRYSTAL                       DIXON, CURTIS                         DIXON, DANIELLE
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DIXON, DARREN                        DIXON, DONNA                          DIXON, EILEEN
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DIXON, EMILY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     DIXON, EMILY                     Page 1272
                                                                           DIXON, of 5495
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DIXON, ERICA                         DIXON, GABRIEL                        DIXON, HANNAH
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DIXON, HANNAH                        DIXON, HEATHER                        DIXON, JACK
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DIXON, JADA                          DIXON, JAMES                          DIXON, JASMINE
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DIXON, JENNIFER                      DIXON, JESSICA                        DIXON, JOEL
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DIXON, JOY                           DIXON, KAILEY                         DIXON, KARI
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DIXON, KIMBERLY                      DIXON, KRISTEN                        DIXON, KRISTIE
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DIXON, KYLIE                         DIXON, LAINEY                         DIXON, LAURA
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DIXON, LAURA                         DIXON, LEAH                           DIXON, LESLIE
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DIXON, LINA                          DIXON, MAEVE                          DIXON, MARY
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DIXON, MARY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DIXON, MEGAN                     Page 1273
                                                                           DIXON, of 5495
                                                                                  NADENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIXON, NANCY                         DIXON, PAMELA                         DIXON, PATRICIA
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DIXON, RASHETTA                      DIXON, ROBIN                          DIXON, SARA
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DIXON, SARAH                         DIXON, SHELBY                         DIXON, TAYLOR
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DIXON, TIFFANY                       DIXON, TYEESHA                        DIXON, TYON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIXON, VICTORIA                      DIXON, VICTORIA                       DIXON, VINCENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIXON, WENDY                         DIXON, WILLIAM                        DIXON, ZACHARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DIYAL DEONARAIN                      DIZE, JAMIE                           DIZINNO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DJAMILO LOPES                        DJANTE MCLAUGHLIN                     DJOKOVICH, CAMERON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DJURINA, ELLISA                      DLC                                   DLIMA, SHAWN
ADDRESS AVAILABLE UPON REQUEST       20750 VENTURA BLVD. SUITE 300         ADDRESS AVAILABLE UPON REQUEST
                                     WOODLAND HILLS, CA 91364
DLS WORLDWIDE-BWSC     Case 22-11238-LSS    Doc 2MARC
                                      DLUGOLENSKI,    Filed 11/30/22     Page 1274 ofJOANNA
                                                                              DLUGOS, 5495
P.O. BOX 730440                       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
BOLINGBROOK, TX 75373-0440




DLUNA, SIMONE                         DLUZAK, MICHELLE                        DLUZNEISKI, BRITTANY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DME LIVE, LLC                         DMI PARTNERS, INC.                      DMOCHOWSKI, KRYSTEN
12121 WILSHIRE BLVD, SUITE 725        1 SOUTH BROAD STREET, 11TH FLOOR        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90025                 PHILADELPHIA, PA 19107




DMYTERKO, PAUL                        DNC TRAVEL LAX                          DO GOOD BUS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING   6053 BRISTOL PARKWAY
                                                                              CULVER CITY, CA 90230




DO VALLE, LLC (DBA MURPHY             DO, DAVID                               DO, KEVIN
DISTRIBUTORS)                         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
P.O. BOX 623
BRANFORD, CT 06405




DO, PHONG                             DO, STEVEN                              DO, TYLER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DO, UYEN                              DO.COM                                  DOAK, CONNOR
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




DOAKES, ANGELE                        DOAN NGO                                DOAN, CALIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOAN, COLLIN                          DOAN, DANIELA                           DOAN, THUY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOANE, IGGY                           DOANE, PAIGE                            DOBALLAH, REDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DOBBIN, ROBERT        Case 22-11238-LSS    Doc
                                     DOBBINS,    2 Filed 11/30/22
                                              BREANNA                 Page 1275  of BRIANNA
                                                                           DOBBINS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBBINS, CHRISTINE                   DOBBINS, JONATHAN                      DOBBINS, KENNETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBBINS, WILL                        DOBBS, ABBY                            DOBBS, CAYLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBBS, CHAR                          DOBBS, CINDY                           DOBBS, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBBS, MICHELLE                      DOBBS, SABRINA                         DOBELSTEIN, MICAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBENSKY, CATHERINE                  DOBEREINER, NIGEL                      DOBERSTEIN, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBERSZTYN, NANCY                    DOBESH, NICOLE                         DOBIE, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBIES, CHRISTINE                    DOBINSON, IAN                          DOBIS, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBIS, MILES                         DOBKIN, ALEX                           DOBKINS, KENDALL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBLE, HEATHER                       DOBLE, JENNIFER                        DOBLE, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DOBLIN, CLEMENCE      Case 22-11238-LSS    Doc
                                     DOBNER,     2 Filed 11/30/22
                                             CAITLYN                  Page 1276  of 5495
                                                                           DOBNIKAR, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBO, STEVE                          DOBOS, DEIRDRE                         DOBRESKI, CHERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBREZ, CAROLINE                     DOBRUSIN, JULIE                        DOBRY, JAMES
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DOBSHINSKY, ORLY                     DOBSON, ALAN                           DOBSON, ASHLEY
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DOBSON, CARLEY                       DOBSON, CHRISTINE                      DOBSON, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBSON, DAVID                        DOBSON, DAVID                          DOBSON, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBSON, KELLY                        DOBSON, KIRK                           DOBSON, PAMELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOBUSH, LAURIE                       DOBY, REBECCA                          DOCHTERMANN, JUNKO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOCIMO, ANNE                         DOCKALL, EMILY                         DOCKAN, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOCKAN, JESSICA                      DOCKEN, SARA                           DOCKERY, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DOCKERY, KENISHA      Case 22-11238-LSS    Doc
                                     DOCKERY,   2 Filed 11/30/22
                                              RACHEL                       Page 1277 of 5495
                                                                                DOCKERY, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




DOCKERY, SHERI                          DOCKERY, STEPHANIE                      DOCKHORN, NATALIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOCKSTADER, ABIGAIL                     DOCKSTADER, KIMBERLY                    DOCKTER, DEIDRE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOCKTER, ROBIN                          DOCKWEILER, DAVE                        DOCTOR, ALLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOCTOR, BENJAMIN                        DOCTOR, DARRYL                          DOCTOR, SAQUIB
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOCTORS, ANNA                           DOCUMENTATION FEES                      DOCUSIGN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   221 MAIN ST., SUITE 1550
                                                                                SAN FRANCISCO, CA 94105




DOCUSIGN                                DOD, BRONTE                             DODARO, SARAH
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DODD, CHRISTINE                         DODD, ERIN                              DODD, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DODD, GEORGINA                          DODD, HEATHER                           DODD, JAMES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DODD, JUSTIN                            DODD, KELLY                             DODD, KRISTEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DODD, LAUREN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DODD, MEGHAN                     Page 1278  of 5495
                                                                           DODD, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DODD, SHARON                         DODD, SIERRA                          DODD, SIERRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DODD, STEPHANIE                      DODD, TAYLOR                          DODDERIDGE, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DODDERIDGE, LILI                     DODDRIDGE, JEREMY                     DODDS, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DODDS, GREGORY                       DODDS, JULIE                          DODDS, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DODDS, RACHEL                        DODDY, LORI                           DODDY, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DODEMAIDE, NICHOLAS                  DODENHOFF, KYLE                       DODGE, BROOKS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DODGE, BRYCE                         DODGE, CLAIRE                         DODGE, DAYTON
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DODGE, JEAN                          DODGE, JESSE                          DODGE, JESSICA
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DODGE, JOANN                         DODGE, KAT                            DODGE, KAYLA
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DODGE, LAURA          Case 22-11238-LSS
                                     DODGE, Doc 2 Filed 11/30/22
                                            SARAH                       Page 1279
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DODGEN, KAYCE                        DODGER TICKETS LLC                      DODGION, GRETCHEN
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DODIMEAD, SHANNA                     DODSON, ADAM                            DODSON, ALEXANDRA
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DODSON, ANA                          DODSON, ASHLEY                          DODSON, CAROLINE
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DODSON, CATHERINE                    DODSON, DALLAS                          DODSON, DONNA
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DODSON, EMILY                        DODSON, JENNIFER                        DODSON, KALLI
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DODSON, KATHLEEN                     DODSON, KYLE                            DODSON, LATISHA
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DODSON, LAURA                        DODSON, MALONE                          DODSON, MARY
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DODSON, MEGAN                        DODSON, NEIL                            DODSON, PATRICIA
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DODSON, PAUL                         DODSON, RACHEL                          DODSON, RHIAN
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DODSON, SARAH         Case 22-11238-LSS    Doc
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DODSON, TIFFANY                      DODSONLAVELLE, BROOKE                 DODSWORTH, TARA
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DOE, KATHERINE                       DOEBLER, STEPHANIE                    DOEDENS, DOUGLAS
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DOEHRER, MADISON                     DOELY, REGAN                          DOENCH, JANICE
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DOERING, JEANNE                      DOERING, TRACI                        DOERP, TAM ANH
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DOERR, ANGELA                        DOERR, CYNTHIA                        DOERR, LORI
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DOERR, RAIFF                         DOERSCH, DIANE                        DOERSCHNER, KRISTEN
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DOFT, NILI                           DOGAN, ERIN                           DOGAN, ORHAN
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DOGRA, ASHIMA                        DOGRA, PAMELA                         DOGTOWN COFFEE
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DOH, REBECCA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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DOHERTY, BRIDGET                     DOHERTY, CAITLIN                       DOHERTY, CODY
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DOHERTY, COLLIN                      DOHERTY, DANIEL                        DOHERTY, DANIEL
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DOHERTY, HANNAH                      DOHERTY, JACQUELINE                    DOHERTY, KAREN
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DOHERTY, KATE                        DOHERTY, KATHLEEN                      DOHERTY, KATIE
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DOHERTY, KAYLIE                      DOHERTY, KEENAN                        DOHERTY, KEN
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DOHERTY, KEVIN                       DOHERTY, KRISTINA                      DOHERTY, KYRA
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DOHERTY, LAURA                       DOHERTY, LIAM                          DOHERTY, MEG
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DOHERTY, PAMELA       Case 22-11238-LSS    Doc
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DOHERTY, STEPHANIE                   DOHERTY, TARYN                        DOHERTY, VALERIE
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DOHERY, MEG                          DOHETY, DEB                           DOHLE, DAVID
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DOHMANN, SHEILA                      DOHMANN, SYDNEY                       DOHMLO, MEGAN
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DOHNER, KENZIE                       DOHONY, BRIDGET                       DOHRMAN, VALERIE
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DOI, SIERRA                          DOIG, CRYSTAL                         DOIG, PATRICK
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DOINIDIS, STEVE                      DOIRON, ELLEN                         DOIRON, JACOB
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DOIYEN LLC (FORMERLY WHP             DOJCHINOVSKA, MELODY                  DOKKEN, CRAIG
ENTERTAINMENT, LLC)                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
802 N CRESENT DR
BEVERLY HILLS, CA 90210




DOKSANSKY, HANNAH                    DOLAN, AMY                            DOLAN, ANNA MARIA
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DOLAN, CHELSEA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DOLAN, CHRISTINA                 Page 1283
                                                                           DOLAN,of 5495
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DOLAN, JENNIFER                      DOLAN, JOHN RYAN                      DOLAN, JOHN
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DOLAN, JONATHAN                      DOLAN, JOSHUA                         DOLAN, KAELA
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DOLAN, KAITLYN                       DOLAN, KATELYN                        DOLAN, KATHLEEN
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DOLAN, KATIE                         DOLAN, KEVIN                          DOLAN, LAURA
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DOLAN, LEIGH-ANN                     DOLAN, MALLORY                        DOLAN, MEGHAN
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DOLAN, ROBERT                        DOLAN, ROGER                          DOLAN, SEAMUS
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DOLAN, SHAWNA                        DOLAN, SHEILA                         DOLAN, STEPHANIE
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DOLAN, STEPHANIE                     DOLATA, JESSICA                       DOLATOWSKI, ANNE
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DOLAWAY, MEGAN                       DOLBASHIAN, GREGORY                   DOLBEE, CHRIS
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DOLCE, AMANDA                        DOLCE, BRITNEE                        DOLCE, CHRIS
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DOLCE, GREGORIE                      DOLCE, LINDA                          DOLCEMASCOLO, LEIGHA
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DOLCEMASCOLO, LEIGHA                 DOLD, AMY                             DOLD, SUSAN
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DOLDER, WILLIAM                      DOLE, ALANA                           DOLE, CAMMY
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DOLE, DEANNA                         DOLE, LINDSEY                         DOLENTE, NICOLE
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DOLES, KATIE                         DOLES, MIKAL                          DOLESKI, CORINA
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DOLEZAL, NANCY                       DOLFMAN, DOUG                         DOLGIN, ELAINE
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DOLIN, GAY                           DOLIN, MICHELLE                       DOLINAR, TRICIA
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DOLINER, DEBBIE                      DOLINS, AMANDA                        DOLINS, MADDIE
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DOLINSKY, AMELIA      Case 22-11238-LSS    Doc
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                                               JEANNIE                   Page 1285  of 5495
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DOLISTER, NICOLE                        DOLIVEIRA, JAMIE                      DOLL, DEBORAH
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DOLL, JENNIFER                          DOLL, KENT                            DOLL, LINDSAY
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DOLL, NICOLETTE                         DOLLAK, ANDREW                        DOLLAR FLIGHT CLUB INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        113 CHERRY ST (PMB 79116)
                                                                              SEATTLE, WA 98104-2205




DOLLAR TREE                             DOLLAR, JENNIFER                      DOLLAR, PASHELL
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DOLLARD, WILLIAM                        DOLLARHIDE, CAROL                     DOLLHOPF, EMMA
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DOLLHOPF, NYREE                         DOLLINGER, LESLIE                     DOLLINS, MICKI
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DOLLISON, YSMELDA                       DOLLIVER, SUNDEEP                     DOLLOFF, DANIELLE
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DOLLOFF, STEPHANIE                      DOLLY, CAMILLE                        DOLMAGE, GRANT
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DOLMAGE, GREG                           DOLMAN, MOLLY                         DOLMO, ALEXA
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DOLORES CATANIA LLC    Case 22-11238-LSS    Doc NICHOLAS
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                                                                                    ALEXANDRIA
909 BELMONT AVE                       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NORTH HALEDON, NJ 07508




DOLPH, CLAUDIA                          DOLPHIN, ROBIN                        DOLSKI, GINA
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DOLSKY, TRISHA                          DOLSON, BAILEY                        DOLSON, CARMEN
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DOLTON, PAIGE                           DOLUBIZNO, PAULA                      DOLWANI, JAI
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DOLZAN, LAUREN                          DOM, LEYSE                            DOMACH, PAIGE
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DOMAGALA, CHRISTINE                     DOMAIN, DAWN                          DOMAINE DE LA COTE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        PO BOX 11106
                                                                              OAKLAND, CA 94611




DOMAINE GIOULIS SA (KTIMA GKIOULI AE)   DOMAINE IMPORTS, LLC                  DOMAINES DES COMTES MEDITERRANEEN
THESI KAMPOS KLIMENTI                   13941 JACKSON STREET                  CHATEAU MARIS
KORINTHIAS 20200                        THORNTON, CO 80602                    LA LIVINIERE 34210
GREECE                                                                        FRANCE




DOMAN, SAM                              DOMAYER, REBEKAH                      DOMBER, JUSTIN
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DOMBKOWSKI, STEVEN                      DOMBLESKY, JENNA                      DOMBROSKI, ALLY
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DOMBROSKI, AUDREY                       DOMBROSKI, GAYLE                      DOMBROSKI, JENNY
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DOMBROWSKI, DAVID     Case 22-11238-LSS    Doc 2KEITH
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DOMEL, KALEB                         DOMENA, ANGELINA                      DOMENECH, CYD
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DOMENICO FIGLIOLIA                   DOMER, MEGAN                          DOMERSHICK, MORGAN
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DOMIANO, LESLEY                      DOMICO, ALYSSA                        DOMINESKE, EMILY
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DOMINGO, HOLLY                       DOMINGO, KATRINA                      DOMINGO, SARA
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DOMINGS, DANIEL                      DOMINGUES, JULIANA                    DOMINGUES, MARK
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DOMINGUEZ, AMNUBIZ                   DOMINGUEZ, ANA                        DOMINGUEZ, ANAIS
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DOMINGUEZ, ANDREA                    DOMINGUEZ, ANDREA                     DOMINGUEZ, DAMARIS
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DOMINGUEZ, ELIZABETH                 DOMINGUEZ, ELLIE                      DOMINGUEZ, EMILIO
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DOMINGUEZ, GERALDINA                 DOMINGUEZ, JALEAN                     DOMINGUEZ, JASMINE
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DOMINGUEZ, JOSE       Case 22-11238-LSS    DocJUDY
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                                                                           DOMINGUEZ, KRISTA
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DOMINGUEZ, LILY                      DOMINGUEZ, MAGGIE                      DOMINGUEZ, MARIA
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DOMINGUEZ, MATTHEW                   DOMINGUEZ, MEREDITH                    DOMINGUEZ, MIA
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DOMINGUEZ, NATALIE                   DOMINGUEZ, PATRICIA                    DOMINGUEZ, PERLA
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DOMINGUEZ, PRICELIS                  DOMINGUEZ, SALENA                      DOMINGUEZ, SIERRA
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DOMINIC CORYELL                      DOMINICK DIBENEDETTO                   DOMINICK SIGNORILE
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DOMINICK WALKER                      DOMINICO, GIANNA                       DOMINIE, TARYN
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DOMINIK MATYKA                       DOMINIQUE D XI                         DOMINIQUE DAVIS
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DOMINIQUE EHRL                       DOMINIQUE, JAMES                       DOMINIQUE, NATHALIE
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DOMINO, JESSICA                      DOMINO, SHANNON                        DOMINOCIELO, GABE
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DOMMERMUTH, SAMANTHA                    DOMO, INC                              DOMO, INC.
ADDRESS AVAILABLE UPON REQUEST          772 EAST UTAH VALLEY DRIVE             ATTN: FINANCE DEPT
                                        JOHN F. MELLOR, CHIEF EXECUTIVE        772 E UTAH VALLEY PKWY
                                        OFFICER, DIRECTOR                      AMERICAN FORK, UT 84003
                                        AMERICAN FORK, UT 84003



DOMO, INC.                              DOMVILLE, BRIAN                        DON CHUYS
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DON FELIX MEAT MARKET                   DON HUDZIETZ                           DON RESSLER
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DON RESSLER                             DON THOMAS DEERE                       DON W FRASER TRUST DATED APRIL 14 2020
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DON YOO                                 DON, ARIANNA                           DONADIO, KRYSTIN
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DONADO, ANA MARIA                       DONADO, ERIC                           DONAGHEY, MARY
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DONAGHEY, MICHAEL                       DONAGHUE, CRYSTAL                      DONAGHY, TONI
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DONAGHY, TYLER                          DONAHER, CYNTHIA                       DONAHO, TIMOTHY
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DONAHOE, CATHERINE                      DONAHOE, CELESTE                       DONAHOE, CLAIRE
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DONAHUE, ANNELISE                    DONAHUE, ARIELE                       DONAHUE, BROCK
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DONAHUE, CAROLINE                    DONAHUE, CASEY                        DONAHUE, CATHY
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DONAHUE, CORA                        DONAHUE, COREY                        DONAHUE, DAVE
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DONAHUE, EMILY                       DONAHUE, ERIN                         DONAHUE, ERIN
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DONAHUE, JOHN                        DONAHUE, JOSEPH                       DONAHUE, KELLY
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DONAHUE, LAUREN                      DONAHUE, LAUREN                       DONAHUE, MACKENNA
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DONAHUE, MARY ANN                    DONAHUE, MEGAN                        DONAHUE, MELISSA
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DONAHUE, RACHEL                      DONAHUE, TERRI/CARLA                  DONAL MCINTYRE APRIL 14 2020
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DONALD A DESALVO                     DONALD BAHIZI                         DONALD BERNARD
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DONALD BRIERLEY                      DONALD COUGHLAN                        DONALD E DRAKE JR
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DONALD E THOMAS                      DONALD FOSTER                          DONALD FRANKLIN
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DONALD L NIEMEIER                    DONALD LONG                            DONALD LOREN ROSETH
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DONALD MCGRATH                       DONALD MOEN                            DONALD MUELLER
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DONALD N KNUDSEN                     DONALD OLSON                           DONALD RASCENTO
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DONALD RITTENHOUSE                   DONALD SCHLUETER                       DONALD STEPHEN MATHERS
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DONALD VINCENT STITZ                 DONALD, BENNETT                        DONALD, CALVIN
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DONALD, HOLLINGSWORTH,               DONALD, ROSELINE                       DONALDSON, AERIANA
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DONALDSON, CATHERINE                 DONALDSON, GLEN                        DONALDSON, JACQUELINE
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DONALDSON, JAMES      Case 22-11238-LSS    Doc JAMIE
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DONALDSON, LISA                      DONALDSON, MADONNA                    DONALDSON, MATTHEW
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DONALDSON, MORGAN                    DONALDSON, NATALIE                    DONALDSON, OLIVIA
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DONALDSON, PAMELA                    DONALDSON, RACHEL                     DONALDSON, ROBERT
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DONALDSON, WHITNEY                   DONAPEL, MICHAEL                      DONARSKI, NICHOLAS
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DONARUMA, ALEXANDRA                  DONATELL YOST, JENNA                  DONATELL, CHERY
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DONATELL, SHARI                      DONATELL, SUSAN                       DONATELLI, BRIAN
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DONATELLI, HANNAH                    DONATHAN, MELANIE                     DONATI, CHRISTY
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DONATICH, ANTHONY                    DONATO, ASHLEY                        DONATO, HALLE
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DONATO, TONY                         DONATUCCI, ELIZABETH                  DONATUCCI, VANESSA
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DONAWAY, ELAINE       Case 22-11238-LSS    Doc
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                                                                           DONDANVILLE, CARISSA
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DONDELINGER, MAX                     DONDERO, MARK                          DONDERO, STACEY
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DONDIEGO, VERONICA                   DONEGAN, AMBER                         DONEGAN, CAROLINE
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DONENFELD, SUNNY                     DONER, SANDRA                          DONES, JASON
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DONES, JONATHAN                      DONEY, ELIZABETH                       DONEY, KAREN
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DONFRANCESCO, KAYLA                  DONG, CIEU LAN                         DONG, ERIC
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DONG, JENNIFER                       DONG, JIATIAN                          DONG, MENG
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DONG, SHIYAO                         DONG, XIURONG                          DONG, YUTONG
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DONGHOON YEUM                        DONGSOO KIM                            DONIEL, KIM
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DONIS, BLANCA         Case 22-11238-LSS    Doc
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DONLAN, EMILY                        DONLAN, KATE                              DONLEAVY, JOHN
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DONLEY, ALISON                       DONLEY, ANGELA                            DONLEY, ANGELA
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DONLEY, KELSEY                       DONLEY, MELISSA                           DONLEY, STEPHANIE
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DONLICK, JOHN                        DONLIN, DOROTHY                           DONLON, JESSICA
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DONLON, JOSH                         DONLON, MARIE                             DONMOYER, MARC
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DONNA CALLEJON                       DONNA CATHLEEN SHOMEN                     DONNA CONWAY
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DONNA DEARING                        DONNA GILBERT                             DONNA HESTER
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DONNA JEAN DIXON                     DONNA L KELLER                            DONNA LEVINE, DINNA
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DONNA POLLACK                        DONNA ROSS, ACCESS LIFTS AND RAMPS        DONNA S VINCE
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DONNA SROUJI          Case 22-11238-LSS    Doc
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DONNELL, CARRIE                      DONNELL, DENNIS                       DONNELL, JACKLYN
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DONNELL, LUCAS                       DONNELLAN, MAGGIE                     DONNELLAN, SALLIE
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DONNELLAN, SHANNON                   DONNELL-KILMER, NOAH                  DONNELLY FINANCIAL SOLUTIONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ATTN: DFIN LEGAL DEPARTMENT
                                                                           35 WEST WACKER DR.
                                                                           CHICAGO, IL 60601




DONNELLY FINANCIAL SOLUTIONS         DONNELLY POOLE, DAWN                  DONNELLY, ALESSANDRA
P.O. BOX 842282                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOSTON, MA 02284-2282




DONNELLY, ALEX                       DONNELLY, ALEXIS                      DONNELLY, ASHLEY
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DONNELLY, AUDRA                      DONNELLY, CAITLIN                     DONNELLY, CAROLINE
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DONNELLY, CORINNE                    DONNELLY, CRAIG                       DONNELLY, DAWN
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DONNELLY, DEBORAH                    DONNELLY, EMMA                        DONNELLY, GEORGE
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DONNELLY, GINA                       DONNELLY, JAMES                       DONNELLY, JOEL
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                                     DONNELLY,   2 Filed 11/30/22
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                                                                           DONNELLY, KATHLEEN
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DONNELLY, KERRY                      DONNELLY, LEAH                        DONNELLY, MAGDALYN
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DONNELLY, MEREDITH                   DONNELLY, RACHEL                      DONNELLY, RONALD
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DONNELLY, SEAN                       DONNELLY, SUSAN                       DONNELLY, ZACHARY
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DONNERSON, DRE                       DONNICI, ALESSANDRA                   DONNICI, ALLI
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DONNINI, KELSEY                      DONOFRIO, ANLISE                      DONOFRIO, JEANINE
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DONOFRIO, JENNA                      DONOFRIO, KRISTINA                    DONOFRIO, MICHELLE
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DONOFRIO, WREN                       DONOGHUE, AMANDA                      DONOGHUE, DON
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DONOGHUE, JOHN                       DONOGHUE, KELLIE                      DONOGHUE, KRISTEN
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DONOHO, MARCI                        DONOHOE, AIDAN                        DONOHOE, KELLY
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DONOHOE, ODESSA       Case 22-11238-LSS    Doc
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DONOHUE, CHRISTINE                   DONOHUE, ELAINE                       DONOHUE, JAMIE
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DONOHUE, JILL                        DONOHUE, JULIA                        DONOHUE, KELSEY
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DONOHUE, TRACEY                      DONOHUE-BLANZY, EILEEN                DONOHUE-TORRES, CARLY
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DONOVAN EVANS                        DONOVAN HAYES                         DONOVAN RYCKIS
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DONOVAN, AMY                         DONOVAN, ANNA                         DONOVAN, BETHANY
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DONOVAN, CAITLIN                     DONOVAN, CALLAN                       DONOVAN, CAROLINE
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DONOVAN, CARRIE                      DONOVAN, CATHY                        DONOVAN, DAKOTA
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DONOVAN, DECLAN                      DONOVAN, DOMINIQUE                    DONOVAN, DOROTHY
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DONOVAN, JACQUE                      DONOVAN, JENETTE                      DONOVAN, JESSICA
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DONOVAN, JULIE        Case 22-11238-LSS    Doc
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                                              JULIE                   Page 1298 of 5495
                                                                           DONOVAN, KAREN
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DONOVAN, KATHERINE                   DONOVAN, KELLY                        DONOVAN, KERRY
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DONOVAN, LAURA                       DONOVAN, LINDSAY                      DONOVAN, MATTHEW
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DONOVAN, MEAGAN                      DONOVAN, MEGHAN                       DONOVAN, MISSY
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DONOVAN, PATRICIA                    DONOVAN, PAUL                         DONOVAN, ROBIN
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DONOVAN, ROSALIE                     DONOVAN, RYAN                         DONOVAN, SARAH
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DONOVAN, SHANNON                     DONOVAN, STEPHANIE                    DONOVAN, STEPHANIE
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DONOVAN, THERESA                     DONOWHO, MATTHEW                      DONSKER, CECILIA
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DONTE SMITH                          DONVITO, NICOLE                       DONZE, ALYSSA
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DOODY, JILL                          DOODY, LORI                           DOOGAN, JILLIAN
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DOOHAN, DEIRDRE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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DOOLAN, ALYSSA                       DOOLAN, KRISTEN                       DOOLAN, MONICA
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DOOLEY, BRENNA                       DOOLEY, BRITTANY                      DOOLEY, CARLENE
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DOOLEY, CHRISTOPHER                  DOOLEY, DANIELLE                      DOOLEY, DAVID
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DOOLEY, ERIN                         DOOLEY, JORDYN                        DOOLEY, KATHERINE
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DOOLEY, KAYLA                        DOOLEY, KELLY                         DOOLEY, LAURA
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DOOLEY, MARY                         DOOLEY, MEGHAN                        DOOLEY, MEREDITH
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DOOLEY, PATRICIA                     DOOLEY, SEAN                          DOOLEY, SHARON
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DOOLEY, SIERRA                       DOOLEY, TAYLOR                        DOOLEY, WILLIAM
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DOOLIN, HANNAH                       DOOLIN, KATHERINE                     DOOLIN, ROSS
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DOOLIN, SHAE          Case 22-11238-LSS
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DOOLING, COLLEEN                     DOOLITTLE, LAUREN                     DOOLITTLE, RACHEL
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DOOMY, BROOKE                        DOONAN, CYNTHIA                       DOONEY, CAROLINE
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DOONEY, CHRISTINA                    DOONEY, MARY                          DOORDASH.COM
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DOPP, COLLEEN                        DOPP, KERRIGAN                        DOPPEL CAVERT, CELESTE
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DOPPELT, RUTH                        DORAIS, JAKE                          DORAIS, KEITH
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DORAISWAMY, MANOPRIYA                DORAN, ANDREW                         DORAN, BRIDGETTE
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DORAN, CASEY                         DORAN, DYLAN                          DORAN, GINA AND EDWARD
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DORAN, HELAINE                       DORAN, JODY                           DORAN, LEXIE
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DORAN, LISA                          DORAN, LORI                           DORAN, LYNDEL
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DORAN, MICHAEL        Case 22-11238-LSS
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                                                                                  TANIA
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DORANS, DEB                          DORANTES, SOFIA                       DORANTES, ZAIRA
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DORAZIO, BETH                        DORCH, REBECCA                        DORCHINSKY, CHRISTINA
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DORDEVIC, NEVENA                     DORE, GABRIELLE                       DORE, LAURA
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DORE, MICHAEL                        DORE, PETER                           DORE, PHIL
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DOREMUS, DANL                        DOREMUS, LINDSAY                      DORETHY, ASHLEY
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DOREY, AMY                           DOREY, MARC                           DORFF, GENE
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DORFMAN, JOANNA                      DORGAN, CAROLYN                       DORGAN, CAROLYN
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DORIA THOMAS                         DORIA, JUSTIN                         DORIAN MILLIRON
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DORIAN, ANDREW                       DORICKO, TRISHA                       DORIEN, BEAU
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DORIN, EMILY          Case 22-11238-LSS    Doc 2AMANDA
                                     DORINGCOTT,     Filed 11/30/22   Page 1302
                                                                           DORIO, of 5495
                                                                                  MARINA
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DORIOCOURT, SUE                      DORIS-PIERCE, MARJORIE                DORIVAL, DOLLY
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DORLUS, DASTHERLIE                   DORMAN, ELIZABETH                     DORMAN, JOE
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DORMAN, MARCIE                       DORMAN, MARK                          DORMOND, MEGAN
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DORN, CAROLINE                       DORN, ELORA                           DORN, HEATHER
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DORN, KAMI                           DORN, MARGARET                        DORN, MEGAN
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DORN, MURPHY                         DORN, ROBERT                          DORN, WILLIAM
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DORNAGON, ROBESPIERRE                DORNAK, TAMARA                        DORNER, BLAIR
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DORNER, CONCETTA                     DORNER, JODIE                         DORNER, MATT
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DORNES, GLENDA                       DORNEY, GERALDINE                     DORNIC, JEVIN
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DORNIC, MATT          Case 22-11238-LSS
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DOROFEEV, SERGEY                     DORONDO, ERICA                         DORONY, VICTORIA
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DOROTHY A GUNIA                      DOROTHY ANN HANCOCK                    DOROTHY ANNE GUNIA
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DOROTHY DABROWSKA                    DOROTHY E OGE NICHOLS                  DOROTHY HRBACEK
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DOROTHY K WILLIAMS                   DOROTHY NICHOLS                        DOROTHY, ELIZABETH
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DOROTHY, OLIVIA                      DORPINGHAUS, ANNA                      DORR, KELSEY
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DORR, LEXIA                          DORR, MICHELLE                         DORRE, ERIKA
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DORRELL, AMY                         DORRELL, LORENA                        DORRELL, MORGAN
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DORRIS, JILL                         DORROS, ASHLEY                         DORROUGH, TANNER
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DORSAIN, NELLE                       DORSAINVIL, CELINE                     DORSCH, REGI
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DORSET, RACHEL        Case 22-11238-LSS
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                                                                           DORSETT, AMANDA
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DORSETT, GABRIELLE                   DORSETT, MAGGI                        DORSEY, CARLA
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DORSEY, CASEY                        DORSEY, CIARA                         DORSEY, CLEVELAND
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DORSEY, ERICA                        DORSEY, HENRY                         DORSEY, KRISTA
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DORSEY, SARA                         DORSHEIMER, DANA                      DORSHIMER, KATHRYN
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DORSHORST, NICK                      DORSI, HANK                           DORSINVILLE, AURORE
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DORSMAN, JUDY                        DORSULESKI, DANIELLE                  DORTA, LAUREN
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DORTCH, LAVERNE                      DORTMUND, JENNIFER                    DORVALL, JULIANNA
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DORVILIAS, CLORAMA                   DORVILLIERS, JASON                    DORY, SAUVEUR
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DORYLAND, MANDI                      DOS REIS, JENNIFER                    DOS SANTOS, ADELSON
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DOS SANTOS, FABIANO   Case 22-11238-LSS    Doc 2
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DOS SANTOS, TYLER                    DOSAN, KRISTIN                        DOSANJH, NAVEEN
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DOSCHER, EMMA                        DOSE, JACK                            DOSEN, ABBY
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DOSEN, JANE                          DOSH, RILEY                           DOSHI, EKTA
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DOSHI, PRIYANK                       DOSHI, ROHAK                          DOSHI, VANISHAA
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DOSKI, NATASHA                       DOSKOCIL, KELSY                       DOSS, KATHERINE
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DOSS, LEXIE                          DOSSA, TINA                           DOSSAJI, TASNEEM
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DOSSER, RAMEY                        DOSSEY, ALEXANDRA                     DOSSEY, AMBER
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DOSSEY, SHANNON                      DOSTAL, JOHN                          DOSTER, ADARIUS
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DOSTER, BRANDY                       DOSTER, MEGAN                         DOSTIE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOSTILIO, SILVIO      Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         2200 S LAMAR BLVD STE L
                                                                            AUSTIN, TX 78704




DOSUNMU, FUNMILAYO                   DOTOLO C/O AMAVI CELLARS, JANNA        DOTSON, CARMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOTSON, CHRIS                        DOTSON, DARRIN                         DOTSON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOTSON, EURETHA                      DOTSON, GARREISHA                      DOTSON, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOTSON, OLIVIA                       DOTSON, VICKY                          DOTT, ALISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOTTAVIO, DENEEN                     DOTTAVIO, MISTY                        DOTTER, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOTTERER, CHELSEA                    DOTTERMAN, SYDNEY                      DOTTOLI, FLORENCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOTY, APRIL                          DOTY, BETH                             DOTY, DEVANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOTY, DONNA                          DOTY, HANNAH                           DOTY, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOTY, KATE                           DOTY, KATIE                            DOTY, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DOTY, RAE             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DOTY, SHANNON                         Page 1307  of 5495
                                                                                DOTY, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




DOUB, ELIOT                             DOUB, GRACE                             DOUBLE BARREL EXPRESS & WAREHOUSE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          1315 AIRPORT BLVD
                                                                                NAPA, CA 94558




DOUBLE GREEN LANDSCAPE INC.             DOUBLE GREEN LANDSCAPE INC.             DOUBLE MAGNUM LLC DBA CROSSROAD
2100 ZENO PL                            315 W WASHINGTON BLVD, STE. 4           VINTNERS
VENICE, CA 90291                        MARINA DEL REY, CA 90292                6429 GUION RD
                                                                                INDIANAPOLIS, IN 46268




DOUBLE TREE CLEVELAND DOWNTOWN          DOUBLE TREE LOS ANGELES                 DOUBLE, PAUL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




DOUBLEDAY ENTERTAINMENT INC             DOUBLEDAY, BROOKS                       DOUBLIN, JOSEPH
15260 VENTURA BLVD, SUITE 2100          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SHERMAN OAKS, CA 91403




DOUBRAVA, EMILY                         DOUBROFF, DANIELLE                      DOUCET, ALEXANDRIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOUCET, ARNITRA                         DOUCET, HEATHER                         DOUCET, MORGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOUCETTE, AMANDA                        DOUCETTE, JOHN                          DOUCETTE, LAURICE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DOUCETTE, LORI                          DOUCETTE, MELISSA                       DOUCETTE, MEREDITH
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DOUCETTE, MONIQUE                       DOUCETTE, SHANNON                       DOUD, JULIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DOUD, KEITH           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DOUD, MANDY                      Page 1308  of 5495
                                                                           DOUD, TRACIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUE, EVYNNE                         DOUG ZACHARIAH                        DOUGAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHARTY, APRIL                     DOUGHARTY, KENITA                     DOUGHERTY, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, ANNE                      DOUGHERTY, AUTUMN                     DOUGHERTY, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, CHRISTINA                 DOUGHERTY, COLLEEN                    DOUGHERTY, CONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, DAVID                     DOUGHERTY, ELIZABETH                  DOUGHERTY, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, ERIN                      DOUGHERTY, HEATHER                    DOUGHERTY, JENNA
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DOUGHERTY, JOHN                      DOUGHERTY, JULIE                      DOUGHERTY, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, KATIE                     DOUGHERTY, KELLY                      DOUGHERTY, KERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, KEVIN                     DOUGHERTY, KYLE                       DOUGHERTY, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOUGHERTY, MATTHEW    Case 22-11238-LSS    Doc MEGAN
                                     DOUGHERTY, 2 Filed 11/30/22      Page 1309 of 5495
                                                                           DOUGHERTY, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, MIKELLE                   DOUGHERTY, MOLLY                      DOUGHERTY, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, NEIL                      DOUGHERTY, SANDRA                     DOUGHERTY, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHERTY, SUE                       DOUGHERTY-HAYES, MARGARET             DOUGHTIE, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHTIE, ALISSA                     DOUGHTIE, LAURA                       DOUGHTY 0518-040, NANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHTY, CHRIS                       DOUGHTY, DANIELLE                     DOUGHTY, JACQUELYN
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DOUGHTY, LEELEE                      DOUGHTY, MEGAN                        DOUGHTY, MISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHTY, PAIGE                       DOUGHTY, ROGER                        DOUGHTY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGHTY, STACY                       DOUGHTY-DIETZ, JENNIFER               DOUGLAD TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS CATTIE                       DOUGLAS CLENDANIEL                    DOUGLAS CUTLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOUGLAS DOEDENS       Case 22-11238-LSS    Doc
                                     DOUGLAS    2 Filed 11/30/22
                                             HAMLIN                   Page 1310 of HAUCK
                                                                           DOUGLAS 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS HICKEY                       DOUGLAS HIDEKI RYOJI                  DOUGLAS JESSUP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS KAI SUGIMOTO                 DOUGLAS KUSHAN                        DOUGLAS LEWIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS MOECKEL                      DOUGLAS MOYER                         DOUGLAS R. CIRCLE (DBA RANCHO CANADA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        DE LOS PINOS)
                                                                           1006 SEGOVIA CIRCLE
                                                                           PLACENTIA, CA 92870




DOUGLAS R. CIRCLE                    DOUGLAS R. CIRCLE                     DOUGLAS SIMON HAUNSPERGER
(DBA RANCHO CANADA DE LOS PINOS)     (DBA RANCHO CANADA)                   ADDRESS AVAILABLE UPON REQUEST
1006 SEGOVIA CIRCLE                  17772 17TH STREET SUITE 107
PLACENTIA, CA 92870                  TUSTIN, CA 92780




DOUGLAS WILSON                       DOUGLAS ZMOLEK                        DOUGLAS, ALEXANDRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, ALISON                      DOUGLAS, AMBER                        DOUGLAS, ANOLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, BILL                        DOUGLAS, BRENDEN                      DOUGLAS, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, BRITTANY                    DOUGLAS, CAITLYN                      DOUGLAS, CHERE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, CHRIS                       DOUGLAS, CHRISTIN                     DOUGLAS, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOUGLAS, DORLISA      Case 22-11238-LSS    Doc
                                     DOUGLAS,    2 Filed 11/30/22
                                              ELIZABETH               Page 1311 of 5495
                                                                           DOUGLAS, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, GLENN                       DOUGLAS, HAYLEY                       DOUGLAS, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, JUANITA                     DOUGLAS, JULIA                        DOUGLAS, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, JULIE                       DOUGLAS, JUSTIN                       DOUGLAS, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, KACIE                       DOUGLAS, KALEY                        DOUGLAS, KAYSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, KIM                         DOUGLAS, LOGAN                        DOUGLAS, MADILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, MARGARET                    DOUGLAS, MARSHELLE                    DOUGLAS, MAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, MELISSA                     DOUGLAS, MICHELLE                     DOUGLAS, PERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, RANDOLPH                    DOUGLAS, RHONDA                       DOUGLAS, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, SARAH                       DOUGLAS, SCOTT                        DOUGLAS, SIMRAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOUGLAS, SONITA       Case 22-11238-LSS    Doc
                                     DOUGLAS,    2 Filed 11/30/22
                                              STEPHANIE               Page 1312 of 5495
                                                                           DOUGLAS, TERRELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, TERRI                       DOUGLAS, TERRI                        DOUGLAS, TERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS, TINA                        DOUGLAS, VERNAL                       DOUGLAS, WAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLAS-LLYR, MICHAEL                DOUGLASS, ANHIEL                      DOUGLASS, BETTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLASS, DANA                       DOUGLASS, DJ                          DOUGLASS, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLASS, GENEVIEVE                  DOUGLASS, KATHRYN                     DOUGLASS, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUGLASS, RACHEL                     DOUGLASS, RACHELLE                    DOUGLASS, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUK, MICHELLE                       DOUP, SADA                            DOUR, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOURESS, MAUREEN                     DOUROUDIAN, ARYN                      DOUSE, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOUTHAT, WILLIAM                     DOUTHIT, GRACE                        DOUTHIT, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOUTHIT, ROBIN        Case 22-11238-LSS    Doc
                                     DOUTHIT,    2 Filed 11/30/22
                                              TAMAR                   Page 1313  of 5495
                                                                           DOUVILLE, AFTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOUYON, JEMIMA                       DOVAL, MARIANA                         DOVAL, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOVAN, ABIGAIL                       DOVE, ABIGAIL                          DOVE, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOVE, BRAD                           DOVE, LINDSAY                          DOVE, LIZZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOVER, ASHLEY                        DOVER, KAT                             DOVIAK, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOVIDIO, DENNIS                      DOVIKEN, KAREN KATHLEEN                DOVNER, ZACHARIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOVOLIS, REBECCA                     DOW, AMY                               DOW, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOW, LINDSAY                         DOW, MITCHELL & KARA                   DOW, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOW, SUZANNE                         DOW, WENDY                             DOW, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DOWD DUSETTE, KATIE                  DOWD, ASHLEY                           DOWD, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DOWD, AUDREY          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     DOWD, CAROLYN                    Page 1314
                                                                           DOWD, of 5495
                                                                                 ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWD, JEANINE                        DOWD, JEN                             DOWD, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWD, KRISTEN                        DOWD, MARGUERITE                      DOWD, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWDELL CLAWSON, JODI                DOWDELL, ASHLIE                       DOWDELL, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWDELL, COLLEEN                     DOWDEN, MOLLY                         DOWDS, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWDS, MOLLY                         DOWDY, BRANDY                         DOWE, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWELL, JOSEPH                       DOWELL, JOYELL                        DOWELL, SAMM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWER, ALLISON                       DOWER, KENNETH                        DOWERS, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWHAN, DANNI                        DOWIE, JONATHAN                       DOWIE, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWLING, BROOKE                      DOWLING, BRYCE                        DOWLING, DOUG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOWLING, DUSTIN       Case 22-11238-LSS    Doc
                                     DOWLING,    2 Filed 11/30/22
                                              EMILY                   Page 1315 of 5495
                                                                           DOWLING, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWLING, JANICE                      DOWLING, KATHRYN                      DOWLING, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWLING, PAMELA                      DOWLING, STEPHANIE                    DOWNE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNEN, BRETT                        DOWNER, KEN                           DOWNER, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNES, C.J.                         DOWNES, DEBORAH                       DOWNES, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNES, JESSICA                      DOWNES, KELLY                         DOWNES, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNES, KIM                          DOWNEY, AUDREY                        DOWNEY, BLAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNEY, BROOKE                       DOWNEY, CORTEZ                        DOWNEY, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNEY, ERIN                         DOWNEY, JACELYN                       DOWNEY, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNEY, KELLY                        DOWNEY, KYNDRA                        DOWNEY, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOWNEY, MIKALA        Case 22-11238-LSS    Doc
                                     DOWNEY,    2 Filed 11/30/22
                                             PATRICK                  Page 1316 of RYAN
                                                                           DOWNEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNEY, RYAN                         DOWNEY, SARA                          DOWNEY, TABATHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNEY, TESSA                        DOWNEY, U975831                       DOWNEY, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNEY, VICTORIA                     DOWNEY-ZAYAS, BRIAN                   DOWNING, BERNESTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNING, BETH                        DOWNING, DARAGH                       DOWNING, JACQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNING, JESSICA                     DOWNING, JULIAN                       DOWNING, KATHERINE
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DOWNING, KRISTIANNA                  DOWNING, MELISSA                      DOWNING, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNING, NEKA                        DOWNING, NINEKA                       DOWNING, PAMELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNING, ROBIN                       DOWNING, SHAWNEE                      DOWNING, SHERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNING, TARA                        DOWNING, TARA                         DOWNING, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOWNING, VALERIE      Case 22-11238-LSS    DocMEGAN
                                     DOWNOUR,   2 Filed 11/30/22      Page 1317
                                                                           DOWNS,ofAMANDA
                                                                                    5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNS, CARINNE                       DOWNS, GUS                            DOWNS, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNS, JENNIFER                      DOWNS, JESAKA                         DOWNS, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOWNS, JOANNE                        DOWNS, JODIE                          DOWNS, JULIE
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DOWNS, KATHRYN                       DOWNS, MEGHAN                         DOWNS, NICOLE
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DOWNS, SHARON                        DOWNTAIN, OLIVIA                      DOWNTOWN JOES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




DOWSETT, ALISSA                      DOWSING, ANNETTE                      DOWSON, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOXEY, JERRY                         DOXON, COOPER                         DOXSEE, SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOXTATOR, CARLEY                     DOY, INDIA                            DOYAL, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYEN, SHAWN                         DOYLE, ABBY                           DOYLE, AFTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOYLE, AMY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DOYLE, ANDREA                    Page 1318
                                                                           DOYLE,of 5495
                                                                                 ANTONINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, APRIL                         DOYLE, CARIANNA                       DOYLE, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, CATHERINE                     DOYLE, CIARA                          DOYLE, CONSTANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, COURTNEY                      DOYLE, DAN                            DOYLE, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, DEBBIE                        DOYLE, DEBRA                          DOYLE, ELIZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, EMMA                          DOYLE, ERIN                           DOYLE, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, FELICIA                       DOYLE, FIONA                          DOYLE, FRANCIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, HEATHER                       DOYLE, JANAE                          DOYLE, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, JANET                         DOYLE, JANET                          DOYLE, JENNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, JENNIFER                      DOYLE, JILLIAN                        DOYLE, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOYLE, JONATHAN       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DOYLE, KAREN                     Page 1319
                                                                           DOYLE,of 5495
                                                                                 KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, KATHLEEN                      DOYLE, KATHRYN                        DOYLE, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, KELLY                         DOYLE, KERRY                          DOYLE, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, LAURYN                        DOYLE, LINDSAY                        DOYLE, LORRAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, MARCELLUS                     DOYLE, MARGARET                       DOYLE, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, MEGAN                         DOYLE, MEGHAN                         DOYLE, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, MELANIE                       DOYLE, MICAELA                        DOYLE, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, NATALIE                       DOYLE, NICHOLAS                       DOYLE, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, OLWYN                         DOYLE, RICHARD                        DOYLE, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYLE, ROBIN                         DOYLE, RYAN                           DOYLE, SCARLET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DOYLE, SUSAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DOYLE, TOM                       Page 1320
                                                                           DOYLE,of 5495
                                                                                 VALENCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOYNOW, WILLIAM                      DOYON, AMANDA                         DOZBABA, DEDRIA
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DOZEMAN, THOMAS                      DOZIER, BRIANA                        DOZIER, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOZIER, JOYCE                        DOZIER, KAREN                         DOZIER, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DOZIER, LEAH                         DR KAREN DAVIDSON                     DR LYNETTE LIVESAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRAAYER, KANDICE                     DRAB, TIFFANY                         DRABEK, BRIDGET
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DRABEK, CHARLENE                     DRABEK, MELINDA                       DRABIK, DOUGLAS
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DRABIN, HANNAH                       DRABKIN, KARINA                       DRACHEVA, ALINA
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DRACONIS, ALDUIN                     DRAFT, DEANDRA                        DRAG, ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRAGAN, CODRINA                      DRAGAN, DANIELLE                      DRAGAN, JOEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DRAGIN, ALEXANDRA     Case 22-11238-LSS
                                     DRAGO, Doc 2 Filed 11/30/22
                                            ALYSSA                         Page 1321
                                                                                DRAGO,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




DRAGON SPIRITS MARKETING, INC.          DRAGONA, NICK                           DRAGONE, DANIELLE
15700 S. DELAVAN CV                     ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
AUSTIN, TX 78717




DRAGONETTE CELLARS                      DRAGOO, KYRIE                           DRAGOS, MADELINE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRAGOSLIS, JUDY                         DRAHUS, VANESSA                         DRAHUSZ, MARISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRAIN, CAROLYN                          DRAIN, DANIEL                           DRAIN, SUSAN
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DRAINVILLE, AIMEE                       DRAKE KRYTERION, INC.                   DRAKE, ALLI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




DRAKE, ASHLEIGH                         DRAKE, AUTUMN                           DRAKE, BRADEN
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DRAKE, CALEB                            DRAKE, CARLY                            DRAKE, CINDI
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DRAKE, CRYSTAL                          DRAKE, DAN                              DRAKE, DEAN
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DRAKE, DEYA                             DRAKE, DOUGLAS                          DRAKE, ELIZA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DRAKE, ERICA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DRAKE, ISAIAH                    Page 1322
                                                                           DRAKE,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRAKE, JAMES                         DRAKE, JAMES                          DRAKE, JENNA
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DRAKE, JENNIE                        DRAKE, JENNIFER                       DRAKE, JESSICA
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DRAKE, JONATHAN                      DRAKE, KAITLIN                        DRAKE, KELSEY
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DRAKE, LAUREN                        DRAKE, LINDAKAY-ALLEY                 DRAKE, LINDSAY
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DRAKE, LISA                          DRAKE, LORI                           DRAKE, LORI
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DRAKE, MELODEE                       DRAKE, MORGAN                         DRAKE, NICHOLAS
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DRAKE, PATRICIA                      DRAKE, RYAN                           DRAKE, SARAH
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DRAKE, SEAN                          DRAKE, SHOBIE                         DRAKE, STEPHANIE
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DRAKEFORD, JAZMYNE                   DRAKEFORD, REGINALD                   DRAKES, SHANYBELLE
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DRAKULICH, LINDA      Case 22-11238-LSS
                                     DRAMELDoc  2 Filed 11/30/22
                                           FRAZIER                    Page 1323
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DRANE, SUSAN                         DRANGO, CAROLE                         DRAPALA, DAVID
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DRAPER, ANDREA                       DRAPER, BRIDGET                        DRAPER, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DRAPER, FRANCOISE                    DRAPER, JENSON                         DRAPER, JEREMIE
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DRAPER, JORDAN                       DRAPER, KATHERINE                      DRAPER, KYAH
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DRAPER, KYLE                         DRAPER, MICHELLE                       DRAPER, MICHELLE
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DRAPER, PEYTON                       DRAPER, SHAUN                          DRASKOVICH, KATIE
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DRASSER, CASSIDY                     DRATHRING JUNG, ELLYN                  DRAUD, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DRAUGELIS, BRIAN                     DRAUGHON, SARAH                        DRAUS, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DRAVES, KRISTEN                      DRAWBRIDGE, INC                        DRAWDY, SARAH
ADDRESS AVAILABLE UPON REQUEST       2121 S EL CAMINO REAL, 7TH FL          ADDRESS AVAILABLE UPON REQUEST
                                     SAN MATEO, CA 94403
DRAWDY, SHERLEEN      Case 22-11238-LSS
                                     DRAWZ, Doc 2 Filed 11/30/22
                                            ASHLEE                      Page 1324  of 5495
                                                                             DRAY, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRAYER, ADAM                         DRAYTON, CHARLENE                       DRAYTON, IRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRAYTON, JEN                         DRAYTON, LINDA                          DRAYTON, ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRAZKOWSKI, DONNA                    DREAM CATCHER INVESTMENTS LIMITED       DRECHSLER, MADDIE
ADDRESS AVAILABLE UPON REQUEST       (BVI)                                   ADDRESS AVAILABLE UPON REQUEST
                                     ADDRESS UNAVAILABLE AT TIME OF FILING




DREES, JACOB                         DREES, KERRY                            DREES, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DREES, NATHEN                        DREES/BECKA, KAREN                      DREGER, NADIA
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DREHER, ANDREA                       DREHS, SHANA                            DREIBELBIS, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DREIER, LARISSA                      DREIER, SHANNON                         DREILING, ANN MARIE
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DREILING, JENNY                      DREISBACH, MANDY                        DREISS, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DREITH, SAMUEL                       DREIXLER, JILLIAN                       DRELICHARZ, MARYANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DREMEL, LEE           Case 22-11238-LSS    DocALEX
                                     DREMONAS,  2 Filed 11/30/22        Page 1325 of 5495
                                                                             DREMONAS, LENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRENDEL, CAROL                       DRENGWITZ, KATIE                        DRENNAN, CATHERINE
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DRENNAN, KYLE                        DRENNAN, MARY                           DRENNAN, MEG
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DRENNEN, ASHLEY                      DRENNEN, SUZANNE                        DRENTH, TERESSA
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DRENTLAW, MEL                        DREON, JEFFREY                          DRERUP, JERAE
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DRES, NOELLE                         DRESEL, LISAETTE                        DRESEL, LYDIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRESSANDER, JAN                      DRESSEL, JACQUELINE                     DRESSEL, LESLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRESSEL/MALIKSCHMITT LLP             DRESSELHAUS VENTURES 2 GMBH             DRESSEN, ALEXANDRA
11 EAST CLIFF STREET                 ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
SOMERVILLE, NJ 08876




DRESSLER, CHELCEA                    DRESSLER, ERIKA                         DRESSLER, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRESSNANDT, ANDREA                   DREUX LAMOUR DILLINGHAM                 DREVER, EMMA
ADDRESS AVAILABLE UPON REQUEST       (YELLOW BRICK ROAD WINES, LLC)          ADDRESS AVAILABLE UPON REQUEST
                                     16014 ASH WAY APT.N-107
                                     LYNNWOOD, WA 98087
DREVICH, NIKKI        Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     DREW BOHRMAN                        Page 1326 of 5495
                                                                              DREW MARSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




DREW POLLARD                            DREW                                  DREW, AMY
660 YORKTOWN APT 1327                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DALLAS, TX 75208




DREW, ASHLEY                            DREW, BRANDON                         DREW, KAREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DREW, LAURIE                            DREW, STUART                          DREW, TERRI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DREW, VICTORIA                          DREWETT, PATTON                       DREWITZ, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DREWRY, ALLISON                         DREWRY, DOUGLAS                       DREWRY, DYLAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DREWRY, MATT                            DREWS, CHRISTINE                      DREWS, MITALI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DREWS, TIM                              DREXEL, NANCY                         DREXLER, BRANDON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DREYER WINE LLC                         DREYER, JONATHAN                      DREYER, PETER
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DREYER, SUSAN                           DREYFUS, BARBARA                      DREYFUS, FRAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DREYFUS, KRISTEN      Case 22-11238-LSS
                                     DREZEK,Doc 2 Filed 11/30/22
                                             AMANDA                      Page 1327   of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           1543 US HIGHWAY 46
                                                                              PARSIPPANY, NJ 07054




DRIBBLE LLC                             DRICKEL, KAYLA                        DRIESSE, CAROL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRIEST, MARY                            DRIETZ, CORY                          DRIFT, JACLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRIGGERS, MALLORY                       DRIGGIN, TED AND HELENE               DRIGGS, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRIGO, WILL                             DRIGON, KRISTEN                       DRIKA, LA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRIKAS, CATRINA                         DRILL, ZACKERI                        DRINK BRANDERS, LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        1015 NOTEWARE DRIVE
                                                                              TRAVERSE CITY, MI 49686




DRINKER, ASHLEY                         DRINKUTH, SANDRA                      DRINKWELL UK LIMITED
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        LANDMARK HOUSE CHEADLE HULME CHES.
                                                                              SK8 7BS
                                                                              UNITED KINGDOM




DRISCOLL, BRIDGET                       DRISCOLL, CINDY                       DRISCOLL, CLAIRE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRISCOLL, CONNIE                        DRISCOLL, CONOR                       DRISCOLL, DANIELLE
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DRISCOLL, EMILY                         DRISCOLL, GREGORY                     DRISCOLL, HOLLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DRISCOLL, JESSICA     Case 22-11238-LSS    Doc
                                     DRISCOLL, JIM2  Filed 11/30/22   Page 1328  of 5495
                                                                           DRISCOLL, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRISCOLL, KRYSTEN                    DRISCOLL, LIAM                        DRISCOLL, LILLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRISCOLL, LORI                       DRISCOLL, MARY ANN                    DRISCOLL, MARY
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DRISCOLL, MEG                        DRISCOLL, MEGAN                       DRISCOLL, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRISCOLL, MICHAELA                   DRISCOLL, NANCY                       DRISCOLL, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRISCOLL, RACHEL                     DRISCOLL, RACHEL                      DRISCOLL, RICH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRISCOLL, SOLOMON                    DRISCOLL, WENDY                       DRISDELL, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRISKELL, BRIENNE                    DRISKELL, CATHERINE                   DRISKELL, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRISKELL, MEREDITH                   DRISKELL, NATHANAEL                   DRISLANE, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRIVER, ASHLEY                       DRIVER, CANDICE                       DRIVER, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DRIVER, KENDALL       Case 22-11238-LSS
                                     DRIVER,Doc  2 Filed 11/30/22
                                            KRISTEN                        Page 1329
                                                                                DRIVER,of 5495
                                                                                        SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




DRIVMWARE                               DRIZIS, AMANDA                          DRIZLY, LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          334 BOYSTON ST
                                                                                BOSTON, MA 02116




DROBITS, HANNAH                         DROBKA, ALYSSA SUSAN                    DROBNICH, DARREL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DROBNY, AMY                             DROBOT, ANN                             DRODDY, CASEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DROEGE, BLAKE                           DROESSLER, NATALIE                      DROGINSKE, AILEEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DROLLINGER, LINDY                       DRONENBURG, ASHLEY                      DRONES, KATRINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DRONGOSKI, STACEY                       DROOGSMA, JANE                          DROP LOYALTY INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          103 RICHMOND ST. EAST SUITE 202
                                                                                TORONTO, ON M5C 1N9
                                                                                CANADA




DROP LOYALTY INC.                       DROPBOX                                 DROPIK, S. J.
120 FRONT STREET EAST, SUITE 200        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
TORONTO, ON M5A 4L9
CANADA




DROR MAIER                              DROSKI, ALYSSA                          DROSTE, WILLIAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DROUIN, SHANNON                         DROUTMAN, BORIS                         DROVNYASHINA, ANASTASIYA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DROWER, CHRISTINE     Case 22-11238-LSS
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                                                                           DROY, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DROZD, ABBY                          DROZD, LUKASZ                         DROZDICK, YARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DROZDOWSKI, JULIANN                  DROZDZ, DILLON                        DROZE, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DROZNIK, ALEX                        DROZYNSKI, LAUREN                     DRUBEL, MIRIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUCK, JEFF                          DRUCKENMILLER, LAURA                  DRUCKER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUCKER, KIMBERLEY                   DRUCKER, PAIGE                        DRUCKER, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUCKMAN, DOMINIQUE                  DRUCKMAN, JANICE                      DRUCKMAN, SUSAN
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DRUDY, JAMES                         DRUESSEL, LAUREN                      DRUK, DEIDRE
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DRULINER, DANIELLE                   DRULLARD, MAUREEN                     DRUM, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUMM, ASHLEY                        DRUMM, CASSIE                         DRUMM, DIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DRUMM, MARK           Case 22-11238-LSS
                                     DRUMM,Doc  2 Filed 11/30/22
                                           MEREDITH                   Page 1331
                                                                           DRUMM,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUMMELSMITH, ANNETTE                DRUMMOND, ADAM                        DRUMMOND, DERICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUMMOND, GLADYS                     DRUMMOND, KRISTA                      DRUMMOND, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUMMOND, MARGARET                   DRUMMOND, NISHA                       DRUMMOND, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUMMOND, STEPHEN                    DRUMMOND, TANIA                       DRUNGO, DION
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DRURY, ALAURA                        DRURY, ALEXIS                         DRURY, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRURY, JACQUIE                       DRURY, JAN                            DRURY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRURY, JOHN                          DRURY, LAILA                          DRUSCHEL, GAYDEN
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DRUSCHEL, JULIE                      DRUSSEL, ALEXANDRA                    DRUTCHAS, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DRUXMAN, MELISSA                     DRY, MATTHEW                          DRYDEN, BECKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DRYDEN, HOLLEY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DRYE, TIM                            Page 1332
                                                                               DRYER,of 5495
                                                                                     KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




DRYER, MARIANNE                         DRYER, MEGAN                           DRYSDALE-LOMBARDO, TIFFANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DS WATERS                               DSILVA, CLAIRE                         DSOUZA, CASSIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DSOUZA, DONEL                           DSOUZA, MARYBETH                       DSOUZA, NIGEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DSTLD                                   DU CLOS, ISABEL                        DU PLESSIS, PIERRE
8899 BEVERLY BLVD, SUITE 600            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WEST HOLLYWOOD, CA 90048




DU, CHEN                                DU, PETER                              DUA, DOUGLAS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DUAL, DOUG                              DUAN, EDDY                             DUANE A SHEMKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DUANE CONRAD                            DUANE DIERENFIELD, THE SHIPPING        DUANE STREET HOTEL
ADDRESS AVAILABLE UPON REQUEST          STATION, INE                           ADDRESS UNAVAILABLE AT TIME OF FILING
                                        ADDRESS AVAILABLE UPON REQUEST




DUARTE, ANDREW                          DUARTE, CATALINA                       DUARTE, CLAIRE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DUARTE, DANIELLE                        DUARTE, EMILY                          DUARTE, FRANCISCO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DUARTE, JACQUELINE    Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUARTE, MARCELA                      DUARTE, MARGARET                      DUARTE, PAOLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUARTE, REYNA                        DUARTE, SAM                           DUARTE, VINI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUARTE-MAIA, CYNTHIA                 DUAY, ALEXANDER                       DUB, JAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUBACH, CASSANDRA                    DUBAS, BRITTNEY                       DUBAS, KIRA
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DUBBERT, STEPHEN                     DUBE, ALISON                          DUBE, JEANNETTE
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DUBE, JODI                           DUBE, NIKKI                           DUBE, PHILLIP
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DUBE, ROBERT                         DUBE, STEPHANIE                       DUBE, TROY
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DUBEE, KATHRIN                       DUBENDORFER, DREW                     DUBENION, SHAWN
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DUBEY, SANKALP                       DUBEY, SHIVAM                         DUBIANSKY, EDWINA
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DUBIN, ANA            Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           DUBLER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUBLIN, CAMERON                      DUBOIS, ALYSSA                        DUBOIS, ANGELA
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DUBOIS, DUSTIN                       DUBOIS, JANET                         DUBOIS, KARIS
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DUBOIS, KATE                         DUBOIS, KIMBERLY                      DUBOIS, KIMBERLY
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DUBOIS, KRISTEN                      DUBOIS, LORRAINE                      DUBOIS, MICHELLE
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DUBOIS, ROBERT                       DUBOIS-BECKER, MARGALEE               DUBON, MARIA
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DUBORD, SARAH                        DUBOSE FORE, HEIDI                    DUBOSE, ALIISA
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DUBOSE, HANNA                        DUBOSE, KHALIAH                       DUBOSE, KYLE
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DUBOSE, LESLEY                       DUBOSE, MARCELINE                     DUBOSE, MICHAEL
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DUBOW, SAMANTHA                      DUBREY, DANA                          DUBROF, STEPHANIE
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DUBROFF, REBECCA      Case 22-11238-LSS    DocJUDY
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                                                                           DUBROW, 5495
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DUBROW, LIZA                         DUBS, ERIN                            DUBS, JESSICA
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DUBS, JOSHUA                         DUBUQUE, ADOLFO                       DUBUQUE, JESSICA
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DUBY, DANIEL                         DUCA, BRYANNA                         DUCA, SIERRA
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DUCAUD, TOMAS                        DUCE, FARRELL                         DUCETT, TAYLOR
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DUCEY, JIM AND DIANE                 DUCH, REBECCA                         DUCHANEY, KATHERINE
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DUCHARME, CORBIN                     DUCHARME, KERRIANNE                   DUCHARME, REBECCA
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DUCHATELLIER, SONIA                  DUCHEMIN, ANNE                        DUCHENE, BRYAN
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DUCHENSKY, JILLIAN                   DUCHESNE, TAMMY                       DUCHINI, KELLIE
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DUCHON, GREGORY                      DUCK, CASSANDRA                       DUCK, KATHRYN
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DUCK, KEVIN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           DUCKETT, 5495
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DUCKETT, LINDSEY                     DUCKETT, MINDY                        DUCKWALL, DIXON
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DUCKWITZ, HANNAH                     DUCKWITZ, LELANI                      DUCKWORTH, BETSY
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DUCKWORTH, JASON                     DUCLOS, CATHERINE                     DUCOS, BRITTANI
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DUCOTE, AMANDA                       DUCOTE, STEFANI                       DUCSAY, JESSICA
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DUDA, CHRISTINE                      DUDA, FRANCA                          DUDA, NATASHA
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DUDA, TANIA                          DUDA, TOM                             DUDAS, CLAIRE
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DUDASH, CHRISSY                      DUDDING, MICHAEL                      DUDDLESTON, CAITLIN
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DUDEK, HAYLEY                        DUDEK, KELLY                          DUDEK, NICOLE
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DUDELSON, MELISSA                    DUDERWICK, GWEN                       DUDGEON, BRE
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DUDLEY, ANNE                         DUDLEY, BRIANNA                       DUDLEY, CARRIE
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DUDLEY, CHRISTINE                    DUDLEY, ELEASAH                       DUDLEY, FRANCES
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DUDLEY, GINA                         DUDLEY, JEAN                          DUDLEY, JENNA
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DUDLEY, KIM                          DUDLEY, LEAH                          DUDLEY, MICHELLE
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DUDLEY, REBEKAH                      DUDLEY, RYAN                          DUDLEY, TRICIA
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DUDNEY, KAREN                        DUDNEY, VINCENT                       DUDZIK, LORNA
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DUDZIK, RACHEL                       DUEBNER, ELLIE                        DUECKER, TIFFANY
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DUEDE, AUSTIN                        DUEHLMEYER, STEPHANIE                 DUEHREN, ALEXIS
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DUELL, SUZANNE                       DUELLMAN, KERRY                       DUEMESI, DANIELLE
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DUENAS GARCIA, JESUS Case 22-11238-LSS
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DUENAS, MARIA                        DUENAS, MICHELLE                      DUENAS, ONEIDA
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DUENEZ, ANDREA                       DUENHOFT, KELSEY                      DUENNE-SONNEGA, DIANA
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DUENO, STEPHANIE                     DUENSING, THIRZA                      DUERKSEN, JORDAN
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DUERKSEN, LEIGH ANN                  DUERR, ELIZABETH                      DUERST, SHARON
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DUESING, EMILY                       DUFAULT, ALDA                         DUFF, ALLYSON
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DUFF, CATHERINE                      DUFF, HANNAH                          DUFF, JESSICA
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DUFF, KATHLEEN                       DUFF, LAUREN                          DUFF, LUKE
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DUFF, MINDY                          DUFF, SARAH                           DUFF, SUSAN
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DUFFEY, TATIANA                      DUFFEY, TRACEY                        DUFFIELD, CARLENE
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DUFFNER, AMY          Case 22-11238-LSS    Doc
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DUFFY, ANN                           DUFFY, APRIL                          DUFFY, BRENDAN
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DUFFY, CHRISSY                       DUFFY, DENISE                         DUFFY, DIANA
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DUFFY, DORRIE                        DUFFY, ELIZABETH                      DUFFY, JOHN
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DUFFY, JULIE                         DUFFY, KATE                           DUFFY, LINDSAY
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DUFFY, LISA                          DUFFY, MAGGIE                         DUFFY, MAGGY
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DUFFY, MARIAH                        DUFFY, MEGAN                          DUFFY, MICHELLE
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DUFFY, MICHELLE                      DUFFY, NATHAN                         DUFFY, NICOLE
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DUFFY, RACHEL                        DUFFY, RACHEL                         DUFFY, SAMANTHA
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DUFFY, SARAH                         DUFFY, SHAWNA                         DUFFY, STEVE
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DUFFY-WEBB, MICKELLA Case 22-11238-LSS
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DUFOUR, AMY                          DUFOUR, ELLEN                         DUFOUR, JOSHUA
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DUFRENE, TORI                        DUFRESNE, BRIAN                       DUFRESNE, DENISE
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DUFRESNE, MICHELE                    DUGA, SAMUEL                          DUGAL, DIANE
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DUGAN, BRIDGET                       DUGAN, CAROLYN                        DUGAN, CLAIRE
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DUGAN, DELIA                         DUGAN, ELIZABETH                      DUGAN, EMILY
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DUGAN, JONATHAN                      DUGAN, KARLI                          DUGAN, KELLY
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DUGAN, KELLY                         DUGAN, MEGHAN                         DUGAN, REBECCA
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DUGAN, SHANE                         DUGAN, SHANNON                        DUGAN, TAMMEY
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DUGAR, BRANDON                       DUGARD, CALENE                        DUGAS, ANGELA & DELBERT
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DUGAS, ASHLEY         Case 22-11238-LSS
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DUGAS, RANDI                         DUGAS, THERESE                        DUGGAN & ASSOCIATES, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1442 W. 13TH ST.
                                                                           GARDENA, CA 90249




DUGGAN, AMBER                        DUGGAN, ANNEMARIE                     DUGGAN, COLMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUGGAN, DIANA                        DUGGAN, FRED                          DUGGAN, JANELLE
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DUGGAN, JOY                          DUGGAN, JULIA                         DUGGAN, LINDSEY
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DUGGAN, MICHELLE                     DUGGAN, SHANNON                       DUGGAN, STACY
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DUGGER, DARYL                        DUGGER, SARA                          DUGUAY, ALYSSA
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DUH, EMILY                           DUHAIME, ASHLEY                       DUHART, LEWIS
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DUHIGG, KATY                         DUHON, DEVIN                          DUHON, SHANQUELYN
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DUIGNAN, CHRISTINE                   DUIGNAN, HEATHER                      DUIGUID, JUSTIN AND ELISHA
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DUIT, SHELI           Case 22-11238-LSS
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DUJARDIN, JULIE                      DUKANOVIC, IVANA                      DUKART, TODD
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DUKAS, NANCY                         DUKATZ, KRISTIN                       DUKE, ALEXIS
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DUKE, AMANDA                         DUKE, ASHLEY                          DUKE, BRYAN
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DUKE, BRYCE                          DUKE, CASEY                           DUKE, CHRISTIAN
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DUKE, ELIZABETH                      DUKE, EMILY                           DUKE, JAMES
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DUKE, JAX                            DUKE, JEFFERY                         DUKE, JESSICA
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DUKE, JULEIGH                        DUKE, KAREN                           DUKE, KATHRYN
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DUKE, KELLIE                         DUKE, MADELEINE                       DUKE, MARY
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DUKE, NICOLE                         DUKE, QUINTON                         DUKE, RONNIE
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DUKE, TERRY           Case 22-11238-LSS    Doc 2 KATIE
                                     DUKE-FERGUSON,  Filed 11/30/22   Page 1343 of 5495
                                                                           DUKEHART, AMBER
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DUKEMAN, JESSICA                     DUKER, KRISTINE                       DUKES, AERIAL
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DUKES, CAROL                         DUKES, DANTENEA                       DUKES, EBONY
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DUKES, HEATHER                       DUKES, JENNIFER                       DUKES, KURDIJAH
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DUKES, NICOLE                        DUKES, RONIKA                         DUKES, ROXANNE
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DUKES, SONYA                         DUKLEWSKI, ANNE                       DUKOWITZ, LAURA
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DULAC, NICHOLAS                      DULANEY, NORA                         DULANY FOSTER IV
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DULARIE PERSAUD                      DULAY, ALICIA                         DULAY, CRISTINA
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DULAY, ROSENDO                       DULCEDO DIGITAL INC                   DULING, AMANDA
ADDRESS AVAILABLE UPON REQUEST       438 MCGILL STREET, SUITE 200          ADDRESS AVAILABLE UPON REQUEST
                                     MONTREAL, QC H2Y 2G1
                                     CANADA




DULIP SHERMAN AQUINAS VENTURI        DULL, ASHIA                           DULLAGHAN, KATHARINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DULLE, JESSICA        Case 22-11238-LSS
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                                                                           DULMAGE, MADISON
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DULY, BECKI                          DUM, DANA                             DUMAIS, ALI
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DUMAIS, DANIELLE                     DUMAIS, MADELINE                      DUMAN, KARA
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DUMANDAL, DARLEANE MAE               DUMART, ALLISON                       DUMART, NATALIE
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DUMAS, ANTOINE                       DUMAS, BONNIE                         DUMAS, CARYN
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DUMAS, GLORIA                        DUMAS, KRISTINA                       DUMAS, MAR
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DUMAS, MARGRETTA                     DUMAS, ORLANDRIANA PAIGE              DUMAY, IRVIN
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DUMBROFF, DANA                       DUMENIGO, CHELSIE                     DUMFORD, CAROL
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DUMINIAK, MICHELLE                   DUMITRIU, SIMONA                      DUMITRU, BREANN
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DUMKE, LAURI                         DUMKE, RACHEL                         DUMKOW, KRISTA
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DUMM, ANGELA          Case 22-11238-LSS    Doc
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DUMOND, JAKE                            DUMOND, MELISSA                         DUMONT, CHRIS
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DUMONT, DILLAN                          DUMONT, ELEANOR                         DUMONT, KATHY
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DUMONT, PETER                           DUMONT, TIFFANY                         DUMONT, TORI
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DUN & BRADSTREET                        DUN LIEU LAUTRE                         DUNAEVSKY, ANNA
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DUNAGAN, DIANE                          DUNAGAN, KATIE                          DUNAGAN, KATIE
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DUNAGAN, MITZI                          DUNAGIN, CYNTHIA                        DUNAGIN, NIKI
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DUNAVANT, CARLEY                        DUNAVIN, KEELY                          DUNAWAY, AMANDA
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DUNAWAY, CAROLINE                       DUNAWAY, CRYSTAL                        DUNAWAY, KATHY
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DUNAWAY, SANDI                          DUNBACK, JOSH                           DUNBAR, GRACE
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DUNBAR, JANENE        Case 22-11238-LSS
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DUNBAR, NOAH                         DUNBAR, REBEKAH                       DUNBAR, RORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNBAR, ROUANA                       DUNBAR, SUZANNAH                      DUNCAN FAMILY WINE COMPANY, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1911 CALLE
                                                                           CALICHE AUSTIN, TX 78733




DUNCAN, ALI                          DUNCAN, ANGIE                         DUNCAN, ANNA
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DUNCAN, ANNA                         DUNCAN, ANNETTE                       DUNCAN, BRETT
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DUNCAN, BRITTANY                     DUNCAN, CAMILLE                       DUNCAN, CHARLES
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DUNCAN, COLIN                        DUNCAN, CORI                          DUNCAN, CYNTHIA
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DUNCAN, DAILA                        DUNCAN, DANA                          DUNCAN, DANA
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DUNCAN, DANIELLE                     DUNCAN, DARREN                        DUNCAN, DAVID
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DUNCAN, DE ANNA                      DUNCAN, DEB                           DUNCAN, EILEEN
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DUNCAN, EMMY          Case 22-11238-LSS
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DUNCAN, GABRIELLE                    DUNCAN, GRAHAM                        DUNCAN, GREGORY
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DUNCAN, JENNIFER                     DUNCAN, JOLIE                         DUNCAN, JOSHUA
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DUNCAN, KARIE                        DUNCAN, KATHERINE                     DUNCAN, KATHERINE
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DUNCAN, KATIE                        DUNCAN, KATIE                         DUNCAN, KENNETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNCAN, KRISTI                       DUNCAN, LAURA                         DUNCAN, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNCAN, LEAH                         DUNCAN, LINDA                         DUNCAN, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNCAN, MARISA                       DUNCAN, MARISA                        DUNCAN, NAT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNCAN, RACHEL                       DUNCAN, RACHEL                        DUNCAN, REBECCA
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DUNCAN, RUPERTO                      DUNCAN, SARAH                         DUNCAN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DUNCAN, TAMERA        Case 22-11238-LSS
                                     DUNCAN,Doc 2 Filed 11/30/22
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                                                                           DUNCAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNCAN, THERESA                      DUNCAN, TIANA                         DUNCAN, TRISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNCAN, XAVIER                       DUNCAN, ZEB                           DUNCAN, ZENOBIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNCANSON, LAURA                     DUNCAVAGE, ALISON                     DUNCHIE, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNCKEL, IAN                         DUNCOMBE, CHRIS                       DUNEVANT, SAMMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNFEE, RACHEL                       DUNFEE, TIM                           DUNFORD, CATREVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNG, CATHY                          DUNGAN, CARRIE                        DUNGAN, CHARLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNGAN, JULIE                        DUNGAN, PAUL                          DUNGEE, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNHAM, COURTNEY                     DUNHAM, ERIKA                         DUNHAM, HOWARD&TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNHAM, JARROD                       DUNHAM, JENNIFER                      DUNHAM, JONI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DUNHAM, KATIE         Case 22-11238-LSS    Doc
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                                                                           DUNHAM, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNHAM, MARY                         DUNHAM, MIKE                          DUNHAM, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNHAM, MORGAN                       DUNHAM, MORGAN                        DUNHAM, NNEKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNHAM, RAY                          DUNHAM, SEAN                          DUNHILL TRAVEL DEALS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2307 WEST BROWARD BLVD., STE 402
                                                                           FORT LAUDERDALE, FL 33312




DUNICK, MEGAN                        DUNIGAN, KEVIN                        DUNIVAN, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNK, DELOIS                         DUNKEL, CAROL                         DUNKEL, DAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNKEL, LAURA                        DUNKER, EMILY                         DUNKERLY, BILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNKERSON, CARA                      DUNKERTON, KASSIE                     DUNKIN DONUTS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




DUNKIN, KIM                          DUNKIN, WADE                          DUNKLE, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNKLE, RILEY                        DUNKLE, WENDY                         DUNKLEY, GUY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                       Case 22-11238-LSS
DUNKLIN-ISHMAEL, ANGELIQUE            DUNLAPDoc
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                                                                            DUNLAP, 5495
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNLAP, BRETT                         DUNLAP, CAELIN                        DUNLAP, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNLAP, CHELSEA                       DUNLAP, KYLA                          DUNLAP, MADELINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNLAP, MARA                          DUNLAP, MEGHAN                        DUNLAP, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNLAP, NICK                          DUNLAP, RACHELLE                      DUNLAP, ROCHELLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNLAP, TAMRA                         DUNLAVY, KATIE                        DUNLEAVY, JESSICA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNLEAVY, JODY                        DUNLEAVY, SANDRA                      DUNLOP, ARDEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNLOY, ZARAN                         DUNMORE, RAY                          DUNMYRE, BRANDON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNN, ABBY                            DUNN, AMBER                           DUNN, ARMANDO
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DUNN, ASHLEY-MARTIN                   DUNN, ASHLI                           DUNN, AUDREA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DUNN, AUDREY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           DUNN, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNN, BEVERLY                        DUNN, BRYANA                          DUNN, BRYN
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DUNN, CAITLIN                        DUNN, CHELSEA                         DUNN, CHEYANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNN, CHRIS                          DUNN, CHRISTY                         DUNN, CHRISTY
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DUNN, COLLIN                         DUNN, CONNOR                          DUNN, CRAIG
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DUNN, CYNTHIA                        DUNN, DIANE                           DUNN, DONNA
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DUNN, ELLIE                          DUNN, EMILY                           DUNN, EMILY
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DUNN, JACK                           DUNN, JAMES                           DUNN, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNN, JASON                          DUNN, JEANINE                         DUNN, JESSICA
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DUNN, JESSICA                        DUNN, JOE                             DUNN, JULIA
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DUNN, JULIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DUNN, KAITLIN                    Page 1352  of 5495
                                                                           DUNN, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNN, KATHY-SUE                      DUNN, KELLIE                          DUNN, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNN, KRISTIN                        DUNN, LAURA                           DUNN, LAURA
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DUNN, LAUREN                         DUNN, LINDSAY                         DUNN, LINDSEY
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DUNN, LIZA                           DUNN, MACKENZIE                       DUNN, MADDY
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DUNN, MALINDA                        DUNN, MARY                            DUNN, MATTHEW
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DUNN, MAURA                          DUNN, MELINDA                         DUNN, MELINDA
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DUNN, MEREDITH                       DUNN, MICHELLE                        DUNN, MIRIAM
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DUNN, MOLLY                          DUNN, NALANI                          DUNN, NITA
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DUNN, OLIVIA                         DUNN, OLIVIA                          DUNN, PAT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DUNN, RACHEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DUNN, REBECCA                    Page 1353  of 5495
                                                                           DUNN, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNN, SARAH                          DUNN, SARAH                           DUNN, SHANNON
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DUNN, SHANNON                        DUNN, STACIE                          DUNN, STEPHANIE
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DUNN, SUSAN                          DUNN, SUZANNE                         DUNN, SYDNEY
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DUNN, TROY                           DUNNAM, BRETT                         DUNNE, BERNIE
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DUNNE, BRIAN                         DUNNE, DEBBIE                         DUNNE, DELANEY
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DUNNE, EILEEN                        DUNNE, EMILY                          DUNNE, KAT
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DUNNE, LAURA                         DUNNE, MATTHEW                        DUNNE, MICHAEL
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DUNNE, MICHELE                       DUNNE, PATRICIA                       DUNNEGAN, PAGE
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DUNNIGAN, COLIN                      DUNNIGAN, LEANNE                      DUNNING, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DUNNING, KARLA        Case 22-11238-LSS    Doc
                                     DUNNING,    2 Filed 11/30/22
                                              KAYLA                   Page 1354  of KENNETH
                                                                           DUNNING, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNNING, KIMBERLY                    DUNNING, LEILA                        DUNNING, LUCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNNING, MELISSA                     DUNNING, NANCY                        DUNNING, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNNING, SHAWN                       DUNNING, STEFANIE                     DUNNING, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNNING-CLUNE, NORMA                 DUNNINGTON, ASHLEY                    DUNNINGTON, GARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNN-WALL, SHAILANA                  DUNPHY, ASHTON                        DUNPHY, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNPHY, KYLE                         DUNPHY, MARY                          DUNPHY, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNSHEE, JIM                         DUNSMOOR, KIMBERLY                    DUNSON, KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNSTON, DARREN                      DUNSTONE, DIANE                       DUNTON, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUNWIDDIE, KAREN                     DUNWOODIE, SUZANNE                    DUNWOODY, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DUNWORTH, DANNY       Case 22-11238-LSS    DocERIN
                                     DUNWORTH,  2 Filed 11/30/22      Page 1355 of 5495
                                                                           DUNWORTH, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUONG, CHRISTINA                     DUONG, HOLLY                          DUONG, JUDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUONG, KHANG                         DUONG, TOM                            DUONG, XUAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUPAS-NEWTON, TERANESHA              DUPEE, JESSICA                        DUPERLY, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUPERRE, JENNIFER                    DUPERRY, FRAN                         DUPHILY, JESSICA
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DUPIN, HOLLEY                        DUPITON, MARSHA                       DUPLANTIS, JO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUPLESSIE, ANGELA                    DUPLESSIS, KATIANA                    DUPLISSIS, EVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUPONT, DIANE                        DUPONT, KATIE                         DUPRE, CAMRYN
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DUPRE, CASSIE                        DUPRE, DANIEL                         DUPRE, FREDERIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUPRE, JOHN                          DUPRE, KRISEN                         DUPRE, ROCHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DUPRE, SANDRA         Case 22-11238-LSS
                                     DUPREE,Doc  2 Filed 11/30/22
                                             JAMES                      Page 1356 ofMICHAEL
                                                                             DUPREE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DUPREE, TERRENCE                     DUPREE, TERRI                           DUPREY, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DUPREY, LAUREN                       DUPRIEST, MARY                          DUPUIS, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DUPUIS, DOLORES                      DUPUIS, HOLLY                           DUPUIS, LAURI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DUPUIS, WILL                         DUPUISLANE, ELAINE                      DUQUE, BRYANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DUQUE, EVONNE                        DUQUE, JEFFREY                          DUQUE, JUAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DUQUE, PAOLA                         DUQUESNAY, MICHELLE                     DUQUESNAY, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DUQUETTE, ALEXA                      DURACARD.COM                            DURALL, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




DURAN, ALBINO                        DURAN, ANA                              DURAN, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




DURAN, ANTONIA                       DURAN, ASHLEY                           DURAN, CAROLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DURAN, CASSAUNDRA     Case 22-11238-LSS
                                     DURAN, Doc  2 Filed 11/30/22
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                                                                           DURAN,of 5495
                                                                                  ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURAN, EVELYN                        DURAN, KAREN                          DURAN, KASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURAN, KRISTEN                       DURAN, KRYSTAL                        DURAN, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURAN, PRISCILLA                     DURAN, RAMANDA                        DURAN, SANTOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURAN, SELENE                        DURAN, SOPHIE                         DURAN, SUSAN
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DURAN, THOMAS                        DURAN, XIOMARA                        DURAND, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURAND, DAVID                        DURAND, ELGIN                         DURAND, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURAND, STARR                        DURANDETTO, JOE                       DURANT, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURANT, CISSY                        DURANT, GRACE                         DURANT, KELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURANT, SARITA                       DURANT, SUSANNAH                      DURANT, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DURANT, TRACEY        Case 22-11238-LSS    Doc
                                     DURANTE,    2 Filed 11/30/22
                                              EMILY                   Page 1358 of 5495
                                                                           DURANTO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURAPAU, KRISTA                      DURAZO, NYDIA                         DURBIN, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURBIN, MEGGAN                       DURDIN, SHARI                         DURE, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUREC, SHERRY                        DURELL, JUDITH                        DUREN, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURFEE, DIANE                        DURFEY, JONI                          DURGANA, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURGIN, ALYSIA                       DURHAM, AJA                           DURHAM, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURHAM, BRENDA                       DURHAM, CHRIS                         DURHAM, CORIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURHAM, DANIELLE                     DURHAM, DAVID                         DURHAM, HANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURHAM, JACLYN                       DURHAM, JAMES                         DURHAM, JAMIE
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DURHAM, JENNIFER                     DURHAM, JESSICA                       DURHAM, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DURHAM, JULIA         Case 22-11238-LSS    Doc
                                     DURHAM,    2 Filed 11/30/22
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                                                                           DURHAM, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURHAM, MADELINE                     DURHAM, MEREDITH                      DURHAM, NATALIE
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DURHAM, TERESA                       DURHAM, TRACY                         DURHAM, TRISHA
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DURICHKO, GLORIA                     DURIS, LAUREN                         DURKACZ, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURKEE, ERIN                         DURKEE, JOHN                          DURKEE, KERANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURKEE, KERANI                       DURKEE, PAULA                         DURKIN ENTERTAINMENT INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        904 SILVER SPUR RD 367
                                                                           ROLLING HILLS ESTATES, CA 90274




DURKIN, AMANDA                       DURKIN, BRITNEY                       DURKIN, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURKIN, KELLY                        DURKIN, KERRY                         DURKIN, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURKIN, LEAH                         DURKIN, MARCELLA                      DURKIN, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURKIN, THOMAS                       DURKO, KATIE                          DURLEY, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DURLEY, DAN           Case 22-11238-LSS    Doc
                                     DURLING,    2 Filed 11/30/22
                                              JEAN                    Page 1360  of 5495
                                                                           DURM, CONNOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURMA, CHARLOTTE                     DURMICK, KERRY AND ERINN              DURNEY, AIDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURNIL, JORDAN                       DURNING, BETSY                        DUROCHER, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURO-MARTINEZ, MARLIN                DURON, CASIMIR                        DURON, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DUROS, LUCAS                         DUROW, DEBRA                          DURR, ALEXANDRA
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DURR, ELLIE                          DURR, JAZMYN                          DURR, LOGAN
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DURRANT, AIMEE                       DURRETT, DAVID AND KAY                DURRETT, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURRETT, OLIVIA                      DURRWACHTER, NATALIE                  DURSEMA, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




DURSKI, KATRINA                      DURSO, ANDA                           DURSO, ANGELA
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DURSO, DARCY L.                      DURSO, MARIANN                        DURSO-SMITH, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DURST, CARLY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     DURST, CARLY                      Page 1361
                                                                            DURST,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DURTSCHI, ABBY                       DURUJI, CHRISTIAN                      DURUJI, SONJA
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DURUPT, ELIZABETH                    DURUSSEL, THE FABULOUS MS. MARY        DURYEE, DEBBIE
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DUSANEK, NICOLE                      DUSBABEK, JOE                          DUSCH, CANDICE
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DUSCH, RENEE                         DUSCHE, NICHOLE                        DUSEK, BRITTANY
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DUSEK, BRITTANY                      DUSEWICZ, JOHN                         DUSHAIS, LISA
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DUSHANE, SHERI                       DUSHEL, CHRISTINA                      DUSHYANT PATEL
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DUSOLD, DARRELL                      DUSSAULT, KELSEY                       DUSSAULT, SARAH
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DUSSEAULT, AMANDA                    DUSSELIER, MADDIE                      DUSSIN, SANDRAMARA
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DUSSINGER, HEATHER                   DUST, SARA                             DUSTAN NEYLAND
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DUSTERHOFT, AMANDA    Case 22-11238-LSS     Doc 2 Filed 11/30/22
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DUSTIN, JACK                         DUTCH ICON                              DUTCHER, JANET
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DUTCHER, JOHN                        DUTCHER, SANDRA                         DUTCHER, SARAH
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DUTCHER, STEPHANIE                   DUTILLE, SARAH                          DUTKA, GABRIELLE
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DUTKIEWICZ, BRIAN                    DUTKO, ASHLEY                           DUTKOWSKI, STEPHANIE
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DUTOIT, LOUISE                       DUTRA, BRIAN                            DUTRA, JEMIMA
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DUTRO, JENNIFER                      DUTT, SAPTARSHI                         DUTTA, ANISHA
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DUTTA, POOJA                         DUTTA, REENA                            DUTTER, LORI
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DUTTINE, EMILY                       DUTTON, BRUCE                           DUTTON, DARRELL
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DUTTON, KAILEY                       DUTTON, KAREN                           DUTTON, SHANNA
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DUTTON, STEPHANIE     Case 22-11238-LSS
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                                                                           DUTY, AARON
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DUTY, JAMES                          DUTY-TROIANO, DENISE                  DUTZER, ALYSSA
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DUUS, JAMES                          DUVA, EMILY                           DUVA, KRISTEN
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DUVA, THERESA                        DUVAL LEDGER, EMILY                   DUVAL, REGINA
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DUVAL, SANDRA                        DUVAL, STEPHEN                        DUVAL, TRACIE
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DUVAL, VIVIAN                        DUVALL, AMANDA                        DUVALL, ASHLEY
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DUVALL, BRIANNE                      DUVALL, JAIME                         DUVALL, JONI
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DUVALL, KASANDRA                     DUVALL, KATHERINE                     DUVALL, LACEY
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DUVALL, QUINN                        DUVALL-SCHMIDT, RACHEL                DUVAL-PICHE, TIFFANY
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DUVARNEY, MONIKA                     DUVE, KENDRIC                         DUVNJAK, DANA
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DUVNJAK, KATE         Case 22-11238-LSS    Doc
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DUYGUN, NUR                          DUYM, HEATHER                         DUZAN, KELLI
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DUZEY, TALIA                         DVERGSTEN, ISAAC                      DVIR, AMIT
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DVORAK, ABIGAIL                      DVORAK, BEAU                          DVORAVIC, MICHAEL
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DVORSCEK, REANN                      DVORSKY, JANA                         DVOSKIN, ALBERT
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DWAYNE E PERRY JR                    DWAYNE R JACKSON                      DWAYNE R JACKSON
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DWECK, JOE                           DWELLEY, CATHERINE                    DWENGER, MICHAEL
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DWITE SHEHAN                         DWORAK, FRANCIS                       DWORAK, VERONICA
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DWOREK, TAYLOR                       DWORKIN, CASEY                        DWYER, ALEX & ESKA
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DWYER, ALLY                          DWYER, ARIANE                         DWYER, BRENAN
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DWYER, BRIAN          Case 22-11238-LSS
                                     DWYER,Doc  2 Filed 11/30/22
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DWYER, COLTON                        DWYER, DOLORES                        DWYER, ELLEANNA
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DWYER, ERIN                          DWYER, ERIN                           DWYER, INA
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DWYER, JEAN                          DWYER, JENNIFER                       DWYER, JOAN
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DWYER, JOHN                          DWYER, KATHLEEN                       DWYER, KELLY
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DWYER, LARA                          DWYER, LEAH                           DWYER, LEVI
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DWYER, MEGHAN                        DWYER, MOLLY                          DWYER, NICOLE
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DWYER, NORA                          DWYER, PAT                            DWYER, ROBYN
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DWYER, SAMANTHA                      DWYER, SEAN                           DWYER, SHANNON
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DWYER, STEPHANIE                     DWYER, VICTORIA                       DWYER, WA
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DY, SINANN            Case 22-11238-LSS    DocVICTORIA
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DYAR, PATTY                          DYBA, LINDSEY                         DYBAS, CHARLENE
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DYBUNCIO, FRANCIS                    DYBUS, KAROLINA                       DYCHA, STEPHANIE
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DYCKS, ANTHONY                       DYCUS, DARLENE                        DYCUS, RODERICK
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DYE, ADAM                            DYE, AMELIA                           DYE, AMY
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DYE, BARRY                           DYE, ERIN                             DYE, GRAYSON
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DYE, JENNIFER                        DYE, JERRY                            DYE, JESSICA
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DYE, KATHRYN                         DYE, KELLY                            DYE, KRISTI
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DYE, LAUREN                          DYE, LESLIE                           DYE, LINDSAY
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DYE, LOU                             DYE, MEIR                             DYE, NAIMAH
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DYER, BRIAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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DYER, EMILY                          DYER, EMMA                            DYER, GEOFFREY
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DYER, HOLLY                          DYER, JACKSON                         DYER, LAURA
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DYER, LYNN                           DYER, MAGGIE                          DYER, MELISA
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DYER, MOLLY                          DYER, NICOLE                          DYER, ROB
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DYER, ROBBY                          DYER, STEPHEN                         DYER,
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DYERSON, SARAH                       DYHOUSE, SARAH                        DYIKANBEKOVA, AIPERI
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DYK, MEGAN                           DYK, PAWEL                            DYKE, ALEXANDRA
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DYKE, JENNA                          DYKENS, SARAH                         DYKES, JENNA
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DYKES, LAUREN                        DYKES, MARGARET                       DYKES, NIKKI
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DYKES, RONDA          Case 22-11238-LSS    DocGRACE
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DYKSTRA, ANNIE                       DYKSTRA, ERIN                         DYKSTRA, FRED
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DYKSTRA, JOSHUA                      DYKSTRA, JULIA                        DYKSTRA, KENNETH J
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DYKSTRA, RACHEL                      DYLA, ALEXANDRA                       DYLAN HIGGINBOTHAM
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DYLAN MOLINELLI                      DYLAN ROBERT MONTGOMERY               DYLAN ROSS ALLEN
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DYLARA J COLE                        DYLL, JOE                             DYLLAN BROWN-BRAMBLE
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DYMANT, LILY                         DYMOCK, HOLLEY                        DYMOND, SARAH
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DYNAN, DANIELLE                      DYNARSKI, EMILY                       DYRDAHL, AMY
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DYSART, COURTNEY                     DYSON, ASHLEY                         DYSON, CAMERON
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DYSON, ILENE                         DYSON, KAREN                          DYSON, MICHAEL
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DYSON, PATRICK        Case 22-11238-LSS
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                                                                            DZANANOVIC, SELMA
ADDRESS AVAILABLE UPON REQUEST       529 W 5TH ST.                           ADDRESS AVAILABLE UPON REQUEST
                                     CHESTER, PA 19013




DZEKTSERMAN, ANNA                     DZENOWSKI, ALISSA                      DZHIDZHIYESHVILI, SKYE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




DZHUMASHEVA, DZHAMILIA                DZHUROV, ROSE                          DZIAK, CAROLINE
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DZIAK, MALINA                         DZIAK, MELISSA                         DZIAK, SUE
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DZIALO, CHRISTOPHER                   DZIALO, IRENE                          DZIALO, JENNIFER
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DZIAMA, RACHEL                        DZIEGIEL, STEVEN                       DZIEN, JILL
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DZIENIS, ROBERT                       DZIERBA, ROBERT                        DZIK, LEAH
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DZILVELIS, BRIANNA                    DZIOBA, CHRIS                          DZIUBAK, AGNIESZKA
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DZIUBAN, NICOLE                       DZIUBAN, NIKKI                         DZIURA, SCOTT
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DZIVENU, DOREEN                       DZURINDA, MARSHA                       DZURINKO, JESSICA
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E & J GALLO WINERY      Case 22-11238-LSS
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                                                                               E BADGETT, PAULA
3387 DRY CREEK ROAD                      02/08/2019                             ADDRESS AVAILABLE UPON REQUEST
HEALDSBURG, CA 95448                     ADDRESS AVAILABLE UPON REQUEST




E BOGDA, LAUREN                          E BUCKERIDGE, KEVIN                    E CASANOVA, JESSE
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E COLYER, BLYTHE                         E HECKMAN, HEIDI                       E HENDERSON, CARRIE
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E HETLAND, SARA                          E HUMBERSTONE, DANIELLE                E JONES, CHIRIGA
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E KELLEMS, HANNAH                        E KIM, JESSICA                         E SCHRAMM, LYNNE
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E SOTO, VENESSA                          E TURAL, LEYLA                         E VALENTINE, LAURA
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E WALKER, ALICIA                         E WARNING, SARA                        E WEBER, RIO
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E&C EQUITIES LLC DATED 02/08/2019        E&J GALLO WINERY                       E, ANNE
13501 RANCH ROAD 12 STE 103              600 YOSEMITE BLVD                      ADDRESS AVAILABLE UPON REQUEST
WIMBERLEY, TX 78676                      MODESTO, CA 95354




E, BRNDA                                 E, CASSANDRA                           E, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




E, DAWN                                  E, JSSICA                              E, JUAN
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E, KAREN              Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     E, KRISTIN                       Page 1371   of 5495
                                                                           E, LAURA
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E, LAUREN                            E, MITCH                              E, PHILIP
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E, ROBERT                            E, SARA                               E, SARAH
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E, THOMAS                            E. ANDERSON, WILLNARD                 E. NEERGAARD, BENAIAH
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E., JARED                            E., KEVIN                             E., MARY
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E., MICHAEL                          E., NICHOLE                           EACHO, VIRGINIA
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EACHUS, AMANDA                       EACHUS, STEVE                         EAD, GHADA
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EADDY, KIKI                          EADE, IRENE                           EADES, CHARLES
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EADES, LINDSAY                       EADES, MARGIE                         EADIE, JIM
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EADIE, SELINA                        EADLER, KENT                          EADON, YVONNE
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EADS, ANNIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EADS, KAMILLEN                   Page 1372  of 5495
                                                                           EADS, MICHAEL
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EADS, SHELBY                         EAGAN, DIANNE                         EAGAN, DREW
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EAGAN, JESSICA                       EAGAN, NICOLE                         EAGAR, JAMES
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EAGEN, JENNIFER                      EAGER, CHASE                          EAGER, ERIC
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EAGLE BEVERAGE DISTRIBUTION -        EAGLE BEVERAGE                        EAGLE EQUIPMENT CORP
MONTANA                              1011 BROADWATER DRIVE                 ADDRESS UNAVAILABLE AT TIME OF FILING
1011 BROADWATER DRIVE                GREAT FALLS, MT 59405
GREAT FALLS, MT 59405




EAGLE ROCK DISTRIBUTING COMPANY      EAGLE, BERNADETTE                     EAGLE, GWENDOLYN
6205 BEST FRIEND RD STE A            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NORCROSS, GA 30071




EAGLE, ISAIAH                        EAGLE, JOY                            EAGLES STADIUM OPERATOR LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ATTN: GENERAL COUNSEL
                                                                           NOVACARE COMPLEX
                                                                           ONE NOVACARE WAY
                                                                           PHILADELPHIA, PA 19145



EAGLES, ARIEL                        EAGLES, CYNTHIA                       EAGLETON, MERRICK
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EAGLETON, MOLLY                      EAGLIN, ADAM                          EAKES, LAURIE
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EAKES, SARAH                         EAKIN, JEANNE                         EAKIN, JESSICA
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EAKIN, JOHN           Case 22-11238-LSS      Doc 2 Filed 11/30/22
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EALY, CACILLE                        EALY, KRYSTAL                           EALY, LAURA
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EALY, RICHARD                        EAMES, MANDY                            EAMES, SHERRI
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EAMES, STEVEN                        EANES, ANNA                             EANES, CLAYTON
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EAR, SHEH                            EARL OF SANDWICH                        EARL SHAFFER
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EARL WAYNE SONDREAL                  EARL, ABBEY                             EARL, CHELSIE
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EARL, CORINNE                        EARL, JAMES                             EARL, JULIANN
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EARL, LINDSEY                        EARL, SOPHIE                            EARLE, ALEX
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EARLE, BLOSSOM                       EARLE, GEORGIANA                        EARLE, IAN
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EARLE, KAREN                         EARLE, KATE                             EARLE, SANDRA
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EARLEY, BRITTANY                     EARLEY, JASON                         EARLEY, KAITLIN
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EARLEY, MEGAN                        EARLEY, SEAN                          EARLS, CHELSIA
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EARLS, EMILY                         EARLS, HALEIGH                        EARLS, RAYMOND
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EARLS, RONNIE                        EARLY, APRIL                          EARLY, BRANDY
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EARLY, BRITTNEY                      EARLY, BRONWYN                        EARLY, DENISE
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EARLY, JACQUELYN                     EARLY, LASHAWN                        EARLY, LAURA
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EARLY, MEAGAN                        EARLY, SARAH                          EARLYWINE, TERA
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EARNER, MOLLY                        EARNEST, SARAH                        EARNHART, JARED
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EARNHART, JULIE                      EARNHART, TAMI                        EARP, AMY
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EARP, JENNIFER        Case 22-11238-LSS     DocINC.
                                     EARTH FARE  2 Filed 11/30/22        Page 1375 of 5495
                                                                              EARTHBAR
ADDRESS AVAILABLE UPON REQUEST       220 CONTINUUM DRIVE                      ADDRESS UNAVAILABLE AT TIME OF FILING
                                     FLETCHER, NC 28732




EARTHMAN, LACY                          EARVIN, BONITA                        EASLEY, ALYSSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EASLEY, FREDERIKA                       EASLEY, GREGORY                       EASLEY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EASLEY, JESSICA                         EASLEY, JILLIAN                       EASLEY, JODIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EASLEY, JULIE                           EASLEY, MARY ANN                      EASLEY, SALLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EASLEY, TERRI                           EASON, BOBBY                          EASON, GRAE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EASON, KATHERINE                        EASON, LEJON                          EASON, MONIQUE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EASON, TIMOTHY                          EASON, ZACH                           EAST AUSTIN SOFTWARE CONSULTING, LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        1211 EAST 5TH STREET 1552
                                                                              AUSTIN, TX 78702




EAST BAROUGH FRAICHE                    EAST END TRIAL GROUP LLC              EAST LAKE DIVE CLUB
ADDRESS UNAVAILABLE AT TIME OF FILING   161 LLOYD AVE                         113 E ROANOKE ST
                                        PITTSBURGH, PA 15218                  SEATTLE, WA 98102




EAST, ARIEL                             EAST, CAROLINE                        EAST, HANNAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EAST, KELSEY          Case 22-11238-LSS    DocSUSAN
                                     EASTBURN,  2 Filed 11/30/22        Page 1376  ofERICA
                                                                             EASTER,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTER, EVANRAE                      EASTER, JOSH                            EASTER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTER, WILLIAM                      EASTERDAY, AMY                          EASTERLIN, JAQUETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTERLING, DENISE                   EASTERLING, KIMBERLY                    EASTERLING, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTERLY, ARIANA                     EASTERN DISTRICT OF CALIFORNIA          EASTERN DISTRICT OF CALIFORNIA
ADDRESS AVAILABLE UPON REQUEST       2500 TULARE ST, STE 4401                501 I ST, STE 10-100
                                     FRESNO, CA 93721                        SACRAMENTO, CA 95814




EASTERN DISTRICT OF PENNSYLVANIA     EASTERN DISTRICT OF PENNSYLVANIA        EASTERN LIFT TRUCK
504 W HAMILTON ST, 3701              615 CHESTNUT ST, STE 1250               ADDRESS UNAVAILABLE AT TIME OF FILING
ALLENTOWN, PA 18101                  PHILADELPHIA, PA 19106




EASTHAM, ANN                         EASTHAM, CHRISTA                        EASTHAM, CHRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTIN, PATTY                        EASTLAND, BROOKE                        EASTLAND, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTLAND, PARKER                     EASTMAN, AMANDA                         EASTMAN, ANNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTMAN, EVAN                        EASTMAN, KELLI                          EASTMAN, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
EASTMAN, LINDSAY      Case 22-11238-LSS    Doc
                                     EASTMAN,   2 Filed 11/30/22
                                              MARLENE                   Page 1377 of 5495
                                                                             EASTMAN, SHEENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTMAN, SHERYL                      EASTMAN, TAYLOR                         EASTMAN, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTMAN, VICTORIA                    EASTO, JESSICA                          EASTON, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTON, BRIANNA                      EASTON, CHRISTINE                       EASTON, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTON, JACQUELINE                   EASTON, PATRICIA                        EASTON, REVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTON, VIVIAN                       EASTRIDGE, CHRISTY                      EASTWOOD, AZIZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTWOOD, DEANE AND RACHEL           EASTWOOD, HANNAH                        EASTWOOD, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EASTWOOD, KYLE                       EASTWOOD, SHANNOM                       EASY CANVAS PRINTS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




EASY GENERATOR                       EASY WINE LICENSING                     EAT CLUB, INC.
3044 BC                              ADDRESS UNAVAILABLE AT TIME OF FILING   1400A SEAPORT BLVD. SUITE 400
ROTTERDAM                                                                    REDWOOD CITY, CA 94063
NETHERLANDS




EAT CLUB, INC.                       EATES, TREY                             EATHERTON, NICKI
PO BOX 8290                          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PASADENA, CA 91109-8290
EATMAN, MARIAN        Case 22-11238-LSS    Doc
                                     EATMON,     2 Filed 11/30/22
                                             JENNIFER                 Page 1378
                                                                           EATON,of 5495
                                                                                 ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EATON, AMANDA                        EATON, AMY                            EATON, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EATON, ANNIE-ROSE                    EATON, BRANDI                         EATON, BRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EATON, CASEY                         EATON, CATHY                          EATON, DERBA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EATON, DONNA                         EATON, ELSEY                          EATON, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EATON, JAMIE                         EATON, JESSICA                        EATON, KAY
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EATON, KIMBERLY                      EATON, LINDSEY                        EATON, MAGGIE
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EATON, MELANIE                       EATON, MEREDITH                       EATON, PAMELA
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EATON, PAUL                          EATON, ROBERT                         EATON, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EATON, SAMUEL                        EATON, SARAH                          EATON, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EATON, STEFANIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EATON, TERESA                      Page 1379 of LAUREN
                                                                             EATWELL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EAVERS, CARRSHA                      EAVES, KAYLA                            EAVES, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EAYRE, NORMA                         EB                                      EBANKS, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




EBAUGH, CHRIS                        EBAY                                    EBBERS, JANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




EBBERS, JULIA                        EBBERT, KAREN                           EBBING, MORGAN
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EBBS, EMILY                          EBEID, JUANITA                          EBEL, JONATHAN
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EBELHAR, MONICA                      EBELING, BRYCE                          EBELING, PAMELA
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EBELL, GEMMA                         EBENGER, LORI                           EBERE, DAVID
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EBERENZ, ASHLEY                      EBERHARDT, AUDREY                       EBERHARDT, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EBERHARDT, MICHELLE                  EBERHARDT, ROBIN                        EBERHARDT, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
EBERHART, BLAIRE      Case 22-11238-LSS    DocGRETCHEN
                                     EBERHART,  2 Filed 11/30/22      Page 1380 of 5495
                                                                           EBERHART, JOREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EBERIUS, JUDITH                      EBERJEY                               EBERLE, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST       3300 NW 41ST STREET, SUITE 1E         ADDRESS AVAILABLE UPON REQUEST
                                     MIAMI, FL 33142




EBERLE, CLARE                        EBERLE, EMMA                          EBERLE, MARIA LOREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EBERLE, ROBERT                       EBERLEI, SHAYNA                       EBERLEIN, ROSEMARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EBERLING, STACY                      EBERLY, TIFFANY                       EBERSBERGER, JODI
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EBERSOL, LAUREN                      EBERSOLE, MEG                         EBERSOLE, NATALIE
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EBERT, ANGELA                        EBERT, DONNA DREW                     EBERT, JANE
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EBERT, JESSICA                       EBERT, RACHEL                         EBERT, REAGAN
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EBERT, RYAN                          EBERT, TAYLOR                         EBERWEIN, BRYCEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EBERWEIN, ELENA                      EBERWEIN, HANNAH                      EBIG, MIKAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EBINAL, HALEY         Case 22-11238-LSS    Doc
                                     EBINGER,    2 Filed 11/30/22
                                              ALYSSA                  Page 1381  of VALERIE
                                                                           EBINGER, 5495
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EBKE, STEVE                          EBLE, LAURA                            EBLING, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EBLING, HILLRY                       EBLING, LINDSEY                        EBLING, TONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EBNER, DANIEL                        EBNER, DAWN                            EBNER, SABRINA
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EBOCH, DAWN                          EBOIGBODIN, SOLOMON                    EBOL, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EBONI LUNSFORD CALBOW                EBONY FOSTER                           EBONY WYATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EBRAHIMI, ASHLEY                     EBRAHIMI, MARJAN                       EBRAHIMIAN, SHAHRZAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EBSEN, JANET                         EBY, BARBARA                           EBY, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EBY, JOSEPH                          EBY, SUE                               ECAY, CALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ECAY, COREY                          ECCLES, AUDREY                         ECCLES, KURT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ECCLESTON, KERRY      Case 22-11238-LSS    DocWILLIAM
                                     ECCLESTON, 2 Filed 11/30/22        Page 1382  of 5495 LLC
                                                                             ECCO INDUSTRIES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          1620 CENTRAL AVE STE 202
                                                                             CHEYENNE, WY 82001




ECEHRD, ELIZABETH                    ECHANIQUE, ANDREW                       ECHARD, ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ECHAVARRIA, MIKE                     ECHEONA, XOCHILT                        ECHEOZO, CHIDERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ECHETO, NICOLE                       ECHEVARRIA, CARMEN                      ECHEVARRIA, TANIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ECHEVERRIA, ANTHONY                  ECHEVERRIA, DOMENICA                    ECHEVERRIA, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ECHEVERRIA, JULIO                    ECHO GLOBAL LOGISTICS, INC.             ECHOLS, AIMEE
ADDRESS AVAILABLE UPON REQUEST       600 W. CHICAGO AVE. SUITE 725           ADDRESS AVAILABLE UPON REQUEST
                                     CHICAGO, IL 60654




ECHOLS, ALECIA                       ECHOLS, ASHLEY                          ECHOLS, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ECHOLS, MORGAN                       ECHOLS, NATALIE                         ECHOLS, RAYANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ECHOLS, REID                         ECHOSIGN                                ECHOUFFO TCHEUGUI, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




ECK, AIMEE                           ECK, CHARLES                            ECK, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
ECK, MELISSA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ECK, SABINA                      Page 1383   of 5495
                                                                           ECK, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ECKART, JODEE                        ECKART, TONI                          ECKBLAD, FAYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ECKE, KRISTINA                       ECKEL, LAUREN                         ECKEL, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ECKENROTH, DEAN                      ECKER, BRITTANY                       ECKER, HALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ECKERD, CATHERINE                    ECKERL, KELLY                         ECKERMANN, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ECKERT, BLAKE                        ECKERT, HADASA                        ECKERT, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ECKERT, MARLO                        ECKERT, MEGAN                         ECKERT, RACHAEL
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ECKES, DOLORES                       ECKES, WALTER                         ECKHARDT, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ECKHARDT, EMILY                      ECKHARDT, ERICA                       ECKHARDT, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ECKHART, GINA                        ECKHART, KATIE                        ECKHART, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ECKHART, SUSAN        Case 22-11238-LSS    Doc
                                     ECKHOFF,    2 Filed 11/30/22
                                              ANNA                           Page 1384 of 5495
                                                                                  ECKHOFF, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




ECKHOFF, MARDI                          ECKHOFF, SELENA                           ECKHOLM, CARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ECKIS, WHITNEY                          ECKLE, MADISON                            ECKLER, CANDICE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ECKLES, JEFF                            ECKLEY, DANA                              ECKLEY, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ECKLOF, ERIN                            ECKLOFF, MICHELE                          ECKMAN, AMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ECKMAN, KAITLIN                         ECKMANN, JAKKI                            ECKROATE, JILLIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ECKSTEIN, ALAN                          ECKSTEIN, KARA                            ECKSTEIN, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ECKSTEIN, MICHAEL                       ECKSTROM, NATALIE                         ECLEVIA, FRANCIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ECLIPSE MARKETING                       ECM                                       ECOLAB
ADDRESS UNAVAILABLE AT TIME OF FILING   CALZADA DE LAS AGUILAS LOCAL B NO.        P.O. BOX 850 E STOWELL RD
                                        EXT. 1038                                 SANTA MARIA, CA 93454-7012
                                        COLONIA AMPLIACION LAS AGUILAS
                                        ALVARO OBREGON
                                        MEXICO CITY CP 01759 MEXICO

ECONOMOU, ANNA                          ECONOMOU, ELIAS                           ECR TRADING SOLUTIONS LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            309 SURFACE DR
                                                                                  TAZEWELL, VA 24651
ECTOR, SHELBY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ED WILLIAMSON                    Page 1385 of 5495
                                                                           EDABURN, KENNETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDBERG, KATE                         EDBERG, KELLY                         EDDIE GAVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDDIE, LESA                          EDDINGER, JOSHUA                      EDDINGS, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDDINGS, CANDACE                     EDDINGS, KRISTINA                     EDDINGS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDDINGS, RAQUEL                      EDDINGTON, CATHLEEN                   EDDINGTON, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDDINGTON, STEVE                     EDDINS, DEBBY                         EDDINS, PATRICIA A
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EDDINS, TANYA                        EDDLEMAN, LAUREN                      EDDLEMAN, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDDY KOTT, ASHLEY                    EDDY, BRETT                           EDDY, HANNAH
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EDDY, JONATHAN                       EDDY, KATHRYN                         EDDY, MARIHA
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EDDY, MOLLY                          EDDY, PAUL                            EDDY, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EDDY, RANDY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EDDY, RANDY                      Page 1386  of 5495
                                                                           EDDY, SUSAN
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EDDY, SUSAN                          EDDY, TARA                            EDEJER, TINA
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EDEL, CHRISTINE                      EDEL, NICHOLAS                        EDELBERG, ADAM
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EDELBLUTE, HEATHER                   EDELBROCK, FLORA                      EDELEN, JENNIFER
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EDELEN, KELSEY                       EDELIN, JORDAN                        EDELMAN, ELINA
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EDELMAN, ELYSE                       EDELMAN, LAURA                        EDELMAN, SARAH JANE
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EDELMAN, SARI                        EDELMANN, MARK                        EDELSON, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDELSTEIN, ANDREA                    EDELSTEIN, BRETT                      EDELSTEIN, TEALE
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EDELYN OLSON                         EDEN, DANIEL                          EDEN, HEATHER
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EDEN, MANDY                          EDENBACH, ADIE                        EDENS, ALLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EDENS, MARY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EDENS, RIA                       Page 1387  of 5495
                                                                           EDER, DAVID AND AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDEWARDS, REBEKAH                    EDGAR ALLEN PITTS                      EDGAR EDUARDO CASTANEDA VEIRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDGAR H LAWTON III                   EDGAR PEREZ                            EDGAR RENEE PADILLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDGAR, CHARLES                       EDGAR, CHARLES                         EDGAR, HILLARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDGAR, JACKI                         EDGAR, JONATHAN                        EDGAR, KRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDGAR, MADISON                       EDGAR, MICHELLE                        EDGAR, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDGAR, WENDY                         EDGARD GERENA                          EDGE, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDGE, JASMINE                        EDGE, KATIE                            EDGE, KATRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDGE, LAUREN                         EDGE, SAMANTHA                         EDGE, TRISTAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDGECOMB, CAROLYN                    EDGECOMB, JESSICA                      EDGELL, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
EDGER, ALEXANDRA      Case 22-11238-LSS    Doc
                                     EDGERLY,    2 Filed 11/30/22
                                              DEBORAH                 Page 1388 of 5495
                                                                           EDGERLY, LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDGERTON, CAROLINE                   EDGERTON, JOSHUA                      EDGINGTON, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDGINGTON, KATELYN                   EDGINGTON, RUSTY                      EDGINGTON-GIORDANO, FRANCESCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDGMON, HALLIE                       EDGREN, ANNA                          EDHOLM, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDICK, PAULA                         EDILGRACE PECSON                      EDINBORO, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDINGER, JORDAN                      EDINGTON, EDWARD                      EDINGTON, LARA
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EDINGTON, SAMANTHA                   EDISON, DONNA                         EDISON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDISON, LINDSAY                      EDITH M VILLAMIL                      EDKIN, EMILY
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EDLEMAN, JOHN                        EDLER, SAMANTHA                       EDLEY, RICHARD
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EDLOW, TONYA                         EDLUND, REBECCA                       EDME, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EDMIASTON, KRISTEN    Case 22-11238-LSS    DocTIM
                                     EDMIASTON, 2 Filed 11/30/22      Page 1389  of 5495
                                                                           EDMISTEN, KARALEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDMISTON, LAUREEN                    EDMISTON, MAGGIE                       EDMOND, LANDON
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EDMOND, SARAH                        EDMONDS, ASHLEY                        EDMONDS, DAVID
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EDMONDS, JANELLE                     EDMONDS, JILL                          EDMONDS, JOAN
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EDMONDS, MARCIA                      EDMONDS, RACHEL                        EDMONDS, TANISHA
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EDMONDS, THOMAS                      EDMONDSON, CAMERON                     EDMONDSON, CRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDMONDSON, HEATHER                   EDMONDSON, JESSICA                     EDMONDSON, KATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EDMONDSON, NATHAN                    EDMONDSON, SHARONDA                    EDMONDSON, STEPHANIE
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EDMONDSON, STEPHANIE                 EDMONDSON, VALENTYNE                   EDMONSON, LISA
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EDMUND ROGERS, EDMUND                EDMUNDO VALENTE                        EDMUNDS, BRANDI
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EDMUNDS, BRANDON      Case 22-11238-LSS    Doc
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                                                                           EDMUNDS, CAROL
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EDMUNDS, KATHY                       EDMUNDS, MARIBETH                     EDMUNDS, SEAN
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EDMUNDS, SUSAN                       EDMUNDSON, BENJAMIN                   EDMUNDSON, MICHAEL
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EDNIE, HEATHER                       EDOKWE, ELISABETH                     EDOUARD, ELIZABETH
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EDOUARD, FRANCIS                     EDOUARD, THONY                        EDRINGTON, JANNA
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EDSALL, JACK                         EDSALL, KRISTA                        EDSON, GREG
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EDSON, IMOGENE                       EDSON, STEPHANIE                      EDSTAM, TINA
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EDSTROM, DOREEN                      EDUARDO CARRANZA GUTIERREZ            EDUARDO ESPINOZA
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EDUARDO VIRAMONTES                   EDUCATO, REBECCA                      EDUN, ILAR
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EDVIN ARRIAGA AUTOVAN                EDWARD A DALLY                        EDWARD A HARTMANN
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EDWARD A LOGAN        Case 22-11238-LSS
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EDWARD CONLEY                        EDWARD D WALLO                        EDWARD F SCHWAB
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EDWARD FAULKNER                      EDWARD GARDULA                        EDWARD GERG
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EDWARD GIRON                         EDWARD GUBAR                          EDWARD HAYES
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EDWARD JOHN DELMORE III              EDWARD JOHN KOBIALKA                  EDWARD JONES (0057)
4272 BIRKDALE ST.                    ADDRESS AVAILABLE UPON REQUEST        ATTN DEREK ADAMS OR PROXY DEPT
GULF SHORES, AL 36542                                                      CORPORATE ACTIONS & DISTRIBUTION
                                                                           12555 MANCHESTER RD
                                                                           ST. LOUIS, MO 63131



EDWARD KUHRT JR                      EDWARD MUWONGE                        EDWARD NOVAK
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EDWARD REALE                         EDWARD RICE                           EDWARD TERRELL
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EDWARD TOMASEK                       EDWARD TORRES                         EDWARD WHEELING SR
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EDWARD YEE                           EDWARDS, A                            EDWARDS, ABRIE
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EDWARDS, AKEITHA                     EDWARDS, ALAN                         EDWARDS, ALEX
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EDWARDS, ALEX         Case 22-11238-LSS    Doc
                                     EDWARDS,   2 Filed 11/30/22
                                              ALEXANDRA               Page 1392 of 5495
                                                                           EDWARDS, ALLISON
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EDWARDS, ALYSSA                      EDWARDS, ANGELA                       EDWARDS, ANN M
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EDWARDS, ANN MARIE                   EDWARDS, ANNIE                        EDWARDS, ASIA
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EDWARDS, B SCHUYLER                  EDWARDS, BEVERLEY                     EDWARDS, BLAKE
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EDWARDS, BOB                         EDWARDS, BRITTNEY                     EDWARDS, BROOKE
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EDWARDS, CANDACE                     EDWARDS, CANDIS                       EDWARDS, CASSIE
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EDWARDS, CATHERINE                   EDWARDS, CHARLENE                     EDWARDS, CHRISTINE
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EDWARDS, CINDY                       EDWARDS, CLYDE                        EDWARDS, CORTNEY
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EDWARDS, COURTNEY                    EDWARDS, CRYSTAL                      EDWARDS, DANA
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EDWARDS, DASHAYLA                    EDWARDS, DAVID                        EDWARDS, DAVID
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EDWARDS, DEBBIE       Case 22-11238-LSS    Doc
                                     EDWARDS,   2 Filed 11/30/22
                                              EBONY                   Page 1393 of 5495
                                                                           EDWARDS, ELIJAH
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EDWARDS, ELMA                        EDWARDS, EMILY                         EDWARDS, EMMALEE
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EDWARDS, ERIN                        EDWARDS, GABRIELA                      EDWARDS, GARY
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EDWARDS, GLORIA                      EDWARDS, GWENETH                       EDWARDS, HAL
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EDWARDS, HILARY                      EDWARDS, ISABEL                        EDWARDS, JACOB
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EDWARDS, JADE                        EDWARDS, JAKE                          EDWARDS, JASMINE
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EDWARDS, JENNA                       EDWARDS, JENNIFER                      EDWARDS, JESSICA
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EDWARDS, JESSICA                     EDWARDS, JOE                           EDWARDS, JOHN
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EDWARDS, JOHN                        EDWARDS, JOHN                          EDWARDS, JORDAN
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EDWARDS, JULIE                       EDWARDS, JULIE                         EDWARDS, KAMRIE
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EDWARDS, KARA         Case 22-11238-LSS    Doc
                                     EDWARDS,   2 Filed 11/30/22
                                              KARSON                  Page 1394 of 5495
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EDWARDS, KELCY                       EDWARDS, KELSIE                       EDWARDS, KIMBER
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EDWARDS, KIMBERLY                    EDWARDS, KRISTEN                      EDWARDS, KRISTI
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EDWARDS, KRISTIN                     EDWARDS, KRYSTAL                      EDWARDS, LAURA
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EDWARDS, LAURA                       EDWARDS, LAUREN                       EDWARDS, LAURIE
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EDWARDS, LEAH                        EDWARDS, LEAH                         EDWARDS, LISA
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EDWARDS, LISA                        EDWARDS, LYDIA                        EDWARDS, MARAH
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EDWARDS, MARI                        EDWARDS, MARI                         EDWARDS, MARK
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EDWARDS, MARY                        EDWARDS, MAUREEN                      EDWARDS, MELISSA
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EDWARDS, MELISSA                     EDWARDS, MELISSA                      EDWARDS, MIKAELA
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EDWARDS, NAOMI        Case 22-11238-LSS    Doc
                                     EDWARDS,    2 Filed 11/30/22
                                              NICOLE                  Page 1395 of 5495
                                                                           EDWARDS, NIKIA
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EDWARDS, PATSY                       EDWARDS, PAUL                         EDWARDS, PEGGY
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EDWARDS, PHILIP                      EDWARDS, RACHEL                       EDWARDS, RENEE
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EDWARDS, RICHARD                     EDWARDS, ROBERT                       EDWARDS, ROBERT
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EDWARDS, RUTH                        EDWARDS, RUTHIE                       EDWARDS, SARAH
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EDWARDS, SHALMADEEN                  EDWARDS, SHANNON                      EDWARDS, SHARI
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EDWARDS, SIMONE                      EDWARDS, STACY                        EDWARDS, STEPHANIE
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EDWARDS, STEPHEN                     EDWARDS, STEVEN                       EDWARDS, STEVEN
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EDWARDS, SUSAN                       EDWARDS, TARA                         EDWARDS, TARA
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EDWARDS, TAYLOR                      EDWARDS, TENIQUA                      EDWARDS, TERRIE
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EDWARDS, TONETTE      Case 22-11238-LSS    Doc
                                     EDWARDS,   2 Filed 11/30/22
                                              VANCE                      Page 1396 of 5495
                                                                              EDWARDS, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EDWARDS, VIRGINIA                       EDWARDS, WILLIAM                      EDWARDS, ZOE
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EDWARDS-MILLER, FLORENCE                EDWIN R WILLIAMSON JR                 EDY, SHAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EDYBURN, PAM                            EDZARDS, MARYANN                      EENIGENBURG, MARK
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EEVA MARJUKKA MIINALA CURL              EFFERTZ, RACHEL                       EFFINGER, MARTHA
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EFFRON, REBECCA                         EFIMOVA, ANNA                         EFIRD, ELAINA
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EFO LOUIS D. GREENWALD FOR ASSEMBLY     EFROSINI KATEHIS                      EFURD, COLIN
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EFWE, HWEE                              EGAN, ALY                             EGAN, ASHLEY
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EGAN, CAITLIN                           EGAN, DANA                            EGAN, JENNA
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EGAN, KAITLIN                           EGAN, KAYA                            EGAN, LIAM
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EGAN, MATTHEW         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EGAN, MEGAN                      Page 1397  of 5495
                                                                           EGAN, MICHAEL
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EGAN, NATALIE                        EGAN, QUINN                           EGAN, ROBERT
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EGAN, ROSE                           EGAN, SARAH                           EGAN, TIM
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EGAN, TRACY                          EGBALIC, KRISHA                       EGBERT, RACHEL
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EGBUTA, KELECHI                      EGEA, CRISTINA                        EGEA-SIMMONS, MARGARITA
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EGEL, BEN-MARVIN                     EGELAND, JEFF                         EGENER, DANIEL
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EGER, ASA                            EGER, KATHARINE                       EGERS, KRISTEN
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EGERSON, PORSHIA                     EGERT, ILANA                          EGERT, ILANA
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EGERTON, DORENE                      EGET, LESLIE                          EGGBEER, LAUREN
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EGGBERT, LINDA                       EGGBORN, KIMBERLY                     EGGEMAN, CONNIE
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EGGEN, JOAN           Case 22-11238-LSS
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                                                                           EGGERS, 5495
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EGGERS, CASSIDY                      EGGERS, MELINDA                       EGGERS, SARAH
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EGGERT, AASTA                        EGGERT, CHRIS                         EGGERT, CHRISTOPHER
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EGGERT, CORNELIA                     EGGING, DON                           EGGLESTON, DOMINIQUE
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EGGLESTON, JACKEE                    EGGLESTON, ROBERTA                    EGGLETON, CHRISTOPHER
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EGHDAMI, VERONICA                    EGIROUS, MELISSA                      EGIZIANO, HEATHER
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EGLE, JACOB                          EGLE, WHITTNEY                        EGLESTON, KANOELEHUA
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EGLEY, CATHERINE                     EGLIN, LESLIE                         EGLOFF, KATIE
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EGLOW, ABBEY                         EGLSAER, KATIE                        EGLSEDER, CAROLINE
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EGNA, DANI                           EGNATUK, JANE                         EGNER, ASHLEY
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EGOAVIL, SARA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EGOLF, EILEEN                    Page 1399
                                                                           EGOLF,of 5495
                                                                                 STEPHANIE
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EGRESITS, ANDREW J.                  EGRESITS, WENDY                       EHARMONY, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        10900 WILSHIRE BOULEVARD, SUITE 17
                                                                           LOS ANGELES, CA 90024




EHART, BRIDGET                       EHDE, JUDITH                          EHINGER, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EHL, STEPHANIE                       EHLAND, LEAH                          EHLE, AMY
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EHLE, JANET                          EHLENBECK, KATIE                      EHLE-PARKER, KRISTI
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EHLERINGER, CHELSEY                  EHLERS, AMANDA                        EHLERS, BRIANNA
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EHLERS, ERIC                         EHLERS-KWATERSKI, CAMERYN             EHLERT, MADISON
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EHLINGER, LORAINE                    EHLKE, CHARLENE                       EHLKE, MORGAN
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EHLOW, ARYN                          EHMAN, ABBEY                          EHMAN, DENISE
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EHMAN, SARAH                         EHMANN, HELEN                         EHMANN, KRISTIN
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EHMKE, AMANDA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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EHNINGER, SARAH                      EHNISZ, JAMEL                         EHRBAKER, JACOB
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EHRBAR, RACHEL                       EHREN, TYLER                          EHRENBERGER, CATHERINE
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EHRENS, BAILEY                       EHRET, MADDIE                         EHRET, RITA
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EHRET, WILLIAM                       EHRHARDT, KARA                        EHRHART, NICHOLAS
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EHRICKE, LISA                        EHRINGER, NICK                        EHRLICH, ELIZABETH
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EHRLICH, MALLORY                     EHRLICH, MCKENZIE                     EHRLICH, SAM
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EHRLICH, SARA                        EHRNST, PAMELA                        EIBAN, RACHEL
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EICENS, MARGARET                     EICH, DAN                             EICH, KEITH
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EICH, LAURA                          EICHAR, LESLEY                        EICHELBERGER, ANNIE
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EICHELBERGER, DEBORAH Case 22-11238-LSS     Doc 2 IANFiled 11/30/22
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EICHELMAN, MINDY                     EICHENBERGER, LINDSEY                 EICHER, AMANDA
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EICHER, NOAH                         EICHERT, JEFFREY                      EICHFELD, ERIN
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EICHHORN, SUSAN                      EICHLER, JESSICA                      EICHLER, TAYLOR
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EICHLIN, CHRISTY                     EICHMAN, DONALD                       EICHNER, SARAH
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EICHNER, SUSAN                       EICHOLZER, AMANDA                     EICHORST, JEFF
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EICHTEN, VALERIE                     EICK, VICTORIA                        EICKER, SUSAN
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EICKHOFF, IAN                        EICKHOFF, ROB                         EICKHOLTZ, MERADITH
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EICKMEYER, JENNY                     EIDAM, DIANE                          EIDE, AMANDA
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EIDE, HOLLY                          EIDELBES, ERINN                       EIDELMAN, LIZ
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EIDELMAN, MAX         Case 22-11238-LSS
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EIDSON, HOLLY                        EIDSON, TYLER                         EIDSON, TYLER
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EIDSVAAG-MARTIN, LAURA               EIFFERT, KAYLA                        EIFLER, MIRANDA
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EIG, REBECCA                         EIGHMEY, SANDRA                       EIGHMY, TAYLOR
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EIGIL HANNESTAD                      EIKELAND, KINE                        EIKEN, ALISHA
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EIKENHORST, HEIDI                    EIKOM, KRISTA                         EIKREN, ERICA
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EILBERT, CHARLOTTE                   EILER, ISABEL                         EILERS, CLAYTON
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EILERS, EMILY                        EILMANN, REBECCA                      EIMPROVEMENT
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EINBODEN, ERICA                      EINCK, DONALD                         EINCK, KRISTIN
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EINFRANK, JULIAN                     EINHORN, BARBARA                      EINHORN, MAREE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EINIG, ELIZABETH      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     EINIG, JOHN                      Page 1403  of 5495
                                                                           EINOLANDER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EINSPANIER, KATE                     EINTERZ, KENDALL                       EINY, GALIT
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EIPPERLE, MIRANDA                    EIRAS, JOSIE                           EIRICH, MELANIE
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EIRING, HILARY                       EISBERG, ANDREW                        EISCHEID, JEFFREY
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EISCHEN, SHANNON                     EISELE, CINDY                          EISELE, MAURA
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EISELE, ROGAN                        EISELE, VALRIE                         EISEMAN, GREG
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EISEMANN, PERRY                      EISEN, MAYA                            EISENBARTH, AMANDA
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EISENBECK, PEYTON                    EISENBEISZ, ROD                        EISENBERG, ALBERT
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EISENBERG, ALEXANDRIA                EISENBERG, ARIELLE                     EISENBERG, DANIELLE
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EISENBERG, HANNAH                    EISENBERG, JACQUELINE                  EISENBERG, JAKE
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EISENBERG, JULIA      Case 22-11238-LSS     DocJUSTINE
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                                                                           EISENBERG, MICHAEL
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EISENBERG, NICOLE                    EISENBERG, TARA                        EISENBERGER, SUSAN
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EISENGRUBER, KAREN                   EISENHARD, MEGAN                       EISENHART, ALEXIS
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EISENHART, NIKOLE                    EISENHAUER, JENNIFER                   EISENHAUER, LEIGH ANN
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EISENHAUER, REED                     EISENHAUER-WALL, MARIANNE              EISENHAURE, JESSICA
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EISENHOUR, ANDREA                    EISENHUTH, BEVERLY                     EISENHUTH, LEIGH
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EISENMAN, ALEXIS                     EISENMAN, BECKY                        EISENRING, VICTORIA
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EISENSTEIN, MEGAN                    EISENSTEIN, NATHALIE                   EISENWINE, JAMES
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EISINGER, JAMES                      EISL, MAX                              EISLER, CATRINA
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EISLEY, TAI                          EISMAN, LIANA                          EISNER, HANNAH
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EITAN, NOAM           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     EITEL, ELLIOT                    Page 1405   of 5495
                                                                           EITEL, RICHARD
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EITEL, SARAH                         EITER, MACKENZIE                      EITING, MICHAELA
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EITNER, KATHLEEN                     EIZINGER, ERIC                        EJERE, MICHAEL
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EJNES, SAMUEL                        EKAS, COLLEEN                         EKATERINA LOMAZOV
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EKBAL, ALINA                         EKEOCHA, CASSANDRA                    EKERUO, TONY
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EKHOFF, JOSEPH                       EKKERT, JENNIFER                      EKLE, BARRY
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EKLEBERRY, ELLERY                    EKLUND, ELIZABETH                     EKLUND, MARY
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EKMAN, ERIKA                         EKMAN, STEPHEN                        EKNOIAN, RICH
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EKO, KRISTY                          EKOKOBE, ASTA                         EKSTROM, AISHA
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EKSTROM, KRISTI                      EKSTROM, TAELOR                       EKWURZEL, JARROD
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EL KHATIB, JANET      Case 22-11238-LSS     Doc
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EL NASHAAR, KRISTINA                    EL POLLO LOCO                            EL RANCHO MARKET
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EL SEGUNDO BREWING                      EL STUDIO B, LLC                         EL TIZON 2
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                                        BOCA RATON, FL 33434




EL TORO BLANCO                          EL, FADWA                                EL, SUZANNE
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ELAD DANIEL                             ELAGANDHALA, AKSHAY                      ELAGIN, KIRILL
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ELAHI, RUBAYET                          ELAHIAN, ZOHRE                           ELAHWAL, CAMILLIA
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ELAINE MARTINEZ GABRIEL, ELAINE         ELAINE MCCARROLL                         ELAINE, JESEKA
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ELAINE, MARY                            ELAM, AMY                                ELAM, LAUREN
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ELAM, MEGHAN                            ELAM, UMIKA                              EL-AMINE, ZEIN
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ELAYDI, RACHID                          ELBAOR, ALLISON                          ELBAUM, KAYLEIGH
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ELBAUM, MARCELLA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ELBERT, CINDY                        ELBERT, DANIELLE                      ELBERT, EBONY
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ELBIN, MARCIE                        ELCHIBEKOV, ELLEN                     ELCOCK, MATT
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ELDER, CHARLES                       ELDER, CHELSEA                        ELDER, ELAINE
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ELDER, ELLA CASSANDRA                ELDER, ERIN                           ELDER, JAMES
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ELDER, KANDACE                       ELDER, KATHERINE                      ELDER, MARLEENE
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ELDER, MAXIMILIAN                    ELDER, SARAH                          ELDER, SUE
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ELDER, VICTORIA                      ELDER, VICTORIA                       ELDERKIN, CASEY
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ELDERKIN, KERRY                      ELDERS, KATHY                         ELDER-WEEMS, B
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ELDRED, HEIDI                        ELDRED, JOHN                          ELDREDGE, AMELIA
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ELDREDGE, BENNETT     Case 22-11238-LSS    DocCHASE
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                                                                             ELDREDGE, MACY
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ELDRIDGE, ASHELI                     ELDRIDGE, BRIAN                         ELDRIDGE, CHANTAL
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ELDRIDGE, DIANA                      ELDRIDGE, EMILY                         ELDRIDGE, JOYCE
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ELDRIDGE, MADELINE                   ELDRIDGE, MARY                          ELDRIDGE, MERILYN
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ELDRIDGE, PAIGE                      ELDRIDGE, RICHARD                       ELDRIDGE, TYLER
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ELDRIDGE, WILLIAM                    ELEANA JOHNSON                          ELEANOR SALUMBRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ELEBY, DIONNE                        ELECHI, IZUCHUKWU                       ELECTRIC AI, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          408 BROADWAY, 5TH FLOOR
                                                                             NEW YORK, NY 10010




ELECTRONIC COMMUNICATION             ELECTRONIC IMAGING SERVICES, INC        ELEFANT, BLAIR
TECHNOLOGIES, LLC                    (VESTCOM RETAIL SOLUTIONS)              ADDRESS AVAILABLE UPON REQUEST
711 SW 24TH STREET                   2800 CANTRELL RD. STE. 500
BOYNTON BEACH, FL 33435              LITTLE ROCK, AR 72202




ELEFANTE, NATALIE                    ELEFTHERIOU, ANGELIKA                   ELEK, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ELEN ZEPEDA                          ELENA CROSS                             ELENA IURINOVA
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                      Case 22-11238-LSS
ELENA NIKOLAYEVNA MEADOWCROFT               Doc 2 Filed 11/30/22
                                     ELENA TREANOR                    Page 1409
                                                                           ELENA, of 5495
                                                                                  MARIA
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ELENA, MARTHA                        ELENDT, ALISON                        ELETHORP, AMBER
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ELEY, TONGINIQUE                     ELEZI, STEPHANIE                      ELF, ABIGAIL
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ELFAGHI, JOSE                        EL-FAURI, LISSETTE                    ELFSTROM, ANGIE
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ELFVIN, MICHELLE                     ELG, VALERI                           ELGABROWNY, JENNIFER
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ELGAR, ANGELA                        ELGAR, RUBY                           EL-GAWLY, AMIRA
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ELGUETA, SAMUEL                      ELGUN TILLMAN, OZLEM                  ELHAJJ, TRAVIS
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ELHAMI, SHOREH                       EL-HINNAWY, NAELA                     ELI ALTARAS
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ELI LEVY, ELI                        ELIAS CHAIJ                           ELIAS JR, DERON M.
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ELIAS MOROTE, YOEL    Case 22-11238-LSS     Doc 2 JIMENEZ
                                     ELIAS SALVADOR  Filed 11/30/22   Page 1410   of 5495
                                                                           ELIAS, ALEX
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ELIAS, ISABELLE                      ELIAS, LANDEN                         ELIAS, LISA
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ELIAS, MERCEDES                      ELIAS, RACHEL                         ELIAS, RACHEL
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ELIAS, RENE                          ELIAS, SARA                           ELIAS, SCOTT
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ELIAS, SUEZCORAZON                   ELIAS, TOM                            ELIASSON, KILEY
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ELIE AHOVI                           ELIE, EARL                            ELIE, LELAND
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ELIF AYVALI                          ELIJAH HARMON                         ELIJAH KRANSKI
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ELIJAH RITTENHOUSE                   ELIJAH WILLIAMS                       ELINE, EMMA
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ELIOPOULOS, ANNA                     ELIOT EDWARD FREESTON                 ELISA RENEE KUHAR
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ELISA WERBLER                        ELISABETE PEREIRA                     ELISABETH, A
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ELISE FOX             Case 22-11238-LSS     Doc 2 CHOU
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                                                                             ELISE PEASLEE
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ELISE WIGGINS                        ELISE, MEGAN                            ELISEO, NINA
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ELISHA FRENCH                        ELISHA MAREE DONNISON                   ELISHA RAEKER-JORDAN
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ELISSA BORDNER                       ELITE RESTAURANT EQUIPMENT              ELIZABETH ALISON HOLDEN
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ELIZABETH BETCHER                    ELIZABETH BINA RITTER                   ELIZABETH CHRISTINA KELLOGG
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ELIZABETH COLLETTI                   ELIZABETH COPPEDGE                      ELIZABETH CRABTREE
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ELIZABETH DAVIS                      ELIZABETH ELSON                         ELIZABETH FARDOUN
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ELIZABETH FLOOD                      ELIZABETH GILMOUR                       ELIZABETH GONZALEZ
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ELIZABETH GRAHAM                     ELIZABETH GRIFFIN                       ELIZABETH HEWITT
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ELIZABETH HOYT                       ELIZABETH JETTE, BRAD MOORE             ELIZABETH JIMENEZ
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ELIZABETH KILCOMMONS Case 22-11238-LSS     Doc
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                                                                           ELIZABETH LEGLER
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ELIZABETH LUCHETTI                   ELIZABETH LUCHETTI                     ELIZABETH MCCLURG
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ELIZABETH MCDEVITT                   ELIZABETH MCKAY                        ELIZABETH N WOOD
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ELIZABETH OLIVER                     ELIZABETH POPWELL                      ELIZABETH POWERS
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ELIZABETH REBURN                     ELIZABETH ROLLINS                      ELIZABETH ROSSON
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ELIZABETH SCHNOBRICH                 ELIZABETH SPENCE, KERRY                ELIZABETH STAVER
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ELIZABETH TROOST                     ELIZABETH VAN HOEK                     ELIZABETH WARE
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ELIZABETH WILSON                     ELIZABETH WILSON                       ELIZABETH WINKELMANN
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ELIZABETH ZWYNENBURG                 ELIZABETH, ANNA                        ELIZABETH, BARRETT,
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ELIZABETH, HANNAH                    ELIZABETH, HANNAH                      ELIZABETH, KAREN
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ELIZABETH, LAUREN     Case 22-11238-LSS     DocRACHAEL
                                     ELIZABETH,  2 Filed 11/30/22     Page 1413  of 5495
                                                                           ELIZABETH, SARA
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ELIZABETH, SARA                      ELIZAH DEMOTT                          ELIZARDO, MADDISSON
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ELIZEE, NAOMI                        ELIZONDO, ASHLEY                       ELIZONDO, JILLIAN
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ELIZONDO, KAREN                      ELIZONDO, MONICA                       ELIZONDO, RICHARD
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ELIZONDO, SAMANTHA                   ELKADY, NADA                           ELKHAIRI, DALIA
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EL-KILDANI, FARIS                    ELKIN, ASHLEY                          ELKIN, JESSICA
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ELKIN, KASEY                         ELKIN, NATALIA                         ELKIN, ZOE
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ELKINGTON, DEBORAH                   ELKINGTON, JEN                         ELKINGTON, NATHANIEL
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ELKINS, ADAM                         ELKINS, ANGELA                         ELKINS, BILLIE
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ELKINS, DEANNA                       ELKINS, DEBI                           ELKINS, DENNIS
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ELKINS, ISAAC         Case 22-11238-LSS
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ELKINS, KATHLEEN                     ELKINS, KAYLA                          ELKINS, MARLEY
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ELKINS, MARY JANE                    ELKINS, NIKKI                          ELKINS, SARAH
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ELKINTON, LYNN                       ELKO, MICHELLE                         ELKO, NICOLE
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ELKOBI, ILAN                         ELLA BLANKS                            ELLA DINNING ROOM
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ELLA MCMAHAN                         ELLAM, MARY                            ELLARD, JESSICA
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ELLARD, MICKAELA                     ELLEBRACHT, SUE                        ELLEDGE, MEGHAN
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ELLEGOOD, EMORY                      ELLEN BRO                              ELLEN M COON
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ELLEN SALENJUS                       ELLEN YAN YAN CHEN YU                  ELLEN, ADRIENNE
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ELLEN, MARY                          ELLEN, MARY                            ELLEN, MARY
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ELLEN, MARY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ELLEN, ROSE                        Page 1415
                                                                             ELLEN, of
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ELLENA, COURTNEY                     ELLENBERGER, ANDREA                     ELLENBURG, EVA
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ELLENDER, CARLY                      ELLENWOOD, MARY                         ELLER, ALISON
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ELLER, MELISSA                       ELLER, MICAELA                          ELLER, MICHAEL
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ELLER, PATTY                         ELLER, REBEKAH                          ELLERBE, JACKIE
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ELLERBROEK, MAGGIE                   ELLERBROEK, NICK                        ELLERBROEK, TRAVIS
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ELLERBY, KAREN                       ELLERHORST, BERTHA                      ELLERIN, NELSON
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ELLERMEYER, SEAN                     ELLERSON, ALLISON                       ELLERTHORPE, JENNIFER
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ELLERTON, MANDY                      ELLESTAD, JOSH                          ELLIAS, ABIGAIL
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ELLIE LINDROOTH, ESTELLE             ELLIEWOOD                               ELLING, KENNETH
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ELLINGER, DANIELLA    Case 22-11238-LSS     DocMEGAN
                                     ELLINGSEN, 2 Filed 11/30/22      Page 1416  of 5495
                                                                           ELLINGSON, ABEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ELLINGSON, MARISSA                   ELLINGTON, LAINE                       ELLINGTON, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ELLINGTON, TIMOTHY                   ELLINWOOD, DAWN                        ELLINWOOD, DAWN
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ELLINWOOD, JILL                      ELLIOT REES-DAVIES                     ELLIOT, KATHERINE
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ELLIOT, PAUL                         ELLIOT, SHAWN                          ELLIOT, TRACY
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ELLIOTT CARSTENS ROBERTS JR          ELLIOTT HOLT                           ELLIOTT MORGAN
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ELLIOTT OLSON, CAROL                 ELLIOTT YOAKUM                         ELLIOTT, ALICE
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ELLIOTT, ALISE                       ELLIOTT, AMBER                         ELLIOTT, AMBER
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ELLIOTT, ANDREW                      ELLIOTT, ANDROMEDA                     ELLIOTT, ANNE
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ELLIOTT, ASHLEY                      ELLIOTT, BENJAMIN                      ELLIOTT, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ELLIOTT, BRIAN        Case 22-11238-LSS
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                                                                           ELLIOTT, 5495
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ELLIOTT, CHLOE                       ELLIOTT, CLAY                          ELLIOTT, CYNTHIA
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ELLIOTT, DANA                        ELLIOTT, DANIEL                        ELLIOTT, DANIELLE
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ELLIOTT, DEKONTEE                    ELLIOTT, DEVIN                         ELLIOTT, DOMINIQUE
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ELLIOTT, EIREANN                     ELLIOTT, ELIZABETH                     ELLIOTT, ELIZABETH
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ELLIOTT, GARETH                      ELLIOTT, GEORGE                        ELLIOTT, GREGORY
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ELLIOTT, HALIE                       ELLIOTT, HANNAH                        ELLIOTT, IAN
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ELLIOTT, JACKIE                      ELLIOTT, JENNA                         ELLIOTT, JENNIFER
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ELLIOTT, JEREMY                      ELLIOTT, JILLIAN                       ELLIOTT, JODY
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ELLIOTT, JOHN                        ELLIOTT, JOHN                          ELLIOTT, JUDITH
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ELLIOTT, KARA         Case 22-11238-LSS
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                                                                           ELLIOTT, 5495
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ELLIOTT, KATIE                       ELLIOTT, KEITH                        ELLIOTT, KENNA
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ELLIOTT, KEVIN                       ELLIOTT, LAURA                        ELLIOTT, LAUREN
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ELLIOTT, LAUREN                      ELLIOTT, LISA                         ELLIOTT, MAKAYLA
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ELLIOTT, MARIE                       ELLIOTT, MARIE                        ELLIOTT, MARK
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ELLIOTT, MARY J                      ELLIOTT, MELANIE                      ELLIOTT, MIKE
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ELLIOTT, MIKENZIE                    ELLIOTT, MORRIS                       ELLIOTT, NAEDA
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ELLIOTT, RHONDA                      ELLIOTT, RICHARD                      ELLIOTT, ROBIN
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ELLIOTT, SHANAH                      ELLIOTT, SHANE                        ELLIOTT, SHAWN
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ELLIOTT, SUZANNE                     ELLIOTT, TAYLOR                       ELLIOTT, TERESA
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ELLIOTT, WHITNEY      Case 22-11238-LSS     Doc 2 ATIYA
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                                                                           ELLIS, ABIGAIL
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ELLIS, ADRIENNE                      ELLIS, ADRIENNE                        ELLIS, AJ
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ELLIS, ALEXANDRA                     ELLIS, ALINA                           ELLIS, ALLISON
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ELLIS, AMANDA                        ELLIS, AMANDA                          ELLIS, ANGELA
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ELLIS, ANNIE                         ELLIS, ASHLEY                          ELLIS, BETH
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ELLIS, BEVERLY                       ELLIS, BOBBI                           ELLIS, BRANDON
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ELLIS, BRIANNA                       ELLIS, BRIANNA                         ELLIS, BRIANNA
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ELLIS, CARLY                         ELLIS, CASSANDRA                       ELLIS, CATHERINE
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ELLIS, CHRIS                         ELLIS, CHRIS                           ELLIS, CHRISTIE
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ELLIS, COURTNEY                      ELLIS, DAWN                            ELLIS, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ELLIS, DEBBIE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           ELLIS, DONNA
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ELLIS, ELIZABETH                     ELLIS, ERIC                            ELLIS, GINA
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ELLIS, GRAYDON                       ELLIS, HANNAH                          ELLIS, HARRISON
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ELLIS, HEATHER                       ELLIS, HEIDI                           ELLIS, JACQUALYN
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ELLIS, JAMIE                         ELLIS, JANE                            ELLIS, JD
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ELLIS, JENNIFER                      ELLIS, JESSICA                         ELLIS, JIM
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ELLIS, KARI                          ELLIS, KARLEE                          ELLIS, KAROLINE
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ELLIS, KATE                          ELLIS, KATHRYN                         ELLIS, KATHRYN
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ELLIS, KATIE                         ELLIS, KAYLEE                          ELLIS, KEITH
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ELLIS, KELLI                         ELLIS, KELLIE                          ELLIS, KELLY
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ELLIS, KIRK           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ELLIS, KRISTA                    Page 1421    of 5495
                                                                           ELLIS, LAURIE
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ELLIS, LEIA                          ELLIS, LETICIA                         ELLIS, MARC
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ELLIS, MARIE                         ELLIS, MARSHA                          ELLIS, MAYA
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ELLIS, MEAGHAN                       ELLIS, MEG                             ELLIS, MELISSA
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ELLIS, MICHELINE                     ELLIS, MICHELLE                        ELLIS, MIKE
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ELLIS, MOSES                         ELLIS, NICOLE                          ELLIS, RACHEL
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ELLIS, REBECCA                       ELLIS, RENI                            ELLIS, RICH
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ELLIS, ROBIN                         ELLIS, SANDRA                          ELLIS, SARAH
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ELLIS, SAVANNAH                      ELLIS, SCOTT                           ELLIS, SHANARA
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ELLIS, SHANNON                       ELLIS, SHELLY                          ELLIS, STEPHANIE
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ELLIS, STEPHANIE      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ELLIS, STEPHANIE                 Page 1422    of 5495
                                                                           ELLIS, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ELLIS, TASHAILA                      ELLIS, TEDD                            ELLIS, THOMAS
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ELLIS, TIM                           ELLIS, ZACHARY                         ELLISON, ASHLEA
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ELLISON, DENISE                      ELLISON, EMILY                         ELLISON, HANNAH GROVE
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ELLISON, JAZZMENE                    ELLISON, JENNA                         ELLISON, JENNIFER
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ELLISON, JOHN                        ELLISON, LAUREN                        ELLISON, NANCY
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ELLISON, REGAN                       ELLISON, SHONAKA                       ELLISON, SOPHIA
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ELLISON, TALIB                       ELLISON, TASHA                         ELLISON, TORI
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ELLISON, WHITNEY                     ELLISTON, DENIELLE                     ELLIXSON, KARA
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ELLMER, KERRY                        ELLRICH, TYLER                         ELLSASSER, KIRA
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ELLSTROM, KAREN       Case 22-11238-LSS    Doc ERIN
                                     ELLSWORTH, 2 Filed 11/30/22      Page 1423 of 5495
                                                                           ELLSWORTH, JANET
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ELLSWORTH, JORDAN                    ELLSWORTH, KATIE                      ELLSWORTH, MELANIE
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ELLSWORTH, MIRANDA                   ELLSWORTH, MOLLY                      ELLSWORTH, SARAH
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ELLSWORTH, SEAN                      ELLSWORTH, SHANNON                    ELLWEIN, STEPHANIE
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ELLWOOD, DOUGLAS                     ELLY BEAMER                           ELLYSON, DANIEL
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ELLYSON, MARICEL                     ELMAN, LINDSAY                        ELMAR SANDYCK
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ELMASRI, RAMY                        ELMASRI, TARA                         ELMASSIAN, JANET
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ELMATAD, DORR                        ELMEER, CARRIE                        ELMENDORF, DAVID
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ELMER MERITHEW                       ELMERS, KAREN                         ELMES, MADDIE
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ELMIRA GEURKOV                       ELMOJAHID, SAMIR                      ELMORE, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ELMORE, ASHLEY        Case 22-11238-LSS
                                     ELMORE,Doc 2 Filed 11/30/22
                                             ASHLEY                   Page 1424 ofEMILY
                                                                           ELMORE, 5495
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ELMORE, ERIN                         ELMORE, GLENN                         ELMORE, HALEY
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ELMQUIST, DAVID                      ELMQUIST, PEG                         ELMS, MARK
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ELNAHRAWI, KAREEM                    ELNARDO WEBSTER II                    ELNIFF, KIMBERLY
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ELOGE, JENNIFER                      ELORA JORGENSON                       ELPEDES, CHRIS
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ELRICK, LAUREN                       ELROD, ANGELA                         ELROD, ANNELIESE
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ELROD, FRAN                          ELROD, JANET                          ELROD, MELISSA
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ELROD, STEPHANIE                     ELROD, WHITNEY                        ELS, EMILY
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ELSAADI, KAREEM                      ELSBERRY, CHELS                       ELSE, BROOKE
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ELSE, KAREN                          ELSEN, JENNIFER                       ELSENBECK, TIFFANY
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ELSEY, CAROLINE       Case 22-11238-LSS    DocJUDY
                                     ELSHERBINI, 2 Filed 11/30/22        Page 1425
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ELSIE, WILLIAM                          ELSIE, WILLIAM                        ELSILA, JANET
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ELSNER, JERAMIAH                        ELSNER, TARA                          ELSON, CHIEMI
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ELSON, EDWARD                           ELSON, MOLLY                          ELSON, SARAH
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ELSON, VERONICA                         ELSTER, LAUREN                        ELSTON, AMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ELSTON, GILLIAN                         ELSTON, KATHY                         ELSTON, SCOTT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ELSTON, STEPHANIE                       ELSTON, TORI                          ELSWICK, KRYSTLE
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ELTAFISH, RACHEL                        ELTISTE, TYLER                        ELTON TANG
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ELTRINGHAM, SUSAN                       ELVERU, EMILY                         ELVIRA RUVALCABA
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ELWAYS                                  ELWELL, LAUREN                        ELWOOD, BOBBIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ELWOOD, SUSAN         Case 22-11238-LSS    DocALISON
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ELY, ARIELLA                         ELY, BRADFORD                         ELY, KAITLIN
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ELY, KATHRYN                         ELY, KELLY                            ELY, LORRI
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ELYACHAR, JONAH                      ELYAS, NATHALIE                       ELYSE, HORNBACHER
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ELYSSE, MARY                         ELZER, BETH                           ELZEY, TAMARA
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ELZHOLZ, JESSICA                     ELZINGA, MICHAELENE                   ELZY, ARTHUR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMAIL ON ACID                        EMALA, JEANNIE                        EMAMI, MOHSEN
2630 W BELLEVIEW AVE 200             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LITTLETON, CO 80123




EMAMIFAR, NINA                       EMANI, SRIRAM                         EMANN SULEIMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMANUEL, CATHERINE                   EMANUEL, JORDAN                       EMANUEL, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMANUEL, MADELEINE                   EMANUEL, MARISSA                      EMANUEL, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EMANUELE, LARISSA     Case 22-11238-LSS    DocJEANNETTE
                                     EMANUELLI, 2 Filed 11/30/22          Page 1427 of 5495
                                                                               EMANUILOVA, ADRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




EMARD, CRYSTAL                         EMARK, AUSTYN                            EMAS DESTRELLE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EMASH DIGITAL, LLC                     EMBASSY STE                              EMBERGER, BETHANY
707 MIAMISBURG CENTERVILLE RD. SUITE   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
116
DAYTON, OH 45459




EMBERSON, ROBERT                       EMBERTON, LEIGH                          EMBERTON, TAYLOR
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EMBODY, MARY                           EMBREE, JEANNINE                         EMBRETSON, TERI
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EMBRICK, SHELLY                        EMBROIDERY, INSTITCHES                   EMBRY, CANDACE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EMBRY, TAMMY                           EMECHETA, CHINENYA                       EMEIGH, MARY
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EMERICH, ALEXIA                        EMERICK, JESSICA                         EMERICK, JONATHAN
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EMERICK, MEGAN                         EMERSON, ANNA                            EMERSON, CHELSEA
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EMERSON, DANE                          EMERSON, DAVI                            EMERSON, DEBRA
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EMERSON, JAMES        Case 22-11238-LSS    Doc
                                     EMERSON,   2 Filed 11/30/22
                                              KAREN                   Page 1428 of 5495
                                                                           EMERSON, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMERSON, MIKE                        EMERSON, NICHOLAS                     EMERSON, PHOEBE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMERSON, SKY                         EMERSON, TODD                         EMERSON, TRICIA
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EMERSON, ZAC                         EMERT, GEORGIA                        EMERT, MELISSA
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EMERTON, ZOE                         EMERY, AARON                          EMERY, ARIELLE
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EMERY, AYANA                         EMERY, BRITTANY                       EMERY, BRONTE
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EMERY, CAROLINE                      EMERY, CATHERINE                      EMERY, CHELSEA
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EMERY, ELIZABETH                     EMERY, HANNAH                         EMERY, LEFKOTHEA
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EMERY, MACY                          EMERY, MARTHA                         EMERY, RACHAEL
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EMERY/BALLARD, AMANDA                EMES, DANIELLE                        EMETULU, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EMGE, CASEY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EMIG, ALEXANDER                   Page 1429   of 5495
                                                                            EMIG, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EMILEE COOLEY                        E-MILES                                EMILIANI, LOUIE
ADDRESS AVAILABLE UPON REQUEST       5800 TENNYSON PARKWAY SUITE 600        ADDRESS AVAILABLE UPON REQUEST
                                     PLANO, TX 75024




EMILIE LINDELL, EMILIE LINDELL       EMILY ANN ORGANOWSKI                   EMILY BAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EMILY BERGER                         EMILY BREUNIG                          EMILY BRICKLEY
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EMILY BROWN                          EMILY CORRITORE                        EMILY DERDEN
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EMILY DORAN                          EMILY GAMBER                           EMILY GARBER
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EMILY GLASS                          EMILY GRIDER                           EMILY J FRENCH
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EMILY JARNUTOWSKI                    EMILY JAUCH                            EMILY JOHANSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EMILY JONES                          EMILY KRISTINE FRIEND-KANTER           EMILY LEY PAPER, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         13046 RACE TRACK ROAD NO. 332
                                                                            TAMPA, FL 33626




EMILY LEY PAPER, INC                 EMILY LOGAN                            EMILY MAHONEY
9206 TILLINGHAST DRIVE               ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TAMPA, FL 33626
EMILY MCCORMICK       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EMILY NEEL                       Page 1430   of 5495
                                                                           EMILY NEWGAARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMILY QUINN                          EMILY R THOMAS                        EMILY ROSS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMILY SAVAGE                         EMILY SAWYER                          EMILY SEIFARTH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMILY SHABA                          EMILY STEVENSON                       EMILY STICHLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMILY WAMPLER                        EMILY WEED                            EMILY WILDE-WALMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMILY WILLIAMSON                     EMILY ZENDEL                          EMILY.PROCEKCLUBW.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




EMINI, FRAN                          EMIRU, KUMNEGER                       EMISON, JOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMKEN, JILLIAN                       EMKEN, JUDITH                         EMLANO, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMMA DRAGAN, EMMA                    EMMA FALSEY                           EMMA MARIE STIER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMMA OWENS                           EMMA SHERR-ZIARKO                     EMMA WROBEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EMMANUEL MBOHO        Case 22-11238-LSS    Doc
                                     EMMANUEL   2 Filed 11/30/22
                                              THOMAS                     Page 1431 of 5495
                                                                              EMMANUEL U MBOHO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EMMANUEL, CHARLENE                      EMMANUEL, GABRIELLE                   EMMENECKER, SARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMMER, ELIZABETH                        EMMERICH, KENDRA                      EMMERMANN, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMMERSON, KIM                           EMMERTZ, CHARLES                      EMMILY, IVY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMMIS COMMUNICATION CO                  EMMONS, DAESHA                        EMMONS, KIMBERLY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMMONS, LAUREN                          EMMONS, MEAGHAN                       EMMONS, NATE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMMONS, NIKKI                           EMMONS, SARAH                         EMONS, JULINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMORY, AIJALON                          EMORY, COLLEEN                        EMORY, JACOB
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMORY, KASHINA                          EMORY, MARTIE                         EMOTO, AYAKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EMPER, WILLIAM                          EMPFIELD, BRITTNEY                    EMPIRE DISTRIBUTORS (COLORADO)
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        5301 PEORIA STREET UNIT A
                                                                              DENVER, CO 80239
                       Case
EMPIRE DISTRIBUTORS OF NC, INC.22-11238-LSS
                               (NORTH    EMPIRE Doc   2 Filed
                                                DISTRIBUTORS OF11/30/22
                                                               NORTH      Page 1432
                                                                               EMPIREof 5495
                                                                                      DISTRIBUTORS OF TN
CAROLINA)                                CAROLINA, INC.                         1541 MT. TABOR RD
131 CORPORATE DRIVE                      12115 DOWNS ROAD                       MARYVILLE, TN 37801
WILMINGTON, NC 28401                     PINEVILLE, NC 28134




EMPIRE MARKETING STRATEGIES, INC.       EMPIRE VENTURES GROUP INC               EMPLOYEE DISCOUNT
11243 CORNELL PARK DR                   ADDRESS AVAILABLE UPON REQUEST          549 N SWARTHMORE AVE
CINCINNATI, OH 45242                                                            PACIFIC PALISADES, CA 90272




EMPLOYMENT DEVELOPMENT DEPARTMENT       EMPLOYMENT MATTERS COUNSELING           EMRICH, HEATHER
PO BOX 989061                           & CONSULTING LLP                        ADDRESS AVAILABLE UPON REQUEST
WEST SACRAMENTO, CA 95798-9061          1500 ROSECRANS AVE STE 500
                                        MANHATTAN BEACH, CA 90266




EMRICK, CHRISTOPHER                     EMRICK, JOSEPH                          EMSHOFF, MADELINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EMSLIE NICHOLS, SARAH                   EMUKA, ASHLEY                           ENA JONES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ENABU, UWAILA                           ENAMORADO, MARLEN                       ENARTIS VINQUIRY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          7795 BELL ROAD
                                                                                WINDSOR, CA 95492




ENCARNACION, AMY                        ENCARNACION, JEAN PIERRE                ENCARNACION-PATTERSON, YAKHIRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ENCARNATION, MELINDA                    ENCE, TIFFANY                           ENCINAS, ZARINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ENCIU, JASMIN                           ENCOMPASS HOME HEALTH, PATRICIA         ENCOMPASS SUPPLY CHAIN
ADDRESS AVAILABLE UPON REQUEST          THOMPSON                                ADDRESS UNAVAILABLE AT TIME OF FILING
                                        ADDRESS AVAILABLE UPON REQUEST




ENCORE GLASS, INC                       ENDER BAYKAL                            ENDER, SAMANTHA
PO BOX 49243                            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SAN JOSE, CA 95161-9243
ENDER, WILLIAM        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ENDERLABS.COM                      Page 1433 ofSHANNON
                                                                             ENDERS, 5495
ADDRESS AVAILABLE UPON REQUEST       (EVENTBOARD, INC.)                      ADDRESS AVAILABLE UPON REQUEST




ENDERS, STEVEN                       ENDICIA                                 ENDICOTT, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




ENDL, ALYSIA                         ENDO, YOSHIKI                           ENDRES, BRADY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ENDRES, ERIN                         ENDRES, JANE                            ENDRESON, MILDRED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ENDRIS, KELSEY                       ENDSLEY, BONNIE                         ENDURANCE AMERICAN INSURANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          COMPANY
                                                                             4 MANHATTANVILLE RD, FL 3
                                                                             PURCHASE, NY 10577-2139




ENDURANCE RISK SOLUTIONS ASSURANCE   ENE, RALUCA                             ENESSA MASSEY
CO                                   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
3780 MANSELL ROAD SUITE 400
ALPHARETTA, GA 30022




ENFINGER, ERICA                      ENG, DENNIS                             ENG, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ENG, KRISTIN                         ENG, MICHAEL                            ENG, ROCHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ENGAGE & RESONATE LLC                ENGAGED INFLUENCERS MGMT.               ENGALYCHEVA, ANISA
1350 E TOUHY AVE, STE 330E           GO GIRL PUBLIC RELATION INC.            ADDRESS AVAILABLE UPON REQUEST
DES PLAINES, IL 60018                4803 SW LANDER STREET
                                     SEATTLE, WA 98116




ENGBLOM, JEAN                        ENGBRECHT, KARA                         ENGDAHL, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
ENGDAHL, SAMANTHA     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ENGE, ANITA                      Page 1434 of 5495
                                                                           ENGEBRITSON, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGEL, ABBIE                         ENGEL, CASEY                           ENGEL, CHADD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGEL, DANIELLE                      ENGEL, DESIREE                         ENGEL, ELIZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGEL, EMILY                         ENGEL, JEN                             ENGEL, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGEL, JONATHAN                      ENGEL, MARTHA                          ENGEL, PAILIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGEL, PAUL                          ENGEL, SARAH                           ENGEL, SCOTT
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ENGEL, SHANNAN                       ENGEL, SHIRA                           ENGEL, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGEL, TARA                          ENGELAGE, KYLEIGH                      ENGELBERGER, CARLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGELBERT, JENAY                     ENGELERDT, STEPHANIE                   ENGELGAU, SHELBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGELHARD, STEPHANIE                 ENGELHART, ALEXA                       ENGELHART, BLAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ENGELHART, THOMAS     Case 22-11238-LSS    Doc 2ANDREA
                                     ENGELHAUPT,     Filed 11/30/22   Page 1435 of APRIL
                                                                           ENGELKE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGELKEN, NAOMI                      ENGELMAIER, LILY                      ENGELMAN, ARIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGELMAN, NAOMI                      ENGELMAN-BERNS, MICHELLE              ENGELMANN, LACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGELS NNAMDI OBI                    ENGELS, AMANDA                        ENGELS, MORGAN
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ENGEMANN, KARA                       ENGEN, HANNAH                         ENGEN, KATHRYN
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ENGER, ALEXZANDRA                    ENGH, CARA                            ENGINE CO NO 28
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




ENGLAND, BRITTNEY                    ENGLAND, CHERIE                       ENGLAND, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLAND, EMILY                       ENGLAND, HALEY                        ENGLAND, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLAND, JORDAN                      ENGLAND, JOY                          ENGLAND, KRISTEL
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ENGLAND, KRISTIN                     ENGLAND, LAURIE                       ENGLAND, MARCELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ENGLAND, MEGAN        Case 22-11238-LSS    Doc
                                     ENGLAND,    2 Filed 11/30/22
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                                                                           ENGLAND, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGLAND, PORTIA                      ENGLAND, SARA                          ENGLAND, TASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGLAND, TERRA                       ENGLANDER, SPENCER                     ENGLE, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGLE, EDWARD                        ENGLE, ELISABETH                       ENGLE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGLE, KAURIE                        ENGLE, MADELINE                        ENGLE, MELISSA
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ENGLEBAUGH, PATRICIA                 ENGLEBERT, GRACE                       ENGLEBRECHT, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGLEHART, ALEX                      ENGLEHART, TABATHA                     ENGLEMAN, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGLER, ANNA                         ENGLER, CINDY                          ENGLER, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGLER, JENNIFER                     ENGLERT, ASHLEY                        ENGLERT, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENGLERT, JENNIFER                    ENGLERT, NADINE                        ENGLHARDT, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ENGLISH, AIMEE        Case 22-11238-LSS     Doc
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                                                                           ENGLISH, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLISH, BARBARA                     ENGLISH, BECKY                        ENGLISH, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLISH, CAITLYN                     ENGLISH, GEORGE                       ENGLISH, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLISH, JEFFREY                     ENGLISH, JILL                         ENGLISH, KAITLIN
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ENGLISH, KATHERINE                   ENGLISH, KELLI                        ENGLISH, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLISH, LAUREN                      ENGLISH, MALLORY                      ENGLISH, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLISH, MICHAEL                     ENGLISH, MICHELLE                     ENGLISH, MONIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLISH, NOLAN                       ENGLISH, PATRICIA                     ENGLISH, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGLISH, SYDNEY                      ENGLISH, TIMOTHY                      ENGLUND, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGMAN, NICOLE                       ENGQUIST, LAURA                       ENGRAM, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ENGSBERG, MARK        Case 22-11238-LSS    DocREBECCA
                                     ENGSBERG,  2 Filed 11/30/22      Page 1438 of 5495
                                                                           ENGSTROM, CORINNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENGSTROM, HAYDEN                     ENGSTROM, KELLYN                      ENGWALL, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENIS, KATHRYN                        ENKE, COLLIN                          ENKHBAYAR, INDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENKOFF, LEE                          ENLOE, MITCHELL                       ENLOE, MITCHELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENLOW, DANIELLE                      ENLUND, ERIKA                         ENNEPER, GLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENNIS, ALEX                          ENNIS, AUSTIN                         ENNIS, BRADY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENNIS, MARGARET                      ENNIS, MEGAN                          ENNIS, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENNIS, SHARON                        ENNIS, SHAVON                         ENNIST, AMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENNS, EVA                            ENNS, SABRINA                         ENNS, SOPHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENO, TARA                            ENOBAKHARE, AMADIN                    ENOCH, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ENOCH, ROBERT/ASA     Case 22-11238-LSS
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                                                                           ENOCHS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENOKAWA, LAURIE                      ENOMOTO, KAORI                        ENOMOTO, KAORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENOPLASTIC USA                       ENOPLASTIC USA                        ENOS, DEBORAH
2487 COURAGE DRIVE, SUITE 5          2601 MAXWELL WAY                      ADDRESS AVAILABLE UPON REQUEST
FAIRFIELD, CA 94533                  FAIRFIELD, CA 94534




ENOS, DORIS                          ENOS, GAIL                            ENOS, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENOS, KRISTA                         ENOS, MADISON                         ENPLUG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




ENRICO YABUT                         ENRIGHT, ALEXIS                       ENRIGHT, ALISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENRIGHT, BRE                         ENRIGHT, MADISON                      ENRIGHT-SCHUR, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENRIGHY, KERRY                       ENRIQUEZ DE GARCIA, ROSE              ENRIQUEZ, ANTONIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENRIQUEZ, CHRISTINA                  ENRIQUEZ, DEBBIE                      ENRIQUEZ, ELKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ENRIQUEZ, JANETH                     ENRIQUEZ, KIMBERLY                    ENRIQUEZ, LIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ENRIQUEZ, LISSETTE    Case 22-11238-LSS    Doc
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                                                                           ENRIQUEZ, NADINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENRIQUEZ, NATALIE                    ENRIQUEZ, RUBY                         ENSALDO, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENSANIAN, ARMAND                     ENSCOE, ZOE                            ENSEMBLE DIGITAL STUDIOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1721 CARLYLE AVE
                                                                            SANTA MONICA, CA 90402




ENSIGN, CATHRYN                      ENSING, KYLE                           ENSLIN, TATUM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENSMINGER, EMILY                     ENSMINGER, SHILOWE                     ENSOR, BLAIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENSOR, BRIAN                         ENSOR, JOHN                            ENT, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ENTEL, AMANDA                        ENTER LABS LLC                         ENTERLINE, THOMAS
ADDRESS AVAILABLE UPON REQUEST       1234 DANIELS DR                        ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90035




ENTERPRISE 1942 LLC                  ENTERPRISE RENT-A-CAR                  ENTERPRISE
ADDRESS AVAILABLE UPON REQUEST       1738 S BROADWAY                        ADDRESS UNAVAILABLE AT TIME OF FILING
                                     SANTA MARIA, CA 93454




ENTERTAINMENT BENEFITS GROUP, LLC    ENTERTAINMENT                          ENTIN, JENNY
19495 BISCAYNE BLVD STE 300          1401 CROOKS ROAD, SUITE 150            ADDRESS AVAILABLE UPON REQUEST
AVENTURA, FL 33180                   TROY, MI 48084




ENTRIKEN, BIRCH                      ENTRUP, STEPHANIE                      ENTSUAH, LAKEISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ENTWISTLE, CHRISTIE   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ENTZ, PHILIP                         Page 1441
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                                                                                       LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




ENVELOPES.COM                           ENVIEH, ASHLEY                          ENVISTA CONCEPTS LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          11555 N. MERIDIAN SUITE 300
                                                                                CARMEL, IN 46032




ENZ VINEYARDS,INC                       ENZINGER, JENNIFER                      ENZLER, DARA
1781 LIMEKILN ROAD                      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HOLLISTER, CA 95023




ENZLER, SIMA                            ENZMANN, BRAD                           EON, MARTINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EON, VICTORIA                           EPA - REGION 3                          EPA - REGION 9
ADDRESS AVAILABLE UPON REQUEST          1650 ARCH ST                            75 HAWTHORNE ST
                                        PHILADELPHIA, PA 19103-2029             SAN FRANCISCO, CA 94105




EPATH DIGITAL, LP                       EPHESIA MITCHELL                        EPHLIN, ANNIE
32392 COAST HWY SUITE 200               ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LAGUNA BEACH, CA 92651




EPHRAIM SYDNEY                          EPIC VENTURES INC (CONVOY BEVERAGE      EPIFANO, MAUREEN
ADDRESS AVAILABLE UPON REQUEST          ALLIANCE)                               ADDRESS AVAILABLE UPON REQUEST
                                        1701 VILLAGE CENTER CIRCLE, STE 100
                                        LAS VEGAS, NV 89134




EPILEPSY FOUNDATION                     EPISCOPO-NASSIF, LISA                   EPLEN, LEE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EPLIN, NICK                             EPP, JANELLE                            EPPELE, LEANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EPPERSON, MELISSA                       EPPERSON, TERRY KAY                     EPPERSON-LATTZ, COLLIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
EPPINGER, MICHAEL     Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EPPLER, FLORA                        EPPLEY, PERLEY                         EPPS, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EPPS, DORIAN                         EPPS, ELENA                            EPPS, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EPPS, JOEL                           EPPS, MICHELLE                         EPROMOS PROMOTIONAL PRODUCTS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         120 BROADWAY 13TH FLOOR
                                                                            NEW YORK, NY 10271




EPSHTEIN, LAZAR                      EPSTEIN, ALANA                         EPSTEIN, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EPSTEIN, JAYME                       EPSTEIN, JEFF                          EPSTEIN, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EPSTEIN, JOE                         EPSTEIN, MICHAEL                       EPSTEIN, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EPSTEIN, SARA                        EPSTEIN, TYLER                         EPTING, ELAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EPTING, KIMBERLY                     EQUITY TRUST COMPANY CUSTODIAN SDIRA   EQUITY TRUST COMPANY CUSTODIAN
ADDRESS AVAILABLE UPON REQUEST       FBO CORNELIA CORNILS                   FBO CATHERINE GRABER IRA
                                     1 EQUITY WAY                           1 EQUITY WAY
                                     WESTLAKE, OH 44145                     WESTLAKE, OH 44145




EQUITY TRUST COMPANY CUSTODIAN       EQUITY TRUST COMPANY CUSTODIAN         ERAL, MARGARET
FBO CHRISTOPHER E LACKEY IRA         FBO LESLIE P SHANKMAN ROTH IRA         ADDRESS AVAILABLE UPON REQUEST
1 EQUITY WAY                         1 EQUITY WAY
WESTLAKE, OH 44145                   WESTLAKE, OH 44145
ERAS, LAUREN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ERAZO, TATINA                    Page 1443  of 5495
                                                                           ERB, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ERB, COLLEEN                         ERB, DEB                              ERB, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ERB, KENNY                           ERB, PHYLIS                           ERB, SARAH BETH
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ERB-ABPLANALP, JOLEEN                ERBE, CECILE                          ERBE, JOSEPH
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ERBLAND, JEFF                        ERBS, NICOLE                          ERCEG, MARCELA
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ERCOLANI, ELAINE                     ERCOLE, CHRISTOPHER                   ERCOLINI, JOSH
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ERDBRUEGGER, HAILEY                  ERDELYI, ADEL                         ERDELYI, KAITLYNN
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ERDHEIM, KRISTIN                     ERDKAMP, BECKY                        ERDLE, BETH
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ERDLE, WILLIAM                       ERDMAN, ADRIENNE                      ERDMAN, BROOKE
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ERDMAN, HIPOLITO                     ERDMAN, NICOLE                        ERDMAN, WAYLAND
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ERDMANN, ELISE        Case 22-11238-LSS
                                     ERDNER,Doc  2 Filed 11/30/22
                                             JAIME                       Page 1444  of 5495 MARY ELLEN
                                                                              ERDO MCWHIRTER,
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ERDY, ROSIE                          EREMIAN, MICHAEL                         EREMITA, MONICA
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ERENO, JEREMY                        ERES, SHANNON                            ERESE, VANCE ANDREI
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ERFERT, LAURA                        ERGASHEV, BEK                            ERGONENC, MEHMET
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ERGUVEN, ANDREA                      ERHARD, JULIA                            ERHARDT, GRACE
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ERHARDT, GWEN                        ERHARDT, JOSLYN                          ERIBEZ, ANITA
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ERIC & LAURA LAMISON FAMILY TRUST    ERIC & LAURA LAMISON FAMILY TRUST        ERIC ADAMS
516 DALEWOOD DRIVE                   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
ORINDA, CA 94563




ERIC ALAN BURKGREN                   ERIC ANDERSON                            ERIC BRUSTAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ERIC BUKOVEC                         ERIC CAMERON                             ERIC CARLSON
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ERIC CHARLES SITCHERAN               ERIC CHOE                                ERIC CHRISTIAN JOHNSON
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ERIC DANIEL BERGMAN   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ERIC DAUGHERTY                   Page 1445  of 5495
                                                                           ERIC DAVID JOHNSON
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ERIC DE LA CRUZ                      ERIC DE LARMINAT                       ERIC DER SARKISIAN
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ERIC DOTY                            ERIC FAUST                             ERIC FLYNN
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ERIC FURNEE                          ERIC GELDMAKER                         ERIC GOEDECKE
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ERIC HAIGLER HELSABECK               ERIC IRELAND                           ERIC JAMES HUYNH
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ERIC JANUAR                          ERIC JEFFREY AGAR                      ERIC JOHNSON
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ERIC JUSTIN SWARTZ                   ERIC KNIERIM                           ERIC LAM
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ERIC LOOKHOFF                        ERIC MAIER                             ERIC MAZZIE
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ERIC MCINTYRE                        ERIC MELANCON                          ERIC MOYER
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ERIC NEIL CYPERT                     ERIC NELSON                            ERIC NOELDECHEN
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ERIC PAUL BENSON      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ERIC R FORINGTON                 Page 1446  of 5495
                                                                           ERIC ROGERS
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ERIC SARNO                           ERIC SITCHERAN                        ERIC SO
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ERIC STANG                           ERIC SUH                              ERIC TURNER
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ERIC WARNARS                         ERIC WILLIAM TRYGSTAD                 ERIC ZERRAHN
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ERIC ZHININ                          ERIC ZIEGLER                          ERICA BURGER
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ERICA D SMITH                        ERICA DOX MARTINEZ                    ERICA ECKMAN LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8643 TORREY ISLES
                                                                           TERRANCE BOCA RATON, FL 33496




ERICA FIOCCO                         ERICA LINDO                           ERICA NUSSEN
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ERICA SNOWBERGER                     ERICA WILSON                          ERICA Y GARCIA
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ERICHSEN, DONNA                      ERICK DESANTIAGO                      ERICK GABRIEL SUAREZ NUNEZ
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ERICK POUND                          ERICKA GILLESPIE                      ERICKSEN, BOB
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ERICKSEN, CALLIE      Case 22-11238-LSS    Doc
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                                                                           ERICKSEN, NANCY
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ERICKSON, AGATHA                     ERICKSON, ANGELA                       ERICKSON, BILL
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ERICKSON, CARA                       ERICKSON, CASSANDRA                    ERICKSON, CATHERINE
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ERICKSON, CATRINA                    ERICKSON, CELIA                        ERICKSON, CHERYL
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ERICKSON, CHRIS                      ERICKSON, DANA                         ERICKSON, DANIELLE
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ERICKSON, ELISSA                     ERICKSON, EMILY                        ERICKSON, EVAN
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ERICKSON, GENNA                      ERICKSON, HAYLEY                       ERICKSON, JANE
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ERICKSON, JEFF                       ERICKSON, JENNIFER                     ERICKSON, KATHY
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ERICKSON, KATIE                      ERICKSON, KAYLA                        ERICKSON, KELLY
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ERICKSON, KRISTI                     ERICKSON, KRISTIN                      ERICKSON, KRISTIN
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ERICKSON, KYLE        Case 22-11238-LSS    Doc
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                                                                           ERICKSON, LINDSEY
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ERICKSON, LINNEA                     ERICKSON, MELISSA                      ERICKSON, MICHAEL
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ERICKSON, NANCY                      ERICKSON, NANCY                        ERICKSON, NATALIE
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ERICKSON, NICOLE                     ERICKSON, PATRICIA                     ERICKSON, RACHEL
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ERICKSON, RON                        ERICKSON, SIENA                        ERICKSON, TANYA
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ERICKSON, TINA                       ERICKSON, TYLER                        ERICSON, ABIGAIL
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ERICSON, ANNA                        ERICSON, BRITT                         ERICSON, MATTHEW
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ERIE, TARYN                          ERIK BERTELSEN                         ERIK DUNLAP
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ERIK ETHERLY                         ERIK GONZALEZ                          ERIK PARKER
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ERIK REHDER                          ERIK REY GONZALEZ                      ERIK SAVAGE
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ERIK TALVOLA          Case 22-11238-LSS     Doc 2 PEREZ
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                                                                           ERIKA DICKERSON
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ERIKA DICKERSON                      ERIKA HRDINOVA                        ERIKA WIJAYA TAN
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ERIKCSON, PAUL                       ERIKSEN, ANNA                         ERIKSEN, MELISSA
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ERIKSON, AMBER                       ERIKSON, ELLEN                        ERIKSON, MARY
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ERIN BOGLE                           ERIN COHEN                            ERIN COHEN
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ERIN DAUGHERTY                       ERIN DONNELLY                         ERIN E MILLER
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ERIN ELIZABETH FINNEGAN              ERIN FUKUSHIMA                        ERIN G HAMM
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ERIN GALLAGHER                       ERIN GREEN - VEN                      ERIN GREEN
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ERIN GREEN                           ERIN GREEN                            ERIN GRIFFIN
ADDRESS AVAILABLE UPON REQUEST       4140 GLENCOE AVE UNITE 509            ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90292




ERIN HARRIS                          ERIN HARRIS                           ERIN HEFFRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ERIN HIGHUM           Case 22-11238-LSS     DocCALDWELL
                                     ERIN JANEE 2 Filed 11/30/22      Page 1450  of 5495
                                                                           ERIN KENNEDY
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ERIN KILLION                         ERIN MARCINKIEWICZ                    ERIN MOODY
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ERIN PAGE JOHANNES                   ERIN PETREE                           ERIN RUCKER
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ERIN SMART                           ERIN TOFT                             ERIN WEBER
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ERIN, BARRETT                        ERIN, SULLIVAN,                       ERINGA HOBART, RIKA
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ERINN KAHLER                         ERISGEN, KERYLYN                      ERJAVEC, ROSEMARY
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ERKEL, MEGHAN                        ERKENS, KEVIN                         ERKES, JAN
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ERKOBONI, DANIELLE                   ERKS, REBEKKAH                        ERKSON, HOLLI
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ERLAM, NELSON                        ERLANDSON, AMANDA                     ERLANDSON, CHRISTOPHER
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ERLANDSON, KELLIE                    ERLANGER, JUNE                        ERLANGER, SIDONIE
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ERLE FREEMAN          Case 22-11238-LSS    DocLAURA
                                     ERLENBACH, 2 Filed 11/30/22      Page 1451 of 5495
                                                                           ERLENWEIN, NATALIE
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ERLICH, DENISE                       ERLICH, NIKKI                          ERLINDA ORTIVEZ
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ERMEL, CAREN                         ERMITANIO, MARY                        ERNDL, AMANDA
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ERNENWEIN, AMANDA                    ERNEST ARGENBRIGHT JR, ERNEST          ERNEST JOHN BARBILLION
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ERNEST, EZRA                         ERNEST, NICOLE                         ERNEST, TANNER
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ERNESTO DURAN                        ERNESTO RODRIGUEZ                      ERNETTE, LIAN
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ERNIE BOLING                         ERNIE PAUL BAILEY                      ERNSER, DEVIN
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ERNSNDES, JILL                       ERNSPERGER, CLEASY                     ERNST, COURTNEY
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ERNST, DANIEL                        ERNST, KATHI                           ERNST, KRISTEN
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ERNST, LIA                           ERNST, MARK                            ERNST, MELISSA
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ERNST, PRIYANKA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ERNST, RACHEL                    Page 1452
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ERNST, WILLIAM                       ERNST, WILLIAM                        ERNST-BORIS, NICOLE
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ERNSTER, LINDA                       ERNZER, RICK                          EROGLU, CADDIE
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EROGLU, CADDIE                       ERON GRIFFIN                          ERPELDING, ELIZABETH
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ERPELDING, LAUREN                    ERREA, LAUREN                         ERRETT, ANGEL
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ERRETT, LES                          ERRICHETTI, AMY                       ERRICO, JANET
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ERRICO, KATIE                        ERRIN, SIELING,                       ERRINGTON, CLELA
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ERRITY, CHARLOTTE                    ERROL HALL                            ERRTHUM, NATALIE
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ERSIN, ZEYNEP                        ERSKINE, ANNA                         ERSKINE, BRITTANY
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ERSKINE, ERIN                        ERSKINE, EVELYN                       ERSKINE, LAUREN
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ERSKINE, MELISSA      Case 22-11238-LSS    Doc
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                                                                           ERSPAMER, KELLI
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ERSTAD, LYNN                         ERSTLING, MATT                         ERTEL, BRAD
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ERTEL, KARA                          ERTEL, TRACY                           ERTIN, EBRU
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ERTL, MICHELLE                       ERTLE, ANDREW                          ERTLE, JANE
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ERTLE, JANET                         ERTS, JENNY                            ERUKPEME, NNENNA
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ERVEN, JESSICA                       ERVES, EMILY                           ERVIN, ARIA
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ERVIN, DANTE                         ERVIN-PENNER, ABIGAIL                  ERWIN, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ERWIN, ANNA CLAIRE                   ERWIN, CATHERINE                       ERWIN, ERYNN
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ERWIN, KIMBERLY                      ERWIN, MATTHEW                         ERWIN, NICHOLAS
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ERWIN, ROBERT                        ERWIN, SHAWNA                          ERWIN, TARA
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ERWIN, VALERIE        Case 22-11238-LSS
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                                                                               ERWOOD, 5495
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ERXLEBEN, LAUREN                     ERYURT, FATOS                             ESANCY, RACHEL
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ESAU, TED                            ESBENSHADE, BRENDA                        ESBENSHADE, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ESBER, LIZ                           ESCAJEDA, ANDRES                          ESCALANTE, CHELSEA
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ESCALANTE, ERIKA                     ESCALANTE, JESSICA                        ESCALANTE, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ESCALANTE, LINDA                     ESCALANTE, NANCY                          ESCALATE MEDIA, LP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            444 N. MICHIGAN AVE SUITE 3550
                                                                               CHICAGO, IL 60611




ESCALERA, ALEXANDRA                  ESCALERA-BOULET, LLC (CONSILIENCE)        ESCALLIER, VERONICA
ADDRESS AVAILABLE UPON REQUEST       2923 GRAND AVENUE                         ADDRESS AVAILABLE UPON REQUEST
                                     LOS OLIVOS, CA 93441




ESCALONA, ALVARO                     ESCALONA, CAROLINA                        ESCALONA, YEBEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ESCAMILLA, JOHNNY                    ESCAMILLA, JOSE                           ESCAMILLA, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ESCAMILLA-SOTO, CARMEN               ESCANDON, ARIANA                          ESCANDON, VICTOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
ESCANILLA, PATRICIO   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ESCH, AMANDA                     Page 1455 of 5495
                                                                           ESCHBACH, JORDAN
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ESCHEN, BRIAN                        ESCHEN, NANCI                         ESCHER, NANCY
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ESCOBAR FRANCO, MELISSA              ESCOBAR WHITE, VALENTINA              ESCOBAR, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESCOBAR, JATON                       ESCOBAR, KATHLEEN                     ESCOBAR, LACEY
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ESCOBAR, LAURA                       ESCOBAR, OSCAR                        ESCOBAR, SIDNEY
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ESCOBAR, STEPHANIE                   ESCOBAR, TIFFANY                      ESCOBAR-VOLLAND, MARIELLE
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ESCOBEDO, ANDREW                     ESCOBEDO, BRIANNA                     ESCOBEDO, MEA
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ESCOBEDO, RODOLFO                    ESCOBEDO, TRINIDAD                    ESCOBEDO-GARCIA, CARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESCOBOSA, DENISE                     ESCODA, TINA                          ESCOFFERY, SHAWNEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESCOTO, JESSICA                      ESCOTT, KATY                          ESCROW.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
ESCUDERO, MELISSA     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ESCUE, CALEY                     Page 1456
                                                                           ESCUE,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESCUETA, MARITESS                    ESCUREL, DENISE                       ESDAILLE, REYNESS
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ESDANEL, JANINE                      ESEPPI, MARGARET                      ESFORD, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESGUERRA FAMILY TRUST                ESHARES, INC. (CARTA)                 ESHBACK, SUSAN
ADDRESS AVAILABLE UPON REQUEST       195 PAGE MILL ROAD, SUITE 101         ADDRESS AVAILABLE UPON REQUEST
                                     PALO ALTO, CA 94306




ESHELMAN, RYAN                       ESHLEMAN, LYNSEY                      ESKENAZI, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESKENAZI, ELIZABETH                  ESKENAZI, WHITNEY                     ESKER-WILLIAMSON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESKEW, DIONA                         ESKIE, DEBORAH                        ESKILDSEN, ERIN
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ESKIN, BENJAMIN                      ESKINE, JODY                          ESKINS, JAMIE
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ESKINS, SARA                         ESKOWITZ, ART                         ESKRIDGE, HANNAH
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ESKRIDGE, JONATHAN                   ESKRIDGE, KRISTIN                     ESKURI, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ESLICH, ANDREW        Case 22-11238-LSS
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                                                                           ESLINGER, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESMAY, ANALICIA                      ESMERALDO M TALASTAS                  ESMONDE, ALYCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESPADAZ, PAULINA                     ESPARZA, ADRIANA                      ESPARZA, BRIAN
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ESPARZA, FRANCISCO                   ESPARZA, IRMA                         ESPARZA, IVAN
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ESPARZA, JESSICA                     ESPARZA, KRYSTAL                      ESPARZA, LISA
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ESPARZA, MADONNA                     ESPARZA, MARISOL                      ESPARZA, SANDRA
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ESPE, ASHLEY                         ESPE, LIZ                             ESPE, NATALIE
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ESPEJO, MACHELL                      ESPEY, LAUREN                         ESPEY, MELANIE
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ESPINA, SUGAR                        ESPINAL, MARIA                        ESPINAL, MARIA
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ESPINAL, MARILYN                     ESPINAL, MAYELIN                      ESPINAL, VICTORIA
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ESPINOLA, BETHANIE                   ESPINOLA, SHERYLL                     ESPINOSA, ELAINE
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ESPINOSA, EMILY                      ESPINOSA, GILVINCENT                  ESPINOSA, GINA
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ESPINOSA, MARISOL                    ESPINOSA, MOLLY                       ESPINOSA, RUBEN
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ESPINOSA, SOL                        ESPINOSA, SUSAN                       ESPINOSA, TOMMY
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ESPINOZA, ADRIAN                     ESPINOZA, ALESSANDRA                  ESPINOZA, ANDRES
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ESPINOZA, ARIANA                     ESPINOZA, CASANDRA                    ESPINOZA, ELIZABETH
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ESPINOZA, FRANCISCO                  ESPINOZA, IRIS                        ESPINOZA, JESSICA
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ESPINOZA, JUAN                       ESPINOZA, LAUREN                      ESPINOZA, LINDA DAHLEM
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ESPINOZA, MELISSA     Case 22-11238-LSS    Doc
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ESPIRITU, AUGUSTO                    ESPLING, SCOTT                         ESPOLT, ELIZABETH
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ESPOSITO, ALEXA                      ESPOSITO, AMANDA                       ESPOSITO, AMY
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ESPOSITO, BENEDETTA                  ESPOSITO, BIANCA                       ESPOSITO, BRENDA
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ESPOSITO, BRITTANY                   ESPOSITO, CHERYLANN                    ESPOSITO, CRISTINA
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ESPOSITO, DANIELLE                   ESPOSITO, JACKIE                       ESPOSITO, JACQUELINE
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ESPOSITO, JEUNICE                    ESPOSITO, JILLIAN                      ESPOSITO, JOANN
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ESPOSITO, PATRICIA                   ESPOSITO, PAULA                        ESPOSITO, RICHARD
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ESPOSITO, SHERYL                     ESPOSITO, TERI                         ESPOSITO, TONYA
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ESPRESSAMENTE ILLY                      ESQUENAZI, PAIGE                      ESQUER, MARIA
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ESQUER, MARIA                           ESQUIBEL, ABIGAIL                     ESQUIBEL, TIFFANY
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ESQUIVEL, AMANDA                        ESQUIVEL, CARLOS                      ESQUIVEL, CHRISTINE
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ESQUIVEL, CYNTHIA                       ESQUIVEL, DIEGO                       ESQUIVEL, GEN
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ESQUIVEL, KACEE                         ESQUIVEL, LAURA                       ESQUIVEL, MEREDITH
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ESQUIVEL, REBECCA                       ESQUIVEL, SILVIA                      ESSEN, EMILY
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ESSENCE FINANCIALS LTD                  ESSENFELD, KATIE                      ESSENWEIN, ALEXANDER
82 PANATELLA HILL NW                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CALGARY, AB T3K 0B6
CANADA




ESSER, ASHLEY                           ESSER, CARRIE                         ESSER, ELIZABETH
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ESSER, KIM                              ESSERT, SUMMER                        ESSEX COUNTY DEMOCRATIC COMMITTEE
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ESSEX, AVERY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ESSEX, KAHLEA                        ESSICK, ANDREW                        ESSICK, SHANAN
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ESSIEN, IME                          ESSIG, DANNY                          ESSIG, EMILY
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ESSIG, ETHAN                         ESSIG, REBEKAH                        ESSILFIE, VELMA
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ESSLER, MARLEIGH                     ESSLIN, ALYSSA                        ESSMAN, MICHAELA
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ESSOKA-LASENBERRY, AMADI             ESSWEIN, EVAN                         ESTABROOKS, JEREMY
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ESTACIO, JULIA                       ESTAND, MARIE                         ESTAREJA, SHARI
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ESTATE FIVE MEDIA LLC                ESTEBAN BENITO OLIVIERI               ESTEBAN, JUAN
1345 CHEMICAL ST                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DALLAS, TX 75207




ESTEBANEZ, SHELLEY AND CHRIS         ESTELL, JENNIFER                      ESTELL, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ESTELLE VINEYARD LLC                 ESTELLE, ASHLEY                       ESTELLE, CHANDLER
PO BOX 688                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS OLIVOS, CA 93441
ESTELLE, MARGARET     Case 22-11238-LSS    Doc
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ESTEPANI, KARIN                      ESTERA, DISHA                           ESTERELLE, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          333 BEECH SPRING ROAD SOUTH
                                                                             ORANGE, NJ 07079




ESTERLY, RICHARD                     ESTES EXPRESS LINES                     ESTES, ALEXANDRIA
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ESTES, ASHLYN                        ESTES, ELISE                            ESTES, HOLLIE
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ESTES, JANIE AND BLAKE               ESTES, JUSTIN                           ESTES, MAKENNA
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ESTES, TARA                          ESTES, TAYLOR                           ESTES, TRACEY
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ESTEVES, CHARLENE                    ESTEVEZ, JOSELYN                        ESTEVEZ, LAUREN
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ESTEVEZ, MARIA                       ESTEVEZ, WALROGEN                       ESTEY, HILARY
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ESTEY, SEAN                          ESTHER JIMENEZ                          ESTHER LEE
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ESTHER OGBUOKIRI                     ESTHER, JANOUSKI,                       ESTHER, MARIA
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ESTIENNE, ELIZABETH   Case 22-11238-LSS     Doc 2 LIA
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ESTIME, REBEKAH                      ESTIME, SARAH                          ESTLOW, LAINIE
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ESTOCK, MEGAN                        ESTOESTA, IRMA                         ESTOK, KRISTIN
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ESTOK, MORGAN                        ESTRADA, ALEXANDRA                     ESTRADA, BEA
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ESTRADA, BRENDA                      ESTRADA, CHELSEA                       ESTRADA, CHRISTOPHER
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ESTRADA, CRYSTAL                     ESTRADA, DANIELLE                      ESTRADA, DEMITRIA
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ESTRADA, FRANCIS                     ESTRADA, FRANCISCO F                   ESTRADA, KAALA
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ESTRADA, KARLA                       ESTRADA, KRISTINA                      ESTRADA, MARTHA
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ESTRADA, MEGAN                       ESTRADA, NATASHA                       ESTRADA, PABLO
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ESTRADA, PAOLO                       ESTRADA, SHURRICE                      ESTRADA, SOLELIL
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ESTRADA, SUGEILY      Case 22-11238-LSS    Doc
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                                                                           ESTRELLA, ABIGAIL
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ESTRELLA, BALDEMAR                   ESTRELLA, GISELLE                      ESTRELLA, PAULA
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ESTRELLA, RAFAEL                     ESTRIDGE, KAREN                        ESTY, BRITTANIE
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ESWAR, PRIYA                         ESZLINGER, BRANDI                      ETCHED IMAGES, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1758 INDUSTRIAL WAY, STE 101
                                                                            NAPA, CA 94558




ETCHELLS, LAUREN                     ETCHEPARE, KERRY                       ETEHAD, AVITAL
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ETHAN EVANS                          ETHAN HARRISON                         ETHAN JONES
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ETHAN WHEELER                        ETHAN ZALTA                            ETHEN, GERALDINE
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ETHEREDGE, AUDREY                    ETHEREDGE, COLE                        ETHEREDGE, ELIZABETH
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ETHERIDGE, RUBY                      ETHERIDGE, WILLIAM                     ETHERIDGE-MAY, BRIDGETT
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ETHERINGTON, JEAN                    ETHEVENIN, PIERRE                      ETHIER, KELLY
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ETHRIDGE, BLAIR       Case 22-11238-LSS    Doc
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                                                                             ETHRIDGE, MERCEDES
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ETHRIDGE, REBECCA                    ETHRIDGE, TERRY                         ETIENNE, BIANCA
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ETIENNE, DESTINI                     ETIENNE, SAMANTHA                       ETIENNE, VIVIANE
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ETLING, ALANA                        ETLING, MELISSA                         ETLING, NICOLE
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ETLING, STEPHEN                      ETLINGER, KELLY                         ETLINGER, LAUREN
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ETNIER, JEANETTE                     ETONIEN, LLC                            ETONIEN, LLC
ADDRESS AVAILABLE UPON REQUEST       222 N. SEPULVEDA BLVD. STE 1507         222 NORTH PACIFIC COAST HWY SUITE 1507
                                     EL SEGUNDO, CA 90245                    EL SEGUNDO, CA 90245




E-TRADE FINANCIAL CORPORATE          E-TRADE FINANCIAL CORPORATE             E-TRADE FINANCIAL CORPORATE
SERVICES, INC.                       SERVICES, INC.                          SERVICES, INC.
ATTN: MANAGING ATTORNEY              ATTN: PRESIDENT                         C/O CORP. TAX DEPT.
3 EDISON DR                          3 EDISON DR                             671 N. GLEBE RAOD
ALPHARETTA, GA 30005                 ALPHARETTA, GA 30005                    ARLINGTON, VA 22203



ETS LABORATORIES                     ETSY.COM                                ETTELMAN, SARAH
899 ADAMS STREET SUITE A             ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
SAINT HELENA, CA 94574




ETTEN, JESSICA                       ETTENSOHN, KATELYN                      ETTER, JENNIFER
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ETTERMAN, JOSHUA                     ETTIEN, AMAYA                           ETTIN, ISABELLA
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ETTLINGER, REBECCA    Case 22-11238-LSS
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ETTORRE, VICTORIA                    ETUE, RYAN                            ETZBACH, MICHELE
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ETZEL, MICHELLE                      ETZKORN, JOSEPH                       EUBANK, LISA
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EUBANK, MELINDA                      EUBANK, PATTI                         EUBANKS, HARLIE
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EUBANKS, KATIE                       EUDY, AMY                             EUDY, MARY
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EUELL, JULIAN                        EUGENE CLEVELAND HOLLOWAY III         EUGENE KALENKOVICH
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EUGENE LUZGIN                        EUGENE MCFADDEN                       EUGENE PERTICONE
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EUGENE SUEI                          EUGENE THEODORE QUAIL                 EUGENE, MILDRED
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EUGENE, STEPHANIE                    EUGENIA BLACKSTONE                    EUGENIO WILLIAM TELFER
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EUGENIO, JASMINE                     EUHARDY, ROBIN                        EUILER, ELIZABETH
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EULBERG, JESSICA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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EULER, SAMANTHA                         EULETTE, PAUL                         EULLER, BILL
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EURESTI, NEFTALI                        EURILLO, MELISSA                      EURL LOUSTAL ANNE DE JOYEUSE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        41, AVENUE CHARLES DE GAULLE
                                                                              LIMOUX 11300
                                                                              FRANCE




EURO CAFE                               EUROPA, ALEJANDRA                     EUROPEAN ELEGANCE WOODWORK, INC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        8019 HASKELL AVE 102
                                                                              VAN NUYS, CA 91406




EUROVINTAGE INTERNATIONAL INC.          EUSEBIO, JACQUELINE                   EUSTACE, ABBY
(RARE EARTH WINES)                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
1315 LAWRENCE AVENUE EAST, SUITE 408
TORONTO, ON M3A 3R3
CANADA



EUSTACE, DAVID                          EUSTACE, ELLEN                        EUSTACE, JAMIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EUSTIS, ELAINE                          EUTING, HALEY                         EUTSAY, ALEXZANDRIA
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EVA, LEAL,                              EVAN ARTHUR BERLIN                    EVAN FEATHERSTONE
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EVAN LITTMAN                            EVAN SMYTH                            EVAN SPENCE
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EVAN WAKELIN                            EVANCHA, NICOLE                       EVANGELINA ESTRADA
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EVANGELIST, MAKENZI   Case 22-11238-LSS    Doc 2JHANA
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EVANGELISTA, STEPHANIE                EVANGELISTI, DANIELLE                 EVANGELOU, MAGGIE
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EVANOFF, AMBER                        EVANOFF, TONY                         EVANOSKI, JESSIE
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EVANS TRANSPORTATION SERVICES, INC.   EVANS, ABBY                           EVANS, AIMEE
21755 GATEWAY ROAD                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BROOKFIELD, WI 53045




EVANS, AKEEM                          EVANS, ALICIA                         EVANS, ALINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVANS, ALYSON                         EVANS, ALYSSA                         EVANS, AMANDA
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EVANS, AMY                            EVANS, ANGEL                          EVANS, ANGELA
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EVANS, ARIADNA                        EVANS, ARIEL                          EVANS, ASHLEY
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EVANS, AUBREY                         EVANS, BARBARA                        EVANS, BETH
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EVANS, BILL                           EVANS, BILL                           EVANS, BOB
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EVANS, BONNIE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EVANS, BRIAN                     Page 1469
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EVANS, BRIANNA                       EVANS, BRITTANY                       EVANS, BRITTANY
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EVANS, CAITLIN                       EVANS, CAROLINE                       EVANS, CAROLINE
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EVANS, CASEY                         EVANS, CHERYL                         EVANS, CLAIRE
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EVANS, CLINT                         EVANS, COLIN                          EVANS, COLLEEN
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EVANS, COLTON                        EVANS, COURTNEY                       EVANS, DAN
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EVANS, DAN                           EVANS, DEBBIE                         EVANS, DONNA
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EVANS, DREW                          EVANS, EDEN                           EVANS, ELAINE
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EVANS, ELISA RODRIGUEZ               EVANS, ELIZABETH                      EVANS, ELLEN
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EVANS, EMILY                         EVANS, EMILY                          EVANS, EMILY
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EVANS, ERIC           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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EVANS, GEETA                         EVANS, GENA                           EVANS, GINA
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EVANS, GWEN                          EVANS, HANNAH                         EVANS, HANNAH
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EVANS, HEATHER                       EVANS, HILLARY                        EVANS, JACKIE
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EVANS, JACQUELYN                     EVANS, JAKE                           EVANS, JEANNE
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EVANS, JEANNIE                       EVANS, JENNIFER                       EVANS, JENNIFER
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EVANS, JENNIFER                      EVANS, JENNIFER                       EVANS, JENNY
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EVANS, JEREMY                        EVANS, JEREMY                         EVANS, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVANS, JOEL                          EVANS, JOHN                           EVANS, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVANS, JORDYN                        EVANS, JOSHUA                         EVANS, JUANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EVANS, JUDY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EVANS, JULIAN                    Page 1471
                                                                           EVANS,of 5495
                                                                                 JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVANS, KAITLIN                       EVANS, KAREN                          EVANS, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVANS, KATELYN                       EVANS, KATHERINE                      EVANS, KATHLEEN
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EVANS, KATHRYN                       EVANS, KATHY                          EVANS, KATIE
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EVANS, KATLYN                        EVANS, KELLY                          EVANS, KELLY
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EVANS, KIARA                         EVANS, KIM                            EVANS, KIMBERLY
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EVANS, KIMBERLY                      EVANS, KIPTORI                        EVANS, KRISTIN
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EVANS, KRISTLE                       EVANS, KYLA                           EVANS, LA RONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVANS, LAUREN                        EVANS, LAWRENCE                       EVANS, LES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVANS, LILLIAN                       EVANS, LISA                           EVANS, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EVANS, LISA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EVANS, LOURDES                   Page 1472
                                                                           EVANS,of 5495
                                                                                 LUCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVANS, MADELINE                      EVANS, MAHALIA                        EVANS, MALCOLM
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EVANS, MARIAH                        EVANS, MARK                           EVANS, MARY
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EVANS, MATT                          EVANS, MATTHEW                        EVANS, MEGAN
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EVANS, MEGAN                         EVANS, MICHAEL                        EVANS, MICHELLE
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EVANS, MIRANDA                       EVANS, MISAE                          EVANS, MISHA
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EVANS, MORGAN                        EVANS, NAOMI                          EVANS, NICK
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EVANS, OLGA                          EVANS, PATRICK                        EVANS, PAUL
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EVANS, RACHEL                        EVANS, RACHEL                         EVANS, RACHEL
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EVANS, RALAYA                        EVANS, RALPH                          EVANS, REJEAN
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EVANS, RICK           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EVANS, RUTH                      Page 1473
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EVANS, SAM                           EVANS, SAMANTHA                       EVANS, SARAH
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EVANS, SARAH                         EVANS, SHELBY                         EVANS, STEPHANIE
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EVANS, STEPHENIE                     EVANS, SUSANNA                        EVANS, TABITHA
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EVANS, THOMAS                        EVANS, TIARA                          EVANS, TIMOTHY
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EVANS, TONIA                         EVANS, TRAVIS                         EVANS, TRAVIS
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EVANS, TYLER                         EVANS, WILLIAM                        EVANS, WILLIAM
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EVANS, ZACH                          EVANSON, CATHERINE                    EVARD, LIZZIE
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EVARISTO, ELLEN                      EVARISTO, JESSICA                     EVASHENK, NICOLE
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EVATZ, CARLY                         EVELAND, BETSY                        EVELAND, ROBIN
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EVELER, VANESSA       Case 22-11238-LSS
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EVEN, TAYLOR                            EVENHUIS, MARIANNE                      EVENSKY, AUDREY
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EVENSKY, JOSH                           EVENSON, ERIC                           EVENSON, HALLY
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EVENSON, JACKIE                         EVENSON, JILL                           EVENSON, MELISSA
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EVENSON, NICHOLA                        EVENSON, SARA                           EVENSON, SHANNON
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EVENT INSURANCE                         EVENTBRITE                              EVENTCORE
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EVENTPLICITY INC.                       EVENTS, ALICORN                         EVERDING, DEB
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EVEREST, GENE                           EVERETT, ALEXIS                         EVERETT, ALYSSA
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EVERETT, BETHANY                        EVERETT, BRYAN                          EVERETT, CAMILLE
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EVERETT, CAMILLE                        EVERETT, CASEY                          EVERETT, CHRIS
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EVERETT, EMILY        Case 22-11238-LSS    Doc
                                     EVERETT, ERIN2  Filed 11/30/22   Page 1475 of JACKIE
                                                                           EVERETT, 5495
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EVERETT, JENNA                       EVERETT, JENNIFER                     EVERETT, JERROD
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EVERETT, JEZLAN                      EVERETT, JOHNATHAN                    EVERETT, JORDAN
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EVERETT, LINDA                       EVERETT, MEGAN                        EVERETT, PATRICK
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EVERETT, RACHEL                      EVERETT, ROSE                         EVERETT, RYAN
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EVERETT, SARAH                       EVERETT, TANYA                        EVERETT, TRACEY
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EVERETT, TRICIA                      EVERETTE, EDWARD                      EVERETTE, JESSE
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EVERHART, LAUREN                     EVERHART, LISA                        EVERHART, NATHAN
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EVERHART, RYANN                      EVERHART, SHAWN                       EVERHART, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVERHEARDT, NANCY                    EVERIDGE, JULIE                       EVERIST, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EVERITT, REBEKAH      Case 22-11238-LSS
                                     EVERITT,Doc 2 Filed 11/30/22
                                              REBEKAH                 Page 1476  of 5495MARLENE
                                                                           EVERITT-PAYNE,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVERLY, ROBERT                       EVERS, CAROLYN                        EVERS, DANIEL
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EVERS, MCKENZIE                      EVERS, PAT                            EVERS, PATRICIA
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EVERS, STACY                         EVERS, THOMAS                         EVERS, WENDY
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EVERSMAN, MATT                       EVERSMAN, THERESE                     EVERSOLE, KELSEY
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EVERSOLL, MIKE                       EVERSON, DANIELLE                     EVERSON, ELIZABETH
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EVERSON, FRANCES                     EVERSON, KARI                         EVERSON, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVERTSBERG, MICHAEL                  EVERTSEN, CHANTEL                     EVERTZ, MISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EVERY, WENDY                         EVESLAGE, OLIVIA                      EVGENIYA IVANITSKAYA
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EVGIN, LAURA                         EVINS, VICTORIA                       EVITA, DIAMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EVITE, INC.              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                        EVOLA, SUZANNE                   Page 1477 of 5495
                                                                              EVOLUTION SERVICE CORPORATION
600 WILSHIRE BLVD SUITE 400             ADDRESS AVAILABLE UPON REQUEST         4265 MILDRED AVENUE
LOS ANGELES, CA 90017                                                          LOS ANGELES, CA 90066




EVON, SARAH                             EVOY, LAUREN                           EVOY, SAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EVVIA                                   EWALD, CHARLES                         EWALD, GENNESSA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EWALD, JACKIE                           EWALD, KRIS                            EWALD, MARCY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EWALD, MARIE                            EWALD, RACHEL                          EWALD, SARAH
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EWANOWSKI, CHRIS                        EWANYK, ANNETTE                        EWASKO, MARIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EWELL, KARLA                            EWEN, JAN                              EWER, MAIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EWER, RAYNA                             EWERS, STEPHANIE                       EWERT, DONNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EWERT, MEGAN                            EWERT, SYDNEY                          EWING, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




EWING, ALLISON                          EWING, ANNELISE                        EWING, ANSLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
EWING, BRANDI         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     EWING, CAROLINE                    Page 1478
                                                                             EWING,of 5495
                                                                                   CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EWING, CLOTHILDE                     EWING, ELEANOR                          EWING, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EWING, JUDITH                        EWING, KAITLYNN                         EWING, KALEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EWING, KATHERINE                     EWING, KAYLA                            EWING, LESLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EWING, MELISSA                       EWING, MICHAEL                          EWING, PARKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EWING, RACHEL                        EWING, RYAN                             EWING, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EWING, SARAH                         EWING, TAYLOR                           EWING, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




EXACTEQUITY                          EXACTEQUITY                             EXANTUS, FABIENNE
C/O WELLS FARGO BANK LOCK BOX 417    THE NADAQ PRIVATE MARKET LLC            ADDRESS AVAILABLE UPON REQUEST
PO BOX 8500                          ONE LIBERTY PLAZA-49FL
PHILADELPHIA, PA 19178-0700          NEW YORK, NY 10006




EXANTUS, KESHIA                      EXCEL IT PARTNERS LLC                   EXCEL OFFICE SERVICES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   12031 JEFFERSON BLVD
                                                                             CULVER CITY, CA 90230




EXCENTUS CORPORATION (FUELREWARDS)   EXDO EVENT CENTER                       EXELBY, COLIN
14241 DALLAS PARKWAY SUITE 400       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
DALLAS, TX 75254
EXILUS, JESSE         Case 22-11238-LSS
                                     EXINOR Doc   2 Filed 11/30/22
                                            SR., JEFFERSON                 Page 1479
                                                                                EXLINE,of 5495
                                                                                        KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




EXNER, CHARLOTTE                        EXPEDIA                                  EXPEDITORS CARGO INSURANCE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    BROKERS, INC.
                                                                                 1015 THIRD AVE 12TH FLOOR
                                                                                 SEATTLE, WA 98104




EXPEDITORS INTL                         EXPEDITORS INTL                          EXPENSIFY, INC.
12200 WILKIE AVE., STE 100              5757 W CENTURY BLVD. STE 200             ADDRESS UNAVAILABLE AT TIME OF FILING
HAWTHORNE, CA 90250                     LOS ANGELES, CA 90045




EXPERIAN                                EXPERT SURFACE SOLUTIONS                 EXPOSITO, PATTI
ADDRESS UNAVAILABLE AT TIME OF FILING   1275 CEDAR ST                            ADDRESS AVAILABLE UPON REQUEST
                                        ARROYO GRANDE, CA 93420




EXTEN, KATHERINE                        EXTENDED STAY                            EXTRA SPACE STORAGE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    401 FAMEL RD
                                                                                 SANTA MARIA, CA 93458




EXUM, ABRIANNA                          EXXON MOBIL                              EYANSON, ROY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




EYEN, MEGDALEN                          EYES, ALEXANDRIA                         EYKE, MARGARET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EYLER, KACIE                            EYLER, PAIGE                             EYLER, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EYLES, CUSTER                           EYMAN, CANDACE                           EYRE, DIANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




EYRES, DEBORAH                          EYSSELL, KRISTEN                         EYSTAD, NYKOL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
EYSTER, AVERY         Case 22-11238-LSS
                                     EYTALIS,Doc  2 Filed 11/30/22
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                                                                           EYZAGUIRRE, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EZALDEIN, HANA                       EZEKIEL SUMNER SANSING                EZELL, BONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EZELL, DEBRA                         EZELL, MELVIN                         EZELL, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




EZELL, SUSAN                         EZERNACK, JANEL                       EZIAKONWA, PEACE
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EZIGBO, SANDRA                       EZRA ERNEST                           EZRA, LISA
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EZZELL, JILL                         EZZELL, NICHOLAS                      EZZO, ERIN
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EZZO, LAUREN                         F EVANGELIST, TIFANI                  F GARZA, SHALEE
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F MYERS, BRITTANY                    F, CHRISTIANNA                        F, CLEOPATRA
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F, DAVE                              F, JASON                              F, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




F, NATALIE                           F. BEAU LAC, KEITH                    F. MCGOWAN, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
F. SHIMMIN, BRADLEY   Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     F., FRANK                        Page 1481   of 5495
                                                                           FAAS, HILLARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FABBI, MICHELLE                      FABBRI, GARY                          FABBRI, ISABELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FABBRICANTE, GINA                    FABBRIS, GILBERTO                     FABELA, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FABENS-LASSEN, LAURA                 FABER, BETH ANN                       FABER, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FABER, EMILY                         FABER, GABRIELLE                      FABER, JADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FABER, JOEL                          FABER, LEORE                          FABER, MATTHEW
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FABER, PAUL                          FABER, REBECCA                        FABER, SARAH
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FABIAN PROPPER                       FABIAN, ALEXANDRA                     FABIAN, JEANETTE
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FABIAN, JESSICA                      FABIAN, JOHN                          FABIAN, RACHAEL
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FABIANSKI, JOHN                      FABICK, RYAN                          FABII, ROSANNA
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                      Case 22-11238-LSS
FABIO HIDEAKI MATSUMOTO                     Doc 2 Filed 11/30/22
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                                                                                FABIOLA  5495
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FABIOLA GONZALEZ                        FABLETICS                               FABRIC, KARLI
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FABRICATORE, COURTNEY                   FABRICIUS, KERRY                        FABRIZIO, DANIEL
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FABRIZIO, JANET                         FABRIZIO, LARRY                         FABRIZIO, SARA
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FACADA, JOHANNA                         FACCHINE, ELIZABETH                     FACCHINO, TAYLOR
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FACCIO, SUSAN                           FACCIOBENE, DARICCA                     FACCIOLA, THOMAS
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FACILITY FEES                           FACIO-HEINEMAN, JOSEPHINE               FACKEL-DARROW, CLAIRE
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FACKENTHALL, JON                        FACTOR, JACOB                           FACTORYOUTLETSTORE.COM
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FADAEE, SHADI                           FADELEY, RICKY                          FADER, GREGORY
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FADER, TATIANA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FADI GHALY                       Page 1483
                                                                           FADKE, of 5495
                                                                                  MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FADUS, LORYN                         FADZAI NHAMBURO                       FAE, DOMINIQUE
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FAERBER, STEPHANIE                   FAETT, MONICA                         FAFEJTA, ERIC
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FAFOGLIA, KAYLEE                     FAFORD, DANIELLE                      FAGAN, ABBY
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FAGAN, BRE                           FAGAN, BRETT                          FAGAN, CHRISTINA
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FAGAN, COLLEEN                       FAGAN, JAMES                          FAGAN, JESSICA
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FAGAN, JOHN                          FAGAN, KATE                           FAGAN, KAYLA
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FAGAN, KELLY                         FAGAN, RICHARD                        FAGAN, SAMANTHA
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FAGAN, SASKIA                        FAGAN, SHANNON                        FAGAN, SHARON
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FAGAN, TAYLOR                        FAGAN, THERESA                        FAGAN, WANDA
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FAGANELLO, FRANKLIN   Case 22-11238-LSS    Doc
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                                                                                 GABRIELA
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FAGERHOLT, BRIDGET                   FAGERLAND, MARIA                      FAGIANIS AT THE
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FAGLE, MELISSA                       FAGNANO, KYLIE                        FAGOT, ANN-MICHELLE
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FAGUNDES, EVAN                       FAGUNDES, FELIPE                      FAHERTY, BRIANNA
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FAHERTY, KATE                        FAHEY, ASHLEY                         FAHEY, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAHEY, GREG                          FAHEY, JOANNE                         FAHEY, KEVIN
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FAHEY, KRISTINE                      FAHEY, LIA                            FAHEY, PERRY
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FAHIE, JAMIRA                        FAHL, MARLA                           FAHL, MEGHAN
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FAHL, WENDY                          FAHLE, STEVIE                         FAHLGREN, MARTHA
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FAHMI, ERIC                          FAHMY, CHRISTINE                      FAHNBULLEH, MAIMA
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FAHNER, JOLLEEN       Case 22-11238-LSS    Doc
                                     FAHNING, TIM 2  Filed 11/30/22   Page 1485 of 5495
                                                                           FAHRENKOPF, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAHRION, ALEX                        FAHY, MARY                            FAIELLA, JULIA
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FAIELLA, SOPHIA                      FAILES, CALEB                         FAILLACE, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAILLE, BRIGET                       FAILLE, HEATHER                       FAILS, CLAY
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FAILY, STEPHANIE                     FAIN, BEE                             FAIN, CATHY
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FAIN, CHRISTINA                      FAIN, DYLAN                           FAIOLA, SARAH
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FAIR, ERICA                          FAIR, HANNAH                          FAIR, JAMES
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FAIR, JANET                          FAIR, KELLY                           FAIR, SARA
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FAIR, SHELLY                         FAIR, TOSHA                           FAIRAIZL, JORDYN
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FAIRBAIRN, JUDITH                    FAIRBANK, DAVID                       FAIRBANK, ELISABETH
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FAIRBANKS, MACKENZIE Case 22-11238-LSS     Doc
                                    FAIRBEE,    2 Filed 11/30/22
                                             HANNAH                   Page 1486  of 5495
                                                                           FAIRBROTHER, ALICIA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FAIRCHILD, ALEX                      FAIRCHILD, AMY                         FAIRCHILD, LINDA
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FAIRCHILD, STEVEN                    FAIRCLOTH, ANNETTE                     FAIRCLOTH, CARSON
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FAIRCLOTH, KAYLA                     FAIRCLOTH, MARILYN                     FAIRCLOTH, TROY
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FAIRES, ROBERT                       FAIRFAX, BRIA                          FAIRFAX, JOSEPH
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FAIRFIELD, BARBARA                   FAIRFIELD, BROOKE                      FAIRFIELD, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FAIRHURST, MADISON                   FAIRLEY, ERIN                          FAIRLEY, MIMI
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FAIRLEY, STEVEN                      FAIRLEY, TONYA                         FAIRMAN, CHRISTIANA
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FAIRMAN, ROBERT                      FAIRMAN, SUZETTE                       FAIRMONT MIRAMAR HOTEL & BUNGALOWS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         101 WILSHIRE BOULEVARD
                                                                            SANTA MONICA, CA 90401




FAIRMONTMIRAMARHOTELANDBUNGALOWS     FAIRNOT, RONALD                        FAISON, ANN
101 WILSHIRE BLVD                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90401
FAISON, CRISS         Case 22-11238-LSS
                                     FAISON, Doc
                                             ELON 2  Filed 11/30/22   Page 1487   of 5495
                                                                           FAIT, STEVEN
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FAITH HUNT                           FAITH MILLER                          FAITH, ALISHA
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FAITH, COURTNEY                      FAITH, JUDY                           FAITH, NICKLAUS
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FAITH, UTAHNA                        FAIVRE, HEATHER                       FAIZ, TIMA
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FAJANS, KATHERINE                    FAJARDO, ALESSANDRA                   FAJARDO, DELINA
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FAJARDO, ESTEBAN                     FAJARDO, JAMES                        FAJARDO, MARILYN
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FAJARDO, SHIRLEY                     FAJARDO-MARTINEZ, ELICEO              FAJIRAM, JOSH
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FAKAHANY, SAMANTAH F.                FAKELMAN, KAYLA                       FAKHRI, SAHAR
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FALABELLA, KAYE                      FALABELLA, LESLIE                     FALANDYS, THERESA
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FALARO, WILLIAM                      FALBAUM, CAMILLE                      FALBER, EMILY
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FALBORN, JESS         Case 22-11238-LSS    Doc
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                                                                           FALCHECK, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FALCHI, LORRAINE                     FALCICCHIO, JANICE                    FALCO, JULIANNE
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FALCON, JENNA                        FALCON, JOHANA                        FALCON, MELANIE
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FALCONE, BRIDGET                     FALCONE, DR. ALBERT                   FALCONE, GINA
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FALCONE, HOLLY                       FALCONE, JACQUELINE                   FALCONE, JESSE
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FALCONE, JODY                        FALCONE, KRISTA                       FALCONE, MARINA
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FALCONE, SABRINA                     FALCONER, DANIELLE                    FALCONER, ERIN
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FALCONER, KATIE                      FALCONER, MOLLY                       FALCONER, SHELLY
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FALCONI, GREGORY                     FALDOWSKI, MIKE                       FALE, SURAJ
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FALEN, SARAH                         FALENSCHEK, ALISON                    FALESE, TAYLOR
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FALETTO, JENNY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FALEY, GLORIA                    Page 1489  of 5495
                                                                           FALGIANO, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FALGOUST, LINDSEY                    FALGOUT, HALEY                         FALGOUT, SCOTT
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FALIK, ODED                          FALIPOU-KARKARI, SYLVAIN               FALIS, LINDA
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FALISI, KELLEY                       FALIVENE, MADELYN                      FALK, BRIANA
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FALK, CAITLIN                        FALK, CAROLINE                         FALK, DAYLE
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FALK, JANE                           FALK, MICHELENE                        FALK, SHERRY
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FALKE, EMILY                         FALKE, SARA                            FALKENBERG, BETH
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FALKENBERG, DANIEL                   FALKENBERG, LAUREN                     FALKENSTEIN, CONNIE
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FALKENSTEIN, EMILY                   FALKENSTERN, COLLEEN                   FALKNER, CHRISTY
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FALKNER, HEIDI                       FALKNER, JUSTIN                        FALKNER, LORA
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FALKNOR, JODI         Case 22-11238-LSS    Doc
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FALKOWSKI, THEODORE                  FALKSEN, KELLY                        FALKSON, SHANNON
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FALL, KRISTIE                        FALLA, CATALINA                       FALLAH, SAHAR
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FALLAH, SIAH                         FALLAHI, DANIEL                       FALLAHI, NASIM
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FALLAVOLLITA, MICHELLE               FALLEN II, SMYTHER                    FALLER, KATHLEEN
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FALLERONI, MELISSA                   FALLET, SAMANTHA                      FALLIN, MATT
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FALLIN, REGINALD                     FALLIS, MELANIE                       FALLLS, KESHAWNA
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FALLON, ALISON                       FALLON, BRENNAH                       FALLON, CHRISTINE
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FALLON, DEBORA                       FALLON, ELIZABETH                     FALLON, ELLEN
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FALLON, ERIN                         FALLON, HOLLIE                        FALLON, JAIME
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FALLON, JESSI         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FALLON, KELLY                        FALLON, KERRY                         FALLON, KEVIN
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FALLON, KEVIN                        FALLON, KILEY                         FALLON, KRISTEN
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FALLON, LIZ                          FALLON, MEGAN                         FALLON, PENELOPE
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FALLON, WILLIAM                      FALLONA, MARK                         FALLONE OTTO, BONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FALLOWS, MARK                        FALLS, ASHARHRI                       FALLS, ASHLEIGH
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FALLS, BRIANNA                       FALLS, CLAY                           FALOCCO, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FALOON, AIDAN                        FALOON, ARLEN                         FALOON, DANE
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FALOTICO, VINCENT                    FALQUEZ, MERCEDES                     FALSETTI, MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FALSEY, BARBARA                      FALTAS, JULI                          FALTER, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FALTERMAN, KAREN      Case 22-11238-LSS
                                     FALUDI, Doc 2 Filed 11/30/22
                                             ROBERT                      Page 1492
                                                                              FALVEYof 5495 GROUP
                                                                                     INSURANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ATTN ROBERT FALVEY, GENERAL COUNSEL
                                                                              66 WHITECAP DR
                                                                              NORTH KINGSTON, RI 02852




FALVEY, ASHLEY                          FALVEY, CHERYL                        FALVEY, WILL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FALVO, MCKENZIE                         FALZON, JOANNE                        FALZONE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FALZONE, BRIAN                          FAM, COLOMBO                          FAMA, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAMA, COURTNEY                          FAMA, KATYE                           FAMEBIT.COM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        1447 2ND STREET SUITE 200
                                                                              SANTA MONICA, CA 90401




FAMEPICK, INC.                          FAMERA, BRIENNE                       FAMIGLIETTI, DONNA
1250 BORREGAS AVENUE                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SUNNYVALE, CA 94089




FAMILARA, JARUWAN                       FAMILLE CHAUDIERE                     FAMILLE CHAUDIERE
ADDRESS AVAILABLE UPON REQUEST          1365 B ROUTE DE FLASSAN 84570         1365 B ROUTE DE FLASSAN
                                        MORMOIRON                             MORMOIRON 84570
                                        FRANCE                                FRANCE




FAMILY MART                             FAMILY OFFICE NETWORKS, INC.          FAMILY, THE DE CHABERT
ADDRESS UNAVAILABLE AT TIME OF FILING   135 W. 41ST ST FLOOR 5                ADDRESS AVAILABLE UPON REQUEST
                                        NEW YORK, NY 10036




FAMILY, THE KETCHAM                     FAMILY, THE QUINN                     FAMOSO, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAMULARO, MARIA                         FAN, ANGELA                           FAN, HELEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FAN, HUI              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FAN, JOHN                          Page 1493  of 5495
                                                                             FAN, MEIQING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FAN, RANDALL                         FAN, SHUEH                               FAN, XINZHU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FAN, XUESONG                         FAN, YUQI                                FAN, ZHIBING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FANALE, DONALD                       FANATICS RETAIL GROUP FULFILLMENT, LLC   FANCHER, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       8100 NATIONS WAY                         ADDRESS AVAILABLE UPON REQUEST
                                     JACKSONVILLE, FL 32256




FANCHER, MICHELLE                    FANCHER, MONICA                          FANCHER, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FANDEL, AMY                          FANDRE, TIFFANY                          FANELLI, DANNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FANELLI, KAREN                       FANELLI, STEPHANIE                       FANG DIGITAL MARKETING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           C/O CLINE CARROLL CLARK & BARTELL LLP
                                                                              9190 IRVINE CENTER DRIVE
                                                                              IRVINE, CA 92618




FANG, DAVID                          FANG, YU HSUAN                           FANGEL, SOPHIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FANGER, STEPHANIE                    FANGMAN, LUKE                            FANION, LEANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FANKHAUSER, MARK                     FANKUCHEN, SAM                           FANN, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FANNIE, NINA          Case 22-11238-LSS    Doc
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                                                                           FANNING, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FANNING, DEVIN                       FANNING, JOSHUA                        FANNING, KAREN
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FANNING, KATHRYN                     FANNING, KATI                          FANNING, KRISTINE
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FANNING, MEGAN                       FANNING, MELISSA                       FANNING, NICOLE
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FANNING, PORSHIA                     FANO, COLLEEN                          FANSLAU, EMILY
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FANT, GREG                           FANT, JILL                             FANTIN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FANTINI, PATIENCE                    FANTI-PESCETTO, TRACY                  FANTONE, PHYLLIS
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FANTUZZO, SARAH                      FANTZ, NICOLE                          FANUCCI, FRANK
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FANZO, JESS                          FARA, MOE                              FARACE, ASHLEY
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FARACI, ROSE                         FARAGO, JULIE                          FARAG-WESTERMAN, DEENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FARAH, EILEEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FARAH, GABRIELLE                 Page 1495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARAHAT, RAHMA                       FARAHDEL, TINA                        FARAHVASHI, BRENNA
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FARAWELL, THOMAS                     FARBACHER, DAVID                      FARBER, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARBER, ANN                          FARBER, DANA                          FARBER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARBER, JUDITH                       FARBER, JUDITH                        FARBER, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARBER, PHOEBE                       FARBER, RYAN                          FARCAS, MARIUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARDIG, LAUREN                       FARELLI, CARA                         FARELLO, ANTHONY
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FARELLO, DOMINIC                     FARELLO, JODI                         FARGHER, KATHY
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FARGIS, JILL                         FARGNOLI, NICHOLAS                    FARGO, ERIN
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FARGO, SARAH                         FARHANG, SYDNEY                       FARHAT, LORI
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FARHAT, TAYLOR        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FARHI, ARDEN                     Page 1496   of 5495
                                                                           FARHI, YASSINE
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FARIAS, ELISA                        FARIAS, ERIKA                         FARIAS, MICHAEL
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FARIES, MICHELLE                     FARIES, MORGAN                        FARINA, ALICIA
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FARINA, ANTOINETTE                   FARINA, DAVE                          FARINA, ISABELLA
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FARINA, JUAN                         FARINA, MEGAN                         FARINA, MONICA
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FARINA, SARAH                        FARINAS, MICHELLE                     FARINAS, RUDY
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FARINHOLT, IDA                       FARINO, GABRIELLE                     FARINO, KATHRYN
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FARIS, COURTNEY                      FARISH, RACHAEL                       FARISS, PATRICK
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FARKAS, CHRISTINE                    FARLAND, ASHELEY                      FARLAND, SARAH
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FARLEY, AISHA                        FARLEY, ALEX                          FARLEY, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FARLEY, CARA          Case 22-11238-LSS
                                     FARLEY,Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FARLEY, EMMA                            FARLEY, JENNIFER                      FARLEY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARLEY, JESSICA                         FARLEY, JILLIAN                       FARLEY, JULIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARLEY, KEVIN                           FARLEY, KYLE                          FARLEY, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARLEY, LAURALYNN                       FARLEY, LOUISA                        FARLEY, MARYKATE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARLEY, MICHELLE                        FARLEY, MORGAN                        FARLEY, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARLEY, PATRICK                         FARLEY, REBECCA                       FARLEY, SEAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARLEY, THERESA                         FARLEY, TIOMBE                        FARLOW, HILARY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARM FRESH TO YOU                       FARMELO, JENNIFER                     FARMER, ANDREA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARMER, ANDREW                          FARMER, ANNELIESE                     FARMER, DAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FARMER, ERICA         Case 22-11238-LSS
                                     FARMER,Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FARMER, JESSICA                         FARMER, KATHARINE                     FARMER, KELLY
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FARMER, LETICIA                         FARMER, MARC                          FARMER, MEG
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARMER, MELANIE                         FARMER, MICHAEL                       FARMER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARMER, MOLLY                           FARMER, SHEENA                        FARMER, SHEILA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARMER, TANIA                           FARMER, TRACEE                        FARMERS BELLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




FARMSHOP                                FARNACK, STEF                         FARNAN, REMI
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARNEN, KATELYN                         FARNER, KRISTA                        FARNES, MILAGROS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARNESE, JACQUELINE                     FARNEY, LEA                           FARNHAM, JUSTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARNHAM, KATELYN                        FARNHAM, SCOTT                        FARNSWORTH, ELYSE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FARNSWORTH, HILLARY   Case 22-11238-LSS    Doc 2KATIE
                                     FARNSWORTH,     Filed 11/30/22   Page 1499 of 5495
                                                                           FARNSWORTH, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARNSWORTH, MARY                     FARNSWORTH, REBEKAH                   FARNUM, BOBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARNUM, CATHIE                       FARNUM, CATHIE                        FARO, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAROOQ, NOELLE                       FAROOQI, AMNA                         FARO-WHITE, ROLAND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARO-WINKELMAN, ISABELLA             FARQUER, SHARON                       FARQUHAR, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARQUHAR-LEICESTER, ALEXANDER        FARQUHARSON, KETLIE                   FARR, CHRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARR, CRYSTAL                        FARR, ELYSSA                          FARR, ISABELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARR, JENNIFER                       FARR, KENDALL                         FARR, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARR, PATRICIA                       FARR, PHILIP                          FARR, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARR, ROB                            FARR, TAYLOR                          FARRALL, JOANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FARRALL, JOHN         Case 22-11238-LSS    Doc
                                     FARRAND,   2 Filed 11/30/22
                                              AMANDA                  Page 1500 of 5495
                                                                           FARRAND, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARRAND, SYLVIA                      FARRAR, ASHLEY                        FARRAR, JADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARRAR, JOHARI                       FARRAR, KIMBERLEY                     FARRAR, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARRAR, ROBERT                       FARRAYE, LAUREN                       FARRELL DISTRIBUTING - VERMONT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        5 HOLMES ROAD SOUTH
                                                                           BURLINGTON, VT 05403




FARRELL DISTRIBUTING CORPORATION     FARRELL TWYLA                         FARRELL, ALIE
5 HOLMES ROAD SOUTH                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURLINGTON, VT 05403




FARRELL, AMANDA                      FARRELL, ANDREA                       FARRELL, ANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARRELL, ANGELA                      FARRELL, APRIL                        FARRELL, AUTUMN
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FARRELL, BETHANY                     FARRELL, BRENDA                       FARRELL, BRIAN
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FARRELL, CHRISTIAN                   FARRELL, COLIN                        FARRELL, DANIELLE
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FARRELL, DAVID                       FARRELL, DENISE                       FARRELL, DILLON
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FARRELL, ELSA         Case 22-11238-LSS    Doc
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                                                                           FARRELL,  5495
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FARRELL, JOHN                        FARRELL, JOHN                         FARRELL, KAITLYN
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FARRELL, KATHERINE                   FARRELL, KELLY                        FARRELL, KELSEY
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FARRELL, KELSEY                      FARRELL, KERRY                        FARRELL, KRISTEN
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FARRELL, KRISTI                      FARRELL, LAUREN                       FARRELL, LAUREN
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FARRELL, LORI                        FARRELL, MARGARET                     FARRELL, MEGAN
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FARRELL, MELANIE                     FARRELL, MIKE                         FARRELL, MOIRA
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FARRELL, MONICA                      FARRELL, PATRICIA                     FARRELL, PAUL
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FARRELL, PEGGY                       FARRELL, PETER                        FARRELL, RONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARRELL, SEAN                        FARRELL, SEELEY                       FARRELL, SHANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FARRELL, SHANNON      Case 22-11238-LSS    Doc
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FARRELLY, DEBORAH                    FARRELLY, JESSICA                      FARRELLY, MEGAN
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FARREN, ZACHARY                      FARRER, SHELBY                         FARRIER, JOMO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FARRINGTON, CHRISTINE                FARRINGTON, EAMONN                     FARRINGTON, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FARRINGTON, KIMBERLY                 FARRINGTON, LINDA                      FARRINGTON, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FARRINGTON, PENNI                    FARRINGTON, QADIRA                     FARRINGTON, VINNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FARRIS, ADAM                         FARRIS, AMANDA                         FARRIS, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FARRIS, GRACE                        FARRIS, JOHN                           FARRIS, KENNEDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FARRIS, LINDSAY                      FARRIS, MARGARET                       FARRIS, MAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FARRIS, PJ                           FARRIS, TAMMY                          FARRIS, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FARRIS, WYATT         Case 22-11238-LSS    Doc
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                                                                           FARRON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARROW, ALICIA                       FARROW, BARBARA                       FARROW, DARCIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARROW, DARCIE                       FARROW, DAVID                         FARROW, DOROTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARROW, LORI                         FARROW, NATE                          FARROW, SANDEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARROW, THOMAS                       FARROW, WENDY                         FARRUGIA, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARRUGIA, KATIE                      FARSACI, CHENOA                       FARSET, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARSHIDFARD, YASAMAN                 FARSTVEET, HANNAH                     FARTHING, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARTIS, SALENA                       FARUP-ROMERO, ROBIN                   FARVER, DON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARVER, KYLE                         FARVER, MELANIE                       FARWELL, ASHLEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FARWELL, ASHLYN                      FARWELL, KERI                         FARWELL, ROY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FARY, SARAH           Case 22-11238-LSS
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                                                                           FARZINE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FASANO, KELLY                        FASANO, KIM                           FASBINDER, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FASCHING, KATELYN                    FASCHING, MADISON                     FASCIANO, LANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FASCILLA, EMILY                      FASCILLA, JESSICA                     FASGOLD, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FASNACHT, ANNETTE                    FASOLA, DAVID                         FASOLINO, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FASOLO, GABRIELLE                    FASS, MEGAN                           FASSARI, DYLAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FASSBERG, MARILYN                    FASSE, CLAUDINE                       FAST COMPANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 3016
                                                                           HARLAN, IA 51593-0107




FAST, BEVERLY                        FAST, BEVERLY                         FAST, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FASTMAN, HOPE                        FASTNACHT, NICOLE                     FASTOV, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FASULLO, JENNIFER                    FASULO, FORTUNA                       FASULO, MEG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FASZEWSKI, RILEY      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FATA, ASHLEIGH                         Page 1505   of 5495
                                                                                 FATA, ELENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




FATAKIA, TRACY                          FATALE, STACY                            FATALL, AMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FATEHI, MAZIAR                          FATHEREE, KAILEY                         FATHEREE, PAMELA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FATHERS OFFICE                          FATIAH TOURAY                            FATICA, KATHY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FATIGANTE, SUZANNE                      FATMIR MULIQI                            FATOBA, TANYA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FATONY, ANDREA                          FATOOL, SAMUEL                           FATTARSI, TONY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FATTIES PIZZA                           FATTYKINE, LLC                           FAUBEL, ALEX
ADDRESS UNAVAILABLE AT TIME OF FILING   5230 PACIFIC CONCOURSE DR STE 100        ADDRESS AVAILABLE UPON REQUEST
                                        LOS ANGELES, CA 90045




FAUBION, EMILY                          FAUBION, LAURA                           FAUCETTE, BARBARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FAUCHER, HANNAH                         FAUCHER, RANDI                           FAUCHER, WILL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FAUCHEUX, PEGGY                         FAUDOA, ADRIANA                          FAUGERSTROM, KAITLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FAUGHT, JAN           Case 22-11238-LSS    Doc
                                     FAUGNO,    2 Filed 11/30/22
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                                                                           FAUL, CHASITY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUL, JONATHAN                       FAUL, SUSAN                           FAULCONER, CLARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAULDS, CHAD                         FAULK, JOHN                           FAULK, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAULKNER, ANNA                       FAULKNER, BARBARA                     FAULKNER, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAULKNER, COURTNEY                   FAULKNER, DAVID                       FAULKNER, JACKLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAULKNER, JAMIE                      FAULKNER, JEREMIAH                    FAULKNER, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAULKNER, KELLY                      FAULKNER, LASHAUN                     FAULKNER, MAC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAULKNER, MARIE                      FAULKNER, MEGHAN                      FAULKNER, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAULKNER, PIERCE                     FAULKNER, SAMANTHA                    FAULKNER, SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAULKNOR, CHERYL                     FAULKS, CRYSTAL                       FAULSTICK, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FAUNCE, NANCY         Case 22-11238-LSS
                                     FAUNES,Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAURE, CHRISTIAN                     FAURIE RODAS, JESLI                   FAUS, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUSNACHT, JACQUELYNE                FAUSSET, JENY                         FAUST, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUST, CAMERON                       FAUST, DANIELLE                       FAUST, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUST, ELIZABETH                     FAUST, HOLLY                          FAUST, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUST, JUDY                          FAUST, KIM                            FAUST, KRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUST, MATT                          FAUST, PJ                             FAUST, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUSTI, MARSHA                       FAUSTIN, JAMES                        FAUSTINA, BAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUSTINO, JACQUELINE                 FAUTH, PAULA                          FAUTH, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAUX, BENITA                         FAUZIA HASSAN                         FAUZIA-WHATLEY, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FAVA, AMANDA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FAVA, CARLEE                     Page 1508   of 5495
                                                                           FAVA, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAVALE, SANDY                        FAVALORO, KAYLA                       FAVALORO, MARCELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAVARIN WESTRUPP, VANESSA            FAVARISOVA, DIANA                     FAVELA, CONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAVILA, BRIANA                       FAVIS, VIRGILIO                       FAVOCCI, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAVORITE BRANDS (NEW MEXICO)         FAVORITE BRANDS LLC                   FAVORITE, EMILY
2500 SOLANO DRIVE NE                 3900 NORTH MCCOLL ROAD                ADDRESS AVAILABLE UPON REQUEST
ALBUQUERQUE, NM 87110                MCALLEN, TX 78501




FAVORITO, ALEXA                      FAVORS, DEBRA                         FAVOT, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAVRE, JEAN-CYRILLE                  FAVREAU, LILLIAN                      FAVREAU, LYNNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAVREAU, SEAN                        FAWCETT, AMELIA                       FAWCETT, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAWCETT, MOLLIE                      FAWCETT, PEGGY                        FAWCETT, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAWCETT, SHANNA                      FAWKES, SANDRA                        FAWKES, TREVOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FAWSON, HEATHER       Case 22-11238-LSS    DocSUZETTE
                                     FAWTHORP,  2 Filed 11/30/22      Page 1509
                                                                           FAWZY,of 5495
                                                                                  MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAY, BRENDA                          FAY, CATHERINE A                      FAY, CLIFTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAY, DEVON                           FAY, ELAINE                           FAY, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAY, GREGORY                         FAY, JOHN                             FAY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FAY, KELLY                           FAY, KENDAL                           FAY, KRISTIN
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FAY, REBECCA                         FAY, RICHARD                          FAY, SCOTT
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FAY, SHANNON                         FAY, TAMMY                            FAY, WILLIAM
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FAYAZ, SAAD                          FAY-COELHO, ELAINE                    FAYE LANDIES OTERO
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FAYE, ALYCE                          FAYE, JULIA                           FAYE, MCBEE
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FAYE, TARYN                          FAYED, JEANETT                        FAYNE, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FAYSSOUX, KAREN       Case 22-11238-LSS
                                     FAYTON,Doc  2 Filed 11/30/22
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                                                                           FAY-TUCKER, JANINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FAZENDIN, EDWARD                     FAZENDIN, KATHY                        FAZI, CHEYENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FAZIA, GRACE                         FAZIO, AILEEN                          FAZIO, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FAZIO, LAUREN                        FAZIO, LOUIE                           FAZIO, NICOLE
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FAZIO, NICOLLE                       FAZLE, TRILLIAH                        FAZLOLLAH, PETER
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FAZZANO, FRANCIS                     FAZZARI, JORDAN                        FAZZINA BOUDES, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FAZZINO, LINDSAY                     FAZZIO, LYDIA                          FAZZOLARI, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FCE EXCAVATION, TRISTA DEMING        FE, CAZ                                FEAGAN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FEAGANS, DENISE                      FEAMAN, KIMBERLY                       FEAMSTSR, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FEARN, MARY                          FEARNEYHOUGH, NICOLE                   FEARRINGTON, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FEARS, BRE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FEARS, MANDY                       Page 1511
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                                                                                    TENNILLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FEARSON, ANDREW                      FEARY, MEGAN                             FEASER, CARMEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FEASTER, ALFIE                       FEASTER, NATALIE                         FEATHER, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FEATHER, DENISE                      FEATHERS & SIGNS PRINTING                FEATHERSTONE, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




FEATHERSTONE, NELLIE                 FEATHERSTONE, NOAH                       FEATHLER, BOBBI-LYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FEBLES, JENNIFER                     FEBLOWITZ, COLLEEN                       FECHEE, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FECHER, CYNTHIA                      FECH-HAATAJA, SARA                       FECHNER, BRENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FECHT, CLARA                         FECHT, WHITNEY                           FECHTER, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FECKO, ETHEL                         FECTEAU, ALLY                            FECTEAU, KYRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FECTEAU, MELISSA                     FEDDELER, GERTRUDE                       FEDDERLY, CLAIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FEDELE, JOELLE        Case 22-11238-LSS
                                     FEDELE,Doc 2 Filed 11/30/22
                                            KATHLEEN                   Page 1512
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FEDER, DAN                           FEDER, ELYSA                            FEDER, FRANCINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FEDERAL EXPRESS CORP                 FEDERAL EXPRESS CORP                    FEDERAL EXPRESS
3650 HACKS CROSS RD                  ATTN: VP, BRAND EXP MARKETING           ADDRESS UNAVAILABLE AT TIME OF FILING
BLDG E, 1ST FL                       3640 HACKS CROSS RD
MEMPHIS, TN 38125                    BLDG D, 2ND FL
                                     MEMPHIS, TN 38125



FEDERAL TRADE COMMISSION             FEDERICI, GEMMA                         FEDERICI, LEE
600 PENNSYLVANIA AVENUE, NW          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WASHINGTON, DC 20580




FEDERICI, RANDI                      FEDERICK LEDESMA                        FEDERICO, GAYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FEDERICO, MICHELLE                   FEDERICO, PANFILO                       FEDERICO, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FEDERICO, ROBERT                     FEDERIGHI, JESSICA MARGOT               FEDERLINE, EDDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FEDERLINE, KRISTIN                   FEDERONICK, YVONNE                      FEDEROWICZ, BIANCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FEDERS, JENNIFER                     FED-EX - BWSC                           FEDEX CORPORATE SERVICES INC
ADDRESS AVAILABLE UPON REQUEST       FED-EX ERS PO BOX 371741                3650 HACKS CROSS RD
                                     RAJESH SUBRAMANIAM, PRESIDENT, CHIEF    BLDG E, 1ST FL
                                     EXECUTIVE OFFICER AND DIRECTOR          MEMPHIS, TN 38125
                                     PITTSBURGH, PA 15250-7741



FEDEX CORPORATE SERVICES INC         FEDEX FREIGHT INC                       FEDEX FREIGHT INC
ATTN: VP, BRAND EXP MARKETING        3650 HACKS CROSS RD                     ATTN: VP, BRAND EXP MARKETING
3640 HACKS CROSS RD                  BLDG E, 1ST FL                          3640 HACKS CROSS RD
BLDG D, 2ND FL                       MEMPHIS, TN 38125                       BLDG D, 2ND FL
MEMPHIS, TN 38125                                                            MEMPHIS, TN 38125
                     Case 22-11238-LSS
FEDEX GROUND PACKAGE SYSTEM INC            Doc 2 PACKAGE
                                    FEDEX GROUND     Filed 11/30/22
                                                           SYSTEM INC      Page 1513
                                                                                FED-EXof 5495
                                                                                      LINE HAUL
3650 HACKS CROSS RD                 ATTN: VP, BRAND EXP MARKETING                PO BOX 94515
BLDG E, 1ST FL                      3640 HACKS CROSS RD                          PALATINE, IL 60094-4515
MEMPHIS, TN 38125                   BLDG D, 2ND FL
                                    MEMPHIS, TN 38125



FEDEX OFFICE                            FED-EX                                   FED-EX
ADDRESS UNAVAILABLE AT TIME OF FILING   FEDEX CORPORATION                        PO BOX 371741
                                        942 SHADY GROVE RD S                     PITTSBURGH, PA 15250-7741
                                        MEMPHIS, TN 38120-4117




FED-EX                                  FEDKENHEUER, KEVIN                       FEDOR, ALISSA
PO BOX 7221                             ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
PASADENA, CA 91109-7321




FEDOR, AYLA                             FEDORA HINES, GAIL                       FEDORA, ARABELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FEDORCHEK, COURTNEY                     FEDRICCI, KRISTIN                        FEDULOVA, NATALIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FEDUN, STEFANIE                         FEDUNOK, PATTY                           FEE, CHRISTINE
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FEE, ELIZABETH                          FEE, RON                                 FEEBACK, ABBY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FEECE, DENNIS                           FEED BODY & SOUL                         FEEDONOMICS HOLDINGS, LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    11305 FOUR POINTS DR
                                                                                 AUSTIN, TX 78726




FEEDONOMICS LLC                         FEEGEL, LISA                             FEEHAN, HUGH
21011 WARNER CENTER LANE STE A          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
WOODLAND HILLS, CA 91367




FEEHAN, JESSICA                         FEEHAN, RILEY                            FEEHERY, MARLENA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FEELEY, LAURA         Case 22-11238-LSS    DocDANIEL
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                                                                           FEENEY, 5495
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FEENEY, CAROL                        FEENEY, CHASE                         FEENEY, JENNIFER
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FEENEY, KATHRYN                      FEENEY, KIM                           FEENEY, MEGAN
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FEENEY, MEGAN                        FEENEY, NORA                          FEENEY, PATRICIA
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FEENEY, TAYLOR                       FEENEY, TERRY                         FEENY, LAUREEN
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FEERNICHKO, KELSERT                  FEESER, DORIS                         FEESER, MARINA
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FEEST, NICOLE                        FEEST, NICOLE                         FEEZOR, ZOE
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FEFILOVA, ANASTASIA                  FEGAN BROWN, MICHELLE                 FEGAN, ALEX
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FEGAN, DONYA                         FEGAN, MAGGIE                         FEGELEY, MARISSA
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FEGLEY, VANESSA                      FEGLEY, WILLIAM                       FEHER, LAUREN
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FEHIR, AMY            Case 22-11238-LSS     Doc
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FEHLKER, MEREDITH                    FEHLMAN, MICHELLE                     FEHR, ANGELA
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FEHR, ASHLEY                         FEHR, BECKY                           FEHR, CAROLINE
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FEHSENFELD, BEN                      FEI, CHRISTOPHER                      FEICHTINGER, KELBY
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FEIDT, CAILY                         FEIG, EMILY                           FEIGENBAUM, BEN
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FEIGENBAUM, KARA                     FEIGERT, JENNIFER                     FEIGHERY, JULIE
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FEIGLES, CALEB                       FEIGS, CAROLIN                        FEIKERT, ANDREW
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FEILEN, AMANDA                       FEIM, EILEEN                          FEINBERG, EMMA
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FEINBERG, ERIN                       FEINBERG, ETTEL                       FEINBERG, HANNAH
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FEINBERG, JAIME                      FEINBERG, JANIE                       FEINBERG, KAZIA
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FEINBERG, MICHAEL     Case 22-11238-LSS     Doc
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FEINGOLD, LAUREN                     FEINGOLD, RACHEL                       FEINGOLD, SARAH
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FEINMAN, ROBERT                      FEINSILVER, RICHARD                    FEINSTEIN, ADAM
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FEINSTEIN, JUDY                      FEINSTEIN, SOFIE                       FEINTUCH, STACY
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FEIST, DENISE                        FEIST, MICHELE                         FEIT, CHARITY
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FEITO, MARI                          FEITOSA, KIMBERLY                      FEJERAN, JAMIE
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FEJKA, MARTIN                        FEKETE, AMBER                          FEKETE, CHRIS
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FEKKAK, LENA                         FELAND, KELCI                          FELBER, ERIN
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FELBERG, ALEXANDRA                   FELBINGER, BOBBI                       FELCH, CURTIS
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FELDE, LAURA                         FELDENKREISS, KYLE                     FELDER, BEAU
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FELDER, CANEISHA      Case 22-11238-LSS
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FELDERMAN, GERRY                     FELDERMAN, JON                         FELDHAUSEN, TAMMY
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FELDHUSEN, KRYSTA                    FELDMAN, ALLISON                       FELDMAN, AMY
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FELDMAN, ANDREA                      FELDMAN, ANDREW                        FELDMAN, ASHLEY
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FELDMAN, DAVID                       FELDMAN, DEBBIE                        FELDMAN, GIT
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FELDMAN, JAYME                       FELDMAN, JENNIFER                      FELDMAN, JOSH
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FELDMAN, JOSHUA                      FELDMAN, JULIA                         FELDMAN, JULIANNE
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FELDMAN, KATHERINE                   FELDMAN, LAURA                         FELDMAN, LEAH
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FELDMAN, LINDSEY                     FELDMAN, LOIS                          FELDMAN, MADELINE
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FELDMAN, RAEANN                      FELDMAN, SHANA                         FELDMAYER, PAUL
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FELDMUS, JESSE        Case 22-11238-LSS    DocSASHA
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                                                                           FELDSTEIN, YOLANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FELDSTEIN, YOLANDA                   FELDT, PEGGY                           FELDT, TAYLOR
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FELEEN, EMILY                        FELGER, MARGARET                       FELICE, FRANK AND SAMANTHA
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FELICE, MELISSA                      FELICE, PATRICK                        FELICE, SARA
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FELICE, STEVE                        FELICETTI, SOPHIA                      FELICIA, ILON
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FELICIANO, AARON                     FELICIANO, EMILY                       FELICIANO, LAUREN
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FELICIANO, RAFI                      FELICIANO, ROBIN                       FELICIANO, ROSA
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FELICIANO, TEELA                     FELICIANO, YARIELIZ                    FELICIO, CAROL
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FELICITAS PIETRULLA                  FELIPE ZETTER MARTINEZ                 FELIPE, LEANNA
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FELIPE, MELANIE                      FELIPE, YAILYN                         FELIX GOMEZ, LILIS
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FELIX KASTNER         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           FELIX, BRITTNEY
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FELIX, CHERISE                       FELIX, EVELYN                          FELIX, JESSICA
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FELIX, KIM                           FELIX, LORRAINE                        FELIX, MANDY
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FELIX, MERCEDES                      FELIX, MICHAELA                        FELIX, MYRNA
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FELIX, SARA                          FELIX, VICTORIA                        FELIZ, CHRISTINA
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FELIZ, JENNIFER                      FELIZ, JOVANNA                         FELIZ, MARY
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FELIZ, VICTORIA                      FELIZARDO, SARA                        FELKER, ADRIA
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FELKER, AMBER                        FELKER, MIA                            FELKNER, NATALIE
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FELL, JOSEPH                         FELL, MEAGAN                           FELL, TAYLOR
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FELLER, CAMERON                      FELLER, LISA                           FELLER, MARION
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FELLINGER, WILLIAM    Case 22-11238-LSS
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FELLOWS, BRITTNEY                    FELLOWS, HEATHER                      FELLOWS, JILLIAN
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FELLOWS, JON                         FELLOWS, NICOLE                       FELLS, LETICIA
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FELLWOCK, LESLIE                     FELOCK, MATT                          FELSENFELD, MALLORIE
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FELSOCI MATTIA, MARGARET             FELT, ERIN                            FELT, KELLY
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FELTEN, KRISTINA                     FELTER, MAKENNA                       FELTERMAN, PARKER
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FELTES, EMILY                        FELTES, SARAH                         FELTON, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FELTON, JAMES                        FELTON, JAMES                         FELTON, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FELTON, MARY                         FELTON, SEAN                          FELTUS, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FELTY, TAYLOR                        FELUX, ERNIE AND MUZETTE              FEMALE COLLECTIVE, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1270 ADAMITE
                                                                           TERRACE HARBOR CITY, CA 90710
FENAUGHTY, DANIEL     Case 22-11238-LSS    DocANDREW
                                     FENDELMAN, 2 Filed 11/30/22      Page 1521 ofKAITLIN
                                                                           FENDER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENDER, KELLIE                       FENDERSON, LEESA                      FENERLIS, HELEN
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FENERTY, CAROLYN                     FENERTY, JEREMY                       FENG, JIASHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENG, JING                           FENG, NICHOLAS                        FENG, SHAZHOU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENG, SILVIA                         FENG, YIYI                            FENGEL, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENGER, ELISA                        FENILI, DANIELA                       FENIMORE, ARIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENING, SHANNON                      FENITY, ANDREW                        FENLEY, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENN, BRANDY                         FENN, NICK                            FENNELL, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENNELL, CHRISTINA                   FENNELL, ERIC                         FENNELL, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENNELL, JAMES                       FENNELL, KATHLEEN                     FENNELL, SAMANTHA
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FENNELL, TRISHA       Case 22-11238-LSS    Doc
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                                                                           FENNEMA, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENNEMA, SCOTT                       FENNEMAN, MOLLY                       FENNER, JESSICA
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FENNER, LARRY                        FENNER, PATRICIA                      FENNER, ULIANA
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FENNESSEY, CAITLIN                   FENNESSY, MEGHAN                      FENNEWALD, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENNINGTON, ILSE                     FENNINGTON, JACQUELINE                FENRICH, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENRICK, JOSEPH                      FENSEL, ALLISON                       FENSKE, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENSKE, PAUL                         FENSON, DANIELLE                      FENSTERMACHER, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENSTERMAKER, ANNETTE                FENSTERMAKER, LORI                    FENTE, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENTE, NATALIE                       FENTON, BETH                          FENTON, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENTON, ELAINE                       FENTON, JENIFER                       FENTON, KARIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FENTON, LEAH          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENTON, SAMANTHA                     FENTON, SCOTT                         FENTRESS, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FENTRESS, MICHELLE                   FENWICK & WEST LLP                    FENWICK, LAURA
ADDRESS AVAILABLE UPON REQUEST       SILICON VALLEY CENTER                 ADDRESS AVAILABLE UPON REQUEST
                                     801 CALIFORNIA STREET
                                     MOUNTAIN VIEW, CA 94041




FENYVES, WANDA                       FERA, ANDREA                          FERA, SUSANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FERAL AUDIO, LLC.                    FERAN, AMY                            FERARRA, SAL
1700 W. BURBANK BLVD.                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURBANK, CA 91506




FERBER, SONYA                        FERCHAW, JOYCE                        FERD, AVITAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FERDELLA, KIMBERLY                   FERDINAND, AMINISHA                   FERDINAND, VIANNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FERDINANDT, NATHAN                   FERDON, CORINNE                       FEREDE, DESTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FEREJOHN, NICOLE                     FERENC, JUSTYNA                       FERENCAK, DAWN
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FERENCHICK, RAINA                    FERENCZHALMY, TENA                    FERESHTEH, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FERGERSON, ALEX       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FERGUS, SAMANTHA                     FERGUSON, ALICIA                      FERGUSON, ALLYSON
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FERGUSON, ALY                        FERGUSON, ALYSSA                      FERGUSON, ANDREW
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FERGUSON, ANNA                       FERGUSON, ASHLI                       FERGUSON, ASTRID
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FERGUSON, AUDREY                     FERGUSON, BRUCE                       FERGUSON, CATHERINE
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FERGUSON, CATHERINE                  FERGUSON, CLAIRE                      FERGUSON, CONOR
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FERGUSON, CURTIS                     FERGUSON, D                           FERGUSON, DANIEL
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FERGUSON, DANIELLE                   FERGUSON, DIANE                       FERGUSON, ERIN
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FERGUSON, GINA                       FERGUSON, GRACE                       FERGUSON, GWYNNE
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FERGUSON, HALEY                      FERGUSON, HOLLY                       FERGUSON, JANIE
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FERGUSON, JASON       Case 22-11238-LSS    DocJAY
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FERGUSON, JILL                       FERGUSON, JOYCE                       FERGUSON, KALYN
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FERGUSON, KATHERINE                  FERGUSON, KATHRYN                     FERGUSON, KATIE
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FERGUSON, KATIE                      FERGUSON, KELLEY                      FERGUSON, KELLY
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FERGUSON, KELSEY                     FERGUSON, KERRI                       FERGUSON, KIMBALL
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FERGUSON, KRISTA                     FERGUSON, KRISTEN                     FERGUSON, KRISTYN
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FERGUSON, KRISTYN                    FERGUSON, KRYSTAL                     FERGUSON, LANDON
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FERGUSON, LANIE                      FERGUSON, LASHONNA                    FERGUSON, LESLIE
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FERGUSON, LINDSEY                    FERGUSON, LOGAN                       FERGUSON, MARCIA
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FERGUSON, MARLA                      FERGUSON, MEGAN                       FERGUSON, MEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FERGUSON, MICHAEL     Case 22-11238-LSS    DocMICHAEL
                                     FERGUSON,  2 Filed 11/30/22      Page 1526 of 5495
                                                                           FERGUSON, MICHELE
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FERGUSON, MOLLY                      FERGUSON, MONIQUE                     FERGUSON, MORGAN
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FERGUSON, NATASCHA                   FERGUSON, NEDRA                       FERGUSON, PATSY
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FERGUSON, PATTI                      FERGUSON, RACHEL                      FERGUSON, RACHEL
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FERGUSON, RACHEL                     FERGUSON, RENEE                       FERGUSON, RONDELL
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FERGUSON, SANDRA                     FERGUSON, STACEY                      FERGUSON, STEPHANIE
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FERGUSON, STEVEN                     FERGUSON, TARA                        FERGUSON, TIM
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FERGUSON, TORRES                     FERGUSON, VICTORIA                    FERGUSON, WADE
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FERGUSON, WILL                       FERGUSON, WILLIAM                     FERGUSSON, NELLA
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FERIANCEK, BETTY                     FERILLO, MEG                          FERIX, MANUEL
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FERKO, CHRISTY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FERKO, SARAH                     Page 1527  of REBECCA
                                                                           FERLAND, 5495
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FERLAUTO, KAREN                      FERLAZZO, HELEN                       FERM, DAVID
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FERMAINT, JESSICA                    FERMAINT, MARITZA                     FERMIN, ALEX
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FERMIN, JEFFREY                      FERMINS ULTIMATE PLUMB, INC           FERMINS ULTIMATE PLUMB, INC
ADDRESS AVAILABLE UPON REQUEST       21350 NORDHOFF STREET STE 116Q        8335 WINNETKA AVE 407
                                     CHATSWORTH, CA 91311                  WINNETKA, CA 91306




FERN, NICOLE                         FERNALD, KAITLYN                      FERNANDES, ALICE
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FERNANDES, MARCOS                    FERNANDES, MICHELLE                   FERNANDES, STEVEN
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FERNANDES, WENDY                     FERNANDEZ WILLIAMS, PRISCILLA         FERNANDEZ, ABIGAIL
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FERNANDEZ, ADAM                      FERNANDEZ, AMY                        FERNANDEZ, ANA
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FERNANDEZ, ANDRES                    FERNANDEZ, ANGELICA                   FERNANDEZ, BRITTANY
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FERNANDEZ, BRITTANY                  FERNANDEZ, BROOKE                     FERNANDEZ, CELESTE
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FERNANDEZ, CHRISTINE Case 22-11238-LSS    DocCLAUDIA
                                    FERNANDEZ, 2 Filed 11/30/22       Page 1528 of 5495
                                                                           FERNANDEZ, DOLORES
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FERNANDEZ, ELLA                      FERNANDEZ, EMILY                      FERNANDEZ, ERIN
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FERNANDEZ, EUGENIA                   FERNANDEZ, FABIOLA                    FERNANDEZ, FRANCHESKA
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FERNANDEZ, GABRIELA                  FERNANDEZ, GABY                       FERNANDEZ, GENESIS
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FERNANDEZ, GINA                      FERNANDEZ, GISELLE                    FERNANDEZ, GREER
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FERNANDEZ, HALEY                     FERNANDEZ, HELEN                      FERNANDEZ, ICELA
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FERNANDEZ, ISABELLA                  FERNANDEZ, IVETTE                     FERNANDEZ, JENNIFER
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FERNANDEZ, JESSE                     FERNANDEZ, JESSICA                    FERNANDEZ, JOSE
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FERNANDEZ, JOSE                      FERNANDEZ, JOSEPH                     FERNANDEZ, JUANA
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FERNANDEZ, JULIA                     FERNANDEZ, JULIANY                    FERNANDEZ, KATHLEEN
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FERNANDEZ, KAYLA      Case 22-11238-LSS    DocKIRSTIN
                                     FERNANDEZ, 2 Filed 11/30/22      Page 1529 of 5495
                                                                           FERNANDEZ, LARA
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FERNANDEZ, LARA                      FERNANDEZ, LESLYE                     FERNANDEZ, LOUISE
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FERNANDEZ, LOURDES                   FERNANDEZ, MANUEL                     FERNANDEZ, MARGARET
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FERNANDEZ, MARIO                     FERNANDEZ, MARITZA                    FERNANDEZ, MARTHA
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FERNANDEZ, MELIZA                    FERNANDEZ, MITCH                      FERNANDEZ, MONICA
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FERNANDEZ, MONIKA                    FERNANDEZ, MONSERRAT                  FERNANDEZ, NICHOLAS
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FERNANDEZ, PAMELA                    FERNANDEZ, PAMELA                     FERNANDEZ, RACHEL
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FERNANDEZ, RACHEL                    FERNANDEZ, RAQUEL                     FERNANDEZ, REBECCA
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FERNANDEZ, ROSA                      FERNANDEZ, SABINA                     FERNANDEZ, SANDRA
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FERNANDEZ, SARA                      FERNANDEZ, STACY                      FERNANDEZ, VICTOR
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FERNANDEZ, ZOE        Case 22-11238-LSS    Doc 2 Filed
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                                                                           FERNANDO FERNANDEZ CABA
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FERNANDO GONGORA                     FERNANDO, ANGELA                      FERNANDO, NICHOLAS
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FERNE, JENIFER                       FERNER, TAYLOR                        FERNG, ANNIE
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FERNO, SUSAN                         FERNS, JULIE                          FEROLI, CHRISTOPHER
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FERONG, DAVID                        FERONTI, STEPHANIE                    FERRACANE, KIMBERLY
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FERRAIOLO, DONNA                     FERRAIUOLO, BONNIE                    FERRAIUOLO, STEVE
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FERRALES, KRISTIN                    FERRALES, KRISTIN                     FERRAN, JON
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FERRAND, NICOLE                      FERRANDINO, CANDACE                   FERRANDO, TIA
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FERRANS, MARIANNE                    FERRANTE, CATHERINE                   FERRANTE, MARCELLO
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FERRANTE, MOLLY                      FERRANTE, STACIE                      FERRANTI, RENE
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FERRARA AT THE FOUR WINDS,    22-11238-LSS
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                                        FERRARA,    2 Filed 11/30/22
                                                 ANDREA                  Page 1531 of 5495
                                                                              FERRARA, BETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FERRARA, GABRIELLE                     FERRARA, JOSEPH                        FERRARA, KELLIE
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FERRARA, LEILA                         FERRARA, LORENA                        FERRARA, OLIVIA
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FERRARA, SUSAN                         FERRARI, AMANDA                        FERRARI, DANA
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FERRARI, ELIZABETH                     FERRARI, KIM                           FERRARI, RACHAEL
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FERRARI, RENY                          FERRARI, SARAH                         FERRARI, TRACY
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FERRARINI, JOHN                        FERRARO, BERNADETTE                    FERRARO, CAROL
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FERRARO, COURTNEY                      FERRARO, JEFF                          FERRARO, MICHELLE
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FERRARO, NICOLA                        FERRARO, SCOT                          FERRARO, STEPHANIE
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FERRAZ, ARAK                           FERRAZZANO, KELLY                      FERREBEE, ALEX
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FERREIRA, ALEXIS      Case 22-11238-LSS     Doc
                                     FERREIRA,   2 Filed 11/30/22
                                               BRADEN                 Page 1532  of 5495
                                                                           FERREIRA, CAMILA
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FERREIRA, CATARINA                   FERREIRA, GISELA                       FERREIRA, MACARENA
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FERREIRA, MARCOS                     FERREIRA, RANDI                        FERREIRA, RICARDO
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FERREIRA, RITA                       FERREIRA, SCOTT                        FERREIRA, TARA
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FERREIRA, YANIRA                     FERREIRA, ZACHERY                      FERREL, OLIVIA
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FERRELL, CYNTHIA                     FERRELL, DAELYNN                       FERRELL, NATTISHA
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FERRELL, PATRICK                     FERRELL, PHYLLIS                       FERRELL, RENNA
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FERRELL, RICHARD                     FERRELL, SARAH                         FERRELL, SARAH
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FERRELL, STEVEN                      FERRELL, TRICIA                        FERRELL-ARMSTRONG, STEPHANIE
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FERREN, CHASE                        FERRENCE, STACEY                       FERRER, DIANE
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FERRER, LILIANA       Case 22-11238-LSS
                                     FERRER,Doc 2 Filed 11/30/22
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                                                                           FERRER, 5495
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FERRERA, LUCIA                       FERRERAS, EZEQUIEL                    FERRERO, CATHENA
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FERRERO, GENO                        FERRERO, JIM & EVELYN                 FERRERO, KYLI
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FERRERO, VIRGINIA                    FERRETT, GABRIELLE                    FERRETT, MARILYN
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FERRETTE, HILARY                     FERRETTI, DANIELLE                    FERRETTI, MARYELLEN
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FERRETTI, MICHAEL                    FERRETTI, THOMAS                      FERRETTI, TRACY
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FERRETTO, ELISABETTA                 FERRI, JULIANNA                       FERRI, NICOLE
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FERRIE, ABIGAIL                      FERRIE, CHELSEA                       FERRIE, KELLIE
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FERRIE, PATRICK                      FERRIE, TIMOTHY                       FERRIER, DEANNA
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FERRIGAN, AMBER                      FERRIGNO, ANDREA                      FERRIGNO, ANNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FERRIGNO, CAROL       Case 22-11238-LSS    Doc
                                     FERRIGNO,    2 Filed 11/30/22
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                                                                           FERRIGNO, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FERRIGNO, ROCCO                      FERRILL, KAITLYN                       FERRIMAN, MALEAH
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FERRIN, AIDE                         FERRIS, BRYAN                          FERRIS, CHRISTIAN
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FERRIS, COLIN                        FERRIS, EVE                            FERRIS, JACKIE
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FERRIS, JERRY                        FERRIS, JONATHAN                       FERRIS, KAREN
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FERRIS, KEVIN                        FERRIS, MELINDA                        FERRIS, MIRANDA
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FERRIS, NENA                         FERRIS, REAGAN                         FERRIS, RICHARD
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FERRITER, JOEY                       FERRITER, MARITA                       FERRITER, MEGAN
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FERRITER, TRACEY                     FERRIZZ, MARYANN                       FERRO, CHRISTOPHER
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FERRO, ELLEN                         FERRO, KRISTEN                         FERRO, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FERROCONCRETE          Case 22-11238-LSS    Doc
                                      FERRONE,   2 Filed 11/30/22
                                               THOMAS                  Page 1535 of NICOLE
                                                                            FERRONI, 5495
1050 S. FLOWER STREET 139             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90015




FERRUZZI, JOSEPH                      FERRY, CHRISTINE                      FERRY, DIANA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FERRY, JAMES                          FERRY, JOE                            FERRY, JORDAN AND KATELYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FERRY, LESLIE                         FERRY-ROONEY, RAECHEL                 FERSH, DAVID
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FERSH, LYNN                           FERSHING, CARI                        FERTIG, JAMIE
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FERTITTA, ELLA                        FERTITTA, TOM                         FERTL, MICHAEL
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FERULLO, PATRICIA                     FERZOCO, CAITLIN                      FERZOCO, KARINA
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FESENKO, YULIIA                       FESER, MICHAELA                       FESI, LEAH
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FESPERMAN, ASHLYN                     FESSMAN, DONALD                       FESSY, NICOLE
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FESTA, AMY                            FESTA, CHRISTINA                      FESTA, SARAH
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FESTIN, INGRID        Case 22-11238-LSS    Doc 2BOBBIE
                                     FETHERSTON,     Filed 11/30/22   Page 1536  of 5495
                                                                           FETHIERE, MARIE-JEANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FETISH, SCENT                        FETIZANAN, ARLENE                      FETSKE, MARY
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FETT, MOIRA                          FETTER, AMY                            FETTER, ANGELIQUE
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FETTER, ASHLEIGH                     FETTER, KYLE                           FETTERMAN, JENNIFER
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FETTERMAN, SAMANTHA                  FETTERMAN, STACI                       FETTERMAN, SUSAN
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FETTERS, MITCHELL                    FETTIG, PAIGE                          FETTIG, TAYLOR
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FETTING, LYNN                        FETTINGER, EMILY                       FETZ, DEIDRE
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FETZER VINEYARDS                     FETZER, CATHERINE                      FETZER, JAMIE
12901 OLD RIVER ROAD                 ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HOPLAND, CA 95449




FETZER, STEPHANIE                    FETZER, TOM                            FEUCHT, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FEUDTNER, MARK                       FEUER, LAURIE                          FEUER, LEONARD
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FEUERBORN, PETER      Case 22-11238-LSS    DocALEXA
                                     FEUERMAN,  2 Filed 11/30/22        Page 1537 of 5495
                                                                             FEUERMAN, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FEUERSTEIN, CYNTHIA                  FEUERSTEIN, JENNA                       FEULING, STEVEN
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FEUREY, CAITLIN                      FEURICH, MELISSA                        FEURING, JODI
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FEVER, KATHLEEN                      FEVER, LAURA                            FEVRY, JULIAN
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FEVRY, JULIAN                        FEW DUCKS                               FEWELL, DECATUR
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FEWINS, ANNETTE                      FEWKES, COLIN                           FEY, KRISTINA
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FEY, KRISTY                          FEY, MICHAEL                            FEY, STEPH
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FEYERHERM, WILLIAM                   FIALA, ELIZABETH                        FIASCHI, YURI
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FICANO, MARGARET                     FICARA, ANTHONY                         FICARA, JOHN
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FICARRO, RYLIE                       FICERE, RAY                             FICHERA, NATALIE
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FICHTEL, ELISE        Case 22-11238-LSS       Doc 2 Filed 11/30/22
                                     FICK, JILLIAN                          Page 1538   of 5495
                                                                                 FICK, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




FICKEISEN, PETER                     FICKEN, PAMELA                              FICKER, URSA
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FICKES, JEANNIE                      FICKES, KELSEY                              FICKETT, DAVID
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FICKLEN, MORGAN                      FICORILLI, PATRICIA                         FIDANZA-LUSK, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




FIDDLER, ELIZABETH                   FIDELER, SARA                               FIDELIS, JAYKEL
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FIDELITY MANAGEMENT TRUST CO CUST    FIDELITY SECURITY LIFE INSURANCE            FIDLER, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       COMPANY                                     ADDRESS AVAILABLE UPON REQUEST
                                     C/O SPECIAL INSURANCE SERVICES, INC.
                                     DBA SISTEX IN
                                     PO BOX 250349
                                     PLANO, TX 75025-0349

FIDLER, MICA                         FIDLER, SHELBY                              FIDRIC, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




FIECK, LISA                          FIEDELMAN, TAMMY                            FIEDLER, JARED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




FIEDLER, SUMMER                      FIEDLER, VICKI                              FIEDOREK, CALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




FIEGE, TALIA                         FIEGER, MARIETTA                            FIELD, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
FIELD, AMANDA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FIELD, BRENDA                    Page 1539   of 5495
                                                                           FIELD, CALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELD, DANIELA                       FIELD, DAPHNE                         FIELD, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        C/O NATURAL MERHCANTS INC
                                                                           560-A NE F ST, 330
                                                                           GRANTS PASS, OR 97526




FIELD, EDWARD                        FIELD, EVAN                           FIELD, HANNA
C/O ROBERT WEINBERGER LAW PC         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ATTN ROBERT K WEINBERGER, ESQ
1340 E 6TH ST, STE 603
LOS ANGELES, CA 90021



FIELD, JANE                          FIELD, JENNIFER                       FIELD, JOSEPHINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELD, KATHLEEN                      FIELD, MAUREEN                        FIELD, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELD, STEPHANIE                     FIELD, THOMAS                         FIELDER, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDING, DONALD                     FIELDING, JENNY                       FIELDING, NANCYJO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDING, ZORINA                     FIELDS, ANGELA                        FIELDS, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, BRITTANY                     FIELDS, BRITTANY                      FIELDS, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, CASSANDRA                    FIELDS, CHRISTINE                     FIELDS, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FIELDS, COREY         Case 22-11238-LSS
                                     FIELDS, Doc 2 Filed 11/30/22
                                             DARRELL                  Page 1540
                                                                           FIELDS,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, ERICA                        FIELDS, HANNAH                        FIELDS, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, JESSICA                      FIELDS, JULIA                         FIELDS, KIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, LAURA                        FIELDS, LAUREN                        FIELDS, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, LISA                         FIELDS, LISA                          FIELDS, LORETTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, LUCINDA                      FIELDS, MAI                           FIELDS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, MICHAEL                      FIELDS, MORGAN                        FIELDS, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, NINA                         FIELDS, RAE                           FIELDS, RAECHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, REBECCA                      FIELDS, ROBERT                        FIELDS, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIELDS, SARA                         FIELDS, SHELBY                        FIELDS, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FIELDS, TAYLOR        Case 22-11238-LSS
                                     FIELDS, Doc
                                             TONYA2  Filed 11/30/22   Page 1541  of 5495
                                                                           FIELDSETH, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIELDS-JACKSON, ELIZABETH            FIELDSTONE, MICHAEL                    FIELS, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIEN, REBECCA                        FIENHOLD, URSULA                       FIENI, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIERLE, HANNAH                       FIERO, AUDREY                          FIEROH, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIERRO, JILL                         FIERRO, NICOLE                         FIERRO, NOREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIERRO, NOREEN                       FIERRO, PAM                            FIERRO, PATTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIERRO, SAMUEL                       FIESER, LEAH                           FIESER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIESTA, JESSICA                      FIEVISOHN, LAUREN                      FIEWEGER, JOLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIFE, BILL                           FIFE, BRENDAN                          FIFE, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIFE, HAYLEY                         FIFER, JOCELYN                         FIFIELD, ALETHEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FIFIELD, BROOKE       Case 22-11238-LSS
                                     FIFIELD, Doc 2 Filed 11/30/22
                                              KAREN                        Page 1542   of 5495
                                                                                FIFTH HILL, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              185 WILKING WAY
                                                                                 SONOMA, CA 95476




FIFTH THIRD BANK THE (2116)             FIGANIAK, JAMES                          FIGARD, APRIL
ATTN CARRIE POTTER OR PROXY DEPT        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
5001 KINGSLEY DR
MAIL DROP 1M0B2D
CINCINNATI, OH 45227



FIGEROID, HAYLEY                        FIGETAKIS, MARIA                         FIGG, SANDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FIGGATT, THOMAS                         FIGIEL, JEANINE                          FIGJAM 401K TRUST
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FIGLER, AVIVA                           FIGLEY, TYLER                            FIGLIA, SANTO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FIGLIOLINI, AMANDA                      FIGLIOMENI, AMY                          FIGLIOMENI, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FIGMA                                   FIGNOLE, KENNISHA                        FIGUEIRA, ERIKA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FIGUEIREDO, MCKENZIE                    FIGUEIREDO, SARA                         FIGUERAS, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FIGUEREO, GABRIELA                      FIGUEROA MOUNTAIN                        FIGUEROA, AARON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, ADRIAN                        FIGUEROA, AIDEN                          FIGUEROA, ANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FIGUEROA, ANGELIQUE   Case 22-11238-LSS    Doc
                                     FIGUEROA,   2 Filed 11/30/22
                                               ANNABEL                Page 1543  of 5495
                                                                           FIGUEROA, AUGUSTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, BARBARA                    FIGUEROA, BRENDA                       FIGUEROA, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, DEB                        FIGUEROA, DIANA                        FIGUEROA, ELIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, EVITA                      FIGUEROA, GABRIELLA                    FIGUEROA, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, JOHNNY                     FIGUEROA, JOY                          FIGUEROA, KAI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, KONNIE                     FIGUEROA, LARA                         FIGUEROA, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, MICHAEL                    FIGUEROA, MICHELLE                     FIGUEROA, MILITZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, RAYMOND                    FIGUEROA, RIVA                         FIGUEROA, STACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGUEROA, TASHA                      FIGUEROA, VANESSA                      FIGUEROA, VIANCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIGULA, LINDA                        FIKANY, JASMINE                        FIKE, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FIKE, MELISSA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FIL, VERONICA                      Page 1544   of 5495
                                                                             FIL, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FILAK, VINCENT                       FILALI-ADIB, YASMINE                    FILAND, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FILANDER, MICHAEL                    FILAR, ANNE                             FILARDO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FILARECKI, RENATA                    FILD INC                                FILEMYR, KATIE
ADDRESS AVAILABLE UPON REQUEST       830 S. SEPULVEDA BLVD. SUITE 206        ADDRESS AVAILABLE UPON REQUEST
                                     EL SEGUNDO, CA 90245




FILES, BRENDA                        FILES, KESHELL                          FILETA, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FILETTI, JACKIE                      FILIATRAULT, DENISE                     FILIAULT, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FILIBERTO NOLASCO                    FILIMON, AUDREY                         FILING FEES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




FILIP AND MURPHY, JACK AND OWEN      FILIP, ELAINE                           FILIPE PEERALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FILIPESCU, BRI                       FILIPIAK, MADELEINE                     FILIPOVA, ELENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FILIPOVITCH, DEBORAH                 FILIPOW, TARYN                          FILIPOWICZ, KENYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FILIPPI, ISABELLA     Case 22-11238-LSS       Doc 2 Filed 11/30/22
                                     FILIPPI, JENNIFER                  Page 1545
                                                                             FILIPPO,of 5495
                                                                                      ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FILIPPONE, ANN                       FILKINS, ZACH                            FILL, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FILLBRANDT, JEFFREY                  FILLER, ROBYN                            FILLIMAN, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FILLINGER, JAMIE                     FILLION, ELISSA                          FILLIPPO, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FILLIPUCCI, MARY                     FILLMORE, SHANNON                        FILLMORE, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FILLPOT, BRIANNA                     FILMTOOLS                                FILO, ALLYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




FILORETO, NICK                       FILOSA, JAMIE                            FILOUS, SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FILS, NICOLE                         FILS-AIME, MATTHEW                       FILSON, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FILTER, JILL                         FIMBRES, JENNIFER                        FIMBRES, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FIMRITE, CARRIE                      FINAMORE, NANCY                          FINAN, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FINAN, THOMAS         Case 22-11238-LSS     Doc
                                     FINANCIAL   2 FiledFOUNDATION
                                               ACCOUNTING  11/30/22 Page 1546    of 5495
                                                                           FINANCIAL ACCOUNTING STANDARDS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING BOARD/
                                                                           GOVERNMENTAL ACCOUNTING STANDARD
                                                                           BOARD
                                                                           401 MERRITT 7
                                                                           NORWALK, CT 06856-5116

FINC, RAIA                           FINCH, ALYSSA                        FINCH, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




FINCH, EMILY                         FINCH, EMILY                         FINCH, JACQUI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




FINCH, JADE                          FINCH, JOSH                          FINCH, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




FINCH, KRISTEN                       FINCH, LAUREN                        FINCH, LORI LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




FINCH, LYNN                          FINCH, MARGARET                      FINCH, PHYLLIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




FINCH, SHAINA                        FINCH, STEPHANIE                     FINCHAM, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




FINCHER, ASHLEY                      FINCHER, CAROLYN                     FINCHER, DUSTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




FINCHER, JOSHUA                      FINCK, JESSICA                       FINCK, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




FIND YOUR INFLUENCE INC.             FINDEISEN, HUDSON                    FINDEISEN, HUDSON
653 W HONEYSUCKLE DR                 ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST
CHANDLER, AZ 85248-3843
FINDEISEN, MACKENZIE  Case 22-11238-LSS
                                     FINDLAY,Doc 2 Filed 11/30/22
                                              MALLORY                 Page 1547  ofMEGAN
                                                                           FINDLAY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINDLAY, MIA                         FINDLEN, DECLAN                       FINDLETAR HINES, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINDLEY, ABBY                        FINDLEY, CAITLIN                      FINDLEY, CHARLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINDLEY, GEORGE                      FINDLEY, MICHAEL                      FINDLEY, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINDON, ABBY                         FINE TERROIR SELECTIONS, LLC.         FINE VINTAGE LLC
ADDRESS AVAILABLE UPON REQUEST       34 EAST PUTNAM AVE. SUITE 100         ADDRESS UNAVAILABLE AT TIME OF FILING
                                     GREENWICH, CT 06830




FINE, AMANDA                         FINE, ANDREW                          FINE, BILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINE, FELISA                         FINE, GARY                            FINE, HOWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINE, JEAN                           FINE, JOSH                            FINE, RHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINEBERG, AMANDA                     FINEGAN, ALEX                         FINEGAN, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINELINE                             FINELLI, LYNNE                        FINELLI, STEPHEN
601 W 48TH AVE                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80216
FINER, LIZABETH       Case 22-11238-LSS     Doc
                                     FINERAN,    2 Filed 11/30/22
                                              BETH                    Page 1548  of 5495
                                                                           FINFROCK, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINFROCK, CELIA                      FINFROCK, RICHEL                       FINGER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINGER, LINDSEY                      FINGER, RICHARD                        FINGER, TEVYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINGERHUT, ESTHER                    FINGLASS, ESTHER                       FINIGAN, CAVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINK, BETHANY                        FINK, CAITLIN                          FINK, CATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINK, CHRISTOPHER                    FINK, DAVID                            FINK, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINK, JAREN                          FINK, JESSICA                          FINK, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINK, JOSLYN                         FINK, KARA                             FINK, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINK, LAURA                          FINK, MADELEINE                        FINK, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINK, NICOLE                         FINK, PHYLLIS                          FINK, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FINK, RUSSELL         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FINK, SARAH                      Page 1549   of 5495
                                                                           FINK, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINKBINER, JAKE                      FINKE, ASHLEY                         FINKE, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINKEL, MARCIA                       FINKELSTEIN, ELAINA                   FINKELSTEIN, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINKELSTEIN, LIA                     FINKELSTEIN, MARIAH                   FINKELSTEIN, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINKELSTEIN, TATYANA                 FINKEN, KAROLINE                      FINKENAUER, ANNA.@GMAIL.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINKLE, ALLAN                        FINKLE, DUSTIN                        FINKLE, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINKLER, BRUCE                       FINKS, CONNOR                         FINLAY, CATYLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLAY, JESSICA                      FINLAY, JOHN                          FINLAYSON, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLAYSON, ROBIN                     FINLAYSON, STACIE                     FINLEON, MARIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLEY, ASHLEY                       FINLEY, CAROLYN                       FINLEY, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FINLEY, DAVE          Case 22-11238-LSS
                                     FINLEY, Doc
                                             FRANK2  Filed 11/30/22   Page 1550
                                                                           FINLEY,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLEY, HEIDI                        FINLEY, JANICE                        FINLEY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLEY, JENNIFER                     FINLEY, JORDAN                        FINLEY, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLEY, KAWANA                       FINLEY, KIRK                          FINLEY, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLEY, MARTHA                       FINLEY, MICHAEL                       FINLEY, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLEY, MORGAN                       FINLEY, PAIGE                         FINLEY, ROBBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINLEY, SARAH                        FINLEY-DAVIS, LYNN                    FINN, ABBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINN, ALEX                           FINN, ANDREW                          FINN, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINN, CLAUDIA                        FINN, DAVID                           FINN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FINN, JUDITH                         FINN, KELLI                           FINN, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FINN, LORRAINE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FINN, MAIRIN                     Page 1551   of 5495
                                                                           FINN, MARYCLARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINN, MATTHEW                        FINN, MAXWELL                          FINN, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINN, NEIL                           FINN, RAQUEL                           FINNEFROCK, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINNEGAN, AUBREY                     FINNEGAN, BRENDAN                      FINNEGAN, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINNEGAN, ERIN                       FINNEGAN, ERIN                         FINNEGAN, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINNEGAN, KRISTIN                    FINNEGAN, LAUREN                       FINNEGAN, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINNEGAN, MALLORY                    FINNEGAN, MARY                         FINNEGAN, MICHELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINNEGAN, PAM                        FINNEGAN, PATRICK                      FINNEGAN, TERENCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FINNEGAN.MEGANGMAIL.COM, MEGAN       FINNELL, ELIZABETH                     FINNEMAN, SHELLEY
GENTILE                              ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ADDRESS AVAILABLE UPON REQUEST




FINNERAN, SARA                       FINNERN, MARY                          FINNERTY, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FINNERTY, AMANDA      Case 22-11238-LSS     Doc
                                     FINNERTY,    2 Filed 11/30/22
                                               BRIDGET                  Page 1552  of 5495
                                                                             FINNERTY, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FINNERTY, MEGHAN                     FINNERTY, TONY                           FINNEY, BREANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FINNEY, CAROLINE                     FINNEY, COLLEEN                          FINNEY, GILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FINNEY, JENNY                        FINNEY, MEG                              FINNEY, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FINNEY, SUZANNE                      FINNIE FAMILY TRUST                      FINNIE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FINNIE, ROBIN                        FINN-MCLAUGHLIN, CHRISTINE               FINOCCHIARO, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FINOCCHIARO, CAROLYN                 FINS RESTAURANT                          FINTECH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    3109 W DR MARTIN LUTHER KING JR BLVD
                                                                              SUITE 200
                                                                              TAMPA, FL 33607




FINUCANE, ALEXIS                     FINUCANE, CATHERINE                      FINUCANE, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FINZEL, ALLISON                      FINZEL, KELLEY                           FINZI, ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FIOLEK, MARGARET                     FIONA BRESLIN                            FIONA HORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FIORANI, ROBERT       Case 22-11238-LSS    Doc
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                                                                           FIORE DESIGNS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




FIORE JR, SALVATORE                  FIORE, ANTHONY                        FIORE, ANTONIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIORE, BRIDGET                       FIORE, KARI                           FIORE, KATI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIORE, KELLY                         FIORE, PAIGE                          FIORELLA, MARGARET
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FIORELLA, RICH                       FIORELLI, MARY                        FIORENTINO, NICHOLE
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FIORENZA, STEFANIA                   FIORETTI, LISA                        FIORI, RACHAEL
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FIORI, RACHEL                        FIORI, SARAH                          FIORICA, DEBORAH
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FIORILLE, KATIE                      FIORILLO, MARY KATHRYN                FIORINA, LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FIORINO, ALESSANDRA L.               FIORITO, ELISSA                       FIORITO, MEGAN
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FIRCHA, JANEL                        FIREBAUGH, LAUREN                     FIREMAN, ROBIN
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FIREOVED, KATIE       Case 22-11238-LSS     DocADAM
                                     FIRESTONE, 2 Filed 11/30/22         Page 1554  of 5495
                                                                              FIRESTONE, CAROLYN
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FIRGENS, CARYSSA                     FIRKSER, GAIL                             FIRKUS, GRIFFIN
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FIRLUS, WHITNEY                      FIRMAN, CHELSIE                           FIRME, JESSICA
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FIRRELLO, GABRIELLE                  FIRSCHING, CHRISTINA                      FIRSHT, ELANA
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FIRST APEX INTERNATIONAL             FIRST IN PRINT                            FIRST INSURANCE FUNDING CORPORATION
721 N. VULCAN AVE. SUITE 106         8515 BAYMEADOWS WAY, STE 102              450 SKOKIE BLVD., STE. 1000
ENCINITAS, CA 92024                  JACKSONBILLE, FL 32256                    NORTHBROOK, IL 60062-7917




FIRST MEDIATION CORPORATION          FIRST MEDIATION CORPORATION               FIRST MIRACLE, LLC
16501 VENTURA BLVD., SUITE 606       633 WEST FIFTH STREET, 52ND FLOOR         (ADVINTAGE WINE DISTRIBUTING)
ENCINO, CA 91436                     LOS ANGELES, CA 90071                     9570 WILLIAM AIKEN AVE.
                                                                               LADSON, SC 29456




FIRST, NICHOLAS                      FIRSTER, LINDSAY                          FIRTH, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




FIRTH, KYLE                          FISCH, SARA                               FISCH, SUSANNA
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FISCHER, AMANDA                      FISCHER, AMANDA                           FISCHER, ANDREW
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FISCHER, BARB                        FISCHER, BRENDAN                          FISCHER, BRITTANY
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FISCHER, CARL         Case 22-11238-LSS     Doc
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FISCHER, CHRISTINE                   FISCHER, CHRISTY                       FISCHER, COURTNEY
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FISCHER, DANIEL                      FISCHER, DEBORAH                       FISCHER, EDIE
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FISCHER, EMILY                       FISCHER, EMILY                         FISCHER, JARED
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FISCHER, JEFFREY                     FISCHER, JEN                           FISCHER, JENNY
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FISCHER, JILLIAN                     FISCHER, JOSHUA                        FISCHER, JOSHUA
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FISCHER, JULIE                       FISCHER, KAI                           FISCHER, KAREN
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FISCHER, KAT                         FISCHER, KATIE                         FISCHER, KELLIE
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FISCHER, LAURA                       FISCHER, MADDIE                        FISCHER, MARIA
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FISCHER, MEL                         FISCHER, NATALIE                       FISCHER, NIKKI
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FISCHER, QUINN        Case 22-11238-LSS     Doc
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FISCHER, SAMANTHA                    FISCHER, SAMANTHA                     FISCHER, SARA
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FISCHER, SARAH                       FISCHER, SHELBY                       FISCHER, TAYLOR
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FISCHETTI, ELIZABETH                 FISCHETTI, MARISA                     FISCHETTI, MATTHEW
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FISCHGRUND, MICHELLE                 FISCHLE, BRIAN                        FISCHLER, MEREDITH
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FISCHLER, MEREDITH                   FISCHOFF, RACHEL                      FISCO, MAX
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FISCUS, MEGAN                        FISER, CASSIDY                        FISH, ALEXANDRA
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FISH, AMBER                          FISH, CORINNE                         FISH, ELIZABETH
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FISH, EMILY                          FISH, HAROLD                          FISH, HEATHER
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FISH, JESSEE                         FISH, JORDAN                          FISH, MEGAN
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FISH, SARA            Case 22-11238-LSS    Doc 2
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FISHBURNE, KIMBERLY                  FISHER MAURER, ARLENE                  FISHER SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FISHER, ALAINA                       FISHER, ALEXANDRIA                     FISHER, AMANDA
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FISHER, AMY                          FISHER, ANDREA                         FISHER, ANGELA
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FISHER, ANN                          FISHER, ANTHONY                        FISHER, ASHLEY
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FISHER, ASHLEY                       FISHER, ASHLEY                         FISHER, BETTY
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FISHER, BRANDON                      FISHER, BRITTNEY                       FISHER, BRITTNY
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FISHER, BRYANNA                      FISHER, CASSI                          FISHER, CINDY
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FISHER, CLIFFORD                     FISHER, COLLEEN                        FISHER, CRAIG
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FISHER, CYNDY                        FISHER, DARYAN                         FISHER, DENISE
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FISHER, DUSTY         Case 22-11238-LSS
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FISHER, ELISE                        FISHER, ELISE                         FISHER, ERIKA
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FISHER, ERIKA                        FISHER, HALEY                         FISHER, HEATHER
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FISHER, IGNACIA                      FISHER, JACQUELINE                    FISHER, JAKLYN
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FISHER, JAMES                        FISHER, JAMIE                         FISHER, JANET
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FISHER, JENN                         FISHER, JENNIFER                      FISHER, JENNIFER
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FISHER, JENNIFER                     FISHER, JESSICA                       FISHER, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FISHER, JOE                          FISHER, JOHN                          FISHER, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FISHER, JULIE                        FISHER, JULIE                         FISHER, JULIE
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FISHER, KAREN R                      FISHER, KAREN                         FISHER, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FISHER, KATHERINE     Case 22-11238-LSS
                                     FISHER, Doc 2 Filed 11/30/22
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                                                                           FISHER,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FISHER, KAYLA                        FISHER, KEITH                          FISHER, KELI
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FISHER, KELLY                        FISHER, KENDALL                        FISHER, KERI
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FISHER, KRISTIN                      FISHER, LAURE                          FISHER, LINDSAY
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FISHER, LINDSAY                      FISHER, LYDIA                          FISHER, LYNN
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FISHER, MADISON                      FISHER, MAGGIE                         FISHER, MAGGIE
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FISHER, MARK                         FISHER, MEGHAN                         FISHER, MELISSA
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FISHER, MELISSA                      FISHER, MERIDETH                       FISHER, NICHOL
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FISHER, NICOLAS                      FISHER, PAMELA                         FISHER, PAT
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FISHER, PATRICIA                     FISHER, RACHEL                         FISHER, RACHEL
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FISHER, RILEY         Case 22-11238-LSS
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                                                                           FISHER,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FISHER, ROSEANN                      FISHER, ROSS                          FISHER, SAMANTHA
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FISHER, SARA                         FISHER, SARAH                         FISHER, SARAH
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FISHER, SHARON                       FISHER, STEPHANIE                     FISHER, TAMARA
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FISHER, THERESA                      FISHER, TINA                          FISHER, TONI
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FISHER, TREY                         FISHER, VANESSA                       FISHER, WENDY
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FISHER, WILLIAM                      FISHER, ZACK                          FISHER, ZOE
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FISHMAN, CHALLYN                     FISHMAN, JAMES                        FISHMAN, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FISHMAN, LIORA                       FISHMAN, STEPHEN                      FISHMAN, YELENA
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FISHMAN, ZOE                         FISHWICK, DEBRA                       FISHWICK, STEPHANIE
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FISK, DANIEL          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FISK, MIKE                       Page 1561   of 5495
                                                                           FISK, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FISKE, MARY                          FISKE, OLIVIA                         FISKETJON, HALL
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FITCH, ANDREW                        FITCH, BRAD                           FITCH, CHELSEA
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FITCH, ELIZABETH                     FITCH, JAMES                          FITCH, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FITCH, RACHAEL                       FITCH, TODD                           FITCH, WESTLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FITCHETT, NONA                       FITCHETT, SYDNEY                      FITCHETTE, SHANITA
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FITCHIE, ERIN                        FITE, KAITI                           FITE, VANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FITGURLMEL LLC                       FITHIAN, ELIZABETH                    FITHIAN, LAURA
844 MILWOOD AVE.                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VENICE, CA 90291




FITING, ELIZABETH                    FITO, J                               FITORIA, LYDIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FITTERER, HOLLY                      FITTERER, MARY                        FITTES, STEVEN P
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FITTIN, NORA          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITTON, LENORA                       FITTRO, JUSTIN                         FITTS, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITTS, LAUREN                        FITTS, LEONARD                         FITZ, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZ, ALLISON                        FITZ, MADISON                          FITZ-AMADO, CHANTELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZELL, LISA                        FITZGERALD, ABBY                       FITZGERALD, ALEXANDRA
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FITZGERALD, ALISON                   FITZGERALD, ALLISON                    FITZGERALD, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZGERALD, AMY                      FITZGERALD, ANDREA                     FITZGERALD, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZGERALD, BARRY                    FITZGERALD, BETHANY                    FITZGERALD, CAITLIN
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FITZGERALD, CARTER                   FITZGERALD, CARTER                     FITZGERALD, CINDY
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FITZGERALD, COLLEEN                  FITZGERALD, COLLEEN                    FITZGERALD, CONOR
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FITZGERALD, CONOR     Case 22-11238-LSS     Doc DAMIAN
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                                                                           FITZGERALD, DANIEL
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FITZGERALD, EDWARD                   FITZGERALD, EDWARD                     FITZGERALD, ELIZABETH
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FITZGERALD, ELLA                     FITZGERALD, ERIN                       FITZGERALD, ERIN
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FITZGERALD, ERIN                     FITZGERALD, FIONA                      FITZGERALD, FRANK
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FITZGERALD, HALEY                    FITZGERALD, HANNAH                     FITZGERALD, JAMES
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FITZGERALD, JENNIFER                 FITZGERALD, JOHN                       FITZGERALD, JOHN
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FITZGERALD, JONATHAN                 FITZGERALD, JUSTIN                     FITZGERALD, KAITLYN
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FITZGERALD, KATE                     FITZGERALD, KATE                       FITZGERALD, KATHERINE
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FITZGERALD, KATHERINE                FITZGERALD, KATIE                      FITZGERALD, KELLEY
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FITZGERALD, LACEY                    FITZGERALD, LAUREN                     FITZGERALD, LAUREN
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FITZGERALD, LAUREN    Case 22-11238-LSS     Doc LAUREN
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FITZGERALD, LINDSAY                  FITZGERALD, MADELINE                   FITZGERALD, MAKENZIE
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FITZGERALD, MARNIE                   FITZGERALD, MARY                       FITZGERALD, MEGAN
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FITZGERALD, MEGHAN                   FITZGERALD, MEGHAN                     FITZGERALD, MICHAEL
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FITZGERALD, NANCY                    FITZGERALD, NEIL                       FITZGERALD, NICHOLAS
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FITZGERALD, PAM                      FITZGERALD, PHILIP                     FITZGERALD, ROB
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FITZGERALD, RUSSELL                  FITZGERALD, RYAN                       FITZGERALD, SARA
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FITZGERALD, SHAUNTA                  FITZGERALD, TEAYA                      FITZGERALD, TERESA
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FITZGERALD, TRISH                    FITZGERALD, TURQUOISE                  FITZGIBBONS, KELLY
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FITZGIBBONS, MEGHAN                  FITZHARRIS, CAITLIN                    FITZHENRY, LAURA
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                                     FITZHUGH,   2 Filed 11/30/22
                                               BRIDGETTE              Page 1565  of 5495
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FITZHUGH, STACY                      FITZMARTIN, TORI                       FITZMAURICE, ELIZABETH
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FITZMAURICE, ERIN                    FITZMAURICE, KATHERINE                 FITZMAURICE, LENAE
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FITZMAURICE, SHEILA                  FITZPATRICK, ADRIENNE                  FITZPATRICK, ANGELA
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FITZPATRICK, ASHLEY                  FITZPATRICK, BRIAN                     FITZPATRICK, BRIAN
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FITZPATRICK, BRIANNE                 FITZPATRICK, CASEY                     FITZPATRICK, CONNIE
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FITZPATRICK, CONNOR                  FITZPATRICK, DANIELLE                  FITZPATRICK, DARON
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FITZPATRICK, EDWARD                  FITZPATRICK, JACQUELINE                FITZPATRICK, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZPATRICK, JOHN                    FITZPATRICK, JOHN                      FITZPATRICK, KALEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZPATRICK, KATHLEEN                FITZPATRICK, KATRINA                   FITZPATRICK, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FITZPATRICK, KELLY    Case 22-11238-LSS     Doc KEVIN
                                     FITZPATRICK, 2 Filed 11/30/22    Page 1566  of 5495
                                                                           FITZPATRICK, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZPATRICK, MARIA                   FITZPATRICK, MARIA                     FITZPATRICK, MARY
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FITZPATRICK, MEGAN                   FITZPATRICK, MICHELLE                  FITZPATRICK, MORGAN
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FITZPATRICK, NICOLE                  FITZPATRICK, REBECCA                   FITZPATRICK, ROBIN
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FITZPATRICK, SHANNON                 FITZPATRICK, SHANON                    FITZPATRICK, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZPATRICK, TIM                     FITZPATRICK, VICTORIA                  FITZPATRICK, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZPATRICK-BURKE, KELLY             FITZSIMMONS, APRIL                     FITZSIMMONS, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZSIMMONS, EMILY                   FITZSIMMONS, EMMA                      FITZSIMMONS, JANITA
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FITZSIMMONS, JODI                    FITZSIMMONS, JONI C                    FITZSIMMONS, KAREN
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FITZSIMMONS, KATELYN                 FITZSIMMONS, MEGAN                     FITZSIMMONS, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FITZSIMMONS, SEAN     Case 22-11238-LSS     DocCHEYENNE
                                     FITZSIMONS, 2 Filed 11/30/22     Page 1567  of 5495
                                                                           FITZWATER, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FITZWILLIAMS-HECK, CINDY             FIUMARA, LAUREN                        FIVEASH, AUTUMN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIVETRAN, INC.                       FIVEY, SAMSON                          FIX, CHELSEY
405 14TH STREET, SUITE 1100          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
OAKLAND, CA 94612




FIX, JESSICA                         FIX, MELISSA                           FIXEN, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FIZBIZ                               FIZEL, KALI                            FJERRY LLC
5023 N. PARKWAY                      ADDRESS AVAILABLE UPON REQUEST         112 BOWERY STREET, 4TH FLOOR
CALABASAS, CA 91302                                                         NEW YORK, NY 10013




FL DEPT OF REVENUE                   FLACCAVENTO, MICHAEL                   FLACCO, VAL
5050 WEST TENNESSEE STREET           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TALLAHASSEE, FL 32399




FLACH, EMILY                         FLACK, MARY                            FLACKS, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLAGAN, LINDSAY                      FLAGE, BETHANY                         FLAGG, BILL
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FLAGG, CHRISTOPHER                   FLAGG, JENNIFER                        FLAGG, KELLY
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FLAGG, NATASHA                       FLAGG, ROBERT                          FLAGG, WILLIAM
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FLAGLE, NANCY         Case 22-11238-LSS    Doc
                                     FLAGLER,    2 Filed 11/30/22
                                              LAURA                   Page 1568  of 5495
                                                                           FLAGSTAD, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLAHART, MELISSA                     FLAHERTY & OHARA, PC                   FLAHERTY, ALANNAH
ADDRESS AVAILABLE UPON REQUEST       610 SMITHFIELD ST, SUITE 300           ADDRESS AVAILABLE UPON REQUEST
                                     PITTSBURGH, PA 15222




FLAHERTY, ALLYSSA                    FLAHERTY, ASHLYN                       FLAHERTY, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLAHERTY, BRIDGET                    FLAHERTY, CAITLIN                      FLAHERTY, CONNOR
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FLAHERTY, DARCY                      FLAHERTY, GRACE                        FLAHERTY, ISA
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FLAHERTY, JAMIE                      FLAHERTY, JENNIFER                     FLAHERTY, KAREN
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FLAHERTY, KELLY                      FLAHERTY, MARTHA                       FLAHERTY, MAURA
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FLAHERTY, MAURA                      FLAHERTY, MAUREEN                      FLAHERTY, MEGHAN
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FLAHERTY, RORY                       FLAHERTY, SADIANNA                     FLAHERTY, SKYLER
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FLAHERTY, TERRI                      FLAHERTY, THERESA                      FLAHERTY, VALERIE
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FLAHERTY, VERONICA ALEXCase 22-11238-LSS
                                      FLAHIVE,Doc 2 Filed 11/30/22
                                               SHARON                  Page 1569   of 5495
                                                                            FLAIG, EMILY
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FLAIGLE, HAROLD                       FLAIM, DEVON                          FLAK, DANIEL
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FLAKE, BARBARA                        FLAKE, JASMINE                        FLAKE, MANDI
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FLAM, JUSTIN                          FLAMBERG, GWEN                        FLAMIG, MAKISHA
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FLAMIO, NIKKI                         FLAMMER, KATIE                        FLAMPOURIS, STYLIANOS
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FLANAGAN, AMBER                       FLANAGAN, ANDREA                      FLANAGAN, ANGELA
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FLANAGAN, BAILEY                      FLANAGAN, BERNADETTE                  FLANAGAN, BRADLEY
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FLANAGAN, CAT                         FLANAGAN, CATHERINE                   FLANAGAN, CLAIRE
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FLANAGAN, ERIN                        FLANAGAN, ERINN                       FLANAGAN, HEIDI
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FLANAGAN, JAMES                       FLANAGAN, JANET                       FLANAGAN, JENNA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLANAGAN, JENNA       Case 22-11238-LSS    DocJESSICA
                                     FLANAGAN,  2 Filed 11/30/22      Page 1570  of 5495
                                                                           FLANAGAN, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLANAGAN, KELLIE                     FLANAGAN, KRISTA                       FLANAGAN, KRISTEN
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FLANAGAN, LISA                       FLANAGAN, LUCY                         FLANAGAN, MADELINE
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FLANAGAN, MEG                        FLANAGAN, OWEN                         FLANAGAN, PAMELA
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FLANAGAN, ROSEMARIE                  FLANAGAN, SARAH                        FLANAGAN, STEPHANIE
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FLANAGAN, THOMAS                     FLANAGAN, VIRGINIA                     FLANAGIN, TAYLOR
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FLANDERS, BRANDON                    FLANDERS, MARISSA                      FLANDERS, NICHOLAS
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FLANERY, JULIE                       FLANERY, LAUREN                        FLANERY, MATT
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FLANIGAN, JESSICA                    FLANIGAN, KENLY                        FLANIGAN, MARY
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FLANIGAN, RACHEL                     FLANIGAN, TOREY                        FLANNAGAN, BRIDGET
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FLANNERY, DANA        Case 22-11238-LSS    Doc
                                     FLANNERY,   2 Filed 11/30/22
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                                                                              FLANNERY, KAROL
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FLANNERY, KATELYN                       FLANNERY, PAGE                        FLANNERY, SHANNON
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FLANNERY, THOMAS                        FLANNIGAN, STACY                      FLANSBURG, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLANSBURG, KELLY                        FLANSBURG, SARA                       FLANZ, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLASHLIGHTS                             FLASPOHLER, CHRISTINE                 FLATAU, DAVID
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLATEN, TIFFANY                         FLATLEY, EMILY                        FLATT, MADELINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLATT, NOLAN                            FLATTERY, MARGARET                    FLAUM, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLAVIN, ABIGAIL                         FLAVIN, DEBBIE                        FLAVIN, JULIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLAVIN, KAREN                           FLAVIN, SUSAN                         FLAVIO PINHEIRO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLAVONI, ANGELA                         FLAVORS OF ITALY, LLC                 FLAWS, KAYLA
ADDRESS AVAILABLE UPON REQUEST          PO BOX 61631                          ADDRESS AVAILABLE UPON REQUEST
                                        HONOLULU, HI 96839
FLAX, TITIANA         Case 22-11238-LSS    DocHELENE
                                     FLAXBEARD, 2 Filed 11/30/22      Page 1572
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FLECHSENHAAR, JESSICA                FLECHSIG, OLIVIA                       FLECK, ELAINE
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FLECK, JEFFREY                       FLECK, STEVEN                          FLECKER, JEANNE
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FLEDDERMAN, ERIN                     FLEECE, BEVERLY                        FLEEMAN, CARRIE
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FLEEMAN, JERRY                       FLEENOR, KRISTINA                      FLEENOR, SARA
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FLEET, TAYLOR                        FLEETWOOD, DUSTIN                      FLEETWOOD, LENNA
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FLEETWOOD, SCOTT                     FLEGEL, ANGIE                          FLEGENHEIMER, KATIE
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FLEISCH, JOSH                        FLEISCHAUER, ARI                       FLEISCHER, HARLEY
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FLEISCHER, JAKE                      FLEISCHMANN, CHARLES                   FLEISHAKER, ELAINE
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FLEISHER, KENNON                     FLEISHER, LINDA                        FLEISHMAN, CHELSEY
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FLEITAS, ANA          Case 22-11238-LSS
                                     FLEMEN,Doc  2 Filed 11/30/22
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FLEMING, ALLISON                     FLEMING, ARTHUR                       FLEMING, ASHIVIAH
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FLEMING, BARBARA                     FLEMING, CARLTON                      FLEMING, CEEJAY
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FLEMING, CHARLES                     FLEMING, CHRISSY                      FLEMING, CHRISSY
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FLEMING, CHRISTOPHER                 FLEMING, CHRISTOPHER                  FLEMING, DANI
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FLEMING, DARCIE                      FLEMING, DAVID                        FLEMING, DEBORAH
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FLEMING, DEIRDRE                     FLEMING, EMILY                        FLEMING, ERNEST
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FLEMING, JEANETTE                    FLEMING, JOHANNA                      FLEMING, JUANITA
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FLEMING, JULIA                       FLEMING, JULIE                        FLEMING, KARA
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FLEMING, KARLEY                      FLEMING, KEVIN                        FLEMING, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLEMING, KRIS         Case 22-11238-LSS    Doc
                                     FLEMING,    2 Filed 11/30/22
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                                                                           FLEMING,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLEMING, LYNNE                       FLEMING, MARIANNA                      FLEMING, MAUREEN
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FLEMING, MEGAN                       FLEMING, MICHAEL                       FLEMING, NANCY
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FLEMING, NICOLA                      FLEMING, NICOLE                        FLEMING, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLEMING, REBECCA                     FLEMING, RONALD                        FLEMING, SAVANNAH
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FLEMING, SHARI                       FLEMING, TAWNYA                        FLEMING, TIFFANY
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FLEMING, TINA                        FLEMMING, BRITTANY                     FLEMMING, BROGAN
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FLEMMING, DAVID                      FLEMMING, MOLLIE                       FLEMMING, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLEMON, COLLEEN                      FLENORY, MELANIE                       FLERCHINGER-BASTA, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLERI, JAMIE                         FLESCHER, SHIRA                        FLESH, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FLESHER, SUNNY        Case 22-11238-LSS    DocAMBER
                                     FLESHMAN,  2 Filed 11/30/22      Page 1575  of KATIE
                                                                           FLESSAS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLESSER, SHAINA                      FLESSNER, TYLER                       FLETCHALL, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLETCHER, ASHLEY                     FLETCHER, BOB                         FLETCHER, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLETCHER, BRUCIE                     FLETCHER, CALEB                       FLETCHER, CARYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLETCHER, CLAUDIA                    FLETCHER, DELLA                       FLETCHER, EILEEN
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FLETCHER, ELLIOTT                    FLETCHER, JACLYN                      FLETCHER, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLETCHER, JOHN                       FLETCHER, KAREN                       FLETCHER, KEYLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLETCHER, KRISTIN                    FLETCHER, LAURA                       FLETCHER, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLETCHER, LISA                       FLETCHER, MARRISSA                    FLETCHER, MEGAN
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FLETCHER, MIRANDA                    FLETCHER, NICOLE                      FLETCHER, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLETCHER, PAUL        Case 22-11238-LSS    Doc
                                     FLETCHER,   2 Filed 11/30/22
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                                                                           FLETCHER, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLETCHER, SANDY                      FLETCHER, SARAH                       FLETCHER, SIDNEY
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FLETCHER, TERRY                      FLETCHER, TRACY                       FLETT, LAURA
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FLETTER, AVA                         FLETTER, TAYLOR                       FLEURANGES, MARGAUX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLEURANVIL, ALFRED                   FLEURAT, FAITH                        FLEURY, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLEURY, GERARD                       FLEURY, JEFFREY                       FLEURY, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLEURY, MELINA                       FLEURY, VANESSA                       FLEWHARTY, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLEX MARKETING GROUP, LLC.           FLEXER, NATALIE                       FLEXJOBS CORPORATION
1776 BROADWAY, 23RD FLOOR            ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
NEW YORK, NY 10019




FLEY, JESSICA                        FLIAKOS, CHRISTINA                    FLICK, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLICK, DAVE                          FLICK, DEVON                          FLICK, NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLICKINGER, ASHLEIGH  Case 22-11238-LSS     DocEMILY
                                     FLICKINGER, 2 Filed 11/30/22     Page 1577   of 5495
                                                                           FLICKINGER, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLICKINGER, SARA                     FLICKNER, BETTY                        FLICKNER, KIM
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FLIEDNER, BRITTANY                   FLIEGE, CHRISTINA                      FLIEGELMAN, LAUREN
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FLIESLER, AMY                        FLIGG, RYAN                            FLIGG, SARAH
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FLIGHT, DANIEL                       FLIKEID, SHEILA                        FLINK, SUSAN
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FLINK, TANYA                         FLINN, DELANEY                         FLINN, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLINN, SARAH                         FLINT, ASHLEY                          FLINT, DANIELLE
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FLINT, DAVID                         FLINT, HEATHER                         FLINT, ISAAC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FLINT, JACOB                         FLINT, KELLY                           FLINT, KRISTEN
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FLINT, LAURA                         FLINT, MARILYN                         FLINT, WAYNE
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FLIPP CORPORATION         Case 22-11238-LSS
                                         FLIPPEN,Doc 2 Filed 11/30/22
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                                                                               FLIPPIN,of 5495
                                                                                        KELLY
DEPT CH 19946                            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PALATINE, IL 60055-9946




FLIPPIN, MACARTY                         FLIS, TYLER                            FLITER, STEFANIE
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FLITTIE, HELENE                          FLOCCO, CAROLYN                        FLOCCO, SHEILA
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FLOCKENCIER, PETER                       FLOCKS, JENNIFER                       FLODING, GEOFFREY
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FLODING, SAIDE                           FLOE, SIROCCO                          FLOERSHEIM, SHANNON
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FLOHR, MANDI                             FLOHR, SAMANTHA                        FLOHR, SARA
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FLOHR, SARA                              FLOM, HANNAH                           FLOM, MEGAN
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FLOM, SAMANTHA                           FLOOD, ABBY                            FLOOD, ALISON
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FLOOD, ASHLEE                            FLOOD, BRITTANY                        FLOOD, CHRISTINE
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FLOOD, COURTNEY                          FLOOD, ERIN                            FLOOD, GALE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FLOOD, JASON          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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FLOOD, MARGARET                      FLOOD, ROZLYN                         FLOOD, SHELBI
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FLOOD, TERRY                         FLOOD, VICTORIA                       FLOOK, ALLYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLOOR, CARLI                         FLOR I VASQUEZ                        FLOR, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORA, KATIE                         FLORA, SUSAN                          FLORANCE K CONDOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 11
                                                                           HAPPY CAMP, CA 96039




FLORATOS, ANGELA                     FLORENCE LEA COMBS                    FLORENCE, CARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORENCE, CRYSTAL                    FLORENCE, HEIDI                       FLORENCE, LUTRICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORENTINE, KRISTI                   FLORENTINO, GAIL                      FLORER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES CASAB, JULIO AZIZ             FLORES GONZALEZ, YOCELIN              FLORES, ALEJANDRA
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FLORES, ALISON                       FLORES, ALLEGRA                       FLORES, ALLYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLORES, AMARIS        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, BLAKE                        FLORES, BRENNA                        FLORES, CARLOS
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FLORES, CECILIA                      FLORES, CHRISTIAN                     FLORES, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, DEANNA                       FLORES, DEBORAH                       FLORES, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, ELAINE                       FLORES, ELIZABETH                     FLORES, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, ERIKA                        FLORES, ERIN                          FLORES, FAITH A.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, FERNANDO                     FLORES, FREDY                         FLORES, GABY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, GUADALUPE                    FLORES, HAVALA                        FLORES, HECTOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, HILDA                        FLORES, IRMA                          FLORES, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, JESSICA                      FLORES, JESSICA                       FLORES, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLORES, JOFNI         Case 22-11238-LSS
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FLORES, JOSE                         FLORES, JUAN C.                       FLORES, JULIE
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FLORES, KAI                          FLORES, KALEB                         FLORES, KARISSA
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FLORES, KASSI                        FLORES, KAYLENE                       FLORES, KIMBERLY
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FLORES, LARISSA                      FLORES, LAURA                         FLORES, LEEBY
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FLORES, LESLIE                       FLORES, LESLIE                        FLORES, LISA
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FLORES, LUIS                         FLORES, MARCEL                        FLORES, MARCEL
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FLORES, MARIA                        FLORES, MARIE                         FLORES, MARIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORES, MARTIN                       FLORES, MARTIN                        FLORES, MEGAN
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FLORES, MELANIE                      FLORES, MELISSA                       FLORES, MERCEDES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLORES, MERCEDES      Case 22-11238-LSS
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                                                                            FLORES,  5495
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FLORES, MICHELE                      FLORES, MICHELLE                        FLORES, NATHAN
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FLORES, NICOLE                       FLORES, NICOLE                          FLORES, NIKKI
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FLORES, NORMA                        FLORES, NORY                            FLORES, OWEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLORES, RAYO                         FLORES, RENEE                           FLORES, RITA
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FLORES, RODRIGO                      FLORES, ROSA                            FLORES, SARIAH
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FLORES, SELENA                       FLORES, SONDRA                          FLORES, STEPHANIE
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FLORES, STEPHANIE                    FLORES, TAYLOR                          FLORES, THANNYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLORES, TIANNAMORRISON               FLORES, TINA                            FLORES, TONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLORES, TRICIA                       FLORES-GONZALES, INEZ-ELIZABETH         FLORES-RUIZ, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FLOREZ, ROMAN         Case 22-11238-LSS     Doc
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                                                                           FLORIANZ, WANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORIANZ, WANDA                      FLORIDA DEPARTMENT OF REVENUE         FLORIDA DEPARTMENT OF STATE
ADDRESS AVAILABLE UPON REQUEST       5050 W TENNESSEE ST                   DIVISION OF CORPORATIONS
                                     TALLAHASSEE, FL 32399-007389          P.O. BOX 6327
                                                                           REGISTRATION SECTION TALLAHASSEE, FL
                                                                           32314



FLORIDA DEPT OF LABOR                FLORIDA DEPT OF REVENUE               FLORIDA OFFICE OF FINANCIAL
DEPT OF ECONOMIC OPPORTUNITY         5050 W TENNESSEE ST                   REGULATION
107 EAST MADISON ST                  TALLAHASSEE, FL 32399-0100            FINANCIAL REGULATION
CALDWELL BUILDING                                                          200 E. GAINES STREET
TALLAHASSEE, FL 32399-4120                                                 TALLAHASSEE, FL 32399



FLORIDA U.C. FUND                    FLORIDI, CAROLYN                      FLORIE, MELISSA
FLORIDA DEPARTMENT OF REVENUE        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
5050 W TENNESSEE ST BLDG L
TALLAHASSEE, FL 32399-0180




FLORIO, MICHAEL                      FLORITA, NELLANI                      FLORKOSKI, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORKOWSKI, JODI                     FLORMAN, ASHLEY                       FLORO, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLORY, ADAM                          FLORY, ANTOINETTE                     FLOS USA INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        110 YORK ST, 5TH FLOOR
                                                                           BROOKLYN, NY 11201




FLOSS, HANNAH                        FLOTA, CARISSA                        FLOTKOETTER, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLOTTE, KEITH                        FLOTTERUD, CHRISTINA                  FLOTZ, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLOURNOY, BETHANY                    FLOURNOY, JOSIAH                      FLOURNOY, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLOURNOY, SHERISE     Case 22-11238-LSS     DocCOMPANY
                                     FLOW WINE   2 FiledINC 11/30/22
                                                            (FLOW WINE   Page 1584 of 5495
                                                                              FLOW WINE COMPANY INC (FLOW WINE
ADDRESS AVAILABLE UPON REQUEST       GROUP)                                    GROUP)
                                     235 COCOANUT AVE UNIT 128E                333 W. NORTH AVE 350
                                     SARASOTA, FL 34236                        CHICAGO, IL 60610




FLOW WINE COMPANY INC (FLOW WINE      FLOWER & VINE (ALISOS VINEYARD)          FLOWER, EMELIE
GROUP)                                5933 BOWCROFT ST.                        ADDRESS AVAILABLE UPON REQUEST
435 S. OSPREY AVE                     LOS ANGELES, CA 90016
SARASOTA, FL 34236




FLOWERDAY, SHANA                      FLOWERS, ANTHONY                         FLOWERS, BRIELLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FLOWERS, CAROL                        FLOWERS, CHE                             FLOWERS, CHERYL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FLOWERS, CHRISTINE                    FLOWERS, CINDY                           FLOWERS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FLOWERS, ELIZABETH                    FLOWERS, JAIME                           FLOWERS, JONATHAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FLOWERS, KAREN                        FLOWERS, KATELYN                         FLOWERS, KENYA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FLOWERS, KYLENE                       FLOWERS, KYLIE                           FLOWERS, MARY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FLOWERS, MICHAEL                      FLOWERS, NANCY                           FLOWERS, SHANNON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FLOWERS, SHIRELLE                     FLOWERS, STEVE                           FLOWERS, VIVIAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FLOYD                 Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FLOYD, AARON                     Page 1585
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLOYD, ALLISON                       FLOYD, ANDREW                         FLOYD, BETHANY
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FLOYD, BRITTNEY                      FLOYD, CIERRA                         FLOYD, ELIJAH
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FLOYD, EMILY                         FLOYD, ERICA                          FLOYD, GEORGIA
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FLOYD, HANNAH                        FLOYD, JAMES                          FLOYD, KATHERINE
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FLOYD, KATHLEEN                      FLOYD, KRISTEN                        FLOYD, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLOYD, MADISON                       FLOYD, MATT                           FLOYD, MEGAN
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FLOYD, SARA                          FLOYD, SHANNON                        FLOYD, SHAWNDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLOYD, SUSAN                         FLOYD, TERA                           FLUDDER, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLUEGEL, JULIA                       FLUEHR, MELISSA                       FLUENT, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 931014
                                                                           ATLANTA, GA 31193-1014
FLUHART, SARAH        Case 22-11238-LSS    Doc
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                                                                           FLUHARTY, DAPHNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLUHARTY, JOSH                       FLUHLER, ROBERT                       FLUKE, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLUKER, DEVIN                        FLUKER, DOMINIQUE                     FLUKERS, SHYLA
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FLUMENBAUM, JUDY                     FLURY, JESSICA                        FLURY, THOMAS
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FLY, KATHI                           FLYG, COURTNEY                        FLYNN, ALEXANDRA
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FLYNN, ALEXIS                        FLYNN, ALISTAIR                       FLYNN, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLYNN, ANN                           FLYNN, ANNE-MARIE                     FLYNN, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLYNN, BARBARA                       FLYNN, BONNIE                         FLYNN, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLYNN, BRITTANY                      FLYNN, BRYAN                          FLYNN, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLYNN, CAROLYN                       FLYNN, CHELSEA                        FLYNN, CINDY
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FLYNN, COLIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FLYNN, COURTNEY                  Page 1587
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLYNN, DEANNA                        FLYNN, DONNA                          FLYNN, DOROTHY
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FLYNN, ERIC                          FLYNN, GAIL                           FLYNN, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLYNN, HEATHER                       FLYNN, HOPE                           FLYNN, JENNIFER
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FLYNN, JOCELYN                       FLYNN, JOHANNA                        FLYNN, JOSH AND CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FLYNN, KARA                          FLYNN, KAREN                          FLYNN, KATHERINE
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FLYNN, KATHLEEN                      FLYNN, KATHRYN                        FLYNN, KATIE
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FLYNN, KATIE                         FLYNN, KELLY                          FLYNN, KEVIN
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FLYNN, KIIRSTEN                      FLYNN, KIM                            FLYNN, KRISTEN
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FLYNN, LINDSAY                       FLYNN, LORENA                         FLYNN, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FLYNN, MARY J CASEY   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FLYNN, MATT                        Page 1588
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                                                                                    MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLYNN, MIRIAM                        FLYNN, MOIRA                            FLYNN, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLYNN, NICOLE                        FLYNN, PAULA                            FLYNN, PETER
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FLYNN, REBECCAH                      FLYNN, ROBIN ANN                        FLYNN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLYNN, SEAN                          FLYNN, SHAUN                            FLYNN, SHAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLYNN, SHELBY                        FLYNN, TAYLOR                           FLYNN, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLYNN, TIM                           FLYNN, VIRGINIA                         FLYNN-MCDONALD, NORAANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLYNN-WELTER, JANICE                 FLYNT, HARRY                            FLYNT, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FLYNT, MARLA                         FLYSAS                                  FM, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




FOA, LINDA                           FOBELLAH, SHELA                         FOCKLER, ALEXANDRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FOCKLER, MARLA        Case 22-11238-LSS
                                     FODDE, Doc  2 Filed 11/30/22
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                                                                                 JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOELL, ANTHONY                       FOELL, KAREN                          FOERSTER, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOERTSCH, ANDRIA                     FOERTSCH, JAIME                       FOESS, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGAH, ANGEL                         FOGARTY, BRENDAN                      FOGARTY, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGARTY, ELAINE                      FOGARTY, FRANK                        FOGARTY, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGARTY, JAMES                       FOGARTY, KATE                         FOGARTY, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGARTY, MARIAH                      FOGAS, LINDSEY                        FOGEL, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGEL, RANDI                         FOGERSON, JODA                        FOGG, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGG, JAMIE                          FOGG, SARAH                           FOGG, YVETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGGETT, SARAH                       FOGL, SUE                             FOGLE, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FOGLE, DONA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FOGLE, THERESA                   Page 1590 of 5495
                                                                           FOGLEMAN, GARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGLER, EMMA                         FOGLESONG, MARCELINE                  FOGLIETTA, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOGO, CASSANDRA                      FOGT, LYNN                            FOICA, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOIL, GINA                           FOISY, ALEC                           FOJAS, ALMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOKS, KENNY                          FOKSHA, NADIA                         FOLAN, MARIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLCK, JAMES                         FOLCO, CHRISTINA                      FOLCO, MIMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLDESI, ADRIENNE                    FOLDS, KATIE                          FOLDY, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLEY FAMILY WINES, INC.             FOLEY                                 FOLEY, ALLISON
200 CONCOURSE BLVD.                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA ROSA, CA 95403




FOLEY, ANNIE                         FOLEY, AVERY                          FOLEY, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLEY, COLM                          FOLEY, DANIELLE                       FOLEY, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FOLEY, DOUG           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FOLEY, EILEEN                    Page 1591
                                                                           FOLEY, of 5495
                                                                                  ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, ELLEN                         FOLEY, ERIN                            FOLEY, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, GORDON                        FOLEY, JENNA                           FOLEY, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, KAITLYN                       FOLEY, KATE                            FOLEY, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, KATIE                         FOLEY, KELLY                           FOLEY, KIERRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, KYLE                          FOLEY, LAURA                           FOLEY, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, LAUREN                        FOLEY, LINDA                           FOLEY, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, LINDA                         FOLEY, LISA                            FOLEY, LUKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, LYLA                          FOLEY, MARIKA                          FOLEY, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOLEY, MATT                          FOLEY, MATT                            FOLEY, NANTS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FOLEY, NATALIE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FOLEY, NICK                      Page 1592
                                                                           FOLEY, of 5495
                                                                                  PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLEY, PHYLLIS                       FOLEY, RAYMOND                        FOLEY, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLEY, SAMANTHA                      FOLEY, SAMANTHA                       FOLEY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLEY, SEAN                          FOLEY, SEAN                           FOLEY, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLEY, TAZ                           FOLEY, TREVOR                         FOLEY-ROBERTS, HOPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLGA, STEPHEN                       FOLIE, JOY                            FOLINEO, CONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLK, ALISON                         FOLK, CINDY                           FOLK, DOUGLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLK, REAGAN                         FOLK-CARPENTER, MINDY                 FOLKERTH, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLKERTS, KRISTIE                    FOLKMAN, CRAIG                        FOLKS, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOLLETTE, PETER                      FOLLETTE, SHANA                       FOLLIARD, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FOLLO, SHARON         Case 22-11238-LSS
                                     FOLLON,Doc 2 Filed 11/30/22
                                            DARCIE                      Page 1593 of 5495
                                                                             FOLLOWELL, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FOLMAR, LINDA                        FOLSOM, DEBORAH                          FOLSOM, ELLEN S
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FOLSOM, JAMES                        FOLSOM, KIMBERLY                         FOLSOM, LORRIE
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FOLSOM, ROY                          FOLSOM, SARAH                            FOLSTAD, ERIN
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FOLSTER, KAYLEIGH                    FOLTARE                                  FOLTS, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




FOLTZ, APRIL                         FOLTZ, MEGAN                             FOLTZ, NIKITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FOLTZ, SAMUEL                        FOMA, ABBY                               FOMBY, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FON, NCHANG-NWI                      FONASH, CHERYL                           FONCELLINO, LILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FONDA, JUDY                          FONES, SHELBY                            FONG, DANIEL
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FONG, ELSIE                          FONG, JAMES                              FONG, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FONG, ROSE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                                 KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FONKEN, JENNIFER                     FONNER, SHERRALL                      FONS, JORDAN
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FONSECA, ANGEL                       FONSECA, EDWARD                       FONSECA, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FONSECA, FEDERICO                    FONSECA, JESSICA                      FONSECA, JESSICA
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FONSECA, KADY                        FONSECA, MAJELA                       FONSECA, TONY
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FONT, ROLAND                         FONTAINE, AMY                         FONTAINE, COLLEEN
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FONTAINE, DANIELLE                   FONTAINE, ELIZABETH                   FONTAINE, KATHERYN
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FONTAINE, KEITH                      FONTAINE, MICHELLE                    FONTAINE, MIRANDA
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FONTAINE, RYAN                       FONTAINE, SHAUNA                      FONTAINE, TESSA
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FONTAINE, ZEEJAY                     FONTALVO, MICHELE                     FONTANA, BLAKE
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FONTANA, CASEY        Case 22-11238-LSS    Doc
                                     FONTANA,    2 Filed 11/30/22
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                                                                                FONTANA, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




FONTANA, LAUREN                         FONTANELLA, CLAIRE                      FONTANELLA, JACLYN
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FONTANELLA, MARK                        FONTANESI, LISA                         FONTANEZ, DEANNA
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FONTANEZ, MATHEW                        FONTECCHIO, ALEXANDRIA                  FONTECCHIO, SARAH
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FONTEIN, KIMBALL                        FONTEIX, HARRISON                       FONTENAULT, STEVEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FONTENAY, JADE                          FONTENELLE, JULIE                       FONTENOT, DANIELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FONTENOT, KAITLIN                       FONTENOT, LAUREN                        FONTENOT, MIKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FONTOURA, EVANDRO                       FONTS.COM                               FONVILLE, JODI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




FONZ                                    FOOD & WINE                             FOOD INGREDIENTS, INC.
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   2100 AIRPORT ROAD
                                                                                WAUKESHA, WI 53188




FOOD52                                  FOODA INC.                              FOODCHAIN ID TECHNICAL SERVICES, INC.
122 W 26TH STREET, 8TH FLOOR            ADDRESS UNAVAILABLE AT TIME OF FILING   504 N. 4TH STREET, SUITE 300
NEW YORK, NY 10001                                                              FAIRFIELD, IA 52556
FOODMAXX                Case 22-11238-LSS    Doc
                                       FOODSCO    2
                                               FUEL    Filed 11/30/22     Page 1596 of 5495
                                                                               FOODSHED PIZZA
2440 S BROADWAY                        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
SANTA MARIA, CA 93454




FOODWIT                                FOODY, MARYBETH                         FOOKS, BRENT
7411 SW CAPITOL HWY                    ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PORTLAND, OR 97219




FOOR, ASHLEY                           FOOS, RACHEL                            FOOTE, CANDACE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FOOTE, JANET                           FOOTE, JOANNA                           FOOTE, KAROLINE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FOOTE, MARIAH                          FOOTE, MOLLY                            FOOTEN, CAROL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FOOTMAN, LANEY                         FOOTPRINT LLC                           FOPIANO, KRISTEN
ADDRESS AVAILABLE UPON REQUEST         FOOTPRINT LLC 1510 NORTH HOBSON         ADDRESS AVAILABLE UPON REQUEST
                                       STREET
                                       GILBERT, AZ 85233




FORAN, CARA                            FORAN, JOYCE                            FORAN, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FORAN, MEGAN                           FORBES, ALI                             FORBES, AMANDA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FORBES, BARRY                          FORBES, BETH                            FORBES, CARLA
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FORBES, CASEY                          FORBES, CORI                            FORBES, ERIKA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FORBES, HOLLY         Case 22-11238-LSS
                                     FORBES,Doc  2 Filed 11/30/22
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                                                                           FORBES, 5495
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FORBES, JESSICA                      FORBES, LAUREN                        FORBES, LEIGH
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FORBES, MICHAEL                      FORBES, MIRANDA                       FORBES, PEGGY
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FORBES, PHOENIX                      FORBES, ROBERT                        FORBES, SARAH
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FORBES, TANYA                        FORBES, TASHA                         FORBES, TAYESHA
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FORBES, TEZINA                       FORBESS, KLAIRE                       FORBING, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORBUS, CARRIE                       FORCE BRANDS LLC                      FORCE, BRITTNEI
ADDRESS AVAILABLE UPON REQUEST       34 3RD AVE 265                        ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10003




FORCELLEDO, RITA                     FORCEY, DAVID                         FORCEY, MARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORCH, ERIN                          FORCHETTI, STACY                      FORCIEA, CHRISTIE
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FORCIER, MELONY                      FORCIERI, DREW                        FORCONE, MARCO
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FORCUM, JOE           Case 22-11238-LSS    Doc
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FORD MORTHEL, ENIKIA                 FORD, ABBY                             FORD, ALICE
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FORD, ANDREA                         FORD, ANDREA                           FORD, ANNA
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FORD, ANTHONY                        FORD, BRANDON                          FORD, BRANDY
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FORD, BREYDEN                        FORD, CALYN                            FORD, CASSIE
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FORD, CASSIE                         FORD, CHRISTINA                        FORD, CHRISTINE
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FORD, DAN                            FORD, DEANNA                           FORD, DEBRA
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FORD, ELENA                          FORD, EMILY                            FORD, EOWYN
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FORD, FELICIA                        FORD, FRANNY                           FORD, GARY
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FORD, HALEY                          FORD, HANNAH                           FORD, HENRY
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FORD, HOLLY           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FORD, IEISHA                     Page 1599   of 5495
                                                                           FORD, ILIA
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FORD, JACKIE                         FORD, JACQUELINE                      FORD, JACQUIE
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FORD, JANE                           FORD, JENNIFER                        FORD, JENNIFER
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FORD, JODY                           FORD, JOHN                            FORD, JOHN
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FORD, JON                            FORD, KASIA                           FORD, KATELYN
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FORD, KATHLEEN                       FORD, KATIE                           FORD, KAYLA
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FORD, KAYLAH                         FORD, KELLY                           FORD, KELLY
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FORD, KELLY                          FORD, KELLY                           FORD, KELLY
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FORD, KEVIN                          FORD, KRISTI                          FORD, LARISSA
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FORD, LAURA                          FORD, LINDSEY                         FORD, LOVETTA
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FORD, LYDIA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FORD, MARIANA                    Page 1600  of 5495
                                                                           FORD, MAUREEN
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FORD, MELVINA                        FORD, MOLLY                           FORD, PATRICK
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FORD, RAE                            FORD, RILEY                           FORD, ROBIN
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FORD, SAMANTHA                       FORD, SARAH                           FORD, SEAN
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FORD, SHARANYA                       FORD, SHAW                            FORD, SHEA
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FORD, SIERRA                         FORD, TAYLOR                          FORD, TIMOTHY J
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FORD, TODD                           FORD, TREWERY                         FORD, TYLER
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FORD, VALERIE                        FORD, VICTORIA                        FORD-DAVIS, JESSICA
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FORDE, AMY                           FORDHAM, AMBER                        FORDHAM, BRANDI
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FORDYCE, JENNY                       FORE, JOANNE                          FORE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FOREHAND, ASHLEY      Case 22-11238-LSS    DocCHELSEA
                                     FOREHAND,  2 Filed 11/30/22      Page 1601
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FORELLA, ARIANN                      FOREMAN, ABIGAIL                       FOREMAN, ANNIE
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FOREMAN, ANNIE                       FOREMAN, BLYTHE                        FOREMAN, DEBORAH
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FOREMAN, GILLIAN                     FOREMAN, JOSEPH                        FOREMAN, KAMILAH
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FOREMAN, KELLY                       FOREMAN, ROBIN                         FOREMAN, TANNEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FOREMAN-JADUSING, EVELYN             FOREMOST INSURANCE GROUP               FORENZA, MIKE
ADDRESS AVAILABLE UPON REQUEST       PO BOX 4665                            ADDRESS AVAILABLE UPON REQUEST
                                     CAROL STREAM, IL 60197-4665




FORENZA, ROSEMARY                    FORERO, LUISA                          FORESMAN, ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FORESTE, GELAS                       FORESTEIRE, MICHAEL                    FORESTER, SIDNEY
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FORESTER, TAYLOR                     FORESTER, THOMAS                       FORESTIER, BENJAMIN
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FORET, COLIN                         FORET, GERALD                          FORETEK, KATE
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FOREY, KEELAN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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FORGER, ALBERT                          FORGEY, ARYN                          FORGEY, JACOB
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FORGEY, SHAYLEA                         FORGEY-JAHN, SUSAN                    FORGHANI, NEANA
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FORGIONE, CHRISTOPHER                   FORGIONE, LAUREN                      FORGUE, KIMBERLY
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FORGY, ANDREW                           FORH, LUCIMARA                        FORINASH, KELLY
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FORK IN THE ROAD                        FORK, PATRICIA                        FORKER, CAITLIN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORKER, ED                              FORKEY, KYLE                          FORLENZA, SEAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORLENZA, TONY                          FORLINE, KATHY                        FORM MAGIC INC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        9052 W WISCONSIN AVE.
                                                                              LAKEWOOD, CO 80232




FORMAN, ABBY                            FORMAN, EVELYN                        FORMAN, ILYSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORMAN, KELSEY                          FORMAN, KIMBERLY                      FORMAN, LIZA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FORMAN, MARTINA       Case 22-11238-LSS    Doc
                                     FORMAN,    2 Filed 11/30/22
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                                                                           FORMAN, 5495
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FORMAN, SARA                         FORMAN, SARAH                         FORMAN, TIVA
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FORMATO, MICHAEL                     FORMEN TIN, JENNY                     FORMENTIN, ALESSA
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FORMICA, MARIO                       FORMICHELLI, CHRISTINA                FORMIGONI, STEFANIE
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FORMOSA, VICTORIA                    FORNEK, JENNIFER                      FORNEK, KAYLA
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FORNER, ANN                          FORNEY, BRI                           FORNEY, CARNEISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORNEY, JANELLE                      FORNEY, JORDAN                        FORNEY, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORNEY, KATIE                        FORNEY, LYDIA                         FORNEY, RODNEY
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FORNOS, ISABEL                       FORONDA, AL                           FORONDA, CLAUDIA
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FORREIDER, JUDY                      FORRENCE, ALEXANDRA                   FORRER, MIKE
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FORREST MICHAEL HOBBS Case 22-11238-LSS    Doc
                                     FORREST     2 Filed 11/30/22
                                             MILLER                   Page 1604 of 5495
                                                                           FORREST, ADRAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORREST, AISHA                       FORREST, ANNIE                        FORREST, BRITTNEY
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FORREST, CECELIA                     FORREST, CORRIE                       FORREST, HELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORREST, KATRINA                     FORREST, KELLY                        FORREST, KIM
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FORREST, LORI                        FORREST, MOLLY                        FORREST, RILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORREST, SHARNAKAY                   FORREST, TARA                         FORRESTAL, LINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORRESTER, BETHANY                   FORRESTER, EILEEN                     FORRESTER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORRESTER, JEFFREY                   FORRESTER, MICHELE                    FORRESTER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORRESTER, SUSAN                     FORRESTER-RAYMOND, JENNIFER           FORREY, IVAGENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSBERG, ELIN                       FORSBERG, KENDALL                     FORSBERG, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FORSBERG, MINDY       Case 22-11238-LSS    Doc
                                     FORSELL,     2 Filed 11/30/22
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                                                                           FORSETH, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSETH, SARAH                       FORSGREN, KELLY                       FORSHAW, TESSA
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FORSHEE, KRISTIN                     FORSH-HAMILTON, YOMI                  FORSLUND, ASHLEY & ROB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSLUND, ERIKA                      FORSLUND, MICHELLE                    FORSMAN, HUNTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSSTROM, KEPANO                    FORSTELL, KIERA                       FORSTELL, KIERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSTEN, KATHERINE                   FORSTER, JILLIAN                      FORSTER, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSTER, TIFFANY                     FORSTER, TISH                         FORSTNER, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSYTH JR, JAMES                    FORSYTH, ABBY                         FORSYTH, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSYTH, AMY                         FORSYTH, COURTNEY                     FORSYTH, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORSYTH, HEATHER                     FORSYTH, PAIGE MCRAYE                 FORSYTH, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FORSYTH, ROBERT       Case 22-11238-LSS    DocJACOB
                                     FORSYTHE,  2 Filed 11/30/22      Page 1606 of 5495
                                                                           FORSYTHE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FORSYTHE, LINDA                      FORSYTHE, MORGAN                       FORSYTHE, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FORT POINT BEER COMPANY              FORT, ANTHONY                          FORT, DEANNA
644 OLD MASON ST.                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94129




FORT, FARYN                          FORT, FAYNETTA                         FORT, MARCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FORT, MELINDA                        FORT, SARAH                            FORTE, ARYELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FORTE, DANYELLE                      FORTE, ELENA                           FORTE, JENNA
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FORTE, KAITLYN                       FORTE, KATERI                          FORTE, KELLI
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FORTE, LESLIE                        FORTE, LUCA                            FORTE, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FORTE, TYLER                         FORTEITH, DORIS                        FORTENBACH, FOUSTENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FORTENBERRY, COURTNEY                FORTES, TANYA                          FORTH BACK LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         120 EAST 8TH ST STE 606
                                                                            LOS ANGELES, CA 90014
FORTH, LINDA          Case 22-11238-LSS    Doc EMILY
                                     FORTHUBER, 2 Filed 11/30/22      Page 1607   of 5495
                                                                           FORTI, MAEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORTIER, ANNA                        FORTIER, EMILY                        FORTIER, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORTIN, CHARMAINE                    FORTIN, GERALYN                       FORTIN, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORTINI, BARBARA                     FORTINO, AMY                          FORTINO, SEBASTIAN
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FORTIS, NATACHA                      FORTLAGE, JULES                       FORTMAN, AMANDA
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FORTMAN, BARBARA                     FORTMAN, CAYLA                        FORTMAN, KEITH
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FORTMUELLER, BETH                    FORTNER, DYLAN                        FORTNER, JESSICA
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FORTNER, KIMBERLY                    FORTNER, TAMMY                        FORTNEY, DARNELL
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FORTNEY, ELLEN                       FORTNEY, REBECCA                      FORTNEY, REBECCA
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FORTOSIS, TRISTA                     FORTSON, MARK                         FORTUGNO, DOMINICK
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FORTUNA, DESIREE      Case 22-11238-LSS    Doc
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                                                                           FORTUNATO, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FORTUNATO, JULIE                     FORTUNATO, LEANNA                     FORTUNATO, ROSI
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FORTUNATO, VINCENT                   FORTUNE, ARIANNA                      FORTUNE, MOLLY
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FORTUNE, THIERRY                     FORTWENDEL, BRITTANEY                 FORWARD, ASHLEY
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FORZLEY, EMILY                       FOSCHI, LEYLA                         FOSHAY, KARIN
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FOSHE, KYLE                          FOSHER, JESSICA                       FOSLER, JILL
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FOSNOT, CAROLYN                      FOSS CREEK CELLARS                    FOSS, AMY
ADDRESS AVAILABLE UPON REQUEST       1183 DUNAWEAL LANE                    ADDRESS AVAILABLE UPON REQUEST
                                     CALISTOGA, CA 94515




FOSS, BRYNN                          FOSS, GERALD                          FOSS, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOSS, KATIE                          FOSS, KIM                             FOSS, STACIE
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FOSS, ZOE                            FOSSE, CAROL                          FOSSEN, ALISHA
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FOSSEN, BARBARA       Case 22-11238-LSS
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FOSSUM, SHARON                       FOSTE, ZAK                            FOSTER, ALANA
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FOSTER, ALEXANDRIA                   FOSTER, ALEXIS                        FOSTER, ALEXIS
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FOSTER, AMANDA                       FOSTER, ANASTASIA                     FOSTER, ANDREA
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FOSTER, ANDREA                       FOSTER, ANGELA                        FOSTER, ANISSA
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FOSTER, ANN                          FOSTER, ANN                           FOSTER, ANNA
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FOSTER, ANNE                         FOSTER, ANNE                          FOSTER, BAILEY
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FOSTER, BENJAMIN                     FOSTER, BRITTANY                      FOSTER, CAROLINE
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FOSTER, CATHERINE                    FOSTER, CHELSEA                       FOSTER, CHELSEY
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FOSTER, COURTNEY                     FOSTER, COURTNEY                      FOSTER, DANIELLE
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FOSTER, DAVID         Case 22-11238-LSS
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                                                                           FOSTER, 5495
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FOSTER, DEVON                        FOSTER, EBONY                         FOSTER, ERIC
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FOSTER, ERIN                         FOSTER, ETZU                          FOSTER, FAITH
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FOSTER, GARY                         FOSTER, GEORGE                        FOSTER, HAILEY
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FOSTER, HEATHER                      FOSTER, HUNTER                        FOSTER, JACK
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FOSTER, JACQUELINE                   FOSTER, JACQUIE                       FOSTER, JADE
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FOSTER, JANET                        FOSTER, JASON                         FOSTER, JENNIE
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FOSTER, JENNIFER                     FOSTER, JENNIFER                      FOSTER, JOSH
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FOSTER, JULIA                        FOSTER, JULIANA                       FOSTER, KAREEM
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FOSTER, KAREN                        FOSTER, KATHERINE                     FOSTER, KATHERINE
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FOSTER, KATHRYN       Case 22-11238-LSS
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FOSTER, KRISTI                       FOSTER, KRISTI                        FOSTER, KRISTIE
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FOSTER, KRISTIN                      FOSTER, LANCE                         FOSTER, LINDSEY
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FOSTER, LYNANNE                      FOSTER, MAKAYLA                       FOSTER, MARNIE
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FOSTER, MARY                         FOSTER, MAUREEN                       FOSTER, MEGAN
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FOSTER, MEGAN                        FOSTER, MELISSA                       FOSTER, MELISSA
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FOSTER, MICHELLE                     FOSTER, MICHELLE                      FOSTER, NANCILEE
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FOSTER, NAOMI                        FOSTER, NATALIE                       FOSTER, NICOLE
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FOSTER, NICOLE                       FOSTER, OLIVIA                        FOSTER, PATRICIA
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FOSTER, PHILLUP                      FOSTER, RACHELLE                      FOSTER, RENEE
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FOSTER, RICHARD       Case 22-11238-LSS
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FOSTER, SARA                         FOSTER, SHAN                          FOSTER, STACY
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FOSTER, STEPHANIE                    FOSTER, SUMMER                        FOSTER, SUZANNE
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FOSTER, SYDNEY                       FOSTER, TAYLOR                        FOSTER, TRACY
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FOSTER, VALERIE                      FOSTER, VICTORIA                      FOSTER, VICTORIA
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FOSTER, WHITNEY                      FOSTER, ZACHARY                       FOSTER-MOORE, KATRINA
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FOTH, HANNAH                         FOTHERINGHAM, PETER                   FOTHERINGHAM, SANDI
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FOTI, NORMA                          FOTIU, ALEXIS                         FOTSCH, JESSICA
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FOTSCH, TIM                          FOUBARE, HEIDI                        FOUCAULT, MELANIE
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FOUCHET, ANDRE                       FOUGHT, DEREK                         FOUGHTY, JON
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FOUKE, SHARON         Case 22-11238-LSS
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FOULKE, HOWARD                          FOULKROD, BRANDY                        FOULKS, JONI
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FOULOIS, LILYAN                         FOUNDERS ENTERTAINMENT, LLC             FOUNTAIN, AIMEE
ADDRESS AVAILABLE UPON REQUEST          430 WEST 15TH STREET                    ADDRESS AVAILABLE UPON REQUEST
                                        NEW YORK, NY 10011




FOUNTAIN, CHRISTINA                     FOUNTAIN, CIERRA                        FOUNTAIN, JADA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FOUNTAIN, MADISON                       FOUNTAIN, MARYELIZABETH                 FOUNTAIN, SARAH
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FOUNTAIN, SCOTT                         FOUNTAIN, STEPHANIE                     FOUNTAIN, STEPHENIE
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FOUNTAINE, LOREN                        FOUNTAINE, TINA                         FOUNTIS, ELENA
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FOUQUE, MICHELE                         FOUR BARREL COFFEE                      FOUR DAUGHTERS KITCHEN
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FOUR SEASONS HOTEL                      FOURA, TYLER                            FOURNIER, ALYSSA
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FOURNIER, BRY                           FOURNIER, CARRIE                        FOURNIER, CYNTHIA
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FOURNIER, DEB         Case 22-11238-LSS    Doc
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                                                                              FOURNIER, MICHAEL
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FOURNIER, MITCH                         FOURNIER, SCOTT                        FOURNIER, TRACEY
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FOURNOVA                                FOUSE, SETH                            FOUSSEKIS, SAMANTHA
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FOUST, AMANDA                           FOUST, JENNIFER                        FOUST, MARSHA
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FOUST, MISTI                            FOUST, NATHANIEL                       FOUST, SHANNON
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FOUST, STEVE                            FOUST, TEENA                           FOUT, ANGELA
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FOUT, LORI                              FOUTS, ASHLEY                          FOUTS, KIERSTEN
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FOUTS, KIERSTEN                         FOUTZ, MORGAN                          FOWKE-ROOD, HANNAH
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FOWLE, BENJAMIN                         FOWLER, ALI                            FOWLER, ALLIE
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FOWLER, ALLISON                         FOWLER, ANNE                           FOWLER, ANNE
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FOWLER, ASHLEE        Case 22-11238-LSS    Doc
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FOWLER, CARLEIGH                     FOWLER, CASSIE                        FOWLER, CHRISTINA
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FOWLER, CHRISTINA                    FOWLER, CONNIE                        FOWLER, COURTNEY
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FOWLER, CYNTHIA                      FOWLER, DANI                          FOWLER, DANYE
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FOWLER, DIETKE                       FOWLER, DONNA                         FOWLER, EVA
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FOWLER, FINBAR                       FOWLER, GREG                          FOWLER, JADA AND LARRY
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FOWLER, JAKE                         FOWLER, JENNIFER                      FOWLER, JESSICA
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FOWLER, JIM AND KATHY                FOWLER, JULIE                         FOWLER, KAITLYN
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FOWLER, KATIE                        FOWLER, KELSEY                        FOWLER, KYLA
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FOWLER, KYLE                         FOWLER, LAUREN                        FOWLER, LAUREN
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FOWLER, LINDSAY       Case 22-11238-LSS    Doc
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                                                                              FOWLER, 5495
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FOWLER, MEAGAN                          FOWLER, MEGAN                         FOWLER, MELANIE
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FOWLER, NICOLE                          FOWLER, PHILIP                        FOWLER, PRESLEY
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FOWLER, PRISCILLA                       FOWLER, RUTH                          FOWLER, SARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOWLER, SARA                            FOWLER, SARAH                         FOWLER, SENA
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FOWLER, TANYA                           FOWLER, WENDY                         FOWLIE, THOMAS
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FOWLKES, JENNIFER                       FOWORA, OLIVIA                        FOX ALSTON, JEANNE
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FOX RENT A CAR LAX                      FOX, ALETA                            FOX, ALEX
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FOX, ALIVIA                             FOX, AMY                              FOX, ANNA
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FOX, ANNIE                              FOX, AVI                              FOX, BAILEY
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FOX, BARBARA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FOX, BECKY                       Page 1617   of 5495
                                                                           FOX, BETHANY
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FOX, BRANDON                         FOX, BRANDON                          FOX, BRIANNE
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FOX, BRITTANY                        FOX, BRONZA                           FOX, CARLA
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FOX, CHLOE                           FOX, CHRISTINE                        FOX, CRYSTAL
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FOX, DANE                            FOX, DANIELA                          FOX, DANNICA
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FOX, DEBORAH                         FOX, DONNA                            FOX, DOVEY
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FOX, EILEEN                          FOX, ELIZABETH                        FOX, ELLEN
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FOX, ELLIOT                          FOX, ELYSSA                           FOX, EMILY
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FOX, EMMA                            FOX, ERIC                             FOX, JACKIE
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FOX, JACKIE                          FOX, JANA                             FOX, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FOX, JANET            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FOX, JENNY                       Page 1618   of 5495
                                                                           FOX, JESSICA
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FOX, JESSICA                         FOX, JESSICA                          FOX, JIMMY
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FOX, JOAN                            FOX, JOAN                             FOX, JOANNE
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FOX, JOELY                           FOX, JORDAN                           FOX, JORDAN
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FOX, JOY                             FOX, JUDY                             FOX, JULES
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FOX, KARA                            FOX, KARINA                           FOX, KATIE
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FOX, KELLY                           FOX, KELLY                            FOX, KIANA
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FOX, KOREY                           FOX, KRISTINA                         FOX, KYLIE
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FOX, LAILA                           FOX, LAURA                            FOX, LAYLA
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FOX, LEAH                            FOX, LINDA                            FOX, LINDSAY
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FOX, LINDSEY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           FOX, LOUIS
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FOX, LOUISE                          FOX, LUCY                             FOX, LYNN
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FOX, MADDIELYNN                      FOX, MADELEINE                        FOX, MADISON
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FOX, MANUEL                          FOX, MARK                             FOX, MARY JANE
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FOX, MARY                            FOX, MARY                             FOX, MARY
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FOX, MEGAN                           FOX, MEGAN                            FOX, MELISSA
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FOX, MICHAEL                         FOX, MONICA                           FOX, NATALIE
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FOX, NATALIE                         FOX, ODETTE                           FOX, PATRICK
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FOX, RACHEL                          FOX, REBECCA                          FOX, RENEE
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FOX, RICCI                           FOX, SANDRA                           FOX, SARA
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FOX, SARAH AND DAVIS  Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FOX, SARAH                       Page 1620   of 5495
                                                                           FOX, SARAH
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FOX, SARAH-ANN                       FOX, SAVANNAH                         FOX, SHELBY
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FOX, SHERYL                          FOX, SOPHIA                           FOX, SPENCER
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FOX, SPENCER                         FOX, STACY                            FOX, STEPHANIE
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FOX, STEPHANIE                       FOX, SUE                              FOX, SUSAN
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FOX, TAMARA                          FOX, TANER                            FOX, TORI
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FOX, VICTORIA                        FOXALL, MAYA                          FOXALL, SARAH
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FOX-KELLY, KESHAWNAN                 FOX-KULAKOWSKI, TESSA                 FOXMAN, KELLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FOX-MILLS, GEORGES                   FOXWELL, AMY                          FOY, CHRISTIE
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FOY, CHRISTINA                       FOY, COLLEEN                          FOY, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FOY, JESSICA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FOY, JULIA                          Page 1621   of 5495
                                                                              FOY, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FOY, KELLY                              FOY, KISHA                            FOY, NICOLETTE
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FOY, RILEY                              FOY, SHAE                             FOYE, AMY
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FOYE, LINDSAY                           FOYE, PATRICIA                        FOZILOVA, RIKHSIKHON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRACAS, KIMBERLY                        FRACASSO, LEA ANN                     FRACKOVIAK, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRADELLA, LAKEESHA                      FRAEDRICH, AMY                        FRAENKEL, ERIKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAENKEL, EVAN                          FRAGA, GALO                           FRAGA, TAYLOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAGAKIS, GRACE                         FRAGOLA, COURTNEY                     FRAGOMENI, GRACE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAGOMENI, ROCCO                        FRAGUEIRO, DIANNE                     FRAHM, ERIKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAICHE SFO AIRPOR                      FRAIJO, AUDREY                        FRAILEY, ANGELA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRAILEY, JANE         Case 22-11238-LSS
                                     FRAIME,Doc 2 Filed 11/30/22
                                            LAURA                     Page 1622   of 5495
                                                                           FRAIN, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAIOLI, MELISSA                     FRAIRE, GAY                           FRAIRE, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAIRE, PEDRO                        FRAITES, ERAENA                       FRAKE, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAKE, KAITLYN                       FRAKER, BRIAN                         FRAKER, CHANNING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAKES, KAITLIN                      FRALEIGH, DONNA                       FRALEY, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRALEY, TRACI                        FRALEY, ZACH                          FRALICK, JANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRALICK, MANDA                       FRALING, MICHELLE                     FRAME MANAGEMENT LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        415 HERONDO STREET SUITE 315
                                                                           HERMOSA BEACH, CA 90254




FRAME, CARL                          FRAME, DWYER                          FRAME, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAME, LEIGH                         FRAME, PAMELA                         FRAME, TEAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAMPTON, ELIZABETH                  FRAMPTON, LAUREN                      FRAN BISHARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRAN COONEY           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     FRAN GURSKY                      Page 1623
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                                                                                 LEXIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANCATI, JORDYN                     FRANCAVILLA, KAREN                    FRANCE, AMOREENA
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FRANCE, CAROLINE                     FRANCE, DEBORAH                       FRANCE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANCE, JANA                         FRANCE, KATHLEEN                      FRANCE, KIMBERLY
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FRANCE, PATRICIA                     FRANCE, SHARELLE                      FRANCE, TERESA
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FRANCELL, BETH                       FRANCES HORNER                        FRANCES JEAN SOLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANCES TERAOKA (FOODWITHFRANCIS)    FRANCES, MELANIE                      FRANCESCA GRAZIER
FRANCES TERAOKA                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
4473 MISSISSIPPI ST. APT 4
SAN DIEGO, CA 92116




FRANCESCHINI, VICTORIA               FRANCESCHINO, CAROL                   FRANCESCO, DIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANCESE, MEGAN                      FRANCESE, MORGAN                      FRANCESE, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANCEZ, MARGARET                    FRANCHESKA YESKOLSKI                  FRANCHISE TAX BOARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 942857
                                                                           SACRAMENTO, CA 94257-0531
FRANCHON MCINTYRE     Case 22-11238-LSS    Doc
                                     FRANCIK,     2 Filed 11/30/22
                                              ELISA                   Page 1624  of 5495
                                                                           FRANCILLON, JEMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCILLON, SHANI ASHLEY             FRANCINEGLIDE ADELEKE                  FRANCIS CAMPANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCIS COPPOLA WINERY, LLC          FRANCIS DYBUNCIO                       FRANCIS J LUCANO
300 VIA ARCHIMEDES                   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GEYSERVILLE, CA 95441-9325




FRANCIS LIU                          FRANCIS XAVER SCHMITT                  FRANCIS, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCIS, ANGELA                      FRANCIS, BRANDY                        FRANCIS, BRETLEY
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FRANCIS, BROOKE                      FRANCIS, COREY                         FRANCIS, ELLEN
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FRANCIS, FRANCINE                    FRANCIS, GENNINE                       FRANCIS, HEATHER
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FRANCIS, JEAN-TAE                    FRANCIS, JENNIFER                      FRANCIS, JENNIFER
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FRANCIS, JO                          FRANCIS, JOHN                          FRANCIS, JONATHAN
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FRANCIS, KAREN                       FRANCIS, KATIE                         FRANCIS, KATIE
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FRANCIS, LAUREN       Case 22-11238-LSS    Doc
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FRANCIS, MARK                        FRANCIS, MATTHEW                        FRANCIS, MICHELE
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FRANCIS, PAMELA                      FRANCIS, RACHEL                         FRANCIS, ROBERT
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FRANCIS, ROBERT                      FRANCIS, STEPHANIE                      FRANCIS, STEPHEN
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FRANCIS, TALIA                       FRANCIS, TYLER                          FRANCIS, UMI
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FRANCIS, WENDY                       FRANCISCA ESCOBAR                       FRANCISCHETTI, TERESA
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FRANCISCO ACOSTA ROA                 FRANCISCO AGREST                        FRANCISCO CORTEZ
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FRANCISCO DUARTE                     FRANCISCO MARIA MALAFAYA CABRAL         FRANCISCO SOCORRO LEITAO
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FRANCISCO, ANDREW                    FRANCISCO, ANGELICA                     FRANCISCO, AQUIA
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FRANCISCO, CAROL                     FRANCISCO, CHELSEA                      FRANCISCO, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FRANCISCO, ERISEL     Case 22-11238-LSS    DocHEATHER
                                     FRANCISCO, 2 Filed 11/30/22      Page 1626  of 5495
                                                                           FRANCISCO, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCISCUS REZA PAUL ADAM            FRANCISQUINI, JAMIE                    FRANCK, KRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCO WINE - NEVADA                 FRANCO WINE                            FRANCO, ALEX
3935 W. RENO AVE SUITE F             3935 W. RENO AVE SUITE F               ADDRESS AVAILABLE UPON REQUEST
LAS VEGAS, NV 89118                  LAS VEGAS, NV 89118




FRANCO, ALEXA                        FRANCO, ALLISON                        FRANCO, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCO, ANNIKA                       FRANCO, ANTHONY                        FRANCO, BIANCA
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FRANCO, CHELSEA                      FRANCO, DIANE                          FRANCO, HALEY
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FRANCO, HEATHER                      FRANCO, JOHN                           FRANCO, JOSEPHINA
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FRANCO, KRISTINA                     FRANCO, LUCIA                          FRANCO, MALERIE
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FRANCO, MARISSA                      FRANCO, MEGAN                          FRANCO, MICHELE
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FRANCO, RICARDO                      FRANCO, TARA                           FRANCO, THOMAS
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FRANCO, VERONICA      Case 22-11238-LSS
                                     FRANCO,Doc  2 Filed 11/30/22
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                                                                           FRANCO, 5495
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FRANCO, YVETTE                       FRANCOIS FRERES USA, INC.              FRANCOIS JEAN BLANC
ADDRESS AVAILABLE UPON REQUEST       1403 JEFFERSON STREET                  ADDRESS AVAILABLE UPON REQUEST
                                     NAPA, CA 94559




FRANCOIS, CHRISTINA                  FRANCOIS, GREGORY                      FRANCOIS, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCOIS, JUDE                       FRANCOIS, MARGARET                     FRANCOIS, MICHAELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCOIS, NICOLE                     FRANCOIS, YSABELLE                     FRANCOMANO, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANCOWARD, LINDSEY                  FRANCUZ, ALLEN                         FRANDSEN, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANGAJ, ESTERINA                    FRANGAKIS, A.                          FRANGELLA, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANGER, DANIELLE                    FRANGIPANE, KRISTIN                    FRANGOGIANNIS, DEMETRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANJOLA, ELIZABETH                  FRANK - LIN                            FRANK BURNS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANK CHIAPPETTA III                 FRANK DAJKA                            FRANK DILLENBECK
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                      Case 22-11238-LSS
FRANK ISADORE MARCIANTE                     Doc 2 Filed 11/30/22
                                     FRANK JAEN                       Page 1628  of 5495
                                                                           FRANK LITTLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANK MICHAEL SPARACINO              FRANK OFORI AKWA                      FRANK PRIEFLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANK R COULTER                      FRANK R HINKLE                        FRANK SCHMIDT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANK VINYL                          FRANK, ABBY                           FRANK, ALLISON
2536 UNIVERSITY AVE.                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN DIEGO, CA 92104




FRANK, ARIELLE                       FRANK, ELLEN AND RICHARD              FRANK, EVENS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANK, FALLYN                        FRANK, GENEVA                         FRANK, GILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANK, JALEESA                       FRANK, JASON                          FRANK, JESSICA
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FRANK, KARA                          FRANK, LESLEY                         FRANK, LISA
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FRANK, MARAH                         FRANK, MARYANN                        FRANK, MATTHEW
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FRANK, MICHAEL                       FRANK, OWEN                           FRANK, PATTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRANK, RANA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FRANK, REBECCA                       Page 1629
                                                                               FRANK,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




FRANK, SUZANNE                       FRANK, TANNA                              FRANK, TAYLOR
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FRANKE, ELIZABETH                    FRANKE, MADELINE                          FRANKE, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




FRANKE, TOM                          FRANKEL, DIANA                            FRANKEL, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




FRANKEL, MARC                        FRANKEL, MARGARET                         FRANKEL, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




FRANKEL-BONACCI, DAVITA              FRANKEN, ALEXANDRA                        FRANKEN, PAULA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




FRANKENBERGER, MEG                   FRANKENFIELD, ADRIENNE                    FRANKFURTH, GERRICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




FRANKHAUSER, ALEXIS                  FRANKLE, CELESTE                          FRANKLIN CASTRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            7545 MARBISA AVE
                                                                               HUNTINGTON PARK, CA 90255




FRANKLIN D WARREN II                 FRANK-LIN DISTILLERS PRODUCTS LTD.        FRANKLIN KATZ, CINDIE
ADDRESS AVAILABLE UPON REQUEST       2455 HUNTINGTON DR.                       ADDRESS AVAILABLE UPON REQUEST
                                     FAIRFIELD, CA 94533




FRANKLIN, ALEXANDRA                  FRANKLIN, ALEXIS                          FRANKLIN, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
FRANKLIN, ALYSSA      Case 22-11238-LSS    Doc
                                     FRANKLIN,   2 Filed 11/30/22
                                               ANDREW                 Page 1630  of 5495
                                                                           FRANKLIN, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKLIN, ASILIA                     FRANKLIN, BETH                         FRANKLIN, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKLIN, BRITTANY                   FRANKLIN, CHAD                         FRANKLIN, CHAD
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FRANKLIN, CHRISTO                    FRANKLIN, HANNAH                       FRANKLIN, HARRY
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FRANKLIN, KACEE                      FRANKLIN, KACI                         FRANKLIN, KEENAN
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FRANKLIN, KRISTIN                    FRANKLIN, LEAH                         FRANKLIN, LORI
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FRANKLIN, MARK                       FRANKLIN, MEG                          FRANKLIN, MORGAN
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FRANKLIN, MYLES                      FRANKLIN, PAM                          FRANKLIN, RANA
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FRANKLIN, RAY                        FRANKLIN, SAMUEL                       FRANKLIN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKLIN, SARAH                      FRANKLIN, SARAH                        FRANKLIN, SAVANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FRANKLIN, SHARON      Case 22-11238-LSS    Doc
                                     FRANKLIN,   2 Filed 11/30/22
                                               SHONA                  Page 1631  of 5495
                                                                           FRANKLIN, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKLIN, TARON                      FRANKLIN, TINA                         FRANKLIN, TOBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKLYN LLC                         FRANKLYN, KEMAHL                       FRANKO, PATTI
PO BOX 398                           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WOODSTOCK, NY 12498




FRANKOS, HELEN                       FRANKS, AL                             FRANKS, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKS, AMY                          FRANKS, BEN                            FRANKS, BETHANY
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FRANKS, BOBBY                        FRANKS, CASSI                          FRANKS, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKS, ELIZABETH                    FRANKS, LUCY                           FRANKS, NAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKS, RACHAEL                      FRANKS, SAMANTHA                       FRANKS, SHAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRANKSEN, TRACI                      FRANMARA INC.                          FRANSEN, RENEE
ADDRESS AVAILABLE UPON REQUEST       560 WORK ST                            ADDRESS AVAILABLE UPON REQUEST
                                     SALINAS, CA 93901




FRANSISCOE, LACEE                    FRANSON, JESSICA                       FRANSON, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FRANTA, ASHLEY        Case 22-11238-LSS
                                     FRANTA,Doc 2 Filed 11/30/22
                                            JESSICA                   Page 1632  of NAOMI
                                                                           FRANTES, 5495
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FRANTZ, CAMERON                      FRANTZ, CHRIS                         FRANTZ, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANTZ, DOROTHY                      FRANTZ, HENRY                         FRANTZ, KRISTYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANTZ, LINDSAY                      FRANTZ, NICHOLLE                      FRANTZ, SUSAN
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FRANTZ, WILLIAM                      FRANTZEN, CARRIE                      FRANTZREB, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANZ, JULIET                        FRANZ, KATIE                          FRANZ, RANDALL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANZ, SAMANTHA                      FRANZ, STEPHANIE                      FRANZE, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANZE, HANNA                        FRANZE, MATTHEW                       FRANZELLA, ANGELO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANZELLA, ANTONIA                   FRANZEN, CHERYL                       FRANZEN, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRANZESE, NEIL                       FRANZESE, ROBERT                      FRANZINI, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRANZINO, FRANK       Case 22-11238-LSS    Doc BRYCE
                                     FRANZMANN, 2 Filed 11/30/22      Page 1633 of 5495
                                                                           FRANZOLINO, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAPPIER, COURTNEY                   FRAPPIER, JENNIFER                    FRAPPIER, KRISTIN
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FRARY, CASEY                         FRARY, MEGAN                          FRASCELLA, MELISSA
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FRASCH, TYLER                        FRASER, ABIGAIL                       FRASER, ALEXANDRA
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FRASER, ALEXANDRA                    FRASER, ANDREA                        FRASER, BENJAMIN
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FRASER, BEVERLY                      FRASER, CALLIE                        FRASER, CAROLINA
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FRASER, CAROLINE                     FRASER, DAVID                         FRASER, EMMALEA
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FRASER, HEATHER                      FRASER, JACQUELINE                    FRASER, JENNA-ROSE
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FRASER, JENNIFER                     FRASER, JOHNNA                        FRASER, KATIE
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FRASER, KAYLA                        FRASER, KELLIE                        FRASER, KERRIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRASER, LAUREN        Case 22-11238-LSS
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                                                                           FRASER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRASER, LIZZY                        FRASER, LYNDSEY                       FRASER, MARGARITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRASER, MATTHEW                      FRASER, MELISSA                       FRASER, MYKAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRASER, NARDA                        FRASER, PATRICIA                      FRASER, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRASER, ROSEMARY                     FRASER, RYAN                          FRASER, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRASER, TABITHA                      FRASER, THOMAS                        FRASIER, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRASURE, DENYCE                      FRATARCANGELO, KERRI                  FRATES, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRATES, KERRI                        FRATES, NICOLE                        FRATI, J E
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRATI, LORENZO                       FRATICELLI, MARCO                     FRATTALONE, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRATTAROLI, ALLISON                  FRAUENHOFER, SCOTT                    FRAUENHOLZ, DOUG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRAUENKNECHT, BRITTANYCase 22-11238-LSS    Doc 2 LOUISE
                                     FRAUNGRUBER,    Filed 11/30/22   Page 1635 of 5495
                                                                           FRAUSTO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRAUSTO, JOSELIN                     FRAUSTO, RUTH                          FRAUTNICK, MATTHEW
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FRAVEL, JO                           FRAWLEY, CONNOR                        FRAWLEY, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FRAWLEY, KEVIN                       FRAWLEY, MARY CLARE                    FRAY, HANNA
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FRAYLE, STEPHANIE                    FRAYLING, LINDA                        FRAYSER, JENNY
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FRAZEE, MICHAEL                      FRAZER, CAREY                          FRAZER, DANIELLE
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FRAZIER INVESTMENTS LLC              FRAZIER, ALLIE                         FRAZIER, AMANDA
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FRAZIER, CAITLIN                     FRAZIER, CHELSEA                       FRAZIER, DESTINI
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FRAZIER, DRAMEL                      FRAZIER, ERIN                          FRAZIER, HANNAH
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FRAZIER, JANE                        FRAZIER, JENNIFER                      FRAZIER, JENNYFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FRAZIER, JESSICA      Case 22-11238-LSS     Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAZIER, MICHAELLA                   FRAZIER, MOLLY                        FRAZIER, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAZIER, NANCY                       FRAZIER, NATE                         FRAZIER, SAMANTHA
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FRAZIER, SUSAN                       FRAZIER, THUY                         FRAZIER, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRAZIER, WHITNEY                     FRAZIER-SLAUGHTER, TODD               FRAZZETTO, VINCENT
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FRD                                  FREAR, HEIDI                          FREAY, STEVEN
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FRECH, ROSE                          FRECH, TIM                            FRECHETTE, JESSICA
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FRECK, JOELLE                        FRECKLETON, KELSEY                    FRED BUCHHOLZ
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FRED CHILDS, FREDERICK               FRED FARDONE                          FRED KARPOFF
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FRED POWER                           FREDA, DON                            FREDA, KATIE
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FREDAY, JULIE         Case 22-11238-LSS
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                                                                                  ERNESTO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREDDY MARTINEZ                      FREDDY RAMIREZ                        FREDE, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       1101 CONCORD AVE.                     ADDRESS AVAILABLE UPON REQUEST
                                     SANTA MARIA, CA 93454




FREDEICK, DAJAH                      FREDEMAN JR, ROBERT                   FREDERIC CHARLES KLASKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREDERIC CORWIN                      FREDERIC, CASSANDRA                   FREDERICK HENRY SAMMONS JR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREDERICK II, MARCUS                 FREDERICK JAMES LEAVITT               FREDERICK MONTESI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREDERICK ODENBACH                   FREDERICK SABETTA                     FREDERICK, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREDERICK, ANGELA                    FREDERICK, ANNIE                      FREDERICK, CHELSEA
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FREDERICK, CHRISTINE                 FREDERICK, DENISE                     FREDERICK, EMILY
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FREDERICK, HARMONY                   FREDERICK, JAMES                      FREDERICK, JAMIE
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FREDERICK, JULIE                     FREDERICK, KATHY                      FREDERICK, KRISTIN
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FREDERICK, LEIGH      Case 22-11238-LSS    DocLOUISE
                                     FREDERICK, 2 Filed 11/30/22      Page 1638 of 5495
                                                                           FREDERICK, MADDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FREDERICK, MCKENZIE                  FREDERICK, MICHELLE                    FREDERICK, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FREDERICK, REBECCA                   FREDERICK, V SHAYNE                    FREDERICKS, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FREDERICKS, HEATHER                  FREDERICKS, JAMAICA                    FREDERICKS, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FREDERICKS, SUSIE                    FREDERICKSON, JENNA                    FREDERICO, JULIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FREDERICUS LAMI                      FREDERIKSEN, CHRISTINE                 FREDERIKSEN, GAYLE
802 N SWEETZER AVENUE                ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90069




FREDERIKSEN, JAMIE                   FREDETTE, SHARON                       FREDIANI, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FREDLUND, ALLI                       FREDRICK, MOLLY                        FREDRICK, RILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FREDRICKS, SEAN                      FREDRICKSON, ALEXANDRIA                FREDRICKSON, CHRISTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FREDRICKSON, KRISTIN                 FREDRICKSON, MATTHEW                   FREDRIK BROMS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FREDRIKSON, AMY       Case 22-11238-LSS    Doc
                                     FREDSBO, LISA2  Filed 11/30/22   Page 1639  of 5495
                                                                           FREE FLOW WINES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2557 NAPA VALLEY CORPORATE DRIVE
                                                                           SUITE A
                                                                           NAPA, CA 94558




FREE, CHARLAINE                      FREE, SAMANTHA                        FREE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREE, STAN                           FREE, VICKY                           FREEBERG, LOREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREEBORN, MARY JO                    FREEBURG, ELISE                       FREEBURN, SONYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREED, ABIGAIL                       FREED, CASEY                          FREED, EMILY
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FREED, JESSICA                       FREED, JOAN                           FREED, MOLLY
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FREEDBERG, ABE                       FREEDLEY, VINTON                      FREEDMAN, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREEDMAN, EMILY                      FREEDMAN, JESSIE                      FREEDMAN, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREEDMAN, NINA                       FREEDMAN, SANDY                       FREEDOM BEVERAGE COMPANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        4319 WATERLEAF CT. STE 101
                                                                           GREENSBORO, NC 27410




FREEHILL, LAURENE                    FREEL, ALEXANDRA                      FREELAND, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FREELAND, DORRIE      Case 22-11238-LSS    Doc
                                     FREELAND,   2 Filed 11/30/22
                                               JULIE                  Page 1640  of 5495
                                                                           FREELAND, RON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREELEY, CHRIS                       FREEMAN DREYER, ELYSE                 FREEMAN, ABBI
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FREEMAN, ADAMS                       FREEMAN, ALEX                         FREEMAN, AMANDA
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FREEMAN, ANGIE                       FREEMAN, ANTHONY                      FREEMAN, ASHLEY
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FREEMAN, BECKY                       FREEMAN, BENJAMIN                     FREEMAN, BRITTANY
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FREEMAN, BRYNDON                     FREEMAN, CASEY                        FREEMAN, CHARLES
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FREEMAN, CHELSEA                     FREEMAN, CHRIS                        FREEMAN, CHRIS
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FREEMAN, COLLEEN                     FREEMAN, COURTNEY                     FREEMAN, DANIEL
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FREEMAN, DENISE                      FREEMAN, ELIZABETH                    FREEMAN, ELIZABETH
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FREEMAN, ELLE                        FREEMAN, EMILY                        FREEMAN, EMILY
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FREEMAN, GINNY        Case 22-11238-LSS    Doc
                                     FREEMAN,   2 Filed 11/30/22
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                                                                           FREEMAN, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREEMAN, HEATHER                     FREEMAN, HOWARD                       FREEMAN, JACQUANIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREEMAN, JENN                        FREEMAN, JENNA                        FREEMAN, JENNIFER
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FREEMAN, JESSICA                     FREEMAN, JOSHUA                       FREEMAN, JULIE
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FREEMAN, KAITLYN                     FREEMAN, KAMILAH                      FREEMAN, KAREE
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FREEMAN, KATHERINE                   FREEMAN, KATIE                        FREEMAN, KATRINA
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FREEMAN, KELLY                       FREEMAN, KELLY                        FREEMAN, LAURA
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FREEMAN, LAUREN                      FREEMAN, LAUREN                       FREEMAN, LEILANI
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FREEMAN, LESLIE                      FREEMAN, LEWIS                        FREEMAN, LEWIS
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FREEMAN, LORI                        FREEMAN, LYNAE                        FREEMAN, MADELEINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FREEMAN, MADISON      Case 22-11238-LSS    Doc
                                     FREEMAN,   2 Filed 11/30/22
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                                                                           FREEMAN, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREEMAN, MARK                        FREEMAN, MARK                         FREEMAN, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREEMAN, MEGHAN                      FREEMAN, MELISSA                      FREEMAN, MORGANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREEMAN, NATALIE                     FREEMAN, PATRICIA                     FREEMAN, PHALLON
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FREEMAN, RICHARD                     FREEMAN, RYAN                         FREEMAN, SAMANTHA
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FREEMAN, SAMUEL                      FREEMAN, SARA                         FREEMAN, SARAH
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FREEMAN, SHAMEKA                     FREEMAN, SYDNE                        FREEMAN, TAYLOR
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FREEMAN, TIFFANY                     FREEMAN, TOMMY                        FREEMAN, VICTOR
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FREE-MARSHALL, MELISSA               FREEMON, CHELSEA                      FREERKS, NICHOLAS
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FREESE, DESTINY                      FREESE, LOUISE                        FREESE, MARY
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FREEZE, RANA          Case 22-11238-LSS
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                                                                                 CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREGIA, ADRIENNE                     FREGO, HILARY                         FREHLING, KELLY
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FREI, ALETHA                         FREI, CHELSEA                         FREIBOTH, JADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREIBURGER, MICHAEL                  FREIDA HARMON                         FREIDBERG, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREIGHTQUOTE.COM, INC.               FREIMAN, DAVID                        FREIMARK, LAURYN
901 WEST CARONDELET DRIVE            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KANSAS CITY, MO 64114




FREIN, FAYE                          FREIRE, FAUSTO                        FREIRE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREIRE, KEYCHA                       FREISEM, ALLEN                        FREISMUTH, SARAH
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FREITAG, BIRDIE                      FREITAG, CALISTA                      FREITAG, GABRIELLE
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FREITAG, JULIE                       FREITAG, RANDI                        FREITAS CLARK, BETH
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FREITAS, BEATRIZ                     FREITAS, JOHN                         FREITAS, MAKAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FREITAS, MARCILEIA    Case 22-11238-LSS
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                                                                             FREITAS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FREKING, MARIA                       FRELINGER, ALLISON                       FREMER, JUDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FREMSTAD, JOHANNE                    FRENCH CAMP VINEYARDS, L.P.              FRENCH FLORIST
ADDRESS AVAILABLE UPON REQUEST       (DBA MILLER FAMILY WINE COMPANY)         ADDRESS UNAVAILABLE AT TIME OF FILING
                                     132 EAST CARRILLO STREET
                                     SANTA BARBARA, CA 93101




FRENCH, CAMILLE                      FRENCH, CHELSEA                          FRENCH, DAKOTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FRENCH, DARIAN                       FRENCH, EILEEN                           FRENCH, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FRENCH, EMILY                        FRENCH, ERIC                             FRENCH, HEATHER
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FRENCH, JAMES                        FRENCH, JANICE                           FRENCH, JEFF
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FRENCH, KATHERINE                    FRENCH, KEEGAN                           FRENCH, LAUREN
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FRENCH, LINDSAY                      FRENCH, MACI                             FRENCH, MADELINE
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FRENCH, MATTHEW                      FRENCH, R ADRIAN                         FRENCH, REBECCA
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FRENCH, ROBERT        Case 22-11238-LSS
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                                                                                FRENCH, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




FRENCH, SHAINA                          FRENCH, SHERRI                          FRENCH, SUZANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRENCH, TOM                             FRENCH, VICTORIA                        FRENCH, WILLIAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRENKEL, CHARLENE                       FRENKEL-POPELL, SAMANTHA                FRENN, CHELSEA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRENNING, CAROL                         FRENTSOS, LYDIA                         FRERICHS, BRITTANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRERICHS, LYNDSEY                       FRESA, HEATHER                          FRESCHI, JOSHUA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRESCO COMMUNITY MARKET                 FRESE, ALEXIS                           FRESE, KRISTIN
5914 MONTEREY RD.                       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90042




FRESH & EASY                            FRESH BROTHERS MDR                      FRESH BROTHERS
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




FRESH WATER SYSTEMS                     FRESH WATER                             FRESH
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




FRESHOUR, GERALDINE                     FRESHWATER, CAMERON                     FRESOLONE, ARNOLD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FRETER, MAX           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FRETT, MARY-KATE                 Page 1646 of 5495
                                                                           FRETWELL, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRETZ, EMILY                         FRETZ, KIT                            FRETZ, REID AND TRUDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREUDENBERG, ANNA                    FREUDENBERG, ANNA                     FREUND, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREUND, DENNIE                       FREUND, HANNAH                        FREUND, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREUNDLICH, MAX                      FREUNDSCHUH, AARON                    FREVELETTI, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREY, AMANDA                         FREY, CASSIE                          FREY, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREY, JODIE                          FREY, JORDAN                          FREY, KATIE
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FREY, KELLY                          FREY, LAUREN                          FREY, LEONA
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FREY, LIZ                            FREY, MARA                            FREY, MARCUS AND STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREY, MARCY                          FREY, MORTON                          FREY, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FREY, NICOLE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           FREY, WMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREYERMUTH, GRETTA                   FREYMUTH, NICK                        FREYRE, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FREYS, THE                           FREZAL, ISABELLA                      FREZAL, NICOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRG LEASING, INC                     FRIAR, THOMAS                         FRIAS PROPERTIES OF ASPEN
P.O. BOX 10858                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
NAPA, CA 94581




FRIAS, DANENCY                       FRIAS, DEBRA                          FRIBERG, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRICCHIONE, JESSICA                  FRICCHIONE, JUSTINE                   FRICHTL, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRICK, CHRISTOPHER                   FRICK, CRISTINA                       FRICK, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRICK, PATRICK                       FRICKE, ANNA                          FRICKE, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRICKE, MEGAN                        FRICKE, MELISSA                       FRICKE, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRICKEN, NANETTE                     FRICKS, LISA                          FRIDAY, LACIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRIDAY, NATASHA       Case 22-11238-LSS
                                     FRIDAY, Doc 2 Filed 11/30/22
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                                                                           FRIDDLE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIDGEN, JENNIFER                    FRIDLEY, STEPFANIE                    FRIDONO, LEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIDONO, SARAH                       FRIEBELE, EDWARD                      FRIECE, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIED, HANNAH                        FRIED, JESSICA                        FRIED, MARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIED, REBECCA                       FRIED, ROBIN                          FRIEDBERG, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIEDEL, ALISHA                      FRIEDEL, JENIFER                      FRIEDEL, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIEDEL, TRACY                       FRIEDEN, BECKY                        FRIEDEN, REGENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIEDENBERG, JULIE                   FRIEDENBERG, LORI                     FRIEDERICH, AMY
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FRIEDERS, GRETCHEN                   FRIEDHEIM, CARA                       FRIEDHOFF, CLAIRE
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FRIEDHOFF, D.                        FRIEDLAND, SUE                        FRIEDLANDER, CHERISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRIEDLER, ALLISON     Case 22-11238-LSS    Doc
                                     FRIEDMAN,   2 Filed 11/30/22
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                                                                           FRIEDMAN, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIEDMAN, ALLISON                    FRIEDMAN, ANDREW                      FRIEDMAN, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIEDMAN, BRIDGET                    FRIEDMAN, BRITTNEY                    FRIEDMAN, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRIEDMAN, DAVID                      FRIEDMAN, DAVID                       FRIEDMAN, EVAN
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FRIEDMAN, INGRID                     FRIEDMAN, JANEE                       FRIEDMAN, JENNIFER
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FRIEDMAN, JILL                       FRIEDMAN, KYLE                        FRIEDMAN, LAURA
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FRIEDMAN, LEAH                       FRIEDMAN, MARK                        FRIEDMAN, MAX
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FRIEDMAN, NANCY                      FRIEDMAN, NIKKI                       FRIEDMAN, NOAH
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FRIEDMAN, RACHEL                     FRIEDMAN, REBECCA                     FRIEDMAN, REBECCA
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FRIEDMAN, RONNIE                     FRIEDMAN, SYDNEY                      FRIEDMAN, TAYLOR
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FRIEDMAN, WHITNEY     Case 22-11238-LSS    Doc
                                     FRIEDMAN,   2 Filed 11/30/22
                                               WILLIAM                Page 1650  of 5495
                                                                           FRIEDMAN, WILLIAM
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FRIEDMAN-COHEN, EMMA                 FRIEDRICH OHMENHAUSER                  FRIEDRICH, ALAINA
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FRIEDRICH, KATHERINE                 FRIEDRICH, MARINA                      FRIEDRICH, ROBIN
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FRIEDRICHS, MICHELLE                 FRIEDWALD, LISA                        FRIEDWALD, TAYLOR
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FRIEH, COLLEEN                       FRIEL, FRANCIS                         FRIEMAN, RACHEL
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FRIEMEL, HEATHER                     FRIEND, CHELSEA                        FRIEND, CHRISTA
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FRIEND, CYNTHIA                      FRIEND, EMILY                          FRIEND, MICHAEL
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FRIEND, TERRI                        FRIEND, WILLIAM                        FRIERSON, ANNIE
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FRIERSON, CYNTHIA                    FRIES, HEATHER                         FRIES, JEFF
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FRIES, JEN                           FRIES, JOSHUA                          FRIES, KATIE
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FRIES, PEYTON         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           FRIESE,of 5495
                                                                                   JULIE
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FRIESE, MINDI                        FRIESEN, BENJAMIN                     FRIESEN, HELENA
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FRIESEN, LIZ                         FRIESEN, MARY                         FRIESEN, MARYAH
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FRIESEN, SARAH                       FRIESEN, SARAH                        FRIESENHAHN, MORGAN
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FRIESINGER, ANIKA                    FRIESS, TERESITA MARTINEZ             FRIESZELL, MICHAEL
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FRIESZ-MARTIN, LYNDA                 FRIETZ, CINTIA                        FRIEZ, CHRIS
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FRIEZE, STEPHANIE                    FRIGAARD, GORDON                      FRIGO, SYLVIA
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FRIGO, VICTOR                        FRIGO, VINCE                          FRIGON, MARGARET
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FRILEY, MARY                         FRILEY, MARY                          FRILOUX, JOHNNY
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FRIMENKO, HILARY                     FRIMODIG- MARK, JESSICA               FRIMPONG, SAMUEL
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FRINK, BRUCE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FRINZI, JOHN                     Page 1652
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FRIOU, JULIA                         FRISBEY, ALEXES                       FRISBIE, ALEXANDRA
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FRISBIE, ROBERT L                    FRISBY, ALICIA                        FRISCH, ALAINA
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FRISCH, ANNEMARIE                    FRISCH, BILL                          FRISCH, GAIL
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FRISCH, STUART                       FRISCHE, SARAH                        FRISCHKORN, ERYN
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FRISELLA, BENNY                      FRISHMAN, JAMIE                       FRISHMAN, SAMUEL
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FRISQUE, DANIELLE                    FRISSE, ANN                           FRISTACHI, CRISTINA
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FRISZ, NICOLE                        FRITCH, HILLARY                       FRITCHIE, GRETCHEN
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FRITCHLEY, JEANNE                    FRITCHLEY, MISSY                      FRITH, HANNAH
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FRITHSEN, AMANDA                     FRITTS, KAITLYN                       FRITZ DUGGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRITZ, ANNA           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FRITZ, CAROL                     Page 1653   of 5495
                                                                           FRITZ, CHAHNUH
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FRITZ, DANIEL C                      FRITZ, EVELYN                         FRITZ, JOHN
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FRITZ, KELSEY                        FRITZ, LAURA                          FRITZ, LAWRENCE
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FRITZ, MALLORY                       FRITZ, MARK                           FRITZ, MARY
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FRITZ, MEGHAN                        FRITZ, MIKE                           FRITZ, PATRICIA
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FRITZ, PAULA                         FRITZ, REBECCA                        FRITZ, REINHARD
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FRITZ, TERRI                         FRITZ, TREVOR                         FRITZ, TYLER
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FRITZE, HAYLEE                       FRITZE, SAMANTHA                      FRITZINGER, JOSEPH
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FRITZMONT, JANET                     FRITZSCHE, CHARLES                    FRIZZAR, HAROLD
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FRIZZELL, ASHLEY                     FRIZZELL, MELISSA                     FROEHLICH, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FROEHLICH, NICHOLAS   Case 22-11238-LSS    DocNICOLE
                                     FROEHLICH, 2 Filed 11/30/22      Page 1654 of 5495
                                                                           FROEHLICH, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FROEHLICH, SAMANTHA                  FROEHLICH, SHERI                       FROELICH, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FROELICH, GREG                       FROELICH, MATT                         FROELICH, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FROELKE, HANNAH                      FROESS, JOSHUA                         FROGGATT, ELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FROGGATT, MICHAEL                    FROHBERG, RACHEL                       FROHNHOEFER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FROHNING, RACHEL                     FROHOCK, TAYLOR                        FROKE, PAULA
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FROLOVA, VALERIE                     FROMAN, RYAN                           FROMBACH, ZACH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FROMHART, ZAK                        FROMM, ELIZABETH                       FROMM, MARIA
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FROMMER, KATHLEEN                    FROMMEYER, COLLEEN                     FROMOWITZ, CASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FROMZEL, ELENA                       FROMZEL, MICHELLE                      FRONBERRY, BECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FRONCEK, DANA         Case 22-11238-LSS    DocKYLIE
                                     FRONCZAK,  2 Filed 11/30/22        Page 1655 of 5495JIM
                                                                             FRONEBERGER,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRONEK, JOANNE                       FRONIUS, LAURA                          FRONK, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRONK-COLE, PAMELA                   FRONTIER                                FRONTLINE SERVICES, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   9 HOPE LANE
                                                                             EASTSOUND, WA 98245




FROOD, KAREN                         FROSCHEISER, JOSH                       FROSINOS, CRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FROST, CANDACE                       FROST, CASEY                            FROST, DARLENE
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FROST, DAVID                         FROST, DUSTIN                           FROST, ELLEN
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FROST, JAMIE                         FROST, JODY                             FROST, KIMBERLYN
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FROST, MARIANNE                      FROST, MATT                             FROST, MELISSA
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FROST, NATALIE                       FROST, RYAN                             FROST, SONJA
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FROST, STACEY                        FROST, STEPHANIE                        FROST, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FROST, TIM            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FROST, VICTORIA                    Page 1656
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FROSZTEGA, CYNTHIA                   FROTHINGHAM, RACHEL                     FROTHINGHAM, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FROZE, MARILYN                       FRUEH, NATE                             FRUEHAUF, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRUEHSTORFER, GRETCHEN               FRUEND, NICK                            FRUGALPAC LIMITED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          FRUGAL HOUSE, 37 CRANES BUSINESS
                                                                             PARK CRANE BOULEVARD, IPSWICH IP3 9SQ




FRUGE, PATRICK                       FRUHAUF, SABRINA                        FRUIT OF THE VINES, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          51-02 VERNON BLVD. 2ND FLOOR
                                                                             LONG ISLAND CITY, CA 11101




FRUIT OF THE VINES, INC.             FRUIT OF THE                            FRUITSMART, INC.
51-02 VERNON BLVD. 2ND FLOOR         ADDRESS UNAVAILABLE AT TIME OF FILING   506 6TH STREET PO BOX 177
LONG ISLAND CITY, NY 11101                                                   (MAILING) PROSSER, WA 99350




FRULAND, WILLIAM                     FRULIO MANETTA, GRACE                   FRULLA, KURT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRUSCELLO, CLAIRE                    FRUSTACI, VINCENT                       FRUTA, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRUTIGER, STELLA                     FRUTO, MIN                              FRUTOS, BIANCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRUZYNSKI, DANA                      FRY, ADAM                               FRY, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FRY, ASHLEY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FRY, ASHLEY                      Page 1657   of 5495
                                                                           FRY, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRY, BLAKE                           FRY, CAROL                            FRY, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRY, CYNTHIA                         FRY, DANIEL                           FRY, EREN
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FRY, JEREMY                          FRY, JOSH                             FRY, JULIE
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FRY, KATHERINE                       FRY, KATHRYN                          FRY, KEVIN
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FRY, LINDA                           FRY, VANESSA                          FRYC, MARIE
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FRYDAY, LEAH                         FRYDENBORG, ERIK                      FRYDENLUND, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRYE, ALEXANDRA                      FRYE, ANGELA                          FRYE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FRYE, DANICA                         FRYE, GARY                            FRYE, JENNI
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FRYE, KATELYN                        FRYE, REBECCA                         FRYE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRYE, TIFFANY         Case 22-11238-LSS     Doc 2 KORYN
                                     FRYE-FUENTES,   Filed 11/30/22        Page 1658
                                                                                FRYER,of 5495
                                                                                      ASHLEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




FRYER, DEVON                            FRYER, HILARY                           FRYER, MARLO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRYER, MONICA                           FRYER, WENDY                            FRYETT, HOLLY
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FRYLING, CHRISTA                        FRYLING, MEG                            FRYMAN, AMBER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FRYMAN, CLAIRE                          FRYMIER-LAZAR, KATHY                    FRYMIRE, BETSY
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FRYREAR, KATE                           FRYREAR, LANCE                          FRYS ELECTRONICS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




FRYZOL, SAMANTHA                        FS AULUX                                FSDF, D
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




FTD.COM                                 FU, AARON                               FU, AMANDA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FU, EMILY                               FU, ERICA                               FU, MORGYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




FU, OSBERT                              FU, XIN                                 FUAN, GUO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FUCCI, RACHEL         Case 22-11238-LSS    Doc
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                                                                           FUCETOLA, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUCHECK, CHRISTINA                   FUCHS, ELYSE                           FUCHS, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUCHS, SEAN                          FUCHSEN, ERIN                          FUCHU, PLYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUCILE, CAROLYN                      FUCILE, TERRI                          FUCINATO, EMILY
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FUDALA, ADRIANA                      FUDENBERG, BRIAN                       FUDESCO, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUDESCO, MIA                         FUDGE, AMANDA                          FUDGE, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUEMMELER, NIKOLE                    FUENMAYOR, ORLANYS                     FUENMAYOR, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUENTES SEGURA, JONATHAN             FUENTES, ALEXANDRA                     FUENTES, ANGEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUENTES, BRIAN                       FUENTES, CARLOS                        FUENTES, CARMEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUENTES, CECILIA                     FUENTES, CRISTOBALINA                  FUENTES, ED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FUENTES, HEATHER      Case 22-11238-LSS    Doc
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                                                                           FUENTES, 5495
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FUENTES, LUDMILA                     FUENTES, LUIS                          FUENTES, MARIA
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FUENTES, MEGAN                       FUENTES, MICHELLE                      FUENTES, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUENTES, RACHEL                      FUENTES, SARAH                         FUENTES, VICENTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUENTES-CHATMON, DONITA              FUERMAN, JILLIAN                       FUERST, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUERTE, ANTHONY                      FUERTES-NIEVES, MARIA                  FUEST, ALYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUFA, TEFERI                         FUGATE, KAREN                          FUGER, REBECCA
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FUGERE, BRIAN                        FUHLBRIGGE, KREIG                      FUHR, MARSHALL
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FUHRMAN, CLAIRE                      FUHRMAN, COURTNEY                      FUHRMAN, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUHRMAN, KATHRYN                     FUHRMAN, RICHARD                       FUHRMAN, ROBERTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FUHS, VERONICA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     FUIR, SUSAN                       Page 1661
                                                                            FUJAN, of 5495
                                                                                   MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUJI 9, LLC                           FUJIMORI, JORDAN                      FUJIMOTO, ALLEN
2060-D E AVENIDA DE LOS ARBOLES 213   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
THOUSAND OAKS, CA 91362




FUJISAKI, NORMAN                      FUJITA, MIMKO                         FUJIWARA, CAROL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUKUDA, MATT                          FUKUSHIMA, ERIN                       FUKUYAMA, MARIAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULARZ, AMY                           FULBRIGHT, CINDY                      FULCHER, JUSTIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULCHER, TAMMY                        FULCHER, WANDA                        FULD, ANNA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULDA, DANIEL                         FULFORD, CAROLINE                     FULFORD, LAURIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULGENCIO, EDUARDO                    FULK, AMY                             FULK, AUSTIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULK, AUTUMN                          FULKERSON, KIM                        FULKS, LISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULL STACK FINANCE LLC.               FULL, ELISE                           FULLCLIP CRAFT DISTRIBUTORS
1112 MONTANA AVE 116                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
SANTA MONICA, CA 90403
FULLDECK              Case 22-11238-LSS
                                     FULLEN,Doc
                                            JESSE2   Filed 11/30/22   Page 1662
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5757 WEST CENTURY BLVD. SUITE 300    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90045




FULLENKAMP, THOMAS                   FULLENWIDER, ERIN                     FULLER TILLMAN, SHANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULLER, ALEX                         FULLER, ALEXA                         FULLER, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULLER, ANISHA                       FULLER, ANNA                          FULLER, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULLER, BERNARD                      FULLER, BRIAN                         FULLER, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULLER, CAMPBELL                     FULLER, CHARLOTTE                     FULLER, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULLER, CHERI                        FULLER, CHRISTA                       FULLER, CHRISTOPHER
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FULLER, CLARICE                      FULLER, CLARISSA                      FULLER, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULLER, DAILEY                       FULLER, ELIZA                         FULLER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULLER, GINA                         FULLER, IVAN                          FULLER, JAYNEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FULLER, JEDI          Case 22-11238-LSS
                                     FULLER,Doc
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                                                                           FULLER,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FULLER, KATIE                        FULLER, KAYLA                          FULLER, KELSEY
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FULLER, KRISTA                       FULLER, KYLE                           FULLER, LAUREN
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FULLER, LAUREN                       FULLER, MARIE                          FULLER, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FULLER, MATTHEW                      FULLER, NANCY                          FULLER, RACHAEL
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FULLER, RALPH                        FULLER, REBECCA                        FULLER, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FULLER, REBECCA                      FULLER, SARAH                          FULLER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FULLER, SASHA                        FULLER, SHAYNA                         FULLER, STACEY
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FULLER, STEFANIE                     FULLER, STEPHANIE                      FULLER, SUSAN
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FULLER, TAYLER                       FULLER, THERESA                        FULLER, TORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FULLER, TRYNITY       Case 22-11238-LSS
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                                                                                     VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FULLERAYOUB, KAY                     FULLER-HOWARD, NATALIE                   FULLERTON, AMANDA
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FULLERTON, BARBARA                   FULLERTON, HANNAH                        FULLERTON, MAC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FULLERTON, RYAN                      FULLGRAF, BRIAN                          FULLING, KAYLEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FULLMER, AMBER                       FULLMER, HALEY                           FULLONE, KIM
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FULLOP, BREANNA                      FULL-PAK INTERNATIONAL S.A.              FULLUM, CHARLEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




FULMER, ANGELA                       FULMER, SAMANTHA                         FULMORE, COREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FULP, APRIL                          FULP, CASSONDRA                          FULP, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FULP, MICHELLE                       FULSOME, OWEN                            FULTANO, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FULTON, ALICIA                       FULTON, CHELSEA                          FULTON, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
FULTON, GRACE         Case 22-11238-LSS
                                     FULTON,Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




FULTON, LYNN                            FULTON, MADDISEN                      FULTON, MEGAN
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FULTON, MICHAEL                         FULTON, RACHEL                        FULTON, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULTON, RYAN AND JO ANN                 FULTON, SHAUN                         FULTON, SHYANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULTON, SUE                             FULTON-BLACK, MAIA                    FULTZ, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULTZ, LINDSAY                          FULTZ, MADDI                          FULTZ, MARK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FULTZ, WHITNEY                          FULWOOD, JALISA                       FUMAGALLI, ALYSSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUMFIE                                  FUMI SUEYOSHI                         FUN FLICKS
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




FUN GRAB LLC (PRIZEGRAB)                FUNAI, CHARLENE                       FUNARO, LAUREN
548 MARKET ST. 77649                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94104




FUNCHE, R                               FUNCHES, JAYLA                        FUNCHESS, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FUND, ALLISON         Case 22-11238-LSS
                                     FUNDAN,Doc
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                                                                           FUNDAREK, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUNDER, P                            FUNDERBURG, BRETT                     FUNDERBURG, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUNDERBURK, AALAIYA                  FUNDERBURK, GARY                      FUNDERBURK, KARNISHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUNES, KATHERINE                     FUNG, ALEX                            FUNG, AMOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUNG, BRENDAN                        FUNG, KAYSEY                          FUNG, LILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUNICIELLO, DANIELLE                 FUNK, ALEX                            FUNK, ALYSSA
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FUNK, AMY                            FUNK, ARNOLD                          FUNK, AUSTIN
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FUNK, CALLIE                         FUNK, JAMES                           FUNK, KELSEY
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FUNK, KENZIE                         FUNK, MEGAN                           FUNK, MICHELLE
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FUNK, PEGGY                          FUNK, RACHAEL                         FUNK, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FUNK, SALLY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FUNK, VINCE                      Page 1667
                                                                           FUNKE,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUNKE, SEAN                          FUNKHOUSER, KYLE                      FUNKHOUSER, MEREDITH
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FUNKHOUSER, MICHELLE                 FUNNY, TAMEKA                         FUNSTON, KEVIN
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FUNT, JOSHUA                         FUNT, KRISTIN                         FUNTELAR, ANNA
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FUNTIK, JOHN                         FUNWELA, JEAN                         FUQUA, DOROTHY
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FUQUA, FRANCES                       FUQUA, HEATHER                        FUQUA, LAUREL
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FURANO, ROSE                         FURBER, AIMEE                         FURCI, GINA
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FURCRON, PHERITA                     FUREY, RYAN                           FUREY, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUREY, SUE                           FURGATCH, MONIQUE                     FURGERSON, LINDA
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FURLONG, ALEXANDRA                   FURLONG, CECILY                       FURLONG, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FURLONG, MICHELLE     Case 22-11238-LSS    Doc
                                     FURLONG,   2 Filed 11/30/22
                                              REBECCA                 Page 1668 of 5495
                                                                           FURLONG, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURLOUGH, SARAH                      FURMAN G WALL JR                      FURMAN PRAUSE, DARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURMAN, CHRIS                        FURMAN, CRYSTAL                       FURMAN, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURMAN, JULIE                        FURMAN, LIZ                           FURMAN, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURMAN, PATRICK                      FURMAN, SAMANTHA                      FURMAN, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURMANEK, STACYE                     FURMANSKI, TONI                       FURNACE, GARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURNARI, VIRGINIA                    FURNEE, CAROL                         FURNESS, ANGELA
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FURNESS, BILL                        FURNESS, KERRY                        FURNESS, STEPHEN
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FURNISH, BRANDI                      FURNO, ELISE                          FURNO, SAMANTHA
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FURR, ARA                            FURR, LEVI                            FURR, ROBERT
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FURR, SHARIE          Case 22-11238-LSS
                                     FURRER,Doc 2 Filed 11/30/22
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                                                                           FURREY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURRY, CARAH                         FURRY, KENDRA                         FURTADO, CHELZEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURTADO, GUSTAVO                     FURTADO-SIMPSON, KAREN                FURTAK, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURTNER, LAUREN                      FURUSHO, LAUREN                       FURY, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FURYK, KAREN                         FUSARINI, KAYLI                       FUSARO, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUSARO, ELENA                        FUSARO, JOSEPH                        FUSARO, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUSCO, ALEXIS                        FUSCO, CHRIS                          FUSCO, EILEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUSCO, ERIN                          FUSCO, HOPE                           FUSCO, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUSCO, KARA                          FUSCO, LISA                           FUSCO, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




FUSCO, MELISSA                       FUSCO, MOSEY                          FUSCO, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FUSCO, SHANNEN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     FUSER, BROOKLYN                  Page 1670   of LABRADFORD
                                                                           FUSILIER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUSILLO, BRUCE                       FUSON, DAWN                            FUSS, JUDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUSSELL, MARY                        FUSSELL, TARA                          FUSSELL, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUSSNER, EILEEN                      FUSSNER, JUSTIN                        FUSTER, NICOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUSTON, LAUREN                       FUTAGAKI, KEI                          FUTAGAKI, REGINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUTCH, ALEX                          FUTCHER, JUDY                          FUTRAL, LYNN
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FUTRELL, ANN                         FUTRELL, MARGARET                      FUTRELL, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUTTER, CATHERINE                    FUTTER, JAYME                          FUTTERMAN, ELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FUTTERMAN, HEATHER                   FUTTERMAN, JOEL                        FUTU CLEARING INC. (4272)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ATTN COLETTE REX OR PROXY DEPT
                                                                            12750 MERIT DR STE 475
                                                                            DALLAS, TX 75251




FUXA, DAWN                           FUZESI, CLAIRE                         FYBER MEDIA GMBH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         WALLSTRASSE 9-13, 10179
                                                                            BERLIN
                                                                            GERMANY
FYBER                   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                       FYE, RENEE                       Page 1671
                                                                             FYFFE, of 5495
                                                                                    ANDREW
JOHANNISTRASSE 20 10117                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BERLIN
GERMANY




FYFFE, JOSH                           FYHRIE, NICK                           FYKES, BRUCE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




FYOCK, SAMANTHA                       G ANN LAUDER                           G LEWIS JR, HENRY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




G LEWIS JR, HENRY                     G REID, DAVID                          G SANFORD, ALBERT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




G STETLER, CARLY                      G, CLARA                               G, D
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




G, DENNY                              G, ESTELLA                             G, FRANK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




G, HENRY                              G, JACQUELINE                          G, JAIMY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




G, MARLIN                             G, NICOLE                              G, STEPH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




G, TRAVIS                             G, V                                   G. MARKL, DANIEL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




G. NESBIT, MERDELL                    G., DANN                               G., KELLI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
G.W. KENT INC         Case 22-11238-LSS       Doc 2 INC.
                                      G3 ENTERPRISES,  Filed 11/30/22   Page 1672  ofOF5495
                                                                             GA DEPT    REVENUE
ADDRESS UNAVAILABLE AT TIME OF FILING 502 E. WHITMORE AVENUE                  1800 CENTURY BOULEVARD, NE
                                      MODESTO, CA 95358                       ATLANTA, GA 30345




GAARD, COLLEEN                        GAAS, RACHEL                            GAASBECK, BETH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GABAJI, ZAHABIYA                      GABALDON, AARON                         GABARATA, ALINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GABBARD, AMANDA                       GABBARD, JACOB                          GABBARD, LAUREN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GABBARD, RONDA                        GABBAYAN, NATASHA                       GABBE, ALEXIS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GABBERT, COLLEEN                      GABBERT, EMILY                          GABBERT, JULIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GABBERT, KATE                         GABBERT, TAVIA                          GABBY GLOVER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GABBY RUSSELL, GABBY                  GABEL, AMY                              GABEL, FRANCES
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GABEL, HOLLY                          GABEL, KATE                             GABEL, KELSEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GABEL, MOLLY                          GABEL, TOM                              GABELE, TARA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
GABER, LOBNA          Case 22-11238-LSS    Doc
                                     GABHART,    2 Filed 11/30/22
                                              JASON                   Page 1673  of 5495
                                                                           GABIDULINA, FARIDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABLE, CLAYTON                       GABLE, JULISSA LEZCANO                 GABLE, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABLE, TAYSIA                        GABLEMAN, BRITTANY                     GABLER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABLER, NATE                         GABLER, RACHELLE                       GABLER, RANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABLICK, LAUREN                      GABOR, JODY                            GABOURY, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABOWER, PATRICE                     GABRIEL ALFONSO CASTELLANOS VALDEZ     GABRIEL AND MALINI CUNJE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABRIEL ANDRADE KAISER               GABRIEL ARELLANO TORRES                GABRIEL ARELLANO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABRIEL BODMER                       GABRIEL CARTER                         GABRIEL CINTRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABRIEL DAWE                         GABRIEL KAHAN                          GABRIEL LEBLANC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GABRIEL LEIS                         GABRIEL SANDOVAL                       GABRIEL SANDOVAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GABRIEL ZELTSER       Case 22-11238-LSS    Doc
                                     GABRIEL,    2 Filed 11/30/22
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                                                                           GABRIEL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GABRIEL, DAMONA                      GABRIEL, JOSEPH                       GABRIEL, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GABRIEL, LEIGH                       GABRIEL, NICOLETTE                    GABRIEL, REGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GABRIELA LOPEZ                       GABRIELA, SIMONE                      GABRIELE, STEFANIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GABRIELLA CASTELLI                   GABRIELLA S LOUGHNOT                  GABRIELLE LYNCH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GABRIELLE, SHANARA                   GABRIELLO, SAMANTHA                   GABRIELSON, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GABRIELSON, HOLLY                    GABRIELSON, KATIE                     GABRIELSON, MAJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GABSO, PATRICIA W                    GACHALIAN, LAILANI                    GACKA, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GADALETA, ANTONIO                    GADBOIS, JILL & COLE                  GADDIE, ALYSIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GADDINI, JENNIFER                    GADDIS, GENA                          GADDIS, NADIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GADDIS, RACHEL        Case 22-11238-LSS
                                     GADDIS,Doc 2 Filed 11/30/22
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                                                                              GADDIS,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GADDY, KATHRYN                          GADDY, LAUREN                         GADDY, SUBRINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GADDY, TIFFANY                          GADE, VANESSA                         GADERLUND, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GADGET CIRCUIT                          GADHOK, VAISHALI                      GADI, SUBBARAO
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GADIENT, TRACY                          GADINSKI, BRIAN                       GADOURY, IRVING
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GADRE, MAITHILI                         GADSBY, KARALINE                      GADSON, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GADSON, NATASHAJA                       GADWOOD, ANGIE                        GADWOOD, ANGIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GADZEKPO, SEDINAM                       GADZINSKI, JOSEPH                     GAEBEL, KATERINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GAEDCHENS, BRITTANY                     GAEDE, CAREY                          GAESSER, SHANNON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GAETACASTORI, ERICA                     GAETANA MASSARO                       GAETANO, KAITLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GAFFIGAN, LAUREN      Case 22-11238-LSS    Doc
                                     GAFFIGAN,   2 Filed 11/30/22
                                               STEFANIE               Page 1676  of LAUREN
                                                                           GAFFINO,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GAFFNEY, ADOLPHIS                    GAFFNEY, ARIANNA                       GAFFNEY, DAN
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GAFFNEY, ELIZABETH                   GAFFNEY, EMILY                         GAFFNEY, KELLY
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GAFFNEY, KRISTEN                     GAFFNEY, KRISTEN                       GAFFNEY, LEYAH
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GAFFNEY, MATTHEW                     GAFFNEY, MELISSA                       GAFFNEY, MINA
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GAFFNEY, MONIQUE                     GAFFNEY, PATRICK                       GAFFNEY, SEAN
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GAFFNEY, SHANNEN                     GAFFNEY, TAYLOR                        GAFFNEY, THOMAS
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GAGA, DUREETI                        GAGALA, LYNN                           GAGARKIN, DMITRIY
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GAGE, COURTNEY                       GAGE, EBONI                            GAGE, EMILY
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GAGE, JEANNINE                       GAGE, JOAN                             GAGE, KATHLEEN
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GAGE, KRISTIN         Case 22-11238-LSS    DocLAURA
                                     GAGE-HUNT, 2 Filed 11/30/22      Page 1677
                                                                           GAGEN,of 5495
                                                                                  JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GAGEN, STEPHANY                      GAGGIOLI, PHYLLIS                     GAGGION, JENNIFER
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GAGIC, NIKOLA                        GAGLIANO, KELLI                       GAGLIARDI, JESSICA
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GAGLIARDI, MARIN                     GAGLIARDI, NICK                       GAGLIARDI, OLIVIA
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GAGLIARDI, ROSE                      GAGLIARDO, JILLIAN                    GAGLIARDO, KARA
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GAGLIONE, CLAIRE                     GAGNE, ANDREW                         GAGNE, JENNIFER
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GAGNE, JOHNATHON                     GAGNE, KERRY                          GAGNE, LAURIN
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GAGNE, STEPHANIE                     GAGNON, BRIANNA                       GAGNON, CLAUDIA
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GAGNON, DAVE                         GAGNON, DEBBIE                        GAGNON, EILEEN
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GAGNON, EMMALEE                      GAGNON, JEFFERY                       GAGNON, KRISTEN
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GAGNON, LISA          Case 22-11238-LSS    Doc
                                     GAGNON,    2 Filed 11/30/22
                                             MELISSA                  Page 1678 of OLIVIA
                                                                           GAGNON, 5495
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GAGNON, RACHEL                       GAGNON, SAMANTHA                      GAGNOR, ALEX
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GAGO VELASQUEZ, ALEJANDRA            GAHAGAN, HANNAH                       GAHAGAN, KEN
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GAHAN-HUNTER, TARNA                  GAHLOT, NIKHIL                        GAHN, CHRISTINE
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GAHUNGU, JESSICA                     GAI, JESSICA                          GAI, MARSHA
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GAIBI, ASHLA                         GAIDA, KELLY                          GAIDOS, DANIEL
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GAIENNIE, CRISTINE                   GAIER, APRIL                          GAIER, MOLLY
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GAIFEDJIAN, LEANNA                   GAIGE, KELLY                          GAIKWAD, KIMAYA
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GAIKWAD, PRADNYA                     GAIL A GRENZIG                        GAIL MCDIFFETT DOYLE
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GAIL PARADOWSKI                      GAIL SAUNEE                           GAILLANT, NADINE
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GAILLARD, LINDA       Case 22-11238-LSS     Doc
                                     GAILLARD,    2 Filed 11/30/22
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                                                                           GAILLIOT, 5495
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GAILYARD, SINADIA                    GAINER, STEVE                          GAINES RODRIGUEZ, ANN
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GAINES, ALLYSON                      GAINES, AYLA                           GAINES, BRIANA
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GAINES, CRYSTAL                      GAINES, DAVID                          GAINES, EASTON
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GAINES, ERIN                         GAINES, JENNIFER                       GAINES, JESSICA
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GAINES, JOSH                         GAINES, JULIA                          GAINES, JULIE
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GAINES, KAREN                        GAINES, LERIN                          GAINES, PAULA
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GAINES, STEFANIE                     GAINES, SUSAN                          GAINES, YVONNE
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GAINEY, AMANDA                       GAINEY, MORGAN                         GAINOR, BRONWYN
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GAINOUS, MARTY                       GAIR SOLO 401K TRUST                   GAIS, SUZANNE
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GAISSERT, DANIELLE    Case 22-11238-LSS
                                     GAITAN, Doc
                                             KARLA2  Filed 11/30/22   Page 1680
                                                                           GAITAN,of 5495
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GAITER, SALATHIEL                    GAITHER, ADAM                         GAITHER, DANIELLE
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GAITHER, DEANDREA                    GAITHER, JORDAN                       GAITHER, JULIANA
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GAITHER, LAUREN                      GAITHER, MATT                         GAITHER, VELVA
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GAITHER, ZENOBIA                     GAITO, KRISTINA                       GAITTEN, KELLY
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GAJDOSIK, REBECAH                    GAJDUKO II, JOHN                      GAJENDRA SHUKLA
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GAJJAR, RAINA                        GAJUS, GLENDA                         GAJUS, JAIME
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GALA, MANSI                          GALAK, CAIT                           GALAN, KELLY
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GALANEK, RACHAEL                     GALANG, ANTHONY                       GALANG, JOEL
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GALANT, JULIE                        GALANTE, CARLYLE                      GALANTE, JERRY
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GALARCE, HECTOR       Case 22-11238-LSS    Doc
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                                                                           GALARZA, 5495
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GALARZA, GRICEL                      GALARZA, TIARA                        GALASKEWICZ, LAUREN
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GALASSO, CHRISTINA                   GALASSO, CLAIRE                       GALASSO, DOMINIC
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GALATI, MICHAEL                      GALATIOTO, JACQUELINE                 GALATOLO, ALEXIS
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GALATRO, DIANA                       GALATZ, COLLEEN                       GALAUSKI, DENISE
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GALAVOTTI, BARBRA                    GALAZ, ALICIA                         GALBATO, CHRISTINA
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GALBATO, MINDI                       GALBIER, JOSE                         GALBO, JOAN
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GALBO, MICHELE                       GALBRAITH, ALEXANDRA                  GALBRAITH, ERIN
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GALBRAITH, KATIE                     GALBRAITH, LAUREN                     GALBRAITH, LYNN
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GALBRAITH, STEPHANIE                 GALBREATH, ANN                        GALBREATH, CYNTHIA
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GALBREATH, THOMAS     Case 22-11238-LSS    Doc
                                     GALCZYK,    2 Filed 11/30/22
                                              ANDREW                  Page 1682 of 5495
                                                                           GALDAMEZ, HEATHER
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GALDI, NANCY                         GALDINO, FRAN                         GALE SPENCE
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GALE, AMANDA                         GALE, CHRISTINA                       GALE, JACKIE
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GALE, KELSI                          GALE, LISA                            GALE, MACKENZIE
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GALE, MIKE                           GALE, SAMUEL                          GALE, SHANON
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GALEANO, MONICA                      GALEANO, NICK                         GALEAS, CAROLYN
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GALEAZZI, EMILIO                     GALECKE, R.JILL JEFF                  GALEN BRICKER
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GALEN, LAURA                         GALENA, KYLE                          GALERA, CHELSEA
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GALES, MAEVE                         GALETANO, KRISTIN                     GALEY, KENDALL
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GALGANO, PETER                       GALI, YELITZA                         GALIANO, LUCERO
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GALIARDI, MADISON     Case 22-11238-LSS
                                     GALICIA,Doc 2 Filed 11/30/22
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                                                                           GALICIA,  5495
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GALICIA, ORALIA                      GALIE, VICKI                           GALINAT, SARAH
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GALINDO, ANDRES                      GALINDO, ELLA                          GALINDO, ERIKA
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GALINDO, HENRY                       GALINDO, REUEL                         GALINDO, STEPHANIE
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GALINEY, JUSTIN                      GALING, VALARIE                        GALINSKY, KELLY
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GALIPEAU, ALANA                      GALIVO, CZARAH                         GALL, BRIANTIFFANY
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GALL, CHRISTINA                      GALL, EMILY                            GALL, EMMA
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GALL, JESSICA                        GALL, MORDION                          GALL, REBEKAH
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GALL, SCOTT                          GALL, TIM                              GALLA, JAMES
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GALLACCHI, JENN                      GALLACHER, JENI                        GALLACHER, SARAH
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GALLAGHE, BRIANNA     Case 22-11238-LSS    DocAMY
                                     GALLAGHER, 2 Filed 11/30/22      Page 1684  of 5495
                                                                           GALLAGHER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLAGHER, ATTENTION: MICK           GALLAGHER, BARBARA                    GALLAGHER, BEN
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GALLAGHER, BRIAN                     GALLAGHER, BRIGID                     GALLAGHER, BRITTNI
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GALLAGHER, BROOKE                    GALLAGHER, BROOKE                     GALLAGHER, CARILYN
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GALLAGHER, CARYN                     GALLAGHER, CASSANDRA                  GALLAGHER, CATHY
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GALLAGHER, COURTNEY                  GALLAGHER, DIANA                      GALLAGHER, EMMA
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GALLAGHER, ERIN                      GALLAGHER, GAVIN                      GALLAGHER, GERALD
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GALLAGHER, JACLYN                    GALLAGHER, JANET                      GALLAGHER, JENNA
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GALLAGHER, JENNIFER                  GALLAGHER, JESSICA                    GALLAGHER, JILLIAN
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GALLAGHER, JOAN                      GALLAGHER, JOHN                       GALLAGHER, JULIE
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GALLAGHER, JW         Case 22-11238-LSS    DocKAREN
                                     GALLAGHER, 2 Filed 11/30/22      Page 1685  of 5495
                                                                           GALLAGHER, KAREN
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GALLAGHER, KATE                      GALLAGHER, KATE                       GALLAGHER, KATHLEEN
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GALLAGHER, KATHLEEN                  GALLAGHER, KIRA                       GALLAGHER, KIRSTEN
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GALLAGHER, KURT                      GALLAGHER, LAUREN                     GALLAGHER, LAUREN
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GALLAGHER, LESLIEANN                 GALLAGHER, LINDSEY                    GALLAGHER, LYNN
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GALLAGHER, LYNN                      GALLAGHER, MANDY                      GALLAGHER, MARGARET
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GALLAGHER, MARIE                     GALLAGHER, MARY BEVERLY               GALLAGHER, MATTHEW
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GALLAGHER, MATTHEW                   GALLAGHER, MEGAN                      GALLAGHER, MEGAN
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GALLAGHER, MERCEDES                  GALLAGHER, MICHAEL                    GALLAGHER, MICHAEL
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GALLAGHER, MICHELE                   GALLAGHER, MICHELE                    GALLAGHER, MOLLY
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GALLAGHER, NICHOLAS   Case 22-11238-LSS    DocPAULINA
                                     GALLAGHER, 2 Filed 11/30/22      Page 1686  of 5495
                                                                           GALLAGHER, QUINN
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GALLAGHER, RACHEL                    GALLAGHER, RANDOLPH                   GALLAGHER, REBECCA
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GALLAGHER, RORI                      GALLAGHER, ROSE                       GALLAGHER, RUTH
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GALLAGHER, SALLY                     GALLAGHER, SARA                       GALLAGHER, SEAN
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GALLAGHER, SEAN                      GALLAGHER, SHANNON                    GALLAGHER, SHERRIE
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GALLAGHER, SKYLAR                    GALLAGHER, THEA                       GALLAGHER, THERESE
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GALLAGHER, THOMAS                    GALLAGHER, TIMOTHY                    GALLAHER, JILLIAN
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GALLAHER, KAITLYN                    GALLAHER, LINDSEY                     GALLAHER, NICOLE
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GALLAM, CLAIRE                       GALLANT, AMANDA                       GALLANT, GAIL
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GALLANT, WILLIAM                     GALLARDO GIOZZA, GABRIEL              GALLARDO HERNANDEZ, JAZMIN L.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GALLARDO, ALICIA      Case 22-11238-LSS    DocJENNIFER
                                     GALLARDO,  2 Filed 11/30/22      Page 1687  of 5495
                                                                           GALLARDO, JENNIFER
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GALLARDO, JOY                        GALLARDO, RAYMOND                      GALLARDO, WENDY
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GALLARDO, YONELLY                    GALLARDO-RUNK, ANDREA                  GALLAS, JENNA
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GALLAS, KYLE                         GALLATIN, JOYCE                        GALLAUGHER, ANITA
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GALLAWAY, ROD&NANCY                  GALLAWAY, TRISHA                       GALLE, KATY
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GALLE, MEG                           GALLEGO, BERTHA                        GALLEGO, FLORA
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GALLEGO, NELIA                       GALLEGO, WILLIAM                       GALLEGOS, ALEJANDRA
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GALLEGOS, ANGELICA                   GALLEGOS, ASHLEY                       GALLEGOS, AUDRA
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GALLEGOS, DAVID                      GALLEGOS, GRISELDA                     GALLEGOS, JOANN
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GALLEGOS, JONI                       GALLEGOS, JORGE                        GALLEGOS, KAYLA
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GALLEGOS, MARIA       Case 22-11238-LSS    DocMARIA
                                     GALLEGOS,  2 Filed 11/30/22      Page 1688  of 5495
                                                                           GALLEGOS, RACHEL
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GALLEGOS, SARAH                      GALLELLA, OLIVIA                      GALLELLI, SUSAN
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GALLER, ELIZABETH                    GALLER, MADEANA                       GALLETTA, ASHLEY
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GALLETTA, DANI                       GALLETTI, FRANCISCO                   GALLI, BOBBI
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GALLI, MEGHAN                        GALLIC, CHRISTOPHER                   GALLIEN, ERIN
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GALLIGAN, ELOISE                     GALLIGAR, DANIEL                      GALLIK, MARGARET
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GALLIMORE, DANIEL                    GALLIMORE, EMILY                      GALLIMORE, HEATHER
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GALLINA, ALYSSA                      GALLINA, TINA                         GALLINAL, KATRINA
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GALLINGER, LYNNE                     GALLION, OLIVIA                       GALLION, STEPHANIE
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GALLIPO, JENNIFER                    GALLIPPO, DENISE                      GALLISA, LAURA
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GALLITELLI, DENISE    Case 22-11238-LSS     DocGIANNA
                                     GALLITELLI, 2 Filed 11/30/22     Page 1689  of 5495
                                                                           GALLITELLI, MATTHEW
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GALLMAN, KEVIN                       GALLNER, CAROL                         GALLO VINEYARDS INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         600 YOSEMITE BLVD
                                                                            MODESTO, CA 95354




GALLO, ALICIA                        GALLO, ALISSA                          GALLO, ANNETTE
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GALLO, JESSICA                       GALLO, KIRSTEN                         GALLO, LILLIAN
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GALLO, LORRAINE                      GALLO, MARK                            GALLO, MAURA
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GALLO, MELANIE                       GALLO, MICHELLE                        GALLO, MR. MICHAEL
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GALLO, PETER                         GALLO, RAY                             GALLO, TERESA
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GALLO, VANESSA                       GALLOGLY, CECI                         GALLOGLY, STACEY
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GALLON, DAVE                         GALLOP, JULIA                          GALLOT, VERNA
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GALLOWAY, AIMEE                      GALLOWAY, ALICE                        GALLOWAY, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GALLOWAY, CAROL       Case 22-11238-LSS    DocCHANTIL
                                     GALLOWAY,  2 Filed 11/30/22      Page 1690 of 5495
                                                                           GALLOWAY, CONSTANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLOWAY, HALEY                      GALLOWAY, JESSICA                     GALLOWAY, KEEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLOWAY, LIZ                        GALLOWAY, MELLISSA                    GALLOWAY, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLOWAY, RACHEAL                    GALLOWAY, RANDALL                     GALLOWAY, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLOWAY, STEPHANIE                  GALLOZZI, JOLETA                      GALLUCCI, LUCIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLUCCI, SUSAN                      GALLUGI, LAURA                        GALLUN, JANAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLUP, ANNA                         GALLUP, DANA                          GALLUP, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLUP, ELIZABETH                    GALLUP, JOAN                          GALLUP, LYDIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLUP, SARAH                        GALLUPPI, TRACY                       GALLUS, KATERINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALLUZZO, MIKE                       GALLUZZO, NICOLE                      GALMIN, DAMON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GALOB, JENNA          Case 22-11238-LSS    DocJESSICA
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALOS, NICOLE                        GALOTTA, COREY                        GALPHIN, VIRGINIA
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GALSTAD, AKASHA                      GALSTON, MICAELA                      GALUSHA, JACLYN
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GALUSZKA, ALLISON                    GALUSZKA, GAYLA                       GALVAN, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALVAN, JASMIN                       GALVAN, JEAN                          GALVAN, JORDAN
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GALVAN, MALINA                       GALVAN, MARIA                         GALVAN, MATTHEW
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GALVAN, SHANNON                      GALVAN, THANIA                        GALVAN, YESENIA
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GALVEZ, ADRIANA                      GALVIN, BRITTANY                      GALVIN, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GALVIN, JODYANN                      GALVIN, KATHLEEN                      GALVIN, MARY
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GALVIS, ALBALILIANA                  GALVIS, JACQUELINE                    GALYON, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GALYUK, TATYANA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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GAMADY, AVINOAM                      GAMALDI, MICHAELA                     GAMALDI, MICHAELA
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GAMART, JENNIFER                     GAMART, JORDAN                        GAMBA, HELEN-ASHLEY
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GAMBARDELLA, EILEEN                  GAMBEE, ASHLEY                        GAMBEE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GAMBEE, STEPHANIE                    GAMBHIR, ISHITA                       GAMBHIRE, DHIRAJ
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GAMBILL, BRETT                       GAMBILL, ELIZABETH                    GAMBINI, ANTONETTE
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GAMBINO, KELLY                       GAMBINO, TOREBAK                      GAMBIRAZIO, JOSE
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GAMBIZA, FADZI                       GAMBLE, ALAN                          GAMBLE, ALICIA
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GAMBLE, ASHLEY                       GAMBLE, CAMERON                       GAMBLE, DEANA
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GAMBLE, ELIZABETH                    GAMBLE, EMILY                         GAMBLE, GINGER
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GAMBLE, JAYME         Case 22-11238-LSS
                                     GAMBLE,Doc  2 Filed 11/30/22
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                                                                           GAMBLE, 5495
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GAMBLE, KIRSTEN                      GAMBLE, LACOSHIA                      GAMBLE, LORETTA
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GAMBLE, MANISHA                      GAMBLE, MARY                          GAMBLE, PENNY
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GAMBLE, RACHEL                       GAMBLE, RIANNE                        GAMBLE, TIANA
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GAMBLER, KATELYN                     GAMBOA, ALBA                          GAMBOA, ALICIA
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GAMBOA, DEREK                        GAMBOA, JULIE                         GAMBOA, XAVIERA
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GAMBRINO MOORE, LAUREN               GAMBUTI, RICK                         GAME, BRADFORD
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GAMEL, JULIANNA                      GAMER, COURTNEY                       GAMERMAN, JEN
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GAMERO, GISELLE                      GAMERO, NICHOLAS                      GAMEROZ, SHAUN
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GAMEZ, ANGIE                         GAMEZ, SANJUANITA                     GAMEZ, YVETTE
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GAMINO, MARIA         Case 22-11238-LSS     Doc 2 ALVARO
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                                                                           GAMMAGE, STACIA
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GAMMANS, CHRISTINE                   GAMMARINO, IAN                        GAMMEL, ANNAMAREE
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GAMMEL, HEATHER                      GAMMIERE, RICHARD                     GAMMILL, ALANA
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GAMMILL, AMY                         GAMMILL, BARCLAY                      GAMMILL, NIKI
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GAMMON, BREANNA                      GAMMON, DALUANA                       GAMS, KAREN
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GAMSJAGER, TARA                      GAMST, ANNA                           GAN, MICHAEL
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GANA, GWANYGHAA                      GANA, HANNAH                          GANA, KATRINA
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GANAS, TAYLOR                        GANAU AMERICA, INC                    GANAWAY, AARON
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                                     SONOMA, CA 95476




GANAWAY, ASHANTAY                    GANAWAY, CROSS                        GANDARA, BRENDA
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GANDARA, MIKAELA                     GANDARA-CASTILLO, ELIZABETH           GANDARILLA, CECILIA
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GANDARILLAS, CLOTILDE Case 22-11238-LSS
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GANDHI, ASHOK                        GANDHI, JAY                           GANDHI, KAMALDEEP
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GANDHI, KANISHK                      GANDHI, MOHNISH                       GANDHI, NINA
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GANDHI, NISHA                        GANDHI, POOJA                         GANDHI, REENA
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GANDHI, VISHAL                       GANDIA, MONICA                        GANDOLFI, PAOLO
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GANDOLFI, TAYLOR                     GANDOLFO, DANIELLE & JOE              GANDOLFO, EMILY
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GANDOLFO, TAYLOR                     GANDRAPU, VAMSHI                      GANDY, AHMAD
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GANDY, JACOB                         GANDY, NICHOLE                        GANDY, NOELLE
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GANDY, VENCE                         GANDY, WHITNEY                        GANELES, JOSH
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GANESAN, DHRUVA                      GANESH, PRASHANT                      GANESHAN, SUSAN
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GANEY, SEAN           Case 22-11238-LSS    Doc 2 PRADEEP
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                                                                           GANGADHARA INAGANTI
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GANGAL, SHARVARI                     GANGALOO, SARUJNIE                    GANGE, ASHLEY
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GANGE, NICOLE                        GANGEMI, LYLE                         GANGER, TERESA
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GANGI WILLEMANN, SUE                 GANGI, LISA                           GANGI, NANCY
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GANGI, NICK                          GANGLE, SARAH                         GANGNES, DREW
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GANIER, KIMBERLY                     GANIERE, CHARONNE                     GANIO, AUDREY
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GANIVET, SHARON                      GANJAMIE, SUSAN                       GANLEY, VICKI
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GANN, CASEY                          GANN, JAMIE                           GANN, KELSEY
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GANN, MALIA                          GANN, MISTY                           GANNETT, MOLLY
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GANNON, AMANDA                       GANNON, AUBREY                        GANNON, BEN
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GANNON, CAROLEE       Case 22-11238-LSS    Doc
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GANNON, KAREN                           GANNON, KAREN                         GANNON, LEDA
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GANNON, MARGARET                        GANNON, NICHOLAS                      GANNON, PAUL
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GANNON, PAYTON                          GANNON, SEAN                          GANNON, SHAWNA
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GANNON, TIERNEY                         GANOE, PATRICIA                       GANON, MARGO
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GANS, HENRY                             GANS, LILIA                           GANS, MD, BRUCE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GANS, SUSAN                             GANSER, JASON                         GANSER, JENNIFER
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GANSEVOORT PARK AVEN NEW YORK           GANSEVOORT TURKS AND CAICOS           GANSKE, KAREN
ADDRESS UNAVAILABLE AT TIME OF FILING   LOWER BIGHT ROAD                      ADDRESS AVAILABLE UPON REQUEST
                                        BRITISH WEST INDIES TKCA 1ZZ
                                        TURKS AND CAICOS ISLANDS




GANSKE, TABITHA                         GANSSLE, JOHN                         GANSWINDT, CAITLIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GANT, JEN                               GANT, LESYLE                          GANT, ROBIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GANTA, JANANI         Case 22-11238-LSS    Doc JEANNE
                                     GANTENBEIN, 2 Filed 11/30/22     Page 1698   of 5495
                                                                           GANTI, SINDHU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GANTICK, ERICKA                      GANTNER, TRISH                        GANTNER, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GANTT, JESSICA                       GANTT, MARIALYCE                      GANTZ, JOE
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GANTZ, KANOE                         GANTZER, SARAH                        GANZ, DESIREE
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GANZ, DYLAN                          GANZEL, SARAH                         GAO, KARI
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GAO, LISA                            GAO, LU                               GAO, QIANYING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GAO, TIAN                            GAO, WENDY                            GAO, YANGZHENYU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GAO, YING                            GAO, YUE                              GAOA, CASSANDRA
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GAPINSKI, SARAH                      GAPON, TATYANA                        GAPONENKO, TETYANA
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GARA, SHERRY                         GARABEDIAN, DAWNA                     GARABEDIAN, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GARADI, AHANA         Case 22-11238-LSS    DocHANNAH
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GARAND, JULIE                        GARANT, BETH                          GARANZINI, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARAPOLO, MARK                       GARAY, THALIA                         GARAY, YAJAIRA
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GARB, CHRISTIE                       GARB, LISA                            GARBANI, BRITTNEY
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GARBAREK, LARRY                      GARBARINI, STEPHANIE                  GARBARINO, AMANDA
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GARBARINO, JASON                     GARBARINO, MARY ANN                   GARBARINO, TINA
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GARBARK, KATIE                       GARBE, STEPHANIE                      GARBER, AUDRALEE
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GARBER, GRETCHEN                     GARBER, JULIANNA                      GARBER, KEITH
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GARBER, KRISSY                       GARBER, MATTHEW                       GARBER, STEPHANIE
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GARBERG, GRETA                       GARBITELLI, MARIA                     GARBY, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GARCES, BIANCA        Case 22-11238-LSS
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GARCIA JR., ANTONIO                  GARCIA LEZAMA, GENESIS                GARCIA OROSCO, CARLOS IVAN
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GARCIA SANCHE, GABRIEL               GARCIA SWISHER, JOANNA                GARCIA, ADAN
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GARCIA, ADRIAN                       GARCIA, ALAN                          GARCIA, ALEC
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GARCIA, ALEJANDRO                    GARCIA, ALEJANDRO                     GARCIA, ALEX
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GARCIA, ALEXA                        GARCIA, ALEXANDRIA                    GARCIA, ALICIA
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GARCIA, ALLYN                        GARCIA, ALMA                          GARCIA, ALONDRA
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GARCIA, ANA                          GARCIA, ANA-GABRIELLA                 GARCIA, ANALEIGH
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GARCIA, ANAMARIA                     GARCIA, ANGELA                        GARCIA, ANGELICA
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GARCIA, ANGIE                        GARCIA, ANISSA                        GARCIA, ANN
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GARCIA, ANNA          Case 22-11238-LSS
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GARCIA, ANTONETTE                    GARCIA, ASHLEIGH                      GARCIA, ASHLEY
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GARCIA, ASHLEY                       GARCIA, ASHLEY                        GARCIA, ASHLEY
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GARCIA, AURORA                       GARCIA, BRENDA                        GARCIA, BRIANNA
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GARCIA, BRIDGETTE                    GARCIA, BRITTANY                      GARCIA, CALLIE
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GARCIA, CARLI                        GARCIA, CARLOS                        GARCIA, CAROLYN
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GARCIA, CASSIDY                      GARCIA, CHERISE                       GARCIA, CHESLYMAR
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GARCIA, CHRISTINE                    GARCIA, CINDY                         GARCIA, CLAUDIA
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GARCIA, CLAUDIA                      GARCIA, CRISTINA                      GARCIA, CRYSTAL
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GARCIA, DAMON                        GARCIA, DANIEL                        GARCIA, DANIELA
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GARCIA, DANIELLE      Case 22-11238-LSS
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GARCIA, DAVID                        GARCIA, DELILAH                       GARCIA, DIEGO
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GARCIA, DOLORES                      GARCIA, DYANA                         GARCIA, ELIZABETH
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GARCIA, ELIZABETH                    GARCIA, ERIC                          GARCIA, ERICA
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GARCIA, ESPERANZA                    GARCIA, ESS                           GARCIA, ESTEBAN
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GARCIA, EVANYANIS                    GARCIA, EVELYN                        GARCIA, FELICIA
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GARCIA, FELIX                        GARCIA, FRANCESCA                     GARCIA, GABRIEL
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GARCIA, GABRIELLA                    GARCIA, GENEVA                        GARCIA, GERALDINE
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GARCIA, GIO                          GARCIA, GISELA                        GARCIA, GLORIA
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GARCIA, GRACIELA                     GARCIA, HALEY                         GARCIA, HEIDI
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GARCIA, HILLARY       Case 22-11238-LSS
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GARCIA, IVAN                         GARCIA, JACQUELINE                    GARCIA, JANEEN
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GARCIA, JASMINE                      GARCIA, JEANINE                       GARCIA, JENIFER
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GARCIA, JENNA                        GARCIA, JENNIFER                      GARCIA, JENNY
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GARCIA, JERAMEY                      GARCIA, JESSE                         GARCIA, JESSICA
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GARCIA, JESSICA                      GARCIA, JESSICA                       GARCIA, JESSICA
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GARCIA, JESUS                        GARCIA, JOANNA                        GARCIA, JOANNA
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GARCIA, JORGE                        GARCIA, JOSE                          GARCIA, JOSEPHINE
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GARCIA, JOSMAN                       GARCIA, JUAN ANDRES                   GARCIA, JUAN MANUEL
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GARCIA, JUDITH                       GARCIA, JULIA                         GARCIA, JULIA
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GARCIA, JUSTIN        Case 22-11238-LSS
                                     GARCIA,Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARCIA, KAYLA                        GARCIA, KEILEY                         GARCIA, KELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARCIA, KHRYSTIN                     GARCIA, LADONNA                        GARCIA, LAURA
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GARCIA, LAUREN                       GARCIA, LAUREN                         GARCIA, LEAH
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GARCIA, LEAH                         GARCIA, LEEANA                         GARCIA, LEIGHANN
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GARCIA, LEO                          GARCIA, LETICIA                        GARCIA, LILLIAM
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GARCIA, LILLIAN                      GARCIA, LINDSAY                        GARCIA, LINDSEY
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GARCIA, LIZ ANN                      GARCIA, LUCIA                          GARCIA, LUCIA
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GARCIA, LUCIO                        GARCIA, LUIS                           GARCIA, LUZ
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GARCIA, LUZ                          GARCIA, MADILYNN                       GARCIA, MARELYN
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GARCIA, MARGARET      Case 22-11238-LSS
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GARCIA, MARIA                        GARCIA, MARIA                         GARCIA, MARIAMELIA
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GARCIA, MARIANA                      GARCIA, MARIELA                       GARCIA, MARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARCIA, MARISSA                      GARCIA, MARK                          GARCIA, MARY
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GARCIA, MARYANNE                     GARCIA, MASSY                         GARCIA, MAYA
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GARCIA, MAYRA                        GARCIA, MAYTE                         GARCIA, MEGAN
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GARCIA, MEGHAN                       GARCIA, MELISSA                       GARCIA, MELISSA
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GARCIA, MELISSA                      GARCIA, MELISSA                       GARCIA, MICHELLE
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GARCIA, MICHELLE                     GARCIA, MIKE                          GARCIA, MISH
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GARCIA, MOISES                       GARCIA, MONICA                        GARCIA, MONIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GARCIA, MORGAN        Case 22-11238-LSS
                                     GARCIA,Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARCIA, NEFTALI                      GARCIA, NICHOLAS                      GARCIA, NICK
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GARCIA, NICOLE                       GARCIA, NINA                          GARCIA, NORA
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GARCIA, OLIVIA                       GARCIA, PATRICIA                      GARCIA, PAUL
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GARCIA, PAUL                         GARCIA, PEDRO                         GARCIA, PHIL
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GARCIA, RAFAEL                       GARCIA, RAMLYNE                       GARCIA, RAY
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GARCIA, REGINA                       GARCIA, RENEE                         GARCIA, RENEE
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GARCIA, REYNA                        GARCIA, RITA                          GARCIA, ROSA
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GARCIA, ROSA                         GARCIA, ROSIE                         GARCIA, RYAN
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GARCIA, SAMANTHA                     GARCIA, SAMANTHA                      GARCIA, SARA
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GARCIA, SARAH         Case 22-11238-LSS
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GARCIA, SERGIO                       GARCIA, SHANEL                        GARCIA, SHANNY
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GARCIA, SHARON                       GARCIA, SHAUNTEL                      GARCIA, SHYANA
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GARCIA, SONDRA                       GARCIA, STACEY                        GARCIA, STACIE
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GARCIA, STEFANIE                     GARCIA, STEPHANIE                     GARCIA, STEVE
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GARCIA, SYDNEY                       GARCIA, TAMEY                         GARCIA, TAMMY
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GARCIA, VALERIA                      GARCIA, VALERIE                       GARCIA, VERONICA
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GARCIA, VICTOR                       GARCIA, VICTORIA                      GARCIA, VICTORIA
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GARCIA, VICTORIA                     GARCIA, YAMI                          GARCIA, YECENIA
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GARCIA, YELITZA                      GARCIA, YULIANNA                      GARCIA, YURITZI
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GARCIA-COATS, SHAN    Case 22-11238-LSS     Doc 2 JEANETTE
                                     GARCIA-GARZA,   Filed 11/30/22   Page 1708  of 5495 VERONICA
                                                                           GARCIA-MELENDEZ,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARCIA-MEYERS, BRIANNA               GARCIA-RICKETTS, SARAH                GARCIA-RUIZ, JOMEINI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARCIA-YOUDELMAN, ALEX               GARCILAZO, ANGELICA                   GARD, KIRSTIN
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GARDEA, JAIME                        GARDELIUS, SHELBY                     GARDEN, GIOIA
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GARDEN, JAIDEN                       GARDEN, MARIO                         GARDEN, MARIS
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GARDENER, KAYLI                      GARDES, CHARLOTTE                     GARDETTO, KIM
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GARDINELLA, DIANE                    GARDINER, ANNETTE                     GARDINER, DEBORAH
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GARDINER, EMILY                      GARDINER, GABRIELA                    GARDINER, HALEY
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GARDINER, IAN                        GARDINER, KELLY                       GARDINER, KYRA
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GARDINER, MARGOT                     GARDINER, MICHELLE                    GARDINER, SARA
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GARDINER, SEAN        Case 22-11238-LSS     DocJULIAN
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        25251 AVE
                                                                           TIBBITS VALENCIA, CA 91355




GARDNER, ALANNA                      GARDNER, ALEXIS                       GARDNER, BRIDGET
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GARDNER, CAITLIN                     GARDNER, CARRIE                       GARDNER, CHRISTINA
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GARDNER, CHRYSAN                     GARDNER, CYPRIS                       GARDNER, DANIELLE
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GARDNER, DEACON                      GARDNER, DEVIN                        GARDNER, EMILY
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GARDNER, EMMA                        GARDNER, ERIC                         GARDNER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARDNER, GEOFFREY                    GARDNER, GLENN                        GARDNER, HALLE
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GARDNER, HAYLEY                      GARDNER, JACKIE                       GARDNER, JACKSON
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GARDNER, JANICE                      GARDNER, JESSICA                      GARDNER, KATHLEEN
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GARDNER, KATHRYN                     GARDNER, KATIE                        GARDNER, KELLEY
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GARDNER, KELLY        Case 22-11238-LSS    Doc
                                     GARDNER,   2 Filed 11/30/22
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                                                                           GARDNER, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARDNER, LORETTA                     GARDNER, LUCY                          GARDNER, MADDIE
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GARDNER, MAGGIE                      GARDNER, MAGGIE                        GARDNER, MAKENZIE
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GARDNER, MARGARET                    GARDNER, MARY                          GARDNER, MARYN
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GARDNER, MATT                        GARDNER, MATTHEW                       GARDNER, MEGAN
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GARDNER, MELITA                      GARDNER, MELITA                        GARDNER, MICHAEL
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GARDNER, MICHAEL                     GARDNER, MICHELLE                      GARDNER, MORGAN
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GARDNER, NANCY                       GARDNER, NATHAN                        GARDNER, PAMELA
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GARDNER, PAUL                        GARDNER, RACHEL                        GARDNER, REBECCA
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GARDNER, REBECCA                     GARDNER, ROBIN                         GARDNER, ROBIN
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GARDNER, SAMUEL       Case 22-11238-LSS    Doc
                                     GARDNER,   2 Filed 11/30/22
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                                                                           GARDNER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARDNER, SOPHIA                      GARDNER, SUSAN                        GARDNER, SUZANNE
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GARDNER, TALISA                      GARDNER, TAYLOR                       GARDNER, TERESA
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GARDNER, TERESA                      GARDNER, THOMAS                       GARDNER, TIFFANY
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GARDNER, TIMOTHY                     GARDNER, TRICIA                       GARDNER, WILLIAM
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GARDOCKI, AILEEN                     GARDOCKI, HANNAH                      GARDOCKI, TIMOTHY
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GARDONE, ALLISON                     GARDUNO, BENJAMIN                     GAREA, ANNE
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GARECHT, GRETA                       GARELICK, JEFFREY                     GARELICK, JONATHAN
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GARET, LINDSAY                       GARETH LEIGH NELLIES                  GARFIELD, ALIYA
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GARFIELD, EMMA                       GARFIELD, KATHLEEN                    GARFIELD, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GARFIELD, NICOLE      Case 22-11238-LSS     Doc
                                     GARFIELD,   2 Filed 11/30/22
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                                                                           GARFINKEL, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARFINKEL, JESSE                     GARFINKEL, KRISTINA                    GARFINKEL, TONJA
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GARFOLA, VICKI                       GARG, AKANKSHA                         GARG, ARNAV
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GARG, RIYA                           GARGANA, JOHN                          GARGANO, FAITH
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GARGANO, JOSEPH                      GARGANO, MARYANN                       GARGAS, CAMERON
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GARGES, STEPHANIE                    GARGIULLO, LUZ                         GARGIULO, JOSHUA
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GARGIULO, THOMAS                     GARGUILO, PAUL                         GARHART, MARY BETH
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GARIA, CHRISTIAN                     GARIANO, FRANCESCA                     GARIANO, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARIBALDI, DAVID                     GARIBAY, CAROLINE                      GARIBAY, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARIBAY, MYRNA                       GARIBAY, NARCISO                       GARIBO, ROSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GARIGLIO, MICHELLE    Case 22-11238-LSS      Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARIPPA, DOROTHY                     GARIS, ADAIR                           GARIS, VIOLA
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GARKIE, KELSEY                       GARKOWSKI, CHELSEY                     GARLAN, HEATHER
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GARLAND, ALLEN                       GARLAND, ANNA                          GARLAND, BREANDAN
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GARLAND, BYRD                        GARLAND, CARLY                         GARLAND, DEANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARLAND, KATHERINE                   GARLAND, NEIL                          GARLICK, ASHLEY
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GARLICK, KATE                        GARLIEPP, TAMI                         GARLIKE, NATALIE
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GARLING, KATHRYN                     GARLOCK, COLLEEN                       GARMAN, AIMEE
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GARMAN, MEG                          GARMENDIA, PAIGE                       GARMER, ZAC
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GARMISE, MARK                        GARMON, BETH                           GARMON, KARISSA
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GARMON, NICOLE        Case 22-11238-LSS    DocRICHARD
                                     GARNCARZ,  2 Filed 11/30/22      Page 1714 of1,5495
                                                                           GARNER   KENNETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARNER, ABIGAIL                      GARNER, ALLISON                       GARNER, ASHLEY
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GARNER, BARBARA                      GARNER, CHRISTINA                     GARNER, HEATHER
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GARNER, JAMAL                        GARNER, LAUREN                        GARNER, LAYNE
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GARNER, MARY ELLEN                   GARNER, REAGAN                        GARNER, REBECCA
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GARNER, REBECCA                      GARNER, ROBIN                         GARNER, SADIE
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GARNER, SCOTT                        GARNER, SHANNA                        GARNER, STEPHANIE
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GARNER, TINA                         GARNER, WENDY                         GARNESE, LAUREN
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GARNETT, BRYANNA                     GARNETT, CARLA                        GARNETT, KRYSTAL
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GARNETT, SHANE                       GARNHOLZ, CYNTHIA                     GARNIER, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GAROFOLI, SOPHIA      Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GAROPPOLO, GREGORY                   GARR, JESSICA                         GARR, SHAUNTEL
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GARRA, STEVIE                        GARRABRANT, ERIKA                     GARRAND, AMY
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GARRARD, RACHEL                      GARRARD, REBECCA                      GARRATT, JAIME
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GARRATY, BRIDGET                     GARREAU, MEREDITH                     GARRED, KRISTEN
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GARREN, TINSLEY                      GARRETSON, ALISSA                     GARRETSON, DAWN
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GARRETSON, MEREDITH                  GARRETSON, RACHEL                     GARRETT HEMMERLEIN
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GARRETT JOHN BALTZER                 GARRETT LYSFORD                       GARRETT MULHOLLAND
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GARRETT, ALLISON                     GARRETT, AMY                          GARRETT, ANDREW
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GARRETT, ANDREW                      GARRETT, AUSTIN                       GARRETT, BAILEY
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GARRETT, BENJAMIN     Case 22-11238-LSS    Doc
                                     GARRETT,    2 Filed 11/30/22
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                                                                           GARRETT, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARRETT, CHASIDY                     GARRETT, DEBI                         GARRETT, DEMETRIA
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GARRETT, DERMOT                      GARRETT, DON                          GARRETT, ELIZABETH
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GARRETT, EMMA                        GARRETT, HILLARY                      GARRETT, ISABELLA
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GARRETT, JEN                         GARRETT, JENNIFER                     GARRETT, JESSICA
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GARRETT, JORDAN                      GARRETT, KAELA                        GARRETT, KAREN
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GARRETT, KAYLA                       GARRETT, KIM                          GARRETT, LAURA
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GARRETT, LAUREN                      GARRETT, LINNEA                       GARRETT, LYNETTE
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GARRETT, MADDY                       GARRETT, MADELYNN                     GARRETT, MARYANNE
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GARRETT, MATTIE                      GARRETT, MELANIE                      GARRETT, MELISSA
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GARRETT, MICHAEL      Case 22-11238-LSS    Doc
                                     GARRETT,    2 Filed 11/30/22
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                                                                           GARRETT, PAMELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARRETT, PAUL                        GARRETT, RICHARD                      GARRETT, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARRETT, SARA                        GARRETT, STELLA                       GARRETT, TEIRANI
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GARRETT, THELJEWA                    GARRETT, WHITNEY                      GARRETTO, TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARREY, MEGAN                        GARRICK                               GARRICK, SAMANTHA
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GARRIDO, GLENDA                      GARRIDO, KARINA                       GARRIDO, KRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARRIDO, MONICA                      GARRIGAN, JOHN                        GARRINGTON, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARRIQUES, JONATHON                  GARRIS, ABIGAL                        GARRIS, GREGORY
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GARRIS, RACHEL                       GARRIS, ROBERT                        GARRISON, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARRISON, ANNABELLA                  GARRISON, ARIS                        GARRISON, BRANDON
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GARRISON, CHRIS       Case 22-11238-LSS    Doc
                                     GARRISON,   2 Filed 11/30/22
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                                                                           GARRISON, DENNIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARRISON, JAMES                      GARRISON, KAILA                        GARRISON, KATHARINE
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GARRISON, MARK                       GARRISON, MATTEA                       GARRISON, NIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GARRISON, REBECCA                    GARRISON, RICHARD                      GARRISON, RICHARD
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GARRISON, ROBIN                      GARRISON, ROXANNE                      GARRISON, SIDNEY
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GARRISON, SIMIYHA                    GARRISON, STEPHANIE                    GARRITY, CHRISTINA
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GARRITY, CHRISTOPHER                 GARRITY, JOHN                          GARRITY, PATRICIA
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GARRITY, RIBEKA                      GARRITY, SEAN                          GARRO, JOSEPH
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GARROCHO, JENNY                      GARROCHO, JESUS                        GARROD, TIMOTHY
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GARROLINI, EULIA                     GARRONE, RICHARD                       GARROTT, ANGELA
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GARROW, JACK          Case 22-11238-LSS    Doc
                                     GARROW, TORI2   Filed 11/30/22   Page 1719 of 5495
                                                                           GARROWAY, BAYLEE
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GARROWAY, KATY                       GARRUS JR, WAYNE                      GARRY DUROSIER
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GARRY, BERT                          GARRY, BILLIE                         GARRY, DONNA
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GARRY, DOREEN                        GARRY, MORGAN                         GARRY, TERESA
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GARSED, ALAINA                       GARSKE, CAROL                         GARSON, ALYCIA
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GARST, KELLY                         GARST, KIM                            GARTEN, WILLIAM
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GARTH, JIMMY                         GARTHWAITE, ANDREW                    GARTHWAITE, CHELSEA
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GARTLAND, CLAIRE                     GARTLAND, EMILY                       GARTLAND, HAYLEY
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GARTLAND, JENA                       GARTMAN, KELLY                        GARTNER, CAROLYN
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GARTNER, ELIZABETH                   GARTNER, ELIZABETH                    GARTNER, LISA
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GARTON, ANDREW        Case 22-11238-LSS    Doc
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                                                                           GARTON, 5495
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GARTON, SARA                         GARTRELL, MARK                        GARTZ, KATHRYN
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GARVER, J                            GARVEY, AMANDA                        GARVEY, CASSIE
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GARVEY, CATHARINE                    GARVEY, CRYSTAL                       GARVEY, DEANNA
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GARVEY, EMILY                        GARVEY, JOURDAN                       GARVEY, KATHY
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GARVEY, KIRSTEN                      GARVEY, LAURA                         GARVEY, LISA
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GARVEY, MAEGAN                       GARVEY, MARSHA                        GARVEY, MATT
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GARVEY, NATHANIEL                    GARVEY, SAMANTHA                      GARVEY, TARA
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GARVIN, ALLISON                      GARVIN, ELISE                         GARVIN, KARYN
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GARVIN, KENDRA                       GARVIN, RICHARD                       GARVIN, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GARVIS, HEIDI         Case 22-11238-LSS    DocASHLEY
                                     GARWOOD,   2 Filed 11/30/22      Page 1721 of 5495
                                                                           GARWOOD, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARWOOD, SHELBY                      GARWOOD, WESLEY                       GARY BENSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARY COMITTO                         GARY DUDLEY                           GARY DUNHAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARY FLOYD                           GARY GORZOCH                          GARY J DELLERSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GARY J HAVRANEK                      GARY JOH                              GARY L CARTER
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GARY LARDY                           GARY LEE COLLINS                      GARY MICCHELLI
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GARY NEMCEK                          GARY ORF                              GARY PAGLIOCCA
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GARY ROSENBERG                       GARY SHOVER                           GARY SKIDMORE
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GARY SMITH                           GARY, JAN                             GARY, MILENA
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GARY, MONICA                         GARY, THEL                            GARY, WANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GARZA, ALEXANDRIA     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GARZA, ARIANNA                   Page 1722
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GARZA, CINDY                         GARZA, DEANNA                         GARZA, DIANA
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GARZA, ELEXIS                        GARZA, ELIZABETH                      GARZA, ESMERALDA
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GARZA, GIANNA                        GARZA, GINA                           GARZA, JOHN C
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GARZA, JOHN                          GARZA, JUDITH                         GARZA, LINDA
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GARZA, MARIA                         GARZA, RENE                           GARZA, RIGOBERTO
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GARZA, SANDRA                        GARZA, VALERIE                        GARZA-HOGUE, MARITZA
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GARZIA, IRIELA                       GARZON, PAULETTE                      GARZOT, AMY
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GASCHIGNARD, EMMANUEL                GASCHLER, ANNMARIE                    GASCICH, NICHOLAS
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GASCON, CASSANDRA                    GASCOYNE, PAM                         GASE, TARA
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GASHI, BLERINA        Case 22-11238-LSS
                                     GASIOR,Doc 2 Filed 11/30/22
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                                                                           GASKAMP, SHANNON
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GASKELL, ANGELA                      GASKEY, STEVEN                        GASKILL, CHRIS
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GASKILL, JORDAN                      GASKILL, MARIA                        GASKILL, REGINA
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GASKIN, EMILY                        GASKIN, MADISEN                       GASKIN, STEPHANIE
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GASKIN, TIMOTHY                      GASKINS, CLARE                        GASKINS, FAITH
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GASKINS, KRISTINA                    GASKINS, SHAUN                        GASKINS, SYDNEY
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GASKY, MALLORY                       GASPAR GONZALEZ, ANDREA               GASPAR, ARMEDA
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GASPAR, JUSTIN                       GASPAR, KATY                          GASPAR, PETER
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GASPAR, PRESTON                      GASPARD, JOSEPH                       GASPARI, MARIA
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GASPARO, ANGELINA                    GASPARYAN, DAVID                      GASPARYAN, LILIT
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GASPERONI, SIERRA     Case 22-11238-LSS    Doc
                                     GASPERS,    2 Filed 11/30/22
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                                                                           GASS, KRISTEN
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GASSERT, JULIA                       GASSET, ERNIE                         GASSEW, SARAH
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GASSLER, DANIELLE                    GASSON, ALEXANDRA                     GASSON, VICTORIA
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GAST, AMANDA                         GAST, GRACE                           GAST, KEVIN
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GASTER, JENNIFER                     GASTLEY, LAUREN                       GASTON, BRITTANY
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GASTON, KATRINA                      GASTON, MORGAN                        GASTON, NAPILI
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GASTON, ROBERT                       GASTONE, JULIA                        GASTRIGHT, LINDSAY
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GASWAY, ERIN                         GASWAY, RACHEL                        GATCH, MAURA
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GATCHELL, REBECCA                    GATCHELL, REBECCA                     GATCHOFF, LAURA
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GATENS, KATHLEEN                     GATES, BETTY                          GATES, BRIEANNE
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GATES, CASEY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GATES, CHRISTINA                 Page 1725
                                                                           GATES,of 5495
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GATES, CHRISTOPHER                   GATES, CONNER                         GATES, DYLAN
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GATES, HEATHER                       GATES, JACLYN                         GATES, JENNIFER
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GATES, JOELLEN                       GATES, JULIANN                        GATES, KATHLEEN
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GATES, KIERRA                        GATES, LEAH                           GATES, NANCY
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GATES, NICHOLAS                      GATES, PAT AND ALEXANDRA              GATES, PERRY
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GATES, STEPHANIE                     GATES, STEPHEN                        GATES, STEPHEN
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GATES, SUSAN                         GATES, TAMARA                         GATES, TIFFANY
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GATES, WILLIAM                       GATES-WALLACE, HEATHER                GATEWOOD, RASHIDA
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GATEWOOD, ROBERT                     GATEWOOD, SARAH                       GATEWOOD, VANESSA
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GATHERIDGE, VADA      Case 22-11238-LSS    Doc 2 Filed
                                     GATHOGA-OGBUIKE,     11/30/22
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                                                                             GATLIN,of 5495
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GATLIN, CARIE                        GATLIN, CATHARINE                       GATLIN, HANNAH
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GATLIN, SHELBI                       GATO 18                                 GATPOLINTAN, JR
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GATREL, KRISSY                       GATTA, JULIAN                           GATTAS, NICOLE
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GATTEGNO, SHELLEY                    GATTENS, BROOKE                         GATTER, KRISTIN
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GATTERMEYER, JESSICA                 GATTI, ELIZABETH                        GATTI, MARIE
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GATTIS, CONOR                        GATTO, CATHERINE                        GATTO, DEBRA
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GATTO, LAURA                         GATTO, SARAH                            GATTON, AVERELL
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GATTONE, JONATHAN                    GATTONI, MELANIE                        GATTUNG, MATTHEW
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GATZKE, NEVA                         GAU, SEAN                               GAU, VICTORIA
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GAUBATZ, GWYNETH      Case 22-11238-LSS    Doc
                                     GAUCHER,   2 Filed 11/30/22
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                                                                           GAUDELLI, JANIS
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GAUDET, CHRISTINE                    GAUDET, JENNIFER                       GAUDET, OLIVIA
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GAUDET, SEBASTIAN                    GAUDILLIERE, DYANI                     GAUDIOSO, DONALD
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GAUDREAU, STEPHANIE                  GAUDRY, SARAH                          GAUER, KEVIN
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GAUG, SAREENA                        GAUGHAN, CHAD                          GAUGHAN, EVAN
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GAUGHAN, MARY                        GAUGHEN, ALISON                        GAUGHRAN, COLLEEN
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GAUGLER, C                           GAUGLER, MORGAN                        GAUKIN, LYNN
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GAUL, GARY                           GAUL, JACOB                            GAUL, KYLAH
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GAUL, NANCY                          GAULOCHER, SUZANNE                     GAULTNEY, TRACI
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GAUMER, ERIC                         GAUMER, MOLLY                          GAUNA, GINA
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GAUNTLETT, DAVID      Case 22-11238-LSS    DocCHERYL
                                     GAUNTNER,  2 Filed 11/30/22      Page 1728 of 5495
                                                                           GAUNTNER, CHRISTOPHER
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GAUNTNER, ERIN                       GAUR, CHANDINI                        GAUR, PRIYANKA
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GAURAV BHALLA                        GAURAV DHAGE                          GAURAV GUPTA
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GAURINO, ABBY                        GAURUDER, ROLAND                      GAUS, CASEY
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GAUSE, COLIN                         GAUSS, JOLENE                         GAUTAM BATRA
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GAUTAM, ANGELA                       GAUTEREAUX, CORY                      GAUTHAM VELCHURU
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GAUTHIER LUC M ROMMELAERE            GAUTHIER, AMANDA                      GAUTHIER, AUSTIN
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GAUTHIER, CHANCE                     GAUTHIER, CHARLES                     GAUTHIER, DEBRA
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GAUTHIER, ELLEN                      GAUTHIER, EMILY                       GAUTHIER, GABRIELA
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GAUTHIER, GIGI                       GAUTHIER, JOELLE                      GAUTHIER, KATHRYN
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GAUTHIER, MICHELLE    Case 22-11238-LSS    Doc
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                                                                           GAUTIER, 5495
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GAUTIER, PAUL                        GAUTREAU, CURT                         GAUTREAU, KEVIN
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GAUTREAU, LACEY                      GAUTREAU, TAYLOR                       GAUTSCHE, ERIN
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GAUVAIN, MARIA                       GAUVIN, CHRIS                          GAUVIN, RYAN
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GAUVIN, TANNER                       GAUVREAU, RICK                         GAVALLA, CARLY
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GAVELA, MADISON                      GAVELL, JENNIFER                       GAVERTH, KEN
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GAVET, SUSAN                         GAVILAN, RACHEL                        GAVILAN, RUBEN
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GAVILANEZ, NATASHA                   GAVIN, ALEXA                           GAVIN, ANGELA
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GAVIN, ANH                           GAVIN, BETH                            GAVIN, CHARLES
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GAVIN, COLLEEN                       GAVIN, ERIN                            GAVIN, KARA
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GAVIN, LEE            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GAVIN, ROBERT                    Page 1730
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GAVIN, YVETTE                        GAVINELLI, MARIA                      GAVIOLI, LAUREN
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GAVISER, JUDY                        GAVISER, LAUREN                       GAVITT, MIRANDA
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GAVLICK, EMILY                       GAVRICH, BREE                         GAVRILA, RADU
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GAVUGLIO, PAULA                      GAVULA, JIM                           GAVURIN, GILLIAN
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GAWD, YODA                           GAWEL, MICHAEL                        GAWIN, GIANNA
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GAWITT, GREGORY                      GAWKER MEDIA LLC                      GAWKER MEDIA LLC
ADDRESS AVAILABLE UPON REQUEST       210 ELIZABETH STREET 3RD FLOOR        DEPT CH 16689
                                     NEW YORK, NY 10012                    PALATINE, IL 60055-6689




GAWLIK, SARAH                        GAWRON, BRENDAN                       GAWRONSKA, ELZBIETA
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GAWRYS, KATE                         GAWRYSIAK, NATALIA                    GAXIOLA, ANALY
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GAXIOLA, CHEYANNE                    GAY, BETSY                            GAY, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GAY, CHRIS            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GAY, DOUGLAS                     Page 1731  of 5495
                                                                           GAY, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GAY, FRANK                           GAY, HANNAH                           GAY, HEATHER
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GAY, KATHERINE                       GAY, KRISTEN                          GAY, MARLA
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GAY, MICHELLE                        GAY, RACHAEL                          GAY, RANDY
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GAY, SARAH                           GAY, VICTORIA                         GAYA, ARIADNA
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GAYDA, SANDRA                        GAYDOS, KRISTEN                       GAYDOS, SUSAN
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GAYE, JOSEPHINE                      GAYE, MATTHEW                         GAYGAN, JILLIAN
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GAYLA GONZALEZ                       GAYLA HADDAD                          GAYLA TROTTER
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GAYLE IANNITELLI                     GAYLE, ALYSSA                         GAYLE, CRYSTAL
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GAYLE, GILLIAN                       GAYLE, LINDA                          GAYLE, LINDSAY
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GAYLE, RHEIA          Case 22-11238-LSS
                                     GAYLER,Doc  2 Filed 11/30/22
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                                                                                       SMITH
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GAYLOR, SHANNON                      GAYLORD, LISA                            GAYLORD, WESTON
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GAYMAN, ALISON                       GAYMAN, KATIE                            GAYNE, MEGAN
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GAYNOR, JESSICA                      GAYNOR, LLOYD                            GAYNOR, MEREDITH
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GAYNOR, RACHELLE                     GAYNOR, RACHELLE                         GAYON, DEBORAH
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GAYTAN, RYAN                         GAZARYAN, DIANA                          GAZDZIAK, ANNA
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GAZELKA, ANDREW                      GAZMARIAN, BRIANNA                       GAZULA, DATT
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GAZULIS, MATT                        GAZZARA, JILLIAN                         GAZZARD, LAURA
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GAZZOLA, ALI                         GBANA, ZOEBORN                           GBSON, JACOB
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GBUR, ZACK                           GC LABELS                                GCA SAVVIAN, INC. (GCA ADVISORS, LLC)
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                                                                              SAN FRANCISCO, CA 94111
GCABA, ANDILE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GE, SHUPING                      Page 1733   of 5495
                                                                           GE, TINGCHAO
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GE, XIYANG                           GE, YI                                GEAGHAN, DONNA
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GEAGIN, LAUREN                       GEALER, SARAH                         GEAREN, CHRISTINE
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GEARHARDT, CHENEE                    GEARHART, AMANDA                      GEARHART, CHAD
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GEARHART, COURTNEY                   GEARHART, DEBORAH                     GEARHART, HANNAH
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GEARHART, RACHEL                     GEARHART, TIFFANY                     GEARING, RACHAEL
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GEARING, THOMAS                      GEARNER, CALLAN                       GEARNER, KARA
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GEARWAR, HILLARY                     GEARY, ALLY                           GEARY, DAVE
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GEARY, DENISE                        GEARY, KRISTEN                        GEARY, MEAGHAN
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GEARY, MICHELE                       GEARY, RICHARD                        GEARY, RONI
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GEARY, RYAN           Case 22-11238-LSS
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GEARY-LYONS, KRISTY                  GEASEY, COLLEEN                       GEASLIN, RENEE
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GEATENS, JENNIFER                    GEBALLE, NATALIE                      GEBAUER, GERRY
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GEBELEIN, MAUREEN                    GEBETSBERGER, JANET                   GEBHARD, REBECCA
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GEBHART, BETH                        GEBHART, KORY                         GEBING, KRISTEN
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GEBLER, BRENDA                       GEBURA, JUSTIN                        GECZI, SCOTT
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GEDDES, JANICE                       GEDDES, RICHARD                       GEDDIE, LOGAN
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GEDDIS-MUTASCIO, BETSEY              GEDEON, OSAMA                         GEDEON, RUSSELL
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GEDMAN, ALISSA                       GEDMAN, ANASTASIA                     GEDNEY, DEVON
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GEDRICH, CHRIS                       GEDROSE, SARAH                        GEDULD, AMANDA
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GEDZ, SERGIY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GEE, DENISE                      Page 1735   of 5495
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GEE, KACY                            GEE, KAITLYNN                         GEE, KERRY
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GEE, NICOLE                          GEE, NOLAN                            GEE, RHEA
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GEE, SHANNON                         GEEDEY, JENNIFER                      GEEGAN, MARY
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GEEKLYINC LLC.                       GEELAN, MICHELLE                      GEELS, JEFF
20D WHITNEY RIDGE RD. 5              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FARIPORT, NY 14450




GEER, EMILY                          GEER, EMILY                           GEER, RUTHANN
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GEERDES, MATT                        GEESLINDEMPSEY, HOLLY/IRMA            GEETER, LIA
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GEETING, BROOKE                      GEFFNER, WES                          GEFFRE, KYLEE
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GEFFS, MARY JANE                     GEFKOVICZ, CHANA                      GEGLEIN, HOPE
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GEHM, JUDITH                         GEHMAN, DANA                          GEHMAN, EMILY
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GEHMAN, GRACE         Case 22-11238-LSS    Doc
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GEHR, NANCY                          GEHRED, KATHRYN                       GEHRELS, JAMES
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GEHRES, EYVETTE                      GEHRET, IVAN                          GEHRI, GALE
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GEHRIG, CAROLINE                     GEHRING, ANNE                         GEHRING, JILL
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GEHRINGER, EDWARD                    GEHRINGER, KERRY                      GEHRKING, CHERYL
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GEHRKING, MELISSA                    GEHRMAN, JANICE                       GEHRMAN, MEAGAN
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GEHRMAN, SCOTT                       GEHRMANN, ELIZABETH                   GEIB, TESS
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GEIBIG, JENNIFER                     GEICUL, I                             GEIER, ALICE
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GEIER, ANGELA                        GEIER, ANGELA                         GEIER, HEATHER
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GEIER, JOBETH                        GEIER, KATHRYN                        GEIER, MADELINE
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GEIER, NANCY          Case 22-11238-LSS
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GEIGER, CASEY                        GEIGER, CHRISTY                        GEIGER, DAN
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GEIGER, GARY                         GEIGER, LAURA                          GEIGER, LISA
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GEIGER, MELISSA                      GEIGER, MELISSA                        GEIGER, NICOLE
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GEIGER, NICOLE                       GEIGER, REBECCA                        GEIGER, SONA
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GEIL, DANIEL                         GEILER, JOSH                           GEILING, AMANDA
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GEIPEL, GARY                         GEIS, JOAN                             GEISDORF, JILL
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GEISEL, OLIVIA                       GEISELMAN, CHRISTIN                    GEISER, AUTUMN
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GEISER, MELISSA                      GEISER, RACHEL                         GEISERT, EMILY
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GEISHEKER, ASHLEY                    GEISHERT, SALLY                        GEISINGER, K.
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GEISINGER, MAX        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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GEISSLER, JASON                      GEISSLER, LISA                        GEIST, AMANDA
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GEIST, CORTNEY                       GEIST, RACHEL                         GEIST, RAY
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GEIST, SAMANTHA                      GEIST, SUSAN                          GEITTMANN, HEATHER
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GEIVETT, KATHRYN ANN                 GEJENSKI, SEAN                        GEKKEIKAN SAKE COMPANY, LTD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        247 MINAMIHAMA-CHO FUSHIMI-KU
                                                                           KYOTO 612-8660 CA
                                                                           JAPAN




GELATT, CLARA                        GELATT, COLLEEN                       GELB, ALAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GELB, CAM                            GELB, MARISSA                         GELBAUGH, SUSAN
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GELBER, JEFFREY                      GELBER, JUDY                          GELBER, SARAH
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GELBMAN, LISA                        GELDERSMA, BEN                        GELEN, BRENNA
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GELERIS, JOSHUA                      GELERMAN, KATIE                       GELETKA, KATE
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GELFAND, ABIGAIL      Case 22-11238-LSS    Doc
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                                                                           GELINAS, 5495
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GELINAS, SHELLY                      GELINO, KACIE                         GELISH, JANINE
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GELL, CAROLINE                       GELLAR, OLIVIA                        GELLATLY, JESSICA
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GELLATLY, STEPHEN                    GELLER, ALICYN                        GELLER, AMY
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GELLER, BRENDA                       GELLER, CINDY                         GELLER, EMILY
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GELLER, MORGAN                       GELLER, NANCY                         GELLER, SETH
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GELLERSON, DAVID                     GELLMAN, RACHEL                       GELLNER, BLAKE
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GELMAN, FELICIA                      GELMAN, SUSAN                         GELNAR, KELLEY
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GELNETT, SHANNON                     GELO, CHRISTI                         GELSEY, STEPHANIE
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GELSI, TERRY                         GELSINGER, TAYLOR                     GELSINON, GWEN
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GELSOMINI, NICOLE     Case 22-11238-LSS    DocDAVID
                                     GELSOMINO, 2 Filed 11/30/22      Page 1740 of 5495
                                                                           GELSONS
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GELSTON, BARBARA                     GELT, CASS                            GELTEL, TARA
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GELTMAKER, TAYLOR                    GELTZ, MEREDITH                       GEMAEHLICH, VICTORIA
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GEMBALA, HOLLI                       GEMEREK, CHRISTINA                    GEMMA RISTORANTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




GEMMEL, MICHAEL                      GEMMILL, DANA                         GEMMILL, TOM
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GEMORE, MELISSA                      GEMORE, PHIL                          GENA SMITH
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GENA, T                              GENAO, JHONATIEL                      GENARO, SANDRA
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GENASEVICH, JAROD                    GENAUER, HANNAH                       GENAW, RACHEL
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GENCARLLI, KIM                       GENCO, ALEXANDRA                      GENDELMAN, LEA
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GENDLE, REINA                        GENDREAU, CHELSEA                     GENDRON, CHRISTINE
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GENDRON, JENNIFER     Case 22-11238-LSS    Doc
                                     GENDRON,    2 Filed 11/30/22
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                                                                           GENDRON, TARA
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GENE ANDRADE SIMEON                  GENE BLOCK                            GENE GROSSMAN
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GENE LY                              GENE RUSSO                            GENEMORE, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GENENBACHER, DIANE                   GENERAL ASSEMBLY                      GENERALI, PATTY
ADDRESS AVAILABLE UPON REQUEST       902 BROADWAY 4TH FLOOR                ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10010




GENERELLI, VANESSA                   GENERES, SARAH                        GENERIC IMPORT VENDOR
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GENESER, MICHELE                     GENEST, ASHLEY                        GENEST, BRYAN
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GENETTA SUTTLES                      GENETTI, MICHELE                      GENEVICK, DANIEL
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GENEVIEVE, MARY                      GENG, BONI                            GENGELBACH-WYLIE, JILL
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GENGLER, COURTNEY                    GENGLER, RICHARD                      GENGLER-HANSON, DARIELLE
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GENIA LYSAK                          GENIES, MARQUITA                      GENNA FILES
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GENNACO, MICHAEL      Case 22-11238-LSS    Doc 2 DAYANA
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                                                                           GENNARELLI, VANESSA
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GENNARO, CRYSTAL                     GENNELL, AILEEN                        GENNELLE THOMAS
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GENNETT, CHRIS                       GENNETTE, JAMES                        GENO CARVALHO
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GENOULA, MELANIE                     GENOVA RAFAELLA                        GENOVA, MATT
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GENOVESE, HEATHER                    GENOVIA, NATHANIEL                     GENS, DELLA
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GENS, LISA                           GENS, LUCAS                            GENSBUGEL, KAYLA
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GENSEL, ASHLEY                       GENSHAFT, LINDSAY                      GENSHENG TAN
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GENSICKE, JOSHUA                     GENSKE, EMILY                          GENSLINGER, HALEY
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GENSOLIN, LILLIAN                    GENSON, KATARINA                       GENSON, MADISON
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GENT, ALEXANDRA                      GENT, DEBBIE                           GENTEL, JENNIFER
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GENTER, JOHN          Case 22-11238-LSS
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                                                                           GENTGES, JAMIE
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GENTHE, ANALIESE                     GENTILCORE, KERI                      GENTILE, ALY
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GENTILE, DAWN                        GENTILE, DEBORAH                      GENTILE, GABRIELLE
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GENTILE, HEATHER                     GENTILE, JENNIFER                     GENTILE, KELLY
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GENTILE, KELLY                       GENTILE, KELSEY                       GENTILE, MATT
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GENTILE, MEAGHAN                     GENTILE, SAMANTHA                     GENTILE, SARA
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GENTILE, VERONICA                    GENTILELLA, GABBY                     GENTILELLO, LARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GENTILI, CORINNE                     GENTILI, CORINNE                      GENTILUCCI, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GENTILUOMO, LAURA                    GENTLE HILLS VINEYARD LLC             GENTLE, CONSTANCE
ADDRESS AVAILABLE UPON REQUEST       5940 UNION ROAD                       ADDRESS AVAILABLE UPON REQUEST
                                     PASO ROBLES, CA 93446




GENTLEY, TODD                        GENTNER, RACHAEL                      GENTRUP, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GENTRY, BELLE         Case 22-11238-LSS
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                                                                           GENTRY, 5495 “HONEY”
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GENTRY, DANIEL                       GENTRY, DOROTHY                       GENTRY, ERIN
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GENTRY, HANNAH                       GENTRY, HUNT                          GENTRY, JAMIE
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GENTRY, JASMINE                      GENTRY, JEANNIE                       GENTRY, KHRIS
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GENTRY, LAUREN                       GENTRY, RICHARD                       GENTRY, SAMANTHA
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GENTRY, SARAH                        GENTRY, SHARON                        GENTY, JEAN
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GENUNG, JESS                         GENYARD, TERRI                        GENZANO, CINDY
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GENZLINGER, CHRIS                    GEO LI                                GEOFFREY MCFARLANE
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GEOFFRION, NATHAN                    GEOFFRION, TRACY                      GEOFREY GREENLEAF
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GEOGHAGAN, DANIELLE                  GEOGHEGAN, ALYSON                     GEOGHEGAN, ERIN
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GEOGHEGAN, JAMES      Case 22-11238-LSS
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GEORGAKOPOULOS, SARAH                GEORGATOS, CHELSEA                    GEORGE AKINKUOYE
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GEORGE BRUNSWIG                      GEORGE CARSWELL                       GEORGE CHESTER SARGEANT
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GEORGE DAWKINS                       GEORGE DUKE MOSCRIP                   GEORGE FARRALL
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GEORGE GRADY RICHARDSON JR           GEORGE HOMER RYAN JR                  GEORGE III, MICHAEL
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GEORGE KERR                          GEORGE KONTORINIS                     GEORGE KOZONAS
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GEORGE M KOTCH                       GEORGE MATEER                         GEORGE MONAHAN
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GEORGE NEBEL                         GEORGE OWENS                          GEORGE PATRICK HAMATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEORGE RICHARDSON JR                 GEORGE SHEHATA                        GEORGE STEVENSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEORGE STRAUCH                       GEORGE T ARAI                         GEORGE T SMALL III
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GEORGE T, OSCAR       Case 22-11238-LSS
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GEORGE, AMBER                        GEORGE, AMY                           GEORGE, ANNE
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GEORGE, ASHLEY                       GEORGE, ASHLEY                        GEORGE, BECKY
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GEORGE, BINU                         GEORGE, BROOKS                        GEORGE, CHRISTOPHER
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GEORGE, CYNTHIA                      GEORGE, DALTON                        GEORGE, DEBBIE
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GEORGE, DEBBIE                       GEORGE, DENISE                        GEORGE, DEVON
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GEORGE, DIANE                        GEORGE, EMMA                          GEORGE, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEORGE, GWEN                         GEORGE, HALEY                         GEORGE, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEORGE, HOLLI                        GEORGE, JACOB                         GEORGE, JOANNA
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GEORGE, JULIE                        GEORGE, KAITLYN                       GEORGE, KAREN
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GEORGE, KRISTINA      Case 22-11238-LSS    Doc
                                     GEORGE,    2 Filed 11/30/22
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                                                                           GEORGE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEORGE, LINDSAY                      GEORGE, MAGGIE                        GEORGE, MAKANE
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GEORGE, MARGARET                     GEORGE, MARY                          GEORGE, MEGAN
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GEORGE, MEGAN                        GEORGE, MELISSA                       GEORGE, PAMELA
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GEORGE, PATRICIA                     GEORGE, RAQUEL                        GEORGE, REBECCA
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GEORGE, SABRINA                      GEORGE, SANDY                         GEORGE, SNEHA
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GEORGE, SPENCER                      GEORGE, STACEY                        GEORGE, STACEY
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GEORGE, SUSAN                        GEORGE, TRINA                         GEORGE, VIRGINIA
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GEORGE, WILMA                        GEORGE, YOLANDA                       GEORGE-ANDRIJESKI, ATTICUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEORGEFF, CHRISTINA                  GEORGES DISTRIBUTING INC.             GEORGES DISTRIBUTING INC.
ADDRESS AVAILABLE UPON REQUEST       2782 BROADWATER AVE                   PO BOX 1126
                                     HELENA, MT 59602                      HELENA, MT 59624
GEORGES DISTRIBUTING    Case 22-11238-LSS   Doc
                                       GEORGES,   2 Filed 11/30/22
                                                ALTHEA                         Page 1748 of 5495
                                                                                    GEORGES, PATRICK
PO BOX 1126                             ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
HELENA, MT 59624




GEORGES, SARAH                          GEORGESON, ANDREW                           GEORGESON, MACLANE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




GEORGIA BURKE                           GEORGIA CROWN DISTRIBUTING CO               GEORGIA DEPARTMENT OF REVENUE
ADDRESS AVAILABLE UPON REQUEST          (DBA TENNEESSEE CROWN DISTRIBUTING          ALCOHOL & TOBACCO TAX DIVISION
                                        CO.)                                        1800 CENTURY BOULEVARD, NE
                                        3485 TCHULATECH DRIVE                       ATLANTA, GA 30345
                                        MEMPHIS, TN 38118



GEORGIA DEPARTMENT OF REVENUE           GEORGIA DEPT OF LABOR                       GEORGIA DEPT OF REVENUE
ADDRESS UNAVAILABLE AT TIME OF FILING   148 ANDREW YOUNG                            1000 TOWNE CENTER BLVD
                                        INTERNATIONAL BLVD                          BUILDING 900, SUITE A
                                        SUITE 850                                   POOLER, GA 31322
                                        ATLANTA, GA 30303



GEORGIA DEPT OF REVENUE                 GEORGIA DEPT OF REVENUE                     GEORGIA DEPT OF REVENUE
1800 CENTURY CENTER BLVD., N.E.         314 EAST MAIN STREET                        528 BORAD ST SE
ATLANTA, GA 30345-3205                  SUITE 150                                   GAINESVILLE, GA 30501-3728
                                        CARTERSVILLE, GA 30120




GEORGIA DEPT OF REVENUE                 GEORGIA GOVERNORS OFFICE OF                 GEORGIA PELLEGRINI
610 RONALD REAGAN DRIVE                 CONSUMER AFFAIRS                            815-A BRAZOS ST 677
BUILDING G-1                            2 MARTIN LUTHER KING JR DR SESTE 356        AUSTIN, TX 78701
EVANS, GA 30809                         ATLANTA, GA 30334-9077




GEORGIEFF, TRAVIS                       GEORGINA, AIMEE                             GEORGIOS SIOUTIS
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GEORGIOU, MICHAEL                       GEORGITSIS, SIERRA                          GEORGUSON, TERESA
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GEPALAGA, CHRISTINE                     GEPFORD, JOHANNA                            GEPPI, STEVEN
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GERACE, CATHY                           GERACE, JENNY                               GERACI, CAROLYN
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GERACI, LISA          Case 22-11238-LSS    DocNICHOLAS
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GERAGHTY, CATHERINE                  GERAGHTY, CHRISTINE                   GERAGHTY, CHRISTINE
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GERAGHTY, ELIZABETH                  GERAGHTY, JAMES                       GERAGHTY, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GERAGHTY, TOM                        GERAGOS, TENY                         GERALD BOMAN
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GERALD FRANCIS GENTRUP               GERALD J HOOPFER JR                   GERALD JAMES KYLE
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GERALD JOSEPH TOMECHKO               GERALD LACUARTA                       GERALD MCBURNEY
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GERALD MOREL                         GERALD ROBISON                        GERALD ROTHSTEIN III
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GERALD STCHYRBA                      GERALD SUTTON                         GERALD THOMAS FRENCH
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GERALD, BLAINE                       GERALD, CALEB                         GERALD, DEBORAH
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GERALD, WILKE,                       GERALDINE CASON                       GERALDINE HANER-NELMS
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GERALDINE IWANCIW     Case 22-11238-LSS    DocDOMINIQUE
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                                                                           GERARD   PALLOTTA
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GERARD CANTALUPO                     GERARD DERICKS                        GERARD IMHOFF
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GERARD JOSEPH KNIGHTRUBINO           GERARD, DARNELY                       GERARD, GINA
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GERARD, HALEY                        GERARD, MARGARET                      GERARD, MELISSA
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GERARD, MONTE                        GERARD, TYLER & KEEVA                 GERARD, VANESSA
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GERARD, WENDY                        GERARDI, MEGAN                        GERARDI, NICOLE
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GERARDO GARAY                        GERARDO PARDO-CASTELLOTE              GERARDO VAQUEIRO
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GERARDO, DAVID                       GERARDO, JENNIFER                     GERARDY, KATHY
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GERASIM ORBELYAN                     GERATY, DANIELLE                      GERAUD, DARCY
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GERAWAN, ANNIE                       GERBER, EDWARD                        GERBER, ERIN
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GERBER, FAITH         Case 22-11238-LSS
                                     GERBER,Doc  2 Filed 11/30/22
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                                                                           GERBER, 5495
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GERBER, JUSTIN                       GERBER, MEGAN                         GERBER, MONICA
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GERBER, NORA                         GERBER, SALLY                         GERBER, SAMUEL
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GERBER, WILL                         GERBICK, MEGAN                        GERBINO, BRIANNA
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GERBINO, MEGAN                       GERBRACHT, HENRY                      GERCAK, ALEX
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GERCHEN, HOLLY                       GERCHMAN, CLAIRE                      GERDEMANN, SHELLY
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GERDES, ALLISON                      GERDES, MIKAELA                       GERDING, LAURA
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GERDING, LEIGH                       GERDTS, KAT                           GERE, SAM
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GERECITANO, LAURA                    GERECITANO, LISA                      GERELMAA TODMAGNAI
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GERELUS, MARK                        GERENA, MARIA                         GERENDAI, ROXANNE
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GERHAN, ANGIE         Case 22-11238-LSS    Doc
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                                                                           GERHARD, CHLOE
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GERHARD, ELIZABETH                   GERHARD, MEGAN                        GERHARD, PHYLLIS
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GERHARDS, JEFF                       GERHARDSON, SASHA                     GERHARDSTEIN, LISA
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GERHARDT, ANNA                       GERHARDT, SANDY                       GERHARDT, TRACY
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GERHART, CRAIG                       GERHART, DAWN                         GERHART, ERIN
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GERHART, KATHY                       GERI HIRSCH                           GERI, BARBARA
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GERICH, SCOTT                        GERIK, KATHRYN                        GERING, SUSAN
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GERING, ZACHARY                      GERKEN, JENNI                         GERKEN, JOHN
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GERLACH FAMILY REVOCABLE TRUST       GERLACH, HEIDI                        GERLACH, JAMES
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GERLACH, JENNIFER                    GERLACH, JONA                         GERLACH, SHAWNA
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GERLETTI, KATHRYN     Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           GERLICH,  5495
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GERLING, MICHAEL                     GERLOFF, CHERYL                        GERLOWSKI, KAITLYN
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GERMAIN, JILL                        GERMAIN, LINDA                         GERMAIN, LUCILLE
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GERMAIN, REGINALD                    GERMAINE ANNETTE HOSTON                GERMAN & MARTHA GOMEZ
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GERMAN, JENNY                        GERMAN, SHANNON                        GERMANN, JAIMEE
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GERMANO, JORDAN                      GERMANO, KELLEY                        GERMANO, MATT
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GERMANO, SARSH                       GERMANOTTA, NATALI                     GERMER, ARTHUR
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GERMER, ELIZABETH                    GERMICK, JACQUELYN                     GERMINARI, ROSENI
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GERMY, EMILY                         GERNAZIAN, VALERIE                     GERNERT, ANNALIE
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GERNIE FOSTER                        GERNON, AARON                          GERNUX, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GEROLD, HALEIGH       Case 22-11238-LSS    Doc
                                     GERONA,    2 Filed 11/30/22
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                                                                           GERONDALE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GERONDALE, MICHAEL                   GERONE, NOEL                           GERONIME, MORGAN
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GERONIMO, MIKHAIL                    GEROT, JANNEANE                        GEROULD, KIM
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GEROVASILIOU, OREANTHY               GEROWSKI, JACLYN                       GERRA, TIFFANY
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GERRARD, LAURA                       GERRICK, RACHEL                        GERRICK, ROBERTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GERRICK, SHANNON                     GERRING, MARCIA                        GERRISH, CHRISTINE
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GERRISH, JASON                       GERRISH, KATELYNN                      GERRISH, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GERRITS, HENRY                       GERRITS, KELI                          GERRITSEN, TERRY
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GERRITY, ALEXANDRIA                  GERRITY, PATRICK                       GERRITZEN, SABRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GERRY THOMAS CARDINAL III            GERRY, BENJIE                          GERRY, BOBBIE
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GERRY, MCKENZI        Case 22-11238-LSS
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                                                                           GERSHFELD, ALAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GERSHFELD, EYAL                      GERSHFELD, ISACC                      GERSHMAN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GERSHMAN, SAMANTHA                   GERSHON, STACEY                       GERSON, PAUL
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GERSON, STEPHANIE                    GERSTACKER, ADAM                      GERSTBREIN, LEIGHANNE
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GERSTBREIN, TRACEY                   GERSTEIN, ROBERT                      GERSTEL, SARA
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GERSTEN, SANDRA                      GERSTENBERGER, CAITLIN                GERSTENFELD, ROBBIE
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GERSTLEY, ALLISON                    GERSTMAN, ETHAN                       GERSTNER, ROSEMARY
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GERSTON, ERICA                       GERSZEWSKI, ANDREA                    GERT VAN DER WESTHUIZEN
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GERTEN, HALEY                        GERTKEN, ERIN                         GERTMAN, ALEX
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GERTON, KATHERINE                    GERTSCH, STEPHANIE                    GERTSEN, ROBERT
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GERTZ, DANA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                              GERVAIS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GERVAIS, JESSICA                        GERVAIS, MATT                          GERVASI, KAYLEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GERVASIO, GERALD                        GERVE, JINETTE                         GERVELL, HEATHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GERVERS, ALLISON                        GERZ, LAUREN                           GERZEMA, KATRINA
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GERZON, NANCY                           GESELL, SCOTT                          GESELL, SUSAN
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GESFORD, KATIE                          GESHEL, KATHY                          GESSELL, ANNA
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GESSER, MICHELLE                        GESSFORD, MARY                         GESSLER, JORDANNA
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GESSNER, DANNY                          GESSNER, NICOLE                        GEST, JOSH
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GESUALDO, MICHELE                       GESUALE, TAYLOR                        GET SWOOPED
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GETAROOM.COM                            GETCHELL, AMY                          GETER, ALLISON
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GETER, TAYA           Case 22-11238-LSS    Doc 2 Filed 11/30/22 Page 1757
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




GETKIN, BRAD                         GETMAN, MEGAN                           GETMAN, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GETMAN, TRACEY                       GETRAJDMAN, GREG                        GETSIE, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GETSINGER, RICHARD                   GETSON, MATTHEW                         GETTEN, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GETTERT, KATHY                       GETTES, NINA B                          GETTINGER, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GETTINGER, WENDI                     GETTINGS, LISA                          GETTLER, KRISTIN
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GETTMAN, VICTORIA                    GETTY IMAGES                            GETTY, MEREDITH
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GETTY, VIRGINIA                      GETZ, ALISON                            GETZ, BRYAN
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GETZ, DIANE                          GETZ, HEATHER                           GETZ, MARCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GETZ, MARY                           GETZ, SHARON                            GETZELMAN, JORDAN
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GETZEN, CHARLIE       Case 22-11238-LSS
                                     GETZEN,Doc   2 Filed 11/30/22
                                             ELIZABETH                Page 1758  of LORI
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEURKINK, NIKI                       GEVORKIAN, GABRIELA                   GEWITZ, ANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEWITZ, COURTNEY                     GEY, JAMIE                            GEYELIN, ELISE
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GEYEN, ALYSSA                        GEYER, CLARE                          GEYER, ERIC
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GEYER, MEGAN                         GEYER, SANDRA                         GEYER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GEYER, SOPHIE                        GEYNISMAN-TAN, JULIA                  GEZALYAN, RIPSIME
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GEZELLA, BRITTANY                    GEZELLE, JEANINE                      GEZHA, ANASTASIA
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GEZON, JAMES                         GFELLER, HALEY                        GFRERER, STEPHEN
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GHADA JOSEPH ISSA SAKAAN             GHADIYALI, AMIT                       GHAFFARIAN, CHRIS
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GHAFOORI, NOORIA                     GHAG, AMAN                            GHAGAR, AMANDA
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GHAI, SURABHI         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GHALI, ALEXANDER                 Page 1759
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GHANARA, ROMITA                      GHANTOUS, DENISE                      GHARBIN, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GHARBIN, MICHELLE                    GHARIBIAN, RITA                       GHARINEH, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GHARNIT, SARA                        GHARONY, SAMANTHA                     GHASSEMI, SAHAR
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GHAZAII, ANDREW                      GHAZALIAN, LINA                       GHAZARIAN, TENY
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GHAZNAVI, SAMEER                     GHELANI, AAUSHI                       GHELARDI, EVA-MARIA
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GHENBOT, RAHEL                       GHENTS, JENNY                         GHERE, ERIN
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GHERE, SHANNON                       GHERGICH, ALBERT                      GHERSI, KATHRYN
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GHEZZI, JOAN                         GHEZZI, SOFIA                         GHIA, SAMIR
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GHICONDEY, NANCY                     GHIDIA, BETTINA                       GHIGLIONE-EBENSTEIN, ABIGAIL
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GHILARDI, HYEMI       Case 22-11238-LSS     Doc
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                                                                           GHIO, GEORGINA
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GHIORZI, KATHERINE                   GHISELLI, AMY                         GHOBADI, SANA
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GHOBBEH, MARIA                       GHODSE-ELAHI, YASAMAN                 GHOLSON, SAUL
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GHOM, KELLY                          GHORASHI, ADRIENNE                    GHORCHIAN, JODI
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GHORES, ALEXA                        GHOSH, SUKIRTI                        GHOSH, SUKRITI
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GIA RYAN                             GIACALONE, CLAIRE                     GIACHETTI, CAROL
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GIACINI, ERIN                        GIACOLETTI, KATHERINE                 GIACOMETTI, MICHELLE
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GIACOMETTO, ALLI                     GIACOMINI, ALLISON                    GIACOMO TORSIELLO
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GIACONELLI, NICOLETTE                GIACUBENO, ASHLEY                     GIAIMO, JULIA
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GIAIMO, REINA                        GIAKOUMIS, TINA                       GIALANELLA, LOREN
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GIALLONGO, NICOLE     Case 22-11238-LSS    Doc 2 CHERYL
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GIAMBER, NICOLE                      GIAMBRA, ANGELA                       GIAMBRA, LESA
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GIAMBRONE, JANET                     GIAMBUSSO, ANGELA                     GIAMELA, PAMELA
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GIAMMANCO, TOM                       GIAMMARINO, MAUREEN                   GIAMPAOLI, MICHELLE
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GIAN, MICHAEL                        GIANAKAS, ANNE                        GIANATIEMPO, KEVIN
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GIANAZZA, KERRI                      GIANCI, ALAINA                        GIANDONATO, HEATHER
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GIANDONATO, KAREN                    GIANELLONI, JULIE                     GIANETTI, JANE
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GIANG, ANTHONY                       GIANGIORDANO, LAUREN                  GIANGIORDANO, MARTHA
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GIANGIULI, LAURA                     GIANGROSSO, GERARD                    GIANINY, ROBYN
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GIANITSOS, LAURIE                    GIANLUIGI SALATIELLO                  GIANNACE, ALLISON
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GIANNATOS, ELAYNE                    GIANNECCHINI, ALEXANDRIA               GIANNELLI, NICHOLAS
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GIANNELLI, TAYLOR                    GIANNELLI, YVONNE                      GIANNETTO, DANIELLE
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GIANNINI, DONNA                      GIANNINI, MELISSA                      GIANNINOTO, JUSTIN
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GIANNOKIS, THE BDAY GAL JILL         GIANNONE, JOHN                         GIANNONE, MICHAEL
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GIANNOURAKIS, JENNI                  GIANOS, NICHOLAS                       GIANOTTO, NICOLE
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GIANSANTE, RUTHIE                    GIARDELLI, SARAH                       GIARDINA, PAMELA
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GIARDINA, WENDY                      GIARDINIERE, ADRIENNE                  GIARDULLO, JENNIFER
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GIARELLI, BRIANNA                    GIARRA, KIRSTEN                        GIARRATANO, LINDA
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GIARRIZZO, PAIGE                     GIARRIZZO, PAIGE                       GIAUQUE, DENISE
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GIAVONETTE, MEGAN     Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           GIBB, BRIGID
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GIBB, CASSAUNDRA                     GIBB, LAUREN                          GIBBENS, ENGLISH
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GIBBES, ASBURY                       GIBBINS, DAWN                         GIBBINS, MARLA
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GIBBONS, ALLISON                     GIBBONS, AMANDA                       GIBBONS, CEALLACH
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GIBBONS, COLLIN                      GIBBONS, DELANEY                      GIBBONS, EILEEN
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GIBBONS, ELIZABETH                   GIBBONS, ERIN                         GIBBONS, ERIN
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GIBBONS, ERIN                        GIBBONS, HILARY                       GIBBONS, JACK
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GIBBONS, JENNY                       GIBBONS, LARA                         GIBBONS, RIE
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GIBBONS, SAWYER                      GIBBONS, THOM                         GIBBS, AMY
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GIBBS, ANGI                          GIBBS, BAILEY                         GIBBS, DENISE
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GIBBS, DUSTIN         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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GIBBS, JENNY                         GIBBS, JERRI                          GIBBS, JESSICA
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GIBBS, JOHNNY                        GIBBS, KARL                           GIBBS, KIMBERLY
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GIBBS, KIMMI                         GIBBS, LAUREN                         GIBBS, LUGENE
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GIBBS, MICHELLE                      GIBBS, NATASHA                        GIBBS, ROB
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GIBBS, RON                           GIBBS, STACEY                         GIBBS, TIFFANY
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GIBBY, ALEX                          GIBBY, DEBORAH                        GIBBY, JOHN
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GIBEAULT, ARIANA                     GIBERT, ROLAND                        GIBERT, ROLAND
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GIBERT, VICKY AND KIP                GIBLER, SARA                          GIBLIN NANCY J
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GIBLIN, MARGARET                     GIBLIN, PAULA                         GIBNEY, FIONA
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GIBNEY, JAMES         Case 22-11238-LSS
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GIBSON ZINK, AIMEE                   GIBSON, ALICIA                        GIBSON, ALLEN
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GIBSON, ALYSSA                       GIBSON, AMANDA                        GIBSON, ANNA
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GIBSON, ASHLEY                       GIBSON, AUDREY                        GIBSON, BECKY
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GIBSON, BRANDY                       GIBSON, BRIAN                         GIBSON, BRITTANY
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GIBSON, CAMARA                       GIBSON, CANDICE                       GIBSON, CHASE
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GIBSON, DIANA                        GIBSON, ELIZABETH                     GIBSON, EMILY
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GIBSON, EMMA                         GIBSON, GIANNA                        GIBSON, GLORIA
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GIBSON, HANNA                        GIBSON, HANNAH                        GIBSON, HANNAH
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GIBSON, HANNAH                       GIBSON, HANNAH                        GIBSON, HOLLY
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                                     GIBSON,Doc 2 Filed 11/30/22
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GIBSON, JESSICA                      GIBSON, JHANE                          GIBSON, JO
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GIBSON, JOSH                         GIBSON, JUDY                           GIBSON, JULANN
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GIBSON, KAITLYN                      GIBSON, KATHRYN                        GIBSON, KAYLA
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GIBSON, KEENA                        GIBSON, KENDALL                        GIBSON, KENDIS
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GIBSON, KRISTINA                     GIBSON, KYLE                           GIBSON, LASANDRA
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GIBSON, LAUREN                       GIBSON, LAUREN                         GIBSON, LAUREN
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GIBSON, LEIGHTON                     GIBSON, LEON                           GIBSON, LORI
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GIBSON, LYNN                         GIBSON, MAINESS                        GIBSON, MARY
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GIBSON, MEGHAN                       GIBSON, MYEISHA                        GIBSON, NAOTOSHI
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GIBSON, NATHANIEL     Case 22-11238-LSS
                                     GIBSON,Doc 2 Filed 11/30/22
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GIBSON, RACHEL                       GIBSON, RACHEL                         GIBSON, RICHARD
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GIBSON, RUSSELL                      GIBSON, RYAN                           GIBSON, SABRINA
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GIBSON, SARA                         GIBSON, SARA                           GIBSON, SARAH
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GIBSON, STEPHANIE                    GIBSON, SYDNEY                         GIBSON, THERESA
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GIBSON, TIARA                        GIBSON, TIFFINEY OR                    GIBSON, TORI
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GIBSON, TYLER                        GIBSON, VINCENT                        GIBSON, ZACHARY
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GIBSON-LOPEZ, GABRIELA               GIBSON-THIGPGEN, DAWN                  GICHANA, MARGARET
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GICHIE, SANYU                        GICK, ERIN                             GIDDINGS, AMANDA
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GIDDINGS, BAILEY                     GIDDINGS, EMILY                        GIDDINGS, KRISTEN
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GIDDINGS, SUSAN       Case 22-11238-LSS
                                     GIDEON Doc 2 Filed 11/30/22
                                            MALHERBE                         Page 1768
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GIDEON, JERRY                        GIDEON, NICOLE                               GIDICH, KELLY
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GIDICSIN, BETH                       GIDIEMME BREVETTI & MARCHI DIMPRESA          GIEBISCH, ALLISON
ADDRESS AVAILABLE UPON REQUEST       41124 MODENA - ITALIA VIA GIARDINI, 474 -    ADDRESS AVAILABLE UPON REQUEST
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                                     ITALY




GIEDRAITIS, SARA                     GIEFER, KRISTIN                              GIEGER, CASSANDRA
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GIEGERICH, CATHY                     GIEL, ALISSA                                 GIEL, COLLENE
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GIEL, KELSEY                         GIELERT, STACY                               GIER HANSON
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GIER, KRISTINE                       GIERAHN, ANNE                                GIERBA, TIMOTHY
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GIERE, NANCY                         GIERLOFF, SARA                               GIERMAK, ALLISON
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GIERMAN, EMILY                       GIERSCH, CAROL                               GIES, SHAWN
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GIESE, ALYSSA                        GIESE, GRETCHEN                              GIESE, JENNIFER
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GIESE, LAURA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           GIESE, MASON
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GIESE, TERRY                         GIESEN, CHERYL                        GIESER, DAN
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GIESLER, GRACE                       GIESLER, JENNIFER                     GIESLER, JOHN
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GIESS, EMILY                         GIESSMANN, LORELEI                    GIESTING, TERRY
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GIETTER, EMILY                       GIFFI, AMANDA                         GIFFIN, KATE
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GIFFIN, MICHAELA                     GIFFIN, ROBERT                        GIFFIN, SUNDAY
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GIFFORD JENNA                        GIFFORD, ALEX                         GIFFORD, IAN
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GIFFORD, JORDAN                      GIFFORD, LEENA                        GIFFORD, MARY
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GIFFORD, ZACH                        GIFIS, STEVEN                         GIFT CARD IMPRESSIONS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        415 DELAWARE SUITE B
                                                                           KANSAS CITY, MO 64105




GIFT N. CHOMBWE                      GIFT, LEANN                           GIFTAGRAM USA INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        520 BROADWAY, 2ND FLOOR
                                                                           SANTA MONICA, CA 90401
GIFTTREE              Case 22-11238-LSS     Doc
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GIGANTE, SALVATORE                    GIGANTINO, LAURA                      GIGAX, KEVIN
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GIGI STRAUSS                          GIGLIO, AMANDA                        GIGLIO, BECKY
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GIGLIO, MICHELLE                      GIGLIOTTI, ANNA                       GIGLIOTTI, ASHLEY
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GIGLIOTTI, RACHEL                     GIL, ALEXANDRIA                       GIL, BRIGITTE
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GIL, GAIL                             GIL, JENNY                            GIL, JOHN MICHAEL
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GIL, KATIUSKA                         GIL, MICHAEL                          GIL, MONICA
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GIL, TERESA                           GIL, YESENIA                          GIL, YESSICA
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GIL, YUVONDA                          GIL, ZAIDA                            GILAD, SAMANTHA
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GILANE, AMY                           GILARDI, RHIANNON                     GILB, MEGAN
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GILBERG, EMILY        Case 22-11238-LSS    Doc
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                                                                           GILBERG, 5495
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GILBERG, WILLIAM                     GILBERT JIMENEZ VALVERDE               GILBERT, AARON
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GILBERT, ALEX                        GILBERT, ALLISON                       GILBERT, ALYSSA
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GILBERT, AMANDA                      GILBERT, AMBER                         GILBERT, ANGELA
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GILBERT, ANNA                        GILBERT, AUTUMN                        GILBERT, AVA
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GILBERT, BARRY                       GILBERT, BAYLEE                        GILBERT, BENJAMIN
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GILBERT, BRAD KIM                    GILBERT, BRANDON                       GILBERT, BREANN
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GILBERT, BRITTNEY                    GILBERT, CANDICE                       GILBERT, CHELSEA
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GILBERT, CLAUDETTE                   GILBERT, COLLEEN                       GILBERT, COLLEEN
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GILBERT, DAVID                       GILBERT, ELIZABETH                     GILBERT, ELLYN
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GILBERT, GISELA       Case 22-11238-LSS     Doc
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GILBERT, HANNAH                      GILBERT, HEATHER                      GILBERT, JENNIFER
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GILBERT, JESSICA                     GILBERT, JODY                         GILBERT, JODY
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GILBERT, JORDAN                      GILBERT, JUSTYNE                      GILBERT, KAITLIN
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GILBERT, KAREN                       GILBERT, KARMEN                       GILBERT, KELLY
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GILBERT, KENNETH                     GILBERT, KRISTAN                      GILBERT, LATOYA
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GILBERT, LAURA                       GILBERT, LINDA                        GILBERT, LINDSAY
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GILBERT, MALORIE                     GILBERT, MAUREEN                      GILBERT, MEAGHAN
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GILBERT, MEGAN                       GILBERT, MEREDITH                     GILBERT, MONICA
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GILBERT, NATALIE                     GILBERT, RACHEL                       GILBERT, SARAH
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GILBERT, SHEILA       Case 22-11238-LSS     Doc
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                                                                           GILBERT, 5495
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GILBERT, STEVE&ERIN                  GILBERT, TATUM                         GILBERT, TERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GILBERT, THOMAS                      GILBERT, TONJA                         GILBERT, WILLA MAE
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GILBERTCLARKSON,                     GILBERTSON, ERIN                       GILBERTSON, JENNA
WHITNEYGCCOMCAST.NET                 ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
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GILBERTSON, JOSHUA                   GILBERTSON, MARY                       GILBERTSON, ROBYN
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GILBERTSON, SAMANTHA                 GILBOA, NOA                            GILBOY IO LLC
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GILBOY, JACOB                        GILBREATH, ANNIE                       GILBREATH, HEATHER
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GILBRETH, CARRIE                     GILBRIDE, KATE                         GILBY, LEE
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GILCA, MARINA                        GILCHER, BETH                          GILCHRIESE, CAROLYN
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GILCHRIST, ALLISON                   GILCHRIST, ASHLEY                      GILCHRIST, CHRISTINA
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GILCHRIST, HEATHER    Case 22-11238-LSS     Doc
                                     GILCHRIST,   2 Filed 11/30/22
                                                JESSICA               Page 1774  of 5495
                                                                           GILCHRIST, MARYANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GILCHRIST, RICK                      GILCREST, JESLYN                       GILDAWIE, KELSEA
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GILDAY, KATHLEEN                     GILDEA, DONNA                          GILDEA, JAIME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GILDEA, KELLY                        GILDER, IRENE                          GILDNER, BOBBIE JO
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GILE, KELSEY                         GILENE, KATHERINE                      GILES GOODBURN
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GILES, ALEXANDRIA                    GILES, AMANDA                          GILES, AMIAH
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GILES, ANNE                          GILES, BECKY                           GILES, DYANNA
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GILES, JAIMIE                        GILES, JALEN                           GILES, JEANNA
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GILES, JENNIFER                      GILES, JESSICA                         GILES, JOCELYN
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GILES, JOSH                          GILES, JUSTIN                          GILES, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GILES, KIM            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GILES, KIMBERLEY                 Page 1775   of 5495
                                                                           GILES, MELISSA
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GILES, SARAH                         GILES, STEPHANIE                      GILES, VICTORIA
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GILEZA, MEGAN                        GILFEATHER, LINDSAY                   GILFENBAUM, EBEN
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GILFILLAN, KIRRA                     GILGAN, KARLY                         GILGANNON, CAITLIN
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GILGER, CASEY                        GILGER-VANDERZANDEN, JANET            GILHAM, BROOKE
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GILHOOLEY, LAUREN                    GILI, LUCIANA                         GILIKER, NORMA
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GILILLAND, ANDREA                    GILINGER, PAUL                        GILINSKY, AMANDA
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GILINSKY, JAKE                       GILINSKY, LEW                         GIL-KASHIWABARA, ELEANOR
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GILKENSON, HUNTER                    GILKER, SUZANNE                       GILKES, LESTOR
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GILKEY, DENNIS                       GILKEY, LINDSEY                       GILL PIERRE, COLETTE
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GILL, ADAM            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GILL, ALEXANDRA                  Page 1776   of 5495
                                                                           GILL, ALISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GILL, AMANDA                         GILL, ASHLEY                          GILL, ASHLEY
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GILL, AURORA                         GILL, BECKY                           GILL, BRITTANY
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GILL, CAMRYN                         GILL, CAROLINE                        GILL, CHANDLER
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GILL, DANA                           GILL, DANIEL                          GILL, FAYE
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GILL, GINA ELIZABETH                 GILL, JACQUELINE                      GILL, JAYCEE
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GILL, JENNIFER                       GILL, JENNIFER                        GILL, JENNIFER
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GILL, JENNY                          GILL, JESSICA                         GILL, JOHN
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GILL, KARIE                          GILL, KATE                            GILL, KATIE
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GILL, KELLY                          GILL, KRISTIE                         GILL, KRISTIN
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GILL, LAURENCE        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GILL, LAURIE                     Page 1777    of 5495
                                                                           GILL, LINDA
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GILL, MELISSA                        GILL, MIRA                             GILL, NATALIE
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GILL, NICOLE                         GILL, NORMA                            GILL, PAULINE
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GILL, PREETI                         GILL, REAGAN                           GILL, SARA
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GILL, SEAN                           GILL, SHANE                            GILL, SIMRIT
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GILL, SONNY                          GILL, TAYLOR                           GILL, TIFFANIE
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GILLAM, MARY ELLEN                   GILLAN, JESSICA                        GILLAR, GRANT
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GILLARD, KEVIN                       GILLARD, MONET                         GILLE, BRIAN
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GILLE, BRITTANY                      GILLECE, JOAN                          GILLELAND, CHERI
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GILLEN, CRAIG                        GILLEN, MARGARET                       GILLEN, MAURA
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GILLEN, MEKKO         Case 22-11238-LSS
                                     GILLEN, Doc 2 Filed 11/30/22
                                             THOMAS                   Page 1778  of 5495
                                                                           GILLENWATER, CAITLIN
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GILLEO, CHRISTOPHER                  GILLEPSIE, AMY                         GILLES, JOYLYNN
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GILLES, KATRINA                      GILLESPIE, AMANDA                      GILLESPIE, AMY
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GILLESPIE, BRENDA                    GILLESPIE, CATHERINE                   GILLESPIE, ELIZABETH
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GILLESPIE, ELIZABETH                 GILLESPIE, EMILY                       GILLESPIE, EMILY
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GILLESPIE, JACQUE                    GILLESPIE, JACQUELINE                  GILLESPIE, JANE
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GILLESPIE, JENNY                     GILLESPIE, JODI                        GILLESPIE, KRISTIN
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GILLESPIE, LYDIA                     GILLESPIE, MALIESHA                    GILLESPIE, MOLLIE
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GILLESPIE, PHILIP                    GILLESPIE, RYAN                        GILLESPIE, SUSAN
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GILLESPIE, TERRI                     GILLESPIE, TONYA                       GILLETT, ADAM
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GILLETT, MARCIE       Case 22-11238-LSS
                                     GILLETT,Doc  2 Filed 11/30/22
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                                                                           GILLETT, 5495
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GILLETT, SUSAN                       GILLETTE, ALEX                        GILLETTE, BETTY
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GILLETTE, CHRISTEL                   GILLETTE, KRISTINE                    GILLETTE, LAYA
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GILLETTE, MEGAN                      GILLETTE, MICHELLE                    GILLEY, SARAH
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GILLFILLIAN, KRYSTAL                 GILLHAM, PETER                        GILLIAM, CALAE
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GILLIAM, COURTNEY                    GILLIAM, DAVID                        GILLIAM, ECHO
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GILLIAM, HANNAH                      GILLIAM, JENNIFER                     GILLIAM, JODY
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GILLIAM, KAREN                       GILLIAM, LAURA                        GILLIARD, ROSE
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GILLIATTE, TARA                      GILLICH, DON                          GILLICK, DANIEL
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GILLIES, EMILY                       GILLIES, LAURA                        GILLIES, ZAN
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GILLIGAN, ANDREW      Case 22-11238-LSS     Doc
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                                                                           GILLIGAN, 5495
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GILLIGAN, JENNIFER                   GILLIGAN, JULIANNE                     GILLIGAN, KATIE
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GILLIGAN, MELISSA                    GILLIGAN, RIKKIA                       GILLIGAN, TERESA
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GILLIHAN, KEVIN                      GILLIKIN, MARGARET                     GILLILAND, ASHLEY
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GILLILAND, AUSTIN                    GILLILAND, BREANNA                     GILLILAND, ERICA
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GILLILAND, KYCE                      GILLILAND, SAMUEL                      GILLILLAND, CHAUNTEL
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GILLIN, JENNIFER                     GILLINGS, CAROLINE                     GILLIOM, MELANIE
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GILLIS, ARIEL                        GILLIS, JOAN                           GILLIS, JOSEPH
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GILLIS, KATE                         GILLIS, KIMBERLY                       GILLIS, LAURA
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GILLIS, MEGAN                        GILLIS, MEGAN                          GILLIS, MEGAN
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GILLIS, MELISSA       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GILLIS, RYAN                     Page 1781
                                                                           GILLIS, of 5495
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GILLIS, SARAH                        GILLIS, SARAH                          GILLIS, SYDNEY
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GILLIS, TATUM                        GILLISON, SHATONE                      GILLISPIE, CAYLA
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GILLISPIE, JOANIE                    GILLISSEN, ANNIE                       GILLMAN, BRITTANY
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GILLMAN, THOMAS                      GILLOGLEY, LINDA                       GILLOGLY, ALLISON
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GILLOOLY, ERIN                       GILLOTTI, BROOKE                       GILL-SOMMERHAUSER, DELANEY
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GILLSTRAP, STEFFANIE                 GILLULY, ALYSSA                        GILLUM, EMILY
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GILLUM, STEPHANIE                    GILLUND, HEATHER                       GILLUS, KENNEY
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GILLY AND CO.                        GILLY, JS                              GILMAN, ELI
468 N. CAMDEN DR. 333                ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
BEVERLY HILLS, CA 90210




GILMAN, JULIE                        GILMAN, LORI                           GILMAN, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GILMAN, SARAH         Case 22-11238-LSS    DocALEXIS
                                     GILMARTIN, 2 Filed 11/30/22      Page 1782  of 5495
                                                                           GILMARTIN, ALLY
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GILMARTIN, CHELSEA                   GILMARTIN, ERIN                        GILMARTIN, LAUREN
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GILMARTIN, LIZA                      GILMARTIN, MARTINA                     GILMARTIN, SKYE
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GILMARTIN, VIRGINIA                  GILMER, KARIS                          GILMER, KELLI
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GILMER, KRISTEN                      GILMORE, ABBE                          GILMORE, ALEXIS
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GILMORE, ALISON                      GILMORE, AMIE                          GILMORE, ASHLEY
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GILMORE, BRENNA                      GILMORE, BRIA                          GILMORE, BRITTANY
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GILMORE, CAITLIN                     GILMORE, CASEY                         GILMORE, CHARLA
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GILMORE, DANA                        GILMORE, DANA                          GILMORE, DANIELLE
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GILMORE, DOMONIK                     GILMORE, EILEEN                        GILMORE, JACQUELINE
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GILMORE, KIRSTEN      Case 22-11238-LSS    Doc
                                     GILMORE,    2 Filed 11/30/22
                                              LAURA                   Page 1783  of LAURA
                                                                           GILMORE, 5495
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GILMORE, LAUREN                      GILMORE, LAUREN                       GILMORE, LINDSEY
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GILMORE, MEGAN                       GILMORE, MEGHAN                       GILMORE, NATALIE
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GILMORE, REBECCA                     GILMORE, STACY                        GILMORE, TASHA
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GILMORE, TERRY                       GILMOUR, ABIGAIL                      GILMOUR, DEBRA
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GILNER, ANGELLICA                    GILPIN, LEILANI                       GILRAY, LAUREN
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GILREATH, CHERYL                     GILREATH, KATIE                       GILROY, JEFF
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GILROY, KADIE                        GILROY, MARY                          GILROY, RACHEL
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GILSON, ANNE                         GILSON, ANTHONY                       GILSON, COLLEEN
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GILSON, ERYN                         GILSON, MATTHEW                       GILSTRAP, CHARLES
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GILSTRAP, CHELSEA     Case 22-11238-LSS     Doc
                                     GILSTRAP,   2 Filed 11/30/22
                                               EMILY                  Page 1784  of 5495
                                                                           GILSTRAP, VELMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GILT CITY UNLIMITED COMPANY          GILT CITY UNLIMITED COMPANY            GILT CITY
1 MADISON AVE.                       HAMILTON HOUSE BLOCK 1                 225 LIBERTY ST
NEW YORK, NY 10010                   NATIONAL TECHNOLOGY PLASSEY            NEW YORK, NY 10281
                                     LIMERICK
                                     IRELAND



GILTER, ANGELA                       GILTER, ANGELA                         GILTINAN, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GILTNANE, JENNIFER                   GILTNER, ALISON                        GILTNER, CATHERINE
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GILTNER, DANIELLE                    GILWAY, HILARY                         GIMBEL, ALY
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GIMBEL, BRENDA                       GIMBEL, CRISTIN                        GIMBEL, JULIA
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GIMBEL, MARYANN                      GIMBERT, GENEVIEVE & CHRIS             GIMELSTEIN, SHELLI
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GIMENO, HUGO                         GIMINO, VINCENT                        GIMLER, ROBYN
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GIMPEL, DUDLEY                       GINA BEASLEY                           GINA BERGDORF
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GINA JAIMAN                          GINA MISENHELDER                       GINA MULDOON
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GINA NENNI            Case 22-11238-LSS     DocKNOX
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                                                                           GINA, MS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GINAC, ABIGAIL                       GINAL, MARY JO                        GINAMARIE SIMEONE
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GINAVAN, TERRI                       GINCHEREAU, EMILY                     GINDELE, DEBBIE
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GINDLESPARGER, KATHRYN               GINDOFF, JEANNE                       GINEMAN, JUDY
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GINES, JERASON                       GINES, KATELYN                        GING, JENNIFER
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GINGELESKIE, GAIL                    GINGELL, BRENT                        GINGER KAY ENGLAND
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GINGER POLLACK                       GINGER RITTENHOUSE                    GINGER SETSER
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GINGER, BEN                          GINGERICH, LYDIA                      GINGERY, DEANNA
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GINGERY, MICAYLA                     GINGRICH, PAIGE                       GINGRICH, RACHEL
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GINGRICH, TIMOTHY                    GINGUE, DENIS                         GINI, VICTOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GINI, VICTOR          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GINIS, KATHERINE                   Page 1786
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                                                                                    ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GINJA, SANDRA                        GINN, JENNIFER                           GINN, JEWEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GINNANE, MICHELLE                    GINNETTI, COLLEEN                        GINNIS, BREANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GINNY BORELLI                        GINNY FARRELL                            GINO ANTHONY ABBATE III
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GINODIA, STUTI                       GINOS PIZZA                              GINS, VIRGINIA
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GINSBERG, BEN                        GINSBERG, HEATHER                        GINSBERG, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GINSBURG, CHLOE                      GINSBURG, HILARY                         GINSBURG, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GINSBURG, WHITNEY                    GINTER, JILL                             GINTER, NICOLLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GINTER, SARAH                        GINTHER, BARBARA                         GINTHER, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GINTHER, NICOLE                      GINTLING, ED                             GINTOF, RHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
GINZLER, ANIKA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GIOELI, JULIA                    Page 1787   of 5495
                                                                           GIOIA, MARIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GIOIELLI, SKYE                       GIOMBARRESE, MARIA                     GIOMBETTI, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GIOMBETTI, LISA                      GIORA ZEEVY                            GIORDANI, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GIORDANI, SAMANTHA                   GIORDANO, ADAM                         GIORDANO, AMANDA
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GIORDANO, ANGELA                     GIORDANO, BARBARA                      GIORDANO, JACOB
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GIORDANO, JULIA                      GIORDANO, KELLY                        GIORDANO, MARC
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GIORDANO, MICHELLE                   GIORDANO, REBECCA                      GIORDANO, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GIORGI, PABLO                        GIORGIO GORI USA, INC.                 GIOTTA, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       80 RIVER STREET                        ADDRESS AVAILABLE UPON REQUEST
                                     HOBOKEN, NJ 07030




GIOTTA, MARGA                        GIOTTO, LEA                            GIOVANARDI, ALESSANDRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GIOVANINE, ELKE                      GIOVANNI MAZZOCCHI PALMIERI            GIOVATI, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GIOVE, MICHELLE       Case 22-11238-LSS    DocDEBORAH
                                     GIOVENCO,  2 Filed 11/30/22      Page 1788   of 5495
                                                                           GIPE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GIPE, BETSY                          GIPE, CASSANDRA                       GIPE, NICHOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GIPSON, CAROLYN                      GIPSON, CORINNE                       GIPSON, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GIPSON, GABRIELLE                    GIPSON, JESSICA                       GIPSON, MELODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GIPSON, REISHA                       GIPSON, VALYN                         GIRA, LAURIE
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GIRAGOSIAN, MATT                     GIRALDEZ, MARIANELA                   GIRALDO, DORA
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GIRALDO, HALEY                       GIRALDO, NATHALY                      GIRANDOLA, MATTHEW
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GIRARD, ANGELA                       GIRARD, BRITTNI                       GIRARD, CHRISTINA
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GIRARD, ERIN                         GIRARD, JEN                           GIRARD, MARIE
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GIRARD, MEL                          GIRARD, PAUL                          GIRARD, REBECCA
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GIRARD, SUSAN         Case 22-11238-LSS
                                     GIRARD,Doc 2 Filed 11/30/22
                                            TONYA                     Page 1789  of 5495
                                                                           GIRARDIN, DEBRA
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GIRARDIN, NICOLLE                    GIRARDIN, SUSAN                        GIRARDOT, MARY
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GIRAUDON, MICHEL                     GIREESH, DEVIKA                        GIRER, NATHANIEL
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GIRI, ASHLEY                         GIRISH AMIN                            GIRISH MALLAPRAGADA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GIRK, BRITTNI                        GIRKESH, MELISSA                       GIRL GANG CRAFT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1585 62ND STREET PO BOX 8561
                                                                            EMERYVILLE, CA 94662




GIRLBOSS MEDIA, INC. (GIRLBOSS)      GIRLEY, CHARLESTON                     GIRLIES, HOUSEY
4111 W. SUNSET BLVD UNIT 550         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90029




GIRMAI, MERHAWI                      GIRO, JOE                              GIROLAMI, SHALA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GIRON, IDALIA                        GIRON, MARILUZ                         GIROTTI, K
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GIROUARD, DANIELLE                   GIROUARD, GRACIE                       GIROUARD, MICHAEL
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GIROUARD, NIKOLAI                    GIROUARD, SARAH                        GIROUX, ALEXANDRA
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GIROUX, AUNDREA       Case 22-11238-LSS
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                                                                           GIROUX,  5495
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GIROUX, MARY T                       GIRTEN, BILL                          GIRTEN, JAMIE
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GIRTHOFFER, RENATA                   GIRTON, ALAN                          GIRTON, KATLIN
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GIRTS, LYNSAY                        GIRUZZI, SUE                          GIRVEN, MAUREEN
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GISCOMBE, KATE                       GISE, MARGARET                        GISH, ALEXANDRA
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GISLER, HEIDY                        GISMONDI, DANIELLE                    GISMONDI, SOPHIE
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GISONDI, AMANDA                      GISONDI, JENNIFER                     GISSING, JOSEPH
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GIST, JUDY                           GISVOLD, CYNTHIA                      GISVOLD, DEREK
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GITAR, ASHLEY                        GITELMAN, JULIA                       GITELSON, LOIS
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GITHENS, MELODY                      GITHUA, LEAH                          GITHUB
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GITHUKU, ADRIAN       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GITLIN, JACKELYN                 Page 1791  of 5495
                                                                           GITTEMEIER, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GITTENS, RACHEL                      GITTER, ROSS                           GITTER, ZOE
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GITTLER, ROBERT                      GITTLESON, ERICA                       GITTO-REYNOLDS, AMANDA
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GITZEN, CHRIS                        GIUDITTA, KATIE                        GIUFFRE, DORIS
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GIUGGIO, DAPHNE                      GIUGLIANO, ANGELA                      GIULIAN, BERTRAND
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GIULIANI, ANGELICA                   GIULIANO, AMANDA                       GIULIANO, ANDREW
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GIULIANO, JULIANNE                   GIULIANO, KATLYN                       GIULIANO, LAUREN
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GIULIETTI-LAMPI, ELISABETH           GIUNCO, JILL                           GIUNTA, ASHLEY
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GIUNTA, BRIAN                        GIUNTA, ELIZABETH                      GIURBINO, SADIE
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GIUSEFFI, MICHELLE                   GIUSEPPE SALVATO                       GIUSEPPE
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GIUSEPPE, VINCENZO    Case 22-11238-LSS    Doc 2ANGELA
                                     GIUSEPPETTI,    Filed 11/30/22   Page 1792
                                                                           GIUSTI, of 5495
                                                                                   KEALY
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GIUSTI, NORMA                        GIUSTINO, KARA                         GIUSTO, MERIDETH
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GIVANT, TRACY                        GIVEN, ANNIE                           GIVEN, ERIN
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GIVENS, CARESSA                      GIVENS, ERIN                           GIVENS, GLORIA
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GIVENS, JEAN                         GIVENS, JESSE                          GIVENS, JULIA
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GIVENS, JULIA                        GIVENS, KATE                           GIVENS, MIKE
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GIVENS, RACHEL                       GIVENS, SAMANTHA                       GIVENS, SCOTT
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GIVENS, TAWN                         GIVEON, CAROLYN                        GIVLER, DIANE
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GIVLER, LAURA                        GIVONETTI, CHARLES                     GIWA, TAIWO
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GIZEWSKI, TAMARA                     GIZZI, JENNIFER                        GIZZI, MARINA
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GIZZO, KEVIN          Case 22-11238-LSS
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GJINO, ASHLEY                           GJOKA, MANUELA                          GJONAJ, JETMIR
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GJP INC.                                GJUSTA                                  GKIONIS, ANGELA
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GLABACH, STACY                          GLACE, JESSICA                          GLACE, MEGAN
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GLAD, BRYCE                             GLAD, DAVID                             GLAD, MARY
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GLADD, BRI-ANNE                         GLADDEN, SUSAN                          GLADDING, CLINT
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GLADE, JOY                              GLADE, STEPHEN                          GLADIEUX, JOY & PAT
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GLADIEUX, JOY                           GLADIS, ALEXA                           GLADKOWSKI, TAMARA
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GLADORA, MEGAN                          GLADSTONE, BRETT                        GLADSTONE, FRED
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GLADSTONE, SAM                          GLADU, ANDY                             GLADYSH, ILONA
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GLAESER, STEVEN       Case 22-11238-LSS
                                     GLAESS,Doc 2 Filed 11/30/22
                                            JENNIFER                  Page 1794   of 5495
                                                                           GLAH, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLANCEY, MICHAEL                     GLANCY, ANNIE                         GLANCY, ARAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLANDER, JILL                        GLANDERS, LAUREN                      GLANG, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLANNON, ERIN                        GLANSBERG, TINA                       GLANTON, GRAYSON
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GLANTZ, ANDREW                       GLANTZ, KATE                          GLANVILL, BARON
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GLANZMAN, ELIZABETH                  GLANZMAN, MEGAN                       GLANZMAN, RUTH
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GLAS, ANNA                           GLAS, DONALD                          GLASCO, CHRISTINE
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GLASCO, ROBIN                        GLASENAPP, MEGAN                      GLASENER, MARIAH
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GLASER, DONNA                        GLASER, JESSICA                       GLASER, LAUREN
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GLASER, LISA                         GLASER, MICHELLE                      GLASER, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GLASER, NORA          Case 22-11238-LSS
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                                                                           GLASER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLASER, VIOLET                       GLASFORD, FAITH                       GLASFURD AND WALKER DESIGN INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        102 325 HOWE STREET
                                                                           VANCOUVER, BC V6C1Z7




GLASGOW, JENNIFER                    GLASGOW, LAURA                        GLASGOW, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLASGOW, NATHAN                      GLASMAN, KIMBERLY                     GLASMYRE, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLASPER, ALEX                        GLASPER, AMBER                        GLASPEY, JAMIE
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GLASPIE, GAIL                        GLASS, ALAN                           GLASS, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLASS, ALLISON                       GLASS, ANGEL                          GLASS, ANGELA
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GLASS, ASHLEY                        GLASS, BROOKE                         GLASS, CAROLINE
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GLASS, DIANA                         GLASS, EDWARD                         GLASS, ELLIE
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GLASS, JODY                          GLASS, JULIE                          GLASS, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GLASS, KENNEDY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GLASS, KRISTA                      Page 1796
                                                                             GLASS, of 5495
                                                                                    KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GLASS, KRISTIN                       GLASS, KRISTIN                          GLASS, MAGGIE
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GLASS, MAGGIE                        GLASS, MARIA                            GLASS, MARY
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GLASS, MICHAIAH                      GLASS, MICHELLE                         GLASS, MIKKI
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GLASS, NANCY                         GLASS, RUSSELL                          GLASS, RUSSELL
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GLASS, SAM                           GLASS, SARAH                            GLASSBERG, DANIEL
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GLASSBURN, LYNN                      GLASSBURN, SHARON                       GLASSBURN, STEFANIE
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GLASSCOCK, MARTI                     GLASSDOOR                               GLASSER, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




GLASSER, DAVE                        GLASSER, GAIL                           GLASSER, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GLASSER, TAMARA                      GLASSER, TAYLOR                         GLASSEY, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
GLASSFORD, ANDREA     Case 22-11238-LSS    DocMARIA
                                     GLASSFORD, 2 Filed 11/30/22      Page 1797 of 5495
                                                                           GLASSGOW, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLASSICK, BRADLEY                    GLASSINGER, STEVE                     GLASSON VENTURES LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2205 S PERRYVILLE RD NUM520
                                                                           ROCKFORD, IL 61108




GLASSON, DAKOTA                      GLASURE, ALEXANDRA                    GLATFELTER, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLATSTEIN, GABRIEL                   GLATT, MICHELLE                       GLATTHORN, ISABEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLATTHORN, LAURA                     GLATTING, CARRIE                      GLATZ, ANDREA
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GLAUSER, MARY                        GLAVEE, KELSEY                        GLAVIANO, GEORGINA
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GLAVIN, EMILY                        GLAZA, KALEIGH                        GLAZE, AARON
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GLAZE, DAN                           GLAZE, RACHEL                         GLAZEBROOK, DARCEY
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GLAZEBROOK, SEAN                     GLAZER, AMY                           GLAZER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLAZER, JASON                        GLAZIER, JENNIFER                     GLEAM FUTURES LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        5800 BRISTOL PRKWY, 5TH FLOOR
                                                                           CULVER CITY, CA 90230
GLEASON, ANNA         Case 22-11238-LSS    Doc
                                     GLEASON,   2 Filed 11/30/22
                                              BROOKE                  Page 1798 of 5495
                                                                           GLEASON, CONNIE
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GLEASON, CONNOR                      GLEASON, DANTE                        GLEASON, JILLIAN
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GLEASON, KELLY                       GLEASON, KENNETH                      GLEASON, KEVIN
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GLEASON, MAEVE                       GLEASON, MARGARET                     GLEASON, PATRICIA
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GLEASON, PATRICK                     GLEASON, RACHEL                       GLEASON, STACEY
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GLEASON, STEPHEN                     GLEBA, KATHY                          GLEBE, MARTE
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GLEBER, RICHARD                      GLEDHILL, DANIEL                      GLEDHILL, JENNIFER
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GLEESON, CAROLINE                    GLEESON, DAVE                         GLEESON, REILLY
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GLEIBERMAN, JUSTIN                   GLEICH, LEILA                         GLEICHOWSKI, RYAN
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GLEISSNER, MARA                      GLEISSNER, MICHELLE                   GLEMBOCKI, JOHN
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GLEMZA, RENEE         Case 22-11238-LSS     Doc 2SAVELLE
                                     GLEN ARNOLD     Filed 11/30/22   Page 1799  of 5495
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GLEN, MEGAN                          GLEN, ZAKEYROW                        GLENDA CAUDILL
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GLENDA GREENHALGH                    GLENDA VALDIVIESO                     GLENDA Y VILLAREAL GARCIA
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GLENDENNING, CORI                    GLENDENNING, JAKE                     GLENDINNING, KEVIN
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GLENN ADAMS                          GLENN ARDEN SISK                      GLENN C FRANK
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GLENN CAMACHO                        GLENN HAYDU                           GLENN LEONARD
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GLENN P MEADE                        GLENN PAJARITO                        GLENN PEARSON
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GLENN VARGAS                         GLENN WEIGHT                          GLENN WILLIAM DAVIS
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GLENN, AMANDA                        GLENN, CAVIN                          GLENN, DANIELLE
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GLENN, EMILY                         GLENN, ERICA                          GLENN, GIGI
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GLENN, HEATHER        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GLENN, JULIE                     Page 1800
                                                                           GLENN,of 5495
                                                                                 KAREN
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GLENN, KRISTIAN                      GLENN, LILY                           GLENN, MARY LYNN
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GLENN, MERISSA                       GLENN, MICHAEL                        GLENN, SABRINA
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GLENN, SCOTT                         GLENN, SHANNON                        GLENN, SHEA
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GLENN, TORRENCE                      GLENN, TRAVIS                         GLENNIE, ALLISON
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GLENNIE, KAYLA                       GLENNIE, MARIE                        GLENNON, MEGAN
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GLENNON, RACHAEL                     GLENROY MOORE                         GLENSGARD, THOMAS
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GLENWOOD STANCIL JR                  GLENZER, STACEY                       GLESENER, ALEXSIS
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GLESSNER, KATIE                      GLICK, CHRIS                          GLICK, KATHIE
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GLICK, MICHELLE                      GLICK, NACHI                          GLICK, PATTY
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GLICK, PAYTON         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GLICK, RACHEL                       Page 1801  of 5495
                                                                              GLICKMAN, ELIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GLICKMAN, TAYLOR                        GLICKSTEIN, LEAH                       GLIDDEN, BRIAN
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GLIDDEN, BRITTANY                       GLIDDEN, NATHAN                        GLIER, SETH
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GLIFFY                                  GLIKIN, IRIS                           GLIKSMAN, ERICA
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GLIN, NASSANAH                          GLINATSIS, NATALIE                     GLINDINNING, EMILIE
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GLINTON, WHITNEY                        GLISAN, LUKE                           GLISAN, SAMUEL
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GLISCI, MARILYN                         GLISSMAN, CHELSEA                      GLISSON, SEAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GLISSON-PULLAM, MICHELLE                GLISTER, ROBERT                        GLITTER AND LAZERS LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         400 WEST 37TH ST, APT 3N
                                                                               NEW YORK, NY 10018




GLIVA, CARLY                            GLIVA, NAOMI                           GLO, JOSH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GLOBAL BIZFORCE                         GLOBAL EQUIPMENT COMPANY INC.          GLOBAL EQUIPMENT COMPANY INC.
ADDRESS UNAVAILABLE AT TIME OF FILING   (GLOBAL INDUSTRIAL-BWSC)               (GLOBAL INDUSTRIAL-BWSC)
                                        11 HARBOR PARK DRIVE PORT              29833 NETWORK PLACE
                                        WASHINGTON, NY 11050                   CHICAGO, IL 60673-1298
GLOBAL INDUSTRIAL     Case 22-11238-LSS
                                      GLOBAL Doc   2 Filed
                                              PATHFINDER     11/30/22LLC Page 1802
                                                         INVESTMENTS          GLOBALof  5495SOLUTIONS GROUP, INC.
                                                                                      TRAVEL
ADDRESS UNAVAILABLE AT TIME OF FILING 8908 FOX HOLLOW TRAIL                   137 W 25TH ST. FLOOR 11
                                      IRVING, TX 75063                        NEW YORK, NY 10001




GLOBALWIDE MEDIA LIMITED               GLOBIG, ANNA-MARIA                      GLOBUS GEN
200-1675 DOUGLAS STREET                ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING
VICTORIA, BC V8W 2G5
CANADA




GLOCKE, KATHRYN                        GLOCKLER, JOEL                          GLOE, KARA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GLOEKLER, KAYLA                        GLOER, BRITTANY                         GLOER, JENNIFER
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GLOGER, CHRISTINA                      GLOGOVSKY, JAY                          GLOGOWSKI, KRISTEN
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GLOGOWSKI, RICHARD                     GLORIA RIVERA, GLORIA                   GLORIA, MARIE
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GLORIOSO, ASHLEY                       GLORIOSO, MELISSA                       GLORIUS-DANGELO, JESSICA
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GLORY JAYAGARAN                        GLOSEMEYER, MICKAYLA                    GLOSEMEYER, WILLIAM
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GLOSS, STEPHEN M                       GLOSSER, ALY                            GLOSSER, MEGAN
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GLOSSNER, LISA                         GLOSSON, ANTHONY                        GLOSSON, JESSICA
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GLOSSON, LISA         Case 22-11238-LSS    Doc
                                     GLOSSON,   2 Filed 11/30/22
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GLOVAN, EMILY                        GLOVELLE LLOYD PRATT                  GLOVER, BRANDON
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GLOVER, DANIEL                       GLOVER, DARNETTA                      GLOVER, DIANA
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GLOVER, GARRETT                      GLOVER, GARY                          GLOVER, HALEY
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GLOVER, JIM                          GLOVER, KATIE                         GLOVER, LARSEN
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GLOVER, LINDSEY                      GLOVER, LOGAN                         GLOVER, MALISHER
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GLOVER, MANDY                        GLOVER, MARIAH                        GLOVER, NATALIE
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GLOVER, NELLIE                       GLOVER, NICKY                         GLOVER, ODIS
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GLOVER, OLIVIA                       GLOVER, PAULA                         GLOVER, REBEKAH
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GLOVER, REENA                        GLOVER, SARA                          GLOVER, SHANNON
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GLOVER, SHAYLA        Case 22-11238-LSS
                                     GLOVER,Doc 2 Filed 11/30/22
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                                                                           GLOVER-GRAF, NOREEN
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GLOWACKI, FRANCIS                    GLOWACKI, KATE                        GLOWATY, HOLLY
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GLOWCZYNSKI, AMY                     GLOYD, JAELYN                         GLOYN, SARAH
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GLOYN, SHIRLEY                       GLOYSTEIN, MICHAEL                    GLS US
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        GOLDEN STATE OVERNIGHT
                                                                           4000 EXECUTIVE PARKWAY, 295
                                                                           SAN RAMON, CA 94583




GLUBIAK, DIANA                       GLUC, CHRISTOPHER                     GLUCK, CHARLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GLUCK, DANA                          GLUCK, JONATHAN                       GLUCK, MARISSA
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GLUECK, KELLY                        GLUECK, SCOTT                         GLUGLA, ALLYSON
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GLUMAC, IVA                          GLUMAC, TRACIE                        GLUNT, AMY
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GLUNT, NICKI                         GLUP, TREVOR                          GLUSKIN-BRAUN, GABRIEL
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GLYDER, KIMBERLY                     GLYNN, ANTONIA                        GLYNN, LAURA
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GLYNN, MELISSA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GLYNN, MICHAEL                       Page 1805
                                                                               GLYNN,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GLYNN, REBECCA                       GLYNNESSIA SMITH                          GMEREK, ANNE
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GMITRO, ANNA                         GMITTER, TRISHA                           GMYR, BRITTANY
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GNADT, BOB & KATHY                   GNADT, CHRISTINE                          GNAS, JESSE
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GNATYUK, AUNYA                       GNIAS, ELIZABETH                          GNIAZDOWSKI, SHANNON
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GNICH, HILARY                        GNIDENKO, YEVGENIYA                       GNJATIC, LIDIJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GNOFFO, GAIL                         GO VINO                                   GO, SOPHIA
ADDRESS AVAILABLE UPON REQUEST       10446 NORTH 74TH STREET, SUITE 150        ADDRESS AVAILABLE UPON REQUEST
                                     SCOTTSDALE, AZ 85258




GO, YUJIN                            GOAD, ELISE                               GOAD, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GOAN, CHRISTINA                      GOANVI – CENTRAL DE ENGARRAFAMENTO        GOBBLE, JORDAN
ADDRESS AVAILABLE UPON REQUEST       DE BEBIDAS, LDA                           ADDRESS AVAILABLE UPON REQUEST
                                     ESTRADA NACIONAL 8-5, KM 2,3
                                     MAIORGA
                                     ALCOBACA 2460-526 PORTUGAL



GOBEIL, TAYLOR                       GOBEL, LATICIA                            GOBENCION, ELISSIA
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GOBER, DAVID          Case 22-11238-LSS
                                     GOBER, Doc 2 Filed 11/30/22
                                            MATTHEW                   Page 1806 ofLINDSEY
                                                                           GOBERT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOBERT, MR AND (ALMOST) MRS          GOBIDAS, FAITH                        GOBIN, DEANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOBLE, GENE                          GOBLE, JAMIE                          GOBLE, JENN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOBLE, JULIA                         GOBLE, LINDSAY                        GOBLER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOBLUE VENTURES LLC                  GOCHEE, AMANDA                        GOCHMAN, DAVID
1865 PALMER AVENUE                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LARCHMONT, NY 10538




GOCKOWSKI, BERNADETTE                GOD AND BEAUTY LLC                    GODADDY.COM
ADDRESS AVAILABLE UPON REQUEST       4568 W. 1ST STREET 201                ADDRESS UNAVAILABLE AT TIME OF FILING
                                     LOS ANGELES, CA 90004




GODAR, EMILY                         GODAR, JAMIE                          GODBEHERE, BRENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GODBOUT, KATE AND BEN                GODBY, ROYAL                          GODCHAUX ROTH, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GODDARD MCGUIRK, LISA                GODDARD, ALICE                        GODDARD, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GODDARD, BONNIE                      GODDARD, CHANCE                       GODDARD, DANIELLE
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GODDARD, ERIN         Case 22-11238-LSS    Doc
                                     GODDARD,   2 Filed 11/30/22
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                                                                           GODDARD, MEGAN
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GODDARD, TERRI                       GODE, CINDY                           GODEK, JESSICA
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GODEL, AMANDA                        GODETTE, TAMARA                       GODFREY BROWN, YVETTE
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GODFREY, BRYAN                       GODFREY, CJ                           GODFREY, CRYSTAL
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GODFREY, DOUGLAS                     GODFREY, JANE                         GODFREY, MADELEINE
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GODFREY, MEGAN                       GODFREY, MICHAEL                      GODFREY, MICHELLE
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GODFREY, MIKE                        GODFREY, PAIGE                        GODFREY, RUTH
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GODFREY, RYAN                        GODFREY, SHANNON                      GODFREY, SOPHIA
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GODFREY, SUSAN                       GODFREY, WILMER                       GODFREY-CANADA, STARRISHA
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GODIKSEN, ANDREW                     GODINA, ANNE                          GODINA, JESUS
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GODINEZ, COLLEEN      Case 22-11238-LSS    Doc
                                     GODINEZ,    2 TERESA
                                              MARIA  Filed 11/30/22   Page 1808  of SANDRA
                                                                           GODINEZ, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GODINHO, RODRIGO                     GODLA, ERIN                           GODLEWSKI, VICTORIA
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GODLEY, CARLISLE                     GODMAN, SHANE                         GODMERE, ANN
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GODNICK, SETH                        GODOROV, ELIZABETH                    GODOROV, PHILLIP
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GODOY, BEATRIZ                       GODOY, JENCY                          GODOY, MARIA LORENA
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GODSEY, JUDY                         GODSEY, KRISTEN                       GODSEY, SAMANTHA
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GODSEY, TONJA                        GODSHALK, LORI                        GODSHAW, PAUL
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GODSOE, HEIDI                        GODULA, AMANDA                        GODWIN, ALLISON
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GODWIN, AMANDA                       GODWIN, AMANDA                        GODWIN, AMY
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GODWIN, CLYDE                        GODWIN, CORLEY                        GODWIN, LIBBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GODWIN, MORGAN        Case 22-11238-LSS
                                     GODWIN,Doc 2 Filed 11/30/22
                                             REBECCA                  Page 1809 ofTANYA
                                                                           GODWIN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GODWIN, WHITNEY                      GODZICKI, KATHLEEN                    GOE, PAUL
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GOEBEL, ALI                          GOEBEL, LINNEA                        GOEBEL, SUSAN
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GOECKE, SAMANTHA                     GOECKNER, CHRISTINA                   GOEDEKER, ERIN
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GOEGEBUER, IAN                       GOEHRING, COURTNEY                    GOEHRING, LEE
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GOEHRING, TREVOR                     GOEKE, GEORGE                         GOEL, AKANKSHA
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GOEL, JESSEY                         GOEL, NIDHI                           GOEL, RUPALI
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GOELDNER, THERESA                    GOELLER, AUSTRIA                      GOELZ, AMANDA
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GOELZ, AMY ANN                       GOELZ, JOHN                           GOEMAAT, LAURA
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GOEMAN, KRISTEN                      GOEMBEL, AMBER                        GOERES, EMILY
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GOERGEN, JENNIFER     Case 22-11238-LSS    Doc
                                     GOERGEN,   2 Filed 11/30/22
                                              JENNIFER                Page 1810  of MARY
                                                                           GOERING, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOERING, MCPHERSON EYE CARE          GOERING, SARA                         GOERLING, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOERS, MEGAN                         GOERTZEN, REBECCA                     GOES, ROD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOESCH, JIOVANA                      GOESER, LANI                          GOESLING, LAURA
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GOESLING, SARAH                      GOETCHIUS, ALEIDA                     GOETHALS, SUSANNE
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GOETSCH, JOHN                        GOETTSCHE, MEGAN                      GOETZ, ALLENE
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GOETZ, COLBY                         GOETZ, JENNIFER                       GOETZ, JESSICA
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GOETZ, MIKE                          GOETZ, NICOLETTE                      GOETZ, REBECCA
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GOETZ, TREVOR                        GOFF, AARON                           GOFF, AMY
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GOFF, CHRISTIN                       GOFF, CONNOR                          GOFF, JEANINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOFF, JOSEPH          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GOFF, KRISTIN                       Page 1811  of 5495
                                                                              GOFF, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GOFF, NICOLE                            GOFF, RHONDA                          GOFF, SOPHIE
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GOFF, TOM                               GOFF, TRUDY                           GOFFENA, JESSICA
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GOFFMAN, ROBIN                          GOFORTH, REBECCA                      GOFORTH, SARA
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GOGA, TOM                               GOGEL, BILL                           GOGGANS, ASIA
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GOGGANS, JOSEPH                         GOGGIN, JUDY                          GOGGIN, TRACEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOGOAIR.COM                             GOGOI, SANGHAMITRA                    GOGUEN, CINDY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOGUEN, JESSICA                         GOHEL, PAULOMI                        GOHS, EVA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOICO, ANNE                             GOICOECHEA, ARGIMIRO                  GOIDEL, MITCHELL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOILO, EMMA                             GOIN, BROOKLYN                        GOING, CAROL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOINS, AMIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GOINS, ANGELA                    Page 1812
                                                                           GOINS, of 5495
                                                                                  BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOINS, CORRISSA                      GOINS, JOYCE                          GOINS, MOLLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOINS, RUTH                          GOINS, SAMANTHA                       GOIRAN, REAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOKCEBAY, FAITH                      GOKEY, WILL                           GOKEYLESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




GOKSEVER, KATY                       GOLA, ALLISON                         GOLA, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLAN, TAMI                          GOLANI, MARK                          GOLATO, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLAUB, AISHA                        GOLAY, BLYTHE                         GOLAY, ELIZABETH
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GOLBA, ALLISON                       GOLBA, NICOLE                         GOLD IMAGE PRINTING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




GOLD LAW OFFICES                     GOLD, ALEXANDRA                       GOLD, ARMAND
1630 N MAIN ST STE 44                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WALNUT CREEK, CA 94596




GOLD, CAITLIN                        GOLD, CARL                            GOLD, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOLD, DEBRA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GOLD, HARVEY                     Page 1813  of 5495
                                                                           GOLD, HELENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLD, JENNIE                         GOLD, JENNIFER                        GOLD, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLD, KEVIN                          GOLD, LAUREN                          GOLD, MARC
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GOLD, REBEKKAH                       GOLDAPP, ALLISON                      GOLDAPP, CATHY
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GOLDAUSKAS, TANYA                    GOLDBAUM, ELANA                       GOLDBECK, DANIEL
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GOLDBECK, JODI                       GOLDBECK, RALPH                       GOLDBERG, ADIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, ALISON                     GOLDBERG, AMANDA                      GOLDBERG, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, ANGIE                      GOLDBERG, BOB                         GOLDBERG, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, CLAUDIA                    GOLDBERG, ERICA                       GOLDBERG, GRACIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, HOWARD                     GOLDBERG, JEREMY                      GOLDBERG, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOLDBERG, JORDAN      Case 22-11238-LSS    DocKEITH
                                     GOLDBERG,  2 Filed 11/30/22        Page 1814 of 5495
                                                                             GOLDBERG, LYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, MATTHEW                    GOLDBERG, MEGAN                         GOLDBERG, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, MENDEL                     GOLDBERG, NIKKI                         GOLDBERG, PHILLIP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, RACHEL                     GOLDBERG, ROB                           GOLDBERG, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, ROBIN                      GOLDBERG, SARAH                         GOLDBERG, SOLOMON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, TED                        GOLDBERG, TIFFANI                       GOLDBERG, TIFFANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOLDBERG, TROY                       GOLDBERG, ZARA                          GOLDBLATT, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOLDBLATT, HILARY                    GOLDBLATT, MICHELLE                     GOLDBLATT, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOLDBUD FARM ENTERPRISE, INC         GOLDEN BULL                             GOLDEN COWRIE
2501 CARSON RD                       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
PLACERVILLE, CA 95667




GOLDEN STATE MAINTENANCE, INC.       GOLDEN STATE OVERNIGHT                  GOLDEN, ALAURA
11600 WASHINGTON PLACE, SUITE 116E   PO BOX 10877                            ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90066                PLEASANTON, CA 94588
GOLDEN, ALEXANDER     Case 22-11238-LSS
                                     GOLDEN,Doc 2 Filed 11/30/22
                                             AMBER                    Page 1815 ofASHLEY
                                                                           GOLDEN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDEN, CARRIE                       GOLDEN, CELIA                         GOLDEN, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDEN, GEORGE                       GOLDEN, JASON                         GOLDEN, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDEN, JUSTINE                      GOLDEN, LATASHA                       GOLDEN, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDEN, MARY KATHERINE               GOLDEN, MEGAN                         GOLDEN, MOLLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDEN, MOLLY                        GOLDEN, SARAH                         GOLDEN, SHARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDEN, SHERMAN                      GOLDEN, SHERMAN                       GOLDEN, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDEN, TARA                         GOLDEN, TOM                           GOLDENBERG, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDENRING, JESSICA                  GOLDER, KRISTIN                       GOLDERMAN, ERIC & ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDEROS, LAUREN                     GOLDFARB, JILL                        GOLDFARB, LEORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOLDFARB, MARK        Case 22-11238-LSS    DocSAMANTHA
                                     GOLDFARB,  2 Filed 11/30/22       Page 1816 of 5495
                                                                            GOLDFARB, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDFEDER, NICOLE                    GOLDFISH SOCIAL INC.                   GOLDFOOT, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       251 WEST 30TH STREET, 6TH FLOOR        ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10001




GOLDI, AMY                           GOLDIE, JACQUELINE                     GOLDIN, GRIFFIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDIN, KATHERINE                    GOLDIN, RACHEL                         GOLDING, AGNES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDING, GRAY                        GOLDMAN SACHS (0005)                   GOLDMAN, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ATTN MEGHAN SULLIVAN OR PROXY DEPT     ADDRESS AVAILABLE UPON REQUEST
                                     30 HUDSON ST
                                     JERSEY CITY, NJ 07302




GOLDMAN, BRETT                       GOLDMAN, BRIAN                         GOLDMAN, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDMAN, CHARLOTTE                   GOLDMAN, CLARE                         GOLDMAN, CORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDMAN, DANA                        GOLDMAN, FEI FEI                       GOLDMAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDMAN, JOEL                        GOLDMAN, JUSTIN                        GOLDMAN, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDMAN, KYLE                        GOLDMAN, LARRY                         GOLDMAN, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GOLDMAN, LEE          Case 22-11238-LSS    Doc
                                     GOLDMAN,   2 Filed 11/30/22
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                                                                           GOLDMAN, MINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDMAN, RON                         GOLDMAN, SAM                          GOLDMAN, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDMAN, TYER                        GOLDNER, ALLISON LAYNE                GOLDNEY, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDOVICH, VIRGINIA                  GOLDRICH, ANDREW                      GOLDSBERRY, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDSCHECK, JOE                      GOLDSCHMEDING, CHRISTINE              GOLDSCHMIDT, ALISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDSCHMIDT, KAREN                   GOLDSCHNEIDER, MICHEL                 GOLDSMITH, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDSMITH, ALLYSON                   GOLDSMITH, APRIL                      GOLDSMITH, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDSMITH, CASSANDRA                 GOLDSMITH, ERIKA                      GOLDSMITH, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDSMITH, NOAH                      GOLDSMITH, ROBERT                     GOLDSMITH, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLDSMITH, SIMON                     GOLDSMITH, STEPHANIE                  GOLDSTAR EVENTS, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        141 S LAKE AVE., STE 200
                                                                           PASADENA, CA 91101
GOLDSTEIN, ADAM       Case 22-11238-LSS    DocADAM
                                     GOLDSTEIN, 2 Filed 11/30/22      Page 1818 of 5495
                                                                           GOLDSTEIN, ALYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, BENNETT                   GOLDSTEIN, BETH                        GOLDSTEIN, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, CHELSEA                   GOLDSTEIN, DANIELLE                    GOLDSTEIN, GLENN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, HEIDI                     GOLDSTEIN, JELENA                      GOLDSTEIN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, JONATHAN                  GOLDSTEIN, JOSEPH                      GOLDSTEIN, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, KATHLEEN                  GOLDSTEIN, KIMBERLY                    GOLDSTEIN, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, LAUREN                    GOLDSTEIN, LEAH                        GOLDSTEIN, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, MEREDITH                  GOLDSTEIN, NICOLE                      GOLDSTEIN, PATRICIO MARTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, SAMANTHA                  GOLDSTEIN, SKYE                        GOLDSTEIN, STRUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDSTEIN, TARYN                     GOLDSTEIN, TRICIA                      GOLDSTON, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GOLDSTONE, ANDREA     Case 22-11238-LSS    Doc 2CHANTEL
                                     GOLDSTROHM,     Filed 11/30/22    Page 1819 of 5495
                                                                            GOLDSTROHM, KATEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDTHORPE, NATALIE                  GOLDTHRIP, KRISTAL                     GOLDWARE, STUART
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLDWASSER, YITZI                    GOLDWORM, RHONDA                       GOLDY, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLEB, ELLEN                         GOLEB, PAUL                            GOLEBIOWSKI, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLEBIOWSKI, MARCIN                  GOLEBIOWSKI, MELISSA                   GOLEC, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLEMBESKI, ANNE                     GOLEMBIEWSKI, DANA                     GOLEMBIEWSKI, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLEMBIEWSKI, MEGAN                  GOLERO, KEVIN                          GOLF, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLFINOS, CHLOE                      GOLFLOGIX, INC                         GOLIKE, EMILY
ADDRESS AVAILABLE UPON REQUEST       15685 N. GREENWAY-HAYDEN LOOP SUITE    ADDRESS AVAILABLE UPON REQUEST
                                     100A
                                     SCOTTDALE, AZ 85260




GOLINDER, ELIZABETH                  GOLINELLO, GIOVANNA                    GOLINI, AMELIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOLINSKY, JENNIFER                   GOLIS, TASHA                           GOLL, CAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GOLL, ELIZABETH       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GOLL, MIKE                       Page 1820
                                                                           GOLLA, of 5495
                                                                                  ANGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLLA, NICK                          GOLLAN, HEATHER                       GOLLAPUDI, ARTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLLARD, GINA                        GOLLIHER, DIANE                       GOLLOHER, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLON, ROSEMARY                      GOLONKA, NATALIE                      GOLOS, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLOS, SHEPARD                       GOLSON, KESHAWN                       GOLSTEIN, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLUB, AARON                         GOLUB, ELLEN                          GOLUB, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOLUB, NICOLE                        GOLUKI, ANNA                          GOLYSHKO, PHIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMER, DUANE                         GOMER, REBECCA                        GOMER, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMERA, ELISA                        GOMES, ERYKAH                         GOMES, GARY & LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMES, KATIE                         GOMES, KYLIE                          GOMES, MARISOL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOMES, MELISSA        Case 22-11238-LSS
                                     GOMES, Doc 2 Filed 11/30/22
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                                                                           GOMES,of 5495
                                                                                  NATALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMES, RAEANN                        GOMES, REBECCA                        GOMES, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMES, SHANNON                       GOMES, SOFIA                          GOMES, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMES, TAYLOR                        GOMEZ COBAN, JULIA                    GOMEZ LORA, SERGIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, ALEJANDRA                     GOMEZ, ALLYSON                        GOMEZ, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, AMY                           GOMEZ, ANA                            GOMEZ, ANDREINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, ANGELICA                      GOMEZ, ANNA                           GOMEZ, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, ANTONIA                       GOMEZ, ART                            GOMEZ, AVERY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, AVERY                         GOMEZ, AVERY                          GOMEZ, BEATRIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, BETSY                         GOMEZ, BETTY                          GOMEZ, BIANCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOMEZ, CAROLINA       Case 22-11238-LSS
                                     GOMEZ, Doc 2 Filed 11/30/22
                                            CASSANDRA                 Page 1822
                                                                           GOMEZ,of 5495
                                                                                  CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, DANIEL                        GOMEZ, DANIEL                         GOMEZ, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, DEBBIE                        GOMEZ, DIANA                          GOMEZ, EILEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, EMILIO                        GOMEZ, ENRIQUE                        GOMEZ, ESPERANZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, ESTEBAN                       GOMEZ, FAITH                          GOMEZ, FRANCHESCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, GABRIEL                       GOMEZ, GREGORY                        GOMEZ, GRISELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, GUILLERMO                     GOMEZ, HANNAH                         GOMEZ, IGNACIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, IMELDA                        GOMEZ, INOCENSIA                      GOMEZ, IRVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, JACOB                         GOMEZ, JACOB                          GOMEZ, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, JEANETTE                      GOMEZ, JOAQUIN                        GOMEZ, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOMEZ, JOSE           Case 22-11238-LSS
                                     GOMEZ, Doc
                                            JOSE 2   Filed 11/30/22   Page 1823
                                                                           GOMEZ,of 5495
                                                                                  JOSEMIGUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, JUAN                          GOMEZ, KATHERINE                      GOMEZ, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, KIMBERLY                      GOMEZ, LAUREN                         GOMEZ, LEXINGTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, LEXY                          GOMEZ, LUIS F                         GOMEZ, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, MANOLO                        GOMEZ, MARIA                          GOMEZ, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, MARISOL                       GOMEZ, MARLENY                        GOMEZ, MAXEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, MELANIE                       GOMEZ, MICHAEL                        GOMEZ, NAOMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, NATALIA                       GOMEZ, NELSON                         GOMEZ, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, PATRICIA                      GOMEZ, POLO                           GOMEZ, PRESTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, REYNALDO                      GOMEZ, RODRIGO                        GOMEZ, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOMEZ, SABRINA        Case 22-11238-LSS
                                     GOMEZ, Doc
                                            SOFIA2   Filed 11/30/22   Page 1824
                                                                           GOMEZ,of 5495
                                                                                  VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, VANNY                         GOMEZ, VERONICA                       GOMEZ, VIVIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ, YANIRIS                       GOMEZ-CORTEZ, STEPHANIE               GOMEZ-LOBO SANTIAGO, PILAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMEZ-SAAVEDRA, MARIA JOSE           GOMEZ-SAGER, ANNMARIE                 GOMEZ-TAMEZ, JOSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOMILLION, AGNES                     GOMINGER, MARY K                      GOMMER, BETTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONATAS, PHILIPPA                    GONCALVES, JOSE                       GONCALVES, LUANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONCALVES, MATT                      GONCALVES, PHIL                       GONCHAROV, IGOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONCHE, REBECA                       GONCZ, HEATHER                        GONCZOL, YEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONDEK, MICHAEL                      GONDKAR, ROHIT                        GONES, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONET, SLAWOMIR                      GONEZIE, MARIE                        GONG, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GONG, JENNIFER        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GONG, TIFFANY                    Page 1825 of 5495
                                                                           GONGAWARE, LAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONGLOFF, AMANDA                     GONGORA, FERNANDO                     GONGORA, SEBASTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONGRE, SAMANTHA                     GONIO, TARA                           GONION, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONKO, GABRIELLE                     GONNIGAN, KESHA                       GONOUDE, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONRING, KATIE                       GONSALVES, ALEX                       GONSALVES, BRIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONSALVES, CATHERINE                 GONSALVES, CHRISTINA                  GONSALVES, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONSALVES, JENNIFER                  GONSALVES, JESSICA                    GONSALVES, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONSALVES, ROBBIE                    GONSALVES, STANISLAUS                 GONTCHAROVA, IANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONTER, KEVIN                        GONTER-AUBIN, KRISTEN                 GONTERMAN, RONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONYEA, AMY                          GONYEA, CASEY                         GONZALDZ, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GONZALES, ALEYDA      Case 22-11238-LSS    DocAMBERLYNN
                                     GONZALES,  2 Filed 11/30/22      Page 1826 of 5495
                                                                           GONZALES, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, ANA                        GONZALES, ANALIESA                    GONZALES, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, ARALISSA                   GONZALES, ARIELLA                     GONZALES, AUNDRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, BIANCA                     GONZALES, CAROL                       GONZALES, CASIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, CASSANDRA                  GONZALES, CHRIS                       GONZALES, CHRISSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, CINDY                      GONZALES, DAVID                       GONZALES, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, DIANA                      GONZALES, DONRUTAI                    GONZALES, ELAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, ELIZABETH                  GONZALES, HAILEY                      GONZALES, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, JENNIFER                   GONZALES, JESSICA                     GONZALES, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, LORENZO                    GONZALES, MARCELA                     GONZALES, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GONZALES, MINERVA     Case 22-11238-LSS    DocNATALIE
                                     GONZALES,  2 Filed 11/30/22      Page 1827 of 5495
                                                                           GONZALES, PEDRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, PENNY                      GONZALES, REBEKAH                     GONZALES, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, ROSA                       GONZALES, SHANNON                     GONZALES, SHARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, SHAYNE                     GONZALES, SHERYL                      GONZALES, TOREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALES, TYLER                      GONZALES, VANESSA                     GONZALES, VICTOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALEZ AGUILAR, JAIME              GONZALEZ AMARIS                       GONZALEZ CRUZ, ALBERTO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALEZ ESQUIVEL, MARIA TERESA      GONZALEZ INARRITU, ALEJANDRO          GONZALEZ MACEA, MARIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALEZ MACEA, RACHEL               GONZALEZ MARTINDALE, SIDNEY           GONZALEZ, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALEZ, ABELARDO                   GONZALEZ, ABIGAIL                     GONZALEZ, ADRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALEZ, ADRIANA                    GONZALEZ, ALAAN                       GONZALEZ, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GONZALEZ, ALEXIS      Case 22-11238-LSS    DocALINA
                                     GONZALEZ,  2 Filed 11/30/22      Page 1828 of 5495
                                                                           GONZALEZ, ALVARO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GONZALEZ, ALYSSA                     GONZALEZ, ALYSSA                      GONZALEZ, AMBER
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GONZALEZ, ANA                        GONZALEZ, ANA                         GONZALEZ, ANA
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GONZALEZ, ANAHI                      GONZALEZ, ANDREA                      GONZALEZ, ANDREINA
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GONZALEZ, ANGEL                      GONZALEZ, ANTHONY                     GONZALEZ, APRIL
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GONZALEZ, ARISA                      GONZALEZ, AVERI                       GONZALEZ, BEATRIS
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GONZALEZ, BENELIO                    GONZALEZ, BENELIO                     GONZALEZ, BERNADETTE
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GONZALEZ, BETHANY                    GONZALEZ, BIANCA                      GONZALEZ, CARLOS
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GONZALEZ, CARLOS                     GONZALEZ, CECILIA                     GONZALEZ, CELA
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GONZALEZ, CELESTE                    GONZALEZ, CIDIA                       GONZALEZ, CINDY
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GONZALEZ, CRISTY      Case 22-11238-LSS    DocCRYSTAL
                                     GONZALEZ,  2 Filed 11/30/22      Page 1829 of 5495
                                                                           GONZALEZ, CYNTHIA
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GONZALEZ, CYNTHIA                    GONZALEZ, DANIELLA                     GONZALEZ, DANIELLE
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GONZALEZ, DANNICA                    GONZALEZ, DAVID                        GONZALEZ, DENISE
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GONZALEZ, DENISE                     GONZALEZ, DENISE                       GONZALEZ, DENNY
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GONZALEZ, DIANA                      GONZALEZ, DRIFTHNERY                   GONZALEZ, EDITH
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GONZALEZ, EDITH                      GONZALEZ, EDMUNDO                      GONZALEZ, EDMUNDO
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GONZALEZ, EDWARD                     GONZALEZ, ELIZAVET                     GONZALEZ, ELLIOT
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GONZALEZ, ELVIA                      GONZALEZ, ERELY                        GONZALEZ, ERIC
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GONZALEZ, ERICA                      GONZALEZ, ERIKA                        GONZALEZ, ERIKA
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GONZALEZ, ESMERALDA                  GONZALEZ, ESTELA                       GONZALEZ, EZEQUIEL
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GONZALEZ, FABIOLA     Case 22-11238-LSS    DocFEVI
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                                                                           GONZALEZ, FRESCIA
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GONZALEZ, GABRIEL                    GONZALEZ, GEOVANY                      GONZALEZ, GREG
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GONZALEZ, ILEANA                     GONZALEZ, INGRID                       GONZALEZ, IRENE
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GONZALEZ, IRMA                       GONZALEZ, ISAAC                        GONZALEZ, ISABEL
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GONZALEZ, ISAI                       GONZALEZ, IVELISE                      GONZALEZ, IYSSA
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GONZALEZ, JACK                       GONZALEZ, JACLYN                       GONZALEZ, JACQUELINE
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GONZALEZ, JASMINE                    GONZALEZ, JAVIER                       GONZALEZ, JAZMINE
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GONZALEZ, JENNIFER                   GONZALEZ, JENNIFER                     GONZALEZ, JENNIFER
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GONZALEZ, JEREMY                     GONZALEZ, JESSE                        GONZALEZ, JESSICA
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GONZALEZ, JESSICA                    GONZALEZ, JESSICA                      GONZALEZ, JOHN
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GONZALEZ, JORGE J     Case 22-11238-LSS    DocJOSE
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                                                                           GONZALEZ, JOURNEY
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GONZALEZ, JOY                        GONZALEZ, JUAN                        GONZALEZ, JULIA
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GONZALEZ, JULIANNA                   GONZALEZ, JULIO                       GONZALEZ, KATHLEEN
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GONZALEZ, KATIE                      GONZALEZ, KAYLA                       GONZALEZ, KIMBERLY
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GONZALEZ, LIZET                      GONZALEZ, LORENA                      GONZALEZ, LOURDES PAOLA
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GONZALEZ, LUIS FERNANDO              GONZALEZ, LUIS                        GONZALEZ, MANNY
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GONZALEZ, MANUEL                     GONZALEZ, MANUEL                      GONZALEZ, MARGARITA
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GONZALEZ, MARIA       Case 22-11238-LSS    DocMARIBEL
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                                                                           GONZALEZ, MARIBEL
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GONZALEZ, MARIO                      GONZALEZ, MARLEY                       GONZALEZ, MARLEY
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GONZALEZ, MARY                       GONZALEZ, MAYRA                        GONZALEZ, MEAGAN
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GONZALEZ, MEAGAN                     GONZALEZ, MEGHAN MURPHY                GONZALEZ, MELANIE
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GONZALEZ, MIA                        GONZALEZ, MICHAEL                      GONZALEZ, MICHAEL
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GONZALEZ, MICHAEL                    GONZALEZ, MICHAEL                      GONZALEZ, MICHELE
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GONZALEZ, MICHELLE                   GONZALEZ, MILLIE                       GONZALEZ, MIRANDA
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GONZALEZ, MIRANDA                    GONZALEZ, MONICA                       GONZALEZ, MONIKA
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GONZALEZ, MONIQUE                    GONZALEZ, NANCY                        GONZALEZ, NICK
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GONZALEZ, NICOLE                     GONZALEZ, NICOLE                       GONZALEZ, NIOMI
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GONZALEZ, OMAR        Case 22-11238-LSS    DocPALOMA
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                                                                           GONZALEZ, PATRICIA
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GONZALEZ, PATRICIA                   GONZALEZ, PATRICIA                     GONZALEZ, PRISCILLA
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GONZALEZ, RANDY                      GONZALEZ, RAYNAL                       GONZALEZ, REBECCA
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GONZALEZ, REBEKAH                    GONZALEZ, REYNA                        GONZALEZ, ROBERT AND LORETTA
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GONZALEZ, ROBERT                     GONZALEZ, ROBERTO                      GONZALEZ, ROBERTO
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GONZALEZ, ROENICE                    GONZALEZ, ROSALVA M                    GONZALEZ, ROSE
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GONZALEZ, ROSELA                     GONZALEZ, SALLY                        GONZALEZ, SANDRA
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GONZALEZ, SARA                       GONZALEZ, SARA                         GONZALEZ, SARAH
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GONZALEZ, SARAI                      GONZALEZ, SEAN                         GONZALEZ, SEBASTIAN
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GONZALEZ, SEBASTIAN                  GONZALEZ, SIDNEY                       GONZALEZ, SIERRA
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GONZALEZ, SONIA       Case 22-11238-LSS    DocSONIA
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                                                                           GONZALEZ, STEPHANIE
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GONZALEZ, STEPHANIE                  GONZALEZ, STEPHANIE                    GONZALEZ, STEPHANIE
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GONZALEZ, STEVEN                     GONZALEZ, SUSANA                       GONZALEZ, SYLVIA
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GONZALEZ, TANIA                      GONZALEZ, TANYA                        GONZALEZ, TERESA
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GONZALEZ, TERESITA                   GONZALEZ, TIFFANY                      GONZALEZ, TIFFANY
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GONZALEZ, VANESSA                    GONZALEZ, VANESSA                      GONZALEZ, VICTOR
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GONZALEZ, VICTOR                     GONZALEZ, VICTORIA                     GONZALEZ, VIVI
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GONZALEZ, WENDY                      GONZALEZ, WILHELMINA                   GONZALEZ, YVETTE
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GONZALEZ, YVETTE                     GONZALEZ-CASTILLO, TERE                GONZALEZ-PEREZ, ASHLEY
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GONZALEZ-POSE, MICHELE               GOOCH, ALYSSA                          GOOCH, AMY
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GOOCH, CHRISTINE      Case 22-11238-LSS
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GOOCH, KAYE                             GOOCH, KRISTI                         GOOCH, LAURA
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GOOCH, MEGAN                            GOOCH, RENEE                          GOOD CARMA LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        638 LINDERO CANYON RD 106
                                                                              OAK PARK, CA 91377




GOOD CHINA STAR                         GOOD SPIRITS DISTRIBUTING LLC         GOOD, AMY
ADDRESS UNAVAILABLE AT TIME OF FILING   4280 WEST WINDMILL LANE 103           ADDRESS AVAILABLE UPON REQUEST
                                        LAS VEGAS, NV 89139




GOOD, ANDREW                            GOOD, ANDREW                          GOOD, ANN MARIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOOD, BARBARA                           GOOD, BRENNA                          GOOD, BRIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOOD, BRIANNA                           GOOD, CYNTHIA                         GOOD, DANNY
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GOOD, DARA                              GOOD, DIONISIA                        GOOD, DR LARRY
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GOOD, GINA                              GOOD, JULIA                           GOOD, LIANA
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GOOD, LYNETTE                           GOOD, MIA                             GOOD, MYA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOOD, REBECCA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GOOD, SAMANTHA                   Page 1836  of 5495
                                                                           GOOD, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOOD, TYROID                         GOODACRE, JULIA                       GOODALE, TERRI
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GOODALL, PENNI                       GOODALL, SPENCER                      GOODBAR, JOMI
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GOODCHILD, AIDAN                     GOOD-COHN, MEREDITH                   GOODE, AMANDA-MARIE
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GOODE, AMY                           GOODE, DAVID                          GOODE, FAYTH
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GOODE, MARK                          GOODE, ROGER & LINDA                  GOODEARLE, MARY
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GOODE-BIGELOW, MIGNON                GOODELL, ERIN                         GOODELL, HALEY
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GOODELL, KRISTAL                     GOODELL, MARY                         GOODELL, PHILLIPS
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GOODELL, TIFFANI                     GOODEN, AARON                         GOODEN, KENNETH
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GOODEW, MARIA                        GOODFRED, DONNA                       GOODHILE, SHANNON
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GOODHIND, KERI        Case 22-11238-LSS    Doc
                                     GOODHUE    2 Filed 11/30/22
                                             BETSY                    Page 1837 of 5495
                                                                           GOODHUE, AMANDA
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GOODHUE, KRISTI                      GOODHUE, LAUREN                       GOODHUE, TIMOTHY
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GOODIN, KERMAN                       GOODIN, LAURA                         GOODIN, REGGIE
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GOODING, DAVID                       GOODING, SARAH                        GOODMAN, AMANDA
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GOODMAN, ANNE                        GOODMAN, ASHLEY                       GOODMAN, BRANDON
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GOODMAN, BRIAN                       GOODMAN, BRITTANY                     GOODMAN, DANA
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GOODMAN, DEBRA                       GOODMAN, DENYSE                       GOODMAN, DOROTHY
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GOODMAN, EMILY                       GOODMAN, GARRET                       GOODMAN, GILLIAN
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GOODMAN, JENNIFER                    GOODMAN, JENNY                        GOODMAN, KADIE
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GOODMAN, KAILYN                      GOODMAN, KATHERINE                    GOODMAN, KELSEY MARIE
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GOODMAN, KIRSTEN      Case 22-11238-LSS    Doc
                                     GOODMAN,   2 Filed 11/30/22
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                                                                           GOODMAN, LAUREN
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GOODMAN, LESLIE                      GOODMAN, LISA                         GOODMAN, LUCY
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GOODMAN, MALLORY                     GOODMAN, MEGAN                        GOODMAN, PENNY
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GOODMAN, RACHEL                      GOODMAN, ROBERT                       GOODMAN, ROBERT
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GOODMAN, ROBERT                      GOODMAN, SAMANTHA                     GOODMAN, STEPHANIE
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GOODMAN, THERESA                     GOODMAN, THOMAS                       GOODMAN, VANESSA
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GOODMAN, WHITE                       GOODMON, DAMIEN                       GOODNER, BROOKLYN
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GOODNIGHT, JOLIE                     GOODNIGHT, KATHLEEN                   GOODNIGHT, MADELEINE
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GOODREAU, MADDY                      GOODRICH, DANIEL                      GOODRICH, DANIELLE
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GOODRICH, DANNI                      GOODRICH, DEANNA                      GOODRICH, ELIZABETH
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GOODRICH, LAURIE      Case 22-11238-LSS    DocMERISSA
                                     GOODRICH,  2 Filed 11/30/22      Page 1839 of 5495
                                                                           GOODRICH, SARAH
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GOODRICH, SHELLEY                    GOODRICH, STACY                       GOODRIDGE, ABIGAIL
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GOODRIDGE, NIKI                      GOODRIDGE, VANESSA                    GOODRUM, JASMINE
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GOODS, CINDY                         GOODSITE, LAURA                       GOODSON, CHRISTY
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GOODSON, JADA                        GOODSON, MICHAEL                      GOODSON, SUZANNE
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GOODSON, TIMOTHY                     GOODSPEED, MEGAN                      GOODSTEIN, ANASTASIA
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GOODWATER, JEANNE                    GOODWATER, MELISSA                    GOODWIN, ALEXANDER
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GOODWIN, ALYSSA                      GOODWIN, ALYSSA                       GOODWIN, AMANDA
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GOODWIN, AMANDA                      GOODWIN, ASHLEE                       GOODWIN, BRIDGET
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GOODWIN, CARI                        GOODWIN, CHELSEA                      GOODWIN, CHRISTINA
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GOODWIN, CHRISTINA    Case 22-11238-LSS    Doc
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                                                                           GOODWIN, CURTIS
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GOODWIN, DANNY                       GOODWIN, DANYAL                       GOODWIN, DEIDRE
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GOODWIN, ELLE                        GOODWIN, ERIC                         GOODWIN, IDRIS
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GOODWIN, IRWIN                       GOODWIN, JAMES                        GOODWIN, JANET
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GOODWIN, JEANNIE                     GOODWIN, JENNIFER                     GOODWIN, JOSH
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GOODWIN, KATHRYN                     GOODWIN, KELSEY                       GOODWIN, KENDALL
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GOODWIN, LAUREN                      GOODWIN, LINDSAY                      GOODWIN, MADELYN
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GOODWIN, MEGHAN                      GOODWIN, MEREDITH                     GOODWIN, MICHELLE
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GOODWIN, PAULINE                     GOODWIN, ROBERT                       GOODWIN, ROBERT
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GOODWIN, SAVANNAH                    GOODWIN, TARA                         GOODWIN, TED
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GOODWIN, TRACI        Case 22-11238-LSS    Doc
                                     GOODWIN,   2 Filed 11/30/22
                                              VANESSA                   Page 1841 of 5495
                                                                             GOODWIN-THOMPSON, JOCILYN
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GOODYEAR, EMILY                      GOODYEAR, ERIN                          GOODYEAR, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOODYEAR, SANDY                      GOOGLE STORAGE                          GOOGLE, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   DEPT. 33654 P.O. BOX 39000
                                                                             SAN FRANCISCO, CA 94139




GOOGLE, INC                          GOOGLE, INC                             GOOKIN, ALEX
DEPT. 33654                          GOOGLE HQ                               ADDRESS AVAILABLE UPON REQUEST
P.O. BOX 39000                       1600 AMPHITHEATRE PARKWAY
SAN FRANCISCO, CA 94139              MOUNTAIN VIEW, CA 94043




GOOLSBY, SARAH                       GOONEN, KYLE                            GOOP INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          212 26TH STREET, STE 206
                                                                             LOS ANGELES, CA 90402




GOORLEY, RICHARD                     GOOSBY, MELANEY                         GOOSEN, RYLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOOSENBERG, HALLIE                   GOOSSENS, MARGARET                      GOOTEE, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOPAL, SHREYA                        GOPALAKRISHNAN, ANAGA DEVI              GOPALAN, TANYA
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GOPEN, DANIELLE                      GOPI MARGAM                             GOPICHUND, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GOPIE, DJ                            GOPINATHAN, VINOTH                      GOPISETTY, SANJANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
GOPLEN, EMILY         Case 22-11238-LSS
                                     GOPRO Doc 2    Filed 11/30/22 Page 1842     of 5495
                                                                           GORA, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




GORAB, BETH                          GORAB, DOREEN                         GORACKE, TAYLOR
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GORAL, BRUCE                         GORAL, KAYCIE                         GORANSON, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORANSON, RACHEL                     GORAVANCHI, BABAK                     GORBEL, MOLLY
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GORBERG, ELISE                       GORBETT, BRIAN                        GORBUTT, TAWN
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GORCH, ALYCE                         GORDEN, MARIA                         GORDER FLEMING, MARNE
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GORDER, MORNA                        GORDESNTEIN, TAYLOR                   GORDIEVSKY, JULIA STARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORDILLO, MARYLIZA                   GORDIUS, JESSICA                      GORDON BIERSCH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORDON J FOLSE                       GORDON LOGISTICS, LLC                 GORDON LUK
ADDRESS AVAILABLE UPON REQUEST       305 FORBES BLVD.                      ADDRESS AVAILABLE UPON REQUEST
                                     MANSFIELD, MA 02048




GORDON MACMILLAN                     GORDON MONTGOMERY                     GORDON NG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GORDON OBRIEN         Case 22-11238-LSS
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                                                         MANSUKHANI             ofSCOTT
                                                                           GORDON  5495GERTISER
ADDRESS AVAILABLE UPON REQUEST       1111 BROADWAY SUITE 1700              ADDRESS AVAILABLE UPON REQUEST
                                     OAKLAND, CA 94607




GORDON, ABIGAIL                      GORDON, AIMEE                         GORDON, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORDON, ALEXANDRA                    GORDON, ALICE                         GORDON, ARTHUR
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GORDON, ASHLEY                       GORDON, ASHLEY                        GORDON, ASHTON
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GORDON, BETH                         GORDON, BLAIR                         GORDON, BRAD
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GORDON, BRENNA                       GORDON, BRITTNEY                      GORDON, CARL
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GORDON, CARLY                        GORDON, CAROLINE                      GORDON, CASEY
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GORDON, CATHLEEN                     GORDON, CHARM                         GORDON, CHERYL
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GORDON, CYNTHIA                      GORDON, DAN                           GORDON, DARRYL
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GORDON, DAVANN                       GORDON, DAVID                         GORDON, DENISE
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GORDON, DINA          Case 22-11238-LSS    Doc
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GORDON, ELISHA                       GORDON, ELIZABETH                     GORDON, ELLIE
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GORDON, EMILY                        GORDON, ERIN                          GORDON, FRANCINE
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GORDON, GRIFFEN                      GORDON, GUIRLAINE                     GORDON, HALEY
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GORDON, HARA                         GORDON, HEATHER                       GORDON, JAMES
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GORDON, JENNIFER                     GORDON, JENNIFER                      GORDON, JESSE
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GORDON, JULIA                        GORDON, KATHRYN                       GORDON, KATHRYN
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GORDON, KATLYN                       GORDON, KELSEY                        GORDON, KERIN
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GORDON, KIMBERLY                     GORDON, KIRBY                         GORDON, KIRSTY
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GORDON, KRISTEN                      GORDON, LAURA                         GORDON, LAWRENCE
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GORDON, LEE           Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORDON, MAGGIE                       GORDON, MARA                          GORDON, MARGARET
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GORDON, MARGARET                     GORDON, MARY                          GORDON, MARY
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GORDON, MAX                          GORDON, MEAGAN                        GORDON, MEGAN
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GORDON, MEGHAN                       GORDON, MELISSA                       GORDON, MELISSA
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GORDON, MICHELLE                     GORDON, MISTY                         GORDON, NATOYA
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GORDON, NICOLE                       GORDON, PAIGE                         GORDON, RACHEL
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GORDON, RACHEL                       GORDON, REMY                          GORDON, ROBIN
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GORDON, ROSWELL                      GORDON, ROXANNE                       GORDON, RUKIYA
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GORDON, SAMANTHA                     GORDON, SARAH                         GORDON, SAVIONNE
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GORDON, SHANNON       Case 22-11238-LSS    Doc
                                     GORDON,    2 Filed 11/30/22
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                                                                           GORDON, 5495
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GORDON, STEFANIE                     GORDON, STEVEN                        GORDON, SUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORDON, TAMMI                        GORDON, TANYA                         GORDON, TANYA
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GORDON, TERESA                       GORDON, THEODORE                      GORDON, WESLEY
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GORDON-GARCIA, ELIZABETH             GORDON-SCOTT, NICHELLE                GORDOVER, FAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORDY, STEPHANIE                     GORE, AMANDA                          GORE, ANNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORE, BRIANNE RUGGIERO               GORE, DENNIS                          GORE, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORE, GRACE                          GORE, HALEIGH                         GORE, JAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORE, JELENA                         GORE, KATIE                           GORE, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORE, LINDSEY                        GORE, MADELINE                        GORE, RUSS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GORE, RUSSELL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GORE, SABRINA                    Page 1847  of 5495
                                                                           GORE, SHELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORE, TANYA                          GORE, TAYLER                          GORE, WAYMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORE, WHITLEY                        GORECKI, THOMAS                       GOREE, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORELICK, JASON                      GOREN, ERAN                           GOREN, NIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORENSTEIN, ERIC                     GOREY, BAILY                          GORGANO, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORGE, ALEC                          GORGENYI, KYLIE                       GORHAM, FALLON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORHAM, VICTORIA                     GORHAN, NICOLE                        GORIE, DANNI & MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORIN, LINDSAY                       GORIS, GABRIEL                        GORIS, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORJANA & GRIFFIN                    GORJI, KYLA                           GORKA, AMANDA
3275 LAGUNA CANYON RD, R1            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LAGUNA BEACH, CA 92651




GORKA, EDYTA                         GORKA, PAM                            GORKOWSKI, RAMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GORLA, MARIA          Case 22-11238-LSS    DocKATIE
                                     GORMALLY,  2 Filed 11/30/22      Page 1848 ofDENBY,
                                                                           GORMAN  5495 KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORMAN GROUP INTERNATIONAL, LLC      GORMAN, AMANDA                        GORMAN, ANDREA
16930 W CATAWBA AVE STE 202          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CORNELIUS, NC 28031




GORMAN, CHRISTINE                    GORMAN, ELIZABETH                     GORMAN, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORMAN, JACQUELINE                   GORMAN, JOHN                          GORMAN, KAILEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORMAN, KAM                          GORMAN, KATIE                         GORMAN, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORMAN, KELSEY                       GORMAN, KRISTIN                       GORMAN, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORMAN, LUCILE                       GORMAN, MARGOT                        GORMAN, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORMAN, NATALIE                      GORMAN, PATRICIA                      GORMAN, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORMAN, SHELLY                       GORMAN, SYDNEY                        GORMISKY, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORMLEY, MARY BETH                   GORMLEY, MICHELLE                     GORMLEY, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GORMLY, ALEXANDRA     Case 22-11238-LSS    Doc
                                     GORNALL,    2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORNOWICZ, EMILY                     GORODESKI, AMANDA                     GOROG, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOROKHOVSKAIA, YANA                  GORON, JESSI                          GOROSAVE, SHERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORRELL, AMANDA                      GORRELL, AMY                          GORRELL, CARROLL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORRELL, HOLLY                       GORRELL, JESSICA                      GORRINGE,, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORRIVAN, EMILY                      GORRY, JOHN                           GORSHKOVA, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORSKI, COURTNEY                     GORSKI, ELIZABETH                     GORSKI, MALLERY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORSKI, MARGARET                     GORSKI, MEGAN                         GORSKI, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORSKI, SARAH                        GORSKI, SARAH                         GORSKI, WAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORSKY, SARA                         GORSKY, SHIRA                         GORSUCH, JUDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GORSUCH, SCOTT        Case 22-11238-LSS    Doc
                                     GORTIKOV,   2 Filed 11/30/22
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                                                                           GORTON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GORTON, HEATHER                      GORTON, LAURA                         GORTOWSKI, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSAI, VEENA                         GOSAKWATTANA, SUTHAROS                GOSCH, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSCHE, SARAH                        GOSE, MARGARET                        GOSENSON, GENEVIEVE
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GOSET, JANE                          GOSHEN, ANNE                          GOSHERT, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSIKER, ELIZABETH                   GOSLA, CALVIN                         GOSMAN, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSNELL JACKSON, GRACIE              GOSNELL, IVY                          GOSNEY, TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSPODINOVA, ELENA                   GOSS, AMBER                           GOSS, BRIGID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSS, CAROLYN                        GOSS, DARLENE                         GOSS, DEVYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSS, JENNIFER                       GOSS, JULIA                           GOSS, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GOSS, MALONI          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GOSS, MARY                       Page 1851  of 5495
                                                                           GOSS, MEARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSS, MICHELLE                       GOSS, NORA                            GOSS, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSS, RENEE                          GOSS, RYAN                            GOSS, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSS, SHANE                          GOSS, SHERI                           GOSS, TRINITY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSSAGE, ELIZABETH                   GOSSAR, CATHERINE                     GOSSARD, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSSELIN, SARAH                      GOSSELL, ELIZABETH                    GOSSEN, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSSENS, MARIA                       GOSSERT, AMANDA                       GOSSET, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSSETT, JILL                        GOSSETT, JOAN                         GOSSETT, REBEKAH ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOSSETT, SCOTT                       GOSSLIN, PAMELA                       GOSSMAN, DENISE
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GOSTENIK, SARAH                      GOSTOMSKI, KARA                       GOSTYUNINA, YANA
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GOSWAMI, NEHA         Case 22-11238-LSS    Doc
                                     GOSWICK,   2 Filed 11/30/22
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                                                                           GOSWILLER, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOSZ, EVAN                           GOTAY, LUIS                            GOTFRIED, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTGI, NIDHI                         GOTHAM, ELIZABETH                      GOTHAM, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTHAMIST,LLC                        GOTHAMIST,LLC                          GOTHARD, CHRISTOPHER
200 RIVERSIDE BLVD 19D               PO BOX 510                             ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10069                   NEW YORK, NY 10012




GOTHBERG, ALISSA                     GOTHOT, VICKEY                         GOTO, KAZUYUKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTSCH, MALLORY                      GOTT, GEORGE                           GOTTA, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTTARDI, CLAUDIO                    GOTTAS-HAMMAN, TIA                     GOTTCENT, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTTESMAN, SYDNEY                    GOTTFREID, THERESE                     GOTTFRIED, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTTHARDT, MADISON                   GOTTILLA, CAROLYN                      GOTTLIEB, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTTLIEB, RONALD                     GOTTLIEB, VICTORIA                     GOTTLIEB, ZACH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GOTTSCH, KATHERINE    Case 22-11238-LSS    Doc 2CHLOE
                                     GOTTSCHALK,     Filed 11/30/22   Page 1853 of 5495
                                                                           GOTTSELIG, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTTWALD, JOSEF                      GOTUR, DIANA                           GOTWALD, JOLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOTWALT, ELIZABETH                   GOTZMER, MEGAN                         GOUARD, KIRSTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOUBEAUX, AMANDA                     GOUDARZI, SAMIRA                       GOUDARZI, YAASMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOUDREAU, ELIZABETH                  GOUDY, GABRIELLE                       GOUDY, NATHALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOUGER, DOROTHY                      GOUGH, ANNIE                           GOUGH, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOUGH, ELISABETH                     GOUGH, KELLY                           GOUGH, MIRANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOUGH, MORGAN                        GOUGHNOUR, STEVIE                      GOULART, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOULART, MAURA                       GOULD, ALISSA                          GOULD, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOULD, ANNIE                         GOULD, CAMDEN                          GOULD, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GOULD, DANIEL         Case 22-11238-LSS
                                     GOULD, Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOULD, GRETA                         GOULD, HALLIE                         GOULD, JERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOULD, KATHY                         GOULD, KIRSTEN                        GOULD, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOULD, LISA                          GOULD, MADISON                        GOULD, MARGOT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOULD, MARIE                         GOULD, MATTHEW                        GOULD, MIRANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOULD, REBECCA                       GOULD, SARA                           GOULD, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOULD, WHITNEY                       GOULDER, KEITH                        GOULDIE, JAANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOULDSBROUGH, CHELSEA                GOULET, MAURA                         GOULET, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOUMMIH, MAJIDA                      GOURAV PATEL                          GOURD, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOURINOVITCH, IGOR                   GOURLAY, MARGARET                     GOURLEY, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                     Case 22-11238-LSS
GOURMET ADVENTURES INC              GOURMETDoc  2 SOLUTIONS
                                             FOOD    Filed 11/30/22
                                                             INC. (ART OFPage 1855 of 5495
                                                                              GOURNIAK, AMANDA
716 SUNRISE DR                      CARAMEL)                                  ADDRESS AVAILABLE UPON REQUEST
LYONS, CO 80540                     3824 SOUTH SANTA FE AVE. 5
                                    VERNON, CA 90058




GOURNIC, HOPE                          GOUSE, KRISTEN                         GOUSHEFF, HRIPSI
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOUSSARD, LUCINDA                      GOUVEIA, KAILEY                        GOUWENS, BRENDAN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOVAN, CRYSTAL                         GOVAN, D                               GOVAN, ROSE
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GOVANNON, TALIESIN                     GOVARDHAN MUTHIGI                      GOVE, ADRIAN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOVEA-AYALA, ALMA                      GOVEKAR, LINDA                         GOVER, CHARLES
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOVEY, PAIGE                           GOVIG, ANGELA                          GOVIN, RICKY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOVINDALURI, SONALI                    GOVIRAL INC.                           GOVONI, LISA
ADDRESS AVAILABLE UPON REQUEST         1108-383 RICHMOND STREET               ADDRESS AVAILABLE UPON REQUEST
                                       LONDON, ON N6A 3C4
                                       CANADA




GOWAN, MICHELLE                        GOWARD, PATRICIA                       GOWARTY, MATTHEW
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GOWDA, KAREN                           GOWDY, ALICIA                          GOWDY, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GOWEN, BONNIE         Case 22-11238-LSS
                                     GOWEN,Doc  2 Filed 11/30/22
                                           JESSICA                    Page 1856 ofLIZ5495
                                                                           GOWEN,
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GOWEN, MIKE                          GOWENS, SHANNON                       GOWENS, STACIA
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GOWER, EMILY                         GOWER, GRACE                          GOWER, TODD
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GOWING, CALLIE                       GOWINS, STEPHANIE                     GOWTON, BRANDON
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GOY, LINDSEY                         GOYAK, SARAH                          GOYAL, ADITYA
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GOYAL, APARNA                        GOYAL, NIDHI                          GOYAL, ROHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOYAL, TARUN                         GOYANKO, AVEEDA                       GOYCOCHEA, JENNY
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GOYER-, SUSAN                        GOYET, DOMINIC                        GOYKHMAN, NATHALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GOYNES, TROY                         GOZALO, BORJA                         GP INTERNATIONAL LLC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        39252 WINCHESTER RD. 107-400
                                                                           MURRIETA, CA 92563




GR, MARCELLE                         GR0.COM LLC                           GRAAFF, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       12405 VENICE BLVD, 340                ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90066
GRABA, TODD           Case 22-11238-LSS
                                     GRABAS,Doc  2 Filed 11/30/22
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                                                                           GRABBATIN, BOB
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GRABBE, JAMIE                        GRABEL, ROBERT                        GRABENSTETTER, JENNIFER
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GRABER, ARTHUR                       GRABER, DEVIN                         GRABER, LAURA
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GRABER, REBEKAH                      GRABER, SHANNON                       GRABILL, ERIC
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GRABIN, NIKKI                        GRABINGER, ELIZABETH                  GRABINSKI, MARY
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GRABLE, LAURA                        GRABLER, JESSICA                      GRABOWSKA, LAUREN
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GRABOWSKI, ALEXANDRA                 GRABOWSKI, ARIELLE                    GRABOWSKI, JAKE
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GRABOWSKI, JOE                       GRABOWSKI, JON                        GRABOWSKI, MARC
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GRABOWSKI, MOLLY                     GRABOWSKI, WALTER                     GRABSTALD, DAVID
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GRACE AGUIRRE                        GRACE ALMEIDA                         GRACE ANNE ORBAN
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GRACE ATWOOD          Case 22-11238-LSS    Doc 2 Filed 11/30/22
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                                                                           GRACE of 5495
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GRACE QUESADA                        GRACE VAN INWEGEN                     GRACE, AMANDA
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GRACE, ANJU                          GRACE, BEANIE                         GRACE, BONNIE
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GRACE, BRIDGET                       GRACE, CAMRYN                         GRACE, CHAQUETTA
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GRACE, CYDNEY                        GRACE, EVANGELINE                     GRACE, HEATHER
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GRACE, JOHN                          GRACE, KIMAYA                         GRACE, MADDIE
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GRACE, MADISON                       GRACE, MAGGIE                         GRACE, MARY H
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GRACE, MARY                          GRACE, MARY                           GRACE, MAUREEN
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GRACE, MEREDITH                      GRACE, NOLAN                          GRACE, SARAH
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GRACE, SARAH                         GRACE, SARAH                          GRACEN BEDWELL
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GRACEWAY TRADING COMPANY  22-11238-LSS
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                                                                           GRACEY, 5495
AND CAICOS)                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
9505 NW 108TH AVE
MEDLEY, FL 33178




GRACIAN TAPIA, SOFIA                 GRACIAS MADRE WEHO, LLC               GRACIAS MADRE WEHO, LLC
ADDRESS AVAILABLE UPON REQUEST       8733 W SUNSET BLVD, SUITE 205         CHARLIE DARMETTA
                                     WEST HOLLYWOOD, CA 90069              8905 MELROSE AVENUE
                                                                           WEST HOLLYWOOD, CA 90069




GRACIAS MADRE                        GRACIELA PALACIOS                     GRADDY, TATUM
CHARLIE DARMETTA                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
8905 MELROSE AVENUE
WEST HOLLYWOOD, CA 90069




GRADEL, SHANNON                      GRADERT, DAWN                         GRADERT, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRADINARI, ANNA                      GRADLE, TRACEY                        GRADNIK, CHRISTINA
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GRADO, LAUREN                        GRADOLF, ANNE                         GRADOS, JUDITH
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GRADOVILLE, KATELYN                  GRADY, ALENA                          GRADY, ALLISON
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GRADY, AMANDA                        GRADY, BECKY                          GRADY, BRITTANY
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GRADY, CHAZ                          GRADY, CHLOE                          GRADY, COLLIN
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GRADY, DAVID                         GRADY, ERIN                           GRADY, JAMES
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GRADY, JEFFREY        Case 22-11238-LSS
                                     GRADY, Doc  2 Filed 11/30/22
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                                                                           GRADY,of 5495
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GRADY, LEAH                          GRADY, MARY                           GRADY, MORGAN
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GRADY, MYLES                         GRADY, PATRICIA                       GRADY, STEPHANIE
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GRADY, T                             GRADY, TUCKER                         GRAEBER, AMELLIA
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GRAEBER, CHRISTINA                   GRAEBNER, DENISE                      GRAEF, AMANDA
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GRAEFER, HEIDI                       GRAEFF, MICHELE                       GRAF, AVERY
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GRAF, CHRISTINE                      GRAF, ERIC                            GRAF, RUSSELL
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GRAF, SARAH                          GRAFF, ALYSSA                         GRAFF, AMANDA
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GRAFF, ANGEL                         GRAFF, AUSTINE                        GRAFF, COURTNEY
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GRAFF, CURTIS                        GRAFF, ELIZABETH                      GRAFF, LAURA
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GRAFF, SARAH          Case 22-11238-LSS    Doc
                                     GRAFFAM,    2 Filed 11/30/22
                                              ERIN                    Page 1861 of 5495
                                                                           GRAFFAREE-ROBINSON, EUDORA
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GRAFFIUS, NICOLE                     GRAFICHE MILANI                       GRAFMILLER, LAURIE
ADDRESS AVAILABLE UPON REQUEST       VIA MARCONI, 17-20090                 ADDRESS AVAILABLE UPON REQUEST
                                     SEGRATE (MILANO)
                                     ITALY




GRAF-SADD, ISABEL                    GRAGE, JENN                           GRAGG, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAGG, DEANNA                        GRAGG, DEANNA                         GRAGNANO, VIVI
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GRAH, NANCY                          GRAHAM BERGIN, ANNE                   GRAHAM DESIGN LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        138 E FRONT ST 5
                                                                           HATTIESBURG, MS 39401




GRAHAM N GILBERT                     GRAHAM, ALLISON                       GRAHAM, ALVILDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAHAM, ALYSSA                       GRAHAM, AMY                           GRAHAM, ANDREA
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GRAHAM, ANDREA                       GRAHAM, ANDREA                        GRAHAM, ANDREA
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GRAHAM, ANTHONY                      GRAHAM, ARIEL                         GRAHAM, ASHLEE
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GRAHAM, AUBREY                       GRAHAM, AURORA                        GRAHAM, BETH
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GRAHAM, BETH          Case 22-11238-LSS    Doc
                                     GRAHAM,    2 Filed 11/30/22
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                                                                           GRAHAM, 5495
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GRAHAM, CATHERINE                    GRAHAM, CHRIS                         GRAHAM, CHRIS
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GRAHAM, CHRISTIE                     GRAHAM, CHRISTY                       GRAHAM, CINDY
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GRAHAM, CODY                         GRAHAM, COLLEEN                       GRAHAM, COURTNEE
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GRAHAM, CRIS                         GRAHAM, DEAN                          GRAHAM, DESIREE
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GRAHAM, DIANA                        GRAHAM, DIANA                         GRAHAM, ELIZABETH
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GRAHAM, ELIZABETH                    GRAHAM, EQUANA                        GRAHAM, ERIC
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GRAHAM, GENNA                        GRAHAM, GERALD                        GRAHAM, GRACE
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GRAHAM, GRAHAM                       GRAHAM, GUNNAR                        GRAHAM, HANNAH
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GRAHAM, HANNAH                       GRAHAM, JESSICA                       GRAHAM, JILL
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GRAHAM, JILL          Case 22-11238-LSS    Doc
                                     GRAHAM,    2 Filed 11/30/22
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                                                                           GRAHAM, 5495
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GRAHAM, JOHN                         GRAHAM, JOHN                          GRAHAM, JULIE
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GRAHAM, KAITLYN AND ALASTER          GRAHAM, KARYSON                       GRAHAM, KATHY
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GRAHAM, KELSEA                       GRAHAM, KEVIN                         GRAHAM, LAUREN
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GRAHAM, LAURIE                       GRAHAM, LENA                          GRAHAM, LISA
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GRAHAM, LIZ                          GRAHAM, LUCAS                         GRAHAM, LYNN
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GRAHAM, MALLORY                      GRAHAM, MATTHEW                       GRAHAM, MICHAEL
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GRAHAM, MICHAEL                      GRAHAM, MICHAEL                       GRAHAM, MICHELE
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GRAHAM, MICHELLE                     GRAHAM, MILLIE                        GRAHAM, MOLLY
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GRAHAM, NICK                         GRAHAM, OLIVIA                        GRAHAM, PAUL
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GRAHAM, PAULA         Case 22-11238-LSS    Doc
                                     GRAHAM,    2 Filed 11/30/22
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                                                                           GRAHAM, 5495
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GRAHAM, SARAH                        GRAHAM, SARAH                         GRAHAM, SCOTT
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GRAHAM, SHANNON                      GRAHAM, SHARON                        GRAHAM, SPENCER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAHAM, STEPHANIE                    GRAHAM, SYDNEY                        GRAHAM, SYLVIA
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GRAHAM, TANYA                        GRAHAM, TANYA                         GRAHAM, TARA
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GRAHAM, TAYLOR                       GRAHAM, TIFFANY                       GRAHAM, TIFFANY
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GRAHAM, TREY                         GRAHAM, VICTOR                        GRAHAM, WILLIAM
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GRAHAM, WILLIAM                      GRAHAME, KRISTIN                      GRAHL, JILIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAHL, KYLA                          GRAHL, TRACY                          GRAHN WINES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        245 WILLOW GREEN PL
                                                                           SANTA ROSA, CA 95403




GRAIF HOLD FOR GUEST, MICHAEL        GRAINGER, DEBRA                       GRAJALES, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRAJALES, JACOB       Case 22-11238-LSS    Doc
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                                                                           GRAJEDA, 5495
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GRALINO, LESLEY                      GRAMAJO, DAVID                        GRAMAJO, EDWARD
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GRAMCKO, SARA                        GRAMLEY, CYNTHIA                      GRAMLICH, CLAUDIA
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GRAMLICH, RICHARD                    GRAMMATIKOPOULOU, ELENI               GRAMMER, JACLYN
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GRAMMER, JORDAN                      GRAMMER, RYAN                         GRAMPS, TAYLOR
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GRAMS, SKYE                          GRAMZA, MEGAN                         GRAN, PHOEBE
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GRANADA, ISABELLA                    GRANADILLO, MARIA                     GRANADO, STEFANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANADOS, CARLOS                     GRANADOS, EDGAR                       GRANADOS, PAULINO
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GRANAHAN, DENISE                     GRANAHAN, SHANNON                     GRANATO, FELICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANATO, JESSICA                     GRANATO, KATHY                        GRANATO, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRANBERG, KJERSTI     Case 22-11238-LSS
                                     GRANBY,Doc  2 Filed 11/30/22
                                             ALLISON                       Page 1866 ofBENJAMIN
                                                                                GRANBY, 5495
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GRANBY, TERESA                          GRAND, CARLY                            GRANDA, NATALIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRANDAISY BAKERY                        GRANDAS, PAIGE                          GRANDE, BILL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRANDE, ERIKA                           GRANDELL, CHRISANDA                     GRANDEO, ANITA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRANDINETTE, DANIELLE                   GRANDINETTI, SARAH                      GRANDIS, PHILIP
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRANDISON- AKINYOOYE, REBECCA           GRANDJEAN, JEFFREY                      GRAND-LEJANO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRANDMAIRE, JANICE                      GRANDO, CHRISTIANE                      GRANDPREY, MARI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRANDS VINS DE GIRONDE (G.V.G)          GRANDSTAND GLASSWARE & APPAREL          GRANDT, JULIA
2, CHEMIN RIVET                         ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
SAINT LOUBES 33451
FRANCE




GRANER, SHARON                          GRANER, TYANNA                          GRANFIELD, PATRICK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRANGER, ANNIE                          GRANGER, BARBARA                        GRANGER, CAITLIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
GRANGER, ELIZA        Case 22-11238-LSS    Doc
                                     GRANGER,   2 Filed 11/30/22
                                              EMILY                   Page 1867 of 5495
                                                                           GRANGER, GARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANGER, GASTON                      GRANGER, TONYA                        GRANGRUTH, SHELBY
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GRANHOLD, BRYAN                      GRANICK, JOYCE                        GRANICZNY, CHRIS
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GRANIER, GINA                        GRANILLO, MONICA                      GRANILLO, RAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANJA, VALERIA                      GRANNAN, CHRISTIANE                   GRANNAN, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANNIS, BRADLEY                     GRANNIS, KAREN                        GRANNISS, JORDAN
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GRANO DE ORO, SAMIELY                GRANO, MARTIN                         GRANOZIO, NICOLETTE
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GRANROTH, REBECCA                    GRANSEE, RANDI                        GRANT ANTHONY BROKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT C EVANS                        GRANT CONZEN                          GRANT JAMES MCCALLUM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT MACDONALD CASEY                GRANT RICK                            GRANT, ADRIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRANT, ALEXANDRA      Case 22-11238-LSS
                                     GRANT, Doc  2 Filed 11/30/22
                                            ALEXANDRA                 Page 1868
                                                                           GRANT,of 5495
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GRANT, AMANDA                        GRANT, AMY                            GRANT, ANNE
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GRANT, BERNICE                       GRANT, BETSY                          GRANT, BRANDON
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GRANT, BRIANNA                       GRANT, BRITTANY                       GRANT, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, BRYANNA                       GRANT, CARRIE                         GRANT, CHANCE
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GRANT, CHRISTINE                     GRANT, CHRISTINE                      GRANT, CHRISTINE
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GRANT, DANDRE                        GRANT, DANIELLE                       GRANT, DAWN
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GRANT, DEBORAH                       GRANT, DELANEY                        GRANT, DELORES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, ELIYSHA                       GRANT, ELIZABETH                      GRANT, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, EMILY                         GRANT, HOLLY                          GRANT, IRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRANT, JACQUELINE     Case 22-11238-LSS
                                     GRANT, Doc  2 Filed 11/30/22
                                            JESSICA                   Page 1869
                                                                           GRANT,of
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, JOSH                          GRANT, KELSEY                         GRANT, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, LAMAR                         GRANT, MARGARET                       GRANT, MARGUERITE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, MAUREEN                       GRANT, MEGAN                          GRANT, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, NIYA                          GRANT, REBECCA                        GRANT, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, RICHARD                       GRANT, RISHANN                        GRANT, ROCHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, SARAH                         GRANT, SHELLY                         GRANT, STEFANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, STEPHANIE                     GRANT, STEPHANIE                      GRANT, SUSANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, SYDNEY                        GRANT, THOMAS                         GRANT, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRANT, TRISHANA                      GRANT, WILFRED                        GRANTHAM, DALLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRANTHAM, JESSICA     Case 22-11238-LSS    DocKAREN
                                     GRANTHAM,  2 Filed 11/30/22       Page 1870 ofCHRISTINA
                                                                            GRANTZ, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRANUCCI, JILL                       GRANUCCI, LISA                         GRANZOW, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRAP, MADELEINE                      GRAPE EXPECTATIONS - WASHINGTON        GRAPE EXPECTATIONS, INC
ADDRESS AVAILABLE UPON REQUEST       3123 142ND AVE EAST                    1091 ESSEX AVE
                                     SUMNER, WA 98390                       RICHMOND, CA 94801




GRAPE KOREA INC.                     GRAPE, CARLITTA                        GRAPE, CLARISSA
GRAPE KOREA INC. 1F, 36-1            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GYEONGGANGRO
333 BEONGIL NAMYANGJU-SI
GYEONGGI-DO
KOREA

GRAPENTINE, JENNY                    GRAPES, SHANNON                        GRAPEVINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




GRAPP, TAYLOR                        GRASBERGER, JEFF                       GRASELL, EKATERINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRASELL, KATE                        GRASER, STANLEY                        GRASKEY, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRASLE, KARLIE                       GRASON, DEAN                           GRASPO, JACQUELINE
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GRASS, KATHERINE                     GRASS, LEAH                            GRASSANI, FRAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRASSE, ALEXIS                       GRASSEL, JAMIE                         GRASSEL, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GRASSI, CARA MIA      Case 22-11238-LSS
                                     GRASSI,Doc
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                                                                             GRASSI,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRASSI, TAMARA                       GRASSIE, JULIA                          GRASSMAN, LISA
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GRASSO, CHARLOTTE                    GRASSO, DANIELA                         GRASSO, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRASSO, LAUREN                       GRASSO, NEIL                            GRASSO, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRASTON, VICTORIA                    GRATAFY                                 GRATEROL, HENRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




GRATES, JULIE                        GRATH, CAITLIN                          GRATTAN, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRATTAN, LUKAS                       GRATTI, GILBERT                         GRATTO, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRATTON, NICOLE                      GRATTON, TYLER                          GRATZ, GIANCARLO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRATZ, PETER                         GRATZEL, GAIL                           GRATZON, JACKIE
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GRAU, ADRIAN                         GRAU, CARMEN                            GRAU, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
GRAUER, DEBBIE        Case 22-11238-LSS    Doc
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                                                                           GRAUER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAUF, SARA                          GRAULICH, BOB                         GRAUMAN, ZACH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAUMAN-BOSS, BEATRICE               GRAUNKE, JERRY                        GRAUNKE, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVATTE, CRYSTAL                    GRAVEL, BRIANA                        GRAVEL, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVEL, KYLE                         GRAVELL, LAURA                        GRAVELLE, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVELY, ANGELA                      GRAVELY, SARA                         GRAVERAN, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, ALEXANDRA                    GRAVES, ALEXIS                        GRAVES, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, BEVERLY                      GRAVES, BRANNON                       GRAVES, CFLS, DEMETRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, CLAIRE                       GRAVES, COURTNEY                      GRAVES, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, DAN                          GRAVES, DEAN                          GRAVES, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRAVES, ELIZABETH     Case 22-11238-LSS
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                                                                           GRAVES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, GLORIA                       GRAVES, JAKE                          GRAVES, JOHNNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, JULIANNE                     GRAVES, KAREN                         GRAVES, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, KRISTY                       GRAVES, KURT                          GRAVES, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, LAURIE                       GRAVES, LORI                          GRAVES, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, PALLAVI                      GRAVES, PAULA                         GRAVES, RALUCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, RICCO                        GRAVES, ROSE                          GRAVES, SHADARIEYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAVES, SHAWNA                       GRAVES, SHELBY                        GRAVES, SIHOMARA
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GRAVES, TAMARA                       GRAVES, TREMMECI                      GRAVES, TROY
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GRAVESANDE, CASSIA                   GRAVES-GILYARD, CYNAMON               GRAVINO, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRAVINO, MARSHA       Case 22-11238-LSS     Doc
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                                                                             GRAVLEE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRAVLEY, MARY                        GRAW, JACQUELINE                        GRAWE, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRAWE, SARAH                         GRAY DOG DINER                          GRAY HARRISON EXECUTIVE SEARCH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   2016 NORTH HOWE STREET UNIT 3N
                                                                             CHICAGO, IL 60614




GRAY LIFT INC                        GRAY, ABBIE                             GRAY, AILEENA
4646 E JENSEN AVE                    ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FRESNO, CA 93725




GRAY, ALAN                           GRAY, ALEXANDRA                         GRAY, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRAY, AMANDA                         GRAY, AMY                               GRAY, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRAY, ANDRE                          GRAY, ANDREA                            GRAY, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRAY, ANNA                           GRAY, ANNE-MARIE                        GRAY, ASHLEY
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GRAY, BEKA                           GRAY, BO                                GRAY, BRUCE
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GRAY, CAIN                           GRAY, CAITLIN                           GRAY, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
GRAY, CARON           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GRAY, CASEY                      Page 1875  of 5495
                                                                           GRAY, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRAY, CATHERINE                      GRAY, CECILY                           GRAY, CHARLINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRAY, CLAUDIA                        GRAY, CLIFFORD                         GRAY, CODY
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GRAY, DAISY                          GRAY, DANIEL                           GRAY, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRAY, DAVIDA                         GRAY, DEREK                            GRAY, DOMINIQUE
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GRAY, EMILY                          GRAY, ERIC                             GRAY, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRAY, ERIEL                          GRAY, ERIN D                           GRAY, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRAY, ERIN                           GRAY, GABI                             GRAY, HAYLIE
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GRAY, IAN                            GRAY, JAMES R                          GRAY, JANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRAY, JENNIFER                       GRAY, JENNIFER                         GRAY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GRAY, JENNIFER        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GRAY, JERRILYN                   Page 1876   of 5495
                                                                           GRAY, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAY, JESSICA                        GRAY, JIM                             GRAY, JOEL GERALD
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GRAY, JOHN                           GRAY, JORDAN                          GRAY, JOY
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GRAY, JULIA                          GRAY, JULIE                           GRAY, KAREN
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GRAY, KATHERINE                      GRAY, KATHRYN                         GRAY, KATHRYN
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GRAY, KATHY                          GRAY, KATIE                           GRAY, KATIE
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GRAY, KATY                           GRAY, KELLY                           GRAY, KENZIE
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GRAY, KEVIN                          GRAY, KIM                             GRAY, KIMBALL
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GRAY, KIMBERLY                       GRAY, KIMBERLY                        GRAY, KRISTEN
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GRAY, KRISTEN                        GRAY, KRISTI                          GRAY, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRAY, LAUREN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GRAY, LAUREN                     Page 1877  of 5495
                                                                           GRAY, LEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAY, LEONARD                        GRAY, LYNDZI                          GRAY, LYNN
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GRAY, MACKENZIE                      GRAY, MARJORIE                        GRAY, MCKEE
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GRAY, MEGAN                          GRAY, MEGAN                           GRAY, MEGHAN
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GRAY, MEGHAN                         GRAY, MELINA                          GRAY, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAY, MOLLY                          GRAY, MORGAN                          GRAY, NATALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAY, NATALIE                        GRAY, NATALIE                         GRAY, PATTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAY, PETER                          GRAY, PHILIP                          GRAY, PJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAY, RENEE                          GRAY, RICHARD                         GRAY, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAY, ROBERT                         GRAY, ROBIN                           GRAY, SABRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRAY, SAMYATTA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GRAY, SARAH                          Page 1878  of 5495
                                                                               GRAY, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GRAY, SHEILA                         GRAY, SHERRY                              GRAY, SHILOH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GRAY, SONJA                          GRAY, STARR                               GRAY, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GRAY, STEVEN                         GRAY, SUZY                                GRAY, T
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GRAY, TERENCE                        GRAY, TIKI                                GRAY, TIMOTHY
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GRAY, TODD                           GRAY, TOYA                                GRAY, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GRAY, TYRA                           GRAY, VALERIE                             GRAY, VIVIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GRAY, WILLIAM                        GRAY, ZACHARY                             GRAYBEAL, ALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GRAYBEAL, KYLE                       GRAYBEAL, LEE                             GRAYBEAL, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




GRAYBILL, MEGAN                      GRAYBULL ORGANIC WINES - (INDIANA)        GRAYCE, SARAH
ADDRESS AVAILABLE UPON REQUEST       8435 GEORGETOWN ROAD, SUITE 600           ADDRESS AVAILABLE UPON REQUEST
                                     INDIANAPOLIS, IN 46268
GRAYER, ALIYAH        Case 22-11238-LSS    Doc
                                     GRAYESKI,   2 Filed 11/30/22
                                               GLORIA                 Page 1879 of 5495
                                                                           GRAYSON, CAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAYSON, CHEYANNE                    GRAYSON, ETHAN                        GRAYSON, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAYSON, KIMBERLY                    GRAYSON, MYLES                        GRAYSON, RACHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAYSON, SAM                         GRAYSON, SANTANA                      GRAYSON, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAYTAYLOR, STACY                    GRAY-VOLTZ, DIANAH                    GRAYZEL, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAZDA, MARTYNA                      GRAZIADEI, MONIQUE                    GRAZIADIO, GINA
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GRAZIANI, JAMIE                      GRAZIANI, STEPHANIE                   GRAZIANO, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAZIANO, ASHLEY                     GRAZIANO, CARL                        GRAZIANO, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAZIANO, MICHAEL                    GRAZIOLI, ERICA                       GRAZIOSE, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRAZIOSI, KYRIE                      GRBAVAC, ALMA                         GRBINICH-HUNT, MARGO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREAGER, KATIE        Case 22-11238-LSS    DocPAMELA
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                                                                               GREANEY, MARY CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




GREANY, MAUREEN                         GREAT BOWERY, INC. (BERNSTEIN &         GREAT LAKES BREWING COMPANY
ADDRESS AVAILABLE UPON REQUEST          ADRIULLI)                               ADDRESS UNAVAILABLE AT TIME OF FILING
                                        433 BROADWAY STE 420
                                        NEW YORK, NY 10013




GREAT LAKES WINE & SPIRITS LLC          GREAT LAKES WINE & SPIRITS LLC          GREAT WEST FINANCIAL SERVICES
373 VICTOR AVENUE                       9900 VOLTE                              ADDRESS UNAVAILABLE AT TIME OF FILING
HIGHLAND PARK, MI 48203                 DETROIT, MI 48227




GREAT WRAPS                             GREATHEAD, DAMIEN                       GREATHOUSE, JANE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GREATHOUSE, LAURA                       GREATLAND CORPORATION DBA NELCO         GREATWOOD, VICTORIA
ADDRESS AVAILABLE UPON REQUEST          PO BOX 1157                             ADDRESS AVAILABLE UPON REQUEST
                                        GRAND RAPIDS, MI 49501-1157




GREAUX, LISA                            GREAVES, CHEVON                         GREAVES, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GREAVES, MELISSA                        GREAVES, SHARON                         GREAVU, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GREBENSTEIN, CLAIRE                     GREBNER, ADAM                           GREBNER, STACIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRECH, REBECCA                          GRECHKO, ANDREY                         GRECHKOSII, IGOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GRECO, ANNE                             GRECO, BRITTANY                         GRECO, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
GRECO, DANIELLE       Case 22-11238-LSS
                                     GRECO, Doc  2 Filed 11/30/22
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                                                                              GRECO,of 5495
                                                                                     EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GRECO, GINA                             GRECO, JULIE                          GRECO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRECO, OLIVIA                           GRECO, RAFFAELLA                      GRECO, RICH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREDILLA, JOSE                          GREEAR, EMMA                          GREEGOR/NEAL, ADRIENNE /LISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREELEY, LAUREN                         GREEN BAY PACKERS INC                 GREEN BAY PACKERS INC
ADDRESS AVAILABLE UPON REQUEST          ATTN: COO/GENERAL COUNSEL             ATTN: COO/GENERAL COUNSEL
                                        1265 LOMBARDI AVE                     P.O. BOX 10628
                                        GREEN BAY, WI 54304                   GREEN BAY, WI 54307-0628




GREEN BAY PACKERS INC                   GREEN BAY PACKERS                     GREEN COOPER, ALVITA
ATTN: STAFF COUNSEL                     1265 LOMBARDI AVENUE                  ADDRESS AVAILABLE UPON REQUEST
1265 LOMBARDI AVE                       GREEN BAY, WI 54304
GREEN BAY, WI 54304




GREEN PEAS                              GREEN WEDDING SHOES, LLC.             GREEN, ADAM
ADDRESS UNAVAILABLE AT TIME OF FILING   3541 SWEET CLOVER ST.                 ADDRESS AVAILABLE UPON REQUEST
                                        THOUSAND OAKS, CA 91362




GREEN, AJENE                            GREEN, ALEX                           GREEN, ALEXIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, ALEXIS                           GREEN, ALFORD                         GREEN, ALIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, ALLISON                          GREEN, ALLISON                        GREEN, ALLYSON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREEN, AMANDA         Case 22-11238-LSS
                                     GREEN, Doc 2 Filed 11/30/22
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                                                                           GREEN,of 5495
                                                                                  AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, AMANDA                        GREEN, AMY                            GREEN, ANN M
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, ANNA                          GREEN, ANNE                           GREEN, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, ANNE                          GREEN, ARIEL                          GREEN, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, BEENA                         GREEN, BELITA                         GREEN, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, BRAD                          GREEN, CALLIE                         GREEN, CALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, CAMERAN                       GREEN, CATHY                          GREEN, CHANING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, CHANTELLE                     GREEN, CHERYL                         GREEN, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, CHERYL                        GREEN, CHRIS                          GREEN, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, CHRISTINA                     GREEN, CHRISTINA                      GREEN, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREEN, CLAIRE         Case 22-11238-LSS
                                     GREEN, Doc
                                            CODY 2   Filed 11/30/22   Page 1883
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, CRISTAL                       GREEN, CYNTHIA                        GREEN, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, DANETTE                       GREEN, DANIEL                         GREEN, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, DANNY                         GREEN, DAVID                          GREEN, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, DEBBIE                        GREEN, DELORES                        GREEN, DIONYSIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, DONNA                         GREEN, DONNIE                         GREEN, DOROTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, ELAINE                        GREEN, ELYSIA                         GREEN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, EMILY                         GREEN, EMMA                           GREEN, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, ERICA                         GREEN, ERIN K.                        GREEN, EVELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, FRED                          GREEN, GLORIA                         GREEN, GREGORIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREEN, GRETCHEN       Case 22-11238-LSS
                                     GREEN, Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, HILLARY                       GREEN, JACKIE                         GREEN, JAMAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, JAMES                         GREEN, JANAI                          GREEN, JEANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, JENAE                         GREEN, JENNI                          GREEN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, JENNIFER                      GREEN, JENNIFER                       GREEN, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, JESSICA                       GREEN, JESSICA                        GREEN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, JESSICA                       GREEN, JILLIAN                        GREEN, JOHNNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, JONATHAN                      GREEN, JOSEPHINE                      GREEN, JOYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, JUSTIN                        GREEN, KAITLYN                        GREEN, KATARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, KATHERINE                     GREEN, KATHERINE                      GREEN, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREEN, KELSEY         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, KENDRA                        GREEN, KIMBERLY                       GREEN, KIRSTEN
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GREEN, KOLT                          GREEN, KRISTEN                        GREEN, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, KYANNA                        GREEN, KYLE                           GREEN, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, LARRY                         GREEN, LATOUCHA                       GREEN, LAUREL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, LAUREN                        GREEN, LAURIA                         GREEN, LESLIEANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, LIBBY                         GREEN, LINDA                          GREEN, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, LYNN                          GREEN, MARJORIE                       GREEN, MARTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, MARY                          GREEN, MEAGAN                         GREEN, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, MELINDA                       GREEN, MELISSA                        GREEN, MELVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREEN, MICHAEL        Case 22-11238-LSS
                                     GREEN, Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, MOLLY                         GREEN, MYTAY                          GREEN, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, NICHOLAS                      GREEN, NICOLE                         GREEN, NICOLE
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GREEN, NICOLE                        GREEN, NIKI                           GREEN, NISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, OLLIE                         GREEN, PATRICIA                       GREEN, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, REBECCA                       GREEN, REBECCA                        GREEN, REGINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, RIANA                         GREEN, ROBERT                         GREEN, SARA
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GREEN, SARA                          GREEN, SEAN                           GREEN, SETH
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GREEN, SHARNIQUE                     GREEN, SHERRI                         GREEN, SHREE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, SIERRA                        GREEN, STANLEY                        GREEN, STEFANIE
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GREEN, STEPHANIE      Case 22-11238-LSS
                                     GREEN, Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, SUSAN                         GREEN, SUSAN                          GREEN, TAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, TANYA                         GREEN, TAUKEYMA                       GREEN, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, TERRA                         GREEN, TIFFANY                        GREEN, TIM
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GREEN, TOM                           GREEN, TRICIA                         GREEN, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN, ZOE                           GREENAMYER, LINDSAY                   GREENAN, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREEN-ARAOZ, MELISSA                 GREENAWAY, VALERIE                    GREENBAUM, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENBAUM, SAMANTHA                  GREENBAUM, SARAH                      GREENBAUM, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENBERG, ADAM                      GREENBERG, CAROL                      GREENBERG, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENBERG, JENNIFER                  GREENBERG, JO                         GREENBERG, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREENBERG, JULIE      Case 22-11238-LSS    Doc KATHARINE
                                     GREENBERG, 2 Filed 11/30/22      Page 1888 of 5495
                                                                           GREENBERG, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENBERG, LAURA                     GREENBERG, MARC                       GREENBERG, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENBERG, PATRICIA                  GREENBERG, RACHEL                     GREENBERG, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENBERG, SARAH                     GREENBERG, SCOTT                      GREENBERGER, TALYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENBLAT, EMILY                     GREENBLATT, CHRISTINE                 GREENBLATT, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENDYK, JONATHAN                   GREENE, ALEESHA                       GREENE, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, ALICIA                       GREENE, ALPHA                         GREENE, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, ANNIE                        GREENE, ASHA                          GREENE, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, BREANNA                      GREENE, BRIANNA                       GREENE, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, CHEYENE                      GREENE, CHRISTOPHER                   GREENE, CLAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREENE, COLBY         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, DAYON                        GREENE, DEBORAH                       GREENE, DENNISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, DENVER                       GREENE, ELIZABETH                     GREENE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, GAYLIND                      GREENE, HAYDEN                        GREENE, HILARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, HONORIA                      GREENE, IEISHA                        GREENE, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, JENNIFER                     GREENE, JENNIFER                      GREENE, JESSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, JESSICA                      GREENE, JILLIAN                       GREENE, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, KARA                         GREENE, KAREN                         GREENE, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, KELLY                        GREENE, KEVIN                         GREENE, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, LA’KISHA                     GREENE, LEIGH                         GREENE, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREENE, LUCINDIA      Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, MAGAN                        GREENE, MARK                          GREENE, MARLO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, MARTHA CLAIRE                GREENE, MEGAN                         GREENE, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, MEGHANN                      GREENE, MELISSA                       GREENE, MJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, NANCY                        GREENE, NATASHA                       GREENE, NIVEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, RONALD                       GREENE, SHARYCE                       GREENE, SIOBHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, STACEY                       GREENE, STACIE                        GREENE, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENE, SUJEY                        GREENE, TAYLOR                        GREENE, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENER, DAVID                       GREENER, GUY                          GREENFELDER, JAIDEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENFELDER, NANNIE                  GREENFIELD, CHLOE                     GREENFIELD, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREENFIELD, DAVID     Case 22-11238-LSS    Doc ERIN
                                     GREENFIELD, 2 Filed 11/30/22     Page 1891 of 5495
                                                                           GREENFIELD, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENFIELD, LAUREL                   GREENFIELD, MARQUIS                    GREENFIELD, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENFIELD, NICOLE                   GREENFIELD, SIMA                       GREENGARDEN, JESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENHALGH, KERRIANN                 GREENHAW, BAILEE                       GREENHAW, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENHOLT, EVA                       GREENHOLT, SHANNON                     GREENHOUSE, HALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENHOUSE, MELISSA                  GREENIDGE, DEIRDRE                     GREENLAND, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENLEA, KRISTAL                    GREENLEE, CASSANDRA                    GREENLEE, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENLEE, JESSICA                    GREENLEE, NICOLE                       GREENLEE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENLEE, SARAH                      GREENLEES, JUDY                        GREENLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




GREENLUND, MADISON                   GREENMAN, ELIZABETH                    GREENMAN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GREENMAN, ERIN        Case 22-11238-LSS    DocMARK
                                     GREENMAN,  2 Filed 11/30/22       Page 1892 ofMONTANA
                                                                            GREENO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENOUGH, JESSICA                   GREENOUGH, KAREN                       GREENOUGH, KELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENSIDE, KIMBERLY                  GREENSLADE, REX                        GREENSLET, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENSLIT, JANA                      GREENSPAN, ARIELLE                     GREENSPAN, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENSPAN, JACKIE                    GREENSPAN, JULIA                       GREENSPAN, SCHMAMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENSPAN, SHAWN                     GREENSPON, GRACE                       GREENSTEIN, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENSTEIN, DANIEL                   GREENSTEIN, SHANE                      GREENSTREET, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENWADE, JANET                     GREENWALD C/O IMAGE X TSG, JOAN        GREENWALD, AUDRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENWALD, KELSEY                    GREENWALD, LAUREN                      GREENWALL, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GREENWALT, KRYSTLE                   GREENWALT, MICHELLE                    GREENWAY, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GREENWAY, LACEY       Case 22-11238-LSS    DocMAUREEN
                                     GREENWAY,  2 Filed 11/30/22      Page 1893 of 5495
                                                                           GREENWAY, SUMMER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENWELL, BEN                       GREENWELL, EMILY                      GREENWELL, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENWELL, NEIL                      GREENWELL, STEPHANIE                  GREENWICH ST TAVERN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




GREENWOOD, ALAN                      GREENWOOD, BAILEY                     GREENWOOD, BELINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENWOOD, CAITLIN                   GREENWOOD, CASEY                      GREENWOOD, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENWOOD, GLENN                     GREENWOOD, GRACE                      GREENWOOD, JANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENWOOD, JESS                      GREENWOOD, JESSICA                    GREENWOOD, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENWOOD, KATIE                     GREENWOOD, LAURA                      GREENWOOD, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENWOOD, LINDSAY                   GREENWOOD, MELISSA                    GREENWOOD, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREENWOOD, RYLIE                     GREENWOOD, SUANN                      GREENWOOD, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREENWOOD, TRACEE     Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREER, CARRIE                        GREER, CATHERINE                      GREER, CLAUDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREER, CODY                          GREER, GLORIA                         GREER, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREER, JAMES                         GREER, KAMI                           GREER, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREER, MARTI                         GREER, MATTHEW                        GREER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREER, MICHELLE                      GREER, NYESHA                         GREER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREER, STEVEN                        GREER, WESLEYNE                       GREESON, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREFIN, GUILENE                      GREG BOWERS                           GREG DOLLARHYDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREG DYBALA                          GREG HOWE                             GREG LAMBERT
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GREG LAMBERT                         GREGG BOOKER                          GREGG, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREGG, AMY            Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGG, EMILY                         GREGG, EMILY                          GREGG, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGG, MARIS                         GREGG, MEAGAN                         GREGG, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGG, RACHELE                       GREGG, STEPHANIE                      GREGGERSON, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGGORY R GARRETT LIVING TRUST      GREGGORY, ARIN                        GREGIE, JOELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGO, ELIZABETH                     GREGO, KATIE                          GREGOIRE, CHANDLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGOIRE, JILLIAN                    GREGOIRE, OLIVIA                      GREGOIRE-SMITH, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGOR, ALYSSA                       GREGOR, AMY                           GREGOR, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGOR, JESSICA                      GREGOR, PATRICIA                      GREGORI, ANA MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGORIE, CATHARINE                  GREGORIO, EUGENIA                     GREGORIO, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GREGORIO, PAMELA      Case 22-11238-LSS    Doc JENNIFER
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGOROWICZ, KATELYN                 GREGORY ALAN JENKINS                  GREGORY BARATOFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGORY BILLUPS                      GREGORY BORDELON                      GREGORY COLLYMORE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGORY DEMETRE                      GREGORY DUBINSKY                      GREGORY FERGUSON HONSINGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGORY FRYE                         GREGORY GRAVES                        GREGORY GRAVES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGORY HANNEY                       GREGORY HUBACEK                       GREGORY J THROPP
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GREGORY J WILMOTH                    GREGORY JONES                         GREGORY LANE OVERMIER
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GREGORY MCDANIEL                     GREGORY MOON                          GREGORY MURPHY
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GREGORY PARKER                       GREGORY PAUL FARAGHER                 GREGORY RADKE
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GREGORY RISLING                      GREGORY RIZOS                         GREGORY ROBERTS
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GREGORY S HOLDER      Case 22-11238-LSS    Doc
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                                             S WILSON                 Page 1897 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGORY SAPIENZA                     GREGORY SCHULTZ                       GREGORY STEARNS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GREGORY STEPHAN                      GREGORY TADDEO                        GREGORY TAMARIN
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GREGORY WESTERLUND                   GREGORY WITKOWSKI                     GREGORY, ADAM
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GREGORY, ALEXANDRA                   GREGORY, ALISON                       GREGORY, AMBER
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GREGORY, ASHLEY                      GREGORY, BRENDAN                      GREGORY, BRITTANY
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GREGORY, CANDACE                     GREGORY, CHASE                        GREGORY, CHRISTOPHER
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GREGORY, CLAIBORNE                   GREGORY, CONNIE                       GREGORY, DANIEL
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GREGORY, DEBBIE                      GREGORY, DUNCAN                       GREGORY, EDWARD
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GREGORY, ERICA                       GREGORY, JAMES                        GREGORY, JENNIFER
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GREGORY, JESSICA      Case 22-11238-LSS    Doc
                                     GREGORY, JILL2  Filed 11/30/22     Page 1898 of 5495
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GREGORY, JOHN L                      GREGORY, JOHN                           GREGORY, JORDAN
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GREGORY, JOSEPHINE                   GREGORY, KATI                           GREGORY, KRISTIN
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GREGORY, LANE                        GREGORY, LAUREN                         GREGORY, LORI
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GREGORY, LORI                        GREGORY, MARAH                          GREGORY, MARY
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GREGORY, MEGAN                       GREGORY, MELISSA                        GREGORY, MOLLY
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GREGORY, NAQIBA                      GREGORY, NICOLE                         GREGORY, PATTI
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GREGORY, ROBERT                      GREGORY, SARAH                          GREGORY, STACIE
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GREGORY, STEPHEN                     GREGORY, TAMEIKA                        GREGORY, TODD AND SARAH
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GREGORY, WYATT                       GREGORYS COFFEE                         GREHL, MORA
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                                              SARAH                   Page 1899  of 5495
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GREIFONER, TATE                      GREIG, ALLY                            GREIG, NICOLE
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GREIG, RACHEL                        GREIG, TAIT                            GREIN, CALLIE AND JAMES
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GREINER, JAMES                       GREINER, JOHANNA                       GREINER, LAUREN
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GREINER, MACKENZIE                   GREINER, NANCY                         GREINER, SARAH
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GREINER, VIRGINIA                    GREIS, MICHELLE                        GREISS, ALYSSA
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GREITENS, ERIC                       GRELLE, THERESA                        GRELLER, DIANA
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GREMILLION, CHRISTY                  GRENCI, LISA                           GRENDAHL, JOCELYN
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GRENDON, MARIANNE                    GRENDZINSKI, AMY                       GRENIER, KIMBERLY
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GRENIER, MISHA                       GRENIER, MS. C                         GRENIER, PETER
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                                     GRENNEN,   2 Filed 11/30/22
                                              MARINA                  Page 1900 of 5495
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GRENNING, JANICE                     GRENOBLE, NICOLE                      GRENVILLE, RICHARD
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GRENZ, ALEX                          GREPPI, TERESA                        GREPPI, TERESA
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GRES, ELIZABETH                      GRESBACK, KATHERINE                   GRESCH, ALAN
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GRESCH, TIFFANY                      GRESH, CINDI                          GRESH, KAITLIN
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GRESH, NICK                          GRESHAM, ALICE                        GRESHAM, ANGELA
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GRESHAM, EDWARD                      GRESHAM, KATE                         GRESHAM, KEIWANA
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GRESHAM, LORI                        GRESHAM, MARIA                        GRESHAM, T
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GRESK, KJERSTEN                      GRESKAMP, HALEY                       GRESS, BECCA
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GRESSETT, WENDY                      GRETCHEN HEACOCK                      GRETCHEN THEODORAKIS
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GREUBEL, REBECCA                     GREVAS, ALEXANDRIA                      GREVE, DANIELLE
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GREVE, RACHEL                        GREVER, SARAH                           GREWAL, AMBER
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GREWAL, SUKHDEEP                     GREWAY, JILL                            GREWCOCK, ALYSSA
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GREWCOCK, BROOKE                     GREY LIFT                               GREY, BONNIE
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GREY, CABREY                         GREY, EMILY                             GREY, JOHN
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GREY, MOLLY                          GREY, NOAH                              GREY, SANDY
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GREY, SONYA                          GREY, TERI                              GREYPOINT, INC. (CONVOY)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          1500 CENTURY SQUARE 8989 4TH AVENUE
                                                                             SEATTLE, WA 98101




GREYSON TARANTINO                    GREZLIK, CLENDORA                       GRGAS, DEBORAH
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GRGIC, DEB                           GRIBBEN, ERIN                           GRIBBEN, LISA
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GRICE, PATRICIA                      GRICE, SANDRA                         GRICE, STEPHANIE
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GRIDER, CAROLINE                     GRIDLEY, CLARISSA                     GRIEBEL, KENDELL
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GRIECO, ALYCIA                       GRIECO, KATELIN                       GRIEGER, CARLY
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GRIEGER, JOSH                        GRIEGER, LAURIE                       GRIEGER, STEPHANIE
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GRIEGO, MARIA                        GRIEGO, MARY                          GRIEP, AMANDA
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GRIER, BRITTANY                      GRIER, CAROLINE                       GRIER, CONNIE
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GRIER, DANIELLE                      GRIER, KATHRYN                        GRIERSON, ASHLEY
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GRIERSON, KELSEY                     GRIES, BRAD                           GRIES, MARY
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GRIESBACH, AVERY                     GRIESDORN, AARON                      GRIESEDIECK, KATE
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GRIESNER, SUZANNE                    GRIEST, ANDREW                         GRIEVESON, JEREMY
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GRIFFEN, ERIC                        GRIFFERTY, MATTHEW                     GRIFFEY, ASHLEY
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GRIFFEY, CHARLES                     GRIFFIE, SARAH                         GRIFFIES, MATTHEW
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GRIFFIN GREEN                        GRIFFIN, AARON                         GRIFFIN, ALEXANDRA
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GRIFFIN, ALEXIS                      GRIFFIN, ALISYN                        GRIFFIN, ALLAN
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GRIFFIN, ALLISON                     GRIFFIN, AMBER                         GRIFFIN, AMY
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GRIFFIN, AVERY                       GRIFFIN, BARBARA                       GRIFFIN, BETH
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GRIFFIN, BRENDA AND/OR TROY          GRIFFIN, BRIAN                         GRIFFIN, BROOKS
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GRIFFIN, CAROLINE                    GRIFFIN, CAROLYN AND KURT              GRIFFIN, CARRI
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                                     GRIFFIN,Doc 2 Filed 11/30/22
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GRIFFIN, DEEANN                      GRIFFIN, DONALD                        GRIFFIN, EBONY
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GRIFFIN, ELISE                       GRIFFIN, ERIN                          GRIFFIN, ERIN
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GRIFFIN, ERON                        GRIFFIN, FELICIA                       GRIFFIN, GEOFFREY
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GRIFFIN, GREGG                       GRIFFIN, GRETCHEN                      GRIFFIN, HANNAH
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GRIFFIN, HEATH                       GRIFFIN, JENI                          GRIFFIN, JENNIFER
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GRIFFIN, JENNIFER                    GRIFFIN, JENNIFER                      GRIFFIN, JOHN
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GRIFFIN, JOHN                        GRIFFIN, JOSEPH                        GRIFFIN, JOSEPH
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GRIFFIN, JULIE                       GRIFFIN, KASEY                         GRIFFIN, KATLYN
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GRIFFIN, KATRINA                     GRIFFIN, KELLY                         GRIFFIN, KENDRA
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GRIFFIN, LAREE                       GRIFFIN, LAREE                        GRIFFIN, LEIGH
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GRIFFIN, LINDA                       GRIFFIN, LUKE                         GRIFFIN, MACKENZIE
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GRIFFIN, MARK                        GRIFFIN, MARTIE                       GRIFFIN, MATTHEW
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GRIFFIN, MEG                         GRIFFIN, MEGAN                        GRIFFIN, MEGAN
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GRIFFIN, MEGAN                       GRIFFIN, MELISSA                      GRIFFIN, MICHAEL
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GRIFFIN, MICHAEL                     GRIFFIN, MICHAEL                      GRIFFIN, NANCY
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GRIFFIN, NANCY                       GRIFFIN, NAQUEYA                      GRIFFIN, NATASHA
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GRIFFIN, NICHOLAS                    GRIFFIN, NICKI                        GRIFFIN, NICOLE
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GRIFFIN, PAGE                        GRIFFIN, RACHEL                       GRIFFIN, REGINA
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GRIFFIN, SAVANNA                     GRIFFIN, SHARAE                       GRIFFIN, SHAY
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GRIFFIN, STEPHON                     GRIFFIN, SUSAN                        GRIFFIN, TAMMY
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GRIFFIN, TANYA                       GRIFFIN, TESS                         GRIFFIN, TESSA
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GRIFFIN, THOMAS                      GRIFFIN, WILL                         GRIFFIN, ZACHARY
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GRIFFIN-NUGENT, CAROL                GRIFFIS, COURTLAND                    GRIFFIS, JASMINE
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GRIFFIS, SAGE                        GRIFFIS, VICKI                        GRIFFIS, VIRGINIA
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GRIFFITH, ALEX                       GRIFFITH, ALICIA                      GRIFFITH, ALISON
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GRIFFITH, AMANDA                     GRIFFITH, ANN                         GRIFFITH, ASHLEY
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GRIFFITH, BETHANY                    GRIFFITH, BRANDI                      GRIFFITH, BROOKE
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GRIFFITH, CLAY                       GRIFFITH, DANA                         GRIFFITH, DAVE AND DEBORAH
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GRIFFITH, EILEEN                     GRIFFITH, ELIZABETH                    GRIFFITH, ELLEN
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GRIFFITH, GERARD                     GRIFFITH, HOLLIE                       GRIFFITH, HOLLY
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GRIFFITH, JACQUELYN                  GRIFFITH, JENNIFER                     GRIFFITH, JILLIAN
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GRIFFITH, JUSTIN                     GRIFFITH, KALA                         GRIFFITH, KIM
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GRIFFITH, KYRON                      GRIFFITH, LAURA                        GRIFFITH, LAURIE
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GRIFFITH, LINDSEY                    GRIFFITH, MADISON                      GRIFFITH, MARK
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GRIFFITH, MAXWELL                    GRIFFITH, MEGHAN                       GRIFFITH, MICHAEL
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GRIFFITH, NOEL                       GRIFFITH, RAGAN                        GRIFFITH, SARAH
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GRIFFITH, TARA                       GRIFFITH, TODD                         GRIFFITH, VIRGINIA
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GRIFFITHE, CANDACE                   GRIFFITHS, ANITA                       GRIFFITHS, CHARLES
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GRIFFITHS, COLLIN                    GRIFFITHS, DAVID                       GRIFFITHS, DREW
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GRIFFITHS, EM                        GRIFFITHS, GEORGIA                     GRIFFITHS, HEATHER
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GRIFFITHS, JESSICA                   GRIFFITHS, KAITLYN                     GRIFFITHS, KENNETH
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GRIFFITHS, KRISTINE                  GRIFFITHS, LORI                        GRIFFITHS, MICHAEL
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GRIFFITTS, ASHLEY                    GRIFFLER, JACOB                        GRIGAS, AMBER
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GRIGAS, JOANNA                       GRIGAS, MEGAN                          GRIGG, COLLEEN
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GRIGG, JAMES                         GRIGG, JOHN BENJI                      GRIGG, JORDAN
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GRIGGS, KOURTNEY                     GRIGGS, NATE                          GRIGGS, RACHEL
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GRIGGS, ROBBIE                       GRIGGS, ROBERT                        GRIGLEY, MIKENZIE
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GRIGLIONE, ERICA                     GRIGLIONE, JIM                        GRIGNON, MARCI
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GRIGOLETTI, RACHEL                   GRIGONIS, ABIGAIL                     GRIGOR, TALINN
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GRIGORIAN, MARGARET                  GRIGOS, CATHERINE                     GRIGSBY SR, MICHAEL
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GRIGSBY, CINDY                       GRIGSBY, KYLE                         GRIGSBY, RANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIJALVA, MILTON                     GRILEY AIR FREIGHT                    GRILLI, ELISA
ADDRESS AVAILABLE UPON REQUEST       PO BOX 92940                          ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90009




GRILLION, KELLY                      GRILLO, ANDREW                        GRILLO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRILLO, JOHN                         GRILLO, LESA                          GRILLO, SALVATORE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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                                     GRILLS, Doc
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GRIM, ANDREW                            GRIM, BRIANNA                         GRIM, ERIKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIM, JENNIFER                          GRIM, NATALIE                         GRIMA, CAITLYN
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GRIMALDI, ALI                           GRIMALDI, KARLY                       GRIMALDI, MARGARET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMALDI, MICHAELA                      GRIMALDI, PETRICE                     GRIMALDI, STELLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMALDIS PIZZA EL                      GRIMAN, AMANDA                        GRIMES, AMY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMES, BRIANNA                         GRIMES, DANA                          GRIMES, DENNIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMES, EPHRIAM                         GRIMES, EZRA                          GRIMES, JAMES
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GRIMES, JESSE                           GRIMES, KAYLA                         GRIMES, KEVIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMES, MARIAH                          GRIMES, MELISSA                       GRIMES, MONICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRIMES, NICK          Case 22-11238-LSS
                                     GRIMES,Doc 2 Filed 11/30/22
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                                                                           GRIMES,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMES, ROSE                         GRIMES, TAYLOR                        GRIMLEY, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMM, BRITTNAY                      GRIMM, CHRIS                          GRIMM, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMM, ELIZABETH                     GRIMM, EMMA                           GRIMM, JESSICA
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GRIMM, MATTHEW                       GRIMM, MICHELE                        GRIMM, NICOLE
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GRIMM, SEAN                          GRIMM, SHERRI                         GRIMMEL, JULIA
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GRIMMER, BRITTANY                    GRIMMER, CURT                         GRIMMETT, PAIGE
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GRIMMS, MICHELLE                     GRIMPEL, JUDY                         GRIMSHAW, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIMSRUD, MARISSA                    GRIMSTAD, KRISTEN                     GRIN TECHNOLOGIES, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        400 CAPITOL MALL STE 900
                                                                           SACRAMENTO, CA 95814




GRINACOFF, MAXWELL                   GRINAM, RONDENE                       GRINAR, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRINBERG, MICHELLE    Case 22-11238-LSS    Doc
                                     GRINDELE,   2 Filed 11/30/22
                                               AMANDA                   Page 1912  of 5495
                                                                             GRINDELL, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




GRINDER, KALI                          GRINDLE, AMITY                         GRINDLEY, LUCAS
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRINDR, LLC                            GRINDR, LLC                            GRINDROD, SANDRA
750 N SAN VICENTE BLVD SUITE RE 1400   PO BOX 69414                           ADDRESS AVAILABLE UPON REQUEST
WEST HOLLYWOOD, CA 90069               WEST HOLLYWOOD, CA 90069




GRINDSTAFF, DYLAN                      GRINER, AMANDA                         GRINER, EVAN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GRINFELD, ALLYSON                      GRINKE, ELLEN                          GRINKER, TERESA
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GRINNELL, JACQUELINE                   GRINNELL, PHILLIP                      GRINOLDS, TYLER
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GRINSPAN, JEFFREY                      GRINSPAN, RACHEL                       GRINSTEAD, BROOKE
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GRINSTEAD, GINA                        GRINSTEINNER, DAN                      GRINSTON, STEPHANIE
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GRINTER, ALISON                        GRIPP, CURT                            GRIPPO, ALYSON
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GRIPPO, CHRISTINA                      GRISBACK, KEN                          GRISDELA, HOLLY
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GRISDELA, PHIL        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GRISE, SARA                      Page 1913
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GRISETA, KILEY                       GRISH, COLLEEN                         GRISHAM, ABBY
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GRISHAM, BRANDI                      GRISHAM, CHRISTINA                     GRISHAM, MARGARET
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GRISHAM, NIKKI                       GRISHKOFF, KELLEN                      GRISKIE, RICHARD
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GRISNICH, SHARON                     GRISOLANO, LAURA                       GRISSEL, JOALENE
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GRISSINGER, RENAE                    GRISSOM, BRIDGET                       GRISSOM, DANIELLE
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GRISSOM, REESE                       GRISSOM, SHIRLEY                       GRISSOM, TERESA
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GRIST, ASHLYNNE                      GRISTICK, ANTHONY                      GRISWOLD, AMANDA
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GRISWOLD, BRENNA                     GRISWOLD, JOELLE                       GRISWOLD, KELSEY
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GRISWOLD, LEANNE                     GRISWOLD, MARY                         GRISWOLD, MAUREEN
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GRISWOLD, MELIA       Case 22-11238-LSS    DocSALLY
                                     GRISWOLD,  2 Filed 11/30/22      Page 1914 of 5495
                                                                           GRISWOLD, SARAH
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GRIT COLLECTIVE                      GRITTEN, DESMOND                      GRITTMANN, DEREK
7728 AGNEW AVE                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90045




GRITZMACHER, KELLI                   GRITZUK, BILL                         GRIX, CHRISTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRIXTI, COURTNEY                     GRIZZLE, CAROL                        GRNDR LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        6725 W. SUNSET BLVD STE 110
                                                                           LOS ANGELES, CA 90028




GROAT, CICI                          GROAT, GARY                           GROB, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GROB, WAYNE                          GROBAN, BEN                           GROBAN, SHANNA
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GROBATY, LAUREN                      GROBE, MADELINE                       GROBE, TYLER JACKIE
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GROBELNY, CHRISTINE                  GROBLER, ROELENE                      GROCH, GEMMA
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GROCHMAL, STEPHANIE                  GRODE, JULIE                          GRODSKY C/O FEDERAL EXPRESS,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        MICHELLE
                                                                           ADDRESS AVAILABLE UPON REQUEST




GRODY, SAM                           GROEBER, LAUREN                       GROEBNER, SAVANHA
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GROEGER, WENDY        Case 22-11238-LSS    DocASHLEY
                                     GROEGLER,  2 Filed 11/30/22      Page 1915
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                                                                                 JOHN
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GROEN, DESIREE                       GROEN, JANET                          GROENEVELD, KATHRYN
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GROETZINGER, LAURA                   GROFF, ALEXANDRA                      GROFF, BRITTANY
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GROFF, CALLI                         GROFF, DAVID                          GROFF, DEVON
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GROFF, GWEN                          GROFF, JAMES                          GROFF, JULIANNE
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GROFF, KELLY                         GROGAN, CATHERINE                     GROGAN, ELIZABETH
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GROGAN, JANET                        GROGAN, KACEY                         GROGAN, KELLY
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GROGAN, MEGHAN                       GROGAN, PAULA                         GROGAN, REBECCA
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GROGAN, SARA                         GROGAN, TIMI                          GROGG, CHRISTINE
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GROGG, KENNEDY                       GROGGER, HEIDI                        GROH, SARAH
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GROHMAN, BLAZE        Case 22-11238-LSS    Doc ALEX
                                     GROHOVSKY, 2 Filed 11/30/22      Page 1916 of 5495
                                                                           GROLEAU, JOSHUA
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GROLL, CHRISTINA                     GROLL, TERESA                         GROMADZKI, ALEXANDER
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GROMAN, SEAN                         GROMELSKI, ANNAROSE                   GROMET, MATT
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GROMIS, BRITTANY                     GROMMERSCH, DANIELLE                  GROMPONE, CHELSEA
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GRONBERG, GARRETT                    GRONDIN, CELINA                       GRONDSKI, EVAN
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GRONEMAN, VALERIE                    GRONEMEYER, ANNA                      GRONET, SARAH
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GRONEWOLD, BRITTANY                  GRONHOLZ, BEATA                       GRONNEGAARD, SUSANNE
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GRONOW, CARLY                        GRONOWSKI, SARAH                      GRONQUIST, AUGUSTA
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GROOD, MICHELLE                      GROOM, ELIZABETH                      GROOM, LORI
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GROOM, RACHEL                        GROOMS, ALISON                        GROOMS, ALISON
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GROOMS, SUZY                         GROOVER, SHARI                        GROPP, BRITTANY
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GROSBERG, GREG                       GROSCH, DARRELL                       GROSCH, KIMBERLY
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GROSE, HEATHER                       GROSE, JORDAN                         GROSECLOSE, CARRIE
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GROSENBECK, KELLY                    GROSENHEIDER, JESSICA                 GROSER, LAUREN
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GROSH, JARED                         GROSH, JENNIFER                       GROSHOLZ, DANNY
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GROSJEAN, EMILY                      GROSJEAN, KATY                        GROSKI, JODI
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GROSKOPF WAREHOUSE & LOGISTICS       GROSKOPF, CHERYL                      GROSS SAMUELSON, SARA
20580 8TH ST E                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SONOMA, CA 95476




GROSS, ABBY                          GROSS, ALAN                           GROSS, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GROSS, AMANDA                        GROSS, AMANDA                         GROSS, ANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GROSS, ANDREW         Case 22-11238-LSS
                                     GROSS, Doc 2 Filed 11/30/22
                                            ARTHUR                    Page 1918
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                                                                                  ASHLEY
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GROSS, ASHLI                         GROSS, BETH                           GROSS, BRANDON
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GROSS, BROOKE                        GROSS, CHELSEA                        GROSS, DALE
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GROSS, DENNIS                        GROSS, ELIANA                         GROSS, ERIN
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GROSS, EVAN                          GROSS, FREDDIE                        GROSS, HAILEY
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GROSS, HAILEY                        GROSS, IAN                            GROSS, JAMES
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GROSS, JANICE                        GROSS, JARED                          GROSS, JESSICA
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GROSS, JESSICA                       GROSS, JOHANNES                       GROSS, KAITLIN
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GROSS, KATELYN                       GROSS, KATHERINE                      GROSS, KATIE
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GROSS, KATIE                         GROSS, KRISTEN                        GROSS, KRISTIN
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GROSS, KYLE           Case 22-11238-LSS
                                     GROSS, Doc
                                            LAURA2   Filed 11/30/22   Page 1919
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GROSS, MADALIN                       GROSS, MARIA                          GROSS, MARLA
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GROSS, MAX                           GROSS, MEGHAN                         GROSS, MELINA
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GROSS, NICK                          GROSS, NINA                           GROSS, NV
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GROSS, PAMELA                        GROSS, ROBERT                         GROSS, SABRINA
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GROSS, SARAH                         GROSS, SARAH                          GROSS, SAVANNA
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GROSS, SHANNA                        GROSS, SONJA                          GROSS, SUSAN
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GROSS, VICTORIA                      GROSS, WILL                           GROSS/SCHMIECH, BILL AND COLLEEN
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GROSSBOHLIN, MARY                    GROSSE, CYRIL                         GROSSE, ERICA
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GROSSE, MARI                         GROSSENBACHER, MATTHEW                GROSSHANDLER, VERONICA
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GROSSHANTEN, CHRISTINACase 22-11238-LSS    Doc CODY
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                                                                                  JR,5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GROSSI, ANTHONY                      GROSSI, GABRIELLE                      GROSSI, VICTORIA
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GROSSICH, KEITH                      GROSSMAN, ANGELICA                     GROSSMAN, ERICA
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GROSSMAN, GERSHON                    GROSSMAN, HELENE                       GROSSMAN, JANE
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GROSSMAN, KELLY                      GROSSMAN, LAURA                        GROSSMAN, LAUREN
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GROSSMAN, MELISSA                    GROSSMAN, MERLE                        GROSSMAN, MICAH
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GROSSMAN, NORA                       GROSSMAN, SARA J.                      GROSSMAN, SARAH
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GROSSMAN, STUART                     GROSSMAN, TRACEY                       GROSSNICKLE, DEVIN
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GROSSO, ALLISON                      GROSSO, MICHAEL                        GROSSPIETSCH, SARAH
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GROTE, ALEXA                         GROTE, CARTER                          GROTE, KIRSTIN
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GROTE, MARY           Case 22-11238-LSS
                                     GROTH, Doc
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GROTH, SARA                             GROTH, THERESA                         GROTHE, KIRSTEN
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GROTHE, STEFANIE                        GROTHE, TAYLOR                         GROTHER, ETHAN
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GROTHJAN, NICOLE                        GROTTE, ASHLEY                         GROTTKE, KARA
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GROTTO, JOSHUA                          GROTZKY, COLLEEN                       GROUND, JOHNATHON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GROUNDS, ASHLEY                         GROUNDS, MICHAEL                       GROUNDS, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GROUNDWORK COFFEE                       GROUP, SAMANTHA                        GROUP, SLATER
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GROUPHIGH                               GROUPON, INC.                          GROUSSET, RICH
ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN: ACCOUNTS RECEIVABLE              ADDRESS AVAILABLE UPON REQUEST
                                        600 W. CHICAGO AVE, SUITE 400
                                        CHICAGO, IL 60654




GROUT, JASON                            GROVE, ANA MARIA                       GROVE, AUBREE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GROVE, BROOKE                           GROVE, CARTER                          GROVE, CINDI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GROVE, DEBORAH        Case 22-11238-LSS
                                     GROVE, Doc
                                            JASON2   Filed 11/30/22   Page 1922
                                                                           GROVE,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GROVE, LORI                          GROVE, TAYLOR                         GROVER, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GROVER, ANITA                        GROVER, BRINDA                        GROVER, HEATHER
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GROVER, KAREN                        GROVER, KATIE                         GROVER, LAKSHAY
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GROVER, MARY BETH                    GROVER, MELODY                        GROVER, NATHAN
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GROVER, WHITNEY                      GROVERMAN, PETER                      GROVES, ANGELINE
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GROVES, BRIEANNA                     GROVES, CARL                          GROVES, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GROVES, LAURIE                       GROVES, LINDSEY                       GROVES, LOUISE
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GROVES, MACKENZIE                    GROVES, MATTHEW                       GROVES, MICHELLE
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GROVES, SHAWN                        GROVES, WESLEY                        GROVES, WHITNEY
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GROW PRODUCE SHOP, INC.  Case   22-11238-LSS
                           : GROW               Doc 2 Filed 11/30/22
                                          GROW, JENNIFER                   Page 1923
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                                                                                      MELISSA
MARKET (LOS ANGELES)                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
300 S SANTA FE AVE. SUITE C
LOS ANGELES, CA 90013




GROW, STEVE                             GROWER, BONNIE                          GROWETTE, LINDSEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GROZANICK, RACHEL                       GROZIS, ELIZABETH                       GRSKOVIC, OLIVIA
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GRSKOVIC, ROSARIE                       GRUB HUB                                GRUBAUGH, KENT
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GRUBAUGH, MIA                           GRUBAUGH, SUMMER                        GRUBB, DENISE
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GRUBB, FRANCES                          GRUBB, JOHN                             GRUBB, LIZ
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GRUBB, NITA                             GRUBB, RICHARD                          GRUBB, SHEILA
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GRUBB, STEFANIE                         GRUBB, TRISHA                           GRUBBA, MICHAEL
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GRUBBS, JENNIFER                        GRUBBS, KRISTIN                         GRUBBS, MEGAN
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GRUBBS, SAIDA                           GRUBE, REBECCA                          GRUBEL, SUNDY
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GRUBER, ERIK                         GRUBER, JULIA                         GRUBER, LORI
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GRUBER, MAKAYLA                      GRUBER, MEGAN                         GRUBER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRUBER, PHIL                         GRUBER, SCOTT                         GRUBER, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRUBER, VANESSA                      GRUBER, VANESSA                       GRUBISH, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRUBISIC, AMY                        GRUCHACZ, ALLISON                     GRUDEVA, BOZHANA
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GRUDIER, BETHANY                     GRUDINSKAS, WILLIAM                   GRUEN, MADELINE
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GRUEN, MARY                          GRUENBAUM, DANIELLE                   GRUENDLER-LADNER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRUENER, LAURA                       GRUENEWALD, CARYL                     GRUENINGER, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRUENSTERN, DANIEL                   GRUESSER, BOB                         GRUETERICH, SOPHIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GRUETTER, STEVE       Case 22-11238-LSS    Doc DAVID
                                     GRUETTNER, 2 Filed 11/30/22      Page 1925 ofJOEY
                                                                           GRUGAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRUGAN, REBECCA                      GRUJA, PAULA                          GRUJIC, NATALIA
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GRULKE, SARA                         GRULKOWSKI, DARCY                     GRULLON, WENDY
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GRUMME, PAIGE                        GRUNBERG, EMMA                        GRUNBERG, JASON
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GRUND, AMY                           GRUND, NANCY                          GRUNDEN, ANNE
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GRUNDMAN, HADLEY                     GRUNDMAN, MICHAEL                     GRUNENFELDER, MIRJAM
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GRUNERT, KAREN                       GRUNERT, KRISTEN                      GRUNEWALD, ELLEN
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GRUNEWALD, KATHERINE                 GRUNEWALD, SADIE                      GRUPE, MARY PAT
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GRUSHETSKY, ANNE                     GRUSS, SHELBY                         GRUSSING, MALEAH
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GRUSSING, SOLOMON                    GRUSSMARK, LORI                       GRUSZCYNSKI, JENNA
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GRUTTADAURIA, ALEXEI  Case 22-11238-LSS    Doc 2 MICHELLE
                                     GRUTTADAURIA,   Filed 11/30/22   Page 1926 of 5495
                                                                           GRUWELL, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GRYBINAS, DAVID                      GRYCZON, ALEKS                        GRYDER, GARLYN
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GRYGELKO, BRITTANY                   GRYGIENC, KERI                        GRYKA, ROBERT
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GRYLL, DR. STEVEN                    GRYSZKA, LEE ANNE                     GRZASKO, MARTIN
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GRZECZKA, LISA                       GRZEGORZ MIROSLAW BANACH              GRZENDA, ERICA
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GRZENDA, JOELLE                      GRZENDA, LAUREN                       GRZENDA, MONICA
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GRZENIA, DANA                        GRZESIAK, RAY                         GRZYBEK, RALPH
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GRZYBOWSKI, ERNEST                   GRZYBOWSKI, RAYMOND                   GRZYBOWSKI, SARAH JEAN
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GRZYCH, SUSAN                        GRZYWACZ, COLLEEN                     GS1 US, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        DEPT 781271 PO BOX 78000
                                                                           DETROIT, MI 48278-1271




GSTALDER, ROGER                      GTALV-6098, JOSE ARDON                GU, KRISTAL
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GU, QINYI             Case 22-11238-LSS    Doc 2JAMIEFiled 11/30/22
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GUADERRAMA, ANA                      GUADIANA, WENDY                       GUAGLIANONE, VICTOR
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GUAJARDO, ANGELICA                   GUALAZZI, ANNABEL                     GUALAZZI, CHRISTINA
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GUALDRON, MARIA                      GUALTIERI, CATERINA                   GUALTIERI, SARAH
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GUAM ATTORNEY GENERAL                GUAM DEPT OF LABOR                    GUAMAN ALVAREZ, DAVID
ADMINISTRATION DIVISION              414 WEST SOLEDAD AVE                  ADDRESS AVAILABLE UPON REQUEST
590 S MARINE CORPS DR, STE 901       SUITE 400 (4TH FLOOR)
TAMUNING, GU 96913                   GCIC BUILDING
                                     HAGATNA, GU 96910



GUAN, TIANRONG                       GUAN, WIN                             GUAN, YICHAO
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GUANCHE, ALIETH                      GUANUNA, TIFFANY                      GUARAGNA, JESSICA
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GUARALDO, ELIZABETH                  GUARDADO, MARILYN                     GUARDADO, SOFIA
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GUARDIOLA MALDONADO, BRYAN           GUARIGLIA, ADRIENNE                   GUARIGLIA, ELIZABETH
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GUARINI, ELLEN                       GUARINO, BARBARA                      GUARINO, DANIELLE
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GUARINO, KATHERINE    Case 22-11238-LSS    Doc
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GUARINO, MARIE                       GUARINO, PATRICIA                      GUARINO, STACEY
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GUARINO, TIEL                        GUARISCO, SARA                         GUARNIERI, ERIN
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GUARNIERI, JANET                     GUARNIERI, MEGHAN                      GUARRASI, ALYSSA
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GUASTELLA, REBEKAH                   GUASTELLA, STEPHANIE J.                GUASTELLA, STEPHANIE
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GUASUMBA, SEBASTIAN                  GUATY, CHRIS                           GUAY, HEATHER
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GUAY, MARY                           GUAY, MIKE                             GUAY, NATALIE
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GUAY, PATRICK                        GUBB, KATE                             GUBBALA, RAMPRASAD
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GUBBELS, CYNTHIA                     GUBBELS, MACKENZIE                     GUBERNAT, KELSEY
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GUBERNATH, LAURIE                    GUBITOSI, THERESA                      GUBITZ, KATHRYN
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GUBLER, TORY          Case 22-11238-LSS
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GUCCIONE, MELISSA                    GUCHU, SHINGIRAI                      GUCKER, SARA
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GUCKIAN, ELIZABETH                   GUCKIN, SUSAN                         GUDALRWICZ, WENDY
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GUDEMAN, DANIELLE                    GUDENKAUF, CARRIE                     GUDGEL, JENNA
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GUDIKANDULA, KISHOREKUMAR            GUDIM, CHRISTY                        GUDIMETLA, VISHNU
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GUDRUN, KARIN                        GUDUR PENTA, SREEDHAR REDDY           GUDZ, KATIE
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GUDZINSKAS, REGINA                   GUE, ALEXANDRA                        GUEBARA, DIANA
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GUEDES, ANGELICA                     GUEDEZ, VERONICA                      GUEL, YAJAYRA
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GUELKER, SANDRA                      GUELORD MPAGAZIHE                     GUEMPEL, SUNI
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GUENDEL, NATALIA                     GUENETTE, SHANNON                     GUENTHER, DANNY
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GUENTHER, EVA         Case 22-11238-LSS    DocJOHN
                                     GUENTHER,  2 Filed 11/30/22      Page 1930 of 5495
                                                                           GUENTHER, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GUENTHER, LINDSEY                    GUENTHER, MADELEINE                   GUENTHER, MEGAN
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GUERIN, DOMINIC                      GUERIN, MEGHAN                        GUERIN, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GUERIN, RILEY                        GUERINI, ALAN                         GUERRA, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GUERRA, ANDREA                       GUERRA, ASHLEY                        GUERRA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GUERRA, CASEY                        GUERRA, CHELSEA                       GUERRA, CYNTHIA
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GUERRA, DIEGO                        GUERRA, GABRIELLE                     GUERRA, HILLARY
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GUERRA, JONATHAN                     GUERRA, JORDAN                        GUERRA, MARY
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GUERRA, TATIANA                      GUERRAZZI, GEMMA                      GUERRERO, ABBIE
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GUERRERO, ALMA                       GUERRERO, ANDREW                      GUERRERO, ANTONIO
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GUERRERO, AUDREY      Case 22-11238-LSS    DocBELEN
                                     GUERRERO,  2 Filed 11/30/22      Page 1931 of 5495
                                                                           GUERRERO, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GUERRERO, CRYSTAL                    GUERRERO, CYNTHIA                     GUERRERO, ERIC
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GUERRERO, FELIPE                     GUERRERO, GERMAN                      GUERRERO, HANNA
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GUERRERO, JAYMEE                     GUERRERO, JOSEPH                      GUERRERO, KATHERINE
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GUERRERO, LINDSEY                    GUERRERO, NICOLE                      GUERRERO, NICOLE
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GUERRERO, PATRICIA                   GUERRERO, RUBEN                       GUERRERO-WIEST, GEMMA
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GUERRETTE, MEAGHAN                   GUERRIER, MELISSA                     GUERRIERI, KELLY
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GUERRIN, JUDITH                      GUERRO, FRANK                         GUERTIN, MELISSA
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GUERTIN, POLINA                      GUESE, JOANNA                         GUESNON, PAIGE
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GUESS, HEATHER                       GUESS, JENNIFER                       GUESSFORD, ELISE
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GUEST BORN, NATALIE   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     GUEST, ERICA                     Page 1932
                                                                           GUEST,of 5495
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GUEST, KATHERINE                     GUEST, LEXIE                          GUEST, MADISON
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GUEST, MELANIE                       GUETTLER, ANNA                        GUETTLER, MARIELLE
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GUEVARA, ANDREA                      GUEVARA, CHRISTINA                    GUEVARA, CLAUDIA
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GUEVARA, DYLAN                       GUEVARA, IRIS                         GUEVARA, JORGE
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GUEVARA, LISETTE                     GUEVARA, MIA                          GUEVARA, RAYVON
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GUEVARA, VANESSA                     GUEVARA-RAMOS, MELINDA                GUEVAREZ, LINDSAY
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GUEVAREZ, MCKENZIE                   GUEVARRA, ELIJAH                      GUEZ, BETH
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GUFF, DREW                           GUFFEY, AMANDA                        GUFFY, SAMANTHA
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GUFTA, THOMAS                        GUGERTY, MARIA                        GUGGENBERGER, ADAM
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GUGGENHEIM, ELLEN     Case 22-11238-LSS    Doc 2 SARAH
                                     GUGGENHEIMER,   Filed 11/30/22    Page 1933  of 5495
                                                                            GUGGISBERG, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GUGLIELMI, JENNIFER                  GUGLIELMO, JULIA                       GUGLIELMO, NEIL
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GUGLIELMONI, LAURA                   GUGLIELMONI, LORELLE                   GUGLIN, SUZANNE
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GUGLIOTTA, MEGHAN                    GUGLIUZZA, ROBYN                       GUGLIUZZA, SHEILA
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GUHA-GILFORD, CIARAN                 GUHL, JORDAN                           GUHL, KATIE
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GUI, XIAOSHU                         GUIA, LUPE                             GUIAO, LAUREN
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GUIBERSON, HEATHER                   GUIBERT, SUSAN                         GUICE, ETHAN
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GUIDA, DAVID                         GUIDA, LISA                            GUIDA, NATALIE
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GUIDA, TRACY                         GUIDARA, ERIN                          GUIDARA, NICOLE
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GUIDARELLI, CHRISTOPHER              GUIDEPOINT GLOBAL, LLC                 GUIDER, REVA
ADDRESS AVAILABLE UPON REQUEST       675 AVENUE OF THE AMERICAS 2ND FLOOR   ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10010
GUIDER, SHERI         Case 22-11238-LSS    Doc
                                     GUIDERA,     2 Filed 11/30/22
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                                                                             GUIDERA, 5495
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GUIDETTI, ANDREA                     GUIDI, AMY                              GUIDI, GARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GUIDI, HOLLIE                        GUIDI, PETE                             GUIDO WENNEMER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GUIDO WOLFGANG STIEHLE               GUIDO, ELIZA                            GUIDO, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GUIDO, VICTORIA                      GUIDOBONI, LINDSAY                      GUIDOS, LINDSAY
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GUIDOS, SHELLEY                      GUIDOTTI, ANTHONY                       GUIDOTTI, CAPRI
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GUIDOUX, MARIE-CLAIRE                GUIDRY, LAURA                           GUIDRY, LAUREN
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GUIEYSSE, JEAN CHRISTOPHE            GUIFARRO, CHRIS                         GUIFARRO, RANAY
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GUILBEAU, NICOLE                     GUILBEAULT, PATRICIA                    GUILBERT, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




GUILBERT, LAUREL                     GUILD CAPITAL                           GUILD, CARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
GUILD, EVAN           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     GUILD, GABRIEL                   Page 1935   of 5495
                                                                           GUILD, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GUILER, CRYSTAL                      GUILFOIL, EMILY                       GUILFOILE, MEGHAN
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GUILIANO, ALFONSE                    GUILIANO, ANNIKA                      GUILL, EDEN
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GUILL, JULIANNA                      GUILL, MARK                           GUILLAUME, EMILY
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GUILLAUME, KIM                       GUILLEN, ARIANNA                      GUILLEN, BRENNA
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GUILLEN, GEORGINA                    GUILLEN, JIMMY                        GUILLEN, KAITLYN
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GUILLEN, KANDACE                     GUILLEN, LUCY                         GUILLEN, LYDIA
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GUILLEN, SOBEIRA                     GUILLEN, STEPHANIE                    GUILLERMO QUESADA PAEZ
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GUILLET, PAUL                        GUILLORY, ABBY                        GUILLORY, BRANDON
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GUILLORY, EMILY                      GUILLORY, KENIA                       GUILLORY, LAUREN
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GUILLORY, LINDSAY     Case 22-11238-LSS     Doc
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                                               MARIE                  Page 1936  of 5495
                                                                           GUILLORY, MYSHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




GUILLORY, SHELBY                     GUILLOTTE, JESSICA                     GUIMARAES, LUIZ
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GUIMARAY, JOSE                       GUIMOND, LUCAS                         GUIMONT, KELSEY
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GUIN, LISA                           GUINAN, LEIGHANN                       GUINEY, MEAGHAN
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GUINN, BRENDAN                       GUINN, CHERYL                          GUINN, ERICA
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GUINN, JEANNETTE                     GUINN, JO                              GUINN, MADYSON
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GUINTA, FRANCES                      GUINTA, JOSEPHINE                      GUINTHER, MADISON
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GUIO, ASHLEY                         GUION, KELLY                           GUION, STEVEN
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GUIRGUIS, PETER                      GUISE, KIMBERLY                        GUISELLE RICE
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GUISTI, JENA                         GUISTINO, COLLEEN                      GUISTOLISE, JESSICA
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GUITELMAN, ALEX       Case 22-11238-LSS
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                                            MIKAELA                   Page 1937  of DAISY
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GUITTEAU, DAN                        GUITY, KAMARIA                        GUJILDE, JOY
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GUKASOV, JESS                        GULA ISAACS, LAUREN                   GULA, LARISSA
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GULA, LAUREN                         GULARDO, NICOLE                       GULARTE, MEGAN
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GULAS, MADELEINE                     GULATI, BIDULA                        GULATI, MAYANK
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GULATI, NEHA                         GULATI, SHEILA                        GULATI, SHELLEY
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GULBRANSON, ANDREA                   GULCZYNSKI, NICHOLE                   GULDEN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GULDEN, NICHOLAS                     GULEVICH, VICTORIA                    GULGOWSKI, THERON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GULIANO, MARY                        GULICH, KAYLEE                        GULICK, ALISANDRA
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GULICK, OLIVIA                       GULICK, OLIVIA                        GULIE, LINA CECILIA
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GULINO, AMBER         Case 22-11238-LSS
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GULIUS, CECELIA                         GULLA, KAREN                          GULLAPALLI, KUNAL
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GULLEDGE, JOSH                          GULLEDGE, MICHAEL                     GULLERY, JUDITH
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GULLETTE, BAILEY                        GULLICK, HEATHER                      GULLICKSON, SARA
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GULLIKSON, CAROLYN                      GULLINO, GABI                         GULLION, GERALD
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GULLIVER, JEAN                          GULLMAN, JUSTIN                       GULLOTTI, MARISSA
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GULMATICO, JOE                          GULOSH, KIM                           GULOTTA, ANDREW
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GULOTTA, ELENA                          GULTEPE, UMUT                         GULVIN, LINDSEY
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GUM.CO                                  GUMAS, GEORGE                         GUMBEL, HILARY
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GUMBINER, ELISE                         GUMBLE, KAITIE                        GUMINA, DANIELLE
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GUMINA, JAMES         Case 22-11238-LSS    Doc
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                                                                                 STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




GUMMERE, MORGAN                      GUMMINGER, RENEE                      GUMPERT, KASIA
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GUMPF, CHELSEA                       GUMPF, SHELBY                         GUMS, JOCELYN
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GUMULUOGLU, ELIF                     GUNANAYAGAM, LAKSHMI                  GUNANAYAGAM, LAKSHMI
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GUNASENA, PRANITH                    GUNASHEKAR, SUVARNA                   GUNAWAN, JESSICA
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GUNAWAN, JONAS                       GUNCKEL, JAMES                        GUNDECHA, CHAND
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GUNDEL, BONNIE                       GUNDERMAN, ARIONNA                    GUNDERMAN, ILENA
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GUNDERMAN, RYAN                      GUNDERSON, ALICE                      GUNDERSON, ANDREA
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GUNDERSON, BREANNA                   GUNDERSON, CHELSEA                    GUNDERSON, DANA
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GUNDERSON, EMILY                     GUNDERSON, JEMMA                      GUNDERSON, LINDSAY
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GUNDERSON, LIZA       Case 22-11238-LSS    Doc MALYSSA
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                                                                           GUNDERSON, SHEYENNE
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GUNDLACH, SUZANNE                    GUNDY, DEREK                          GUNELSON, TREVOR
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GUNIA, DOROTHY                       GUNLOCK, ALAINA                       GUNN, BRIENNA
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GUNN, COURTNEY                       GUNN, CRYSTAL                         GUNN, EMANUEL
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GUNN, JANELLE                        GUNN, KRIS                            GUNN, MICHELLE
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GUNN, MIKE                           GUNN, NANCY                           GUNN, NATALIE
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GUNN, PAMELA                         GUNN, SARA                            GUNN, SHANNON
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GUNN, SUSAN                          GUNN, TAKIA                           GUNN, TRACY
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GUNNELL, SARAH                       GUNNELLO, CARRIE                      GUNNELS, CHELSEA
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GUNNIN, ASHLEY        Case 22-11238-LSS
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GUNNING, MATT                        GUNNING, MEGHAN                       GUNNIP, BRITTANY
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GUNSALUS, RACHEL                     GUNSON, ANGELA                        GUNTER, ANDREW
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GUNTER, ASHLEY                       GUNTER, CHRISTINA                     GUNTER, DENISE
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GUNTER, JAMIE                        GUNTER, KAYE                          GUNTER, LEANNE
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GUNTER, LINDSAY                      GUNTER, MADELINE                      GUNTER, MATT
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GUNTHER, JENNIFER                    GUNTHER, MICHAELA                     GUNTHORPE, ELIZABETH
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GUNVILLE, ELLIE                      GUNZEL, DAVID                         GUO, ANITA
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GUO, ANNING                          GUO, BO                               GUO, ED
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GUPTA, KIRIN                         GUPTA, NAMAN                          GUPTA, PANKAJ
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GUPTA, PRIYA                         GUPTA, RENE                           GUPTA, SNEHA
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GUPTA, SONIA                         GUPTA, VISHNU                         GUPTA, VIVEK
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GUPTA-KAGAN, JOSHUA                  GUPTE, ANU                            GUPTE, JITENDRA
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GUPTILL, CONOR                       GUPTON, KIRBY                         GUPTON, OLIVIA
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GURAL, JEANNE                        GURALNICK, ETHAN                      GURALNICK, JOANNA
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GURAU, ECATERINA                     GURBACH, DUKE                         GURCHARAN KANWAL
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GUREVICH, ALEXANDER                  GURGANIOUS, LARK                       GURGEL, BARBARA
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GURGEL, MONTE                        GURIAN, JEFFREY                        GURIN, DEBRA
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GURK, LINDSEY                        GURK, LINDSEY                          GURKA, ALEXANDRA
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GURLEY, AARON                        GURLEY, KATIE                          GURLEY, STEPHANIE
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GURLEY, WILLIAM                      GURMAN, NEELY                          GURN, SHAWN
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GURNARI, GERARD                      GURNETT, WILLIAM                       GURNEY, DIANA
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GURNEY, JEFF                         GURNEY, MORGAN                         GURNEY, SARAH
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GURO, JESS                           GUROCAK, HEATHER                       GUROS, SALLY
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GURRERA, SUSIE                       GURRIERI, MICHAEL                      GURRIERI, STEVEN
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GURUSWAMY, LAKSHMI                   GURYAN, TYLER                         GURZAU, ADRIAN
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GUSEK, AMY                           GUSEK, JODI                           GUSHA, DANIELLE
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GUSKE, ALEXANDRIA                    GUSKIN, LEAH                          GUSMAN, PATRICK
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GUSPAN, MEGAN                        GUSRANG, EMILY                        GUSS, SAVANNAH
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GUSSIN, DARLENIS                     GUSSO, LEXI                           GUST, BRIANA
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GUST, MARA                           GUSTAFSON, AMANDA                     GUSTAFSON, CHIARA
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GUSTAFSON, DEBRA                     GUSTAFSON, EMILY                      GUSTAFSON, EMILY
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GUSTAFSON, FARAH                     GUSTAFSON, HANNAH                     GUSTAFSON, HELEN
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GUSTAFSON, HELEN      Case 22-11238-LSS    Doc JULIA
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GUSTAFSON, LISA                      GUSTAFSON, MADIE                       GUSTAFSON, MEGAN
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GUSTAFSON, RACHEL                    GUSTAFSON, SHELBY                      GUSTAFSON, VIKTORIA
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GUSTE, KENDALL                       GUSTIN, HEIDI                          GUSTIN, JACQUELINE
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GUSTIN, LAUREN                       GUSTOWAROW, LAURA                      GUT, ALEKSANDRA
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GUTERDING, BRIAN                     GUTERMAN, ELIANA                       GUTERZ, JASMINE
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GUTFREUND, SOPHIA                    GUTGLASS, JORDAN                       GUTH, KATE
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GUTH, KAYLA                          GUTH, MARGARET                         GUTH, MARIANNE
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GUTH, MARY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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GUTHMILLER, JENNIFER                 GUTHRIE, CAITLIN                       GUTHRIE, CHERYL
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GUTHRIE, DAYENNE                     GUTHRIE, ELIZABETH                     GUTHRIE, EMMA
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GUTHRIE, EMMA                        GUTHRIE, GABRIELLA                     GUTHRIE, HEATHER
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GUTHRIE, JULIE                       GUTHRIE, KARISSA                       GUTHRIE, KATE
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GUTHRIE, KIMBERLY                    GUTHRIE, KRISTINA                      GUTHRIE, KYLE
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GUTHRIE, LAURA                       GUTHRIE, MEGAN                         GUTHRIE, MICHELE
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GUTHRIE, MIKAYLA                     GUTHRIE, MOLLY                         GUTHRIE, POPPE
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GUTHRIE, SHANNON                     GUTHRIE, VAN                           GUTHRO, ASHLEY
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GUTIA©RREZ, ELIZABETH                GUTIEREZ, ANGELICA                     GUTIERREZ DE PINERES, MARY
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GUTIERREZ, ALENA                      GUTIERREZ, ALEXIS                       GUTIERREZ, ALINA
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GUTIERREZ, ALISON                     GUTIERREZ, ALMA PILAR                   GUTIERREZ, ALYSSA
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GUTIERREZ, AMBER                      GUTIERREZ, ANDREA                       GUTIERREZ, ASYRIA
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GUTIERREZ, BEATRIZ                    GUTIERREZ, CARIDAD                      GUTIERREZ, CARLOS
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GUTIERREZ, CARMEN                     GUTIERREZ, CIERRA                       GUTIERREZ, CLAUDIA
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GUTIERREZ, CRYSTAL                    GUTIERREZ, CRYSTAL                      GUTIERREZ, DAISY
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GUTIERREZ, DANIEL                     GUTIERREZ, DEBORAH                      GUTIERREZ, EDWIN
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GUTIERREZ, ELLE                       GUTIERREZ, EMILY                        GUTIERREZ, ENRIQUE
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GUTIERREZ, ILIGH                     GUTIERREZ, IVANIA                     GUTIERREZ, JAVIER
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GUTIERREZ, JED & CHARM               GUTIERREZ, JEFFREY                    GUTIERREZ, JESSIE
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GUTIERREZ, JESUS                     GUTIERREZ, JOHANNA                    GUTIERREZ, JOY
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GUTIERREZ, JR., SERGIO               GUTIERREZ, JUANA LILIANA              GUTIERREZ, JULIANA
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GUTIERREZ, JULIE                     GUTIERREZ, JULIETA                    GUTIERREZ, KARINA
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GUTIERREZ, KIMBER                    GUTIERREZ, LAUREL                     GUTIERREZ, LAUREN
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GUTIERREZ, LUIS                      GUTIERREZ, MARIA                      GUTIERREZ, MARIA
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GUTIERREZ, MAXINE                    GUTIERREZ, MEREDITH                   GUTIERREZ, MICHAEL
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GUTIERREZ, MIMI                      GUTIERREZ, NATALIE                    GUTIERREZ, NATALIE
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GUTIERREZ, NICK       Case 22-11238-LSS    DocNORMA
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GUTIERREZ, RACHEL                    GUTIERREZ, RALPH                       GUTIERREZ, REBECCA
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GUTIERREZ, REYNA                     GUTIERREZ, ROSE                        GUTIERREZ, SALLY
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GUTIERREZ, SANDRA                    GUTIERREZ, SHEILA                      GUTIERREZ, SHELLY
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GUTIERREZ, SILVIA                    GUTIERREZ, SONIA                       GUTIERREZ, SONJA
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GUTIERREZ, STEPHANIE                 GUTIERREZ, SYDNEY                      GUTIERREZ, VALENTINA
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GUTIERREZ, VANESSA                   GUTIERREZ, VICKY                       GUTIERREZ, VICTOR
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GUTIERREZ, XIANA                     GUTIERREZ-LUNA, RAFAEL                 GUTKIN, ALISON
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GUTKNECHT, DESIREE                   GUTKNECHT, HEATHER                     GUTKNECHT, KERRY
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GUTKOWSKI, ALLISON                   GUTLAY, JOAHNNA                        GUTMAN, ADELE
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GUTSHALL, VENESSA                    GUTSIE, KAYCEE                         GUTSIN, ANNA
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GUTTA, KRISTEN                       GUTTER, SARAH                          GUTTERMAN, KIM
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GUTTERMAN, MARK                      GUTTERMAN, MARK                        GUTTIERREZ, ENERIA
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GUTTILLA, MICHAEL                    GUTTING, KELSEY                        GUTTING, PEGGY
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GUTWEIN, ALYSSA                      GUTWEIN, MATT                          GUTWEIN, SALLY
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GUTZWEILER, ALEXA                    GUY GREEN                              GUY STEWARD
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GUY VANTRESCA                        GUY, BETHANY                           GUY, BRITTONY
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GUY, GARRY                           GUY, JEREMY                            GUY, JULIE
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GUY, SALINA                          GUY, SUSAN                             GUY, TAMARA
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GUYNES, DARLENE                      GUYNN, EMILY                          GUYON, REBEKAH
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GUYON, SACHA                         GUYOT, DANIELLE                       GUYTON, JOSEPH
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GUYTON, NICKIE                       GUYTON, SHARON                        GUZAN, ESTHER
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GUZE, VICTORIA                       GUZEK, CAROL AND TED                  GUZENKO, VADIM
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GUZIEC, MARLA                        GUZIK, WILLIAM                        GUZMAN, ADAM
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GUZMAN, ALBERT                       GUZMAN, ALEXA                         GUZMAN, ALFRED
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GUZMAN, ALICIA                       GUZMAN, AMANDA                        GUZMAN, BRENDA
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GUZMAN, CATARINA                     GUZMAN, CHRISTINE                     GUZMAN, CHRISTINE
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GUZMAN, CLAUDIA                      GUZMAN, CRISTINA                      GUZMAN, DAISY
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GUZMAN, ELIZABETH     Case 22-11238-LSS    Doc
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GUZMAN, JAMISHA                      GUZMAN, JANEL                         GUZMAN, JANET
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GUZMAN, JEANINE                      GUZMAN, JENNA                         GUZMAN, JOSE
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GUZMAN, JOSE                         GUZMAN, MAEGAN                        GUZMAN, MARIA
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GUZMAN, MARIBEL                      GUZMAN, MAURICIO                      GUZMAN, MIREYA
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GUZMAN, OMAR                         GUZMAN, ROBERT                        GUZMAN, VILMA
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GUZMAN, VOLNEY                       GUZSVANY, SABRINA                     GUZZARDO, EMILY
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GUZZARDO, TAYLOR                     GUZZI, MALLORY                        GUZZONE, FRANCESCA
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GUZZONE, FRANK                       GWALTNEY, JESSICA                     GWALTNEY, LARRY
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GWALTNEY, STEPHANIE                  GWANDA JACKSON                        GWEN MCCONNELL
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GWEN MYERS            Case 22-11238-LSS    Doc 2 Filed 11/30/22
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GWENN CUJDIK                         GWILLIAM, KRISTA                        GWIN, AARON
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GWINN, ELIZABETH                     GWINN, JOSHUA                           GWINN, REBECCA
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GWINN, ROSA                          GWOST JEANETTE                          GWYNN, KATELYN
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GWYNN, LATOYA                        GWYNNE, KAREN                           GWYNNE, NATHANIEL
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GYAMFI, ISAAC                        GYANCHANDANI, VIPIN                     GYGI, KELSI
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GYIMESI, SYLVIA                      GYLFASON, ARNAR                         GYONGYOSI, JULIE
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GYORGY FLAMM                         GYORGY MEZO GADIA                       GYORY, ESTHER
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GYRATH, JOANNA                       GYU-KAKU                                GYULAI, ALIDA
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GYULAVARY, GENEVIEVE                 H AND M CAPITAL HOLDINGS LLC            H CALVERT, JAMES
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H RIBAS, RAPHAEL      Case 22-11238-LSS     Doc
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H, A                                    H, ALYSSA                             H, APRIL
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H, ARRINGTON                            H, BEN                                H, BLUE
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H, CHRIS                                H, FRANKIE                            H, JOHANNA
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H, LYNN                                 H, MALLORY                            H, NEE
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H, RAFAEL                               H, SUSAN                              H, VALERIE
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H, VANNESA                              H, WALTER                             H, ZUE
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H. BARTON CO-INVEST FUND LLC            H. TRAN, LAM                          H.D.D. LLC (TRUETT HURST WINERY)
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        5610 DRY CREEK ROAD
                                                                              HEALDSBURG, CA 95448




H.D.D. LLC (TRUETT HURST WINERY)        H1, J                                 HA PHAM NGOC
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HA, ANDREW                              HA, CHRISTINA                         HA, JIYOUNG
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                                     HA, MICHELLE                     Page 1955   of 5495
                                                                           HA, NICHOLAS
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HA, PERRY                            HA, T                                 HA, VICKY
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HAACK, LAUREN                        HAACK, MALLORY                        HAACK, MICHAEL
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HAACK, TANJA                         HAACKER, BRETT                        HAAG, DAMON
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HAAG, KELLEY                         HAAG, MELISSA                         HAAG, REGINA
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HAAG, STEFANIE                       HAAGE, ASHLEY                         HAAGER, MATHEW
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HAAKE, RICHARD AND CAROLYN           HAAKENSON, KATIE                      HAALAND, LEX
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HAAN, JENNIFER                       HAAN, RICHARD                         HAAPALA, KATHY
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HAAPALA, LORI                        HAAR, JONATHAN                        HAAR, MARY
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HAARMANN, ERICA                      HAARSAGER, JENNA                      HAARZ, TERESA
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HAAS SARA             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAAS, ALEXIS                     Page 1956   of 5495
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HAAS, AMEE                           HAAS, ASHLEY                          HAAS, CALLIE
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HAAS, CAROL                          HAAS, CATHERINE                       HAAS, CHRIS
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HAAS, CHRISTOPHER                    HAAS, COLLEEN                         HAAS, GEORGE
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HAAS, GERALD                         HAAS, HAILEY                          HAAS, HILARY
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HAAS, HOWARD                         HAAS, JACKIE                          HAAS, KATELYN
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HAAS, MICHELLE                       HAAS, NATALIE                         HAAS, OLIVIA
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HAAS, PEG                            HAAS, SADIE                           HAAS, SOPHIE
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HAAS, TAMARI                         HAAS, TARYN                           HAAS, TONY
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HAASE, JARED                         HAASE, KATHARINE                      HAASE, SARA
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HAASS, DAVID                         HABACH, ASH                           HABASHI, MEARA
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HABAYEB, ANDY                        HABBAL, KARMA                         HABBERSTAD, MARNIE
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HABECKER, JOURDAN                    HABEEB ASIRU-BALOGUN                  HABEEB, YVONNE
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HABEEL, DEVYONNE                     HABEL, DREW                           HABEN, RACHEL
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HABER, MARGALIT                      HABER, MEGAN                          HABER, ROBERT
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HABERMAN, ANDREW                     HABERMAN, ARIANNA                     HABERMAN, JENNIFER
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HABERMAN, KELSEY                     HABERMAN, REBECCA                     HABERSHAM, DEBORAH
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                                     HABIB U Doc 2 Filed 11/30/22
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HABIB, RIZWAN                        HABIB, THOMAS                           HABIB, THOMAS
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HABIMANA, JULIETTE                   HABLINSKI, CLAYTON                      HABOTA, KATIE
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HABOUSH, ELLEN                       HACENA, SARAH                           HACHEM, GHINWAH
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HACHEMI, SAMIR                       HACHETRESELE MARKETING                  HACHEY, DANIELLE
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HACHIGIAN, KAREN                     HACINLIOGLU, RITA                       HACK, ABBY
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HACK, ANDREW                         HACKBARTH, ELLIE                        HACKBARTH, PAUL
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HACKEBEIL, MICHELLE                  HACKELBERG, CLAIRE                      HACKELTON, NICOLE
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HACKENCAMP, MERCEDE                  HACKENMUELLER, MELISSA                  HACKER, CAROL
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HACKER, JENNA                        HACKER, MICHAEL                         HACKER, YVETTE
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HACKETT, CRISTY                      HACKETT, IVORY                        HACKETT, JEANNE
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HACKETT, KIMBERLY                    HACKETT, KRISTIN                      HACKETT, MARISSA
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HACKETT, MOLLY                       HACKETT, ROBIN                        HACKETT, STEPHANIE
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HACKETT, TRACY                       HACKFORT, JOHN                        HACKING, ANDREA
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HACKL, GABRIELLE                     HACKL, JACKIE                         HACKLER, DANA
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HACKLER, ELIZABETH                   HACKLER, JAMES                        HACKLER, JENNY
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HACKLER, STEVE                       HACKNER, MICHAEL                      HACKNEY, JEN
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HACKNEY, KEVIN                       HACKNEY, MICHELLE                     HACKNEY, SARA
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HACKNEY, SHANNON                     HACKWORTH, KINSEY                     HACMAC, TAYLOR
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HADAWAY, AMANDA                      HADDAD, ALEXANDRA                     HADDAD, ELAINE
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HADDAD, ELISA                        HADDAD, MICHAEL                       HADDAD, SARAH
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HADDAN, JILLIAN                      HADDELAND, SHELBY                     HADDEN, KYLE
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HADDER, KATELYN                      HADDICAN, BILL                        HADDIX, ALISON
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HADDIX, HALEY                        HADDIX, LINDSEY                       HADDIX, NICOLE
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HADDIX, ZACH                         HADDLE, DEANNA                        HADDOCK, CHARLEE BETH
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HADDOCK, DANA                        HADDOCK, HANNAH                       HADDOCK, LINDSAY
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HADDOCK, MARYELLEN                   HADDOCK, REGINA                       HADDON, DANIELLE
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HADDOW, ANNA                         HADDOW, JENNIFER                      HADE, TIM
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HADEED, MICHELLE      Case 22-11238-LSS
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HADFIELD, BRIDGET                    HADGE, SARAH                             HADID, HANA
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HADJIS, ELIZA                        HADLEY, AARON                            HADLEY, BRANDY
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HADLEY, BRIDGET                      HADLEY, DANA                             HADLEY, JENNIFER
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HADLEY, JIM AND ANITA                HADLEY, KEITH                            HADLEY, MEGAN
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HADLEY, RANDALL                      HADLEY, STEPHANIE                        HADPAWAT, DEEPAK
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HADREAS, OLIVIA                      HADSTEN HOUSE INN                        HADZIMA, ALYSSA
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HAECHTEN, TWILA                      HAEFNER, LEONOR                          HAEG, MADELYN
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HAEGLE, KATHLEEN                     HAEHL, OLIVIA                            HAELIG, CATIE
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HAEMMELMANN, KELLI                   HAEMMERLE, LYNETTE                       HAEN, ALLY
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HAESLY, NICOLE                       HAEUSSLER, MARGARETHA                 HAE-WON BAE
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HAFEEZ FLORES                        HAFEMANN, ANDREW                      HAFEMANN, DERRICH
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HAFENMAIR, HOLLY                     HAFER, KATHLEEN                       HAFER, KELLY
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HAFERKORN, LIZ                       HAFERS, KENDALL                       HAFERTEPE, CHELSEA
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HAFEZ, ADAM                          HAFEZIZADEH, KOUROSH                  HAFF, CASSANDRA
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HAFFERKAMP, HEATHER                  HAFFERTY, MARK                        HAFFEY, LYNN
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HAFFNER, BECCA                       HAFFNER, LAUREN                       HAFLEY, JONI
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HAFLEY, MARISA                       HAFLEY, MICHAEL                       HAFLIGER, CATHERINE
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HAFNER, DIANA                        HAFNER, THEA                          HAFNER, TRACY
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                                     HAFTEK,Doc 2 Filed 11/30/22
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HAGAN, ABBEY                         HAGAN, BRENNA                         HAGAN, JILLIAN
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HAGAN, LAUREN                        HAGAN, LINDSEY                        HAGAN, MARTA
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HAGAN, MARY                          HAGAN, NICOLE                         HAGAN, SARAH
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HAGAN, SUZANNE                       HAGANS, SIERRA                        HAGAR, JULIE
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HAGAR, JULIE                         HAGAUER, KRISTI                       HAGBERG, CARIN
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HAGE, JENN                           HAGE, KATHERINE                       HAGE, LINDSEY
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HAGEDORN, CHUCK                      HAGEDORN, EMILY                       HAGEDORN, ROGER
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HAGEE, JEREMY                        HAGELEE, DAWN                         HAGEMAN, DIANE
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HAGEN, CONNOR                        HAGEN, JANIS                          HAGEN, JESSE
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HAGEN, JOE                           HAGEN, JORDAN                         HAGEN, KAREN
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HAGEN, LAURA                         HAGEN, LIBBY                          HAGEN, MALIA
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HAGEN, MICHELLE                      HAGEN, RYAN                           HAGEN, TERINA
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HAGEN, TERRY                         HAGENBUCH, NICOLE                     HAGENES, TOY
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HAGENSON, KELLY                      HAGER, BILLIE JEAN                    HAGER, CORI
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HAGER, CURTIS                        HAGER, DELWYN                         HAGER, JESSICA
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HAGER, JULIA                         HAGER, KAYRINA                        HAGER, MACKENZIE
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HAGER, MARY                          HAGER, MOLLY                          HAGER, RHONDA
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HAGER-JOHNSON, ISABEL                HAGERMAN, BRIANNA                     HAGERMAN, MICHELE
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HAGERMAN, STEPHEN                    HAGERTY, HOLLY                        HAGERTY, KYLEE
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HAGERTY, MAURA                       HAGEWOOD, ANDREW                      HAGGAR, RIMA
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HAGGARD, AMBER                       HAGGARD, CLARISSA                     HAGGARD, GRACE
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HAGGARD, LAUREN                      HAGGART, DEBORAH                      HAGGART, THOMAS
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HAGGE, JESSICA                       HAGGENMILLER, DAMARIS                 HAGGENMUELLER, MELINDA
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HAGGERTY, ARTHUR AND KATHLEEN        HAGGERTY, CAROLINE                    HAGGERTY, JOSIE
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HAGGERTY, KATIE                      HAGGERTY, KEVIN                       HAGGERTY, LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAGGERTY, SARAH                      HAGIN, ERICA                          HAGINS, CORINNE
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HAGLER, SARAH         Case 22-11238-LSS
                                     HAGLIN, Doc 2 Filed 11/30/22
                                             HYESUK                   Page 1966 of 5495
                                                                           HAGLOCH, CODEY
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HAGLUND, BRENT                       HAGLUND, LEEANNE                      HAGMAN, CINDY
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HAGMAN, KAREN                        HAGMAN, MEGAN                         HAGNER, MELANIE
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HAGNER, MORGAN                       HAGOOD, OSHARYE                       HAGOOD, TEIA
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HAGOPIAN, JULIANA                    HAGOPIAN, MARIA                       HAGOPIAN, MARY
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HAGOUEL, SHAYA                       HAGSTROM, KJERSTIN                    HAGUE, EMMA
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HAGUE, MELISSA                       HAGUE, SARAH                          HAGY, AMANDA
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HAGY, ERIC                           HAGY, JOHN                            HAGY, MARGARET
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HAHL, ANN                            HAHM, MICHELLE                        HAHN, ALLISON
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HAHN, ALYSSA                         HAHN, ANDREA                          HAHN, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAHN, CHRISTINA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAHN, CHRISTY                    Page 1967  of 5495
                                                                           HAHN, DAWN
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HAHN, JENNIFER                       HAHN, KAREN                           HAHN, KATHY
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HAHN, KENZIE                         HAHN, KIMBERLY                        HAHN, LIAM
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HAHN, LIZ                            HAHN, MARCELA                         HAHN, MARIANNE
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HAHN, OLWEN                          HAHN, PEG                             HAHN, PEYTON
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HAHN, STEPHANIE                      HAHN, SUSAN                           HAHN, SUSAN
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HAHN, TAYLOR                         HAHN, TERRI                           HAHNE, JENNIFER
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HAHNENKRATT, LINDA                   HAHNER, CHRISTINA                     HAHNEY, DENISE
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HAHS, LORA                           HAI TRINH                             HAI, RACHEL
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HAI, ZHIYING                         HAID, LISA                            HAIDER, MICHELE
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HAIDER, MICHELLE      Case 22-11238-LSS
                                     HAIDER,Doc 2 Filed 11/30/22
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HAIDET, SUSAN                        HAIG, ANNE                            HAIG, CIERRA
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HAIG, PATRICK                        HAIGH, KATE                           HAIGH, MELISSA
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HAIGH, STEVEN                        HAIGHT, DEANNE                        HAIGHT, EMILY
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HAIGHT, LAUREN                       HAIGHT, LYNDSEY                       HAIGHT, SUZANNE
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HAIGIS, ALEXANDRA                    HAIGNEY, AK                           HAILE, BETHEL
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HAILE, KIM                           HAILE, LORRIE                         HAILE, SOLOMON
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HAILE, YOSEPH                        HAILEE DUMOND                         HAILEY RATTO
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HAILEY SHIREMAN                      HAILEY WILLIAMS                       HAILEY, MOLLY
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HAILEY, TYLER                        HAILS, MEGAN                          HAIM, JEAN
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HAINES, ARIANNA       Case 22-11238-LSS
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HAINES, GREG                         HAINES, HOLLY                         HAINES, JONATHAN
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HAINES, JULIA                        HAINES, KEVIN                         HAINES, LAUREN
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HAINES, MELINDA                      HAINES, MELISSA                       HAINES, MICHELE
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HAINES, RACHEL                       HAINES, TONYA                         HAINLEY, JIM
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HAINSWORTH, EUGENIE                  HAINSWORTH, NICOLE                    HAIR, JAYDE
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HAIRE, TAMARA                        HAIRFIELD, REBECCA                    HAIRSTON, CYNTHIA
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HAIRSTON, DOMINIKA                   HAIRSTON, JERRY C                     HAIRSTON, LORI
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HAIRSTON, LYNDEE                     HAIRSTON, NICOLE                      HAISCH, DAVID
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HAISENLEDER, NANCY                   HAISLOP, LINDSEY                      HAITHCOCK, SAMUEL
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HAIXI CHEN            Case 22-11238-LSS    Doc 2NICOLE
                                     HAJDROWSKI,     Filed 11/30/22   Page 1970  ofBARBARA
                                                                           HAJDUK,  5495
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HAJDUK, BARBARA                      HAJDUK, COLLEEN                       HAJEC, DENISE
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HAJEK, ALEENA                        HAJEK, KATHRYN                        HAJEK, MICHAEL
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HAJNOS, MORGAN                       HAKAMAA, MIKAELA                      HAKANSON, DEAN
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HAKANSON, REBECCA                    HAKE, ALI                             HAKE, AMANDA
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HAKE, AMANDA                         HAKE, EMILY                           HAKEL, LAUREN
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HAKENEWERTH, GINA                    HAKER, FRANCESCA                      HAKER, LACEY
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HAKES, SHERRI                        HAKEY, EILEEN                         HAKIM, CRYSTAL
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HAKIM, LIMOR                         HAKIM, NIKKI                          HAKIM, NOELLE
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HAKIM, STEVEN                        HAKIMI, ARMIN                         HAKINS, JANE
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HAKKI, SUMMER         Case 22-11238-LSS
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HAL MARK SCHROCK                     HAL, VICTORIA                         HALA STARR
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HALABIAN, ELNAZ                      HALAC, STEFANIA                       HALACKNA, JOSEPH
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HALAINEN, CATHLEEN                   HALAINEN, DANIEL                      HALAS, DOMINIK
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HALAS, LAUREN                        HALAT, SELINA                         HALAYKO, BRIAN
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HALBACH, MAREN                       HALBERSTADT, JASON                    HALBERSTADT, KATHLEEN
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HALBERT, ALEXA                       HALBERT, CASEY                        HALBERT, MELISSA
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HALBERT, SHARLENE                    HALBERT, SHELBY                       HALBRITTER, ASHLEY
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HALBSGUT, MICHELLE                   HALCOMB, LAUREN                       HALDEMAN, KATIE
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HALDEMAN, SARA                       HALDORSON, T                          HALE, ALYSSA
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HALE, ANGELA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HALE, BRIANA                     Page 1972   of 5495
                                                                           HALE, CAROLE
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HALE, CASEY                          HALE, CHRISTINA                       HALE, DARRELL
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HALE, ELIZABETH                      HALE, ERICA                           HALE, GERALYN
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HALE, HANNAH                         HALE, HEIDI                           HALE, HOLLY
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HALE, JACKIE                         HALE, JESSICA                         HALE, JESSICA
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HALE, JOHN                           HALE, JOHN                            HALE, JOLIE
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HALE, JOSHUA                         HALE, KAREN                           HALE, KERI
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HALE, LARRY                          HALE, MARINA                          HALE, MARY CATHERINE
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HALE, MARY                           HALE, MEREDITH                        HALE, PATRICK
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HALE, PHILIP                         HALE, QUINTON                         HALE, REBECCA
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HALE, REESE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HALE, ROSIE                      Page 1973   of 5495
                                                                           HALE, SAMANTHA
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HALE, SAMANTHA                       HALE, SARAH                           HALE, SHAWNA
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HALE, VONNIE                         HALE, WENDY                           HALE, WESLEY
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HALE, ZACHARY                        HALEN, TAYLER                         HALENKAMP, PATTY
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HALES, GISELE                        HALES, GRANT                          HALES, JACQUELINE
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HALES, KATRINA                       HALES, REBECCA                        HALEY BERSCHLER
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HALEY IVERS                          HALEY RUSSELL                         HALEY WERRA
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HALEY YAZBEK                         HALEY, ANNIE                          HALEY, BETSY
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HALEY, BRIANA                        HALEY, BRIANNA                        HALEY, BRITTA
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HALEY, DAVID                         HALEY, DOUG                           HALEY, EBONY
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HALEY, EMILY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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HALEY, JESSICA                       HALEY, JIM                            HALEY, KATHIE
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HALEY, KERRY                         HALEY, KIM                            HALEY, LAURA
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HALEY, LAUREN                        HALEY, LIZ                            HALEY, MEG
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HALEY, MICHAEL                       HALEY, ROBERT                         HALEY, SCHANDRA
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HALEY, SHANE                         HALEY, SONDRA                         HALEY, STACEY
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HALEY, SUSAN                         HALEY, TONI                           HALFACRE, JOHN
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HALFF, ANN                           HALFMANN, CAROLINE                    HALFMANN, JULIE
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HALFMANN, PAMELA                     HALFORD, ERIN                         HALGAS, ABIGAIL
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HALIK, SOPHIA                        HALILEJ, JOSIANE                      HALIM, MAAT
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HALKIDIS, AMBER STARR Case 22-11238-LSS     Doc
                                     HALKITIS,    2 Filed 11/30/22
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HALKON, LUCY                         HALL H WANG                           HALL WINES
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                                                                           SAINT HELENA, CA 94574




HALL, ABBY                           HALL, ADRIAN                          HALL, ALANA
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HALL, ALEX                           HALL, ALEX                            HALL, ALYSSA
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HALL, AMANDA                         HALL, AMANDA                          HALL, AMELIA
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HALL, AMY                            HALL, ANDREA                          HALL, ANGELINE
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HALL, ANJELICA                       HALL, ANNETTE                         HALL, ARIANA
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HALL, ASHLE                          HALL, AUDREY                          HALL, AVEARY
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HALL, BRANDY                         HALL, BRENDAN                         HALL, BRETT
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HALL, BRIANA                         HALL, BRIANNA                         HALL, BRITTANY
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HALL, CAITLIN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HALL, CANDY                      Page 1976   of 5495
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HALL, CARRIE                         HALL, CASSANDRA                       HALL, CASSIE
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HALL, CATHERINE                      HALL, CATHERINE                       HALL, CELESTE
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HALL, CHANITA                        HALL, CHARLES                         HALL, CHERYL
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HALL, CHRISTIAN                      HALL, CHRISTINE                       HALL, CHRISTOPHER
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HALL, CLAIRE                         HALL, CLAUDIA                         HALL, CLAYTON
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HALL, CLINT                          HALL, CODY                            HALL, COLLEEN
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HALL, DENISE                         HALL, DIANA                           HALL, DIANE
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HALL, ELIZABETH                      HALL, ELIZABETH                       HALL, ELLIE
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HALL, EMILY                          HALL, ERIC                            HALL, ERIKA
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HALL, ERIN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HALL, ERIN                       Page 1977   of 5495
                                                                           HALL, EVA
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HALL, EVAN                           HALL, FRANCES                         HALL, GARRETT
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HALL, GAVIN                          HALL, GAYLE                           HALL, GIAVONNA
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HALL, GLADYS                         HALL, GRACE                           HALL, GRAY
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HALL, GREGORY                        HALL, HALEY                           HALL, HANNAH
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HALL, HARVEY                         HALL, HEATHER                         HALL, HEATHER
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HALL, HEATHER                        HALL, HEIDI                           HALL, HOLLY
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HALL, HUNTER                         HALL, ISHMEL                          HALL, JACQY
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HALL, JAMES                          HALL, JAMIE                           HALL, JAN
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HALL, JENNIFER                       HALL, JERICA                          HALL, JESSICA
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HALL, JIM             Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HALL, JOHN                       Page 1978   of 5495
                                                                           HALL, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HALL, JORDAN                         HALL, JUDITH                          HALL, JULIANN
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HALL, JUSTIN                         HALL, KAITLYN                         HALL, KAREN
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HALL, KAREN                          HALL, KATHERINE                       HALL, KATHLEEN
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HALL, KATIE                          HALL, KATRINA                         HALL, KAYLA
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HALL, KAYLEY                         HALL, KECIA                           HALL, KELLI
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HALL, KELSEY                         HALL, KENDRICK                        HALL, KENNETH
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HALL, KIMBERLY                       HALL, KIMBERLY                        HALL, KRISTA
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HALL, KRISTIE                        HALL, KRISTIN                         HALL, LAMEE
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HALL, LAURA                          HALL, LAUREN                          HALL, LAUREN
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HALL, LAUREN          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HALL, LAURIE                     Page 1979   of 5495
                                                                           HALL, LEOLA
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HALL, LESLIE                         HALL, LINDA                           HALL, LINDSEY
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HALL, LISA                           HALL, LORILYN                         HALL, LUKAS
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HALL, MALON                          HALL, MARC                            HALL, MARK
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HALL, MARTA                          HALL, MARY                            HALL, MARY
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HALL, MARYROSE                       HALL, MATTIE                          HALL, MCKENZIE
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HALL, MEEGAN                         HALL, MEKAYLA                         HALL, MELANIE
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HALL, MELINDA                        HALL, MELISSA                         HALL, MELISSA
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HALL, MESHAR                         HALL, MICHAEL                         HALL, MICHAEL
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HALL, MICHAEL                        HALL, MIKE                            HALL, MORGAN
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HALL, NANCY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HALL, NANCY                      Page 1980   of 5495
                                                                           HALL, NASTAJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HALL, NATHAN                         HALL, NATHAN                          HALL, NATHANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HALL, NICOLE                         HALL, NICOLE                          HALL, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HALL, PAIGE                          HALL, PAMELA                          HALL, PATRICIA & STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HALL, PHILIP                         HALL, PHYLLIS                         HALL, RACHEL
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HALL, RAHSAAN                        HALL, RANOTA                          HALL, REBECCA
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HALL, REBECCA                        HALL, REBECCA                         HALL, REGAN
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HALL, ROBERT                         HALL, ROBYN FOX                       HALL, RODNEY
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HALL, RON                            HALL, ROSE                            HALL, RUSTY
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HALL, RYAN                           HALL, SAGE                            HALL, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HALL, SAMANTHA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HALL, SAMANTHA                   Page 1981   of 5495
                                                                           HALL, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HALL, SARAH                          HALL, SARAH                           HALL, SARAH
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HALL, SARAH                          HALL, SAVANNAH                        HALL, SAVANNAH
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HALL, SHANE                          HALL, SHEREE                          HALL, SIERRA
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HALL, SONIA                          HALL, SPENCER                         HALL, STEFANIE
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HALL, STEPHANIE                      HALL, STEPHANIE                       HALL, SUSAN
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HALL, T.L.                           HALL, TAKERRA                         HALL, TARYN
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HALL, TERRY                          HALL, TONYA                           HALL, TRACEY
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HALL, TRACY                          HALL, TYLER                           HALL, VADA
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HALL, VERONICA                       HALL, VICTORIA                        HALL, WENDY
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HALL, WILLIAM         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HALL, YANEYA                     Page 1982  of 5495
                                                                           HALLABRIN, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HALLACHER, KYANA                     HALLACK, DANIELLE                     HALLADA, CRAIG
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HALLAHAN, KENNETH                    HALLAHAN, SUSAN                       HALLAM, EMILY
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HALLAM, KEVIN                        HALLAM, SHANE                         HALLAMORE, PAMELA
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HALLARAN, NICOLE                     HALLBERG, HALEY                       HALLBERG, STEPHANIE
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HALLBERG, STEPHANIE                  HALLECK, MICHAEL                      HALLEN, KATHARINA
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HALLEN, LISA                         HALLENBECK, BRENDA                    HALLENRUD, JOSEFINE
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HALLER, ASHLEIGH                     HALLER, ASHLEIGH                      HALLER, BLAKE
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HALLER, FELIX                        HALLER, JULIA                         HALLER, LINDSAY
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HALLER, SARAH                        HALLER, SHARLYN                       HALLETT II, ERICK
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HALLEY, ALEXANDRA     Case 22-11238-LSS
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HALLIBURTON, BRITTANEY               HALLIDAY, ALEXANDRA                   HALLIDAY, AMY
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HALLIDAY, CHRISTINE                  HALLIGAN, ASHLEY                      HALLIGAN, TIMOTHY
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HALLINAN, COLLEEN                    HALLINAN, MICHELE                     HALLING, ERIN
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HALLING, KIRA                        HALLINGSTAD, JENNIFER                 HALLMAN, BERNADETTE
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HALLMAN, BLAKE                       HALLMAN, CHRISTI                      HALLMAN, DREW
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HALLMAN, JESSICA                     HALLMAN, RAMSEY                       HALLMAN, ROBERTA
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HALLMARK, GARRETT                    HALLMEYER, LUCAS                      HALLMON, RAY
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HALLO, GAYLE                         HALLO, MEGAN                          HALLOCK, CAROLYN
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HALLOCK, KIM                         HALLORAN, ERIN                        HALLORAN, KAYLA
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HALLORAN, KEVIN       Case 22-11238-LSS    Doc
                                     HALLORAN,   2 Filed 11/30/22
                                               KIM                    Page 1984  of 5495
                                                                           HALLORAN, LAURA
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HALLORAN, LIAM                       HALLORAN, LISA                        HALLORAN, LORI
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HALLORAN, NATALIE                    HALLOWOOD, GARY                       HALLQUIST, NISSA
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HALLS, ANDREW                        HALLS, JEN                            HALLUM, ADRIONNA
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HALLUM, ANA                          HALLUM, DANIEL                        HALLY, EBONY
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HALLY, TORRIE                        HALM, NICOLE                          HALMY, CHELSEA
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HALOULOS, CHRISTINA                  HALOW, HANNAH                         HALPERIN, SHANNA
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HALPERN, ANGELA                      HALPERN, EMILY                        HALPERN, LESLIE
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HALPERN, PATRICIA                    HALPIN, ALEX                          HALPIN, ALISHA
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HALPIN, ASHLEY                       HALPIN, DAWN                          HALPIN, JENN
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HALPIN, MARY          Case 22-11238-LSS
                                     HALPIN, Doc
                                             ROSE 2  Filed 11/30/22   Page 1985   of 5495
                                                                           HALS, COURTNEY
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HALSCH, DEBRA                        HALSER, MIRANDA                       HALSETH, SUSAN
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HALSEY, ASHLEY                       HALSEY, BRIAN                         HALSEY, JULIE
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HALSEY, KARA                         HALSTEAD, BENJAMIN                    HALSTEAD, CHRISTINA
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HALSTEAD, MORGAN                     HALSTED, CAMERON                      HALSTED, DRUE
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HALT, TARA                           HALTAM, CHELSEA                       HALTENHOF, ASHLEY
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HALTER, CLAIRE                       HALTER, GARY                          HALTER, KAREN
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HALTER, LISA                         HALTER, LISA                          HALTOM, BRANDI
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HALTON PARDEE AND PARTNERS INC.      HALULKO, SARAH                        HALUSKA, AIMEE
12410 W WASHINGTON BLVD              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90066




HALVA, TAYLOR                        HALVERSON, ADELAIDE                   HALVERSON, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HALVERSON, ERIC       Case 22-11238-LSS    DocGALEN
                                     HALVERSON, 2 Filed 11/30/22      Page 1986  of 5495
                                                                           HALVERSON, JANINE
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HALVERSON, MORGAN                    HALVERSON, VERONICA                    HALVEY, GRACE
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HALVORSEN, AMANDA                    HALVORSEN, ASHLEY                      HALVORSEN, GENEVIEVE
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HALVORSEN, JEANNIE                   HALVORSEN, MICHELLE                    HALVORSON TAYLOR, JULIET
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HALVORSON, KATE                      HALVORSON, SARA                        HALYCKYJ, MICHELLE
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HAM, CARIN                           HAM, ERICA                             HAM, HYUNA
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HAM, KAROLINE                        HAM, MEGAN                             HAM, REBECCA
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HAM, SANDRA                          HAM, TRAVIS                            HAMAD, ALLISON
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HAMAD, STEPHANIE                     HAMADA, SERENA                         HAMADA, YOSHIHITO
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HAMADYK, CHERYL                      HAMAKER, CHRISTINE                     HAMAKER, KAYLA
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HAMAL, PUKAR          Case 22-11238-LSS    Doc JEFF
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                                                                           HAMALAINEN, SUSAN
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HAMAMOTO, VALERIE                    HAMANAKA, TRACI                        HAMANN, CATHLEEN
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HAMANN, CHARLY                       HAMANN, ELI                            HAMANN, JEANNETTE
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HAMAR, JAMES                         HAMARICH, ANGELA                       HAMB, KRISTIN
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HAMBERG, ANDREA                      HAMBLEN, KENZIE                        HAMBLIN, LISA
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HAMBLIN, MICHAEL                     HAMBLY, ALEC                           HAMBRE, LISA
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HAMBRICK, ABIGAIL                    HAMBRIGHT, HAILEY                      HAMBRIGHT, SHERRY
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HAMBURGER, CALAIHA                   HAMBURGER, MARJORIE                    HAMBY, BRIANNA
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HAMBY, CAROLINE                      HAMBY, CHRISTA                         HAMBY, JENNIFER
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HAMDAN, JULIANNA                     HAMDAN, SAM                            HAMEISTER, CHRIS
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HAMEL, DINA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAMEL, KAYLA                         HAMEL, MARSHA                         HAMEL, MATT
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HAMEL, RACHEL                        HAMEL, TREVOR                         HAMELE, ABIGAIL
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HAM-ELLIS, MELISSA                   HAMEN, JENNIFER                       HAMER, ANNA
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HAMER, JOANN                         HAMER, STEPHANIE                      HAMES, ANYE
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HAMES, WENDIE                        HAMID BOUGHAZI                        HAMID, AMAANI
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HAMID, SUSAN                         HAMID, TRISTAN                        HAMIL, DEANA
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HAMILL, BRIDGIT                      HAMILL, KEVIN                         HAMILL, KIMBERLY
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HAMILL, KURTIS                       HAMILLA, CAITLIN                      HAMILTON, AJ
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HAMILTON, ALISON                     HAMILTON, ALLISON                     HAMILTON, ALYSSA
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HAMILTON, AMY         Case 22-11238-LSS    Doc
                                     HAMILTON,   2 Filed 11/30/22
                                               ANN                    Page 1989  of 5495
                                                                           HAMILTON, BENNETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HAMILTON, BRADLEY                    HAMILTON, BRADLEY                      HAMILTON, BRANDON
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HAMILTON, BROOK                      HAMILTON, CACHE                        HAMILTON, CARLY
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HAMILTON, CASSANDRA                  HAMILTON, CATHERINE                    HAMILTON, CHRIS
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HAMILTON, CIERRA                     HAMILTON, DANA                         HAMILTON, DANIELLE
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HAMILTON, DARCY                      HAMILTON, DARREN                       HAMILTON, DAWN
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HAMILTON, EDRICE                     HAMILTON, ELIZABETH                    HAMILTON, EMILY
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HAMILTON, EMILY                      HAMILTON, FRANCIS                      HAMILTON, HALEY
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HAMILTON, HEATHER                    HAMILTON, HEATHER                      HAMILTON, JACOB
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HAMILTON, JEANNINE                   HAMILTON, JENNIFER                     HAMILTON, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HAMILTON, JESSICA     Case 22-11238-LSS    Doc
                                     HAMILTON,   2 Filed 11/30/22
                                               JESSICA                Page 1990  of 5495
                                                                           HAMILTON, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HAMILTON, JOYCE                      HAMILTON, KAITLYN                      HAMILTON, KARIE
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HAMILTON, KATHARINE                  HAMILTON, KATY                         HAMILTON, KELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HAMILTON, KELLY                      HAMILTON, LAURA                        HAMILTON, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HAMILTON, LESLIE                     HAMILTON, LEVI                         HAMILTON, LILLY
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HAMILTON, LILY                       HAMILTON, LINDSAY                      HAMILTON, LIZ
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HAMILTON, MANDI                      HAMILTON, MARC                         HAMILTON, MARIJEN
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HAMILTON, MARISSA                    HAMILTON, MARY                         HAMILTON, MICHELLE
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HAMILTON, MIRA                       HAMILTON, MOLLIE                       HAMILTON, NATALIE
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HAMILTON, NICOLE                     HAMILTON, PAUL                         HAMILTON, PHILLIP
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HAMILTON, POPS        Case 22-11238-LSS    Doc
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                                                                           HAMILTON, REANNA
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HAMILTON, REBECCA                    HAMILTON, ROBIN                       HAMILTON, ROCHONDA
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HAMILTON, RYAN                       HAMILTON, SARAH                       HAMILTON, SHARON
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HAMILTON, SHAWN                      HAMILTON, STACEY                      HAMILTON, STACI
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HAMILTON, STEPHANIE                  HAMILTON, STEPHEN                     HAMILTON, STEVE
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HAMILTON, TALANA                     HAMILTON, TAYLOR                      HAMILTON, THERESA
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HAMILTON, TIERRA                     HAMILTON, TIM                         HAMILTON, TOM
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HAMILTON, TRUDY                      HAMILTON, TYLER                       HAMILTON, TYRONE
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HAMILTON, WENDY                      HAMILTON, WESLEY                      HAMILTON, WOODY
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HAMLET, BARBARA                      HAMLET, RON                           HAMLETT, ARIANA
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HAMLETT, ELAYNE       Case 22-11238-LSS    Doc
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HAMLIN, ALYSSA                       HAMLIN, DAVID                         HAMLIN, JAMES
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HAMLIN, KEN                          HAMLIN, ZACH                          HAMLING, JULIE
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HAMLINGTON, BARBARA                  HAMLINS CUSTOM BEVERAGES, INC.        HAMM CONARD, REBECCA
ADDRESS AVAILABLE UPON REQUEST       2631 S LA CIENEGA BLVD                ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90034




HAMM, AMANDA                         HAMM, AMY                             HAMM, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAMM, ASHLEY                         HAMM, CHARLENE                        HAMM, DESIREE
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HAMM, JESSICA                        HAMM, KAREN                           HAMM, KELLY
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HAMM, KELSEY                         HAMM, KIMBERLY                        HAMM, MARTHA
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HAMM, NATALIE                        HAMM, ROBERT                          HAMM, TAYLOR
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HAMMAC, ANDREW                       HAMMACK, BETH                         HAMMACK, ELLIE
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HAMMACK, JILL         Case 22-11238-LSS    DocANGELA
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                                                                           HAMMAKER, KATHANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAMMAM, MELISSA                      HAMMAN, SUSAN                         HAMMAR, JAMES
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HAMMARLUND, DEBBIE                   HAMMARSTROM, B DAVID                  HAMMEL, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAMMEL, KATRINA                      HAMMELL, CAITLIN                      HAMMELL, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAMMER, CAITLIN                      HAMMER, DEBBIE                        HAMMER, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAMMER, JOSH                         HAMMER, KATHERINE                     HAMMER, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAMMER, LANDON                       HAMMER, LASHICONNAH                   HAMMER, PEG
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HAMMER, TAYLOR                       HAMMER, TIERNEY                       HAMMERAN, BROOKELYNN
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HAMMERS, CORIE                       HAMMERS, TATE                         HAMMERSCHLAG, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAMMERSCHMIDT, ZACH                  HAMMERSMITH, MOLLY                    HAMMERSTEIN, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAMMERSTROM, PAUL     Case 22-11238-LSS    Doc
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                                                                           HAMMETT, RENEE
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HAMMETT, VALARIE                     HAMMILL, JILL                         HAMMILL, KATHRYN
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HAMMILL, WILLIAM                     HAMMITT, DEANNA                       HAMMOCK, BRITTNEY
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HAMMOCK, DANA                        HAMMOCK, MICHELLE                     HAMMOMD, JENNIFER
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HAMMON, MILTON                       HAMMON, SABRINA                       HAMMOND, AMY
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HAMMOND, BONNIE                      HAMMOND, BRUCE                        HAMMOND, CATHERINE
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HAMMOND, CATHERINE                   HAMMOND, CHARLOTTE                    HAMMOND, CHRIS
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HAMMOND, CHRISTINA                   HAMMOND, COURTNEY                     HAMMOND, ERIKA
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HAMMOND, INDIA                       HAMMOND, JAQUETTA                     HAMMOND, KAYLIN
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HAMMOND, KELLY                       HAMMOND, KERRY                        HAMMOND, MAKENZIE
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                                                                                HAMMOND, MEGHAN
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




HAMMOND, MIKE                           HAMMOND, NIPAPORN                       HAMMOND, OLIVIA
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HAMMOND, RICHARD                        HAMMOND, ROGER                          HAMMOND, RUBY
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HAMMOND, SHYREETA                       HAMMOND, WINDY                          HAMMOND-CHAMBERS, MADELINE
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HAMMONDS, JASMINE                       HAMMONDS, MARY                          HAMMONDS, SHAYNE
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HAMMONS, DENVER                         HAMON OVERHEAD DOOR                     HAMOUCHE, NADINA
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HAMOULY, MONA                           HAMP, ASHLEY                            HAMPEL, CRYSTAL
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HAMPER, LAURA                           HAMPSON, EMILY                          HAMPSON, EMILY
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HAMPTON, AUSTIN                         HAMPTON, BRITTANY                       HAMPTON, BROOKE
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                                     HAMPTON,   2 Filed 11/30/22
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HAMPTON, ERIN                        HAMPTON, GREGORY                      HAMPTON, HOLLY
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HAMPTON, JESSI                       HAMPTON, JODIE                        HAMPTON, JUSTIN
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HAMPTON, KATIE                       HAMPTON, KIMBERLY                     HAMPTON, LELE
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HAMPTON, MARK                        HAMPTON, MELISSA                      HAMPTON, SCOTT
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HAMPTON, SHAWN                       HAMPTON, SONIA                        HAMPTON, WHITNEY
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HAMREN, MIKAELA                      HAMRICK SOLUTIONS LLC                 HAMRICK, AMANDA
ADDRESS AVAILABLE UPON REQUEST       713 KINGSWOOD VALLEY DR               ADDRESS AVAILABLE UPON REQUEST
                                     MOORE, SC 29369




HAMRICK, CATHERINE                   HAMRICK, JUSTINE                      HAMRICK, KATELYN
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HAMRICK, LISA                        HAMRICK, MEGGIE & JOSHUA              HAMROCK, JESSIE
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HAMSON, DANIEL                       HAMVAY, MARISA                        HAMWI, KRIS
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HAMZY, TAYLOR         Case 22-11238-LSS    Doc 2 Filed 11/30/22
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HAN, DI                              HAN, EUNMI                            HAN, HEESEUNG
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HAN, JAESU                           HAN, JENNIFER                         HAN, JI HYE
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HAN, JONG                            HAN, JOY                              HAN, KAILEE
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HAN, KATIE                           HAN, MELODIE                          HAN, MICHELLE
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HAN, ROBERT                          HAN, SHARON                           HAN, SON
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HAN, STELLA                          HAN, VIET                             HAN, YANSHAN
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HAN, YEBIN                           HAN, YEJIN                            HANA A AVIV
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HANAFI, HESHAM                       HANAHOE, KERRY                        HANAN, PAUL
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HANANIA, ABIGAIL                     HANBERRY, HOLLY                       HANBURY, ASHLEY
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HANCE, DEVIN                         HANCE, JOHN                           HANCE, SHELLY
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HANCIN, ELIZABETH                    HANCK, ROB                            HANCOCK, ALYSON
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HANCOCK, ATHANASIA                   HANCOCK, BETSY                        HANCOCK, CARLA
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HANCOCK, CATIE                       HANCOCK, CHARLES                      HANCOCK, CHRISTINE
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HANCOCK, CODY                        HANCOCK, DIANE                        HANCOCK, HART
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HANCOCK, JULIE                       HANCOCK, KAYLEIGH                     HANCOCK, KIRSTEN
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HANCOCK, MADISON                     HANCOCK, MADISON                      HANCOCK, MONTIEL
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HANCOCK, SAMANTHA                    HANCOCK, SAQUETTA                     HANCOCK, SETH
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HANCOCK, SUZANNE                     HANCOX, CAITLIN                       HAND, AMANDA
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HAND, JACQELYN                       HAND, JAMES                           HAND, KELSEY
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HAND, NICOLE                         HAND, PAULA                           HAND, REBECCA
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HAND, SCOTT                          HAND, SUSANA                          HANDAKAS, KERRIE
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HANDALL, EVELYN                      HANDEL, JULIA                         HANDELMAN, EMILY
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HANDELMAN, WILLIAM                   HANDELONG, TAWNY                      HANDLER, BRITTANY
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HANDLER, RITA                        HANDLEY, BETH                         HANDLEY, SUE
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HANDLOS, WILLIAM                     HANDMADE DESIGN & BUILD               HANDRAHAN, GLENN
ADDRESS AVAILABLE UPON REQUEST       5823 BUCHANAN ST                      ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90042




HANDRINOS, SHERRIE                   HANDS RILES, MARIA                    HANDS, BRENDA
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HANDS, EMILY                         HANDS, JESSICA                        HANDSMAN, EMILY
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152 KNOLLYS ROAD                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONDON SW16 2JU
UNITED KINGDOM




HANDY, RUBY                          HANE, SHANNON                         HANE, VIVIENNE
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HANEBRINK, WANDA                     HANEGRAAFF, PAUL                      HANEL, THERESA
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HANEL, TRACIE                        HANENBERG, BROOKE                     HANER, CHAU
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HANER, DEBBIE                        HANERHOFF, KELLY                      HANES, CHRISTOPHER
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HANES, GREER                         HANES, KARENA                         HANES, LORI
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HANES, MATT                          HANET, LAURA                          HANEY, DEE DEE & RYAN
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HANEY, GRETCHEN                      HANEY, LAWREN                         HANEY, MICHELLE
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HANEY, MIKE                          HANEY, ROBERT                         HANEY-COLGLAZIER, LAURI
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HANFORD, ALEXIS                      HANFORD, ASHLEY                       HANFT, JENNIFER
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HANGE, SAMANTHA                      HANGELAND, JESSICA                    HANGLITER, SCOTT
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HANHAM, AMANDA                       HANHART, VANESSA                      HANI GOBRAN
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HANIAH, LANEEN                       HANIFEE, JACK                         HANING, AUSTIN
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HANISH, MELISSA                      HANK, BRITTANY                        HANKAMER, KIMBERLY
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HANKE, DAWN                          HANKE, GABRIELLE                      HANKEE, JILL
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HANKER, KELLY                        HANKER, STEPHANIE                     HANKERSON, LATECIA
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HANKERSON-DYSON, DANA                HANKEY, ISABELLA                      HANKEY, JAMES
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HANKINS, ALEX                        HANKINS, CHANNING                     HANKINS, CHERYL
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HANKINS, HOLLY                       HANKINS, KRISTEN                      HANKINS, LAURA
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HANKLE, MICHAEL       Case 22-11238-LSS
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HANKS PIZZA OF LA                       HANKS, HAZEL                          HANKS, LAWRENCE
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HANKS, ROSE                             HANKS, TANYA                          HANLEY, ALLISON
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HANLEY, AMBER                           HANLEY, ANGELICA                      HANLEY, CATHERINE
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HANLEY, CATHERINE                       HANLEY, DAN                           HANLEY, EMILY
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HANLEY, EMMA                            HANLEY, ERIN                          HANLEY, LIAM
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HANLEY, MADELINE                        HANLEY, MATTHEW                       HANLEY, RYANN
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HANLEY, VICTORIA                        HANLON, ELIZABETH                     HANLON, EMILY
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HANLON, ERIN                            HANLON, JESSICA                       HANLON, KELSEY
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HANLON, KYLE                            HANLON, KYRA                          HANLON, SHARON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HANLY, COLLEEN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HANN, SARAH                      Page 2003
                                                                           HANNA of 5495
                                                                                 INSTRUMENTS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




HANNA R BUCHAN                       HANNA VANDERLOOP                      HANNA, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HANNA, ARIAL                         HANNA, CAROLYN                        HANNA, CARRIE
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HANNA, JAKE                          HANNA, JOY                            HANNA, JOYIA
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HANNA, KATHERINE                     HANNA, KELLY                          HANNA, LAUREN
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HANNA, LORI                          HANNA, MARK                           HANNA, MARY
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HANNA, MAXIMUS SKATES INC.           HANNA, MEGAN                          HANNA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HANNA, SALWA                         HANNA, SARAH                          HANNA, ZANNE
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HANNAFEY, KATHLEEN                   HANNAFIN, KATIE                       HANNAH COPELAN
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HANNAH DOLAB                         HANNAH E HUNTER                       HANNAH ESCHBERGER
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HANNAH FERRIER           Case 22-11238-LSS
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                                                                              HANNAH  5495 WILLIAMS
C/O A3 ARTISTS AGENCY                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
750 N. SAN VICENTE BLVD EAST TOWER
SUITE 1100
LOS ANGELES, CA 90069



HANNAH NARDI                           HANNAH NELSON                          HANNAH R AVISON
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HANNAH SIMMONDS                        HANNAH STROUD                          HANNAH THIESEN
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HANNAH, DANIELLE                       HANNAH, DAWN                           HANNAH, ELDREONNA
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HANNAH, JAMES                          HANNAH, KAT                            HANNAH, KATHLEEN
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HANNAH, LAURA                          HANNAH, PHIL                           HANNAH, RENELL
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HANNAH, SARA                           HANNAH, SOLES,                         HANNAN, CAILIN
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HANNAN, CAITLIN                        HANNAN, EILEEN                         HANNAN, JORDAN
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HANNAN, KATE                           HANNAN, KATY                           HANNAN, LAUREN
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HANNAN, MARK                           HANNAN, MAUREEN                        HANNAN, REGINA
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HANNAN, TRISTA        Case 22-11238-LSS    DocCRAIG
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HANNEL, KAREN                        HANNER, JOANNE                        HANNER, KRYSTAL
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HANNER, KRYSTAL                      HANNESSON, REBECCA                    HANNEY, GREG
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HANNIFAN, KELLY                      HANNIGAN, CLAIRE                      HANNIGAN, DAVE
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HANNIGAN, SARAH                      HANNING, BRIDGET                      HANNIVAN, KATELYN
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HANNON, ALICIA                       HANNON, ASHLEY                        HANNON, CAROLINE
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HANNON, CAROLINE                     HANNON, KAREN                         HANNON, KEVIN
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HANNON, KRISTINA                     HANNON, LISA                          HANNON, MELISSA
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HANNON, PATRICE                      HANNON, STEPHEN                       HANNOY, LINDSEY
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HANNSBERRY, KAREN                    HANNULA, PATTI                        HANNUM, MINDY
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HANNUM, WENDOLYN      Case 22-11238-LSS    Doc 2STEPHANIE
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HANOLD, ROBERT                       HANOUM, SHELLY                        HANOVER, THOMAS
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HANOYAN, ZACHARY                     HANRAHAN, ALEXANDRA                   HANRAHAN, CAITLYN
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HANRAHAN, EMILY                      HANRAHAN, HAILEY                      HANRAHAN, LAURA
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HANRAHAN, MEGHAN                     HANRAHAN, STEPHANIE                   HANRAHAN, TESLA
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HANRATTY, CAITLIN                    HANS PETER STADELMANN                 HANS WINBERG
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HANS, ANDREA                         HANS, CHANNIE                         HANS, EMMA
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HANS, SAVERIO                        HANS, SEAN                            HANS, YADIRA
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HANSBERGER, LISA                     HANSBURY, ELIZABETH                   HANSCAM, DAVID
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HANSCOM, ANDREA                      HANSCOM, TERRY                        HANSEL, DAVIDA
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                                                                                    5495 KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HANSEN, AMY                          HANSEN, ANA                            HANSEN, ANIKA
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HANSEN, ART                          HANSEN, ASHLEY                         HANSEN, BETHLAYNE
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HANSEN, BRYAN                        HANSEN, CALLIE                         HANSEN, CATHY
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HANSEN, CHARLES                      HANSEN, CHARLES                        HANSEN, CHRISTINA
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HANSEN, CHRISTOPHER                  HANSEN, CHRISTY                        HANSEN, CLAIRE
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HANSEN, COURTNEY                     HANSEN, DANIELLE                       HANSEN, DARLENE
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HANSEN, DAVID                        HANSEN, DAVID                          HANSEN, DAWN
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HANSEN, DODY                         HANSEN, EMILY                          HANSEN, EMILY
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HANSEN, ERIN                         HANSEN, ERIN                           HANSEN, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HANSEN, HILARY        Case 22-11238-LSS
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HANSEN, JANET                        HANSEN, JENNIFER                      HANSEN, JENNIFER
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HANSEN, JORDAN                       HANSEN, JOSIE                         HANSEN, KATELIN
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HANSEN, KATHERINE                    HANSEN, KATHRYN                       HANSEN, KEITH
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HANSEN, KELLY                        HANSEN, KERRY                         HANSEN, KRISTEN
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HANSEN, KRISTYN                      HANSEN, LADONNA                       HANSEN, LAURA
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HANSEN, LAUREN                       HANSEN, LAUREN                        HANSEN, LEON
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HANSEN, LISA                         HANSEN, LISA                          HANSEN, LORI
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HANSEN, LUCY                         HANSEN, MAGGY                         HANSEN, MARGARET
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HANSEN, MARK                         HANSEN, MARY KATE                     HANSEN, MEGHAN
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HANSEN, MELISSA       Case 22-11238-LSS
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HANSEN, MICHELE                      HANSEN, MICHELLE                      HANSEN, MIKAELA
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HANSEN, NIELS                        HANSEN, NIKKI                         HANSEN, NORA
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HANSEN, PATRICIA                     HANSEN, PATRICIA                      HANSEN, PATRICIA
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HANSEN, PATRICK                      HANSEN, RACHEL                        HANSEN, RICK
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HANSEN, RITA                         HANSEN, ROBERT                        HANSEN, ROBIN
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HANSEN, RYAN                         HANSEN, SAMUEL                        HANSEN, SHARLA
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HANSEN, SHELBY                       HANSEN, TABITHA                       HANSEN, TAYLOR
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HANSEN, TRUDA                        HANSEN, VICKI                         HANSER, AUREA
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HANSFORD, JENNIE                     HANSFORD, RICHARD                     HANSHAW, JULIE
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HANSJURG PERINO       Case 22-11238-LSS    Doc
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                                                                            HANSMEYER, HOPE
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HANSOM, REBECKAH                     HANSON PLUMBING & HEATING, MIKE        HANSON, ABBIE
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                                     ADDRESS AVAILABLE UPON REQUEST




HANSON, ABBY                         HANSON, ANGELA                         HANSON, APRIL
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HANSON, BREANNA                      HANSON, BRETT                          HANSON, CALLIE
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HANSON, CAMILA                       HANSON, CONNIE                         HANSON, DAVID
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HANSON, DESIREE                      HANSON, DEVIN                          HANSON, DONALD
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HANSON, ELENA                        HANSON, EMILY                          HANSON, ERIC
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HANSON, ERIKA                        HANSON, GARY                           HANSON, GARY
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HANSON, HELEN                        HANSON, JESSICA                        HANSON, JODI
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HANSON, KATHLEEN                     HANSON, KATHRYN                        HANSON, KATIE
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HANSON, LAUREL                       HANSON, LAUREN                        HANSON, LAURI ANN
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HANSON, LIESEL                       HANSON, LINDSAY                       HANSON, LYDIA
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HANSON, MARIE                        HANSON, MEGAN                         HANSON, MEGAN
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HANSON, MELISSA                      HANSON, MICHELE                       HANSON, MIRANDA
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HANSON, NATALIE                      HANSON, NATALIE                       HANSON, REBECCA
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HANSON, SARAH                        HANSON, SARAH                         HANSON, SEAN AND REGINA
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HANSON, SHANAE                       HANSON, SHERRY                        HANSON, SINA
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HANSON, STEFANIE                     HANSON, STEPHANIE                     HANSON, TRICIA
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HANSON, TRIXY                        HANSON, VANDRA                        HANSON, VICTORIA
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HANUSCHAK, BRITTANY                  HANVEY, BOB                           HANWAY, HAILEY
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HANZ, ROBIN                          HANZAL STACEY                         HANZEL, CHARLES
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HANZEL, MORGAN                       HANZLIK, GINA                         HANZLOVA, OLGA
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HAO, CATHERINE                       HAO, GRACIE                           HAO, HARRIS
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HAO, YIWEN                           HAP, NICOLE                           HAPACH, SATYN
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HAPDAY GROUP LLC                     HAPGOOD, BETHANY                      HAPGOOD, LYSSA
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HAPIS, JIM                           HAPKE, KASEY                          HAPPE, TRICIA
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HAPPILY EVA AFTER INC                HAPPY CANYON VINEYARDS                HAQUE, EMILY
606 POST ROAD EAST SUITE 699         690 ALAMO PINTADO RD.                 ADDRESS AVAILABLE UPON REQUEST
WESTPORT, CT 06880                   SOLVANG, CA 93463




HAQUE, JOANMARIE                     HAQUE, NABILA                         HARA, M
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARA, MARILYN         Case 22-11238-LSS    DocDAPHNE
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                                                                           HARACOURT, ANDREW
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HARAGAN, ELLEN                       HARAKALL, MARYANN                     HARALAM SHUBA, ELIZABETH
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HARALSON, ADRIENNE                   HARALSON, HAYLEE                      HARAMBOURE, ALFREDO
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HARAN, KAYLA                         HARAN, SASHA                          HARANCHER, JENNY
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HARAQIJA, ARTAN                      HARASETH, EMILY                       HARATANI, DALE
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HARAZIN, TERRIN                      HARB, BERNADETTE                      HARB, KATE
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HARBAUGH, BRETT                      HARBAUGH, COURTNEY                    HARBAUGH, GREG
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HARBAUGH, JAMES                      HARBAUGH, JOHN                        HARBAUGH, KATHLEEN
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HARBECK, JAMIE                       HARBER, BARBARA J                     HARBER, BRANDI
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HARBER, MATTHEW                      HARBERT, AMY                          HARBERT, LAURA
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HARBIN, ALEXIS        Case 22-11238-LSS
                                     HARBIN,Doc  2 Filed 11/30/22
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                                                                              HARBINSON, KATE
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HARBISON, GERALDINE                     HARBISON, SAMUEL                       HARBITZ, ANA
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HARBON, ASHLEY LYNN                     HARBON, ASHLEY                         HARBOR FREIGHT TOOLS
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HARBORTRONICS                           HARBOUR, DIANE                         HARBOUR, ERIN
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HARBOURN, KATE                          HARBURG-PETRICH, SARAH                 HARCHELROAD, AMY
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HARCROW, JESSICA                        HARDACRE, ASHLEY                       HARDAWAY, KEARSTON
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HARDAWAY, LOIS                          HARDCASTLE, CHAD                       HARDCASTLE, CHLOE
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HARDCASTLE, THERESA                     HARDECKER, CARA                        HARDEE, CLAIRE
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HARDEE, LACEY                           HARDEE, MORGYN                         HARDEE, TAYLOR
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HARDEGREE, BONNIE                       HARDEL, DEVON                          HARDEN, ARDIS
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HARDEN, SHANA                        HARDEN, SHAYLA                        HARDEN, STEPHANIE
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HARDER, ANNA                         HARDER, CHRISTA                       HARDER, CRAIG
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HARDER, JASLYN                       HARDER, MICHAEL                       HARDER, SARAH
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HARDER, SHELLY                       HARDERS, GRETCHEN                     HARDESTY, DEANNA
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HARDESTY, MALLORIE                   HARDESTY, MARGIE                      HARDESTY, REBECCA
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HARDEV RANDHAWA                      HARDGROVE, CHAD                       HARDGROVE, ROSANNE
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HARDI, VANESSA                       HARDIE, KATHLEEN                      HARDIE, SARAH
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HARDIE, SIDNEY                       HARDIK SHAH                           HARDIKPRASAD PATEL
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HARDIMAN, DOMINIC                    HARDIN, ABIGAIL                       HARDIN, ALLI
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HARDIN, ARIEL         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARDIN, JACK                         HARDIN, JENNIFER                      HARDIN, JOHN
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HARDIN, KAELYN                       HARDIN, KAREN                         HARDIN, KATHERINE
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HARDIN, KEELY                        HARDIN, PHILLIP                       HARDIN, RACHEL
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HARDIN, RAECHEL                      HARDIN, TIMOTHY                       HARDINA, TIMOTHY
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HARDING CISNEROS, ROBIN              HARDING, ANTHONY                      HARDING, CASSANDRA
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HARDING, CATHERINE                   HARDING, CAYLA                        HARDING, DEBI
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HARDING, ERIKA                       HARDING, JULIE                        HARDING, LAUREN
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HARDING, MARISA                      HARDING, MELISSA                      HARDING, MOLLY
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HARDING, OLIVIA                      HARDING, SEAN                         HARDING, TERESA
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                                                                           HARDISON, ALBERTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARDISON, BECKY                      HARDISON, DANIELLE                     HARDISON, JENNIFER
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HARDMAN, ALEX                        HARDMAN, THOMAS                        HARDMON, KESHANA
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HARDNETT, ALYSSA                     HARDRICK, MICHELLE                     HARDS, ERIC
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HARDT, RACHEL                        HARDWAY, DESIREE                       HARDWICK, ARIELLA
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HARDWICK, JON                        HARDWICK, KRISTIN                      HARDWICK, STEVE
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HARDWICK, VIRGINIA                   HARDY, ANGELINA                        HARDY, ANNA
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HARDY, ANNE                          HARDY, BRIAN                           HARDY, BRITTANY
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HARDY, CARRIE                        HARDY, CATHERINE                       HARDY, CRYSTAL
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HARDY, CURTIS                        HARDY, GREGORY                         HARDY, JENNIFER
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HARDY, JOHN           Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARDY, KEITH                         HARDY, KRISTIN                        HARDY, MARTHA
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HARDY, MITCHELL                      HARDY, NICHOLAS                       HARDY, PAUL
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HARDY, RENAE                         HARDY, SALLY                          HARDY, SHAKAY
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HARDY, SHANA                         HARDY, SHANDA                         HARDY, SHENATA
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HARDY, SOFIA                         HARDY, TAYLOR                         HARDY, TIFFANI
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HARDY, WILLIAM                       HARE, ALEXIS                          HARE, ALLISON
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HARE, AUSTIN                         HARE, EDMOND                          HARE, ELIZA
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HARE, JENNIFER                       HARE, MARY                            HARE, MEAGAN
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HARE, PAUL                           HARE, STEVE                           HAREL, HILI
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HARENZA, JILL         Case 22-11238-LSS
                                     HARER, Doc  2 Filed 11/30/22
                                            KATHLEEN                  Page 2019  of 5495
                                                                           HARERIMANA, REGINE
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HARESH PATEL                         HARFORD, LAUREN                        HARG INVESTORS 401K TRUST
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HARGADEN, COLLEEN                    HARGAN, EMILY                          HARGARTHER, ETHAN
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HARGENS, JODI                        HARGENS, MCKENZIE                      HARGENS, PETRA
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HARGER, CHRISTINA                    HARGER, DANIELLE                       HARGER, JODI
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HARGER, LESLIE                       HARGER, LEVI                           HARGETT, ALEXANDRA
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HARGETT, ALIYE                       HARGETT, ALLY                          HARGETT, LASHAN
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HARGETT, MARY                        HARGETT, SAM                           HARGIS, BREANNA
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HARGIS, BRIGIT                       HARGIS, KATIE                          HARGIS, KRISTEN
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HARGIS, KYLIE                        HARGIS, SUSAN                          HARGRAVE, ALEXIS
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HARGRAVE, KELLY       Case 22-11238-LSS    DocZOE
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                                                                           HARGRAVES, SUSAN
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HARGRAVES, TENLEY                    HARGRAVE-THOMAS, OLIVIA               HARGRAY, VANESSA
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HARGREAVES, CHANELLE                 HARGREAVES, JAIME                     HARGREAVES, VASEY
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HARGROVE, ALICE                      HARGROVE, BELINDA                     HARGROVE, BETHANY
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HARGROVE, ERIN                       HARGROVE, GEORGE                      HARGROVE, JULIE
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HARGROVE, KATIE                      HARGROVE, KIREEN                      HARGROVE, LATOYA
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HARI NAGA GARAPATI                   HARIANI, ARUN & DIVYA                 HARIBHAKTI, SARTHAK
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HARINARAYANAN, USHA                  HARING, BLAIR                         HARINSTEIN, MICHAEL
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HARIRI, ELIZABETH                    HARIS SAIDI                           HARISH G RAO
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HARISH, NIKHIL                       HARIT PATEL                           HARITOS, SAMANTHA
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HARJES, MAGGIE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HARJO, JESSICA                   Page 2021 of 5495
                                                                           HARKAWAY, DANIELLE
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HARKER, ZAC                          HARKI, DANIEL                          HARKINS, BARBARA
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HARKINS, JENNIFER                    HARKINS, KATHERINE                     HARKINS, SUSAN
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HARKINS, TERESA                      HARKLAU, STEPHANIE                     HARKLESS, HARMONY
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HARKLESS, JENNIFER                   HARKLESS, JON                          HARKNA, KRISTIANA
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HARKNESS, JENNIFER                   HARKNESS, PENNY                        HARKNESS, REBECCA
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HARKRIDER, GINA                      HARLAM, SOPHIE                         HARLAN, DANTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARLAN, HELEN                        HARLAN, KRISTIN                        HARLAN, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARLEMAN, ARIELLE                    HARLEN, ANDY                           HARLES, KARI
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HARLESS, DAVID                       HARLESTON, MEDINA                      HARLEY, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HARLEY, CORINA        Case 22-11238-LSS
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HARLEY, NASHE                        HARLEY, SARINA                         HARLEY, SHIRLEY
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HARLIN, JENNE                        HARLIN, MATTHEW                        HARLING, GREGORY
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HARLOW, AMBER                        HARLOW, CONNETHIA                      HARLOW, DEBORAH
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HARLOW, ERIN                         HARLOW, KERRI                          HARLOW, KIM
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HARLOW, MARY                         HARLOW, MARYANNE                       HARLOW-NASH, ZACK
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HARM JOHANNES WANSCHERS              HARMAN, ABBY                           HARMAN, ASHLEY
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HARMAN, BRITTA                       HARMAN, CHARLOTTE                      HARMAN, CHRIS
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HARMAN, JA                           HARMAN, JAMES                          HARMAN, JUDY
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HARMAN, KELLI                        HARMAN, LAUREN                         HARMAN, RACHEL
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HARMAR, LILA          Case 22-11238-LSS    Doc
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                                                                           HARMEYER, OLIVIA
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HARMOM, SUZANNE                      HARMON, ALY                            HARMON, AMBER
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HARMON, ANDRE                        HARMON, ANGELA                         HARMON, ANNE
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HARMON, BREANNA                      HARMON, DONTE                          HARMON, ELISE
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HARMON, GABRIELA                     HARMON, HANNAH                         HARMON, JIM
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HARMON, JOHNNY                       HARMON, JOSHUA                         HARMON, JUDY AND RICH
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HARMON, KATY                         HARMON, KEN                            HARMON, KIM
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HARMON, LINDSAY                      HARMON, LISA                           HARMON, MAUREEN
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HARMON, MICHELE                      HARMON, MOLLIE                         HARMON, SANDRA
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HARMON, SHANI                        HARMON, SHIRLEY                        HARMON, TAD
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HARMON, TESS          Case 22-11238-LSS    Doc 2
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HARMS, ALAN                          HARMS, CARTER                         HARMS, DIANA
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HARMS, EMILY                         HARMS, KYLIE                          HARN, CHRISTINA
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HARNDEN, NEAL                        HARNE, ROXINE                         HARNED, ANNIE
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HARNED, KARYN                        HARNED, KELLY                         HARNER, JEAN-MARIE
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HARNER, SHANNON                      HARNESS GLOVER, CHRISTINE             HARNESS, MICHAEL
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HARNESS, REBECCA                     HARNETT, MARGARET                     HARNETT, MARY ANN
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HARNEY, CAROL                        HARNEY, FAZEELA                       HARNEY, KAELI
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HARNEY, LEIGH                        HARNEY-MATHEWS, MARGARET              HARNHAM INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        199 WATER STREET, 31ST FLOOR
                                                                           NEW YORK, NY 10038




HARNISH, MEGHAN                      HARNISHFEGER, THOMAS                  HARNLY, JOY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARNSBERGER, ANDY     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HARO, DANA                       Page 2025  of 5495
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HAROLD ARLEN                         HAROLD BERT HEATH                     HAROLD HEARN
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HAROLD L BISHOP                      HAROLD MERTEN                         HAROLD ONGSIOCO LORENZO
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HAROLD RICHARDS                      HAROLD YIM                            HAROLD, ASHLEY
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HAROLD, EMILIE                       HAROLD, HEATHER                       HAROLD, LUANNE
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HAROLD, RACHEL                       HAROOTUNIAN, CASSIOPEIA               HAROUTUNIAN, GREGORY
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HARP, CHAD                           HARP, CHRISTINA                       HARP, DANA
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HARP, DAWN                           HARP, JESSICA                         HARP, KEMBERLY
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HARP, KIM                            HARP, MAKAYLA                         HARP, STEPHANIE
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HARPER MITCHELL, BRITTINIE           HARPER, ALISON                        HARPER, ANDREA
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HARPER, AVERY         Case 22-11238-LSS
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HARPER, BRIAN                        HARPER, BRYAN                         HARPER, CHARLES
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HARPER, CHRIS                        HARPER, CHRISSY                       HARPER, DAMARA
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HARPER, DARIA                        HARPER, DEVVON                        HARPER, ERIC
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HARPER, ERIKA                        HARPER, EVELYN                        HARPER, FAITH
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HARPER, GWENDOLYN                    HARPER, JACKI                         HARPER, JESSICA
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HARPER, JORDAN                       HARPER, KAREN                         HARPER, KAREN
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HARPER, KAREN                        HARPER, KARLEY                        HARPER, KATELYN
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HARPER, KATY                         HARPER, KEARA                         HARPER, KEISHA
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HARPER, KRISTEN                      HARPER, LAURA                         HARPER, LAURESE
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HARPER, LYNDSEE                      HARPER, MARCUS                        HARPER, MARIAN
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HARPER, MICHELLE                     HARPER, NICOLE                        HARPER, PENNY
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HARPER, PENNY                        HARPER, RACHAEL                       HARPER, SARA
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HARPER, SHANNON                      HARPER, SUMMER                        HARPER, TANYA
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HARPER, VIVIAN                       HARPER-DAVIS, JAZMINE                 HARPER-HELTON, STEPHANIE
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HARPER-SHORT, LARRY                  HARPHAM, JACKIE                       HARPIN, KATHRYN
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HARPIN, LYNNE                        HARPIN, MARK                          HARPREET TALWAR
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HARPST, LIZ                          HARR, KELLIANNE                       HARR, MARY BETH
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HARR, VICTORIA                       HARRAH, ABBIGAIL                      HARRALD, THOMAS
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HARRE, MICHAEL        Case 22-11238-LSS    Doc
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HARRELL, ANDREW                      HARRELL, BECKY                        HARRELL, CYNTHIA
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HARRELL, DEUNDRIA                    HARRELL, JANET                        HARRELL, JENNIFER
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HARRELL, KARA                        HARRELL, KRISTI                       HARRELL, MARIANNE
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HARRELL, MORGAN                      HARRELL, PAMELA                       HARRELL, PARKER
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HARRELSON, ALEXANDREA                HARRELSON, AMBER                      HARRELSON, CONSTANCE
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HARRELSON, DEANNA                    HARRELSON, JOHN                       HARRELSON, NANCY
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HARRICK, GWYNETH                     HARRIES, BENJAMIN                     HARRIES, LAURA
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HARRIES, NORMA                       HARRIGAN, CHRISTINA                   HARRIGAN, HALEY RAE
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HARRIGAN, JULIA                      HARRIGAN, LINDSAY                     HARRIGAN, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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HARRIMAN, CASSIE                      HARRIMAN, JAMIE                       HARRIMAN, NIKI
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HARRIMAN, TRISHA                      HARRINGTON SULLIVAN, DAVID            HARRINGTON, AARON
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HARRINGTON, ANGELA                    HARRINGTON, ANNE                      HARRINGTON, APRIL
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HARRINGTON, ASHLEY                    HARRINGTON, BRENNA                    HARRINGTON, BRIGID
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HARRINGTON, BRYANNE                   HARRINGTON, CAROLINE                  HARRINGTON, CHESTON
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HARRINGTON, CIARA                     HARRINGTON, CYNTHIA                   HARRINGTON, DEIRDRE
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HARRINGTON, JACKIELYN                 HARRINGTON, JAMES                     HARRINGTON, JAMES
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HARRINGTON, JENNIFER                  HARRINGTON, JENNIFER                  HARRINGTON, JOCELYN
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HARRINGTON, JOHN                      HARRINGTON, KATHERINE                 HARRINGTON, KAYLEIGH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARRINGTON, KENNETH Case 22-11238-LSS    Doc 2KRISTEN
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HARRINGTON, LISA                    HARRINGTON, LIZ                        HARRINGTON, MADDY
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HARRINGTON, MADELIENE               HARRINGTON, MADELINE                   HARRINGTON, MARIE
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HARRINGTON, MELISSA                 HARRINGTON, MICHAEL                    HARRINGTON, MICHELE
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HARRINGTON, NEIL                    HARRINGTON, RACHEL                     HARRINGTON, REBECCA
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HARRINGTON, SAMANTHA                HARRINGTON, SHANNON                    HARRINGTON, SUSAN
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HARRINGTON-DOYON, SARA              HARRIOTT, QUANTEAH                     HARRIOTT, ROSANNE
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HARRIS C/O RADIS, RICHARD           HARRIS JR, STEPHEN                     HARRIS, ADDIE
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HARRIS, AJA                         HARRIS, ALEXANDRIA                     HARRIS, ALICIA
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HARRIS, ALYSSA                      HARRIS, AMANDA                         HARRIS, AMY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HARRIS, AMY           Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, ANNETTE                      HARRIS, APRIL                         HARRIS, ASHA
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HARRIS, ASHLEY                       HARRIS, ASHLEY                        HARRIS, ASPEN
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HARRIS, AUSTIN                       HARRIS, AUTYMN                        HARRIS, BAYLIE
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HARRIS, BIANCA                       HARRIS, BIG DADDY D                   HARRIS, BRAD
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HARRIS, BRANDI                       HARRIS, BREANNA                       HARRIS, BRENNA
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HARRIS, BRETINSA                     HARRIS, BRETT                         HARRIS, BRIANA
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HARRIS, BRIGETTE                     HARRIS, BRITTANY                      HARRIS, BRITTANY
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HARRIS, BRITTNEY                     HARRIS, BROOKE                        HARRIS, BRYCE
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HARRIS, CAITLYN                      HARRIS, CAROLE                        HARRIS, CARRIE
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HARRIS, CHRIS                        HARRIS, CHRISTA                       HARRIS, CHRISTINA
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HARRIS, CHRISTINE                    HARRIS, CHRISTOPHER                   HARRIS, CHRISTY
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HARRIS, CINDY                        HARRIS, COLLEEN                       HARRIS, COURTNEY
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HARRIS, COURTNEY                     HARRIS, CRYSTAL                       HARRIS, CRYSTAL
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HARRIS, DALENA                       HARRIS, DAN                           HARRIS, DANELLE
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HARRIS, DANIELLE                     HARRIS, DAPHANE                       HARRIS, DAQUANA
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HARRIS, DAVID                        HARRIS, DENISE                        HARRIS, DIANA
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HARRIS, DIANA                        HARRIS, DILLAN                        HARRIS, DONALD
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HARRIS, EMILY                        HARRIS, ERIK                          HARRIS, ERIN
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HARRIS, ERIN                         HARRIS, ERIN                          HARRIS, ERIN
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HARRIS, ERIN                         HARRIS, ETHAN AND NIKKI               HARRIS, FAWN
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HARRIS, GEORGE                       HARRIS, GLINDA                        HARRIS, HALEY
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HARRIS, HANNA                        HARRIS, HEATHER                       HARRIS, HOWARD
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HARRIS, ISAAC                        HARRIS, JACK                          HARRIS, JACK
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HARRIS, JACLYN                       HARRIS, JACQUELINE                    HARRIS, JACQUELINE
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HARRIS, JADE                         HARRIS, JAINEICIA                     HARRIS, JAMIE
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HARRIS, JAMIE                        HARRIS, JANIFE                        HARRIS, JAREEN
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HARRIS, JENNIFER                     HARRIS, JEREMY                         HARRIS, JERRY
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HARRIS, JESSIKA                      HARRIS, JIMMY                          HARRIS, JOCELYN
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HARRIS, JODI                         HARRIS, JOHN                           HARRIS, JONATHAN
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HARRIS, JORDYNN                      HARRIS, JOSHUA                         HARRIS, JUDITH
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HARRIS, JUDITH                       HARRIS, JULIE                          HARRIS, JULIE
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HARRIS, KAMILLE                      HARRIS, KAREN                          HARRIS, KAREY
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HARRIS, KATHY                        HARRIS, KATIE                          HARRIS, KATIE
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HARRIS, KATIE                        HARRIS, KELLY                          HARRIS, KELLY
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HARRIS, KELLY                        HARRIS, KELLY                          HARRIS, KELSEY
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HARRIS, KIZZIE                       HARRIS, KRISTEN                        HARRIS, KRISTEN
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HARRIS, KRISTIN                      HARRIS, KRISTIN                        HARRIS, KRYSTIN
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HARRIS, KYLE                         HARRIS, KYMBERLY                       HARRIS, LANCE
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HARRIS, LASHAY                       HARRIS, LAURA                          HARRIS, LAURA
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HARRIS, LAUREN                       HARRIS, LAUREN                         HARRIS, LAURYN
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HARRIS, LENNA                        HARRIS, LINDA                          HARRIS, LINDSEY
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HARRIS, LINDSEY                      HARRIS, LOUISE                         HARRIS, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRIS, MAIA                         HARRIS, MARC                           HARRIS, MARCIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRIS, MARIAH                       HARRIS, MARSHA                         HARRIS, MATTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HARRIS, MCKENNA       Case 22-11238-LSS
                                     HARRIS,Doc 2 Filed 11/30/22
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                                                                           HARRIS,of 5495
                                                                                   MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, MEGAN                        HARRIS, MEGAN                         HARRIS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, MEGHAN                       HARRIS, MELANIE                       HARRIS, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, MELISSA                      HARRIS, MELODIE                       HARRIS, MICAELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, MICHAEL                      HARRIS, MICHAEL                       HARRIS, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, MICHELE                      HARRIS, MICHELLE                      HARRIS, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, MICHELLE                     HARRIS, MICHELLE                      HARRIS, MIKAELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, MIKAYLA                      HARRIS, MISSY                         HARRIS, MITCH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, MOLLY                        HARRIS, NANETTE                       HARRIS, NANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, NICK                         HARRIS, NICOLE                        HARRIS, NIKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARRIS, NIKKI         Case 22-11238-LSS
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                                                                           HARRIS,of 5495
                                                                                   NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, NOEL                         HARRIS, PAOLO                         HARRIS, PATRICK
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HARRIS, PHYLLIS                      HARRIS, RACHEL                        HARRIS, REBECCA
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HARRIS, REBEKAH                      HARRIS, RENEE                         HARRIS, REVO
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HARRIS, RICHARD                      HARRIS, RICHARD                       HARRIS, ROBERT
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HARRIS, RONALD                       HARRIS, RONALD                        HARRIS, RYAN
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HARRIS, RYAN                         HARRIS, S. DUNIE                      HARRIS, SABRINA
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HARRIS, SAMIRA                       HARRIS, SANAA                         HARRIS, SARAH
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HARRIS, SARIAH                       HARRIS, SCOTT                         HARRIS, SEAN
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HARRIS, SHALANDA                     HARRIS, SHANNON                       HARRIS, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARRIS, SHAUNA        Case 22-11238-LSS
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                                                                           HARRIS,of 5495
                                                                                   SOPHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRIS, SPENCER                      HARRIS, STACY                         HARRIS, STEPHANIE
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HARRIS, STEVE                        HARRIS, SUMMER                        HARRIS, SYDNEY
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HARRIS, TAKHIA                       HARRIS, TARA                          HARRIS, TAYLOR
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HARRIS, TERESA                       HARRIS, TERRY                         HARRIS, TIFFANY
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HARRIS, TIMOTHY                      HARRIS, TINA                          HARRIS, VAL
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HARRIS, VALERIE                      HARRIS, VANESSA                       HARRIS, VERONICA
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HARRIS, WILL                         HARRIS, WINSTON & ALICIA              HARRIS, ZACH
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HARRIS, ZACHARY                      HARRIS-MAKINEN, ROSE                  HARRISON HENDERSON, ANGEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRISON HUNTER                      HARRISON MOSLEY, KAREN                HARRISON WINE TRANSPORT, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 1851
                                                                           BUELLTON, CA 93427
HARRISON, ALEX        Case 22-11238-LSS    Doc
                                     HARRISON,   2 Filed 11/30/22
                                               ALEXANDRA              Page 2039  of 5495
                                                                           HARRISON, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRISON, ALEXIS                     HARRISON, ALIX                        HARRISON, AMANDA
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HARRISON, AMBER                      HARRISON, ANDREA                      HARRISON, ASHLEY
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HARRISON, AUBURN                     HARRISON, AUDREY                      HARRISON, BONNIE
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HARRISON, BRITTANY                   HARRISON, BRITTNEY                    HARRISON, BROOKE
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HARRISON, CARLEIGH                   HARRISON, CARLENE                     HARRISON, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRISON, CHRISTOPHER                HARRISON, CLARE                       HARRISON, COLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRISON, CORY                       HARRISON, DARLA                       HARRISON, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRISON, DAYNA                      HARRISON, DEREK                       HARRISON, DEVON
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HARRISON, ELIZABETH                  HARRISON, EMILY                       HARRISON, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARRISON, EMMA        Case 22-11238-LSS    Doc
                                     HARRISON,   2 Filed 11/30/22
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                                                                           HARRISON, GENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRISON, GREER                      HARRISON, HADLEY                      HARRISON, HEATHER
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HARRISON, HEIDI                      HARRISON, HELEN                       HARRISON, HELENA
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HARRISON, HOLLY                      HARRISON, HONI                        HARRISON, HUDSON
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HARRISON, JACKIE                     HARRISON, JACOB                       HARRISON, JACQUELINE
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HARRISON, JANE                       HARRISON, JAROSLAVA                   HARRISON, JENEVIEVE
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HARRISON, JENNIFER                   HARRISON, JENNIFER                    HARRISON, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRISON, KALEY                      HARRISON, KATHERINE                   HARRISON, KATLYN
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HARRISON, KIERA                      HARRISON, KIMBERLY                    HARRISON, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRISON, KISHA                      HARRISON, KYLE                        HARRISON, LACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARRISON, LACHIA      Case 22-11238-LSS    Doc
                                     HARRISON,   2 Filed 11/30/22
                                               LARENAS                Page 2041  of 5495
                                                                           HARRISON, LORRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRISON, MAIA                       HARRISON, MARISSA                      HARRISON, MEAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRISON, MERCEDES                   HARRISON, MORGAN                       HARRISON, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRISON, NICHELLE                   HARRISON, PAUL                         HARRISON, PENELOPE
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HARRISON, RACHEL                     HARRISON, RANDALL                      HARRISON, REBECCA
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HARRISON, RICHARD                    HARRISON, ROBERT                       HARRISON, RONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRISON, RYAN                       HARRISON, SABRINA                      HARRISON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRISON, SHARON                     HARRISON, SHIRLEY                      HARRISON, TASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRISON, THERESA                    HARRISON, VICTORIA                     HARRISON, W BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARRISON, WESLEY                     HARRIS-REAMER, VALERIE                 HARRIS-SHEA, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HARRITY, ANDREA       Case 22-11238-LSS    Doc
                                     HARRITY,    2 Filed 11/30/22
                                              ANDREA                  Page 2042 ofROCHELLE
                                                                           HARROD, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARROD, SARA                         HARROLD, ELIZABETH                    HARRON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARROP, MICHAEL                      HARROW, LISA                          HARROWER, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARROX, DEBRA                        HARRRIS, ROBERT                       HARRSEN, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRY A DIAZ LLAMAS                  HARRY BAUGHAN                         HARRY E. HAGEN TREASURER- TAX
26615 MARIGOLD CT.                   ADDRESS AVAILABLE UPON REQUEST        COLLECTOR
CALABASAS, CA 91302                                                        COUNTY OF SANTA BARBARA
                                                                           P.O. BOX 579
                                                                           SANTA BARBARA, CA 93102-0579



HARRY J JOHNSON                      HARRY, DANIELLE                       HARRY, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRY, DION                          HARRY, LAUREN                         HARRY, SHARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARRYMAN, MICHELLE                   HARSELL, SARA                         HARSELLL, DENNIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARSHA KATAKAMSETHY                  HARSHAW, RODERICA                     HARSHBARGER, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARSHMAN, JONATHAN                   HARSON, ERIC                          HARSTAD, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARSTER, HERBERT      Case 22-11238-LSS    Doc
                                     HARSTON,    2 Filed 11/30/22
                                              KIMBERLY                Page 2043   of 5495
                                                                           HART, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, AMANDA                         HART, AMELIA                          HART, ANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, AUBREY                         HART, CANDICE                         HART, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, CAROLYN                        HART, CASSIE                          HART, CHANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, CHASTITY                       HART, COURTNEY                        HART, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, DANNY                          HART, DEANNA                          HART, DEBORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, DENISE M                       HART, ELIZABETH                       HART, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, GEOFF                          HART, GIOVANNI                        HART, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, HEDDA                          HART, IVON                            HART, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, JANINE                         HART, JEAN                            HART, JEFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HART, JENNIFER        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HART, JUDITH                     Page 2044   of 5495
                                                                           HART, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, KATHERINE                      HART, KATHERINE                       HART, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, KATHY                          HART, KELSEY                          HART, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, KIAMESHA                       HART, LAURA                           HART, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, LISA                           HART, LORI                            HART, MARCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, MARY                           HART, MARY                            HART, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, MATTHEW                        HART, MELISSA                         HART, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, NATASHA                        HART, NIKKI                           HART, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, PATRICIA                       HART, PAUL                            HART, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, REBECCA                        HART, RITA                            HART, ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HART, SALLY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HART, SALLY                      Page 2045   of 5495
                                                                           HART, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, SEAN                           HART, SHANNON                         HART, SHAWNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, SHELLY                         HART, STEPHANIE                       HART, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, SUSAN                          HART, SUSAN                           HART, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, TINAMARIE                      HART, WHITNEY                         HART, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HART, ZOE                            HARTBERGER, ALEXIS                    HARTBERGER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTE, ZOE                           HARTEL, JARED                         HARTER, ANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTER, JENNIFER                     HARTER, JENNIFER                      HARTER, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTER, LORI                         HARTER, ROBYN                         HARTERT, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTEY, ALEXANDRIA                   HARTFIEL, KATIE                       HARTFIELD SONNIER JOHNSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8435 W 80TH AVENUE
                                                                           ARVADA, CO 80005
HARTFORD, LAUREL      Case 22-11238-LSS    DocNIDIA
                                     HARTFORD,  2 Filed 11/30/22      Page 2046 of 5495
                                                                           HARTGRAVES, SHERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTH, DAWN                          HARTHAUSEN, KEN                        HARTHOORN, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTHORNE, CHRISTINE                 HARTIG, ANDREA                         HARTIG, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTIGAN, WILLIAM                    HARTJE, TROY                           HARTL, JOY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTL, MATTHEW                       HARTLAGE GANT, TAYLOR                  HARTLEBEN, TODD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTLEY, AL                          HARTLEY, ALEXANDER                     HARTLEY, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTLEY, BONNIE                      HARTLEY, DAVID                         HARTLEY, DENNIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTLEY, ERIC                        HARTLEY, JASON                         HARTLEY, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTLEY, JESSICA                     HARTLEY, JOHN                          HARTLEY, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTLEY, LAWRENCE                    HARTLEY, MARLEE                        HARTLEY, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HARTLEY, SARAH        Case 22-11238-LSS    Doc
                                     HARTLEY,    2 Filed 11/30/22
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                                                                           HARTLEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTLINE, CHRISTINE                  HARTLINE, JASON                       HARTLINE, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTLINE, OLIVIA                     HARTLING, HEATHER                     HARTLING, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMAN, AMANDA                      HARTMAN, AMY                          HARTMAN, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMAN, AUDREY                      HARTMAN, CALLI                        HARTMAN, CANDICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMAN, CAROL ANNE                  HARTMAN, ELIZABETH                    HARTMAN, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMAN, JANET                       HARTMAN, JAYNE                        HARTMAN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMAN, JILL                        HARTMAN, LISA                         HARTMAN, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMAN, MARY                        HARTMAN, MATTHEW                      HARTMAN, MICHELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMAN, RACHELLE                    HARTMAN, ROBERT                       HARTMAN, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARTMAN, STEPHANIE    Case 22-11238-LSS    Doc
                                     HARTMAN,   2 Filed 11/30/22
                                              TAYLOR                  Page 2048 of 5495
                                                                           HARTMAN, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMAN, TORI                        HARTMAN, WEDNESDAY                    HARTMAN, YENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMANGRUBER, JOSH                  HARTMANN, ABBY                        HARTMANN, DAISY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMANN, DAX                        HARTMANN, ELIZABETH                   HARTMANN, JOYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMANN, KURT                       HARTMANN, LISA                        HARTMANN, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTMANN, ZACH                       HARTNER, CORY                         HARTNESS, LOGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTNETT, ALEX                       HARTNETT, DANIELLE                    HARTNETT, DEIRDRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTNETT, DIANE                      HARTNETT, ELIZABETH                   HARTNETT, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTNETT, KATHLEEN                   HARTNETT, KRISTY                      HARTNETT, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTNETT, LAUREN                     HARTNETT, MEGAN                       HARTNETT, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARTNETT, PAM         Case 22-11238-LSS    Doc
                                     HARTNETT,   2 Filed 11/30/22
                                               STEPHANIE              Page 2049 of 5495
                                                                           HARTNETT, VENERANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTO INC.                           HARTOCH, ASHLEY                       HARTRANFT, ASHLEY
2049 CENTURY PARK EAST, SUITE 1400   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90067




HARTRANFT, BRANDON                   HARTRANFT, REBECCA                    HARTSFIELD, EZRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTSFIELD, TIFFANY                  HARTSHAW, JESSICA                     HARTSHORN, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTSOCK, BENJAMEN                   HARTSOCK, ELIZABETH                   HARTSOE, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTSOG, ASHLEY                      HARTSOG, DEANNA                       HARTSON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTSON, JEREMY                      HARTSTEIN, PAUL                       HARTUNG, ADRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTUNG, CLAIRE                      HARTUNG, DINA                         HARTUNG, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTVICKSON, MONICA                  HARTWAY, MAURA                        HARTWELL, HELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARTWELL, KEITH                      HARTWELL, LAURYN                      HARTWELL, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARTWIG, DANIEL       Case 22-11238-LSS    Doc
                                     HARTWIG,    2 Filed 11/30/22
                                              JENNIFER                Page 2050 of 5495
                                                                           HARTWIG, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTWIG, SUZANNE                     HARTY, JACQUELINE                      HARTY, KRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTY, SARAH                         HARTZ, JANA                            HARTZBAND, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTZELL WEIR, SLOANE                HARTZELL, AMBER                        HARTZELL, CALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTZELL, KELLY                      HARTZELL, TOM                          HARTZER, CHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARTZLER, BRIDGET                    HARTZOG, CHERRI                        HARTZOG, TRAYANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARUBIN, DONNA                       HARUTA, TYLER                          HARVEEN AUJLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARVEY BOSHART                       HARVEY BOSHART                         HARVEY, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARVEY, ABIGAIL                      HARVEY, AIMEE                          HARVEY, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HARVEY, ALEXIS                       HARVEY, ALEXIS                         HARVEY, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HARVEY, ALLYSON       Case 22-11238-LSS
                                     HARVEY,Doc 2 Filed 11/30/22
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                                                                           HARVEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, BRIAN                        HARVEY, CHRIS & JENN                  HARVEY, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, DAYA                         HARVEY, DEBRA                         HARVEY, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, DONNA                        HARVEY, DONNA                         HARVEY, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, ERICA                        HARVEY, ERIKA                         HARVEY, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, ERIN                         HARVEY, IESHA                         HARVEY, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, JILLHARVEY                   HARVEY, JULIE                         HARVEY, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, KATI                         HARVEY, KENZIE                        HARVEY, KEVYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, KIMBERLEY                    HARVEY, KIMBERLY                      HARVEY, KRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, KYLE                         HARVEY, LAURA                         HARVEY, LYNNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARVEY, MEGAN         Case 22-11238-LSS
                                     HARVEY,Doc 2 Filed 11/30/22
                                             MEGAN                    Page 2052 ofMEGAN
                                                                           HARVEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, NICOLE                       HARVEY, OLIVIA                        HARVEY, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, RHONDA                       HARVEY, RICK                          HARVEY, RONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, SADIE                        HARVEY, SAMANTHA                      HARVEY, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, SONJA                        HARVEY, STACY                         HARVEY, SUNNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVEY, TAYLOR                       HARVEY, WENDY                         HARVICK, KRISTIE
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HARVIE, JILLIAN                      HARVILLE, AMANDA                      HARVILLE, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVILLE, ERIN                       HARVILLE, SANDRA                      HARVIN, DAYSHONA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARVISON, MADDISON                   HARWARD, NICOLE                       HARWELL, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARWELL, ASHLEY                      HARWELL, CRAIG                        HARWELL, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HARWICH, AMELIA       Case 22-11238-LSS
                                     HARWIG,Doc  2 Filed 11/30/22
                                             JASON                    Page 2053 of 5495
                                                                           HARWOOD, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARWOOD, CASEY                       HARWOOD, CHRIS                        HARWOOD, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HARWOOD, MARTHA                      HARWOOD, RACHAEL                      HARWOOD-MUIR, MELISSA
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HARWORTH, DEBORAH                    HARZ, ALEXA                           HASAN, DELLA
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HASANI, SUMATI                       HASBROUCK, MATTHEW                    HASBUN, ANTHONY
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HASBUN, NATALY                       HASCHIG, BRIAN                        HASCHKE, TRACY
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HASCUP, GINA                         HASEGAWA, ALEKSANDRA                  HASEGAWA, KEIKO
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HASEGAWA, SERGEI                     HASEKAMP, JODI                        HASELHUHN, RAY
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HASENMUELLER, STEVE                  HASHAGEN, FRED                        HASHEMI, ANURADHA
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HASHEMI, SARAH                       HASHIDA, RYOMA                        HASHIM BHAROOCHA
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HASHIMOTO, MAO        Case 22-11238-LSS    DocMARCOS
                                     HASHIMOTO, 2 Filed 11/30/22      Page 2054 of 5495
                                                                           HASHMAN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASIOTIS, IRENE                      HASIS, ALEXANDRA                      HASKAMP, SUSAN
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HASKE, JOELLYN                       HASKELL BARBARA                       HASKELL, COLLETTE
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HASKELL, GRAHAM                      HASKELL, HANNAH                       HASKELL, JEANNE
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HASKELL, MATHEW                      HASKELL, MEGAN                        HASKELL, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASKELL, TOM                         HASKELL, TONI                         HASKELL, WALTER
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HASKI, ALEXIA                        HASKINS, ALECIA                       HASKINS, DEBRA
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HASKINS, KAREN-LYNN                  HASKINS, KATHRYN                      HASKINS, KYLIE
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HASKINS, MADISON                     HASKINS, MEGAN                        HASKINS, ROSS
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HASKINS, SEANISE                     HASKINS, SHERRI                       HASKINS, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HASKINS, TIFFANE      Case 22-11238-LSS
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                                                                           HASLETT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HASLETT, SUSAN                       HASLEY, NOVA                           HASLING, ASHLEY
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HASNEM, BLU                          HASNEY, CHRISTIAN                      HASPEL, KARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HASPEL, LEE                          HASPRUNAR, CATHY                       HASS, DANIELLE
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HASS, DAVID                          HASS, GRETCHEN                         HASS, ITAI
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HASS, JEANNE                         HASS, JENNIFER                         HASS, KANDACE
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HASS, KENDALL                        HASS, MADISEN                          HASS, MELISSA
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HASS, SHARON                         HASSAD, AARON                          HASSALL, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HASSAN ABDULHALEM MAZI               HASSAN SHARIFF                         HASSAN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HASSAN, HUGH                         HASSAN, JORDAN                         HASSANI, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HASSANOVA, MARIE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HASSE, ANNE                      Page 2056
                                                                           HASSE,of 5495
                                                                                 CHEYENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASSE, JULIA                         HASSE-DRESSER, LAURA                  HASSEL, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASSELBRING, KRISTEN                 HASSELL, DENISE                       HASSELL, GENESIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASSELL, HAROLD                      HASSELL, JENNIFER                     HASSELL, STEPHANIE
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HASSEN, JENNIFER                     HASSEN, MUNA                          HASSENFRATZ, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASSENFRATZ, MELANIE                 HASSETT, CATE                         HASSETT, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASSETT-SALLEY, JULIANA              HASSEY, JOHN                          HASSID, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASSING, BECCA                       HASSINGER, AMY                        HASSON, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASSON, BERNADETTE                   HASSON, PATRICIA                      HASTIE, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTIE, WARREN                       HASTINGS, ALLISON                     HASTINGS, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HASTINGS, BREA        Case 22-11238-LSS    Doc
                                     HASTINGS,   2 Filed 11/30/22
                                               BRITTANY               Page 2057  of 5495
                                                                           HASTINGS, DANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTINGS, ELIZABETH                  HASTINGS, EMMA                        HASTINGS, EVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTINGS, FARRAH                     HASTINGS, JACKIE                      HASTINGS, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTINGS, JOHN                       HASTINGS, JOHN                        HASTINGS, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTINGS, LINDSAY                    HASTINGS, LISA                        HASTINGS, LUCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTINGS, MOLLY                      HASTINGS, PATRICK                     HASTINGS, SANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTINGS, SCOTT                      HASTINGS, STACEY                      HASTINGS, VICKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTINGS, ZANTHIA                    HASTINGS, ZEB                         HASTWELL, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HASTY, SHAWNA                        HASWELL, LAUREN                       HATALA, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATALSKI, KARA                       HATAWAY, MARY                         HATCH, ALAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HATCH, BARBARA JO     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HATCH, BREA                      Page 2058
                                                                           HATCH,of 5495
                                                                                 HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATCH, LAURA                         HATCH, MARNEY                         HATCH, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATCH, MIRANDA                       HATCH, OLIVIA                         HATCH, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATCH, REBECCA                       HATCH, REBEKAH                        HATCH, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATCH, ROSIE                         HATCH, SAMANTHA                       HATCH, STACEY
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HATCH, STAN                          HATCH, VERONICA                       HATCHARD, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATCHARD, ELIZABETH                  HATCHARD, JARED                       HATCHEL, REBECAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATCHER, BOBBIE                      HATCHER, CHELSEA                      HATCHER, GLORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATCHER, KATLYN                      HATCHER, KRISTINA                     HATCHER, LIL T AND WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATCHER, LINDA                       HATCHER, PAIGE                        HATCHER, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HATCHER, URSULA       Case 22-11238-LSS    Doc
                                     HATCHET HALL2   Filed 11/30/22   Page 2059 of 5495
                                                                           HATCHETT, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HATCHETT, JANICE                     HATCHETT, RUTH                         HATER, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HATFIELD, ALYSSA                     HATFIELD, CLAYTON                      HATFIELD, DEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HATFIELD, GAIL                       HATFIELD, JOSLYN                       HATFIELD, KATHERINE
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HATFIELD, KATHY                      HATFIELD, KRISTEN                      HATFIELD, LAURA
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HATFIELD, LIZ                        HATFIELD, LYNDSY                       HATFIELD, MEGAN
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HATFIELD, MELISSA                    HATFIELD, MICHAEL                      HATFIELD, SAVANNAH
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HATFIELD, SHARELE                    HATFIELD, TANA                         HATGAS, KELLY
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HATHAWAY, BRENDA LEE                 HATHAWAY, BRIDGET                      HATHAWAY, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HATHAWAY, ELLEN                      HATHAWAY, JESSIE                       HATHAWAY, KALEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HATHAWAY, MIKE        Case 22-11238-LSS    DocPRISCILLA
                                     HATHAWAY,  2 Filed 11/30/22      Page 2060 of 5495
                                                                           HATHAWAY, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATHCOCK, HAILEE                     HATHCOCK, PHILIP                      HATHCOX, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATHERLEY, NICOLE                    HATKE, JENNIFER                       HATKOFF, CRAIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HATKOFF, DAVID                       HATLEY, STEPHANIE                     HATT, AMIE
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HATT, CHRISTOPHER                    HATT, HEATHER                         HATTAM, MEREDITH
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HATTEN, IDINA                        HATTEN, JANA                          HATTEN, MEREDITH
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HATTENBURG, LINDSAY                  HATTERY, FRANCES                      HATTIG, KRISTI
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HATTON, ALLISON                      HATTON, MICHAEL                       HATTON, SHANNON
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HATTON, WHITLEY                      HATTRICH, DANIELLE                    HATWIG, REGAN
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HATZ, PAM                            HATZENBELLER, JUDI                    HATZENBUHLER, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HATZIS, SAPPHO        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAU, STEPHANIE                   Page 2061  of 5495
                                                                           HAUB, MADELAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HAUBERT, COLLEEN                     HAUCH, MONICA                          HAUCK, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HAUCK, CATHERINE                     HAUCK, LAUREN                          HAUCK, LISA
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HAUCK, MADELINE                      HAUCK, MATT                            HAUCK, MELISSA
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HAUCK, WALTER                        HAUCKE, DAVID                          HAUENSTEIN, AMANDA
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HAUENSTEIN, NATALIE                  HAUENSTEIN, NATHAN                     HAUER, CHRIS
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HAUF, RAY                            HAUFE, MEGAN                           HAUFF, SARAH
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HAUG, BECKY                          HAUG, SINDIE                           HAUGEBERG, KAYLA
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HAUGEN, AMBER                        HAUGEN, COREY                          HAUGEN, DAN
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HAUGEN, PATRICIA                     HAUGH, CHRISTINE                       HAUGH, COLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HAUGH, SARAH          Case 22-11238-LSS    Doc
                                     HAUGHEY,   2 Filed 11/30/22
                                              BARBARA                 Page 2062 of 5495
                                                                           HAUGHEY, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAUGHNEY, JAMES                      HAUGHT, HEATHER                       HAUGHT, KRISTEN
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HAUGHTON, CHYNNA                     HAUGHTON, DAVID                       HAUGHTON, JOSEPH
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HAUGHTON, NELL                       HAUGHT-THOMPSON, CHRIS                HAUGHWOUT, ASHLEY
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HAUGHY, HOLLY                        HAUGLAND, MARIA                       HAUGLAND, MORGAN
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HAUGLAND, REBECCA                    HAUK, GREGG                           HAUK, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAUKE, BRITTNEY                      HAUKE, LARRY                          HAUKENESS, JENNIFER
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HAULING LA                           HAUN, CHRISTA                         HAUN, KELSEY
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HAUN, MELISSA                        HAUN, RYAN                            HAUNTY, MOLLY
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HAUPERT, SHANNON                     HAUPFEAR, KYLAN                       HAUPRICHT, FRANKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAUPTLI, TONYA        Case 22-11238-LSS    DocBRITTANY
                                     HAUPTMAN,  2 Filed 11/30/22        Page 2063 of 5495
                                                                             HAUPTMAN, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HAUS, BETH                           HAUSCHILDT, AMY                         HAUSE, KATRINA
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HAUSE, LAUREN                        HAUSE, STEPHANIE                        HAUSER, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HAUSER, JEAN                         HAUSER, JENNY & JERRY                   HAUSER, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HAUSER, LAURA                        HAUSER, MARIAN                          HAUSER, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HAUSKENS, TAMATHA                    HAUSLER, DENNIS                         HAUSMAN, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HAUSMANN, CHRIS                      HAUSMANN, KARL & THERESA                HAUSMANN, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HAUSMANN, MICHELLE                   HAUSMANNS FLUGHAFENDUESSELDORF          HAUSNER, GLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




HAUSRATH, DIANA                      HAUSSER, ERIC                           HAUSTEIN, CHRISTIE
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HAUSTEIN-SPANHEIMER, ANNA            HAUTALA, JULIA                          HAUTAMAKI, LIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HAUTANIEMI, JESSICA   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAUTH, DAWNETTA                  Page 2064  of 5495
                                                                           HAUTZINGER, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAVAS, RACHEL                        HAVASY, AMY                           HAVEKOST, ROGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAVEL, SYLVIA                        HAVEMANN, JILLIAN                     HAVEN, CHARLES
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HAVEN, EMILY                         HAVENER, ALYSON                       HAVENER, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAVENS, CHARLES                      HAVENS, KYLE                          HAVENS, MARCHELLE
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HAVENS, STEPHANIE                    HAVENS, TERRY                         HAVER, EMILY
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HAVER, MARCIA                        HAVERFIELD, CHANDLER                  HAVERKAMP, EMILY
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HAVERSTEIN, ZOE                      HAVERSTOCK, PAIGE                     HAVEY, NICOLE
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HAVILAND, CHRISTINE                  HAVILDAR, ANAGHA                      HAVINS, ASHLEY
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HAVINS, LAUREN                       HAVINS, MICHELLE                      HAVLAK, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAVLIK, CARL          Case 22-11238-LSS
                                     HAVLIK, Doc
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                                                                            HAVRANEK, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HAVRANEK, GARY                        HAVRILLA, KATHRYN                      HAVRILLA, KRISTEN
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HAWAII DEPARTMENT OF COMMERCE AND     HAWAII DEPARTMENT OF COMMERCE AND      HAWAII DEPARTMENT OF COMMERCE AND
CONSUMER AFFAIRS                      CONSUMER AFFAIRS-HILO                  CONSUMER AFFAIRS-HONOLULU (MAIN
OFFICE OF CONSUMER PROTECTION         OFFICE OF CONSUMER PROTECTION          LOC.)
1063 LOWER MAIN ST, STE C-216         120 PAUAHI ST, STE 212                 OFFICE OF CONSUMER PROTECTION
WAILUKU, HI 96793                     HILO, HI 96720                         235 S BERETANIA ST STE 801
                                                                             HONOLULU, HI 96813

HAWAII DEPT OF LABOR AND INDUSTRIAL   HAWAII DEPT OF TAXATION                HAWAII DEPT OF TAXATION
RELATIONS                             3060 EIWA STREET 105                   54 S. HIGH STREET 208
830 PUNCHBOWL ST 321                  LIHUE, HI 96766-1889                   WAILUKU, HI 96793-2198
HONOLULU, HI 96813




HAWAII DEPT OF TAXATION               HAWAII DEPT OF TAXATION                HAWAII DEPT OF TAXATION
75 AUPUNI STREET 101                  P.O. BOX 275                           PO BOX 259
HILO, HI 96720-4245                   KAUNAKAKAI, HI 96748                   HONOLULU, HI 96809-0259




HAWAII SECURITIES BRANCH              HAWARAH, JAYME                         HAWARI, SHANNON
COMMISSIONER OF SECURITIES            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
KING KALAKAUA BUILDING
335 MERCHANT STREET, RM 205
HONOLULU, HI 96813



HAWBAKER, ELIZABETH                   HAWE-NDRIO, CAITLIN                    HAWES, JUSTINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HAWES, KATIE                          HAWES, LAUREE                          HAWES, LLOYD
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HAWES, MORGAN                         HAWES, STEPHANIE                       HAWK APPLICATIONS CORP (DBA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         SHIPHAWK)
                                                                             925 DE LA VINA ST. 300
                                                                             SANTA BARBARA, CA 93101




HAWK, ALEXANDRIA                      HAWK, ANDREW                           HAWK, C&C
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HAWK, JAMIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAWK, LANDI                      Page 2066  of 5495
                                                                           HAWK, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAWK, MEGAN                          HAWK, MEGHAN                          HAWKE, HAYLEE
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HAWKEN, SUSANA                       HAWKER, KATHARINE                     HAWKES, CARRIE
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HAWKES, KAREN                        HAWKEY, CHUCK                         HAWKEY, DESIRE
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HAWKEY, MARY                         HAWKINS, AMY                          HAWKINS, AUTUMN
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HAWKINS, BARBARA                     HAWKINS, BOBBI                        HAWKINS, BRIANNA
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HAWKINS, BROOKE                      HAWKINS, CARRIE                       HAWKINS, CHRISTINE
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HAWKINS, CHRISTINE                   HAWKINS, CLAIRE                       HAWKINS, COLLEEN
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HAWKINS, COURTNI                     HAWKINS, DEANDREY                     HAWKINS, DEREK
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HAWKINS, ELIZABETH                   HAWKINS, ERICA                        HAWKINS, ERIN
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HAWKINS, GEORGE       Case 22-11238-LSS    Doc
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HAWKINS, JEFF                        HAWKINS, JEFFREY                      HAWKINS, JORDAN
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HAWKINS, KATHERINE                   HAWKINS, KAYLA                        HAWKINS, KEYLEE
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HAWKINS, LADDA                       HAWKINS, LINDA                        HAWKINS, LISA
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HAWKINS, LOUISE                      HAWKINS, LUTHER                       HAWKINS, MADONNA
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HAWKINS, MARK                        HAWKINS, MELISSA                      HAWKINS, MIKAYLA
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HAWKINS, MORGAN                      HAWKINS, NATHAN                       HAWKINS, REBECCA
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HAWKINS, RICHARD                     HAWKINS, SANDRA                       HAWKINS, SCARLETT
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HAWKINS, SHARON                      HAWKINS, SPENCER                      HAWKINS, SPENCER
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HAWKINS, TANNER                      HAWKINS, TERESA                       HAWKINS, THOMAS
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HAWKINS, TIM          Case 22-11238-LSS    Doc
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                                                                           HAWKINS, 5495
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HAWKINS, VANESSA                     HAWKINS, VICKI                        HAWKINS-JONES, JACQUE
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HAWKINSON, ELIZABETH                 HAWKINSON, STEFANIE                   HAWKS, ALECIA
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HAWKS, JOSEPH                        HAWKS, JULIANNE                       HAWKS, TRAVIS
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HAWKSBY, COLLEEN                     HAWLEY, ANNE                          HAWLEY, DEBORAH
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HAWLEY, KELLI                        HAWLEY, LASHAWN                       HAWLEY, SHANNA
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HAWLEY, SHELLY                       HAWLEY, VICTORIA                      HAWLEY, WENDY
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HAWN, GIGI                           HAWN, HAILEY                          HAWORTH, ASHLEY
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HAWORTH, JACOB                       HAWORTH, KATE                         HAWRYLKO, CINDY
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HAWRYLUK, JAMES                      HAWS, AMANDA                          HAWS, JULIA
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HAWTHORNE, CHAD       Case 22-11238-LSS    Doc 2
                                     HAWTHORNE, DAVIDFiled 11/30/22   Page 2069 of 5495
                                                                           HAWTHORNE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAWTHORNE, JANAY                     HAWTHORNE, JENNIFER                   HAWTHORNE, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAWTHORNE, TATIANA                   HAWTHORNE, TINA                       HAWTHORNE, VANESSA
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HAWTHORNE, WHITNEE                   HAY MONSALVE, KERRI                   HAY, CAMILLE
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HAY, DEBANNEY                        HAY, JODI                             HAY, JOHN
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HAY, KARI                            HAY, KARI                             HAY, KARLIE
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HAY, KATE                            HAY, LINDA                            HAY, LINDSAY
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HAY, PATTI                           HAY, REILLY                           HAY, TERRI
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HAY, VICTORIA                        HAYASHI, BRITTNEY                     HAYASHI, CAMILA
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HAYASHI, KATHERINE                   HAYCOCK, GILES                        HAYCOX, LINDA
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HAYDEL, CRAIG         Case 22-11238-LSS
                                     HAYDENDoc     2 Filed
                                              BEVERAGE CO. 11/30/22   Page 2070
                                                                           HAYDENofBEVERAGE
                                                                                    5495 COMPANY
ADDRESS AVAILABLE UPON REQUEST       2910 E. AMITY RD                      2910 E. AMITY ROAD
                                     BOISE, ID 83716                       BOISE, ID 83716




HAYDEN COHEN                         HAYDEN ROSE                           HAYDEN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAYDEN, ANANDA                       HAYDEN, DANIEL                        HAYDEN, JESSICA
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HAYDEN, JOHN                         HAYDEN, MARJORIE                      HAYDEN, MELINDA
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HAYDEN, MELISSA                      HAYDEN, MICHAEL                       HAYDEN, SHANDA
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HAYDEN, SHEA                         HAYDEN, THOMAS                        HAYDOCK, ROBERT
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HAYDON, JOSHUA                       HAYDON, KELLY                         HAYDU, ELIZABETH
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HAYE, BRITTANY                       HAYED, RYAN                           HAYEK, AMIR
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HAYEK, GHENWA                        HAYEN, MOLLY                          HAYENHJELM, AMY
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HAYER, EMILY                         HAYES, ADAM                           HAYES, ALAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAYES, ALESHIA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAYES, ALICE                     Page 2071
                                                                           HAYES,of 5495
                                                                                 ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAYES, ALICIA                        HAYES, ALLIE                          HAYES, ALLISON
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HAYES, ALYSSA                        HAYES, AMANDA                         HAYES, AMANDA
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HAYES, AMANDA                        HAYES, AMBER                          HAYES, ARIANA
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HAYES, ARIEL                         HAYES, AZUREDEE                       HAYES, BETH
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HAYES, BOB                           HAYES, BRITTANY                       HAYES, BROOKE
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HAYES, BROOKS                        HAYES, BRYAN                          HAYES, CALLIE
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HAYES, CAMERON                       HAYES, CAMERON                        HAYES, CARISSA
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HAYES, CAROL                         HAYES, CASEY                          HAYES, CATHY
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HAYES, CHANTAL                       HAYES, CHRISTINA                      HAYES, CONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAYES, CORINNE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAYES, COURTNEY                  Page 2072
                                                                           HAYES,of 5495
                                                                                 COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAYES, DERRIN                        HAYES, DIANA M.                       HAYES, DINAH
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HAYES, DONOVAN                       HAYES, ELIZABETH                      HAYES, ELIZABETH
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HAYES, ELIZABETH                     HAYES, EMILY                          HAYES, ERIN
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HAYES, GESSICA                       HAYES, HOLLY                          HAYES, JACQUI
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HAYES, JAMES                         HAYES, JAMES                          HAYES, JAMI
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HAYES, JEAN                          HAYES, JENNIFER                       HAYES, JENNY
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HAYES, JESSICA                       HAYES, JESSICA                        HAYES, JOSH
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HAYES, JOSHUA                        HAYES, JOY                            HAYES, JULIUS
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HAYES, KAELA                         HAYES, KATE                           HAYES, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAYES, KATHERINE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAYES, KATHRYN                   Page 2073
                                                                           HAYES,of 5495
                                                                                 KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAYES, KEITH                         HAYES, KENNETH                        HAYES, KERRY
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HAYES, KEVIN                         HAYES, KIERSTEN                       HAYES, KIM
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HAYES, KIRSTEN                       HAYES, KRISTEN                        HAYES, KRISTIN
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HAYES, KYRA                          HAYES, LAURA                          HAYES, LAURIE
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HAYES, LAYNE                         HAYES, LEAH                           HAYES, LETICIA
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HAYES, LISA                          HAYES, LISA                           HAYES, LUCY
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HAYES, MAKENZI                       HAYES, MARY KAY                       HAYES, MARY
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HAYES, MAUREEN                       HAYES, MEGHAN                         HAYES, MELANIE
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HAYES, MELISSA                       HAYES, MELODY                         HAYES, MICHAEL
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HAYES, MITCHELL       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HAYES, MOLLIE                    Page 2074
                                                                           HAYES,of 5495
                                                                                 NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAYES, PATRICK                       HAYES, PATRICK                        HAYES, PORTIA
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HAYES, RILEY                         HAYES, ROBERT                         HAYES, RUSSELL
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HAYES, RYAN                          HAYES, SAMANTHA                       HAYES, SARA
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HAYES, SARAH                         HAYES, SHANTE                         HAYES, SHELBY
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HAYES, SHELLY                        HAYES, TARA                           HAYES, TATIANA
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HAYES, TAWANDA                       HAYES, TERRELL                        HAYES, TODD
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HAYES, ZACHARY                       HAYES-WALLACE, SYLVIE                 HAYFLICH, SAM
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HAYFORD, ANTOINETTE                  HAYGARTH, KELLY                       HAYGOOD, LISA-MARIE
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HAYHOE, TOM                          HAYKO, EVA LYNN                       HAYLEY DILL
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HAYLEY KATHERINE BLACKSTOCK          HAYLEY Doc 2 Filed 11/30/22
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HAYLOCK, ALMA                        HAYMAN, ANNA                             HAYMAN, ANNIKA
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HAYMAN, DEBORAH                      HAYMAN, LAUREN                           HAYMES, MADISON
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HAYMORE, BETTY                       HAYNEEDLE INC                            HAYNES, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




HAYNES, ALLAN                        HAYNES, ANDREA                           HAYNES, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




HAYNES, BRITNEY                      HAYNES, CAYLOR                           HAYNES, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




HAYNES, CHRISTOPHER                  HAYNES, COREN                            HAYNES, ELENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




HAYNES, ELIZABETH                    HAYNES, ELOISE                           HAYNES, EMMA
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HAYNES, ERIC                         HAYNES, ERICA                            HAYNES, ERIN
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HAYNES, FAYE                         HAYNES, HAYLEY                           HAYNES, JAMES
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HAYNES, JENNIFER      Case 22-11238-LSS
                                     HAYNES,Doc  2 Filed 11/30/22
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                                                                           HAYNES, 5495
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HAYNES, KIM                          HAYNES, MARTIN                        HAYNES, MELINDA
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HAYNES, MS. LESLIE                   HAYNES, NICOLE                        HAYNES, RACHEL
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HAYNES, REBECCA                      HAYNES, SHANNON                       HAYNES, SHARON
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HAYNES, STEVEN                       HAYNESWORTH, SHAUNDELLE               HAYNIE, AMANDA
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HAYNIE, BETHANY                      HAYNIE, ISABEL                        HAYNIE, MELISSA
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HAYNIE, SEAN                         HAYS, AUSTIN                          HAYS, CATHY
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HAYS, DIANNA                         HAYS, JACKIE                          HAYS, JAMES
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HAYS, JEANETTE                       HAYS, JENNIFER                        HAYS, JENNIFER
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HAYS, KRISTEN                        HAYS, LEAH                            HAYS, MARCI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAYS, MICHAEL         Case 22-11238-LSS     Doc 2& LANSING
                                     HAYS, MONICA    Filed 11/30/22   Page 2077   of 5495
                                                                           HAYS, PEYTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAYS, SONDRA                         HAYS, SONNY                           HAYS, TYRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAYS, WILLIAM                        HAYS-BONACCOLTO, EILEEN               HAYS-BROWN, SABRINA
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HAYSE, CAROLINE                      HAYSLIP, SHIELA                       HAYSON, AMY
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HAYTER, BRIAN                        HAYTER, EILEEN                        HAYTON, PAMELA
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HAYTON, SARA                         HAYWARD, BRITTANY                     HAYWARD, DARLA
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HAYWARD, DAVID                       HAYWARD, GABRIELLE                    HAYWARD, HOLLY
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HAYWARD, LUCIE                       HAYWARD, QUINN                        HAYWARD, TONI
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HAYWOOD, BRANDON                     HAYWOOD, CORINA                       HAYWOOD, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAYWOOD, KRISTIN                     HAYWOOD, NATHANIEL                    HAYWOOD, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAYWORTH, ADAM        Case 22-11238-LSS    DocHELEN
                                     HAYWORTH,  2 Filed 11/30/22      Page 2078 of 5495
                                                                           HAYWORTH, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAZAEL REYNOSA                       HAZAH, AHMED                          HAZAN, ALANA
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HAZAN, AMIR                          HAZAN, MARISSA                        HAZARD, ELENA
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HAZARD, WHITNEY                      HAZEL NOARBE                          HAZEL, AUDREY
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HAZEL, CHERYL                        HAZEL, KELI                           HAZEL, MELISSA
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HAZEL, TARA                          HAZELBAKER, JAYMA                     HAZELBAKER, LOGAN
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HAZELGROVE, LEE                      HAZELL, GIA                           HAZELL, ISABELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAZELTON, ALYSON                     HAZELTON, EMILY                       HAZELWOOD FARM, LLC (VN GRAPHICS)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        14831 NE 87TH STREET
                                                                           REDMOND, WA 98052




HAZEN, INGA                          HAZEN, KATE                           HAZLE, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HAZLETON, RACHEL                     HAZLETT, ANNE                         HAZLETT, ANTOINETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HAZLETT, OLIVIA       Case 22-11238-LSS    Doc MEL
                                     HAZLEWOOD, 2 Filed 11/30/22      Page 2079 of 5495
                                                                           HAZLEWOOD, YOKO
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HAZUKA, ANNE                         HAZZA, ADRIENNE                       HE, JIAYUE
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HE, YIWEN                            HE, YIWEN                             HEABERLIN, KATIE
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HEABLER, JESSICA                     HEACOCK, ELIZABETH                    HEACOCK, GRETCHEN
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HEACOX, CATHERINE                    HEACOX, MORGIN                        HEAD, ALAN
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HEAD, CAREY                          HEAD, CAREY                           HEAD, CYNTHIA
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HEAD, DANIEL                         HEAD, DANIEL                          HEAD, DAVID
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HEAD, HALEY                          HEAD, JOANN                           HEAD, JOE
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HEAD, JOHN                           HEAD, KARONE                          HEAD, KRISTIN
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HEAD, LAUREN                         HEAD, LESLIE                          HEAD, MADDIE
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HEAD, RACHEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HEAD, SARAH                      Page 2080   of 5495
                                                                           HEAD, TIFFANY
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HEADEN, FATEEMAH                     HEADEN, ROSE                          HEADLAND, MOLLY
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HEADLEY, ANDREW                      HEADLEY, BRIANA                       HEADLEY, RACHEL
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HEADLEY, SHANNON                     HEADLEY, STACY                        HEADLEY, THOR
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HEADLINES & HEROES, LLC              HEADRICK, MEGAN                       HEADRICK, TAMARA
115 W. 18TH ST., 2ND FLOOR           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10011




HEADY, JUDY AND TOM                  HEADY, MEGAN                          HEAFY, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEAGHNEY, ELLEN                      HEAGLE, DAVID                         HEAGY, PATTY
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HEAL, FRANK                          HEALD, DAWN                           HEALD, ELIZABETH
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HEALD, JEFF                          HEALD, KOURTNEY                       HEALD, LEAH
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HEALE, CAMMIE                        HEALEY, ABBY                          HEALEY, DEBBIE
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HEALEY, JENNIFER      Case 22-11238-LSS
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HEALEY, PANTEHA                         HEALEY, SARAH                           HEALEY, SEAN
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HEALEY, STEFANI                         HEALEY, TINA                            HEALEY, TOM
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HEALEY, TYLER                           HEALTH, KALEB                           HEALTH, SHANTEL
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HEALTHY SPOT                            HEALTHYCOMM                             HEALY, AMY
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HEALY, ANN                              HEALY, BEN                              HEALY, BRIAN
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HEALY, CAITLIN                          HEALY, CAITLIN                          HEALY, CHRIS
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HEALY, CHRISTINE                        HEALY, CHRISTINE                        HEALY, CLAIRE
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HEALY, DARCIE                           HEALY, GABRIELLE                        HEALY, GRACE
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HEALY, HOLLIS                           HEALY, KINDALL                          HEALY, KRISTEN
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HEALY, LINDSEY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HEALY, MACKENZIE                 Page 2082
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HEALY, MARY                          HEALY, MEGAN                          HEALY, MEGAN
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HEALY, REBECCA                       HEALY, RYAN                           HEALY, SARAH
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HEALY, SHANNON                       HEALY, YANIQUE                        HEALY, YUKI
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HEAMAN, MADISON                      HEANEY, CHRISTINE                     HEANEY, KATHRYN
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HEANEY, MADELINE                     HEANEY, PATRICK                       HEANEY, TRICIA
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HEAP, MICHELE                        HEAPHY, ELIZABETH                     HEAPHY, FAITH
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HEAPHY, LAVONNE                      HEAPS, JOANNA                         HEARD, AMANDA
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HEARD, ANIKA                         HEARD, JACKIE                         HEARD, MADISON
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HEARD, MELISSA                       HEARD, ROBINAMARA                     HEARD, SHANNON
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HEARD, THOMAS         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                            HEARLD, 5495
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HEARN, ABAGALE                       HEARN, BROOKS                          HEARN, DENNIELLE
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HEARN, DONNA                         HEARN, DOROTHY                         HEARN, KATHRYN
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HEARN, KATIE                         HEARN, MARY ANN                        HEARN, REBEKAH
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HEARNE, AMY                          HEARNE, LAUREN                         HEARON, CAITLIN & KEITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEARON, MARK                         HEARST COMMUNICATIONS, INC. (COSMO)    HEARST COMMUNICATIONS, INC. (COSMO)
ADDRESS AVAILABLE UPON REQUEST       214 NORTH TRYON STREET                 PO BOX 25883
                                     CHARLOTTE, NC 28202                    LEHIGH VALLEY, PA 18002-5883




HEARTBEAT TECHNOLOGIES, INC.         HEARTFIELD, HANNAH GRACE               HEARTLEY, LINDA
1507 7TH STREET 441                  ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90401




HEARTQUIST, ERICA                    HEARTY, KAT                            HEASLEY, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEASLIP, LINA                        HEATER, TERA                           HEATH MARR
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HEATH, ADAM                          HEATH, ASHLEY                          HEATH, AUGIE
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HEATH, DEREK          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HEATH, DORIS                     Page 2084
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HEATH, HALEY                         HEATH, HEIDI                          HEATH, JENNIFER
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HEATH, JONATHON                      HEATH, KATIE                          HEATH, KELLY
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HEATH, LEIGH                         HEATH, MARY                           HEATH, NICOLE
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HEATH, PAIGE                         HEATH, PAMELA                         HEATH, RACHEL
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HEATH, RAY                           HEATH, REBECCA                        HEATH, RENAE
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HEATH, STEVIE                        HEATHCOCK, ASHLEY                     HEATHER A GIUSTINO
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HEATHER BARRITT                      HEATHER BARTELS                       HEATHER BENEDICT
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HEATHER BROWN                        HEATHER BUCHMA                        HEATHER CONGDEN
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HEATHER CRUMMER                      HEATHER DEVINEAUX                     HEATHER EDGMON
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HEATHER GIBBS         Case 22-11238-LSS    Doc
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HEATHER HOVANDER                     HEATHER JORDAN                        HEATHER KELSO
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HEATHER KIVI                         HEATHER KROLL                         HEATHER L MCKAY
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HEATHER LAZEK                        HEATHER MACHARG                       HEATHER MILLER
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HEATHER MONCEL                       HEATHER MORRIS                        HEATHER OSTASH
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HEATHER PARNHAM                      HEATHER SEKSINSKY                     HEATHER SMITH
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HEATHER SOCKI                        HEATHER STODDARD                      HEATHER STONE
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HEATHER WHITAKER                     HEATHER, MARTY                        HEATHERLY, SARAH
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HEATHERMAN, SAMANTHA                 HEATON, BETH                          HEATON, GINA
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HEATON, KATIE                        HEATON, MIKE                          HEATON, RYAN
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HEATON, TANNER        Case 22-11238-LSS
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HEAVER, GWYN                         HEAVEY, SARAH                         HEAVICAN, BRENT
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HEBAN, GREG                          HEBARD, EMILY                         HEBARD, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEBB, MEGAN                          HEBBALKAR, SHARDA                     HEBBELINCK, ANNMARIE
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HEBBRING, JASON                      HEBEL, JAMIE                          HEBENSTREIT, FELICIA
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HEBENSTREIT, KATHRYN                 HEBERER, MARISSA                      HEBERLE, CONNOR
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HEBERLEE, BRENT                      HEBERLEIN, JACOB                      HEBERLEIN, JAYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEBERLEIN, MELISSA                   HEBERT, AMANDA                        HEBERT, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEBERT, CHAD                         HEBERT, CRYSTAL                       HEBERT, ERIKA
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HEBERT, JACOB                        HEBERT, JAMIE                         HEBERT, JEANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HEBERT, JOHN          Case 22-11238-LSS
                                     HEBERT,Doc  2 Filed 11/30/22
                                             KERRI                    Page 2087 ofKERRI
                                                                           HEBERT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEBERT, LAURA                        HEBERT, LAUREN                        HEBERT, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEBERT, MEGAN                        HEBERT, MINDY                         HEBERT, SHARISSE
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HEBERT, WINNIFRED                    HEBERTON, AUBREY                      HEBLER, KEELY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEBRAND, OLIVIA                      HECHINGER, MEGHAN                     HECHT, KAYLEE
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HECHT, KIM                           HECHT, SHIRLEY                        HECK, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HECK, KELLI                          HECK, TESSA                           HECKATHORN, MELISSA
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HECKEL, AMY                          HECKEL, KAREN                         HECKENBACH, ANNE
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HECKENLIVELY, JOHN                   HECKER, JASON                         HECKER, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HECKER, LAUREL                       HECKLER DESIGN                        HECKLER, DANA
ADDRESS AVAILABLE UPON REQUEST       735 W GRAND AVE                       ADDRESS AVAILABLE UPON REQUEST
                                     PHOENIX, AZ 85007
HECKLER, GRANT        Case 22-11238-LSS    Doc
                                     HECKMAN,   2 Filed 11/30/22
                                              ASHLEY                  Page 2088 of 5495
                                                                           HECKMAN, CALEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HECKMAN, EMILY                       HECKMAN, JAMIE                        HECKMAN, JESSICA AND CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HECKMAN, KERRY                       HECKMAN, LARA                         HECKMAN, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HECKMANN, AMANDA                     HECKMANN, AUGUST                      HECKT, GABRIEL
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HECOMAN, KARLIE                      HECTOR CUEVAS RODRIGUEZ               HECTOR NIEVES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HECTOR PACHECO                       HECTOR, DELANEY                       HECTOR, DEVIN
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HEDBERG, BOB                         HEDBERG, ELISE                        HEDDE, KIRSTEN
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HEDDE, LAUREN                        HEDDEN, AARON                         HEDDEN, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEDDEN, DAYNA                        HEDDEN, ERIKA                         HEDE, KENNETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEDE, MARY-LOU                       HEDEEN, STACY                         HEDELT, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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HEDGEBETH, ELAYNA                    HEDGECOTH, WENDY                        HEDGEMAN, JASMINE
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HEDGEPETH, PAULA                     HEDGES FAMILY ESTATE                    HEDGES, ALEXIS
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HEDGES, AUSTIN                       HEDGES, COREY                           HEDGES, COREY
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HEDGES, HALEY                        HEDGES, JUSTIN                          HEDGES, TAYLOR
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HEDGIS, JAMES                        HEDIN, DEANNA                           HEDIN, LAUREN
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HEDLAND, JENNIFER                    HEDLESTON, SARAH                        HEDLEY AND BENNETT, INC.
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HEDLEY, ZOE                          HEDLUND, JENNIFER                       HEDLUND, KAYLA
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HEDLUND, WHITNEY                     HEDMAN, KARA                            HEDRICH, KATIE
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HEDRICK, AMANDA                      HEDRICK, JESSICA                        HEDRICK, JIM
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HEDRICK, KALIE        Case 22-11238-LSS    Doc
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                                                                           HEDRICK, 5495
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HEDRICK, VIRGINIA                    HEDSTROM, LAURA                       HEDT, KAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEDUM, ASHLEY                        HEDY SFERRA                           HEE, SONG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEEG, ALLISON                        HEEKIN, ERIN                          HEEMSOTH, COURTNEY
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HEENEY, PEGGYANN                     HEENEY, STEPHANIE                     HEEP, KALEY
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HEERDEGEN, KEITH                     HEEREN, NATE                          HEERES, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEERSINK, JORDAN                     HEESEN, CLAUDIA                       HEESTAND, BREE
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HEET, KATHLEEN                       HEETER, JEN                           HEETLAND, KEVIN
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HEFFELFINGER, NANCY                  HEFFERNAN, ASHLEIGH                   HEFFERNAN, COLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEFFERNAN, DAN                       HEFFERNAN, DEBORAH                    HEFFERNAN, GII
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HEFFERNAN, KATE       Case 22-11238-LSS    DocKATIE
                                     HEFFERNAN, 2 Filed 11/30/22      Page 2091  of 5495
                                                                           HEFFERNAN, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEFFERNAN, MALLORY                   HEFFERNAN, SAMANTHA                   HEFFERON, GERALDINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEFFERON, JASON                      HEFFERON, LAUREN                      HEFFLER, MARCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEFFNER, DOUGLAS                     HEFFRON, LAURA                        HEFLEY, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEFLIN, CHRISTINA                    HEFLIN, MILES                         HEFLIN, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEFLIN, T                            HEFNER, AMANDA                        HEFNER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEFNER, BETH                         HEFNER, JENNIFER                      HEFNER, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEFT, KRISTEN                        HEFTY, RITA                           HEFTY, TRESE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGARTY, CATE                        HEGARTY, CONNIE                       HEGARTY, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGARTY, GREG                        HEGARTY, MICHAEL                      HEGDAHL, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HEGDE, AVANI          Case 22-11238-LSS
                                     HEGDE, Doc  2 Filed 11/30/22
                                            MONICA                    Page 2092  of 5495
                                                                           HEGE THORBJORNSEN STARLING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGEDUS, ASHLEY                      HEGEDUS, RYAN                         HEGEMAN, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGEMAN, MELISSA                     HEGEMAN, MICHAEL                      HEGENWALD, HAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGER, AMY                           HEGER, CAROLYN                        HEGGADE, MANJU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGGEN, CARLI                        HEGGIE, ELAINE                        HEGGLIN, MARCEL
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HEGGS, ALYCIA                        HEGI, KIM                             HEGLAND, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGLAND, REID                        HEGLAND, ROBYN                        HEGLEY, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGLIE, KASEY                        HEGMANN, ANDREW                       HEGNGI, PARNELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGRAT, KATY                         HEGSETH, KATIE                        HEGYI, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEGYI, TERESA                        HEHN, JANET                           HEHNKE, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HEI, HILLARY          Case 22-11238-LSS    Doc
                                     HEIBERG,    2 Filed 11/30/22
                                              JAMIE                       Page 2093   of 5495
                                                                               HEID, CAMILLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




HEID, ELAINE                         HEIDAR ZOHREHEI                           HEIDARAN, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




HEIDEL, AIZA                         HEIDELBERG DISTRIBUTING CINCINNATI        HEIDELBERG DISTRIBUTING CLEVELAND
ADDRESS AVAILABLE UPON REQUEST       1518 DALTON STREET                        9101 E PLEASANT VALLEY RD
                                     CINCINNATI, OH 45214                      INDEPENDENCE, OH 44131




HEIDELBERG DISTRIBUTING CO.          HEIDELBERG DISTRIBUTING CO.               HEIDELBERG DISTRIBUTING COLUMBUS
2245 PROGRESS DRIVE                  3601 DRYDEN RD                            3801 PARKWEST DR
HEBRON, KY 41048                     MORAINE, OH 45439                         COLUMBUS, OH 43228




HEIDELBERG DISTRIBUTING DAYTON       HEIDELBERG DISTRIBUTING KENTUCKY          HEIDELBERG DISTRIBUTING LORAIN
3601 DRYDEN ROAD                     2245 PROGRESS DRIVE                       5901 BAUMHART RD
MORAINE, OH 45439                    HEBRON, KY 41048                          LORAIN, OH 44053




HEIDELBERG DISTRIBUTING TOLEDO       HEIDELBERG DISTRIBUTING                   HEIDELBERG, MELISSA
912 THIRD ST                         2245 PROGRESS DRIVE                       ADDRESS AVAILABLE UPON REQUEST
PERRYSBURG, OH 43551                 HEBRON, KY 41048




HEIDELBERG, NICOLE                   HEIDEMANN, SHERRI                         HEIDEN, GAYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




HEIDEN, KALISTA                      HEIDENBERG, ANN MARIE                     HEIDENREICH, ANGELICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




HEIDENREICH, ANGIE                   HEIDENREICH, ANGIE                        HEIDENREICH, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




HEIDENREICH, TYLER                   HEIDENWOLF, JENNIFER                      HEIDER, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
HEIDI ANN WOODERSON Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                   HEIDI DEMERS                      Page 2094   of 5495
                                                                          HEIDI HAMSTREET
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HEIDI MEYER CURRY BROOKS            HEIDI NELSON                           HEIDI RAMIREZ BROWN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEIDI SMOOT, HEIDI                  HEIDI STANYA                           HEIDI WHEELER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEIDKAMP, CATIE                     HEIDKAMP, TAYLOR                       HEIDORN, KATHRYN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEIDRICH, ALEXANDRA                 HEIDT, CHELSEA                         HEIER-RAINEY, CAROLE
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HEIFETZ, MASHA                      HEIFETZ, SHELDON                       HEIFLER, MEREDITH
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HEIGEL, TRESSA                      HEIGL, TAYLOR                          HEIKE, ANNE
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HEIKENS, EMILY                      HEIKES, TIFFANY                        HEIKO BARAN
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HEIL, HANNAH                        HEIL, JENNIE                           HEIL, JOE
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HEIL, KASEY                         HEIL, KELSEY                           HEILBORN, DAKOTA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HEILER, PAMELA        Case 22-11238-LSS
                                     HEILES, Doc  2 Filed 11/30/22
                                             ELIZABETH                Page 2095  of 5495
                                                                           HEILFERTY, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEILGEIST, STACY                     HEILIG, KELLY                          HEILMAN, ALLI
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HEILMAN, KASEY                       HEILMAN, KATHLEEN                      HEILMAN, KELSEY
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HEILSKOV, CARLY                      HEIM, ALAYNA                           HEIM, BRENNA
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HEIM, DAVID                          HEIM, ELIZABETH                        HEIM, KATIE
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HEIM, NORMA                          HEIM, PETER                            HEIM, YOLANDA
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HEIMAN, LEE                          HEIMAN, NIKKI                          HEIMANN, LES
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HEIMANN, NATALIE                     HEIMBACH, BRIAN                        HEIMBERGER, CASEY
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HEIMBUCH, ANDREW                     HEIMERL, BECKY                         HEIMERL, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEIMOS, JAMIE                        HEIMOWITZ, SIOBHAN                     HEIMOWSKI, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HEIMPEL, CAVAN        Case 22-11238-LSS    Doc
                                     HEIMPEL,    2 Filed 11/30/22
                                              JENNIFER                Page 2096
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEIMSOTH, ANNIE                      HEIN, CHAD                            HEIN, CHRIS
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HEIN, DANIELLE                       HEIN, EMILY                           HEIN, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEIN, JULIE                          HEIN, KRISTIN                         HEIN, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEIN, MADELYN                        HEIN, MATTHEW                         HEIN, NEOLIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEIN, PAYTON                         HEIN, ROGER                           HEINAMAN, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINAUER, JENNIFER                   HEINBACH, CHELSEA                     HEINBAUGH, NICOLE
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HEINBERGER, CANDI                    HEINDEL, BROOKE                       HEINDORFF, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINE, ALLISON                       HEINE, ALYSSA                         HEINE, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINE, COLLEEN                       HEINE, MELISSA                        HEINE, ROBERT
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HEINE, WILLIAM        Case 22-11238-LSS    Doc
                                     HEINEMAN,   2 Filed 11/30/22
                                               HEATHER                Page 2097  of 5495
                                                                           HEINEMANN, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINEMEYER, ROSS                     HEINEN, CARRIE                        HEINEN, DENNIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINEN, KATRINA                      HEINEN, LUKE                          HEINERICHS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINEY, AMBERLYN                     HEINHORST, NATALIE                    HEINICKE, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINKEL, LISA                        HEINKELE, STEPHANIE                   HEINL, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINO, ABIGAIL                       HEINOLD, JUSTIN                       HEINRICH, ALEXIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINRICH, MATT                       HEINRICH, TAWNYA                      HEINRICH, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINRICHS, CASANDRA                  HEINS, CHRIS                          HEINSEN, JORDYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINSMAN, KIMBERLY                   HEINTSCHEL, JOHN                      HEINTZ, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEINTZ, SOPHIE                       HEINTZMAN, CALLIE                     HEINZ, AMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HEINZ, CASSANDRA      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HEINZ, GREGORY                      Page 2098   of 5495
                                                                              HEINZ, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




HEINZ, PATRICK                          HEINZ, SARA                            HEINZ, STELLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEINZEN, KORY                           HEINZER, JUSTIN                        HEINZERLING, DON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEINZERLING, KELLY                      HEINZINGER, DAVID                      HEINZL, GEOFFREY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEIRLOOM                                HEISDORF, AMANDA                       HEISE, ANDREA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEISE, GREGORY                          HEISE, REBECCA                         HEISELER, CURT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEISELER, KORAL                         HEISENBERG, LARS                       HEISER, KELERIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEISER, KYLE                            HEISER, MICHELLE                       HEISER, TIM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEISERMAN, TERESA                       HEISEY, AMANDA                         HEISEY, CASSIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HEISICK, JENNI                          HEISKELL, SHELLEY                      HEISLER, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HEISLER, RAYMOND      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HEISS, JASMINE                   Page 2099   of 5495
                                                                           HEISS, PARRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEISS, ROXANNE                       HEISS-KRANTZ, TERESA                  HEIST, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEIST, MARIAH                        HEISTAND, HEATHER                     HEISTER, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEISTER, MEGAN                       HEIT, ELIZABETH                       HEIT, KORINNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEITBRINK, LAUREN                    HEITHAUS, CRYSTAL                     HEITIN, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEITKAMP, CHERYL                     HEITMAN, EMMA                         HEITMANN, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEITT, GREG                          HEITZ WINE CELLARS, INC               HEITZMAN, NANCY
ADDRESS AVAILABLE UPON REQUEST       500 TAPLIN ROAD                       ADDRESS AVAILABLE UPON REQUEST
                                     SAINT HELENA, CA 94574




HEJAZI, CAMERON                      HEJZA, LINDSEY                        HEKELNKAEMPER, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEKRDLE, SHANNON                     HELBER, RYAN                          HELBERG, JADA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELBERG, SAMANTHA                    HELBIG, GINA                          HELBING, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HELBLEY, JOSHUA       Case 22-11238-LSS     Doc
                                     HELBLING,    2 Filed 11/30/22
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                                                                           HELBOCK  5495ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELCK, MIRANDA                       HELD, ALYSA                            HELD, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELD, JULIA                          HELD, RACHEL                           HELD, ROGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELD, SARAH JANE                     HELD, STACEY                           HELDBERG, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELDRETH, CLAUDETTE                  HELDRICH, STEPHANIE                    HELDRING, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELDRING, JENNIFER                   HELEM, ERICKA                          HELEN DONALD DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELEN LIM                            HELEN M ATHEY                          HELEN OWEN, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         500 N RAINBOW BLVD STE 300
                                                                            LAS VEGAS, NV 89107




HELEN RUAN                           HELEN SMITH                            HELEN, KERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELENA NORD LEE                      HELENA RUFFIN                          HELENA WITH CAKES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




HELENE STETCH                        HELFAND, CARLY                         HELFER, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HELFER, VICTORIA      Case 22-11238-LSS     Doc
                                     HELFRICH,   2 Filed 11/30/22
                                               DANIEL                 Page 2101  of 5495
                                                                           HELFRICH, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELFRICH, LINDA                      HELFRICH, PATTI                        HELFRICK, BRENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELGEMOE, TANI                       HELGERSON, RACHEL                      HELGERT, MALORIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELGERT, STEVI                       HELGESON, JOLENE                       HELGESON, LYNDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELGESTAD, KAREN                     HELGET, DAWN                           HELGOTH, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELGOTH, LINDSAY                     HELIE, AMANDA                          HELIES, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELIN, ELIZABETH                     HELINSKI, JESSICA                      HELIO SEPULVEDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELIOT, REBECCA                      HELLAND, ANGELA                        HELLE, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLENBRAND, MARGY                   HELLENTHAL, ROBERTA                    HELLER, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLER, ALEXA                        HELLER, ANDREW                         HELLER, BRADLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HELLER, BRANDY        Case 22-11238-LSS
                                     HELLER,Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




HELLER, CLIFF                           HELLER, COLTON                         HELLER, DAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLER, DAWN                            HELLER, GINA                           HELLER, HEIDI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLER, KYLE                            HELLER, MARI                           HELLER, MOLLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLER, NINA                            HELLER, PEYTON                         HELLER, RACHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLER, SARAH                           HELLER, VERONICA                       HELLERER, JAMES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLERMAN, REBECCA                      HELLER-SCHWARTZ, HOLLY                 HELLIGE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLING, MONICA                         HELLINGS, MIKE                         HELLIWELL, GEORGIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLMANN, CHRISTINA                     HELLMANN, HILLARY                      HELLMANN, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HELLO FAX                               HELLO VINO, INC.                       HELLOFAX
ADDRESS UNAVAILABLE AT TIME OF FILING   156 2ND STREET                         ADDRESS UNAVAILABLE AT TIME OF FILING
                                        SAN FRANCISCO, CA 94105
HELLOFRESH              Case 22-11238-LSS    Doc
                                       HELLUMS,    2 Filed 11/30/22
                                                BRENDA                  Page 2103  of CHRISTINA
                                                                             HELLUMS, 5495
40 W 25TH ST. 6TH FLOOR                ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10010




HELLYAR, JOE                          HELM, APRIL                             HELM, ASHLYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HELM, CHELSEA                         HELM, JOSH                              HELM, KAYLA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HELM, LAURA                           HELM, NADJA                             HELM, NICOLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HELM, SPENCER                         HELMANN, MIKE                           HELMCKE, GRACE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HELM-DAVIS, SARA                      HELME, BRIAN                            HELME, MORGAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HELME, SANDRA                         HELMER, ANNE                            HELMER, DIANE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HELMER, KELLI                         HELMER, KRISTIN                         HELMERICKS, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HELMES, PATRICK                       HELMICK, TERESA                         HELMIN-CLAZMER, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HELMING, LEXI                         HELMINIAK, HANNAH                       HELMLE, MARY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HELMS, ALEXANDRIA     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HELMS, BARBARA                   Page 2104
                                                                           HELMS,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELMS, BRIDGET                       HELMS, ERICA                          HELMS, JOHANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELMS, LESLIE                        HELMS, TREVOR                         HELMS, WADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELMSTETTER, CYNTHIA                 HELMSTETTER, CYNTHIA                  HELMSTETTER, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELMUELLER, JACOB                    HELMUTH, ALEXANDRIA                   HELMUTH, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELMUTH, SARA                        HELNE, TARU                           HELPBRINGER, SALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELPER, RICHARD                      HELPERT, SABRINA                      HELPHREY, DENNIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELSETH, KATHERINE                   HELSINGHOFF, PER                      HELT, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELTEN, STACY                        HELTERBRAND, NATE                     HELTNE, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HELTON, AMBER                        HELTON, BONNIE                        HELTON, BRENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HELTON, BURCHEN D.    Case 22-11238-LSS
                                     HELTON,Doc 2 Filed 11/30/22
                                             CAROLINE                 Page 2105 ofDAN
                                                                           HELTON, 5495
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HELTON, HEATHER                      HELTON, KRISTEN                       HELTON-AMOS, SHANNON
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HELTZINGER, HALEY                    HELVEY, CHRISTINA                     HELWIG, AVERY
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HELWIG, ETHAN                        HEMANN, JESSICA                       HEMANT JAIN
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HEMBEKIDES, PAUL                     HEMBERG, DAVID                        HEMBLING, JORDAN
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HEMINGER, MARCIA                     HEMION, MATT                          HEMKER, LISA
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HEMMIG, KAROLYN                      HEMMING, CLAUDIA                      HEMMINGER, FRED
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HEMMINGER, KELLY                     HEMP, ASHLEY                          HEMPEL, JENNIFER
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HEMPHILL - KENT, RAMONA              HEMPHILL, C                           HEMPHILL, CALEB
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HEMPHILL, CLAIRE                     HEMPHILL, DEONDRA                     HEMPHILL, ELIZABETH
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HEMPHILL, ERIC                       HEMPHILL, MARGARET                    HEMPILL, EMILY
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HEMPSTEAD, TAYLOR                    HEMWALL, HOLLY                        HENAO, CLAUDIA
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HENAO, MAURICIO                      HENAO, TANIA                          HENARD, JALYSA
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HENCHEL, REBECCA                     HENCKEL, HEIDI                        HENCY, DEE
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HENDERER, ANNA        Case 22-11238-LSS    Doc
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                                                                           HENDERSHOT, ABIGAIL
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HENDERSHOT, ABIGAIL                  HENDERSHOT, IRMA                       HENDERSHOT, JAMES
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HENDERSHOT, SHELBY                   HENDERSON, ADRIENNE                    HENDERSON, ALLISON
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HENDERSON, BRENDA                    HENDERSON, BRENDA                      HENDERSON, BRITTANY
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HENDERSON, CAROLINE                  HENDERSON, CARRIE                      HENDERSON, CATHERINE
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HENDERSON, CURTIS                    HENDERSON, CYNTHIA                     HENDERSON, DAN
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HENDERSON, DANA                      HENDERSON, DANIEL                      HENDERSON, DAPHNE
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HENDERSON, DAVID                     HENDERSON, ELIZABETH                   HENDERSON, ELIZABETH
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HENDERSON, ERICK                     HENDERSON, ERIN                       HENDERSON, ERIN
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HENDERSON, HANNAH                    HENDERSON, HARISA                     HENDERSON, HILLARY C.
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HENDERSON, HOLLY                     HENDERSON, JAMES                      HENDERSON, JASON
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HENDERSON, JAY                       HENDERSON, JAYNE                      HENDERSON, JEANNINE
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HENDERSON, JEREMY                    HENDERSON, JULIE                      HENDERSON, JULIE
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HENDERSON, KELLY                     HENDERSON, KELLY                      HENDERSON, KELLY
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HENDERSON, KIRSTIN                   HENDERSON, KRISTAN                    HENDERSON, LAUREN
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                                     HENDERSON, 2 Filed 11/30/22      Page 2109 of 5495
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HENDERSON, LUKI                      HENDERSON, LYNDSEY                     HENDERSON, MADELINE
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HENDERSON, MARGARET                  HENDERSON, MEGAN                       HENDERSON, MEGHAN
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HENDERSON, MELISSA                   HENDERSON, MICHELLE                    HENDERSON, MICHELLE
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HENDERSON, MICHELLE                  HENDERSON, NATHANIEL                   HENDERSON, OZZIE
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HENDERSON, PATRICIA                  HENDERSON, PAUL                        HENDERSON, PAUL
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HENDERSON, PEGGY                     HENDERSON, RACHAEL                     HENDERSON, RACHEL
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HENDERSON, REBECCA                   HENDERSON, RICHELLE                    HENDERSON, ROSLYN
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HENDERSON, SHELBY                    HENDERSON, SHELLY                      HENDERSON, SHELLY
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                                    HENDERSON, 2 Filed 11/30/22       Page 2110 of 5495
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HENDERSON, SUSAN                     HENDERSON, TERESA                     HENDERSON, WALTER
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HENDERSON, YVONNE                    HENDKING, BRYAN                       HENDLE, ANDRA
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HENDON, HEATH                        HENDREN, RUTH                         HENDREN, SAM
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HENDRICH, STEPHEN                    HENDRICK, DANIEL                      HENDRICK, KATHERINE
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HENDRICK, MARIE                      HENDRICK, MICHEL                      HENDRICK, NATHANIEL
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HENDRICKS, BEVERLY                   HENDRICKS, BREANNA                    HENDRICKS, CHRISTOPHER
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HENDRICKS, EMILY                     HENDRICKS, ERICA                      HENDRICKS, JENNA
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HENDRICKS, JOSH                      HENDRICKS, KATHY                      HENDRICKS, KIM
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                                     HENDRICKS, 2 Filed 11/30/22      Page 2111 of 5495
                                                                           HENDRICKS, MEGAN
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HENDRICKS, MOLLY                     HENDRICKS, NICK                       HENDRICKS, VIOLET
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HENDRICKSON, ADRIANNE                HENDRICKSON, ALAN                     HENDRICKSON, ALICIA
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HENDRICKSON, KIM                     HENDRICKSON, KIMBERLY                 HENDRICKSON, LAUREN
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HENDRICKSON, MADDIE                  HENDRICKSON, MARK                     HENDRICKSON, PHILIP
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HENDRICKSON, RACHAEL                 HENDRICKSON, WILLIAM                  HENDRIK DE HOOG
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HENDRIK JUERGENS                     HENDRIX, BEN                          HENDRIX, BRITNEY
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HENDRIX, DAVID                       HENDRIX, DEBORAH                      HENDRIX, JESSICA
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HENDRIX, KRISTINA     Case 22-11238-LSS    Doc
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HENDRIX, SHANNON                     HENDRIX, STANLEY                      HENDRY, KALYN
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HENDRY, TEAGAN                       HENEBRY, MIRIAM                       HENEGHAN, KEVIN
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HENEGHAN, PATRICIA                   HENEHAN, PATRICE                      HENEKA, JILL
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HENEL, KYLE                          HENERY, RANDY                         HENESEY, JEAN
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HENFRIDSSON, PER OLA                 HENGELBROK, ANNA                      HENGEN, DANIEL
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HENIG, COURTNEY                      HENIGAN, CHRISTINE                    HENINGTON-GUTIERREZ, KARI
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HENION, KARLI                        HENISEY, LEAH                         HENJUM, SAMANTHA
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HENKE, ABBY                          HENKE, BRITTANY                       HENKE, CHAD
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HENKE, STACY                         HENKEL, JESSICA                       HENKEL, LAURIE
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HENLEY, JANINE                       HENLEY, JOHN                          HENLEY, LYNN
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HENLEY, MEREDITH                     HENLEY, NANNETTE                      HENLEY, SINDI
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HENLEY, STACEY                       HENLEY-TAFARI, JEWEL                  HENLINE, ALEXANDRA
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HENN, BRITTANY                       HENN, RILEY                           HENNAGER, JENNIFER
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HENNAN, WILLIAM                      HENNARD, HEATHER                      HENNECKE, SUSIE
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HENNEGAN, COLLEEN                    HENNEGAN, MELISSA                     HENNEKE, ELIZABETH
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HENNELLY, GERARD                     HENNELLY, MICHELLE                    HENNEN, AMY
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HENNEN, HANNAH                       HENNEN, KATHLEEN                      HENNERBICHLER, GEORG
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HENNESS, CHARLES                     HENNESSEE, AIMEE                      HENNESSEY, AMANDA
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                                                                              HENNESSEY, ASHLEY
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HENNESSEY, CARRIE                       HENNESSEY, JOE                        HENNESSEY, LORI
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HENNESSEY, MARGARET                     HENNESSEY, MARIA                      HENNESSEY, MELISSA
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HENNESSEY, PETER                        HENNESSEY, RYAN                       HENNESSEY, SARA
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HENNESSEYS TAVERN                       HENNESSY, AMY                         HENNESSY, DEBBY
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HENNESSY, HAYLEY                        HENNESSY, HEATHER                     HENNESSY, KATHLEEN
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HENNESSY, KELLY                         HENNESSY, KERRY                       HENNESSY, MADELINE
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HENNESSY, MARILYN                       HENNESSY, TERRENCE                    HENNEWINKEL, ELYSE
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HENNIER, AMANDA                         HENNIG, JUSTIN                        HENNING, ALEXA
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HENNING, HEIDI                       HENNING, JANE                         HENNING, JIM
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HENNING, KARRIE                      HENNING, VICTORIA                     HENNINGER, KAYLIN
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HENNINGER, LINDA                     HENNINGER, SOPHIA                     HENNINGS, NATALIE
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HENNINGSEN, MAUREEN                  HENNIS, EDWARD                        HENREHAN, SALLY
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HENRI, CL                            HENRICH, KIM                          HENRICH, MELANIE
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HENRICK, MELENEE                     HENRICKS, HOLLY                       HENRICKS, JENNY
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HENRICKSON, TAYLOR                   HENRICKSON, WENDY                     HENRIKSON, CINDY
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HENRIKSON, SHAYLA                    HENRIQUES, IRENE                      HENRIQUES, KRYSTAL
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HENRIQUES, MANUEL                    HENRIQUEZ, FRANCHESCA                 HENRIQUEZ, MARIA
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HENRY C HIGHT                        HENRY J GONZALEZ                      HENRY SUOMINEN
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HENRY, ABIGAIL                       HENRY, ABIGAIL                        HENRY, ABIGAIL
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HENRY, AIDAN                         HENRY, ALBEAU                         HENRY, ALLISON
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HENRY, ALLISON                       HENRY, ANNE                           HENRY, BILLY
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HENRY, BRIDGETT                      HENRY, CHARLES                        HENRY, CHERYL
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HENRY, COLIN                         HENRY, COURTNEY                       HENRY, DALLAS
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HENRY, DANA                          HENRY, DANAE                          HENRY, DANIELLE
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HENRY, DAVID                         HENRY, DEREK                          HENRY, DESHIA
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HENRY, DIEDRE                        HENRY, ELECIA                         HENRY, EROLD
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                                     HENRY, Doc 2 Filed 11/30/22
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                                                                           HENRY,of 5495
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HENRY, HELENE                        HENRY, HOLLY                          HENRY, JADE
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HENRY, JANEL                         HENRY, JESSE                          HENRY, JONATHAN
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HENRY, JOSEPH                        HENRY, JUAN                           HENRY, JUSTIN
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HENRY, KATHLEEN                      HENRY, KAYLA                          HENRY, KELLY
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HENRY, KIMBER                        HENRY, LAUREN                         HENRY, LAUREN
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HENRY, LINDA                         HENRY, LUKE                           HENRY, MANDISA
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HENRY, MARK                          HENRY, MARY BETH                      HENRY, MARY BETH
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HENRY, MAYA                          HENRY, MEGAN                          HENRY, MICHAEL
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HENRY, MICHAEL-ANN                   HENRY, NAKIA                          HENRY, NOAH
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HENRY, RITA                          HENRY, RONALD                         HENRY, ROXANNE
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HENRY, SARAH                         HENRY, SARAH                          HENRY, SHELBI
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HENRY, SHERRY                        HENRY, SKYE                           HENRY, SOPHIE
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HENRY, SUSAN                         HENRY, TABITHA                        HENRY, TARRAH
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HENSCHEL, EDEN                       HENSCHEN, REGINA                      HENSEL, APRIL
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HENSEL, EMILY                        HENSEL, KANDI                         HENSEL, MICHELE
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HENSEN, SYDNEY                       HENSHAW, JACQUELYN                    HENSHAW, VICTORIA
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HENSINGER, ARIANNA                   HENSLER, CHRISTINA                    HENSLER, DIANE
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HENSLER, ELIZABETH                   HENSLER, JANETTE                      HENSLEY, ADRIANA
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HENSLEY, AMY          Case 22-11238-LSS    Doc
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                                                                           HENSLEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HENSLEY, CASSIDY                     HENSLEY, DANA                          HENSLEY, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HENSLEY, ELIZABETH                   HENSLEY, JENNIFER                      HENSLEY, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HENSLEY, KRISTI                      HENSLEY, MEAGEN                        HENSLEY, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HENSLEY, NICOLE                      HENSLEY, RACHEL AND JOHN               HENSLEY, TABITHA
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HENSON, ALISA                        HENSON, ALYSSA                         HENSON, AMY
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HENSON, BRIAN                        HENSON, CHELSEA                        HENSON, COURTNEY
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HENSON, DEBORAH                      HENSON, DESTINY                        HENSON, EMILY
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HENSON, EMMA                         HENSON, HALEY                          HENSON, JANEEN
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HENSON, JENNA                        HENSON, KATHLEEN                       HENSON, LAPORTIA
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HENSON, LUCINDA       Case 22-11238-LSS    Doc
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HENSON, MELANNY                      HENSON, MELISSA                         HENSON, MOLLY
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HENSON, RYAN                         HENSON, STASIE                          HENTGES, ASHLEY
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HENTHORNE, DAN                       HENTON, GRACIE                          HENTREL, JENIFER
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HENTY, STEPHANIE                     HENTZ, MICHELLE                         HENZE, HANNAH
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HENZEL, THOMAS                       HENZEL, THOMAS                          HENZLER, BARBARA
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HEON, KRISTEN                        HEOWORKS INDUSTRIES                     HEPBURN, DEVON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




HEPBURN, JACQUELINE                  HEPBURN, LEAH                           HEPER, MIRIAM
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HEPKER, JUSTIN                       HEPOLA, ANGELA                          HEPP, CHRISTINA
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HEPPARD, TOM                         HEPPNER, MAGDALENA                      HEPTON, JODI
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HEPWORTH, EMILY       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HEPZ BRANNAN                     Page 2121  of 5495
                                                                           HER, CHRISTIE
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HERAS, LINSEY                        HERATH, RANIL                         HERB BUNKE
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HERB, CRYSTAL                        HERB, JILL                            HERBEIN, JODI
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HERBELIN, JUSTIN                     HERBER, HELENA                        HERBER, JULIE
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HERBER, PAUL                         HERBERGER, MICHELLE                   HERBERT MICHAEL IMALINGAT
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HERBERT, AHZUREE                     HERBERT, CHARLOTTE                    HERBERT, CHRISTIE
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HERBERT, DYAN                        HERBERT, EMILY                        HERBERT, GINNY
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HERBERT, JESSICA                     HERBERT, JOHN                         HERBERT, KATHLEEN
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HERBERT, LAWRENCE                    HERBERT, LEIGH                        HERBERT, LINDSEY
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HERBERT, LYNN                        HERBERT, SAMANTHA                     HERBERT, VAL
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                                     HERBICK,    2 Filed 11/30/22
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HERBIG, KATHRYN                      HERBINE, KIMBERLY                     HERBISON, JANNA
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HERBIVORE BOTANICALS, LLC            HERBOLSHEIMER, STARLA                 HERBST, CARLY
80 VINE STREET, 201                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEATTLE, WA 98121




HERBST, GINA                         HERBST, HEATHER                       HERBST, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERBST, JUDY                         HERBST, SANDY                         HERBST, STEFANIE
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HERBST, VINCENT                      HERCULES, MONIQUE                     HERD, CASANDRA
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HERD, MARGARET                       HERDA, ELYSE                          HERDA, GRETCHEN
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HERDEMIAN, MONTANNA                  HERDERE, DEBORA                       HERDIC, MARA
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HERDING, MICHELE                     HERDIS LIS MCNERNY                    HERDMAN, LISHA
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HEREDIA, NORMA                       HEREFORD, AMANDA                      HEREK, JACKIE
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HERENDEEN, ERIK       Case 22-11238-LSS    Doc NICHOLE
                                     HERENDEEN, 2 Filed 11/30/22      Page 2123 ofMELODIE
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HERES, HANNAH                        HERGERT, KIMBERLY                     HERGET, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERIC, VANESSA                       HERICKS, JENNIFER                     HERING, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERING, SUSAN                        HERITAGE PAPER                        HERITAGE
ADDRESS AVAILABLE UPON REQUEST       6850 BRISA STREET                     (PACIFIC CONTINENTAL INSURANCE
                                     LIVERMORE, CA 94550                   COMPANY, INC.)




HERITIER, KAREN                      HERKA, CHARISSA                       HERKERT, VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERLEY, MEREDITH                     HERLIHY, CARLY                        HERLIHY, CLARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERLIHY, ERIN                        HERLIHY, JESSIE                       HERLIHY, MADELINE
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HERLIHY, MATTHEW                     HERLINGER, CHERI                      HERLOCKER, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERLOSS, BRI                         HERMAN LAW LLC                        HERMAN MANS FAMILY TRUST
ADDRESS AVAILABLE UPON REQUEST       303 WYMAN STREET SUITE 1000           ADDRESS AVAILABLE UPON REQUEST
                                     WALTHAM, MA 02451




HERMAN THEODORUS                     HERMAN, ABIGAIL                       HERMAN, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HERMAN, ALLISON       Case 22-11238-LSS    Doc
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HERMAN, CAROLINE                        HERMAN, CHARLES                       HERMAN, CHARLOTTY
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HERMAN, DALIA                           HERMAN, DENNYS                        HERMAN, ERIN
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HERMAN, JENNA                           HERMAN, KELLY                         HERMAN, KELLY
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HERMAN, KEVIN                           HERMAN, KYLIE                         HERMAN, LUKE
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HERMAN, MICHELLE                        HERMAN, NICOLE                        HERMAN, RACHAEL
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HERMAN, ROSE                            HERMAN, TANIKO                        HERMAN, TERRI
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HERMANMILLER STORE                      HERMANN, ALANA                        HERMANN, ELIZABETH
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERMANN, MAUREEN                        HERMANN, ZOE                          HERMANNS, GRANT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERMES, MICHAEL                         HERMILLER, HEIDI                      HERMINIANO MACHACON
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                                                                            HERMS,of 5495
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HERMSEN, HANNAH                       HERN, ADDISON                         HERN, BRIANNE
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HERN, JESSICA                         HERNAN JUAREZ-GUERRERO                HERNANDEZ III, DAVID
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERNANDEZ LOPEZ, LUZ DEL CARMEN       HERNANDEZ MANCIA, MARIA               HERNANDEZ MARTINEZ, ZENEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERNANDEZ PEDROZA, ANDRES             HERNANDEZ SAHAGUN, SAUL               HERNANDEZ VIVAS, ELIZABETH
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HERNANDEZ, ABRAN                      HERNANDEZ, ADAM                       HERNANDEZ, ADELLE
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HERNANDEZ, ADRIAN                     HERNANDEZ, ADRIANA                    HERNANDEZ, ALAINA
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HERNANDEZ, ALEX                       HERNANDEZ, ALI                        HERNANDEZ, ALINA
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HERNANDEZ, ALMA                       HERNANDEZ, AMANDA                     HERNANDEZ, AMANDA
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HERNANDEZ, AMANDA                     HERNANDEZ, AMY                        HERNANDEZ, AMY
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HERNANDEZ, ANGALISE                  HERNANDEZ, ANNA                       HERNANDEZ, ANNA
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HERNANDEZ, ANNIE                     HERNANDEZ, ANTHONY                    HERNANDEZ, ANTONIO
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HERNANDEZ, ARLEEN                    HERNANDEZ, ARMANDO                    HERNANDEZ, ASTRID
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HERNANDEZ, BEVERLEY                  HERNANDEZ, BIANCA                     HERNANDEZ, BRYAN
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HERNANDEZ, CARLOS                    HERNANDEZ, CARLOS                     HERNANDEZ, CHARLOTTE
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HERNANDEZ, CHRISTINE                 HERNANDEZ, CHRISTY                    HERNANDEZ, CINDY
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HERNANDEZ, CINTHYA                   HERNANDEZ, CORINNE                    HERNANDEZ, DANIELA
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HERNANDEZ, DELANEY                   HERNANDEZ, DENISE                     HERNANDEZ, DIANA
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HERNANDEZ, EDUARDO                   HERNANDEZ, ELIZABETH                  HERNANDEZ, ELVIS
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                                     HERNANDEZ, 2 Filed 11/30/22      Page 2127 of 5495
                                                                           HERNANDEZ, ERIKA
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HERNANDEZ, ERIN                      HERNANDEZ, ERNEST                      HERNANDEZ, ESTEBAN
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HERNANDEZ, ESTHER                    HERNANDEZ, EVA                         HERNANDEZ, FABIOLA
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HERNANDEZ, GABRIELLA                 HERNANDEZ, GLORIA                      HERNANDEZ, GUADALUPE
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HERNANDEZ, GUADALUPE                 HERNANDEZ, HOPE                        HERNANDEZ, IGOR
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HERNANDEZ, IRENE                     HERNANDEZ, JANIS                       HERNANDEZ, JEANIE
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HERNANDEZ, JENNA                     HERNANDEZ, JENNY                       HERNANDEZ, JESUS
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HERNANDEZ, JESUS                     HERNANDEZ, JESUS                       HERNANDEZ, JIMMY
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HERNANDEZ, JOANELLE                  HERNANDEZ, JOANN                       HERNANDEZ, JOEL
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HERNANDEZ, JOELLE                    HERNANDEZ, JOHN                        HERNANDEZ, JORGE
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HERNANDEZ, JOSE ANGEL Case 22-11238-LSS    Doc JOSE
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                                                                           HERNANDEZ, JUAN
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HERNANDEZ, JUAN                      HERNANDEZ, KAREN                      HERNANDEZ, KARINA
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HERNANDEZ, KARLA                     HERNANDEZ, KAYLA                      HERNANDEZ, KELLY
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HERNANDEZ, KELLY-ANN                 HERNANDEZ, KIARA                      HERNANDEZ, KRISTINA
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HERNANDEZ, KRISTINA                  HERNANDEZ, KRISTINE                   HERNANDEZ, KRISTINE
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HERNANDEZ, LAUREN                    HERNANDEZ, LAUREN                     HERNANDEZ, LAUREN
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HERNANDEZ, LAURIE                    HERNANDEZ, LESLIE                     HERNANDEZ, LINDSAY
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HERNANDEZ, LINDSEY                   HERNANDEZ, LIXE                       HERNANDEZ, LIZBETH
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HERNANDEZ, LUIS                      HERNANDEZ, MARC                       HERNANDEZ, MARIA
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HERNANDEZ, MARIA                     HERNANDEZ, MARIA                      HERNANDEZ, MARIA
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HERNANDEZ, MARIA      Case 22-11238-LSS    Doc MARIA
                                     HERNANDEZ, 2 Filed 11/30/22      Page 2129 of 5495
                                                                           HERNANDEZ, MARIBEL
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HERNANDEZ, MARIELA                   HERNANDEZ, MARIELA                     HERNANDEZ, MARISELA
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HERNANDEZ, MARISSA                   HERNANDEZ, MARISSA                     HERNANDEZ, MARTA
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HERNANDEZ, MARTHA                    HERNANDEZ, MARTHA                      HERNANDEZ, MATTHEW
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HERNANDEZ, MAYRA                     HERNANDEZ, MEILING                     HERNANDEZ, MELISSA
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HERNANDEZ, MELISSA                   HERNANDEZ, MELISSA                     HERNANDEZ, MELODY
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HERNANDEZ, MICHAEL                   HERNANDEZ, MICHELL                     HERNANDEZ, MICHELLE
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HERNANDEZ, MICHELLE                  HERNANDEZ, MILENA                      HERNANDEZ, MIRIAM
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HERNANDEZ, MONICA                    HERNANDEZ, NATALIE                     HERNANDEZ, NINA
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HERNANDEZ, NOAH                      HERNANDEZ, NUBIA                       HERNANDEZ, NURIA
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HERNANDEZ, PAOLA      Case 22-11238-LSS    Doc PATRICIA
                                     HERNANDEZ, 2 Filed 11/30/22      Page 2130 of 5495
                                                                           HERNANDEZ, PENNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HERNANDEZ, PRISCILLA                 HERNANDEZ, QUEENA                      HERNANDEZ, REBECCA
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HERNANDEZ, RICK                      HERNANDEZ, ROBERT                      HERNANDEZ, ROBERTO
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HERNANDEZ, ROBIN                     HERNANDEZ, ROLANDO                     HERNANDEZ, ROSA
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HERNANDEZ, RUTH                      HERNANDEZ, SAMANTHA                    HERNANDEZ, SAMANTHA
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HERNANDEZ, SARAH                     HERNANDEZ, SARAH                       HERNANDEZ, STACY
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HERNANDEZ, STEPHANIE                 HERNANDEZ, STEPHANIE                   HERNANDEZ, STEVEN
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HERNANDEZ, SUZY                      HERNANDEZ, TALEYIA                     HERNANDEZ, TANIA
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HERNANDEZ, TEIGHLOR                  HERNANDEZ, TERIMAR                     HERNANDEZ, TESSA
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HERNANDEZ, TOM                       HERNANDEZ, TOMMY                       HERNANDEZ, VALERIA
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                                                                           HERNANDEZ, VERONICA
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HERNANDEZ, VIVIAN                    HERNANDEZ, WANDA                      HERNANDEZ, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERNANDEZ, XOCHITL                   HERNANDEZ, YAJAIRA                    HERNANDEZ, YANIL
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HERNANDEZGARCIA, EDGAR               HERNANDEZ-TORRES, DARLENE             HERNDON, ALEXANDRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERNDON, ELIZABETH                   HERNDON, JANELLE                      HERNDON, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERNDON, MARGARET                    HERNDON, MARIA                        HERNDON, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERNDON, ROSE                        HERNDON, STEVE                        HERNE, ALEXANDRA
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HERNEY, DANA                         HERNLY, ELLEN                         HERNON, CLAIRE
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HERNON, KELLY                        HERNON, MEGAN                         HERNON, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERNQUIST, MELANIE                   HERO, STACEY                          HERO.JOBS, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1316 3RD STREET B5
                                                                           SANTA MONICA, CA 90401
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                                                                           HEROFF, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEROLD, ARMANDE                      HEROLIND DEMA                         HEROMAN, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERON, HEATHER                       HERON, KEN                            HERON, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HERON, SABRINA                       HERON, SARAH                          HERONEMUS, MARC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HEROZ LLC                            HERQUET, GABRIELLE                    HERR, AMANDA
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HERR, KARA                           HERR, LINDA                           HERR, PAULINE
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HERR, SARAH                          HERRANEN, TINA                        HERRANZ, JANEL
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HERREN, GREG                         HERRERA DEAN, JESSICA                 HERRERA, ALFREDO
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HERRERA, ALYSSA                      HERRERA, AMANDA                       HERRERA, ANGELINA
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HERRERA, ASHLEY                      HERRERA, BRITTANY                     HERRERA, CONSTANCE
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HERRERA, DESTINY      Case 22-11238-LSS    Doc
                                     HERRERA,    2 Filed 11/30/22
                                              DIANA                   Page 2133 of 5495
                                                                           HERRERA, GINA
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HERRERA, GISELA                      HERRERA, HALSTON                      HERRERA, ISABELLA
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HERRERA, JACQUELINE                  HERRERA, JENNIFER                     HERRERA, JESSICA
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HERRERA, JESUS                       HERRERA, JOCELYN                      HERRERA, KATHERINE
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HERRERA, KATHIE                      HERRERA, KRYSTAL                      HERRERA, LINDSEY
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HERRERA, LISSA                       HERRERA, LORENA                       HERRERA, LUIS
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HERRERA, MADDIE                      HERRERA, MADELEINE                    HERRERA, MARGARITA
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HERRERA, MARIA                       HERRERA, MARTIN                       HERRERA, MIA
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HERRERA, MIA                         HERRERA, MICHELLE                     HERRERA, MOLLY
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HERRERA, MONICA                      HERRERA, MONIQUE                      HERRERA, NATALIA
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HERRERA, NATALIA      Case 22-11238-LSS    Doc
                                     HERRERA,    2 Filed 11/30/22
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                                                                           HERRERA, RACHEL
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HERRERA, RIVKA                       HERRERA, SHAKAH                       HERRERA, STEPHANIE
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HERRERAHOGAN, LISA                   HERRFURTH, CATHRYN                    HERRIAGE, SUMMER
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HERRICK, ABBIE                       HERRICK, ALICIA                       HERRICK, ANDREW
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HERRICK, BRIGID                      HERRICK, DUSTIN                       HERRICK, JULIE
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HERRICK, MORGAN                      HERRICK, PAM                          HERRICK, SYDNEY
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HERRICK, TIM                         HERRIES, EMILY                        HERRIG, JEN
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HERRIN, CHRISTOPHER                  HERRIN, EMILY                         HERRIN, GARRETT
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HERRIN, JADE                         HERRIN, JENNIFER                      HERRING, AMANDA
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HERRING, AMY                         HERRING, BRITTANY                     HERRING, DANIEL
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HERRING, KELSEY                      HERRING, KELVIN                       HERRING, KIMBERLY
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HERRING, MAYA                        HERRING, MEGAN                        HERRING, MELISSA
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HERRING, SARAH                       HERRING, SHELBY                       HERRING, VICTORIA
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HERRING, ZACKERY                     HERRINGTON, BRETT                     HERRINGTON, KAYLA
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HERRINGTON, KELSEY                   HERRINGTON, KRISTEN                   HERRINGTON, LINDA
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HERRINGTON, LUCY                     HERRINGTON, SARA                      HERRIOTT, BRIANNE
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HERRIOTT, MEGAN                      HERRIOTT, SAGE                        HERRITY, BRIDGETT
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HERRMANN KATHLEEN                    HERRMANN, CAROL                       HERRMANN, CHELSEA
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HERRMANN, CHELSEA     Case 22-11238-LSS    DocDIANA
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HERRMANN, JAMES                      HERRMANN, KATHLEEN                    HERRMANN, KRISTEN
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HERRMANN, SAVANNAH                   HERROLD, KORISSA                      HERRON, ALEXANDRA
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HERRON, ALICIA                       HERRON, AMBERLIE                      HERRON, ASHLEIGH
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HERRON, HANNAH                       HERRON, HEATHER                       HERRON, JOE
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HERRON, KATE                         HERRON, LINDSAY                       HERRON, MICHELLE
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                                     HERRON,    2 Filed 11/30/22
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HERRY, JUNIOR                        HERSCH PATEL                          HERSCHBACH, HEIDI
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HERSEL, KIM                          HERSEY, BETH                          HERSEY, JACKIE
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HERSEY, KASEY                        HERSEY, MICHELLE                      HERSH, SUSANNE
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HERSHBERGER, ANDREA                  HERSHBERGER, ASHLEY                   HERSHBERGER, BENJI
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HERSHBERGER, CHASE                   HERSHBERGER, DAWN                     HERSHBERGER, JANESSA
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HERSHBERGER, JORDAN                  HERSHBERGER, KRYSTAL                  HERSHBERGER, MELLISSA
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HERSHEY, KATINA                      HERSHGORDON, CARLIE                   HERSHKOWITZ, JULIE
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HERSHMAN, MARGARET                   HERSHMAN, RALPH                       HERSHNER, HELEN
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HERSMAN, WILLIAM                     HERSOM, AMY                           HERSOM, JASON
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                                     HERT, ADAM                         Page 2138   of 5495
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HERTA, ALEXANDRA                     HERTEL, ADRIANNE                        HERTEL, CALEB
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HERTEL, DEBORAH                      HERTEL, TIANA                           HERTENSTEIN, TONY
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HERTER, LARA                         HERTER, STACEY                          HERTLING, JACKIE
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HERTNEKY, LYNNETTE                   HERTZ                                   HERTZ, COLLEEN
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HERTZ, DANIELLE                      HERTZ, SHONNA                           HERUS, ANNA
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HERVAS, ELISABETH                    HERVE TAKOULO FONKOU                    HERVE, KIMBERLY
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HERVEY, STEPHANIE                    HERY, DARBY                             HERZBERG, ANNE
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HERZBERG, STEPHEN                    HERZIG, PAIGE                           HERZIG, WILLIAM
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HERZOG COHEN, KIMBERLY               HERZOG, ARNALDO                         HERZOG, BRINKLEY
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HERZOG, EDWARD                       HERZOG, ELIZABETH                     HERZOG, EMILY
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HERZOG, HOLLY                        HERZOG, JANET                         HERZOG, KARI
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HERZOG, LAURA                        HERZOG, MELISSA                       HERZOG, MICHELE
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HERZOG, MINDY                        HERZOG, NATHAN                        HESDON, BESS
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HESE, JEVGENIJA                      HESELMEYER, ASHLEY                    HESFORD, NATALIE
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HESKETH, MEGAN                       HESLER, BROCK                         HESLER, ERYNN
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HESLEY, BEN                          HESLIN, BRITTANY                      HESLIN, THOMAS
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HESLIP, CORY                         HESLOP, JENNA                         HESMAN, KATHRYN
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HESMAN, SAMUEL                       HESPANHOL, PEDRO                      HESS, AARON
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HESS, ANDREW          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           HESS, ASHLEIGH
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HESS, ASHLEY                         HESS, BRIAN                           HESS, CARLEY
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HESS, CHLOE                          HESS, CHRISTI                         HESS, CHRISTOPHER
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HESS, DAN                            HESS, DIANA                           HESS, GEORGE
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HESS, JERUSHA                        HESS, JODI                            HESS, JONATHAN
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HESS, JORDAN                         HESS, KAREN                           HESS, LANDON
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HESS, LARRY                          HESS, LAUREEN                         HESS, LAUREN
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HESS, LESLIE                         HESS, MARIBETH                        HESS, PAM
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HESS, RACHEL                         HESS, RICHARD                         HESS, ROBERT
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HESS, SHANNON                        HESS, STEPHANIE                       HESS, STEPHANIE
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HESS, THERESA OR RICHARD                    Doc 2 Filed 11/30/22
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HESSE, AMANDA                        HESSE, BILL AND DONNA                 HESSE, JEAN
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HESSE, JOHN                          HESSEKIEL, KIRA                       HESSEL, COURTNEY
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HESSEL, KIERA                        HESSELGREN, AUBREY                    HESSELSCHWARDT, BARBARA
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HESSELTINE, KATHLEEN                 HESSEN, TIM                           HESSER, ALYSSA
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HESSER, KENNETH                      HESSER, LANE                          HESSION, LAURA
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HESSON, BECKY                        HESTER, AMANDA                        HESTER, DOUG
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HESTER, EMILY                        HESTER, JERRY                         HESTER, JONATHAN
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HESTER, LINDA ASHLEY                 HESTER, NINA                          HESTER, PAMELA
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HESTER, SHERI                        HESTERLY, HAROLD                      HESTERMANN, STACY
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HESTON, KELSEY        Case 22-11238-LSS
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HETEM, NANCY                         HETFIELD, TERRY                        HETH, CHRIS
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HETHERINGTON, LILLI                  HETHERITON, RYLEE                      HETLAGE, KENNON
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HETLAND, LINNEA                      HETRICK, CHELSEA                       HETRICK, ERICA
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HETRICK, KATIE                       HETRICK, MICHAEL                       HETRICK, ROBBY
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HETRICK, STACEY                      HETSKO, KATIE                          HETTLINGER, AMANDA
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HETZ, JOSH                           HETZEL, DEJA                           HETZEL, SUSAN
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HETZEL, SYDNIE                       HETZEL, WILLIAM                        HETZER, JOSEPH
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HEUBACH, JESSICA                     HEUBER, STEPHANIE                      HEUER, KARLI
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HEUER, KERI                          HEUERMAN, HANNAH                       HEUETT, JASMIN
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                                     HEUGA, Doc  2 Filed 11/30/22
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                                                                           HEUN, ADRIENNE
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HEUN, JENNY                          HEUNG, RACHEL                         HEUSEL, GARY
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HEUSER, KIM                          HEUSNER, ELIOT                        HEUSTON, SELINA
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HEUTEL, HELEN                        HEVENER, MICHAEL                      HEVIA, BLANCA
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HEWATT, TRISTAN                      HEWAWASAM, LAKSHANI                   HEWETT, JEFFREY
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HEWETT, JENNIFER                     HEWETT, JERED                         HEWETT, LIZ ANN
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HEWETT, STEVEN                       HEWINS, IRENE                         HEWIT, GERALDINE
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HEWIT, JENNIFER                      HEWITT, AMANDA                        HEWITT, BEATRIZ
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HEWITT, BRIANNA                      HEWITT, CAROL                         HEWITT, CHELSEA
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HEWITT, CHEYENNE                     HEWITT, DELANEY                       HEWITT, GORDON
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HEWITT, JUSTIN                       HEWITT, KASEY                          HEWITT, KIRSTYN
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HEWITT, KRISTEN                      HEWITT, LEANN                          HEWITT, NATALIE
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HEWITT, OLIVIA                       HEWITT, RACHEL                         HEWITT, SCOTT
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HEWITT, SHAWN                        HEWITT, TRUDY-ANN                      HEWKA, TAISA
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HEWLETT, WHITNEY                     HEXT, ASHLEY                           HEXT, JENNA
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HEYART, JAIME                        HEYBOER AMANDA                         HEYBOER, CAMILLE
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HEYDEMANN, EVAN                      HEYDRICK, AUBREE                       HEYDUK, ANDRZEJ
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HEYEN, SHARI                         HEYER, DAVID                           HEYER, JACOB
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HEYLIGER, MERYL                      HEYNE, KARI                            HEYNER, CANDICE
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HEYWARD, DEVIN                       HEYWOOD, ALISHA                        HEZEKIAH-ONWUKWE, CECILIA
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HIAASEN, MARIA                       HIATT, KURTIS                          HIATT, LANCE
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HIATT, LEIDY                         HIATT, LINDSAY                         HIATT, RENAE
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HIBBARD, ASHLEY                      HIBBARD, CHERRI                        HIBBARD, HOLLY
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HIBBARD, KAREN                       HIBBARD, KATIE                         HIBBARD, STEFANIE
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HIBBARD-HERRERA, DANA                HIBBELN, LILIANNA                      HIBBEN, LAURA
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HIBBERD, BONNIE                      HIBBERT, LATICIA                       HIBBERT, LAURA
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HIBBETT, CARRIE                      HIBBS, ALI                             HIBBS, DANA
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HIBBS, TIMOTHY        Case 22-11238-LSS
                                     HIBLER, Doc  2 Filed 11/30/22
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HIBSON, DAVID                        HICHBORN, MATTHEW                     HICKEL, KORIE
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HICKENBOTHAM, CYNTHIA                HICKERSON, BRENDA                     HICKEY, ABBEY
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HICKEY, BEN                          HICKEY, BRIDGET                       HICKEY, CANDANCE
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HICKEY, CARLA                        HICKEY, CATHERINE                     HICKEY, CATHERINE
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HICKEY, ERICA                        HICKEY, FRANCES                       HICKEY, JASON
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HICKEY, JESS                         HICKEY, JESS                          HICKEY, JILL
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HICKEY, JOHN                         HICKEY, JUDITH                        HICKEY, KATHERINE
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HICKEY, KIM                          HICKEY, KIMBERLY                      HICKEY, LAUREN
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HICKEY, LISA                         HICKEY, LORI                          HICKEY, MARILYN
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HICKEY, MAUREEN       Case 22-11238-LSS
                                     HICKEY, Doc 2 Filed 11/30/22
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                                                                                   MONICA
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HICKEY, MONICA                       HICKEY, RACHEL                        HICKEY, REBECCA
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HICKEY, SHANNON                      HICKEY, SHERRIE                       HICKEY, STEVE
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HICKEY, VIVIANA                      HICKIE, DAVID                         HICKINGBOTTOM, KATIE
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HICKLIN, ANNE                        HICKLIN-COOREY, SHALINI               HICKMAN, AMY
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HICKMAN, DELANA                      HICKMAN, DENIELLE                     HICKMAN, ERIKA
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HICKMAN, HALEY                       HICKMAN, HEATHER                      HICKMAN, JEWELL
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HICKMAN, JULIA                       HICKMAN, KRISTI                       HICKMAN, KYLIE
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HICKMAN, LAKEMA                      HICKMAN, MADISON                      HICKMAN, MIKE
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HICKMAN, NIKKI                       HICKMAN, NINA                         HICKMAN, RACHEL
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HICKOMBOTTOM, KENDELE                HICKOX, ROBERT                        HICKS, ALLYSON
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HICKS, AMANDA                        HICKS, ANDREW                         HICKS, ANNA
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HICKS, ASHLEY                        HICKS, ASHLEY                         HICKS, AUDRA
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HICKS, AUTUMN                        HICKS, BRIA                           HICKS, CANDY
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HICKS, CARISSA                       HICKS, CASSIDY                        HICKS, CATHY
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HICKS, ED                            HICKS, ELIZABETH                      HICKS, EMILY
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HICKS, EMILY                         HICKS, GEOFFREY                       HICKS, HANNAH
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HICKS, IRENE                         HICKS, JACK                           HICKS, JENNA
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HICKS, JENNIFER       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HICKS, JESICA                    Page 2149   of 5495
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HICKS, JIM                           HICKS, JONATHAN                       HICKS, KAYLIN
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HICKS, KELLY                         HICKS, KELSEY                         HICKS, KEVIN
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HICKS, KIM                           HICKS, KIM                            HICKS, LAURA
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HICKS, MADELAINE                     HICKS, MADISON                        HICKS, MAGGIE
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HICKS, MARY                          HICKS, MICHELE                        HICKS, MILLICENT
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HICKS, NELSON                        HICKS, OLIVIA                         HICKS, PIERCE
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HICKS, RACHEL                        HICKS, RANDY                          HICKS, RAVEN
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HICKS, REBECCA                       HICKS, RICARDO                        HICKS, ROBERT
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HICKS, SARAH          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HICKS, SARAH                     Page 2150   of 5495
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HICKS, SHANNON                       HICKS, STACEY                         HICKS, STEPHANIE
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HICKS, TAYLOR                        HICKSON, CHASE                        HICKSON, CHASE
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HICKSON, DAVID                       HICKSON, JULIE                        HICKSON, MELISSA
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HICKSON, TRACY                       HICOK, TAMMY                          HICYILMAZ, TIMUR
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HIDALGO CONSULTORES INC              HIDALGO, ALONSO                       HIDALGO, ANGELLY
350 S MIAMI AVE APT 3802             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MIAMI, FL 33130




HIDALGO, CARLOS                      HIDALGO, CARMEN                       HIDALGO, JAVIER
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HIDALGO, JOELY                       HIDALGO, KENNY                        HIDALGO, RUTH
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HIDAY, MICHAEL                       HIDDEN WOODS MEDIA                    HIDEN, SI
ADDRESS AVAILABLE UPON REQUEST       3216 TEJON STREET 201                 ADDRESS AVAILABLE UPON REQUEST
                                     DENVER, CO 80206




HIDINGER, DANIELLE                   HIEBERT, MICHAEL                      HIEBLER, SHANDI
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HIEMENZ, MARGARET     Case 22-11238-LSS    Doc
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HIERONYMUS, KENNETH                  HIERS, GRACI                           HIERSTEINER, DOROTHY
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HIESTER, KAREN                       HIETALA, MACKENZIE                     HIETPAS, JOSEPH
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HIGASHI, ASHLEY                      HIGBEE, ARTHUR                         HIGBEE, BRITTANNY
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HIGDON, BRENDA                       HIGDON, EMILY                          HIGDON, JOHN
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HIGDON, MEGAN                        HIGDON, MICHAEL                        HIGGERSON, KAYELEIGH
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HIGGINBOTHAM, AUTUMN                 HIGGINBOTHAM, DYLAN                    HIGGINBOTHAM, KELLEY
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HIGGINBOTHAM, SARAH                  HIGGINBOTHAM, SHERRY                   HIGGINBOTHAM, SUSAN
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HIGGINBOTHAM, TAMMY                  HIGGINBOTHAM, THOMAS                   HIGGINS (C/O VANYA MAASEN), AMANDA
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HIGGINS, AMANDA                      HIGGINS, AMANDA                        HIGGINS, ASHLYN
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HIGGINS, DEBBIE                      HIGGINS, DEBORAH                      HIGGINS, DIANNE
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HIGGINS, ELIZABETH                   HIGGINS, EMILIE                       HIGGINS, ERIN
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HIGGINS, ERIN                        HIGGINS, ERIN                         HIGGINS, HEATHER
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HIGGINS, JENNIFER                    HIGGINS, JENNIFER                     HIGGINS, JESSICA
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HIGGINS, KASEY                       HIGGINS, KATE                         HIGGINS, KATHERINE
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HIGGINS, KATHLEEN                    HIGGINS, LAKETIA                      HIGGINS, LIBBY
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HIGGINS, LINDSEY                     HIGGINS, LISA                         HIGGINS, MANDY
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HIGGINS, MARGARET                    HIGGINS, MATTHEW                      HIGGINS, MAUREEN
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HIGGINS, MEG                         HIGGINS, MEGHAN                       HIGGINS, MEREDITH
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HIGGINS, MICHAEL      Case 22-11238-LSS
                                     HIGGINS,Doc 2 Filed 11/30/22
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HIGGINS, ROBIN                       HIGGINS, RYLEY                        HIGGINS, SAMANTHA
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HIGGINS, SARAH                       HIGGINS, SARAH                        HIGGINS, SHANNON
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HIGGINS, SHELBY                      HIGGINS, SONYA                        HIGGINS, STEPHANIE
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HIGGINS, SUSAN                       HIGGINSON, AUDREY                     HIGGINSON, JACK
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HIGGINS-PURCELL, SUSAN               HIGGITT, SANDRA                       HIGGS THOMPSON, SHERA
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HIGGS, COREY                         HIGGS, EMILY                          HIGGS, LAKENDRA
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HIGGS, LYDIA                         HIGGS, MORGAN                         HIGGS, SAMUEL
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HIGGS, STEPHANIE                     HIGGS, VALERIE                        HIGH, AMBER
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HIGH, HOSANNA                        HIGH, JESSICA                         HIGH, JESSIE
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HIGH, MADELINE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                             HIGH, ROBERT
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HIGHAM, BROCK                        HIGHAM, LESLIE                          HIGHBARGER, ROBYN
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HIGHFIVE MOBILE, INC.                HIGHFIVE                                HIGHLAND VINEYARD SB, LLC
97 PEMBROKE ST 2                     ADDRESS UNAVAILABLE AT TIME OF FILING   P.O. BOX 12958
BOSTON, MA 02118                                                             SAN LUIS OBISPO, CA 93406




HIGHLAND, CATHERINE                  HIGHLAND, CLARE                         HIGHLAND, JORGE
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HIGHLAND, SUZAN                      HIGHLANDER, DENISE                      HIGHMILLER, LAURIE
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HIGHSMITH, LAKESHIA                  HIGHSMITH, RACHEL                       HIGHT, CAITLIN
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HIGHT, JON                           HIGHT, LAURA                            HIGHT, MARY
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HIGHTOWER, ALEX                      HIGHTOWER, DAIJA                        HIGHTOWER, DANIELLE
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HIGHTOWER, DEVYNI                    HIGHTOWER, JENNIFER                     HIGHTOWER, RICHARD
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HIGHTOWER, WENDE11                   HIGLEY, CARLEE                          HIGLEY, MADISON
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HIGLEY, MARYKATE      Case 22-11238-LSS
                                     HIGLEY, Doc 2 Filed 11/30/22
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HIGUERA, MANUEL                      HIJAZI, ZONA                          HILAIRE, KEANU
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HILAND, DANIEL                       HILAND, DEBORAH                       HILARIO, M
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HILARY BUTALA                        HILBER, PAUL                          HILBERT MICHELLE
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HILBERT THOMAS, SAMANTHA             HILBERT, ALEXIS                       HILBERT, AMY
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HILBERT, BELINDA                     HILBERT, DANIELLE                     HILBERT, DEBBIE
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HILBERT, JAMES                       HILBERT, KATE                         HILBERT, KIRSTEN
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HILBERT, LINDA                       HILBISH, SARIAH                       HILBORN, APRIL
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HILBORN, TAYLOR                      HILBRICH, TOM                         HILBURN, AMBER
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HILBURN, LISA                        HILBURN, SARAH                        HILBURN, VALERIE
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HILCHEY, LUMINITA     Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HILDA, DORA                      Page 2156  of 5495
                                                                           HILDEBIDLE, DARCY
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HILDEBRAND, ALYCIA                   HILDEBRAND, CAROL                      HILDEBRAND, CRAIG
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HILDEBRAND, GRACE                    HILDEBRAND, JACKIE                     HILDEBRAND, JOHN
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HILDEBRAND, KATHARINE                HILDEBRAND, KYLIE                      HILDEBRAND, MADISON
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HILDEBRAND, MALLORY                  HILDEBRAND, MALLORY                    HILDEBRAND, TAYLOR
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HILDEBRANDT, AMANDA                  HILDEBRANDT, ASHLEY                    HILDEN, LAURA
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HILDEN, LAUREN                       HILDEN, TERRAN                         HILDER, GAVIN
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HILDERBRAND, KEVIN                   HILDERBRAND, KRIS                      HILDERHOFF, REBECCA
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HILDRETH, ANNE                       HILDRETH, CHELSEA                      HILDRETH, DANIEL
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HILDRETH, JEAN                       HILDRETH, JILL                         HILDRETH, KRISTI
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HILDRETH, NATALIE     Case 22-11238-LSS     Doc
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                                                                           HILE, ADAM
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HILE, COREY                          HILE, STEVEN                          HILES, DAVE
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HILES, RACHEL                        HILEY, DIANE                          HILEY, JESSICA
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HILFIGER, ELIZABETH                  HILGART, ERIN                         HILGART, GINA
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HILGART, JENNA                       HILGEN, KATHERINE                     HILKER, ANNE
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HILKER, NICOLE                       HILKER, TIFFANY                       HILL CIESIELSKI, MEREDITH
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HILL, ALEXANDRA                      HILL, ALEXANDRA                       HILL, ALYCE
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HILL, AMANDA                         HILL, AMANDA                          HILL, AMBER
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HILL, AMY                            HILL, ANDREW                          HILL, ANN
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HILL, ANNA                           HILL, ANNAMARIE                       HILL, ANNIE
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                                                                           HILL, ASHLEY
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HILL, ASHLEY                         HILL, ASHLEY                          HILL, ASHLEY
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HILL, ASHLYN                         HILL, B                               HILL, BETTY
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HILL, BRETT                          HILL, BRIAN                           HILL, BRILEY
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HILL, BRITTANY                       HILL, BRITTNEE                        HILL, BRITTNEY
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HILL, CAITRIN                        HILL, CAMERON                         HILL, CARLEY
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HILL, CHANTALLE                      HILL, CHASE                           HILL, CHASITY
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HILL, CHERYL                         HILL, CHERYL                          HILL, CHEYENNE
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HILL, CHRISTINA                      HILL, CHRISTY                         HILL, CONNIE
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HILL, CORA                           HILL, COREY                           HILL, COURTNEY
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HILL, COURTNEY        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           HILL, CRYSTAL
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HILL, DANA                           HILL, DEAN                            HILL, DEANNA
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HILL, DEBRA                          HILL, DWAINE                          HILL, EDWYNA
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HILL, EILEEN                         HILL, ELIZABETH                       HILL, ELIZABETH
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HILL, ELIZABETH                      HILL, EMILY                           HILL, EMILY
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HILL, ERIN                           HILL, EVAN                            HILL, GAIL
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HILL, GEORGE                         HILL, GEORGIA                         HILL, GERALD
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HILL, GINA                           HILL, GREGORY                         HILL, HANNAH
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HILL, HEIDI                          HILL, HOLLI                           HILL, HOLLIE
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HILL, HOLLIS                         HILL, JAIME                           HILL, JAMES
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HILL, JANICE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HILL, JANICE                     Page 2160    of 5495
                                                                           HILL, JEFFREY
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HILL, JENNIFER                       HILL, JENNIFER                         HILL, JENNIFER
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HILL, JESSICA                        HILL, JESSICA                          HILL, JESSICA
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HILL, JESSIE                         HILL, JILLIAN                          HILL, JILLIAN
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HILL, JOCELYN                        HILL, JODI                             HILL, JORDAN
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HILL, JOSEPH                         HILL, JULIE                            HILL, JULIETTE
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HILL, KALI                           HILL, KAREN                            HILL, KAREN
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HILL, KATHARINE                      HILL, KAYLA                            HILL, KEESHA
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HILL, KELLY                          HILL, KELSEY                           HILL, KENNETH
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HILL, KIMBERLY                       HILL, KIMBERLY                         HILL, KRISTIAN
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HILL, KRISTIN         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HILL, LARKIN                         HILL, LAURA                           HILL, LAURA
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HILL, LAURA                          HILL, LAUREN                          HILL, LAURIE
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HILL, LEAH                           HILL, LESLEE                          HILL, LINDSAY
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HILL, LIZ                            HILL, LOUANNE                         HILL, LUCY
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HILL, MARIE                          HILL, MARK                            HILL, MATTHEW
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HILL, MELISSA                        HILL, MELISSA                         HILL, MILAGROS
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HILL, MISTY                          HILL, MITCH                           HILL, MORGAN
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HILL, NAOMI                          HILL, NATALIE                         HILL, NATE
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HILL, NATE                           HILL, NICOLE                          HILL, NINA
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HILL, PORSCHE                        HILL, RACHEL                          HILL, RAE
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HILL, RAFI                           HILL, RANDY                           HILL, REGGIE
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HILL, ROBERT                         HILL, ROGER                           HILL, SARAH
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HILL, SARAH-JANE                     HILL, SHANNEN                         HILL, SHANNON
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HILL, SHANNON                        HILL, SHANNON                         HILL, SHERRI
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HILL, SKYLAR                         HILL, STEVEN                          HILL, SUMMER
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HILL, SUSAN                          HILL, SUSAN                           HILL, TABITHA
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HILL, TAYLOR                         HILL, TAYLOR                          HILL, TINA
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HILL, TORRY                          HILL, VICTORIA                        HILL, VICTORIA
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HILL, VICTORIA        Case 22-11238-LSS       Doc 2 Filed 11/30/22
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HILL, WILLIAM                        HILLAND, TAYLOR                       HILLARD, JAMES
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HILLARY, REBECCA                     HILLAURY PEREZ                        HILL-DOOLEY, PEGGY
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HILLE, CARL                          HILLE, DARCY                          HILLEARY, KRISTIN
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HILLEBRAND, AMANDA                   HILLEBRAND, KATE                      HILLEBRECHT, NOELIE
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HILLEGAS, FREDERICK                  HILLEGAS, LAUREN                      HILLEN, JUSTINA
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HILLEN, ROBERT                       HILLENBRAND, ADAM                     HILLENBRAND, SUSAN
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HILLENMEYER, JAN                     HILLER, AMY                           HILLER, ANGI
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HILLER, KEITH                        HILLER, LINDSAY                       HILLER, MARGARET
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HILLER, MICHAEL                      HILLER, SUSAN                         HILLER, TERESA
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HILLERY, EBONY                       HILLES, STEPHANIE                     HILLESHEIM, ALLIE
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HILLESHIEM, JESSICA                  HILLESHIEM, JESSICA                   HILLESLAND, JACOB
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HILLESTAD, WILLIAM                   HILLIARD, ANN                         HILLIARD, CALLA
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HILLIARD, COURTNEY                   HILLIARD, HADASSAH                    HILLIARD, JOHN
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HILLIARD, KENDEE                     HILLIARD, KYLIE                       HILLIARD, MICHAELA
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HILLIARD, MICHELLE                   HILLIARD, RORY                        HILLIARD, SHANI
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HILLIARD, SUSANNAH                   HILLIER, KAREN                        HILLIER, MICHAEL
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HILLIKER, CHRISTI                    HILLIKER, LEA                         HILLIN, JOSEPH
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HILLIS, BETH                         HILLIS, TORI                          HILLMAN, ANNETTE
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HILLMAN, JONATHAN                    HILLMAN, LESLIE                       HILLMAN, MELISSA
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HILL-MATTHIESEN, SARAH               HILLO, BRIANA                         HILL-OTT, KATHERINE
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HILL-PETERSON, KRISTEN               HILLRIEGEL, JACQUELINE                HILLS, AMANDA
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HILLS, CAITLIN                       HILLS, CARA                           HILLS, DAWN-MARIE
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HILLS, EMERY                         HILLS, HALEY                          HILLS, KAYLEE
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HILLS, MARY                          HILLS, MICHELLE                       HILLS, SHANICE
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HILLS-DUNLAP, JONATHAN               HILLSIDE ROAD, LLC                    HILLSMAN, MARVA
ADDRESS AVAILABLE UPON REQUEST       690 ALAMO PINTADO ROAD                ADDRESS AVAILABLE UPON REQUEST
                                     SOLVANG, CA 93463




HILLSTROM, MARY                      HILLTOP SECS (0279)                   HILLWICK, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ATTN PROXY DEPT                       ADDRESS AVAILABLE UPON REQUEST
                                     1201 ELM ST
                                     STE 3500
                                     DALLAS, TX 75270



HILLYER, AMY                         HILLYER, ERIN                         HILLYER, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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HILS, NATALIE                        HILSABECK, KARIN                        HILSBERG, CHARLOTTE
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HILSBERG, KATHERINE                  HILSCHER, CLAIRE                        HILSHEIMER, KRISTINA
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HILSMAN, JULIE                       HILTERBRANDT, KIMBERLY                  HILT-KARPES, JENNIFER
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HILTNER, TERESE                      HILTON CIRCA                            HILTON, ASHLEY
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HILTON, CHRIS                        HILTON, EMILY                           HILTON, KATHLEEN
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HILTON, KRISTIN                      HILTON, LATINA                          HILTON, MARGARET
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HILTON, NATHAN                       HILTON, OWEN                            HILTON, TAYLOR
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HILTON, TRACY                        HILTON, TYLER                           HILTON, WILEY
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HILTPOLD, TIFFANY                    HILTY, GRACE                            HILTY, JACLYN
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HILVERS, LINDA        Case 22-11238-LSS
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HIME, BARBARA                        HIMELFARB, JEREMY                     HIMES, JO
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HIMES, RENEE                         HIMLIE, MICHELLE                      HIMMEL, MAUREEN
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HIMMELBERG, ADRIENNE                 HINA, BLAKE                           HINCAPIE, AMY
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HINCAPIE, DIANA                      HINCHEE, LAURA                        HINCHEY, MARY
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HINCHEY, SARAH                       HINCK, MELISSA                        HINCKER, CAITLIN
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HINCKLEY, GEORGE                     HINCKLEY, NICHOLAS                    HIND, SUSAN
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HINDEN, PAMELA                       HINDENACH, KEVIN                      HINDENLANG, AMY
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HINDENLANG, JANE                     HINDERKS, MELISSA                     HINDES, JANICE
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HINDIYEH, RAMY                       HINDLE, JOE                           HINDLIN, RYAN
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HINDMAN, KRISTI       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           HINDS, BRITTNEY
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HINDS, CHANTAL                       HINDS, DEBBIE                          HINDS, LAURA
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HINDS, NIARA                         HINDS, ROXANNE                         HINE, KRISTY
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HINE, TAYLOR                         HINER, SAMANTHA                        HINES, ADRIAN
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HINES, CHRISTOPHER                   HINES, ELIZABETH                       HINES, JUSTIN
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HINES, KATHERINE                     HINES, KATIE                           HINES, KELSEY
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HINES, KIM                           HINES, KRISTIN                         HINES, LAURA
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HINES, LAURA                         HINES, LAUREN                          HINES, LAUREN
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HINES, MARCY                         HINES, MARYKATE                        HINES, MCKYNA
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HINES, MEGAN                         HINES, PAIGE                           HINES, ROBIN
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HINES, RYAN           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HINES, SABRINA                   Page 2169   of 5495
                                                                           HINES, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HINES, SAMANTHA                      HINES, STEPHANIE                       HINES, TERESE
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HINES, TRACY                         HINES, WILLIAM                         HINES, WILLIAM
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HINES-IKE, KIRA                      HING, KRIS                             HINGA, THERESE
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HINGER, SUSAN                        HINGNIKAR, LEENA                       HINGORANI, CAITLIN
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HINGTGEN, KATHERINE                  HINISH, KATHRYN                        HINKEBEIN, MATTHEW
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HINKEL, COREY                        HINKEL, ERIN                           HINKEL, RICHARD
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HINKEL, ZACHARY                      HINKELMAN, SUZANNE                     HINKIE, CAMRI
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HINKLE, ANN MARIE                    HINKLE, BRIDGET                        HINKLE, CORI
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HINKLE, FRANK                        HINKLE, KATHARINE                      HINKLE, LARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HINKLE, PATRICIA      Case 22-11238-LSS     DocGREGORY
                                     HINKLEMAN, 2 Filed 11/30/22      Page 2170  ofKAITLIN
                                                                           HINKLEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HINKS, MICHAELA                      HINKSMON, WILLIAM                      HINKSON, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HINMAN & CARMICHAEL LLP              HINMAN, MELISSA                        HINNANT, SHANIKA
260 CALIFORNIA STREET STE 700        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94111




HINNENKAMP, RICHARD                  HINOJOSA, ALYSSA                       HINOJOSA, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HINOJOSA, KAR                        HINOJOSA, KATRINA                      HINOJOSA, MELODY
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HINOJOSA, MICHELLE                   HINOJOSA, SABRINA                      HINOJOSA, YESENIA
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HINOJOS-CAPES, MONICA                HINOTE, HAYLEY                         HINRICHS, AMBUR
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HINRICHS, KARL                       HINSDALE, KATHRYN                      HINSHAW SR, MICHAEL
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HINSHAW, ERIN                        HINSHAW, JOHN                          HINSHAW, MARY
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HINSHAW, TESS                        HINSON, ALLEGRA                        HINSON, DEBORAH
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HINSON, DEVIN         Case 22-11238-LSS
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HINSON, KRISTEN                      HINSON, MEGAN                          HINSON, MEREDITH
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HINSON, SIMONE                       HINTERKOERNER, JULIA                   HINTLIAN, RAE
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HINTON, ANGELA                       HINTON, CAROL                          HINTON, GINNY
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HINTON, KASSANDRA                    HINTON, KATHY                          HINTON, KATHY
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HINTON, LATOYA                       HINTON, LORNA                          HINTON, MEGAN
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HINTON, MIKAYLA                      HINTON, REBECCA                        HINTON, RUSSELL
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HINTON, RUTH                         HINTON, SARAH                          HINTZ, ERIKA
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HINTZ, KATIE                         HINTZ, NANCY                           HINTZ, RACHEL
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HINTZE, FRED                         HINTZEN, ASHLEY                        HINTZKE, JENA
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HINTZMAN, ADAM        Case 22-11238-LSS    Doc
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                                                                           HINTZSCHE, BETH
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HINZ, KRISTA                         HINZ, KRISTEN                          HINZE, BRAD & CHRIS
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HINZMANN, JENNIFER                   HIOTIS, KOSTA                          HIPOLITO SOLIS
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HIPOLITO, STEPHANIE                  HIPP, ASHLIE                           HIPPARD, JACLYN
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HIPPENHAMMER, CRAIGHTON              HIPPLE, JENNIE                         HIPPS, DENISE
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HIPSKIND, JENNIFER                   HIPWELL, MRS. VERNON (SHIRLEY)         HIRAD, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HIRAM INIGUEZ                        HIRAMOTO, JENNIFER                     HIRAV, DAVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HIRD, CULRETTA                       HIRD, MARY KAY                         HIREART, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         37 W17TH ST. SUITE 7W
                                                                            NEW YORK, NY 10011




HIREART, INC                         HIREMATH, KARAN                        HIROSHI TORIUMI
584 BROADWAY, SUITE 1201             ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10012




HIROTAKA SUGIOKA                     HIRSCH, ALEXANDRA                      HIRSCH, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HIRSCH, CELIA         Case 22-11238-LSS
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HIRSCH, MAUREEN                      HIRSCH, RACHEL                        HIRSCH, TEBRA
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HIRSCHBERG, RONALD                   HIRSCHBERG, SAMANTHA                  HIRSCHBERG, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HIRSCHENSON, MELISSA                 HIRSCHFELD, JENNIE                    HIRSCHFELD, KATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HIRSCHFELD, LAUREN                   HIRSCHFELD, VERONICA                  HIRSCHLER, AMANDA
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HIRSCHMAN, JENNIFER                  HIRSEN, ERICA                         HIRSEN, RON
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HIRST, JULIE                         HIRST, ROSE                           HIRSTEIN, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HIRST-HERMANS, ROB                   HIRT, NADINE                          HIRT, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HIRT, WILLIAM                        HIRTH, DARCI                          HIRTH, MARY
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HIRTHLER, KATIE                      HIRTZ, MARCIA                         HISCHAR, LORI
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




HISLE, MICHELLE                         HISLE, NICOLE                         HISLOP, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HISS, JACKILYN                          HISSONG, MOLLY                        HISTED, HEATHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HISTORIC SANTA MARIA INN                HISTORICAL AF PODCAST                 HITCH, CHELSEA
ADDRESS UNAVAILABLE AT TIME OF FILING   139 HIGH COUNTRY DRIVE                ADDRESS AVAILABLE UPON REQUEST
                                        SEQUIN, TX 78155




HITCH, COLLIN                           HITCH, EMMA                           HITCHCOCK WEBER, LISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HITCHCOCK, BOB                          HITCHCOCK, KRISTEL                    HITCHCOCK, MARQUISE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HITCHCOCK, NATHAN                       HITCHCOCK, SAVANNAH                   HITCHCOCK, STEFAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HITCHENS, JEFFREY                       HITCHENS, LAUREN                      HITE, ALEXA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HITE, ALEXANDER                         HITE, ALICIA                          HITE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HITE, JACOB                             HITE, MADISON                         HITE, PRESTON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HITE, RACHEL          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     HITE, RICHARD                    Page 2175   of 5495
                                                                           HITES, FAITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HITT, RAQUEL                         HITTENBERGER, BRIANNE                 HITTINGER, KRISTIAN
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HITTNER, JON                         HITTSON, AMANDA                       HITZ, KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HITZKE, GINGER                       HIX, KAICI                            HIXON, AMIE
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HIXON, ASHLEY                        HIXON, BRITTANY                       HIXON, HAYLEY
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HIXON, KARRIE                        HIXSON, JESSE                         HJALMAR DE BOER
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HJELLE, MARADEE                      HJELM, BRITTA                         HJELMSTAD, MARK
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HJELSAND, SARAH                      HJERESEN, CARL                        HL, MARY
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HLADKY GRANT, KATHLEEN               HLADKY, LAURA                         HLADYNIUK, MELISSA
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HLAING, KYAW TWETAR                  HLAVATY, NICOLE                       HLAVENKA, RICHARD
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HLAVINKA, KRISTEN     Case 22-11238-LSS    DocJENNIFER
                                     HLEBASKO,  2 Filed 11/30/22         Page 2176  of 5495
                                                                              HLEBICHUK, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




HLG ENTERPRISE LLC                    HLIFKA, TANYA                           HLINKA, LISA
HANNAH GODWIN                         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
2364 RIDGEMONT DR
BIRMINGHAM, AL 35244




HLIVAK, ALISON                        HLUSHKO, KATHERINE                      HLUSKO, SARAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HLUZ, KRISTA                          HMD THE NEW YORKER                      HMS HOST FOUNDATION
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING   6905 ROCKLODGE DR.
                                                                              BETHESDA, MD 20817




HNAT AND ROWICKI, BARBARA AND MARIA   HO, AIVY                                HO, ANDREW
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HO, ASHLEY                            HO, ELAINE                              HO, ELAINE
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HO, ELIZABETH                         HO, GAIL                                HO, GILBERT
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HO, HSING                             HO, JEN                                 HO, JENNY
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HO, KIM                               HO, LIA                                 HO, NCHUNG K
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HO, SHEILA                            HO, STEPH                               HO, STEPHANIE
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HO, THAO              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HO, THUANLY                      Page 2177  of 5495
                                                                           HO, VANESSA
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HOADLEY HEATHER                      HOAG, BETTY                           HOAG, DAGNY
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HOAG, DARRYL                         HOAG, KATIE                           HOAG, KAYLIN
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HOAGLAND, CHRISTOPHER                HOAGLAND, GEORGIA                     HOAGLAND, MEGAN
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HOAGLAND, PATRICK                    HOAGLUN, CRISTY                       HOAGLUND, BECKY
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HOAGLUND, CHLOE                      HOAGLUND, STEVEN                      HOANG, DYLAN
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HOANG, DZIEM                         HOANG, HAU                            HOANG, MAI
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HOANG, MICHAEL                       HOANG, RICHARD                        HOANG, SARAH
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HOANG, TRUDY                         HOANG, VAN                            HOANG, VY
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HOARD, CRYSTAL                       HOATSON, JENNY                        HOBACK, LINDSAY
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HOBAN, ANDREA         Case 22-11238-LSS
                                     HOBAN, Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOBAN, MARY                          HOBAN, MICHELE                        HOBAN, NICOLE
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HOBART, DAVID                        HOBBES, JESSICA                       HOBBICK, STACEY
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HOBBINS, RUSSEL                      HOBBS, ABIGAIL                        HOBBS, ADAM
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HOBBS, BEN                           HOBBS, CLAYTON                        HOBBS, CODY
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HOBBS, DOLORES                       HOBBS, ELISE                          HOBBS, HANNAH
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HOBBS, JIM                           HOBBS, KARISSA                        HOBBS, KELSI
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HOBBS, KYLE                          HOBBS, LANIE                          HOBBS, LEONARD
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HOBBS, MALISIA                       HOBBS, MELODY                         HOBBS, MORGAN
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HOBBS, PATRICIA                      HOBBS, SANDY                          HOBBS, SCOTT
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HOBBS, SHIRLIE        Case 22-11238-LSS
                                     HOBBS, Doc  2 Filed 11/30/22
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                                                                           HOBBS,of 5495
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HOBBS, THERESA                       HOBBS, TREVOR                         HOBBS, WESTON
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HOBBY, ALLISON                       HOBBY, ANNA                           HOBBY, BROOKE
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HOBDELL, FLORENCE                    HOBELMANN, ELIZABETH                  HOBEN, KATE
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HOBIN, AMANDA                        HOBLER, KIRSTYN                       HOBLEY, CAITLIN
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HOBLITZELL, KATE                     HOBO WINE COMPANY                     HOBO WINE COMPANY
ADDRESS AVAILABLE UPON REQUEST       2129 GRAHN DRIVE                      8437 GRAPE AVENUE
                                     SANTA ROSA, CA 95404                  FORESTVILLE, CA 95436




HOBOR, SARAH                         HOBSON, AMY                           HOBSON, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOBSON, CARTER                       HOBSON, GENEVIEVE                     HOBSON, KARA
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HOBSON, MOLLY                        HOBSON, TRACEY                        HOBZA, MITCHELL
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HOCEVAR, ALLISON                     HOCH, ADAM                            HOCH, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOCH, LORETTA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HOCH, SAMANTHA                   Page 2180 of 5495
                                                                           HOCHBERG, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOCHDERFFER, JEANINE                 HOCHFELD, GABRIELLE                   HOCHHALTER, LEXI
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HOCHHALTER, LIANA                    HOCHMAN, EMILY                        HOCHSTATTER, KELLIE
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HOCHSTEIN, EDWARD                    HOCHULI, VICTORIA                     HOCHWALT, JEFFREY
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HOCK, CHARLES                        HOCK, JESSICA                         HOCK, MARGARET
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HOCK, RACHAEL                        HOCKADAY, LEAH                        HOCKBEIN-BRYSE, KAYLEE
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HOCKENBURY, RHONDA                   HOCKER, KAILEE                        HOCKING, EMILY
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HOCKMAN, JESSIE                      HOCKMAN, ROBIN                        HOD, NOA
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HODAK, AMANDA                        HODAK, MAX                            HODEL, LAURA
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HODELIN, JUAN                        HODER, SHANNON                        HODGDON, ELISE
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HODGDON, LORA         Case 22-11238-LSS    Doc
                                     HODGDON,   2 Filed 11/30/22
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                                                                           HODGE,of 5495
                                                                                  ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HODGE, CELINA                        HODGE, DANIEL                         HODGE, DIONYSUS
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HODGE, EMILY                         HODGE, HEAVEN                         HODGE, HOLLY
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HODGE, JONATHAN                      HODGE, KATHRYN                        HODGE, LAUREN
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HODGE, LORI                          HODGE, MATTHEW                        HODGE, SIMON
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HODGE, SYDNEY                        HODGEMAN, SHARON                      HODGENS, ANDREA
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HODGES, ALISHA                       HODGES, CHANELL                       HODGES, DANIEL
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HODGES, DON                          HODGES, ELISABETH                     HODGES, GRACE
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HODGES, JAMES                        HODGES, JAMIE                         HODGES, JANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HODGES, JEANETTE                     HODGES, JENNIFER                      HODGES, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HODGES, KATE          Case 22-11238-LSS    Doc
                                     HODGES, KELI 2  Filed 11/30/22   Page 2182 ofLISA
                                                                           HODGES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HODGES, MADELEINE                    HODGES, MARIANA                       HODGES, MARTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HODGES, MATTHEW                      HODGES, MATTHEW                       HODGES, MONIQUE
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HODGES, NANCY                        HODGES, NICOLE                        HODGES, RAYMOND
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HODGES, REBECCA                      HODGES, REBECCA                       HODGES, RYAN
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HODGES, SUSAN                        HODGIN, JEFFERY                       HODGKINS, OLIVIA
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HODGSON, ALISON                      HODGSON, DOUGLAS                      HODGSON, GEOFFREY
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HODGSON, PHILIP                      HODKIN, ELIZABETH                     HODNETT, SANDRA
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HODO, AMANDA                         HODO, HANNAH                          HODOBA, RUBY
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HODOCK, TERESA                       HODOROABA, TATYANA                    HODOWANEC, SUSAN
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HODSDON, DOUGLAS      Case 22-11238-LSS    Doc
                                     HODSDON,   2 Filed 11/30/22
                                              MELANIE                 Page 2183 ofALEX
                                                                           HODSON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HODSON, ANN                          HODSON, JONATHAN                      HODSON, MARGARET
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HODULIK, MICHELLE                    HODUPP, ALEXIS                        HODZINSKI, MISSY
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HOEBERMANN, CHRISTINE                HOECKER, HEATHER                      HOEDEBECK, KAYLYN
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HOEFER, ERICA                        HOEFER, KATIE                         HOEFFNER, LEANNE
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HOEFNER, SARAH                       HOEFT, CHAD                           HOEFT, CHRISTAL
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HOEFT, CHRISTOPHER                   HOEFT, ERICA                          HOEFT, WENDY
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HOEG, RACHEL                         HOEGH, EMILY                          HOEHN, SAVANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOEHNE, CIARA                        HOEHNE, KELLY AND BILL                HOEHNE, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOEHNE, WILLLIAM                     HOEKENGA, VELENIA                     HOEKSTRA, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOEKSTRA, PETER       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HOEL, BROOKE                     Page 2184
                                                                           HOELL, of 5495
                                                                                  JULIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOELL, MORGAN                        HOELSCHER, KELSEY                      HOELSCHER, SALLIE
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HOELSCHER, STEPHANIE & HANS          HOELTZEL, JULIE                        HOELZER, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOELZER, KATIE                       HOENE STONE, LEANN                     HOENECKE, JULIA
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HOENER, EMILY                        HOENES, WILLIAM                        HOENIGMANN, STACY
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HOENING, MELISSA                     HOEPPNER, BETH                         HOEPPNER, ELYSSA
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HOEPPNER, JERRY                      HOERCHNER, LISA                        HOERIG, MEGHAN
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HOERL, DEBRA                         HOERMANN, ANGELA                       HOERNER, ELIZABETH
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HOERNER, FRITZ                       HOERNER, KAREN                         HOERSTEN, ALYSSA
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HOERSTER, MORGAN                     HOERSTING, BETHANY                     HOES, LORA
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HOESING, AMANDA       Case 22-11238-LSS    Doc
                                     HOESING,    2 Filed 11/30/22
                                              KIMBERLY                Page 2185  of 5495
                                                                           HOET, ELLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOEY, CAITLIN                        HOEY, EILEEN                          HOEY, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOEY, NICOLE E.                      HOEY, TARA                            HOFACKER, KRISTI
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HOFACKER, TAMI                       HOFBAUER, JOHN A.                     HOFER, JANET
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HOFER, KATHERINE                     HOFER, KATHLEEN                       HOFER, MELISSA
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HOFF, ASHLEY                         HOFF, CHLOE                           HOFF, JAY
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HOFF, JUSTINA                        HOFF, KATELYN                         HOFF, KATHLEEN
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HOFF, KELLY                          HOFF, KYLEA                           HOFF, LAUREN
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HOFF, SAMANTHA                       HOFF, YVETTE                          HOFFA, JORDAN
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HOFFACKER, LAUREN                    HOFFACKER, MARY LOU                   HOFFART, BEVERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOFFART, RYAN         Case 22-11238-LSS
                                     HOFFAY,Doc 2 Filed 11/30/22
                                             MEGAN                    Page 2186  of 5495
                                                                           HOFF-BENSON, JUANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOFFENBERG, MATT                     HOFFER, COURTNEY                       HOFFER, JACOB
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HOFFER, TRISTEN                      HOFFERBER, MELANIE                     HOFFERT, KIM
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HOFFERT, MAGGIE                      HOFFLAND, STEPHANIE                    HOFFLER, ALLIE
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HOFFMAN, ABIGAIL                     HOFFMAN, ADDISON                       HOFFMAN, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOFFMAN, ALEXANDRIA                  HOFFMAN, ALISON                        HOFFMAN, ALLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOFFMAN, ALLISON                     HOFFMAN, ALLISON                       HOFFMAN, ALLY
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HOFFMAN, AMANDA                      HOFFMAN, AMANDA                        HOFFMAN, AMBER
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HOFFMAN, AMELIA                      HOFFMAN, AMY                           HOFFMAN, ANNA
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HOFFMAN, ANNE                        HOFFMAN, AUTUMN                        HOFFMAN, BARBARA
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HOFFMAN, BETH         Case 22-11238-LSS    Doc
                                     HOFFMAN,   2 Filed 11/30/22
                                              BETH                    Page 2187 of 5495
                                                                           HOFFMAN, CAMERON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOFFMAN, CAMM                        HOFFMAN, CAROLINE                     HOFFMAN, CASEY
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HOFFMAN, CASSANDRA                   HOFFMAN, CHRISTOPHER                  HOFFMAN, CODY
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HOFFMAN, CYNTHIA                     HOFFMAN, CYNTHIA                      HOFFMAN, DANETTE
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HOFFMAN, DANIEL                      HOFFMAN, DANIEL                       HOFFMAN, DEYANIRA
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HOFFMAN, DONNA                       HOFFMAN, ELIZABETH                    HOFFMAN, ELLEN
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HOFFMAN, EMILY                       HOFFMAN, EMMA                         HOFFMAN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOFFMAN, HALEY                       HOFFMAN, HEATHER                      HOFFMAN, ITZEL
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HOFFMAN, JACQUELINE                  HOFFMAN, JASON                        HOFFMAN, JENNA
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HOFFMAN, JENNIFER                    HOFFMAN, JENNIFER                     HOFFMAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOFFMAN, JEREMY       Case 22-11238-LSS    Doc
                                     HOFFMAN,    2 Filed 11/30/22
                                              JESSICA                 Page 2188 of 5495
                                                                           HOFFMAN, JESSICA
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HOFFMAN, JOHNATHON                   HOFFMAN, JON                           HOFFMAN, JONATHAN
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HOFFMAN, JORY                        HOFFMAN, JOSEPH                        HOFFMAN, JULIA
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HOFFMAN, JULIE                       HOFFMAN, KASSIDEE                      HOFFMAN, KATELYN
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HOFFMAN, KATHRYN                     HOFFMAN, KATIE                         HOFFMAN, KELSIE
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HOFFMAN, KIM                         HOFFMAN, KIMBERLY                      HOFFMAN, LAURIE
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HOFFMAN, LILY                        HOFFMAN, LILYANN                       HOFFMAN, LINDSAY
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HOFFMAN, LINDSAY                     HOFFMAN, LUKE                          HOFFMAN, MADELEINE
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HOFFMAN, MARGARET                    HOFFMAN, MARLA                         HOFFMAN, MARY
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HOFFMAN, MEGAN                       HOFFMAN, MELANIE                       HOFFMAN, MERCEDES
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HOFFMAN, MIKE         Case 22-11238-LSS    Doc
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                                                                           HOFFMAN, P. CHRISTOPHER
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HOFFMAN, QUINTON                     HOFFMAN, RACHEL                        HOFFMAN, REBECCA
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HOFFMAN, REBECCA                     HOFFMAN, REMY                          HOFFMAN, ROBBIN
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HOFFMAN, SADA                        HOFFMAN, SARAH                         HOFFMAN, SHANNON
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HOFFMAN, SHARI                       HOFFMAN, SHEENA                        HOFFMAN, STARR
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HOFFMAN, TINA                        HOFFMAN, TYLER                         HOFFMAN, WAYNE
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HOFFMANN, CHRISTINA                  HOFFMANN, CHRISTINA                    HOFFMANN, CHRISTINE
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HOFFMANN, CHRISTINE                  HOFFMANN, CLAIRE                       HOFFMANN, ERIC
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HOFFMANN, GABBY       Case 22-11238-LSS    DocJR.,
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                                                                           HOFFMANN, KRISTI
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HOFFMANN, KURT                       HOFFMANN, KYLE                         HOFFMANN, LAUREN
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HOFFMANN, MEGHAN                     HOFFMANN, SAMANTHA                     HOFFMANN, SUE
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HOFFMANN, ZACHARY                    HOFFMANN-HALL, HOLLY                   HOFFMEISTER, KELSEY
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HOFFNER, JOHN                        HOFFNER, MOLLY                         HOFFNER, REBECCA
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HOFFPAUIR, CARINA                    HOFFSTETTER, KRISTINA                  HOFHENKE, BROOKE
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HOFMAN, JACILYN                      HOFMAN, RACHEL                         HOFMANN, FRANK
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HOFMANN, KAREN                       HOFMANN, MARK                          HOFMANN, MEREDITH
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HOFMANN, SYDNEY                      HOFMANN, SYDNEY                        HOFMANN, WILLIAM
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HOFMEISTER, ADDISON                  HOFMEISTER, JULIA                      HOFMEISTER, KAIA
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HOFSTAD, AMIE                        HOFSTETTER, JAMIE                       HOFSTETTER, KATIE
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HOFSTETTER, THOMAS                   HOG ISLAND OYSTER BAR                   HOGAN, AL
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HOGAN, ALBERT                        HOGAN, ALISSA                           HOGAN, AMELIA
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HOGAN, BETTY                         HOGAN, BRENDA                           HOGAN, BRENDA
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HOGAN, BROOKE                        HOGAN, CAITLIN                          HOGAN, CALLIE
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HOGAN, CHRIS                         HOGAN, CLAIRE                           HOGAN, DANIELLE
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HOGAN, EDWARD                        HOGAN, ERIN                             HOGAN, GARY
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HOGAN, HEIDI                         HOGAN, HOLLY                            HOGAN, JENNI
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HOGAN, JENNIFER                      HOGAN, JOHN                             HOGAN, JOHN
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                                     HOGAN, Doc 2 Filed 11/30/22
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HOGAN, KELLIE                        HOGAN, MARK                           HOGAN, MATT
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HOGAN, MAYA                          HOGAN, MELISSA                        HOGAN, MELISSA
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HOGAN, MICHELE                       HOGAN, MIKE                           HOGAN, STEVE
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HOGAN, TAYLOR                        HOGAN, TERESA                         HOGAN, TIERNEY
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HOGAN, TINA                          HOGAN, VICTORIA                       HOGAN, WILLIAM
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HOGARTH, LAUREN                      HOGENMILLER, JENNIFER                 HOGG CALL, KATHERINE
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HOGG, ANGELINA                       HOGG, CAREY                           HOGG, JOEL
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HOGG, KRISTEN                        HOGG, LARYN                           HOGG, MAT
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HOGLEN, BRIANNA                      HOGLUND, JESSICA                      HOGREFE, TALLE
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HOGSHEAD WINE CO, LLC.               HOGSHEAD WINE CO.                     HOGSTAD, CORI
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HOGSTROM, INGER                      HOGUE, ALICE                          HOGUE, ALLYSON
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HOGUE, ANGELA                        HOGUE, JOHN                           HOGUE, KELLY
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HOGUE, KELSEY                        HOGUE, MARCI                          HOGUE, MARCI
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HOGUE, MATT                          HOGUE, MOLLY                          HOGUE, SHERRY
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HOGUE, STEVE                         HOGUE, SUSAN                          HOGUE, TIFFANY
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HOH, FRAN                            HOHENBERGER, LAWANA                   HOHENBERGER, SCHYLER
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HOHL, JEFF                           HOHL, KATLYN                          HOHMAN, ALISON
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HOHN, JULIA                          HOHNCKE, ANDREW                        HOHNCKE, TAYLOR
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HOHNKE, CHERRI                       HOHOLICK, MAYA                         HOHOS, DANIELLE
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HOHOS, MICHAEL                       HOHREITER, DANIELLE                    HOIBERG, JANET
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HOIDAL, DENISE                       HOIEM, LAUREN                          HOINS, CASEY
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HOINS, JOHN                          HOITEN, SHELBI                         HOJAS, YESENIA
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HOJNACKE, AARON                      HOKANSON, JOLENE                       HOKE, ALISON
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HOKE, HANNAH                         HOKE, JOEL                             HOKE, MADALYN
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HOKIA, VERNON                        HOLABIRD, CHRIS                        HOLACHEK, EDWARD
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HOLAHAN, MOLLY                       HOLBEN, COLLIN                         HOLBEN, SARAH
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HOLBERT, ALYSSA       Case 22-11238-LSS    Doc
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HOLBERT, STACEY                      HOLBERT, TALONA                       HOLBROOK, C. CORLEY
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HOLBROOK, CAROLYN                    HOLBROOK, CHRISTA                     HOLBROOK, COLLEEN
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HOLBROOK, COURTNEY                   HOLBROOK, GINA                        HOLBROOK, MARA
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HOLBROOK, MICKEY                     HOLBROOK, NATASHA                     HOLBROOK, OLIVIA
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HOLBROOK, REBECCA                    HOLBROOK, STEPHEN                     HOLBY, PETER
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HOLCER, VAUGHN                       HOLCOMB, CASEY                        HOLCOMB, JESSICA
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HOLCOMB, KRISTEN                     HOLCOMB, MARA                         HOLCOMB, MATT
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HOLCOMBE, CHELSEA                    HOLCOMBE, DONALD                      HOLCOMBE, ERIN
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HOLCOMBE, HEATHER                    HOLCOMBE, SHARON                      HOLCOMBE, SPRING
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HOLCOMBE, TIMOTHY     Case 22-11238-LSS     Doc 2 Filed 11/30/22 Page 2196
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                                                                           HOLDEMAN, ALYSSA
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HOLDEN, ALISON                       HOLDEN, BO                            HOLDEN, DEB
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HOLDEN, ERIN                         HOLDEN, JENNIFER                      HOLDEN, JESSICA
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HOLDEN, JOHNATHON                    HOLDEN, JULIE                         HOLDEN, KELLEY
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HOLDEN, KELSEY                       HOLDEN, KENZI                         HOLDEN, MICHAEL
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HOLDEN, PETER                        HOLDEN, ROBERT                        HOLDEN, ROD
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HOLDEN, SHELBY                       HOLDEN, SUSAN                         HOLDEN, TARA
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HOLDEN, TIM                          HOLDEN, VELMA                         HOLDENRID, CHANDLER
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HOLDEN-THOMAS, DANIELLE              HOLDER, ALEXANDRA                     HOLDER, ANNICA
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HOLDER, CHRISTOPHER                  HOLDER, DANIELLE                      HOLDER, DESIREE
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HOLDER, GREG          Case 22-11238-LSS
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HOLDER, LAWANZA                      HOLDER, SHERRI                        HOLDER, TIMOTHY
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HOLDERBAUGH, JESSICA                 HOLDERBAUM, TRICIA                    HOLDERFIELD, STEPHANIE
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HOLDERMAN, LEE                       HOLDERMAN, NICOLE                     HOLDING, ALYSSA
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HOLDING, MELISSA                     HOLDREN, BRITTANY                     HOLDREN, MICHELLE
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HOLDREN, SHANNON                     HOLDSWORTH, HANNAH                    HOLE, DEBRA
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HOLECEK, ABBY                        HOLEHAN, JOHN                         HOLEM, GRAYSON
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HOLEMAN, ALEXANDRA                   HOLEMAN, NICHOLAS                     HOLEMAN, RHATANNA
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HOLEMAN, SAM                         HOLEN, MEGAN                          HOLEVAS, EMILY
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HOLGATE, COURTNEY                    HOLGREN, TRICIA                       HOLGUIN, JOSHUA
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HOLICK, CURTIS                       HOLICKY, HEATHER                      HOLIDAY INN
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HOLIHAN, AMY                         HOLIHAN, PATRICK                      HOLINSKI, CHRISTOPHER
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HOLJENCIN, JEANMARE                  HOLK, MADISON                         HOLL, KIRA
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HOLLADAY, CARI                       HOLLADAY, COURTNEY                    HOLLADAY, DALLAS
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HOLLADAY, DAVID                      HOLLAND & HART LLP                    HOLLAND, ALLISON
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HOLLAND, ANNE                        HOLLAND, ANNETTE                      HOLLAND, ARIANA
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HOLLAND, ARTHUR                      HOLLAND, BARRY                        HOLLAND, BEN
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HOLLAND, BRIGID                      HOLLAND, CAILTIN                      HOLLAND, CHELSEA
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                                                                           HOLLAND, 5495
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HOLLAND, DANIELLE                    HOLLAND, DEBRA                        HOLLAND, ELIZABETH
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HOLLAND, ELIZABETH                   HOLLAND, EMILEE                       HOLLAND, ERIN
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HOLLAND, FORREST                     HOLLAND, JACKSON                      HOLLAND, JEFF
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HOLLAND, JENNIFER                    HOLLAND, JESSICA                      HOLLAND, JONATHAN
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HOLLAND, KAMRYN                      HOLLAND, KATHERINE                    HOLLAND, KATIE
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HOLLAND, KATY                        HOLLAND, KIMBERLY                     HOLLAND, KRISTEN
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HOLLAND, KRISTIN                     HOLLAND, LACEY                        HOLLAND, LAUREN
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HOLLAND, LAUREN                      HOLLAND, LINDSEY                      HOLLAND, LORI
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HOLLAND, MANDIE                      HOLLAND, MELISSA                      HOLLAND, MICHELE
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HOLLAND, NIKI                        HOLLAND, PRESTON                       HOLLAND, RILEY
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HOLLAND, RILEY                       HOLLAND, ROBERT                        HOLLAND, SAMANTHA
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HOLLAND, SARAH                       HOLLAND, SARAH                         HOLLAND, SHELLI
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HOLLAND, TAMARA                      HOLLAND, THERESA                       HOLLAND, THERESE
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HOLLAND, TRACY                       HOLLAND, VALERIA                       HOLLAND, WADE
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HOLLANDER, JASON                     HOLLANDER, TRISHA                      HOLLANDSWORTH, NICKIE
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HOLLAR, LAPORCHE                     HOLLAR, LAUREL                         HOLLE, KRISTEN
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HOLLEBON, PATRICK                    HOLLEMAN, BILL                         HOLLEMAN, RACHEL
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HOLLENBAUGH, ERIN                    HOLLENBAUGH, KAYLA                     HOLLENBECK, EMILY
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HOLLENBECK, NICOLE    Case 22-11238-LSS    Doc 2PAT Filed 11/30/22
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                                                                           HOLLENBECK, RACHEL
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HOLLENHORST, HAILEY                  HOLLENSTEIN, ELLEN                    HOLLER, CARLY
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HOLLER, JEANNETTE                    HOLLERAN, ABBY                        HOLLERAN, LARA
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HOLLERAN, MEGAN                      HOLLERAN, MIKE                        HOLLERBACH, DANIEL
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HOLLERBACH, LITTANY                  HOLLERBACH, LYNDSAY                   HOLLERUD, STEPHANIE
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HOLLEY, AMANDA                       HOLLEY, ANDREA                        HOLLEY, BETSEY
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HOLLEY, BROOKE                       HOLLEY, CHELSEA                       HOLLEY, DEANNA
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HOLLEY, DEBRA                        HOLLEY, EMMA                          HOLLEY, KELLY
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HOLLEY, PATRICIA                     HOLLEY, SHANNON                       HOLLEY, THOMAS
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HOLLIBAUGH, SHELLEY                  HOLLIDAY, BONNIE                      HOLLIDAY, JASON
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HOLLIDAY, JUSTYN      Case 22-11238-LSS     Doc
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                                                                           HOLLIDAY, KIYESHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLIDAY, KRISTINE                   HOLLIDAY, MALCOLM                      HOLLIDAY, MAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLIDAY, SKYE                       HOLLIDAY, STEPHANIE                    HOLLIDAY, ZACH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLIFIELD, SUE                      HOLLIMAN, KELLY                        HOLLINGER, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLINGER, ALICIA                    HOLLINGER, CASSIDY                     HOLLINGER, DARBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLINGER, DELOIS                    HOLLINGER, DEVIN                       HOLLINGER, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLINGER, MELINDA                   HOLLINGER, RYAN                        HOLLINGER, TESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLINGSHEAD, JULIE                  HOLLINGSHEAD, KENNA                    HOLLINGSHEAD, KRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLINGSHEAD, REBECCA                HOLLINGSWORTH, ALLYSON                 HOLLINGSWORTH, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLINGSWORTH, BRIGHTON              HOLLINGSWORTH, HOLLY                   HOLLINGSWORTH, JOSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HOLLINGSWORTH, KATIE Case 22-11238-LSS     Doc 2 LINDSEY
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                                                                           HOLLINGSWORTH,
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOLLINGSWORTH, PATRICK               HOLLINS, COURTNEY                     HOLLINS, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLINS, KAYLA                       HOLLINS, LISA                         HOLLINS, TAILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLINSHEAD, KATY                    HOLLINSHEAD, TARA                     HOLLIS, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLIS, BRIAN                        HOLLIS, BYRON                         HOLLIS, CONNOR
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HOLLIS, CRYSTAL                      HOLLIS, FAITH                         HOLLIS, HANNAH
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HOLLIS, JILL                         HOLLIS, KIMBERLY                      HOLLIS, MAKENZY
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HOLLIS, MOLLY                        HOLLIS, SAVANNAH                      HOLLIS, SETH
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HOLLIS, TIANA                        HOLLISTER, FLORINE                    HOLLISTER, MELISSA
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HOLLISTER, NICOLE                    HOLLISTER, PATRICK                    HOLL-LAKE, MERCEDES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLLLAND, DANIEL      Case 22-11238-LSS    Doc
                                     HOLLMAN,    2 Filed 11/30/22
                                              KRISTINE                Page 2204 of 5495
                                                                           HOLLMAN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLOCK, JOHN                        HOLLOMAN, CHRIS                       HOLLON, LEIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLOW, JOHN                         HOLLOW, KATE                          HOLLOWAY, ALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLOWAY, ANDREA                     HOLLOWAY, ANN                         HOLLOWAY, CHIMERE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLOWAY, CHIP                       HOLLOWAY, CL                          HOLLOWAY, CLARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLOWAY, ELIZABETH                  HOLLOWAY, JUDITH                      HOLLOWAY, JULIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLOWAY, KRISTIN                    HOLLOWAY, MARC                        HOLLOWAY, MARIA
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HOLLOWAY, MARK                       HOLLOWAY, MICHELLE                    HOLLOWAY, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLOWAY, NORA                       HOLLOWAY, RACHEL                      HOLLOWAY, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLOWAY, SARA                       HOLLOWAY, TRAVIS                      HOLLOWELL, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLLY ALLEN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HOLLY ALLEY                      Page 2205  of 5495
                                                                           HOLLY BRASWELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLY ELIZABETH TYLER                HOLLY ELLEN MANION                    HOLLY FAUST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLY FRIEDSON                       HOLLY H WAGNER                        HOLLY J PORTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLY JANELLE SHARP                  HOLLY SHIPLEY                         HOLLY SMITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLY WRIGHT-SADLER                  HOLLY, AGUDO,                         HOLLY, AZULAY,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLLY, BARBARA                       HOLLY, DEIDRE                         HOLLY, ELEANOR
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HOLLY, NANCY                         HOLLY, S                              HOLLY, SOPHIA
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HOLLY, SPENCER                       HOLLY-PRICE, GIA                      HOLLYWOOD BOWL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




HOLLYWOOD, JONATHAN                  HOLM, ARLENE                          HOLM, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLM, STEPHANEY                      HOLM, STEPHANIE                       HOLMAAS, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLMAN, BRENDA        Case 22-11238-LSS
                                     HOLMAN,Doc 2 Filed 11/30/22
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                                                                           HOLMAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMAN, LAURIE                       HOLMAN, MAX                           HOLMAN, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMAN, NATALIE                      HOLMAN, RICHARD                       HOLMAN, SUNNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMAN, THOMAS                       HOLMAN, THOMAS                        HOLMAN, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMBECK, KRISTEN                    HOLMBERG, JENNIFER                    HOLMBERG, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMBERG, KIM                        HOLMDEN, JAIME                        HOLMES STAMP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




HOLMES, ABBY                         HOLMES, ABIGAIL                       HOLMES, ALETA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, ALLI                         HOLMES, ANISSA                        HOLMES, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, ASHLEY                       HOLMES, BAILY                         HOLMES, BRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, BRIANNA                      HOLMES, BRITTANY                      HOLMES, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLMES, CAMI          Case 22-11238-LSS
                                     HOLMES,Doc  2 Filed 11/30/22
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                                                                           HOLMES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, CHRISTOPHER                  HOLMES, CURTIS                        HOLMES, DALAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, DAN                          HOLMES, DARIAN                        HOLMES, DARLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, ELLEN                        HOLMES, ELLEN                         HOLMES, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, ERIC                         HOLMES, ERIN                          HOLMES, GENEVIEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, HADASSAH                     HOLMES, HALEY                         HOLMES, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, HENRY                        HOLMES, HOPEANNE                      HOLMES, HUNTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, IRENE                        HOLMES, IVORY                         HOLMES, IVY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, JACEY                        HOLMES, JANET                         HOLMES, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, JESSICA                      HOLMES, JESSICA                       HOLMES, JODI N
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLMES, JUDI          Case 22-11238-LSS
                                     HOLMES,Doc
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                                                                           HOLMES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, KEVIN                        HOLMES, LINDA                         HOLMES, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, LINDSEY                      HOLMES, LISA                          HOLMES, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, MADDISON                     HOLMES, MARSHALL                      HOLMES, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, MEKO                         HOLMES, NATHANIEL                     HOLMES, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, RANDY                        HOLMES, SAVANNAH                      HOLMES, SHALYCE
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HOLMES, SHANNA                       HOLMES, SHELBY                        HOLMES, TAWNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, THERESA                      HOLMES, TIWANA                        HOLMES, TODD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES, WADE                         HOLMES, ZACHARY                       HOLMES, ZEQUESHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMES-MCKENNA, MARIANNE             HOLMESTORRES, LEANDRA                 HOLMGREEN, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLMGREN, BETH        Case 22-11238-LSS    Doc
                                     HOLMOK,    2 Filed 11/30/22
                                             BRADY                    Page 2209 of 5495
                                                                           HOLMQUIST, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLMQUIST, MICHELLE                  HOLMQUIST, MORGAN                     HOLNESS, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLNESS, DAVID                       HOLNESS, TOYA                         HOLOHAN, KRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLOMAN, CHRISTOPHER                 HOLOMBEK, EMILY                       HOLOPIREK, LEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLOUBEK, MOLLY                      HOLP, CHRISTOPHER                     HOLPUCH, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLROYD, MICHELLE                    HOLSAPPLE, SYDNEY                     HOLSCHER, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLSCHUH, CARRIE                     HOLSEY, JOSHUA                        HOLSGROVE, KATTHYA
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HOLSOPPLE, CHELSEA                   HOLST, ALLAN                          HOLST, AMBER
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HOLST, MARISSA                       HOLST, MARY                           HOLST, NATALIE
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HOLST, SAMANTHA                      HOLSTEIN, JEANNIE                     HOLSTEIN, KAREN AND JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLSTEIN, LAIECHA     Case 22-11238-LSS    Doc
                                     HOLSTEN,    2 Filed 11/30/22
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                                                                           HOLSTON, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLT, ABBIE                          HOLT, ALEXA                           HOLT, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLT, ANGIE                          HOLT, AUDREY                          HOLT, BOBBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLT, BRIAN                          HOLT, CHARISSA                        HOLT, CHARLES
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HOLT, CHERYL                         HOLT, CLARA                           HOLT, COLLEEN
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HOLT, COLLIN                         HOLT, CORRINA                         HOLT, DANIELLE
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HOLT, DARIN                          HOLT, DEREK                           HOLT, EMMA
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HOLT, GRETCHEN                       HOLT, HALEY                           HOLT, HARRISON
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HOLT, HEATHER                        HOLT, JARED                           HOLT, JENNIFER
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HOLT, JESSI                          HOLT, JILLIAN                         HOLT, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLT, JULIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HOLT, JULIE                      Page 2211   of 5495
                                                                           HOLT, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOLT, KATHY                          HOLT, KELSEY                          HOLT, KEN
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HOLT, KENNYE                         HOLT, LAUREN                          HOLT, MADALYN
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HOLT, MANDA                          HOLT, MARY KATHRYN                    HOLT, MEGAN
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HOLT, MICHELLE                       HOLT, MIKE                            HOLT, NICOLE
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HOLT, NIKKI                          HOLT, ROSEMARY                        HOLT, SALLY
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HOLT, SYDVICIOUS                     HOLT, YOLANDA                         HOLTAN, ARLENE
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HOLTBERG, MICHAELA                   HOLTE, KARI                           HOLTE, LAURA
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HOLTEL, MARIBETH                     HOLTEN, KRISTEN                       HOLTERHOFF, MEGAN
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HOLTERMAN, KERRI                     HOLTGRAVE, KAITLIN                    HOLTHAUS, DEBI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOLTHAUS, DON         Case 22-11238-LSS    DocOLIVIA
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                                                                             HOLTHAUS, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOLTHUS, SALLY                       HOLTKAMP, CHERYL                        HOLTKAMP, DANIEL
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HOLTMAN, ANGELIQUE                   HOLTMAN, CHAD                           HOLTMAN, EMILY
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HOLTON, KIMM                         HOLTON, LISA                            HOLTON, MEGAN
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HOLTON, SAM                          HOLTON, VALERIE                         HOLTSCLAW, HALEY
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HOLT-WILSON, MARY                    HOLTZ, KRISTEN                          HOLTZ, LOUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOLTZ, MICHAEL                       HOLTZCLAW (HOLTZCLAW COMPLIANCE)        HOLTZEN, BRADLEY
ADDRESS AVAILABLE UPON REQUEST       PO BOX 26                               ADDRESS AVAILABLE UPON REQUEST
                                     HUGHSON, CA 95326




HOLTZER, MELISSA                     HOLTZINGER, HEATHER                     HOLTZMAN, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOLTZMAN, KELSEY                     HOLTZMAN, MARA                          HOLTZMAN, NICHOLAS
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HOLUB, ELAINE                        HOLUBEC, CECY                           HOLUM, FRANCES L
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HO-LUNG, MICHAEL      Case 22-11238-LSS    DocJANE
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                                                                             HOLWERDA, KISKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOLWITT, SUZANNE                     HOLY AOLI                               HOLYFIELD, ALIA
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HOLZ, JOANIE                         HOLZAPFEL, TYLYN                        HOLZBERG, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOLZBERG, NICOLE                     HOLZBERGER, LINDSEY                     HOLZER, BRIAN
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HOLZER, CIARA                        HOLZER, EMMA                            HOLZER, MONIQUE
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HOLZHUETER, AUSTYN                   HOLZKNECHT, LAURA                       HOLZMACHER, JEANIE
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HOLZMACHER, OLIVIA                   HOLZMACHER, ZARA                        HOLZMAN, JASON
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HOLZMAN, RENEE                       HOLZMANN, MADELINE                      HOLZMANN, SUSAN
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HOLZMEISTER, LAURA                   HOLZSCHUH, DIANE                        HOLZWARTH, KASI
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HOLZWARTH, MICALEEN                  HOM, ALISON                             HOM, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HOM, CECILIA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HOM, CHRISTINE                     Page 2214  of 5495
                                                                             HOM, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOM, SUSAN                           HOMA, AMIE                              HOMAN, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOMAN, BRITTANY                      HOMAN, EMILY                            HOMAN, JOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOMAN, LISA                          HOMAN, NICHOLAS                         HOMANS, MARDET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOMBRA, ENAN                         HOMBRA, TIFFANY                         HOMBURG, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOME                                 HOME, JENNIFER                          HOMEGOODS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




HOMEL, KATE                          HOMELIFE MEDIA LLC                      HOMENY, NICOLE
ADDRESS AVAILABLE UPON REQUEST       1510 S LEWIS ST                         ADDRESS AVAILABLE UPON REQUEST
                                     ANAHEIM, CA 92805




HOMER, ALEX                          HOMER, ARA                              HOMERUN RECORDS BVBA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          C/O PARDEE PROPERTIES
                                                                             1524 ABBOT KINNEY BLVD
                                                                             VENICE, CA 90291




HOMERUN RECORDS BVBA                 HOMETOWN BUFFET                         HOMEWOOD SUITES
GRIMBERGSESTEENWEG 15                ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
GRIMBERGEN 1850
BELGIUM




HOMFELDT, BREANNA                    HOMILLER, REBECCA                       HOMISAK, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HOMLISH, CAROLINE     Case 22-11238-LSS
                                     HOMRA, Doc 2 Filed 11/30/22
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                                                                           HOMSHER, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOMSHER, JUSTIN                      HOMZA, HENRY                          HON, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HON, STEPHEN AND EMILY               HONAKER, JOHN                         HONAKER, PEGGY & DAVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONAKER, RESHMA                      HONCOOP, MINDY                        HONDA, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONDROS-MCCARTHY, MIKAELA            HONEA VINEYARDS, LP                   HONECK, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       4033 CUERVO AVE                       ADDRESS AVAILABLE UPON REQUEST
                                     SANTA BARBARA, CA 93110




HONER, LESLIE                        HONER, MARGARET                       HONERKAMP, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONERMAN, ELISE                      HONES, MOLLY                          HONESTLY MEDIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        5685 OAK GROVE AVENUE
                                                                           OAKLAND, CA 94618




HONESTO, ANTHONY                     HONEYCUTT, CHANTEL                    HONEYCUTT, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONEYCUTT, KATHRYN                   HONEYCUTT, KATIE                      HONEYCUTT, NICOLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONEYCUTT, SADIE                     HONEYMAN, GREGORY                     HONG SWAIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HONG, ANTHONY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HONG, ASHLEY                     Page 2216  of 5495
                                                                           HONG, DAPHNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONG, HANA                           HONG, JIN                             HONG, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONG, KEE                            HONG, MICHAEL                         HONG, RUINI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONG, SPENCER                        HONG, TANIA                           HONG, VIVIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONG, VIVIAN                         HONG, YAE                             HONGISTO, JAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONGSHI XU                           HONICKMAN, MAURI                      HONIG, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONIG, LEE                           HONIG, LINDSAY                        HONIG, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONIG, RACHEL                        HONIG, STEPHANIE                      HONIGBERG, JESSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONIGMAN, DAVID                      HONN, LUCAS                           HONORE, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HONORE, AMANDA                       HONORE, ERICA                         HONORE, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HONQUEST, COLLEEN     Case 22-11238-LSS    Doc
                                     HONRATH,   2 Filed 11/30/22
                                              GEORGIANA               Page 2217  of 5495
                                                                           HOO, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOO, KAILEY                          HOOBLER, ANGELA                       HOOD- DPSI, BRANDY
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HOOD, ALLISON                        HOOD, ASHLEY                          HOOD, CHANNING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOD, CLAIRE                         HOOD, COURTNEY                        HOOD, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOD, GENEVIEVE                      HOOD, JESSIE                          HOOD, JONATHAN
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HOOD, KATELYN                        HOOD, KATIE                           HOOD, KAYLA
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HOOD, KRISTINA                       HOOD, LAUREN                          HOOD, LAUREN
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HOOD, LISA                           HOOD, LISA                            HOOD, MARY
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HOOD, MATTHEW                        HOOD, MICHAEL                         HOOD, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOD, REBECCA                        HOOD, RUSTIN                          HOOD, SEBASTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOOD, TAMRA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HOOD, TERESA                     Page 2218  of 5495
                                                                           HOOD, TINA
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HOOD, WHITNEY                        HOOD, XAVIEN                          HOODA, SHEM
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HOOGENBOOM, ARI                      HOOGENHOUT, JORDAN                    HOOGERHYDE, KATHY
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HOOGERWERFF, KATIE                   HOOGLAND, STEVEN                      HOOK, EMILY
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HOOK, GARY                           HOOK, GEOFFREY                        HOOK, JESSICA
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HOOK, KATHARINE                      HOOK, KELLEY                          HOOK, LATIFFANY
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HOOK, STEVEN                         HOOK, TANISHA                         HOOKER, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOKER, ALEX                         HOOKER, ANNA                          HOOKER, BRANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOKER, CHRISTINE                    HOOKER, CODY                          HOOKER, LINNEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOKER, MARY                         HOOKER, MIKE                          HOOKER, SADIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOOKER, TASHEBRA      Case 22-11238-LSS    Doc
                                     HOOKEY,    2 Filed 11/30/22
                                             MEGAN                    Page 2219
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                                                                                 WAYMAN,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOKS WILLIAMS, ASHLEY               HOOKS, CHRIS                          HOOKS, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOKS, JOSHUA                        HOOKS, LASANDRA                       HOOKS, LAURA
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HOOLBOOM, CHRISTINE                  HOOMANAWANUI, MAGGIE                  HOON, DUSTIN
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HOOP, EMMA                           HOOPAUGH, ERIN                        HOOPER, ANDREA
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HOOPER, BARBARA                      HOOPER, CHARLI ANN                    HOOPER, COLLINS
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HOOPER, HOLLIE                       HOOPER, JENNIFER                      HOOPER, KANDICE
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HOOPER, KATIE                        HOOPER, KEITH                         HOOPER, KELLI
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HOOPER, LAURA                        HOOPER, LISA                          HOOPER, NICOLE
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HOOPER-HAMERSLEY, SAMANTHA           HOOPES, JOSIE                         HOOPES, PARKER
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HOOPES, STEPHANIE     Case 22-11238-LSS    Doc
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                                                                             HOOPS,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOOS, JUSTINA                        HOOSER, KAYLA                           HOOSIER, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOOTEN, KRISTAL                      HOOTEN, MEGAN                           HOOTMAN, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HOOTSTEIN, EMILY                     HOOTSUITE MEDIA INC.                    HOOVEN, ANTONIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




HOOVEN, CAROLYN                      HOOVEN, JENNIFER                        HOOVER, ANDREW
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HOOVER, ANN                          HOOVER, ANNE                            HOOVER, ASH
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HOOVER, BRITTNI JADE                 HOOVER, BRUCIE & ELLEN                  HOOVER, CAITLIN
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HOOVER, CHARITY                      HOOVER, CHARLES                         HOOVER, CLAIRE
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HOOVER, DENNIS                       HOOVER, ERICA                           HOOVER, KELSEY
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HOOVER, KIRSTEN                      HOOVER, MAXINE                          HOOVER, MINDY
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HOOVER, PAIGE         Case 22-11238-LSS    Doc
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                                             PAMELA                   Page 2221 ofPAUL
                                                                           HOOVER, 5495
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HOOVER, RAYNE                        HOOVER, ROBERT                        HOOVER, ROBERT
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HOOVER, SHARMIN                      HOOVER, STEPHANIE                     HOOVER, VINCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOOVER-BATT, ASTRID                  HOOVEY, RANDY                         HOP & WINE BEVERAGE, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        22714 GLENN DRIVE STE. 130
                                                                           STERLING, VA 20164




HOPBALLE, BRITTANY                   HOPCIAN, THOMAS                       HOPDADDY BURGERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




HOPE HOWE                            HOPE, ALLEN                           HOPE, AMANDA
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HOPE, BRIA                           HOPE, CAROLINE                        HOPE, KARLA
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HOPE, LEIGH                          HOPE, TYLER                           HOPF, JORDAN
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HOPKE, TABETHA                       HOPKINS JR, ANTHONY                   HOPKINS, ALEXANDER
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HOPKINS, ALLIE                       HOPKINS, ARIEL                        HOPKINS, BARBARA
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HOPKINS, BRAD         Case 22-11238-LSS    Doc
                                     HOPKINS,    2 Filed 11/30/22
                                              BROOKE                  Page 2222  of BROOKE
                                                                           HOPKINS, 5495
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HOPKINS, CINDY                       HOPKINS, COLLIN                       HOPKINS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOPKINS, HANNAH                      HOPKINS, HEATHER                      HOPKINS, HENRY
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HOPKINS, ISSAC                       HOPKINS, JENEVA                       HOPKINS, KACI
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HOPKINS, KAYLIE                      HOPKINS, KEVIN                        HOPKINS, MEGAN
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HOPKINS, MEGAN                       HOPKINS, MELISSA                      HOPKINS, MELISSA
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HOPKINS, MICHEAL                     HOPKINS, MICHELLE                     HOPKINS, PAIGE
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HOPKINS, PAULA                       HOPKINS, RACHEL                       HOPKINS, RALPH
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HOPKINS, REZON                       HOPKINS, SAM                          HOPKINS, SARAH
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HOPKINS, SCOTTIE                     HOPKINS, TERESA                       HOPKINS, THERESA
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HOPKINS, TIFFANY      Case 22-11238-LSS    Doc
                                     HOPKINS,     2 Filed 11/30/22
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HOPP, KELLIE                         HOPP, MEGAN                           HOPP, NANCY
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HOPPE, ADREANNE                      HOPPE, CAROLE                         HOPPE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOPPE, KIMBERLY                      HOPPE, MAGGIE                         HOPPE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOPPE, RYAN                          HOPPENS, DAVID                        HOPPER, APOLLONIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOPPER, DAVID                        HOPPER, FALLON                        HOPPER, H
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOPPER, JENNIFER                     HOPPER, JENNY                         HOPPER, JESSICA
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HOPPER, KEVIN                        HOPPER, MARISSA                       HOPPER, MCGEE
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HOPPER, SUSAN                        HOPPER, VALERIE                       HOPPES, JORDAN
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HOPPING, CYRIL                       HOPPIUS, ALANYA                       HOPPNER, JAMES
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HOPPOCK, THEODORE     Case 22-11238-LSS    Doc
                                     HOPSON,     2 Filed 11/30/22
                                             AERIALL                  Page 2224 ofHANNAH
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOPSON, JAMES                        HOPSON, RHONDA                        HOPSON, SCHUYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOPSON, TEMEIKA                      HOPTAY, MICHAEL                       HOPTON-JONES, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOQ, AUNUSHA                         HOQUE, RIAZUL                         HORA, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORACE, BECKY                        HORACEK, DAKOTA                       HORACIO CARRENO KARP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORAN, ANDREA                        HORAN, CHELSEA                        HORAN, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORAN, JEANNINE                      HORAN, KELLY                          HORAN, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORAN, MADELEINE                     HORAN, MARIANA                        HORAN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORAN, SHANE                         HORAN, STEPHEN                        HORAN-SMITH, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORCHER, ANGELA                      HORD, ELAINE                          HOREJSEI, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOREJSEI, REBECCA     Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORENSTEIN, JEAN                     HORGAN, TIM                           HORGASH, CASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORIUCHI, AZUMI                      HORIUCHI, MARIJANA                    HORIZON BEVERAGE COMPANY - ULTRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        DIVISION
                                                                           44 CHENELL DR.
                                                                           CONCORD, NH 03301




HORIZON BEVERAGE COMPANY OF RI       HORIZON BEVERAGE COMPANY OF RI        HORIZON BEVERAGE COMPANY, INC. (MA)
121 HOPKINS HILL ROAD                P.O. BOX 1427                         45 COMMERCE WAY
WEST GREENWICH, RI 02817             COVENTRY, RI 02816                    NORTON, MA 02766




HORIZON BEVERAGE COMPANY, RI         HORIZON BEVERAGE MA                   HORIZON BEVERAGE NH
121 HOPKINS HILL RD.                 45 COMMERCE WAY                       9165 NHSLC HORIZON BEVERAGE NH
WEST GREENWICH, RI 02817             NORTON, MA 02766                      50 STORRS STREET
                                                                           CONCORD, NH 03302




HORKEY, HOWARD                       HORKY, EMILY                          HORLACHER, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORLACHER, JESSICA                   HORLBACK, CORDELIA                    HORLBECK, GENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORLICK, JENNIFER                    HORMACHEA, SARAH AND JESSE            HORMAN, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORN, ABIGAIL                        HORN, AMY                             HORN, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORN, ANDREW                         HORN, BRITTANY                        HORN, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HORN, CYNDEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HORN, DARLENE                    Page 2226  of 5495
                                                                           HORN, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORN, HEIDI                          HORN, KATHERINE                       HORN, KATIE
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HORN, KENDRE                         HORN, LEAH                            HORN, MARIA
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HORN, MARK                           HORN, MEGAN                           HORN, MEREDITH
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HORN, MICHAEL                        HORN, MONIQUE                         HORN, NICOLE
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HORN, PATRICIA                       HORN, STEVE                           HORN, TAYLOR
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HORN, TAYLOR                         HORNADAY, KATY                        HORNBACH, CELESTE
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HORNBARGER, SAMANTHA                 HORNBECK, DAVE                        HORNBECK, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORNBERGER, JOE                      HORNBERGER, MONICA                    HORNBERGER, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORNBLOWER, VIRGINIA                 HORNBUCKLE, KELLEN                    HORNBY, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HORNE JR, RONALD B    Case 22-11238-LSS
                                     HORNE, Doc  2 Filed 11/30/22
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                                                                           HORNE,of 5495
                                                                                  CHRISTOPHER
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HORNE, EBONI                         HORNE, GREG                           HORNE, JOCELYN
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HORNE, LESLIE                        HORNE, LINDY                          HORNE, MARGARET
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HORNE, NICOLE                        HORNE, PHYLLIS                        HORNE, SARA
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HORNE, TAMARA                        HORNE, TRACEY                         HORNEDO, OMNI
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HORNER, ALEXANDRIA                   HORNER, CAITLIN                       HORNER, CAROLYN
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HORNER, GEORGE                       HORNER, GINGER                        HORNER, JILL
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HORNER, KELLY                        HORNER, KELSEY                        HORNER, KIMBERLY
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HORNER, MARY                         HORNER, MATT                          HORNET NETWORKS LIMITED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        OFFICE D 3/F MAN LOK BUILDING 93
                                                                           BONHAM STRAND
                                                                           SHEUNG WAN
                                                                           HONG KONG
                                                                           CHINA

HORNG, WESLEY                        HORNICK, RACHEL                       HORNICKEL, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HORNING, ALYSON       Case 22-11238-LSS    Doc
                                     HORNING,    2 Filed 11/30/22
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                                                                           HORNING, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HORNING, SABRINA ELIZABETH           HORNING, STACEY                        HORNING, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HORNOF, LUKE                         HORNREICH, DAVID                       HORNSBY, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HORNSBY, SHARON                      HORNUNG, DINA                          HORNUNG, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HORNUNG, JOEL                        HORNUNG, JOY                           HORNUNG, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HORNYAK, MEGAN                       HORNYAK, TYLER                         HOROCHOWSKI, LANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOROHO, ASHLEY                       HOROMPOLY, KRISTOF                     HOROWITZ, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOROWITZ, DAPHNE                     HOROWITZ, ERIC                         HOROWITZ, EVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOROWITZ, EVE                        HOROWITZ, JASON                        HOROWITZ, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOROWITZ, MONTANA                    HOROWITZ, STEFANI                      HOROWITZ, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
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                                     HORRIDGE,   2 Filed 11/30/22
                                               JENNIFER               Page 2229  of 5495
                                                                           HORRIGAN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORRIGAN, CATARINA                   HORRIGAN, KATHLEEN                    HORRIGAN-FLORES, TAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORRISBERGER, LAURA                  HORSBURGH, MELANIE                    HORSE & PLOW INC. (HORSE AND PLOW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        WINERY)
                                                                           1270 GRAVENSTEIN HWY N.
                                                                           SEBASTOPOL, CA 95472




HORSEY, CHARLES                      HORSEY, SHERRY                        HORSFIELD, SCOTT
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HORSFORD, MOIRA                      HORSLEY, ERIN                         HORSLEY, MEGAN
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HORSLEY, TARYN                       HORSMAN, DANIELLE                     HORSMAN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORSMAN, LINDSAY                     HORST, ALLAN                          HORST, AMY
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HORST, KATHERINE                     HORST, REBECCA                        HORST, TESSA
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HORSTMAN, REBECCA                    HORSTMANN, JENNIE                     HORSTMANN, JENNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORTA, JOLENE                        HORTA, SERGIO                         HORTER, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HORTIZ, MARISSA       Case 22-11238-LSS    Doc
                                     HORTON, ALEX2   Filed 11/30/22   Page 2230 ofASHLEY
                                                                           HORTON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORTON, BRETT & DAVID                HORTON, BRITTNI                       HORTON, DERRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HORTON, DESTINY                      HORTON, FREDERIKA                     HORTON, JOSHUA
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HORTON, KATY                         HORTON, KERI                          HORTON, KIM
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HORTON, LANCE                        HORTON, LEAH                          HORTON, MADELINE
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HORTON, MCKENZIE                     HORTON, PARKE                         HORTON, REBECCA
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HORTON, ROBERT                       HORTON, SAIGE                         HORTON, SAMMIE
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HORTON, SARAH                        HORTON, SHEENA                        HORTON, SIERRA
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HORTON, STACY                        HORTON, STACY                         HORTON, TANIKA
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HORTON, TRACEY                       HORTON, WILLIAM                       HORTONLOUP, KATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HORTON-RAPPLEYE, KELLYCase 22-11238-LSS    Doc
                                     HORVATH,   2 Filed 11/30/22
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                                                                           HORVATH, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HORVATH, DANIELLE                    HORVATH, EDWARD                        HORVATH, NICOLE
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HORVATH, NIKKI                       HORVATH, PETE                          HORVATH, RACHEL
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HORVATH, RACHEL                      HORVATH, SYDNEY                        HORWATH, KATHERINE
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HORWATT, EMILY                       HORWEDEL, KATARINA                     HORWELL, TIMOTHEA
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HORWITZ, JEFF                        HORWOOD, KATLIN                        HOSACK, COLEEN
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HOSACK, JODI                         HOSAKA, KRISTAL                        HOSCH, GREGG
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HOSEA, ARACELI                       HOSEA, JENNIFER                        HOSEIN, PATRICIA
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HOSELTON, DAKOTAH                    HOSEMANN, ROBERT                       HOSENBUX, HACHEM
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HOSETH, CHAD                         HOSEY, ALEXANDRA                       HOSEY, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HOSFELD, ANNA         Case 22-11238-LSS    Doc
                                     HOSFELD, REX2   Filed 11/30/22   Page 2232 of 5495
                                                                           HOSFORD, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOSHIKO, ANNIE                       HOSHIZAKI, MELISSA                    HOSIER, JOANNA
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HOSIER, STACEY                       HOSKINS, DAVID                        HOSKINS, ELLEN
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HOSKINS, JEANINE                     HOSKINS, JULIE                        HOSKINS, NOAH
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HOSKINS, NOAH                        HOSKINS, REBECCA                      HOSKINS, SHARON
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HOSKINS, VALERIE                     HOSKINSON, KAYLA                      HOSKO, MEGAN
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HOSKOPPAL, SARAH                     HOSLER, ROCHELLE                      HOSLEY, TAYLOR
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HOSLI, HEATHER                       HOSN, SUZANNE                         HOSNER, JENNIFER
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HOSPEDALES, MAELY                    HOSPITAL, KATY                        HOSSAIN EHSAN
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HOSSAIN, CLAUDIA                     HOSSAIN, RYDHWANA                     HOSSEINZADEH, YASMIN
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HOSSLER, KAYLA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HOST, ANTHONY                         Page 2233 ofVINCENT
                                                                                HOSTAK, 5495
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HOSTETLER, ALEXANDREA                   HOSTETLER, COREY                        HOSTETLER, EMILY
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HOSTETTER, ALICE                        HOSTETTER, DOROTHY                      HOSTETTER, STACY
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HOSTETTLER, KELSIE                      HOSWELL, JACQUELINE                     HOTA, LEKHA
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HOTA, SALINI                            HOTALING, CHRISTINA                     HOTALING, PATRICIA
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HOTARD, CANDACE                         HOTARD, CONCORDIA                       HOTARD, MARK
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HOTCAKES BAKES                          HOTCHKIN, JANET                         HOTCHKIS, PERRY
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HOTCHKISS, AMBER                        HOTCHKISS, MICHAEL                      HOTCHKISS, SARA
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HOTEL AMERICANO                         HOTEL DE LA PAIX                        HOTEL ERWIN
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HOTEL OKURA                             HOTEL ROUGE                             HOTEL TONIGHT
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HOTEL ZETTA           Case 22-11238-LSS     Doc 2 Filed 11/30/22 Page 2234
                                      HOTELS.COM                                  of 5495
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HOTHO, JERRY                           HOTKA, JOHN                            HOTT, CRISTY
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HOTTENSTEIN, TOM                       HOTTER-KNIGHT, STACEY                  HOTZ, AMY
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HOTZ, RAY                              HOU, CHUHAN                            HOU, KAREN
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HOU, KORTNE                            HOU, ZHEN                              HOUCHIN, ALICIA
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HOUCHINS, COURTNEY                     HOUCK, GINA                            HOUCK, HANNA
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HOUCK, KRISTINA                        HOUCK, LEAH                            HOUCK, MARGARET
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HOUCK, RACHEL                          HOUCK, SARA                            HOUDE, SHELLEY
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HOUDEK, DANIELLE                       HOUDOVERDOV, VASKEN                    HOUGH, DANIEL
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HOUGH, DORI                            HOUGH, HEIDI                           HOUGH, JENN
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HOUGH, JENNIFER       Case 22-11238-LSS
                                     HOUGH, Doc  2 Filed 11/30/22
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HOUGH, TAYLOR                        HOUGH-KOVACS, EMILY                     HOUGHLAND, SUSAN
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HOUGHTALING, JOE                     HOUGHTON, ELIZABETH                     HOUGHTON, JAMES
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HOUGHTON, JENNIFER                   HOUGHTON, LINDSAY                       HOUGHTON, LYDIA HOUGHT
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HOUGHTON, MICHAELA                   HOUGHTON, SARAH                         HOUGHTON, STEPHANIE
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HOUGLAND, SAMANTHA                   HOUGUM, BRIANA                          HOUK, VERONICA
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HOULAHAN, LAUREN                     HOULAHAN, MOLLY                         HOULD, MARY
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HOULE, COURTNEY                      HOULGATE, MARY                          HOULIHAN, CHRISTINE
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HOULIHAN, KAREN                      HOULIHAN, KATE                          HOULIHAN, KEVIN
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HOUNAM, KARA                         HOUNDSTOOTH COFFEE                      HOUNSLOW, JENNIFER
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HOUPPERT, HEATHER     Case 22-11238-LSS
                                     HOUPT, Doc  2 Filed 11/30/22
                                            BONNIE                      Page 2236 ofTOMMY
                                                                             HOURAN, 5495
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HOURANI, ELIZABETH                   HOURET, MARLENE                         HOURICAN, MARK
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HOURIHAN, JOHN                       HOURIHAN, MARGARET                      HOURIHAN, MEG
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HOURIHAN, PATRICIA                   HOUSE INDUSTRIES                        HOUSE OF DONUTS
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HOUSE, ADELYNN                       HOUSE, ALEX                             HOUSE, AMANDA
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HOUSE, AVERY                         HOUSE, CAITLIN                          HOUSE, CANDACE
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HOUSE, CELESTE                       HOUSE, DESTINEY                         HOUSE, JACQUIE
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HOUSE, KAIGEN                        HOUSE, KATE                             HOUSE, LINDSAY
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HOUSE, ROBERT                        HOUSE, TALIYAH                          HOUSE, TATIANA
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HOUSEHOLD, KIRKLAND                  HOUSEIN, RAEESA                         HOUSEKNECHT, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HOUSEKNECHT, ETIENNE Case 22-11238-LSS
                                    HOUSEL,Doc 2 Filed 11/30/22
                                            RACHEL                      Page 2237 of 5495
                                                                             HOUSEMAN, ADRIANA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




HOUSEMAN, ELIZABETH                  HOUSEMAN, MARY                          HOUSER, BROOKLYN
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HOUSER, CLARE                        HOUSER, DEBBIE                          HOUSER, KAIT
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HOUSER, KRISTEN                      HOUSER, MIKE                            HOUSER, SARAH
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HOUSERIGHT, AMANDA                   HOUSHOLDER, TIM                         HOUSKA, JACK
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HOUSKA, MARY                         HOUSLEY, AVERY                          HOUSLEY, NICOLE
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HOUSLEY, SHELBY                      HOUSMAN, KIRA                           HOUSMAN, PEYTON
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HOUSON, AARON                        HOUSTON HUMANE                          HOUSTON, ABBY
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HOUSTON, ASHA                        HOUSTON, BRIDGET                        HOUSTON, CHANEE
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HOUSTON, DURRELL                     HOUSTON, JACK                           HOUSTON, JENNIFER
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HOUSTON, JOHN         Case 22-11238-LSS    Doc
                                     HOUSTON,    2 Filed 11/30/22
                                              LEIGH                      Page 2238 of 5495
                                                                              HOUSTON, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




HOUSTON, LORI                           HOUSTON, LORIE                        HOUSTON, MATT
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HOUSTON, MICHELLE                       HOUSTON, MYA                          HOUSTON, PAIGE
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HOUSTON, SHON                           HOUSTON, SONYA                        HOUSTON, ZACH
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HOUSTONS                                HOUT, ALLISON                         HOUTON, CAROL
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HOUTZ, JEFF                             HOUTZER, JAMES                        HOUY, NICHOLE
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HOUZZ.INC                               HOVAIDA, MARJAN                       HOVANAS, CATHY
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HOVANICK, LUCINDA                       HOVATER, CINDY                        HOVDA, ALLYSON
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HOVDEN, JOSHUA                          HOVE, CAROLYN                         HOVE, JESSICA
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HOVE, RYAN                              HOVEE, CORRIE                         HOVEL, LEE
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HOVER, AMANDA         Case 22-11238-LSS
                                     HOVER, Doc
                                            LEE 2    Filed 11/30/22   Page 2239 of 5495
                                                                           HOVERMALE, GILBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HOVERSON, KARA                       HOVET, SIERRA                          HOVEY, DONNA
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HOVING, KENNETH                      HOVIS, CONNIE                          HOVIS, MARY
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HOVIS, MILES                         HOVLAND, GLORIA                        HOWALD, AMANDA
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HOWALD, ANNE                         HOWALD, THERESA                        HOWARD EGLASH
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HOWARD FUTERMAN                      HOWARD JORDAN JR.                      HOWARD KELLY
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HOWARD LIEBERMAN                     HOWARD MARULL, KATHERINE               HOWARD NEAL FUTERMAN
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HOWARD RUBIN                         HOWARD RUBIN                           HOWARD SPINOWITZ
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HOWARD WADE, KIMBERLY                HOWARD, ADAM                           HOWARD, ALEX
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HOWARD, ALEX                         HOWARD, ALYSSA                         HOWARD, ANGELINA
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HOWARD, ASHLEY        Case 22-11238-LSS    Doc
                                     HOWARD,    2 Filed 11/30/22
                                             ASHLEY                   Page 2240 of BARKER
                                                                           HOWARD, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOWARD, BERTIE                       HOWARD, BLAIR                         HOWARD, BOBBY
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HOWARD, BONNIE                       HOWARD, BRAD                          HOWARD, BRENDA
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HOWARD, BRYAN                        HOWARD, BRYAN                         HOWARD, CAROLYNN
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HOWARD, CHRISTINA                    HOWARD, CONNER                        HOWARD, CRAIG
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HOWARD, DANA                         HOWARD, DAVID                         HOWARD, DAVID
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HOWARD, DEANNA                       HOWARD, DELANEY                       HOWARD, DENNIS
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HOWARD, DERRA                        HOWARD, DIANE                         HOWARD, DONNA
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HOWARD, EDBREION                     HOWARD, EDY                           HOWARD, ELIZABETH
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HOWARD, ELIZABETH                    HOWARD, ERICA                         HOWARD, ERIN
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HOWARD, GRANDMA       Case 22-11238-LSS    Doc
                                     HOWARD,    2 Filed 11/30/22
                                             GWENDOLYN                Page 2241 of HALEY
                                                                           HOWARD, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOWARD, HALI                         HOWARD, INGRID                        HOWARD, JACQUELINE
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HOWARD, JADE                         HOWARD, JAMIE                         HOWARD, JANET
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HOWARD, JAY                          HOWARD, JENNIFER                      HOWARD, JEREMY AND VANESSA
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HOWARD, JESSICA                      HOWARD, JOANNE                        HOWARD, JODI
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HOWARD, JQUAN                        HOWARD, KAREN                         HOWARD, KATHERINE
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HOWARD, KATIE                        HOWARD, KELLY                         HOWARD, KENDRA
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HOWARD, KIM                          HOWARD, KRISTEN                       HOWARD, KRISTY
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HOWARD, LAUREN                       HOWARD, LAUREN                        HOWARD, LIBRA
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HOWARD, LINDA                        HOWARD, LINDSAY                       HOWARD, MADELINE
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HOWARD, MALINA        Case 22-11238-LSS    Doc
                                     HOWARD,    2 Filed 11/30/22
                                             MARK                     Page 2242 of MAURA
                                                                           HOWARD, 5495
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HOWARD, MEGAN                        HOWARD, MELODY                        HOWARD, MERLE
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HOWARD, MIA                          HOWARD, MICHAEL                       HOWARD, MICHELLE
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HOWARD, MOLLY                        HOWARD, MOLLY                         HOWARD, MONTE
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HOWARD, MORGAN ANNE                  HOWARD, NANCY                         HOWARD, NATASHIA
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HOWARD, NATIA                        HOWARD, NICHOLAS                      HOWARD, NICOLE
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HOWARD, PAM                          HOWARD, PATTY                         HOWARD, RACHEL
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HOWARD, RACHEL                       HOWARD, RANDY                         HOWARD, RENE
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HOWARD, RENEE                        HOWARD, RENEE                         HOWARD, RON
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HOWARD, RONNIE                       HOWARD, RYAN                          HOWARD, SEQUOIA
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                                     HOWARD,    2 Filed 11/30/22
                                             SHARON                   Page 2243 of SHELBY
                                                                           HOWARD, 5495
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HOWARD, SUSAN                        HOWARD, SUZANNE                       HOWARD, TAKIA
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HOWARD, TIMOTHY                      HOWARD, TRACI                         HOWARD-BLOOM, JESSE
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HOWARD-FLANDERS, JULIA               HOWARD-GEOGHAN, MIRABAI               HOWARD-INGRAM, BETH
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HOWARD-SPINK, SUSANNAH               HOWARTH, BRENDEN                      HOWARTH, JOAN
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HOWARTH, MICHELLE                    HOWARTH, RICA                         HOWAT, MEGAN
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HOWATT, DIANE                        HOWE, BRUCE                           HOWE, CARA
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HOWE, DANA                           HOWE, EDEN                            HOWE, ELLIOT
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HOWE, HOLLIS                         HOWE, IAN                             HOWE, JACQUELINE
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HOWE, JAMES                          HOWE, JORDYNE                         HOWE, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOWE, JULIE           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     HOWE, KALEIGH                    Page 2244
                                                                           HOWE, of 5495
                                                                                 KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOWE, KRISTIN                        HOWE, LAURA                           HOWE, LAUREN
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HOWE, MARK                           HOWE, MARK                            HOWE, MEAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOWE, MORGAN                         HOWE, NIKKI                           HOWE, NINA
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HOWE, NINA                           HOWE, RACHEL                          HOWE, RACHEL
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HOWE, RONALD                         HOWE, SAMANTHA                        HOWE, THOMAS
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HOWELL, AARON                        HOWELL, ALEXANDRA                     HOWELL, ALISON
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HOWELL, AMANDA                       HOWELL, AMBER                         HOWELL, ANGELA
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HOWELL, ANN                          HOWELL, ANNE                          HOWELL, ASHTIN
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HOWELL, BRANDY                       HOWELL, BRITTANY                      HOWELL, BRITTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HOWELL, CARELYN       Case 22-11238-LSS
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                                                                           HOWELL, 5495
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HOWELL, CAROLINE                     HOWELL, CHARITI                       HOWELL, CLARK
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HOWELL, DEMETIUS                     HOWELL, DIANE                         HOWELL, ELAINE
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HOWELL, ELIZABETH                    HOWELL, EMMA                          HOWELL, HEATHER
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HOWELL, JOANN                        HOWELL, JODI                          HOWELL, JOEL
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HOWELL, JUSTIN                       HOWELL, KHRISTIAN                     HOWELL, KRISTEN
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HOWELL, KRYSTAL                      HOWELL, KYLIE                         HOWELL, LAURA
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HOWELL, LISA                         HOWELL, MARK                          HOWELL, MEGAN
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HOWELL, MELISSA                      HOWELL, MINNA                         HOWELL, MORGAN
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HOWELL, NICOLE                       HOWELL, RACHAE                        HOWELL, REBECCA
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HOWELL, RUDY          Case 22-11238-LSS
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HOWELL, TARA                         HOWELL, THOMAS                        HOWELL, VAL
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HOWELL, VANESSA                      HOWELL, VICTORIA                      HOWELL, WILLIAM K.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HOWELL, YLON                         HOWELL, ZACHARY                       HOWER, ROB
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HOWERTON, MARY                       HOWERTON-ORCUTT, AMANDA               HOWES, LAURA
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HOWES, NATALIE                       HOWICK, GREG H                        HOWIE, BARBARA
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HOWIE, COLTEN                        HOWIE, DIANA                          HOWIE, KATHERINE
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HOWILER, ELIZABETH                   HOWLAND, CAMPBELLE                    HOWLAND, CANDACE
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HOWLAND, LEELA                       HOWLAND, RACHEL                       HOWLAND, SAMANTHA
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HOWLAND, VIRGINIA                    HOWLETT, DESIREE                      HOWLETT, RACHEL
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HOWLEY, EMMA          Case 22-11238-LSS    Doc
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                                                                           HOWLEY, 5495
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HOWLEY, KIRSTIN                      HOWLEY, THOMAS                        HOWLING, JASMINE
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HOWREN, LYNDSEY                      HOWSE, BILL                           HOWSLEY, PATTI
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HOWTON, KAYLA                        HOWZE, DEDREA                         HOWZE, EMILY
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HOXHA, MILLIE                        HOXHA, MILLIE                         HOXIE, NAKISHA
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HOXIE, SILAS                         HOXRER, LINDA                         HOXWORTH, VALERIE
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HOY, ALECIA                          HOY, AMANDA                           HOY, DANIEL
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HOY, EMILY                           HOY, MICHAEL                          HOY, MICHAEL
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HOY, MICHAEL                         HOY, RACHAEL                          HOY, RHONDA
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HOY, SUSAN                           HOYACK, ANDRENA                       HOYAL, CAMRON
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HOYE, CAITLIN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HOYE, JORDAN                     Page 2248
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HOYER, WHITNEY                       HOYES, HILLARY                        HOYLE, KATHERINE
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HOYLE, NIGEL                         HOY-MABRY, ANGELA                     HOYO, MICHELE
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HOYOS, JESUS                         HOYOS, JOMARYS                        HOYOS, KATHLEEN
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HOY-ROSAS, JAMILLAH                  HOYT, CARRIE                          HOYT, CHRISTOPHER
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HOYT, DEB                            HOYT, ERIN                            HOYT, GABRIELLE
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HOYT, KARIN                          HOYT, KATHERINE                       HOYT, KAYCEE
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HOYT, KRISTOPHER                     HOYT, MARYANNE                        HOYT, MATTHEW
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HOYT, MEGHAN                         HOYT, NICOLE                          HOYT, NINA
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HOYTE, INGER                         HOYTE, VONETTA                        HOZAIL, HANAN
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HOZAKOWSKA, LILI      Case 22-11238-LSS
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HRDINSKY, MELISSA                    HRDLICKA, HALEY                        HREHA, EMILY
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HREN, KATIE                          HREN, LINDA & SLAVKO                   HRENKO, JERRY
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HRESKO, KARLY                        HRIBAR, KATA                           HRIBAR, MARY
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HRICOVEC, JESSICA                    HRISO, GREG                            HRITONENKO, VICTORIA
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HRLEVICH, ELEANOR                    HRLEVICH, FRANCES                      HROCH, MACAYLA
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HROMADKA, ANNE                       HRONIK-GIFFORD, GLENDA                 HROSTEK, GREGORY
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HROVAT, JEANNE                       HROZENCIK, KAITLIN                     HROZIENCIK, MICHAEL
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HRT FIN LLC (0369)                   HRUNKA, DAMIAN                         HRUSKA, LAUREN
ATTN PROXY MGR                       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
32 OLD SLIP
30TH FL
NEW YORK, NY 10005



HRUSKO, MARISA                       HRUSOVSKY, CRYSTAL                     HRYCYK, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HRYN, JAN             Case 22-11238-LSS      DocUSA,
                                     HSBC BANK    2 NA/CLEARING
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ADDRESS AVAILABLE UPON REQUEST       ATTN BARBARA SKELLY OR PROXY MGR         ADDRESS AVAILABLE UPON REQUEST
                                     545 WASHINGTON BLVD
                                     10TH FL
                                     JERSEY CITY, NJ 07310



HSIA, VIVIAN                          HSIAO, ENOCH                            HSIAO, YUSAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HSIEH, AMY                            HSIEH, TIEN PESO                        HSIEH, YUCHING
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HSIN, PO-SHEN                         HSING-CHI CHANG                         HSIOU, DESIREE
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HSNLON, STUART                        HSU, GRACE                              HSU, JASON
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HSU, JERRY                            HSU, REBECCA                            HSU, SARAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HSU, STEPHEN                          HT VENTURES LLC                         HU, AMY
ADDRESS AVAILABLE UPON REQUEST        3400 NORTH LAKE SHORE DR 9C             ADDRESS AVAILABLE UPON REQUEST
                                      CHICAGO, IL 60657




HU, BRIANA                            HU, EN-TIEN                             HU, MIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HU, NINA                              HU, SHUCHEN                             HU, SIWEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




HU, SIYAO                             HU, YANNI                               HU, YU
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
HU, ZHOUYANG          Case 22-11238-LSS     Doc
                                     HUAIJIANG   2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUANG, ANDY                          HUANG, AUDRIANNA                      HUANG, BETHANY
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HUANG, CHAO                          HUANG, DENNIS                         HUANG, ELISSA
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HUANG, HENRY                         HUANG, HSUN-HSIEN                     HUANG, JENNY
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HUANG, JIAN                          HUANG, JOEY                           HUANG, JOHN
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HUANG, JOYCE                         HUANG, KATHERINE                      HUANG, KEVIN
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HUANG, LAURA                         HUANG, MATTHEW                        HUANG, RUIYING
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HUANG, SHAWNA                        HUANG, SUNNY                          HUANG, VICTORIA
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HUANG, XIE                           HUANG, YUETING                        HUANG, ZIHAO
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HUANG, ZIYUE                         HUANIRA, JACKELYN                     HUB INTERNATIONAL INSURANCE SERVICES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        INC.
                                                                           1752 LINCOLN AVENUE
                                                                           SAN RAFAEL, CA 94901
HUBANY, ALEXIS        Case 22-11238-LSS    Doc
                                     HUBBARD,   2 Filed 11/30/22
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                                                                           HUBBARD, ANGEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUBBARD, BAYLIE                      HUBBARD, BETHANY                      HUBBARD, BROOKE
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HUBBARD, CHARITY                     HUBBARD, CRYSTAL                      HUBBARD, DEBORAH
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HUBBARD, DEVON                       HUBBARD, DRU                          HUBBARD, GABRIELLA
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HUBBARD, JACOB                       HUBBARD, JACQUELINE                   HUBBARD, JOSEPH
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HUBBARD, KALEA                       HUBBARD, KATHERINE                    HUBBARD, KATHY
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HUBBARD, KAYLEIGH                    HUBBARD, KYLIE                        HUBBARD, LAINEE
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HUBBARD, LEAH                        HUBBARD, LOVE                         HUBBARD, MATT
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HUBBARD, MEAGHAN                     HUBBARD, MORGAN                       HUBBARD, RACHEL
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HUBBARD, REBECCA                     HUBBARD, REBECCA                      HUBBARD, SHERRY
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HUBBARD, TIFFANY      Case 22-11238-LSS    Doc
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                                                                           HUBBEL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUBBELL, BECKY                       HUBBELL, BRITTANY                     HUBBELL, JANET
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HUBBELL, JESSICA                     HUBBELL, JOE                          HUBBELL, KELSEY
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HUBBELL, KRISTEN                     HUBBELL, MARYANNE                     HUBBERT, SHARI
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HUBBS MACULSAY, BRENDA               HUBBS, MATTHEW                        HUBBS, PETER
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HUBBY, KRISTEN                       HUBEN, KELLY                          HUBER, AMANDA
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HUBER, AMANDA                        HUBER, BRYAN                          HUBER, CALEB
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HUBER, CARRIE                        HUBER, CATHERINE                      HUBER, CHRIS
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HUBER, COURTNEY                      HUBER, DEBORAH                        HUBER, DWAYNE
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HUBER, EDIE                          HUBER, JILL                           HUBER, JULIE
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HUBER, KATIE          Case 22-11238-LSS
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HUBER, LISA                          HUBER, LON                            HUBER, MACY
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HUBER, MICHAEL                       HUBER, MICHELE                        HUBER, SARAH
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HUBER, SARAH                         HUBER, STEFAN                         HUBERT, BARB
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HUBERT, COURTNEY                     HUBERT, DARIEN                        HUBERT, DYANNE
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HUBERT, ELIZABETH                    HUBERT, JAMES                         HUBERT, JOHN
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HUBERT, NICOLE                       HUBERT, VICTORIA                      HUBIAK, JENNIFER
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HUBKA, RACHEL                        HUBLER, JEANINE                       HUBLER, REGINA
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HUBLEY, KATHERINE                    HUBLEY, KAYLIE                        HUBLEY, SCOTT
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HUBLEY, WALTER                       HUBNER, EVA                           HUBNER, MELANIE
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HUBNER, ROBERT        Case 22-11238-LSS
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HUCK, AARON                          HUCK, ALEX                            HUCK, ALISON
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HUCK, ALLISON                        HUCK, JILL                            HUCKABEE, JUDY
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HUCKABEE, MARY                       HUCKABEE, RANDI                       HUCKABY, KATIE
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HUCKABY, SHAWNA                      HUCKABY, STACY                        HUCKE, LAURA
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HUCKE, TRACY                         HUCKINS, LIZ                          HUCKLEBERRY ROASTERS
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HUCKLEBERRY, RUTH                    HUCKS, PAULA                          HUCULAK, ROBERT
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HUD, EMILY                           HUDA, AMBERINE                        HUDA, ASIF
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HUDACH, CHRIS                        HUDAK, ANDREW                         HUDAK, CHRISTINE
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HUDAK, ISMARY                        HUDAK, STACEY                         HUDDART, GABRIELLA
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HUDDLESTON, BOBBY     Case 22-11238-LSS    Doc 2CRYSTAL
                                     HUDDLESTON,     Filed 11/30/22   Page 2256 of 5495
                                                                           HUDDLESTON, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




HUDDLESTON, HAILEY                   HUDDLESTON, KELLI                      HUDDLESTON, KRISTIE
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HUDDLESTON, SARAH                    HUDDLESTON, TAMARA                     HUDDOCK, ERIN
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HUDEC, LARRY                         HUDEC, PATRICK                         HUDEPOHL, ELIZABETH
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HUDGENS, JD                          HUDGENS, JUNE                          HUDGENS, STELLA
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HUDGEONS, PARKER                     HUDGINS, ASHLEIGH                      HUDGINS, CAMERON
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HUDGINS, CHRISTOPHER                 HUDGINS, JULIE                         HUDGINS, MATTHEW
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HUDGINS, TAYLOR                      HUDGINS-JORDAN, ELEANOR                HUDLEY, GABRIELLE
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HUDNALL, SARAH                       HUDNER, PHILIP                         HUDNUT-BEUMLER, JULIA
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HUDOCK, GLORIA                       HUDRICK, MEGHAN                        HUDSON NEWS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING
HUDSON, ALICIA        Case 22-11238-LSS    Doc
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                                                                            HUDSON, 5495
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HUDSON, ARABELLA                      HUDSON, ARIANE                        HUDSON, ASHLEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUDSON, BRIAN                         HUDSON, CODY                          HUDSON, CYNTHIA
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HUDSON, DENISE                        HUDSON, DIANA                         HUDSON, DUSTIN
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HUDSON, ERIN                          HUDSON, ERNEST                        HUDSON, ERNEST
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HUDSON, FELICIA                       HUDSON, GARRETT                       HUDSON, GILBERT
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HUDSON, GREGORY                       HUDSON, HAILEY                        HUDSON, HAYLEY
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HUDSON, HOLLY                         HUDSON, JACOB                         HUDSON, JAMES
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUDSON, JAMIE                         HUDSON, JAMILA                        HUDSON, JASMIN
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HUDSON, JESSICA                       HUDSON, JOHNATHAN                     HUDSON, JUSTIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HUDSON, KATELYN       Case 22-11238-LSS    Doc
                                     HUDSON,    2 Filed 11/30/22
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                                                                           HUDSON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUDSON, KESHIEL                      HUDSON, KIRSTEN                       HUDSON, KRISTIN
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HUDSON, LAUREN                       HUDSON, LISA                          HUDSON, LORI
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HUDSON, MALCOLM                      HUDSON, MARY                          HUDSON, MARY
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HUDSON, MEREDITH                     HUDSON, MIKE                          HUDSON, MONICA
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HUDSON, NICOLE                       HUDSON, PAULA                         HUDSON, PEYTON
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HUDSON, REGINALD                     HUDSON, RENEE                         HUDSON, SANDRA
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HUDSON, SOMER                        HUDSON, TERESA                        HUDSON, TIFFANY
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HUDSON, TONY                         HUDSON, TONYA                         HUDSON, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUDSPETH, ERIC                       HUDSPETH, MARY LOU                    HUDSPETH, MEGAN
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HUDZIK, AMY           Case 22-11238-LSS    DocALYSSA
                                     HUDZINSKI, 2 Filed 11/30/22      Page 2259  of 5495
                                                                           HUDZINSKI, KATHERINE
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HUEBER, PAUL                         HUEBINGER, CLAIRE                      HUEBLER, RACHAEL
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HUEBNER, GEORGETTE                   HUEBNER, JEANELLE                      HUEBNER, KIMBERLY
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HUEBNER, MATTHEW                     HUEBNER, RILEY                         HUEBNER, TERESA
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HUEBNER, TIMOTHY                     HUECK, KARL                            HUECK, KARL
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HUEFFMEIER, COURTNEY                 HUEFTLE, DAKOTAH                       HUELMAN, LISIEUX
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HUELSMAN, GEORGIA                    HUERTA, AMANDA                         HUERTA, CRYSTAL
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HUERTA, JUAN                         HUERTA, PERLA                          HUERTAS, NILDA
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HUESKE, FRANK                        HUESMAN, DON                           HUESTIS, JOSH
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HUETE, ANA C                         HUETER, ANNA                           HUETT, DOMINIQUE
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HUETTER, CHRISTINA    Case 22-11238-LSS    DocCORRY
                                     HUEY TODD  2 Filed
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                                                                           HUEY, BRITTANY
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HUEY, CELIA                          HUEY, KARISSA                         HUEY, KATHERINE
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HUEY, LAUREN                         HUEY, MIKE                            HUEY, PRESTON
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HUEZO, ANTONIO                       HUFELD, BRANDIE                       HUFF, ALEXANDRA
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HUFF, ALEXANDRA                      HUFF, ALEXIS                          HUFF, AMANDA
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HUFF, BAILEY                         HUFF, BILL                            HUFF, BRITTANY
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HUFF, DAVID                          HUFF, JACKIE                          HUFF, JOHN
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HUFF, JUSTIN                         HUFF, JUSTIN                          HUFF, KATIE
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HUFF, KYLIE                          HUFF, LASHUN                          HUFF, MEAGAN
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HUFF, RANDAL                         HUFF, REBECCA                         HUFF, SHERRI
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HUFF, STEPHEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           HUFFAKER, JAIME
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HUFFAKER, TANYA                      HUFFER, LUKE                           HUFFER, MONICA
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HUFFHINES, MADELINE                  HUFFINGTON, CINDY                      HUFFMAN, AIMEE
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HUFFMAN, ALISON                      HUFFMAN, AMY                           HUFFMAN, BRYAN
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HUFFMAN, CORRIE                      HUFFMAN, DANIELLE                      HUFFMAN, DAWN
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HUFFMAN, DEBBIE                      HUFFMAN, DEBORAH                       HUFFMAN, DIANE
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HUFFMAN, JAMES                       HUFFMAN, JANEL                         HUFFMAN, JARED
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HUFFMAN, JEFF                        HUFFMAN, JULIE                         HUFFMAN, KATHERINE
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HUFFMAN, KEAIRA                      HUFFMAN, KYLEIGH                       HUFFMAN, LAURA
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HUFFMAN, LINDSAY                     HUFFMAN, MEREDITH                      HUFFMAN, NICHOLAS
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HUFFMAN, OLIVIA       Case 22-11238-LSS    Doc
                                     HUFFMAN, RAE2ANNFiled 11/30/22   Page 2262 of 5495
                                                                           HUFFMAN, TEGAN
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HUFFMAN, TYLER                       HUFFMAN, WILLIAM                      HUFFMAN, WOAPE
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HUFFMON, BRITTANY                    HUFFNAN, KRISTA                       HUFFORD, KIMBERLY
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HUFFSTETLER, ABBY                    HUFNAGEL, KATRINA                     HUFNAGEL, MICHELE
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HUFNAGLE, EMILY                      HUFNER, PAMELA                        HUG, NATALIE
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HUG, STACEY                          HUGALL, KYLE                          HUGENBERG, SHELLI
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HUGER, ENSA                          HUGG, ALLY                            HUGGAN, INGE
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HUGGARD, BRITTANY                    HUGGENBERGER, GINGER                  HUGGINS, ANDREW
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HUGGINS, ANGELA                      HUGGINS, ANNA                         HUGGINS, CHELSEA
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HUGGINS, DOROTHY                     HUGGINS, ESTHER                       HUGGINS, KYLE
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HUGGINS, TERI                        HUGGINS, TRACY                        HUGGLER, JAMIE
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HUGH P MCLAUGHLIN JR                 HUGH, ALEXANDER                       HUGH, LOUISE
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HUGHART, DIANE                       HUGHEA, CARISSA                       HUGHELL, SHERRY
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HUGHES TYMKIN, JENNIFER              HUGHES, AARON                         HUGHES, ADRIANE
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HUGHES, ALEXIS                       HUGHES, ALI                           HUGHES, ALISON
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HUGHES, ALISON                       HUGHES, ALLISON                       HUGHES, AMANDA
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HUGHES, AMBER                        HUGHES, AMY                           HUGHES, AMY
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HUGHES, ANDREA                       HUGHES, ANDREA                        HUGHES, ANGELA
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HUGHES, ANNA                         HUGHES, ANNETTE                       HUGHES, ANNETTE
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HUGHES, ARDYTH        Case 22-11238-LSS    Doc
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HUGHES, BENNA                        HUGHES, BRADLEY                       HUGHES, BRITTNEY
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HUGHES, BROOKE                       HUGHES, BRYAN                         HUGHES, CAMILLE
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HUGHES, CARLY                        HUGHES, CASEY                         HUGHES, CATHY
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HUGHES, CECILY                       HUGHES, CHRIS                         HUGHES, CINDY
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HUGHES, CODY                         HUGHES, COLIN                         HUGHES, CORY
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HUGHES, DANA                         HUGHES, DARREL                        HUGHES, DITA
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HUGHES, ELIZABETH                    HUGHES, ELIZABETH                     HUGHES, EMILY
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HUGHES, GABRIELLE                    HUGHES, GRANT                         HUGHES, GREG
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HUGHES, HALEY                        HUGHES, HAYLEY                        HUGHES, ISHMAEL
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HUGHES, JENNIFER                     HUGHES, JENNIFER                      HUGHES, JEREMY
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HUGHES, JESSICA                      HUGHES, JILL                          HUGHES, JOE
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HUGHES, JOHN                         HUGHES, JOSHUA                        HUGHES, JOY
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HUGHES, JUDY                         HUGHES, JULIE                         HUGHES, KAITLYN
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HUGHES, KAROLENA                     HUGHES, KATHARINE                     HUGHES, KATHRYN
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HUGHES, KATHY                        HUGHES, KATIE                         HUGHES, KAYLA
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HUGHES, KELSEY                       HUGHES, KIMBERLY                      HUGHES, KIMBERLY
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HUGHES, KYLE                         HUGHES, KYLIE                         HUGHES, LAUREN
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HUGHES, LAUREN                       HUGHES, LEA                           HUGHES, LEIGHA
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HUGHES, LISA                         HUGHES, LUISA                         HUGHES, MAGGIE
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HUGHES, MARCUS                       HUGHES, MARIAH                        HUGHES, MARY
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HUGHES, MATREYA                      HUGHES, MAUREEN                       HUGHES, MCKENNA
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HUGHES, MEGAN                        HUGHES, MEGAN                         HUGHES, MEGHAN
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HUGHES, MELANIE                      HUGHES, MEREDITH                      HUGHES, MEREDITH
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HUGHES, MICHAEL                      HUGHES, MICHAEL                       HUGHES, MICHELLE
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HUGHES, MICHELLE                     HUGHES, MILLER                        HUGHES, MIRIAM
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HUGHES, MITCH                        HUGHES, MOIRA                         HUGHES, MORGAN
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HUGHES, NANCY                        HUGHES, NATHAN                        HUGHES, NEAL
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                                                                           HUGHES, 5495
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HUGHES, PARIS                        HUGHES, PATRICE                       HUGHES, PATRICK
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HUGHES, PATRICK                      HUGHES, PATRICK                       HUGHES, PAUL
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HUGHES, PAULA                        HUGHES, QWONESHAU                     HUGHES, REBECCA
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HUGHES, REBEKAH                      HUGHES, REBEKAH                       HUGHES, RILEY
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HUGHES, RUTH                         HUGHES, RYAN                          HUGHES, RYLAND
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HUGHES, SALLY                        HUGHES, SAM                           HUGHES, SAM
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HUGHES, SAMANTHA                     HUGHES, SARAH                         HUGHES, SEAN
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HUGHES, SHANNON                      HUGHES, SHAWNA                        HUGHES, STEPHANIE
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HUGHES, STEPHEN                      HUGHES, STUART                        HUGHES, STUART
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HUGHES, TALAH         Case 22-11238-LSS    Doc
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                                                                           HUGHES, 5495
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HUGHES, TATYANA                      HUGHES, TAYLOR                        HUGHES, TAYLOR
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HUGHES, TERRY                        HUGHES, TIFFANY                       HUGHES, WAIDUS
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HUGHES, ZACHARY                      HUGHES-JONES, PATRICK                 HUGHEY, CARA
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HUGHLEY, MICHELLE                    HUGO ARGUETA                          HUGO ERNESTO MEJIA YANES
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HUGO MAURICE MANDINE                 HUGO VONBURG                          HUGO, AUTUMN
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HUGO, KATELYN                        HUGO, LILLY                           HUGO, SAMANTHA
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HUGON, ADRIAN                        HUGUELET, KAY                         HUGUET, MALORIE
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HUGULEY, MICHAEL                     HUGUS, SYDNEY                         HUH, ALLISON
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HUH, GLORIA                          HUH, JULIE                            HUHA, KATIE
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HUHN, COLLEEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HUHN, DANNY                      Page 2269   of 5495
                                                                           HUI, CHRISTOPHER
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HUI, LAWRENCE                        HUIBREGTSE, JESS                       HUIE, HANNAH
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HUIE, SUMMER                         HUIPE, ARMANDO                         HUIRAS, KATIE
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HUISH, AMANDA                        HUISINGA, JAMIE                        HUISINGA, KYLE
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HUISMAN, JENNIFER                    HUISMAN, TRAVIS                        HUITRON, NATHAN O.
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HUITT, SARA                          HUIZAR, ASHLEY                         HUIZENGA, LAUREN
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HUIZENGA, LINDA                      HULAFROG, INC                          HULBERG, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       PO BOX 498                             ADDRESS AVAILABLE UPON REQUEST
                                     ATLANTIC HIGHLANDS, NJ 07716




HULBERT, CHRISTOPHER                 HULBERT, CRYSTAL                       HULBERT, JOSH
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HULBURT, LESLIE                      HULBURT, LIZ                           HULBURT, MELISSA
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HULEN, TARA                          HULITT, SHERRI                         HULKA, CARRIE
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HULL, AMY             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HULL, BONNIE                     Page 2270   of 5495
                                                                           HULL, BRITNEY
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HULL, BRUCE                          HULL, BRUCE                           HULL, CARLA
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HULL, DEBRA                          HULL, DIANA                           HULL, DONNA
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HULL, EDWIN                          HULL, GARY                            HULL, JENNA
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HULL, JENNIFER                       HULL, JENNIFER                        HULL, JONATHAN
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HULL, KELSEA                         HULL, KELSEY                          HULL, LAUREN
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HULL, MALLORY                        HULL, TAMZEN                          HULLETT, LORIN
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HULLFISH, JEFF                       HULLINGS, ALYSSA                      HULLS, PHOEBE
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HULME, KELLY                         HULNICK, LANNIE                       HULS, DANA
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HULS, RACHEL                         HULSE, AIMEE                          HULSE, DESIRE
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HULSE, KATIE                            HULSE, STEPHANIE                      HULSEMAN, KAREN
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HULSEY, ALLISON                         HULSEY, HOLLY                         HULSEY, JAMES
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HULSEY, JENNIPHER                       HULSEY, SHELLEY                       HULSEY, TAYLOR
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HULSHIZER, CATHERINE                    HULSMANN, LEANNE                      HULTGREN, EMMA
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HULTGREN, MEAGAN                        HULTQUIST, JOHANNES                   HULTZ, KELSEY
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HULTZAPPLE, JOSLIN                      HUMAN, DEANNE                         HUMANE SOCIETY INTERNATIONAL, INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        5/27 OLD BARRENJOEY ROAD
                                                                              AVALON NSW 2107
                                                                              AUSTRALIA




HUMANN, KATHY                           HUMBARGER, NICOLE                     HUMBLE PIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




HUMBLE POTATO                           HUMBLE, JENNIFER                      HUMBLE, MEGAN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUMBLE, MELISSA                         HUMBLES, ANGIE                        HUME, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HUME, SHERYCE         Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUMES, LEAH                          HUMES, VANESSA                        HUMES, WENDI
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HUMKE, RACHAEL                       HUMM, AUBREY                          HUMMEL, ALEXIS
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HUMMEL, ASHLEY                       HUMMEL, BRIANNE                       HUMMEL, CANDACE
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HUMMEL, HENRY                        HUMMEL, JAMIE                         HUMMEL, JENNIFER
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HUMMEL, JESSICA                      HUMMEL, JUSTIN                        HUMMEL, KYREE
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HUMMEL, LEAH                         HUMMEL, MELISSA                       HUMMEL, WILLIAM
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HUMMELL, JENNIFER                    HUMMER, MELISSA                       HUMMER, MICHAELA
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HUMMER, VIRGINIA                     HUMMERT, ALEXIS                       HUMPERT, KYLIE
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HUMPHREY, ALEX                       HUMPHREY, AMBER                       HUMPHREY, BETHANY
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HUMPHREY, CHRISTINA   Case 22-11238-LSS    DocCHRISTINA
                                     HUMPHREY,  2 Filed 11/30/22      Page 2273 of 5495
                                                                           HUMPHREY, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUMPHREY, ERIN                       HUMPHREY, GINGER                      HUMPHREY, HELEN
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HUMPHREY, KADDARA                    HUMPHREY, KENDRA                      HUMPHREY, KIMBERLY
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HUMPHREY, KISHA                      HUMPHREY, LAURA                       HUMPHREY, MADDIE
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HUMPHREY, MARIE                      HUMPHREY, MELANIE                     HUMPHREY, MICHELLA
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HUMPHREY, RACHEL                     HUMPHREY, RANDY                       HUMPHREY, STACEY
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HUMPHREY, WILLIAM                    HUMPHREYS, ABBEY                      HUMPHREYS, ALLISON
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HUMPHREYS, ALLISON                   HUMPHREYS, CAITLIN                    HUMPHREYS, DEVIN
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HUMPHREYS, LOGAN                     HUMPHREYS, PAIGE                      HUMPHREYS, SHERI
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HUMPHREYS-BARRETT, JULIANNE          HUMPHRIES, ANNA                       HUMPHRIES, CAITLIN
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HUMPHRIES, CASSANDRA Case 22-11238-LSS    DocCHRISTINA
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                                                                           HUMPHRIES, KALA
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HUMPHRIES, KATY                      HUMPHRIES, KELCI                       HUMPHRIES, MARTHA
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HUMPHRIES, MICHELLE                  HUMPHRIES, PAT                         HUMPHRIES, RUSSEL
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HUMPHRIES, STACEY                    HUMPHRIES, STAN                        HUMPHRY, SHELBY
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HUMRICH, DESTINY                     HUMRICHOUSE, SYLVIA                    HUMSTON, ELIZABETH
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HUMSTON, ERIKA                       HUNDAL, VIK                            HUNDERTMARK, BRITTA
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HUNDLEY, KRISTIN                     HUNDLEY, MARY BETH                     HUNDLEY, MOIRA
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HUNDLEY-BARBER, SHELLI               HUNEKE, SHANNON                        HUNEYCUTT, SCOTT
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HUNEYCUTT, SHERRI                    HUNEYCUTT, STEPHANIE                   HUNG, ANNIE
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HUNG, D                              HUNG, LOUISE                           HUNG, MARNAE
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HUNG, MATTHEW         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           HUNG, WILLIAM
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HUNGERFORD, BRENDAN                  HUNGERFORD, CIERRA                    HUNGERFORD, DANA
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HUNGRY BEAR ENTERPRISES, LLC         HUNING, MARY JANE                     HUNING, NANCY
1220 SANBORN AVE                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90029




HUNINGHAKE, AMY                      HUNKA, CONNIE                         HUNKLER, GRACIE RAE
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HUNLEY, MARIA LYN                    HUNNER, TAYLOR                        HUNNEWELL, REBEKAH
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HUNNEX, WILLIAM                      HUNNICUTT, ALISA                      HUNNICUTT, BILL
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HUNNICUTT, ROBERTA                   HUNNIE, KAJUN                         HUNSAKER, ROB
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HUNSBERGER, JILL                     HUNSBERGER, KURT                      HUNSCHE, STEPHANIE
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HUNSICKER, KEVIN                     HUNSICKER, MADELINE                   HUNSICKER, MADELINE
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HUNSICKER, NICOLE                    HUNSINGER, JEREMY                     HUNSINGER, NATALIE
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HUNSINGER, ROBYN      Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         9341 PHILADELPHIA RD, UNIT J
                                                                            ROSEDALE, MD 21237




HUNT BENNETT, NOELLE                 HUNT FONDREN, REGINA                   HUNT, ALISON
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HUNT, ANDREA                         HUNT, ANDREA                           HUNT, ANDREW
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HUNT, ANGELA                         HUNT, ANNIE                            HUNT, BARBARA
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HUNT, BEV                            HUNT, BRAD                             HUNT, CHARLOTTE
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HUNT, CHELSEA                        HUNT, CHELSEA                          HUNT, CHRIS
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HUNT, CLAIRE                         HUNT, CLAUDIA                          HUNT, CRAIG
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HUNT, CRYSTAL                        HUNT, CURTIS                           HUNT, DEAN
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HUNT, DEMETRA                        HUNT, DEVRA                            HUNT, DIANE
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HUNT, ELIZABETH                      HUNT, ELIZABETH                        HUNT, EMILY
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HUNT, EMILY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HUNT, ERIN                       Page 2277   of 5495
                                                                           HUNT, ERIN
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HUNT, ERIN                           HUNT, GAGE                            HUNT, GEORGIA
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HUNT, GILLIAN                        HUNT, JACKIE                          HUNT, JEFFREY
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HUNT, JENNA                          HUNT, JENNIFER                        HUNT, JENNY
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HUNT, JOHN                           HUNT, JOHN                            HUNT, JUSTIN
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HUNT, KALYN                          HUNT, KATIE                           HUNT, KELLIE
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HUNT, KEN                            HUNT, KENAN                           HUNT, KENYA
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HUNT, LAURA                          HUNT, LAUREN                          HUNT, LAUREN
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HUNT, LAVERNE                        HUNT, LIA W                           HUNT, LINDA
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HUNT, LORI                           HUNT, MARIA                           HUNT, MARISA
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HUNT, MEGAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HUNT, MELISSA                    Page 2278  of 5495
                                                                           HUNT, MELISSA
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HUNT, MICHAEL                        HUNT, MICHELLE                        HUNT, PENELEPE
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HUNT, RAY                            HUNT, REBECCA                         HUNT, REBEKAH
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HUNT, RICHARD                        HUNT, SARAH                           HUNT, SARAH
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HUNT, SCOTT                          HUNT, SHANELL                         HUNT, SHAWNIE
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HUNT, SIERRA                         HUNT, STACY                           HUNT, SUNDOWN
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HUNT, SUSAN                          HUNT, SYDNEY                          HUNT, TERRY
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HUNT, THOMAS                         HUNT, TYLER                           HUNT, WARREN
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HUNT, WHITNEY                        HUNT, WIL                             HUNT, WILLIAM
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HUNTE, DESNA                         HUNTE, WAYNE                          HUNTER HALLMAN
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HUNTER MORRIS         Case 22-11238-LSS
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                                           PATRICK                    Page 2279
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HUNTER STANLEY                       HUNTER, ABIGAIL                        HUNTER, ALEXIS
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HUNTER, ALEXIS                       HUNTER, ALISON                         HUNTER, ALYCIA
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HUNTER, AMANDA                       HUNTER, ANAYSSA                        HUNTER, ANGELYKA
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HUNTER, ANNE MARIE                   HUNTER, ANTHONY                        HUNTER, AUSTIN
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HUNTER, BLAKE                        HUNTER, BRIANNA                        HUNTER, BRODERICK
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HUNTER, CATHERINE                    HUNTER, CHRISTINA                      HUNTER, CLARE
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HUNTER, CORRINA                      HUNTER, DEANNA                         HUNTER, DIANN
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HUNTER, DOREEN                       HUNTER, ELIZABETH                      HUNTER, ELLA
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HUNTER, ELLEN                        HUNTER, EMERALD-JANE                   HUNTER, ERIC
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HUNTER, ERIN          Case 22-11238-LSS
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HUNTER, JANET                        HUNTER, JARED                         HUNTER, JAYME
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HUNTER, JEFF                         HUNTER, JESSICA                       HUNTER, JILL
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HUNTER, JIM                          HUNTER, KAHLER                        HUNTER, KATIE
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HUNTER, KELLY                        HUNTER, KENYA                         HUNTER, LAURA
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HUNTER, LAUREN                       HUNTER, LAUREN                        HUNTER, LEXI
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HUNTER, LIANE                        HUNTER, LINDSEY                       HUNTER, LISA
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HUNTER, LORYNN                       HUNTER, LOUISE                        HUNTER, MAGGIE
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HUNTER, MARC                         HUNTER, MEAGAN                        HUNTER, MONICA
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HUNTER, NANCY                        HUNTER, RACHEL                        HUNTER, RAIYON
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HUNTER, ROBERT        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUNTER, SYREETA                      HUNTER, TATIANNA                      HUNTER, TERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUNTER, TRACEY                       HUNTER, VERONICA                      HUNTER-CLARK, CANDACE
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HUNTER-FOX, BARB                     HUNT-HAWKINS, HAILEE                  HUNTINGTON, GLENISE
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HUNTINGTON, NAOMI                    HUNTINGTON, SHERI                     HUNTINGTON-MEATH, LYNN
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HUNTINGWOLF, ALEX                    HUNTLEY, CHRISTINE                    HUNTLEY, DAN
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HUNTLEY, DEBORAH                     HUNTLEY, JONATHAN                     HUNTLEY, JULIA
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HUNTLEY, RENEE                       HUNTMAN, JONI                         HUNTON, ANDREWS, KURTH, PETE
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HUNTRESS, LAUREN                     HUNTSMAN, ADRIENNE                    HUNTSMAN, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HUNTSMAN, CINDY                      HUNTSMAN, CINDY                       HUNTTING, GEOFFREY
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                                                                          HUNZEKER, CATRINA
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HUO, ALAN                           HUON, CAYLA                            HUOT, ELISABETH
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HUOTH, DEREK                        HUPP, DON                              HUPP, HANNA
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HUPP, KRISTIN                       HUPP, NICK                             HUPP, STEVE
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HUPPLER, JEFF                       HUQ, ARANSA                            HUR, JOANNA
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HUR, SEONGGEUN                      HURBANEK, JASON                        HURCKES, KELLY
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HURD, ALEXANDRA                     HURD, ANGELA                           HURD, BRIAN
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HURD, JALYNN                        HURD, NICHOL                           HURD, REBEKAH
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HURD, VALARIE                       HURDELBRINK, SARAH                     HURDLE, JENNY
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HURDLE, SEKAI                       HURDLE, TAYLOR                         HURLBERT, PAMELA
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HURLBURT, DAVID       Case 22-11238-LSS    DocMICHELLE
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HURLEBAUS, TAYLER                    HURLEY, ANNA                          HURLEY, ANTHONY
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HURLEY, BRIGIT                       HURLEY, BRITTANY                      HURLEY, CHRISTI
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HURLEY, CRESCENT                     HURLEY, DEANNE                        HURLEY, ELIZABETH
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HURLEY, ELIZABETH                    HURLEY, HANNAH                        HURLEY, JACQUELINE
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HURLEY, JAMES MICHAEL                HURLEY, JENNA                         HURLEY, JENNIFER
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HURLEY, JENNY                        HURLEY, KRISTINE                      HURLEY, LEISA
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HURLEY, LINDSEY                      HURLEY, MADELINE                      HURLEY, MALLORY
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HURLEY, MEGAN                        HURLEY, MELANIE                       HURLEY, NATALIE
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HURLEY, OLIVIA                       HURLEY, PAM                           HURLEY, SHANNON
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HURLEY, TARA          Case 22-11238-LSS
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                                                                                  JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HURRLE, MARY                         HURRY, TYLER                          HURSA, DEB
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HURSEY, DEREK                        HURSEY, SHARON                        HURSH, RYAN
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HURST, ABI                           HURST, ALEJANDRO                      HURST, AMBER
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HURST, AMY                           HURST, ASHLEY                         HURST, BRANDON
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HURST, JAMI                          HURST, LAINIE                         HURST, LAURA
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HURST, LINDSEY                       HURST, NICOLE                         HURST, RACHAEL
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HURST, THOMAS                        HURST, VICTORIA                       HURST-DEGORICIA, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HURT, DARRYL                         HURT, FLORENCE                        HURT, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HURT, KATHLEEN                       HURT, KEATON                          HURT, KIRSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HURT, LORENE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     HURT, STEPHANIE                  Page 2285   of 5495
                                                                           HURT, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HURTADO, ALEJANDRA                   HURTADO, ALLISON                      HURTADO, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




HURTADO, JUAN                        HURTADO, MARTHA                       HURTADO, MELISSA
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HURTADO, NANCY                       HURTADO, ROXANNE                      HURTADO, YUNUEN
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HURTER, TONYA                        HURTT, LESLIE                         HURTUBISE, MICHAEL
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HURVITZ, LAURA                       HURWITZ, ALISON                       HURWITZ, MARTIN
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HURYN, ELLIE                         HUSACK, JENNIFER                      HUSBAND, ERIN
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HUSBAND, KEN                         HUSBAND, NATALIE                      HUSBENET, GRACE
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HUSCH, NIKI                          HUSCHARST, BRADLEY                    HUSCHKE, SEAN
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HUSCHLE, DEBBIE                      HUSEIN, RAMZI                         HUSETH, WILLIAM
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HUSHEN, BOBBIE JO     Case 22-11238-LSS    Doc 2 Filed 11/30/22 Page 2286
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HUSK, SARAH                          HUSKEY, BRITTANY                      HUSKEY, JAMES
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HUSKINS-MCNEAL, CINDY                HUSLIN, DAN                           HUSMANN, DOUGLAS
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HUSNICK, ERIN                        HUSS, ANNA                            HUSS, RYAN
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HUSS, SARAH                          HUSSAR, APRIL                         HUSSAR, MIRANDA
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HUSSEIN, JENNIFER                    HUSSEY, ANNA                          HUSSEY, JENNIFER
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HUSSEY, KATHERINE                    HUSSEY, KELLEY                        HUSSEY, KELSEY
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HUSSEY, KIT AND GAYLE                HUSSEY, MARY                          HUSSEY, TASHIKA
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HUSSEY, TRACEY                       HUSSIEN, HADIJA                       HUSSLEIN, MICHAEL
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HUSSON, ASHLEY                       HUSTAD, PATRICIA                      HUSTAVA, LILY
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HUSTED, SARAH                        HUSTER, WILLIAM                       HUSTLE CON MEDIA INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        251 KEARNY ST., STE 300
                                                                           SAN FRANCISCO, CA 94108




HUSTON, AMANDA                       HUSTON, ANNE                          HUSTON, CINDY
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HUSTON, JAMES                        HUSTON, KARI                          HUSTON, LETICIA
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HUSTON, LUCIE                        HUSTON, MARGARET                      HUSTON, PAMELA
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HUSTON, REGINA                       HUSTON, STACEY                        HUTCH, ANDREA
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HUTCHCRAFT, HAYLEY                   HUTCHENS, CHRISTINA                   HUTCHENS, CLAIRE
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HUTCHENS, JEFF                       HUTCHENS, JENNIFER                    HUTCHENS, KEVIN
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HUTCHENS, LAUREN                     HUTCHENS, MEGAN                       HUTCHEON, MELISSA
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HUTCHERSON, STEPHANIE                HUTCHESON, JAMES                      HUTCHESON, KILEY
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HUTCHESON, SARAH      Case 22-11238-LSS    Doc SARAH
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HUTCHESON, SUSANNAH                  HUTCHESON, TAL                        HUTCHESON, TINA
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HUTCHINGS, HAILEY                    HUTCHINGS, JOE                        HUTCHINGS, MARK
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HUTCHINGS, TIFFANEY                  HUTCHINS, ASHLEE                      HUTCHINS, CODY
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HUTCHINSOIN, SUSAN                   HUTCHINSON, ANNABEL                   HUTCHINSON, BRETTA
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HUTCHINSON, CYNTHIA                  HUTCHINSON, DAVION                    HUTCHINSON, EDWARD
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HUTCHINSON, EMILY                    HUTCHINSON, EMILY                     HUTCHINSON, GLENN
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HUTCHINSON, JALEN                    HUTCHINSON, JAY                       HUTCHINSON, JENNIFER
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HUTCHINSON, JOHN      Case 22-11238-LSS    Doc 2KAITLIN
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                                                                           HUTCHINSON, KAYLA
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HUTCHINSON, KELLY                    HUTCHINSON, LAURA                      HUTCHINSON, LAURA
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HUTCHINSON, LISA                     HUTCHINSON, LISA                       HUTCHINSON, MELEAH
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HUTCHINSON, ROBERT                   HUTCHINSON, SHAMEL                     HUTCHINSON, SHARI
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HUTCHINSON, SHAWN                    HUTCHINSON, TEKA-ANN                   HUTCHINSON, TRISTA
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HUTCHINSON, WILLIAM                  HUTCHINSON, WILLIAM                    HUTCHINSON-ARVIZU, MALKIA
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HUTCHISON, CHANEL                    HUTCHISON, CHARLES                     HUTCHISON, COLBY
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HUTCHISON, DONNA                     HUTCHISON, EMILY                       HUTCHISON, ERIN
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HUTCHISON, TARA                      HUTER, DANIELLE                       HUTH, ALYSSA
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HUTH, LAURA                          HUTH, TRICIA                          HUTHEESING, MIRAI
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HUTMACHER, SARAH                     HUTNICK, ELIZABETH                    HUTNIK, JESSICA
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HUTSLAR, JENN                        HUTSON, ALEXIS                        HUTSON, HARRY
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HUTSON, JULIA                        HUTSON, KATY                          HUTSON, LACEY
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HUTSON, TOM                          HUTTA, MICHAEL                        HUTTENLOCHER, AMANDA
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HUTTER, CHRISTINE                    HUTTER, HOLLY                         HUTTERER, MAILE
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HUTTO, CARA LEAH                     HUTTO, ELIZABETH                      HUTTO, SARA
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HUTTON, ALLISON                      HUTTON, CHLOE                         HUTTON, CHRISTA
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HUTTON, GRANT                        HUTTON, JESSICA                       HUTTON, JINNELLE
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HUTTON, JON                          HUTTON, KIMBERLY                      HUTTON, MANDY
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HUTTON, MEGAN                        HUTTON, MELISSA                       HUTTON, MICHAEL
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HUTTON, WILLIAM                      HUTZEL, SARAH                         HUTZLEY, TORI
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HUU-BANG QUANG NGUYEN                HUVER, CARLY                          HUWA, KIRBIE
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HUWAR, RACHEL                        HUXFORD, DIANE                        HUXLEY, ASHLEY ELIZABETH
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HUXLEY, DANIELLE                     HUXTER, VANESSA                       HUY QUOC VO
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HUYEN NGUYEN                         HUYGE, LOUISA                         HUYNH, ANH
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HUYNH, DUC                           HUYNH, HONGCHAU                       HUYNH, JASMINE
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HUYS, WILLIAM                        HUYVAERT, LAUREN                      HV 401K TRUST
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HVEEM, AUDREY                        HWA, ANNA                             HWANG, ANGELA
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HWANG, DAVID                         HWANG, DUKE                           HWANG, FRANCIS
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HWANG, GRACE                         HWANG, HAE SEUNG                      HWANG, HEE JUNG
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HWANG, JOOMIN                        HWANG, KRISTIN                        HWANG, MIMI
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HWANG, SANGAH                        HWANG, SONG EUN                       HWANG, TIMOTHY
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HWANGBO, HANNA                       HYAMS, EMMA                           HYATT
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HYATT, BARBARA                       HYATT, CAMILLE                        HYATT, CRYSTAL
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HYATT, DAWN                          HYATT, ELISABETH                      HYATT, JOHN
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HYBEL, SABRINA                       HYBRID FINANCIAL LTD                   HYCHE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       40 KING ST WEST, STE 1700              ADDRESS AVAILABLE UPON REQUEST
                                     ON
                                     TORONTO, ON M5H 3Y2
                                     CANADA



HYDE, AARON                          HYDE, BRITTANY                         HYDE, JORDAN
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HYDE, JUSTIN                         HYDE, KAITLIN                          HYDE, KRISTA
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HYDE, KRISTEN                        HYDE, LEIA                             HYDE, LIZA AND ANDY
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HYDE, NICO                           HYDER, CARLY                           HYDER, EMILY
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HYDRUSKO, MATTHEW                    HYER, JENNIFER                         HYINK, JON
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HYJACK, MEGAN                        HYLAND, ALISON                         HYLAND, GRETCHEN
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HYLAND, JAHKEERA                     HYLAND, JESSICA                        HYLAND, JESSICA
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HYLAND, JON                          HYLAND, KATIE                          HYLAND, MARISSA
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HYLAND, ROBERT        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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HYLER, WEST                          HYLTON, ERICA                         HYLTON, KAREN
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HYLTON, KEVIN                        HYMAN, ALLISON                        HYMAN, ANNA
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HYMAN, ASHTON                        HYMAN, BARRY                          HYMAN, CATHY
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HYMAN, DANNI                         HYMAN, DEBBIE                         HYMAN, ELIZABETH
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HYMAN, EMILY                         HYMAN, JEN                            HYMAN, KATIE
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HYMAN, KATY                          HYMAN, LINDSAY                        HYMAN, MARA
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HYMAN, SANTITA                       HYMAN, STACI                          HYMAN, TEVON
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HYMEL, BRANDI                        HYMEL, MELISSA                        HYMEL, SAMANTHA
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HYMES, THERESA                       HYNCIK, MICHELLE                      HYNDMAN, ELAINE
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HYNES, ANNIE                         HYNES, JAMIE                              HYNES, JENNIFER
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HYNES, KATHLEEN                      HYNES, KENNA                              HYNES, MADISON
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HYNES, OLGA                          HYPEBEAST HONG KONG LIMITED               HYPES, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       10/F, KC 100, 100 KWAI CHEONG ROAD        ADDRESS AVAILABLE UPON REQUEST
                                     KWAI CHUNG
                                     HONG KONG
                                     CHINA



HYPKE, ERIC                          HYPKE, ERIC                               HYPOLITE, TOSHA
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HYRE, ALLY                           HYSELL, LAURIE                            HYSELL, STEVEN
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HYSKELL, SCOTT                       HYSON, DENNIS                             HYTHA, ROBERT
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HYTOWER, COURTNEY                    HYZY, BRANDON                             HYZY, IAN
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I BARKSDALE, DANTE                   I GUZMAN, GISELLE                         I LOVE LA TERMINAL
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I WORKMAN, DELANEY                   I, GAYLE                                  I, YVETTE
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                                                                            IACCARINO, EMILY
1305 E WALNUT ST FOURTH FLOOR, 0107   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DES MOINES, IA 50319




IACHETTI, JENNA                       IACOBONE, ANTONELLA                    IACOBUCCI, EVELYN
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IACONELLI, TERESA                     IACONIS, MICHELLE                      IACOVAZZI, JOSEPH
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IACOVELLI, LOREDANA                   IACOVINO, KYLE                         IACOZZI, ERICA
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IADEVAIA, MIKE                        IAFFALDANO, LAURA                      IAGUCZESKI, CAMILA
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IAKOVLEVA, YULIA                      IAMMARINO, CASSANDRA                   IAMMATTEO, DANIEL
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IAMS, ASHLEY                          IAN ARMAND GAMMARINO                   IAN BROWN
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IAN CARR                              IAN CLARKE                             IAN CORNELL
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IAN FLYNN                             IAN KIM                                IAN LINDSAY
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IAN MURPHY                            IAN PHILPOT                            IAN STEWART
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IANIERI, BRIAN                       IANNACONE, ALBERT                     IANNACONE, JACQUELYN
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IANNACONE, TAYLOR                    IANNICELLI, RAY                       IANNICIELLO, RAFFAELA
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IANNIELLO, PETER                     IANNONE, CHRISTIAN                    IANNONE, SHERRY
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IANNOTTA, CATHERINE                  IANNOTTI, JENNIFER                    IANNUCCI, ROBERT
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IANNUCCI, SAMANTHA                   IANNUZZI, KATHIE                      IANOS, CARISSA
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IANOVALE, PATRICIA                   IAQUINTA, MICHAEL                     IAQUINTO, GENA
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IARIA, SARAH                         IARIA, TRACY                          IAROSSI, NICHOLAS
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IASELLO, MICHAEL                     IATAROLA, DEVEN                       IATAROLA, RACHEL
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IBANEZ, LARA                         IBANEZ, MARITZA                       IBANEZ, ORLANDO
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IBARRA, CYNTHIA                      IBARRA, EDGY                          IBARRA, FERNANDA
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IBARRA, JOSE                         IBARRA, LORRAINE                      IBARRA, MELINDA
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IBARRA, SAMUEL                       IBASCO, MICHAEL                       IBBERSON, JEREMY
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IBBOTSON, THERESA                    IBC CUSTOMS BROKERAGE, INC            IBC CUSTOMS BROKERAGE, INC
ADDRESS AVAILABLE UPON REQUEST       152-01 ROCKAWAY BLVD                  JFK AIRPORT STATION
                                     JAMAICA, NY 11434                     P.O. BOX 301023
                                                                           JAMAICA, NY 11430




IBER, LEIGH                          IBIEBELE, ABIYE                       IBINARRIAGA, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IBOTTA, INC.                         IBOURK, MARIAM                        IBRAHIM ERHAN BILICI
1800 CALIFORNIA ST SUITE 400         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80202




IBRAHIM, JULIE                       IBRAHIM, SAMIR                        IBSEN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ICABONE, JENNY                       ICE, ALLISON                          ICHANDLER-BERRY, BECKY
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ICHIKAWA, JUNKO                      ICHIOKA, WILLIAM                      ICKES, ALEXIS
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                                                                                  WINES, LLC
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                                                                           BROOKLYN, NY 11238




ICONIC WINES, LLC                     ICONIC WINES, LLC                      ICR OPCO, LLC
75 CHAMBERS ST, STE 6                 I75 CHAMBERS, ST STE 6                 761 MAIN AVE
NEW YORK, NY 10007                    NEW YORK, NY 10007                     NORWALK, CT 06851




ICR, LLC                              ICSO, ISABELLE                         ID.ME INC
ATTN: JOHN SORENSEN                   ADDRESS AVAILABLE UPON REQUEST         8281 GREENSBORO DRIVE SUITE 600
761 MAIN AVENUE                                                              MC LEAN, VA 22102
NORWALK, CT 06851




IDA STARK                             IDAHO DEPARTMENT OF FINANCE            IDAHO DEPT OF LABOR
ADDRESS AVAILABLE UPON REQUEST        SECURITIES BUREAU                      317 W. MAIN ST
                                      800 PARK BLVD., STE 200                BOISE, ID 83735
                                      BOISE, ID 83712




IDAHO STATE LIQUOR DISPENSARY         IDAHO STATE TAX COMMISSION             IDAHO STATE TAX COMMISSION
IDAHO STATE LIQUOR DIVISION           1118 "F" ST                            150 SHOUP AVE
ADMINISTRATIVE OFFICE                 PO BOX 1014                            STE 16
1349 E. BEECHCRAFT CT.                LEWISTON, ID 83501                     IDAHO FALLS, ID 83402
BOISE, ID 83716



IDAHO STATE TAX COMMISSION            IDAHO STATE TAX COMMISSION             IDAHO STATE TAX COMMISSION
1910 NORTHWEST BLVD                   440 FALLS AVE                          611 WILSON AVE
STE 100                               TWIN FALLS, ID 83301                   STE 5704
COEUR DALENE, ID 83814                                                       POCATELLO, ID 83201




IDAHO STATE TAX COMMISSION            IDAHO STATE TAX COMMISSION             IDAHO WINE MERCHANT OF IDAHO
800 PARK BLVD., PLAZA IV              PO BOX 76                              5103 N. SWAYER AVE
BOISE, ID 83722-0410                  BOISE, ID 83707-0076                   GARDEN CITY, ID 83714




IDAHO WINE MERCHANT                   IDDHIBHAKDIBONGSE, WORA                IDDINGS ELECTRIC INC
5311 N GLENWOOD ST                    ADDRESS AVAILABLE UPON REQUEST         325 C WEST MAIN STREET
GARDEN CITY, ID 83714                                                        NEW HOLLAND, PA 17557




IDEAL IMAGE PRINTING                  IDEALIST INDUSTRIES INC                IDELSON, SAMANTHA
2369 S TRENTON WAY UNIT A             231 S CITRUS AVE                       ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80231                      LOS ANGELES, CA 90036




IDEMA, CORRINE                        IDEMAN, KIMBERLY                       IDHE, ALEA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
IDIVIDE LLC           Case 22-11238-LSS
                                      IDLAND, Doc  2 Filed 11/30/22
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                                                                                  IDLER, TAMMI
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




IDOLOGY, INC.                           IDOWU, ADEMOLA                            IDRIVE INTERACTIVE, LLC. (IDRIVE)
2018 POWERS FERRY RD SE STE 720         ADDRESS AVAILABLE UPON REQUEST            3909 HARTZDALE DR. SUITE 907
ATLANTA, GA 30339                                                                 CAMP HILL, PA 17011




IDROOS, MARIHAH                         IDROVO, JENNIFER                          IDROVO, XAVIER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




IE, LEIGH                               IEDEMA, SYDNEY                            IEMOLO, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




IERACE, ROBERT                          IERARDI, CHRISTINE                        IERARDI, KATRINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




IETTA, STELLA                           IFE, NICHOLAS                             IFEKAM, OWOADE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




IFFT, ASHLEY                            IFILL, DAWN                               IFILL-FORBES, JUSTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




IFONLY                                  IG TRUE GRIT PARENT HOLDINGS, INC.        IGARTA, SETH
ADDRESS UNAVAILABLE AT TIME OF FILING   (DBA INSIGHT GLOBAL, LLC)                 ADDRESS AVAILABLE UPON REQUEST
                                        1224 HAMMOND DRIVE STE 1500
                                        DUNWOODY, GA 30346




IGC EVENTS, LLC                         IGER, AMY                                 IGIRANEZA, AIME BIENFAIT
3849 26TH ST                            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94131




IGLEHEART, HARFORD                      IGLEHEART, WILLIAM                        IGLER, CRISTINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
IGLESIAS, GABY        Case 22-11238-LSS     Doc
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                                                                             IGLINSKY, 5495
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IGNACIO CRISOSTO                     IGNACIO SPALTRO                          IGNACIO TEJERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IGNACIO, DANNI                       IGNACIO, LYDIA                           IGNASKY, JESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IGNATIUS, SHANNON                    IGNELZI, MELISSA                         IGNITE OPM LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           2000 S. COLORADO BLVD. T1-7000
                                                                              DENVER, CO 80222




IGNOFFO, LAUREN                      IGNOFFO, TERRI                           IGO, CODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IGO, LESLIE                          IGO, MELISSA                             IGOE, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IGORS LAVRINOVICS                    IGUCHI, MARK                             IHC CALIFORNIA LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           6620 SOUTHPOINT DRIVE SOUTH SUITE 230
                                                                              JACKSONVILLE, FL 32216




IHDE, BERNDADETTE                    IHLE, KIM                                IHLENFELD, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IHONDE, OMOIKHEFE                    IHOP                                     IJAMS, DONALD
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IKASALO, MICHAEL                     IKE, HAMPTON                             IKEA
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                      Case 22-11238-LSS
IKECHUKWU CHARLES NWABUOBI                   Doc 2 Filed 11/30/22
                                     IKEDA, BARBARA                   Page 2302   of 5495
                                                                           IKEDA, JASMINE
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IKEDA, ROCHELLE                      IKEN, MONICA                          IKLODI, LANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IKONICFOX LLC                        IKU, CASSANDRA                        IL ALCOHOL,TOBACCO AND FUEL DIVISION
4441 SIX FORKS RD STE 106-242        ADDRESS AVAILABLE UPON REQUEST        101 W JEFFERSON ST
RALEIGH, NC 27609                                                          SPRINGFIELD, IL 62702




IL CHICAGO DEPT OF FINANCE           IL DEPT OF REVENUE                    IL FORNAIO
33 N. LASALLE, SUITE 700             PO BOX 19041                          ADDRESS UNAVAILABLE AT TIME OF FILING
CHICAGO, IL 60602                    SPRINGFIELD, IL 62794-9041




ILAG, DAVE                           ILAN BARIL                            ILAN ELKOBI
ADDRESS AVAILABLE UPON REQUEST       1727 PEARL 307                        ADDRESS AVAILABLE UPON REQUEST
                                     DENVER, CO 80203




ILANA VENDRYES                       ILANO, KRISTINE                       ILARIA, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ILDERTON, ELIZABETH                  ILEANA GONZALEZ, RAQUEL               ILER, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ILGENFRITZ, KYLE                     ILGNER, KELLY                         ILIEV, ILIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ILJAZI, TANYA                        ILKO, ROB                             ILLGEN, DR. RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ILLIANO, CHERYL                      ILLIANO, TARA                         ILLIG, AUBREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ILLINOIS DEPT OF LABOR Case 22-11238-LSS
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                                                                               ILLINOISof 5495
                                                                                        DEPT OF REVENUE
900 SOUTH SPRING STREET               MICHAEL A. BILANDIC BLDG                  15 EXECUTIVE DR STE 2
SPRINGFIELD, IL 62704                 160 N. LA SALLE STREET                    FAIRVIEW HEIGHTS, IL 62208-1331
                                      C-1300
                                      CHICAGO, IL 60601



ILLINOIS DEPT OF REVENUE               ILLINOIS DEPT OF REVENUE                 ILLINOIS DEPT OF REVENUE
200 S WYMAN ST                         2309 W MAIN ST STE 114                   JAMES R. THOMPSON CTR - CONCOURSE
ROCKFORD, IL 61101                     MARION, IL 62959-1196                    LVL
                                                                                100 W RANDOLPH ST
                                                                                CHICAGO, IL 60601-3274



ILLINOIS DEPT OF REVENUE               ILLINOIS DEPT OF REVENUE                 ILLINOIS LIQUOR CONTROL COMMISSION
MAINE N REGIONAL BLDG                  WILLARD ICE BLDG                         300 W. JEFFERSON ST, SUITE 300
9511 HARRISON AVE                      101 W JEFFERSON ST.                      SPRINGFIELD, IL 62702
DES PLAINES, IL 60016-1563             SPRINGFIELD, IL 62702




ILLINOIS LIQUOR CONTROL COMMISSION     ILLINOIS LIQUOR CONTROL COMMISSION       ILLINOIS SECURITIES DEPARTMENT
50 W. WASHINGTON ST, SUITE 209         ADDRESS UNAVAILABLE AT TIME OF FILING    421 E. CAPITOL AVE.
CHICAGO, IL 60602                                                               2ND FLOOR
                                                                                SPRINGFIELD, IL 62701




ILLION, BIANCA                         ILLUM, BETSIE                            ILLYNE MICHEL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ILNICKI, ANDRIANA                      ILNITZKI, ZAK                            ILORI, ANGELA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ILSE, KADE                             ILSLEY, JEFF                             ILTZSCH, COREY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ILUNGA, ESTHER                         ILYAS, MOE                               ILYAS, MOHAMMED
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IM, KEYLIN                             IMA OF COLORADO, INC.                    IMADA, JULIE
ADDRESS AVAILABLE UPON REQUEST         1550 17TH ST 600                         ADDRESS AVAILABLE UPON REQUEST
                                       DENVER, CO 80202




IMAGAWA, SAYAKA                        IMAGE SUCCESS BY MALLORY, LTD.           IMAGE360 SOUTH BAY
ADDRESS AVAILABLE UPON REQUEST         5N195 FOX WILDS CT.                      363 CORAL CIRCLE EL
                                       ST. CHARLES, IL 60175                    SEGUNDO, CA 90245
IMAGINIT              Case 22-11238-LSS     Doc
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                                                                            IMARS, of 5495
                                                                                   JEFFREY
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IMBER, MITCHELL                       IMBIBE MEDIA, INC.                    IMBREY, TYLER
ADDRESS AVAILABLE UPON REQUEST        1001 SE WATER AVE. STE 285            ADDRESS AVAILABLE UPON REQUEST
                                      PORTLAND, OR 97214




IMBRIACO, JANINE                      IMBURGIA, PAIGE                       IMCHEN, OLIVIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IMERGOOT, ERICA                       IMES, EMMA                            IMES, JENNIFER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IMHOF, ANDREW                         IMHOF, NICOLE                         IMHOFF, REGINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IMHOFF, TRENTON                       IMIOLO, ADAM                          IMMEL, MATTHEW
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IMMEL, VALORY                         IMMELMAN, MELINDA                     IMMERFALL, SUZANNE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IMMORDINO, IDA                        IMNADZE, CASEY                        IMOBERSTEG, LISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IMPACT TECH, INC.                     IMPACT TECH, INC.                     IMPARL, ALBERT
223 EAST DE LA GUERRA                 223 EAST DE LA GUERRA                 ADDRESS AVAILABLE UPON REQUEST
ALYSSA HROMADADAY, PRESIDENT          SANTA BARBARA, CA 93101
SANTA BARBARA, CA 93101




IMPASTATO, KATIE                      IMPELMAN, CHRISTY                     IMPERATI, GINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
IMPERI, MARCY         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     IMPERI, MIRANDA                       Page 2305  ofPARKING
                                                                                IMPERIAL 5495 INDUSTRIES INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              6404 WILSHIRE BOULEVARD STE. 1250
                                                                                 LOS ANGELES, CA 90048




IMPERIAL PARTY RENTALS                  IMPERIALE, EDWARD                        IMPINK, RYAN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IMPROGO, MAREINA                        IMRU, LUCY                               IMSAND, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IMSON, RACHELLE                         IMTIAZ ISHAHAK                           IMTIAZUDDIN, OMER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




IMUS, NEIL                              IN AFFORDABLE LOCK AND SECURITY          IN DEPT OF REVENUE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    P.O. BOX 7224
                                                                                 INDIANAPOLIS, IN 46207-7224




IN FINE SPIRITS                         IN HOME INSTALLATION SERVICES            IN MONKEY BUSINESS LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




IN&OUT                                  IN, CHIHOON                              IN, NICOLE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INA SHUMAKER                            INABINET, ANDREA                         INBODY, ANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INBOXDOLLARS, INC                       INC 5000                                 INC MAGAZINE
COTTERWEB ENTERPRISES, INC              ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING
1295 NORTHLAND DRIVE SUITE 300
MENDOTA HEIGHTS, MN 55120




INC SAC                                 INC., MAXIMUS                            INCE, PAIGE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
INCERA, RAUL          Case 22-11238-LSS    DocGREG
                                     INCHAUSPE, 2 Filed 11/30/22             Page 2306  of 5495
                                                                                  INCHAUSTE, ANGELLI R.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




INCLAN, GENEVIEVE                       INCONTACT, INC.                            INCONTACT, INC.
ADDRESS AVAILABLE UPON REQUEST          7730 SO. UNION PARK AVE. SUITE 500         PO BOX 410468
                                        MIDVALE, UT 84047                          SALT LAKE CITY, UT 84141




INCONTRERA, BROOKE                      INCONTRO, CARLET                           INCORP SERVICES, INC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             3773 HOWARD HUGHES PKWY, STE 500S
                                                                                   LAS VEGAS, NV 89169-6014




INCORP SERVICES, INC                    INCREMONA, SEAN                            INDA, KERRI
PO BOX 94438                            ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
LAS VEGAS, NV 89193-4438




INDA, TAIECE                            INDACOCHEA, JAQUELINE                      INDE, ZINTIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




INDEED                                  INDELLICATI, AMY                           INDEN, CASSIDY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




INDEPENDENT TAXI                        INDERMILL, MARK                            INDIA GANTS
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST             5353 SAN VICENTE BLVD APT 28
                                                                                   LOS ANGELES, CA 90019




INDIA JONES                             INDIANA BUSINESS ENTITY                    INDIANA DEPARTMENT OF LABOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING      402 W. WASHINGTON ST
                                                                                   ROOM W195
                                                                                   INDIANAPOLIS, IN 46204




INDIANA DEPT OF REVENUE                 INDIANA DEPT OF REVENUE                    INDIANA DEPT OF REVENUE
100 EXECUTIVE DR STE B                  100 N SENATE IGCN                          105 E JEFFERSON BLVD STE 350
LAFAYETTE, IN 47905                     RM N105                                    SOUTH BEND, IN 46601
                                        INDIANAPOLIS, IN 46204




INDIANA DEPT OF REVENUE                 INDIANA DEPT OF REVENUE                    INDIANA DEPT OF REVENUE
117 E SUPERIOR ST                       1200 MADISON ST STE E                      1411 E 85TH AVE
KOKOMO, IN 46901                        CLARKSVILLE, IN 47131                      MERRILLVILLE, IN 46410
INDIANA DEPT OF REVENUECase 22-11238-LSS
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                                                    OF REVENUE                Page 2307
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                                                                                           DEPT OF REVENUE
1415 MAGNAVOX WAY STE 100             30 N 8TH ST 3RD FL                            3520 TWO MILE HOUSE RD
FT WAYNE, IN 46804                    TERRE HAUTE, IN 47807                         COLUMBUS, IN 47201




INDIANA DEPT OF REVENUE                 INDIANA DEPT OF REVENUE                     INDIANA DEPT OF REVENUE
3640 N BRIARWOOD LN STE 5               414 LANDMARK AVE                            500 S GREEN RIVER RD
MUNCIE, IN 47304                        BLOOMINGTON, IN 47403                       STE 202, GOODWILL BLDG
                                                                                    EVANSVILLE, IN 47715




INDIANA SECRETARY OF STATE              INDIANA SECURITIES DIVISION                 INDIANO, CHRISTINE
ADDRESS UNAVAILABLE AT TIME OF FILING   302 WEST WASHINGTON STREET                  ADDRESS AVAILABLE UPON REQUEST
                                        ROOM E111
                                        INDIANAPOLIS, IN 46204




INDIE GYPSIE, INC                       INDOR ALC                                   INDORF, JESSICA
920 CENTRAL AVENUE UNIT 104             ADDRESS UNAVAILABLE AT TIME OF FILING       ADDRESS AVAILABLE UPON REQUEST
RIVERSIDE, CA 92507




INDRANIL SENGUPTA                       INDRIDASON, SUSAN                           INDRIOLO, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




INDURU, VIKRANTH                        INDUS INSIGHTS AND ANALYTICAL               INDUSTRIAL COMMISSION OF ARIZONA
ADDRESS AVAILABLE UPON REQUEST          SERVICES PVT. LTD.                          800 W. WASHINGTON ST
                                        805, TOWER A, SPAZE TECHPARK, SOHNA         PHOENIX, AZ 85007
                                        ROAD
                                        GURGAON 122002
                                        INDIA

INDUSTRIES, GOBIUS                      INDVIK, KATIE                               INDYKE, AMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




INES NAOUALI                            INES, PALOMA                                INESON, BARBARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




INFALT, JARRAD                          INFALT, STEPHANIE                           INFANTE, ANTHONY J
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




INFANTE, JADE                           INFANTE, LAURA                              INFANTE, PAUL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
INFANTE, SARAH        Case 22-11238-LSS     Doc
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                                              SHANELLE                     Page 2308  of 5495
                                                                                INFANTINO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




INFANTINO, KEIFFER                      INFARINATO, MICHAEL                      INFINISOURCE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




INFINITE MONKEY THEOREM                 INFLIGHT WI-FI                           INFLUENCER RESPONSE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    701 WEST BEECH STREET 2106
                                                                                 SAN DIEGO, CA 92101




INFLUINT                                INFORMATION AND COMPUTING SERVICES,      INFUSIONSOFT
5609 JEFFERSON STREET STE 408           INC                                      ADDRESS UNAVAILABLE AT TIME OF FILING
WEST NEW YORK, NJ 07093                 3563 PHILIPS HIGHWAY SUITE F-601
                                        JACKSONVILLE, FL 32207




ING, JOANN                              INGALLS, CARRIE                          INGALLS, EARL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INGALLS, GORDON                         INGALLS, NANCY                           INGE, CORI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INGENITA, AMBER                         INGENITO, ALEX                           INGERMAN, EDWARD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INGERSOLL, CALEB                        INGERSOLL, SAMANTHA                      INGERSOLL, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INGERSON, ERIKA                         INGHAM, LISA                             INGHAM, RYLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INGHRAM, MEGAN                          INGIOSI, PAUL                            INGKAVET, STEVE
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INGLE, BROOKE         Case 22-11238-LSS     Doc
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INGLESE, ASHLEY                      INGLETT, MADISON                      INGLIN, NICOLE
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INGLIS, ROBIN                        INGMANSON, DAVID                      INGOLD, BRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




INGOLD, TRACE                        INGRAHAM, JENNIFER                    INGRAHAM, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




INGRAHAM, ROBIN                      INGRAHAM, STEVEN                      INGRAM, ALI
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INGRAM, ALLISON                      INGRAM, ANTWON                        INGRAM, CHERICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




INGRAM, CHEYANNE                     INGRAM, EMILY                         INGRAM, IAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




INGRAM, JASON                        INGRAM, JOSH                          INGRAM, KRYSTLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




INGRAM, LANEY                        INGRAM, LAUREN                        INGRAM, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




INGRAM, LISA                         INGRAM, MARGARET                      INGRAM, MAX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
INGRAM, MICHELLE      Case 22-11238-LSS
                                     INGRAM,Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




INGRAM, SHELBY                          INGRAM, SIERRA                          INGRAM, STACEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




INGRAM, WILLIAM                         INGRASCI, MICHAEL                       INGRID AYAYDIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




INGRID KATHLEEN MAUDLIN                 INGRID LYNNEA BROCHARD                  INGRID SUTHERLAND
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




INGRISANO, NOELLE                       INGRISANO, RACHEL                       INGWERSEN, MATTHEW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




INIGUEZ, GLADIS                         INJAYCHOCK, ROBERT                      INK SACK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




INK TECHNOLOGIES                        INK                                     INKENBRANDT, ELAINE
ADDRESS UNAVAILABLE AT TIME OF FILING   BLACKBURN HOUSE, BLACKBURN ROAD         ADDRESS AVAILABLE UPON REQUEST
                                        LONDON NW6 1RZ
                                        UNITED KINGDOM




INKIRIWANG, ANASTASIA                   INKLINGS CUSTOM                         INKOJET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




INLAY, SHAWN                            INLEK, ERIN                             INLOES, JORDON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




INMAN, ANYA                             INMAN, BRIAN                            INMAN, ERIC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
INMAN, HANNAH         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     INMAN, MARCIE                       Page 2311
                                                                              INMAN, of 5495
                                                                                     MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INMAN, SARAH                         INMARKET MEDIA, LLC                      INMOBILIARIA VINEDOS
ADDRESS AVAILABLE UPON REQUEST       11111 JEFFERSON BLVD                     ADDRESS UNAVAILABLE AT TIME OF FILING
                                     CULVER CITY, CA 90231




INMON, VALERIE                       INN, JASMINE                             INNER CIRCLE LABS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           601 MONTGOMERY ST STE 688
                                                                              SAN FRANCISCO, CA 94111




INNES, ALYSSA                        INNES, DIANA                             INNES, KRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INNISS, MARISELA                     INNOCENZO, HANNAH                        IN-N-OUT BURGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




INNOVATIVE BEVERAGES INC.            INNOVATIVE SOURCING, INC                 INNOVINT, INC.
2830 AGRICOLA STREET, UNIT 1         421 KEYS ROAD                            2494 WHITNEY DR B
HALIFAX, NS B3K 4E4                  YAKIMA, WA 98901                         MOUNTAIN VIEW, CA 94043
CANADA




INNOVINT, INC.                       INNS, ALICIA                             INNS, ELIE
275 LANING DRIVE                     ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
WOODSIDE, CA 94062




INOA, JENNIFER                       INOCENCIO, MYTHANY                       INOCENCIO, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INOUYE, AMBER                        INSANE UNLOCKS                           INSANITY GROUP LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    915 N LA BREA, APT 536
                                                                              WEST HOLLYWOOD, CA 90038




INSCORE, TINA                        INSIDE THE BOWL PRODUCTIONS, LLC.        INSIDE.COM INC.
ADDRESS AVAILABLE UPON REQUEST       2200 KINGS HISHWAY 3L 214                9415 CULVER BOULEVARD
                                     PORT CHARLOTTE, FL 33980                 CULVER CITY, CA 90232
INSIGHT RESOURCE GROUPCase 22-11238-LSS     Doc MADELINE
                                     INSIGNARES, 2 Filed 11/30/22           Page 2312  ofJOHN
                                                                                 INSINGA, 5495
3468 MT. DIABLO BLVD SUITE B120      ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
LAFAYETTE, CA 94549




INSKEEP, BOUPHA                         INSKEEP, JANET                           INSLEY, LOUDELL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




INSLEY, MEGAN                           INSTABUG.COM                             INSTACART
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




INSTAL                                  INSTALLNET INTERNATIONAL, INC            INSTANT PLUGS, LLC.
ADDRESS UNAVAILABLE AT TIME OF FILING   2127 ESPEY COURT, SUITE 300              25546 ALICANTE DR
                                        CROFTON, MD 21114                        VALENCIA, CA 91355




INSTANT PLUGS, LLC.                     INSTRUCTOR, M.                           INT RESCUE COMM
33500 AGUA DULCE CANYON RD.             ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING
AGUA DULCE, CA 91390




INTEGRATE.COM, INC                      INTEGRITY FSED INVESTMENTS LLC           INTEGRITY STAFFING SOLUTIONS
DEPT LA 24143                           1000 COCHRAN RD                          700 PRIDES COURT SUITE 300
PASADENA, CA 91185-4143                 ARGYLE, TX 76226                         NEWARK, DE 19713




INTELEGATOR, VICTORIA                   INTELLIGENTSIA COFFEE                    INTELLIGIZE, INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    230 PARK AVE, 7TH FLOOR
                                                                                 NEW YORK, NY 10169




INTERACTIONS CONSUMER EXPERIENCE        INTERACTIVE BROKERS (0534)               INTERCONTINENTAL LOS ANGELES
MARKETING INC.                          ATTN KARIN MCCARTHY OR PROXY DEPT        DOWNTOWN
9520 TOWNE CENTRE DRIVE, STE 120        2 PICKWICK PLAZA, 2ND FL                 900 WILSHIRE BLVD
SAN DIEGO, CA 92121-1991                GREENWICH, CT 06830                      LOS ANGELES, CA 90017




INTERCONTINENTAL MARK                   INTERIANO, MAYRA                         INTERNAL REVENUE SERVICE LOCAL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           OFFICE
                                                                                 21309 BERLIN RD UNIT 13
                                                                                 GEORGETOWN, DE 19947




INTERNAL REVENUE SERVICE LOCAL          INTERNAL REVENUE SERVICE LOCAL           INTERNAL REVENUE SERVICE LOCAL
OFFICE                                  OFFICE                                   OFFICE
600 ARCH STREET                         611 S. DUPONT HWY                        844 KING ST
PHILADELPHIA, PA 19106                  DOVER, DE 19904                          WILMINGTON, DE 19801
                       Case 22-11238-LSS
INTERNAL REVENUE SERVICE                     Doc
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                                               REVENUE        11/30/22 Page 2313
                                                        SERVICE                   of REVENUE
                                                                            INTERNAL 5495 SERVICE
DEPARTMENT OF THE TREASURY            INTERNAL REVENUE SERVICES SSA CAWR    OGDEN, UT 84201-339
1500 PENNSYLVANIA AVE NW              PHILADELPHIA, PA 19255-0533
WASHINGTON, DC 20220




INTERNAL REVENUE SERVICE             INTERNATIONAL INSTITUTE OF TRADING      INTERNATIONAL WINE & SPIRITS
PO BOX 7346                          MASTRY INC                              (LOUISIANA)
PHILADELPHIA, PA 19101-7346          1751 BERKELEY ST STUDIO 3               4927 BLOOMFIELD ST.
                                     SANTA MONICA, CA 90404                  JEFFERSON, LA 70121




INTERNATIONAL WINE & SPIRITS, INC.   INTERNATIONAL WINE ASSOCIATES, INC.     INTERNATIONAL WINES & CRAFT BEER, INC.
4927 BLOOMFIELD STREET               PO BOX 1330                             100 GILBERT DRIVE
JEFFERSON, LA 70121                  HEALDSBURG, CA 95448                    ALABASTER, AL 35007




INTERNATIONAL WINES, INC.            INTERSECTION WINE COMPNAY               INTL FCSTONE FIN, INC. (0750)
ATTN: BRIAN HERR                     ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN KEN SIMPSON OR PROXY MGR
100 GILBERT DR                                                               2 PERIMETER PARK,
ALABASTER, AL 35007                                                          STE 100W
                                                                             BIRMINGHAM, AL 35209



INTRAVARTOLA, CAITLYN                INTUIT                                  INTYRATH, RITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




INURRIA, MAURICIO                    INVERSO, NICOLE                         INVISION APP
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INYART, HANNAH                       INZANE ENTERTAINMENT                    INZANE ENTERTAINMENT
ADDRESS AVAILABLE UPON REQUEST       11908 VENTURA BLVD. 200                 DME LIVE, LLC
                                     STUDIO CITY, CA 91604                   12121 WILSHIRE BLVD, SUITE 725
                                                                             LOS ANGELES, CA 90025




INZERILLO, MICHELLE                  INZERILLO, SARAH                        INZUNZA, ANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




IOANES, ELLEN                        IOANNIS APOSTOLIDIS F/B/O               IOCCA, ERNEST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




IOCCO, RAY                           IOCONA, JACKIE                          IODICE, STEPHEN
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IOFFE, ELINA          Case 22-11238-LSS      Doc
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IONESCU, RUXANDRA                       IONUT C COSTACHE                          IORIO, AILEEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




IORIO, CLAUDIA                          IORIO, JUSTIN                             IORIO, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




IORIZZO, ELIZABETH                      IOVANELLA, JOSH                           IOVINO, AUDREY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




IOWA ALCOHOLIC BEVERAGES DIVISION       IOWA ALCOHOLIC BEVERAGES DIVISION         IOWA DEPT OF REVENUE
ADDRESS UNAVAILABLE AT TIME OF FILING   IOWA ALCOHOLIC BEVERAGES DIVISION         ADMINISTRATION
                                        1918 SE HULSIZER ROAD                     PO BOX 10460
                                        ANKENY, IA 50021                          DES MOINES, IA 50306-0460




IOWA DEPT OF REVENUE                    IOWA DEPT OF REVENUE                      IOWA INSURANCE DIVISION
BANKRUPTCY                              HOOVER STATE OFFICE BUILDING              601 LOCUST ST.
PO BOX 10471                            1305 E WALNUT                             4TH FLOOR
DES MOINES, IA 50306-0471               DES MOINES, IA 50319                      DES MOINES, IA 50309




IOWA INSURANCE DIVISION                 IOWA WORKFORCE DEVELOPMENT                IOWA WORKFORCE DEVELOPMENT
SECURITIES BUREAU                       1000 EAST GRAND AVENUE                    150 DES MOINES STREET
TWO RUAN CENTER                         DES MOINES, IA 50309                      DES MOINES, IA 50309
601 LOCUST STREET, 4TH FLOOR
DES MOINES, IA 50309



IOWAS PREMIER BEER, WINE & FOOD EXPO    IP COMMERCE, INC.                         IP, PEGGY
730 THIRD STREET                        DEPT CH 16853                             ADDRESS AVAILABLE UPON REQUEST
DES MOINES, IA 50309                    PALATINE, IL 60055-6853




IP, WALLACE                             IP2LOCATION                               IPANIS, CHRIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS AVAILABLE UPON REQUEST




IPFS CORPORATION OF CALIFORNIA          IPPOLITI, HEATHER                         IPPOLITO, ERIN MOLLY
1055 BROADWAY, 11TH FL                  ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
KANSAS CITY, MO 64105
IPPOLITO, LISA        Case 22-11238-LSS
                                     IPPUDO Doc
                                            NY  2 Filed 11/30/22 Page 2315        of 5495
                                                                           IPSEN, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




IQAL, CHRISTOPHER                    IR VOLT, LLC                          IRA CLUB FBO DARRYL C RANDLE ROTH IRA
ADDRESS AVAILABLE UPON REQUEST       333 LAS OLAS WAY CU 1                 ADDRESS AVAILABLE UPON REQUEST
                                     FORT LAUDERDALE, FL 33301




IRA, MEGAN MICKLER                   IRAC WIGGINS                          IRACE, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRACI, CLARISSA                      IRAETA, TELMA                         IRAHETA, SILVIA
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IRANEE, ALISGA                       IRANI, CHARLENE                       IRANI, CYRUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRANZO FIELDS, S.L.                  IRATXE MUMFORD                        IRBY, AHNYE
ICARRETERA DE MADRID                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
60 46315 CAUDETE DE LAS FUENTES
VALENICA
SPAIN



IRBY, ALEXANDRIA                     IRBY, GENEVIEVE                       IRBY, HALEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRBY, JERRI                          IRBY, STEPHANIE                       IRBY, TRACI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRBY, TRACI                          IRBY, TUESDAY                         IREDELL, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRELAND, CANDICE                     IRELAND, CHRISIE                      IRELAND, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
IRELAND, JHONA        Case 22-11238-LSS
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                                                                           IRENE NICHOLS
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IRENE WALTON                         IRENETT CALDERON                      IRETON, ANGELA
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IRIANA, NICOLE                       IRIBARREN LOPEZ, GISELA               IRIBE, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRISH, CHARITY                       IRISH, JULIE                          IRISH, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRISH, SYDNEY                        IRIZARRY, ALYSSA                      IRIZARRY, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRIZARRY, CLAUDIA                    IRIZARRY, ENDIA                       IRIZARRY, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRIZARRY, MARIEL                     IRIZARRY, NADETTE                     IRLAND, MARCUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRLMEIER, BRENDA                     IRMA DIJAK                            IRMA ESPARZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRMEN, JESSICA                       IRON IN THE FIRE, INC.                IRON IN THE FIRE, INC.
ADDRESS AVAILABLE UPON REQUEST       SARA JENKINS                          SARA JENKINS
                                     4260 TROOST AVE. 5                    900 SATURNINO ROAD 132
                                     STUDIO CITY, CA 91604                 PALM SPRINGS, CA 92262




IRONS, GREGORY                       IRONS, JESSICA                        IRONS, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
IRONS, MIGUEL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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IROV VAUL                               IRR, STEFANIE                         IRUSSI, NATHAN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRVAN, NATALIE                          IRVIN, CHELCI                         IRVIN, DANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRVIN, DANIELLE                         IRVIN, DAVINA                         IRVIN, DOMINIQUE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRVIN, JANICE                           IRVIN, JEAN                           IRVIN, JESSICA
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IRVIN, SEAN                             IRVINE ZYSENSKY                       IRVINE, ANDREW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRVINE, BOB                             IRVINE, JACQUELYN                     IRVINE, MITCH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRVING GADOURY                          IRVING, ELIZABETH                     IRVING, JAMIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRVING, MEGAN                           IRVING, ROBERT                        IRVING, STACY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRVING, TAYLOR                          IRWIN, ALICE                          IRWIN, ALISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
IRWIN, AMY JO         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     IRWIN, CASEY                     Page 2318   of 5495
                                                                           IRWIN, CHRISTA
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IRWIN, DANIELLE                      IRWIN, DEBBY                          IRWIN, ELIZABETH
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IRWIN, GAGE                          IRWIN, GERALD                         IRWIN, GREG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRWIN, JACKSON                       IRWIN, JANET                          IRWIN, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRWIN, KAREN                         IRWIN, KATY                           IRWIN, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IRWIN, KIT                           IRWIN, LAUREN                         IRWIN, LYNNIE
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IRWIN, MARIE                         IRWIN, MICHAEL                        IRWIN, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAAC HEMSANI                        ISAAC KLAPHOLZ-BROWN                  ISAAC VAUGHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAAC, CAROLYN                       ISAAC, DIANE                          ISAAC, FANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAAC, KUMAR                         ISAAC, MARGURITE                      ISAACS, ALBERTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ISAACS, ANDREA        Case 22-11238-LSS
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ISAACS, AVERY                        ISAACS, CRAIG                         ISAACS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAACS, MARILYN                      ISAACS-ANTONIO, KIRA                  ISAACSON, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAACSON, KRISTEN                    ISAACSON, KURT                        ISAACSON, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAACSON, MALLORY                    ISAACSON, MICHELE                     ISAACSON, NEAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAACSON, RITA                       ISABEL MOLINA                         ISABEL, GRIFFIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISABEL, KARLA                        ISABELL, ALAINNAH                     ISABELL, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISABELLA CHANDRIS                    ISABELLA LAURIA                       ISABELLA, LOUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISABELLA, MICK                       ISABELLA, SARAH                       ISABELLE BEEGLE-LEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISABELLE HOUSMANS                    ISABELS DAUGHTER, ACES SISTER,        ISACC DEMOZ
ADDRESS AVAILABLE UPON REQUEST       STEPHANIE HODGES                      ADDRESS AVAILABLE UPON REQUEST
                                     ADDRESS AVAILABLE UPON REQUEST
ISACCO, ALEX          Case 22-11238-LSS    Doc
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                                                                           ISACSON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISADORE, DYLAN                       ISAIAH NEEMA                          ISAIAH, LACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAKSEN, CYNTHIA                     ISAKSEN, KRISTA                       ISAKSEN, MARGAUX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISAROV, YELENA                       ISBELL, CARLY                         ISBELL, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISCOVITZ, CAROLINE                   ISEBRANDS, GINA                       ISEMAN, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISEMINGER, KARRIANNA                 ISEMINGER, LAURA                      ISEMINGER, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISENBART, TONY                       ISENBERG, BRANDI                      ISENBERG, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISENBERG, NATALIE                    ISENBERGER, JACOB                     ISENBLITTER, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISENMAN, STEPHANIE                   ISENSEE, CYNTHIA                      ISENSEE, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ISERNIA, LINDSAY                     ISERT, KATIE                          ISHAM, CODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ISHETIAR, SAKARI      Case 22-11238-LSS     Doc
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                                                                           ISHIKAWA, BRANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ISHIKAWA, MIKA                       ISHIMARU, KAREN                        ISHINO, AKI
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ISHIZU, MEGAN                        ISHMAEL, BRADLEY                       ISHMAEL, KARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ISHTPREET SINGH                      ISIDORO, PATRICIA                      ISIDRO, JENIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ISIP, ASHLEY                         ISKALIS, HALEE                         ISLAM, SYEDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ISLAMAJ, BRIANA                      ISLAS, DANIEL                          ISLES, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ISLEY, KRISTEN                       ISMAEL FLORES TRUJANO                  ISMAIL, ZAHID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ISMAILOVA, BAKTYLUU                  ISMARY TAPIA                           ISOLA, ABRAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ISOLA, LAUREN                        ISOM, AIYANNA                          ISOM, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ISOM, DAVID                          ISOM, DIANE                            ISOM, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ISON, GRANT           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ISON, SHILA                        Page 2322  of 5495
                                                                             ISQUIERDO, ARASELE
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ISRAE, ALIX                          ISRAEL SAN JUAN                          ISRAEL, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ISRAEL, BAILEY                       ISRAEL, CHLOE                            ISRAEL-STEWART, BRANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ISRANI, PARUL                        ISSA, BUHIRWA                            ISSA, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ISSEKS, LISA                         ISSEL, DETLEF                            ISSERTELL, RAICHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ISSUANCE, INC.                       ISTOCKPHOTO                              ISTRE, JAMIE
11845 W OLYMPIC BLVD., 1100W         ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90064




ISTVANICK, SHEILA                    IT4LA, INC                               ITA, DRUE
ADDRESS AVAILABLE UPON REQUEST       8033 WEST SUNSET BLVD 228                ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90046




ITAGI, ASHWIN                        ITAGI, GEETHA                            ITALIA, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




ITALIC LLC.                          ITALIC LLC.                              ITCHON, MARIELLE
3707 MOTOR AVE 112                   7029 PETIT ROAD                          ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90034                VAN NUYS, CA 91406




ITHARAT, PREM                        ITI TROPICALS, INC.                      ITO, HIROAKI
ADDRESS AVAILABLE UPON REQUEST       30 GORDON AVENUE                         ADDRESS AVAILABLE UPON REQUEST
                                     LAWRENCE TOWNSHIP, NJ 08648
ITO, KIMBERLY         Case 22-11238-LSS    Doc KIMBERLY
                                     ITSKOWITCH, 2 Filed 11/30/22     Page 2323
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




ITURBE LAGRAVE, VALENTINA            ITURBIDE, TANIA                       ITURRERIA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ITURRI, CLAUDIA                      ITURRINO, EMILIO                      ITURRIOS, MIRIAM GUADALUPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ITZEP BERNAL, KENIA                  ITZHAKOV, ILAN                        ITZHAKOV, MOSHE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ITZHAKY, DANIEL                      IUCULANO, JEAN                        IUNI, ALEXIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IV, GEORGE A GROSS                   IVAN SERGEYEV                         IVAN V SERGEYEV
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IVAN                                 IVANHOE, RACHEL                       IVANOCHKO, MYKYTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IVANOFF, SVETLANA                    IVANOV, DIAN                          IVANOV, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IVANOV, VICTOR                       IVANOVA, IVA                          IVANOVA, MILENA
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IVANOVIC, TAMARA                     IVANS, EMILIE                         IVANTSOVA, VIKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
IVANY, STEFANIE       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     IVASIV, NATALIIA                 Page 2324  of 5495
                                                                           IVCHENKO, NATALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




IVERS, BOBBY                         IVERS, JAMES                           IVERSEN, LANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




IVERSON, AMANDA                      IVERSON, CARRIE                        IVERSON, DANIEL
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IVERSON, JENNIE                      IVERSON, JON                           IVERSON, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




IVERSON, KRISTINE                    IVERSON, LEANNE                        IVERSON, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




IVERSON, REBECCA                     IVERSON, SAMANTHA                      IVERSON, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




IVERSON, TIAURA                      IVERY, TROY                            IVES
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IVES, EMILY                          IVES, JENNIFER                         IVES, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




IVES, MADISON                        IVESDAL, RUTH                          IVESON, ALYSSA
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IVESON, BRITTANY                     IVETTE MENDEZ-KELLY                    IVEY, KEENAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
IVEY, KRYSTA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     IVEY, PHILIP                          Page 2325   of 5495
                                                                                IVEY, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




IVEY-DAVIS, OLIVIA                   IVEY-SOTO, DAVID                            IVIE, ALLISON
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IVIE, JORDAN                         IVINS, AMANDA                               IVO BRUNI
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IVONE DE OLIVEIRA                    IVORY, HUGH                                 IVY, LADY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




IVY, ROBYN                           IVY, SAVANNAH                               IVYCONNECT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              175 VARICK STREET
                                                                                 NEW YORK, NY 10014




IWAMOTO, AYAKA                       IWAMOTO, CRAIG                              IWAN, JANELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




IWAN, JOANNE                         IWANSKI, LORI                               IWATA, KUNIO
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IWEMA, JOYCE                         IWENOFU, EMEKA                              IWICKI, JOANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




IWOBI, CHIZOBA                       IWSR DRINKS MARKET ANALYSIS LIMITED         IWUAGWU, CHINYERE
ADDRESS AVAILABLE UPON REQUEST       5 FLEET PLACE                               ADDRESS AVAILABLE UPON REQUEST
                                     LONDON EC4M 7RD
                                     UNITED KINGDOM




IWUCHUKWU, CHIZOR                    IYA MANGAM                                  IYENGAR, GAURI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
IYENGAR, SRIDEVI      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     IYER, AKSHITA                    Page 2326   of 5495
                                                                           IYER, ARJUNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IYER, RAVI                           IYER, SARAH                           IYER, SRINIVASAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IYER, VIGNESH                        IYOB, ABU                             IZAAEK GERRIT CORNELIS WEPPELMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IZADI, SHAUNA                        IZAGUIRRE, CHARLY                     IZAGUIRRE, INDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IZAK MAITIN                          IZAREK, STACY                         IZATT, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IZEA, INC.                           IZEN, JEANNE                          IZER, DARRIN
480 N. ORLANDO AVE. STE 200          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINTER PARK, FL 32789




IZUMOTO, ELLIS                       IZZO, MICHAEL                         IZZO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




IZZO, MIKE                           IZZY, JOEY                            J BARNETT, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J BRADY, KIM                         J CAMPA, MICHAEL                      J F TRICK JR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J HOBBS, BENJAMIN                    J KNUTH, JESSICA                      J LORUSSO, ANDREW
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J MCKONE, RYAN        Case 22-11238-LSS    DocMICHAEL
                                     J MONNETT, 2 Filed 11/30/22      Page 2327  of 5495
                                                                           J MOYER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J NELSEN, PATRICK                    J NICHOLS III, WILLIAM                J RIDDLE, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J RODRIGUEZ, MICHAEL                 J ST VIL, CASSANDRA                   J VALERIO, ARMANDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J WUTTIG, KRISTEN                    J                                     J&E CLEANING SERVICES, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3130 SKYWAY DR. SUITE 302
                                                                           SANTA MARIA, CA 93455




J&H SELBACH WEINKELLEREI GMBH & CO   J, AIMEE                              J, AMES
KG                                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
GAENSFELDER STRASSE 20
ZELTINGEN-RACHTIG 54492
GERMANY



J, C                                 J, CATHRYN                            J, CHELSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J, CIELO                             J, EDGARDO                            J, ENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J, GENESIS                           J, GERALD                             J, HENRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J, HOPE                              J, KELLY                              J, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




J, KEVIN                             J, KRISTIN                            J, KRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
J, KRISTY             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     J, LAUREN                          Page 2328   of 5495
                                                                             J, LORETTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




J, MACKENNA                          J, MARY                                 J, MAWU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




J, MICHAEL                           J, NANCY                                J, NIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




J, PAMELA                            J, PAMELA                               J, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




J, PRISCILLA                         J, REBECCA                              J, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




J, S                                 J, SUSAN                                J, TERENCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




J, TONY                              J. MACALEESE, PHILLIPS FINANCIAL        J. STECHER, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




J. STOB, DAVID                       J., COLIN                               J.B. HUNT TRANSPORT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          615 J.B. HUNT CORPORATE DR.
                                                                             LOWELL, AR 72745




J.HOFSTÄTTER                        J.JO LLC                                J.P. MORGAN/CLEARING (0352)
RATHAUSPLATZ 7 PIAZZA MUNICIPIO 7    1374 BISCAY DR.                         ATTN CORPORATE ACTIONS TEAM
39040 TRAMIN A.D.W. (BZ)             EDWARDSVILLE, IL 62025                  500 STANTON CHRISTIANA RD. NCC5 FL3
TERMENO (BZ)                                                                 NEWARK, DE 19713
ITALY



J6 CREATIVE                          JAASMA, AMY                             JABAR, KAREN
420 SOUTH PALM AVE                   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
ALHAMBRA, CA 91803
JABARA, CHERYL        Case 22-11238-LSS
                                     JABBAR,Doc 2 Filed 11/30/22
                                            ANGELINE                  Page 2329
                                                                           JABBERof 5495
                                                                                  HAUS LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1601 VINE ST 6TH FLR
                                                                            LOS ANGELES, CA 90028




JABER, ASHLEY                        JABER, NOOR                            JABER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JABER, WAEL                          JABEZ ROJO                             JABLON, LOREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JABLON, SHAYLA                       JABLONSKI, CHELSEY                     JABLONSKI, CHRISTOPHER
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JABLONSKI, IJAH                      JABLONSKI, JOANN                       JABLONSKI, JULIA
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JABLONSKI, LOIS                      JABLONSKI, MEAGAN                      JABLONSKI, MELISSA
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JABLONSKI, MICHAEL                   JABLONSKI, REBECCA                     JABOUR, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JABRUCKI, LAURA                      JABS, CARI                             JACAN HENDRICKSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JACE, EULALIA                        JACEK, KELLIE                          JACI DAILY, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         3952 E PARKSIDE LN
                                                                            PHOENIX, AZ 85050




JACINTH, EILEEN                      JACK DURSTON                           JACK IN THE BOX
ADDRESS AVAILABLE UPON REQUEST       (HIGH POWER PRESSURE WASHING)          ADDRESS UNAVAILABLE AT TIME OF FILING
                                     1030 OAKWOOD AVE
                                     VENICE, CA 90291
JACK JENNINGS         Case 22-11238-LSS     Doc DARNELL
                                     JACK LANDIS 2 Filed 11/30/22     Page 2330  of 5495
                                                                           JACK MCQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACK MORICI                          JACK, AMBER                           JACK, ASHLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACK, DAWN                           JACK, EDWARD                          JACK, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACK, HEATHER                        JACK, KALEY                           JACK, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACK, KYRIA                          JACK, MURPHY,                         JACK, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACK, VICTOR                         JACKALOPE HEART, LLC                  JACKE, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       403 RADCLIFFE DRIVE                   ADDRESS AVAILABLE UPON REQUEST
                                     NEWARK, DE 19711




JACKELOW, ANN                        JACKENHEIMER, BARRY                   JACKIE DORSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACKIE GRIMM, DR.                    JACKIE NEWLANDER                      JACKIE ORSAK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACKIE SKANES FIGATNER               JACKIE STEWART (ERVIN)                JACKIE, TRUAX,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACKIN ALTMAN                        JACKLYN MARTINEZ                      JACKLYNE MARTI
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JACKMAN, ANNE         Case 22-11238-LSS    Doc
                                     JACKMAN,    2 Filed 11/30/22
                                              CIERRA                  Page 2331 of 5495
                                                                           JACKMAN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACKMAN, GLORIA FLORES               JACKMAN, HEATHER                      JACKMAN, JUDY
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JACKMAN, KAMAL                       JACKMON, ANISSA                       JACKOWITZ-ROBINSON, STEFANIE
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JACKRIN VIPATAPAT                    JACKS, KYLIE                          JACKS, RAMIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACKS, SHEENA                        JACK-SCHIMMEL, ELIZABETH              JACKSON FAMILY WINES INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        421 AVIATION BLVD
                                                                           SANTA ROSA, CA 95403




JACKSON JR, ROBERT                   JACKSON ROSS, TAMARA                  JACKSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JACKSON, ABBEY                       JACKSON, ADALEINE                     JACKSON, AJANI
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JACKSON, AKIA                        JACKSON, ALYSSA                       JACKSON, AMANDA
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JACKSON, AMANDA                      JACKSON, AMANDA                       JACKSON, AMBER
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JACKSON, AMBER                       JACKSON, AMBER                        JACKSON, AMY
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JACKSON, ANDREA       Case 22-11238-LSS    Doc
                                     JACKSON,    2 Filed 11/30/22
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                                                                           JACKSON, 5495
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JACKSON, ANNA                        JACKSON, ANTHONY                      JACKSON, ANTOINETTE
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JACKSON, APRIL                       JACKSON, ARIELLE                      JACKSON, ARTHUR
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JACKSON, ARYN                        JACKSON, ASHLEY                       JACKSON, ASHLEY
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JACKSON, AUDRA                       JACKSON, AUDRY                        JACKSON, AVERY
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JACKSON, BAILEY                      JACKSON, BELINDA                      JACKSON, BETTY
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JACKSON, BRANDI                      JACKSON, BRIAN                        JACKSON, BRITTNEY
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JACKSON, BROOKE                      JACKSON, CADE                         JACKSON, CAMERON
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JACKSON, CAMILLE                     JACKSON, CAROLINE                     JACKSON, CATHY
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JACKSON, CATHY                       JACKSON, CELIA                        JACKSON, CHASE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JACKSON, CHLOE        Case 22-11238-LSS    Doc
                                     JACKSON,    2 Filed 11/30/22
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                                                                           JACKSON, 5495
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JACKSON, CONSTANCE                   JACKSON, CORINNE                       JACKSON, COURTNEY
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JACKSON, CRYSTAL                     JACKSON, CURTIS                        JACKSON, CURTIS
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JACKSON, CYLESTE                     JACKSON, DAEJA                         JACKSON, DANIELLE
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JACKSON, DAVID                       JACKSON, DAVID                         JACKSON, DAVINA
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JACKSON, DEMAR                       JACKSON, DEMETRIUS                     JACKSON, DESIREE
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JACKSON, DEZARAE                     JACKSON, DONNA                         JACKSON, DOUGLAS
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JACKSON, ELISA                       JACKSON, EMILY                         JACKSON, EMILY
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JACKSON, EMILY                       JACKSON, ERICA                         JACKSON, ERICA
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JACKSON, ERIK                        JACKSON, ERIN                          JACKSON, ERIN
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JACKSON, ERNEST       Case 22-11238-LSS    Doc
                                     JACKSON,    2 Filed 11/30/22
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                                                                           JACKSON, 5495
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JACKSON, EVAN                        JACKSON, FELECIA                      JACKSON, FRANCES
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JACKSON, GEORGE                      JACKSON, GEORGIANA                    JACKSON, GEORGIE
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JACKSON, GREG                        JACKSON, GRETCHEN                     JACKSON, HANNAH
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JACKSON, HANNAH                      JACKSON, HILLARY                      JACKSON, HOLLY
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JACKSON, HOWARD                      JACKSON, IMANI                        JACKSON, ISAIAH
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JACKSON, JACQUE                      JACKSON, JAKE                         JACKSON, JAMES
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JACKSON, JAMES                       JACKSON, JAMIE                        JACKSON, JANA
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JACKSON, JANAY                       JACKSON, JANET                        JACKSON, JASMINE
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JACKSON, JASMINE                     JACKSON, JAZMIN                       JACKSON, JEANNIE
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JACKSON, JENNA        Case 22-11238-LSS    Doc
                                     JACKSON,    2 Filed 11/30/22
                                              JENNA                   Page 2335  of JENNIFER
                                                                           JACKSON, 5495
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JACKSON, JENNIFER                    JACKSON, JENNIFER                      JACKSON, JENNIFER
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JACKSON, JILL                        JACKSON, JOHN                          JACKSON, JOHNETTA
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JACKSON, JONATHAN                    JACKSON, JOY                           JACKSON, JUDY
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JACKSON, JULIA                       JACKSON, JULIANNE                      JACKSON, JUSTINE
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JACKSON, KAITLYN                     JACKSON, KAREN                         JACKSON, KAREN
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JACKSON, KARSYN                      JACKSON, KATHERINE                     JACKSON, KATIE
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JACKSON, KATY                        JACKSON, KEITH                         JACKSON, KELCI
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JACKSON, KELSEY                      JACKSON, KELSI                         JACKSON, KENDRA
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JACKSON, KENNEDI                     JACKSON, KEVIN                         JACKSON, KIANA
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JACKSON, KIM          Case 22-11238-LSS    Doc
                                     JACKSON,    2 Filed 11/30/22
                                              KIMBERLY                Page 2336  of KIMBERLY
                                                                           JACKSON, 5495
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JACKSON, KITZIA                      JACKSON, KYLE                          JACKSON, KYLE
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JACKSON, KYLE                        JACKSON, LAURA                         JACKSON, LAURA
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JACKSON, LAUREN                      JACKSON, LAUREN                        JACKSON, LAUREN
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JACKSON, LEANDRA                     JACKSON, LINDSAY                       JACKSON, LOLITA
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JACKSON, MACKENZIE                   JACKSON, MAIA                          JACKSON, MAILLIW
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JACKSON, MAKAYLA                     JACKSON, MARK                          JACKSON, MARTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JACKSON, MARY JANE                   JACKSON, MARY                          JACKSON, MATTHEW
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JACKSON, MEGAN                       JACKSON, MEGEN                         JACKSON, MELISSA
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JACKSON, MIA                         JACKSON, MICAH                         JACKSON, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JACKSON, MICHELLE     Case 22-11238-LSS    Doc
                                     JACKSON,    2 Filed 11/30/22
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JACKSON, MOLLY                       JACKSON, MONIK                         JACKSON, MORGAN
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JACKSON, NANCY                       JACKSON, NAOMI                         JACKSON, NIARA
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JACKSON, OLLINE                      JACKSON, PAIGE                         JACKSON, PATRICK
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JACKSON, PAUL                        JACKSON, PRISCILLA                     JACKSON, QUILA
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JACKSON, RACHEL                      JACKSON, RACHEL                        JACKSON, RACHEL
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JACKSON, REGGIE                      JACKSON, REGINALD                      JACKSON, REGINALD
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JACKSON, RENAE                       JACKSON, RENEE                         JACKSON, RHIKI
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JACKSON, RICKY                       JACKSON, RICQUEL                       JACKSON, ROBIN
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JACKSON, RONNA-RENEE                 JACKSON, ROSIE                         JACKSON, RYAN
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JACKSON, SAMANTHA                    JACKSON, SAMANTHA                     JACKSON, SAMANTHA
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JACKSON, SARAH                       JACKSON, SARAH                        JACKSON, SARAH
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JACKSON, SARAH                       JACKSON, SARAH                        JACKSON, SARAH
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JACKSON, SCARLETT                    JACKSON, SEAN                         JACKSON, SHANNA
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JACKSON, SHATANYA                    JACKSON, SHAWN                        JACKSON, SHEILA
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JACKSON, SHENQUALE                   JACKSON, SIERRA                       JACKSON, SIERRA
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JACKSON, STACEY                      JACKSON, STACIE                       JACKSON, STEPHAN
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JACKSON, STEPHANIE                   JACKSON, STEPHEN                      JACKSON, STEPHNEY
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JACKSON, SUSAN                       JACKSON, TAMI                         JACKSON, TAYLOR
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JACKSON, TIFFANY                     JACKSON, TOM                            JACKSON, TOMMI
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JACKSON, TONYA                       JACKSON, TRAVIS A.                      JACKSON, TRESURE
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JACKSON, TYLER                       JACKSON, VAL                            JACKSON, VALERIE
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JACKSON, VERENA                      JACKSON, VERNA                          JACKSON, VERONICA
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JACKSON, VICTORIA                    JACKSON, WAYNE                          JACKSON, WHITNEY
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JACKSON, XATAYIA                     JACKSON, YANICK                         JACKSON, ZACHARY
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JACKSON-CARTER, AMANDA               JACKSON-HING, ALLIE                     JACKSON-MALAVASI, JONI
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JACKSON-ROBBINS, SUE                 JACKSONS FOOD AND                       JACKSONS
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JACLYN BALMANOUKIAN                  JACLYN BALMANOUKIAN                     JACLYN DE LEON
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JACLYN JUSSIF         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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JACOB ARMIJO                         JACOB DAVID FERRY                     JACOB EBEL
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JACOB EGLE                           JACOB FISHER                          JACOB FISHER
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JACOB FOHN                           JACOB H KANA JR                       JACOB LOYA
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JACOB MOORE                          JACOB MOSHEH BUCKSTEAD                JACOB PAUL MOONEY
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JACOB RUMPF                          JACOB SHAPIRO                         JACOB SUGGS
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JACOB UNDERWOOD                      JACOB VIRAMONTEZ                      JACOB WHITISH
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JACOB YOUNG SHIN                     JACOB                                 JACOB, ALLISON
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JACOB, ANA                           JACOB, ANISH                          JACOB, ASHLEY
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JACOB, ATHENA                        JACOB, CLARISSA                       JACOB, CONNIE
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JACOB, DINELL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JACOB, EVAN                      Page 2341
                                                                           JACOB, of 5495
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JACOB, JESSICA                       JACOB, JILL                           JACOB, JINCE
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JACOB, JOBY                          JACOB, KELLY                          JACOB, KYLE
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JACOB, LINDSEY                       JACOB, MARC                           JACOB, MARGARET
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JACOB, MARGO                         JACOB, MORGAN                         JACOB, NAMITHA
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JACOB, RUTH                          JACOB, SAMANTHA                       JACOB, TAYLOR
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JACOB, VERONIKA                      JACOBA KNOLLE                         JACOBBERGER, NATALIE
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JACOBE, MONICA                       JACOBI, ASHLEY                        JACOBI, EMILY
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JACOBI, LAUREN                       JACOBI, RAYMOND                       JACOBIK, GERALD
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JACOBIN, ALEXANDRA                   JACOBO, ADRIANA                       JACOBO, NATALIA
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JACOBO, VALERIA       Case 22-11238-LSS    Doc 2MELISSA
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JACOBS, ANGELA                       JACOBS, ANNE                          JACOBS, ANTHONY
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JACOBS, AUTUMN                       JACOBS, BRIAN                         JACOBS, BRIDGET
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JACOBS, BROOK                        JACOBS, CHELSEA                       JACOBS, CHELSEY
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JACOBS, CHERIE                       JACOBS, CHRISTA                       JACOBS, CHRISTINE
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JACOBS, CLARE                        JACOBS, CODY                          JACOBS, CODY
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JACOBS, CRYSTAL                      JACOBS, DENNIS                        JACOBS, DIANE
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JACOBS, ELLIE                        JACOBS, EMILY                         JACOBS, EMMA
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JACOBS, EMMA                         JACOBS, ERIC                          JACOBS, ERIN
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JACOBS, ERIN                         JACOBS, ERYN                          JACOBS, EVAN
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JACOBS, GABRIEL       Case 22-11238-LSS
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JACOBS, HANNAH                       JACOBS, HARVEY                        JACOBS, HEATHER
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JACOBS, JACQUELINE                   JACOBS, JASON                         JACOBS, JEN
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JACOBS, JENNIFER                     JACOBS, JESSICA                       JACOBS, JESSICA
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JACOBS, JORDAN                       JACOBS, JULIA                         JACOBS, KAITLYN
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JACOBS, KAITLYN                      JACOBS, KIMBERLY                      JACOBS, KIMBERLY
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JACOBS, KRYSTAL                      JACOBS, LEAH                          JACOBS, LINDSEY
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JACOBS, LINDSEY                      JACOBS, LYNN                          JACOBS, LYNSY
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JACOBS, MARTHA                       JACOBS, MARY                          JACOBS, MEGAN
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JACOBS, MELANIE                      JACOBS, MELISSA                       JACOBS, MICHAEL
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JACOBS, MICHAEL       Case 22-11238-LSS
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JACOBS, NICHOLE                      JACOBS, PAUL                          JACOBS, PRESTON
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JACOBS, RODNEY                       JACOBS, RYAN                          JACOBS, SANDRA
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JACOBS, SANDRA                       JACOBS, SCOTT                         JACOBS, SHAD
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JACOBS, SHELBY                       JACOBS, SINCERE                       JACOBS, SOLANGE
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JACOBS, STEPHEN                      JACOBS, SUE                           JACOBS, SYDNEY
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JACOBS, TARA                         JACOBS, TAYLOR                        JACOBS, WHITNEY
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JACOBS, WHITNEY                      JACOBS, XONJENESE                     JACOBS, YOLANDA
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JACOBSEN, CYNTHIA                    JACOBSEN, ELEANOR                     JACOBSEN, HALEY
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JACOBSEN, HANNAH                     JACOBSEN, JERRY                       JACOBSEN, JILLIAN
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JACOBSEN, KELSEY      Case 22-11238-LSS    DocLUKE
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                                                                           JACOBSEN, RYAN
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JACOBSEN, SKYLER                     JACOBSEN, TIM                         JACOBSEN-BRIDGES, BRITNI
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JACOBS-FERDERBAR, JOSEPH             JACOBSMA, MITCHELL                    JACOBSON, ADRIANNA
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JACOBSON, ALISON                     JACOBSON, AMANDA                      JACOBSON, AMY
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JACOBSON, ARLENE                     JACOBSON, ASHLEY                      JACOBSON, BEVERLY
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JACOBSON, CHRIS                      JACOBSON, CHRISTINA                   JACOBSON, HANNAH
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JACOBSON, JACKLYN                    JACOBSON, JENNA                       JACOBSON, JENNIFER
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JACOBSON, JONATHAN                   JACOBSON, JUDITH                      JACOBSON, KARI
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JACOBSON, KATIE                      JACOBSON, KEITH                       JACOBSON, KELLY
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JACOBSON, KRISTA                     JACOBSON, KRISTIN                     JACOBSON, LAURA
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JACOBSON, LAURA       Case 22-11238-LSS    DocLETA
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                                                                           JACOBSON, LIZZIE
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JACOBSON, MARIE                      JACOBSON, MARJORIE                     JACOBSON, MELINDA
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JACOBSON, MICHAEL                    JACOBSON, ROBERT                       JACOBSON, SHARON
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JACOBSON, SHARON                     JACOBSON, STEPHANIE                    JACOBSON, SUZANNE
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JACOBSON, TERESA                     JACOBSSON, EM                          JACOBSWN, JAIMIE
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JACOBUS, KELLY                       JACOBUS, PAIGE                         JACOBY, BRIGITTE
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JACOBY, DIANA                        JACOBY, LILY                           JACOBY, TARA
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JACOT, JENNIFER                      JACOX, JACKI                           JACOX, SHANTELLE
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JACQUALYN JACKSON                    JACQUART, AMANDA                       JACQUE, CAROLYN
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JACQUELIN, SEAN                      JACQUELINE ANN CAPSTICK                JACQUELINE BALASCHAK
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JACQUELINE CAPRARA    Case 22-11238-LSS    DocCZITROM
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                                                                           JACQUELINE DUPERLY
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JACQUELINE HALL                      JACQUELINE LAPORTE                    JACQUELINE MARRA
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JACQUELINE MARTELL                   JACQUELINE NICOLE MACHADO             JACQUELINE PALACIO
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JACQUELYN KAY                        JACQUELYNN TICHENOR                   JACQUES WILLIAMS
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JACQUES, ERNEST                      JACQUES, JEN                          JACQUES, MICHELE
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JACQUES, NICOLE                      JACQUES-PURDY, AMY                    JACQUEZ, JULIAN
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JACQUEZ, SARAH                       JACQUIN, COURTNEY                     JACQUOT, SHERYL
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JACSKON, CASEY                       JACZYNSKI, CINDY                      JADA ASHLEY HAWKINS
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JADEN HARRIS                         JADERBERG, NICOLE                     JADERSON ANTHONY
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JADOFF, EMILY         Case 22-11238-LSS    Doc 2TABATHA
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JAE HENDERSON                        JAEGER, ASHLEY                        JAEGER, CAROLYN
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JAEGER, CHAR                         JAEGER, DANNY                         JAEGER, KIM
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JAEGER, NICOLE                       JAEGER, RACHAEL                       JAEGERMAN, ANDREA
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JAEGLY, ROBERT                       JAEHNIG, DAN                          JAENICHEN, SPENSER
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JAENICKE, DEREK                      JAENKE, BRITT                         JAESU HAN
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JAFFA, MOLLY                         JAFFA, STACY                          JAFFARIAN, RACHELLE
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JAFFE, ARNOLD                        JAFFE, EMMELIA                        JAFFE, ERIC
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JAFFE, ERICA                         JAFFE, HANNAH                         JAFFE, KAREN
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JAFFE, MARGOT                        JAFFE, MICHAEL                        JAFFE, MICHAEL
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JAFFE, RANDI          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     JAFFE, SARAH                     Page 2349   of 5495
                                                                           JAFFE, STEVEN
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JAFFE, TAYLOR                        JAFFEE, MICHAEL                       JAFFER, ABBAS
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JAFFET, NOE                          JAFROUDI, SEPI                        JAGADEESWARAIAH, CHANDRASEKAR
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JAGASIA, HARI                        JAGDFELD, ABBY                        JAGEMAN, DONNELLE
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JAGER, KATHY                         JAGGER, CARLA                         JAGGIA, DHRUV
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JAGIELSKI, LAUREN                    JAGLA, CLAIRE                         JAGLOWITZ, TRACEY
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JAGNANAN, SUPRIYA                    JAGODA, ABIGAIL                       JAGUSH, JESSICA
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JAHAHN, LEIGH                        JAHAIRA PAGAN                         JAHN, MAGGIE
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JAHN, SHERI                          JAHN, STACIE                          JAHNA, EMILY
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JAHNCKE, KELLIE                      JAHNER, BILL                          JAHNER, DUANE
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JAHNKE, MARGERY       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JAHNS, PAULA                     Page 2350   of 5495
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JAIDEEP RIJHSINGHANI                 JAIDEV, ASHWATH                       JAIMANIE PERSAD-MAHARAJ
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JAIME BROWN                          JAIME ESPERALBA VENTURA               JAIME PETSEL
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JAIME, SEAN                          JAIMES LUKES, MARCELO                 JAIMES, BIANCA
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JAIMES, EDGAR                        JAIMES, SILVIA                        JAIMESON WENNERSTRUM
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JAIMIE TYNAN                         JAIMOHAN RAMACHANDRAN                 JAIN, ANJALI
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JAIN, ARIHANT                        JAIN, NEALE                           JAIN, PRANAV
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JAIN, RISHABH                        JAIN, SANDRINE                        JAIN, SHREYA
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JAIN, VIC                            JAISHANKAR KASINATHAN                 JAJKO, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAKE HARRISON SHILD                  JAKE MAYNARD                          JAKE ROSEN ENTERTAINMENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        240 KELBOURNE AVE
                                                                           SLEEPY HOLLOW, NY 10591
JAKE SCOTT SZYBOWICZ Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                    JAKE TROGSTAD                     Page 2351  of 5495
                                                                           JAKE WILLIAMS
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JAKE, DOWNEY,                        JAKE, KNIEEKA                         JAKE, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAKEMAN, SHERRIE                     JAKEWAY, AUDREY                       JAKIEL, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAKLITSCH, TAMARA                    JAKOB HAAS                            JAKOB HAMMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAKOB NOLAN POULIOS                  JAKOBEIT, SAMANTHA                    JAKOBSSON, LILAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAKOBY, STEPHANIE                    JAKOVINA, TAYLOR                      JAKOWLEW, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAKSCHT, BRITTNEY                    JAKUBECY, BRENDA                      JAKUBIELSKI, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAKUSH, REBECCA                      JAKUSZ, MARI                          JALA, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JALALIPOUR, PARISA                   JALANDONI, NADINE                     JALAYERIAN, JESSLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JALBERT, LINDSAY                     JALBRZYKOWSKI, JOHN                   JALILI, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JALILIAN, AMIR        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           JALINSKI, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JALISA VAUGHN LLC                    JALKH, BRIAN                          JALLOH, BOUBAKAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JALLOH, ZAINABU                      JALOWSKI, GERARD                      JAMA, FAIZA
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JAMACA, KRISTIN                      JAMAIL, KATHERINE                     JAMAR, JEFF
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JAMBOR, ANDREW                       JAMELA JONES                          JAMERSON, ARIANNA
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JAMES ALAN COCHRAN                   JAMES ALLAN JANEWAY JR                JAMES ARPAIA
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JAMES AUSTIN                         JAMES B JORDAN                        JAMES BARTON PHELPS II
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JAMES BEACH                          JAMES BENDLE                          JAMES BERNARD RANDOLPH
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JAMES BLACK                          JAMES BROADWAY                        JAMES BUCKLEY JORDAN
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JAMES BURGIN                         JAMES C MCDONOUGH                     JAMES C PERRY
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JAMES CANTU           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JAMES CARDOSA                    Page 2353  of 5495
                                                                           JAMES CAREY ANDERSON
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JAMES CHENOWETH                      JAMES CHIN                            JAMES CORVO
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JAMES CROWLEY, JAMES                 JAMES D GATEWOOD                      JAMES D PERKO
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JAMES DANIEL STEVENS                 JAMES DAVID MILLER                    JAMES DINN
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JAMES DITTMER                        JAMES DRAKE                           JAMES DURNA
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JAMES E BROUGHTON                    JAMES E SAGE                          JAMES EARL WARREN
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JAMES EDWARD ALLEN                   JAMES EDWARD KESSI                    JAMES EICHER
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JAMES EMERY MULLEN                   JAMES F GUNCKEL                       JAMES FERGUSON TUSTIN
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JAMES FLANAGAN, BRENDAN              JAMES FLYNN                           JAMES FOULKS
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JAMES FRASER                         JAMES GILBREATH                       JAMES GLEN WELKER
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JAMES GREEN           Case 22-11238-LSS     Doc 2 GASCOIGNE
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                                                                               JAMES H  5495
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JAMES H LEATZOW                          JAMES HASKINS                         JAMES HOWARD WILLIAMS
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAMES J FRANK & ERICA S FRANK (JTWROS)   JAMES J TIAMPO MONEY PURCHASE PLAN    JAMES J TIAMPO MONEY PURCHASE PLAN
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        & TRUST (KEOGH)
                                                                               PO BOX 931
                                                                               RENO, NV 89504




JAMES J TIAMPO                           JAMES J TIAMPO                        JAMES JAWORSKI PLAN & TRUST (KEOGH)
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAMES JEFFREY COLLINS                    JAMES JOSEPH DICE                     JAMES KELLEN
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAMES KERIAN                             JAMES KEVIN OCONNOR                   JAMES KING
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAMES L RUTTLER JR AND ANNE B RUTTLER    JAMES LISSAINT REVOCABLE TRUST        JAMES LORETO
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JAMES LUSK                               JAMES MARKS                           JAMES MATISAN GIFFORD
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JAMES MATTHEW O DONNELL                  JAMES MCCALEB                         JAMES MICHAEL KOHAN
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JAMES MINH CU LAM                        JAMES MOLLER                          JAMES MORAN
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JAMES MORRIS NEWLUN Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                   JAMES MULVEY                      Page 2355  of 5495
                                                                          JAMES NEVIN
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JAMES NORMAN PRESTON                JAMES NSIEN II                        JAMES P MCGINLEY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAMES PATRICK KAHLER                JAMES PATRICK MCDONALD                JAMES PATRICK NUNN
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JAMES PENDERGAST                    JAMES R COLEMAN                       JAMES R GOOHS
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JAMES RAGNAR PETTERSON JR           JAMES RICHARD ROUGH                   JAMES RICHARD
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JAMES ROBERT MULDOON                JAMES ROBERT RUIZ                     JAMES ROBERT WINNING
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JAMES S BAKER                       JAMES SCOTT MCGUIRE                   JAMES SEDWICK
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JAMES SEVCIK                        JAMES SMITHERS                        JAMES STIRN
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JAMES STOUT                         JAMES T AHN                           JAMES T DOYLE
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JAMES T RICHARDSON                  JAMES TANLEY                          JAMES THESING
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JAMES THOMAS BOSTIC   Case 22-11238-LSS     Doc 2 GRAY
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                                                        JR 11/30/22   Page 2356  of 5495ROBERTSON
                                                                           JAMES TINDALL
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JAMES V CHELINI                      JAMES VANOVER                         JAMES W JOHNSTON
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JAMES WARREN MACK                    JAMES WIDENER                         JAMES, ABASIAMA
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JAMES, ADAM                          JAMES, ADESOJI                        JAMES, ADRIANA
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JAMES, ADRIENNE                      JAMES, ALEXIS                         JAMES, AMANDA
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JAMES, AMBER                         JAMES, ANITA                          JAMES, AVA
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JAMES, AYDEN                         JAMES, BARBARA                        JAMES, BOB
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JAMES, BOBBY                         JAMES, CAITLYN                        JAMES, CARTER
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JAMES, CHERYL                        JAMES, CHINTELLE                      JAMES, CHRIS
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JAMES, CODY                          JAMES, COURTNEY                       JAMES, COURTNEY
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JAMES, DAPHNE         Case 22-11238-LSS     Doc 2AND Filed
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JAMES, DIONNE                        JAMES, ELAINE                         JAMES, ELIZABETH
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JAMES, ELIZABETH                     JAMES, ERIKA                          JAMES, GARRETT
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JAMES, GERALD                        JAMES, HEATHER                        JAMES, JACOB
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JAMES, JACQUELYN                     JAMES, JAMIE                          JAMES, JEANNE
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JAMES, JENNIFER                      JAMES, JERMAINE                       JAMES, JESSI
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JAMES, JESSICA                       JAMES, JESSICA                        JAMES, JOSEPH
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JAMES, JOSHUA                        JAMES, KENNETH                        JAMES, KEVIN
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JAMES, KLOIE                         JAMES, LACI                           JAMES, LATIONA
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JAMES, LAUREN                        JAMES, LINDA                          JAMES, LISHE
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JAMES, MACKENZIE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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JAMES, MELISSA                       JAMES, MYRON                          JAMES, NEIL
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JAMES, NINA                          JAMES, OCEANA                         JAMES, OLIVIA
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JAMES, PAM                           JAMES, PATRICIA                       JAMES, PATRICK
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JAMES, PETER                         JAMES, QWINTEN                        JAMES, REBECCA
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JAMES, RHONDA                        JAMES, RICHARD                        JAMES, RICK
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JAMES, ROGERS                        JAMES, RYAN                           JAMES, SAMANTHA
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JAMES, SAMANTHA                      JAMES, SANDRA                         JAMES, SANDRA
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JAMES, SANDY                         JAMES, SARA                           JAMES, SHANTAY
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JAMES, SIMON                         JAMES, SONDRA                         JAMES, SONYA
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JAMES, SUSAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JAMES, SUSIE                     Page 2359
                                                                           JAMES, of 5495
                                                                                  SUZAN
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JAMES, TAYLOR                        JAMES, TERRA                          JAMES, THEOTIS
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JAMES, TIFFANY                       JAMES, TOM                            JAMES, TONYA
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JAMES, TRAVIS                        JAMES, TRICIA                         JAMES, VAL
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JAMES, WAYNE                         JAMES, WHITNEY                        JAMES, ZERETA
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JAMESON, ANNA                        JAMESON, JEFF                         JAMESON, JENNIFER
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JAMESON, JULIA                       JAMESON, LAURA                        JAMESON, LINDSEY
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JAMESON, TESIA                       JAMEYFIELD, LOIS                      JAMGOCHIAN, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAMI CLARK                           JAMIE DE TRINIDAD                     JAMIE FIORESI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JAMIE KRAFT                          JAMIE KULOVITZ                        JAMIE LITTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JAMIE MUNDEN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JAMIE NEILL                      Page 2360   of 5495
                                                                           JAMIE PEYSER RATNER (CERTIFIKID LLC)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         9908 BLUEGRASS ROAD
                                                                            POTOMAC, MD 20854




JAMIE RAMSEY                         JAMIE TUEL                             JAMIE VERHAALEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JAMIE WARREN                         JAMIE                                  JAMIE, FEDONICK,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JAMIE, KING                          JAMIE, MEISLER                         JAMIEL, VICTORIA
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JAMIESON, ELIZABETH                  JAMIESON, JORDAN                       JAMIESON, JORDAN
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JAMIESON, KARA                       JAMIESON, LORI                         JAMIESON, MEGAN
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JAMIESON, PAYTON                     JAMIESON, THOMAS                       JAMILA EBBA
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JAMILLAH VALLARE                     JAMISON, AMANDA                        JAMISON, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JAMISON, BRITTANY                    JAMISON, CHRIS                         JAMISON, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JAMISON, DEBORAH                     JAMISON, EMILY                         JAMISON, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JAMISON, GLENDA D.    Case 22-11238-LSS    Doc
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                                                                           JAMISON,  5495
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JAMISON, JILLIAN                     JAMISON, KELLI                         JAMISON, KELLY
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JAMISON, LACY                        JAMISON, LINDSAY                       JAMISON, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JAMISON, TIMOTHY                     JAMMET, ROXANE                         JAMMYPACK, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         2000 STRONGS AVE
                                                                            VENICE, CA 90291




JAMNER, DREW                         JAMROS, CAITLIN                        JAMSHIDIMEHR, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JAMTAAS, JESSICA                     JAN HARPER                             JAN JORISSEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JAN VENTURES LLC                     JAN VENTURES LLC                       JAN, MICHAEL
262 WINTER STREET                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WESTON, MA 02493




JAN, SARMAD                          JAN, TIFFANY                           JANA FIREBAUGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JANA RAYMOND                         JANAC, STEPHANIE                       JANAE HENDERSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JANAK, JIRI                          JANAK, KATIE                           JANAK, RAVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JANAKIRAM, EMILY      Case 22-11238-LSS    DocAIMEE
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JANARL THOMPSON                      JANASHAK, ROBIN                       JANASKY, AMY
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JANAY SAVOY                          JANCAREK, KATELYN                     JANCO, HOWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANCO, MARGARET                      JANCZAK, FRANK                        JANCZYK, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANDA, AMANDA                        JANDA, ERICA                          JANDA, MICHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANDA, NARISSA                       JANDELL SELECTIONS                    JANDREAU, TAREL
ADDRESS AVAILABLE UPON REQUEST       7-11 S BROADWAY UNIT 2 LL             ADDRESS AVAILABLE UPON REQUEST
                                     WHITE PLAINS, NY 10601




JANE EBY, SAM GOECKE                 JANE EGBUFOAMA                        JANE HUTCHISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANE MARIE DALE                      JANE MARIE LINDEMANN                  JANE TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANE, ANGELA                         JANE, ELIZABETH                       JANE, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANE, MARY                           JANE, MARY                            JANE, SARAH
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JANEC, SAMANTHA       Case 22-11238-LSS    Doc
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                                                                           JANECKE, 5495
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JANECZEK, KATHARINE                  JANEE WILLIAMS                        JANEL GION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANELL WISE                          JANELL, CINDY                         JANELLE LUNETTE COOPER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANELLE NICOLE MEDDERS               JANELLE P BRANDOM                     JANELLE SANDS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANELLE SHUFORD                      JANELLE, DUAH,                        JANENE GUNDLACH
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JANENKO, JESSICA                     JANES, DAPHNE                         JANES, JACQUELINE
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JANES, JESSICA                       JANES, KAITLIN                        JANES, MIA
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JANET CLARKSON DAVIS                 JANET L HANSEN                        JANET LYLE VEESART
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JANET S FEATHERSTON                  JANET TAMAYO GOMEZ                    JANET TUOMI
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JANET, KATRINA                       JANEZIC, ERIN                         JANG, DON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JANG, HANNAH          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     JANG, JISUN                      Page 2364   of 5495
                                                                           JANG, MIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANG, MIN                            JANG, SARAH                           JANG, SUNGKWAN
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JANI, NEEL                           JANI, PRIYA                           JANICE KEIKO RINGLER
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JANICE M BRIGGS, JANICE              JANICE MCCARTHY                       JANICE PIZZONIA
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JANICE ROE                           JANICKI, ERICA                        JANICKI, JAKUB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANICKI, MELINDA                     JANICOLA, KENDALL                     JANIK, DEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANIKIS, MICHAEL                     JANINE MARTIN                         JANIS MCNICHOLAS
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JANIS SKINNER                        JANISZEWSKA’S, BARBARA                JANJUA, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JANK, MICHAEL                        JANKE, ERIN                           JANKES, MELISSA
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JANKOSKI, MEGAN                      JANKOVIC, VLADIMIR                    JANKOVICS, ADRIENN
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JANKOVSKY, RACHEL     Case 22-11238-LSS    DocALLISON
                                     JANKOWSKI, 2 Filed 11/30/22      Page 2365 of 5495
                                                                           JANKOWSKI, AMBER
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JANKOWSKI, BERNIE                    JANKOWSKI, EVIE                       JANKOWSKI, JENNIFER
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JANKOWSKI, JESSICA                   JANKOWSKI, STACY                      JANMOHAMED, AYESHA
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JANNA ENYART                         JANNATI, HENGAMEH                     JANNEY MONTGOMERY SCOTT INC. (0374)
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                                                                           1717 ARCH ST
                                                                           17TH FL
                                                                           PHILADELPHIA, PA 19103-1675



JANNEY, DAVE                         JANNOTTA, TARYN                       JANNOTTI, RICHARD
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JANOCHA, ANDREW                      JANOS, MATTHEW                        JANOSO, MEGAN
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JANOTTA, DANIEL                      JANOUSEK, AMY                         JANOUSEK, KYLEE
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JANOV, LAURA                         JANOVITZ, SHANNON                     JANOWIAK, MEGAN
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JANOWICZ, DEANNA                     JANOWSKI, JEANETTE                    JANSAK, LINDA
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JANSEN VAN RENSBURG, FRANCOIS        JANSEN, ALEXANDRA                     JANSEN, CAROL
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JANSEN, EMILY         Case 22-11238-LSS
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JANSEN, KIM                          JANSEN, LOLA                          JANSEN, MORGAN
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JANSEN, NATASHA                      JANSEN, SHEILA                        JANSEN, TIFFANIE
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JANSON, ALANA                        JANSON, KATHERINE                     JANSON, KEITH
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JANSON, LINDSEY                      JANSS, AMBER                          JANSSEN, ABIGAYLE
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JANSSEN, KAREN                       JANSSEN, SARAH                        JANSSENS, ANNABELLE
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JANSSON, COURTNEY                    JANSSON, LACY                         JANSSON, LORA
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JANSZEN, MALLORY                     JANTSCH, BRENDA                       JANTZ, CHRISTINE
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JANTZER, KRYSTIN                     JANTZI, JESSICA                       JANUARY LAVOY
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JANUARY, KELLY                       JANUSKA, MEGAN                        JANUSKIEWICZ, ANNA
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JANUSZ, KATHRYN       Case 22-11238-LSS
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JANYSKA, LISA                        JANZEN, JENNIE                        JANZEN, TONY
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JAP, ANDREW                          JAPAL, VINCERE                        JAPARIDZE, NANA
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JAQUELINE MARTINEZ                   JAQUELINE ANN LAMAJ                   JAQUES, ANNA
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JAQUES, DAVID                        JAQUES, EMILY                         JAQUES, EMILY
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JAQUES, JOYCE                        JAQUET, GINA                          JAQUEZ, BRYANT
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JAQUEZ, JACQUELINE                   JAQUEZ, KARLA                         JAQUEZ, MIRANDA
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JAQUITH, ISABELLE                    JARA, CANDACE                         JARA, CHRISTINA
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JARA, RAUL                           JARAE NICHOLS                         JARAMILLO, AMANDA
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JARAMILLO, ANA                       JARAMILLO, EDWARD                     JARAMILLO, ESTEFANIA
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JARAMILLO, FELICIA    Case 22-11238-LSS     DocMEGAN
                                     JARAMILLO, 2 Filed 11/30/22      Page 2368  of 5495
                                                                           JARAMILLO, NICOLE
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JARAMILLO, SHONTELLE                 JARAMILLO, VICENTE                     JARBOE, BELYNDA
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JARBOE, REBECCA                      JARBOE-LEE, LOUISE                     JARDA, LISA
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JARDEN, LAUREN                       JARDIN, IAN                            JARDINE, ELISHA
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JARDINE, LARYSSA                     JARDINI, ELIZABETH                     JARDON, CHELSEA
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JARED BEYMER                         JARED BRAINERD                         JARED WARD
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JARED, HIGGINS                       JARELLE DYBAS                          JAREN DOHERTY JR
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JARES, MAGGY                         JARGILO, SABINA                        JARISCH, JUSTIN
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JARIWALA, RITESH                     JARMAN, AMANDA                         JARMEL, MELISSA
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JARMON, KOBIE                        JARMON, LYNDA                          JARMON, MICHELLE
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JARMUZ, MICHAEL       Case 22-11238-LSS    Doc
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JARO, CELINE                         JAROSZESKI, JORDYN                    JAROWICZ, MARIE
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JARQUIN, MELISSA                     JARRELL, BRANDY                       JARRELL, DON
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JARRELL, HOLLY 2/                    JARRELL, JULIA                        JARRELL, JUSTINE
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JARRELL, SCOTT                       JARRELL, STEPHANIE                    JARRELLE, DANIELLE
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JARRELLS, MAXWELL                    JARRELLS, MICHAEL                     JARRET EVAN GLASSBROOK
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JARRETT HARRIS                       JARRETT, ASHLEY                       JARRETT, DUSTIN
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JARRETT, JEFFREY                     JARRETT, JESSICA                      JARRETT, SYDNEY
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JARRETT-WILCOX, CARLENA              JARRO RODRIGUEZ ARGUELLES FRANCISCO   JARROLD, RICHARD/CYNTHIA
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JARROW, ANNE                         JARVAIS, NIKKI                        JARVEY, ANNE MARIE
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JARVEY, ERIK          Case 22-11238-LSS
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JARVIS, BRIDGET                      JARVIS, COURTNEY                      JARVIS, ELENA
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JARVIS, ELIZABETH                    JARVIS, ERIKA                         JARVIS, GERALD
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JARVIS, JAY                          JARVIS, JEANETTE                      JARVIS, JENNIFER
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JARVIS, KELLY                        JARVIS, KRISTIN                       JARVIS, LILY
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JARVIS, MARYJANE                     JARVIS, MELISSA                       JARVIS, RACHEL
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JARVIS, RENEE                        JARVIS, STACY                         JARVIS-SQUIRE, ADRIELLE
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JARZEBIAK, AJ                        JARZEMBOWSKI, MEGHAN                  JASBECK, SHANE
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JASECKO, PAOLA                       JASEK, AUSTIN                         JASEN FRANK MEYN
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JASICK, HANNAH                       JASIK, RICHARD                        JASINSKI, ALLISON
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JASINSKI, SUSAN       Case 22-11238-LSS     Doc 2 Filed
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                                                                             JASINTO, 5495
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JASKIRAN SAMRA                        JASKO, AMANDA                          JASKOLSKI, JILLIAN
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JASKOWIAK, JULIE                      JASKOWIAK, MARK                        JASKULSKI, COLLEEN
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JASLOWSKI, CARLEE                     JASMINE A JORDAN-STEWART               JASMINE BROWN
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JASMINE GRIFFITH                      JASMINE HAWTHORNE                      JASMINE KAUR
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JASMINE LIN                           JASMINE SANDERS                        JASMINE, JASON
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JASMINE, MCFARLAND                    JASNIEWICZ, JOSEPH                     JASO, ANNA
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JASO, BEN                             JASON AUGUSTYN                         JASON BAGWILL
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JASON BICHSEL                         JASON BIWER                            JASON BLEILE
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JASON BRADLEY SCHWERINER              JASON BRENT KENNEDY                    JASON BROUSSEAU
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JASON COOK            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JASON COONS                      Page 2372  of 5495
                                                                           JASON DAUGHETY
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JASON DAVID STIVANO                  JASON FOSTER                          JASON GERARD CROFT
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JASON H LYNCH                        JASON HADLEY                          JASON HARRIS
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JASON HOROWITZ                       JASON JASMINE                         JASON KENT ZACHARY
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JASON LANDVER                        JASON LEWIS                           JASON LUCKMANN
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JASON LUEDERS                        JASON MCCRYSTLE                       JASON MCDERMOTT
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JASON MICHAEL BONKE                  JASON MILLER                          JASON NAPOLI
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JASON NORKEVICUS                     JASON ORZEL                           JASON P BERGSTROM
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JASON PAUL CHALECKI                  JASON PONDER                          JASON SHREVE
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JASON SIMON                          JASON TOGIAS                          JASON WADE
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JASON WENDT           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     JASON WILLIAMS                   Page 2373
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JASON, LISA                          JASON, SAMANTHA                        JASON-DENNIS STEWART
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JASPER, ELIZABETH                    JASPER, LEAH                           JASPER, LYNN
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JASPER, STACEY                       JASPER, TYLER                          JASPER, VALERIE
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JASPERSON, COREY                     JASSEM, HEATHER                        JASSO, CATHY
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JASSO, CHERYL                        JASSO, CLAUDIA                         JASTER, JULIE
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JASTERMSKY, LAUREN                   JASTRZAB, ALAYNE                       JASTRZEBSKI, KATHY
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JASUWAN, TORRIE                      JATAUN GILBERT                         JATIN CHOPRA
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JAU, SAM                             JAUCIAN, RICHARD                       JAUGSTETTER, OLIVIA
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JAUHAL, BEMI                         JAUME, COLLEEN                         JAURIRI, MIRIAM
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JAUSS, MICHAEL        Case 22-11238-LSS    Doc
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JAVAGE, LAURA                        JAVAHER, JASON                          JAVED, SANNIA
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JAVELLANA, PHILIP                    JAVERI, NIRAJ                           JAVERNIK, LUKE
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JAVIER ALCAZAR                       JAVIER WAASE                            JAVIER, JENNIE
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JAVIER, SUSAN                        JAVO BEVERAGE COMPANY, INC.             JAVON CAVER
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                                     VISTA, CA 92081




JAVORA, ALISON                       JAWBONE                                 JAWDAT, FADIA
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JAWDAT, LAYAN                        JAWDAT, LENNA                           JAWHARY, RABI
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JAWIN, KEREY                         JAWORECKI, ROSE                         JAWOREK, LINDSAY
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JAWORSKI, DIANA                      JAWORSKI, JULIE                         JAWORSKI, KRISTA
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JAWORSKI, MATT                       JAY ANDERSON                            JAY DONALD SULLIVAN
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JAY H UNDERWOOD       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JAY HENDERSON                    Page 2375  of 5495
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JAY R BOMMAREDDY                     JAY ROBERTS                           JAY STETZ
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JAY, ALY                             JAY, LINDA                            JAY, LYNNAI
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JAY, PAMELA                          JAY, S                                JAY, SHANNON
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JAYARAM, AMSHULA                     JAYARAM, THILA                        JAYARAMAN, SUBHADRA
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JAYARAMAN, VISHAL                    JAYASINGHE, HASHINTHA                 JAYE, KRISTY
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JAYE, SHELLI                         JAYESH SHUKLA                         JAYNA, LANGFORD
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JAYNE, ALISSA                        JAYNE, GAIL                           JAYNES, ANGELA
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JAYNES, JESSI                        JAYNES, KARLEY                        JAYNES, LAURE
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JAYRAJ PATEL                         JAYSANKAR, HARISH                     JAYSON, BEN
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JAZEK, BRIAN          Case 22-11238-LSS    Doc
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JAZMINE SCHWINGES, -WILLIAMS         JAZWIECKI, ELIZABETH                  JAZZAA, MARYAM
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JEAL, ALYSE                          JEAN ANN VAN DEN HEUVEL               JEAN BAPTISTE, SHEMICA
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JEAN GLOVER                          JEAN HANEY                            JEAN HARRIS
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JEAN PHILIPPE, MATTERSON             JEAN VENDICE                          JEAN WANG
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JEAN, ADELA                          JEAN, ASHLEY                          JEAN, BARBARA
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JEAN, CLAUDIA                        JEAN, EMMA                            JEAN, ERIN
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JEAN, KELLY                          JEAN, MARTINE                         JEAN, MELISSA
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JEAN, MOLLY                          JEAN, MONIQUE                         JEAN, NATALIE
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JEAN, OBED                           JEAN, PATRICIA                        JEAN, SERGINE
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JEAN, STEPHANIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           JEAN-BAPTISTE,
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JEAN-BAPTISTE, ESTHER                JEAN-BAPTISTE, FLORENCE               JEAN-BAPTISTE, J DANIEL
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JEAN-BART, KAREN                     JEAN-CHARLES, DARNELL                 JEAN-CLAUDE BASSILA
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JEANES, ELIZABETH                    JEANETTE CARRANZA                     JEANGUENAT, ANNA
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JEANICA LYKA RIEF                    JEANIE OWEN, JEANIE                   JEANINE DIBLEY
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JEANINE KNOLL                        JEANINE LANGE                         JEAN-JACQUES, KELVEN
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JEANJEAN, MARIE                      JEANJULIEN, ENOCK                     JEANLOUIS, DAPHKAR
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JEAN-LOUIS, GILBERT                  JEAN-LOUIS, MOISE-LENA                JEAN-MAX JEAN-PIERRE
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JEANNACE BURNETT-BENTLEY             JEANNE CHASE                          JEANNE LARSON
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JEANNE WHITENS                       JEANNETTE, LISA                       JEANNIE LOCKLEAR
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JEANNOT, PASCALE      Case 22-11238-LSS     DocBLANDINE
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JEANS, ABBY                          JEANS, CLAIRESITA                      JEANSON, AMBER
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JEBALI, KENZA                        JEBELI, MAHVASH                        JEBIN, RAHNUMA
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JECK, KARA                           JECKLIN, CAITLIN                       JEDLICKA, ADAM
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JEDRESKI, KATHLEEN                   JEDROSKO, MILDRED                      JEEVANJEEE, LAUREN
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JEEVES, CHRISTINA                    JEFF HOLZMAN                           JEFF JAYNES
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JEFF MAKSYM                          JEFF PATE                              JEFF PERA
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JEFFCOAT, ALICIA                     JEFFERIES & CO, INC. (0019)            JEFFERIES SELENA
ADDRESS AVAILABLE UPON REQUEST       ATTN ROBERT MARANZANO OR PROXY MGR     ADDRESS AVAILABLE UPON REQUEST
                                     34 EXCHANGE PL
                                     JERSEY CITY, NJ 07311




JEFFERIES, ABBY                      JEFFERIES, CHRIS                       JEFFERIES, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JEFFERIS, MARINA                     JEFFERS, ANNA                          JEFFERS, DANICA
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JEFFERS, SHAWNDA                     JEFFERS, STEPHEN                       JEFFERSON, AUTUMN
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JEFFERSON, CRYSTAL                   JEFFERSON, JACQUELINE                  JEFFERSON, JAMES
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JEFFERSON, JAMILA                    JEFFERSON, JODI                        JEFFERSON, KELLY
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JEFFERSON, LAVERNE                   JEFFERSON, LEVON                       JEFFERSON, RILEE
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JEFFERSON, SELDON                    JEFFERSON, SHAQUIDA                    JEFFERSON, WISTER
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JEFFERY CLARK STONE                  JEFFERY, NOAH                          JEFFERY, TYLER
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JEFFORDS, BREANNA                    JEFFORDS, JENNIFER                     JEFFORDS, KARA
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JEFFORY MILLER                       JEFFRESS, ABIGAIL                      JEFFRESS, HOLLY
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JEFFREY A VISSER                     JEFFREY ALAN BLOCK                     JEFFREY ALAN BURGESS
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JEFFREY C HALL                       JEFFREY CABRAL TEIXEIRA                JEFFREY CASAMENTO
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JEFFREY CHARLITE                     JEFFREY D HART                         JEFFREY DARRELL FARMER
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JEFFREY DAVID COLLINS                JEFFREY DOUGLAS FARRINGTON             JEFFREY DOWS
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JEFFREY E HAVELL                     JEFFREY FEINBERG                       JEFFREY GAUGER
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JEFFREY H GLATTER SUSAN M GLATTER    JEFFREY IVER TOLSTAD                   JEFFREY JAMES FULKERSON
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JEFFREY KOURY                        JEFFREY L BLAKE                        JEFFREY L LEVERONE
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JEFFREY LANG                         JEFFREY LINN BOOKHOUT                  JEFFREY LYNN NARBURGH
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JEFFREY M BIESMAN                    JEFFREY MICHAEL RACHKE                 JEFFREY MICHAEL SOBODASH
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JEFFREY O ZICKER                     JEFFREY RICHARD                        JEFFREY ROBIN
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JEFFREY SMITH                        JEFFREY T LEDERER                     JEFFREY THOMAS
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JEFFREY TYLER NIX                    JEFFREY VAN DE POEL                   JEFFREY VICENTE
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JEFFREY W CROOMS                     JEFFREY WHITE                         JEFFREY WOLTMAN
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JEFFREY ZILAHY                       JEFFREY, CAITLIN                      JEFFRIES, ERUM
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JEFFRIES, GRETCHEN                   JEFFRIES, JACOB                       JEFFRIES, JULIE
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JEFFRIES, LINDA                      JEFFRIES, LUCIA CARREON               JEFFRIES, NICOLE
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JEFFRIES, RICHIE                     JEFFS, AUDREY                         JEFFUS, MICHAEL
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JEGANATHAN, SARAVANAN                JEGHELIAN, SUSAN                      JEJNA, LYNNE
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JEK, KIAN                            JEKAUC, IGOR                          JELANI CURRIE
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JELINEK, JOSIEY                      JELINEK, STEPHANIE                    JELLERETTE, TAYLOR
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JELLEYMAN, TARA                      JELLINS, LIONEL                       JELLISON, CLAIRE
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JELLOTS, FERRELL                     JELLY BELLY CANDY COMPANY             JELONEK, MEGHAN
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                                     FAIRFIELD, CA 94533




JEMP, STEPHANIE                      JEN BENVENUTO                         JEN LILLEY
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JEN, OLIVIA                          JENA GARTLAND                         JENA GREEN FASHION INSPIRATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        100 FOX RIDGE LN
                                                                           WASHINGTON, IL 61571




JENA, ABHISEK                        JENA, JOHNSON,                        JENALEE ERICKSON
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JENCSO, KELLY                        JENELLE HATZUNG                       JENEMA, SARAH
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JENEY, ROBYN                         JENIFER SCHEEHLE                      JENIFFER BLANCO SYLVESTER
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JENKINS, ALICIA                      JENKINS, ALICIA                       JENKINS, ALIZABETH
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JENKINS, ARICA                       JENKINS, AVERY                        JENKINS, BEN
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JENKINS, CAROL                       JENKINS, CAROLYN                      JENKINS, CAROLYN
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JENKINS, CARRIE                      JENKINS, CASEY                        JENKINS, CASSANDRA
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JENKINS, CAYLEE                      JENKINS, CHERYL                       JENKINS, CHETARRA
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JENKINS, CJ                          JENKINS, DALE                         JENKINS, DAVID
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JENKINS, EMILY                       JENKINS, ERIC                          JENKINS, ERICA
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JENKINS, ERIN                        JENKINS, EVAN                          JENKINS, GREG
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JENKINS, HALEY                       JENKINS, HEATHER                       JENKINS, HOLLY
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JENKINS, JACKIE                      JENKINS, JACOB                         JENKINS, JACOB
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JENKINS, JANELLE                     JENKINS, JEANNE                        JENKINS, JEFF
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JENKINS, JESSICA                     JENKINS, JILL                          JENKINS, JONATHAN
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JENKINS, JOY                         JENKINS, JULIANNA                      JENKINS, JULIE
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JENKINS, KALAN                       JENKINS, KATHARINE                     JENKINS, KATHARINE
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JENKINS, KIM                         JENKINS, KRISTEN                      JENKINS, LAURA
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JENKINS, LAUREN                      JENKINS, LINDSEY                      JENKINS, MARIA
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JENKINS, MARNIE                      JENKINS, MARTI                        JENKINS, MASON
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JENKINS, NICOLE                      JENKINS, PAIGE                        JENKINS, RACHEL
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JENKINS, RACHEL                      JENKINS, RACHEL                       JENKINS, RACHEL
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JENKINS, RIAN                        JENKINS, RYAN                         JENKINS, SALIMA
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JENKINS, SAMANTHA                    JENKINS, SARAH AND JOE                JENKINS, SHELBY
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JENKINS, SHERRY                      JENKINS, SHINIKA                      JENKINS, SIERRA
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JENKINS, SY                          JENKINS, SYDNEY                       JENKINS, TAYLOR
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JENKINS, WANDA                       JENKINS, WANNEH                       JENKINS, ZAC
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JENKINS, ZACH                        JENKINS-BOSEMAN, BRENDOLYN            JENKINS-LONG, VICKI
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JENKS, ANNE                          JENKS, BONNIE                         JENKS, COLLEEN
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JENKS, ROBIN                         JENKS, TERRILEE                       JENN BODIN
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JENN GUIRAND                         JENNA BALLARD                         JENNA HOWE
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JENNA JONES                          JENNA KLEINGARTNER                    JENNA SALVATIN
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JENNA SMABY                          JENNAH, JAMAAL                        JENNAI GULEZIAN
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JENNAS, BRIANNA                      JENNER, JANETTA                       JENNESS, MONICA
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JENNETT, JACOB                       JENNEY, EMMA                          JENNI BLACKWELL
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JENNI, MRS            Case 22-11238-LSS     Doc 2 Filed 11/30/22 Page 2387
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JENNIE ARMSTRONG                     JENNIE ROLLENS                        JENNIFER A THORPE
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JENNIFER ALBORANO                    JENNIFER ANGLE                        JENNIFER ANN CHAPLIN
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JENNIFER ANN EVANS                   JENNIFER ARDEL THOMPSON               JENNIFER AUGUSTINE
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JENNIFER BLACKBURN                   JENNIFER CARGIENE                     JENNIFER CLAYTON
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JENNIFER DABIRSIAGHI                 JENNIFER DEVOE                        JENNIFER DISOTELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8136 GARDEN GROVE AVE
                                                                           RESEDA, CA 91335




JENNIFER DODDS                       JENNIFER DOKES, JENNIFER              JENNIFER ELIAS
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JENNIFER FOSTER                      JENNIFER GAUTHIER                     JENNIFER GAYLE LUKOWITZ
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JENNIFER GILTNANE                    JENNIFER GOLDBERG                     JENNIFER GRINER
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JENNIFER GUNDERSON                   JENNIFER HAYNES                       JENNIFER HAYS
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JENNIFER HELBLE       Case 22-11238-LSS     Doc
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JENNIFER HURST                       JENNIFER JEFFREY                       JENNIFER KUBIS
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JENNIFER LAGROW                      JENNIFER LEHRER                        JENNIFER LIEBENGOOD
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JENNIFER LOPEZ                       JENNIFER LOU                           JENNIFER M KACHMARIK
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JENNIFER MACFARLANE                  JENNIFER MARSHALL                      JENNIFER MCKENNA, ANN BARRY
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JENNIFER MERLO                       JENNIFER MILLER                        JENNIFER NATION
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JENNIFER NEACOSIA                    JENNIFER NICHOLS                       JENNIFER OSOTEO
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JENNIFER OUYANG                      JENNIFER P FORD                        JENNIFER POLLARD
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JENNIFER QUIJANCE                    JENNIFER REPANSHEK                     JENNIFER RICHTER
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JENNIFER RINN                        JENNIFER ROGERS                        JENNIFER ROWLAND, ROWLAND
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JENNIFER SCHOEPFLIN                  JENNIFER SHEPARD                      JENNIFER SOBIECH
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JENNIFER SOLLEY                      JENNIFER STUMM                        JENNIFER TIGHE
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JENNIFER TIPTON                      JENNIFER TOWNE                        JENNIFER VECCHIARELLI
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JENNIFER VELASQUEZ                   JENNIFER VICINIE                      JENNIFER WALSER
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JENNIFER WALTON                      JENNIFER WARE                         JENNIFER WILEY
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JENNIFER YEN LEE                     JENNIFER                              JENNIFER, ANDERSON
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JENNIFER, HOFFMEIER,                 JENNINGS, ABBY                        JENNINGS, AMY
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JENNINGS, ARIELLE                    JENNINGS, BARBARA                     JENNINGS, CASEY
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JENNINGS, CHASE                      JENNINGS, CHERYL                      JENNINGS, CLIFF
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JENNINGS, HEATHER                    JENNINGS, IAN                          JENNINGS, IVEY
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JENNINGS, JACK & TAMMY               JENNINGS, JENNA                        JENNINGS, JO
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JENNINGS, KARLI                      JENNINGS, LAURA                        JENNINGS, LAURA
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JENNINGS, LINDSAY                    JENNINGS, LIZZY                        JENNINGS, LORI
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JENNINGS, MAGGIE                     JENNINGS, MARY BETH                    JENNINGS, MAUREEN
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JENNINGS, MAX                        JENNINGS, MEGAN                        JENNINGS, MORGAN
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JENNINGS, NANCY                      JENNINGS, NICHOLAS                     JENNINGS, RAYMOND
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JENNINGS, REBECCA                    JENNINGS, REBECCA                      JENNINGS, RUFUS
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JENNINGS, SARAH                      JENNINGS, SARAH                        JENNINGS, SHARRON
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JENNINGS, TIMOTHY                    JENNINGS, ZACH                         JENNY CUASAPAZ
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JENNY MELILLO                        JENNY MELILLO                          JENNY SKELTON
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JENOVESE, KAREN                      JENRICH, CHRISTOPHER                   JENS, NORA
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JENSCHKE, ASHLEY                     JENSEN CUMMINGS                        JENSEN, AIMEE
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JENSEN, AMANDA                       JENSEN, AMY                            JENSEN, BECCA
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JENSEN, BECCA                        JENSEN, BETH                           JENSEN, BETHANY
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JENSEN, BLAKE                        JENSEN, BREANNA                        JENSEN, BRENDA
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JENSEN, BRIAN                        JENSEN, BRIAN                          JENSEN, CARL
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JENSEN, CARLY                        JENSEN, CASSIANA                       JENSEN, CHERYL
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JENSEN, DEB                          JENSEN, DOUGLAS                       JENSEN, ELIZABETH
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JENSEN, ELYSE                        JENSEN, GINA                          JENSEN, GRETCHEN
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JENSEN, HALEY                        JENSEN, HANNAH                        JENSEN, JAMES
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JENSEN, JEANNE                       JENSEN, JODI                          JENSEN, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JENSEN, JORDAN                       JENSEN, JOSEPH                        JENSEN, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JENSEN, JULIE                        JENSEN, KAIT                          JENSEN, KAREN
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JENSEN, KATIE                        JENSEN, KAYLA                         JENSEN, KRISTOPHER
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JENSEN, KURT                         JENSEN, KYLE                          JENSEN, LISA
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JENSEN, MADISYN                      JENSEN, MARK                          JENSEN, MARY CLARE
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JENSEN, MATTHEW       Case 22-11238-LSS
                                     JENSEN,Doc 2 Filed 11/30/22
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                                                                              JENSEN,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




JENSEN, NICOLE                          JENSEN, PATRICIA                      JENSEN, RACHEL
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JENSEN, REVAE                           JENSEN, RITA                          JENSEN, SAGE
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JENSEN, SARA                            JENSEN, SARA                          JENSEN, SARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JENSEN, SARAH                           JENSEN, SCOTT                         JENSEN, SHEILA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JENSEN, STEVEN                          JENSEN, TARA                          JENSEN, WENDY
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JENSENS                                 JENSON, BRYCE                         JENSON, DEBBIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JENSON, KIM                             JENSON, PAUL                          JENTES, LYNN
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JENTLESON, BRETT                        JEOFFREY TOMAS                        JEON, DONGSOO
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JEON, EUNHAE                            JEONG, AILEEN                         JEONG, ANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JEONG, GRACE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JEONG, JAEHOON                   Page 2394
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                                                                                 JESSE
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JEPPESEN, MICHAEL                    JEPPESEN, SHAN                        JEPSEN, CLINT
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JEPSEN, MICK                         JERALD A LOOMIS                       JERAMAZ, MAJA
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JERAMY MORRILL                       JERASA, SAMANTHA                      JERDAL, KAREN
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JEREMIAH ALCAZAR                     JEREMIAS CASTANEDA                    JEREMY ANDERSON
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JEREMY BULS                          JEREMY JONES                          JEREMY KELLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JEREMY KRUG                          JEREMY LEFEBER                        JEREMY M DEMPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JEREMY PARK                          JEREMY PLEYDELL-BOUVERIE              JEREMY WIEST
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JEREZ, JAZMEL                        JEREZ, NATALIE                        JERGENSON, TIMOTHY
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JERGER, ROBERT                       JERGINS, COURTNEY                     JERI ANN BROWN
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JERI STEPMAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JERKE, DOLORES                   Page 2395 of 5495
                                                                           JERKOVICH, BRITTANY
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JERMAIN, CAROL                       JERMAINE HAZEL                         JERMAINE LEWIS
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JERNACK, ALISHA                      JERNIGAN, BEVERLY                      JERNIGAN, BRIA
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JERNIGAN, CHASE                      JERNIGAN, DALTON                       JERNIGAN, HILARY
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JERNIGAN, JENNIFER                   JERNIGAN, JOANNA                       JERNIGAN, LACY
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JERNIGAN, LAUREN                     JERNIGAN, LINDSAY                      JERNSTEDT, KAITLIN
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JEROME A CAMP REVOCABLE TRUST        JEROME CAMP REVOCABLE TRUST            JEROME GATES DATED 2/10/2006
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JEROME J GRIESMER                    JEROME SCHMIDT                         JEROME, ALLYSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JEROME, CAROLINE                     JEROME, DIANE                          JEROME, ERIKA
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JEROME, JANELLE                      JEROME, JEFFREY                        JEROME, JOSEPH
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JEROME, KALYN         Case 22-11238-LSS
                                     JEROME,Doc  2 Filed 11/30/22
                                             KATHLEEN                 Page 2396 ofMAUDE
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JEROME, RICARDO                      JEROME, TERESA                        JERRALDS, MIRANDA
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JERRO, WILLIAM                       JERROLD J COLE                        JERRRELLS, DEBORAH
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JERRY A HOLLO                        JERRY CULLITON                        JERRY D KIZER JR
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JERRY H SHELTON                      JERRY J RAVA                          JERRY J RICE JR
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JERRY LEON KNIE                      JERRY LI SHENG CHAO                   JERRY MILLER
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JERRY MONSALUD                       JERRY NAGAISHI                        JERRY PAUL WEATHERS
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JERRY WAYNE WAUTERS                  JERRY YVENS VALCOURT                  JERSEY MIKES SUBS
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JERUZAL, STUART                      JERVA, GRETCHEN                       JERVIS, JULIANA
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JERZ, VICTORIA                       JESCHKE, BRETT                        JESCHKE, ERIC
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JESICA MESSER         Case 22-11238-LSS    DocJENNIFER
                                     JESPERSEN, 2 Filed 11/30/22      Page 2397  of 5495LILEY-WHITE
                                                                           JESS BENJAMIN
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JESS MILANO                          JESSALYN SADLER CORREA                 JESSANI, LETICIA
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JESSAR, PHILIP                       JESSE MIRELES                          JESSE ABBOTT CHIN
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JESSE BULGER                         JESSE CRIDER                           JESSE DEVLIN WILES
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JESSE E PHILLIPS                     JESSE FURMAN                           JESSE KNEPPER
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JESSE LIEBL                          JESSE, ERIC                            JESSEE FISH
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JESSEE, DANIEL                       JESSEE, JEFF/LENDA                     JESSEE, NICK
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JESSEN, AUBREY                       JESSEN, MARLEE                         JESSEN, RONALD
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JESSICA ASARO                        JESSICA CEJA-NOLASCO                   JESSICA CRABTREE
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JESSICA FINLEY                       JESSICA FLORES                         JESSICA FROWEIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
                       Case 22-11238-LSS
JESSICA FUCHS- SHAFER (ROUGE ROSE)    JESSICADoc 2 Filed 11/30/22
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JESSICA HILAND                        JESSICA HOWARD                        JESSICA JENNINGS
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JESSICA JORDAN                        JESSICA JUERGENS                      JESSICA K TRITES ROLLE
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JESSICA KLODNICKI                     JESSICA LABRUZZO                      JESSICA LEE GARCIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JESSICA MAHONEY                       JESSICA MAPOSA                        JESSICA MEDGHALCHI
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JESSICA MOREIRA                       JESSICA NOHMY                         JESSICA OGDEN
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JESSICA OVIEDO                        JESSICA PENA                          JESSICA PINKHAM
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JESSICA PINON-CASTILLO                JESSICA QUINN                         JESSICA ROBERTS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JESSICA ROBINSON                      JESSICA ROOT                          JESSICA SARGENT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JESSICA SIMPSON                       JESSICA UNRUH                         JESSICA UNZAGA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JESSICA WEATHERLY     Case 22-11238-LSS
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JESSICA                                 JESSICA, KRUSZKA,                     JESSICA, KUCYK,
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JESSICA, MS                             JESSICA, OCONNELL,                    JESSICA, VERMILLION,
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JESSIE BAMMER                           JESSIE, DAYSHA                        JESSIE-BIRTLES, KIANA/JACK
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JESSMINA ARCHBOLD                       JESSUP, ALICE                         JESSUP, ALLYSON
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JESSUP, DOUGLAS                         JESSUP, ELIZABETH                     JESSUP-CUMMING, MARIANNE
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JESSY RUSSELL                           JESTER, BRADLEY                       JESTER, PATTY
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JESURUN, MELISSA                        JESUS RODRIGUEZ                       JESUS SAN JUAN TAPIA
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JESUS, MONIQUE                          JESZ, JOHN                            JET FINANCIAL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




JET PARTNERS                            JETBLUE AIRWAYS CORPORATION           JETBLUE AIRWAYS CORPORATION
ADDRESS UNAVAILABLE AT TIME OF FILING   27-01 QUEENS PLAZA NORTH              DALLAS LOCKBOX
                                        LONG ISLAND CITY, NY 11101            P.O. BOX 842124
                                                                              DALLAS, TX 75284-2124
JETBRAINS             Case 22-11238-LSS      Doc ELLIS
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JETHANI, AMANDA                         JETHI, MOHIT                          JETHWANI, GAUTAM
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JETSETTER.COM                           JETT, AARON                           JETT, ALICIA
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JETT, CRYSTAL                           JETT, JACQUELINE                      JETT, LESLIE
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JETTE, ERIN                             JETTE, KATE                           JETTE, TYLER
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JEU, ANGIE                              JEUDI, SHEKINAH                       JEUNESSE MONROE-SPEED
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JEWALIKAR, NEHA                         JEWBY, ANGELA                         JEWEL BARLOW
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JEWEL, AMBER                            JEWELL, BETHANY                       JEWELL, CHERYL
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JEWELL, DANNY                           JEWELL, ERICA                         JEWELL, JACQUELINE
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JEWELL, JESSICA                         JEWELL, JULIE                         JEWELL, KAELIN
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JEWELL, LAUREN        Case 22-11238-LSS
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JEWELL, SHELIA                            JEWETT, JENNIFER                          JEWETT, JESSICA
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JEWETT, JOANNE                            JEWETT, KATHLEEN                          JEWETT, LAURA
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JEWETT, MICHELLE                          JEWETT, NICHOLAS                          JEWISON, PHIL
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JEWITT, KELLY                             JEWSON, KATE                              JEZERSEK, COLLEEN
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JEZIEL NOVA GUTIERREZ                     JEZZEL VIRAY                              JF HILLEBRAND USA INC. (DBA HILLEBRAND)
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            1600 ST GEORGES AVENUE SUITE 301
                                                                                    LEAGUE CITY 77573




JF HILLEBRAND USA INC. (DBA HILLEBRAND)   JF HILLEBRAND USA INC. (DBA HILLEBRAND)   JF HILLEBRAND USA INC. (DBA HILLEBRAND)
1600 ST GEORGES AVENUE SUITE 301          1600 ST GEORGES AVENUE SUITE 301          2147 ROUTE 27, STE 401
LEAGUE CITY, TX 77573                     RAHWAY, NJ 07065                          EDISON, NJ 08817




JF HILLEBRAND USA INC. (DBA HILLEBRAND)   JF HILLEBRAND USA INC. (DBA HILLEBRAND)   JF HILLEBRAND USA INC. (DBA HILLEBRAND)
2147 STATE ROUTE 27 STE 401               JF HILLEBRAND 1600 ST GEORGES AVENUE      P.O. BOX 536411
EDISON, NJ 08817-3395                     SUITE 301                                 PITTSBURGH, PA 15253
                                          ALLISON GREINER, VICE PRESIDENT
                                          RAHWAY, NJ 07065



JH IMPORTS (EMPIRE DISTRIBUTORS INC)      JH IMPORTS (EMPIRE DISTRIBUTORS)          JH IMPORTS (VERAISON BEVERAGE
COLORADO EMPIRE CO DENVER                 COLORADO                                  DISTRIBUTORS) COLORADO
5301 PEORIA STREET, SUITE A               3301 ARAPAHOE AVE 210                     410 RED FOX PO BOX 239
DENVER, CO 80239                          BOULDER, CO 80303                         GYPSUM, CO 81637




JHA, KARINA                               JHABVALA, KERSIE                          JHAWAR, SHERRY
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
JHONSON, JAMES        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     JI, HYEONGJUN                    Page 2402
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JIA DUAN                             JIA, BIAO                              JIAHUI JIANG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JIANG, ANDREW                        JIANG, ANNIE                           JIANG, BENJAMIN
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JIANG, CHUNSHUI                      JIANG, DANIEL                          JIANG, JENNIFER
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JIANG, JIAHUI                        JIANG, LILY                            JIANG, SHULING
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JIANG, VIVIAN                        JIANG, XIAO                            JIANG, YANGYADI
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JIANG, YAO                           JIANG, YIZHOU                          JIANG, YONG
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JIANG, YUE                           JIANG, YUNNAN                          JIANG, ZHENG
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JIANNUZZI, MADISON                   JIAO, CHLOE                            JIAO, KEVIN
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JIAO, ZHIXIAO                        JIGGER, ALEX                           JIHNSON, KIMBERLY
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JIJON, ISABEL         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           JILES, KAHARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JILL BARNES CASEY                    JILL CASH MURPHY                       JILL CHATHAM
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JILL ELLEN R CHRISTOPHER             JILL HALL                              JILL JANSEN
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JILL MARIE MILLER                    JILL MORANO                            JILL, KENZIE
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JILL, LAURA                          JILLA, NITHIN                          JILLARD, ERIC
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JILLENE PREUSSER                     JILLIAN B ADEL                         JILLIAN BAGLEY
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JILLIAN JAKUBA                       JILLIAN MASTON                         JILLIAN RICHARDSON
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JILLIAN, MALLORY                     JILLSON, EMILY                         JIM JONASSEN & ASSOCIATES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         2110 MAIN STREET SUITE 303
                                                                            SANTA MONICA, CA 90405




JIM O'NEILL                          JIMENEZ JR, MARIO                      JIMENEZ JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JIMENEZ, ADRIANA                     JIMENEZ, ADRIANA                       JIMENEZ, ALEJANDRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JIMENEZ, ALEX         Case 22-11238-LSS     Doc
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JIMENEZ, ANIBAL                      JIMENEZ, ANNIKA                       JIMENEZ, ASHLEY
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JIMENEZ, AUTUMN                      JIMENEZ, BAILEY                       JIMENEZ, CELINA
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JIMENEZ, CHERYL                      JIMENEZ, CHRISTINA                    JIMENEZ, CHRISTINE
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JIMENEZ, CYNTHIA                     JIMENEZ, DANIEL                       JIMENEZ, DAVID
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JIMENEZ, ECTOR                       JIMENEZ, ELIZABETH                    JIMENEZ, ERIKA
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JIMENEZ, ESTER                       JIMENEZ, FANNY                        JIMENEZ, GABRIELA
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JIMENEZ, GABRIELLE                   JIMENEZ, GENESIS                      JIMENEZ, GRETEL
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JIMENEZ, HECTOR                      JIMENEZ, HUGO                         JIMENEZ, JENNIFER
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JIMENEZ, JESSICA                     JIMENEZ, JESSICA                      JIMENEZ, JUAN
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JIMENEZ, KEVIN                       JIMENEZ, LAUREN                       JIMENEZ, MARIBEL
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JIMENEZ, MARINA                      JIMENEZ, MELISSA                      JIMENEZ, NELSON
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JIMENEZ, NICOLAS                     JIMENEZ, NORSY                        JIMENEZ, PATRICIA
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JIMENEZ, PAUL                        JIMENEZ, RENYELLE                     JIMENEZ, ROLANDO
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JIMENEZ, SALLY                       JIMENEZ, SAMANTHA                     JIMENEZ, XAVIER
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JIMISON, KRISTIN                     JIMMERSON, JACOB                      JIMMIE TOMLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JIMMY A MCCLURE                      JIMMY PATE                            JIMMY, BILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JIN, ANTHONY                         JIN, GUANTING                         JIN, HOPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JIN, JASON                           JIN, YUE                              JIN, YUHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JING WEN              Case 22-11238-LSS    Doc
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                                                                           JINGYI QIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JINGYUAN SUN                         JINKENS, NISHA                        JINKS, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JINKS, CARMIN                        JINKS, JACKSON                        JIOU, KELLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JIRAU, JANELLE                       JIRAUCH, KATIE                        JIRON, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JIROVEC, JENNY                       JITARU, DAN                           JIULIANTI, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JLT CONSULTING SERVICES LLC          J-MART INVESTMENTS LLC                JMT ELECTRIC
39516 GLENN GLADE                    5707 DEVLIN PL                        532 WALTEN WAY
CHAPEL HILL, NC 27517                MIDLAND, TX 79707                     WINDSOR, CA 95492




JO ANNE REGALADO                     JO, ARIANA                            JO, BILLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JO, BOBBI                            JO, BUFFY                             JO, HYUNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JO, KYUNGJIN                         JO, MARY                              JO, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JO, MERRIE                           JOACHIM, ANNA                         JOACHIM, HILARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOACHIM, JORDAN       Case 22-11238-LSS    Doc
                                     JOACHIM,    2 Filed 11/30/22
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                                                                           JOAH SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOAH SUNGKOO CHUN                    JOAN CARDONA                          JOAN DALY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOAN EIDENT                          JOAN GOOTEE                           JOAN KENNEDY ERICKSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOAN N CHANDLER                      JOAN PACIFICO                         JO-ANN CHELINI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOANNA BURISH                        JOANNA COHEN                          JOANNA GODDARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOANNA MARY GRIGAS                   JOANNA PAPALIOS                       JOANNA ROSHONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOANNA SAMMARTINO BAILEY             JOANNA SMITH                          JOANNA TUCKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOANNE DAVIS                         JOANNE GUIDICE                        JOANNE PIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOANNE S PAULL                       JOANNE SULLIVAN                       JOANNE, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOANS ON THIRD (3RD STREET)          JOANS ON THIRD (STUDIO CITY)          JOAO, MONICA
8350 W 3RD ST                        12059 VENTURA PL                      ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90048                STUDIO CITY, CA 91604
                      Case
JOAQUIN ENDARA CEVALLOS, JOSE22-11238-LSS
                                       JOAQUINDoc
                                               FIOL 2  Filed 11/30/22    Page 2408   of 5495
                                                                              JOB, LYNN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOBANEK-SUITER, JODY                  JOBBLE, INC.                            JOBE, BRANDON
ADDRESS AVAILABLE UPON REQUEST        1 LINCOLN ST., FLOOR 24                 ADDRESS AVAILABLE UPON REQUEST
                                      BOSTON, MA 02111




JOBE, GIBRIL                          JOBE, JESSICA                           JOBE, KEVIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




JOBE, MELINDA                         JOBES, CARLEY                           JOBES, JENNIFER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




JOBES, RANDI                          JOBIN, CORRY                            JOBIN, JIMI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




JOBMAN, ANNETTE                       JOBSCORE                                JOBSON, LAUREN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




JOBST, DAVID                          JOBTHREAD                               JOCELYN LAM
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




JOCELYN ROY                           JOCHEMS, DAVID                          JOCHIMSEN, KAITLIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




JOCHUM, ELIZABETH                     JOCHUMS, VICKI                          JOCI FORKNER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




JOCSON, RHODORA                       JOCZ, WILLLIAM                          JODAITIS, FRANK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
JODARSKI, JESSICA     Case 22-11238-LSS
                                     JODELE,Doc
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                                                                           JODI ASHBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JODI CURTIS                          JODI JOHNSTON                         JODI LOWRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JODI MILKOVICH                       JODI, THORNTON,                       JODIE EGLI-SMITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JODIE HARLAN                         JODIE HOFFMAN                         JODIE MURRAY ROSSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JODTS, DANIELLE                      JODY CULLERS                          JODY DORAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOE DURAN                            JOE E BRISTOL                         JOE FRANKLIN ODELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOE HOY                              JOE KINDT                             JOE LEWIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOE ROZUM                            JOEL BAPTISTA                         JOEL CRAIG MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOEL D HECHT ASP                     JOEL DAVID COHEN RETIREMENT ACCOUNT   JOEL HOLLAND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOEL SPAIZMAN, ALAN                  JOEL WEIDNER                          JOEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOEL, MICHAEL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JOEL, STEVEN                     Page 2410  of 5495
                                                                           JOELSSON, BRIDGETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOENSEN, TREVOR                      JOERN, JARED                           JOES LIST LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1833 11TH ST, UNIT 5
                                                                            SANTA MONICA, CA 90404




JOEST, KAITLIN                       JOEY PARKER                            JOFFE, ELISABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOFFE, MADELINE                      JOH, JENNIFER                          JOHANN, BREANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHANNA FRANCESCA SILVERIO           JOHANNA HAZELLIEF                      JOHANNA MARIA BOWLING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHANNE, LISA                        JOHANNES ESCUDERO                      JOHANNES FIHLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHANNES, ERIN                       JOHANNESEN, SAMANTHA                   JOHANNESSEN, ERIK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHANNINGMEIER, THOMAS               JOHANNSEN, ALEXANDER                   JOHANSEN, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHANSEN, KAYCEE                     JOHANSEN, KRISTINA                     JOHANSEN, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHANSON, ALYSSA                     JOHANSON, CATHERINE                    JOHANSON, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JOHANSON, KATE        Case 22-11238-LSS    DocRITA
                                     JOHANSON,  2 Filed 11/30/22      Page 2411 of 5495
                                                                           JOHANSON, SHAYLN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHANSON, TERRIE                     JOHANSSON, JENNA                      JOHASHEN, JIHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN A HUBOKY                        JOHN A SOLINI                         JOHN ALVAREZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN ANDRADE                         JOHN ANTHONY TADDIE                   JOHN B PANNONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN B RESPONDEK                     JOHN BASKEY                           JOHN BERNARD KIRKPATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN BLAKE HAMM                      JOHN BRENDING                         JOHN BROOKS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN BRYAN SMITH                     JOHN BURDICK                          JOHN BUTTERFIELD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN C COX                           JOHN C HOOK                           JOHN CAMPBELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN CARL ABINES                     JOHN CARRANO                          JOHN CHACKO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN CHRISTOPHER HENDERSON           JOHN CHRISTOPHER TOMPKINS             JOHN CHUMNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOHN CLARK            Case 22-11238-LSS     Doc 2 PEMBERTON
                                     JOHN CLIFFORD   Filed 11/30/22
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                                                                           JOHN COLLINS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN CRAIG TREADAWAY AND             JOHN CRAIG TREADAWAY                  JOHN DANIEL DAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN DAVID RICKGARN                  JOHN DAVID TARBOX                     JOHN DAVREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN DEBONS JR                       JOHN DIFULVIO                         JOHN DIRICO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN DOUGLAS COLLIER                 JOHN E GUTH                           JOHN EDWARD CHILD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN ESTES                           JOHN F LORENZETTI                     JOHN F MANIEC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN F SIMPSON JR                    JOHN FARRINGTON                       JOHN FERRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN FOTI                            JOHN FRANKLIN HATCHETTJR              JOHN FUSSELMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN GARDNER                         JOHN GENOVESE                         JOHN GERBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN GOBIN SMALES TRUST              JOHN GOSTEL                           JOHN GREY JONES JR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOHN GUDGEON          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JOHN H AIKEN                        Page 2413
                                                                              JOHN Hof 5495
                                                                                    AINSWORTH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN H SALZGEBER                     JOHN HANCOCK LIFE INSURANCE CO. (U.S.A)   JOHN HANCOCK LIFE INSURANCE CO. (U.S.A)
ADDRESS AVAILABLE UPON REQUEST       601 CONGRESS STREET                       SILVERADO PARTNERS ADVISORS, LLC
                                     BOSTON, MA 02210-2805                     855 BORDEAUX WAY, SUITE 210
                                                                               NAPA, CA 94558




JOHN HAROLD BASKEY                   JOHN HUTTON                               JOHN I MCKENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN J ANDERSON                      JOHN J HANFORD                            JOHN J JOHNSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN J MALONEY                       JOHN J MEYER                              JOHN J NURKOWSKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN JEFFERSON                       JOHN K WALTERS                            JOHN KARWOSKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN KEEFE                           JOHN KENNETH BIXBY                        JOHN KIMSEY, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN KOJI HIGASHIDANI                JOHN KRUGH                                JOHN KRZYMINSKI, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN KUPFERSCHMID                    JOHN KURT OLSEN                           JOHN L FLOOD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN L MICELI                        JOHN LAMAR                                JOHN LOUIS DENTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
JOHN LUDLAM           Case 22-11238-LSS
                                     JOHN M Doc  2 Filed 11/30/22
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                                                                           JOHN Mof 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN MANIS                           JOHN MANLEY                           JOHN MARK MICHAELS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN MARSHALL PRUTZMAN JR            JOHN MASTRANGELO                      JOHN MATTHEW DIRICO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN MAYER                           JOHN MBURU                            JOHN MCMAHON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN MENZA DUDLEY III                JOHN MICHAEL BEEZLEY                  JOHN MOELLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN MORAWA                          JOHN NOFFSINGER                       JOHN ODOWD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN PAUL BRUNKARD                   JOHN PAUL MORDACH                     JOHN PEETERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN PEIXOTTO                        JOHN POWELL                           JOHN R DAMICO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN R DAMICO                        JOHN RAY                              JOHN REDMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN RICHARD KNIGHT                  JOHN ROBERT AFINOWICZ                 JOHN ROBERT DRIVER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOHN ROBERT GUZMAN    Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     JOHN ROBOSSON                    Page 2415  of 5495
                                                                           JOHN SALES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN SANDOVAL                        JOHN SANDOVAL                         JOHN SEBASTIANO VINEYARDS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        P.O. BOX 357
                                                                           LOS OLIVOS, CA 93441




JOHN SHARPE                          JOHN SHEFFIELD                        JOHN SORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN SPEAKS                          JOHN SPILLANE                         JOHN STEWART
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN STRISOWER ROTH IRA              JOHN SUTAK INSURANCE                  JOHN T DOWD
ADDRESS AVAILABLE UPON REQUEST       PO BOX 975518                         ADDRESS AVAILABLE UPON REQUEST
                                     DALLAS, TX 75397-5518




JOHN T HELLEM                        JOHN T MERRITT III                    JOHN T MORRISSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN THOMAS KING JR                  JOHN TYRRELL                          JOHN URSICH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN VIDRIH                          JOHN VIEIRA                           JOHN VINCENT REID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN W CARR                          JOHN W HARPER                         JOHN W WEISER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOHN W ZUVIC                         JOHN WELDON                           JOHN WESLEY GODDARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOHN WILLIAM BARNARD Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                    JOHN WINN                            Page 2416  of 5495
                                                                              JOHN WRIGHT WILLIAMSON
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




JOHN ZWALD                           JOHN, DAPHNE                              JOHN, DYLON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN, ERIC                           JOHN, HALEY                               JOHN, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN, LISETTE                        JOHN, NANCY                               JOHN, PAULETTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHN, REBECCA                        JOHN, STEFAN                              JOHN, SUJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHNAKIN, NICOLE                     JOHNATHAN CAHILL                          JOHNATHAN HUDSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHNATHAN RUNDLES                    JOHNELLE PARLAGRECO                       JOHNER, NAOMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHNK, MITCH                         JOHNK, TRACY                              JOHNNIDIS, KRYSTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JOHNNIE REX CAIRNS                   JOHNNY AIR CARGO LA                       JOHNNY FOLEYS IRISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS UNAVAILABLE AT TIME OF FILING




JOHNNY FRANKLIN EVANS                JOHNNY GREENSEEDS (BROKER). DIST:         JOHNNY MILAM JR
ADDRESS AVAILABLE UPON REQUEST       PINNACLE IMPORTS - ALABAMA                ADDRESS AVAILABLE UPON REQUEST
                                     3075 MORGAN ROAD
                                     BESSEMER, AL 35022
JOHNNY WALKER         Case 22-11238-LSS
                                     JOHNNY,Doc  2 Filed 11/30/22
                                             DAVIS                    Page 2417 of 5495
                                                                           JOHNNYGREENSEEDS WINES, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         612 22ND ST. SUITE 109B
                                                                            BIRMINGHAM, AL 35233




JOHNOFF, TANA                        JOHNOSN, ERIC                          JOHNS, ALEXYS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNS, CARLING                       JOHNS, CHRISTOPHER                     JOHNS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNS, DOUGLAS                       JOHNS, GLORIA                          JOHNS, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNS, HANNAH                        JOHNS, JESSICA                         JOHNS, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNS, K                             JOHNS, KATHRYN                         JOHNS, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNS, LISA                          JOHNS, LISA                            JOHNS, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNS, MARY HELEN                    JOHNS, NICHOLE                         JOHNS, RHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNS, ROB                           JOHNS, SARAH                           JOHNSEN, KATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNSEN, RITA                        JOHNSON BROTHERS - MINNESOTA           JOHNSON BROTHERS LIQUOR COMPANY
ADDRESS AVAILABLE UPON REQUEST       1999 SHEPARD ROAD                      (JBLC DBA WINE MERCHANTS)
                                     ST.PAUL, MN 55116                      1999 SHEPARD RD
                                                                            SAINT PAUL, MN 55116
                      Case
JOHNSON BROTHERS LIQUOR      22-11238-LSS
                          COMPANY      JOHNSONDoc   2 Filed
                                                BROTHERS     11/30/22
                                                         OF HAWAII         Page 2418 of BROTHERS
                                                                                JOHNSON 5495     OF HAWAII
(JBLC DBA WINE MERCHANTS)              1011 MUNU STREET                          31 S WAKEA AVENUE
1999 SHEPARD ROAD                      KAPOLEI, HI 96707                         KAHULUI, HI 96732
SAINT PAUL, MN 55116




JOHNSON BROTHERS OF INDIANA           JOHNSON BROTHERS OF INDIANA                JOHNSON BROTHERS OF IOWA, INC
5337 W 78TH ST                        5337 WEST 78TH STREET, BUILDING 70         600 MERLE HAY ROAD
INDIANAPOLIS, IN 46268                INDIANAPOLIS, IN 46268                     JOHNSTON, IA 50131




JOHNSON BROTHERS OF IOWA, INC         JOHNSON BROTHERS OF IOWA, INC              JOHNSON BROTHERS OF ND
6600 MERLE HAY RD                     6600 MERLE HAY ROAD                        1358 39TH ST. N
JOHNSTON, IA 50131                    JOHNSTON, IA 50131                         FARGO, ND 58102




JOHNSON BROTHERS OF ND                JOHNSON BROTHERS OF NEBRASKA               JOHNSON BROTHERS OF NEBRASKA
1358 39TH ST. N.                      9320 J STREET                              9320J STREET
FARGO, ND 58102                       OMAHA, NE 68127                            OMAHA, NE 68127




JOHNSON BROTHERS OF NEBRASKA, LLC     JOHNSON BROTHERS OF NEVADA                 JOHNSON BROTHERS OF NEVADA
9320 J ST                             4701 MITCHELL ST. N                        4701 MITCHELL ST.
OMAHA, NE 68127                       LAS VEGAS, NV 89081                        NORTH LAS VEGAS, NV 89081




JOHNSON BROTHERS OF NORTH CAROLINA    JOHNSON BROTHERS OF NORTH CAROLINA         JOHNSON BROTHERS OF NORTH DAKOTA
2233 CAPITAL BLVD                     2233 CAPITAL BOULEVARD                     1358 39TH ST N
P.O. BOX 26446                        RALEIGH, NC 27604                          FARGO, ND 58102
RALEIGH, NC 27611




JOHNSON BROTHERS OF SOUTH DAKOTA      JOHNSON BROTHERS OF WISCONSIN              JOHNSON BROTHERS OF WISCONSIN
300 EAST 50TH STREET N                301 E VIENNA AVE                           301 E VIENNA AVENUE
SIOUX FALLS, SD 57104                 MILWAUKEE, WI 53212                        MILWAUKEE, WI 53212




JOHNSON JR, LEE                       JOHNSON ORATOKHAI, MISTY                   JOHNSON, AARON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




JOHNSON, AARON                        JOHNSON, AARON                             JOHNSON, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




JOHNSON, ADDIE                        JOHNSON, AKINDA                            JOHNSON, ALBERT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
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                                     JOHNSON,    2 Filed 11/30/22
                                              ALEK                    Page 2419 of 5495
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JOHNSON, ALEX                        JOHNSON, ALEXANDER                    JOHNSON, ALEXANDRA
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JOHNSON, ALEXIS                      JOHNSON, ALISON                       JOHNSON, ALLISON
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                                               ANNA                    Page 2420 of 5495
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                                     JOHNSON,   2 Filed 11/30/22
                                              BROOKE                  Page 2422 of 5495
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                                     JOHNSON,   2 Filed 11/30/22
                                              CHARLIE                 Page 2423 of 5495
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                                     JOHNSON,   2 Filed 11/30/22
                                              COLIN                   Page 2424 of 5495
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JOHNSON, CORTNEY                     JOHNSON, COURTNEE                     JOHNSON, COURTNEY
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                                     JOHNSON,   2 Filed 11/30/22
                                              DAVIN                     Page 2425 of 5495
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JOHNSON, DON                         JOHNSON, DONNA                          JOHNSON, DONNA
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JOHNSON, DORIAN                      JOHNSON, DR ERIC & SHANIA/ KATIE        JOHNSON, DRESDYN
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                                     JOHNSON,    2 Filed 11/30/22
                                              ELAINE                  Page 2426 of 5495
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                                     JOHNSON,    2 Filed 11/30/22
                                              ERIC                    Page 2427 of 5495
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JOHNSON, GLENN & DEBORAH             JOHNSON, GLENN                        JOHNSON, GLORIA
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JOHNSON, HEATHER                     JOHNSON, HEATHER                      JOHNSON, HEATHER
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                                     JOHNSON,   2 Filed 11/30/22
                                              HEATHER                 Page 2428 of 5495
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                                     JOHNSON,    2 Filed 11/30/22
                                              JANE                    Page 2429 of 5495
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                                     JOHNSON,    2 Filed 11/30/22
                                              JENNIFER                Page 2430 of 5495
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                                     JOHNSON,    2 Filed 11/30/22
                                              JONELL                  Page 2431 of 5495
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                                     JOHNSON,    2 Filed 11/30/22
                                              KATHRYN                 Page 2432 of 5495
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JOHNSON, KAVYA                       JOHNSON, KAY                          JOHNSON, KAYLA
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JOHNSON, KAYLA                       JOHNSON, KAYLA                        JOHNSON, KAYLIE
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JOHNSON, KEITH                       JOHNSON, KELLI                        JOHNSON, KELLY
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JOHNSON, KELLY                       JOHNSON, KELLY                        JOHNSON, KELLY
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JOHNSON, KELLY                       JOHNSON, KELLYANNE                    JOHNSON, KELSEY
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JOHNSON, KELSEY                      JOHNSON, KELSEY                       JOHNSON, KELSEY
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JOHNSON, KELSEY       Case 22-11238-LSS    Doc
                                     JOHNSON,    2 Filed 11/30/22
                                              KELSEY                  Page 2433 of 5495
                                                                           JOHNSON, KERRI
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JOHNSON, KEVIN                       JOHNSON, KEVIN                        JOHNSON, KIKI
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JOHNSON, KIM                         JOHNSON, KIMBERLEY                    JOHNSON, KIMBERLY
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JOHNSON, KODY                        JOHNSON, KORTNI                       JOHNSON, KRISTA
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JOHNSON, KRISTEN                     JOHNSON, KRISTEN                      JOHNSON, KRISTEN
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JOHNSON, KRISTI                      JOHNSON, KRISTIN                      JOHNSON, KRISTIN
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JOHNSON, KRISTIN                     JOHNSON, KRISTIN                      JOHNSON, KRISTINA
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JOHNSON, KRYS                        JOHNSON, KRYSTA                       JOHNSON, KRYSTINA
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JOHNSON, KURT                        JOHNSON, KYLE                         JOHNSON, LANDIN
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JOHNSON, LASHAUN                     JOHNSON, LATASHA                      JOHNSON, LAURA
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JOHNSON, LAURA        Case 22-11238-LSS    Doc
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                                              LAURA                   Page 2434 of 5495
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JOHNSON, LAURA                       JOHNSON, LAURA                        JOHNSON, LAUREN
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JOHNSON, LAVONNE                     JOHNSON, LAWRENCE                     JOHNSON, LAWRENCE
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JOHNSON, LAWRENCE                    JOHNSON, LEAH                         JOHNSON, LEAHA
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JOHNSON, LILA                        JOHNSON, LINDA                        JOHNSON, LINDSAY
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JOHNSON, LINDSAY                     JOHNSON, LINDSEY                      JOHNSON, LISA
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JOHNSON, LISA                        JOHNSON, LISA                         JOHNSON, LISA
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JOHNSON, LISBETH      Case 22-11238-LSS    Doc
                                     JOHNSON,   2 Filed 11/30/22
                                              LOUISE                  Page 2435 of 5495
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JOHNSON, LYNDA                       JOHNSON, LYNDSEY                       JOHNSON, LYNETTE
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JOHNSON, LYNNETTA                    JOHNSON, LYNSEY                        JOHNSON, LYNSEY
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JOHNSON, MACKENZIE                   JOHNSON, MADELEINE                     JOHNSON, MADELINE
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JOHNSON, MADELINE                    JOHNSON, MAGGIE                        JOHNSON, MAGGIE
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JOHNSON, MAKENZIE                    JOHNSON, MALLORY                       JOHNSON, MANDI
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JOHNSON, MARGARET                    JOHNSON, MARGARET                      JOHNSON, MARGO
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JOHNSON, MARIA                       JOHNSON, MARISSA                       JOHNSON, MARK
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JOHNSON, MARK                        JOHNSON, MARK                          JOHNSON, MARLEE
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JOHNSON, MARLINE                     JOHNSON, MARLON                        JOHNSON, MARTHA
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JOHNSON, MARVIN       Case 22-11238-LSS    Doc
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                                                                           JOHNSON, MARY
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JOHNSON, MARY                        JOHNSON, MARY                         JOHNSON, MARY
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JOHNSON, MARY                        JOHNSON, MARY                         JOHNSON, MARYGRACE
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JOHNSON, MATT                        JOHNSON, MATTHEW                      JOHNSON, MCKENNA
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JOHNSON, MCKENZIE                    JOHNSON, MCKENZY                      JOHNSON, MECHELLE
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JOHNSON, MEG                         JOHNSON, MEGAN                        JOHNSON, MEGAN
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JOHNSON, MEGAN                       JOHNSON, MEGAN                        JOHNSON, MELANIE
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JOHNSON, MELEAH                      JOHNSON, MELISSA                      JOHNSON, MELISSA
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JOHNSON, MERCEDES                    JOHNSON, MEREDITH                     JOHNSON, MIA
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JOHNSON, MICHAEL                     JOHNSON, MICHAEL                      JOHNSON, MICHAEL
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                                     JOHNSON,    2 Filed 11/30/22
                                              MICHELE                 Page 2437 of 5495
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JOHNSON, MILTON                      JOHNSON, MINDY                         JOHNSON, MIRANDA
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JOHNSON, MISSY                       JOHNSON, MITCHELL                      JOHNSON, MOLLY
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JOHNSON, MOLLY                       JOHNSON, MONICA                        JOHNSON, MORGAN
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JOHNSON, MORGAN                      JOHNSON, MORGAN                        JOHNSON, NANCY
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JOHNSON, NANETTE                     JOHNSON, NAOMI                         JOHNSON, NARANA
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JOHNSON, NASIYIA                     JOHNSON, NATALIE                       JOHNSON, NATALIE
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JOHNSON, NATHAN                      JOHNSON, NIA                           JOHNSON, NICK
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JOHNSON, NICKY                       JOHNSON, NICOLE                        JOHNSON, NICOLE
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JOHNSON, NICOLE       Case 22-11238-LSS    Doc
                                     JOHNSON,    2 Filed 11/30/22
                                              NICOLE                  Page 2438 of 5495
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JOHNSON, NICOLE                      JOHNSON, NORMA                         JOHNSON, ODESSA
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JOHNSON, OLIVIA                      JOHNSON, OLIVIA                        JOHNSON, OLIVIA
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JOHNSON, ORLANDO                     JOHNSON, ORVILLE                       JOHNSON, PAIGE & JAKE
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JOHNSON, PAIGE                       JOHNSON, PAIGE                         JOHNSON, PATRICE
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JOHNSON, PATRICIA                    JOHNSON, PATRICIA                      JOHNSON, PATRICIA
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JOHNSON, PATRICK                     JOHNSON, PATTI                         JOHNSON, PAYT
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JOHNSON, PETER                       JOHNSON, PHILIP                        JOHNSON, QEIARRA
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JOHNSON, RACHEL                      JOHNSON, RACHEL                        JOHNSON, RACHEL
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JOHNSON, RACHEL                      JOHNSON, RACHEL                        JOHNSON, RACHEL
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JOHNSON, RACHEL       Case 22-11238-LSS    Doc
                                     JOHNSON,   2 Filed 11/30/22
                                              RANDY                   Page 2439 of 5495
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JOHNSON, RAYMOND                     JOHNSON, RAYMOND                       JOHNSON, REBECCA
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JOHNSON, REBEKAH                     JOHNSON, RENEE                         JOHNSON, RHONDA
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JOHNSON, RICKY                       JOHNSON, RIKKI                         JOHNSON, RITA
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JOHNSON, ROBERT                      JOHNSON, ROBIN                         JOHNSON, RONELL
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JOHNSON, RONIT                       JOHNSON, ROSEMARIE                     JOHNSON, ROYLEI
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JOHNSON, RUSSELL                     JOHNSON, RUSSELL                       JOHNSON, RYAN
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JOHNSON, SABRINA                     JOHNSON, SADIE                         JOHNSON, SAIDEE
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JOHNSON, SALLI                       JOHNSON, SALLY                         JOHNSON, SAM
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JOHNSON, SAM                         JOHNSON, SAMANTHA                      JOHNSON, SAMANTHA
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JOHNSON, SAMANTHA     Case 22-11238-LSS    Doc
                                     JOHNSON,   2 Filed 11/30/22
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JOHNSON, SARA                        JOHNSON, SARA                          JOHNSON, SARAH
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JOHNSON, SARAH                       JOHNSON, SARAH                         JOHNSON, SARAH
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JOHNSON, SARAH                       JOHNSON, SARAH                         JOHNSON, SARAH
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JOHNSON, SARAH                       JOHNSON, SAUNDRA                       JOHNSON, SAVANNAH
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JOHNSON, SEAN                        JOHNSON, SEAN                          JOHNSON, SEAN
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JOHNSON, SEANTEL                     JOHNSON, SERENA                        JOHNSON, SETH
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JOHNSON, SHAMIKA                     JOHNSON, SHANNA                        JOHNSON, SHAUN
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JOHNSON, SHAVON                      JOHNSON, SHAWN                         JOHNSON, SHAY
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JOHNSON, SHEA                        JOHNSON, SHEILA                        JOHNSON, SHELBY
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JOHNSON, SHERI        Case 22-11238-LSS    Doc
                                     JOHNSON,    2 Filed 11/30/22
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                                                                           JOHNSON, SOMMER
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JOHNSON, STACEY                      JOHNSON, STACEY                       JOHNSON, STACIE
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JOHNSON, STACIE                      JOHNSON, STEFANI                      JOHNSON, STEFANY
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JOHNSON, STEPHANIE                   JOHNSON, STEPHANIE                    JOHNSON, STEPHEN
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JOHNSON, SUSAN                       JOHNSON, SYDNEY                       JOHNSON, SYDNEY
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JOHNSON, SYDNIE                      JOHNSON, SYLEENA                      JOHNSON, SZANDRIQUE
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JOHNSON, TABITHA                     JOHNSON, TANIA                        JOHNSON, TANIKA
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JOHNSON, TARA                        JOHNSON, TARA                         JOHNSON, TARYN
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JOHNSON, TA-TANISHA                  JOHNSON, TAYLOR                       JOHNSON, TAYLOR
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JOHNSON, TAYLOR                      JOHNSON, TEISHA                       JOHNSON, TERESA
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JOHNSON, TERESA       Case 22-11238-LSS    Doc
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                                                                           JOHNSON, THOMAS
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JOHNSON, TIA                         JOHNSON, TIANNA                       JOHNSON, TIFFANY
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JOHNSON, TIFFANY                     JOHNSON, TIFFANY                      JOHNSON, TIFFINI
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JOHNSON, TIMOTHY                     JOHNSON, TOM                          JOHNSON, TOM
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JOHNSON, TONI                        JOHNSON, TONIICA                      JOHNSON, TONYA
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JOHNSON, TONYA                       JOHNSON, TORI                         JOHNSON, TOSHIBA
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JOHNSON, TRAVIS                      JOHNSON, TRAVIS                       JOHNSON, TRAVIS
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JOHNSON, TRICIA                      JOHNSON, TURQUOISE                    JOHNSON, TYKISHA
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JOHNSON, TYLER                       JOHNSON, TYNAN                        JOHNSON, TYRONE
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JOHNSON, VALERIE                     JOHNSON, VASHION                      JOHNSON, VICTORIA
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JOHNSON, VICTORIA     Case 22-11238-LSS    Doc
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                                              VICTORIA                Page 2443 of 5495
                                                                           JOHNSON, VICTORIA
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JOHNSON, VIENGKEO                    JOHNSON, VIRGINIA                      JOHNSON, VONN
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JOHNSON, WADE                        JOHNSON, WALTER                        JOHNSON, WAYNE
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JOHNSON, WENDY                       JOHNSON, WENDY                         JOHNSON, WENDY
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JOHNSON, WES                         JOHNSON, WESLEY                        JOHNSON, WESLEY
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JOHNSON, WILL                        JOHNSON, WILLIAM                       JOHNSON, WILLIAM
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JOHNSON, WILLIAM                     JOHNSON, WILLIAM                       JOHNSON, WILLIAM
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JOHNSON, YASMEEN                     JOHNSON, YVONNE                        JOHNSON, YVONNE
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JOHNSON, ZARIA                       JOHNSON-BANN, GRACE                    JOHNSON-BEY, KHAMOR
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JOHNSON-DAVIS, STEPHANIE             JOHNSON-NIED, CAITLIN                  JOHNSON-REYES, CHERISH
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                                                                           JOHNSTON, ABIGAEL
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JOHNSTON, ADAM                       JOHNSTON, ALENA                        JOHNSTON, ALLAN
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JOHNSTON, AMANDA                     JOHNSTON, AMANDA                       JOHNSTON, AMANDA
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JOHNSTON, AMELIA                     JOHNSTON, ANITA                        JOHNSTON, ANN
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JOHNSTON, ASHLEY                     JOHNSTON, AVA JEAN                     JOHNSTON, CAITLIN
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JOHNSTON, CAMERON                    JOHNSTON, CARAMAI                      JOHNSTON, CHRISTINA
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JOHNSTON, CHRISTOPHER                JOHNSTON, CHRISTOPHER                  JOHNSTON, CONNIE
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JOHNSTON, CYNTHIA                    JOHNSTON, DANIEL                       JOHNSTON, DANIELLE
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JOHNSTON, DAVID                      JOHNSTON, DAWN                         JOHNSTON, DIANA
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JOHNSTON, DYLAN                      JOHNSTON, ELISE                        JOHNSTON, ELIZABETH
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JOHNSTON, ELIZABETH   Case 22-11238-LSS    DocEMILY
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                                                                           JOHNSTON, ERIN
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JOHNSTON, EVELYN                     JOHNSTON, JAMES WYLIE                 JOHNSTON, JENNIFER
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JOHNSTON, JENNIFER                   JOHNSTON, JENNY                       JOHNSTON, JESSICA
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JOHNSTON, JODIE                      JOHNSTON, JOHN                        JOHNSTON, JOY
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JOHNSTON, KAMERON                    JOHNSTON, KATELYN                     JOHNSTON, KATIE
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JOHNSTON, KELLY                      JOHNSTON, KELLY                       JOHNSTON, KENNETH
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JOHNSTON, KEVIN                      JOHNSTON, KIM                         JOHNSTON, KYLE
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JOHNSTON, KYLEE                      JOHNSTON, LANDIN                      JOHNSTON, LEIGH
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JOHNSTON, LESLIE                     JOHNSTON, LINDSAY                     JOHNSTON, LYNSEY
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JOHNSTON, MAEGAN                     JOHNSTON, MARIE                       JOHNSTON, MARTINA
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JOHNSTON, MATT        Case 22-11238-LSS    DocMAURA
                                     JOHNSTON,  2 Filed 11/30/22      Page 2446 of 5495
                                                                           JOHNSTON, MELANIE
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JOHNSTON, MELISSA                    JOHNSTON, MIKAYLA                      JOHNSTON, NADINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNSTON, NORMA                      JOHNSTON, RACHEL                       JOHNSTON, RALEIGH
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JOHNSTON, ROBERT                     JOHNSTON, SAMANTHA                     JOHNSTON, SARAH
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JOHNSTON, SHANNON                    JOHNSTON, STEVE                        JOHNSTON, STUART
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JOHNSTON, SUSAN                      JOHNSTON, TANA                         JOHNSTON, THOMAS M.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNSTON, VERONICA                   JOHNSTON, YVETTE                       JOHNSTONE, JEANINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOHNTONY, MEGAN                      JOIE CROCIATA, JOIE                    JOIN ME IN MIAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         151 SE 1ST ST. APT 2809
                                                                            MIAMI, FL 33131




JOINER, ASHLEY                       JOINER, BROOKS                         JOINER, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JOINER, HAYLI                        JOINER, KASEY                          JOINER, LEEANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JOINER, MOLLY         Case 22-11238-LSS
                                     JOINER, Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOISIL, SAMUEL                       JOKELA, TRISTAN                       JOKIHARJU, HENRI
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JOLA, ELENA                          JOLANA LAPCIK                         JOLEEN POOLE
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JOLIAT, CARLY                        JOLICOEUR, JAMI                       JOLIE LOHMANN
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JOLIE ROBB-RAMIREZ                   JOLINK, TATUM                         JOLLEY, ASHLEY
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JOLLEY, CHRISTINA                    JOLLEY, TONYA                         JOLLIFF, JULIA
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JOLLY, DENISE                        JOLLY, ERIN                           JOLLY, JESSICA
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JOLLY, KAREN                         JOLLY, LAUREN                         JOLLY, SONDRA
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JOLLY, TAYLOR                        JOLLY, WILLIAM JOSPEH                 JOLLY, WILLIAM
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JOLY, EMILIE                         JOLY, MARLEE                          JOLY, PAUL
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JOLYNN WILLOUGHBY     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JOMAA, SARAH                     Page 2448  of 5495
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JON DESHA                            JON JAQUA                             JON MOSES
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JON WILLIE                           JONAP, LESI                           JONAS NGUYEN
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JONAS, AMANDA                        JONAS, AMANDA                         JONAS, JEFF
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JONAS, LISA                          JONAS, SARA                           JONAS-MARSLAND, TAMMIE
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JONATHAN ADAM TRENT-CARLSON          JONATHAN ALEXANDER                    JONATHAN BABASO SUQUE
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JONATHAN BARRETT GOLD                JONATHAN CHARD                        JONATHAN COHEN
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JONATHAN D DUNN JR                   JONATHAN DELINE                       JONATHAN E EVANS
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JONATHAN ELVIN SCHOONOVER            JONATHAN GARCIA                       JONATHAN GITLIN
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JONATHAN GRAY                        JONATHAN HAIDLE                       JONATHAN HOFFMAN
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JONATHAN IVAN SYMKO   Case 22-11238-LSS    Doc
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                                              J LEE                   Page 2449  of 5495
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JONATHAN KING                        JONATHAN LEICHT                       JONATHAN LESLIE WILLIAMS
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JONATHAN LEYS                        JONATHAN LONDON                       JONATHAN M THOMPSON
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JONATHAN MAHON                       JONATHAN MANGIN                       JONATHAN MANOSH
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JONATHAN MARC-THORNTON RORK          JONATHAN MELENDEZ                     JONATHAN MORETTI
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JONATHAN OSUNA-LLAMAS                JONATHAN PAUL STREETON                JONATHAN ROEHIA WALKER
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JONATHAN ROSALES                     JONATHAN SILVA                        JONATHAN STIDD
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JONATHAN T SHAEFFER                  JONATHAN VAUGHTERS                    JONATHAN WATSON
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JONATHAN WEDDLE                      JONATHAN WROBLE                       JONATHAN YUAN-SHENG YUN
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JONATHAN ZURMUHLEN                   JONATHAN, B                           JONATHON BECKINGER
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JONDEE, CAESAR        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONE, MEREDITH                   Page 2450   of 5495
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JONEJA, URVASHI                      JONES KERR, ANTHONY                   JONES KNOLL, MONIQUE
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JONES STONE, KARLA                   JONES WYSS, CHELSEA                   JONES, ABBY
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JONES, ADAM                          JONES, ADDIE                          JONES, ADELAIDE
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JONES, AKIKO                         JONES, ALEX                           JONES, ALEXA
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JONES, ALEXANDER                     JONES, ALEXIA                         JONES, ALICE
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JONES, ALICE                         JONES, ALICIA                         JONES, ALLISON
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JONES, ALLISON                       JONES, ALLYSON                        JONES, ALYCIA
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JONES, ALYSSA                        JONES, ALYSSA                         JONES, AMANDA
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JONES, AMANDA                        JONES, AMANDA                         JONES, AMANDA
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JONES, AMBER                         JONES, AMY                            JONES, AMY
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JONES, AMY                           JONES, ANDREA                         JONES, ANDREA
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JONES, ANDREA                        JONES, ANDREW                         JONES, ANGE
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JONES, ANGELA                        JONES, ANGELIQUE                      JONES, ANNA
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JONES, ANNE                          JONES, ANNE                           JONES, ANNMARIE
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JONES, ANTONIO                       JONES, APRIL                          JONES, ARIA
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JONES, ARIELLE AND JUAN              JONES, ARLENE                         JONES, ASHIERA
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JONES, ASHLEY                        JONES, ASHLEY                         JONES, ASHLEY
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JONES, ASHLEY                        JONES, AUDREY                         JONES, AZIZA
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JONES, BAILEY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           JONES, of 5495
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JONES, BECKY                         JONES, BEN                            JONES, BENJAMIN
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JONES, BERNICE                       JONES, BETH                           JONES, BETH
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JONES, BETH                          JONES, BILL                           JONES, BILLY
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JONES, BLAKE                         JONES, BO                             JONES, BRANDAN
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JONES, BRANDON                       JONES, BREANNA                        JONES, BREEDEN
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JONES, BRENDA M                      JONES, BRENDA                         JONES, BRENT
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JONES, BRETT                         JONES, BRIAN                          JONES, BRIANA
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JONES, BRIANNA                       JONES, BRIDGET                        JONES, BRIDGET
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JONES, BRIE                          JONES, BRIE                           JONES, BRIENE
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JONES, BRITTA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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JONES, BROOKE                        JONES, CAITLIN                         JONES, CAITLIN
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JONES, CAITLIN                       JONES, CALEB                           JONES, CALVERT
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JONES, CANDIAS                       JONES, CANDICE                         JONES, CANDICE
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JONES, CARA                          JONES, CARA                            JONES, CAREY
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JONES, CAREY                         JONES, CARLENE                         JONES, CARLOS
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JONES, CAROLINE                      JONES, CARRIE                          JONES, CARRIE
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JONES, CARRIE                        JONES, CASEY                           JONES, CASSANDRA
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JONES, CASSONDRA                     JONES, CATHERINE                       JONES, CATHY
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JONES, CHANTELLE                     JONES, CHANTREE                        JONES, CHARLES
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JONES, CHELSEA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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JONES, CHRIS                         JONES, CHRISTIAN                      JONES, CHRISTIE
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JONES, CHRISTIE                      JONES, CHRISTINA                      JONES, CHRISTINE
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JONES, CHRISTINE                     JONES, CHRISTINE                      JONES, CHYNA
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JONES, CICELY                        JONES, CINDY AND DAVE                 JONES, CINDY
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JONES, CINDY                         JONES, CINDY                          JONES, CINDY
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JONES, CLYDE                         JONES, COLBY                          JONES, COLLEEN
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JONES, CONNIE                        JONES, CONSTANCE                      JONES, COURTENAY
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JONES, CRAIG                         JONES, CRYSTAL                        JONES, CRYSTAL
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JONES, CRYSTAL                       JONES, CYNTHIA                        JONES, DAISY
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JONES, DALE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONES, DANA                      Page 2455
                                                                           JONES, of 5495
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JONES, DARA                          JONES, DARBY                          JONES, DARBY
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JONES, DARRELL                       JONES, DARREN                         JONES, DARYL
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JONES, DAVID                         JONES, DAVID                          JONES, DAVID
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JONES, DEANNA                        JONES, DEBORAH                        JONES, DEBORAH
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JONES, DEBORAH                       JONES, DELANEY                        JONES, DEMIRRA
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JONES, DENISE                        JONES, DEVAN                          JONES, DEYONNE
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JONES, DIANA                         JONES, DIANE                          JONES, DIANE
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JONES, DIANNE                        JONES, DINA                           JONES, DOLLY
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JONES, DONALD                        JONES, DONNA                          JONES, DORIS
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JONES, DOROTHY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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JONES, EBONYE                        JONES, EDWARD                         JONES, ELENA
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JONES, ELICIA                        JONES, ELIZABETH                      JONES, ELIZABETH
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JONES, ELIZABETH                     JONES, ELLIOTT                        JONES, EMILY
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JONES, EMILY                         JONES, EMILY                          JONES, EMMA
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JONES, ENA                           JONES, ERIC                           JONES, ERICA
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JONES, ERICA                         JONES, ERICKA                         JONES, ERIN
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JONES, ERIN                          JONES, ERIN                           JONES, FALLON
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JONES, FARRIS                        JONES, FASHION                        JONES, FELICIA
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JONES, FELICIA                       JONES, FRANK                          JONES, FRENA
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JONES, GABRIELLE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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JONES, GENEVIEVE                     JONES, GERALD                         JONES, GRETCHENJONES
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JONES, HALEY                         JONES, HALLE                          JONES, HANNAH
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JONES, HANNAH                        JONES, HANNAH                         JONES, HESTA
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JONES, HILARY                        JONES, HOUSTON                        JONES, HOWARD
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JONES, IAN                           JONES, INAYAH                         JONES, JACK
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JONES, JACKIE                        JONES, JACLYN                         JONES, JACOB
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JONES, JADE                          JONES, JADEN                          JONES, JAMAL
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JONES, JAMIE                         JONES, JANA                           JONES, JANEL
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JONES, JANET                         JONES, JANET                          JONES, JANET
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JONES, JANICE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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JONES, JASMINE                       JONES, JASON                           JONES, JASON
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JONES, JAYATTA (JAYE)                JONES, JEAN                            JONES, JEFF
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JONES, JEN                           JONES, JENICA                          JONES, JENNA
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JONES, JENNIFER                      JONES, JENNIFER                        JONES, JENNIFER
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JONES, JENNIFER                      JONES, JENNIFER                        JONES, JENNIFER
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JONES, JENNIFER                      JONES, JENNY                           JONES, JEREMIAH
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JONES, JEREMY                        JONES, JEREMY                          JONES, JESSICA
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JONES, JESSICA                       JONES, JESSICA                         JONES, JESSICA
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JONES, JESSICA                       JONES, JESSICA                         JONES, JILL
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JONES, JOLEIA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONES, JONAH                     Page 2459
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JONES, JORDAN                        JONES, JOSH                           JONES, JUDITH
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JONES, JULIA                         JONES, JULIA                          JONES, JULIE
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JONES, JUSTIN.                       JONES, KAELA                          JONES, KAITLIN
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JONES, KAITLYN                       JONES, KALI                           JONES, KARA
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JONES, KAREN                         JONES, KAREN                          JONES, KAREN
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JONES, KAREN                         JONES, KAREN                          JONES, KARESHA
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JONES, KARLY                         JONES, KARY                           JONES, KATE
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JONES, KATELYN                       JONES, KATHERINE                      JONES, KATHLEEN
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JONES, KATHRYN                       JONES, KATHRYN                        JONES, KATHRYN
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JONES, KATHY          Case 22-11238-LSS     Doc ANN
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                                                                           JONES, of 5495
                                                                                  KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONES, KATRINA                       JONES, KAYLA                          JONES, KAYLA
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JONES, KEISHA ALANA                  JONES, KEITH                          JONES, KELIAN
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JONES, KELLEE                        JONES, KELLY                          JONES, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONES, KELLY                         JONES, KELSEY                         JONES, KENDALL
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JONES, KENDALL                       JONES, KENDALL                        JONES, KENNEDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONES, KENNETH                       JONES, KESHA                          JONES, KEVIN
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JONES, KEVIN                         JONES, KIA                            JONES, KIM
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JONES, KIMBERLY                      JONES, KIMBERLY                       JONES, KIMBERLY
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JONES, KRISTEN                       JONES, KRISTIN                        JONES, KRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JONES, KRYSTLE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONES, LAINEY                    Page 2461
                                                                           JONES, of 5495
                                                                                  LANGSTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONES, LAQUANDA                      JONES, LASHAY                         JONES, LATANYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONES, LATOYIA                       JONES, LATRINA                        JONES, LAURA
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JONES, LAURA                         JONES, LAURA                          JONES, LAUREN
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JONES, LAUREN                        JONES, LAUREN                         JONES, LAUREN
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JONES, LEAH                          JONES, LEANNA                         JONES, LEANNE
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JONES, LEIGH                         JONES, LESLIE                         JONES, LINDA
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JONES, LINDSAY                       JONES, LINDSAY                        JONES, LINDSEY
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JONES, LINDSEY                       JONES, LISA                           JONES, LIZ
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JONES, LOGAN                         JONES, LORI                           JONES, LYNDSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JONES, LYNN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONES, LYNN                      Page 2462
                                                                           JONES, of 5495
                                                                                  MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JONES, MADELINE                      JONES, MADISON                         JONES, MAGGI
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JONES, MAISHA                        JONES, MANESIA                         JONES, MARCY
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JONES, MARGARET                      JONES, MARGOT                          JONES, MARIA
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JONES, MARIBETH                      JONES, MARINA                          JONES, MARK
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JONES, MARK                          JONES, MARTHA                          JONES, MARY AMARET
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JONES, MARY GRACE                    JONES, MARY JO                         JONES, MARY
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JONES, MARY                          JONES, MARY                            JONES, MATTHEW
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JONES, MEGAN                         JONES, MEGAN                           JONES, MEGHAN
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JONES, MEGHAN                        JONES, MEL                             JONES, MELANIE
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JONES, MELISSA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           JONES, of 5495
                                                                                  MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONES, MEREDITH                      JONES, MERIDITH                       JONES, MIA
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JONES, MIATA                         JONES, MICHAEL                        JONES, MICHAEL
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JONES, MICHAELA                      JONES, MICHELE                        JONES, MICHELLE
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JONES, MICHELLE                      JONES, MICILIN                        JONES, MIKE
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JONES, MIRANDA                       JONES, MOLLY                          JONES, MONICA
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JONES, MONIQUE                       JONES, MORGAN                         JONES, MORGAN
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JONES, MS. JUANITA                   JONES, MURIEL                         JONES, NAITHAN
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JONES, NANCY                         JONES, NATALIE                        JONES, NATALIE
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JONES, NICOLE                        JONES, NICOLE                         JONES, NICOLE
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JONES, NICOLETTA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONES, NINA                      Page 2464
                                                                           JONES, of 5495
                                                                                  OLIVIA
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JONES, OLIVIA                        JONES, PAMELA                         JONES, PAMELA
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JONES, PAMELA                        JONES, PAMELA                         JONES, PATRICIA
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JONES, PATRICIA                      JONES, PATRICIA                       JONES, PATRICK
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JONES, PAUL                          JONES, PEARL                          JONES, RACHEL
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JONES, RANDALL                       JONES, RANDY                          JONES, RAYMOND
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JONES, REBEKAH                       JONES, RENEE                          JONES, REYANA
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JONES, RHINA D                       JONES, RICHARD                        JONES, RICHARD
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JONES, RICHARD                       JONES, RICK                           JONES, RO SHUN
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JONES, ROBERT                        JONES, ROBERT                         JONES, ROBIN
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JONES, ROBIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           JONES, of 5495
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JONES, ROSALYN                       JONES, ROSE                           JONES, ROSEMARY
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JONES, ROSETTA                       JONES, ROSIE                          JONES, RUSSELL
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JONES, RUTH                          JONES, RUTH                           JONES, RUTH
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JONES, RYAN                          JONES, RYAN                           JONES, SABRINA
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JONES, SAMANTHA                      JONES, SAMANTHA                       JONES, SANDRA
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JONES, SARA                          JONES, SARAH                          JONES, SARAH
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JONES, SARAH                         JONES, SARAH                          JONES, SARAH
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JONES, SARAH                         JONES, SARAH                          JONES, SAVANNAH
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JONES, SAVONNE                       JONES, SAYER                          JONES, SEAN
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JONES, SHANI          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONES, SHARON                    Page 2466
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JONES, SHENA                         JONES, SHERRIE                        JONES, SHIRLEY
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JONES, SHYLOE                        JONES, SIERRA                         JONES, SONYA
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JONES, STACEY                        JONES, STACEY                         JONES, STEFANIE
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JONES, STEPHANIE                     JONES, STEPHANIE                      JONES, STEPHANIE
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JONES, STEPHEN                       JONES, STEPHEN                        JONES, STEVE
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JONES, SUKEIDA                       JONES, SUSAN                          JONES, SUZY
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JONES, SYDNEY                        JONES, T’NIA                          JONES, TAHLIQ
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JONES, TAI                           JONES, TAJA                           JONES, TAKIYAH S
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JONES, TAMMY                         JONES, TAMMY                          JONES, TARA
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JONES, TARA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONES, TASHA                     Page 2467
                                                                           JONES, of 5495
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JONES, TAYLER                        JONES, TAYTUM                         JONES, TED
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JONES, TERI                          JONES, TERRON                         JONES, TESSA
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JONES, TIFFANEY                      JONES, TIFFANY                        JONES, TIFFANY
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JONES, TIM                           JONES, TIMOTHY                        JONES, TISA
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JONES, TONYA                         JONES, TONYA                          JONES, TORI
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JONES, TRACY                         JONES, TRACY                          JONES, TRAVIS
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JONES, TYA                           JONES, TYLOR                          JONES, VALERIE
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JONES, VALERIE                       JONES, VIKTORIA                       JONES, VIRGIL
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JONES, VIRGINIA                      JONES, VONETTA                        JONES, WALTER
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JONES, WENDY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JONES, WHITNEY                   Page 2468
                                                                           JONES, of 5495
                                                                                  WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONES, WILL                          JONES, WILLIAM                        JONES, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONES, WILLIAM                       JONES, WOODROW                        JONES, ZHANE
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JONES-BROWN, KEENYA                  JONES-MILLS, ALICIA                   JONES-MORENO, MELANIE
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JONES-ODEM, SANDRA                   JONES-ORISHAK, TAMARA                 JONES-RAYMOND, JOANNA
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JONES-SCHAMING, MARY                 JONES-TEETSEL, TRACY                  JONG HO PARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONGEWARD, JANE                      JONI BUI                              JONI NOE LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1521 1/2 ALLESANDRO STREET
                                                                           LOS ANGELES, CA 90026




JONIAUX, ASHLEY                      JONNA, SHOURIE                        JONNALAGADDA, DEEPIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JONOKUCHI, VIVIAN                    JONON, DIANE                          JONQUILLE, JEANNETTE
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JONSSON, KENDALL                     JOO, EUNKWANG                         JOO, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOO, NORA             Case 22-11238-LSS
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                                                                           JOOSTBERNS, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOOSTEN, EMILY                       JOPLIN, KENDALL                       JOPP, ANDREW
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JOPP, LULU                           JOPPERI, ELIZABETH                    JORDAAN, ADRIAN
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JORDACHE, DAVID                      JORDAN BISMUTH                        JORDAN BURNETT
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JORDAN CULPEPPER                     JORDAN DANTE WHITE                    JORDAN FERRY
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JORDAN FRIEDMAN                      JORDAN HO                             JORDAN MICHAEL GREENBERG
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JORDAN OGREN                         JORDAN OLSON                          JORDAN ROBISON
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JORDAN TORREY                        JORDAN WILEY                          JORDAN WOLLMERING
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JORDAN, ABBY                         JORDAN, AKINYELE                      JORDAN, ALLISON
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JORDAN, ALLISON                      JORDAN, AMANDA                        JORDAN, ANDREA
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JORDAN, ASHLEY        Case 22-11238-LSS
                                     JORDAN,Doc  2 Filed 11/30/22
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                                                                           JORDAN, 5495
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JORDAN, BRENNA                       JORDAN, BRIDGET                       JORDAN, CAITLIN
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JORDAN, CANDICE                      JORDAN, CAROLYN                       JORDAN, CATHARINE
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JORDAN, CHRISTA                      JORDAN, CHRISTOPHER                   JORDAN, CHRISTY
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JORDAN, CONNOR                       JORDAN, DANIELLE                      JORDAN, DARLENE
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JORDAN, DAWN                         JORDAN, DEBBIE                        JORDAN, DONALD
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JORDAN, ELIZABETH                    JORDAN, ELIZABETH                     JORDAN, EMILY
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JORDAN, GEORGE                       JORDAN, GEORGE                        JORDAN, GLENN
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JORDAN, HILLAUN                      JORDAN, JAMIE                         JORDAN, JANA
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JORDAN, JANINE                       JORDAN, JENNIFER                      JORDAN, JESSICA
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JORDAN, JILL          Case 22-11238-LSS
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                                                                           JORDAN, 5495
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JORDAN, JOSHUA                       JORDAN, JOSHUA                        JORDAN, JOY
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JORDAN, JUSTINE                      JORDAN, KAITLYN                       JORDAN, KAREN
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JORDAN, KAREN                        JORDAN, KAREN                         JORDAN, KATHLEEN
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JORDAN, KATHLEEN                     JORDAN, KATHY                         JORDAN, KATLYN
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JORDAN, KAYLIE                       JORDAN, KELLY                         JORDAN, KIM
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JORDAN, KRISTIN                      JORDAN, MARK                          JORDAN, MARY
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JORDAN, MEGAN                        JORDAN, MELISSA                       JORDAN, MELISSA
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JORDAN, MICHAEL                      JORDAN, OLIVIA                        JORDAN, PATRICE
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JORDAN, RACHEL                       JORDAN, REEVES                        JORDAN, RICHARD
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JORDAN, SHARA         Case 22-11238-LSS
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                                                                           JORDAN, 5495
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JORDAN, SUSAN                        JORDAN, SYDNEY                        JORDAN, TAVIAN
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JORDAN, TORREY                       JORDAN, TRACY                         JORDAN, TYLER
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JORDAN, VERA                         JORDAN, VERONICA                      JORDAN, VICKI
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JORDAN, VIK                          JORDAN, YOLANDA                       JORDANA, LAURA
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JORDAN-AMBERG, MARGAREE              JORDANN SMITHERS                      JORDAN-VARGAS, JESSICA
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JORDE, ALEXANDRA                     JORDEN, MAUREEN                       JORDIN ELLINGSON
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JORDON THOMSEN                       JORE, BREA                            JORECAH HESTER
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JORFI, CATHARINE                     JORGE ALFREDO MENDOZA BARAJAS         JORGE MANUEL JACINTO GUERREIRO
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JORGE RIOS                           JORGE, DAN                            JORGE, WILLIAM
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JORGENSEN, ABBY       Case 22-11238-LSS    Doc ANNA
                                     JORGENSEN, 2 Filed 11/30/22      Page 2473 of 5495
                                                                           JORGENSEN, BRENNA
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JORGENSEN, BRETT                     JORGENSEN, CAMILLE                    JORGENSEN, ELIJAH
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JORGENSEN, JOSIAH                    JORGENSEN, JULIE                      JORGENSEN, KATIE
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JORGENSEN, KATY                      JORGENSEN, KRISTEN                    JORGENSEN, SHANDA
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JORGENSON, ALMA                      JORGENSON, AMMY                       JORGENSON, BROOKE
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JORGENSON, ELORA                     JORGENSON, GUDRUN                     JORGENSON, HAILEY
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JORGENSON, JENSE                     JORGENSON, JENSE                      JORGENSON, LAURA
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JORGENSON, SHARON                    JORIS DE CRAECKER                     JORIS STUIP
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JORJANN JOHNSON, JORJANN             JORNLIN, FRANK                        JOSAPHS, BONNIE
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JOSE A ESPEJO TRUST                  JOSE AMIGON                           JOSE ARIAS
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JOSE BALTAZAR         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           JOSE COVARRUBIAS
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JOSE F CARTAYA III                   JOSE FERNANDO BARRERA                 JOSE GABRIEL VALDEZ
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JOSE GELPI JR                        JOSE GOMEZ                            JOSE JOAQUIN ENDARA CEVALLOS
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JOSE MORALES                         JOSE NATALIO FAYAD                    JOSE RAMIREZ
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JOSE RIOS                            JOSE SANTIAGO III                     JOSE SEBASTIAN
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JOSE T ARIAS                         JOSE, CHERRIE                         JOSE, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOSE, SHARON                         JOSEF GOTTWALD                        JOSEFINA PEREZ
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JOSELUIS M ROSETE                    JOSEPH A ABYS                         JOSEPH A SERWA
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JOSEPH ARCOLIO                       JOSEPH ARTHUR SKOTNIK                 JOSEPH ARTHURS
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JOSEPH B WOOLFSON                    JOSEPH BECHTOLD                       JOSEPH C FRANCISCO
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                                                                                  EDOUARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOSEPH EDWARD DORN THOMAS JR         JOSEPH FRANK MAGLY                    JOSEPH GIGLIA
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JOSEPH H CRISLER                     JOSEPH HILL                           JOSEPH JOHN GILLILAND
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JOSEPH KELLER                        JOSEPH KENNEY                         JOSEPH KIMBALL IRVINE
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JOSEPH KRAMER                        JOSEPH LOUIS KAPLA                    JOSEPH M FRADE
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JOSEPH MACCHIO                       JOSEPH MANNO                          JOSEPH MAURO
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JOSEPH MICHAEL WINESBURG             JOSEPH MOWREY                         JOSEPH NJAU
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JOSEPH NORTON                        JOSEPH P COLLY III                    JOSEPH P FENNESSY
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JOSEPH P PLONSKI III                 JOSEPH PEREZ                          JOSEPH PROCTOR
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JOSEPH R FEKECH                      JOSEPH ROBERT SOWELL                  JOSEPH ROBERTS SPARLING
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JOSEPH ROBERTS        Case 22-11238-LSS
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JOSEPH STOTTLER                      JOSEPH TAKAI                          JOSEPH THOMAS MEIER
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JOSEPH WAGGONER                      JOSEPH WRAY                           JOSEPH WYATT CROOMS
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JOSEPH ZANONI                        JOSEPH, AARON                         JOSEPH, AIBEL
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JOSEPH, AJ                           JOSEPH, AMANDA                        JOSEPH, AMANDA
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JOSEPH, ANDREA                       JOSEPH, ANN                           JOSEPH, ASHLE
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JOSEPH, ASHLEY                       JOSEPH, CHARLOTTE                     JOSEPH, CORINN
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JOSEPH, DONNA                        JOSEPH, EMILY                         JOSEPH, EMILY
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JOSEPH, FABIAN                       JOSEPH, FABRICE                       JOSEPH, FREDDY
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JOSEPH, INES                         JOSEPH, JAMES                         JOSEPH, JENN
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JOSEPH, JESSICA       Case 22-11238-LSS
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JOSEPH, JOYCE                        JOSEPH, JUSTIN                        JOSEPH, KAFI
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JOSEPH, LAUREN                       JOSEPH, LAVERNE                       JOSEPH, LEX
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JOSEPH, LILA                         JOSEPH, LINDSEY                       JOSEPH, LISA
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JOSEPH, LISA                         JOSEPH, LISA-DIANE                    JOSEPH, MARC
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JOSEPH, MELISSA                      JOSEPH, NATASHA                       JOSEPH, PHYLICIA
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JOSEPH, SHAINNEN                     JOSEPH, TAISHA                        JOSEPH, THEA
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JOSEPH, WHITNEY                      JOSEPHER, BROOKE                      JOSEPHINE ALANIS GREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOSEPHINE G KARANJA                  JOSEPHINE, DAVIDSON,                  JOSEPHS, ALISA
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JOSEPHS, COLLEEN                     JOSEPHS, ZINA                         JOSEPHSON, GERALD
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JOSEPHSON, ISAAC      Case 22-11238-LSS    Doc JYL
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JOSEY, ASHLEY                        JOSH A HAMMEL                         JOSH DANIEL GEORGE SAUNDERS
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JOSH FELDMAN                         JOSH LEITNER, JOSH                    JOSH SPEAR
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JOSH SWEENEY                         JOSH WOLFF                            JOSHI, AJAY
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JOSHI, DHRUMIL                       JOSHI, MAITHILI                       JOSHI, MAYA
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JOSHI, MIHIR                         JOSHI, MOHIT                          JOSHI, PALLAVI
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JOSHI, PRAJWAL                       JOSHI, SAMIR                          JOSHI, SAMVERTIKA
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JOSHI, TUSHAR                        JOSHI, YASH                           JOSHUA ALAN GENTRUP
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JOSHUA AVRUM LICHTENFELD             JOSHUA BAKER                          JOSHUA BAKER
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JOSHUA BURCHAM                       JOSHUA CRANE                          JOSHUA DAVID DEETER
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JOSHUA HOVDEN                        JOSHUA JOHNSON                        JOSHUA JON CUMMINGS
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JOSHUA LYON                          JOSHUA M GRANT                        JOSHUA MICHAEL HORNER
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JOSHUA NATHANAEL JOHNSON             JOSHUA PAUL VICKERSON                 JOSHUA R SHEARER
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JOSHUA RAMIREZ                       JOSHUA S MILLER                       JOSHUA SWEDLOW
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JOSHUA VOLUCK                        JOSHUA ZALIS                          JOSHUA, SHAWNTA
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JOSHUA, VIVIAN                       JOSHUAH HAMPTON                       JOSIAH ETHAN MOYER
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JOSIAH KENNETH SLIFER                JOSIE PUGH                            JOSLIN, AMY
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JOSLYN, CARLIN & SUSAN               JOSLYN, KIRBY                         JOSLYNN, CYPRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOSON, KATHARINE                     JOSRPHSON, JIMMIE                     JOSS, LAURA
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JOSSELSOHN, DAVID     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JOST, AMY                        Page 2480   of 5495
                                                                           JOST, GRACE
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JOST, NICK                           JOSTEN, AMBER                         JOSTES, NATALIE
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JOSTES, NICOLE                       JOSTIN BURBIDGE                       JOUAS, DANIEL
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JOUBERT, ANNA                        JOUBERT, LISA                         JOUDEH, LINDA
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JOUHET, ALEXANDER                    JOUNG, NICK                           JOURDAIN, SARAH
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JOURDAN, CECILIA                     JOURDAN, STEPHANIE                    JOURNAY, SARAH
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JOVANOV, PETER                       JOVANOVIC, CHRISTIE                   JOVANOVIC, MICHAEL
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JOVANOVICH, DEBRA                    JOVEL, CARLA                          JOWAISAS, KATHERINE
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JOWERS, BEATY                        JOWETT, ANGELA                        JOY BUETNER
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JOY BURDICK NOWELL TRUST             JOY C HUFFMAN                         JOY CHOWDHURY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOY ISRAVISVAKUL      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JOY JOHNSTON                     Page 2481   ofLLC.
                                                                           JOY LIFE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        790 BRANNON STREET. FLOOR 2
                                                                           SAN FRANCISCO, CA 94103




JOY LINDSAY                          JOY LYDIARD                           JOY OF EATING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




JOY PERSHING                         JOY WILLIAMSON                        JOY, ALLYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOY, JONTE                           JOY, KATHLEEN                         JOY, MACAOAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOY, SABRINA                         JOY, SABRINA                          JOY, STEPHANIE
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JOYA L NEWMAN                        JOYAL, GLORIA                         JOYCE A GAY
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JOYCE ATTAWAY                        JOYCE BLUE                            JOYCE JOANNE SCHOLEN
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JOYCE M HARTY                        JOYCE REYES                           JOYCE SMINKEY
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JOYCE WILKOS                         JOYCE, ANDREW                         JOYCE, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOYCE, BOB                           JOYCE, BRENDA                         JOYCE, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JOYCE, CAMERON        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JOYCE, ELISE                       Page 2482
                                                                             JOYCE, of 5495
                                                                                    HILLARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




JOYCE, JAIMIE                        JOYCE, JEAN                             JOYCE, JOE
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JOYCE, KAITLIN                       JOYCE, KEAGAN                           JOYCE, KELLEY
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JOYCE, KEVIN                         JOYCE, KEVIN                            JOYCE, LAURA
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JOYCE, MAUREEN                       JOYCE, MICHAEL                          JOYCE, MOLLY
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JOYCE, MOLLY                         JOYCE, NANCY                            JOYCE, RUBY
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JOYCE, SHEILA                        JOYCE, STEPHANIE                        JOYE, JOANNA
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JOYFUL HEALTHY EATS, LLC             JOYMODE.COM                             JOYNER, BRYN
3745 GINGER CREEK LANE               ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
SPRING, TX 77386




JOYNER, ERIN                         JOYNER, HANNAH                          JOYNER, JOY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




JOYNER, MCKENZIE                     JOYNER, NARISSA                         JOYNER, PEYTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
JOYNER, ROWENA        Case 22-11238-LSS
                                     JOYNER,Doc  2 Filed 11/30/22
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JOYNES, SHARIESSE                    JOYNTON, EMILY                        JOZEFYK, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOZIFEIN WOODS                       JOZWIAK, HAYLEY                       JOZWIAK, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JOZWIAK, LEAH                        JOZWIAK, TYLER                        JPMORGAN CHASE (0902, 2357, 3622)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ATTN JEFF LAZARUS/PROXY MGR NY1-C094
                                                                           4 METROTECH CTR - 3RD FL
                                                                           BROOKLYN, NY 11245




JS COLLECTIVE LLC                    JTOWN MUSIC, LLC                      JU, CHENGWEI
3502 MOUNT BONNELL RD                4095 KIRKWOOD ST.                     ADDRESS AVAILABLE UPON REQUEST
AUSTIN, TX 78731                     GEORGES RD BEAR, DE 19701




JU, HANNAH                           JU, HAOXIANG                          JU, MARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUAIRE, BRIANNA                      JUAN ANDRES GARCIA                    JUAN ARRONA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUAN CARLOS GODINEZ                  JUAN ESTEBAN GOMEZ ILARI              JUAN MIGUEL TOSTADO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUAN ROMEU LEZAMA                    JUAN, JONATHAN                        JUANITA CLARKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUANITA CRAIN                        JUAREZ, ANNE                          JUAREZ, HARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JUAREZ, JOSE          Case 22-11238-LSS
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                                                                           JUAREZ,ofLUCRECIA
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUAREZ, MICHAEL                      JUAREZ, SANDRA                         JUAREZ, SYLVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUAREZ-LACE, EDITE                   JUAVANDA S LEWIS                       JUBB, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUBERA, ALEXIS                       JUBERG, MARC                           JUBILEE, DENISE
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JUBITZ, RAYMOND                      JUBRAN, NADIM                          JUBY, PAULA
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JUCHNEVICS, GLORIA                   JUDAH NORMAN GREENBERG                 JUDAH RICHARDSON
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JUDAS, CHLOE                         JUDD, ADA                              JUDD, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUDD, ANDREW                         JUDD, ANNA                             JUDD, ASHLEY
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JUDD, CAROLINE                       JUDD, CLAIRA                           JUDD, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUDD, JAYCEEN                        JUDD, JENNA                            JUDD, KELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JUDD, LAUREL          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     JUDD, LINDSAY                    Page 2485   of 5495
                                                                           JUDD, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUDD, MARTHA                         JUDD, REGINA                          JUDDS CATERING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




JUDE MOITOZA                         JUDGE, AARON                          JUDGE, ADRIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUDGE, BARBARA                       JUDGE, BEVIN                          JUDGE, CECILIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUDGE, CHELSEA                       JUDGE, JOHN                           JUDGE, KAELEIGH
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JUDGE, LISA                          JUDGE, MARY                           JUDGE, MEG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUDGE, PAMELA                        JUDGE, RENE                           JUDGE, STEPHEN
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JUDGE-FRANGIONE, BARBARA             JUDICE, ANISHA                        JUDIN, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUDITH ANN ANIBAS                    JUDITH BALKIN                         JUDITH BOURG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUDITH CHERY                         JUDITH ELAINE GREEN LATNER            JUDITH ESPOSITO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JUDITH GRAFF          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUDITH MORRIS                        JUDITH MURPHY                          JUDITH O CONNOR
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JUDITH RENFROE                       JUDITH ROBINSON                        JUDITH WILCOX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUDKINS                              JUDKINS, ERIN                          JUDON, JADA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUDSON KUEHLING                      JUDSON, JENNIFER                       JUDSON, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUDSON, MARINDA                      JUDSON, MATT                           JUDY GALLARDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUDY JACOBSON                        JUDY NELSON                            JUDY STEPHENS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUDY, JULIANNA                       JUDY, THOMAS                           JUECHTER, J
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUENGEL, MATT THE BOX WINE DRINKER   JUENGLING, CHARLENE                    JUERGEN ZINKO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUERGENS, GARY                       JUERGENS, SYDNEY                       JUERGENSEN, TANYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JUGOVIC, MONICA       Case 22-11238-LSS    Doc
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                                                                                     5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JUHL, ANDREW                         JUHL, BETH                             JUICE & DIRT BEVERAGE CO LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         2000 BENNETT ROAD
                                                                            PHILADELPHIA, PA 19116




JUICE & DIRT BEVERAGE COMPANY LLC    JUIN-HWEY CHEN                         JUJARE, ARVIND
1525 N FRONT ST UNIT 504             ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HARRISBURG, PA 17102




JULE, AMELIA                         JULES HUMESTON                         JULES JEREMY FOURNIER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JULES LEVY                           JULES, KATIA                           JULIA CAMARDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JULIA CRAWFORD                       JULIA DELGAUDIO                        JULIA ERICKSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JULIA GIROUARD                       JULIA GREEN LANDAVER                   JULIA HAVENS
ADDRESS AVAILABLE UPON REQUEST       355 WEST 29TH ST 3B                    ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10001




JULIA JAUNDALDERIS                   JULIA JEANETTE NAES                    JULIA LYNNE ROGERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JULIA MCMAHON, WAYFAIR C/O           JULIA MEYER                            JULIA PETROVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




JULIA PROTASOVA                      JULIA PURINTON                         JULIA SALISBURY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
JULIA STONE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JULIA SWEENEY                    Page 2488   of 5495
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JULIA VUCKOVICH                      JULIA, CONOR &                        JULIAN GARCIA
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JULIAN SEVERINO                      JULIAN ZOTTL                          JULIAN, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JULIAN, ELIZABETH                    JULIAN, ERIK                          JULIAN, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JULIAN, KELSEY                       JULIAN, LISA                          JULIAN, MEGAN
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JULIAN, NICHOLAS                     JULIAN, TAWNEY BB2                    JULIANA HART
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JULIANA KUHN                         JULIANA OBRIEN                        JULIANA OROZCO
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JULIANA THOMAS                       JULIANNA HOGAN                        JULIANNA SIPEKI
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JULIANO, ABBY                        JULIANO, MICHAEL                      JULIAS, AIXA
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JULICH, RICHARD                      JULIE BABSON                          JULIE BELTZ
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JULIE BRENNAN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     JULIE BROWNING                   Page 2489   of 5495
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JULIE CAMBERG                        JULIE COCHRANE                        JULIE CUNNINGHAM
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JULIE DICKENSON                      JULIE FOWLER                          JULIE GABERT
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JULIE GARRETT-STATE                  JULIE GIULIANI                        JULIE HAMNER
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JULIE HART                           JULIE JOHNSON VIRGIN                  JULIE MCGILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JULIE MOORE                          JULIE PARAVIA                         JULIE PEARL, APC (PEARL LAW GROUP)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        465 CALIFORNIA STREET, 7TH FLOOR
                                                                           SAN FRANCISCO, CA 94104




JULIE PEARL, APC (PEARL LAW GROUP)   JULIE SCHLOSSER                       JULIE WOLFE (DBA TRU HR SOLUTIONS)
567 SUTTER STREET, 3RD FLOOR         ADDRESS AVAILABLE UPON REQUEST        2913 EL CAMINO REAL 141
SAN FRANCISCO, CA 94102                                                    TUSTIN, CA 92782




JULIE WYGAL                          JULIE, RAMSEY                         JULIEANNE SUNDSTROM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JULIEN DAVID DESHLER                 JULIEN HIRTH                          JULIEN, KINSEY
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JULIEN, MAUREEN                      JULIEN, MIESHA                        JULIEN, NATHAN
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JULIO CASTELLAN                      JULIO CESAR CASTELLAN                 JULIO ECHEVERRIA
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JULIO GONZALEZ                       JULIO NEHEMIAS TORRES BONILLA         JULITA SUAREZ
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JULIUS AKONDENG                      JULIUS, MARY                          JULLIARD, MICHAEL
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JULUE, DELLA                         JUMA, AZLAAN                          JUMA, FAITH
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JUMBLEBERRY INTERACTIVE GROUP LTD    JUMP, ANGELICA                        JUMP, ANNA
171 E. LIBERTY ST. SUITE 310         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TORONTO, ON M6K 3P6
CANADA




JUMP, AUBREY                         JUMP, BELINDA                         JUMP, KATIE
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JUMPER, JANE                         JUN, CHRISTINE                        JUNCAJ, VERONICA
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JUNE JOHNSTON                        JUNE MEDIA INC.                       JUNE, LACY
ADDRESS AVAILABLE UPON REQUEST       276 FIFTH AVENUE, SUITE 901           ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10001




JUNE, MALLORY                        JUNE, NAZMA                           JUNE, SUSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
JUNEAU, ALEXANDRA     Case 22-11238-LSS
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JUNES, CHRISTIAN                     JUNG, AMANDA                          JUNG, CINDY
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JUNG, ELSIE                          JUNG, HEE TAK                         JUNG, HELEN
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JUNG, JEESEOB                        JUNG, JENNIFER                        JUNG, KATHY
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JUNG, PAUL                           JUNG, SARAH                           JUNG, SHANNON
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JUNG, SHEILA                         JUNG, TIFFANY                         JUNG, TRACY
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JUNG, WOOCHUL                        JUNGCLAUS, MATTHEW                    JUNGDAHL, BOB
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JUNGERS, HEATHER                     JUNGERS, TERRI                        JUNGERWIRTH, ROBERT
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JUNGHANS, CAROLINA                   JUNGLES, SUSAN                        JUNGWIRTH, GREGORY
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JUNHAN JEONG                         JUNI, RICARDO                         JUNIE WEINSTEIN, JUNIE
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JUNKER, LINDSAY                      JUNKIERSKI, AMANDA                    JUNKINS, DAVID
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JUNKINS, SARAH                       JUPENA, AMANDA                        JUPPE, KALI
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JURADO, CHRISTINE                    JURADO, KELLIE                        JURADO, PARIS
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JURADO, TIFFANY                      JURANICH, ASHLEY                      JURCEKA, KIM
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JURDAK, NIOLE                        JURDEN, CARMEN                        JURDEN, CARMEN
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JUREK, LORI                          JUREK, MADDIE                         JURGELA, INTA
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JURGELLA, JESSE                      JURGEN SCHWARZLER                     JURGENS, AMANDA
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JURGENS, BRITTANY                    JURGENS, LAUREN                       JURGENSEN, CONNIE
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JURGENSEN, KARA                      JURGENSEN, MARY                       JURIS, ALYSSA
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                                     JURIST, Doc  2 Filed 11/30/22
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JURMU, SARAH                         JURRENS, BRITTANY                         JURSKIS, AMY
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JURY, ELIZABETH                      JURY, SHEA                                JUSINO, LAURIE
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JUSLEEN SABHERWAL                    JUSLYN VINEYARDS                          JUSSIF, JACLYN
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JUSSOLI, ERV                         JUST LIKE FALLING OFF A BIKE, LLC         JUST, ALLISON
ADDRESS AVAILABLE UPON REQUEST       (CINEMASINS)                              ADDRESS AVAILABLE UPON REQUEST
                                     613 EWING AVENUE
                                     NASHVILLE, TN 37203




JUST, BEN                            JUST, NATALIE                             JUST, SAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




JUST, TANYA                          JUST, VAL                                 JUSTA, ASHLEY
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JUSTA, SHELLEY                       JUSTAK, CHRISTINA                         JUSTES, MELISSA
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JUSTESEN, ELIZABETH                  JUSTFAB                                   JUSTFLY.COM
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JUSTICE, CYDNEY                      JUSTICE, EMILY                            JUSTICE, JESSICA
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JUSTICE, LESLIE                      JUSTICE, MEGAN                        JUSTICE, REBECCA
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JUSTICE, RILEY                       JUSTICE, SANDRA                       JUSTICE, STACIE
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JUSTICE, TAYLOR                      JUSTICH, KERRY                        JUSTIN BARKER
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JUSTIN BARNES                        JUSTIN BUDARE                         JUSTIN CURTIS DESNOYERS
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JUSTIN DOWNS                         JUSTIN GEBURA                         JUSTIN KLIER
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JUSTIN MEUNIER                       JUSTIN SCHROEDER                      JUSTIN SHIPPERT
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JUSTIN TEH                           JUSTIN VINEYARDS & WINERY LLC         JUSTIN WILLIAMS
ADDRESS AVAILABLE UPON REQUEST       2265 WISTERIA LN.                     ADDRESS AVAILABLE UPON REQUEST
                                     PASO ROBLES, CA 93446




JUSTIN ZDUNIAK                       JUSTIN ZHANG                          JUSTIN, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




JUSTIN, JAGIRDAR,                    JUSTINE A LEMANOWICZ                  JUSTINE JONES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




JUSTIZ, VIKTORIYA                       JUSTUS, DAVID                         JUSTUS, ELIJAH
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JUSTUS, LEONARD                         JUSTYNA SOKOL                         JUSTYNA Z BRUCE
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JUSZCZYK, JANE                          JUSZLI, MONIKA                        JUTAI, LAUREN
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JUTTELSTAD, MADELINE                    JUTZE, REBECCA                        JUWA, GREG
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JUZESZYN, MICHELLE                      JUZWIAK, JOSEPH                       JYACE STUTSMAN
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K EVANS, ELIJAH                         K RECTOR, AMANDA                      K SMITH, LINDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




K WHILBY, RACHEL                        K&L BEVERAGE COMPANY, LLC             K&L GATES LLP
ADDRESS AVAILABLE UPON REQUEST          (DBA YOUNGS MARKET COMPANY)           210 SIXTH AVENUE
                                        PO BOX 9300                           PITTSBURGH, PA 15222
                                        RENTON, WA 98057




K&L WINE MERCHANTS                      K, AMANDA                             K, ANGELA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




K, BRIDGET                              K, CHARLOTTE                          K, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
K, CYNTHIA            Case 22-11238-LSS
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K, IKI                               K, JENNIQUE                            K, LISA
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K, MARY                              K, MEREDITH                            K, MICHELLE
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K, R                                 K, SAGE                                K, SARAH
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K. BAKER, GAYATRI                    K. RODRIGUEZ, JUVIZA                   K., ANN
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K., JODI                             KA, NAV                                KAAI, KRYSTAL
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KAALBERG, KATHRYN                    KAARD BOMBE                            KAATZ, ROXANN
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KABADI, MONIKA                       KABAKOV, ANNA                          KABALA, KATHY
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KABALIN, PATRICIA                    KABALKIN, BRIANNA                      KABAT, CATHY
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KABBA, ZAINAB                        KABEERDOSS, CHETHNA                    KABINOFF, RANDI
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KABIR BARUA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KACEK, SYDNEY                        KACHADOORIAN, BRIDGET                 KACHATURIAN, ANITA
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KACHEJIAN, KARA                      KACHELMIER, NICKI                     KACHIK, MICHELLE
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KACHMAR, CHRIS                       KACHMARIK, GEORGE                     KACHNER, TONJA
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KACHNIASZ, JULIE                     KACHUR, BOGDAN                        KACIBAN, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KACPRZYK, ANGELA                     KACY HOLVEN                           KACZANOWSKI, FRANCE
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KACZMAR, ALLISON                     KACZMAREK, AMY                        KACZMAREK, GENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KACZMAREK, JEFFREY                   KACZMAREK, RACHEL                     KADAKIA, ANJALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KADAKIA, BHAVI                       KADAM, KREYA                          KADAMUS, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KADAVY, KAREN                        KADDU, BABIRYE                        KADE, KATHRYN
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KADEKARO, ULISSES     Case 22-11238-LSS    Doc
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KADEN, CHELSEA                       KADEN, JENNIFER                       KADEN, SHANNON
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KADESH, AMANDA                       KADIE FROST, KADIE                    KADIMIK, NATASHIA
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KADING, DEE                          KADIYALA, TULASI                      KADLEC, KATIE
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KADLECEK, HOPE                       KADOSH, NIR                           KADRMAS, SHARMAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KADRO, RYAN                          KAECHELIN, SARAH                      KAEHLER, CORINNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAELBER, CHERYL                      KAELIN, MARK                          KAELIN, MICHAEL
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KAELYN KOSHKO                        KAEMERLE, NICOLE                      KAEMPFE, JILLIAN
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KAEOWICHIEN, HEATHER                 KAESS, COURTNEY                       KAESSER, EMILY
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KAESTNER, DENISE                     KAFAFIAN, KATIE                       KAFKA, MATTHEW
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KAGARISE, EMILY                      KAGDIS, KELLY                           KAGE, SHELLEY
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KAGEN, MARIA ANTONIETA               KAGESTUEN                               KAHAN, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




KAHAN, EMILY                         KAHANIC, EMILY                          KAHAT, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KAHIL, CINDY                         KAHL, CHRIS                             KAHL, MCKINNA
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KAHL, SAMANTHA                       KAHLE LEWIS                             KAHLE, DANIELLE
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KAHLE, DAVID                         KAHLE, NOWELL                           KAHLE, OLIVIA
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KAHLE, OLIVIA                        KAHLE, SAMANTHA                         KAHLER, DIANA
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KAHLIG, LISA                         KAHLON, LIVLEEN                         KAHLON, VANESSA
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KAHMEYER, KALEIGH                    KAHN, AARON                             KAHN, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
KAHN, BETH            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           KAHN, KERREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAHN, MADISON                        KAHN, PETER                           KAHN, STEPHANIE
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KAHNG, BRIGID                        KAHNG, JONG                           KAHO, TRICIA
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KAHRMANN, SELAH                      KAHWASH, BASIL                        KAI GOURMET
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KAI SCHWENK                          KAIA GANGL                            KAIDI MAO
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KAIGLER, ZOE                         KAILEY OCONNOR STRACHAN               KAIMAN, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAIMRAJH, AMARA                      KAIN, CINDY                           KAIN, ISAAC
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KAIN, RACHAEL                        KAINE, SHENNAMU                       KAINER, STEPHANIE & CODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAINU, ERIKA                         KAINUMA, YOHEI                        KAINZ, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAIPER-MARQUEZ, IAN                  KAIRAM, NEERAJA                       KAIRE, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KAISER CONSULTING, LLC Case 22-11238-LSS     Doc 2 Filed
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                                                                             KAISERof 5495
                                                                                   CONSULTING, LLC
34 GRACE DRIVE                        34 GRACE DRIVE                          818 RIVERBEND AVE
POWELL, OH 43065                      SARAH KAISER, OWNER                     POWELL, OH 43065-7067
                                      POWELL, OH 43065




KAISER FOUNDATION HEALTH PLAN         KAISER, ALAINA                          KAISER, BARBARA
FILE 5915                             ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90074-5915




KAISER, BETH                          KAISER, BRIAN                           KAISER, CANDACE
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KAISER, CORINA                        KAISER, ELAINA                          KAISER, ERIC
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KAISER, ERICK                         KAISER, KAITLYN                         KAISER, KAYLYN
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KAISER, KELLEY                        KAISER, KELLEY                          KAISER, KENT
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KAISER, KEVIN                         KAISER, KEVIN                           KAISER, KIM
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KAISER, LAUREL                        KAISER, MAGDALENA                       KAISER, MEGAN
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KAISER, MEGAN                         KAISER, MICHAEL                         KAISER, PATRICIA
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KAISER, PAULA                         KAISER, SYLVIA                          KAISER, VALERIE
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KAISERMAN, DAN        Case 22-11238-LSS     Doc
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KAITLYN WARMAN                       KAITLYNN ST PIERRE                    KAITY ELWIN
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KAIWEI ZHANG                         KAI-YU HUANG                          KAJI, KETAN
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KAJITA, HIROO                        KAKADIA, MANTHAN                      KAKALETRIS, VOULA
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KAKAVELOS, MARINA                    KAKKANAIAH, POORNIKA                  KAKO, GAYLE
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KAKOURIOTIS, KIKI                    KALAC, HARIS                          KALACLAR, AMBER
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KALAGHER, PATRICIA                   KALAGHER, SEANN                       KALAMA, KENDRA
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KALAMAHA, MICHAEL                    KALAMATAS, PAT                        KALAN, LINDSAY
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KALAND, ALEXA                        KALANTAROVA, RAKHIL                   KALAS, MICHELE
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KALAS, NEVEN                         KALASOUNTAS, ELENI                    KALAVROS, NIKOLAOS
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KALAYILPARAMPIL, SAUMIACase 22-11238-LSS     Doc 2 Filed 11/30/22
                                      KALB, AMANDA                       Page 2503   of 5495
                                                                              KALB, AMY
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KALB, BESS                            KALBASSI, FARNAZ                        KALBERER, MICHAEL
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KALBFLEISCH, DAWN                     KALBFLEISCH, JACQUELINE                 KALCHUK, HIROKO
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KALE, BHUSHAN                         KALE, SEEMA                             KALE, SHARON
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KALE, STACEY                          KALEAH COOKSEY                          KALEB SHERVINGTON
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KALEIDA, BRIAN                        KALEIL WASHINGTON                       KALEM, STEFANIE
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KALEN, JENNIFER                       KALENDA, CARRIE                         KALENDRA, ELLEN
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KALENIECKI, MARGARET                  KALEPP, MELISSA                         KALEPS, ANDRA
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KALER, MEGHAN                         KALETA, MATTHEW                         KALEY, LINDSAY
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KALI ALEXANDRIA SEGIEDA               KALI DINING                             KALICK, KRISTA
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KALIDINDI, YAMINI     Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           KALIN, CLAUDIA
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KALINOSKI, MEAGAN                    KALINOSKI, SARA                       KALINOVSKI, DEBORAH
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KALINOWSKI, ANGELA                   KALINOWSKI, CHRISTIN                  KALINOWSKI, JUSTINE
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KALINOWSKI, TESLA                    KALINSKI, SARAH                       KALINSKY, CARRIE
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KALIORAS, ELENI                      KALIRA, VICKI                         KALIS, LINDSAY
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KALISA, JESSICA                      KALISH, ASHLEY                        KALISH, CORRINA
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KALISH, KATIE                        KALISH, PATRICIA                      KALISH, PENNY
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KALISHMAN, SUMMERS                   KALISTER, JENNIFER                    KALISZAK, SARA
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KALK, COURTNEY                       KALKA, JENNIFER                       KALKOWSKI, MELISSA
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KALKWARF, MATTHEW                    KALLAS, SARAH                         KALLBERG, JESSICA
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KALLBRIER, SUE        Case 22-11238-LSS
                                     KALLEN,Doc 2 Filed 11/30/22
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KALLER, JAYNE                        KALLIES, ETHAN                        KALLIO, KYLIE
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KALLIS, ANNA                         KALLIS, JULIA                         KALLMAN, ALYSSA
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KALLMAN, KARRI                       KALLOO, ANTHONY                       KALLSTROM, LAURA
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KALMAN, LAUREL                       KALMANSOHN, DANIELLE                  KALMBACH, ALEX
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KALMBACH, SHANNON                    KALMES, EMILY                         KALMES, NICOLE
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KALNY, EMMA                          KALOLO, AMBER                         KALOMIRIS, GABRIELLE
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KALONA, ANASTASIA                    KALOTRA, ADITI                        KALOUSDIAN, JAMIE
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KALRA, ANSH                          KALRA, LOVIKA                         KALRA, PUNI
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KALSEC, INC.                         KALTER, ALYSSA                        KALTSAS, CHELSEA
PO BOX 50511                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KALAMAZOO, MI 49005-0511
KALTSCHMIDT, ERIN     Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KALYAN DOKKA                         KAM PRODUCTIONS INC                     KAM, CALVIN
ADDRESS AVAILABLE UPON REQUEST       107 WEST 86TH STREET, SUITE 10G         ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10024




KAMAKELE, NAPUALOKELANI              KAMAL KABETO                            KAMAR, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KAMARA, ABU                          KAMARA, ANNMARIE                        KAMARA, CLAUDETTE
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KAMARA, HAWA                         KAMARA, MOMODOU                         KAMARA, VANESSA
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KAMARIOTAKIS, RENA                   KAMATH, SIDHARTH                        KAMATKAR, SATISH
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KAMAU, AMINA                         KAMAU, WANJIKU                          KAMAUFF, RYAN
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KAMBER, ILANA                        KAMEDA, YUKA                            KAMEISHI, KANA
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KAMEL, JONATHAN                      KAMEL, LIN                              KAMEN, MARINA
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KAMENIDIS, THEODORA                  KAMENS, LINDSEY                         KAMESA, ELENI
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KAMHOLTZ, JOHN        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KAMIN, JOHN                          KAMIN, KELSI                           KAMINER, ISABELLE
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KAMINER, IVY                         KAMINER, TED                           KAMINI IYER
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KAMINOW, ELLEN                       KAMINSKI, ASHLEY                       KAMINSKI, CAROLYN
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KAMINSKI, HANNAH                     KAMINSKI, JAYME                        KAMINSKI, JUSTIN
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KAMINSKI, LACEY                      KAMINSKI, LOUCYNDA                     KAMINSKI, MARY
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KAMINSKI, MARY                       KAMINSKI, MORGAN                       KAMINSKI, PAMELA
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KAMINSKI, VICTORIA                   KAMINSKY, JULIA                        KAMINSKY, LAUREN
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KAMINSTEIN, STEPHANIE                KAMIONKA, LIDIA                        KAMIS, CHRISTINA
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KAMLESH PATEL                        KAMM, AMANDA                           KAMM, LYDIA
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KAMMAN, MARGARET      Case 22-11238-LSS    Doc
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KAMMERER, CAROL                      KAMMERER, NICOLE                      KAMMERER, TAYLOR
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KAMMERZELL, HEATHER                  KAMMEYER, ASHLEY                      KAMMLER, LAUREN
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KAMNANG, HODRIN                      KAMNITZER, BIANCA                     KAMP, DIANNA
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KAMP, LIANNE                         KAMPFER, KINSEY                       KAMPH, CASIE
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KAMPH, RICHARD                       KAMPHUIS, GEORGENE                    KAMPHUIS, TIFFANY
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KAMPMANN, PATRICIA                   KAMPS, JOSEPH                         KAMPSCHNEIDER, KAYLA
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KAMRAN, MERRY CHRISTMAS              KAMRAR, JULIA                         KAMRATH, MARTHA
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KAMROW, MARTHA                       KAMRUD, CAROLYN                       KAMSHEH, ALICIA
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KAMSLER, AARON                       KAMWAND, AWISTA                       KAMWENE, JANINE
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KAMYAB, ARASH         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KAN, JEEWAY                      Page 2509   of 5495
                                                                           KAN, JEFFREY
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KAN, JULIA                           KANAGARATNAM, AMANDARI                KANAGY-LOUX, ELENA
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KANAPLUE, STEVEN                     KANARSKI, HEMMY                       KANASHIRO, JULIANO
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KANAVAL, KRIS                        KANAVY, JACOB                         KANAYA, RITA
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KANCE, HOWARD                        KANCE, MARK                           KANCER, KATHARINE
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KANCHWALA, FAZILA                    KANDEL, KIM                           KANDEL, RACHEL
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KANDI RODRIGUEZ                      KANDIS VAN GELDER                     KANDOLL, ANNIKA
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KANDORA, JAMES                       KANDRYSAWTZ, MARK                     KANDT, PAMELA
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KANE, ALLIE                          KANE, ALYSA                           KANE, AMY
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KANE, BEN                            KANE, BETSY                           KANE, BRIAN
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KANE, BRITTANY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KANE, CAROLINE                   Page 2510   of 5495
                                                                           KANE, CAROLYNN
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KANE, CAROLYNN                       KANE, CATHERINE S.                    KANE, CHRISTINE
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KANE, DANA                           KANE, DOMENIQUE                       KANE, DRAKE
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KANE, EMILY                          KANE, EMILY                           KANE, GREG
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KANE, HARRISON                       KANE, HEATHER                         KANE, JENNIFER
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KANE, JENNIFER                       KANE, JENNIFER                        KANE, JOHN
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KANE, JOHN                           KANE, JULIA                           KANE, LAURA
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KANE, LEA                            KANE, LISA                            KANE, LIZ
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KANE, MADDISON                       KANE, MARY                            KANE, MAUREEN
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KANE, MEGHAN                         KANE, MICHAEL                         KANE, MOLLIE
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KANE, NATALYA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KANE, NICOLETTE                  Page 2511   of 5495
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KANE, PAUL                           KANE, ROB                             KANE, ROBERT
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KANE, ROSA                           KANE, SANDRA                          KANE, SHANNON
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KANE, SHANNON                        KANE, SHAUNA                          KANE, SUSAN
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KANE, VICTORIA                       KANE, VICTORIA                        KANELSTEIN, DEBBIE
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KANERIYA, ARJUN                      KANE-RONNING, SUSAN                   KANE-SEITZ, JASON
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KANESHIRO-MILLER, PAT                KANETA, ASHLEY                        KANEY, DEVAN
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KANG HAI GOH                         KANG, ANNA                            KANG, BALVINDER
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KANG, BELLA                          KANG, CANDACE                         KANG, CHARLES
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KANG, ESTER                          KANG, GREGORY                         KANG, HANNAH
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KANG, JASON           Case 22-11238-LSS
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                                                                           KANG, JOSEPH
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KANG, JULIAN                         KANG, KRISTY                          KANG, MINGIE
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KANG, RUBY                           KANG, SAMUEL                          KANGAS, BARBARA
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KANGAS, COURTNEY                     KANGAS, JENNY                         KANGAS, KELLEY
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KANGSADJAJA, ALYSSA                  KANGWA, MUKI                          KANICLIDES, GAYLE
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KANIKI, PATRICK                      KANISH, KARELLE                       KANITZ, CAITLIN
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KANIUT, SUSAN                        KANJANAKORN, ALISA                    KANKARLA, VANAJA
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KANKELFITZ, TIFFANY                  KANMATAREDDY, PRADEEP                 KANN, LORI
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KANNALLY, KENDRA                     KANNAN, ARUN                          KANNAN, LAKSHMI
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KANNAN, SRIRAM                       KANNE, MARISSA                        KANNEGANTI, DEEPTI
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KANNEGANTI, GENTRY    Case 22-11238-LSS    Doc 2 JEFFREY
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KANNEY, CHERYL                          KANNO, MICHAEL                             KANODE, JEANNIE
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KANOS, MCKENSIE                         KANOWNIK, CHRISTINE                        KANPAI
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KANSAGRA, AKU                           KANSANBACK, ANN                            KANSARA, AISHWARYA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




KANSARA, KINJAL                         KANSAS DEPARTMENT OF REVENUE               KANSAS DEPARTMENT OF REVENUE
ADDRESS AVAILABLE UPON REQUEST          ALCOHOL BEVERAGE CONTROL                   ADDRESS UNAVAILABLE AT TIME OF FILING
                                        KDOR ALCOHOLIC BEVERAGE CONTROL
                                        MILLS BUILDING
                                        109 SW 9TH STREET, 5TH FLOOR PO BOX
                                        3506
                                        TOPEKA, KS 66601-3506

KANSAS DEPT OF LABOR                    KANSAS DEPT OF REVENUE                     KANSAS LIQUOR ENFORCEMENT TAX
401 SW TOPEKA BLVD                      915 SW HARRISON ST                         ADDRESS UNAVAILABLE AT TIME OF FILING
TOPEKA, KS 66603                        TOPEKA, KS 66612-1588




KANSAS SECRETARY OF STATE               KANSAS SECURITIES COMMISSIONER             KANT, ADRIAN
ADDRESS UNAVAILABLE AT TIME OF FILING   COMMISSIONER OF SECURITIES                 ADDRESS AVAILABLE UPON REQUEST
                                        109 SW 9TH ST.
                                        STE 600
                                        TOPEKA, KS 66612-1215



KANT, RISHI                             KANT, VIPUL                                KANTAROVICH, DIANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




KANTELIS, MATTHEW                       KANTER, IAN                                KANTER, LINDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




KANTERMAN, MELISSA                      KANTERS, SHARON                            KANTHARIA, NEAL
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KANTLEHNER, LAURA     Case 22-11238-LSS    Doc
                                     KANTNER,    2 Filed 11/30/22
                                              BAILEY                  Page 2514 of 5495
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KANTNER, ERIN                        KANTOR, KELLY                         KANTOR, OLGA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KANTOROWICZ, LAURA                   KANTROWITZ, JAMIE                     KANTROWITZ, NESN SARA ROSE
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KANTROWITZ, SHERYL                   KANTROWITZ, SUE                       KANTZAS, TRACI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KANURI, ASHRITHA                     KANURI, RUPESH                        KANYOGO, MURIMI
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KANYOK, JAMES                        KANZLER, MARY                         KAO, CHERYL
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KAO, KARIN                           KAOURI, KATERINA                      KAPAHULEHUA, MIRANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAPANADZE, MARIAM                    KAPANGA, ROSALIE                      KAPASI, KHUSHBU
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KAPAUN, CAMILLE                      KAPEL, JORDAN                         KAPELS, JENNA
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KAPENIAK, OKSANA                     KAPES, ALICIA                         KAPES, ALICIA
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KAPIK, ISABELLE       Case 22-11238-LSS    Doc
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KAPITAN, KARLY                       KAPIYAN, ARAM                          KAPLAN, ALEXANDER
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KAPLAN, AMY                          KAPLAN, ANDREA                         KAPLAN, ANNA
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KAPLAN, BEN                          KAPLAN, BRITTANY                       KAPLAN, CARYL
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KAPLAN, DANA EVAN                    KAPLAN, DENISE                         KAPLAN, ELLEN
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KAPLAN, ERIC                         KAPLAN, ERICA                          KAPLAN, IRA
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KAPLAN, JESSICA                      KAPLAN, JESSICA                        KAPLAN, JESSIE
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KAPLAN, JOSHUA                       KAPLAN, JULIA                          KAPLAN, KAT
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KAPLAN, KATIE                        KAPLAN, KRISTEN                        KAPLAN, LAUREN
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KAPLAN, MADELINE                     KAPLAN, MONICA                         KAPLAN, NICOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
KAPLAN, SAM           Case 22-11238-LSS
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KAPLAN, SINDI                        KAPLAN, SLOANE                        KAPLAN, STEPHANIE
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KAPLAN, TRACY                        KAPLANIDES, CHARLIE                   KAPLANSKY, MARIN
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KAPLE, LISA                          KAPLIY, ANTON                         KAPLN, JOY
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KAPLOWITZ, JORDAN                    KAPLOWITZ, RENEE                      KAPLUN, ALYSSA
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KAPNER, STUART                       KAPOLKA, ALLAN                        KAPONIS, JENNIFER
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KAPOOR, MANASI                       KAPOOR, RAJEEV                        KAPOOR, UPMA
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KAPOSTASY, DAVID                     KAPP, HANNAH                          KAPP, MARGO
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KAPP, RICKY                          KAPP, SABRINA                         KAPPELER, JUSTINE
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KAPPELL, KRIS                        KAPPELT, LINDA                        KAPPI BOWEN
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KAPPUS, APRIL         Case 22-11238-LSS    Doc
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                                                                           KAPTURSKI, DONNA
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KAPU, ERIKA                          KAPUR, ANJALI                          KAPUR, HARINDER
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KAPUR, MANUSHI                       KAPUSTIN, GEORGY                       KAPUSTKA, KATHY
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KAR, CATHERINE                       KARA BRADACH                           KARA GILL
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KARA HARRIS                          KARA LEE KOHN                          KARA RAW
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KARA SHAW                            KARAARSLAN, UMUT                       KARAASLAN, EZGI
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KARABA, SAMANTHA                     KARABACH, MONIQUE                      KARABATSOS, ANN
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KARABUSH, S                          KARADSHEH, AMBER                       KARAFFA, STEPHANIE
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KARAGIAS, XINIA                      KARAGUOZIAN, MONA                      KARAGUS, VICTORIA
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KARAH KASKA                          KARAH WEISER                           KARAHUTA, DAVID
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KARALEWICH, MORGAN                   KARALIC, NEDIM                        KARAM, BRANDON
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KARAM, JOE                           KARAMANOGLOU, CHRISTINE               KARAME, ARWA
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KARAMSETTY, MADHU                    KARAN, ASHLYN                         KARAN, ESEN
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KARANDE, ATUL                        KARANDRIKAS, VIRGINIA                 KARANJA, JOSEPHINE
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KARANTZA, ADINA                      KARARA, ERIN                          KARAS, BRITTANY LEE
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KARAS, DOMINIQUE                     KARAS, FOTINI                         KARAS, KRISTEN
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KARASCH, DAN                         KARASEWSKI, ABBY                      KARASINSKI, MARIE
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KARATSOREOS, ILIA                    KARAVADRA, NAYAM                      KARAVATTUVEETIL, YASMINE
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KARBASI, NADIA                       KARBERG, JENNIFER                     KARBOWSKI, LAUREN
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KARCH, KRISTA         Case 22-11238-LSS    Doc
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KARCIC, KRISTINA                     KARCY LAWSON                          KARCZEWSKI, KATE
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KARCZEWSKI, KIRK                     KARD FINANCIAL, INC.                  KARDASHIAN, ARA
ADDRESS AVAILABLE UPON REQUEST       PO BOX 1427                           ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10159




KARDELL, KAREN                       KAREN A KENZEL-COOPER                 KAREN ALLENBY
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KAREN ARSENAULT                      KAREN BAIL                            KAREN BOUCHEY
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KAREN CENTENO                        KAREN CORSO                           KAREN DAWSON
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KAREN DJUANDA                        KAREN ELIZABETH EPSTEIN               KAREN HAWKINS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        (REBELLIOUS WOMENS MEDIA LLC)
                                                                           8 E. RANDOLPH ST., UNIT 2206
                                                                           CHICAGO, IL 60601




KAREN J DEMATTEO                     KAREN JACKSON                         KAREN K MILLER
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KAREN LEE                            KAREN M DUFFY                         KAREN MARIE WIEDERKEHR
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KAREN NATER-PINEIRO                  KAREN RANGER                          KAREN RUTZ
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KAREN SCHERER         Case 22-11238-LSS    Doc 2 Filed 11/30/22
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KAREN WALLACE                        KAREN WEEKS                           KAREN YAMMEL RODRIGUEZ GARCIA
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KAREN                                KAREN, FONG                           KAREN, GUILLOT,
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KAREN, TARA                          KARENA HALVORSSEN                     KARETTIS, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAREY, NICOLE                        KARG, JOSH                            KARGO GLOBAL, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        826 BROADWAY, 4TH FLOOR
                                                                           NEW YORK, NY 10003




KARGOL, JANET                        KARI KELLOW                           KARI MRNAK
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KARI RIDDELL                         KARI TUCZYNSKI                        KARIC, HANIFA
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KARIDES, STEPHANIE                   KARIM, AVA                            KARIM, IMRAN
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KARIM, SANAM                         KARIMIPOUR, SARA                      KARIN HART
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KARIN HART                           KARIN LYNN ANDERSON                   KARIN MORTELLARO
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KARIN VAN HOFF        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KARINGAL, ANNA                       KARISSA TEMPLE                        KARIUKI-CHRISTIE, ERMINA
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KARKANITSA, MARIA                    KARL ERIK BAKER                       KARL FULTON
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KARL GOSSETT                         KARL KENT DITTMER JR                  KARL MAZEIKA ENGLERT
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KARL STELTER                         KARL STINE                            KARL, ERIN
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KARL, JIMMY                          KARL, JONATHAN                        KARL, KRISTIN
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KARL, SARAH                          KARLA GIAMBERARDINO                   KARLA KUJAT
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KARLAC, KARLA                        KARLBERG, GINNY                       KARLENE MAIOLINO
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KARLIE LEIKEL                        KARLIK, KIERSTIN                      KARLIK, MALLORY
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KARLIN, JACOB                        KARLOVICH, DAWN                       KARLS, ISABELLA
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KARLS, MYELLA         Case 22-11238-LSS    Doc
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                                                                           KARLSRUD, INGRID
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KARLSSON, ANNE                       KARLSSON, LYDIA                        KARMANIAN, ALISON
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KARMARKAR, TARUJA                    KARMARKAR, VIKRAM                      KARMIN, KATIE
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KARMINDER SINGH                      KARN BARKER, HEIDI                     KARNASH, TAYLOR
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KARNELL, LUCY AND MICHAEL            KARNER, ALISON                         KARNER, RACHEL
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KARNER, RUTH                         KARNER, SARA                           KARNES, CASEY
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KARNES, JOE                          KARNES, NICHOLE                        KARNEY, MICHAEL
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KARNIK, BETH                         KARNISH, THERESA                       KARNOFF, TROY
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KARNS, BRIAN                         KARNS, DORETTA                         KAROL, JOHN
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KAROL, JULIANA                       KAROL, KEN                             KAROL, MARGARET
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KAROL, VIVIENNE       Case 22-11238-LSS
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                                                                           KAROLINE DANG KIM
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KARON M NICHOLS                      KARONIS, DANIELLE                      KAROUTSOS, EIRINI MELENA
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KARP, DANIELLE                       KARP, HEATHER                          KARP, JOELLE
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KARP, KELLY                          KARP, ROBYN                            KARP, SAMANTHA
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KARPEN, BROOKE                       KARPENKO, ANNA                         KARPENKO, ELLENA
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KARPF, HEATHER                       KARPF, KERRY                           KARPIE, ANNA
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KARPINSKI, MALAINA                   KARPINSKI, MICHAEL                     KARPIUK, RICK
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KARPOFF, KATE                        KARPUS, KELLY                          KARR, ERICA
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KARR, KELLY                          KARR, MARGARET                         KARR, MARINA
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KARR, MATT                           KARRAS, YVONNE                         KARRASCH, KAI
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KARRASCH, ZACHARY     Case 22-11238-LSS
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KARRIE ALIT                          KARRIE SCHWARTZ                         KARSAKOW, MATTHEW
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KARSCIG, MADISON                     KARSHENAS, JASMINE                      KARSKY, MICHAEL
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KARSLIOGLU, MUGE                     KARSON RAZA GHULAMALI                   KARSON, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KARSTEN, SHANNON                     KARSTENS, ELISE                         KARSTENS, ROSALYNN
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KARTANO, AMANDA                      KARTELL                                 KARTEN, OLIVIA
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KARTHA, DR GANESH                    KARTHAN, KAYLENE                        KARTHE, ADRIANA
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KARTHEEK PULAVARTHI                  KARTHEISER, MARY                        KARTHIK AVADHANAM
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KARTIK PATEL                         KARTLER, ANDREA                         KARTSOUNES, JIM
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KARU, YULIA                          KARUNAKARAN, AKSHAYA                    KARUNAN, SARAN
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KARVE, MRUNMAYI       Case 22-11238-LSS    Doc
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                                                                           KARWANYUN, SVARINA
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KARWASINSKI, ASHLEY                  KARWAT, ARIEL                         KARWATH, KIMBERLY
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KARWISCH, EMILY                      KARWISCH, KRISTE                      KARWOSKI, HOPE
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KARWOSKI, KIM                        KARWOWSKI, CHRISTINE                  KARY, NATALIE
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KARYNA AINSWORTH                     KARYNA, KRASUTSKAYA,                  KARZEN, JENNY
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KARZENOWSKI, ABBY                    KASAB, ANNE                           KASARANENI, ISWARYA
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KASAREUSKI, DZMITRY                  KASBERG, BRANDON                      KASBERG, KATELYN
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KASBO, DAVID                         KASCAK, TANYA                         KASCH, NANCY
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KASCHMITTER, JANAE                   KASCIK, ELYSE                         KASDAN, PATRICIA
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KASE, KAYLIA                         KASEE, KRISTIN                        KASEKE, KUDAKWASHE
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KASENENE, JESSICA     Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KASEY COLLIGAN                       KASHA, BRITTANY                       KASHANI, MARISSA
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KASHANIPOUR, LEILA                   KASHDAN, KATE                         KASHIWAGI, JASON
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KASHNER, DEANNA                      KASHOUTY, PAULA                       KASHUK, EVA
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KASHYAP, NANDINI                     KASICH, STEVE                         KASIK, ALLY
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KASIN, DANIEL                        KASK, SUSAN                           KASKO, JOHN
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KASKY, STEPHEN                       KASL, THOMAS                          KASM, CHRISTINA
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KASMARICK, JENNIFER                  KASMIN, PETER                         KASPAR, ALICE
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KASPAR, ASHLEY                       KASPAR, KAMI                          KASPAR, KELLI
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KASPAROVA, INNA                      KASPER, ALYSSA                        KASPER, AMBER
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KASPER, DONNA         Case 22-11238-LSS
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KASPER, JOHN & CARRIE                KASPER, KAITLIN                       KASPER, KATIE
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KASPER, SHANE                        KASPER, TAMI                          KASPEREK, NICOLE
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KASPERKOWICZ, JULIA                  KASPEROWICZ, BRIANNA                  KASPERSKI, ALEX
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KASPRZYK, NICOLE                     KASPRZYK, NYAH                        KASRAVI, MARY PAT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KASS, JOSEPH                         KASS, MICHAEL                         KASSA, KYLE
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KASSAB, DANIEL                       KASSEL, MATT                          KASSELMAN, KIRA
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KASSIK, SALEM                        KASSIS, BEN                           KASSNER, JOSEPH
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KAST, PATRICIA                       KASTANEK, JILL                        KASTANOS, SOPHIA
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KASTBERG, JOANNE                     KASTEN, ASHLEY                        KASTEN, CAMERON
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KASTEN, DOREEN        Case 22-11238-LSS
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KASTEN, MELANIE                      KASTER, JESSICA                       KASTIYA, SHUBHA
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KASTLER, SAMANTHA                    KASTNER, KATIE                        KASTNER, KERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KASTNER, KRISTIN                     KASTNER, ROBERT                       KASTNER, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KASTNER, STEVE                       KASTNER-PANYA, ANTJE                  KASTRUP, GUSTAVO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KASUKURTHI, NAVYA SRI                KASULA, KATELYN                       KASULONES, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KASUN, RENEE                         KASVEN, BARRY                         KASWORM, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KASYANENKO, SIMA                     KASZUBA, NIKI                         KASZUBA, ROBERTA
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KAT FENSTERMAKER                     KATA, CAROLINE                        KATALINA, JENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATAOKA, KYOKO                       KATARINA KIELECZAWA                   KATCHER, JARED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KATCHMAR, CAITLIN     Case 22-11238-LSS    DocSEAN
                                     KATCHMAR,  2 Filed 11/30/22      Page 2529 of 5495
                                                                           KATCHMARK, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATE BADERTSCHER                     KATE BERRY                            KATE FORGY
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KATE HARNDEN                         KATE MEYER                            KATE NICHOLS
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KATE WAGNER                          KATE, LAURA                           KATE, MARY
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KATE, MARY                           KATECHIS, HOLDEN                      KATELYN EVANS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATELYN HAYES                        KATELYNN SPUNAUGLE                    KATERIDGE SANTOS, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATES, BEAUFORD                      KATES, ELISE                          KATH, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATH, SUSAN R                        KATHARINE NAULT                       KATHER, ERIK
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KATHERINE ALEXANDRA PICKARD          KATHERINE AMATO                       KATHERINE ANDREWS
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KATHERINE BLOMMER                    KATHERINE BUTZLAFF                    KATHERINE CHAN
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KATHERINE CONRAD      Case 22-11238-LSS    DocFOSSITT
                                     KATHERINE  2 Filed 11/30/22      Page 2530 of 5495
                                                                           KATHERINE GRACE EVERETT
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KATHERINE LYNN GIROTTI               KATHERINE MCKEEN                       KATHERINE O’LEARY
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KATHERINE ODELL                      KATHERINE PEGRAM                       KATHERINE PFISTER
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KATHERINE RICHARDSON                 KATHERINE SUN                          KATHERINE, KARLSGODT,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KATHERINE, MARY                      KATHERYN SHERWOOD                      KATHLEEN A KLEIN
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KATHLEEN ANN BUTITTA                 KATHLEEN ANNE WHALEN                   KATHLEEN CAROSI
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KATHLEEN COSS                        KATHLEEN DISA                          KATHLEEN FAZIO
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KATHLEEN HUGHES                      KATHLEEN KARPUS                        KATHLEEN KRINER
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KATHLEEN LILLIAN PELUSO              KATHLEEN M COLBERT                     KATHLEEN M STEPHENS
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KATHLEEN MCQUAID HOLDRIDGE           KATHLEEN PENLAND                       KATHLEEN SNEAD
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KATHLEEN SORGE        Case 22-11238-LSS     Doc
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                                                                           KATHMAN, GRACE
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KATHMAN, KELLI                       KATHOL, MARIA                         KATHOPOULIS, FOTINI
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KATHRYN FITZGERALD                   KATHRYN FOGARTY                       KATHRYN FUJIKAWA-DAVIS
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KATHRYN GEORGE                       KATHRYN HEAD AYCOCK MCMURRY           KATHRYN HILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATHRYN JOANNE LAW                   KATHRYN KENNEDY WINERY                KATHRYN LESLEY HANARA
ADDRESS AVAILABLE UPON REQUEST       13180 PIERCE RD                       ADDRESS AVAILABLE UPON REQUEST
                                     SARATOGA, CA 95070-4212




KATHRYN MAITREJEAN                   KATHRYN MCKEE                         KATHRYN NILES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATHRYN SPAAN                        KATHRYN SPROUSE                       KATHRYN SUTHERLAND
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KATHRYN THERESA KING                 KATHRYN WEAVER                        KATHRYN, PANZERI,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATHY ANN THORNBURG                  KATHY HARRISON ALLEN                  KATHY JO COOKSON
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KATHY NOKLEBY                        KATHY PROKOPIAK                       KATHY REECE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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                                                                           KATIE CHARTER
KATHYMOHLER                          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ADDRESS AVAILABLE UPON REQUEST




KATIE COLLEY                         KATIE DELANEY                         KATIE FOLMER
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KATIE GRAHAM                         KATIE KEATING                         KATIE LACROIX
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KATIE MACONES                        KATIE MURREY                          KATIE OWEN
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KATIE OWEN                           KATIE PIERCE                          KATIE STRICKER
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KATIE VOKEL                          KATIE WAHLQUIST                       KATIE WATERS
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KATIE WEINHOLT                       KATINGER, JAKE                        KATKOVCIN, MEREDITH
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KATO, MORGAN                         KATONA, DIANE                         KATRINA A CANTERBURY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KATRINA CROCKETT                     KATS PEST SOLUTIONS, INC.             KATS PEST SOLUTIONS, INC.
ADDRESS AVAILABLE UPON REQUEST       1445 HUNTINGTON DR., STE. 325         P.O. BOX 3321
                                     SOUTH PASADENA, CA 91030              SOUTH PASADENA, CA 91030




KATSIS, JILL                         KATSNELSON, VIKTORIYA                 KATSUKI, SHELLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KATTAK, ASHLEY        Case 22-11238-LSS
                                     KATTAN,Doc 2 Filed 11/30/22
                                            REEMA                     Page 2533
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KATTERHAGEN, SHARI ANN               KATTIS, SHARI                         KATTOS, ERIN
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KATTREIN, JAMIE                      KATUSIN, CHARLES                      KATWAROO, MIRIAM
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KATYAL, RAJ                          KATZ, AARON                           KATZ, AMANDA
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KATZ, AMY                            KATZ, AURORA                          KATZ, BENJAMIN
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KATZ, BETSY                          KATZ, CHRISTINA                       KATZ, EMILY
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KATZ, EMILY                          KATZ, EMILY                           KATZ, ERICA
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KATZ, HANNAH                         KATZ, HEATHER                         KATZ, LAUREL
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KATZ, LAUREN                         KATZ, LAUREN                          KATZ, MEREDITH
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KATZ, MICHAEL                        KATZ, MICHELLE                        KATZ, MIKE
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KATZ, NOAH            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KATZ, QUINCEY                    Page 2534   of 5495
                                                                           KATZ, REBECCA
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KATZ, SIMONE                         KATZ, STEVE                           KATZ, SUZIE
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KATZ, TALIANA                        KATZ, ZACK                            KATZEN, ABBEY
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KATZEN, ANITA                        KATZEN, JACKIE                        KATZEN, JESSICA
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KATZENBACH, ALLITA                   KATZENBERG, SUSAN                     KATZMAN, DAVID
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KATZMAN, JUHEE                       KATZOFF, DELCY                        KAUBLE, WES
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KAUFFMAN, ALEX & ALEX                KAUFFMAN, ANGELA                      KAUFFMAN, ASHLEY
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KAUFFMAN, BRANDY                     KAUFFMAN, CAITLIN                     KAUFFMAN, DEANNA
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KAUFFMAN, DON                        KAUFFMAN, ERIC                        KAUFFMAN, HANNAH
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KAUFFMAN, JOHNNA                     KAUFFMAN, KEVIN                       KAUFFMAN, MEGAN
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KAUFFMAN, REBECCA     Case 22-11238-LSS    DocROBERT
                                     KAUFFMAN,  2 Filed 11/30/22      Page 2535 of 5495
                                                                           KAUFFMAN, SAMANTHA
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KAUFFMAN, SCOTT                      KAUFFMAN, SHEILA                      KAUFFMAN, SHRISTI
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KAUFFMAN, TANNER                     KAUFFMAN, WHITNEY                     KAUFFMAN, WILLIAM
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KAUFFMANN, JACKIE                    KAUFMAN, ALEX                         KAUFMAN, ALEX
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KAUFMAN, ALEXANDER                   KAUFMAN, ALEXIS                       KAUFMAN, ANDREA
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KAUFMAN, BRIAN                       KAUFMAN, BRIAN                        KAUFMAN, CASSIE
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KAUFMAN, CORY                        KAUFMAN, DANI                         KAUFMAN, DANIEL
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KAUFMAN, EMMA                        KAUFMAN, FREDERICK                    KAUFMAN, HEATHER
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KAUFMAN, JACKIE                      KAUFMAN, JAIME                        KAUFMAN, JEFFREY
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KAUFMAN, JESSICA                     KAUFMAN, KELLY                        KAUFMAN, KELLY
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KAUFMAN, LINDA TORRE Case 22-11238-LSS    Doc
                                    KAUFMAN,    2 Filed 11/30/22
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                                                                           KAUFMAN, LYNLEE
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KAUFMAN, MANDY                       KAUFMAN, MELANIE                      KAUFMAN, PETER
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KAUFMAN, RICHARD                     KAUFMAN, ROSEANN                      KAUFMAN, SARAH
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KAUFMAN, SARAH                       KAUFMAN, STEVE                        KAUFMAN, TAMMI
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KAUFMAN, TONYA                       KAUFMANN, JUDI                        KAUFMANN, KATELYN
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KAUFMANN, KURT                       KAUFMANN, LEAH                        KAUFMANN, NINA
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KAUK, CHANTELLE                      KAUKOLA, JACOB                        KAUL, BAL
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KAUMO, STACEY                        KAUNDINYA, PRATHIK                    KAUNE, LAURA
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KAUPEL, DEANNA                       KAUPHUSMAN, AMANDA                    KAUPKE, KATRINA
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KAUPPILA MORRIS, ANNA                KAUR, ELIZABETH                       KAUR, HARDEEP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KAUR, JASPREET        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KAUR, JENNIFER                   Page 2537   of 5495
                                                                           KAUR, JINPREET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAUR, KAMALJIT                       KAUR, NAVNEET                         KAUR, PARAMJIT
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KAUR, PRABHLEEN                      KAUR, RAJ                             KAUR, RAVNEET
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KAUR, RUBINDER                       KAUR, SIMRIT                          KAUR, SUKHNEET
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KAUR, TARAN                          KAURI AUSTRALIA (LP)                  KAUSHIK, GAURAV
ADDRESS AVAILABLE UPON REQUEST       616 ST KILDA ROAD ST KILDA            ADDRESS AVAILABLE UPON REQUEST
                                     VICTORIA 3182
                                     AUSTRALIA




KAUTEN, KAYLEE                       KAUTH, AMANDA                         KAUTH, EMALEE
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KAUTZ, ROSEMARY                      KAUTZA, JENNA                         KAUTZER, JENNIFER
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KAUTZMANN, RYAN                      KAUZLARICH, ALICE                     KAVAJA, JOANA
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KAVAJECZ, KEN                        KAVAKOGLOU, SOFIA                     KAVAN, BRITTANY
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KAVANA, DANIEL                       KAVANAGH, BRIAN                       KAVANAGH, KATIE
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KAVANAGH, KRISTEN     Case 22-11238-LSS    DocSHARI
                                     KAVANAGH,  2 Filed 11/30/22      Page 2538 of 5495
                                                                           KAVANAGH, TESS
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KAVANAGH, VALERIE                    KAVANAUGH, AUBREY                     KAVANAUGH, MEAGHAN
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KAVANAUGH, SYDNIE                    KAVICH, REBECCA                       KAVLICK, MARK
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KAVO, MAGGIE                         KAVOOSSI, BIJANJON                    KAVOURIAS, MARIA
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KAVUGHA, REHEMA                      KAVURI, LALITH                        KAWA, CATHERINE
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KAWAGUCHI, LESLEY                    KAWAGUCHI, MICHELLE                   KAWAHARA, TAKUMI
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KAWAKAMI, SASHA                      KAWAKAMI, SHELLY                      KAWAL, SONIA
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KAWASOE, KATHRYN                     KAWATA, CAITLIN                       KAWECK, JACKIE
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KAWECKI, LISA                        KAY B NORMAN                          KAY BRADY
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KAY GRIFFITH                         KAY MORRIS, KAY                       KAY RODENBUSCH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KAY, ANDREW           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KAY, BRAD                        Page 2539  of 5495
                                                                           KAY, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAY, EMILY                           KAY, HILLARY                          KAY, JANA
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KAY, JASON                           KAY, JEREMY                           KAY, KRISTIN
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KAY, MARISSA                         KAY, MARY                             KAY, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAY, ROBIN                           KAY, SARAH                            KAY, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAY, TRACEY                          KAYAJAN, KATHRYN                      KAYAK SOFTWARE CORPORATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        7 MARKET STREET
                                                                           STAMFORD, CT 06902




KAYATA, SAM                          KAYDA, REBECCA                        KAYE, GILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAYE, LACEY                          KAYES, MADELINE                       KAYL, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAYLA CRUZ                           KAYLA HILL                            KAYLA MAE BERNARDINO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAYLEE LEON-GING                     KAYLIE JOHNSON                        KAYLOR, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KAYLOR, KATELYN       Case 22-11238-LSS
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                                                                              KAYNOR, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




KAYS COUNTRY KITCHEN                    KAYSEE, PATIENCE                      KAYSER, BART
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAYSER, GRACE                           KAYSER, GREG & LESA                   KAYS-HENRY, WESLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAYTES, AUSTIN                          KAYTON, BARRY                         KAYWOOD, VANESSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAYWORTH, KENDALL                       KAYYALI, LAYLA                        KAZ, JOSEPH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAZADZIS, COLETTE                       KAZAKOVA, ANASTASIIA                  KAZANCIYAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAZANECKI, NORA                         KAZANOFF, AARON                       KAZAR, DEBBIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAZAR, LINDSEY                          KAZEM SADATI                          KAZENSKI, ROBB
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAZILIONIS, LEANNE                      KAZIMER-JOST, STEPHANIE               KAZLAUSKAS, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KAZLAUSKAS, MICHAEL                     KAZMERCYK, LORIANN C/O PAUL           KAZMIERCZAK, LARISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KAZMIERCZAK, MICHAEL Case 22-11238-LSS    Doc
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                                                                              KAZUNAS, 5495
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




KBF CPAS LLP                            KBPR GROUP INC.                       KC PRESSLEY, LLC
111 SW FIFTH AVE STE 1850               846 S BROADWAY APT 705                5205 NW 180TH WAY
PORTLAND, OR 97204                      LOS ANGELES, CA 90014                 STARKE, FL 32091




KCS CAFE                                KDS SERVICES LLC                      KE, DAVID
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEACH, SARAH                            KEADY, JENNIFER                       KEAGLE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEA-GLENN, TASHA                        KEAHEY, MISTY                         KEALY, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEANE, JACKIE                           KEANE, KELLY                          KEANE, KELLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEANE, KIRA                             KEANE, TIMOTHY                        KEANE, WENDYKLEIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEANEY, DYLANN                          KEANEY, LAURIE                        KEANEY, QUINN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEANINI, TIMOTHY                        KEAPPOCK, SUSAN                       KEARBEY, TAMMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEARIN, SARAH                           KEARNES, LOIS                         KEARNEY, BRIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEARNEY, CAROLINE     Case 22-11238-LSS    Doc
                                     KEARNEY,   2 Filed 11/30/22
                                              CHRISTINE               Page 2542 of 5495
                                                                           KEARNEY, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEARNEY, JENN                        KEARNEY, JESSICA                       KEARNEY, KAIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEARNEY, KIM                         KEARNEY, KRISTEN                       KEARNEY, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEARNEY, MEAGAN                      KEARNEY, MELINDA                       KEARNEY, RAYMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEARNEY, REILLY                      KEARNEY, SCOTT                         KEARNEY, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEARNS, ANNE MARIE                   KEARNS, ANNIE                          KEARNS, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEARNS, CONNIE                       KEARNS, DEETTE                         KEARNS, ELIZABETH
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KEARNS, EMMA                         KEARNS, JACQUELYN                      KEARNS, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEARNS, JAYNE                        KEARNS, JESSICA                        KEARNS, WALTER (WALLY)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEARNS, WILLIAM                      KEARNS, ZOE                            KEASEY, BREMEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
KEASLER, BENNETT      Case 22-11238-LSS     Doc
                                     KEASLING,   2 Filed 11/30/22
                                               JACOB                  Page 2543
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEATHLEY, DANIELLE                   KEATING, ANTHONY                      KEATING, CAITLIN
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KEATING, ELIZABETH                   KEATING, ERIN                         KEATING, KALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEATING, KATHERINE                   KEATING, KELSEY                       KEATING, KENNETH
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KEATING, KRYSTEN                     KEATING, MICHAELA                     KEATING, MIRANDA
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KEATING, MORGAN                      KEATING, NICOLE                       KEATING, RUSS
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KEATING, STACEY                      KEATING, URSULA                       KEATNS, ASHLEY
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KEATON, ASHLEY                       KEATON, HEATHER                       KEATON, JAY
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KEATON, MIKAILA                      KEATTS, JANET                         KEATTS, NICHOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEATTS, VERONICA                     KEAVENEY, SANDRA                      KEAVENY, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEAYS, MADYSON        Case 22-11238-LSS
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                                                                           KEBEDE, 5495
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KECES, NATASHA                       KECHELY, DEBI                         KECHRIS, DEMETRIOS
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KECK, ADRIAN                         KECK, DAVID                           KECK, JESSICA
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KECK, KATHLEEN                       KECK, KAYLEE                          KECK, LISA
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KECK, SARA                           KECK, TAYLOR                          KECK, VANESSA
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KECMER, PAULINE                      KECSKES, MICHAEL                      KEDDIE, PHILLIP
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KEDORA, DIANA                        KEDROSKE, KIRBY                       KEDY, LINDSAY
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KEE, CANDACE                         KEE, JENNIFER                         KEE, TERRY
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KEEBLER, EMELY                       KEEBLER, GENA                         KEEBLER, KRISTEN
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KEECH, HOLLY                         KEEFE, BRYAN                          KEEFE, JESSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEEFE, KATHERINE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KEEFE, KRISTINA                  Page 2545
                                                                           KEEFE, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEEFER, AIDAN                        KEEFER, JENNIFER                       KEEFER, NICHOLAS
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KEEFER, SAGE                         KEEGAN, ALAN                           KEEGAN, ALEXIS
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KEEGAN, ALICIA                       KEEGAN, CARLENE                        KEEGAN, KULRAVEE
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KEEGAN, LAURA                        KEEGAN, LISA                           KEEGAN, MAXFIELD
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KEEGAN, MONIQUE                      KEEGAN, SUSAN                          KEEGAN, TERESA
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KEEHAN, KAREN                        KEEHAN, MCKENZIE                       KEEHAN, SHANNON
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KEEHN, KD                            KEEL, ELLEN                            KEEL, ERICA
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KEEL, HAYLEY                         KEEL, LORENE                           KEEL, MELODY
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KEELER, BRECCA                       KEELER, BRIDGET                        KEELER, CAPRIANNA
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KEELER, JENNIFER      Case 22-11238-LSS
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KEELER, RACHEL                       KEELER, RUTH                            KEELER, SARAH
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KEELEY, KRIS                         KEELING, ANDREA                         KEELING, ERIN
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KEELING, JAMES                       KEELING, JAMIE                          KEELING, MAGGIE
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KEELING, RICHMOND                    KEELTY, ALEXANDRA                       KEELTY, ANNABEL
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KEELY WILLIAMS                       KEEN IO                                 KEEN, ABBI
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KEEN, AMY                            KEEN, ANITA                             KEEN, DAWN
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KEEN, HANNAH                         KEEN, IRIS                              KEEN, JONATHAN
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KEEN, JUSTIN                         KEEN, KIMBERLEE                         KEEN, STEFANIE
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KEEN, WALT                           KEEN.IO                                 KEENA, LAUREN
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KEENA, LINDA          Case 22-11238-LSS    Doc KARA
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                                                                           KEENAN, 5495
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KEENAN, ANNE                         KEENAN, BRIDGET                       KEENAN, BROOKE
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KEENAN, HALEY                        KEENAN, JAMES                         KEENAN, JENNIFER
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KEENAN, JOHN                         KEENAN, JONATHAN                      KEENAN, JOSEPH
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KEENAN, LIANE                        KEENAN, LISA                          KEENAN, MAGGIE
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KEENAN, ROBERT                       KEENAN, ROSANNA                       KEENAN, RYAN
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KEENAN, RYAN                         KEENAN, SUZANNE                       KEENE, ANDREW
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KEENE, ASHLEY                        KEENE, CELEY                          KEENE, KELLY
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KEENE, LINDA                         KEENE, RUTHIE                         KEENE, TIFFANY
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KEENER, DAVID                        KEENER, EMILY                         KEENER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEENER, REBECCA       Case 22-11238-LSS
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                                                                           KEENEYof 5495STEPHANIE
                                                                                  PARKS,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEENEY, ADAM                         KEENEY, ALISON                        KEENEY, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEENEY, COURTNEY                     KEENEY, KRISTEN                       KEENEY, REGINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEENHOLD, CATHERINE                  KEEP HOLDINGS, INC.                   KEES, GLORIBEL
ADDRESS AVAILABLE UPON REQUEST       261 MADISON AVE. 9TH FLOOR            ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10016




KEESE, MEKENZIE                      KEESEE, RODNEY                        KEESTER, SABRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEETCH, DEBBIE                       KEETON, ABBEY                         KEETON, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEETON, ROBIN                        KEETON, SCOTT                         KEEVE, CHERYL
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KEEVEN, EMILY                        KEEVEN, KELLY                         KEFALAS, GIANNA
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KEFALOINKAS, LIA                     KEFFEL, CAROL                         KEFFER, ROHY
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KEFFER, ROHY                         KEFT, NATHALIE                        KEGAN, NED
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KEGERIS, CAROLYN      Case 22-11238-LSS    Doc
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                                                                              KEGGINS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




KEGHAN R HURST                          KEGLER, MAUREEN                       KEGLEY, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEGWORKS                                KEHLENBECK, DEVYN                     KEHM, TRACI
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEHNEMUI, SHARON                        KEHOE, IDA                            KEHOE, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEHOE, MARGARET                         KEHOE, MICHAEL                        KEHOE, SARAH
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KEHRER, BETH                            KEHRLI, EILEEN                        KEHRLI, KEVIN
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KEI, NATHAN                             KEICH, KATELYN                        KEIDRA D CHANEY
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KEIGHER, ALLIE                          KEIGHLEY, MARTIN                      KEIL, ALLISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEIL, KATARINA                          KEIL, KIM                             KEIL, KIRSTEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEILA CROSBY                            KEILA, LORRIE                         KEILER, AMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEILER, JENNIFER      Case 22-11238-LSS
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                                                                           KEILLOR, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEILMAN, CICI                        KEIM, ASHLEY                          KEIM, HELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEIM, KELLY                          KEIM, TED                             KEIM, TRACY
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KEINER, MARIE                        KEIPER, WHITNEY                       KEIR, MEGAN
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KEIR, RACHEL                         KEIRSTEAD, GEORGEANNE                 KEISER, REBECCA
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KEISER, RITA                         KEISHA AVILES                         KEISHA CHAPMAN
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KEISKI, EMMA                         KEISLING, TUCKER                      KEISS, MELISSA
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KEISUKE NATSUME                      KEITH BINAM                           KEITH CORVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEITH D BARGA                        KEITH HADLEY CONSULTING, LTD          KEITH HALE
ADDRESS AVAILABLE UPON REQUEST       509 BRYANT AVE                        ADDRESS AVAILABLE UPON REQUEST
                                     GLEN ELLYN, IL 60137




KEITH KINSEY                         KEITH LASSITER                        KEITH NATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEITH RADZIK          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KEITH SPLAWN                     Page 2551  of 5495
                                                                           KEITH WILLIAM LEMCKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEITH WONG                           KEITH YOUNG                            KEITH YOUNG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEITH, ABBIGAIL                      KEITH, AKAYLA                          KEITH, BERNIE
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KEITH, BRITTNEY                      KEITH, CAROLINE                        KEITH, CAROLINE
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KEITH, CAROLINE                      KEITH, DAVID                           KEITH, DAWN
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KEITH, DERA                          KEITH, ELIZABETH                       KEITH, HELEN
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KEITH, IAIN                          KEITH, JESSICA                         KEITH, LAUREN
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KEITH, LORI                          KEITH, MICHAEL                         KEITH, MONICA
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KEITH, NICOLE                        KEITH, REGINA                          KEITH, RYAN
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KEITH, SHANNON                       KEITH, SHANNON                         KEITH, SHELBY
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KEITH, STEPHEN        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KEITH, TONYA                     Page 2552   of 5495
                                                                           KEITH, TRACI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEIZUR, CRAIG                        KEKAHBAH, MERAENDA                    KEKLLAS, MARY JO
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KEKST, PAMELA                        KEKSTADT, JACK                        KEKUEWA, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KELAND, KAREN ONNOLEE                KELATI, YOBIEL                        KELCEY FISHER (KFISH)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KELCEY FISHER (KFISH)                KELDER, CARRIE                        KELDERMAN, NICHOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KELEGHAN, KAITLYN                    KELEHER, DANA                         KELEHER, GABRIELLE
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KELEMEN, NICOLE                      KELESHIAN, CARY                       KELFER, ADAM
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KELIINOI, STACIE                     KELKAR, NEIL                          KELKAR, RUCHA
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KELLA, MICHAEL                       KELLAM, DONNA                         KELLAM, JOSH
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KELLAR, JACQUELYN                    KELLAR, MOLLY                         KELLAR, STACEY
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KELLAR, TESSA         Case 22-11238-LSS
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                                                                           KELLEHER, CORINNE
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KELLEHER, DEBRA                      KELLEHER, JESSICA                      KELLEHER, KRISTEN
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KELLEHER, MACKENNA                   KELLEHER, MACKENZIE                    KELLEHER, MADELINE
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KELLEHER, MADISON                    KELLEHER, MARY                         KELLEHER, RHYAN
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KELLEMAN, NICOLE                     KELLEN NEWHOUSE                        KELLEN, JAMES
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KELLENBERGER, DOUG                   KELLER, ABIGAIL                        KELLER, ASHLEY
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KELLER, ASHLEY                       KELLER, CAROLYN                        KELLER, CELIA
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KELLER, CHRIS                        KELLER, CHRISTINA                      KELLER, CHRISTINA
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KELLER, CHRISTOPHER                  KELLER, CLINT                          KELLER, COLETTE
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KELLER, COURTNEY                     KELLER, CRYSTAL                        KELLER, DAEGON THE BIG BOY
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KELLER, DAN           Case 22-11238-LSS
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KELLER, DONOVAN                      KELLER, ELIZABETH                     KELLER, ERIN
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KELLER, ERIN                         KELLER, GRACE                         KELLER, HALEY
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KELLER, HAYLEY                       KELLER, JASON                         KELLER, JEFF
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KELLER, JEN                          KELLER, JENNIFER                      KELLER, JESSICA
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KELLER, JORDAN                       KELLER, JOSEPH                        KELLER, JOSEPH
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KELLER, JOYCE                        KELLER, KAREN                         KELLER, KAREN
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KELLER, KATE                         KELLER, KATIE                         KELLER, KATIE
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KELLER, KAYLA                        KELLER, KERYN                         KELLER, KIMBERLEE
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KELLER, KRISTINE                     KELLER, LAUREN                        KELLER, LISA
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KELLER, MALLORI       Case 22-11238-LSS
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KELLER, MEGAN                        KELLER, NATALIE                       KELLER, NATALIE
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KELLER, NICOLE                       KELLER, NICOLE                        KELLER, REBECCA
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KELLER, SARA                         KELLER, SCIERRA                       KELLER, STEVEN
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KELLER, TARYN                        KELLER, VALERIE                       KELLER, VICTORIA
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KELLERHOUSE, ELISA                   KELLERHOUSE, MEGAN                    KELLERMAN, ELAINE
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KELLERMAN, KATIE                     KELLERMAN, MELINDA                    KELLETT, ALICIA
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KELLEY, ALLISON                      KELLEY, ALYSSA                        KELLEY, AMANDA
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KELLEY, ANDREA                       KELLEY, ANGIE                         KELLEY, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KELLEY, ANNA                         KELLEY, ASHLEY                        KELLEY, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KELLEY, BREANNA       Case 22-11238-LSS
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                                                                           KELLEY,of 5495
                                                                                   BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KELLEY, BRIDGETT                     KELLEY, CAITLYN                        KELLEY, CALEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KELLEY, CAROLINE                     KELLEY, CHAZ                           KELLEY, CHESLEY
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KELLEY, COLLEEN                      KELLEY, DANIELLE                       KELLEY, DEBRA
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KELLEY, DOLORES                      KELLEY, ELIANE                         KELLEY, ERIKA
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KELLEY, ERIN                         KELLEY, ERIN                           KELLEY, HALEY
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KELLEY, ISAMAR                       KELLEY, JACLYN                         KELLEY, JAIME
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KELLEY, JAY                          KELLEY, JENIKA                         KELLEY, JOHN
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KELLEY, KAITLYN                      KELLEY, KAREN                          KELLEY, KATHERINE
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KELLEY, KAYLA                        KELLEY, KELSEY                         KELLEY, KENNETH
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KELLEY, KIMBERLY      Case 22-11238-LSS
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                                                                                   KRISTINA
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KELLEY, KRISTINE                     KELLEY, LAURA                          KELLEY, LAUREN
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KELLEY, LAUREN                       KELLEY, LINDSEY                        KELLEY, LOUISE
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KELLEY, LUDA                         KELLEY, MACKENZIE                      KELLEY, MEGAN
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KELLEY, MEGAN                        KELLEY, MELISSA                        KELLEY, MICHAEL
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KELLEY, MORGAN                       KELLEY, RACHEL                         KELLEY, REBECCA
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KELLEY, RESSA                        KELLEY, RICHARD                        KELLEY, ROBIN
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KELLEY, RYAN                         KELLEY, RYAN                           KELLEY, SAMANTHA
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KELLEY, SCOTT                        KELLEY, SEAN                           KELLEY, SEAN
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KELLEY, SHANNON                      KELLEY, SHANNON                        KELLEY, SHARON
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KELLEY, SHEILA        Case 22-11238-LSS
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KELLEY, TEALE                        KELLEY, TERRANCE                      KELLEY, TESSA
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KELLEY, TIFFANY                      KELLEY, TUCKER                        KELLI FINN
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KELLI GRIMM                          KELLI MARIE YEAGER                    KELLI SPARKS
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KELLI STREBIN                        KELLIE ANNE BARTHOLOMEW               KELLIE JOHNSICK
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KELLIE MCNAMARA                      KELLIE MULLINAX                       KELLIHER, CAIT
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KELLIHER, CHRISTINE                  KELLIHER, CURTIS                      KELLIHER, PATRICK
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KELLING, JENNIFER                    KELLLY REEVES                         KELLMAN, ALYCIA
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KELLMAN, CLAYTON                     KELLNER, DANA                         KELLNER, DEANNE
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KELLNER, MADELYN                     KELLNER, SARAH                        KELLOGG, BETH
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KELLOGG, CAITLIN      Case 22-11238-LSS    Doc
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                                                                           KELLOGG, CHRISTIE
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KELLOGG, JENNY                       KELLOGG, JESSICA                       KELLOGG, JESSIE
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KELLOGG, MARY                        KELLOGG, REBECCA                       KELLOWAY, APRIL
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KELLUM, MAGGIE                       KELLUM, MILES                          KELLY ARROTTI
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KELLY B BAKER                        KELLY BENDER                           KELLY BERGE
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KELLY BRAUD                          KELLY BUCHHEIT                         KELLY DESGROSSEILLIERS
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KELLY DEVLIN                         KELLY DYE                              KELLY ERIN DEVLIN
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KELLY HOLDER                         KELLY J STORCK                         KELLY JARZOMBEK
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KELLY KAMSTRA                        KELLY KIRBY ANKLE                      KELLY KONIKOWSKI
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KELLY L MARINKOVICH                  KELLY LEONARD                          KELLY LYNCH
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KELLY PUVOGEL                        KELLY SCHMIDT KENEFICK                KELLY SEGARS
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KELLY STAM                           KELLY STRACK                          KELLY THOMPSON, KEISHA
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KELLY, ABIGAIL                       KELLY, ADAM                           KELLY, ADAM
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KELLY, AINSLEY                       KELLY, ALEX                           KELLY, ALLI
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KELLY, ALLISON                       KELLY, ALYSSA                         KELLY, AMANDA
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KELLY, AMANDA                        KELLY, AMANDA                         KELLY, ANNE
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KELLY, ARLENE                        KELLY, ASHLEY                         KELLY, AVERY
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KELLY, BRENDAN & MIKA                KELLY, BRENDAN                        KELLY, BRIAN
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KELLY, BRIDGET                       KELLY, BRIDGET                        KELLY, BRITTANI
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KELLY, BRYNN          Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KELLY, CARLOS                        KELLY, CARMEN                         KELLY, CAROLE
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KELLY, CARON                         KELLY, CARRIE                         KELLY, CASSIE
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KELLY, CHRIS                         KELLY, CHRISTINA                      KELLY, CHRISTINE
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KELLY, CHRISTOPHER                   KELLY, CYNTHIA                        KELLY, DANA
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KELLY, DANIELLE                      KELLY, DEJON                          KELLY, DENNIS
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KELLY, DENNIS                        KELLY, DEVIN                          KELLY, DIANA
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KELLY, DILLON                        KELLY, DOMINIQUE                      KELLY, ELEANOR
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KELLY, ELIZABETH                     KELLY, ELOISE                         KELLY, ERIN
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KELLY, ERIN                          KELLY, ERIN                           KELLY, ERIN
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KELLY, HELENE                        KELLY, HOPE                           KELLY, IREENE
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KELLY, IRENE                         KELLY, J                              KELLY, JACK
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KELLY, JACKIE                        KELLY, JACQUELINE                     KELLY, JACQUELINE
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KELLY, JAMES                         KELLY, JAMES                          KELLY, JAMIE
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KELLY, JASON                         KELLY, JB                             KELLY, JEAN
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KELLY, JEAN                          KELLY, JENNIFER                       KELLY, JENNY
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KELLY, JESS                          KELLY, JOAN                           KELLY, JOE & CONNIE
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KELLY, JOE & MARIA                   KELLY, JOE                            KELLY, JORDAN
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KELLY, KAITLYN                       KELLY, KAREN                          KELLY, KATE
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KELLY, KATE           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KELLY, KATELIN                   Page 2563
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KELLY, KATHERINE                     KELLY, KATHLEEN                        KELLY, KATHRYN
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KELLY, KATHRYN                       KELLY, KATRINA                         KELLY, KAYTLIN
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KELLY, KEIRA                         KELLY, KENDRA                          KELLY, KERBY
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KELLY, KEVIN                         KELLY, KEVIN                           KELLY, KEVIN
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KELLY, KIM                           KELLY, KIMBERLY                        KELLY, KRISTEN
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KELLY, KRISTIE                       KELLY, KRISTIN                         KELLY, KRISTIN
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KELLY, KRISTIN                       KELLY, KRISTINA                        KELLY, LAKIN
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KELLY, LANCE                         KELLY, LAUREN                          KELLY, LAUREN
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KELLY, LAUREN                        KELLY, LAUREN                          KELLY, LEIGH ANN
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KELLY, LENORE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KELLY, LINDA                         KELLY, LIQUIDATEDFLESHHOTMAIL.COM        KELLY, LISA MARIE
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KELLY, LISA                          KELLY, LISA                              KELLY, LORI
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KELLY, LOUISE                        KELLY, LYNCH,                            KELLY, MADELINE
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KELLY, MAIDA                         KELLY, MAKENA                            KELLY, MARDELL
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KELLY, MARIE                         KELLY, MARY                              KELLY, MARY
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KELLY, MARY                          KELLY, MASON                             KELLY, MATT
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KELLY, MEAGAN                        KELLY, MEAGHAN                           KELLY, MEG
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KELLY, MEGAN                         KELLY, MEGAN                             KELLY, MEGHAN
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KELLY, MEGHAN                        KELLY, MEGHAN                            KELLY, MELISSA
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KELLY, MEREDITH       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KELLY, MICHAEL                   Page 2565
                                                                           KELLY, of 5495
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KELLY, MICHELLE                      KELLY, MICHELLE                       KELLY, MINDY
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KELLY, MOMMA                         KELLY, NATALIE                        KELLY, NICOLE
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KELLY, NICOLE                        KELLY, NICOLETTE                      KELLY, NIKOLE
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KELLY, OLIVIA                        KELLY, PARKER                         KELLY, PAT
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KELLY, PATRICIA                      KELLY, PATRICIA                       KELLY, PATRICK
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KELLY, PATTY                         KELLY, PAUL V                         KELLY, PAUL
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KELLY, QUINCI                        KELLY, REBECCA                        KELLY, REGAN
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KELLY, RYAN                          KELLY, RYAN                           KELLY, SADIE
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KELLY, SAMANTHA                      KELLY, SAMANTHA                       KELLY, SAMANTHA
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KELLY, SARAH          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KELLY, SARAH                     Page 2566
                                                                           KELLY, of 5495
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KELLY, SARAH                         KELLY, SARAH-KATE                     KELLY, SCOTT
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KELLY, SHANNON                       KELLY, SHANNON                        KELLY, SHANNON
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KELLY, SHARON                        KELLY, SHAWDARE                       KELLY, SHAWNTAY
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KELLY, SHEILA                        KELLY, SIMMI                          KELLY, STEPHANIE
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KELLY, STEPHEN                       KELLY, SUE                            KELLY, SUE
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KELLY, SUSAN                         KELLY, SUSAN                          KELLY, SUSIE
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KELLY, SUZETTE                       KELLY, SUZIE                          KELLY, TARA
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KELLY, TAYLOR                        KELLY, TRINA                          KELLY, TRISH
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KELLY, TYLER                         KELLY, VICKI                          KELLY, WALTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KELLY, WALTER         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KELLY, WILLIAM                   Page 2567
                                                                           KELLY, of 5495
                                                                                  WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KELLYALTHOUSE, CHARLOTTE             KELLY-FIERRO, JUSTINE                 KELLY-LAVIOLETTE, DARCY
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KELLY-RUSSO, BEL                     KELLYS PLACE                          KELM, ASHLEY
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KELM, ROBERT                         KELM, SARA                            KELM, SYDNEY
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KELMAN, KATHY                        KELMAN, KATIE                         KELMAN, OLIVIA
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KELMANSON, DEREK                     KELNIK, OLGA                          KELSAY, LINDSEY
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KELSEY ANDERSON                      KELSEY ANN BURKHARDT PARR             KELSEY ANNE SILVA
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KELSEY BURD                          KELSEY FRYDL                          KELSEY KAM
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KELSEY LAMBERT                       KELSEY REED                           KELSEY SCERRA
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KELSEY VANDEN AVOND, KELSEY          KELSEY, BEVERLY                       KELSEY, EMILY
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KELSEY, JOAN          Case 22-11238-LSS
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KELSEYBASSETT, BRITTA                KELSH, DONNA                           KELSH, KENDAL
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KELSO, ALLISON                       KELSO, MARISSA                         KELSON, ADAM
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KELSON, ILYSSA                       KELTER, MIA                            KELTERBORN, ELIZABETH
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KELTING, CASEY                       KELTNER, MARSHALL                      KELTNER, MICHELLE
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KELTY, EMILY                         KELTY, JESSICA                         KELTZ, JACKLYN
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KELVIN BATISTE                       KELVIN, MISCHO,                        KELY, JENNIFER
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KEMAK, LORRAINE                      KEMALYAN, ALEXA                        KEMBLE, AARON
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KEMBLE, CHRISTI                      KEMERER, HOPE                          KEMERLING, PAUL
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KEMMERER, PETER                      KEMMERLY, ELAINE                       KEMMET, KATE
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KEMNA, PAGE           Case 22-11238-LSS    Doc
                                     KEMNER, TF 2    Filed 11/30/22   Page 2569  of 5495
                                                                           KEMP, ANDREW
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KEMP, ANNE                           KEMP, APRIL                           KEMP, ASHLEY
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KEMP, CASSAUNDRA                     KEMP, CHELSEA                         KEMP, DAWN
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KEMP, EMILY                          KEMP, HEATHER                         KEMP, JACKLYN
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KEMP, JAMIE                          KEMP, KELLEE                          KEMP, KELLY
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KEMP, KURT                           KEMP, MARIE                           KEMP, MARY
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KEMP, MARYLYNN                       KEMP, MAY                             KEMP, MELISSA
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KEMP, MIRIAM                         KEMP, NATALIE                         KEMP, NATALIE
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KEMP, PAGE                           KEMP, SAM                             KEMP, SARAH
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KEMPEL, RACHEL                       KEMPER, CHELSEY                       KEMPER, JACOB
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KEMPER, JAMIE         Case 22-11238-LSS
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                                                                             KEMPERMANN, AMBER
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KEMPF, ERIC                          KEMPF, NICHOLAS                         KEMPIAK, KRISTEN
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KEMP-JACKSON, DEBBIE                 KEMPLE, BETTYE                          KEMPLER, LAUREN
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KEMRER, RACHEL                       KEN & COOK                              KEN MCRATH
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KENAGA, ASHLEY                       KENAS, JONATHAN                         KENAT, THOMAS
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KENAWELL, ALICE                      KENAZ-MARA, BONNIE                      KENCEL, LAURA
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KENCK-CRISPIN, MALEE                 KENDAGOR, JOANNA                        KENDALL FARMS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          6851A VAN BELLE RD
                                                                             SUNNYSIDE, WA 98944




KENDALL, ALLISON                     KENDALL, ANDREA                         KENDALL, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KENDALL, BRADLEY                     KENDALL, CATE                           KENDALL, DEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KENDALL, EMILY                       KENDALL, GREG                           KENDALL, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
KENDALL, MELISSA      Case 22-11238-LSS    Doc
                                     KENDALL,    2 Filed 11/30/22
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                                                                           KENDALL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENDALL, TUANY                       KENDALLGILMORE, BONNIE                KENDELL, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENDERJIAN, MERI                     KENDIG, PHYLLIS                       KENDIG, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENDRA ANDERSON                      KENDRA ELIZABETH JABLONSKI            KENDRA KOSKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENDRA SWY                           KENDRA, JESSI-DEE                     KENDRICK DAVID ANDERSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENDRICK, ANNETTE                    KENDRICK, BARBIE                      KENDRICK, CORINNE
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KENDRICK, COURTNEY                   KENDRICK, DAVID                       KENDRICK, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENDRICK, GINA                       KENDRICK, JOAN                        KENDRICK, KATHERINE
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KENDRICK, KEVIN                      KENDRICK, NICOLE                      KENDRICK, SANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENDRID MAYS                         KENDRIOSKI, NATASHA                   KENEALLY, ANTHONY
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KENEALY, ALLISON      Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KENERSON, TYLER                      KENEVAN, SHANNON                       KENEVEN, SANDRA
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KENGOR, CAROLINE                     KENGOR, KRISTINE                       KENIK, LARA JANE
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KENIS, SAMANTHA                      KENKEL, ABIGAIL                        KENKEL, ROBYN
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KENNA, PATRICK                       KENNA, YANCEY                          KENNAI GRUNIG, KELLY
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KENNARD, ANNA                        KENNARD, EMERIC                        KENNARD, KRISTI
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KENNARD, WILLIAM                     KENNAW, KATHERINE                      KENNEALLY, JOHN
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KENNEALLY, KELLY                     KENNEALLY, MARCIA                      KENNEDY, ABBIE
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KENNEDY, ABBY                        KENNEDY, ADDISON                       KENNEDY, ALAN
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KENNEDY, ALANNA                      KENNEDY, ALI                           KENNEDY, ALICIA
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KENNEDY, ALISON       Case 22-11238-LSS    Doc
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                                              AMANDA                  Page 2573 of 5495
                                                                           KENNEDY, AMANDA
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KENNEDY, ANGELA                      KENNEDY, ANGIE                        KENNEDY, ANN
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KENNEDY, ANNA                        KENNEDY, ANNEMARIE                    KENNEDY, ASHLEY
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KENNEDY, ASHLEY                      KENNEDY, BRANDON                      KENNEDY, BREANA
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KENNEDY, BREANNA                     KENNEDY, BRIAN                        KENNEDY, BRYAN
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KENNEDY, CAITLIN                     KENNEDY, CASSANDRA                    KENNEDY, CHARLOTTE
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KENNEDY, CHRISTIAN                   KENNEDY, CHRISTIANA                   KENNEDY, CHRISTINA
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KENNEDY, CHRISTINE                   KENNEDY, CINDY                        KENNEDY, CLAIRE
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KENNEDY, CLARE                       KENNEDY, CORRIANNE                    KENNEDY, COURTNEY
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KENNEDY, CURT                        KENNEDY, DAN                          KENNEDY, DANA
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KENNEDY, DANA         Case 22-11238-LSS    Doc
                                     KENNEDY,   2 Filed 11/30/22
                                              DAVID                   Page 2574 of 5495
                                                                           KENNEDY, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENNEDY, DAVID                       KENNEDY, DONYELLE                     KENNEDY, ELIZABETH
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KENNEDY, ELLEN                       KENNEDY, ELLEN                        KENNEDY, ELLIE
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KENNEDY, ERICA                       KENNEDY, ERICA                        KENNEDY, ERIN
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KENNEDY, ERIN                        KENNEDY, GRACE                        KENNEDY, GRACE
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KENNEDY, GRACE                       KENNEDY, GRAZYNA                      KENNEDY, GREG
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KENNEDY, GREG                        KENNEDY, GREG                         KENNEDY, GWEN
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KENNEDY, HOLLY                       KENNEDY, IRIS                         KENNEDY, JACLYN
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KENNEDY, JACQUELINE                  KENNEDY, JEFFREY                      KENNEDY, JEFFREY
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KENNEDY, JENNIFER                    KENNEDY, JESSICA                      KENNEDY, JILL
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KENNEDY, JOHN         Case 22-11238-LSS    Doc
                                     KENNEDY,    2 Filed 11/30/22
                                              JOHN                    Page 2575 of 5495
                                                                           KENNEDY, JORDAN
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KENNEDY, JULIETTE                    KENNEDY, KAREN                        KENNEDY, KARLA
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KENNEDY, KATHLEEN                    KENNEDY, KATHRYN                      KENNEDY, KATIE
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KENNEDY, KATIE                       KENNEDY, KAYLAH                       KENNEDY, KELLY
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KENNEDY, KYLE                        KENNEDY, LARISSA                      KENNEDY, LATRESHA
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KENNEDY, LAURA                       KENNEDY, LILLIAN                      KENNEDY, LINDSEY
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KENNEDY, LINDSEY                     KENNEDY, LIZ                          KENNEDY, MAGGIE
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KENNEDY, MAIRE                       KENNEDY, MARA                         KENNEDY, MARK
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KENNEDY, MARY                        KENNEDY, MATHEW                       KENNEDY, MEGHAN
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KENNEDY, MELISSA                     KENNEDY, MERYL                        KENNEDY, MICHAEL
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KENNEDY, MICHELLE     Case 22-11238-LSS    Doc
                                     KENNEDY,    2 Filed 11/30/22
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                                                                           KENNEDY, MYKAH
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KENNEDY, NANCY                       KENNEDY, NANCY                        KENNEDY, NELL
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KENNEDY, PAIGE                       KENNEDY, PAIGE                        KENNEDY, PATRICIA
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KENNEDY, PAUL                        KENNEDY, RACHAEL                      KENNEDY, RACHEL
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KENNEDY, RACHEL                      KENNEDY, RAYSHELLE                    KENNEDY, REBECCA
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KENNEDY, RENEE                       KENNEDY, ROBERT                       KENNEDY, ROSELYN
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KENNEDY, RYAN                        KENNEDY, RYAN                         KENNEDY, RYAN
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KENNEDY, SANDRA                      KENNEDY, SARA                         KENNEDY, SARA
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KENNEDY, SARAH                       KENNEDY, SCOTT J.                     KENNEDY, SHARON
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KENNEDY, SHAUN                       KENNEDY, SHELLY                       KENNEDY, STEPHANIE
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                                     KENNEDY,   2 Filed 11/30/22
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                                                                           KENNEDY, TARA
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KENNEDY, TAYLOR                      KENNEDY, TAYLOR                       KENNEDY, TED
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KENNEDY, TIMOTHY                     KENNEDY, TRACY                        KENNEDY, YVIE
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KENNEDY-PAIGE, AMANDA                KENNEL, AMANDA                        KENNEL, KATHRYN
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KENNELL, CLAIRE                      KENNELLY, KRISTEN                     KENNEMER, JANET
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KENNERKNECHT, AVERY                  KENNERSON, AYANA                      KENNETH A LAUBER
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KENNETH ALAN LOCKE                   KENNETH BAKER                         KENNETH DAVID FERNANDEZ PRADA
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KENNETH EUGENE GOLISH                KENNETH F ALDEN                       KENNETH GIBSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENNETH HAYES                        KENNETH J SHEEDY                      KENNETH JAMES STEEDEN
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KENNETH JOHNSON                      KENNETH L CURTIS                      KENNETH L TULLIS
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KENNETH LAVELY        Case 22-11238-LSS    Doc
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KENNETH LINNEMAN                     KENNETH LOHWASSER                     KENNETH M LAZZARONI
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KENNETH MAESE                        KENNETH MANCUSO                       KENNETH MANCUSO
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KENNETH MEDLEY                       KENNETH R WEHAR                       KENNETH ROSS WHITE
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KENNETH S LIKITPRAKONG               KENNETH S LIKITPRAKONG                KENNETH SHOCKLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENNETH W HAMMERMAN                  KENNETT, ALYSSA                       KENNETT, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENNETT, DENIELLE                    KENNEY, ALYSSA                        KENNEY, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENNEY, BRIAN                        KENNEY, CASSIE                        KENNEY, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENNEY, EMILY                        KENNEY, ERIN                          KENNEY, JENNIFER
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KENNEY, JOE                          KENNEY, JULIE                         KENNEY, KRISTA
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KENNEY, KRYSTAL       Case 22-11238-LSS
                                     KENNEY,Doc  2 Filed 11/30/22
                                             LINDSEY                  Page 2579 ofMADISON
                                                                           KENNEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENNEY, MICHAEL                      KENNEY, NANCY                         KENNEY, OLIVIA
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KENNEY, SHARI                        KENNEY, SHEILA                        KENNEY, STEPHANI
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KENNICUTT, JENNIFER                  KENNIEL, TAREN                        KENNIHAN, KATIE
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KENNING, LAUREN                      KENNINGTON, LAURA                     KENNIS, SCOTT
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KENNISON, COLE                       KENNISON, HALEY                       KENNON, ILISSA
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KENNY HUANG                          KENNY, ANDREA                         KENNY, CAITLIN
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KENNY, CATHERINE                     KENNY, ELAINE                         KENNY, KAYLYN
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KENNY, KRISTEN                       KENNY, MEAGHAN                        KENNY, PATRICK
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KENNY, SAMUEL                        KENNY, SARAH                          KENNY, SARAH
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KENNY, STEVE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KENNY, THOMAS                    Page 2580 of 5495
                                                                           KENOYER, MARLEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENRICK, MCKENZIE                    KENSEN, JORDAN                        KENSEY, SHIRLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENSIL J DICKINSON                   KENSINGTON GREY AGENCY INC.           KENT ANDREW GRIMSRUD
ADDRESS AVAILABLE UPON REQUEST       51 KINGS PARK BLVD                    ADDRESS AVAILABLE UPON REQUEST
                                     TORONTO, ON M4J 2B9
                                     CANADA




KENT KOFOED                          KENT, ABIGAIL                         KENT, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENT, CALLAHAN                       KENT, CANDICE                         KENT, CASSANDRA
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KENT, CHERYL                         KENT, DEEANNA                         KENT, ELIZABETH
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KENT, GIANNA                         KENT, JEFFREY                         KENT, JENNIFER
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KENT, JESSICA                        KENT, JILLIAN                         KENT, KELLY
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KENT, KELSEY                         KENT, KELSEY                          KENT, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENT, LOLA                           KENT, LOLAGENE                        KENT, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KENT, MARSHALL        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KENT, MEGAN                      Page 2581   of 5495
                                                                           KENT, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENT, MICHELLE                       KENT, SAMANTHA                        KENT, SELENA
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KENT, STEPHEN                        KENT, SUSAN                           KENT-LIMON, MALIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENTON, MEREDITH                     KENTUCKY ALCOHOLIC BEVERAGE           KENTUCKY DEPT OF REVENUE
ADDRESS AVAILABLE UPON REQUEST       CONTROL DEPARTMENT                    501 HIGH ST
                                     500 MERO STREET                       FRANKFORT, KY 40601-2103
                                     FRANKFORT, KY 40601




KENTUCKY LABOR CABINET               KENTUCKY LABOR CABINET                KENTUCKY SECURITIES DIVISION
1047 US HWY 127 S STE 4              657 CHAMBERLIN AVENUE                 1025 CAPITAL CENTER DRIVE3
FRANKFORT, KY 40601                  FRANKFORT, KY 40601                   SUITE 200
                                                                           FRANKFORT, KY 40601




KENTUCKY TREASURER                   KENWARD, ANDREA                       KENWORTHY, ELLYN
KENTUCKY DEPT OF FINANCIAL           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
INSTITUTIONS
DIVISION OF SECURITIES
1025 CAPITAL CENTER DRIVE, STE 200
FRANKFORT, KY 40601

KENY MEDRANO                         KENYON, ASHLEY                        KENYON, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENYON, CARLA                        KENYON, ELIZABETH                     KENYON, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENYON, JACQUELINE                   KENYON, JOSEPH                        KENYON, TODD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KENYON, VICTORIA                     KENZ, SARAH                           KENZIK, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEO, CHARISSA         Case 22-11238-LSS
                                     KEOGH, Doc  2 Filed 11/30/22
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                                                                           KEOHAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEON, RICHARD                        KEOPPEL, JORDAN                       KEOUGH, KATHRYN
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KEOUGH, KENDALL                      KEOUGH, NICHOLAS                      KEOUGH, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEOUGH, TOM                          KEOUGH, XANDY                         KEOUGH-CARACAPPA, EILEEN
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KEOWN, ARTHUR                        KEOWN, DEBBIE                         KEOWN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEPCHAR, ANDY                        KEPES, TIM                            KEPHART CARLSON, SALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEPHART, HEATHER                     KEPHART, MARISSA                      KEPLER, CYNTHIA
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KEPLER, JENNIFER                     KEPLEY-STEWARD, KRISTY                KEPLIN, MANDEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEPLINGER, BARBARA                   KEPNES, JEFF                          KEPPEL, CHRISTINA
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KEPPEN, SYDNI                        KEPPLER, KAITLAN                      KEPPLER, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEPPLER, STEVE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERBOW, KATHERINE                    KERBY, HANNAH                         KERBY, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERCHER, KATHERINE                   KERCHNER, ERIC                        KERDOCK, ANASTASIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERDOCK, KEYSHA                      KERDOLFF, KATIE                       KERECHUK, ARMAND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEREKES, AMY                         KEREPESI, STEPHEN                     KERESTES, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERESZTES, ALEXIS                    KEREZOUDIS, BENAZIR                   KERGER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERI AUMELL                          KERI GLITCH                           KERI KENNEDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERI LYNN SERRANO                    KERI THORPE                           KERIAN, JOSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERICK, TATIANA                      KERINS, CHRISTINE                     KERINS, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERKHOFF, JOY                        KERKHOFF, KATIE                       KERKVLIET, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KERLEE, AMELIA        Case 22-11238-LSS
                                     KERLIN, Doc  2 Filed 11/30/22
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                                                                           KERMAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERMANI, MEHRDAD                     KERMIE ROBINSON                       KERMIT LYNCH WINE MERCHANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        830 CEDAR STREET
                                                                           BERKELEY, CA 94710-1822




KERN, ALEXANDRA                      KERN, APRIL                           KERN, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERN, CAROLINE                       KERN, ELIZABETH                       KERN, JEANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERN, JILL                           KERN, JUSTINE                         KERN, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERN, LOGAN                          KERN, MELISSA                         KERN, MEREDITH
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KERN, MIKAYLA                        KERN, MOLLIE                          KERN, ROSALIE
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KERN, SARAH                          KERN, SARAH                           KERN, STEPFANIE
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KERN, TEIA                           KERNAN, BRIAN                         KERNAN, EUGENE
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KERNAN, MIKE                         KERNEN, THERESA                       KERNER, LISA
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KERNES, ELISABETH     Case 22-11238-LSS    Doc
                                     KERNICKY,   2 Filed 11/30/22
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KERNISKY, JOHN                       KERNODLE, SARAH                        KERNS, EMILY
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KERNS, MARSHALL                      KERR, ANDREA                           KERR, ANDREW
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KERR, ANITA                          KERR, BRETT                            KERR, CAITLIN
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KERR, CAROL                          KERR, CHELSEA                          KERR, COLLEEN
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KERR, DANA                           KERR, DENISE                           KERR, ELLEN
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KERR, EMILY                          KERR, FRANK                            KERR, HANNAH
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KERR, JANINE                         KERR, JESSICA                          KERR, JUDY
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KERR, KELLY                          KERR, LAURA                            KERR, LAUREN
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KERR, LESLIE                         KERR, MAISHA                           KERR, MARY JANE
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KERR, MARY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KERR, MATTHEW                    Page 2586  of 5495
                                                                           KERR, MEGAN
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KERR, MELINDA                        KERR, MIRANDA                         KERR, PATTI
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KERR, SANDRA                         KERR, SARAH                           KERR, TERRY
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KERRE, NELIMA                        KERRI A KLEIN                         KERRI ELIZABETH GROSS
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KERRIDGE, KATHY                      KERRIGAN, ANNE                        KERRIGAN, CHELSEA
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KERRIGAN, HEATHER                    KERRIGAN, KATHERINE                   KERRIGAN, KAYLA
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KERRIGAN, LAUREN                     KERRINS, AMY                          KERRY GREENE
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KERRY JOSEPH SPIEGLER                KERRY PENNY                           KERRY POKORNY
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KERRY                                KERSAINT, REGINALD                    KERSCH, VERONICA
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KERSCHEN, EMMIE                      KERSENBROCK, LEONARD                  KERSEY, MOLLY
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KERSH, LYDIA          Case 22-11238-LSS    Doc
                                     KERSHAW,   2 Filed 11/30/22
                                              JAMES                   Page 2587 of 5495
                                                                           KERSHAW, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERSHAW, KELLY                       KERSHAW, LINDSAY                      KERSHAW, MIKE
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KERSHNER, JENNIFER                   KERSHNER, MORGAN                      KERSTEN, SETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KERSTEN, SUZANNE                     KERSTETTER, CHRISTINA                 KERSTETTER, GARRETT
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KERSTETTER, JACQUELINE               KERSTETTER, RENEE                     KERTH JOSHUA GRAVENER
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KERTH, HENRY                         KERWIN, JAMES                         KERYLUK, BARBARA
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KERZAN, NANCY                        KESER, KIM                            KESHAV KUMAR
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KESHECKI, ELIZABETH                  KESHISHIAN, LARA                      KESKI, GABRIELLA
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KESLAR, RENEKIA                      KESLER, CHELSEA                       KESLER, DEAN
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KESLER, EVAN                         KESLER, KELLY                         KESLER, SHARRON
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KESNEL JULES          Case 22-11238-LSS
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                                                                           KESSEL,  5495
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KESSEL, BETH                         KESSEL, CANDACE                       KESSEL, HARRY
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KESSEL, JULIA                        KESSELMAN, DAVID                      KESSELMAN, LISA
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KESSER, MARY ROSE                    KESSINGER, MICHAELA                   KESSLER, ALANA
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KESSLER, AMANDA                      KESSLER, ASHLEY                       KESSLER, BORIS
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KESSLER, BRYAN                       KESSLER, ERICA                        KESSLER, FARRELL
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KESSLER, HARRY                       KESSLER, HILLARY                      KESSLER, KATE
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KESSLER, KIMBERLY                    KESSLER, KRISTINA                     KESSLER, KRISTINA
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KESSLER, LARA                        KESSLER, MISHA                        KESSLER, REBECCA
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KESSLER, SANDI                       KESSLER, SARAH                        KESSLER, SUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KESTELL, MEGAN        Case 22-11238-LSS
                                     KESTEN,Doc 2 Filed 11/30/22
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                                                                           KESTEN,   5495
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KESTER, PAUL                         KESTERSON, CHELSEA                    KESTERSON, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KESTERSON, TRACEY                    KESTIGIAN, AIDAN                      KESTLE, MACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KESTNER, JESSICA                     KESTREL FLIGHT FUND LLC               KESTREL MERCHANT PARTNERS LLC
ADDRESS AVAILABLE UPON REQUEST       149 MEADOWBROOK RD                    149 MEADOWBROOK ROAD
                                     WESTON, MA 02493                      WESTON, MA 02493




KETAN PATEL                          KETAN SHAH                            KETCHAM, DILLAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KETCHAM, KAITLIN                     KETCHAM, MOLLY                        KETCHENS, CALLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KETCHUM, GREGORY                     KETCHUM, WHITNEY                      KETELHUT, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KETHMAN, VINCE                       KETNER, JANICE                        KETNER, LUCY
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KETOLA, AIMEE                        KETSCHEK, DONNA                       KETTE, ERIN
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KETTELKAMP, CHRISTINE                KETTELLE, LORI                        KETTER, MAXIMILIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KETTER, NOGA          Case 22-11238-LSS    Doc
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                                                                           KETTERER, JEFF
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KETTERER, TAYLOR                     KETTERING, KALEY                      KETTERMAN, CHRISTIE
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KETTLE, KERI                         KETTLER, CAROL                        KETTLER, CHARLOTTE
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KETTNER, CATHERINE                   KETTWICH, KRISTIN                     KETTWICH, KRISTIN
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KETTWICH, KRISTIN                    KETTYLE, LISA                         KETZKO, ADRIENNE
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KEUCHLER, EMILY                      KEULARTS, MIRIAM                      KEULER, TAYLOR
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KEUTE, SHANNON                       KEVAN, JESSE                          KEVANN WHATLEY
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KEVERN, JENNIFER                     KEVILLE, SUSAN                        KEVIN ALICEA
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KEVIN ANTHONY BALBI                  KEVIN ANTHONY TSUI                    KEVIN BENSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KEVIN BLANKENSHIP                    KEVIN BUCKLEY                         KEVIN BYRNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KEVIN COOK            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KEVIN DANIEL                         KEVIN DAVIS                           KEVIN DELVENTHAL
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KEVIN DOAN                           KEVIN DOMINIK KORTE                   KEVIN EICHHORST
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KEVIN FRANCIS                        KEVIN G DESHARNAIS                    KEVIN GREEN
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KEVIN HEWITT                         KEVIN HOFFARTH                        KEVIN J BEIRICH
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KEVIN J HALL                         KEVIN JOSEPH GOULET                   KEVIN KLEMBCZYK
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KEVIN KOVAL                          KEVIN LEE JOHNSON                     KEVIN LETZ
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KEVIN MANLEY                         KEVIN MCLAIN                          KEVIN MCMILLEN
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KEVIN MEADE                          KEVIN MICHAEL BROWN                   KEVIN MICHAEL YUSKO
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KEVIN MITRA                          KEVIN NUEST                           KEVIN P AUSTIN
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KEVIN PERSAUD         Case 22-11238-LSS     Doc 2 VENDOLA
                                     KEVIN RICHARD   Filed 11/30/22   Page 2592   of 5495
                                                                           KEVIN SCOTT MILLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KEVIN SHANE MCLAUGHLIN               KEVIN SIMPSON                          KEVIN SORBANELLI
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KEVIN STALSBERG                      KEVIN TESTO                            KEVIN TODD FULLER
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KEVIN VARGAS                         KEVIN VENDOLA                          KEVIN WALTERS
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KEVIN WILSON                         KEVIN, BAUM                            KEVORKIAN, KATIE
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KEY, ANN                             KEY, ARTILYA                           KEY, BRIAN
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KEY, BRYAN                           KEY, CHRISTINE                         KEY, HEATHER
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KEY, HENRIETTA                       KEY, ILENA                             KEY, JESSICA
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KEY, KYLE                            KEY, REBA                              KEY, REBECCA
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KEYER, RICHARD                       KEYES, ALLEN                           KEYES, BRAD
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KEYES, CAITLYN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KEYES, COURTNEY                    Page 2593
                                                                             KEYES, of 5495
                                                                                    ELIZABETH
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KEYES, HEIDI                         KEYES, JAMES                             KEYES, KRISTEN
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KEYES, LAURA                         KEYES, LINDSEY                           KEYES, MATLINA
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KEYES, VANETTA                       KEYLOR, LORI                             KEYS, FLORENCE
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KEYS, JACLYN                         KEYS, JULIE                              KEYS, TAMMY
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KEYSER, CIARA                        KEYSER, COURTNEY                         KEYSER, ELIZABETH
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KEYSER, ELIZABETH                    KEYSER, JULIE                            KEYSER, LAUREN
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KEYSER, MALLORY                      KEYSER, NICOLE                           KEYSER, RUTH
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KEYSER, WENDIE                       KEYSTONE COLLECTION GROUP                KEYTE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




KEYUR PATEL                          KEZIOS, STEPHANIE                        KH CREATIVE LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           139 ELDRIDGE STREET, APT 00
                                                                              NEW YORK, NY 10002
KHA, ERIC             Case 22-11238-LSS
                                     KHAALIK,Doc  2 Filed 11/30/22
                                              PRINCE                  Page 2594 of 5495 MARISA
                                                                           KHACHADOORIAN,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KHACHIAN, EDUARD                     KHAJA, SETA                           KHAJARIAN, SHELBY
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KHAKEE, NITIN                        KHALAF, TAMARA                        KHALAJ, SAHAR
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KHALASI, KAILASH                     KHALED NASR, LAILA                    KHALEED JUMA
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KHALEGHI, PATRICIA                   KHALID, NADIAH                        KHALIL, DEVIN
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KHALIL, SAMI                         KHALLOUQI, RAPHAEL                    KHALOUIAN, NICOLE
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KHALSA, RUTH                         KHAMO, TERRAN                         KHAMZINA, ALBINA
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KHAN, AISHA                          KHAN, ALISHA                          KHAN, ASH
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KHAN, CAILIN                         KHAN, DEENIA                          KHAN, DURAIYA
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KHAN, ERADA                          KHAN, JULIANNA                        KHAN, LYALA
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KHAN, MAHEEN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KHAN, PETER                      Page 2595  of 5495
                                                                           KHAN, RAZA
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KHAN, SABIHA                         KHAN, SARAH                           KHAN, TIFFANY
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KHANAL, DEVESH                       KHANDAGLE, ANDREA                     KHANDPEKAR, DIPESH
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KHANKHODJAEVA, SHADIYA               KHANNA, AKSHAT                        KHANNA, ANNUSHKA
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KHANNA, ANSHU                        KHANNA, CHRISTINA                     KHANNA, JESSICA
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KHANNA, MAYANK                       KHANNA, VIDIHIKA                      KHANTHARASY, MALLORY
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KHANYILE-LYNCH, CELI                 KHARABADZE, NICHOLAS                  KHARADJIAN, TALAR
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KHARCHEVA, VALERIA                   KHASELEV, ANNA                        KHASHOU, STACIE
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KHATCHADOURIAN, MICHAELLE            KHATTAR, CHRISTELLE                   KHEDERIAN, AUBREY
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KHEDOURI, ROBERT                     KHEHRA, VICKY                         KHIDANG COOMER
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KHIMICH, SLAVA        Case 22-11238-LSS
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KHODADADI, SANDRA                    KHODAEI, AMIR                         KHODYKINA, NATALIA
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KHOJA, SANNA                         KHOJA, SHAN                           KHOMENKO, TETYANA
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KHOOBCHANDANI, RITA                  KHOOSHABEH, ELEENA                    KHOR, DYAN
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KHOREY, CATHERINE                    KHOSA, SUNITA                         KHOSLA, LISA
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KHOSLA, SABEENA                      KHOSRODAD, DONYA                      KHOSROVANI, SOGAND
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KHOTINER, ALEXANDER                  KHOURI, ISSAM                         KHOURI, NABIL
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KHOURY, MAUNI                        KHOURY, MAZEN                         KHOURY, SAMIR
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KHULLAR, ANKUR                       KHUONG, STEVEN                        KHURANA, ASHISH
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KHYLLEP, CHERYL                      KIA JEHAN BENTON-CLARK                KIA, HENRY
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KIA, JESSICA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KIAH, TIMOTHY                    Page 2597   of 5495
                                                                           KIANA DELICIA ROMEO
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KIANIAN, BITA                        KIAUNE, JEN                            KIBBLE, CYNTHIA
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KIBBLE, FRAN                         KIBBLEHOUSE, DOREEN                    KIBLER, KIMBERLY
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KIBLER, SHERI                        KIBLER, STEPHANIE                      KIBODEAUX, STEVEN
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KIBROM, HILINA                       KICHMAN, RACHEL                        KICIOR, ELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KICK ON VINEYARD, LLC                KICK, JEFFREY                          KICKLIGHTER, JAMES
P.O. BOX 1509                        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SUMMERLAND, CA 93067




KIDA, JOSEPH                         KIDA, JULIE                            KIDA, UPSHAW,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KIDANE, PASCALE                      KIDD, AMANDA                           KIDD, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KIDD, BRIE                           KIDD, CARLA                            KIDD, CARLEY
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KIDD, COURTNEY                       KIDD, CYNTHIA                          KIDD, DILLON
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KIDD, HEATHER         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KIDD, JASON                      Page 2598   of 5495
                                                                           KIDD, KELSEY
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KIDD, REBECCA                        KIDD, SIERRA                          KIDD, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIDDER-CORREA, ASHLEY                KIDEST TARIKU, KIDI TARIKU            KIDNEY, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIDPASS, INC.                        KIDWELL, DIANE                        KIDWELL, KEVIN
335 MADISON AVE., STE 7D             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10017




KIDWELL, LEIGH                       KIDWELL, PHILIP                       KIEBURTZ, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIECK, PAMELA                        KIECKER, JOSH                         KIEDAISCH, SAGE
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KIEFABER, LIBBY                      KIEFER, BRENDA                        KIEFER, BRIDGETT
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KIEFER, CHERI                        KIEFER, DENNIS                        KIEFER, TODD
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KIEFFER, NANCY                       KIEFFER, TASIA                        KIEFFER, THOMAS
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KIEHLE, JANIS                        KIEHLER, KAYLEEN                      KIEHN, THERON
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KIEHNE, KRISSIE       Case 22-11238-LSS    DocERICA
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                                                                           KIEL, BARKLEY
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KIEL, HEATHER                        KIEL, MYRON                           KIEL, TINA
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KIEL, ZACHARY                        KIELAR, HOWARD                        KIELB, JESSICA
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KIELE, KATHLEEN                      KIELECZAWA, KATARINA                  KIELEY, AUTUMN
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KIELLEY, INA                         KIELPINSKI, TIM                       KIELY, ELIZABETH
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KIELY, KARA                          KIELY, MARY                           KIENAST, BRANT
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KIENE, AMANDA                        KIENER, COLLEEN                       KIENSICKI, KARA
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KIENZLE, CAITLIN                     KIERC, MALGORZATA                     KIERNAN, CATHLEEN
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KIERNAN, ERIN                        KIERNAN, KELLYANNE                    KIERNAN, LAURA
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KIERNAN, MATT                        KIERNAN, MICHELLE                     KIERNEY, PAULINE
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KIERONSKI, ERIN       Case 22-11238-LSS    Doc
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KIESER, HALEY                        KIESSER, ANNA                         KIETZMAN, ANNIE
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KIEVIT, MEGAN                        KIEVIT, VIANCA                        KIEZER, BLAIZE
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KIFER, ELICIA                        KIFER, GABRIELLE                      KIFFER, JAMIE
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KIFLE-AB, NATHANIEL                  KIGER, AMBER                          KIGER, HANNAH
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KIGHT, JANA                          KIGHTLINGER, DIANE                    KIGORO, ANNE
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KIHARA, IVAN                         KIHN, MARCELINO                       KIHOI, PENEKU
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KIHOI, TAYLOR                        KIIBLER, JESSICA                      KIIP, INC (KIIP20)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        KIIP, INC 970 FOLSOM STREET
                                                                           SAN FRANCISCO, CA 94107




KIIP, INC (KIIP20)                   KIJEWSKI, NICOLE                      KIKER, CHERYL
PO BOX 398962                        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94139-8962




KIKI CLEMONS                         KIKLY, PAYGE                          KIKTA, LORRY
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KIKUE, EMILY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KILANI, WALID                        KILANOWSKI, KEN                        KILAYKO, ALYSSA
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KILB, SHEILA                         KILBANE, JESSICA                       KILBOURN, NORTON
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KILBRIDE, LAUREN                     KILBURN, ANTHONY                       KILBURN, DAVID
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KILBURN, MARY                        KILBURN, RICK                          KILBY, GUADALUPE
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KILBY, KAREN                         KILCOMMONS, GREG                       KILCOYNE, KIMBERLY
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KILCREASE, DENEEN                    KILCULLEN, KATHRYN                     KILDAHL, KELLIE
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KILDARE, DANIELLE                    KILDOW, EMILY                          KILDOW, GEORGE
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KILDUFF, FRANCES                     KILDUFF, KAYL                          KILDUFF, MARION
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KILDUFF, PATRICK                     KILE, ANNETTE                          KILE, KATY
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KILE, MARGARET        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KILE, SOMMER                         KILEY MILLER                          KILEY STEVEN GUSTAFSON
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KILEY, ERIN                          KILEY, JANE                           KILEY, JENNY
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KILEY, LORI                          KILEY, SAMANTHA                       KILEY, SHELBY
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KILFEATHER, AMY                      KILGER, JULIE                         KILGORE, BERKLEY
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KILGORE, JOE                         KILGORE, KORY                         KILGORE, LEILANI
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KILGORE, TAMARA                      KILGORE, TAMMY                        KILGORE, THOMAS
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KILGROW C/O IHFA, KATIE              KILIAN, ALYSSA                        KILIAN, AMBER
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KILIAN, MICHELLE                     KILKEARY, ALANNA MARTINE              KILKENNY, CECELY
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KILKENNY, SHANNON                    KILL, STEPHEN                         KILLACKEY, KRISTEN
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KILLAM, BAYLEE        Case 22-11238-LSS
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KILLAM, LORI                         KILLAY, ROBERT                        KILLEA, ANITA
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KILLEA, KRISTEN                      KILLEEN, CONNOR                       KILLEEN, CRYSTAL
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KILLEEN, JUDY                        KILLEEN, KATIE                        KILLEEN, SALLY
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KILLEN, LAUREN                       KILLEN, MARK                          KILLER SHRIMP
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KILLER, KENNETH                      KILLI, CHRIS                          KILLIAN, BRITTANY
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KILLIAN, ELISSA                      KILLIAN, GRACE                        KILLIAN, JERRY
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KILLIAN, JOHN                        KILLIAN, KATHLEEN                     KILLIAN, NANCY
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KILLIAN, TEGHAN                      KILLINGER, JILL                       KILLINGER-HUMES, KAREN
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KILLINGSWORTH, KASHA                 KILLINGSWORTH, NICOLE                 KILLINGSWORTH, SARAH
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KILLINS, MARQUITA     Case 22-11238-LSS
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KILLMER, BRAXTON                     KILLMER, MICHAEL                       KILLMEYER, ELIZABETH
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KILMAN, KIMBERLY                     KILMARTIN, CATHERINE                   KILMER, CHARLOTTE
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KILMER, ERIN                         KILMER, GLORIA                         KILMER, KELLY
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KILNER, MELISSA                      KILPACK, SHALEE                        KILPATRICK, DANIELLE
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KILPATRICK, JENNIFER                 KILPATRICK, JENNIFER                   KILPATRICK, KATE
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KILPATRICK, KAYLA                    KILPATRICK, KELLY                      KILPATRICK, WHITNEY
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KILPATRICK, WILLIAM                  KILPER, JANICE                         KILROY, BARBARA
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KILROY, CALLAN                       KILROY, CATHERINE                      KILROY, RENEE
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KILROY, WILLIAM                      KILTY, ANGELA                          KILTY, TIMOTHY
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KIM BURNS             Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KIM DUNCAN                           KIM GLINSKI                            KIM LOUISE MORRISON
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KIM M CALDWELL                       KIM MABRY-PAROLINE                     KIM OLEKSIK
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KIM PROFESSIONAL SERVICES            KIM R DOBBS                            KIM SUSAN NELSON
705 THYME DRIVE                      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
BEAR, DE 19701




KIM WEAVER                           KIM, ALEXIS                            KIM, ALICE
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KIM, ANGIE                           KIM, ANNA                              KIM, ANNA
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KIM, ANNE                            KIM, ANNIE                             KIM, ANNIE
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KIM, ANNIE                           KIM, ARIANA                            KIM, BIANCA
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KIM, BO                              KIM, BOK                               KIM, BOYUN
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KIM, BRIAN                           KIM, BRIANA                            KIM, BRITNEY
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KIM, CATHERINE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KIM, CLARE                           KIM, CLAUDIA                          KIM, CONNIE
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KIM, CONNIE                          KIM, DAN                              KIM, DANIEL
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KIM, DEBBIE                          KIM, DONGEUN                          KIM, EDWARD
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KIM, ELISHABETH                      KIM, ELLEN                            KIM, ESTHER
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KIM, EUGENE                          KIM, EUNHEE                           KIM, EVELYNE
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KIM, HANNA                           KIM, HE-JOON                          KIM, HELEN
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KIM, HYE SOO                         KIM, HYEON WOO                        KIM, HYEONG
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KIM, HYUNCHUL                        KIM, HYUNJAE                          KIM, INHWAN
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KIM, IRENE                           KIM, ISSAC                            KIM, JAE KYUN
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KIM, JAMES            Case 22-11238-LSS      Doc
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KIM, JANE                            KIM, JEANIE                           KIM, JEFFREY
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KIM, JENNIFER INSUN                  KIM, JENNIFER                         KIM, JENNIFER
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KIM, JENNIFER                        KIM, JENNIFER                         KIM, JESSICA
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KIM, JIA                             KIM, JIEUN                            KIM, JIHYUN
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KIM, JIN                             KIM, JINA                             KIM, JINSOL
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KIM, JINWOUNG                        KIM, JINYOUNG                         KIM, JIYEON
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KIM, JIYOON                          KIM, JOANNA                           KIM, JONATHAN
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KIM, JONATHAN                        KIM, JONG JOO                         KIM, JOO
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KIM, JOO                             KIM, JOON SIK                         KIM, JORDAN
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KIM, JULIANNE         Case 22-11238-LSS
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KIM, JUSTEEN                         KIM, JUSTIN                           KIM, JUSTIN
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KIM, KAITLIN                         KIM, KATIE                            KIM, KEUN YOUNG
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KIM, KI                              KIM, KISUNG                           KIM, KIYUN
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KIM, KYOUNGJIN                       KIM, KYUNGRIM                         KIM, LAUREN
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KIM, LILY                            KIM, LILY                             KIM, LINA
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KIM, LOIS                            KIM, MAY                              KIM, MICHAEL
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KIM, MICHELLE                        KIM, MICHELLE                         KIM, MICHELLE
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KIM, MICHELLE                        KIM, MIKE                             KIM, MIN
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KIM, MINDY                           KIM, MINJUNG                          KIM, MINKU
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KIM, MOON             Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           KIM, MYONG
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KIM, NANCY                           KIM, NATALIE                          KIM, NATASHA
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KIM, NATHAN                          KIM, NICHOLAS                         KIM, NICK
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KIM, PAUL                            KIM, PAUL                             KIM, PHIRANGEE,
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KIM, RICHARD                         KIM, ROSELYN                          KIM, SAM
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KIM, SARA                            KIM, SARA                             KIM, SARAH
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KIM, SEO YUN                         KIM, SEUNGWON                         KIM, SHARON
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KIM, SOHEE                           KIM, SOHEE                            KIM, SONGMIN
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KIM, SONYA                           KIM, SONYA                            KIM, SOOJIN
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KIM, SOOKYOUNG                       KIM, STEPHAN                          KIM, STEPHANIE
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KIM, STEPHANIE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KIM, SUSAN                           KIM, SUSIE                            KIM, TAEHEE
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KIM, TRACEY                          KIM, VIRGINIA                         KIM, YEONHEE
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KIM, YOUNGSHIN                       KIMANI BURTON                         KIMAYA KARNAWAT
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KIMBALL, BRENDAN                     KIMBALL, DONNA                        KIMBALL, GREG
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KIMBALL, JEAN                        KIMBALL, JENNIFER                     KIMBALL, JESSIE
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KIMBALL, LEIGH                       KIMBALL, LENA                         KIMBALL, LOREE
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KIMBALL, SARAH                       KIMBALL, SHEILA                       KIMBALL, TODD
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KIMBE MEARES                         KIMBELL, ANDRE                        KIMBELL, CAROL
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KIMBER, JENNIFER                     KIMBER, SEAN                          KIMBER, STEVE
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KIMBERLY ALBRECHT                    KIMBERLY ANN JOHNSON                   KIMBERLY ANN SCHOENFELDER
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KIMBERLY ANNE JOYCE                  KIMBERLY B BARNES                      KIMBERLY B WARNER
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KIMBERLY BUNTING                     KIMBERLY CARKEEK                       KIMBERLY CHRISTENSEN
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KIMBERLY DUROSKO                     KIMBERLY EVANS                         KIMBERLY FREDERICK
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KIMBERLY GALLAGHER                   KIMBERLY GIACO                         KIMBERLY MARIE STULL
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KIMBERLY MEYER                       KIMBERLY NICOLE EATON                  KIMBERLY NOBLE
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KIMBERLY PALUS                       KIMBERLY PHILLIPS                      KIMBERLY R WILSON
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KIMBERLY SIPES                       KIMBERLY STONE                         KIMBERLY WEST
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KIMBERLY WILLIS                      KIMBERLY YOUNG                         KIMBERLY
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KIMBERLY, CAROLINE    Case 22-11238-LSS    Doc
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KIMBLE, EMILY                        KIMBREL, BONNIE                        KIMBREL, KINGA
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KIMBRO, MACKENZIE                    KIMBROUGH, ALISSA                      KIMBROUGH, JENNIFER
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KIMBROUGH, JESSICA                   KIMBROUGH, KIM                         KIMBROUGH, RACHEL
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KIMBROUGH, TRICIA                    KIMBROW, HEATHER                       KIMBROW, KAYLA
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KIMBROW, RONDA                       KIME, JILL                             KIME, SUSAN
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KIME, TODD                           KIMERY, ASHLEY                         KIMES, KARI
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KIMES, MORGAN                        KIMIDY, MARINDA                        KIMLER, HEATHER
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KIMLING, MARY                        KIMMEL, BRIAN                          KIMMEL, DOUG
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KIMMEL, JEFF                         KIMMEL, KECIA                          KIMMEL, REBECCA
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KIMMEL, TERRY         Case 22-11238-LSS    Doc
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KIMMEY, WENDY                        KIMMI, PRINCESS                       KIMMINS, MEGAN
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KIMMONS, ROBERT                      KIMMY GO                              KIMNACH, HANNAH
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KIMONDO, LILIAN                      KIM-PERRY, JUNG                       KIMREY, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIMREY, STEVIE                       KIM-ROHRER, JOYCE                     KIMSEY VINEYARD LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2085 STRATFORD PLACE
                                                                           SANTA BARBARA, CA 93108




KIMSEY, ALLISON                      KIMSEY, KELLY                         KIMSEY, MIRIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIMSEY, RICK                         KIMSEY, SUSAN                         KIMURA, REID
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KIMYA, ASLI                          KIMZEY, EMILY                         KIN KHAO
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KIN TAM                              KINAHAN, CYRINA                       KINAHAN, KELLY
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KINANE, HEATHER                      KINARD, CHLOE                         KINARD, DARYL
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KINARD, JEFFREY       Case 22-11238-LSS
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KINCADE, DEMETRICE                   KINCADE, MANDY                        KINCADE, VERINA
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KINCADE, ZANE                        KINCAID, CARA                         KINCAID, JOHN
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KINCAID, MONICA                      KINCAID, PATSY                        KINCAID, SANYU
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KINCAID, STEPHANIE                   KINCAID, STEPHEN                      KINCAID, THOMAS
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KINCANNON, SUSAN                     KINCER, IAN                           KINCH, CARLA
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KINCH, EMILY                         KINCH, MEGAN                          KINCHELOE, MICHAEL
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KINCY, CHARLES                       KINCY, JESSICA                        KINCY, SHERYL
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KIND, ELKA                           KIND, ZACHARY                         KINDEL, KATRINA
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KINDELAN, ERIN                       KINDELAN, ERIN                        KINDELAN, ERIN
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KINDELAN, MARYEVA     Case 22-11238-LSS
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KINDER, MADISON                      KINDER, ROCHELLE                      KINDER, TRAVIS
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KINDERMAN, NATALIE                   KINDERMANN, RYAN                      KINDERMANN, TRISHA
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KINDINGER, RYAN                      KINDL, JAN                            KINDLE UNLIMITED
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KINDLE, BROOKE                       KINDLEY, ADAM                         KINDRED KYLENE
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KINDRED, EMILY                       KINDRED, JENNIFER                     KINDRED, LINDA
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KINDRED, SEAN                        KINDRICK, MEGAN                       KINDRICK, NINA
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KINDRICK, NINA                       KINDT, LAUREN                         KINER, KRISTA
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KINER, THOMAS                        KINET, LAWRENCE                       KINFOLK MAGAZINE
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KING - PERSONAL, ANITA               KING DRIVE CONCEPTS PTY LTD           KING SOCIAL MANAGEMENT, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8422 LEEPER DRIVE
                                                                           CHARLOTTE, NC 28277
KING WALTON, JACQUELINECase 22-11238-LSS      Doc 2 Filed 11/30/22
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KING, ADRIENNE                        KING, AGATHA                          KING, ALEXANDRA
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KING, ALICIA                          KING, ALISON                          KING, ALISON
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KING, ALLIE                           KING, AMANDA                          KING, AMY
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KING, AMY                             KING, ANGELA                          KING, ANN
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KING, ANNE                            KING, ASHLEY                          KING, ASHLEY
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KING, AUDRA                           KING, AUDREY                          KING, AUSTIN
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KING, AVI                             KING, BARBARA                         KING, BETSY
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KING, BRANDON                         KING, BREANA                          KING, BREANN
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KING, BRETTE                          KING, BRIANA                          KING, BRITTANY
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KING, BRITTANY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KING, BROOKE                         KING, BROOKE                          KING, BRYNN
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KING, CARMELITA                      KING, CAROLINE                        KING, CASEY
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KING, CHANDLER                       KING, CHELSEA                         KING, CHEROKEE
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KING, CHRISTA                        KING, CINDY                           KING, CLAIRE
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KING, COLIN                          KING, COLLIN                          KING, COURTNEY
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KING, COURTNEY                       KING, CRYSTAL                         KING, DAMISHIA
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KING, DANIEL                         KING, DANIELLE                        KING, DANIELLE
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KING, DANIELLE                       KING, DARA                            KING, DEBBIE
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KING, DEBI                           KING, DEBORA                          KING, DEBORAH
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KING, DELORES         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KING, DOUGLAS                        KING, EGIPT                           KING, ELIZABETH A
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KING, ELIZABETH                      KING, ELIZABETH                       KING, ERIC
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KING, ERICA                          KING, FAITH                           KING, GABRIEL
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KING, GARRET                         KING, GEOFFREY                        KING, GREG
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KING, GREGORY                        KING, HALLE                           KING, HANNAH
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KING, HAYLEY                         KING, HEATHER                         KING, HOLLY
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KING, JAMES                          KING, JANE                            KING, JANEL
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KING, JENNA                          KING, JENNIFER                        KING, JEREMY
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KING, JERRONDA                       KING, JESSICA                         KING, JESSICA
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KING, JILLIAN         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KING, JOHANNA                        KING, JOHN                            KING, JOSEY
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KING, JOY                            KING, JOYCE                           KING, JULIA
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KING, KAMARIN                        KING, KANDICE                         KING, KAREN
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KING, KARENE                         KING, KATHERINE                       KING, KATHERINE
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KING, KATHERINE                      KING, KATIE                           KING, KATRINA
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KING, KAYLA                          KING, KELLEY                          KING, KELLY
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KING, KELLY                          KING, KELLY                           KING, KELSEY
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KING, KEVIN                          KING, KEVIN                           KING, KHARISE
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KING, KIM                            KING, KIMBERLY                        KING, KIMBERLY
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KING, KITTY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KING, KRISTEN                        KING, KRISTI                          KING, KRISTY
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KING, KRISTY                         KING, KRYSTINA                        KING, KYLE
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KING, KYLIE                          KING, LACHEL                          KING, LANDIN
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KING, LANDON                         KING, LAURA                           KING, LAUREN
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KING, LAUREN                         KING, LAUREN                          KING, LAUREN
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KING, LEANN                          KING, LESLIE                          KING, LINDA
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KING, LINDA                          KING, LINDSAY                         KING, LINDSEY
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KING, LISA KING                      KING, LORA                            KING, LUCY
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KING, MADALINE                       KING, MADELYN                         KING, MAGGIE
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KING, MARIPAT         Case 22-11238-LSS     DocANNE
                                     KING, MARY 2 Filed 11/30/22      Page 2621   of 5495
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KING, MARY                           KING, MARYANN                          KING, MEGAN
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KING, MEGAN                          KING, MEGHAN                           KING, MELISS
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KING, MEREDITH                       KING, MEREDITH                         KING, MICHAEL
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KING, MICHAEL                        KING, MICHAELA                         KING, MICHELE
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KING, MICHELE                        KING, MIKAELA                          KING, MOLLY
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KING, MOLLY                          KING, MYCAL                            KING, NANCY
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KING, NANCY                          KING, NICHELLE                         KING, NICOLE
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KING, NICOLE                         KING, NICOLE                           KING, OLIVIA
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KING, PAIGE                          KING, PATRICIA                         KING, PATTI
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KING, RACHEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KING, RACHEL                         KING, RACHEL                          KING, RACHEL
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KING, RAICHELLE                      KING, REBECCA                         KING, REUBEN
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KING, ROBIN                          KING, RORY                            KING, RYAN
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KING, SABRINA                        KING, SAMANTHA                        KING, SAMANTHA
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KING, SANDRA                         KING, SARA                            KING, SARA
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KING, SARA                           KING, SARA                            KING, SARAH
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KING, SETH                           KING, SHANA                           KING, SHAYLA
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KING, SIERRA                         KING, SION                            KING, SPENCER
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KING, STACEY                         KING, STEPHANIE                       KING, SUSAN
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KING, SUSAN           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KING, TAYLOR                     Page 2623   of 5495
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KING, TENNILLE                       KING, TERRELL                         KING, TERRY
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KING, THOMAS                         KING, TIMOTHY                         KING, TORY
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KING, TRACY                          KING, TRANETTA                        KING, VERONIKA
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KING, VICTORIA                       KING, VIRGINIA                        KING, VIRGINIA
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KING, ZACHARY                        KINGDON, BRITTANY                     KINGDON, DEVIN
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KING-EASTERLING, CHERYL              KINGERY, SCOTT                        KING-LONCKE, CARMEL
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KINGMA, GRANT                        KINGMAN, JOSEPH                       KINGOINA, NANCY
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KINGORE, JANESSA                     KINGREE, GUY                          KINGSBURY, ERICA
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KINGSBURY, FADWA                     KINGSBURY, HOLLI                      KINGSBURY, KATERYNA
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KINGSBURY, LADY       Case 22-11238-LSS    DocMAE
                                     KINGSBURY, 2 Filed 11/30/22      Page 2624  of 5495
                                                                           KINGSBURY, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KINGSBURY, NICHOLE                   KINGSFIELD, NATALIE                   KINGSFORD INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3616 W ROSELK CIR
                                                                           HIGHLANDS RANCH, CO 80129




KINGSLEY, CARLI                      KINGSLEY, EMMA                        KINGSLEY, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KINGSLEY, JENNIFER                   KINGSLEY, MELODY                      KINGSLEY, SARAH
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KINGSLEY, SHANNON                    KINGSLEY, SUSAN                       KINGSTON TRINDER
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KINGSTON, FRANK                      KINGSTON, KIMBERLY                    KINGSTON, LAUREN
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KINGSWAY EXTERMINATING CO.INC,       KINI, PRATHAMESH                      KINJO, ALISSA
RICHARD KOURBAGE SR.                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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KINKA, KATIE                         KINKADE, KATHLEEN                     KINKEAD, KATIE
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KINKEL, KAY                          KINKEL, STEPHANIE                     KINKEL, YUKIKO
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KINLER, STEPHANIE                    KINLEY, KERI                          KINMAN, TORI
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KINNALLY, MICHELLE    Case 22-11238-LSS    Doc
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KINNARD, JENNIFER                       KINNARI PATEL                         KINNAVY, DAIVA
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KINNE, BRIANNA                          KINNE, PATRICIA                       KINNEALLY, PATRICIA
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KINNEBREW, CYNTHIA G.                   KINNEY FAMILY TRUST                   KINNEY, AMANDA
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KINNEY, ANDREA                          KINNEY, BETTY ANN                     KINNEY, DANIEL
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KINNEY, ISABEL                          KINNEY, JEFF                          KINNEY, MICHELLE
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KINNEY, REBECCA                         KINNEY, REBECCA                       KINNEY, ROSA
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KINNEY, SCOTT                           KINNEY, THOMAS                        KINNICK, MEAGHAN
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KINNINGHAM, CHRIS                       KINNISON, JENNIFER                    KINNON, JOE
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KINOKUNIYA BOOKSTORES                   KINONEN, RICK                         KINOSHITA, DORIS
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KINS, ROBERTA         Case 22-11238-LSS    DocMARY
                                     KINSCHERF, 2 Filed 11/30/22      Page 2626  of 5495
                                                                           KINSELLA, AMELIA
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KINSELLA, BERNARD                    KINSELLA, BRITTANY                     KINSELLA, JOSH
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KINSELLA, KATE                       KINSELLA, MEGAN                        KINSELLA, RILEY
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KINSER, KHLOE                        KINSEY, CONLEY                         KINSEY, DANA
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KINSEY, DEBBIE                       KINSEY, KAREN                          KINSEY, MORGAN
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KINSEY, TOMEKA                       KINSHAW, CARYN                         KINSKY, BAILEY
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KINSLER, COLEEN                      KINSLEY, JAMIE                         KINSMAN, AUDREY
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KINSMAN, DAVID                       KINSON, REBECCA                        KINTER, MELISSA
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KINTI CONROY                         KINTZ, HANNAH                          KINTZ, JOSHUA
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KINZA SHAFIR                         KINZEL, EMILY                          KINZER, KYLEE
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KINZIE, TAMARA        Case 22-11238-LSS
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                                                                           KINZLER, 5495
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KINZLER, ZACHARY                     KINZLY, BRANDON                       KINZY, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIOKO, VICTORIA                      KIOLBASA, JACKIE                      KIOUS, MIREILLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIOUSES, STEPHANIE                   KIP, ANN                              KIPFER, BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIPHUTH, ANGEL                       KIPNES, JESSICA                       KIPNIS, JOANNE
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KIPP, ADRIANNE                       KIPP, CAROLYN                         KIPP, CAROLYN
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KIPP, DAVID                          KIPP, VICTORIA                        KIPPEN, ALISON
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KIPPER, KRISTEN                      KIPPER, LAUREN                        KIPPERS, SARAH
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KIPPHUT, NICOLE                      KIPPI ELDRED                          KIPPINS, MICHAEL
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KIR, EBRU                            KIRAGASI, BERIL                       KIRAN SHAH
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KIRBY, ANNE           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KIRBY, ARIA                      Page 2628   of 5495
                                                                           KIRBY, AUDREY
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KIRBY, COREY                         KIRBY, DEBBIE                         KIRBY, DENISE
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KIRBY, GEORGE                        KIRBY, GINA                           KIRBY, HALEY
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KIRBY, JEAN                          KIRBY, JENNIFER                       KIRBY, JENNIFER
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KIRBY, JENNIFER                      KIRBY, JOHANNA                        KIRBY, JULIA
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KIRBY, JULIE                         KIRBY, KATE                           KIRBY, KATHERYN
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KIRBY, KELLY                         KIRBY, KYLE                           KIRBY, MADISON
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KIRBY, MALLORY                       KIRBY, MARIA                          KIRBY, MEGAN
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KIRBY, SAMANTHA                      KIRBY, STACEY                         KIRBY, STEPHANIE
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KIRBY, SYDNEE                        KIRBY, TAYLOR                         KIRBY, WHITNEY
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KIRCH, SARAH          Case 22-11238-LSS    DocALLY
                                     KIRCHBERG, 2 Filed 11/30/22      Page 2629  of 5495
                                                                           KIRCHBERG, OLIVIA
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KIRCHENWITZ, TINA                    KIRCHER, LAURA                         KIRCHER, STEPHANIE
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KIRCHHOF, CHUCK                      KIRCHHOFER, BRUCE                      KIRCHHOFF STUDIOS LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         600 DIMMICK DRIVE
                                                                            LOS ANGELES, CA 90065




KIRCHHOFF, ARDITH                    KIRCHHOFF, SUSAN                       KIRCHMEIER, ERIN
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KIRCHNER, CAITLIN                    KIRCHNER, EMILY                        KIRCHNER, JILL
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KIRCHNER, LAURA                      KIRCHNER, MEAGHAN                      KIRCHNER, MICHAEL
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KIRCHNER, REBECCA                    KIRCHNER, STEVE                        KIREJCZYK, MELISSA
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KIRELL, SARAH                        KIRGIS, ADAM                           KIRIAKI, RONY
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KIRIHARA, JEAN                       KIRINCICH, SUSAN                       KIRIS, ALEXANDER
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KIRK & SIMAS, A PROFESSIONAL LAW     KIRK CONSULTING A CALIFORNIA           KIRK CRENSHAW
CORPORATION                          CORPORATION                            ADDRESS AVAILABLE UPON REQUEST
2550 PROFESSIONAL PARKWAY            8830 MORRO ROAD
SANTA MARIA, CA 93455                ATASCADERO, CA 93422
KIRK DODDS            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KIRK E HUISENGA                  Page 2630   of 5495
                                                                           KIRK LIVELY
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KIRK MILLER                          KIRK SELLERS                          KIRK, ANGELA
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KIRK, ASHLEY                         KIRK, CARRIE                          KIRK, CHRISTINE
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KIRK, CHRISTOPHER                    KIRK, ELLA                            KIRK, ERICKA
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KIRK, JAMI                           KIRK, JENNIFER                        KIRK, JOANNA
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KIRK, JOHN                           KIRK, JOSH                            KIRK, JUSTIN
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KIRK, KIM                            KIRK, LANIER                          KIRK, LISA
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KIRK, MEGAN                          KIRK, MELANIE                         KIRK, NICOLE
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KIRK, PHOEBE                         KIRK, ROBIN                           KIRK, SAMMY
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KIRK, SHARA                          KIRK, SUSAN                           KIRK, SUZANNE
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KIRK, WENDI           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KIRK, WILLIAM                    Page 2631   of KIMBERLY
                                                                           KIRKEIDE, 5495
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KIRKEMO, ASHLEY                      KIRKHAM, MICHELLE                      KIRKHART, ANGELIA
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KIRKHORN, AMELIA                     KIRKING, C A                           KIRKLAND, CAMERON
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KIRKLAND, CAROLINE                   KIRKLAND, CAROLYN                      KIRKLAND, JEANINE
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KIRKLAND, JENNIFER AND RYAN          KIRKLAND, JESSICA                      KIRKLAND, JORDAN
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KIRKLAND, KEVIN                      KIRKLAND, KIMMI                        KIRKLAND, LOREN
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KIRKLAND, MADELEINE                  KIRKLAND, MONIQUE                      KIRKLAND, RACHEL
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KIRKLAND, RHIANNON                   KIRKLAND, STACI                        KIRKLEY, SARAH
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KIRKMAN, ANDREW                      KIRKMAN, KEESHA                        KIRKMAN, LARRY
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KIRKPATRICK COUCH, ARIANE            KIRKPATRICK, ADRIENNE                  KIRKPATRICK, ALEXANDER
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KIRKPATRICK, JAMELYN                 KIRKPATRICK, JENNIFER                  KIRKPATRICK, LAUREN
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KIRKPATRICK, MOLLY                   KIRKPATRICK, SARA                      KIRKPATRICK, SARAH
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KIRKPATRICK, TARA                    KIRKPATRICK, TRACI                     KIRKSEY, ROSHAWN
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KIRKWOOD HOLDINGS, INC               KIRKWOOD, ALEXANDRA                    KIRKWOOD, ALYSHA
(KIRKWOOD PRINTING COMPANY LLC)      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
900 MAIN STREET
WILMINGTON, MA 01887




KIRKWOOD, TRACY                      KIRLEY, ELISSA                         KIRLEY, JJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KIRLIN, THERON                       KIRNER, CAROL                          KIRNER, GRANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KIRNER, NATALIE                      KIRON, KELLIAN                         KIRPALANI, SHAAN
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KIRPATRICK, CARI                     KIRPEKAR, VIKRAM                       KIRSCH, BRANNON
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KIRSCH, BRITTANY                     KIRSCH, CHRISTINA                      KIRSCH, ELIZABETH
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KIRSCH, MARK          Case 22-11238-LSS
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KIRSCH, NICOLE                       KIRSCH, NIKKI                         KIRSCHBAUM, DALIA
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KIRSCHBAUM, JULIA                    KIRSCHE, KATHERINE                    KIRSCHLING, MEGAN
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KIRSCHNER, MACKENZIE                 KIRSCHNER, REBECCA                    KIRSCHNER, THERESA
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KIRSHNER, BETSY                      KIRSHNER, MEGAN                       KIRSHNER, SY
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KIRSHTEYN, ANDREW                    KIRSHY, MAUREEN                       KIRSON, AMY
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KIRSOPP, THOMAS                      KIRSTEN, MIRANDA CANTRELL             KIRSTIE DEAN
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KIRTI TEWARI                         KIRTLEY, MEGHAN                       KIRTON, KS
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KIRTON, PATRICIA                     KIRVES, RACHEL                        KIRVIDA, SARAH
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KISANG, GREG                         KISANG, MARTIN                        KISELEVA, SVETLANA
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KISER, BRIANNA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KISER, CADIE                        Page 2634   of 5495
                                                                              KISER, CHELYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




KISER, DRAVEN                           KISER, HEATHER                        KISER, JENNI
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KISER, KAYLA                            KISER, KRISTIN                        KISH, ALLIE
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KISH, BARBARA                           KISH, CAMERON                         KISH, KACY
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KISH, MADELYN                           KISH, MEGHAN                          KISH, PETE
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KISH, RORY                              KISH, RYAN                            KISHAN, TANYA
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KISHBAUGH, CONNIE                       KISHE, MATHEW                         KISHORE KUMAR MUKKA
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KISI                                    KISIEL, ABIGAIL                       KISLING, DEANNA
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KISLING, JENNIFER                       KISLING, WHITNEY                      KISLYANSKY, MAXIM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KISNER, JESSICA                         KISNER, SHELBY                        KISO, ELAINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KISOKI, NINA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KISS, MONTARA                    Page 2635   of 5495
                                                                           KISS, SERENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KISSANE, MICHAEL                     KISSANE, WILLIAM                      KISSEL, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KISSEL, ROMY                         KISSENTANER, MARVA                    KISSIN, SONIA
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KISSKO, MARCIE                       KISSLER, KIERAN                       KISSLING, ANDREA
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KISSMAN, KELLY                       KISSNER, MEGAN                        KISSNER, RYAN
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KISST, ALYSE                         KISTER, MORGAN                        KISTLER, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KISTLER, JEAN                        KISTLER, JEN                          KISTLER, SOFIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KISTNER, SHELBY                      KITAGAWA, TAIYO                       KITAJIMA, MIHO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KITANO, AMANDA                       KITAO, SHOHEI                         KITCHEL, SAMANTHA
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KITCHELL, ANDREW                     KITCHEN, CAROL                        KITCHEN, EUNIVE
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KITCHEN, GABY & TEDDY Case 22-11238-LSS     Doc
                                     KITCHEN, JEFF2  Filed 11/30/22   Page 2636  ofJENNIFER
                                                                           KITCHEN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KITCHEN, JESSICA                     KITCHEN, TAYLOR                        KITCHEN, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KITCHENER, NYASHA                    KITCHENS, AVERY                        KITCHENS, DEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KITCHNER, MEGAN                      KITE, GUY                              KITE, KAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KITKO, AURORA                        KITOVAS, MARINA                        KITS & CO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         4040 HWY 3 EAST
                                                                            SIMCOE, ON N3Y 4K4
                                                                            CANADA




KITSON, BEAU                         KITSOS, SARAH                          KITTELL, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KITTENDORF, BRITTANY                 KITTERMAN, CAPPI                       KITTERMAN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KITTLE, RACHEL                       KITTLESON, JENNIFER                    KITTO, BILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KITTREDGE, COLLEEN                   KITTRELL, BRETTA                       KITTRELL, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KITTY GULINELLO                      KITZEL, KATE                           KITZEROW, NEKANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
KITZMILLER, JOHN      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KIVA, MIKAIL                     Page 2637
                                                                           KIVETT,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIVISTO, MICHAEL                     KIVLEN, MONICA                        KIWALA, DONNA
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KIWANIS, CRISTINA                    KIX, DAWN                             KIYOFUMI TOKUNAGA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KIZER, JESSIE                        KIZILAY, LERZAN                       KIZIOR, JENNIFER
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KIZIS, SAMANTHA                      KIZZEE, CHASIDY                       KIZZIAR, TIM
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KIZZIE, KIM                          KJAGLIEN, KATHLEEN                    KJEDERQUIST, DAVE
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KJELLSEN, DELANEY                    KJIEL CARLSON                         KJNJNKJ, LKNJN
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KJONAAS, RAECHEL                     KJOS, HOLLY                           KJOS, KATHRIN
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KJOSEN, JANE                         KKH, TEAM                             KLAASSENS, JEANNIE
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KLABO, SHAWN                         KLABON, COLLEEN                       KLACYNSKI, GLORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KLADIVO, KAY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KLADY, JENNIFER                  Page 2638
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAES, MICHAEL                       KLAESSY, SUSAN                        KLAETSCH, LINDSAY
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KLAETSCH, PATTY                      KLAIN, DANIEL                         KLAIRE KIEHNE RHODES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAJBOR, KARYN                       KLAKER, VICKI                         KLAMI, STEPHANIE
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KLANN, BRENDA                        KLAP, LANAE                           KLAPATCH, LUKAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAPPER, KRISTIN                     KLAPPER, RACHEL                       KLAR, SOFIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLARA JOSEFINE HEDLUND               KLAREN, CINDY                         KLAREN, KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLARFELD, HALEY                      KLARIN, JONI                          KLARQUIST, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAS, GARY                           KLASS, MELISSA                        KLASSEL, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLASSEN, JULIE                       KLASSEN, PETER                        KLASSEN, STEVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KLATCH COFFEE         Case 22-11238-LSS       Doc 2 Filed 11/30/22
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                                                                                     JAN5495
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KLATT, LEXI                             KLATT, MEGHAN                         KLAUS BERND STEINKLAUBER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAUS D SCHMITT                         KLAUS JOSEF GUENTHER                  KLAUS SCHWEGLER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAUS, ALEXANDRIA                       KLAUS, BROOKE                         KLAUS, PATTI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAUS, SONYA                            KLAUSMAN, BRETT                       KLAUSNER, KENSLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAUSS, NICOLE                          KLAVER, JEN                           KLAVETTER, KAREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLAVIYO                                 KLAY, RITA                            KLEBAN,, JASON
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEBANOFF, CAROLINE                     KLEBANOFF, CHRISTOPHER                KLECAN, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLECKLEY, FRANCIE                       KLEE, JENNIFER                        KLEEMAN, HANNAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEERUP, MARGIE                         KLEES, JESSICA                        KLEFFEL, JENNY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KLEHM, ELIZABETH      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KLEHR, RUTH                      Page 2640  ofKATE
                                                                           KLEIBER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEIMAN, BRENNA                      KLEIMAN, DANA                         KLEIMAN-TAPLEY, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEIMENHAGEN, ELLEN                  KLEIN LEVINE, LAUREN                  KLEIN, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEIN, AMETHYST                      KLEIN, ANJELINA                       KLEIN, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEIN, ASHLEY                        KLEIN, ASHLEY                         KLEIN, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEIN, BETHANY                       KLEIN, BRAD                           KLEIN, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEIN, CIARA                         KLEIN, COLLIN                         KLEIN, CORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEIN, CRYSTAL                       KLEIN, CYDNEY                         KLEIN, DARRELL
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KLEIN, DIANA                         KLEIN, DOREEN                         KLEIN, DREW
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KLEIN, GABI                          KLEIN, GENE                           KLEIN, HALEY
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KLEIN, HANNAH         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KLEIN, HUGH                      Page 2641   of 5495
                                                                           KLEIN, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KLEIN, JACQUELYN                     KLEIN, JEFF                           KLEIN, JENNY
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KLEIN, JESSICA                       KLEIN, JESSICA                        KLEIN, JOHN
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KLEIN, JONATHAN                      KLEIN, JUELL                          KLEIN, KAREN
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KLEIN, KATE                          KLEIN, KATIE                          KLEIN, KELLY
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KLEIN, KELLY                         KLEIN, KERRI                          KLEIN, KERRIE
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KLEIN, KRISTEN                       KLEIN, LAURA                          KLEIN, MARK
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KLEIN, MARY                          KLEIN, MATTHEW                        KLEIN, MICHAEL
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KLEIN, MICHELLE                      KLEIN, MONA                           KLEIN, NICOLE
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KLEIN, OKSANA                        KLEIN, PAT                            KLEIN, PATRICIA
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KLEIN, REBECCA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KLEIN, SUSAN                         KLEIN, SUSAN                          KLEIN, SUZANNAH
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KLEIN, SYDNEY                        KLEIN-ADAMS, JACKIE                   KLEINBERG, JOHN
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KLEINER, FREDRIC                     KLEINER, JANE                         KLEINER, KIRSTIE
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KLEINER, TREVOR                      KLEINHELTER, LARA                     KLEINHENZ, ANNIE
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KLEINHUIZEN, VALERIE                 KLEINLEIN, ELLEN                      KLEINMAN, DANIELLE
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KLEINMAN, SHEA                       KLEINMANN, SYDNEY                     KLEINS DELI
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KLEINSCHMIDT, ALLISON                KLEINSCHMIDT, LORI                    KLEINSCHMIDT, PETER
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KLEINSCHMIT, PEGGY                   KLEINSMITH, NORA                      KLEINWOLTERINK, KRISTINA
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KLEINZ, MEGAN                        KLEIST, KRISTINA                      KLEIST, LAUREEN
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KLEKOTA, GARRETT      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KLEMENS, COURTNEY                    KLEMETTI, KRISTINA                    KLEMICK, EDYTHE
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KLEMKOWSKI, DANIEL                   KLEMM, ASHLEY                         KLEMM, BROOKE
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KLEMM, HEATHER                       KLEMM, JAMES                          KLEMM, JANE
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KLEMM, ROB                           KLEMMENSEN, ANGELA                    KLEMP, CARLY
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KLEMS, JASON                         KLENCHESKI, KATIE                     KLENCHESKI, KATIE
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KLENK, ELIZABETH                     KLENK, REBECCA                        KLENKE, SARAH
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KLENOVICH, HEATHER                   KLENZING, STEPHANIE                   KLEPAC, BRITTANY
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KLEPACK, AMIE                        KLEPACKI, KAILIE                      KLEPAL, RICHARD
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KLEPEK, KATIE                        KLEPEK, KATY                          KLEPPE, JOSH
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KLEPPER, JAMIE        Case 22-11238-LSS    Doc
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KLESARIS, EMILY                      KLESK, KRISTINA                        KLESKI, SAMANTHA
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KLESSECK, VICTORIA                   KLESTADT, ERICA                        KLESTADT, GARY
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KLETT-DOUYON, JESSICA                KLETTE, MARY                           KLETTKE, KRISTIN
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KLEWICKI, JENNA                      KLEZMER, ALISJA                        KLICH, THOMAS
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KLICHE, WALTER                       KLICK, BRIAN                           KLIENS DELI
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KLIER, NANCY                         KLIEWER, JOHN                          KLIM TYPE FOUNDRY
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KLIMASHOUSKY, DANIELLE               KLIMBACK, BILL                         KLIMEK, JENNIFER
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KLIMPERT, ANN                        KLINCHUCH, CATHERINE                   KLINE, BECCA
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KLINE, CHELSEA                       KLINE, CHEYENNE                        KLINE, CHRISTY
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KLINE, COURTNEY       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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KLINE, DANNIELLE                     KLINE, ELIZABETH                      KLINE, EMILY
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KLINE, EMILY                         KLINE, HANNAH                         KLINE, HEATHER
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KLINE, JAMES                         KLINE, JOSH                           KLINE, KAREN
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KLINE, KAREN                         KLINE, KIMBERLY                       KLINE, LINDSAY
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KLINE, LOGAN                         KLINE, MELISSA                        KLINE, NIKKI
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KLINE, SABRINA                       KLINE, SAMANTHA                       KLINE, SPENCER
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KLINE, STEPHANY                      KLINE, WENDY                          KLINEBERG, ANNA
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KLINEFELTER, KATIE                   KLINESMITH, ASHLEY                    KLING, DAVID
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KLING, JON                           KLING, VICKI                          KLINGBEIL, KRISSY
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KLINGEL, STEVE        Case 22-11238-LSS     Doc 2SANDRA
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KLINGENSMITH, TISHA                  KLINGER, BECKY                        KLINGER, CARRIE
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KLINGER, DEVON                       KLINGER, ELIZABETH                    KLINGER, JOAN
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KLINGER, KRISTIN                     KLINGER, SARAH                        KLINGERMAN, MONICA
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KLINGFUS, SAMUEL                     KLINGINSMITH, JAMIE                   KLINGLER, BRITTANY
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KLINGLER, DAVID                      KLINGLER, KYLE                        KLINGLER, MADISON
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KLINK, AMY                           KLINK, ANGIE                          KLINKER, ADAM
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KLINKER, DONALD                      KLINKOUSKAYA, VIKTORYIA               KLINSHAW, DESIRE
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KLION, JESSICA                       KLIPFEL, EMILY                        KLIPPEL, RACHEL
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KLIPPENSTEIN, ZACH                   KLIR, EDWARD                          KLISCH, SAMANTHA
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KLITTNICK, DEBBIE     Case 22-11238-LSS
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KLIUIKOV, IVAN                       KLM                                      KLOBERDANZ, SHARON
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KLOBUCHER, MATTHEW                   KLOC, LISA                               KLOCK, HELEN
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KLOCK, MARY                          KLOCKO, CHERYL                           KLOEBLEN, MARY KATE
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KLOEVEKORN, NICOLE                   KLOF, SOFIA                              KLOIBER, CASEY
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KLOIN, SCOTT                         KLOO, PATRICIA                           KLOP, KRISSONDRA
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KLOPACK, DANIELLE                    KLOPF, MEGHAN                            KLOPFSTEIN, MOLLY
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KLOPPENBURG, LIANNE                  KLOSE, CARA                              KLOSE, SARA
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KLOSE, SHELBY                        KLOSER, MARK                             KLOSS, CHERYL
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KLOSSNER, JOYCE                      KLOSTER, MELISSA                         KLOSTERHOFF, LAUREN
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KLOSTERMAN, ELLEN     Case 22-11238-LSS    Doc 2KAREN
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KLOSTERMAN, STEPHEN                  KLOTZ, ALISON                         KLOTZ, ALISON
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KLOTZ, DAVID                         KLOUDA, KARLAANE                      KLUBER, COREY
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KLUBERDANZ, BRIAN                    KLUBNICK, GAIL                        KLUBNIK, RILEY
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KLUCEWICH, LAUREN                    KLUCHUROSKY, MELISSA                  KLUCK, PAIGE
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KLUCKEN, LINDA                       KLUDT, KELLI                          KLUEGEL, KATHLEEN
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KLUESNER, BARRY                      KLUG, ASHLEY                          KLUG, CORRINE
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KLUGE, MELISSA                       KLUGE, MICHAEL                        KLUGE, PATRICK
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KLUGH, BONNIE                        KLUGH, STACI                          KLUK, MARGARET
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KLUMPER, MACIE                       KLUNDT, KATHRYN                       KLUNK, AMANDA
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KLUNK, JENNIFER       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KLUS, CATHERINE                         KLUS, MADELYN                         KLUS, PRINCESS
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KLUSKA, LAYNE                           KLUSMEYER, ADRIENNE                   KLUTE, DUANE
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KLUTH, JESSICA                          KLUTMAN, LAURA                        KLUVER, SUZANNE
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KLUXEN, BAINES                          KLYMENKO, ANDREW                      KLYNSTRA, ADRIENNE
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KM, ZAHID                               KMAN, NICOLE                          KMART
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KMART.COM                               KMATZ, STEVEN                         KMETTY, LORI
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KMIC, JENI                              KMIEC, LAURA                          KMIECIK, WENDY
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KMIOTEK, MATTHEW                        KNA DEVELOPMENTS, LLC                 KNABE, LIZ
ADDRESS AVAILABLE UPON REQUEST          1320 N. HARPER AVE. 110               ADDRESS AVAILABLE UPON REQUEST
                                        WEST HOLLYWOOD, CA 90046




KNABLE, AMANDA                          KNADLE, JENNA                         KNAISCH, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KNAP, JOHN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KNAPP, CYNTHIA                       KNAPP, DEANIA                         KNAPP, HANNAH
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KNAPP, HEATHER                       KNAPP, HOWARD                         KNAPP, JAMES
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KNAPP, JAMIE                         KNAPP, JOLIE                          KNAPP, JULIA
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KNAPP, KATHARINE                     KNAPP, KATIE                          KNAPP, KATRINA
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KNAPP, KIM                           KNAPP, KIZAAN                         KNAPP, KRISTEN
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KNAPP, MICHELLE                      KNAPP, MIRIAM                         KNAPP, MONA
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KNAPP, MONICA                        KNAPP, MORGAN                         KNAPP, PARKER
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KNAPP, PATRICIA                      KNAPP, PATRICIA                       KNAPPENBERGER, ROBYN
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KNAUER, JORJA                        KNAUF, SANDRA                         KNAUSS, JAMES
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KNAVEL, JAMIE         Case 22-11238-LSS
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KNEBEL, CARLENE                      KNEBEL, MARCIA                        KNECHT, KATIE
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KNECHTEL, ASHLYN                     KNECHTEL, KATIE                       KNEELAND, JEFF
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KNEELAND, KAREN                      KNEIB, ALLISON                        KNEICE, JORDYN
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KNEISEL, GREGORY                     KNEISLER, JERRIE ANNE                 KNEIZYS, CLAIRE
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KNELL, JAMIE                         KNELLER, ANNA                         KNEPKA, MEGAN
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KNEPP, LINDSAY                       KNEPPER, JASON                        KNEPPER, JESSE
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KNEPPER, KATIE                       KNEPPER, WES                          KNERR, SHANNON
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KNES, BRANDON                        KNESS, RHONDA                         KNETSCH, JEFFREY
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KNETZER, LISA                        KNEZ, BO                              KNEZOVICH, BRITTANIE
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KNICK, LINDA          Case 22-11238-LSS    Doc 2 STEPHANIE
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                                                                           KNICKREHM, MONIKA
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KNICLEY, JORDON                      KNIE, JERRY                            KNIEBEL, BRIAN
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KNIEPER, LACI                        KNIER, TRACI                           KNIERIM, PATRICIA
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KNIERY, SARAH                        KNIESE, WENDY                          KNIESS, DENA
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KNIFFEN (ICO MICHELLE WARD), WENDY   KNIFFIN, NIKOLE                        KNIGGE, CALEB
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KNIGHT, ALAN                         KNIGHT, ALEXANDRA                      KNIGHT, ALEXANDRIA
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KNIGHT, AMANDA                       KNIGHT, ANIKA                          KNIGHT, ARIELLE
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KNIGHT, ASHLEY                       KNIGHT, CAMILLE                        KNIGHT, CARLA
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KNIGHT, CARLEEN                      KNIGHT, CHEYENNE                       KNIGHT, CHRISSY
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KNIGHT, CHRISTINE                    KNIGHT, COLLEEN                        KNIGHT, CRISTINA
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KNIGHT, CYNTHIA       Case 22-11238-LSS
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KNIGHT, DEMETRIA                     KNIGHT, DUSTYNN                        KNIGHT, EVA
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KNIGHT, GEOFF                        KNIGHT, HANNAH                         KNIGHT, HANNAH
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KNIGHT, HAYDEN                       KNIGHT, HILLARY                        KNIGHT, HOLLY
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KNIGHT, JANN                         KNIGHT, JENNA                          KNIGHT, JENNY
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KNIGHT, JOELENE                      KNIGHT, JOHN                           KNIGHT, JOHN
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KNIGHT, JOHN                         KNIGHT, JOLENE                         KNIGHT, KAREN
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KNIGHT, KASEY                        KNIGHT, KATHRYN                        KNIGHT, KELLY
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KNIGHT, KELLY                        KNIGHT, KENNETTA                       KNIGHT, KERRY
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KNIGHT, LAURA                        KNIGHT, LAUREN                         KNIGHT, LINDSEY
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KNIGHT, LORI          Case 22-11238-LSS
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KNIGHT, MADELYN                      KNIGHT, MAGGIE                         KNIGHT, MARI
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KNIGHT, MARIE                        KNIGHT, MICHAEL                        KNIGHT, NELSON
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KNIGHT, NICOLE                       KNIGHT, POLLY                          KNIGHT, RAVEN
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KNIGHT, SAMANTHA                     KNIGHT, SHEKERE                        KNIGHT, STEPHANIE
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KNIGHTEN, BERNETTA                   KNIGHTLY, LESLIE                       KNIGHTON, SAMANTHA
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KNIGHTON, SARAHWILLIEMAE             KNIGHTS, CHRISTIAN                     KNIGJG, AMANDA
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KNIK, JEFFREY                        KNIPP, ASHLEY                          KNIPPA, SYDNEY
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KNIPPEL, KAREN                       KNISELY, BROOKE                        KNISKA, JACQUELINE
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KNISLEY, CAROLYNN                    KNISTER, JENNIFER                      KNOBBE, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
KNOBBE, MARY          Case 22-11238-LSS
                                     KNOBEL,Doc 2 Filed 11/30/22
                                             EMMAQ                    Page 2655 ofMICHELLE
                                                                           KNOBEL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOBEL, ZACHARY                      KNOBLAUCH, MICHELLE                   KNOBLE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOBLE, OLIVIAH                      KNOBLOCH, DOUG                        KNOCH, JAYME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOCK, MARCIA                        KNOCKE, WILL                          KNODE, KAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNODT, JANESSA                       KNOEBEL, CONNIE                       KNOEDLER, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOELL, CLAUDIA                      KNOERZER, MARGARET                    KNOKE, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOL, AMANDA                         KNOLES, MATTHEW                       KNOLL, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOLL, HOLLY                         KNOLL, JARED                          KNOLL, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOLL, JUDY                          KNOLLE, JACOBA                        KNOOP, RYLEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOP, RAVEN                          KNOPF, ADIRA                          KNOPF, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KNOPF, EMILY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KNOPF, LAURA                          Page 2656  of ANDREW
                                                                                KNOPICK, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




KNOPP, KEELY                            KNOPP, LYNDSAY                          KNOPPING, GREGORY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KNOREK, COLLEENE                        KNORPP, JACK                            KNORR, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KNORR, KELSEY                           KNORR, MEGAN                            KNORR, NATASHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KNORR, VICTORIA                         KNOSPE, DON                             KNOSTMAN, COURTNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KNOTH, HENRY                            KNOTISDESIGN                            KNOTT, COLTON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




KNOTT, DANIELLE                         KNOTT, FRANCIS                          KNOTT, HOLLY AND STEVE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KNOTT, JACK                             KNOTT, JOSCELYN                         KNOTT, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KNOTTS BERRY FARM                       KNOTTS, JUNEIOUS                        KNOUSE, BRYAN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KNOUSE, TAYLOR                          KNOWLDEN, DAVID                         KNOWLER, ANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
KNOWLES, CHRISTINA    Case 22-11238-LSS    Doc
                                     KNOWLES,   2 Filed 11/30/22
                                              DEBRA                   Page 2657 of 5495
                                                                           KNOWLES, FAITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOWLES, JAIME                       KNOWLES, JEANNEMARIE                  KNOWLES, JODY
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KNOWLES, KEELY                       KNOWLES, KELLEY                       KNOWLES, KIRSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOWLES, LINDSEY B.                  KNOWLES, MARISSA                      KNOWLES, MARY LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOWLES, MEGAN                       KNOWLES, RICHARD                      KNOWLES, TREVOR
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KNOWLES, WILLIAM                     KNOWLING, BREANNA                     KNOWLTON, JACQUELINE
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KNOWLTON, SUSAN                      KNOX, ALICIA                          KNOX, ASHLEY
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KNOX, BETHANY                        KNOX, CAROLINE                        KNOX, CATHERINE
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KNOX, CHAZ                           KNOX, DALLAS                          KNOX, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNOX, DONNA                          KNOX, GEORGE                          KNOX, GRANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KNOX, JULIA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KNOX, KAYLA                      Page 2658  of 5495
                                                                           KNOX, KEVIN
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KNOX, KORIN                          KNOX, KYLE                            KNOX, LAURA
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KNOX, MARISA                         KNOX, MEGAN                           KNOX, OLIVIA
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KNOX, SADIE                          KNUCKLES, JOSEPH                      KNUCKLES, PAYTON
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KNUDSEN, ALEXA                       KNUDSEN, JANET                        KNUDSEN, JOEL
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KNUDSEN, LILLIAN                     KNUDSEN, MICHELLE                     KNUDSEN, SARAH
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KNUDSEN, TARA                        KNUDSEN, TIFFANY                      KNUDSON, CAITLYN
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KNUDSON, DAVID                       KNUDSON, HANNAH                       KNUDSON, KARIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNUDSON, MARDI                       KNUDTAMARN, PONGPETCH                 KNUDTSON, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNUPP, ALLISON                       KNUPP, COURTNEY                       KNUTESON, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KNUTH, KYMRA          Case 22-11238-LSS    Doc
                                     KNUTSEN, TOM2   Filed 11/30/22   Page 2659 of 5495
                                                                           KNUTSON, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KNUTSON, AMY                         KNUTSON, BARBARA                      KNUTSON, BARBARA
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KNUTSON, CLARA                       KNUTSON, DANELLE                      KNUTSON, KARRIE
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KNUTSON, KRISTINE                    KNUTSON, LEAH                         KNUTSON, MATTHEW
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KNUTSON, STACIE                      KNUTTI, JEANETTE                      KNYTYCH, PATRICIA
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KO, AMY                              KO, ANGELA                            KO, ARA
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KO, CINDY                            KO, CLAUDIA                           KO, ELENA
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KO, EUNMI                            KO, LENA                              KO, PETER
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KO, YUH LING                         KOAH, KIM                             KOBARI, REBEKAH
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KOBASHI, NANCY                       KOBAYASHI, HIROKI                     KOBAYASHI, NATALIA
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KOBDISH, LISA         Case 22-11238-LSS     Doc
                                     KOBELIN,    2 Filed 11/30/22
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                                                                           KOBER,of 5495
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KOBER, FARRA                         KOBER, MYSCHELLE                      KOBERLEIN, ESTHER
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KOBERLING, AMY                       KOBETITSCH, CAITLIN                   KOBIELA, LAURYN
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KOBITO, MICHAEL                      KOBLENTZ, BAILEY                      KOBLER, RON
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KOBORG, DAN                          KOBOS, WALLY                          KOBOSKO, JESSICA
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KOBRINE, SANDIE                      KOBTSEVA, SVETLANA                    KOBUS, ROBERT
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KOCA, MATT                           KOCAN, CHRISTINE                      KOCEN, BELINDA
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KOCH DEBIASE, LEAH                   KOCH, ABIGAIL                         KOCH, ALISON
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KOCH, ASHLEY                         KOCH, ASHTON                          KOCH, BENJAMIN
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KOCH, BRANDON                        KOCH, BRENNA                          KOCH, BROOKE
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KOCH, DANIELLE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KOCH, DAVE                       Page 2661  of 5495
                                                                           KOCH, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOCH, EMILY                          KOCH, JAMIE                           KOCH, JASON
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KOCH, JILL                           KOCH, KATE                            KOCH, KATHERINE
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KOCH, KATIE                          KOCH, KIMBERLY                        KOCH, KL
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KOCH, LESLEY                         KOCH, LINDA                           KOCH, LINDSAY
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KOCH, LINDSEY                        KOCH, MADELYN                         KOCH, MADISON
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KOCH, MARTIN                         KOCH, MAX                             KOCH, MCKENZIE
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KOCH, MEGAN                          KOCH, MICHAEL                         KOCH, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOCH, MILLI                          KOCH, NICOLE                          KOCH, NICOLE
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KOCH, PATTI                          KOCH, PAULA                           KOCH, PEG
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KOCH, PHYLLIS         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KOCH, RACHAEL                    Page 2662  of 5495
                                                                           KOCH, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOCH, SUMMER                         KOCH, TORREY                          KOCHAN, LAURA
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KOCHBARSKI, ARIEL                    KOCHENOWER, ELISABETH                 KOCHER, BOB
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KOCHER, DOUGLAS                      KOCHER, JULIANA                       KOCHER, KRISTEN
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KOCHER, LESLIE                       KOCHER, MELISSA                       KOCHERT, KATHERINE
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KOCHIEN, JAMES                       KOCHIS, NICOLE                        KOCHLANY, AMI
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KOCHNER, KELCEY                      KOCIAN, BRADLEY                       KOCIAN, KALI
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KOCKENMEISTER, TAYLOR                KOCOUREK, AMY                         KOCSI, KIM
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KOCUR, ELIZABETH                     KOCZERA, KATIE                        KODA, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KODALI, GOUTHAM                      KODAMA, KAITARO                       KODISH, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                       Case 22-11238-LSS
KODITHYALA, SHIVA KRISHNA                   Doc
                                      KODNER,    2 Filed 11/30/22
                                              HALEY                    Page 2663
                                                                            KODSI, of 5495
                                                                                   ELISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KODURI, JYOTSNA                       KODY, MARGARET                        KODZIK, BILL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEBBE, ELIZABETH                     KOEBEL, ASHLEY                        KOEBER, LISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEBLI, VICTORIA M                    KOECHEL, HANNAH                       KOECKE, CONNIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOED, MATT                            KOEHL, MATT                           KOEHL, MEREDITH
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KOEHLER, ADAM                         KOEHLER, AMANDA                       KOEHLER, AMANDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEHLER, ANGIE                        KOEHLER, ANNE                         KOEHLER, CAREN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEHLER, CHELSEA                      KOEHLER, DOROTHY                      KOEHLER, EMILY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEHLER, JACKSON                      KOEHLER, JESSICA                      KOEHLER, KELLY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEHLER, KELLY                        KOEHLER, LEAH & BEN                   KOEHLER, MARIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KOEHLER, PAIGE        Case 22-11238-LSS    Doc
                                     KOEHLER,   2 Filed 11/30/22
                                              SCOTT                   Page 2664 ofKRISTEN
                                                                           KOEHLY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEHN, ANDREA                        KOEHN, DAVID                          KOEHN, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEHN, PALLIE                        KOEHNE, BRITTANY                      KOEHNE, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOEHNE, ROBERT                       KOEHNE, STEPHANIE                     KOEHNEN, LIESL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOELBEL, COURTNEY                    KOEN, TAYLOR                          KOENDERMAN, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOENEN, ALICIA                       KOENIG, ALLISON                       KOENIG, COURTENEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOENIG, ERIK                         KOENIG, JON                           KOENIG, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOENIG, LINDSAY                      KOENIG, LORI                          KOENIG, LUCUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOENIG, LYNN                         KOENIG, MADISON                       KOENIG, MARIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOENIG, RICHARD                      KOENIG, SAM                           KOENIG, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KOENIG, STACEY        Case 22-11238-LSS
                                     KOENIG,Doc  2 Filed 11/30/22
                                            WILLIAM                   Page 2665  of MARION
                                                                           KOENIGS, 5495
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KOENINGER, KENT                      KOENITZER, JEFFREY                     KOENRAAD W BECKERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOEP, KELLEY                         KOEPKE, ERIN                           KOEPP, LESLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOEPPEL DIRECT                       KOEPPEL, MEGAN                         KOEPPEL, PETER
16200 DALLAS PARKWAY SUITE 270       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DALLAS, TX 75248




KOEPPER, ERIKA                       KOEPSELL, CAITLIN                      KOEPSELL, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOERBER, KENT                        KOERITZ, CATHERINE                     KOERNER, JANELLE
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KOERNER, LINDSAY                     KOESSEL, BRI                           KOESTER, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOESTER, JAMES                       KOESTER, JASON                         KOESTNER, CASEY
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KOETHE, LINDA R.                     KOETS, MONICA                          KOETTER, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOETTER, JULIA                       KOETZLE, JULIE                         KOFAHL, CHAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
KOFF, RANDALL         Case 22-11238-LSS    Doc 2 JUSTIN
                                     KOFFENBERGER,   Filed 11/30/22     Page 2666
                                                                             KOFFIE,of 5495
                                                                                     MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




KOFFMAN, DANA                        KOFFMAN, DONNA                           KOFFORD, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




KOFI OFOSU-ASANTE                    KOGI BBQ                                 KOGLER, ELIZABETH
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KOGUT, JESSICA                       KOGUT, NICKI                             KOGUT, SPENCER
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KOH, A                               KOH, CHRISTOPHER                         KOH, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




KOH, FLORENCE                        KOHAKE, KAYLA                            KOHANZADEH, DANI
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KOHAR, FELICIA                       KOHART, SARAH                            KOHEL, DAVID
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KOHL, KAREN                          KOHL, LINDSEY                            KOHL, STEPHEN
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KOHL, VANESSA                        KOHL, WILLIAM                            KOHLASCH, KAELYN
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KOHLER, ALYSSA                       KOHLER, BRENT                            KOHLER, CAROLINE
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KOHLER, ELIZABETH     Case 22-11238-LSS
                                     KOHLER,Doc  2 Filed 11/30/22
                                             HOLLY                      Page 2667 ofJAMIE
                                                                             KOHLER, 5495
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KOHLER, KATIE                        KOHLER, NICOLE                          KOHLER, ROBERT
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KOHLER, ROBERT                       KOHLER, SARAH                           KOHLHEIM, TYRONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KOHLI, AMANDA                        KOHLI, MONIKA                           KOHLI, ROHAN
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KOHLMAYER, KATIE                     KOHLMIER, ALESSANDRA                    KOHLS, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KOHN, CANDICE                        KOHN, KARA                              KOHN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KOHNE, MICAH                         KOHR, RACHEL                            KOHTALA, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KOHUT, KAREN                         KOI                                     KOINIS, DORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




KOIRO, PAULA                         KOIVISTO, ASHLYNN                       KOJAC, MATTHEW
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KOJIMA, REIMI                        KOJIMA, TAKESHI                         KOJSZA, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
KOK, MELISSA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KOKAI, LAUREN                    Page 2668
                                                                           KOKAL, of 5495
                                                                                  CAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOKE, KRISTOPHER                     KOKEMOR, SHAWN                        KOKENGE, SAMANTHA
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KOKER, CHANTEL                       KOKESH, CARLY                         KOKHANCHUK, ANA
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KOKHTANI, ANITA                      KOKICH, KAYLA                         KOKINA, ANGELINA
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KOKINOS, KARA                        KOKISH, SHANNON                       KOKKA, MARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOKO, EUNICE                         KOKOCINSKI, SKYLER                    KOKOS, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOKOSZKA, BRENDEN                    KOKSTEIN, ROBERT                      KOLACEK, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOLAKAUSKAS, KURT                    KOLAKOWSKY-HAYNER, STEPHANIE          KOLANDER, BROCK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOLANKOWSKI, NICOLE                  KOLAR, KEITH                          KOLAR, KIMBERLY
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KOLAR, NOAH                          KOLAR, OLIVIA                         KOLARSICK, WILLIAM
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KOLASKOS, ANGIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KOLB, ADAM                       Page 2669   of 5495
                                                                           KOLB, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOLB, BRITTANY                       KOLB, BRUNO                           KOLB, DANIELLE
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KOLB, JANET                          KOLB, KATELYN                         KOLB, LYN
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KOLB, SUZANNE HI MOM - E             KOLBACH, ANA                          KOLBE, ERIN
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KOLBE, LIBBY                         KOLBENSTETTER, SUSAN                  KOLBER, DENISE
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KOLBER, JESSE                        KOLBERG, EMILY                        KOLBO, KATHERINE
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KOLC, OLIVIA                         KOLDE, JORDAN                         KOLDER, ABIGAIL
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KOLE, ALANA                          KOLE, JESSICA                         KOLEADA, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOLECKI, NICOLE                      KOLEGA, GREG                          KOLEN, KAREN
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KOLENDA, KATE                        KOLENOVIC, BARBARA                    KOLES, JUDY F
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KOLESNIKOFF, ANNE     Case 22-11238-LSS     DocDIANA
                                     KOLIANDER, 2 Filed 11/30/22      Page 2670   of 5495
                                                                           KOLIN, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOLINETS, KATARZYNA                  KOLINSKI, DAVID                       KOLIOPOULOS, BRENDA
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KOLJA, EMILY                         KOLKENA, MELINDA WHITAKER             KOLKER, HEATHER
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KOLKER, JACEY                        KOLL, DONNA                           KOLLAR, SARAH
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KOLLAROS, KATE                       KOLLARS, NICK                         KOLLE, HANNAH
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KOLLER, KASIA                        KOLLER, SARAH                         KOLLER, TOM
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KOLLIE, FAITH                        KOLLIPARA, REVATHI                    KOLLMAN, CHARLOTTE
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KOLLMER, BRITTANY                    KOLLURU, PRADHITA                     KOLLUS, MAUREEN
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KOLMAN, ALEXANDRA                    KOLMODIN, KATE                        KOLODICH, ROSE
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KOLODNY, LAUREN                      KOLODZIEJ, BRUCE                      KOLODZIEJ, JACK
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KOLODZIEJ, JEN        Case 22-11238-LSS    Doc 2KEVIN
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                                                                           KOLOJACO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOLOKOUSIS, RACHEL                   KOLOMIJEZ, TANYA                       KOLOSKY, JUSTIN
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KOLOSOSKI, MONA                      KOLOSSOVSKY, DMITRI                    KOLOVICH, CAITLIN
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KOLPAK, REBECCA                      KOLPIN, MALLORY                        KOLSKY, KATE
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KOLSON, DENNIS                       KOLSRUD, ERICA                         KOLSTAD, WILLIAM
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KOLTERMAN, MAZIE                     KOLTERMANN, MEREDITH                   KOLTON, BONNIE
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KOLWICZ, KERRI                       KOLWICZ, SAMANTHA                      KOLWITZ, JACQUELINE
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KOMAREK, NELSON                      KOMARNICKI, SARAH                      KOMAROSKI, JULIA
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KOMASINCKI, CALLIE                   KOME, JOSEPH                           KOMEN, LEONARD
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KOMINEK, NICHOLAS                    KOMINICK, BRIAN                        KOMIS, MADILYN
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KOMMES, KASSI         Case 22-11238-LSS    Doc
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                                                                           KOMMRITZ, LAURIE
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KOMODO LLC                           KOMOR, ALEXIS                          KOMOROSKI, MICHELE
8809 W. PICO BLVD.                   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90035




KOMOROWSKI, BRIANNE                  KOMOROWSKI, JOSIE                      KOMOSINSKI, STACIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOMPANIYETS, NATALYA                 KOMPERDA, LAURA                        KOMPROOD, RUTHIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KONANS, SHANE                        KONAR, MARTHA                          KONARSKI, JULIA
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KONAT, JULIA                         KONCHAK, VICKI                         KONCKI, LAUREN
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KONCZYK, CHRISTINA                   KONDA, SIDDHARTHA                      KONDAMUDI, NITIN
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KONDERLA, DAPHNE                     KONDO, TETSU                           KONDRACKE, BRANDI
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KONDRACKI, JESSICA                   KONDRAD, JUDITH                        KONDRAD, JUDITH
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KONDRAT, JEFF                        KONDRATOWICZ, PAUL                     KONDRATUK, TAMMY
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KONEN, JACLYN         Case 22-11238-LSS
                                     KONEN, Doc  2 Filed 11/30/22
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KONERMANN, SHANNON                   KONEVICH, MARIAN                      KONG, ALYSSA
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KONG, CHRISTIE                       KONG, COLLEEN                         KONG, EMILY
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KONG, JOANNA                         KONG, KELLIE                          KONG, MAKENA
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KONG, SAMANTHA                       KONG, VEASNA                          KONG, VEASNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KONGA, SREEHARSHA                    KONHAUZER, ALEXA                      KONICA MINOLTA BUSINESS SOLUTIONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        U.S.A., INC.
                                                                           100 WILLIAMS DRIVE
                                                                           RAMSEY, NJ 07446




KONICA MINOLTA                       KONICA MINOLTA                        KONICKI, SAMANTHA
P.O. BOX 31001-0273                  PO BOX 51043                          ADDRESS AVAILABLE UPON REQUEST
PASADENA, CA 91110-0273              LOS ANGELES, CA 90051-5343




KONIECZNY, LIA                       KONIECZNY, MITCHELL                   KONIERS, STEPHENIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KONIK, KASIA                         KONING, SHANA                         KONITS, BARBARA
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KONITZER, JACOB                      KONIUK, VICTORIA                      KONJEVOD, CVITAN
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KONKOLI, AMBER        Case 22-11238-LSS    Doc
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                                                                           KONKUL, 5495
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KONLANI, DODAM                       KONNATH, ANNE                         KONNECTDESIGN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        KAREN KNECHT SQUIRES
                                                                           710 WILSHIRE BLVD, SUITE 404
                                                                           SANTA MONICA, CA 90401




KONOPACK, GINA                       KONOPKA, AUTUMN                       KONOWITZ, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KONRAD STAPLER                       KONRAD, BARBRA                        KONRAD, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KONRAD, LYNN                         KONRAD, MEREDITH                      KONROYD, STEPHEN
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KONSHAK, CHRISTIAN                   KONSHAK, TREY                         KONSTANT, KEVIN
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KONSTANTINOS KARANIKOLAOU            KONSTANTINOS SPALIARAS                KONTELIS, JEREMY
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KONTOGIANNIS, MARIA                  KONTOH, AFIA                          KONTONICKAS, CHRISTINA
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KOO, JAJAUNG                         KOO, MICHELLE                         KOO, SERENA
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KOO, YOUNG                           KOOB, DAVID                           KOOB, JACQUELINE
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KOOB, KYLAH           Case 22-11238-LSS
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KOOIJ, CHRISTINA                     KOOIKER, CALLIE                       KOOKEN, DAN
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KOOL, ALYSSA                         KOOMEN, KATRINA                       KOONCE, DANIELLE
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KOONCE, KARA                         KOONCE, KEN                           KOONCE, PHIL
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KOONE, PATRICK                       KOONS, MEGAN                          KOONS, MICHELE
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KOONSMAN, JULIA                      KOONSMAN, RACHEL                      KOONTZ, BRITTNEY
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KOONTZ, HEATHER                      KOONTZ, JACKIE                        KOONTZ, JEANINE
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KOONTZ, JONATHAN                     KOONTZ, KIMBERLY                      KOONTZ, KIMBERLY
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KOONTZ, KIRIS                        KOONTZ, RANDY                         KOONTZ, SHERYL
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KOOP, BRITTNEY                       KOOPMAN, STEVEN                       KOOPMAN, TERI
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KOOPMANN, AMY         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       3205 LOS FELIZ BLVD 13-209            ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90039




KOOSHERIAN, GARABED                  KOPA, MARY                            KOPA, TIFFANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOPAN, TAL                           KOPCHAK, MAURA                        KOPCHIK, PETER
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KOPCHO, MIKAILA                      KOPCZYNSKI, ANN                       KOPEC, THOMAS
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KOPECKY, EVE                         KOPEL, JULIET                         KOPELMAN, JAIME
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KOPELOVE, RACHEL                     KOPEPASAH, BOBBIE JO                  KOPER, HANNAH
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KOPETSKY, MARYA                      KOPF, DOUGLAS                         KOPF, MEGAN
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KOPFHAMER, RACHEL                    KOPFSTEIN, RIVKA                      KOPIASZ, JAMES
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KOPILAK, JEANETTE                    KOPITZ, STEVEN                        KOPITZKE, NATALIE
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KOPNITSKY, KATY                      KOPP, ADAM                            KOPP, ANDREA
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KOPP, CAITLIN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KOPP, JASON                      Page 2677   of 5495
                                                                           KOPP, JOLEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOPP, MEAGAN                         KOPPEL, ALI                           KOPPELMAN, JENNIFER
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KOPPELMAN, KRISTIN                   KOPPENOL, KELSEY                      KOPPES, KATIE
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KOPPIE, TERESA                       KOPPING, TONI                         KOPPLIN, JON
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KOPPS, PEG                           KOPRO, LISA                           KOPROWSKI, CARRIE
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KOPROWSKI, DANA                      KOPROWSKI, MICHAEL                    KOPS, ERIC
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KOPS, NIC                            KOPS, SAMANTHA                        KOPSHEVER, SARA
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KOPSKY, WHITNEY                      KOPULOS, DENA                         KOPYSTECKI, CHRIS
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KOPYTKO, ABBY                        KORAL, AARON                          KORAN, TAMMIE
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KORB, JESSICA                        KORB, KIM                             KORBA, ALYCE
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KORBA, LAURA          Case 22-11238-LSS
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                                                                           KORBEL,  5495
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KORBIN KENMORE                       KORCH, LORI                           KORCUSKA, PAUL
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KORDISCH, TAUSHA                     KORDUS, JUDY                          KORDUSKY, MEAGHAN
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KOREC, DANIELA                       KOREN, BETH                           KOREN, TALIA
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KORENEK, ERYN                        KORENFELD, IGOR                       KORENTZELOS, DIMITRIOS
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KORETZ, TAYLOR                       KORF, CONNIE                          KORFF, GAY LYNN
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KORGAN, WHITNEY                      KORHUMMEL, DAVID                      KORI WOLCOTT
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KORI, KAELBERER,                     KORINEK, SHARON                       KORINIS, CASSANDRA
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KORINNE LITRELL                      KORIPELLA, LAKSHMI                    KORK BUN CHEA
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KORKIAN, GEORGE                      KORKIS, SAMAR                         KORKUT, MELDA
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KORMAN, CHARLES       Case 22-11238-LSS    Doc
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KORMANIK, ERIN                       KORMOS, OLIVIA                        KORMYLO, RODGER
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KORN, SUSAN                          KORNACKI, KATHRYN                     KORNAS, NICOLE
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KORNEGAY, CHARLOTTE                  KORNEGAY, JASMINE                     KORNEGAY, ROBERTO
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KORNESCZUK, MEGAN                    KORNEXL, KAYLA                        KORNFELD, MIRANDA
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KORNGUT, CATHY                       KORNHAUS, MITCH                       KORNHAUSER, MADDY
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KORNMEIER, DANA                      KORNRUMPF, HANNAH                     KORNSTEIN, EMILY
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KOROL, ALEX AND VICKY                KOROLEVICH, JESSICA                   KOROMA, HAWA
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KOROMPIS, PRISCILLA                  KORONA, BETSY                         KORONEOS, CHRISTINE
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KORONOWSKI, BRYAN                    KOROTKIN, SAMANTHA                    KOROVAYNYK, OLENA
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KORPELA, WILLIAM      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     KORPI, HEATHER                   Page 2680   of 5495
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KORSBERG, KEVIN                      KORSGEN, GLORIA                       KORSHUNOV, DMITRII
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KORST, KATIE                         KORT, ALLY                            KORT, LAUREN
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KORT, REGHAN                         KORTAS, JUSTYNA                       KORTE, ELLEN
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KORTE, ELLEN                         KORTE, KAYLIN                         KORTH, JASON
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KORTH, KRISTY                        KORTKAMP, KATIE                       KORTMANSKY, KIEVE
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KORTNEY ADAMS                        KORTNEY BURLING                       KORTNEY WOOD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KORTT, LINDSAY                       KORTZ, KATELYN                        KORU BRANDS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        L1 THE COTTAGE, SCHOOL LANE HIGH
                                                                           EASTER
                                                                           ESSEX CM1 4QP
                                                                           UNITED KINGDOM



KORU LIQUOR BRANDS SOURCING LTD      KORWAN, KELLY                         KORWAN, KELLY
THE COTTAGE, SCHOOL LANE             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HIGH EASTER CN1 4QP
UNITED KINGDOM




KORWIN, WENDY                        KORY, CAROL                           KORZHOVA, POLINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KOS, CAROLYN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSACHEVSKY, EDINA                   KOSAL, ALEXA                          KOSAL, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSARAJU, AKHILA                     KOSCEVIC, HEATHER                     KOSCH, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSCH, VICKY                         KOSCHAK, MEREDITH                     KOSCHWANEZ, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSCIUSKO, RACHEL                    KOSCO, LOIS                           KOSH, KALI
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KOSHAN, SARA                         KOSHIK, NANCY                         KOSHINSKI, GAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSHMIDER, BENJAMIN                  KOSIAK, CARLYE                        KOSIBA, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSIK, EDDY                          KOSIN, MICHAEL                        KOSINS, BOBBI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSINSKI, HOLLY                      KOSKA, MELISSA                        KOSKELIN, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSKI, CRISTINA                      KOSKI, JILL                           KOSKI, KENDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KOSKI, MICHELLE       Case 22-11238-LSS
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                                                                           KOSKOVICH, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSKY, NICOLE                        KOSLIK, WHITNEY                       KOSLOSKI, NORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSMERL, MARGIE                      KOSMYNKA, BREANNA                     KOSNAK, CAROLINE
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KOSOKO, KATRINA                      KOSS, REBECCA                         KOSSACK, JENNA
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KOSSEN, SUSAN                        KOSSMAN, WHITNEY                      KOSSOW, BONNIE
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KOST, MEGAN                          KOSTA, CAROL                          KOSTANDIN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOSTECKA, JOANNA                     KOSTELAK, LAURA                       KOSTELEC, TESSA
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KOSTELL, HEATHER                     KOSTELNY, ROBERT                      KOSTENBAUDER, JUSTINE
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KOSTER, BONNIE                       KOSTER, BONNIE                        KOSTER, CARI
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KOSTER, KARISSA                      KOSTER, KATY                          KOSTER, REGINA
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KOSTERA, ISABELLE     Case 22-11238-LSS    Doc
                                     KOSTICH,    2 Filed 11/30/22
                                              JACLYN                  Page 2683  of ASHLEY
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KOSTMAN, TORI                        KOSTO, TIFFANY                         KOSTOLANSKY, STEPHANIE
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KOSTREVA, ANA                        KOSTYNIAK, CHELSEA                     KOSUB, CARSON
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KOSZAREK, NIKOLE                     KOSZO, LYNDSI                          KOT, TATYANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOTA, PRASANTH                       KOTABELLA, LLC                         KOTALIK, CARMEN
ADDRESS AVAILABLE UPON REQUEST       7630 POMELO DRIVE WEST                 ADDRESS AVAILABLE UPON REQUEST
                                     HILLS, CA 91304




KOTAR, WADE                          KOTARBA, WADE                          KOTASKA, BRITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOTATIS, PANTELIS                    KOTCH, SESHU RAGAM                     KOTCHI, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KOTCHKO, TAWNY                       KOTCHNIK, LEE                          KOTESWARARAO VENKATA
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KOTHARI, NINA                        KOTHARI, VEDANG                        KOTHMAN, DEBRA
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KOTHMAN, LINDA                       KOTHMANN, ROD                          KOTI, SHRUTI
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KOTIAH, ETHI          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                          KOTORA, 5495
ADDRESS AVAILABLE UPON REQUEST       PO BOX 24003                         ADDRESS AVAILABLE UPON REQUEST
                                     SEATTLE, WA 98124-0003




KOTOSKI, JOANNE                     KOTOVA, NATALIA                       KOTOWSKI, ROBERT
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KOTRLA MD, KATHRYN J                KOTRONIS, DONNA                       KOTSCHWAR, REBECCA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOTSOLAKIS, MELINA                  KOTSONI, ANGELICA                     KOTSOPOULOS, CONNIE
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KOTTENSTETTE, JACK                  KOTTKE, MADELINE                      KOTULA, ALLIE
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KOTULA, PAULINA                     KOTWICA, JOAN                         KOTYNSKI, RICHARD
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOTZIN, DIYANA                      KOTZKER, SOPHIE                       KOUBA, RACHEL
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KOUDELLOU, ELPINIKI                 KOUFMAN, CALEB                        KOUIMELIS, ANASTASIA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KOUKOULAS, VICTORIA                 KOUKOURIDAKIS, MELISSA                KOUKOUTCHOS, MELINA
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KOULENTES, COLLEEN                  KOUNKEL, SIDNEY                       KOUNS, KEVIN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KOUNTZ, JULIE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           KOUPAL, 5495
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KOURAKOS, JANINE                     KOURANY, LUIS                         KOURELIS, KIM
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KOURI, LONA                          KOURI, TRACY                          KOURK, BIANCA
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KOURY, ALEXANDER                     KOURY, CAITLIN                        KOURY, MARIA
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KOUTNIK, JENNIFER                    KOUTRAS, TIM                          KOUTSAVLIS, JOURDAN
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KOUTSELAS, MARIE                     KOUTSOGIANNIS, IOANNIS                KOUTSOUKOS, STEPHANIE
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KOUTZ, ALLARAE                       KOUZA, DOTTIE NECOOL                  KOVAC, ABBY
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KOVAC, SARA                          KOVAC, SARAH                          KOVACH, DAWN
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KOVACH, JACKIE                       KOVACH, JULIA                         KOVACH, KAREN
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KOVACH, REGINA                       KOVACIC, KYM                          KOVACK, STACIE
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KOVACS, BRIAN         Case 22-11238-LSS
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KOVAK, JENNIFER                      KOVAL, AMY                            KOVAL, JESSICA
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KOVAL, TATUM                         KOVALCHICK, ALEXANDRA                 KOVALCHIK, CHERYL
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KOVALCIK, GRACE                      KOVALCIK, JASON                       KOVALENKO, TSAGANA
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KOVALEVA, MARIYA                     KOVALIC, ROBERT                       KOVALICK, EVAN
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KOVAN, ABBY                          KOVAR, DEANNA                         KOVAR, KATHLEEN
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KOVARIK, GILLIAN                     KOVARIK, LUKE                         KOVATCH, CARLY
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KOVATCH, JOHN                        KOVECSES, LYNN                        KOVELLO, HANNAH
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KOVERDA, PETER Y.                    KOVICH, KATELYN                       KOVICS, JUSTIN
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KOVSHAR, ANASTASIA                   KOWAL, ALYSSA                         KOWAL, ANDREW
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KOWALCYK, JANUSZ      Case 22-11238-LSS    Doc AMY
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                                                                           KOWALCZYK, CLAIRE
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KOWALCZYK, MELISSA                   KOWALCZYK, NICHOLAS                    KOWALIK, ANNA
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KOWALINSKI, MARYBETH                 KOWALSKI, ALLISON                      KOWALSKI, ASHLEY
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KOWALSKI, BROOKE                     KOWALSKI, CAROLANN                     KOWALSKI, DAWN
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KOWALSKI, IAN                        KOWALSKI, LEON                         KOWALSKI, MINDY
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KOWALSKI, PAULINE                    KOWALSKI, SARAH                        KOWALSKI, STEPHANIE
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KOWALSKI, VICTOR                     KOWALSKY, ANGELA                       KOWALSKY, KYLE
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KOWIT, TAMI                          KOWLESSAR, NATASHA                     KOYA, B
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KOYA, S                              KOYIAS, ALEXIA                         KOYOSHI, MICHIKO
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KOYSZA, JUDITH                       KOZA, JOSEF                            KOZA, SUSAN
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KOZACZKI, SAMANTHA    Case 22-11238-LSS     Doc
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KOZAK, CATIE                         KOZAK, GENEVIEVE                      KOZAK, LISA
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KOZAK, PAIGE                         KOZAKIEWICZ, MICHAEL                  KOZAN, DEBRA
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KOZAN, RICHARD                       KOZANDA, ASHLEY                       KOZAR, GREG
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KOZEJ, ANNA                          KOZEL, KELLYANN                       KOZELSKI, JACK
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KOZEMSKI, CHRISTA                    KOZERSKI, JENNIFER                    KOZFEY MURRAY
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KOZIAL, KEVINA                       KOZIARA, ANDREW                       KOZICKI, KAREN
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KOZICKI, SCOTT                       KOZIK, BAILEY                         KOZIKOWSKA, KAROLINA
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KOZIN, NICOLE                        KOZIOL, KEVIN                         KOZIY, DEANNA
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KOZLIK, JENNIFER                     KOZLOSKI, GARY                        KOZLOUSKI, STACEY
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KOZLOV, MARY          Case 22-11238-LSS    Doc 2MARIA
                                     KOZLOVSKAYA,    Filed 11/30/22   Page 2689 of 5495
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KOZLOW, JANET                        KOZLOWSKI FORAN, MARCELLE              KOZLOWSKI, ALLISON
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KOZLOWSKI, ALYSSA                    KOZLOWSKI, AMY                         KOZLOWSKI, ANTHONY
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KOZLOWSKI, BRANDI                    KOZLOWSKI, BRIAN                       KOZLOWSKI, ELISA
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KOZLOWSKI, ERICA                     KOZLOWSKI, JOHN                        KOZLOWSKI, KARALYNN
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KOZLOWSKI, KELLY                     KOZLOWSKI, MICHAEL                     KOZLOWSKI, MICHELLE
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KOZLOWSKI, MIKE                      KOZLOWSKI, RICHARD                     KOZLOWSKI, SHELBY
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KOZMIN, NICOLE                       KOZNAREK, KATE                         KOZNETSKI, ARICA
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KOZONAS, GEORGE                      KOZULLA, ALLIE                         KOZULLA, ASHLE
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KOZUPA, LINA                         KOZYCZ, PHILLIP                        KOZYK, ALEXIS
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KRABEL, LAUREN        Case 22-11238-LSS
                                     KRACH, Doc  2 Filed 11/30/22
                                            MICHELLE                    Page 2690 ofLAUREN
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KRACHT, MARNY                        KRACKAU, SYDNEY                         KRAEFT, LINDA
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KRAEMER, AMANDA                      KRAEMER, CAITLYN                        KRAEMER, GEOFF
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KRAEMER, LISA                        KRAEMER, MANES, & ASSOCIATES LLC        KRAEMER, PETER
ADDRESS AVAILABLE UPON REQUEST       600 GRANT ST, SUITE 4875                ADDRESS AVAILABLE UPON REQUEST
                                     PITTSBURGH, PA 15219




KRAEMER, ROSIE                       KRAEMER, SANDRA                         KRAEUTER, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




KRAFCHIN, JEREMY                     KRAFSIG, ABIGAIL                        KRAFT, ALEXA
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KRAFT, ANN                           KRAFT, BETSY                            KRAFT, JACKIE
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KRAFT, KRYSSY                        KRAFT, MEGAN                            KRAFT, MICHELE
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KRAFT, ROBERT                        KRAFT, SARA                             KRAFT, SHEILA
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KRAFT, STACEY                        KRAFT, THOMAS                           KRAFT, TIFFANY
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KRAGAS, JESSICA       Case 22-11238-LSS
                                     KRAGE, Doc
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KRAHN, AMY                           KRAIG ECKER                           KRAIG, LIZ
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KRAINIK, KELLY                       KRAIZA, PATRICIA                      KRAJCIK, CRISTAL
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KRAJCO, LYNNEA                       KRAJECK, MCKENNA                      KRAJEWSKI, COLLEEN
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KRAJEWSKI, KAYLA                     KRAJEWSKI, LAUREN                     KRAJNIAK, COLEEN
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KRAKAUSKAS, BETSY                    KRAKAUSKAS, MITCH                     KRAKORA, HEATHER
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KRAKOW, ANNE                         KRAKOWER, STEVE                       KRAKOWSKI, SANDI
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KRALIK, OLIVIA                       KRALIK, PATRICIA                      KRALJ, HEATHER
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KRALL, DENOM                         KRALL, JESSIE                         KRALL, MICHELLE
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KRALL, RUSS                          KRALL, SARA                           KRALOVEC, CATHERINE
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KRAM, NATALIE         Case 22-11238-LSS    Doc 2MICHAEL
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KRAMB, MARY                          KRAMB, SHAYNA                         KRAMEK, KATHRYN
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KRAMER, ANNA                         KRAMER, AUDREY                        KRAMER, BARBARA
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KRAMER, BETH                         KRAMER, BLAYR                         KRAMER, BRIANA
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KRAMER, CAIT                         KRAMER, CARA                          KRAMER, CHRIS
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KRAMER, CHRISTINE                    KRAMER, CHRISTOPHER                   KRAMER, CINDY
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KRAMER, DANAMARIE                    KRAMER, DANIELLE                      KRAMER, ELIZABETH
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KRAMER, ELIZABETH                    KRAMER, ELIZABETH                     KRAMER, EMILY
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KRAMER, JENNIFER                     KRAMER, JOSEPH                        KRAMER, JULIANN
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KRAMER, JUSTINE                      KRAMER, KARA                          KRAMER, KAREN
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KRAMER, KATHERINE     Case 22-11238-LSS    Doc
                                     KRAMER,    2 Filed 11/30/22
                                             KATHRYN                  Page 2693 ofKATIE
                                                                           KRAMER, 5495
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KRAMER, KELSEY                       KRAMER, KIM                           KRAMER, KIMBERLY
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KRAMER, LAURA                        KRAMER, LAUREN                        KRAMER, LAUREN
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KRAMER, LEE ANN                      KRAMER, LINDSAY                       KRAMER, MARK
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KRAMER, PAUL                         KRAMER, RATANA                        KRAMER, SAMANTHA
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KRAMER, SARAH                        KRAMER, SAVA                          KRAMER, SUSAN
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KRAMER, THERESA                      KRAMER, TOM                           KRAMER, ZACH
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KRAMME, ANNABELLE                    KRAMP, AMANDA                         KRAMP, MAGALY
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KRAMPF, ALAN & HAYLEY                KRAMPF, SHELLEY                       KRANAWETTER, JOSH
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KRANER, JESSICA                      KRANER, TARA                          KRANGAR, STEPHEN
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KRANSTOVER, GRACE     Case 22-11238-LSS
                                     KRANTZ,Doc 2 Filed 11/30/22
                                            CHRISTIE                  Page 2694 ofELLEN
                                                                           KRANTZ, 5495
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KRANTZ, JESSICA                      KRANTZ, LINDA                         KRANTZ, ROSEMARIE
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KRANTZ, SHAUNA                       KRANTZ, STEPHANIE                     KRANZ, LAUREN
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KRANZ, NIKKI                         KRAPF, MEGAN                          KRAS, EWELINA
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KRASKA, VICTORIA                     KRASKI, CLAIRE                        KRASNICK, LEAH
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KRASNIKOVA, KRISTINA                 KRASNIPOL, KARLI                      KRASNIQI, RRITA
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KRASNOIAROV, BORIS                   KRASNOV, MAX                          KRASNOW, RACHEL
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KRASOWSKI, AMANDA                    KRASS MKG, MICHAEL                    KRASSOW, LAUREN
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KRASSOWSKI, NICK                     KRASTS, COURTNEY                      KRATERFIELD, SUSAN
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KRATEV, SIMEON                       KRATOCHVIL, LAURA                     KRATOVIL, MARY
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KRATOWICZ, LAUREL     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KRATT, MOLLY                     Page 2695
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KRATZ, REBECCA                       KRATZ, ROBERT                          KRATZER, JODI
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KRATZER, MARIE                       KRATZOK, SARA                          KRAUS / ROSENBERG, ADAM / MORGAN
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KRAUS, A. JEFFREY                    KRAUS, AMANDA                          KRAUS, CHEYANNE
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KRAUS, CHRISTINA                     KRAUS, CODI                            KRAUS, JANE
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KRAUS, JEANNIE                       KRAUS, JESSICA                         KRAUS, JOSEPH
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KRAUS, JOSHUA                        KRAUS, KATHERINE                       KRAUS, KATHLEEN
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KRAUS, LAURA                         KRAUS, LAUREN                          KRAUS, LILY
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KRAUS, LISA                          KRAUS, LISA                            KRAUS, MELISSA
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KRAUS, PAIGE                         KRAUS, ROBERTA                         KRAUS, THEODORE
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KRAUSE, ALEA          Case 22-11238-LSS
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KRAUSE, DON                          KRAUSE, JASON                         KRAUSE, JEREMY
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KRAUSE, KAREN                        KRAUSE, KASSIDY                       KRAUSE, KATIE
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KRAUSE, LESLIE                       KRAUSE, LORI                          KRAUSE, MADDIE
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KRAUSE, MORGAN                       KRAUSE, NICOLE                        KRAUSE, REGINA
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KRAUSE, RILEY                        KRAUSE, ROBERT                        KRAUSE, SARAH
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KRAUSE, TAMERA                       KRAUSE, TARALYN                       KRAUSE, THERESA
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KRAUSE, THOMAS                       KRAUSE, WENDY                         KRAUSE, ZACH
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KRAUSE-HIBBS, SHAWNNA                KRAUSERT, SHEILA                      KRAUSHAR, SCOTT
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KRAUSPE, CHERYL                      KRAUSS, AMANDA                        KRAUSS, PATRICIA
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KRAUTBAUER, SYDNEY    Case 22-11238-LSS    Doc
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KRAUTKRAMER, ADRIENNE                KRAUTSCHEID, MARYLOU                  KRAVATZ, ISAAC
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KRAVEC, NICOLE MARIE                 KRAVECS, ROBERT                       KRAVET, LISA
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KRAVETZ, MANDY                       KRAVETZ, MARK                         KRAVICZ, MICHELLE
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KRAVITZ, ANA                         KRAVITZ, KAYLEY                       KRAVITZ, QUINTEN
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KRAWEC, STEPHEN                      KRAWIEC, RICHARD                      KRAWIETZ, ANGIE
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KRAXBERGER, LIANE                    KRAXNER, TAMMY                        KRAY, PAULA
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KRAYER, YVONNE                       KRCHNAVY, KATHARINE                   KREAGER, ZO
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KREAL, JOSHUA & MARIAH               KREAMER, CRYSTAL                      KREBS, ALLISON
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KREBS, ELIZABETH                     KREBS, JESSIE                         KREBS, JOHN
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                                     KREBS, MATTHEW                   Page 2698
                                                                           KREBS,of 5495
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KREBS, MEGAN                         KREBS, MICHELLE                       KREBS, OLIVIA
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KREBS, RICHMOND                      KREBSBACH, HEATHER                    KREBSBACH, LACEY
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KRECH, KARL                          KRECH, YVETTE                         KREDA, MARCY
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KREFT, GABRIELLE                     KREFT, KATIA                          KREGER, ALEX
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KREGER, PAT                          KREGSTEIN, SARA                       KREHEL, ROBERT
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KREI, COURTNEY                       KREIDELL, CHRISSIE                    KREIDER, JULIE
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KREIDER, KILEY                       KREIDER, KRISTIN                      KREIDER, MIKAYLA
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KREIDER, PAUL                        KREIDLER, WENDY                       KREIGER, EMILY
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KREILKAMP, CORINNE                   KREILKAMP, KEVIN                      KREIM, KAREN
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KREIMER, SHELLEY      Case 22-11238-LSS    DocMITCH
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KREINER, BETH                        KREINER, PAULETTE                      KREINER, PETER
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KREINES, SARI                        KREINHEDER, JESSICA                    KREINS, PAUL
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KREIS, KIM                           KREISER, KELSEY                        KREISLE, JORDAN
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KREISLER, MITCH                      KREISSIG, ALISHA                       KREISWIRTH, CARRIE
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KREITER, MEGHAN                      KREITMAN, JIM                          KREITZ, BRENDA
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KREITZ, LENORA                       KREITZBERG, MADDIE                     KREITZER, JOSHUA
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KREITZER, SARA                       KREIZMAN, JANE                         KRELL, MERRILL
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KRELL, SIERRA                        KREMBEL, MEGHAN                        KREMBS, BRIAN
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KREMENS, ERICA                       KREMER IV, CHARLIE                     KREMER, ADRIANNA
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KREMER, KEVIN                        KREMER, MELISSA                       KREMER, RUTH
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KREMIAN, DANIELLE                    KREMM, REBECCA                        KREMM, SARA
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KREMPASKY, BENJAMIN                  KRENITSKI, ALICE                      KRENN, DAVE
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KRENN, VICTORIA                      KRENTZ, MACKENZIE                     KRENZ, NICOLE
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KRENZEN, MARY                        KREPFL, SHELLEY                       KREPPEL, JESS
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KREPPEL, KELSEY                      KREPPS, KIMBERLY                      KRESEK, JENNIFER
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KRESGE, KYLE                         KRESGE, MEGAN                         KRESHOCK, ANNA
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KRESIC, MAYA                         KRESKA, KRISTINE                      KRESS, DANIELLE
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KRESS, IRA                           KRESS, KAYLA                          KRESS, KEVIN
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KRESS, SHAYNE                        KRESSEL, JESSE                        KRESSER, ROSEANNE
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KRESSIN, LAURA                       KRESSLEIN, BREANA                     KRET, LUKAS
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KRETCHMER, KAITLIN                   KRETER, JOHN                          KRETSCHMAR, SONJA
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KRETSCHMER, EMILY                    KRETSCHMER, HALLEY                    KRETSCHMER, TAMI
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KRETTEN, LORI                        KREUGER, BRAD                         KREUSH, AFTON
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KREUTZBERG, NINA                     KREUTZER, CHELSEA                     KREUTZER, CINDY
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KREVOLIN, SUSAN                      KREYKES, CORINNE                      KREYLING, RICHARD
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KREZMIEN, ELLEN                      KRICHILSKI, EDUARDO                   KRICKEBERG, JENNA
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KRIDER, MONICA                       KRIDLER, LINDSAY                      KRIEBEL, RACHEL
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KRIEG, ANGELA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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KRIEG, SANDRA                        KRIEG, STACIE                          KRIEGER, CASSIE
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KRIEGER, DANIEL                      KRIEGER, KARI                          KRIEGER, LINDA
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KRIEGER, MORGAN                      KRIEGER, WAYNE                         KRIEKARD, PETER
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KRIEL, TWILA                         KRIEMELMEYER, AMANDA                   KRIEN, MANDY
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KRIENER, JOSEPHINE                   KRIER, EMMA                            KRIER, MOLLY
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KRIESEL, KELLY                       KRIESLER, DAWN                         KRIET, RACHEL
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KRIETE, MANDY                        KRIETSCH, MOLLY                        KRIETSCH, MOLLY
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KRIFTNER, GARY                       KRIGBAUM, JAMIE                        KRIGER, AMBER
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KRIKORIAN, ANDREW                    KRILL, ALAN                            KRILL, BENITA
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KRING, JENNIFER                      KRINGLE, LAURA                         KRINGS, BETTY
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KRINGS, MACYN                        KRINGS, MEGAN                          KRINN, NICK
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KRINOP, DALLAS                       KRINSKY, JOEL                          KRIPKE, SONYA
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KRIPPES, JAMES                       KRIS BJORNERUD                         KRIS BOBO
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KRIS, CAITLYN                        KRISANDA, ELIZABETH                    KRISANNE CLIFFORD
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KRISCHEL, PAULA                      KRISCHER, JONAH                        KRISCO, JONATHAN
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KRISE, BARRETT                       KRISH, JUDY                            KRISHFIELD, LAURA
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KRISHKA, AMY                         KRISHNA, ARCHANA                       KRISHNA, GAURAV
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KRISHNAMOORTHY, NARAYANAN            KRISHNAN, ANITA                        KRISHNAN, DIVYA
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KRISHNAN, GOKUL KUMAR Case 22-11238-LSS    Doc
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KRIST, CONNOR                        KRISTA HERNANDEZ                       KRISTA KATHERINE JACK
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KRISTA MONAHAN                       KRISTA ROSS                            KRISTA WYCKOFF, KRISTA
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KRISTA, CHAVEZ,                      KRISTEK, ERIN                          KRISTEN ASHLEY STAGE
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KRISTEN AUSTIN                       KRISTEN BARKLEY                        KRISTEN BARONE
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KRISTEN CERVANTES                    KRISTEN COCKRELL                       KRISTEN COOK
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KRISTEN CUHRAN                       KRISTEN DAMORE                         KRISTEN DEDENT
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KRISTEN FANCHER                      KRISTEN FRIAS                          KRISTEN GRAFF-BAKER
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KRISTEN LEANNE LLC                   KRISTEN MARTIN                         KRISTEN MARTIN
1831 12TH AVE SOUTH 255              ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NASHVIILLE, TN 37203




KRISTEN MILLER                       KRISTEN MUKAI                          KRISTEN NICOLE BLODGETT
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KRISTEN SHARI GAYLE                  KRISTEN SINNOTT                       KRISTEN, LAFFIN,
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KRISTEN, MCADAMS,                    KRISTENSEN, KARINA                    KRISTI GOODHUE
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KRISTI HERRERA                       KRISTI VILAY                          KRISTIAN KOTSBAK (LINKING MOBILE)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        568 BROADWAY 11TH
                                                                           FLOOR-FUELED COLLECTIVE NEW YORK,
                                                                           NY 10012




KRISTIAN RANKER                      KRISTIE JONES, KRISTIEJONES           KRISTIE KEENER
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KRISTIE MELENDEZ                     KRISTIE SCHNEIDER                     KRISTIN ANNIE HEITMEIER
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KRISTIN ELIZABETH TUTEN              KRISTIN GATTER                        KRISTIN LEE GEISLER
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KRISTIN LOFGREN                      KRISTIN MASUNAGA                      KRISTIN
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KRISTIN, RUSSELL                     KRISTINA A DEWEY                      KRISTINA DEONARINE
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KRISTINA DOHERTY                     KRISTINA FERRAN                       KRISTINA HOLTROP
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KRISTINE SHERWOOD                     KRISTINE W HANNA                      KRISTINE, PEREIRA,
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KRISTOF, CINDY                        KRISTOF, ROBERT                       KRISTOL, LAURA
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KRISTOPHER BRANDT BAHOUTH             KRISTOS ANDREWS                       KRISTY SCHULTZ
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KRISTY ZOIS                           KRISTYNIK, SHAWNA                     KRISZTINA NAPOLITANO
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KRITIOTIS, JULIA                      KRITSAS, KELLY                        KRITZ, JOSHUA
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KRIVANEK, RACHEL                      KRIVENS, MIKE                         KRIVOSH, PATTI
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KRIZAK, JENNA                         KRIZAK, LOIS                          KRIZAN, DARIA
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KRIZAN, KATE                          KRIZAN, KRISTINA                      KRIZAN, RACHEL
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KRNJAIC, GORDAN                       KROCAK, HEIDI                         KROCAK, JEREMY
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KROCULICK, JENNIFER   Case 22-11238-LSS
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                                             CARISSA                  Page 2707 of 5495
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KROEGER, AMY                         KROEGER, ASHLEY                       KROEGER, JESSICA
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KROEGER, LORI                        KROEKER, BRIANNA                      KROELLS, JAN
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KROENING, LAURA                      KROENING, MEGHA                       KROENING, MEGHAN
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KROEPKE, EVE                         KROESCHEN, AIMEE                      KROETER, ANN
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KROEZE, BRIANNA                      KROGER, SHANE                         KROGMAN, ASHTON
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KROGULSKI, ANN                       KROHA, EVE                            KROHA, TATIANNA
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KROHN, CAIDLENA                      KROHN, DANIELLE                       KROHN, KATE
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KROHN, KIMBERLY                      KROHN, LEA                            KROHN, MARISA
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KROHNE, MORGAN                       KROIS, ASHLEY                         KROKOSZ, EMILY
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                                     KROLAK,Doc   2 Filed 11/30/22
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KROLL, LINDA                         KROLL, MEREDITH                        KROLL, MIKE
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KROLL, RACHEL                        KROLL, SVITLANA                        KROLL, WENDI
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KROLL-HANCOCK, SHELLY                KROLL-ROSENBAUM, SARAH                 KROLOW, TIM
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KROMAH, LUSENII                      KROMAH, MA-NYAHN                       KROMENACKER, TIMOTHY
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KROMER, LISA                         KROMHOLTZ, KATELYN                     KROMMES, CYNTHIA
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KROMPASKY, SIMRUN                    KRON, BRYANNA                          KRONBERGER, ROSE MARIE
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KRONE, VICTORIA                      KRONENWETTER, JESSICA                  KRONMILLER, LINNEA
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KRONOV, ARKADIY AND YELENA           KRONOV, YELENA AND ARKADY              KRONRAD, SYDNEY
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KROPCZYNSKI, RACHEL                  KROPEWNICKI, JOHN                      KROPIDLOWSKI, KARLY
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KROPP, GREG           Case 22-11238-LSS
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                                                                           KROPP,of 5495
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KROPPE, MARY                         KROSCHE, CASSANDRA                    KROSHEL, SKYLER
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KROTTINGER, IRA                      KROTULIS, KEVIN                       KROUPA, ADAM
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KROUS, SARAH                         KROUSE, ERIC                          KROUT, DANIELLE
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KROUT, JEREMY                        KROVIAK, ALISON                       KROY BIERMANN
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KROYER, MELANIE                      KRPAN, ALICIA                         KRSTIC, DANIJELA
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KRSTIC, PEDJA                        KRSTULIC, LISA                        KRUCHTEN, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KRUCKENBERG, DEIDRE                  KRUCZKOWSKI, MICHAEL                  KRUECKEBERG, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KRUEGER, ALLY                        KRUEGER, ANDREW                       KRUEGER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KRUEGER, BRYAN                       KRUEGER, CHELSEA                      KRUEGER, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KRUEGER, GINA         Case 22-11238-LSS    Doc
                                     KRUEGER,    2 Filed 11/30/22
                                              HEIDI                   Page 2710 of 5495
                                                                           KRUEGER, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KRUEGER, JESSIE                      KRUEGER, JOANNE                       KRUEGER, JODI
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KRUEGER, JOYCE                       KRUEGER, KENDALL                      KRUEGER, MADELYN
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KRUEGER, MELANIE                     KRUEGER, MIMI                         KRUEGER, RYAN
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KRUEGER, SARAH                       KRUEGER, SIENA                        KRUEGER, SUSAN
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KRUFKA, MICHAEL                      KRUG, ALEIGH                          KRUG, EMIL
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KRUG, FAITH                          KRUG, GIULI                           KRUG, JEREMY
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KRUG, JOHN                           KRUGER, DANIELLE                      KRUGER, JILL
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KRUGER, LINDSAY                      KRUGER, LINDSAY                       KRUGER, LYNETTE
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KRUGER, MEL                          KRUGER, MICHAELA                      KRUHOEFFER, WALTER
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KRUK, JORDAN          Case 22-11238-LSS
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KRULL, MARTHA                        KRUM, DAN                             KRUMENACKER, CASEY
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KRUMM, JORDAN                        KRUMMERT, SARAH                       KRUMPELBECK PETER, PETER
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KRUMWIEDE, KATELYN                   KRUPER, JESSICA                       KRUPER, LORI
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KRUPKA, DANIELLE                     KRUPKA, EVELYN                        KRUPKA, JORDAN
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KRUPP, SARAH                         KRUS, DAVID                           KRUSE, ABBY
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KRUSE, ABBY                          KRUSE, ARIZONA                        KRUSE, BETHANY
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KRUSE, DANA                          KRUSE, EMILY                          KRUSE, ERIN
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KRUSE, JEN                           KRUSE, JESSICA                        KRUSE, KIMBERLY
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KRUSE, LAURA                         KRUSE, LYDIA                          KRUSE, SARA
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KRUSE, SUZANNE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KRUSE, TAYLOR                    Page 2712
                                                                           KRUSE,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KRUSEC, MARK                         KRUSHWERKS, LLC                       KRUSINSKI, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       935 RIVERSIDE AVE, SUITE 15           ADDRESS AVAILABLE UPON REQUEST
                                     PASO ROBLES, CA 93446




KRUSZEWSKI, AMANDA                   KRUSZKA, GILLIAN                      KRUSZYNSKI, JEANA
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KRUTCHICK, CHRISTINA                 KRUTE, KRISTIN                        KRUTER, NICHOLAS
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KRUTHOFF, VERONICA                   KRUTSICK, STEPHANIE                   KRUTT, SUE
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KRUTY, PATRICIA                      KRUTZ, BRITTANY                       KRUVANT, ADAM
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KRUVANT, CHLOE                       KRUYSMAN, AMANDA                      KRUZIC, GINA
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KRY, LAUREN                          KRYJAK, AMY                           KRYLOV, EUGENE
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KRYLOVA, NATALIYA                    KRYNSKI, ALEXANDRA                    KRYSA, TERESA
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KRYSIAK, KRISTEN                     KRYSTEL SANFORD                       KRYSTEN BOLDEN
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KRYSTI CROWLEY        Case 22-11238-LSS
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KRYSTOWSKI, LAWRENCE                   KRYSTYNA KOBROSKY, KRYSTYNA           KRYSTYNA MCQUEENEY
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KRYSZTOFORSKI, ELAINE                  KRYZAK, GEORGETTE                     KRYZANSKI, JONATHAN
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KRYZWICK, TORI                         KRYZWICK, TORI                        KRZAN, KATHERINE
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KRZECZKOWSKI, CHRISTINE                KRZEMIEN, KIMBERLY                    KRZEMIEN, ROSE
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KRZEMINSKI, JOHN                       KRZESIAK, AMY                         KRZUS, APRIL
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KRZYCKI, TAYLOR                        KRZYK, SYLVIA                         KRZYNOWEK, KATHRYN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KRZYWINSKI, RICHARD                    KS ALCOHOL BEVERAGE CONTROL           KS ALCOHOL BEVERAGE CONTROL
ADDRESS AVAILABLE UPON REQUEST         MILLS BUILDING                        PO BOX 3506
                                       109 SW 9TH STREET, 5TH FLOOR          TOPEKA, KS 66601-3506
                                       TOPEKA, KS 66601




KS KDOR - ALCOHOLIC BEVERAGE CONTROL   KS MISCELLANEOUS TAX                  KSENDZOV, MIKE
PO BOX 3506                            120 SE 10TH AVE                       ADDRESS AVAILABLE UPON REQUEST
TOPEKA, KS 66601-3506                  TOPEKA, KS 66612




KTONA, KORI                            KU, JEFFREY                           KUAN, MELISSA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KUANG, MEIYU          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KUBA, FILIP                      Page 2714 of 5495
                                                                           KUBACHKA, LEAH
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KUBACKI, SANDRA                      KUBAEVSKAYA, NATALYA                  KUBAN, NICOLE
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KUBARA, KAREN                        KUBARYK, LINDSAY & BEN                KUBASEK, KELLY
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KUBASKI, FELIPE                      KUBAT, KAITLAND                       KUBEC, JULIA
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KUBECKA, KODIE                       KUBEK, JAMES                          KUBELKA, LISA
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KUBENKA, JENNIFER                    KUBERA, SARA                          KUBICKI, JANA
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KUBIK, CHRIS                         KUBIK, JANET                          KUBIK, RACHAEL
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KUBIK-MONTES, AGATA                  KUBILIS, DARLENE                      KUBIN, CYNTHIA
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KUBIN, RACHEL                        KUBINA, KAELANI                       KUBIS, LIZ
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KUBISH, JONATHAN                     KUBISZ, MONICA                        KUBITSCHEK, ANDREW
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KUBITZKY, ALLISON     Case 22-11238-LSS
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KUBOTA, KOHEI                        KUBUS, FRED                           KUCERA, AMANDA
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KUCERA, ANNA                         KUCERA, JANA                          KUCHAPSKY, JULIE
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KUCHAREK, SEBASTIAN                  KUCHER, NICOLE                        KUCHERA, BRENTON & ELLEN
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KUCHESKY, ANICIA                     KUCHINKA, LINDA                       KUCHINSKAYA, ANNA
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KUCHINSKI, KRISTINA                  KUCHTA, ANDREW                        KUCHTA, KRISTI
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KUCIC, CRYSTAL                       KUCINSKI, ELAINE                      KUCKELMAN, KEVIN
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KUCKER, CORTNEY                      KUCKLER, CLARISSA                     KUCYNA, MARIA
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KUCZEK, CHRISTINE                    KUCZKOWSKI, MICHELLE                  KUCZYNSKI, PIOTR
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KUDIA, ABBY                          KUDLA, ANNA                           KUDLAC, PEGGY
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KUDLEK, ROBERT        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUDRON, CHRISTOPHER                  KUDULIS, KELLEY                       KUDVA, RAVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUEBECK, LAUREN                      KUEBEL, COURTNEY                      KUEBLER, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUEBLER, SCOTT                       KUEBLER, VICTORIA                     KUECHLER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUECKER, BEVERLY                     KUEHL, RASHAUN                        KUEHN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUEHN, JUSTIN                        KUEHN, LEAH                           KUEHNE NAGEL INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        10 EXCHANGE PLACE, 19TH FLOOR
                                                                           JERSEY CITY, NJ 07302




KUEHNE, KIMBERLIE                    KUEHNE, MICHAEL                       KUEHNER, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUENNING, KELLY                      KUENSTLER, ZOE                        KUENY, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUENZI, SARA                         KUENZI, TAMARA                        KUENZIE, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUES, LILLIAN                        KUEST, DEZIRAE                        KUESTER, ALEXANDRA
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KUESTER, JEFF         Case 22-11238-LSS    DocKRISTINA
                                     KUESTNER,  2 Filed 11/30/22      Page 2717  ofMITCHELL
                                                                           KUFAHL,  5495
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KUFFEL, KELSEY                       KUFFEL, NATHAN                         KUFLIK, ELANA
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KUFS, JOE                            KUGA, KIMIKO                           KUGA, STEPHANIE
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KUGLER, AUSTEN                       KUGLER, DANIELLE                       KUGLER, JEANNE
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KUGLER, KARL                         KUGLER, KRISTA                         KUGLER, VICKI
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KUGLITSCH, RYLEE                     KUHAR, ELISA                           KUHARCHIK, COLLEEN
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KUHEL, LAURA                         KUHL, KATHERINE                        KUHL, MARY
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KUHLENBECK, JANE                     KUHLMAN, ANGELA                        KUHLMAN, AUDREY
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KUHLMAN, CHARLOTTE                   KUHLMAN, EARL                          KUHLMAN, HALEY
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KUHLMAN, JEFFREY                     KUHLMAN, MARY                          KUHLMAN, MICHAEL
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KUHLMANN, KANDACE     Case 22-11238-LSS    DocLORI
                                     KUHLMANN,  2 Filed 11/30/22      Page 2718  of 5495
                                                                           KUHN, ALYSSA
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KUHN, BRITTNEY                       KUHN, CHRISTINE                       KUHN, HOLLY
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KUHN, ISABELLE                       KUHN, JEFFREY                         KUHN, JENNIE
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KUHN, KARA                           KUHN, KIM                             KUHN, KIMMY
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KUHN, KIRK                           KUHN, LAUREN                          KUHN, LAWRENCE
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KUHN, LOGAN                          KUHN, MATTHEW                         KUHN, MIKE
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KUHN, NICOLETTA                      KUHN, SAMANTHA                        KUHN, SAMI
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KUHN, TARYN                          KUHNE, JAMIE                          KUHNE, TIFFANY
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KUHNER, CHRISTOPHER                  KUHNHENN, BEVERLY                     KUHNS, EMILIE
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KUHNS, EMILY                         KUHNS, KELLY                          KUHNS, PAYTON
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KUHNS, TERESA         Case 22-11238-LSS
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                                                                              KUHR, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




KUHR, MIRANDA                           KUIK, LAUREN                          KUIKO, DMYTRO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUIPERS, LAURA                          KUIPERS, MARILYN                      KUISIS, CAITLIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUISIS, SUSAN                           KUJALA, ANGIE                         KUJAWA, ANNMARIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUKAC LIMITED                           KUKER, MICHELLE                       KUKLOV, DANILA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUKOVA, KATHRINE                        KUKOWSKI, KAYTLYNN                    KUKOY, SANDY
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KUKRETI, SHUBHANI                       KUKUK, JILL                           KUKURUDA, KRISTY
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KUKUS LLC                               KULACZ, CAROL                         KULAGA, KENNETH
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KULAKOV, ALEKSEI                        KULAS, CALVIN                         KULAS, JOSHUA
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KULASA, AZRA                            KULBERG, ALEXEI                       KULBOK, AMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KULCHAWIK, JOHN J     Case 22-11238-LSS    DocCARISSA
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KULE, AMANDA                         KULES, KATHY                           KULESA, SARAH
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KULESZA, VICTORIA                    KULEWICZ, MARK                         KULICH, JACLYN
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KULICK, GAIL                         KULICK, KATHY                          KULIK, THERESA
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KULIKAUSKAS, JANE                    KULIKOWSKI, AMANDA                     KULINICH, ALEXANDRA
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KULISZEWSKI, FAITH                   KULKA, CASEY                           KULKA, JENNIFER
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KULKA, MADELINE                      KULKARNI, KIRAN                        KULKARNI, LOVELEEN
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KULKARNI, SANJAY                     KULKARNI, SHAUNAK                      KULKARNI, TEJUS
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KULL, FRED                           KULL, JONATHAN                         KULL, PAOLA
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KULLMAN, DSRCE                       KULLMAN, KRIS                          KULLMAN, KRISTEN
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KULLMAN, SARAH        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KULLY, SHERRY                    Page 2721  of 5495
                                                                           KULOVITZ, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KULP, CATHERINE                      KULP, DANI                             KULP, JUDITH
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KULP, MATT                           KULP, MIRANDA                          KULPA, JAMIE
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KULSRUD, PAOLA                       KULTYS, KELLY                          KULYK, KAYLEIGH
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KUMANGAI, MAX                        KUMAR SANAM                            KUMAR, ABHILASHA
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KUMAR, ADITYA                        KUMAR, ADYA                            KUMAR, AKANKSHA
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KUMAR, ANSHIKA                       KUMAR, BASANT                          KUMAR, DARSHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KUMAR, DEVIKA                        KUMAR, HARDEEP                         KUMAR, HARISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KUMAR, LALIT                         KUMAR, MUKESH                          KUMAR, NEELJA
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KUMAR, PRANAV                        KUMAR, PRIYA                           KUMAR, PRIYA
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KUMAR, PUNEET         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUMAR, SAVIO                         KUMAR, SEAN                           KUMAR, SUMATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUMAR, SUMIT                         KUMAR, TK                             KUMAR, VARUN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUMARAN, SANTHOSH                    KUMER, SAMANTHA                       KUMLANDER, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUMLI, SUSAN                         KUMM, HEIDI                           KUMMERLOWE, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUMNEGER EMIRU                       KUMNICK, CHRIS                        KUMOR, SHELLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUMSE, MARIAN                        KUNAL BAVISHI                         KUNAL JAIN
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KUNARD, DARCI                        KUNATH, DEBRA                         KUNCL, TRAVIS
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KUNDA, JENNIFER                      KUNDEL, DOMINIK                       KUNDRAT, DOMINIQUE
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KUNEMAN, ASHLEY                      KUNEN, ALLIE                          KUNERTH, HENRY
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KUNES, ANN            Case 22-11238-LSS
                                     KUNETZ,Doc 2 Filed 11/30/22
                                            CAROLINE                  Page 2723   of 5495
                                                                           KUNIK, TESS
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KUNIS, FRANK                         KUNISCH, EMILY                        KUNISKY, LESLIE
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KUNK, HEATHER                        KUNKE, FRED                           KUNKEL, ADAM
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KUNKEL, CHRISTINA                    KUNKEL, CYNTHIA                       KUNKEL, GERRY
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KUNKEL, GRACE                        KUNKEL, GRACE                         KUNKEL, MAKENZY
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KUNKEL, RACHEL                       KUNKEL, SABRINA                       KUNKEL, STEPHANIE
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KUNKEL, TARA                         KUNKLE, JACK                          KUNKLE, OSCAR
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KUNKLEMAN, MARGE                     KUNKLER, CYNTHIA                      KUNKLER, NOELLE
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KUNNATH, DEEPIKA                     KUNOVIC, KELLEE                       KUNOWSKI, YADIRA
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KUNSELMAN, ERIN                      KUNSTLER, CHLOE                       KUNTZ, ABBY
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KUNTZ, ANDREW         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KUNTZ, AUDRIE                    Page 2724
                                                                           KUNTZ, of 5495
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KUNTZ, HALEY                         KUNTZ, OLIVIA                         KUNTZ, SAVANNAH
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KUNTZ, SHANE                         KUNTZE, ADRIAN                        KUNTZI, DEB
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KUNZ, DONNA                          KUNZ, LUCY                            KUNZ, MAURA
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KUNZE, SCOTT                         KUNZE, TAYLOR                         KUNZMANN, JANET
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KUO, JAMES                           KUO, JAY                              KUO, JEFFREY
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KUO, JESSICA                         KUPCHENKO, DANIELLE                   KUPELIAN, KATYA
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KUPELIAN, NARE                       KUPELNICK, SAM                        KUPER, ANGELA
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KUPER, LORNA                         KUPERUS, ALEXANDRA                    KUPFERBERG, BENJAMIN
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KUPFERSCHMIDT, COLLEEN               KUPHAL, KEON                          KUPIEC, MATT
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KUPIETZ, JENNIFER     Case 22-11238-LSS    Doc
                                     KUPINSKI,    2 Filed 11/30/22
                                               KATIE                  Page 2725  of MICHAEL
                                                                           KUPINSKI, 5495
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KUPKA, EMILY                         KUPKA, TRENT                           KUPLIC, LISA
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KUPPER, BAILEE                       KUPPERSMITH, KATIE                     KUPPERSMITH, RYAN
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KUPPLER, DOTTIE                      KUPPRION, JENNIFER                     KUPRIAN, JULIE
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KUPTY, ALISON                        KURAL, REBECCA                         KURATH, TRACY
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KURC, MICHELLE                       KURCZ, ALLISON                         KURCZ, EDWARD
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KURDYLA, ANGELINA                    KURECZKA, ALICIA                       KURELJA, COURTNEY
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KURETZ, SARAH                        KURFEHS, SYDNEE                        KURFESS, REBECCA
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KURFIRST, LAUREN                     KURGANOV, SARA                         KURGHINYAN, ARMEN
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KURIA, WANJA                         KURIAN, MARIA                          KURIEN, SUSAN BEENA
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KURIHARA, TODD        Case 22-11238-LSS
                                     KURILLA,Doc  2 Filed 11/30/22
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                                                                           KURILO,of 5495
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KURISCO, LINDA                       KURITZ, SARAH                          KURIYAMA, CESAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KURKCIYAN INVESTING LLC              KURKELA, ERIN                          KURKIEWICZ, BRUCE
301 N WALKER AVE 6301                ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
OKLAHOMA CITY, OK 73102




KURKJIAN, ALICE                      KURKOWSKI, YOSHIE                      KURLAND, LEANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KURLAND, TALYA                       KURLAND, TRACEY                        KURLEMAN, MEGAN
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KURLINSKI, MEGAN                     KURMAN, DINA                           KURMANAY, ERHAN
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KURNEVA, OLGA                        KURNICK, DANIELLE                      KURNIT, MOLLY
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KUROKAWA, KATRINA                    KURON, STEVE                           KUROW, CHRISTINA
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KURS-LASKY, MARCIA                   KURT R BYER                            KURT ROSKOPF
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KURT, JEFF                           KURTA, JORDAN                          KURTAS, KAREN
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KURTENBACH, KRIS      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KURTH, HOLLY                     Page 2727
                                                                           KURTH,of 5495
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KURTIS, MELISSA                      KURTTI, SYDNEY                        KURTYKA, BRANDI
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KURTZ, ANNIE                         KURTZ, BETH                           KURTZ, BONNIE
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KURTZ, CATHERINE                     KURTZ, DANIEL                         KURTZ, DIXIE
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KURTZ, EMILEE                        KURTZ, GRETA                          KURTZ, JAMIE
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KURTZ, JEREMY                        KURTZ, LAUREN                         KURTZ, MACKENZIE
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KURTZ, MIRANDA                       KURTZ, THEODORE                       KURTZ, TIFFANI
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KURTZKE, KAITLIN                     KURU, ISMAIL                          KURUVILLA, CRYSTAL
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KURZ, RICH AND SALLY                 KURZEJA, ALLYSSA                      KURZON, RAY
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KUSAYANAGI, MARISSA                  KUSCHEL, BRITTANY                     KUSEWITT, DONNA
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KUSH AKOTIA           Case 22-11238-LSS    Doc TAMARA
                                     KUSHENSKY, 2 Filed 11/30/22      Page 2728   of 5495
                                                                           KUSHI, LIANNA
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KUSHMEREK, GREG                      KUSHNER, BRETT                        KUSHNER, DAVID
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KUSHNER, JESSICA                     KUSHNER, MICHAEL                      KUSHNER, MICHELLE
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KUSHNICK, KATHLEEN                   KUSHNIR, VLADIMIR                     KUSHWAHA, MONIKA
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KUSKIE, COURTNEY                     KUSKIL, JAMIE                         KUSLER, BENJAMIN
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KUSMIEREK, AMANDA                    KUSMIK, MELANIE                       KUSNIERZ, LINDA
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KUSS, BONNIE                         KUSS, JULIANA                         KUSS, MATTHEW
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KUSS, MATTHEW                        KUSSIE, TIMOTHY                       KUSTER, AMY
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KUSTER, KRISTIN                      KUSTER, LEZLI                         KUSTERBECK, SIERRA
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KUSTERS, DAN                         KUSTES, CAITLIN                       KUSUMOTO, JAMIE
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KUSUMPA, LISA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KUSY, VICTORIA                   Page 2729
                                                                           KUSZAJ,of 5495
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KUSZMAUL, ELIZABETH                  KUSZYNSKI, MELISSA                     KUTA, ZACH
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KUTAC, TAMMY                         KUTATELI, KRISTINA                     KUTATELI, LOLITA
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KUTAY, SUSAN                         KUTCH, LISETTE                         KUTCH, MICHAEL
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KUTCH, WHITNEY                       KUTERBACH, EVAN                        KUTHYAR, MEGHANA
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KUTIL, SARAH                         KUTILEK, ERIN                          KUTLAS-PRICKETT, ABIGAIL
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KUTNE, TONI                          KUTNER, RACHEL                         KUTTYKRISHNAN, DEEPAK
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KUTYLA, LAURA                        KUTYS, MIKE                            KUTZ, ALLISA
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KUTZ, BRANDON                        KUTZ, CHRISTY                          KUTZ, NICK
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KUTZA, BRIAN                         KUTZER-RICE, REBECCA                   KUTZKE, JAREN
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KUTZLE, BRENT         Case 22-11238-LSS    Doc
                                     KUTZLER, ALI 2  Filed 11/30/22   Page 2730  of DAVID
                                                                           KUTZLER, 5495
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KUTZY, STEPHEN                       KUULEIALOHA HEINTZELMAN               KUVALIS, RAMON
ADDRESS AVAILABLE UPON REQUEST       4380 FOREST CIRCLE                    ADDRESS AVAILABLE UPON REQUEST
                                     SANTA MARIA, CA 93455




KUWAMOTO, KIANA                      KUWANA, MARY                          KUYE, ROLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KUYKENDALL, ALYSSA                   KUYKENDALL, JENNA                     KUYPER, CASSIDY
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KUYPERS, MARY                        KUYUMJIAN, ALAIN                      KUZBEL, KAYLA
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KUZBYT, HARRISON                     KUZEL, ALICIA                         KUZIEL, MADDIE
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KUZMA, ANGIE                         KUZMA, JOHN                           KUZMA, KATE
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KUZMA, PATRICIA                      KUZMANOVSKI, MIRJANA                  KUZMENKO, ELENA
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KUZMIAK, MELISSA                     KUZMIC, DARLENE                       KUZNETSOVA, VERONIKA
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KUZNIAR, DAN                         KUZNICK, JEFF                         KUZYNOWSKI, JAMES
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KVAAL, ANN            Case 22-11238-LSS    Doc
                                     KVAMME,    2 Filed 11/30/22
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                                                                           KVASNAK, 5495
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KVETON, CAROL                        KVINSLAND, KAT                        KVL INVESTMENT TRUST
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KWADAS, URSULA                       KWAK, EMILY                           KWAK, EU RAN
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KWAK, JESSICA                        KWAK, KRYSIA                          KWAK, MEONG
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KWAKU OFORI-DARKO                    KWAMBOKA, STACEY                      KWAN, ADAM
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KWAN, ALEXIS                         KWAN, EDMUND                          KWAN, JUSTIN
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KWAPIEN, LAUREL                      KWAPONG, MALGORZATA                   KWARTA, KAREN
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KWARTENG, SHONIKA                    KWARTLER, STEPHEN                     KWASHIE, ERIC
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KWASNIK, LAURIE                      KWATKOSKI, KIMBERLY                   KWEE, ANDREW
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KWEE, TRAVIS                         KWESKIN, SAM                          KWIATKOSKI, REBECCA
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KWIATKOWSKI, BASIL    Case 22-11238-LSS    Doc 2DONALD
                                     KWIATKOWSKI,    Filed 11/30/22   Page 2732  of 5495
                                                                           KWIATKOWSKI, VERONICA
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KWIECINSKI, JACOB                    KWIK, AUDREY                           KWOK FUNG AU YEUNG
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KWOK HO CHAN                         KWOK, AMY                              KWOK, CHRISTINA
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KWOK, KATHY                          KWOLEK, MARY                           KWON, CHRISTIAN
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KWON, EMILY                          KWON, JAIME                            KWON, ROY
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KWON, SUSAN                          KWONG, CASSANDRA                       KWONG, LORETTA
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KWONG, TIFFANY                       KY, HIEU                               KYALWAZI, BEVERLY
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KYAW, CRYSTAL                        KYCHUN, JULIA                          KYEI, WILLIAM
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KYES, KATHERINE                      KYJ, JESSICA                           KYJS BAKERY
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KYKER, CINDY                         KYLE BLANCHARD                         KYLE BUNIGER
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KYLE CRIER            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KYLE DEES                        Page 2733  of 5495
                                                                           KYLE GILLS
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KYLE GREGORY                         KYLE HUTCHESON                        KYLE MCFARLANE
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KYLE R BOWMER                        KYLE SOLAN, VIRGINIA                  KYLE THOMAS PRANDI
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KYLE WOODS URRUTIA                   KYLE, BILL                            KYLE, BILL
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KYLE, BONNIE                         KYLE, CAROLINE                        KYLE, CHARLES
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KYLE, DAVID                          KYLE, DEIRDRE                         KYLE, JEANETTE
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KYLE, JEFFREY                        KYLE, ROBIN                           KYLE, SEAN
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KYLEIGH COTTER                       KYLER MARTZ                           KYLER, KALYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KYLER-YANO, AMY                      KYLES, ALYXIS                         KYLES, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




KYLISH, ROXANNE                      KYLIX VINEYARDS CALIFORNIA LP         KYLLO, SELMA
ADDRESS AVAILABLE UPON REQUEST       ATTN: MATT TURRENTINE                 ADDRESS AVAILABLE UPON REQUEST
                                     P.O. BOX 12958
                                     SAN LUIS OBISPO, CA 93406
KYMER, JASON          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     KYOO, BAEK                          Page 2734   of 5495
                                                                              KYRIE HIGGINBOTHAM
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KYRON RAMOO                             KYRYLIUK, ELIZABETH                    KYSHA HARRIELL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




KYTE, ROXANE                            KYTE, WHITNEY                          KYZER, HEATHER
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L CATTERTON, MARYANN GHIRARDELLI C/O    L COATES, SHANNAN                      L CONSIDINE, SUSAN
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L DELAUGHDER, TYLER                     L DONICA, ERIKA                        L ELLIS, KELSEY
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L GREGORY, DEREK                        L JONES                                L KILMER, BRIANA
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L KOCK, KATIE                           L PAUL, JEAN                           L QUINTERO, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




L ROPER, KRYSTAL                        L SWENSZKOWSKI, KAYLA                  L&D ACQUISITION LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         1 LAKE NIAGARA LANE
                                                                               NAPLES, NY 14512




L&L HAWAIIAN BBQ                        L&R LAMBEAU VIEW LLC                   L, AMANDA
ADDRESS UNAVAILABLE AT TIME OF FILING   1531 BELLEVUE ST. STE. B               ADDRESS AVAILABLE UPON REQUEST
                                        GREEN BAY, WI 54311




L, AMY                                  L, AMY                                 L, ANN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
L, ANTHONY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     L, BONNIE                        Page 2735   of 5495
                                                                           L, BRANDY
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L, CARRIE                            L, CHELSEA                            L, CINDY
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L, DENISE                            L, EDWINA                             L, EMILY
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L, EMIY                              L, ERICA                              L, ERIKA
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L, INDY                              L, JAIME                              L, JAIME
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L, JAMIE                             L, JEN                                L, JENACE
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L, JENNIFER                          L, JESSICA                            L, JESSICA
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L, JODIE                             L, JOYCE                              L, JUDITH
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L, KAREN                             L, KENDRA                             L, KERIN
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L, MADISON                           L, MARIA                              L, MICHAEL
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L, NAVEEN             Case 22-11238-LSS
                                     L, P  Doc 2 Filed 11/30/22              Page 2736
                                                                                  L, P of 5495
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L, PAMEA                                L, ROWDY                                  L, SHANNON
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L, SHANNON                              L, SHAYLEE                                L, TANNA
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L, TRACI                                L, VICTORIA                               L. ECKEL, KEVIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




L. LEIN, HANNA                          L., DANA                                  L., GARY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




L., PATRICIA                            L., STEPHANIE                             L’HOTE, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LA BELLA, RICHARD                       LA BITE.COM                               LA BODEGA DE PINOSO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS UNAVAILABLE AT TIME OF FILING




LA BRIE, MICHAELA                       LA CANTINA PIZZOLATO S.R.L.               LA CANTINA PIZZOLATO S.R.L.
ADDRESS AVAILABLE UPON REQUEST          LA CANTINA PIZZOLATO S.R.L. VIA IV        VIA IV NOVEMBRE 12 - 31020 VILLORBA (TV)
                                        NOVEMBRE                                  ITALY
                                        VILLORBA (TV) 12 - 31020
                                        ITALY



LA CANTINA PIZZOLATO S.R.L.             LA CASA DEL REY SA                        LA CITY CAB, LLC
VIA IV NOVEMBRE                         CASA DEL REY ALZAGA 3972 CHACRAS DE       ADDRESS UNAVAILABLE AT TIME OF FILING
VIA CAL DI TREVISO, 12                  CORIA
VILLORBA TV 31020                       MENDOZA M5528AKJ
ITALY                                   ARGENTINA



LA CITY PARKING                         LA COFFEE CLUB                            LA COMBE, RANDY
ADDRESS UNAVAILABLE AT TIME OF FILING   3764 MOTOR AVE                            ADDRESS AVAILABLE UPON REQUEST
                                        LOS ANGELES, CA 90034
LA CORTE, MATTHEW     Case 22-11238-LSS
                                     LA DEPTDoc   2 Filed 11/30/22
                                             OF REVENUE                     Page 2737   of 5495
                                                                                 LA DU, CLAUDIA
ADDRESS AVAILABLE UPON REQUEST       617 N 3RD ST                                ADDRESS AVAILABLE UPON REQUEST
                                     BATON ROUGE, LA 70802




LA DUE, RANDE                           LA FAMIGLIA BOLOGNA, INC                 LA FONTAINE, TIERRA
ADDRESS AVAILABLE UPON REQUEST          P.O. BOX 10708                           ADDRESS AVAILABLE UPON REQUEST
                                        NAPA, CA 94581




LA FORCE, DENICE B.                     LA FORCE, TABITHA                        LA GRANGE, FRANCOIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LA HOGUE, ALISHA                        LA JOIE, AMANDA                          LA MADELINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




LA MARKET                               LA MARQUE, LACEY                         LA MAY MASIELLO, BLAIR
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LA MEXICA                               LA PAELLA CATERING LLC                   LA PAGLIA, JESSICA
ADDRESS UNAVAILABLE AT TIME OF FILING   4118 OSTROM AVENUE                       ADDRESS AVAILABLE UPON REQUEST
                                        LAKEWOOD, CA 90713




LA PERLE, RYAN                          LA PUERTA DEL SOL INK GLOBAL             LA ROCCO, ROBERT
ADDRESS AVAILABLE UPON REQUEST          800 SOUTH DOUGLAS ROAD, SUITE 250        ADDRESS AVAILABLE UPON REQUEST
                                        CORAL GABLES, FL 33134




LA RUE, DANIELLE                        LA SALLE, MARIE                          LA SILK TRADING CO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           LA SILK TRADING 360 S. LA BREA AVE.
                                                                                 LOS ANGELES, CA 90036




LA SOSTA ENOTECA                        LA SOUND PANELS                          LA STELLA, HEIDI
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




LA STRADA PALO                          LA SUER, MEGAN                           LA TRONICA, CAITLYN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LA WINE AGENCY        Case 22-11238-LSS      DocCAB
                                      LA YELLOW   2 Filed 11/30/22 Page 2738       of 5495
                                                                            LA, EMILY
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




LA, FEYONE                            LA, JAN                               LA, JOSEPH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAACKMAN, ELIZABETH                   LABADIE, MOSES                        LABADINI, MARISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LABAND, ALEXANDRA                     LABANT, DANIELLE                      LABAR, DAVID
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LABAR, DESTANY                        LABARBERA, KATHRYN                    LABARCA, TRACEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LABARE, CHRISTINE                     LABARGA, CAROLINE                     LABARGE, BEATRICE
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LABARGE, ERIC                         LABARRE, LINDA                        LABARRE, TYLER
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LABARTHE, MICKEY                      LABAS, AMY                            LABASIK, JORDAN
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LABAT, ANNA                           LABBATE, BRUCE                        LABBE, CHRISTINA
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LABBE, JESSICA                        LABBE, JILL                           LABBE, KARYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LABBE, MICHELLE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LABBE, PATRICK                    Page 2739
                                                                            LABBE, of 5495
                                                                                   TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LABEE, SAMANTHA                       LABEL ART OF CALIFORNIA               LABEL TRONIX, INC.
ADDRESS AVAILABLE UPON REQUEST        290 27TH STREET                       2419 E. WINSTON ROAD
                                      OAKLAND, CA 94612                     ANAHEIM, CA 92806




LABELL, JULIE                         LABELLE, BEN                          LABELLE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LABELS & SPECIALTY PRODUCTS, LLC.     LABITA, JACQUELYN                     LABOILE, LOUIS
3915 STERN AVENUE                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAINT CHARLES, IL 60174




LABOMBARDI, ANN                       LABONNE, BENJAMIN                     LABONTE, AUBREY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LABORATORY CORP OF AMERICA HOLDINGS   LABORDE, MARIA                        LABOSSIERE, JULLENE
PO BOX 12140                          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BURLINGTON, NC 27216




LABOUNTY, AMY                         LABOUNTY, CHRISTOPHER                 LABOUNTY, PENNIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LABOUVE, LANCE                        LABOVIC, JUJI                         LABOWS, CHRISTINA
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LABOY, AVA & CHRIS                    LABOY, BRITTANY                       LABOY, DORIS
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LABRACIO, CLARE                       LABRADA, ROCIO                        LABRAKE, EMILY
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LABRANCHE, ASHLIE     Case 22-11238-LSS    DocLORI
                                     LABRECHE,  2 Filed 11/30/22      Page 2740  of 5495
                                                                           LABRECQUE, JENNIFER
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LABRECQUE, NICOLE                    LABRECQUE, WHITNEY                     LABREE, LINDSAY
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LABRESCO, NICOLE                     LABROAD, KATHERINE                     LABROSSE, TEAGUE
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LABRUTTO, ELISA                      LABRUZZO, JOHN                         LABUFF, KIMBERLY
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LAC, JENNIFER                        LACALAMITA, MICHELLE                   LACAPRA, LATOYIA
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LACAPRARA, LUCIA                     LACASSE, CARLY                         LACASSE, TIM
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LACAYO, DANIELLE                     LACAYO, REBECCA                        LACEY HUTCHISON
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LACEY KATYRYNIUK                     LACEY WARD                             LACEY, CHRISTIE
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LACEY, DONNA                         LACEY, DONNA                           LACEY, JEB
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LACEY, JESSICA                       LACEY, KAYLA                           LACEY, LAURA
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LACEY, LORELEI        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LACH, ALLISON                    Page 2741   of 5495
                                                                           LACH, SHANNON
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LACHANCE, ABBEY                      LACHANCE, DANIELLE                    LACHANCE, DONNA
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LACHANCE, LINDSAY                    LACHANCE, MICHELLE                    LACHAPELLE, MELISSA
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LACHENMEIER, KRISTEN                 LACHMAN, ELLY                         LACHMAYR, JENNIFER
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LACHNICHT, ALLISON                   LACHOWICZ, TRACY                      LACHUTE, YVETTE
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LACICH, NICOLETTE                    LACINA, COLEEN                        LACK, ABBY
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LACKAMP, JEANNE                      LACKEY, ANN                           LACKEY, ANNE
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LACKEY, BRIAN                        LACKEY, CRYSTAL                       LACKEY, LISA
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LACKEY, MADELINE                     LACKEY, REBECCA                       LACKEY, STEPHANIE
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LACKEY, VALERIE                      LACKEY, WYNTRE                        LACKEY, YONG MI
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LACKNER, KELLY        Case 22-11238-LSS
                                     LACLAIR,Doc 2 Filed 11/30/22
                                              CHEYENNE                Page 2742 of 5495
                                                                           LACOMBE, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LACORTE, LAUREN                      LACORTE, MELISSA                      LACOSSE, RUDY
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LACOUNTE, DILIAN                     LACOUNTE, KAITLYN                     LACOUR, MEGAN
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LACOURCIERE, ALICIA                  LACOURSIERE, LAURIE                   LACOURSIERE, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LACOUTURE, ALVARO                    LACOVARA, MARI LINN                   LACROIX, BETSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LACROIX, BRENDAN                     LACROIX, LINDA                        LACROIX, SAMANTHA
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LACROIX, VERONIQUE                   LACURE, MARY ANN                      LACY, BRITTANY
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LACY, DANIEL                         LACY, EMILY                           LACY, JESSICA
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LACY, JUSTINE                        LACY, KATE                            LACY, KEVIESHA
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LACY, LORI                           LACY, MANDY                           LACY, NICOLE
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LACY, NIKKI           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LACY, RICHARD                    Page 2743   of 5495
                                                                           LACY, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LACZEWSKI, NATALIE A.                LACZEWSKI, NIKI                       LACZNIAK, DARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAD, YAMINI                          LADA, ALEX                            LADA, KEVIN
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LADABOUCHE, DANA                     LADAS, DEIRDRE                        LADD, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LADD, ANTHONY                        LADD, CHELSEA                         LADD, ELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LADD, JENELLE                        LADD, JOHN                            LADD, K M
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LADD, SCOTT                          LADE, ANNIE                           LADEGAARD, KEVIN
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LADEMANN, RACHEL                     LADENBURG, TRICIA                     LADENDECKER, MAUREEN
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LADERAS, SAMANTHA                    LADERER, EDWARD                       LADERER, ZOEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LADEWIG, LIZ                         LADICH, ALEXANDRIA                    LADIN, JONATHON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LADINER, JASMINE      Case 22-11238-LSS
                                     LADISIC,Doc
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                                                                                  LADNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




LADNER, PRISCILLA                       LADNER, RITA                              LADO, KRISTI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LADOMATO, MICHELLE                      LADORIAN LATIN                            LADOUCE, MARY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LADOUCEUR, JEFF                         LADOUCEUR, KATHERINE                      LADSON, KAPRYCE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LADUCA, RITA                            LADUE, TYLER                              LADUSAU, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LADUSAU, MACKENZIE                      LADWIG, AMANDA                            LADWIG, STELLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LADWP                                   LADYSWAGGER, INC. (ANN L FRIEDMAN)        LAEHA, KAYLIN
ADDRESS UNAVAILABLE AT TIME OF FILING   1522 SARGENT PLACE                        ADDRESS AVAILABLE UPON REQUEST
                                        LOS ANGELES, CA 90026




LAFAILLE, GARY                          LAFAILLE, SARA                            LAFAIRE, PETRINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LAFALCE, KAILA                          LAFARR, MARGARET                          LAFASO, DAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LAFASTO, SARAH                          LAFAUCI, MEAGAN                           LAFAYETTE, ALLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
LAFAYETTE, JORDAN     Case 22-11238-LSS    DocKATE
                                     LAFAYETTE, 2 Filed 11/30/22      Page 2745  of 5495
                                                                           LAFEMINA, BRITTANYROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAFEMINA, JUSTIN                     LAFERRARA, BUCK                        LAFERRIERE, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAFERRIERE, GAIL                     LAFERRIERE, KATE                       LAFETRA, NOELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAFEUILLEE, ELUNA                    LAFEVER, JORDAN                        LAFEVER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAFEVERS, SHANNON                    LAFFAYE, JUAN                          LAFFEN, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAFFERTY, ALISON                     LAFFERTY, KATIE                        LAFFERTY, KENNEDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAFFERTY, MICHELE                    LAFFERTY, PATRICK                      LAFFERTY, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAFFEY, NICOLE                       LAFFEY, TARA                           LAFFORT USA , INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1460 CADER LN STE C
                                                                            PETALUMA, CA 94954




LAFFORT USA , INC                    LAFFRANCHI, NICOLE                     LAFIGUERA, HANNAH
1460 CADER LN STE C                  ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHAUN RICHARDSON
PETALUMA, CA 94954




LAFITTE CORK & CAPSULE, INC          LAFLAMME, GINA                         LAFLAMME, JANICE
45 EXECUTIVE CT.                     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NAPA, CA 94558
LAFLAMME, KAITLEN     Case 22-11238-LSS
                                     LAFLEN,Doc  2 Filed 11/30/22
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                                                                           LAFLEN,of 5495
                                                                                   SHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAFLEUR, JADE                        LAFLEUR, SARA JANE                    LAFOND, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAFONTAINE, CHASE                    LAFONTAINE, DANIELLE                  LAFONTANT, MAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAFOREST, RACHEL                     LAFOREST, RICHARD                     LAFORGE, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAFORGE, JIM                         LAFOUNTAIN, KRISTEN                   LAFRANCE, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAFRANCE, JULIANN                    LAFRANCE, KRISTEN                     LAFRANCESCA, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAFRANCHISE, THERESA                 LAFRATTA, LENA                        LAFRENIERE, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAFRENIERE, DONNA                    LAFRENIERE, JOHN                      LAFRENIERE, MARGUERITE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAFRENIERE, RACHEL                   LAFRIEDA, MICHELE                     LAGANA, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAGANIS, LAUREN                      LAGARDE, HOLLY                        LAGARDERA, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LAGARES, TABBATHA     Case 22-11238-LSS    Doc
                                     LAGASSE,    2 Filed 11/30/22
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                                                                           LAGASSE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGASSIE, SONYA                      LAGATTUTA, GINA                        LAGDAMEO, LOUISE WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGE, CHERYL                         LAGER, PATRICIA                        LAGERA, LUCAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGERGREN, BETH                      LAGERLOF, DANIELLE                     LAGERMAN, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGESSE, KAITLYN                     LAGESSE, SARAH                         LAGIN, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGLE, MADELINE                      LAGNER, TAYLOR                         LAGO, DOMINICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGO, KELLY                          LAGO, NANCY                            LAGOMARSINO, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGOR, VERONICA                      LAGORE, STEPHANIE                      LAGOS, GABRIELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGOUTOVA, ELENA                     LAGRANDEUR, AMANDA                     LAGRANGE, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGRANGE, SARAH                      LAGRANT, MERYS                         LAGRATTA, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LAGRAVE, JESSICA      Case 22-11238-LSS    Doc
                                     LAGRECA,    2 Filed 11/30/22
                                              ANDREW                  Page 2748 of 5495
                                                                           LAGRECA, MARY KAYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGREE, SUSAN                        LAGRONE, CARLYN                        LAGRUTTA, ALDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGUARDIA, SHEMEKA                   LAGUERRE, CASSANDRA                    LAGUERRE, JANNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGUEUX, CARRIE                      LAGUNA CARRILLO, REBECCA               LAGUNA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGUNA, CHRISTINA                    LAGUNAS, BEATRIZ                       LAGUNAS, ROSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAGUNAS-ALVAREZ, JAVIERA             LAGUNES, CARLOS                        LAHA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAHANA, DEAN                         LAHAV, ADAM                            LAHENS, JEMIMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAHENS, JUSITH                       LAHEURTE, CELINE                       LAHEY, PIERCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAHEY, REBECCA                       LAHIJAN, NILA                          LAHMAN, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAHMANN, KIRSTEN                     LAHN, DARIA                            LAHONDA, LIUDMILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LAHR, OLIVIA          Case 22-11238-LSS     DocWENDY
                                     LAHR-BEES, 2 Filed 11/30/22      Page 2749 of 5495
                                                                           LAHRSON, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAHTI, GLENN                         LAHTI, JESSICA                        LAHUCIK, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAI, ALICIA                          LAI, CAROL                            LAI, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAI, JON                             LAI, KHANHNGHI                        LAI, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAI, OANH                            LAI, SUHLIAN                          LAIBLE, BETHANY
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LAICHE, MICHELLE                     LAIDLAW, AMANDA                       LAIDLEY, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAIER, CATHARINE                     LAIEWSKI, ABBY                        LAIGAARD, AMALIE
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LAIKEN, MELANIE                      LAIL, ANASTASIA                       LAIL, HAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAIL, LEAH                           LAIL, SHERRY                          LAINCHBURY, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAINE, ALLISON                       LAINEZ, YVETTE                        LAING, BRENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LAING, CHARLES        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LAING, ELIZABETH                 Page 2750   of 5495
                                                                           LAINO, CARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAINO, CATHERINE                     LAIPPLE, KRYSTAL                      LAIR, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAIR, GLEN                           LAIRD, AUGUST                         LAIRD, BETH
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LAIRD, BRIANNE                       LAIRD, BRIANNE                        LAIRD, CARY
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LAIRD, CHARLES                       LAIRD, HEATHER                        LAIRD, MARY
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LAIRD, SHANNON                       LAIRD, SHELBY                         LAIRD, SONYA
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LAIRD, SUSANN                        LAISHRAM, SIMON                       LAISS, CHRISTINA
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LAITINEN, LAURA                      LAJARA, NATIVIDAD                     LAJEUNESSE, JENNIFER
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LAJEUNESSE, JOHN                     LAJEUNESSE, RENEE                     LAJEVARDI, AVID
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LAJINESS, SYDNEY                     LAJOLA, LINDSAY                       LAKAS, MICAH
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LAKATA, JULIA         Case 22-11238-LSS
                                     LAKATA,Doc 2 Filed 11/30/22
                                            MAGGIE                    Page 2751   of 5495
                                                                           LAKE, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAKE, BILL                           LAKE, CARI                            LAKE, CHELSEA
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LAKE, COURT                          LAKE, DREW                            LAKE, EDEN
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LAKE, HALI                           LAKE, HEATHER                         LAKE, KELLY
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LAKE, KIERSTEN                       LAKE, LIZA                            LAKE, LORAMAR
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LAKE, MARISA                         LAKE, MICHAEL                         LAKE, NICHOLAS
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LAKE, ROBERT                         LAKE, SANDY                           LAKE, ZOE
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LAKES, SCOTT                         LAKHANI, KALSOOM                      LAKHANI, NISHITA
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LAKHWARA, SANAM                      LAKIA MINGO                           LAKIN, ABBYE
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LAKIN, TANNER                        LAKITS PORCO, AMANDA                  LAKNER, DARYL
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LAKOMEC, KAREN        Case 22-11238-LSS
                                     LAKOTA,Doc
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                                                                           LAKOWSKY, KIMBERLY
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LAKSHMAN, MYA                        LAKSHMINARAYANAN, JAMI                LAKSON, TANYA
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LAKTONEN-WARD, LARITA                LAKUS, MARY                           LALA, ANIL
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LALAMA, KATHLEEN                     LALAMA, KIESHA                        LALANE, MONIQUE
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LALIBERTE, BRIELLE                   LALIBERTE, ELIZABETH                  LALIKOS, JANICE
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LALISH, PETER                        LALKO, DONNA                          LALL, RISHI
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LALLANDE, KYRIAN                     LALLEY, CHRISTOPHER                   LALLI, TERRY
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LALLO, TIFFANY                       LALLY, ALYSSA                         LALLY, CHRISTINA
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LALLY, GARY                          LALLY, JORDAN                         LALLY, KAREN
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LALLY, MAUDY                         LALLY, MICHELLE                       LALLY, MOLLY
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LALLY, RICHARD        Case 22-11238-LSS    Doc
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LALOMIA, DAVID                       LALONDE, COLLEEN                      LALONDE, MICHELLE
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LALONDE, ROBERT                      LALONGE, MALLORY                      LALUNA, NICOLE
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LAM, ALEXANDER                       LAM, ALICJA                           LAM, AMANDA
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LAM, AMY                             LAM, BEEBEE                           LAM, CARRIE
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LAM, DERRICK                         LAM, ELIANNA                          LAM, ERIC
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LAM, JENNY                           LAM, JOCELYN                          LAM, KADDIE
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LAM, KENNY                           LAM, LINH                             LAM, MICHELLE
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LAM, OANH                            LAM, PHUC                             LAM, THONG
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LAM, VINCENT                         LAM, WENDY                            LAMA, CLAUDIA
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LAMA, COLLEEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LAMA, LANDEN                     Page 2754
                                                                           LAMAJ, of 5495
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LAMANNA, KAITLIN                     LAMANNA, KRYSTAL                      LAMANTIA, LAUREN
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LAMANTIA, MARIE                      LAMAR, CHLOE                          LAMAR, GRACE
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LAMAR, HANNA                         LAMARCA, MICHELLE                     LAMARCHE, CLAIRE
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LAMARQUE, JOHN                       LAMARRA, KRISTIN                      LAMARRE, JENN
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LAMARRE, JESSICA                     LAMARRE, OLIVIA                       LAMAS, MARIA
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LAMATTINA, DIANA                     LAMB, ALISA                           LAMB, AMANDA
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LAMB, AMY                            LAMB, BLAIR                           LAMB, BYRNE
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LAMB, CASSANDRA                      LAMB, CHARLES                         LAMB, CHARLES
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LAMB, CONNOR                         LAMB, CORA                            LAMB, DEB
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LAMB, DEBBIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LAMB, DOLORES                    Page 2755   of 5495
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LAMB, HALEY                          LAMB, JAMES                           LAMB, JEREMIE
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LAMB, KARL                           LAMB, KATHLEEN                        LAMB, KRISTEN
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LAMB, KYLIE                          LAMB, LAUREN                          LAMB, MARIE
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LAMB, MICHAEL                        LAMB, MIRANDA                         LAMB, NANCY
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LAMB, NICOLE                         LAMB, OWEN                            LAMB, PAMELA
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LAMB, RENEE                          LAMB, RESA                            LAMB, RYANN
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LAMB, SARAH                          LAMB, SARAH                           LAMB, SYDNEY
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LAMB, TAKIA                          LAMB, TAMARRA                         LAMB, TAYLOR
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LAMB, TRESSA                         LAMB, TREVOR                          LAMB, ZACK
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LAMBA, PEROLA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LAMBA, ROHAN                     Page 2756 of 5495
                                                                           LAMBACHER, MAUREEN
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LAMBASKIDMORE, LEAH                  LAMBDIN, CLAIRE                       LAMBECK, SUSAN
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LAMBELET, BRICE                      LAMBER, ANNA                          LAMBERGS, VICTORIA
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LAMBERSON, CARRIE                    LAMBERSON, KEN                        LAMBERT, ADRIANNNA
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LAMBERT, ALYSIA                      LAMBERT, AMY                          LAMBERT, BARBARA
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LAMBERT, BARBARA                     LAMBERT, BENJAMIN                     LAMBERT, BRITTANY
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LAMBERT, CALLIE                      LAMBERT, CARLEY                       LAMBERT, CELICIA
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LAMBERT, CHRISTINA                   LAMBERT, CHRISTINA                    LAMBERT, CHRISTINE
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LAMBERT, COURTNEY                    LAMBERT, DAKIYA                       LAMBERT, DONALD
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LAMBERT, DONNA                       LAMBERT, ELLEN                        LAMBERT, EMILY
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LAMBERT, EMMA         Case 22-11238-LSS    Doc
                                     LAMBERT,    2 Filed 11/30/22
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                                                                           LAMBERT, 5495
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LAMBERT, GLORIA                      LAMBERT, HERSCHEL                     LAMBERT, ISABELLA
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LAMBERT, JACQUELINE                  LAMBERT, JADE                         LAMBERT, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAMBERT, JEFFREY                     LAMBERT, JENNIFER                     LAMBERT, JORDAN
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LAMBERT, JORDYN                      LAMBERT, KAITLIN                      LAMBERT, KELLI
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LAMBERT, KELLY                       LAMBERT, KENDI                        LAMBERT, LAUREN
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LAMBERT, LISA                        LAMBERT, MEGAN                        LAMBERT, MEGHAN
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LAMBERT, NICOLE                      LAMBERT, NINA                         LAMBERT, NORA
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LAMBERT, REBECCA                     LAMBERT, RICHARD                      LAMBERT, SADIE
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LAMBERT, SARAH                       LAMBERT, SARAH                        LAMBERT, SHELLEY
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LAMBERT, STEPHANIE    Case 22-11238-LSS    Doc
                                     LAMBERT,    2 Filed 11/30/22
                                              STEPHANIE               Page 2758 of VANESSA
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAMBERTH, CATHY                      LAMBERTH, DONNA                       LAMBERTI, LYNDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAMBERTO, NICHOLAS                   LAMBERTON, ALYSON                     LAMBERTON, ELIZABETH
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LAMBERTSON, KATHERINE                LAMBETH, EMILY                        LAMBIE, BRADLEY
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LAMBIE-HANSON, LAUREN                LAMBO, MEGAN                          LAMBORN, HALEY
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LAMBOS, NICHOLAS                     LAMBRECHT, EMILY                      LAMBRECHT, LAURI
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LAMBRECHT, NORA                      LAMBRECHTS, BETTINA                   LAMBRIDES, NANCY
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LAMBRIGHT, BETSY                     LAMBRIGHT, JESSICA                    LAMBRINOS, LOIS
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LAMBROS, GEORGE                      LAMBROS, KRISTI                       LAMBROU, ANASTASIA
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LAMB-SCRONCE, ELIZABETH              LAMBUR, CAYLEY                        LAMCHAHAB, LAYLA
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LAMEAR, JATELLE       Case 22-11238-LSS
                                     LAMEAU,Doc  2 Filed 11/30/22
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LAMENDOLA, PAULA                     LAMERE, ANNE                          LAMERE, PAUL
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LAMETRIE, YINI                       LAMHARZI, SYLVIE                      LAMIA, PATRICIA
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LAMICA, BRITTANY                     LAMICA, MEGAN                         LAMICH, REBECCA
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LAMIE, LAUREN                        LAMIELL, KATHLEEN                     LAMINGO VERWALTUNGS GMBH
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                                                                           SINGAPORE
                                                                           SINGAPORE




LAMKIN, ETHAN                        LAMM, PAUL                            LAMM, STEPHEN
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LAMMA, MICHAEL                       LAMMEL, OLIVIA                        LAMMERS, DELANIE
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LAMMERS, JENNIFER                    LAMMERS, NATALIE                      LAMMERS, PAM
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LAMMERS, PETER                       LAMMERS, SOPHIA                       LAMMI, KIEFER
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LAMONACA, DANA                       LAMONICA, ANDREA                      LAMONICA, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LAMONS, WENDIE        Case 22-11238-LSS
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                                                                           LAMONT, 5495
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LAMONT, ELIZABETH                    LAMONT, LAUREN                        LAMONT, TIM
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LAMONTAGNE, LIZ                      LAMONTAGNE, LIZ                       LAMONT-DONOVAN, LINDSAY
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LAMONTE, MARCO                       LAMORE, KELLY                         LAMORE, MARIA
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LAMOREAUX, KATHERINE                 LAMOREAUX, REBECCA                    LAMORTE, DANIEL
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LAMOS, ARYN                          LAMOTHE, ERIC                         LAMOTHE, LAUREN
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LAMOTHE, MEGHAN                      LAMOTTA, TIFFANY                      LAMOUR, JEFFREY
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LAMOUREUX, DONALD                    LAMOUREUX, KATIE                      LAMOUREUX, LINDSEY
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LAMOVEC, CATHY                       LAMPARD, ANDREW                       LAMPARILLO, GREG
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LAMPART, KELLY                       LAMPASONA, PAUL                       LAMPASONE, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LAMPE, CAROL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           LAMPEN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAMPENFELD, BROOKE                   LAMPERT, ANASTASIA                    LAMPERT, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAMPERT, THERESA                     LAMPHERE, AARON                       LAMPHERE, DAN SUSAN
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LAMPKIN, MICHAEL                     LAMPLEY, JULIE                        LAMPLEY, LAURA
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LAMPLEY, SARAH                       LAMPMAN, LAUREN                       LAMPMAN-DAVERN, CYNTHIA
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LAMPORT, AARON                       LAMPRECHT, KELSEY                     LAMPREDA, JENNIFER
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LAMPTEY, KEVIN                       LAMSFUSS, MICHAEL                     LAMSON, KATIE
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LAN, LIN                             LAN, SOLAR                            LANA BEERS
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LANA PESSOA                          LANAHAN, ALLY                         LANAHAN, DENNIS
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LANAHAN, ERIN                        LANAHAN, JESSICA                      LANCARTE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANCASTER, ADAM       Case 22-11238-LSS    DocALISA
                                     LANCASTER, 2 Filed 11/30/22      Page 2762  of 5495
                                                                           LANCASTER, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANCASTER, BRIDGET                   LANCASTER, CHANDELLE                  LANCASTER, COURTNEY
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LANCASTER, EMILY                     LANCASTER, HALEY                      LANCASTER, HOLLY
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LANCASTER, MICHELE                   LANCASTER, RONDA                      LANCE HORTON
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LANCE WILLIS                         LANCE, CRYSTAL                        LANCE, JAIME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANCE, JOSH                          LANCE, KYANA                          LANCET, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANCETTE, BEN                        LANCI, JEFFREY                        LANCIANO, PATRICIA
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LANCIANO, VICTORIA                   LANCIOTTI, KRISTI                     LANCLOS, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANCON, JARED                        LANCOUR, KERRY                        LAND, ANGEL
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LAND, CHRIS                          LAND, CINDY                           LAND, CLAIRE
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LAND, HALEY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LAND, JENNA                      Page 2763   of 5495
                                                                           LAND, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAND, LINZIE                         LANDA, JESSICA                        LANDA, JOCELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDA, MARGARET                      LANDA, OLIVIA                         LANDAETA, ARIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDAU, BEA                          LANDAU, DANIELLE                      LANDAU, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDAU, ELAYNE                       LANDAVERDE, NUBIA                     LANDAY, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDE NG                             LANDE, HEATHER                        LANDE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDEN, JENNA                        LANDER, ALEISHA                       LANDER, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDER, NATE                         LANDEROS, JUSTINE                     LANDERS, ALISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDERS, ANTHONY                     LANDERS, CAROLITA                     LANDERS, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDERS, ETHAN                       LANDERS, JAMES                        LANDERS, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANDERS, KELLY        Case 22-11238-LSS    Doc
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                                                                           LANDERS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDERS, SUSAN                       LANDES, DANA                          LANDES-BRENMAN, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDFEAR, SHEENA                     LANDGRAF, EMILY                       LANDGRAF, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDGRAF, MARK                       LANDIG, MYOLI                         LANDIN, JOEL KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDIN, JULIANA                      LANDINGIN, LEANA                      LANDIS, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDIS, ALLISON                      LANDIS, CRAIG                         LANDIS, DEANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDIS, JENNIFER                     LANDIS, JESSICA                       LANDIS, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDIS, KAITLYN                      LANDIS, MADISON                       LANDIS, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDIS, MELODY                       LANDIS, NICHOLE                       LANDIS, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDIS, SARAH                        LANDMAN, JULIE                        LANDMAN, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANDMARK, CHRISTINA   Case 22-11238-LSS    Doc
                                     LANDOLFI,   2 Filed 11/30/22
                                               RYAN                   Page 2765 of BRITTANY
                                                                           LANDOLL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDOLT, MICHELE                     LANDON THOLEN                         LANDON YAKOVLEVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDON, KATIE                        LANDON, MARGARET                      LANDON, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDON, PAUL                         LANDON, WHITNEY                       LANDRAU, SUSANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDRESS, ANGELA                     LANDRESS, KATEY                       LANDREVILLE, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDRON, ALEXANDER                   LANDRUM, CHRISTINA                    LANDRUM, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDRUM, LAURA                       LANDRUM, MELISSA                      LANDRUM, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDRY, ALLIE                        LANDRY, ALYSSA                        LANDRY, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDRY, DAN                          LANDRY, DAVE                          LANDRY, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDRY, DIANA                        LANDRY, ERIN                          LANDRY, FRANCES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANDRY, JENNIFER      Case 22-11238-LSS
                                     LANDRY,Doc  2 Filed 11/30/22
                                             KELCIE                      Page 2766 ofLEANNA
                                                                              LANDRY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LANDSBAUM, ROSS                         LANDSBERG - BWSC                      LANDSBERG
ADDRESS AVAILABLE UPON REQUEST          LANDSBERG P.O. BOX 101144             P.O. BOX 101144
                                        PASADENA, CA 91189-1144               PASADENA, CA 91189-1144




LANDSBERG, KAT                          LANDSBERGER, KENNEDY                  LANDSBURG, ZACH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDSBY                                 LANDSMAN, SARAH                       LANDSTAR GLOBAL LOGISTICS /
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        LANDSTAR RANGER, INC.
                                                                              13410 SUTTON PARK DRIVE SOUTH
                                                                              JACKSONVILLE, FL 32224




LANDSTAR GLOBAL LOGISTICS /             LANDSTROM, JUSTIN                     LANDTISER, AUBREY
LANDSTAR RANGER, INC.                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
P.O BOX 784302
PHILADELPHIA, PA 19178-4302




LANDWEHR, JOHN                          LANDY, JACQUELINE                     LANDY, MANDEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANDY, SARAH                            LANDY, TAKISHA                        LANE, ADAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, ALAINA                            LANE, ALICIA                          LANE, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, AMY                               LANE, ANGELA                          LANE, ANN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, BEN                               LANE, BLEU                            LANE, BRITTANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANE, BRITTANY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LANE, BRITTANY                   Page 2767   of 5495
                                                                           LANE, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, CHRISTY                        LANE, COURTNEY                        LANE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, DEVYN                          LANE, DIANA                           LANE, ELEANOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, ELIZABETH                      LANE, ELLEN                           LANE, ISABEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, JACKIE                         LANE, JACQUELINE                      LANE, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, JEFF                           LANE, JENNY                           LANE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, KAREN                          LANE, KATE                            LANE, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, KELLIE                         LANE, KELLY                           LANE, KELLYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, KEVIN                          LANE, KIKI                            LANE, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, KIRSTAN                        LANE, LAICE                           LANE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANE, LELIA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LANE, LESLEY                     Page 2768   of 5495
                                                                           LANE, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, MADISON                        LANE, MARGARET                        LANE, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, MARJORIE                       LANE, MATILDA                         LANE, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, MEAGHAN                        LANE, MEGHAN                          LANE, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, MELISSA                        LANE, MICHAEL                         LANE, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, MIKE                           LANE, MIMI                            LANE, MIRIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, MORGAN                         LANE, NATALINA                        LANE, NICO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, NICOLE                         LANE, REBECCA                         LANE, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, ROB                            LANE, ROBERT                          LANE, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, ROBERT                         LANE, SAMANTHA                        LANE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANE, SHANNON         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LANE, STEPHANIE                  Page 2769
                                                                           LANE, Tof 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, TAYLOR                         LANE, USHA                            LANE, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE, VANESSA                        LANE, VERONICA                        LANE, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANE-RUGGIERO, KANDY                 LANE-UNGER, LOIS                      LANEY, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANEY, ANNIE                         LANEY, ERIN                           LANEY, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANEY, MICHAILA                      LANFERSIEK, MARY                      LANFORD, HAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANFORD, HAYLEY                      LANFORD, KASSIDY                      LANFRANCO, EKATERINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANFRANCO, SIERRA                    LANG - GERSH, AIMEE                   LANG BBQ SMOKERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




LANG, ALEX                           LANG, ALICIA                          LANG, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, BRANDON                        LANG, CAROLINE                        LANG, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANG, CHRISTINA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LANG, CHRISTINE                  Page 2770   of 5495
                                                                           LANG, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, DANIELLE                       LANG, DEBORAH                         LANG, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, JOHN                           LANG, JULIANN                         LANG, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, KATHLEEN                       LANG, KATHLEEN                        LANG, KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, KELSEY                         LANG, KRISTA                          LANG, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, LAUREN                         LANG, LEXI                            LANG, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, MARITA                         LANG, MARNIE                          LANG, MARTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, MOLLY                          LANG, MOLLY                           LANG, MRS. LEANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, NATALIE                        LANG, NICOLE                          LANG, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, SARAH                          LANG, SARAH                           LANG, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANG, STEPHANIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LANG, STEPHANIE                  Page 2771   of 5495
                                                                           LANG, SUZANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG, TARA                           LANG, YOSHADO                         LANGA, TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGAN, AMANDA                       LANGAN, JAIME                         LANGAN, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGAN, MAUREEN                      LANGAN, REBECCA                       LANGAN, RHIANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGAN, STEFANI                      LANGDON SHIVERICK INC.                LANGDON, JESSICA
ADDRESS AVAILABLE UPON REQUEST       1149 CORONADO TERRACE                 ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90026




LANGDON, KAITLIN                     LANGE, ANDREW                         LANGE, ASHTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGE, EMILY                         LANGE, ERICA                          LANGE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGE, LISA                          LANGE, MICHAEL                        LANGE, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGE, STEPHANIE                     LANGE, SUSAN                          LANGEHENNIG, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGELAND, SUSAN                     LANGELIERS, JOHN                      LANGELL PRODUCTS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        4715 BALSAM LANE N
                                                                           PLYMOUTH, MN 55442
LANGELL, DEVON        Case 22-11238-LSS    Doc
                                     LANGELLO,   2 Filed 11/30/22
                                               KELSEY                    Page 2772 of 5495
                                                                              LANGEMEIER, REAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LANGEN, JAMES                          LANGENAUER, AMANDA                     LANGENBACH, ANNA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANGENFELD, DEBRA                      LANGENFELDER, TRICIA                   LANGENHUYSEN, KATIE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANGENWALTER, KAYLA                    LANGER, ELIANA                         LANGER, MICKEY AND BURT
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANGERHANS, PATRICIA                   LANGES, KORTNEY                        LANGESLAY, RUBY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANGETWINS FAMILY WINERY & VINEYARDS   LANGETWINS FAMILY WINERY & VINEYARDS   LANGETWINS WINE CO INC
1525 E JAHANT ROAD                     1525 E JAHANT ROAD                     ATTN: MARISSA LANGE, PRESIDENT
ACAMPO, CA 95220                       ATTN: MARISSA LANGE, PRESIDENT         1525 E JAHANT RD
                                       ACAMPO, CA 95220                       ACAMPO, CA 95220




LANGEVIN, BEVERLY                      LANGEVIN, JUDY                         LANGEVINE, BEVERLEY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANGFELDT, MATT                        LANGFORD, BIANCA                       LANGFORD, BRANDON
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANGFORD, CHRYSTAL                     LANGFORD, CINDY                        LANGFORD, DARRELL & GINA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANGFORD, DIRK                         LANGFORD, KAYLA                        LANGFORD, LATASHA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LANGFORD, LEAH        Case 22-11238-LSS    DocTAYLOR
                                     LANGFORD,  2 Filed 11/30/22      Page 2773 of 5495
                                                                           LANGFORD, TROY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGFORD, WILL                       LANGGUTH, MARY                        LANGHAM, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGHAM, JOSEPH                      LANGHANS, CAROLYN                     LANGHAUSER, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGHORNE, BROOKE                    LANGILL, CHARLOTTE                    LANGION, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGLANDS, PAIGE                     LANGLER, AMANDA                       LANGLEY, ALLANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGLEY, AMY                         LANGLEY, BETH                         LANGLEY, BEVERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGLEY, JAKE                        LANGLEY, JENNA                        LANGLEY, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGLEY, MARK                        LANGLEY, MEGAN                        LANGLEY, WILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGLOIS, CAITLYN                    LANGLOIS, MARIANNE                    LANGLOIS, MARNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGLOIS, SOPHIE                     LANGMACK, ANNE                        LANGMAID, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANGMEAD, LAUREN      Case 22-11238-LSS    DocSHANNON
                                     LANGMEAD,  2 Filed 11/30/22      Page 2774 of 5495
                                                                           LANGNAS, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGNER, KEVIN                       LANGO, DARLENE                        LANGOLF, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGONE, JENNIFER                    LANGOSCH, RACHEL                      LANGSTON, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGSTON, CYNTHIA                    LANGSTON, DANELLE                     LANGSTON, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGSTON, JACKIE                     LANGSTON, KARISSA                     LANGSTON, KATRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGSTON, MARGUERITA                 LANGSTON, MONA                        LANGSTON, PENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGTIM, JULIE                       LANGTON, JEREMY                       LANGTON, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANGTON, TAMI                        LANGUASCO, WANDER                     LANGVILLE, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANG-WILLIAMS, MARGARET              LANGWORTH, BILLIE                     LANHAM, BECKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANHAM, THERESA                      LANIADO, MARCEL                       LANIER, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANIER, IVY           Case 22-11238-LSS
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                                                                            LANIER,of 5495
                                                                                    MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANIER, RACHEL                        LANIER, RACHEL                        LANIER, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANIER-SIEGFRIED, NIKITA              LANIGAN, AMY                          LANIGAN, CASIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANIGAN, KATIE                        LANIGAN, LINDSAY                      LANIGAN, SUSAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANIGHAN, BRENDAN                     LANIK, KALIE                          LANIOUS, CATHARINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANIOUS, CATHERINA                    LANIR, DONNA                          LANIS, AVIYA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANKA, HEATHER                        LANKEY, KARA                          LANKFORD, BIANCA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANKFORD, GILLIAN                     LANKOWSKI, YVETTE                     LANKTREE, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANNAN, CHELSEA                       LANNEN, LINDA                         LANNI, KIERA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANNI, MEGHAN                         LANNING, AMANDA                       LANNING, MADISON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LANNING, MISSY        Case 22-11238-LSS    Doc
                                     LANNING,    2 Filed 11/30/22
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                                                                            LANNING,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANNOM, MAEGEN                       LANNON, ALISA                          LANNON, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANNON, MARIA                        LANOIE, CHRISTINE                      LANOISELEE, ELAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANOUE, MARIE                        LANOUE-EGAN, KAREN                     LANQUIST, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANSDOWNE, KIMBERLEY                 LANSER, AMANDA                         LANSHE, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANSING, BRITTANY                    LANSING, NICOLE                        LANTER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANTERI, MICHELLE                    LANTERNA DISTRIBUTORS, INC. MARYLAND   LANTERNA DISTRIBUTORS, INC.
ADDRESS AVAILABLE UPON REQUEST       3101 WASHINGTON BLVD                   1125 DESOTO ROAD, SUITE C
                                     BALTIMORE, MD 21230                    BALTIMORE, MD 21223




LANTERNA DISTRIBUTORS, INC.          LANTHIER, MARY                         LANTHIER, SANDRA
PO BOX 47250                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WINDSOR MILL, MD 21244




LANTIGUA, MARLENE                    LANTIGUA, MERALIS                      LANTIS, MICHAEL JED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LANTNER, REBECCA                     LANTOS, RHIANNON                       LANTRIP, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LANTZ, CHRISTINA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LANTZ, EMILY                     Page 2777
                                                                           LANTZ, of 5495
                                                                                  HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANTZ, KATE                          LANTZ, KATIE                          LANZ, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANZA, CAM                           LANZA, ELIZABETH                      LANZA, KERRILYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANZA, KRISTINA                      LANZA, MELISSA                        LANZA, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANZALACO, DANIEL                    LANZETTI, RINGO                       LANZI, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANZI, GIUSEPPI                      LANZI, NICK                           LANZIERI, BRIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANZIERI, ROBIN                      LANZIT, ANNE                          LANZIT, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LANZO, ISA                           LAO, DENNIS                           LAP KONG POON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAPACHET, NINA                       LAPAGLIA, AMANDA                      LAPATKA, SHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAPATRA, MOLLY                       LAPCHUK, NICOLE                       LAPCZYNSKI, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LAPE MANSFIELD NAKASIANCase   22-11238-LSS
                        & GIBSON, LLC          Doc 2 Filed 11/30/22
                                        LAPE, CHRISTOPHER                Page 2778   of 5495
                                                                              LAPE, JENNIE
9980 BREWSTER LANE SUITE 150            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POWELL, OH 43065




LAPEIRA, MARIA                         LAPERLA, BRIDGET                       LAPERLA, STEPHEN
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LAPEYRE, PARKER                        LAPEYROLERIE, JACQUELINE               LAPIDUS, DEBORAH
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LAPIDUS, JUDITH                        LAPIERRE, BRENDA                       LAPIERRE, DIANE
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LAPIERRE, JOAN                         LAPIERRE, JORDAN                       LAPINE, BRYAN
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LAPINSKI, ADAM                         LAPINSKI, ALISON                       LAPINSKI, JENNIFER
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LAPITINO, ADAM                         LAPKOVA, DARINA                        LAPLACA, WENDY
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LAPLANT, SHELLY                        LAPLANTE, CORA                         LAPLANTE, JEANNETTE
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LAPLANTE, MEGAN                        LAPOINT, LINDA                         LAPOINTE, ANNA
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LAPOINTE, AUSTIN                       LAPOINTE, JACLYN                       LAPOINTE, JOHN
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LAPOINTE, KRISTIAN    Case 22-11238-LSS     Doc
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                                                                           LAPOINTE, MARIA
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LAPOINTE, NICOLE                     LAPOINTE, RAQUEL                       LAPOINTE, REBECCA
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LAPOLLA, JACQUELINE                  LAPOMA, BARBARA                        LAPORTE, ALLIE
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LAPORTE, CHRIS                       LAPORTE, JACOB                         LAPORTE, JACQUELINE
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LAPORTE, KESHIA                      LAPORTE, QUINN                         LAPORTE, REBEKAH
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LAPORTE, SHANNON                     LAPOVSKY, ANGELA                       LAPP, ALINA
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LAPP, ALLISON                        LAPP, BRITTANY                         LAPP, KATIE
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LAPP, KENDRA                         LAPP, LAURA                            LAPP, MICHELE
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LAPP, THOMAS                         LAPPER, JULIA                          LAPPETITO, JAMES
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LAPPIN, KATE                         LAPPLE, MEGAN                          LAPRAD, MAYA
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LAPRADE, ERIN         Case 22-11238-LSS     Doc
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LAPUTKA, HEATHER                     LAQUAGLIA, JON-PAUL                   LAQUE, DONNA
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LARA, ALISIA                         LARA, ARACELI                         LARA, BAIRD,
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LARA, CADIE                          LARA, CARMELINA                       LARA, CHRISTY
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LARA, EMMANUEL                       LARA, ISABELLE                        LARA, JAZMINE
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LARA, JESSICA                        LARA, KAYLA                           LARA, MARIA-MERCEDES
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LARA, MICHELLE & WILLIAM             LARA, MIGUEL                          LARA, MISTY
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LARA, REYNALDO                       LARA, RICHARD                         LARA, SAMANTHA
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LARA, VANESSA                        LARA, VINCENT                         LARA, YANIN
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LARABEE, KATHERINE                   LARABY, CHAD                          LARACH, FABIOLA
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LARAMORE, KAYLI       Case 22-11238-LSS    DocSTEVE
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LARAQUE, FRANCESCA                      LARAYESULLIVAN, DINAH                 LARCADE, SARAH
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LARCK, KELSEY                           LARDANI, JUSTIN                       LAREZ, DEBBIE
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LARGAESPADA, MIRIAM                     LARGE, CALLY                          LARGE, HEATHER
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LARGE, JAMES                            LARGENT, KAREN                        LARGENT, VALERIE
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LARGIO, DEVON                           LARHETTE, MICHAEL                     LARICK, TAYLOR
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LARICKS, LINDSAY                        LARIMER, CAYLEY                       LARIMORE, JOSEPH D
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LARIMORE, LINDA                         LARIN, NATALIE                        LARIONI, JASON
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LARISA BROWN                            LARIVEE, DAVID                        LARIVIERE, SHANNON
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LARK CAKE                               LARKIN III, PAUL                      LARKIN, ALLISON
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LARKIN, BRIANNA       Case 22-11238-LSS
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LARKIN, CLAIRE                       LARKIN, CLIFFORD                       LARKIN, COLLEEN
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LARKIN, CONSTANCE                    LARKIN, DYLAN                          LARKIN, EMILY
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LARKIN, ERIN                         LARKIN, JENNA                          LARKIN, JON
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LARKIN, JULIA                        LARKIN, JULIE                          LARKIN, KELLI
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LARKIN, KENDRA                       LARKIN, KIM                            LARKIN, LINDA
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LARKIN, LUCIENNE                     LARKIN, MARGARET                       LARKIN, MARLISA
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LARKIN, MEGAN                        LARKIN, MEGAN                          LARKIN, PAT
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LARKIN, PATON                        LARKIN, ROBERT                         LARKIN, SHAUN
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LARKIN, SHERRY                       LARKIN, SYDNEY                         LARKIN, TEYLAR
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LARKINS, PAUL                        LARMANN, RYAN                         LARMIE, MICAH
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LARNARD, ANNABELLE                   LAROCCA, JOHN                         LAROCCA, KRISTLE
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LAROCCA, SHEA                        LAROCHE, AUDY                         LAROCHE, JESSICA
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LAROCHE, MARIANA                     LAROCHE, NICOLE                       LAROCHE, PAIGE
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LAROCHE, SUE                         LAROCHELLE, AMANDA                    LAROCHELLE, LAUREN
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LAROCQUE, BEVERLY                    LAROCQUE, DIANE                       LAROCQUE, TERESA
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LAROM, DAISY                         LAROSA, JACLYN                        LAROSA, JOSEPH
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LAROSA, LEO                          LAROSA, NICHOLAS                      LAROSA, PATRICK
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LAROSA, REGLA                        LAROSE, ALLYSSA                       LAROSE, BRANDON
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LAROSE, SCOTT         Case 22-11238-LSS     Doc 2
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LAROUCHE, STEPHANIE                   LAROUX, AMANDA                        LAROY, DANIELLE
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LARRABEE, BRANDON                     LARRABEE, KATHRYN                     LARRACUENTE, KORYN
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LARREAU, PEGGY                        LARRIVEE, ILSE                        LARRIVIERE, JODY
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LARROW, HEATHER                       LARRY D HINES                         LARRY E SHULTZ
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LARRY EDWARD BUCHMANN                 LARRY ELLINGSON                       LARRY FERGUSON
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LARRY JAMES EGGENBERGER               LARRY JOHNSON                         LARRY LEVENBERG
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LARRY R PRICE                         LARRY SELLECK                         LARRY, JESS
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LARRY, JULIAN                         LARRYS VENICE LP (BELLES)             LARS MAPSTEAD
ADDRESS AVAILABLE UPON REQUEST        1697 PACIFIC AVE                      ADDRESS AVAILABLE UPON REQUEST
                                      VENICE, CA 90291




LARS RIKSE                            LARS ULLMAR                           LARSEN, ANNIE
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LARSEN, BAILEY        Case 22-11238-LSS
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LARSEN, CAROLYN                      LARSEN, COREN                         LARSEN, CYNTHIA
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LARSEN, DARYL                        LARSEN, DIANE                         LARSEN, HEATHER
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LARSEN, JENNIFER                     LARSEN, JORDAN                        LARSEN, KARL
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LARSEN, KASEY                        LARSEN, KATE                          LARSEN, KATIE
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LARSEN, KELSEY                       LARSEN, MAIA                          LARSEN, PATRICK
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LARSEN, PAULA                        LARSEN, PEIK                          LARSEN, RENEE
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LARSEN, SARA                         LARSEN, SASHA                         LARSEN, SUSAN
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LARSEN, TAYLOR                       LARSEN, TAYLOR                        LARSEN, THERESA
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LARSEN, TOM                          LARSEN, VICTORIA                      LARSON FAMILY WINERY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        23355 MILLERICK ROAD
                                                                           SONOMA, CA 95476
LARSON, ALISON        Case 22-11238-LSS
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LARSON, ALY                          LARSON, ANDREA                        LARSON, ANYA
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LARSON, ARIEL                        LARSON, ASHLENE                       LARSON, ASHLEY
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LARSON, ASHLEY                       LARSON, BEAU                          LARSON, BRADEN
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LARSON, BRITTANY                     LARSON, BRITTANY                      LARSON, CARLEY
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LARSON, CHAD                         LARSON, CHRIS                         LARSON, CLAIRE
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LARSON, CLARE                        LARSON, COLLEEN                       LARSON, DAYNA
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LARSON, DEBBIE                       LARSON, EDIE                          LARSON, GILLIAN
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LARSON, HEATHER                      LARSON, HELEN                         LARSON, JANICE
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LARSON, JEFF                         LARSON, JENNIFER                      LARSON, JESSICA
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LARSON, JON                          LARSON, JONATHAN                      LARSON, JONATHAN
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LARSON, JULIA                        LARSON, KADI                          LARSON, KAREN
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LARSON, KARIN                        LARSON, KATHERINE                     LARSON, KATIE
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LARSON, KELLEY                       LARSON, KRISTEN                       LARSON, KRISTI
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LARSON, KRISTINA                     LARSON, LARISSA                       LARSON, LAURA LEE
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LARSON, LAUREN                       LARSON, LEAH                          LARSON, LEE
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LARSON, LISA                         LARSON, LONNA                         LARSON, LORI
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LARSON, LYLE                         LARSON, LYN                           LARSON, MARGIE
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LARSON, MARJORIE                     LARSON, MELISSA                       LARSON, MICHAEL
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LARSON, MICHAELA      Case 22-11238-LSS
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LARSON, PATSY                        LARSON, PENELOPE                      LARSON, RACHAEL
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LARSON, RICK                         LARSON, ROSS                          LARSON, SANDY
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LARSON, SANDY                        LARSON, SARA                          LARSON, SARAH
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LARSON, SHANNON                      LARSON, SHAUN                         LARSON, TARA
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LARSON, TERESA                       LARSON, TIMOTHY                       LARSON, TYLER
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LARSON, WENDY                        LARSOND, JEFFD                        LARSSON, AUBREY
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LARSSON, JEFFREY                     LARUE, ALISON                         LARUE, DEANA
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LARUE, GABRIELLE                     LARUE, GINGER                         LARUE, KATE
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LARUE, MADELINE                      LARUE, OTHALIA                        LARUSSO, DOROTHY
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LARY, EILEEN                         LARZELERE, KELSEY                     LASAGE, DENISE
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LASALA, GRACE                        LASALA, JOE                           LASALA, SOPHIA
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LASALLE, LIBBY                       LASALLE, MARIA                        LASALLE, RUBY
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LASALLE, STUART                      LASALLE, TAYLOR                       LASARGE, JOSEPH
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LASATER, LORENZO                     LASATER, TRACY                        LASCELLES, VALERIE
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LASCHANZKY, PENNY                    LASCOLA, JILL                         LASCOMB, MICHAEL
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LASER SESKES, BRANDI                 LASER, JACQUELINE ROSE                LASH, LISA
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LASH, RICHARD                        LASH, TONYA                           LASHER, PATRICK
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LASHICONNAH HAMMER                   LASHLEY, JON                          LASHLEY, MARK
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LASHLEY, TAYLOR       Case 22-11238-LSS
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LASITER, MADISON                     LASITIS, SARAH                         LASK, JENNIFER
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LASK, KATHY                          LASKA, RONALD                          LASKER, DAVID
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LASKER, JULIA                        LASKEY, JEANETTE                       LASKEY, MICHAEL
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LASKI, DESTINY                       LASKI, RICHARD                         LASKOWSKI, FILIP
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LASKOWSKI, IAN                       LASKOWSKI, JOSHUA                      LASKOWSKI, KELLY
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LASKOWSKI, VICKI                     LASKY, ADAM                            LASKY, HANNAH
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LASKY, MATTHEW                       LASLEY, ANNA                           LASLO, EMILY
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LASLO, JAMIE                         LASNER, ANDREA                         LASPINA, NANCY
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LASPOUSSAS, MATHIEU                  LASS, LIBBY                            LASSACK, MARGARET
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LASSERE, EMILY                       LASSITER, AILEEN IMANA                LASSITER, DARCY
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LASSITER, GABRIELLA                  LASSITER, KEITH                       LASSITER, KENDAL
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LASSITER, LAURA                      LASSITER, SARA                        LASSITER, SONJA
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LASSITER, STEPHEN                    LASSMAN, MARIE                        LASSONDE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LASSOURD, THOMAS                     LAST MILE ENGINEERING                 LAST MILE MANAGEMENT
ADDRESS AVAILABLE UPON REQUEST       3325 LINDA MESA WAY                   1 BELMONT AVE. SUITE 520
                                     NAPA, CA 94559                        BALA CYNWYD, PA 19004




LAST, CYNTHIA                        LASTELLA, CHERYL                      LASTER, MELODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LASTER, TIMOTHY                      LASTOVICA, CAITLYN                    LASTOWSKI, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LASTRES, ALEXIS                      LASTYAK, MELINDA                      LASURE, DENISE
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LASURE, RICHARD                      LASUS, DAVE                           LASUSA, EVA
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LATELIER DU VIN                      LATELLA, ELIZABETH                     LATER.COM
SOCIETE SANBRI 2 ROUTE DE CHEPOIX    ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING
BRETUIL SUR NOYE 60120
FRANCE




LATERRA, ROSARIO                     LATHAM, CASEY                          LATHAM, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LATHAM, CINDY                        LATHAM, DEBORAH                        LATHAM, ELIZABETH
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LATHAM, GINA                         LATHAM, GRACE                          LATHAM, JEN
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LATHAM, JESSICA                      LATHAM, JIMMY                          LATHAM, JULIA
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LATHAM, JULIA                        LATHAM, KATHY                          LATHAM, RACHAEL
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LATHAM, SIERRA                       LATHAM, STEPHANIE                      LATHAM, TERESA
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LATHAM, TERI                         LATHAM, TIFFANY                        LATHE, TERINA
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LATHEM, LESLIE                       LATHROP, ANN                           LATHROP, BRANDY
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LATHROP, CAROLYN      Case 22-11238-LSS    Doc
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LATHROP, KIKI                        LATHROP, LINDSEY                      LATHROP, MELISSA
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LATHROP, MITCHELL                    LATHROP, PAMELA                       LATHROP, STACY
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LATHRUP, BRETT                       LATIF, AMANI                          LATIFAJ, ARBEN
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LATIFI, ANISSA                       LATIFOVIC, SABINA                     LATIMER, DEVIN
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LATIMER, MICHAEL                     LATIMER, STEPHANIE                    LATINA, JACQUELINE
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LATINI, ALECIA                       LATINO, BILL                          LATINO, JAN
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LATIOLAIS, KELLY                     LATION, PIXEL                         LATNO, ARTHUR
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LATOCHA, JULIE                       LATONYA RIVERA                        LATORRE, MOLLIE
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LATOS, MARY                          LATOSHA HUTCHINSON                    LATOUCHE, LERONE
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LATRE, TAYLOR                         LATRIANO, SOPHIA                      LATRICE DAVIS
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LATTA, CALEIGH                        LATTA, CAROLINE                       LATTA, MARK
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LATTA, MONIQUE                        LATTANZI, VICTORIA                    LATTANZIO, ANTHONY
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LATTANZIO, CHIARA                     LATTANZIO, KATIE                      LATTANZIO, TIA
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LATTEIER, KRISTEN                     LATTELL, AL                           LATTERNER, TIMOTHY
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LATTIMER, MEGAN                       LATTIMORE, GLORIA                     LATTIMORE, NANCY
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LATTIN, TRISH                         LATTO, MELISSA                        LATTUCA, SHANNYN
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LATULIPPE, RITA                       LATURELL, ALYSSA                      LATUS, NICK
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LATVIS, JENNIFER                      LAU TSZ CHUN                          LAU, AGNES
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LAU, IRIS                            LAU, IVY                              LAU, KEVIN
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LAU, RYAN                            LAU, STEPHANIE                        LAU, ZACHARY
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LAUB, J.P.                           LAUB, JILLIAN                         LAUB, NICOLE
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LAUB, NOELLE                         LAUBACH, ANDREW                       LAUBACH, VICTORIA
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LAUBACHER, ALLISON                   LAUBACHER, KATE                       LAUBE, NIKOLE
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LAUBER, GINA                         LAUBER, LONDA                         LAUBHAN, ELIZABETH
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LAUBSCHER, AMANDA                    LAUBSCHER, WILLIAM                    LAUCELL, YAJAIRA
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LAUCIRICA, AUDREY                    LAUCK, MARY                           LAUD, FRAN
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LAUDA, ERIN                          LAUDAHN, BERND                        LAUDANO, KATHERINE
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LAUDE, ANNA           Case 22-11238-LSS    Doc 2MAGGIE
                                     LAUDENBACH,     Filed 11/30/22     Page 2796 ofTAMMI
                                                                             LAUDER, 5495
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LAUDERDALE, SARAH                    LAUDERMAN, ABBY                         LAUDERMAN, HEATHER
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LAUDI, ABBY                          LAUDICINA, JAIMIE                       LAUDICINA, SARAH
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LAUDONIO, CAROL                      LAUER, ADAM                             LAUER, BOB N CHERYL
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LAUER, ERIN                          LAUER, JULIA                            LAUER, LENA
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LAUER, LIZ                           LAUER, PATRICIA                         LAUER, ROBERT
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LAUER, RYAN                          LAUESEN, MARK                           LAUFER, HEATHER
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LAUFER, NICOLE                       LAUGAND, KIANA                          LAUGEL, KAREN
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LAUGESEN, CAMMI                      LAUGESEN, MEGAN                         LAUGHEAD, DEBORAH
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LAUGHEAD, JOY                        LAUGHING MAN COFFE                      LAUGHLIN, AMANDA
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LAUGHLIN, BEATRICE    Case 22-11238-LSS    Doc
                                     LAUGHLIN,    2 Filed 11/30/22
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                                                                           LAUGHLIN, JASON
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LAUGHLIN, KIM                        LAUGHLIN, MARY                         LAUGHLIN, MAX
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LAUGHLIN, MEGAN                      LAUGHLIN, NICOLE                       LAUGHLIN, TAYLOR
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LAUGHMILLER, BAILEY                  LAUGHNAN, CONNIE                       LAUGHNER, EMELIE
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LAUGHREY, KATIE                      LAUGHSALOT, DELLA                      LAULETTA, KRISTEN
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LAUMAN, TAMMY                        LAUNCE M TURNER                        LAUNDER, JONATHAN
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LAUNDERVILLE, ANNALIES               LAUNIE, JENNA                          LAUNIUS, MAGGIE
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LAUPRETRE, ANTOINE                   LAUR, TERRY                            LAURA ANDERSON
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LAURA ANN WOODRUFF                   LAURA B SHANNON                        LAURA CADENHEAD
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LAURA CULLINAN                       LAURA DAVIS                            LAURA DAWN JONES
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LAURA EALY            Case 22-11238-LSS     DocCOOPER
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                                                                            LAURA HOGAN
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LAURA HUNTER                         LAURA JONES                            LAURA JOUKOVSKI
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LAURA JUSTINE JACOBSON               LAURA KLEIN                            LAURA KMIOTEK
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LAURA L TIMMIS                       LAURA LEA BRYANT (DBA LLB, LLC)        LAURA LERNER
ADDRESS AVAILABLE UPON REQUEST       1250 MARTIN STREET                     ADDRESS AVAILABLE UPON REQUEST
                                     NASHVILLE, TN 37203




LAURA LYNN GAWEL                     LAURA MYERS                            LAURA NIUBO GIORGETTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LAURA OLSON                          LAURA PARNELL                          LAURA PORTO
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LAURA QUENZER                        LAURA QUINN                            LAURA QUINTRELL
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LAURA RODRIGUEZ                      LAURA SPILHAUS                         LAURA STRIDIRON
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LAURA TROMETER                       LAURA WIGFALL                          LAURA, OLIVER,
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LAURANA PAGANOTTI                    LAURANCE, JESSICA                      LAUREANO, ALANNA
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LAURELLO, MICKEY                     LAUREN ALEXANDER                      LAUREN AYERS
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LAUREN BASCUE                        LAUREN BAXTER                         LAUREN BECK
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LAUREN DAVID                         LAUREN DEBOALT                        LAUREN DICKENS
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LAUREN DOYLE                         LAUREN E BARNETTE                     LAUREN E MOSKOWITZ
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LAUREN FLEMEN                        LAUREN GIRALDO INC.                   LAUREN GROSS
ADDRESS AVAILABLE UPON REQUEST       C/O ABRAMS ARTISTS AGENCY             ADDRESS AVAILABLE UPON REQUEST
                                     N SAN VICENTE BLVD 11TH FLOOR
                                     LOS ANGELES, CA 90069




LAUREN HASSEN                        LAUREN HODGINS                        LAUREN IVEY
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LAUREN KOENIG BUMP                   LAUREN LARSON                         LAUREN LYNN IHDE
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LAUREN M OFLAHERTY                   LAUREN MACNARY                        LAUREN MCMILLIAN
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LAUREN MERCLEAN ZUMBRUN              LAUREN MICHELSON                      LAUREN MIFFLIN
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LAUREN SELIG                         LAUREN SINGER                         LAUREN SMITH
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LAUREN TAMAKI                        LAUREN TAYLOR JAMES                   LAUREN WEBB-FRANCO, LAUREN
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LAUREN                               LAUREN, MORRIS,                       LAURENCE GIRARD
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LAURENCE J SPRAGUE                   LAURENCE, KAYLA                       LAURENCE, LISA
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LAURENT WAHARTE                      LAURENT, AMBER                        LAURENT, MARY
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LAURETTA, KYLEEN                     LAURIA, DANIELLE                      LAURICELLA, CATHERINE
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LAURICELLA, DENISE                   LAURIE DUNCAN                         LAURIE FITZPATRICK
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LAURIE JOHNSON, LAURA                LAURIE LEE                            LAURIE MUIR
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LAURIE REENAN, BRITTANY              LAURIE SCHOEMAN                       LAURIE, ELISABETH
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LAURIE, SARAH         Case 22-11238-LSS
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LAURIN, LORI                         LAURINE TRAQUAIR                      LAURING, ANN
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LAURITSEN, JOAN                      LAURO, AMANDA                         LAURO, DANIEL
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LAURO, DESTINY                       LAURO, JOSEPH                         LAURO, TIFFANY
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LAURYN SHABANOWITZ                   LAUSCH, CHERYL                        LAUSCH, NANCY
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LAUSENG, MAGGIE                      LAUSER, PETER                         LAUTENSCHLAGER, LAUREN
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LAUTENSLAGER, AMY                    LAUTER, JILL                          LAUTER, KATIE & DIGGER
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LAUTERBACH, OLIVIA                   LAUTERBACH, ROSLYN                    LAUTERBACH, SARAH
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LAUTH, AARON                         LAUTH, REBECCA                        LAUTH, ROBERT
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LAUTURE-AZEB, CAROLINE               LAUTZENHEISER, RODNEY                 LAUTZENHEISER, TROY
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LAUW, TYLER           Case 22-11238-LSS    Doc 2COURTNEY
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LAUZ HUNTER, TAMIEKA                 LAUZON, ALEXIS                          LAUZON, EMMA
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LAUZON, JAMIE                        LAUZON, LAUREN                          LAVALLEE, JENNIFER
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LAVALLEE, KAREN                      LAVALLEE, SUSAN                         LAVALLEE, TIM
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LAVALLEY, JENNIFER                   LAVALLEY, VALERIE                       LAVANDOWSKA, KEARA
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LAVANWAY, JANE                       LAVASSEUR, SOPHRONA                     LAVECCHIA, LISA
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LAVELLE, ABBY                        LAVELLE, DALE                           LAVELLE, KATHRYN
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LAVELLE, KATHY                       LAVELLE, LISA                           LAVELLE, MARY THERESE
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LAVELLE, PAIGE                       LAVELLE, SEAN                           LAVELLE, VALERIE
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LAVENAU, MELINDA                     LAVENDER BLUE RESTAURANT                LAVENDER, HAYLEE
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LAVENDER, JASON       Case 22-11238-LSS    DocKARA
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                                                                           LAVENDER, LOQUEZ
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LAVENSTEIN, JAMIE                    LAVENTURE, KAITLYN                    LAVER, BOB
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LAVERGNE, AMANDA                     LAVERGNE, CHRIS                       LAVERGNE, JAIME
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LAVERGNE, RUSSEL                     LAVERNIA, LAURA                       LAVERONE, JENNIFER
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LAVERTU, ROSALIE                     LAVERTY, AUSTIN                       LAVERY, TERESA
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LAVEY, JOSIE                         LAVEZOLI, RONDA                       LAVI, MATTHEW
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LAVI, MIKE                           LAVICKA, MICHELLE                     LAVIE, MERISA
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LAVIERO, LINDSAY                     LAVIGNE, JILLIAN                      LAVIGNE, JULIANN
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LAVIGNE, MARTIN                      LAVIGNE, MARY                         LAVIGNE, MARY
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LAVIGNE, TANISSA                     LAVILLE, RIDGE                        LAVIN, ALEXANDRA
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LAVIN, BRYAN          Case 22-11238-LSS      Doc 2 Filed 11/30/22
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LAVIN, DANIELLE                      LAVIN, GREG                           LAVIN, JESSICA
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LAVIN, KATHLEEN                      LAVIN, LINDSAY                        LAVINE, CAILA
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LAVINIA COX                          LAVINO, ANTOINETTE                    LAVINO, CLARE
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LAVIOLA, ANNETTE                     LAVIS, DARCY                          LAVOICE, JULIE
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LAVOIE, DAVID                        LAVOIE, JANEL                         LAVOIE, MOLLY
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LAVOIE, RYAN                         LAVOIE, SARAH                         LAVOIE, SARAH
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LAVORATO, MARIAH                     LAVRIN, LAURA                         LAVU, NAVIN
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LAW OFFICE OF BRIAN F SIMAS          LAW OFFICE OF BRIAN F SIMAS           LAW OFFICE OF BRIAN F SIMAS
2928 SAN MARCOS AVE STE 202A         PO BOX 11                             PO BOX 706
LOS OLIVOS, CA 93441                 LOS OLIVOS, CA 93441                  LOS ALAMOS, CA 93440




LAW, ALLISON                         LAW, BRITTANY                         LAW, CASIE
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LAW, DANIELLE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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LAW, HOWARD                          LAW, JOSEPHINE                        LAW, JUDY
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LAW, KATHERINE                       LAW, LINDA                            LAW, NEISHA
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LAW, NICK                            LAW, PEGGI                            LAW, REBEKAH
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LAW, ROBERT                          LAW, SARAH                            LAW, WILLIAM
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LAWAL, OLUWASEYI                     LAWANDA DAVIS                         LAWARE, MAUREEN
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LAWES, KALENA                        LAWHON, ERIKA                         LAWHON, LORI
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LAWHON, MEGAN                        LAWHON, MIRANDA                       LAWHORN, AMBER
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LAWHORN, HEATHER                     LAWHORN, JOCELYN                      LAWI AN, JERRIN
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LAWING, LEONARD                      LAWINGER, LINDA                       LAWINGER, PATTY
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LAWLER, ANDREW        Case 22-11238-LSS
                                     LAWLER,Doc  2 Filed 11/30/22
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                                                                           LAWLER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAWLER, HEATHER                      LAWLER, HEATHER                       LAWLER, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAWLER, KARLA                        LAWLER, KATELYN                       LAWLER, KATIE
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LAWLER, KELLEE                       LAWLER, PAIGE                         LAWLER, SHELBY
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LAWLER-HART, ERIN AND SHANNYN        LAWLESS, ELIZA                        LAWLESS, EMILY
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LAWLESS, JULI                        LAWLESS, KRISTEN                      LAWLESS, SCOTT
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LAWLIS, ALICE                        LAWLOR, BRIAN                         LAWLOR, GABRIELLE
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LAWLOR, JAMES                        LAWLOR, KATHERINE                     LAWLOR, MARY
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LAWLOR, MEGAN                        LAWLOR, STEVE                         LAWLOR, THOMAS
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LAWLOR, TIM                          LAWN, KATE                            LAWNER, MELISSA
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LAWRENCE A DESPAIN    Case 22-11238-LSS    DocAUBE
                                     LAWRENCE   2 Filed 11/30/22      Page 2807 of 5495
                                                                           LAWRENCE H POMEROY
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LAWRENCE JAY KANTROWITZ              LAWRENCE JOSEPH NAJVAR JR             LAWRENCE JOSEPH SCHIEFER
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LAWRENCE LANKFORD                    LAWRENCE MARTINI                      LAWRENCE MOONEY
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LAWRENCE PERL                        LAWRENCE PORTER                       LAWRENCE STOLTENBERG
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LAWRENCE W JENNEMAN JR               LAWRENCE YOUNG                        LAWRENCE, AMANDA
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LAWRENCE, ASHLEY JOY                 LAWRENCE, AVERY                       LAWRENCE, BARBARA
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LAWRENCE, BETHANY                    LAWRENCE, CATHERINE                   LAWRENCE, CHRISTINA
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LAWRENCE, CHRISTOPHER                LAWRENCE, COBY                        LAWRENCE, DANIELLE
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LAWRENCE, DAVID                      LAWRENCE, DAVID                       LAWRENCE, DORIS
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LAWRENCE, ELIZABETH                  LAWRENCE, ERIC                        LAWRENCE, ERNST
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LAWRENCE, FITZROY     Case 22-11238-LSS    DocGINA
                                     LAWRENCE,  2 Filed 11/30/22      Page 2808 of 5495
                                                                           LAWRENCE, HANNAH
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LAWRENCE, HEATHER                    LAWRENCE, JACKIE                      LAWRENCE, JACQUELINE
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LAWRENCE, JADA                       LAWRENCE, JENNIFER                    LAWRENCE, JENNIFER
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LAWRENCE, JO                         LAWRENCE, JOSHUA                      LAWRENCE, JULIE
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LAWRENCE, JUSTINA                    LAWRENCE, KASHAYA                     LAWRENCE, KELLEY
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LAWRENCE, KELLI                      LAWRENCE, KRISTEN                     LAWRENCE, LARAMIE
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LAWRENCE, LINDSAY                    LAWRENCE, LORI                        LAWRENCE, MARK
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LAWRENCE, MATT                       LAWRENCE, MEGHAN                      LAWRENCE, MICHELLE
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LAWRENCE, MICHELLE                   LAWRENCE, MICHELLE                    LAWRENCE, NANCY
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LAWRENCE, NATASHA                    LAWRENCE, NICOLE                      LAWRENCE, NOEL CRONIN
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LAWRENCE, OLIVIA      Case 22-11238-LSS    DocROBERT
                                     LAWRENCE,  2 Filed 11/30/22      Page 2809 of 5495
                                                                           LAWRENCE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAWRENCE, SARAH                      LAWRENCE, SHERRI                      LAWRENCE, STEPHEN
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LAWRENCE, TAYLOR                     LAWRENCE, VANESSA                     LAWRENCE, WENDY
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LAWRENCE, ZIA                        LAWRENCE-HURT, JESSICA                LAWRIE, LAURA
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LAWRY, BRIANA                        LAWRY, JANET                          LAWS, ALI
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LAWS, COLIN                          LAWS, IAN                             LAWS, JACQUELINE
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LAWS, JAMIE                          LAWS, JAN                             LAWS, JEANNE
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LAWS, MARISSA                        LAWSHE, AMANDA                        LAWSON, ALICE
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LAWSON, AMANDA                       LAWSON, ANDREW                        LAWSON, ANDREW
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LAWSON, ASHLEY                       LAWSON, BARBARA                       LAWSON, CAROLYN
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LAWSON, CARY          Case 22-11238-LSS    Doc
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                                                                           LAWSON, 5495
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LAWSON, CHRISTIANA                   LAWSON, CHRISTINE                     LAWSON, DANIELLE
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LAWSON, DAVID                        LAWSON, ELEANOR                       LAWSON, ELISSA
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LAWSON, EMILY                        LAWSON, EMILY                         LAWSON, GWEN
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LAWSON, HOLLY                        LAWSON, HOLLY                         LAWSON, IAN
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LAWSON, JAREN                        LAWSON, JENNIFER                      LAWSON, JENNIFER
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LAWSON, JESSICA                      LAWSON, JESSICA                       LAWSON, JOCLYN
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LAWSON, JORDAN                       LAWSON, JULIE                         LAWSON, JUSTIN
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LAWSON, KADY                         LAWSON, KAREN                         LAWSON, KARINA
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LAWSON, KATHERINE                    LAWSON, KATHRYN                       LAWSON, LAMAR
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LAWSON, LAUREN        Case 22-11238-LSS    Doc
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LAWSON, MELINDA                      LAWSON, MICHAEL                         LAWSON, REGINA
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LAWSON, RICHARD                      LAWSON, SABINE                          LAWSON, SARAH
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LAWSON, SARAH                        LAWSON, SHELBI                          LAWSON, SHELBI
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LAWSON, SHELLY                       LAWSON, SOPHIE                          LAWSON, STEPHANIE
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LAWSON, TORRIE                       LAWSON, VALERIE                         LAWSON, WILL
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LAWTHER, KATHRYN                     LAWTHER, LAURIE                         LAWTON, EMILY
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LAWTON, MICHAEL                      LAWTON, PETER                           LAWTON, ROBERT
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LAWTON, SUSAN                        LAWTON, TIM                             LAWTONE-BOWLES, NICOLE
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LAWYER, NATHALIE                     LAX CLUB W.                             LAX AIRPORT LOT
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LAX                   Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                            LAX, KELSEY
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LAX, LINDSEY                          LAY, DEBORAH                          LAY, DEBRA
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LAY, KATHERINE                        LAY, LAUREN                           LAY, MARTINA
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LAY, MEGHAN                           LAYDE, PATRICIA                       LAYDEN, ANNIE
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LAYDEN, MICHELLE                      LAYDON, NICOLE                        LAYER, ANNIE
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LAYLINE INSURANCE BROKERS             LAYMAN, ALI                           LAYMAN, RENEE
PO BOX 641261                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94164




LAYMAN, TAMI                          LAYMON, CLAIRE                        LAYNE, ALICIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LAYNE, BRENNA                         LAYNE, DONNA                          LAYNE, JESSICA
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LAYNE, LINDSAY                        LAYNE, MICHELLE                       LAYNE, SAMANTHA
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LAYSA, MELODY                         LAYSER, KELLY                         LAYSHOCK, PETER
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LAYSON, DEBERA        Case 22-11238-LSS
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                                                                           LAYTON,  5495
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LAYTON, ANNALIESE                    LAYTON, AUBREY                        LAYTON, CLINTON
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LAYTON, CORINA                       LAYTON, ERIN                          LAYTON, KATRINA
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LAYTON, MARY KATE                    LAYTON, TAYLOR                        LAYUS, CHRISTINA
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LAZAR, MALLORY                       LAZAR, VERONICA                       LAZARDE PASTRANA, MICHELLE
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LAZARE, CHRISTINA                    LAZARE, SOPHIA                        LAZARE, ZACH
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LAZARIAN, RAFFE                      LAZARO SANCHEZ-PINTO                  LAZARO, MARCELA
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LAZAROFF, CHRISTY                    LAZAROU, REBECCA                      LAZARUS REESE
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LAZARUS, ALLISON                     LAZARUS, CEDRIC                       LAZARUS, JULIA
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LAZARUS, KELLY                       LAZARUS, OLIVIA                       LAZARUS, SARAH
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LAZCANO-PALMA, YALOANYCase 22-11238-LSS
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LAZEK, HEATHER                          LAZERI, LIZZIE                          LAZEWSKA, VICKI
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LAZIER, BRUCE                           LAZIN, MATTHEW                          LAZINKA, SHANE
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LAZINSKI, TARYN                         LAZIO, RICK                             LAZO, CLAUDIA
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LAZO, DIRELIA                           LAZORITZ, REBEKAH                       LAZRINE, JESSICA
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LAZU, JACQUELINE                        LAZUICK, TAYLEHR                        LAZUR, JOHN
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LAZY EIGHT                              LAZZARA, DIANE                          LAZZARI, JULIE
R1 - EPICURIA, NEHRU PLACE              ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NEW DELHI 110019
INDIA




LAZZARINI, DON                          LAZZARO, MEREDITH                       LAZZARO, NICHOLAS
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LAZZARO, NICK                           LAZZARO, SHELLY                         LAZZERONI, JOHN
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LBC MUNDIAL CORPORATION                 LBMC, LLC                               LCBO
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   43 FREELAND STREET
                                                                                TORONTO, ON M5E 1A4
                                                                                CANADA
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LCBO 43 FREELAND STREET              ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING
TORONTO, ON M5E 1A4
CANADA




LE COQ, JULIA                           LE FORT, KARA                         LE GEAR, MAREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LE GOY, PATRICE                         LE GRAND COURTAGE                     LE GRAND OAK NORTH AMERICA, LLC
ADDRESS AVAILABLE UPON REQUEST          1281 WESTWOOD BLVD., STE 107          PO BOX 255
                                        LOS ANGELES, CA 90024-4971            LAFAYETTE, CA 94549




LE GUYADER, SABINE                      LE MIERE, JASON                       LE PAIN QUOTIDIEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




LE PETTIT                               LE ROUX, NICOLE                       LE, ADAM
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LE, AIMEE                               LE, ALICE                             LE, ALISA
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LE, AMANDA                              LE, DANA                              LE, EMILY
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LE, HIEU                                LE, KAREN                             LE, LONG
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LE, MAIVAN                              LE, MYHANH                            LE, OANH
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LE, TAM                                 LE, THANH                             LE, THUY
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LE, TIFFANY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LE, TONY                         Page 2816   of 5495
                                                                           LE, VALERIE
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LE, VICTORIA                         LEA, CHRISTINA                        LEA, JENNIFER
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LEA, JESSICA                         LEA, JONATHAN                         LEA, JONATHAN
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LEA, KAYLA                           LEA, SHERRY                           LEA, STACY
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LEABO, SHELBY                        LEACH MACMILLAN, LUCINDA              LEACH, CAROLINE
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LEACH, DEBRA                         LEACH, DIANE                          LEACH, EMILY
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LEACH, GEORGE                        LEACH, JANAE                          LEACH, KAITLIN
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LEACH, KATE                          LEACH, KIMBERLEE                      LEACH, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEACH, LEANNE                        LEACH, LIESL                          LEACH, LYNDSAY
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LEACH, MANDY                         LEACH, RACHEL                         LEACH, RACHEL
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LEACH, ROBIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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LEACH, THERESE                       LEACH, ZOE                            LEACHMAN, ALLIE
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LEACHMAN, TIA                        LEADER, CATIA                         LEADER, DANIELLE
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LEAF, ELANA                          LEAF, MORGAN                          LEAFBLAD, TRICIA
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LEAGUE, GABRIELLE                    LEAH CALVERT                          LEAH GRAHAM
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LEAH KOCH DEBIASE                    LEAH SEITZ                            LEAHEY, MORGAN
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LEAHEY, THOMAS                       LEAHY, ALLY                           LEAHY, AMY
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LEAHY, CHAROLETTE                    LEAHY, CRISTIN                        LEAHY, DEANNA
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LEAHY, ELIZABETH                     LEAHY, ERIN                           LEAHY, JOHN
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LEAHY, JULIA                         LEAHY, KRISTINE                       LEAHY, MEGHAN
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LEAHY, MICHELLE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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LEAK, COREY                          LEAKE, MELISSA                        LEAKE, THOMAS
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LEAKWAY, CHRISTIAN                   LEAL, ALYSSA                          LEAL, CHLOE
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LEAL, DANICE                         LEAL, ENEIDO                          LEAL, GIPSY
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LEAL, HECTOR                         LEAL, JAVIER                          LEAL, JESUS
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LEAL, KARLA                          LEAL, MARIA                           LEAL, MARISA
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LEAL, MATTHEW                        LEAL, MATTHEW                         LEAL, MOLLIE
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LEAL, STAR                           LEAL, TANILLE                         LEAL, THAIS
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LEAMER, BETH                         LEAMER, ROBERT                        LEAMY, DEBORAH
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LEANA                                LEANCU, KIMBERLY                      LEANDER, HANA
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LEANNE, SANDEFER                     LEANUES, KRISTIN                      LEANY, CRISTA
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LEAO, LUIZ FELIPE                    LEAO, PEDRO                           LEAPALDT, SARAH
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LEAPHART, CHERYL                     LEAPHART, CHERYL                      LEAR, CLYDE
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LEAR, MEGAN                          LEARISH, KATHRYN                      LEARN, MARK
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LEARNED, NICOLE                      LEARNER, NISHMA                       LEARY- HAMRICK, RENATA
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LEARY, ANDY                          LEARY, ASHTON                         LEARY, CAROLINE
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LEARY, CHRISTINA                     LEARY, COLIN                          LEARY, DEBRA
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LEARY, GERI                          LEARY, HEATHER                        LEARY, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEARY, KATELYN                       LEARY, MATT                           LEARY, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEARY, MICHAEL        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEARY, TIM                       Page 2820   of 5495
                                                                           LEAS, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEASAU, EDWINA                       LEASE, CARLI                          LEASHA SMITH
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LEASURE, JASON                       LEASURE, MICHELLE                     LEASURE, NOMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEATH, HAROLD                        LEATH, KERRY                          LEATHER, SAMANTHA
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LEATHERBEE, KAITLIN                  LEATHERLAND, MOLLY                    LEATHERMAN, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEATHERS, SARAH                      LEATHERS, TREVOR                      LEATHERWOOD, DANA
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LEATHERWOOD, KASEY                   LEATHERWOOD, KIRSTEN                  LEATON, FELICIA
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LEATZOW, JIM                         LEAVELL, LEE                          LEAVELL, SHERRY
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LEAVENWORTH, HANNAH                  LEAVENWORTH, MACKENZIE                LEAVER, CHANNELLE
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LEAVER, DEVORAH                      LEAVEY, KAREN                         LEAVEY, KEVIN
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LEAVITT, DEREK        Case 22-11238-LSS
                                     LEAVITT,Doc  2 Filed 11/30/22
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                                                                           LEAVITT, 5495
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LEAVITT, HANNAH                      LEAVITT, HAYLI                        LEAVITT, JENNA
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LEAVITT, KATHERINE                   LEAVITT, TARA                         LEBACK, MEREDITH
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LEBAK, KIMBERLY                      LEBANON, 4701                         LEBAR, REBECCA
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LEBARON, ANA                         LEBARON, BRIAN                        LEBARON, PAM
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LEBARON, RENEE                       LEBARRON, CARRIE                      LEBAS, IRMA
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LEBEAU, BRANDON                      LEBEAU, BROOKE                        LEBEAU, CHAD
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LEBEAU, COURTNEY                     LEBEAU, JAKE                          LEBEAU, MADELINE
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LEBEAU, STEPHANIE                    LEBEAU, SUZANNE                       LEBEJKO, MORGAN
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LEBEL CONNORS, EMILY                 LEBEL, JOLENE                         LEBER, ABBY
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LEBER, ERIC           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEBER, MADISON                   Page 2822 of 5495
                                                                           LEBERMAN, ADAM
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LEBICA, KELLEY                       LEBITZ, BRUCE                         LEBLANC, ALLISON
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LEBLANC, ANNE ELISE                  LEBLANC, BONNIE                       LEBLANC, BRIAN
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LEBLANC, CHELSEY                     LEBLANC, COLLEEN                      LEBLANC, DANIELLE
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LEBLANC, DENNIS                      LEBLANC, ERICA                        LEBLANC, GINNY
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LEBLANC, JACKIE                      LEBLANC, JOE                          LEBLANC, KIMBERLY
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LEBLANC, KRISTIN                     LEBLANC, LAUREN                       LEBLANC, LAUREN
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LEBLANC, LORI                        LEBLANC, MELISSA                      LEBLANC, MICHELE
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LEBLANC, MONICA                      LEBLANC, PATRICIA                     LEBLANC, RANDI
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LEBLANC, RONNIE                      LEBLANC, SEAN                         LEBLANC, SUSAN
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LEBLANG, HOLLIE       Case 22-11238-LSS    Doc
                                     LEBLOND,     2 Filed 11/30/22
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                                                                           LEBO, EMILY
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LEBO, KERI                           LEBOEUF, MAX & SUSAN                  LEBOUEF, ELIZABETH
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LEBOUTILLIER, ELISE                  LEBOWITZ, MEGHAN                      LEBOWITZ, MIA
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LEBRON, BERNADETTE                   LEBRON, CHRISTAL                      LEBRON, CRYSTAL
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LEBRUN, LONDA                        LEBSACK, SUSAN                        LEBU, SARAH
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LEBZELTER, DAWN                      LECATES, DEBORAH                      LECATES, MARLENE
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LECCE, ALY                           LECCISO, FRACESCO                     LECH, JASON
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LECH, MAGDALENA                      LECHER, ALLI                          LECHETTE, MEGHAN
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LECHIN, SALLY                        LECHMANSKI, KELSEY                    LECHNER, PEG
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LECHNOWSKYJ, NATALIE                 LECHOWICZ, JANICE                     LECHTRECKER, MARIJEAN
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LECHUGA NUNEZ, GONZALOCase 22-11238-LSS    Doc
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                                                                           LECHUGA, MIGUEL
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LECK, JASON                          LECKEL, ALEX                           LECKER, PENNY
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LECKER, SARAH                        LECKER, STACY                          LECKEY, JANE
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LECKIE, KYLIE                        LECKIE-EWING, GRETCHEN                 LECKY, LORI
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LECLAIR, DANIELLE                    LECLAIR, DARLA                         LECLAIR, EMILY
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LECLAIR, KATELYN                     LECLAIR, KELLI                         LECLAIR, LAURA
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LECLAIR, MASON                       LECLAIR, PAT                           LECLAIR, STEPHANIE
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LECLAIRE, ALEXIS                     LECLERC, DAWN                          LECLERC, DEBORAH
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LECLERC, TIM                         LECODET, JOSUE                         LECOINTE, TAMARA
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LECOMPTE TURL, ANNEMARIE             LECOMPTE, JAMES                        LECOMPTE, NATALIE
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LECOMPTE, WHITNEY     Case 22-11238-LSS
                                     LECOQ, Doc
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                                                                           LECORPS, LAURRAINE
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LECOT, KOENRAAD                      LEDAIN, BRANDON                        LEDBETTER, AERIN
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LEDBETTER, BETHANY                   LEDBETTER, CARRIE                      LEDBETTER, EMMA
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LEDBETTER, JASON                     LEDBETTER, LEILA                       LEDBETTER, RICK
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LEDBETTER, SUSAN                     LEDDA, DENISE                          LEDDICK, JUSTIN
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LEDDY, ANGELA                        LEDDY, KAITLIN                         LEDDY, KEEGAN
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LEDEAY, ELISABETH                    LEDER, MELISSA                         LEDERER, GRETCHEN
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LEDERER, MADELINE                    LEDERLE, DAVIDA                        LEDERMAN, IVAN
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LEDERMAN, MATTHEW                    LEDESMA, ANDREA                        LEDESMA, ARIN
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LEDET, ALEXANDER                     LEDFORD RICHARD, REBECCA               LEDFORD, ASHTON
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LEDFORD, DEBRA        Case 22-11238-LSS    Doc
                                     LEDFORD,    2 Filed 11/30/22
                                              ELIZABETH               Page 2826 of 5495
                                                                           LEDFORD, KRISTIN
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LEDFORD, LINDSEY                     LEDFORD, MORGAN                        LEDFORD, SUZAN
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LEDGERWOOD, CAROL                    LEDGISTER, DIANTE                      LEDONNE, CHELSEA
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LEDONNE, DANIELLE                    LEDONNE, MEGAN                         LEDONNE, SARAH
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LEDOUX, CARISA                       LEDOUX, JESSICA                        LEDOUX, LESLIE
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LEDOUX, MADELINE                     LEDOUX, MARY CLAIRE                    LEDSON WINERY AND VINEYARDS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         PO BOX 653
                                                                            KENWOOD, CA 95452




LEDUC, EMILY                         LEDUC, LAUREN                          LEDUC, MEGHAN
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LEDWITH, JULIA                       LEDYARD, LAUREN                        LEE AND BONGIOVANNI, AMY AND DREW
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LEE BEUSAN, ROBIN                    LEE CAPUTO, SHARON                     LEE FRAZEE
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LEE III, EDWARD                      LEE PAULINO, LISA                      LEE RESTA
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LEE VOSE              Case 22-11238-LSS     Doc& 2SHARON
                                     LEE, AARON      Filed 11/30/22   Page 2827   of 5495
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LEE, ABIGAIL                         LEE, ADAM                             LEE, ADRIENNE
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LEE, AIESHA                          LEE, AIMEE                            LEE, ALANNA
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LEE, ALENA                           LEE, ALISHA                           LEE, ALLISON
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LEE, ALLISON                         LEE, ALLISON                          LEE, ALLISON
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LEE, ALVAR                           LEE, ALYSSA                           LEE, ALYSSA
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LEE, ALYSSA                          LEE, ALYSSA                           LEE, ALYSSA
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LEE, ALYSSIA                         LEE, AMANDA                           LEE, AMANDA
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LEE, AMANDA                          LEE, AMANDA                           LEE, AMY
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LEE, AMY                             LEE, AMY                              LEE, ANDRE
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LEE, ANDREA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEE, ANDREA                      Page 2828   of 5495
                                                                           LEE, ANDREW
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LEE, ANDREW                          LEE, ANGELA                           LEE, ANGELA
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LEE, ANGELA                          LEE, ANNA                             LEE, ANNA
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LEE, ANNIE                           LEE, ANN-MARIE                        LEE, APRIL
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LEE, ARIS                            LEE, ART                              LEE, ARTHUR
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LEE, ARTURO                          LEE, ASHLEY                           LEE, ASHLEY
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LEE, ASHLEY                          LEE, ASHLEY                           LEE, ASHLEY
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LEE, AUDRA                           LEE, AUDREY                           LEE, BARBARA
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LEE, BENJAMIN                        LEE, BETH                             LEE, BLAKE
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LEE, BOB                             LEE, BORA                             LEE, BRANDI
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LEE, BRENDA           Case 22-11238-LSS      Doc
                                     LEE, BRIAN   2 Filed 11/30/22
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                                                                           LEE, BRIAN
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LEE, BRITTANY                        LEE, CAITLIN                          LEE, CANDICE
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LEE, CARMEN                          LEE, CAROLINE                         LEE, CAROLYN
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LEE, CASEY                           LEE, CATHERINE                        LEE, CHARIS
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LEE, CHARLES                         LEE, CHERYL                           LEE, CHLOE
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LEE, CHOONSOK                        LEE, CHRIS                            LEE, CHRISTINA
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LEE, CHRISTINA                       LEE, CHRISTINA                        LEE, CHRISTINE
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LEE, CHRISTINE                       LEE, CHRISTINE                        LEE, CHRISTOPHER
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LEE, CHUANLING                       LEE, CHUNG                            LEE, CINDY
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LEE, CINDY                           LEE, CJ                               LEE, CLAIRE
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LEE, CONNIE           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LEE, CRISS                       Page 2830   of 5495
                                                                           LEE, CYNTHIA
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LEE, DA HYEON                        LEE, DANA                             LEE, DANAE
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LEE, DANIEL                          LEE, DANIELLE                         LEE, DEB
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LEE, DEMISHA                         LEE, DIANE                            LEE, DOUGLAS
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LEE, DUANE                           LEE, ELISA                            LEE, ELIZABETH
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LEE, ELIZABETH                       LEE, EMILY                            LEE, ENBE
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LEE, ERICA                           LEE, ERICA                            LEE, ERICA
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LEE, ERIKA                           LEE, FELICIA                          LEE, FELISHAS20
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LEE, FERN                            LEE, FLAVIA                           LEE, FRANKIE
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LEE, GILLIAN                         LEE, GRACE                            LEE, GRACE
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LEE, GRACE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEE, GREG                        Page 2831   of 5495
                                                                           LEE, GUN
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LEE, HALIENA                         LEE, HANNAH                           LEE, HANNAH
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LEE, HANNAH                          LEE, HEATHER                          LEE, HOLLY
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LEE, HYEMIN                          LEE, HYUN                             LEE, HYUNJI
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LEE, INKU                            LEE, IRE                              LEE, IRENE
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LEE, JADE                            LEE, JAE                              LEE, JAE
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LEE, JAEWON                          LEE, JAMES AND LILLIAN                LEE, JAMES
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LEE, JAMIE                           LEE, JAMIE                            LEE, JAMIE
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LEE, JAMIE                           LEE, JANE                             LEE, JANE
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LEE, JANE                            LEE, JANICE                           LEE, JANNET
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LEE, JASON            Case 22-11238-LSS
                                     LEE, JAYDoc 2   Filed 11/30/22   Page 2832   of 5495
                                                                           LEE, JAZMINE
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LEE, JEAN                            LEE, JEANETTE                         LEE, JEE YOON
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LEE, JENNELL                         LEE, JENNELL                          LEE, JENNIFER
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LEE, JENNIFER                        LEE, JENNIFER                         LEE, JENNIFER
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LEE, JENNIFER                        LEE, JENNIFER                         LEE, JENNIFER
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LEE, JENNY                           LEE, JENNY                            LEE, JERRY
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LEE, JESSE                           LEE, JESSICA                          LEE, JESSICA
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LEE, JESSICA                         LEE, JESSICA                          LEE, JESSICA
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LEE, JESSICA                         LEE, JESSICA                          LEE, JESSICA
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LEE, JESSICA                         LEE, JINHEE                           LEE, JOANNA
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LEE, JOCELYN          Case 22-11238-LSS
                                     LEE, JOEDoc 2   Filed 11/30/22   Page 2833   of 5495
                                                                           LEE, JOEL
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LEE, JOHN                            LEE, JOHN                             LEE, JOHNNY
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LEE, JOOMEE                          LEE, JOSEPH                           LEE, JOSH
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LEE, JOSHUA                          LEE, JOY                              LEE, JU HYUN
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LEE, JULIA                           LEE, JULIE                            LEE, JULIUS
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LEE, JUN                             LEE, JUNGMIN                          LEE, JUSTIN
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LEE, JUSTIN                          LEE, KARA                             LEE, KATHERINE
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LEE, KATHERINE                       LEE, KATHERYINE                       LEE, KATHLEEN
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LEE, KATHN                           LEE, KATHY                            LEE, KATHY
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LEE, KATIE                           LEE, KATIE                            LEE, KAYOUNG
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LEE, KELLY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEE, KELSEY                      Page 2834   of 5495
                                                                           LEE, KELSEY
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LEE, KELSEY                          LEE, KELSEY                           LEE, KELSEY
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LEE, KELSEY                          LEE, KEVIN                            LEE, KIKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, KIMBERLY                        LEE, KIMYA                            LEE, KIRBY
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LEE, KRISTEN                         LEE, KRISTEN                          LEE, KRISTINA
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LEE, KYU                             LEE, KYU                              LEE, LACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, LAUREN                          LEE, LAUREN                           LEE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, LAUREN                          LEE, LESLIE                           LEE, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, LESLIE                          LEE, LINDA                            LEE, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, LINDSEY                         LEE, LISA AND JOHN                    LEE, LOREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEE, LOREN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEE, LOUIS                       Page 2835   of 5495
                                                                           LEE, LYNNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, MAGGIE                          LEE, MALINDA                          LEE, MALLORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, MARGARET                        LEE, MARIA                            LEE, MARIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, MARIE                           LEE, MARILYN                          LEE, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, MARQ                            LEE, MARQUELLE                        LEE, MARY KIERNAN
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LEE, MARY                            LEE, MARY                             LEE, MEAGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEE, MECHTILD                        LEE, MEGAN                            LEE, MEGAN
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LEE, MEGHAN                          LEE, MELISSA                          LEE, MELISSA
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LEE, MELISSA                         LEE, MEREDITH                         LEE, MICHAEL
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LEE, MICHAEL                         LEE, MICHAEL                          LEE, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEE, MICHELLE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           LEE, MICHELLE
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LEE, MIN-CHIEH                       LEE, MINDY                            LEE, MIN-HO
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LEE, MOLLY                           LEE, MOOKIE                           LEE, MORGAN
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LEE, NAKCIA                          LEE, NANA                             LEE, NANCY
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LEE, NATALIE                         LEE, NATALIE                          LEE, NEVIN
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LEE, NICOLE                          LEE, NITA                             LEE, NORRON
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LEE, PAIGE                           LEE, PAMELA                           LEE, PATRICIA
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LEE, PAULETTE                        LEE, RACHAEL                          LEE, RACHAEL
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LEE, RACHEL                          LEE, RAE-YAO                          LEE, RANDY
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LEE, REBECCA                         LEE, REBECCA                          LEE, REBECCA
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LEE, REBECCA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           LEE, RENEE
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LEE, RHONDA                          LEE, RICHARD                          LEE, RICKEY
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LEE, ROBERT                          LEE, ROBERT                           LEE, ROSE
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LEE, ROYCE                           LEE, RYAN                             LEE, SAMANTHA
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LEE, SANDY                           LEE, SARAH                            LEE, SATURDAY
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LEE, SEAN                            LEE, SEUNGJIN                         LEE, SHAKAYLA
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LEE, SHAMIKA                         LEE, SHANNON                          LEE, SHELBY
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LEE, SHELBY                          LEE, SHONA                            LEE, SOO HEE
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LEE, SOO                             LEE, STAR                             LEE, STELLA
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LEE, STEPHANIE                       LEE, STEPHEN                          LEE, STEVE
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LEE, STEVEN           Case 22-11238-LSS
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                                                                           LEE, SUE
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LEE, SUH IN SHAYNA                   LEE, SUNG                             LEE, SUNGHEE
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LEE, SUSAN                           LEE, SUSAN                            LEE, TELEA
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LEE, TERESA                          LEE, THIDA                            LEE, TIA
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LEE, TIMOTHY                         LEE, TONI                             LEE, TONY
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LEE, TONYA                           LEE, TRACEY                           LEE, TRACEY
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LEE, TRECI                           LEE, TRISHA                           LEE, TYLER
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LEE, TYLER                           LEE, VANESSA                          LEE, VICKIE
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LEE, VICKY                           LEE, VICTOR                           LEE, VICTORIA
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LEE, VICTORIA                        LEE, VICTORIA                         LEE, VICTORIA
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LEE, YEANA                           LEE, YEHUN                            LEE, YONGJIN
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LEE, YOONJI                          LEE, YOONJUNG                         LEE, YOUNG JOO
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LEE, YVETTE                          LEE, ZACHARY                          LEE, ZIVAGO
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LEEANN MONTEVERDE                    LEEANN POWELL                         LEECH, COLLIN
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LEED, COLIN                          LEED, DARYL                           LEEDIE-LOWE, LINDA
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LEEDS, GWEN                          LEEDS, JAMIE                          LEEDY, NICOLE
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LEEHY, DON                           LEEK, GIDEON                          LEEK, KRISTINA
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LEEK, KRISTY                         LEEK, MICHAEL                         LEEMAN, DYLAN
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LEEMAN, HANNAH                       LEEMAN, KRISTIN                       LEEMAN, SHARON
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LEEN, MOLLY           Case 22-11238-LSS     Doc ASUMA
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LEENHOUTS, MATTHEW                   LEE-O’NEAL, ESTEBAN                     LEEP, DANA
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LEEP, KATHLEEN                       LEEPER, EVONNE                          LEEPSON, SUSAN
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LEER, SEAN                           LEEREDDY, INC                           LEES OLARSCH, ILENE
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LEES, ANDREW                         LEES, EMMA                              LEES, GINA
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LEESE, REBECCA                       LEET, BRITTANY                          LEET, JAMIE
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LEE-THORP, MEGAN                     LEEUW, ANDREA                           LEEUW, MICHELLE
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LEFAN, CAYLEE                        LEFAVE, KATIE                           LEFEBRE, SARAH
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LEFEBVRE, ALLISON                    LEFEBVRE, COREY                         LEFEBVRE, KATLYN
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LEFERE, AGATA                        LEFEVER, KATHERINE                      LEFEVRE, ANNE
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LEFEVRE, APRIL        Case 22-11238-LSS    Doc
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                                                                              LEFEVRE, 5495
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LEFEVRE, MARY                           LEFEVRE-WALL, ELLI                    LEFF, BETH
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LEFF, DEBRA                             LEFF, LENA                            LEFFEL, CRYSTAL
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LEFFEW, SHEILA                          LEFFINGWELL, ALLISON                  LEFFLER, KENNETH
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LEFKOWITH, AMELIA                       LEFKOWITZ, IRINA                      LEFKOWITZ, KATHY
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LEFKOWITZ, LAUREN                       LEFKOWITZ, LAUREN                     LEFKOWITZ, MAX
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEFKOWITZ, REBECCA                      LEFLER, ALLISON                       LEFT BANK WINE COMPANY (WISCONSIN)
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        4910 TRIANGLE STREET
                                                                              MCFARLAND, WI 53558




LEFT BANK WINE COMPANY                  LEFTON, BRIAN                         LEFTON, MARC
4910 TRIANGLE STREET                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCFARLAND, WI 53558




LEFTWICH, LAURA                         LEFTWICH, LINDSAY                     LEFTWICH, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEG VALET                               LEGAGNEUR, MARIE                      LEGALLEE, JESSICA
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LEGALLY BRUNETTE INC Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                              LEGALSHIELD
11300 W OLYMPIC BLVD SUITE 620      ONE PRE-PAID WAY                          P.O. BOX 2629
LOS ANGELES, CA 90064               ADA, OK 74820                             ADA, OK 74821-2629




LEGALZOOM.COM                           LEGARE, ANTWAUN                       LEGARE, CHRISTA
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LEGARE, TESSA                           LEGARETTA, JESSICA                    LEGARSKY, SARA
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LEGASPI, ALEJANDRO                      LEGASPI, JOAN                         LEGAT, JADE
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LEGAULT, ETHAN                          LEGAULT, JESSI                        LEGAULT, WESLEY
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LEGBAND, KATIE                          LEGBEDZE, PHILOMINA                   LEGE, EMILIE
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LEGEAI, CATHERINE                       LEGEE, TRACY                          LEGEL, CASEY
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LEGENDRE, MELISSA                       LEGER, BRIAN                          LEGER, CAUNELIA
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LEGER, MELISSA                          LEGER, SAMANTHA                       LEGER, SAMANTHA
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LEGERE, JEAN                            LEGERE, LORI                          LEGERE, PHYLLIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEGERME, SCOTT        Case 22-11238-LSS
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                                                                           LEGG, BRITT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGG, JAMES                          LEGG, KIMBERLEE                       LEGG, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGG, MARIAH                         LEGGE, ANTHONY                        LEGGETT, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGGETT, KARI                        LEGGETT, KATE                         LEGGETT, KOREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGGETT, NICOLE                      LEGGETT, RONICA                       LEGGETT, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGGETTE, JENNY                      LEGGIERI, LISA                        LEGGIO, DEANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGGIO, GINA                         LEGGIO, JENNIFER                      LEGLER, MARCIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGLER, NICHOLAS                     LEGRAND, FREDRICK                     LEGRAND, HILLARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGRAND, STEPHANIE                   LEGRED, PAULETTE                      LEGRIS, LARSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEGROS, ALISON                       LEGUIZAMON, GISELLE                   LEGVOLD, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEHEW, JASON          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEHMAN, ALEX                         LEHMAN, ANGELA                         LEHMAN, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEHMAN, ASHLEE                       LEHMAN, CAMARIA                        LEHMAN, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEHMAN, ERICA                        LEHMAN, JENNIFER                       LEHMAN, JIM
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LEHMAN, JULIA                        LEHMAN, KAYLA                          LEHMAN, LANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEHMAN, MICHELLE                     LEHMAN, NORMA                          LEHMAN, PATRICIA
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LEHMAN, RANDY                        LEHMAN, SARAH                          LEHMAN, SCHUYLER
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LEHMANN, CHRISTOPHERSCOTT            LEHMANN, LAWRENCE                      LEHMANN, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEHMANN, TESIA                       LEHMAYER, MARISSA                      LEHMBERG, RONI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEHN, WALTER                         LEHNER, ALLIE                          LEHNER, CASSIDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LEHNER, JAKE          Case 22-11238-LSS
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                                                                            LEHNER, 5495
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LEHNER, KIERSTEN                     LEHNERT, LISSA                         LEHNHARDT, JULIE
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LEHNOWSKY, KATHRYN                   LEHR, ASHLEY                           LEHR, HILLARY
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LEHR, KRISTEN                        LEHR, MADDY                            LEHR, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEHRER, ELIZABETH                    LEHRMAN BEVERAGE LAW, PLLC             LEHRMAN, RACHEL
ADDRESS AVAILABLE UPON REQUEST       2911 HUNTER MILL ROAD SUITE 303        ADDRESS AVAILABLE UPON REQUEST
                                     OAKTON, VA 22124




LEHTI, RACHAEL                       LEHTO, CHRISTOPHER                     LEHTO, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEHTONEN, REBEKAH                    LEHYANI, SARIEL                        LEI CAMILLE MARTIN
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LEI CONG                             LEI, CLAIRE                            LEI, SU
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LEIA SHANKS                          LEIB, ERICA                            LEIBEL, ELIZABETH
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LEIBEL, LINDA                        LEIBENHAUT, CAITLIN                    LEIBERG BERGAMASCHI, JENNA
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LEIBERG, NATALIE      Case 22-11238-LSS     Doc
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LEIBMAN, TIM                         LEIBOLD, EMILY                        LEIBOLD, JILL
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LEIBOLD, JOELLEN                     LEIBOWITZ, ELISA                      LEIBOWITZ, MICHELLE
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LEIBUNDGUT, JOHN                     LEIBY, FRED                           LEICHENAUER, RYAN
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LEICHNER, KIRSTEN                    LEICHT, BRAXTON                       LEICHT, ROSEMARY
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LEICHTLE, TRUDY                      LEICHTY, GREG                         LEICK, ELLEN
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LEIDEL, LYNN                         LEIDEL, SCOTT                         LEIDERMAN, ERICA
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LEIDHEISER, KYLE                     LEIDHOLDT, JANELLE                    LEIDHOLDT, JANELLE
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LEIDHOLM, PAYTON                     LEIDNER, CARLIE                       LEIER, NEAL
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LEIER, ROBERT                        LEIFERMAN, AMBER                      LEIFERT, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEIFIELD, JORDAN      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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LEIGH POULTON                        LEIGH RUWET                            LEIGH, ALYSSA
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LEIGH, ANNA                          LEIGH, CRYSTAL                         LEIGH, ELIZABETH
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LEIGH, KATIE                         LEIGH, MATTHEW                         LEIGH, MICAH
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LEIGH, STACY                         LEIGH, SUSAN                           LEIGHANN COX
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LEIGHANN LANGE                       LEIGHBODY, TORI                        LEIGHTON, ERIKA
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LEIGHTON, JAMES                      LEIGHTON, JEANNETTE                    LEIJA, ALONDRA
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LEIK, JULIA                          LEIK, LEIGH                            LEIKER, JULIE
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LEILA BRAMMER                        LEIMER, CARSTEN                        LEIN, AMY
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LEIN, KATIE                          LEIN, MEGAN                            LEIN, RHYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LEINBACH, ERICA       Case 22-11238-LSS     Doc MADISON
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LEINER, SHANNON                      LEINEWEBER, KATIE                     LEINHAUSER, SANDRA
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LEININGER, DANIELLE                  LEININGER, EMILY                      LEININGER, HOLLY
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LEININGER, JAMES                     LEININGER, KAREN                      LEININGER, MEGAN
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LEININGER, TAYLOR                    LEINONEN, MALLORIE                    LEINWEBER, KATELIN
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LEINWEBER, MELISSA                   LEINWEBER, RACHEL                     LEIPER, JUSTIN
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LEIPOLD, DOUGLAS                     LEIRAN, MARY                          LEIS, JULIANA
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LEISA, EDT                           LEISCH, PENNY                         LEISK, SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEISLANY LOPEZ                       LEISSES, DAVID                        LEISSNER, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEIST, DAN                           LEISTER, JOHN                         LEISTER, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEISTER, TRINITY      Case 22-11238-LSS     Doc
                                     LEISURE,     2 Filed 11/30/22
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                                                                           LEITCH,of 5495
                                                                                   LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEITE, DANIELLE                      LEITE, ERIN                           LEITE, KATIE
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LEITE, LAUDECI                       LEITE, SONIA                          LEITER, PAM
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LEITER, SARAH                        LEITINGER, BONNIE                     LEITNER, CINDI
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LEITSINGER, RACHEL                   LEITZE, KRISTIN                       LEIVA, JULIA
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LEIVA, TOMAS                         LEIWANT, MIRA                         LEJA, ALLIE RAE
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LEJEUNE, ALEXIS                      LEJEUNE, CLAUDIA                      LEK SECURITIES CORPORATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        4 WORLD TRADE CENTER FL 44
                                                                           150 GREENWICH STREET
                                                                           NEW YORK, NY 10007




LEKIC, MIRELA                        LEKKAS, JOSEPHINE                     LEKWA, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LELA ALTMAN                          LELAND JOSEPH FIEGEL                  LELAND Y L CHING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LELAND, KATE                         LELAND, RACHEL                        LELAND, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LELAS, LINDSAY        Case 22-11238-LSS    Doc
                                     LELCHUK,    2 Filed 11/30/22
                                              EMILY                   Page 2850  of MELISSA
                                                                           LE-LEWIS, 5495
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LELIE, KENDRA                        LELIO, AVERY                           LELLE, JAIME
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LELLI, TAMARIA                       LEM, SHERRY                            LEMA, ANGELICA
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LEMA, SERGIO                         LEMAITRE, PAUL                         LEMAITRE, REBECCA
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LEMAL, KIMBERLEE                     LEMAN, JESSICA                         LEMANCZYK, SHIRLEY
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LEMANOWICZ, JUSTINE                  LEMANSKI, AMANDA                       LEMANSKI, AMY
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LEMANSKI, SARAH L                    LEMAR, CHELSEA                         LEMAS, KEREN
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LEMASTER, BETH                       LEMASTER, ELIZABETH                    LEMASTER, REBECCA
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LEMASTERS, CHRISTIANA                LEMASTERS, EMMA                        LEMASTERS, JADE
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LEMAY, JASON                         LEMAY, JENNIFER                        LEMAY, KIRSTIN
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LEMAY, NANCY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEMAY, VALERIE                   Page 2851 of 5495
                                                                           LEMBACH, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEMBKE, COLLEEN                      LEMBO, DENISE                          LEMBO, MICHAEL
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LEMBO, NANCY                         LEMBO, VIRGINIA                        LEMCKE, ANNA
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LEMCKE, KEITH                        LEMEILLEUR, RACHEL                     LEMELLE, BRITTAINY
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LEMELLE, QUINN                       LEMEN, SHAREN                          LEMES, LEONARDO
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LEMES, SABRINA                       LEMIEUX, JULIE                         LEMIEUX, KAYLA
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LEMIEUX, KEN                         LEMIEUX, MARISSA                       LEMIN, JESSICA
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LEMING, LACIE                        LEMIRE, GERALDINE                      LEMKE, AMY
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LEMKE, CHRIS                         LEMKE, MELISSA                         LEMKIN, MEREDITH
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LEMLEY, BRANDY                       LEMLEY, KATHERINE                      LEMLEY, PATRICIA
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LEMLY, MICHELLE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEMLY, MICHELLE                    Page 2852  of 5495
                                                                             LEMM, MELISSA
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LEMMA, BARBARA                       LEMMENS, CAS                            LEMMENS, EMILY
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LEMMER, KDEE                         LEMMER, STEPHENIE                       LEMMERS, LORI
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LEMMIE, BRENDA                       LEMMIE, BRUCE                           LEMMING, ERICA
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LEMMON, DAVID                        LEMMONS, HERBERT MICHAEL                LEMMONS, JESSICA
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LEMOINE, DEBORAH                     LEMOINE, FRED                           LEMOINE, KAREN
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LEMOINE, MAXWELL                     LEMOINE, ROBERT                         LEMON, KELLY
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LEMON, LINDSEY                       LEMON, MEGAN                            LEMON, MICHELLE
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LEMON, TIM                           LEMONADE                                LEMONDE
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LEMONDS, CHERYL                      LEMONIAS, ARIANNA                       LEMONS, CHRIS
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LEMONS, GABRIEL       Case 22-11238-LSS
                                     LEMONS,Doc 2 Filed 11/30/22
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                                                                           LEMONS, 5495
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LEMONS, NIKKI                        LEMOS, CINDY                          LEMOYNE, LEIGH
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LEMPEL, ERIC                         LEMUS, ATHENA                         LEMUS, FRANKLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEN THE PLUMBER, LLC                 LENA, CORINA                          LENAHAN, SCOTT
1552 RIDGELY STREET                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BALTIMORE, MD 21230




LENARD, DARA                         LENARD, KAREN                         LENARD, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LENAY, CAYLEE                        LENAZ, WILLIAM                        LENDBERGH HOBSON
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LENDE, NATASHA                       LENDER, JANESSA                       LENDERMAN, VALERIE
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LENERS, ERIN                         LENERT, MELISSA                       LENFESTEY, WILLIAM
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LENGACHER, LINDSEY                   LENGEL, HARRY                         LENGEL, PATTI
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LENGER, CARA                         LENGERMANN, JOSEPH                    LENGLE, PATRICIA
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LENGUYEN, TIEN        Case 22-11238-LSS    Doc
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                                                                           LENGYEL, 5495
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LENHART, ABIGAIL                     LENHART, EMMA                         LENHEIM, GREG
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LENIG, ASHLYN                        LENIHAN, CARRIE                       LENINGER, AUSTEN
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LENIS, CARLOS                        LENK, JULIE B                         LENKER, HEATHER
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LENKOU, ANDREI                       LENKOWSKI, PATRICIA                   LENN, HOPE
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LENNANDER, PAUL                      LENNARD KOK                           LENNARD, LUKE
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LENNING, KEVIN & TONYA               LENNINGER, LAURIE                     LENNON, CHRISTOPHER
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LENNON, JUDITH                       LENNON, MEGAN                         LENNON, SCOTT
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LENNON, TOM AND BECKY                LENNON, WILL                          LENNOX, JEFFREY
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LENNY LIEBERMAN                      LENO, EGYPT                           LENO, HOLLY
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LENOCKER, BRYANT      Case 22-11238-LSS
                                     LENOIR, Doc 2 Filed 11/30/22
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LENORE SHANNON                       LENOVER, NICK                           LENOVO GROUP
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LENOX, BECKY                         LENOX, HOLLY                            LENSE, RACHEL
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LENSKI, MARCIA                       LENSRENTAL.COM                          LENT, ADRIANA
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LENT, MARK                           LENTER, RYAN                            LENTIN, LAURA
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LENTINI, DENISE                      LENTINI, NICOLE                         LENTO, LINDSEY
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LENTOWSKI, MOLLY                     LENTRICCHIA, AUGUST                     LENTS, LEAH
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LENTSCH, JOSEPH                      LENTZ, FERN                             LENTZ, JANEITA
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LENTZ, KATHERINE                     LENTZ, LAUREN                           LENTZ, MONICA
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LENZ, BRITTANY                       LENZ, ELYSE                             LENZ, HALEY
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LENZ, JACOB           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LENZ, JENNIFER                   Page 2856   of 5495
                                                                           LENZ, JORDYN
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LENZ, LISA                           LENZ, LISA                            LENZ, MICHELLE
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LENZEN, SAMANTHA                     LENZER, DELILAH                       LENZO, ALEXANDRA
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LEO MCFARLAND                        LEO, CHARLOTTE                        LEO, CONNER
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LEO, DIANA                           LEO, FRANCINE                         LEOMAR GONZALEZ
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LEOMARYS LOCKLEAR                    LEOMBRUNO, JUSTIN                     LEON RODRIGUEZ, XENIA
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LEON, ADAM                           LEON, ALICIA                          LEON, ANDRES
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LEON, AURIA                          LEON, BECKY                           LEON, DANA
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LEON, DENICE                         LEON, EDWARD                          LEON, ENRIQUE
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LEON, ERIKA                          LEON, ERIKA                           LEON, ESTEFANIA
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LEON, EULALIA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEON, FELIPE                     Page 2857   of 5495
                                                                           LEON, FLAVIA
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LEON, JOEL                           LEON, JOEY                            LEON, KALEISHA
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LEON, KELLY                          LEON, LOURDES                         LEON, MARIO
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LEON, MARTHALYNN                     LEON, MATTHEW                         LEON, MATY
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LEON, MELISSA                        LEON, MELISSA                         LEON, NICHOLE
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LEON, RYAN                           LEON, SARAH                           LEON, TALIA
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LEON, TINA                           LEON, YVONNE                          LEONA FREY
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LEONA WASHINGTON                     LEONARD HUNT, KATE                    LEONARD M LONG
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LEONARD METILDI                      LEONARD, ALI                          LEONARD, ALISON
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LEONARD, ALLISON                     LEONARD, ANNEMARIE                    LEONARD, BRENNA
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LEONARD, BRIDGET      Case 22-11238-LSS    Doc
                                     LEONARD,   2 Filed 11/30/22
                                              CHELSEA                 Page 2858 of 5495
                                                                           LEONARD, CHRISTEN
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LEONARD, CRYSTAL                     LEONARD, DAGNY                         LEONARD, DEBORAH
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LEONARD, ELIZABETH                   LEONARD, EMMA                          LEONARD, ERIN
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LEONARD, ERIN                        LEONARD, ERIN                          LEONARD, GEOFFREY
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LEONARD, GLENN                       LEONARD, HEATHER                       LEONARD, JACOB
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LEONARD, JAMES                       LEONARD, JEFFREY                       LEONARD, JENNIFER
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LEONARD, JODI                        LEONARD, JOHN                          LEONARD, JORDAN
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LEONARD, JUDITH                      LEONARD, JUSTIN                        LEONARD, KATHRYN
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LEONARD, KATIE                       LEONARD, LAURA                         LEONARD, LAUREN
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LEONARD, LINDA                       LEONARD, LINDSEY                       LEONARD, LUCY
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LEONARD, LYNDSEY      Case 22-11238-LSS    Doc
                                     LEONARD,   2 Filed 11/30/22
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                                                                           LEONARD, MARIAN
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LEONARD, MELISSA                     LEONARD, MEREDITH                     LEONARD, MITCHELL
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LEONARD, NICOLE                      LEONARD, PAIGE                        LEONARD, PHYLLIS
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LEONARD, RAENADA                     LEONARD, REBECCA                      LEONARD, SARAH
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LEONARD, SEAN                        LEONARD, SUSAN                        LEONARD, SUSAN
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LEONARD, SUSANNAH                    LEONARD, THEODORE                     LEONARD, TINA
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LEONARD, VICTORIA                    LEONARD, WILLIAM                      LEONARD, ZACHARY
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LEONARDI, ROSEANA                    LEONARDO PILLE                        LEONARDO ROYAL HOTELDUSSELDORF
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LEONARDO, JENNA                      LEONARDO, LAURA                       LEONARDO, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEONARDO, TAYLOR                     LEONARDOS, PARASKEVI                  LEONCZYK, EMILY
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LEONDIS, DIANA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEONE, CHRISTOPHER               Page 2860
                                                                           LEONE,of 5495
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LEONE, DENISE                        LEONE, FRANCESCA                      LEONE, KIM
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LEONE, KOURTNEY                      LEONE, LINDA                          LEONE, MICHAEL
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LEONE, NICOLE                        LEONE, NICOLE                         LEONE, REBECCA
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LEONE, RICHARD                       LEONE, ROBOT                          LEONE, STEPHEN
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LEONETTI, GINA                       LEONG, ANITA                          LEONG, JENNIFER
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LEONHARDT, CHELSEY                   LEONHARDT, ISAAC                      LEONHARDT, TAYLOR
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LEONI, GINAMARIE                     LEONI, JON                            LEONORA ANNA
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LEONOVA, ELENA                       LEON-RODRIGUEZ, MARIA                 LEONTI ROCHELLE
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LEOPARDI, SHANNON                    LEOPOLD, LAUREN                       LEOPOLD, SUZANNE
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LEOPOLDO, KIRK        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           LEOTTA,  5495
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LEOTTA, DONNA                        LEOTTA, JENNIFER                      LEOTTA, NANCY
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LEOUNG, JASMINE                      LEPAGE, BURGESS                       LEPAGE, CARRIE
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LEPAGE, CHELSEA                      LEPCHITZ, COLE                        LEPENKOV, DMITRY
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LEPERA, ALICIA                       LEPINE, CATHERINE                     LEPINE, MOLLY
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LEPINE, SHERI                        LEPISTO, JASMINE                      LEPKOWSKI, COLETTE
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LEPLA, BEN                           LEPLA, ZACH                           LEPLATTENIER, JJ
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LEPORE, CASEY                        LEPORE, CHANCZE                       LEPORE, ELVIRA
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LEPORE, FELICIA                      LEPORE, KRISTEN                       LEPORE, LENNY
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LEPORE, MARIE                        LEPORE, MEGHAN                        LEPORE, PATRICIA
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LEPORTE, SOPHIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           LEPPER,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEPPERT, JACQUELINE                  LEQUEUX NALOVIC, KATARINA             LERAND, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LERAND, SARAH                        LERCH, DAVID                          LEREBOURS, TEODULO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LERMA, CARYN                         LERMA, ESTHER                         LERMA, KARINA
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LERMA, KELLI                         LERMA, LETICIA                        LERMAN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LERNER, BETHANY                      LERNER, JOHANNA                       LERNER, MORGAN
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LERNER, REBECCA                      LERNER, SHIRA                         LERNER, STACEY
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LERONE LATOUCHE                      LEROUX, BARB                          LEROUX, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEROUX, JESSICA                      LEROUX, KASIE                         LEROUX, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEROUX, SAMANTHA                     LEROUX, SCOTT                         LEROUX, SYLVAIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEROW, VANESSA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEROY NORIEGA                      Page 2863  of 5495
                                                                             LEROY SANDERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LEROY WILLIAMS JR                    LEROY, BRIANNA                          LEROY, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LERTYAOVARIT, DARRICK                LES MARCHANDS WINE BAR                  LESA DETERMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




LESA GRILLO                          LESAN, SHANNON                          LESANE, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LESASSIER, WENDI                     LESAUX, NONIE                           LESCANEC, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LESCAVAGE, ABBY                      LESCH, ARNALDO                          LESCHLY, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LESCHLY, BENJAMIN                    LESCHYNSKI, KRIS                        LESCURE, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LESER, MATTHEW                       LESHAK, DANIELLE                        LESHCHYNSKIY, DMYTRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LESHINE, SHELBY                      LESINSKI, CATHERINE                     LESIUK, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LESKA, BRANDON                       LESKO, HANNAH                           LESKO, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LESLEY COMBS          Case 22-11238-LSS
                                     LESLEY Doc
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                                                                                     SANCHEZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LESLEY THOMPSON                      LESLIE BURTHEY                            LESLIE FLYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LESLIE HUCKLA                        LESLIE JEANNE YOUNG                       LESLIE JON SIMON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LESLIE MELVIN BREHM                  LESLIE MINERVINI, LESLIE MINERVINI        LESLIE NEWKIRK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LESLIE SALAZAR                       LESLIE SERRANO                            LESLIE TILLOTSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LESLIE WILLIAMS                      LESLIE, ADRIENNE                          LESLIE, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LESLIE, CHRISTINA                    LESLIE, EARL                              LESLIE, LESLIANNE
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LESLIE, MARY                         LESLIE, PATRICK                           LESLIE, RON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LESLIE, SARAH                        LESLIE, TARRA                             LESLIE, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LESMANN, ALICIA                      LESMEISTER, MADISON                       LESMES, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
LESNEK, SHERRY        Case 22-11238-LSS
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                                                                             LESNIKOWSKI, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LESPERANCE, LEAH                     LESPERANCE, TANYA                        LESS, GABRIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LESSARD, GABRIELLE                   LESSARD, KEITH LEE                       LESSARD, KRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LESSARD, NICOLE                      LESSEIG, MICHELLE                        LESSEIG, MICHELLE
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LESSEN, SHAINA                       LESSER, ANTHONY                          LESSER, RACHEL
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LESSER, TRACY                        LESSER-ROY, SKYLER                       LESSIG, TAYLOR
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LESSNER, KATHLEEN                    LESSONLY, INC                            LESTELLE, NICOLE
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LESTER H BEACHY                      LESTER R MELNICK                         LESTER, BETHANY
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LESTER, CAMERON                      LESTER, CHANELLE                         LESTER, CHARLEEN
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LESTER, DANIELLE                     LESTER, DWAN                             LESTER, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LESTER, ERICA         Case 22-11238-LSS
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                                                                           LESTER,  5495
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LESTER, LINDA                        LESTER, LORAINE                       LESTER, LYNETTE
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LESTER, MICHELLE                     LESTER, NEAL                          LESTER, SARETTA
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LESTER, TANNER                       LESTER, TREVOR                        LESTER, WENDY
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LESTERSON, CRAIG                     LESTINA, JESSICA                      LESTINSKY, DANIEL
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LESTRANGE, YASMIN                    LESUEUR, ANDREW                       LESUEUR, NIA
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LESZCZAK, KRISTINA                   LESZCZUK, MALGORZATA                  LESZCZYNSKI, PHIL
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LESZNIK, ILONA                       LETA KRIEGER                          LETAK, COLLEEN
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LETAMENDI, ADOLFO                    LETANG, CHRISTOPHER                   LETARTE, BRANDON
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LETCH, KAREN                         LETCHER, DAN                          LETCHWORTH, DANA
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LETELLIER, JEN        Case 22-11238-LSS     Doc
                                     LETELLIER,    2 Filed 11/30/22
                                                LINDSEY               Page 2867  of 5495
                                                                           LETENDRE, NICOLE
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LETHRIDGE, RICKY                     LETICA, ALLISON                        LETICHEVSKY, PENNY
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LETICIA CORRALES                     LETICIA TREVINO CRUMP                  LETIZIA, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LETIZIO, LAUREN                      LETKEMAN, AGATHA                       LETKEMAN, LENA
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LETKO, VALERIE                       LETNER, JESS                           LETO, LINDA
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LETO, TARYN                          LETOURNEAU, BRIANNA                    LETOURNEAU, PATTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LETSON, ADAM                         LETTER PRESS, LLC                      LETTER, MEGAN
ADDRESS AVAILABLE UPON REQUEST       3632 VIA DOLCE MARINA                  ADDRESS AVAILABLE UPON REQUEST
                                     DEL REY, CA 90292




LETTEREL, ANTHONY                    LETTERMAN, JENNIFER                    LETTIERE, BETHANY
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LETTIERI, WILLIAM                    LETTSOME, BRIANNA                      LETTSOME, ZWIRE
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LETZRING, KAREN                      LEUCK, KATIE                           LEUCK, KELLY
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LEUNG, ANGEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEUNG, EVAN                      Page 2868
                                                                           LEUNG,of 5495
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LEUNG, JANICE                        LEUNG, JESSICA                        LEUNG, MATHEW
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LEUNG, MICHELLE                      LEUNG, VALERIE                        LEUNG, VICKY
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LEUNG, WESLEY                        LEUNG, WILFRED                        LEUNG, YIM
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LEUPOLD, RACHEL                      LEUS, KASIA                           LEUTHAUSER, ALYSSA
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LEUTHAUSER, TERA                     LEUTHE, KIMBERLEE                     LEUTSCH, JOEL
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LEUZE, CLAUDIA                       LEUZINGER, JULIE                      LEUZZI, CAROLINE
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LEV, ANNE                            LEV, SAMANTHA                         LEVA, DANIELLE
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LEVA, KELSEY                         LEVAN, DANA                           LEVANDOWSKI, BECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVANG, KRIS                         LEVANGIE, KRISTI                      LEVANTI, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEVARDI, BELINDA      Case 22-11238-LSS    DocBRANDIE
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                                                                           LEVASSEUR, KERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEVATINO, SAMANTHA                   LEVATO, LAURA                          LEVAU, CASSIE
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LEVAY, MICHAEL                       LEVCHENKO, RUSLAN                      LEVEILLE, JULIE
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LEVELING, KERRI                      LEVELIUS, KAYLA                        LEVENBERRY, KAYLA
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LEVENGOOD, CINDY                     LEVENGOOD, KATIE                       LEVENSKY, KIMBERLY
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LEVENSON, ELIZABETH                  LEVENSON, NORMAN                       LEVENSTEIN, KENNY
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LEVENSTEIN, MIRANDA                  LEVENTHAL, ALISON                      LEVENTHAL, MEGAN
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LEVENTHAL, SHARI                     LEVENTIS, KATHERINE                    LEVEQUE, EMILIE
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LEVER, BEATRIX                       LEVER, MARISOL                         LEVERETTE, ALYSSA
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LEVERICH, EMILY                      LEVERICH, KELSIE                       LEVERIDGE, DEBBIE
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LEVERING, KASEY       Case 22-11238-LSS    DocDEANNA
                                     LEVERSON,  2 Filed 11/30/22      Page 2870  of LOGAN
                                                                           LEVESON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVESQUE, HALEY                      LEVESQUE, HEIDI                       LEVESQUE, JACQUELYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVESQUE, JULIEN                     LEVESQUE, NIKIA                       LEVETT, BASIL
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LEVEY, HANNAH                        LEVEY, LISA                           LEVI KENNETH-ALEXANDER STEWART
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LEVI STOCKTON                        LEVI VERNER                           LEVI, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVI, ELIZABETH                      LEVI, SHANNON                         LEVI, TOMIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVI, YARON                          LEVIE, DONN/JEANETTE                  LEVIEGE, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVIEGE, MARIELA                     LEVIN GROUP LTD                       LEVIN, ANDREW
ADDRESS AVAILABLE UPON REQUEST       1 FINSBURY AVENUE                     ADDRESS AVAILABLE UPON REQUEST
                                     LONDON EC2M 2PF
                                     UNITED KINGDOM




LEVIN, DANA                          LEVIN, DAVID                          LEVIN, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVIN, JESSICA                       LEVIN, KATE                           LEVIN, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEVIN, LAUREN         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LEVIN, LISA                      Page 2871   of 5495
                                                                           LEVIN, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVIN, MARISA                        LEVIN, MONICA                         LEVIN, MORAN
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LEVIN, SARAH                         LEVIN, TONI                           LEVINE, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINE, ANNA                         LEVINE, BROOKE                        LEVINE, CARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINE, CATHRYN                      LEVINE, CINDY                         LEVINE, DARREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINE, DEITRIA                      LEVINE, EMILY                         LEVINE, ERIN
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LEVINE, ILENE                        LEVINE, JACLYN                        LEVINE, JONNA
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LEVINE, JULIE                        LEVINE, KIM                           LEVINE, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINE, LISA                         LEVINE, MARK                          LEVINE, MAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINE, MICHAEL                      LEVINE, MOLLY                         LEVINE, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEVINE, PAMELA        Case 22-11238-LSS
                                     LEVINE, Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINE, SARAH                        LEVINE, SYLVIE                        LEVINE, TORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINE-PATTON, MAURA                 LEVINGS, JORDYN                       LEVINSOHN, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINSON, ADI                        LEVINSON, KARA                        LEVINSON, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVINSON, TESS                       LEVIS, SALOMON                        LEVISH, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVISTER, MYA                        LEVITAN, EMILY                        LEVITAN, MEAGAN
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LEVITAN, NICHOLAS                    LEVITAS, SIMON                        LEVITATS, AARON
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LEVITT, ERIN                         LEVITT, HANNAH                        LEVITZKI, MEAGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVKOVICH, KSUSHA                    LEVO, SHELAYNA                        LEVOIR, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVOTA, SARAH                        LEVY RESTAURANTS                      LEVY, ARIEL
ADDRESS AVAILABLE UPON REQUEST       1001 ROSE BOWL DRIVE                  ADDRESS AVAILABLE UPON REQUEST
                                     PASADENA, CA 91103
LEVY, ARIEL           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEVY, BENJAMIN                   Page 2873   of 5495
                                                                           LEVY, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVY, BRIDGITTE                      LEVY, COBI                            LEVY, DAILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVY, DAVID                          LEVY, DINA                            LEVY, ELIZABETH
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LEVY, ISABELLA                       LEVY, JANE                            LEVY, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVY, JENNIFER                       LEVY, JESSICA                         LEVY, JOSHUA
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LEVY, KEITH                          LEVY, KIMBERLY                        LEVY, KRISTEN
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LEVY, LAUREN                         LEVY, LISA                            LEVY, LISSA
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LEVY, MATTAR                         LEVY, MAX                             LEVY, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVY, MOLLY                          LEVY, NATASHA                         LEVY, RUSSELL
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LEVY, SARA                           LEVY, SARAH                           LEVY, SHAMBRAY
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LEVY, SHARON          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEVY, TAYLOR                     Page 2874   of 5495
                                                                           LEVY, VICTOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEVYN, SHIRLEY AND MURRY             LEW, CHRISTOPHER                      LEW, NICOLE
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LEW, SHARON                          LEWALLEN, MICHAEL                     LEWANDOWSKA, MAGDALENA
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LEWANDOWSKI, GARY                    LEWANDOWSKI, KRISTINA                 LEWANDOWSKI, SEAN
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LEWANDOWSKI, STEPHEN                 LEWANDOWSKI, SUSAN                    LEWANDOWSKI, TAMMY
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LEWBER, ALLY                         LEWCHALERMWONG, MESA                  LEWCHUK, MARIAH
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LEWELLEN, JANA                       LEWELLEN, SHELLY                      LEWELLYN, BEN
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LEWELLYN, KAYLEIGH                   LEWELS, FERNANDO                      LEWENSKY, VICTORIA
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LEWER, PENNY                         LEWI, ANAH                            LEWIA, JENNIFER
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LEWICKI, MARISSA                     LEWIN, ANDREA                         LEWIN, BENJAMIN
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LEWIN, JADE           Case 22-11238-LSS
                                     LEWINS,Doc
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                                                                           LEWINSON, CHENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEWINTER, KATIE                      LEWIS JR., ALVIN                      LEWIS LAMAR BARNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEWIS V, CARY                        LEWIS VAN, BONNY                      LEWIS, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEWIS, ALEX                          LEWIS, ALEXANDRA                      LEWIS, ALEXANDRIA
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LEWIS, ALISON                        LEWIS, ALIYA                          LEWIS, AMANDA
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LEWIS, AMANDA                        LEWIS, AMANDA                         LEWIS, AMANDA
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LEWIS, AMANDA                        LEWIS, AMANDA                         LEWIS, AMBER
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LEWIS, AMY                           LEWIS, AMY                            LEWIS, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LEWIS, ANGELA                        LEWIS, ANNA                           LEWIS, ANTHONY
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LEWIS, APRIL                         LEWIS, ARCHIE                         LEWIS, ARLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEWIS, ARLENE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEWIS, ARTHUR                    Page 2876
                                                                           LEWIS, of 5495
                                                                                  ASHLEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEWIS, ASHLEY                        LEWIS, BERNADETTE                      LEWIS, BOBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEWIS, BRAD                          LEWIS, BRIAN                           LEWIS, BRIDGET
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LEWIS, BRIDGET                       LEWIS, BRITTANY                        LEWIS, BRITTANY
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LEWIS, BRITTIN                       LEWIS, CASEY                           LEWIS, CECIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEWIS, CELESTE                       LEWIS, CHASE                           LEWIS, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEWIS, CHRIS                         LEWIS, CHRISTIN                        LEWIS, COLBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEWIS, COURTNEY                      LEWIS, DANA                            LEWIS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEWIS, DANIELLE                      LEWIS, DARLENE                         LEWIS, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LEWIS, DEANNA                        LEWIS, DEY                             LEWIS, DIDIER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LEWIS, ELIZABETH      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           LEWIS, of 5495
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LEWIS, ELLEN                         LEWIS, EMILY                           LEWIS, ERIC
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LEWIS, ERIC                          LEWIS, ERICA                           LEWIS, ERICA
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LEWIS, ERIK                          LEWIS, ERIK                            LEWIS, EUNICE
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LEWIS, GILLIAN                       LEWIS, GRACE                           LEWIS, HANNAH
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LEWIS, HANNAH                        LEWIS, HOLLY                           LEWIS, IAN
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LEWIS, IOANA                         LEWIS, JACOB                           LEWIS, JAMES
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LEWIS, JAMIE                         LEWIS, JAN                             LEWIS, JANET
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LEWIS, JESSICA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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LEWIS, JIM                           LEWIS, JOEL                           LEWIS, JORDAN
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LEWIS, JULIA                         LEWIS, JULIANNA                       LEWIS, JULIE
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LEWIS, JUSTIN                        LEWIS, KARIN                          LEWIS, KARISSA
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LEWIS, KATIE                         LEWIS, KATRINA                        LEWIS, KELLIE
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LEWIS, KEVIN                         LEWIS, KIM                            LEWIS, KIMBERLY
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LEWIS, KIRSTEN                       LEWIS, KRISTIE                        LEWIS, KRISTIN
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LEWIS, LENOIR                        LEWIS, LEONARD                        LEWIS, LEVI
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LEWIS, LINDA                         LEWIS, LINDA                          LEWIS, LINDA
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LEWIS, LINDSAY                       LEWIS, LISA                           LEWIS, LOREENA
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LEWIS, LYNN                          LEWIS, MADALYN                        LEWIS, MADDIE
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LEWIS, MADELEINE                     LEWIS, MALLORY                        LEWIS, MARIANE
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LEWIS, MARY ANNE                     LEWIS, MARY ELLEN                     LEWIS, MARY
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LEWIS, MARY                          LEWIS, MAX                            LEWIS, MEGAN
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LEWIS, MEGAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEWIS, MEGHAN                    Page 2880
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LEWIS, MELISSA                       LEWIS, MELLISA                        LEWIS, MICHAEL
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LEWIS, MICHELLE                      LEWIS, MONIQUE                        LEWIS, NEIL
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LEWIS, PAULA                         LEWIS, PAULA                          LEWIS, RACHAEL
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LEWIS, RACHEL                        LEWIS, RACHEL                         LEWIS, REBECCA
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LEWIS, RICHARD                       LEWIS, RICHARD                        LEWIS, RICHARD
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LEWIS, ROBERT                        LEWIS, ROBIN                          LEWIS, ROSEMARIE
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LEWIS, RUTH                          LEWIS, RYAN                           LEWIS, SALLY
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LEWIS, SAMANTHA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEWIS, SAVANNAH                  Page 2881
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LEWIS, SERENA                        LEWIS, SHAUNA-LEE                     LEWIS, SIMONE
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LEWIS, SIMONE                        LEWIS, SKYE                           LEWIS, SOPHIA
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LEWIS, SPENCER                       LEWIS, STACEY                         LEWIS, STACEY
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LEWIS, STACY                         LEWIS, STACY                          LEWIS, STEPHANIE
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LEWIS, STEPHANIE                     LEWIS, SUSAN                          LEWIS, SUSAN
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LEWIS, TAMARA                        LEWIS, TANESHA                        LEWIS, TAYLOR
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LEWIS, TAYLOR                        LEWIS, TERESA                         LEWIS, TESS
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LEWIS, THANUJI                       LEWIS, THOMAS                         LEWIS, TIA
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LEWIS, TIMOTHY                       LEWIS, TRACI                          LEWIS, TRISTAN
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LEWIS, TYWANA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LEWIS, VICTORIA                  Page 2882
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LEWIS, ZACHARY                       LEWIS-FAIRLEY, GIANA                  LEWISH, GREGORY
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LEWISON C/O LIPTON, EMMA             LEWIS-PETERSON, SHERRY                LEWIS-SHIRLEY, IMANI
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LEWIS-WHITE, CAROL                   LEWKOW, MARGARET                      LEWNO, DREW
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LEWTER, MARIYA                       LEWY, JACKI                           LEXI BENSON APPLETON
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LEXI GRISSMAN                        LEXISNEXIS                            LEY, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       313 WASHINGTON ST. SUITE 400          ADDRESS AVAILABLE UPON REQUEST
                                     NEWTON, MA 02458




LEY, GIA                             LEY, JACQUELYN                        LEY, LINDSAY
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LEY, RYAN                            LEY, TARYN                            LEYBA, SAMANTHA
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LEYBZON, DANIEL                      LEY-CASTANEDA, ELSA                   LEYDEN, CASSIE
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LEYDEN, KELLY                        LEYENDECKER, DOUGLAS                  LEYGRAFF, JOLENE
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LEYH, ALLISON         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           LEYLA DORSEY,
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LEYMAN, OLGA                         LEYNES, VIRGILIO                      LEYRER, GREYSON
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LEYRER, JENNIFER                     LEYRER, TAMARA                        LEYS, JENNIFER
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LEYSATH, HANNAH                      LEYVA, ADRIAN                         LEYVA, ALICIA
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LEYVA, BRITTANY                      LEYVA, CAROLINA                       LEYVA, CLAUDIA
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LEYVA, MIREYA                        LEYVA, STEFFI                         LEYVA, STEFFI
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LI A PING, SONIA                     LI LI                                 LI ZHU
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LI, ADA                              LI, ANDREW                            LI, ANGEL
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LI, ANGELA                           LI, ANNA                              LI, CARONE
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LI, DORIS                            LI, DOROTHY                            LI, HAIFENG
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LI, HANGHANG                         LI, HAO-HSIANG                         LI, JAMES
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LI, JENNIFER                         LI, JESSICA                            LI, JESSIE
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LI, KANG                             LI, KARA                               LI, KAREN
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LI, KAREN                            LI, KAREN                              LI, KARINA
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LI, KENRIC                           LI, LAINA                              LI, LU
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LI, MARTINA                          LI, MICHELLE                           LI, MOLLY
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LI, RAN                              LI, RANDY                              LI, RUGE
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LI, RUONAN                           LI, RUOTING                            LI, SAM
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LI, SARAH             Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LI, SONNY                        Page 2885   of 5495
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LI, SSA                              LI, TINGYU                            LI, WEIJIA
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LI, WENJIN                           LI, WUQING                            LI, XIAOMING
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LI, YAO                              LI, YING                              LI, YIXIN
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LI, YIYA                             LI, ZEXIN                             LI, ZHONGHENG
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LIA, NANCY                           LIACOURAS, SANDRA                     LIAKOPOULOS, STEPHANIE
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LIAM DOLPHIN                         LIAN WALKER                           LIANDO-MAGES, HILDA
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LIANG, LILY                          LIANG, MABEL                          LIANG, PEILIU
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LIANG, TZU-CHI                       LIANOS, KIMBERLY                      LIANTONIO, AMY
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LIANTONIO, FRANK                     LIAO, JOINA                           LIAO, NANCY
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LIAO, WINNIE A.       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LIAO, YEN-HAO                    Page 2886
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIAUTAUD, MADALYN                    LIAW, NICOLE                           LIBAL, MELISSA
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LIBBRECHT, FLORIANE                  LIBBY, ALLIE                           LIBBY, ANGIE
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LIBBY, CAROLINE                      LIBBY, DONALD                          LIBBY, JOHN
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LIBBY, JONATHAN                      LIBBY, JOY                             LIBBY, ROBIN
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LIBEG, ASHLEY                        LIBERATI, BRITTANY                     LIBERATO MARTUCCI DIAZ
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LIBERATO, JISBELLE                   LIBERATO, SUYEYS                       LIBERATORE, ANN MARIE
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LIBERATORE, REBEKAH                  LIBERATORE, SARAH                      LIBERGE, ANN
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LIBERI, TESSA                        LIBERTAD SOUL, LLC                     LIBERTI, LYNDSEY
ADDRESS AVAILABLE UPON REQUEST       1732 AVIATION BLVD, 323                ADDRESS AVAILABLE UPON REQUEST
                                     REDONDO BEACH, CA 90278




LIBERTY DIGITAL GROUP EOOD           LIBERTY SUTHERLAND                     LIBERTY, DAVID
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LIBONATE, BERNADETTE                 LIBOR JAKUBEC                         LIBORIO, SARA
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LIBRIE, MIKE                         LIBRIZZI, GAIL                        LIBRIZZI, JUDE
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LIBS, CHRISTINA                      LICALSI, CATHERINE                    LICARI, DANIEL
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LICATA, MEREDITH                     LICATE, ANTHONY                       LICAUSI, KAREN
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LICAUSI, YANITZIE                    LICAY, KELVIN                         LICCIARDELLO, STEPHANIE
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LICCIARDI, NICOLE                    LICCIARDI, RACHEL                     LICCION, KATIE
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LICHLITER, ANDREW                    LICHTBLAU, DANIEL                     LICHTEN, LAUREN
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LICHTENBERG, DANIEL                  LICHTENBERGER, COURTNEY               LICHTENBERGER, JEAN
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LICHTENHELD, CHARLOTTE               LICHTENSTEIN, CHIRSAN                 LICHTENSTEIN, ERIN
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LICHTENSTERN, MARIAH                  LICHTER, CASEY                         LICHTI, ROBIN
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LICHTY, DANIELLE                      LICITRA, NICOLE                        LICK, ALLISON
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LICKNESS, JACQUELYN                   LICON, AURELIO                         LICOPOLI, ALYSSANDRA
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LICORISH, AMANDA                      LICUP, ROSE                            LIDDELL, JEAN
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LIDDICOAT, BREANNA                    LIDDY, KELSEY                          LIDDY, MAUREEN
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LIDDY, TAJAH                          LIDGETT, DELANI                        LIDINSKY, SHELBY
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LIDON, SIOBHAN                        LIDONNI, MARIA                         LIDSTONE, DANIELLE
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LIDSTROM, JENNIFER                    LIDZKI, GUSTAVO                        LIE, HERLINA
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LIEB, BONNIE                          LIEB, DELLA                            LIEB, JESSICA
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LIEB, RACHEL          Case 22-11238-LSS
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LIEBENOW, SHERRIE                    LIEBERMAN, CARLY                       LIEBERMAN, CHEYNE
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LIEBERMAN, COURTNEY                  LIEBERMAN, JESSICA                     LIEBERMAN, JULIANNE
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LIEBERMAN, MADISON                   LIEBERT, KATHRYN                       LIEBERT, PATRICIA
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LIEBESKIND, ERIC                     LIEBGOTT, MATT                         LIEBIG, LISA
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LIEBING, RICHARD                     LIEBL, JESSE                           LIEBLER, MICHELLE
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LIEBLER, WILLIAM                     LIEBLICH, MCKENNA                      LIEBLICH, SIERRA
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LIEBLING, JESSE                      LIEBMAN, JOSHUA                        LIEBMAN, RYAN
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LIECHTY, AMANDA                      LIECHTY, JON                           LIECHTY, PETER
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LIEDBERG, HAILEY                     LIEDEL, VICKI                          LIEDERBACH, SARAH
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LIEDY, GABI           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LIEDY, LORI                      Page 2890   of 5495
                                                                           LIEHE, KAYLA
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LIEHR, ABBIE                         LIEHR, JENNY                          LIEN, DEVIN & SHONNA
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LIEN, JEAN                           LIEN, LEAH                            LIENDO, PATRICIA
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LIENEMANN, SYDNEY                    LIENERT, MICHAEL                      LIENHOP, MEGAN
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LIEPKE, LORRAINE                     LIERAS, SARAH                         LIERLEY, MEGAN
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LIERZ, LAUREN                        LIES, JILL                            LIES, TAMARA
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LIESCH, BLYTHE                       LIESE, SHARON                         LIESL SONGER
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LIESL WENDT                          LIESS, MANDIE                         LIETH, KEM
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LIETKA, LACIE                        LIETZ, MEAGAN                         LIETZ, SARAH
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LIETZKE, NICOLE                      LIEUW-KIE-SONG, SOPHIA                LIEW, KEVIN
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                                     LIEWER,Doc 2 Filed 11/30/22
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                                                                                   GARCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIFE BY MEDIA, INC.                  LIFE, NEW YORK                         LIFESTYLE BOOKKEEPING LLC
10616 LORD DERBY DRIVE               ADDRESS AVAILABLE UPON REQUEST         5191 W SHADY PARK LANE
AUSTIN, TX 78748                                                            HERRIMAN, UT 84096




LIFFRIG, CARLIE                      LIFKA, SARA                            LIFT, DAVEED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGGETT, ALEXANDRA                   LIGGETT, BILL                          LIGGETT, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGGETT, SIERRA                      LIGGIN, AJAH                           LIGGINS, JUDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGGINS, JULIE                       LIGGS, JEFFREY                         LIGHITHILL, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGHT, ALYSSA                        LIGHT, DAVID                           LIGHT, ELIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGHT, HOLLI                         LIGHT, KATHERINE                       LIGHT, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGHT, MARIA                         LIGHT, MEGAN                           LIGHT, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGHT, STEPHEN                       LIGHTBODY, SARAH                       LIGHTBOURN, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LIGHTBOURN, CORTNEY   Case 22-11238-LSS     DocJESSICA
                                     LIGHTBURN, 2 Filed 11/30/22      Page 2892  of 5495
                                                                           LIGHTBURN, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGHTCAP, CARA                       LIGHTCAP, CHELSEA                      LIGHTENING LABELS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




LIGHTFOOT, ASHLEY                    LIGHTFOOT, BRITTANY                    LIGHTFOOT, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGHTFOOT, TOM                       LIGHTHIZER, MELISSA                    LIGHTLE, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGHTNER, KATIE                      LIGHTNER, TINA                         LIGHTSPEED LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         3333 WARRENVILLE ROAD, SUITE 400
                                                                            LISLE, IL 60532




LIGON, JAMES                         LIGON, KELSEY                          LIGON, SAVANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGON, SHEA                          LIGON, TROY                            LIGUORI, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIGUORI, HEATHER                     LIGUORI, TRACY                         LIHOLIHA YACHT CLUB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




LIHONG CHEN                          LIHS, AMBER                            LII, CLARICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIIMATTA, PAUL                       LIKE, VIKKI                            LIKELY, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         790 EARLHAM STREET, APT 2
                                                                            PASADENA, CA 91101
LIKENS, ANDREW        Case 22-11238-LSS
                                     LIKENS, Doc 2 Filed 11/30/22
                                             LYNNANNE                 Page 2893  of 5495
                                                                           LIKHACHEVA, KATIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIKOS, KELLY                         LILES, AUBRE                           LILES, BETHANY
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LILES, EILEEN                        LILES, KATHLEEN                        LILES, KIM
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LILES, LINDA                         LILES, MEGAN                           LILES, NIKOLE
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LILES, ROBERT                        LILEY-WHITE, JESS B.                   LILIA DIAZ DE LEWIS
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LILIA KRASNOPOLSKAJA                 LILIAN LEAL                            LILIAN ONWUKA
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LILJA, PAMELA                        LILL, KATHRYN                          LILLASH, LINDA
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LILLBACK, EMILY                      LILLER, KRISTEN                        LILLEY, KATE
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LILLEY, MILISSA                      LILLEY, SHANA                          LILLIAN NOON
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LILLIAN VICTORIA RAFF                LILLIAN, JUDGE,                        LILLIE REYNOLDS, LILLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LILLIE, ERIKA         Case 22-11238-LSS       Doc 2 Filed 11/30/22
                                     LILLIG, NATHAN                     Page 2894    of 5495
                                                                             LILLIS, JOYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LILLIS, LYNDSI                       LILLO-MARTIN, DIANE                      LILLQUIST, ALLISON
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LILLQUIST, REBECCA                   LILLY SIMON                              LILLY, ADRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LILLY, ALLEGRA                       LILLY, ANNABELLE                         LILLY, BONNIE
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LILLY, CLAIRE                        LILLY, DANELLE                           LILLY, JENNY
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LILLY, MARIE                         LILLY, MONICA                            LILLY, SAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LILLY, SHANNON                       LILU, DEBBIE                             LILUASHVILI, ETERI
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LILY JI                              LILY LAWN-TSAO                           LILY MCCULLOUGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LILY PADULA                          LIM RUGER & KIM, LLP                     LIM, ALLIE
ADDRESS AVAILABLE UPON REQUEST       1055 WEST SEVENTH STREET, SUITE 2800     ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90017




LIM, AMY                             LIM, ANGELA                              LIM, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LIM, BRIAN            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LIM, CALVIN                      Page 2895   of 5495
                                                                           LIM, COREY
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LIM, CZARINA                         LIM, ENG-BENG                         LIM, IAN
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LIM, IESHIA                          LIM, JENNIFER                         LIM, JONATHAN
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LIM, JONG                            LIM, KAITLYNN                         LIM, KATHERINE
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LIM, MELISSA                         LIM, RICHARD                          LIM, SANDY
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LIM, SARA                            LIM, VAL                              LIM, YURA
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LIMA, ANDRE                          LIMA, CESAR                           LIMA, CLAUDIA
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LIMA, CYNTHIA                        LIMA, JANNAY                          LIMA, JORGE
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LIMA, KATHERINE                      LIMA, LUCIANA                         LIMA, MACKENZIE
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LIMA, RAUL                           LIMA, SILVIANE                        LIMA, SILVIANE
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LIMA, VITORIA         Case 22-11238-LSS
                                     LIMAGE,Doc 2 Filed 11/30/22
                                            KERVANCIA                 Page 2896
                                                                           LIMAGE,of 5495
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LIMA-SILVA, BEATRIZ                  LIMB, RACHEL                          LIMBACH, MAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIMBURG, CHRISTY                     LIMERI, DANIELLE                      LIMERICK, JASON
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LIMESTONE COAST WINES/ LCW CORP      LIMING, HALEY                         LIMLE, KATIE
7089 RIDDICH HIGHWAY                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PADTHAWAY SOUTH AUSTRALIA 5271 PMB
290
NARACOORTE 05271
AUSTRALIA

LIMON, BLANCA                        LIMON, EVELYNE                        LIMON, ROBBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIMONEZ, YESENIA                     LIMONGELLO, DENISE                    LIMONTA, JIANNAKA
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LIMONTE, KELVIN                      LIMOX, STEVEN                         LIMPERT, JULIE
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LIMPIC, ISSABELLE                    LIMUACO, ALEXIS                       LIN B HEATH
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LIN, ALICE                           LIN, BRIAN                            LIN, BRUCE
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LIN, CHI EN                          LIN, CHRISTINE                        LIN, DA
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LIN, DIANA            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LIN, EMILY                       Page 2897   of 5495
                                                                           LIN, EUNICE
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LIN, FU                              LIN, JACK                             LIN, JANE
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LIN, JASMINE                         LIN, JULIENNE                         LIN, KELSEY
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LIN, KOCHING                         LIN, LAWRENCE                         LIN, LI-JAY
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LIN, LILLIAN                         LIN, MARY                             LIN, MIAO
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LIN, NINA                            LIN, PIN                              LIN, QIAN
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LIN, QIAN                            LIN, RACHEL                           LIN, RHODA
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LIN, ROBYN                           LIN, SEREY                            LIN, SHARON
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LIN, SHAY                            LIN, SHENG                            LIN, SHUAN-YIH
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LIN, STEPHANIE                       LIN, TIM                              LIN, VINCENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LIN, WAYNE            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LIN, YANGWEI                          Page 2898   of 5495
                                                                                LIN, YEN
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LIN, YI-CHEN                            LIN, YINGZI                             LINAKER, COURTNEY
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LINAM, LEANN                            LINANE, VALERIE                         LINARES, DENISSE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LINARES, MERYYEIN                       LINBERG, BAO-VAN                        LINCENBERG, GRACE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LINCENBERG, JAMIE                       LINCICUM, MITZI                         LINCKS, DIANE
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LINCOLN BEVERAGE & FINE WINES           LINCOLN TAP HOUSE                       LINCOLN, ASHLEY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




LINCOLN, JEREMY                         LINCOLN, MELISSA                        LINCOLN, RANN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LINCOLN, WILL                           LINCOLN, ZOE                            LIND, ALISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LIND, BRADLEY                           LIND, CLAIRE                            LIND, COURTNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LIND, COURTNEY                          LIND, GAYLE                             LIND, JOAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LIND, KELLIE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LIND, KRISTY                     Page 2899   of 5495
                                                                           LIND, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIND, RACHEL                         LIND, SIERRA                          LIND, TERRIE
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LINDA ADAMS                          LINDA ADAMS                           LINDA ANGELES
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LINDA ANN MONACO                     LINDA BONDELLIO                       LINDA BURBAGE
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LINDA FUENTES                        LINDA G WILEY                         LINDA HAWARD
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LINDA KAY FOUST                      LINDA KOZLOWSKI                       LINDA LANNEN
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LINDA POOLE MAGGARD                  LINDA SAMPSON                         LINDA TUFTS
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LINDA WALKER                         LINDA WU                              LINDA, CASHMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDA, STRICKER                      LINDAMAN, HANNAH                      LINDAMOOD, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDAUER, CATHLEEN                   LINDAUER, VALERIE                     LINDAWSON, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LINDBERG NILSSON, ROBINCase 22-11238-LSS     Doc
                                      LINDBERG,   2 Filed 11/30/22
                                                CLAESINE               Page 2900  of 5495
                                                                            LINDBERG, COLLEEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LINDBERG, ELIZABETH                   LINDBERG, EMMA                         LINDBERG, GWENDALYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LINDBLOM, ERIC                        LINDBLOM, KELSEY                       LINDBLOM, KRISTIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LINDBLOOM, ROBIN                      LINDBLOOM, SUZANNE                     LINDE JENSON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LINDE, ERIN                           LINDEEN, KRISTIN                       LINDELL, MARY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LINDEMAN, BRITTANY                    LINDEMAN, CAROL                        LINDEMAN, CHEYENNE
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LINDEMAN, JAN                         LINDEMAN, LEILA                        LINDEMAN, RYAN
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LINDEMAN, RYAN                        LINDEMAN, STACEY                       LINDEMAN, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LINDEMANN, KAETLYN                    LINDEMANN, KASEY                       LINDEMANN, KRISTEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LINDEMUTH BOBBI                       LINDEN RIDGE VINEYARDS, LLC            LINDEN, ALLISON
ADDRESS AVAILABLE UPON REQUEST        20204 ATKINS ROAD                      ADDRESS AVAILABLE UPON REQUEST
                                      LODI, CA 95240
LINDEN, BOB           Case 22-11238-LSS
                                     LINDEN, Doc 2 Filed 11/30/22
                                             CAROLINE                 Page 2901
                                                                           LINDEN,of 5495
                                                                                   CHINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDEN, GILLIAN                      LINDEN, KATE                          LINDEN, KAYLA
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LINDEN, MELISSA                      LINDEN, NATALIE                       LINDEN, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDEN, SARAH                        LINDEN-CHESSER, KAYLYNNE              LINDENMAN, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDENMUTH, WES                      LINDER, ISAAC                         LINDER, JORDAN
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LINDER, KELLY                        LINDER, KELSEY                        LINDER, PATRICIA
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LINDER, RACHEL                       LINDEROTH, CHELSEA                    LINDGREN, CARLY
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LINDGREN, CASONDRA                   LINDGREN, CONNER                      LINDGREN, JASON
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LINDGREN, JOSH                       LINDGREN, KELLY                       LINDH, ANNABEL
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LINDHOLM, GENA                       LINDHOLM, JAN                         LINDHOLM, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LINDHOLM, SARA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LINDIE LANDINGHAM                Page 2902  ofRICHARD
                                                                           LINDLEY, 5495
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LINDMARK, TORI                       LINDNER, ABIGAIL                      LINDNER, BRENDA
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LINDNER, KATHERINE                   LINDNER, MARCUS                       LINDNER, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDNER, MELISSA                     LINDO, CIELITO                        LINDO, KIMBERLY
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LINDO, PATRICE                       LINDOR, ALYSON                        LINDOR, KATY
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LINDORF, JAMES                       LINDQUIST, ANDERS                     LINDQUIST, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDQUIST, KIMBERLY                  LINDQUIST, KRISTIN                    LINDQUIST, LISE
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LINDQUIST, NICOLE                    LINDQUIST, PETER                      LINDQUIST, RICHARD
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LINDSAY ALYSE WRIGHT                 LINDSAY ANTHONY                       LINDSAY ATTANASIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSAY BOLLINGER                    LINDSAY CREAMER ROBJENT               LINDSAY CRESPY
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LINDSAY DAVIS         Case 22-11238-LSS
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LINDSAY JIGGETTS                     LINDSAY LAYNE                         LINDSAY LITTLE
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LINDSAY MEYER                        LINDSAY ROBBINS                       LINDSAY ROBINSON
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LINDSAY WEBSTER                      LINDSAY WIECZOREK                     LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSAY, CAROL                       LINDSAY, ELEANOR                      LINDSAY, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSAY, GREG                        LINDSAY, JENNIFER                     LINDSAY, JORDAN
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LINDSAY, JORDAN                      LINDSAY, JOY                          LINDSAY, KRISTEN
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LINDSAY, LAUREN                      LINDSAY, LESLIE ANN                   LINDSAY, LOUIE
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LINDSAY, MATTIE                      LINDSAY, MESHECKIA                    LINDSAY, SEAN
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LINDSAY, SHANNON                     LINDSAY, SHANNON                      LINDSAY, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LINDSAY, SUSAN        Case 22-11238-LSS     Doc
                                     LINDSAY,     2 Filed 11/30/22
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                                                                           LINDSELL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY ANDERSEN                     LINDSEY ANNE DAL PORTO                LINDSEY BETH KNOWLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY CADLE                        LINDSEY DUGGAN                        LINDSEY EMERSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY HAUGER                       LINDSEY KNOWLES                       LINDSEY KNOWLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY OLEARY                       LINDSEY PAINE                         LINDSEY PIHLGREN
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LINDSEY REICH                        LINDSEY RICKMAN                       LINDSEY THOMAS
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LINDSEY                              LINDSEY, AMANDA                       LINDSEY, ANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY, BRANDON                     LINDSEY, CLOVIS                       LINDSEY, CLOVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY, DAVID                       LINDSEY, ELIZABETH                    LINDSEY, EVANIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY, JAMIE                       LINDSEY, JERRY                        LINDSEY, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LINDSEY, KELSEY       Case 22-11238-LSS     Doc
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                                                                           LINDSEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY, RACHEL                      LINDSEY, REBEKAH                      LINDSEY, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY, ROB                         LINDSEY, RODRIGUEZ,                   LINDSEY, RONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY, SHAWN                       LINDSEY, SHERRI                       LINDSEY, SMITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY, STEVE                       LINDSEY, TERRY                        LINDSEY, TYRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSEY, WILLIAM                     LINDSEY-SABORY, OLIVIA                LINDSKAR, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSLEY, NATALIE                    LINDSLEY, SHANNON                     LINDSLEY, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSTADT, RYAN                      LINDSTROM, JULIE                      LINDSTROM, PETRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDSTROM, SARAH                     LINDSTROM, STACEY                     LINDSTROM, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINDVALL, DANELLE                    LINDVALL, KRISTIN                     LINDVALL, TYLER
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LINDWALL, HILLARY     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LINDY DUFFNEY                       Page 2906   of 5495
                                                                              LINE, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LINE, KAITLIN                           LINEAWEAVER, KAREN                    LINEBACK, KATHRYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINEBARGER, TARA                        LINEBERGER, JILLIAN                   LINEBERRY, JACKI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINEGAR FINK, ASHLEY                    LINEHAN, JESSICA                      LINEHAN, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINEMAN, MICHAEL                        LINEN, JASMINE                        LINENBERGER, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINER, MARTHA                           LINER, PAUL                           LINES, ASHLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINETO                                  LINETTE, DANA                         LINFORTH, CARLEY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LING, ANNA                              LING, SUSANNA                         LING, YI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LING, YUHANG                            LINGAYO, TYRONE                       LING-EFIRD, DEVON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINGELBACH, CODY                        LINGENFELTER, JAMIE                   LINGENFELTER, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LINGER, LINDSEY       Case 22-11238-LSS     Doc 2JENNIFER
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                                                                                   RANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINGLE, TAYLOR                       LINGMAN, DAVID                        LINGO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




LINGO, FRANK                         LINGO, MADISON                        LINGO, TANYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINGREN, HALI                        LINGTAO XIE                           LINH, MAI
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LINHART, JEFFREY                     LINHORST, MOLLY                       LINI, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LININGER, ALIEHSA                    LININGER, JONATHAN                    LINITZ, ERIN
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LINK, ALEXUIS                        LINK, ALLYSON                         LINK, CARL
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LINK, CHARLOTTE                      LINK, CODY                            LINK, DENISE
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LINK, DREMA                          LINK, EMILY                           LINK, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINK, ERIC                           LINK, HANNAH                          LINK, HARRISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LINK, JAY             Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LINK, JEANI                      Page 2908   of 5495
                                                                           LINK, KARIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINK, KARIN                          LINK, MICHAEL                         LINK, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINKCONNECTOR CORPORATION            LINKE, JOLENE                         LINKE, LEAH
6501 WESTON PARKWAY SUITE 330        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CARY, NC 27513




LINKEDIN CORPORATION                 LINKER, STEPHANIE                     LINKIMER, LORI
62228 COLLECTIONS CENTER DRIVE       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60693-0622




LINKOUS, SCHUYLER                    LINKOUS, SHERRYL                      LINKOWSKI, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINKS, CELINE                        LINKSHARE CORP                        LINKSTON, JIMMIE
ADDRESS AVAILABLE UPON REQUEST       PO BOX 415613                         ADDRESS AVAILABLE UPON REQUEST
                                     BOSTON, MA 02241-5613




LINLEY, ERIKA                        LINN, ALLISON                         LINN, ANGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINN, ASHLEE                         LINN, BREANNA                         LINN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINN, HALEIGH                        LINN, JAMES                           LINN, JENNIFER
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LINN, MACKENZIE                      LINN, NICOLE                          LINN, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LINN, TODD            Case 22-11238-LSS     DocERIKA
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                                                                           LINNANE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINNANE, KELLY                       LINNE, CLAIRE                         LINNEA, JUDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINNEHAN, ANA                        LINNELL, JACQUELINE                   LINNELL, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINNEMEIER, ALEXIS                   LINNENKOHL, JASON                     LINNEY OFENSTEIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINO, WAHIMA                         LINQPAD                               LINS, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       26A LAWLEY ST WA                      ADDRESS AVAILABLE UPON REQUEST




LINSCHEID, NICOLE                    LINSCOTT, LEAH                        LINSE, SOFIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINSLEY, CAROLYN                     LINSS, SHANNON                        LINSTER, CAMRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LINTHICUM, SAVANNAH                  LINTNER, BENJAMIN                     LINTNER, DEREK
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LINTON, AMANDA                       LINTON, CLAIRE                        LINTON, CRAIG
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LINTON, EVELYN                       LINTON, HILLARY                       LINTON, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LINTVEDT-DULAC, ANE   Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LINTZ, SHYLA                        Page 2910   ofHANNAH
                                                                              LINVILLE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LINVILLE, HUNTER                        LINVILLE, JENNY                        LINVILLE, KATRINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LINVILLE-ABDO, ELENA                    LINWOOD, OTTO                          LINZENBERG, LORRAINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIO, DANIEL                             LIOE, MICHELLE                         LION MOBILE, LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         PO BOX 270081
                                                                               AUSTIN, TX 78727




LION SECURITY LOCKSMITH                 LION, BRIANA                           LION, MORGAN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LION, STACEY                            LIONESS, KHLOE                         LIONETTA, ANGELINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIONETTA, FRANCESCA                     LIOTINE, ANNE                          LIOTTA, DENNIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPA, AIMEE SIERRA                      LIPA, CINDY                            LIPAN, ARIELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPANOVICH-RADICH, LORI                 LIPARI, LORI                           LIPARI, TARYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPATOV, OLGA                           LIPE, CONNIE                           LIPENSKI, SHAWN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LIPETZKY, JAMES       Case 22-11238-LSS     Doc
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                                                                           LIPINSKI, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPINSKI, EMMA                       LIPINSKI, GABRIELLE                    LIPINSKI, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPINSKI, ROBIN                      LIPITZ, JEN                            LIPIYEV, LILIYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPKE, BONNIE                        LIPKE, JANELLE                         LIPKE, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPKINS SCOTT, ASHLEY                LIPMAN BROTHERS, LLC                   LIPMAN, ABBY
ADDRESS AVAILABLE UPON REQUEST       2815 BRICK CHURCH PIKE                 ADDRESS AVAILABLE UPON REQUEST
                                     NASHVILLE, TN 37207




LIPMAN, MARGARET                     LIPMAN, WILLIAM                        LIPNICK, JULIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPNICKY, CAMILLE                    LIPOF, CAROL                           LIPPEL, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPPENCOTT, JENNIFER                 LIPPER, CATHERINE                      LIPPERT, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPPERT, JULIE                       LIPPERT, LOGAN                         LIPPERT, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIPPINCOTT, ANGELIA                  LIPPINCOTT, DANIELLE                   LIPPINCOTT, JEANINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LIPPMAN, JOHN         Case 22-11238-LSS     Doc
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                                                                           LIPPMAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIPPMAN, SARAH                       LIPPMAN, STACY                        LIPPOLD, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIPPS, TERRI                         LIPS, MARY                            LIPSCHULTZ, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIPSCHUTZ, HANNAH                    LIPSCOMB, JESSIE                      LIPSCOMB, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIPSCOMB, TIFFANY                    LIPSCOMB, VIC                         LIPSHULTZ, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIPSKY LOWE LLP                      LIPSKY, DALE                          LIPSKY, HAYLEY
420 LEXINGTON AVE. SUITE 1830        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10170




LIPSKY, LEAH                         LIPSON, BARRY                         LIPSON, FRAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIPSON, JORDAN                       LIPSON, KEVIN                         LIPTAK, HUMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIPTAK, JAMIE                        LIPTAK, JOE                           LIPTAK, NADJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIPTAK, NIKKI                        LIPTAK, SUSAN                         LIPTON, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LIPTON, MIRANDA       Case 22-11238-LSS     Doc
                                     LIPTROTT,    2 Filed 11/30/22
                                               KIMBERLY                    Page 2913   of 5495
                                                                                LIPUS, ORQUIDANIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




LIQUID TRADE SOLUTIONS                  LIQUOR BAR                               LIQUOR COMMISSION CITY AND COUNTY OF
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    HONOLULU
                                                                                 HONOLULU LIQUOR COMMISSION PACIFIC
                                                                                 PARK PLAZA 711 KAPIOLANI BLVD, SUITE 600
                                                                                 HONOLULU, HAWAII 96813



LIQUOR LICENSING & INSPECTION - BWSC    LIQUOR MART INC.                         LIRA, DIXIE
ADDRESS UNAVAILABLE AT TIME OF FILING   1750 15TH STREET                         ADDRESS AVAILABLE UPON REQUEST
                                        BOULDER, CO 80302




LIRA, JEANETTE                          LIRA, MARCIO                             LIRA, VALERIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LIRIANO, LAURIE                         LIRIANO, STEPHANIE                       LIS, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LIS, LAVERNE                            LIS, REBECCA                             LISA ALTEPETER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LISA ARNSDORFF                          LISA BREDESEN                            LISA CALLAHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LISA CARLSON                            LISA CASSIDY                             LISA COFFEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LISA DOYLE                              LISA DREISSIG                            LISA ELAINE GLASSCOCK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LISA GANSKY                             LISA GORGONE                             LISA HEMKER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LISA HLINKA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LISA HOLMES                      Page 2914   of 5495
                                                                           LISA HOPKINS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA HSIEH                           LISA JANE MYERS                       LISA JO WINANS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA JOHNSON                         LISA JOYCE RISING ORTIZ               LISA JUREK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA KAREN DOYLE                     LISA LANCEY                           LISA LUCIA GONIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA LUTTHANS                        LISA MARBURY                          LISA MARTIN, SHORE PUBLISHING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA NAIME                           LISA NEUMAN                           LISA PETERSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA SALVATOR                        LISA SAWYER                           LISA SULLIVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA TAYLOR                          LISA TEAGUE                           LISA WISELY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA WREN                            LISA WU                               LISA, ANDERSON,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISA, FELTRINELLI                    LISA, MICHELLE                        LISACK, ROSEMARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LISANTE, JENNIFER     Case 22-11238-LSS
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                                                                           LISCHKA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISCHWE, MARLENE                     LISH, DEON                            LISHON, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISICK, BRITTANY                     LISIN, NATASHA                        LISINSKI, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISITSA, ALEXANDER                   LISKA, ANNA                           LISKA, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISKA, DANIELLE                      LISKER, JASMINE                       LISKEY, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISLE, SABRA                         LISLE, SARAH                          LISMAR GODOY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISMORE, MADDIE                      LISOTTO, LINDSEY                      LISOWSKI, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISS, MICHAEL                        LISSNER, CONNIE                       LISSOLO, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LISSOR, RACHEL                       LIST, DAWSON                          LIST, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LIST, EMILY                          LIST, MICHELLE                        LIST, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LIST, SUZIE           Case 22-11238-LSS     DocBARBARA
                                     LISTENFELT, 2 Filed 11/30/22     Page 2916   of 5495
                                                                           LISTENING METHODS, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         5045 PARADISE DRIVE
                                                                            TIBURON, CA 94920




LISTER, A                            LISTER, ASHLEY                         LISTER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LISTER, TARA                         LISTERMAN, KRISTEN                     LISTI, SUZY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LISTON, CAITLIN                      LISTON, ENJOLI                         LISTOUSKAYA, ANASTASIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LISTWAK, STEPHANIE                   LISTWAN, KATRINA                       LIT, NOAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITCHER, BARBARA                     LITCHFIELD, RODGER                     LITCHFIELD, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITCHKO, MADELYN                     LITE, CHRIS                            LITERARY HUB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         154 WEST 14TH STREET, 12TH FLOOR
                                                                            NEW YORK, NY 10011




LITERATE, DENISE                     LITES, JIM                             LITEWKA, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITHERLAND, DANIELLE                 LITHERLAND, QUINN                      LITHOGRAPHIX INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         12250 S. CRENSHAW BLVD.
                                                                            HAWTHORNE, CA 90250




LITKA, ABBIE                         LITKA, MAGGIE                          LITLE, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LITMAN, DANIELLE      Case 22-11238-LSS
                                     LITMAN, Doc  2 Filed 11/30/22
                                             JEFFREY                    Page 2917
                                                                             LITMAN,of 5495
                                                                                     KATHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LITMAN, REID                         LITMON, KEOSHA                          LITMUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




LITNER, KENDRA                       LITOW, DEBBIE                           LITSKY, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LITSOANE, MOSAE                      LITT, PETER                             LITT, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LITTAUER, BLAKE                      LITTEKEN, AMBER                         LITTELL, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LITTEN, EMILY                        LITTEN, MEGHAN                          LITTERAL, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LITTERER, JOHN                       LITTLE CAESARS                          LITTLE HOBOKEN, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   100 MANHATTAN AVE 1613
                                                                             UNION CITY, NJ 07087




LITTLE LIONS SHARE LLC               LITTLE, AMANDA                          LITTLE, AMY
8011 BLERIOT AVE                     ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90045




LITTLE, ANDREA                       LITTLE, APRIL                           LITTLE, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LITTLE, BRIAN                        LITTLE, BRYAN                           LITTLE, CELESTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LITTLE, CHEYENNE      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LITTLE, CHRISTOPHER              Page 2918
                                                                           LITTLE, of 5495
                                                                                   DALTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, DAVID                        LITTLE, DAWSON                         LITTLE, DELANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, ELIZABETH GRAY               LITTLE, ELLIOTT                        LITTLE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, EVE                          LITTLE, ISABEL                         LITTLE, JACK AND SINCLAIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, JANE                         LITTLE, JENNA                          LITTLE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, KANDICE                      LITTLE, KATHERINE                      LITTLE, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, KIM                          LITTLE, KYLE                           LITTLE, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, LINDSAY                      LITTLE, MARK                           LITTLE, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, MEREDITH                     LITTLE, MICHELLE                       LITTLE, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, MORGAN                       LITTLE, NATHANIEL                      LITTLE, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LITTLE, RACHEL        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LITTLE, REBECCA                  Page 2919
                                                                           LITTLE, of 5495
                                                                                   SAVANNA
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LITTLE, SEAN                         LITTLE, SIERRA                         LITTLE, SUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLE, TIFFIANY                     LITTLEJOHN, GARRETT                    LITTLEJOHN, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLEJOHN, KATHRYN                  LITTLEJOHN, MELEENA                    LITTLEJOHN, TANYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLEJOHN, WILLIAM                  LITTLEPAGE, JONATHAN                   LITTLEPAGE, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTLES, HALEY                       LITTLESUN, AMY                         LITTLETON, JUSTIN
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LITTLETON, SUSAN                     LITTMAN, HELEN                         LITTON, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LITTON, JAMIE                        LITTON, LISA                           LITTON, VICKY L
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LITTRELL, HEATHER                    LITTRELL, JESSICA                      LITTRELL, RENAE
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LITTS, ANTONIA                       LITVAK, MARCEY                         LITVAK, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LITVINOV, ALEXANDRA   Case 22-11238-LSS     Doc
                                     LITWICKI,    2 Filed 11/30/22
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LITWIN, RACHEL                       LITWIN, REBECCA                       LITWINSKY, DINA
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LITZ, JESSICA                        LITZ, JILL                            LITZ, KATRINA
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LITZ, LAURA                          LITZENBERG, MIKE                      LITZENBERGER, CASANDRA
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LITZENBERGER, RENEE                  LITZINGER, JOSEPH                     LITZKY, JENNA
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LITZSINGER, SARAH                    LIU, AARON                            LIU, ALICIA
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LIU, ALLINA                          LIU, ANGELA                           LIU, ANNA
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LIU, BO-YUN                          LIU, CAROLINE                         LIU, CHARLES
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LIU, CHELSEA                         LIU, CHUNGLI                          LIU, DAVID
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LIU, DEREK                           LIU, DIANA                            LIU, ELISABETH
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LIU, FAN              Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LIU, FANG-WEI                    Page 2921    of 5495
                                                                           LIU, FEIRAN
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LIU, FRANCIS                         LIU, GUANNAN                           LIU, HELEN
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LIU, HSIAO-TUNG                      LIU, HUAIYUAN                          LIU, IVY
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LIU, JADE                            LIU, JANET                             LIU, JASMINE
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LIU, JENNIFER                        LIU, JIE                               LIU, JUNE
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LIU, KATHERINE                       LIU, KATIE                             LIU, KAYLA
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LIU, LANNA                           LIU, LINDSEY                           LIU, LORA
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LIU, LOUISA                          LIU, LOUISA                            LIU, MIKE
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LIU, PENNY                           LIU, QIAN                              LIU, ROY
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LIU, RUI                             LIU, SHIRLEY                           LIU, SIBEI
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LIU, SIBO             Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LIU, SIHAN                       Page 2922    of 5495
                                                                           LIU, SIMON
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LIU, SONGLIN                         LIU, SONIYA                            LIU, TAI-YU
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LIU, TZU CHI                         LIU, WEIGUO                            LIU, XIAOPEI
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LIU, XUYANG                          LIU, YANG                              LIU, YANGZI
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LIU, YANTING                         LIU, YING                              LIU, YUAN
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LIU, YUNPENG                         LIU, YU-TING                           LIU, YU-TING
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LIU, ZHUYUAN                         LIUZZA, ASHLEY                         LIUZZA, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIVAS, APRIL                         LIVEINTENT INC.                        LIVEINTENT INC.
ADDRESS AVAILABLE UPON REQUEST       100 CHURCH STREET 7TH FLOOR            222 BROADWAY, FLOOR 22
                                     NEW YORK, NY 10007                     NEW YORK, NY 10038




LIVELY, BRIT                         LIVELY, ERICA                          LIVELY, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIVELY, KIRK                         LIVELY, NIKKI                          LIVELY, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LIVELY, SARAH         Case 22-11238-LSS    DocANGELYNA
                                     LIVENGOOD, 2 Filed 11/30/22       Page 2923  of 5495
                                                                            LIVENGOOD, DEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIVERNOCHE, IAN                      LIVESAY, ABIE                          LIVESAY, PIERCE
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LIVESAY, SAMANTHA                    LIVESAY, SARAH                         LIVESEY, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIVESY, DORIS                        LIVEVOX, INC.                          LIVIERATOS, KELLY
ADDRESS AVAILABLE UPON REQUEST       655 MONTGOMERY STREET, STE 1000        ADDRESS AVAILABLE UPON REQUEST
                                     SAN FRANCISCO, CA 94111




LIVIERO, CRISTINA                    LIVINGOOD, MARY                        LIVINGS, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIVINGSTON, ADRIEN                   LIVINGSTON, BROOKE                     LIVINGSTON, ELISA
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LIVINGSTON, EMILY                    LIVINGSTON, ERIKA                      LIVINGSTON, GARY
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LIVINGSTON, KATE                     LIVINGSTON, KATHARINE                  LIVINGSTON, KEITH
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LIVINGSTON, KELLY                    LIVINGSTON, KELLY                      LIVINGSTON, LAURA
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LIVINGSTON, MADELEINE                LIVINGSTON, MELISSA                    LIVINGSTON, NAOMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LIVINGSTON, NATALIE   Case 22-11238-LSS     DocPAM
                                     LIVINGSTON, 2 Filed 11/30/22        Page 2924   of 5495
                                                                              LIVINGSTON, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LIVINGSTON, RACHEL                      LIVINGSTON, ROBBYN-NICOLE              LIVINGSTON, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIVINGSTON, STEVE AND CHELSEY           LIVINGSTON, TAYLOR                     LIVINGSTON, TYLER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIVINGSTONE, ANNE                       LIVINGSTONE, LAURA                     LIVINGSTONE, LINDA
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LIVIS, WILLIAM                          LIVNEH, AVIA                           LIVOLSI, KANA
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LIVORSI, GINA                           LIVOTI, MATT                           LIVSEY, JOSEPH
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LIVSEY, SANTANYA                        LIWO, MICHELLE                         LIWSKI, HEATHER
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LIXEY, JOHANNA                          LIXIA CAI                              LIZ BIRD
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LIZ CLEMENTS                            LIZ, FRANKELY                          LIZA GEONIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LIZAMA-FONTAINE, ALEJANDRA              LIZARAZO, DANIELLA                     LIZARAZU, JAIME
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LIZARDO, JEANNINE     Case 22-11238-LSS     Doc
                                     LIZARDO,     2 Filed 11/30/22
                                              JESSICA                 Page 2925  of 5495
                                                                           LIZARRAGA, NIKI
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LIZCANO, VANESSA                     LIZE-MARIE DREYER                      LIZEWSKI, JONNA
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LIZZA, MEG                           LIZZARAGO, BRIAN                       LIZZIO, BETH
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LJESEVIC, ASHLEY AND VLAD            LJUBICIC, NATALIE                      LLAMAS, DAVID
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LLAMAS, KATIE                        LLAMOZAS, ANAMARIA                     LLAMOZAS, CAROLINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LLANAS ALEXAIEFF, REBECCA            LLANES, RUBEN                          LLANOS WILSON, ADANA
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LLANTO, ALYSSA                       LLANTO, AMBER                          LLAVE, KAPIOLANI
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LLERENA, ASHLEY                      LLEWELLYN, ANA                         LLEWELLYN, GAVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LLEWELLYN, JOHN                      LLEWELLYN, MICHAEL                     LLOCKLEAR, DURANTE
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LLORENTE, MONICA                     LLORET, MARLENE                        LLOYD J COOK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LLOYD MARTIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LLOYD, ADAM                      Page 2926
                                                                           LLOYD, of 5495
                                                                                  ALEXIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LLOYD, AMY                           LLOYD, ANNA                           LLOYD, BRODY
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LLOYD, CAMILLE                       LLOYD, DEBORAH                        LLOYD, DEBRA
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LLOYD, DOUGLAS                       LLOYD, EMILY                          LLOYD, GERI
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LLOYD, HEATHER                       LLOYD, JAMES                          LLOYD, JENA
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LLOYD, JENNIFER                      LLOYD, JENNIFER                       LLOYD, JENNIFER
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LLOYD, JENNIFER                      LLOYD, JO                             LLOYD, JORDAN
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LLOYD, JUSTIN                        LLOYD, KATHRYN                        LLOYD, KEVIN
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LLOYD, KIMBERLEE                     LLOYD, LYNDI                          LLOYD, MARY
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LLOYD, MCCAY                         LLOYD, MOLLY                          LLOYD, PRISCILLA
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LLOYD, ROBIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LLOYD, VIRGINIA                  Page 2927
                                                                           LLOYD, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LLOYDS OF LONDON                     LLUBERES-PRATT, JAEME                 LO SPIEDO
ONE LIME STREET                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONDON EC3M 7HA
UNITED KINGDOM




LO, ANNIE                            LO, BLHAI                             LO, GAONOU
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LO, KA WING                          LO, MARI                              LO, SHAINA
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LO, STACIE                           LO, TIMOTHY                           LOACH, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOADDELIVERED LOGISTICS, LLC         LOAFMAN, RACHEL                       LOAIZA, JULIETA
DBA CAPSTONE LOGISTICS               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
640 N. LASALLE, SUITE 555
CHICAGO, IL 60654




LOANE, KATIE                         LOAR, MICHELLE                        LOAYZA, NIKOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOBAN, CARLA                         LOBANENKOV, ILYA                      LOBATO, CARLY
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LOBATO, KELSEY                       LOBATO, TAYLOR                        LOBB, ROY
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LOBBEN, CATHERINE                    LOBBS, JESSE                          LOBELO, EMILY
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LOBERG, JACQUELINE    Case 22-11238-LSS    Doc 2 Filed
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                                                                           LOBERT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOBERT, BARBARA                      LOBIANCO, JONATHAN                    LOBINSKY, CONRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOBIONDO, REGINA                     LOBIS, MELISSA                        LOBLEIN, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOBO-CAVES, DARRAH                   LOBOS, CONSUELO                       LOBOSCO, DOMENIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOBSINGER, CASS                      LOBUE, ANGELA                         LOBUE, DEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOBUE, DYLAN                         LOCAL LA                              LOCANDA VERDE
ADDRESS AVAILABLE UPON REQUEST       1113 ELECTRIC AVE 4                   ADDRESS UNAVAILABLE AT TIME OF FILING
                                     VENICE, CA 90291




LOCASCIO, STACEY                     LOCASCIO, TERESA                      LOCEY, AUBREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCH, CARRIE                         LOCH, VICTORIA                        LOCHAN, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCHARD, ALICIA                      LOCHHEAD, GRACE                       LOCHMANN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCHNER, JEANIE                      LOCHRIE, ARIELLE                      LOCICERO, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOCK, ADAM            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOCK, CANDICE                    Page 2929   of 5495
                                                                           LOCK, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKARD, COLLIN                      LOCKARD, JESSE                        LOCKARD, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKARD, LURA                        LOCKARD, MARY JO                      LOCKART, KRISTII
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LOCKE, AMANDA                        LOCKE, ANETTA                         LOCKE, ASHLEY
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LOCKE, AUSTON                        LOCKE, CHRISTINE                      LOCKE, DEBRA
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LOCKE, ELIZABETH                     LOCKE, INGA                           LOCKE, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKE, JOHN                          LOCKE, KAREN                          LOCKE, KASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKE, KEVIN                         LOCKE, LAYNE                          LOCKE, LORI
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LOCKE, PATRICK                       LOCKE, SARAH                          LOCKE, SHAWNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKE, SHELLY                        LOCKE, SOPHIE                         LOCKEJC, K
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOCKEN, DAVID         Case 22-11238-LSS
                                     LOCKER,Doc  2 Filed 11/30/22
                                             MICHAEL                  Page 2930 of ALEX
                                                                           LOCKETT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKETT, CHRISTEN                    LOCKETT, DAVID                        LOCKETT, PIERCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKETTE, MARYCLARE                  LOCKHARR, BARBARA                     LOCKHART, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKHART, ANDREW                     LOCKHART, ANNA                        LOCKHART, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKHART, DEVON                      LOCKHART, KIM                         LOCKHART, PATRICIA
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LOCKHART, SATRINA                    LOCKHART, SHARLENE                    LOCKHART, SHERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKIE, CHELSEA                      LOCKLEAR, ARLANA                      LOCKLEAR, BARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKLEAR, GRADY                      LOCKLEAR, JEANNA                      LOCKLEAR, LEOMARYS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKLEAR, STACY                      LOCKMAN, ADRIANA                      LOCKMAN, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKMAN, BRIDGET                     LOCKMAN, EDD                          LOCKRIDGE, GWEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOCKS ETC.            Case 22-11238-LSS     Doc
                                      LOCKSHIN,   2 Filed 11/30/22
                                                MICHAEL                Page 2931 of 5495
                                                                            LOCKWOOD, ANDREW
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKWOOD, CHRISTOPHER                 LOCKWOOD, JACK                        LOCKWOOD, JAMES
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKWOOD, KATELYN                     LOCKWOOD, MEGAN                       LOCKWOOD, RENEE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCKWOOD, WILLARD                     LOCOCO, SUREYA                        LOCURTO, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOCUST, IVANA                         LOCY, PAIGE                           LODATO, BRIDGID
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LODGE, CONNOR                         LODGE, ELIZABETH                      LODGE-SCHARFF, SAVANNAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LODI VINTNERS INC                     LODL, NICHOLAS                        LODL, SALLY
3750 E. WOODBRIDGE RD.                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ACAMPO, CA 95220




LODUCA, PROCOPIO                      LOE, MARIAH                           LOE, NICOLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOEB, MELISSA                         LOEB, VICTORIA                        LOEBELL, LAUREN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOEBER, TRISTA                        LOEBS, STACY                          LOECHER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOECK, REBECCA        Case 22-11238-LSS    Doc
                                     LOEDING,    2 Filed 11/30/22
                                              ELYSE                      Page 2932  of 5495
                                                                              LOEFFELHOLZ, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LOEFFLER, ELIZABETH                     LOEFFLER, JENNIFER                     LOEFFLER, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOEFFLER, KEVIN                         LOEHR, ANGELICA                        LOEHR, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOEN, SOMER                             LOERA, CLAUDIA                         LOERA, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOERTSCHER, SARA                        LOESCH, DIANA                          LOESCHE, LINDSAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOESCHE, TORI                           LOESER, ESTHER                         LOESER, VICTORIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOESSIN, JOE                            LOEVEN, BRIANNA                        LOEW, ANDREA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOEWEN, HEIDI                           LOEWENBERG, JONATHAN                   LOEWENBERG, VALERIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOEWENSTEIN, MARCIA                     LOEWKE, KELLY                          LOEWS SANTA MONICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




LOEWS                                   LOEWY, FAITH                           LOFARO, ANGELA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOFARO, CHRISTINA     Case 22-11238-LSS
                                     LOFARO,Doc  2 Filed 11/30/22
                                             NICOLE                      Page 2933  of 5495
                                                                              LOFBERG, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOFDAHL, IAN                         LOFFMAN, SARA                            LOFFREDO, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOFFREDO, BRIAN                      LOFGREN, ASPEN                           LOFGREN, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOFGREN, KYLE                        LO-FINCH, TIFFANY                        LOFLAND, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOFLIN, JESSICA                      LOFT GROUP LLC                           LOFTERS, CR
ADDRESS AVAILABLE UPON REQUEST       3315 COLLINS AVE                         ADDRESS AVAILABLE UPON REQUEST
                                     FAENA HOUSE MIAMI BEACH, FL 33140




LOFTHOUSE, DIANE                     LOFTIN, DEBRA                            LOFTIN, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOFTIS, JENNIFER                     LOFTIS, MARIS                            LOFTON, ADRIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOFTON, ANDREA                       LOFTON, ASHLEE                           LOFTON, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOFTON, GENEICE                      LOFTON, JEFFERSON                        LOFTON, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOFTON2, JESSIE                      LOFTUS, GREGORY                          LOFTUS, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LOFTUS, LARA          Case 22-11238-LSS
                                     LOFTUS,Doc
                                            MARK2    Filed 11/30/22   Page 2934  ofMARY
                                                                           LOFTUS,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOFTUS, MATTHEW                      LOFTUS, MEGHAN                        LOFTUS-ROONEY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOFY, THOMAS                         LOGAL, ALEX                           LOGALBO, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGAN CHILDERS                       LOGAN SMITH                           LOGAN, A
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGAN, ALISHA                        LOGAN, APRIL                          LOGAN, ASHTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGAN, BRENDAN                       LOGAN, COLLEEN                        LOGAN, DANIELLE
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LOGAN, DEAUNTHONY                    LOGAN, ED                             LOGAN, EMILY
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LOGAN, HALEY                         LOGAN, HOLLIE                         LOGAN, JEFFREY
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LOGAN, JESSICA                       LOGAN, JOHN                           LOGAN, JULIA
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LOGAN, KRISTINE                      LOGAN, KRYSTA                         LOGAN, LATONYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOGAN, MACKENZIE      Case 22-11238-LSS
                                     LOGAN, Doc 2 Filed 11/30/22
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                                                                           LOGAN,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGAN, MEGAN                         LOGAN, MIA                            LOGAN, MICHAEL
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LOGAN, MONICA                        LOGAN, NICOLE                         LOGAN, SEAN
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LOGAN, VICTORIA                      LOGAN-GRAHAM, KAREN                   LOGAR, KERI
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LOGCHER, DANIEL                      LOGEMANN, KATRINA                     LOGGINS, BRANDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGOZZO, ANTHONY                     LOGOZZO, CONNIE                       LOGRANDE, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGRASSO, SAMANTHA                   LOGSDON, THERESA                      LOGSTON, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGUE, HEATHER                       LOGUE, JULIE                          LOGUE, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGUE, MARGARET                      LOGUE, MAUREEN                        LOGUE, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOGUERCIO, JOSEPH                    LOGUIDICE, PHILIP                     LOGWOOD, TYNESHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOH, KRISTINA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOH, SHAWNA                      Page 2936   of 5495
                                                                           LOH, VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOHBECK, MIKE                        LOH-DOYLE, ASHLING                    LOHI LABS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




LOHIT KUMAR RANGINENI                LOHMAN, AMY                           LOHMAN, LANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOHMANN, ASHLEY                      LOHMANN, LOUISE                       LOHMEIER, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOHNES, DEBORAH                      LOHNES, ROBERT                        LOHR, DANIEL
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LOHR, JEFF                           LOHR, JESSICA                         LOHR, JONATHAN
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LOHR, MEGAN                          LOHR, RICHARD                         LOHR, RUBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOHR, TIMOTHY                        LOHRENZ, CAITLIN                      LOHRIUS, BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOHS, BEV                            LOI, STACEY                           LOIACANO, MEGAN
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LOIS A BLAKLEY                       LOIS DUPONT, LOIS                     LOIS JANE JONES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOIS KOSCO            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LOIS, CRISTINA                   Page 2937   of 5495
                                                                           LOIS, RANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOISELLE, ALEXIS                     LOJEWSKI, BETH                        LOK TING CHEUNG
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LOK, JACQY                           LOKESHWAR MADDINENI                   LOKESHWAR MADDINENI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOKHVITSKAIA, TATIANA                LOKKER, LAURA                         LOKSHIN, ANATOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOKUAN, SUSAN                        LOLA AMBROSI                          LOLAN, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOLIS, SUSAN                         LOLL, KAYLA                           LOLLAR, ELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOLLI, EMILY                         LOLLI, MARYBETH                       LOLLI, MARYBETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOLLIS, KEONA                        LOLLIS, MATTHEW                       LOMA DEL RIO VINEYARDS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2004 FOX DRIVE SUITE L
                                                                           CHAMPAIGN, IL 61820




LOMA DEL RIO VINEYARDS, LLC          LOMA LARGA VINEYARDS                  LOMAKA, LAUREN
ATTN: MATT PARKER, EVP               VALAPARAISO CASILLA 139               ADDRESS AVAILABLE UPON REQUEST
855 BORDEAUX WAY, SUITE 100          SANTIAGO
NAPA, CA 94558                       CHILE




LOMAN, JEN                           LOMAR, PRISCILA                       LOMAS, GABRIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOMAS, JESSECA        Case 22-11238-LSS    Doc ERIN
                                     LOMASCOLO, 2 Filed 11/30/22      Page 2938
                                                                           LOMAX,of 5495
                                                                                 LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMAX, MATTHEW                       LOMAX, MOLLY                          LOMAX, TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMBARD, ANNABELLE                   LOMBARD, DONNA                        LOMBARD, EMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMBARD, KELVIN                      LOMBARD, SAMANTHA                     LOMBARDI VOLK, ALANA
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LOMBARDI, ANNE                       LOMBARDI, ANTHONY                     LOMBARDI, BONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMBARDI, CLAIRE                     LOMBARDI, DUSTIN                      LOMBARDI, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMBARDI, JENAI                      LOMBARDI, JOSEPH                      LOMBARDI, KATHARINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMBARDI, SARAH                      LOMBARDO, ALISHA                      LOMBARDO, CHRISTINE
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LOMBARDO, COURTNEY                   LOMBARDO, DONNA                       LOMBARDO, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMBARDO, EMILY                      LOMBARDO, FRANK                       LOMBARDO, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOMBARDO, LARISSA     Case 22-11238-LSS    DocLEANN
                                     LOMBARDO,  2 Filed 11/30/22      Page 2939 of 5495
                                                                           LOMBARDO, SUZANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMBARI, JENNIFER                    LOMBARI, MARISSA                      LOMBELLO, FELIPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMBER-GORDON, CASEY LEE             LOMBERT, CHRISTINE                    LOMELI, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMELI, JENNIFER                     LOMELI, ROSA                          LOMEN, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMEN, LINDA                         LOMINY, BIANCA                        LOMIS, EILEEN
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LOMKER, SUZANNE                      LOMMEL, JENNIFER                      LOMMERIN, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOMON, LASHANDA                      LOMONICO, RALPH                       LOMUSCIO, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONDEEN, TORI                        LONDEREE, EMILY                       LONDGREN, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONDIN, JONATHAN                     LONDO, CHRISTIAN                      LONDO, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONDON, FERRAH                       LONDON, KAREN                         LONDON, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONDONO, ALONDRA      Case 22-11238-LSS    Doc
                                     LONDONO,   2 Filed 11/30/22
                                              MARIA                   Page 2940 ofCLARICE
                                                                           LONDOS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONDOS, DEMI                         LONERGAN, AMY                         LONERGAN, BRIGID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONERGAN, GARY                       LONERGAN, KATE                        LONERGAN, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONERGAN, PATRICK                    LONERGAN, SHEALYN                     LONESOME, FIGBAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONEY, COLLEEN                       LONF, MATT                            LONG ADAMS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG DEBORAH                         LONG DISTANCE BAKING                  LONG DISTANCE BAKING
ADDRESS AVAILABLE UPON REQUEST       1889 COLORADO AVE.                    9129 QUAIL TERRACE WAY
                                     BOISE, ID 83706                       ELK GROVE, CA 95624




LONG NGUYEN                          LONG, ADRIENNE                        LONG, ALANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, ALICIA                         LONG, ALYSSA                          LONG, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, AMANDA                         LONG, AMELIA                          LONG, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, ANDREW                         LONG, BARBARA                         LONG, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONG, BREE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LONG, BRIAN                      Page 2941  of 5495
                                                                           LONG, BRITT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, BRYNN                          LONG, CAMILLE                         LONG, CASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, CHARLES                        LONG, CHRISTINA                       LONG, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, CINDY                          LONG, CINDY                           LONG, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, DAN                            LONG, DAN                             LONG, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, DAVID                          LONG, DEBORAH                         LONG, DELANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, EILEEN                         LONG, ELIZABETH                       LONG, EMILIYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, EMILY                          LONG, ERIN                            LONG, ETHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, GAIL                           LONG, HEATHER                         LONG, JARROD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, JENNIFER                       LONG, JENNY                           LONG, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONG, JESSICA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LONG, JIAQI                      Page 2942   of 5495
                                                                           LONG, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, JOE                            LONG, JORDAN                          LONG, JULIE
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LONG, JULIE                          LONG, KASSONDRA                       LONG, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, KELLY                          LONG, KENDELL                         LONG, KENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, KIMBERLY                       LONG, KINSEY                          LONG, KRISTY
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LONG, KYLE                           LONG, KYLE                            LONG, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, LAUREN                         LONG, LEA                             LONG, LEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, LING                           LONG, LISA                            LONG, LISA
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LONG, MALLORY                        LONG, MARY                            LONG, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, MATTHEW                        LONG, MCKAYLA                         LONG, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONG, MEGAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LONG, MEGAN                      Page 2943  of 5495
                                                                           LONG, MERRILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, MICHAEL                        LONG, MICHAEL                         LONG, MICHAELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, MICHELE                        LONG, MORGANL                         LONG, NEIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONG, NICOLE                         LONG, PATRICK                         LONG, PENNY
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LONG, PHILIP                         LONG, RENA                            LONG, ROGER
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LONG, SAMANTHA                       LONG, SARAH                           LONG, SARAH
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LONG, STACIE                         LONG, STEPHANIE                       LONG, STEPHANIE
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LONG, TARA                           LONG, TERRI                           LONG, TIFFANY
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LONG, TRACY                          LONG, TRACY                           LONG, TRACY
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LONG, TRINA                          LONG, UNIQUE                          LONG, VEASNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONG, VICTOR          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LONG, WARREN                       Page 2944  of 5495
                                                                             LONG, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LONG, WHITNEY                        LONG, WILSON                            LONGACRE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LONGACRE, DAISY                      LONGACRE, MYA                           LONGACRE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LONGARDNER, KATIE                    LONGBRAKE, MIKAYLA                      LONGDON, WINALL
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LONGE, ALYSSA                        LONGE, KRISTINA                         LONGEN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LONGENBACH, SARAH                    LONGENBERGER, LESTER                    LONGENECKER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LONGENECKER, RUTH                    LONGFELLOW, EBEN                        LONGFORD, NICOLA
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LONG-HANOVER, TAYLOR                 LONGHORN STEAKHOUSE                     LONGHURST, JAREN
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LONGINO, KELSEY                      LONGLEY, JO                             LONGLEY, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LONGMUIR, KELSEY                     LONGO, CATHERINE                        LONGO, JAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LONGO, KELSEY         Case 22-11238-LSS
                                     LONGO, Doc  2 Filed 11/30/22
                                            MICHELLE                  Page 2945
                                                                           LONGO,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONGO, NICOLE                        LONGO, NICOLE                         LONGO, NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONGO, SHARON                        LONGO, SHARON                         LONGO, SUNNY
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LONGONI, ANTONELLA                   LONGORIA GARCIA, SIMONE               LONGORIA, NEYLU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONGORIA, NORMA                      LONGSDORF, CARRIE                     LONGSHORE, DAVENA
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LONG-SIMPSON, LESLIE                 LONGSTAFF, KERRI                      LONGSTREET, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONGSTREET, SHELBY                   LONGSTRETH, SHELBYANNA                LONGTAIN, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONGTON, MICHAEL                     LONGUEIRA, ANDREA                     LONGVILLE, RANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LONGWELL, TIMOTHY                    LONGYEAR, CASEY                       LONNEMAN, KAYLA
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LONNIE HAWKINS                       LONNING, ALEXIS                       LONSENMAN, LEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LONTINE, JOY          Case 22-11238-LSS    DocKARIN
                                     LONTRATO,  2 Filed 11/30/22      Page 2946
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                                                                                 MARGARET
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LOOEZ, PAM                           LOOFT, CANDACE                        LOOK, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOOK, MARIE                          LOOKABAUGH, DIANA                     LOOKE, CARLYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOOMAN, SARAH                        LOOMIS, ADAM                          LOOMIS, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOOMIS, ALIX                         LOOMIS, BRADY                         LOOMIS, KARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOOMIS, NICOLE                       LOOMIS, ROBERT                        LOOMIS, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOOMIS, SUSANA                       LOONAN, BROOKE                        LOONEY, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOONEY, ERIN                         LOONEY, JESSICA                       LOONEY, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOONEY, KARA                         LOONEY, KRISTI                        LOOP, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOOPER, REGINA                       LOOS, JAKE                            LOOS, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOOS, NICHOLAS        Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPARDI, TRACIE                      LOPARNOS, PANDELIS                    LOPARO, MAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPAS, MALLORY                       LOPATIN, SARAH                        LOPDRUP, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPER, CHRISTINA                     LOPER, DANIELLE                       LOPER, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPER, SAMANTHA                      LOPERENA, KAYLA                       LOPERENA, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPES, ALISHA                        LOPES, ANA                            LOPES, BRITTNI
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LOPES, ELAINE                        LOPES, IVETTE                         LOPES, JANET
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LOPES, JEN                           LOPES, KEELY                          LOPES, KIMBERLY
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LOPES, MICHAEL                       LOPEZ ANDREU, LAURA                   LOPEZ DAN
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LOPEZ DORIGA, MARIA JOSE             LOPEZ, ABBIGAIL                       LOPEZ, ADAIAH
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LOPEZ, ADRIAN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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LOPEZ, AL                            LOPEZ, ALEJANDRA                      LOPEZ, ALEJANDRA
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LOPEZ, ALEXANDRIA                    LOPEZ, ALFREDO                        LOPEZ, AMBER
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LOPEZ, AMY                           LOPEZ, ANA                            LOPEZ, ANDREA
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LOPEZ, ANDRES                        LOPEZ, ANGELICA                       LOPEZ, ANGELICA
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LOPEZ, ANGIE                         LOPEZ, ANGIE                          LOPEZ, ANNETTE
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LOPEZ, ARLEY                         LOPEZ, BITA                           LOPEZ, BRANDON
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LOPEZ, BRIANNA                       LOPEZ, CARINA                         LOPEZ, CAROL
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LOPEZ, CARRIE                        LOPEZ, CASILDA                        LOPEZ, CASSANDRA
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LOPEZ, CHRISTIE                      LOPEZ, CHRISTINA                      LOPEZ, CHRISTINA
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LOPEZ, CLAUDIA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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LOPEZ, CORRINA                       LOPEZ, CYNTHIA                        LOPEZ, DAISY
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LOPEZ, DANIEL                        LOPEZ, DANIEL                         LOPEZ, DAVID
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LOPEZ, DAVID                         LOPEZ, DAYNA                          LOPEZ, DELFINA
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LOPEZ, DENNIS                        LOPEZ, DESIREE                        LOPEZ, DONNA
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LOPEZ, ERICCA                        LOPEZ, ERIKA                          LOPEZ, ESIAS
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LOPEZ, ESPERANZA                     LOPEZ, EVELYN                         LOPEZ, FARALENY
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LOPEZ, FELIX GABRIEL                 LOPEZ, GABE                           LOPEZ, GABRIEL
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LOPEZ, GABRIELA M.                   LOPEZ, GABRIELA                       LOPEZ, GARRETT
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LOPEZ, GISELLE                       LOPEZ, GIULIA                         LOPEZ, GLORIBELL
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPEZ, HERIBERTO                     LOPEZ, IAN                            LOPEZ, IGNACIO
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LOPEZ, IVY                           LOPEZ, JACQLENE                       LOPEZ, JAMIE
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LOPEZ, JEANETTE                      LOPEZ, JENNIFER                       LOPEZ, JENNIFER
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LOPEZ, JESSE                         LOPEZ, JESSICA                        LOPEZ, JESSICA
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LOPEZ, JESUS                         LOPEZ, JOCELYN                        LOPEZ, JOSEPH
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LOPEZ, JUAN                          LOPEZ, JUDY                           LOPEZ, JULIANNE
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LOPEZ, KARELIS                       LOPEZ, KATHRYN                        LOPEZ, KEITH
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LOPEZ, KEREN                         LOPEZ, KERRIE                         LOPEZ, KIMBERLY
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LOPEZ, KRISTY                        LOPEZ, KRYSTA                         LOPEZ, KYLA
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LOPEZ, LAURA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOPEZ, LAURA                     Page 2951
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LOPEZ, LESLIE                        LOPEZ, LEXI                           LOPEZ, LILLIAN
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LOPEZ, LISABETTE                     LOPEZ, LIZABETH                       LOPEZ, LOLIE
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LOPEZ, LORENA                        LOPEZ, LORENA                         LOPEZ, LORISE C
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LOPEZ, LUIS                          LOPEZ, LUJAN                          LOPEZ, MADELINE
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LOPEZ, MAIDELIN                      LOPEZ, MANUE                          LOPEZ, MARGARITA
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LOPEZ, MARIA                         LOPEZ, MARITZA                        LOPEZ, MARY KAY
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LOPEZ, MARY                          LOPEZ, MEGAN                          LOPEZ, MELINDA
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LOPEZ, MELISSAL                      LOPEZ, MERCY                          LOPEZ, MICHAEL
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LOPEZ, MICHELLE                      LOPEZ, MICHELLE                       LOPEZ, MICHELLE
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LOPEZ, MILENA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPEZ, NATHALIA                      LOPEZ, NELSON                         LOPEZ, NICHOLAS
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LOPEZ, NICOLE                        LOPEZ, NORMA                          LOPEZ, OLIVIA
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LOPEZ, OLIVIA                        LOPEZ, OSCAR                          LOPEZ, PAULETTE
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LOPEZ, RACHEL                        LOPEZ, RACHEL                         LOPEZ, RALPH
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LOPEZ, RAUL                          LOPEZ, REBECCA                        LOPEZ, RICARDO
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LOPEZ, RICHARD                       LOPEZ, RICHARD                        LOPEZ, ROBERT
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LOPEZ, ROBYN                         LOPEZ, RONALD                         LOPEZ, ROSALINDA
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LOPEZ, SABRINA                       LOPEZ, SAMANTHA                       LOPEZ, SAMANTHA
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LOPEZ, SARAH                         LOPEZ, SARAI                          LOPEZ, SEBASTIAN
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LOPEZ, SELINA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOPEZ, SHELLY                    Page 2953
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LOPEZ, SINDY                         LOPEZ, SOFIA                          LOPEZ, SORALY
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LOPEZ, STELLA                        LOPEZ, STEPHANIE                      LOPEZ, STEVEN
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LOPEZ, TINA                          LOPEZ, TOMMY                          LOPEZ, VAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPEZ, VANESSA                       LOPEZ, VERONICA                       LOPEZ, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPEZ, VERONICA                      LOPEZ, VERONICA                       LOPEZ, VIOLETA
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LOPEZ, WANDA                         LOPEZ, WILLIAM                        LOPEZ, YAJAIRA
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LOPEZ, YESENIA                       LOPEZ, ZACHARY                        LOPEZ-BALBOA, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPEZ-EDWARDS, ANA                   LOPEZ-GRANTHAM, JESS                  LOPEZ-LUNA, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOPEZ-RHODEN, RAISA                  LOPIANO, ANNE                         LOPICCOLO, LYNDSEY
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LOPINTO, GINA         Case 22-11238-LSS     Doc
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LOPRESTI, KASSI                      LORA MANSKE                            LORA, AMANDA
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LORACE RIMANDO MANALO                LORAH, SCOTT                           LORALIE MCGUIRE BRENNEN
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LORAN, ADAM                          LORAN, JENNIFER                        LORANGER, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LORANT, LISA                         LORBER, BONNIE                         LORCAN CONOR MAGUIRE
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LORD, AMANDA                         LORD, ASHLEY                           LORD, CINDY
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LORD, EMILY                          LORD, KAREN                            LORD, LANEY
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LORD, LISA                           LORD, MAKAYLA                          LORD, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LORD, NATALIE                        LORD, ROB                              LORDE, AZANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LORDOS, MARJIE                       LORE, JESSICA                          LORE, NICHOLAS
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LOREDO, ESTER         Case 22-11238-LSS
                                     LOREINADoc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LORELL, JENNIFFER                       LOREN CARMON                          LOREN HAMILTON
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LOREN LEE                               LOREN STASSART                        LOREN WOOD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOREN, CHERISE                          LOREN, MARISHA                        LOREN, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORENA MOTRENEC                         LORENE MANN                           LORENSEN, LAUREN
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LORENTO, JESSICA                        LORENTZEN, HARMONY                    LORENZ WEIDL
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LORENZ, LARRY                           LORENZ, LISA                          LORENZ, RACHEL
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LORENZ, SUSAN                           LORENZ, SUSAN                         LORENZ, TED
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LORENZA                                 LORENZANA, ELENA                      LORENZANO, JACKIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORENZATO, KELSEY                       LORENZEN, ERIN                        LORENZEN, JOE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LORENZET, TAYLOR      Case 22-11238-LSS    Doc
                                     LORENZO,    2 Filed 11/30/22
                                              JULIA                      Page 2956 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LORENZO, MELISA                         LORENZO, RITA                         LORETO, MILAGROS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORETTA FRIDLUND                        LORETTA WALSH                         LORETTA, SAL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORGE, LAUREN                           LORI BAITY                            LORI BELLEW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORI CORDERO, 1969                      LORI FURNACE                          LORI GLONEK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORI HUNT                               LORI KOMAROMI                         LORI LYNN TORGERSON
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LORI MILLER                             LORI OBRIEN                           LORI SCHLECHT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORI VOLHEIM                            LORI, HAWKINS,                        LORIA, DENEEN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORIA, JESSICA                          LORIA, MARIO                          LORIE BAIRD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LORIEN STERN                            LORING, JANA                          LORING, SARAH
8012 N BULL RUN ST                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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LORING, SHERRILL      Case 22-11238-LSS    Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




LORRAINE BALL, ALISON                   LORRAINE DEMUITIIS, BRUNOS SALON        LORRAINE HAIYAN KO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LORRAINE KELLAM                         LORRAINE MICHALSKI                      LORRAINE RUBIO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LORRAINE                                LORRAINE, ALEKSANDRA                    LORRI WILLIAMS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LORSCHEIDER, RACHEL                     LORSON, PAM                             LORUSSO, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LORUSSO, MICHAEL                        LORUSSO, PAUL                           LORY, AMBER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LORYBETH VENTURA                        LORZEME, WEDLINSON                      LOS ANGELES COUNTY REGISTRAR-
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          RECORDER/COUNTY CLERK
                                                                                12400 IMPERIAL HWY.
                                                                                NORWALK, CA 90650




LOS ANGELES COUNTY TAX COLLECTOR        LOS ANGELES PHILHARMONIC ASSOC          LOS ANGELES PHILHARMONIC ASSOC
PO BOX 54027                            ATTN: GENERAL COUNSEL                   ATTN: STEFANIE SPRESTER
LOS ANGELES, CA 90054-0027              151 S GRAND AVE                         151 S GRAND AVE
                                        LOS ANGELES, CA 90012-3034              LOS ANGELES, CA 90012-3034




LOS ANGELES PHILHARMONIC ASSOC          LOS ANGELES WINE CO                     LOS FIELDS, INC (F.K.A NATURAL
ATTN: STEFANIE SPRESTER                 ADDRESS UNAVAILABLE AT TIME OF FILING   MERCHANTS, INC)
151 S GRAND AVE                                                                 ADDRESS UNAVAILABLE AT TIME OF FILING
STEFANIE SPRESTER
LOS ANGELES, CA 90012-3034



LOS ROBLES CAFE                         LOSACCO, KIERA                          LOSACK, PAT
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LOSADA, VANESSA       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOSCH, JENA                             LOSCH, KAIZA                          LOSCH, REBECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOSCHEIDER, JULIE                       LOSCHEN, MONICA                       LOSCHINSKEY, JAIME
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOSEE, ANNIQUE                          LOSETH, CAITLIN                       LOSH, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOSHAW, KYLE                            LOSITO, DAWN                          LOSLO, BILL & ROXANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOSONGCO, EUGENE                        LOSOW, EVAN                           LOSOYA, RUBY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOSPINUSO, KATHY                        LOSS, JACOB                           LOSSA, FABIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOSSE, AMANDA                           LOSSER, DEBBIE                        LOSTY, JAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOT 18                                  LOTESTA, MADELINE                     LOTHROP, DEAN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTHSCHUETZ, JANE                       LOTITO, SUSAN                         LOTSPEICH, LAINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOTSPEICH, LAUREN     Case 22-11238-LSS     Doc
                                     LOTSTEIN,    2 Filed 11/30/22
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                                                                           LOTT, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTT, ADRIAN                         LOTT, ALEX                            LOTT, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTT, AMANDA                         LOTT, ANTHIA                          LOTT, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTT, DECLAN                         LOTT, JONATHAN                        LOTT, JUDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTT, LISA                           LOTT, MIA                             LOTT, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTTERING, TIFFANY                   LOTTERMAN, BETTY                      LOTTES, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTTES-LIVINGSTON, ELIZABETH         LOTTINGER, ELAINE                     LOTTS, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTUFO, SHERRY                       LOTUS CAPITAL LLC                     LOTWICH, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOTZ, JOHN                           LOTZ, MARIELENA                       LOTZER, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOU, FANGHUA                         LOU, FANGHUA                          LOU, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOU, REACHAL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           LOUCKS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUCKS, THOMAS                       LOUDDER, TWILA                        LOUDON, ANNABELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUDON, DARCIE                       LOUDON, RITA                          LOUDON, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUGEE, ELISE                        LOUGH, JESSICA                        LOUGH, TAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUGHEAD, AMY                        LOUGHLIN, CHRIS                       LOUGHLIN, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUGHMAN, DIANE                      LOUGHMAN, SARAH                       LOUGHNEY, BRYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUGHNEY, CAYLA                      LOUGHRAN, CARRIE                      LOUGHRAN, NEIDIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUGHREY, ALLISON                    LOUGHRIGE, KATHRYN                    LOUGON, HELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUGOVTSOV, ALEX                     LOUH, REBECCA                         LOUI, WARREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUIE, BAILEY                        LOUIE, DERRICK                        LOUIS H EWING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOUIS RONALD PETERS   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOUIS SPAETH                     Page 2961   of 5495
                                                                           LOUIS, DIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUIS, ERICA                         LOUIS, ERLAND                         LOUIS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUIS, JESSICA                       LOUIS, MAYA                           LOUISE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUISIANA DEPARTMENT OF REVENUE      LOUISIANA DEPT OF REVENUE             LOUISIANA DEPT OF REVENUE
ALCOHOL AND TOBACCO CONTROL OFFICE   617 N THIRD ST                        PO BOX 201
7979 INDEPENDENCE BLVD.              BATON ROUGE, LA 70802                 BATON ROUGE, LA 70821
BATON ROUGE, LA 70806




LOUISIANA DEPT OF REVENUE            LOUISIANA SECURITIES DIVISION         LOUISIANA WORKFORCE COMMISSION
TAXPAYER SERVICES DIV EXCISE TAX     8660 UNITED PLAZA BLVD.               1001 N 23RD ST
SECTION                              2ND FLOOR                             BATON ROUGE, LA 70802
P.O. BOX 201                         BATON ROUGE, LA 70809
BATON ROUGE, LA 70821-0201



LOUIS-JACQUES, JENNIFER              LOUISSAINT, ALEX                      LOUISSAINT, BURTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUISSAINT, JESSIKA                  LOUISSAINT, NICOLETTE                 LOUKAS, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUKO, KERRIN                        LOULA, MARLENE                        LOUNDER, HILARY
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LOUNELLO, ALBERT                     LOUNSBERRY, SARA                      LOUNSBURY, EMMET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOUNSBURY, TODD                      LOUPE, JO ANN                         LOURDEAU, JANELLE
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LOURDES, MELO,        Case 22-11238-LSS    DocMANUEL
                                     LOURENCO,  2 Filed 11/30/22      Page 2962  of 5495
                                                                           LOURIGAN, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOUSSIANT, LILIANNE                  LOUTY, JESSICA                         LOUVARIS, PETER
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LOUVAU, JULIE                        LOUVIERE, ROY                          LOUW, MEGAN
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LOUW, TEGAN                          LOUY, STEPHANIE                        LOUZON, SCOTT
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LOVALLO, JASON                       LOVALLO, KRISTIN                       LOVAN, MEGAN
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LOVAS, ILDIKO                        LOVATO, ALYCIA                         LOVATO, CHERISE
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LOVATO, DANIEL                       LOVATOS, RAUL                          LOVE AND SALT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




LOVE& LLC                            LOVE, ABIGAIL                          LOVE, ASHLEIGH
25292 ELM CT                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MISSION VIEJO, CA 92691




LOVE, BRITTANY                       LOVE, CASSIDAY                         LOVE, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOVE, CHERISH                        LOVE, COURTNEY                         LOVE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOVE, DARRELL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOVE, DECARLOS                   Page 2963   of 5495
                                                                           LOVE, DOREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVE, EILEEN                         LOVE, ERVINIA                         LOVE, GABRIELLA
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LOVE, GINA                           LOVE, JANICE                          LOVE, JENNIFER
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LOVE, KAREN                          LOVE, KATHARINE                       LOVE, KATIE
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LOVE, KENTWAN                        LOVE, KIMBERLY                        LOVE, LAURA
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LOVE, LEIGH                          LOVE, LINDSEY                         LOVE, LUCY
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LOVE, MARGY                          LOVE, MEGHAN                          LOVE, MEGHAN
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LOVE, NELL                           LOVE, PIERRE                          LOVE, RYAN
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LOVE, SARA                           LOVE, SEAN                            LOVE, SEENA
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LOVE, SELENA                         LOVE, TRAVIS                          LOVE, WILLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOVECCHIO, DANIELLE   Case 22-11238-LSS    Doc
                                     LOVEDAY,    2 Filed 11/30/22
                                              SARA                    Page 2964 of 5495 JUDY
                                                                           LOVEDAY-CORBETT,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVEJOY, ALYSSA                      LOVEJOY, BLAIR                        LOVEJOY, MANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVEJOY, RENEE                       LOVELACE, BRANDY                      LOVELACE, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVELACE, DAVIDA                     LOVELACE, HOYT                        LOVELACE, JOHN TRUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVELACE, JOYCE                      LOVELACE, LONEY                       LOVELACE, RACHEL
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LOVELACE, TAMMIE                     LOVELAND, CHARIS                      LOVELAND, CORINNE
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LOVELAND, DAKOTA                     LOVELESS, GWEN                        LOVELESS, KALLEN
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LOVELESS, LISA                       LOVELL, CAROLYN                       LOVELL, CHRIS
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LOVELL, JACQUELINE                   LOVELL, JODI                          LOVELL, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVELL, MARYELLEN                    LOVELLO, LISA                         LOVELY, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOVELY, KRYSTYN       Case 22-11238-LSS
                                     LOVELY,Doc  2 Filed 11/30/22
                                            LESLIE                    Page 2965  of 5495 SHAWN
                                                                           LOVELY-KENNEDY,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVEQUIST, MARK                      LOVER, BOOK                           LOVERAS, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVERCAMP HULSEY, JENAE              LOVERDE, ANDREA                       LOVERDE, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVERDE-RHEINHEIMER, OLIVIA          LOVERIDGE, JENNIFER                   LOVERN, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVERRO, CALEB                       LOVETT, CASEY                         LOVETT, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVETT, JAMES                        LOVETT, JENNIFER                      LOVETT, JOANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVETT, KRISTIE                      LOVETT, LAURIE                        LOVETT, PAMELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVETT, RENEE                        LOVETT, SHANNA                        LOVETTE, KAREN
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LOVGREN, MEGAN                       LOVHAUG, JOANNA                       LOVING, KATE
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LOVING, LISA                         LOVING, RACHEL                        LOVINGFOSS, EVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOVINGGOOD, JOSH      Case 22-11238-LSS    Doc
                                     LOVINGS,    2 Filed 11/30/22
                                              RHONDA                     Page 2966
                                                                              LOVINS,of 5495
                                                                                      MARIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LOVITT, CHELSEA                         LOVO, ALFONSO                         LOVOS, CHELSI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVOY, EMILY                            LOVULLO, DAN                          LOVULLO, STEVIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOVVO, MICHAEL                          LOVVORN, HEATHER                      LOVVORN, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOW BRAU                                LOW, ALLISON                          LOW, LINDA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOW, ROBERT                             LOWCOCK, JOSHUA                       LOWDEN, LISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWDEN, PATRICIA                        LOWDEN, PATRICK                       LOWDER, SHANNON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWE, ALY                               LOWE, AMBER                           LOWE, AMBER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWE, ANNA                              LOWE, ARIANA                          LOWE, BAILEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWE, BARBARA                           LOWE, BETH                            LOWE, BRITNI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOWE, CHANTALL        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOWE, CHRISTINA                  Page 2967  of 5495
                                                                           LOWE, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOWE, CLARESSA                       LOWE, DANA                             LOWE, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOWE, ERIC                           LOWE, GUINNEVERE                       LOWE, HOPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOWE, JACQUELYN                      LOWE, JANET                            LOWE, JESS
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LOWE, JODI                           LOWE, JOHN                             LOWE, JR., KENNETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LOWE, KATHLEEN                       LOWE, KELLY                            LOWE, KIRSTEN
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LOWE, LAUREN                         LOWE, LINDSEY                          LOWE, LORI
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LOWE, LYDIA                          LOWE, MARY KATE                        LOWE, MEGAN
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LOWE, MEGHAN                         LOWE, MELINA                           LOWE, MEREDITH
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LOWE, MICHELLE                       LOWE, ORIS                             LOWE, RILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOWE, RON             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOWE, ROSEY                      Page 2968  of 5495
                                                                           LOWE, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWE, SARAH                          LOWE, SARAJANE                        LOWE, SHAMBREE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWE, STACY                          LOWE, TIFFANY                         LOWELL WILLIAMS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWELL, COURTNAY                     LOWELL, JOHN                          LOWELL, KIRSTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWELL, MICHELE                      LOWELL, NAOMI                         LOWELL, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWELL, SUSAN                        LOWENHAUPT, LAUREN                    LOWENSTEIN SANDLER LLP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ONE LOWENSTEIN DRIVE
                                                                           ROSELAND, NJ 07068




LOWENSTEIN, CASSIE                   LOWENSTEIN, RUTH                      LOWENSTEIN, SHARON D.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWENTHAL, ANDREW                    LOWENTHAL, ANDREW                     LOWENTHAL, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWER, BRETT                         LOWER, KATELYN                        LOWER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWEREE, NICOLE                      LOWERY, CAROL                         LOWERY, EVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOWERY, JASON         Case 22-11238-LSS    Doc
                                     LOWERY,    2 Filed 11/30/22
                                             JESSICA                    Page 2969 ofMICHAELA
                                                                             LOWERY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LOWERY, SARA                         LOWERY, WILLIAM                         LOWERY, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LOWERY, WILLIAM                      LOWES                                   LOWETH, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




LOWING, MITCHELL                     LOWIT, PAUL                             LOWITZ AND SONS, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          811 WEST EVERGREEN SUITE 402
                                                                             CHICAGO, IL 60622




LOWMAN                               LOWMAN, GENEVA                          LOWMAN, SETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LOWMAN, SHAYNE                       LOWN, REBECCA                           LOWNDS, KYLE
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LOWNEY, ALECIA                       LOWRANCE, JORDAN                        LOWRANCE, LORI
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LOWRE, EILEEN                        LOWREY, AMY                             LOWREY, ERICA
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LOWREY, INGRID                       LOWREY, TARA                            LOWRIE, BRIANNE
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LOWRY, ADAM                          LOWRY, ALEXA T-LEX WC                   LOWRY, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LOWRY, BIANCA         Case 22-11238-LSS
                                     LOWRY, Doc 2 Filed 11/30/22
                                            CASEY                     Page 2970
                                                                           LOWRY,of 5495
                                                                                  CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWRY, DANIELLE                      LOWRY, KIMBERLY                       LOWRY, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOWRY, MARGO                         LOWRY, MARJORIE                       LOWRY, MORGAN
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LOWRY, NANCY                         LOWRY, RHONDA                         LOWTHER, CATHERINE
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LOWTHER, MEGHAN                      LOWY, MAXINE                          LOWZAN, ROMAN
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LOY, CAITLYN                         LOY, CRICKET                          LOY, HEATHER
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LOY, KARRI                           LOY, MATTHEW                          LOY, MEGHAN
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LOY, SARA                            LOYA, CAROLE                          LOYA, CAROLINA
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LOYA, ELIDA                          LOYA, JOANNA                          LOYA, REYNALDO
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LOYAL, LAURIE                        LOYALL, PAMELA                        LOYD, GAYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOYD, JAQUELIN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LOYD, JENNIFER                   Page 2971   of 5495
                                                                           LOYD, KEITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOYD, LATOYA                         LOYD, LIBBY                           LOYD, MARTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOYD, MELISSA                        LOYD, NICOLE                          LOYD, WESTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOYE, RACHEL                         LOYKE, DANIEL                         LOYOLA, ROSARIO
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LOZA, ELIZABETH                      LOZADA, ADOLFO                        LOZADA, PATRICK
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LOZADA, TAHISHA                      LOZADA-OLIVA, MELISSA                 LOZANO, AALIYANA
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LOZANO, ANGELICA                     LOZANO, ANGIE                         LOZANO, DAREK
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LOZANO, ELISA D.                     LOZANO, GERA                          LOZANO, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOZANO, JASMINE                      LOZANO, JASMINE                       LOZANO, KANDICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOZANO, LORRAINE                     LOZANO, SARAH                         LOZANO, TRISTA
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LOZINA, MACKENZIE     Case 22-11238-LSS     Doc
                                     LOZINSKI,    2 Filed 11/30/22
                                               HANNAH                 Page 2972 ofJAZMIN
                                                                           LOZOYA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LOZUPONE, ALYSSA                     LOZZI, CAROLINE                       LPALMA, MARIBE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LPL FIN CORP (0075)                  LRHAZI, MOHAMED                       LU, FRANCES
ATTN CORPORATE ACTIONS               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
1055 LPL WAY
FORT MILL, SC 29715




LU, HARRY                            LU, JENNIFER                          LU, JIAXI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LU, KAYCEE                           LU, PING                              LU, SANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LU, SHA                              LU, SHIRLEY                           LU, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LU, XIAO YANG                        LU, YUAN                              LUA, SALVADOR
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LUALLEN, GEORGE WILLIAM              LUAN NGUYEN TRACHTMAN                 LUANGRATH, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUANGRATH, TONY                      LUANNE MARTIN                         LUAR, KEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUARASI, K                           LUBANSKY, ELIZABETH                   LUBAS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUBBEN, JALYN         Case 22-11238-LSS
                                     LUBBEN,Doc  2 Filed 11/30/22
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                                                                           LUBBERS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBBERS, MARY                        LUBECK, AMANDA                        LUBELCHEK, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBENKOV, BYRON                      LUBER, DONALD                         LUBERDA, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBERTO, JORDAN                      LUBIC, JONATHAN                       LUBIN, HARRISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBIN, REBECCA                       LUBIN-LEVY, DANIELLE                  LUBINSKI, NICHOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBINSKI, STEVEN                     LUBIS, JEAN                           LUBIS, MILLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBITZ, ERIN                         LUBKE, ALLISON                        LUBKEMAN, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBLIN, ALEXANDRA                    LUBLINK, KEN                          LUBOFF, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBOW, LESLIE                        LUBOWITZ, LAURIE                      LUBOYESKI, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUBRANI, HEIDI                       LUBRANO, ANTONIA                      LUBS, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUBURIC, KATE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUBY, AMANDA                     Page 2974   of 5495
                                                                           LUBY, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCA, ANNE                           LUCANDER, KATE                        LUCARELLI, ENZO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCARELLI, JOSEPH                    LUCARELLI, MICHAEL                    LUCARELLI, SYLVAIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS AND LEWELLEN VINEYARDS INC     LUCAS J BOLAR                         LUCAS SOUCY
1645 COPENHAGEN DR.                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SOLVANG, CA 93463




LUCAS, APRIL                         LUCAS, ASHLEY                         LUCAS, AVERY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS, CAREY                         LUCAS, CARMEN                         LUCAS, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS, CHRISTINE                     LUCAS, COLEEN                         LUCAS, DAMARIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS, DANA                          LUCAS, DANIEL                         LUCAS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS, DEBBIE                        LUCAS, DESPINA                        LUCAS, ED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS, ELSA                          LUCAS, GREG                           LUCAS, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUCAS, JENNIFER       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUCAS, JESSICA                   Page 2975
                                                                           LUCAS, of
                                                                                  JOE5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS, KAREN                         LUCAS, KATIE                          LUCAS, KAYLA
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LUCAS, KENDRA                        LUCAS, KRISTA                         LUCAS, LAURA
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LUCAS, LISA                          LUCAS, LORI                           LUCAS, MADISON
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LUCAS, MARY                          LUCAS, MEG                            LUCAS, MICHAEL
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LUCAS, MICHELLE                      LUCAS, MONICA                         LUCAS, NATALIE
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LUCAS, REGINA                        LUCAS, ROSA                           LUCAS, SARAH
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LUCAS, SONIA                         LUCAS, TEENEAR                        LUCAS, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS, TIMOTHY                       LUCAS, ZACH                           LUCAS/CO WALGREENS, CECILIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCAS-WENDEROTH, KIM                 LUCCA, ADRIA                          LUCCA, ERIKA
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LUCCA, MACKENZIE      Case 22-11238-LSS    DocMARIA
                                     LUCCHESE,  2 Filed 11/30/22      Page 2976 of 5495
                                                                           LUCCHESE, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCCHESE, NICOLE                     LUCCI, AMANDA                         LUCCI, MELISSA
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LUCCIOLA, MICHAEL                    LUCE, ABRA                            LUCE, CATHY
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LUCE, KELSIE                         LUCE, KEVIN                           LUCE, STACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCE-DELEON, ROSE                    LUCENA, IZABELE                       LUCENTE, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCERO, AILEN                        LUCERO, CHARLOTTE                     LUCERO, COREY
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LUCERO, DENISE                       LUCERO, IRENE NICOLE                  LUCERO, JENNIFER
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LUCERO, JOHN                         LUCERO, MELANIE                       LUCERO, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUCERO, NICOLE                       LUCERO, TERI                          LUCERO, TORI
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LUCERO, VANESSA                      LUCEY, MIA                            LUCHERK, LONI
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LUCHMUN, RACHEL       Case 22-11238-LSS    DocLINDY
                                     LUCHOWSKI, 2 Filed 11/30/22        Page 2977  of 5495
                                                                             LUCHSINGER, JILLIAN
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LUCHSINGER, JON                      LUCIA CAROLINA PERPETUO GONZALEZ         LUCIA, BRANDON
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LUCIA, JOEL                          LUCIANI, AMBER                           LUCIANI, DONNA
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LUCIANI, JENSEN                      LUCIANI, STEPHEN                         LUCIANO, ALEX
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LUCIANO, ANTHONY                     LUCIANO, GINA                            LUCIANO, HECTOR
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LUCIANO, JENNIFER                    LUCIANO, JUDITH                          LUCIANO, KAT
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LUCIANO, MARKISHA                    LUCIANO, MICHAEL                         LUCIANOO, TONI
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LUCIBELLO, NINA                      LUCID SOFTWARE INC.                      LUCIDCHART LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




LUCIDO, BARBARA                      LUCIER, CLAUDINE                         LUCIER, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




LUCINI, CHRISTINA                    LUCIO, BRITTANI                          LUCIUS, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LUCIUS, TERRELL       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUCK, JASMINE                           Page 2978   of 5495
                                                                                  LUCK, JULIE
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LUCK, MEGHAN                            LUCK, STEPHEN                             LUCKE, KELCIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LUCKE, ROBERT                           LUCKETTE, RACHEL                          LUCKEY, BRANDY
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LUCKEY, DANA                            LUCKEY, SHANNON                           LUCKI, KAROLINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LUCKOSKI, MARTIN                        LUCKY PEACH LLC                           LUCKY PEACH LLC
ADDRESS AVAILABLE UPON REQUEST          128 LAFAYETTE STREET, SUITE 3B/302        C/O MOMOFUKU
                                        NEW YORK, NY 10013                        60 E. 11TH ST., 5TH FLOOR
                                                                                  NEW YORK, NY 10003




LUCKY STRIKE                            LUCKY, JUDY                               LUCKYORANGE (VARIABLE)
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST            ADDRESS UNAVAILABLE AT TIME OF FILING




LUCORD, KARA                            LUCORD, MITCHELL                          LUCRETIA SILCOX
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LUCY MCGRATH                            LUCY, JUICY                               LUCY, MARIA
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LUCZAK, BETSY                           LUCZAK, CHERYL                            LUDDEN, CLAUDIA
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LUDDY, MAXX                             LUDEMAN, BRITTANY                         LUDEMAN, JENNA
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LUDEMANN, ROBERT      Case 22-11238-LSS     Doc
                                     LUDIKER,     2 Filed 11/30/22
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                                                                           LUDKE, of 5495
                                                                                  SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUDLAM, JOHN                         LUDLAM, MELISSA                       LUDLOW, AUDRA
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LUDLOW, KELLY                        LUDOWESE, MACKENZIE                   LUDTKE, ALEXIS
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LUDWICK, AMIE                        LUDWIG, ANNETTE                       LUDWIG, CONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUDWIG, DOMINIQUE                    LUDWIG, ERIC                          LUDWIG, JACK
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LUDWIG, JESSICA                      LUDWIG, JILLIAN                       LUDWIG, JOYCE
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LUDWIG, KASI                         LUDWIG, KATELYN                       LUDWIG, LINDSEY
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LUDWIG, MATT                         LUDWIG, NANCY                         LUDWIG, NICOLE
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LUDWIG, PAULA                        LUDWIG, RONALD                        LUDWIGSON, BRIAN
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LUDWINSKI, ELIZABETH                 LUDWINSKI, PAMELA                     LUDZIESKI, JORDAN
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LUE, JENNIFER         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LUE, NIKOLAI                     Page 2980  of 5495CAROL
                                                                           LUEBBEHUSEN,
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LUEBBERING, REN                      LUEBKE, PETER                         LUEBKER, DIANN
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LUECHAUER, ASHLEY                    LUECK, CASSIDY                        LUECK, PATRICIA
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LUECKE, JESSICA                      LUEDEMANN, COURTNEY                   LUEDERS, SUSAN
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LUEDKE, MICHAEL                      LUEDTKE, MICHELLE                     LUEDY, KURT
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LUEHRS, ALLISON                      LUEKEN, KRISTIN                       LUENGAS, LAURA
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LUERS, MALLORY                       LUETH, TARA                           LUEVANO, HECTOR
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LUFF, PAULA                          LUFF, PAULA                           LUFT, DEBRA
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LUFT, MEGAN                          LUFT, THOMAS                          LUGASY, MAYA
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LUGER, MANUELA                       LUGG, AMANDA                          LUGINBUHL BURKHOLDER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUGO TAYLOR, NYRIA    Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUGO, ALEXA                      Page 2981  of 5495
                                                                           LUGO, DEBRA
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LUGO, ERIC                           LUGO, GABBY                           LUGO, JANELLE
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LUGO, JANETT                         LUGO, KIMBERLY                        LUGO, KRISTEL
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LUGO, LUCY                           LUGO, MICHELLE                        LUGONES, ELIZABETH
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LUHMAN, DAN                          LUHMAN, STACY                         LUHRS, AIMEE
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LUHRS, SUSAN                         LUI, KYRA                             LUI, MICHELLE
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LUICHINGER, ERICH                    LUIGI NUNEZ                           LUIGS, STEPHANIE
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LUIPERSBECK, TIM                     LUIS A DIAZ                           LUIS G DE SILVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUIS IZQUIERDO                       LUIS PEREZ                            LUIS ROGELIO SOLTERO CASELLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUIS, BIANCA                         LUIS, LIN                             LUISANA BAIRES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUISI, ALEX           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LUISO, KRISTEN                   Page 2982    of 5495
                                                                           LUIZ, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUIZ, LAUREN                         LUIZE, ANELISE                         LUIZZA, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUJAMBIO, GABRIEL                    LUJAN, CHRISTINA                       LUJAN, JOLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUJAN, JOSEPH                        LUJAN, KELLY                           LUJAN, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUKAC, JENNY                         LUKACH, CJ                             LUKARZHEVSKAYA, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUKAS DJUANDA                        LUKAS ORTNER                           LUKAS SOLTYSIK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUKAS, AMANDA                        LUKAS, ANDREW                          LUKAS, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUKAS, MICHAEL                       LUKAS, Q.                              LUKAS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUKASHEWICH, TERRI                   LUKASIK, LAUREN                        LUKASZ SOKOL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUKASZEWICZ, DEBRA                   LUKATIA PHILIZAIRE                     LUKE ANDREW SURAK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LUKE CHOICE          Case 22-11238-LSS     Doc 2 PURDY
                                    LUKE JONATHAN Filed 11/30/22     Page 2983  of 5495
                                                                          LUKE RODGERS
634 E 14TH ST 1                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10009




LUKE WESSMAN                        LUKE WILLIAM HEDMAN                   LUKE, BRIAN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUKE, DANIELLE                      LUKE, HOLLY                           LUKE, KYLE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUKE, RAYMOND                       LUKE, WARREN                          LUKEN, BONNIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUKEN, ELLEN                        LUKEN, SALLY                          LUKEN, TARYN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUKERRA LUCK                        LUKES, MARIE                          LUKESKI, MARY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUKIN, LAURAH                       LUKINS, KRYSTAL                       LUKITSCH, THERESA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUKOSAVICH, NELL                    LUKOSE, LIJO                          LUKOVENKO, DMITRY
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LUKOWSKI, CARI                      LUKRALLE, SARA                        LUKSIK, HOLLIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUKSIS, ELAYNA                      LUKSZA, RYAN                          LULAFIT INC.
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        730 NORTH FRANKLIN STREET, STE 450
                                                                          CHICAGO, IL 60654
LULEJIAN, ARMINE      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LULLA, NATASHA                      Page 2984
                                                                              LULLO, of 5495
                                                                                     MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




LULULEMON                               LUM, KATHY                             LUM, ROSA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUM, VICTOR                             LUMAGHI, ALEX                          LUMAGHI, TARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUMB, RAYMOND                           LUMBY, PATTY                           LUMI INC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         3828 S SANTA FE AVE
                                                                               VERNON, CA 90058




LUMKONG, JENNIFER                       LUMLEY, DEBRA                          LUMPKIN, CAROLITA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUMPKIN, CHRISTOPHER                    LUMPKIN, JENNIFER                      LUMPKIN, MELISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUMPKIN, TONETTE                        LUMPKINS, JENNIFER                     LUMPKINS, KRISTEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




LUNA BECK                               LUNA PESTEL, MICHELLE                  LUNA RED
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




LUNA, ABIGAIL                           LUNA, ALEJANDRA                        LUNA, ALEJANDRA
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LUNA, ALEXIS                            LUNA, AMANDA                           LUNA, BOBBI
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LUNA, CHRISTINA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUNA, CRYSTAL                    Page 2985   of 5495
                                                                           LUNA, DANIELLE
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LUNA, DAVID                          LUNA, DAWNMARIE                       LUNA, JACQUELINE
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LUNA, JESSICA                        LUNA, JO ANN                          LUNA, JUSTINE
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LUNA, KORY                           LUNA, LEIGH                           LUNA, LILI
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LUNA, LORENA                         LUNA, MARIA                           LUNA, MARISA
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LUNA, MEGAN                          LUNA, VICKI                           LUNA-DOVE, ASHLEY
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LUNATO, IZABELLA                     LUND, BRANDI                          LUND, DAVID
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LUND, GINA                           LUND, JANET                           LUND, JON
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LUND, JORDAN                         LUND, KARLA                           LUND, KATE
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LUND, MARY                           LUND, PATRICK                         LUND, SHUA
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LUNDAHL, JENNY        Case 22-11238-LSS
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                                                                           LUNDAY, 5495
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LUNDBERG, BARRY                      LUNDBERG, DYANN                       LUNDBERG, HEATHER
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LUNDBERG, LIZ                        LUNDBERG, REBECCA                     LUNDBERG, SAMANTHA
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LUNDBERG, TROY                       LUNDBERG, TRUDY                       LUNDBLAD, TORI
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LUNDBURG, ELIZABETH                  LUNDE, ALEX                           LUNDE, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNDE, JORDAN                        LUNDE, SUSANNE                        LUNDEEN, KARA
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LUNDEEN, KATHRYN                     LUNDEEN, MATTHEW                      LUNDELL, DEBORAH
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LUNDEN, JOSH                         LUNDER, MADELYN                       LUNDERBY, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNDGREN, JENNIFER                   LUNDGREN, KRISTA                      LUNDGREN, MICK
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LUNDGREN, STEPHANIE                  LUNDIN, MIA                           LUNDIN, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUNDINA, ALEKSANDRA   Case 22-11238-LSS     Doc
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                                                                           LUNDRY, 5495
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LUNDSTROM, HEIDI                     LUNDSTROM, JENNA                      LUNDSTROM, KENDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNDSTROM, PAMELA                    LUNDT, CHRISTOPHER                    LUNDY, ADRIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNDY, CATHERINE                     LUNDY, DAWN                           LUNDY, ISABEL
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LUNDY, JEFF                          LUNDY, JULIA                          LUNDY, SYDNIE
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LUNDY, TARA                          LUNDY, TAYLOR                         LUNGARO, GAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNGER, RICHARD                      LUNGHI, RACHAEL                       LUNGREN, ANNGELIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNIK, THOMAS                        LUNN, CASEY                           LUNN, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNN, MICHELLE                       LUNN, NATHAN                          LUNN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNNEN, CRISTINA                     LUNNEY, MICHAEL                       LUNNIE, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUNSFORD, DANIEL      Case 22-11238-LSS    DocHOLDEN
                                     LUNSFORD,  2 Filed 11/30/22      Page 2988  of 5495
                                                                           LUNSFORD, TIMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNSTAD, ANNIKA                      LUNT, KAREN                           LUNT, NICHOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUNT, SARA                           LUNZ, JOYCE                           LUO, JIEFU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUO, KERU                            LUO, WYLIE                            LUO, ZHAO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUOMA, MARISSA                       LUONG, EMY                            LUONG, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUONGO, NATALIE                      LUONGO, PHIL                          LUPCHO, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUPER, JOHANNA                       LUPERCIO, MARGARET                    LUPFER, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUPI, CAMILA                         LUPI, DAWN                            LUPIANI, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUPICA, ANNA                         LUPICA, CHARLES                       LUPINACCI, GAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUPINO, LINDSEY                      LUPO, AMBER                           LUPO, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUPO, ASHLEY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUPO, JOANNA                     Page 2989  of 5495
                                                                           LUPO, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUPO, SAM                            LUPO, TERRY                           LUPO, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUPO, TOM                            LUPOLD, NATHAN                        LUPOLD, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUPPINO, CELESTE                     LUPTON, ARIEL                         LUPTON, CHASTITY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUPTON, CHRISTINA                    LUQUETTE, MANDY                       LURE FISHBAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




LURIA, MARK                          LURIE, JANE                           LURIE, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LURIE, SHARI                         LUSAJO MWASAMBILI                     LUSARDI, ARIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUSCHER, TERRY                       LUSE, WILLIAM                         LUSENII KROMAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUSHBOUGH, CAROLINE                  LUSHEAR, BRIAN                        LUSHER, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUSHMAN, JILLIAN                     LUSICH, MACKENZIE                     LUSK, JORDANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUSK, JULIE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUSK, LORI                       Page 2990   of 5495
                                                                           LUSK, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUSKEY, NINA                         LUSKIN, CURRAN                        LUSKIN, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUSSIER, JOANNE                      LUSSIER, SARAH                        LUST, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUSTIG, AARON                        LUSTIG, EMILY                         LUSTIG, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUSTY, ANNE                          LUSZCZ, DESIREE                       LUTCHER, KALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTES, HILLARY                       LUTES, HOLLY                          LUTES, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTGENNIEVES, LAURA LOUISE           LUTHE, FRANCIS                        LUTHER D OCHILTREE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTHER, AARON                        LUTHER, ALEXANDRA                     LUTHER, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTHER, COSIMA                       LUTHER, GAIL                          LUTHER, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTHER, SARAH                        LUTHER, YASAMAN                       LUTHER, YOSIRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUTHY, AMBER          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUTHY, ANDREA                    Page 2991
                                                                           LUTHY, of 5495
                                                                                  TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTINSKI, MARIA                      LUTJE, DAKOATA                        LUTKENHOUSE, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTOMSKI, AARON                      LUTOSTANSKI, TAYLOR                   LUTTER, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTTMER, WILLIAM S                   LUTTNER, PAMELA                       LUTTRELL, CORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTTRELL, JO                         LUTTRELL, MADELINE                    LUTTRELL, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTTRELL, NATALIE                    LUTWIN, ANDREW                        LUTZ, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTZ, ALICIA                         LUTZ, ANNE                            LUTZ, CIARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTZ, CLAUDIA                        LUTZ, DAVID                           LUTZ, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUTZ, ELLEN                          LUTZ, EMMA                            LUTZ, ILEANA
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LUTZ, JENNIFER                       LUTZ, KAREN                           LUTZ, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LUTZ, LARA            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LUTZ, LUCIA                        Page 2992   of 5495
                                                                             LUTZ, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LUTZ, SHELLY                         LUTZ, SUSAN                             LUTZ, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LUTZ, TONI                           LUTZ, ZOE                               LUTZENKIRCHEN, ABBY
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LUTZKE, JUDY                         LUU, CINDY                              LUU, KY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LUU, SANG                            LUUKKO, DANA                            LUURTSEMA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LUV MWA, SEAKAAH                     LUVIANO, NIKKI                          LUVIN, MARYELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LUVIN, MATT                          LUX, CAITLYN                            LUX, IZAAK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LUXENBERG, STEPHANIE                 LUXURY LINK                             LUZ V LOPEZ
ADDRESS AVAILABLE UPON REQUEST       2307 WEST BROWARD BLVD., STE 400        ADDRESS AVAILABLE UPON REQUEST
                                     FORT LAUDERDALE, FL 33312




LUZ, BRIAN                           LUZ, JULIA                              LUZAICH, SHELLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LUZAMA, RENAY                        LUZARDO, JESUS                          LUZDIVINA VINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LUZE, BETH            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LUZE, MEREDITH                   Page 2993
                                                                           LUZIER,of 5495
                                                                                   KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUZINS, CASEY                        LUZIUS, NANCY                         LUZURIAGA, MARIA GRACIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LUZZI, ANA                           LUZZI, ERICA                          LUZZI, GINA
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LVOVSKY, ILYA                        LY, BRIAN                             LY, ESTHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LY, GREGORY                          LY, JEAN                              LY, MABEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LY, MINH                             LY, THUY                              LYAKHOVICH, LEONID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYALL, HERLETTA                      LYALL, JANET                          LYALL, VANESSA
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LYAUNZON, YELENA                     LYBA, NICOLE                          LYBEER, AMANDA
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LYCHE, MONA                          LYDA, MARY                            LYDAY, CHELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYDAY, ROBIN                         LYDDON, SYDNEY                        LYDEN, BRENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LYDIA ARAUJO          Case 22-11238-LSS      DocMONSON
                                     LYDIA JEAN  2 Filed 11/30/22       Page 2994   of 5495
                                                                             LYDIA YOUNG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LYDIARD, JESSICA                     LYDIC, MADISON                          LYDICK, KERB
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LYDON, KATY                          LYDON, RACHEL                           LYDON, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LYDON, THOMAS                        LYELL, CAROLINE                         LYELL-LARSEN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LYERLY, BRENDA                       LYFE KITCHEN                            LYFORD, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




LYFORD, KAILEY                       LYFT, INC.                              LYK, RYAN
ADDRESS AVAILABLE UPON REQUEST       185 BERRY ST. STE 5000                  ADDRESS AVAILABLE UPON REQUEST
                                     SAN FRANCISCO, CA 94107




LYKENS, ALEX                         LYKES, MORGAN                           LYLE PUFFE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LYLE, LANE                           LYLE, MAURA                             LYLE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LYLES, ASHLEY                        LYLES, KENITRA                          LYLES, LINETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




LYLES, LISA                          LYLES, QUENTON                          LYLES, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LYMAN E KING III      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LYMAN, ALESSANDRA                Page 2995
                                                                           LYMAN,of 5495
                                                                                 ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYMAN, GEORGIA                       LYMAN, JESSICA                        LYMAN, LESHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYMAN, LINDSAY                       LYN, AMY                              LYN, JENNIFER
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LYN, MISH                            LYN, SARAH                            LYNAM, DANIEL
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LYNAM, DENICE                        LYNAM, ROCHELLE                       LYNAR, TESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCE, PEYTON                        LYNCH, ALICIA                         LYNCH, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, ANA                           LYNCH, ANDREA                         LYNCH, ASHLEY
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LYNCH, BAILEY                        LYNCH, BILL                           LYNCH, BRIAN
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LYNCH, BRIAN                         LYNCH, BRIAN                          LYNCH, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, CASE                          LYNCH, CHELSEA                        LYNCH, CHINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LYNCH, CHRISTOPHER    Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LYNCH, CLAIRE                    Page 2996
                                                                           LYNCH,of 5495
                                                                                 CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, DANIEL                        LYNCH, DAWN                           LYNCH, DIANA
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LYNCH, DIANE                         LYNCH, DICK                           LYNCH, DON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, ELISA                         LYNCH, ELIZABETH                      LYNCH, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, HAZEL                         LYNCH, JACK                           LYNCH, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, JACLYN                        LYNCH, JACQUELINE                     LYNCH, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, JENNA                         LYNCH, JENNIFER                       LYNCH, JEREMIAH
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LYNCH, JESSICA                       LYNCH, JOCELYN                        LYNCH, JONIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, JUDITH                        LYNCH, KAREN                          LYNCH, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, KATHLEEN                      LYNCH, KAYLA                          LYNCH, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LYNCH, KELLY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LYNCH, KELSEY                    Page 2997
                                                                           LYNCH,of 5495
                                                                                 KENDYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, KIERSTEN                      LYNCH, KIM                            LYNCH, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, KRISTY                        LYNCH, LAPORSHA                       LYNCH, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, LIBBY                         LYNCH, MACKENZIE                      LYNCH, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, MARIA                         LYNCH, MARIANNE                       LYNCH, MARJORIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, MARK                          LYNCH, MARY ELLEN                     LYNCH, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, MARY                          LYNCH, MARY                           LYNCH, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, MEG                           LYNCH, MELANIE                        LYNCH, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, MELISSA                       LYNCH, MICHAEL                        LYNCH, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, PATRICIA                      LYNCH, RACHAEL                        LYNCH, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LYNCH, SHARON         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LYNCH, SHAWNA                    Page 2998
                                                                           LYNCH,of 5495
                                                                                 SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, SHERI                         LYNCH, STEPHANIE                      LYNCH, TERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH, THOMAS                        LYNCH, TORIE                          LYNCH, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNCH-COLLIER, CORMAC                LYNDA SULLIVAN                        LYNDGAARD, HALLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNDON, CARLENE                      LYNDON, SARAH                         LYNDSEY GEIGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNEA, MEAGAN                        LYNEIS, EMILY                         LYNES, CARSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNES, JOHN                          LYNESS, MARY DOTY                     LYNETTE F BROWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNG, NATALIE                        LYNGE, DAWN                           LYNK, KERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNLEE POSTON                        LYNN BARENDSEN                        LYNN C RASMUSSEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN CHRIST                          LYNN E MORSE                          LYNN EBERHART, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LYNN GARDNER          Case 22-11238-LSS     DocBRIAN
                                     LYNN M AND 2 Filed    11/30/22
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                                                                           LYNN SALAZAR,
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LYNN SANDS                           LYNN TOMS, MARY                       LYNN, ALISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, AMANDA                         LYNN, AMBER                           LYNN, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, ANDREA                         LYNN, ANGELICA                        LYNN, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, AUDREY                         LYNN, BRIANNA                         LYNN, BRIANNA
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LYNN, CASSIE                         LYNN, CHRISTA                         LYNN, COLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, COOPER                         LYNN, DEBBIE                          LYNN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, HEATHER                        LYNN, JACK                            LYNN, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, JEFFREY                        LYNN, JEFFREY                         LYNN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, JENNIFER                       LYNN, JO                              LYNN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LYNN, KATHRYN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LYNN, KELLY                      Page 3000   of 5495
                                                                           LYNN, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, KIAIRA                         LYNN, KIMBERLY                        LYNN, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, MARYBETH                       LYNN, MEG                             LYNN, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, MICHELLE                       LYNN, RYAN                            LYNN, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNN, SUZANNE                        LYNN, TOMMY                           LYNNAYA BJORKMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNNE DAVIS (IMC, INC.)              LYNNE HAUSMANN, LYNNE                 LYNNE Z DRESSEN
1500 ROSECRANS AVENUE, 500           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MANHATTAN BEACH, CA 90266




LYNOTT, KAREN                        LYNSKEY, JULIE                        LYNSKEY, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYNTHOMPSON, JAIME                   LYON, AMY                             LYON, ANSLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYON, ASHLEY                         LYON, BRITTANY                        LYON, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYON, GENA                           LYON, JULENE                          LYON, KATRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LYON, KIM             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LYON, LAURIE                     Page 3001  of 5495
                                                                           LYON, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYON, MARY                           LYON, MORRIS                          LYON, RAMONA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYON, REBECCA                        LYON, SAM                             LYON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYON, SARAH                          LYONS, 43 HORSESHOE CANYON            LYONS, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, ANNE                          LYONS, ANTONIA                        LYONS, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, CAROLANNE                     LYONS, CHRISSY                        LYONS, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, CYNTHIA                       LYONS, CYNTHIA                        LYONS, DANIELLE
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LYONS, DANIELLE                      LYONS, DARLENE                        LYONS, DEBORAH
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LYONS, DEBORAH                       LYONS, DENISE                         LYONS, EDDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, ELIZABETH                     LYONS, ELIZABETH                      LYONS, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LYONS, ERIC           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LYONS, ERIN                      Page 3002
                                                                           LYONS,of 5495
                                                                                 GARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, GINA                          LYONS, HANNAH                         LYONS, HOPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, JANA                          LYONS, JANEAL                         LYONS, JANELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, JENNA                         LYONS, JOANNA                         LYONS, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, KATHERINE                     LYONS, KAYLIE                         LYONS, KEITH
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LYONS, KEVIN                         LYONS, KIM                            LYONS, LAUREN
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LYONS, MARIA                         LYONS, MARY                           LYONS, MD
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LYONS, MEREDYTH                      LYONS, MICHAEL                        LYONS, MICHELLE
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LYONS, MORGAN                        LYONS, PATRICIA                       LYONS, RACHEL
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LYONS, ROBERT                        LYONS, RUSSELL                        LYONS, SARAH
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LYONS, SEAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     LYONS, SHANNON                   Page 3003
                                                                           LYONS,of 5495
                                                                                 SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




LYONS, SUSAN                         LYONS, TERESA                         LYONS, TERRI
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LYONS, TINA                          LYONSREILLY, WENDY                    LYSAK, EUGENE
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LYSAK, GENIA                         LYSAK, SUZANNE                        LYSEIGHT, ANTOINE
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LYSEN, REBECCA                       LYSFORD, GARRETT                      LYSIAK, PAXIE
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LYSS, ROBERT                         LYSTER, CATHERINE                     LYSTER, LUKE
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LYSTNE, SKYLAR                       LYSUN, CHRISTINA                      LYTE, LESLIE
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LYTELL, CANDACE                      LYTH, TEENA                           LYTLE, ASHLEY FREEMAN
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LYTLE, ASHLEY                        LYTLE, BRITTANY                       LYTLE, DARRYL
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LYTLE, ELIZABETH                     LYTLE, JUDY                           LYTLE, LAUREN
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LYTLE, ROSEMARY       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     LYTLE, SIENNA                       Page 3004   of 5495
                                                                              LYTLE, TIFFANY
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LYTTLE, MELISSA                         LYU, ANDREW                           LYU, ZIEN
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LYUBARSKAJA, ANNA                       LYWEN-DILL, JASMINE                   LYYTINEN, TERRI
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LYZEN, JENNIFER                         M BARRERA SALAZAR, LENNYS             M BASTEN, ALEC
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M BOESKEN, STEPHANIE                    M BOSWELL, JESSICA                    M BUSCH, ANDREA
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M CAFE                                  M CECCARELLI, PETER                   M CIANFLONE, COLLEEN
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M CONNOLLY, BRIAN                       M FAFEJTA, AMANDA                     M FAIMON, KRISTINA
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M FORBES, MARGARET                      M FOX, LAUREN                         M GANNAWAY, JENNA
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M GEERS, CECILIA                        M GERLACH, JOY                        M GILLIGAN, ANNA
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M GIORDANO, KATHLEEN                    M GUZMAN, NANCY                       M HALLBERG, MOLLY
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M HOLT, MELISSA       Case 22-11238-LSS     DocKRISTINE
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M LEGER, DIANE                          M LI, ELIZA                           M LOVELACE, LEAH
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M MARCELO, VIRTER                       M MARSH, SUSAN                        M MASON, STEPHANIE
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M MAYOR, MELANIE                        M MUHAMMAD, AMIRAH                    M MULDER, CONDETIA
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M NIEWODOWSKI, REGINA                   M NOWAK, TIMOTHY                      M NYGAARD, AMBER
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M PORTER, EVAN                          M POWER ENTERPRISES                   M PRIMROSE, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST          1779 HAULTAIN STREET                  ADDRESS AVAILABLE UPON REQUEST
                                        VICTORIA, BC, CA V8R2L1




M ROSENBERG, TODD                       M SASSAMAN, DEBRA                     M SMITH, CHRISTINE
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M SMITH, KAREN                          M SOUSA, JENNIFER                     M STONELAKE, KATIE
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M STREET KITCHEN                        M TAYLOR, DAVID                       M THOMAS, ASHLEY
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M WOLF, RAMONA                          M WRIGHT, GARRON                      M, A
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M, A                  Case 22-11238-LSS
                                     M, ADAMDoc 2    Filed 11/30/22   Page 3006   of 5495
                                                                           M, AIMEE
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M, AIMEE                             M, ALYSSA                             M, AMY
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M, AMY                               M, ANTHONY                            M, AURIA
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M, BARB                              M, BRIT                               M, BRITTANY
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M, CHARLOTTE                         M, CHRISTINA                          M, COLIN
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M, COURTNEY                          M, DANIELLE                           M, DAVID
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M, EAGHAN                            M, EILEEN                             M, ELISA
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M, ELIZABETH                         M, GABRIELLE                          M, GRACE
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M, HEATHER                           M, HEATHER                            M, HEATHER
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M, ICHELLE                           M, ICHELLE                            M, JENNA
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M, JENNIFER           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     M, JENNIFER                      Page 3007   of 5495
                                                                           M, KALIE
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M, KATHLEEN                          M, KELLY                              M, KIMBERLY
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M, KRISTEL                           M, KRISTIN                            M, LACEY
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M, LIANA                             M, LYNDSEY                            M, MISSY
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M, NICOLE                            M, NICOLE                             M, PATRICIA
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M, PATRICIA                          M, PAUL                               M, PS
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M, RENETTE                           M, SABRINA                            M, SARA
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M, SARAH                             M, STEVE                              M, SUSAN
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M, TERI                              M, VALERIE                            M. BETTES, ROBYN
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M. FURLONG, ARDON CREEK WINERY       M. PASCONE, PATRICIA                  M., AMANDA
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M., BRIAN             Case 22-11238-LSS
                                     M., ERINDoc 2   Filed 11/30/22   Page 3008
                                                                           M., GINAof 5495
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M., PAUL                             M., VINCE                              M.A. SILVA CORKS USA LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         3433 WESTWIND BLVD
                                                                            SANTA ROSA, CA 95403




MA ABCC                              MA CHER (USA) INC                      MA CHER
95 FOURTH STREET, SUITE 3            1518 ABBOT KINNEY                      1518 ABBOT KINNEY BLVD
CHELSEA, MA 02150-2358               VENICE, CA 90291                       VENICE, CA 90291




MA DEPT OF REVENUE                   MA, CHIN                               MA, CHRISTINA
1 FEDERAL ST BUILDING 103-2          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SPRINGFIELD, MA 01105




MA, DAGHOO                           MA, ELIA                               MA, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MA, HANS                             MA, IRIS                               MA, JACQUELINE
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MA, KEITH                            MA, KEVIN                              MA, MICHAEL
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MA, PUI                              MA, RUIYANG                            MA, SEAN
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MA, TINGWEI                          MA, VIVINA                             MA, YUANMING
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MA. OFFICE OF CONSUMER AFFAIRS       MAA, MANVI                             MAAG, ANNAMARIE
AND BUSINESS REGULATION              ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
10 PARK PLAZA STE 5170
BOSTON, MA 02116
MAALA, JENNIFER       Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MAANI, MICHELLE                      MAARGEL PARTNERS LLC DBA NECTAVE        MAARTINEZ, EVARISTO
ADDRESS AVAILABLE UPON REQUEST       6700 CABALLERO BLVD.                    ADDRESS AVAILABLE UPON REQUEST
                                     BUENA PARK, CA 90620




MAAS, CAITLIN                        MAAS, CASSANDRA                         MAAS, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MAAS, JULIE                          MAAS, JUSTIN                            MAAS, RYAN
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MAAS, TORI                           MAASEN, SHAYLA                          MAASKE, DANIEL
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MAASS, KATIE                         MAASS, MOLLY                            MABBITT, DEANA
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MABE, BUCKY                          MABE, KATE                              MABE, SHERZOD
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MABEE, MELANIE                       MABEN, KATE                             MABERRY, DUSTIN
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MABERRY, JACQUELINE                  MABERRY, LINDA                          MABERRY, MORGAN
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MABERRY, SHANDA                      MABEY, ANNTONETTE                       MABEY, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MABEY, KRYSTAL        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     MABIE, DAYNA                     Page 3010
                                                                           MABIE, of 5495
                                                                                  DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MABILOG, KEANA                       MABLE, CHRISTINE                      MABRA, ARIANA
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MABREY, AMANDA                       MABREY, RAYMOND                       MABRY, BETHELYN
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MABRY, HOPE                          MABRY, KAT                            MABRY, WILL
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MAC DONELL, HAYLE                    MAC, CRYSTAL                          MAC, IVY
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MAC, JONATHAN                        MAC, JULIE                            MACAARON, DAVID
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MACABASCO, ELARA                     MACADAAN, DUSTIN                      MACADAM, VANESSA
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MACADAMS, ELIE                       MACAGNEY, AIMEE                       MACAGNONE, GABRIELLE
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MACAKANJA, KATIE                     MACALISTER, KIMBERLY                  MACALUSO, ADRIENNE
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MACALUSO, BRENNAN                    MACAPAGAL, BRIDGETTE                  MACARONI KID, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 22
                                                                           BRIDGEHAMPTON, NY 11932
MACARTHUR, JENNY      Case 22-11238-LSS    Doc NICOLE
                                     MACARTHUR, 2 Filed 11/30/22      Page 3011 of 5495
                                                                           MACARTHUR, REBEKAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MACARTHUR, TRACY                     MACAS, RIZZA                          MACASEK, MICHELE
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MACASKILL, BEN                       MACATANGAY, GABRIELLE                 MACATO, AILEEN
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MACAUDA, ALEXANDRA                   MACAULEY, WANDA                       MACAW
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MACAYEAL, TAYLER                     MACBRIDE, ALLISON                     MACCABE, BRAD
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MACCALLAN, TAMAR                     MACCALLUM, LAUREN                     MACCARROLL, DEBBIE
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MACCARTHY, JACK                      MACCAULEY, JOHN                       MACCHESNEY, SHELLEY
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MACCHI, MICHELLE                     MACCHIAROLI, MELINDA                  MACCHIO, KRYSTLE
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MACCHIONE, JODI                      MACCHIONE, JOHN-SARAH                 MACCIA, CHRISTINE
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MACCONAGHY, TIMOTHY                  MACCONNELL, ALLISON                   MACCONNELL, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MACCORKLE, SARA       Case 22-11238-LSS    Doc 2 ALLISON
                                     MACCOURTNEY,    Filed 11/30/22   Page 3012 of 5495
                                                                           MACCRACKEN, MIKYLA
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MACCURTA, BREDA                      MACDONALD, ALICIA                     MACDONALD, AMY
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MACDONALD, BRYNN                     MACDONALD, CATRIONA                   MACDONALD, CHERYL
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MACDONALD, CHRYSTAL                  MACDONALD, COURTNEY                   MACDONALD, DANIEL
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MACDONALD, DAVID                     MACDONALD, DAVID                      MACDONALD, ELIZABETH
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MACDONALD, IAN                       MACDONALD, IAN                        MACDONALD, JAKE
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MACDONALD, JAMIE                     MACDONALD, JULIA                      MACDONALD, JULIANNE
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MACDONALD, KATELYN                   MACDONALD, KELLY                      MACDONALD, KRISTY
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MACDONALD, KYLEEN                    MACDONALD, LAUREN                     MACDONALD, MAGGIE
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MACDONALD, MEG                       MACDONALD, MEGHAN                     MACDONALD, MEGHAN
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MACDONALD, MEGHANN    Case 22-11238-LSS    Doc MEREDITH
                                     MACDONALD, 2 Filed 11/30/22      Page 3013 of 5495
                                                                           MACDONALD, MIKKI
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MACDONALD, MOLLY                     MACDONALD, MONICA                      MACDONALD, PAMELA
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MACDONALD, SALLIE                    MACDONALD, SCOTT & FELICIA             MACDONALD, SPENCER
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MACDONELL, CLARA                     MACDONELL, JAIME                       MACDOONALD, HEIDI
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MACDOUGALD, CONSUELO                 MACDOUGALL, JUDY                       MACDOUGALL, MEGAN
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MACDOUGALL, REBECCA                  MACDOWALL, MACKAYLA                    MACDOWALL, ROSS
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MACDOWELL, SKYELER                   MACE, FRANK                            MACE, LUCAS
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MACE, MAHAYLA                        MACE, SUZIE                            MACE, TAYLOR
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MACEDO, BELKYS                       MACEIL, SAMANTHA                       MACEL, CHARLIE
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MACER, DESIREE                       MACEWEN, WILLIAM                       MACEY, ALEXANDRA
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MACEY, HEATHER        Case 22-11238-LSS
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MACEY, NICOLE                        MACEY, PETER                          MACEY, SAMANTHA
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MACFADDEN, MEGHAN                    MACFARLANE, GREG                      MACFARLANE, JENNA
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MACFARLANE, MACKENZIE                MACFEE, KEGAN                         MACGAVIN, RYAN
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MACGIBBON, VANESSA                   MACGILLIS, ANN                        MACGILLIVRAY, CHRIS
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MACGILLIVRAY, KAELYN                 MACGILPIN, KATE                       MACGREGOR, BRITTANY
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MACGREGOR, CHRISTOPHER               MACGREGOR, HEATHER                    MACGREGOR, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MACGREGOR, PAUL                      MACH, KRISTY                          MACH, MICHAEL
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MACH, MOLLY                          MACH, VINCENT                         MACHA, LAVANYA
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MACHADO, ANTONIO                     MACHADO, CHRISTINA                    MACHADO, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MACHADO, DINA         Case 22-11238-LSS    Doc
                                     MACHADO,   2 Filed 11/30/22
                                              MORGAN                  Page 3015 of 5495
                                                                           MACHADO, NANCY
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MACHALEK, JOLANA                     MACHAN, AMANDA                        MACHCZYNSKI, KRISTEN
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MACHECA, ELIZABETH                   MACHECA, MARY KAY                     MACHEN, JASMINN
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MACHGAN, JEFFREY                     MACHIA, CASEY                         MACHICOTE, LUIS
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MACHIR, HALEY                        MACHISAK, RACHEL                      MACHNIK, KATIE
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MACHO, AMANDA                        MACHOLAN, KATIE                       MACHOLD, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MACHON, ALINA                        MACHON, KIM                           MACHTINGER, ELISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MACHUCA, SHEILA                      MACIA, VALERIE                        MACIAS, ANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MACIAS, ANGELA                       MACIAS, BENITA                        MACIAS, DEDE
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MACIAS, EDWARD                       MACIAS, KARISSA                       MACIAS, LISA
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MACIAS, MAYRA         Case 22-11238-LSS
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                                                                           MACIEJEWSKI, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MACIEJEWSKI, JIM                     MACIEJEWSKI, JOANN                     MACIEJEWSKI, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MACIEJEWSKI, MEGAN                   MACIEJEWSKI, WAYNE                     MACIEL, DENIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MACIEL, MARK                         MACIEUNAS, KELSEY                      MACINNES, ELYANA
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MACINNES, JAMES                      MACINTA, TIMOTHY                       MACINTIRE, MARY
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MACINTOSH, KATHLEEN                  MACINTOSH, MAC                         MACINTYRE, GINA
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MACINTYRE, MICHELLE                  MACIO, NICOLE                          MACIOCE, PATRICK & MICHELLE
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MACIOLEK, JERZY                      MACISAAC, KRISTIN                      MACISAAC, TRACI
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MACISAAC, WHITNEY                    MACISSO, ALLIE                         MACIUKIEWICZ, EWA
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MACIUSZEK, JOYCE                     MACK DILLER                            MACK POLLOCK, SHONA
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MACK, ALLISON         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MACK, ALYSSA                     Page 3017  of 5495
                                                                           MACK, AMBER
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MACK, CHELSEA                        MACK, ERIN                            MACK, FREDDI
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MACK, KATIE                          MACK, KAYLA                           MACK, KELLI
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MACK, KELLY                          MACK, KELLY                           MACK, KINSEY
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MACK, LATASHA                        MACK, LIZ                             MACK, LOTTIE
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MACK, MARCUS                         MACK, MARIA                           MACK, MELISSA
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MACK, MOLLY                          MACK, MOLLY                           MACK, NIAMBI
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MACK, PAMELA                         MACK, RACHEL                          MACK, SAMANTHA
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MACK, SHANNON                        MACK, SUSAN                           MACK, TEMPESTTE
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MACK, VERONICA                       MACK, WHITNEY                         MACKAY, AMY
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MACKAY, DOUGLAS       Case 22-11238-LSS
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                                                                           MACKAY, 5495
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MACKAY, IAN                          MACKAY, KEITH                         MACKAY, LAUREN
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MACKAY, MATTHIAS                     MACKAY, MEGAN                         MACKAY, MELANIE
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MACKAY, NAINA                        MACKAY, SEAN                          MACKAY, SHARRON
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MACKAY, STACEY                       MACKAY, STEPHANIE                     MACKAY, TAMAR
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MACKAY, TESS                         MACKE, KAELYN                         MACKE, KATIE
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MACKEL, ALLISON                      MACKELL, SARA                         MACKEN, KATE
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MACKENSEN, AMANDA                    MACKENSEN, KRISTINA                   MACKENZIE ALLULIS
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MACKENZIE K WEHRLI                   MACKENZIE PALMER                      MACKENZIE ROGERS
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MACKENZIE                            MACKENZIE, ALLI                       MACKENZIE, ANNISHA
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MACKENZIE, CLAUDIA    Case 22-11238-LSS    DocDEBRA
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                                                                           MACKENZIE, IAN
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MACKENZIE, KATHLEEN                  MACKENZIE, LAUREN                     MACKENZIE, LORI
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MACKENZIE, MAGGIE                    MACKENZIE, MARLYN                     MACKENZIE, MATTHEW
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MACKENZIE, ROB                       MACKENZIE, SAMANTHA                   MACKENZIE, SARAH
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MACKENZIE-OLSON, LILY                MACKERTY, ALLIE                       MACKESSY, CARLY
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MACKESSY, RICHARD                    MACKEY, ALISON                        MACKEY, AMANDA
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MACKEY, ANDREW                       MACKEY, ASHLEY                        MACKEY, AUBREE
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MACKEY, ELYSSA                       MACKEY, EMILY                         MACKEY, JANON
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MACKEY, JENNIFER                     MACKEY, JENNIFER                      MACKEY, JOE
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MACKEY, JULIA                        MACKEY, JUSTIN                        MACKEY, KELLY
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MACKEY, LAURA         Case 22-11238-LSS
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MACKEY, PATTI                        MACKEY, THOMAS                        MACKEY, ZAKIYA
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MACKIE, MARIA FERNANDA               MACKIE, SHANNON                       MACKIE, TOM
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MACKIN, CHRISTINE                    MACKIN, KIERA                         MACKINEN, ALLIX
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MACKINLAY, CAROLINA                  MACKINNON, CHELSEA                    MACKINNON, ELLEN
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MACKINNON, RENE                      MACKINTOSH, HUNTER                    MACKLIN, ALISSA
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MACKLIN, CHERYL                      MACKLIN, MARY                         MACKO, CAROL
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MACKOUL, JOSEPH                      MACKOW, ELIZABETH                     MACKOWSKI, PAMELA
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MACKPRANG, TERRY                     MACKSEY, SARAH                        MACKUNIS, RENEE
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MACLAREN, AMY                        MACLEAN, JASON                        MACLEAN, TAYLOR
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MACLELLAN, MEGHAN     Case 22-11238-LSS    DocPATRICK
                                     MACLELLAN, 2 Filed 11/30/22      Page 3021 of 5495
                                                                           MACLENNAN, GREGOR
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MACLENNAN, TARA                      MACLENNAN, TODD                       MACLEOD, CHARLES
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MACLEOD, DOUGLAS                     MACLEOD, DUNCAN                       MACLEOD, HEATHER
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MACLEOD, JASMINE                     MACLEOD, KAICY                        MACLEOD, KELLI
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MACLEOD, KENDRA                      MACLEOD, KRISTA                       MACLEOD, LEAH
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MACLEOD, MONTANA                     MACLEOD, SHIRLEY                      MACLEOD, SOPHIA S.
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MACLIN, KEVEN                        MACLIVELY, JEREMY                     MACLURE, PAIGE
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MACMAHON, AMBER                      MACMILLAN, BROOK                      MACMILLAN, COURTNEY
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MACMILLAN, GORDON                    MACMILLAN, KRISTIN                    MACMILLAN, SARAH
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MACMINN, COURTNEY                    MACMULLEN, DAWN                       MACMULLETT, KEVIN
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MACMURRAY, LYNN       Case 22-11238-LSS    Doc
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                                                                           MACNAMARA, EMILEE
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MACNAMARA, STEPHEN                   MACNAUGHTON, MATTHEW                  MACNEIL, JOHN
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MACNEILL, KATHLEEN                   MACNICOL, ALAINIA                     MACOMBER, KELSEY
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MACON FLEISCHER, CAROLINE            MACON, JOSHUA                         MACOWSKI, WILL
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MACPHAIL, GENEVRA                    MACPHAIL, KIMBERLY                    MACPHERSON, MAYA
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MACPHERSON, MICHAEL                  MACPHERSON, OLIVER                    MACPHERSON, ROGER
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MACPHERSON, TANA                     MACPHERSON, VICKY                     MACQUARRIE, CHRISTINA
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MACQUEEN, ALI                        MACQUEEN, BONNI                       MACQUEEN, CARLIENNE
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MACRAE, CAMILLE                      MACRAE, CASEY                         MACRAE, SINLORIA
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MACRANDER, LEE                       MACRI, ASHLEY                         MACRI, ERIN
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MACRI, NATALIE        Case 22-11238-LSS    Doc 2 Filed 11/30/22 Page 3023
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                                                                           MACRORIE, QUINN
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MACSATA, FRANCIS                     MACUCH, EDWARD                        MACURA, KATHY
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MACUSZONOK, COURTNEY                 MACVEIGH-FIERRO, DANIEL               MACVICAR, DONNA
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MACVICAR, MARY                       MACVICAR, MEREDITH                    MACVICAR, SAVANDBEN
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MACWHORTER, KELSEY                   MACWILLIAMS, CORINA                   MACWILLIAMS, EMILY
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MACWILLIAMS, KATIE                   MACY NEDELKA                          MACY TRIANO
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MACY, CHERYL                         MACY, ELIZABETH                       MACY, HEEK AND TIM
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MACY, JOHN                           MACY, MARK                            MACYS EAST
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MACZKO, ADRIANA                      MACZUZAK, KYLEN                       MACZYNSKI, MEGAN
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MADAAN, DHRUV                        MADAKOR, DAVID                        MADALENA DEWITT
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MADALINSKI, PAUL      Case 22-11238-LSS
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                                                                           MADARA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MADARA, LISA                         MADARASZ, MELISSA                     MADARASZ, MIKE
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MADARIS, MICHELE                     MADATHANAPALLI, SHRUTI                MADATHIL, ALLEN
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MADAY, JACKIE                        MADDALENA, LESLEY                     MADDALO, MARK
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MADDEN, ALYSA                        MADDEN, BRENNA                        MADDEN, BRITTANY
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MADDEN, BRITTANY                     MADDEN, CAITLIN                       MADDEN, CHARLES
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MADDEN, EMILIE                       MADDEN, EMILY                         MADDEN, ERICA
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MADDEN, GREG                         MADDEN, HAMILTON                      MADDEN, HEATHER
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MADDEN, IVY                          MADDEN, JEAN                          MADDEN, JENNIFER
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MADDEN, JESSICA                      MADDEN, JESSICA                       MADDEN, JOANNE
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MADDEN, JUSTIN        Case 22-11238-LSS    Doc
                                     MADDEN,     2 Filed 11/30/22
                                             KRISTINA                 Page 3025 ofMADISYN
                                                                           MADDEN, 5495
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MADDEN, MARTIN                       MADDEN, MARY                          MADDEN, MARY
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MADDEN, MEGAN                        MADDEN, MIKE                          MADDEN, REBECCA
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MADDEN, RICHARD                      MADDEN, TERRI                         MADDEN, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MADDEN, TROY                         MADDI, GOPIKISHOR                     MADDIGAN, ABBY
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MADDISON, BETHANY                    MADDOCK, DANIELLE                     MADDOCK, NICOLE
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MADDOCK, WENDY                       MADDOCKS, MELISSA                     MADDOX, ASHLEY
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MADDOX, BRIA                         MADDOX, CATRICE                       MADDOX, DAPHNE
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MADDOX, JORDAN                       MADDOX, MARY                          MADDOX, MIA QUINN
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MADDOX, NICHOLLE                     MADDOX, OLIVIA                        MADDOX, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MADDUX, COURTNEY      Case 22-11238-LSS    Doc
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                                                                                MADDUX, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MADDY, MELISSA                          MADDY, TAYLOR                           MADECK, LAUREN
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MADEL, VANESSA                          MADELEINE KUBLI                         MADELEINE WANT
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MADELEINE, COSETTE                      MADELEY, ASHLEY                         MADELEY, BONNIE
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MADELINE HIXON                          MADELINE KAY HERRERA                    MADELINE ROBISON
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MADELINE SENSIBILE                      MADEO RISTORANTE                        MADEO, MARK
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MADERA                                  MADERA, BRENDA                          MADERA, CAROLINA
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MADERA, JERALDIN                        MADERIA, GIGI                           MADEY, KRISTEN
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MADEY, MARY KATHRYN                     MADEZA, CYNTHIA                         MADGES, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MADGITZ, KRISTEN                        MADHANAGOPAL, HEMA                      MADHU, PRIYANKA
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MADHURI CHANDRA       Case 22-11238-LSS    Doc
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                                                                           MADHVARAJA, SUMA
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MADIA, AMY                           MADIGAN, ANDREA                       MADIGAN, PATRICIA
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MADILL, SHARON                       MADISEN PARKER                        MADISON AVE MINI MARKET
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MADISON BERTINI                      MADISON BRUSSEE                       MADISON ELIZABETH FRAZIER
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MADISON GRACE                        MADISON MARCUS                        MADISON MESSER
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MADISON SCHOTT                       MADISON TEAGUE                        MADISON TRUST CO CUSTODIAN
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MADISON TRUST CO CUSTODIAN           MADISON, BARBARA                      MADISON, BRANDI
FBO MICHAEL MALOUF                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
401 E 8TH ST SUITE 200
SIOUX FALLS, SD 57103




MADISON, CALEB                       MADISON, CATHY                        MADISON, JESSICA
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MADISON, MICHELLE                    MADISON, THELIA                       MADISON, TOMICKA
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MADISON, TRACIE                      MADISON, WILLIAM                      MADJIDI, LAUREN
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MADLAND TOYOTA LIFT INC.Case 22-11238-LSS    Doc 2MELISSA
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                                                                             MADONIA, 5495
BWSC 4485 BUCK OWENS BLVD              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BAKERSFIELD, CA 93308




MADONNA, EDWARD                       MADONNA, ELYSSE                        MADONNA, HALBERT,
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MADONNA, MARY CAIT                    MADORE, CLARISSA                       MADORE, KATELYN
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MADORE, WENDY                         MADORMA, LOUANNE                       MADRAK, EMILY
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MADRIAGA, MIMI                        MADRICK, BENJAMIN                      MADRID, ADI
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MADRID, ADRIANA                       MADRID, ASHLEY                         MADRID, MARK
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MADRID, RICHARD                       MADRID, SAMANTHA                       MADRID, SAMMIE
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MADRID, SARAH                         MADRID, SHONI                          MADRID, SYLVIA
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MADRID, VIRGINIA S                    MADRIGAL, ANA                          MADRIGAL, MARIANA
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MADRIGAL, MARY                        MADRIGAL, MICHAEL                      MADRIGAL-SANCHEZ, JOSE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MADRIVO MEDIA, LLC.   Case 22-11238-LSS
                                     MADRIVO Doc  2 LLC.
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10300 W CHARLESTON BLVD STE 13-196   121 E. WARM SPRINGS RD                 ADDRESS AVAILABLE UPON REQUEST
LAS VEGAS, NV 89135                  LAS VEGAS, NV 89119




MADRONA, LESLIE                       MADSEN, BRITTANY                      MADSEN, LAUREN
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MADSEN, LESLEY                        MADSEN, MARY K.                       MADSEN, MARY
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MADSEN, SARA                          MADSEN, STEPHEN                       MADSEN, TIMOTHY
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MADSEN, WAYNE                         MADSON, ANNE                          MADSON, ASHLEY
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MADSON, BRITTANY                      MADSON, DUSTIN                        MADSON, JENNIFER
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MADSON, KARREN                        MADTES, CASEY                         MADU, EMEKA
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MADUREIRA, ASHLEIGH                   MADURO, ALLIYAH                       MADY, JOYCE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAE KEMSLEY, MAE                      MAE, ADRIENNE                         MAEDA, KAITLIN
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MAEHR, DINA                           MAEHRLEIN, GITTA                      MAENG, EUNICE
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MAERCKLEIN, ANNE      Case 22-11238-LSS    Doc ELISSA
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                                                                           MAERSK  5495 SERVICES USA INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        180 PARK AVENUE
                                                                           FLORHAM PARK, NJ 07932




MAES, ALEXA                          MAES, LOIC                            MAES, MELANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAES, SYDNEY                         MAESTAS, BECCI                        MAESTAS, DESNE
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MAESTAS, LAYLA                       MAESTAS, MICHAEL                      MAESTRETTI, DANIELLE
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MAEV, IRIS                           MAEVE A MOLLOY                        MAEZ, SEFRA
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MAFFEI, BRITTANY                     MAFFEI, TRACIE                        MAFFEO, BARBARA
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MAFFEO, BETTY                        MAFFUCCI, GINA                        MAFFUCCI, LAURA
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MAFRICE, CARSON                      MAFTEI, CARMEN                        MAG, C
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MAGA, JOHN                           MAGADA, ROB                           MAGAGNA, MEG
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MAGAHA, KRISTINA                     MAGALHAES, KELLI                      MAGALLAN, EFRAIN
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MAGALLON, ERIKA       Case 22-11238-LSS
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MAGANA, AMANDA                          MAGANA, ENRIQUE                       MAGANA, JOSHUA
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MAGANA, JUAN                            MAGANA, KARLA                         MAGANA, MICHAEL
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MAGANA, ROSA                            MAGANA-GARZA, ERIKA                   MAGANZINI, ELIZA
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MAGANZINI, HEATHER                      MAGARACI, SHAYLA                      MAGARELLI, ELLEN
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MAGARIS, MYRIAH                         MAGARITY, BRENDAN                     MAGAW ENTERPRISES INC
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MAGAZINESDIRECT.COM                     MAGBAG, ALVIN                         MAGBANUA, MELITA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAGDALENA HULTSTRAND                    MAGDALENA, KILEY                      MAGDALENO, NINA
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MAGDALIN, FLAVIA                        MAGDAY, XUCHILL                       MAGDEN, HANS
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MAGDOL, NORA                            MAGEE, ABBY                           MAGEE, DANIELLE
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MAGEE, JENNIE         Case 22-11238-LSS
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MAGEE, KAYLA                         MAGEE, KAYLEE                           MAGEE, LAUREN
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MAGEE, MAUREEN                       MAGEE, PAMELA                           MAGEE, RACHEL
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MAGEE, RACHEL                        MAGEE, RVP BEVERLY                      MAGEE, STEPHANIE
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MAGEE, TARA                          MAGEE, TERRY                            MAGEE, WILLIS
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MAGEL, HALEY                         MAGELLAN WINE IMPORTS                   MAGER, KARLEY
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MAGERS, HELEN                        MAGERS, LORA                            MAGES, DANIELLE
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MAGGARD, CORTNEY                     MAGGARD, LAURIE                         MAGGARD, PATRICIA
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MAGGARD, WHITNEY                     MAGGI, CRAIG                            MAGGIACOMO, JULIA
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MAGGIE LUONG                         MAGGIE MCCARTHY                         MAGGIE MCDONALD
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MAGGIN, ROB           Case 22-11238-LSS
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                                                                             MAGGIO, 5495
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MAGGIO, JULIE                        MAGGIONCALDA, JULIE                     MAGGIORA, ANNA
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MAGGIORE, PATRICK                    MAGGIORES                               MAGIA, RISHI
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MAGIC, CLONE                         MAGIDSOHN, SAM                          MAGILL, ELIZABETH
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MAGILL, JENN                         MAGILL, LYDIA                           MAGIN, CORY
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MAGINN OWEN, MICHELLE                MAGINN, LAURA                           MAGISTRO, MEGAN
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MAGLEBY, MARY                        MAGLIANO, JENNIFER                      MAGLIARDITI, LEXI
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MAGLIO, GEORGE                       MAGLIO, TARA                            MAGLIOCCO, CHRISTINA
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MAGNAN, ELLE                         MAGNANI, ELISE                          MAGNARELLI, CHARLES
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MAGNAYE, JEDRHIC                     MAGNE, ERIC                             MAGNELL, TJ
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MAGNELLI, DONNA       Case 22-11238-LSS    Doc
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MAGNINO, SARAH                       MAGNONE, NICHOLE                       MAGNONE, SARAH
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MAGNOTTA, JILLIAN                    MAGNOTTA, MOLLIE                       MAGNOTTI, HEATHER
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MAGNOTTI-NAGEL, ALISON               MAGNUSDOTTIR, ANDREA                   MAGNUSON, ELLIE
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MAGNUSON, ELLIE                      MAGNUSON, JESSICA                      MAGNUSON, JON
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MAGNUSON, LUCI                       MAGNUSON, MIKE                         MAGNUSON, SARAH
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MAGNUSON, SUZANNE                    MAGNUSON, TESSA                        MAGNUSSON, CECILIA
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MAGNUSSON, JEFFREY                   MAGOCSI, DAVID                         MAGOON, KATHY
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MAGOON, REBECCA                      MAGORNO, ROMINA                        MAGOTO, HANNAH
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MAGOWAN, JORDYN                      MAGPANTAY, GLENN                       MAGPLUS INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ACCOUNTS RECEIVABLE
                                                                            PO BOX 8500
                                                                            WINTER PARK, FL 32798500
MAGRA, ELIZABETH      Case 22-11238-LSS    Doc 2 MEAGAN
                                     MAGRATH-SMITH,  Filed 11/30/22   Page 3035  ofALAINA
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MAGRINI, GERRY                       MAGRINI, MAGGIE                       MAGRISH, DENA
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MAGRISH, HEIDI                       MAGRO, MOLLY                          MAGRO, ROXIE
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MAGRUDER, LESLIE                     MAGRUDER, NICHOLAS                    MAGRUM, KAYLA
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MAGSAMEN, EMILY                      MAGSAMEN, MEGAN                       MAGU5, DENISE
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MAGUIRE, ANNE                        MAGUIRE, BRYNN                        MAGUIRE, CYNTHIA CELENTANO
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MAGUIRE, DEIRDRE                     MAGUIRE, DENIELLE                     MAGUIRE, ERIN
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MAGUIRE, HARRIET                     MAGUIRE, KARA                         MAGUIRE, KSENIA
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MAGUIRE, LAUREN                      MAGUIRE, MONICA                       MAGUIRE, PATRICK
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MAGUIRE, PATRICK                     MAGUIRE, PETE                         MAGUIRE, SHANNON
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MAGUIRE, THOMAS       Case 22-11238-LSS    DocFAYETTA
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                                                                           MAGWOOD, JADA
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MAHAD MOHAMED                        MAHADAN, NADIRA                       MAHAFFAY, DEEDEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAHAFFEY, DEBBIE                     MAHAFFEY, ERIN                        MAHAFFEY, TRACY
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MAHAFFY, CANDICE                     MAHAFFY, CARA                         MAHAJAN, RAJ
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MAHALANABIS, PRIYANKA                MAHAN, CYNTHIA                        MAHAN, HAILEY
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MAHAN, HAYLIE                        MAHAN, JENNIFER                       MAHAN, JULIEA
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MAHAN, MALLORY                       MAHAN, MASON                          MAHAN, MICHAEL
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MAHAN, NANCY                         MAHAN, STEVEN                         MAHAN, STEVEN
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MAHAN, VICKI                         MAHANAY, HANNAH                       MAHANES, REBECCA
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MAHANEY, JUSTIN                      MAHANY, THOMAS                        MAHAR, WILL
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MAHARAJ, REBECCA      Case 22-11238-LSS    Doc
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MAHDI, FRANCES                       MAHENDRA ROBERT BAPNA                 MAHENDRA S VELCHURU
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MAHER JR, WILLIAM F                  MAHER, AMBER                          MAHER, BRENNA
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MAHER, BRITTNEY                      MAHER, BROOKE                         MAHER, CAITLIN
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MAHER, CONNOR                        MAHER, ENTONYA                        MAHER, EVAN
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MAHER, JENNIE                        MAHER, JULIE                          MAHER, JULIE
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MAHER, KARA KATHLEEN                 MAHER, KRISTIN                        MAHER, LINDA
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MAHER, LISA                          MAHER, LISA                           MAHER, MADELINE
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MAHER, MARY                          MAHER, MATTHEW                        MAHER, MAURA
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MAHER, PATRICIA                      MAHER, PATTI                          MAHER, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAHER, SHAUNA         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAHER, VELAMI                        MAHER, VICTORIA                       MAHESH GONDI
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MAHESH GOPINATHA MENON               MAHESH SADHU PHULWANI                 MAHESH, EVON
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MAHESHWAR PANYALA                    MAHESHWARI, MONICA                    MAHESWARA SURAPUNENI
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MAHEU, KATHY                         MAHEU, RICHARD                        MAHIDHAR SUGURU
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MAHLER, BILL                         MAHLER, CARRIE                        MAHLER, ELIZABETH
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MAHLER, JOSEPH A                     MAHLER, LINDA                         MAHLKE, GINA
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MAHMOUDI, GUITA                      MAHMUD, LAILAA                        MAHN, JEAN
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MAHNEKE, MARLINA                     MAHNKE, TERRA                         MAHNKEN, KAREN
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MAHNS, BRENDAN                       MAHOLIC, REBECCA                      MAHON, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAHON, AKILAH         Case 22-11238-LSS
                                     MAHON, Doc  2 Filed 11/30/22
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MAHON, DEANNA                        MAHON, ERIN                           MAHON, JEFF
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MAHON, KELSEY                        MAHON, LINDSAY                        MAHON, LYDIA
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MAHON, MAUREEN                       MAHON, NIKITA                         MAHON, ROBERT
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MAHON, ZENADA                        MAHONE, CHARLIE                       MAHONE, ZACHARY
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MAHONEY, AMANDA                      MAHONEY, BRANDON                      MAHONEY, BRIDGET
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MAHONEY, CARENE                      MAHONEY, CATHERINE                    MAHONEY, CATHERINE
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MAHONEY, CHRISTINE                   MAHONEY, CORINNE                      MAHONEY, DENNIS
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MAHONEY, DJ                          MAHONEY, ELIZABETH                    MAHONEY, ELIZABETH
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MAHONEY, EMILY                       MAHONEY, JANET                        MAHONEY, JANICE
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MAHONEY, JESSICA      Case 22-11238-LSS    Doc
                                     MAHONEY, JOY2   Filed 11/30/22   Page 3040 of 5495
                                                                           MAHONEY, JULIE
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MAHONEY, KAELA                       MAHONEY, KAREN                        MAHONEY, KERRY
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MAHONEY, KRISTIN                     MAHONEY, LISA                         MAHONEY, M.J.
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MAHONEY, MATTHEW                     MAHONEY, MEGAN                        MAHONEY, MEGAN
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MAHONEY, MICHELLE                    MAHONEY, MIKE                         MAHONEY, RICHIE
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MAHONEY, RICK                        MAHONEY, SHANNON                      MAHONEY, SHANNON
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MAHONEY, SHANNON                     MAHONEY, TARA                         MAHONEY, TRACEY
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MAHONEY, VICTORIA                    MAHONSKI, TERI                        MAHONY, DEBBIE
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MAHONY, TIMOTHY                      MAHOWALD, KELLEY                      MAHOWALD, MOLLY
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MAHR, CHARLES                        MAHR, MANDY                           MAHRAMUS, JEANA
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MAHS, ASHLEY          Case 22-11238-LSS    Doc
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MAHURIN, LYNN                        MAI, CLOA                             MAI, DUY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAI, LEWIS                           MAI, TERRY                            MAIA KNIGHT (DBA GOOSH GOOSH, LLC)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        750 N. SAN VICENTE BLVD. EAST TOWER,
                                                                           SUITE 1100
                                                                           WEST HOLLYWOOD, CA 90069




MAIDA, ALYSSA                        MAIDA, MADISON                        MAIDA, MONICA
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MAIDA, NANCY                         MAIDE, STEVEN                         MAIDEN, GRAZIELE
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MAIELLO, MEGHAN                      MAIENSCHEIN, DREW                     MAIER, APRIL
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MAIER, ARTHUR                        MAIER, BEVERLY                        MAIER, CHARLOTTE
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MAIER, DEBBIE                        MAIER, MEGAN                          MAIER, MELISSA
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MAIER, NICHOLE                       MAIER, VANESSA                        MAIERS, RAE ANN
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MAIERS, RYAN                         MAIGA, IBRAHIMA                       MAIGNAN, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAIGUR, SARAH         Case 22-11238-LSS     Doc 2 LLC.
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING 675 PONCE DE LEON AVE NE
                                                                           SUITE 5000
                                                                           ATLANTA, GA 30308




MAILHOT, THERESA                      MAILLET, KAITLIN                        MAILLOUX, ANNIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MAILLOUX, JOEY                        MAILLOUX, JOSH                          MAILLOUX, SARA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MAILLOUX, TISH                        MAILMAN, BARBARA                        MAIMAN, KAREN
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MAIMONE, CHIARA                       MAIN STREET DONUTS                      MAIN, AMY
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MAIN, EMILY                           MAIN, HEATHER                           MAIN, KATHERINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MAIN, KATIE                           MAIN, KENT                              MAINAR, RILEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MAINART, ERIKA                        MAINDIRATTA, AJAY                       MAINE BUREAU CONSUMER CREDIT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          PROTECTION
                                                                              35 STATE HOUSE STATION
                                                                              AUGUSTA, ME 04333




MAINE DEPT OF LABOR                   MAINE LIQUOR LICENSING & INSPECTION     MAINE OFFICE OF SECURITIES
54 STATE HOUSE STATION                UNIT                                    OFFICE OF SECURITIES
AUGUSTA, ME 04333-0054                ADDRESS UNAVAILABLE AT TIME OF FILING   121 STATE HOUSE STATION
                                                                              AUGUSTA, ME 04333




MAINE REVENUE SERVICES                MAINE REVENUE SERVICES                  MAINE REVENUE SERVICES
51 COMMERCE DRIVE                     ADDRESS UNAVAILABLE AT TIME OF FILING   PO BOX 9107
AUGUSTA, ME 04330                                                             AUGUSTA, ME 04332-9107
MAINE SEC OF STATE    Case 22-11238-LSS      Doc
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ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MAINES, LEAANNE                         MAINGI, ANNE                          MAINGOT, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAINLAND POKE                           MAINOLFI, JOSEPH                      MAINS, AMANDA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAINS, THERESA                          MAIONA, JENNIFER                      MAIORANO, ASHLEY
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MAIORINO, KRISTEN                       MAIR, ELIZABETH                       MAIRE, MORGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAIROSE, TINA                           MAISANO, ZACHARY                      MAISCALCO, FRANCES
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MAISE, AMMIE                            MAISEL, NICHOLAS                      MAISEL, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAISEY, PAMELA                          MAISH, STEPHEN                        MAISON BILLIART INC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        263 BAINBRIDGE ST
                                                                              BROOKLYN, NY 11233




MAISON DU COLOMBIER BEAUNE              MAISON KAYSER                         MAISONPIERRE, BARBARA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAISTO, KEVIN                           MAISTROS, TAYLOR                      MAISURIA, JENNICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAITHEL, SHELLEY      Case 22-11238-LSS     Doc
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                                                                             MAITLAND, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MAITRE, ARTHUR                       MAITRE, MELISSA                          MAIWALD, SIMONE
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MAIZAR, AMANDA NOELLE                MAIZEL, RAYMOND                          MAJASKI, CHRISTINA
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MAJDANIK, JONATHAN                   MAJDIC, KRISTEN                          MAJEED, MUNEEB
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MAJER, NATE                          MAJER, ROBIN                             MAJERCZYK, CAROLINE
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MAJESKE, EMILY                       MAJESKI, AIMEE                           MAJESKI, KIRSTEN
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MAJEWSKI, JASON                      MAJIDY, HAMID                            MAJIED, KHALILAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MAJITHIA, VASUNDHARA                 MAJKA, JENNIE                            MAJOR BRANDS, INC. (BREAKTHRU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           BEVERAGE MISSOURI)
                                                                              PO BOX 952601
                                                                              ST LOUIS, MO 63195




MAJOR BRANDS, INC. (BREAKTHRU        MAJOR LEAGUE SOFTBALL, INC.              MAJOR ROCKET LLC
BEVERAGE MISSOURI)                   ADDRESS UNAVAILABLE AT TIME OF FILING    19495 BISCAYNE BLVD STE 300
PO BOX 952601                                                                 MIAMI, FL 33180
ST. LOUIS, MO 63195




MAJOR, ALLISON                       MAJOR, ASHLEY                            MAJOR, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
MAJOR, COURTNEY       Case 22-11238-LSS
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MAJOR, JAMES                         MAJOR, KATE                           MAJOR, KERRY
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MAJOR, KRISTIN                       MAJOR, LATRISHA                       MAJOR, MACK
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MAJOR, MALYKA                        MAJOR, MICHAEL                        MAJOR, NATASHA
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MAJOR, PAM AND PETE                  MAJOR, TIFFANY                        MAJORS, MARTHA
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MAJORS, MICHELLE                     MAJORS, NATHAN                        MAJSIAK, BRIANNA
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MAJUMDAR, SHAUN                      MAJUMDER, ANKITA                      MAK, KRYSTAL
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MAKABALI, MYLENE                     MAKANA SWAW                           MAKAR, IDETTE
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MAKAR, KERRI                         MAKARA, BRITTNEY                      MAKARA, PHILIP
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MAKARENKO, DASHA                     MAKARENKO, PAVLO                      MAKAREWICZ, KATHLEEN
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MAKARON, VLADIMIR     Case 22-11238-LSS    DocALEKSANDRA
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                                                                             MAKARSKY, DANIELLE
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MAKATI, SUNNY                          MAKAY, JEREMY                          MAKAYLA FENNEMA
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MAKAYLA MCAFEE (DBA FASHIONABLY KAY)   MAKEE, SARAH                           MAKELA, MELISSA
156 GREENBRIAR DR                      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
AURORA, OH 44202




MAKENENI, SPANDANA                     MAKER COLLABORATIVE LLC                MAKER COLLABORATIVE LLC
ADDRESS AVAILABLE UPON REQUEST         1024 MAPLE STREET 5                    1341 SOUTH BURNSIDE AVENUE APT 2
                                       SANTA MONICA, CA 90405                 LOS ANGELES, CA 90019




MAKER, BRITTANY                        MAKER, EMILY                           MAKEYEV, K.
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MAKFINSKY, MELISSA                     MAKHANIK, LANA                         MAKHEJA, SONIA
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MAKHIJA, MANISH                        MAKHRINSKY, DANIELLA                   MAKHUMALO, WATIPA
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MAKI MAYA, ALLIE                       MAKI, ALIYA                            MAKI, EMILY
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MAKI, HAILY                            MAKI, MARILYN                          MAKIN, AMELIA
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MAKIN, KAI                             MAKINI DAVIS                           MAKINNEY, KAT
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MAKINNEY, KATHERINE   Case 22-11238-LSS    Doc
                                     MAKINNEY,   2 Filed 11/30/22
                                               KATHERINE              Page 3047 ofMARY
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MAKOFSKE, JENNIFER                   MAKOFSKY, JAMES                       MAKOL, DAVID
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MAKOSA, SAMANTHA                     MAKOWIEC, DANIELLE                    MAKOWSKI, JENNIFER
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MAKRINIKOLAS, CLAIRE                 MAKSUD, CRAIG                         MAKTABI, FAUZIA
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MAKUCH, RACHEL-LYN                   MAKUKH, MYROSLAVA                     MAKUNIA, VITALII
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MALA CLOSURE SYSTEMS, INC            MALA MATHESON                         MALACH, STEFFANY
1304 SCOTT STREET, SUITE B           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PETALUMA, CA 94954




MALACOS, MICHAEL                     MALAER, DARREN                        MALAFSKY, ISAAC
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MALAGON, KATHLEEN                    MALAKER, MEGAN                        MALAMPHY, PAM
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MALAN, JANE                          MALANGONE, ABIGAIL                    MALARO, ASHLEY
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MALASEK, BROOKE                      MALASZECKI, DANA                      MALATESTA, VICTORIA
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MALATYNSKA, ANNA      Case 22-11238-LSS
                                     MALAVE,Doc  2 Filed 11/30/22
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MALAVET, TAYLOR                      MALAVIYA, PRABHAT                     MALAY, CHRISTOPHER
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MALAY, TIFFANY                       MALBROUGH, MICHELLE                   MALBURG, CHRISTIAN
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MALCHESTER, KATELYN                  MALCHOW, NICOLE                       MALCOLM FIFER
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MALCOLM, AM                          MALCOLM, BETTINA                      MALCOLM, JAMIE
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MALCOLM, JANIE                       MALCOLM, JEFFREY                      MALCOLM, SUSAN
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MALCOM, HANNAH                       MALD, SARA                            MALDONADO, ALBERT
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MALDONADO, ALYS                      MALDONADO, AMOS                       MALDONADO, ANDRES
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MALDONADO, ANDREW                    MALDONADO, ASHLEY                     MALDONADO, CARISSA
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MALDONADO, CATHERINE                 MALDONADO, ELIZABETH                  MALDONADO, FELICIA
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                      Case 22-11238-LSS
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MALDONADO, JOCELYN                   MALDONADO, JYSENIA                     MALDONADO, LAURA
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MALDONADO, MARC                      MALDONADO, MARIA                       MALDONADO, MARIA
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MALDONADO, MARIAHANNI                MALDONADO, MARISOL                     MALDONADO, MAYRA
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MALDONADO, OSVALDO                   MALDONADO, RAFAEL                      MALDONADO, RHONDA
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MALDONADO, RICARDO                   MALDONADO, SALOME                      MALDONADO, SAMANTHA
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MALDONADO, SAZHA                     MALDONADO, SHELLY                      MALDONADO, TESA
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MALDONADO, VICTORIA                  MALDONADO, WALESKA                     MALDONATO, NICK
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MALEAN, MELISSA                      MALEAR, GRANT                          MALEC, ASHLEY
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MALEC, RONALD                        MALECEK, LUCY                          MALECHA, MEGAN
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MALEJAN, BRIAN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MALEK, JESSICA                   Page 3050
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MALEK, SOPHIA                        MALENO, LAURA                         MALERMAN, JESSICA
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MALESH, KATELYN                      MALESKI, KATHLEEN                     MALETTE, ALYSSA
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MALEY, CONOR                         MALEY, JOANNA                         MALEY, MERRIDETH
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MALEY, MICKEY                        MALEY, RACHEL                         MALEY, STEPHANIE
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MALFATTI, RACHAEL                    MALGORZATA POLEWCZYNSKA               MALHAM, TRACY
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MALHI, MANINDER                      MALHI, SONAM                          MALHIOT, EMILY
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MALHOTRA, DIVYESHA                   MALHOTRA, JASMINE                     MALHOTRA, NICHOLAS
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MALHOTRA, SHEETAL                    MALIA WIMMEL                          MALIBU CONFERENCE CENTER, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        327 S. LATIGO CANYON RD.
                                                                           MALIBU, CA 90265




MALICKI, NATALIE                     MALICOAT, PAUL                        MALIFF, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MALIK, GAURAV         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     MALIK, KATELYN                   Page 3051   of 5495
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MALIK, PRIYA                         MALIK, SAHANA                         MALIK, SANJNA
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MALIMATA, ROBERT                     MALIN, MONICA                         MALIN, RACHEL
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MALIN, SARA                          MALINA, LUMIR                         MALINAS, JENNIFER
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MALINDA HARRIS                       MALINE, BETTY ANN                     MALINE, PENNY
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MALINEN, WILLIAM                     MALINGER, ALYSON                      MALINIT, KAYLIN
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MALINOVIC, DRAGANA                   MALINOVSKIS, ALLIE                    MALINOWSKI, CLARE
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MALINOWSKI, DONNA                    MALINOWSKI, LYNDA                     MALINSKI, STEPHANIE
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MALINSKY, DIANA                      MALINSKY, TATIANA                     MALKA, SARAH
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MALKAMITU WILLIAMS                   MALKANI, KYLA                         MALKI, EMMA
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MALKIEWICZ, ADAM      Case 22-11238-LSS    Doc KYLEE
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                                                                           MALKIN,of 5495
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MALKO, CONNIE                        MALKOSKI, CALVIN                      MALL, MOREEN
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MALLACH, MADISON                     MALLAMS, JOYCE                        MALLARANGENG, SURYA
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MALLARD, AUBREY                      MALLARD, JACLYN                       MALLARD, JONATHAN
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MALLARD, KRISTY                      MALLARE, TAMARA                       MALLE, JOSEPH
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MALLEIN, MARIE                       MALLEN, CLARE                         MALLER, HAILEE
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MALLERNEE, GARY                      MALLERY, HANK                         MALLERY, RANDI
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MALLETT, JO                          MALLETTE, KIMBERLY                    MALLEUS, KAREN
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MALLEY, CHELSEA                      MALLEY, CHRISTINE                     MALLEY, CONOR
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MALLEY, CULLEN                       MALLEY, JOSEPH                        MALLEY, KRISTEN
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MALLEY, STEVE         Case 22-11238-LSS     Doc
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                                                                           MALLICOTE, RACHEL
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MALLIE EASTERLIN                     MALLIKA SIMONE                         MALLIN, GREG
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MALLIN, KIMMARIE                     MALLING, AMELIA                        MALLINSON, COURTNEY
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MALLIS, SARAH                        MALLISON, RACHEL                       MALLISON, RACHEL
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MALLON, BAILEY                       MALLON, CHLOE                          MALLON, JOANNE
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MALLON, KATHLEEN                     MALLON, KYLE                           MALLON, PETER
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MALLONEE, AMBER                      MALLONEE, MICHAEL                      MALLORE, CJ
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MALLOREY, JEANNE                     MALLORY ROSS                           MALLORY SESSIONS
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MALLORY, BECCA                       MALLORY, CARMEN                        MALLORY, FELICIA
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MALLORY, JEFFRIE                     MALLORY, KATHRYN                       MALLORY, LACEY
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MALLORY, LYNDI        Case 22-11238-LSS    Doc
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                                                                           MALLORY, MOLLIE
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MALLORY, ONZHANE                     MALLORY, SATRENA                       MALLORY, YVETTE
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MALLOVE, ZACHARY                     MALLOW, CAROLINE                       MALLOW, HOWARD
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MALLOW, HOWIE                        MALLOY, CHERYL                         MALLOY, COLLEEN
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MALLOY, DEBORAH                      MALLOY, GRACE                          MALLOY, HALEY
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MALLOY, KELLY                        MALLOY, KEN                            MALLOY, MADISON
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MALLOY, MAUREEN                      MALLOY, PAMELA                         MALLOY, TIFFANY
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MALLUM, MATT                         MALLWITZ, MICHAEL                      MALLY, MARISSA
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MALLY, STEVE                         MALM, EMILY                            MALM, KARISSA
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MALMQUIST, ELISSA                    MALMROSE, MONIKA                       MALMSHEIMER, MARY BETH
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MALMSTEAD, AMY        Case 22-11238-LSS
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                                                                           MALO, ANGELA
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MALO, BARBARA                        MALO, LISA                            MALO-KURZINSKI, VANESSA
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MALONE CALDERON, MARIS               MALONE RODRIGUEZ, MEGAN               MALONE, ALEXA
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MALONE, ANNIE                        MALONE, APRIL                         MALONE, ASHLEY
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MALONE, BRENDAN                      MALONE, BRITTANY                      MALONE, CALEB
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MALONE, CASEY                        MALONE, COURTNEY                      MALONE, DAN AND SUE
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MALONE, GARY                         MALONE, JADA                          MALONE, JAIME
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MALONE, JULIE                        MALONE, KAREN                         MALONE, KATHLEEN
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MALONE, KATHLEEN                     MALONE, KENNY                         MALONE, KIM
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MALONE, KRISTEN                      MALONE, LISA                          MALONE, MACKENZIE
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MALONE, MOLLY                        MALONE, PATRICK                       MALONE, RODNEY
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MALONE, SAWAN                        MALONE, SEAN                          MALONE, SHANI
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MALONE, SHAWN                        MALONE, TERRY                         MALONEY, ABBEY
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MALONEY, ANDIE                       MALONEY, ANDREW                       MALONEY, ANN
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MALONEY, BRENDAN                     MALONEY, CHAD                         MALONEY, CHRIS
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MALONEY, CORRY                       MALONEY, DEIRDER                      MALONEY, ELIZABETH
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MALONEY, ELLIE                       MALONEY, ELYSE                        MALONEY, JENNIFER
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MALONEY, JENNIFER                    MALONEY, JORDYN                       MALONEY, KATHLEEN
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MALONEY, KRISTEN                     MALONEY, KYLE                         MALONEY, LAUREN
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MALONEY, LAUREN       Case 22-11238-LSS    Doc
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                                                                           MALONEY, LESTER R
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MALONEY, LISETTE                     MALONEY, MAGGIE                        MALONEY, MARIE
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MALONEY, MARJORIE                    MALONEY, MAURA                         MALONEY, MAURA
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MALONEY, MELISSA                     MALONEY, MICHELE                       MALONEY, MIRIAM
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MALONEY, MOLLIE                      MALONEY, MONICA                        MALONEY, PEGGY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MALONEY, RACHEL                      MALONEY, SAM                           MALONEY, SELINNA
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MALONEY, SHANNON                     MALONEY, TRICIA                        MALOSH, CHRYSA
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MALOSH, LAURA                        MALOTA, CASSI                          MALOTT, SANDRA
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MALOUF, DEVYN                        MALOUF, MICHAEL                        MALOUF, TAWNY
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MALOW, JACQUELYN                     MALOY, ANDREA                          MALOY, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MALOY, MARY           Case 22-11238-LSS    Doc
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                                                                           MALPASS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MALSBURY, AASHLEY                    MALSIN, MARIA                         MALT, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MALTA, COURTNEY                      MALTABES, ANNA MARIA                  MALTAGLIATI, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MALTBIE, BRENTON                     MALTEMPI, KARA                        MALTER, BAILEY
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MALTER, HARLAN                       MALTER, ROCHELLE                      MALTMAN, NELL
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MALTOS, LETICIA                      MALTZ, CORY & JESSICA                 MALTZ, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MALTZ, KALEY                         MALUEG, ANDREA                        MALVAEZ, ANA
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MALVEAUX, NAKISHA                    MALVEAUX, TERESA                      MALVEEKA SHARMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MALVESTUTO, LESLIE                   MALVIYA, VINDHYA                      MALY, BARRET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MALY, THABATA                        MALZ, KRISTOPHER                      MALZI, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAMA SHELTER          Case 22-11238-LSS     DocJUSTIN
                                      MAMACLAY,  2 Filed 11/30/22           Page 3059 of 5495
                                                                                 MAMAGHANI, ANNE
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MAMAK, JASMIN                         MAMAKOS, MARINA                            MAMAN TRIBECA LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             211 WEST BROADWAY
                                                                                 NEW YORK, NY 10013




MAMAN TRIBECA LLC                     MAMAN, SAMUEL                              MAMAN, SAMUEL
237 CENTRE STREET, 3RD FLOOR          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10013




MAMARY, JENNIE                        MAMET, MARISA                              MAMGEN, ASHLEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MAMIGONIAN, REBECCA                   MAMMADOVA, NIGAR                           MAMMEN, MARY KATE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MAMMEN, MICHELLE                      MAMMINO, JILLIAN                           MAMMO, MAHLETTE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MAMMOSER, KATIE                       MAMMOTH CHEVRON, ANGELA TELLER             MAMNOON RESTAURANT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS UNAVAILABLE AT TIME OF FILING




MAMONE, BETSEY                        MAMONE, LISA                               MAMOUNAS, MARIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MAMOUNEY, ALEXANDRA                   MAMRAK, EMILY                              MAMULA, KASEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MANAGED BY Q LA LLC                   MANAGED BY Q LA LLC                        MANAGER OF FINANCE
161 AVENUE OF ANMERICAS 2ND FLR       161 AVENUE OF THE AMERICAS, 2ND FLR        PO BOX 660859
NEW YORK, NY 10013                    NEW YORK, NY 10013                         DALLAS, TX 75266-0859
MANAHAN, CHRISTOPHER Case 22-11238-LSS    Doc
                                    MANAHAN,   2 Filed 11/30/22
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                                                                             MANAK,of 5495
                                                                                    RACHEL
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MANALILI, JOEL                       MANALO, LORACE                          MANALO, MELANIE
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MANALO, NOAH                         MANANSALA, JACK                         MANASA, KERI
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MANAY, PALLAVI                       MANBROSE TO GO                          MANCANO, COLLEEN
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MANCE, ELIZABETH                     MANCELLA, ANTONIO                       MANCENIDO, AUSTINE
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MANCENIDO, ZID                       MANCHA, JOSE                            MANCHA, MARISSA
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MANCHACA, ASHLEY                     MANCHANDA, RISHI                        MANCHANDA, SARTHI
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MANCHESTER, CARI                     MANCHESTER, CARLA                       MANCHESTER, CHLOE
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MANCHESTER, RYAN                     MANCHISI, MICHAEL                       MANCHO, MAGNUS
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MANCIA, BIANCA                       MANCILLA, AMANDA                        MANCILLA, HECTOR
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MANCILLA, TANIA       Case 22-11238-LSS    DocALIDA
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                                                                           MANCINI, 5495
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MANCINI, ANDREW                      MANCINI, CARLA                        MANCINI, EVA
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MANCINI, JESSICA                     MANCINI, KATHARINE                    MANCINI, KATHRYN
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MANCINI, MARY                        MANCINI, RAQUEL                       MANCINI, STEPHANIE
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MANCINI, SUE                         MANCINO, ALEXANDER                    MANCINO, CARMEN
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MANCKE, LAUREN                       MANCKE, MEGAN                         MANCUSI, MIRANDA
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MANCUSO, ALICIA                      MANCUSO, HAILEY                       MANCUSO, MARC
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MANCUSO, RACHAEL                     MANCZAK, DAVID                        MANDA, MERE
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MANDA, WILLIAM                       MANDAHL, WYNN                         MANDALA, VENKATA
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MANDALL, KATE                        MANDAVA, NETAJI                       MANDEAU, DENISE
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MANDEEP ATWAL         Case 22-11238-LSS
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MANDEL, GINGER                       MANDEL, HARLAN                        MANDEL, HUNTER
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MANDEL, JONATHAN                     MANDEL, LAURA                         MANDEL, NOAH AND MOLLY
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MANDELBAUM, TRACIE                   MANDELSTEIN, GINGER                   MANDERFELD, NICOLE
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MANDES, KATIE                        MANDESON, ERIC                        MANDIA, LISA
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MANDICH, MARGARET                    MANDIGO, ALEXIS                       MANDILE, JUSTIN
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MANDIN, AMY                          MANDIR, DANIELLE                      MANDLER, KRISTEN
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MANDRUS, NICHOLAS                    MANDUJANO, JACKIE                     MANDWELLE, MILES
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MANDY TSUI                           MANDY, MELISSA                        MANEK, TIRTH
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MANELA, MICHAEL                      MANELSKI, PATRICK                     MANENT, PATRICIA
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MANERA, A             Case 22-11238-LSS
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MANERI, BRIANNE                      MANERI, STEVE                          MANES, ALEXANDRA
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MANES, CAROLYN                       MANES, MICHAEL                         MANESS, PRESTON
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MANESSE, BRYANA                      MANETTA, LISA                          MANEY, JENNA
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MANEY, KEHLE                         MANFRE, KIMBERLY                       MANFREDI, LAUREN
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MANG, ADAM                           MANG, BELLA                            MANGAL, NANDA
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MANGALINDAN, SHAYNE LYNNE            MANGAN, ALLISON                        MANGAN, ANNE MARIE
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MANGAN, COLLEEN                      MANGAN, DEB                            MANGAN, ELIZABETH
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MANGAN, KYRA                         MANGAN, LAURA                          MANGANARIS, MARINA
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MANGANARO, KATIE                     MANGANIELLO, NICHOLE                   MANGANO, DANIELLE
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MANGANO, HALLEY       Case 22-11238-LSS    Doc
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                                                                           MANGAR, 5495
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MANGARELLL, RAFANNY                  MANGASARIAN, REBECCA                  MANGAT, JASJIT
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MANGER, JONATHAN                     MANGES, DAISIE                        MANGETTE, MICHELLE
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MANGHERA, MEAGHAN                    MANGIANTE, JANELLE                    MANGIARDI, KELLY
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MANGIE, DOUGLAS                      MANGIN, SOPHIA                        MANGINE, LESLIE
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MANGINO, ERICA                       MANGIONE, NICOLE                      MANGIONE, SHERI
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MANGO, MATT                          MANGOLD, JAMIE                        MANGOLD, KATE
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MANGOLD, KATHARINE                   MANGOLD, MARIEL                       MANGONE, MELANIE
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MANGONE, STEVEN                      MANGO-PAGET, CHERYL                   MANGRUM, AMANDA
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MANGRUM, ANGELA                      MANGRUM, ANNE                         MANGRUM, CLAIRE
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MANGRUM, KHALIAH      Case 22-11238-LSS    Doc
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                                                                                MANGUAL, BRIAN
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MANGUAL, EDWIN                          MANGUAL, EDWIN                          MANGUAL, MARIA
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MANGUAL, OLIVIA                         MANGUIRI, NINA                          MANGUM, APRIL
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MANGUM, CHELSEY                         MANGUM, GREG                            MANGUM, MISTY
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MANGUM, PAUL                            MANGUN, KAMM                            MANHATTAN BEACH POST
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




MANHATTAN BREAD & BAGEL                 MANHATTAN INN                           MANHATTAN PERRY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




MANHATTAN WINE                          MANI, KARLY                             MANICA, JOE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MANICK, MEGAN                           MANICO, KYLE                            MANIER, NATALIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MANIERY, MICHAELA                       MANIEZ, SARA                            MANIFESTO LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




MANIGAN, KATHRYN                        MANIGAT, NANCY                          MANIGAT, OLIVIER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MANIGLIA, MAURA       Case 22-11238-LSS
                                     MANIKA,Doc 2 Filed 11/30/22
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                                                                           MANIKANDAN VENKATACHALAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANIKAS, STEPHANIE                   MANILLA, ANTHONY                      MANION, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANION, CLARE                        MANION, FRAN                          MANIS, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANIS, JOHN                          MANIS, MAKAY                          MANISCALCO & ASSOC, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        350 WEST 42ND ST 10C
                                                                           NEW YORK, NY 10036




MANISCALCO, ANTHONY                  MANISCALCO, GRACIELA                  MANISCALCO, LILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANISCALCO, MARIE                    MANISCALCO, VICTORIA                  MANISH ARORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANISH PATEL                         MANISHA SANJAY SABNANI                MANITARAS, EUGENIA
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MANIX, KIMBERLY                      MANJEET BRAR                          MANJIT HANSRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANJOLA SHKEMBI                      MANKANEY, KAMINI                      MANKEY, ALEX
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MANKEY, BRIANNA                      MANKINEN, REBECCA                     MANKO, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MANKODI, ADITI        Case 22-11238-LSS    Doc GRACE
                                     MANKOWSKI, 2 Filed 11/30/22      Page 3067 of 5495
                                                                           MANKUTA, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANLEY JULES                         MANLEY, BEVERLY                       MANLEY, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANLEY, CHRISSY                      MANLEY, ELIZABETH                     MANLEY, JACK
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MANLEY, JACQUELINE                   MANLEY, JEAN                          MANLEY, KELLY
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MANLEY, LEAH                         MANLEY, MARK                          MANLEY, MARK
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MANLEY, PAULA                        MANLEY, PAULA                         MANLEY, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANLEY, TROY                         MANLEY, WILLIAM                       MANLEY, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANLICK, ERIN                        MANN, ALAN                            MANN, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANN, ALEXANDRIA                     MANN, ANDREA                          MANN, ANGIE
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MANN, CAROL                          MANN, CATHY                           MANN, COURTNEY
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MANN, CRYSTAL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MANN, DEJAH                      Page 3068  of 5495
                                                                           MANN, DEVON
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MANN, DEVON                          MANN, ELLEN                           MANN, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANN, GERI AND MARK                  MANN, HEATHER                         MANN, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANN, JENKINS                        MANN, JESSICA                         MANN, JONATHAN
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MANN, KELSEY                         MANN, KIERSTON                        MANN, KYLIE
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MANN, LAUREN                         MANN, LAYAKA                          MANN, LEE
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MANN, MADISON                        MANN, MARILYN                         MANN, MARSHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANN, MELISSA                        MANN, MICHAEL                         MANN, NICOLE
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MANN, NORMAN                         MANN, RANDY                           MANN, SANDRA
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MANN, SARA                           MANN, SAUNDRA                         MANN, SHAYLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MANN, SIMRAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MANN, STEVE                      Page 3069
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                                                                                 FROM HEAVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        16748 E SMOKY HILL RD. UNIT 9C-215
                                                                           CENTENNIAL, CO 80015




MANNA RANCH INC                      MANNA, KATHERINE                      MANNA, MADISON
PO BOX 287                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ACAMPO, CA 95220




MANNA, RIMITA                        MANNA, SARA                           MANNAN, TANIMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANNARD, KATHLEEN                    MANNASMITH, AMBER                     MANNE, STEPHANIE
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MANNEBACH, MARY                      MANNERS, JEFF                         MANNERS, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANNERS, MICHAEL                     MANNIE, GABE                          MANNING, ALEXANDRA
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MANNING, ALICE                       MANNING, ASHLEY                       MANNING, CAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANNING, CODY                        MANNING, DEBBIE                       MANNING, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANNING, DEIDRE                      MANNING, DELORIS                      MANNING, DJ
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MANNING, ELIZABETH                   MANNING, ERIN                         MANNING, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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MANNING, JACQUELINE                  MANNING, JOHN                          MANNING, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MANNING, JOHN                        MANNING, JOYCE                         MANNING, JULIE
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MANNING, KATHARINE                   MANNING, KELLY                         MANNING, KRISTEN
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MANNING, KRISTY                      MANNING, LOGAN                         MANNING, LOIS
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MANNING, MADDY                       MANNING, MARIT                         MANNING, MARY
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MANNING, NICOLE                      MANNING, PATRICK                       MANNING, SARA
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MANNING, SATCHEL                     MANNING, SHALESE                       MANNING, SHANNA
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MANNING, SKYLA                       MANNING, STEPHANIE                     MANNING, TIFFANY
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MANNING, TONI                        MANNING, TROY                          MANNING, TYRONE
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MANNING-MINGLE, EMILY Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MANNINO, PAUL                           MANNINO, SAMANTHA                     MANNION, TYLER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANNIX, BRET                            MANNIX, EDMOND                        MANNIX, JUSTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANNIX, JUSTIN                          MANNIX, PETE                          MANNO, DAVID
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MANNO, EMILY                            MANNON, KAREN                         MANNON, LISA
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MANNON, WENDEE                          MANNON, ZAC                           MANNS, SHARON
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MANNY, ELISKA                           MANNY, MEREDITH                       MANO, NORIYUKI
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MANOCHA, SANDEEP                        MANOHAR, JESSICA                      MANOJ ADURU
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MANOJ KUNCHALA                          MANOJKUMAR S PATEL                    MANOLIDES, MICHAEL
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MANOLIN RESTAURANT                      MANOLIO, ROMINA                       MANONO, CLIFFORD
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MANOR, MICHAELA       Case 22-11238-LSS
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                                                                           MANOSH, 5495
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MANOUKIAN, LINDSAY                   MANPREET SIDHU                        MANRAKSA, STACI
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MANRIQUE, ELIZABETH                  MANRIQUE, TAYLOR                      MANRIQUEZ, MARTHA
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MANROSS, COURTNEY                    MANRRIQUEZ, CHIKIS                    MANSANO DO NASCIMENTO, GABRIELA
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MANSEAU, SHAUNNA                     MANSELL, JON                          MANSELL, JONATHAN
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MANSELL, JULIANA                     MANSER, KIERA                         MANSFIELD, BRIAN
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MANSFIELD, CALEB                     MANSFIELD, KATIE                      MANSFIELD, LEIGHANN
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MANSFIELD, PATRICIA                  MANSFIELD, PATRICIA                   MANSHEFFER, AMANDA
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MANSI SHAH                           MANSI, JAMES                          MANSKE, MOLLY
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MANSKE, NICHOLAS                     MANSLEY, LAUREN                       MANSON, AMANDA
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MANSON, ASHBY         Case 22-11238-LSS    Doc
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                                                                           MANSON, 5495
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MANSON, LISA                         MANSON, MELISSA                       MANSON, STEPHANIE
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MANSOOR, DUSTIN                      MANSOOR, ESMERALDA                    MANSOR, EMILY
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MANSOUR, DANIELLE                    MANSOUR, JACOB                        MANSOUR, JEAN PAUL
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MANSOUR, RAGAA                       MANSOURI, SIRINE                      MANSSON, NICLAS
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MANSUROGLU, ADAM                     MANTELL, ANGEE                        MANTELL, MARY
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MANTELLA, COLLEEN                    MANTELLA, MAGGIE                      MANTENA, ANUP
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MANTER, BONNIE                       MANTERNACH, CHRISTY                   MANTEY, TIFFANY
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MANTHEI, LORI                        MANTHEY, ALLIE                        MANTHEY, SARAH
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MANTHIE, ROBIN                       MANTHORPE, KEVIN                      MANTIE, KERI
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MANTIGLIA, SUSAN      Case 22-11238-LSS     Doc
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                                                                           MANTILLA, MARIA
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MANTJOS-DITOMMASO, STACY             MANTOVANI, FRANCESCO                   MANTSCH, SHAUN
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MANTYLA, MATTHEW                     MANTZ, FELICIA                         MANTZKE, KATELYNN
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MANUEL APODACA                       MANUEL J LAUREL                        MANUEL MAI
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MANUEL STAHL                         MANUEL, CYNDI                          MANUEL, HILARY
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MANUEL, JAMES                        MANUEL, LAUREN                         MANUEL, LISA
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MANUEL, MELANIE                      MANUEL, SHARRON                        MANUELA ARBELAEZ
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MANUELITO, PRINCELLA                 MANUFACTUR                             MANUFEKAI, MAVIS
ADDRESS AVAILABLE UPON REQUEST       411 S. MAIN STREET, SUITE 422          ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90013




MANVAR-SINGH, PALLAVI                MANWARING, KASEY                       MANWHORE PODCAST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         21 ELDERT STREET
                                                                            BROOKLYN, NY 11207




MANZ, ARIELLE                        MANZ, GREGORY                          MANZA, SANDRA
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MANZANO, ANGELITA     Case 22-11238-LSS    Doc
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                                                                           MANZANO, MARCELA
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MANZANO, NATALIA                     MANZANO, VALERIE                      MANZE, CHASE
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MANZELLA, EMILY                      MANZELLA, LEAH                        MANZELLA, LILLIAN
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MANZELLA, TARA                       MANZELMANN, MICHAEL                   MANZI, ALEXANDER
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MANZI, CARA                          MANZI, ERIKA                          MANZI, MAUDE
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MANZI, MICHAEL                       MANZIE, BRITTANY                      MANZIONE, JENNA
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MANZO, JULIE                         MANZO, MICHAEL                        MANZO, SHIRLEY
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MANZOLINE, BRITTANY                  MANZONI, BETSEY                       MAO, CHRISTOPHER
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MAONE, ROSEMARIE                     MAPES, BRIDGET                        MAPES, DENISE
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MAPHIES, DANIELLE                    MAPLE COOKIE WESTCHESTER LLC          MAPLE, JERRELL
ADDRESS AVAILABLE UPON REQUEST       (PINOTS PALETTE)                      ADDRESS AVAILABLE UPON REQUEST
                                     25 HARBOR POINT RD
                                     STAMFORD, CT 06902
MAPLE, JONATHON       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           MAPLES, 5495
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MAPLES, COLLEEN                      MAPLES, KATRINA                       MAPLES, KODEE
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MAPLES, SUMMER                       MAPOSA, TRUDY                         MAPOY, HANNAH
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MAPP, JENNIFER                       MAPP, KIMBERLY                        MAQUET, AMANDA
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MAR GUTHRIDGE                        MAR, LEANNE                           MAR, LEEN
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MARA, JAMIE                          MARA, JOY                             MARA, MERIDITH
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MARAB, MELANIE                       MARABLE, JAZMINE                      MARABLE, JEAN
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MARABLE, KRISTIN                     MARABLE, MIKE                         MARACCINI, JULIANNE
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MARAGOPOULOS BRINDLEY, KYRA          MARANDA, LOVELY                       MARANDO BLANCK, AMANDA
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MARANDO-BLANCK, AMANDA               MARANDOLA, GINA                       MARANGI, HELENE
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MARANGOS, JENNIFER    Case 22-11238-LSS    DocMARIANA
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MARANO, CATHLEEN                     MARANTO, NATALIE                      MARANTZ, KEITH
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MARASA, ANNE                         MARASCHKY, NICOLE                     MARASCO, SAMANTHA
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MARASH, MELISSA                      MARASHLIAN, MEGAN                     MARASOVICH, SAMMY
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MARAT, LY,                           MARAZITA, MARIS                       MARAZZI, CAROL
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MARAZZO, JULIE                       MARBAN, MIRANDA                       MARBERT, KIRSTEN
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MARBLE, CLAIRE                       MARBLE, JILLIAN                       MARBLEY, ARIANA
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MARBLO, JULIE                        MARBORY, NICOLE                       MARBURGER, ALAINA
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MARBURGER, ERIC                      MARBURY, CLAUDIA                      MARBURY, KEVIN
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MARBY, MAUREEN                       MARC BALCKE                           MARC BALCKE
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MARC BRACK            Case 22-11238-LSS    Doc 2 Filed 11/30/22
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MARC LESSER                          MARC MCDONALD                         MARC
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MARC, JOAN                           MARC, NIRVA                           MARCALO, SAMANTHA
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MARCANO, BREANNA                     MARCANO, CHANTAL                      MARCANO, KAILYN
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MARCANO, NADIYAH                     MARCANO, PETER                        MARCANTILE DINING
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MARCDANTE, KAREN                     MARCEAU, DAVIN                        MARCEC, JOSEPH
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MARCEL BOCK                          MARCEL HOLLERBACH                     MARCEL, CRISTIAN
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MARCEL, STEPHANIE                    MARCELA RUIZ                          MARCELIN, MARCIA
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MARCELIN, TRACIE                     MARCELINA, CAITLIN                    MARCELINO, LIVIA
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MARCELLA, E & J                      MARCELLE, DANIEL                      MARCELLIS, KENNY
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MARCELLO, DANIELLE    Case 22-11238-LSS    DocMARK
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                                                                           MARCELLUS, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARCELLUS, SHAWN                     MARCELO ALEJANDRO PEREZ                MARCELO MEDRANO
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MARCELO, EVEN                        MARCELO, JENIFFER                      MARCELO, SARA
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MARCENGILL, SHANELLE                 MARCH, JENNIFER                        MARCH, JENNIFER
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MARCH, JENNY                         MARCH, LAUREN                          MARCH, LIBBY
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MARCH, MANDY                         MARCH, MARILOU                         MARCH, MICHAEL
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MARCHAL, ROSALIND                    MARCHAND, ADAM                         MARCHAND, BARBARA
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MARCHANT, CASH                       MARCHANT, MARK                         MARCHANT, SONJA
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MARCHE, GARY                         MARCHEL, ANNA                          MARCHELLETTA, VIRGINIA
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MARCHELLI, DENNIS                    MARCHENA, KYLEE                        MARCHESANI, MOLLY
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MARCHESANO, NEAL      Case 22-11238-LSS    DocCATHY
                                     MARCHESE,  2 Filed 11/30/22      Page 3080 of 5495
                                                                           MARCHESE, DARCI
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MARCHESE, FRANK                      MARCHESE, JESSICA                     MARCHESE, JULIE
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MARCHESE, MARK                       MARCHESE, MARY                        MARCHESE, NICOLE
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MARCHESE, ROSINA                     MARCHESI LUNARDI, MARIA               MARCHESI, JENNIFER
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MARCHESSAULT, KATELYN                MARCHETTI, CHERYL                     MARCHETTI, JULIA
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MARCHETTI, LAURA                     MARCHETTI, MARISSA                    MARCHETTI, TERRI
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MARCHETTI, WILLIAM                   MARCHETTO, KAREN                      MARCHI, STEPHEN
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MARCHI, STEPHEN                      MARCHI, STEPHEN                       MARCHIAFAVA, TAYLOR
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MARCHIANO, MICHELLE                  MARCHICA, ANGELO                      MARCHIOLI, MARK
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MARCHIONE, ALLEGRA                   MARCHIONE, DYLAN                      MARCHIONE, SUSAN
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MARCHIONNE, ADAM      Case 22-11238-LSS    Doc KERRI
                                     MARCHIONNI, 2 Filed 11/30/22        Page 3081 of 5495
                                                                              MARCHIONNI, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




MARCHIONNI, THOMAS                      MARCHMAN, ASHLEY                       MARCHMAN, GEORGE
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MARCIA BERRY                            MARCIAL MARTINEZ, CHIARA               MARCIAL, JERICA
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MARCIANO, ERICA                         MARCIANO, PATRICIA                     MARCIELLO, ELIZABETH
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MARCIN, ALANIS                          MARCIN, JAMES                          MARCIN, MICHAEL
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MARCINCUK, KATHERINE                    MARCINEK, TOM                          MARCINIAK, KARI
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MARCINIAK, MICHAEL                      MARCINKO, SUE                          MARCINKOWSKA, TONY
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MARCINO, AMANDA                         MARCKETTA, MARK                        MARCKS, GRANT
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MARCKSTADT, KELSEY                      MARCLEY, MARCELLA                      MARCO NAGELI
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MARCO POLO DAVAO CAFE                   MARCO, BESHOY                          MARCO, JAIME
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MARCO, KEVIN          Case 22-11238-LSS
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MARCO, PHILIPPE                         MARCO, ROGER                          MARCOALDI, KELSEY
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MARCOCCIO, ERIC                         MARCOCELLI, VICTORIA                  MARCOE, REBECCA
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MARCOGLIESE, GIA                        MARCON, PAUL                          MARCONDES, LEONARDO
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MARCONI, ANNE                           MARCOOT, LETICIA                      MARCOS KINZKOWSKI
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MARCOS PIZZERIA- CLV                    MARCOS, FABIAN                        MARCOTTE, HARRISON
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MARCOTTE, MOLLY                         MARCOTTE, REGINALD                    MARCOTTY, ALEXANDRA
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MARCOUX-LE GRICE, JILL                  MARCOVICI, AMY                        MARCUCCI, AMANDA
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MARCUCCI, JILLIAN                       MARCUCCILLI, THOMAS                   MARCUM, BRYAN
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MARCUM, CAROLYN                         MARCUM, CHRISTOL                      MARCUM, KATIE
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MARCUM, KAYLA         Case 22-11238-LSS    Doc
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                                                                           MARCUM, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARCUM, SUE                          MARCUS ANTHONY CHAIREZ                MARCUS BRYANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARCUS MILAZZO                       MARCUS, ALEX                          MARCUS, CAITLYN
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MARCUS, FLORENCE                     MARCUS, HANNAH                        MARCUS, JONATHAN
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MARCUS, JULIE                        MARCUS, MADISON                       MARCUS, MICHELLE
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MARCUS, NOEL                         MARCUS, VICTORIA                      MARCUSSEN, CHRISTINA
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MARCY, MELISSA                       MARCZAK, WILLIAM                      MARDELL, HOLLY
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MARDEN, JESSICA                      MARDESICH, REBECCA                    MARDINEY, SARAH
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MARDIS, ERICKA                       MARDKHA, LAURA                        MAREAN, DANIEL
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MARECKI, ANIA                        MAREK SWITAJEWSKI                     MAREK, DIANE
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MAREK, KAREN          Case 22-11238-LSS
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                                                                           MAREK,of 5495
                                                                                  STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MAREN FRALEY                         MARENCO-GARCIA, GABRIEL                MARENGHI, AMY
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MARENGHI, NOELLE                     MARENTIS, GEORGIA                      MARES, BETH
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MARES, HECTOR                        MARESCA, ANTHONY                       MARESCA, MICHAEL
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MARESH, SHAYLA                       MARETT, JAMES                          MARFISI, MORGAN
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MARFOE, JOHN                         MARG, AUSTIN                           MARGABANDHU, KRISHNAN
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MARGALUS, JAY                        MARGAND, MARIE-THERESE                 MARGARD, HENRIK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARGARET ANDERSON                    MARGARET ANN EVANS FALLIS              MARGARET DONOGHUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARGARET FRANCOIS                    MARGARET HODGE                         MARGARET IDA JESSOP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARGARET LARKEY DOW                  MARGARET MATTHEWS                      MARGARET MCCARTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MARGARET MOORE        Case 22-11238-LSS    Doc
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                                                     MARGARET         Page 3085 of 5495
                                                                           MARGARET, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARGARETICH, TANYA                   MARGARITA MARLIN                       MARGARITA MONDEJO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARGARITA VINEYARDS, LLC             MARGARITES, DAMIAN                     MARGEAUX WALTER STUDIO LLC
22720 EL CAMINO REAL                 ADDRESS AVAILABLE UPON REQUEST         197 MONITOR ST 2
SANTA MARGARITA, CA 93453                                                   BROOKLYN, NY 11222




MARGERUM, KAYLA                      MARGESON, DEBRA                        MARGETTS, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARGHITU, STEFANIA                   MARGIE ANN RICKS                       MARGLE, THOMAS
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MARGLIOTTI, KRISTA                   MARGNELLI, LYNNE                       MARGO ARNOLD
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MARGOLIES, ROBERT                    MARGOLIN, NATE                         MARGOLIS, ALLISON
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MARGOLIS, ALYSIA                     MARGOLIUS, DAVID                       MARGRAF, ANNA
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MARGRAF, ANNA                        MARGRAF, ASHLEY                        MARGRETTA, KAYLA
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MARGRETTA, KAYLA                     MARGRITZ, CHELSEY                      MARGUGLIO, ALANNA
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MARHEVSKY, LEEANN     Case 22-11238-LSS
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                                                                           MARHITYCH, BOHDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARI FRANCO                          MARI W COYLE                          MARIA ALEXANDRA SPIEGL
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MARIA ASCENCIO                       MARIA BEATRIZ LAGOS                   MARIA BELEN TENORIO VIVANCO
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MARIA BROMLEY                        MARIA C TIGLAO                        MARIA CAPANO
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MARIA DALESSANDRO                    MARIA DEL PILAR LONDONO               MARIA DESHONG
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MARIA EILEEN DETROIJE-JOHNSON        MARIA FLEMING                         MARIA HURST
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MARIA JOSE MUJICA                    MARIA LEVIN                           MARIA MAESTAS
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MARIA MARINA AGUILAR-ARGUETA         MARIA MATIAS                          MARIA MORGAN
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MARIA PATRICIA MESA JARAMILLO        MARIA PATRICIA MESA                   MARIA PIMENTEL
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MARIA PONCE                          MARIA RAFFA                           MARIA RAGGOUSIS
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MARIA TEICHROEB       Case 22-11238-LSS     Doc 2 SALADINO
                                     MARIA VERONICA  Filed 11/30/22   Page 3087  of 5495
                                                                           MARIA VILA, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARIA YESENIA RIVERA                 MARIA YOW                              MARIA, ANA
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MARIA, OKORN,                        MARIA, REEBA                           MARIAH HAWE, CATHERINE
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MARIAH ORCUTT                        MARIAN, JOSIE                          MARIANA C SOUSA
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MARIANA, SARAH                       MARIANI, KAREN                         MARIANI, MELISSA
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MARIANI, WALTER                      MARIANN DEPPE MCGEE                    MARIANNE ANDERSON
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MARIANNE ESTATE                      MARIANNE SCHULTZ                       MARIANO SALINAS
VALLEY ROAD - OFF R44                ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STELLENBOSCH, 7600
SOUTH AFRICA




MARIANO, CHERMAINE                   MARIANO, EMILY                         MARIANO, MYLA
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MARIBEL CRUZ                         MARIC, IVANA                           MARICH, CARA
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MARICHAL, BRIANNA                    MARICONI, MATTHEW                      MARIDUENA, DARLA
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MARIE AVALOS, KATHERINECase 22-11238-LSS     Doc 2 Filed 11/30/22
                                      MARIE BAGAROZZA                  Page 3088  of 5495
                                                                            MARIE BARRENGER
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MARIE CAMERON, JOANNA                 MARIE ENGELBACH, AMY                  MARIE FONZO
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MARIE GENCARELLI, KIM                 MARIE JONES                           MARIE M TAN
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MARIE MULLARKEY                       MARIE ORSARGOS, JOHNNA                MARIE ROZIN-CAZE
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MARIE SANDMAM                         MARIE, AMBER                          MARIE, ANGELA
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MARIE, ANN                            MARIE, ANN                            MARIE, CARLY
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MARIE, CRISTINA                       MARIE, HANNAH                         MARIE, HELEN
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MARIE, HOLLY                          MARIE, JESSICA                        MARIE, KERA
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MARIE, KILLIAN                        MARIE, LEAH                           MARIE, SARAH
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MARIE, SARAH                          MARIEA, SHERRY                        MARIELA CASTELLANOS
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MARIELLE GALLAJONES   Case 22-11238-LSS     DocJONES
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                                                                                MARIE-NOELLE CAMOES
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MARIER, JILL                            MARIETTA, AUBREY                        MARIETTA, ROBERTA
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MARIETTE, NICHOLE                       MARIKA ROQUE                            MARILLIER, ASHLEY
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MARILYN ELLIS                           MARILYN HOEFFNER                        MARILYN WRIGHT
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MARIMBIRE, YVETTE                       MARIN, ASIA                             MARIN, EMILY
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MARIN, JOSE                             MARIN, JULIAN                           MARIN, LAURA
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MARIN, MELBA                            MARIN, PETER                            MARIN, RICHARD
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MARIN, VICTORIA                         MARINA DEL REY                          MARINA MEHRTENS
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MARINA ONE HOUR CLEANERS                MARINA WARREN NASH                      MARINA, JESSICA
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MARINA, KARLA                           MARINA, LISA                            MARINAN, JEN
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MARINARO, ALEC        Case 22-11238-LSS    Doc
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                                                                                MARINARO, VALLENCIA
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MARINAS CAFE                            MARINAY, MERCEDES                        MARINCIC, MARGOT
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MARINCIC, RUMI                          MARINE STREET CAFE                       MARINELLI, GAYLE
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MARINELLI, GRAHAM                       MARINELLI, KRISTYN                       MARINELLI, MARY LOU
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MARINELLI, NICHOLAS                     MARINELLI, SHAWNTAY                      MARINELLI, TESSA
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MARINELLI-JANSSON, LORI                 MARINELLO, MEGAN                         MARINES, LEILANY
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MARINESCU, RAOUL                        MARING, GARRETT                          MARING, MATTHEW
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MARINI, JESSICA                         MARINI, KATIE                            MARINI, KELSEY
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MARINI, RYAN                            MARINI, TIFFANY                          MARINKOVICH, KELLY
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MARINO, ALICIA                          MARINO, ANTHONY                          MARINO, CHERYL
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MARINO, CHRISTINA     Case 22-11238-LSS
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MARINO, FINN                         MARINO, JENNAH                        MARINO, KRISTA
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MARINO, KRISTEN                      MARINO, LOUIS                         MARINO, MICHAEL
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MARINO, MONICA                       MARINO, SHAY                          MARINO, ZAC
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MARINOFF, SOPHIE                     MARINOVICH, MAGGIE                    MARINUCCI, BRITTANY
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MARIO ADRIAN MIGLIETTA               MARIO AMARO                           MARION DONAT
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MARION, AMY                          MARION, DARLA                         MARION, KATHERINE
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MARION, KELL                         MARION, MADISON                       MARIOTTO, ERN
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MARIQUIT, BRIGHID                    MARIS, CARSON                         MARIS, SUSANN
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MARISA CARLSON                       MARISA CARLSON                        MARISA DURAN
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MARISA MARTINEZ       Case 22-11238-LSS
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                                                                           MARISCAL, JAIRO
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MARISCAL, MAYU                       MARISELA BUTLER                        MARISSA CRISTINA CUMMINGS
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MARISSA GRASS                        MARISSA JOYCE                          MARISSA MORALES
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MARISSA P CAMPEAU                    MARISSA SHERMAN                        MARITES DIAZ
109 MAPLE LANE                       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
BALLWIN, MO 63011




MARITIME WINE TRADING COLLECTIVE     MARITNO, MCCRAE                        MARIUCCI, WALLIS
1011 KERANY STREET STE A             ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94133




MARIUSZ MIGDALSKI                    MARIYA FEDORETS                        MARIYA SHAYEVSKY
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MARJADI, SOHINI                      MARJAN TEHRANI                         MARJORIE SALUDEZ, MARJORIE
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MARK A HERZFELD                      MARK A RIDGLEY                         MARK A TALLEY
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MARK A WESTERFIELD                   MARK BARGER                            MARK BATHRICK
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MARK BORDCOSH                        MARK BRAMLEY                           MARK BRASE
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MARK BREVNER          Case 22-11238-LSS    Doc 2 Filed 11/30/22
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MARK C WHITE                         MARK CALOCA                           MARK D HUSTEDT
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MARK DAVID TEMPLE                    MARK FLANDERS                         MARK FRIEND
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MARK FRITZ                           MARK HELLER                           MARK J MERRIMAN
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MARK JACHELSKI                       MARK JENSEN                           MARK JOHN MUDIE
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MARK JOLLY                           MARK KOBAL                            MARK L VIDITO
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MARK LOUGH                           MARK LYNN                             MARK MARGULIS
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MARK MARINO                          MARK MATTHEWS                         MARK MCGOEY
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MARK MELVIN JOHNSON                  MARK MING-YING CHEN                   MARK MOUSSEAU
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MARK NUSBAUM                         MARK PERRINE                          MARK POEPPELMEIER
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MARK R WOOLFSON       Case 22-11238-LSS    Doc 2 Filed 11/30/22
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                                                                           MARK RAY
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MARK RICHARD VRIEZE                  MARK ROBITZ                           MARK SCHMIDT
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MARK SCHROEDER                       MARK SCIALDONE                        MARK SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARK SHANNON                         MARK SHERMER                          MARK SHIELD
WALNUT FIRE PROTECTION CO.           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
P.O. BOX 1081
WALNUT, CA 91788




MARK SHOEMAKER                       MARK STAFFORD DOWSETT                 MARK STEIDLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARK STEPHENS                        MARK T OGINO                          MARK T THOMAS
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MARK TAYLOR BARNEY                   MARK THOMAS BELCHER                   MARK TIERNEY
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MARK TROPP                           MARK VAN CLEAVE                       MARK W AINSLEY
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MARK W ROEN                          MARK W SIMON                          MARK WAYNE RHODES
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MARK WEISSMAN                        MARK WILLIAM BEATTY                   MARK WILLIAM KEELER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MARK WONG             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MARK, ALEXANDER                     Page 3095  of 5495
                                                                              MARK, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




MARK, FIONA                             MARK, JENNIFER                         MARK, JOEL
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MARK, LORI                              MARK, RYAN                             MARK, TAMMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARK, TONI                              MARKAROVA, ANNA                        MARKEL, AMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARKEL, KRISTINA                        MARKEL, NICK AND MARGOT                MARKELL, JESSIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARKEN, RACHEL                          MARKER, ANGELA                         MARKER, KELLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARKER, LINDSAY                         MARKERT, DAVE                          MARKERT, JAIME-RAE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARKERT, STEPHANIE                      MARKESHA S COLLINS                     MARKESICH, CATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARKET AT THE RESERVE                   MARKETPLACE SELECTIONS INC             MARKETPLACE SELECTIONS INC
ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN: JACK JOCKISCH                    C/O GOZDECKI DEL GIUDICE AMERICUS ET
                                        1723 W ALTORFER DR                     AL
                                        PEORIA, IL 61615                       ATTN EARL E FARKAS
                                                                               ONE E WACKER DR, STE 1700
                                                                               CHICAGO, IL 60601

MARKETPLACE SELECTIONS INC              MARKETPLACE SELECTIONS INC.            MARKETPLACE SELECTIONS
C/O GOZDECKI DEL GIUDICE AMERICUS ET    ATTN: JACK JOCKISCH                    1723 W ALTORFER DRIVE
AL                                      1723 W ALTORFER DR                     PEORIA, IL 61615
ATTN EARL E FARKAS                      PEORIA, IL 61615
ONE E WACKER DR, STE 1700
CHICAGO, IL 61615
MARKETT, INC.        Case 22-11238-LSS    Doc 2BROOKE
                                    MARKEVICIUS,  Filed 11/30/22     Page 3096 ofMICHAELA
                                                                          MARKEY, 5495
1600 MAIN STREET                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VENICE, CA 90291




MARKEY-WORKMAN, ALLYSON             MARKFORT, CHRIS                       MARKGRAF, DIANE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARKHAM, AMY                        MARKHAM, COLLEEN                      MARKHAM, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARKHAM, KELLY                      MARKHAM, MADELINE                     MARKHAM, MATTHEW
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARKHAM, RUTHANNE                   MARKHAM, TAYLOR                       MARKI, SABRINA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARKIDES, GABRIELLA                 MARKIE MONTGOMERY                     MARKIEWICZ, KELLY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARKIEWICZ, RACHEL                  MARKIN, BRITTANY                      MARKIN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARKISON, ADRIENNE                  MARKISZ, LUCILLE                      MARKLE, PRISCILLA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARKLE, SARA                        MARKLEY, ALYSSA                       MARKMAN, LONI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARKMAN, MARILYN                    MARKMAN, MICAH                        MARKOCH, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MARKOFF, GARY         Case 22-11238-LSS    Doc
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MARKOPOULOS, AMY                     MARKOTA, DENISE                       MARKOVIC, CHERYL
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MARKOVICH, AMANDA                    MARKOVIKJ, FILIP                      MARKOVITCH, DEANNA
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MARKOWITZ, ANYA                      MARKOWITZ, JESS                       MARKOWITZ, SARAH
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MARKS, AMANDA                        MARKS, AMBER                          MARKS, ANDY
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MARKS, BRIAN                         MARKS, BRITTANY                       MARKS, CAITLIN
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MARKS, CAROLINE                      MARKS, CHIP                           MARKS, CHRISTOPHER E.
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MARKS, CONNOR                        MARKS, DANIELLE                       MARKS, DAWN
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MARKS, EMILIE                        MARKS, EMILY                          MARKS, EMILY
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MARKS, HARRISON                      MARKS, HEATH                          MARKS, JACK
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MARKS, JACKI          Case 22-11238-LSS
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MARKS, JOSHUA                        MARKS, JOSHUA                           MARKS, KELLY
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MARKS, LYNN                          MARKS, M                                MARKS, MELANIE
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MARKS, MICHELLE                      MARKS, ROBYN                            MARKS, SHANNON
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MARKS, SOPHIE                        MARKS, TARYN                            MARKS, TAYLOR
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MARKSBERRY, MICHELLE                 MARKULIC, CASSANDRA                     MARKULIS, PETER
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MARKUM, SARAH                        MARKUS, KATHLEEN                        MARKUS, KELLY
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MARKUS-LONGLAND, ABIGAIL             MARKWAY, JENNIFER                       MARKWELL, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MARKWELL, KELSEY                     MARKWICA, WHITNEY                       MARKY CHARPENTIER
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MARLAR, JESSICA                      MARLEE MIERZWA, TIMOTHY LAMBERT         MARLENE MIRA
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MARLENY GUERRA        Case 22-11238-LSS
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MARLER, MARTINA                      MARLER, MIKE                            MARLER, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MARLETT, KAYCIE                      MARLETTE, DAVID                         MARLEY, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MARLEY, BRANDON                      MARLEY, WILL                            MARLIN VOSS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MARLIN, GRACE                        MARLIN, LAURA                           MARLINE BLAZE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MARLISE C SKINNER                    MARLO VICINANZA                         MARLOFF, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MARLON R NEELY                       MARLOW & SONS                           MARLOW, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




MARLOW, HANNAH                       MARLOW, JAYNE                           MARLOW, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MARLOWE, JEFF                        MARLOWE, SUSAN                          MARLOWE, VALERIE
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MARMA, JENNIFER                      MARMALADE CAFE                          MARMALSTEIN, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
MARMEL, DANIELLE      Case 22-11238-LSS    Doc
                                     MARMION,    2 Filed 11/30/22
                                              EMILY                   Page 3100
                                                                           MARMO,of 5495
                                                                                  NIKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARMOL RADZINER PREFAB LLC           MARMOL, VICTORIA                      MARMOLEJO, JUSTINE
12210 NEBRASKA AVE                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90025




MARMOLEJO, MEREDYTH                  MARMOLEJOS, JULISA                    MARNI JANSEN VAN VUUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARNIE GOLDBERG                      MARNIEN, TONYA                        MARO, THOMAS
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MAROE, NIKOLE                        MAROLA, MARIANNE                      MAROLD, ANTHONY
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MAROLF, AMBET                        MAROLT, BETH                          MARON, NIKKI
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MARONE, MEGHAN                       MARONEL, ROBIN                        MARONEY, BRITTANY
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MARONEY, KARLISTA                    MARONEY, KELLI                        MARONEY, MARCA
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MARONEY-LOBELL, ALLISON              MAROSY, MACKENZIE                     MAROSY, THOMAS
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MAROTTA WHITWORTH, LINDSAY           MAROTTA, GABRIELE                     MAROTTA, MOLLY
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MAROTTA, SUSAN        Case 22-11238-LSS    Doc
                                     MAROTTE,    2 Filed 11/30/22
                                              JAYLENE                 Page 3101 ofBRENDA
                                                                           MAROUL, 5495
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MAROZ, LORI                          MAROZZI, ADRIENNE                     MARPLE, JENNIFER
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MARPLE, NICOLE                       MARQUARD, STEPHANIE                   MARQUARDT, CORINA
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MARQUARDT, JENNIFER                  MARQUARDT, KIMBERLY                   MARQUARDT, LAURA
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MARQUARDT, MARY                      MARQUARDT, TERRELL                    MARQUART, ANTHONY
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MARQUART, JOHN                       MARQUART, LAURA                       MARQUES, ISABEL
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MARQUES, MARISA                      MARQUES, SAMANTHA                     MARQUETTE, KIMBERLY
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MARQUEZ, ADRIENNE                    MARQUEZ, ALICIA                       MARQUEZ, AMANDA
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MARQUEZ, AMY                         MARQUEZ, CAMILLE                      MARQUEZ, CANDICE
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MARQUEZ, ERIKA                       MARQUEZ, EVELYN                       MARQUEZ, FRANCES
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MARQUEZ, FRANCES      Case 22-11238-LSS    Doc
                                     MARQUEZ,   2 Filed 11/30/22
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                                                                           MARQUEZ, KAREN
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MARQUEZ, LIZA                        MARQUEZ, MARIA                        MARQUEZ, MORGAN
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MARQUEZ, NICOLE                      MARQUEZ, REGINE                       MARQUEZ, SHAMILAH
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MARQUEZ, SHAWNTE                     MARQUEZ, TRACI                        MARQUEZ, VANESSA
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MARQUINA, ANDREA                     MARQUINA, DAVID                       MARQUIS, DANIELLE
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MARQUIS, DEBBIE                      MARQUIS, DEBRA                        MARQUIS, OLIVIA
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MARQUIS, SAMANTHA                    MARQUIS, SAMUEL                       MARQUIS, TRACI
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MARQUITTA ALSTON, MARQUITTA          MARR, ABBEY                           MARR, CHRIS
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MARR, DIXIE                          MARR, HEATH                           MARR, JACLYN
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MARR, KIM                            MARR, MADELEINE                       MARR, MEGAN
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MARR, TIAH            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MARRA, IRINA                            MARRA, JESSICA                        MARRA, STEPHEN
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MARRACCINI, DAVINA                      MARRAM, MELISSA                       MARRANO, ERIN
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MARRAS GKIOKAS, CHRISTOS                MARRAZZA, MIA                         MARRE, MICHAEL
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MARRELLO, MELANIE                       MARREN, MICHAEL                       MARRERO, ADRIANA
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MARRERO, ANDRES                         MARRERO, ANTOINETTE                   MARRERO, ERIALENE
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MARRERO, GISELLA                        MARRERO, JEANETTE                     MARRERO, JOSE
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MARRERO, KEANA                          MARRERO, MICHAEL                      MARRERO, RICARDO
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MARRIAGA, ALEXIA                        MARRIAGA, JULIAN                      MARRIAGE & MARTINIS LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        18 FALLSWOOD LN
                                                                              MANALAPAN, NJ 07726




MARRIOTT                                MARRIOTT, CONNIE                      MARRIOTT, ISABELLA
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MARRIOTT, JILL        Case 22-11238-LSS    Doc
                                     MARRIOTT,   2 Filed 11/30/22
                                               RUSSELL                Page 3104  of 5495
                                                                           MARRIOTT, VINCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARRIOTT-CAMPBELL, PORTIA            MARRIS, RODERICK                       MARRON, CHRISTINE
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MARRONE, CHRISTINA                   MARRONE, GINA                          MARROQUIN, ANDREA
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MARROQUIN, INGAR                     MARROQUIN, JESSICA                     MARROQUIN, MICHAEL
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MARROQUIN, NATALIN                   MARROQUIN, ROXANNA                     MARROQUIN, WENDY
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MARROTTE, JUDY                       MARRS, ALICIA                          MARRS, APRIL
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MARRS, CALLIE                        MARRS, DARREL                          MARRS, KIMBERLY
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MARRS, ROBIN                         MARRS, STEPHANIE                       MARRSON, HEATHER AND TOMMY
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MARRUFO, CARLOS ARTURO               MARRUFO, VANESSA                       MARRUS, JAIME
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MARSALEK, NICHOLAS                   MARSALIS, DANIELLE                     MARSAN, YURI
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MARSCHALL, ERIKA      Case 22-11238-LSS    DocPAUL
                                     MARSCHALL, 2 Filed 11/30/22      Page 3105 of 5495
                                                                           MARSCHING, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARSCHINKE, DAWN                     MARSCHKE, FAITH                        MARSCO INVESTMENT CORP (0287)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ATTN KAREN JACOBSEN OR PROXY MGR
                                                                            101 EISENHOWER PKWY
                                                                            ROSELAND, NJ 07068




MARSDEN, LAUREN                      MARSDEN, SARAH                         MARSE PUCCIO, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARSELLA, TRACY                      MARSH, AMBER                           MARSH, ANJHELINA
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MARSH, ANNE                          MARSH, ASHLEY                          MARSH, ASHLEY
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MARSH, BARBARA                       MARSH, BOBBI                           MARSH, CAMERON
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MARSH, CHRIS                         MARSH, CHRISTI                         MARSH, CHRISTINE
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MARSH, CHRISTOPHER                   MARSH, CHRISTOPHER                     MARSH, COLY
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MARSH, CONSTANCE                     MARSH, ELIZABETH                       MARSH, ERIN
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MARSH, ETHAN                         MARSH, JEFFREY                         MARSH, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MARSH, KRISTEN        Case 22-11238-LSS
                                     MARSH, Doc 2 Filed 11/30/22
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                                                                           MARSH,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARSH, LEANN                         MARSH, LYNDA                          MARSH, MARY COLETTE
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MARSH, MEGAN                         MARSH, MELINDA                        MARSH, MICHAEL
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MARSH, MORIAH                        MARSH, OLIVIA                         MARSH, REBEKAH
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MARSH, TAYLOR                        MARSH, TERRY                          MARSH, THOMAS
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MARSHAK, NANCY                       MARSHALEK, RUSS                       MARSHALL KEYS
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MARSHALL QUINN, MABLE                MARSHALL, ALLAN                       MARSHALL, AMY
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MARSHALL, AMY                        MARSHALL, ANNA                        MARSHALL, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARSHALL, ANTHONY                    MARSHALL, ASHLEY                      MARSHALL, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARSHALL, AVELINE                    MARSHALL, BRITTANI                    MARSHALL, BRITTANY
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MARSHALL, CAMELIA     Case 22-11238-LSS    Doc
                                     MARSHALL,   2 Filed 11/30/22
                                               CAROLINE               Page 3107 of 5495
                                                                           MARSHALL, CELESTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARSHALL, CELINA                     MARSHALL, CHARLENE                     MARSHALL, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARSHALL, CHEN                       MARSHALL, CHERI                        MARSHALL, CINDLY
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MARSHALL, CLARE                      MARSHALL, COURTNEY                     MARSHALL, CURTIS
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MARSHALL, DANIELLE                   MARSHALL, DARCY                        MARSHALL, DARYL
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MARSHALL, DASHAWN                    MARSHALL, DAVID                        MARSHALL, DEBORAH L
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MARSHALL, DEE & DINO                 MARSHALL, DENNISE                      MARSHALL, DESAREE
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MARSHALL, ELIZABETH                  MARSHALL, EMILY                        MARSHALL, ERIN
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MARSHALL, GABRIELLE                  MARSHALL, GREGORY                      MARSHALL, HEATHER
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MARSHALL, HEIDI                      MARSHALL, HEIDI                        MARSHALL, HUNTER
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MARSHALL, JACQUELINE Case 22-11238-LSS    Doc
                                    MARSHALL,   2 Filed
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                                                                           MARSHALL, JEANNETTE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MARSHALL, JENNY                      MARSHALL, JOHN                         MARSHALL, JONATHAN
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MARSHALL, JULIANA                    MARSHALL, JULIE                        MARSHALL, KAMAU
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MARSHALL, KATELYN                    MARSHALL, KATHY                        MARSHALL, KATIE
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MARSHALL, KELLI                      MARSHALL, KELLY                        MARSHALL, KENDRA
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MARSHALL, KENNETH                    MARSHALL, KOURTNI                      MARSHALL, LAURA
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MARSHALL, LAURE                      MARSHALL, LAUREN                       MARSHALL, LAUREN
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MARSHALL, LAUREN                     MARSHALL, LINDSEY                      MARSHALL, LORRIE
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MARSHALL, MARCY                      MARSHALL, MARGARET                     MARSHALL, MELISSA
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MARSHALL, MOLLY                      MARSHALL, MORGAN                       MARSHALL, NICCOLE
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MARSHALL, OLIVIA      Case 22-11238-LSS    Doc
                                     MARSHALL,   2 Filed 11/30/22
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                                                                             MARSHALL, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MARSHALL, RYAN                       MARSHALL, RYAN                           MARSHALL, SARAH
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MARSHALL, SARAH                      MARSHALL, SARAH                          MARSHALL, SHANNON
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MARSHALL, SHAUNA                     MARSHALL, SHAYNNA                        MARSHALL, STACEY
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MARSHALL, STACEY                     MARSHALL, STEPFANIE                      MARSHALL, STEPHEN
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MARSHALL, STEVEN                     MARSHALL, SUZANNE                        MARSHALL, TAELER
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MARSHALL, TAMMY                      MARSHALL, TODD                           MARSHALL-MULLER, BARBARA
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MARSHALL-RIAS, MALIKA                MARSHALLS                                MARSICO, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




MARSICO, CHRISTINE                   MARSIGLIA, VICTORIA                      MARSILI, KATHY
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MARSMAN, KATHRYN                     MARSOCCI, JUDY                           MARSON, LAUREN
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MARSTON, ERIN         Case 22-11238-LSS    Doc
                                     MARSTON,    2 Filed 11/30/22
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                                                                                MARSTON, KRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MARSTON, RACHEL                         MARSTON, ROBBY                           MARSZALEK, AUDRA
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MARSZALEK, BRANDON                      MARSZALEK, MISHALLE                      MART, JADE
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MART, JW                                MARTA 1 MARTA 1                          MARTA KOVALOVA
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MARTA                                   MARTE, ANDREA                            MARTE, NECHY
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MARTE, ROSIE                            MARTEL, LYNNE                            MARTEL, NICOLE
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MARTELL, CORINA                         MARTELL, DENISE                          MARTELL, JAIMIE
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MARTELL, JANET                          MARTELL, SOPHIE                          MARTELLE, LAUREN
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MARTELLO, DOMINIC                       MARTELLO, DONNA                          MARTELLO, JOSEPH
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MARTEN, DOMINIC                         MARTEN, ELENA                            MARTEN, LEXI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
MARTEN, LORI          Case 22-11238-LSS    Doc
                                     MARTENS,   2 Filed 11/30/22
                                              CHRIS                   Page 3111 of 5495
                                                                           MARTENS, GENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARTENS, JASON                       MARTENS, KAYLA                        MARTENS, LINDA
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MARTENS, MALLORY                     MARTENS, RACHEL                       MARTENS, REBECCA
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MARTENS, SARAH                       MARTENS, TED                          MARTENSSON, ALEXANDRA
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MARTES, JAYLEN                       MARTH, TIM                            MARTHA BELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARTHA BENNETT                       MARTHA JANE BEST                      MARTHA MCCARTHY
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MARTHA PABON                         MARTHA SARBELAND                      MARTHA, HERLONG
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MARTHA, JANET                        MARTHA, JANET                         MARTHALER, LEISA
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MARTHERS, WANDA                      MARTHIS, AMBER                        MARTI, CHELSEA
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MARTI, EILEEN                        MARTI, EMILY                          MARTI, KAREN
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MARTI, MARIANA        Case 22-11238-LSS    Doc 2JONATHAN
                                     MARTICHUSKI,    Filed 11/30/22   Page 3112  of 5495
                                                                           MARTIGNETTI, MARIA
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MARTIMEZ, STEVEN                     MARTIN (GUEST), KENDA                  MARTIN HUGH SMITH
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MARTIN LANG                          MARTIN SCAMINACI                       MARTIN ZIEGENFUSS, AMY
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MARTIN, ADRIENNE                     MARTIN, ALAN                           MARTIN, ALEX
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MARTIN, ALEXIS                       MARTIN, ALISA                          MARTIN, AMANDA
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MARTIN, AMBER                        MARTIN, AMY                            MARTIN, AMY
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MARTIN, ANDI                         MARTIN, ANDREA                         MARTIN, ANDREW
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MARTIN, ANNA                         MARTIN, ANNA                           MARTIN, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARTIN, ANTHONY                      MARTIN, ARANDEE                        MARTIN, ARLENE
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MARTIN, ARMANI                       MARTIN, ARTHUR                         MARTIN, ARTHUR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MARTIN, ASHLEIGH      Case 22-11238-LSS
                                     MARTIN,Doc 2 Filed 11/30/22
                                            ASHLEY                    Page 3113
                                                                           MARTIN,of 5495
                                                                                   ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARTIN, AUBRIE                       MARTIN, AUDREY                        MARTIN, AUSTYN
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MARTIN, BECCA                        MARTIN, BECKY                         MARTIN, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MARTIN, BETH                         MARTIN, BETH                          MARTIN, BETH
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MARTIN, BETHIE                       MARTIN, BILL                          MARTIN, BIRTE
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MARTIN, BOB                          MARTIN, BREANNA                       MARTIN, BREANNA
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MARTIN, BRITTANY                     MARTIN, BRONLEY                       MARTIN, BRYNA
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MARTIN, CAMILLA                      MARTIN, CAMILLE                       MARTIN, CAPRICCIO
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MARTIN, CARA                         MARTIN, CARLY                         MARTIN, CAROL
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MARTIN, CARON                        MARTIN, CASSIDY                       MARTIN, CASSIE
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MARTIN, CHANAYA                      MARTIN, CHANDLER                      MARTIN, CHARLENE
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MARTIN, CHRISTINA                    MARTIN, CHRISTINA                     MARTIN, CHRISTINE
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MARTIN, CHRYSA                       MARTIN, CLAUDIA                       MARTIN, CODY
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MARTIN, CRYSTAL                      MARTIN, CYNQUETTA                     MARTIN, DAMON
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MARTIN, DANIEL                       MARTIN, DAVID                         MARTIN, DAVID
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MARTIN, DEVYN                        MARTIN, DIONNE                        MARTIN, DYRDRA
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MARTIN, FAITH                        MARTIN, GABRIELLE                     MARTIN, GARY
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MARTIN, GAYLE                        MARTIN, GEORGIA                       MARTIN, GEORGIANNA
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MARTIN, GRETCHEN                     MARTIN, HALEY                         MARTIN, HALEY
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MARTIN, JENNIFER                     MARTIN, JENNIFER                      MARTIN, JENNIFER
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MARTIN, JESSE                        MARTIN, JESSICA                       MARTIN, JOHN
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MARTIN, JOHN                         MARTIN, JOSH                          MARTIN, JUDY
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MARTIN, LORI                         MARTIN, LORI                           MARTIN, LUKE
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MARTIN, LUKE                         MARTIN, LYNDSAY                        MARTIN, LYNN
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MARTIN, MACKENZIE                    MARTIN, MADELAIDE                      MARTIN, MADELINE
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MARTIN, MARGARET                     MARTIN, MARIANN                        MARTIN, MARY ALYCE
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MARTIN, MARY ANN                     MARTIN, MARY R                         MARTIN, MARY
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MARTIN, MARY                         MARTIN, MARY                           MARTIN, MAURICE
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MARTIN, MEKELA                       MARTIN, MELANIE                       MARTIN, MELENE
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MARTIN, MISTI                        MARTIN, MOLLY                         MARTIN, MONEE
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MARTIN, NANCY                        MARTIN, NATALIE                       MARTIN, NEIL
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MARTIN, NICHELLE                     MARTIN, NICK                          MARTIN, NICOLE
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MARTIN, NICOLE                       MARTIN, ODESSA                        MARTIN, OLIVIA
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MARTIN, PATRICIA                     MARTIN, PAUL                          MARTIN, PHYLLIS
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MARTIN, RENEE                        MARTIN, ROBYN                         MARTIN, RUFINO
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MARTIN, RYAN                         MARTIN, SAM                           MARTIN, SAMANTHA
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MARTIN, SAMANTHA                     MARTIN, SARA                          MARTIN, SARA
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MARTIN, SARAH                        MARTIN, SARAH                         MARTIN, SARAH
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MARTIN, SCOTT                        MARTIN, SCOTT                         MARTIN, SERGIO
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MARTIN, SHANNON                      MARTIN, SHANNON                       MARTIN, SPENCER
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MARTIN, STEPHANIE                    MARTIN, STEPHANIE                     MARTIN, STEPHANIE
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MARTIN, SUSAN                        MARTIN, SUZANNE                       MARTIN, TABATHA
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MARTIN, TALIA         Case 22-11238-LSS
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MARTIN, TANIA                        MARTIN, TAYLOR                        MARTIN, TAYLOR
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MARTIN, TERI                         MARTIN, TERRY                         MARTIN, TESS
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MARTIN, THERESA                      MARTIN, THOMAS                        MARTIN, THOMAS
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MARTIN, TIFFANY                      MARTIN, TRAVIS                        MARTIN, TRINITY
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MARTIN, TROY                         MARTIN, VALERIE                       MARTIN, VICTORIA
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MARTIN, VICTORIA                     MARTIN, VICTORIA                      MARTIN, VICTORIA
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MARTIN, WADE                         MARTIN, WENDOLYN                      MARTIN, WHITNEY
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MARTIN, WILL                         MARTIN, WINTER                        MARTIN, YOBIE
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MARTIN, YVONNE                       MARTINA BERNICE HILL                  MARTINA, CASSIDY
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MARTINAK, KRISTIN     Case 22-11238-LSS     Doc 2 STEPHEN
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MARTINDALE, APRIL                    MARTINDALE, BRENTON                    MARTINDELL, LEE
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MARTINEAU, JESSICA                   MARTINEK, CARRIE                       MARTINEK, NICOLE
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MARTINELLI, SAMUEL                   MARTINENKO, MASHA                      MARTINES, MARIA
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MARTINEZ DIAZ, ALEXANDRA             MARTINEZ LEON, CECILIA                 MARTINEZ LINALDI, ANDREA
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MARTINEZ SAMBOIS, CARLOS             MARTINEZ SAMBOIS, CARLOS               MARTINEZ VILLAMAR, MILDRED
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MARTINEZ, ADAM                       MARTINEZ, AGUSTIN                      MARTINEZ, ALAN
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MARTINEZ, ALEXANDER                  MARTINEZ, ALEXANDRA                    MARTINEZ, ALFONSO
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MARTINEZ, ALICIA                     MARTINEZ, ALYSE                        MARTINEZ, ALYSSA
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MARTINEZ, ALYSSA                     MARTINEZ, AMBER                        MARTINEZ, AMORINDA
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MARTINEZ, ANDREW                     MARTINEZ, ANGELA                      MARTINEZ, ANGELA
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MARTINEZ, ANGELA                     MARTINEZ, ANNA                        MARTINEZ, ANTHONY
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MARTINEZ, ANTONIO                    MARTINEZ, ARELY                       MARTINEZ, AYSHA
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MARTINEZ, BAYLEE                     MARTINEZ, BEATRIS                     MARTINEZ, BELEN
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MARTINEZ, BIRGITTA                   MARTINEZ, BRITTANY                    MARTINEZ, BRITTNEY
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MARTINEZ, BROOKE                     MARTINEZ, CAMERON                     MARTINEZ, CAROLINA
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MARTINEZ, CASSIE                     MARTINEZ, CELINA                      MARTINEZ, CHARLINE
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MARTINEZ, CLAUDIA                    MARTINEZ, COLLEEN                     MARTINEZ, COLTON
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MARTINEZ, CRYSTAL                     MARTINEZ, DANIA                        MARTINEZ, DANIELLA
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MARTINEZ, EMILY                       MARTINEZ, ERICA                        MARTINEZ, ERIKA
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MARTINEZ, FELICIA                     MARTINEZ, FERNANDO                     MARTINEZ, FERNANDO
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MARTINEZ, FRANCCESCA                  MARTINEZ, FRANCISCO                    MARTINEZ, FREDDY
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MARTINEZ, GABRIELA N                  MARTINEZ, GLORIA                       MARTINEZ, GREGORY
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MARTINEZ, GRISSELDA   Case 22-11238-LSS    Doc
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MARTINEZ, HANNAH                     MARTINEZ, HANSLY                      MARTINEZ, HENRY
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MARTINEZ, IBERIA                     MARTINEZ, IGNACIO                     MARTINEZ, IRMA
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MARTINEZ, ISABELLE                   MARTINEZ, ISSYS                       MARTINEZ, JACOB
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MARTINEZ, JOSE                       MARTINEZ, JUAN                         MARTINEZ, JUANA
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MARTINEZ, JUANITA                    MARTINEZ, JULIE                        MARTINEZ, JUSTIN
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MARTINEZ, JUSTIN                     MARTINEZ, KATE                         MARTINEZ, KATHERINE
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MARTINEZ, KATRINA                    MARTINEZ, KATY                         MARTINEZ, KEN
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MARTINEZ, KEVIN                      MARTINEZ, KRYSTAL                      MARTINEZ, KYRA
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MARTINEZ, LALINE                     MARTINEZ, LAURA                        MARTINEZ, LIBBY
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MARTINEZ, LISA                       MARTINEZ, LISA                         MARTINEZ, LISSETTE
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MARTINEZ, LIZ                        MARTINEZ, LOUIS                        MARTINEZ, LUIS
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MARTINEZ, LUPITA                     MARTINEZ, LUZ                          MARTINEZ, LYDIA
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                                     MARTINEZ,   2 Filed 11/30/22
                                               MADISON                Page 3128  of 5495
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MARTINEZ, MARIA                      MARTINEZ, MARIBEL                      MARTINEZ, MARISA
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MARTINEZ, MARISA                     MARTINEZ, MARVIN                       MARTINEZ, MAUDI
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MARTINEZ, MAX                        MARTINEZ, MEGAN                        MARTINEZ, MELANIE
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MARTINEZ, MELISSA                    MARTINEZ, MELYSA                       MARTINEZ, MICHOLE
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MARTINEZ, NICOLE                     MARTINEZ, NINA                         MARTINEZ, NOEMI
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                                               OLIVIA                 Page 3129  of 5495
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MARTINEZ, OSVANNY                    MARTINEZ, PATRICIA                     MARTINEZ, PATRICK
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MARTINEZ, ROBERT                     MARTINEZ, RONALDO                      MARTINEZ, SABRINA
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MARTINEZ, SALVADOR                   MARTINEZ, SALVADOR                     MARTINEZ, SANDRA
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MARTINEZ, SANDRA                     MARTINEZ, SANTIAGO                     MARTINEZ, SARAH
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MARTINEZ, SERGIO                     MARTINEZ, SERGIO                       MARTINEZ, SHELBI
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                                     MARTINEZ,   2 Filed 11/30/22
                                               STEPHANIE              Page 3130  of 5495
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MARTINEZ, TARYN                      MARTINEZ, TAYLOR GABRIELLE             MARTINEZ, TONY
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MARTINEZ, TYLER                      MARTINEZ, TYLER                        MARTINEZ, TYRA
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MARTINEZ, VANESSA                    MARTINEZ, VERONICA                     MARTINEZ, VICTORIA
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MARTINEZ-TRAVITZKY, TERESA           MARTINEZ-VUJOVIC, SOPHIE               MARTIN-HOLM, SHARON
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MARTINI, GEORGE                      MARTINI, GERI                         MARTINI, KRISTIN
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MARTINI, MICHAEL                     MARTINI, SARAH                        MARTINI, SARAH
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MARTINI, SYDNEY                      MARTINIS, KEVIN                       MARTINKOVICH, MARISSA
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MARTINKUS, DANIELLE                  MARTIN-LESTER, SHARITA                MARTINO, ALEXIA
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MARTINO, DEBRA                       MARTINO, ERIN                         MARTINO, GENE
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MARTINO, GINA                        MARTINO, JAMIE                        MARTINO, JULIANA
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MARTINO, MICHELLE                    MARTINO, NICHOLAS                     MARTINO, NICOLE
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MARTINS, ELIZABETH                   MARTINS, GABI                         MARTINS, ILDA
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MARTINS, VICTORIA                    MARTINSEN, PHYLLIS                    MARTIN-SNIDER, AMANDA
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MARTINSON, ABBY                      MARTINSON, CARLY                      MARTINSON, DAVID
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MARTINSON, HOLLIANNE                 MARTINSON, JOHN                       MARTINSON, MEGHAN
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MARTINSON, ROB                       MARTINSON, TAMARA                     MARTINSON, WIN
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MARTIRE, KATE                        MARTON, RENA                          MARTONE, CLAIRE
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MARTONE, ERIN                        MARTONE, EVAN                         MARTONE, EVAN
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MARTONE, JOSEPH                      MARTONE, KRISTEN                      MARTONIK, ANDREW
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MARTORAL, BARBARA                    MARTORELL, NICOLE                     MARTTILA, JAMIE
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                                     MARTUCCI,    2 Filed 11/30/22
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MARTUCCI, NATALIE                    MARTUCCIO, CARLY                       MARTUSCELLI, MARY
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MARTUSCELLO, CARMINE                 MARTY, ELLEN                           MARTY, REBEKAH
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MARTYN, ALLISON                      MARTYN, AMY                            MARTYN, HEATHER
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MARTYN, KELLY                        MARTYN, MELISSA                        MARTYN, SYDNEY
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MARTZ, ANDREA                        MARUBIO, KRIS                          MARUCA, ALISON
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MARUCA, KIRK                         MARUCA, NINA                           MARUCCI, MARY ANN
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MARUGAME MONZO                       MARUNA, KAREN                          MARUSCHAK, MICHELLE
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MARVA BEVERLEY CHASE                 MARVAZI, BETTY                         MARVEL, LAUREN
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MARVEL, MATT                         MARVEL, ROB                            MARVIGLIO, JANE
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MARVIN, REBECCA                       MARVIN, SHANEE                         MARWIL, SCOTT
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MARX, AIMEE                           MARX, BRANDON                          MARX, BRITTANY
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MARX, CELESTE                         MARX, JESSICA SHAMOO                   MARX, RHONDA
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MARX, VIVIANE                         MARXER, AMANDA                         MARY ANN KORENIC
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MARY ANN MCADEN                       MARY ANN WALLACE                       MARY B OELMAN
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MARY BETH GASSER                      MARY BURNETT                           MARY CATHERINE DEMBLEWSKI
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MARY CHERYL HORWATH                   MARY COLLINS                           MARY DANKOSKY
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MARY DAUBER                           MARY DREILING                          MARY E WOOD
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MARY FANTUZZI                         MARY FARRAAND                          MARY G PALKO
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MARY HALL             Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     MARY HARDIN                      Page 3135  of 5495
                                                                           MARY HARVEY DRISDELL
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MARY HAYES ERNST                     MARY HAYES                             MARY IGO
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MARY JAY, MARY JAY                   MARY JENNINGS                          MARY JOHNS
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MARY KAITLIN JOHNSON                 MARY KELLEY                            MARY LOU EVANS
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MARY LYNN BROWN                      MARY LYNN EICHERT                      MARY LYNNE MCELHANEY
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MARY MAKIN                           MARY MOLLA                             MARY NAYLOR
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MARY P THOMPSON                      MARY PAT JORDAN                        MARY PAT THOMPSON
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MARY PEROSI                          MARY REPENSHEK                         MARY SORRENTINO
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MARY TALBOT                          MARY TODD, MARY                        MARY TSATURIAN
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MARY VANSCOYK                        MARY WOLD                              MARY, CHINWE
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MARY, FRANCIS         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MARY, KILCOYNE                    Page 3136  of 5495
                                                                            MARY, RHODES,
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MARYANNE HOLMES                       MARYBETH MCDANIEL                     MARYFEL GOMEZ
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MARYGRACE IVERSON                     MARYLAND DEPT OF LABOR,               MARYLAND DEPT OF LABOR,
ADDRESS AVAILABLE UPON REQUEST        LICENSING AND REGULATION              LICENSING AND REGULATION
                                      500 NORTH CALVERT ST                  DIVISION OF LABOR AND INDUSTRY
                                      BALTIMORE, MD 21202                   1100 N EUTAW LAW, RM 600
                                                                            BALTIMORE, MD 21201



MARYLAND FIELD ENFORCEMENT DIVISION   MARYLAND OFFICE OF THE COMPTROLLER    MARYLAND OFFICE OF THE COMPTROLLER
STATE OFFICE BLDG. 301 W PRESTON      PETER FRANCHOT, COMPTROLLER           PETER FRANCHOT, COMPTROLLER
STREET                                80 CALVERT ST                         PO BOX 466
BALTIMORE, MD 21201-2384              ANNAPOLIS, MD 21404-0466              ANNAPOLIS, MD 21404-0466




MARY-PERRY MILLER                     MARZELLA, DAVID                       MARZELLI, JESSICA
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MARZESKI, ALLISON                     MARZETT, JOKEETA                      MARZO, CHRISTINE
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MARZOA, DENNIS                        MARZOLF, ALIAH                        MARZOLF, MAYUMI
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MARZOLF, MIGUELA                      MARZONI, BRIGITTE                     MARZOUGUI, SARA
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MARZULLI, TONY                        MAS, FORREST                          MAS, MACKENZIE
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MASCAGNI, JERRY                       MASCALI, SAL                          MASCARDO, GINO
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MASCARI, CASSIE       Case 22-11238-LSS    Doc
                                     MASCARO,   2 Filed 11/30/22
                                              VALERIE                 Page 3137 of 5495
                                                                           MASCHING, VANESSA
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MASCHINOT, CLARENCE                  MASCHO, SETH                          MASCI, KATHRYN
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MASCIA, CYNTHIA                      MASCIA, JACQUELYN                     MASCIADRELLI, DANIEL
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MASCIOLI, SARAH                      MASCITTI, DIANE                       MASCO, JANIS
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MASCORRO, ALYSSA                     MASCUCH, CLARE                        MASEK, DOMINIC
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MASEK, GABI                          MASEK, MEGAN                          MASELLI, PETER
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MASENDA, ANDREA                      MASER, MARGARET                       MASETTI, SARA
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MASHA, ASHLEY                        MASHAL, KATE                          MASHBURN, LIZZY
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MASHBURN, RACHEL                     MASHEK, MAXINE                        MASHELLE MAURER
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MASHIACH, MAYA                       MASI, ALEXIS                          MASI, ASHLEY
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MASI, CHRISTOPHER     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MASI, DESTINEE                   Page 3138   of 5495
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MASI, MARISSA                        MASIC, DARIO                          MASIKE, TAKUNDA
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MASILAMANI, LIGIA                    MASILOTTI, SHAWNIE                    MASIN, EVA
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MASIN, KELLY                         MASINDE, DOROTHY                      MASINDE, SHAVONDA
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MASINGALE, TRAVIS                    MASINI, CHRISTINE                     MASINI, LINDA
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MASINO, NICHOLAS                     MASK, MELANIE                         MASK, NATE
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MASKI, LISA                          MASLANKA, JANE                        MASLANKA, MARY
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MASLAR, JENNIFER                     MASLIA, ADAM                          MASLINE, CAROLYN
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MASLOV, DMITRY                       MASLOW, AZALEE                        MASLOWSKI, LAUREN
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MASON MOTES                          MASON, AARON                          MASON, AKI
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MASON, ALEXI                         MASON, ALLISON                        MASON, ANDY
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MASON, ANNE                          MASON, ASHLEE                         MASON, AUTUMN
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MASON, BRENNA                        MASON, BRIAN                          MASON, BRIANNA
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MASON, BRITTANY                      MASON, CARRIE                         MASON, CHAREE
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MASON, CHRISTIE                      MASON, CHRISTOPHER                    MASON, CHUCK
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MASON, COLETTE                       MASON, DARBY                          MASON, DEBORAH
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MASON, DELPHINE                      MASON, DESIDERIA                      MASON, DESIDERIA
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MASON, ELIZABETH                     MASON, ERIC                           MASON, FELICIA
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MASON, GINGER         Case 22-11238-LSS
                                     MASON, Doc 2 Filed 11/30/22
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                                                                           MASON,of 5495
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MASON, JAC                           MASON, JAMES                          MASON, JAVONA
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MASON, JENNA                         MASON, JESSICA                        MASON, JOANN
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MASON, JOANNE                        MASON, KATHY                          MASON, KATIE
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MASON, KAYLA                         MASON, KELSEY                         MASON, KIARA
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MASON, KRISTIE                       MASON, KYLER                          MASON, LIZ
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MASON, MARYBETH                      MASON, MELISSA                        MASON, MICHELLE
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MASON, NANCY                         MASON, PAIGE                          MASON, RACHAEL
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MASON, RALPH                         MASON, REMEKA                         MASON, RILEY
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MASON, SABRINA                       MASON, SARAH KATHRYN                  MASON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MASON, SERENAH        Case 22-11238-LSS
                                     MASON, Doc 2 Filed 11/30/22
                                            SHARON                    Page 3141
                                                                           MASON,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASON, SUZANNE                       MASON, TAYLOR                         MASON, TAYLOR
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MASON, TERESA                        MASON, TIFFANY                        MASON, TIMOTHY
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MASON, TRACY                         MASON, VANESSA                        MASON, WALTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASON, YAMAYA                        MASONE, CRAIG                         MASONEK, PAIGE
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MASONER, CAROLINE                    MASONER, MARY                         MASON-RIVERA, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASOOD, KATHRYN                      MASOPUST, FELICIA                     MASOURAS, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASRI, AMIR                          MASS, EMILY                           MASS, LARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASS, LARRY                          MASSA, ALYSSA                         MASSA, CLARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASSA, JULIE                         MASSA, MELISSA                        MASSA, TONY & ELYSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MASSACHUSETTS DEPT OFCase
                       LABOR 22-11238-LSS
                             AND              Doc 2 DEPT
                                       MASSACHUSETTS    FiledOF11/30/22
                                                                REVENUE   Page 3142 of 5495 DEPT OF REVENUE
                                                                               MASSACHUSETTS
WORKFORCE DEVELOPMENT                  DIVISION OF LOCAL SERVICES              DIVISION OF LOCAL SERVICES
ONE ASHBURTON PLC, STE 2112            100 CAMBRIDGE ST, 6TH FL                PO BOX 9569
BOSTON, MA 02108                       BOSTON, MA 02114-9569                   BOSTON, MA 02114-9569




MASSACHUSETTS SECURITIES DIVISION       MASSAD, ALEXA                          MASSALINE, NATISHA
MCCORMACK BUILDING                      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ONE ASHBURTON PLACE
17TH FLOOR
BOSTON, MA 02108



MASSANO, ERIN                           MASSANOIS, LLC                         MASSANOPOLI, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          14 HARWOOD COURT, SUITE 224            ADDRESS AVAILABLE UPON REQUEST
                                        SCARSDALE, NY 10583




MASSARE, PATRICIA                       MASSARI, SOPHIA                        MASSARO, JO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MASSARO, JOE                            MASSARO, JOSEPH                        MASSARO, JUDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MASSEE, LEAH                            MASSEL, ATTAWAY,                       MASSEN, ANGELA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MASSEO, EMILY                           MASSERY, ZACHARY                       MASSET, LINDSAY
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MASSET, RACHAEL                         MASSEY, ALANA                          MASSEY, AMANDA
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MASSEY, AMY                             MASSEY, BRANDON                        MASSEY, CHIP
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MASSEY, DRAKE                           MASSEY, ELECTRA                        MASSEY, ELIZABETH
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MASSEY, ELIZABETH     Case 22-11238-LSS
                                     MASSEY,Doc  2 Filed 11/30/22
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MASSEY, GINA                         MASSEY, JESSICA                       MASSEY, JESSICA
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MASSEY, JONELLE                      MASSEY, KAREN                         MASSEY, KELLI
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MASSEY, LENA                         MASSEY, LORRAINE                      MASSEY, MADELINE
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MASSEY, MAGGIE                       MASSEY, MARNIE                        MASSEY, MEGHAN
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MASSEY, NICK                         MASSEY, NICOLE                        MASSEY, RANCE
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MASSEY, RICHARD                      MASSEY, ROBERT                        MASSEY, SARA
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MASSEY, SARAH                        MASSEY, SHAWN                         MASSEY, TERRI
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MASSEY, VICTORIA                     MASSEY, VICTORIA                      MASSEY-WILLIAMS, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASSI, JULIA                         MASSICK, ESTHER                       MASSICOTTE, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MASSIE, DANA          Case 22-11238-LSS
                                     MASSIE,Doc
                                            JULIA 2  Filed 11/30/22   Page 3144
                                                                           MASSIE,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASSIE, RYAN                         MASSIER, MARK                         MASSIGLIA, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASSIH, DEVIN                        MASSIMINO, JESSICA                    MASSIMO NOJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASSIMO, CHRISTIN                    MASSIMO, LIA                          MASSIN, NOELLE
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MASSINGILL, MEGAN                    MASSINGILL, PAIGE                     MASSINGILLE, LAUREN
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MASSMAN, ERIN                        MASSMANN, JASON                       MASSO, ANA
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MASSO, CARMEN                        MASSO, LORENA                         MASSON, GABRIELLE
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MASSON, JAMES                        MASSON, RICK                          MASSONI, JIM
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MASSONI, SARA                        MASSOURAS, STEVE                      MASSUNG, RON/TORI
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MASSY, ALYSSA                        MAST, DANCIA                          MAST, DAWN
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MAST, RACHEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MAST, THOMAS                       Page 3145 of 5495
                                                                             MASTALERZ, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MASTEL, KASEY                        MASTELLAR, LUCY                         MASTEN, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MASTEN, KRISTINA                     MASTEN, SARAH                           MASTEN, TIFFANY
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MASTER, AASHINI                      MASTER, REBECCA                         MASTER, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MASTERCARD INTERNATIONAL             MASTERS DONUTS                          MASTERS, AMANDA
2000 PURCHASE STREET                 ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
PURCHASE, NY 10577




MASTERS, AMY                         MASTERS, AMY                            MASTERS, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MASTERS, CAROL                       MASTERS, CARRIE                         MASTERS, CHELSEY
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MASTERS, DEIRDRA                     MASTERS, DONNA                          MASTERS, GINA
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MASTERS, HANNAH                      MASTERS, JAMES                          MASTERS, JILLIAN
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MASTERS, KAITLIN                     MASTERS, LISA                           MASTERS, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MASTERS, REBECCA      Case 22-11238-LSS    Doc
                                     MASTERS,   2 Filed 11/30/22
                                              ROXANNE                 Page 3146 of 5495
                                                                           MASTERS, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASTERS, TATHIANA                    MASTERSON, CATHERINE                  MASTERSON, EMILY
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MASTERSON, JENNA                     MASTERSON, KATHY                      MASTERSON, LEAH
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MASTERSON, LEAH                      MASTERSON, LISA                       MASTERSON, MAUREEN
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MASTERSON, MEGAN                     MASTERSON, TERI                       MASTERTON, FIONA
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MASTIN, TAYLOR                       MASTNY, JACKIE                        MASTON, JILLIAN
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MASTON, RACHEL                       MASTOR, COLLEEN                       MASTORAKIS, TASO
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MASTRACCO, SARAH                     MASTRANDO, MICHELE                    MASTRANGELO, JOOLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASTRANGELO, LAURIE                  MASTRANGELO, MATTHEW                  MASTRANGELO, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASTRIANO, DAVID                     MASTRIANO, ELIZABETH                  MASTRINI, NICOLE
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MASTRO, ANTONIA       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MASTROBATTISTA, DEBBIE                  MASTROBERTI, LILA                     MASTROFILLIPPO, DEBORAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASTROIANNI, KRISTI                     MASTROIANNI, VIRA                     MASTROMARINO, STEVE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASTROMONACO, CRISTINA                  MASTRONY, ALEXA                       MASTRONY, CAROLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASTROPAOLO, MARCIE                     MASTROPASQUA, JENNA                   MASTROPIERI, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASTROSIMINI, ROSA                      MASTROSTEFANO, TONY                   MASTROVITO, TINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASUD, AMEERA                           MASUDA, JESSICA                       MASUI, RIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MASURA, TAYLOR                          MASURET, CHRIS                        MASVIDAL, ANTONIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATA CONSTRUCTION                       MATA HOUSEMAN, WENDY                  MATA, JUAN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATA, MARYANN                           MATA, MELISSA                         MATA, OSCAR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATA, VIRGINIA        Case 22-11238-LSS    Doc CAROLINA
                                     MATADAMAS, 2 Filed 11/30/22      Page 3148  ofLAUREN
                                                                           MATAJA,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATALIA CAPITAL MANAGEMENT LLC       MATALIA, NEIL                         MATALKA, ERIN
40 HARRISON STREET APT 38D           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10013




MATALON, LEORA                       MATALUCCI, MATTHEW                    MATAMOROS, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATAMOROS, MARIA                     MATARAZZO, BEATRIZ                    MATARAZZO, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATARAZZO, NEAL                      MATAS, IDIT                           MATASSA, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATATALL, NATE                       MATATICS, MARIA                       MATCH, KACIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATCHACK, RYAN                       MATCHAM, GEORGE                       MATCHBOOK LABS, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        601 4TH STREET 207
                                                                           SAN FRANSISCO, CA 94107




MATCHEN, JEFF                        MATCHETT, BLAKE                       MATCHETT, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATEIK, JENNIFER                     MATEJCZYK, RAY                        MATEJEK, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATEJEK, PORSCHE                     MATEJKA, CLAIRE                       MATEJKA, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATEL, BRYAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MATEL, CARLIE                     Page 3149
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATEN, ROSALEEN                       MATEO, ANDREW                         MATEO, JUNIOR
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATEO, SANDRA                         MATER, SHANNON                        MATERAZZI, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATERIAL HANDLING SUPPLY, INC. (MHS   MATERN, JILLIAN                       MATERN, LAURA
LIFT INC.)                            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
6965 AIRPORT HIGHWAY LANE
PENNSAUKEN TOWNSHIP, NJ 08109




MATERN, MISTY                         MATERNICK, GARRETT                    MATES, ANGELA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATES, JOSHUA                         MATES, JOSHUA                         MATESCO, CAROLINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATETICH, JOHN                        MATEY, PALASH                         MATEYAK, LORI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHAE, EMILY                         MATHAI, KEVIN                         MATHAI, LEENA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHAI, SARINA                        MATHANY, MARILYN                      MATHANY, REBECCA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHAROO, GURDEEP                     MATHE, DUSTIN                         MATHENA, TRACY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATHENEY, CARRIE      Case 22-11238-LSS    Doc
                                     MATHENY,    2 Filed 11/30/22
                                              CAITIE                    Page 3150 of 5495
                                                                             MATHENY, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MATHENY, MELANIE                       MATHENY, PATRICIA K                   MATHER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHER, RACHEL                         MATHER, REBECCA                       MATHER, SHANTEL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHERLY, CAITLIN                      MATHERN, HOPE                         MATHERNE, KYLE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHERS, DONALD S                      MATHERS, MADELINE                     MATHES, CARRIE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHES, KATHRYN                        MATHES, REBEKAH                       MATHES, TERA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHESON TRI-GAS, INC                  MATHESON, CRAIG                       MATHESON, KATHERINE
909 LAKE CAROLYN PARKWAY, SUITE 1300   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
IRVING, TX 75039




MATHESON, MARY ELLEN                   MATHESON, SAMANTHA                    MATHESON, SHELDON
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHEW, ALEX                           MATHEW, ALICE                         MATHEW, ANNA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHEW, JULIE                          MATHEW, MANJU                         MATHEW, SALIL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                       Case 22-11238-LSS
MATHEWS SMITH, DENISE ELAINE                Doc
                                      MATHEWS,   2 Filed 11/30/22
                                               ALLISON                 Page 3151 of 5495
                                                                            MATHEWS, BRUCE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHEWS, CRISTEN                      MATHEWS, CYNTHIA                      MATHEWS, DARLENE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHEWS, DAVE                         MATHEWS, HALEY                        MATHEWS, HEATHER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHEWS, JACK                         MATHEWS, LINDSAY                      MATHEWS, MARK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHEWS, MEGAN                        MATHEWS, SARAH                        MATHEWS, SHANNON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHEWS, SUNNY                        MATHEWS, TAMIKA                       MATHEWS, TANYA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHEWS, WYMAN                        MATHEWSON, JORDAN                     MATHIAS, DEVAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHIAS, MAUREEN                      MATHIAS, NICOLE                       MATHIAS, RAVI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHIAS, THOMAS                       MATHIASEN, CYNTHIA                    MATHIASON, JESSICA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATHIESON, AMBER                      MATHIESON, JESSICA                    MATHIEU, AMY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATHIEU, EMILY        Case 22-11238-LSS    Doc
                                     MATHIEU,    2 Filed 11/30/22
                                              JAYSON                  Page 3152  of JULIETTE
                                                                           MATHIEU,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHIOWETZ, ROBERT                   MATHIS, ADAM                           MATHIS, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHIS, CAROL                        MATHIS, DANIELLE                       MATHIS, DEIRDRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHIS, ELEANOR                      MATHIS, KIM                            MATHIS, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHIS, MIRANDA                      MATHIS, PAMELA                         MATHIS, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHIS, SHELBY                       MATHIS, TAYLOR                         MATHISEN, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHISEN, LINDSAY                    MATHISEN, LISA                         MATHISON, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHISON, SCOTT                      MATHIVHA, SHONISANI                    MATHON, SARBJEET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHSON, MICHELLE                    MATHUR, ANIMESH                        MATHUR, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATHURIN, IVONNE                     MATHURIN, ROLAND                       MATHWICH, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MATHWIG, NATHAN       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MATIAS WILLIAMS                  Page 3153
                                                                           MATIAS,of 5495
                                                                                   JUSTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATIC, KATHERINE                     MATICHUK, NICOLE                       MATIK, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATILDA LANE                         MATILE, STEPHANIE                      MATILLANO, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATINA FARMER                        MATIP, ANDRE                           MATIS, RUTH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATISKO, KELSEY                      MATISON SIEREN-CARD                    MATISZ, AMBER
ADDRESS AVAILABLE UPON REQUEST       1530 N. DETROIT ST., APT 210           ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90046




MATLACK, STEPHANIE                   MATLIN, BRIAN                          MATLOCK, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATLOCK, JORDAN                      MATLOCK, KIMMIE                        MATLOF, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATLUK, BRYAN                        MATO, KLEMENTINA                       MATOESIAN, KENARR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATOLINA, YULIYA                     MATOS, A                               MATOS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATOS, EMILY                         MATOS, ERNESTO                         MATOS, LAURA KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MATOS, LYDIA          Case 22-11238-LSS
                                     MATOS, Doc  2 Filed 11/30/22
                                            MARILIA                   Page 3154
                                                                           MATOS,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATOS, STEVEN                        MATOS, WENDY                          MATOUSH, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATRAFAILO, MYROSLAV                 MATRANGA, MOLLY                       MATRO, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATRONA KOSTEREV                     MATROW, JANELLE                       MATSCHAT, CHRISSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATSEAS, JUDITH                      MATSIAYEUSKAYA, IRYNA                 MATSON, BETTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATSON, DOUGLAS                      MATSON, ELIZABETH                     MATSON, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATSON, JACK                         MATSON, JAMIE                         MATSON, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATSUDA, SAORI                       MATSUI, BRANDON                       MATSUMOTO, CARLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATSUMURA, MAKIA                     MATSUO, KIRA                          MATSUO, MERCEDES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATSUSHITA, MIHO                     MATSUURA, REINA                       MATT ARANEO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATT MERRICK          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MATT MITROFF                     Page 3155  of 5495
                                                                           MATT THELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATT, CHRISTYN                       MATT, LISA MATT                       MATTA, BISHARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTA, ELENA                         MATTA, JUAN                           MATTA, JUDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTA, KENZIE                        MATTA, MADISON                        MATTAR, JASON
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MATTE, JOSEPH                        MATTEFS, JENNY                        MATTEI, LEIGH
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MATTEO, LUCIA                        MATTER, NATALIE                       MATTERA, CAITLIN
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MATTERA, NATHANIEL                   MATTERN, JENNIFER                     MATTERN, KAYLA
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MATTERN, MARY                        MATTERN, WILLIAM                      MATTERO, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTERT, JEF                         MATTES, REBEKAH                       MATTESKY, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTESON, ADRIENNE                   MATTESON, COLLEEN                     MATTESON, CORINNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATTESON, JANE        Case 22-11238-LSS    DocLYNDSEY
                                     MATTESON,  2 Filed 11/30/22      Page 3156 of 5495
                                                                           MATTESON, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTESSICH, MICHAEL                  MATTESSICH, SANDRA                    MATTESSICH, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEES, KRISTIN                    MATTHEISEN, ANGELA                    MATTHEW A. THELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW AARON RIVERA                 MATTHEW AGRAMONTE                     MATTHEW BAILEY
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MATTHEW BALMER                       MATTHEW BOOKHOUT                      MATTHEW BOUTHILETTE
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MATTHEW BROSIOUS                     MATTHEW CHASIN                        MATTHEW CHISOM NWANKWO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW CUNNINGHAM                   MATTHEW DANIEL LAKE                   MATTHEW DELANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW DEMASI                       MATTHEW DONALDSON                     MATTHEW DWAYNE HUDGINS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW E BELL                       MATTHEW EDWARDS                       MATTHEW F FISHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW FREITAG                      MATTHEW GALLAGHER                     MATTHEW GARRISON CAMPBELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATTHEW GOFF          Case 22-11238-LSS    Doc
                                     MATTHEW    2 Filed
                                             GREGORY       11/30/22
                                                       HASTY          Page 3157 of 5495
                                                                           MATTHEW J BEDNARZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW JAMES GRAZIANO               MATTHEW JAMES KRESKI                  MATTHEW JOHN CONNOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW JOHN LEWIS                   MATTHEW JONES                         MATTHEW KATZ
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MATTHEW KATZ                         MATTHEW KNEHR                         MATTHEW L WALKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW MCCOMBS                      MATTHEW MCGRATH                       MATTHEW MULLINS
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MATTHEW MURPHY                       MATTHEW NATHANSON                     MATTHEW NORRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW ONDRUSEK                     MATTHEW P BRISLIN                     MATTHEW PATTISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW PICKETT                      MATTHEW PITLICK                       MATTHEW POTTER
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MATTHEW PREDAINA                     MATTHEW RICKS-WILSON                  MATTHEW RODE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEW ROUNTREE                     MATTHEW SALZBERG                      MATTHEW SCHROEDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATTHEW STAUBLE       Case 22-11238-LSS    Doc
                                     MATTHEW    2 Filed 11/30/22
                                             THELEN                    Page 3158 of 5495
                                                                            MATTHEW THOMAS DONAGHUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTHEW THORNTON                     MATTHEW TIAMPO                         MATTHEW TIDWELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTHEW TURLIP                       MATTHEW V POLLACK                      MATTHEW VOGELE
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MATTHEW VOLDENG                      MATTHEW WALTZ                          MATTHEW WHITE
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MATTHEW WILLIAM SULLINS              MATTHEW ZARNOCH                        MATTHEW, ELEANOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTHEW, IRIS                        MATTHEW, JUDY                          MATTHEW, MAKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTHEW, TRAVIS                      MATTHEWS CHRIS CASTILLO, BROOKE        MATTHEWS, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, ALANA                      MATTHEWS, ALICIA                       MATTHEWS, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, AMY                        MATTHEWS, ASHLEY                       MATTHEWS, AUDREY
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MATTHEWS, AUSTIN                     MATTHEWS, BENJAMIN                     MATTHEWS, BRITTANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MATTHEWS, CHELSEY     Case 22-11238-LSS    DocCLAIRE
                                     MATTHEWS,  2 Filed 11/30/22      Page 3159 of 5495
                                                                           MATTHEWS, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, DEEANN                     MATTHEWS, DIANA                       MATTHEWS, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, ERIC                       MATTHEWS, ERIC                        MATTHEWS, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, JEROME                     MATTHEWS, JESSICA                     MATTHEWS, JODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, JOHN                       MATTHEWS, JULIA                       MATTHEWS, JULIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, KATIE                      MATTHEWS, KEVIN                       MATTHEWS, LAUREL
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MATTHEWS, LINDSAY                    MATTHEWS, MARGARET                    MATTHEWS, MARK
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MATTHEWS, MEGAN                      MATTHEWS, MERRILL                     MATTHEWS, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, MIRANDA                    MATTHEWS, MONICA                      MATTHEWS, NORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, SAMANTHA                   MATTHEWS, SAMANTHA                    MATTHEWS, SHANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATTHEWS, SHELBY      Case 22-11238-LSS    DocTAWANDA
                                     MATTHEWS,  2 Filed 11/30/22         Page 3160 of 5495
                                                                              MATTHEWS, TAYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MATTHEWS, TERESA HALL                   MATTHEWS, TESSA                       MATTHEWS-MCGEE, AULDYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHEWS-WEBB, KAELA                    MATTHIAS SCHMITT                      MATTHIAS, BROOKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHIAS, CYNTHIA                       MATTHIAS, EMILY                       MATTHIAS, JENNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTHIASSON                             MATTHIES, KATIE                       MATTHIES, KELLY
PO BOX 11106                            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OAKLAND, CA 94611




MATTIA, JENNIFER                        MATTIACE, KAITLYN                     MATTICE, DANIELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTICE, ERIN                           MATTICE, KRISTEL                      MATTIE, JOSH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTIES TAVERN                          MATTILA, DAVID                        MATTIMIRO, HANNAH
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTIN, HEATHER                         MATTINA, VINCENT                      MATTINGLY, COLLEEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATTINGLY, ELIZABETH                    MATTINGLY, JARROD                     MATTINGLY, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATTINGLY, KYLE       Case 22-11238-LSS    DocLAURA
                                     MATTINGLY, 2 Filed 11/30/22      Page 3161  of 5495
                                                                           MATTIOLA, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTIOLI, ISABEL                     MATTIOLI, VERONICA                     MATTIONI, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTIS, ANDREA                       MATTIS, ZOE                            MATTISON, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTISON, DONNA                      MATTISON, HANNAH                       MATTISON, LACI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTMULLER, JACKIE                   MATTOCKS, PYN                          MATTOCKS, SANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTOCKS, WHITNEY                    MATTONI, TORI                          MATTONLYMOORE, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         426 WHITFIELD RD
                                                                            ACCORD, NY 12404




MATTOS, DANIEL                       MATTOS, KENNETH                        MATTOS, MARCELO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTOX, DANA                         MATTOX, LAURA                          MATTOX, MARLO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTOX, SUMMER                       MATTS, MICHAEL/DOREEN                  MATTSCHECK, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MATTSON, BETHANY                     MATTSON, CHRISTOPHER                   MATTSON, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MATTSON, LINDA        Case 22-11238-LSS    Doc
                                     MATTSON,   2 Filed 11/30/22
                                              MAREN                   Page 3162 of 5495
                                                                           MATTSON, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATULA, ANDI                         MATULA, ROBERT                        MATULEWICZ, ESTIBALIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATUNIN, JULIE                       MATURO, KELLEY                        MATUS, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATUS, VINIZHA                       MATUSIAK, MARK                        MATUSICK, JOANNA
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MATUSKA, JAN                         MATUSKA, LORI                         MATUSKEY, CHELSEA
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MATUSZAK, ALYSSA                     MATUSZAK, HAYLEY                      MATUSZCZYK, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATUSZEK, KAREN                      MATYAS, SEAN                          MATYLINSKI, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATYOLA, LIANNE                      MATYSEK, JAKE                         MATZ, ALEXANDRIA
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MATZ, CHRISTINA                      MATZ, DAKOTA                          MATZ, EAVAN
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MATZ, ILANA                          MATZ, JANET                           MATZ, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MATZ, KATHERINE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MATZ, KATIE                      Page 3163   of 5495
                                                                           MATZ, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MATZ, LIA                            MATZ, SARAH                           MATZKE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAU, STEPHANIE                       MAUCH, ASHLEY                         MAUCH, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUCH, KYLE                          MAUCK, MEGAN                          MAUCLERE, TESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUD EMILLE SIMEON                   MAUE, ROBERT                          MAUELSHAGEN, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUERSBERGER, LAUREN                 MAUGERI, KRISTY                       MAUGHAN, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUGHMER, VICKI                      MAUK, DALE                            MAUK, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUKE, KRISTIN                       MAUL, NATALIE                         MAULDEN, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAULDIN, ASHLEY                      MAULDIN, HALEY                        MAULDIN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAULDIN, JOSEPH                      MAULDIN, KEYONA                       MAULDIN, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAULDIN, MATTHEW      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MAULE, BEATRICE                  Page 3164
                                                                           MAULE,of 5495
                                                                                 LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAULE, TAMMY                         MAULIN PATEL                          MAULL, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAULLER, JANET                       MAULUCCI, SUSAN                       MAUNAKEA, JENNIFER
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MAUND, ANNETTE                       MAUND, JULIA                          MAUNDER, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUNDERS, BLYTHE                     MAUNEY, MAGGIE                        MAUNEY, ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUPAI, MARY                         MAUPIN, ALLIE                         MAUPIN, CHRISTOF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUPIN, KELLEY                       MAUPIN, TERESA                        MAURA P MCDERMOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAURAGAS, EMILY                      MAURATH, MICHAEL                      MAUREEEN, KALLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUREEN ANN OCASIO                   MAUREEN CARLOMAGNO                    MAUREEN EDOBOR
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MAUREEN HARMON                       MAURER, AMBER                         MAURER, BRITTANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAURER, DAWNLEE       Case 22-11238-LSS    Doc
                                     MAURER,     2 Filed 11/30/22
                                             EMILY                    Page 3165 ofKRISTEN
                                                                           MAURER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAURER, LAURA                        MAURER, MATTHEW                       MAURER, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAURER, SARA                         MAURER, TODD                          MAUREZE, BRITNY
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MAURI, MAUREEN                       MAURICE DEMETRIUS ROPER               MAURICE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAURICE, MAX-AUGUSTE                 MAURICE, MEAGHAN                      MAURICE, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAURICIO DAVID COEN MORAGA           MAURICIO SABOGAL                      MAURICIO, DANIELLE
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MAURICIO, KEVIN                      MAURIELLO, AVA                        MAURIELLO, DEBBY
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MAURIELLO, MARIA                     MAURITZ, NANCY                        MAURITZEN, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAURO, DAWN                          MAURO, ELIZABETH                      MAURO, HOPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAURO, JAMES                         MAURO, JESSICA                        MAURO, JILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAURO, JOSEPH         Case 22-11238-LSS
                                     MAURO, Doc 2 Filed 11/30/22
                                            KAREN                        Page 3166
                                                                              MAURO,of 5495
                                                                                     KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MAURO, KEVIN                            MAURO, MARIE                          MAURO, ROBIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAURO, SARAH                            MAURO, WILLIAM                        MAURONE, DALE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUROS CAFE                             MAURY BROWNING                        MAURY, ANDREW
8112 MELROSE AVE.                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90046




MAURY, COURTNEY                         MAURY, SHAMIL                         MAUS, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUSAR, MIKAL                           MAUSNER, IAN                          MAUSNER, OLIVER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUSSER, HANNAH                         MAUTE, ELIZABETH                      MAUTH, CASEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAUTINO, DARCY                          MAVE, MEGAN                           MAVERICK ARCENA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAVERICK                                MAVERICK, KRISTIN                     MAVERS, MELINDA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAVES, STEPHANIE                        MAVIN-ANDERSON, SARAH                 MAVITY, CAMERON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAVODONES, JILLIAN    Case 22-11238-LSS    Doc
                                     MAVOUR, KAFI2   Filed 11/30/22   Page 3167 ofRACHEL
                                                                           MAVRAK, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAVRAKES, AMANDA                     MAVRIKIS, AMANDA                      MAVRIS, SHASTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAVROMICHALIS, KATHRYN               MAVROS, CHRISSY & WADYN               MAVROS, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAVROVA, GLORIYA                     MAWBY, ALLIE                          MAWBY, LILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAWDESLEY, ANDREW                    MAWN, HEATHER                         MAX DENG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAX DUFOUR                           MAX FELICE MARCHINOE                  MAX GREBNER
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MAX HERNANDEZ                        MAX MCGUIRE                           MAX STRAUSS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAX, ERICA                           MAX, KAITLYN                          MAX, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAX, VALERIE                         MAXAM, NATALIE                        MAXBOUNTY ULC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        (WIRE) 201- 815 TAYLOR CREEK DRIVE
                                                                           ORLU00E9ANS, ON K1C 1T1
                                                                           CANADA




MAXCY, JERALD                        MAXCY, RILEY                          MAXEY, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAXEY, EMILY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MAXEY, MAXINE                    Page 3168
                                                                           MAXEY,of 5495
                                                                                 MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAXEY, SHELLEY                       MAXEY, TIFFANY                        MAXFELDT, GENAVEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAXFIELD, JES                        MAXFIELD, KELSEY                      MAXIE, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAXIE, SINAMI                        MAXIME DAVID ERIC DUBREUCQ            MAXIME, SINGA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAXIMILIAN SANDERS                   MAXIMUS SKATES, JAX                   MAXSON, LEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAXSTEAD, HOLLY                      MAXTED, BRITTANY                      MAXTED, BRITTANY
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MAXTED, CLAIRE                       MAXWELL CONNOR JAMES                  MAXWELL, ALLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAXWELL, BRENDA                      MAXWELL, BRIAN                        MAXWELL, BRITANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAXWELL, BRUCE                       MAXWELL, CAROLYN                      MAXWELL, COLBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAXWELL, CRANDALL                    MAXWELL, DANIELLE                     MAXWELL, DEWITT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAXWELL, ELIZABETH    Case 22-11238-LSS    Doc
                                     MAXWELL,    2 Filed 11/30/22
                                              ELIZABETH               Page 3169 of 5495
                                                                           MAXWELL, FELICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MAXWELL, GERRY                       MAXWELL, HEATHER                       MAXWELL, HUDSON
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MAXWELL, JADA                        MAXWELL, JESSICA                       MAXWELL, JILL
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MAXWELL, JOEL                        MAXWELL, KELLY                         MAXWELL, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MAXWELL, KIMBERLY                    MAXWELL, LACOYA                        MAXWELL, LAURA
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MAXWELL, LESLY                       MAXWELL, MAGGY                         MAXWELL, MARTHA
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MAXWELL, MEGHAN                      MAXWELL, MONET                         MAXWELL, PETER
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MAXWELL, RICHARD                     MAXWELL, SOPHIE                        MAXWELL, SYLVIA
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MAXWELL, TOYA                        MAXWELL, VIRGINIA                      MAXWELL-WILLIAMS, RIAN
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MAY, ALEX                            MAY, ALLISON                           MAY, AMANDA
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MAY, AMANDA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MAY, AMY                         Page 3170  of 5495
                                                                           MAY, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAY, ANGELINA                        MAY, ANNA                             MAY, ANTHONY
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MAY, ASHLEY                          MAY, ASHLEY                           MAY, BAILEY
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MAY, BILL                            MAY, BRANDON                          MAY, C
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MAY, CASSIE                          MAY, CHELSEY                          MAY, CHERYL
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MAY, CHRISTINA                       MAY, CHRISTOPHER                      MAY, CRYSTAL
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MAY, DEE                             MAY, ELLEN                            MAY, EMILY
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MAY, ERIC                            MAY, ERIC                             MAY, GAYLEN
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MAY, GIGI                            MAY, GREGORY                          MAY, HALE
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MAY, HEATHER                         MAY, JACQUELINE                       MAY, JAMES
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MAY, JANELLA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MAY, JENNIFER                    Page 3171   of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAY, JESSALYN                        MAY, JULIE                            MAY, KAREN
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MAY, KARISSA                         MAY, KATHLEEN                         MAY, KAYLIN
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MAY, KRYSTLE                         MAY, LEONARD                          MAY, LESLIE
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MAY, LORI                            MAY, LYNDSAY                          MAY, MALCOLM
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MAY, MARCIA                          MAY, MATT                             MAY, MELISSA
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MAY, MOLLY                           MAY, RACHEL                           MAY, REBECCA
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MAY, ROBERT                          MAY, RYAN                             MAY, SHARELL
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MAY, SHELLY                          MAY, SUSAN                            MAY, SUZANNE
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MAY, VENCE                           MAY, VICTORIA                         MAY, WALTER
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MAY, WHITNEY          Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




MAYA SYKES                           MAYA, CAROLYNA                        MAYAN, AMANDA
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MAYANI, KRISHNA                      MAYANK KHANNA                         MAYARD, TAINA
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MAYBEE, HELGA                        MAYBEE, JAMIE                         MAYBER, CHERYL
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MAYBERRY, CASSIDY                    MAYBERRY, CRYSTAL                     MAYBERRY, KRYSTEN
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MAYBERRY, RHONDA                     MAYBERRY, SIERRA                      MAYBORG, MASON
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MAYBURY, KATHRYN                     MAYBURY, NICK                         MAYCOCK, SANDRA
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MAYEAUX, GINGER                      MAYEAUX, MICHELLE                     MAYEDA, ANDREW
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MAYEKAR, NATASHA                     MAYER, ALEX                           MAYER, ALEXANDRA
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MAYER, ALLISON                       MAYER, CHRISTINE                      MAYER, DEVIN
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MAYER, EMILY          Case 22-11238-LSS
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MAYER, IRENE                         MAYER, JANE                           MAYER, JED
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MAYER, JEFFREY                       MAYER, JENNIFER                       MAYER, JOHN
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MAYER, JOSIANNE                      MAYER, LAURA                          MAYER, LAWRENCE
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MAYER, LYNN                          MAYER, MAGGIE                         MAYER, MAGGIE
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MAYER, MARJORIE                      MAYER, MEGAN D.                       MAYER, MELISSA
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MAYER, MICHAEL                       MAYER, NATALIE                        MAYER, NORA
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MAYER, PAUL                          MAYER, SARAH                          MAYER, SHARI
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MAYER, VANESSA                       MAYERHOFER, MAX                       MAYERNIK, KRISTYN
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MAYER-RODRIGUEZ, JAN                 MAYERS, HADIYAH                       MAYERS, KEATON
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MAYERS, MADDIE        Case 22-11238-LSS
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MAYES, ALFREDA                       MAYES, ASHLEY                         MAYES, COURTNEY
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MAYES, EVELYN                        MAYES, GINA                           MAYES, LAKISHA
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MAYES, LESLIE                        MAYES, MORGAN                         MAYES-BARRON, CORA
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MAYESKI, BREANNA                     MAYES-SPIVEY, DEBRA                   MAYEWSKI, GAYLE
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MAYFIELD, BRIDGET                    MAYFIELD, DAVID                       MAYFIELD, KAYLA
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MAYFIELD, KECIA                      MAYFIELD, KENT                        MAYFIELD, KIEARRA
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MAYFIELD, MACKENZIE                  MAYFIELD, NAKIMA                      MAYFIELD, NATALIE
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MAYFIELD, NATASHA                    MAYFIELD, NEAL                        MAYFIELD, TAUSHA
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MAYFIELD, TINA                       MAYFLOWER, BERNARD                    MAYHEW, CHLOE
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MAYHEW, JASZMINE      Case 22-11238-LSS    Doc
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MAYHEW, MARYANN                      MAYHEW, PETER                         MAYHEW, SAMANTHA
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MAYHUE, TAYLOR                       MAYHUGH, DEVON                        MAYHUGH, MICHAEL
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MAYKO, NATALIE                       MAYLAND, KARA                         MAYLE, ANDRIANA
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MAYLE, CAMILLE                       MAYLE, PAUL                           MAYLE, S.L.
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MAYLOR, ROBERT                       MAYMAN, GEMMA                         MAY-MANN, CARLEN
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MAYMON, KELSEY                       MAYNARD LEE CRESSMAN                  MAYNARD, AMANDA
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MAYNARD, AMY                         MAYNARD, BENJAMIN                     MAYNARD, BRIAN
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MAYNARD, BRIAN                       MAYNARD, CHRISTINE                    MAYNARD, DEIRDRE
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MAYNARD, JIM                         MAYNARD, MARY                         MAYNARD, NARA
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MAYNARD, SARA         Case 22-11238-LSS    Doc
                                     MAYNARD,   2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAYNERICH, LACI                      MAYNEZ, CHRISTOPHER                   MAYNOR, PIA
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MAYNOR, VILLETTE                     MAYO, ALEXANDRA                       MAYO, ANDREW
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MAYO, BECCA                          MAYO, BRIANNA                         MAYO, BRITTANY
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MAYO, CATHERINE                      MAYO, CLAIRE                          MAYO, JENNIFER
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MAYO, KIMBERLY                       MAYO, KRISTEN                         MAYO, LAURIE
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MAYO, MEGAN                          MAYO, MERISSA                         MAYO, PATRICK
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MAYO, ROBERT                         MAYO, SHELEA                          MAYO, STEPHANIE
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MAYO, TOM                            MAYOCK, KRISTEN                       MAYON, FRAN
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MAYONOVE, JILLIAN                    MAYORAL, AIMEE                        MAYORGA, EVELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAYORGA, JOAN         Case 22-11238-LSS    Doc
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MAYR, ALEX                           MAYRA ACOSTA                          MAYS, DAVID
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MAYS, ERIKA                          MAYS, KECIA                           MAYS, KRISTIN
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MAYSE, FAITH                         MAYSON, COLLEEN                       MAYTAG, ALLISON
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MAYTUM, KARISSA                      MAYUR K CHHITA                        MAYUR SUBHASH BAJAJ
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MAYWEATHER, HEATHER                  MAYZ, ESTHER                          MAY-ZHANG, LINDA
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MAZAC, BETTY J                       MAZAK, LYNZEE                         MAZANEC, ELAINE
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MAZANEC, GARY                        MAZAR, ADRIENNE                       MAZAREAS, BRITNEY
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MAZARIEGO, MONICA                    MAZELIS, JENNIFER                     MAZELON, C
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MAZELON, MICHAEL                     MAZER, JOANNA                         MAZERIS, MICHELE
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MAZESKI, JIM          Case 22-11238-LSS    DocIRINA
                                     MAZHUKHIN, 2 Filed 11/30/22      Page 3178  ofGREGORY
                                                                           MAZIARZ, 5495
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MAZIE, SARAH                         MAZIEKA, ANNAMARIE                    MAZIEKIEN, ELLEN
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MAZIUK, BOB                          MAZMANIAN, MICHAEL                    MAZOLEWSKI, CASSIE
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MAZOLEWSKI, CONNOR                   MAZON HAMPTON                         MAZON, JACKIE
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MAZON, KYLIE                         MAZUR, DAYNA                          MAZUR, JENNIFER
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MAZUR, JUDITH                        MAZUR, KARLIE                         MAZUR, PAULA
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MAZUR, SUSAN                         MAZUR, THOMAS                         MAZUREK, JILL
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MAZUREK, MADELINE                    MAZUZAN, ERIKA                        MAZYCK, JOSEPHINE
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MAZYCK, TERESA                       MAZYUK, OLIVIA                        MAZZA, GABRIELLE
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MAZZA, JAN                           MAZZA, KIRSTYN                        MAZZA, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAZZA, MATIAS         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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MAZZANTINI, CHARMAINE                MAZZAPICA, OLIVIA                     MAZZARELLA, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MAZZARELLA, PATRICIA                 MAZZARELLE, SHANNON                   MAZZARELLI, JOSEPH
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MAZZARESE, STEVE                     MAZZARIELLO, NICOLE                   MAZZELLA, BRANDY
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MAZZELLA, CLARA                      MAZZELLA, POMPEO                      MAZZELLA, VINCENZO
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MAZZEO, ALEX                         MAZZEO, ANN                           MAZZEO, ASHLEY
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MAZZEO, GIUSEPPE                     MAZZEO-SIGRIST, NICOLE                MAZZOCCHI, DOMENICK
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MAZZOLA, ALEXIS                      MAZZOLA, BARBARA                      MAZZOLA, JULIA
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MAZZOLA, NICOLE                      MAZZOLA, SALVATORE                    MAZZONE, GABBY
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MAZZONI, FLAVIA                      MAZZOTTA, LINDSEY                     MAZZOTTA, MARGO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MAZZOTTA, MICHELLE    Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MAZZYE, MARK                         MB VOGELZANG VINEYARDS LLC             MBABA, JANE
ADDRESS AVAILABLE UPON REQUEST       PO BOX 91240                           ADDRESS AVAILABLE UPON REQUEST
                                     SANTA BARBARA, CA 93190




MBANUGO, OKEY                        MBAYE, KYESHA                          MBIBI, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MBM TRADING LLC                      MBMG INC                               MBOW, TENESIA
1702 EAST TRILBY RD                  1300 E MAIN STREET 207                 ADDRESS AVAILABLE UPON REQUEST
FORT COLLINS, CO 80528               ALHAMBRA, CA 91801




MBUAGBAW, FELICIA                    MBWAMBO, LIZ                           MC CORMICK, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MC COURT, EILEEN                     MC ESTATES INC 401K PSP                MC GLASSON, MARJORIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MC MAHON, TOM                        MC, TANYA                              MCABEE, CHERISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCABEE, CINDY                        MCABEE, EMILY                          MCABEE, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCABEE, KIMBERLY                     MCABEE, LEAH                           MCABEE, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCABEE, PAYTON                       MCADAMS                                MCADAMS, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MCADAMS, ANDREA       Case 22-11238-LSS    Doc
                                     MCADAMS,   2 Filed 11/30/22
                                              CAMERON                 Page 3181 of 5495
                                                                           MCADAMS, CANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCADAMS, DIANE                       MCADAMS, LENNY                        MCADAMS, LISA
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MCADAMS, MACKENZIE                   MCADAMS, NIKKI                        MCADAMS, SUSAN
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MCADAMS-ORTIZ, CATHERINE             MCADOO, CAMERON                       MCADOW, DAWN
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MCAFEE, BRENDA                       MCAFEE, ERIC                          MCAFEE, JESSICA
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MCAFEE, KIRSTEN                      MCAFEE, RYLEE                         MCALEER, JOSEPH
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MCALEER, LIAM                        MCALEER, SHANNON                      MCALEESE, JIMMI
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MCALISTER, ALYSSA                    MCALISTER, GARRET                     MCALISTER, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCALISTER, KATHERINE                 MCALISTER, MARY                       MCALISTER, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCALISTER, SHIKARA                   MCALISTER, TRISTAN                    MCALLISTER, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCALLISTER, AMANDA    Case 22-11238-LSS     Doc ANITA
                                     MCALLISTER, 2 Filed 11/30/22     Page 3182  of 5495
                                                                           MCALLISTER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCALLISTER, HANNAH                   MCALLISTER, HEATHER                    MCALLISTER, JUDITH
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MCALLISTER, KARI                     MCALLISTER, KATHRYN                    MCALLISTER, MINA
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MCALLISTER, SANDRA                   MCALLISTER, SOMMER                     MCALLISTER, SONJA
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MCALLISTER, TAILER                   MCALOON, PATRICIA                      MCALPIN, JOHN
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MCALPIN, KEVIN                       MCALPIN, TAYLOR                        MCALPINE, HALEY
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MCALPINE, KAITLYN                    MCANALLY, EMALEE                       MCANALLY, LAUREN
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MCANALLY, MEGHAN                     MCANDREW, GARY                         MCANDREW, HOLLY
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MCANDREW, JENNA                      MCANDREW, MARIE                        MCANDREW, RENEE
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MCANDREWS, ALLYSON                   MCANDREWS, JULIA                       MCANDREWS, MATTHEW
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MCANDREWS, PETER      Case 22-11238-LSS    Doc
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                                              ASHLEY                  Page 3183 of 5495
                                                                           MCANENY, JACQUELINE
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MCANENY, MEGHAN                      MCANINCH, JOHN                         MCANNALLY, EMILY
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MCANNEY, ALYSSA                      MCARDLE, AMELIA                        MCARDLE, ANITA
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MCARDLE, BREE                        MCAREE, PAULA                          MCARTHUR, ALEXANDRA
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MCARTHUR, BROOKE                     MCARTHUR, CHRISTOPHER                  MCARTHUR, CRYSTAL
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MCARVER, MARGARET                    MCATEE, ALEX                           MCATEE, JENNIFER
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MCATEE, KATY                         MCATEE, PADRAIC                        MCATEE, WILLIAM
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MCATEER, MARYBERH                    MCAULEY, CASSIE                        MCAULEY, LYNN
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MCAULIFFE, AIDAN                     MCAULIFFE, ALEXANDER                   MCAULIFFE, CHRISTOPHER
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MCAULIFFE, MARY                      MCAULIFRE, SARAH                       MCAUSLAN, COURTNEY
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MCAVINUE, NAHEIL      Case 22-11238-LSS    Doc
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MCBAIN, RHONDA                       MCBEAN, NICOLE                        MCBEE, MARK
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MCBRAYER, TAMMI                      MCBREARTY, SARAH                      MCBREEN, JOLEE
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MCBREEN, TERESA                      MCBRIDE JR, ANTHONY                   MCBRIDE, ADONIUS
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MCBRIDE, ANGELA                      MCBRIDE, ANN                          MCBRIDE, CALEB
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MCBRIDE, CARLY                       MCBRIDE, CAROLE                       MCBRIDE, CHARLES
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MCBRIDE, CHRISTY                     MCBRIDE, COLLEEN                      MCBRIDE, DANIELLA
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MCBRIDE, DEANNA                      MCBRIDE, EDITH                        MCBRIDE, EMMA
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MCBRIDE, ERIN                        MCBRIDE, GENE                         MCBRIDE, GREG
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MCBRIDE, JOHNNIE                     MCBRIDE, KELLY                        MCBRIDE, KINSLEY
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MCBRIDE, LAURA        Case 22-11238-LSS    Doc
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MCBRIDE, MARILYN                     MCBRIDE, MARTHA                       MCBRIDE, MARY
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MCBRIDE, MAXINE                      MCBRIDE, MELISSA                      MCBRIDE, MELVIN
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MCBRIDE, MIKE                        MCBRIDE, MOLLY                        MCBRIDE, PAUL
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MCBRIDE, PHYLLIS                     MCBRIDE, RYAN                         MCBRIDE, SHARIDAN
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MCBRIDE, SHINIQUA                    MCBRIDE, STACY                        MCBRIDE, TERRI
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MCBRIEN, DONNA                       MCBRIEN, FRAN                         MCBRIEN, KATHRYN
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MCBROOM, COURTNEY                    MCBROOM, KEVIN                        MCBROOM, SYDNEY
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MCBURNETTE, VIVIAN                   MCCABE, BREANNE                       MCCABE, COLLEEN
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MCCABE, CRAIG                        MCCABE, CURTIS                        MCCABE, DARIA
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MCCABE, DOUGLAS       Case 22-11238-LSS    Doc
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MCCABE, JUDITH                       MCCABE, KATHLEEN                      MCCABE, KELLY
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MCCABE, KRISTA                       MCCABE, MANUELA                       MCCABE, MARY
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MCCABE, MEGHAN                       MCCABE, MEGHAN                        MCCABE, MELISSA
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MCCABE, MELISSA                      MCCABE, RYAN                          MCCABE, SHANNON
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MCCABE, STEPH                        MCCABE, STEPHANIE                     MCCABE, STEVEN
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MCCABE, THOMAS                       MCCABE, TOMMY                         MCCABE, WHITNEY
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MCCAFFERTY, KIRSTEN                  MCCAFFERTY, MARY                      MCCAFFERTY, MAURA
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MCCAFFERTY, MEGAN                    MCCAFFERTY, SHANNON                   MCCAFFERTY, SUSAN
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MCCAFFREY, ALISSA                    MCCAFFREY, CLAIRE                     MCCAFFREY, DOUGLAS
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MCCAFFREY, ERIN       Case 22-11238-LSS    Doc JACKIE
                                     MCCAFFREY, 2 Filed 11/30/22      Page 3187 of 5495
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MCCAFFREY, JOURDAN                   MCCAFFREY, LYN                        MCCAFFREY, MAUREEN
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MCCAFFREY, PATTI                     MCCAFFREY, RICHARD                    MCCAFFREY, SIOBHAN
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MCCAFFREY, TIM                       MCCAGH, JOCELYN                       MCCAGHREN, DYLAN
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MCCAGUE, ALLISON                     MCCAGUE, AOIFE                        MCCAHILL, WILLIAM
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MCCAHON, AMELIA                      MCCAHON, DAVID                        MCCAIG, ROSEMARY
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MCCAIGUE, JOANNE                     MCCAIN, BRANDI                        MCCAIN, BRIANNA
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MCCAIN, ELIZABETH                    MCCAIN, JESSI                         MCCAIN, KRISTI
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MCCAIN, MARYA                        MCCAIN, MELISA                        MCCAIN, SHAYLA
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MCCAIN, TAWNYA                       MCCAIN-JOHN, STEPHEN                  MCCALE, LYNDSI
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MCCALEB, SCOTT        Case 22-11238-LSS
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MCCALL, BETH                         MCCALL, CONNIE                        MCCALL, EVELYN
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MCCALL, FRANCIE                      MCCALL, GIB                           MCCALL, INEZ ZOE
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MCCALL, ISAIAH                       MCCALL, JEAN                          MCCALL, KAREN
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MCCALL, NACHE                        MCCALL, SARAH                         MCCALL, SEANNA
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MCCALL, TESHA                        MCCALL, TIRA                          MCCALL-GARMAN, LINDSAY
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MCCALLISTER, ANDREA                  MCCALLISTER, RACHEL                   MCCALLISYER, SHAWNA
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MCCALLUM, DUNCAN                     MCCALLUM, JAMES                       MCCALLUM, JOSEPH
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MCCALLUM, JOSEPH                     MCCALLUM, LISA                        MCCALLUM, MARISSA
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MCCAMAN, CHRISTINE    Case 22-11238-LSS    DocERIN
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MCCAMBRIDGE, JILL                    MCCAMMON, KEITH                       MCCAMN, MELISSA
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MCCAMPBELL-HILL, GREER               MCCANDLESS, HANNAH                    MCCANDLESS, JILL
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MCCANDLESS, ROBIN                    MCCANDLISH, VALERIE                   MCCANN, ABBY
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MCCANN, AIDAN                        MCCANN, CAELAN                        MCCANN, CAROL
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MCCANN, CHRIS                        MCCANN, CHRISTA                       MCCANN, CHRISTIAN
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MCCANN, CHRISTOPHER                  MCCANN, DANA                          MCCANN, GORDON
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MCCANN, HANNAH                       MCCANN, HEATHER                       MCCANN, JEANETTE
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MCCANN, JENNIFER                     MCCANN, JORDAN                        MCCANN, KATHERINE
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MCCANN, KELLY                        MCCANN, KELLY                         MCCANN, KELLY
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MCCANN, KIM           Case 22-11238-LSS    Doc
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MCCANN, LINDSEY                      MCCANN, LISA                          MCCANN, LORI
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MCCANN, MARGO                        MCCANN, MARY                          MCCANN, MATT
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MCCANN, MEGHAN                       MCCANN, NIKKI                         MCCANN, ROBIN
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MCCANN, SARAH                        MCCANN, TRACI                         MCCANNE, JENNIFER
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MCCARD, CLEMENTINE                   MCCARDLE, JENELLE                     MCCAREY, KELLY
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MCCARGO, JAY-JAY                     MCCARL, JENNIFER                      MCCARLEY, DIANA
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MCCARLEY, KONNER                     MCCARR, JOE                           MCCARREN, HILARY
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MCCARRICK, DANIELLE                  MCCARRICK, WILLIAM                    MCCARROLL, BARB
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MCCARROLL, ELAINE                    MCCARRON, DENNIS                      MCCARRON, KELLY
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MCCART, AMANDA        Case 22-11238-LSS
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MCCARTER, MADELINE                   MCCARTHY, ABIGAIL                     MCCARTHY, ANDREA
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MCCARTHY, ANGELA                     MCCARTHY, ANNELISE                    MCCARTHY, ASHLEIGH
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MCCARTHY, BRE                        MCCARTHY, BRIDGET                     MCCARTHY, BRIDGET
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MCCARTHY, BRITTANY                   MCCARTHY, CAROLINE                    MCCARTHY, CHRISTINE
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MCCARTHY, CHRISTINE                  MCCARTHY, CLAIRE                      MCCARTHY, CLAUDINE
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MCCARTHY, CODY                       MCCARTHY, COLIN                       MCCARTHY, COLIN
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MCCARTHY, CORINNE                    MCCARTHY, COURTNEY                    MCCARTHY, CULLEN
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MCCARTHY, DEBORAH                    MCCARTHY, DENNIS                      MCCARTHY, DINAMARIE
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MCCARTHY, DONALD                     MCCARTHY, EILEEN                      MCCARTHY, ELENA
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MCCARTHY, ELIZABETH   Case 22-11238-LSS    DocEMILY
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MCCARTHY, GARRETT                    MCCARTHY, GERALDINE                   MCCARTHY, GRETCHEN
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MCCARTHY, HILARY                     MCCARTHY, JACQUELINE                  MCCARTHY, JAKI
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MCCARTHY, JAN                        MCCARTHY, JEANNE                      MCCARTHY, JENNIFER
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MCCARTHY, JESSICA                    MCCARTHY, JULIANNE                    MCCARTHY, KAITLIN
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MCCARTHY, KEVIN                      MCCARTHY, KEVIN                       MCCARTHY, KEVIN
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MCCARTHY, KEVIN                      MCCARTHY, KIM                         MCCARTHY, KIMBERLY
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MCCARTHY, KYMMIE                     MCCARTHY, LAUREN                      MCCARTHY, LINDA
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MCCARTHY, LORI        Case 22-11238-LSS    DocMADELIENE
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MCCARTHY, MALLORY                    MCCARTHY, MARCIA                      MCCARTHY, MARGARET
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MCCARTHY, MARTHA                     MCCARTHY, MARY KATE                   MCCARTHY, MARY
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MCCARTHY, MARY                       MCCARTHY, MATT                        MCCARTHY, MEGAN
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MCCARTHY, MICHAEL                    MCCARTHY, MICHELE                     MCCARTHY, MICHELLE
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MCCARTHY, MONICA                     MCCARTHY, NIA                         MCCARTHY, NICOLE
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MCCARTHY, NICOLE                     MCCARTHY, NORA                        MCCARTHY, PATRICIA
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MCCARTHY, PATRICK                    MCCARTHY, PATTY                       MCCARTHY, RYAN
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MCCARTHY, SARAH                      MCCARTHY, SHANNON                     MCCARTHY, SHANNON
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MCCARTHY, SHAWNA                     MCCARTHY, SINEAD                      MCCARTHY, SUZANNE
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MCCARTHY, SYDNEY      Case 22-11238-LSS    DocTAUSHA
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MCCARTHY, TIM                        MCCARTHY, UGENE                       MCCARTHY, VICTORIA
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MCCARTHY, YOKO                       MCCARTHY-BOLES, DANIELLE              MCCARTNEY ASPEN PROFESSIONAL
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MCCARTNEY, ANGELA                    MCCARTNEY, ASHLEY                     MCCARTNEY, CHRISTA
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MCCARTNEY, ERICA                     MCCARTNEY, JENNIFER                   MCCARTNEY, LISA
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MCCARTNEY, PAULA                     MCCARTNEY, ROB                        MCCARTNEY, ROBIN
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MCCARTNEY, SHARON                    MCCARTNEY, TARA                       MCCARTY, APRIL
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MCCARTY, CHAITRA                     MCCARTY, DEVON                        MCCARTY, EMME
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MCCARTY, ERIN                        MCCARTY, HEATHER                      MCCARTY, JANE
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MCCARTY, JEKIA                       MCCARTY, JESSICA                      MCCARTY, KATE
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MCCARTY, KATHLEEN     Case 22-11238-LSS    Doc
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MCCARTY, SHARON                      MCCARTY, SHELLY                       MCCARTY, TAYLOR
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MCCARVILLE, BRANT                    MCCARVILLE, RYAN                      MCCASKILL, LORNETTE
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MCCASLEN, STEPHANIE                  MCCASLIN, KEVIN                       MCCASLIN, MACY
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MCCASLIN, MEGAN                      MCCASLIN, MISTY                       MCCASLIN, TINA
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MCCASTLE, DEREK                      MCCAUGHEY, COLLEEN                    MCCAUGHEY, SARAH
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MCCAULEY, ABBIE                      MCCAULEY, AIMEE                       MCCAULEY, AMANDA
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MCCAULEY, ANA                        MCCAULEY, CINDI                       MCCAULEY, CLAIRE
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                                                                           MCCAULEY, MEGAN
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MCCAULEY, RENEE                      MCCAULIE, BRITNEY                     MCCAULLEY, KAITLIN
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MCCAUSLAND, EMMA                     MCCAUSLAND, MARY                      MCCAVE, CHARLOTTE
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MCCAVERA, ERIN                       MCCAVITT, KYLIE                       MCCAW, LESLIE
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MCCAW, TIMOTHY                       MCCAWLEY, KIMBERLY                    MCCHESNEY, KATIE
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MCCHESNEY, LIZ                       MCCHESNEY-YOUNG, MARY                 MCCHRISTIAN, ALYSSA
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MCCLAIN, ALLI                        MCCLAIN, AMINA                        MCCLAIN, ANDREW
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MCCLAIN, ANNA                        MCCLAIN, CHELSEA                      MCCLAIN, DEBRA
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MCCLAIN, ELIDA                       MCCLAIN, EMILY                        MCCLAIN, GEORGANNE
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MCCLAIN, GRACE                       MCCLAIN, HANNAH                       MCCLAIN, JENNIFER
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MCCLAIN, JULIE        Case 22-11238-LSS    Doc
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                                              KENDRA                  Page 3197  of KRISTEN
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MCCLAIN, KRISTEN                     MCCLAIN, LESLIE                        MCCLAIN, MADELINE
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MCCLAIN, MARISA                      MCCLAIN, SANDI                         MCCLANAHAN, CLAUDIA
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MCCLANAHAN, JOHN PATRICK             MCCLANAHAN, MAUREEN                    MCCLAREN, RYLE
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MCCLARNON, CHRISSY                   MCCLARY, ALICE                         MCCLARY, CATEY
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MCCLARY, RON                         MCCLATCHY, ALLYSON                     MCCLAVE, ANDREW
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MCCLAY, MEREDITH                     MCCLEAN, STEPHANIE                     MCCLEAN, TERI
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MCCLEAR, COURTNEY                    MCCLEERY, PHIL                         MCCLELLAN, ANGELA
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MCCLELLAN, CONNOR                    MCCLELLAN, JOSH                        MCCLELLAN, KARIN
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MCCLELLAN, KYLE                      MCCLELLAN, MARTHA                      MCCLELLAN, MARTY
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MCCLELLAN, NANCY      Case 22-11238-LSS    DocPAUL
                                     MCCLELLAN, 2 Filed 11/30/22      Page 3198 of 5495
                                                                           MCCLELLAN, TRAVIS
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MCCLELLAN, TYLER                     MCCLELLAND, DENNIS                     MCCLELLAND, ELIZABETH
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MCCLELLAND, HANNAH                   MCCLELLAND, JASON                      MCCLELLAND, KEVIN
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MCCLELLAND, MEGAN                    MCCLELLAND, SANDY                      MCCLELLAND, SARA
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MCCLELLAND, SHARON                   MCCLEMENT, LEAH                        MCCLENAHAN, MARK
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MCCLENDON, ASHLEY                    MCCLENDON, CONOR                       MCCLENDON, JASMINE
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MCCLENDON, MISSY                     MCCLENDON, ROBI                        MCCLENEGHEN, SEAN
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MCCLENNON, KATE                      MCCLENNY, CHRISTINA                    MCCLERNAND, BREELYN
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MCCLESKEY, JASMINE                   MCCLINTIC, KRISTIN                     MCCLINTOCK, CAROL
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MCCLINTOCK, GORDON                   MCCLINTOCK, JOANNE                     MCCLINTON, JACQUELINE
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MCCLINTON, WILLIE     Case 22-11238-LSS    Doc
                                     MCCLONE,    2 Filed 11/30/22
                                              KAITLYN                 Page 3199 of 5495
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MCCLOSKEU, AMANDA                    MCCLOSKEY, ABIGAIL                    MCCLOSKEY, DALE
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MCCLOSKEY, JACQUELYN                 MCCLOSKEY, KEVIN                      MCCLOSKEY, KEVIN
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MCCLOSKEY, LAUREN                    MCCLOSKEY, RICK                       MCCLOUD, ALEX
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MCCLOUD, MADISON                     MCCLOUD, PAIGE                        MCCLOUD, PAULA
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MCCLOY, KIMBERLY                     MCCLUNG, KEVIN                        MCCLUNG, MARGUERITA
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MCCLUNG, SHELBY                      MCCLUNG, TERESA                       MCCLUNG, TIM
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MCCLURE, A                           MCCLURE, ASHLEY                       MCCLURE, BIANCA
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MCCLURE, BREEANNA                    MCCLURE, BRENDA                       MCCLURE, CAMEREN
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MCCLURE, COLIN                       MCCLURE, DARA                         MCCLURE, ELLEN
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MCCLURE, GLORIANA     Case 22-11238-LSS    Doc
                                     MCCLURE,   2 Filed 11/30/22
                                              GRACIE                  Page 3200 of 5495
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MCCLURE, JESSICA                     MCCLURE, JOHN                          MCCLURE, KALLI
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MCCLURE, LAURA                       MCCLURE, LESLEY                        MCCLURE, MARK
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MCCLURE, MARLA                       MCCLURE, NICK                          MCCLURE, ROBBIE
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MCCLURE, ROBIN                       MCCLURE, SAM                           MCCLURG, KELSEY
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MCCLURG, LAUREN                      MCCLURKIN, MARIA                       MCCLUSKEY, KATIE
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MCCLUSKEY, LAUREN                    MCCOACH, MARGARET                      MCCOHN, KATELYN
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MCCOLE, LAUREN                       MCCOLE, TERRI                          MCCOLGAN, LISA
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MCCOLLIN, XAVIER                     MCCOLLOM, HOLLYANNA                    MCCOLLOUGH, JASMINE
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MCCOLLUM, CHRISTINE                  MCCOLLUM, DAVID                        MCCOLLUM, ELIZABETH
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MCCOLLUM, JENNIFER    Case 22-11238-LSS    DocJESSIE
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MCCOLLUM, MARGO                      MCCOLLUM, MORGAN                      MCCOLLUM, RODNEY
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MCCOLLUM, THOMAS                     MCCOMAS, HOLLIE                       MCCOMAS, JAMIE
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MCCOMAS, MEGAN                       MCCOMAS, MINDY                        MCCOMB, INNIS
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MCCOMBER, KATIE                      MCCOMBS, MEGHAN                       MCCOMBS, NIKOLETTE
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MCCOMIC, KATHERINE                   MCCOMISH, LINDSEY                     MCCONAGHY, JESSI
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MCCONAUGHEY, TRISH                   MCCONE, RHEA                          MCCONKEY, ASHLEY
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MCCONKEY, KEVIN                      MCCONLEY, P CHRISTIANE                MCCONNAUGHAY, MARY
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MCCONNELL, ABBIE                     MCCONNELL, ADDIE                      MCCONNELL, AMELIA
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MCCONNELL, ANGELA                    MCCONNELL, CHRISTOPHER                MCCONNELL, CINDY
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MCCONNELL, CLARA      Case 22-11238-LSS    Doc CLAYTON
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MCCONNELL, HANS                      MCCONNELL, HAYLEY                     MCCONNELL, HOLLY
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MCCONNELL, JAMIE                     MCCONNELL, JEN                        MCCONNELL, JENNA
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MCCONNELL, KERRY                     MCCONNELL, LAURA                      MCCONNELL, LORIAN
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MCCONNELL, MAGGIE                    MCCONNELL, MARGARET                   MCCONNELL, MAX
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MCCONNELL, MEGAN                     MCCONNELL, MELISSA                    MCCONNELL, MEREDITH
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MCCONNELL, MORGYN                    MCCONNELL, RACHEL                     MCCONNELL, RYAN
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MCCONNELL, SARAH                     MCCONNELL, SHANNON                    MCCONNELL, SHELBY
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MCCONNELL, SONNY                     MCCONNELL, WILLIAM                    MCCONOUGHEY, CLAUDE
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MCCONVILLE, GRACE                    MCCONVILLE, MADELYN                   MCCOOE, DENNIS
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MCCOOE, SEAN          Case 22-11238-LSS    Doc
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MCCOOL, CHRISTINE                    MCCOOL, JEFFREY                       MCCOOL, RENEE
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MCCOOL, SAMANTHA                     MCCOOL, SHARON                        MCCOOL, TOM
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MCCOOMBE, JACOB                      MCCORD, ARICA                         MCCORD, KYLE
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MCCORD, MARC                         MCCORD, RYAN                          MCCORD, VICTORIA
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MCCORKHILL, MALLORY                  MCCORKLE, JAY                         MCCORKLE, KELLY
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MCCORKLE, MEGAN                      MCCORKLE, MOLLY                       MCCORMACK, ALEXIS
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MCCORMACK, ALLISON                   MCCORMACK, ARIANA                     MCCORMACK, CHRISTEN
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MCCORMACK, ELIZABETH                 MCCORMACK, EMMY                       MCCORMACK, JANE
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MCCORMACK, LISA                      MCCORMACK, LISA                       MCCORMACK, MANDY
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MCCORMACK, MATTHEW Case 22-11238-LSS    Doc 2MCKENNA
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                                                                              MCCORMACK, MICHAELA
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MCCORMACK, MOLLY                        MCCORMACK, ROBERT                     MCCORMACK, TRUDI
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MCCORMICK & SCHMICKS                    MCCORMICK JIRIK, NICHOLAS             MCCORMICK, ALEX
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MCCORMICK, ALICIA                       MCCORMICK, ALISON                     MCCORMICK, APRIL
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MCCORMICK, AUBREY                       MCCORMICK, BETTY                      MCCORMICK, BRENNA
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MCCORMICK, CAITEE                       MCCORMICK, CARMEN                     MCCORMICK, CAROLINE
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MCCORMICK, CHRIS                        MCCORMICK, DARRYL                     MCCORMICK, DONNA
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MCCORMICK, EMILY                        MCCORMICK, GINNY                      MCCORMICK, HEATHER
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MCCORMICK, HEATHER                      MCCORMICK, JESSIE                     MCCORMICK, JULIE
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MCCORMICK, KATHY                        MCCORMICK, KATIE                      MCCORMICK, KAYLEE
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MCCORMICK, KELLY      Case 22-11238-LSS    Doc KELLY
                                     MCCORMICK, 2 Filed 11/30/22      Page 3205 of 5495
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MCCORMICK, KRISTIN                   MCCORMICK, KRISTINE                    MCCORMICK, LILIAN
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MCCORMICK, LIZ                       MCCORMICK, MARRIAN                     MCCORMICK, MEGAN
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MCCORMICK, MEGHAN                    MCCORMICK, PATRICIA A.                 MCCORMICK, RACHEL
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MCCORMICK, REBEKAH                   MCCORMICK, SHANNON                     MCCORMICK, TAYLOR
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MCCORMICK, TEGAN                     MCCORMICK, THOMAS                      MCCORMICK, VICTORIA
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MCCORMICK-GOODHART, THERESA          MCCORMICK-UGALINO, MEGHAN              MCCORNACK, EMMA
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MCCORY, WHITNEY                      MCCOSKEY, ROSIE                        MCCOURT, JOHN
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MCCOURT, MICHELLE                    MCCOURT, RUMA                          MCCOURT, SARAH
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MCCOWAN, ANN                         MCCOWN, BLOWN AWAY GLAMOUR STUDIO      MCCOWN, KELLY
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MCCOY, ALYSSA                        MCCOY, AMANDA                         MCCOY, AMANDA
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MCCOY, ANGIE                         MCCOY, ASHLEY                         MCCOY, AUDREY
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MCCOY, BILL AND JILL                 MCCOY, BRADEN                         MCCOY, CAITLYN
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MCCOY, CANDACE                       MCCOY, CHRISTINA                      MCCOY, CONSTANCE
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MCCOY, CORRIN                        MCCOY, CYNTERIA                       MCCOY, EDWARD
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MCCOY, IRENE                         MCCOY, ISABELLE                       MCCOY, JAZZMYN
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MCCOY, JENISHA                       MCCOY, KAILA                          MCCOY, KATHLEEN
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MCCOY, KATIE                         MCCOY, KATIE                          MCCOY, KIMBERLY
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MCCOY, KRISTEN                       MCCOY, LAURA                          MCCOY, LEAH
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MCCOY, MAGGIE                        MCCOY, MONIKA                         MCCOY, MORGAN
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MCCOY, NEALY                         MCCOY, RACHEL                         MCCOY, SAKILE
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MCCOY, SAM                           MCCOY, SAMANTHA                       MCCOY, SHARON
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MCCOY, SIERRA                        MCCOY, SUZANNE                        MCCOY, TARA
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MCCOY, TAYLOR                        MCCOY, THAIS                          MCCOY, VERONICA
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MCCRACKEN, BARBRA                    MCCRACKEN, CHARIS                     MCCRACKEN, CHRISTINE
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MCCRACKEN, CHRISTINE                 MCCRACKEN, COLLEEN                    MCCRACKEN, JASON
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MCCRACKEN, MAEVE                     MCCRACKEN, MOLLY                      MCCRACKEN, REBEKAH
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MCCRACKEN, SUSAN                     MCCRACKEN, TAYLER                     MCCRAE, AMY
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MCCRAE, KEITH         Case 22-11238-LSS    Doc
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MCCRARY, JAYME                       MCCRARY, JENNIER                      MCCRARY, SLOAN
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MCCRAVEY, MOIRA                      MCCRAY CANNON, LISA                   MCCRAY, CHERITTA
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MCCRAY, CHRISTY                      MCCRAY, JACQUELINE                    MCCRAY, NINA
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MCCRAY, PARIS                        MCCRAY, SCOTT                         MCCRAY, TAMARA
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MCCREA, ABIGAIL                      MCCREA, CHRIS                         MCCREA, JENNIFER
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MCCREADIE, ROBIN                     MCCREADY, MICHELLE                    MCCREADY, TERESA
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MCCREARY, DEXTER                     MCCREARY, HOWARD                      MCCREARY, JARRETT
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MCCREARY, LEROY                      MCCREE, LORI                          MCCREESH, NICOLE
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MCCREHAN, JEFF                       MCCREIGHT, BRIDGET                    MCCREIGHT, HUNTER
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MCCREIGHT, KRISTINA   Case 22-11238-LSS    DocMARY
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MCCRILLIS, RANDALL                   MCCRILLIS, SHAWN                       MCCRIMMON, RYAN
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MCCRONE, STEVEN                      MCCRORY, CAITLIN                       MCCRORY, CONNOR
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MCCRORY, CONNOR                      MCCRORY, JULIE                         MCCRORY, KAYLA
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MCCRORY, KEVIN                       MCCRORY, LUKE                          MCCROSKEY, REED
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MCCROSKY, JILL                       MCCRUM, CORY                           MCCUAIG, MANDI
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MCCUBBINS’S, DOMINIKA                MCCUE SUSSMANE ZAPFEL COHEN & YOUBI    MCCUE, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       P.C.                                   ADDRESS AVAILABLE UPON REQUEST
                                     500 FIFTH AVENUE, SUITE 3020
                                     NEW YORK, NY 10110




MCCUE, ELIZABETH                     MCCUE, GARY                            MCCUE, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCCUE, KATHLEEN                      MCCUE, REBECCA                         MCCUEN, BRIGID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCCUEN, BRIGID                       MCCUEN, MEGAN                          MCCUEN, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MCCULLA, KATHRYN      Case 22-11238-LSS    Doc LAUREN
                                     MCCULLAGH, 2 Filed 11/30/22      Page 3210 of 5495
                                                                           MCCULLAH, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLEY, GERI                       MCCULLEY, LAURA                       MCCULLEY, TONYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLOCH, ALLISON                   MCCULLOCH, ANNE S                     MCCULLOCH, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLOCH, MORGAN                    MCCULLOCH, NICOLE                     MCCULLOCH, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLOCH, STACI                     MCCULLOCH, TAYLOR                     MCCULLOUGH, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLOUGH, ALISHA                   MCCULLOUGH, AMY                       MCCULLOUGH, BRANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLOUGH, CARNEY                   MCCULLOUGH, DAVID                     MCCULLOUGH, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLOUGH, EMMA                     MCCULLOUGH, HOUSTON                   MCCULLOUGH, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLOUGH, KELSEY                   MCCULLOUGH, MATT                      MCCULLOUGH, MELACHAI
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MCCULLOUGH, MIKE                     MCCULLOUGH, SEAN                      MCCULLOUGH, SORMEH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCCULLOUGH, TAMMY     Case 22-11238-LSS    Doc 2TAYLOR
                                     MCCULLOUGH,     Filed 11/30/22   Page 3211 of 5495
                                                                           MCCULLOUGH, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLOUGH, WHITNEY                  MCCULLUM, LELIA                       MCCULLUM, TAUCHANTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCULLY, DANIELLE                    MCCUNE, ARTHUR                        MCCUNE, EMILY
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MCCUNE, JOE                          MCCUNE, KATHRYN                       MCCUNE, RACHEL
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MCCUNE, TARA                         MCCURDY, ERIN                         MCCURDY, HOLLY
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MCCURDY, IVEY                        MCCURDY, JEN                          MCCURDY, LORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCURDY, MEAGAN                      MCCURDY, MEGHAN                       MCCURLEY, JESSIE
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MCCURNIN, ALLIE                      MCCURRACH, ELIZABETH                  MCCURRY, BLAINE
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MCCURRY, CODY                        MCCURRY, KAREN                        MCCURRY, KATIE
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MCCURRY, KATIE                       MCCURRY, SHOCARA                      MCCUSKER, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCCUSKER, ANDREA      Case 22-11238-LSS    DocASHLEY
                                     MCCUSKER,  2 Filed 11/30/22      Page 3212 of 5495
                                                                           MCCUSKER, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCUSKER, LISA                       MCCUSKER, MARILYN                     MCCUSKER, SARAH
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MCCUTCHAN, LUBA                      MCCUTCHEN, JAMIE                      MCCUTCHEN, KATHARINE
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MCCUTCHEN, KEARY                     MCCUTCHEON, AMY                       MCCUTCHEON, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCCUTCHEON, LAUREN                   MCDADE, JENNIFER                      MCDADE, MADISEN
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MCDADE, MICAELA                      MCDADE, MIKE                          MCDANIEL, ARDEN
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MCDANIEL, BAILEE                     MCDANIEL, BROOKE                      MCDANIEL, CHELSEA
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MCDANIEL, DERRICK                    MCDANIEL, ELLIE                       MCDANIEL, GENEVA
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MCDANIEL, HAYLEY                     MCDANIEL, HEATHER                     MCDANIEL, JOE
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MCDANIEL, JUSTIN                     MCDANIEL, KATHERINE                   MCDANIEL, KEITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCDANIEL, KENYATTA    Case 22-11238-LSS    Doc
                                     MCDANIEL,    2 Filed 11/30/22
                                               KIMBERLEY              Page 3213 of 5495
                                                                           MCDANIEL, LATASHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCDANIEL, LAUREN                     MCDANIEL, LISA                         MCDANIEL, MACKENZIE
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MCDANIEL, MELINDA                    MCDANIEL, MEREDITH                     MCDANIEL, ROBIN
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MCDANIEL, ROGER                      MCDANIEL, SCOTT                        MCDANIEL, SHANE
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MCDANIEL, SKYLAR                     MCDANIEL, STEPHEN                      MCDANIEL, STEVE
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MCDANIEL, TIFFANY                    MCDANIEL, TINA                         MCDANIEL, TRAVIS
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MCDANIEL, WES                        MCDANIEL, WILLIAM                      MCDANNELL, SHAWN
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MCDAVID, BRIANA                      MCDAVITT, JANET                        MCDAVITT, MARK
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MCDAVITT, SARAH                      MCDEALL, MONICA                        MCDEARMAN, ELLIE
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MCDEARMON, ANASTASIA                 MCDEARMON, MELANIE                     MCDEAVITT, ALIXANDRIA
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MCDERMOTT, ABBY       Case 22-11238-LSS    Doc ADAM
                                     MCDERMOTT, 2 Filed 11/30/22      Page 3214 of 5495
                                                                           MCDERMOTT, ALISSA
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MCDERMOTT, CARLA                     MCDERMOTT, CARLA                      MCDERMOTT, CASONDRA
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MCDERMOTT, CATHARINE                 MCDERMOTT, CATHERINE                  MCDERMOTT, CHRISTIAN
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MCDERMOTT, COLLEEN                   MCDERMOTT, CONNOR                     MCDERMOTT, DEVIN
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MCDERMOTT, DEVON                     MCDERMOTT, ELIZABETH                  MCDERMOTT, ERICA
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MCDERMOTT, ERIN                      MCDERMOTT, GAIL                       MCDERMOTT, GRACE
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MCDERMOTT, HELEN                     MCDERMOTT, HYDN                       MCDERMOTT, JAMES
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MCDERMOTT, JENNIFER                  MCDERMOTT, JODY                       MCDERMOTT, KATHLEEN
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MCDERMOTT, KYLE                      MCDERMOTT, LAURA                      MCDERMOTT, LAUREN
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MCDERMOTT, LAUREN                    MCDERMOTT, LIAM                       MCDERMOTT, LINDA
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MCDERMOTT, LISA       Case 22-11238-LSS    Doc MARCI
                                     MCDERMOTT, 2 Filed 11/30/22      Page 3215 of 5495
                                                                           MCDERMOTT, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDERMOTT, MARY                      MCDERMOTT, MARY                       MCDERMOTT, MARY
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MCDERMOTT, MATTHEW                   MCDERMOTT, MAUREEN                    MCDERMOTT, MCKENZIE
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MCDERMOTT, MEAGAN                    MCDERMOTT, MERRILL                    MCDERMOTT, MOIRA
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MCDERMOTT, MOIRA                     MCDERMOTT, NATALIE                    MCDERMOTT, NICOLE
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MCDERMOTT, RACHEL                    MCDERMOTT, ROSE                       MCDERMOTT, SEAN
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MCDERMOTT, SHEREE                    MCDERMOTT, STEVE                      MCDERMOTT, SUSAN
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MCDERMOTT, TARA                      MCDERMOTT, THOMAS                     MCDERMOTT, TOMAS
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MCDEVITT, CHRIS                      MCDEVITT, DEANNA                      MCDEVITT, DYLAN
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MCDEVITT, GILLIAN                    MCDEVITT, JAMIE                       MCDEVITT, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCDEVITT, KELLY       Case 22-11238-LSS    Doc
                                     MCDEVITT,   2 Filed 11/30/22
                                               MALLORY                Page 3216 of 5495
                                                                           MCDEVITT, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDIFFITT, LYNDSEY                   MCDIVIT, MATTHEW                      MCDOANLD, SARAH
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MCDOLE, BRANDON                      MCDONAGH, GRACE                       MCDONAGH, MARY
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MCDONALD, ADAIR                      MCDONALD, ALEX                        MCDONALD, AMANDA
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MCDONALD, AMY                        MCDONALD, AMY                         MCDONALD, AMY
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MCDONALD, ANIF                       MCDONALD, ANNIE (MICHAEL)             MCDONALD, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, ASHLEY                     MCDONALD, ASHLEY                      MCDONALD, ASHLEY
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MCDONALD, BRANDE                     MCDONALD, BRIAN                       MCDONALD, BRIDGETT
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MCDONALD, CARINE                     MCDONALD, CATHERINE                   MCDONALD, CELESTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, CHARLSIE                   MCDONALD, CHELSEA                     MCDONALD, CHELSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCDONALD, CHRISTA     Case 22-11238-LSS    DocCHRISTOPHER
                                     MCDONALD,  2 Filed 11/30/22      Page 3217 of 5495
                                                                           MCDONALD, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, DAVID                      MCDONALD, DAVID                       MCDONALD, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, DEE                        MCDONALD, DONNA                       MCDONALD, DOUGLAS
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MCDONALD, ELAINE                     MCDONALD, ELENA                       MCDONALD, ELIZABETH
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MCDONALD, ERIN                       MCDONALD, ERIN                        MCDONALD, GINA
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MCDONALD, GLYNIS                     MCDONALD, HALEY                       MCDONALD, HEATHER
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MCDONALD, HELEN                      MCDONALD, JACQUELYN                   MCDONALD, JENNIFER
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MCDONALD, JENNIFER                   MCDONALD, JENNIFER                    MCDONALD, JEROME
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MCDONALD, JESSENIA                   MCDONALD, JESSICA                     MCDONALD, JESSIE
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MCDONALD, JODIE                      MCDONALD, JOHN                        MCDONALD, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCDONALD, KAYLEIGH    Case 22-11238-LSS    DocKEENA
                                     MCDONALD,  2 Filed 11/30/22      Page 3218 of 5495
                                                                           MCDONALD, KELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCDONALD, KELLY                      MCDONALD, KELLY                        MCDONALD, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCDONALD, LAURA                      MCDONALD, LAUREN                       MCDONALD, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCDONALD, LINDA                      MCDONALD, LINDSEY                      MCDONALD, LOLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCDONALD, LYNN                       MCDONALD, MADELINE                     MCDONALD, MAIREAD
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MCDONALD, MATT                       MCDONALD, MEGAN                        MCDONALD, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCDONALD, MERIDITH                   MCDONALD, MIRLINE                      MCDONALD, MOLLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCDONALD, MYRANDA                    MCDONALD, NANCY                        MCDONALD, NEVENE
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MCDONALD, NOLA                       MCDONALD, PATRICIA                     MCDONALD, RENE
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MCDONALD, RITA                       MCDONALD, RYAN                         MCDONALD, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MCDONALD, SEAN        Case 22-11238-LSS    DocSHAKIRA
                                     MCDONALD,  2 Filed 11/30/22      Page 3219 of 5495
                                                                           MCDONALD, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, SHERRI                     MCDONALD, STACY                       MCDONALD, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, STEPHANIE                  MCDONALD, SUMMER                      MCDONALD, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, SUZANNE                    MCDONALD, SYDNEY                      MCDONALD, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, THOMAS                     MCDONALD, TRACY                       MCDONALD, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONALD, WILL                       MCDONALD, WILLIAM                     MCDONALDS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




MCDONELL, AMY                        MCDONELL, DREW                        MCDONELL, LOUISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONELL, TYMOTHY                    MCDONNELL MILLER, ANN                 MCDONNELL, ADAIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONNELL, AMY                       MCDONNELL, BOB                        MCDONNELL, CAROLINE
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MCDONNELL, EMMA                      MCDONNELL, ERICA                      MCDONNELL, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCDONNELL, JEANNE     Case 22-11238-LSS    Doc JESSICA
                                     MCDONNELL, 2 Filed 11/30/22      Page 3220 of 5495
                                                                           MCDONNELL, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONNELL, KAREN                     MCDONNELL, KATHLEEN                   MCDONNELL, KEVIN
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MCDONNELL, MADELINE                  MCDONNELL, MARIAN                     MCDONNELL, MARY
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MCDONNELL, MARY                      MCDONNELL, MARY                       MCDONNELL, MAUREEN
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MCDONNELL, MEGAN                     MCDONNELL, RACHEL                     MCDONNELL, STEPHEN
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MCDONNELL, TIM                       MCDONNELL, TORI                       MCDONOUGH, ASHLEY
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MCDONOUGH, BILL                      MCDONOUGH, BRITTANY                   MCDONOUGH, CARA
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MCDONOUGH, CATHERINE                 MCDONOUGH, DAN                        MCDONOUGH, ELIZABETH
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MCDONOUGH, ERIN                      MCDONOUGH, JAMES                      MCDONOUGH, JOHN
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MCDONOUGH, JOHN                      MCDONOUGH, KAREN                      MCDONOUGH, KATIE
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MCDONOUGH, KELLIE     Case 22-11238-LSS    Doc 2LEVI Filed 11/30/22
                                     MCDONOUGH,                       Page 3221 of 5495
                                                                           MCDONOUGH, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDONOUGH, MARY                      MCDONOUGH, MEGAN                      MCDONOUGH, MIKAELA
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MCDONOUGH, MIKE                      MCDONOUGH, STACEY                     MCDONOUGH, TJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDORMAN, MICHAEL                    MCDOUGAL, SUSAN                       MCDOUGAL, THADDEUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOUGALD, MIRRIN                    MCDOUGALL, AMY                        MCDOUGALL, GRAEME
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MCDOUGALL, JAMES                     MCDOUGALL, KAYLAH                     MCDOUGALL, ROSS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOUGALL, SHEILA                    MCDOUGALL, SHEILA                     MCDOUGALL, VICTORIA
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MCDOW, KIMBERLY                      MCDOWELL, ALEXANDER                   MCDOWELL, ALLYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOWELL, ASHLEY                     MCDOWELL, BRANDON                     MCDOWELL, BRUCE
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MCDOWELL, CANDACE                    MCDOWELL, CATHY                       MCDOWELL, CYMONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCDOWELL, DANIELLE    Case 22-11238-LSS    DocDONNELLY
                                     MCDOWELL,  2 Filed 11/30/22      Page 3222 of 5495
                                                                           MCDOWELL, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOWELL, JESSICA                    MCDOWELL, KELSIE                      MCDOWELL, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOWELL, LAURA                      MCDOWELL, LETA                        MCDOWELL, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOWELL, MARGARET                   MCDOWELL, MATTHEW                     MCDOWELL, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOWELL, NANCY                      MCDOWELL, NICOLE                      MCDOWELL, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOWELL, RACHAEL                    MCDOWELL, ROB                         MCDOWELL, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDOWELL, SARAI                      MCDOWELL, STEPHANIE                   MCDUFFIE, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDUFFIE, ALLISON                    MCDUFFIE, ELIZABETH                   MCDUFFIE, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCDUFFIE, MORGAN                     MCDUGALD, KATE                        MCEACHERN, CHRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCEACHERN, JOI                       MCEACHERN, TRACY                      MCEACHRAN, JAMES
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MCEADY, LYNN          Case 22-11238-LSS    Doc CAT
                                     MCELHANEY, 2 Filed 11/30/22      Page 3223 of 5495
                                                                           MCELHANEY, LAUREN
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MCELHANEY, LESLIE                    MCELHANEY, TRAVIS                     MCELHANY, JOHN
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MCELHENNEY, EMILY                    MCELHENNON, DERMOT                    MCELHENY, ROSS
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MCELHERNE, ANNE                      MCELHINEY, CHEYENNE                   MCELHINEY, ROSELYNN
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MCELHOES, LIAM                       MCELHONE, COURTNEY                    MCELLIGOTT, DEVYN
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MCELLIGOTT, KARL                     MCELLIGOTT, KELLY                     MCELMURRY, BOBBY
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MCELREA, KORI                        MCELROY, AMY                          MCELROY, AUDREY
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MCELROY, CARLY                       MCELROY, CHARLES                      MCELROY, CHRIS
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MCELROY, CHRISTINA                   MCELROY, HANNAH                       MCELROY, JEFF
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MCELROY, JOHN                        MCELROY, JORDYN                       MCELROY, JOY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCELROY, JUDITH       Case 22-11238-LSS    Doc
                                     MCELROY,   2 Filed 11/30/22
                                              KARA                    Page 3224 of 5495
                                                                           MCELROY, MELISSA
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MCELROY, NORA                        MCELROY, SARA                          MCELROY, STACI
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MCELROY, TAYLOR                      MCELROY, TAYLOR                        MCELVAIN, KRISTINE
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MCELVAIN, MEAG                       MCELWAIN, EVAN                         MCELWAIN, GINA
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MCELWAINE, DEVON                     MCELWEE, CHRISTIE                      MCELWEE, ERIN
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MCELWEE, LAURIE                      MCELWEE, LEIGH                         MCELWEE, MELISSA
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MCELWEE, SARA                        MCELYEA, JASON                         MCENANEY, KATE
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MCENANEY, LAWRENCE                   MCENANY, EMILY                         MCENDAFFER, CHEYENNE
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MCENENY, RACHEL                      MCENERY-STONELAKE, MELISSA             MCENROE, LAUREN
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MCENRUE, SUZANNE                     MCENTEE, ADRIENNE                      MCENTEE, COLLEEN
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MCENTEE, NICOLE       Case 22-11238-LSS    Doc
                                     MCENTEE,    2 Filed 11/30/22
                                              NICOLE                  Page 3225 of 5495
                                                                           MCENTIRE, JAYME
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MCENTIRE, MARY ALEXIS                MCENTIRE, NICOLE                       MCERLEAN, BARRY
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MCERLEAN, BRENNA                     MCERLEAN, ELIZABETH                    MCERLEAN, KIM
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MCERLEAN, MARY KATE                  MCERLEAN, MARY                         MCERLEAN, MAURA
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MCETTRICK, MELISSA                   MCEUEN, LAUREL                         MCEVITT, BRENNA
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MCEVOY, ALEXA                        MCEVOY, JACK                           MCEVOY, MICHAEL
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MCEVOY, MOLLY                        MCEVOY, VANESSA                        MCEWAN, ANNETTE
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MCEWAN, DEBBIE                       MCEWAN, JAMES                          MCEWAN, JOHN
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MCEWEN, JENNIFER                     MCEWEN, MORGAN                         MCEWEN, TIA
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MCFADDEN, BRIANNA                    MCFADDEN, CHRISTINE                    MCFADDEN, FRANCIS
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MCFADDEN, HB          Case 22-11238-LSS    DocJEANA
                                     MCFADDEN,  2 Filed 11/30/22      Page 3226 of 5495
                                                                           MCFADDEN, JONALYNN
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MCFADDEN, KRISTINA                   MCFADDEN, MELISSA                     MCFADDEN, MOIRA
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MCFADDEN, SCOTT                      MCFADDEN, SHEHAN                      MCFADDIN, KATIE
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MCFADEN, ESTHER                      MCFALL, JACKIE                        MCFALL, RANDI
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MCFALL, SARA                         MCFARLAIN, SARA                       MCFARLAND, ALLISON
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MCFARLAND, AMBER                     MCFARLAND, ANNETTE                    MCFARLAND, CHELCIE
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MCFARLAND, DEBORAH                   MCFARLAND, ERICA                      MCFARLAND, ERIN
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MCFARLAND, HUNTER                    MCFARLAND, JILL                       MCFARLAND, KAREN
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MCFARLAND, KARI                      MCFARLAND, KEITH                      MCFARLAND, KELLY
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MCFARLAND, KYLE                      MCFARLAND, LINDA                      MCFARLAND, MADY
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MCFARLAND, MARCIA     Case 22-11238-LSS    Doc MARGIE
                                     MCFARLAND, 2 Filed 11/30/22      Page 3227 of 5495
                                                                           MCFARLAND, MATTHEW
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MCFARLAND, MEGAN                     MCFARLAND, MOLLY                      MCFARLAND, MORGAN
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MCFARLAND, NANCY                     MCFARLAND, PAULINA                    MCFARLAND, SARA
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MCFARLAND, SCOTT                     MCFARLAND, SHANE                      MCFARLAND, SHANE
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MCFARLAND, SHANE                     MCFARLAND, TABITHA                    MCFARLAND, TAMMIE
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MCFARLAND, TOM                       MCFARLAND, VICTORIA                   MCFARLANE FAMILY TRUST
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MCFARLANE, CAROLYN                   MCFARLANE, CHASE                      MCFARLANE, DAWN
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MCFARLANE, GEOFFREY                  MCFARLANE, JAMIE                      MCFARLANE, KIMBERLIE
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MCFARLANE, TYLER                     MCFARLIN, ASHLEY                      MCFARLIN, JACK
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MCFARLIN, MEGAN                      MCFEE, EMMA                           MCFEE, KARA
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MCFEE, KELLI          Case 22-11238-LSS    DocKEELY
                                     MCFEELEY,  2 Filed 11/30/22      Page 3228 of DOLLY
                                                                           MCFEELY, 5495
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MCFEELY, MEGAN                       MCFEETERS, CHARLES                    MCFETRIDGE, DUNCAN
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MCGAFFIN, ANN                        MCGAGH, CLAIRE                        MCGAHA, DEBRA
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MCGAHA, DENISE                       MCGAHAN, CATHERINE                    MCGAHEE, SHAWN
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MCGAHREN, SHANNON                    MCGANN, KATE                          MCGANN, MICHAEL
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MCGANN, XAVIER                       MCGARITY, EMILIA                      MCGARITY, KATIE
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MCGARITY, TAMMY                      MCGARR, ZACH                          MCGARRITY, CARSON
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MCGARRITY, MEGAN                     MCGARRY, AMANDA                       MCGARRY, ANGIE
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MCGARRY, BRENDAN                     MCGARRY, EDI                          MCGARRY, ELKE
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MCGARRY, JAMARA                      MCGARRY, JANE                         MCGARRY, MATTHEW
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MCGARRY, SARAH        Case 22-11238-LSS    DocLUKE
                                     MCGARVEY,  2 Filed 11/30/22      Page 3229 of 5495
                                                                           MCGAUCHIE, JOHN
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MCGAUGHEY, LOREN                     MCGAUGHEY, LOREN                      MCGAUGHEY, MAG
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MCGAUGHY, FALON                      MCGAULEY, CHRISTINE                   MCGAVIN, MELISSA
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MCGAVOCK, TIMOTHY                    MCGAW, IAN                            MCGEARY, ANDREA
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MCGEARY, CAITLIN                     MCGEARY, COURTNEY                     MCGEARY, JESS
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MCGEE, AMANDA                        MCGEE, ASHLEY                         MCGEE, BECKY
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MCGEE, BRETT                         MCGEE, CHRISTENE                      MCGEE, CHRISTY
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MCGEE, CLINT                         MCGEE, CONNIE                         MCGEE, CYNTHIA
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MCGEE, DANIEL                        MCGEE, ELLIE                          MCGEE, HALEY
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MCGEE, HANNAH                        MCGEE, HEATHER                        MCGEE, JAMES
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MCGEE, KASEY          Case 22-11238-LSS
                                     MCGEE, Doc 2 Filed 11/30/22
                                            KATHLEEN                  Page 3230
                                                                           MCGEE,of 5495
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MCGEE, KENDRA                        MCGEE, KRISTEN                        MCGEE, LAUREN
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MCGEE, LAUREN                        MCGEE, LAUREN                         MCGEE, MARCELLE
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MCGEE, MARCY                         MCGEE, MARIANN                        MCGEE, MIKE
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MCGEE, NATALIE                       MCGEE, PATRICK                        MCGEE, RETTA
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MCGEE, SHANNON                       MCGEE, SHAUNA                         MCGEE, SHERRY
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MCGEE, SKYLER                        MCGEE, STEFFANEE                      MCGEE, TAMI
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MCGEE, THOMAS                        MCGEE, TONYA                          MCGEE, ZEB
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MCGEEHAN, COLAN                      MCGEEHAN, DEVIN                       MCGEEHAN, JOHN AND WENDY
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MCGEE-HARRIS, LILIA                  MCGEEHIN, JOE                         MCGEENEY, DIANE
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MCGEENEY, FALLON      Case 22-11238-LSS    Doc
                                     MCGEHEE,    2 Filed 11/30/22
                                              LINDA                   Page 3231 of 5495
                                                                           MCGEHEE, VICTORIA
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MCGEOUGH, KRISTIN                    MCGERALD, SYDNEY                       MCGETRICK, KAREN
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MCGETRICK, MARY KATE                 MCGEVERAN, EVALYN                      MCGHEE, AUBREY
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MCGHEE, KENNETH                      MCGHEE, PAIGE                          MCGHEE, SUZANNE
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MCGHEN, JENNIFER                     MCGHGHY, ANNALISE                      MCGHGHY, CORTNEY
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MCGIFFIN, ELLEN                      MCGILL, ANGELA                         MCGILL, CHARISSE
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MCGILL, ELYSA                        MCGILL, GRACE                          MCGILL, HAYLEY
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MCGILL, JODI                         MCGILL, JULIE                          MCGILL, KAYLA
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MCGILL, KRISTIN                      MCGILL, KYLE                           MCGILL, MEAGHAN
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MCGILL, REBEKAH                      MCGILL, SHANNON                        MCGILL, TERRY
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MCGILL, TRACY         Case 22-11238-LSS     Doc
                                     MCGILLIAN,  2 Filed 11/30/22
                                                MOLLY                 Page 3232  of 5495
                                                                           MCGILLIAN, RENEE
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MCGILLICUDDY, MARY                   MCGILLICUDDY, STEPHEN                  MCGILLIS, KRISTIE
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MCGILLIVRAY, COLLEEN                 MCGILLIVRAY, ERIN                      MCGILLIVRAY, PERRY
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MCGIMSEY, TRISHA                     MCGING, KATHRYN                        MCGINLEY, DANIEL
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MCGINLEY, DANIEL                     MCGINLEY, EILEEN                       MCGINLEY, ERIN
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MCGINLEY, KATE                       MCGINLEY, KEERSTAN                     MCGINLEY, KELSEY
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MCGINLEY, MAURA                      MCGINLEY, ROBERT                       MCGINN, CAITLIN
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MCGINN, JACQUELINE                   MCGINN, JENNIFER                       MCGINN, MARTINIQUE
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MCGINN, SHARON                       MCGINNES, HAVAN                        MCGINNESS, WINDIE
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MCGINNIS, BRIAN                      MCGINNIS, CELESTINE                    MCGINNIS, CHARYN
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MCGINNIS, COLLIN      Case 22-11238-LSS    Doc
                                     MCGINNIS,   2 Filed 11/30/22
                                               COURTNEY               Page 3233 of 5495
                                                                           MCGINNIS, JACKIE
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MCGINNIS, KATELYN                    MCGINNIS, LEAH                         MCGINNIS, MARA
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MCGINNIS, MARY                       MCGINNIS, MATTHEW                      MCGINNIS, MEREDITH
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MCGINNIS, MONICA                     MCGINNIS, RUTH                         MCGINNIS, SAMANTHA
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MCGINNIS, SAVANNAH                   MCGINNISS, AMY                         MCGINNIS-STORR, LATOI
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MCGINNITY, GRACE                     MCGINT, CRYSTAL                        MCGINTY, COLLEEN
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MCGINTY, JESSICA                     MCGINTY, JOAN                          MCGINTY, JOHN
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MCGINTY, KARIN                       MCGINTY, KATHERINE                     MCGINTY, KATIE
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MCGLAMERY, SUSAN                     MCGLASHIN, ALICIA                      MCGLEW, JAMES
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MCGLEW, LAUREN                       MCGLINCHEY, MEGAN                      MCGLINCHEY, STEPHANIE
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                      Case 22-11238-LSS
MCGLINCHEY-HAUFSK, SINEAD                  Doc
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                                              MAGGY                   Page 3234 of 5495
                                                                           MCGLONE, BILL
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MCGLONE, EMILY                       MCGLONE, KIM                          MCGLONE, SHEVAUN
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MCGLOSSON-WILSON, CHRISTINA          MCGLOTHLIN, FAITH                     MCGLOTHLIN, LISA
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MCGLOWN, KIRA                        MCGLUMPHY, SAMANTHA                   MCGLYNN, BRIAN
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MCGLYNN, CHRISTEN                    MCGLYNN, EDWARD                       MCGLYNN, ELLA
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MCGLYNN, KEARA                       MCGLYNN, MARIA                        MCGLYNN, ROSEMARIE
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MCGLYNN, SEAN                        MCGLYNN, VICKY                        MCGOEY, GARRETT
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MCGOFF, NICOLE                       MCGOFF, THOMAS                        MCGOLDRICK, FRANCINE
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MCGOLDRICK, JULIE                    MCGOLDRICK, KATHLEEN                  MCGOLDRICK, MONICA
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MCGOLDRICK, ZACH                     MCGONAGLE, CAITLIN                    MCGONAGLE, CRAIG
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MCGONAGLE, DOLORES    Case 22-11238-LSS    DocJULIE
                                     MCGONIGAL, 2 Filed 11/30/22      Page 3235 of 5495
                                                                           MCGONIGAL, KIRSTEN
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MCGONIGAL, MEGHAN                    MCGONIGLE, ANNA                        MCGONIGLE, CARLY
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MCGONIGLE, CLARA                     MCGONIGLE, ERIN                        MCGONIGLE, KELSEY
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MCGONIGLE, NORA                      MCGORREY, SUSAN L.                     MCGORRY, SARAH
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MCGOUGH, JAMES                       MCGOULDRICK, JARED                     MCGOUN, MEGAN
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MCGOVERN, ARIN                       MCGOVERN, BRYNN                        MCGOVERN, CAITLIN
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MCGOVERN, CELIA                      MCGOVERN, CLAIRE                       MCGOVERN, COLLEEN
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MCGOVERN, GRACE                      MCGOVERN, JODI                         MCGOVERN, JULIANNE
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MCGOVERN, KATHLIN                    MCGOVERN, KATIE                        MCGOVERN, KELSEY
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MCGOVERN, KENNY                      MCGOVERN, LYNDA                        MCGOVERN, MADONNA
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MCGOVERN, MARGARET Case 22-11238-LSS    DocMARGARET
                                  MCGOVERN,  2 Filed 11/30/22        Page 3236 of 5495
                                                                          MCGOVERN, MARIANNE
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MCGOVERN, MARTA                     MCGOVERN, MEAGAN                      MCGOVERN, NANCY
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MCGOVERN, THOMAS                    MCGOVERN, TIMOTHY                     MCGOVERN, VANESSA
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MCGOVERN, WILLIAM                   MCGOVERN-WENKSTERN, HANNAH            MCGOWAN, BETHANY
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MCGOWAN, BRENNAN                    MCGOWAN, BRET                         MCGOWAN, DONALD
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MCGOWAN, JESSICA                    MCGOWAN, JILLIAN                      MCGOWAN, JOHN
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MCGOWAN, KATIE                      MCGOWAN, KIMBERLY                     MCGOWAN, KOREN
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MCGOWAN, KRISTIAN                   MCGOWAN, MATT                         MCGOWAN, MISTY
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MCGOWAN, MYLES                      MCGOWAN, NATHAN                       MCGOWAN, PHYLLIS
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MCGOWAN, ROBERT                     MCGOWAN, SARAH                        MCGOWAN, SENAY
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MCGOWAN, STAR         Case 22-11238-LSS    DocSTEFANIE
                                     MCGOWAN,   2 Filed 11/30/22      Page 3237 of 5495
                                                                           MCGOWAN, STEPHANIE
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MCGOWAN, SUSAN                       MCGOWAN, TIM                          MCGOWAN, VICTORIA
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MCGOWEN, ALEX                        MCGOWEN, HANNAH                       MCGOWEN, SUSAN
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MCGOWIN, CASSANDRA                   MCGOWIN, JIM                          MCGRADE, MEGHAN
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MCGRADY, KOURTNEY                    MCGRADY, KYLE                         MCGRADY, MONEE
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MCGRAIL, ALICE                       MCGRAIL, BRENDAN                      MCGRAIL, DEBORAH
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MCGRAIL, ELIZABETH                   MCGRAIL, JULIANNE                     MCGRAIL, MAUREEN
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MCGRANAHAN, JACQUES                  MCGRANE, KYLEE                        MCGRANE, MORGAN
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MCGRATH WRIGHT, CHLOE                MCGRATH, ALICIA                       MCGRATH, AMANDA
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MCGRATH, APRIL                       MCGRATH, ASHLEIGH                     MCGRATH, BRIGID
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MCGRATH, CALLIE       Case 22-11238-LSS    Doc
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                                                                           MCGRATH, CHELSEA
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MCGRATH, CHRIS                       MCGRATH, COLLEEN                      MCGRATH, COREY
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MCGRATH, DEANNA                      MCGRATH, DEANNA                       MCGRATH, DEVIN
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MCGRATH, DUSTIN                      MCGRATH, ELIZABETH                    MCGRATH, ERIN
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MCGRATH, GAYLE                       MCGRATH, JEAN                         MCGRATH, JEAN
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MCGRATH, JOHN                        MCGRATH, JULIA                        MCGRATH, KELLY
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MCGRATH, KEVIN                       MCGRATH, KRISTIN                      MCGRATH, LINDA
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MCGRATH, LISA                        MCGRATH, MAGGIE                       MCGRATH, MAKENZIE
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MCGRATH, MARYROBERT                  MCGRATH, MATT                         MCGRATH, MELANIE
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MCGRATH, MONICA                      MCGRATH, NATALIE                      MCGRATH, PATRICK
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MCGRATH, ROBYN        Case 22-11238-LSS    Doc
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MCGRATH, SHAWN                       MCGRATH, STEPHEN                      MCGRATH, SUZANNE
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MCGRATH, SYDNEY                      MCGRATH, TAYLOR                       MCGRAW, ANNA
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MCGRAW, COLLIN                       MCGRAW, GRACE                         MCGRAW, JERA
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MCGRAW, KATE                         MCGRAW, KELISTA                       MCGRAW, MEGAN & NOLAN
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MCGRAW, MOLLY                        MCGRAW, RYAN                          MCGRAW, SARAH
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MCGRAY, MADISON                      MCGREADY, BEN                         MCGREAL, FRANCES
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MCGREEVY, ERICA                      MCGREGOR, ANASTASIA Z.                MCGREGOR, ANNE
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MCGREGOR, DANIELLE                   MCGREGOR, KELLEY                      MCGREGOR, MADISON
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MCGREGOR, MICHELLE                   MCGREGOR, PAMELA                      MCGREGOR, REBECCA
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MCGREGOR, TIFFANY     Case 22-11238-LSS    DocWENDY
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MCGREW, BRAD                         MCGREW, CALEIGH                       MCGREW, CHARLI
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MCGREW, CHARLI                       MCGREW, FRANCES                       MCGREW, LEXUS
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MCGREW, MARISSA                      MCGREW, TINA                          MCGREW, VERONICA
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MCGRIFF, ASHLEY                      MCGRIMLEY, THOMAS                     MCGROARTY, COLLEEN
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MCGROARTY, GENEVIEVE                 MCGROARTY, ROBERT                     MCGRORTY, TAB
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MCGRUE, NICHOLAS                     MCGUCKIN, RYAN                        MCGUGAN, ADELE
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MCGUGAN, STEVE                       MCGUGIN, SUZIE                        MCGUIGAN, ANDREW
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MCGUIGAN, CHRISTOPHER                MCGUIGAN, FRAN                        MCGUIGAN, LAURA
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MCGUIGAN, MICHAEL                    MCGUIGAN, POLLY                       MCGUIGGAN, ERIN
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MCGUINESS, LAUREN     Case 22-11238-LSS    Doc 2CHRISTOPHER
                                     MCGUINNESS,     Filed 11/30/22   Page 3241 of 5495
                                                                           MCGUINNESS, COLLEEN
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MCGUINNESS, DAWN                     MCGUINNESS, DOROTHY                   MCGUINNESS, REBECCA
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MCGUINTY, DEBRA                      MCGUIRE, ANDREA                       MCGUIRE, CARA
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MCGUIRE, COLLEEN                     MCGUIRE, CONOR                        MCGUIRE, DEBRA
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MCGUIRE, DENNIS                      MCGUIRE, DONNA                        MCGUIRE, ELIZABETH
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MCGUIRE, ELIZABETH                   MCGUIRE, ELIZABETH                    MCGUIRE, HEIDI
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MCGUIRE, JOEL & AMY                  MCGUIRE, JOEL                         MCGUIRE, JOHN
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MCGUIRE, KAILEY                      MCGUIRE, KARIE                        MCGUIRE, KYLE
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MCGUIRE, LANI                        MCGUIRE, LAWRENCE                     MCGUIRE, LEAH
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MCGUIRE, LEILANI                     MCGUIRE, MARISA                       MCGUIRE, MELISSA
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MCGUIRE, MELISSA      Case 22-11238-LSS    Doc
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MCGUIRE, PETER                       MCGUIRE, RACHEL                       MCGUIRE, SAMANTHA
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MCGUIRE, SCOTT                       MCGUIRE, SHANI                        MCGUIRE, SHANNON
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MCGUIRE, SHANNON                     MCGUIRE, TABATHA                      MCGUIRE, THOMAS MARTIN
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MCGUIRK, DAVID                       MCGUIRK, MEGAN                        MCGURK, CATHERINE
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MCGURK, DANIELLE                     MCGURK, KELLY                         MCGURR, SUE
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MCGURREN, JACQUELINE                 MCGURREN, JEFF                        MCGURY, JUSTINE
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MCGUSHIN, MEGAN                      MCGUYER, TARA                         MCHALE, DEB
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MCHALE, DUNCAN                       MCHALE, JENNIFER                      MCHALE, KELLIE
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MCHALE, KEVIN                        MCHALE, MEGAN                         MCHALE, MIRNA
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MCHALE, TAMMIE        Case 22-11238-LSS
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MCHARGUE, ERIN                       MCHATTON, JONATHAN                    MCHENRY, ANDRE
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MCHENRY, ANNA                        MCHENRY, ANNE                         MCHENRY, AVA DUNSON
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MCHENRY, BETH                        MCHENRY, CYNTHIA                      MCHENRY, MEGHAN
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MCHENRY, MEREDITH                    MCHENRY, NATALIE                      MCHENRY, RACHAEL
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MCHENRY, SHERI                       MCHENRY, TARA                         MCHUGH, ALYSSA
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MCHUGH, AMANDA                       MCHUGH, BREANNA                       MCHUGH, CAROL
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MCHUGH, COURTNEY                     MCHUGH, ELISE                         MCHUGH, ELLIE
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MCHUGH, ERIN                         MCHUGH, FRANCES                       MCHUGH, JACQUELINE
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MCHUGH, JACQUELINE                   MCHUGH, JAMES                         MCHUGH, JENNIFER
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MCHUGH, JESSICA       Case 22-11238-LSS    Doc
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                                             JOHN                     Page 3244 of JOSEPH
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MCHUGH, KATHIE                       MCHUGH, KATHLEEN                      MCHUGH, KATHRYN
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MCHUGH, LEAH                         MCHUGH, MARY KATE                     MCHUGH, MARY KAY
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MCHUGH, MEGHAN                       MCHUGH, MICHAEL                       MCHUGH, PATRICK
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MCHUGH, RACHEL                       MCHUGH, REBECCA                       MCHUGH, STEPHANIE
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MCHUGH, VICKY                        MCHUGH-JOHNSON, MOLLY                 MCILDOWIE, SYDNEY
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MCILHENNY, KENDALL                   MCILROY, GARY                         MCILVAIN, LIZ
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MCILVAINE, JULIA                     MCILVEEN, DONNA                       MCILWAIN, APRIL
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MCILWAIN, ASHLEY                     MCILWAIN, MATTHEW                     MCINERNEY, BRIANNE
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MCINERNEY, KALEE                     MCINERNEY, KRISTI                     MCINERNEY, MICHAELA
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MCININCH, COELYNN     Case 22-11238-LSS
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MCINNIS, IAN                         MCINNIS, JENNIFER                     MCINNIS, WHITNEY
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MCINTEE, WILLIAM                     MCINTIRE, KELLY                       MCINTIRE, MARIA
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MCINTIRE, PETER                      MCINTIRE, TIFFANY                     MCINTOSH, ANGEL
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MCINTOSH, BARB                       MCINTOSH, BRANDON                     MCINTOSH, CALI
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MCINTOSH, FRANCES                    MCINTOSH, JAMILA                      MCINTOSH, JEANNETTE
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MCINTOSH, JOHN                       MCINTOSH, JULIA                       MCINTOSH, KELSEY
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MCINTOSH, LESLIE                     MCINTOSH, MIKE                        MCINTOSH, NEAL
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MCINTOSH, NICOLE                     MCINTOSH, ROYCE                       MCINTOSH, RROYA-RAE
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MCINTOSH, RUKAVINA                   MCINTOSH, SEAN                        MCINTOSH, SEAN
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MCINTOSH, SIOBHAN     Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         40410 ARROYO SECO ROAD
                                                                            SOLEDAD, CA 93960




MCINTURFF, JOYE                      MCINTYRE, AMANDA                       MCINTYRE, AMBER
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MCINTYRE, ANDREA                     MCINTYRE, BAILEY                       MCINTYRE, CALLIE
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MCINTYRE, CAMILLE                    MCINTYRE, CASSIE                       MCINTYRE, CHERYL
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MCINTYRE, CLAIRE                     MCINTYRE, DARLENE                      MCINTYRE, DEVON
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MCINTYRE, DIANE                      MCINTYRE, DUSTIN                       MCINTYRE, EMILY
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MCINTYRE, GREGORY                    MCINTYRE, JENAE                        MCINTYRE, JERICA
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MCINTYRE, JULIE                      MCINTYRE, MATTHEW                      MCINTYRE, MOLLY
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MCINTYRE, NICOLE                     MCINTYRE, NICOLETTE                    MCINTYRE, REBEKAH
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MCINTYRE, RYAN                       MCINTYRE, SAMUEL                       MCINTYRE, SHANNON
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MCINTYRE, SHANNON     Case 22-11238-LSS    Doc
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MCISAAC, AMY                         MCIVER, ANNA                           MCIVER, LAURA
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MCIVER, LAUREN                       MCJOYNT-GRIFFITH, THOMAS               MCKAGUE, MEREDITH
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MCKAIRNES, JOSEPH                    MCKAMIE, ZACHARY                       MCKANN, LINDSEY
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MCKANN, SARAH                        MCKAY, ABBEY                           MCKAY, ANNABETH
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MCKAY, BRENNA                        MCKAY, CANDACE                         MCKAY, CHERYL
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MCKAY, DANA                          MCKAY, DOROTA                          MCKAY, ELLEN
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MCKAY, EVELYN                        MCKAY, JAMIE                           MCKAY, JULIA
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MCKAY, KARI                          MCKAY, KELLY                           MCKAY, LORRIE
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MCKAY, MARISA                        MCKAY, MARY                            MCKAY, MATTHEW
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MCKAY, MEGAN          Case 22-11238-LSS
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MCKAY, SYDNEY                        MCKAY, TONIANN                        MCKAY, TRACEY
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MCKEACHIE, IAN                       MCKEAG, MADDY                         MCKEAGE, ASHLEY
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MCKEAN, JOSH                         MCKEARY, ERIN                         MCKECHNIE, ROBERT DEREK
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MCKEE, AARON                         MCKEE, ALEXANDRA                      MCKEE, AMANDA
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MCKEE, AMBER                         MCKEE, COLLEEN                        MCKEE, JILLIAN
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MCKEE, KEM                           MCKEE, KENDALL                        MCKEE, KERI
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MCKEE, LISA                          MCKEE, MAGDALENA                      MCKEE, MEGHAN
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MCKEE, MELODI                        MCKEE, MERCY                          MCKEE, MICHAEL
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MCKEE, REBECCA                       MCKEE, SARA                           MCKEE, SHAUNA
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MCKEE, STEPHANIE      Case 22-11238-LSS
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MCKEEGAN, HUGH                       MCKEEGAN, LAUREN                      MCKEEGAN, LINDSAY
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MCKEEL, LAURIE                       MCKEEL, MARC                          MCKEEMAN, JENNIFER
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MCKEEN, LORI                         MCKEEN, SUSAN                         MCKEEVER, CONNOR
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MCKEEVER, JEROME                     MCKEEVER, RACHEL                      MCKEEVER, SARAH
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MCKELL, MARK                         MCKELLAR, HEATHER                     MCKELLIPS, LAUREL
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MCKELROY, LAUREN                     MCKELVEY, BARBARA                     MCKELVEY, JESS
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MCKELVEY, LINDA                      MCKELVEY, RUSSELL                     MCKELVEY, SEAN
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MCKELVEY, VICTORIA                   MCKELVY, KELLY                        MCKELVY, LEAH
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MCKELVY, MICHAEL                     MCKENDREE, LAURA                      MCKENDRICK, GREER
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MCKENDRY, COLLEEN     Case 22-11238-LSS    DocJUDITH
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MCKENNA, ALEXA                       MCKENNA, ALISON                       MCKENNA, AMANDA
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MCKENNA, AMY                         MCKENNA, ANDREW                       MCKENNA, AUDREY
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MCKENNA, CAITLIN                     MCKENNA, CASEY                        MCKENNA, CATHY
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MCKENNA, CHAD                        MCKENNA, COURTNEY                     MCKENNA, COURTNEY-ERIN
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MCKENNA, CYNTHIA                     MCKENNA, DANA                         MCKENNA, DAWN
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MCKENNA, DEZIHAN,                    MCKENNA, ELIZABETH                    MCKENNA, ELLYN
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MCKENNA, HOLLY                       MCKENNA, JAIME                        MCKENNA, JAIME
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MCKENNA, JEFFREY                     MCKENNA, JUSTIN                       MCKENNA, KELLAN
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MCKENNA, KRISTYN                     MCKENNA, MATTHEW                      MCKENNA, MORGAN
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MCKENNA, PAMELA       Case 22-11238-LSS    Doc
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                                                                           MCKENNA, RYAN
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MCKENNA, SEAN                        MCKENNA, STEPHEN                      MCKENNA, TRICIA
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MCKENNA-CICHON, TRICIA               MCKENNAN, LAUREN                      MCKENNEY, BRENDAN
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MCKENNEY, CARLI                      MCKENNEY, MEGAN                       MCKENNEY, MITCHELL
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MCKENNEY, PATRICK                    MCKENNEY, TERA                        MCKENTY, WILLIAM
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MCKENZIE CREST INC.                  MCKENZIE, ANDREA                      MCKENZIE, BOBBY
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MCKENZIE, CHARLAINE                  MCKENZIE, CHRISTINE                   MCKENZIE, DANIEL
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MCKENZIE, DAVID                      MCKENZIE, JACQIE                      MCKENZIE, JUANITA
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MCKENZIE, KAMILLE                    MCKENZIE, KATHERINE                   MCKENZIE, KATHLEEN
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MCKENZIE, KATHLEEN                   MCKENZIE, KERI                        MCKENZIE, KIRBY
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MCKENZIE, LAURA       Case 22-11238-LSS    Doc
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                                                                           MCKENZIE, MARY ALICE
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MCKENZIE, MOLLY                      MCKENZIE, MOLLY                        MCKENZIE, MYRA
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MCKENZIE, OMAR                       MCKENZIE, PHAEDRA                      MCKENZIE, REBECCA
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MCKEON, AMELIA                       MCKEON, BRIAN                          MCKEON, BRIGID
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MCKEON, DAN                          MCKEON, KATHLEEN                       MCKEON, LISA
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MCKEOUGH, MICHELLE                   MCKEOWN, CAROLINE                      MCKEOWN, CAROLYN
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MCKEOWN, COLLEEN                     MCKEOWN, SAM                           MCKERLEY, BEN
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MCKERNAN, EMILY                      MCKERNAN, MEGAN                        MCKESSEY, ANDREW
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MCKEVITT, EMILY                      MCKEWIN, KELLY                         MCKEY, SUSAN
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MCKIBBAN, DYLAN                      MCKIBBEN, JANET                        MCKIBBEN, KERIGAN
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MCKIBBEN, MOLLY       Case 22-11238-LSS     Doc
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MCKILLOP, CHELSEA                    MCKILLOP, PAUL                        MCKIM, KRISTEN
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MCKIM, MELISSA                       MCKINLAY HAMILTON, MAIRIN             MCKINLEY, AMY
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MCKINLEY, CHERI                      MCKINLEY, JAMES                       MCKINLEY, JESSICA
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MCKINLEY, JESSICA                    MCKINLEY, JILL                        MCKINLEY, KELLY
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MCKINLEY, LINDA                      MCKINLEY, MARY                        MCKINLEY, MEGAN
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MCKINLEY, ROGER                      MCKINLEY, RONITA                      MCKINLEY, SHAUN
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MCKINNEY, MOLLY                      MCKINNEY, NATALIE                      MCKINNEY, REBECCA
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MCKINNEY, SCOTT                      MCKINNEY, SEANN                        MCKINNEY, STACY
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MCKINNEY, SUSAN                      MCKINNEY, TRISTAN                      MCKINNIS, JAX
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MCKINNON, DEBORAH                    MCKINNON, KERRI                        MCKINNON, KYLIE
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MCKINSLEY, DOMINIQUE                 MCKINZIE, ANNA                         MCKINZIE, KRISTY
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MCKINZIE, LASHAWN                    MCKIRAHAN, SARAH                       MCKISSOCK, SHANNON
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MCKISSON, RUFUS                      MCKITRICK, NICOLE                      MCKIVER JAYLA
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MCKNETT, HARRY                       MCKNIFF, MARCIA                        MCKNIGHT, AFTON
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MCKNIGHT, ALEXA                      MCKNIGHT, ANTHONY                      MCKNIGHT, BRISHAW
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MCKNIGHT, CAT                        MCKNIGHT, CHRISTA                      MCKNIGHT, JOHN
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MCKNIGHT, KIARA                      MCKNIGHT, KODI                         MCKNIGHT, LAUREN
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MCKNIGHT, LIBERTY                    MCKNIGHT, LIZ                          MCKNIGHT, MINDY
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MCKNIGHT, NIKOLAS                    MCKNIGHT, RENEE                        MCKNIGHT, SIDNEY
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MCKOIN, EMILY         Case 22-11238-LSS    Doc
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MCKONE, TONITA                       MCKOY, ARIELLE                        MCKOY, ASHLEY
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MCKOY, DANE                          MCKOY, LILY                           MCKOY, PAMELA
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MCLACHLAN, DEBBIE                    MCLACHLAN, JAMES                      MCLACHLAN, MARY
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MCLAFFERTY, DIANE LAYO               MCLAFFERTY, MEGAN                     MCLAIN, ALICIA
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MCLAIN, GRACE                        MCLAIN, JADE                          MCLAIN, JEREMY
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MCLAIN, JILL                         MCLAIN, KAITLYN                       MCLAIN, LENA
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MCLAIN, NATALIE                      MCLAIN, SHAUN                         MCLAIN, WILLIAM
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MCLAMB, CASSIDY                      MCLANE, JAMES                         MCLANE, KATRINA
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MCLANE, PATRICIA                     MCLANEY, WENDY                        MCLAREN, AMANDA
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MCLAREN, ANDREA       Case 22-11238-LSS    Doc
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                                                                           MCLAREN, JESSICA
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MCLAREN, JILL                        MCLAREN, MEGAN                         MCLAREN, TERESA
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MCLAUCHLAN, JOHN                     MCLAUCHLAN, TERRIE                     MCLAUCHLIN, NICKI
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MCLAUCHLIN, SUSAN                    MCLAUGHLAN, ANN                        MCLAUGHLIN, ADRIAN
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MCLAUGHLIN, AMANDA                   MCLAUGHLIN, AMY                        MCLAUGHLIN, ANDREW
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MCLAUGHLIN, ANNE                     MCLAUGHLIN, BRANDON                    MCLAUGHLIN, BROOKE
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MCLAUGHLIN, CAITLIN                  MCLAUGHLIN, CATHY                      MCLAUGHLIN, CHELSEA
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MCLAUGHLIN, CINDY                    MCLAUGHLIN, CLAUDIA                    MCLAUGHLIN, COLIN
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MCLAUGHLIN, CORINNE                  MCLAUGHLIN, DARNELL                    MCLAUGHLIN, DAWN
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MCLAUGHLIN, DEBORAH                  MCLAUGHLIN, DEVIN                      MCLAUGHLIN, EMILY
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MCLAUGHLIN, ERICA     Case 22-11238-LSS    Doc ERIKA
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MCLAUGHLIN, GAIL                     MCLAUGHLIN, GENEVIEVE                  MCLAUGHLIN, HUNTER
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MCLAUGHLIN, JACKIE                   MCLAUGHLIN, JANET                      MCLAUGHLIN, JOY
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MCLAUGHLIN, KATHRYN                  MCLAUGHLIN, KATHY                      MCLAUGHLIN, KAYLA
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MCLAUGHLIN, KEITH                    MCLAUGHLIN, KELLY                      MCLAUGHLIN, KIM
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MCLAUGHLIN, KIMBERLY                 MCLAUGHLIN, KRISITIN                   MCLAUGHLIN, KRISTEN
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MCLAUGHLIN, KRISTI                   MCLAUGHLIN, LAURA                      MCLAUGHLIN, LAURIE
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MCLAUGHLIN, LUCAS                    MCLAUGHLIN, MARGARET                   MCLAUGHLIN, MARIE
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MCLAUGHLIN, MARY KATE                MCLAUGHLIN, MARYANN                    MCLAUGHLIN, MATEO
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MCLAUGHLIN, MAXMILLION               MCLAUGHLIN, MAYA                       MCLAUGHLIN, MEGAN
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MCLAUGHLIN, MEGAN     Case 22-11238-LSS    Doc MELISSA
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MCLAUGHLIN, MICHAEL T.               MCLAUGHLIN, MICHAEL                    MCLAUGHLIN, MICHAEL
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MCLAUGHLIN, MIKE                     MCLAUGHLIN, OLIVIA                     MCLAUGHLIN, PAUL
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MCLAUGHLIN, PAUL                     MCLAUGHLIN, RAYELLE                    MCLAUGHLIN, RENE
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MCLAUGHLIN, ROBERT                   MCLAUGHLIN, SHANNON                    MCLAUGHLIN, SIMONE
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MCLAUGHLIN, STEPHANIE                MCLAUGHLIN, SUSAN                      MCLAUGHLIN, TAYLOR
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MCLAUGHLIN, VICTORIA                 MCLAUGHLIN, VINCE                      MCLAUGLIN, WENDY
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MCLAURIN, CHANNING                   MCLAURIN, KRYSTAL                      MCLAURIN, LANDA
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MCLAWHORN, ELIZABETH                 MCLAWHORN, JANE                        MCLAWHORN, MEGAN
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MCLEAN, AIMEE                        MCLEAN, AMANDA                         MCLEAN, BRIDGET
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MCLEAN, BRIDGET       Case 22-11238-LSS
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MCLEAN, CHRISTINE                    MCLEAN, DARCY                         MCLEAN, EVAN
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MCLEAN, GABRIELLE                    MCLEAN, HEIDY                         MCLEAN, JENNIFER
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MCLEAN, JOHNPAUL                     MCLEAN, JONATHAN                      MCLEAN, JOSEPH
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MCLEAN, KACIE                        MCLEAN, KATE                          MCLEAN, KATY
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MCLEAN, MAKENNA                      MCLEAN, MARGARET                      MCLEAN, MICHAEL
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MCLEAN, SCOTT AND COURTNEY           MCLEAN, STEFFANI                      MCLEAN, SUSAN
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MCLEAN, SUSAN                        MCLEAN, TERESA & KERMIT               MCLEAN, TYSON
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MCLEER, ROBERT                       MCLEESE, VERNESHIA                    MCLELAND, KATRINA
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MCLELLAN, DAVID                      MCLELLAN, KAYLA                       MCLELLAN, KERRY
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MCLELLAN, KRISTIN     Case 22-11238-LSS    Doc
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MCLELLAND, TINA                      MCLELLON, BRIAN                       MCLEMORE, DAVID
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MCLEMORE, MARY                       MCLENAGHAN, ELAINE                    MCLENDON, JAMES
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MCLENDON, TOYA                       MCLEOD, ALEX                          MCLEOD, ANGUS
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MCLEOD, CARLY                        MCLEOD, DAVID                         MCLEOD, IRVINA
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MCLEOD, K.C.                         MCLEOD, KIANA                         MCLEOD, KIM
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MCLEOD, OMAR                         MCLEOD, PEARL                         MCLEOD, ROXANNE
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MCLEOD, RYAN                         MCLEOD, SEAN                          MCLEOD, TIFFANY
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MCLEOD, YANNICK                      MCLEOD-HANIE, MEGAN                   MCLERAN, BECKY
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MCLEROY, MARY                        MCLINKO, KRISTEN                      MCLINN, GARRY
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MCLOUGHLIN, MAGGIE                   MCLOUGHLIN, MEAGAN                    MCLOUGHLIN, SHANE
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MCMAHAN, ELLA                        MCMAHAN, JESSICA                      MCMAHAN, KERRIN
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MCMAHAN, LIBBY                       MCMAHAN, MADISON                      MCMAHAN, RENEE
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MCMAHAN, SKYLAR                      MCMAHON, AMY                          MCMAHON, ANDREW
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MCMAHON, AUBREE                      MCMAHON, BETH                         MCMAHON, BRITTANY
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MCMAHON, CARLEIGH                    MCMAHON, COLLEEN                      MCMAHON, ERIN
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MCMAHON, ERIN                        MCMAHON, GABRIELA                     MCMAHON, JENNIFER
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MCMAHON, JESSICA                     MCMAHON, JULIA                        MCMAHON, JULIE
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MCMAHON, KATE         Case 22-11238-LSS    Doc
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                                                                           MCMAHON, KELLY
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MCMAHON, KESHIA                      MCMAHON, MARGUERITE                   MCMAHON, MARISA
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MCMAHON, MARTIN                      MCMAHON, MARY                         MCMAHON, MATT
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MCMAHON, MEG                         MCMAHON, MEGHAN                       MCMAHON, MICHAEL
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MCMAHON, NEAL                        MCMAHON, NEIL                         MCMAHON, NEVA
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MCMAHON, PHILIP                      MCMAHON, RACHEL                       MCMAHON, SEAN
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MCMAHON, SHEILA                      MCMAHON, TAYLER                       MCMAHON, THOMAS
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MCMAHON, WILLIAM                     MCMAINS, CHRISTINE                    MCMANAMAN, JENNIFER
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MCMANAMAN, JILLIAN                   MCMANAMON, ANG                        MCMANAMON, COLLEEN
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MCMANEMIN, AUDREY                    MCMANIGAL, MARCIA                     MCMANIMIE, BRYNNE
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MCMANIMIE, KELSEY     Case 22-11238-LSS    Doc
                                     MCMANUS,   2 Filed 11/30/22
                                              ALLY                    Page 3264 of 5495
                                                                           MCMANUS, BROOKE
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MCMANUS, CAITY                       MCMANUS, CARLEY                       MCMANUS, CARY
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MCMANUS, CHARLOTTE                   MCMANUS, CHELSEA                      MCMANUS, ELLA
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MCMANUS, ERIN                        MCMANUS, JACQUELYN                    MCMANUS, JOAN
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MCMANUS, JODY                        MCMANUS, JOSEPH                       MCMANUS, JOSEPHINA
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MCMANUS, KAITLIN                     MCMANUS, MEGHAN                       MCMANUS, NANCY
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MCMANUS, NOELLE                      MCMANUS, PAUL                         MCMANUS, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCMASTER, BRITTANY                   MCMASTER, CARLEY                      MCMASTER, ERIN
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MCMASTER, LEAH                       MCMASTER-CARR SUPPLY COMPANY          MCMASTERS, JAMES
ADDRESS AVAILABLE UPON REQUEST       600 N. COUNTY LINE RD.                ADDRESS AVAILABLE UPON REQUEST
                                     ELMHURST, IL 60126




MCMASTER-SANDER, CHRISTINE           MCMECHAN, DANIELLE                    MCMEEKIN, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MCMEEN, KRISTEN       Case 22-11238-LSS    Doc JAMIE
                                     MCMENAMIN, 2 Filed 11/30/22      Page 3265 of 5495
                                                                           MCMENAMIN, MEGAN
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MCMENAMIN, SHAWNA                    MCMICHAEL, ANNA                       MCMICHAEL, DALE
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MCMICHAEL, GRACE                     MCMICHAEL, JILL                       MCMICHAEL, JOSHUA
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MCMICHAEL, MADISON                   MCMICHAEL, MEGHAN                     MCMICKLE, ALLISON
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MCMILLAN, ASHLEY                     MCMILLAN, BRITTANY                    MCMILLAN, COLIN
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MCMILLAN, DOMANIQUE                  MCMILLAN, ELAINE                      MCMILLAN, ELIZABETH
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MCMILLAN, JACKI                      MCMILLAN, JAIME                       MCMILLAN, KAREN
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MCMILLAN, KASEY                      MCMILLAN, LASHAWN                     MCMILLAN, MAGGIE
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MCMILLAN, MICHAEL                    MCMILLAN, NEIL                        MCMILLAN, PATRICK
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MCMILLAN, SAMUEL                     MCMILLAN, STACIE                      MCMILLAN, SUMMER
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MCMILLAN, SUSAN       Case 22-11238-LSS    Doc
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                                               TIFFANY                Page 3266  of 5495
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MCMILLEN, ANDREA                     MCMILLEN, CASEY                        MCMILLEN, JOY
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MCMILLEN, KATHERINE                  MCMILLIAN, LAUREN                      MCMILLIAN, LYSSA
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MCMILLIAN, MEREDITH                  MCMILLIN, JOAN                         MCMILLIN, SHAUNTY
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MCMILLION, TERESA                    MCMINN, LEAH                           MCMONAGLE, BRIAN
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MCMONAGLE, RACHEL                    MCMORRIS, DOMINIQUE                    MCMORROW, GRACE
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MCMORROW, MEGHAN                     MCMORROW, PATRICK                      MCMULLEN, ALICIA
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MCMULLEN, AMANDA                     MCMULLEN, BENJAMIN                     MCMULLEN, CARRIE
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MCMULLEN, CATHLEEN                   MCMULLEN, DEBRA                        MCMULLEN, ERIN
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MCMULLEN, JAMIE                      MCMULLEN, JOHN                         MCMULLEN, PATRICK
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MCMULLEN, TRENT       Case 22-11238-LSS    Doc
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                                                                           MCMULLIN, MADISON
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MCMULLIN, REBECCA                    MCMUNN, CASEY                          MCMURRAIN, ANNE
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MCMURRAY, HEATHER                    MCMURRAY, KATHLEEN                     MCMURRAY, MISSY
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MCMURRAY, TARA                       MCMURRIN, LUCAS                        MCMURROUGH, WILLIAM
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MCMURRY, CAROLINE                    MCMURRY, EVAN                          MCMURRY, HAYLEE
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MCMURRY, JASMINE                     MCMURTREY, CHRISTA                     MCNAB, ANNA
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MCNAB, JACOB                         MCNAB, NICOLE                          MCNABB, AMANDA
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MCNABB, SETSUKO                      MCNAIR, GINA                           MCNAIR, MARCIA
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MCNAIR, SAREENA                      MCNAIR, TIFFANY                        MCNALL, ALAINA
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MCNALLAN, CONNOR                     MCNALLEN, BRIANNA                      MCNALLY, AMANDA
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MCNALLY, AMY          Case 22-11238-LSS    Doc
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                                                                           MCNALLY, 5495
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MCNALLY, JILLIAN                     MCNALLY, KATIE                        MCNALLY, KEEGAN
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MCNALLY, KERRY                       MCNALLY, LINDSAY                      MCNALLY, MARY
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MCNALLY, MARYAGNES                   MCNALLY, NICOLE                       MCNALLY, PATRICK
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MCNALLY, RAYMOND                     MCNALLY, SARAH                        MCNALLY, SARAH
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MCNALLY, SHANNON                     MCNALLY, THOMAS                       MCNALLY, TRISH
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MCNAMARA, ALLISON                    MCNAMARA, AUDREY                      MCNAMARA, BRAD
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MCNAMARA, CAITIE                     MCNAMARA, COURTNEY                    MCNAMARA, DANA
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MCNAMARA, DANIEL                     MCNAMARA, DANIELLE                    MCNAMARA, DEBI
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MCNAMARA, DONNA                      MCNAMARA, ERIN                        MCNAMARA, EVA
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MCNAMARA, JENNIFER    Case 22-11238-LSS    DocJESSICA
                                     MCNAMARA,  2 Filed 11/30/22      Page 3269 of 5495
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MCNAMARA, JULIE                      MCNAMARA, JULIETTE                    MCNAMARA, KACEY
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MCNAMARA, KACEY                      MCNAMARA, KYLE                        MCNAMARA, LAUREN
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MCNAMARA, LAURIE                     MCNAMARA, LESLIE                      MCNAMARA, LISA
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MCNAMARA, LIZZ                       MCNAMARA, MARISSA                     MCNAMARA, MEREDITH
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MCNAMARA, MIRANDA                    MCNAMARA, PATRICIA                    MCNAMARA, PATRICK
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MCNAMARA, REBECCA                    MCNAMARA, SEAN                        MCNAMARA, SEAN
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MCNAMARA, TOM                        MCNAMARA, WADE                        MCNAMEE, BRENDAN
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MCNAMEE, KAIDAN                      MCNAMEE, KRISTEN                      MCNAMEE, KRISTI
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MCNAMEE, MEGAN                       MCNAMEE, SUE                          MCNARY, BRINLEE
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MCNARY, MALLORY       Case 22-11238-LSS    Doc
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                                                                              MCNATT, 5495
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MCNAUGHT, MELINA                        MCNAUGHT, NICHOLE                     MCNAUGHTON, DAVID
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MCNEAL, ABIGAIL                         MCNEAL, ALAINA                        MCNEAL, ARICA
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MCNEAL, ELISE                           MCNEAL, LEEWANDA                      MCNEAL, MAYA
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MCNEAL, MICHELLE                        MCNEAL, TINA                          MCNEAL, TYRONE
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MCNEALY, LATONIA                        MCNEAR, LEAH                          MCNEELEY, GABRIELLE
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MCNEELY, ANDREA                         MCNEELY, ANNETTE                      MCNEELY, KAI
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MCNEELY, MICHELLE                       MCNEELY, MOLLY                        MCNEER, CHARLES
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MCNEES, KRISTINA                        MCNEESE, KATHY                        MCNEFF, MEGHAN
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MCNEIL WINES INC                        MCNEIL, ANDREA                        MCNEIL, ANGEL
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MCNEIL, BIANCA        Case 22-11238-LSS
                                     MCNEIL,Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCNEIL, CARA                         MCNEIL, DANIELLE                       MCNEIL, DENISE
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MCNEIL, GENE                         MCNEIL, JASPYN                         MCNEIL, JESSICA
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MCNEIL, KIMBERLY                     MCNEIL, KRISTIN                        MCNEIL, LARA
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MCNEIL, MICHAEL                      MCNEIL, MICHAEL                        MCNEIL, OMARI
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MCNEIL, ROB                          MCNEIL, RYAN                           MCNEIL, SABRINA
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MCNEIL, SIARA                        MCNEIL, STEPHEN                        MCNEIL, TRACY
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MCNEIL, TYLER                        MCNEILL, CHARLES                       MCNEILL, EDWARD
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MCNEILL, HALEY                       MCNEILL, JAMES                         MCNEILL, JENNA
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MCNEILL, JENNA-LYNN                  MCNEILL, KELSEY                        MCNEILL, MADISON
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MCNEILL, MATTHEW      Case 22-11238-LSS     Doc
                                     MCNEILL,    2 Filed 11/30/22
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                                                                           MCNEILL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MCNEILL, MELISSA                     MCNEILL, MEREDITH                      MCNEILL, NEEL
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MCNEILL, QUINN                       MCNEILL, RIKA                          MCNEILL, RYAN
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MCNEILL, SHANNON                     MCNEILL, TAYLOR                        MCNEILLY, GRIFFIN
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MCNELIS, LISA                        MCNERNEY, ANGIE                        MCNERNEY, CARISSA
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MCNERNEY, CONNIE & MIKE              MCNERNEY, KAMI                         MCNERNEY, KATHRYN
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MCNETT, MATT                         MCNEUR, JOHN                           MCNICHOL, KELSEY
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MCNICHOL, MARY                       MCNICHOLAS, BARBARA                    MCNICHOLAS, JESSICA
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MCNICHOLAS, KYLEEN                   MCNICHOLAS, MOLLY                      MCNITT, SUZANNE
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MCNORVELL, PAIGE                     MCNULTY, AMY                           MCNULTY, CHRISTINE
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MCNULTY, DIANA        Case 22-11238-LSS    Doc
                                     MCNULTY,    2 Filed 11/30/22
                                              JACQUELINE                Page 3273 of 5495
                                                                             MCNULTY, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MCNULTY, NANCY                       MCNULTY, NICOLE                          MCNULTY, PAT
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MCNULTY-D’AMELIO, KATHLEEN           MCNUTT, AMANDA                           MCNUTT, BRONWYN
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MCNUTT, JEREMY                       MCORMICK & SCHMICKS                      MCOWEN, MIRANDA
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MCPARLAND, AMANDA                    MCPARLAND, NATALIE                       MCPARTLAND, FALON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MCPARTLAND, JACLYN                   MCPARTLAND, MEGAN                        MCPARTLIN, KEVIN
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MCPARTLIN, KEVIN                     MCPEAK, ALEXANDRA                        MCPEAK, DANA
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MCPEEK, CASEY                        MCPEEK, DOMONIQUE                        MCPEEK, JULIE
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MCPHAIL, CLINT                       MCPHAIL, GUY                             MCPHAIL, SIMONE
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MCPHAIL, TONI                        MCPHEE, GRAYSON                          MCPHEE, MERCEDES
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MCPHEE, ROCHELLE      Case 22-11238-LSS
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                                             SHARON                   Page 3274 of 5495
                                                                           MCPHEETERS, DEVYN
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MCPHERON, TRACY                      MCPHERSON, ALEXANDER                  MCPHERSON, ALICIA
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MCPHERSON, ANNIE                     MCPHERSON, BOBBI                      MCPHERSON, BRIDGET
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MCPHERSON, CHRISTINE                 MCPHERSON, CRYSTAL                    MCPHERSON, DANIELLE
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MCPHERSON, DEBORAH                   MCPHERSON, DONDA                      MCPHERSON, IAN
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MCPHERSON, JENNIFER                  MCPHERSON, KARA                       MCPHERSON, KATIE
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MCPHERSON, KELLY                     MCPHERSON, KEVIN                      MCPHERSON, KRISTA
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MCPHERSON, LAUREL BETH               MCPHERSON, MICHELLE                   MCPHERSON, NORMA
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MCPHERSON, RANORJAH                  MCPHERSON, ROSE                       MCPHERSON, SHANNON
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MCPHERSON, SHANNON                   MCPHERSON, STEPHANIE                  MCPHERSON, STEPHANIE
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MCPHILLIAMY, SHANNON Case 22-11238-LSS     DocJENNIFER
                                    MCPHILLIPS, 2 Filed 11/30/22      Page 3275 ofNATHALIE
                                                                           MCPHUN, 5495
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MCPOLAND, SUE                        MCQUADE, DENISE                       MCQUADE, GREG
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MCQUADE, JENNA                       MCQUADE, JESSICA                      MCQUADE, RACHEL
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MCQUAID, JAMIE                       MCQUAIDE, JORDYN                      MCQUEARY, RICHARD
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MCQUEEN, AMBER                       MCQUEEN, BRANDY                       MCQUEEN, CASIE
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MCQUEEN, KATIE                       MCQUEEN, MEGAN                        MCQUEEN, MEGAN
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MCQUEEN, NINA                        MCQUEEN, RACHEL                       MCQUEEN, SHANNON
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MCQUEENEY, CASEY                     MCQUEENEY, KATIE                      MCQUERRY, JESSICA
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MCQUIGG, ALLISON                     MCQUIGG, HARLEY                       MCQUIGGAN, LINDA
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MCQUILLAN, CHARMAINE                 MCQUILLAN, KATELYN                    MCQUILLAN, REBECCA
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MCQUILLEN, PATRICK    Case 22-11238-LSS    DocRYLYNN
                                     MCQUILLEN, 2 Filed 11/30/22      Page 3276  of 5495
                                                                           MCQUILLIN, KAITLYN
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MCQUILLIN, KAYLIE                    MCQUINN, BRIDGET                       MCQUINN, MARY
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MCQUISTON-LANE, CHLOE                MCQUITTY, BECKETT                      MCRAE, BETH
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MCRAE, JOANNE                        MCRAE, LAYAL                           MCRAE, LYNDSEY
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MCRAE, MARGARET                      MCRAE, MARGARET                        MCRAE, SHAWN
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MCRAE, SHERI                         MCRAE, SIERRA                          MCRAE, SUE
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MCRAITH, JOSEPH                      MCRAITH, STEPH                         MCRAVIN, PATRICE
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MCREA, LYNN                          MCREE, ERIN                            MCREYNOLDS, BRAD
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MCREYNOLDS, BROOKE                   MCREYNOLDS, DEANNA                     MCREYNOLDS, MAGGIE
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MCREYNOLDS, MOLLY                    MCROBERT, GRAHAM                       MCROBERTS, DAYNA
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MCROSKEY, RACHEL      Case 22-11238-LSS    Doc
                                     MCSALLY,    2 Filed 11/30/22
                                              SHANE                   Page 3277 of 5495
                                                                           MCSHANE, CONNOR
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MCSHANE, DONNA                       MCSHANE, KARINE                       MCSHANE, MARISSA
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MCSHANE, MELANIE                     MCSHANE, MICHELA                      MCSHEEHY, SEAN
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MCSHERRY, JAMES                      MCSHERRY, S                           MCSORLEY, SARAH
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MCSORLEY, SUSAN                      MCSWAIN, KELLEY                       MCSWAIN, MARISA
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MCSWEENEY, JOE                       MCSWEENEY, KAREN                      MCSWEENEY, SHANNON
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MCSWYNE, SARAH                       MCTAGGART, COREY                      MCTAGUE, JENNIFER
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MCTAGUE, KARA                        MCTAGUE, TAYLOR                       MCTAVISH, TAMARA
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MCTEAGUE, BRITTANY                   MCTEAGUE, BRITTANY                    MCTEAR, RORY
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MCTIGHE, MARIA                       MCTIGHE, MAURA                        MCTIGHE, MICHELE
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MCTIGUE, CRYSTALYN    Case 22-11238-LSS
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                                                                           MCTORRY, KIMBERLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MCVAY, CHRIS                         MCVAY, HEATHER                        MCVAY, JAMIE
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MCVAY, MANDY                         MCVAY, SEAN                           MCVEAGH, HUGH
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MCVEARRY, EMMA                       MCVEIGH, JENNY                        MCVERRY, MICHAEL
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MCVETY, ROB                          MCVEY, AMANDA                         MCVEY, JANA
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MCVEY, VALENTIA                      MCVICAR, KRISTIN                      MCVICKER, AMANDA
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MCVICKER, BRANDY                     MCVICKER, KRISTIE                     MCVICKER, MEGHAN
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MCVITIE, DIANNE                      MCWADE, JESSICA                       MCWAIN, LESLIE
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MCWALTERS, ROBIN                     MCWEENEY, MIRANDA                     MCWHERTER, JAN
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MCWHINNIE, JANET                     MCWHIRTER, KAMIKI                     MCWHORTER, JUSTINE
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MCWHORTER, KATHERINE Case 22-11238-LSS    Doc 2MEGAN
                                    MCWHORTER,      Filed 11/30/22        Page 3279 of 5495
                                                                               MCWHORTER, MELASSA
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MCWHORTER, SHANDA                       MCWILLIAMS, ANNA                       MCWILLIAMS, ASHLEY
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MCWILLIAMS, CARRIE                      MCWILLIAMS, JACQUELINE                 MCWILLIAMS, JODI
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MCWILLIAMS, JOHN                        MCWILLIAMS, KAMI                       MCWILLIAMS, LYDA
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MCWILLIAMS, NATHAN                      MCWILSON, CASSANDRA                    MCZEAL, MADELYN
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MD COMPTROLLER                          MD –WORCESTER COUNTY LIQUOR            MDR DOUBLETREE
60 WEST STREET SUITE 102                CONTROL BOARD                          ADDRESS UNAVAILABLE AT TIME OF FILING
ANNAPOLIS, VA 21401                     WORCESTER COUNTY GOVERNMENT
                                        1 WEST MARKET STREET
                                        SNOW HILL, MD 21863



ME BUREAU OF ALC BEVERAGES AND          ME DIVISION OF LIQUOR LICENSING        ME REVENUE SERVICES
LOTTERY OP                              8 STATE HOUSE STATION                  51 COMMERCE DR
8 STATE HOUSE STATION                   AUGUSTA, ME 04333                      AUGUSTA, ME 04330
AUGUSTA, ME 04333




ME SO HUNGRY                            ME, LUVASIA                            MEACHAM, JONATHAN
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MEACHAM, KEN                            MEACHAM, RACHEL                        MEAD, ANNA
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MEAD, AUSTIN                            MEAD, BRETT                            MEAD, ERIC
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MEAD, HANLEY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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MEAD, LARESSA                        MEAD, MICHAEL                         MEAD, N
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MEAD, TOMMIE                         MEADE, CHRISTIE                       MEADE, KAHOKU
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MEADE, MARY BETH                     MEADE, NANETTE                        MEADER, KRISTA
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MEADERS, KATHLEEN                    MEADOR, ALISHA                        MEADOR, ANDREW
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MEADOR, CATHERINE                    MEADOR, DEE                           MEADOR, JASON
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MEADOR, KAREN                        MEADOR, KATHLEEN                      MEADOR, KIRBY
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MEADOR, LORI                         MEADOWCROFT, ELENA                    MEADOWS, ANNE
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MEADOWS, AVIA                        MEADOWS, BERNARD                      MEADOWS, BRIDGET
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MEADOWS, CASEY                       MEADOWS, CASSIE                       MEADOWS, CHRIS
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MEADOWS, JAZMIN       Case 22-11238-LSS    Doc
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                                                                           MEADOWS, KENNETH
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MEADOWS, LAURA                       MEADOWS, LINDSAY                      MEADOWS, MEGAN
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MEADOWS, NATALIE                     MEADOWS, RACHEL                       MEADOWS, ROBERT
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MEADOWS, ROBIN                       MEADOWS, SAMANTHA                     MEADOWS, TRISTAN
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MEAGAN DIANE MOBLEY                  MEAGAN MASSEY                         MEAGAN PATTERSON
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MEAGHAN MITCHELL                     MEAGHAN PAULHAMUS                     MEAGHER, BEVERLY
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MEAGHER, JENNIFER                    MEAGHER, JULIANNE                     MEAGHER, SARA
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MEAGHER, THOMAS                      MEAGHER, WILLIAM                      MEAGHER, WILLIAM
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MEAHAN, MELISSA                      MEAKER, TINA                          MEAKIM, PAMELA
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MEALEY, GAVIN                        MEALIA, JENNY                         MEALIO, RICHARD
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MEALO, DAVID          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           MEANEY, 5495
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MEANEY, MIKE                         MEANS, ALEXANDRA                      MEANS, BROCK
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MEANS, DONNA W.                      MEANS, JORDAN                         MEANS, LESLIE
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MEANS, PAM                           MEANS, RONALD                         MEANS, SHAKIA
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MEANY, JOHN                          MEANY, PATRICK                        MEARCE, TYLER
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MEARES, KIMBE                        MEARKLE, SAMANTHA                     MEARS, AMANDA
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MEARS, CAMERON                       MEARS, SAMANTHA                       MEARS, SAMUEL
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MEARS, STEPHANIE                     MEAS, DAM                             MEATTO, STEPHANIE
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MEAUX, ALLISON                       MEAUX, KRISTIN                        MEAUX, MILLIEJ
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MEBANE-GREENE, ALISA                 MEBUS, LEANNE                         MECCA, OLIVIA
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MECCA, ROBERT         Case 22-11238-LSS
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                                                                           MECH, GARY
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MECH, SARYVOUDH                      MECHAM, HEIDI                         MECHE, AMANDA
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MECHLING, MICHAEL                    MECHNER, LARRY                        MECHTENBERG, JOE
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MECKENSTOCK, KELLIE                  MECKENZIE, YVETTE                     MECKES, SARAH
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MECKLAI, MARY                        MECKLER, KATE                         MECKLEY, ALLISON
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MECKLEY, MEGAN                       MECSEY, ALANNA                        MEDAK, CHRISTA
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MEDARD, JOHANA C                     MEDBERY, BRIDGET                      MEDCALF, SEAN
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MEDDAUGH, JAY                        MEDEARIS, TESSA                       MEDEIROS, COREY
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MEDEIROS, ELLEN                      MEDEIROS, EMILY                       MEDEIROS, JORDAN
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MEDEIROS, KIM                        MEDEIROS, KRISTEN                     MEDEIROS, MARIE
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MEDELLIN, DANIELA                    MEDERE, BAILEY                         MEDERO, ALEXIA
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MEDERO, EDDIE                        MEDEROS, VICTORIA                      MEDES, HELEN
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MEDGHALCHI, JESSICA                  MEDIA DESIGN GROUP                     MEDIA MOBILIZE, INC.
ADDRESS AVAILABLE UPON REQUEST       12300 WILSHIRE BLVD., SUITE 200        300 3RD STREET, SUITE 919
                                     LOS ANGELES, CA 90025                  SAN FRANCISCO, CA 94107




MEDIA RESOURCE GROUP, LLC            MEDIANA, MARK                          MEDIANT COMMUNICATIONS, INC.
2 DEPOT PLAZA SUITE 401              ADDRESS AVAILABLE UPON REQUEST         400 REGENCY FOREST DR SUITE 200
BEDFORD HILLS, NY 10507                                                     CARY, NC 27518




MEDIASILO, INC.                      MEDIC, ROBERT                          MEDICA, ELISE
5340 ALLA RD. SUITE 109              ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90066




MEDIGOVICH HEINISH, JOANN            MEDINA, ADILENE                        MEDINA, ALEX
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MEDINA, ALEXANDRA                    MEDINA, ALISSIA                        MEDINA, ALYSSE
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MEDINA, AMY                          MEDINA, ANDOLYN                        MEDINA, ANDREA
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MEDINA, ANGELA                       MEDINA, CAITLIN                        MEDINA, CARLOS
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MEDINA, CAROLINA      Case 22-11238-LSS
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MEDINA, CELESTE                      MEDINA, CELESTE                       MEDINA, CHARLENE
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MEDINA, CONNIE                       MEDINA, CRISTINA                      MEDINA, DAISY
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MEDINA, DANIELLE                     MEDINA, DEZIREE                       MEDINA, DOMINIQUE
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MEDINA, FER                          MEDINA, JASMILDA                      MEDINA, JUDETH
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MEDINA, KARLA                        MEDINA, KATHY                         MEDINA, LUIS
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MEDINA, LUZ                          MEDINA, MARCO                         MEDINA, MARISSA
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MEDINA, MARYJO                       MEDINA, MEGAN                         MEDINA, MONICA
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MEDINA, NICOLETTE                    MEDINA, PAULINA                       MEDINA, PAULINE
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MEDINA, RADAMES                      MEDINA, ROBERTA                       MEDINA, SAMANTHA
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MEDINA, SARAH         Case 22-11238-LSS
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MEDINA, THAINAWAN                    MEDINA, TIFFANY                       MEDINA, VALERIE
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MEDINA, VANESSA                      MEDINA, YELIZAVETA                    MEDINA-BENNINGFIELD, JESSICA
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MEDINAMCKINNON, LARIETH              MEDING, KATIE                         MEDINGER, LAUREN
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MEDIONI, CATHERINE                   MEDIOUNI, NATALIE                     MEDKEFF, CAROL
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MEDLEN, MICHELE                      MEDLENKA, RISSA                       MEDLEY, CHANNISE
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MEDLEY, CHARLY ANN                   MEDLEY, MINDY                         MEDLEY, TRAMAINE
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MEDLIN, CAMERON                      MEDLIN, SHELBY                        MEDLOCK, BRIAN
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MEDLOCK, HEATHER                     MEDLOCK, JENNIFER                     MEDLOCK, KACI
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MEDLOCK, MIKAYLA                     MEDLOCK, ZANE                         MEDNANSKY, JAMIE
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MEDNIK, LEO           Case 22-11238-LSS    Doc
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MEDORO, JANE                         MEDRANO JESSICA                       MEDRANO, ANNETTE
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MEDRANO, ERIC                        MEDRANO, KENY                         MEDRANO, OSCAR
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MEDRAO, ESTEBAN                      MEDULLA, JESSICA                      MEDVE, SCOTT
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MEDVED, IRA                          MEDVED, KIM                           MEDVED, MICHAEL
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MEDWAY, ALISHA                       MEDWID, JUDY                          MEDWID, KELLY
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MEDWIN, JESSICA                      MEDWINES, S. L.                       MEE, ERIN
ADDRESS AVAILABLE UPON REQUEST       PLAZA CASTELLINI Nº 9, 1º IZQ.        ADDRESS AVAILABLE UPON REQUEST
                                     CARTAGENA (MURCIA) 30201
                                     SPAIN




MEECHAI-KUSUMPA, DIANE               MEEDER, ASHLEY                        MEEDER, KELLY
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MEEGAN, JENNIFER                     MEEHAN, ALLISON                       MEEHAN, AMY
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MEEHAN, AMY                          MEEHAN, ANNA                          MEEHAN, CAROLINE
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MEEHAN, CHRISTINE     Case 22-11238-LSS    Doc
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MEEHAN, HELEN                        MEEHAN, JESSICA                       MEEHAN, JULIE
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MEEHAN, KAITLYN                      MEEHAN, KRISSY                        MEEHAN, LARA
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MEEHAN, MORGAN                       MEEHAN, RAMONA                        MEEHAN, ROSE
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MEEHAN, TRACY                        MEEHL, CLAIRE                         MEEK, CODY
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MEEK, KATHLEEN                       MEEK, MARY                            MEEK, MEAGAN
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MEEK, RACHEL                         MEEK, VICKI                           MEEKER, ELLEN
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MEEKER, JOEL                         MEEKER, STEPHEN                       MEEKER, STEVE AND CARLY
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MEEKER, TIA                          MEEKER, WALTER                        MEEKS, BILL
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MEEKS, BRANDY                        MEEKS, BRITTANY                       MEEKS, KATHARINE
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MEEKS, LAURA          Case 22-11238-LSS
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MEEKS, MICHELLE                      MEEKS, TOM                            MEENAN, DANIEL
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MEENAN, KRISTI                       MEENU SOOD                            MEERSMAN, JILL
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MEES, CRISTINA                       MEESE, JODY                           MEESTER, CHRISTINA
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MEESTER, HANNAH                      MEETEER, FRANK                        MEG SABATALO
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MEG WHITE                            MEGAN BECKER                          MEGAN DART
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MEGAN DOUGLASS                       MEGAN E LEWIN                         MEGAN F WACHTER
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MEGAN FAIR                           MEGAN FAY MALONEY                     MEGAN GALANDO
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MEGAN GRABOWSKI                      MEGAN HOWARD                          MEGAN HUBBERT
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MEGAN KEHOE                          MEGAN KEW                             MEGAN KOREN
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MEGAN MCGINNIS, MEGAN                MEGAN N HOGGE                         MEGAN SCHNEIDER
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MEGAN SHORTRIDGE                     MEGAN STAPLES                         MEGAN SUAREZ, MEGAN
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MEGAN WANG                           MEGAN WELKER                          MEGAN, VERDEJA,
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MEGANTARA, NOVA                      MEGAW, LOUISA                         MEGGAN JOHNSON
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MEGGAN MCCANN                        MEGGIOLARO, MELISSA                   MEGGS, JORDAN
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MEGGS, MICHAEL                       MEGHAN CALLAHAN                       MEGHAN DOOLEY
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MEGHAN KASANDERS                     MEGHAN NOE                            MEGHAN YOUNG
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MEGHAN                               MEGHAN                                MEGHANI, NAVEED
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MEGHELES, OVIDIU                     MEGIBOW, SARA                         MEGILL, GIAVANNA
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MEHALCO, KELLY                       MEHAN, WILLIAM                        MEHARENA, PHEBEN
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MEHDAOUI, SOUKI                      MEHENDALE, PRIYA                      MEHIGAN, KARA
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MEHIGAN, TAMMY                       MEHL, ESTHER                          MEHL, GLYNDA
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MEHL, LAURA                          MEHL, REBECCA                         MEHLENBECK, CARL
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MEHLHOFF, KALI                       MEHLMAN, ANDREA                       MEHMEDOVIC, NAOMI
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MEHMEN, JASON                        MEHO, AMINA                           MEHOK, KRISTY
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MEHR, AUSTIN                         MEHR, EYDIE                           MEHR, LOGAN
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MEHRA, RAHUL                         MEHRAN MEHRESPAND                     MEHRAZARIN, KIAN
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MEHRBIANS, RAPHAEL                   MEHRDAD NADEM                         MEHRING, NICOLE
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MEHTA, ANAND                         MEHTA, ANKITA                         MEHTA, ASHISH
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MEHTA, CHANDNI                       MEHTA, LESLIE                         MEHTA, MANASVI
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MEHTA, MILAP                         MEHTA, RAJ                            MEHTA, RAJ
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MEHTA, SHANELLE                      MEHTA, SUBHASH                        MEHUS, SIRI
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MEI ZHANG                            MEIBO GUO                             MEICHSNER, ELIZABETH
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MEICKE, NICOLE                       MEIDE, KENZIE                         MEIDELL, ANDREA
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MEIDELL, COLIN                       MEIDINGER, NANCY                      MEIDL, LAURIE
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MEIDLINGER, HOLLY                    MEIER, ABBEY                          MEIER, BRIAN
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MEIER, CLAUDIO                       MEIER, ELIZABETH                      MEIER, EMILY
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MEIER, ERIC           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     MEIER, JENE                      Page 3293
                                                                           MEIER, of 5495
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MEIER, JOSEPH                        MEIER, KELLY                          MEIER, MAEVE
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MEIER, RONALD                        MEIER, SARA (NAN)                     MEIER, SARAH
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MEIEROTTO, JESSICA                   MEIGHAN, LINDSEY                      MEIGHAN, MADELINE
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MEIGHEN, CHRISTINA                   MEIGS, KATHERINE                      MEIGS, KELLI
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MEIHLS, COURTNEY                     MEIKLE, TIM                           MEIL, SARAH
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MEILAN, JENNIFER                     MEILAN, JENNIFER                      MEILAN, SHAUNA
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MEILAN, ZACHARY                      MEILE, NICOLE                         MEILMAN, DONNA
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MEILSTRUP, KRISTY                    MEIN, NADINE                          MEINCKE, JOSEPHINE
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MEINEKE, JOHN                        MEINEL, MELISSA                       MEINEN, KARI
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MEINERT, MADELINE                    MEINHARDT, JERRY                      MEINHART-FRITZ, CHRISTINE
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MEINHOLD, VERA & SKIP                MEINHOLD, WESLEY                      MEINHOLZ, LYNAE
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MEININGER, AMANDA                    MEININGER, MADDIE                     MEINKING, ASHLEY
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MEINKING, SYDNEY                     MEIQING FAN                           MEIRICK, EMILY
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MEIRICK, WESLEY                      MEIS, AMBER                           MEIS, DOUG
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MEIS, LYNNETTE                       MEISEL, DONNA                         MEISEL, PENNY
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MEISELS, PATRICIA                    MEISENBERG, PAUL                      MEISINGER, ANN
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MEISINGER, DJ                        MEISINGER, JESSICA                    MEISNER, BRANDI
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MEISNER, HUNTER                      MEISNER, JOHNNIE                      MEISS, MIRANDA
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MEISSGEIER, KELLY                    MEISSNER, LAUREN                       MEISSNER, MERLYN
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MEISTER, DARLA                       MEISTER, EVAN                          MEISTER, JODI
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MEISTER, KRISTIN                     MEISTERLING, MARISSA                   MEJIA TERRY, JESSY
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MEJIA, ALI                           MEJIA, ALVARO                          MEJIA, ANNELYS
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MEJIA, BRENDA                        MEJIA, CARMEN                          MEJIA, CASSANDRA
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MEJIA, CELESTE                       MEJIA, CHLOE                           MEJIA, CYNTHIA
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MEJIA, DANNY                         MEJIA, DARLENE                         MEJIA, GWENDOLYN
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MEJIA, JUAN                          MEJIA, JULIE                           MEJIA, LESLYE
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MEJIA, LISANDRA                      MEJIA, MARIO                           MEJIA, MARIO
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MEJIA, MINDY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     MEJIA, NICOLE                    Page 3296   of 5495
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MEJIA, TATIANA                       MEJIA, WILLIAM                        MEJIA, YASMIN
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MEJIA, YVETTE                        MEJIAS, JAMY                          MEJICANO, GEORGE
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MEJORADO, ESTEVAN                    MEKDUSADEEROM, PLOY                   MEKEMSON, CATHERINE
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MEKHICHE, MIKE                       MEKKAWY, DEREK                        MEKRAS, JIMENA
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MEL LAGOS                            MEL ROSE TALENT                       MEL STEWART
ADDRESS AVAILABLE UPON REQUEST       1559 MERRY AVENUE                     ADDRESS AVAILABLE UPON REQUEST
                                     BRONX, NY 10461




MELAMED, NATALIA                     MELANDER, DEB                         MELANDER, KYRSTEN
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MELANIE AGUILAR                      MELANIE ANNE PRIOR                    MELANIE BALKE
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MELANIE BAY                          MELANIE L KUSMIK                      MELANIE LEWIS-YRIBAR
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MELANIE LOGAN                        MELANIE MCMENAMIN                     MELANIE MORANSKI
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MELANIE SAMUELS                      MELANIE WILLIAMS                       MELANIE, MRS
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MELANSON, ASHLEY                     MELANSON, DEVIN                        MELANSON, HANNAH
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MELARAGNI, KRISTEN                   MELBO, DAVE                            MELCAREK, LISETTE
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MELCHIONDA, LAUREN                   MELCHIOR, CAMERON                      MELCHIORRE, LISA
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MELCHIORRE, NAOMI                    MELCHOR, TANYA                         MELDE, MR AND MRS
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MELDE, NICOLE                        MELDER, COURTNEY                       MELDON, JEFFREY
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MELDRUM, LILIANNA                    MELE, JEFFREY                          MELE, LR
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MELE, MELISSA                        MELE, REGI                             MELE, TAYLOR
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MELECIO, FRANKLIN                    MELE-LWA SCHNEIDER                     MELENDEZ, ALICIA
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MELENDEZ, AMARILIS    Case 22-11238-LSS    DocASHLEY
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MELENDEZ, ELISA                      MELENDEZ, ERIN                        MELENDEZ, JENNIFER
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MELENDEZ, JORGE                      MELENDEZ, KAT                         MELENDEZ, LUIS
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MELENDEZ, MATTHEW                    MELENDEZ, TATYANNA                    MELENDEZ, VIRGINIA
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MELENDEZ-TIRADO, STEPHANIE           MELENDY, KASEY                        MELENIE P HERNANDEZ
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MELERO, AMORETTE                     MELESKI, MOLLY                        MELETA, ANDREW
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MELFE, ALEXANDRA                     MELFE, JOE                            MELGAR, PAIGE
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MELGAR, SAMANTHA                     MELGAREJO, EDYINETH                   MELHORN, ERIKA
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MELHORN, MELISSA                     MELHORN, MITCHELL                     MELHUISH, KATHERINE
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MELHUS, MARGARET                     MELI, BRENDA                          MELI, MARYALICE
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MELIA, CHRISTA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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MELICK, AUDREY                       MELICK, SHANNON                        MELIDONI, KACI
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MELILLO, CHRISTIAN                   MELILLO, JENNY                         MELILLO, JULIA
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MELILLO, ROBERT                      MELILLO, RYAN                          MELILLO, TARA
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MELIM, LAUREN                        MELINA ALEJANDRA MIRAMONTES            MELINAND, BENJAMIN
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MELINDA CAVALLINI                    MELINDA KAYE SINGH                     MELINDA LIGGETT
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MELINDA LOTTIG                       MELINDA, FORSA                         MELINDA, SHORTRIDGE,
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MELINE, JORDAN                       MELINO, EUGENE                         MELISSA ALFORD
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MELISSA ANNE STRONG                  MELISSA ARBES                          MELISSA BARRECA
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MELISSA BIZZOZERO                    MELISSA BLASER                         MELISSA CASE
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MELISSA GATLIN                      MELISSA GORGA                         MELISSA GREEN
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MELISSA HAGER                       MELISSA HARLAN                        MELISSA HARRIS-PEROTTI
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MELISSA HEWETT                      MELISSA HOSONO                        MELISSA HOUGH
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MELISSA JAMES                       MELISSA JOFFE                         MELISSA LISTON, MELISSA
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MELISSA LYNN DEAN                   MELISSA MARTINEZ                      MELISSA MATTHEWS
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MELISSA MOTLEY                      MELISSA PINKNEY                       MELISSA RESTREPO ROLDAN, LAURA
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MELISSA SCHROEDER SCHROEDER         MELISSA SHAMBERG                      MELISSA SITTERDING
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MELISSA WILLIAMS                    MELISSA YONGE-SMITH                   MELISSA ZAHNER
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MELISSA, MARY                       MELISSA, MISS                         MELISSA, ROOD,
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MELITI, JAN           Case 22-11238-LSS
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                                                                           MELKER, 5495
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MELKER, MORGAN                       MELKING, OSKAR                        MELKONIAN, MARKAR
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MELL, CHRISTINE                      MELLBERG, DAYNA                       MELLEIN, KRISTIN
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MELLEN ENOS, JESSICA                 MELLEN, ANNE                          MELLER, BROOKE
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MELLER, CHRISTOPHER                  MELLES, BETHIEL                       MELLEY, KELLY
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MELLI, GABRIELLE                     MELLIA, THERESA                       MELLIERE, MEAGAN
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MELLING, LUKE                        MELLINGEN, SHERRI                     MELLINGER, ALLISON
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MELLINGER, ASHLEY                    MELLINGER, BARBARA                    MELLINGER, BROCK
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MELLINGER, CARRIE                    MELLINGER, KRISTEN                    MELLINO, VICTORIA
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MELLMAN, CARLA                       MELLMAN-CARSEY, ZACH                  MELLO, ALINNE
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MELLO, AVA            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MELLO, JASON                     Page 3302
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MELLO, KYLE                          MELLO, ZACHARIAH                      MELLOCH, RACHELLE
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MELLON, HENRY                        MELLON, LINDA                         MELLON, MARIAH
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MELLON, MAUREEN                      MELLOR, ALYSSA                        MELLOR, JO-ANN
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MELLOR, MARK                         MELLOTT, HOLLY                        MELLOTT, JEAN
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MELLOW, LAURI                        MELLQUIST, ANNIKA                     MELLROTH, CARISSA
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MELLSTEAD, DIANA                     MELLUSI, RALPH                        MELMED, ANDREW
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MELNICK, KAREN                       MELNICK, MARINA                       MELNICZAK, JESSICA
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MELNIK, MICHELLE                     MELNIKOV, SVETLANA                    MELNYK, GWENDOLYN
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MELNYK, MANDY                        MELO, ASHLY                           MELO, CORALIA
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MELO, EVELIO          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MELO, FRANCISCO                  Page 3303  of 5495
                                                                           MELO, KELLI
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MELO, VERIENE                        MELO, WILSON                          MELOCHE, BRENDA
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MELODEE KELLY                        MELODIE PISCIOTTI                     MELODIE WALKER
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MELODY BROWN                         MELONE, CHRISTINE                     MELONI, LOUIS
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MELONSON, ASHLEY                     MELORO, SUSIE                         MELOSCIA, JESSICA
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MELOTT, GIL                          MELOY, CAITLIN                        MELOY, MIKE
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MELPOLDER, BRAD                      MELROSE, ELLEN                        MELSER, AMY
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MELSKI, SUSAN                        MELSON, COURTNEY                      MELSON, FRANCES
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MELSON, GRACE                        MELSON, SARA                          MELSON, ZACH
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MELTON, AMANDA                       MELTON, AMANDA                        MELTON, BRIAN
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                                     MELTON,Doc  2 Filed 11/30/22
                                             CHELSEA                  Page 3304 ofCHRISTOPHER
                                                                           MELTON, 5495
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MELTON, DAN                          MELTON, DON                           MELTON, EMILY
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MELTON, JESSICA                      MELTON, JOHN                          MELTON, KATHRYN
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MELTON, LEXI                         MELTON, MARY                          MELTON, MICHAELA
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MELTON, NAOMI                        MELTON, RACHEL                        MELTON, RAELEE
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MELTON, SHANNON                      MELTON, WHITNEY                       MELTSER, LUDMILLA
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MELTSOVA, YULIA                      MELTZER, AMANDA                       MELTZER, ANDREA
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MELTZER, DAVID                       MELTZER, ELIZABETH                    MELTZER, THERESA
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MELVILLE, BRITTANY                   MELVILLE, JENNI                       MELVILLE, MARY ANN
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MELVIN TAN                           MELVIN, CAITLIN                       MELVIN, ELIZABETH
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MELVIN, VERAN R.                        MEMARY, AIDA                           MEMBRERE, ALEXA
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MEMENTOSTRIP INC.                       MEMHARD, ALI                           MEMINGER, BRANDY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MEMMEN, SARA                            MEMMOTT, LARA                          MEMON, HAFIZA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MEMON, TABEER                           MENA, ANDREW                           MENA, ARLENE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENA, AUTUMN SKYLAR                     MENA, EDGAR                            MENA, JAMILAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENA, JO ANN                            MENA, JOSE                             MENA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENA, MILY                              MENA09, JENNY                          MENAGH, BRIANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENAGH, RILEY                           MENAKER, DARREN                        MENA-LANDRY, MATT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENALDI, SONNI                          MENARD, CINDY                          MENARD, DIANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MENARD, JEANNE        Case 22-11238-LSS    Doc
                                     MENARD,     2 Filed 11/30/22
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                                                                           MENARD, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENARD, LORI                         MENARD, MAXWELL                       MENARD, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENARD, SHANNON                      MENAS, LYES                           MENASCE, RUSLANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENCH, MATTHEW                       MENCHACA, AARON                       MENCHACA, CAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENCHACA, COYA                       MENCHACA, JAMIE                       MENCIA, SINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENCKE, CHARLOTTE                    MEND TECH, INC.                       MENDE, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       4505 GLENCOE AVE                      ADDRESS AVAILABLE UPON REQUEST
                                     MARINA DEL REY, CA 90292




MENDEL, GABRIELA                     MENDEL, MILA                          MENDELSOHN, JESSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDELSOHN, MICHELINE                MENDELSOHN, NATASHA                   MENDELSON, DEBORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDELSON, DYLAN                     MENDELSON, LEAH                       MENDENHALL, ALISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDENHALL, DEBORAH                  MENDENHALL, JESSICA                   MENDENHALL, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MENDES, ALDINO        Case 22-11238-LSS    Doc
                                     MENDES,     2 Filed 11/30/22
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                                                                           MENDES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDES, ERICA                        MENDES, LINDA                         MENDES, MYKEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDES, NICHOLAS                     MENDES, RICA                          MENDEZ BARALT, MARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDEZ, ABBY                         MENDEZ, AKINYELE                      MENDEZ, BEATRIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDEZ, CHRISTA                      MENDEZ, CLEMENTE                      MENDEZ, EDITH
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MENDEZ, ELIUD                        MENDEZ, GARY                          MENDEZ, ISABELLA
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MENDEZ, IVESHKA                      MENDEZ, JALISSA                       MENDEZ, JESSICA
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MENDEZ, JORDAN                       MENDEZ, LUCY                          MENDEZ, LUZ
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MENDEZ, MARISSA                      MENDEZ, MAXIMILIANA                   MENDEZ, MELISSA
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MENDEZ, MICHELLE                     MENDEZ, NITZYA                        MENDEZ, ROSEANN
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MENDEZ, ROSELYN       Case 22-11238-LSS
                                     MENDEZ,Doc  2 Filed 11/30/22
                                             STEPHANIE                Page 3308 ofVICTORIA
                                                                           MENDEZ, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDEZ, VILMA                        MENDEZ-AKOPIAN, KATIE                 MENDEZ-VALDEZ, ORLANDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDICINO, HEALEY                    MENDIETA, CHRISTINA                   MENDIETA, CRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDIETA, MARTHA M                   MENDIOLA, ATALA                       MENDIOLA, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDIVIL, ANA                        MENDIVIL, ANA                         MENDIZABAL, AMAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDIZABAL, JOSELINE                 MENDLEN, MADELYN                      MENDOCINO FARMS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




MENDOCINO WINE CO                    MENDOCINO WINE CO                     MENDOLA, BARBARA
501 PARDUCCI RD                      501 PARDUCCI RD                       ADDRESS AVAILABLE UPON REQUEST
JEFF MASON, PRESIDENT                UKIAH, CA 95482
UKIAH, CA 95482




MENDOLA, TRACY                       MENDONCA SANTOS, ERICK RICARDO        MENDONCA, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDONCA, KALLEE                     MENDONCA, LUCIANA                     MENDONCA, NEIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDONSA, REBECCA                    MENDOZA MIKLOS, HADLEY                MENDOZA SANCHEZ, RODRIGO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MENDOZA, AARON        Case 22-11238-LSS    Doc
                                     MENDOZA,   2 Filed 11/30/22
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                                                                           MENDOZA, ALFREDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, ALLISON                     MENDOZA, AMY                          MENDOZA, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, ANNETTE                     MENDOZA, ART                          MENDOZA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, BARBARA                     MENDOZA, BRANDON                      MENDOZA, CANDACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, CARLOS ERNESTO              MENDOZA, CLAUDIA                      MENDOZA, CRISTOBAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, DENESE                      MENDOZA, DIANA                        MENDOZA, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, ERICA                       MENDOZA, GERARDO                      MENDOZA, GILLIANNA
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MENDOZA, GLADYS                      MENDOZA, IVONNE-MARIE                 MENDOZA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, JORGE                       MENDOZA, KAITLYN                      MENDOZA, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, KIMBERLY                    MENDOZA, KRIS                         MENDOZA, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MENDOZA, MEI LIN      Case 22-11238-LSS    Doc
                                     MENDOZA,   2 Filed 11/30/22
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                                                                           MENDOZA, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, OLIVIA                      MENDOZA, PEDRO                        MENDOZA, ROGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, RYAN                        MENDOZA, SANTIAGO                     MENDOZA, SOFIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, STEPHANIE                   MENDOZA, SUSAN                        MENDOZA, VANESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDOZA, YESCENIA                    MENDRYSA, FNPC, JENNIFER              MENDS, ABIGEAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENDS, ANTHONY                       MENDUKE, BRYAN                        MENDUM, ANNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENEAR, NANCY                        MENEESE, LEILANI                      MENEFEE, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENEFEE, MAYA                        MENEFEE, TANYA                        MENEGAZZI, NADIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENEGHETTI, ERIKA                    MENEGHIN, ELIZABETH                   MENEGHIN, JESSAMYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENELEY, TAYLOR                      MENENDEZ BARREIRO, LAUREN             MENENDEZ, ENRIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MENENDEZ, GEORGE      Case 22-11238-LSS    DocGINA
                                     MENENDEZ,  2 Filed 11/30/22      Page 3311 of 5495
                                                                           MENENDEZ, JADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENENDEZ, JANICE                     MENENDEZ, KELLI                       MENENDEZ, LARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENENDEZ, LUIS                       MENENDEZ, NANCY                       MENENDEZ, NOEMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENEREY, DEREK                       MENESALE, EMILY                       MENESES, ZABRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENEZES, DEBORAH                     MENEZES, FRANK                        MENEZES, KATHERINE
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MENFI, AUDRA                         MENG                                  MENG, KALEIGH
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MENGEBIER, LINDSAY                   MENGEL FLESCH, KATHLEEN               MENGEL, JANEEN
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MENGEL, JULIE                        MENGEL, LIBBY                         MENGEL, PAUL & ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENGEL, PAUL                         MENGELT, BETH                         MENGER, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENGES, ANNA                         MENGHANI, KIRTI                       MENGHINI, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MENGISTU, AMEN        Case 22-11238-LSS
                                     MENGLE,Doc  2 Filed 11/30/22
                                             ALLISON                  Page 3312 of 5495
                                                                           MENGLER, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENGLER, SARAH                       MENGOTE BALUCA, ANA                    MENIGHAN, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENIRU, IFEANYI                      MENIUS, JESSICA                        MENJIVAR, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENJIVAR, ERICA                      MENJIVAR, STEPHANY                     MENK, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENKE, GLENN                         MENKE, JAYCI                           MENKE, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENKER, HADLEY                       MENKES, STACEY                         MENKHUS, RACHEL
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MENKOVIC, AMINA                      MENN, CHELSEA                          MENNA, THERESA
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MENNE, KATHERINE                     MENNEG, PAUL                           MENNIE, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENNING, CONOR                       MENNONA, BAILEY                        MENON, ABHIJIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MENON, KAVYA                         MENON, MANOHAR                         MENON, NAUKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MENONA, LISA          Case 22-11238-LSS    Doc 2 Filed 11/30/22 Page 3313
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                                                                           MENSAH, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




MENSAH, EDWIN                        MENSAH, GEORGE                        MENSAH, ISAAC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENSAH, JOSEPHINE KORLEI             MENSAH, TANYA                         MENSCH, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENSCHNER, ASHLEY                    MENSHER, MARLY                        MENTA, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENTABERRY, MICHAEL                  MENTASTI SHANLEY, SASHA               MENTEL, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENTO, KATHLEEN                      MENTZ, RON                            MENTZELL, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENTZER, KENNY                       MENURA LABROOY                        MENZEL, BILLIE
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MENZEL, KATIYA                       MENZEL, SAMANTHA                      MENZELEEV, ARTUR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MENZELLA, DANIELLE                   MENZIES, WILLIAM                      MEO, CHANTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEO, COLLETTE                        MEO, PAOLO                            MEOLA, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MEOLA, JEFFREY        Case 22-11238-LSS
                                     MEOLA, Doc 2 Filed 11/30/22
                                            THOMAS                    Page 3314
                                                                           MEOLA,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEOLA-ABATE, TERRI                   MEOLI, RACHEL                         MEORE, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERA, LILLIAN                        MERA, RONNIE                          MERANDA, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERAZ, YULIANA                       MERCADANTE, AUDREY                    MERCADO SU MESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




MERCADO, ABBY                        MERCADO, BRANDI                       MERCADO, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERCADO, DOLORES                     MERCADO, DOUG                         MERCADO, EDGAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERCADO, ELIZABETH                   MERCADO, ERICK                        MERCADO, FRANCES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERCADO, JEFFREY                     MERCADO, JOSE A                       MERCADO, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERCADO, MARA                        MERCADO, MEGAN                        MERCADO, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERCADO, MIOSOTIS                    MERCADO, MONIQUE                      MERCADO, RICARDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MERCADO, RONALD       Case 22-11238-LSS    Doc
                                     MERCADO,   2 Filed 11/30/22
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                                                                             MERCADO, TEMALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MERCALDE, PAULA AND BILL             MERCANTI, MICHAEL                       MERCED, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MERCED, RICARDO                      MERCEDE, NICOLE                         MERCEDES BROADUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MERCEDES, ANGELINA                   MERCER KITCHEN                          MERCER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   1166 AVENUE OF THE AMERICAS
                                                                             NEW YORK, NY 10036




MERCER, AMBER                        MERCER, CHRISTA                         MERCER, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MERCER, ELIZABETH                    MERCER, EVE                             MERCER, GARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MERCER, JANET                        MERCER, JULIANA                         MERCER, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MERCER, MICHAEL                      MERCER, SARAH                           MERCER, SHELTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MERCER, SUSAN                        MERCER, TORI                            MERCER, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MERCER, VICKI                        MERCER, WALTERIA                        MERCHANT COST CONSULTING, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          21 BATCHELDER ST.
                                                                             BOSTON, MA 02119
MERCHANT E-SOLUTIONS Case 22-11238-LSS     Doc
                                    MERCHANT    2 Filed
                                              FINANCIAL   11/30/22
                                                        CORPORATION   Page 3316 of 5495
                                                                           MERCHANT, CHRISTINA
P.O BOX 13005                       1411 BROADWAY 22ND FLOOR                ADDRESS AVAILABLE UPON REQUEST
SPOKANE, WA 99213-3305              NEW YORK, NY 10018




MERCHANT, ELIJAH                     MERCHANT, ERIN                         MERCHANT, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERCHANT, PAULINE                    MERCHANT, REHMAT                       MERCHANT, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERCHANT-BLEIBERG, EKEM              MERCHANTS, NATASCHA                    MERCHLEWITZ, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERCIER, AIDANA                      MERCIER, EARL                          MERCIER, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERCIER, PAUL                        MERCIERI, KATIE                        MERCIK, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERCILLE, JENN                       MERCORA, JOSEPH                        MERCURIO PYE, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERCURIO, DAVID                      MERCURIO, JEAN                         MERCURIO, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERCURIO, KELLIE                     MERCURIO, LISA                         MERCURY, IAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERCY, TEVIN                         MERDES, CHRISTINE                      MERDINGER, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MERECKI, JACQUELYN    Case 22-11238-LSS    Doc
                                     MEREDITH   2 Filed 11/30/22
                                              ATKINSON                Page 3317 of 5495
                                                                           MEREDITH CHAMBERLAIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        430 VENICE WAY
                                                                           VENICE, CA 90291




MEREDITH CLEMENTS                    MEREDITH HAWLEY                       MEREDITH VLAHAKIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEREDITH YACKEL                      MEREDITH, AMBER                       MEREDITH, CARSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEREDITH, JANET                      MEREDITH, JUDY                        MEREDITH, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEREDITH, LAUREN                     MEREDITH, LES                         MEREDITH, MATTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEREDITH, MIRIAM                     MEREDITH, NORA                        MEREGILDO, CLARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERELLO, LAURA                       MERENDINO, GRACE                      MERENGUE BAKERY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




MEREWITZ, JASON                      MERFALEN, TERRIANN                    MERGENTHALER, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERGERSON, WANDA                     MERGINS, GUSTAV                       MERGLER, ASHLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MERGNER, ANNIKA                      MERGONI, JENNIFER                     MERHEGE, AMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MERI GIBBONS          Case 22-11238-LSS    Doc
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                                                                           MERICLE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERICLE, COURTNEY                    MERICLE, DAVID                         MERICLE, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERIDA, EDGAR                        MERIDA, KIERSTEN                       MERIDITH1, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERIGGIOLI, EMMA                     MERILLENO, FRANCESCA                   MERIMON, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERIN, WALLGREENS                    MERINAR, JACOB                         MERINGOLO, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERINO, JOSHUA                       MERINO, VANESSA                        MERINO, YULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERIPOL, BILL                        MERIS, YOLDINE                         MERIWETHER, CAROLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERIWETHER, HEATHER                  MERK, ALEX                             MERK, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERKAJ, FOTI                         MERKEL, AKATARINE                      MERKEL, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MERKEL, BROOKE                       MERKEL, DANIEL                         MERKEL, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MERKEL, LAURA         Case 22-11238-LSS
                                     MERKEL,Doc
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                                                                           MERKEL, 5495
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MERKER, PETER                        MERKEY, EMMA                          MERKI HAIR STUDIO, KRYSTA IRISH
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MERKIN, MOLLY                        MERKLE, BETH                          MERKT, GARY
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MERL, ALEXANDER                      MERLA, MARIAH                         MERLANO, CHRISTIAN
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MERLE, DENISE                        MERLIC, ADAM                          MERLIC, DOROTHY
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MERLIN E MAPES                       MERLINE, ANNA                         MERLINE, NATALIE
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MERLINO, ANELIESE                    MERLINO, APRIL                        MERLINO, ASHLEY
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MERLINO, JEN                         MERLINO, JEN                          MERLINO, THOMAS
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MERLINO, TONY                        MERLITTI, KIMBERLY                    MERLO, ELYSE
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MERLO, GEORGIANNE                    MERLO, JOCELYN                        MERMELSTEIN, ROBIN AND STUART
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MERO, CAMILLE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           MEROSKI, 5495
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MERRELL, ALISON                      MERRELL, BRIYANNI                     MERRIAM, JAMES
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MERRIAM, KIM                         MERRIAM, MELISSA                      MERRICK, ARON C.
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MERRICK, KEESHA                      MERRICK, KRISTIN                      MERRICK, MACKENZIE
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MERRICK, MICHELLE                    MERRIFIELD, GARY                      MERRIGAN, JESSICA
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MERRIKEN, CHRISTY                    MERRILL PROPERTIES, LLC               MERRILL, AMANDA
ADDRESS AVAILABLE UPON REQUEST       P.O. BOX 789                          ADDRESS AVAILABLE UPON REQUEST
                                     TEMPLETON, CA 93465




MERRILL, BAILEY                      MERRILL, BEVERLY                      MERRILL, CHRISTIE
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MERRILL, CHRISTOPHER                 MERRILL, CINDY                        MERRILL, DANIELLE
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MERRILL, ELSIE                       MERRILL, HEATHER                      MERRILL, JENNIFER
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MERRILL, JORDAN                      MERRILL, KAITLYN                      MERRILL, KATELYN
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MERRILL, MEGAN        Case 22-11238-LSS     Doc
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                                                                           MERRILL, 5495
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MERRILL, MICHAEL                     MERRILL, NICHOLAS                     MERRILL, NOAH
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MERRILL, SHAW                        MERRILL, SHEILA                       MERRILL, THOMAS
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MERRILL, TYLER                       MERRIMAN, ALLIE                       MERRIMAN, KRISTIN
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MERRIMAN, LISA                       MERRION, KAITLIN                      MERRITT, ALISON
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MERRITT, CINDY                       MERRITT, COURTNEY                     MERRITT, CYNTHIA
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MERRITT, FRANK                       MERRITT, JAMIE                        MERRITT, JANELLE
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MERRITT, JESSICA                     MERRITT, JOHN                         MERRITT, JOSEPH
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MERRITT, KAREN                       MERRITT, KRISTIN                      MERRITT, MELISSA
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MERRITT, MITCH                       MERRITT, PEARL                        MERRITT, REBECCA
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MERRITT, REGINA       Case 22-11238-LSS    Doc
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MERRITTS, MOLLY                      MERRIWEATHER, JAISA                    MERRY ANN PRATT
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MERRY, DAVE                          MERRY, EILEEN                          MERRY, MEGAN
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MERRYMAN, HUNTER                     MERRYMAN, JEFF                         MERSBERGER, MEREDITH
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MERSCHEN, DONNA                      MERSCHEN, JULIAN                       MERSEREAU, LENA
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MERSETH, MONIQUE                     MERSHON, EMILY                         MERSHON, KAILA
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MERSKY, KIERA                        MERSMAN, PATRIC                        MERTEN, TESSA
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MERTENS, SONJA                       MERTENS-JOHNSON, TESS                  MERTES, PATRICK
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MERTINS, SAMANTHA                    MERTZ, ANDREW                          MERTZ, COLBIE
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MERTZ, JOHN                          MERUELO, NATASHA                       MERUTKA, LISA
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MERVINE, ELENA                       MERVYN PERCY BLOOM                    MERWALD, ELIZABETH
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MERWIN, BAILEY                       MERWIN, JANINE                        MERWIN, LINDY
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MERWIN, RUTH                         MERZ, BAYLEE                          MERZ, KAITLYN
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MERZ, MOLLY                          MERZ, PHILLIP                         MESA SM LANANG
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MESA VERDE VINEYARDS, LLC            MESA                                  MESA, APRIL
PO BOX 385                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA YNEZ, CA 93460




MESA, MARGARET                       MESA, SARA                            MESA, YENI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MESCE, GARY                          MESCHA, AMY                           MESCHI, CRYSTAL
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MESCHKE, EMILY                       MESCHLER, RUSSELL                     MESECKE, SVEN
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MESEN, JENNIFER                      MESEN, LUIS                           MESENBRINK, JENNIFER
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MESERVE, SCOTT        Case 22-11238-LSS    Doc
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                                                                           MESHELL, 5495
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MESHRAM, NILESH                      MESIBOV, MELINDA                      MESIBOV, MOLLY
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MESICK, ADAM                         MESIK, SONJA                          MESITI, DANIELLE
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MESKILL, GERARD                      MESKILL, JULIE                        MESNER, AMY
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MESQUITA, JULIA                      MESSAM, DANIELLE                      MESSE DUSSELDORF
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MESSENGER, CATHERINE                 MESSENGER, MARVIN                     MESSENGER, TARA
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MESSER, ANNA                         MESSER, ASHLEY                        MESSER, DIANE
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MESSER, HANNAH                       MESSER, LATOI                         MESSER, LAURA
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MESSER, LYNNE                        MESSER, MARSHA                        MESSER, MELANIE
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MESSER, SHERI                        MESSER, SYLVIE                        MESSERLA, ALLISON
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MESSERLI, ALEXANDRA   Case 22-11238-LSS    Doc 2KRISTIN
                                     MESSEROTES,     Filed 11/30/22   Page 3325 of 5495 WENDY
                                                                           MESSERSCHMIDT,
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MESSERSMITH, LEILANI                 MESSERSMITH, MEGAN                    MESSERSMITH, SAMANTHA
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MESSEX, MIKAELA                      MESSIAS, CARLOS                       MESSIAS, DUUD
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MESSICK, JESSICA                     MESSICK, KELLY                        MESSICK, NICOLE
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MESSICK, RUTH                        MESSIER, DAVID                        MESSIER, JILLIAN
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MESSIER, PHILIP                      MESSIMER, APRIL                       MESSINA, AIMEE
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MESSINA, ALLYSON                     MESSINA, ANGELIQUE                    MESSINA, COLETTE
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MESSINA, DAVID                       MESSINA, JESSICA                      MESSINA, PHILIP
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MESSINEO, MORGAN                     MESSINESE, CAROLINA                   MESSINGER, CHRISTOPHER
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MESSINGER, KAYLA                     MESSLER, MAGGIE                       MESSMANN, ASHLEY
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MESSMER, ALEXANDER    Case 22-11238-LSS    Doc
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                                                                           MEST, SARAH
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MESTA, CORA                          MESTAD, ADAHEID                       MESTAGH, DESTINY
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MESTAS, REBECCA                      MESTEL, GAVIN                         MESTER, LUCY
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MESTRE, BRIANNA                      MESTRE, ISABELLA                      MESZAROS, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




META PLATFORMS, INC                  META PLATFORMS, INC                   META PLATFORMS, INC
1601 WILLOW RD                       FACEBOOK, INC ATTN: ACCOUNTS          FACEBOOK, INC ATTN: ACCOUNTS
MENLO PARK, CA 94025-1452            RECEIVABLE 15161 COLLECTIONS CENTER   RECEIVABLE
                                     DRIVE                                 15161 COLLECTIONS CENTER DRIVE
                                     MARK ZUCKERBERG, CHAIRMAN AND CHIEF   CHICAGO, IL 60693
                                     EXECUTIVE OFFICER
                                     CHICAGO, IL 60693

METALEAP CREATIVE                    METALLO, ANGELO                       METAYER, CHARLI
5256 PEACHTREE RD. STE 125           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ATLANTA, GA 30341




METAYER, SHEILA                      METCALF, BESS                         METCALF, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




METCALF, PATRICIA                    METCALF, RACHAEL                      METCALF, RACHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




METCALF, SARAH                       METCALF, SONYA                        METCALF, THOMAS
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METCALF, VERONICA                    METCALF, WENDY                        METCALFE, ALEX
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METCALFE, AMANDA      Case 22-11238-LSS    Doc
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                                                                                    MACKENZIE
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METERSKY, ANNE                          METHE, JOAN                           METHENY, HILLARY
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METHENY, KELLY                          METHNER, MOLLY                        METHOT, MICHELLE
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METHUKUPALLY, KAVYA                     METHVEN, JENNA                        METIN MANGUT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




METOYER, MONICA                         METOYER, SHAWNTELL                    METRIC THEORY LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        311 CALIFORNIA ST STE 200
                                                                              SAN FRANCISCO, CA 94104




METRIC THEORY LLC                       METRIC THEORY LLC                     METRO, KIMBERLY
755 SANSOME ST STE 200                  PO BOX 748544                         ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94111                 LOS ANGELES, CA 90074-748544




METROPOLITAN TRANSPORTATION             METS, FRANK AND LEE                   METTAUER, SANDY
AUTHORITY                               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ADDRESS UNAVAILABLE AT TIME OF FILING




METTE, KRISTIN                          METTENS, DAVID                        METTLER, GEOFFREY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




METTS, ELIZABETH                        METTS, MALLORY                        METTS, RACHEL
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METYKO, MK                              METZ, JAMIE                           METZ, KARYN
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METZ, KEELI           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     METZ, LAUREN                       Page 3328  of 5495
                                                                             METZ, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




METZ, PATRICIA                       METZ, STEPHANIE                         METZEL, IRELAND
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METZELAAR, ELISE                     METZGAR, ELIZABETH                      METZGAR, MOLLY
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METZGAR, TALIA                       METZGER, CAROLINE                       METZGER, CHARLIE
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METZGER, LAURA                       METZGER, MELISSA                        METZGER, MICHAEL
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METZGER, MONICA                      METZLER, CORTNEY                        METZLER, KAITLYN
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METZNER, LORENE                      MEUCCI, ANNIE                           MEUIR, MISTI
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MEULENGRACHT, KALI                   MEUNDIES                                MEUNIER, CHLOE
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MEUNIER, NICHOLAS                    MEUNIER, RYAN                           MEURER, BARBARA
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MEURLOTT, CHRIS                      MEURY, DANIEL                           MEURY, SUSAN
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MEUSER, DINA          Case 22-11238-LSS
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                                                                           MEW, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEWES, JODI                          MEWHINNEY, CHRISTINA                  MEWS, LEE
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MEXTORF, TAYLOR                      MEYEN, JESSICA                        MEYER BEACH, WILLOW
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MEYER ABADI                          MEYER BRAVYAK, GABRIELLE              MEYER, ALEXA
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MEYER, ALEXANDRA                     MEYER, ALLISON                        MEYER, ALLISON
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MEYER, AMANDA                        MEYER, ANDREA                         MEYER, ANDREA
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MEYER, ANNA                          MEYER, ANTHONY                        MEYER, AUDREY
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MEYER, BETHANY                       MEYER, BLAISE                         MEYER, CAITLEN
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MEYER, CARA                          MEYER, CARISSA                        MEYER, CARL
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MEYER, CATHRYN                       MEYER, CHARLIE                        MEYER, CINDY
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MEYER, DARLENE        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEYER, DINA                          MEYER, DOMINIQUE                      MEYER, ELMIRA ALLAIN
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MEYER, ERICA                         MEYER, ERICA                          MEYER, ERYN
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MEYER, GARRETT                       MEYER, GENEVIEVE                      MEYER, GREG
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MEYER, HEATHER                       MEYER, HEIDEE                         MEYER, HILARY
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MEYER, HILLARY                       MEYER, JACLYN                         MEYER, JAYSON
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MEYER, JEFFREY                       MEYER, JENNIFER                       MEYER, JENNIFER
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MEYER, JENNY                         MEYER, JESSICA                        MEYER, JODI
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MEYER, JOE                           MEYER, JOSHUA                         MEYER, JULIE
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MEYER, JULIE                         MEYER, JULIE                          MEYER, KAREN
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MEYER, KASEE          Case 22-11238-LSS
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MEYER, KATHRYN                       MEYER, KATHY                          MEYER, KATIE
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MEYER, KELSEY                        MEYER, KRISTA                         MEYER, KRISTEN
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MEYER, KRISTI                        MEYER, LAUREN                         MEYER, LAUREN
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MEYER, LAURIE                        MEYER, LINDSAY                        MEYER, LOREN
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MEYER, LORREN                        MEYER, MARIA                          MEYER, MARY JO
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MEYER, MARY                          MEYER, MATTHEW                        MEYER, MICHAEL
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MEYER, MICHELLE                      MEYER, MICHELLE                       MEYER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEYER, MOLLY                         MEYER, NICOLE                         MEYER, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEYER, NIK                           MEYER, NOLAN                          MEYER, RICK
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MEYER, ROBERT         Case 22-11238-LSS
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MEYER, SHANNON                       MEYER, SHAWN                          MEYER, STEFANIE
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MEYER, STEVEN                        MEYER, SUZANNE                        MEYER, SVETLANA
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MEYER, TAYLOR                        MEYER, THALYTHA                       MEYER, THERESA AND KEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEYER, VIC                           MEYER, VIRGINIA                       MEYER, VISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEYER, WILL                          MEYERAAN, JPAUL                       MEYERCO LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        7730 SOUTH CLAIBORNE AVENUE
                                                                           NEW ORLEANS, LA 70125




MEYERHOFF, LARISSA                   MEYERING, NICOLAS V                   MEYERLE, CHRISEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MEYEROWITZ, NATALIE                  MEYERS, AMANDA                        MEYERS, AVRAH
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MEYERS, BEVERLEY                     MEYERS, CASSANDRA                     MEYERS, CELINA
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MEYERS, CHRISTINE                    MEYERS, CORY                          MEYERS, ELIZABETH
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MEYERS, ERIN                         MEYERS, ISABEL                        MEYERS, JARRET
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MEYERS, JENNIFER                     MEYERS, JESSICA                       MEYERS, JOURDAN
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MEYERS, KAMMY                        MEYERS, KAYLA                         MEYERS, KRISTINA
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MEYERS, LUKE                         MEYERS, LUPE                          MEYERS, MAKEALY
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MEYERS, MEGAN                        MEYERS, NIKI                          MEYERS, RAINA
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MEYERS, SAMANTHA                     MEYERS, SARAH                         MEYERSON, BETSY
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MEYERSON, SAMUEL                     MEYN, AIMEE                           MEYTHALER, LAUREN
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MEYVECI, ASHLEY                      MEZA, ALEJANDRA                       MEZA, EDUARDO
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MEZA, JENNIFER                       MEZA, JESSICA                         MEZA, JUAN
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MEZA, ROSANNE                        MEZA, STEPHANIE                         MEZA, YOHANA
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MEZACK, ASHLEY                       MEZAK, CHARLIE                          MEZEAU, EMILIEN
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MEZEI, JOEI                          MEZILE, MARIE                           MEZINKO, SHANNON
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MEZYDLO, JOHN R                      MEZZACAPPA, NICOLE                      MEZZAVILLA, KRISTINA
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MGE, NIKKI                           MH, MS                                  MH-51 LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          601 PATTON BLVD APT 481
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MHOON, JAYME                         MHW TURQUOISE LIFE/VIE VITE             MI DEPT OF LICENSING & REGULATORY
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                                                                             611 W. OTTAWA
                                                                             P.O. BOX 30004
                                                                             LANSING, MI 48909



MI STATE OF MICHIGAN                 MIA MAYWEATHER                          MIA SAINE
124 W MICHIGAN AVENUE                ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LANSING, MI 48933




MIA, BIBA                            MIAO, NATHAN                            MIARS, MORGAN
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MICAELA ESPINOZA                     MICAH ROSENBERG                       MICAH SKEENS
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MICALE, JEANNE                       MICCOLI, REBECCA                      MICELI, JOSEPH
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MICHAEL A CARROLL                    MICHAEL A GROSS                       MICHAEL ALEXANDER
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MICHAEL COGLIANESE                   MICHAEL COLE                          MICHAEL CONNEELY, MIKE
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MICHAEL D STEELE                     MICHAEL DAICHES                       MICHAEL DAVID WINERY
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                                                                           LODI, CA 95242




MICHAEL DAVIS CONSTRUCTION           MICHAEL DAY                           MICHAEL DEAN BELCHER
1695 VALLE VISTA PL                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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MICHAEL DELAMATER                    MICHAEL DEMAREE                       MICHAEL DIAZ
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MICHAEL DUPREE                       MICHAEL DUSI TRUCKING, INC.           MICHAEL DUSI TRUCKING, INC.
ADDRESS AVAILABLE UPON REQUEST       3230 RIVERSIDE ROAD SUITE 220         4305 SECOND WIND WAY
                                     PASO ROBLES, CA 93446                 PASO ROBLES, CA 93446




MICHAEL DUSI TRUCKING, INC.          MICHAEL DUSI TRUCKING, INC.           MICHAEL E DEEHAN
ALLIED AFFILIATED FUNDING L.P        PO BOX 847406                         ADDRESS AVAILABLE UPON REQUEST
P.O BOX 676649                       LOS ANGELES, CA 90084-7406
DALLAS, TX 75267-6649




MICHAEL E HUISMAN                    MICHAEL ECK                           MICHAEL EDWARD VOICHAHOSKE
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MICHAEL FLANAGAN JR                  MICHAEL FRANK GARDNER                 MICHAEL G DURNIN
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MICHAEL GALLAGHER                    MICHAEL GERLACH                       MICHAEL GIROUARD
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MICHAEL HEINEY                       MICHAEL HENRY DIEM                    MICHAEL HIRSHON
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MICHAEL HODGSKIN-BROWN               MICHAEL HOUSE                         MICHAEL HUNTER
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MICHAEL J BROUDY                     MICHAEL J SORENSEN                    MICHAEL J WOLF
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MICHAEL JAMES BROOKS                 MICHAEL JAMES CONWAY                   MICHAEL JAMES FRADELIS
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MICHAEL JAMES GENELLI                MICHAEL JAMES HALBERT                  MICHAEL JAMES MORTON
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MICHAEL JAMES PRUENTE JR             MICHAEL JANIKIS                        MICHAEL JASON STORM
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MICHAEL JAUSS                        MICHAEL JOHN BENWELL                   MICHAEL JOHN HAND
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MICHAEL JOHN STRASSHEIM              MICHAEL JON GRAY                       MICHAEL JONATHAN ROWE
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MICHAEL JUSTIN MASSIMO               MICHAEL K KENNEDY                      MICHAEL K ROGERS
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MICHAEL KEARNEY                      MICHAEL KESER                          MICHAEL KJOME
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MICHAEL KRAMP                        MICHAEL L SARUK                        MICHAEL L WENNING
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MICHAEL LAGARDE                      MICHAEL LANE                           MICHAEL LAWRENCE GUTHRIE
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MICHAEL LLENZA                       MICHAEL MAJEED                        MICHAEL MARTIN TAYLOR
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MICHAEL MAY                          MICHAEL MICHALAK                      MICHAEL MILLER
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MICHAEL MINGYI MA                    MICHAEL MOREHOUSE                     MICHAEL MUDREY
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MICHAEL NELSON                       MICHAEL NEWMAN                        MICHAEL OCONNOR
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MICHAEL PAPENFUSE                    MICHAEL PARENT                        MICHAEL PARKER
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MICHAEL PAUL CRANE                   MICHAEL PAUL LEVINE                   MICHAEL PAYNE
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MICHAEL PETERMAN                     MICHAEL PITTMAN                       MICHAEL PLATT
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MICHAEL PYTLIK                       MICHAEL RACKE                          MICHAEL RAY DAVIS
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MICHAEL SEWELL                       MICHAEL SIMONI                         MICHAEL SINKS
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MICHAEL SPENCER VAN BRUNT            MICHAEL STANEK                         MICHAEL STE MARIE
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MICHAEL THOMAS THAYNE                MICHAEL THOMAS WEST                   MICHAEL TODRYK
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MICHAEL TORRES                       MICHAEL TRAUB                         MICHAEL TRENK
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MICHAEL W REED                       MICHAEL W TIGHE                       MICHAEL WAGNER
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MICHAEL WALTERS                      MICHAEL WHITAKER                      MICHAEL WILLIAMSON
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MICHAEL WOOD                         MICHAEL WYBLE                         MICHAEL ZACHARIA
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MICHAEL ZIMAN                        MICHAEL ZIMAN                         MICHAEL ZUNIGA
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MICHAEL                              MICHAEL, CALVIN                       MICHAEL, CATHERINE
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MICHAEL, DEBRA                       MICHAEL, GABRIELLE                    MICHAEL, JACKIE
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MICHAEL, JAN                         MICHAEL, JENNIFER                     MICHAEL, KAT
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MICHAEL, KRYSTYNA     Case 22-11238-LSS    Doc
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MICHAEL, MARTZ                          MICHAEL, MATTHEW                       MICHAEL, MONICA
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MICHAEL, RACHEL                         MICHAEL, REBECCA                       MICHAEL, S.
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MICHAEL, SAMANTHA                       MICHAEL, T                             MICHAEL, TYLER
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MICHAEL, VICTORIA                       MICHAEL, WEZESA,                       MICHAELA BEERY
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MICHAELCHECK, CHARLOTTE                 MICHAELE HYMES TRUSTEE OF THE          MICHAELIS, BETTY
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MICHAELS, ANGELA                        MICHAELS, BROOKE                       MICHAELS, DANA
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MICHAELS, DANIELLE                      MICHAELS, EMILY                        MICHAELS, HEATHER
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MICHAELS, JEFF                          MICHAELS, JEN                          MICHAELS, JOHN
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MICHAELS, TIMOTHY                    MICHAELS, VALERIE                      MICHAELSEN, SUSAN
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MICHAELSON, ANNA                     MICHAELSON, GINA                       MICHAELSON, HAAGA
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MICHAELSON, KRISTY                   MICHAL, RICK                           MICHAL, SARA
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MICHAL, SUSAN                        MICHALAK, MARGARET                     MICHALAK, MICHAEL
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MICHALAK, PHILLIP                    MICHALAK, UWE                          MICHALCZYK, IZOLDA
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MICHALEK, GALE                       MICHALEK, SUSAN                        MICHALESKI, ASHLEY
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MICHALETZ, KARI                      MICHALOWICZ, NICOLE                    MICHALOWSKI, KATE
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MICHALOWSKI, TARA                    MICHALS, MICHELLE                      MICHALS, REBECCA
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MICHALS, STEPHANIE                   MICHALS, VIVIEN                        MICHALSKE, ANDREA
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MICHAUD, ELIZABETH                   MICHAUD, NOEL                         MICHAUX, BEN
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MICHEAL DANBOM                       MICHEELS, LIA                         MICHEL DANIEL
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MICHEL HANNA                         MICHEL II, ALEX                       MICHEL, ALLIE
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MICHEL, ALLISON                      MICHEL, BROOKS                        MICHEL, FRANCISCO
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MICHEL, JORDAN                       MICHEL, JULES                         MICHEL, KATHLEEN
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MICHEL, KELLY                        MICHEL, MARIE                         MICHEL, MARY ANN
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MICHEL, MEAGAN                       MICHEL, SAVANNAH                      MICHEL, SUSAN
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MICHEL, VINCENT                      MICHELE A BARARD                      MICHELE ANDERSON
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MICHELE ANN ROZENBERG                MICHELE HUNTER                        MICHELE JALIENE SCHMUCK
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MICHELE STORBECK                     MICHELE WOLFE                         MICHELETTI, BRITTANY
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MICHELFELDER, ELAINE & ERNEST        MICHELINE SANTOS                      MICHELINI, CHRISTINA
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MICHELL, ASHLIN                      MICHELL, BAILEY                       MICHELLE AKELEY
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MICHELLE ANGELA CASALI R L T         MICHELLE BAKULA                       MICHELLE BARCUS
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MICHELLE BEALL                       MICHELLE BINGHAM                      MICHELLE CASTANEDA
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MICHELLE CLARK                       MICHELLE COLLINS                      MICHELLE DE JESUS
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MICHELLE LYNN BINGHAM                MICHELLE MADISON                       MICHELLE MIDHA
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MICHELLE NELSON                      MICHELLE NEWMAN                        MICHELLE ODENBACH
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MICHELLE PACK                        MICHELLE PENNEY OSTERHAUS              MICHELLE PIERSON
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MICHELLE RUBESCH                     MICHELLE SCHWARTZ                      MICHELLE SOLTIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICHELLE STRAKA                      MICHELLE STUPACK, MICHELLE             MICHELLE TRUDEAU HARRISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICHELLE WAGNER                      MICHELLE WEISS                         MICHELLE WILSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICHELLE WONG                        MICHELLE WOODEN                        MICHELLE YING LEI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MICHELLE, JENNIFER    Case 22-11238-LSS     Doc
                                     MICHELLE,    2 Filed 11/30/22
                                               KRISTEN                    Page 3347  of 5495
                                                                               MICHELLE, LEVISOHN,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MICHELLE, MIA                        MICHELLE, SARA                             MICHELLE, WELTRUSKI,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MICHELLE, ZEISER,                    MICHELS, COURTNEY                          MICHELS, JOHNSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MICHELS, MATTHEW                     MICHELS, REAGAN                            MICHELS, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MICHELS, SOPHIE                      MICHELSEN, MARY                            MICHELSEN, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MICHELSON, ERICA                     MICHELSON, MARIE                           MICHENER, ALYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MICHERO, EMILY                       MICHIELS INC. (ALMOR WINE AND SPIRITS)     MICHIELS, ANNA
ADDRESS AVAILABLE UPON REQUEST       7855 SUNSET BLVD                           ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90046




MICHIELSON, HUNTER                   MICHIELUTTI, NINA                          MICHIENZI, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MICHIGAN CORPORATIONS, SECURITIES    MICHIGAN DEPT OF TREASURY                  MICHIGAN LIQUOR CONTROL COMMISON
& COMMECTIAL LICENSING               CUSTOMER CONTACT DIVISION, MBT UNIT        ADDRESS UNAVAILABLE AT TIME OF FILING
2501 WOODLAKE CIRCLE                 PO BOX 30059
OKEMOS, MI 48864                     LANSING, MI 48909




MICHIGAN LIQUOR CONTROL COMMISSION   MICHIGAN WORKFORCE DEVELOPMENT             MICHKO, REBECA
MICHIGAN LIQUOR CONTROL COMMISSION   AGENCY                                     ADDRESS AVAILABLE UPON REQUEST
P.O. BOX 30005                       VICTOR OFFICE CTR
LANSING, MI 48909                    201 N WASHINGTON SQ
                                     LANSING, MI 48913
MICHL, EMILY          Case 22-11238-LSS     Doc
                                     MICHLITS    2 Filed
                                              WERNER GMBH 11/30/22      Page 3348  ofWERNER
                                                                             MICHLITS 5495 GMBH
ADDRESS AVAILABLE UPON REQUEST       HAUPTSTRASSE 86, A-7152 PAMHAGEN        HAUPTSTRASSE 86, A-7152 PAMHAGEN
                                                                             WERNER MICHLITS, MANAGING DIRECTOR




MICIR, MELANIE                        MICK, ALEXA                            MICK, ALYSSA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICKEL, EDWIN                         MICKELS, PAULA                         MICKELSON, CAROLYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICKELSON, LESLIE                     MICKELSON, RYAN                        MICKELSON, TARA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICKENS, AMBER                        MICKENS, LAVONDA                       MICKENS, SHAYLESE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICKEY HOBBY                          MICKEY, ASHLEY                         MICKEY, MARCUS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICKIE, SHANA                         MICKLE, JASON                          MICKLE, MORGAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICKLEBORO, MARC                      MICKLES, EDWARD                        MICKLES, KEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICKLEY, KATHERINE                    MICKLOW, JENNIFER                      MICKS, MATT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MICKSCHL, LEAH                        MICKUM, MATHISON                       MICLAUS, KELCI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MICOU, RENEE          Case 22-11238-LSS    DocBING
                                     MICROSOFT  2 Filed 11/30/22 Page 3349        of 5495
                                                                           MICROSOFT   CORPORATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING MICROSOFT ONLINE, INC
                                                                           6100 NEIL ROAD
                                                                           RENO, NV 89511




MICROSOFT CORPORATION                 MIDAS, KELLY                          MIDDELEER, SAWYER
ONE MICROSOFT WAY                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REDMOND, WA 98052-6399




MIDDEN, JULEE                         MIDDLE DISTRICT OF PENNSYLVANIA       MIDDLE DISTRICT OF PENNSYLVANIA
ADDRESS AVAILABLE UPON REQUEST        HARRISBURG FEDERAL BLDG AND           HERMAN T SCHNEEBELI FEDERAL BLDG
                                      COURTHOUSE                            240 W THIRD ST, STE 316
                                      228 WALNUT ST, STE 220                WILLIAMSPORT, PA 17701-6465
                                      PO BOX 11754
                                      HARRISBURG, PA 17108-1754

MIDDLE DISTRICT OF PENNSYLVANIA       MIDDLEBERG, MARC                      MIDDLEBROOK, CHRISTINA
WILLIAM J NEALON FED. BLDG &          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
COURTHOUSE
235 N WASHINGTON AVE, STE 311
SCRANTON, PA 18503



MIDDLEBROOK, EMILY                    MIDDLEBROOKS, CALLEY                  MIDDLEKAUFF, LAUREN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDDLEKAUFF, RACHAEL                  MIDDLEMAN, RUTH                       MIDDLEMIST, ERIC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDDLEMORE, JENNIFER                  MIDDLESTEAD, KATHRYN                  MIDDLESWORTH, CRISTIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDDLETON FAMILY WINES LLC            MIDDLETON, ABBY                       MIDDLETON, ALEX
(RED CEDAR VINEYARDS)                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
111 MARKET STREET NE SUITE 360
OLYMPIA, WA 98501




MIDDLETON, BRIANNY                    MIDDLETON, CANDICE                    MIDDLETON, CAROLYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDDLETON, CASSANDRA                  MIDDLETON, JOHN                       MIDDLETON, JOSH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MIDDLETON, JUSTIN     Case 22-11238-LSS    DocKAYLYN
                                     MIDDLETON, 2 Filed 11/30/22         Page 3350  of 5495
                                                                              MIDDLETON, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIDDLETON, NAOMI                        MIDDLETON, RAE                        MIDDLETON, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDDLETON, SHEILA                       MIDDLETON, STEVEN                     MIDDLETON, SUSAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDDLETON, TIERNAN                      MIDDLETON, VANESSA                    MIDDLETOWN PIZZA AND GRILL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




MIDGETT, KEMP                           MIDGLEY, CARRIE                       MIDHAT QIDWAI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MID-IOWA SOLID WASTE EQUIPMENT          MIDKIFF, SELINA                       MIDKIFF, SHELLEY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDLIGE, ABIGAIL                        MIDLIGE, JESSICA                      MIDON, MICAELA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDTLING, STEPHANIE                     MIDTLING, STEPHANIE                   MIDULLA, VERONIKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIDURA, SARAH                           MIDURE, EMILY                         MIEARS, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIEDEMA, LAURIE                         MIEDEMA, MISSY                        MIEDZINSKI, DANIEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MIEGEL, CORINNE       Case 22-11238-LSS
                                     MIEHLE, Doc  2 Filed 11/30/22
                                             SHEILA                   Page 3351   of 5495
                                                                           MIELE, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIELE, DAVID                         MIELE, DENISE                         MIELE, EDDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIELE, EDWARD                        MIELE, MINDY                          MIELISH, FRED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIELKE, JEREMY                       MIELKE, SARA                          MIELKUS, JENELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIER, JAQUELINA                      MIER, JORGE                           MIERAS, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIERKIEWICZ, CAITLIN                 MIERS, DAN                            MIERS, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIERSCH, JILL                        MIERSWA, MICHELLE                     MIERTSCHIN, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIERZEJEWSKA, KATARZYNA              MIERZWA, DANUTA                       MIETHE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIETTINEN, JAIME                     MIEWALD, TOM                          MIEZIE, ALEKSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIFFLIN, KRISTEN                     MIFSUD, DANA                          MIFSUD, MIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MIGALA, DINA          Case 22-11238-LSS    DocJOHN
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                                                                           MIGDAL,of 5495
                                                                                   KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGDAL, MARGARET’S                   MIGDALSKI, ALYSSA                      MIGHELL, NATASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGIANO, MARIO                       MIGIROV, REBECCA                       MIGLIACCI, MARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGLIACCIO, ANNA                     MIGLIACCIO, ELIZABETH                  MIGLIACCIO, LUCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGLIACCIO, MARY                     MIGLIERI, KIM                          MIGLIO, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGLIORE, MICHAEL                    MIGLIORE, TERESA                       MIGLIOZZI, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGNATTI, MARISA                     MIGNAULT, PATRICK                      MIGNOGNA, MARY PAT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGNON, DONNA                        MIGNOSA, ROSE                          MIGNUCCI, GIANCARLO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGOCHI, VICTORIA                    MIGROS M CORNAVIN                      MIGUEL ALEXANDER RIVERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MIGUEL CUEVAS                        MIGUEL DUWAYNE CHARLES                 MIGUEL ONATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MIGUEL SOTO           Case 22-11238-LSS
                                     MIGUEL Doc
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                                                                              MIGUELof 5495
                                                                                     VALDES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIHAI MOCEAN                            MIHAILIDIS, EMILIA                    MIHAILOFF, JODI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIHAILOFF, KATHLEEN                     MIHAILOVICH, SARA                     MIHALIK, BRIDGETTE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIHALIK, MEGHAN                         MIHALIK, NADIA                        MIHALJEVIC, MATTHEW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIHCI, COSKU                            MIHILL, JEANETTE                      MIHINDOU, FRIDIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIHIRI RAJAPAKSA                        MIHM, CLAUDIA                         MIHOCES, SHANNON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIHOS, ASHLEY                           MIIA SUORTTI                          MIJOVIC, ASJA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKADO                                  MIKALSEN, TOBIAS                      MIKAYLA WORTHEN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKE ALMAGUER TRUCKING INC.             MIKE ALMAGUER TRUCKING INC.           MIKE E ROUSSEL
219 STANSBURY DRIVE                     PO BOX 8129                           ADDRESS AVAILABLE UPON REQUEST
SANTA MARIA, CA 93458                   SANTA MARIA, CA 93458




MIKE JULIAN                             MIKE MATTHEWS                         MIKE, KYLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MIKEL, JOHN           Case 22-11238-LSS
                                     MIKELL, Doc
                                             KASEY2  Filed 11/30/22      Page 3354  of 5495
                                                                              MIKELSON, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIKES KITCHEN                           MIKESKA, HALEY                        MIKETO, ELIZABETH
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKHAIL, LINDSAY                        MIKHAIL, MYRKA                        MIKHAILOVA, JULIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKIEWICZ, NANCY                        MIKISHEV, ALEXANDER                   MIKKELSEN, AVA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKKELSEN, KLAUS                        MIKKELSON, KELSEY                     MIKKELSON, NATALIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKKELSON, NICHOLE                      MIKLAS, CORINNE                       MIKO, VMIKO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKOL, RACHEL                           MIKOLAJ, CRISSI                       MIKOLAJEWSKI, KELSEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKOLAK, NICOLE                         MIKOLITCH, RICHARD                    MIKOS, SAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKOWYCHOK, LOUISE                      MIKSCHE, ANA                          MIKULA, SOPHIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKULAY, OLIVIA                         MIKULAY, STEVE                        MIKULECKY, CHELSEA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MIKULECKY, DONNA      Case 22-11238-LSS    Doc KRISTINA
                                     MIKULENCAK, 2 Filed 11/30/22     Page 3355  of LYDIA
                                                                           MIKULKO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIKULS, STEPHANIE                    MIKUS, KIMBERLY                       MILAD, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MILAGROS CAMACHO                     MILAGROS PEREYRA-ROJAS                MILAM, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MILAM, BRUCE                         MILAM, LISA                           MILAM, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MILAM, RUSH                          MILAN MOORE                           MILAN, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MILANI, JENNIFER                     MILANO, AMIE                          MILANO, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MILANO, SARIA                        MILANO, VICKI                         MILANOVIC, STEFAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MILANOWSKI, JESSICA                  MILAZZO, MARCUS                       MILBERY, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MILBOURNE, SEAN                      MILBOURNE, TARYN                      MILBURN, DOUG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MILBURN, KARIN                       MILBURN, MORGAN                       MILCENT, TATIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MILDEN, MARK          Case 22-11238-LSS
                                     MILDREDDoc 2 Filed 11/30/22
                                             GARCIA                     Page 3356  ofWILLIAMS
                                                                             MILDRED  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MILE HIGH MAIDS                        MILEAF, JANE                           MILEFF, MAIA
2253 DOWNING ST                        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80205




MILEHAM, LEONA                         MILEM, CASEY                           MILENOV, ANDRIALYN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES                                  MILES                                  MILES, ALEXANDRIA
75 E. SANTA CLARA STREET, STE 05-137   CONNECTIQ LABS, INC.                   ADDRESS AVAILABLE UPON REQUEST
SAN JOSE, CA 95113                     4064 RIVERMARK PKWY
                                       SANTA CLARA, CA 95054




MILES, ALLISON                         MILES, ANTONIO                         MILES, ARIEL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, ASHLEY                          MILES, BEATRICE                        MILES, BETH
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, BRYAN                           MILES, CHARLES                         MILES, CHRISTA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, CINDY                           MILES, DENISE                          MILES, ELLI
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, EMILY                           MILES, JANE                            MILES, JESSICA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, JULIE                           MILES, KEEGAN                          MILES, LAUREN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MILES, LILA           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     MILES, MARIAH                    Page 3357   of 5495
                                                                           MILES, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, MICHAEL                       MILES, MIKELL                          MILES, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, MONIQUE                       MILES, NASAURA                         MILES, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, SHADEIRA                      MILES, SHELBIE                         MILES, STEVEN AND NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILES, SUMMER                        MILES, TIARELLA                        MILES, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILESKI, BRIDGET                     MILESTONE, DAVID                       MILET, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILETICH, ALEXANDER                  MILEUSNIC, GEORGE OR MARILYN           MILEWICZ, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILEWICZ, CHRISTINE                  MILEWSKI, AUDREA                       MILEWSKI, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILEWSKI, KAITLYN                    MILEWSKI, LAUREN                       MILEY, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILEY, GERALD                        MILEY, JODI                            MILGRIM, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MILGRIM, SONDRA       Case 22-11238-LSS
                                     MILHET, Doc
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                                                                           MILHOUSE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILIEN, ADIALYN                      MILIEN, SANDY                          MILIKIN, SHERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILIND GOKHALE                       MILIOKAS, KONSTANTINA                  MILITANO, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILITARY SPOUSE LIVING AND THE       MILITELLO, JOY                         MILIUS, JOHANA
SPENDERELLA                          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
5311 SOUTHBROOM DRIVE.
EVANS, GA 30809




MILIVOJE BRKOVIC                     MILKO, RYAN                            MILL, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILLA, KATHERINE                     MILLAN LAWRENCE                        MILLAN, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILLAN, ANA                          MILLAN, AZALEA                         MILLAN, CARLOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILLAND, APRYL                       MILLAR, EMILY                          MILLAR, GORDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILLAR, HARMONY                      MILLAR, LINDSAY                        MILLAR, MARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILLAR, MARY                         MILLAR, SCHUYLER                       MILLAR, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MILLARD, ANNIE        Case 22-11238-LSS     Doc
                                     MILLARD, DON2   Filed 11/30/22     Page 3359  ofGAYLE
                                                                             MILLARD, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MILLARD, JAMES                       MILLARD, JUDITH                         MILLARD, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MILLARD, RACHEL                      MILLARD, REBECCA                        MILLARD, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MILLARES, SOPHIA                     MILLBURN, PEG                           MILLE, BRU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MILLEDGE, ANDREW                     MILLEMAN, SHAINA                        MILLEN, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MILLEN, ROBERT                       MILLENIUM BILTMORE                      MILLER & WISHENGRAD, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   1648 10TH STREET
                                                                             SANTA MONICA, CA 90404




MILLER FAMILY WINE CO LLC            MILLER FAMILY WINE COMPANY              MILLER WINE WORKS, LLC
ATTN: RICHARD L MATHER, BUS MGR      132 E. CARRILLO ST                      67 MAIN STREET
2717 AVIATION WAY, STE 101           SANTA BARBARA, CA 93101                 PO BOX 1386
SANTA MARIA, CA 93455                                                        SUTTER CREEK, CA 95685




MILLER WOOD, JEANNE                  MILLER, ABBEY                           MILLER, ABBY
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                                     MILLER, Doc
                                             ALEX 2  Filed 11/30/22   Page 3360
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                                     MILLER, Doc 2 Filed 11/30/22
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                                     MILLER, Doc  2 Filed 11/30/22
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                                     MILLER, Doc  2 Filed 11/30/22
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                                     MILLER, Doc  2 Filed 11/30/22
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                                             MELISSA                  Page 3374
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MILLER, PRINCE                       MILLER, RACHAEL                        MILLER, RACHEL
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MILLER, RANAE                        MILLER, RANDY                          MILLER, RANDY
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MILLER, RAYHANA                      MILLER, REBECCA                        MILLER, REBECCA
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MILLER, REBECCA                      MILLER, REBEKAH                        MILLER, REGAN
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MILLER, REGINA                       MILLER, RHONDA                         MILLER, RICK
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MILLER, RILEY                        MILLER, ROB                            MILLER, ROBERT
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MILLER, ROGER                        MILLER, ROSE                           MILLER, RYLAN
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MILLER, SALLY                        MILLER, SAMANTHA                       MILLER, SAMANTHA
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MILLER, SANDRA                       MILLER, SARA                           MILLER, SARAH
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                                     MILLER, Doc 2 Filed 11/30/22
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MILLER, SHANA                        MILLER, SHANNON                       MILLER, SHANNON
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MILLER, SHANNON                      MILLER, SHARON                        MILLER, SHAROYA
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MILLER, SHERICE                      MILLER, SHON                          MILLER, STEPHANIE
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MILLER, STEPHANIE                    MILLER, STEPHANIE                     MILLER, STEPHANIE
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MILLER, STEPHEN                      MILLER, STEVE                         MILLER, STEVEN
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MILLER, STEVEN                       MILLER, STEVIE                        MILLER, SUMMER
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MILLER, SUSAN                        MILLER, SUSIE                         MILLER, SUZANNE
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                                     MILLER, Doc  2 Filed 11/30/22
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MILLER, TARA                         MILLER, TAYLOR                        MILLER, TAYLOR
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MILLER, TED                          MILLER, TEDDI                         MILLER, TERAH
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MILLER, TERESA                       MILLER, THOMAS                        MILLER, THOMAS
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MILLER, TIFFANY                      MILLER, TIMOTHY                       MILLER, TORIE
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MILLER, VALLERIE                     MILLER, VANESSA                       MILLER, VASONT
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MILLER, VICKI                        MILLER, VICKY                         MILLER, VIVIAN
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                                     MILLER, Doc 2 Filed 11/30/22
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MILLER, WHITNEY                      MILLER, WHITNEY                       MILLER, WHITNEY
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MILLER, WILLIAM                      MILLER, WILLIAM                       MILLER, WILLIE
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MILLER, ZACH                         MILLER, ZACHARY                       MILLER, ZACHARY
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MILLERHOPKINS, MARTHA                MILLER-MICHAELS, ANN                  MILLERO, MICHAEL
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MILLER-OLINGER, HEIDI                MILLER-SMITH, STACEY                  MILLET, BARBRA
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MILLETT, JILLIAN                     MILLETTE, LILLIAN                     MILLETTE, ROGER
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MILLEVOI, KIM                        MILLHAUSER, MILLY                     MILLHEIM, SHELLY
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MILLHEISER, MADISON                  MILLHOLLON, BEAU                      MILLHORN, LISA
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MILLHOUSE, TROY                      MILLI, IRENE                          MILLIARD, JOURDAN
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MILLIGAN, ASHLEI                     MILLIGAN, CHERI                       MILLIGAN, EMILY
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MILLIGAN, FLINN                      MILLIGAN, MARY                        MILLIGAN, MELISSA
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MILLIGAN, PATRICK                    MILLIKEN, ASHLEY                      MILLIKEN, ASHLEY
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MILLIKEN, CAROLINE                   MILLIKEN, EMILY                       MILLIKEN, JESSE
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MILLIKIN, AMY                        MILLIKIN, DAN                         MILLILI, DAVID
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MILLIN, ANGELA                       MILLIN, CAROL                         MILLINER, COURTNEY
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MILLINER, MICHALLA                   MILLINER, NATALIE                     MILLINGTON, MEGAN
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MILLION, JULES                       MILLIONAIRE, MODERN                   MILLIORN, CAROLINE
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MILLIOT, CARYN                       MILLMAN, CAROL                        MILLMAN, CHRISTINE
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MILLMAN, NINA                        MILLMAN, STEVEN                       MILLON, MARY
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MILLROOD, ALEXANDRA                  MILLS JR., RICHARD                    MILLS, ABBY
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MILLS, AIMEE                         MILLS, ALINA                          MILLS, ALLISON
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MILLS, AMANDA                        MILLS, AMANDA                         MILLS, ANIKA
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MILLS, ANNE                          MILLS, BARBARA                        MILLS, BETH
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MILLS, CASSANDRA      Case 22-11238-LSS      Doc 2 Filed 11/30/22
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MILLS, CRAIG                         MILLS, CRYSTAL                        MILLS, DALE
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MILLS, DAVID                         MILLS, DYLAN                          MILLS, DYLAN
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MILLS, JAMIE                         MILLS, JENNIFER                       MILLS, JENNIFER
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MILLS, JESSICA                       MILLS, JESSICA                        MILLS, JILL
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MILLS, KRISTIN                       MILLS, LAURA                          MILLS, LOGAN
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MILLS, LYNDSEY                       MILLS, MALLORY                        MILLS, MANDY
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MILLS, MARIO                         MILLS, MARY                           MILLS, MELISSA
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MILLS, MICHELE                       MILLS, MITZI                          MILLS, PAULINE
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MILLS, PEGGY AND DON                 MILLS, RACHEL                         MILLS, RICHARD
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MILLS, SARAH                         MILLS, SHARI                          MILLS, SIERRA
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MILLS, TAMARA                        MILLS, THEA                           MILLS, TIM
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MILLS, WENDY                         MILLSAP, JAMES                        MILLSAP, JENNIFER
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MILLSAP, LILA                        MILLSAPS, JENISE                      MILLSAPS, LAUREN
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MILLSPAUGH, BEN                         MILLSPAUGH, HILARY                    MILLSPAUGH, MAX
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MILLSTEIN, KATHRYN                      MILMAN, DEBBIE                        MILMAN, ROSEANNE
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MILNE, CYNDI                            MILNE, DEBBIE                         MILNE, GENEVA
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MILNE, KELSY                            MILNE, KRISTINA                       MILNE, MEGAN
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MILNE, ONICA                            MILNE, ROBERT                         MILNER, JESSICA
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MILNER, LINDA                           MILNER, MARCIA                        MILNER, MARISA
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MILNER, SYDNEY                          MILNER, TODD                          MILNES, HILARY
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MILO & OLIVE MILLING                    MILO, BRIANNA                         MILO, RAMIE
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MILO, WHITNEY                           MILOS, SARAH                          MILOSAVLESKI, ANNE
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MILOSE, JACLYN        Case 22-11238-LSS    DocMICHAEL
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MILOWSKY, MATTHEW                    MILSTEAD, SHELBY                       MILSTEIN, MEREDITH
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MILTENBERGER, BRYAN                  MILTIMORE, IRENE                       MILTNER, KELLY
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MILTON FLAMENCO                      MILTON, CHAD                           MILTON, DAVID
244 1/2 E. 102 ST.                   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90003




MILTON, DELANEY                      MILTON, JONATHON                       MILTON, JW
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MILTON, KATE                         MILTON, MORGAN                         MILTON, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MILTONS DISTRIBUTING CO., INC        MILTONS DISTRIBUTING CO., INC          MILTZOW, CHRIS
305 FORBES BLVD.                     6342 BYSTRUM RD STE A                  ADDRESS AVAILABLE UPON REQUEST
MANSFIELD, MA 02048-1805             CERES, CA 95307




MILWICKI, ALON                       MIMEO.COM, INC.                        MIMI, TINMAY
ADDRESS AVAILABLE UPON REQUEST       PO BOX 654018                          ADDRESS AVAILABLE UPON REQUEST
                                     DALLAS, TX 75265




MIMMS, DOROTA                        MIMNO, DAVID                           MIMPO GLOBAL LOGISTICS, S.L.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         AVENIDA SUR DEL AEROPUERTO DE
                                                                            BARAJAS 28
                                                                            MADRID 28042
                                                                            SPAIN



MIMS, CHANCE                         MIMS, JUSTIN                           MIMS, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MIMS, NORMAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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MIN, AUGUSTINE                       MIN, BRANDON                            MIN, LIZ
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MINAEVA, EVA                         MINAMI, ALLISON                         MINAMYER, CASSIDY
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MINAMYER, JAMIE                      MINANI, MARC                            MINARDI, MATT
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MINARICH, MARC                       MINARIK, ALEXANDRIA                     MINAS, RANDALL
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MINASSIAN, BRYAN                     MINASSIAN, MEG                          MINCEMOYER, CLAUDIA
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MINCER, ISAAC                        MINCH, COLLEEN                          MINCH, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MINCHER, DIANA                       MINCY, KATEYLEN                         MINDBODYGREEN LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          45 MAIN ST., STE 422
                                                                             BROOKLYN, NY 11201




MINDEL, MICHAEL                      MINDERLER, CARLY                        MINDFULL CONNECTIONS PTY LTD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          37 ISAACS WAY WAKERLEY
                                                                             QUEENSLAND
                                                                             AUSTRALIA




MINDRUP, MEREDITH                    MINDSCAPE                               MINDY BERLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
MINDY CAMPBELL        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           MINDY JAY DRUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINDY, REDDING                       MINEAR, ANNA                          MINEAR, KENNETH
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MINEAR, SCOTT                        MINEER, SYDNEY                        MINEHART, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINEIRO, LUIZ                        MINEISHI, DARRYL                      MINEKER, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINELLI, CYNTHIA                     MINEN, MELANIE                        MINEO, CAMERON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINEO, CHARLES                       MINER, ARIEL                          MINER, CAMILLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINER, HOWARD                        MINER, JAMIE                          MINER, JANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINER, JEFFREY                       MINER, JOEL                           MINER, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINER, KELSEY                        MINER, LAURA                          MINER, LOREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINER, MELINDA                       MINER, MELISSA                        MINER, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MINER, REBECCA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MINER, ROBERT                       Page 3388
                                                                              MINER, of 5495
                                                                                     SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MINER, SHADIA                           MINERD, SAMANTHA                      MINERLY, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINERS ACE HARDWARE                     MINERVA, CAROL                        MINERVA, FRANCIA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MING, ANNA                              MING, DONNA                           MING, HANNAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINGLE, MELIA                           MINGO, MARQUELLE                      MINGOLA, PHILLIP
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINGONE, HEATHER                        MINICA, VALERIE                       MINICHIELLO, CASANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINICK, CLAIRE                          MINICK, WOODROW                       MINICOZZI, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINICUCCI, KATHY                        MINIER, SARIM                         MINIET, OSCAR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MININ, BRONWYN                          MININGER, BETTY                       MINIX, AMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINJARES, DIANA                         MINK, BETHANY                         MINK, JOANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MINK, KALEB           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MINK, KATHRYN                    Page 3389   of 5495
                                                                           MINK, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MINK-ARNOLD, ASHLEIGH                MINKLER, AMY                           MINKOVICH, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MINKSTEIN, MARISSA                   MINNAERT, BRITTANI                     MINNARD, TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MINNESOTA DEPARTMENT OF PUBLIC       MINNESOTA DEPT OF LABOR AND INDUSTRY   MINNESOTA DEPT OF REVENUE
SAFETY ALCOHOL AND GAMBLING          443 LAFAYETTE RD N                     600 N ROBERT ST.
ENFORCEMENT DIVISION                 ST PAUL, MN 55155                      M/S 4130
445 MINNESOTA STREET                                                        SAINT PAUL, MN 55164-0622
SAINT PAUL, MN 55101



MINNICH, KEVIN                       MINNICH, LAURA                         MINNICH, NATALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MINNICH, ROSE                        MINNICK, CHRIS                         MINNICK, LYNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MINNIHAN, KAITLYN                    MINNITI, KIMBERLY                      MINNO-BINGHAM, KRISTEN
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MINNOW, JOSEPHINE                    MINO, ETHAN                            MINO, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MINOFF, ERIN                         MINOGUE, CATHERINE                     MINOGUE, KATIE
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MINOGUE, STEPHANIE                   MINOND, ALEXANDRA                      MINOR, ALYSSA
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MINOR, ANGIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MINOR, ANITA                     Page 3390
                                                                           MINOR, of 5495
                                                                                  BEVERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINOR, CASSANDRA                     MINOR, DANIE                          MINOR, DANIELLE
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MINOR, DIANA                         MINOR, DREW                           MINOR, KATHLEEN
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MINOR, KERRY                         MINOR, LANI                           MINOR, MARIA
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MINOR, NANCY                         MINOR, RYAN                           MINOTTI, ALLISON
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MINOZZI, JENIFER                     MINSAVAGE, DAVID                      MINSHEW, LISA
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MINSKEY, KARA                        MINTA, SANDY                          MINTER, CATHY
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MINTER, DORIS                        MINTER, GABRIELLE                     MINTER, KATHERINE
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MINTER, MARK                         MINTER, MICHAEL                       MINTER, WADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MINTO, KARA                          MINTO-COLEY, ANDRE                    MINTON, ASHLEY
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MINTON, CHELSEA       Case 22-11238-LSS
                                     MINTON,Doc 2 Filed 11/30/22
                                            GABRIELLE                 Page 3391  ofLYNN
                                                                           MINTON,  5495
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MINTON, PATRICIA                     MINTRONE, RENA                        MINTUN, ERIN
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MINTURN, BROOKE                      MINTZ, BENITHA                        MINTZ, CHRIS
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MINTZ, DONNA                         MINTZ, MATT                           MINTZ, MATT
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MINTZ, REBECCA                       MINTZ, SHEMIKA                        MINUK, SHAEL
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MINUTELLO, JAMES                     MINVIELLE, ELLE                       MINYARD, MONIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIODONSKI, KRISTIN                   MIOLA, CHRISTINE                      MIOLA, JAMES
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MIOTTO, NINA                         MIR, SARFARAJEY AKRAM                 MIRA, DANIELLE
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MIRA, JAIME                          MIRABAL, CALEB                        MIRABAL, MAYRA
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MIRABELLA, KATHRYN                   MIRABELLA, LAUREN                     MIRABELLA, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MIRABELLI, JENNA      Case 22-11238-LSS     Doc
                                     MIRABILE,    2 Filed 11/30/22
                                               GERALDINE              Page 3392  of JOSEPH
                                                                           MIRABILE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIRABILE, VINCENT                    MIRACLE, HEATHER                      MIRACLE, MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIRACLE, MEGAN                       MIRAFLORES WINERY                     MIRALLES-SNOW, LAUREN
ADDRESS AVAILABLE UPON REQUEST       2120 FOUR SPRINGS TRAIL               ADDRESS AVAILABLE UPON REQUEST
                                     PLACERVILLE, CA 95667




MIRANDA ANDERSON                     MIRANDA FORD                          MIRANDA SOFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIRANDA, ABIGAIL                     MIRANDA, AMANDA                       MIRANDA, CARLOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MIRANDA, CRISTY                      MIRANDA, GLORIA                       MIRANDA, JENNIFER
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MIRANDA, JOSE                        MIRANDA, JOSE                         MIRANDA, KERRIANNE
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MIRANDA, MARISSA                     MIRANDA, MELANIE                      MIRANDA, MICHAEL
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MIRANDA, MICHELLE                    MIRANDA, NYASIA                       MIRANDA, RAYNEISHIA
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MIRANDA, ROSA                        MIRANDA, SANDY                        MIRANDA, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MIRANDA, TAILYN       Case 22-11238-LSS    Doc 2 Filed
                                     MIRANDA-PARATORE,     11/30/22
                                                       ALESSANDRO        Page 3393  of CARLY
                                                                              MIRANDO, 5495
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MIRANTO, PATRICIA                    MIRAS, ANGEL                             MIRECKI, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIREK, KRISTEN                       MIRELES, JACKIE                          MIRELES, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIRELES, PAMELA                      MIRELES, STEPHANIE                       MIRELES-DEWEERT, CAROLYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIRENDA, SARAH                       MIRESKI, MORGAN                          MIREYA BANUELOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIRI KIM                             MIRIAM ACZEL, HOTEL INDIGO BOSTON        MIRIAM ACZEL, HOTEL INDIGO BOSTON
ADDRESS AVAILABLE UPON REQUEST       NEWTON RIVERSIDE                         ADDRESS AVAILABLE UPON REQUEST
                                     ADDRESS AVAILABLE UPON REQUEST




MIRIAM M ROMAN                       MIRIGLIANO, KATIE                        MIRIN, ALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIRINGU, GRACE                       MIRJA BAUER                              MIRLIANI, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIRMELSTEIN, JENNY                   MIRO, ANDI                               MIRON, ALAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MIROSLAV RADEVIC                     MIROYAN, CHRISTINA                       MIRPURI, AVNEESH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
MIRPURI, NIHAL        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MIRR, ROBERT                     Page 3394
                                                                           MIRRA, of 5495
                                                                                  ADRIANA
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MIRRA, CARLA                         MIRRIAM BLAIR                         MIRZA, ADAM
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MIRZABEGIAN, RAY                     MISCHLER, KATHLEEN                    MISCHLER, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MISCHO, FE                           MISCIA, ADRIANA                       MISCZAK, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MISCZAK, DIANE                       MISEGADIS, BRITTANY                   MISER, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MISERO, NICOLE                       MISHALL, SAMANTHA                     MISHCHUK, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MISHEEL ERDENETSOGT                  MISHRA, ANKITA                        MISHRA, SANJIB
907 S. KENNMORE AVE                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90006




MISHRA, SASWATA                      MISHRA, SHRIKANT                      MISHRA, VIPUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MISIAK, DANIELLE                     MISIAK, SHAELYN                       MISICH, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MISICO, ALEXANDRA                    MISIEWICZ, SARA                       MISKELL, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MISKELL, YOSHIMI      Case 22-11238-LSS     DocROSS
                                     MISKOVICH, 2 Filed 11/30/22        Page 3395  of 5495
                                                                             MISKOVSKA, MIRKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MISLAN, KELSEY                       MISLANG, ANN                             MISLANG, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MISLOVE, MIKE                        MISNER, MORGAN                           MISNIK, MEGAN
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MISPILKIN, ANIECA                    MISRA, ANITA                             MISRA, CELIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MISRA, THERESE                       MISRA, TUSHAR                            MISROK, ARIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MISSAN, HALEY                        MISSION BAR AND GRIL                     MISSION CHINESE FOOD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




MISSION GROWTH INVESTMENTS LLC       MISSISSIPPI DEPARTMENT OF                MISSISSIPPI DEPARTMENT OF REVENUE
24 BEGONIA LANE                      AGRICULTURE &                            ALCOHOLIC BEVERAGE CONTROL DIVISION
MONROE TOWNSHIP, NJ 08831            COMMERCE BUREAU OF REGULATORY            1286 GLUCKSTADT ROAD
                                     SERVICES                                 MADISON, MS 39110
                                     CONSUMER PROTECTION
                                     PO BOX 1609
                                     JACKSON, MS 39215

MISSISSIPPI DEPT OF EMPLOYMENT       MISSISSIPPI SECRETARY OF STATE           MISSISSIPPI SECURITIES DIVISION
SECURITY                             SECURITIES DIVISION                      125 S. CONGRESS STREET
OFFICE OF THE GOVERNOR               PO BOX 136                               JACKSON, MS 39201
1235 ECHELON PKWY                    JACKSON, MS 39205
PO BOX 1699
JACKSON, MS 39215-1699

MISSISSIPPI STATE TAX COMMISSION     MISSISSIPPI STATE TAX COMMISSION         MISSOURI DEPT OF LABOR AND
500 CLINTON CTR DR                   PO BOX 22808                             INDUSTRIAL RELATIONS
CLINTON, MS 39056                    JACKSON, MS 39225-2808                   421 E DUNKLIN ST
                                                                              PO BOX 59
                                                                              JEFFERSON CITY, MO 65102-0059



MISSOURI DEPT OF REVENUE             MISSOURI DIRECTOR OF REVENUE             MISSOURI DIVISION OF ALCOHOL AND
HARRY S TRUMAN STATE OFFICE BLDG     ADDRESS UNAVAILABLE AT TIME OF FILING    TOBACCO CONTROL
301 W HIGH ST, RM 102
JEFFERSON CITY, MO 65101
MISSPTV                  Case 22-11238-LSS    Doc 2 LLC
                                        MISSREMIASHTEN, Filed 11/30/22         Page 3396  of 5495
                                                                                    MISTALSKI, JACOB
2217 STANTON STREET                      C/O WEINTRAUB TOBIN                         ADDRESS AVAILABLE UPON REQUEST
FAYETTEVILLE, NC 28304                   10250 CONSTELLATION BLVD., STE 2900
                                         LOS ANGELES, CA 90067




MISTLER, ERIC                            MISTRETTA, NICOLE                           MISTRETTA, SHARON
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MISTRI, NIXIE                            MISTRIEL, GINGER                            MISTRY, AMY
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MISTRY, SAMIR                            MISTY EMERSON                               MISTY RODGERS
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MISURACA, CAITLIN                        MISURELLI, JILL                             MITACEK, PAULETTE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MITCH PHILLIPS                           MITCHAM, TARLEASE                           MITCHEL GODAT
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MITCHEL, KATIE                           MITCHELL ISAAC                              MITCHELL JR, GEORGE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MITCHELL KEELY                           MITCHELL SANABRIA                           MITCHELL SILBERBERG & KNUPP, LLC
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              2049 CENTURY PARK EAST 18TH FLOOR
                                                                                     LOS ANGELES, CA 90067




MITCHELL- STEPHENS, TAMMIE               MITCHELL WIESNER                            MITCHELL WINE GROUP - OREGON
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST              P.O. BOX 14628
                                                                                     PORTLAND, OR 97293




MITCHELL WINE GROUP LLC                  MITCHELL, ALIA                              MITCHELL, ALISON
211 SE MAIN                              ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
PORTLAND, OR 97214
MITCHELL, ALISON      Case 22-11238-LSS    Doc
                                     MITCHELL,   2 Filed 11/30/22
                                               AMANDA                 Page 3397  of 5495
                                                                           MITCHELL, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, AMBER                      MITCHELL, ANDREA                       MITCHELL, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, ANIKA                      MITCHELL, ANNA                         MITCHELL, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, APRIL                      MITCHELL, ASHLEY                       MITCHELL, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, BAILEY                     MITCHELL, BARBARA                      MITCHELL, BEN
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MITCHELL, BETH                       MITCHELL, BONNIE                       MITCHELL, BREE-ANA
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MITCHELL, BRIA                       MITCHELL, BRITTNEY                     MITCHELL, CARRIE
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MITCHELL, CASEY                      MITCHELL, CASSANDRA                    MITCHELL, CASSIE
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MITCHELL, CHARLOTTE                  MITCHELL, CHRIS                        MITCHELL, CHRIS
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MITCHELL, CHRIS                      MITCHELL, CHRISSY                      MITCHELL, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MITCHELL, CHVEN       Case 22-11238-LSS    Doc
                                     MITCHELL,    2 Filed 11/30/22
                                               CLARA                  Page 3398  of 5495
                                                                           MITCHELL, CLARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, CODY                       MITCHELL, COLIN                        MITCHELL, DANIEL
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MITCHELL, DANIELLE                   MITCHELL, DAVID                        MITCHELL, DAY
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MITCHELL, DELYNN                     MITCHELL, DONNA                        MITCHELL, DOROTHY
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MITCHELL, DYJUAN                     MITCHELL, EBONY                        MITCHELL, ED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, ELIZABETH                  MITCHELL, ELIZABETH                    MITCHELL, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, EMMA                       MITCHELL, ERIC                         MITCHELL, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, ERIN                       MITCHELL, FAYE                         MITCHELL, FELICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, FRANCES                    MITCHELL, FRANCESCA                    MITCHELL, GINNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, GLENNIS                    MITCHELL, GRANT                        MITCHELL, GREG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MITCHELL, GREGORY     Case 22-11238-LSS    Doc
                                     MITCHELL,   2 Filed 11/30/22
                                               HEATHER                Page 3399  of 5495
                                                                           MITCHELL, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, HEIDI                      MITCHELL, HENRY                        MITCHELL, HERBERT
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MITCHELL, JAMES                      MITCHELL, JAMES                        MITCHELL, JASMINE
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MITCHELL, JASMINE                    MITCHELL, JAYNIE                       MITCHELL, JAZMIN
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MITCHELL, JENNA                      MITCHELL, JESSI                        MITCHELL, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, JESSICA                    MITCHELL, JESSIE                       MITCHELL, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, JONATHAN                   MITCHELL, JONATHAN                     MITCHELL, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, JUSTIN                     MITCHELL, KAILYNN                      MITCHELL, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, KAREN                      MITCHELL, KASIE                        MITCHELL, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, KATHRYN                    MITCHELL, KATHY                        MITCHELL, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MITCHELL, KATIE       Case 22-11238-LSS    Doc
                                     MITCHELL,   2 Filed 11/30/22
                                               KAYLA                  Page 3400  of 5495
                                                                           MITCHELL, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, KENNETH                    MITCHELL, KERRI                        MITCHELL, KEYON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, KIMARA                     MITCHELL, KIMBERLY                     MITCHELL, LABRAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, LANDON                     MITCHELL, LAURA                        MITCHELL, LEIGH ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, LINDA                      MITCHELL, LOUISE                       MITCHELL, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, MADISON                    MITCHELL, MARC & TRICIA                MITCHELL, MARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MITCHELL, MARGARET                   MITCHELL, MARIA                        MITCHELL, MARY
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MITCHELL, MARY                       MITCHELL, MATT                         MITCHELL, MAXWELL
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MITCHELL, MEAGAN                     MITCHELL, MEGAN                        MITCHELL, MEGAN
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MITCHELL, MEGAN                      MITCHELL, MEGAUN                       MITCHELL, MELANIE
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MITCHELL, MELISSA     Case 22-11238-LSS    Doc
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                                                                           MITCHELL, MELISSA
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MITCHELL, MELISSA                    MITCHELL, MEREDITH                     MITCHELL, MIA
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MITCHELL, MICHAEL                    MITCHELL, MIRANDA                      MITCHELL, NANA AND PAPA
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MITCHELL, NATHANIA                   MITCHELL, NIABE                        MITCHELL, NICOLE
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MITCHELL, NIKITA                     MITCHELL, NOELLE                       MITCHELL, PATRICIA
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MITCHELL, REBEKAH                    MITCHELL, RHONDA                       MITCHELL, ROBERT
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MITCHELL, ROBERT                     MITCHELL, ROBYN                        MITCHELL, RORY
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MITCHELL, RYAN                       MITCHELL, RYAN                         MITCHELL, SALEH
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MITCHELL, SARA                       MITCHELL, SARAH                        MITCHELL, SARAH
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MITCHELL, SHELLY                     MITCHELL, SHENE                        MITCHELL, SIERRA
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MITCHELL, STEPHEN     Case 22-11238-LSS    Doc
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                                                                           MITCHELL, SYLVIA
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MITCHELL, TALIA                      MITCHELL, TARA                         MITCHELL, TASHA
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MITCHELL, TAYLOR                     MITCHELL, THOMAS                       MITCHELL, THOMAS
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MITCHELL, TIFFANY                    MITCHELL, TIFFANY                      MITCHELL, TRACEY
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MITCHELL, TRAVIS                     MITCHELL, VENUS                        MITCHELL, VYSHAEY
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MITCHELL, ZACHARY                    MITCHELL, ZACHARY                      MITCHELL-CHRIST, BRIGID
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MITCHELL-JONES, MARGARET             MITCHELL-LEGRO, BETHANY                MITCHELLSWAIN, BARBARA
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MITCHEM, JAMIE                       MITCHEOM, KATHLEEN                     MITCHEOM, LAUREN
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MITCHLER, SAMANTHA                   MITCHUM, CARRIE                        MITCHUM, MONICA
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MITCHUM, SANDY                       MITESH SHAH                            MITGANG, ALLISSA
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MITKAS, DANAE ZOE     Case 22-11238-LSS
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MITMAN, FRANK                        MITMAN, HAYDEN                         MITRANI, MORRY
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MITRI, DESIREE                       MITROVA, KARINA                        MITROVIC, KELLI
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MITROWSKI, LISA                      MITSCH, GWEN                           MITSCH, TERESA
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MITSCH, TIFFANY                      MITSCHELE, CHELSEA                     MITSCHOW, CHARLES
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MITSES, NICHOLAS                     MITSKY, JOANNE                         MITSUWA HAMADA-YA
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MITTAL, ERIKA                        MITTAL, SWAPNIL                        MITTELMAN, ARIEL
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MITTELMAN, TORI                      MITTELSTADT, SABRINA                   MITTELSTAEDT MANN, MARY
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MITTER, ANU                          MITTERANDO, KACIE                      MITTIGA, MATTHEW
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MITTLER, HALEY                       MITTMAN, BARBARA                       MITTMAN, KIMBERLY
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MITZEL, JANET                           MITZLAFF, ROBIN                        MITZNER, CARLA
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MIU, JOE                                MIX, RYAN                              MIX, TRAVIS
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MIXDORF, JON                            MIXER, AMANDA                          MIXER, KATIE
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MIXMAX, INC                             MIXON, CANDACE                         MIXPANEL, INC.
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MIXSON, JACQUELYN                       MIXSON, SPARKLE                        MIYAKO HOTEL LOS ANGELES
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MIYAMOTO, RYAN                          MIYAMOTO, TIONA                        MIYASATO, CHRISTEN
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MIYASHIRO, JANICE                       MIZANIN, JEANNE                        MIZE, GENIE
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MIZE, JORDAN                            MIZE, JULIA                            MIZE, MADISON
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MIZEE, CHAD                             MIZELL, DONNA                          MIZER, BRITTNEY
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                                                                            NEW YORK, NY 11201




MIZUMORI, SHERI                      MIZZI, BRETT                           MIZZO, RACHEL
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MLADENOVIC, LJILJA                   MLADOSICH, ULYSSES                     MLAMBO, BARBARA
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MLECZKO, LUDWIK                      MLFORD, ANGELA                         MLINARIK, NANCY
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MLNARIK, JEFF                        MN DEPT OF REVENUE                     MNICH, KAREN
ADDRESS AVAILABLE UPON REQUEST       600 ROBERT ST N                        ADDRESS AVAILABLE UPON REQUEST
                                     ST PAUL, MN 55101




MNYCH, REBECCA                       MO LI                                  MO, YUFU
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MOAD, IVAN                           MOAKE, HEATHER                         MOALLI, STEPHANIE
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MOAST, MEGAN                         MOATS, BENJAMIN                        MOATS, BRITTANY
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MOATS, MICHAEL                       MOATS, SANDY                           MOAWAD, ANDREA
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MOBASSERI, RAMIN                     MOBERG, MADDY                          MOBERG, RACHEL
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                                                                                  BOTTLING
12282 BLUEBIRD CANYON PL.             611 GREEN SAGE WAY                    705 1ST STREET S
LAS VEGAS, NV 89138                   KIRKLAND LAS VEGAS, NV 89138          KIRKLAND, WA 98033




MOBLEY, CARRIE                        MOBLEY, CHRISTINE                     MOBLEY, JASMINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOBLEY, STACEY                        MOBLEY-ALTICE, MARTINA                MOBUSI USA, INC.
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        600 WILSHIRE BLVD. SUITE 500
                                                                            LOS ANGELES, CA 90017




MOCCA, ROBIN                          MOCCIA, BRIANA                        MOCCIA, BRITTANY
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MOCCIO, SAMANTHA                      MOCERA, KIRA                          MOCERINO, ELISE
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MOCETE-WALKER, EMILY                  MOCHNACZ, KYLE                        MOCHTYAK, NANCY
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MOCK, CATHERINE                       MOCK, EMILY                           MOCK, HEATHER
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MOCK, KYLE                            MOCK, PAULINE                         MOCK, SHARON
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MOCK, TAYLOR                          MOCKAITIS, KARA                       MOCKAPETRIS, TRISHA
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MOCKBEE, SANDRA                       MOCKENSTURM, BOB                      MOCKLER, SARAH
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MOCKRIDGE, MARY       Case 22-11238-LSS    Doc
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                                                                                MOCZULSKI, CATHY
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MOD DISPLAYS                            MODAFFERI, AMY                           MODALI, ASHA
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MODDER, ARIAAN                          MODEL, DEBORAH                           MODENESI, DESIREE
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MODER, SHIRLEY                          MODEREGER, JEFF                          MODERN DEVELOPMENT COMPANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           3333 WEST COAST HWY, 4TH FLOOR
                                                                                 NEW PORT BEACH, CA 92663




MODERN GROUP LTD.                       MODERN HANDLING                          MODERN TALENT, INC
2051 DURHAM ROAD                        ADDRESS UNAVAILABLE AT TIME OF FILING    2110 LYNDALE AVE S STE A
BRISTOL, PA 19007                                                                MINNEAPOLIS, MN 55405




MODESITT, KATHERINE                     MODI, NEELAM                             MODI, NIKITA
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MODIC, JESSICA                          MODLIN, LISA                             MODOLO, KATELYN
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MODRAGON, JUDAY                         MODRELL, DEBBIE                          MODY, KATHERINE
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MODZEL, REGINA                          MODZIER, LUKE                            MOE, ANDREW
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MOE, CHAR                               MOE, GAVIN                               MOEBEST, CARI
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MOECKEL, JENNIFER     Case 22-11238-LSS
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                                                                           MOEHLING, DAWNETTE
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MOEHNKE, JASON                       MOEHRKE, GABRIELLE                    MOELLER, AARON
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MOELLER, CONSTANCE                   MOELLER, DANIEL                       MOELLER, DAPHNE
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MOELLER, DENISE                      MOELLER, HANNAH                       MOELLER, HEIDI
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MOELLER, JO ANNE                     MOELLER, KAREN                        MOELLER, LEA
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MOELLER, LESLEY                      MOELLER, MATT                         MOELLER, MAX
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MOELLER, MEGAN                       MOELLER, NANCY                        MOEN, ADRIANNE
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MOEN, DIANE                          MOEN, NATALIE                         MOEN, SHERYL
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MOENNICH, SALLY                      MOENNIG, SAMANTHA                     MOERBE, DENISE
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MOERMAN, WILLIAM                     MOES, TERESA                          MOESLEIN, KAYLEE
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MOFFA, CARMELENA      Case 22-11238-LSS
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MOFFAT, SARA                         MOFFATT, AMY                          MOFFATT, CORRIN
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MOFFATT, GUNNER                      MOFFATT, JAMIE                        MOFFATT, SCOTT
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MOFFET, JULIE                        MOFFET, KATHY                         MOFFETT, DANA
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MOFFETT, NICK                        MOFFETT, PATRICIA                     MOFFETT, SANDRA
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MOFFETT, SYDNEY                      MOFFITT, JACKIE                       MOFFITT, JIM
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MOFFITT, MARTHA                      MOFFITT, NANCY                        MOGA GESING, KATELYN
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MOGAJI, AMINA                        MOGANNAM, HANNA                       MOGENSEN, KRISTEN
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MOGENSEN, MURPHY                     MOGG, JENNIFER                        MOGHADDAM, ANNA
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MOGILEWSKY, DARYL                    MOHAL, KANIKA                         MOHAMED, ALANA
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MOHAMED, ALIA         Case 22-11238-LSS    Doc
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                                                                           MOHAMED, HOODO
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MOHAMMAD, IQBAL                      MOHAMMAD, SABA                        MOHAMMED S RAIS
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MOHAMMED SAYEEDUR RAIS               MOHAMMED, ALEXANDRA                   MOHAMMED, AMANI
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MOHAMMED, ELIZABETH                  MOHAN DANDAMUDI                       MOHAN, ANSHU
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MOHAN, DAMINI                        MOHAN, JAIMIE                         MOHAN, NICOLE
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MOHAN, PAIGE B.                      MOHAN, PAIGE                          MOHAN, PAIGE
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MOHAN, SHANNA                        MOHAN, TULIKA                         MOHAN, VEENA
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MOHANDESPOUR, JEN                    MOHANTY, NAMRATA                      MOHANTY, PALOMA
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MOHAPATRA, PREETI                    MOHAR, AMANDA                         MOHARIR, MINAL
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MOHASSEL, SASHA                      MOHEBI, TALA                          MOHEL, CATHLEEN
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MOHIMANI, STEVE       Case 22-11238-LSS    Doc
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MOHIT JAYASWAL                       MOHITKUMAR ARDESHANA                  MOHLENBROK, EMILY
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MOHLER, KIM                          MOHLER, LISA                          MOHLER, MATT
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MOHLER, RON                          MOHN, LISA AND THIERRY                MOHNS, REBECCA
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MOHONDRO, KELLY                      MOHORICH, ALYSSA                      MOHORICH, JESSICA
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MOHR, CHERYL                         MOHR, DANA                            MOHR, ELIZABETH
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MOHR, JEN                            MOHR, JENNIFER                        MOHR, JENNIFER
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MOHR, KAREN                          MOHR, KATLYN                          MOHR, KEVIN
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MOHR, LINDSAY                        MOHR, MACKENZIE                       MOHR, MAGGIE
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MOHR, MORGEN                         MOHR, STEPHANIE                       MOHRE, SARA
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MOHRIEN, MICHELE      Case 22-11238-LSS
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                                                                           MOHRMAN, MADELINE
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MOHRMANN, GAIL                       MOHRMANN, JOHN                        MOHRMANN, MACKENZIE
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MOHRWEIS, JENNA                      MOHS, ALEXIS                          MOHSSEN KALAEE
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MOHTA, AIYUSH                        MOIN, SHEIREEN                        MOINE, LAUREN
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MOINET, JACKIE                       MOIOLA, RICHARD S.                    MOIRANO, MEGAN
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MOISAN, JILL                         MOISE, CARL                           MOISE, CARL
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MOISES MASCORRO                      MOISIO, LINDSAY                       MOIST, STACI
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MOISTNER, LINDSEY                    MOITOSO, EDWARD                       MOJAY, DEBRA
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MOJICA, JESSI                        MOJICA, TIMOTHY                       MOJU-IGBENE, EYITEMI
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MOK, JESSICA                         MOKHTARIAN, LAUREN                    MOKOTOFF, ARLENE
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MOLAND, PAULA                        MOLCHAN, KIT                          MOLDASHEL, ERICA
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MOLDAVE, JACK                        MOLDE, MCKINZIE                       MOLDENHAUER, KAREN
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MOLDO, JORDAN                        MOLDOVAN, DENAE                       MOLDOW, ELIZA
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MOLE, LINDA                          MOLE, MARGUERITE                      MOLEA, CATHERINE
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MOLENDA, LAUREN                      MOLER, MORGAN                         MOLERA-KARHOFF, IVETTE
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MOLERO, SANTIAGO                     MOLESWORTH, BELINDA                   MOLETTIERE, LARA
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MOLIN, BRITTANY                      MOLINA PINEDA, MANUELA                MOLINA, AMANDA
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MOLINA, ANDREW                       MOLINA, ANGELA                        MOLINA, APRIL
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MOLINA, BRIAN                        MOLINA, CARI                          MOLINA, COLLEEN
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MOLINA, ELIVER                       MOLINA, EMELY                         MOLINA, GUARINA
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MOLINA, JAZMIN                       MOLINA, JAZMIN                        MOLINA, JAZMIN
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MOLINA, KYRA                         MOLINA, LINDSEY                       MOLINA, MARIA
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MOLINA, MARIA                        MOLINA, MERCEDES                      MOLINA, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOLINA, MONICA                       MOLINA, NATALIE                       MOLINA, OMAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOLINA, TIMOTHY                      MOLINA, YVETTE                        MOLINARI, ALEX
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MOLINARI, CRISTINA                   MOLINARI, ISABELLA                    MOLINARI, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOLINARI, SOPHIE                     MOLINARI, VICKI                       MOLINARO, CAITLIN
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MOLINARO, CARI                       MOLINARO, GABRIELLE                   MOLINE, ERIN
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MOLINE, SKYLER        Case 22-11238-LSS    Doc
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                                                                           MOLINERO, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MOLINO, CARLY                        MOLINSKY, MICHAEL                      MOLIOO, KENNY
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MOLIT, JOHN                          MOLITERNI, KRISTINA                    MOLITOR, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MOLITORIS, SARA                      MOLITSKY, CARLIE                       MOLKENBUHR, LISA
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MOLL, SHANE                          MOLLBERG, BRIANNA                      MOLLEMA, JOSH
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MOLLENKAMP, EMILY                    MOLLENKOPF, CATHERINE                  MOLLER, DEBBY
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MOLLER, TANYA                        MOLLER-ANDERSEN, EMMA                  MOLLERUS, CATHERINE
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MOLLES, MARIA                        MOLLESS, ALBERT                        MOLLETTA, STEPHANIE
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MOLLICA, THOMAS                      MOLLIE WOOLDRIDGE                      MOLLMAN, MARCI
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MOLLMARK, HANNAH                     MOLLNER, ALEXIS                        MOLLNER, APRIL
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MOLLO, COURTNEY       Case 22-11238-LSS
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MOLLOY, GLORIA                       MOLLOY, JAMES                         MOLLOY, LISA
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MOLLOY, MARILYN                      MOLLOY, MATTHEW                       MOLLOY, PATRICK
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MOLLY APPLEGATE                      MOLLY BROOKS                          MOLLY DELANEY
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MOLLY DUFFY                          MOLLY FRANCIS SKONIECZNY              MOLLY GUTHRIE
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MOLLY J LEEN                         MOLLY JOHNSON                         MOLLY MARGARET CHANEY
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MOLLY MCMILLIN                       MOLLY ROSE SPEED, JORDAN              MOLLY STELL
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MOLLY WALLRICH                       MOLLY, CLOSE,                         MOLNAR, ALEXIS
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MOLNAR, ANNA                         MOLNAR, CAMDEN                        MOLNAR, DAWN
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MOLNAR, GLORIA                       MOLNAR, JENNIFER                      MOLNAR, MELINDA
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MOLNAR, VERONIKA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MOLO, MADELINE                   Page 3417 of 5495
                                                                           MOLONEY, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOLONEY, HOLLY                       MOLONEY, JOANNA                       MOLONEY, MADELYNE
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MOLONEY, MARIA                       MOLONEY, MARYANN                      MOLONY, CATHERINE
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MOLPUS, SHEALY                       MOLSBERRY, SAMANTHA                   MOLSON, CORINNE
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MOLSON, STEPHENEE                    MOLT, KAY                             MOLTER, AMY
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MOLTER, CARMON                       MOLTER, MINDY                         MOLTZ, ROBERT
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MOLTZEN, STEPHEN                     MOLUSH, JUSTIN                        MOLYNEAUX, KATHLEEN
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MOLYNEAUX, STEPHANIE                 MOLYNEUX, BRONTE                      MOLZAHN, CHRISTIAN
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MOM AND DAD GAUL, TOM AND KATE       MOMAN, JOJO                           MOMAN, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOMBER, SIMON                        MOMBERG, JOHN                         MOMBERG, YULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOMEN, MANA           Case 22-11238-LSS     DocBEVERAGE
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                                                                              MOMEYER, ALAN
ADDRESS AVAILABLE UPON REQUEST       105 PRAIRIE LAKE RD, STE B               ADDRESS AVAILABLE UPON REQUEST
                                     EAST DUNDEE, IL 60118




MOMIN, NISHA                           MOMJIAN, JOE                           MOMMSEN, TALEATHA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MOMMY DEAREST, INC.                    MOMMY NEAREST, INC.                    MOMOH, LUCIA
13045 PACIFIC PROMENADE 118            545 MADISON AVE, STE 600               ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90094                  NEW YORK, NY 10022




MOMONO, HANAKO                         MOMPLAISIR, ESTHER                     MONA KANTOR
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONACELLI, JAMES                       MONACO, ANDREA                         MONACO, ANNA
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MONACO, CULLEN                         MONACO, DEB                            MONACO, DENISE
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MONACO, GEENA                          MONACO, ISABELLA                       MONACO, JAMIE
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MONACO, NICK                           MONACO, TISHA                          MONAGHAN, ANN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONAGHAN, BRIDGETTE                    MONAGHAN, CAITLYN                      MONAGHAN, CHARLI
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONAGHAN, CLAIRE                       MONAGHAN, DAVID                        MONAGHAN, JONATHAN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MONAGHAN, LAUREN      Case 22-11238-LSS    DocLISA
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                                                                           MONAGHAN, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONAGHAN, ROSEMARY                   MONAHAN LAW OFFICE                    MONAHAN, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       4712 ADMIRALTY WAY 349                ADDRESS AVAILABLE UPON REQUEST
                                     MARINA DEL REY, CA 90292




MONAHAN, BECKY                       MONAHAN, CASEY                        MONAHAN, CEIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONAHAN, CHARLES                     MONAHAN, CHRISTINE                    MONAHAN, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONAHAN, ELIZABETH                   MONAHAN, HEATHER                      MONAHAN, JAMES
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MONAHAN, JILL                        MONAHAN, KATE                         MONAHAN, LISE
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MONAHAN, LIZZIE                      MONAHAN, MARIA                        MONAHAN, MARIAH
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MONAHAN, MARY-HAVEN                  MONAHAN, MIKE                         MONAHAN, PAMELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONAHAN, REBECCA                     MONAL, DAYANA                         MONALDO, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONARCH STUDIOS LLC (MONVERA GLASS   MONARCH, MARILYN                      MONAREZ, AMANDA
DECOR)                               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
1414 HARBOUR WAY SOUTH, SUITE 1400
RICHMOND, CA 94804
MONARI, ERIN          Case 22-11238-LSS
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                                            MANUEL                    Page 3420 of 5495
                                                                           MONASTERO, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONASTYRSKAYA, TATIANA               MONCADO, KRISTA                       MONCEL, HEATHER
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MONCIBAIZ, JESSICA                   MONCLA, CLAIRE                        MONCONDUIT, LASHAUN
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MONCRIEF, KELLEY LYNNE               MONCRIEF, MEGAN                       MONCRIEFF, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONCRIEFFE, RAYNA                    MONDALE FORONDA                       MONDAY, DENISE
ADDRESS AVAILABLE UPON REQUEST       TWELEVEZEROSEVEN                      ADDRESS AVAILABLE UPON REQUEST
                                     3111 4TH STREET 202
                                     SANTA MONICA, CA 90405




MONDAY, JENNA                        MONDAY, KATHERINE                     MONDEAU, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONDEAUX, HENRY                      MONDELLI, CARISSA                     MONDELLO, PATRICK
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MONDESTIN-DUNCAN, STEPHANIE          MONDIDO, SHERON                       MONDOCK, RICHARD
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MONDOK, MATTHEW                      MONDORA, CHARLES                      MONDORA, WILLIAM
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MONDORFF, REBECCA                    MONDRAGON SUAREZ, NALLELY             MONDRIAN SKY BAR
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MONDS, LOGAN          Case 22-11238-LSS
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MONE, MATTHEW                        MONELLO, CHRISTINE                      MONEME, ODIMEGWU
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MONEO, LAURENCE                      MONES, ERICA                            MONES, JANELLA MARIE
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MONESTIME, KENDRICK                  MONESTIME, WILSON                       MONET CHANTAL HERRSCHER MAXWELL
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MONET, SAGE                          MONETS DELI                             MONETTA, LISA
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MONEY, BRENNAN                       MONEY, CRAIG                            MONEY, NIKKI
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MONEYHAN, STEPHEN                    MONFORTE, MICHELLE                      MONGA, KAYLEE
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MONGAN, SHEILA                       MONGAR, HARKA                           MONGE, JACQUELINE
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MONGELOS, NORMA                      MONGER, CHRISTIN                        MONGILIA, OLIVIA
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MONGILLO, ANGELA MICHELLE            MONGILLO, BAILEY                        MONGILLO, MACKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MONGOVEN, JENNIFER    Case 22-11238-LSS    Doc
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                                                                           MONGRUE, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONHART, KATIE                       MONI, CAMILA                          MONICA ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONICA ENGELHARDT                    MONICA HEWITT                         MONICA LINDSAY
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MONICA LYNN SMITH                    MONICA MARIN-SPICHER                  MONICA, TYLER
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MONICA, ZAFFARANO                    MONICO, JESSICA                       MONICO, JONATHAN
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MONICO, KELLY                        MONICO, SHARON                        MONIGER, JENNA
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MONIN, PHILIPPE                      MONINA, CASTILLO,                     MONING, MARIA
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MONING, RACHEL                       MONIQUE CLARK                         MONIQUE DOMIAN
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MONIQUE R ELIEZER                    MONIQUE, DENTREMONT,                  MONIQUE, PATIENCE
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MONIQUE, TASHA                       MONISMITH, ALAINA                     MONISOFF, JENNA K
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MONIZ, JOCELYN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MONIZ, LAUREN                     Page 3423
                                                                            MONIZ, of 5495
                                                                                   MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONIZ, MICHELLE                      MONJURE, APRIL                         MONK, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONK, KIMBERLY                       MONK, KYLE                             MONK, MICHELE
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MONK, ROBERT                         MONK, SAMANTHA                         MONK, SHENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONKARSH, JASON                      MONKEY BUSINESS LLC (FE DESIGN)        MONKMAN, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       327 E 2ND ST 222                       ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90012




MONKO, BRANDON                       MONKS, LAURANCE                        MONKS, SOINNEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONKS, TRISTAN                       MONNE, STEPHANIE                       MONNERJAHNMONNERJAHN, MADISON
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MONNET, LINDSAY                      MONNIER, AUBRY                         MONNIG, ASHLEY
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MONNING, EMILY                       MONNINGER, KORINE                      MONOPRICE
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MONOXELOS, KATHIE                    MONREAL, MELISSA                       MONRIAN, SPENCER
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                                                                           MONROE  5495 III
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MONROE, BRITTANY                     MONROE, DEBORAH                       MONROE, DESIREE
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MONROE, ERIC                         MONROE, GABRIELA                      MONROE, GWENDOLYN
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MONROE, JOHN                         MONROE, KAREN                         MONROE, KIM
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MONROE, LEAH                         MONROE, MARY ANN                      MONROE, MECHELLE
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MONROE, MEREDITH                     MONROE, MICHAEL                       MONROE, MICHAELA
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MONROE, NANCY                        MONROE, RACHEL                        MONROE, ROBERT
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MONROE, SAMANTHA                     MONROIG, ALICIA                       MONROY, PHILLIP
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MONSALVE, LAURA                      MONSEES, JENNIFER                     MONSEN, PETER
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MONSEN, RYAN                         MONSERAT, DEBORAH                     MONSERRATE, JILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MONSERRATE, LUZ       Case 22-11238-LSS    Doc 2TREMAINE
                                     MONSHIZADEH,    Filed 11/30/22     Page 3425  of 5495
                                                                             MONSILOVICH, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




MONSON, COLE                           MONSON, HEATHER                        MONSON, KATIE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONSON, LYNDA                          MONSON, RHEA                           MONSOUR, PAT
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MONTABANA, MEGAN                       MONTAG, JONATHAN                       MONTAGANO, STEPHANIE
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MONTAGUE, ALEXANDRA                    MONTAGUE, ALICE                        MONTAGUE, DANIELLE
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MONTAGUE, EMMA                         MONTAGUE, MAX                          MONTALBANO, ANTHONY
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MONTALBANO, NICOLE                     MONTALBANO, SARAH                      MONTALBANO, STEVEN
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MONTALTO, ALY                          MONTALTO, KATIE                        MONTALVO, CARINA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTALVO, HECTOR                       MONTALVO, IVETTE                       MONTAMBO, KATHY KATHY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTANA COMMISSIONER OF SECURITIES &   MONTANA DEPARTMENT OF REVENUE          MONTANA DEPT OF LABOR AND INDUSTRY
INSURANCE                              LIQUOR CONTROL DIVISION                PO BOX 1728
840 HELENA AVE.                        PO BOX 1712                            HELENA, MT 59624-1728
HELENA, MT 59601                       HELENA, MT 59624-1712
                      Case 22-11238-LSS
MONTANA DEPT OF REVENUE              MONTANADoc  2 OFFiled
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                                                                           MONTANA 5495 LICENSE BUREAU
PO BOX 5805                          SAM W MITCHELL BLDG                   MONTANA DEPARTMENT OF REVENUE PO
HELENA, MT 59604-5805                125 N ROBERTS, 3RD FL                 BOX 1712
                                     HELENA, MT 59601                      HELENA, MT 59624-1712




MONTANA OFFICE OF CONSUMER           MONTANA OFFICE OF CONSUMER            MONTANA STATE AUDITOR, SECURITIES
PROTECTION                           PROTECTION                            COMM.
OFFICE OF CONSUMER PROTECTION        OFFICE OF CONSUMER PROTECTION         STATE AUDITORS OFFICE SECURITIES DEPT
555 FULLER AVE                       PO BOX 200151                         840 HELENA AVENUE
HELENA, MT 59601-3394                HELENA, MT 59620-0151                 HELENA, MT 59601



MONTANA, COLLEEN                     MONTANA, JOHN                         MONTANARI, MARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTANER, ANA                        MONTANEZ, AMY                         MONTANEZ, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTANEZ, TONI                       MONTANILE, KIMBERLY                   MONTANO, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTANO, MICHELLE                    MONTANO, REBECCA                      MONTANO, STEFANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTANO-LOPEZ, AMELIA                MONTANYE, TIM                         MONTAQUE, SHERAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTAVON, NATASHA                    MONTE LUEHLFING                       MONTE, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEAGUDO, LAURA                    MONTECALVO, PETER                     MONTE-CHRISTO, KATARZYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEER, LINDI                       MONTEER, REBECCA                      MONTEGNA, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MONTEGRICO, GIAN      Case 22-11238-LSS    Doc
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                                                                           MONTEIRO, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEIRO, DANIELLE                   MONTEIRO, KATHERINE                   MONTEIRO, KIELY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEIRO, SHEILA                     MONTEIRO, TIERRA                      MONTEITH, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEITH, JOHN                       MONTEITH, KELSEY                      MONTEITH, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTELEONE, LINDY                    MONTELIBANO, ANTOINETTE               MONTELIONE, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTELLI, SUSAN                      MONTEMARANO, LAURAINE                 MONTEMARANO, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEMAYOR, LISA                     MONTEMAYOR, MARY GRACE                MONTEMBEAULT, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTENEGRO, MARITZA                  MONTER, IVAN                          MONTERO, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTERO, GERARDO                     MONTERO, KRISTEN                      MONTERO, SHAUN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEROSSO, DIANNE                   MONTERROSA, ALEX                      MONTERROSA, ARMANDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MONTERROSA, JORGE     Case 22-11238-LSS
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                                                                           MONTES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTES, CRISTOBAL                    MONTES, DENISE                        MONTES, DENNIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTES, GENESSEE                     MONTES, ILIANA                        MONTES, JANELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTES, JOHANNA                      MONTES, KARINA                        MONTES, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTES, LINDA                        MONTES, REINA                         MONTES, SALVADOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTES, YANELI                       MONTESARCHIO, LAUREN                  MONTESI, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTESINOS, CATHERINE                MONTESINOS, DIANA                     MONTESION, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEVERDE, LEONARDO                 MONTEVERDE, NATHANIEL                 MONTEZ, KURSTYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTEZINOS, JOSEPH                   MONTEZ-WELCH, CASSANDRA               MONTFORD, MANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERIE, KATIE                   MONTGOMERY COUNTY ALCOHOL             MONTGOMERY, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       BEVERAGE SERVICES                     ADDRESS AVAILABLE UPON REQUEST
                                     201 EDISON PARK DRIVE
                                     GAITHERSBURG, MD 20878
MONTGOMERY, ALINA     Case 22-11238-LSS    Doc 2AMYFiled 11/30/22
                                     MONTGOMERY,                      Page 3429 of 5495ANDREW
                                                                           MONTGOMERY,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, ASHLEY                   MONTGOMERY, BRETT                     MONTGOMERY, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, CAMERON                  MONTGOMERY, CARLEE                    MONTGOMERY, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, CHRISTINA                MONTGOMERY, DAVID                     MONTGOMERY, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, DAVID                    MONTGOMERY, DEJA                      MONTGOMERY, DOUG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, EGAN                     MONTGOMERY, ELAINE                    MONTGOMERY, EMMALI
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MONTGOMERY, IAN                      MONTGOMERY, JAMES                     MONTGOMERY, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, JUDY                     MONTGOMERY, JULIE                     MONTGOMERY, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, KAITLIN                  MONTGOMERY, KATE                      MONTGOMERY, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, KATHERINE                MONTGOMERY, KATIE                     MONTGOMERY, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MONTGOMERY, LEAH      Case 22-11238-LSS    Doc 2LEAH
                                     MONTGOMERY,     Filed 11/30/22   Page 3430 of 5495LIBBY
                                                                           MONTGOMERY,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, LINDSAY                  MONTGOMERY, LYDIA                     MONTGOMERY, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, MARY                     MONTGOMERY, MEGAN                     MONTGOMERY, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, MISHA                    MONTGOMERY, PAUL                      MONTGOMERY, R
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, REBECCA                  MONTGOMERY, ROBERTA                   MONTGOMERY, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, SARA                     MONTGOMERY, SCOTT                     MONTGOMERY, SHERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTGOMERY, TOM                      MONTGOMERY-RICE, MORGAN               MONTIALBANO, FRANCESCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTIEL, ANNA                        MONTIEL, CRISTINA                     MONTIEL, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTIJO, MARISSA                     MONTILLA, SEAN                        MONTILUS, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MONTIMURRO, MP                       MONTINA, ROSEBABY                     MONTINI, LILI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MONTMORENCY, KATHY    Case 22-11238-LSS    DocKATHRINA
                                     MONTONDO,  2 Filed 11/30/22      Page 3431 of 5495
                                                                           MONTONEY, CYNTHIA C
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTONEY, CYNTHIA                    MONTONEY, LORETTA                      MONTORO, OLINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTOYA, BLAIRE                      MONTOYA, DOMINIQUE                     MONTOYA, ELYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTOYA, ERICA                       MONTOYA, ERIKA                         MONTOYA, JOSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTOYA, JUAN PABLO                  MONTOYA, KATIE                         MONTOYA, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTOYA, MAGGIE                      MONTOYA, MARISOL                       MONTOYA, MIRANDA
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MONTOYA, MITZY                       MONTOYA, PABLO                         MONTOYA, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTOYA, ROXANNA                     MONTOYA, ROXANNA                       MONTPETIT, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTROSE, STEPHEN                    MONTROSE, STEPHEN                      MONTROSS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MONTROSS, NINA                       MONTSERRAT, CASSONDRA                  MONTUFAR, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MONTUSCHI, NICOLA     Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     MONTY CONGDON                      Page 3432
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                                                                                   CORBET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MONZON VILLEGAS, DANIELA             MONZON, MICHELLE                        MONZON, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MONZON, ROQUE                        MOO INC PRINTING                        MOOCK, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




MOODIE, CAROLYN                      MOODIE, RACHEL                          MOODT, CANDACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOODY, ADRIENNE                      MOODY, ANN                              MOODY, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOODY, BRETT                         MOODY, BROOKES                          MOODY, CAMILLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOODY, CHERIE                        MOODY, DEANGELO                         MOODY, DOROTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOODY, EMILY                         MOODY, ERIKA                            MOODY, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOODY, HANNAH                        MOODY, HANNAH                           MOODY, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOODY, JOHN                          MOODY, KATHLEEN                         MOODY, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MOODY, KRYSTAL        Case 22-11238-LSS
                                     MOODY,Doc  2 Filed 11/30/22
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                                                                                  LARACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOODY, NICOLE                        MOODY, ROBERT                         MOODY, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOODY, SARA                          MOODY, SHAILA                         MOODY, SIMONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOODY, STACEY                        MOODY, STEPHANIE                      MOODY-FORD, JOSHUA CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOOERS, BARRY                        MOOERS, WALTER                        MOOK, HANNAH
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MOOKERJEE, TRINA                     MOOKOWSKI, BIBBLE                     MOOMAW, SARAH
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MOON DISTRIBUTORS INC.               MOON DISTRIBUTORS, INC.               MOON RAESS, KATE
2800 VANCE STREET                    2800 VANCE STREET                     ADDRESS AVAILABLE UPON REQUEST
LITTLE ROCK, AR 72206                LITTLE ROCK, AR 72206




MOON, ALESHA                         MOON, ALEX                            MOON, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOON, ANNE                           MOON, ASHLEY                          MOON, DANIELLE
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MOON, ERIN                           MOON, GARY                            MOON, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOON, IRIS            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MOON, JAY                        Page 3434  of 5495
                                                                           MOON, JEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOON, KACIE                          MOON, KATHERINE                       MOON, KATHLEEN
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MOON, KATIE                          MOON, KRISTAL                         MOON, LESLIE
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MOON, LYNN                           MOON, MARIA                           MOON, RACHAEL
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MOON, SANDRA                         MOON, SHINEH                          MOON, WILLY
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MOONAN, CRISTINE                     MOONEY MARTIN, ERIN                   MOONEY, AMBER
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MOONEY, AMY                          MOONEY, ANNA                          MOONEY, BRANDI
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MOONEY, BRI                          MOONEY, BRIDGETTE                     MOONEY, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOONEY, CHELSEA                      MOONEY, CHRISTOPHER                   MOONEY, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOONEY, HANNAH                       MOONEY, HEATHER                       MOONEY, HOPELYN & KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOONEY, JASON         Case 22-11238-LSS    Doc
                                     MOONEY,      2 Filed 11/30/22
                                             JILLIAN                  Page 3435 of KATHLEEN
                                                                           MOONEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOONEY, KIRSTEN                      MOONEY, LAURA                         MOONEY, LEIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOONEY, MARISSA                      MOONEY, MARTINA                       MOONEY, NICOLE
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MOONEY, TESS                         MOONEY, THOMAS                        MOOR, CHERICE
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MOORADIAN, KELLI                     MOORE III, RAYMOND                    MOORE MEILAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE ST., 3974                      MOORE                                 MOORE, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, ADRIANNA                      MOORE, ADRIANNA                       MOORE, AILEEN
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MOORE, ALEX                          MOORE, ALEXANDRA                      MOORE, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, ALISON                        MOORE, ALYSSA                         MOORE, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, AMANDA                        MOORE, AMY                            MOORE, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOORE, AMY            Case 22-11238-LSS
                                     MOORE,Doc  2 Filed 11/30/22
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                                                                           MOORE,of 5495
                                                                                  ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, ANNABELLE                     MOORE, ANYA                           MOORE, ASHLEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, ASHLEY                        MOORE, ASHLEY                         MOORE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, ASHLEY                        MOORE, ASHLYN                         MOORE, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, BETH                          MOORE, BRADY                          MOORE, BREE
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MOORE, BRENDA                        MOORE, BRENDA                         MOORE, BRIANA
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MOORE, BRIDGED                       MOORE, BRIDGET                        MOORE, BRIDGET
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MOORE, BROOKE                        MOORE, BROOKE                         MOORE, CAMERON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, CARL                          MOORE, CARLY                          MOORE, CARMEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, CAROL                         MOORE, CAROL                          MOORE, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOORE, CAROLINE       Case 22-11238-LSS
                                     MOORE,Doc  2 Filed 11/30/22
                                           CAROLINE                   Page 3437
                                                                           MOORE,of 5495
                                                                                  CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, CAROLYN                       MOORE, CASEY                          MOORE, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, CATHY                         MOORE, CELINE                         MOORE, CHANDLER
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MOORE, CHERYL                        MOORE, CHRISTIANNA                    MOORE, CHRISTINA
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MOORE, CHRISTOPHER                   MOORE, CHRISTOPHER                    MOORE, CHRISTOPHER
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MOORE, CHRISTY                       MOORE, CINDY                          MOORE, COLLINS
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MOORE, CORINA                        MOORE, CREE                           MOORE, CYNTHIA
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MOORE, DANIELA                       MOORE, DANIELLE                       MOORE, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, DAVID                         MOORE, DEBORAH                        MOORE, DEBORAH
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MOORE, DEBRA                         MOORE, DESTINY                        MOORE, DILLION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOORE, DIONNE         Case 22-11238-LSS
                                     MOORE,Doc  2 Filed 11/30/22
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                                                                           MOORE,of 5495
                                                                                  ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MOORE, ELIZABETH                     MOORE, ELLEN                           MOORE, EMILY
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MOORE, EMILY                         MOORE, EMILY                           MOORE, EMILY
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MOORE, EMILY                         MOORE, EMMA                            MOORE, ERENDIRA
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MOORE, ERIKA                         MOORE, ERIN                            MOORE, FOSTER
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MOORE, FRANCES                       MOORE, GABRIELLE                       MOORE, GENESIS
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MOORE, GILLIAN                       MOORE, GRETCHEN                        MOORE, GRETCHEN
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MOORE, GWENDOLYN                     MOORE, HALIE                           MOORE, HANNAH
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MOORE, HARMONY                       MOORE, HAYDEN                          MOORE, HEATHER
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MOORE, III, THEL                     MOORE, JAKE                            MOORE, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MOORE, JAMES          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, JANICE                        MOORE, JASON                          MOORE, JAYNE
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MOORE, JEANNINE                      MOORE, JEFFREY                        MOORE, JENISE
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MOORE, JENNA                         MOORE, JENNA                          MOORE, JENNIFER
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MOORE, JENNIFER                      MOORE, JENNIFER                       MOORE, JENNIFER
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MOORE, JERI                          MOORE, JESSICA                        MOORE, JESSICA
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MOORE, JESSICA                       MOORE, JESSICA                        MOORE, JESSICA
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MOORE, JESSICA                       MOORE, JING                           MOORE, JOHANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, JOSHUA                        MOORE, JOSHUA                         MOORE, JOYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, JOYCE                         MOORE, JULIANA                        MOORE, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOORE, JUNE AND DON   Case 22-11238-LSS
                                     MOORE,Doc  2 Filed 11/30/22
                                           JUSTIN                     Page 3440
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, KAITLIN                       MOORE, KAMI                           MOORE, KAREN
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MOORE, KASEY                         MOORE, KATELIN                        MOORE, KATELYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, KATHERINE                     MOORE, KATHERINE                      MOORE, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, KAYHLA                        MOORE, KAYLA                          MOORE, KEISHA
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MOORE, KELLI                         MOORE, KENDALL                        MOORE, KENNETH
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MOORE, KERMESHIA                     MOORE, KERRI                          MOORE, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, KIM                           MOORE, KIM                            MOORE, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, KIMBERLI                      MOORE, KRISTEN                        MOORE, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, KRISTIN                       MOORE, KRISTIN                        MOORE, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOORE, KRISTINA       Case 22-11238-LSS
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                                                                           MOORE,of 5495
                                                                                  KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, KYRAH                         MOORE, LASHAWN                        MOORE, LAUREL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, LAUREN                        MOORE, LAURIE                         MOORE, LEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, LEIGH                         MOORE, LINDSAY                        MOORE, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, LISA                          MOORE, LISA                           MOORE, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, LIZZIE                        MOORE, LOUNORA                        MOORE, LYNDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MADDIE                        MOORE, MANDY                          MOORE, MARCHANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MARGARET                      MOORE, MARIA                          MOORE, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MARIE                         MOORE, MARISSA                        MOORE, MARNYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MARTHA                        MOORE, MARY ANNE                      MOORE, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOORE, MEGAN          Case 22-11238-LSS
                                     MOORE,Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MELISSA                       MOORE, MELODY                         MOORE, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MICHAEL                       MOORE, MICHAEL                        MOORE, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MICHELLE                      MOORE, MICHELLE                       MOORE, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MILAN                         MOORE, MOLLY                          MOORE, MONTAYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, MONTE                         MOORE, NAKISHA                        MOORE, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, NATALYA                       MOORE, NATHAN                         MOORE, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, NICHOLE                       MOORE, NICOLE                         MOORE, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, NICOLE                        MOORE, NICOLE                         MOORE, NIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, NOKITA                        MOORE, OLIVIA                         MOORE, OLYMPIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOORE, PAISLEY        Case 22-11238-LSS
                                     MOORE,Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, PATTY                         MOORE, PENNY                          MOORE, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, PEYTON                        MOORE, R                              MOORE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, RAJY                          MOORE, RANEE                          MOORE, RAVEN
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MOORE, RENAE                         MOORE, RHONA                          MOORE, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, RILEY                         MOORE, ROBERT                         MOORE, ROBERTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORE, ROBIN                         MOORE, RONALD                         MOORE, RYAN
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MOORE, SAMANTHA                      MOORE, SAMUEL                         MOORE, SANDRA
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MOORE, SARA                          MOORE, SARAH                          MOORE, SARAH
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MOORE, SARAH                         MOORE, SARAH                          MOORE, SARAH
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MOORE, SARAH          Case 22-11238-LSS
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MOORE, SATERAH                       MOORE, SHAKIRA                        MOORE, SHANNON
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MOORE, SHANNON                       MOORE, SHANNON                        MOORE, SHANNON
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MOORE, SHARI                         MOORE, SHAWNA                         MOORE, SHEENA
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MOORE, SHEILA                        MOORE, SHEILA                         MOORE, SOPHIE
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MOORE, SPENCER                       MOORE, STACEY                         MOORE, STEPHANIE
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MOORE, STEPHANIE                     MOORE, STEVE AND DIANE                MOORE, STEVEN CHAD
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MOORE, SUSAN                         MOORE, SUSAN                          MOORE, SUZANNE
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MOORE, SYDNEY                        MOORE, SYLVIA                         MOORE, TARA
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MOORE, TAYLOR                        MOORE, TAYLOR                         MOORE, THERESA
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MOORE, TIFFANY        Case 22-11238-LSS
                                     MOORE,Doc  2 Filed 11/30/22
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MOORE, TOBIN                         MOORE, TODD                           MOORE, TRICIA
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MOORE, VERA                          MOORE, VERONICA                       MOORE, WENDY
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MOORE, WILLIAM                       MOORE, WILLIAM                        MOORE, WINIFRED
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MOOREFIELD, ADAIR                    MOOREFIELD, KALLIE                    MOORE-GILLON, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOORELAND, RACHEL                    MOORE-PETTIT, APRIL                   MOORER, BEVERLY
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MOORER, CLAIRE                       MOORER, HARTLEY                       MOORER, JEREMIAH
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MOORER, KORECO                       MOORE-ROUNDS, MARIAN                  MOORES, AMY
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MOORES, BRITTANY                     MOORES, MARJORIE                      MOORES, SHAUNA
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MOORE-YOUNG, CHRISTINE               MOORHEAD, LISA                        MOORHEAD, NATALIE
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MOORHEAD, ROBIN       Case 22-11238-LSS    DocSTEPHEN
                                     MOORHEAD,  2 Filed 11/30/22      Page 3446 of 5495
                                                                           MOORHOUSE, MEGAN
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MOORING, SHANNON                     MOORLACH, DANIEL                      MOORLEY, SUBRINA
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MOORMAN, ANDREW                      MOORMAN, KIMBERLY                     MOORRE, RABECKA
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MOORTHIYEDATH, SADEEP                MOOSE, BARRY                          MOOTAFIAN, DENISE
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MOOTREY, MAUREEN                     MOOTZ, HARALD                         MOOY, KAY
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MOOYMAN, OLIVER                      MOOZHIKULAM, SACHIN                   MORA, ALEXANDRA
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MORA, CAMERON                        MORA, CARMEN                          MORA, EVA
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MORA, GABRIEL                        MORA, JADE                            MORA, JAVIER
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MORA, KARLA                          MORA, KIM                             MORA, MARICELA
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MORA, MELISSA                        MORA, MICHELLE                        MORA, PAOLA
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MORA, SONDRA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MORA, STEPHANIE                  Page 3447 of 5495
                                                                           MORABITO, CHRISTINE
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MORABITO, DAVID                      MORABITO, LISA                         MORABITOS, DANIELLE
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MORADA, DIANE-NICOLE                 MORADA, ROBERT                         MORADO, SHANNON
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MORAES, CARLINE                      MORAGNE, JACQUELINE                    MORAIDA, GINA
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MORAIN, KIMBERLY                     MORAKIS, SAMMI                         MORALES ROSADO, WILNELYA
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MORALES, ALANA                       MORALES, ALANA                         MORALES, ALEJANDRA
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MORALES, ALESA                       MORALES, ALYSSA                        MORALES, AMANDA
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MORALES, AMANDA                      MORALES, ANALISA                       MORALES, ANNE
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MORALES, BEA                         MORALES, BRITTANIE                     MORALES, CAROLYN
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MORALES, CAROLYN                     MORALES, DAKOTA                        MORALES, DANIELLE
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MORALES, EFRAIN       Case 22-11238-LSS    Doc
                                     MORALES,    2 Filed 11/30/22
                                              ELSA                    Page 3448 of 5495
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MORALES, FARHANA                     MORALES, FRANCISCA                    MORALES, HERIBERTO
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MORALES, HUGO                        MORALES, JANA                         MORALES, JENNIFER
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MORALES, JESUS                       MORALES, JIMMY                        MORALES, JOSE
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MORALES, KATIA                       MORALES, KERVIN                       MORALES, KIMANI
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MORALES, KYLE                        MORALES, LAURA                        MORALES, LAUREN
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MORALES, LEIGHANN                    MORALES, LESLIE                       MORALES, LOURDES
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MORALES, MAELONI                     MORALES, MARCO                        MORALES, MARIA
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MORALES, MARLENE                     MORALES, MATTHEW                      MORALES, MELISSA
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MORALES, MELITON                     MORALES, MICA                         MORALES, MINA
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MORALES, MONIQUE      Case 22-11238-LSS    Doc
                                     MORALES,   2 Filed 11/30/22
                                              MORGAN                  Page 3449 of 5495
                                                                           MORALES, NADIA
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MORALES, NANCY                       MORALES, NICOLE                       MORALES, NIKOLL
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MORALES, OMAR                        MORALES, PAULINA                      MORALES, PRISCELLA
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MORALES, PRISCILLA                   MORALES, SANDRA                       MORALES, SARAH
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MORALES, SARAH                       MORALES, SERGIO                       MORALES, STEPHANIE
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MORALES, STEPHEN                     MORALES, SUNIKO                       MORALES, SUYEN
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MORALES, VERONICA                    MORALES, VERONICA                     MORALES, VICTORIA
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MORALES-LOEB, MARIE                  MORALES-RHYMES, ERNITA                MORALEZ, ALEXIS
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MORALEZ, JOHNNY                      MORAN, ANNA                           MORAN, BETSY
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MORAN, BRENDA                        MORAN, BRIDGET                        MORAN, BRYNNA
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORAN, COURTNEY                      MORAN, CRISSY                         MORAN, CYNTHIA
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MORAN, DOLORES                       MORAN, EILEEN                         MORAN, ERICA
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MORAN, ERIN                          MORAN, ERIN                           MORAN, GRACE
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MORAN, GRACE                         MORAN, HEATHER                        MORAN, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORAN, JEANNE                        MORAN, JENNIFER                       MORAN, JESSICA
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MORAN, KATE                          MORAN, KATE                           MORAN, KATHERINE
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MORAN, KATIE                         MORAN, KATIE                          MORAN, KELLY
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MORAN, KELLYN                        MORAN, KELSEY                         MORAN, KRISTINA
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MORAN, LAUREN                        MORAN, LAUREN                         MORAN, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MORAN, MACY           Case 22-11238-LSS
                                     MORAN, Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORAN, MARY JANE                     MORAN, MAURA                          MORAN, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORAN, MICHAEL                       MORAN, MIKE                           MORAN, NATALIE
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MORAN, PAULETTE                      MORAN, ROBIN                          MORAN, SHIRLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORAN, SLOANE                        MORAN, SLOANE                         MORAN, STEVEN
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MORAN, TERESA                        MORAN, THOMAS                         MORAN, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORAND, NICHOLAS                     MORANDER, SAGE                        MORANDO, DUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORANO, ALEX                         MORANO, NOELLE                        MORAO, ANA
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MORAS, PEDRO                         MORASCI, SARAH                        MORASKI, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORASKI, KATHERINE                   MORASSO, SARAH                        MORATELLI, MARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MORAVEC, EMILIE       Case 22-11238-LSS    Doc
                                     MORAVEC,    2 Filed 11/30/22
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                                                                           MORAVUS, LANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORAWSKI, TAYLOR                     MORAY, JUNO                           MORAZA, CECILIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORBERG, MARY                        MORBIT, JOANNE                        MORCROFT, SAMANTHA
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MORDAN, LISA                         MORDARSKI, MADELINE                   MORDAUNT, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORDECAI, SAMUEL                     MORE, ARUSHI                          MORE, HARSHNEEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORE, JESSICA                        MORE, LAURA                           MORE, SARAH JO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOREA, GABRIELLA                     MOREARTY, ERIN                        MOREARTY, KATHLEEN
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MOREAU, JENNIFER                     MOREAU, JESSICA                       MOREAU, SARAH
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MOREAU, TRACIE                       MORECRAFT, ALICIA                     MOREE, JOSHUA
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MOREFIELD, SANDRA                    MOREFIELD, STASIA                     MOREHEAD, CLAUDIA ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOREHEAD, MICHELLE    Case 22-11238-LSS    DocREBECCA
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                                                                           MOREHOUSE, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOREHOUSE, KIRSTEN                   MOREHOUSE, MACKENZIE                  MOREHOUSE, MADDIE
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MOREHOUSE, PAMELA                    MOREHOUSE, PEGGY                      MOREIRA FERREIRA, GIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOREIRA, GRETCHEN                    MOREIRA, JACLYN                       MOREIRA, KARISA
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MOREIRA, LUANA                       MOREIRA, THAYANE                      MOREJON, ADRIAN
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MOREL, BETHANY                       MOREL, CARLA                          MOREL, DEOLINDA
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MORELAND, ALICIA                     MORELAND, KAY                         MORELAND, KRISTINE
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MORELAND, LINDSAY                    MORELAND, MINDY                       MORELAND, NATALIE
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MORELL, CHELSEY                      MORELL, MARIA                         MORELLI, ALESSANDRA
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MORELLI, MICHAEL                     MORELLI, MICHELLE                     MORELLI, NATE
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MORELLO, ALYSA        Case 22-11238-LSS    Doc
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                                              JENNIFER                Page 3454 of 5495
                                                                           MORELLO, NICOLE
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MORELLO, TONY                        MORENA, CAMILA                         MORENA, JAMES
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MORENCE, MICHAEL                     MORENCY, CLAUDIA                       MORENCY, ELIZABETH
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MORENO ESPINOSA, FLAVIO              MORENO, AIDA                           MORENO, ANTHONY
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MORENO, ARQUISHA                     MORENO, ASHLYN                         MORENO, AUDREY
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MORENO, AURORA                       MORENO, BRENDA                         MORENO, BRYANNA
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MORENO, CATI                         MORENO, CHRISTINA                      MORENO, CYDNEY
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MORENO, DANIELA                      MORENO, DIANA                          MORENO, ELIZABETH
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MORENO, GABRIELLE                    MORENO, GLORIA                         MORENO, HEATHER
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MORENO, HIRAM                        MORENO, HIRAM                          MORENO, HOLLY
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MORENO, JAMES         Case 22-11238-LSS    Doc
                                     MORENO,    2 Filed 11/30/22
                                             JENNA                    Page 3455 of JORGE
                                                                           MORENO,  5495
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MORENO, KATHERINE                    MORENO, KAYLA                         MORENO, KRISTEN
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MORENO, KRISTEN                      MORENO, LORI                          MORENO, LUZ
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MORENO, MADELINE                     MORENO, MARIA                         MORENO, MARIA
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MORENO, MELANIE                      MORENO, NICOLE                        MORENO, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORENO, PIA                          MORENO, RACHEL                        MORENO, RAEANNE
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MORENO, RUBY                         MORENO, SAMANTHA                      MORENO, SAMANTHA
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MORENO, SCARLET                      MORENO, STEPHANIE                     MORENO, VALERIA
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MORENO, VERONICA                     MORENO, ZACH                          MORERA, LINETTE
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MORESCHINI, VINCE                    MORESCO, ANDREA                       MORETON, TIMOTHY
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MORETTI, DEANNA       Case 22-11238-LSS    Doc
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                                              RACHEL                    Page 3456 of REBECCA
                                                                             MORETTI, 5495
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MORETTI, STEVEN                      MORETZ, HEIDI                           MOREWITZ, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOREY, JESSICA                       MOREY, JOSEPHINE                        MOREY, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOREY, PATRICIA                      MOREY, WAYNE                            MORFE, SHAILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MORFFI, JESSICA                      MORFIAS RIBS & PIES                     MORFORD, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




MORGADO, ALEX                        MORGAN CASTROGIOVANNI                   MORGAN EDGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MORGAN FELBER                        MORGAN HESTER HOWELL                    MORGAN HOPKINS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MORGAN J FRESSLER                    MORGAN MAURER                           MORGAN RIBEIRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MORGAN STANLEY & CO. (0015, 0050)    MORGAN TIRONE                           MORGAN VINA
ATTN MS PROXY DEPT                   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
1300 THAMES ST WHARF
BALTIMORE, MD 21231




MORGAN, A J                          MORGAN, ABBEY                           MORGAN, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MORGAN, ALEX          Case 22-11238-LSS    Doc
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                                             ALEXANDRA                Page 3457 of ALEXIS
                                                                           MORGAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORGAN, ALYSSA                       MORGAN, AMANDA                        MORGAN, AMY
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MORGAN, ANDREA                       MORGAN, ANNIE                         MORGAN, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORGAN, ARIANA                       MORGAN, ASHLEY                        MORGAN, ASHLEY
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MORGAN, ASHLEY                       MORGAN, AUDREY                        MORGAN, BARBARA
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MORGAN, BAYLEIGH                     MORGAN, BETSY                         MORGAN, BILLY
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MORGAN, BRIAN                        MORGAN, BRITTANY                      MORGAN, CAITLIN
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MORGAN, CARLY                        MORGAN, CAROL                         MORGAN, CATHERINE
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MORGAN, CHELSEA                      MORGAN, CHRISTINA                     MORGAN, CHRISTOPHER
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MORGAN, CHRISTOPHER                  MORGAN, CHRYSTAL                      MORGAN, CORINA
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MORGAN, CRYSTAL       Case 22-11238-LSS    Doc
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MORGAN, DEBRA                        MORGAN, DEBRA                         MORGAN, DONALD
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MORGAN, DOUG                         MORGAN, ELAINE                        MORGAN, ELIJAH
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MORGAN, ELISABETH                    MORGAN, ELIZABETH                     MORGAN, ELIZABETH
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MORGAN, ELYZABETH                    MORGAN, EMILY                         MORGAN, EMILY
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MORGAN, ERIC                         MORGAN, FARRAH                        MORGAN, GARY
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MORGAN, GLEN AND JAN                 MORGAN, HANNAH                        MORGAN, HEATHER
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MORGAN, IAN                          MORGAN, JACKIE                        MORGAN, JACQUELINE
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MORGAN, JAMES                        MORGAN, JASON                         MORGAN, JEAN
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MORGAN, JEMMA                        MORGAN, JENNA                         MORGAN, JENNIFER
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MORGAN, JENNIFER      Case 22-11238-LSS    Doc
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                                                                           MORGAN,  5495
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MORGAN, JOE                          MORGAN, JOHNNY                        MORGAN, JULIE
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MORGAN, KARLI                        MORGAN, KATIE                         MORGAN, KATIE
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MORGAN, KAYLA                        MORGAN, KEITH                         MORGAN, KELLY
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MORGAN, KELLY                        MORGAN, KEM                           MORGAN, KIYNEISCHA
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MORGAN, LACEY                        MORGAN, LARISSA                       MORGAN, LAUREN
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MORGAN, LAURIE                       MORGAN, LAWANDA                       MORGAN, LEONTINE
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MORGAN, LILIAN                       MORGAN, LINDSAY                       MORGAN, LINDSEY
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MORGAN, LISA                         MORGAN, LORI                          MORGAN, LUEVANO,
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MORGAN, LYNDSEY                      MORGAN, LYNN                          MORGAN, MACKENZIE
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MORGAN, MARCIA        Case 22-11238-LSS    Doc
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                                                                           MORGAN, 5495
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MORGAN, MEGAN                        MORGAN, MEGHAN                        MORGAN, MELINDA
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MORGAN, MIRANDA                      MORGAN, MONICA                        MORGAN, NAILAH
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MORGAN, NYKIAH                       MORGAN, PETER                         MORGAN, REBECCA
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MORGAN, RICK                         MORGAN, RITA                          MORGAN, ROBERT
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MORGAN, ROBERT                       MORGAN, RONALD                        MORGAN, SAMANTHA
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MORGAN, SANDRA                       MORGAN, SANDRA                        MORGAN, SARA
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MORGAN, SARAH                        MORGAN, SARAH                         MORGAN, SHELBY
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MORGAN, SIBYL                        MORGAN, SIERRA                        MORGAN, SILAS
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MORGAN, STEFANIE                     MORGAN, STEINES,                      MORGAN, TAMELA
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MORGAN, TAMI          Case 22-11238-LSS    Doc
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                                                                           MORGAN, 5495
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MORGAN, TAYLOR                       MORGAN, TEDD                          MORGAN, TIHESHA
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MORGAN, TIM                          MORGAN, TIM                           MORGAN, TINA
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MORGAN, TOMIKA                       MORGAN, WENDY                         MORGANA, GRACE
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MORGAN-BALDASSO, VARCHIA             MORGANFIELD, DEBORAH                  MORGANO, AMY
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MORGAN-RODRIGUEZ, HALLIE             MORGANROTH, JENNIFER                  MORGANS HOTEL
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MORGANS, ROBERT                      MORGANTI, NANETTE                     MORGANTI, TAYLOR
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MORGANTO, HELEN                      MORGASON, EMILY                       MORGEN, KARI
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MORGENSTERN, KRYSTAL                 MORGENSTERN, PAUL                     MORGENSTERN, RANDI
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MORGENTHALER, JEFF                   MORGENTHALER, SHIRLEY                 MORGIS, CAROLINE
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MORI, GABRIELA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MORI, KEIKO                         Page 3462   of 5495
                                                                              MORI, RACHEL
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MORI, SAMANTHA                          MORIA, MARIIA                         MORIARITY, MONNA
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MORIARTY, CASSIDY                       MORIARTY, GEORGIA                     MORIARTY, KAREN
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MORIARTY, KATE                          MORIARTY, LAUREN                      MORIARTY, MARY KAY
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MORIARTY, PATRICIA                      MORIARTY, PAUL                        MORIARTY, SEAN
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MORICE, ANTHONY                         MORICI, ANGIE                         MORID, MISON
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MORIDZADEH, NASEEM                      MORIDZADEH, NASEEM                    MORIEARTY, ELEANOR
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MORIKAWA, MARY                          MORILAK, SUSAN                        MORILLO, PAOLA
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MORIMOTO                                MORIN, AIMEE                          MORIN, AMELIA
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MORIN, AMY                              MORIN, CHRISTIE                       MORIN, DANIELLE
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MORIN, LAURA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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MORIN, SETH                          MORIN, STEPHANIE                      MORIN, YUKI
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MORINELLI, ALLYSON                   MORING, JOAN                          MORINI, MEGAN
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MORIO, DANI                          MORISETTE, MALAYA                     MORITA, LISA
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MORITA, LUIS                         MORITZ, BOB                           MORITZ, EMILY
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MORITZ, HAILEY                       MORITZ, JARED                         MORITZ, KRISTI
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MORITZ, SARAH                        MORIYAMA, CANDACE                     MORKUS, MELISSA
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MORLAND, IAN                         MORLANSJR, LEONARDO                   MORLAS, CARLOS
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MORLEY, HANNAH                       MORLEY, JAYNE                         MORLEY, KAREN
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MORLEY, KATELYN                      MORLEY, MARISSA                       MORLEY, MEAGHAN
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MORLEY, MELISSA       Case 22-11238-LSS
                                     MORLEY,Doc  2 Filed 11/30/22
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                                                                           MORLEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORLEY, SAVANNAH|                    MORLEY, TERESA                        MORLEY, TYLER C.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORLOCK, JILL OR WILLIAM             MORMAN, CHRISTOPHER                   MORMILE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORNING BREW INC                     MORNINGSTAR, JULIE                    MORNINGSTAR, VICTORIA
85 BROAD STREET, 9TH FLOOR           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10004




MOROCHO TORRES, ADRIANA              MOROCHO, DAISY                        MORONE, FRANKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORONI, PATRICE                      MOROSKY, MIA                          MOROUNEY, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOROYOQUI, JESSE                     MOROZ, KATU                           MOROZ, VALERII
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MOROZOV, POLINA                      MOROZOVA, ANASTASIA                   MORPHEW, KARI
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MORRA, CHRISTINE                     MORRA, NICK                           MORRA, RACHEL
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MORREALE, CHRISTINA                  MORRELL, ASHLEY                       MORRELL, BRENDA
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MORRELL, JASON        Case 22-11238-LSS    Doc
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                                                                                  MORRELL, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




MORRELL, LIZ                            MORRELL, MADDISON                         MORRELL, TAYLOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




MORRELL-HUOT, MEAGHAN                   MORRESI, MARC                             MORRIER, FRANCES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




MORRILL, DOUGLAS                        MORRILL, EMILY                            MORRIS GELMAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




MORRIS MEDIAWORKS                       MORRIS NICOLS ARSHT & TUNNELL LLP         MORRIS, ALEXANDRA
ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN: CURTIS MILLER & DEREK ABBOTT        ADDRESS AVAILABLE UPON REQUEST
                                        1201 N. MARKET ST. 16TH FLOOR
                                        PO BOX 1347
                                        WILMINGTON, DE 19801



MORRIS, ALYSSA                          MORRIS, AMANDA                            MORRIS, ANDREW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




MORRIS, ANDREW                          MORRIS, ANITA                             MORRIS, AREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




MORRIS, ASHLEY                          MORRIS, ASHLEY                            MORRIS, ASHLEY
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MORRIS, AUBREY                          MORRIS, BECKY                             MORRIS, BILLY
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MORRIS, BLAKE                           MORRIS, BOBBIE & MARK                     MORRIS, BOYD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
MORRIS, BRENDA        Case 22-11238-LSS
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                                                                           MORRIS,  5495
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MORRIS, BRITTANY                     MORRIS, BRYNFOR                        MORRIS, CALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MORRIS, CANDI                        MORRIS, CASSANDRA                      MORRIS, CATHY
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MORRIS, CHERYL DAVIS                 MORRIS, CHEYANNE                       MORRIS, CHRIS
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MORRIS, CHRISTIN                     MORRIS, CORI                           MORRIS, COURTNEY
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MORRIS, CYNTHIA                      MORRIS, DANA                           MORRIS, DARRYL
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MORRIS, DEANNA                       MORRIS, DEBORAH                        MORRIS, DENICE
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MORRIS, DIANNE                       MORRIS, DOTTIE                         MORRIS, EMILY
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MORRIS, ERIN                         MORRIS, GAYE                           MORRIS, GINA
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MORRIS, GINGER                       MORRIS, GLEN                           MORRIS, GODDESS
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MORRIS, HARMONIE      Case 22-11238-LSS
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                                                                           MORRIS,  5495
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MORRIS, HELENA                       MORRIS, JACOB                         MORRIS, JAMES
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MORRIS, JAMES                        MORRIS, JANET                         MORRIS, JANICE
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MORRIS, JARED                        MORRIS, JASMINE                       MORRIS, JENNIFER
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MORRIS, JENNIFER                     MORRIS, JESSICA                       MORRIS, JESSICA
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MORRIS, JILLIAN                      MORRIS, JOHN DAVYD                    MORRIS, JOSEPH
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MORRIS, JOSHUA                       MORRIS, JOSIE                         MORRIS, JUSTIN
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MORRIS, KARA                         MORRIS, KAREN                         MORRIS, KATE
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MORRIS, KATELYNN                     MORRIS, KATHERINE                     MORRIS, KATHERINE
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MORRIS, KATHRYN                      MORRIS, KATHY                         MORRIS, KAYLA
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MORRIS, KEELY         Case 22-11238-LSS
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                                                                           MORRIS,  5495
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MORRIS, KENDRA                       MORRIS, KIERRA                        MORRIS, KIERSTEN
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MORRIS, KIMBERLYNNE                  MORRIS, KRISTIN                       MORRIS, KRISTINA
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MORRIS, KYLER                        MORRIS, LAILAH                        MORRIS, LAUREN
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MORRIS, LAUREN                       MORRIS, LAUREN                        MORRIS, LELAH
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MORRIS, LESLIE                       MORRIS, LINDA                         MORRIS, LINDSAY
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MORRIS, LISA                         MORRIS, MALEA                         MORRIS, MALLOREY
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MORRIS, MARCIA                       MORRIS, MARINA                        MORRIS, MASON
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MORRIS, MEGAN                        MORRIS, MEREDITH                      MORRIS, MEREDITH
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MORRIS, MICHAEL                      MORRIS, MICHAELA                      MORRIS, MICHELLE
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MORRIS, MISTY         Case 22-11238-LSS
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                                                                           MORRIS,  5495
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MORRIS, PATRICIA                     MORRIS, RACHEL                        MORRIS, RAYMOND
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MORRIS, REBECCA                      MORRIS, RHIANNON                      MORRIS, RICH
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MORRIS, ROBERT                       MORRIS, ROBERT                        MORRIS, RODNEY
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MORRIS, RONALD                       MORRIS, RYAN                          MORRIS, SARA
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MORRIS, SARAH                        MORRIS, SARAH                         MORRIS, SARAH
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MORRIS, SARAH                        MORRIS, SHERI                         MORRIS, STEFANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRIS, STEPHANIE                    MORRIS, STEPHANIE                     MORRIS, STEVE OR MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRIS, STEVE                        MORRIS, STEVEN                        MORRIS, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRIS, SUSAN                        MORRIS, SUSAN                         MORRIS, SUZY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MORRIS, TAKELA        Case 22-11238-LSS
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                                                                           MORRIS,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRIS, TESS                         MORRIS, TONIANN                       MORRIS, TORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRIS, TRACI                        MORRIS, VICKI                         MORRIS, WYNITA
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MORRIS, ZIYA                         MORRIS, ZOE                           MORRISEY, CATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRISEY, TIFFANY                    MORRIS-MCCARTHY, EMILY                MORRISON, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRISON, ALAN                       MORRISON, AMBER                       MORRISON, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRISON, ASHLEY                     MORRISON, BARBARA                     MORRISON, BECKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRISON, BRYAN                      MORRISON, CALA                        MORRISON, CANDIS
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MORRISON, CHARLENE                   MORRISON, CHELSEY                     MORRISON, CHRISTINA
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MORRISON, CHRISTINE                  MORRISON, CHRISTINE                   MORRISON, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MORRISON, CHRISTY     Case 22-11238-LSS    DocCYNTHIA
                                     MORRISON,  2 Filed 11/30/22      Page 3471  of 5495
                                                                           MORRISON, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MORRISON, DAWN                       MORRISON, EMELIE                       MORRISON, EMELIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MORRISON, FIONA                      MORRISON, GARY                         MORRISON, GREER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MORRISON, HANNAH                     MORRISON, HAYLEY                       MORRISON, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MORRISON, ISABEL                     MORRISON, JANETTE                      MORRISON, JENNIFER
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MORRISON, JOE                        MORRISON, KANDACE                      MORRISON, KATHRYN
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MORRISON, KAYLA                      MORRISON, KELLY                        MORRISON, KENDALL
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MORRISON, KERMIT                     MORRISON, KIERAN                       MORRISON, KIRSTEN
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MORRISON, KRISTA                     MORRISON, LIZ                          MORRISON, LORI
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MORRISON, LORRAINE                   MORRISON, LYNDA                        MORRISON, MACKENSIE
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MORRISON, MARISSA     Case 22-11238-LSS    DocMARJORIE
                                     MORRISON,  2 Filed 11/30/22      Page 3472  of 5495
                                                                           MORRISON, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRISON, MELINDA                    MORRISON, MICHELLE                    MORRISON, NORBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORRISON, PATRICIA                   MORRISON, RACHEL                      MORRISON, REBECCA
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MORRISON, RICHARD                    MORRISON, RONALD                      MORRISON, RONALD
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MORRISON, ROSS                       MORRISON, SARAH                       MORRISON, SARAH
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MORRISON, SHERRY                     MORRISON, STACEY                      MORRISON, SYDNEY
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MORRISON, TREVIA                     MORRISON, VICTOR                      MORRISON, VICTORIA
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MORRISSETTE, ANDREW                  MORRISSETTE, HALEY                    MORRISSETTE, RACHEL
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MORRISSETTE, WENDY                   MORRISSEY, ANDREW                     MORRISSEY, AUBREY
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MORRISSEY, BRIAN                     MORRISSEY, CLAIR                      MORRISSEY, EMILY
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MORRISSEY, JENNIFER   Case 22-11238-LSS    DocKACEY
                                     MORRISSEY, 2 Filed 11/30/22      Page 3473  of 5495
                                                                           MORRISSEY, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MORRISSEY, KITTY                     MORRISSEY, MARTIN                      MORRISSEY, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MORRISSEY, SAMANTHA                  MORRONE, JEANNE                        MORRONE, JOANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MORRONE, LOUIS                       MORRONE, MARY ANNE                     MORRONE, PAMELA
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MORRONE, STEVE                       MORROW, AMY                            MORROW, AUVERIN
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MORROW, AZINDA                       MORROW, CAROLYN                        MORROW, CASSANDRA
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MORROW, DANIELLE                     MORROW, DEBORAH                        MORROW, HANNAH
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MORROW, JAMES                        MORROW, JENNIFER                       MORROW, KATHERINE
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MORROW, KATHLEEN                     MORROW, KATIE                          MORROW, LINDSAY
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MORROW, LIZ                          MORROW, LORI                           MORROW, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MORROW, MACKENZIE     Case 22-11238-LSS    Doc
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                                             ROBERT                   Page 3474 of 5495
                                                                           MORROW, RUTH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORROW, SARAH                        MORROW, SUSAN                         MORROW, SYDNEY
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MORROW, TANIA                        MORROW, TAYLOR                        MORROW, TIM
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MORROW, TRACY                        MORRRONE, WENDY                       MORSCH, MATT
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MORSCH, VICKIE                       MORSE, BRIANNE                        MORSE, CAROLINE
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MORSE, CARRI                         MORSE, CASSANDRA                      MORSE, DAVID
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MORSE, DYLAN                         MORSE, EMILY                          MORSE, ERIKA
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MORSE, JEROLD                        MORSE, JONATHAN                       MORSE, JULIE
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MORSE, KAITLIN                       MORSE, KATHERINE                      MORSE, KELLY
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MORSE, KEVIN                         MORSE, KRISTI                         MORSE, LATEEFAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MORSE, LINDSEY        Case 22-11238-LSS
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                                                                           MORSE,of 5495
                                                                                  MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORSE, MARGARET                      MORSE, MATHEW                         MORSE, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORSE, RAE                           MORSE, SARAH                          MORSE-BROWN, LYNDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORSE-CORMAN, MAVIS                  MORSEMAN, KRISTIN                     MORSE-SIMPKINS, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORSILLO, JOANNE                     MORSMAN, KRISTINA                     MORT, CICI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORT, SARAH                          MORTARA, KARLA                        MORTARA, KARLA
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MORTAROTTI, ALLY                     MORTAROTTI, ELIZABETH                 MORTAZAVI, MARJAN
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MORTELLITI, SUSAN                    MORTENSEN, AARON                      MORTENSEN, MEGAN
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MORTENSEN, MELISSA                   MORTENSEN, RANDY                      MORTENSEN-KORTH, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTGAGE PLANNERS, LANDMARK          MORTIMER, DR. MARY LOU                MORTIMER, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MORTIMER, SAMUEL      Case 22-11238-LSS    DocSASHA
                                     MORTIMER,  2 Filed 11/30/22      Page 3476  of 5495
                                                                           MORTIMER, YVONNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTLOCK, AMANDA                     MORTON, ALEXANDRA                     MORTON, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTON, AMBER                        MORTON, ANDREA                        MORTON, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTON, CHELSEA                      MORTON, DANIELLE                      MORTON, DEANNA
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MORTON, DEIRDRE                      MORTON, DON                           MORTON, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTON, GREG                         MORTON, HEIDI                         MORTON, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTON, JOHN                         MORTON, KAY                           MORTON, LEXIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTON, LORETTA                      MORTON, MARGE                         MORTON, MARY
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MORTON, MAURA                        MORTON, MICHELLE                      MORTON, MYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTON, NEIA                         MORTON, PORTER                        MORTON, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MORTON, SAM           Case 22-11238-LSS    Doc
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                                                                           MORTON,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORTURANO, KATHERINE                 MORUA, DIANE                          MORUCCI, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORVANT, LINDA                       MORWAY, ALEXANDER                     MORYCZ, FELICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MORZENTI, PAULA JANE                 MOSBAT, HEIDI                         MOSBECK, ROBYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSBY, MEGAN                         MOSCA, DANIELLA                       MOSCA, LORETTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSCA, PHILLIP                       MOSCARDO, CECILIA                     MOSCAT, EVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSCATELLI, CHRISTINA                MOSCATELLO, ANTHONY                   MOSCATELLO, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSCH, DRESDEN                       MOSCHETTI, MIKE                       MOSCHETTI, TIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSCHNER, TAMARA                     MOSCICKI, SUSAN                       MOSCO, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSCOE, TAYLOR                       MOSCONE, JOJO                         MOSCOSO, ALEJANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOSCOSO, CLAUDIA      Case 22-11238-LSS    DocALLYSSA
                                     MOSCOTTE,  2 Filed 11/30/22      Page 3478 of 5495
                                                                           MOSCUZZA, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MOSEBAR, KELSIE                      MOSELEY, G. RALPH                      MOSELEY, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MOSELEY, KENDALL                     MOSELEY, MACY                          MOSELEY, MELODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MOSELEY, PAMELA                      MOSELEY, RACHEL                        MOSELEY, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MOSELEY, SPENCER                     MOSELEY, SYLVIA                        MOSEMAN, ABIGAIL
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MOSER, ANITA                         MOSER, ANN                             MOSER, APRIL
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MOSER, CAITLYN                       MOSER, CATHY                           MOSER, COURTNEY
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MOSER, GENEVIEVE                     MOSER, JENNIFER                        MOSER, JESSICA
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MOSER, KIRA                          MOSER, MARY                            MOSER, MAXINE
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MOSER, MELANIE                       MOSER, PATRICIA                        MOSER, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MOSER, SAMANTHA       Case 22-11238-LSS
                                     MOSER, Doc
                                            SARA 2   Filed 11/30/22   Page 3479
                                                                           MOSER,of 5495
                                                                                  SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSER/WIERTZBA, TRAVIS & ALICIA      MOSERA, THOMAS                        MOSES JAME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSES MATLIN                         MOSES, BARBARA                        MOSES, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSES, BESSMARIE                     MOSES, BRIAN CONLEY                   MOSES, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSES, ERIC                          MOSES, HANNA                          MOSES, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSES, JANEE                         MOSES, JOEL                           MOSES, JUDITH
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MOSES, KATE                          MOSES, KYLIE                          MOSES, PATRICIA
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MOSES, PATRICK                       MOSES, RHIANNON                       MOSES, SARAH
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MOSES, SEAN                          MOSES, SHANNON                        MOSES, SHIRAH
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MOSES, TRACY                         MOSES, VALARIE                        MOSES-SCHMITT, LENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOSESSO, RICHARD      Case 22-11238-LSS    DocEMILY
                                     MOSGOVOY,  2 Filed 11/30/22      Page 3480 of 5495
                                                                           MOSHANG, BRYANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSHER, CORISSA                      MOSHER, MAE                           MOSHER, MAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSHER, MJ                           MOSHIER, SUZANNE                      MOSHIRO, SYLVESTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSHKOVSKA, TETIANA                  MOSIER, BARBARA                       MOSIER, KIRSTEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSIER, MARIA                        MOSKAL, PAT                           MOSKAL, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSKALETS, TONIA                     MOSKALSKI, ERIN                       MOSKAU, ERIC
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MOSKO, JACQUELINE                    MOSKONAS, JANELL                      MOSKOW, ABE
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MOSKOWITZ, ALANA                     MOSKOWITZ, AMANDA                     MOSKOWITZ, ANITA
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MOSKOWITZ, BRADLEY                   MOSKOWITZ, JOSH                       MOSKOWITZ, LAUREN
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MOSKOWITZ, MEGAN                     MOSKWA, NICHOLAS                      MOSLEN, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOSLEY, APRIL         Case 22-11238-LSS
                                     MOSLEY,Doc  2 Filed 11/30/22
                                             ASHLEY                   Page 3481 ofCASSANDRA
                                                                           MOSLEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSLEY, JAMIE                        MOSLEY, KALISHA                       MOSLEY, LINDA
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MOSLEY, MOSES DON                    MOSLEY, NICOLE                        MOSLEY, TRENETTA
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MOSMAN, DAVID                        MOSNESS, NADINE                       MOSQUEDA, TERESA
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MOSQUERA, BETSY                      MOSQUERA, JUAN                        MOSQUERA, MARIA
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MOSS, ALTON                          MOSS, AMANDA                          MOSS, AMBER
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MOSS, AMY                            MOSS, ANGIE                           MOSS, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSS, AUTUMN                         MOSS, BENJAMIN                        MOSS, BRENNA
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MOSS, CAREY                          MOSS, CHARLES                         MOSS, CHELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSS, CHLOE                          MOSS, CRAIG                           MOSS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOSS, DEVIN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MOSS, DIARA                      Page 3482  of 5495
                                                                           MOSS, DYLAN G.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSS, ERIN                           MOSS, FAYSSOUX                        MOSS, GAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSS, HANNAH                         MOSS, HEATHER                         MOSS, HUNTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSS, ISABEL                         MOSS, KARLIE                          MOSS, KARRIE
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MOSS, KATHY                          MOSS, KERRY                           MOSS, KRISTEN
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MOSS, LACY                           MOSS, MADI                            MOSS, MARLAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSS, MEGHAN                         MOSS, NICOLE                          MOSS, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOSS, PARKER                         MOSS, PATRICIA                        MOSS, PATRICIA
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MOSS, RYAN                           MOSS, SAMANTHA                        MOSS, SYDNEY
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MOSS, VERONICA                       MOSS, VICKI                           MOSS, WENDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MOSS, WENDY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MOSS, WILLIAM                        Page 3483  of 5495
                                                                               MOSS-ADORN HAIR, BECKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MOSSER, AMANDA                       MOSSETT, WILLIAM                           MOSSHART, FRITTSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MOSTAFA TEHRANI                      MOSTAFA, ADAM                              MOSTAFAVI, ROYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MOTA DOMINGUEZ, JOSHUA               MOTA, YAMILES                              MOTCHAN, TORI
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MOTE, COLLEEN                        MOTE, GUS                                  MOTEBERG, KATIE
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MOTEN, CHYNA                         MOTES, HAYDEN                              MOTH, KAYLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MOTHE, JADE                          MOTHER ROAD MOBILE CANNING, LLC            MOTHERAL, TED
ADDRESS AVAILABLE UPON REQUEST       1823 COMMERCIAL STREET NE, SUITE C         ADDRESS AVAILABLE UPON REQUEST
                                     ALBUQUERQUE, NM 87102




MOTHERLY, INC.                       MOTILAL, SANJAY                            MOTIRAM, RAJ
PO BOX 7734                          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
MENLO PARK, CA 94026




MOTIV8 (TRIBUNEGG)                   MOTIV8 (TRIBUNEGG)                         MOTIVATORS INC
2501 S.STATE HWY. 121                PO BOX 740860                              ADDRESS UNAVAILABLE AT TIME OF FILING
BUSINESS LEWISVILLE, TX 75067        LOS ANGELES, CA 90074




MOTIVE MARKETING GROUP, INC.         MOTIWAL, JATIN                             MOTIWALA, SHWETA
10142 BATTLE POINT DRIVE NE          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
BAINBRIDGE ISLAND, WA 98110
MOTL, SALLY           Case 22-11238-LSS
                                     MOTLEY,Doc  2 Filed 11/30/22
                                             BRANDI                   Page 3484 ofENA
                                                                           MOTLEY, 5495
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MOTLEY, LISA                         MOTLEY, SARAH                         MOTLOW, LISA
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MOTOLANEZ, TRACEY                    MOTT, HEATHER                         MOTT, JACKLYN
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MOTT, JAYNE                          MOTT, PATTI                           MOTT, RICHARD
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MOTT, SERENA                         MOTTA, NIKKI                          MOTTA, STEPHEN
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MOTTER, LINDA                        MOTTER, SAMANTHA                      MOTTER, TORI
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MOTTERN, JESSICA                     MOTTIER, DANIELE                      MOTTOLA, AMANDA
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MOTTU, LORI                          MOTUSH, ALLY                          MOTWANI, KARISHMA
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MOTZEL, LAWRENCE                     MOU, JESSIE                           MOUA, XUE
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MOUCHET, VIRGINIA                    MOUGEL, KIM                           MOUGIS, STEVE
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MOUL, MEAGAN          Case 22-11238-LSS    Doc
                                     MOULAKIS,   2 Filed 11/30/22
                                               ELEANOR                Page 3485 of 5495
                                                                           MOULDEN, BRITTANY
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MOULDS, KRISTA                       MOULDS, MURPHY                         MOULIAN, ADRIENNE
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MOULSON, VICKI                       MOULTON, ABBY                          MOULTON, AMANDA
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MOULTON, CARI                        MOULTON, CAROLYN                       MOULTON, HEATHER
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MOULTON, LINDSAY                     MOULTON, MARIA                         MOULTON, ROBERT
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MOULTON, ROGER                       MOULTON, TRACIE                        MOULTON, TYLER
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MOULTRIE, CHRISTINE                  MOULTRIE, JENNIFER                     MOUNCE, KASSANDRA
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MOUNGIE, HOLLY                       MOUNIR, NANCY                          MOUNSEY, MARIA
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MOUNT RILEY                          MOUNT, CAROLE                          MOUNT, DILLON
MALTHOUSE ROAD, STATE HIGHWAY 1      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RIVERLANDS 7274
NEW ZEALAND




MOUNT, ERIC                          MOUNT, KRYSTYNA                        MOUNT, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MOUNT, NICOLE         Case 22-11238-LSS    Doc
                                     MOUNTAIN   2 Filed
                                              DEMOCRAT,    11/30/22
                                                         JONES CHRIS   Page 3486 of 5495
                                                                            MOUNTAIN STATE BEVERAGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         300 GREENBRIER ROAD
                                                                            SUMMERSVILLE, WV 26651




MOUNTAIN, GABRIELLE                   MOUNTAIN, MARIA                       MOUNTAIN, RONALD
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOUNTAINWORLD PRODUCTIONS, LLC        MOUNTCASTLE, SANDRA                   MOUNTCASTLE, TREVOR
1250 BERGEN PARKWAY, STE. B-220       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
EVERGREEN, CO 80439




MOUNTFORD, MEGAN                      MOUNTIN, ERIN                         MOUNTJOY, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MOUNTS, BRIAN                         MOUNTZ, MALISSA                       MOURING, KALEY
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MOURINO, LAURA                        MOURS, ANDREW                         MOURY, SUSAN
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MOURY, SUSAN                          MOUSA, JOSEPHINE                      MOUSAVI, MARYAM
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MOUSHEY, CHLOE                        MOUSHIKHIAN, EMILY                    MOUSIGHI, CAMERON
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MOUSSALLEM, NATALIE                   MOUSSEAU, CAMILLE                     MOUSTAKAKIS, ALEXA
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MOUSTAKAS, ARIANA                     MOUTON NOIR WINES, LLC                MOUTON, KRISTIN
ADDRESS AVAILABLE UPON REQUEST        193 MIDWOOD STREET                    ADDRESS AVAILABLE UPON REQUEST
                                      BROOKLYN, NY 11225
MOUTOPOULOS, JOHN     Case 22-11238-LSS    Doc
                                     MOUTRAY,    2 Filed 11/30/22
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                                                                           MOUTRIE, 5495
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MOUW, BENJAMIN                       MOUW, KATIE                           MOUYIN CHEN
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MOVIE BITCHES LLC                    MOVIEPASS, INC.                       MOVING STAIRS INC
ANDREW GALDI                         135 MADISON AVENUE                    ADDRESS UNAVAILABLE AT TIME OF FILING
10375 WILSHIRE BLVD. 9B              NEW YORK, NY 10016
LOS ANGELES, CA 90024




MOVROYDIS, KELLY                     MOW, CHRISTINE                        MOWATT-LARSSEN, KELSEY
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MOWELL, DEVRY                        MOWER, ELIZABETH                      MOWER, LORI
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MOWERY, CAITLIN                      MOWERY, PATSY                         MOWERY, SARAH
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MOWERY, WANDA                        MOWINSKI, JENNA                       MOWRER, LAUREN
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MOWREY, MARK                         MOWREY, PAIGE                         MOWRI ESCAMILLA
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MOWRY, AMANDA                        MOWRY, HEATHER                        MOWRY, JESSICA
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MOWRY, SAMANTHA                      MOWRY-WILLEMS, MICHELLE               MOXEY, EMILY
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                      CaseINC.
MOXIE COMMUNICATIONS GROUP 22-11238-LSS
                                     MOXLEY,Doc  2 Filed 11/30/22
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                                                                           MOY, CHRISSY
2 SOUTH BEACHCROFT ROAD              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHORT HILLS, NJ 07078




MOY, COREY                           MOY, DONALD                           MOY, MEG
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MOYA, BRITTANY                       MOYA, MIGUELINA                       MOYA, RENE
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MOYA, SAMANTHA                       MOYADO, NANCY                         MOYE, LAUREN
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MOYER, A D                           MOYER, BRIAN                          MOYER, CHRIS
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MOYER, ERIC                          MOYER, GERALD                         MOYER, J
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MOYER, JOHNATHAN                     MOYER, MADISON                        MOYER, MARK
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MOYER, MELINDA                       MOYER, NIKI                           MOYER, REBECCA
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MOYER, SHEA                          MOYER, TYLER                          MOYES, ERICA
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MOYES, JENNIFER                      MOYLAN, ERIN                          MOYLAN, TERESA
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MOYLE, HEATHER        Case 22-11238-LSS    DocCONNOR
                                     MOYNAHAN,  2 Filed 11/30/22           Page 3489  of 5495
                                                                                MOYNIHAN, DEBORAH
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MOYNIHAN, DREW                          MOYNIHAN, KAREN                         MOYNIHAN, KIM
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MOYNIHAN, SAMANTHA                      MOYNIHAN, SARAH                         MOYNIHAN, TAVIA
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MOZ                                     MOZE, MEGAN                             MOZEE, JADA
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MOZENA, DAVID                           MOZENTER, ALI                           MOZER, EKATERINA
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MOZINGO, AMANDA                         MOZJESIK, BAYLEE                        MOZUMDAR, CHANDANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MOZZA                                   MPAGAZIHE, G                            MR & MRS FOX
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MR CONSTRUCTION INC.                    MR HANDYMAN OF WEST LA                  MR KERRY RAYNARD MADDEN
507 GLENROCK AVE 100                    ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90024




MR. KATE, INC.                          MRAULE, STEFANIE                        MRKT AT THE RESERVE
350 FIFTH AVENUE, 38TH FLOOR            ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING
NEW YORK, NY 10118




MRLIMA                                  MROCZENSKI, TOM                         MROWKA, ANNA 1123
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MROZ, DENISE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MROZ, MARY                       Page 3490 ofTRACEY
                                                                           MROZEK, 5495
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MROZINSKI, JUDY                      MROZINSKI, STACEY                     MRS DIETRA OWENS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MRS LAURIE INOKUMA                   MRS. ELIZABETH W. HARLEY              MRSICH, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MRUGALA, GABI                        MRUK, CARRIE                          MSHEEHAN, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MSWELI, BRENDA                       MT DEPT OF REVENUE                    MTA
ADDRESS AVAILABLE UPON REQUEST       125 N ROBERTS ST                      ADDRESS UNAVAILABLE AT TIME OF FILING
                                     HELENA, MT 59601




MTC AGENCY LLC                       MTRL, INC.                            MTRL, INC.
1152 CLEVELAND HALL BLVD OLD         3435 OCEAN PARK BLVD 107-53           35 W. 85TH ST. 4A
HICKORY, TN 37138                    SANTA MONICA, CA 90405                NEW YORK, NY 10024




MU, DANIEL                           MU, SHANG                             MUA, YOSHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUBASHER, KALEIGH                    MUBASHER, NATHAN                      MUCCI, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUCCI, JAMES                         MUCCI, LAURA                          MUCCI, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUCCIA, JEN                          MUCCIARONE, MELISSA                   MUCCIO, JOSHUA
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MUCCIOLO, PAMELA      Case 22-11238-LSS    DocMICHELLE
                                     MUCERINO,  2 Filed 11/30/22      Page 3491 of 5495
                                                                           MUCHERINO, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MUCHERINO, JACQUELINE                MUCHMORE, COLLEEN                      MUCHOW, MEGAN
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MUCHURA, TESSA                       MUCKENFUSS, MEGHAN                     MUCKERHEIDE, ELIZABETH
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MUDACUMURA, PARFINE                  MUDD, DARREN                           MUDD, JILLIAN
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MUDD, MATTHEW                        MUDD, MEGAN                            MUDD, NATASHA
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MUDD, PEARL                          MUDD, SARAH                            MUDDLE, KARA
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MUDGE, SUSAN                         MUDGISTRATOVA, LOLA                    MUDREY, MICHAEL
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MUDRY, BENJAMIN                      MUDRY, LAURA                           MUDULI, ANITA
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MUECHLER, LUKAS                      MUEGGE, LINDSEY                        MUEHLBAUER, DEANN
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MUEHLBERGER, SUNNY                   MUEHLETHALER, MARIE                    MUELLAEUR, KELLY
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MUELLENHAGEN, JENNIFERCase 22-11238-LSS    Doc
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MUELLER, ANDREA                      MUELLER, ANNE                         MUELLER, BAILEY
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MUELLER, BRENDA                      MUELLER, BRITT                        MUELLER, CAITLIN
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MUELLER, CAMERON                     MUELLER, CHRISTA                      MUELLER, CHRISTINA
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MUELLER, COURTNEY                    MUELLER, CYNTHIA                      MUELLER, DANIELLE
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MUELLER, DAYLAN                      MUELLER, DEVYN                        MUELLER, DIANE
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MUELLER, EMILY                       MUELLER, EMMA                         MUELLER, ERIN
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MUELLER, FAITH                       MUELLER, GREG                         MUELLER, JAMES
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MUELLER, JARED                       MUELLER, JOSEPH                       MUELLER, JULIE
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MUELLER, KAELI                       MUELLER, KARIN                        MUELLER, KATHERINE
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MUELLER, LACEY        Case 22-11238-LSS    Doc
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MUELLER, MAGGIE                      MUELLER, MARGARET                     MUELLER, MARGARET
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MUELLER, MELISSA                     MUELLER, MITCHELL                     MUELLER, RACHAEL
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MUELLER, SAMANTHA                    MUELLER, SANDRA                       MUELLER, SARA
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MUELLER, SHAY                        MUELLER, TAMRA                        MUELLER, THERESA
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MUELLER, TRICIA                      MUENCH, TRACEY                        MUENCHOW, LEAH
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MUENKS, KELSY                        MUENTER, OLIVIA                       MUENZER, CHRISTINE
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MUETING, TARA                        MUETZ, JANUARY                        MUETZEL, ALEXANDER
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MUFF, EMILY                          MUFFOLETTO, ISABELLA                  MUFFOLETTO, MICHAEL
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MUFFULETTO, LINDA                    MUFFULETTO, LINDA                     MUGANGA, BAALI
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MUGFORD, ALEXIS       Case 22-11238-LSS    Doc
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MUGMON, SARAH                        MUGRIDGE, ANDREW                      MUGUERCIA, TIFFANI
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MUHA, CORINNE                        MUHAMMAD, AMBER                       MUHAMMAD, CECILY
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MUHAMMAD, DINAH                      MUHAMMAD, JAMILAH                     MUHAMMAD, KENNETH
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MUHAMMAD, SAKINAH                    MUHAMMAD, SONEYET                     MUHICH, EMILY
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MUHL, DAVID                          MUHL, KAYLA                           MUHLEMAN, ERICA
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MUHLEN, JOHN                         MUHLENHAUPT, ADAM                     MUHLENKAMP, TYLER
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MUHLER, MONIKA                       MUHLFELDER, MARGARET                  MUHLMEYER, GWYN
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MUHLRAD, SAMANTHA                    MUHLY-ALEXANDER, KALI                 MUHN, EURAE
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MUHR, ABIGAIL                        MUI, WILMA                            MUILENBURG, MATT
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MUIR, AUSTIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MUIR, AUTUMN                        Page 3495   of 5495
                                                                              MUIR, COURTNEY
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MUIR, ELYSE                             MUIR, KIMBERLY                        MUIR, MACKENZIE
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MUIR, MEGAN                             MUIR, MEREDITH                        MUIR, SARAH
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MUIRHEAD, ANNE                          MUIRHEAD, GREG                        MUIRRAGUI, PAT
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MUJI.COM                                MUJICA, DAVID                         MUKAI, ASAKO
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MUKATI, DHEERAJ                         MUKESH NAYI                           MUKHERJEE, ANUP
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MUKHERJEE, APARNA                       MUKHERJEE, PRIYA                      MUKHERJEE, SUBHO
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MUKHERJEE, SULAKSHANA                   MUKUND P GODBOLE                      MULA, BRITTANY
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MULA, PATRICIA                          MULAR, JACQUE                         MULARKEY, TAYLOR
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MULARKEY, TERRY                         MULATO, MICHAEL                       MULAY, NISHA
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MULAYIM, SERKAN       Case 22-11238-LSS    DocBRENDA
                                     MULBERRY,  2 Filed 11/30/22      Page 3496 of 5495
                                                                           MULBERRY, SARAH
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MULCAHEY, TARYN                      MULCAHY, JERRY & KATHRYN              MULCAHY, KRIS
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MULCAHY, MEG                         MULCARE, DANIEL                       MULCAY, HOLLY
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MULCH, ASHLEY                        MULCH, JENNIFER                       MULDER, MARISKA
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MULDER, MICHELLE                     MULDERS, DESIREE                      MULDOON, BRENDA
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MULDOON, BRENDA                      MULDOON, CHRISTA                      MULDOON, KELLY
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MULDOON, MICHELE                     MULDOON, MOLLY                        MULDOON, TAMI
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MULDOWNEY, TOM                       MULDROW, ROSE                         MULE, CHRISTOPHER
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MULE, ERIN                           MULE, LEANNE                          MULE, MELISSA
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MULE, ROBERT                         MULES, ANDREA                         MULEY, SHASHANK
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MULGREW, MADELEINE                   MULH, GINA                            MULHALL, CAITLIN
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MULHERIN, ELIZA                      MULHERN, ASHLEY                       MULHERN, ASHLEY
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MULHERN, CHRISTINE                   MULHERN, DAVID                        MULHERN, JOHN
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MULKERN, KENNETH                     MULKEY, CHRISTIAN                      MULKEY, ELIZABETH
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MULVANEY, JESSICA                    MULVANEY, MATTHEW                       MULVEY, LOGAN
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MULVEY, MARIKA                       MULVEY, SARAH                           MULVEY, SHARON
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MUMA, CHRISTINA                      MUMAUGH, JULIE                           MUMAW, SARA
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MUNDIE, ALISON                       MUNDO MEDIA                              MUNDTH, KELLY
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MUNDY, JUSTINE                       MUNDY, KATE                           MUNDY, SANDRA
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MUNGO, ANNA                          MUNGOVAN, KALI                        MUNGUIA, LORENA
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MUNGUIA, ZARA                        MUNGUR, SAMEER                        MUNIER, LIANE
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MUNIZ, MICHAEL                       MUNIZ, REBECCA                        MUNK, ALICIA
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MUNRO, TIM                           MUNRO, TRISTRIM                       MUNROE, ASHLEY
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MURGRABIA, ZOFIA                     MURGUIETA, JOSE                       MURI, STELLA
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MURIELLO, DANIEL                     MURILLO, BELEN                        MURILLO, BIANCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURILLO, BRITTANY                    MURILLO, BRYAN                        MURILLO, JOSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURILLO, LUZ                         MURILLO, MARISOL                      MURILLO, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURILLO, NINA                        MURISET, MEGHAN                       MURJI, TESSINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURK, ALEXIS                         MURLIDHAR, UMA                        MURLIN, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURLOWSKI, CINDY                     MURMAN, CRAIG                         MURNANE, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MURNANE, GEORGE       Case 22-11238-LSS    Doc
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                                                                           MURO, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURO, BLAIR                          MURO, SUSAN                           MURPHEY LEYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHEY, CARRIE                      MURPHEY, KATIE                        MURPHINE, SUSANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHREE, NICOLE                     MURPHY DISTRIBUTORS                   MURPHY, AARON
ADDRESS AVAILABLE UPON REQUEST       MURPHY DISTRIBUTORS PO BOX 623        ADDRESS AVAILABLE UPON REQUEST
                                     BRANFORD, CT 06405




MURPHY, ADRIENNE                     MURPHY, AISHLING                      MURPHY, ALANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, ALICE                        MURPHY, ALICIA                        MURPHY, ALINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, ALISON                       MURPHY, ALLIE                         MURPHY, ALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, ALYCE                        MURPHY, ALYSON                        MURPHY, AMANDA
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MURPHY, AMANDA                       MURPHY, AMANDA                        MURPHY, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, AMY                          MURPHY, ANDREW                        MURPHY, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MURPHY, ANGIE         Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, ANNE                         MURPHY, ANNE                          MURPHY, ANTONIA
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MURPHY, ARIEL                        MURPHY, ASHLEY                        MURPHY, ASHLIE
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MURPHY, AYANA                        MURPHY, BARRY                         MURPHY, BERNADETTE
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MURPHY, BETH                         MURPHY, BILLIE-JEAN                   MURPHY, BOB
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MURPHY, BOB                          MURPHY, BOB                           MURPHY, BRANDY
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MURPHY, BREANNE                      MURPHY, BRENDAN                       MURPHY, BRENDAN
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MURPHY, BRIAN                        MURPHY, BRIAN                         MURPHY, BRIAN
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MURPHY, BRIANNE                      MURPHY, BRIDGET                       MURPHY, BRITTANY
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MURPHY, BRITTANY                     MURPHY, BRYAN                         MURPHY, CAITLIN
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MURPHY, CAITLIN       Case 22-11238-LSS    Doc
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MURPHY, CAROLINE                     MURPHY, CAROLINE                      MURPHY, CAROLYN
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MURPHY, CARTER                       MURPHY, CASEY                         MURPHY, CASEY
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MURPHY, CASSIE                       MURPHY, CHARLES                       MURPHY, CHRISTINA
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MURPHY, CHRISTINE                    MURPHY, CINTAS VICTORIA               MURPHY, CLAIRE
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MURPHY, COLLEEN                      MURPHY, COLLEEN                       MURPHY, COLLEEN
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MURPHY, COREY                        MURPHY, DANIEL                        MURPHY, DEBBIE JO
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MURPHY, DEBORAH                      MURPHY, DEIRDRE                       MURPHY, DENISE
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MURPHY, DESIREE                      MURPHY, DIANNA                        MURPHY, DORE
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MURPHY, EILEEN                       MURPHY, ELISE                         MURPHY, ELIZABETH
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MURPHY, EMILY                         MURPHY, EMILY                         MURPHY, EMILY
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MURPHY, EMILY                         MURPHY, EMMA-LISA                     MURPHY, EOIN
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MURPHY, ERIC                          MURPHY, ERIN                          MURPHY, ERIN
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MURPHY, ERIN                          MURPHY, FRANCES                       MURPHY, FRANCINE
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MURPHY, GEORGE                        MURPHY, GINGER                        MURPHY, GLEN
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MURPHY, GORDIE                        MURPHY, HANNAH                        MURPHY, ISABEL
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MURPHY, JACKI                         MURPHY, JACLYN                        MURPHY, JACQUELINE
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MURPHY, JAMES                         MURPHY, JANE                          MURPHY, JEAN
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MURPHY, JENNIFER                      MURPHY, JESSE                         MURPHY, JESSICA
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MURPHY, JOE           Case 22-11238-LSS    Doc
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                                                                           MURPHY, 5495& MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, JOHN                         MURPHY, JOHN                          MURPHY, JONATHAN
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MURPHY, JOSEPH                       MURPHY, JOSHUA                        MURPHY, JUDGE
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MURPHY, JULIE                        MURPHY, JULIE                         MURPHY, JUSTINE
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MURPHY, KAITLIN                      MURPHY, KARA                          MURPHY, KARI
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MURPHY, KATE                         MURPHY, KATHERINE                     MURPHY, KATHLEEN
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MURPHY, KATHLEEN                     MURPHY, KATIE                         MURPHY, KATIE
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MURPHY, KATIE                        MURPHY, KAYLEIGH                      MURPHY, KELLY
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MURPHY, KELSEY                       MURPHY, KELSEY                        MURPHY, KELSEY
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MURPHY, KERRI                        MURPHY, KERRY                         MURPHY, KEVIN
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                                                                           MURPHY, 5495
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MURPHY, KYLE                         MURPHY, KYLIE                         MURPHY, LAURA
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MURPHY, LAUREN                       MURPHY, LAUREN                        MURPHY, LEE
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MURPHY, LIANNE                       MURPHY, LINDA                         MURPHY, LINDA
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MURPHY, LISA                         MURPHY, LOREN                         MURPHY, LORI
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MURPHY, LUKE                         MURPHY, MACKENZIE                     MURPHY, MARGARET
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MURPHY, MARIE                        MURPHY, MARLENA                       MURPHY, MARTINA
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MURPHY, MARY KAY                     MURPHY, MARY LOU                      MURPHY, MAYRA
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MURPHY, MEAGHAN                      MURPHY, MEGAN                         MURPHY, MEGAN
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MURPHY, MEGAN                        MURPHY, MEGHAN                        MURPHY, MELANIE
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MURPHY, MELISSA       Case 22-11238-LSS    Doc
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                                                                           MURPHY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, MICHAEL                      MURPHY, MICHELLE                      MURPHY, MIKAYLA
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MURPHY, MOLLY                        MURPHY, MORGAN                        MURPHY, MOXIE
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MURPHY, NATE                         MURPHY, NICHOLAS                      MURPHY, NICOLE
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MURPHY, NICOLE                       MURPHY, NICOLE                        MURPHY, NICOLLE
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MURPHY, NORA                         MURPHY, OLIVIA                        MURPHY, PAMELA
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MURPHY, PATRICIA                     MURPHY, PATRICK                       MURPHY, PATRICK
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MURPHY, PAUL                         MURPHY, PAUL                          MURPHY, PAUL
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MURPHY, PEGGY                        MURPHY, PENDER                        MURPHY, PHILLIP
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MURPHY, R                            MURPHY, RACHEL                        MURPHY, RAYNA
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MURPHY, REAGHAN       Case 22-11238-LSS    Doc
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                                                                           MURPHY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, RENEE                        MURPHY, ROSIE                         MURPHY, RUNISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, RYAN                         MURPHY, RYANN                         MURPHY, SARAH
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MURPHY, SARAH                        MURPHY, SARAH                         MURPHY, SARAH
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MURPHY, SEAN                         MURPHY, SEAN                          MURPHY, SEAN
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MURPHY, SHANNON                      MURPHY, SHANNON                       MURPHY, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, SHANNON                      MURPHY, SIR ROBERT                    MURPHY, SONIA
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MURPHY, STACY                        MURPHY, STEPHANIE                     MURPHY, TAMELA
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MURPHY, TARA                         MURPHY, TERI                          MURPHY, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, TIMOTHY                      MURPHY, TINA AND DEAN                 MURPHY, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MURPHY, TRACY         Case 22-11238-LSS    Doc
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MURPHY, TYSHUAN                      MURPHY, VICTORIA                      MURPHY, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY, WILLIAM                      MURPHY-BEVAN, CATHERINE               MURPHY-GARY, MIRIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURPHY-GASS, MEGAN                   MURPHY-ROACH, MARIA                   MURR, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURR, SYDNEY                         MURRA, DONNA                          MURRA, KIRBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURRAY HOLLINGS                      MURRAY, 1535 RIVERSIDE DRIVE          MURRAY, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURRAY, AMANDA                       MURRAY, AMY                           MURRAY, ANDREA
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MURRAY, ANDREW                       MURRAY, ANDREW                        MURRAY, ANGELA
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MURRAY, APRIL                        MURRAY, ASHLEIGH                      MURRAY, AUBREY
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MURRAY, AVALON                       MURRAY, BERNADETTE                    MURRAY, BETSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MURRAY, BRANDON       Case 22-11238-LSS    Doc
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                                                                           MURRAY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURRAY, CAROLINA                     MURRAY, CHRIS                         MURRAY, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURRAY, CHRISTINA                    MURRAY, CHRISTINA                     MURRAY, CLAIRE
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MURRAY, COLLEEN                      MURRAY, CURTIS                        MURRAY, DANIEL
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MURRAY, DANIELLA                     MURRAY, DAVID                         MURRAY, DAWN
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MURRAY, DENIS                        MURRAY, DENNIS                        MURRAY, DONNA
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MURRAY, ELIZABETH                    MURRAY, ELLEN                         MURRAY, ERIKA
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MURRAY, ERIN                         MURRAY, EUGENE                        MURRAY, ISAAC
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MURRAY, JACQUELINE                   MURRAY, JAMES                         MURRAY, JANICE
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MURRAY, JAY                          MURRAY, JENNIFER                      MURRAY, JENNIFER
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MURRAY, JESSI         Case 22-11238-LSS    Doc
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MURRAY, JILLIAN                      MURRAY, JOHN                          MURRAY, JONATHON
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MURRAY, JOSIE                        MURRAY, JUDITH                        MURRAY, KAILEY
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MURRAY, KAREN                        MURRAY, KATHERINE                     MURRAY, KATHLEEN
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MURRAY, KATHLEEN                     MURRAY, KATHRYN                       MURRAY, KELLY
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MURRAY, KELLY                        MURRAY, KEN                           MURRAY, KRISTIN
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MURRAY, KRISTIN                      MURRAY, LARA                          MURRAY, LAURA
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MURRAY, LAUREN                       MURRAY, LAUREN                        MURRAY, LINDA
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MURRAY, LINDSEY                      MURRAY, LISA                          MURRAY, LONDON
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MURRAY, MALCOLM                      MURRAY, MARILYN                       MURRAY, MARY
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MURRAY, MATTHEW       Case 22-11238-LSS    Doc
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MURRAY, MEGAN                        MURRAY, MEGAN                         MURRAY, MELINDA
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MURRAY, MELINDA                      MURRAY, MELISSA                       MURRAY, MELISSA
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MURRAY, MICAH                        MURRAY, MICHELLE                      MURRAY, NADIA
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MURRAY, NANCY                        MURRAY, NICHOLE                       MURRAY, OLIVIA
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MURRAY, PARIS                        MURRAY, RAMONA                        MURRAY, RENEE
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MURRAY, RICHARD                      MURRAY, ROBERT                        MURRAY, ROBERT
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MURRAY, RYAN                         MURRAY, SAMANTHA                      MURRAY, SAMANTHA
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MURRAY, SAMUEL                       MURRAY, SAMUEL                        MURRAY, SARAH
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MURRAY, SEAN                         MURRAY, STEPHEN                       MURRAY, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MURRAY, SUZANNE       Case 22-11238-LSS    Doc
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                                                                           MURRAY, 5495
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MURRAY, THERESA                      MURRAY, TIMOTHY                       MURRAY, TONYA
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MURRAY, TRISHA                       MURRAY, TRISTA                        MURRELL, AUDREY
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MURRELL, SAMANTHA                    MURRELL, SHAUNDEL                     MURRIE, PAYTON
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MURRIN, AMANDA                       MURRIN, GEORGE                        MURRY, ERIC
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MURRY, JANINE                        MURRY, JONATHAN                       MURRY, KALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURRY, RANDY                         MURTAGH, ANNA                         MURTAGH, ELIZABETH
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MURTAGH, JAMES                       MURTAGH, ROBERT                       MURTAGH, WENDY
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MURTER, ALLISON                      MURTHA, ALAN                          MURTHA, JOLI
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MURTHA, KAILA                        MURTHA, KATHERINE                     MURTHA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MURTHY, SARAYU        Case 22-11238-LSS
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                                                                                  HAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MURUGAN RAMANATHAN                   MURVIN, LAKIA                         MURZA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSA, CAROLYN                        MUSA, JOANNE                          MUSA, ROGER
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MUSA, TAMBA                          MUSACCHIO, MARK                       MUSALLAM, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSAMBACHIME, SAMILLE                MUSAN, REUT                           MUSANTE, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSARRA, LEIGH                       MUSCA, DENNIS                         MUSCARI, ANNELIESE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSCAT, EMILY                        MUSCATELLO, SANDY                     MUSCATO, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSCENTE, JOHNNA                     MUSCO, STEVE                          MUSCOLO, KRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSE, CAROLINE                       MUSE, DESHAWN                         MUSE, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSE, PHYLICIA                       MUSE, SANDRA                          MUSE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MUSECH, JAMES         Case 22-11238-LSS
                                     MUSEUMDoc  2 Filed 11/30/22 Page 3525
                                            HOTEL                               of 5495
                                                                           MUSFELDT, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




MUSGRAVE, DANIELLE                   MUSGRAVE, JOHN                        MUSGRAVE, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSGRAVE, SHANNON                    MUSGROVE, JANET                       MUSGROVE, MALCOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSGROVE, MARISSA                    MUSGROVE, MARTHA                      MUSHALL, KRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSI, JOSEPH                         MUSIAL, LISA                          MUSIC & MEMORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




MUSICCO, SARA                        MUSIC-ELDER, JESSICA                  MUSICK, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSICK, ELIZABETH                    MUSIL, KRISTINA                       MUSILEK, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSKE, ANNIE                         MUSLER, CINDY                         MUSLER, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSMACKER, DYANNE                    MUSOKA, LENA                          MUSOLINO, ALLYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSONGE, MARLENE                     MUSQUIZ, MICHELLE                     MUSSATTO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MUSSELL, CELINE       Case 22-11238-LSS    Doc DUSTIN
                                     MUSSELMAN, 2 Filed 11/30/22      Page 3526 ofALYSON
                                                                           MUSSER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSSER, BAILEY                       MUSSER, BRALYNN                       MUSSER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSSER, HEATHER                      MUSSER, JULIE                         MUSSER, KARL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSSER, LAURIE                       MUSSER, REBECCA                       MUSSI, MARCO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSSLEWHITE, MONA                    MUSSMAN, NOELANI                      MUSSMAN, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSSO, ALEX                          MUSSO, ANANDA                         MUST, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUST, KRISTJAN                       MUSTACCHIO, CHRIS                     MUSTAFA GURLEROGLU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSTAFAI, LOU                        MUSTAIN, KIRK                         MUSTAPICH, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSTARD, JASON                       MUSTARD, MARK                         MUSTELLO-BRYANT, PAGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSTIAN, JIM                         MUSTO, EMILY                          MUSTO, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MUSTO, OLIVIA         Case 22-11238-LSS    DocFRANCESCA
                                     MUSUMECI,  2 Filed 11/30/22      Page 3527 of 5495
                                                                           MUSUMECI, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSZAK, JOLANTA                      MUSZALSKI, SARAH                      MUSZYNSKI, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUSZYNSKI, CHARLI                    MUTAMURIZA, HONORINE                  MUTAS, RUDOLFO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUTCH, AMY                           MUTCHESON, ELIZABETH                  MUTER, CHUCK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUTH, CHRIS                          MUTH, CHRIS                           MUTH, EVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUTH, KEITH                          MUTH, SUSAN                           MUTHLER, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUTHYALA, VIKRAM                     MUTI, CYDNEY                          MUTO, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUTONE, MATTHEW                      MUTRYN, ALYSSA                        MUTSCHER, MIKAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUTSCHLER, DEBBIE                    MUTTERPERL, CAROL JO                  MUTTON, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MUTUAL MOBILE, INC.                  MUTUC, MAGNOLIA                       MUTURI, IRENE
211 E 7TH ST., 200                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
AUSTIN, TX 78701
MUTZ, ALYSSA          Case 22-11238-LSS
                                     MUYCO, Doc 2 Filed 11/30/22
                                            YOUSEF                          Page 3528  of ROY
                                                                                 MUYINZA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MUZERALL, NICK                       MUZIK, JERICA                               MUZIO, JAMEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MUZYCZKA, ZOE                        MUZZEY, YAITZA                              MWAMBWA, SAVIOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MWANIKI, ANNE                        MWASAMBILI, LUSAJO                          MWAURA, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MWAYA, CECILIA                       MWENDWA, ZAMBI                              MY BROTHERS BAR & GRILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS UNAVAILABLE AT TIME OF FILING




MY PRINTER                           MY WINES AND SPIRITS PRIVATE LIMITED        MYA JONES
2240 SAN DIEGO AVE, SUITE E          GROUND FLOOR, KH.NO-20/2/21/2 RZ-93J        ADDRESS AVAILABLE UPON REQUEST
OLD TOWN, SAN DIEGO, CA 92110        TELEPHONE EXCHANGE ROAD
                                     SAMALKHA
                                     NEW DELHI 110037 INDIA



MYAKA, JOANNA                        MYASKOVSKY, ALINA                           MYATT, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MYCEK, DARRYL                        MYCHAL THOMAS                               MYCYK, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MYEARS, HILLARY                      MYEARS, MEL                                 MYEARS, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




MYELLE, TERRENCE                     MYER, HALEY                                 MYER, KAYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST
MYER, LAUREN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MYER, MARTHA                     Page 3529 of 5495
                                                                           MYERBERG, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS SALES, ZOE                     MYERS, ADRIENNE                       MYERS, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, ALEXANDRA                     MYERS, ALI                            MYERS, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, AMY                           MYERS, AMY                            MYERS, ANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, ANNA                          MYERS, ANNIE                          MYERS, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, AVELINA                       MYERS, BETHANY                        MYERS, BETHANY
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MYERS, BOBBI                         MYERS, BRIDGET                        MYERS, BRITTNEY
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MYERS, CAITLIN                       MYERS, CARLIE                         MYERS, CATLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, CHRISTA                       MYERS, CHRISTINA                      MYERS, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, CHRISTOPHER                   MYERS, CLARK                          MYERS, COURTENAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MYERS, COURTNEY       Case 22-11238-LSS
                                     MYERS, Doc
                                            DANA 2   Filed 11/30/22   Page 3530
                                                                           MYERS,of 5495
                                                                                  DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, DANIELLE                      MYERS, DAVID                           MYERS, DON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, ED                            MYERS, GLENFORD                        MYERS, GLENN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, HEATHER                       MYERS, JACLYN                          MYERS, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, JANET                         MYERS, JASON                           MYERS, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, JEANNA                        MYERS, JEFFRY                          MYERS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, JERIKA                        MYERS, JESSICA                         MYERS, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, JESSICA                       MYERS, JOAN                            MYERS, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, JUDY                          MYERS, KATELYNN                        MYERS, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




MYERS, KELLY                         MYERS, KELSEY                          MYERS, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MYERS, KRISTIE        Case 22-11238-LSS
                                     MYERS, Doc
                                            KYLE 2   Filed 11/30/22   Page 3531
                                                                           MYERS,of 5495
                                                                                  KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, LAURA                         MYERS, LAURA                          MYERS, LAURYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, LINDA                         MYERS, LINDSEY                        MYERS, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, LORI                          MYERS, MAGGIE                         MYERS, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, MARK                          MYERS, MARYBETH                       MYERS, MAYTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, MELANIE                       MYERS, MELISSA                        MYERS, MICAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, MICHAEL                       MYERS, MICHAEL                        MYERS, MOREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, MORGAN                        MYERS, NATALIE                        MYERS, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, NIKKI                         MYERS, OLIVIA                         MYERS, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




MYERS, PATRICE                       MYERS, PATRICIA                       MYERS, RAYMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MYERS, RAYTH          Case 22-11238-LSS
                                     MYERS, Doc 2 Filed 11/30/22
                                            REBECCA                        Page 3532
                                                                                MYERS,of 5495
                                                                                       RHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




MYERS, RICH                             MYERS, ROBIN                            MYERS, ROCHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYERS, SAMANTHA                         MYERS, SEAN                             MYERS, SHERIDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYERS, STEPHANIE                        MYERS, STEPHANIE                        MYERS, STEVEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYERS, SUSAN                            MYERS, SUSANNAH                         MYERS, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYERS, TRISTAN                          MYERS, VICTORIA                         MYESHA HENDERSON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYFONTS                                 MYGET.ORG                               MYHRAN, BLAKE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




MYINT, LOUISE                           MYKLESTAD, LISA                         MYKYTIUK, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYLER, MAGGIE                           MYLES MUMFORD                           MYLES, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYLES, ASHLEY                           MYLES, CARRIE                           MYLES, CHYANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MYLES, COURTNEY       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MYLES, GIOVANNI                    Page 3533
                                                                             MYLES,of 5495
                                                                                   SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYLLYMAKI, KATIE                     MYLOTT, RYAN                            MYLOTT, SHERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYNY, KANDY                          MYPIZZA.COM                             MYREE, JAIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




MYREGISTRY LLC                       MYREGISTRY.COM                          MYRICK, BARBARA
2050 CENTER AVENUE, SUITE 100        ATTN: KATHLEEN LINDSAY                  ADDRESS AVAILABLE UPON REQUEST
FORT LEE, NJ 07024                   2050 CENTER AVENUE, SUITE 100
                                     FORT LEE, NJ 07024




MYRICK, BRADAN                       MYRICK, BRITTANY                        MYRICK, DEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYRICK, JENNA                        MYRICK, LORI                            MYRICK, MIRANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYRIE, CLIVE                         MYRING, LINDA                           MYROM, MELINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYRON, JOHN                          MYRON, KELLI                            MYRON, REID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYSKA, SHELBY                        MYSLIWIEC, MICHAEL                      MYSNIK, OLGA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




MYSSE, CLAIRE                        MYUGE - BWSC                            MYUGE
ADDRESS AVAILABLE UPON REQUEST       MYUGE 163                               163 CAMINO DRIVE
                                     CAMINO DORADO NAPA, CA 94558            NAPA, CA 94558
MYUNG, LAURA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     MZYK, RYANN                      Page 3534  of 5495
                                                                           MZYK, RYANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




N CARLSON, BROOKE                    N DICKEY, BRANDI                      N FERGUSON, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




N GOMES, THERESA                     N HOLMES, BRITTANY                    N OCONNOR, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




N SIMS, LAUTRECIA                    N, ANASTASIA                          N, AVINASH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




N, BROOKE                            N, JAZ                                N, JERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




N, LANIE                             N, RICHARD                            N., JEFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




N., LILA                             N.C. DEPARTMENT OF AGRICULTURE        N.D. OFFICE OF STATE TAX COMMISSIONER
ADDRESS AVAILABLE UPON REQUEST       AND CONSUMER SERVICES                 600 E BLVD AVE
                                     1001 MAIL SERVICE CTR                 DEPT 127
                                     RALEIGH, NC 27699-1001                BISMARCK, ND 58505-0599




N/A                                  NA                                    NA, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAAB, MICHAEL                        NAAMA KLATSKY                         NAAS, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAAS, ASHLEY                         NAASZ, SHANNON                        NABAHE, SADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NABAR, VICKRUM        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NABER, GEHAN                     Page 3535 of ELIZABETH
                                                                           NABHOLZ, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NABITY, JOSEPH                       NABORS, KATHRYN                       NABORS, MINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NABULSI, NAJATI                      NACE, LEAH                            NACEY, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NACHREINER, AMELIA                   NACHTIGALL, DALLAS                    NACHTOME, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NACIONALES, DIEGO                    NACKERS, JAMI                         NACLERIO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NACOPOULOS, KASSIANI                 NADARAIA, NATIA                       NADAULD, MALORIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADEAN NEMBHARD                      NADEAU, ALEXA                         NADEAU, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADEAU, AMMY                         NADEAU, CATHIE                        NADEAU, JUSTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADEAU, KATHLEEN                     NADEAU, MELISSA                       NADEAU, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADEAU, NICOLE                       NADEAU, STEVE                         NADEAU, SUZI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NADEIN, YANA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NADEL, ELANA                     Page 3536
                                                                           NADEL, of 5495
                                                                                  MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADELMAN, JESS                       NADELSON, ALLIE                       NADELSON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADEM, MEHRDAD                       NADER, MICHELLE                       NADER, SHERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADHIIR CHANAWALA                    NADINE DEACY                          NADINE KACHUR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADKARNI, LOVELINA                   NADLER, ALEX                          NADLER, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADLER, CARRIE                       NADLER, CHRISTINE                     NADLER, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADLER, MITCHELL                     NADOLNY, MATTHEW                      NADON, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADON, EVELYN                        NADON, EVELYN                         NADON, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NADZAM, KAYLA                        NAECK, OLIVIA                         NAEKEL, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAENY, ALDEN                         NAESETH, SARA                         NAETER, EMERY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NAF DIGITAL INC          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                        NAFAA, MIDOU                     Page 3537   of 5495
                                                                              NAFF, WALTER
210 W. ILLINOIS STREET 1ST FLOOR        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60654




NAFFIS-SAHELY, ANDRE                   NAFIS, CHRISTINE                       NAFTULIN, DANIELLE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAFTZGER, KALIE                        NAFZIGER, ERIN                         NAFZIGER, WHITNEY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAGAHI, NASIM                          NAGAJ, TIFFANY                         NAGALAKSHMI SOMASUNDARAM
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAGALLA, SHASHI                        NAGARATHINAM, RAGAVI                   NAGASAKI, MIKA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAGATANI, TANYA                        NAGATANI, TANYA                        NAGEL, BRANDI
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAGEL, ELIZABETH                       NAGEL, JESSE                           NAGEL, KATE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAGEL, LAURA                           NAGEL, LAUREN                          NAGEL, LEAH
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAGEL, NANCY                           NAGEL, STEPHEN                         NAGHDI, ROSE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAGI, ARIEL                            NAGLE, ALLISON                         NAGLE, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NAGLE, CHRISTINE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NAGLE, HEATHER                   Page 3538
                                                                           NAGLE,of 5495
                                                                                 HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGLE, MADISON                       NAGLE, MOLLY                          NAGLE, NIKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGLE, RICHARD                       NAGLE, SUE                            NAGLE, TRACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGLE-ACALOTTO, ERIN                 NAGLER, LAUREN                        NAGODE, BREE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGPAL, KUNAL                        NAGRANI, VISHAL                       NAGREE, SORAIYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGTZAAM, LINDSEY                    NAGUIB, CHLOE                         NAGUS, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGY, ALLIE                          NAGY, CHRISTOPHER                     NAGY, CINDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGY, CLEO                           NAGY, GARLAND                         NAGY, JENN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGY, MORGAN                         NAGY, ROBERT                          NAGY, TALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAGY, VIRAG                          NAHAR, NIRALI                         NAHAS, DANIELLE
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NAHAS, JULIE          Case 22-11238-LSS
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                                                                           NAHMAD, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAHMENS, MAGGIE                      NAHORNAYA, KSENIYA                    NAHUM, ABE
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NAHUM, ASAF                          NAHUM, ASAF                           NAICKER, VINESH
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NAIDOFF, DAVID                       NAIDU, AMY                            NAIDU, DAMINI
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NAIDU, YESH                          NAIK, SHIVANI                         NAIL, ASHLEY
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NAIM, SHAMS                          NAIMI, ELANA                          NAIMOLI, JOHN
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NAIMON, AMANDA                       NAIR, EVERETT                         NAIR, NEEHARICA
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NAIR, PRASHANT                       NAIR, SHAMINI                         NAIR, SURABHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAIR, VIJIT                          NAIRI GHAZARIAN                       NAIRIN, EMMA
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NAISAU, JOSUA                        NAISER, KATHERINE                     NAISHADH SARAIYA
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NAIT, HICHAM          Case 22-11238-LSS
                                     NAIZER, Doc 2 Filed 11/30/22
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                                                                           NAJAFBAGY, HIRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAJAFI, BEHNOUD                      NAJAFI, SARAH                          NAJARIAN, ALEXANDRA
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NAJARIAN, SAMANTHA                   NAJARIAN, STEPHEN                      NAJEWICZ, MARY
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NAKAD, WAAD                          NAKAMINE, ARIANA                       NAKAMURA, REI
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NAKASHIMA, CAMILLE                   NAKE, COURTNEY                         NAKEDWINES.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




NAKHAI, MANDANA                      NAKHMURINA, ANYA                       NAKIB, MARIA
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NAKLICKI, CINDY                      NAKUL RAJ BANSAL                       NAKYEJWE, FARIDAH L
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NAL, NICHELLA                        NALABOFF, DYLAN                        NALBACH, PAMELA
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NALBANTIAN, ANNGEL                   NALE, JAMIE                            NALL, ANNITA
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NALLE, ALISON                        NALLEY, JENNIFER                       NALLEY, LINDA
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NALLEY, MEREDITH      Case 22-11238-LSS      Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NALLY, CONOR                         NALLY, JULIE                          NALLY, KARA
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NALLY, MARY                          NALODKA, LYNN                         NALUBEGA, ANGELA
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NAM, JIHYAE                          NAMAN, PHILLIP                        NAMBIAR, MADHAVI
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NAMBIAR, REMYA                       NAMBIAR, SUNITHA                      NAMEROW, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NAMESLESS NETWORK INC.               NAMETH, ELEANOR                       NAMETH, SHANA
5 DEVOE ST. 2ND FLOOR                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BROOKLYN, NY 11211




NAMITZ, TRACY                        NAMMALWAR, SRI                        NAMMARI, LENA
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NAMOWICZ, BARBARA                    NAMY, LEX                             NAN TOMBONI
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NANA TCHOUKOUA, FRIDIEN              NANA, ANIKA                           NANAGOULIAN, GARNIK
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NANAR, ASHLEY                        NANASI HAAS, ROSA                     NANAVATY, PRANNALI
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NANBU BIJIN CO., LTD   Case 22-11238-LSS
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13 KAMIMACHI                          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
IWATE JAPAN
IWATE
FUKUOKA NINOHE 028-6101 JAPAN



NANCE, COLIN                          NANCE, DELVAN                         NANCE, DOUGLAS
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NANCE, ELLEN                          NANCE, JENNIFER                       NANCE, KENDALL
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NANCE, MARISSA                        NANCE, MARISSA                        NANCE, MIKAH
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NANCE, MINYA                          NANCE, MIRANDA                        NANCE, PAIGE
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NANCO, ROB & DINA                     NANCY ALVAREZ                         NANCY CHENEY
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NANCY J ELLINGTON                     NANCY JOHNSON                         NANCY KIM
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NANCY KIRBY                           NANCY L WILLIAMS                      NANCY OATES CAMPBELL
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NANCY POLISH                          NANCY SANSONE                         NANCY SIMPSON
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NANCY SVIRIDENKO-SIISII               NAND, SUSHMA                          NANDES, SURE
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NANDI, DARSHAN        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           NANDISHKUMAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NANDOO, ANDREA                       NANDWANI, ELISHA                      NANDWANI, SHILPA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NANDY, DEBASHREE                     NANETTE, MICHELIN                     NANEZ, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NANFITO, CONNIE                      NANI, FRANK                           NANIA, BLAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NANIEWICZ, JOLANTA                   NANIGANS                              NANIO, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       60 STATE STREET, 12TH FLOOR           ADDRESS AVAILABLE UPON REQUEST
                                     BOSTON, MA 02109




NANKE, JARED                         NANKE, JOHANNAH                       NANKERVIS, NEYSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NANKRISHNA PERSAUD                   NANNE, ALEXANDRA                      NANNEY, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NANNI, EMILY                         NANNINGA, ASHTON                      NANNINGA, ISAAC
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NANNINI, CHRISTINA                   NANNINI, JEFF                         NANNINI, KELSEA
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NANNINI, VICTOR                      NANTHAVONG, AMPHONE                   NANTON, PAMELA
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NANTUCKET WINE FESTIVAL,Case
                         LLC. 22-11238-LSS     DocWINE
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39 COMMONWEALTH AVE. 11                 480 PLEASANT STREET, SUITE B210         ADDRESS AVAILABLE UPON REQUEST
CHESTNUT HILL, MA 02467                 WATERTOWN, MA 02472




NANTZ, JANIS                            NANTZ, ROBIN                            NANTZ-BURBATT, SAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NAO MORIYA                              NAOKI SHIMODA                           NAOKO FUKUNAGA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NAOKO KIMURA                            NAOMI                                   NAONE, MISTY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NAPA INTERNET SERVICES                  NAPA VALLEY LA MEX                      NAPA WINE COMPANY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   7830-40 ST HELENA HWY
                                                                                OAKVILLE, CA 94572




NAPANET                                 NAPARSTEK, JOSH                         NAPHTALI, LANDEN
947 LINCOLN AVE                         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NAPA, CA 94558




NAPIER, AMANDA                          NAPIER, BRIANNE                         NAPIER, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NAPIER, JAMES                           NAPIER, NORM                            NAPIER, RENATA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NAPIER, SARAH                           NAPIER, TAYLOR                          NAPIERKOWSKI, HOPE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NAPLES, SAMANTHA                        NAPLETON, ELIZABETH                     NAPOLEON KNIGHT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NAPOLEON, ZACHARY     Case 22-11238-LSS
                                     NAPOLI, Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAPOLI, LANI                         NAPOLI, LAUREN                         NAPOLI, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAPOLIELLO, LINDSAY                  NAPOLITANA, JENNIFER                   NAPOLITANO, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAPOLITANO, NICHOLAS                 NAPOLITANO, NICOLE                     NAPPA, NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NAPPER, KIYAH                        NAPPI DISTRIBUTORS                     NAPPI, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       615 MAIN STREET                        ADDRESS AVAILABLE UPON REQUEST
                                     GORHAM, ME 04038




NAPPI, VICTORIA                      NAQUIN, ERIN                           NAQUIN, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NARAIN, MALLIKA                      NARAMORE, LESLIE                       NARANJO-BLASCHKE, SYLVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NARASAKI, MAYA                       NARAYAN, PALLAVI                       NARAYAN, VARUN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NARAYANA, ASHWIN                     NARAYANAN, PADMA                       NARAYANAN, RAVINDRAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NARBAEZ, ALEXANDRA                   NARCISO, KIMBERLY                      NARDELLA, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NARDELLI, DEBORAH     Case 22-11238-LSS    Doc
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                                                                           NARDOZZI, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NARDUCCI, ROM                        NARENDRA CARAMBIAH                    NARENDRA GUNTUNUR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NARESH S PASNUR                      NARGIS, TREVOR                        NARICH, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NARIN PHOL                           NARINE, SANGEETA                      NARKEVICIUTE, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NARLOCK, ELISABETH                   NAROZANICK, KASIE                     NARQUEZ, ANTONIETTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NARRA, RACHEL                        NARRATIVE ADS LLC                     NARSING, SUSAN
ADDRESS AVAILABLE UPON REQUEST       2923 BRADLEY ST STE 200               ADDRESS AVAILABLE UPON REQUEST
                                     PASADENA, CA 91107




NARUS, JEFFREY                       NARVAEZ, ABRAHAM                      NARVAEZ, CAMRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NARVAEZ, MARIBEL                     NARVESON, RACHEL                      NARY, ROSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NARZIKUL, ALEXA                      NASAR, JUDY                           NASATOWICZ, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASCA, CLAIRE                        NASCA, NICOLE                         NASCIMENTO, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NASCIMENTO, ASHLEY    Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NASE, HOLLY                      Page 3547
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                                                                                 MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASERALLAH, IHAB                     NASERS, AMBER                         NASH, ANGELLE
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NASH, ANN                            NASH, ANN                             NASH, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASH, CAROL                          NASH, CHELSEA                         NASH, CHRISTINE
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NASH, DAVID                          NASH, DEBRA                           NASH, EMILY
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NASH, ERICA                          NASH, GUYETH                          NASH, IRENE
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NASH, JAMES                          NASH, JILLIAN                         NASH, KACI
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NASH, KATIE                          NASH, KERRI                           NASH, LASHANYA
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NASH, LEAH                           NASH, LEAH                            NASH, LILY
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NASH, MARY                           NASH, MEGAN                           NASH, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NASH, MIRANDA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NASH, MIRANDA                    Page 3548  of 5495
                                                                           NASH, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASH, NICOLE                         NASH-DAVIS, MAGGIE                    NASH-HUBBARD, YAIRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASIMOV, MARYAM                      NASINI, SREEVARDHAN                   NASIS, GEORGE
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NASO, JOE                            NASO, NATHALIE                        NASON, MACKENZIE
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NASON, NATALIE                       NASPINSKI, TED                        NASRALLAH, CASEY
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NASS, KATIE                          NASS, KIMBERLY                        NASSAR, AMER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASSAR, LINDA                        NASSAU, LISA                          NASSER, ADEL
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NASSER, HOLLY                        NASSER, JODI                          NASSER, KELLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASSERIAN, ERICA                     NASSERY, LEEMAY                       NASSIFF, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASSO, CATHERINE                     NASSOR, NNAMDI                        NASTALSKI, DAVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NASTANOVICH, VIRGINIA Case 22-11238-LSS    Doc
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                                                                           NASTASI, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NASTIA LIUKIN ENTERPRISES            NASTRO, KAITLIN                       NATAADININGRAT, MELISSA
4204 BOULDER DRIVE                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PARKER, TX 75002




NATALE, ANTHONY                      NATALE, BRITTANY                      NATALE, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATALE, DEVON                        NATALE, ELIZABETH                     NATALE, PEGGY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATALE, PEGGY                        NATALE, ROSEMARIE                     NATALI, SUMMER
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NATALIA DIAZ                         NATALIA HERNANDEZ                     NATALIA SUROWANIEC
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NATALIA TAYLOR                       NATALIA VANINA                        NATALIE LACZEWSKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATALIE BROWN                        NATALIE CARRASCO                      NATALIE ELAINE WARREN DEES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATALIE HANDS STUDIO                 NATALIE HARDEN                        NATALIE JORDAN
111 NE 6TH AVE 321                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PORTLAND, OR 97232




NATALIE KILLION                      NATALIE KIRCHHOFF                     NATALIE RAMIREZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NATALIE SERRANO       Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATALIE TROXEL                       NATALIE VOLKMAN                       NATALIE, LOMBARDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATALIE, LORRAINE                    NATALIE, MS                           NATALIE, RINGUETTE,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATALINO, RYAN                       NATARAJAN, RANJANI                    NATARAJAN, SHREELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATASHA FISCHER                      NATASHA JELENICH                      NATASHA SIDES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATASHA, MILLER,                     NATASHA, POLIS,                       NATAY, LOLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATEKINA, YANA                       NATELSON, KELLY                       NATERA, ALEJANDRO
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NATESAN, VEL                         NATHAN FLORES                         NATHAN GEHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATHAN JEDLICKA                      NATHAN K RAMSAY                       NATHAN KRAUSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NATHAN M CARTER                      NATHAN MUBASHER                       NATHAN MURRAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NATHAN, ASHLIE        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




NATHAN, LEILA                           NATHAN, NATALEE                            NATHAN, RAJIV
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NATHAN, SUSAN                           NATHANIEL ANTONIO                          NATHANIEL JOSEPH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NATHANSON, AMY                          NATHANSON, CAMILLE                         NATHOO, ALICE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NATION, CLASSY                          NATION, SARA                               NATION, SPARKLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NATIONAL DATA CONTRACTOR                NATIONAL DISTRIBUTING COMPANY, INC.        NATIONAL DISTRIBUTORS (MAINE)
ADDRESS UNAVAILABLE AT TIME OF FILING   (DBA RNDC OF GEORGIA)                      116 WALLACE AVENUE SOUTH
                                        ONE NATIONAL DRIVE                         PORTLAND, ME 04106
                                        ATLANTA, GA 30336




NATIONAL DISTRIBUTORS, INC.             NATIONAL LIFT FLEET LEASING & SALES        NATIONAL PURCHASING PARTNERS LLC
116 WALLACE AVE                         201 N. RICE AVE UNIT G                     1100 OLIVE WAY SUITE 1030
SOUTH PORTLAND, ME 04106                OXNARD, CA 93030                           SEATTLE, WA 98101




NATIONAL REGISTERED AGENTS, INC         NATIONAL UNION FIRE INSURANCE CO.          NATIONAL UNION FIRE INSURANCE CO.
PO BOX 4349                             1271 AVE OF THE AMERICAS, 35TH FL          OF PITTSBURGH, PA
CAROL STREAM, IL 60197-4349             NEW YORK, NY 10020-1304                    NEW YORK, NY 10020-1304




NATIONS, CAMERON                        NATIONS, EVA                               NATIONS, JAKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NATIONS, MARISA                         NATIONWIDE                                 NATIVIDAD, NINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING      ADDRESS AVAILABLE UPON REQUEST
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NATIVITY CATHOLIC CHURCH      22-11238-LSS
                         OFFICE, ATTN:  NATL FINDoc  2 (0226)
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                                                                                        JILL
SUE HRABUSA                             ATTN SEAN COLE OR PROXY DEPT             ADDRESS AVAILABLE UPON REQUEST
ADDRESS AVAILABLE UPON REQUEST          NEWPORT OFFICE CTR III
                                        499 WASHINGTON BLVD
                                        JERSEY CITY, NJ 07310



NATOLI, ROY                             NATSIS, MARIALEXA                        NATSUME, KEISUKE
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NATTER, LISA                            NATTIEL, SHEIL                           NATTISHA FERRELL RAY
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NATURAL CAFE SANTA MARIA                NATURAL INTELLIGENCE LTD.                NATURAL MERCHANTS INC
ADDRESS UNAVAILABLE AT TIME OF FILING   6 TOZERET HAURETZ                        1751 BERKELEY ST STUDIO 3
                                        TEL-AVIV                                 SANTA MONICA, CA 90404
                                        ISRAEL




NATURAL MERCHANTS INC.                  NATURAL MERCHANTS INC.                   NATURAL MERCHANTS INC.
ATTN: EDWARD FIELD, PRESIDENT           ATTN: EDWARD FIELD, PRESIDENT            C/O ROBERT WEINBERGER LAW PC
560-A NE F ST, STE 330                  560-A NE F ST, STE 330                   ATTN ROBERT K WEINBERGER, ESQ
GRANT PASS, OR 97526                    GRANTS PASS, OR 97526                    1340 E 6TH ST, STE 603
                                                                                 LOS ANGELES, CA 90021



NATURAL MERCHANTS LLC                   NATURAL WELLNESS LLC                     NATUREBOX
2001 FOOTHILL BLVD SUITE C-2            848 N RAINBOW BLVD 1580                  ADDRESS UNAVAILABLE AT TIME OF FILING
GRANTS PASS, OR 97526                   LAS VEGAS, NV 89107




NAUDIN, JENNIFER                        NAUDIN, MICHELE                          NAUGHTON, BRIGIT
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NAUGHTON, CHRISTIAN                     NAUGHTON, CYNTHIA                        NAUGHTON, ELISABETH
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NAUGHTON, GREG                          NAUGHTON, JULIA                          NAUGHTON, KAITLYN
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NAUGHTON, KAITLYN                       NAUGHTON, KATHY                          NAUGLER, DANIELLE
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NAULT, DENEEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           NAUMANN, JENNIFER
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NAUMANN, MARTHA                      NAUMCHEFF, JESSICA                     NAUMOFF, CY
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NAUS, TAYLOR                         NAVA, ALBERT                           NAVA, ALEXANDRA
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NAVA, CARMEN                         NAVA, DAISY                            NAVA, DANIEL
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NAVA, JACQUELINE                     NAVA, JAZMIN                           NAVA, JOEL
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NAVA-HOLSTEIN, ALLISON               NAVARETE, NICOLLE                      NAVARETTE, MATT
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NAVAROLI, JEN                        NAVAROLI, KIRSTIN                      NAVARRE, ALEX
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NAVARRE, JASON                       NAVARRETO, ANGELA                      NAVARRETTE, ALYSSA
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NAVARRETTE, ROB                      NAVARRO JR, SALVADOR                   NAVARRO, ADRIANA
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NAVARRO, ARYANA                      NAVARRO, CARLEEN                       NAVARRO, DANIA
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NAVARRO, DIANAKATELYN Case 22-11238-LSS    Doc
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NAVARRO, ELIZABETH                   NAVARRO, FRANK                         NAVARRO, JORGE
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NAVARRO, JOSE                        NAVARRO, JOSE                          NAVARRO, JOSEPH
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NAVARRO, LEELA                       NAVARRO, LESLIE                        NAVARRO, LINDSEY
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NAVARRO, MARIA                       NAVARRO, MEREDITH                      NAVARRO, MINDY
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NAVARRO, NEFTALI                     NAVARRO, NEIL                          NAVARRO, OLIVIA
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NAVARRO, PAIGE                       NAVARRO, SALINA                        NAVARRO, SANDRA
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NAVARRO, WILMER                      NAVAS, DAWN                            NAVASKY, CARLY
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NAVATTO C/O THE MILK RUN, AUDE       NAVATTO, JENNIFER                      NAVE, LAURA
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NAVEDO, BRENNA                       NAVEED QURESHI                         NAVEEN KUMAR
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NAVELSKI, LAURA                      NAVI CHEEMA                           NAVIA, LIZETH
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NAVICKAS, ERICA                      NAVIN, ASHLEY                         NAVIN, PATTY
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NAVIS, JACOB                         NAVJEET KAUR                          NAVOICHICK, TYLER
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NAVURSKIS, RACHAEL                   NAVY, CRISTINA                        NAWORSKI, LAUREN
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NAWROCKI, COURTNEY                   NAWROCKI, TRINITY                     NAY, MICHELLE
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NAY, NINA                            NAYA, JULIE                           NAYAK, ANKITA
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NAYAK, SURESH                        NAYAN J PATEL                         NAYAN, MEGHAN
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NAYAR, SHIKHA                        NAYDEN, BRYCE                         NAYELI YURCISIN
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NAYLOR, GINA                         NAYLOR, HUNTER                        NAYLOR, JENNIFER
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NAYLOR, SYDNEY                       NAYLOR, TARA                               NAYO, HANIFA
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NAYYAR, ANIKA                        NAYYAR, ANITA                              NAZ S OZCAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             10200 SW HAWTHORNE LANE
                                                                                PORTLAND, OR 97225




NAZAR, SAMANTHA                      NAZARIAN, GREGORY                          NAZARIAN, NAYIRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NAZARIO, KEISHMARIE                  NAZARIO, MELANIE                           NAZAROVA, NATALIA
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NAZDIN, YOSEF                        NAZE, JENNIFER                             NAZINITSKY, ALLISON
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NAZIR, KATHERINE                     NAZZARO, HELEN                             NAZZARO, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NAZZARO, JULIE                       NBCN INC. /CDS (5008)                      NBCUNIVERSAL LLC
ADDRESS AVAILABLE UPON REQUEST       ATTN DANIEL NTAP OR PROXY MGR              30 ROCKERFELLER PLAZA
                                     1010 RUE DE LA GAUCHETIERE ST. WEST        NEW YORK, NY 10112
                                     STE 1925
                                     MONTREAL, QC H3B 5J2 CANADA



NC DEPT OF REVENUE                   ND OFC OF STATE TAX COMM                   ND SECURITIES DEPARTMENT
ASHEVILLE BUILDING                   600 E BOULEVARD AVE DEPT. 127              600 EAST BOULEVARD AVENUE STATE
1500 PINECROFT RD 300                BISMARCK, ND 58505                         CAPITOL, 5TH FLOOR
GREENSBORO, NC 27407                                                            BISMARCK, ND 58505-0510




NDAM, NANCY                          NDC - ATL                                  NDERI, RACKEL
ADDRESS AVAILABLE UPON REQUEST       ONE NATIONAL DR, SW                        ADDRESS AVAILABLE UPON REQUEST
                                     ATLANTA, GA 30134
NDI, PEGGY            Case 22-11238-LSS    DocCHARITY
                                     NDISENGEI, 2 Filed 11/30/22        Page 3557  of 5495ANNETTE
                                                                             NDOE-ESSONO,
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NDONWIE, CHURCHILL                   NDREKO, CHRISTIAN                       NDUGGA, NAMBI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NDUMELE, AMARA                       NDUNGU, WANJIRU                         NDUTA, FLORA
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NE DEPT OF REVENUE                   NE LIQUOR CONTROL COMMISSION            NEAL MENAGED
1313 FARNAM ST 10TH                  ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
OMAHA, NE 68102




NEAL, AMANDA                         NEAL, ANDREW                            NEAL, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEAL, BRENNA                         NEAL, BRITTANY                          NEAL, CALLIE
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NEAL, CHRISTIAN                      NEAL, COURTNEY                          NEAL, DANICA
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NEAL, DARCY                          NEAL, DEVIN                             NEAL, ELIZABETH
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NEAL, HYE-KYUNG                      NEAL, JAMES                             NEAL, JASON
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NEAL, JESSICA                        NEAL, JORDAN                            NEAL, JUSTINE
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NEAL, KAYLA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NEAL, KENDALL                    Page 3558   of 5495
                                                                           NEAL, KEVIN
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NEAL, KIMBERLY                       NEAL, LAVEDA                          NEAL, MARY LOU
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NEAL, PAIGE                          NEAL, PATRICIA                        NEAL, SAM
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NEAL, SARA                           NEAL, SARAH                           NEAL, STAN
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NEAL, SUSAN                          NEAL, TARRAH                          NEAL, TERESA
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NEAL, WILLIAM                        NEALE, JOANN                          NEALER, ANGELA
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NEALIS-ALBEE, REBECCA                NEALON, CARLYE                        NEALON, CHRISTY
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NEALON, KATHERINE                    NEALON, KATIE                         NEALOND, TIFFONY
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NEALY, ALEXIS                        NEALY, TAMARA                         NEARMYER, TATUM
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NEARY, ANNMARIE                      NEARY, BROOKE                         NEARY, CHRISTINA
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NEARY, DANIELLE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NEARY, TIA                              NEASE, CATHERINE                        NEATHERY, DALTON
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NEATHERY, ROCHELLE                      NEATON, KERRY                           NEAULT, ALLISON
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NEBEKER, BLYTHE                         NEBEL, KATHLEEN                         NEBEL, SHELLEY
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NEBELSKI, RICHARD                       NEBISTINSKY, ALI                        NEBLETT, CAROLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEBOLISA, WHITNEY                       NEBORSKY                                NEBRASKA BUREAU OF SECURITIES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          1526 K ST
                                                                                300
                                                                                LINCOLN, NE 68508




NEBRASKA DEPARTMENT OF BANKING AND      NEBRASKA DEPARTMENT OF REVENUE          NEBRASKA DEPT OF LABOR
FINANCE                                 ADDRESS UNAVAILABLE AT TIME OF FILING   AMERICAN JOB CENTER , LINCOLN
SECURITIES REGISTRATION                                                         1111 O ST STE 205
PO BOX 95006                                                                    LINCOLN, NE 68508
1526 K ST 300
LINCOLN, NE 68508

NEBRASKA DEPT OF REVENUE                NEBRASKA DEPT OF REVENUE                NEBRASKA DEPT OF REVENUE
200 S SILBER ST                         304 N 5TH ST, STE D                     505A BROADWAY STE 800
NORTH PLATTE, NE 69101-4200             NORFOLK, NE 68701-4091                  SCOTTSBLUFF, NE 69361




NEBRASKA DEPT OF REVENUE                NEBRASKA DEPT OF REVENUE                NEBRASKA DEPT OF REVENUE
NEBRASKA STATE OFFICE BLDG              NEBRASKA STATE OFFICE BUILDING          PO BOX 94818
1313 FARNAM ST STE 100                  301 CENTENNIAL MALL S                   LINCOLN, NE 68509-4818
OMAHA, NE 68102-1836                    LINCOLN, NE 68508




NEBRASKA LIQUOR CONTROL COMMISSION      NEBRASKA LIQUOR CONTROL COMMISSION      NEDERHOED, PAUL
ADDRESS UNAVAILABLE AT TIME OF FILING   NEBRASKA LIQUOR CONTROL COMMISSION      ADDRESS AVAILABLE UPON REQUEST
                                        301 CENTENNIAL MALL SOUTH 1ST FLOOR
                                        PO BOX 95046
                                        LINCOLN, NE 68509-5046
NEDI TELVI            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     NEDIK, EVAN                      Page 3560   of 5495
                                                                           NEDIN, HUNTER
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NEDJAR, LILLY                        NEDO, MEGAN                           NEE, CLARE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEE, JASPER                          NEED 2 KNOW CORP                      NEED 2 KNOW, LLC
ADDRESS AVAILABLE UPON REQUEST       115 W. 18TH STREET, 2ND FL            200 BROADWAY, 5TH FLOOR
                                     NEW YORK, NY 10011                    NEW YORK, NY 10038




NEEDELL, LAUREL                      NEEDELS, TORI                         NEEDHAM, ABBEY
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NEEDHAM, ANNA                        NEEDHAM, ATHENA                       NEEDHAM, CHARLES
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NEEDHAM, LORI                        NEEDHAM, MATT                         NEEDHAM, MEGHAN
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NEEDHAM, SARA                        NEEDLER, TRENT                        NEEDLES, CHRISTINE
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NEEF, SYDNEY                         NEEFE, TAYLEE                         NEEL, IVAN
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NEEL, LAUREN                         NEEL, MOLLY                           NEEL, NIKKI
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NEEL, WHITNEY                        NEELEY, BRANDON                       NEELEY, HANNAH
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NEELEY, MORGAN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NEELS, SARAH                     Page 3561  of 5495 TAIFA
                                                                           NEELY PETERSON,
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NEELY, AODHAN                        NEELY, BENITA                         NEELY, DARREN
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NEELY, MARLON                        NEELY, MEGAN                          NEELY, MICHAEL
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NEELY, NINA                          NEELY, REAGAN                         NEELY, SARAH
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NEELY, SYDNEY                        NEER, DARRYL                          NEESE, VIRGINIA
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NEESER, ASHLEY                       NEET, MADELEINE                       NEET, VICTORIA
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NEETA SHAH                           NEEVES, LIZ                           NEFF, AMY
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NEFF, BRITTANY                       NEFF, CASI                            NEFF, DEBBIE
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NEFF, DEBORAH                        NEFF, ERIN                            NEFF, JULIE
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NEFF, LINDSEY                        NEFF, MARY                            NEFF, MATT
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NEFF, NICOLE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                              NEFF, TIFFANEY
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NEFF, VICKIE                            NEFF, VICTORIA                        NEFJODOVA, REGINA
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NEFT, DEBBIE                            NEFTZGER, AMY                         NEGARD, JUSTIN
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NEGEN, JAMES                            NEGI, PRERNA                          NEGLEY, RYAN
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NEGOCIADO DE IMPUESTO AL CONSUMO        NEGODIAEV, VALERII                    NEGOSHIAN, LAURA
OFICINA CENTRAL, DEPARTAMENTO DE        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HACIENDA, EDIFICIO INTENDENTE RAMIREZ
PASEO COVADONGA, PISO 3
VIEJO SAN JUAN, PR 00901



NEGRETE, ALEX                           NEGRETE, MONIQUE                      NEGRETE-ANDERSON, JULIET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEGRETE-BANOS, ABRIL                    NEGREY, MEGAN                         NEGRI, KRISTIN
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NEGRILLO, TAMMY                         NEGRIN, RACHEL                        NEGRINI, KIMBERLY
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NEGRITO, JESSICA                        NEGRO, MANUEL                         NEGRON MORRIS, AURORA
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NEGRON, ADIANEZ                         NEGRON, DIVINA                        NEGRON, GISELLE
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NEGRON, HECTOR        Case 22-11238-LSS    Doc
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NEGRON, MICHAEL                      NEGRON, NINA                          NEGROSKI, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEGUSSE, MILENA                      NEHEMIAH WESTMORELAND                 NEHER, ABBIGALE
ADDRESS AVAILABLE UPON REQUEST       1076 W. 30TH ST. APT 5                ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90007




NEHER, TRICIA                        NEHRA, JADE                           NEHRING, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEHUS, RACHEL                        NEIBER, LISA                          NEIDECKER, TINA
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NEIDELL, JOAN                        NEIDELL, LESTER                       NEIDELL, LESTER
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NEIDER, JILL                         NEIDERT, MARIANA                      NEIDHARDT, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEIDIG, ARMILA                       NEIDIG, JENNIFER                      NEIDIG, JENNIFER
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NEIDIG, REBECCA                      NEIDLE, EMILY                         NEIDLE, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEIFERT, BRANDI                      NEIGEL, GRACE                         NEIGEL, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEIGHBARGER, JACKIE   Case 22-11238-LSS    DocBRITTANY
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                                                                           NEIGHBORS, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEIGHBORS, KYLA                      NEIGHBORS, SHELLY                     NEIGHBORS, STACY
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NEIKIRK, CAL                         NEIL BARNHILL                         NEIL BASU
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NEIL C JOHNSON                       NEIL E SOUTHERINGTON                  NEIL HENRIQUES
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NEIL MCINALLY                        NEIL REID                             NEIL WINGATE
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NEIL, CHRISTY                        NEILD, SARA                           NEILESH DAHYA
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NEILL BAKER, DEBRA                   NEILL, ABBY                           NEILL, AMANDA
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NEILL, DIANA                         NEILL, EDWIN                          NEILL, EMILY
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NEILL, JAMIE                         NEILL, SARAH                          NEILSON, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEILSON, KATE                        NEILSON, LARISSA                      NEIMAN, ALICIA
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NEIMAN, JOSSETT       Case 22-11238-LSS
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NEISEN, TAYLOR                       NEISH, TRACY                           NEISLER, DEBRA
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NEISWONGER, SHAWN                    NEITMAN, REBECCA                       NEJAME, ALLISON
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NEJMEH, COLLEEN                      NEKRASOV, IVAN                         NEKU, LUCIANI
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NELKIN, NATALIE                      NELLER, JEFFERY                        NELLI, LAURA
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NELLIE SCHLACHTER                    NELLIGAN, KERRY                        NELLING, SHANA
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NELLIS, JEFFREY                      NELLIS, RACHELLE                       NELLIUS, LISA
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NELMS, ABBIE                         NELMS, NEWANA                          NELMS, NIKKI
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NELOMS, ECSTASI                      NELOWET, GEOFF                         NELSEN, ANGELICA
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NELSEN, VELIA                        NELSEN, VICTORIA                       NELSESTUEN, KELLY
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NELSON, AARON                        NELSON, ALEXANDER                     NELSON, ALEXANDRA
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NELSON, ALICIA                       NELSON, ALISON                        NELSON, ALISON
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NELSON, ALYSSA                       NELSON, AMANDA                        NELSON, AMANDA
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NELSON, AMBER                        NELSON, AMY                           NELSON, AMY
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NELSON, ANDREA                       NELSON, ANDY AND CHERYL               NELSON, ANDY
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NELSON, ANGELA                       NELSON, ANGELINA                      NELSON, ANNA
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NELSON, ANNE                         NELSON, ANTHONY                       NELSON, ANTHONY
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NELSON, APRIL                        NELSON, AUDREY                        NELSON, BENJAMIN
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NELSON, BERNIE                       NELSON, BETH                          NELSON, BETH
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NELSON, BETHANY       Case 22-11238-LSS
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NELSON, BREANNA                      NELSON, BRIAN                         NELSON, BRIAN
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NELSON, BRUCE                        NELSON, BRYAN                         NELSON, BRYANA
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NELSON, CAITLIN                      NELSON, CAMERON                       NELSON, CAROLINE
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NELSON, CAROLINE                     NELSON, CAROLYN                       NELSON, CARROLL
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NELSON, CATE                         NELSON, CHERI                         NELSON, CHERYL
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NELSON, CHEYENNE                     NELSON, CHRIS                         NELSON, CHRISTINA
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NELSON, CHRISTINA                    NELSON, CHRISTOPHER                   NELSON, CLARE
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NELSON, COURTNEY                     NELSON, COURTNEY                      NELSON, CRAIG
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NELSON, DAVE          Case 22-11238-LSS
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NELSON, DEIDRA                       NELSON, DEREK                         NELSON, DORENE
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NELSON, DOUG                         NELSON, DOUG                          NELSON, DOUGLAS
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NELSON, EDWIN                        NELSON, ELIZABETH                     NELSON, ELIZABETH
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NELSON, EMILY                        NELSON, EMMA                          NELSON, ERIC
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NELSON, ERICA                        NELSON, ERICA                         NELSON, ERICA
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NELSON, EVAN                         NELSON, EVYN                          NELSON, GRACE
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NELSON, HAYLIE                       NELSON, HOLLY                         NELSON, HOPE
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NELSON, JACKIE                       NELSON, JAIME                         NELSON, JANAI
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NELSON, JEANA         Case 22-11238-LSS
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NELSON, JENNIE                       NELSON, JENNIFER                      NELSON, JENNIFER
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NELSON, JENNIFER                     NELSON, JENNY                         NELSON, JEREMIAH
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NELSON, JESS                         NELSON, JESSICA                       NELSON, JESSICA
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NELSON, JESSICA                      NELSON, JOANNA                        NELSON, JOHN
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NELSON, JOHN                         NELSON, JORDAN                        NELSON, JOSEPH
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NELSON, JOSH                         NELSON, JUANITA                       NELSON, JULIA
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NELSON, JULIA                        NELSON, JULIE                         NELSON, JUSTIN
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NELSON, KAITLYN                      NELSON, KAREN                         NELSON, KARLY
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NELSON, KAYLA         Case 22-11238-LSS
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NELSON, KEEGAN                       NELSON, KELLY                         NELSON, KELLY
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NELSON, KIM                          NELSON, KIMBERLIN                     NELSON, KURT
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NELSON, LATOYA                       NELSON, LEAH                          NELSON, LESSIE
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NELSON, LINDA                        NELSON, LINSEY                        NELSON, LISA
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NELSON, MADISON                      NELSON, MAEVE                         NELSON, MARGARET
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NELSON, MARIA                        NELSON, MARY KATE                     NELSON, MARY
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NELSON, MARY                         NELSON, MARY                          NELSON, MARY
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NELSON, MATTHEW                      NELSON, MAYA                          NELSON, MEGHAN
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NELSON, MELISSA                      NELSON, MICHAEL                       NELSON, MICHELE
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NELSON, MICHELLE                     NELSON, MIRJA                         NELSON, MONA
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NELSON, MORGAN                       NELSON, NATALIE                       NELSON, NICHOLAS
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NELSON, NICK                         NELSON, NICOLE                        NELSON, NICOLE
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NELSON, PAIGE                        NELSON, PAIGE                         NELSON, PAMELA
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NELSON, PATRICIA                     NELSON, PATRICK                       NELSON, PATTY
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NELSON, PETER                        NELSON, RACHAEL                       NELSON, RACHEL
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NELSON, RACHEL                       NELSON, RACHEL                        NELSON, RAECHEL
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NELSON, RALEIGH                      NELSON, RICHARD                       NELSON, RICHARD
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NELSON, ROBERT                       NELSON, ROSARIO                       NELSON, ROSEANNA
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NELSON, SAMUEL J                     NELSON, SANDRA                        NELSON, SANDRA
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NELSON, SANDY                        NELSON, SARA                          NELSON, SARA
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NELSON, SARA                         NELSON, SARA                          NELSON, SARAH
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NELSON, SHANA                        NELSON, SHANE                         NELSON, SHERI
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NELSON, STEFANIE                     NELSON, STEPHANIE                     NELSON, STEPHANIE
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NELSON, STEPHANIE                    NELSON, STEPHANIE                     NELSON, STEPHANIE
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NELSON, STEPHEN                      NELSON, TAMASYN                       NELSON, TAYLOR
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NELSON, TEE                          NELSON, TERESA                        NELSON, THOMAS
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NELSON, THOR                         NELSON, TIA                           NELSON, TRAVIS
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NELSON, TYLER                        NELSON, TYLER                         NELSON, VENESSA
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NELSON, VERONICA                     NELSON, VERONICA                      NELSON, VINCENTE
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NELSON, WENDY                        NELSON, WHITNEE                       NELSON, WILLIAM
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NELSON, ZACH                         NELSON-EDWARDS, KIM                   NELSON-LARSON, JOANNE
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NELSON-VALANTE, PAUL                 NELSY CASTRO                          NELTNER, BRIAN
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NELVIT THORPE                        NEMALI, ARUN                          NEMANI, ROMA
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NEMANIC, CARLY                       NEMARIC, MARIO                        NEMCEFF, TIM
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NEMCEK, JANE                         NEMCIK, DOROTHY                       NEMERGUT, MICHAEL
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NEMEROFF, NOAH                       NEMES, MADISON                        NEMES, SUSANNA
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NEMETH, DOMINQUE      Case 22-11238-LSS
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NEMETH, JILL                         NEMETH, KATHARINE                     NEMETH, LUNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEMETH, THOMAS                       NEMETZ, CRYSTAL                       NEMIROVSKY, YANINA
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NEMITZ, KYLA                         NEMLICH, PAM                          NEMZIN, BETSY
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NENA, LYNN                           NENDEL, ARTHUR                        NENNI, SHAYNA
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NENORTAS, ELIZABETH                  NENTWIG, MAUREEN                      NEOGUST
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NEON ROSE, INC                       NEPAL, ARYAN                          NEPOLA, JACQUELINE
5158 BRISTOL ROAD                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN DIEGO, CA 92116




NEPPEL, CHRISTINE                    NEREIDA SOTELO                        NERGER, JAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NERI, MICHAEL                        NERI, STEVE                           NERLAND, ANN
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NERMIN NUREDIN                       NERNEY, AMY                           NERNEY, KAYLA
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NERSESIAN, ALEXIS                     NERSESIAN, MATTHEW                         NERURKAR, KOMAL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NESBIT, RUTH                          NESBITT, DANIELLE                          NESBITT, DIANE
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NESBITT, NATHANIEL                    NESBITT, PHILLIP                           NESBITT, YANCY
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NESHEIM, KATE                         NESHEIM, SARAH                             NESHEIWAT, JEFFREY
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NESHEIWAT, SYLVIA                     NESHERA ANDERSON                           NESIUS, MICHELLE
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NESLER, ERIK                          NESLIN, AARON                              NESMITH, BAILEY
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NESMITH, DALLAS                       NESMITH, MALLORY                           NESMITH, STEPHANIE
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NESNAY, TAYLOR                        NESPECA, JOHN                              NESPOLI, LISA MARIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NESPRESSO USA                         NESPRESSO USA                              NESS, BRANDON
COURT SQUARE PLACE, 24-01 44TH ROAD   COURT SQUARE PLACE, 24-01 44TH ROAD        ADDRESS AVAILABLE UPON REQUEST
12TH FLOOR                            12TH FLOOR
FOOR LONG ISLAND CITY, NY 11101       LONG ISLAND CITY, NY 11101
NESS, HEATHER         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                              NESSELRODE, KATHY
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NESSELT, ASHLEIGH                       NESSER, JENNIFER                      NESSYS KUSTOMS, DEZ FERRELL
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NEST LABS                               NESTADT, GERALD                       NESTER, ASHLEY
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NESTER, ASHLEY                          NESTERCZUK, ALEXANDRA                 NESTLER, ALICE
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NESTLERODE, CHRISTINA                   NESTLERODE, MANDY                     NESTOR, DON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NESTOR, IGORE                           NESTOR, SARAH                         NESTOR, SHARON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NESTOR, STEPHANIE                       NESVADERANI, TARA                     NET PROTECT WORLDWIDE LIMITED
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ROOM 2301 23 F BAYFIELD BUILDING
                                                                              99 HENNESSY ROAD
                                                                              WANCHAI
                                                                              HONG KONG 999077 CHINA



NETFLIX                                 NETHERLAND, JILLIAN                   NETHERLY, ROSE
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NETHERTON, DIANA                        NETHERTON, HAYLEY                     NETHERY, JEAN
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NETRAM, CHRIS                           NETSKA, C                             NETSKI, RANDY
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NETTLES, AMBER                        NETTLES, BLANCHE                      NETTLES, CAMILLE
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NETTLES, DAWNALANNA                   NETTLES, DIANE                        NETTLETON, CHARLIE
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NETTLETON, KENNETH                    NETTLETON, MATTHEW                    NETTO, RASHMI
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NETUYIAH JACKSON                      NETZKE, SARA                          NEU, ANNIE
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NEU, CHANDA                           NEU, CYNTHIA                          NEU, DANIELLE
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NEU, ERIN                             NEU, KATHRYN                          NEUBAUER, DELANEY
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NEUBAUER, HANNAH                      NEUBAUER, JENNIFER                    NEUBAUER, RACHEL
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NEUBAUER, SUE                         NEUBAUM, ROXANNE                      NEUBERGER, CARLA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUBERT, KENDRA                       NEUENS, KIMBERLY                      NEUENSCHWANDER, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEUFELD, ANGELA       Case 22-11238-LSS    Doc
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                                                                           NEUFELD, 5495
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NEUFELD, KAITLYN                     NEUFELD, KATHY                         NEUFELD, KRISTY
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NEUFELD, LISA                        NEUFELD, MARTHA                        NEUFER, ELEANOR
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NEUHS, HEATHER                       NEUJAHR, PAUL                          NEUKAM, BRANDON JOSEPH
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NEUKUM, PAM                          NEULANDER, JENNA                       NEULEN, EMILIE
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NEUMAN, ARIEL                        NEUMAN, CHELSEA                        NEUMAN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NEUMAN, JEFF                         NEUMAN, JOEL                           NEUMAN, JONATHAN AND ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NEUMAN, KAREN                        NEUMAN, LISA                           NEUMAN, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NEUMAN, MELISSA                      NEUMAN, SARAH                          NEUMAN, VICKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NEUMAN, VICTORIA                     NEUMANN, ALLYSON                       NEUMANN, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NEUMANN, AUDREY       Case 22-11238-LSS    Doc
                                     NEUMANN,   2 Filed 11/30/22
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                                                                           NEUMANN, ED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUMANN, ELAINE                      NEUMANN, HELEN & RICHARD              NEUMANN, HELENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUMANN, JESSICA                     NEUMANN, JOAN                         NEUMANN, ORIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUMANN, PAULA                       NEUMANN, VERONICA                     NEUMANN, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUMARK, EMILY                       NEUMAYER, MARCIA                      NEUMAYER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUMEISTER, ANNA                     NEUMEISTER, KALI                      NEUMEYER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUMEYER, KEITH                      NEUNABER, KATHRYN                     NEUNZIG, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUROCK, JEFFREY                     NEUSTADTER, DAVE                      NEUSTAETTER, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUTZ, LLOYD                         NEUTZNER, HEINZ                       NEUVILLE, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEUWALD, NICHOLAS                    NEUWOEHNER, MARY                      NEVADA CONSUMER AFFAIRS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        DEPARTMENT OF BUSINESS & INDUSTRY
                                                                           1830 E COLLEGE PKWY STE 100
                                                                           CARSON CITY, NV 89706
NEVADA CONSUMER AFFAIRSCase 22-11238-LSS
                                      NEVADADoc   2 Filed
                                              DEPARTMENT  OF 11/30/22
                                                             TAXATION    Page 3580
                                                                              NEVADAof 5495
                                                                                     DEPARTMENT OF TAXATION
DEPARTMENT OF BUSINESS & INDUSTRY     1550 COLLEGE PARKWAY, SUITE 115          4600 KIETZKE LANE, BUILDING L, SUITE 235
3300 W SAHARA AVE STE 425             CARSON CITY, NV 89706                    RENO, NV 89502
LAS VEGAS, NV 89102




NEVADA DEPARTMENT OF TAXATION         NEVADA DEPARTMENT OF TAXATION            NEVADA DEPT OF TAXATION -SALES/USE
700 E. WARM SPRINGS RD. 2ND FLOOR     STATE OF NEVADA AR PAYMENTS              700 E. WARM SPRINGS RD. 2ND FLOOR
LAS VEGAS,, NV 89119                  P.O. BOX 52685                           LAS VEGAS, NV 89119
                                      PHOENIX, AZ 85072




NEVADA DEPT OF TAXATION               NEVADA DEPT OF TAXATION                  NEVADA DEPT OF TAXATION
1550 COLLEGE PKWY                     2550 PASEO VERDE                         4600 KIETZKE LANE
STE 115                               STE 180                                  BLDG L
CARSON CITY, NV 89706                 HENDERSON, NV 89074                      STE 235
                                                                               RENO, NV 89502



NEVADA DEPT OF TAXATION               NEVADA OFFICE OF THE LABOR               NEVADA OFFICE OF THE LABOR
GRANT SAWYER OFFICE BLDG              COMMISSIONER                             COMMISSIONER
555 E WASHINGTON AVE                  OFFICE OF THE LABOR COMMISSIONER         OFFICE OF THE LABOR COMMISSIONER
STE 1300                              1818 COLLEGE PARKWAY STE 102             3300 W SAHARA AVE STE 225
LAS VEGAS, NV 89101                   LAS VEGAS, NV 89706                      LAS VEGAS, NV 89102



NEVADA SECRETARY OF STATE             NEVANEN, FRANKLIN                        NEVAREZ, JOSE
555 E WASHINGTON AVE                  ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
SUITE 5200
LAS VEGAS, NV 89101




NEVAREZ, OSCAR                        NEVE, MARIA                              NEVEL, HARPER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NEVELN, VIVEKA                        NEVELS, KAITLIN                          NEVELS, RANDLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NEVENA ROUSSEVA                       NEVERS, MARIAH                           NEVERVE, LINDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NEVES PONTES, THALES FELIPE           NEVES, JESSICA                           NEVES, JESSICA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NEVES, KATIA                          NEVES, KERRY                             NEVES, WEMERSON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
NEVILLE JOHN MITCHELL Case 22-11238-LSS
                                     NEVILLEDoc 2 Filed 11/30/22
                                            POTTER                       Page 3581  ofALEXIS
                                                                              NEVILLE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NEVILLE, DIANE                        NEVILLE, JENNIFER                       NEVILLE, JON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEVILLE, KEVIN                        NEVILLE, KRISTINA                       NEVILLE, REBECCA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEVILLE, SAGE                         NEVIN, JACKIE                           NEVINS, NICOLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEVINS, SARAH                         NEVITTE, ALYSON                         NEVO, NOA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEVORE, KATIE                         NEW BENEFITS                            NEW DIRECTION IRA (SEED INVEST)
ADDRESS AVAILABLE UPON REQUEST        14240 PROTON ROAD                       ADDRESS UNAVAILABLE AT TIME OF FILING
                                      DALLAS, TX 75244




NEW HAMPSHIRE BUREAU OF SECURITIES    NEW HAMPSHIRE DEPT OF LABOR             NEW HAMPSHIRE DEPT OF REVENUE ADMIN
REGULATIONS                           95 PLEASANT ST                          109 PLEASANT ST
N.H DEPARTMENT OF STATE               CONCORD, NH 03301                       CONCORD, NH 03301
107 N MAIN STREET
204
CONCORD, NH 03301-4989

NEW HAMPSHIRE DEPT OF REVENUE ADMIN   NEW HAMPSHIRE STATE LIQUOR              NEW JERSEY BUREAU OF SECURITIES
PO BOX 457                            COMMISSION                              153 HALSEY STREET
CONCORD, NH 03302-0457                HEADQUARTERS, WAREHOUSING, STORE        6TH FLOOR
                                      OPERATIONS, DIVISION                    NEWARK, NJ 07102
                                      OF ENFORCEMENT, LICENSING &
                                      EDUCATION, 50 STORRS STREET
                                      CONCORD, NH 03301

NEW JERSEY DEPARTMENT OF LABOR AND    NEW JERSEY DEPARTMENT OF LAW &          NEW JERSEY DEPARTMENT OF LAW AND
WORKFORCE DEVELOPMENT                 PUBLIC                                  PUBLIC SAFETY DIVISION OF ALCOHOLIC
DIVISION OF EMPLOYER ACCOUNTS         SAFETY, DIVISION OF CONSUMER AFFAIRS    BEVERAGE CONTROL
PO BOX 929                            124 HALSEY ST                           DIVISION OF ALCOHOLIC BEVERAGE
TRENTON, NJ 08646-0929                NEWARK, NJ 07102                        CONTROL
                                                                              P.O. BOX 087
                                                                              TRENTON, NJ 08625-0087

NEW JERSEY DEPT OF LABOR              NEW JERSEY DEPT OF LABOR                NEW JERSEY DEPT OF THE TREASURY
DIV OF WAGE AND HOUR COMPLIANCE       DIV OF WAGE AND HOUR COMPLIANCE         DIVISION OF ADMINISTRATION
1 JOHN FITCH PLAZA 3RD FL             PO BOX 389                              PO BOX 311
TRENTON, NJ 08611                     TRENTON, NJ 08625-0389                  TRENTON, NJ 08625-0211
NEW JERSEY DEPT OF THE Case 22-11238-LSS
                       TREASURY              Doc DEPT
                                      NEW JERSEY   2 Filed
                                                        OF THE11/30/22
                                                               TREASURY     Page 3582  of 5495
                                                                                 NEW JERSEY DIVISION OF ALCOHOLIC
DIVISION OF TAXATION                  DIVISION OF TAXATION                        BEVERAGE CONTROL
BANKRUPTCY SECTION                    PO BOX 002                                  ADDRESS UNAVAILABLE AT TIME OF FILING
PO BOX 245                            TRENTON, NJ 08625-0002
TRENTON, NJ 08695-0245



NEW JERSEY DIVISION OF TAXATION        NEW JERSEY SALES & USE TAX                 NEW MEXICO DEPT OF LABOR
REVENUE PROCESSING CENTER              ADDRESS UNAVAILABLE AT TIME OF FILING      401 BROADWAY NE
CORPORATION BUSINESS TAX P                                                        ALBUQUERQUE, NM 87102
O BOX 257
TRENTON, NJ 08646-257



NEW MEXICO DEPT OF LABOR               NEW MEXICO REGULATION & LICENSING          NEW MEXICO REVENUE & TAXATION
PO BOX 1928                            DEPARTMENT                                 DEPARTMENT
ALBUQUERQUE, NM 87103                  5500 SAN ANTONIO DR NE                     PO BOX 25127
                                       ALBUQUERQUE, NM 87109                      SANTA FE, NM 87504-5127




NEW MEXICO SECUIRITIES DIVISION        NEW MEXICO SECURITIES DIVISION             NEW MEXICO TAXATION AND REVENUE
2550 CERRILLOS RD                      PO BOX 25101                               1100 S ST FRANCIS DRIVE
3RD FLOOR                              SANTA FE, NM 87504                         PO BOX 630
SANTE FE, NM 87505                                                                SANTA FE, NM 87504-0630




NEW PINNACLE CORPORATION               NEW WAVE INTERNATIONAL CARGO, INC-         NEW WEST CATERING
3225 MCLEOD DRIVE 100                  BWSC                                       PO BOX 596
LAS VEGAS, NV 89121                    6800 SANTA FE DR UNIT A                    BUELLTON, CA 93427
                                       HODGKINS, IL 60525




NEW YORK CITY DEPARTMENT OF FINANCE    NEW YORK DEPT. OF FINANCE                  NEW YORK DEPT. OF FINANCE
PO BOX 3933                            BANKRUPTCY SECTION                         W.A. HARRIMAN CAMPUS, B8
NEW YORK, NY 10008                     PO BOX 5300                                BLDG 9 RM 449
                                       ALBANY, NY 12205-0300                      ALBANY, NY 12227




NEW YORK DEPT. OF FINANCE              NEW YORK INVESTOR PROTECTION BUREAU        NEW YORK MEDIA LLC
W.A. HARRIMAN CAMPUS, B8               120 BROADWAY                               75 VARICK STREET 4TH FLOOR
RM 700                                 23RD FLOOR                                 NEW YORK, NY 10013
ALBANY, NY 12227                       NEW YORK, NY 10271




NEW YORK STATE CORPORATION TAX         NEW YORK STATE CORPORATION TAX             NEW YORK STATE DEPARTMENT OF LAW
PO BOX 4136                            PROCESSING UNIT                            NEW YORK STATE INVESTOR PROTECTION
BINGHAMTON, NY 13902-4136              PO BOX 22094                               BUREAU
                                       ALBANY, NY 12201-2094                      120 BROADWAY, 23RD FLOOR
                                                                                  NEW YORK, NY 10271



NEW YORK STATE DEPARTMENT OF STATE     NEW YORK STATE DEPT OF LABOR               NEW YORK STATE LIQUOR AUTHORITY
DIVISION OF CONSUMER PROTECTION        BLDG 12                                    DIVISION OF ALCOHOLIC BEVERAGE
CONSUMER ASSISTANCE UNIT               W.A. HARRIMAN CAMPUS                       CONTROL
99 WASHINGTON AVE                      ALBANY, NY 12240                           163 W 125TH STREET
ALBANY, NY 12231                                                                  NEW YORK, NY 10027



NEW YORK STATE LIQUOR AUTHORITY        NEW YORK STATE LIQUOR AUTHORITY            NEW YORK STATE SALES TAX
DIVISION OF ALCOHOLIC BEVERAGE         DIVISION OF ALCOHOLIC BEVERAGE             ADDRESS UNAVAILABLE AT TIME OF FILING
CONTROL                                CONTROL
535 WASHINGTON STREET, SUITE 303       80 SOUTH SWAN STREET, SUITE 900
BUFFALO, NY 14203                      ALBANY, NY 12210
NEW YORK TIMES DIGITAL Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                      NEW, ASHLEY                      Page 3583  of 5495
                                                                            NEW, AUSTIN
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWAY, TAYLOR                         NEWBERG, ZOE                          NEWBERRY, ANTHONY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWBERRY, BRYNDON                     NEWBERRY, DANNY                       NEWBERRY, EMMA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWBERRY, HEPHZIABAH                  NEWBERRY, MANDY                       NEWBERRY, REBECCA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWBERRY, ROBIN                       NEWBERRY-WILSON, RUTH                 NEWBINS, GLEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWBOLD, OLIVER                       NEWBROUGH, KRISTYN                    NEWBY, AMY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWBY, JENNIFER                       NEWCITY, COLIN                        NEWCOMB, ABIGAYLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWCOMB, BRAD                         NEWCOMB, ERIN                         NEWCOMB, INGRID
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWCOMB, LAWSON                       NEWCOMB, LESLIE                       NEWCOMB, MELISSA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWCOMB, RYAN                         NEWCOMBE, JOANNE                      NEWCOME, MARCI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEWCOMER, CARISSA     Case 22-11238-LSS    DocDAVID
                                     NEWCOMER,  2 Filed 11/30/22         Page 3584 of 5495
                                                                              NEWCOMER, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NEWEGG.COM                              NEWELL, APRIL                         NEWELL, BRIDGET
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWELL, BRIDIE                          NEWELL, CAITLYN                       NEWELL, DANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWELL, ERIKA                           NEWELL, GEORGE                        NEWELL, HANNAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWELL, JESSICA                         NEWELL, LARRY                         NEWELL, MEGHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWELL, MICHELE                         NEWELL, NATALIE                       NEWELL, PRISCILLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWELL, RICHARD                         NEWELL, SCOTT                         NEWELL, TYLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWEY, LAURA AND DAVE                   NEWEY, MAURA                          NEWFIELD, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWGREN, REBECCA                        NEWHALL, EILEEN                       NEWHART, BRENDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWHART, VANESSA                        NEWHOLM, SADIE                        NEWHOUSE, EVAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEWHOUSE, KELLEN      Case 22-11238-LSS    DocNEIL
                                     NEWHOUSE,  2 Filed 11/30/22      Page 3585
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NEWIRK, AMARIS                       NEWKIRK, JEFF                         NEWKIRK, OLIVER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWKIRK, SARAH                       NEWLAND, ASHLEY                       NEWLAND, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWLAND, SAMANTHA                    NEWLIN, LARISSA                       NEWLON, KENDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, ALEXANDER                    NEWMAN, ALEXIS                        NEWMAN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, AMY                          NEWMAN, ANGELA                        NEWMAN, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, ASHLEY                       NEWMAN, AUBRIE                        NEWMAN, BILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, BRETT                        NEWMAN, CARA                          NEWMAN, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, CHRISTOPHER                  NEWMAN, DAVID                         NEWMAN, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, ELIZABETH                    NEWMAN, EMILY                         NEWMAN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEWMAN, GITTA         Case 22-11238-LSS    Doc
                                     NEWMAN,    2 Filed 11/30/22
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                                                                           NEWMAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, JAMIE                        NEWMAN, JANET                         NEWMAN, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, JILL                         NEWMAN, JOHANNA                       NEWMAN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, JOHN                         NEWMAN, KARIE                         NEWMAN, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, KRISTEN                      NEWMAN, KRISTI                        NEWMAN, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, LEIGH                        NEWMAN, LIZ                           NEWMAN, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, MARCIA                       NEWMAN, MEGHAN                        NEWMAN, MELODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, MORGAN                       NEWMAN, NICOLE                        NEWMAN, PAMELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, RACHEL                       NEWMAN, RACHEL                        NEWMAN, RAQUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWMAN, RAVEN                        NEWMAN, RIANNA                        NEWMAN, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEWMAN, ROBERT        Case 22-11238-LSS    Doc
                                     NEWMAN,    2 Filed 11/30/22
                                             SARAH                      Page 3587 of SCOTTIE
                                                                             NEWMAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEWMAN, SIDNEE                       NEWMAN, SUSAN                           NEWMAN, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEWMAN, TAMARI                       NEWMAN, TINA                            NEWMAN, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEWMAN, VALERIE                      NEWMAN, ZACHARY                         NEWMANN, FRANKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEWMARK KNIGHT FRANK                 NEWMARK, KEENA                          NEWNAM, RACHAEL
700 S. FLOWER ST. STE 2500           ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90017




NEWPORT MANSIONS WINE & FOOD         NEWPORT TRIAL GROUP, A PROFESSIONAL     NEWPORT, KATHERINE
FESTIVAL                             CORP                                    ADDRESS AVAILABLE UPON REQUEST
C/O WISE UP EVENTS                   4100 NEWPORT PLACE DRIVE SUITE 800
39 COMMONWEALTH AVE 11               NEWPORT BEACH, CA 92660
NEWTON, MA 02467



NEWPORT, TYLER                       NEWQUIST, JEFFREY                       NEWQUIST, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEWSCHWANDER, CHLOE                  NEWSMAX MEDIA, INC.                     NEW-SMITH, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       750 PARK OF COMMERCE DRIVE SUITE 100    ADDRESS AVAILABLE UPON REQUEST
                                     BOCA RATON, FL 33487




NEWSOM, AMBER                        NEWSOM, KATHRYN                         NEWSOM, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NEWSOM, REMA                         NEWSOM, REMA                            NEWSOM, TONYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NEWSOME, ALICE        Case 22-11238-LSS    Doc
                                     NEWSOME,   2 Filed 11/30/22
                                              BRENDAN                 Page 3588 of 5495
                                                                           NEWSOME, JESSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWSOME, KAITLYN                     NEWSOME, KATHY                        NEWSOME, MANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWSOME, MAUREEN                     NEWSOME, QIANA                        NEWSOME, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWSPAPER AFFILIATE NETWORK          NEWSTEAD, TINA                        NEWTH, LAURA
916 1/2 24TH STREET SUITE 1          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SACRAMENTO, CA 95816




NEWTON, ABIGAIL                      NEWTON, ANNE                          NEWTON, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWTON, CHENEY                       NEWTON, CHERYL                        NEWTON, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWTON, ELAINE                       NEWTON, EMILY                         NEWTON, GEOFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWTON, IRENE                        NEWTON, ISABELLA                      NEWTON, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWTON, JILLY                        NEWTON, KATIE                         NEWTON, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWTON, KIM                          NEWTON, KRISTEN                       NEWTON, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEWTON, MACKENZIE     Case 22-11238-LSS    Doc
                                     NEWTON,    2 Filed 11/30/22
                                             MARGARET                    Page 3589 of MARISSA
                                                                              NEWTON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NEWTON, NICOLE                          NEWTON, PARIS                         NEWTON, PAT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEWTON, SELLA                           NEWTON, TRICIA                        NEWTON, WESLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEXT DAY SIGNS                          NEXTCAP LLC (CORNERSTONE WINE         NEXTERRA WINE CO.
ADDRESS UNAVAILABLE AT TIME OF FILING   SUPPLY, INC.)                         9016 MURPHY ROAD
                                        705 N. STATE ST 517                   WOODRIDGE, IL 60517
                                        UKIAH, CA 95482




NEXTGEN CATTLE FEEDING, CHASE CARLIN    NEY, ERIN                             NEY, FRANK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEY, JOSEPH                             NEY, PATTY                            NEYHART, CASSIDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEYHART, KIMBERLY                       NEYHART, MITCH                        NEYHART, NANCY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NEYMAN, NATALIE                         NEZ, SHANDIIN                         NEZIN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NFI LP (NFI LOGISTICS LLC)              NFI LP (NFI LOGISTICS LLC)            NG WAI, NICOLAS
1515 BURNT MILL RD                      P.O. BOX 417736                       ADDRESS AVAILABLE UPON REQUEST
CHERRY HILL, NJ 08003                   BOSTON, MA 02241-7736




NG, AMANDA                              NG, COLLIN                            NG, JASMINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NG, KATHERINE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NG, LANDE                           Page 3590  of 5495
                                                                              NG, RAYMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NG, SAMANTHA                            NG, SANDY                             NG, WENDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NG-CONFERENCE.ORG                       NGENGI, JADE                          NGO, CINDY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGO, CINDY                              NGO, ESTHER                           NGO, RYAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGO, SAMANTHA                           NGO, STEPHEN                          NGO, YOLANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGO-BROWN, TRUDY                        NGOC PHUNG                            NGOC VU
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGUE, IVAIN                             NGUN, IRENE                           NGUTI-DICKERSON, CAMILLE
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NGUYEN, ALAN                            NGUYEN, AMBER                         NGUYEN, AMY
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NGUYEN, ANDY                            NGUYEN, ANH THU                       NGUYEN, ANTHONY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGUYEN, ARIANA                          NGUYEN, ASHLEY                        NGUYEN, AUTUMN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NGUYEN, BALMA         Case 22-11238-LSS    Doc
                                     NGUYEN,     2 Filed 11/30/22
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NGUYEN, CAN                          NGUYEN, CASSIDY                       NGUYEN, CHELSEA
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NGUYEN, CHRISTABELLE                 NGUYEN, CHRISTINE                     NGUYEN, CINDY
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NGUYEN, CODY                         NGUYEN, CRYSTAL                       NGUYEN, DANNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGUYEN, DANNY                        NGUYEN, DANVY                         NGUYEN, DIEM
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NGUYEN, DIEM                         NGUYEN, DUNG LORIE                    NGUYEN, DUNG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGUYEN, ELIZABETH                    NGUYEN, GEOFFREY                      NGUYEN, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGUYEN, HA                           NGUYEN, HANG                          NGUYEN, HATTIE
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NGUYEN, HUU                          NGUYEN, HUU-BANG                      NGUYEN, HUYEN
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NGUYEN, JACQUELINE                   NGUYEN, JAMES                         NGUYEN, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NGUYEN, JENNIFER      Case 22-11238-LSS    Doc
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NGUYEN, JIMMY                        NGUYEN, JON                           NGUYEN, JULIA
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NGUYEN, JULIE                        NGUYEN, KATHLEEN                      NGUYEN, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGUYEN, KENNETH                      NGUYEN, KEVIN                         NGUYEN, KHANH
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NGUYEN, KHAZANA                      NGUYEN, KIET                          NGUYEN, KIM
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NGUYEN, KIM                          NGUYEN, KIMANNA                       NGUYEN, KIMBERLY
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NGUYEN, KIMBERLY                     NGUYEN, KIMBERLY                      NGUYEN, KIMCHI
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NGUYEN, KIMUYEN                      NGUYEN, LEVAN                         NGUYEN, LILLIAN
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NGUYEN, LINDA                        NGUYEN, LINDSAY                       NGUYEN, LISA
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NGUYEN, LIZ                          NGUYEN, LUAN                          NGUYEN, LY
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NGUYEN, MARIAH                       NGUYEN, MAU UYEN TRANG                 NGUYEN, MIMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NGUYEN, MINDY                        NGUYEN, MINH                           NGUYEN, MY
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NGUYEN, NHAT                         NGUYEN, NICOLE                         NGUYEN, NIKKI
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NGUYEN, NIKKIE                       NGUYEN, PHOEBE                         NGUYEN, PHUC
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NGUYEN, PHUONG                       NGUYEN, QUYEN                          NGUYEN, RICHIE
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NGUYEN, ROBIN                        NGUYEN, ROSE                           NGUYEN, SALLY
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NGUYEN, SAMANTHA                     NGUYEN, SAMI & NATHAN                  NGUYEN, SANY
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NGUYEN, SARAH                        NGUYEN, SHAYNA                         NGUYEN, SONJA
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NGUYEN, SUONG                        NGUYEN, THANH                          NGUYEN, THI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NGUYEN, THOMAS        Case 22-11238-LSS    Doc
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NGUYEN, THYANA                       NGUYEN, TIFFANY                       NGUYEN, TIFFANY
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NGUYEN, TINA                         NGUYEN, TONY                          NGUYEN, TRACY
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NGUYEN, TRAM                         NGUYEN, TRANG                         NGUYEN, TRINH
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NGUYEN, TUNG                         NGUYEN, TUNG                          NGUYEN, VAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGUYEN, VICTOR                       NGUYEN, VIVIAN                        NGUYEN, VIVIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NGWENYA, THABO                       NH LIQUOR COMMISSION                  NH, SARAH
ADDRESS AVAILABLE UPON REQUEST       50 STORRS ST                          ADDRESS AVAILABLE UPON REQUEST
                                     CONCORD, NH 03301




NHAM, CONNIE                         NHAMBURO, FADZAI                      NHIEU, VIVIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NI, KERRY                            NI, RUNZHEN                           NI, YUCHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NIAMBI, KATERIA                      NIANG, YACINE                         NIAZI, ANIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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NICARETTA, ANTHONY                      NICASTRO, BETSY                       NICAUD, MARY
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NICE REPLY                              NICELY, BRUCE                         NICEWANDER, AMY
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NICEWONDER, KEVIN                       NICHAY, DEIRDRE                       NICHELINI, LYNN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICHELSON, MATT                         NICHEZ                                NICHITINA, OXANA
ADDRESS AVAILABLE UPON REQUEST          1058 DELAWARE ST.100                  ADDRESS AVAILABLE UPON REQUEST
                                        DENVER, CO 80204




NICHOL, GREG                            NICHOL, JOUSSELIN                     NICHOL, MCKENZIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICHOL, ROY                             NICHOLAS ADAM DE RAAD                 NICHOLAS ADAM SOUTHGATE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICHOLAS ANGELIS                        NICHOLAS ARCINIEGAS                   NICHOLAS B KABAT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICHOLAS BONILLA                        NICHOLAS BUBIK                        NICHOLAS CALCOTT
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NICHOLAS CAPOFARI                       NICHOLAS F GREBEN                     NICHOLAS FERRIF
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NICHOLAS FRATANTONIO Case 22-11238-LSS    Doc
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NICHOLAS KEMPF                       NICHOLAS KIRVIDA                       NICHOLAS MEJIAS
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NICHOLAS MORGAN VIVION               NICHOLAS NOVAK                         NICHOLAS ONDREJKA
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NICHOLAS PARDON                      NICHOLAS PATTI, PATTI GROUP            NICHOLAS PICCIOCCA
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NICHOLAS PIZZO                       NICHOLAS POLITIS                       NICHOLAS POLITIS
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NICHOLAS PRYTHERCH                   NICHOLAS ROGOSIN                       NICHOLAS ROSS
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NICHOLAS SHANE PATRICK               NICHOLAS SNABES                        NICHOLAS THEODORE GARCIA
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NICHOLAS VINCENT PREZIOSO            NICHOLAS WALTER JOHNS                  NICHOLAS WILLIAM MITCHELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NICHOLAS WILLIAMS                    NICHOLAS, ALEXIS                       NICHOLAS, CARLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NICHOLAS, CLAIRE                     NICHOLAS, DEBRA                        NICHOLAS, EVANS
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NICHOLAS, GISELLE     Case 22-11238-LSS    Doc
                                     NICHOLAS,   2 Filed 11/30/22
                                               JAMES                  Page 3597  of 5495
                                                                           NICHOLAS, JERRY
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NICHOLAS, JOANNE                     NICHOLAS, JOE                          NICHOLAS, LISA
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NICHOLAS, MADDISON                   NICHOLAS, RACHEL                       NICHOLAS, SUSAN
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NICHOLE GUERRERO                     NICHOLE SHOWALTER-CLOUSE               NICHOLE SMITH
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NICHOLES, JAQUELYN                   NICHOLES, JONATHAN                     NICHOLL, KATHY
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NICHOLLS, CATHERINE                  NICHOLLS, ELIZABETH                    NICHOLLS, IVETTE
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NICHOLLS, MIA                        NICHOLLS, SHARON                       NICHOLS
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NICHOLS, AIMEE                       NICHOLS, AMANDA                        NICHOLS, ANASTACIA
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NICHOLS, ANDREA                      NICHOLS, ASHLEE                        NICHOLS, BARBARA
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NICHOLS, BILL                        NICHOLS, BRIN                          NICHOLS, CHELSEA
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NICHOLS, CHERI        Case 22-11238-LSS    Doc
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NICHOLS, DANIEL                      NICHOLS, DICK/DIANE                   NICHOLS, EUGENE
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NICHOLS, GINA                        NICHOLS, GRETA                        NICHOLS, HALEY
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NICHOLS, HAYDEN                      NICHOLS, INESSA                       NICHOLS, JAMES
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NICHOLS, JAMIE                       NICHOLS, JENNIFER                     NICHOLS, JENNIFER
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NICHOLS, JESSICA                     NICHOLS, JESSICA                      NICHOLS, JESSICA
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NICHOLS, JULIE                       NICHOLS, KAREN                        NICHOLS, KATIE
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NICHOLS, KATIE                       NICHOLS, KAYLEE                       NICHOLS, KELLY
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NICHOLS, KELSEY                      NICHOLS, KEVIN                        NICHOLS, KIM
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NICHOLS, KIM                         NICHOLS, KINGA                        NICHOLS, KRISTEN
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NICHOLS, LEATTA       Case 22-11238-LSS    Doc
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NICHOLS, LYNN                        NICHOLS, MARIA                         NICHOLS, MARIANNE
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NICHOLS, MARK                        NICHOLS, MEGAN                         NICHOLS, MELVA
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NICHOLS, MICHELLE                    NICHOLS, NANCY                         NICHOLS, RACHEL
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NICHOLS, RAFER                       NICHOLS, RILEY                         NICHOLS, SARA
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NICHOLS, SARAH                       NICHOLS, SARAH                         NICHOLS, SARAH
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NICHOLS, SHANNON                     NICHOLS, SHEENA                        NICHOLS, SHETORRA
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NICHOLS, SHETORRA                    NICHOLS, SHIRLYNE                      NICHOLS, SUZANNE
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NICHOLS, TANYA                       NICHOLS, TAYLOR                        NICHOLS, TYLER
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NICHOLS, VIRGINIA                    NICHOLS, WILLIAM                       NICHOLS-BAKER, APRYL
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NICHOLSEN, CARRIE     Case 22-11238-LSS    DocALEXIS
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                                                                           NICHOLSON, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICHOLSON, BEATRIZ                   NICHOLSON, BROOKE                     NICHOLSON, CANDACE
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NICHOLSON, CARA                      NICHOLSON, CHARLOT                    NICHOLSON, COLLEEN
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NICHOLSON, DAVID L.                  NICHOLSON, DIONNE                     NICHOLSON, DONALD
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NICHOLSON, DONNA                     NICHOLSON, ED                         NICHOLSON, ELIZABETH
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NICHOLSON, JENNIFER                  NICHOLSON, JILL                       NICHOLSON, JOHN
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NICHOLSON, JORDAN                    NICHOLSON, KATE                       NICHOLSON, KAYLA
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NICHOLSON, KENISHA                   NICHOLSON, LAURA                      NICHOLSON, LINDSEY
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NICHOLSON, MAEVE                     NICHOLSON, MARGARET                   NICHOLSON, MARLENA
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NICHOLSON, MARYANNE                  NICHOLSON, NAMCY                      NICHOLSON, PAM
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NICHOLSON, RAMONA     Case 22-11238-LSS    DocROBYN
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                                                                              NICHOLSON, ROSE
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NICHOLSON, SCHREKA                      NICHOLSON, SHAUN                      NICHOLSON, SUSANNA
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NICHOLSON, TORI                         NICHOLSON, VERONICA                   NICHTING, EMILY
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NICK SETH-SMITH                         NICK, JOEL                            NICK, THERESA
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NICKCO                                  NICKEL & NICKLE VINEYARDS             NICKEL & NICKLE VINEYARDS
ADDRESS UNAVAILABLE AT TIME OF FILING   1350 ACACIA DRIVE                     P.O. BOX 7
                                        P.O BOX 327                           OAKVILLE, CA 94562
                                        OAKVILLE, CA 94532




NICKEL, ASHTON                          NICKEL, JEFFREY                       NICKEL, LARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICKELL, BREANNA                        NICKELL, DIANA                        NICKELL, KARISA
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NICKELS, AMELIA                         NICKELSEN, FALLON                     NICKELSON, BROOKE
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NICKELSON, CHRISTOPHER                  NICKELSON, MEGAN                      NICKENS, LAURA
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NICKERSON, EDWARDINE                    NICKERSON, GABBY                      NICKERSON, JORDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NICKERSON, KENNEDY    Case 22-11238-LSS    DocLINDA
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                                                                           NICKERSON, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICKERSON, SHANNON                   NICKESON, HOPE                        NICKISCH, KIRSTEN
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NICKISCHER, KATHRYN                  NICKLAS, HAROLD                       NICKLAS, SHERROL
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NICKLE, SHEILA                       NICKLESS, GARY                        NICKLESS, TIMOTHY
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NICKOLAI, NATE                       NICKOLAS PRITZAKIS                    NICKOLOFF-BYBEL, EMILY
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NICKOLSON, CLAUDIA                   NICKS, HEIKE                          NICKSON, JOY
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NICKSON, KELCEY                      NICKSON, LAURYN                       NICKSON, LEON
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NICLES, MICHAEL                      NICODEMUS, MARTHALI                   NICOL, MARCIA
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NICOL, TERIA                         NICOL, WESLEY                         NICOLA J PILKINGTON
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NICOLA, MOLLY                        NICOLAI, PASCAL                       NICOLAIS, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NICOLAOU, MARIA       Case 22-11238-LSS
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                                                                           NICOLAS, 5495
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NICOLAS, WENDY                       NICOLAY, CASSY                        NICOLE ABELL
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NICOLE ALLEN                         NICOLE BACHAUD                        NICOLE BLAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICOLE BROWN-BOOKER                  NICOLE CROOMS BRADICA                 NICOLE CRUZ
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NICOLE DAVIS                         NICOLE DEMAIO                         NICOLE DIAMANT
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NICOLE ETHENOZ                       NICOLE FREEMAN                        NICOLE GREENLEE
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NICOLE HUGANIR                       NICOLE KARCZEWSKI                     NICOLE KELLY
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NICOLE KIERNAN                       NICOLE L CLONTZ                       NICOLE LAWRENCE-GRIER
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NICOLE LAWTONE-BOWLES                NICOLE LEONARD                        NICOLE LIAW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NICOLE LYNN LESSARD                  NICOLE M. BARLETT FUNERAL HOME        NICOLE MARIE HEETLAND
ADDRESS AVAILABLE UPON REQUEST       & CREMATIONS INC.                     ADDRESS AVAILABLE UPON REQUEST
                                     4406 GERMANTOWN AVENUE
                                     PHILADELPHIA, PA 19140
NICOLE MARTINEAU      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NICOLE MICHAELS                  Page 3604
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                                                                                 MONTAGUE
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NICOLE OXENDINE                      NICOLE PRECIE                         NICOLE SASSER
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NICOLE SOPKO                         NICOLE SOUZA                          NICOLE SWEET
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NICOLE TSAI                          NICOLE WATSON                         NICOLE WILLIAMS
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NICOLE, ANGELA                       NICOLE, COURTNEY                      NICOLE, FEDDOCK,
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NICOLE, SHAYLA                       NICOLE, TATIANA                       NICOLE, TATIANA
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NICOLE, TO:                          NICOLE, YASMINE                       NICOLETTE DUNAGAN
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NICOLETTE GELFAND                    NICOLETTI, CYNTHIA                    NICOLETTI, DEBBIE
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NICOLETTI, KIM                       NICOLETTI, TINA                       NICOLI, ELENA-RALUCA
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NICOLL, JENNIFER                     NICOLLS, HILARY                       NICOLLS, MICHAEL
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NICOLO, ELENI         Case 22-11238-LSS    Doc
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NICOSIA S.P.A.                       NICOSIA, ISABELLA                     NICOSIA, LISA
SEDE LEGALE, CANTINA E UFFICI:       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VIA L. CAPUANA, S.N. 95039
TRECASTAGNI (CT)
ITALY



NICOTERA, MICHAEL                    NICS ON BEVERLY                       NICS RESTAURANT
ADDRESS AVAILABLE UPON REQUEST       8265 BEVERLY BLVD                     ADDRESS UNAVAILABLE AT TIME OF FILING
                                     LOS ANGELES, CA 90048




NIDAMARTI, NEHA                      NIDEVER, ISABELLA                     NIDHEESH SHARMA
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NIDHI RETIREMENT TRUST               NIE, JOYCE                            NIE, XIAORAN
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NIE, YUHAN                           NIEBCH, ANNE                          NIEBEL, AMANDA
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NIEBLA, RAFAEL                       NIEBO, MICHAEL                        NIEBRUEGGE, JESSE
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NIEBRUEGGE, MARY                     NIEBUHR, CAROLYN                      NIEBUR, ABBY
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NIEBUR, MICHELLE                     NIEBYLSKI, RENEE                      NIECE, WARREN
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NIECHWIADOWICZ, PETER                NIEDBALA, PAUL                        NIEDERKLEIN, CHRISTINA
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NIEDERKOHR, RACHEL    Case 22-11238-LSS    Doc
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NIEDRICH, KARI                       NIEDRICH, MICHAEL                      NIEDZINSKI, DEBI
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NIEDZWECKI, JACLYN                   NIEF, ELLERY                           NIEGAS, KATIE
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NIEHAUS, ERIN                        NIEHAUS, TERESA                        NIEHUES, CARA
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NIEKAMP, KATIE                       NIELDS, SHARON                         NIELEBOCK, DIANE
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NIELEBOCK, NORBERT                   NIELS SNYDER                           NIELSEN, AMY
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NIELSEN, ANDREW                      NIELSEN, ANGELA                        NIELSEN, BROOKE
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NIELSEN, BRUCE                       NIELSEN, CASSEY                        NIELSEN, CHARLIE
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NIELSEN, DEB                         NIELSEN, KRISTEN                       NIELSEN, LAUREN
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NIELSEN, LAUREN                      NIELSEN, MAKENNA                       NIELSEN, MATHILDE
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NIELSEN, STEPHANIE    Case 22-11238-LSS     Doc
                                     NIELSEN,    2 Filed 11/30/22
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NIELSEN, TIM                         NIELSEN, WENDI                         NIELSEN, WENDY
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NIELSON, CAITLIN                     NIELSON, CINDI                         NIELSON, HANNA
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NIELSON, IOLA DAWN                   NIELSON, MATT                          NIELSON, REBECCA
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NIELSON, WHITNEY                     NIEMAN, NATALIE                        NIEMANN, PATRICIA
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NIEMANN, TANNER                      NIEMCZUK, TANNER                       NIEMCZYK, MALLORY
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NIEMEYER, AMBER                      NIEMEYER, HANNAH                       NIEMI, ELIZABETH
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NIEMI, MELISSA                       NIEMI, MOLLY                           NIEMIEC, EMERY
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NIENAS, ANN                          NIENBURG, SARAH                        NIENOW, KYLIE
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NIENSTEDT, KACY                      NIERGARTH, KATIE                       NIERSTEDT, ELLIE
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NIERZWICKI, CHRISTINE Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     NIES, JOHN                       Page 3608   of 5495
                                                                           NIES, RACHEL
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NIES, WENDY                          NIESE, BRIDGET                        NIESE, PHILIP
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NIESE, THOMAS                        NIESLANIK, DREW                       NIESLAWSKI, AUDREY
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NIESPODZIEWANSKI, CASSIE             NIESSEN, DAKOTA                       NIESZ-ENT, SYMONE
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NIETHAMMER, KATIE                    NIETO, ADRIEN                         NIETO, AMPARO
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NIETO, ANDREA                        NIETO, ERIN                           NIETO, JULIO
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NIETO, MARIANA                       NIEVES SOTO, SARA                     NIEVES, ADRIANA
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NIEVES, AMANDA                       NIEVES, AMANDA                        NIEVES, AMBROSIA
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NIEVES, C                            NIEVES, CHRISTINE                     NIEVES, DOMINIC
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NIEVES, HECTOR                       NIEVES, MOLLY                         NIEVES, NICOLE
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NIEVES, SARAH         Case 22-11238-LSS
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                                                                              NIEVES-AXIBAL,
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NIEWIEROWSKI, CHRISTINE                 NIEZGODZKI, KAYLIE                     NIFONG, ERIC
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NIGAM, AMBER                            NIGBUR, MICHELE                        NIGEL C DSOUZA
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NIGEL HARRIS                            NIGHORN, SAMANTHA                      NIGHT MARKET
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NIGHTENGALE, CARMEN                     NIGHTENGALE, KELLY                     NIGHTINGALE, ADRIENNE
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NIGHTINGALE, CELIA                      NIGHTINGALE, GEMMA                     NIGHTINGALE, JACQUELINE
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NIGHTINGALE, PATTY                      NIGRO, BRIANNA                         NIGRO, COURTNEY
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NIGRO, ERIN                             NIGRO, SHARI                           NIHAL, JAY
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NIICE LTD                               NIJJER, JASMIN                         NIKE STORE
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NIKESH BAJAJ                            NIKHANJ, SOMA                          NIKHIL GAHLOT
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NIKITIN, ANNA         Case 22-11238-LSS
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NIKKEL, BRIANNA                      NIKKI DUVNJAK                         NIKKI MEYER
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NIKKI PERKINS                        NIKKI SPAHN                           NIKKIA NELSON
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NIKNYA, SAEEDEH                      NIKOLA GAGIC                          NIKOLAI, JAMIE
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NIKOLAIDIS, TATIANA                  NIKOLAUS BASEDOW                      NIKOLE EATON
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NIKOLOV, ALEXANDER                   NIKOLOVSKI, DREW                      NILAKANTQN, ANAND
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NILAND, DAVID                        NILAND, KATHERINE                     NILDA, ORTIZ,
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NILE HARRIS                          NILE, LINDSAY                         NILES, ARIEL
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NILES, JENNIFER                      NILES, TONY                           NILESH DHOOT
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NILESH SAVALIA                       NILSEN, HANNAH                        NILSEN, LYNN
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NILSEN, RYAN          Case 22-11238-LSS
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NILSON, THOMAS                       NILSSEN, MEGGIN                          NILSSON, CATHERINE
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NILSSON, VALERIE                     NIMA, NADIA                              NIMMALA, APARNA
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NIMMER, ADAM                         NIMMER, MECCAY                           NIMMO, DUSTIN
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NIMMO, MADDY                         NIMO, MARK                               NIMPTSCH, SARAH
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NIMZ, TASHAE                         NINA JEANNE LACHMAN                      NINA WONG-HAMAMOTO
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NINA ZUBKOVA                         NINAZ TAGHVA                             NINESS, MACKENZIE
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NING, JING                           NINI, EDWARDA                            NINK, MELISSA
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NINO, YENIFER                        NINOS PIZZA                              NINTZEL, JAMES
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NIP, JESSICA                         NIP-P13014, REDPOST USA INC              NIR, ALINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
NIRAJ PATEL           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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NIRGIANAKIS, GINA                    NIRIDER, MCCREA                       NIRVAN KHOKHANI
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NISBET, CRYSTAL                      NISBETT, KRISTIN                      NISENKIER, NOAH
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NISHA VORA                           NISHANT MANI                          NISHANT MANI
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NISHANTH CHANDRAN RAMESH CHANDRAN    NISHAT JABIN                          NISHIGUCHI, MASANORI
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NISHIMOTO, HANNAH                    NISIOTIS, LORI                        NISLEY, HOLLEY
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NISPEL, MARNI                        NISPEL, MARNI                         NISSAN, ALEXANDRA
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NISSEN, ALEXANDRA                    NISSEN, MATT                          NISSEN, NUALA
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NISSEN, SUSAN                        NISSWANDT, FRANZ                      NIST, ERIKA
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NISTORESCU, NICOLE                   NITCH, KELLY ANN                      NITCHEN, SARAH
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NITES, NATALIE        Case 22-11238-LSS     Doc
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                                                                           NITHI, YAKUMAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NITIN KULKARNI                       NITISH KUMAR                           NITSCH, AMELIA
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NITSCHKE, SAMANTHA                   NITTA, NEDRA                           NITTI, VANESSA
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NITTOLO MCDONALD, KAREN              NITZ, ANDREW                           NITZ, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NITZ, MEGAN                          NITZ, WENDEE                           NITZSCHE, GLADYCE
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NIU, ALEX                            NIU, XINRAN                            NIURKA MUSTAFA
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NIV, NIMA                            NIVAL, NATALIA                         NIVEN, ELLEN
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NIVEN, KATHERINE                     NIVEN, SUSANNA                         NIX, AMBER
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NIX, ANNA                            NIX, C                                 NIX, GRAHAM
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NIX, HEATHER                         NIX, MACKENZIE                         NIX, MARKI
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NIX, MICHAEL          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     NIX, NIKKI                       Page 3614   of 5495
                                                                           NIX, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NIX, SARAH                           NIX, SHARAE                           NIX, STEVEN
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NIXON KRUSE, KELLIE                  NIXON, ANETTE                         NIXON, APRIL
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NIXON, ASHLEIGH                      NIXON, ASHLEY                         NIXON, ATHENA
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NIXON, AUBRIE                        NIXON, BETH                           NIXON, BRIAN
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NIXON, CHRISTINA                     NIXON, CODY                           NIXON, JILL
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NIXON, JULIE                         NIXON, KATELYN                        NIXON, KAYLA
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NIXON, ROB                           NIXON, TRACY                          NIYAMUDDIN, APRIL
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NIYOMUGABO, SHALOM                   NIZ, YESENIA                          NIZIOL, SUZANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NIZNIK, SUSAN                        NIZZERE, PATRICIA                     NJ DIVISION OF TAXATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 666
                                                                           TRENTON, NJ 08646-0666
NJAU, JOE             Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                             NJIE, SIRRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NJOROGE, DAVID                       NJT NWK-INT AIR                          NJUGUNA, ABIGAIL
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NKANDJEU, SANDRINE                   NKEMERE, CHINENYE                        NLEYA, CHILEE
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NM TAXATION AND REVENUE DEPT         NMRET LLC                                NNA SERVICES, LLC.
1200 SOUTH ST. FRANCIS DRIVE         16251 BROOKFORD DR                       ADDRESS UNAVAILABLE AT TIME OF FILING
SANTA FE, NM 87505                   HOUSTON, TX 77059




NNEKA SEDERSTROM                     NOACK, ALICIA                            NOACK, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NOACK, DAVID                         NOACK, HEIDI                             NOACK, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NOACK, LOUISE                        NOAH CASTELO, KIM                        NOAH MICHAEL SPATARO
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NOAH NISENKIER                       NOAH PAPE                                NOAH THOMAS
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NOAH, AMANDA                         NOAH, AMANDA                             NOAH, BECKY
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NOAH, CAITLIN                        NOAH, EMILY                              NOAH, KATIE
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NOAH, LAURA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NOAH, PATRICE                    Page 3616
                                                                           NOAHS of 5495
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NOAKES, ANGELA                       NOBBE, PATRICK                        NOBBE, RICK
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NOBE, MAIKO                          NOBEL, AMANDA                         NOBILE, FABIO
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NOBILE, MAURA                        NOBILI, CAITLIN                       NOBIS HOTEL
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NOBLE III, RICHARD                   NOBLE, ALEX                           NOBLE, ALEXIA
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NOBLE, ALYSSA                        NOBLE, ANDREA                         NOBLE, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOBLE, CHEVANESE                     NOBLE, CHRIS                          NOBLE, DENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOBLE, ELIZABETH                     NOBLE, ELIZABETH                      NOBLE, JAN
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NOBLE, JIMMY                         NOBLE, KAITLYN                        NOBLE, KITTY
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NOBLE, KRISTEN                       NOBLE, MARIELLE                       NOBLE, MARYBETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NOBLE, MICHELE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NOBLE, MINDY                     Page 3617
                                                                           NOBLE,of 5495
                                                                                 NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOBLE, REBECCA                       NOBLE, SHIRELLE                       NOBLE, WHITNEY
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NOBLE-KRUSE, SIERRA                  NOBLES, CAROLYN                       NOBLES, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOBLET, SHELLI                       NOBLE-TABIOLO, CHAD                   NOBLETT, HANNAH
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NOBLETT, LINDA                       NOBLITT, CINDY                        NOBLITT, GAROLD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOBLITT, TASHA                       NOBODYS DARLING, INC                  NOBRE, RIKKI
ADDRESS AVAILABLE UPON REQUEST       1744 W BALMORAL AVE                   ADDRESS AVAILABLE UPON REQUEST
                                     CHICAGO, IL 60640




NOBREGA, EMILIA                      NOBREGA, PATRICIA                     NOCCHI, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOCEDA, MICHELLE                     NOCELLA, BRICE                        NOCELLA, BRICE
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NOCERA, JEAN                         NOCERO, MADELINE                      NOCERO, MELISSA
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NOCETO, CALLIE                       NOCHO, KIRSTYN                        NOCHO, KYLE
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NOCHOMOVITZ, KAYLE    Case 22-11238-LSS
                                     NOCITO,Doc  2 Filed 11/30/22
                                            BRITTANY                  Page 3618
                                                                           NOCITO,ofNINA
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                                                                                         ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NOCON, JEANELLE                      NOCON, MONICA                          NOCRUMBSLEFT, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1929 W ROSCOE STREET
                                                                            CHICAGO, IL 60657




NODARSE, CAROLINA                    NODERA, HIROKO                         NODES, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NODI, NICOLE                         NOE, BERT                              NOE, COLLEEN
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NOE, DANIEL                          NOE, ELLIOT                            NOE, JESSICA
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NOE, MATT                            NOE, MEGAN                             NOE, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




NOE, TIM                             NOEBELS, WILLIAM                       NOECHEL, CRYSTAL
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NOEL FUNDAN                          NOEL, ALEXA                            NOEL, BECCA
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NOEL, CODY                           NOEL, DANIELLE                         NOEL, DAVID
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NOEL, EVERETTE                       NOEL, FANTASIA                         NOEL, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NOEL, KAYLA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NOEL, MARK                       Page 3619   of 5495
                                                                           NOEL, ROBYN
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NOEL, STEPHANIE                      NOEL, TYLER                           NOELLE LOPOPOLO
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NOELLE, MRS                          NOESI, EDWINA                         NOETH, DAGNY
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NOETZELMANN, KELSEY                  NOFFSINGER, ASHLEY                    NOFFSINGER, JOSEPPIE
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NOGALES, JOSHUA                      NOGALSKI, MEGAN                       NOGAMI, SAM
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NOGARA, ELENA                        NOGLE, BRAD                           NOGUCHI, MIYAKO
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NOGUEIRA, CAMILA                     NOGUEIRA, JOSE                        NOGUERAS, ZARIAH
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NOGUES, NAOMI                        NOHA, MICHELLE                        NOHILLY, MELISSA
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NOIA, LYN                            NOIR, ERICA                           NOJAIM, GIULIANA
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NOKES, HEATHER                       NOLA, OLYVIA                          NOLAN A WHITE
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NOLAN CHRISTMAS, ELAINECase 22-11238-LSS
                       CHRISTMAS            Doc 2 Filed 11/30/22
                                      NOLAN GRACE                      Page 3620
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                                                                                  RANCH LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        58 11ST STREET
                                                                            HERMOSA BEACH, CA 90254




NOLAN ROBIDOUX                        NOLAN, ALIA                           NOLAN, ALISON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOLAN, BRIAN                          NOLAN, CAITLIN                        NOLAN, CARA
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NOLAN, CASEY                          NOLAN, DEIRDRE                        NOLAN, EMMA
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NOLAN, ERIN                           NOLAN, HEATHER                        NOLAN, HENRY
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NOLAN, HENRY                          NOLAN, JEN                            NOLAN, JENNA
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NOLAN, KARA                           NOLAN, LISA                           NOLAN, MARC
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NOLAN, MEGAN                          NOLAN, MEGHAN                         NOLAN, MONICA
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NOLAN, NICOLE                         NOLAN, PATRICK                        NOLAN, PEGGY
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NOLAN, SABRINA                        NOLAN, SARAH                          NOLAN, SARAH
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NOLAN, SHANNON        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NOLAN, STEVEN                    Page 3621
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NOLAN, TIM                           NOLAN, TYLER                          NOLAN, VANESSA
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NOLAND, CATHLEEN                     NOLAND, CONNER                        NOLAND, ROXANNE
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NOLASCO GOMEZ, FILIBERTO             NOLASCO, CATHERINE                    NOLASCO, SILVANA
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NOLD, SARAH                          NOLE, STEPHANIE                       NOLEN, ASHTON
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NOLEN, CLARA                         NOLEN, NICK                           NOLEN, RACHEL
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NOLEN, RILEY                         NOLES, EMMA                           NOLETO, DEBORA
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NOLF, JOENELL                        NOLIN, MARINA                         NOLING, SAMANTHA
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NOLL, ALEXANDRA                      NOLL, CATHERINE                       NOLL, EMERY
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NOLL, JAMIE                          NOLL, KACY                            NOLL, LAUREN
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NOLL, TARYN           Case 22-11238-LSS    Doc 2 Filed
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                                                                                NOLT, CHRISTINA
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NOLT, JOANNA                            NOLT, MELANIE                            NOLTE, CATALINA
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NOLTE, ZACH                             NOLTING, NICHOLAS                        NOLTING, REBECCA
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NOMAD                                   NOMO SOHO                                NOMURA, NATSUKO
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NONE DEL GIZZO, SUZANNE                 NONEMAKER, DARLENE                       NONEMAN, LYNN
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NONNEMAKER, EMILY                       NONNENMAN, ELISE                         NONYIA, CARTER
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NOON, AMANDA                            NOON, JENNIFER                           NOONAN, BRIDGET
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NOONAN, JESSE                           NOONAN, KATIE                            NOONAN, MARYJANE
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NOONAN, MATTHEW                         NOONAN, MAUREEN                          NOONAN, MEG
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NOONAN, NADIA                           NOONAN-KELLY, ADAM                       NOONE, ALYSSA
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NOONE, CAITLIN        Case 22-11238-LSS
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NOORALI, MO                          NOORANI, PETER                        NOORDANUS, BRYNN
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NOORDEWIER, BYRON                    NOORDSY, CHARLOTTE                    NOOTBAAR, CINDEE
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NOPE, DIANA CAROLINA                 NORA SCHILD                           NORAH SILVER
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NORALES, KARMIN                      NORANDA BROWN                         NORBECK, CARLA
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NORBECK, CARLEE                      NORBERG, ALEXANDRA                    NORBERG, AMBER
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NORBERG, MEGAN                       NORBY, JULIE                          NORBY, SYDNEY
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NORCINI, JESSICA                     NORD, DAVID                           NORD, ELAINE
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NORD, RYAN                           NORD, SHELBY                          NORD, STEPHEN
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NORDABY, LASKA                       NORDAHL, BRITTA                       NORDEEN, AUDREY
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NORDEL, DEIDRE        Case 22-11238-LSS    Doc
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                                             NICHOLAS                    Page 3624 of 5495BROWN, ALLISON
                                                                              NORDENBROCK
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NORDER, DEVIN                           NORDER, NICOLE                        NORDGREN, ASA
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NORDHAGEN, ERIC                         NORDIKE, MATTHEW                      NORDLIE, ANNE
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NORDLOF, PAIGE                          NORDMEYER, ANGELA                     NORDMO, JAN ERIC
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NORDSTROMS                              NORDY, MICHELLE                       NORDYKE, HANNAH
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NORED, KAYLA                            NOREE PREBLE                          NOREEN WEISS ADLER
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NOREGAARD, SAMANTHA                     NORELL, NATALIE                       NORENBERG, ROBERT
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NORFLEET, MEGAN                         NORGROVE, OLIVER                      NORIEGA, ALLEE
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NORIEGA, ANDREW                         NORIEGA, LEROY                        NORIN, JAMIE
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NORKAITIS, KATHERINE                    NORKOL, CHELSEA                       NORLIE, BRIDGET
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NORLING, LYNETTE      Case 22-11238-LSS    Doc
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NORMA BUSH                           NORMA J TEAGUE                        NORMAN C/O JON NORMAN, KAY
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NORMAN D BURGE                       NORMAN, ABBY                          NORMAN, ADRIANA
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NORMAN, ASHLEY                       NORMAN, BRITTANY                      NORMAN, CHRISTINE
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NORMAN, CLARKE                       NORMAN, CLAYTON                       NORMAN, DANA
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NORMAN, DAVID                        NORMAN, DESTINY                       NORMAN, DONALD
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NORMAN, EMILY                        NORMAN, EMMA                          NORMAN, GLORY
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NORMAN, JEANETTE                     NORMAN, JEFF                          NORMAN, JESSICA
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NORMAN, KRISTIN                      NORMAN, LARRY                         NORMAN, LAURA
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NORMAN, LESLIE                       NORMAN, LESLIE                        NORMAN, LINDSEY
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NORMAN, LINDSEY       Case 22-11238-LSS    Doc
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NORMAN, SHANNON                      NORMAN, STEPH                         NORMAN, STEVEN
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NORMAN, SUE                          NORMAN, TONY                          NORMAN, VICTORIA
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NORMAN, WHITNEY                      NORMAND, AMY                          NORMAND, AMY
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NORMAND, MICHELLE                    NORMANDIN, KAT                        NORMANDY, CANDY
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NORMART, CYNDY                       NORMILE, CAROLYN                      NORONHA, GENEVIEVE
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NOROVSAMBUU, URJINKHAND              NORRGARD, ALY                         NORRIE, CATHERINE
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NORRIS, AMANDA                       NORRIS, ASHLEY                        NORRIS, ASHLEY
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NORRIS, BRE                          NORRIS, BREANA                        NORRIS, BROOKS
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NORRIS, BROOKS                       NORRIS, CERRIE                        NORRIS, CIERA
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NORRIS, DANIEL        Case 22-11238-LSS
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NORRIS, ERIC                         NORRIS, HALEY                         NORRIS, JESSICA
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NORRIS, JOE                          NORRIS, KATE                          NORRIS, KATHY
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NORRIS, KETLESHA                     NORRIS, KIA                           NORRIS, KIM
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NORRIS, KLACIE                       NORRIS, KRISTIN                       NORRIS, LAUREN
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NORRIS, LAUREN                       NORRIS, LINDA                         NORRIS, MADISON
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NORRIS, MALACHI                      NORRIS, MATT                          NORRIS, MONICA
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NORRIS, NATHANIEL                    NORRIS, PATRICK                       NORRIS, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NORRIS, REANEA                       NORRIS, RON                           NORRIS, ROQUEL
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NORRIS, RYIR                         NORRIS, SALENA                        NORRIS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NORRIS, SCOTT         Case 22-11238-LSS
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                                                                                NORRIS,ofSKYLAR
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




NORRIS, TATIYANA                        NORRIS, TENILLE                          NORRIS, THUYVI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NORRIS, TIANI                           NORRIS, WHITNEY                          NORRIS, WILLIAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NORRIS-ALLEN, NILE                      NORSTROM, ZACH                           NORTH AMERICAN SHIPPERS ASSOCIATION
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           1600 ST. GEORGES AVENUE
                                                                                 RAHWAY, NJ 07065




NORTH BERKELEY WINE                     NORTH CAROLINA ALCOHOLIC BEVERAGE        NORTH CAROLINA DEPARTMENT OF
1601 MARTIN LUTHER KING JR. WAY         CONTROL COMMISSION                       REVENUE (NCDOR)
BERKELEY, CA 94709                      400 EAST TRYON ROAD                      PO BOX 25000
                                        RALEIGH, NC 27610                        RALEIGH, NC 27640-0650




NORTH CAROLINA DEPT OF LABOR            NORTH CAROLINA DEPT OF LABOR             NORTH CAROLINA DEPT OF REVENUE
1101 MAIL SERVICE CTR                   4 W EDENTON ST                           501 N WILMINGTON ST
RALEIGH, NC 27699-1101                  RALEIGH, NC 27603                        RALEIGH, NC 27604




NORTH CAROLINA SECURITIES DIVISION      NORTH COAST LOGISTICS                    NORTH DAKOTA DEPT OF LABOR
2 SOUTH SALISBURY ST                    256 SUTTON PLACE 102                     600 E BLVD AVE DEPT 406
RALEIGH, NC 27601-2903                  SANTA ROSA, CA 95407                     BISMARCK, ND 58505-0340




NORTH DAKOTA OFFICE OF STATE TAX        NORTH DAKOTA SECURITIES DEPARTMENT       NORTH DAKOTA TAX COMMISIONER
COMMISSIONER                            600 E BOULEVARD AVE                      ADDRESS UNAVAILABLE AT TIME OF FILING
600 E. BOULEVARD AVE., DEPT. 127        STATE CAPITOL
                                        5TH FLOOR
                                        BISMARCK, ND 58505-0510



NORTH END CAFE                          NORTH RIM INVESTMENTS                    NORTH, ALI
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




NORTH, ASHLEE                           NORTH, JACOB                             NORTH, JAMES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
NORTH, JANELLE        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NORTH, LEXIE                         NORTH, LYNDSIE                          NORTH, MALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NORTH, MARISSA                       NORTH, NATALIE                          NORTH, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NORTH, WILLIAM                       NORTHART, LAURA                         NORTHCUTT, BRANDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NORTHCUTT, LINDSAY                   NORTHCUTT, SUSAN                        NORTHCUTT, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NORTHCUTT, TRACY                     NORTHEIM, KATELYNN                      NORTHERN DISTRICT OF CALIFORNIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          FEDERAL COURTHOUSE
                                                                             1301 CLAY ST
                                                                             OAKLAND, CA 94612




NORTHERN DISTRICT OF CALIFORNIA      NORTHERN DISTRICT OF CALIFORNIA         NORTHERN MARIANA ISLANDS ATTORNEY
FEDERAL COURTHOUSE                   HERITAGE BANK BLDG                      GEN
450 GOLDEN GATE AVE                  150 ALMADEN BLVD STE 900                ADMINISTRATION BLDG
SAN FRANCISCO, CA 94102              SAN JOSE, CA 95113                      PO BOX 10007
                                                                             SAIPAN, MP 96950-8907



NORTHERN TST CO, THE (2669)          NORTHERN, MICHELLE                      NORTHERN, SHARRON
ATTN ANDREW LUSSEN OR PROXY MGR      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
801 S. CANAL ST
ATT: CAPITAL STRUCTURES-C1N
CHICAGO, IL 60607



NORTHEY, HEATHER                     NORTHGATE                               NORTHGRAVES, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




NORTHRIP, EMILY                      NORTHROP, JIM                           NORTHROP, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NORTHROP, STEPHANIE   Case 22-11238-LSS    DocAMY
                                     NORTHRUP,  2 Filed 11/30/22        Page 3630 of 5495
                                                                             NORTHRUP, JESSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NORTHRUP, LIZ                        NORTHRUP, MARGARET                       NORTHRUP, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NORTHRUP, TAYLOR                     NORTHRUP, VIRGINIA                       NORTHWAY, BARB
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NORTHWAY, DANA                       NORTHWEST DISTRIBUTION                   NORTMAN, LAURA
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NORTON, AMY                          NORTON, ANDREA                           NORTON, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




NORTON, BIANKA                       NORTON, CATHRYN                          NORTON, CHELSEA
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NORTON, CHRISTINA                    NORTON, CHRISTOPHER                      NORTON, CINDY
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NORTON, COLIN                        NORTON, DANIELLE                         NORTON, ERICA
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NORTON, ERIN                         NORTON, HAILEY                           NORTON, JASON
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NORTON, JENNIFER                     NORTON, JENNIFER                         NORTON, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
NORTON, JESSICA       Case 22-11238-LSS    Doc
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                                                                           NORTON, 5495
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NORTON, JOSEPH                       NORTON, KATHRYN                       NORTON, KEITH
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NORTON, KIMBERLEY                    NORTON, KRISTIN                       NORTON, KURT
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NORTON, LAURA                        NORTON, LUCY                          NORTON, MARTIN
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NORTON, MAX                          NORTON, MOLLY                         NORTON, OLIVIA
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NORTON, OLIVIA                       NORTON, RACHEL                        NORTON, ROB
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NORTON, ROBERT                       NORTON, SAMUEL                        NORTON, SARAH
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NORTON, SHARI                        NORTON, SIMONE                        NORVELL, LINDSAY
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NORVELL, THOMAS                      NORWELL, COLLEEN                      NORWITT, DAVID
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NORWOOD, ALEAH                       NORWOOD, ALESHA                       NORWOOD, AMY
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NORWOOD, BEN          Case 22-11238-LSS    DocCHRISTIAN
                                     NORWOOD,   2 Filed 11/30/22        Page 3632 of 5495
                                                                             NORWOOD, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NORWOOD, DAWUAN                      NORWOOD, ELIZABETH                      NORWOOD, JAMES
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NORWOOD, JENNIFER                    NORWOOD, KENDRA                         NORWOOD, RICHARD
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NORWOOD, SHAUN                       NORWOOD, STEPHANIE                      NOSAL, SUSAN
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NOSEWORTHY, JESSICA                  NOSKY, KIMBERLY                         NOSLER, JESSI
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NOSON, LEAH                          NOSS, TAYLOR                            NOSTE, ERIN
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NOT, MICHELLE                        NOTA, DANIELA                           NOTARIANNI, CHRISTINA
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NOTAROBERTO, GINNY                   NOTARY                                  NOTHNAGEL, KEVIN
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NOTHOLT, MALLORY                     NOTMAN, CAMAYA                          NOTNEUTRAL.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          639 N LARCHMONT BLVD SUITE 101
                                                                             LOS ANGELES, CA 90004




NOTO, ANDREA                         NOTO, EMILY                             NOTO, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NOTO-GILROY, MARY     Case 22-11238-LSS    Doc
                                     NOTTOLI,    2 SHANNON
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                                                                           NOULLET, 5495
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NOUR, PAMELA                         NOURAI, JOSEPHINE                     NOURI, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOURI, SKYLA                         NOURSE, LOGAN                         NOUVELLE NOIR, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2743 WOODSTOCK RD
                                                                           LOS ANGELES, CA 90046




NOVA SCOTIA LIQUOR CORPORATION       NOVA, GRACE                           NOVA, TATE
93 CHAIN LAKE DRIVE                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HALIFAX, NS B3S 1A3
CANADA




NOVACK, JACQUELINE                   NOVACK, NANCY                         NOVAES, SHARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NOVAK, ANNA                          NOVAK, BARB                           NOVAK, CAT
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NOVAK, CHRIS                         NOVAK, CHRISTIE                       NOVAK, DANIELLE
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NOVAK, DIANE                         NOVAK, ELIZABETH                      NOVAK, ERIC
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NOVAK, ERIN                          NOVAK, FRANCES                        NOVAK, HOLLY
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NOVAK, JARED                         NOVAK, JENNIFER                       NOVAK, JULIA
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NOVAK, KATERINA       Case 22-11238-LSS
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NOVAK, KELSEY                        NOVAK, KIANNA                         NOVAK, LAURA
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NOVAK, LINDSEY                       NOVAK, MACKENZIE                      NOVAK, MANDY
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NOVAK, MARY                          NOVAK, MEGAN                          NOVAK, MORGAN
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NOVAK, PAUL                          NOVAK, SARAH                          NOVAK, STACY
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NOVAK, ZACHARY                       NOVAKOVICH, KRISTEN                   NOVALLE, JULIE
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NOVARA, KRISTEN                      NOVAS, SANDRA                         NOVATSKI, JEANNETTE
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NOVE POCHA, AMANDA                   NOVEEN, TIANA                         NOVEK, CARLY
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NOVELA, JENNA                        NOVELLI, RENEE                        NOVELLO, PETER
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NOVELLY, SARA                        NOVENCIDO, KYRSTEN                    NOVEY, CAROLYN
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NOVICKI, JUSTIN       Case 22-11238-LSS     Doc
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                                                                             NOVIELLO, CHRISTOPHER
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NOVIK, VERONIKA                      NOVIKOV, ANNIE                           NOVIKOVA, ELISAVETA
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NOVIKOVA, NATALIYA                   NOVINSKIE, HEATHER                       NOVITSKI, KELLY
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NOVO, ANDREA                         NOVO, DON                                NOVO, JOHN
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NOVO, PAT                            NOVOTEL- AMSTERDAM                       NOVOTNEY, KEVIN
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NOVOTNEY, MATT                       NOVOTNY, ANA                             NOVOTNY, FELICIA
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NOVOTNY, KELSEY                      NOVOTNY, LEIGH ANN                       NOVOTNY, MARK
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NOVRUZOVA, LEYLA                     NOVY, JACQUELINE                         NOVY, MICHELLE
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NOW, STOP                            NOWACK, APRIL                            NOWACKI, KAITLYN
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NOWACZEK, LAUREN                     NOWACZYK, TIM                            NOWAK, ALLISON
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NOWAK, DONNA          Case 22-11238-LSS
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NOWAK, JESSICA                       NOWAK, JOANNA                         NOWAK, JOANNA
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NOWAK, JULIE                         NOWAK, KELSEY                         NOWAK, KENNETH
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NOWAK, KRISTEN                       NOWAK, KRISTINA                       NOWAK, REBECCA
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NOWAK, STACEY                        NOWAK, TRACY                          NOWAKOSKI, JONNI
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NOWAKOWSKI, DAVID                    NOWATZKE, DORENE                      NOWD, PETER
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NOWELL, LYNDI                        NOWICKA, WIOLETA                      NOWICKI, ALEXANDRA
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NOWICKI, ANNE                        NOWICKI, ANNETTE                      NOWICKI, JILLIAN
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NOWICKI, MONICA                      NOWINSKY, LUKAS                       NOWISZEWSKI, STEPHEN
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NOWLAND, MADISON                     NOWLAND, ZACK                         NOWLIN, ABBY
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NOWLIN, CAITLYN       Case 22-11238-LSS
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                                                                             NOWLING, LISA
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NOWOSIELSKI, VICTORIA                NOY, MARY                               NOYCE, SCOTT
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NOYE, ASHLEY                         NOYER, NANCY                            NOYES, ADRIENNE
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NOYES, ALEXANDRA                     NOYES, CATHERINE                        NOYES, CHRISTINA
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NOYES, EMMA                          NOYOLA, CYNTHIA                         NOZAKI-WONG, TAE
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NP HOLDINGS LLC                      NP-EDU SERVICES                         NPM
3007 NE 195TH CT                     ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
LAKE FOREST PARK, WA 98155




NRAI SERVICES LLC                    NRWBERRY, EMILY                         NSOWNU FARMER, AMAKA
160 GREENTREE DRIVE SUITE 101        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DOVER, DE 19904




NTIA, UBONG                          NTIRANYIBAGIRA, ALICE                   NTSAKEY, BENNISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NTSIE, DIDINTLE                      NU LAW PROFESSIONAL EDU                 NUARA, ALEXIS
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                                     ADDRESS UNAVAILABLE AT TIME OF FILING




NUBIA, MISHA                         NUCCI, STEPHANIE                        NUCHERENO, FRANK
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NUCKLES, CATHERINE    Case 22-11238-LSS    Doc
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NUCKOLLS, SARAH                      NUCKOLS, KRISTAN                       NUDELMAN, KYLE
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NUEBLING, CHRIS                      NUERNBERG, LIZA                        NUETZMAN, HEATHER
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NUEZ, JACKIE                         NUGENT, CAELEY                         NUGENT, CASEY
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NUGENT, COLLEEN                      NUGENT, DANIEL                         NUGENT, DYLAN
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NUGENT, FORRESTEL                    NUGENT, KERRIE                         NUGENT, KIMBERLEY
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NUGENT, MARY                         NUGENT, PEYTON                         NUGENT, SUSAN
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NUGENT, TIFFINI                      NUGENT, TOMMY                          NUGENT, TRACY
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NUGER, JONATHAN                      NUGUID, VICTORIA                       NULL, AMY
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NULL, CORY                           NULL, COURTNEY                         NULL, ELIJAH
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NULL, LISA            Case 22-11238-LSS
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NULTY, JULIA                         NULTY, ZOE                            NUMBERS, TAYLOR
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NUMEDAHL, RANDI                      NUMEROFF, JASON                       NUN LIAN
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NUNAMAKER, SYDNEY                    NUNEMACHER, MELISSA                   NUNES, AMY
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NUNES, GORETTE                       NUNES, HANNELOREN                     NUNES, JHOANNE
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NUNES, JIMMY                         NUNEZ LOPEZ, VERONICA                 NUNEZ, ADRIAN
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NUNEZ, ANTONIO                       NUNEZ, ARLINDA                        NUNEZ, ARNOLDO
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NUNEZ, BECKY                         NUNEZ, BRENDA                         NUNEZ, DEANA
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NUNEZ, DIGNA                         NUNEZ, EDWIN                          NUNEZ, GABI
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NUNEZ, GABRIEL                       NUNEZ, GERARDO                        NUNEZ, GLADYS
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NUNEZ, HANNAH         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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NUNEZ, IVAN                          NUNEZ, JAMIE                          NUNEZ, JENNIFER
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NUNEZ, JESSI                         NUNEZ, JILLIAN                        NUNEZ, JOANN
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NUNEZ, JOSHUA                        NUNEZ, JULISSA                        NUNEZ, KENIA
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NUNEZ, LAURA                         NUNEZ, LAURICE                        NUNEZ, LUIGI
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NUNEZ, MADELIN                       NUNEZ, MIGUEL                         NUNEZ, REGINA
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NUNEZ, ROBERT                        NUNEZ, ROSEANNY                       NUNEZ, SANTIAGO
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NUNEZ, SARA                          NUNEZ, SUNNY                          NUNEZ, TERESA
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NUNEZ, YANIL                         NUNEZ, YASMINE                        NUNEZ, ZOILA
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NUNGARAY, KLARISA                    NUNLEY, BROOKE                        NUNLEY, JEFF
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NUNN, JACLYN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     NUNN, KADY                       Page 3641  of 5495
                                                                           NUNN, SALISE
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NUNNALLY, KATIE                      NUNNALLY, MICHAELA                    NUNNARI, GABRIELLE
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NUNNERY, JERRY                       NUNNEY, THERESA                       NUNO, DANIELLE
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NUNO, RUBY                           NUNU, NANETTE                         NUNZIATA, KATHERINE
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NURENBERG, KATHERINE                 NURENBERG, KATIE                      NURENBERG, RACHAEL
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NURMI, AMANDA                        NURMING-POR, MADELINE                 NURNBERG, CAITLYN
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NURRY, SARAH                         NURSE-BAKER, RACHEL                   NURSEY, RACHEL
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NUSBAUM, ERIC                        NUSBAUM, MARK                         NUSHREE, A
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NUSINOW, ALICE                       NUSKEY, SHARON                        NUSLEIN, SARAH
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NUSPL, NICK                          NUSS, CRAIG                           NUSS, JENNA
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NUSS, KAREN           Case 22-11238-LSS    DocASHLEY
                                     NUSSBAUM,  2 Filed 11/30/22      Page 3642 of 5495
                                                                           NUSSBAUM, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NUSSBAUM, MICHELLE                   NUSSBAUM, MICHELLE                    NUSSEN, ERICA
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NUSSENZWEIG, MAYA                    NUTGRASS, DAVID                       NUTGRASS, GARRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NUTMAN, ALEXANDER                    NUTT, EMILEE                          NUTT, WILLIAM
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NUTTER KRANTZ, LINDA                 NUTTER, CHRISSY                       NUTTER, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NUTTER, MELISSA                      NUTTER, RICK                          NUTTER, TERESA
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NUTTING, KENDRA                      NUTTON, ARNESSHEE                     NUTTYCOMBE, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NUVIEW IRA FBO JOHN SEABERN          NUVIEW IRA FBO JOHN SEABERN           NUXOLL, AMY
14 WALNUT AVE                        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MILL VALLEY, CA 94941




NUYEN, SHERRIE                       NUZHDIN, ALEXANDRA                    NUZUM, JOANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




NUZUM, STEPHANIE                     NUZZO, STEPHANIE                      NV DEPT OF TAXATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        700 E WARM SPRINGS RD. 2ND FLOOR
                                                                           LAS VEGAS, NV 89119
NW WINE COMPANY        Case 22-11238-LSS    Doc
                                      NWABARA,   2 Filed 11/30/22
                                               OBES                      Page 3643 ofC5495
                                                                              NWANZE,
20980 NE NEIDERBERGER ROAD            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
DUNDEE, OR 97115




NWAOGAZIE, SOMTOCHUKWU                NWAOMAH, CHUKWUMA                       NWOKE, OKEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NWOKOLO, SHARRIES                     NWOSU, OKEY                             NY LIQUOR AUTHORITY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




NY NYS SALES TAX PROCESSING           NY, JUSTIN                              NYAME, MAXIE
HARRIMAN CAMPUS RD                    ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
ALBANY, NY 12226




NYAMEKHYE, AMA                        NYAMWEYA, KEVIN                         NYANGACHA, JULIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NYANGORO, MONICA                      NYANKALE, LOSIA                         NYANTEKYI, AKOSUA BENHENE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NYBERG, BRITTA                        NYBERG, IAN                             NYBERG, WENDY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




NYBO, ASHLEY                          NYC DATENITE CORP                       NYC DEPARTMENT OF FINANCE
ADDRESS AVAILABLE UPON REQUEST        55 W. 25TH ST. APT 34B                  PO BOX 3922
                                      NEW YORK, NY 10010                      NEW YORK, NY 10008-3922




NYC DEPARTMENT OF FINANCE             NYC TAXI                                NYCZ, JOANNE
PO BOX 3933                           ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10008-3933




NYDICK, NORA                          NYE, ALEXANDRA                          NYE, BECKY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NYE, COURTNEY         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     NYE, GINGER                              Page 3644   of 5495
                                                                                   NYE, HILLERY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




NYE, JULIA                              NYE, KELLY                                 NYE, KELLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NYE, MARGARET                           NYE, PATTI                                 NYENPAN, CHRISTOPHER
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NYGAARD, CLINT                          NYGAARD, LAUREN                            NYLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NYLAND, BRANDON                         NYLAND, HEIDI                              NYLIN, CLARK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NYOKABI, MIRIAM                         NYONGANI, ASHLEY                           NYPAVER, CAITLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NYPAVER, M                              NYQUIST, ERIC                              NYQUIST, VICTORIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




NYS CORPORATION TAX                     NYS DEPARTMENT OF STATE                    NYS DEPARTMENT OF TAXATION AND
PO BOX 15200                            STATE RECORDS ONE COMMERCE PLAZA           FINANCE
ALBANY, NY 12212-5200                   99 WASHINGTON AVENUE, STE 600              P.O. BOX 15163
                                        ALBANY, NY 12231-0001                      ALBANY, NY 12212-5163




NYS TAX FINANC                          NYS UNEMPLOYMENT INSURANCE                 NYSCH, TALIA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING      ADDRESS AVAILABLE UPON REQUEST




NYSE AMERICAN LLC                       NYSE GROUP, INC.                           NYSIF DISABLITY INSURANCE
74 TRINITY PLACE                        5660 NEW NORTHSIDE DRIVE, 3RD FLOOR        ADDRESS UNAVAILABLE AT TIME OF FILING
NEW YORK, NY 10006                      C/O TAX DEPT ATLANTA, GA 30328
NYST, ANNABELLE       Case 22-11238-LSS    Doc
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NYSTROM, ROSEANNA                    NZESSI, SAMANTHA                      NZIFFA, DOMINIQUE
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NZINGHA, KITO                        NZORUBARA, DARLENE                    NZUME-FIGEE, ANOUSHA
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NZYOKA YONGO, CYD                    O B SKIPWORTH                         O DOWD, MARYMARGARET
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O NEILL DWYER, KAREN                 O&039;REILLY, KELSIE                  O&39;DONNELL, SPRING
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O&39;MALLEY, ELIZABETH               O, RACHEL                             O, RBIN
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O., BILL                             O’BANION, MEGAN                       O’BOYLE, JENNA
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O’BRIANT, HANNAH                     O’BRIEN, ALEXA                        O’BRIEN, AUBREY
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O’BRIEN, BEN                         O’BRIEN, CONOR                        O’BRIEN, DANIEL
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O’BRIEN, ERIN                        O’BRIEN, JENNIFER                     O’BRIEN, JULIA
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O’BRIEN, KATHRYN      Case 22-11238-LSS
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O’BRIEN, MELISSA                     O’BRIEN, MIKAELA                      O’BRIEN, MIKE
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O’BRIEN, QUENTIN                     O’BRIEN, SERENA                       O’BRIEN, SHANNAN
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O’BRIEN, SHANNON                     O’BRIEN, SUSAN                        O’CALLAGHAN, ALEXIS
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O’CARROLL, CHRISTINA                 O’CONNELL, ALEXANDRIA                 O’CONNELL, JOSH
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O’CONNELL, KATHLEEN                  O’CONNELL, MEAGAN                     O’CONNELL, TANYA
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O’CONNELL, WILLIAM                   O’CONNER, MICHAELA                    O’CONNOR, BRIDGET
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O’CONNOR, BRITNEY                    O’CONNOR, CAROLINE                    O’CONNOR, CLAIRE
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O’CONNOR, JAMES                      O’CONNOR, JENIFER                     O’CONNOR, KEVIN
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O’CONNOR, KRISTEN                    O’CONNOR, LAURIE                      O’CONNOR, MICHAEL
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O’CONNOR, MIREILLE    Case 22-11238-LSS    DocSAMANTHA
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O’DELL, GREG                         O’DELL, LISA                          O’DELL, MARENA
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O’DOHERTY, MONICA                    O’DONNELL, BRIGID                     O’DONNELL, CASEY
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O’DONNELL, ELIZABETH                 O’DONNELL, JEONG                      O’DONNELL, KAITLIN
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O’DONNELL, LAURA                     O’DONNELL, SEAN                       O’DONNELL, SHEENA
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O’DONNELL-LURIA, ANNE                O’DONOGHUE, KATHRYN                   O’DONOVAN, MARYKATE
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O’GORMAN, JILL                       O’GRADY, LINDA                        O’HAIR, KELLY
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O’HALLERAN, KELLY                    O’HALLORAN, BRIGHID                   O’HANLON, CAMERON
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O’HARA, CHELSEA                      O’HARA, JIM                           O’HARA, KATHY
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O’HARA, SCOTT                        O’HARE, CARLY                         O’HARE, KATHARINE
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O’HARE, LACI          Case 22-11238-LSS
                                     O’HARE,Doc 2 Filed 11/30/22
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O’KANE, GEMMA                        O’KEEFE, CAITLIN                      O’KEEFE, EILEEN
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O’KEEFE, GABRIELLE                   O’KEEFE, MCKENZIE                     O’LEARY, ELIZABETH
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O’LEARY, LAUREN                      O’LOUGHLIN, SHANNON                   O’LOUGHLIN, VALERIE
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O’MAHONY, GARRET                     O’MALLEY, DALLAS                      O’MALLEY, KAITLIN
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O’MALLEY, LOREN                      O’MALLEY, MEGHAN                      O’MALLEY, NORA
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O’MALLEY, TAYLOR                     O’MALLEY, VICTORIA                    O’MEARA, CONNOR
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O’MEARA, GENEVIEVE                   O’NEAL, PAM                           O’NEAL, TORI
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O’NEAL, WESTON                       O’NEIL, COLLEEN                       O’NEIL, KATIE
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O’NEIL, MARISOL                      O’NEIL, SCOTT                         O’NEILL SUSAN
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O’NEILL, JENNIFER                    O’NEILL, JUSTIN                        O’NEILL, KATHLEEN
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O’NEILL, KATHRYN                     O’NEILL, KRISTI                        O’NEILL, KRISTIN
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O’NEILL, OLIVIA                      O’NEILL, TRISHA                        O’O, TIARAH
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O’QUIN, PHILIP                       O’REILLY, CLARE                        O’REILLY, KELLEY
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O’REILLY, KERIDA                     O’RILEY, KAITLIN                       O’RIORDAN, MARTIN
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O’RIORDAN, MEGAN                     O’ROURKE, BRENDAN                      O’ROURKE, DENISE
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O’ROURKE, PATRICIA                   O’SHAUGHNESSY, JENNIFER                O’SHAUGHNESSY, JOHN
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O’SHAUGHNESSY, RYAN                  O’SHEA, ERIKA                          O’SHEA, KIMBERLY
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O’SULLIVAN, KAILEE                   O’SULLIVAN, MEGAN                      O’SULLIVAN, MEGHAN
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O’TOOLE, HANNAH                      O’TOOLE, MEAGAN                         O’TOOLE, OLIVIA
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O’TOOLE, RAIANNA                     OAK BARRELS                             OAK RIDGE WINERY, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   6100 E VICTOR RD
                                                                             LODI, CA 95240




OAK, SARAH                           OAKES, BECKY                            OAKES, CARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OAKES, CHRISTINE                     OAKES, JUSTIN                           OAKES, KRIS
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OAKES, LAURA                         OAKES, LESLIE                           OAKES, ROBBY
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OAKES, SARA                          OAKES, TERESA                           OAKES, VERNON
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OAKFORD, MEGAN                       OAKLAND PACKAGING & SUPPLY              OAKLAND, KATELYN
ADDRESS AVAILABLE UPON REQUEST       3200 REGATTA BLVD UNIT F                ADDRESS AVAILABLE UPON REQUEST
                                     RICHMOND, CA 94804




OAKLEY & BRUGMAN INC                 OAKLEY, DAVID                           OAKLEY, KAREN
8644 WILSHIRE BLVD UNIT 204          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
BEVERLY HILLS, CA 90211




OAKLEY, KEVIN                        OAKLEY, LIZ                             OAKLEY, NANCY
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OAKS, ABIGAIL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OAKS, JACKUELINE                     OAKS, MARY A                          OAKTREE IMPORTS INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        711 MORENO ROAD
                                                                           SANTA BARBARA, CA 93150




OAKTREE IMPORTS INC                  OANDASAN, KEVIN                       OASIS/S2 WINE BROKERS
PO BOX 5504                          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
SANTA BARBARA, CA 93150




OATES, AUDREY                        OATES, ENID                           OATES, VICTORIA
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OATMAN, CHRISTIANA                   OB MEDIA U.S.                         OBAFEMI, OLAYINKA
ADDRESS AVAILABLE UPON REQUEST       1425 N. CHEROKEE AVE 93009            ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90093-9993




OBANDO, PATTY                        OBANER, ANTHONY                       OBANION, EMILY
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OBANNER, MYRA                        OBANNON, JAMES                        OBANNON, THOMAS
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OBARA, KRIS                          OBARSKI, REBECCA                      OBATA, SHINICHIRO
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OBECK, ANDY                          OBECK, TAMARA                         OBED JEAN
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OBEE, ALYCE                          OBEID, MEGAN                          OBENBERGER, LISA
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OBENLAND, AMANDA      Case 22-11238-LSS    Doc 2
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                                                                           OBER, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OBER, MADISON                        OBER, SHANNON                         OBERBROECKLING-ORR, HELEN
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OBERBRUNNER, AUTUMN                  OBERBRUNNER, ROGER                    OBERBRUNNER, SARAH
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OBERG, ELIZABETH                     OBERG, MADISON                        OBERG, MEGAN
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OBERG, REBECCA                       OBERG, SUSAN                          OBERGFELL, JODY
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OBERHAND, EMILY                      OBERHAUS, ELISSA                      OBERHAUSEN, ALYSON
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OBERJAT, REBECCA                     OBERJUERGE, CASEY                     OBERLANDER, BONITA
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OBERLANDER, MARIA                    OBERLE, ANTHIE                        OBERLE, PAIGE
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OBERLE, VIRGINIA                     OBERLE-HALL, LAUREN                   OBERLIN, LINDA
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OBERLING, TONYA                      OBERLINK, ANNY                        OBERLOIER, CASSANDRA
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OBERLY, ALYSSA        Case 22-11238-LSS    Doc
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OBERMEYER, CHARLOTTE                 OBERMEYER, JORDAN                     OBERNDORFER, CORY
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OBERNESSER, MADELINE                 OBERRENDER, SARAH                     OBERRY, MEGHAN
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OBERST, DAVID                        OBERST, LISA                          OBERSTEIN, SERENA
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OBERT, ABIGAIL                       OBERT, DARYL                          OBERT, SOPHIE
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OBERT, VALERIE                       OBERTHALER, PETER                     OBERTO, NANCY
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OBERTO, SUSAN                        OBERWAGER, LISA                       OBESO, CLARA
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OBEY, ALYSON                         OBEY, ALYSSA                          OBIAKO, TOBENNA
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OBIAS, ZARAH                         OBIDIKE, NGOZI                        OBIE, KAYLA
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OBIN, LEONARD                        OBISPO, ERIKA                         OBLISK, HANNAH
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OBMOIN, CYNTHIA       Case 22-11238-LSS    Doc 2 CHRISTINA
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OBOSEIYE OKOEGUALE                   OBOT, TETE                            OBOYLE, ALISHA
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OBOYLE, LOIS                         OBRANOVICH, ANDREA                    OBRECHT JUNIOR, MARCEL
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OBREGON, YARA                        OBREMSKI, AMY                         OBRIAN, SUSAN
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OBRIEN LEGG, OLIVIA                  OBRIEN, ALEXA                         OBRIEN, ALLIE
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OBRIEN, ALLISON                      OBRIEN, ALYSIA                        OBRIEN, ANNA
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OBRIEN, ANNIE                        OBRIEN, ASHLEY                        OBRIEN, BETH
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OBRIEN, BETSY                        OBRIEN, BREANA                        OBRIEN, BRIANNA
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OBRIEN, CAITLIN                      OBRIEN, CAITLIN                       OBRIEN, CARLY
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OBRIEN, CAROL                        OBRIEN, CHARLES                       OBRIEN, CHERYL
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OBRIEN, COLLEEN                      OBRIEN, DANA                           OBRIEN, DAVID
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OBRIEN, DEIDRA                       OBRIEN, ELIZABETH                      OBRIEN, ELIZABETH
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OBRIEN, EMILY                        OBRIEN, EMMA                           OBRIEN, ERIN
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OBRIEN, ERIN                         OBRIEN, ERIN                           OBRIEN, ERIN
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OBRIEN, GAYLE                        OBRIEN, GRACE                          OBRIEN, GREG
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OBRIEN, HALIE                        OBRIEN, HANNAH                         OBRIEN, JAIME
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OBRIEN, JAMES                        OBRIEN, JAMES                          OBRIEN, JAMES
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OBRIEN, JEAN                         OBRIEN, JEREMIAH                       OBRIEN, JESSIE
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OBRIEN, JILLIAN                      OBRIEN, JIMMY                          OBRIEN, JOHN
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OBRIEN, KATHLEEN                     OBRIEN, KATHLEEN                      OBRIEN, KATIE
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OBRIEN, KATIE                        OBRIEN, KELLY                         OBRIEN, KELYN
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OBRIEN, KEVIN                        OBRIEN, KRISTI                        OBRIEN, LAUREN
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OBRIEN, LIA                          OBRIEN, LIAM                          OBRIEN, LYNNE
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OBRIEN, MACKENZIE                    OBRIEN, MADISON                       OBRIEN, MAIREAD
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OBRIEN, MARIA                        OBRIEN, MATTHEW                       OBRIEN, MAUREEN
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OBRIEN, MEGAN                        OBRIEN, MEGAN                         OBRIEN, MEGHAN
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OBRIEN, MEGHAN                       OBRIEN, MELISSA                       OBRIEN, MELISSA
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OBRIEN, MICHELE                      OBRIEN, MOLLY (MARGARET)              OBRIEN, MOLLY
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OBRIEN, PAT                          OBRIEN, PATRICIA                      OBRIEN, RACHEL
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OBRIEN, RACHEL                       OBRIEN, RENEE                         OBRIEN, RENEE
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OBRIEN, ROBERT                       OBRIEN, RYLEE                         OBRIEN, SALLY
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OBRIEN, SEAN                         OBRIEN, SEAN                          OBRIEN, SEAN
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OBRIEN, SHAUNA                       OBRIEN, SHEILAH                       OBRIEN, SYLVIA
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OBRIEN, TAMARA                       OBRIEN, TARA                          OBRIEN, THOMAS
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OBRIEN, TODD                         OBRINGER, NICOLE                      OBROVAC, SAMUEL
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OBRYAN, DELANEY                      OBST, DONALD                          OBUOBI, HUMPHREY
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OBXNC LLC                            OBYRNE, KARI                          OBYRNE, KATHERINE
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                                                                           OCALLAGHAN, ALYSSA
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OCALLAGHAN, COLLEEN                  OCALLAGHAN, COLLEEN                   OCALLAGHAN, GRAZYNA
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OCALLAGHAN, LESLIE                   OCAMPO, ALY                           OCAMPO, ANNE
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OCAMPO, CARMELA                      OCAMPO, DIANA                         OCAMPO, RITA
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OCAMPO-ARELLANO, GUADALUPE           OCARROLL, AIDAN                       OCARROLL, MIN
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OCASIO, ADAM                         OCASIO, CLARISELLE                    OCASIO, JOSE
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OCASIO, JUDITH                       OCCHIPINTO, KATHY                     OCCUPATIONAL SAFETY & HEALTH ADMIN.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        200 CONSTITUTION AVE NW
                                                                           WASHINGTON, DC 20210




OCEAN STATE WINE & SPIRITS           OCEAN STATE WINE & SPIRITS            OCEAN, MISTY
101 HIGGINSON AVE BUILDING 97        101 HIGGINSON AVE                     ADDRESS AVAILABLE UPON REQUEST
LINCOLN, RI 02865                    LINCOLN, RI 02865




OCEPEK, JULIE                        OCH, SARAH                            OCHMAN, ANDREW
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OCHMAN, ERIKA                        OCHO, LUIS                            OCHOA DAHLHEIMER, TERESA
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OCHOA, FABIOLA                       OCHOA, ITZEL                          OCHOA, JASMINE/NEREIDA
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OCHOA, KYRA                          OCHOA, LAURA                          OCHOA, LESLIE
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OCHOA, MARIANNE                      OCHOA, MARINES                        OCHOA, MICHELLE
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OCHOA, SELENA                        OCHOA, TINA                           OCHOA, VERONICA
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OCHOA, VICTOR                        OCHS, AMY                             OCHS, CARLY
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OCHS, EVELYN                         OCHS, LAUREN                          OCHS, MORGAN
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OCHS, NAHUM                          OCHS, OCHS                            OCHS, PALMER
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OCHSMAN, DAVID                       OCHSNER, JAMIE                        OCKELMANN, HANNAH
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OCKENHOUSE, MARIA                    OCKRIM, KAYLA                         OCLAIR, RONALD
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OCON, ANYSA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           OCON, SAMANTHA
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OCONNELL, ASHLEY                     OCONNELL, CAITLIN                     OCONNELL, CAITLIN
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OCONNELL, CHELSEA                    OCONNELL, CHELSEA                     OCONNELL, CHRIS
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OCONNELL, COLLEEN                    OCONNELL, EMILY                       OCONNELL, HEATHER
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OCONNELL, JAMES                      OCONNELL, JAMES                       OCONNELL, JENNY
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OCONNELL, JULIE                      OCONNELL, KAITLIN                     OCONNELL, KATHLEEN
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OCONNELL, KELLY                      OCONNELL, KIMBERLY                    OCONNELL, MARY
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OCONNELL, MAURA                      OCONNELL, MELISSA                     OCONNELL, MICHAEL
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OCONNELL, MICHELLE                   OCONNELL, NICOLE                      OCONNELL, PATRICK
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OCONNELL, ROSEMARY                   OCONNELL, STEPHANIE                   OCONNELL, TIMOTHY
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OCONNELL, WILLIAM     Case 22-11238-LSS    Doc
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OCONNOR, ALLISON                     OCONNOR, ALYSSA                       OCONNOR, AMANDA
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OCONNOR, ANDREW                      OCONNOR, ANDREW                       OCONNOR, ASHLEY
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OCONNOR, BARBARA                     OCONNOR, BRIDGET                      OCONNOR, CAITLIN
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OCONNOR, CAITLIN                     OCONNOR, CARA                         OCONNOR, CAROL
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OCONNOR, CHARLENE                    OCONNOR, COLLEEN                      OCONNOR, COLLEEN
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OCONNOR, DANIELLE                    OCONNOR, DAVID                        OCONNOR, DEBRA
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OCONNOR, DENISE                      OCONNOR, DENISE                       OCONNOR, DENNIS
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OCONNOR, DIANE                       OCONNOR, DIANE                        OCONNOR, DIANE
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OCONNOR, ELIZABETH                   OCONNOR, ELLEN                        OCONNOR, ERICA
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OCONNOR, HEIDI                       OCONNOR, IMELDA                       OCONNOR, JACLYN
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OCONNOR, JAMES                       OCONNOR, JANET                        OCONNOR, JODI
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OCONNOR, KAITLYN                     OCONNOR, KAITLYN                      OCONNOR, KALEIGH
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OCONNOR, KAREN                       OCONNOR, KATHERINE                    OCONNOR, KATHLEEN
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OCONNOR, KATHLEEN                    OCONNOR, KATHLEEN                     OCONNOR, KATHY
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OCONNOR, KAYLA                       OCONNOR, KAYLA                        OCONNOR, KELLY
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OCONNOR, KYLE                        OCONNOR, LAUREN                       OCONNOR, LAUREN
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OCONNOR, LISA                        OCONNOR, MARISSA                      OCONNOR, MEGHAN
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OCONNOR, MELISSA                     OCONNOR, MIA                          OCONNOR, MICHAEL
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OCONNOR, MICHAEL      Case 22-11238-LSS    Doc
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OCONNOR, MRS. LOGAN                  OCONNOR, NICOLE                       OCONNOR, NICOLE
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OCONNOR, PAT                         OCONNOR, PATRICIA                     OCONNOR, PATRICK
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OCONNOR, PHILLIP                     OCONNOR, PHILOMENA                    OCONNOR, REILLY
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OCONNOR, ROBYN                       OCONNOR, RYAN                         OCONNOR, RYAN
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OCONNOR, SAMUEL                      OCONNOR, SARAH                        OCONNOR, SAYDE
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OCONNOR, SHANNON                     OCONNOR, SIOBHAN                      OCONNOR, TARA
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OCONNOR, TERRY                       OCONNOR, TRISHA                       OCONNOR, ZYRA
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OCOYNE, SIDNEY                       OCTAGON, INC                          OCTAVIUS LAMOUR
ADDRESS AVAILABLE UPON REQUEST       800 CONNECTICUT AVE                   ADDRESS AVAILABLE UPON REQUEST
                                     NORWALK, CT 06854




ODDI, JENNIFER                       ODDIS, JENNIFER                       ODDO, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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ODEA, HEATHER                        ODEKE, EMMANUEL                       ODELL, CASEY
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ODELL, CHRISTINE                     ODELL, DENISHA                        ODELL, HALEY
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ODELL, JANIS                         ODELL, JENNIFER                       ODELL, JENNY
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ODELL, LINDSAY                       ODELL, MICHELLE                       ODELL, SARAH
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ODELL, SHAYNE                        ODELL, SUSAN                          ODEN, DEANN (ALICIA)
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ODEN, EMILY                          ODEN, KATELYN                         ODENBACH, CARYN
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ODENBAUGH, OLIVIA                    ODENEAL, STACIE                       ODEN-FOREMAN, STEPHANIE
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ODENKIRK, DAVID                      ODENKIRK, DENISE                      ODENTHAL, LUKE
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ODERMATT, PAUL                       ODESSA, JOSEPH,                       ODESSKY, JANE
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ODESSKY, TERRI        Case 22-11238-LSS    Doc
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ODIAMAR, DANIELLE                    ODINAK, REUT                          ODINSON, ISABELLA
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ODINTSOVA, ANNA                      ODIOSO, ERIKA                         ODLE, MARK
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ODLIN, MARIA                         ODLYVANSKA, ANTONINA                  ODNEAL, WHITNEY
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ODOCHA, TOCHI                        ODOM, ALICIA                          ODOM, ALISON
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ODOM, DARNELL                        ODOM, ELLEN                           ODOM, KELLY
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ODOM, KERSHA                         ODOM, KRISTI                          ODOM, LOUISE
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ODOM, MEAGHAN                        ODOM, SARAH                           ODON, ROCHELLE
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ODONLEY, TERESA                      ODONNELL, ANGEL                       ODONNELL, ANGELA
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ODONNELL, BRIDGET                    ODONNELL, CAITLIN                     ODONNELL, CARA
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ODONNELL, COURTNEY    Case 22-11238-LSS    DocCYNTHIA
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                                                                           ODONNELL, CYNTHIA
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ODONNELL, DANIEL                     ODONNELL, DANIELLE                     ODONNELL, ELIZABETH
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ODONNELL, ELIZABETH                  ODONNELL, EMILY                        ODONNELL, HALEY
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ODONNELL, JOYCE                      ODONNELL, JULIA                        ODONNELL, JULIE
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ODONNELL, KELLI                      ODONNELL, LEIA                         ODONNELL, MARYANN
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ODONNELL, MEGAN                      ODONNELL, MICHELLE                     ODONNELL, MONICA
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ODONNELL, NICOLE                     ODONNELL, PATRICK                      ODONNELL, RACHAEL
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ODONNELL, RILEY                      ODONNELL, ROBERT                       ODONNELL, RUTH
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ODONNELL, SHEA                       ODONNELL, STEVE                        ODONNELL, SUSAN
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ODONNELL, TARRAH                     ODONNELL, TRACY                        ODONNOGHUE, ED
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ODONOGHUE, JENNY      Case 22-11238-LSS    Doc 2TERI Filed 11/30/22
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                                                                           ODONOHUE, AMANDA
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ODONOHUE, ELLEN                      ODONOVAN, ALLISON                     ODONOVAN, MARYKATE
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ODORISIO, MICHAEL OR MARGARET        ODORISIO, NIKKI                       ODOVERO, CIARA
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ODOWD, JOHN                          ODREN, MONIKA                         ODRISCOLL, KASSIE
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ODRISCOLL, KATHLEEN                  ODRISCOLL, KIMBERLY                   ODUMS, RAITIMA
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ODURO, REBA                          ODVODY, JESSICA                       ODWYER, DANIEL
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ODWYER, LOLAI                        ODWYER, TRIONA                        ODZELASHVILI, TEYA
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OECHSLE, PAIGE                       OEHL, SAMANTHA                        OEHLER, LYNN
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OEHLER, LYNN                         OEHLER, NATHAN                        OEHLERKING, ANDREA
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OEHLERKING, WHITNEY                  OEHLERT, CLARA                        OEHMANN, REBECCA
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OEHMCKE, SAMUEL       Case 22-11238-LSS
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OELENBERGER, JENNIFER                   OELER, MITCHELL                        OELFKE, KATHRYN
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OELKE, CARISSA                          OELKE, SUZANNE                         OEMKE MADARASH, HOLLY
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OENOTRI NAPA                            OERTLING, CARMEN                       OESCH, CAROLINE
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OESER, FALLON                           OESS, KATIE                            OESTERREICH, KRISTIN
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OETIKER, KURT                           OETTINGER, STACEY                      OFALLA, CZARINA
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OFALLON, GENIE                          OFALLON, KRISTY                        OFALLON, LINDSAY
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OFENGEIM, DENA                          OFFENSEND, SARA                        OFFER, HEATHER
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OFFERDAHL, HABONE                       OFFERDAHL, TIFFANY                     OFFERMAN, HEATHER
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OFFERPOP CORPORATION                    OFFERS, JULIE                          OFFERSEN, NAOMI
36 EAST 31ST STREET 8TH FLOOR           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10016
OFFICE 365            Case 22-11238-LSS      Doc 2 Filed 11/30/22 Page 3669
                                      OFFICE DEPOT                          OFFICEof
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ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING




OFFICE NATION                          OFFICE OF ATTORNEY GENERAL              OFFICE OF FINANCE
500 CENTRAL AVENUE                     DIVISION OF SECURITIES                  P.O. BOX 30716
WINNETKA, IL 60093                     200 SAINT PAUL PLACE                    LOS ANGELES, CA 90030-0716
                                       BALTIMORE, MD 21202-2020




OFFICE OF SANTA BARBARA COUNTY CLERK   OFFICE OF SEC. OF STATE OF CALIFORNIA   OFFICE OF SEC. OF STATE OF
SANTA BARBARA COUNTY RECORDER          HON. ALEX PADILLA                       PENNSYLVANIA
P.O. BOX 159                           1500 11TH ST                            HON. PEDRO A. CORTES
SANTA BARBARA, CA 93102-159            SACRAMENTO, CA 95814                    302 N OFFICE BLDG
                                                                               HARRISBURG, PA 17120



OFFICE OF SECRETARY OF STATE OF        OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
ALABAMA                                ALASKA                                  AMERICAN SAMOA
PO BOX 5616                            LIEUTENANT GOVERNOR -E                  LT GOVERNOR -E OFFICE OF THE
MONTGOMERY, AL 36130                   PO BOX 110015                           GOVERNOR
                                       JUNEAU, AK 99811                        3RD FL, UTULEI
                                                                               PAGO PAGO, AS 96799

OFFICE OF SECRETARY OF STATE OF        OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
ARIZONA                                ARKANSAS                                CALIFORNIA
1700 W WASHINGTON ST, FL 7             STATE CAPITOL, STE 256                  1500 11TH ST
PHOENIX, AZ 85007                      500 WOODLANE ST                         SACRAMENTO, CA 95814
                                       LITTLE ROCK, AR 72201



OFFICE OF SECRETARY OF STATE OF        OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
COLORADO                               CONNECTICUT                             DELAWARE
1700 BROADWAY, STE 200                 ATTN: CAPITOL OFFICE                    TOWNSEND BLDG
DENVER, CO 80290                       PO BOX 150470                           401 FEDERAL ST
                                       HARTFORD, CT 06115-0470                 DOVER, DE 19901



OFFICE OF SECRETARY OF STATE OF        OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
DISTRICT OF COLUMBIA                   FLORIDA                                 GEORGIA
1350 PENNSYLVANIA AVE, NW              R.A. GRAY BLDG                          214 STATE CAPITOL
STE 419                                500 S BRONOUGH ST                       ATLANTA, GA 30334
WASHINGTON, DC 20004                   TALLAHASSEE, FL 32399



OFFICE OF SECRETARY OF STATE OF GUAM   OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF IDAHO
LIEUTENANT GOVERNOR -E                 HAWAII                                  PO BOX 83720
PO BOX 2950                            LIEUTENANT GOVERNOR -E                  BOISE, ID 83720
HAGATNA, GU 96932                      STATE CAPITOL
                                       HONOLULU, HI 96813



OFFICE OF SECRETARY OF STATE OF        OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF IOWA
ILLINOIS                               INDIANA                                 LUCAS BLDG, 1ST FL
213 STATE CAPITOL                      200 W WASHINGTON ST, ROOM 201           321 E 12TH ST
SPRINGFIELD, IL 62756                  INDIANAPOLIS, IN 46204                  DES MOINES, IA 50319




OFFICE OF SECRETARY OF STATE OF        OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
KANSAS                                 KENTUCKY                                LOUISIANA
MEMORIAL HALL - 1ST FL                 700 CAPITAL AVE, STE 152                PO BOX 94125
120 SW 10TH AVE                        FRANKFORT, KY 40601                     BATON ROUGE, LA 70804
TOPEKA, KS 66612
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148 STATE HOUSE STATION                 MARYLAND                                MASSACHUSETTS
AUGUSTA, ME 04333                       16 FRANCIS ST                           MCCORMACK BLDG
                                        ANNAPOLIS, MD 21401                     1 ASHBURTON PLACE, 17TH FL
                                                                                BOSTON, MA 02108



OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
MICHIGAN                                MINNESOTA                               MISSISSIPPI
MICHIGAN DEPARTMENT OF STATE            180 STATE OFFICE BLDG                   125 S CONGRESS ST
LANSING, MI 48918                       100 REV DR MLK JR BLVD                  JACKSON, MS 39201
                                        ST. PAUL, MN 55155-1299



OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
MISSOURI                                MONTANA                                 NEBRASKA
600 W MAIN ST                           PO BOX 202801                           PO BOX 94608
JEFFERSON CITY, MO 65101                HELENA, MT 59620                        LINCOLN, NE 68509-4608




OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF NEW     OFFICE OF SECRETARY OF STATE OF NEW
NEVADA                                  HAMPSHIRE                               JERSEY
NEVADA STATE CAPITOL BLDG               STATE HOUSE ROOM 204                    LIEUTENANT GOVERNOR -E
101 N CARSON ST, STE 3                  107 N MAIN ST                           PO BOX 001
CARSON CITY, NV 89701                   CONCORD, NH 03301                       TRENTON, NJ 08625



OFFICE OF SECRETARY OF STATE OF NEW     OFFICE OF SECRETARY OF STATE OF NEW     OFFICE OF SECRETARY OF STATE OF
MEXICO                                  YORK                                    NORTH CAROLINA
NEW MEXICO CAPITOL ANNEX N              ONE COMMERCE PLAZA                      PO BOX 29622
325 DON GASPAR, STE 300                 99 WASHINGTON AVE, STE1100              RALEIGH, NC 27626
SANTA FE, NM 87501                      ALBANY, NY 12231



OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF OHIO    OFFICE OF SECRETARY OF STATE OF
NORTH DAKOTA                            180 E BROAD ST, 16TH FL                 OKLAHOMA
600 E BLVD AVE DEPT 108                 COLUMBUS, OH 43215                      2300 N LINCOLN BLVD
BISMARCK, ND 58505-0500                                                         STE 101
                                                                                OKLAHOMA CITY, OK 73105-4897



OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
OREGON                                  PENNSYLVANIA                            PUERTO RICO (PDP)
900 COURT ST NE                         302 N OFFICE BLDG                       CALLE SAN JOSE
CAPITOL ROOM 136                        HARRISBURG, PA 17120                    SAN JUAN, PR 00902
SALEM, OR 97310-0722



OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
RHODE ISLAND                            SOUTH CAROLINA                          SOUTH DAKOTA
82 SMITH ST                             1205 PENDLETON ST, STE 525              500 E CAPITOL AVE, STE 204
STATE HOUSE, ROOM 218                   COLUMBIA, SC 29201                      PIERRE, SD 57501-5070
PROVIDENCE, RI 02903-1120



OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF TEXAS   OFFICE OF SECRETARY OF STATE OF U.S.
TENNESSEE                               1100 CONGRESS                           VIRGIN ISLANDS (I)
FIRST FL, STATE CAPITOL                 CAPITOL BLDG, ROOM 1E.8                 LIEUTENANT GOVERNOR -E
NASHVILLE, TN 37243                     AUSTIN, TX 78701                        1131 KING ST, STE 101 CHRISTIANSTED
                                                                                ST. CROIX, VI 820



OFFICE OF SECRETARY OF STATE OF UTAH    OFFICE OF SECRETARY OF STATE OF         OFFICE OF SECRETARY OF STATE OF
UTAH STATE CAPITOL COMPLEX, STE 220     VERMONT                                 VIRGINIA
PO BOX 142325                           128 STATE ST                            PO BOX 2454
SALT LAKE CITY, UT 84114-2325           MONTPELIER, VT 05633                    RICHMOND, VA 23218
OFFICE OF SECRETARY OF Case  22-11238-LSS
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                                                                                         SECRETARY OF STATE OF
WASHINGTON                             VIRGINIA                                WISCONSIN
PO BOX 40220                           BLDG 1, STE-157K                        PO BOX 7848
OLYMPIA, WA 98504-0220                 1900 KANAWHA BLVD, E                    MADISON, WI 53707
                                       CHARLESTON, WV 25305-0770



OFFICE OF SECRETARY OF STATE OF        OFFICE OF TAX AND REVENUE               OFFICE OF THE ALCOHOLIC BEVERAGE
WYOMING                                PO BOX 96166                            CONTROL COMMISSIONER
2020 CAREY AVE                         WASHINGTON, DC 20090-6166               OFFICE OF THE ALCOHOLIC BEVERAGE
STE 600 & 700                                                                  CONTROL COMMISSIONER
CHEYENNE, WY 82002                                                             CARVEL STATE BUILDING 820 NORTH
                                                                               FRENCH STREET, 3RD FLOOR
                                                                               WILMINGTON, DELAWARE 19801

OFFICE OF THE ILLINOIS SECRETARY OF    OFFICESUPPLY.COM                        OFFIELD, DAMON
STATE                                  ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
SECURITIES DEPARTMENT
421 E. CAPITOL AVENUE, 2ND FLOOR
SPRINGFIELD, IL 62701



OFFIELD, JO                            OFFMAN, JOSH                            OFFUTT, ALSTON
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OFFUTT, CORINNE                        OFFUTT, DAVID                           OFFUTT, REBECCA
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OFLAHERTY, NORMA                       OFLANAGAN, CAITLIN                      OFNER, PATRICIA
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OFORI-DARKO, KWAKU                     OGAH, ECHE                              OGAN, LAURA
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OGANESYAN, ANI                         OGARA, NATALIA                          OGARA, SARAH
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OGAZON, MICHAEL                        OGBORN, PAMELA                          OGBORN, TREVOR
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OGBUOKIRI, ESTHER                      OGBURN, KATHY                           OGDEN, AMY
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OGDEN, ANDREA         Case 22-11238-LSS
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OGDEN, BRITTANI                      OGDEN, DIANE                          OGDEN, MEGAN
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OGDEN, STEPHANIE                     OGDEN, TRACY                          OGDEN, ZACHARY
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OGEA, MORGAN                         OGELE, CHIKA                          OGG GARY
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OGG, JASPER                          OGG, RICK                             OGGERO, ALEX
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OGHIFOBIBI, ONOME                    OGHWEH, STEPHANIE                     OGIER, DANIELLE
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OGILVIE, ALICIA                      OGILVIE, CELYN                        OGILVY, LESLIE
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OGIN, TRACY                          OGINO, MARK                           OGIRALA, SARAH
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OGLE, KRISTINA                       OGLE, MICHELLE                        OGLE, STEPHANIE
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OGLEE, CHRISTINA                     OGLESBY, ALICIA                       OGLESBY, EMMA
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OGLESBY, JACQUELINE   Case 22-11238-LSS    Doc
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                                                                           OGLESBY, JENNIFER
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OGLESBY, LAURA                       OGLESBY, STEPHANIE                     OGLETREE, OMAR
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OGLEY, JENNIFER                      OGLINE, LEAH                           OGNIBENE, RICHARD
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OGONJI, MESHACK                      OGORZALEK, EMILY                       OGRADY, BRIDGET
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OGRADY, CATHERINE                    OGRADY, CHRISTINE                      OGRADY, JESSE
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OGRADY, JOHN                         OGRADY, MONIQUE                        OGREEN, AMANDA
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OGREN, HANNAH                        OGREN, STU                             OGRIN, HELEN
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OGRINC, MEGAN                        OGUGUO, GEORGE                         OGUH, JULIE
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OGUMA, OLIVIA                        OGUNBEKUN, ADEYINKA                    OGUNJOBI, ABISOLA
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OGUNLEYE, BOLATITO                   OGUNLEYE, CHRISTIANAH                  OGUNLOWO, OLAMIDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
OGUNLOWO, OYIN        Case 22-11238-LSS    DocCHIKA
                                     OGUNNAIKE, 2 Filed 11/30/22       Page 3674 of 5495
                                                                            OGUNNAIKE, OLUFEMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OGURA, FRANK                         OGURCHAK, LAURA                         OH DEPT OF LIQUOR CONTROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          6606 TUSSING RD
                                                                             REYNOLDSBURG, OH 43068




OH DEPT OF TAXATION                  OH DIVISION OF SECURITIES               OH DIVISION OF SECURITIES
30 E BROAD ST 22                     OHIO DEPARTMENT OF COMMERCE             OHIO DEPARTMENT OF COMMERCE
COLUMBUS, OH 43215                   77 SOUTH HIGH STREET 22ND FLOOR         77 SOUTH HIGH STREET, 22ND FLOOR
                                     COLUMBUS, OH 43215                      COLUMBUS, OH 43215




OH, AMY                              OH, ANDREW                              OH, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OH, HYUN MI                          OH, HYUNAH                              OH, JENNIFER
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OH, JENNIFER                         OH, JORDAN                              OH, LUKE
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OH, MARY                             OH, MITCHELL                            OH, SAM
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OH, SANDY                            OH, SEOJEEN                             OH, SEULKI
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OHAIRE, HILARY                       OHAIRE, LISE                            OHALLORAN, CARMELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OHALLORAN, KATHRYN                   OHAM, CHINONSO                          OHANA PACKAGING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          21078 CABOT BLVD
                                                                             HAYWARD, CA 94545
OHANESIAN, RICHARD    Case 22-11238-LSS    Doc
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                                                                           OHANLON, BREANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OHANLON, KAREN                       OHARA, ABIGAIL                        OHARA, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OHARA, COLIN                         OHARA, CONSTANCE                      OHARA, DANA
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OHARA, ERIN                          OHARA, JENNIFER                       OHARA, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OHARA, KATHLEEN                      OHARA, KELLY                          OHARA, MADDIE
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OHARA, MARIE                         OHARA, MEGHAN                         OHARA, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OHARA, MELANIE                       OHARA, MISAKI                         OHARA, RYAN
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OHARA, SHAWNA                        OHARE, NATALIE                        OHARE, SAM
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OHAREN, CAROLINA                     OHARGAN, MEGAN                        OHARO, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OHARRA, NATE                         OHASHI, JENNIFER                      OHASHI, YURI-GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OHELO, KIMO           Case 22-11238-LSS
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                                                                                OHIGGINS, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




OHIO BUREAU OF EMPLOYMENT SERVICES      OHIO BUREAU OF EMPLOYMENT SERVICES       OHIO DEPARTMENT OF COMMERCE
4020 EAST 5TH AVENUE                    PO BOX 1618                              ADDRESS UNAVAILABLE AT TIME OF FILING
COLUMBUS, OH 43219                      COLUMBUS, OH 43216-1618




OHIO DEPARTMENT OF COMMERCE             OHIO DEPARTMENT OF TAXATION              OHIO DEPT OF TAXATION
DEPARTMENT OF COMMERCE                  ADDRESS UNAVAILABLE AT TIME OF FILING    30 E BROAD STREET
77 SOUTH HIGH STREET, 23RD FLOOR                                                 22ND FLOOR
COLUMBUS, OH 43215-6123                                                          COLUMBUS, OH 43215




OHIO DEPT OF TAXATION                   OHIO DIVISION OF LIQUOR CONTROL          OHIO DIVISION OF SECURITIES
4485 NORTHLAND RIDGE BLVD               ADDRESS UNAVAILABLE AT TIME OF FILING    77 SOUTH HIGH STREET
COLUMBUS, OH 43229                                                               22ND FLOOR
                                                                                 COLUMBUS, OH 43215




OHIO TREASURER OF STATE                 OHKUBO, ANANDI                           OHL, KASEY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




OHL, LAURA                              OHLAND, NICOLE                           OHLEMACHER, MATT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




OHLENDORF, AUTUMN                       OHLER, JACKSON                           OHLHEISER, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




OHLIN, JIM                              OHLSEN, LINNEA                           OHLSEN, LINNEA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




OHLSON ELLIOTT, THERESA                 OHLSON, CAROLINE                         OHLSSON, SENNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




OHLSTEIN, KERRI                         OHLUND, REANNA                           OHMAN, DAWN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
OHMAN, ELSA           Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OHMSTEDE, JACK                       OHNMACHT, KATARINA                      OHRAN, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OHRENBERGER, JESSE                   OHRMAN, JENNIFER                        OHRSTROM, STEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OHRT, ASHLEY                         OHRT, ASHLEY                            OHSHIRO, KAZUFUMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OIDTMAN, HOLLEY                      OILER, PIA                              OILS, BENEVOLENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OIMOEN, JULIANNE                     OINAGA, HIROSHI                         OINES, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OINESS-THOMPSON, KACEY               OJAI RESORT FRONT DESK                  OJASCASTRO, ANGELICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




OJEA, SHANNON                        OJEDA, ANTHONY                          OJEDA, DAYSI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OJEDA, LINDSAY                       OJEDA, MADELINE                         OJEDA, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OJEDA, PAULA                         OJEDA, VIANNEY                          OJEDA-AVITIA, VALERIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
OJEWUMI, JAMES        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     OJHA, RUCHI                      Page 3678  of 5495 DANIELLE
                                                                           OJOE-CONARROE,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OJSERKIS, REBECCA                    OJUGBELE, TOSIN                       OK STATE TAX DEPARTMENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




OKA KOCORE, AXELLE                   OKADA, AMANDA                         OKADA, LEAH 86
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OKADA-JOHNSTONE, KENJI ALEJANDRO     OKAFOR, JASMINE                       OKAFOR, UDOKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OKAGBUE, OBIDI                       OKAMOTO, MASAO                        OKANE II, DENIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OKANE, DAVID                         OKANE, JOHNNY                         OKANE, LESLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OKARMA, JAIME                        OKAS, JENNIFER                        OKECHUKWU, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OKEDIJI, IBK                         OKEEFE, ANASTASIA                     OKEEFE, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OKEEFE, CONNER                       OKEEFE, DANA                          OKEEFE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OKEEFE, JULIA                        OKEEFE, KATHRYN                       OKEEFE, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OKEEFE, SARAH         Case 22-11238-LSS
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                                                                                  OKEEFE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




OKEEFE, VALERIE                         OKEEFFE, AMY                              OKEEFFE, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




OKEEFFE, KRISTIN                        OKEEFFE, MEGAN                            OKEEFFE, PAUL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




OKEEFFE-DENNIS, CALEN                   OKEGBILE, SINMI                           OKEKE, CHIJIOKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




OKEKE, HENRY                            OKELLEY, SANDRA                           OKELLY, MARY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




OKEN, LUCILLE                           OKENY ENTERPRISES LLC                     OKEREKE, CINDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




OKERT, ROGER                            OKIDA, ALLIE                              OKIDA, BECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




OKIKAWA, KIYOME                         OKLAHOMA DEPARTMENT OF CONSUMER           OKLAHOMA DEPT OF LABOR
ADDRESS AVAILABLE UPON REQUEST          CREDIT                                    3017 N STILES
                                        3613 NW 56TH ST, STE 240                  SUITE 100
                                        OKLAHOMA CITY, OK 73112                   OKLAHOMA CITY, OK 73105




OKLAHOMA SECURITIES COMMISSION          OKLAHOMA SECURITIES DEPARTMENT            OKLAHOMA TAX COMMISSION
204 N ROBINSON AVE                      204 NORTH ROBINSON AVENUE, STE 400        440 SOUTH HOUSTON
SUITE 400                               OKLAHOMA CITY, OK 73102-7001              5TH FLOOR
OKLAHOMA CITY, OK 73102-7001                                                      TULSA, OK 74127




OKLAHOMA TAX COMMISSION                 OKLAHOMA TAX COMMISSION                   OKOBOJI WINES - IOWA
ADDRESS UNAVAILABLE AT TIME OF FILING   CONNORS BUILDING, CAPITAL COMPLEX         2302 165TH STREET
                                        2501 NORTH LINCOLN BLVD                   SPIRIT LAKE, IA 51360
                                        OKLAHOMA CITY, OK 73914
OKOH, CHUKWUKA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     OKOH, FRANCINE                   Page 3680  of 5495
                                                                           OKOLICSANYI, HELENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKOLITA, ELYSE                       OKON, DENNIS                           OKON, LAURIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKONAK, JOSEPH                       OKONESKI, AVERY                        OKONIEWSKI, CRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKONOFUA, MARIA                      OKONSKI, KELLY                         OKORO, STACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKOSHI, MUTSUMI                      OKOYE, LAUREN                          OKPARA, CHIOMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKPOSO, KENDRA                       OKRASINSKI, JACQUELYN                  OKRAY, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKSANA, SUVALOVA                     OKSANEN, LILY                          OKTAY, ORAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKUBANJO, MOTUNRAYO                  OKUBO, JAMILLA                         OKUDA, MASAO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKUDA, WHITNEY                       OKUGO, CECILIA                         OKULAJA, MESHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




OKUM, STEPHANIE                      OKUMUS, ORKAN                          OKUN, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
OKUROWSKI, JILL       Case 22-11238-LSS    Doc 2 Filed 11/30/22
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                                                                             OKWUCHI 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OLADAPO, GBOLAHAN                    OLADOSU, ADEMOLA                        OLAF VOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OLAFSON, KAREN                       OLAFSON, MATT                           OLAFSON, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OLAGBAJU, YETUNDE                    OLAGUE, JESSE                           OLAIS, PALOMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OLAN, CAITLYN                        OLAN, ERIN                              OLAND, FRAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OLANDER, JESSE                       OLANDER, RACHAEL                        OLANDI HOLDINGS LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OLANDJ, CHRISTINE                    OLANICH, TINA                           OLANO, ALEXIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OLANO, GUY                           OLAON, CYNDI                            OLARE, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OLARI, TRACY                         OLARK                                   OLAUGHLIN, HARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




OLAUGHLIN, LAURA                     OLAUGHLIN, LAUREN                       OLAUGHLIN, MICHAELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
OLAUGHLIN, NEVA       Case 22-11238-LSS    DocPATRICK
                                     OLAUGHLIN, 2 Filed 11/30/22      Page 3682 of 5495
                                                                           OLAUSEN, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLAVARRIA, GLORIA                    OLAVARRIA, KAMRIN                     OLAVARRIA, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLAY, COURTNEY                       OLBAR MANAGEMENT LLC                  OLBERDING, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLBERDING, LAURA                     OLBERMANN, OLIVIA                     OLBON, ALILI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLBRYCH, STEPHANIE                   OLCESE, CELENA                        OLD BRIDGE CELLARS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        703 JEFFERSON STREET
                                                                           NAPA, CA 94559




OLD, SARAH                           OLDBERG, SARAH                        OLDE WORLD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




OLDEN, SAMUEL                        OLDENKAMP, BRITTANY                   OLDFIELD, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLDFIELD, MAC                        OLDFIELD, NICK                        OLDFIELD, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLDFIELD, SARAH                      OLDHAM, ASHLEY                        OLDHAM, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLDHAM, DILLON                       OLDHAM, ERIN                          OLDHAM, HAILEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OLDHAM, JESSIE        Case 22-11238-LSS
                                     OLDHAM,Doc  2 Filed 11/30/22
                                             LINDA                    Page 3683 ofMORAIMA
                                                                           OLDHAM, 5495
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OLDHAM, PAM                          OLDHAM, SHARON                        OLDHAM, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLDS, RON                            OLDS, SANDHAL                         OLDSHEIN, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLDSHUE, LINDSEY                     OLDT, TIM                             OLEAN, EMERAL
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OLEARY, AIVEN                        OLEARY, AMY                           OLEARY, CAITLIN
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OLEARY, COLLEEN                      OLEARY, DEVIN                         OLEARY, DOROTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLEARY, EMMELINE                     OLEARY, JOHN                          OLEARY, KAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLEARY, KASEY                        OLEARY, KELSEY                        OLEARY, KENDALL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLEARY, KRISTIE                      OLEARY, LINDSEY                       OLEARY, MARY KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLEARY, MARYKAY                      OLEARY, MAURA                         OLEARY, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OLEARY, MELISSA       Case 22-11238-LSS
                                     OLEARY,Doc  2 Filed 11/30/22
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                                                                           OLEARY, 5495
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OLEARY, NORA                         OLEARY, NORA                          OLEARY, PATRICIA
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OLEARY, SAM                          OLEARY, SHEILA                        OLEARY, SOPHIE
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OLEAS, JULIE                         OLEG IVANOV                           OLEGARIO, AMANDA-MAE
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OLEGAS KOZICYNAS                     OLEJNIK, DEREK                        OLEKH, YULIA
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OLEKSYK, AMBER                       OLEN, EDWARD                          OLEN, JENNIFER
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OLEN, JON                            OLENDER, LISA                         OLENEACK, BROOKE
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OLENICK, GREGORY                     OLENICK, KRISTINA                     OLENICZAK, MEREDITH
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OLEOLE, KERI                         OLER, GILLIAN                         OLER, JESSEY
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OLESEN, JOHANNA                      OLESIAK, MAREK                        OLESIAK, MAREK
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OLESKER, CARRIE       Case 22-11238-LSS    DocOLENKA
                                     OLESNYCKY, 2 Filed 11/30/22      Page 3685 ofAMANDA
                                                                           OLESON, 5495
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OLESON, JAMES                        OLESON, JULIE                         OLESON, KENNETH
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OLESON, SHAUNA                       OLESON, STEPHANIE                     OLESON, ZJOHN
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OLESSYA FOXBORN                      OLEXA, KYLEE                          OLGA BAKER
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OLGA GOMEZ CASTILLO                  OLGA LOPUKHIN                         OLGA ROCHA
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OLGUIN, DONNA                        OLGUIN, GRISELDA                      OLIA, KIAN
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OLIENSIS, MARLENA                    OLIER, SYLVAIN                        OLIFF, WENDY
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OLIMPIA MASCOLO                      OLIN, ANNIKA                          OLIN, ELIZABETH
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OLIN, JENNY                          OLIN, JORDAN                          OLIN, SHANNON
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OLIN, SUSAN                          OLINGER, KEVIN                        OLINSKI, CALLIE
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OLIPHANT, ALEXIS      Case 22-11238-LSS     Doc
                                     OLIPHANT,   2 Filed 11/30/22
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                                                                           OLIPHANT, ARADHNA
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OLIPHANT, JOCLINE                    OLIPHANT, LAUREN                       OLIPHINT, ERIN
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OLIPRA, LAUREN                       OLISAEMEKA TOBENNA UZOCHUKWU           OLIVA, ANTHONY
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                                     ADDRESS AVAILABLE UPON REQUEST




OLIVA, ERIN                          OLIVA, J                               OLIVA, KATELYN
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OLIVA, KIM                           OLIVA, NICOLE                          OLIVA, PATRICIA
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OLIVARES, DAISY                      OLIVARES, ESTHER                       OLIVARES-URUETA, MAYRA
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OLIVAREZ, LEOLA                      OLIVARI, JUAN                          OLIVARRIA, KARA
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OLIVAS, AIMEE                        OLIVAS, BERTA                          OLIVAS, BERTA
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OLIVAS, WILLIE                       OLIVAS-BLANCO, JOSE                    OLIVE GARDEN
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OLIVE, MOLLY                         OLIVE, TAYLOR                          OLIVEIRA DE MARIA, MARCIO
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OLIVEIRA, ALLANA      Case 22-11238-LSS     Doc
                                     OLIVEIRA,    2 Filed 11/30/22
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                                                                           OLIVEIRA, 5495
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OLIVEIRA, KATRINA                    OLIVEIRA, MARIA                        OLIVEIRA, MARIO
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OLIVENCIA, NICK                      OLIVER BARTON                          OLIVER CARBONELL
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OLIVER CASTLEMAN                     OLIVER PFEFFER                         OLIVER, AISLYN
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OLIVER, ALIX                         OLIVER, AMBER                          OLIVER, BARRI
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OLIVER, BOB                          OLIVER, CHRISTINE                      OLIVER, CHRISTY
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OLIVER, CONOR                        OLIVER, DANIEL                         OLIVER, DANIEL
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OLIVER, DARNELL                      OLIVER, EMILY                          OLIVER, EMILY
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OLIVER, ERIN                         OLIVER, JACQUELINE                     OLIVER, JEAN
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OLIVER, JENNIFER                     OLIVER, JENNIFER                       OLIVER, JOANNA
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OLIVER, JOHN          Case 22-11238-LSS
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                                             JOYA 2  Filed 11/30/22     Page 3688
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OLIVER, KATHERINE                      OLIVER, KATHI                         OLIVER, KATHY
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OLIVER, KATHY                          OLIVER, KHIANA                        OLIVER, KIRA
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OLIVER, KYLIE                          OLIVER, LAURA                         OLIVER, LEANN
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OLIVER, LINDSAY                        OLIVER, LUCIA                         OLIVER, LYNETTE
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OLIVER, MADISON                        OLIVER, MARGARET                      OLIVER, MARIA
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OLIVER, MARYJEAN                       OLIVER, MEAGAN                        OLIVER, MERISSA
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OLIVER, MICHAEL                        OLIVER, PATRICK                       OLIVER, ROGER
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OLIVER, STEVEN                         OLIVER, TAMMY                         OLIVER, VIRGINIA
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OLIVERA MANJARRES A08810, NORELA DEL   OLIVERA, ANGELA                       OLIVERAS, MAYRA
CARMEN                                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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OLIVERAS, URSULA      Case 22-11238-LSS     Doc
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OLIVERIUS, JOLENE                    OLIVERO, ANDREA                       OLIVERO, GEORGE
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OLIVETO, MARIO                       OLIVETTI, MEGAN                       OLIVETTI, NINA
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OLIVIA BACON                         OLIVIA BRACISZEWSKI                   OLIVIA CARTER
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OLIVIA DETERMAN                      OLIVIA GOLDSBOROUGH                   OLIVIA GOODMAN
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OLIVIA HENLEY                        OLIVIA LUONG                          OLIVIA M., THE BLUE YAK
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OLIVIA MCGEE                         OLIVIA V LAU                          OLIVIA WERTHEIM
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OLIVIER, CATHERINE                   OLIVIER, DANIEL                       OLIVIER, KATIE
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OLIVIER, MAXIM                       OLIVIER, REMI                         OLIVIERI, BRIANNA
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OLIVIERI, ELENA                      OLIVIERI, LOIS                        OLIVIERO, PEACE
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OLIVO, GINA           Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           OLIVOLA, 5495
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OLLA, JOYDAWN                        OLLANDER, MAGGIE                      OLLAPALLY, PHILIP
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OLLER, BETH                          OLLIE, NATHAN                         OLLIE, RANDALL
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OLLIE, SHIRL                         OLLIFF, STACEY                        OLLIGES, PAM
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OLLILA, DIANE                        OLLINGER, MANDIE                      OLLIVE, BENOIT
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OLLQUIST, MARY ELIZABETH             OLMEDILLO, BEATRIZ                    OLMEDO GUERRA, BELEN
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OLMEDO, HONI                         OLMEDO, ISAAC                         OLMOS, ISRAEL
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OLMOS, MELANIE                       OLMSTEAD, ALLIE                       OLMSTEAD, ERICA
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OLMSTEAD, JULIA                      OLMSTEAD, KELSEY                      OLMSTED, JULIE
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OLNEY, KELLY                         OLOFFSON, CLARA                       OLOFFSON, PHIL
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OLOFSON, HAYES        Case 22-11238-LSS    Doc
                                     OLOFSON,    2 Filed 11/30/22
                                              JENNIFER                Page 3691 of 5495
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OLOUGHLIN, BRIANNA                   OLOUGHLIN, GARETH                      OLOUGHLIN, PAMELA MOORE
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OLPIN, MICHAEL                       OLSAVSKY, GLORIA                       OLSEN, ALICIA
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OLSEN, ANDI                          OLSEN, ANNETTE                         OLSEN, ANYA
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OLSEN, BETSY                         OLSEN, DARCY                           OLSEN, DIANNE
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OLSEN, DUSTIN                        OLSEN, ERICA                           OLSEN, EUDORA
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OLSEN, EVA                           OLSEN, GARRETT & ALICIA                OLSEN, JACKI
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OLSEN, JAMIE-LEE                     OLSEN, JEFFREY                         OLSEN, JENNIFER
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OLSEN, JENNIFER                      OLSEN, KARA                            OLSEN, KAYLEE
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OLSEN, KELLY                         OLSEN, KENDRA                          OLSEN, LANI
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OLSEN, LAUREN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     OLSEN, LEANN                     Page 3692
                                                                           OLSEN,of 5495
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OLSEN, LYNN                          OLSEN, MARIANNE                       OLSEN, MARK
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OLSEN, MEGAN                         OLSEN, MELISSA                        OLSEN, MOLLY
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OLSEN, PAIGE                         OLSEN, ROSITA                         OLSEN, SCOTT
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OLSEN, SHARON                        OLSEN, TRACY                          OLSEN, TRISHA
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OLSEN, YVONNNE                       OLSEN0407, BARBARA                    OLSHAN, CAROLYN
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OLSHAVSKY, ABIGAIL                   OLSON, ABIGAIL                        OLSON, ALEXA
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OLSON, ALIXANDRA                     OLSON, ALYSSA                         OLSON, ANDRES
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OLSON, ANGELA                        OLSON, ANNE                           OLSON, ANNIE
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OLSON, ARIANA                        OLSON, ASHLEY                         OLSON, ASHLEY
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OLSON, AUBREY         Case 22-11238-LSS
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OLSON, BETH                          OLSON, BREANNA                        OLSON, CAELIN
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OLSON, CALLIE                        OLSON, CASSIDY                        OLSON, CHARITY
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OLSON, CHARLES                       OLSON, CHRISTOPHER                    OLSON, CHRISTY
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OLSON, COLLEEN                       OLSON, CONNIE                         OLSON, CORINNE
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OLSON, DANIEL                        OLSON, DAVID                          OLSON, DAVID
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OLSON, DISTINCTIVE GRANITE/KIM       OLSON, DON AND KIMBERLY               OLSON, DON
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OLSON, ELSA                          OLSON, FRED                           OLSON, GABRIEL
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OLSON, GENEVIEVE                     OLSON, GRAIG                          OLSON, GRETCHEN
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OLSON, GRETCHEN                      OLSON, JACKIE                         OLSON, JACLYN
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OLSON, JACQUELYN      Case 22-11238-LSS
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OLSON, JEN                           OLSON, JEN                            OLSON, JENNIFER
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OLSON, JESSICA                       OLSON, JESSICA                        OLSON, JORDAN
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OLSON, JULIE                         OLSON, KAITLIN                        OLSON, KARI
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OLSON, KARMEN                        OLSON, KATHRYN                        OLSON, KATRINA
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OLSON, KELLY                         OLSON, KELLY                          OLSON, KERSTIN
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OLSON, KRISJON                       OLSON, KRISTI                         OLSON, KRISTIN
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OLSON, KRISTIN                       OLSON, KRISTY                         OLSON, LAURA
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OLSON, LAUREN                        OLSON, LYNN                           OLSON, MADELEINE
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OLSON, MADELEINE                     OLSON, MARA                           OLSON, MATT
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OLSON, MATTHEW        Case 22-11238-LSS
                                     OLSON, Doc 2 Filed 11/30/22
                                            MEGAN                     Page 3695
                                                                           OLSON,of 5495
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OLSON, MELISSA                       OLSON, MICHELLE                       OLSON, MORGAN
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OLSON, NADINE                        OLSON, NANCY                          OLSON, NICOLE
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OLSON, PAM                           OLSON, RACHEL                         OLSON, RACHEL
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OLSON, REBEKAH                       OLSON, RUSSEL                         OLSON, SADIE
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OLSON, SAMANTHA                      OLSON, SAMANTHA                       OLSON, SAMANTHA
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OLSON, SARA                          OLSON, SHAINA                         OLSON, SHANNON
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OLSON, STEPHEN                       OLSON, STEVE                          OLSON, SYDNEY
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OLSON, TAYLOR                        OLSON, TED                            OLSON, TED
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OLSON, THERESA                       OLSON, THERESA                        OLSON, TIFFANY
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OLSON, TINA           Case 22-11238-LSS
                                     OLSON, Doc  2 Filed 11/30/22
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OLSON, YUME                          OLSON, ZACH                           OLSON-MULLIN, JENNIFER
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OLSON-ZAPATA, ERIN                   OLSSON, ISABELLE                      OLSSON, JOSEFINE
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OLSTEAD, REBECCA                     OLSWANG, CHASE                        OLSZAK, LESLIE
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OLSZEWSKI, JAMES                     OLSZEWSKI, JENNIFER                   OLSZEWSKI, JOSEPH
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OLSZEWSKI, KELLY                     OLSZEWSKI, KEVIN                      OLSZEWSKI, NICOLE
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OLSZTA, COURTNEY                     OLTEN, ALLEN                          OLTMANNS, KRIS
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OLUGOSI, TITILAYO                    OLUKEMI, FUNMILAYO                    OLUKOTUN, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OLUMIDE FALADE                       OLUSEGUN, JOYCE                       OLUSOLA OLADIMEJI
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OLVERA, CARMEN                       OLVEY, KENT                           OLYMPIA KYRIAKIDIS
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OMALLEY, AMANDA       Case 22-11238-LSS    Doc
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                                                                           OMALLEY, 5495
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OMALLEY, COURTNEY                    OMALLEY, EDEN                         OMALLEY, ELIZABETH
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OMALLEY, ERIN                        OMALLEY, GENAVEVE                     OMALLEY, JEN
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OMALLEY, MICHAEL                     OMALLEY, PATRICIA                     OMALLEY, PATRICK
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OMALLEY, SARAH                       OMALLEY, SEAN                         OMALLEY, SHANNON
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OMALLEY, SUE                         OMALLEY, VIRGINIA                     OMAN, CARRIE
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OMAR DAVID PEREZ                     OMAR MARTINEZ GARCIA                  OMAR REAL
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OMAR SILLAS                          OMAR WILSON                           OMARA, JACKIE
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OMARA, JOSEPH                        OMARA, MARTIN                         OMARA, SUZY
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OMARA, SYDNEY                        OMARA, THOMAS                         OMARIBA, MARGARET
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OMARIBA, MARGARET     Case 22-11238-LSS
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                                                                                    MICHAEL
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OMDAHL, WANDA                        OMEAD SINAI                             OMEARA, BRIDGETT
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OMEARA, CATHERINE                    OMEARA, ELIZABETH                       OMEARA, MARGARET
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OMEARA, VIVIAN                       OMEGA CINEMA PROPS, INC.                OMEKE, TINA
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OMER, MIRANDA                        OMER, REBBA                             OMERE, IROGHAMA
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OMG3 VENTURES LLC                    OMI, DIANNE                             OMILIAN, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OMLIN, EMILY                         OMOTAYO, AYODELE                        ON ASSIGNMENT, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          (CREATIVE CIRCLE, LLC)
                                                                             P.O. BOX 74008799
                                                                             CHICAGO, IL 60674-8799




ONAKA, STEPHANIE                     ONANIAN, ALANNA                         ONATE, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ONATE, MIGUEL                        ONCALE, BEAU                            ONCKEN, KRISTEN
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ONDA NORDGREN, MAUREEN               ONDA, AKIKO                             ONDATJE, TAYLOR
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ONDE, FERNANDO        Case 22-11238-LSS    Doc
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                                                                             ONDERBEKE, KIMBERLEE
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ONDO, TRACY                          ONDRAKO, JULIE                          ONDREJCKA, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ONDREJKA, CARRIE                     ONDREJKA, NICK                          ONE HOPE WINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          PO BOX 1117
                                                                             NEWPORT BEACH, CA 92659




ONE MONTHS RENT INC.                 ONE NETWORK ENTERPRISES, INC.           ONE PERCENT FOR THE PLANET
3824 S. SANTA FE AVE 5               4055 VALLEY VIEW LANE, STE 1000         47 MAPLE STREET, STE 103
VERNON, CA 90058                     DALLAS, TX 75244                        BURLINGTON, VT 05401




ONE POINT LOGISTICS, INC.            ONE VINE                                ONE87 WINE AND COCKTAILS, LLC
159 4TH AVE. NORTH, 7TH FLOOR        ADDRESS UNAVAILABLE AT TIME OF FILING   265 LOMBARD ROAD, SUITE A
NASHVILLE, TN 37219                                                          AMERICAN CANYON, CA 94503




ONEAL, ALLYSON                       ONEAL, BRIAN                            ONEAL, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ONEAL, CATHERINE                     ONEAL, COURTNEY                         ONEAL, HEATHER
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ONEAL, JIM                           ONEAL, KIMBERLY                         ONEAL, LAUREN
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ONEAL, LISA                          ONEAL, MELANIE                          ONEAL, MICHELLE
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ONEAL, NAZIR                         ONEAL, SHERI                            ONEAL, THE
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ONEAL, VERONICA       Case 22-11238-LSS
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ONEIL, BECKY                         ONEIL, CHRIS                          ONEIL, CONOR
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ONEIL, COURTNEY                      ONEIL, ELIZA                          ONEIL, ERIN
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ONEIL, GAIL                          ONEIL, HEATHER                        ONEIL, JENNIFER
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ONEIL, KATE                          ONEIL, MARY                           ONEIL, NANCY
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ONEIL, RICK                          ONEIL, SARAH                          ONEIL, SCOTT
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ONEIL, TARA                          ONEILL BEVERAGES CO. LLC              ONEILL THARP, KRISTI
ADDRESS AVAILABLE UPON REQUEST       (ONEILL VINTNERS & DISTILLERS)        ADDRESS AVAILABLE UPON REQUEST
                                     8418 S. LAC JAC AVENUE
                                     PARLIER, CA 93648




ONEILL, ABBY                         ONEILL, ALICIA                        ONEILL, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ONEILL, ANDREW                       ONEILL, ANNA                          ONEILL, ASHLEY
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ONEILL, CATHERINE                    ONEILL, CHRIS                         ONEILL, CONOR
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ONEILL, DEVIN         Case 22-11238-LSS
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ONEILL, GRACE                        ONEILL, JEN                            ONEILL, JOSEPH
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ONEILL, KAITLYN                      ONEILL, KATELYN                        ONEILL, KATIE
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ONEILL, KATIE                        ONEILL, KATIE                          ONEILL, KEVIN
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ONEILL, KEVIN                        ONEILL, KRISTEN                        ONEILL, KRISTIN
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ONEILL, KRISTIN                      ONEILL, KRISTIN                        ONEILL, KRISTINE
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ONEILL, LENNY                        ONEILL, MARILENA                       ONEILL, MARISSA
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ONEILL, MARY                         ONEILL, MATTHEW                        ONEILL, MAUREEN
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ONEILL, MONICA                       ONEILL, ROSANN                         ONEILL, SAMANTHA
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ONEILL, SHANYN                       ONEILL, STEPHANIE                      ONEILL, SUMMER
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ONEILL, SUSAN         Case 22-11238-LSS
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                                                                              ONEY, TAYLOUR
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ONG YEN SIONG BENEDICT                  ONG, CHRISTIAN                        ONGENA, KATIE
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ONGSTAD, CORRIN                         ONIAS, TYRONE                         ONIFER, JACOB
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ONKEN, ASHLEY                           ONKEN, MARGARET                       ONKOTZ, PHIL
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ONLINE DEP DETAIL                       ONNEN, CONNEE                         ONOFRIO, DANETTE
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ONOFRIO, MAGGIE                         ONON, CAITLYN                         ONORAD, JASON
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ONORATI, VINCENT                        ONORATO, BARRY                        ONORATO, MEGAN
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ONORATO, MELISSA                        ONORIO, SHAY                          ONSTEAD, DOMINIC
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ONTIVEROS, ALYSSA                       ONTIVEROS, JENA                       ONTIVEROS, LUIS
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ONTIVEROS, MINERVA                      ONUORJI, KRYSTAL                      ONUSKA, LAURA
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ONUSKO, DAVID         Case 22-11238-LSS    DocPAIGE
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                                                                              ONYE, AZUKA
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ONYEARUGHA, IKEM                        ONYEBUCHI, KELECHI                    ONYEKWELU, JULIA
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ONYENSO, GIFT                           ONYSHKO, LYNDA                        ONYSIO, LINDSAY
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OO TORO                                 OO, MYO                               OO, ZAW
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OOI, HENRY                              OOKI, AIYANA                          OOLEY, LAURA
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OOMS, AMBER                             OORDT, LYNSEY                         OOST, CRISTIE
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OOSTERMAN, KELLY                        OOSTMAN, KELLS                        OOSTRA 1087, ELAINE
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OP CAFE                                 OP DEN BOSCH, NICOLE                  OPA, OMA &
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OPACIC, LINDA                           OPALKA, TERESSA                       OPARNICA, ASHLEY
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OPEDSAPCE, INC (DAILY PNUT)             OPEIRCE, KEVIN                        OPEL, ERIKA
1008 MASSACHUSETTS AVE. SUITE 502       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CAMBRIDGE, MA 02138
OPEL, REGAN           Case 22-11238-LSS
                                     OPELKA,Doc 2 Filed 11/30/22
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                                                                                  SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OPEN SKY INVESTMENTS LLC             OPENA, GRACE                          OPENSHAW, CHELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OPENSHAW, TANA                       OPERHALL, JOE                         OPEX PARTNERS SOLO 401K PLAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        4824 NARRAGANSETT AVE SUITE A
                                                                           SAN DIEGO, CA 92107




OPICI - CONNECTICUT                  OPICI - NEW JERSEY                    OPICI FAMILY DISTRIBUTING
210 OLD GATE LANE                    AMERICAN B.D.CO                       25 DE BOER DRIVE
MILFORD, CT 06460                    25 DE BOER DRIVE GLEN                 GLEN ROCK, NJ 07452
                                     ROCK, NJ 07452




OPINANTE, BRITTANY                   OPLIGER, AMBER                        OPLOTNA, OLGA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OPOKU, ERNEST                        OPPELT, TAMMY                         OPPENHEIM, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OPPENHEIMER & CO. INC. (0571)        OPPENHEIMER, MADISON                  OPPERMAN, DENISE
ATTN COLIN SANDY OR PROXY MGR        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
85 BRD ST, 4TH FL
NEW YORK, NY 10004




OPPERMAN, LISA                       OPPLIGER, JAMIE                       OPPONG, RONNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OPRY, PAULLA                         OPRYSKO, CAITLIN                      OPSAHL, ADRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OPSOMER, KRISTIN                     OPSTAD, CHRISTOPHER                   OPTIMAL FUSION, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        7162 BEVERLY BLVD 580
                                                                           LOS ANGELES, CA 90036
OPTIMIZELY INC.       Case 22-11238-LSS      Doc
                                      OPTIMOVE  INC.2   Filed 11/30/22    Page 3705  of 5495 INC
                                                                               OPT-INTELLIGENCE
ADDRESS UNAVAILABLE AT TIME OF FILING 217 WEST 21ST ST., FLOOR 2               37 W 37TH ST. 5TH FLOOR
                                      NEW YORK, NY 10011                       NEW YORK, NY 10018




OPTIZMO TECHNOLOGIES, LLC               OPUS SEARCH, INC.                      OQUENDO, JESSE
401 CONGRESS AVENUE SUITE 1540          111 WEST WACKER DRIVE UNIT 5204        ADDRESS AVAILABLE UPON REQUEST
AUSTIN, TX 78701                        CHICAGO, IL 60601




OQUIST, BETH                            ORACLE AMERICA, INC                    ORACLE AMERICA, INC. (NETSUITE)
ADDRESS AVAILABLE UPON REQUEST          PO BOX 44471                           2955 CAMPUS DRIVE SUITE 100
                                        SAN FRANCISCO, CA 94144                SAN MATEO, CA 94403-2511




ORACLE AMERICA, INC. (NETSUITE)         ORACLE AMERICA, INC.                   ORACLE AMERICA, INC.
BANK OF AMERICA LOCKBOX SERVICES        2300 ORACLE WAY                        500 ORACLE PKWY
15612 COLLECTIONS CENTER DRIVE          AUSTIN, TX 78741                       REDWOOD SHORES, CA 94065
CHICAGO, IL 60693




ORAPELLO, DAHLIA                        ORASKOVICH, BROOKE                     ORATELLI, MICHAEL
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ORAVEC, DANIEL                          ORAVEC, MEGAN                          ORAWSKY, NICOLE
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ORBAN, GRACE                            ORBE, EMILY                            ORBE, JACQUELINE
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ORCHARD SUPPLY                          ORCHARD, AMORY                         ORCHARD, MAURA
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ORCHARD, MIKE                           ORCHARD, TARA                          ORCHERTON, JEN
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ORCK, SUSAN                             ORCUTT, LAURA                          ORCUTT, LUCIA
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ORD, RACHEL           Case 22-11238-LSS    Doc 2 JOEL
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ORDAZ, KARLA                            ORDE, CAROLYN                           ORDERFIND.COM
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ORDONEZ, ADRIENNE                       ORDONEZ, ANA                            ORDONEZ, JAMIE
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ORDOWER, KATHRYN                        ORDUNO, OSCAR                           ORDWAY, GABRIEL
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ORDWAY, STACY                           ORE, BRIDGET                            OREBAUGH, MICAH
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ORECCHIA, ROBERT                        OREGAN, MICHELLE                        OREGAN, ROISIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OREGO, MORGAN OREGO                     OREGON BUREAU OF LABOR AND              OREGON DEPARTMENT OF JUSTICE
ADDRESS AVAILABLE UPON REQUEST          INDUSTRIES                              FINANCIAL FRAUD
                                        800 NE OREGON ST                        CONSUMER PROTECTION SECTION
                                        SUTIE 1045                              1162 COURT ST NE
                                        PORTLAND, OR 97232                      SALEM, OR 97301-4096



OREGON DEPT OF REVENUE                  OREGON DIVISION OF FINANCIAL            OREGON LIQUOR CONTROL COMMISSION
955 CENTER ST NE                        REGULATION                              9079 SE MCLOUGHLIN BLVD
SALEM, OR 97301                         PO BOX 14480                            PORTLAND, OR 97222
                                        SALEM, OR 97309-0405




OREGON LIQUOR CONTROL COMMISSION        OREGON PRECISION INDUSTRIES, INC        OREGON WINE SERVICES & STORAGE -
9079 SE MCLOUGHLIN BLVD.                (PAKTECH)                               CLUB W
PORTLAND, OR 97222                      1680 IRVING RD                          ADDRESS UNAVAILABLE AT TIME OF FILING
                                        EUGENE, OR 97402




OREGON WINE SERVICES & STORAGE          OREILLY, BRIANNA                        OREILLY, BRITTANY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
OREILLY, CHRISTINA    Case 22-11238-LSS
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OREILLY, KATHY                          OREILLY, KATIE                         OREILLY, LAURA
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OREILLY, MEGHAN                         OREILLY, TIFFANY                       OREJEL, KEITH
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OREL, KAYLA                             ORELLA, MARY                           ORELLANA, DENISE
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ORELLANA, TANIA                         OREN, RACHEL                           ORENSTEIN, KAYLA
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ORENSTEIN, MAX                          ORESHKIN, NIKOLAI                      ORESJO, MEG
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ORFALI, MARIANNE                        ORFANEL, ARTURO                        ORFITELLI, DOMINIC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ORFORD, KENDRA                          ORGAN, MARGARET                        ORGAN, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ORGANIC BOTTLE DECORATING COMPANY       ORGANIC TRADE ASSOCIATION              ORGANIC, JP
LLC                                     444 N. CAPITOL STREET, NW 445A         ADDRESS AVAILABLE UPON REQUEST
(ZION PACKAGING)                        WASHINGTON, DC 20001
575 ALCOA CIRCLE, SUITE B
CORONA, CA 92880



ORGANIMI, INC.                          ORGANISTA, JENNY                       ORGANIZE IT
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         2079 25 MILE ROAD SHELBY TOWNSHIP
ORGEMAN, KEELY        Case 22-11238-LSS    Doc
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                                                                                ORGERON, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




ORGON, DAWN                             ORGOVAN, TINA                           ORI, LOU
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ORIADE, DEVINA                          ORIAKHI, KINGSLEY                       ORIANA HARGROVE ALDERMAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ORIANA RODRIGUEZ                        ORIDE, KELLI                            ORIE, GRACE
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ORIENTAL TRADING CO                     ORIENTAL, HERMANITA                     ORIENTE, JESSICA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ORIGIN GLOBAL DISTRIBUTION INC.         ORIGINAL ROADHOUSE GRILL                ORIHUELA, LIZETTE
ROUTE CANTONEL 65                       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
VETROZ 1963
SWITZERLAND




ORION GLOBAL MANAGED SERVICES LTD.      ORION LANDDEN                           ORIORDAN, MACKENZIE
20-22 WENLOCK ROAD                      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LONDON, UNITED KINGDOM, N1 7TA




ORIORDAN, SINEAD                        ORKIN                                   ORKIN, MATTHEW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




ORLAN, KAYLIE                           ORLANDINI, KELLY                        ORLANDO IBANEZ
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ORLANDO LOPEZ-ROMAN                     ORLANDO PEREZ                           ORLANDO, CAROLINE
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ORLANDO, CHERYL       Case 22-11238-LSS    Doc
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                                                                           ORLANDO, DOMINIQUE
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ORLANDO, GERALDINE                   ORLANDO, LAUREN                       ORLANDO, LYNNE
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ORLANDO, MARIA                       ORLANDO, NORA                         ORLANDO, VERONICA
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ORLANSKY, CHRISTINA                  ORLET, CHRISTIAN                      ORLEY, MARA
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ORLICH, JESSICA                      ORLOFF, RIKKI                         ORLOWSKA, AGA
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ORLOWSKI, LAUREN                     ORLOWSKI, SARAH                       ORMAN, REGAN
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ORMAN, STEPHANIE                     ORMAND, JESSICA                       ORME, CALLY
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ORME, SALLY                          ORMOND, TAMARA                        ORMONDE, NICOLE
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ORMSBEE, LAUREN                      ORMSBEE, MICHELLE                     ORMSBY, JANESSA
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ORMSBY, KEN                          ORN, CHRISTA                          ORN, ELAINE
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ORNDORFF, LAUREN      Case 22-11238-LSS    DocMADISON
                                     ORNDORFF,  2 Filed 11/30/22      Page 3710 of 5495
                                                                           ORNDUFF, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ORNELAS, ANDRES                      ORNELAS, ANNA                          ORNELAS, DELANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ORNELAS, ISABEL                      ORNELAS, LUIS                          ORNELAS, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ORNELAS, NATALIA                     ORNELAS, PERLA                         ORNELAS, TAYLOR
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ORNELAS, VINCENT                     ORNER, BRANDON                         ORNER, REILLY
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ORNOWSKI, RON                        ORO, KATIE                             ORO, LIANE
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ORONA, AMANDA                        ORONA, CRUZ                            ORONDE M BATCH
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OROPEZA, NATALIA                     OROPEZA, SARAH                         ORORKE, RACHEL
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OROSCO, MICHELE                      OROSS, DANIEL                          OROURKE, ASHLEY
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OROURKE, BRIGID                      OROURKE, CAITLIN                       OROURKE, DARA
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OROURKE, DEIRDRE      Case 22-11238-LSS    Doc
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                                                                           OROURKE, JANET
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OROURKE, JOHN                        OROURKE, JOSEFA                       OROURKE, KAITLIN
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OROURKE, KATHY                       OROURKE, KERRY                        OROURKE, LINDSEY
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OROURKE, LISA                        OROURKE, MARIA                        OROURKE, MARTHA
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OROURKE, MATTHEW                     OROURKE, MEAGHAN                      OROURKE, MEGAN
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OROURKE, SUSAN                       OROURKE, TESS                         OROURKE, TOM
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OROURKE, TRICIA                      OROURKE, TRICIA                       OROZCO, ANGELES
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OROZCO, DIANA                        OROZCO, DIANE                         OROZCO, ELIZABETH
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OROZCO, ELIZABETH                    OROZCO, MAURICIO                      OROZCO, REBECA
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OROZCO, SERGIO                       OROZCO, STEPHANIE                     OROZCO, XOCHITL
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OROZCO-HERNANDEZ, ANAICase 22-11238-LSS    Doc
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ORPHANIDES, CHRISTINA                ORPHANIDES, POPPY                     ORPINA, ANN
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ORR, ALEXANDRA                       ORR, ALLISON                          ORR, AMBER
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ORR, AMBER                           ORR, AMY                              ORR, AUDREY
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ORR, BECKY                           ORR, BETH                             ORR, BRITTANY
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ORR, CARSON                          ORR, CHARIS                           ORR, CHARLES
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ORR, CLAUDIA                         ORR, COURTNEY                         ORR, DEBBIE
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ORR, ELISABETH                       ORR, EMILY                            ORR, ERIN
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ORR, HAYLEY                          ORR, HOLLY                            ORR, JANET
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ORR, JANET                           ORR, JODIE                            ORR, JOHN
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ORR, KATEE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           ORR, KRISTEN
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ORR, LOGAN                           ORR, LORI                             ORR, LYDIA
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ORR, MAGGIE                          ORR, MATT                             ORR, MEG
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ORR, MELANIE                         ORR, PATRICIA                         ORR, RACHEL
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ORR, SABRINA                         ORR, SCARLET                          ORR, TAYLOR
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ORR, TERRI                           ORR, THERESA|                         ORRACA, CRYSTAL
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ORR-ANDREA, NATALIE                  ORRELL, DEBIE                         ORREN, RITA
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ORRICO, KELLY                        ORRIN SEARS                           ORSBON, TAYLOR RAY
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ORSBORNE, HALEY                      ORSI TRANSPORT, INC                   ORSI, SHANEL
ADDRESS AVAILABLE UPON REQUEST       3700 CHRISTY LANE                     ADDRESS AVAILABLE UPON REQUEST
                                     UKIAH, CA 95482




ORSI, THOMAS                         ORSINI, AMY                           ORSINI, CHIARA
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ORSINI, ELIZABETH     Case 22-11238-LSS      Doc 2 Filed 11/30/22
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ORSINI, KENNETHA                     ORSINI-TRAPASSO, LISA                 ORSINO, BRYAN
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ORSO, LAUREN                         ORSO, LISA                            ORSOLINO, YVELIS
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ORTA, LEAH                           ORTA, THERESA                         ORTALE, MARY KATHERINE
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ORTANEZ, MONICA                      ORTBERG, KAITLYN                      ORTEGA CH., KAREN
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ORTEGA, ALEXANDRA                    ORTEGA, ALYSA                         ORTEGA, AMIEE
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ORTEGA, ANA                          ORTEGA, ANDREA                        ORTEGA, BRIANA
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ORTEGA, ELINA                        ORTEGA, HEATHER                       ORTEGA, HIGINIO
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ORTEGA, JACQUELINE                   ORTEGA, JAMIE                         ORTEGA, JESSICA
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ORTEGA, JESSICA                      ORTEGA, JORGE                         ORTEGA, JORGE
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ORTEGA, KATHERINE     Case 22-11238-LSS
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                                                                           ORTEGA, 5495
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ORTEGA, NICHOLAS                     ORTEGA, NICK                          ORTEGA, PABLO
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ORTEGA, REBECCA                      ORTEGA, SYRINGA                       ORTEGA-NAPOLI, MICHAEL
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ORTEGO, ANNA                         ORTEGO, CLAUDIA                       ORTEGO, MEGAN
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ORTEGO, ROSEMARY                     ORTEGON, NANCY                        ORTELLI, STEPHANIE
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ORTENBERG, ROSE                      ORTH, LISE                            ORTIZ 2897, MARGOT
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ORTIZ GARCIA, LUIS                   ORTIZ, AARON                          ORTIZ, ALEX
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ORTIZ, AMANDA                        ORTIZ, ANA                            ORTIZ, ANGEL
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ORTIZ, ANNDREANA                     ORTIZ, CARLOS                         ORTIZ, CARMEN
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ORTIZ, CATHERINE                     ORTIZ, CHRISTINA                      ORTIZ, DAIANA
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ORTIZ, DIANE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ORTIZ, EDWIN                     Page 3716   of 5495
                                                                           ORTIZ, ELISABETH
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ORTIZ, ELOY                          ORTIZ, ELSIANA                         ORTIZ, ERIC
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ORTIZ, GERARDO                       ORTIZ, GLENDALEE                       ORTIZ, HILLARY
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ORTIZ, IRIS                          ORTIZ, ISMAEL                          ORTIZ, JACQUELINE
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ORTIZ, JADE                          ORTIZ, JAIME                           ORTIZ, JAMES
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ORTIZ, JEANETTAVICTORIA              ORTIZ, JEFF                            ORTIZ, JESSICA
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ORTIZ, JESSICA                       ORTIZ, JOANNE                          ORTIZ, JOEL
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ORTIZ, JOLENE                        ORTIZ, JORGE                           ORTIZ, JOSE
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ORTIZ, JOSE                          ORTIZ, JULIO                           ORTIZ, KAMILA
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ORTIZ, KAREN                         ORTIZ, L                               ORTIZ, LARRA
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ORTIZ, LEISHLA J.     Case 22-11238-LSS      Doc 2 Filed 11/30/22
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ORTIZ, MARIAH                        ORTIZ, MARIBEL                        ORTIZ, MATTIE
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ORTIZ, MICHAEL                       ORTIZ, NANCY                          ORTIZ, NICHOLAS
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ORTIZ, OSCAR                         ORTIZ, PASCUAL                        ORTIZ, PERLA
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ORTIZ, RACHEL                        ORTIZ, RAQUEL                         ORTIZ, REBECCA
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ORTIZ, REGINA                        ORTIZ, ROCIO                          ORTIZ, SARA
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ORTIZ, SHANEE,                       ORTIZ, SHANETTE                       ORTIZ, SHARON
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ORTIZ, SHARON                        ORTIZ, STEPHANIE                      ORTIZ, VICTORIA
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ORTIZ, YVONNE                        ORTIZ-MENA, MARISSA                   ORTLIP-SOMMERS, SARAH
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ORTMAN, JASON                        ORTMANN, DENISE                       ORTMANN, SIGRUN
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ORTNER, JOYCE         Case 22-11238-LSS    Doc
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                                                                           ORTOLANO, GINA
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ORTON, NICK                          ORTON, NICOLE                         ORTON, SARA
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ORTWEIN, GINA                        ORTZ, TARAH                           ORVIETO, LAURA
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ORVIS, NICOLE                        ORWICK, JOSH                          ORWIG, KAITLYN
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ORWIG, KATIE                         ORZANO, JUDY                          ORZECHOWSKI, AMY
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ORZEK, ELIZABETH                     OSAZEE, LESLIE                        OSBAHR, LAUREN
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OSBECK, SHANNON                      OSBORN, BROOKE                        OSBORN, CHRISTINA
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OSBORN, CYNTHIA                      OSBORN, GERALD S                      OSBORN, KAREN
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OSBORN, KELLY                        OSBORN, LISA                          OSBORN, LOGAN
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OSBORN, MICHELLE                     OSBORN, MIKE                          OSBORN, NAOMI
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OSBORN, PAULA         Case 22-11238-LSS    Doc
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                                                                           OSBORN, 5495
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OSBORN, VICKI                        OSBORNE BALTIMORE, ALISHA             OSBORNE, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSBORNE, ALEXANDRIA                  OSBORNE, ASHLEY                       OSBORNE, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSBORNE, BRIANNE                     OSBORNE, CASEY                        OSBORNE, CASSSANDRA
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OSBORNE, CATHERINE                   OSBORNE, ELIZA                        OSBORNE, EMILY
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OSBORNE, HANNAH                      OSBORNE, JAMES                        OSBORNE, JANICE
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OSBORNE, JANNINE                     OSBORNE, JANNINE                      OSBORNE, JAY
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OSBORNE, JED                         OSBORNE, JENNIFER                     OSBORNE, JESSIKA
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OSBORNE, KEVIN                       OSBORNE, KEVIN                        OSBORNE, KIM
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OSBORNE, KYRA                        OSBORNE, LAUREN                       OSBORNE, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OSBORNE, MARY         Case 22-11238-LSS    Doc
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                                                                             OSBORNE, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OSBORNE, PATRICIA                    OSBORNE, RENEE                          OSBORNE, SHARLA
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OSBORNE, ZOE                         OSBORNE-LEE, AZURE                      OSBOURNE, KARLENE
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OSBUN, IMRA                          OSBURN, AMANDA                          OSBURN, HALIE
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OSBURN, KARAH                        OSBURN, KATELYN                         OSBURN, NORMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OSCAR AGUILAR                        OSCAR NORIEGA                           OSCAR OROZCO
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OSCAR TRELLES                        OSCARS CERVETECA                        OSCHER, RICK
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OSCHMAN, ALEXANDRA                   OSEGHALE, STEPHANIE                     OSEGUEDA, ELISA
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OSEGUEDA, MARYCLAIRE                 OSEI OWUSU                              OSEI, MOUDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




OSENBURG, CHRISTINE                  OSEPCHUK, DEBORAH                       OSER, KRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
OSESKI, KRISTINA      Case 22-11238-LSS
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                                                                           OSETEK, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSGOOD, JENNIFER                     OSGOOD, LINDSAY                       OSHANA, ROBERT
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OSHAUGHNESSY, ALISON                 OSHAUGHNESSY, BRIDGET                 OSHAUGHNESSY, CHRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSHAUGHNESSY, KAITLIN                OSHAUGHNESSY, KATHLEEN                OSHEA, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSHEA, AYLA                          OSHEA, BRENN                          OSHEA, CELINE
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OSHEA, CHRISTINA                     OSHEA, MICHAEL                        OSHEA, TIMOTHY
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OSHELL, KATHLEEN                     OSHEROFF, SHANNON                     OSHINSKIE, JULIA
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OSHOKOYA, ERNEST                     OSHURAK, NICOLE                       OSIECKI, BRITTANY
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OSIER, CHERIE                        OSIER, MAUREEN                        OSIFCHIN, LAURA
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OSINA, KORI                          OSINBOYEJO, OYE                       OSINSKI, CATALINA
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OSINSKI, JODI         Case 22-11238-LSS    DocHANSTEIN
                                     OSKAR VON  2 Filed 11/30/22      Page 3722
                                                                           OSKIN, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSLAC, EMMA                          OSLAGER, CARA                         OSLAND, AMANDA
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OSLAND, CARRIE                       OSMAN, HANNAH                         OSMANI, ILIR
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OSMANOVIC, SANELA                    OSMENT, WILLIAM                       OSMOND, KARI
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OSNER-HACKETT, CHRIS                 OSO, LAURICE                          OSOBA, JEFF
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OSORIO, CHRISTINE                    OSORIO, JACQUELINE                    OSORIO, JULIAN
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OSORIO, LISA                         OSORIO, REBECA                        OSORIO, YENIFER
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OSOTOE, JENNA                        OSPINA, NATALI                        OSPINO, CARLOS
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OSPITALE, JENNIFER                   OSRIN, ELLIOT                         OSSAI, ONAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSSEBI, ISIS                         OSSMUS, MADISON                       OSSORIO, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OSSYRA, ELIZABETH     Case 22-11238-LSS
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                                                                           OSTBERG, BROOK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTBY, KATHLEEN                      OSTDIEK, JACOB                        OSTEEN, MALORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTEEN, MATTHEW                      OSTEN, ALEXANDRA                      OSTENDORF, CARROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTENFELD, ANNETTE                   OSTER BACH, REBECCA                   OSTER, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTERBAUER, BETH                     OSTERBERG, ERIKA                      OSTERBUR, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTERGAARD, JANE                     OSTERGARD, CRAIG                      OSTERGARD, DEANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTERGARD, THOMAS                    OSTERGRANT, HANNAH                    OSTERHAUS, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTERHOFF, ALYSSA                    OSTERHOLT, KELLY                      OSTERHOUT, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTERMAN, ROZZI                      OSTERRITTER, ERIC                     OSTIN, DONNA
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OSTING, MARY                         OSTLER, MICHELE                       OSTRANDER, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OSTRANDER, CAITLIN    Case 22-11238-LSS    Doc DIANA
                                     OSTRANDER, 2 Filed 11/30/22      Page 3724 of 5495
                                                                           OSTRANDER, DOUGLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OSTRANDER, SARAH                     OSTRANDER, STACIE                     OSTREM, HANNAH
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OSTROM, ERIC                         OSTROM, LAURA                         OSTROVSKY, ANNA
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OSTROW, PIPPY                        OSTROWSKI, GINGER                     OSTROWSKI, HAYLEY
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OSTROWSKI, MADELINE                  OSTROWSKI, MEAGAN                     OSTROWSKI, RACHAEL
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OSTROWSKI, STEPHANIE                 OSTROWSKI, STEPHEN                    OSTRUM, SARAH
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OSUCHA, ELIZABETH                    OSULLIVAN, APRIL                      OSULLIVAN, DARCIANN
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OSULLIVAN, ELIZABETH                 OSULLIVAN, GAIL                       OSULLIVAN, JESSICA
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OSULLIVAN, KATHLEEN                  OSULLIVAN, KELLY                      OSULLIVAN, KIERAN
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OSULLIVAN, MEGAN                     OSULLIVAN, PATRICIA                   OSULLIVAN, SEAN
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OSUMI, TAYLOR         Case 22-11238-LSS    DocDESY
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OSVALD, JAMES                        OSVALDO LUZUNARIS                     OSVALDO MARICHAL
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OSWALD ANTONIUS MARIUS KESSELS       OSWALD, ALESSANDRA                    OSWALD, BRITTANY
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OSWALD, CRYSTAL                      OSWALD, DEBRA                         OSWALD, LAURA
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OSWALD, LEAH                         OSWALD, LOUIS                         OSWALD, MICHELE
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OSWALD, NICOLE                       OSWALD, ROBIN                         OSWALD, SUMER
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OSWALT, CHERYL                       OSWALT, LORAN                         OSWALT, SARA
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OSZTREICHER, MAGALI                  OTANI, AUDRA                          OTERO, DANIELLE
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OTERO, DIANA                         OTERO, ELIZABETH                      OTERO, JENNIFER
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OTERO, SANDRA                        OTERO, SASHA                          OTERO, TYLER
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OTEY, CERISSA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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OTHS, LISA                              OTIENO, EMMANUEL                      OTIM, MICHAEL O OKOT AND JOSEPHINE
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OTIS, MEGAN                             OTIS, MICHELLE                        OTIS, SERENA
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OTJEN, JOHN                             OTLOE, VICTORIA                       OTOOL, MELODY
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OTOOL, MELODY                           OTOOLE, BRIAN                         OTOOLE, DANIELLE
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OTOOLE, DEIRDRE                         OTOOLE, EMMA                          OTOOLE, JESSICA
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OTOOLE, JESSICA                         OTOOLE, LISA                          OTOOLE, TERENCE
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OTRIMBLE, GRACE                         OTSU, ANNA                            OTSUKA, LAUREN
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OTSUKI, JENN                            OTT, ELIZABETH                        OTT, FRED
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OTT, GERALD           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     OTT, HEATHER                     Page 3727   of 5495
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OTT, KAYLA                           OTT, LEANNE                           OTT, MANDY
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OTT, MELISSA                         OTT, MICHAEL                          OTT, SUSAN
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OTTATI, MICHELA                      OTTATI, WILLIAM                       OTTE, ALLI
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OTTE, BELINDA                        OTTE, BRANDAN                         OTTE, DAVID
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OTTE, EMILY                          OTTE, JUSTIN                          OTTE, LAUREN
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OTTE, SARAH                          OTTENS, SHANNON                       OTTER, CEZANNE
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OTTERBEIN, JOHN                      OTTERSON, CHARIZMA                    OTTIS, WILLIE
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OTTMAN, MEREDITH                     OTTO, ANISSA                          OTTO, BOBBY
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OTTO, COURTNEY                       OTTO, LINDSAY                         OTTO, MELANIE
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OTTO, MICHELLE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           OTTO, PATRICIA
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OTTO, SARAH                          OTTO, THOMAS                          OTTO, WARNER
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OTTUM, KATE                          OTUONYE, KATRINA                      OU, NENGHAO
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OU, SOPHEAR                          OUANO, NICOLAS                        OUELLET, LAURA
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OUELLET, NATHALIE                    OUELLETTE, AMANDA                     OUELLETTE, ELIZABETH
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OUELLETTE, HANNA                     OUELLETTE, JEFFREY                    OUELLETTE, KAYLA
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OUELLETTE, MARGARET                  OUELLETTE, RENEE                      OUELLETTE, SARAH
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OUEZZIN, BEATRICE                    OUGHELTREE, FARRELL                   OUGHTON, ALLYSON
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OUILLETTE, HOLLY                     OUIMETTE, EMMA                        OUIMETTE, KATHY
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OUK, MICHAEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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OUNAN, ALANA                         OURFALIAN, ERICA                      OURSLER, CAITLIN
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OUSLEY, EMALEE                       OUSLEY, GRETCHEN                      OUTBRAIN.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        39 WEST 13TH STREET 3RD FLOOR
                                                                           NEW YORK, NY 10011




OUTCALT, KELLY                       OUTFRONT MEDIA                        OUTFRONT
ADDRESS AVAILABLE UPON REQUEST       P.O. BOX 33074                        3535 WALNUT ST
                                     NEWARK, NJ 07188                      DENVER, CO 80205




OUTLAND, REBECCA                     OUTLAW, ALYCE                         OUTLAW, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




OUTLAW, ELLEN                        OUTLAW, LEONET                        OUTLAW, TIFFANY
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OUTLY, DOREEN                        OUTRAM, KELLY                         OUTTEN, KATE
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OUTWATER, ALISSA                     OUTZ, NICOLAS                         OUZTS, TORI
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OVALLES, ANNELL                      OVANDO, MELISSA                       OVANESSOFF, VARANT
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OVCHINNIKOVA, MARIA                  OVECHKIN, ALEX                        OVEISSI, CYRUS
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OVERACKER, BRITTANY   Case 22-11238-LSS    Doc
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OVERBEE, PHILIP                      OVERBEY, ANNE                            OVERBEY, RACHAEL
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OVERBOE, STEPHANIE                   OVERBY, HOLLY                            OVERBY, LAURA
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OVERBY, MIKAEL                       OVERCASH, CARRIE                         OVEREND, CARRIE
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OVERFIELD, ALLIE                     OVERFIELD, DAWN                          OVERGARD, MARLI
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OVERHISER, RYAN                      OVERHOLT, ASHLEY                         OVERHOLT, SASHA
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OVERLAND, ELIZABETH                  OVERLOCK, SLOAN                          OVERMAN, ALLISON
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OVERMAN, CHRIS                       OVERMAN, CHRISTOPHER                     OVERMILLER, ALEX
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OVERMYER, BENNETT                    OVERMYER, CASSIE                         OVERMYER, KELLY
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OVERS, KATELYN                       OVERSTOCK.COM                            OVERSTREET, GARY AND LORA
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OVERSTREET, KELLY     Case 22-11238-LSS    Doc 2KIPPER
                                     OVERSTREET,     Filed 11/30/22   Page 3731 of 5495
                                                                           OVERSTREET, WILLIAM
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OVERTON, BRITTANY                    OVERTON, JULIE ANNE                    OVERTON, MARIANNE
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OVERTON, SARAH                       OVIEDO, DEBBIE                         OVIEDO, GABRIELLA
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OVIEDO, JOSEFINA                     OVIEDO-PAULAUSKI, RAMIRO               OVNICEK, CHANTELLE
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OWANESIAN, LINDSAY                   OWCZARCZAK, DAN                        OWCZARSKI, HANNAH
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OWEN LUCAS ADOLPHSEN                 OWEN, ANNA LISA                        OWEN, ASHLEY
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OWEN, CHRISTY                        OWEN, CHURCH                           OWEN, COURTNEY
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OWEN, DAVIE                          OWEN, DAWSON                           OWEN, DELANEY
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OWEN, DONALD                         OWEN, ERICA                            OWEN, HAYLEY
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OWEN, HEATHER                        OWEN, JENNIFER                         OWEN, JILL
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OWEN, JORY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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OWEN, KATIE                          OWEN, KIERSTEN                        OWEN, LAUREN
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OWEN, LORRIE                         OWEN, MAGGIE                          OWEN, MAKENA
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OWEN, MARIA                          OWEN, MARTI                           OWEN, MICHELLE
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OWEN, NATASHA                        OWEN, NICOLE                          OWEN, PAT
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OWEN, PAULINE                        OWEN, RANDY                           OWEN, REBECCA
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OWEN, REESA                          OWEN, RYE                             OWEN, SUMMER
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OWENS, ABRA                          OWENS, ALISON                         OWENS, ALIZA
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OWENS, AMY                           OWENS, ANGELA                         OWENS, ANNE
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OWENS, ASHES                         OWENS, BRIAN                          OWENS, BRIDGET
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OWENS, BRITTANY       Case 22-11238-LSS
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OWENS, CHAD                          OWENS, CHELSEA                        OWENS, CHERYL
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OWENS, CHRISTINE                     OWENS, CONNIE                         OWENS, CORY
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OWENS, DAVID                         OWENS, DAWN                           OWENS, DENISE
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OWENS, DONALD                        OWENS, DUSTIN                         OWENS, ELIZABETH
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OWENS, ELIZABETH                     OWENS, EMILY                          OWENS, EMMA
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OWENS, FELICIA                       OWENS, GEORGE                         OWENS, JACKSON
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OWENS, JACQUE                        OWENS, JADE                           OWENS, JAMES
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OWENS, JEFF                          OWENS, JESSE                          OWENS, JON
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OWENS, JOY                           OWENS, JUDITH                         OWENS, KAREN
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OWENS, KASSANDRA      Case 22-11238-LSS
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OWENS, KEELI                         OWENS, KENDRA                         OWENS, KEVIN
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OWENS, KRISTINA                      OWENS, LATASHA                        OWENS, MAGGIE
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OWENS, MAURA                         OWENS, MEGAN                          OWENS, MEGAN
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OWENS, MELISSA                       OWENS, MICHAEL                        OWENS, MIKE
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OWENS, RACHEL                        OWENS, RACHEL                         OWENS, SHARICE
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OWENS, SHIRLEY                       OWENS, SIERRA                         OWENS, SIMONE
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OWENS, SOMMER                        OWENS, SONYA                          OWENS, STEPHANIE
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OWENS, SUSAN                         OWENS, TAYLOR                         OWENS, TIFFANY
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OWENS, WILLIAM        Case 22-11238-LSS
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OWENSBY, ABBY                        OWENS-GARRETT, SUNNYE                   OWENSMITH, GAIL
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OWENS-POCHINKA, GRACE                OWEN-TAMIMI, LINDA                      OWES, MELANIE
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OWINGS, JAMES                        OWINGS, MARY ANN                        OWIYE, CHRISTI
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OWNBEY, CHRISTY                      OWNBY, CALEB                            OWNBY, GRETA
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OWNBY, KATELYNN                      OWNBY, MEGAN                            OWNBY, WILL
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OWNES, MATTHEW                       OWSLEY, RACHEL                          OWUOR, CONSTANCE
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OWUSU, JOYCE                         OWUSU, PAUL                             OWUSU-AKYAW, NOELLE
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OWUSU-ANTWI, LAURA                   OX & SON                                OXENDINE, LAURA LYNN
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OXENDINE, ROBIN                      OXENFORD, JAMIE                         OXENFORD, LUCAS
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OXENREIDER, AMANDA    Case 22-11238-LSS
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                                                                             OXFORD  5495
ADDRESS AVAILABLE UPON REQUEST       6430 SUNSET BLVD SUITE 400              6725 W SUNSET BLVD, SUITE 350
                                     LOS ANGELES, CA 90028                   LOS ANGELES, CA 90028




OXFORD, BENJAMIN                     OXFORD, DANIELLE                        OXLER, PEGGY
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OXLEY, ANGELA M                      OXLEY, BRITTANY                         OXLEY, NATHAN
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OXLEY, TERA                          OXLEY-BARNES, CLAIRE                    OXNAM, ERICA
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OXNER, CATHERINE                     OYANEDEL, BEATRIZ                       OYANG, CORY
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OYER, GINGER                         OYLER, BRITTON                          OYLER, MEG
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OYOSHI, MICHIKO                      OYSTER                                  OZ, IREM
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OZAETA, MONICA                       OZAMIZ, FRAN                            OZANTURK, AYSE
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OZAROWSKI, ALAN                      OZBURN, ASHLEY                          OZDOBA, ANA
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OZDONSKI, PAIGE                      OZDZYNSKI, PIOTR                        OZEN, EMRE
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OZENBAUGH, HILARY     Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     OZER, LILY                          Page 3737  of 5495
                                                                              OZER, SARA
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OZHERELYEVA, ANNA                       OZIEBLO, AGNIESZKA                    OZIEMKOWSKI, MARY
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OZKAN, ALICIA                           OZKAN, NICHOLAS                       OZLEM ELGUN TILLMAN
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OZMEN, EDA                              OZOLNIEKS, ANDY                       OZSVATH, CHRISTOPHER
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OZUMO                                   OZUNA, EDUARDO                        OZUNA, GISELLE
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OZUNA, JUAN                             OZZELLO, TERESA                       P JONES, EVA
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P LACAVA, JOSEPH                        P SMITH, BENJAMIN                     P, AIGE
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P, ALLEY                                P, CORBETT                            P, E
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P, JACKIE                               P, KAREN                              P, LIZA
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P, MIRELLA                              P, SCOTT                              P., ELY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
P., VISHNU            Case 22-11238-LSS      Doc 2 Filed 11/30/22 Page 3738
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                                                                           CHARLESTON, WV 25314




PA DEPT OF REVENUE                   PA SCDU                                 PA. OFFICE OF ATTORNEY GENERAL
1846 BROOKWOOD ST                    ADDRESS UNAVAILABLE AT TIME OF FILING   BUREAU OF CONSUMER PROTECTION
HARRISBURG, PA 17104                                                         STRAWBERRY SQUARE
                                                                             16TH FLOOR
                                                                             HARRISBURG, PA 17120



PAAKKONEN, CHANELLE                  PAAP, ELAYNA                            PAAS, MARLONE
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PAASCH, MALIA                        PABELLON, MEAGHAN                       PABLANO, JEFF
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PABLAY, RITU                         PABLO ALONSO ROBLES                     PABON, ALANA
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PABON, BRENDA                        PABON, CARMEN                           PABON, LORENA
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PABON, MARGARET                      PABST, CAITLIN                          PABST, CAROLINE
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PAC, JONATHAN                        PACANA, JELO                            PACCASASSI, RET
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PACE, AMY                            PACE, ANTHONY                           PACE, CALVIN
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PACE, DANIELLE                       PACE, ELISA                             PACE, HEATHER
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PACE, HEATHER         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PACE, JENNIFER                   Page 3739   of 5495
                                                                           PACE, JOSH
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PACE, KARA                           PACE, NATE                            PACE, SALINA
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PACE, SHANNON                        PACE, TOBIE                           PACELLI, DANA
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PACELLI, DONNA                       PACENZA, SUSAN                        PACETTI, SARAH
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PACHA, ASHLEY                        PACHA, KELLI                          PACHAK, JESSICA
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PACHALL, RUBY                        PACHECO JESSICA, DAVID                PACHECO, ANJELIQUE
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PACHECO, BERNICE                     PACHECO, CARMEN                       PACHECO, CLARISSA
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PACHECO, DAVID                       PACHECO, DAVIDA                       PACHECO, DIANA
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PACHECO, ELKA                        PACHECO, FRANCINE                     PACHECO, GUMARO
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PACHECO, HENRY                       PACHECO, JACLYN                       PACHECO, JENNI
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PACHECO, KELLY        Case 22-11238-LSS    Doc
                                     PACHECO,    2 Filed 11/30/22
                                              KRISTINA                     Page 3740 of 5495
                                                                                PACHECO, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




PACHECO, LUISA                       PACHECO, MAYRA                              PACHECO, MELODY
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PACHECO, MONICA                      PACHECO, REBEKAH                            PACHECO, STEPHANY
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PACHECO, TANIA                       PACHECO, XIMENA                             PACHECO-WILLIAMS, SABDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




PACHMAN, KRYSTA                      PACHOLICK, STACY                            PACHOLSKI, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




PACHOLSKI, JOHN                      PACHOWICZ, SUSAN                            PACHTER, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




PACHUSKI, JESSICA                    PACIELLO, JESSICA                           PACIFIC ALARM SYSTEMS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              4444 SEPULVEDA BLVD.
                                                                                 CULVER CITY, CA 90230




PACIFIC COAST TRANSPORTATION, INC    PACIFIC COAST TRANSPORTATION, INC           PACIFIC CONTINENTAL INSURANCE CO
P.O. BOX 4322                        PO BOX 1799                                 ADDRESS UNAVAILABLE AT TIME OF FILING
SAN LUIS OBISPO, CA 93403            ATASCADERO, CA 93423




PACIFIC CONTINENTAL INVESTMENT       PACIFIC MERCANTILE BANK                     PACIFIC MERCANTILE BANK
COMPANY LLC                          450 NEWPORT CENTER DRIVE, SUITE 250         450 NEWPORT CENTER DRIVE, SUITE 250
3115 OCEAN FRONT WALK SUITE 301      COSTA MESA, CA 90066                        NEWPORT BEACH, CA 92660
MARINA DEL REY, CA 90292




PACIFIC MERCANTILE BANK              PACIFIC MERCANTILE BANK                     PACIFIC SALES
949 S COAST DR, 1ST FL               ATTN GEORGE BURNETT                         ADDRESS UNAVAILABLE AT TIME OF FILING
COSTA MESA, CA 92626                 949 S COAST DR, THIRD FL
                                     COSTA MESA, CA 92626
                       Case 22-11238-LSS
PACIFIC WINE DISTRIBUTORS                    Doc
                                      PACIFICO,    2 Filed 11/30/22
                                                KELLY                  Page 3741   of MEREDITH
                                                                            PACIFICO, 5495
15751 TAPIA STREET                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
IRWINDALE, CA 91706




PACIFIQUE NSENGIYUMVA                 PACINELLO, NICOLE                      PACINI, PAULA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PACIO, RACHEL                         PACIOTTI, ASHLEY                       PACIOUS, JOSH
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PACITTI, MARA                         PACK, DAVID                            PACK, JADEN
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PACK, JOHN                            PACK, KENDRA                           PACK, LANCE
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PACK, LAURIE                          PACK, MELISSA                          PACK, SHEA
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PACK, SHELBY                          PACKARD, DESIREE                       PACKARD, LAUREN
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PACKARD, SAMANTHA                     PACKER, DAVID                          PACKER, EDNA
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PACKER, JIM                           PACKER, JOANNE                         PACKER, KAITLYN
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PACKETT, KIM                          PACKETT, PEGGY                         PACKHEM, JOSEPH
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PACKLER, SYLVIA       Case 22-11238-LSS    Doc
                                     PACKLEY,     2 Filed 11/30/22
                                              ELIJAH                    Page 3742 of BANCORP
                                                                             PACWEST 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          555 S MANGUM ST STE 1000
                                                                             DURHAM, NC 27701




PACYNA, KATHLEEN                     PACZKOWSKI, JOANNE                      PACZKOWSKI, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PACZOLT, KRISTINE                    PADAK, SANDY                            PADAMADAN, JOY
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PADDEN, SEAN                         PADDLENET                               PADDOCK, CHRISTINE
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PADDOCK, DAVID                       PADDOCK, JACQUELINE                     PADDOCK, LAURA
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PADDY, HEATHER                       PADDY, LYNN                             PADELFORD, KATY
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PADEN, BECKY                         PADEN, CATHERINE                        PADGET, NICOLE
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PADGETT (SOOK), VICTORIA RAE         PADGETT, ALEXIS                         PADGETT, HALEY
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PADGETT, JACOB                       PADGETT, JENNY                          PADGETT, SAMANTHA
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PADGETT, SANDRA                      PADGETT, SARAH                          PADGHAM, MELISSA
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PADHI, TANAY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PADIA, SKYLAR                    Page 3743  ofANGIE
                                                                           PADILHA, 5495
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PADILLA DEY, JENNIFER                PADILLA, ALEXIS                       PADILLA, AMPARO
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PADILLA, ANGELINA                    PADILLA, ANITA                        PADILLA, ASHLEY
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PADILLA, ASHLEY                      PADILLA, CELESTE                      PADILLA, CLARIBEL
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PADILLA, CRISTINA                    PADILLA, FRANCES                      PADILLA, HANNAH
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PADILLA, JENNA                       PADILLA, JENNA                        PADILLA, JESSICA
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PADILLA, JESSICA                     PADILLA, JOANNA                       PADILLA, LUIS
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PADILLA, MARIA                       PADILLA, MICHAEL                      PADILLA, NANCY
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PADILLA, NICOLE                      PADILLA, PEDRO                        PADILLA, SARINA
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PADILLA, SIMON                       PADILLA, TAMARA                       PADILLA, TAYLER
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PADILLA, VALENTINA    Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PADIN, ERICA                     Page 3744  ofLAURA
                                                                           PADLEY,  5495
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PADMALA, ANIRUDH                     PADMANI, BHAVIK                       PADOL, EDWARD
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PADOVANO, ANGIE                      PADOVE, SARAH                         PADRAZO, CHRISTINA
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PADRNOS, KATE                        PADRO, JOSEPH                         PADRON, CYNTHIA
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PADRON, MICHAEL                      PADRONE, ROBYN                        PADUA, ANDREA
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PADUAN, ALICIA                       PADUCK, TED901-                       PADULA, KIM
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PADULA, RACHEL                       PADULA, STEPHANIE                     PAE, DAVID
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PAE, SONG                            PAEK, KATE                            PAESE, KIMBERLY
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PAETH, CHRISTINE                     PAETZELL, RICKY                       PAEZ, ANGELICA
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PAEZ, KIMBERLY                       PAEZ, MARTHA                          PAFF, BRITTANY
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PAFFEL, CHELSEA       Case 22-11238-LSS    Doc
                                     PAFFORD, KIM2   Filed 11/30/22   Page 3745 of 5495
                                                                           PAFFORD, MICHAELA
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PAFUMI, CHARYL                       PAGAC, JERROD                          PAGAC, TAYLOR
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PAGADUAN, DEANNA                     PAGAN, ANGELICA                        PAGAN, ARIANNA
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PAGAN, CHASTITY                      PAGAN, CHRISTINE                       PAGAN, CYNTHIA
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PAGAN, JENNIFER                      PAGAN, JESSICA                         PAGAN, KARLA
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PAGAN, MARIANGELA                    PAGAN, MARIO                           PAGAN, MELITZA
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PAGAN, MIGDALIA                      PAGAN, NATALIE                         PAGAN, ROXANA
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PAGAN, RUTH Z                        PAGAN, SANDRA                          PAGAN, SHARON
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PAGAN, SHELBY                        PAGANO, ADRIENNE                       PAGANO, ALEXA
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PAGANO, ANGELO                       PAGANO, CYNTHIA                        PAGANO, DAWN
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PAGANO, FLORENCE      Case 22-11238-LSS    Doc
                                     PAGANO,     2 Filed 11/30/22
                                             JENNIFER                 Page 3746 ofJOYCE
                                                                           PAGANO, 5495
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PAGANO, LIZ                          PAGANO, MARY EMILY                    PAGANO, MICHAEL
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PAGANO, NICHOLAS                     PAGANO, SUSAN                         PAGANUSSI, CLAIRE
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PAGARIGAN, ALLEN                     PAGATS, JANELL                        PAGDANGANAN, MARK
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PAGE RIVERA, NICOLE                  PAGE, ALEXANDREA                      PAGE, ANNA
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PAGE, CORY                           PAGE, DINO                            PAGE, DORINDA R.
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PAGE, ELIZABETH                      PAGE, ERIKA                           PAGE, GREGG
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PAGE, GRETA                          PAGE, JULIA                           PAGE, KAMERON
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PAGE, KAREMA                         PAGE, KATHRYN                         PAGE, KATIE
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PAGE, LILLE                          PAGE, LILLE                           PAGE, LOTTIE
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PAGE, MAC             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PAGE, MADELINE                   Page 3747  of 5495
                                                                           PAGE, MEGHAN
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PAGE, MICHAEL                        PAGE, MICHAELA                        PAGE, NICK
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PAGE, NICOLE                         PAGE, ROBERT                          PAGE, ROSEANN
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PAGE, SHANNON                        PAGE, SHEVON                          PAGE, STEPHANIE
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PAGE, STEVEN                         PAGE, TASHA                           PAGE, TAYLOR
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PAGE, TED                            PAGE, TINA                            PAGE, TYLER
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PAGEL, ALLISON                       PAGEL, CARRIE                         PAGEL, MACAILA
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PAGEL, MARISA                        PAGEL, NICOLE                         PAGEL, RYAN
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PAGEL, SAMANTHA                      PAGENSTECHER, LAURA                   PAGER DUTY
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PAGET, DEBRA                         PAGET, JENNIFER                       PAGE-THURMOND, DAWN
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PAGGEN, GENNA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PAGH, GERMAINE                   Page 3748 of 5495KRISTEN & ALVIN
                                                                           PAGKALINAWAN,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PAGLIA, MADISON                      PAGLIA, NANCY                          PAGLIARA, ALISON
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PAGLIARO, ANGELA                     PAGLIARO, CATHERINE                    PAGLIARO, MELISSA
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PAGLIEI, NICHOLAS                    PAGLIERANI, ALISHA                     PAGLINCO, KELSEY
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PAGLIONICO, LAUREN                   PAGLIUCA, REBECCA                      PAGNOZZI, TRACY
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PAGOIS, RYAN                         PAGONE, AINSLEY                        PAGONIS, TONYA
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PAGOS, STACEY                        PAGRABS, EMILEY                        PAGUYO, ANA
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PAHALAD, MORNA                       PAHIRA, ANGELA                         PAHL, ALAN
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PAHL, CHRISTINE                      PAHL, DALE                             PAHLAU, RANDI
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PAHLS, ERIC & SHANNON                PAHMAN, SELENA                         PAHZ, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PAI RAIKAR, SIDDHESH  Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PAI, ADITI                            Page 3749   of 5495
                                                                                PAI, ANIL
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PAI, JASMINE                            PAI, JUNE                               PAI, SAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAICHE MARINA DEL                       PAICHE                                  PAICOM PARTNERS LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




PAIGE GLENNON                           PAIGE HUNT                              PAIGE JAMES GROUP LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAIGE KEVYN ANDERSON &                  PAIGE MOHAN                             PAIGE PETERSON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          13703 RECUERDO DR
                                                                                DEL MAR, CA 92014




PAIGE TYSON                             PAIGE, ALESA                            PAIGE, ALLISON
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PAIGE, BESSIE                           PAIGE, GOMEZ                            PAIGE, KRIS
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PAIGE, LAURA                            PAIGE, MICHELLE                         PAIGE, NAKEISHA
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PAIKIN, MARK                            PAINCHAUD, BONNIE                       PAINCHAUD, NATALIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAINE, CATE                             PAINE, ELIZABETH                        PAINE, INGRID
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PAINE, JOSH           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PAINE, LANCE                     Page 3750   of 5495
                                                                           PAINE, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAINE, REBECCA                       PAINE, TUCKER                         PAINI, SUSAN
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PAINTER, AMANDA                      PAINTER, BRYCE                        PAINTER, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAINTER, REBECCA                     PAINTER, TIFFANY                      PAINTING, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAINTNER, MICHELLE                   PAIS, LOREEN                          PAISLEY, DANIELLE
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PAISLEY, SARAH                       PAISLEY, SHANNON                      PAISO, BLAIRE
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PAIVA, DANIELLE                      PAIVA, EMILLY                         PAIVA, LENNY
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PAIZ, EDITH                          PAIZ, NICOLE                          PAJAK, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAJAK, JULIE                         PAJARILLO, LEO                        PAJENSKI, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAJOLLARI, MEGAN                     PAJUELO, MIRTHA                       PAK, AGNES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PAK, ANDREW           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PAK, BIANCA                      Page 3751   of 5495
                                                                           PAK, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAK, THOMAS                          PAKALNIS, STEPHANIE                   PAKER, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAKHNYUK, INNA                       PAKRON, TIMOTHY                       PAKSOURCE, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8460 ELDER CREEK ROAD
                                                                           SACRAMENTO, CA 95828




PAKULA, RICHARD                      PAKZADAN, AHVA                        PAL AIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




PAL, ANJONA                          PAL, SANDHYA                          PALACE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALACE, GERARD                       PALACIO, JACQUELINE                   PALACIO, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALACIO, JESSICA                     PALACIOS, ALI                         PALACIOS, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALACIOS, CHRISTINE                  PALACIOS, GRACE                       PALACIOS, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALACIOS, TERESA                     PALACIOS, TIFFANY                     PALACIOZ, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALACOROLLA, KATELYN                 PALACZ, KRZYSZTOF                     PALADIN MARKETING RESOURCES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        10151 DEERWOOD PARK BLVD 200-400
                                                                           JACKSONVILLE, FL 32256
PALADINO, DIANA       Case 22-11238-LSS     Doc
                                     PALADINO,   2 Filed 11/30/22
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PALAFOX, CESAR                       PALAFOX, ELIZABETH                    PALAGANO, KATHERINE
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PALAHACH, CAROLINA                   PALAHUNIC, DONNA                      PALAK, OLIVIA
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PALAN, SAMANTHA                      PALANCE, NATASHA                      PALANDECH, VICTORIA
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PALANGI, KRISTINA                    PALANIAPPAN, SINDHU                   PALANZI, NICOLE
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PALAPARTHY, RAMESH                   PALASCHAK, DARIA                      PALASCIANO, AMANDA
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PALASE, TERESA                       PALASEK, MICHELLE                     PALATAS, BRITTANY
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PALATUCCI, DEANNA                    PALATUCCI, MERISSA                    PALATUCCI, MIESHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALAZZO, KELLY                       PALAZZOLO, ANNA                       PALCZYNSKI, ALEXA
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PALENCSAR, KAITLIN                   PALERMO, ANTHONY                      PALERMO, CHRISTINE
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PALERMO, DEVON        Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PALESTRA, HEATHER                       PALETHORPE, KELLY                     PALETTE MEDIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        245 EAST 93RD STREET SUITE 21C
                                                                              NEW YORK, NY 10128




PALEY, TARA                             PALFREY, LAUREN                       PALHANO DE JESUS, LUIZ FELIPE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALIHOUSE                               PALILIONIS, SARAH                     PALINSKI, EMMA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALIOTTA, CINDI                         PALISLAMOVIC, EMINA                   PALISOC, RAYMUNDO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALIUS, DANA                            PALIWAL, SAEE                         PALKER, JASMINE
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PALKO, AMY                              PALKO, REBECCA                        PALKOWETZ, SABINE
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PALKOWITSCH, JEANNA                     PALLACK, SOPHIE                       PALLADINO, CAROLYN
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PALLADINO, HEATHER                      PALLADINO, LAURA                      PALLADINO, MELISSA
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PALLADINO, SAMANTHA                     PALLADINO, TOM                        PALLADINO-KING, BILLY
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PALLAN, ALISSA        Case 22-11238-LSS
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PALLAZOLA, NADINE                    PALLER, LISA                          PALLER, ROSS
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PALLESCHI, CRAIG                     PALLESCHI, JULIE                      PALLEY, AMANDA
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PALLEY, BECKY                        PALLINI, DEBRA                        PALLITTO, KATHLEEN
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PALLO, ALYSSA                        PALLOCH, ARIKA                        PALM BAY INTERNATIONAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        48 HARBOR PARK DRIVE N
                                                                           PORT WASHINGTON, NY 11050




PALM, ALMARIET                       PALM, BRIAN                           PALM, JADA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALM, NOELLE                         PALMA, GLORIA                         PALMA, JOANA
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PALMA, MELISSA                       PALMA, SAMANTHA                       PALMA, SANDRA
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PALMA, STEVEN                        PALMA, TRACY                          PALMARES, RIZZA
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PALMATEER, STEVEN                    PALMER                                PALMER, ALEXANDRA
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PALMER, ALEXUS        Case 22-11238-LSS
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PALMER, AMANDA                       PALMER, ANDREW                        PALMER, ANNA
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PALMER, ANNA                         PALMER, ANNE                          PALMER, BOB
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PALMER, BRETT-ASHLEY                 PALMER, BRITTANY                      PALMER, CASEY
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PALMER, CASSIE                       PALMER, CHRIS                         PALMER, CHRISTINA
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PALMER, CHRISTOPHER                  PALMER, CLAUDIA                       PALMER, DARCIE
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PALMER, DEONTA                       PALMER, DIANE                         PALMER, DIANE
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PALMER, ERIN                         PALMER, GLEN                          PALMER, HAZEN
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PALMER, HILLARY                      PALMER, IAEISHA                       PALMER, J SAMUEL
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PALMER, JACKSON                      PALMER, JENNIFER                      PALMER, JENNY
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PALMER, JESSICA       Case 22-11238-LSS
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PALMER, JOSIAH                       PALMER, K                             PALMER, KATHERINE
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PALMER, KATHLEEN                     PALMER, KAYLA                         PALMER, KELSEY
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PALMER, KRISTIN                      PALMER, KYLEE                         PALMER, LAURA
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PALMER, LEAH                         PALMER, LESLIE                        PALMER, LINDELL
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PALMER, LINDSEY                      PALMER, LIZ                           PALMER, MARAINE
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PALMER, MAX                          PALMER, MEGAN                         PALMER, MELISSA
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PALMER, MICAH                        PALMER, MICHAEL                       PALMER, NICHOLAS
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PALMER, PAIGE                        PALMER, PAMELA                        PALMER, PAT
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PALMER, PATTI                        PALMER, PAYTON                        PALMER, RACHAEL
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PALMER, RANCE         Case 22-11238-LSS
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PALMER, RHONDA                       PALMER, RICHARD                       PALMER, ROBERT
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PALMER, SARAH                        PALMER, SARAH                         PALMER, SARAH
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PALMER, SEAN                         PALMER, STEPHANIE                     PALMER, SUSAN
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PALMER, SUSAN                        PALMER, SYTINENIA                     PALMER, TARA
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PALMER, TERESINA                     PALMER, TIMOTHY                       PALMER, TRACY
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PALMER, VANESSA                      PALMER, VICTORIA                      PALMER, WILLIAM
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PALMERE, LAUREN                      PALMERI, VICTORIA                     PALMES, LAURA
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PALMES, MARY                         PALMGREN, LISA                        PALMIE, TAYLOR
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PALMIERI, MELANIE                    PALMIERI, TAYLOR                      PALMIERI, VINCENT
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PALMINA LLC             Case 22-11238-LSS     DocJANELLE
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1520 E CHESTNUT COURT                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOMPOC, CA 93436




PALMISCIANO, RACHEL                     PALMISCNO, JENNIFER                   PALMITESSA, JOE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALMITESSA, SARA                        PALMQUIST, CHELSEA                    PALMQUIST, LANETTE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALMS SPRINGS RENTAL                    PALO, CAROLINE                        PALOCHAK, HANNAH
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PALOKANGAS, MARK                        PALOMA MARIA DIAZ                     PALOMA WORKS PBC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        126 GRAHAM AVE., 1B
                                                                              BROOKLYN, NY 11206




PALOMARES, CLARA                        PALOMBINI, JOSEPH                     PALOMBO, DENISE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALOMBO, JOE                            PALOMINO, DALLAS                      PALOMINO, JARIEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PALOMINO, JORGE                         PALOMINO, JUANITA                     PALOMO, HAILEY
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PALONE, KELLEY                          PALOS, EMMY                           PALOTI, MELISSA
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PALOVICH, STACEY                        PALS, DUSTIN                          PALSON, MICHELE
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PALUCCI, EMMA         Case 22-11238-LSS
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PALUCH, TREVOR                       PALUMBO, AL                           PALUMBO, APRIL
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PALUMBO, CONNIE                      PALUMBO, CRAIG                        PALUMBO, DEBRA
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PALUMBO, EILEEN                      PALUMBO, ELSA                         PALUMBO, JULIANNA
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PALUMBO, PAIGE                       PALUMBO, SHAUNNA                      PALUMBO, SHERIN
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PALUMBO, TESS                        PALU-REGAN, JOHN PAUL                 PALUSHAJ, PASKO
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PALUSKIEWICZ, MIKE                   PALUSZCYK, KELLY                      PALUZZI, ANTHONY
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PAM BOEHNLEIN                        PAM TOOLEY                            PAM, GIDDINGS
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PAMAN, ANGELA                        PAMELA ALDERMAN                       PAMELA CARRILLO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAMELA KAY ONEAL                     PAMELA MILLER                         PAMELA MURPH
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PAMELA REAL           Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAMELA SHERIDAN                      PAMELA TEMPSON                        PAMELA TIERNEY COMPANY LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        34 POPLAR MOUNTAIN RD
                                                                           ERVING, MA 01344




PAMELA, FLOCK                        PAMER, MICHAEL                        PAMIES, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAMPEL, DOREEN                       PAMPHILE, LUNEDIE                     PAMPHILE, MAXWELL
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PAMPUSH, KAREN                       PAN, ALLISON                          PAN, ANN
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PAN, CHLOE                           PAN, MAE                              PAN, QINGYI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAN, TINGYU                          PANACKIA, JOE                         PANAGAKOS, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANAGAKOS, NICHOLAS                  PANAGOS, ELEANA                       PANAHON, LAILA
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PANAKKADAN, SUSAN                    PANALIGAN, REGINALD                   PANARIELLO, DANIELLE
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PANARIELLO, KELLEY                   PANARIELLO, LINDA                     PANARIELLO, VICTORIA
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PANCOAST, ABIGAIL B   Case 22-11238-LSS    DocBROOKE
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                                                                              PANCOAST, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PANCOAST, JOANNE                        PANCOAST, RICH                        PANCOAST, ZACHARY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANDA EXPRESS                           PANDEY, ASHISH                        PANDEY, NEHA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANDEY, PRIYANSHI                       PANDEY, SANDEEP                       PANDHER, KIRAT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANDIKA, KAREN                          PANDIT, STACEY                        PANDJI, ANDREW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANDOLA, KIMBERLY                       PANDOLFI, TAIA                        PANDORA MEDIA, INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        25601 NETWORK PLACE
                                                                              CHICAGO, IL 60673-1256




PANDYA, AMIT                            PANDYA, ANERI                         PANDYA, DEEP
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANDYA, MAYUR                           PANDYA, NEEPA                         PANDYA, POOJA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANE, RYAN                              PANE, THOMAS                          PANELLA, BECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANELLA, DARLENE                        PANELS, JAMES                         PANEPINTO, CAITLIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PANEPINTO, EVAN       Case 22-11238-LSS     DocJOSEPH
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




PANETTA, RACHEL                         PANETTO, ELGIN                        PANG CHING HERNG JEROME COMPANY LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        29 GHIM MOH LINK 31-320
                                                                              SINGAPORE 270029
                                                                              SINGAPORE




PANG, YI EN IAN                         PANGALLO, KATE                        PANGALLO, SOPHIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANGAS, HARALAMBOS                      PANGBURN, CHARLES                     PANGBURN, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANGONIS, TARA                          PANI, NISHANT                         PANIC, SINISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANIC.COM                               PANICO, DEANNA                        PANICO, PATRICK
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANICONI, CURTIS                        PANIGEL, ARIEL                        PANINI CAFE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




PANINI COFFEE                           PANITCH, ALYSSA                       PANITCH, JANICE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANJARLA, MAHENDERNATH                  PANJIAR, ROHAN                        PANJWANI, ZUBAIR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANKAJ GUPTA                            PANKEY, MELINDA                       PANKEY, MIAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PANKIW, RICHARD       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANKONEN, ANGELA                     PANKOVITS III, ROBERT                 PANKOW, KRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANKOW, KYLE                         PANKOWSKI, KAYLENE                    PANKRATZ, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANN, SAMANTHA                       PANNELL, JESSICA                      PANNELL, JOCELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANNELL, JODY                        PANNETON, ROBIN                       PANNIER, MARY
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PANNILL, STUART                      PANNING, JEFF                         PANNOCCHIA, ORLANDO
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PANNOS, ALEXANDRA                    PANNULLO, VALENTINA                   PANOTHIOCAS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANOVEC, BRYAN                       PANOZZO, THERESA                      PANTALEAO, CHRISTOPHER
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PANTALONE, GINA                      PANTANELLA, MAUREEN                   PANTANO, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PANTANO, LARISSA                     PANTANO, RICHARD                      PANTELI, ANDREAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PANTEVA, MIHAELA      Case 22-11238-LSS    Doc 2 NEELE
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                                                                              PANTHER, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




PANTIC, LYNN                            PANTIG, ROSELLE                        PANTIN, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PANTLE, DOMINIC                         PANTOJA, CHERI                         PANTOJA, EMMANUEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PANTONE LLC                             PANTOZZI, JENNIFER                     PANUSHEVA, SVETLANA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PANYA, PATCHARAWAN                      PANZARIELLO, TERESA                    PANZER, MARLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PANZICA, TONY                           PAOLA GUZMAN                           PAOLA PAVAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PAOLA SHOOK                             PAOLA TORRES                           PAOLILLO, MARK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PAOLINI, JAIDA                          PAOLINI, KATHERINE                     PAOLINI, MIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PAOLINI, MIKE                           PAOLO, LYN                             PAOLO, WILLIAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PAONE, DANIELLE                         PAONESSA, ANNIKA                       PAPA NAPOLI ITALIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING
PAPA, BIANCA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PAPA, ELIZABETH                  Page 3765   of 5495
                                                                           PAPA, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAPADAKIS, RAMONA                    PAPADOPOULOS, GUS                     PAPADOPOULOS, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAPAEVAGELOU, DIMITRI                PAPAGEORGE, PANAGIOTIS                PAPAKONSTANTINOU, JENNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAPALIOS, JOANNA                     PAPALLO, CHAUNTEL                     PAPANDREAS, SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAPANICOLAOU, ALEX                   PAPANICOLAOU, COURTNEY                PAPANTONIS, CONSTANTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAPANTOS, MATTHEW                    PAPAPOSTOLOU, PAUL                    PAPARIAN, JENNA
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PAPARO, KAREN                        PAPARONE, ELLEN                       PAPAS, MATTHEW
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PAPASEVASTOS, CHRYSOULA              PAPASEVASTOS, IRENE                   PAPAVERO, GIAVANNA
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PAPAZIAN, DEBRA                      PAPAZIAN, VICTORIA                    PAPE, JASON
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PAPE, JOANNA                         PAPE, KAREN                           PAPE, SHELLEY
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PAPEIKA, MEAGHAN      Case 22-11238-LSS    Doc AMY
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PAPENFUHS, RUDY                         PAPER CHASE PRINTING, INC.              PAPER MART
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




PAPER, SARAH                            PAPERMASTER, JUSTIN                     PAPERNO, JENNY
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PAPERTRAIL, INC                         PAPES, THEODORE                         PAPETTI, SARAH
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PAPIAS, MONTSERRAT                      PAPIERNIK, KELLI                        PAPILLON, TRACY
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PAPINEAU, SHELBE                        PAPKA, BRIAN                            PAPO, JESSICA
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PAPOI, AMANDA                           PAPOTTO VOLDRICH, LAUREN                PAPOTTO, CANDACE
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PAPP, EMILY                             PAPP, KIERSTEN                          PAPP, LYNDA
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PAPPALARDO, ERIC                        PAPPAS, ALEX                            PAPPAS, ALEXANDRA
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PAPPAS, ALLISON                         PAPPAS, ANDREA                          PAPPAS, ANGELA
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PAPPAS, DEBRA         Case 22-11238-LSS
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PAPPAS, LAURA                        PAPPAS, LIBBY                           PAPPAS, MARIA
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PAPPAS, MICHAEL                      PAPPAS, MICHAEL                         PAPPAS, MIKE
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PAPPAS, MOLLIE                       PAPPAS, NTINA                           PAPPAS, SARA
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PAPPAS, STACY                        PAPPATERRA, MARIA                       PAPPERMAN, SHAUN
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PAPWORTH, KRISTEN                    PAQUE, JILL                             PAQUETTE, JOSHUA
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PAQUIN, BYRAB                        PAQUIN, TONI                            PARADA, GILBERTO
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PARADA, JENIFER                      PARADA, REINA                           PARADA, SHARA
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PARADICE, LINDSEY                    PARADIES                                PARADIS, ALEXA
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PARADIS, ALLYSON                     PARADIS, CRAIG                          PARADIS, DEMI
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PARADIS, JULIE        Case 22-11238-LSS    Doc
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PARADIS, ROBERT                         PARADIS, STACY                        PARADIS, VINCE
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PARADISE VINEYARDS, LLC                 PARADISE, DEAN                        PARADISE, JENIN
3000 SEARS POINT ROAD                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SONOMA, CA 95476




PARADISE, JESSICA                       PARADISO DAKIN, PATRICIA              PARADISO, BECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARADISO, ELPI                          PARADOWSKI, LISA                      PARAGON INSURANCE HOLDINGS, LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        45 NOD ROAD, SUITE 1
                                                                              AVON, CT 06001




PARALLELS                               PARAM, ARUN                           PARAM, NESTEENE
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PARAMESWARAN, ANAND                     PARAMOUNT PROMOTIONS LLC              PARANIUK, THOMAS
ADDRESS AVAILABLE UPON REQUEST          307 QUINN ST                          ADDRESS AVAILABLE UPON REQUEST
                                        NAUGATUCK, CT 06770




PARANY, KATHRYN                         PARAS, BLANCA                         PARAS, JOHN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARAS, LEO                              PARASKEVOPOULOS, MARIA                PARASKI, CAITLYN
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PARATORE, ELIZABETH                     PARATORE, PATRICIA                    PARATORE, STEPHEN
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PARAVATI, CHRISTINE   Case 22-11238-LSS    Doc
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                                                                           PARCELLS, KAYLA
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PARCELS, JANICE                      PARCHEM, ANNA                          PARCHMENT, MENDESA
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PARDE, CLAIRE                        PARDE, MADELINE                        PARDE, NATALIE
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PARDEE, BRUCE                        PARDEJ, SARA                           PARDESHI, TANAY
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PARDILLO, JENNIFER                   PARDILLO, SOFIA                        PARDINI, CHERYL
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PARDO, GABRIELLA                     PARDO, LYANNE                          PARDO, RACHEL
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PARDO, ROBERT                        PARDO, VIVIAN                          PARDON, KRISTIN
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PARDUE, ANNABETH                     PARDUE, CONNIE                         PARDUN, JESSICA
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PARE, ALICIA                         PARE, JENNIFER                         PARE, JESSICA
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PARE, NICOLE                         PARE, OLIVER                           PAREDES, ADRIANA
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PAREDES, JOHN         Case 22-11238-LSS    Doc
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                                                                           PAREDES, LUIS
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PAREDES, MARIANA                     PAREDES, MARY LEE                     PAREDES, YORKA
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PAREGIEN, KERI                       PAREIGIS, REGINA                      PAREKH, KRUPA
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PAREKH, NISH                         PAREKH, RADHIKA                       PARENET, KYLA
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PARENT, ANGELA                       PARENT, BETHANY                       PARENT, CARRIE
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PARENT, CHRISTOPHER                  PARENT, DEREK                         PARENT, ELISHA
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PARENT, JEANETTE                     PARENT, JENN                          PARENT, KRISTIN
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PARENT, MARION                       PARENT, SAMANTHA                      PARENTE, DONNA
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PARENTE, PETER                       PARENTE, SHEREE                       PARENTE, SUSAN
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PARENTEAU, BRENDA                    PARENTEAU, SHIRLEY                    PARENTI, SALLY
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PARES, MICHAEL        Case 22-11238-LSS
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PARESHKUMAR PATEL                    PARET, JULIE                          PARETI, THOMAS
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PARETS, KRISTA                       PARFIONAVA, VOLHA                     PARFITT, MAXINE
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PARGAS SNYDER, ANET                  PARHAM, EMILY                         PARHAM, JOLENE
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PARIENTE, ANA                        PARIHAR, JASMIT                       PARIKH, CHAITAN
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PARIKH, DARSHAN                      PARIKH, GAURANG                       PARIKH, JAY
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PARIKH, KINJAL                       PARIKH, MANISHA                       PARIKH, SAAGAR
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PARIL, BRITTANY                      PARILLA, TIMOTHY                      PARINELLO, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARIS WINE COMPANY                   PARIS, ALAN                           PARIS, AMBER
8, RUE DU GENERAL GUILHEM            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PARIS 75011
FRANCE




PARIS, ASHTON                        PARIS, CASIE                          PARIS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PARIS, JESSICA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           PARIS-BEATTIE,
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PARISE, JORDAN                       PARISEAU, NICOLA                      PARISEAU, NICOLE
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PARISER, MAYA                        PARISH, ASHLEY                        PARISH, DANIELA
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PARISH, DAVID                        PARISH, LISA                          PARISH, RACHEL
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PARISH, REUBEN                       PARISI, AMY                           PARISI, CHRISTINE
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PARISI, CHRISTYANN                   PARISI, DEBI                          PARISI, ERIN
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PARISI, ERIN                         PARISI, KAREN                         PARISI, MARIA
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PARISI, MATTHEW                      PARISI, NICOLE                        PARISI, RENEE
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PARISI, ZACH                         PARISIAN, CLEMENTINA                  PARISIAN, HETTIE
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PARISIEN, WANDA                      PARIS-KORNILOWICZ, OLIVIA             PARISO, HEATHER
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PARISON, RICHARD      Case 22-11238-LSS     DocKATIE
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PARK ROGERS, MEREDITH                PARK, ALICE                           PARK, ANNA
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PARK, ASHLEY                         PARK, BLAIR                           PARK, CARINA
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PARK, CELINE                         PARK, CHARLIE                         PARK, CHRIS
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PARK, DANIEL                         PARK, DEBBIE                          PARK, DYLAN
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PARK, EILEEN                         PARK, EMILY                           PARK, EUNJI
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PARK, HANNAH                         PARK, HANNAH                          PARK, HYUNJUNG
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PARK, JACQUELINE                     PARK, JAE                             PARK, JANE
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PARK, JANE                           PARK, JEEHYUN                         PARK, JEEYOON
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PARK, JENNIFER                       PARK, JERRY                           PARK, JESSICA
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PARK, JESSICA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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PARK, JOANNA                         PARK, JOHN                            PARK, JONG HO
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PARK, JORDAN                         PARK, KAROLINE                        PARK, KAY
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PARK, KEENAN                         PARK, KHEERYON                        PARK, KIM
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PARK, LINDA                          PARK, MATT                            PARK, NOMINA
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PARK, REBECCA                        PARK, REBECCA                         PARK, REBECCA
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PARK, SANG BIN                       PARK, SARAH                           PARK, SARAH
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PARK, STEPHEN                        PARK, SULEEN                          PARK, SUNNY
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PARK, SUNOOK                         PARK, SYDNEY                          PARK, SYLVIA
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PARK, TAYLOR                         PARK, TENNY                           PARK, TIMOTHY
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PARK, WILLIAM         Case 22-11238-LSS     DocME2 Filed 11/30/22
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                                                                           PARKANSKY, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PARKE, JENA                          PARKE, JENNIFER                        PARKENING, RIPLEE
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PARKER COOLEY                        PARKER MANAGEMENT LLC                  PARKER, AJ
ADDRESS AVAILABLE UPON REQUEST       4535 SW NATCHEZ CT.                    ADDRESS AVAILABLE UPON REQUEST
                                     TUALATIN, OR 97062




PARKER, AL                           PARKER, ALAHNA                         PARKER, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PARKER, ALLISON                      PARKER, AMANDA                         PARKER, AMY
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PARKER, ANITA                        PARKER, ANNA                           PARKER, ANNE
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PARKER, AUSTIN                       PARKER, AVERICK                        PARKER, BARBARA
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PARKER, BENNIE                       PARKER, BRAD                           PARKER, BRENDAN
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PARKER, BRITTANY                     PARKER, CAMERON                        PARKER, CARRIE
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PARKER, CELINA                       PARKER, CHARLES                        PARKER, CHASITY
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PARKER, CINDY         Case 22-11238-LSS
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PARKER, CLAIRE                       PARKER, CLAUDE                         PARKER, COLLEEN
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PARKER, COLLEEN                      PARKER, CYNTHIA                        PARKER, DANIEL
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PARKER, DAWN                         PARKER, DAWSON                         PARKER, DAYKOTA
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PARKER, DENISE                       PARKER, DURRIE                         PARKER, DYLAN
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PARKER, EMILY                        PARKER, ERIN                           PARKER, FRAN
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PARKER, GABRIELLE                    PARKER, GEORGE                         PARKER, GEORGE
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PARKER, GIGI                         PARKER, GINA                           PARKER, HALEY
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PARKER, HALEY                        PARKER, HAYLEY                         PARKER, HILARY
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PARKER, HUNTER                       PARKER, JACQUELINE                     PARKER, JAMAL
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PARKER, JANE          Case 22-11238-LSS
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PARKER, JASON                        PARKER, JEANNIE                       PARKER, JENNIFER
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PARKER, JENNIFER                     PARKER, JEREMY                        PARKER, JILL
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PARKER, JOCELYN                      PARKER, JULIA                         PARKER, KAITLYN
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PARKER, KATHERINE                    PARKER, KATHLEEN                      PARKER, KATHRYN
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PARKER, KATIE                        PARKER, KATIE                         PARKER, KATIE
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PARKER, KELLEE                       PARKER, KELLI                         PARKER, KENDRA
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PARKER, KEVIN                        PARKER, KIARA                         PARKER, KRISTIN
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PARKER, KYLE                         PARKER, KYLE                          PARKER, LAQUESHA
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PARKER, LAQUESHA                     PARKER, LAURA                         PARKER, LAUREN
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PARKER, LEIGH ANNE    Case 22-11238-LSS
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                                                                           PARKER, 5495
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PARKER, LUCAS                        PARKER, LUCY                          PARKER, MARY
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PARKER, MARYANN                      PARKER, MEGAN                         PARKER, MEKA
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PARKER, MELANIE                      PARKER, MELINDA                       PARKER, MELISSA
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PARKER, MELISSA                      PARKER, MICHAEL                       PARKER, MIRANDA
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PARKER, MOLLY                        PARKER, MOLLY                         PARKER, MONICA
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PARKER, NANI                         PARKER, NATE                          PARKER, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARKER, PAMELLA                      PARKER, PENNY                         PARKER, PUMPKIN
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PARKER, RACHEL                       PARKER, REBECCA                       PARKER, REBECCA
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PARKER, RYAN                         PARKER, S. LOVEY                      PARKER, SAMANTHA
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PARKER, SAMANTHA      Case 22-11238-LSS
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                                                                           PARKER, 5495
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PARKER, SARAH                        PARKER, SARAH                         PARKER, SHANA
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PARKER, SHANNON                      PARKER, SHARON                        PARKER, SHAWNTE
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PARKER, SHERYL                       PARKER, SHIRLEY                       PARKER, SIERRA
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PARKER, STEPHANI                     PARKER, STEPHANIE                     PARKER, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARKER, SUSAN                        PARKER, SUZANNE                       PARKER, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARKER, TAMI                         PARKER, TAMMY                         PARKER, TARCHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARKER, TATUM                        PARKER, TAYLOR                        PARKER, TAYLOR
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PARKER, TESS                         PARKER, TIARA                         PARKER, TINA
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PARKER, TREVOR                       PARKER, VM                            PARKER, WAYLAND
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PARKER, WHITLEY       Case 22-11238-LSS
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                                                                           PARKER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARKER, ZHKIARA                      PARKER-FAHEY, ALLISON                 PARKER-HAMILTON, JENNIFER
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PARKER-KLIMPEL, LINDSAY              PARKER-SMITH, JAMIE                   PARKER-SMITH, PRINCESS KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARKES, PENELOPE                     PARKES, TRUDY                         PARKHILL, JIM / VERA
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PARKHOMCHUK, IRINA                   PARKHOUSE, ANNIE                      PARKHOUSE, BRIAN
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PARKHURST, CHARLOTTE                 PARKHURST, CHELSEA                    PARKHURST, JENNIFER
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PARKHURST, KATHRYN                   PARKIN, CHRIS                         PARKIN, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARKIN, JORDYN                       PARKIN, KATHRYN                       PARKIN, KAYLEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PARKING NETWORKS                     PARKINS, GINA                         PARKINSON, BEVERLY
350 S FIGUEROA ST SUITE 420          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90071




PARKINSON, CATHERINE                 PARKINSON, COLE                       PARKINSON, IAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PARKINSON, MARIE      Case 22-11238-LSS    DocSAMUEL
                                     PARKINSON, 2 Filed 11/30/22      Page 3781  of 5495
                                                                           PARKINSON, STEFANIE
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PARKISON, MELANIE                    PARKKA, SHARON                         PARKMAN, MEGAN
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PARKS, AMANDA                        PARKS, AMANDA                          PARKS, ANGELA
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PARKS, ASHLEY                        PARKS, ASHLEY                          PARKS, ASHLEY
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PARKS, AUDREY                        PARKS, BRANDY                          PARKS, CALEB
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PARKS, CAROL                         PARKS, CHRISTINA                       PARKS, CONNIE
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PARKS, DANELLE                       PARKS, DERIN                           PARKS, ELISABETH
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PARKS, FELECIA                       PARKS, ICESHLA                         PARKS, JAMIE
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PARKS, JENNIFER                      PARKS, JOSHUA                          PARKS, KALEN
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PARKS, KARIN                         PARKS, KARRI                           PARKS, KATE
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PARKS, KATHLEEN       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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PARKS, LOGAN                         PARKS, LORI                           PARKS, MATTHEW
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PARKS, NANCY                         PARKS, NATHAN                         PARKS, RICHARD
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PARKS, ROBERT                        PARKS, SAMANTHA                       PARKS, SAVANNAH
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PARKS, SAVANNAH                      PARKS, SEAN                           PARKS, SHARON
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PARKS, SIERRA                        PARKS, SINA                           PARKS, SONIA
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PARKS, STACEY                        PARKS, VADA                           PARKS, VALERIE
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PARLATO, NIKKI                       PARLE, JAMES                          PARLET, ANNA
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PARLETTE, CLAY                       PARLIN, SANDY                         PARMAR, AARTI
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PARMAR, KARISHMA                     PARMAR, NIKITA                        PARMAR, VARUN
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PARMATER, CHRISTINA   Case 22-11238-LSS    DocAMY
                                     PARMELEE,  2 Filed 11/30/22      Page 3783 of 5495
                                                                           PARMELEE, KATELYN
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PARMELY, RICHARD                     PARMER, BARBARA                       PARMER, CARLY
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PARMER, MATT                         PARMER, SARAH                         PARMLEY, DEIDRE
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PARMVIR SINGH SIDHU                  PARNAMI, GARIMA                       PARNELL VELASCO, CASSIDY
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PARNELL, ASHLEY                      PARNELL, CARISSA                      PARNELL, CASSIDY
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PARNELL, JESSICA                     PARNELL, KRISTEN                      PARNELL, TIFFANY
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PARNESS, KAITLYN                     PARNESS, TRACY                        PARNTHER, CECEILIA
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PAROLI, KATIE                        PAROLY, JILL                          PAROLY, LISA
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PARPART, DAPHNE                      PARR, CHRISTINE                       PARR, EVAN
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PARR, GARRETT                        PARR, JENN                            PARR, JENNIFER
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PARR, JULIEANN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        421 SMITHBRIDGE ROAD
                                                                           GLEN MILLS, PA 19342




PARRA, KARLA                         PARRA, KATHERINE                      PARRA, LINDA
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PARRA, LINDA                         PARRA, LISA                           PARRA, MORGAN
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PARRACK, JULIE                       PARRENO, ANGELIA                      PARRILLA, ALEX
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PARRILLI, JENNIFER                   PARRINO, PAIGE                        PARRINO, TARAH
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PARRIOTT, LORI                       PARRIS, ALLYSON                       PARRIS, CARLY
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PARRIS, JENNIFER                     PARRISH III, LEONARD                  PARRISH, AMANDA
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PARRISH, BERKLEY                     PARRISH, BILLY ROSE                   PARRISH, BRITTANY
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PARRISH, COLLETTE                    PARRISH, DANIAL                       PARRISH, EMILY
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PARRISH, JACK                        PARRISH, JACQUE                       PARRISH, JENNIFER
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PARRISH, JULIEANN     Case 22-11238-LSS    Doc
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                                                                           PARRISH, 5495
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PARRISH, KILEY                       PARRISH, LYNN ANN                     PARRISH, MICHELE-LEE
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PARRISH, PATRICIA                    PARRISH, RYAN                         PARRISH, SARA
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PARRISH, TYLA                        PARRO, BOB                            PARROTT, BONNIE
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PARROTT, HANNAH                      PARROTT, JAMES                        PARROTT, LISA
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PARROTT, MICHEALA                    PARROTT, OLIVIA                       PARROTT, SEAN
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PARROTTE, ASHLEY                     PARRY, ERICA                          PARRY, MAXINE
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PARRY, SUSAN                         PARRY, TRACIE                         PARSA, FERESHTEH
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PARSAFAR, YASAMIN                    PARSCALE, MELISSIA                    PARSELL, VERONICA
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PARSHALL, SHAWNA                     PARSI, UMAKANTH                       PARSLOE, CAITRIA
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PARSON, ALEXANDER     Case 22-11238-LSS
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PARSON, NIKKI                        PARSONEAULT, CHELSEA                  PARSONS, ASHLEY
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PARSONS, BRIANNA                     PARSONS, CYNTHIA                      PARSONS, DAWN
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PARSONS, DEANNA                      PARSONS, DONALD                       PARSONS, EMARI
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PARSONS, EMILY                       PARSONS, HARRIET                      PARSONS, HEATHER
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PARSONS, JAIDE                       PARSONS, JAMES                        PARSONS, JEFF
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PARSONS, JENNA                       PARSONS, JENNIFER                     PARSONS, NICOLE
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PARSONS, SCOTT                       PARSONS, SOPHIE                       PARSONS, SPENCER
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PARSONS, STERLING                    PARSONS, TRISH                        PARSONT, ROSA
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PARTAIN, TATE                        PARTEN, BENNETT                       PARTESANO, MEGHAN
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PARTHEMER, ABIGAIL    Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                                PARTIDA, 5495
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PARTIN, AMANDA                          PARTIN, KAITLYN                         PARTIN, LINDSAY
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PARTIN, MELINDA                         PARTIN, SARAH                           PARTIPILO, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PARTIS, KATIANA                         PARTNERUP PERKS, LLC.                   PARTNEY, TREVOR
ADDRESS AVAILABLE UPON REQUEST          2340 MILTON RD.                         ADDRESS AVAILABLE UPON REQUEST
                                        CLEVELAND, OH 44118




PARTNOFF, NICOLE                        PARTON, MARY BETH                       PARTON, OLIVIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PARTOW, ALI                             PARTRIDGE, BRIDGET                      PARTRIDGE, CAITLIN
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PARTRIDGE, DONNA                        PARTRIDGE, JACK                         PARTRIDGE, MARY
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PARTRIDGE, MAURA                        PARTY CITY                              PARTY UNLIMITED
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PARTY UNLIMTED                          PARULKAR, ARJUN                         PARVEN, OLIVIA
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PARVEZ, RIMSHA                          PARVIN, REBECCA                         PARVIZI, SHARON
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PARYLAK, CORTNEY      Case 22-11238-LSS
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                                                                              PARYLO,  5495
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PARZIALE, MAEGEN                        PARZUCH, MERCEDES                      PASAK, TINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PASALA RAVICHANDRAN                     PASAOA, CHERRY LYNN                    PASCA, LIANNA
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PASCAL DE VOS                           PASCAL KORSE                           PASCAL, MAUREEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PASCAL, PORTIA                          PASCAL, SAMANTHA                       PASCALE, FELICIA
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PASCALE, NICHOLAS                       PASCARELLA, ALAINA                     PASCARELLA, ANTHONY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PASCARELLA, MEGAN                       PASCASIO, ANDRESA                      PASCHAL, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PASCHAL, MATTHEW                        PASCHALL, ASHLEY                       PASCHALL, ERIC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PASCHE STATION                          PASCHEN, ALLIE                         PASCOE, RICHARD
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PASCOV, VLADIMIR                        PASCUAL, EUNICE                        PASCUAL, JOHN
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PASCUAL, LEMMUEL      Case 22-11238-LSS    Doc
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                                                                           PASCUAL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASCUCCI, DREW                       PASEK, CHUCK                          PASERCHIA, MINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASH, KRISTEN                        PASH, LEXY                            PASHAIAN, MICHELLE
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PASHBY, MORGAN                       PASHEL, SHARON                        PASHELUK, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASHLEY, GEORGIA                     PASHMAN, BROOKE                       PASI, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASIALIS, LIANA                      PASIC, ABBY                           PASILLAS, CHANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASILLAS, LINDA                      PASIUK, CALEB                         PASKALIDES, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASKE, JESSICA                       PASKEL, KATIE                         PASKELL, MARIA
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PASKERT, ALEXIS                      PASKETT, SARAH                        PASKEY, JILLIAN
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PASKO, KAYLA                         PASKO, MEGAN                          PASKWIETZ, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PASNOKOT, HEATHER     Case 22-11238-LSS     Doc 2WINEFiled
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                                                                           PASQUALE, AMANDA
ADDRESS AVAILABLE UPON REQUEST       PO BOX 1181                           ADDRESS AVAILABLE UPON REQUEST
                                     SANTA BARBARA, CA 93102




PASQUALE, ANITA                      PASQUALE, BOB                         PASQUALE, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASQUALE, MARGARET                   PASQUALIN, LUCAS                      PASQUALINA, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASQUALINI, FRANK                    PASQUALINI, SARAH                     PASQUARELLA, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASQUARELLA, NICK                    PASQUESI, BARBARA                     PASQUIER, COSIMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASQUINI, CARLY                      PASQUINI, LAURA                       PASS, CYNDIL
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PASS, LAUREN                         PASS, SARAH                           PASS, SYDNEY
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PASSADE, SABINE                      PASSAFIUME, MELISSA                   PASSAGE, JAYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASSALES, SHALINI                    PASSANANTE, WENDY                     PASSANISI, MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASSANTINO0609, NANCY                PASSARELLA, CHRISTINA                 PASSARELLA, LETITIA
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PASSARELLA, SAM       Case 22-11238-LSS    DocCAROL
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                                                                                PASSARELLI, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




PASSARETTI, BERNICE                     PASSARETTI, KAREN                        PASSARETTI, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PASSARO, LINDSAY                        PASSCHIER, ANNE                          PASSERINI, ANTHONY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PASSERINI, OLIVIA                       PASSERO, NINA                            PASSERO, SASHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PASSERO, THOMAS                         PASSEY, CAROL                            PASSINI, HANNEAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PASSOLT, COLLEEN                        PASSPORT HEALTH LOS ANGELES              PASSWATERS, STACEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




PASTEL, PAUL                            PASTELLA, KAELIN                         PASTENA, MARIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PASTERNAK WINE IMPORTS                  PASTERNAK, ALEX                          PASTERNAK, EDWARD
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PASTERNAK, HELEN                        PASTERNAK, VICTORIA                      PASTIKA, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PASTIKA, NICOLE                         PASTINO, ASHLEY                          PASTOR, CAROLINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
PASTOR, EMILY         Case 22-11238-LSS
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PASTOR, PAULA                        PASTOR, SCOTT                         PASTORE, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PASTORE, KATHLEEN                    PASTORE, SARAH                        PASTORELLO, DAVID
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PASTRAN, ARIANA                      PASWATERS, JAMES                      PASWATERS, JAMES
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PASYK, CHRISTINA                     PASZKIEWICZ, AMANDA                   PASZKIEWICZ, MELINDA
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PASZTOR, ANNIKA                      PAT JANSEN                            PAT, LOWE
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PAT, MARY                            PATACK, ALEXANDRA                     PATAGOINIA DIRECT INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




PATAKY, GABRIEL                      PATASKA, TAYLOR                       PATAY, ANDRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATCH, LAUREN                        PATCH, SONJA                          PATCHELL, CHRISTIAN
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PATCHEN, CARRIE                      PATCHEN, REBECCA                      PATCHEN, VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATCHETT, MADISON     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PATE, BRADY                      Page 3793   of 5495
                                                                           PATE, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATE, DAVID                          PATE, ELIZABETH                        PATE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATE, JESSTON                        PATE, MAHALA                           PATE, MISTY
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PATE, MONICA                         PATE, NATSHA                           PATE, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATE, SHRUTI                         PATE, TESSA                            PATE, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATEL, AADIT                         PATEL, AASHKA                          PATEL, ABHAY
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PATEL, ADITI                         PATEL, AEKTA                           PATEL, AEKTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATEL, ALKESH                        PATEL, AMANDA                          PATEL, AMIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATEL, AMY                           PATEL, ANISHA                          PATEL, ANJANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATEL, ANKUR                         PATEL, ARCHANA                         PATEL, ARCHITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PATEL, ARTISH         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PATEL, ASHIANNA                  Page 3794
                                                                           PATEL, of 5495
                                                                                  ASHISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, AVNI                          PATEL, AZITA                          PATEL, BHUSHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, BREE                          PATEL, CHANDNI                        PATEL, CHIRAG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, CHIRAG                        PATEL, CHRIS                          PATEL, DEEP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, DEVEN                         PATEL, DHIMANT                        PATEL, DHRUV
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, DIGESH                        PATEL, DILIP                          PATEL, DIVYESHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, DYLAN                         PATEL, GRACE                          PATEL, GUNJANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, HEMALI                        PATEL, HERSCHEL                       PATEL, HETAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, HETAL                         PATEL, HIREN                          PATEL, JAANKI
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PATEL, JASMIN                        PATEL, KALPESH                        PATEL, KAMLESH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATEL, KASEY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PATEL, KAVITA                    Page 3795
                                                                           PATEL, of 5495
                                                                                  KINJAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, KINNARI                       PATEL, KIRAN                          PATEL, KIRIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, KRISHNA                       PATEL, KRISHNA                        PATEL, KUNAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, KUNAL                         PATEL, KUSHAL                         PATEL, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, LYDIA                         PATEL, MALAV                          PATEL, MANISHA
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PATEL, MANSI                         PATEL, MAYA                           PATEL, MEGHA
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PATEL, MEHUL                         PATEL, MINAL                          PATEL, MINTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, MIRESH                        PATEL, MONIKA                         PATEL, NAINESH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, NARESH                        PATEL, NATASHA                        PATEL, NEAL
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PATEL, NEEL                          PATEL, NEHA                           PATEL, NEHAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATEL, NEIL           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PATEL, NEIL                      Page 3796
                                                                           PATEL, of 5495
                                                                                  NIKITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, NIKITA                        PATEL, NILAM                          PATEL, NIRAV
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PATEL, PANKAJ                        PATEL, PANKTI                         PATEL, PARTH
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PATEL, PINAL                         PATEL, POOJA                          PATEL, POOJA
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PATEL, POUMIL                        PATEL, PRAGNA                         PATEL, PRASHANT
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PATEL, PRIYA                         PATEL, PRIYAL                         PATEL, PUNAM
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PATEL, PURVANG                       PATEL, RAJIV                          PATEL, RAVI
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PATEL, RIA                           PATEL, RIMA                           PATEL, ROMA
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PATEL, SAMIT                         PATEL, SANAY                          PATEL, SANDIP
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PATEL, SANJIV                        PATEL, SAPNA                          PATEL, SEEMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATEL, SELAVI         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PATEL, SHEETAL                   Page 3797
                                                                           PATEL, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, SHIMUL                        PATEL, SHIV                           PATEL, SHIVAM
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PATEL, SHOSHANA                      PATEL, SHREYA                         PATEL, SIMREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEL, SONALI                        PATEL, SONIA                          PATEL, STEPHANIE
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PATEL, TANHA                         PATEL, TEJ                            PATEL, TRISTEN
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PATEL, VANESHA                       PATEL, VISHAL                         PATEL, VISHAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATELLI, KENNETH                     PATENAUDE, DANIELLE                   PATENAUDE, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATENDIS, ASHTON                     PATER, HILLARY                        PATERAKIS, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATEREK, MICHELLE                    PATE-RINALDI, FRANCESCA               PATERNO, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATERNOSTRO, BETHANY                 PATERRA, MONIQUE                      PATERSON, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATERSON, MICHELLE    Case 22-11238-LSS    Doc 2 CAROL
                                     PATERSON-SMITH, Filed 11/30/22     Page 3798  of AMY
                                                                             PATHIYIL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PATHMATA NETWORKS INC (DASH HUDSON)    PATHMATA NETWORKS INC (DASH HUDSON)   PATICOFF, KYRA
300 5112 PRINCE STREET                 HELEN HEATH- THE YARD                 ADDRESS AVAILABLE UPON REQUEST
HALIFAX, NOVA SCOTIA, CANADA B3J 1L3   33 NASSAU AVE. SUITE 30
                                       BROOKLYN, NY 11222




PATIENCE, STEPHANIE                    PATIERNO, BRANDI                      PATIL, AAKANKSHA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATIL, GAJANAN                         PATIL, LAKSHMI                        PATIL, MADHURA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATIL, SAMANTHA                        PATILLE, CRISTY                       PATINA, CRUZ
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATINO, JOSSELING                      PATINO, KARLA GARCIA                  PATINO, LUIS
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATINO, MARJORIE                       PATINO, PAT                           PATINO, RACHEL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATISON, CHAD                          PATKO, LISA                           PATLA, JESSICA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATNAUDE, BRENDA                       PATNAUDE, DAN                         PATNEAUDE, AMANDA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATNODE, HAILEY                        PATNODE, MAKINZIE                     PATOIS, COLLEEN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATON, ERICA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PATON, LAURA                     Page 3799 ofSAVANNAH
                                                                           PATRAW, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRAW, WAYNE                        PATRAZZA, LIANE                       PATRICCO, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICE ANDERSON                     PATRICE WHITNEY                       PATRICH, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICIA A LA MARR                   PATRICIA A LONG                       PATRICIA A TURNER FAMILY TRUST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICIA ANN HUSTAD                  PATRICIA ANN OBYRNE                   PATRICIA BROWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICIA BUCK                        PATRICIA BURTON                       PATRICIA CATO-CHRISTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICIA COOK                        PATRICIA CORNETTE                     PATRICIA DULLE
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PATRICIA GARCIA                      PATRICIA GRITZ                        PATRICIA GURNEY
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PATRICIA LATACZ                      PATRICIA MARTIN                       PATRICIA R COLEMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICIA SANTANGELO                  PATRICIA WEISS                        PATRICIA, ANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATRICIA, M.          Case 22-11238-LSS     Doc
                                     PATRICIA, MRS2  Filed 11/30/22   Page 3800  ofBOYLE
                                                                           PATRICK  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK CHIMENTI                     PATRICK CLASEN                        PATRICK CONCEPTION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK CROWNOVER, GEORGE            PATRICK DEER                          PATRICK DJUANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK F WATHEN                     PATRICK FALLE                         PATRICK FREDERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK G MALONEY                    PATRICK HARRISON                      PATRICK HENRY CREATIVE PROMOTIONS,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        INC
                                                                           1177 W LOOP S STE 800
                                                                           HOUSTON, TX 77027




PATRICK HIGHLAND                     PATRICK HOOSIER                       PATRICK HURLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK JOSEPH MURPHY                PATRICK KUCINSKAS                     PATRICK KYLE BRENNAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK LIN                          PATRICK LIN                           PATRICK MCHUGH
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PATRICK MCKEOUGH                     PATRICK MITCHELL                      PATRICK ODNEAL
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PATRICK OREILLY                      PATRICK RUSSELL                       PATRICK SCHMIED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATRICK SHARP         Case 22-11238-LSS
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                                             SHARPLESS,    11/30/22
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                                                                           PATRICK  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK SOKLEY                       PATRICK STEVENSON                     PATRICK THOMAS SCHEIDLER MARTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK TOMLINSON WILSON             PATRICK WALKER                        PATRICK WILLIAM MCCUAIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK WILSON                       PATRICK ZOVISTOSKI                    PATRICK, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK, ANDREW                      PATRICK, ASHLEY                       PATRICK, CAILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK, CARRIE                      PATRICK, DANIEL                       PATRICK, JEANNE
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PATRICK, KENT                        PATRICK, KEVIN                        PATRICK, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK, LINDA                       PATRICK, LINDSAY                      PATRICK, ML
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK, NAKETA                      PATRICK, PAIGE                        PATRICK, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATRICK, TRACY                       PATRIDGE, DEVIKA                      PATRIZIA, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATRON, KATHLEEN      Case 22-11238-LSS    Doc
                                     PATROSE,   2 Filed 11/30/22
                                              MAYA                    Page 3802 of 5495
                                                                           PATROVANIE, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATRYK KOCENIAK                      PATRYK KOCENIAK                        PATRYNA, JEFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATSCHULL, HEATHER                   PATSOS, LAUREN                         PATSULA, JAZMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATSY IRENE MILLER                   PATSY, MARTHA                          PATT, GENEVIEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATT, PATRICIA                       PATT, TRISTAN                          PATTBERG, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTEN, ALEXANDRA                    PATTEN, ALLIE                          PATTEN, BILL
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PATTEN, BOB                          PATTEN, CARRIE                         PATTEN, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTEN, DIANA                        PATTEN, ELEANOR                        PATTEN, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTEN, JULIANNE                     PATTEN, JUSTIN                         PATTEN, PAULA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTEN, THERESA                      PATTERSHALL, DEVON                     PATTERSON, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PATTERSON, ADAM       Case 22-11238-LSS    DocALEX
                                     PATTERSON, 2 Filed 11/30/22      Page 3803  of 5495
                                                                           PATTERSON, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, ALISSA                    PATTERSON, ALYSSA                     PATTERSON, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, ANNEISHIA                 PATTERSON, APRIL                      PATTERSON, AYANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, BENJAMIN                  PATTERSON, BETTY                      PATTERSON, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, BRIGHID                   PATTERSON, CAROLINE                   PATTERSON, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, CHARLES                   PATTERSON, CHASE                      PATTERSON, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, COURTNY                   PATTERSON, DANIEL                     PATTERSON, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, DAYE                      PATTERSON, DEYJA C.                   PATTERSON, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, GARRET                    PATTERSON, HEATHER                    PATTERSON, HOMER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTERSON, JEN                       PATTERSON, JENNIFER                   PATTERSON, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATTERSON, JESSICA    Case 22-11238-LSS    DocJESSICA
                                     PATTERSON, 2 Filed 11/30/22      Page 3804  of 5495
                                                                           PATTERSON, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, JOHN                      PATTERSON, JOHN                        PATTERSON, JOLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, JONI                      PATTERSON, JORDAN                      PATTERSON, JORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, JOZELLE                   PATTERSON, JULIE                       PATTERSON, KARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, KAYLA                     PATTERSON, KEANA                       PATTERSON, KENICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, KIM                       PATTERSON, KIMBERLY                    PATTERSON, KRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, KYLE                      PATTERSON, LANA                        PATTERSON, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, LAUREN                    PATTERSON, LINDA                       PATTERSON, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, MAGGIE                    PATTERSON, MARGARET                    PATTERSON, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, MARTHA                    PATTERSON, MEGAN                       PATTERSON, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PATTERSON, MICHAEL    Case 22-11238-LSS    DocMICHELLE
                                     PATTERSON, 2 Filed 11/30/22      Page 3805  of 5495
                                                                           PATTERSON, MOLLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, MOLLY                     PATTERSON, MORGAN                      PATTERSON, NIGEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, NOAH                      PATTERSON, OLIVIA                      PATTERSON, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, PAIGE                     PATTERSON, PAIGE                       PATTERSON, RAVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, REBECCA                   PATTERSON, ROBERT                      PATTERSON, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, RYAN                      PATTERSON, SARAH                       PATTERSON, SHANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, SHANNON                   PATTERSON, STEPHANIE                   PATTERSON, SUMMER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, TANIA                     PATTERSON, TAYLOR                      PATTERSON, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON, TONIA                     PATTERSON, TRACIE                      PATTERSON, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PATTERSON-STANLEY, TANYA             PATTESON, CHARLES                      PATTI FISHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PATTI SCHAEFER        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PATTI, ANTHONY                   Page 3806   of 5495
                                                                           PATTI, LORENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTI, MARISSA                       PATTI-DURAN, STEPHEN                  PATTILLO COLE, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTIN, MAYA                         PATTISHALL, AURORA                    PATTISON, AMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTISON, CHARLES                    PATTISON, DONNA                       PATTISON, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTISON, JOHN                       PATTISON, LLOYD                       PATTISON, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTISON, MORGAN                     PATTISON, NANCY                       PATTISON, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, AMY                          PATTON, ASHLEY                        PATTON, AUDDRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, CAITLIN                      PATTON, CATHERINE                     PATTON, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, DAVID                        PATTON, DICK                          PATTON, DRAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, GARY                         PATTON, GENNA                         PATTON, GEORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PATTON, JD            Case 22-11238-LSS
                                     PATTON,Doc  2 Filed 11/30/22
                                             JENNIFER                 Page 3807 ofJESSICA
                                                                           PATTON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, KELLY R                      PATTON, LETRIECE                      PATTON, LINDENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, MARGARET                     PATTON, MEIGHAN                       PATTON, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, MIRANDA                      PATTON, NANETTE                       PATTON, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, REINA                        PATTON, ROBERT                        PATTON, SHANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTON, TAYLOR                       PATTON, TRENA                         PATTULLO, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTY HANUS                          PATTY KOTLAREK                        PATTY WOLBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATTY YEAGER                         PATTY, ALICIA                         PATTY, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATULOT, CARMEL                      PATURI, ATCHUT                        PATUTO, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PATYAK, LINDSAY                      PATZ & HALL WINE COMPANY, INC         PATZELT, ALLISON
ADDRESS AVAILABLE UPON REQUEST       21200 EIGHTH ST.                      ADDRESS AVAILABLE UPON REQUEST
                                     EAST SONOMA, CA 95476
PATZIK, LARA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PAU, NATALIE                        Page 3808 of 5495
                                                                              PAUKSTIS, STACEY
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PAUL ANTHONY KOCHARHOOK              PAUL ANTONY WHITEWAY                      PAUL BASILE
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PAUL BELDEN                          PAUL BIEL                                 PAUL BOUCHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




PAUL BURFORD                         PAUL C. BUFF                              PAUL CAMP
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PAUL CHAMBERS                        PAUL D BURROWS                            PAUL DIVIRGLIO
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PAUL DOMBROWSKI                      PAUL E BOYLE 401K EZ PENSION PLAN         PAUL EDWARD LLOYD JR
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PAUL ERIC DODSON                     PAUL FIVEZ                                PAUL GERARD BULLECER
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PAUL HOLLIER                         PAUL J HARTWIG                            PAUL J HENRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




PAUL JAKOB BONNET                    PAUL JAMES MCLAUGHLIN JR                  PAUL JENSON
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PAUL JOHN KAUFFMANN III              PAUL JONES                                PAUL JOSEPH BERNS
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PAUL KOBIERECKI       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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PAUL MARTIN                          PAUL MARTINS BISTRO                     PAUL MARTINS ELS
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PAUL MCCULLOUGH                      PAUL MIHICH                             PAUL MOBERG
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PAUL MOORE                           PAUL R W FLORENCE                       PAUL REGALIA
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PAUL RICHARDS                        PAUL ROBINSON                           PAUL RUSSELL WILD
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PAUL S PHILLIPS                      PAUL SCHOEB                             PAUL SCHOUTEN
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PAUL SCOTT STATELY                   PAUL T COCIUBA                          PAUL THOMAS KLINE
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PAUL W HODGE                         PAUL WILEY                              PAUL ZEMLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAUL, ALI                            PAUL, ANNE                              PAUL, BARBARA
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PAUL, BISH                           PAUL, BRITTNI                           PAUL, CAITLIN
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PAUL, CATHERINE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PAUL, CHRISTIAN                  Page 3810   of 5495
                                                                           PAUL, CLARICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAUL, COLLETTE                       PAUL, CORTNEY                         PAUL, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAUL, EMILY                          PAUL, ERIKA                           PAUL, GAYLE
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PAUL, GERALD                         PAUL, JEFF                            PAUL, JILLIAN
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PAUL, JOSEPH                         PAUL, KELLI                           PAUL, KELSEY
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PAUL, KEVIN                          PAUL, KIM                             PAUL, LACEY
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PAUL, LINDSAY                        PAUL, MARTY                           PAUL, NICOLE
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PAUL, PIERRE S                       PAUL, RACHEL                          PAUL, REUBEN
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PAUL, SANDRA                         PAUL, SAYAN                           PAUL, SHAWN
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PAUL, SUCHISMITA                     PAUL, VALERIE                         PAUL, ZACH
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PAULA CARVAJAL        Case 22-11238-LSS     Doc
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                                                                             PAULA KEMP
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PAULA KLINE, PAULA KLINR             PAULA LANDRY                            PAULA LAVERTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAULA MARTORELLI                     PAULA, ANA                              PAULA, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAULA, NIURKA                        PAULAS OLD TOWN BURGER                  PAULAS, ANANDA
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PAUL-DELVAUX, LOUISE                 PAULE, BRENDAN                          PAULENAS, ANDRIUS
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PAULETT, SARAH                       PAULETTE LANNEAUX                       PAULETTE, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAULEY, MARSHA                       PAULEY, PHIONA                          PAULEY, TIFFANY
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PAULHUS, CLAUDIA                     PAULHUS, EMMA                           PAULHUS, NATHAN
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PAULI, RACHEL                        PAULIDES, LACEY                         PAULIN, EDWIGE
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PAULIN, YVONNE                       PAULINA BALLABAN                        PAULINA HO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PAULINA, ESMERALDA    Case 22-11238-LSS     Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




PAULINE JOSEPHINE BLASETTI              PAULINE PARIKH                        PAULINI, OLIVIA
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PAULISH, LYNETTE                        PAULISIN, ABBY                        PAULK, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAULK, VIRGINIA                         PAULL, CASEY                          PAULLIN, SCOTT
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PAULMAN, LIZ                            PAULMEYER, MAUREEN                    PAULO BORGES
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PAULOS, BARBARA                         PAULOSKY, CHRISTA                     PAULS, MICHAEL
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PAULSEN VINEYARDS                       PAULSEN, ADRIENNE                     PAULSEN, CAROLINE
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PAULSEN, CLAUDIA                        PAULSEN, MALLORY                      PAULSEN, STANCIE
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PAULSMEYER, WHITNEY                     PAULSON, ANDREA                       PAULSON, ANDREW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAULSON, AUSTIN                         PAULSON, BENJAMIN                     PAULSON, BREANNA
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PAULSON, CHRISTINA    Case 22-11238-LSS    Doc
                                     PAULSON,    2 Filed 11/30/22
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                                                                           PAULSON, ERIN
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PAULSON, KAYLA                       PAULSON, MADELENA                     PAULSON, PAIGE
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PAULSON, RANDY                       PAULSON, RISSA                        PAULSON, SALLY
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PAULSON, STEPHANIE                   PAULSON, TRISTA                       PAULSON, YVONNE
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PAULTRE, CRYSTAL PENUELA             PAULUKONIS, LORA                      PAULY, OLIVIA
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PAUS, VENISSA                        PAUSE, RUTH                           PAUYO, DOMINIQUE
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PAV, CARLOS                          PAVAN KUMAR PRATHIVADI BHAYAMKARAM    PAVAN, AUDRA
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PAVANI MANTENA                       PAVANO, SAM                           PAVEK, ALEXANDRA
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PAVEK, GRACE                         PAVEL BABUSHKIN                       PAVEL, ELIZABETH
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PAVEL, GRISHKOV                      PAVEL, JESSICA                        PAVESE, ELIZABETH
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PAVESI, JOYA          Case 22-11238-LSS     DocLLC
                                     PAVI WINES, 2 Filed 11/30/22 Page 3814       of 5495
                                                                           PAVI, PAYAL
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PAVIA, ALEXA                         PAVIA, EMILIA                         PAVIA, KYLE
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PAVIA, MATTHEW                       PAVIDIS, KELLY                        PAVILIONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




PAVIS, ANIKA                         PAVIS, ELIZABETH                      PAVLICA, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAVLICHKO, NATASHA                   PAVLICK, MARIE                        PAVLIK, ABBY NEEF AND COLE
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PAVLIK, AJ                           PAVLIK, ALYSSA                        PAVLIK, KATHY
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PAVLINA, DEBRA                       PAVLISCSAK, EDWARD                    PAVLOCK, TAMARA
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PAVLOFF, KATELYN                     PAVLOFF, SUSAN                        PAVLOS, MARY
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PAVLOVA, ALINA                       PAVLOVA, YEKATERINA                   PAVLOVIC, CATALINA
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PAVLOVIC, KAYLA                      PAVLUK, KAREN                         PAVON, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PAVON, LAURA          Case 22-11238-LSS
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                                                                           PAVRI, ALICE
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PAWA, SAPNA                          PAWAR, AKSHAY                         PAWELEC, AUTUMN
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PAWELEC, BLAKE                       PAWLAK, DEBRA                         PAWLAK, LAURA
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PAWLAK, MELANIE                      PAWLENKO, EMILY                       PAWLICKI-SINCLAIR, ANDREW
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PAWLIK, THEODORE                     PAWLIKA, JOSEPH                       PAWLINE, SKYLER
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PAWLOSKI, ADAM                       PAWLOWSKI, KATE                       PAWLOWSKI, KATRINA
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PAWLUK, ALEINA                       PAWLUKOWSKY, DANICA                   PAXIN, KAILEY
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PAXSON, KATIE                        PAXSON, WILLIAM                       PAXTON, AIMEE
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PAXTON, ALEXIS                       PAXTON, CHANTEL                       PAXTON, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAXTON, JIM                          PAXTON, JOHN                          PAXTON, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PAXTON, SAMANTHA      Case 22-11238-LSS
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PAXTON, SUMMER                       PAXTON, TREVOR                          PAY PROP DAMAGE PROT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




PAYAN, AYLIN                         PAYANO, IRICEL                          PAYANO, JOSMAYREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAYANO-ORTIZ, LAURA                  PAYDEN, NANCY                           PAYDON, MCKENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAYE, MATT                           PAYER, BENJAMIN                         PAYES, MARISOL
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PAYES, TODD                          PAYEUR, PATRICE                         PAYGRID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




PAYLIM, EDWIGE                       PAYLOCITY CORPOR TAX                    PAYLOCITY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   3850 N. WILKE RD.
                                                                             ARLINGTON HEIGHTS, IL 60004




PAYNE II, SAMUEL                     PAYNE III, THOMAS                       PAYNE, AKINYEMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PAYNE, ALEX                          PAYNE, ALLYSON                          PAYNE, AMANDA
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PAYNE, ANTHONY                       PAYNE, BILLIE                           PAYNE, BRIDGETTE
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PAYNE, CANDY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PAYNE, CARLTON                   Page 3817
                                                                           PAYNE,of 5495
                                                                                 CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, CLIFTON                       PAYNE, COURTNEY                       PAYNE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, DANTE                         PAYNE, DENISE                         PAYNE, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, DONNA                         PAYNE, DONNA                          PAYNE, DORINDA
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PAYNE, ELISE                         PAYNE, ELIZABETH                      PAYNE, ERIC
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PAYNE, ERIKA                         PAYNE, ERIN                           PAYNE, ERNESTINE
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PAYNE, HEATHER                       PAYNE, HEIDI                          PAYNE, JENNIFER
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PAYNE, JENNIFER                      PAYNE, JENNIFER                       PAYNE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, JESSIE                        PAYNE, JOHN                           PAYNE, KALY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, KARLA                         PAYNE, KATELYN                        PAYNE, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PAYNE, KATIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PAYNE, KELLY                     Page 3818
                                                                           PAYNE,of 5495
                                                                                 KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, LARASHA                       PAYNE, LAURA                          PAYNE, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, LETITIA                       PAYNE, LINDSAY                        PAYNE, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, LISA                          PAYNE, LORI                           PAYNE, LUCRETIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, MARIAN                        PAYNE, MARY KATHARINE                 PAYNE, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, MCKENNA                       PAYNE, MICHELLE                       PAYNE, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, RACHELLE                      PAYNE, RANI                           PAYNE, RAYMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, ROBERT                        PAYNE, ROSEANN                        PAYNE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYNE, SERAFINA                      PAYNE, SHARON                         PAYNE, SHELBY
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PAYNE, STACEY                        PAYNE, TENISHA                        PAYNE, TORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PAYNE, WALKER         Case 22-11238-LSS    Doc
                                     PAYNTER,    2 Filed 11/30/22
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                                                                              PAYNTER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PAYPAL                                  PAYRAVI, KEVIN                        PAYTON POULTER
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYTON, ALEX                            PAYTON, ALYSSA                        PAYTON, ERIC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYTON, OLIVIA                          PAYTON, STACEY                        PAYUMO, CAROLINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAYUMO, ELAINNE                         PAYUMO, ERNESTINE                     PAZ, ANALEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAZ, BRYAN                              PAZ, GRACE                            PAZ, LEAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAZ, LISA                               PAZ, LISA                             PAZ, MARIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PAZ, TANIA                              PAZHAYAMPALLIL, JOEL                  PAZUREK, ANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PCB INV INC RETIREMENT TRUST            PCHELKA, MELISSA                      PEABODY, BRANDI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEABODY, CHARCIE                        PEABODY, JAKE                         PEABODY, MATTHEW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEABODY, SHANNON      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PEACE, JASON                     Page 3820
                                                                           PEACE,of 5495
                                                                                 JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEACE, SHERLY                        PEACH STATE INTEGRATED TECHNOLOGIES   PEACH STATE INTEGRATED TECHNOLOGIES
ADDRESS AVAILABLE UPON REQUEST       3005 BUSINESS PARK DRIVE              7960 SOLUTION CTR.
                                     NORCROSS, GA 30071                    CHICAGO, IL 60677-7009




PEACH, DEBORAH                       PEACH, JOANN                          PEACHDISH INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3528 BROWNS MILL RD.
                                                                           ATLANTA, GA 30354




PEACHER, JENNIFER                    PEACHEY, LINDA                        PEACHEY, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEACOCK, ALEXIS                      PEACOCK, BRITTNEY                     PEACOCK, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEACOCK, CAMI                        PEACOCK, CATHERINE                    PEACOCK, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEACOCK, IAN                         PEACOCK, MATTHEW                      PEACOCK, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEACOCK, SARAH                       PEACOCK, SETH                         PEACOCK, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEACOCK, VALERIE                     PEAK, AMBER                           PEAK, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEAK, K LA                           PEAK, MEG                             PEAK, RAHSAAN
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PEAKE, CALVIN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PEAKE, GERALD                    Page 3821
                                                                           PEAKE, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEAKE, JESSICA                       PEAKE, KATE                           PEAKE, POLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEAKER, CATHRIN                      PEAKES, GARY                          PEARACHUTE INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1564 N DAMEN 303
                                                                           CHICAGO, IL 60614




PEARCE, ANDREW                       PEARCE, BRANDON                       PEARCE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARCE, HOLLY                        PEARCE, JUDY                          PEARCE, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARCE, KYLIE                        PEARCE, LAUREN                        PEARCE, LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARCE, MATTHEW                      PEARCE, SCOTT                         PEARCE, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARCE, SHANE                        PEARCE, STEVEN                        PEARCE, SUZZANNE
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PEARCE, TANYA                        PEARCE, TERRY A                       PEARCE, THOMAS
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PEARCE, TORI                         PEARCE, TRESS                         PEARCY, HALEY
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PEARCY, PATRICK       Case 22-11238-LSS
                                     PEARCY,Doc 2 Filed 11/30/22
                                             THOMAS                      Page 3822 ofWENDY
                                                                              PEARCY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PEARL AND ASH                           PEARL CUNNINGHAM                      PEARL IMMIGRATION LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        465 CALIFORNIA ST. FL 7
                                                                              SAN FRANCISCO, CA 94104




PEARL, AYELET                           PEARL, BRIAN                          PEARL, CATHIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARL, JOSH                             PEARL, MARY ANNE                      PEARL, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARLMAN, ASHLEY                        PEARLMAN, JENNY                       PEARLMAN, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARLMAN, MARIA                         PEARLMAN, MARIAN                      PEARMAIN, LILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARMAN, EMMIE                          PEARN, KEVIN                          PEARS, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARSALL, JAMAAL                        PEARSALL, JOY                         PEARSON, ADAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARSON, AIMEE                          PEARSON, ALAN                         PEARSON, ALANAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARSON, ALYSSA                         PEARSON, AMY                          PEARSON, ARIEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEARSON, BAILEY       Case 22-11238-LSS    Doc
                                     PEARSON,   2 Filed 11/30/22
                                              BARBARA                 Page 3823 of 5495
                                                                           PEARSON, BONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARSON, BRITT                       PEARSON, CARISSA                      PEARSON, CAROLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARSON, COURTNEY                    PEARSON, DANIELLE                     PEARSON, DAVE
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PEARSON, DIANA                       PEARSON, DONNIE                       PEARSON, EMILY
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PEARSON, HANNAH                      PEARSON, HARRIET                      PEARSON, ISANA
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PEARSON, JADA                        PEARSON, JEFFRY                       PEARSON, JENNIFER
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PEARSON, JOANNE                      PEARSON, KATIE                        PEARSON, KATIE
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PEARSON, KEITH                       PEARSON, KENDRIA                      PEARSON, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARSON, L JAY                       PEARSON, LAURA                        PEARSON, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEARSON, MARCIE                      PEARSON, MARK                         PEARSON, MATTHEW
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PEARSON, MICHAEL      Case 22-11238-LSS    Doc
                                     PEARSON,    2 Filed 11/30/22
                                              MICHELE                 Page 3824 of 5495
                                                                           PEARSON, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PEARSON, NICOLE                      PEARSON, OLIVIA                        PEARSON, OLIVIA
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PEARSON, PETER                       PEARSON, RACHEL                        PEARSON, RAY
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PEARSON, SAMUEL                      PEARSON, TAMELIA                       PEARSON, TAMMY
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PEARSON, TRAVIS                      PEARSON, TYNISHA                       PEARSON-BEY, CHARISSE
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PEARSON-DAWE, MATTHEW                PEART, CLAUDIA                         PEARY, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PEASE, ANDREA                        PEASE, CHARLENE                        PEASE, JACKIE PEASE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PEASE, JAMILA                        PEASE, KELSEY                          PEASE, LAUREN
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PEASE, MAURA                         PEASE, MICHAEL                         PEASE, ROBERT
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PEASE, STEPHANIE                     PEASE-FRADERA, MICHELLE                PEASLEE, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PEAT, SYLVIA          Case 22-11238-LSS    Doc
                                     PEAVLER,    2 Filed 11/30/22
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                                                                           PEAVLER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEAVLEY, KATHLEEN                    PEAZZONI, RACHEL                      PEBLO LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        169 MADISON AVENUE 2131
                                                                           NEW YORK, NY 10016




PECCI, ROSEMARIE                     PECES, MARGARITA                      PECHA, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PECHENEVA, LIUBOV                    PECHMANN, CHRIS                       PECHNER, MADELEINE
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PECHTER, HEATHER                     PECINA, JAMIE                         PECK, ALLISON
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PECK, ALLISON                        PECK, AMY                             PECK, ASHLEY
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PECK, AUSTIN                         PECK, CAITLIN                         PECK, DANIELLE
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PECK, JASON                          PECK, JENIFER                         PECK, KATE
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PECK, LILY                           PECK, ROBERT                          PECK, SALLY
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PECK, SAMANTHA                       PECK, TARA                            PECK, ZACHARY
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PECKAITIS, KYRA       Case 22-11238-LSS    Doc
                                     PECKHAM,   2 Filed 11/30/22
                                              CHANTEL                 Page 3826 of 5495
                                                                           PECKHEISER, ROBERT
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PECKLER, ERIN                        PECKMAN, JOSHUA                        PECKMAN, NATALIE
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PECKMAN, SABRINA                     PECKO, JOSEPH                          PECORA, EMILY
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PECORA, STACEY                       PECORARO, AMY                          PECORARO, EMMA
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PECORINI, CHRISTOPHER                PECOY, JACQUELINE                      PECSOK, SARAH
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PECSON, MARILYN                      PECUKONIS, ROSEMARY                    PEDALINO, LAUREN
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PEDDICORD, LIZ                       PEDDIE, HANNAH                         PEDE, SHERRY
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PEDEN, ALANA                         PEDEN, TANISHA                         PEDER CHRISTIAN PEDERSEN JR
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PEDER JAMES HANCHER                  PEDERSEN, AMY                          PEDERSEN, ANNA
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PEDERSEN, ASHLEY                     PEDERSEN, BETHANY                      PEDERSEN, BOE
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PEDERSEN, BRITTANY    Case 22-11238-LSS    DocCAITLIN
                                     PEDERSEN,  2 Filed 11/30/22      Page 3827 of 5495
                                                                           PEDERSEN, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDERSEN, ERICA                      PEDERSEN, HANNAH                      PEDERSEN, HEIDI RIIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDERSEN, JULIE                      PEDERSEN, KATHLEEN                    PEDERSEN, LOUIS
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PEDERSEN, MELISSA                    PEDERSEN, MICHELLE                    PEDERSEN, SHANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDERSEN, TAMMY                      PEDERSON, AMANDA                      PEDERSON, DANAE
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PEDERSON, DUANE                      PEDERSON, JULIA                       PEDERSON, KATHY
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PEDERSON, LAUREN                     PEDERSON, MARY ANNE                   PEDERSON, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDHIRNEY, NORAH                     PEDI, LAUREN                          PEDICONE, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDINOFF, ALLIE                      PEDLEY, LAUREN                        PEDNEAU, ANDY
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PEDONE, ANGELA                       PEDONE, GENNA                         PEDONE, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEDONESI, SHARON      Case 22-11238-LSS    Doc
                                     PEDONESI,   2 Filed 11/30/22
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                                                                           PEDRA,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDRAJA, RAUL                        PEDRAZA, ANGELA                       PEDRAZA, JENNIFER
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PEDRAZA, JULIE                       PEDRAZA, KIANA                        PEDRINI, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDRO CORREA                         PEDRO FRAIRE GARCIA                   PEDRO HENRIQUE DIAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDRO SANTANA                        PEDRON, ANDREW                        PEDRONAN, WEVILENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDRONCELLI MOBILE BOTTLING          PEDRONCELLI MOBILE BOTTLING           PEDROSA, EVELYN J
(SELECT MOBILE BOTTLERS)             (SELECT MOBILE BOTTLERS)              ADDRESS AVAILABLE UPON REQUEST
14 HALL CT.                          18775 CARRIGER ROAD
NAPA, CA 94558                       SONOMA, CA 95476




PEDROSO, ALEXANDER                   PEDROTTI, SARAH                       PEDROZA, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDROZA, JEREMY                      PEDROZA, KARINA                       PEDULLA, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEDUZZI, SARAH                       PEDZIWIATR, PAM                       PEEBLER, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEEBLES, DEVINEE                     PEEBLES, MACY                         PEED, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEED, LAURA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PEEK, ALISHA                     Page 3829   of 5495
                                                                           PEEK, BRADLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEEK, ERIN                           PEEK, HOLLY                           PEEK, JESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEEK, KRYSTAL                        PEEK, LAURA                           PEEK, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEEL, CYNTHIA                        PEEL, ELIZABETH                       PEEL, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEEL, KATIE                          PEEL, KELLY                           PEEL, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEEL, SARAH                          PEEL, TIM                             PEEL, WESLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEELE, STACY                         PEELER, ALISON                        PEELER, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEELER, MARY                         PEEPLES, JOSEPH                       PEER, SKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEERENBOOM, CAMERON                  PEERFLY, INC.                         PEERMAN, KONSTONZA
ADDRESS AVAILABLE UPON REQUEST       15202 NW 147TH DRIVE, 1200-330        ADDRESS AVAILABLE UPON REQUEST
                                     ALACHUA, FL 32615




PEERS, DIANA                         PEERS, JARED                          PEERSON, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEERSPACE, INC        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                      PEERY, CAMP                          Page 3830   of 5495
                                                                                PEET, SHARON
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




PEETS COFFEE                            PEETS, SHALANDRA                        PEEVLER, GARY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEFFER, EMILY                           PEFFER, KRISTEN                         PEFFLE, ALLISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEFFLY, BRECCIA                         PEGASUS TECHNOLOGIES, LLC               PEGELOW, CAROLYN
ADDRESS AVAILABLE UPON REQUEST          1215 W. BALTIMORE PIKE, SUITE 11        ADDRESS AVAILABLE UPON REQUEST
                                        MEDIA, PA 19063




PEGG, KATHLEEN                          PEGGOTT, LATOYA                         PEGGY NEWSOME
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEGHER, CARMI                           PEGNO, BRIAN                            PEGRAM, COREY AND KATHRYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEGUERO, AMANDA                         PEGUERO, HECTOR                         PEGUERO, WANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEGUES, ARIANA                          PEGUES, CHAQUE                          PEHLER, ALEX
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEHMOELLER, JENNIFER                    PEHOSKI, LAURA                          PEHRSON, TRACI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEI, CARISSA                            PEI, JACQUELINE                         PEI, KEXIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PEI, TIAN             Case 22-11238-LSS       Doc 2 Filed 11/30/22
                                     PEI, VIVIAN                      Page 3831   of 5495
                                                                           PEICK, ANNIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEIFER, M KEITH                      PEIFFER, ANN                          PEIFFER, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEIFFER, STACY                       PEIN, HEATHER                         PEINADO, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEIRANO, ANNA                        PEIRANO, FIORELLA                     PEIRCE, CHERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEIRCE, PATRICIA                     PEIRSOL, JODY                         PEIRSON, JEN
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PEISER, LUCAS AND LAUREN             PEISERT, PATTI                        PEISHER, SHAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEISNER, JULIE                       PEISTRUP, YAKIRA                      PEITZER, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEIXOTO, MARCELLA                    PEJIC, JEN                            PEKALA, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEKAR, CALLI                         PEKAREK, LAURA                        PEKARSKE, KATHLEEN
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PEKARSKI, BECKY                      PEKARSKY, KELLEY                      PEKCHI, KEVON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEKELHARRING          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                      PEKER, MICHAELA                  Page 3832 of 5495
                                                                            PEKRUHN, KATHERINE
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PEKULA, CATHERINE                     PELAEZ, CECILIA                        PELAEZ, DANIEL
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PELAEZ, DANIEL                        PELAN, LORI                            PELAR, NEDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELAYO, ISABELLE                      PELCHAT, JESS                          PELEGRINO, MARTIN
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PELESCHAK, ELI                        PELIMSKAYA, LUTSIYA                    PELINGON, KRISTELLE
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PELIZZARO, KRISTINA                   PELKA, KAJA                            PELKEY, CHARLES
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELKEY, GINA                          PELKEY, HEATHER                        PELKEY, HEATHER
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PELKEY, JASMIN                        PELKEY, RONDA                          PELL, AMANDA
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PELL, JAMES                           PELL, KEVIN                            PELL, MEGHAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELLAGATTI, GABRIELLA                 PELLE, CARLY                           PELLE, KELLIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PELLECHIA, MICHELLE   Case 22-11238-LSS    DocBRANDI
                                     PELLEGRINI, 2 Filed 11/30/22     Page 3833  of 5495
                                                                           PELLEGRINI, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELLEGRINI, FLORENCE                 PELLEGRINO, GIANNA                     PELLEGRINO, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELLEGRINO, MARY                     PELLEGRINO, NIKKI                      PELLEGRINO, REGINA
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PELLEGRINO, STEVEN                   PELLERANO, DANIELLA                    PELLERIN, ANGELA
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PELLERIN, KATE                       PELLETIER, CLAUDETTE                   PELLETIER, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELLETIER, DORIS                     PELLETIER, EMILY                       PELLETIER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELLETIER, MARTIN                    PELLETIER, NATALIE                     PELLETIER, NICOLE
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PELLETIER, ROBERT                    PELLETIER, TARYN                       PELLETIER, TRACY
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PELLETIER, TRISHA                    PELLETT, JILL                          PELLETT, TARIN
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PELLETTIERE, MARLAINE                PELLETZ, DEBBIE                        PELLEY, CYNTHIA
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                      Case 22-11238-LSS
PELLEYMOUNTER, JENNIFER                    Doc
                                     PELLHAM,    2 Filed 11/30/22
                                              ANDREA                  Page 3834    of 5495
                                                                           PELLI, KELSIE
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PELLICANI, AMBER                     PELLICANO, PAIGE                       PELLICCI, ASHLEY
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PELLICCIA, JODI                      PELLICONE, ALEXANDRA                   PELLINGTON, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELLISSIER, MONICA                   PELLITO, RICHARD                       PELLMAN, NIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELLON, DEBORAH                      PELLUM, RONNIE                         PELMORE, YVONNE
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PELNER, PATRICIA                     PELOQUIN, LINDA JOSEPHINE              PELOSI, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELOSI, MOLLY                        PELOT, PAISLEIGH                       PELTERS, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELTIER GLASSWORKS INC               PELTIER, EILEEN                        PELTIER, KATIE
3500 DRY CREEK ROAD 12               ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PASO ROBLES, CA 93446




PELTIER, KAYLEN                      PELTON, CHRISTA                        PELTON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELTON, ELLEN                        PELTON, MALLORY                        PELTZ, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PELTZ, KIM            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PELTZ, ZACHARY                   Page 3835  of ANGELA
                                                                           PELTZER, 5495
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PELTZER, ELLEN                       PELTZMAN, RANDI                        PELUMI ADEDAYO
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PELURA, GABRIELLE                    PELUSI, LIA                            PELUSO, BEVERLY
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PELUSO, GIOVANNI                     PELUSO, HANNAH                         PELUSO, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PELUSO-LEMIRE, EMILY                 PELZEL, KERIA                          PEMBERTON, KEELY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PEMBERTON, SARAH                     PEMBROKE, MICHELLE                     PEMBROKE, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PEMBROKE, STEPHANIE                  PEN, CAROLYNN                          PENA GARCIA, ZAIDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, ABEL                           PENA, ABEL                             PENA, ANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, ANGELA                         PENA, ANNA                             PENA, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, BRYNNE                         PENA, CAROLINE                         PENA, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PENA, CASSIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PENA, CHELSEY                    Page 3836   of 5495
                                                                           PENA, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, CHRISTINA                      PENA, CONNY                            PENA, DAISY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, DAWILSA                        PENA, FRANCIE                          PENA, FRANKLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, GABRIEL                        PENA, GISELLE                          PENA, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, HELEN                          PENA, HOLLY                            PENA, JAIME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, JASON                          PENA, JENNETT                          PENA, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, JOCELYN                        PENA, JOCELYN                          PENA, JOHANNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, JOSE                           PENA, KARLA                            PENA, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, KASEY                          PENA, KRISTINA                         PENA, LASHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PENA, LAUREN                         PENA, LEIANNA                          PENA, LETICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PENA, LINSEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PENA, MARIELA                    Page 3837  of 5495
                                                                           PENA, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENA, MIRIANA                        PENA, NICHOLAS                        PENA, NIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENA, NINA                           PENA, ORLENIS                         PENA, PAVIELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENA, RAMON                          PENA, RICHARD                         PENA, ROCHELE
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PENA, RUDY                           PENA, STEPHANIE                       PENA, STEPHANIE
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PENA, TAYLOR                         PENA, VICTORIA                        PENACERRADA, LEONARD
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PENAGOS, JANINE                      PENALO, JEANINE                       PENALO, YAMISA
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PENALOSA, ALEXA                      PENA-MINAYA, WENDY                    PENARANDA, CYNTHIA
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PENARO, ALEXANDRA                    PENBERTHY, ERIN                       PENCE, AMANDA
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PENCE, ANDY                          PENCE, DEBORAH                        PENCE, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PENCE, JEFFREY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           PENCE,of 5495
                                                                                 STACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENCE, STACY                         PENCE, VICTORIA                       PENCHEV, MARTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENCHI, PAOLA                        PENDER, MATTHEW                       PENDER, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENDERGAST, KERRY                    PENDERGAST-MESISCA, TRACY             PENDERGRAFT, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENDERGRAPH, JUSTIN                  PENDERGRASS, BETH                     PENDERGRASS, BRITTNEY
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PENDERGRASS, LAUREN                  PENDERGRASS, SYDNEE                   PENDERS, BRIANNA
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PENDEXTER, MOLLIE                    PENDICE, TINA                         PENDL, TIM
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PENDLEBURY, ERIK                     PENDLETON, ANITA                      PENDLETON, DAWN
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PENDLETON, EMILY                     PENDLETON, ERIN                       PENDLETON, HAROLD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENDLETON, LESLIE                    PENDLETON, LOIS                       PENDLETON, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PENDLETON, MEREDITH   Case 22-11238-LSS    DocSARAH
                                     PENDLETON, 2 Filed 11/30/22      Page 3839  of 5495
                                                                           PENDLETON, YADERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENDLEY, ISAAC                       PENDLEY, KARI                         PENDLEY, KERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENDLEY, SARAH                       PENDO, KATIE                          PENDRY, DELANEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENDSE, NIKITA                       PENEGAR, MADISON                      PENELOPE PARKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENFIELD, BETH                       PENFIELD, EVAN                        PENFOLD, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENG, BETTY                          PENG, BO                              PENG, DEBORAH
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PENG, JAZZY                          PENG, JOANNE                          PENG, LI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENG, ROSE                           PENG, TINA                            PENGE, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENGEL, MACHTEL                      PENGUIN RANDOM HOUSE, LLC.            PENHALL, KARLY
ADDRESS AVAILABLE UPON REQUEST       (TRYAUDIOBOOKS)                       ADDRESS AVAILABLE UPON REQUEST
                                     1745 BROADWAY
                                     NEW YORK, NY 10019




PENHARLOW, LISA                      PENHOS, JUAN                          PENIC, COLETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PENIC, KAYLA          Case 22-11238-LSS
                                     PENICK, Doc 2 MFiled 11/30/22
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                                                                           PENICOOK, KENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENILLA, JESSICA                     PENKOWER, MEGHAN                      PENLAND, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENLY, MJ                            PENMAN, WILLIAM                       PENMANN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENMARK, TOM KEPLER                  PENN CORPORATE RELOCATION SERVICES    PENN, DAVID
ADDRESS AVAILABLE UPON REQUEST       1515 W. MABLE STREET                  ADDRESS AVAILABLE UPON REQUEST
                                     ANAHEIM, CA 92802




PENN, ERICA                          PENN, FARRAH                          PENN, GRETCHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENN, JEKESIA                        PENN, LESLIE                          PENN, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENN, SOPHIE                         PENNA, ASHLEY                         PENNA, NINA
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PENNA, TERRY                         PENNACCHIA, CARLY                     PENNACCHIA, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNACCHIO, JUDY                     PENNANT, FUTURE                       PENNANT, JODIE-ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNARDT, ANDRE                      PENNAROLA, ADAM                       PENNELL, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PENNELL, CAROL        Case 22-11238-LSS    Doc
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                                                                           PENNELL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNELL, SUSAN                       PENNELLE, ASHLEY                      PENNER, MARY-CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNER, MATTHEW                      PENNETTI, BRENDA                      PENNETTI, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNEY, ANGELA                       PENNEY, BRIAN                         PENNEY, JOEL
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PENNEY, MIKE                         PENNEY, NOELLE                        PENNEY, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNICK, NANCY                       PENNIE, CHRISTOPHER                   PENNIE, THADDEUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNIMAN, DAVE                       PENNINGS, ADAM                        PENNINGS, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNINGTON, AMY                      PENNINGTON, AMY                       PENNINGTON, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNINGTON, DONNIE                   PENNINGTON, EMILY                     PENNINGTON, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PENNINGTON, JESSICA                  PENNINGTON, JOHN                      PENNINGTON, KATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PENNINGTON, KAYLA     Case 22-11238-LSS    Doc 2KENDRA
                                     PENNINGTON,     Filed 11/30/22     Page 3842  of 5495
                                                                             PENNINGTON, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PENNINGTON, NATALIE                  PENNINGTON, NICOLE                       PENNINGTON, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PENNINGTON, WILLIAM                  PENNISI, LAUREN                          PENNISON, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PENNO, SARA                          PENNOCK, JACOB                           PENNOCK, JANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PENNSYLVANIA DEPARTMENT OF BANKING   PENNSYLVANIA DEPARTMENT OF HUMAN         PENNSYLVANIA DEPARTMENT OF REVENUE
AND SECURITIES                       SERVICES                                 ADDRESS UNAVAILABLE AT TIME OF FILING
MARKET SQUARE PLAZA                  PA MEDICAID PROGRAM
17 N SECOND STREET, SUITE 1300       801 MARKET STREET
HARRISBURG, PA 17101                 PHILADELPHIA, PA 19107



PENNSYLVANIA DEPARTMENT OF STATE     PENNSYLVANIA DEPT OF LABOR AND           PENNSYLVANIA DEPT OF LABOR AND
BUREAU OF CORPORATIONS AND           INDUSTRY                                 INDUSTRY
CHARITABLE ORGANIZATION              PENNSYLVANIAS UNEMPLOYMENT               UNITED STATES PLAZA
P.O. BOX 8722                        COMPENSATION                             SUITE 1500
HARRISBURG, PA 17105-8722            1171 S CAMERON ST                        30 S 17TH ST
                                     ROOM 324                                 PHILADELPHIA, PA 19103-4007
                                     HARRISBURG, PA 17104-2501

PENNSYLVANIA DEPT OF STATE           PENNSYLVANIA DEPT OF STATE               PENNSYLVANIA DEPT OF STATE
11 PARKWAY CTR                       110 N 8TH ST                             15 W THIRD ST
STE 175                              STE 204A                                 SECOND FL
875 GREENTREE RD                     PHILADELPHIA, PA 19107-2412              GREENSBURG, PA 15601-3003
PITTSBURGH, PA 15220



PENNSYLVANIA DEPT OF STATE           PENNSYLVANIA DEPT OF STATE               PENNSYLVANIA DEPT OF STATE
411 7TH AVE                          419 AVENUE OF THE STATES                 425 MAIN ST
ROOM 420                             6TH FL                                   JOHNSTOWN, PA 15901-1808
PITTSBURGH, PA 15219-1905            STE 602
                                     CHESTER, PA 19013-451



PENNSYLVANIA DEPT OF STATE           PENNSYLVANIA DEPT OF STATE               PENNSYLVANIA DEPT OF STATE
448 W 11TH ST                        535 CHESTNUT ST                          555 UNION BLVD
ERIE, PA 16501-1501                  SUNBURY, PA 17801-2834                   ALLENTOWN, PA 18109-3389




PENNSYLVANIA DEPT OF STATE           PENNSYLVANIA DEPT OF STATE               PENNSYLVANIA DEPT OF STATE
5TH FL STRAWBERRY SQ                 625 CHERRY ST                            BANK TOWERS
HARRISBURG, PA 17128-0605            READING, PA 19602-1186                   207 WYOMING AVE
                                                                              SCRANTON, PA 18503-1427
                        Case 22-11238-LSS
PENNSYLVANIA DEPT OF STATE                    Doc 2DEPT
                                       PENNSYLVANIA    Filed 11/30/22
                                                         OF STATE         Page 3843 of 5495DEPT OF
                                                                               PENNSYLVANIA
PHILADELPHIA NORTHE DISTRICT           STONY CREEK OFFICE CENTER               ENVIRONMENTAL PROTECTION
3240 RED LION RD                       151 W MARSHALL ST                       RACHEL CARSON STATE OFFICE BLDG
PHILADELPHIA, PA 19114-1109            SECOND FL                               400 MARKET ST
                                       NORRISTOWN, PA 19401-4739               HARRISBURG, PA 17101



PENNSYLVANIA LIQUOR CONTROL BOARD      PENNSYLVANIA LIQUOR CONTROL             PENNSYLVANIA STATE TREASURY
OFFICE OF CHIEF COUNSEL PENNSYLVANIA   ADDRESS UNAVAILABLE AT TIME OF FILING   UNCLAIMED PROPERTY DIVISION
LIQUOR CONTROL BOARD                                                           4TH FL, RIVERFRONT OFFICE CTR
401 NORTHWEST OFFICE                                                           1101 SOUTH FRONT ST
BUILDING HARRISBURG, PA 17124-0001                                             HARRISBURG, PA 17104-2516



PENNY CAUDILL                          PENNY CHAVEZ                            PENNY SARRO
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENNY, CAYLA                           PENNY, COLLEEN                          PENNY, GLENDA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENNY, JORDAN                          PENNY, KAYLA                            PENNYBACKER, LESLIE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENNYMAN, SABRINA                      PENO, LEE                               PENOKIE, AMY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENOVICH, CANDICE                      PENQUE, LOUIS                           PENROD, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENROD, KARA                           PENROD, KRISTI                          PENROD, LESLIE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENROD, VERONICA                       PENROSE, FATIMA                         PENROSE, ISABEL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENROW, JAN                            PENSACK, DANIELLE                       PENSAK, ZACK
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PENSION BENEFIT GUARANTYCase
                           CORP22-11238-LSS
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                                                  BENEFIT Filed 11/30/22
                                                                   CORP    Page 3844
                                                                                PENSKEof 5495
DIR. CORP. FINANCE & NEGOTIATION DEPT.   GENERAL COUNSEL                        ADDRESS UNAVAILABLE AT TIME OF FILING
1200 K STREET NW                         1200 K STREET NW
WASHINGTON, DC 20005                     WASHINGTON, DC 20005




PENSON, MICHELLE                        PENTA, JAKE                             PENTECOST, LESLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENTEK, MIKE                            PENTERIS, JULIE                         PENTERMAN, MARIEKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENTICO, KIM                            PENTLAND, GWENDOLYN                     PENTLAND, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENTRACK, MICHAEL                       PENUEL, ALLISON                         PENUELAS, JULI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PENZ, KATE                              PENZA, MATT                             PENZIEN, ANNIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEONE, TASHINA                          PEOPLES POPS USA LLC                    PEOPLES WINE REVOLUTION
ADDRESS AVAILABLE UPON REQUEST          630 FLUSHING AVE                        ADDRESS UNAVAILABLE AT TIME OF FILING
                                        BROOKLYN, NY 11206




PEOPLES, DEREK                          PEOPLES, DOMINIQUE                      PEOPLES, JENA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEOPLES, JENELL                         PEOPLES, LEVETTE                        PEOPLES, PAMELA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PEOPLESHARE, LLC                        PEOTTER, MONICA                         PEPA, JEANIE
100 SPRINGHOUSE DRIVE, STE 200          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
COLLEGEVILLE, PA 19426
PEPE, BRIE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PEPE, LEN                        Page 3845   of 5495
                                                                           PEPE, RITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPE, SAMANTHA                       PEPER, LAURA                          PEPER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPICELLO, ALLIE                     PEPIN, BRE                            PEPIN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPIN, SHANNON                       PEPIN, WYATT                          PEPLAU, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPLER, CAROLYN                      PEPLINSKI, JAMIE                      PEPLINSKI, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPLINSKI, SUSAN                     PEPLOW, TERA                          PEPPEL, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPPER, AKAELA                       PEPPER, ANGELESE                      PEPPER, AUTUMN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPPER, CHANNING                     PEPPER, CONSTANCE                     PEPPER, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPPER, MILES                        PEPPER, RACHAEL                       PEPPERLING, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEPPERMAN, JACALYN                   PEPPERMAN, PAUL                       PEPPLE, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEPPLER, NOAH         Case 22-11238-LSS    Doc
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                                                                           PEPRAH, 5495
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PEPRAH-MENSAH, HARRISON              PER OLA HENFRIDSSON                   PER OLOF VALDEMAR PERSSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PER PERSSON                          PERACCHIO, HEATHER                    PERAINO, SALVATORE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERALA, SAMANTHA                     PERALES, NANCE                        PERALEZ, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERALEZ, MARIA                       PERALTA, EMYLI                        PERALTA, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERALTA, MARIA                       PERALTA, SERGIO                       PERALTA, SOLANGI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERALTO, XAN                         PERATA, KERRIE ANNE                   PERAY-GENOVESE, ANGELIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERAZA, GEORGE                       PERAZA, KRISTIANA                     PERAZZO, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERAZZO, WILL                        PERCH, BRADLEY                        PERCH, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERCH, KATE                          PERCH, MICHELE                        PERCIVAL, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PERCOX, ROSEMARIE     Case 22-11238-LSS
                                     PERCUN,Doc 2 R.Filed 11/30/22
                                             ERNEST                   Page 3847 of 5495
                                                                           PERCUOCO, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERCY SELECTIONS, LLC                PERCZAK, LEAH                         PERDEW, ALEX
899 GREEN STREET 206                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94133




PERDEW, KYLEIGH                      PERDEW, NATHAN                        PERDIGON, LISBETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERDOMO, MILDRED                     PERDUE, ANDREA                        PERDUE, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERDUE, TOMMY                        PERDUE, VAN                           PERDUNN, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERE, MARIA                          PEREA, DAISYLYN                       PEREA, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREA, DANIELLE                      PEREA, IDELLA                         PEREA, MARIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREA, MICHAELANN                    PEREA, RAYMOND                        PEREA, STEPHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREA, WILMARY                       PEREDO, ALEXA                         PEREGOY, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREIDA, SCARLETT                    PEREIRA, AGUSTINA                     PEREIRA, AILSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEREIRA, ANA          Case 22-11238-LSS    Doc
                                     PEREIRA,    2 Filed 11/30/22
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                                                                           PEREIRA,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREIRA, BRITTANY                    PEREIRA, CHERI                        PEREIRA, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREIRA, ELIZABETH                   PEREIRA, ELIZABETH                    PEREIRA, JOIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREIRA, JULIE                       PEREIRA, KASEY                        PEREIRA, KENDALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREIRA, LEONOR                      PEREIRA, MARTHA                       PEREIRA, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEREIRA, VICTOR HUGO                 PEREIRA, WILLIAM                      PERELKA, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERELMAN, RACHEL                     PERELYGIN, TANYA                      PERENCEN, AMMI
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PERERA, JACOB                        PERESECHANSKY, STAN                   PERET, GLENNARD
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PERET, ISMENE                        PERET, SANDRA                         PERETTO, ALYSSA
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PEREZ AND HARDOIN, ERIK AND PAUL     PEREZ BUTLER, MICHAEL                 PEREZ CELAYA, MARIBEL
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PEREZ MARTINEZ, GEMA                  PEREZ VELEZ, WILFRED                   PEREZ, ABIGAIL
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                                     PEREZ, CARLOS                    Page 3850
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PEREZ, CAROL                         PEREZ, CASSANDRA                      PEREZ, CATHERINE
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                                     PEREZ, GALIT                     Page 3851
                                                                           PEREZ, of 5495
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                                     PEREZ, KATHY                     Page 3852
                                                                           PEREZ, of 5495
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                                     PEREZ, NICOLE                    Page 3853
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PEREZ-MAJUL, ALENA                   PEREZ-MENDOZA, KARLA                  PEREZ-NUNEZ, SANDY
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                                    PEREZ-REYES,    Filed 11/30/22            Page 3854  of 5495
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230 HURONVIEW BLVD                  ADDRESS AVAILABLE UPON REQUEST                  ADDRESS AVAILABLE UPON REQUEST
ANN ARBOR, MI 48103




PERFECT AUDIENCE                        PERFECT DELIVERY LOGISTIC SERVICES,         PERFECT, POPPY
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                                        38821 ALTURA ST
                                        FREMONT, CA 94536




PERFETTE, JESSICA                       PERFETTE, MINDY                             PERFETTI, GEENA
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PERFETTI, MARIA                         PERFETTI, MONTY                             PERGANTIS, CAROLINE
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PERGOSKY, AMY                           PERHALA, NICOLE                             PERI, JILL
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PERI, MICHAEL                           PERIC, CHRIS                                PERICH, JULIE
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PERILLI, MARIA                          PERILLO, CHRISTI                            PERILLO, DANIELA
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PERILLO, RONALD                         PERIMAN, KAMI                               PERIN, MARY
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PERINCHERIL, MELISSA                    PERINE, ANGELA                              PERINE, GLORIA
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PERINI, ELIZABETH                       PERINI, KRISTEN                             PERINO, LINA
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PERJAK, AMANDA                       PERK, SYDNEY                           PERKEY, MARTIN
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PERKINS COIE                         PERKINS GASKILL, KATE                  PERKINS, AMBER
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SEATTLE, WA 98101-3099




PERKINS, ANA                         PERKINS, ANNE                          PERKINS, BETTY
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PERKINS, CHELSEA                     PERKINS, CHRIS                         PERKINS, CHRISTEL
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PERKINS, DAVID                       PERKINS, EDIE                          PERKINS, EDNA
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PERKINS, HOLLY                       PERKINS, HONEY                         PERKINS, JAMES
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                                     PERKINS,    2 Filed 11/30/22
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PERKINS, JILL                        PERKINS, JILLIAN                      PERKINS, JOANNA
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PERKINS, KAYLEE                      PERKINS, KELLY                        PERKINS, KENNETH
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PERKINS, MARY                        PERKINS, MATTHEW                      PERKINS, MICHAEL
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PERKINS, NICOLE                      PERKINS, NJERA                        PERKINS, ROSE
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PERKINS, SAMANTHA                    PERKINS, SANDRA                       PERKINS, SARA
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PERKINS, SYDNEY                      PERKINS, TIFFANY                       PERKINS, VALERIE
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PERKINSKELLY, LACEY                  PERKINSON, FRED                        PERKO, JOHN
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PERKOSKI, MICHAEL                    PERKOV, FELICITY                       PERKOWSKA, ELZBIETA
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PERKOWSKI, MONICA                    PERKS, JILL                            PERKYNS, JANE
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PERL, JUSTIN                         PERLBERG, KRISTIN                      PERLICK, ALEXA
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PERLIN, CHRISTINA                    PERLING, DAVID                         PERLMAN, BARBARA
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PERLMAN, MARK                        PERLMAN, MATTHEW                       PERLMUTTER, ALEXIS
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PERLMUTTER, ALICE                    PERLMUTTER, DANIELA                    PERLONGO, JENNY
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PERLOW, EMILY                        PERLOW, SHANNON                        PERLSTEIN, LINDSEY
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PERMANSU, RHEA        Case 22-11238-LSS    Doc
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                                             JUSTIN                   Page 3858 of 5495
                                                                           PERMESSUR, DEBBIE
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PERMESWARAN, YASHILA                 PERMITO, REGAN                        PERMUY, LAUREN
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PERNA, AMANDA                        PERNA, CAROL                          PERNA, CHRISTINE
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PERNA, JAMIE                         PERNA, NANCY                          PERNAI, ROBERT
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PERNAT, MICHELLE                     PERNAW, BRAD                          PERNELL, KAREN
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PERNI, MAURA                         PERNIA, JOHANNA                       PERNIA, MARIE ANNE
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PERNICE, KAYLEE                      PERNICE, NICOLE                       PERNICIARO, BHRIEL
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PERNICIARO, JAY                      PERNO, ANN                            PERNO, RYAN
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PERO, JULIE                          PERO, LINDSEY                         PERO, MARY
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PEROFSKY, KATHERINE                  PEROSI, MARY                          PEROSIO, REBECCA
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PEROVICH, SALLY                      PEROZICH, NICOLE                       PERPALL, ELIZABETH
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PERPICH, JEAN PERPUCH                PERRAULT, JACKI                        PERRAULT, ROSLYN
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PERRET, SHANNON                      PERRETH, SANDI                         PERRETTA, MARY
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PERRI, DANIELLE                      PERRI, JULIE                           PERRI, LESLIE
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PERRICH, LINDSAY                     PERRICONE, DAVID                       PERRICONE, STEVEN
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PERRINE, KRISTINE                    PERRIO, RYAN                          PERRON, HANNAH
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PERRON, JAMES                        PERRON, JAMES                         PERRON, STEPHANIE
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PERROTTI, EMILY                      PERRY MIKE CARANCI                    PERRY STEVENS
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PERRY WHITE                          PERRY, AFIYA                          PERRY, ALLISON
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                                     PERRY, BARBARA                   Page 3861
                                                                           PERRY,of 5495
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PERRY, BOB                           PERRY, BRENDA                         PERRY, BRITTANY
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PERRY, DAISY                         PERRY, DANIELLE                       PERRY, DEANNE
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PERRY, ERIN                          PERRY, FRANCESCA                      PERRY, GAIL
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PERRY, HEATHER                       PERRY, HEIDI                          PERRY, HOWARD
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PERRY, INGELA                        PERRY, JACLYN                         PERRY, JAMIE
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                                                                           PERRY,of 5495
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PERRY, JESSICA                       PERRY, JESSIE                         PERRY, JORDYN
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PERRY, JOSEPH                        PERRY, JOSHUA                         PERRY, KARA
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PERRY, KATE                          PERRY, KATELYN                        PERRY, KATIE
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PERRY, KAYLEE                        PERRY, KEITH                          PERRY, KENDALL
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PERRY, KIM                           PERRY, KRISTAL                        PERRY, KRYSTLE
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PERRY, LACEE                         PERRY, LAUREN                         PERRY, LAUREN
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PERRY, LAUREN                        PERRY, LINDSAY                        PERRY, LINDSEY
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PERRY, MARC                          PERRY, MARK                           PERRY, MEGHAN
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PERRY, MONIQUE                       PERRY, NAMA                           PERRY, NEIL
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PERRY, PAMELA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PERRY, RACHELLE                  Page 3863
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PERRY, REBECCA                       PERRY, RICHARD                        PERRY, RYAN
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PERRY, SADA                          PERRY, SALLY                          PERRY, SAMANTHA
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PERRY, SAMANTHA                      PERRY, SAMANTHA                       PERRY, SANDRA
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PERRY, SCOTT                         PERRY, SHEA                           PERRY, SLOANE
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PERRY, STEPHANIE                     PERRY, STEPHANIE                      PERRY, SUSAN
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PERRY, TAMMY                         PERRY, TANISHA                        PERRY-ACOSTA, KANIKAH
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PERRY-GUTIERREZ, KRISTAL             PERRY-GUTIERREZ, KRISTAL              PERRYMAN, ELIZABETH
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PERRYMOND, ADDISON                   PERSAD, TRISHA                        PERSAUD, DIVYA
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PERSAUD, GHANSHAM S                  PERSAUD, MARGARET                     PERSAUD, VERNISHA
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PERSAUD, VIEANNA      Case 22-11238-LSS    Doc
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PERSHALL, TIFFANY                    PERSHING (0443)                          PERSHING SQUARE
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                                     1 PERSHING PLAZA
                                     JERSEY CITY, NJ 07399




PERSI, STEPHANIE                     PERSICHETTI, DANE                        PERSICHETTI, VICTORIA
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PERSIGEHL, PAUL                      PERSINGER, KRISTI                        PERSOM, BARRY
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PERSOMA, SHANNON                     PERSON, BARRY                            PERSON, COLLIN
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PERSON, GLORIA                       PERSON, LAUREN                           PERSONETTE, KATY
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PERSONIUS, KYLIE                     PERSONS, REBECCA                         PERSONS, SARAH
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PERSONS, SUSAN                       PERSUIT, JEANNE                          PERSUIT, KELSEY
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PERSZYK, JAIME                       PERTLE, KATLYN                           PERTSCH, AIDA
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PERTUIT, LAURA                       PERTZBORN, MORGAN                        PERTZBORN, TAYLOR
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PERTZSCH, KELLY       Case 22-11238-LSS    Doc
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PERUSICH, NANCY                      PERUSQUIA, TESSA                      PERVEZ, NATASHA
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PERVOLA, CINDY                       PERVYKH, ELENA                        PERWAS, VALERIE
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PERZ, JAIME                          PESALE, AMANDA                        PESANTES, JOSE
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PESANTES, KARLA                      PESANTEZ, GIANCARLO                   PESANTEZ, MONSEY
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PESCE, CAROL                         PESCH, SALENA                         PESCHEL, DREW
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PESCHEL, TYLER                       PESCHKA, GLORIA                       PESCHKA, KELLI
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PESCI, JAMES                         PESCOSOLIDO, SARAH                    PESEK, ANDREA
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PESHKAM, ARMINEH                     PESICKA, MADISON                      PESIN, IGOR
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PESIO, DANICA                        PESKIN, HARRIS                        PESKOFF, BRITTANY
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PESKOWITZ, ASHLEY     Case 22-11238-LSS
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PESOLA, PAT                          PESQUEIRA, PAULINA                       PESSAH, ALEX
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PESSERS, WILHELMUS                   PESSOA, ESTEFANIA                        PESTANO, KYLE
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PESTER, BRANDON                      PETACCIATO, ALLISON                      PETAJA, JOHN
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PETAK, DONNA                         PETAKOV, ARTEM                           PETASEK, LINDSEY
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PETE, MAYA                           PETEK, EVON                              PETEK, SOPHIE
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PETELIK, J.T.                        PETELINA, TATIANA                        PETER ABRAHAM
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PETER AIME JAN LUC MARIA WOLLAERT    PETER ANTONY                             PETER AWAD
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PETER BAGI                           PETER BLACK                              PETER BRODY
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PETER CHIMENTI                       PETER CHIOU                           PETER CHOI
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PETER D WRIGHT                       PETER ERIC PEARSON                    PETER FINNEGAN
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PETER G WALBRIDGE                    PETER GEFFRARD                        PETER GEORGE ALBERT DAWS
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PETER GRIFFITHS                      PETER JACKSON DAVIS                   PETER JOHN CHRUSTOWSKI
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PETER JOHNSON                        PETER KAPLE                           PETER KASMIN
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PETER KO YONG CHAI                   PETER KOVERDA                         PETER KOVERDA
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PETER L LAWTON                       PETER LAWRENCE                        PETER LIBERATI
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PETER LIECHTY                        PETER M WEBER                         PETER MATKIWSKY
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PETER NETELBEEK                      PETER OWENS                           PETER S CONTI
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PETER TING                           PETER V ALOISI                        PETER VAN DER WAAIJ
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PETER WESCOTT                        PETER WHITTAKER                       PETER Y KOVERDA
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PETER, DANIELLA                      PETER, DEBORAH                        PETER, JESSICA
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PETER, JILL                          PETER, KELSEY                         PETER, STEPHANIE
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PETER, TASHILA                       PETERAF, MATTHEW                      PETERBURS, JASON
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PETERKIN, ALEXANDRA                  PETERKIN, AMANDA                      PETERKIN, ASHLEY
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PETERKIN, GIGI                       PETERKIN, RACHEL                      PETERMANN, ERIK
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PETERNEL, WAYNE                      PETERS BROTHERS TRANSPORT INC         PETERS, ALANA
ADDRESS AVAILABLE UPON REQUEST       37 W. PENN ST.                        ADDRESS AVAILABLE UPON REQUEST
                                     LENHARTSVILLE, PA 19534




PETERS, ALEXIS                       PETERS, ALLISON                       PETERS, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PETERS, ANA           Case 22-11238-LSS
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PETERS, ANYA                         PETERS, ASHLEY                        PETERS, ASHLEY
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PETERS, AUNDRA                       PETERS, AVERY                         PETERS, BETH
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PETERS, BRENT                        PETERS, CANZADA                       PETERS, DANIEL
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PETERS, DANIELLE                     PETERS, DAVID                         PETERS, DAVID
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PETERS, DEMETRA G                    PETERS, DYLAN                         PETERS, EMMA
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PETERS, ERIN                         PETERS, ESTELA                        PETERS, GAVIN
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PETERS, GRACE                        PETERS, GUNNAR                        PETERS, GWEN
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PETERS, HANNAH                       PETERS, HANNAH                        PETERS, HEATHER
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PETERS, JANELLE                      PETERS, JANINA                        PETERS, JARON
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PETERS, JENNIFER      Case 22-11238-LSS
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PETERS, JOHN                         PETERS, JOHN                          PETERS, JOY
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PETERS, JOYCE                        PETERS, KATHERINE                     PETERS, KATHRYN
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PETERS, KELLY                        PETERS, KELSEY                        PETERS, KEN
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PETERS, KERRI                        PETERS, KIMBERLY                      PETERS, KRISTIN
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PETERS, KRISTIN                      PETERS, LARESSA                       PETERS, LAUREN
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PETERS, LEAH                         PETERS, LEIGH                         PETERS, LISA
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PETERS, LISA                         PETERS, LORINDA                       PETERS, LYDA
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PETERS, MAXWELL                      PETERS, MEGAN                         PETERS, MEGAN
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PETERS, MEGAN                        PETERS, MICHELLE                      PETERS, MONICA
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PETERS, PARIS                        PETERS, RACHEL                          PETERS, ROCHELLE
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PETERS, RON                          PETERS, RYAN                            PETERS, SARAH
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PETERS, SCOTT                        PETERS, SCOTT                           PETERS, TERRELL
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PETERS, VICTORIA                     PETERSEN VILLAGE INN (THE LANDSBY)      PETERSEN, ABIGAIL
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PETERSEN, ALDO                       PETERSEN, ALENA                         PETERSEN, ALYSSA
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PETERSEN, ANDREA                     PETERSEN, ANDREA                        PETERSEN, ANGIE A
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PETERSEN, BELINDA                    PETERSEN, CALEB                         PETERSEN, CALEB
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PETERSEN, CAROLYN                    PETERSEN, CHARLOTTE                     PETERSEN, CHRISTINA
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PETERSEN, CRIS                       PETERSEN, DAVID                         PETERSEN, DUSTIN
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PETERSEN, ELIZABETH   Case 22-11238-LSS    DocEMILY
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PETERSEN, HANNAH                     PETERSEN, JAMIE                       PETERSEN, KAREN
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PETERSEN, KATIE                      PETERSEN, LAURA                       PETERSEN, LEANNE
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PETERSEN, LENA                       PETERSEN, LINDSEY                     PETERSEN, LISA
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PETERSEN, LORY                       PETERSEN, MARIEL                      PETERSEN, MICHELLE
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PETERSEN, NANCY                      PETERSEN, RACHEL                      PETERSEN, ROBIN
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PETERSEN, SIERRA                     PETERSEN, TIM                         PETERSEN, TIMOTHY
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PETERSEN, TISHA                      PETERSEN, TYLER                       PETERSEN, URSULA
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PETERS-HOWELL, LUJEANA               PETERS-LEWIS, KAYIN                   PETERSMEYER, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PETERSON DESIGN & CONSTRUCTION       PETERSON, 585                         PETERSON, ALEXANDER
PO BOX 12402                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN LUIS OBISPO, CA 93406
PETERSON, ALEXANDRA Case 22-11238-LSS    DocALEXIS
                                   PETERSON,  2 Filed 11/30/22       Page 3873 of 5495
                                                                          PETERSON, ALYNA
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PETERSON, AMANDA                    PETERSON, AMANDA                      PETERSON, AMANDA
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PETERSON, AMY                       PETERSON, AMY                         PETERSON, AMY
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PETERSON, ANDREA                    PETERSON, ANGEL                       PETERSON, ANGELA
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PETERSON, ANN                       PETERSON, ANNA                        PETERSON, APRIL
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PETERSON, APRIL                     PETERSON, ASHLEY                      PETERSON, ASHLEY
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PETERSON, ASHLEY                    PETERSON, ASTYR                       PETERSON, AUTUMN
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PETERSON, AUTUMN                    PETERSON, BETH                        PETERSON, BETHANY
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PETERSON, BINA                      PETERSON, BRETT                       PETERSON, BROOKE
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PETERSON, BRYAN                     PETERSON, BUFORD                      PETERSON, CALVIN
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PETERSON, CASSIE      Case 22-11238-LSS    DocCATHERINE
                                     PETERSON,  2 Filed 11/30/22      Page 3874 of 5495
                                                                           PETERSON, CHARMAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PETERSON, CHELSEY                    PETERSON, CHRISTINE                   PETERSON, CLAIRE
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PETERSON, CONNIE                     PETERSON, DANIEL                      PETERSON, DAVID
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PETERSON, DAVID                      PETERSON, DEAN                        PETERSON, DEIDRE
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PETERSON, DIANE                      PETERSON, ELISHA                      PETERSON, ELIZABETH
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PETERSON, ELIZABETH                  PETERSON, EMALEE                      PETERSON, EMILY
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PETERSON, EMILY                      PETERSON, EMILY                       PETERSON, ERIK
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PETERSON, EVAN                       PETERSON, GAYLIN                      PETERSON, GREG
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PETERSON, HEATHER                    PETERSON, HILARY                      PETERSON, JADA
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PETERSON, JAIME                      PETERSON, JENNIFER                    PETERSON, JENNIFER
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PETERSON, JERREL      Case 22-11238-LSS    DocJESSICA
                                     PETERSON,  2 Filed 11/30/22      Page 3875 of 5495
                                                                           PETERSON, JILL
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PETERSON, JIM                        PETERSON, JOE                         PETERSON, JOHANNA
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PETERSON, JORDAN                     PETERSON, JUDY                        PETERSON, JULIA
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PETERSON, JULIE                      PETERSON, KALI                        PETERSON, KARIN
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PETERSON, KARLEE                     PETERSON, KATELYN                     PETERSON, KATELYN
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PETERSON, KATHRYN                    PETERSON, KATHY                       PETERSON, KATIE
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PETERSON, KATLYN                     PETERSON, KAVONE                      PETERSON, KAYLA
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PETERSON, KAYLI                      PETERSON, KELLY                       PETERSON, KELLY
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PETERSON, KELLY                      PETERSON, KIM                         PETERSON, KIM
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PETERSON, KIM                        PETERSON, KIMBERLY                    PETERSON, KIRA
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PETERSON, KRISTAL     Case 22-11238-LSS    DocKRISTI
                                     PETERSON,  2 Filed 11/30/22      Page 3876 of 5495
                                                                           PETERSON, KRISTOPHER
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PETERSON, LACIE                      PETERSON, LAURA                       PETERSON, LAURA
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PETERSON, LINDA                      PETERSON, LINDSEY                     PETERSON, LISA
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PETERSON, LORI                       PETERSON, MARIANNE                    PETERSON, MARTHA
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PETERSON, MARY                       PETERSON, MARY                        PETERSON, MAURA
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PETERSON, MEG                        PETERSON, MEGAN                       PETERSON, MEGAN
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PETERSON, MEREDITH                   PETERSON, MICHELLE                    PETERSON, MIKAELA
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PETERSON, MURRAY                     PETERSON, NATALIE                     PETERSON, NATALY
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PETERSON, NICOLE                     PETERSON, PAIGE                       PETERSON, PORSCHE
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PETERSON, RACHEL      Case 22-11238-LSS    DocRAYQWAN
                                     PETERSON,  2 Filed 11/30/22      Page 3877 of 5495
                                                                           PETERSON, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PETERSON, REBECCA                    PETERSON, RICHARD                     PETERSON, RILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PETERSON, RITA                       PETERSON, ROSE                        PETERSON, SAMANTHA
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PETERSON, SARA                       PETERSON, SARAH                       PETERSON, SHAWN
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PETERSON, SHELBY                     PETERSON, SILVIE                      PETERSON, STACEY
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PETERSON, STACY                      PETERSON, STEPHANIE                   PETERSON, STEPHANIE
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PETERSON, SUSAN                      PETERSON, SYDNIE                      PETERSON, TAMMY
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PETERSON, TARYN                      PETERSON, TAYLOR                      PETERSON, TED
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PETERSON, TESS L                     PETERSON, THABER                      PETERSON, TIFFANY
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PETERSON, TYLOR                      PETERSON, VANESSA                     PETERSON, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PETERSON, WILLIAM     Case 22-11238-LSS    DocZACH
                                     PETERSON,  2 Filed 11/30/22           Page 3878 of 5495
                                                                                PETERSON, ZOE
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PETERSON-SMITH, BRENDA                  PETES COFFEE                            PETH, ADAM
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PETHERAM, EMILY                         PETHERICK, MARY                         PETHERICK, TINA
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PETHYBRIDGE, KELSEY                     PETINGE, JENNIFER                       PETISHNOK, LAURA
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PETIT ERMITAGE                          PETIT, BRIAN                            PETIT, BRIAN
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PETIT, EDNA                             PETIT, FRANZISKA                        PETIT, LINDSAY
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PETIT, LINDSAY                          PETITO, DIANE                           PETITT, MALAYSIA
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PETITTI, KRISTINA                       PETIX, LEN                              PETIX, TENA
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PETKO, JACQUIE                          PETKUS, BRYCE                           PETMEZIS, CHRISTINA
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PETNER, ELIZABETH                       PETOVIC, JENNIFER                       PETR ZAYTSEV
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PETR, SAMANTHA        Case 22-11238-LSS    DocEMILY
                                     PETRACEK,  2 Filed 11/30/22      Page 3879 of 5495
                                                                           PETRAGLIA, ANTOINETTE
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PETRAITIS, JULIE                     PETRAITIS, RENATA                      PETRAITIS, STEPHANIE
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PETRAK, SCOTT                        PETRAKIS, E                            PETRAKIS, JACQUELINE
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PETRANEK, PATRICK                    PETRAS, ASHLEY                         PETRAS, DIANA JO D.
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PETRAS, DIANA                        PETRAS, MADDIE                         PETREA, SORIN
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PETREE, CHARLES                      PETREE, JENNIFER                       PETRELLA MILLMAN, DONNA
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PETRELLA, ARIADNE                    PETRELLA, KEN                          PETRELLI, ROBERT
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PETREMONT, AIMEE                     PETRENAS-MANN, EMILY                   PETRENKO, BOHDAN
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PETRENKO, ELENA                      PETRENKO, OLENA                        PETRESCU, LAURA
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PETREY, NICOLE                       PETRI, RALPH                           PETRIC, GARY
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PETRICH, CHLOE        Case 22-11238-LSS     Doc
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PETRICK, HAILEY                      PETRICOLA, HAILEY                      PETRIE VOLM, KIMBERLEE
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PETRIE, EILZABETH                    PETRIE, JULIE                          PETRIE, JUSTIN
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PETRIE, KATHERINE                    PETRIE, LAUREN                         PETRIE, LAUREN
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PETRIE, LOUISE                       PETRIE, MICHAEL                        PETRIGALA, HEATHER
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PETRIKONIS, KATI                     PETRILLO, DEIDRA                       PETRILLO, GINA
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PETRILLO, GWENN                      PETRILLO, JACKIE                       PETRILLO, JAMES
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PETRILLO, JIM                        PETRILLO, ROBERT                       PETRIN, PETER
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PETRINI, ANDREA                      PETRINI, MAUREEN                       PETRINI, RACHEL
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PETRINI, ROSS                        PETRLIK, CHRISTINE                     PETRO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PETRO, JOSHUA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PETRO, NICHOLAS                  Page 3881 of 5495
                                                                           PETROKA, KATHERINE
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PETROLE, ERIKA                       PETRONE, ALEJANDRA                     PETRONE, CARLY
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PETRONELLA, ANTHONY                  PETRONIO, SIMONE                       PETRO-SAKUMA, CAMERON
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PETROSKI, KATIE                      PETROSKI, STEVE                        PETROSKY, CAITLIN
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PETROSKY, DEBORAH                    PETROSKY, OLIVIA                       PETROSSIAN, EMELIA
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PETROU, CHANTELLE                    PETROV, EVGENY                         PETROVIC, KATHRYN
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PETROVICH, MARK                      PETROVITCH, GINA                       PETROW GALINA
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PETROWSKI, MARILYN                   PETRU, LANA                            PETRUCCI, ALISHA
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PETRUCCI, GRETCHEN                   PETRUCCI, JALEN                        PETRUCCI, MAGGIE
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PETRUCCI, STACEY                     PETRUCELLI, ANNETTE                    PETRULIS, TAYLOR
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PETRUS, KARA          Case 22-11238-LSS    DocJAREN
                                     PETRUSICH, 2 Filed 11/30/22      Page 3882 of 5495
                                                                           PETRUSKA, SUMMER
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PETRUSKY, PENNY                      PETRUSO, CHRISTIN                     PETRUSO, KATHY
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PETRUTIS, RIMA                       PETRUZZELLA, NICOLE                   PETRUZZIELLO, CATHY
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PETRUZZIELLO, ELIZABETH              PETRYKOWSKA, IZABELA                  PETSCH, JACI
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PETSICK, LORI                        PETT, KYLE                            PETTAWAY, ASHANTI
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PETTAWAY, MARKELL                    PETTAY, KENDALL                       PETTE, LIA
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PETTENGELL, MEAGAN                   PETTERSEN, TRACY                      PETTERSON, AMITY
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PETTERSON, CLAIR                     PETTERSON, DAVID                      PETTERSSON, SARA
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PETTEY, STEVE                        PETTI, KRISTA                         PETTIBON, KATHERINE
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PETTICREW, ELLEN                     PETTIFORD, LAUNDRELLE                 PETTIGREW, APRIL
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PETTIGREW, KATIE      Case 22-11238-LSS
                                     PETTINE,Doc 2 Filed 11/30/22
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                                                                           PETTINELLI, JENNA
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PETTIS, JORDAN                       PETTIS, RICHARD                        PETTIT, CHRISTINE
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PETTIT, FAUNA                        PETTIT, JOEL                           PETTIT, KIRSTEN
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PETTIT, NICOLE                       PETTIT, TIFFANY                        PETTITT, JACKIE
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PETTOLA, ANDY                        PETTS, JAMIE                           PETTUS, KELSEY
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PETTUS, SANDY                        PETTWAY, ERIQ                          PETTWAY, SAMANTHA
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PETTY, ALISON                        PETTY, DEB                             PETTY, ELITAH
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PETTY, KAITLYN                       PETTY, KATIE                           PETTY, KIMBERLY
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PETTY, KRISTY                        PETTY, LEAH                            PETTY, MADISON
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PETTY, NICOLE                        PETTY, RAVEN                           PETTY, REUBEN
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PETTY, ROBERT         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PETTY, ROSS                      Page 3884  of 5495
                                                                           PETTYGROVE, SCOTT
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PETUYA, LAUREN                       PETZ, JENNIFER                        PETZAK, KATHERINE
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PETZEL, JOHANNA                      PETZKE, SARAH                         PETZOLD, KATHERINE
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PEUGH, EMILY                         PEUGH, EMMA                           PEULECKE, JON
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PEUSER, CARLA                        PEUSER, KATIE                         PEVLER, JAMI
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PEVZNER, RU                          PEW, MORIAH                           PEXA, STACEY
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PEYSAKHOVA, ANASTASIYA               PEYTON BAXTER LLC                     PEYTON SLIMAK
ADDRESS AVAILABLE UPON REQUEST       109 CENTER PARK LN                    ADDRESS AVAILABLE UPON REQUEST
                                     OAK RIDGE, TN 37830




PEYTON, VICTORIA                     PEYTON, WESLEY                        PEZA, ANTONIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEZANOWSKI, JANA                     PEZDARK, ANGELA                       PEZDEK, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PEZOLDT, MEGAN                       PEZZA, CINDY                          PEZZAGLIA, ANNE NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PEZZOLLA, ERIN        Case 22-11238-LSS    Doc
                                     PEZZOLO,    2 Filed 11/30/22
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PEZZUTO, RANDI                       PF CHANGS                               PFABE, SARAH
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PFAEFFLE, JACLYN                     PFAFF, KERRY                            PFAFF, RASHELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PFAFF, VIVIAN                        PFALMER, JENNIFER                       PFALZER, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PFANDER, RHY                         PFANNENSTEIN, AMY                       PFANNENSTIEL, BETHANY
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PFARR, PAMELA                        PFAUTSCH, PAMELA                        PFAUTZ, SABRINA
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PFAUTZ, WILLIAM                      PFEFFER, KARI                           PFEFFER, SUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PFEFFERKORN, KRYSTIN                 PFEFFERLE, SHERRY                       PFEIF, RENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PFEIFER, ALLEGRA                     PFEIFER, ELINOR                         PFEIFER, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PFEIFER, LOUISE                      PFEIFER, MOLLY                          PFEIFER, NAKELI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PFEIFER, SARAH        Case 22-11238-LSS     Doc
                                     PFEIFFER,   2 Filed 11/30/22
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                                                                           PFEIFFER, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PFEIFFER, RALPH                      PFEIFLE, JENN                         PFEIL, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PFEIL, KAYLA                         PFEUFFER, HANNAH                      PFINGST, JOSH
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PFIRMAN, SHAY                        PFISTER, ALEX                         PFISTER, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PFISTER, THOMAS                      PFITZER, KELLY                        PFLANZ, BRYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PFLANZ, DEBORAH                      PFLUEGER, DEVON                       PFLUG PACKAGING AND FULFILLMENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        17500 SHIDELER PARKWAY
                                                                           LATHROP, CA 95330




PFLUG, BRIANNA                       PFLUGNER, SEAN                        PFLUM, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PFOHL, LAURA                         PFORDRESHER, PETER                    PHAISON, CANDICE
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PHAKEOKOTH, SANG                     PHAKSUWAN, RACHEL                     PHALEN, SYDNEY
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PHAM, ANNE                           PHAM, BINH                            PHAM, CASEY
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PHAM, DAT             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PHAM, HANH                       Page 3887  of 5495
                                                                           PHAM, JENNY
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PHAM, KRISTINE                       PHAM, LR                              PHAM, MICHELLE
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PHAM, PETER                          PHAM, SON                             PHAM, STEPHANIE
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PHAM, TERESA                         PHAM, TRANG                           PHAM, TRANG
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PHAM, TUANH                          PHAM, VAN                             PHAM, VIETNAM
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PHAN, CONNIE                         PHAN, HANK                            PHAN, JESSICA
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PHAN, MIMI                           PHAN, QUANG                           PHAN, ROSELYN
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PHAN, THUY                           PHAN, TIEN                            PHAN, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PHANEUF, KYLE                        PHANEUF, LAUREN                       PHANEUF, SANDRA
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PHANI VALIVETI                       PHANIRAJ NAGARAJ                      PHANNARETH, CHIPPER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PHARES, MEGAN         Case 22-11238-LSS
                                     PHARES,Doc 2 Filed 11/30/22
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                                                                             PHARES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PHARIS, DEANNA                       PHARMER, MELISSA                        PHARRIS, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PHASE 2 CELLARS, LLC                 PHASE ONE                               PHASOUVOR, PRESILLA
4910 EDNA RD                         ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
SAN LUIS OBISPO, CA 93401




PHATHOM ATHENA DONALD                PHATUROS, CAROL                         PHEAKTRA CHRIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PHEIFER, CHRISTINA                   PHELAN, BARB                            PHELAN, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PHELAN, KIM                          PHELAN, KRISTEN                         PHELAN, MELANIE
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PHELAN, SARAH                        PHELAN, SARAH                           PHELAN, SCOTT
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PHELAN, SHARON                       PHELAN, THOMAS                          PHELAN, TIM
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PHELPS, ALAINA                       PHELPS, BRAD                            PHELPS, BROOKE
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PHELPS, BROOKE                       PHELPS, CHRISTA                         PHELPS, CHRISTINA
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PHELPS, JESSICA                         PHELPS, LISA                          PHELPS, LORINDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PHELPS, MARCUS                          PHELPS, MEGAN                         PHELPS, MYLES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PHELPS, PAIGE                           PHELPS, ROBIN                         PHELPS, STEPHEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PHELPS, WHITNEY                         PHELPS, WILLIAM                       PHEND, SUZANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PHENE, SHACHI                           PHENIX WINE DISTRIBUTORS              PHENIX, ADRIENNE
ADDRESS AVAILABLE UPON REQUEST          135 AVIATION WAY STE 11B              ADDRESS AVAILABLE UPON REQUEST
                                        WATSONVILLE, CA 95076




PHENOW, MACKENZIE                       PHETHEAN, TARA                        PHETMANIVONG, SOMVANG
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PHIFER, AVIANA                          PHIFER, CHLOE                         PHIFER, JULIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PHIL COGAN                              PHIL STUBEN                           PHILABAUM, CATHY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PHILADELPHIA AIRPORT                    PHILADELPHIA EAGLES LLC               PHILADELPHIA EAGLES
ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN: SR VP BUSINESS                  ONE NOVACARE WAY
                                        NOVACARE COMPLEX                      PHILADELPHIA, PA 19145
                                        ONE NOVACARE WAY
                                        PHILADELPHIA, PA 19145
PHILADELPHIA MAGAZINE Case 22-11238-LSS
                                     PHILBIN,Doc 2 Filed 11/30/22
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                                                                           PHILBRICK, HANNAH
601 WALNUT STREET 200                ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
EAST PHILADELPHIA, PA 19106




PHILEMON RAY STRAHM                  PHILEN, LACEY                          PHILHOWER, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PHILIBOTTE, SANDRA                   PHILIP A MESSIER                       PHILIP A MEYER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PHILIP BEYER                         PHILIP BUDROSE                         PHILIP CISNEROS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PHILIP COLEMAN                       PHILIP DELVECCHIO                      PHILIP DENNIS CLARKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PHILIP FARR                          PHILIP GERONIMO VILLAR                 PHILIP HAYNES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PHILIP HAYTON                        PHILIP JACK                            PHILIP JUL SKOV
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PHILIP KILOLO                        PHILIP MILLER                          PHILIP N DEATHERAGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PHILIP NORDNESS                      PHILIP NORMAN MANLEY ANSTEY            PHILIP OLSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PHILIP SHEEHAN                       PHILIP WYMAN                           PHILIP, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PHILIP, JOHN          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PHILIP, KARLA                    Page 3891
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PHILL CAP (8460)                     PHILLIP ANTHONY JACKSON                PHILLIP GODOROV
ATTN PROXY MGR                       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
141 W JACKSON BLVD
CBOT BLDG, STE 3050
CHICAGO, IL 60604



PHILLIP MOSCA                        PHILLIP RODES JR                       PHILLIP WILLIAM BOYD
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PHILLIP, SATURNE                     PHILLIPPIO, ARMAND                     PHILLIPS, 1801 ODEN WAY
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PHILLIPS, RICHARD                    PHILLIPS, RILEY                        PHILLIPS, RITA
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PHINIZY, ALICE                        PHINNEY, LOREN                        PHIPPS, AMANDA
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PHIPPS, VICTORIA                      PHIPPS-YONAS, SUSAN                   PHLIPOT, ETHAN
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PHONEXAY RAJAMOUNTRY                  PHORAGE                                 PHOTI, KARA
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PHOTIADES, CHRISTINA                  PHREANER, JULIE                         PHUNG, LORI
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PI FIN CORP/CDS (5075)                PI, ELISE                               PI, MIRTZA
ATTN ROB MCNEIL OR PROXY MGR          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
666 BURRARD ST
STE 1900
VANCOUVER, BC V6C 2G3 CANADA



PIA HABERSANG                         PIA, ANDREW                             PIA, KELLI
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PIACENTINI, LAURA                     PIANA, GRACE                            PIANA, SOFIA
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PIANALTO, KERRI                       PIANEZZA, MICHELE                       PIANKA, JOY
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PIATAK, KELLIE                          PIATT, MARIANA                        PIAZZA, FRANCESCA
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PIAZZA, GINA                            PIAZZA, JAMIE                         PIAZZA, JULIE
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PIAZZA, KRISTINE                        PIAZZA, TRISH                         PIAZZA-HARPER, NICOLE
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PIBES, HARRISON                         PIBL, ROMAN                           PIBURN, NICHOLAS
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PICAR, MANUEL                           PICARD, BRITTANY                      PICARD, JULIANA
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PICARD, YVONNE                          PICARIELLO, VINCENT                   PICARONI, ANTHONY
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PICASSO, LAUREN                         PICATCHA INC. (ADSNATIVE)             PICCA, JOEY
ADDRESS AVAILABLE UPON REQUEST          832 SANSOME ST. FOURTH FLOOR          ADDRESS AVAILABLE UPON REQUEST
                                        SAN FRANCISCO, CA 94111
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PICHARDO, CORRINE                    PICHARDO, EMILY                          PICHARDO, KAYLA
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PICHLER, SUZANNE                     PICILLO, SANDRA                       PICK, NICOLE
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PICK, TILDEN                         PICKAR, CHRIS                         PICKARD, ABBI
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PICKARD, EMILY                       PICKARD, MARY                         PICKELL, CHLOE
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PICKENS, ALISON                      PICKENS, ANNABEL                      PICKENS, DAVID
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PICKENS, DAVYA                       PICKENS, GARY                         PICKENS, KIMBERLY
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PICKENS, SAMMI                       PICKENS, STEPHANIE                    PICKER, MELLISSA
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PICKERD, EMILY                       PICKEREL, MARY                        PICKERING, ALIZA
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PICKERING, BETH                      PICKERING, JESSICA                    PICKERING, JOSH
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PICKETT, CRAIG                       PICKETT, CYNTHIA                         PICKETT, DEANDRE
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PICKETT, LAUREN                      PICKETT, MAGON                           PICKETT, MARIANNE
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PICKETT, SAM                         PICKETT, TERESA                          PICKFORD, KATE
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PICKINPAUGH, WAYDE                   PICKLE, CHRIS                            PICKLE, COURTNEY
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PICKLE, TERAH                        PICKLER, BRYAN                           PICKRELL, CLAIRE
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PICKRELL, IAN                        PICKREN, SAGE                            PICKRON, ALLISON
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PICKRON, MOLLIE                      PICNIC LA                                PICNIC WINE COMPANY, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    5200 WILD HORSE VALLEY RD
                                                                              NAPA, CA 94558




PICO, CARMEN                         PICO, IDALIZ                             PICOLLO, SHARON
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PICONE, SABRINA                      PICOTTE, WYLIE                        PICOU, MELANIE
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PICOU, RACQUEL                       PICOWER, BARBARA                      PICTON, JOHN
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PIDAPARTI, ROHAN                     PIDDINGTON, EDWARD                    PIDGEON, KATHRYN
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PIDGEON, REN                         PIDGURSKYY, ALENA                     PIDI, OLIVIA
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PIDSKALNY, SUMMER                    PIDURU, ANU                           PIDUTTI, ELISE
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PIECHOCKI, SARAH                     PIECHOWICZ, MELANIE                   PIECUCH, ISAAC
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PIECUCH, KENNETH                     PIECZARA, LEON                        PIEDMONT, JESSICA
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PIEDRA, KATERINE                     PIEDRAHITA, LUISA                     PIEH, PETER
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PIEHL, AUDREY                        PIEKARSKA, CIRCE                      PIEKARSKI, CAROLINE
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PIEKENBROCK, JANEL                   PIELOCH, DANIELLE                        PIELSTICKER, LILA
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PIENKOWSKI-GUNIA, MARIA              PIEPER, BRIANNA                          PIEPER, CASANDRA
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PIEPER, DARA                         PIEPER, JAMIE                            PIEPER, JULIE
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PIER, TIM                            PIERAMI, TARA                            PIERANGELI, DEVON
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PIERCE, AALIYAH                      PIERCE, ALEX                             PIERCE, ALEXA
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PIERCE, ALLEN                        PIERCE, AMIE                             PIERCE, ANN
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PIERCE, ANNA                         PIERCE, AUSTIN                           PIERCE, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PIERCE, BRYANNA                      PIERCE, CAMRY                            PIERCE, CAROLINE
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PIERCE, CHRISTINA     Case 22-11238-LSS
                                     PIERCE, Doc  2 Filed 11/30/22
                                             CLIFTON                  Page 3905
                                                                           PIERCE,of 5495
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PIERCE, DENNINE                      PIERCE, EILEEN                         PIERCE, EMILY
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PIERCE, ETHAN                        PIERCE, EVE                            PIERCE, FELICIA
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PIERCE, ISABELLE AND STEVE           PIERCE, JEAN                           PIERCE, JELISA
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PIERCE, JESSICA                      PIERCE, JOEY                           PIERCE, KATIE
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PIERCE, KERI                         PIERCE, KERRI                          PIERCE, KOGO
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PIERCE, KRISTINA                     PIERCE, LAMONT                         PIERCE, LEE
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PIERCE, LESLIE                       PIERCE, LINDSEY                        PIERCE, LONA
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PIERCE, LORI                         PIERCE, LYNDA                          PIERCE, MADELYNN
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PIERCE, MARIETTE                     PIERCE, MATTHEW                        PIERCE, MEGHAN
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PIERCE, MICHAEL       Case 22-11238-LSS
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PIERCE, REBECCA                      PIERCE, ROBERT                        PIERCE, SAMANTHA
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PIERCE, SAMANTHA                     PIERCE, TAYLOR                        PIERCE, TIFFANY
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PIERCE, TREY                         PIERCE, VICTORIA                      PIERCE, WANDA
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PIERCE, WENDY                        PIERCE, WILLIAM                       PIERCE-TUREK, HALEIGH
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PIERCEY, JUDY                        PIERCY, CAITLYN                       PIERCY, LEANDRA
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PIERCZYNSKI, ANNA                    PIERETTI, JOE                         PIERICH, KIMBERLY
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PIERING PEDER, PIERING ANDRA         PIERINO, NINA                         PIERITE, EMILY
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PIERNE, ALYSSA                       PIERONI, BRUNO                        PIERPOINT, KIRK
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PIERPOINT, SARAH                     PIERPONT, DAVID                       PIERPONT, DAWN
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PIERRE JACQUES RABIE Case 22-11238-LSS     Doc 2CASSANDRA
                                    PIERRE LOUIS,   Filed 11/30/22    Page 3907
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PIERRE, ALBERTA                      PIERRE, CARLA                          PIERRE, CARYL
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PIERRE, DANIELLE                     PIERRE, DAPHNIE                        PIERRE, HEATHER
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PIERRE, KATIE                        PIERRE, KIMBERLY                       PIERRE, LEANNA
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PIERRE, RICKEY                       PIERRE, ROSE                           PIERRE, SHERLEY
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PIERRE-ANTOINE, PHIL                 PIERRELOUIS, ELIE                      PIERRE-LOUIS, ENOLD
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PIERRE-LOUIS, JESSICA                PIERRET, JULIE                         PIERRO, PAIGE
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PIERRO, STEPHANIE                    PIERRO, VANESSA                        PIERRO, VICTORIA
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PIERRON, JACKIE                      PIERROT, CHRISTEN                      PIERSA, JACOB
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PIERSEE, JENNIFER                    PIERSOL, GINGER                        PIERSOL, RANDY
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PIERSON, AIMEE        Case 22-11238-LSS    Doc
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                                                                           PIERSON, 5495
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PIERSON, GABRIELLA                   PIERSON, HALEY                         PIERSON, JORDAN
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PIERSON, KAREN                       PIERSON, KENNY                         PIERSON, KIMBERLY
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PIERSON, KRYSTLE                     PIERSON, LORI                          PIERSON, MICHELE
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PIERSON, RACHEL                      PIERSON, ROCHELLE                      PIERSON, STEPHEN
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PIERZ, MONIQUE                       PIES, COURTNEY                         PIESCHEL, LINDSEY
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PIET, DAVE                           PIETER JEROEN VREEDE                   PIETRAFITTA, JENNIFER
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PIETRAK, TRIPP                       PIETRANTONI, PAOLA                     PIETRAS, ASHLY
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PIETRAS, HANNAH                      PIETRAS, KASIA                         PIETRASZ, MARIUSZ
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PIETRASZAK, EWA                      PIETRI, ISSIS                          PIETRI, ROXANNA
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PIETROCOLA, ALEXANDER Case 22-11238-LSS     Doc 2MICHAEL
                                     PIETROFORTE,    Filed 11/30/22   Page 3909  of 5495 GABRIELLE
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PIETRUSINSKI, JEFFREY                PIETRUSINSKI, OLIVIA                  PIETRUSZKA, ROB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PIETRUSZYNSKI, CINDY                 PIETRYKOWSKI, BRENNA                  PIETRYKOWSKI, SYDNEY
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PIETRZAK, DOUG                       PIETRZAK, RACHEL                      PIETSCH, MICHELLE
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PIETZ, ALEXANDRA                     PIETZSCH, RENEE                       PIETZYK, THERON
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PIFER, WHITNEY                       PIFFARD, BERNADETTE                   PIG BEACH
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PIGEON, MONICA                       PIGG, ALEXANDER                       PIGG, KAISHA
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PIGG, SUZI                           PIGGINS, PATRICIA                     PIGGOTT, NEIL
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PIGGOTT, STEVEN                      PIGLIUCCI, ALEX                       PIGMAN, MAX
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PIGNATIELLO, JODY                    PIGNETTI, PATRICIA                    PIGNON, AMANDA
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PIGOTT, SARAH                        PIJACKI, CASSANDRA                    PIKARSKY, ALEXANDER
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PIKARSKY, AMPARO                     PIKE, BROOKE                          PIKE, CHERYL
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PIKE, HEATHER                        PIKE, JORDYN                          PIKE, KACEY
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PIKE, LESLIE                         PIKE, LINDSEY                         PIKE, MELANY
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PIKE, RACHEL                         PIKE, ROSANNA                         PIKE, SARAH
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PIKE, SHELBY                         PIKE, STEVEN                          PIKE, TAMMY
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PIKHART, JENNIFER                    PIKHARTOVA, KLARA                     PIKNIC
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PIKOVER, YURI                        PIKSCHER, ANDREA                      PIKULSKI, EVAN
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PIKUS, WENDY                         PILA, KATIE                           PILALAS, CHRIS AND MARTI
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PILALAS, ERIN         Case 22-11238-LSS
                                     PILAND, Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PILAT, SHELBY                        PILATO, KATY                          PILATO, MIA
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PILCH, PAMELA                        PILE, COM                             PILE, THOMAS
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PILEGGI, KATHLEEN                    PILENZA, STEPHANIE                    PILET, STEPHANIE
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PILETTI, GIANCARLO                   PILGRIM, AILEEN                       PILGRIM, ALEXANDRA
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PILIEN, FRANCESCA                    PILIERO, MICHAEL                      PILIPOSYAN, LUSINE
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PILKENTON, JAMES                     PILKILTON, KIMBERLY                   PILKINGTON, MARK
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PILKINGTON, NINA                     PILKINTON, MICHELLE                   PILLAI, CHANDRAN
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PILLAI, KESHAV                       PILLAR, RACHEL                        PILLATZKE, LORI
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PILLAY, SALLY                        PILLER, ALAN                          PILLET, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PILLEUX-PETRONIA, KELLY Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                       PILLEY, LISA                     Page 3912  ofMICHELLE
                                                                             PILLOFF, 5495
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PILLON, MATTHEW                       PILLSBURY WINTHROP SHAW PITTMAN LLP     PILLSBURY, CHELSEA
ADDRESS AVAILABLE UPON REQUEST        500 CAPITOL MALL, STE 1800              ADDRESS AVAILABLE UPON REQUEST
                                      SACRAMENTO, CA 95814




PILLSBURY, KARA                       PILLSBURY, ZACHARY                      PILMAR, LARISSA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PILONE, CHERRILL                      PILOT RESEARCH AND DEVELOPMENT INC.     PILOT, RAYVN
ADDRESS AVAILABLE UPON REQUEST        816 BANCROFT WAY                        ADDRESS AVAILABLE UPON REQUEST
                                      BERKELEY, CA 94710




PILOWA, CARA                          PILSNER, MEGAN                          PILTZER, AMANDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PILTZER, DANIEL                       PILUSO, STEVEN                          PIM, MOLLY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PIMAS, DANIEL                         PIMENTEL, DENISE                        PIMENTEL, GENESIS
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PIMENTEL, JESSY                       PIMENTEL, LISA                          PIMENTEL, LISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PIMENTEL, MARS                        PIMENTEL, MIGUEL                        PIMENTEL, NATHALIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PIMM, CAMERON                         PIMM, MARY                              PIMPINELLI, JACKIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PINA, AJA             Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PINA, CATHLEEN                      Page 3913   of 5495
                                                                              PINA, JOHANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PINA, LUIS                              PINA, MARIA                           PINARD, BARBARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINATAS                                 PINAULT, ANGELIQUE                    PINCAS, MARISA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINCH, KEERIN                           PINCH, SHARON                         PINCHME
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        611 BROADWAY SUITE 308
                                                                              NEW YORK, NY 10012




PINCHOFF, MARK                          PINCHOT, ANTHONY                      PINCKARD, KRYSTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINCKNEY III, ISAIAH                    PINCKNEY, ALICIA                      PINCKNEY, ANNETTE
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PINCKNEY, JESSICA                       PINCKNEY, KAYLA                       PINCUS, DANNA
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PINCUS, LAURA                           PINCUS, ZACHARY                       PINDELL, TANYA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINDER, BRIAN                           PINDER, GARRETT                       PINDER, JULIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINDER, KAMINA                          PINDER, KRISTEN                       PINDZOLA, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PINE, ALYSSA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PINE, JONI                       Page 3914   of 5495ON
                                                                           PINE, PREMIERE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINE, SHANNON                        PINEAULT, BRENDAN                     PINEDA, AMBER
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PINEDA, ARIEL                        PINEDA, ARMINDA                       PINEDA, BEATRIZ
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PINEDA, CAROL                        PINEDA, CAROLINA                      PINEDA, CHELSEA
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PINEDA, CHRISTOPHER                  PINEDA, CLAUDIA                       PINEDA, EDE
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PINEDA, EVA                          PINEDA, JESSICA                       PINEDA, JONATHAN
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PINEDA, MARCO                        PINEDA, MARIO                         PINEDA, MIA
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PINEDA, MIMI                         PINEDA, NICOLE                        PINEDA, VIVIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINEDO, CHELSEA                      PINEDO, VANESSA                       PINEGAR, CHELSEIGH
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PINEGAR, LAURA                       PINEIRO, AMY                          PINEIRO, CAROLINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PINEIRO, ELIZABETH    Case 22-11238-LSS
                                     PINEIRO,Doc  2 Filed 11/30/22
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                                                                           PINEIRO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINEIRO, NAISHALEE                   PINEL, VICTORIA                       PINELL, BRIGETTE
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PINELL, JOSE                         PINELL, STEPHEN                       PINERO, RICK
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PINES, HENRY                         PINES, IRINA                          PINES, JODI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINESETT, CHRISTIAN                  PINESICH, BRIT                        PINETTE, RANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PING CHIEN FENG                      PING, ALEXANDRA                       PING, ANNETTE
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PINGA, DANIELLE                      PINGEL, JACKIE                        PINGREE, KRISTEN
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PINHEIRO, CARIANNE                   PINHEIRO, FLAVIO                      PINHEIRO, VICTORIA
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PINHO, CHRISTOPHER                   PINHO, JOSEPH                         PINIEWSKI, BARBARA
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PINIEWSKI, KATE                      PINILLA, KAREN                        PINK, BONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PINK, DAISY           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PINK, KATHERINE                  Page 3916   of 5495
                                                                           PINK, LOVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINK, VIRGINIA                       PINKARD, ELISABETH                    PINKE, ABBY
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PINKEKMAN, MICHELLE                  PINKELE, ABIGAIL                      PINKERT, BARBARA
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PINKERTON, LISA                      PINKERTON, NIKKI                      PINKETT, APRIA
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PINKHAM, CARRIE                      PINKHAM, THERESA                      PINKHASOV, OLGA
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PINKNEY, AISHIA                      PINKNEY, ANTIONETTE                   PINKNEY, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINKNEY, KRISTEN                     PINKNEY, TIMOTHY                      PINKOS, JESSICA
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PINKOWSKI, JANE                      PINKOWSKI, NICOLE                     PINKS, ASHLEE
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PINKS, MATTHEW                       PINKSTON, CATHY                       PINKSTON, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PINKSTON, SAMANTHA                   PINKSTON, TARA                        PINKUS, LEV
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PINNACLE COMMUNICATIONCase  22-11238-LSS
                       SERVICES, INC         Doc
                                      PINNACLE    2 Filed CORPORATION
                                               CONTRACTING   11/30/22 Page 3917   of VINEYARDS,
                                                                           PINNACLE  5495       LLC.
730 FAIRMONT AVENUE                   21800 BURBANK BLVD 210               1006 SEGOVIA CIRCLE
GLENDALE, CA 91203                    WOODLAND HILLS, CA 91367             PLACENTIA, CA 92870




PINNAPUREDDY, KANCHANA                 PINNETTE, ELLEN                        PINNEY, GLORIA
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PINNEY, NATALIE                        PINNIX, JOEL                           PINNOCK, CINDY
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PINNOW, MIMI                           PINO, ELIED                            PINO, JENNIFER
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PINO, JESS                             PINO, LIZ                              PINO, MICHELLE
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PINO, MIRIAM                           PINO, NIKOLE                           PINO, ZACH
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PINON, AMANDA                          PINON, CAT                             PINOU, ARIANNA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PINQUOCH, BRIANNA                      PINSAK, SAMANTHA                       PINSIGHT MEDIA INC. (PINSM3)
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         1100 MAIN ST. SUITE 1500
                                                                              KANSAS CITY, MO 64105




PINT, JOHN                             PINT, OLIVIA                           PINTADO, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PINTAVALLE, RITA                       PINTER, VANESSA                        PINTEREST INC.
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         PO BOX 74008066
                                                                              CHICAGO, IL 60674-8066
PINTO, ALYSA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PINTO, ANN                       Page 3918   of 5495
                                                                           PINTO, ARIANA
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PINTO, CHRIS                         PINTO, DEBORAH                        PINTO, JESSICA D
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PINTO, JO                            PINTO, KEITH                          PINTO, KUMKUM
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PINTO, M                             PINTO, MARIA                          PINTO, MARYKATE
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PINTO, MEGAN                         PINTO, VALERIA                        PINTUFF, RONALD
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PINUELAS, LAUREN                     PINZON, ADRIANA                       PINZON, CAROLINA
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PINZONE, JULIA                       PIO, DANIELLE                         PION, ISAMAR
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PION, JACQUELINE                     PIONTEK, ANGEL                        PIONTEK, LINDA
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PIONTEK, MALINA                      PIOTR BANDYK                          PIOTR GREGORCZYK PHOTOGRAPHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        66A CHURCH ROAD
                                                                           LONDON CR4 3BU
                                                                           UNITED KINGDOM




PIOTR KUCZYNSKI                      PIOTROWSKI, NANCY                     PIOVANO, MADDALENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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PIP IMPORTS AND DOMESTICS, LLC22-11238-LSS     Doc AND
                                        PIP IMPORTS 2 DOMESTICS,
                                                        Filed 11/30/22
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                                                                              PIPAL, KRISTEN
103 OLD FORGE XING                      PA LIQUOR CONTROL BOARD SW            ADDRESS AVAILABLE UPON REQUEST
DEVON, PA 19333                         DISTRIBUTION CENTER
                                        100 PAPERCRAFT PARK
                                        PITTSBURGH, PA 15238



PIPER, ALICIA                          PIPER, AMANDA                          PIPER, AMBROSIA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PIPER, ANGELIQUE                       PIPER, ASHLEY                          PIPER, CHRISTINE
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PIPER, ELAINE                          PIPER, JOHN-PAUL                       PIPER, STACY
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PIPES, CARVIS                          PIPHER, E.B.                           PIPINO, JESSICA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PIPITONE, ANNETTE                      PIPITONE, MADELEINE                    PIPITONE, RACHEL
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PIPKA, JOSH                            PIPKIN, ERIN                           PIPKIN, JORDAN
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PIPKIN, SARAH                          PIPLANI, VARUN                         PIPPAS, ELLIE
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PIPPENGER, MACKENZIE                   PIPPERT, ROBYNE                        PIPPIN, CRYSTAL
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PIPPIN, JULIA                          PIPPIN, JULIE                          PIPPINS, DEANA
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PIPPINS, ODELL        Case 22-11238-LSS    Doc
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                                                                           PIRE, UTTAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PIRICHY, KAY                         PIRIS PEREZ, ELLEN                    PIRKEY, ANNA
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PIRKEY, HALEY                        PIRKLE, CHARLES                       PIRNER, IAN
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PIRNKE, DENAE                        PIRNKE, LINDA                         PIRO, HOPE
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PIRO, JARRED                         PIRO, JENNY                           PIROFSKY, ALEXA
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PIROG, LIZ                           PIRON, CHRISTINA                      PIRON, FRANCOISE
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PIROTTO, KAREN                       PIROZZI, ELIZABETH                    PIROZZI-RIOLO, JANET
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PIRRI, LAUREN                        PIRRO, GABRIELLE                      PIRRONE, ELISABETH
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PIRRONE, MADISON                     PIRROTTA, ANDREW                      PIRSCH, CARA
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PIRSCHEL, MARK                       PIRTLE, BROOKE                        PIRTLE, HEATHER
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PIRTLE, JAMES         Case 22-11238-LSS
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PIRUZZA, ANTHONY                     PISANI, ALEXANDER                     PISANI, ANNE
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PISANI, CASEY                        PISANI, LISA                          PISANO, ALEX
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PISANO, BRITTNEY                     PISANO, LEIGH ANN                     PISARCIK, MICHAEL
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PISARENKO, JESSICA                   PISARO, JONATHAN                      PISCADLO, MIKE
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PISCETELLI, MICHAEL                  PISCHL, ANA                           PISCHNER, ISABELLA
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PISCIOTTA, KATHRYN                   PISCITELLI, AMANDA                    PISCITELLI, ANTHONY
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PISCITELLI, KATHY                    PISCITELLO, LAUREN                    PISCITELLO, PETER
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PISCO MEDIA GROUP LLC                PISCO, AMBER                          PISCOPINK, ERIN
DBA THE SOCIABLE SOCIETY             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
4500 PARK GRANADA SUITE 202
CALABASAS, CA 91302




PISCOPO, NICHOLAS                    PISEGNA, JESSICA                      PISHAL, ALEXANDER
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PISHAW, JEAN          Case 22-11238-LSS     Doc
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PISNER, SUSAN                        PISTACCHIO, ANNA                       PISTOLA, JENNIFER
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PISTORIO, LAUREN                     PISTORIO, MARIA                        PISTORIUS, MAEGAN
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PISZAK, CECILIA                      PISZAR, JIM                            PIT FIRE ARTISAN PIZZA
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PITARYS, JAMES                       PITASI, ALYSSA                         PITASSI, SAM
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PITCHER, 7596                        PITCHER, ADRIANA                       PITCHER, BREANNA
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PITCHER, CHRISTINA                   PITCHER, KATIE                         PITCHFORD, JEAN
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PITCHFORD, MELISSA                   PITEO, HELEN                           PITERA, ASHTON
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PITERA, GRACE                        PITERA, RUDY                           PITINGORO, MANDY
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PITLIK, MATTHEW                      PITOCCO, ALICIA                        PITOCK, ALEXIS
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PITONZO, MARIANNA     Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PITRE, CHRISTINA                 Page 3923   of 5495
                                                                           PITRE, CLARENCE
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PITSCHKA, CHAD                       PITT, ALYSSA                           PITT, CHRISSY
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PITT, LISA                           PITT, SAM                              PITTARD, JONATHAN
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PITTARD, PAYTON                      PITTARI, AMY                           PITTE, JANE
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PITTELLI, WENDY                      PITTELMAN, EMMA                        PITTENGER, ANDREW
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PITTINGER, BROOKLYN                  PITTMAN, ALEXANDRA                     PITTMAN, AMANDA
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PITTMAN, ANDRE                       PITTMAN, ANGELA                        PITTMAN, ANTHONY
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PITTMAN, BRENDA                      PITTMAN, BRITTANY                      PITTMAN, BROOKE
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PITTMAN, CANDACE                     PITTMAN, DAVID                         PITTMAN, ERIN
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PITTMAN, JESSICA                     PITTMAN, KATEY                         PITTMAN, MARGARET
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PITTMAN, MICHAEL      Case 22-11238-LSS     Doc
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                                                                           PITTMAN, 5495
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PITTMAN, SHANIAH                     PITTMAN, TARA                         PITTMAN-CAPWELL, LELLIE
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PITTNER, DOROTHY                     PITTS, ASHLEY                         PITTS, DANIELLE
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PITTS, EMERALD                       PITTS, JESSICA                        PITTS, LAKEISHA
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PITTS, LEANDRA                       PITTS, MARTIN                         PITTS, NANCY
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PITTS, SYDNEY                        PITTS, TAYLOR                         PITTSLEY, MICHELLE
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PITTS-POWELL, JOHNITA                PITZ, JAMES                           PITZEN, KRISTEN
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PITZER, ASHLEY                       PITZER, ELIZABETH                     PITZER, LAUREN
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PIUS FOHN                            PIVAK, AMY                            PIVARNIK, ALEX
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PIVARNIK, LINDSEY                    PIVEC, JAY                            PIVEN, LADA
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PIVIK, DIANE          Case 22-11238-LSS      Doc 2 INC
                                     PIVOT INTERIORS Filed 11/30/22 Page 3925    ofPUBLIC
                                                                           PIVOTAL  5495RELATIONS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING 544 SOUTH SAN VICENTE BOULEVARD
                                                                           LOS ANGELES, CA 90048




PIVOTAL SOFTWARE INC.                   PIVOVARNIK, KATHLEEN                    PIXLEY, THOMAS
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PIYATISSA, PUSHPA                       PIZARRO, ERIN                           PIZARRO, JANNELYNESHCKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PIZARRO, MADELLINE                      PIZARRO, MARIA                          PIZARRO, MARIA
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PIZARRO, ZACHARY                        PIZZA HUT                               PIZZA PEDDLER
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PIZZA REPUBLICA                         PIZZA, MARGARET                         PIZZELLA, TIMOTHY
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PIZZICA, JESSICA                        PIZZIGONI, JOHN                         PIZZO, JENNIFER
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PIZZO, NICOLE                           PIZZO, TAYLOR                           PIZZUTI, ALLISON
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PIZZUTO, ANGELA                         PLA, ARYAM                              PLACE, COURTENAY
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PLACE, FARLEY                           PLACE, JOY                              PLACEK, KASIA
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PLACET, DINORAH       Case 22-11238-LSS    Doc
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PLACKO, JEFF                         PLACKOWSKI, NATALIE                     PLAIA, LISA
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PLAIL, ETHAN                         PLAISANCE, AMY                          PLAISIMOND, CHARLES
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PLAISIMOND, TANIA                    PLAISIR, JUDE                           PLAISIR, MICHELLE
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PLAISSAY, ALEXANDRA                  PLAJA-CORDERO, CARMEN                   PLAKYDA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLAMBECK, SARA                       PLAN, MICHELLE                          PLANCARTE, MALENY
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PLANCHARD, KIPP                      PLANCK, MALLORY                         PLANEK, KATHLEEN
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PLANGGER, ELI                        PLANJE, ALEXANDRA                       PLANK, GREGORY
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PLANKERS, MEGHAN                     PLANOLY                                 PLANSON, VICTORIA
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PLANT, CHRISTINE                     PLANT, JOSEPHINE                        PLANTE, JESSICA
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PLANTE, KELSEY        Case 22-11238-LSS
                                     PLANTE,Doc 2 Filed 11/30/22
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PLANTING, HADLEY                        PLANTRONICS-DIRECT LLC                  PLANTS, KALEY
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PLANTZ, ARIEL                           PLANZ, ALEXA                            PLAS, SAMANTHA
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PLASCENCIA, GRACE                       PLASCENCIA, TANYA                       PLASHA, SARAH
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PLASKET, CATHERINE                      PLASKON, CHRISTINA                      PLASMYER, AVA
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PLASSE, KATHLEEN                        PLASSE, KATHLEEN                        PLASTER, REGA
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PLASTIC CARD                            PLASTICBAGSONSALES.COM INC              PLATA, CAITLIN
ADDRESS UNAVAILABLE AT TIME OF FILING   (APLASTICBAG.COM)                       ADDRESS AVAILABLE UPON REQUEST
                                        4023 TRAILCREEK RD
                                        RIVERSIDE, CA 92505




PLATAS, VALENTINA                       PLATE, BARBARA                          PLATENYK, KEITH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLATEPASS                               PLATH, OLIVIA                           PLATINUM SOLUTIONS LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          9057 NW 45 STREET
                                                                                SUNRISE, FL 33351




PLATO, BOB                              PLATT, BOOTH                            PLATT, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PLATT, COURTNEY       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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PLATT, ERIC                          PLATT, GERALD                           PLATT, HENRY
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PLATT, JOHANNA                       PLATT, JOHN                             PLATT, MELISA
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PLATT, MELISSA                       PLATT, SAMANTHA                         PLATT, VERNITA
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PLATT, WARRICK                       PLATTE, DANIELLE                        PLATTE, PHILLURY
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PLATTER, ROCHELLE                    PLATTS, LILLY                           PLATTUS, RACHEL
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PLATZ, CODY                          PLATZER, JAMIE                          PLAUGHER, AARON
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PLAXICO, JAMES                       PLAYA PROVISIONS                        PLAYER, AUSTIN
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PLAYER, WARREN                       PLAZA, DEBORAH                          PLAZA, LOURDES
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PLAZOLA, CHRISTINE                   PLEASANT, MAURITA                       PLEASNICK, KARA
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PLECITY, NICOLE       Case 22-11238-LSS    Doc
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                                                                                   ASHLEY
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PLEDGER, BRITTANY                    PLEFKA, KELSEY                        PLEGGE, MICHELLE
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PLEGGENKUHLE, GRETCHEN               PLEIMAN, KATHRYN                      PLEIMAN, REGINA
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PLEIN, ABBEY                         PLEINESS, KASIE                       PLEISCH, NIKLAUS
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PLEITEZ, EDUARDO                     PLEMMONS, JESSICA                     PLEMMONS, SARAH
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PLEMONS, JESSICA                     PLESCHA, ANN                          PLESS, ANNA
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PLESS, KARYN                         PLESSETT, LINDA                       PLETCHER, SONYA
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PLETCHER,, JULI,                     PLETT, ANGELA                         PLETZ, CARLY
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PLEWES, DARREN                       PLEWS, BARBARA                        PLEYDELL-BOUVERIE, JEREMY
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PLICKETT, LENAH                      PLIEGO-SANCHEZ, JONATHAN              PLIMPTON, EUFEMIA
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PLINE, CATHERINE      Case 22-11238-LSS
                                     PLISKA, Doc  2 Filed 11/30/22
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PLITSAS, ANNA                        PLITT, CAITLIN                         PLITT, STEPHANIE
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PLOCH, SARA                          PLOCHARCZYK, ROBIN                     PLOCICA, MARGARET
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PLOCK, MISTY                         PLOEN, LIZZY                           PLOFKER, DYLAN
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PLOGGER, SAMANTHA                    PLONSKI, LAUREN                        PLOOF, MATTHEW
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PLOPLIS, MARIA                       PLOTKIN, RINA                          PLOTNER, KAYLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PLOTNER-HERNANDEZ, JODY              PLOTNIKOV, DAVID                       PLOTNIKOVA, ANASTASIA
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PLOTT., CINDI                        PLOTTS, CAROL                          PLOUFFE, MEGAN
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PLOURDE, DIANE                       PLOURDE, JEAN                          PLOURDE, JENNIFER
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PLOURDE, JOSEPH                      PLOURDE, KATLYN                        PLOURDE, MEGAN
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PLOURDE, SARAH        Case 22-11238-LSS    Doc
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                                                                             PLOURDE-COLE,
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PLOVER, AMY                          PLOWEY, MICHELLE                        PLOWMAN, ANGELA
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PLOWMAN, JANEL                       PLOWMAN, KRISTI                         PLOWMAN, MARISSA
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PLOWSHAY, JULIE                      PLS TRANSPORTATION                      PLUCINSKI, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




PLUCKER, CAROLINE                    PLUCKER, HEATHER                        PLUCKER, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLUCKNETT, SUSAN                     PLUE, LINDA                             PLUMB, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLUMB, WENDY                         PLUMER, JULIE                           PLUMER, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLUMLEY, BENJAMIN                    PLUMMER, AMANDA                         PLUMMER, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLUMMER, BREANN                      PLUMMER, LYNN                           PLUMMER, MALONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLUMMER, PIPER                       PLUMMER, SHANE                          PLUNK, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
PLUNKETT, ANNIE       Case 22-11238-LSS    Doc
                                     PLUNKETT,   2 Filed 11/30/22
                                               BRITTANY                  Page 3932  of 5495
                                                                              PLUNKETT, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PLUNKETT, MARIA                       PLUNKETT, MATTHEW                       PLUNKETT, NICOLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLUNKETT, PAMELA                      PLUNKETT, SHERRY                        PLUNKETT, VALERIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLURALSIGHT                           PLUS VENTURES                           PLUSHANSKI, CHELSEA
DEPT CH 19719                         ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
PALATINE, IL 60055-9719




PLUSKWIK, CARLY                       PLUSMEDIA, LLC                          PLUT, DAVID
ADDRESS AVAILABLE UPON REQUEST        100 MILL PLAIN ROAD 4TH FLOOR           ADDRESS AVAILABLE UPON REQUEST
                                      DANBURY, CT 06811




PLUTA, JANE                           PLUTA, SHELLY                           PLUTA-EHLERS, ARABELLA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLUTE, SELENA                         PLUTO, DIANA                            PLUVIOSE, MISE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PLYLER, EDWARD                        PLYLER, HARRIET                         PMITZEL, WENDY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PMM3MD INC 401K PROFIT SHARING PLAN   PNC BANK, NATL ASSOC (2616)             PO
ADDRESS AVAILABLE UPON REQUEST        ATTN EILEEN BLAKE OR PROXY MGR          ADDRESS UNAVAILABLE AT TIME OF FILING
                                      8800 TINICUM BLVDT
                                      MS F6-F266-02-2
                                      PHILADELPHIA, PA 19153



POAGE, DEVON                          POALISE, VICTORIA                       POALSES, KEVIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
POARCH, CAROLINE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     POAT, JESSICA                      Page 3933 of 5495
                                                                             POBLANO, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




POCALYKO, JESSICA                    POCHIN, PAUL                            POCHINSKAS, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




POCIASK, CORINNE                     POCIC, HEATHER                          POCKETT, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




POCKNETT, SHEILA                     POCZCIWINSKI, SARAH                     PODAS, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PODCASTONE                           PODELL, LORI                            PODERZAY, MARIA
SALES LLC                            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
335 NORTH MAPLE DRIVE
BEVERLY HILLS, CA 90210




PODESTA, PRISCILA                    PODGORNIAK, JANE                        PODGURSKI, MARCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PODGUSKI, LINDSEY                    PODIER, COMFORT                         PODOB, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PODOLSKI, CLAUDIA                    PODOSEK, ERICA                          PODOSEK, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PODOWICZ, RILEY                      PODPESKAR, TRACY                        PODPLESKY, ANGELIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PODRUCHNY, ALEX                      PODS                                    PODSIADLO, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
PODTRAC, INC.          Case 22-11238-LSS    Doc
                                      PODTRAC, INC.2   Filed 11/30/22   Page 3934  of 5495
                                                                             POE, BRIANNAH
711 N FAYETTE STREET                   PO BOX 30576                          ADDRESS AVAILABLE UPON REQUEST
ALEXANDRIA, VA 22314                   ALEXANDRIA, VA 22310




POE, CHELSEA                           POE, CHELSEA                          POE, CONSTANCE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POE, CYNTHIA                           POE, JORDANNA                         POE, KENNEDY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POE, LINDSEY                           POE, LINDY                            POE, MADELINE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POE, MARGARET                          POE, NICOLE                           POE, SAMMIE
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POE, TERESA                            POE, VERONICA                         POE, VERONICA
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POEHLER, KATHLEEN                      POELSMA, GABBY                        POEPPELMEIER, MARIA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POEPPELMEIER, MARK                     POFF, MICHELLE                        POFFENBERGER, CHASE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POGANSKI, KIMBERLY                     POGGI, ANDREA                         POGGI, MELLIE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POGIOLI, MARTIN                        POGLITSCH, BRADLEY                    POGODA, HALEY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POGORELCE, KATE       Case 22-11238-LSS    Doc 2KYRYLO
                                     POGREBENKO,     Filed 11/30/22   Page 3935 ofROBYN
                                                                           POGROB, 5495
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POGUE, JENNY                         POGUE, JONATHAN                       POGUE, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POGUE-MOHAMMED, IAN                  PO-HAN CHEN                           POHJOLAINEN, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POHL, AMANDA                         POHL, CHELSEY                         POHL, EMILY
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POHL, KATHY                          POHL, PATRICIA                        POHL, ROBERT
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POHLABEL, HEATHER                    POHLMAN, CATHERINE                    POHLMAN, LAURA
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POHLMAN, LEEANN                      POHOVEY, GENNIFER                     POINAR, ZACH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POINDEXTER, B                        POINDEXTER, BECKY                     POINDEXTER, BECKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POINDEXTER, LINDSEY                  POINDEXTER, MINDY                     POINTER CREATIVE INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        62 YORK ST
                                                                           OTTAWA, ON K1N 5T1
                                                                           CANADA




POINTER, LAUREN                      POINTER, MADELINE                     POINTON, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POIRIER, REBECCA      Case 22-11238-LSS
                                     POIRIER,Doc  2 Filed 11/30/22
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                                                                              POIRIER, 5495
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POIROT, ALLISON                         POIRSON, BRITTANY                     POITRAS, ALEX
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POJE, KRISTEN                           POJEDINEC, RONALD                     POKE BISTRO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




POKE POKE                               POKER, AMY                            POKER, ZACH
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POKORNEY, KARI                          POKORNY, BONNIE                       POKORNY, BRAD
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POKORNY, DARIENNE                       POKORNY, MELANIE                      POKRANDT, IAN
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POKRASS, SERENA                         POKRIEFKE, ROBERT                     POKRUD, PETE
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POKRZYWA, TASHA                         POL, WILLIAM                          POLACEK, AVERY
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POLACEK, DREW                           POLAK, ABBY                           POLAK, REBECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLANCO, DAVID                          POLANCO, ELIZABETH                    POLANCO, MABEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POLANCO, MERCEDES     Case 22-11238-LSS
                                     POLAND,Doc  2 Filed 11/30/22
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                                                                           POLAND, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLAND, ELIZABETH                    POLANICH, KATY                        POLANSKI, CHARLES
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POLANSKY, MARISA                     POLASCIK, SAMANTHA                    POLASKI, ALAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLASKO, JULIE ANN                   POLATIN, JEE                          POLAY, SUZANNE
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POLDINO, CASEY                       POLE, AMY                             POLE, RJ
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POLENSKE, KARINA                     POLEPALLE, SAPAN                      POLETTI, CATHY
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POLETTI, JUNE                        POLEVOY, JEFFREY                      POLEWARCZYK, PATTY
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POLEY, ARIEL                         POLGAR, RICHARD                       POLGLASE, AMY
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POLHAMUS, ELLEN                      POLHEMUS, CHEYENNE                    POLI, DOROTHY
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POLIAK, DESIREE                      POLIAK, LINDSEY                       POLICARPO SAGARAL
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POLICASTRO, CHRISTINE Case 22-11238-LSS     Doc JUAN
                                     POLICASTRO, 2 Filed 11/30/22     Page 3938
                                                                           POLICE,of 5495
                                                                                   ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLICELLI, AMY                       POLIDOR, NANCY                        POLIDORO, SAMANTHA
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POLIHROM, ALEXANDRA                  POLIMENI, LESLEY                      POLING, CRYSTAL
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POLING, SHARLA                       POLIO, VICTORIA                       POLIS, CHARLES
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POLISCIUC, DMITRII                   POLISKY, BLAKE                        POLITE, JOIE
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POLITE, NATALIE                      POLITE, NECOLE                        POLITI, AMANDA
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POLITO, ALEXANDER                    POLITO, DARLENE                       POLITO, JACQUELYN
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POLITOWSKI, SARA                     POLITTE, JOLEEN                       POLITZ, ALEXIS
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POLIZZI, AMY                         POLIZZOTTI, MARK                      POLK, BECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLK, CHEZLEY                        POLK, COURTNEY                        POLK, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POLK, ERIN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     POLK, JACKIE                     Page 3939   of 5495
                                                                           POLK, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLK, KELLY                          POLK, LARRY                           POLK, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLK, MIYA                           POLK, SKYE                            POLKE, LINDSEY
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POLKEY, LONI                         POLL, MARGE                           POLLACK, BRIDGET
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POLLACK, CAMERON                     POLLACK, CATHERINE                    POLLACK, ELISSA
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POLLACK, ELYSE                       POLLACK, GINGER                       POLLACK, JOSHUA
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POLLACK, MARGUERITE                  POLLAK, DEREK                         POLLAK, MARIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLAKOFF, ALEXANDER                 POLLARD, ASHLEY                       POLLARD, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLARD, HEIDI                       POLLARD, JOANNE                       POLLARD, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLARD, RICHARD                     POLLARD, SERENA                       POLLASTRO, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POLLEMA, ANGELA       Case 22-11238-LSS    Doc
                                     POLLERT, KARI2  Filed 11/30/22   Page 3940  of KARI
                                                                           POLLERT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLERT, TREVOR                      POLLET, MARK                          POLLEY, KURT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLEY, LISA                         POLLEY, LISA                          POLLINA, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLIO, ALYSSA                       POLLITT, BRE                          POLLIZZI, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLMANN, MORGAN                     POLLOCK, CHELSEA                      POLLOCK, CHRIS
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POLLOCK, CHRISTINE                   POLLOCK, CINDY                        POLLOCK, DEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLOCK, ELIZABETH                   POLLOCK, ERIKKA                       POLLOCK, FRAN
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POLLOCK, JARRED                      POLLOCK, JOSH                         POLLOCK, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLOCK, KIM                         POLLOCK, KIMBERLY                     POLLOCK, KIRSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLLOCK, LUKE                        POLLOCK, MARY                         POLLOCK, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POLLOCK, REBECCA      Case 22-11238-LSS    Doc
                                     POLLOCK,    2 Filed 11/30/22
                                              RYANN                   Page 3941 of 5495
                                                                           POLLOCOFF, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




POLLOK, EMILY                        POLLOM, LEON                           POLLWORTH, MARSHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




POLM, MEREDITH                       POLMANSKI, SUE                         POLNG, SYNDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




POLO, ASHLEY                         POLO, BETH                             POLO, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




POLOGE, DEAN                         POLONOFSKY, VANESSA                    POLONS, ERICA
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POLONUS, HAILEY                      POLONY, FITZ                           POLONY, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




POLOVCHENA, DOREEN                   POLOVETS, STANISLAV                    POLSINELLI, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




POLSINELLI, HEATHER                  POLSON, ASHLEY                         POLSON, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




POLSON, KRISTEN                      POLSON, ROBERT                         POLSTER, CAMILLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




POLSTON, KATY                        POLSTON, LAUREN                        POLTAR, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
POLTERMANN, MARION    Case 22-11238-LSS    Doc
                                     POLTZER,    2 Filed 11/30/22
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                                                                           POLUKA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLUSZEJKO, CHRISTINE                POLWIN, SHARON                        POLYANSKAYA, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POLZEN, NATALIE                      POMELOVA, MARGO                       POMERANCE, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POMERANTZ, MARCIA                    POMERANTZ, PETER                      POMERINKE, NAGWA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POMEROY, CHELLYE                     POMEROY, JUDY                         POMEROY, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POMEROY, STEPHEN                     POMFRET, DEANNA                       POMIANOWSKI, NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POMICPIC, COREY                      POMISH, JESSICA                       POMMER, KAT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POMMERENING, BRIGETTE                POMORSKI, DANIELLE                    POMPA, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POMPA, CHRISTINE                     POMPA, DIONE                          POMPA, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POMPEO, JAKE                         POMPETTE, COURTNEY                    POMPOCO, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POMROY, JASON         Case 22-11238-LSS    Doc
                                     POMYKAL,    2 Filed 11/30/22
                                              JOSEPH                  Page 3943  of 5495
                                                                           PONA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PONCE DE LEON, GRECIA                PONCE, AMY                            PONCE, DESIREE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PONCE, GABRIELLA                     PONCE, JESSYKA                        PONCE, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PONCE, KRISTEN                       PONCE, LEYRA                          PONCE, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PONCE, MARIA                         PONCE, MARIA                          PONCE, ROXANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PONCE, YOSELIN                       PONCE-MENDEZ, ARLENNE                 PONCETTA, EM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PONCHILLIA, TINA                     PONCIANO, DEREK                       POND, ANEQUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POND, JOYCE                          POND, KATHLEEN                        POND5
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




PONDA, BRETT                         PONDER, AUTUMN                        PONDER, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PONDER, KATHERINE                    PONDER, KATHERINE                     PONDER, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PONDER, WILLIAM       Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     PONEH GRAY                       Page 3944 of 5495
                                                                           PONFERRADA, MILLICENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PONGIA, KELLY                        PONICH, PAMELA                         PONKO, JEANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PONNEKANTI, MYTHILI                  PONS, DIEGO                            PONS, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PONS, JESUS                          PONSLER, TRISHA                        PONSO, ALESSANDRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PONSOT, THOMAS                       PONTARELLI, DANA                       PONTE FIRM LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         264 BROOME ST. APT 3
                                                                            NEW YORK, NY 10002




PONTE, MARY                          PONTE-CHOW, CHRISTINA                  PONTES, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PONTES, GREGG                        PONTIGO, TATIANA                       PONTILLO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PONTILLO, SAM                        PONTIOUS, DEVIN                        PONTIUS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PONTONI, DIANE                       PONTRELLI, LAURIE                      PONTREMOLI, JACQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PONTSLER, RON                        PONX, KALI                             POOJA SHAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
POOL, KRISTIN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     POOL, KYLIE                      Page 3945   of 5495
                                                                           POOL, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOL, MEG                            POOL, RUSSELL                         POOLE, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLE, ALLISON                       POOLE, ANITA                          POOLE, CAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLE, CAROLE                        POOLE, DONNA                          POOLE, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLE, HAYLEY                        POOLE, ISABELLE                       POOLE, JASMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLE, JEN                           POOLE, JENA                           POOLE, JENNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLE, JENNIFER                      POOLE, JOSHUA                         POOLE, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLE, KELLY                         POOLE, KIMBERLY                       POOLE, KYRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLE, LISA                          POOLE, LYDIA                          POOLE, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLE, NAHT                          POOLE, NICOLE                         POOLE, RORY
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POOLE, SARAH          Case 22-11238-LSS     Doc 2 DIANE
                                     POOLE, SHARON   Filed 11/30/22   Page 3946
                                                                           POOLE,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POOLMAN, KATHERINE                   POON, EMILY                           POON, TERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POONAI, KOMAL                        POONAWALA, VEDA                       POONIA, ARASHDEEP
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POORE, BRANDON                       POORE, KAYLAN                         POORE, KIEL
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POOS, BRETT                          POOSER, MARIE                         POOSTI, TARA
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POOT, AMIE                           POOVEY, SAISHA                        POP, CORINA
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POP, KRISTA                          POPADIUK, MELISSA                     POPAL, SOLIMAN
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POPE, AMANDA                         POPE, ANTHONY                         POPE, BALEY
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POPE, BILLIE                         POPE, CARSON                          POPE, CATHERINE
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POPE, CORI                           POPE, DAVID                           POPE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POPE, EMILY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     POPE, HOLLY                      Page 3947   of 5495
                                                                           POPE, JERRIANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POPE, JOANNE                         POPE, JOE                             POPE, JOHN
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POPE, JOHN                           POPE, KATHERINE                       POPE, KATIE
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POPE, MADELEINE                      POPE, MIKE                            POPE, NATALIE
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POPE, NATALIE                        POPE, NATHAN                          POPE, NICKI
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POPE, NINA                           POPE, PATRICIA                        POPE, REBECCA
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POPE, ROBIN                          POPE, RON                             POPE, WILLIAM
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POPEL, NINA                          POPESCU, ANAMARIA                     POPHIN, NICOLE
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POPIEL, SHARON                       POPIVCHAK, STEPHANIE                  POPKIN, DAVID
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POPKINS, KELSEY                      POPKO, GEORGE                         POPLAVSKAYA, VICTORIYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POPLE, TRISHA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     POPO, MICHELE                    Page 3948 of 5495 ROSS
                                                                           POPOFF-WALKER,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POPOLIZIO, RICHARD                   POPONNE, EMELDA                       POPOSKI, WALTER
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POPOVA, OLHA                         POPOVIC, ROBBIN                       POPOVICH, STEPHEN
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POPOVICH, STEVIE                     POPOW, KAITLIN                        POPP, BRITTANY
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POPP, EMMA                           POPP, JODIE                           POPP, JUSTIN
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POPPE, BRIAN                         POPPE, JORDAN                         POPPE, KATHARINE
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POPPELL, ANNA                        POPPEMA, CATHARINE                    POPPENGA, DARIAN
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POPPER, DANIEL                       POPPER, SARA                          POPPER-KEIZER, TESSIE
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POPPINGA, AVERY                      POPPLEWELL, HAZEL                     POPPS, DAVID
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POPPY, ASHLEY                        POPSO, TOBY                           POPTEAN, VASILE
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POQUETTE, PAMELA      Case 22-11238-LSS    Doc
                                     PORACH,    2 Filed 11/30/22
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                                                                           PORAT,of 5495
                                                                                 BERNADETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORATH, JILIAN                       PORCARO, CHRISTINA                    PORCELLI, AMANDA
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PORCELLI, TONY                       PORCENA, MILAGROS                     PORCH, ABIGAIL
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PORCHE, ELLA                         PORCHE, PENNY                         PORCORO-ION, CLAUDIA
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PORDES, LESLY                        POREBSKI, AMANDA                      PORES, GIA
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PORRAS, FABIOLA                      PORRAS, JONI                          PORRAS, LINO
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PORRAS, MONICA                       PORRAS, TRACEY                        PORRATA-DORIA, JADIZ
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PORRECA, JACQUIE                     PORRECA, RAY                          PORRECO, SECIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORRETTA, KATHLEEN                   PORRETTO, GIUSEPPE                    PORRO, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORSCHE NICOLE JACKSON               PORSHE FLOYD                          PORSOLT, JACLYN
ADDRESS AVAILABLE UPON REQUEST       9919 SEPULVEDA BLVD APT 19            ADDRESS AVAILABLE UPON REQUEST
                                     MISSION HILLS, CA 91345
PORT, DENISE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PORT, LANA                       Page 3950   of 5495
                                                                           PORT, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTACCI, TONI                       PORTALATIN, DAVID                     PORTALATIN, KRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTALES, ELIZABETH                  PORTALES, ROBERTO                     PORTANOVA, SHAUNA
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PORTASE, CAITLIN                     PORTE, ERIN                           PORTELA, REBECA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTELA, WILLOW                      PORTELANCE, GRACE                     PORTELLI, ASHLEY
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PORTELLI, DONNA                      PORTELLO, DENNIS                      PORTENIER, ANDREA
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PORTEOUS, CLAUDIA                    PORTER, ALEXANDRA                     PORTER, AMANDA
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PORTER, ASHLEY                       PORTER, B                             PORTER, BILL
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PORTER, BLADEN                       PORTER, BRITTANY                      PORTER, CALEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTER, CAMILLE                      PORTER, CHARLES                       PORTER, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PORTER, CYNDY         Case 22-11238-LSS
                                     PORTER,Doc  2 Filed 11/30/22
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                                                                           PORTER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTER, EMILY                        PORTER, EMILY                         PORTER, ERICA
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PORTER, ERIN                         PORTER, ERIN                          PORTER, HALEE
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PORTER, HOLLY                        PORTER, JASON                         PORTER, JENN
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PORTER, JESSICA                      PORTER, JOSH                          PORTER, KAI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTER, KAITLYN                      PORTER, KAREN                         PORTER, KATHARINE
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PORTER, KATIE                        PORTER, KELIN                         PORTER, KERRI
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PORTER, KIM                          PORTER, LAUREN                        PORTER, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTER, LAYNEE                       PORTER, LEEANN                        PORTER, LINDA
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PORTER, LISA                         PORTER, LISA                          PORTER, LORI
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PORTER, MEGHAN        Case 22-11238-LSS
                                     PORTER,Doc 2 Filed 11/30/22
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                                                                           PORTER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTER, NIA                          PORTER, RICK                          PORTER, ROSE
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PORTER, RUSHEAL                      PORTER, RUSTI                         PORTER, RYAN
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PORTER, SHANNON                      PORTER, THERESE                       PORTER, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTER, WILLIAM                      PORTERA, ALYSON                       PORTERFIELD, HANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTERFIELD, JAN                     PORTES, ANDREA                        PORTH, SOKPHOURNG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTICO HILLS VINEYARD LLC           PORTILLA, CHRISTINE                   PORTILLO, HORTENCIA
1006 SEGOVIA CIRCLE                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PLACENTIA, CA 92870




PORTILLO, LILIAN                     PORTILLO, ROSANA                      PORTILLO, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTILLO, STEPHANIE                  PORTILLO, TATIANA                     PORTILLOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




PORTILLOS, REBECCA                   PORTIS, DANIELA                       PORTMAN, STEVE
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PORTNER, MISTY        Case 22-11238-LSS    Doc
                                     PORTNOY,    2 Filed 11/30/22
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                                                                           PORTO,of 5495
                                                                                  ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PORTO, JODIE                         PORTO, LAURA                          PORTO, LISA
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PORTTEUS, AIMEE                      PORTU, RAFAELINA                      PORTWAY, SARAH
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PORTWOOD, LANCE                      PORTWOOD, SARAH ANDERSON              PORWOLL, ANDREA
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POSADA, MAURICIO                     POSADA, PABLO                         POSADA, PATRICIA
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POSADA, WENDY                        POSADAS, HAYLEY                       POSANTE, PAIGE
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POSCH, LAUREN                        POSES, JANET                          POSEY, JORDAN
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POSEY, LYDIA                         POSEY, SHANNON                        POSEY, SIARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POSEY, TERBORIS                      POSEY, VICTORIA                       POSHGLAM,LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        4272 LOCH HIGHLAND PKWAY
                                                                           ROSWELL, GA 30075




POSILLICO, JESSICA                   POSLUSNY, MATTHEW                     POSLUSZNY, CARL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POSNER, ALEX          Case 22-11238-LSS
                                     POSNER,Doc  2 Filed 11/30/22
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                                                                                POSNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




POSNER, HAYLEY                          POSNER, IDA                             POSNER, KAYLEIGH
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POSNER, NEIL                            POSNER, TESS                            POSNIACK, SHANTIL
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POSS, DAVID                             POSSAGE, KATIE                          POSSING, OLIVIA
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POSSMOZER, ELLEM                        POST NET                                POST, ANDREW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




POST, LAUREN                            POST, MARTHA                            POST, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




POST, SARA                              POST, SUSAN                             POST, TAYLOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




POSTBUNNY INC                           POSTELL, CHRISTY                        POSTER, CARLENE
173 STARR ST. 3F                        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
BROOKLYN, NY 11237




POSTIANO COAST BY ALDO LA               POSTIE, INC.                            POSTIGLIONE, JONI
ADDRESS UNAVAILABLE AT TIME OF FILING   371 ROSE AVENUE                         ADDRESS AVAILABLE UPON REQUEST
                                        VENICE, CA 90291




POSTIGO, MARIA VICTORIA                 POSTIN, ZACHARY                         POSTLETHWAITE, STEVE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
POSTMA, JAMES         Case 22-11238-LSS
                                     POSTMA,Doc 2 Filed 11/30/22
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                                                                           POSTMA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POSTMATES INC                        POSTOLACHE, TEODOR                    POSTOLOWSKI, CHRISTINA
690 5TH STREET                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94107




POSTON, GRAHAM                       POSTON, GWENDOLYN                     POSTON, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POSTON, PEYTON                       POSTON, SARAH                         POSTORINO, SARA
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POTAK, LAUREN                        POTAMITIS, GEORGE                     POTAPOVA, MAYA
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POTASH, JAMIE                        POTAVIN, JESSICA                      POTCHYNOK, KRISTIN
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POTEAT, SCHALETTE                    POTEAT, SUSAN                         POTENZA, CHELSA
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POTESTIO, ROBIN                      POTGIETER, BROOKE                     POTH, NATALIE
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POTHIN, MARGARET                     POTILLO, GENETTE                      POTITO, KALI
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POTKULSKI, HEATHER                   POTOCHNEY, KAROLINA                   POTOLSKY, DONNA
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POTOMA, NICOLETTE     Case 22-11238-LSS    DocKRIS
                                     POTRAFKA,  2 Filed 11/30/22      Page 3956 of MARK
                                                                           POTRATZ, 5495
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POTRATZ, THOMAS                      POTT, EMILY                           POTTAK, ARIANNA
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POTTER, AIMEE                        POTTER, ALLISON                       POTTER, ANA
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POTTER, ANDREW                       POTTER, AUTUMN                        POTTER, BRADLEY
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POTTER, CAROLINE                     POTTER, CHRISTINE                     POTTER, CHRISTINE
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POTTER, CORY                         POTTER, CRAIG                         POTTER, DEBORAH
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POTTER, DEREK                        POTTER, DONALD                        POTTER, EMMY
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POTTER, FLO                          POTTER, JAMIE                         POTTER, KATHERINE
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POTTER, KATIE                        POTTER, KEYONI                        POTTER, MARLA
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POTTER, MAXWELL                      POTTER, MEG                           POTTER, MELISA
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POTTER, MOLLIE        Case 22-11238-LSS
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                                                                           POTTER, 5495
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POTTER, RACHEL                       POTTER, SHARON                        POTTER, STACEY
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POTTER, TRINITY                      POTTER, WILLIAM                       POTTICHEN, KRISTIN
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POTTINGER, JENNIFER                  POTTMEYER, LAURIE                     POTTRATZ, ANGIE
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POTTRATZ, RITA                       POTTS, AMANDA                         POTTS, ASHLEY
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POTTS, BRITTANY                      POTTS, COLLIN                         POTTS, COURTNEY
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POTTS, DARLENE                       POTTS, ERIN                           POTTS, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POTTS, JODI                          POTTS, KATHRYN                        POTTS, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POTTS, MONICA                        POTTS, RHYS                           POTTS, SHAARON
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POTTS, SIERRA                        POTUCEK, KENDRA                       POUEY, VICKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POUILLIARD, MITCHELL  Case 22-11238-LSS    Doc REGINA
                                     POUKALOVA, 2 Filed 11/30/22      Page 3958
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POULIN, BENNETT                      POULIOPOULOS, MARY                    POULIOT, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POULIOT, SHAY                        POULOSKY, LAURA                       POULSEN, DORIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POULSEN, SARAH                       POULTNEY, CHAD                        POULTON, GEORGE
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POULTON, MICHAEL                     POUNCY, AMY                           POUND, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POUND, ERICK                         POUND, STELLA                         POUNDS, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POUPART, NIKKI                       POUPIS, SCOTT                         POURCIAU, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POURCIAU, LAURA                      POURNEY, MARIA                        POURPOULAKIS, ARISTOTELIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POUTRE, ROBB                         POUZYREV, SOPHIA                      POVALAC, STEFANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POVEROMO, KATHLEEN                   POVEY, WALTER                         POWANDA, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POWCHAK, DEBRA        Case 22-11238-LSS    DocJAMES
                                     POWDERLY,  2 Filed 11/30/22      Page 3959 of 5495
                                                                           POWDERS, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWE, MILES                          POWE, TIMIEKA                         POWELL ELECTRIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




POWELL, AISLYNN                      POWELL, ALEXANDRA                     POWELL, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWELL, AMANDA                       POWELL, AMANDA                        POWELL, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWELL, ANDREW                       POWELL, ANDREW                        POWELL, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWELL, ASHLEY                       POWELL, ASZERDEE                      POWELL, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWELL, BETH                         POWELL, BILLIE                        POWELL, BRIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWELL, CARRIE                       POWELL, CASSIDY                       POWELL, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWELL, CHRISTINE                    POWELL, CONOR                         POWELL, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWELL, DARLA                        POWELL, DIANE                         POWELL, EBONY
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POWELL, EMMA          Case 22-11238-LSS
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POWELL, GIDEON                       POWELL, GRAHAM                        POWELL, HAYLEY
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POWELL, HEATHER                      POWELL, JAKE                          POWELL, JASON
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POWELL, JENNIFER                     POWELL, JESSE                         POWELL, JESSICA
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POWELL, JESSICA                      POWELL, JULIA                         POWELL, JULIA
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POWELL, JULIANA                      POWELL, KAREN                         POWELL, KARLA JAIN
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POWELL, KATE                         POWELL, KATELYN                       POWELL, KATHARINE
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POWELL, KITTY                        POWELL, LESLIE                        POWELL, LINDSEY
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POWELL, LISA                         POWELL, LOUISA                        POWELL, MARCELLUS
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POWELL, MCKENZIE                     POWELL, MEGAN                         POWELL, MELINDA
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POWELL, MELINDA       Case 22-11238-LSS
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POWELL, MIRANDA                      POWELL, MIRANDA                       POWELL, NATALIE
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POWELL, NICHOLE                      POWELL, NICOLE                        POWELL, OLIVIA
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POWELL, QUONISHA                     POWELL, RAENETTE                      POWELL, REBECCA
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POWELL, REBECCA                      POWELL, REBECCA                       POWELL, RYAN
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POWELL, SALLY                        POWELL, SAMANTHA                      POWELL, SANDRA
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POWELL, SARAH                        POWELL, SEAN                          POWELL, SHANE
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POWELL, SHANNON                      POWELL, STEPH                         POWELL, STEPHANEY
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POWELL, STEPHANIE                    POWELL, STEVEN                        POWELL, SWEDLINE
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POWELL, THOMAS                       POWELL, TIFFANY                       POWELL, TOMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
POWELL, TONYA         Case 22-11238-LSS
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POWELL, ZACHARY                      POWELL-SILVERS, WHITNEY               POWER DIGITAL MARKETING, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2251 SAN DIEGO AVE., SUITE A250
                                                                           SAN DIEGO, CA 92110




POWER DIGITAL MARKETING, INC.        POWER, AARON                          POWER, AINE
2251 SAN DIEGO AVENUE SUITE A250     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN DIEGO, CA 92110




POWER, ALISSA                        POWER, BENJAMIN                       POWER, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




POWER, BRETT                         POWER, BRIANNA                        POWER, DIANE
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POWER, EBUN NAZON                    POWER, ERIKA                          POWER, FRANCISCA
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POWER, JESSICA                       POWER, JOE                            POWER, KAILENE
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POWER, KAREN                         POWER, LISA                           POWER, LUKE
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POWER, MARYBETH                      POWER, MEGAN                          POWER, MELANIE
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POWER, MICHELLE                      POWER, SUZANNE                        POWERS, ABBY
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POWERS, ABIGAIL       Case 22-11238-LSS    Doc
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POWERS, ANDY                         POWERS, BRITTANY                      POWERS, CATHERINE
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POWERS, CATHY                        POWERS, CHELSEA                       POWERS, CHELSEY
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POWERS, COLLEEN                      POWERS, COURTNEY                      POWERS, CYNDIE
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POWERS, DALE                         POWERS, DANI                          POWERS, DANIEL
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POWERS, DEBBIE                       POWERS, DONNA                         POWERS, ERIK
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POWERS, ERIN                         POWERS, EVA                           POWERS, GREG
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POWERS, HALEY                        POWERS, HANNAH                        POWERS, HERBERT
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POWERS, ISABELLA                     POWERS, JEFFREY                       POWERS, KAITLIN
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POWERS, KAITLIN                      POWERS, KATHERINE                     POWERS, KATHERINE
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POWERS, KATHLEEN      Case 22-11238-LSS    Doc
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POWERS, LACEY                        POWERS, LACY                           POWERS, LAURA
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POWERS, LAURA                        POWERS, LAUREN                         POWERS, MEAGAN
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POWERS, MELINDA                      POWERS, MELISSA                        POWERS, RACHEL
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POWERS, REBECCA                      POWERS, ROBERT                         POWERS, RUTH
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POWERS, RYAN                         POWERS, SAMANTHA                       POWERS, SARAH
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POWERS, STACEY                       POWERS, SUSAN                          POWERS, SUSAN
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POWERS, SUZANNE                      POWERS, TANYA                          POWERS, TAYLOR
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POWERS, TAYLOR                       POWERS, TESSANDRA                      POWERS, TRAVIS
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POWERS, TRICIA                       POWERS, TYLER                          POWERS, ZOEY
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POWESKA, SEBASTIAN    Case 22-11238-LSS    DocGIANMARCO
                                     POW-SANG,  2 Filed 11/30/22         Page 3965 of 5495
                                                                              POYATOS, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




POYDENIS, CHRISTOPHER                   POYDRAS, BEVERLEY                      POYNOR, JULIE
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POYNTER, BRITTANY                       POZDOL, LISA4234637833                 POZDOLL, WILLIAM
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POZEGIJA, NADIR                         POZEN, BRITTNAY                        POZIN, ILYA
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POZMANTER, KRISTEN                      POZNEK, RACHAEL                        POZO, VALENTINA
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POZOLINSKI, TEAKA                       POZSAR, KARINA                         POZYCKI, VANESSA
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PPA STREET METERS                       PR NEWSWIRE ASSOCIATION, LLC           PRABAL GURUNG, LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   G PO BOX 5897                          PRABAL GURONG, LLC 247 W 37TH ST., STE
                                        NEW YORK, NY 10087-5897                1501
                                                                               NEW YORK, NY 10018




PRABHU, PRASHANT                        PRABHU, SNEHIT                         PRABODH BAKSHI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PRACCHI, LEONARDO                       PRACELLA, MALLORY                      PRACTICAL MEDIA INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         3120 PARTRIDGE AVE
                                                                               OAKLAND, CA 94605




PRACTICALATI KIDS INC                   PRADA, DIDI                            PRADA, JONAH
8980 OLD ANNAPOLIS RD                   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SUITE E/F COLUMBIA, MD 21045
PRADA, LAURA          Case 22-11238-LSS
                                     PRADAS,Doc  2 Filed 11/30/22
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                                                                           PRADEEP 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRADEEP MAALE NARASIMHAMURTHY        PRADEEP SRIPATHI                      PRADEEP TOMAR
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PRADHAN, BAYNAZIR                    PRADHAN, SAYANTAN                     PRADHAN, SHRUTI
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PRADO, BEATRIZ                       PRADO, JUAN                           PRADO, MARLA
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PRADO, NICKOLAS                      PRADO, TIFFANY                        PRADOS, KIRSTEN
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PRAEGER, BRENNA                      PRAGER, ANGELA                        PRAGER, EMILY
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PRAHL, JULIE                         PRAIRIE, GABRIELLE                    PRAIRIE, NICOLE
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PRAJWAL RAJ JOSHI                    PRAKASH THIRUPPATHI                   PRAKASH, DIVI
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PRAKASH, ELIZABETH                   PRAMIK, CHRIS                         PRANAMITA CHAKRABORTI
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PRANCKEVICIUTE, IEVA                 PRANG, LIZ                            PRANGE, CATHERINE
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PRANGE, LAURA         Case 22-11238-LSS    DocBECCA
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PRANTNER, KRISTIN                    PRASAD ALAPATI                        PRASAD, PRIYA
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PRASAD, RAMA                         PRASALOWICZ, JAMES                    PRASCHMA, ALEX
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PRASEK, KAYLA                        PRASHAD, ANITA                        PRASSL, CAM
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PRATA, MEGAN                         PRATAP, RAGHVENDRA                    PRATEL, JULIE
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PRATER THOMPSON, BRIGETTE            PRATER, BREANN                        PRATER, JASON
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PRATHER, AISHA                       PRATHER, CANDICE                      PRATHER, DANETTE
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PRATHER, KATHLEEN                    PRATHER, SARAH                        PRATI, JOSEPH
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PRATI, KRISTIN                       PRATICO, RANDY                        PRATIOTA GROUP INC
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PRATL, AMANDA                        PRATSCHER, JASON                      PRATT ISAACSON, ANNE
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PRATT, ALLY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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PRATT, BRIAN                         PRATT, BRITTANY                       PRATT, BROOKE
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PRATT, CONNIE                        PRATT, CONNOR                         PRATT, JAMIE
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PRATT, JODI                          PRATT, JODIE                          PRATT, JOHN
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PRATT, JOSHUA                        PRATT, KARA                           PRATT, LAWRENCE
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PRATT, LORETTA                       PRATT, MADELINE                       PRATT, MARY
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PRATT, MELISSA                       PRATT, MICHELLE                       PRATT, RICK
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PRATT, ROBERT                        PRATT, RUTH                           PRATT, SARAH
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PRATT, TANNER                        PRATTEN, KIMBERLY                     PRATTS, BELINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRAUS, COLLEEN                       PRAVATTA, CHRISTINA                   PRAVEENA SUNDARRAJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                      Case 22-11238-LSS
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                                                                                PRAY, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




PRAYSON, JACQUELINE                      PRAYTHER, JEANNE                       PRAZAK, DEBORAH
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PREAS, ROBIN                             PREBARICH, ALEX                        PREBLE, JON
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PRECEPT WINE BRANDS                      PRECIADO, CARMELA                      PRECIADO, GEORGE
ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PRECIADO, KATHYA                         PRECIADO, RAFAEL                       PRECIOUS BRYAN
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PRECISION CAD                            PRECISION PRODUCTS GROUP, INC.         PRECISION ROLLER
719 SOUTH LOS ANGELES STREET SUITE 376   (AARDVARK THE ORIGINAL PAPER STRAW)    ADDRESS UNAVAILABLE AT TIME OF FILING
LOS ANGELES, CA 90014                    P.O. BOX 80400
                                         FORT WAYNE, IN 46898-0400




PRECOURT, THOMAS                         PREDDY, KATHLEEN                       PREDIGER, KERI
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PREDL, COLLEEN                           PREECE, MADELINE                       PREEDOM, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PREETAM MAHAJAN                          PREFONTAINE, SUSAN                     PREGLER, KASEY
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PREGO, INDHIRA                           PREGONT, CHRISTY                       PREHODA, ALYSSA
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PREHODA, ELISE        Case 22-11238-LSS    Doc
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                                                                              PREKOP, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PREKSTA, ASHLEY                         PRELEYKO, RACHEL                      PRELL, MARGARET
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRELL, SIERRA                           PRELLWITZ, JARED                      PREM, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PREMA, OLIVIA                           PREMEAUX, TERRI                       PREMIUM VINS SOURCING
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        1 BERTIN
                                                                              MONTAGNE 33570
                                                                              FRANCE




PREMIUMBEAT.COM                         PREMO, ALYSSA                         PREMO, BRANDON
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PREMPEH, ADELAIDE                       PREMRANJAN SINGH                      PREMUS, MARIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PREMVAREE, RICHARD                      PRENATT, ATHENA                       PRENATT, CORINNE
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PRENDEVILLE, LAUREN                     PRENGER, ALENA                        PRENGER, CARRIE
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PRENTICE, CASEY                         PRENTICE, DONNA                       PRENTICE, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRENTICE, JENNIFER                      PRENTICE, KATHERINE                   PRENTICE, MARY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PRENTICE, MICHELLE    Case 22-11238-LSS     Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




PRERENDER                               PRERENDER.IO                            PRESBURY, ALINA
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PRESBY, MARGARET                        PRESCOTT, ALISON                        PRESCOTT, BRIGHAM
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PRESCOTT, BRITTANY                      PRESCOTT, CHEYENNE                      PRESCOTT, COREY
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PRESCOTT, JESSICA                       PRESCOTT, LINDA                         PRESCOTT, LISA
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PRESCOTT, MEGAN                         PRESCOTT, MERLE                         PRESCOTT, NICOLE
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PRESGRAVES, ERIN                        PRESKEY, MEGAN                          PRESKITT, JAMIE HOWARD
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PRESLEY, AMY                            PRESLEY, JESSICA                        PRESLEY, MARLA
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PRESLEY, MOLLY                          PRESLEY, ROSEMARIE                      PRESLEY, ROSEMARIE
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PRESNULL, EMILY                         PRESS CLUB                              PRESS, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
PRESS, HILARY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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PRESSENTIN, KRISTINA                 PRESSLER, BEN                         PRESSLER, RACHEL
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PRESSLEY, AJA                        PRESSLEY, AMANDA                      PRESSLEY, ANDRE
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PRESSLEY, APRIL                      PRESSLEY, DAVID                       PRESSLEY, JULIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRESSLEY, KELLI                      PRESSLEY, LEE                         PRESTENBACH, LAUREN AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRESTI, DIANE                        PRESTIA, SAMANTHA                     PRESTIANNE, CATHERINE
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PRESTINARIO, ERIN                    PRESTINE-LOWERY, NELLIE               PRESTON DOYLE TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRESTON, ALEX                        PRESTON, ANGELA                       PRESTON, ANN C
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRESTON, ANNE                        PRESTON, ASHLEY                       PRESTON, BECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRESTON, CLAUDIA                     PRESTON, DANA                         PRESTON, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PRESTON, GINA         Case 22-11238-LSS    Doc
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                                              JAMES                     Page 3973 of 5495
                                                                             PRESTON, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PRESTON, KELLY                       PRESTON, KENNY                          PRESTON, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PRESTON, LAUREN                      PRESTON, LEVI                           PRESTON, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PRESTON, MARGARET                    PRESTON, MARY KATHLEEN                  PRESTON, MECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PRESTON, RACHEL                      PRESTON, RIAN                           PRESTON, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PRESTON, SAMANTHA                    PRESTON, SCOTT                          PRESTON, SHAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PRESTON, WILL                        PRESTOY, MICHAEL                        PRESTRIDGE, SHAWNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PRESTRIDGE, SHAWNA                   PRESTWOOD, JACOBY                       PRESUTTI, TAYLOR
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PRESZLER, DAVID                      PRET A MANGER                           PRETSFELDER DEMCHICK, DANIELLE
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PRETTYMAN, CORD                      PRETZER, SAMANTHA                       PREUSS, ANGIE
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PREUSS, PHILIP        Case 22-11238-LSS    Doc
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PREVATT, CRYSTAL                     PREVE, FRANK                          PREVETTE, JAMES
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PREVETTE, JULIE                      PREVETTE, VICKIE                      PREVILLE, ZACHERY
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PREVILON, DIEULENE                   PREVIS, REBECCA                       PREVITE, ELIZABETH
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PREVITE, KATE                        PREVITI, BERNADETTE                   PREVO, JASON
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PREVOST, DEBRA                       PREVOST, JOCLYN                       PREVOST, KAROLINE
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PREVOST, MIRANDA                     PREVOT, SARA                          PREWITT, CONNIE
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PREWITT, FRANCESCA                   PREWITT, MAUREEN                      PREWITT, MICHAEL
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PREYERS, MARGARET                    PREZIOSO, DEVIN                       PREZIOSO, JOSEPH
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PREZIOSO, NICHOLAS                   PRIAL, EILEEN                         PRIAN, LAUREN
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PRIBBENO, BRIANNA     Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PRIBE, RUTH                      Page 3975  of 5495
                                                                           PRIBEAGU, SARA
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PRICCO, ERNIE                        PRICE, ABIGAIL                        PRICE, ALISSA
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PRICE, ALIYAH                        PRICE, ALYSON                         PRICE, AMANDA
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PRICE, AMI                           PRICE, AMY                            PRICE, ANDREW
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PRICE, ANDREW                        PRICE, ANGELA                         PRICE, ASHLEY
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PRICE, ASHLEY                        PRICE, ASHLIE                         PRICE, BAILEY
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PRICE, BENJAMIN                      PRICE, BETHANY                        PRICE, BEVERLY
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PRICE, BRANDON                       PRICE, BRET                           PRICE, BRITTANY
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PRICE, CAPRI                         PRICE, CAROL                          PRICE, CATHERINE
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PRICE, CHERYL                        PRICE, CHRISTEN                       PRICE, CYNTHIA
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PRICE, DAN            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     PRICE, DYLAN                     Page 3976   of 5495
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PRICE, ED                            PRICE, EMMA                           PRICE, GAELYN
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PRICE, HALEY                         PRICE, HALEY                          PRICE, HANK
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PRICE, HEIDI (DONNA)                 PRICE, HERSH                          PRICE, JAIME
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PRICE, JAMES                         PRICE, JAMIE                          PRICE, JAN
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PRICE, JANE                          PRICE, JANNA                          PRICE, JASON
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PRICE, JENNA                         PRICE, JESSICA                        PRICE, JESSIE
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PRICE, JOY                           PRICE, JULIA                          PRICE, KACIE
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PRICE, KAITLYN                       PRICE, KATELYN                        PRICE, KELLY
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PRICE, KELSEY                        PRICE, KERRY                          PRICE, KRISTEN
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PRICE, KRISTIN        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           PRICE, LAUREN
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PRICE, LAURIE                        PRICE, LILY                           PRICE, LORI
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PRICE, MACKENZIE                     PRICE, MARY                           PRICE, MATHEW
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PRICE, MATTHEW                       PRICE, MAYA                           PRICE, MELODY
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PRICE, MELODY                        PRICE, MIA                            PRICE, MICHELLE
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PRICE, NATALYA                       PRICE, NICA                           PRICE, RACHEL
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PRICE, RACHEL                        PRICE, RACHEL                         PRICE, RAINA
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PRICE, REBEKAH                       PRICE, RYAN                           PRICE, SHAERRA
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PRICE, SHANA                         PRICE, SHARON                         PRICE, SUMMER
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PRICE, SYDNEY                        PRICE, TAMMY                          PRICE, TAYLOR
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PRICE, TESSA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                             PRICE, TYLER
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PRICE, TYLER                         PRICE, VIVIE                            PRICE, WATSON
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PRICE, WHITNEY                       PRICE, WILLIAM                          PRICE-GLUNZ, CHRISTIAN
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PRICE-HARDEN, TONYA                  PRICELINE.COM                           PRICENER, KATHRYN
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PRICE-THOMPSON, LYNDSEY              PRICHARD, AMANDA                        PRICHARD, ANDREW
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PRICHARD, MCCARLEY                   PRICKETT, BRITNEY                       PRIDA, STEPHANIE
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PRIDA, STEPHANIE                     PRIDDY, LEDDY                           PRIDDY, TAYLOR
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PRIDE, CHARLOTTE                     PRIDE, DESHUNDRA                        PRIDE, JOEL
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PRIDE, MICHAEL                       PRIDEAUX, JOHN                          PRIDE-MCNUTT, AMY
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PRIDESTAFF, INC.                     PRIDGEN, ALLISON                        PRIDGEN, PARIS
7535 N PALM AVE 101                  ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
FRESNO, CA 93711
PRIEBE, GENEVIEVE     Case 22-11238-LSS
                                     PRIEBE, Doc  2 Filed 11/30/22
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                                                                           PRIEBOY, 5495
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PRIEDE, IEVINA                       PRIEM, GUY                             PRIER, SCOTT
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PRIESSMAN, STEVE                     PRIEST, JENNIFER                       PRIEST, JESSICA
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PRIEST, KARA                         PRIEST, RYAN                           PRIESTAP, ELIZABETH
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PRIESTER, MARGARET                   PRIESTLEY, BAYLEE                      PRIESTLEY, KATIE
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PRIETO, ALYSA                        PRIETO, ANGELY                         PRIETO, KRIS
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PRIETO, STEPHANIE                    PRIGG, RHONDA                          PRIGGE, ADRIANNA
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PRIGGE, JAMES                        PRIGGE, JEFFREY                        PRIGGE, MONIQUE
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PRIGGEN, LESLIE                      PRIGNANO, AMANDA                       PRIHODA, CLAIRE
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PRIKOCKIS, JENNIFER                  PRILL, AARON                           PRILOOK, ALISON
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PRILUTSKI, MEGAN      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     PRIMA, KYLE                          Page 3980  of JACKIE
                                                                               PRIMACK, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




PRIMACK, SAMANTHA                    PRIMAL ESSENCE                             PRIME ALERT SECURITY SERVICES INC.
ADDRESS AVAILABLE UPON REQUEST       1351 MAULHARDT AVE.                        1520 E. 33RD STREET
                                     OXNARD, CA 93030                           SIGNAL HILL, CA 90755




PRIME ALERT SECURITY SERVICES INC.   PRIME RANK MEDIA, INC. (VISIBLE FACTORS)   PRIME TRUST CUSTODIAN FBO KAREN
P.O. BOX 72                          7083 HOLLYWOOD BLVD, 1ST FLOOR             WELLER
LAKEWOOD, CA 90714                   LOS ANGELES, CA 90028                      ADDRESS AVAILABLE UPON REQUEST




PRIME TRUST                          PRIME WINE & SPIRITS GA                    PRIME WINE & SPIRITS GEORGIA
330 S RAMPART, STE 260               3137 CHESTNUT DRIVE                        285 WEST BROADWAY SUITE 500
SUMMERLIN, NV 89145                  DORAVILLE, GA 30340-3205                   NEW YORK, NY 10013




PRIME WINE & SPIRITS WA              PRIME, DON                                 PRIMEAU, SARAH
7848 S 202ND STREET                  ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
KENT, WA 98032




PRIMEAUX, BRENNA                     PRIMEAUX-SHAW, SACHE                       PRIMEGGIA, FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




PRIMERANO, DENISE                    PRIMIANO, JACKIE                           PRIMIS, AVERY
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PRIMO LOMIBAO                        PRIMROSE, MEGAN                            PRIMUS, ARYEH
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PRIMUS, SHEKERAH                     PRINCE, AARON                              PRINCE, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




PRINCE, ALEXANDRIA                   PRINCE, ANDY                               PRINCE, BRADLEY
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PRINCE, CATHERINE     Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PRINCE, KELSEY                       PRINCE, LORRI                            PRINCE, REBECCA
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PRINCE, RYAN                         PRINCE, SAMANTHA                         PRINCE, SCOT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PRINCE, TAMMY                        PRINCE, THOMAS                           PRINCIPAL LIFE INSURANCE COMPANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           SBD GRAND ISLAND
                                                                              P.O BOX 10372
                                                                              DES MOINES, IA 50306-0372




PRINCIPATO, SALVATORE                PRINCIPE, AMY                            PRINCIPLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




PRINCIVALLE, JAMES                   PRINDIVILLE, ROBERT                      PRINDLE, JESSICA
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PRINE, THOMAS                        PRINGLE, AMANDA                          PRINGLE, LEAH
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PRINGLE, MILES                       PRINGLE, SARAH                           PRINGLE, WENDY
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PRINN, BETSEY                        PRINS, ANNE                              PRINS, JAYNE
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PRINTER, NICOLA                      PRINTGLOBE                               PRINTING SERVICES
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ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




PRINTZ, CINDY                         PRINTZ, CRISSY                        PRINTZ, SARAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRINZ, JACQUELINE                     PRINZ, PAIGE                          PRINZ, SARAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRINZHORN, ASHLEY                     PRINZING, KATELYN                     PRINZO, ELIZABETH
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PRIOLEAU, CRYSTAL                     PRIOLEAU, CRYSTAL                     PRIOLO, MICHELE
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PRIOLO, OLIVIA                        PRIOLO, TARA                          PRIOR, ALEX
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PRIOR, APRIL                          PRIOR, LINDSAY                        PRIOR, REBECCA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRIORITY COMMUNICATIONS               PRIORITY TALENT AGENCY, LLC.          PRIORITY WINE PASS
5151 RUSSO ST                         1738 EAST KRAMER STREET               1481 CENTER ST
CULVER CITY, CA 90230                 MESA, AZ 85203                        NAPA, CA 94559




PRISBE, LAUREN                        PRISBY, KELSEY                        PRISCAK, WEND
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRISCILLA CANDIFF                     PRISCILLA FIGUEROA                    PRISCILLA MIDDLETON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PRISCO, ANNA          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRISON BREAK VINTNERS                PRITCHARD, ANEITA                     PRITCHARD, BRAYDEN
PO BOX 765                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS OLIVOS, CA 93441




PRITCHARD, EDDIE                     PRITCHARD, JOSHUA                     PRITCHARD, KELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRITCHARD, MARK                      PRITCHARD, MARK                       PRITCHARD, MAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PRITCHARD, MELISSA                   PRITCHARD, NORA                       PRITCHARD, STEPHANIE
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PRITCHETT, ALFRIEDA                  PRITCHETT, BRANDON                    PRITCHETT, DANIELLE
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PRITCHETT, GILBERT                   PRITCHETT, JESSICA                    PRITCHETT, KATHLEEN
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PRITCHETT, MARCUS                    PRITCHETT, MARGARET                   PRITCHETT, MEGAN
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PRITCHETT, ROBERT                    PRITI B PATEL                         PRITI SHAH
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PRITIKA BHAN                         PRITSCHER, KASSIE                     PRITTS, ZACHARY
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PRIVERT, SARAH        Case 22-11238-LSS     Doc
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                                                                              PRIVITERA, ELIZABETH
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PRIYA GOPAL                             PRIYA PATEL                            PRIYESHKUMAR PATEL
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PRO REGISTRATION                        PRO, ANN MARIE                         PROANO, ALEXANDER
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PROBASCO, ANGIE                         PROBASCO, CAROLYN                      PROBASCO, PATRICIA
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PROBERT, TIM                            PROBST, ASHLY                          PROBST, KATHLEEN
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PROBST, LIISA                           PROBST, LINDSAY                        PROBST, NICOLE
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PROBULK SPA                             PROBUS, KIMBERLY                       PROBY, FRED
RUT: 76.409.032-2 AV APOQUINDO 5583,    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
OFICINA 91, LAS CONDES
SANTIAGO
CHILE



PROCACCINO, ANDREA                      PROCELL, CARRIE JO                     PROCELLA, RYAN
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PROCHILO, GUY                           PROCHILO, JENNIFER                     PROCHNOW, JARED
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PROCINI, SUSAN                          PROCIUK, DENISE                        PROCK, BROOKE
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PROCOPIO, BREAHNA     Case 22-11238-LSS    DocCHELSEA
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                                                                                  PROCTER, MARLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




PROCTOR, ABIGAIL                          PROCTOR, ALISON                         PROCTOR, AREN
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PROCTOR, BRYAN                            PROCTOR, CAROL                          PROCTOR, CHRISTINE
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PROCTOR, DANA                             PROCTOR, ETHAN                          PROCTOR, JANELLA
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PROCTOR, JULIA                            PROCTOR, KAITLYN                        PROCTOR, MARY
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PROCTOR, MELISSA                          PROCTOR, MORGAN                         PROCTOR, SARAH
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PROCTOR, STEPHANIE                        PROCTOR, THEO                           PROCTOR, TIFFANY
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PROCTOR, TONI                             PROCURE                                 PRODAFIKAS, JOHN
ADDRESS AVAILABLE UPON REQUEST            47-51 PATIKI ROAD AVONDALE              ADDRESS AVAILABLE UPON REQUEST
                                          AUCKLAND
                                          NEW ZEALAND




PRODEGE, LLC (SWAGBUCKS)                  PRODEGE, LLC (SWAGBUCKS)                PRODEGE, LLC (SWAGBUCKS)
100 N. PACIFIC COAST HIGHWAY, 8TH FLOOR   100 NORTH SEPULVEDA BLVD FLOOR 8        DEPT LA 24252
EL SEGUNDO, CA 90245                      EL SEGUNDO, CA 900245                   PASADENA, CA 91185-4252




PRODORUTTI, LIANA                         PRODUKTION INC.                         PROEHL, ASHLEY
ADDRESS AVAILABLE UPON REQUEST            307 7TH AVENUE, RM 1204                 ADDRESS AVAILABLE UPON REQUEST
                                          NEW YORK, NY 10001
PROEMM, AUTUMN        Case 22-11238-LSS
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PROFENNO, JESSICA                       PROFFEN, JODI                           PROFFITT, LESLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PROFFITT, MARK                          PROFITT, BROOKE                         PROGAR, EMMA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PROHASKA, MICHAEL                       PROIA, MELISSA                          PROIETTI, VANESSA
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PROKAI, SARAH                           PROKASH, LORI                           PROKOP, MARGERY
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PROKOPCHAK, DANIELLE                    PROKOPIK, SARAH                         PROKOPIN, SUZETTE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PROKOPOVA, IRYNA                        PROKOSCH, MARGHERITA                    PROKUPEK, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PROLEIKA, RON                           PROM, PATRICK                           PROMBO, PATRICK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




PROMECENE, PAM                          PROMEVO, LLC                            PROMINSKI BAUD, KATELYN
ADDRESS AVAILABLE UPON REQUEST          1720 WILDCAT LANE SUITE 200             ADDRESS AVAILABLE UPON REQUEST
                                        BURLINGTON, KY 41005




PROMO SHOP INC.                         PROMOTIONAL WAREHOUSE                   PRONGUE, MICHELLE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
PRONLEY, ERIN         Case 22-11238-LSS    Doc TRACY
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




PROPERSI, KATHRYN                       PROPES, AMANDA                        PROPHET, TATIANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROPHETE, EMILIENNE                     PROPST, EMILY                         PROPST, ERIN
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PROSACCO, ERICK                         PROSCH, STEPHANIE                     PROSCIA, KAREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROSE, KATHRYN                          PROSE, NICHOLAS                       PROSHUTO, THOMAS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROSKAUER ROSE LLP                      PROSKY, ALEXA                         PROSPECT BRANDS
ELEVEN TIMES SQUARE                     ADDRESS AVAILABLE UPON REQUEST        824A HEALDSBURG AVENUE
NEW YORK, NY 10036-8299                                                       HEALDSBURG, CA 95448




PROSPECT BRANDS                         PROSPER, MARIE                        PROSSER, AARON
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROSSER, ALICIA                         PROSSER, ANN MARIE                    PROSSER, BERTRAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROSSER, DEREK                          PROSSER, JESSICA                      PROSSER, TARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROSSER, TED                            PROSSNER, COLLEEN                     PROSTAK, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PROTEK CARGO, INC.     Case 22-11238-LSS    Doc PAULA
                                      PROTHEROE, 2 Filed 11/30/22      Page 3988  of 5495
                                                                            PROTNICK, CLYDE
1568 AIRPORT BOULEVARD                ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NAPA, CA 94558




PROTO, ALLISON                        PROTZMAN, ADRIANNA                     PROUD, EMILY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PROUDLOCK, CHELSEA                    PROULX, EMILY                          PROULX, KATHRYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PROULX, KELLY                         PROULX, SHELLEY                        PROUSANIDOU, EVI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PROUSE, CAROL                         PROUT, LANA                            PROUTY, BIANCA
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PROUTY, MEGAN                         PROVAN, SHEENA                         PROVANCE, DAWN
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PROVDER, DANIEL                       PROVENCHER, COBY                       PROVENCIO, MARINA
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PROVENCIO, MELISA                     PROVENZA, CASSIE                       PROVENZANO, CORALEI
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PROVENZANO, GINA                      PROVENZANO, TALIA                      PROVENZANO, TERRY
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PROVIDENCE, SARA                      PROVIDENT TRUST GROUP LLC              PROVIDENT TRUST GROUP LLC
ADDRESS AVAILABLE UPON REQUEST        FBO ADVANCED STRUCTURING LLC           FBO JOSE A ADORNO-GARAY SOLO K
                                      4000 N OCEAN DR UNIT 2503              8880 W SUNSET ROAD SUITE 250
                                      RIVIERA BEACH, FL 33404                LAS VEGAS, NV 89148
PROVINCE, NIKKI       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROVINS, CODI                        PROVIVA S.R.L.                        PROVONCHA, BRENNA
ADDRESS AVAILABLE UPON REQUEST       CALLE BALDINI 16.197 AGRELO           ADDRESS AVAILABLE UPON REQUEST
                                     MENDOZA CP 5509
                                     ARGENTINA




PROVOST, ALLISON                     PROVOST, BETSY                        PROVOST, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROVOST, LAUREN                      PROVOST, LYNSEY                       PROWITT, SUZY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PROZELL, SEAN                        PRUCNAL, ANNELISE                     PRUD’HOMME, CAITLIN
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PRUDDEN, LINZY                       PRUDEN, CINDY                         PRUDEN, GEORGEANE
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PRUDENTE, JOSEPH                     PRUDHOMME, DJ                         PRUDHOMME, GRANT
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PRUDHOMME, STEVEN                    PRUETT, BEKA                          PRUETT, MEGAN
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PRUETT, MEGHANN                      PRUETT, MORGAN                        PRUGUE, CHRISTIAN
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PRUINELLI, LISIANE                   PRUIT, BARBARA                        PRUIT, JOURDAN
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PRUITT, BROOKLYN      Case 22-11238-LSS
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PRUITT, DARIAN                       PRUITT, GARIETY                       PRUITT, IROZENELL
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PRUITT, JENNIFER                     PRUITT, KAREN                         PRUITT, KAYLA
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PRUITT, KRISTINA                     PRUITT, LAUREN                        PRUITT, MARCQUES
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PRUITT, MARQUISE                     PRUITT, MICHELLE                      PRUITT, ROBIN
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PRUITT, SHANNON                      PRUITT, SYDNEY                        PRUITT, TYLER
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PRUNEDA, MARIANA                     PRUNIER, JEFFREY                      PRUNIER, MARY
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PRUNTY, DRAKE                        PRUNTY, KURT                          PRUSER, KYLIE
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PRUSIK, FRANK                        PRUSINOWSKI, KELLIE                   PRUSS, JOE
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PRUSSAK, JORDYNE                     PRUSSING, AMANDA                      PRUTSMAN, JAMES
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PRUZHANSKY, IGOR      Case 22-11238-LSS    Doc
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PRYOR, ANITA                         PRYOR, BLAKE                          PRYOR, BRITTANY
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PRYOR, CHANDLER                      PRYOR, DEMETRIA                       PRYOR, EMILY
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PRYOR, JACQUELINE                    PRYOR, JENNA                          PRYOR, JESSICA
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PRYOR, JOHN                          PRYOR, JULIE                          PRYOR, KARLI
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PRYOR, LIZA                          PRYOR, MADDIE                         PRYOR, MYNDI
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PRYOR, SHUNTYA                       PRYSE, NICOLE                         PRYSI, SARA
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PRYSTUPA, INNA                       PRZEDPELSKI, TARA                     PRZEGON, CARLI
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PRZEMYSLAW PIOTROWSKI                PRZHEZHETSKAIA, KATE                  PRZYBYLO, H J
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PRZYBYLO, JOSEPH                     PRZYBYSZ, PETER                       PRZYLEPA, KATE
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                                                                              PSAROUDIS, ASHLEY
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PSOMAS, NICOLE                          PSZYK, MAYA                            PTAK, SHEILA
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PTASHUK, KSENIYA                        PTOHOS, ERICA                          PTOLEMY, CLARE
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PTY, CARL                               PU, SOPHIE                             PU, XIANGRONG
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PUBBI, PAYAL                            PUBLIC COMPANY ACCOUNTING OVERSIGHT    PUBLIC STORAGE
ADDRESS AVAILABLE UPON REQUEST          BOARD (PCAOB)                          ADDRESS UNAVAILABLE AT TIME OF FILING
                                        1666 K STREET NW
                                        WASHINGTON, DC 20006




PUBLIC WORKS                            PUCA, CHELSEA                          PUCCETTI, MATTHEW
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




PUCCI, ALEX                             PUCCI, ANNA                            PUCCI, CYNTHIA
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PUCCI, JODIE                            PUCCIANO, CAROL                        PUCCIARELLI, NICHOLAS
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PUCCINELLI, SCOTT                       PUCCINI, TANYA                         PUCCIO, ALESSANDRA
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PUCCIO, EMILY                           PUCCI-SCHAEFER, VICTORIA               PUCEL, JENNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PUCHALSKI, CHRISTINE  Case 22-11238-LSS    DocDIANA
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PUCILOSKI, ELAINE                    PUCKETT CONSTRUCTION                  PUCKETT, CAROL
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PUCKETT, ELIZABETH                   PUCKETT, ELIZABETH                    PUCKETT, JEREMY
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PUCKETT, KRISTINA                    PUCKETT, MATTHEW                      PUCLIK, BRIAN
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PUDDEPHATT, SCOTT                    PUDENZ, ASHLEE                        PUDENZ, ASHLEY
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PUDENZ, SOPHIA                       PUDHORODSKY, TED AND KATHY            PUDIMOTT, BERNARD
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PUDLO, FAITH                         PUDVAH, MANON                         PUEBLA, CARLOS
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PUENTE, LAURA                        PUENTE, MAGGIE                        PUENTE, MARIA
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PUENTE, MARNI                        PUENTES, LUIS                         PUERLING, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUERTA, MARC                         PUERTO RICO DEPARTMENT DE ASUNTOS     PUERTO RICO DEPT OF LABOR AND
ADDRESS AVAILABLE UPON REQUEST       DEL CONSUMIDOR                        HUMAN RESOURCES
                                     BOX 41059                             505 MUNIZ RIVERA AVENUE
                                     MINILLAS STATION                      GPO BOX 3088
                                     SAN JUAN, PR 00940-1059               HATO REY, PR 00918
PUERTO, LEXA          Case 22-11238-LSS
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PUES, NOLAN                          PUETZ, ADRIANE                        PUETZ, BAILEY
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PUETZ, JEN                           PUFAHL, ERIKA                         PUFAHL, MEGAN
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PUFALL, SPIKE                        PUFF, TORI                            PUFFER, BEVELLE
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PUFFETT, CHELSEA                     PUGA, AMARILIS                        PUGA, JOSEPH
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PUGA, JUAN                           PUGACHOV, SERGIY                      PUGEL, KAYCEE
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PUGH, BETHANY                        PUGH, BROOKE                          PUGH, CHRISTOPHER
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PUGH, EMILY                          PUGH, IAN                             PUGH, JOSH
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PUGH, LACEY                          PUGH, LAURA                           PUGH, LAURA
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PUGH, LISA                           PUGH, MARIE                           PUGH, MELANIE
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PUGH, MIKA            Case 22-11238-LSS
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PUGLIANO, LEIGH                      PUGLIESE, ANDREW                      PUGLIESE, CHARLES
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PUGLIESE, CYNTHIA                    PUGLIESE, HILARI                      PUGLIESE, JESSICA
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PUGLIESE, KYLE                       PUGLIESE, NINA                        PUGLIESE, PAMELA
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PUGLIESE, RACHEL                     PUGLIESE, SUZANNA                     PUGLISI, ERIN
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PUHALA, DAYNE                        PUHARIC, ATHENA                       PUIDOKAS, GINETTE
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PUIIA, PAULA                         PUK, ROBERT                           PUKA, GABRIELLE
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PUKASEMV, NATAREEWAN                 PULASKI, CAROLE                       PULCINELLA, JESSIE
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PULCZINSKI, MEG                      PULEALII, SHEENA                      PULERI, KRISTA
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PULGAR, JOSE                         PULIDINDI, JULIA                      PULIDO, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PULIDO, GABRIELA      Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PULIDO, LUCY                         PULIDO, RN, LUCI E.                   PULIDO, URIEL
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PULINO, MICHAEL                      PULLEN, CASSIE                        PULLEN, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PULLEN, MEGAN                        PULLEN, SAMANTHA                      PULLEN, SHEA
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PULLEN, TAYLOR                       PULLEY, DALTON P.                     PULLEY, JOY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PULLEY, L                            PULLEY, RICK                          PULLEY, TONYA
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PULLIAM, BETH                        PULLIAM, KARA                         PULLIAM, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PULLINS, JOHN                        PULLIS, ALISON                        PULPAN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PULS, DANIELLE                       PULS, ZOE                             PULSE, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PULSFUS, MADELINE                    PULSINELLI, ALAN                      PULVER, EMILY
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PULVER, MADELINE      Case 22-11238-LSS
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                                                                           PULVERMANN, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PULZELLO, GINA                       PUMA, JESSICA                         PUMA, MERCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUMPHREY, ANNE                       PUMPHREY, CRICKETTE                   PUMPHREY, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUMPHREY, ZACH                       PUMPUTYTE, NERINGA                    PUN, CLIFFORD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUNAM PATEL                          PUNAY, ALISASOL                       PUNCH, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUNCHDOWN CELLARS                    PUNCHES, JOLENE                       PUNCHES, ZOE
ATELIER-COPAIN, LLC                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
1160B HOPPER AVE
SANTA ROSA, CA 95403




PUNI, ELIZABETH                      PUNIT SINGLA                          PUNJ, RAVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUNO, BEA                            PUNSALAN, ROBIN                       PUNTER, MANIYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUNTER, SARAH                        PUNTIEL, NOHELY                       PUNUKOLLU, HIMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUOPOLO, SHEILA                      PURATH, ADAM                          PURCE, CAMILLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PURCELL, ALLIE        Case 22-11238-LSS    Doc
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PURCELL, CHRISTIAN                   PURCELL, ELIZABETH                    PURCELL, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURCELL, EVAN                        PURCELL, HAYLEY                       PURCELL, JAMES
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PURCELL, KATIE                       PURCELL, KERRY                        PURCELL, MARYANN
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PURCELL, MICHELLE                    PURCELL, SAMMIE                       PURCELL, VICTORIA
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PURCELL-MACHITA, PATTY               PURCHIO, JOSIANNE                     PURCHON, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURCIELLO, BRITTANY                  PURDIE, TARA                          PURDOM, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURDY, ASHLEY                        PURDY, CINDY                          PURDY, ELISABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURDY, KATHERINE                     PURDY, LINDSEY                        PURDY, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURDY, SAM                           PURDY-MARTIN, TRACY                   PURE JOY HOME LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        133 RHODA AVE
                                                                           FAIRFEILD, CT 06824
PUREWOW                Case 22-11238-LSS    DocKYLE
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                                                                            PURGAVIE, GINA
WOW MEDIA PRODUCTS, INC               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
1261 BROADWAY SUITE 604
NEW YORK, NY 10001




PURICA, BARBARAS                      PURICK, ANDREA                        PURIFOY, DAMARR
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURINAI, TOM                          PURINGTON, MEGAN                      PURINTON, MAUD
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURK, MEIGHEN                         PURKAPILE, ANGEL                      PURKAYASTHA, ANJAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURNELL, BRAKELLE                     PURNELL, SHAWN                        PURNHAGEN, KRISTIN
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PUROHIT, LALIT                        PUROLA, JAMESON                       PURPLE WINE COMPANY, LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        617 2ND STREET, SUITE C
                                                                            PETALUMA, CA 94952




PURPORA, NATALIE                      PURPURA, ELLEN                        PURPURA, MARI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURPURA, NANCY                        PURSEL, JENN OR BILL                  PURSELL, TINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURSIFULL, RACHAEL                    PURSLEY, AMANDA                       PURSLEY, JESSICA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURSLEY, JJ                           PURSLOW, DANIELLE                     PURSUE MANAGEMENT LIMITED DBA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        CENTUS
                                                                            2ND FLOOR, DOCKGATE, MERCHANTS ROAD
                                                                            GALWAY
                                                                            IRELAND
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PURVES, JULIE                        PURVESH D PATEL                       PURVIS, ASHLEY
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PURVIS, HEATHER                      PURVIS, JENNIFER                      PURVIS, KIMBERLIN
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PURVIS, MELIJAH                      PURWIN, GALLA                         PURYEAR, ANDREW
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PURYEAR, HALEY                       PURYEAR, HALEY                        PURZAK, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PURZECKI, SAMANTHA                   PUSATERA, AMY                         PUSATERI, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUSEY, ASHLEY                        PUSHOR, STEPHANIE                     PUSTEJOVSKY, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUSZERT, LAUREL                      PUT ME IN COACH                       PUTCHINSKI, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       4939 YORK BLVD                        ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90042




PUTERBAUGH, PAIGE                    PUTERBAUGH, STEPHANIE                 PUTERMAN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUTHOFF, KRISTINE                    PUTMAN, JARID                         PUTMAN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PUTMAN, MARGE         Case 22-11238-LSS
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                                                                           PUTNAM, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




PUTNAM, LISA                         PUTNAM, NANCY                         PUTNAM, PAM
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PUTNAM, RACHEL                       PUTNAM, SIMONE                        PUTNAM, SUSAN
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PUTNAM, TIMOTHY                      PUTNEY, BRIDGET                       PUTNEY, CARLI
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PUTNEY, CLAYTON                      PUTNEY, DENISE                        PUTNEY, GEORGIA
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PUTNICK, STEVE                       PUTRUS, MONICA                        PUTTHOFF, LAUREN
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PUTTKAMMER, JEFF                     PUTVIN, LISA                          PUTZ, LAUREN
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PUTZE, DENNIS                        PUVOGEL, CHRISTINA                    PUYLARA, CHRISTINA
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PUZINO, MARITZA                      PUZIO, AGNES                          PUZIO, AUDRA
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PUZIO, TEDDY                         PUZYCKI, ANA                          PWR WINES
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PY, BRITENI           Case 22-11238-LSS    DocHMUNG
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PYE, ANGELA                          PYE, STEPHANIE                        PYE, TIFFANIE
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PYERITZ, ALYSSA                      PYFER, LAUREN                         PYLA, KRISTINA
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PYLAND, ADRIENNE                     PYLE, ALEXANDRA                       PYLE, BENJAMIN
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PYLE, KATHERINE                      PYLE, LINDSAY                         PYLE, LISA
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PYLE, MICHAEL                        PYLE, PERRI                           PYLE, TIM
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PYLES, AMANDA                        PYLES, ERIN                           PYLES, JULIE
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PYLES, SEAN                          PYLMAN, KATHI                         PYNCHON, LINDY
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PYNE, SARAH                          PYRON, CYNTHIA                        PYRTLE, KIERSTE
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PYRZYK, WALTER                       PYSOLA, JAIME                         PYTLIK, MICHAEL
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PYWELL, DYLAN         Case 22-11238-LSS
                                     Q, M  Doc 2 Filed 11/30/22         Page 4003  of 5495
                                                                             Q, MEGAN
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Q, SUSAN                             QADDOMI, AMY                            QADER, VANESSA
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QAISER, SARAH                        QAWIY, SHADRACH                         QI, MEI
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QI, WENDY                            QI, YIWEI                               QIAN, ELIZABETH
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QIAN, JINGYI                         QIAN, JUNYU                             QIANG LAI
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QIANG, LIDIA                         QIN, ANNIE                              QIN, KATHERINE
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QIN, WILSON                          QINGLAN PAN                             QIONG W LAZUKA
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QIU, SALLY                           QR CODE GENERATOR                       QRYN, IMANI
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QU, YOUGUI                           QUA, RHIANNON                           QUACH, BROOKE
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QUACH, CHRISTINE                     QUACH, LISA                             QUACH, MY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
QUACH, SOPHIA         Case 22-11238-LSS
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                                                                             QUACKENBUSH,
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QUADE, JENNY                         QUADIR, DE-ISO                          QUADRI, KURT
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QUAGLIA, KATHRYN                     QUAGLIAROLI, KRISTEN                    QUAGLIATA, JUSTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




QUAGLIATO, ALMA                      QUAGLIETTA, ILEANA                      QUAIL DISTRIBUTING, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          7735 SOUTH 134TH STREET, STE. 103
                                                                             OMAHA, NE 68138




QUAIL, ASHLEY                        QUAIL, LORI                             QUAINTANCE, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




QUAIROLI, ANTHONY                    QUALAROO, INC.                          QUALITY CABLE INSTALLATIONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   1796 TIPPERARY LANE
                                                                             NEWBURY PARK, CA 91320




QUALITY EDIT LLC                     QUALITY INN AND SUITES                  QUALMAN, BROOKE
2357 GREENFIELD AVENUE               ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90064




QUALMAN, LINDSEY                     QUALTER, JEANNE                         QUALTERE-BURCHER, ROSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




QUALTERS, SANDRA                     QUAM, KATIE                             QUAM, LIBBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




QUAMINA, JESSICA                     QUAN QI                                 QUAN, ABBEY
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QUANCE, AMANDA        Case 22-11238-LSS    Doc
                                     QUANCE,    2 Filed 11/30/22
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                                                                           QUANCE, 5495
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QUANE, ROGER                         QUANN, KATIE                          QUANSTROM, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUANTCAST CORPORATION                QUARANTO, ANASTASIA                   QUARESMA, SARAH
201 THIRD STREET, 2ND FLOOR          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94103




QUARFOTH, KATIE                      QUARNSTROM, KENNETH                   QUARTANA, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUARTARARO, ANN                      QUARTAROLO, TONY                      QUARTARONE, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUARTE, CHRISTINE                    QUARTO, CASSANDRA                     QUARVE, JARA
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QUASHEN, JESSICA                     QUATRARO, OLIVIA                      QUATRO, RACHEL
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QUATTLEBAUM, GENTRY                  QUATTLEBAUM, LAKISHA                  QUATTRINI, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUATTRUCCI, ESTEPHANIE               QUATTRUCCI, JOSEPH                    QUAY, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUAZI, SUNNA                         QUDUS, MARYAM                         QUEBRAL, LYDIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
QUECK, AMANDA         Case 22-11238-LSS
                                     QUECK, Doc
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                                                                           QUEDENS, PATTY
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QUEEN, AMANDA                        QUEEN, BRENDA                         QUEEN, CHAD
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QUEEN, GREG                          QUEEN, KALLI                          QUEEN, KELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUEEN, KOHL                          QUEEN, LORI                           QUEEN, TARIQ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUEEN, TAYLOR                        QUEENER, JOSEPH                       QUEENO, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUEENSBOURROW, OMAR                  QUEENSEN, LYNN                        QUEIPO, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUELLA, ANNE                         QUELLA, CAROL                         QUELLO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUENCH FINE WINES OF ARIZONA         QUENCH FINE WINES OF ARIZONA          QUENCH FINE WINES OF ARIZONA
2555 NORTH NEVADA STREET             4201 N. 45TH AVE.                     4201 N. 45TH AVE.
CHANDLER, AZ 85225                   PHOENIX, AZ 85031                     PHOENIX, AZ 85031-2109




QUENCH FINE WINES                    QUENTAL, LUIZA                        QUENTEN WYANT
2555 N. NEVADA STREET                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHANDLER, AZ 85225




QUENTON LYLES                        QUENZER, JAMIE                        QUENZER, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
QUEOR, ROBERT         Case 22-11238-LSS    Doc
                                     QUERBES,    2 Filed 11/30/22
                                              JENNIFER                  Page 4007 of 5495
                                                                             QUERBES, SOFIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




QUERN, LORI                          QUESADA, ANTONIO                         QUESADA, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




QUESADA, JENNINE                     QUESENBERRY, HEATHER                     QUESENBERRY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




QUESNEL, AIMEE                       QUEST 7 LLC                              QUEST GRAPHICS
ADDRESS AVAILABLE UPON REQUEST       14201 SE PETROVITSKY ROAD SUITE A3 115   2423 NORTHLINE INDUSTRIAL DR.
                                     RENTON, WA 98058                         MARYLAND HEIGHTS, MO 63043




QUEST GROUPS LLC                     QUEST TRUST COMPANY                      QUESTELLES, DASLENE
755 W FRONT ST SUITE 200             FBO LYNNE A LAPIDUS IRA                  ADDRESS AVAILABLE UPON REQUEST
BOISE, ID 83702                      17171 PARK ROW SUITE 100
                                     HOUSTON, TX 77084




QUESTRADE INC./CDS (5084)            QUEVEDO, ELENA                           QUEZADA, ARIANA
ATTN AL NANJI OR PROXY MGR           ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
5650 YONGE ST
TORONTO, ON M2M 4G3
CANADA



QUEZADA, BRIAN                       QUEZADA, WILLOW                          QUI RESTAURANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




QUIAMBAO, OSCAR                      QUICK, ALYCIA                            QUICK, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




QUICK, BRANDON                       QUICK, DANIEL                            QUICK, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




QUICK, JESSE                         QUICK, KIMBERLY                          QUICK, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
QUICK, RACHEL         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     QUICK, TOM                       Page 4008  of ALICIA
                                                                           QUIGLEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUIGLEY, ALYSSA                      QUIGLEY, BERNADETTE                    QUIGLEY, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUIGLEY, COLLEEN                     QUIGLEY, DOMINIQUE                     QUIGLEY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUIGLEY, JUSTIN                      QUIGLEY, KAITLIN                       QUIGLEY, KATIE
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QUIGLEY, LEAH                        QUIGLEY, LISA                          QUIGLEY, MARIA
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QUIGLEY, MARLENA                     QUIGLEY, MEGHAN                        QUIGLEY, MICHELLE
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QUIGLEY, MOLLY                       QUIGLEY, PAMELA                        QUIGLEY, SARAH
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QUIGLEY, TANIA                       QUIGLEY, YVONNE                        QUIJADA, ALEJANDRO
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QUIJADA, JENNIFER                    QUIJANO, ALYSSA                        QUIJANO, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUIJANO, NICHOLAS                    QUILALANG, ZARAH                       QUILAL-LAN, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
QUILES, JASMINE       Case 22-11238-LSS     Doc 2 Filed
                                     QUILES-GONZALEZ,      11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




QUILL CORPORATION                       QUILL, ANDREA                          QUILL, ASHLEY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUILL, MARIE                            QUILL, NICOLE                          QUILL, VICTORIA
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QUILLE, KEVIN                           QUILLEN, CHRISTINA                     QUILLEN, COURTNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUILLEN, KATELYN                        QUILLENS, ROBYN                        QUILLIGAN, CHRISTI
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QUILLIGAN, KELLY                        QUILLIN, EMMA                          QUILLING, JESSICA
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QUILLMAN, KAYLI                         QUILO GONZALEZ, INDIRA                 QUILTER, MICHAEL
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QUILTY, HEATHER                         QUILTY, LAUREN                         QUILTY, MAE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUINBY, LIBBY                           QUINBY, LISA                           QUINCE, MARCELL
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QUINCY BAZEN                            QUINDLEY, ERIN                         QUINE, ALLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
QUINE, LAUREN         Case 22-11238-LSS    Doc
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                                                                           QUINLAN, 5495
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QUINLAN, COLLEEN                     QUINLAN, JENNA                         QUINLAN, KATIE
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QUINLAN, LINDSAY                     QUINLAN, MOLLY                         QUINLEVAN, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUINLEY, DANIEL                      QUINLISK, KATHLEEN                     QUINLIVAN, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUINN & CO OF NY LTD                 QUINN GAUMER                           QUINN SIMEZ, HEATHER
520 EIGHTH AVENUE                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10018




QUINN, AMY                           QUINN, ANNA                            QUINN, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUINN, ANNI                          QUINN, BAILEY                          QUINN, BARBARA
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QUINN, CARMEL                        QUINN, CAROLINE                        QUINN, CASSANDRA
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QUINN, CATHY                         QUINN, COLIN                           QUINN, COLLEEN
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QUINN, DEBRA                         QUINN, DONNA                           QUINN, EMILY
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QUINN, EMILY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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QUINN, ERIN                          QUINN, GARY                           QUINN, JAMES
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QUINN, JANET                         QUINN, JEEP                           QUINN, JENNIFER
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QUINN, JENNIFER                      QUINN, JODIE                          QUINN, JOY
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QUINN, KARA                          QUINN, KAT                            QUINN, KATE
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QUINN, KATHLEEN                      QUINN, KATHLEEN                       QUINN, KATHY
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QUINN, KELSEY                        QUINN, LAINE                          QUINN, LAURA
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QUINN, LAURA                         QUINN, MICHAEL                        QUINN, MICHAEL
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QUINN, PATRICIA                      QUINN, RACHEL                         QUINN, REBECCA
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QUINN, SHANNA                        QUINN, SHANNON                        QUINN, SOPHIA
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QUINN, SUJAD          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                                  VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINN, VINCENT                       QUINN, WILLIAM                        QUINN, ZOE
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QUINNELL, AMY                        QUINNEY, ALLIE                        QUINNEY, CAROLINE
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QUINN-FOWLER, WILLOW                 QUINONES, ALLISON                     QUINONES, ASHLEY
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QUINONES, CELINA                     QUINONES, ERIKA                       QUINONES, JASMINE
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QUINONES, JASON                      QUINONES, LENA                        QUINONES, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINONES, MARIA ALEJANDRA            QUINONES, MARITZA                     QUINONES, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINONES, STEFANIE                   QUINONES-FUENTES, AWILDA              QUINONEZ, BERENICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINONEZ, NANCY                      QUINT, DONNA                          QUINT, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINT, ZIA                           QUINTA DA PLANSEL XDA                 QUINTAL, TANYA
ADDRESS AVAILABLE UPON REQUEST       QUINTA DE SAO JORGE                   ADDRESS AVAILABLE UPON REQUEST
                                     MONTEMOR-O-NOVO 7050
                                     PORTUGAL
QUINTANA, AMBER       Case 22-11238-LSS    Doc
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                                               ANDREA                 Page 4013  of 5495
                                                                           QUINTANA, CHENAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINTANA, GABRIELA                   QUINTANA, GERARDO                     QUINTANA, JESSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINTANA, KAILEY                     QUINTANA, KIRA                        QUINTANA, LUTHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINTANA, MARIE                      QUINTANA, MONTSERRAT                  QUINTANA, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINTANILLA, ALEXIS                  QUINTANILLA, HERNAN                   QUINTANILLA, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINTARD, ELIZABETH                  QUINTELA, JOVITA                      QUINTEN HARNESS
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QUINTERO, AGUSTIN                    QUINTERO, ALEX                        QUINTERO, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINTERO, ANDREA                     QUINTERO, ARIANNA                     QUINTERO, CAROLINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINTERO, COURTNEY                   QUINTERO, IVY                         QUINTERO, JANETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QUINTERO, JESSIE                     QUINTERO, JOANNA                      QUINTERO, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
QUINTERO, JULIO       Case 22-11238-LSS    Doc
                                     QUINTERO,   2 Filed 11/30/22
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                                                                           QUINTERO, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUINTERO, ROCIO                      QUINTERO, RYAN                         QUINTETO, ANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUINTON HALE                         QUINTON LEWIS-DIGGS                    QUINTOS, CATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUINTUS, THOMAS                      QUINTYNE, JEWEL                        QUINTYNE, JEWEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUIRANTE, KIMBERLEY                  QUIRCH, ELIZABETH                      QUIRING, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




QUIRINO DE MORAIS, SEFORA            QUIRK, ALEXA                           QUIRK, HEATHER
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QUIRK, MOLLY                         QUIRK, SCOTT                           QUIRKE, SHANE
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QUIROGA, MIRIAM                      QUIROGA, MONA                          QUIROZ, ANGELA
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QUIROZ, JENNA                        QUIROZ, RACHEL                         QUIRSOLA, MICHELLE
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QUISENBERRY, KRISTIN                 QUIST, MARGARET                        QUITO, MAURICIO
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QUITUGUA, MICHELLE    Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     QUITZ, MONICA                    Page 4015 of 5495
                                                                           QUIZWORKS
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QUN WU                               QUOC, KAT                             QUOD, LINDA
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QUODOMINE, RICHARD                   QUOI, NYANNA                          QUON, ANTHONY
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QUOSS, VICTORIA                      QURESHI, MARIA                        QURESHI, OMAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




QVARSELL, BJORN                      QX WAREHOUSE INC.                     R & G SCHATZ FARMS
ADDRESS AVAILABLE UPON REQUEST       2300 CORDELIA ROADD, SUITE B          ADDRESS UNAVAILABLE AT TIME OF FILING
                                     FAIRFIELD, CA 94534




R ANDRADE, DAVID                     R ANTONUCCI, ALEXIS                   R BRAUN, DARREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




R DIETRICH III, JOHN                 R JUDD, KIELE                         R PONTING, NICHOLAS
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R SHRON, GREGORY                     R SMITH, HEATHER                      R THOMPSON, CHAD
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R W SALLIS PTY LTD                   R WRIGHT, TARA                        R, A
F/B/O ROBERT A LAWRENCE ROTH IRA     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
6 PARK CRESCENT
LINDEN PARK
AUSTRALIA



R, ALISON                            R, BRIAN                              R, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
R, DEBRA              Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     R, GILBERT                       Page 4016   of 5495
                                                                           R, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




R, JOEL                              R, JOHN                               R, KELSEY
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R, KENNETH                           R, KIMBELY                            R, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




R, KIMBERLY                          R, KIRSTEN                            R, LINDA
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R, MADILYN                           R, MARA                               R, MATTHEW
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R, MICHAEL                           R, NICK                               R, OBERT
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R, PATTI                             R, SAAH                               R, TIM
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R, TINA                              R, TRISHENA                           R, VAIBHAV
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R, VIRGINIA                          R. ABBOTT, CECIL                      R. JONES, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




R. MEAUX, ANDRE                      R. NASH, KATELIN                      R., BEAU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
R., NATALIE           Case 22-11238-LSS      DocCOMPANY,
                                     R.B. DWYER   2 Filed   11/30/22
                                                          INC.         Page 4017  of 5495
                                                                            RA, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       2891 E. MIRALOMA AVE                   ADDRESS AVAILABLE UPON REQUEST
                                     ANAHEIM, CA 92806




RAAB, JOELL                           RAAB, KIMBERLY                        RAAB, SCOTT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAAD, JESSICA                         RAAF, LISA                            RAAK, KARINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAAP, MELISSA                         RAASCH, ANN                           RAASCH, BRIAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAASCH, KELSEY                        RAASCH, ROBIN                         RAAYMAKERS, DANIELA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABALAIS, AMANDA                      RABALAIS, STAN                        RABASSA, MAGGIE
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RABB, JESSICA                         RABB, KATHERINE                       RABBANI, JASMINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABBANI, SHEREEN                      RABBAS, SHAWNA                        RABBE, DEBRA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABBITT, SARAH                        RABBITT, STEPHANIE                    RABBLE WINE COMPANY, TOOTH & NAIL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        WINERY
                                                                            3090 ANDERSON DR
                                                                            PASO ROBLES, CA 93446




RABE, CALLIE                          RABE, CHRISTINE                       RABE, DREW
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RABE, KAT             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RABE, LORI                       Page 4018   of 5495
                                                                           RABE, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABEAU, KRISTIN                      RABEL, SARAH                          RABER, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABETSKI, TABETHA                    RABIDEAU, EMILIE                      RABIDEAU, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABIDEAU, KRISTIN                    RABIELA, ALYSSA                       RABIN, ELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABIN, GLENNIE                       RABIN, LINDSAY                        RABINOVITCH, NIKOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABINOVITZ, DAN AND HOLLY            RABINOWITZ, ALEXANDER                 RABINOWITZ, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABKIN, LEAH                         RABON, DAMON                          RABON, ZACHARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABSKY, SHAWN                        RABSON, REBECCA                       RABUN, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RABY, MINDI                          RABY, SALINA                          RAC DESIGN BUILD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3048 NORTH COOLIDGE AVE
                                                                           LOS ANGELES, CA 90039




RACCA, AUBREE                        RACCHINI, ASHLEY                      RACCUGLIA, STEFANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RACE, JAKE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RACE, JOHN                          Page 4019  of 5495
                                                                              RACE, MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




RACELA LLC                              RACER LLC                             RACEY, MICHELLE
ADDRESS UNAVAILABLE AT TIME OF FILING   813 CLOVERCREST DRIVE                 ADDRESS AVAILABLE UPON REQUEST
                                        ALEXANDRIA, VA 22314




RACHAEL COSTA                           RACHAEL ELIZABETH BOWEN               RACHAEL FIELD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RACHAEL MAGGIO                          RACHAEL SHIEBLER                      RACHAEL SHIEBLER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RACHAEL STARRY                          RACHAEL, REGINA                       RACHAL, BRITNI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RACHAL, SARAH                           RACHDORF, DAMIAN                      RACHEK, CHRISTOPHER
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RACHEL ABENA AMOAKO                     RACHEL BARG                           RACHEL BROWN SEYMOUR
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RACHEL BROWN                            RACHEL ERDMAN                         RACHEL FIGUERAS
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RACHEL FOX                              RACHEL FROST                          RACHEL HOLZMAN
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RACHEL HORN                             RACHEL JAMES                          RACHEL LEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RACHEL LINDSAY        Case 22-11238-LSS
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RACHEL MALCHAM                       RACHEL MANY                           RACHEL MANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RACHEL MEINERS                       RACHEL OFLAHERTY                      RACHEL PIETRON ERICKSEN
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RACHEL ROSEN                         RACHEL SPRADLIN                       RACHEL STELTER
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RACHEL STELTER                       RACHEL STELTER                        RACHEL WERNER
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RACHEL WILLIAMS                      RACHEL WITHERINGTON                   RACHEL
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RACHEVA, YOULIA                      RACHKO, ANNE                          RACHKO, TAYLOR
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RACHLIN, EMILY                       RACHLIN, SKYLER                       RACHMAN, DARRAH
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RACHMAN, JENNA                       RACHUBA, ALISON                       RACHUBINSKI, CHAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RACHUBINSKI, RACHEL                  RACICOT, MEAGAN                       RACK & RIDDLE CUSTOM WINE SERVICES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        499 MOORE LANE PO BOX 2400
                                                                           HEALDSBURG, CA 95448
RACK, MELISSA         Case 22-11238-LSS    Doc 2SYDNI
                                     RACKAUSKAS,     Filed 11/30/22     Page 4021
                                                                             RACKE,of 5495
                                                                                   ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RACKLEY, AMANDA                      RACKLEY, MARCY                          RACKNER, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RACKS & SHELVING                     RACKSPACE CLOUD                         RACLAWSKI, NICOLE
529 C STREET                         ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
HAWYARD, CA 94541




RACO, VERONICA                       RACQUEL CUA                             RACSTER, LARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RACY, JEFF                           RACZEK, ROXAN                           RACZKA, TED
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RACZYNSKI, KIMBER                    RACZYNSKI, SHANNON                      RAD, KY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RAD, RAMONA                          RAD, SUE                                RADABAUGH, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RADABAUGH, TAMI                      RADACK, KATELYN                         RADACK, SUZANNAH
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RADAK, MISTIE                        RADANDT, LYDIA                          RADANEATA, CRISTIAN
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RADATZ, ERIKA                        RADCHENKO, OLHA                         RADCLIFF, CARRIE
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RADCLIFF, COLLEEN     Case 22-11238-LSS     Doc
                                     RADCLIFF,    2 Filed 11/30/22
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                                                                           RADCLIFF, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RADDAY, ANNE                         RADDER, KATE                           RADDLE, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RADECKE, TAMMY                       RADECSKY, JENNA                        RADEL, ASHLEY
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RADEMACHER, ELIZABETH                RADEMAKER, DENNIS                      RADEMAKER, REED
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RADER, ELIZABETH                     RADER, EMILIE                          RADER, HEATHER
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RADER, JESSICA                       RADER, KATHERINE                       RADER, KRISTINA
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RADER, MORGAN                        RADER, TARI                            RADER, TRACEY
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RADER, TRACY                         RADER, WILLIAM                         RADEWAHN, EMILY
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RADEWAHN, KRISTA                     RADFORD, ABBY                          RADFORD, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RADFORD, HOLLY                       RADFORD, JULIANNA                      RADFORD, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RADFORD, KRYSTIE      Case 22-11238-LSS    Doc 2 NATASHA
                                     RADHAKRISHNAN,  Filed 11/30/22   Page 4023  ofAYYAPUSETTY
                                                                           RADHIKA  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RADHIKA RAVINDRAN                    RADISH, LEXI                          RADISSON HOTELS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




RADIUS GLOBAL MARKET RESEARCH        RADIUS, JESTIENE                      RADKE, CAMERON
120 FIFTH AVENUE                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10011




RADKE, KIRBY                         RADKE, LIA                            RADKE, ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RADLEY, KAYLA                        RADLEY, LAUREN                        RADLIFF, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RADLOFF, MARINNA                     RADMAN, LISSA                         RADO, LUKE
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RADOMSKI, JOAN                       RADON, NICOLE                         RADON, PAIGE
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RADOS, ROSA                          RADOS, STEPHANIE                      RADOSEVICH, JEANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RADOSTI, STEVE                       RADTKE, HAYLI                         RADTKE, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RADTKE, JOHNATHAN                    RADTKE, MADISYN                       RADTKE, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RADTKE, RACHEL        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RADU, JOHN                       Page 4024 of 5495
                                                                           RADUAZZO, ELISSA
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RADUECHEL, JANINE                    RADULSKI, HILARY                       RADWAY, KATE
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RADZINSKII, IURII                    RAE WILLIAMS                           RAE, BONNIE
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RAE, DEENA                           RAE, ERIN                              RAE, MCKENZIE
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RAE, SHANNON                         RAE, TARA                              RAE, TYIA
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RAEBEL, KARISSA                      RAEBURN, LAUREN                        RAECHEL ANTRIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAECHEL ELIZABETH THOMAS             RAEDER, AMBER                          RAEDISCH, URSULA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAEH, SANDRA                         RAEKER-JORDAN, ELI                     RAEKER-JORDAN, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAEL, BETHANIE                       RAEL, ELIZABETH                        RAEL, GEORGIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAEL, NICOLE                         RAEL, RYANN                            RAELYNA RODRIGUEZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RAESEMANN, ANDREW     Case 22-11238-LSS    Doc
                                     RAESLER,    2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAESZ, DANIELLE                      RAETZ, CAROL                          RAEUBER, TIFFANY
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RAFAEL RODRIGUEZ, CARRIE RODRIGUEZ   RAFAEL, ROCHELLE                      RAFALSKI, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAFALSKI, JESSICA                    RAFF, KATERINA                        RAFF, MADDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAFFA, KRISTIN                       RAFFAEUS ASQUER                       RAFFANIELLO, MICHAEL
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RAFFEL, REBECCA                      RAFFERTY, ANNETTE                     RAFFERTY, CAROLYN
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RAFFERTY, COLLEEN                    RAFFERTY, ELIZABETH                   RAFFERTY, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAFFERTY, EMMA                       RAFFERTY, KAITLYN                     RAFFERTY, KATY
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RAFFERTY, KC                         RAFFERTY, KEVIN                       RAFFERTY, LUKE
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RAFFERTY, MEGHAN                     RAFFERTY, PATRICIA                    RAFFETY, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAFFETY, ERIN         Case 22-11238-LSS     Doc
                                     RAFFIELD,    2 Filed 11/30/22
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                                                                           RAFFINIE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAFFIO, KATHERINE                    RAFFO, LUIGI                           RAFFOL, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAFIAIE, KRISTI                      RAFLA, BENJAMIN                        RAFLR LIMITED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         71 QUEEN VICTORIA STREET
                                                                            LONDON EC4V 4BE
                                                                            UNITED KINGDOM




RAFOOL, DAWN                         RAFSON, JESSIE                         RAFTER, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAFTER, KATONAH                      RAFTER, LIA                            RAFTERY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAFUSE, JENNIFER                     RAGAIN, MICHELLE                       RAGAINI, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAGALLER, ANGIE                      RAGAN, AMANDA                          RAGAN, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAGAN, GAIL                          RAGAN, HEATHER                         RAGAN, JERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAGAN, KATHERINE                     RAGAN, LAUREN                          RAGAN, LYNDA V.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAGAN, MATTHEW                       RAGAN, PATTI                           RAGAN, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RAGAN, TARA           Case 22-11238-LSS    Doc
                                     RAGANO,    2 Filed 11/30/22
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                                                                           RAGANO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAGAS, DON                           RAGASA, MACY                          RAGEN, RACHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAGER, BENJAMIN                      RAGER, CHRISTINA                      RAGER, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAGGHIANTI, ALISON                   RAGHAV KUMAR                          RAGHAV KUMAR
ADDRESS AVAILABLE UPON REQUEST       1 STUYVESANT OVAL APT 5F              436 N OXFORD AVE, APT 204
                                     NEW YORK, NY 10009                    LOS ANGELES, CA 90004




RAGHAVA PAMULAPATI                   RAGHAVAN, SUSHEELA                    RAGHAVAN, VIKRAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAGHAVARAJU, SANJAY                  RAGHEI, AMENA                         RAGHUNANDAN, SHREYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAGHUNAUTH, MATTHEW                  RAGIN, TIFFANY                        RAGLAND, ACQUEETTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAGLAND, ASHLEY                      RAGLAND, SALEM                        RAGLOW, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAGLOW-DEFRANCO, MARISKA             RAGNARSDOTTIR, INGIBJORG              RAGO, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAGO, NANCY                          RAGO, SANDRA                          RAGONE, HATTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAGONESE, LAURA       Case 22-11238-LSS    DocSUZANNE
                                     RAGONESE,  2 Filed 11/30/22      Page 4028 of 5495
                                                                           RAGONESI, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAGOZZINE, MAIRE                     RAGSDALE, BRETT                        RAGSDALE, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAGSDALE, JULIA                      RAGSDALE, LAURA                        RAGSDALE, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAGSDALE, LINDSEY                    RAGSDALE, MEGAN                        RAGSDALE, RICK
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RAGSDALE, WES                        RAGSTON, MICHELE                       RAGUS, CATHERINE
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RAGUSA, MARISSA                      RAGUSA, ROBERT                         RAH, CHOONGLIM
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RAHAIM, MICHELA                      RAHAL, DAVIS                           RAHALL, BRITTANY
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RAHAUSER, ASHLEY                     RAHEEM ABDUL-AZEEM                     RAHEJA, AARTI
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RAHEJA, LUCY                         RAHIM, IKEYSHA                         RAHIMI, LAUREN
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RAHIMIAN, THERESA                    RAHM, ANDREW                           RAHMAAN, AKINAH
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RAHMAN, ABDUR         Case 22-11238-LSS    Doc
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RAHMAN, MONIA                        RAHMAN, NICHOLE                       RAHMAN, SARA
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RAHMANI, MARYAM                      RAHN, JEFF                            RAHN, JULIE
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RAHN, JULIE                          RAHN, WENDY                           RAHNER, KATIE
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RAHOI, DAVID                         RAHUL MAHTANI                         RAI, BANDANA
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RAI, KAITLIN                         RAI, RICHA                            RAI, SACHIN
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RAI, STEVE                           RAIA, CHRISTINA                       RAIA, STEPHEN
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RAIAC, TIFANY                        RAIANO, BRIDGET                       RAIBICK, JACLYN
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RAIBLE, KATHERINE                    RAIBLEY, EMMA                         RAIES, MICAH
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RAIHA, BARBARA                       RAIHA, BARBARA                        RAIKER, RYAN
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RAIKOW, STEVE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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RAILSBACK, KATE                      RAIM, JENNY                            RAIMO, JAMES
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RAIMO, KRISTEN                       RAIMOND, CARL                          RAIMONDI, ADAM
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RAIMONDI, ALICIA                     RAIMONDI, CINDY                        RAIN, JAZZ
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RAINALDO, ASHLEY                     RAINBOLT, APRIL                        RAINBOLT, EMILY
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RAINE, LINDSEY                       RAINEAR, EMMA                          RAINEAR, MARISSA
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RAINELLE BURRISS                     RAINES, KELLY                          RAINES, MADDIE
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RAINES, NOLA                         RAINES, TAMARA                         RAINES, VICTORIA
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RAINEY, BEVERLY                      RAINEY, BRITTANY                       RAINEY, FELICIA
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RAINEY, FRED                         RAINEY, LOREN                          RAINEY, MCKENSIE
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RAINEY, MEGAN         Case 22-11238-LSS
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RAINEY, SARAH                        RAINEY, SETH                          RAINEY, WENDY
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RAINFORD, NICOLE                     RAINFORD, SOPHIE                      RAINFOREST QA, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        600 BATTERY ST. 2ND FLOOR
                                                                           SAN FRANCISCO, CA 94111




RAINHA, TED                          RAINIER, JACKIE                       RAINOFF, OLIVIA
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RAINONE, VINCENT                     RAINO-OGDEN, MIRA                     RAINS, AMANDA
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RAINS, CAROLYN                       RAINS, MORGAN                         RAINS, STEVEN
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RAINSLOVE, JASON                     RAINVILLE, JAMIE                      RAINWATER, BRITTANIE
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RAINWATER, KENDI                     RAIS, MOHAMMED                        RAISS-HERRERA, HAJAR
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RAITER, CINDY                        RAIVETZ, SHARON                       RAJ, KISHAN
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RAJA RAJESWARI TATAVARTHY            RAJAGOPAL, MRIDULA                    RAJAGOPALAN, MEERA
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                      Case 22-11238-LSS
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RAJALA, SHAINA                       RAJAN, ANJALI                         RAJAN, PRIYA
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RAJANGAM, DINESH                     RAJANI, TARA                          RAJASAARI, MAARET
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RAJATALO, SONJA                      RAJATALO, SONJA                       RAJCULA, NICHOLAS
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RAJE, PRATEEK                        RAJEEV VERMA                          RAJENDRAN, SREYA
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RAJESHNANI DASARI                    RAJINDER KHUNKHUN                     RAJIV PATEL
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RAJKOVIC, ERIKA                      RAJKOWSKI, MARK                       RAJNEESH MEHRA
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RAJO, LINDA                          RAJPUT, SUJATA                        RAJSKI, LANETTE
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RAJSKY, KAYLA                        RAJU, RAJIV                           RAJU, SRIKANTH
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RAKAN ZORBA                          RAKAUSKAS, MELISSA                    RAKESH NAINI
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RAKESH NOWRANGI       Case 22-11238-LSS
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                                                                           RAKESTRAW, NATHAN
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RAKESTRAW, SHANNON                   RAKETTI, JODI                         RAKHIT, AMIT
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RAKIEWICZ, JOSEPH                    RAKOS, KARA                           RAKOSKE, RYAN
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RAKOSKY, THERESE                     RAKOTZ, JEANNIE                       RAKOVAN, SUSAN
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RAKOW, ALEXA                         RAKOW, CAROLINE                       RAKOW, HANNAH
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RAKOWICH, NICOLE                     RAKOWSKI, LISA                        RAKUNAS, ANNE
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RAKUTEN MARKETING, LLC               RALEIGH, EMMA                         RALEIGH, JENNIFER
215 PARK AVE SOUTH 9TH FL            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10003




RALEIGH, JULIA                       RALEY, CORIE                          RALEY, MARLINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RALEY, ROD                           RALL, MICHAEL                         RALLAPALLI, PADMA
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RALLI, JESSICA                       RALLS, DANIELLE                       RALPH ANTES
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RALPH CAPUTO          Case 22-11238-LSS     Doc 2 ASHCRAFT
                                     RALPH GEORGE    Filed 11/30/22
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                                                                           RALPH THOMAS
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RALPH TORRES                         RALPH, AMY                            RALPH, MARY
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RALPH, TRINA                         RALPHE, LAUREN                        RALPHS
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RALPHS, HEIDI                        RALSTEN III, MATTHEW                  RALSTON, AMY
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RALSTON, DEVON                       RALSTON, GWYNETH                      RALSTON, RACHEL
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RAM, AMOG                            RAM, CHITRA                           RAM, LIIA
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RAM, MARY                            RAMA, EMILY                           RAMACCIA, JULIE
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RAMACHANDRAN, RUPA                   RAMADA, DAVID                         RAMADAN, AMANDA
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RAMADURAI, RAMYA                     RAMAEKERS, JILL                       RAMAEKERS, JONATHAN
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RAMAGE, SUSAN                        RAMAGLIA, VERONICA                    RAMAGOST, JESSICA
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RAMAJI, MOUNIKA       Case 22-11238-LSS    Doc 2 ADAM
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                                                                           RAMAKRISHNA BHAVANTHULA
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RAMAKRISHNA GOWDA                    RAMAKRISHNA VEGIRAJU                  RAMAKRISHNA, VARUN
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RAMAKRISHNAN, MEENA                  RAMALEY-SNIDER, MARDI                 RAMAN SINGH
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RAMAN, ANNA MARIE                    RAMAN, GAYATRI                        RAMAN, SANTHANA
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RAMAN, SHIVANI                       RAMANATHAN, EGU                       RAMANATHAN, RAVI
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RAMAND, PETER                        RAMANI, NIKKI                         RAMANI, RANJANI
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RAMANI, SHRAYA                       RAMASETHU, VAIDYANATHAN               RAMATICI, MARY
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RAMAZZINI, LIONEL                    RAMBEAU-BRYSON, RENEE                 RAMBERG, CANDACE
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RAMBLE, ASHLEY                       RAMBLE, BECCA                         RAMBO, ERIN
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RAMBO, JEREMY                        RAMBO, TONYA                          RAMCHARAN, ADRIENNE
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RAMDAT, JENA          Case 22-11238-LSS
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                                                                           RAMDHANY, ANN
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RAMDHANY, LIANNE                     RAMDIN, CHRISTINA                     RAMEE, MARGAUX
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RAMELLA, HOLLY                       RAMENO, ELIAS                         RAMER, GARY
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RAMESH CHANDRA YARLAGADDA            RAMESH N TOPIWALA                     RAMESH YENAMADDI LYNNE A LAPIDUS IRA
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RAMESH, AISHWARYA                    RAMESH, AKHILA                        RAMESH, DARSHAN
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RAMESH, SURABHI                      RAMEY DEWITT, MEREDITH                RAMEY, ALEX
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RAMEY, BRITTNEY                      RAMEY, CHELSEA                        RAMEY, GENNA
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RAMEY, JULIE                         RAMEY, KIARA                          RAMEY, MISCHON
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RAMEY, PAYTON                        RAMEZANKHANI, ROYA                    RAMEZZANO, VERONICA
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RAMINENI, SRINIVAS                   RAMIREZ RIVERA, LUCIA                 RAMIREZ, ABEL
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RAMIREZ, ADA          Case 22-11238-LSS    Doc
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RAMIREZ, ALICIA                      RAMIREZ, ANDREA                       RAMIREZ, ANGELA
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RAMIREZ, ANGELA                      RAMIREZ, ANNA                         RAMIREZ, ASA
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RAMIREZ, ASHLEY                      RAMIREZ, BERNICE                      RAMIREZ, BOBBY
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RAMIREZ, CARLOS                      RAMIREZ, CHARLOTTE                    RAMIREZ, CHASITY
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RAMIREZ, CLAIRE                      RAMIREZ, CONSTANCE                    RAMIREZ, DANIEL
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RAMIREZ, DANIELA                     RAMIREZ, DAVID                        RAMIREZ, DESHAWN
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RAMIREZ, DULCE                       RAMIREZ, EDDIE                        RAMIREZ, ELIZABETH
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RAMIREZ, ELLEN                       RAMIREZ, ELYSSA                       RAMIREZ, ERIC
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RAMIREZ, ERICA                       RAMIREZ, ERICK                        RAMIREZ, ERIKA
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                                                                           RAMIREZ, 5495
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RAMIREZ, GABRIELA                    RAMIREZ, GABRIELA                     RAMIREZ, GRACIE
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RAMIREZ, HEATHER                     RAMIREZ, IRENE                        RAMIREZ, ISABEL
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RAMIREZ, ISABEL                      RAMIREZ, ISMAEL                       RAMIREZ, ISMAEL
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RAMIREZ, JACQUELINE                  RAMIREZ, JAMES                        RAMIREZ, JAMES
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RAMIREZ, JAMIE                       RAMIREZ, JEANETH                      RAMIREZ, JENNA
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RAMIREZ, JESBETH                     RAMIREZ, JESSICA                      RAMIREZ, JESSICA
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RAMIREZ, JESSICA                     RAMIREZ, JOLENE                       RAMIREZ, JOLIE
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RAMIREZ, JONNATHAN                   RAMIREZ, JORGE                        RAMIREZ, JOSE
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RAMIREZ, KEILA                       RAMIREZ, LAURA                        RAMIREZ, LAURA
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RAMIREZ, LISSETTE                    RAMIREZ, LUCIO                        RAMIREZ, MADELINE
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RAMIREZ, MADGELINE                   RAMIREZ, MARIA                        RAMIREZ, MARIA
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RAMIREZ, MARTHA JULIA                RAMIREZ, MARTIN                       RAMIREZ, MAYA
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RAMIREZ, MICHAEL                     RAMIREZ, MICHAEL                      RAMIREZ, MICHELLE
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RAMIREZ, MIRANDA                     RAMIREZ, NANCY                        RAMIREZ, NATALIE
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RAMIREZ, NATALIE                     RAMIREZ, PAOLA                        RAMIREZ, PERLA
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RAMIREZ, PRISCILLA                   RAMIREZ, RAFAEL                       RAMIREZ, RAUL
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RAMIREZ, RAY                         RAMIREZ, RAYMOND                      RAMIREZ, REBECCA
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RAMIREZ, RICHARD                     RAMIREZ, ROBERTO                      RAMIREZ, SARA
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RAMIREZ, SARAH        Case 22-11238-LSS    Doc
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                                                                           RAMIREZ, 5495
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RAMIREZ, SHANNON                     RAMIREZ, SHERILYN                      RAMIREZ, SUMMER
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RAMIREZ, SYNDEY                      RAMIREZ, THALIA                        RAMIREZ, TIFFANY
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RAMIREZ, VALERIA                     RAMIREZ, VANESSA                       RAMIREZ, VICTORIA
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RAMIREZ, VICTORIA                    RAMIREZ, WENDY                         RAMIREZ, WHITNEY
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RAMIREZ, YAZMIN                      RAMIREZ-JOHNSON, MARIA                 RAMIREZ-PEREZ, ERIKA
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RAMJIT, BRITT                        RAMJIT, PETER                          RAMJIT, REGINA
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RAMLJAK, JULEE                       RAMLOCHAN, NAVIDA                      RAMM, MARY
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RAMMELSBERG, JORDAN                  RAMMO, WASSAN                          RAMNARAYANAN, SNEGHA
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RAMNAUTH, VIJAY                      RAMON ROCHA                            RAMON, MELISSA
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RAMON, VEGA           Case 22-11238-LSS    Doc
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RAMOS, ADRIANA                       RAMOS, ADRIANA                        RAMOS, ALEJANDRO
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RAMOS, AMANDA                        RAMOS, ANDREA                         RAMOS, ANGELICA
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RAMOS, ANTHONY                       RAMOS, ARIEL                          RAMOS, ASHLEY
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RAMOS, CAROLINA                      RAMOS, DANIEL                         RAMOS, DANIELLE
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RAMOS, DANNIELLE                     RAMOS, DELMY                          RAMOS, ERIKA
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RAMOS, FELIX                         RAMOS, GABRIELA                       RAMOS, GABRIELLE
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RAMOS, GISSEL                        RAMOS, GLADYS                         RAMOS, HALLEY
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RAMOS, HALLEY                        RAMOS, ISABELLE                       RAMOS, IVAN
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RAMOS, JAMIE                         RAMOS, JAZMIN                         RAMOS, JEANNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAMOS, JESSICA        Case 22-11238-LSS
                                     RAMOS, Doc
                                            JOSE 2   Filed 11/30/22   Page 4042
                                                                           RAMOS,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, JULIANN                       RAMOS, KARLA                          RAMOS, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, LATOYA                        RAMOS, LEELAYNA                       RAMOS, MARCELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, MARIA                         RAMOS, MARICARMEN                     RAMOS, MARILIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, MARITZA                       RAMOS, MERCEDES                       RAMOS, MIGUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, MIRELYS                       RAMOS, MONICA                         RAMOS, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, OLGA                          RAMOS, PAULA                          RAMOS, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, REBECA                        RAMOS, RENEE                          RAMOS, RHIANNAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, ROSIMEIRE                     RAMOS, SANTIAGO                       RAMOS, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, SHELLY                        RAMOS, SHEREEN                        RAMOS, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAMOS, STEPHANIE      Case 22-11238-LSS
                                     RAMOS, Doc 2 Filed 11/30/22
                                            TAMMY                     Page 4043
                                                                           RAMOS,of 5495
                                                                                  TANIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOS, VANEZZA                       RAMOS, WYNN                           RAMOS, XAVIER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMOSKAITE, EVELINA                  RAMP, KRISTEN                         RAMPHIR, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMPKE, KATIE                        RAMPLEY, EMILY                        RAMPOLLA, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMPULLA, DANIELLE                   RAMPULLA, PHIL                        RAMPULLA, TRISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMPY, ATOSHA                        RAMPY, BROOKE                         RAMSAIER, ALY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMSAWAK, FRANCESCA                  RAMSAY, ALEXCINA                      RAMSAY, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMSAY, JORDAN                       RAMSAY, KAREN                         RAMSAY, LEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMSAY, NICOLE                       RAMSAY, SHARON                        RAMSAY, SHERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMSDELL, LAUREL                     RAMSDELL, SYLVIA                      RAMSDEN, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAMSDEN, CAROLE       Case 22-11238-LSS    Doc
                                     RAMSDEN,    2 Filed 11/30/22
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                                                                           RAMSDEN, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSDEN, SUSAN                       RAMSEIER, JESSICA                      RAMSER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSEY, ALLISON                      RAMSEY, AUBREY                         RAMSEY, BRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSEY, CAITLYNN                     RAMSEY, CARLY                          RAMSEY, DYLAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSEY, GARY                         RAMSEY, GRACIE                         RAMSEY, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSEY, JACK                         RAMSEY, JENNA                          RAMSEY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSEY, JESSICA                      RAMSEY, KATY                           RAMSEY, KAYLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSEY, KIM                          RAMSEY, KRISTINA                       RAMSEY, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSEY, LETA                         RAMSEY, MALLORY                        RAMSEY, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAMSEY, MICHELE                      RAMSEY, NATALIE                        RAMSEY, PATIENCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RAMSEY, RUSS          Case 22-11238-LSS
                                     RAMSEY,Doc  2 Filed 11/30/22
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                                                                           RAMSEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMSEY, SAVANNA                      RAMSEY, SUE                           RAMSEY, TAMIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMSEYER, ALAN                       RAMSEYER, TERRI                       RAMSEY-JORGENSON, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMSFIELD, BEN                       RAMSHAW, CANDACE                      RAMSTAD, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMSTETTER, MARIA                    RAMSTETTER, MOLLY                     RAMU, PALLAVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAMUCHAK, JOSEPH                     RAMUNNO, MIGUEL                       RAMYA SUBRAMANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANA SHAILENDRA GAUTAM               RANA, DANIEL                          RANA, HEENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANA, JIGNASHA                       RANA, LACEY                           RANA, MEHWISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANAHAN, ANDREW                      RANALLO, AMY                          RANALLO, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANARD, BENJAMIN                     RANCATORE, JENNIFER                   RANCE, KAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RANCE, STEPHANIE      Case 22-11238-LSS    Doc 2 TOO
                                     RANCH MARKET   Filed 11/30/22 Page 4046
                                                                           RANCHO ofARROYO
                                                                                     5495 PERDIDO LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING 4753 W MONTEREY ST
                                                                           CHANDLER, AZ 85226




RANCIER, GARY                         RANCK, COLBY                          RANCK, GARMAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANCK, SUSAN                          RANCOURT, HEATHER                     RAND WORLDWIDE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        11201 DOLFIELD BLVD, STE 112
                                                                            OWINGS MILLS, MD 21117




RAND WORLDWIDE                        RAND, KAILA                           RAND, LEAH
28127 NETWORK PLACE                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60673-1281




RAND, LINDA                           RAND, MELISSA                         RAND, MILDRED
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAND, NICOLE                          RAND, SARAH                           RAND18, FRANK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDA SAMSON                          RANDACCIO, PETER                      RANDALL K WILLIAMS R SALLIS FAMILY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        SUPERANNUATION FUND
                                                                            19 SOUTH TURNER CIRCLE
                                                                            PO BOX 18
                                                                            TENDOY, ID 83468



RANDALL KINOSHITA                     RANDALL LEE WOMACK                    RANDALL, ANGELA J
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, ASHLEY                       RANDALL, BRITTANI                     RANDALL, BROOKLIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, CHELSEA                      RANDALL, CHRYL                        RANDALL, CLAIRE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RANDALL, DAMARIOUS    Case 22-11238-LSS    Doc
                                     RANDALL,    2 Filed 11/30/22
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                                                                           RANDALL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, DYLAN                       RANDALL, ELLE                         RANDALL, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, HEIDI                       RANDALL, JENNIFER                     RANDALL, JOY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, KAROLE                      RANDALL, KENNETH                      RANDALL, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, LYNNETTE                    RANDALL, MARJAY                       RANDALL, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, NATALIE                     RANDALL, RYAN                         RANDALL, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, TIFFANY                     RANDALL, VICTORIA                     RANDALL, WANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDALL, YARROW                      RANDAZZA, STACY                       RANDAZZO, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDAZZO, FRANCES                    RANDAZZO, KATHERINE                   RANDAZZO, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDAZZO, MARIANNA                   RANDAZZO, MARY                        RANDAZZO, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RANDEAU, JENNIFER     Case 22-11238-LSS
                                     RANDEL,Doc  2 Filed 11/30/22
                                             JANICE                   Page 4048 of 5495
                                                                           RANDHAWA, PRETIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDLE, BREANN                       RANDLE, CHRISTI                       RANDLE, DEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDLE, GLORIA                       RANDLE, HARMONY                       RANDLE, HOPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDLE, JENNY                        RANDLE, PAYTON                        RANDLE-KING, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDLEMAN, JUDITH                    RANDLES, JILL                         RANDLE-SALLEY, DEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDOLPH JOHN LIEBERMAN              RANDOLPH, ALYSE (SHAY SHAY)           RANDOLPH, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDOLPH, BRIEANNE                   RANDOLPH, BRITTANY                    RANDOLPH, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDOLPH, DEBORAH                    RANDOLPH, DERRICK                     RANDOLPH, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDOLPH, ESTHER                     RANDOLPH, HAZEL                       RANDOLPH, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANDOLPH, JOHN                       RANDOLPH, KIMBERLEY                   RANDOLPH, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RANDOLPH, SUSANNAH    Case 22-11238-LSS    DocTARRIS
                                     RANDOLPH,  2 Filed 11/30/22      Page 4049 of 5495
                                                                           RANDOLPH, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RANDSTAD NORTH AMERICA, INC.         RANDY ARNOLD ENTERPRISES, INC          RANDY CORAN
(RANDSTAD US LP)                     720 ARCTIC AVENUE                      ADDRESS AVAILABLE UPON REQUEST
PO BOX 894217                        SANTA MARIA, CA 93454
LOS ANGELES, CA 90189-4217




RANDY NICHOLS                        RANDY NICHOLS                          RANDY PAULSON
1751 BERKELEY ST STUDIO 3            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90404




RANE, NEEL                           RANELLI, RHIANNE                       RANELLS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RANER, ELIZABETH                     RANES, TRISHA                          RANEY, DILLON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RANGARAJAN, GANESH                   RANGE, AMANDA                          RANGEL, ANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RANGEL, ANDREA                       RANGEL, ANGELA                         RANGEL, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RANGEL, BRITTNEY                     RANGEL, ISABEL                         RANGEL, JANETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RANGEL, JENNA                        RANGEL, JOSEPH                         RANGEL, MARISOL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RANGEL, SAID                         RANGEL, SANTOS                         RANGEL, YVONNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RANGELOVA, YOANNA     Case 22-11238-LSS
                                     RANGES,Doc 2 Filed 11/30/22
                                             JORDAN                   Page 4050 of 5495 LESLEY
                                                                           RANGE-STANTON,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANI, SANDHYA                        RANIC, LARA                           RANIL HERATH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANJAN, PARI                         RANKEN, RIMSEY                        RANKIN, ALEIGHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANKIN, AMY                          RANKIN, DARRIUS                       RANKIN, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANKIN, ED                           RANKIN, FRANK                         RANKIN, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANKIN, JESSICA                      RANKIN, KAITLIN                       RANKIN, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANKIN, KELLY                        RANKIN, MICHAEL                       RANKIN, NARCISSUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANKIN, QUINN                        RANKIN, SHELLEY                       RANKIN, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANKIN, SUSAN                        RANKINS, BRYCE                        RANKINS, KELLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANN, PAULA                          RANNEY, JOHN                          RANNEY, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RANNILA, SCOTT        Case 22-11238-LSS    Doc
                                     RANOUS,    2 Filed 11/30/22
                                             JOHANNAH                 Page 4051 ofANDREA
                                                                           RANSBY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANSDELL, AMY                        RANSDELL, AMY                         RANSDELL, ELESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANSDELL, MELISSA                    RANSEGNOLA, LORI                      RANSOM, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANSOM, KYNDAL                       RANSOM, LAUREN                        RANSOM, MADELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANSOM, MONIQUE                      RANSOM, SHARON                        RANSOME, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANSON, JENNIFER                     RANSON, JUDI                          RANSON, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANTA, MARK                          RANTA, TUOMAS                         RANTALA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RANTALL, SUSAN                       RANULFO MORALES JR                    RANVILLE, JENELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAO, ADDAGADA                        RAO, ANITHA                           RAO, INDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAO, LAYLA                           RAO, NATASHA                          RAO, POOJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAO, RADHIKA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RAO, RAJ                         Page 4052  of 5495
                                                                           RAO, SUMUKH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAO, SWETHA                          RAO, VENKAT                           RAO, YUHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAOOF, MILO                          RAOUL RASHMI SHAH                     RAPAPORT, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAPCHINSKI, HEATHER                  RAPELA, MELISSA                       RAPENSKE, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAPER, LESLIE                        RAPER, SHELBY                         RAPHAEL ALDAY CAUSAPIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAPHAEL, KATIE                       RAPHAEL, KEITH                        RAPHAEL, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAPHAEL, NATALIA                     RAPICAVOLI, MARIA                     RAPID SECURITY PLUS LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        113 WEST PARK DRIVE
                                                                           MOUNT LAUREL, NJ 08054




RAPISARDA, NICK                      RAPLEE, ALLISON                       RAPP, ELENI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAPP, EMILY                          RAPP, STEFANIE                        RAPP, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAPP, TEODORA                        RAPPAPORT, CHLOE                      RAPPAZZO, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAPPLEYE, GEORGIA     Case 22-11238-LSS    DocSCOTT
                                     RAPPLEYEA, 2 Filed 11/30/22      Page 4053
                                                                           RAPPO,of 5495
                                                                                 ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAPPOLD, MASON                       RAPPOPORT, HARMAR                     RAPPORT, AISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAPSOMANIKIS, MAUREEN                RAPSON, MARY                          RAPT CLOTHING INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        219 W 7TH ST UNIT 1001
                                                                           LOS ANGELES, CA 90014-1953




RAPT CLOTHING INC.                   RAPT CLOTHING INC.                    RAQUEL VALENZUELA
ARA MINASSIAN                        ARA MINASSIAN                         ADDRESS AVAILABLE UPON REQUEST
249 N BRAND BLVD, 509                7189 N FIGUEROA ST.
GLENDALE, CA 91203                   LOS ANGELES, CA 90042




RARDIN, TIM                          RARDON, MICHAEL                       RARE CAT WINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




RARIG, MOLLY                         RASARE, TRACY                         RASBECK, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASBERRY, JEFF                       RASBY, SARAH                          RASCATI, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASCHHOFER, JOERG                    RASCIA, PAT                           RASCON, JUDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASDALL, JESSICA                     RASEY, JOSHUA                         RASH, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASH, BETHANY                        RASH, MERCEDES                        RASH, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RASHAH DAVIS          Case 22-11238-LSS    Doc
                                     RASHEED,   2 Filed 11/30/22
                                              HASAIN                  Page 4054 of 5495
                                                                           RASHEED, KHAMERERENEBI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASHID, ANNE                         RASHID, BRITTANY                      RASHKIN, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASKIN, MELISSA                      RASKIND, STEPHANIE                    RASLEY, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASMUSON, BRITTNEY                   RASMUSON, BRITTNEY                    RASMUSSEN, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASMUSSEN, ALISON                    RASMUSSEN, ALLISON                    RASMUSSEN, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASMUSSEN, CARLY                     RASMUSSEN, CAROL                      RASMUSSEN, FLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASMUSSEN, JARYN                     RASMUSSEN, JILL                       RASMUSSEN, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASMUSSEN, MAUREEN                   RASMUSSEN, MELISSA                    RASMUSSEN, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASMUSSEN, PIPER                     RASMUSSEN, SARAH                      RASMUSSEN, SHANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RASMUSSEN, TYLER                     RASNICK, ISABELLE                     RASNICK, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RASNICK, SCOTT        Case 22-11238-LSS
                                     RASOR, Doc 2 Filed 11/30/22
                                            LAUREN                    Page 4055 of 5495
                                                                           RASPALLO, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RASPUDIC, PAUL                       RASSEL, ISABEL                         RASSI, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAST, NATALIE                        RAST, REBECCA                          RASTELLI, ALEXIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RASTELLI, LUCILLA                    RASTGAR, SHEREEN                       RASTOGI, DEEPTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RASULO, BRENDON                      RASURE, SHEILA                         RATAI, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATAJCZAK, BRENDA                    RATCHENSKI, JOELLYN                    RATCHFORD, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATCHFORD, RACHEL                    RATCLIFF, ASHLEY                       RATCLIFF, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATCLIFF, MELISSA                    RATCLIFF, VICTORIA                     RATCLIFFE, BECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATCLIFFE, EILEEN                    RATCLIFFE, KATIE                       RATCLIFFE, LIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATEGAN, JOSEPH                      RATERMAN, COURTNEY                     RATH, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RATH, DAVID           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RATH, DIANE                      Page 4056   of 5495
                                                                           RATH, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATH, KARRAH                         RATH, MELISSA                         RATH, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATH, MONTANA                        RATH, SALLY                           RATHAN, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATHBUN, KYLIE                       RATHBURN, JAMES                       RATHE, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATHEL, HALEY                        RATHERT, SYDNIE                       RATHJEN, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATHKAMP, CARA                       RATHKE MONTES, CHRISTINA              RATHKE, TRACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATHKE, VICKI                        RATHKOPF, CLIFFORD                    RATHMANN, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATHSACK, BEN                        RATHZ, JAMES                          RATHZ, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATINI, ANN                          RATKAY, LISA                          RATKOVIC, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATKOVIC, PETER                      RATKUS, RENEE                         RATLEY, BRANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RATLEY, JESSICA       Case 22-11238-LSS
                                     RATLIFF,Doc  2 Filed 11/30/22
                                              CHRISTINA               Page 4057  ofJENNIFER
                                                                           RATLIFF, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATLIFF, KENNETH E.                  RATLIFF, MARCIA                        RATLIFF, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATLIFF, SYDNEY                      RATLIFF, TRAVIS                        RATLIFF, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATLIFF, VIVIAN                      RATLIFFE, LUCY                         RATNASABAPATHY SIVASEKARAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATNATUNGA, GEORGINA                 RATNER, AUSTIN                         RATNER, EMILY
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RATNER, LIANA                        RATNER, RICHARD                        RATNER, WENDY
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RATTE, STEPHEN                       RATTERMAN, CARA                        RATTES, SOFIA
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RATTIGAN, MADISON                    RATTIGAN, MICHELLE                     RATTINGER, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATTNER, NICHOLAS                    RATTO, CHRISTIANA                      RATTO, DAVID P
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RATTO, KASSAUNDRA                    RATTRAY, ANJALI                        RATTRAY, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RATUSHNY, LINDSAY     Case 22-11238-LSS    DocREBECCA
                                     RATZBURG,  2 Filed 11/30/22      Page 4058  of 5495
                                                                           RATZBURG, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RATZLAFF, REBECCA                    RAU, CASSANDRA                        RAU, DAWN
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RAU, EDITH                           RAU, ERIC                             RAU, LAURA
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RAU, LAUREN                          RAU, MARGARET                         RAU, MARGARET
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RAU, STEPHANIE                       RAUBER, CANDICE                       RAUBER, HOPE
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RAUCCI, DIANA                        RAUCH, CARIN                          RAUCH, EMILY
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RAUCH, JULEE                         RAUCH, JULIE                          RAUCH, NICOLE
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RAUCH, ROBERT                        RAUCHER, BETH                         RAUCHER, DONNA
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RAUDENBUSH, BRIAN                    RAUEN, BRIAN                          RAUEN, TONI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAUER, CARL                          RAUF, ALEZEH                          RAUFFER, KIRSTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAUGH, CYNTHIA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RAUH, KRIS                       Page 4059 of AUBREY
                                                                           RAUKTYS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAUL SALINAS                         RAULERSON, DENA                       RAULSTON, RON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAUMA, SENIA                         RAUN, NATHAN                          RAUNIKAR, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAUPACH, ALEXIA                      RAUSA, LYNNE                          RAUSCH, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAUSCH, GRIFF                        RAUSCH, HAYLEY                        RAUSCH, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAUSCH, SARA                         RAUSCH, TERRI                         RAUSCHENDORFER, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAUSCHER, SUZANNE                    RAUSE, KELSEY                         RAUSSER BROS TRUCKING, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 638
                                                                           GALT, CA 95632




RAUTENSTRAUCH, CAITLIN               RAUZI, SUZANNE                        RAVA RANCHES, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 1600
                                                                           KING CITY, CA 93930




RAVAGO, MELISSA                      RAVAGO, ROBEE GENE                    RAVAL, PRATIK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAVALJI, ARPEET                      RAVEAU, FLAVIEN                       RAVECHE, LARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAVEL, ANDREW         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     RAVEN BROWN                      Page 4060
                                                                           RAVEN,of 5495
                                                                                 ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAVEN, SELETTA                       RAVEN, VANESSA                        RAVENCROFT, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAVENSCROFT, EMMA                    RAVER, MICHAEL                        RAVI DANDAMUDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAVI KUMAR PALURI                    RAVI RANGANATHAN                      RAVI VORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAVI, ANANYAA                        RAVI, LEKHA                           RAVI, VAISHALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAVILLE, LAURA                       RAVINDRAN, NITHYA                     RAVINDRAN, RAHUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAVINUTALA, PAWAN                    RAVITCH, CINDY                        RAVLIN, MADDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAVNEBERG, CHRISTI                   RA-WALLACE, RAHEEM                    RAWDIN, LISA
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RAWDIW, ALISA                        RAWDON, ANDREW                        RAWJI, SASHA
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RAWL, SARAH                          RAWLINGS, AMY                         RAWLINGS, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAWLINGS, KIM         Case 22-11238-LSS    Doc
                                     RAWLINGS,   2 Filed 11/30/22
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                                                                           RAWLINGS, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAWLINS, DAVID                       RAWLINS, HELEN                        RAWLINS, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAWLS, KAREN                         RAWLS, SHARITA                        RAWN, PENN
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RAWSON GRENNAN, PATTI                RAWSON, ANDREW                        RAWSON, DIANA
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RAWSON, REBECCA                      RAWSON, WIN                           RAY COBB, MICHAEL
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RAY, ALEXANDRA                       RAY, ALISON                           RAY, ALISSA
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RAY, ANGELA                          RAY, ASHLEY                           RAY, BELINDA
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RAY, BRENT                           RAY, COLLEEN                          RAY, CRIS
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RAY, CRYS                            RAY, DANIELLE                         RAY, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAY, DANIELLE                        RAY, DESHAUNA                         RAY, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAY, EMILY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RAY, HARDIK                      Page 4062  of 5495
                                                                           RAY, HEATHER
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RAY, JALINA                          RAY, JAY                              RAY, JESSICA
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RAY, JO                              RAY, JOAN                             RAY, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAY, JORDAN                          RAY, KATIE                            RAY, KEISHIA
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RAY, KERRY                           RAY, KRISTEN                          RAY, LAURA
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RAY, LAUREN                          RAY, LESLIE                           RAY, LISA
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RAY, MAIREAD                         RAY, MARGARET                         RAY, MEGAN
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RAY, MELISSA                         RAY, MICHAEL                          RAY, MICHELE
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RAY, MOLLY                           RAY, MORGAN                           RAY, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAY, NELSON                          RAY, NICHOLAS                         RAY, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAY, PHOEBE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RAY, RANSOM                      Page 4063  of 5495
                                                                           RAY, RHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAY, RILEY                           RAY, SAM                              RAY, SARAH
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RAY, SARAH                           RAY, SCOTT                            RAY, SHAGNIK
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RAY, SHERRY                          RAY, SHERRY                           RAY, SOMER
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RAY, STACY                           RAY, SYREETA                          RAY, TAYLOR
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RAY, TIMOTHY                         RAY, VINCENT                          RAYAS, ANGIE
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RAYAS, ANNA                          RAYAWAN, JAMES                        RAYBOURN, CANDICE
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RAYBUCK, DEVON                       RAYBURN, JACKI                        RAYBURN, KAREN
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RAYBURN, LOGAN                       RAYBURN, NATHAN                       RAYBURN, REBECCA
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RAYDON, RITA                         RAYE, EM                              RAYER, KRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAYFIELD, BLANCHE     Case 22-11238-LSS    Doc
                                     RAYFORD,   2 Filed 11/30/22
                                              SHARONDA                   Page 4064 of 5495
                                                                              RAYFORD, TERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




RAYGO, AMY                            RAYGUN                                  RAYKOVITZ, EMILY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




RAYKOVITZ, MARY                       RAYL, JUSTIN                            RAYLENE A HOBBS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RAYMER, CHELSEA                       RAYMER, JORDAN                          RAYMON DENNIS CASPER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RAYMOND ALLEN                         RAYMOND BARRIOS                         RAYMOND BERGLUND
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RAYMOND CLARK                         RAYMOND GALLARDO                        RAYMOND IMAICAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RAYMOND JAMES & ASSOCS, INC. (0725)   RAYMOND LASPEE                          RAYMOND LEWIS WORRELL III
ATTN ROBERTA GREEN OR PROXY MGR       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
880 CARILION PKWY
TOWER 2, 4TH FL
ST. PETERSBURG, FL 33716



RAYMOND LINTON                        RAYMOND MIRZABEGIAN                     RAYMOND SHAFFER, LYNNE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RAYMOND TREMBLAY                      RAYMOND, ABIGAIL                        RAYMOND, AMANDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RAYMOND, ANDREA                       RAYMOND, BRITTANY                       RAYMOND, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
RAYMOND, CARLY        Case 22-11238-LSS    Doc
                                     RAYMOND,   2 Filed 11/30/22
                                              DEANNE                  Page 4065 of 5495
                                                                           RAYMOND, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYMOND, JACKIE                      RAYMOND, JAMIE                        RAYMOND, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYMOND, JOLIA                       RAYMOND, KRISANNA                     RAYMOND, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYMOND, LINDSEY                     RAYMOND, MALEANA                      RAYMOND, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYMOND, MARSHA                      RAYMOND, MEGAN                        RAYMOND, MINER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYMOND, PATRICIA                    RAYMOND, PETER                        RAYMOND, RUSS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYMOND, SAQUOIA                     RAYMOND, SUSAN                        RAYMOND, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYMOND, VICTORIA                    RAYMUNDO, ROZEN                       RAYNE, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYNER, ALEX                         RAYNER, ALEX                          RAYNES-PELINO, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RAYNOR, SUSAN                        RAYO, FRANCIA                         RAYONA GAINES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RAYSA PAREDES         Case 22-11238-LSS    Doc LINDA
                                     RAYSBROOK, 2 Filed 11/30/22      Page 4066  of 5495
                                                                           RAYSSIGUIER, AUDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAYTHATHA, MILAN                     RAYVON BERRY-YOUNG                     RAYZOR, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAZ, PATTY                           RAZACK, CRISTINA                       RAZAVI, RAMONA AND LARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAZNEY, PHILLIP                      RAZO, CECILIO                          RAZOKI, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAZOR, RAYAN                         RAZVAN ALBERT FURCA                    RAZZANO, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RAZZI, VICTORIA                      RB PAINTING COMPANY, INC.              RBC CAPITAL MKTS CORP (0235)
ADDRESS AVAILABLE UPON REQUEST       4245 MADISON AVE.                      ATTN STEVE SCHAFER OR PROXY MGR
                                     CULVER CITY, CA 90232                  60 S 6TH ST - P09
                                                                            MINNEAPOLIS, MN 55402-1106




RBC DOMINION /CDS (5002)             RCLAMB 2017401K ROLLOVER LLC           RE, TONI
ATTN PROXY MGR                       24592 CHRISANTA DRIVE                  ADDRESS AVAILABLE UPON REQUEST
2 BLOOR ST E 2300                    MISSION VIEJO, CA 92691
TORONTO, ON M4W 1A8
CANADA



REA, ANDRE                           REA, ANTHONY                           REA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REA, BRIDGET                         REA, CHRISTINE                         REA, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REA, DEENA                           REA, EMILY                             REA, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
REA, JONATHAN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     REA, JUSTINE                        Page 4067   of 5495
                                                                              REA, LARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




REA, MATTHEW                            REA, OLIVIA                           REA, SUZANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REABE, SCOTT                            REABOLD, NICOLE                       REACH, SAVANNAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REACHDYNAMICS, LLC.                     REACT2MEDIA INC                       READ, AMANDA
7370 MANCHESTER RD. SUITE 205           35 WEST 36TH STREET, STE 4-E          ADDRESS AVAILABLE UPON REQUEST
SAINT LOUIS, MO 63143                   NEW YORK, NY 10018




READ, ANTHONY                           READ, CHRISTINE                       READ, COURTNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




READ, DEIRDRE                           READ, ELAINA                          READ, HALLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




READ, KYLE                              READ, LEAH                            READ, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




READ, RUSSEL                            READE, ASHLEY                         READE, GABBIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




READENCE, DENISE                        READER, STACY                         READLE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




READY REFRESH BY NESTLE                 READY, AMANDA                         READY, KAREN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
READY, MARJORIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     READY, RACHEL                     Page 4068 ofREEF
                                                                            REAGAN  5495LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REAGAN STAAT                         REAGAN, ALISHA                         REAGAN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REAGAN, DAVID                        REAGAN, ELIZABETH                      REAGAN, GEORGIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REAGAN, JENNIFER                     REAGAN, JULIA                          REAGAN, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REAGAN, MICKELLA                     REAGAN, PAUL                           REAGLE, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REAHM, KAYLA                         REAL FOOD DAILY LLC. (PASADENA)        REAL FOOD DAILY LLC. (WEST HOLLYWOOD)
ADDRESS AVAILABLE UPON REQUEST       899 E. DEL MAR BLVD.                   414 N LA CIENEGA BLVD
                                     PASADENA, CA 91106                     LOS ANGELES, CA 90048




REAL FOOD MARKETING, LLC             REAL, HEATHER                          REALE, ALISA
711 W. CAMINO REAL SUITE 204         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ARCADIA, CA 91007




REALE, CHASE                         REALE, EDWARD                          REALE, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REALI, CHRISTINA                     REALI, MADDI                           REALI, NATASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REAM, ALLEGRA                        REAM, JULIETTE                         REAM, MECAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
REAMER FARMS INC       Case 22-11238-LSS    Doc
                                      REAMER,    2
                                              HOPE   Filed 11/30/22    Page 4069 ofSARAH
                                                                            REAMER, 5495
PO BOX 267                            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CLARKSBURG, CA 95612




REAMES, SAVANAH                       REAMY, CHARLES                        REAMY, JASON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REANDEAU, MICHAEL                     REANTASO, JADA                        REAP, EVAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REAP, JAMIE                           REA-POTEAT, MARY B                    REAPSUMMER, SHELLY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REARDON HENRY, MELISSA                REARDON, AMBER                        REARDON, CATHERINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REARDON, COLLEEN                      REARDON, EMILYROSE                    REARDON, JENNIFER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REARDON, JESSICA                      REARDON, JIM                          REARDON, PATRICIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REARDON, SABRINA                      REARDON, SARAH                        REARDON, SUSAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REARDON, VICTORIA                     REARER, LISA                          REARICK, KATELYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REASBECK, SARAH                       REASNER, MADELEINE                    REASONER, ALEXANDRA
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REASONOVER, RICHARD Case 22-11238-LSS    Doc
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                                                                          REAVES, 5495
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REAVES, KENDALL                     REAVES, NAIA                          REAVES, TYLER
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REAVEY, JOHN                        REAVEY, MICHAEL                       REAVIS, CARRIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REAVIS, REBECCA                     REAVY, JAMES AND KATHY                REBANAL, ZANDRA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBAR, ROSEMARIE                    REBECCA A FIGUEROA                    REBECCA AMOROSO
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REBECCA ANN ROLL                    REBECCA BLACK                         REBECCA BRAND
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBECCA CLAGGETT                    REBECCA DEVINE                        REBECCA FOULK
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REBECCA GILL                        REBECCA GLEASON                       REBECCA INIGUEZ
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBECCA LAMICH                      REBECCA MESSERSMITH                   REBECCA NICOLE WALKER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBECCA PEZZANO                     REBECCA PITMAN                        REBECCA S KALE
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REBECCA STEWART       Case 22-11238-LSS    Doc
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                                                                              REBECCA 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




REBECCA, DURRIN                         REBECCA, GUYER,                       REBEKAH OCONNOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBELLO, LINDSEY                        REBELLO, SADIE                        REBELLO, STACEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBELLON, CINDY                         REBELO, FRANCISCA                     REBENNACK, LEA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBENSTOCK, EMILY                       REBEOR, SETH AND EMMA                 REBER, CALLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBER, EMILY                            REBER, MANDY                          REBERT, JEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBHAN, KEVIN                           REBMANN, ALEX                         REBMANN, NATHANAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBOLLEDO, MELANIE                      REBOLLOZO, NORMA                      REBONG, JARRIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBRANDLY                               REBROVA, TATYANA                      REBSTOCK, CHRISTINA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REBUJIO, RACHAEL                        RECARRR, IXY                          RECCARDI, KRISTEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RECCE, WILLIAM        Case 22-11238-LSS    Doc
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                                                                              RECCHIO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




RECCO, STACEY                           RECEDA GRAY BLACK                     RECH, PAT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RECHESTER, VICTORIA                     RECHNITZ, JARED                       RECIBE, JOSH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RECIO, DINA                             RECK, LAUREN                          RECK, TAYLOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RECKART, TODD                           RECKER, KENZIE                        RECKER, TAMMY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RECKLES, JONATHON                       RECKLING, CATHERINE                   RECKMAN, MATT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RECKSIEDLER, CHANTEL                    RECKSON, MOLLY                        RECOR, LEAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RECORD, MELISSA                         RECORDS, COLLEEN                      RECOUP
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




RECRUITERBOX.COM                        RECTOR, ALLISON                       RECTOR, ANDREA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RECTOR, CHLOE                           RECTOR, JOHN                          RECTOR, KELLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RECTOR, LIA           Case 22-11238-LSS
                                     RECTOR,Doc  2 Filed 11/30/22
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                                                                                RECTOR, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




RECTOR, MIRANDA                         RECTOR, RILEIGH                         RECTOR, TRAVIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RECZEK, BERNADETTE                      RED CEDAR VINEYARDS COMPANY             RED DOOR INTERACTIVE
ADDRESS AVAILABLE UPON REQUEST          111 MARKET STREET NE SUITE 360          560 CARLSBAD VILLAGE DR STE 200
                                        OLYMPIA, WA 98501                       CARLSBAD, CA 92008




RED GATE ART                            RED HILL GENERAL STORE                  RED LOBSTER
1 RES GATE SHAW BARHAM, NR.             ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
CANTERBURY
KENT CT4 6LA
UNITED KINGDOM



RED ROBIN                               RED ROCKS                               RED SUN ENTERTAINMENT, LLC.
ADDRESS UNAVAILABLE AT TIME OF FILING   611 WARREN ST                           300 CORPORATE POINTE, SUITE 465
                                        BROOKLYN, NY 11217                      CULVER CITY, CA 90230




RED TRICYCLE                            RED, DEMETRIA                           REDA, CARRI
46 VARDA LANDING                        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SAUSALITO, CA 94965




REDA, JESSICA                           REDA, KATHERINE                         REDA, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




REDARD, JULIE                           REDCORN, ERICA                          REDD WOOD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




REDD, MORGANNE                          REDD, STEPHANIE                         REDD, WANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




REDDAN, CHRISTINE                       REDDEG, SARAH                           REDDEN, CHARLTON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
REDDEN, LIZ           Case 22-11238-LSS
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                                                                           REDDEN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDI, PRAVEENA                      REDDICK, BECKY                        REDDICK, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDICK, SARAH                       REDDICKS, LAMAR                       REDDIEN, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDIN, GEORGE                       REDDING, ALISA                        REDDING, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDING, CARA                        REDDING, CRAIG                        REDDING, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDING, DESIREE                     REDDING, EILEEN                       REDDING, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDING, GABRIELLE                   REDDING, HELEN                        REDDING, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDING, SAMANTHA                    REDDINGER, MICHELLE                   REDDINGTON, EILEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDISH, KATHERINE                   REDDIT, INC.                          REDDIT, INC.
ADDRESS AVAILABLE UPON REQUEST       548 MARKET STREET 16093               PO BOX 204387
                                     SAN FRANCISCO, CA 94104-5401          DALLAS, TX 75320




REDDOCH, CHELSEA                     REDDON, BRENDA                        REDDON, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REDDOUT, GARRETT      Case 22-11238-LSS
                                     REDDY, Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDY, KAVITHA                       REDDY, KESHAV                         REDDY, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDY, MEGHA                         REDDY, RADHIKA                        REDDY, RAVEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDY, SHAWN                         REDDY, SNEHA                          REDDY, SUJATHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDDY, VINOD                         REDE, RICHARD                         REDEKER, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDELSPERGER, AMANDA                 REDEWSA, GUHUK                        REDFERN, CHEMERE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDFERN, ROBERT                      REDFIELD NICOLOS, MARY                REDFIELD, LUKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDFORD, MIKE                        REDGATE, CHRISTIE                     REDIC, SYLVIA
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REDIFER, HANNAH                      REDIFER, NICOLE                       REDIGER, MORGAN
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REDIN, MICHAEL                       REDINGER, KATE                        REDINGER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REDINGTON, KATHLEEN   Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           REDLINGSHAFER,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDLITZ, SAMUEL                      REDMAN, EMILY                         REDMAN, HENRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDMAN, JOSEPH                       REDMAN, RAQUEL                        REDMAN, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDMAN, TRACY                        REDMANN, AMANDA                       REDMANN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDMON, KYANN                        REDMON, MICHELE                       REDMON, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDMOND, BECCA                       REDMOND, CHRISTINA                    REDMOND, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDMOND, FAITH                       REDMOND, FAITH                        REDMOND, HILDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDMOND, JADE                        REDMOND, KIRSTEN                      REDMOND, LUCY
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REDMOND, RYAN                        REDMOND, SUSAN                        REDMORE, HEATHER
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REDONDO, DOROTHY                     REDPATH, TAMMY                        REDRICK, AMBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REDTECH LLC           Case 22-11238-LSS
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                                                                           REDWINE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REDWOOD PENSIONS, LLC                REDWOOD PENSIONS, LLC                 REDWOOD VALLEY CELLARS, LP
1459 18TH ST. 283                    P.O. BOX 3409                         7051 N. STATE STREET
SAN FRANCISCO, CA 94107              WALNUT CREEK, CA 94598-3409           PO BOX 805 (MAILING)
                                                                           REDWOOD VALLEY, CA 95470




REDWOOD VALLEY CELLARS, LP           REDWOOD, NATASHA                      REEB, BETH
7051 N. STATE STREET                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PO BOX 805
(MAILING) REDWOOD VALLEY, CA 95470




REECE, CHRISTOPHER                   REECE, DASHA                          REECE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REECE, HALEY                         REECE, LYNDSEY                        REECE, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REECE, SPENCER                       REECE, TAMIKA                         REED KALA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED WINNER                          REED, AARON                           REED, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED, ALI                            REED, AMANDA                          REED, ASHLEY
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REED, BETH                           REED, BRE                             REED, BRENDA
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REED, BRIDGET                        REED, BRITTANY                        REED, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REED, CARRIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     REED, CASSIA                     Page 4078  of 5495
                                                                           REED, CHRISTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED, CHRISTOPHER                    REED, CORY                            REED, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED, COURTNEY                       REED, DARBY                           REED, DARCY
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REED, DAVID                          REED, DAVID                           REED, DECHAUNA
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REED, DEQUARIS                       REED, DIANE JO                        REED, DIANNE BETH
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REED, DIANNE                         REED, DOREEN                          REED, ELLIE
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REED, EMAYA                          REED, ERICA                           REED, GEORGE
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REED, HANNAH                         REED, HANNAH                          REED, HAYLEE
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REED, HILLARY                        REED, HILLARY                         REED, HOLLI
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REED, ISAIAH                         REED, JACOB                           REED, JANA
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REED, JAZSMINE        Case 22-11238-LSS     Doc 2 J. Filed 11/30/22
                                     REED, JEFFREY                    Page 4079   of 5495
                                                                           REED, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED, JENNIFER                       REED, JENNIFER                        REED, JESSICA
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REED, JESSICA                        REED, JESSIE                          REED, JOSLYN
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REED, JULIA                          REED, K.D                             REED, K.D.
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REED, KAITLYN                        REED, KAREN                           REED, KARLIN
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REED, KATE                           REED, KATHRYN                         REED, KATIE
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REED, KATINA                         REED, KELLY                           REED, KENNY
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REED, KESHA                          REED, KESHA                           REED, KORTNE
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REED, LATANYA                        REED, LATANYA                         REED, LESLIE
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REED, LINDSEY                        REED, LISA                            REED, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REED, MARYBETH        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     REED, MEGAN                      Page 4080  of 5495
                                                                           REED, MESIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED, MICHELLE                       REED, NATALIE                         REED, RACHEL
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REED, RACHEL                         REED, RANDY                           REED, REGINA
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REED, ROXANA                         REED, SANDRA                          REED, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED, SARAH                          REED, SARAH                           REED, SHANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED, SHELBY                         REED, STEPHEN                         REED, SUSAN
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REED, SYDNEY                         REED, TAMARA                          REED, TAYLOR
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REED, TERRENCE                       REED, THERESA                         REED, TIFFANY
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REED, TOMMY                          REED, TRACY                           REED, VALARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REED, VALERIE                        REED, WENDY                           REEDER, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REEDER, CIERRA        Case 22-11238-LSS
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                                                                           REEDER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEDER, KELSEY                       REEDER, MARK                          REEDER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEDER, TRACY                        REEDER, TRESSA                        REEDER, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEDLENHARDT, JODI                   REEDY, DAMIEN                         REEDY, MYKELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEF RAIN ARIA                       REEF, ASHLEY MARIE                    REEGER, JOANNE
904 DOWNSHIRE CHASE                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VIRGINIA BEACH, VA 23452




REEH, ALEX                           REEHL, KELSEY                         REEHL, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEKE, ANNIE                         REEL, BRIAN                           REELS, JEFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEP, DANIEL                         REEP, RICHARD                         REERS, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REERSLEV, WUBIT                      REES, JAMES                           REES, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REES, KERA                           REES, MELANIE                         REES, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REES, SUSAN           Case 22-11238-LSS     Doc 2 Filed
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, AMBER                         REESE, BRANDON                        REESE, BRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, CHERYL                        REESE, CYNTHIA                        REESE, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, EMILY                         REESE, EMMA                           REESE, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, JACK                          REESE, JANA                           REESE, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, JESSICA                       REESE, JESSICA                        REESE, KADEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, KATHY                         REESE, KATRINA                        REESE, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, KRISTINA                      REESE, LAZARUS                        REESE, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, LONNIE                        REESE, MARCUS                         REESE, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, MARLY                         REESE, MEGHAN                         REESE, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REESE, PATRICIA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     REESE, ROXANNE                   Page 4083
                                                                           REESE,of 5495
                                                                                 SHANNEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESE, STEPHANIE                     REESE, TANGELIA/ TIFFANY              REESER, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REESMAN, JENNIFER                    REESON, MONICA                        REETZ, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEVE, MEGHAN                        REEVERTS, CATHERINE                   REEVES MD, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEVES, AANESSA                      REEVES, AARON                         REEVES, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEVES, AMY                          REEVES, ANGELA                        REEVES, ANNE-MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEVES, BROCK                        REEVES, CHRIS                         REEVES, CIARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REEVES, DANIELLE                     REEVES, DOROTHY                       REEVES, ELISE
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REEVES, EMMA                         REEVES, GARY                          REEVES, GRAHAM
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REEVES, HEATHER                      REEVES, HUNTER                        REEVES, JESSICA
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REEVES, JOSEPH        Case 22-11238-LSS
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                                                                             REEVES, 5495
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REEVES, KATYA                        REEVES, KEVIN                           REEVES, KRISTIN
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REEVES, KRISTINA                     REEVES, LAVONETTE                       REEVES, LESLIE
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REEVES, MARY JANE                    REEVES, MARY                            REEVES, MEREDITH
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REEVES, MOLLY                        REEVES, RACHEL                          REEVES, SHELLEY
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REEVES, SKYLAR                       REEVES, THAYNE                          REEVES, TRISHA
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REEVES-SNYDER, CINDA                 REFER, QUINN                            REFF, AMY
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REFFITT, ROBIN                       REFINERY HOTEL                          REFOUR, R
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REGA, ANASTASIA                      REGA, HEIDI                             REGAL WINE
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REGAN, ANN                           REGAN, ASHLEY                           REGAN, CAITLIN
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REGAN, DAYNA          Case 22-11238-LSS
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REGAN, KAREN                         REGAN, KATHRYN                        REGAN, KATHY
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REGAN, KATIE                         REGAN, LAUREN                         REGAN, LAUREN
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REGAN, LEILA                         REGAN, MARIE                          REGAN, MARYCATHERINE
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REGAN, MICHAEL                       REGAN, NADINE                         REGAN, RAYMOND
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REGAN, RICHARD                       REGAN, STEVE                          REGAN, TALLULAH
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REGAN, TARA                          REGAN, TAYLOR                         REGAN, THOMAS
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REGEL, SHANE                         REGENER, TIMOTHY                      REGENHARDT, MATIAS
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REGENSBURG, KIERES                   REGENT, ROBERT                        REGER, BETH
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REGER, JOANNE                        REGER, ROBERT                         REGESTER, JESSICA
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REGESTER, JESSICA     Case 22-11238-LSS    DocLAURA
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REGH, ERIC                           REGHIE D OGAHAYON                     REGIER, ASHLEY
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REGIER, ASHLEY                       REGINA BRAMHALL                       REGINA MARCHIONE
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REGINA, MARGHERITA                   REGINATO, BRIANNE                     REGIS, MARIA
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REGIS, NICOLE                        REGIS, SHELLEY                        REGISTER, DR. JARED
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REGISTER, GREY                       REGISTER, LINDSEY                     REGLIN, JENNIFER
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REGNA, CHRIS                         REGNER, CHELSEA                       REGNER, SAMANTHA
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REGNERI, ERIN                        REGNIER, JOHN                         REGO, CARLOS
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REGOLE, DORENE                       REGOTTI, CHRISTOPHER                  REGULA, DOROTHY
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REGUS                                REH, DANIELLE                         REH, EMMA
P.O.BOX 842456                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DALLAS, TX 75284-2456
REHAK, LUCIANO        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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REHAN, ALI                              REHANI, ALISA                         REHDER, VANESSA
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REHE, MICHELLE                          REHFUSS, RENEE                        REHILL, KRISTINE
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REHIMI, HAMIDA                          REHLING, KRISTINA                     REHLING, MAX
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REHLING, MEGAN                          REHM, DAWN                            REHM, MARTHA
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REHM, NICOLE                            REHMER, LAURA                         REHRER, KATIE
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REI                                     REIBE, ELIZABETH                      REIBER, MARCIA
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REICAHRT, DENA                          REICH, AARI                           REICH, CHRISTINE
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REICH, CLARE                            REICH, KEVIN                          REICH, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REICH, MELODI                           REICH, RONA                           REICH, STEWART
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REICHARD, HOPE        Case 22-11238-LSS    Doc
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REICHEL, HALLEY                      REICHEL, MARTIN                       REICHEL, STEVEN
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REICHELSCHEIMER, HANNAH              REICHELT, BARBARA                     REICHELT, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REICHENBACH, DAVID                   REICHENBERG, DEMELZA                  REICHERT, ELIZABETH
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REICHES, ZOE                         REICHLE, ZACH                         REICHMAN, CIPORA
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REICHMANN, PAULINA                   REID, AIRON                           REID, ALLIE
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REID, AMANDA                         REID, AMBER                           REID, ASHTON
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REID, AUSTIN                         REID, BRITTANY                        REID, BRITTANY
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REID, CHERYL                         REID, CHRISTOPHER                     REID, CHRISTOPHER
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REID, COLSTON                        REID, CORI                            REID, DOROTHY
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REID, EDWARD          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     REID, EILEEN                     Page 4089   of 5495
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REID, HOWARD                         REID, JACINDA                         REID, JANET
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REID, JENNIFER                       REID, JESSICA                         REID, JOANN
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REID, JULIE                          REID, KARA                            REID, KELLY
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REID, KRYSTANI                       REID, LIANA                           REID, MADELINE
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REID, MARLEY                         REID, MATTHEW                         REID, MAYA
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REID, MEGAN                          REID, NICOLE                          REID, RACHEL
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REID, RACHEL                         REID, REBEKAH                         REID, RENEE
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REID, ROBERT                         REID, RYAN                            REID, SETH
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REID, SHANNON                        REID, STACEY                          REID, STACEY
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REID, STEPHANIE       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     REID, SYDNEY                     Page 4090   of 5495
                                                                           REID, TARA
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REID, TASHARA                        REID, WINONA                          REID, YOLANDA
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REIDENOUER, CHRISTOPHER              REIDFORD, SHAWNA                      REIDY, JEANNA
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REIDY, MELISSA                       REIDY, RORY                           REIDY, SIOBHAN
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REIDY, TERESA                        REIERSON, GILLIAN                     REIF, AMY
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REIF, SARAH                          REIF, TARYN                           REIFE, ILANA
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REIFF, SAVANNAH                      REIFORD, FAITH                        REIFSCHNEIDER, KEVIN
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REIGADA, JERREL                      REIGEL, CHRIS                         REIGHARD, JOSH
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REIGHARD, SAMANTHA                   REIGHART, TIMOTHY                     REIGLE, RYAN
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REIGLE, STEPHANIE                    REIGNER, KELLY                        REIGSTAD, DONNA
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REILAND, SIERRA       Case 22-11238-LSS
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REILLEY, PAM                         REILLY NEWMAN                          REILLY, ABIGAIL
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REILLY, ALIZ                         REILLY, ALLISON                        REILLY, ANASTASIA
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REILLY, BRENNA                       REILLY, BRIGID                         REILLY, CAITLAN
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REILLY, CAROL                        REILLY, CHRIS                          REILLY, CINDY
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REILLY, CONNOR                       REILLY, DANIEL                         REILLY, DAVID
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REILLY, EMILY                        REILLY, ERIKA                          REILLY, ERIN
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REILLY, GWEN                         REILLY, HEATHER                        REILLY, HELEN
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REILLY, JENNIFER                     REILLY, JILL                           REILLY, JOAN
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REILLY, JOHN                         REILLY, KAITLIN                        REILLY, KATELYN
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REILLY, KATELYNN      Case 22-11238-LSS      Doc 2 Filed 11/30/22
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REILLY, KATHRYN                      REILLY, KATIE                         REILLY, KATIE
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REILLY, KAYLA                        REILLY, KELSEY                        REILLY, KENNETH
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REILLY, KERRY                        REILLY, KRISTA                        REILLY, LESLIE
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REILLY, MARCIA                       REILLY, MARCIA                        REILLY, MELISSA
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REILLY, MEREDITH                     REILLY, MICHELLE                      REILLY, NICOLE
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REILLY, PATRICK                      REILLY, REBECCA                       REILLY, REBECCA
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REILLY, SHANNON                      REILLY, SHANNON                       REILLY, SHELBY
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REILLY, SHELLI                       REILLY, STARR                         REILLY, SUSAN
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REILLY, TERI                         REILLY, VICTORIA                      REILY, BECKY
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REIMER, CECILIA                      REIMER, DANA                          REIMER, JILL
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REIMER, JILLIAN                      REIMER, SUMMER                        REIMERINK, AUBRIE
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REIMERS, CAITLIN                     REIMERS, DELANEY                      REIMERS, LESLIE
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REIMERS, LINDSAY                     REIMLER, KATHY                        REIMNITZ, EMILY
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REIMONDO, STEPHANIE                  REIN, BIANCA                          REIN, JANET
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REINA, JUAN                          REINA, RAMONA                         REINARMAN, BLAIR
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REINBOLD, HAILEY                     REINBOLD, KAITLYN                     REINBOLD, MITZI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REINCKE, DOROTHY                     REINDEL, ANDREA                       REINDOLLAR, DALTON
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REINE, TAYLOR                        REINECK, NICOLE                       REINECKE, SUSAN
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REINEKE, MICHELLE     Case 22-11238-LSS    Doc
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                                                                           REINEMA, 5495
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REINER, CLAIRE                       REINER, KRISTEN                       REINER, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REINER, MADISON                      REINER, NANCY                         REINERS, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REINERT, SERENITY                    REINERTSEN, LAURA                     REINERTSON, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REINES, SHANE                        REINESCH, DENISE                      REINFELD, LAUREN
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REINFORD, NATALIE                    REINHARD, ALYSSA                      REINHARD, KRISTINA
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REINHARD, MELISSA                    REINHARDT, ALYSSA                     REINHARDT, JONNA
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REINHARDT, KAREN                     REINHARDT, KAYLA                      REINHARDT, LAUREN
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REINHARDT, MEGAN                     REINHARDT, MEGAN                      REINHARDT, MIRANDA
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REINHART, BETHANY                    REINHART, DARYAN                      REINHART, ELLE
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REINHECKEL, KIMBERLY  Case 22-11238-LSS    Doc
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                                                                           REINHOLD, KATIE
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REINHOLD, NATHAN                     REINIER BODEMEIJER                     REINIKE, KIMBERLY
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REININGER, KELLY                     REINKE, CHRISTINA                      REINKE, JESSICA
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REINKEN, LAURA                       REINKER, KELLY                         REINMULLER, BRIGITTE
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REINMUND, DEAN                       REINO, MATT                            REINSCH, ERICA
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REINSTATLER, KRISSY                  REINSTATLER, MICHELLE                  REINSTEIN, BAYLEE
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REINTHALER, TYLER                    REIPLINGER, SAMANTHA                   REIS, ADRIANO
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REIS, ERICA                          REIS, KIKI                             REIS, LEVI
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REIS, SAMANTHA                       REIS, SHIRLEY                          REISCH, NICHOLAS
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REISCHMANN, BETH                     REISE, CHARLES                         REISE, MARTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
REISE, NICK           Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




REISENAUER, MEGHAN                   REISENBUK, RIHO                        REISER, SARAH
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REISERT, BARBARA                     REISMAN, CRAIG                         REISMAN, KATIE
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REISNER, CASEY                       REISS, CHRISTINE                       REISS, DANA
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REISSMAN, GABRIELA                   REISZ, LEANNE                          REITEN, CONNOR
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REITER, AMANDA                       REITER, AMIE                           REITER, MEGAN
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REITER, SUSAN                        REITH, HANNAH                          REITMAN, CHERYL
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REITMAN, JOEL                        REITMEYER, HUGH                        REITNOUR, SARAH
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REITZ, DAVID                         REITZ, MALLORY                         REKEMEYER, SAMANTHA
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REKHI, ASHOK                         REKHTMAN, YULIYA                       REKIETA, DAYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
REKRUCIAK, GILES      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     REKS, JENNY                        Page 4097 of 5495
                                                                             REKTORIK, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




RELAMPAGOS, MALAEA                   RELATIONS, KATHY                         RELF, JOANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




RELFORD, SAMANTHA                    RELIABLE                                 RELIANCE STANDARD LIFE INSURANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    COMPANY
                                                                              2001 MARKET STREET, SUITE 1500
                                                                              PHILADELPHIA, PA 19103-7090




RELIANCE STANDARD LIFE INSURANCE     RELIAS, GEORGE                           RELIC, MICAH
COMPANY                              ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
PO BOX 3124
SOUTHEASTERN, PA 19398-3124




RELICH, TAYLOR                       RELLA, ALLISON                           RELLEKE, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




RELLICK, KRISTY                      RELOBA, GLORY                            RELVAS, JP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




REM, TAMAR                           REMALY, ANGELA                           REMBERT, EARNEST
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REMBERT, FRED D                      REMBIS, KIMBERLY                         REMBOLD, JONATHAN
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REMBOLD, SCOTT                       REMBY, THOMAS                            REMEDES, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




REMEDIOS, LUCAS                      REMEIKA, JIM                             REMEIS, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
REMEN, HALLE          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REMER, LARRY                         REMICK, JODIE                         REMICK, SCOT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REMICK, SIENNA                       REMILLARD, COURTNEY                   REMILLARD, GEMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REMILLARD, NICK                      REMILLARD, SHELBY                     REMINGTON, ALLECIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REMINGTON, JEANNETTE                 REMINGTON, SCOT                       REMINGTON, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REMIREZ, JUAN                        REMIS, ASHLEY                         REMJESKE, KELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REMKES, CHEYENNE                     REMKES, SUSAN                         REMLEY, ELISABETH
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REMMELE, CHRISTINE                   REMMENGA, STORM                       REMMERS, CHYREL
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REMNANT, JULIA                       REMOLLO, NICOLE                       REMP, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REMPALA, MAEGHAN                     REMPEL, EMERALD                       REMPEL, MONIKA
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REMPT, JILLIAN        Case 22-11238-LSS
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REMY, DANDRE                         REMY, EMMANUEL                        REMY, J.LUCKSON
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REMY, JAMES E                        REMY-YEE, YVONNE                      REN, AILEEN
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REN, ALEC                            REN, HAN                              REN, TIANHE
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RENA RODRIGUEZ                       RENAE, APRIL                          RENAGHAN, JULIA
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RENAGHAN, TRACY                      RENAHAN, MEGHAN                       RENAL, ERIN
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RENALDO, LAURA                       RENATA FILARECKI                      RENATA PATAKI
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RENATO DESIO                         RENAUD, CLAIRE                        RENAUD, ERICA
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RENAUD, HAYLEE                       RENAUD, KAREN                         RENAUD, LAURA
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RENAUDO, CYNTHIA                     RENAULT, SUE                          RENDA, AMANDA
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RENDA, CHRISTY        Case 22-11238-LSS
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RENDALL, KYLE                        RENDE, BRIANA                         RENDE, SARAH
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RENDEK, JOSH                         RENDEK, LISA                          RENDER, KISUA
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RENDINA, GINA                        RENDINA, MARIA                        RENDON, CRIZAIDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RENDON, JENNIFER                     RENDON, RAMON J                       RENDON, ROSA
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RENE CARR                            RENE HERRERA                          RENE L PIERSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RENE SIMON CRUZ JR                   RENEAU, JESSICA                       RENEAU, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RENEAU, SARAH                        RENEAU, TOM                           RENEE ALFORD
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RENEE KNIGHT                         RENEE ROOKWOOD                        RENEE SUSAN HARDMAN
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RENEE TAYLOR                         RENEE VARDOUNIOTIS                    RENEE, MELISSA
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RENEE, NICOLE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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RENEW PACKAGING SOLUTIONS             RENFRO, AMANDA                        RENFRO, AMY
11385 SUNRISE PARK DRIVE, SUITE 100   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RANCHO CORDOVA, CA 95742




RENFRO, KAYSE                         RENFRO, REGINA                        RENFRO, SLOAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RENFROE, KARI                         RENFROE, KELLY                        RENFROE, NEKEITHIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RENFROE, TAYLOR                       RENFROW, GREG                         RENFROW, KESHA
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RENGANATHAN, VIJAY                    RENGIFO, LORENA                       RENIER A DRESSER
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RENIER, LAURA                         RENKAS, SUE                           RENKAU, AMANDA
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RENKEL, ALEXANDRA                     RENKEMA, KRISTINA                     RENKEN, DELIGHT
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RENKEN, TEAH                          RENKER, SUSAN                         RENN, CAITLIN
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RENNA, ALFONSO                        RENNA, BECKY                          RENNAKER, LACI
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RENNEGARBE, SHAINA    Case 22-11238-LSS    Doc STEPHEN
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RENNELL, ALYSSA                      RENNER, GRANT                         RENNER, HILLARY
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RENNER, JORDAN                       RENNER, LAUREN                        RENNER, MEGAN
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RENNER, MELANIE                      RENNER, SHANNON                       RENNER, WILLIAM
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RENNIE JEMMINGS                      RENNIE, CHELSEA                       RENNIE, COLLEEN
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RENNIE, EMMA                         RENNIE, JESSICA                       RENNIE, LINDSEY
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RENNIE, TONI                         RENNING, ASEA                         RENNINGER, KRISTINE
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RENNINGER, SHAUNA                    RENNISON, BRITTANY                    RENO, CRAIG
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RENO, JASON                          RENO, LAURA                           RENO, QUINN
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RENO, ROBIN                          RENO, TAYLOR                          RENO, TRACI
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                                                                             RENSCH, 5495
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RENSCHLER, MIRKA                     RENSEL, JOSALEA                         RENSHAW, MAEGAN
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RENSHAW, RACHEL                      RENTA, KRISTEN                          RENTERIA, ALEXIS
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RENTERIA, ALMA                       RENTERIA, CLAUDIA                       RENTERIA, KYLE
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RENTERIA, MARIA                      RENTON, MARCY                           RENTSCHLER, ANNA
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RENTSCHLER, BROOKE                   RENTSCHLER, KATHERINE                   RENTSCHLER, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RENTSCHLER, STEPHANIE                RENTTHEDELOREAN.COM                     RENTZEL, KAYLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




RENVILLE, RACHEL                     RENWICK, DEBBIE                         RENWICK, KATE
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RENWICK, KATIE                       RENWICK, SIMONE                         RENZ, CATALINA
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RENZ, RON                            RENZ, SHERI                             RENZI, PATRICK
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RENZONI, LUKE         Case 22-11238-LSS    Doc
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REONAL, JENO                         REONELA HYSA                             REOUNODJI, SEVERINE
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REPANSHEK, JENN                      REPASCH, LEE A                           REPASKE, BETSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




REPASKY, MEGHAN                      REPASKY, TED                             REPECKYJ, LISA
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REPETTO, MICHELE                     REPIK, MEREDITH                          REPKA, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




REPKING, STEVEN                      REPLOGLE, KRISTIE                        REPNIK, CORENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




REPP, REBECCA                        REPPER, ALEXANDRA                        REPPERT, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




REPPUCCI, ANDREA                     REPUBLIC BUSINESS CREDIT                 REPUBLIC NATIONAL DISTRIBUTING
ADDRESS AVAILABLE UPON REQUEST       900 CAMP STREET SUITE 460                COMPANY OF ARIZONA
                                     NEW ORLEANS, LA 70130                    320 S 91ST AVE
                                                                              TOLLESON, AZ 85353




REPUBLIC NATIONAL DISTRIBUTING       REPUBLIC NATIONAL DISTRIBUTING           REPUBLIC NATIONAL DISTRIBUTING
COMPANY OF ARIZONA                   COMPANY OF CA (RNDC CA)                  COMPANY OF CA
402 S. 54TH PLACE                    REPUBLIC NATIONAL DISTRIBUTING           14402 FRANKLIN AVE
PHOENIX, AZ 85034                    COMPANY OF CALIFORNIA (RNDC CA) 14402    TUSTIN, CA 92780
                                     FRANKLIN AVE
                                     DONNIE MILLER, DIRECTOR
                                     TUSTIN, CA 92780

REPUBLIC NATIONAL DISTRIBUTING       REPUBLIC NATIONAL DISTRIBUTING           REPUBLIC NATL DISTRIBUTING CO LLC
COMPANY                              COMPANY                                  ATTN: H ALAN ROSENBERG, GEN COUNSEL
5920 OFFICE BLVD NE                  836 LAGOON COMMERCIAL BLVD               1 NATIONAL DR
ALBUQUERQUE, NM 87109                MONTGOMERY, AL 36117                     ATLANTA, GA 30336
                       Case
REPUBLIC NATL DISTRIBUTING    22-11238-LSS
                           CO LLC             Doc
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ATTN: PRESIDENT                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
809 JEFFERSON HWY
NEW ORLEANS, LA 70121




RESCH, LARRY                           RESCHKE, LAUREN                         RESCIGNO, NICOLE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RESEARCH NOW GROUP, INC. (RESEARCH     RESENDES, DORA                          RESENDES, SONIA
NOW)                                   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
5800 TENNYSON PARKWAY, SUITE 600
PLANO, TX 75024




RESENDEZ, CAMILLE                      RESENDEZ, ELVIRA                        RESENDEZ, KATE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RESENDEZ, LEANA                        RESENDEZ, MARISA                        RESENDEZ, PAULINA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RESENDEZ, ROBERTA                      RESENDIZ, HECTOR                        RESENDIZ, JONATHAN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RESENTE, DANA                          RESERVATIONS.COM                        RESHESKE, FRANCES
ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




RESIDENT, CURRENT                      RESISI, ANNA                            RESNICK, ELIZABETH
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RESNICK, GINA                          RESNICK, JORDAN                         RESNICK, MARTY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RESNICK, MAX                           RESNICK, SAMANTHA                       RESPET, KIRA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
RESPINI, EVA          Case 22-11238-LSS    Doc 2 Filed 11/30/22 Page 4106
                                     RESPONSYS                                  of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




RESSA, JORDAN                        RESSALAM, JENNIFER                      RESSLER, DANA
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RESSLER, MEGHAN                      RESSLER, MELISSA                        RESSO, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




REST, RACHEL                         RESTA, LEE                              RESTAD, YOLANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RESTAINO, MICHAEL                    RESTAURANT DES ARMURGEN                 RESTAURANT SUPPLY, LLC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




RESTAURANT.COM, INC.                 RESTEMAYER, COURTNEY                    RESTER, JERALYN
1500 WEST SHURE DRIVE                ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
ARLINGTON HEIGHTS, IL 60004




RESTINO, JACQUELINE                  RESTIVO, CHRIS                          RESTIVO, JULIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RESTIVO, MELISSA                     RESTORATION HARDWARE                    RESTREPO, ALEX
ADDRESS AVAILABLE UPON REQUEST       15 KOACH ROAD SUITE J                   ADDRESS AVAILABLE UPON REQUEST
                                     CORTE MADERA, CA 94925




RESTREPO, GABRIELA                   RESTREPO, KRISTAL                       RESTREPO, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RESTREPO, MARGARITA                  RESTREPO, NATALIA-ANDREA                RESURRECCION, RACHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
RETAIL CONVERGENCE.COM,Case   22-11238-LSS
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20 CHANNEL CENTER, 3RD FLOOR            ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
BOSTON, MA 02210




RETCHER, ETHAN                          RETEGUIN, RICARDO                       RETES, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RETHEMEYER, ERIN                        RETHERFORD, MAGGIE                      RETIREMENT ACCOUNT LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          121 BARKWOOD DR
                                                                                STEPHENS CITY, VA 22655




RETRUM, JESSICA                         RETTER, SHANNON                         RETTERER, ELLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RETTEW, COURTNEY                        RETTICH, KATHRYN                        RETTIG, SHERRY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RETTLER, ERIKA                          RETTLER, THOMAS                         RETZER, MORGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RETZKO, HEATHER                         RETZKY, JULIA                           RETZLAFF, KACIE
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RETZLAFF, ROBERT                        REUBEN HELMUTH                          REUBEN PARISH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




REUBEN, YADICA                          REUER, LINDSAY                          REULE, BILL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




REULE, KIMBERLY                         REUS, CAROLYN                           REUSCH, HENRY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
REUSCH, RYAN          Case 22-11238-LSS
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                                                                           REUSCHLE, CAROLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REUSS, KIMBERLY                      REUSS, LIVIA                          REUTEBUCH, JESSICA
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REUTER, CORY                         REUTER, JULIE                         REUTER, KAITLYN
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REUTER, MICHELE                      REUTHER, RACHAEL                      REUTING, CALEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REUTTER, JENNIFER                    REUTTER, LAUREN                       REV.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




REVAK, OLHA                          REVARD, MARY                          REVARD, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REVAZ, JESSICA                       REVEL WINE                            REVELIN, SARAH
ADDRESS AVAILABLE UPON REQUEST       PO BOX 11106                          ADDRESS AVAILABLE UPON REQUEST
                                     OAKLAND, CA 94611




REVELL, BREANNE                      REVELL, NANCY                         REVELS, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REVELS, TAMARA                       REVELS, TYLER                         REVENNAUGH, LES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REVENSON, EMILY                      REVENUE UNIVERSE, LLC                 REVERA, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       10126 ENCHANTED OAK DR.               ADDRESS AVAILABLE UPON REQUEST
                                     GOLDEN OAK, FL 32836
REVERCOMB, TOM        Case 22-11238-LSS
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                                                                            REVESZ, 5495
ADDRESS AVAILABLE UPON REQUEST       JON THORSEN                            ADDRESS AVAILABLE UPON REQUEST
                                     9055 WHISPERING OAKS TRIAL
                                     SHAKOPEE, MN 55379




REVETTI, DAYNA                        REVIER, CHAD                          REVIER, JOEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REVILL, CHRISTIAN                     REVILLA, DANA                         REVILLA, MELANIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REVILLA, RICO                         REVIS, ZOE                            REVITSKY, JOSH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REWAH, PAVEENA                        REWANE, CAROLYN                       REWARDBEE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        3585 W. BEECHWOOD AVE.
                                                                            FRESNO, CA 93711




REWOOH, JIHYE                         REX DIRECT NET, INC.                  REX WILLOWS-MUNRO
ADDRESS AVAILABLE UPON REQUEST        100 SPRINGDALE RD. A3 253             ADDRESS AVAILABLE UPON REQUEST
                                      CHERRY HILL, NJ 08003




REX, CHRISTINE                        REX, ELIZABETH                        REX, GRACE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REX, JENNIFER                         REX, JOHN                             REX, MADELEINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REX, RACHEL                           REX, WILLIAM                          REXRODE, SUZANNAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REY M PEREZ RIVERA                    REY, CRISTOBAL                        REY, LYNDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, ADRIANA                       REYES, ALEJANDRO                      REYES, ANNE-MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, ASHLEY                        REYES, BIANCA                         REYES, CARLOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, CAROLINA                      REYES, CHRISTINA                      REYES, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, DAVID                         REYES, DENNISE                        REYES, EDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, GABRIELA                      REYES, GELILA                         REYES, GUSTAVO
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REYES, ISABEL                        REYES, IVY                            REYES, JAZMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, JENI                          REYES, JESSICA                        REYES, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, JESSICA                       REYES, JONATHAN                       REYES, JORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, JOSE                          REYES, JOSE                           REYES, JUAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
REYES, JUDY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     REYES, JULIO                     Page 4111
                                                                           REYES,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, KELVIN                        REYES, KENNIA                         REYES, LARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, LEANDRA                       REYES, LIBERTY                        REYES, MARIELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, MARY JANE                     REYES, MASSIEL                        REYES, MAYRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, MELISSA                       REYES, MERCEDES                       REYES, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, MICHAEL                       REYES, MICHELLE                       REYES, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, MONSERRATE                    REYES, NAOMI                          REYES, NELLIE
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REYES, NGA                           REYES, NICOLE                         REYES, RAQUEL
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REYES, RAQUEL                        REYES, RICHARD                        REYES, SABRINA
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REYES, SARAH                         REYES, SONIA                          REYES, STEFANI
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REYES, STEPHANIE      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




REYES, SYE                           REYES, SYLVIA                         REYES, TARA
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REYES, TORI                          REYES, VICTORIA                       REYES, WILMER
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REYES, YEIMY                         REYES, ZADIE                          REYES-KEILIS, JULISSA
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REYF, ALEXANDRA                      REYMAN, LARRY                         REYMANN, KIM
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REYN, IRINA                          REYNA VILLANUEVA, ALMA                REYNA, AMANDA
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REYNA, CHRISTIAN                     REYNA, EMILY                          REYNA, FREDDIE
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REYNA, MARY                          REYNA, MICHELLE                       REYNA, RENE AND MIRANDA
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REYNAGA, OSCAR                       REYNANTE JOHNSON                      REYNARD, AIMEE
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REYNAUD, VINCENT                     REYNEN, KRISTIN                       REYNERSON, MICHAELA
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REYNOLDS, ALEXANDER Case 22-11238-LSS    DocALEXANDRA
                                   REYNOLDS,  2 Filed 11/30/22       Page 4113 of 5495
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REYNOLDS, ALISHA                    REYNOLDS, AMANDA                      REYNOLDS, AMY
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REYNOLDS, AMY                       REYNOLDS, ANDREA                      REYNOLDS, ANNE
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REYNOLDS, ANTHONY                   REYNOLDS, AUSTIN                      REYNOLDS, BRADEN
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REYNOLDS, BRIAN                     REYNOLDS, BRUNA                       REYNOLDS, CAM
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REYNOLDS, CAROL                     REYNOLDS, CAROLE                      REYNOLDS, CESTIE
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REYNOLDS, CHARLYNIQUE               REYNOLDS, CHELSEA                     REYNOLDS, CHRISTOPHER
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REYNOLDS, CYPRESS                   REYNOLDS, DANIEL                      REYNOLDS, DANIEL
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REYNOLDS, DAVID                     REYNOLDS, DAVID                       REYNOLDS, DEVYN
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REYNOLDS, EMILY                     REYNOLDS, EMMA                        REYNOLDS, ERIN
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REYNOLDS, GRAHAM      Case 22-11238-LSS    DocGREG
                                     REYNOLDS,  2 Filed 11/30/22      Page 4114 of 5495
                                                                           REYNOLDS, GREGORY
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REYNOLDS, HANNAH                     REYNOLDS, HANNAH                      REYNOLDS, HORESHA
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REYNOLDS, JAMES                      REYNOLDS, JAMIE                       REYNOLDS, JANE
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REYNOLDS, JENNIFER                   REYNOLDS, JESSICA                     REYNOLDS, JOHN
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REYNOLDS, JON                        REYNOLDS, JUDI                        REYNOLDS, JULIE
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REYNOLDS, KALEY                      REYNOLDS, KARITTA                     REYNOLDS, KAROLINE
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REYNOLDS, KRISTIN                    REYNOLDS, KRYSTAL                     REYNOLDS, LANGLEY
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REYNOLDS, LARKIN                     REYNOLDS, LAUREN                      REYNOLDS, LILLIAN
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REYNOLDS, LILY                       REYNOLDS, MARGO                       REYNOLDS, MARIANN
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REYNOLDS, MARISA                     REYNOLDS, MARTHA                      REYNOLDS, MARY
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REYNOLDS, MELISSA     Case 22-11238-LSS    DocMERCER
                                     REYNOLDS,  2 Filed 11/30/22      Page 4115 of 5495
                                                                           REYNOLDS, MICHAEL
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REYNOLDS, MICHAEL                    REYNOLDS, MONIQUE                      REYNOLDS, NELLY
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REYNOLDS, PAULINE                    REYNOLDS, RHONDA                       REYNOLDS, RHONDA
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REYNOLDS, RHYAN                      REYNOLDS, RICHARD                      REYNOLDS, RM
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REYNOLDS, ROCHELL                    REYNOLDS, RYAN                         REYNOLDS, RYAN
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REYNOLDS, SARAH                      REYNOLDS, SARAH                        REYNOLDS, SARAH
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REYNOLDS, STEPHEN                    REYNOLDS, SUNSHINE                     REYNOLDS, SUSAN
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REYNOLDS, SYDNEY                     REYNOLDS, TAMARA                       REYNOLDS, TAMMIE
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REYNOLDS, TERRY                      REYNOLDS, TERRY                        REYNOLDS, TIFFANY
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REYNOLDS, TRYSTEN                    REYNOLDS, TYLER                        REYNOLDS, WINIFRED
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REYNOLDSKIDANE, SHAUN Case 22-11238-LSS    Doc
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                                             JR, JOSE LUIS 11/30/22   Page 4116 of 5495
                                                                           REYNOSA, LD
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REYNOSA, SINA                        REYNOSO, ALLY                         REYNOSO, ALYSSA
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REYNOSO, FRANCISCO                   REYNOSO, KARELIN                      REYNOSO, ROHMEL
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REYNOSO, SARA                        REYNOSO, SIMONE                       REYNOZO, ALEXANDRA
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REYNS, ALLYSON                       REZ, DELAINEY                         REZA, JASON
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REZA, RITA                           REZAC, JENNA                          REZAC, KYLE
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REZAK, KELLY                         REZAYAZDI, SAHAR                      REZNICEK, LASCA
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REZNICK, LISA                        REZNIK, FRANCESCA                     RF LIMITED
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RH, GWEN                             RHAME, RACHEL                         RHAME, WILLIAM
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RHAMY, DARRELL                       RHAMY, DARRELL                        RHATIGAN, LISA
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RHEA, GRACEN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RHEA, HEATHER                    Page 4117   of 5495
                                                                           RHEA, JEANNE
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RHEA, KELLY                          RHEA, MARY                            RHEA, MEGAN
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RHEAD, JOHN                          RHEIN, TONY                           RHETT, MARYANNE
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RHETT, SARAH                         RHETTA, TERI                          RHEW, CHRISSY
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RHIND, JESSICA                       RHINE, CALEB                          RHINE, PAM
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RHINEHART, BEVERLY                   RHINEHART, ERIKA                      RHINEHART, ERIKA
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RHINEHART, JAMES                     RHINEHART, JILLIAN                    RHINEHART, LISA
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RHINEHART, NIC                       RHINEHART, ROBYN                      RHINEHART, SEAN
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RHINESMITH, DANIELLE                 RHINESS, KIM                          RHO, ANNA
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RHOADES, BRANDIE                     RHOADES, CATHERINE                    RHOADES, CHRISTINE
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RHOADES, DANA         Case 22-11238-LSS    Doc
                                     RHOADES,    2 Filed 11/30/22
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                                                                              RHOADES, GAIL
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RHOADES, JEFFREY                     RHOADES, KEN                             RHOADES, KENNETH
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RHOADES, KIMBERLY                    RHOADES, KIRSTEN                         RHOADS, ALYSON
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RHOADS, FRED                         RHOADS, JESSICA                          RHOADS, KARLY
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RHOADS, MICHELLE                     RHOADS, RACHEL                           RHOADS, STEVEN
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RHOADS, SUSAN                        RHODAN, MAYA                             RHODE ISLAND DEPARTMENT OF BUSINESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           REGULATION
                                                                              1511 PONTIAC AVENUE
                                                                              CRANSTON, RI 02920




RHODE ISLAND DEPT OF LABOR AND       RHODE ISLAND DIVISION OF TAXATION        RHODE, DORI
TRAINING                             ONE CAPITOL HILL                         ADDRESS AVAILABLE UPON REQUEST
CENTER GENERAL COMPLEX               PROVIDENCE, RI 02908-5800
1511 PONTIAC AVENUE
CRANSTON, RI 02920



RHODE, JERRY                         RHODEHAMEL, LILY                         RHODEN, DARCY
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RHODEN, RUBY                         RHODENIZER, MICHELLE                     RHODES & DAVE ADAMS, SONJA
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RHODES, ALANIE                       RHODES, ALEXIS                           RHODES, ALYSSA
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RHODES, ANDREA        Case 22-11238-LSS    Doc
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                                                                           RHODES, 5495
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RHODES, ASHLY                        RHODES, CARRIE                        RHODES, CHAMAYNE
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RHODES, EILEEN                       RHODES, ELEANOR                       RHODES, ELISA
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RHODES, ERICA                        RHODES, ERIN                          RHODES, JENN
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RHODES, JOANNE                       RHODES, JUDTH                         RHODES, KATHERINE
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RHODES, KATRYNA                      RHODES, KELSEY                        RHODES, KLAIRE
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RHODES, LINDA                        RHODES, LOLETA                        RHODES, LUCAS
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RHODES, MADISON                      RHODES, MARCY                         RHODES, MATTHEW
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RHODES, MAURA                        RHODES, NICHOLAS                      RHODES, NINA
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RHODES, NTHANIEL                     RHODES, RYAN                          RHODES, SAM
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RHODES, SAMANTHA      Case 22-11238-LSS    Doc
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                                                                           RHODES, 5495
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RHODES, TORRIE                       RHODES, WHITNEY                       RHODES, WHITNEY
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RHODIN, CONNELLY                     RHOENISCH, TIM                        RHOMBUS ADS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        434 W 33RD ST., FL 12
                                                                           NEW YORK, NY 10001




RHONDA ALINE HILLS                   RHONDA MCCULLOUGH ANDERSON            RHONE, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RHOTEN, MARTINA                      RHOTON, AASIA                         RHOTON, CATHERINE
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RHOTON, JESSICA                      RHOTON, ROB                           RHULE, PATRICIA
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RHYINS, BRAD                         RHYINS, SOPHIA                        RHYNE, JULIA
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RHYTHMONE, LLC                       RIAL, ISABEL                          RIANO, WILSON
3600 136TH PL SE SUITE 400           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BELLEVUE, WA 98006




RIANS, JULIE                         RIAZ, ALI                             RIAZ, FAREEHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIBA, ABBY                           RIBACK, ERICA                         RIBAIL, TYLER
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RIBAS PATTON, JACQUELINE                    Doc
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                                                                            RIBBING, 5495
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RIBBLETT, ADRIENNE                    RIBEIRO, ALI                          RIBEIRO, FAYTH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIBEIRO, KYLEN                        RIBEIRO, LEANE                        RIBEIRO, LUIS
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RIBEIRO, ROBERTO                      RIBET, JESSICA                        RICARD, ERIN
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RICARD, PALOMA                        RICARD, PALOMA                        RICARDO CONCEPCION MEJIAS
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RICARDO DE LA CRUZ ROSSI              RICARDO GUERRERO                      RICARDO JOAO DE FIGUEIREDO ANTUNES
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RICARDO OLIVEIRA                      RICARDO, EILEEN                       RICCA, JENNIFER
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RICCARDI, ERICA                       RICCI, ALEXANDRA                      RICCI, ASHLEY
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RICCI, ASHLEY                         RICCI, BONNIE                         RICCI, JENNA
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RICCI, KIMBERLY                       RICCI, MELISSA                        RICCIARDELLI, BRIANNE
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RICCIARDELLI, JUSTINE Case 22-11238-LSS     Doc
                                     RICCIARDI,   2 Filed 11/30/22
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                                                                           RICCIARDI, DANA
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RICCIARDI, DEB                       RICCIARDI, JERIANA                     RICCIARDI, JESSICA
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RICCIARDI, KAYLIN                    RICCIARDI, LARA                        RICCIARDI, SHARON
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RICCIE, CARLIE                       RICCIO, ALEA                           RICCIO, JOE
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RICCIO, KATE                         RICCIO, MICHAEL                        RICCIO, ROSANNE
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RICCOBUONO, BECKY                    RICCOMINI, AMY                         RICE, ALAN
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RICE, ALEX                           RICE, ALEXANDRA                        RICE, ALEXIS
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RICE, ALLY                           RICE, ANNA                             RICE, ASHLEY
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RICE, AUBREY                         RICE, BARRY                            RICE, BETH
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RICE, BRENDA                         RICE, BRENDAN                          RICE, CAITLYN
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RICE, CARY            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RICE, CASSIE                     Page 4123   of 5495
                                                                           RICE, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICE, CATHERINE                      RICE, CHRISTIAN                        RICE, CLARA
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RICE, DAN                            RICE, DIANE                            RICE, DOROTHY
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RICE, ELIZABETH                      RICE, ELIZABETH                        RICE, EMILY
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RICE, ERICH                          RICE, ERIN                             RICE, HALEY
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RICE, HANNAH                         RICE, HOLLY                            RICE, JAMES
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RICE, JAY                            RICE, JENNIFER                         RICE, JERRY
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RICE, JESSICA                        RICE, JIM                              RICE, JOELLEN
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RICE, JORDAN                         RICE, JUSTIN                           RICE, KATHERINE
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RICE, KATIA                          RICE, KAYLA                            RICE, KELLY
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RICE, KRISTIN         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RICE, LAUREN                     Page 4124    of 5495
                                                                           RICE, LINDA
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RICE, LORIE                          RICE, LUCINDA                          RICE, LYNDSEY
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RICE, MARY                           RICE, MARY                             RICE, MELANIE
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RICE, MELISSA                        RICE, MICHAEL                          RICE, MICHAELA
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RICE, MOLLY                          RICE, NATALIE                          RICE, PAIGE
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RICE, PAVLINA                        RICE, RACHEL                           RICE, REGINA
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RICE, ROBERT                         RICE, ROWAN                            RICE, ROXANNE
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RICE, SARA                           RICE, SARAH                            RICE, SAVANNAH
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RICE, SEAN                           RICE, STACY                            RICE, STACY
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RICE, STEVE                          RICE, SUSANNE                          RICE, TEAHL
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RICE, TERRI           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RICE, TINA                       Page 4125   of 5495
                                                                           RICE, TRISTIN
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RICE, VICKI                          RICE, WHITNEY                         RICE-GONZALEZ, CHARLES
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RICH, CASEY                          RICH, CHRISTINA                       RICH, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICH, HOPE                           RICH, JENNIFER                        RICH, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICH, KIMBERLY                       RICH, LIZ AND PRESTON                 RICH, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICH, MADELINE                       RICH, MONIQUE                         RICH, RUTH-ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICH, SAMANTHA                       RICHARD A HOEFER                      RICHARD A PARADIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARD B GELLER                     RICHARD B STEINEL JR                  RICHARD BENJAMIN STUMP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARD BERGER                       RICHARD C HICKMAN                     RICHARD CABALLERO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARD CARUSO                       RICHARD CHUNG                         RICHARD CURRENCE
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RICHARD D GROSS       Case 22-11238-LSS
                                     RICHARDDoc  2 Filed 11/30/22
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                                                                           RICHARD  5495 SPRADLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARD E PETERSEN                   RICHARD EARL GOOD                     RICHARD ERIC BLOOMFIELD
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RICHARD EVENDEN                      RICHARD EYDT                          RICHARD FEINSILVER
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RICHARD FUNK                         RICHARD G KINDSCHI                    RICHARD GARCIA
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RICHARD GEORGE DAMKO                 RICHARD HAGELBERG                     RICHARD J WYSOCZANSKI
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RICHARD JACOBE                       RICHARD JOHN NEBELSKI                 RICHARD KLASSEN
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RICHARD KOLANOS                      RICHARD L MOLEN                       RICHARD L RUSSELL JR
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RICHARD LEE GARCIA                   RICHARD LEE WELLDAY JR                RICHARD LEIX
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RICHARD LEONARD CAMPBELL             RICHARD MACDOWELL                     RICHARD MCKENNA
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RICHARD MERRICK                      RICHARD MESSINA                       RICHARD MESSINA
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RICHARD MOE           Case 22-11238-LSS
                                     RICHARDDoc  2 Filed 11/30/22
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RICHARD P., BROWN                    RICHARD PALMER                        RICHARD PAUL STEVENS
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RICHARD ROMAN                        RICHARD STEADMAN                      RICHARD STRICKLAND
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RICHARD VERGEZ                       RICHARD WEISS                         RICHARD WHIT4E
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RICHARD ZEMANN                       RICHARD, A.                           RICHARD, ALEXANDRA
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RICHARD, ALLIE                       RICHARD, ALLISON                      RICHARD, ALYSSA
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RICHARD, AMIE                        RICHARD, BAILEY                       RICHARD, BEANUM,
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RICHARD, CAITLYN                     RICHARD, CAROLE                       RICHARD, CAROLINE
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RICHARD, CHRISTINA                   RICHARD, CHRISTINA                    RICHARD, CHRISTINE
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RICHARD, CYNTHIA                     RICHARD, ELLEN                        RICHARD, EMMA
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RICHARD, ERICA        Case 22-11238-LSS    Doc
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                                                                           RICHARD, 5495
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RICHARD, JACK                        RICHARD, JENNIFER                     RICHARD, KAITLYN
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RICHARD, KELLY                       RICHARD, MAGDA                        RICHARD, MELANIE
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RICHARD, NICHOLE                     RICHARD, PHILIP                       RICHARD, TAMARA
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RICHARD, TEAL                        RICHARDS BUTTS, AMANDA                RICHARDS, ALEXANDRA
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RICHARDS, AMANDA                     RICHARDS, AMELIA                      RICHARDS, AMY
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RICHARDS, ANDREA                     RICHARDS, ANDREW                      RICHARDS, ANNE
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RICHARDS, ANNEICIA                   RICHARDS, ASHLEE                      RICHARDS, BEN
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RICHARDS, BETH                       RICHARDS, BRANDON                     RICHARDS, CAMERON
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RICHARDS, CANDICE                    RICHARDS, CATLIN                      RICHARDS, CHELSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RICHARDS, CHLOE       Case 22-11238-LSS    Doc
                                     RICHARDS,   2 Filed 11/30/22
                                               CHRISTOPHER            Page 4129  of 5495
                                                                           RICHARDS, CONSTANCE
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RICHARDS, DEJA                       RICHARDS, DONOVAN                     RICHARDS, DWENDOLYN
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RICHARDS, ELIZABETH                  RICHARDS, ELLEN                       RICHARDS, EMILY
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RICHARDS, ERICHA                     RICHARDS, GERALDINE                   RICHARDS, GRANT
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RICHARDS, HANNAH                     RICHARDS, HANNAH                      RICHARDS, HANNAH
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RICHARDS, HILARY                     RICHARDS, HONORE                      RICHARDS, ISABEL
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RICHARDS, J                          RICHARDS, JASMINE                     RICHARDS, JEFF
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RICHARDS, JENNIFER                   RICHARDS, JORDAN                      RICHARDS, JOSEPH
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RICHARDS, KARA                       RICHARDS, KELI                        RICHARDS, KESHIA
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RICHARDS, LA SHOAN                   RICHARDS, LAUREN                      RICHARDS, LAWRENCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RICHARDS, LEANNE      Case 22-11238-LSS    Doc
                                     RICHARDS,    2 Filed 11/30/22
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                                                                           RICHARDS, MALLORY
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RICHARDS, MARIE                      RICHARDS, MARTHA                       RICHARDS, MARY
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RICHARDS, MELANIE                    RICHARDS, MERVIN                       RICHARDS, MICHELE
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RICHARDS, MICHELLE                   RICHARDS, MORGAN                       RICHARDS, PAMELA
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RICHARDS, RACHAEL                    RICHARDS, RAMON                        RICHARDS, SARAH
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RICHARDS, SHAUNA                     RICHARDS, SHAYLAN                      RICHARDS, STEPHANIE
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RICHARDS, TAIRYN                     RICHARDS, TINA                         RICHARDS, VICTORIA
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RICHARDS, WILLIAM                    RICHARDS, ZACHARY                      RICHARDS-BERGEMAN, RACHEL
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RICHARDSON GRAHAM, MARY              RICHARDSON, AARIONNA                   RICHARDSON, AARON
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RICHARDSON, AARON                    RICHARDSON, ADAM                       RICHARDSON, AMANDA
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RICHARDSON, AMY       Case 22-11238-LSS    Doc 2ANGELA
                                     RICHARDSON,     Filed 11/30/22   Page 4131  of 5495
                                                                           RICHARDSON, ANGELA
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RICHARDSON, ANGELA                   RICHARDSON, ARIANNA                   RICHARDSON, ASHLEY
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RICHARDSON, BETH                     RICHARDSON, BRITTANY                  RICHARDSON, BRYAN
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RICHARDSON, CALLIE                   RICHARDSON, CARA                      RICHARDSON, CAROLINE
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RICHARDSON, CHELSEA                  RICHARDSON, CHERIE                    RICHARDSON, CHERYL
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RICHARDSON, CHRISTIANE               RICHARDSON, CLAIRE                    RICHARDSON, COLLINS
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RICHARDSON, CYNTHIA                  RICHARDSON, DANIELLE                  RICHARDSON, DANIELLE
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RICHARDSON, DAVE                     RICHARDSON, DAWN                      RICHARDSON, DEBORAH
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RICHARDSON, DENICE                   RICHARDSON, DIANA                     RICHARDSON, DOMONIQUE
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RICHARDSON, DONNA                    RICHARDSON, DONNA                     RICHARDSON, DOUG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RICHARDSON, EDWIN     Case 22-11238-LSS    Doc 2ELIZABETH
                                     RICHARDSON,     Filed 11/30/22   Page 4132  of 5495
                                                                           RICHARDSON, ELIZABETH
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RICHARDSON, EMILY                    RICHARDSON, ERIC                       RICHARDSON, ERIKA
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RICHARDSON, ERIN                     RICHARDSON, ESTELLA                    RICHARDSON, GRANT
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RICHARDSON, HEATHER                  RICHARDSON, HEATHER                    RICHARDSON, HEATHER
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RICHARDSON, HOLLY                    RICHARDSON, JAMES                      RICHARDSON, JANET
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RICHARDSON, JENNIFER                 RICHARDSON, JESSICA                    RICHARDSON, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, JOHN                     RICHARDSON, JULIA                      RICHARDSON, JULIA
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RICHARDSON, JULIE                    RICHARDSON, KAREN                      RICHARDSON, KATHLEEN
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RICHARDSON, KATHLEEN                 RICHARDSON, KATHY                      RICHARDSON, KAYSEY
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RICHARDSON, KEISHA                   RICHARDSON, KELLY                      RICHARDSON, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RICHARDSON, KOOPER    Case 22-11238-LSS    Doc 2KRISTEN
                                     RICHARDSON,     Filed 11/30/22   Page 4133  of 5495
                                                                           RICHARDSON, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, KRISTIN                  RICHARDSON, KRISTINA                   RICHARDSON, KRISTLE
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RICHARDSON, LANISE                   RICHARDSON, LATOYA                     RICHARDSON, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, LINDA                    RICHARDSON, LINDSAY                    RICHARDSON, LON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, MAREDITH                 RICHARDSON, MARIAN                     RICHARDSON, MARY GRACE
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RICHARDSON, MAX                      RICHARDSON, MEGAN                      RICHARDSON, MICHAEL
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RICHARDSON, MICHAEL                  RICHARDSON, MIKE                       RICHARDSON, MILANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, MONISHA                  RICHARDSON, NAHFISA                    RICHARDSON, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, NATALIE                  RICHARDSON, NIA                        RICHARDSON, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, PAOLA                    RICHARDSON, PAULA                      RICHARDSON, RACHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RICHARDSON, REGINA    Case 22-11238-LSS    Doc 2RHONDA
                                     RICHARDSON,     Filed 11/30/22   Page 4134  of 5495
                                                                           RICHARDSON, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, RODERICK                 RICHARDSON, SABRINA                   RICHARDSON, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, SAMUEL                   RICHARDSON, SARAH                     RICHARDSON, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, SHERMAN                  RICHARDSON, SIMON                     RICHARDSON, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, SUSAN                    RICHARDSON, SUSAN                     RICHARDSON, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHARDSON, SYDNEY                   RICHARDSON, SYMONE                    RICHARDSON, TATJANA
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RICHARDSON, TED                      RICHARDSON, THOMAS                    RICHARDSON, TIARA
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RICHARDSON, TODD                     RICHARDSON, TRAE                      RICHARDSON, TYLER
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RICHARDSON, WILLIAM                  RICHARDSON, ZACHARY                   RICHARDSON, ZACHARY
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RICHARDSON, ZACKARY                  RICHARDSON-OMAMO, THEODORE            RICHARDVILLE, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RICHBOURG, DONALD     Case 22-11238-LSS
                                     RICHEL, Doc 2 Filed 11/30/22
                                             LEANNA                   Page 4135  of 5495BECCA
                                                                           RICHELDERFER,
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RICHER, ALYSSA                       RICHER, CLARE                         RICHER, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHER, JENA                         RICHER, JENNIFER                      RICHER, KARI-LISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHERSON, ERIN                      RICHERT, LISA                         RICHETELLI, NICOLE
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RICHEY, AMANDA                       RICHEY, DIANA                         RICHEY, HEIDI
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RICHEY, JAMES                        RICHEY, JORDAN                        RICHEY, JOYELLE
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RICHEY, KATELIN                      RICHEY, KENZIE                        RICHEY, KEVIN
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RICHFORD, STACI                      RICHICHI, ASHLEY                      RICHIE YUEN
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RICHIE, KIARA                        RICHIE, LISA                          RICHIE, MARY JO
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RICHIE, TANNER                       RICHIEZ TAVAREZ, JIANIL               RICHISSIN, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RICHMAN, HEATHER      Case 22-11238-LSS    Doc
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                                                                           RICHMAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHMAN, MORGAN                      RICHMAN, REMY                         RICHMAN, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHMAN, SAMANTHA                    RICHMAND, SARAH                       RICHMOND BOTTOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHMOND, ALLISON                    RICHMOND, CHRIS                       RICHMOND, DAVON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHMOND, DONIELL                    RICHMOND, EMILY                       RICHMOND, HILLARY
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RICHMOND, JANE                       RICHMOND, JENNIFER                    RICHMOND, JONAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHMOND, KEVIN                      RICHMOND, LEAH                        RICHMOND, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHMOND, LILITH                     RICHMOND, LISA                        RICHMOND, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHMOND, LYNNE                      RICHMOND, SAM                         RICHMOND, SAMANTHA
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RICHMOND, SARAH                      RICHMOND, TERRY                       RICHMOND, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RICHNER, RACHELLE     Case 22-11238-LSS    Doc
                                     RICHTER,    2 Filed 11/30/22
                                              ASHLEY                  Page 4137  of BETSY
                                                                           RICHTER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHTER, BRYNN                       RICHTER, CORA                         RICHTER, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHTER, DANITA                      RICHTER, ELLEN                        RICHTER, J
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHTER, JOE                         RICHTER, JOHN C                       RICHTER, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHTER, KATELYN                     RICHTER, KELSEY                       RICHTER, KEVIN
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RICHTER, KEVIN                       RICHTER, MARIANNE                     RICHTER, ROSEMARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHTER, SANDRA                      RICHTER, TIFFANY                      RICHTMAN, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICHVALSKY, OLIVIA                   RICHVEIS, RENEE                       RICHWINE, LOIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICK STRANG                          RICK TEIXEIRA WELDING INC.            RICK, JESSICA
ADDRESS AVAILABLE UPON REQUEST       502 N. SCOTT DR.                      ADDRESS AVAILABLE UPON REQUEST
                                     SANTA MARIA, CA 93454




RICK, KEVIN                          RICKARD, ADAM                         RICKARD, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RICKARD, EMMA         Case 22-11238-LSS    Doc
                                     RICKARD, KIM 2  Filed 11/30/22   Page 4138  of 5495
                                                                           RICKARDS, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICKARDS, STEVE                      RICKE, JACKIE                         RICKE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICKELS, RONN AND ALENE              RICKENBACKER, CRYSTYL                 RICKER, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICKER, JOSHUA                       RICKER, MOLLIE                        RICKER, ZAIDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICKERSON, CHELSEA                   RICKERSON, NANCY                      RICKERT, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICKERT, KENDRA                      RICKETT, BRYNA                        RICKETT, KENDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICKETTI, AMANDA                     RICKETTS, ANGELA                      RICKETTS, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICKETTS, CHIMERE                    RICKETTS, CHRISTINE                   RICKETTS, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICKETTS, JOEY                       RICKETTS, KIRA                        RICKETTS, MOLLY
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RICKETTS, RHIANNON                   RICKETTS, TEZRA                       RICKETTS, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RICKEY, NATALIA       Case 22-11238-LSS    Doc
                                     RICKGARN,   2 Filed 11/30/22
                                               JOHN                   Page 4139  of 5495
                                                                           RICKLEFS, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKLEY, ELIZABETH                   RICKLEY, LIZ                           RICKMAN, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKMAN, EMILIE                      RICKMAN, TARA                          RICKRODE, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKS, CAROL                         RICKS, CATHERINE                       RICKS, DAMOINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKS, JENSEN                        RICKS, JOCELYN                         RICKS, JUANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKS, KATHRYN                       RICKS, KAYLIE                          RICKS, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKS, KRISTIN                       RICKS, LACEY                           RICKS, LARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKS, TAYLOR                        RICKSON, CAROLINE                      RICKY CARL GERMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKY D. COLLINS                     RICKY JACKSON JR                       RICKY L ROTH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RICKY LIPSEY                         RICKY TON                              RICO LAVENDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RICO, LORIE           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RICO, MICHELLE                   Page 4140   of 5495
                                                                           RICO, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RICO, RAFAEL                         RICO, REBECCA                         RICO, SERGIO
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RICO, SILVIA                         RICO, TYLER                           RICOT, WOODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIDDELL, ANNIE                       RIDDELL, KAREN                        RIDDELL, LEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIDDER, BAILEE                       RIDDER, JEN                           RIDDER, JENNIFER
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RIDDICK, DARBY                       RIDDICK, DARRELL                      RIDDICK, MARYADELAIDE
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RIDDLE, CAITLIN                      RIDDLE, EARL                          RIDDLE, EMILY
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RIDDLE, HANNAH                       RIDDLE, HEATHER                       RIDDLE, JEANNE
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RIDDLE, KIT                          RIDDLE, LEE                           RIDDLE, LEIGHA
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RIDDLE, MOLLY                        RIDDLE, MONICA                        RIDDLE, NORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIDDLE, TOM           Case 22-11238-LSS     Doc 2 JODI
                                     RIDDLEBERGER,   Filed 11/30/22   Page 4141
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIDEAUX, GREGORY                     RIDENOUR, DOROTHY                     RIDENOUR, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIDENOUR, JENNIFER                   RIDEOUT, DANA                         RIDEOUT, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIDER, CHRISTINA                     RIDER, DANIELLE                       RIDER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIDER, JOHN                          RIDER, KARI                           RIDER, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIDER, LISA                          RIDER, MAURA                          RIDER, MICHAEL
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RIDER, PATRICIA                      RIDER, PHILLIP                        RIDER, RACHEL
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RIDER, RONALD                        RIDER, SAM                            RIDER, SHERIDAN
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RIDGE, CATHY                         RIDGE, DAN                            RIDGE, JIM
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RIDGE, KASIE                         RIDGE, KATHLEEN                       RIDGE, KATIE
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RIDGELL, PAMELA       Case 22-11238-LSS    DocANNE
                                     RIDGEWAY,  2 Filed 11/30/22      Page 4142  of 5495
                                                                           RIDGEWAY, JUSTINE
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RIDGWAY, AMY                         RIDGWAY, ANGELIA                       RIDGWAY, JESSICA
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RIDGWAY, JOANNE                      RIDGWAY, JON                           RIDGWAY, KRISTEN
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RIDGWAY, LAURA                       RIDING, ACHZIONNA                      RIDINGS, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIDLEY, COURTNEY                     RIDLEY, KIMBERLY                       RIDLEY, SHARRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIDLEY, TAWANDA                      RIDNOR, SARAH                          RIDOLFI, KELSEY
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RIDORE, STANLEY                      RIE, NICHOLAS                          RIEBE, LEILA
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RIEBL, LAURA                         RIECHERS, JOHN                         RIECK, AMANDA
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RIECKMANN, REBECCA                   RIEDEL, AMANDA                         RIEDEL, CHERYL
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RIEDEL, HEIDI                        RIEDEL, KATHY                          RIEDEL, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RIEDELL, BERTA        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIEDI, MARTINA                       RIEDINGER, COURTNEY                   RIEDINGER, TAKARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIEDMAN, CAROLINE                    RIEDY, JACKIE                         RIEDY, JACKIE
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RIEDY, KIM                           RIEFF, KENDRA                         RIEFLER, TARA
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RIEFLIN, ABBY                        RIEGEL, LINNEA                        RIEGER, AMANDA
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RIEGER, JARED                        RIEGGER, JILLIAN                      RIEHL, CRAIG
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RIEHL, MORGAN                        RIEHLE, ELLEN                         RIEL, KATE
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RIELA, LINDA                         RIEM, CANDY                           RIEMENSCHNEIDER, GRETCHEN
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RIEMER, ALEX                         RIEMER, EMILY                         RIEMER, JAMIE
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RIEMER, RON                          RIEMERSMA, MARY KATE                  RIENDEAU, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIEPENHOFF, LAUREN    Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RIERA, DAVID                     Page 4144   of 5495
                                                                           RIES, JENNIFER
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RIES, JUSTIN                         RIES, ROBERT                          RIES, SHANNON
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RIESGO, KRISTIN                      RIESING, KATARINA                     RIESKAMP, AMY
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RIESTERER, JACOB                     RIESTERER, KATARINA                   RIETHER, MARLENE
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RIETHMAN, JULIA                      RIETVELD, KEELY                       RIETVELD, MEGHAN
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RIEVE, CLAUDIA                       RIEWER, ALEXANDRA                     RIFAY, LAILA
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RIFE, CATHY                          RIFE, SHARON                          RIFFELL, JIM
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RIFFEY, TABITHA                      RIFFLE, BRITTANY                      RIFFLE, JEANETTE
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RIGAGLIA, CARMELA                    RIGAKOS, MARIA                        RIGAMONTI, JESSE
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RIGANTE, TAYLOR                      RIGAS, CHRIS                          RIGASSIO, CHRIS
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RIGATUSO, CHRIS       Case 22-11238-LSS
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                                                                           RIGBY, of 5495
                                                                                  KATHERINE
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RIGBY, LAUREN                        RIGBY, LINDA                           RIGBY, STEVEN
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RIGBY, STEVEN                        RIGDON, JESSICA                        RIGDON, KATRINA
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RIGDON, MARY                         RIGEL, AMANDA                          RIGGAN, KYLE
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RIGGAN, MISSY                        RIGGANS, ALICIA                        RIGGENBACH, AUDREY
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RIGGERS, NATALIE                     RIGGI, ARMANDO                         RIGGINS, ANDREW
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RIGGINS, ASHLEY                      RIGGINS, ETHAN                         RIGGINS, KATELYN
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RIGGINS, KENT                        RIGGINS, ROBIN                         RIGGIO, CHRISTINA
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RIGGIO, ERIKA                        RIGGIO, HEIDI                          RIGGLE, JEANETTE
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RIGGLEMAN, ROD                       RIGGOTT, MADELINE                      RIGGS, APRIL
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RIGGS, CAROL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RIGGS, JULIE                     Page 4146
                                                                           RIGGS, of 5495
                                                                                  KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIGGS, MEGAN                         RIGGS, NANDANIE                       RIGGS, RUSANNE
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RIGGS, THOMAS                        RIGGS, TIFFANIE                       RIGGS, TYLER
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RIGGS, VANNESSA                      RIGHETTI, HEATHER                     RIGHT SIGNATURE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




RIGHTCROWD EUROPE NV                 RIGHTER, CAITLYN                      RIGHTSIGNATURE
OKTROOIPLEIN 1 BUS 201 9000          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
GENT
BELGIUM




RIGNANESE, KRYSTEN                   RIGNEY, JOHN                          RIGNEY, PHILIP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIGO, MELISSA                        RIGSBY, BROOKE                        RIGSBY, JENNIFER
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RIHA, ANNMARIE                       RIHACEK, JENNAH                       RIJO, ALFINA
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RIJPER, DIANA                        RIKHYE, SAHIL                         RIKLI, NICOLETTE
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RIKSE, LARS                          RIKUSTAD, BRIDGET                     RILEY, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RILEY, ALONNA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RILEY, BETH                      Page 4147   of 5495
                                                                           RILEY, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, CAITLIN                       RILEY, CANDICE                        RILEY, CARRIE
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RILEY, CELESTE                       RILEY, CHARNAY                        RILEY, CHLOE
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RILEY, COLLEEN                       RILEY, COLLEEN                        RILEY, CRISTY
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RILEY, DANIEL                        RILEY, DARREN                         RILEY, DEADRA
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RILEY, DEIRDRE                       RILEY, DREW                           RILEY, EMELINE
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RILEY, HALEY                         RILEY, ISABELLE                       RILEY, JACKIE
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RILEY, JASMINE                       RILEY, JAYNE                          RILEY, JENNIFER
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RILEY, JESSE                         RILEY, JOHN                           RILEY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, JORDAN                        RILEY, JOSEPH                         RILEY, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RILEY, JUDITH         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RILEY, KALI                      Page 4148   of 5495
                                                                           RILEY, KEITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, KELLY                         RILEY, KELSEY                         RILEY, KIMBERLY
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RILEY, KRISTIN                       RILEY, KRISTIN                        RILEY, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, LAUREN                        RILEY, LISA                           RILEY, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, LISA                          RILEY, MADELAINE                      RILEY, MARCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, MARGARET                      RILEY, MAX                            RILEY, MCKENNA
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RILEY, MEGAN                         RILEY, MEGHAN                         RILEY, MICHAEL
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RILEY, MORGAN                        RILEY, NANCY                          RILEY, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, NICOLE                        RILEY, PATRICIA                       RILEY, PHOEB
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RILEY, ROBIN                         RILEY, ROBIN                          RILEY, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RILEY, SEAN           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RILEY, SHANE                     Page 4149   of 5495
                                                                           RILEY, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, SUSAN                         RILEY, TARA                           RILEY, TARYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILEY, TREMAINE                      RILEY, WALTER                         RILEY, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RILL, CARISSA                        RILLSTONE, DOUGLAS                    RIM, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIMA, ANDREW                         RIMATO, CORRINA                       RIMBEY, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIMBOECK, MICHELLE                   RIMBOLD, KIMBERLY                     RIMDZIUS, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIMEDIO, JULIE                       RIMKIENE, RUTA                        RIMKUS, AUSTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIMKUS, MATTHEW                      RIMKUS, SADIE                         RIMKUS, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIMMER, ABI                          RIMMER, ALEXANDRA                     RIMMER, JOSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIMMER, KAITLYN                      RIMMER, LISA                          RIMMER, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIMMER, MEREDITH      Case 22-11238-LSS
                                     RIMMER,Doc 2 Filed 11/30/22
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                                                                           RIMONDI, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIMPLEY, APRIL                       RINALDI, ALEXANDRA                    RINALDI, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINALDI, G                           RINALDI, GINA                         RINALDI, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINALDI, JULIA                       RINALDI, MATTHEW                      RINALDI, SUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINALDO, JOSEPH                      RINARD, GEOFFREY                      RINATO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINCON LLC                           RINCON LLC                            RINCON, DAISY
1751 BERKELEY ST STUDIO 3            ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90404




RINCON, DIANA                        RINCON, MARISSA                       RINCON, SABRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINDAHL, NORMANDY                    RINDE, ALEXA                          RINDGEN, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINDY, AMANDA                        RINDY, JENNA                          RINE, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINEHARDT, LESLIE                    RINEHART, AMBER                       RINEHART, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RINEHART, CHLOE       Case 22-11238-LSS    Doc
                                     RINEHART,   2 Filed 11/30/22
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                                                                           RINEHART, JOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINEHART, KAITLIN                    RINEHART, KELSEY                      RINEHART, ROBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINEHART, ROBBIE                     RINELL, DEBBIE                        RINELLA, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RINELLI, CHRIS                       RINELLI, ELIZABETH                    RINER, JUSTIN
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RINES, BRENDA                        RINES, CAMILA                         RINEY, KATE
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RINEY, KATE                          RINEY, NORMA                          RING, BRENDEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RING, CHELSEY                        RING, CHLOE                           RING, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RING, DAVID                          RING, ERICA                           RING, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RING, KATHRYN                        RING, LAUREN                          RING, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RING, SARAHBETH                      RINGEL, KATE                          RINGENBERG, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RINGER, MATTHEW       Case 22-11238-LSS    Doc
                                     RINGERUD,   2 Filed 11/30/22
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                                                                           RINGGARD, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RINGGER, SUE                         RINGIE, ANDREW                         RINGLBAUER, AMY
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RINGLER, ERIC                        RINGLER, JANICE                        RINGLER, JANICE
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RINGLER, NICHOLAS                    RINGLER, REGAN                         RINGLEY, AMY
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RINGLING, PAUL                       RINGO J LANZETTI                       RINGO, JUSTIN
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RINGO-KASOTAKIS, KEILY               RING-REAVES, JOYCE                     RINGROSE, ALEX
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RINGWALA, SUMIT                      RINI, CINDY                            RINK, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RINK, MEGAN                          RINK, TAYLOR                           RINKEMA, ANNIE
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RINKER, ANGELA                       RINKEVICH, REBECCA                     RINKO, SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RINN, JENNIFER                       RINTHARAMY, CHANDEE                    RIOJAS, KRISTIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RIOLA, JULIA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RION, MICHELE                    Page 4153
                                                                           RIOPEL,of 5495
                                                                                   CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIOPKO, SUSAN                        RIORDAN, BRIGID                        RIORDAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIORDAN, MARGARET                    RIORDAN, MEAGHAN                       RIORDAN, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIORDAN, MICHAEL                     RIORDAN, MOIRA                         RIORDAN, NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIORDAN, WENDY                       RIOS, ALBERT                           RIOS, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIOS, ARMANDO                        RIOS, CELESTE                          RIOS, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIOS, DANNY                          RIOS, DEANNA                           RIOS, EDWIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIOS, EDWIN                          RIOS, ELIZABETH                        RIOS, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIOS, GABRIELLE                      RIOS, GABY                             RIOS, GABY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIOS, GRACE                          RIOS, JASMINE                          RIOS, KIARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RIOS, LYDIA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RIOS, MONICA                     Page 4154   of 5495
                                                                           RIOS, NAYELI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIOS, SARAI                          RIOS, SHAWNEE                         RIOS, SOL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIOS, TISHA                          RIOS, VERONICA                        RIOS, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIOS-HENRY, KISHA                    RIOTH, MEGHAN                         RIOUX, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIOUX, JORDON                        RIOUX, SARAH                          RIOUX, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIPA, ANTHONY                        RIPA, CAROLINE                        RIPANI, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIPEN LLC.                           RIPEPI, ANTHONY                       RIPKEN, RACHEL
21 ROSZEL ROAD SUITE 100             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PRINCETON, NJ 08540




RIPLEY, DON                          RIPLEY, ERIN                          RIPLEY, KAIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIPLEY, SHANNON                      RIPLEY, SUZAN                         RIPO, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIPPEE, GIGI                         RIPPEL, CLAIRE                        RIPPEN, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIPPENHAGEN, LUCY     Case 22-11238-LSS
                                     RIPPER, Doc  2 Filed 11/30/22
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                                                                           RIPPERE  MILLER, KIM & EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIPPETOE, JAKE                       RIPPEY WINE COMPANY LLC                RIPPLE, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       72 CATANIN LANE                        ADDRESS AVAILABLE UPON REQUEST
                                     NAPA, CA 94558




RIPPLE, COURTNEY                     RIPPLE, SUSAN                          RIPPY, JULIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIPPY, KIM                           RIPPY, LAUREN                          RIPPY, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIQUE OMOND BULOSAN                  RIQUELME, CYNTHIA                      RIS, MEGAN
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RISA, JULIE                          RISAL, ASHISH                          RISALITI, CAROL
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RISANO, EMILY & ROSS                 RISBRUDT, JACLYN                       RISCH, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RISCH, CHELSEA                       RISCH, MEGHAN                          RISCHARD, ANTOINETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RISCHBIETER, CLARK                   RISDON, ROSALYN                        RISE, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RISELOVEGLOW                         RISEWICK, TONYA                        RISH, KARA
9520 LUCERNE AVE. APT 2              ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
CULVER CITY, CA 90232
RISHABH SHAH          Case 22-11238-LSS
                                     RISHER,Doc  2 Filed 11/30/22
                                            HILLARY                   Page 4156   of 5495
                                                                           RISHI AGRAWAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RISING, AMELIA                       RISING, JESSICA                       RISING, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RISKE, CHARLIE                       RISKEN, TAMARA                        RISLER, LINDSAY
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RISLEY, MYCAH                        RISO, LAURA                           RISO, TAYLOR
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RISPER, MIA                          RISS, SAMUEL                          RISSACHER, DAN
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RISSE, LORI                          RISSMEYER, DANIELLE                   RISSMILLER, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RISSO, LISA                          RIST, DIANNA                          RISTAU, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RISTE, ELISIA                        RISTEFF, TINA                         RISTER, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RISTOW, ERIKA                        RISTUCCI, ELIZABETH                   RITA PATTANAIK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITA, GROSSARTH                      RITACCO, ALEXA                        RITACCO, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RITACCO, RACHEL       Case 22-11238-LSS     Doc
                                     RITACVA, NICO2  Filed 11/30/22   Page 4157   of 5495
                                                                           RITCH, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITCH, VELVET                        RITCHEY, JAMIE                        RITCHEY, JOSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITCHEY, LAUREN                      RITCHEY, LISETTE                      RITCHEY, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITCHEY, ROBERT                      RITCHEY, VICKI                        RITCHIE, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITCHIE, ALLAN                       RITCHIE, ANNA                         RITCHIE, BRUCE
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RITCHIE, CHELSEA                     RITCHIE, COLIN                        RITCHIE, DANA
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RITCHIE, JOE                         RITCHIE, MARIE                        RITCHIE, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITCHIE, MORGAN                      RITCHIE, NATALIE                      RITE AID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




RITENOUR, REBECCA                    RITER, LAUREN                         RITER, LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITES, DEBORAH                       RITESH N PATEL                        RITKO, JACLYN
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RITMAN, ABIGAIL       Case 22-11238-LSS
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                                                                           RITONA,of 5495
                                                                                   VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RITONYA, CHARLOTTE                   RITROVATO JR, RONALD                   RITROVATO, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RITT, PAMELLA                        RITTENBERG, JULIA                      RITTENHOUSE, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RITTENHOUSE, DONALD                  RITTENHOUSE, THOMAS                    RITTER, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RITTER, ALEXA                        RITTER, ALYSSA                         RITTER, CHERYL
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RITTER, DANIELLE                     RITTER, DENISE                         RITTER, EMMA
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RITTER, HEATHER                      RITTER, JENNA                          RITTER, JONATHAN
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RITTER, KASHA                        RITTER, KAYLEE                         RITTER, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RITTER, LINDA                        RITTER, MADISON                        RITTER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RITTER, MICHAEL                      RITTER, MICHELLE                       RITTER, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RITTER, NICOLE        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




RITTER, SARAH                           RITTER, SARAH                         RITTER, STEVE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITTER, TOM                             RITTER, VIRGINIA                      RITTER, WENDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITTERHERN, HAYLEY                      RITTGERS, BECKY                       RITTGERS, CHRIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITTHAWORN, PINTA                       RITTLE, RACHEL                        RITUAL COFFEE ROASTERS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




RITZ ONE HR CLEANERS                    RITZ, MELISSA                         RITZERT, NEIL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RITZMAN, BARBARA                        RIU, SCARLETT                         RIVA, KELLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVADENEIRA, MARIA                      RIVAIT, KRISTIN                       RIVALLAND, MIKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVARD, ANNA                            RIVARD, JORDAN                        RIVARD, NOEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVARD, ROD                             RIVAS, ALYSSA                         RIVAS, AMADO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIVAS, ANA            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RIVAS, CARMEN                    Page 4160   of 5495
                                                                           RIVAS, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVAS, DANIELA                       RIVAS, GABRIELA                       RIVAS, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVAS, JEWELEA                       RIVAS, JUAN                           RIVAS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVAS, REGAN                         RIVAS, VICTORIA                       RIVAS, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVENBARK, DAVID                     RIVERA BASSITT, ROSARIO               RIVERA LOPEZ, LARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA POLANCO, SARAI                RIVERA, ALEJANDRO                     RIVERA, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, ALEXANDRA                    RIVERA, AMANDA                        RIVERA, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, AMANDA                       RIVERA, AMANDA                        RIVERA, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, ANAMARIA                     RIVERA, ANDREA                        RIVERA, BETSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, BIANCA                       RIVERA, BRAULIO                       RIVERA, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIVERA, BRIANA        Case 22-11238-LSS
                                     RIVERA, Doc  2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, CARLA                        RIVERA, CARMEN                        RIVERA, CELEDONIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, CHARLOTTE                    RIVERA, CHIARA                        RIVERA, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, CHRISTINA                    RIVERA, CHRISTOPHER                   RIVERA, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, CIELO                        RIVERA, CLARELISA                     RIVERA, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, CYNTHIA                      RIVERA, DANIEL                        RIVERA, DC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, DIANGELINA                   RIVERA, DILLON                        RIVERA, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, ERIKA                        RIVERA, ERIKA                         RIVERA, EVELIO
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RIVERA, EVELIO                       RIVERA, EVELYN                        RIVERA, FELIX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, FRANCES                      RIVERA, GENEVIEVE                     RIVERA, IRMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIVERA, ISABELLA      Case 22-11238-LSS
                                     RIVERA, Doc 2 Filed 11/30/22
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                                                                           RIVERA,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, JANELLE                      RIVERA, JANICE                        RIVERA, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, JENNIFER                     RIVERA, JENNIFER                      RIVERA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, JERRY                        RIVERA, JESSICA                       RIVERA, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, JESSICA                      RIVERA, JOSHUA                        RIVERA, JUAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, JULIAN                       RIVERA, JUSTO                         RIVERA, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, KAREN                        RIVERA, KARNEISHA                     RIVERA, KAT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, KELSEY                       RIVERA, KIMBERLY                      RIVERA, LARESSIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, LAURA                        RIVERA, LEIGH                         RIVERA, LEONOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVERA, LISA                         RIVERA, LISHA                         RIVERA, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIVERA, LYDIA         Case 22-11238-LSS
                                     RIVERA, Doc 2 Filed 11/30/22
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                                                                           RIVERA,of 5495
                                                                                   MARTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, MATTHEW                      RIVERA, MISAEL                         RIVERA, NELSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, NICHOLAS                     RIVERA, NICOLE                         RIVERA, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, NINNA                        RIVERA, NORBERTO                       RIVERA, OSWALDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, PAT                          RIVERA, PATRICIA                       RIVERA, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, ROBERT                       RIVERA, ROBIN                          RIVERA, ROXANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, SAMANTHA                     RIVERA, SARAH RIVERA                   RIVERA, SERENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, SHERLEY                      RIVERA, SHERYL                         RIVERA, SOL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, SYLVIA                       RIVERA, TANISHA                        RIVERA, TATIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIVERA, TEIDER                       RIVERA, THEODORE                       RIVERA, VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RIVERA, VILMARIE      Case 22-11238-LSS
                                     RIVERA, Doc 2 Filed 11/30/22
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                                                                            RIVERA,of 5495
                                                                                    YARITZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RIVERA, YELITZA                      RIVERA, YOLANDA                         RIVERA-LUNA, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RIVERA-PERRUCCIO, JULIANNA           RIVERA-SALINAS, SALINA                  RIVERO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RIVERO, SANTIAGO                     RIVERO, SARAH                           RIVERS, BRANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RIVERS, CASSANDRA                    RIVERS, CHRISTY                         RIVERS, CLARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RIVERS, EILEEN                       RIVERS, KARI                            RIVERS, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RIVERS, LAURA                        RIVERS, MICHAELA                        RIVERS, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RIVERS, SHANEL                       RIVERS, TAKITA                          RIVERS, WINDELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RIVERS, YAREK                        RIVERSTONE GROUP LTD - CANADA           RIVES, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       13085 YONGE STREET SUITE 19-369         ADDRESS AVAILABLE UPON REQUEST
                                     RICHMOND HILL, ON L4E 0K2
                                     CANADA




RIVES, DANIELLE                      RIVES, JENNIFER                         RIVET, SUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
RIVETT, AMANDA        Case 22-11238-LSS
                                     RIVETTE,Doc 2 Filed 11/30/22
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                                                                           RIVEZZO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVIELLO, ROBERTO                    RIVILLA, RAPHAEL                      RIVINGTON, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIVOIR, ABIGAIL                      RIX, DENISE                           RIXEY, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIYANTO, MICHAEL                     RIZER, ROBIN                          RIZMANOSKI, EVGENIJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIZOPOULOS, KONSTANTINE              RIZOS, ALEXANDRA                      RIZO-VERGARA, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIZWAN HABIB                         RIZZA, ERIN                           RIZZA, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIZZARDO, ASHLEY                     RIZZI, GIANNA                         RIZZI, LUCAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIZZI, TRACEY                        RIZZIO, JULIAN                        RIZZITANO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIZZO, AMANDA                        RIZZO, BELINDA                        RIZZO, CASSIDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RIZZO, CHRISTINA                     RIZZO, CINDY                          RIZZO, CRAIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RIZZO, DAVID          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RIZZO, JACQUELINE                 Page 4166   of 5495
                                                                            RIZZO, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIZZO, JORDYN                        RIZZO, KEVIN                           RIZZO, KRISSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIZZO, MARIANNE                      RIZZOLO, AMY                           RIZZOTTO, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RIZZOTTO, LORRIE                     RIZZOTTO, LORRIE                       RIZZUTO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RJ METRICS                           RK & VIRGINIA INVESTMENTS LLC          RKOCAKROTH2020
1339 CHESTNUT STREET SUITE 1500      465 STORM MOUNTAIN CT                  200 SOUTH 108TH AVENUE
PHILADEPHIA, PA 19107                STEAMBOAT SPRINGS, CO 80487            OMAHA, NE 68154




RM WILSON CONSULTING 401K PSP        RMR CORP DBA OKOJOBI WINES             RNDC - DC
ADDRESS AVAILABLE UPON REQUEST       2302 165TH STREET                      1 NATIONAL DRIVE SW
                                     SPIRIT LAKE, IA 51360                  ATLANTA, GA 30336




RNDC - DC                            RNDC - FLORIDA (DEERFIELD)             RNDC - FLORIDA (GIBSONTON)
8201 STAYTON DRIVE                   441 S.W. 12TH AVENUE                   13040 BAY INDUSTRIAL DRIVE
JESSUP, MD 20794                     DEERFIELD BEACH, FL 33442              GIBSONTON, FL 33534




RNDC - FLORIDA (JACKSONVILLE)        RNDC - FLORIDA (PENSACOLA)             RNDC - FLORIDA (TAMPA)
9423 N MAIN STREET                   6256 NORTH W STREET                    4901 SAVERESE CIRCLE NORTH
JACKSONVILLE, FL 32218               PENSACOLA, FL 32505                    TAMPA, FL 33634




RNDC - MICHIGAN                      RNDC - NM                              RNDC - OKLAHOMA
RNDC MICHIGAN                        5920 OFFICE BOULEVARD, NE              605 N TULSA AVE
LIVONIA, MI 48150                    ALBUQUERQUE, NM 87109                  OKLAHOMA CITY, OK 73107




RNDC - VIRGINIA                      RNDC CALIFORNIA (YOUNGS MARKET)        RNDC FL - REPUBLIC NATIONAL
14038 WASHINGTON HIGHWAY             2121 BOEING WAY                        DISTRIBUTING LLC
ASHLAND, VA 23005                    STOCKTON, CA 95206                     1 NATIONAL DRIVE SW
                                                                            ATLANTA, GA 30336
RNDC MICHIGAN          Case 22-11238-LSS
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                                                                            RNDC OKLAHOMA
17550 ALLEN ROAD                      YOUNGS MARKET COMPANY LLC             605 N TULSA AVE
RIVERVIEW, MI 48193                   94-501 KAU STREET                     OKLAHOMA CITY, OK 73107
                                      WAIPAHU, HI 96797




RNDC OKLAHOMA                         RNDC SOUTH CAROLINA, LLC              RNDC VIRGINIA
605 N. TULSA, BUILDING 5              410 FOSTER BROTHERS DRIVE WEST        14038 WASHINGTON HIGHWAY
OKLAHOMA CITY, OK 73107               COLUMBIA, SC 29172-2763               ASHLAND, VA 23005




RNDC VIRGINIA                         RNJ REVOCABLE TRUST                   RO, PATRICIA
14038 WASHINGTON HWY                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ASHLAND, VA 23005




RO, THERESA                           ROA, ADAM J.                          ROA, FEDERICO
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROACH, ABIGAIL                        ROACH, ADAM                           ROACH, ASHLEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROACH, CAITLIN                        ROACH, DANIEL                         ROACH, HEATHER
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ROACH, JANE                           ROACH, JARED                          ROACH, JOSEPH
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ROACH, JOSEPH                         ROACH, KASEY                          ROACH, KELLY
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ROACH, KIMBERLY                       ROACH, MAURA                          ROACH, MEAGHAN
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ROACH, MELISSA                        ROACHE, MARSHA                        ROADARMEL, CYNTHIA
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ROADES, DUSTIN        Case 22-11238-LSS    Doc TANNA
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                                                                              ROADMAN, REBECCA
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ROADY, RACHEL                           ROAHEN, JAIME                         ROALD, LINE
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ROAMING HUNGER                          ROAN A MONCRIEFFE                     ROAN, ALISSA
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ROANE, BRENDA                           ROARK, DARLENE                        ROARK, KENZIE
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ROARK, LINDSAY                          ROARK, STEPHEN                        ROARTY, JOHN
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ROARTY, ROBERT                          ROB BENWELL                           ROB SM-ABREEZA
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ROBAK, SABRINA                          ROBARDS, JAYSON                       ROBARGE, LANETTA
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ROBARGE, RACHELLE                       ROBARTS, WESTON                       ROBB, BRITTANY
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ROBB, CARALYN                           ROBB, ED                              ROBB, EMILY
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ROBB, GILLIAN                           ROBB, KEVIN                           ROBB, MARISSA
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ROBBE, OLIVIER        Case 22-11238-LSS    Doc CHELSIE
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ROBBIE, MATTHEW                      ROBBIN LIST                           ROBBIN, AMBER
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ROBBINS, AMANDA                      ROBBINS, ANNA                         ROBBINS, ASHLEY
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ROBBINS, BENJAMIN                    ROBBINS, BONNIE                       ROBBINS, BRIANNA
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ROBBINS, CORRIE                      ROBBINS, DAN                          ROBBINS, DESIREE
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ROBBINS, EMILY                       ROBBINS, EWELINA                      ROBBINS, HAYLEY
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ROBBINS, HOLLY                       ROBBINS, KAREN                        ROBBINS, KATIE
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ROBBINS, KELSEY                      ROBBINS, KELSY                        ROBBINS, KERRIE
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ROBBINS, KIMBERLEY                   ROBBINS, LAUREN                       ROBBINS, LINDSAY
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ROBBINS, MARIAH                      ROBBINS, MARK                         ROBBINS, MEGAN
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ROBBINS, MORGAN       Case 22-11238-LSS    Doc
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                                                                           ROBBINS, 5495
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ROBBINS, TAYLOR                      ROBBINS, THOMAS                        ROBBY JUNIOR SMITH
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ROBE, ANNA KRISTYN                   ROBEL, ASHLEY                          ROBEL, LAURENCE
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ROBEL, XANDER                        ROBELIA, ANNA                          ROBELLO, ELIZABETH
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ROBENSTINE, RICK                     ROBER, SUMMER                          ROBERGE, KATE
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ROBERGE, KENNETH                     ROBERGE, PETER                         ROBERSON, ANDRIANA
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ROBERSON, BRAD                       ROBERSON, BRADLEY                      ROBERSON, CAROLINE
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ROBERSON, ERIC                       ROBERSON, ERICA                        ROBERSON, HALIE
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ROBERSON, HELEN                      ROBERSON, JENNIFER                     ROBERSON, KAYLA
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ROBERSON, KENNETH                    ROBERSON, MARISA                       ROBERSON, MINDI
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ROBERSON, MONTY       Case 22-11238-LSS    DocNAKIA
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                                                                           ROBERSON, ROCHELLE
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ROBERSON, ROSALIND                   ROBERT A CASPER                       ROBERT A CHERNOW
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ROBERT A LAWRENCE                    ROBERT A SANDORE JR                   ROBERT A SYLVESTER JR
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ROBERT ALAN CLEWS                    ROBERT AND THERESE BURNS              ROBERT ARNOLD
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ROBERT BARSNESS                      ROBERT BECK                           ROBERT BENJAMIN ASH
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ROBERT BITTON                        ROBERT BLIM                           ROBERT BRITT
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ROBERT BRUCE GREENE                  ROBERT BRUCE JORDAN                   ROBERT BRUNEL
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ROBERT C HOLLAND                     ROBERT C TALLEY                       ROBERT CALLAWAY
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ROBERT CARR                          ROBERT CHARLES SAMUELS                ROBERT CHENG
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ROBERT CLARENCE MOORE                ROBERT CLIFFORD JOHNSON               ROBERT COREY ZIPPRO
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ROBERT D HARVEY       Case 22-11238-LSS
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ROBERT DANIEL PAGE                   ROBERT DAUGHERTY                       ROBERT DAVID NOCK
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ROBERT DICKEY                        ROBERT DUNCAN WALLACE                  ROBERT E TURNAGE
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ROBERT E WILCOX                      ROBERT EARL MOORE III                  ROBERT EISENSCHMIDT
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ROBERT ENGLAND                       ROBERT F BYRNES & JEANNINE P BYRNES    ROBERT FORBES
ADDRESS AVAILABLE UPON REQUEST       TRUST                                  ADDRESS AVAILABLE UPON REQUEST
                                     ADDRESS AVAILABLE UPON REQUEST




ROBERT FREDERICK GROLEAU             ROBERT FRYKBERG                        ROBERT G TURNER FAMILY TRUST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBERT GARRIS                        ROBERT GEORGE RESNICK                  ROBERT GONSALVES
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ROBERT GREIS                         ROBERT GUENOT                          ROBERT HAGEDORN
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ROBERT HALF INTERNATIONAL INC        ROBERT HANEY                           ROBERT HAYMAN
2613 CAMINO RAMON                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SAN RAMON, CA 94583




ROBERT HEAVENER                      ROBERT HERNANDEZ                       ROBERT HESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
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ROBERT J MILLER JR                   ROBERT J ROSS                         ROBERT J SCHUHAM
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ROBERT JAMES PLEISS JR               ROBERT JENS NIKOLAISEN                ROBERT JOHN FOOTITT II
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ROBERT JOHN STIERS                   ROBERT JOHNSON PERRY                  ROBERT JOSEPH ABRAHAM
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ROBERT L GOODMAN JR                  ROBERT L LIEFF                        ROBERT L WEILAND
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ROBERT LEE BEARD III                 ROBERT LESTER BUCKNER                 ROBERT LEVY
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ROBERT LITKOWIAK                     ROBERT LLANES                         ROBERT LORD
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ROBERT M APPLEGATE                   ROBERT M APPLETON                     ROBERT M CHAPMAN
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ROBERT M SIX                         ROBERT MACARTHUR                      ROBERT MANNSCHRECK TRUST UNDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERT MAREMA                        ROBERT MATTHEWS JR                    ROBERT MEYER
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ROBERT MICHAEL KARLIN Case 22-11238-LSS
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ROBERT MOSER                         ROBERT MULLINS                        ROBERT N BARRETT III
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ROBERT NEESE                         ROBERT NICHOLS                        ROBERT OBRIEN
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ROBERT ODONNELL                      ROBERT P HOLDER                       ROBERT PAGE
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ROBERT PEEK                          ROBERT PICA                           ROBERT PICKELL
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ROBERT R BARTO                       ROBERT RAMIREZ                        ROBERT RANDY WINSTON
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ROBERT RAY LEWIS                     ROBERT REGAN                          ROBERT RICHARDSON
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ROBERT RUMAIN                        ROBERT RUTH JR                        ROBERT S BOYD
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ROBERT SCHECHTER                     ROBERT SCHREURS                       ROBERT SCHUHAM
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ROBERT SEELIG TRUST                  ROBERT SELBY                          ROBERT SETTLES
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6320 SILVERADO                       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
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ROBERT STEVEN HECKLER                ROBERT TALLMAN NICHOLS REVOCABLE        ROBERT THOMPSON
ADDRESS AVAILABLE UPON REQUEST       TRUST                                   ADDRESS AVAILABLE UPON REQUEST
                                     ADDRESS AVAILABLE UPON REQUEST




ROBERT TIMPANI                       ROBERT TOWNSEND TEAGUE                  ROBERT TURNER
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ROBERT V H WEINBERG                  ROBERT VALENZUELA                       ROBERT W OLSON
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ROBERT WALKER                        ROBERT WILLIAM CIANFLONE                ROBERT WILLIAM DOERNER
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ROBERT WILSON                        ROBERT, AMBER                           ROBERT, ASHLEY
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ROBERT, CAMERON                      ROBERT, CAROLL                          ROBERT, CHRISTINE
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ROBERT, DANIEL                       ROBERT, EVAN                            ROBERT, HOCKING
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ROBERT, HOLLY                        ROBERT, KRISTIN                         ROBERT, LEAH
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ROBERT, M                            ROBERT, MORA                            ROBERT, TRACEY
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ROBERTA WARFIELD      Case 22-11238-LSS    Doc
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ROBERTI, CRAIG                       ROBERTO AARON AGUERO-BRIONES          ROBERTO CAPO
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ROBERTO DEL TORO                     ROBERTO GONZALEZ III                  ROBERTO GUZMAN
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ROBERTO JOSE COLON                   ROBERTO, CYNTHIA                      ROBERTO, LAUREN
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ROBERTS, ABIGAIL                     ROBERTS, ALEX                         ROBERTS, ALEXIS
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ROBERTS, ALEXIS                      ROBERTS, ALICIA                       ROBERTS, ALLISON
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ROBERTS, AMANDA                      ROBERTS, AMANDA                       ROBERTS, AMY
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ROBERTS, ANGELA                      ROBERTS, ASHLEY                       ROBERTS, AUSTON
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ROBERTS, BEN                         ROBERTS, BETH                         ROBERTS, BRANDON
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ROBERTS, BRIDGET                     ROBERTS, BROOKLYN                     ROBERTS, CARLA
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ROBERTS, CAROLYN                     ROBERTS, CARTER                        ROBERTS, CASEY
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ROBERTS, CELIA                       ROBERTS, CHAD                          ROBERTS, CHARITY
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ROBERTS, CHARLOTTE                   ROBERTS, CHRISTINA                     ROBERTS, CHRISTINE
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ROBERTS, CHRISTOPHER                 ROBERTS, CHYANN                        ROBERTS, DAN
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ROBERTS, DANIEL                      ROBERTS, DANIELLE                      ROBERTS, DAVID
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ROBERTS, DAVID                       ROBERTS, DEIDRA                        ROBERTS, DEIDRE
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ROBERTS, DENISE                      ROBERTS, DEREK                         ROBERTS, DIANA
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ROBERTS, DIANNE                      ROBERTS, DIONNE                        ROBERTS, DONDREIA
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ROBERTS, DORIS                       ROBERTS, DYLAN P.                      ROBERTS, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROBERTS, ELIZABETH    Case 22-11238-LSS    Doc
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ROBERTS, ELYN                        ROBERTS, EMILY                        ROBERTS, ERIK
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ROBERTS, FANNY                       ROBERTS, GABRIELLE                    ROBERTS, GEORGE
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ROBERTS, GREG                        ROBERTS, GREGORY                      ROBERTS, HALEIGH
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ROBERTS, HANNAH                      ROBERTS, HEATHER                      ROBERTS, HOLLY
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ROBERTS, HOLLY                       ROBERTS, JACOB                        ROBERTS, JAY
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ROBERTS, JEAN                        ROBERTS, JEANNE                       ROBERTS, JEFFERSON
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ROBERTS, JEN                         ROBERTS, JENNA                        ROBERTS, JENNIFER
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ROBERTS, JENNY                       ROBERTS, JENNY                        ROBERTS, JERICA
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ROBERTS, JESSICA                     ROBERTS, JESSICA                      ROBERTS, JILL
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ROBERTS, JOHN         Case 22-11238-LSS    Doc
                                     ROBERTS,    2 Filed 11/30/22
                                              JOHN                    Page 4179 of 5495
                                                                           ROBERTS, JORDAN
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ROBERTS, JORDYN                      ROBERTS, JOYCE                        ROBERTS, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, KARLEE                      ROBERTS, KATE                         ROBERTS, KATHLEEN
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ROBERTS, KATHLEEN                    ROBERTS, KAYLIN                       ROBERTS, KELSI & PARK
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ROBERTS, KIEFER                      ROBERTS, KIMBERLY                     ROBERTS, KRISTA
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ROBERTS, KYLA                        ROBERTS, LAKEN                        ROBERTS, LAURA
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ROBERTS, LAUREN                      ROBERTS, LINDSEY                      ROBERTS, LOUIS
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ROBERTS, LUKE                        ROBERTS, MADISON                      ROBERTS, MAIMUNATU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, MARISA                      ROBERTS, MARY                         ROBERTS, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, MATTHEW                     ROBERTS, MAURA                        ROBERTS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBERTS, MEGAN        Case 22-11238-LSS    Doc
                                     ROBERTS,   2 Filed 11/30/22
                                              MEGAN                   Page 4180 of 5495
                                                                           ROBERTS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, MELANIE                     ROBERTS, MELISSA                      ROBERTS, MENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, MICHAEL                     ROBERTS, MICHELE                      ROBERTS, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, MIRANDA                     ROBERTS, MIRIAM                       ROBERTS, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, MORGAN                      ROBERTS, NANCY                        ROBERTS, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, NATASHIA                    ROBERTS, NICOLE                       ROBERTS, NINA
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ROBERTS, PEYTON                      ROBERTS, PEYTON                       ROBERTS, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, RAYMOND                     ROBERTS, REBECCA                      ROBERTS, ROBYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, SALLY                       ROBERTS, SAMANTHA                     ROBERTS, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, SARAH                       ROBERTS, SARAH                        ROBERTS, SASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBERTS, SCOTT        Case 22-11238-LSS    Doc
                                     ROBERTS,    2 Filed 11/30/22
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                                                                           ROBERTS, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, SHANNON                     ROBERTS, SHANNON                      ROBERTS, SHAUN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, SHEENA                      ROBERTS, SHELBY                       ROBERTS, SHELBY
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ROBERTS, SHELBY                      ROBERTS, SIMON                        ROBERTS, SIMONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTS, STEPHANIE                   ROBERTS, TANYA                        ROBERTS, TERRY ANN
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ROBERTS, THOMAS                      ROBERTS, TIFFANY                      ROBERTS, TIM
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ROBERTS, TOI                         ROBERTS, TORI                         ROBERTS, TRACEY
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ROBERTS, TROY W                      ROBERTS, TYLER                        ROBERTS, TYLER
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ROBERTS, VERCHELE                    ROBERTS, ZACHARY                      ROBERTSON COLLADO, HILARY
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ROBERTSON, ABRAHAM                   ROBERTSON, ALEX                       ROBERTSON, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBERTSON, ANGELA     Case 22-11238-LSS    Doc BARBARA
                                     ROBERTSON, 2 Filed 11/30/22      Page 4182 of 5495
                                                                           ROBERTSON, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTSON, BRITTANY                  ROBERTSON, BRYCE                      ROBERTSON, CASEY
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ROBERTSON, CASEY                     ROBERTSON, CHARITY                    ROBERTSON, COLIN
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ROBERTSON, DARBI                     ROBERTSON, DAWN                       ROBERTSON, DIANA
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ROBERTSON, ELIA                      ROBERTSON, ERIC                       ROBERTSON, ERIN
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ROBERTSON, ERIN                      ROBERTSON, EUGENIA                    ROBERTSON, EVYN
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ROBERTSON, GERALD                    ROBERTSON, GORDON                     ROBERTSON, HEATHER
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ROBERTSON, HILLARY                   ROBERTSON, JACOB                      ROBERTSON, JAICEY
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ROBERTSON, JAMIE                     ROBERTSON, JANET                      ROBERTSON, JENNY
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ROBERTSON, JERRELL                   ROBERTSON, JESSICA                    ROBERTSON, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBERTSON, JIMMA      Case 22-11238-LSS    Doc JOANNA
                                     ROBERTSON, 2 Filed 11/30/22      Page 4183 of 5495
                                                                           ROBERTSON, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTSON, JOHN                      ROBERTSON, JOHN                       ROBERTSON, KAELA
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ROBERTSON, KATY AND JEFF             ROBERTSON, KAWANA                     ROBERTSON, KENNETH
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ROBERTSON, KHADIJAH                  ROBERTSON, KIM                        ROBERTSON, KIRA
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ROBERTSON, KIZ                       ROBERTSON, KRISTEN                    ROBERTSON, KRISTIN
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ROBERTSON, LANEALE                   ROBERTSON, LAUREN                     ROBERTSON, LESLIE
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ROBERTSON, LINDSAY                   ROBERTSON, LISA                       ROBERTSON, LISA
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ROBERTSON, LYNN                      ROBERTSON, MARGARET                   ROBERTSON, MARY
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ROBERTSON, MATT                      ROBERTSON, MIKE                       ROBERTSON, MYRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTSON, NICHOLAS                  ROBERTSON, PATRICK                    ROBERTSON, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBERTSON, SARAH      Case 22-11238-LSS    Doc SARAH
                                     ROBERTSON, 2 Filed 11/30/22      Page 4184 of 5495
                                                                           ROBERTSON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBERTSON, SCOTT                     ROBERTSON, SHANNON                    ROBERTSON, SHAREEF
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ROBERTSON, SHAREEF                   ROBERTSON, SHARON                     ROBERTSON, SHELBY
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ROBERTSON, SUSAN                     ROBERTSON, SUSANNE                    ROBERTSON, SYDNI
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ROBERTSON, TREMAYNE                  ROBERTSON, TRICIA                     ROBERTSON, WANEDA
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ROBERTS-SMITH, ANNE                  ROBESCU, ERIONA                       ROBEY, ANNELISE
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ROBEY, CYNTHIA                       ROBEY, DAVE                           ROBEY, JAIME
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ROBEY, KATIE                         ROBIDOUX, MEGAN                       ROBIDOUX, MICHELLE
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ROBIE, DEBORAH                       ROBIE, ELIZABETH                      ROBIE, MICHEAL
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ROBIE, PEYTON                        ROBIE, SAMANTHA                       ROBILLARD, AMY
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ROBIN B GARRETT       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ROBIN CARTEE                         ROBIN COLLINSWORTH                    ROBIN GBARQUE MOULTON
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ROBIN HAVENS TATE                    ROBIN J SWEENEY                       ROBIN LOUNG SHU
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ROBIN M BROCKWAY REVOCABLE TRUST     ROBIN MARIE MOONEY                    ROBIN MARIE SCHOONOVER
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ROBIN OWENS                          ROBIN RAYMOND ROWLAND                 ROBIN SHANKMAN
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ROBIN WEIDMAN                        ROBIN WHITTENBURG                     ROBIN, DEEANA
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ROBIN, JAYME                         ROBIN, LISA                           ROBINETT, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINETT, DAVID                      ROBINETT, JAKE                        ROBINETTE, MARIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINETTE, TYLER                     ROBINHOOD SECS, LLC (6769)            ROBINS, EMILY
ADDRESS AVAILABLE UPON REQUEST       ATTN MEHDI TAIFI                      ADDRESS AVAILABLE UPON REQUEST
                                     500 COLONIAL CTR PKWY 100
                                     LAKE MARY, FL 32746




ROBINSON, ABBY                       ROBINSON, ABIGAIL                     ROBINSON, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBINSON, ADLEN       Case 22-11238-LSS    Doc
                                     ROBINSON,   2 Filed 11/30/22
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                                                                           ROBINSON, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, AMBER                      ROBINSON, AMY                          ROBINSON, AMY
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ROBINSON, ANABELLE                   ROBINSON, ANDRE                        ROBINSON, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, ANGELA                     ROBINSON, ANNA LISA                    ROBINSON, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, ASHLEY                     ROBINSON, ASHLEY                       ROBINSON, ASHLEY
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ROBINSON, ASHLEY                     ROBINSON, ASHLEY                       ROBINSON, AUTUMN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, BAHIYAH                    ROBINSON, BETH                         ROBINSON, BETH
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ROBINSON, BRAD                       ROBINSON, BRANDI                       ROBINSON, BREANA
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ROBINSON, BRENDA                     ROBINSON, BRIAN                        ROBINSON, BRIANA
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ROBINSON, BRIANNA                    ROBINSON, BRITNEY                      ROBINSON, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROBINSON, BRYAN       Case 22-11238-LSS    Doc
                                     ROBINSON,   2 Filed 11/30/22
                                               CAROLINE               Page 4187  of 5495
                                                                           ROBINSON, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, CATHERINE                  ROBINSON, CATHERINE                   ROBINSON, CHARLENE HAMPTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, CHARLENE                   ROBINSON, CHERYL                      ROBINSON, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, CJ                         ROBINSON, COURTNEY                    ROBINSON, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, CYNTHIA                    ROBINSON, DANA                        ROBINSON, DANIELLE
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ROBINSON, DARICE                     ROBINSON, DAWN                        ROBINSON, DAWNYA
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ROBINSON, DEREK                      ROBINSON, DEREK                       ROBINSON, DESMOND
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ROBINSON, DONNA                      ROBINSON, DONNA                       ROBINSON, DOROTHY
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ROBINSON, DWAYNE                     ROBINSON, ELIZABETH                   ROBINSON, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, EMMA                       ROBINSON, ERIK                        ROBINSON, ERIK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBINSON, ERIN        Case 22-11238-LSS    Doc
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                                                                           ROBINSON, FELICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, FREDERICK                  ROBINSON, GREGORY                      ROBINSON, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, HENRY                      ROBINSON, HOLLY                        ROBINSON, J.W.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, JAIMIE                     ROBINSON, JAMIE                        ROBINSON, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, JANET                      ROBINSON, JASMINE                      ROBINSON, JAZZMUN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, JENNA                      ROBINSON, JENNA                        ROBINSON, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, JENNIFER                   ROBINSON, JENNIFER                     ROBINSON, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, JESSICA                    ROBINSON, JESSICA                      ROBINSON, JESSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, JOE                        ROBINSON, JOHN                         ROBINSON, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, JOI                        ROBINSON, JONAH                        ROBINSON, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROBINSON, JOSEPH      Case 22-11238-LSS    Doc
                                     ROBINSON,   2 Filed 11/30/22
                                               JULIANNE               Page 4189  of 5495
                                                                           ROBINSON, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, KAREN                      ROBINSON, KAREN                        ROBINSON, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, KATHERINE                  ROBINSON, KATHERINE                    ROBINSON, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, KATIE                      ROBINSON, KAYLA                        ROBINSON, KEITH
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ROBINSON, KEITH                      ROBINSON, KELLI                        ROBINSON, KELLI
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ROBINSON, KELLY                      ROBINSON, KELLY                        ROBINSON, KELLY
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ROBINSON, KIM                        ROBINSON, KIRK                         ROBINSON, KRYSTAL
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ROBINSON, LAURA                      ROBINSON, LAUREN                       ROBINSON, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, LEA                        ROBINSON, LEANNE                       ROBINSON, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, LEXIE                      ROBINSON, LIESL                        ROBINSON, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROBINSON, LISA        Case 22-11238-LSS    Doc
                                     ROBINSON,   2 Filed 11/30/22
                                               LYNN                   Page 4190  of 5495
                                                                           ROBINSON, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, MACIE                      ROBINSON, MACKENZIE                   ROBINSON, MACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, MAHAGONY                   ROBINSON, MANDY                       ROBINSON, MARCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, MARGARET                   ROBINSON, MARY                        ROBINSON, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, MATTHEW                    ROBINSON, MAYA                        ROBINSON, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, MEGHAN                     ROBINSON, MELISA                      ROBINSON, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, MELODIE                    ROBINSON, MEREDITH                    ROBINSON, MICHELLE
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ROBINSON, MOLLY                      ROBINSON, MONIQUE                     ROBINSON, MORGAN
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ROBINSON, NANCY                      ROBINSON, NICK                        ROBINSON, NINA
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ROBINSON, OLIVIA                     ROBINSON, OLIVIA                      ROBINSON, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBINSON, PAMELA      Case 22-11238-LSS    Doc
                                     ROBINSON,   2 Filed 11/30/22
                                               PATRICIA               Page 4191  of 5495
                                                                           ROBINSON, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, PAUL                       ROBINSON, PENNY                       ROBINSON, PRISCILLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, RAMON                      ROBINSON, REBECCA                     ROBINSON, REGINA
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ROBINSON, REGINA                     ROBINSON, REMI                        ROBINSON, RENEE
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ROBINSON, RICHARD                    ROBINSON, ROBERT                      ROBINSON, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, RYAN                       ROBINSON, SANDRA                      ROBINSON, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, SARAH                      ROBINSON, SEDDRICK                    ROBINSON, SEQUOYAH
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ROBINSON, SHANEKA                    ROBINSON, SHANEL                      ROBINSON, SHANELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, SHARON                     ROBINSON, SHARONDA                    ROBINSON, SHEILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBINSON, SHELBY                     ROBINSON, SHERRY                      ROBINSON, SHIRLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROBINSON, SIMRIN      Case 22-11238-LSS    Doc
                                     ROBINSON,   2 Filed 11/30/22
                                               STEPHANIE              Page 4192  of 5495
                                                                           ROBINSON, STEVIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, STRATTON                   ROBINSON, SUSIE                        ROBINSON, SUZANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, SYDNEY                     ROBINSON, TANYA                        ROBINSON, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, TAYLOR                     ROBINSON, TERRY                        ROBINSON, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, TIFFANY                    ROBINSON, TISHA                        ROBINSON, TONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, TOVAH                      ROBINSON, TOYIA                        ROBINSON, TRISHA
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ROBINSON, TUCKER                     ROBINSON, VERONA                       ROBINSON, VICTORIA
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ROBINSON, VIRGINIA                   ROBINSON, WALTER                       ROBINSON, WALTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, WILLIAM                    ROBINSON, WILLIAM                      ROBINSON, WILLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROBINSON, YOLANDA                    ROBINSON, ZELEEN                       ROBISON, BAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROBISON, CHRIS        Case 22-11238-LSS    Doc
                                     ROBISON,    2 Filed 11/30/22
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                                                                           ROBISON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBISON, KYLIE                       ROBISON, MADELINE                     ROBISON, MALIYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBISON, MARK                        ROBISON, MATTHEW                      ROBISON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBLE, ANGELA                        ROBLEDO, ALEXANDRA                    ROBLEDO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBLEDO, DIEGO                       ROBLEDO, JULIO                        ROBLES, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBLES, CHRISTOPHER                  ROBLES, CLARA                         ROBLES, FEDERICO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBLES, GLORIA                       ROBLES, JORGE                         ROBLES, JOSUE
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ROBLES, KAREN                        ROBLES, LISA                          ROBLES, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBLES, NANCY                        ROBLES, PATRICIA                      ROBLES, RODOLFO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBLES, SANDRA                       ROBLES, VANESSA                       ROBLES, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                      Case 22-11238-LSS
ROBLES-SCHRADER, GRISEL              ROBLEY,Doc  2 Filed 11/30/22
                                             JENNIFER                 Page 4194  of GARY
                                                                           ROBLING, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBNETT, SHIANN                      ROBO, MADALENA                        ROBSHAW PETERSON, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBSON, CLAIRE                       ROBSON, CODY                          ROBSON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBSON, JACK                         ROBSON, JESSICA                       ROBSON, JO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBSON, THERESA                      ROBUCK, THERESA                       ROBY, BIANCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROBY, ILANA                          ROBY, QUENTINN                        ROBY, TIFFANY
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ROBYN GAUDER                         ROBYN GRAY                            ROBYN LECOMTE
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ROCA, LINZEE                         ROCAP, ABBY                           ROCCA, STEPHANIE
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ROCCHIO, MARIA                       ROCCO, BROOKE                         ROCCO, JEFFREY
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ROCCO, JESSICA                       ROCCO, PAMELA                         ROCCONI, TOM
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ROCH LAVIOLETTE       Case 22-11238-LSS
                                     ROCHA, Doc 2 Filed 11/30/22
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                                                                           ROCHA,of 5495
                                                                                  JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROCHA, MALINDA                       ROCHA, MARIA                          ROCHA, NANCY
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ROCHA, SARA                          ROCHAMBEAU, JOEL                      ROCHANI, SITI MAZENAH DIENTA
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ROCHE COMP, ADRIENNE                 ROCHE, AMY                            ROCHE, BRENNA
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ROCHE, CATHERINE                     ROCHE, DIARMUID                       ROCHE, EDWARD
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ROCHE, ENRIQUE                       ROCHE, JENN                           ROCHE, JOSIE
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ROCHE, KAYLA                         ROCHE, KELSEY                         ROCHE, KELSEY
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ROCHE, LAURA                         ROCHE, LAUREN                         ROCHE, MARGARET
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ROCHE, MORGAN                        ROCHEFORT, EMILY                      ROCHEFORT, KAREN
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ROCHEFORT, STEPHANIE                 ROCHELEAU, BROOKE                     ROCHELEAU, GERARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROCHELEAU, KARLA      Case 22-11238-LSS    Doc
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                                              SIARA                   Page 4196 of 5495
                                                                           ROCHELLE, KENDALL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROCHESTER, DANA                      ROCHESTER, JENNIFER                    ROCHESTER, LAURA
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ROCHFORD, BRIAN                      ROCHFORD, CATHERINE                    ROCHFORD, SORCHA
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ROCHIN, ANDREW                       ROCHIOLI, ANDREA                       ROCHLIS, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROCHLITZ, CRYSTAL                    ROCHTE, FREDERICK                      ROCIO REYES-MOORE
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ROCIO, MARIA                         ROCK, AMY                              ROCK, BRITTANY
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ROCK, CAITLIN                        ROCK, GEOFF                            ROCK, HEATHER
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ROCK, JAMES                          ROCK, JERRICA                          ROCK, KAY
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ROCK, LAUREN                         ROCK, MAGGIE                           ROCK, MIRANDA
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ROCK, PAUL                           ROCK, SALLY                            ROCK, TARA
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ROCKAFELLOW, JOHN     Case 22-11238-LSS    Doc 2MARYFiled 11/30/22
                                     ROCKCASTLE,                      Page 4197 of 5495
                                                                           ROCKENFIELD, REGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROCKENSTEIN, AMY                     ROCKER, LALITHA                       ROCKETT, CLAIRE
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ROCKETT, JOANIE                      ROCKETT, MEGAN                        ROCKEY, CLARE
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ROCKEY, JOANNE                       ROCKEY, KELSEY                        ROCKFELLOW, CERA
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ROCKHOLD, PAIGE                      ROCKIN BAKKEN PIZZA CO                ROCK-LEEPER, ANGELINA
ADDRESS AVAILABLE UPON REQUEST       4855 NEWTON ST                        ADDRESS AVAILABLE UPON REQUEST
                                     DENVER, CO 80221




ROCKLEIN, ABIGAIL                    ROCKLEIN, JENNA                       ROCKLER, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROCKOVICH, NICOLE                    ROCKQUEMORE, KERRY                    ROCKS, ERICA
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ROCK-STIERLE, SUZANNE                ROCKWELL, AMBER                       ROCKWELL, BRITTANY
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ROCKWELL, HALEY                      ROCKWELL, JULIE                       ROCKWELL, KURT
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ROCKWELL, MEGHAN                     ROCKWELL, MEREDITH                    ROCKWELL, RENAE
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ROCKWELL, STEPHEN     Case 22-11238-LSS    DocCOURTNEY
                                     ROCKWOOD,  2 Filed 11/30/22      Page 4198 of 5495
                                                                           ROCKWOOD, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROCKWOOD, HALEY                      ROCKWOOD, TIMOTHY                     ROCKY MOUNTAIN FINE WINES, LLC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        13941 JACKSON STREET
                                                                           THORNTON, CO 80602




RODA, JAMIE                          RODAK, DEVON                          RODAK, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RODALENE FAVIS                       RODARTE, HILLARY                      RODAS, JOSE
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RODAS, LINA                          RODAS, MARISA                         RODAWAY, JANETTE
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RODBELL, SHANNON                     RODD W SULLIVAN                       RODD, MICHAEL
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RODDEN, ASHLEE                       RODDEN, MICHAEL                       RODDEN, TARA
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RODDEY, KATHERINE K.                 RODDVIK, DONNA                        RODDY, ASHLEY
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RODDY, CAROLINE                      RODE, BRAD                            RODE, K
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RODE, KATHLEEN                       RODEBAUGH, DAVID                      RODEHAU, CHRISTINA
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RODEN, NICOLE         Case 22-11238-LSS
                                     RODEN, Doc 2 Filed 11/30/22
                                            RACHEL                    Page 4199 of 5495
                                                                           RODENBERG, JACKIE
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RODENBERG, LAURIE                    RODENBURG, LEONARD                     RODENHAUSEN, JOHN
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RODER, CHRISTINA                     RODER, ERIN                            RODER, MEGAN
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RODER, MELLANIE                      RODERER, REBECCA                       RODERICK EDWARD WHITE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODERICK, BARBARA                    RODERICK, MEL                          RODERICK, STEVE
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RODERMAN, MELISSA                    RODERMAN, RACHEL                       RODERY, CLAY
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RODERY, CRISTIN                      RODESCHIN, CHRISTOPHER                 RODGERS, ABIGAL
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RODGERS, ADAM                        RODGERS, ALLISON                       RODGERS, AMANDA
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RODGERS, ASHLEY                      RODGERS, BRANDY                        RODGERS, CAITLIN
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RODGERS, CARLY                       RODGERS, CARMEN                        RODGERS, CHANDLER
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RODGERS, CHANDLER     Case 22-11238-LSS    Doc
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                                              DAVID                   Page 4200 of 5495
                                                                           RODGERS, DAWNTAYA
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RODGERS, DONNA                       RODGERS, FRAN                         RODGERS, JAMIE
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RODGERS, KATHLEEN                    RODGERS, KEN                          RODGERS, MALIA
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RODGERS, MARLENE                     RODGERS, MELANIE                      RODGERS, MICHAEL
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RODGERS, MICHELLE                    RODGERS, NICHOLAS                     RODGERS, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RODGERS, RACHEL                      RODGERS, SHELBY                       RODGERS, SHERRY
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RODGERS, TIFFANY                     RODGERSON, CHRISTINE                  RODGERS-TAYLOR, JOANNA
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RODICH, REID OR SYDNEY               RODICK, LESLIE                        RODILOSSO, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RODIN, ELLEN                         RODIO, JAMES                          RODITSKI, GREGORY
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RODMAKER, STEVE                      RODMAN, CATHERINE                     RODMAN, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RODMAN, SUSAN         Case 22-11238-LSS
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                                            BARNES                    Page 4201 ofDOGGETT
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RODNEY GUENTHER                      RODNEY HEATH                          RODNEY MARQUEZ
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RODNEY THILL JR                      RODNEY UDELL                          RODNING, AMANDA
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RODOLFO BARAJAS                      RODOLFO MORILLO                       RODOLFO RODRIGUEZ
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RODOLFO RODRIGUEZ                    RODOLPH, PERRIER                      RODREICK WILSON, KRISTIN
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RODRICKS, ANDRE                      RODRIGUE MPAGAZIHE                    RODRIGUE, DONALD
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RODRIGUE, SCOTT                      RODRIGUES RIZZI, LUCAS                RODRIGUES, ALEXANDER
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RODRIGUES, ALYSSA                    RODRIGUES, CIRO                       RODRIGUES, DIANDRA
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RODRIGUES, DOROTHY                   RODRIGUES, DOROTHY                    RODRIGUES, FABRICIO
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RODRIGUES, GEANNE                    RODRIGUES, LETICIA                    RODRIGUES, RENAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RODRIGUEZ CASE, SYLVIA Case 22-11238-LSS    DocDE2LA CRUZ,
                                      RODRIGUEZ       FiledMARIA
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                                                                            RODRIGUEZ LUCAS, DELIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ MAZZINI, JORGE              RODRIGUEZ, ADRIANA                     RODRIGUEZ, ADRIANA
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RODRIGUEZ, ADRIANA                    RODRIGUEZ, ALEJANDRO                   RODRIGUEZ, ALESANDRA
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RODRIGUEZ, ALEX                       RODRIGUEZ, ALIS                        RODRIGUEZ, ALLISON
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RODRIGUEZ, AMANDA                     RODRIGUEZ, AMANDA                      RODRIGUEZ, ANA PAULA
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RODRIGUEZ, ANAYA                      RODRIGUEZ, ANDREA                      RODRIGUEZ, ANDREA
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RODRIGUEZ, ANDREW                     RODRIGUEZ, ANGIE                       RODRIGUEZ, ANNABEL
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RODRIGUEZ, ANTHONY                    RODRIGUEZ, ARMANDO                     RODRIGUEZ, ARMANDO
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RODRIGUEZ, ARTHUR                     RODRIGUEZ, ASHLEY                      RODRIGUEZ, ASHLY
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RODRIGUEZ, AUDREY                     RODRIGUEZ, AURORA                      RODRIGUEZ, AVERY
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RODRIGUEZ, BECKY      Case 22-11238-LSS    DocBELINDA
                                     RODRIGUEZ, 2 Filed 11/30/22      Page 4203  of 5495
                                                                           RODRIGUEZ, BELITZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, BENNY                     RODRIGUEZ, BERTHA                      RODRIGUEZ, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, BOBBY JOE                 RODRIGUEZ, BOLIVAR                     RODRIGUEZ, BREANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, BRITTANY                  RODRIGUEZ, BRYAN                       RODRIGUEZ, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, CANDIE                    RODRIGUEZ, CARINA                      RODRIGUEZ, CAROLINA
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RODRIGUEZ, CAROLYN                   RODRIGUEZ, CARRIE                      RODRIGUEZ, CATHERINE
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RODRIGUEZ, CHANCE                    RODRIGUEZ, CHRISTINNE                  RODRIGUEZ, CHRISTOPHER
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RODRIGUEZ, CHRISTOPHER               RODRIGUEZ, CINDY                       RODRIGUEZ, CINDY
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RODRIGUEZ, CLARISSA                  RODRIGUEZ, COLE                        RODRIGUEZ, CYNTHIA
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RODRIGUEZ, DANA                      RODRIGUEZ, DANIEL                      RODRIGUEZ, DANISHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RODRIGUEZ, DARIO      Case 22-11238-LSS    DocDAVID
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                                                                           RODRIGUEZ, DEYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, DIANA                     RODRIGUEZ, DIANNE                     RODRIGUEZ, DIMARIE
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RODRIGUEZ, DIONELY                   RODRIGUEZ, EDWIN                      RODRIGUEZ, ELIANA
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RODRIGUEZ, ELIAS                     RODRIGUEZ, ELIZABETH                  RODRIGUEZ, EMILY
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RODRIGUEZ, EMILY                     RODRIGUEZ, EMILY                      RODRIGUEZ, EMILYMARIE
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RODRIGUEZ, ERIC                      RODRIGUEZ, ERIK                       RODRIGUEZ, ESPERANZA
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RODRIGUEZ, EVA                       RODRIGUEZ, FELIX                      RODRIGUEZ, FEMARY
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RODRIGUEZ, FRANKLIN                  RODRIGUEZ, GABRIELLE                  RODRIGUEZ, GENA
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RODRIGUEZ, GIANNI                    RODRIGUEZ, GUADALUPE                  RODRIGUEZ, HELENA
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RODRIGUEZ, ILIANA                    RODRIGUEZ, IRIS                       RODRIGUEZ, IVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RODRIGUEZ, IVETT      Case 22-11238-LSS    DocIVONNE
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                                                                           RODRIGUEZ, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, JAMES                     RODRIGUEZ, JASON                       RODRIGUEZ, JAVIER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, JAVIER                    RODRIGUEZ, JAY                         RODRIGUEZ, JAYMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, JEANETTE                  RODRIGUEZ, JENICA                      RODRIGUEZ, JENNIFER
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RODRIGUEZ, JEREMY                    RODRIGUEZ, JESSICA                     RODRIGUEZ, JOANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, JOHANGEL                  RODRIGUEZ, JOHANIE                     RODRIGUEZ, JONATHAN
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RODRIGUEZ, JORDAN                    RODRIGUEZ, JORGE                       RODRIGUEZ, JORGE
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RODRIGUEZ, JORGE                     RODRIGUEZ, JOSE                        RODRIGUEZ, JOSE
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RODRIGUEZ, JOSE                      RODRIGUEZ, JOSE                        RODRIGUEZ, JULIE
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RODRIGUEZ, JUSTIN                    RODRIGUEZ, KARLA                       RODRIGUEZ, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RODRIGUEZ, KATIANA    Case 22-11238-LSS    DocKATIE
                                     RODRIGUEZ, 2 Filed 11/30/22      Page 4206  of 5495
                                                                           RODRIGUEZ, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, KAYLA                     RODRIGUEZ, KAYLA                       RODRIGUEZ, KAYLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, KIMBERLY                  RODRIGUEZ, KIMMY                       RODRIGUEZ, KRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, KRISTINA                  RODRIGUEZ, KYNDALL                     RODRIGUEZ, LARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, LAURA                     RODRIGUEZ, LAURA                       RODRIGUEZ, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, LILLIAN                   RODRIGUEZ, LISA                        RODRIGUEZ, LISSETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, LIZ                       RODRIGUEZ, LIZ                         RODRIGUEZ, LORENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, LORENZO                   RODRIGUEZ, LUCY                        RODRIGUEZ, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, LUZ                       RODRIGUEZ, MADELINE                    RODRIGUEZ, MAGALY
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RODRIGUEZ, MAGENA                    RODRIGUEZ, MANNY                       RODRIGUEZ, MANUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RODRIGUEZ, MANUEL     Case 22-11238-LSS    DocMARGARET
                                     RODRIGUEZ, 2 Filed 11/30/22      Page 4207  of 5495
                                                                           RODRIGUEZ, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, MARIA                     RODRIGUEZ, MARIA                       RODRIGUEZ, MARIA
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RODRIGUEZ, MARIE                     RODRIGUEZ, MARIELENA                   RODRIGUEZ, MARIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RODRIGUEZ, MARIO                     RODRIGUEZ, MARK                        RODRIGUEZ, MARTHA
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RODRIGUEZ, MARY                      RODRIGUEZ, MARY                        RODRIGUEZ, MAYA
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RODRIGUEZ, MEKAYLA                   RODRIGUEZ, MELANIE                     RODRIGUEZ, MELINDA
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RODRIGUEZ, MELISSA                   RODRIGUEZ, MICHAEL                     RODRIGUEZ, MICHELLE
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RODRIGUEZ, MIGUEL                    RODRIGUEZ, MILLIE                      RODRIGUEZ, MISAEL
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RODRIGUEZ, MONICA                    RODRIGUEZ, MONICA                      RODRIGUEZ, NANETTE
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RODRIGUEZ, NATHAN                    RODRIGUEZ, NELSON                      RODRIGUEZ, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RODRIGUEZ, NICOLE     Case 22-11238-LSS    DocNICOLE
                                     RODRIGUEZ, 2 Filed 11/30/22      Page 4208  of 5495
                                                                           RODRIGUEZ, NIKO
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RODRIGUEZ, NOA                       RODRIGUEZ, OMAR                        RODRIGUEZ, OSCAR
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RODRIGUEZ, PABLO                     RODRIGUEZ, PALOMA                      RODRIGUEZ, PATRICIA
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RODRIGUEZ, PATRICIA                  RODRIGUEZ, PERLA                       RODRIGUEZ, RACHEL
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RODRIGUEZ, RACHEL                    RODRIGUEZ, RACHEL                      RODRIGUEZ, RAFAEL
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RODRIGUEZ, RALPH                     RODRIGUEZ, RAQUEL                      RODRIGUEZ, RAUL
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RODRIGUEZ, REBECCA                   RODRIGUEZ, REBEKAH                     RODRIGUEZ, REINOL
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RODRIGUEZ, ROBERT                    RODRIGUEZ, ROCIO                       RODRIGUEZ, ROMARY
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RODRIGUEZ, ROSALINA                  RODRIGUEZ, ROSE                        RODRIGUEZ, ROXANNE
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RODRIGUEZ, SAMMANTHA                 RODRIGUEZ, SARAH                       RODRIGUEZ, SASHA
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RODRIGUEZ, SELENA     Case 22-11238-LSS    DocSHANNON
                                     RODRIGUEZ, 2 Filed 11/30/22      Page 4209  of 5495
                                                                           RODRIGUEZ, SHARON
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RODRIGUEZ, SOFIA                     RODRIGUEZ, SONJA                      RODRIGUEZ, STEPHANIE
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RODRIGUEZ, STEPHANIE                 RODRIGUEZ, STEVE                      RODRIGUEZ, STEVEN
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RODRIGUEZ, TD                        RODRIGUEZ, TITUS                      RODRIGUEZ, TRINITI
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RODRIGUEZ, VANESSA                   RODRIGUEZ, VANESSA                    RODRIGUEZ, VICTORIA
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RODRIGUEZ, VIVIAN                    RODRIGUEZ, VLADIMIR                   RODRIGUEZ, WENDY
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RODRIGUEZ, YAHAIRA                   RODRIGUEZ, YANELIS                    RODRIGUEZ, YESENIA
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RODRIGUEZ, YINIZ                     RODRIGUEZ, ZENAIDA                    RODRIGUEZ-CARTER, AMY
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RODRIGUEZCOLON, ADAM                 RODRIGUEZ-CRESPO, REBECA              RODRIGUEZ-DIAZ, JENNIFER
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RODRIGUEZ-DUQUE, MARIA               RODRIGUEZ-JONES, DENISE               RODRIGUEZ-TEEL, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RODRIQUES, DIRONDA    Case 22-11238-LSS    DocCARISSA
                                     RODRIQUEZ, 2 Filed 11/30/22      Page 4210  of 5495
                                                                           RODRIQUEZ, DEBRA
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RODRIQUEZ, NICOLE                    RODRIQUEZ, TIFFANY                    RODTANG, JACKIE
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RODTS, LORETTA                       RODULFO, RAIMUNDO                     RODWELL, LAYTON
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RODY, JOSHUA                         RODZEN, OLIVIA                        ROE / MACS POOL AND SPA, WENDY
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ROE, BENJAMIN                        ROE, COURTNIE                         ROE, DAVID
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ROE, JAYMI                           ROE, JODI                             ROE, JUSTINE
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ROE, KATHLEEN                        ROE, LAUREN                           ROE, MADELINE
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ROE, MELISSA                         ROE, RUSSELL                          ROE, SUSAN
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ROE, TERRIE                          ROE, TYLER                            ROEBER, AIMEE
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ROEBER, DARCY                        ROEBER, JENNIFER                      ROEBER, JODY
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ROEBER, MARILYN       Case 22-11238-LSS    Doc
                                     ROEBUCK,    2 Filed 11/30/22
                                              ARIELLE                 Page 4211 of 5495
                                                                           ROEBUCK, KAREN
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ROEBUCK, MONICA                      ROEBUCK, PAMELLA                      ROEBUCK, ZACH
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ROECKEL, BARBARA                     ROECKER, SAM                          ROEDEINGER, ERIN
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ROEDEL, BARBARA                      ROEDEL, FRANCES                       ROEDELL, AMANDA
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ROEDER, GRACE                        ROEDER, JACK                          ROEDER, KAREN
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ROEDER, LINDSAY                      ROEDER, THERESA                       ROEFARO, JESSICA
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ROEHL, ANGELA                        ROEHL, BRYAN                          ROEHL, JOE
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ROEHL, MICHELIN                      ROEHL, SUZANNE                        ROEHL, TONI
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ROEHRICH, CINDY                      ROELANDTS, MICHELLE                   ROELOF, JENNA
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ROELOFS, LORI                        ROELOFS, TIFFANY                      ROEMBKE, GREG
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ROEMEN, REBECCA       Case 22-11238-LSS    Doc
                                     ROEMER,    2 Filed 11/30/22
                                             CAROL                    Page 4212  of 5495
                                                                           ROEMISCH, EMILY
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ROEMKE, JULIE                        ROEMMELT, THOMAS                       ROEPKE, KATI
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ROESBERRY, DEBRA                     ROESCH, JENNIFER                       ROESCH, JOHN
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ROESEL, EVA                          ROESER, JAKE                           ROESER, PHIL
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ROESLER, JUANITA                     ROESLER, JUANITA                       ROESNER, NINA
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ROESSER, ROBBIE                      ROESSLER, SUSAN                        ROETHLER, LORAINE
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ROETHLISBERGER, ZACH                 ROETTGER, SUZANNA                      ROEWE, ANN
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ROFE, IKE                            ROG, LISA                              ROGA, YVONNE
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ROGAL, RACHEL                        ROGALIN, PAMELA                        ROGAN, COLLEEN
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ROGARS, CHRISTINE                    ROGATI, NIKKI                          ROGATO, ANTHONY
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ROGELIO VEGA          Case 22-11238-LSS    DocFRANCINE
                                     ROGELSTAD, 2 Filed 11/30/22      Page 4213 of 5495
                                                                           ROGENSKI, JULIANA
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ROGER BRUNO BUCK                     ROGER BURTON STORM                     ROGER E SKINNER TRUST DATE 9/28/2012
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ROGER E SKINNER                      ROGER HENRY GILBERT                    ROGER JO SMITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROGER JOHN RYAN                      ROGER L BECKER                         ROGER LICUP
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ROGER M MCLESKEY                     ROGER MARK CHAN                        ROGER N TRUBEY
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ROGER PETERSON                       ROGER ROUGHLEY                         ROGER T LARSEN
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ROGER T SMITH                        ROGER, JENNIFER                        ROGERINO, CARA
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ROGERS & COMPANY                     ROGERS, AARON                          ROGERS, ADRIENNE
315 AVENUE ROAD, STE 4               ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
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TORONTO, ON M4V 2H2
CANADA



ROGERS, ALISON                       ROGERS, AMANDA                         ROGERS, AMY
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ROGERS, ANGELA                       ROGERS, ANGELIQUE                      ROGERS, ANGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROGERS, ANNA          Case 22-11238-LSS    Doc
                                     ROGERS,    2 Filed 11/30/22
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                                                                           ROGERS, 5495
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ROGERS, BRAD                         ROGERS, BRANDON                       ROGERS, BRANDON
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ROGERS, BRANDY                       ROGERS, BRIANNE                       ROGERS, BRITTANY
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ROGERS, CARLY                        ROGERS, CAROLINE                      ROGERS, CHANTEL
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ROGERS, CHRISTINA                    ROGERS, CHRISTINA                     ROGERS, CHRISTINA
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ROGERS, CHRISTINE                    ROGERS, CLAIRE                        ROGERS, COREY
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ROGERS, CORI                         ROGERS, COURTNEY                      ROGERS, DAVID
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ROGERS, DELIA                        ROGERS, DERRICK                       ROGERS, DESIREE
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ROGERS, DEVON                        ROGERS, DIANE                         ROGERS, DONNA
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ROGERS, DOUGLAS                      ROGERS, ELEANOR                       ROGERS, ELLIE
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ROGERS, EMILY         Case 22-11238-LSS    Doc
                                     ROGERS,     2 Filed 11/30/22
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                                                                           ROGERS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROGERS, EMILY                        ROGERS, EMILY                         ROGERS, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROGERS, ERIC                         ROGERS, FRED                          ROGERS, GEORGE
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ROGERS, GRETCHEN                     ROGERS, HAILEY                        ROGERS, HEATHER
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ROGERS, HEATHER                      ROGERS, HEATHER                       ROGERS, HELEN N
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ROGERS, HELEN                        ROGERS, HILARY                        ROGERS, JACEY
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ROGERS, JACK                         ROGERS, JACQUELINE                    ROGERS, JENNA
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ROGERS, JENNIFER                     ROGERS, JESSICA                       ROGERS, JESSICA
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ROGERS, JOCELYN                      ROGERS, JOHN                          ROGERS, JOHNATHAN
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ROGERS, JON                          ROGERS, JONATHAN                      ROGERS, JORDAN
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ROGERS, KACEY         Case 22-11238-LSS    Doc
                                     ROGERS, KAIT2   Filed 11/30/22   Page 4216 ofKAITLIN
                                                                           ROGERS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROGERS, KAITLIN                      ROGERS, KARI                          ROGERS, KARIS
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ROGERS, KATE                         ROGERS, KATHERINE                     ROGERS, KATHLEEN
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ROGERS, KATIE                        ROGERS, KAYCIE                        ROGERS, KELLEY & BRIAN
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ROGERS, KELSEY                       ROGERS, KIAH                          ROGERS, KIMBERLY
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ROGERS, KIRSTEN                      ROGERS, KOBEY                         ROGERS, KRISTIN
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ROGERS, KRISTINA                     ROGERS, KRISTINA                      ROGERS, LAYLA
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ROGERS, LESLIE                       ROGERS, LINDSAY                       ROGERS, LISA
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ROGERS, MADELINE                     ROGERS, MADISON                       ROGERS, MAUREEN
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ROGERS, MAUREEN                      ROGERS, MEAGAN                        ROGERS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROGERS, MEGAN         Case 22-11238-LSS    Doc
                                     ROGERS,    2 Filed 11/30/22
                                             MEGAN                    Page 4217 ofMEREDITH
                                                                           ROGERS, 5495
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ROGERS, MICHAEL                      ROGERS, MICHAEL                       ROGERS, MICHELLE
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ROGERS, MIRANDA                      ROGERS, MONICA                        ROGERS, MONICA
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ROGERS, MOXXY                        ROGERS, MYLES                         ROGERS, NATASHA
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ROGERS, NATHAN                       ROGERS, NATHANIEL                     ROGERS, NICK
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ROGERS, PATRICIA                     ROGERS, PHILIP                        ROGERS, PHYLLIS
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ROGERS, RACHEL                       ROGERS, REANNA                        ROGERS, RICHARD
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ROGERS, ROBIN                        ROGERS, SAMANTHA                      ROGERS, SAMANTHA
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ROGERS, SEAN                         ROGERS, SHACIE                        ROGERS, SHAHEEN
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ROGERS, SHANNON                      ROGERS, SHELDON                       ROGERS, SHERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROGERS, SOCORRO       Case 22-11238-LSS    Doc
                                     ROGERS,    2 Filed 11/30/22
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                                                                           ROGERS, 5495
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ROGERS, SUMMER                       ROGERS, SUSANNAH                      ROGERS, TAISSEANA
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ROGERS, TANYA                        ROGERS, THOMAS                        ROGERS, TOM
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ROGERS, TRENT                        ROGERS, TRISTAN                       ROGERS, VICTORIA
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ROGERS, WILLIAM                      ROGERS, ZENZI                         ROGERS, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROGERS-DALY, TRACY                   ROGERSON, AMANDA                      ROGERSON, AMY
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ROGERSON, ERIN                       ROGET, SOREL                          ROGGENBUCK, LINDSAY
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ROGGERO, VINCENT                     ROGGEVEEN, RICHARD                    ROGGOW, EMILY
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ROGICH, MATTHEW                      ROGIER, MICHAEL                       ROGINSKI, STEPHANIE
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ROGINSKI, VANESSA                    ROGINSKI, VANESSA                     ROGLIC, MONIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROGNESS, STEPHANY     Case 22-11238-LSS    DocCAROLYN
                                     ROGOWSKI,  2 Filed 11/30/22      Page 4219 of 5495
                                                                           ROGOWSKI, MIROSLAW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROGOZINSKI, BRANDON                  ROHA, THOMAS                          ROHACH, ELIZABETH
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ROHAN LINDSAY                        ROHAN, ALEX                           ROHAN, CECILIA
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ROHAN, KATELYN                       ROHAN, SEBASTIAN                      ROHDE, AMANDA
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ROHDE, CHRISTINA                     ROHDE, COURTNEY                       ROHDE, EMILY
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ROHDE, ERIN                          ROHDE, JULIA                          ROHDE, KRISTIN
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ROHDE, LAUREL & FRANK                ROHDE, SARAH                          ROHER, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROHER, DILLON                        ROHIT GUPTA                           ROHL, MADELINE
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ROHL, ROXXANNE                       ROHLEDER, JOE                         ROHLFING, AMANDA
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ROHLFING, GEORGE                     ROHLFING, RENATE                      ROHLFS, VICTOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROHLIK, RACHEL        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROHM, ABBY                       Page 4220  of 5495
                                                                           ROHM, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROHM, RETTA                          ROHMER, BROOKE                        ROHN, DOROTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROHN, MACKENZIE                      ROHNERT, ASHLEE                       ROHR THOMPSON, ELIZABETH
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ROHR, MADISON                        ROHR, SHERRY                          ROHRBACH MICHELLE
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ROHRBACH, ASHLEY                     ROHRBACH, JOE                         ROHRBACH, MARISSA
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ROHRBACH, PAUL                       ROHRBACH, SOFIA                       ROHRBACHER, MACKENZIE
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ROHRBAUGH, SCOTT                     ROHRER, JODI                          ROHRER, MARY JO
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ROHRER, SANDRA                       ROHRET, OLIVIA                        ROHRIG, KATHLEEN
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ROHRIG, LINDSEY                      ROHRKEMPER, JOHN                      ROHRLACK, KATHERINE
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ROHRSCHEIB, CARRIE                   ROIG, TAYLOR                          ROISUM, BRITTANY
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ROIZ, LAURA ANNE                     ROJAHN, ALICIA                        ROJAS VALLEJOS, AXEL GONZALO
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ROJAS, ALESSANDRA                    ROJAS, ALEXANDRA                      ROJAS, ANALINE
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ROJAS, ASHLEIGH                      ROJAS, BRANDI                         ROJAS, CARLOS
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ROJAS, CARLOS                        ROJAS, CARMEN A                       ROJAS, CAROLINA
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ROJAS, CATHERINE                     ROJAS, CHRISTOPHER                    ROJAS, CYNTHIA
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ROJAS, DANIELLA                      ROJAS, DIANA                          ROJAS, DOROTHY
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ROJAS, GASTON                        ROJAS, JENNAFER                       ROJAS, JOCELYNE
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ROJAS, KARLA                         ROJAS, KRISTIN                        ROJAS, LAURA
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ROJAS, LAUREN                        ROJAS, MAGGIE                         ROJAS, MANUEL
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ROJAS, OSCAR          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ROJAS, WILLIAM                       ROJICS, LYNDA                          ROJO, BRANDY
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ROJO, EDUARDO                        ROJO, JORGE                            ROKA, ANJALI
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ROKAYA, SUJAN                        ROKENBRODT, KRISTEN                    ROKES, ADAM
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ROKT CORP                            ROKT CORP                              ROKUSEK, LAUREL
33 IRVING PLACE 3RD FLOOR            ATTN: ACCOUNTS                         ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10003                   175 VARICK STREET, LEVEL 10
                                     NEW YORK, NY 10014




ROLAIN, ARASTASIA                    ROLAND EIBL                            ROLAND MANUEL SEPULVEDA
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ROLAND MATTHEW ECKSTEIN              ROLAND P MICU                          ROLAND WILLIAMS
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ROLAND, ASHLEY                       ROLAND, BRIDGET                        ROLAND, JENNA
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ROLAND, JENNIFER                     ROLAND, KATHY                          ROLAND, LUCY
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ROLAND, ROMINICA                     ROLAND, SARAH                          ROLANDO BAZAIL
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ROLDAN, MARA          Case 22-11238-LSS
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ROLEN GROUP, LLC                     ROLEN, EMILY                          ROLEN, JENNIFER
2159 FIRST AVENUE 2E                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10029




ROLEN, MEREDITH                      ROLENAITIS, KENDRA                    ROLEWICZ, RENEE
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ROLF, NICOLE                         ROLFE, ANGELIQUE                      ROLFE, APRIL
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ROLFE, RANDY                         ROLFSON, LACY                         ROLING, HEATHER
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ROLISON, LINDA                       ROLITA, RYAN                          ROLL, AMY
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ROLL, ANTOINETTE                     ROLL, JANELLE                         ROLLAND, LIZA
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ROLLAR, RACHEL                       ROLLEMBERG, GUSTAVO                   ROLLEND, ELIZABETH
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ROLLER, BRANDON                      ROLLER, JENNA                         ROLLER, KATE
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ROLLER, LAUREN                       ROLLER, MARIA CAROLINA                ROLLESTON, TAELOR
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ROLLIE, JILL                         ROLLIER, JESSE                        ROLLING STONE
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ROLLING, JORDAN                      ROLLING, TEWANNA                      ROLLINGER, STACY
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ROLLINGS, CATHY                      ROLLINGS, RENEE                       ROLLINS, BONNIE
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ROLLINS, CAMERON                     ROLLINS, DANIELLE                     ROLLINS, JEFFERY
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ROLLINS, JUSTIN                      ROLLINS, KIMBERLY                     ROLLINS, LAICE
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ROLLINS, MICHAEL                     ROLLINS, NEIL                         ROLLINS, REBECCA
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ROLLINS, RENIECE                     ROLLINS, SARAH                        ROLLINS, SARAH
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ROLLIZO, PAUL                        ROLLO, COLLEEN                        ROLLO, EMILY
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ROLLOFF, GIFT                        ROLLS, HEATHER                        ROLLS, KELSEY
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ROLNICK, AUSTIN       Case 22-11238-LSS    Doc
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ROLOFSON, TRACEY                     ROLON, ERICA                          ROLON, JOSHUA
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ROLON, LIS                           ROLON-COLON, JEAN KARLO               ROLON-CRUZ, DIANA
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ROLSTON, DEBRA                       ROMA PARIKH                           ROMA, KIMBERLY
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ROMACK, SHELLY                       ROMAH, LINDSAY                        ROMAIN AYACHE
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ROMAIN, ROSELAINE                    ROMAINE, PATTY                        ROMAM, STACY
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ROMAN DAVID KOVACIK                  ROMAN SALGADO, SALVADOR               ROMAN SZCZEPANIK
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ROMAN, ADAM                          ROMAN, ALEX                           ROMAN, ALEXANDRA
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ROMAN, ANGELYNE                      ROMAN, BOZENA                         ROMAN, BRITTANY
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ROMAN, CARMEN                        ROMAN, CARTER                         ROMAN, CRYSTAL
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ROMAN, CRYSTAL        Case 22-11238-LSS
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ROMAN, GEORGINA                      ROMAN, JAUDICIA                       ROMAN, JOANN
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ROMAN, KATHLEEN                      ROMAN, LESLIE                         ROMAN, LIZZY
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ROMAN, LYSETTE                       ROMAN, MARILYN                        ROMAN, MEREDITH
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ROMAN, MICHAEL                       ROMAN, MICHELLE                       ROMAN, RANDY
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ROMAN, REBEKAH                       ROMAN, SAMANTHA                       ROMAN, SAMMY
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ROMAN, SARAH                         ROMAN, SHAVONNE                       ROMAN, VIOLET
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ROMANA, JOANNA                       ROMANA, KATHLEEN                      ROMANACCE, NOELLE
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ROMANCHIK, RICHELLE                  ROMANCHUK, LEXI                       ROMANELLI, AMI
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ROMANELLI, NICHOLAS                  ROMANELLO, JENNIFER                   ROMANELLO, TOMMI
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                                                                             ROMAN-MOLINA,
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ROMANO BEVERAGE                      ROMANO BEVERAGE                         ROMANO, AMANDA
185 W. INDUSTRIAL DRIVE              C/O VETERANS DISTRIBUTION ROMANO        ADDRESS AVAILABLE UPON REQUEST
ELMHURST, IL 60126                   BEVERAGE
                                     5999 BUTTERFIELD RD
                                     HILLSIDE, IL 60162



ROMANO, ARI                          ROMANO, ASHLEY                          ROMANO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROMANO, DEBORAH                      ROMANO, DESTINY                         ROMANO, DEVON
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ROMANO, DIANNE                       ROMANO, FRANK                           ROMANO, JACKI
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ROMANO, JENNA                        ROMANO, JOHN                            ROMANO, JULIA
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ROMANO, KATHY                        ROMANO, LINA                            ROMANO, LINDA
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ROMANO, LISA                         ROMANO, LORINE                          ROMANO, MICHAEL
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ROMANO, MICHELLE                     ROMANO, NATASHA                         ROMANO, NICHOLAS
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ROMANO, OLIVIA                       ROMANO, TALIA                           ROMANOFSKI, PAUL
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ROMANOVA, MARIA                       ROMANOW, LIZA                         ROMANOWICZ, CARLY
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ROMANOWICZ, JOHN                      ROMANOWSKI, DANIELLE                  ROMANOWSKI, NISSA
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ROMANOWSKY, CONNER                    ROMANUSKI, KELLEY                     ROMARY, MATT
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ROMAS, ELISE                          ROMAS, SAFANIA                        ROMASCO, AMANDA
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ROMASCO, LESLIE                       ROMASCO-KELLY, BECKY                  ROMBAUER, RODERICK
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ROMBERGER, DANIEL                     ROME, FERLINE                         ROMEIKE, JESSICA
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ROMELUS, YOUVEE                       ROMENS, KRISTIN                       ROMEO, ASHLEY
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ROMEO, ESTIBALIZ                      ROMEO, JACKIE                         ROMEO, KAREN
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ROMEO, KIANA                          ROMEO, MELISSA                        ROMEO, RICHARD
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ROMER, ADRIENNE       Case 22-11238-LSS    Doc
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                                                                           ROMERO  5495 GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROMERO RAINEY, REBECA                ROMERO, ADRIANA                       ROMERO, AIDE
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ROMERO, ALEXANDRA                    ROMERO, ALEXIS                        ROMERO, ALLISON
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ROMERO, ANNALLELY                    ROMERO, BEATRICE                      ROMERO, BIANCA
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ROMERO, BRITTANY                     ROMERO, CARISSA                       ROMERO, CAROLINA
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ROMERO, CHRISTINA                    ROMERO, DANIELLE                      ROMERO, DEBRA
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ROMERO, DIDI                         ROMERO, ELIZABETH                     ROMERO, ERIN
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ROMERO, ESTHER                       ROMERO, EVE                           ROMERO, GABRIELLA
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ROMERO, GILBERT                      ROMERO, GREG                          ROMERO, HEIDI
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ROMERO, IVELYSSE                     ROMERO, JAVIER                        ROMERO, JOSE
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ROMERO, KARINA        Case 22-11238-LSS    Doc
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                                                                           ROMERO,  5495
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ROMERO, LORI                         ROMERO, LUZ                           ROMERO, MAGGIE
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ROMERO, MELISSA                      ROMERO, MICHAEL                       ROMERO, MICHELLE
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ROMERO, PRISCILLA                    ROMERO, PRISCILLA                     ROMERO, RACHAEL
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ROMERO, ROBERTA                      ROMERO, ROSALINA                      ROMERO, RUDY
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ROMERO, SANDRA                       ROMERO, SIERRA                        ROMERO, TABITHA
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ROMERO, TARA                         ROMERO, TONY                          ROMERO, VANESSA
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ROMERO, YARITZA                      ROMETTI, MARY                         ROMEU, JUAN
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ROMICK, AMELIA                       ROMIEL, KECIA                         ROMIG, CAITLIN
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ROMIL WADHAWAN                       ROMINES, CANDICE                      ROMINGER, BAILEY
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ROMINSKI, JASON       Case 22-11238-LSS
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                                                                           ROMMEL, 5495
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ROMMEL, TYLER                        ROMMES, DOUGLAS                       ROMO, DOTTIE
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ROMO, ERIN                           ROMO, LISA                            ROMO, REBECCA
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ROMORODRIGUEZ, MELANIE               ROMP, KARLEE                          ROMPALA, KIMBERLY
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ROMPALO, SARAH                       ROMSHE, KIMBERLY                      RON ANTENER
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RON VAN                              RON, DANIELA Y JUAN CARLOS            RON, JONATHAN
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RON, SIVAN                           RONAK BHATT                           RONAK DESAI
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RONALD “RONNIE” ALMENDRALES          RONALD CLARK                          RONALD DOWNING
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RONALD EVANS BORCHARDT               RONALD G BLAIR                        RONALD HRAD
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RONALD J FREY                        RONALD JEFFREY UEBEL                  RONALD KEITH JOHNSON
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RONALD MANABAT                       RONALD N ARMSTRONG                    RONALD PRICE
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RONALD QUINTON                       RONALD TER HOEVEN                     RONALD WILLIAMSON
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RONAN, FRANCIE                       RONAN, KIM                            RONAN, MAGGIE
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RONAYNE, CAROLYN                     RONAYNE, LAUREN                       RONCA, HEATHER
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RONCA, SHEENA                        RONCACE, EMMA                         RONCAL, MIGUEL
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RONCK, KEREN                         RONDEAU, ASTRID                       RONDEAU, BRITTANY
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RONDINONE, MEGAN                     RONDON- OUTTEN, MICHELLE              RONDON, STEPHANIE
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RONEL DELVA                          RONEN, ELLAH                          RONEVICH, TARA
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RONEY, ERICA                         RONEY, KATIE                          RONEY, LEANDA
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RONGEY, TIFFANY                      RONGIONE, CATHY                       RONI SEPANSKI
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RONI SEPANSKI                        RONK, AMY                             RONK, RUTH
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RONKESE, ERICA                       RONKOWITZ, SAMARA                     RONNA FLAIG
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RONNIE BOATNER                       RONNY BROWN                           RONQUILLO, BRIAN
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RONQUILLO, DAVID                     ROO, DANIEL                           ROOB, MITCH
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ROOD, CHERIE                         ROOD, COURTNEY                        ROOD, HEIDI
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ROOD, KRISTINA                       ROOD, PATTI                           ROOD, RACHEL
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ROOD, REBEKAH                        ROOF, AVERY                           ROOF, HANNAH
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ROOF, JENNIFER                       ROOF, JUSTIN                          ROOF, KIMBERLY
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ROOF, ROBYN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROOF, TANYA                      Page 4234 of 5495
                                                                           ROOFENER, JAOVONNI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROOFTER MAN PLUMBING                 ROOG, COURTNEY                        ROOHAN, LIAM
7949 AJAY DR A                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SUN VALLEY, CA 91352




ROOHANI, MELODY                      ROOK, KAREN                           ROOK, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROOK, SHAUN                          ROOKARD, LISA EAGAN                   ROOKE, CASSIDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROOKER, STEPH                        ROOKER, STEPHANIE                     ROOKS, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROOKS, SHANNON                       ROOKWOOD, ELIZABETH                   ROOM & BOARD-INTG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




ROOM 644, MIRIAM ACZEL               ROONEY, ALEXANDRA                     ROONEY, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROONEY, CHRISTINE                    ROONEY, COLLEEN                       ROONEY, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROONEY, EMMA                         ROONEY, JAIMIE                        ROONEY, JANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROONEY, KAREN                        ROONEY, LEWIS                         ROONEY, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROONEY, PETER         Case 22-11238-LSS    Doc
                                     ROONEY,    2 Filed 11/30/22
                                             REBECCA                    Page 4235 ofSARAH
                                                                             ROONEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROONEY, TOM                          ROONEYS IRISH PUB                       ROONGSANG, PETE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




ROOP, JENA                           ROOPNARINE, BRITTANY                    ROORDA, DEVYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROOS, CAROLINE                       ROOSA, SYDNEY                           ROOSEVELT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




ROOSEVELT, MARILYN                   ROOT, JAY                               ROOT, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROOT, KAREN                          ROOT, MELISSA                           ROOT, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROOT, SIDNEY                         ROOTER MAN PLUMBING                     ROOTSTEELE, ALANNANOAH
ADDRESS AVAILABLE UPON REQUEST       7949 AJAY DR A                          ADDRESS AVAILABLE UPON REQUEST
                                     SUN VALLEY, CA 91352




ROOTSTOCK PARTNERS, LLC              ROPA, JAMES                             ROPER, ALYSSA
1112 MONTANA AVE SUITE 116           ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SANTA MONICA, CA 90403




ROPER, FRANCES                       ROPER, KIKI                             ROPER, MARTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROPER, MELISSA                       ROPIAK, VALERIE                         ROPOSH, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
ROPSON, JOAN          Case 22-11238-LSS
                                     ROQUE, Doc 2 Filed 11/30/22
                                            BRYAN                     Page 4236
                                                                           ROQUE,of 5495
                                                                                  GRECY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROQUE, JESSICA                       ROQUE, TIFFANY                        ROQUET, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROQUETE, RODRIGO                     ROREBECK, MATTHEW                     RORER, KATHARINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RORICK, KIMBERLY                     RORIE, STACY                          RORK, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROROS, JOHN                          RORVICK, ABBEY                        RORY SUGINO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSA MCLEOD                          ROSA ROMAN, DENGRID                   ROSA, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSA, CHRISTIE                       ROSA, DINELIA                         ROSA, ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSA, JACQUELINE                     ROSA, JAMIE                           ROSA, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSA, JILLIAN                        ROSA, JOHN                            ROSA, KARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSA, KATHERINE                      ROSA, LARS                            ROSA, TANJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSA, TAYLOR          Case 22-11238-LSS    Doc
                                     ROSADO,    2 Filed 11/30/22
                                             ANGELINA                 Page 4237 ofASHLEY
                                                                           ROSADO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSADO, ASHLEY                       ROSADO, JACKY                         ROSADO, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSADO, KYLIE                        ROSADO, LACE                          ROSADO, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSADO, MANIKA                       ROSALANKO, LAUREN                     ROSALES, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSALES, ASHLEY                      ROSALES, DENISE                       ROSALES, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSALES, ERNESTO                     ROSALES, EUGENIO                      ROSALES, ISABELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSALES, JONATHAN                    ROSALES, KRYSTEL                      ROSALES, KYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSALES, MARCELO                     ROSALES, MICHELLE                     ROSALES, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSALES, NERY                        ROSALES, RYAN                         ROSALES, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSALES, SHANNON                     ROSALES, TERRI                        ROSALIA CHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSALIA GENTILE       Case 22-11238-LSS     Doc
                                     ROSALIND    2 Filed 11/30/22
                                              STEARNS                 Page 4238 of 5495
                                                                           ROSAMOND, MISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSANIA, IRENE                       ROSANNA KEENAN                        ROSANNA MORACA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSANNE WEILER                       ROSANO, MARANDA                       ROSARD, JOSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSARIO ENCARNACION, JOSE MANUEL     ROSARIO VENTURA, ERICKA               ROSARIO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSARIO, CYNTHIA                     ROSARIO, ELIZABETH                    ROSARIO, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSARIO, JENNY                       ROSARIO, JOSEPHINE                    ROSARIO, LISBETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSARIO, MARTHA                      ROSARIO, RANGELINE                    ROSARIO, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSARIO, RYAN                        ROSARIO, SARA                         ROSARIO, STACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSARIO, TIFFANY                     ROSARIO, WINIPHER                     ROSARION, GERANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSAS, AMANDA                        ROSAS, CARMEN                         ROSAS, CHERISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSAS, GABRIEL        Case 22-11238-LSS
                                     ROSAS, Doc 2 Filed 11/30/22
                                            GEMMA                       Page 4239
                                                                             ROSAS,of 5495
                                                                                   GISELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROSAS, GRACIELA                      ROSAS, ILEANA                           ROSAS, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROSAS, JOHANNA                       ROSAS, MARIA                            ROSAS, MARTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROSAS, MICHAEL                       ROSATI-WEE, MAUREEN                     ROSATO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROSATO, MARK                         ROSATO, SUSAN                           ROSATO, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROSAZZA, LAUREN                      ROSBORG, STEPHANIE                      ROSBOROUGH, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROSBURG, CHRIS                       ROSBURG, MICHELLE                       ROSBURG, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROSCHE, MALLORY                      ROSCHER, KENDRA                         ROSCHLI, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROSCIOLI, LYNN                       ROSCO FLEVO                             ROSCOE, IVANA
ADDRESS AVAILABLE UPON REQUEST       RYAN CARABALLO                          ADDRESS AVAILABLE UPON REQUEST
                                     215 W. 5TH ST. APT 706
                                     LOS ANGELES, CA 90013




ROSDAHL, SHELLEY                     ROSE CAFE MARKET                        ROSE CLEMONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
ROSE LAUREN           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     ROSE MANABAT                     Page 4240  of 5495
                                                                           ROSE PARSONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, ADRIANNE                       ROSE, ADRIANNE                        ROSE, ALEXIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, ALICE                          ROSE, AMANDA                          ROSE, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, AMY                            ROSE, AMY                             ROSE, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, AVI                            ROSE, BARBARA                         ROSE, BECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, BETHANY                        ROSE, BIANCA                          ROSE, CAMILLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, CAROLYN                        ROSE, CATHIE                          ROSE, CHAPMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, CHELSEA                        ROSE, CODY                            ROSE, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, DANIEL                         ROSE, DANIELLE                        ROSE, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, DAVID                          ROSE, DEBORAH                         ROSE, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSE, DOMINIQUE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROSE, DONELL                     Page 4241  of 5495
                                                                           ROSE, DYLAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, EILEEN                         ROSE, ELIZABETH                       ROSE, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, EMILY                          ROSE, EMILY                           ROSE, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, HILARY                         ROSE, JACQUELINE                      ROSE, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, JANE                           ROSE, JANNA                           ROSE, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, JOANNE                         ROSE, JORDAN                          ROSE, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, KATHLEEN                       ROSE, KATIE                           ROSE, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, KEVIN                          ROSE, KIMBERLY                        ROSE, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, KURT                           ROSE, LEAH                            ROSE, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, MACKENZIE                      ROSE, MARILYN                         ROSE, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSE, MARY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROSE, MEGAN                      Page 4242  of 5495
                                                                           ROSE, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, MIKAYLA                        ROSE, MOLLY                           ROSE, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, NANCY                          ROSE, NANCY                           ROSE, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, PATTI                          ROSE, PAYTEN                          ROSE, PRISCILLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, REBECCA                        ROSE, ROBBIN                          ROSE, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, ROBIN                          ROSE, SARAH                           ROSE, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, SHANNON                        ROSE, STEPHANIE                       ROSE, SUZANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, SUZETTE                        ROSE, TAMMY                           ROSE, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, TAYLOR                         ROSE, TIFFANY                         ROSE, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSE, TORI                           ROSE, TYLER                           ROSE, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSE, VICTOR          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROSE, VIRGINIA                   Page 4243 ofKATHERINE
                                                                           ROSEAU, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSEBERRY, TAYLOR                    ROSEBOROUGH, JOSEPH                   ROSEBRAUGH, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSEBUSH, JULIA                      ROSELAND, LISA                        ROSELANDER-GINN, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSELINE ITEME                       ROSELL, MARIA                         ROSELLE, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSELLE, MIKE                        ROSELLI, CHRISTINA                    ROSELLI, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSELLI, FRANK K                     ROSELLI, GIOVANNA                     ROSELLI, JOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSEMAN, SHEILA                      ROSEMANN, MELISSA                     ROSEMARIE LLOYD, ROSEMARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSEMOND, PALMER                     ROSE-MORISSAINT, CAMILLE              ROSEN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSEN, BEN                           ROSEN, CHRISTINE                      ROSEN, CRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSEN, DANA                          ROSEN, DANIELLE                       ROSEN, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSEN, EMILY          Case 22-11238-LSS
                                     ROSEN, Doc 2 Filed 11/30/22
                                            GERALD                    Page 4244
                                                                           ROSEN,of 5495
                                                                                  JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSEN, JENN                          ROSEN, JESS                            ROSEN, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSEN, KAREN                         ROSEN, KATHERINE                       ROSEN, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSEN, KIERA                         ROSEN, KIMBERLY                        ROSEN, KINNERET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSEN, LIZZY                         ROSEN, NATHANIEL                       ROSEN, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSEN, RHETT                         ROSEN, STEVEN                          ROSEN, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENAU, ROBIN                       ROSENBACH, JOHN                        ROSENBAUM, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENBAUM, BARBARA                   ROSENBAUM, JENNIFER                    ROSENBAUM, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENBAUM, RACHEL                    ROSENBERG, AMELIA                      ROSENBERG, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENBERG, CATHY                     ROSENBERG, CLARE                       ROSENBERG, DALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROSENBERG, DONNA      Case 22-11238-LSS    Doc ELIZABETH
                                     ROSENBERG, 2 Filed 11/30/22      Page 4245 of 5495
                                                                           ROSENBERG, GAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBERG, MARC                      ROSENBERG, MARIAH                     ROSENBERG, MICAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBERG, MICHAEL                   ROSENBERG, MOLLY                      ROSENBERG, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBERG, ROSALIND                  ROSENBERG, SANDY                      ROSENBERG, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBERG, STEPHANIE                 ROSENBERG, TYLER                      ROSENBERG, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBERGER, CARLEY                  ROSENBERGER, KATE                     ROSENBERGER, LEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBERGER, LISA                    ROSENBERGER, THOMAS                   ROSENBLATT, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBLATT, JOSH                     ROSENBLATT, MEGAN                     ROSENBLATT, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBLOOM, LEWIS                    ROSENBLUM, MICHAEL                    ROSENBLUM, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSENBLUM, SARAH                     ROSENDALE, MEGAN                      ROSENDALL, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSENDO, EDWIN        Case 22-11238-LSS
                                     ROSENE,Doc  2 Filed 11/30/22
                                             JENNIFER                  Page 4246 of 5495
                                                                            ROSENFELD, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENFELD, ANDREW                    ROSENFELD, EMMA                        ROSENFELD, MARGO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENFELD, PHOEBE                    ROSENFIELD, JENNA                      ROSENFIELD, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENGREN, PHILIP                    ROSENGREN, SHELBY                      ROSENHAN, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENHEIM, OLIVER                    ROSENKRANZ, LAURA                      ROSENKRANZ, PATTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENLUND, KATRINE                   ROSENOW, DENISE                        ROSENQUIST, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENQUIST, LORI                     ROSENSON WINE CREATIONS INC.           ROSENSTEEL, DENISE
ADDRESS AVAILABLE UPON REQUEST       22900 VENTURA BL., SUITE 200           ADDRESS AVAILABLE UPON REQUEST
                                     WOODLAND HILLS, CA 91364




ROSENSTEIN HENRY, LLC                ROSENTHAL WINE MERCHANT CA LTD.        ROSENTHAL, ALLISON
ATTN: HEATHER MOCH                   56-43 58TH STREET                      ADDRESS AVAILABLE UPON REQUEST
371 SPRING PARK ROAD                 MASPETH, NY 11378
CAMARILLO, CA 93012




ROSENTHAL, ANNE                      ROSENTHAL, BLAKE                       ROSENTHAL, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENTHAL, CASEY                     ROSENTHAL, HILARY                      ROSENTHAL, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROSENTHAL, JOE        Case 22-11238-LSS    DocKATHERINE
                                     ROSENTHAL, 2 Filed 11/30/22         Page 4247 of 5495
                                                                              ROSENTHAL, KIMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ROSENTHAL, MARIE                        ROSENTHAL, MATTHEW                     ROSENTHAL, MIKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENTHAL, REBECCA                      ROSENTHAL, SARA                        ROSENTURLEY, HEATHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENWASSER, KATIE                      ROSENZWEIG, EMILY                      ROSENZWEIG, HANNAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSENZWEIG, JARED                       ROSENZWEIG, LIZANNE                    ROSER, MARIANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSETH, VALARIE                         ROSETTA SPEARS                         ROSETTI, CAROL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSETTI, CHRISTINA                      ROSETTI, JOE                           ROSEWOOD SANDS HILL MENLO PARK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




ROSEWOOD SANDS HILL                     ROSE-WRIGHT, HELEN                     ROSEY, CHAR
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSHEL, BRANDI                          ROSHER, ANASTAS                        ROSHON, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSHONA ANDERSON                        ROSICA, MEGAN                          ROSIEK, PAMELA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROSIER, MACHELLE      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ROSIN, LINDSEY                   Page 4248
                                                                           ROSINI,of 5495
                                                                                  CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSINSKI, CHRISTINE                  ROSINSKI, VICTORIA                     ROSINUS, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSKENS, VIVIAN                      ROSKEY, DIANNA                         ROSKIN, JAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSKO, ERIN                          ROSLANIC, MELISSA                      ROSLER, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSLUND, BRIAN                       ROSLYN FRIESER                         ROSO, BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSOK, JACOB                         ROSOL, GERALDINE                       ROSOWSKI, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSS BOVERI                          ROSS CROPPER                           ROSS FERRELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSS HEINEMEYER                      ROSS MONAT                             ROSS RITTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSS, AMANDA                         ROSS, AMANDA                           ROSS, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROSS, ANASTASIA                      ROSS, ANGELA                           ROSS, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROSS, ASHLEY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROSS, ASHLEY                     Page 4249  of 5495
                                                                           ROSS, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, ASHLEY                         ROSS, AUSTYN                          ROSS, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, BONNIE                         ROSS, BREE                            ROSS, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, BRITTANY                       ROSS, CAITLIN                         ROSS, CANDICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, CARLY                          ROSS, CARLY                           ROSS, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, CHARLES                        ROSS, CHARLES                         ROSS, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, CHELSEA                        ROSS, CHRISTOPHER                     ROSS, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, CHRISTOPHER                    ROSS, CIGI                            ROSS, CORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, CYTNHIA                        ROSS, DANIELLE                        ROSS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, DAWN                           ROSS, DEBORAH                         ROSS, DEJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSS, DOMINIQUE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROSS, DOUGLAS                    Page 4250  of 5495
                                                                           ROSS, ELEANOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, ELSE                           ROSS, ERIN                            ROSS, ESTHER
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ROSS, GORNATA                        ROSS, GREGORY                         ROSS, HALEY
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ROSS, HANNAH                         ROSS, IMANUEL                         ROSS, JAMILA
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ROSS, JASON                          ROSS, JEN                             ROSS, JENICA
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ROSS, JENNA                          ROSS, JENNIFER                        ROSS, JENNIFER
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ROSS, JENNIFER                       ROSS, JESSICA                         ROSS, JEZNEEL
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ROSS, KARA                           ROSS, KATE                            ROSS, KATE
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ROSS, KATE                           ROSS, KATHERINE                       ROSS, KATHLEEN
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ROSS, KEITH                          ROSS, KELLY                           ROSS, KELLY
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ROSS, KELSEY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROSS, KEVIN                      Page 4251  of 5495
                                                                           ROSS, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, KINGSLEY                       ROSS, KIRK                            ROSS, KRISTA
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ROSS, KYLA                           ROSS, LAUREEN                         ROSS, LAUREN
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ROSS, LINDSAY                        ROSS, LIZ                             ROSS, LUCY
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ROSS, MACKENZIE                      ROSS, MARIBETH                        ROSS, MARTHA
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ROSS, MATTHEW                        ROSS, MATTHEW                         ROSS, MEGAN
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ROSS, MELANIE                        ROSS, MELINDA                         ROSS, MELISSA
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ROSS, MICHAEL                        ROSS, MICHAEL                         ROSS, MILES
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ROSS, MIRANDA                        ROSS, NANPON                          ROSS, PAMELA
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ROSS, PATRICE                        ROSS, PEGGY                           ROSS, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSS, PEYTON          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROSS, PHIL                       Page 4252  of 5495
                                                                           ROSS, RENAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, ROBERT                         ROSS, RUTH                            ROSS, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, SARAH                          ROSS, SARAH                           ROSS, SAVANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, SHAINA                         ROSS, SHAWN AND SYDNEY                ROSS, SHEILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, SKYLER                         ROSS, STEPHANIE                       ROSS, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSS, SUE                            ROSS, SUSAN                           ROSS, SYDNEY
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ROSS, TRENT                          ROSS, TYRONE                          ROSS, VANESSA
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ROSS, VICTORIA                       ROSS, WHITNEY                         ROSS, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSSBACH, LISA                       ROSSELL, JANE                         ROSSELLI, AMANDA
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ROSSELOTT, AMANDA                    ROSSEN, PAGE                          ROSSER, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSSER, JAMES         Case 22-11238-LSS
                                     ROSSER,Doc 2 Filed 11/30/22
                                             SAMANTHA                 Page 4253 ofTATIANA
                                                                           ROSSER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSSETT, CHRIS                       ROSSETTI                              ROSSETTI, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       VIA MASCAGNI 15/17A 50050             ADDRESS AVAILABLE UPON REQUEST
                                     BASSA/CERRETO GUIDI (FI)
                                     ITALY




ROSSETTI, KATIE                      ROSSETTI, MICHAEL                     ROSSETTI, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSSHEIM, SHALA                      ROSSI, ALDO                           ROSSI, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSSI, ANDREW                        ROSSI, ANDREW                         ROSSI, ANDREW
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ROSSI, BRIDGET                       ROSSI, CHRIS                          ROSSI, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSSI, DOMINIC                       ROSSI, GIULIA                         ROSSI, GRACIE
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ROSSI, HILLARY                       ROSSI, JESSICA                        ROSSI, JILLIAN
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ROSSI, JODY                          ROSSI, JOHN                           ROSSI, JORDAN
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ROSSI, JOSEPH                        ROSSI, JULIE                          ROSSI, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSSI, KENDALL        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ROSSI, LEAH                      Page 4254
                                                                           ROSSI, of 5495
                                                                                  LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSSI, LUISA                         ROSSI, MARY ANN                       ROSSI, MATTHEW
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ROSSI, MEGHAN                        ROSSI, MICHAEL                        ROSSI, NICK
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ROSSI, NICK                          ROSSI, OLIVIA                         ROSSI, PAUL
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ROSSI, PAUL                          ROSSI, RACHEL                         ROSSI, SHANNON
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ROSSI, SHANNON                       ROSSI, SIDNEY                         ROSSI, STEPHEN
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ROSSI, TINA                          ROSSIE, DANIEL                        ROSSIGNOL, REBECCA
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ROSSIGNOL, SAMANTHA                  ROSSIO, LAURA                         ROSSITER, HANNAH
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ROSSITER, HELEN                      ROSSITER, KATHERINE                   ROSSITER, LYNNE
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ROSS-JENKINS, WENDY                  ROSSMAN, AARON                        ROSSMAN, JENNIFER
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ROSSMAN, JOSHUA       Case 22-11238-LSS    DocCRYSTAL
                                     ROSSMANN,  2 Filed 11/30/22      Page 4255
                                                                           ROSSO,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSSO, JARED                         ROSSOL, EDWARD                        ROSSOTTO, JOHN
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ROSSOUW, SHANNON                     ROSS-TILLMAN, COURTNEY                ROSS-WISEMAN, TAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSSWOG, STEPHANIE                   ROST, DAN                             ROST, JESSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSTAL, JAN                          ROSTINE, BLAKE                        ROSTOHAR, LEAH
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ROSTON, CHELSEA                      ROSTRO, MADISYN                       ROSTVOLD, CHRISTINE
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ROSVALL, ARIELLE                     ROSWICK, MEGAN                        ROSZAK, VICTORIA
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ROSZCZYNIALSKI, KELLY                ROSZEL, DON                           ROSZKOWSKI, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROSZKOWSKI, PAT                      ROTA, MARCO                           ROTARY CLUB OF SANTA MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




ROTARY DIGITAL, LLC                  ROTARY, PATRICK                       ROTELA, TAMARA
736 S WHITE HORSE PIKE 102           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
AUDUBON, NJ 08106
ROTELLINI, GINA       Case 22-11238-LSS    Doc 2 BRITTANY
                                     ROTENKOLBER,    Filed 11/30/22   Page 4256 ofKAYLA
                                                                           ROTERT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTH IRA FBO ERIK M CREAGH           ROTH IRA STEPHANIE FAGIN-JONES        ROTH STAFFING COMPANIES, L.P.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        450 NORTH STATE COLLEGE BOULEVARD
                                                                           ORANGE, CA 92868




ROTH, ALEC                           ROTH, ALEXANDER                       ROTH, ALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTH, ANN                            ROTH, ANTONIA                         ROTH, ARIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTH, ASHLEY                         ROTH, CATHERINE                       ROTH, CONNOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTH, ERIKA                          ROTH, HARI                            ROTH, HEATHER
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ROTH, HEATHER                        ROTH, JEFFFREY                        ROTH, JESSICA
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ROTH, JESSICA                        ROTH, JOE                             ROTH, JOHN
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ROTH, LAURA                          ROTH, LAURA                           ROTH, LEAH
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ROTH, LEVI                           ROTH, LINDSAY                         ROTH, MARTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROTH, MAXWELL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROTH, MEG                        Page 4257  of 5495
                                                                           ROTH, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTH, MERRIDITH                      ROTH, MICHAEL                         ROTH, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTH, RACHEL                         ROTH, REBECCA                         ROTH, RHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTH, SAMANTHA                       ROTH, TAMI                            ROTH, TONJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTH, TORIA                          ROTH, TREVOR                          ROTH, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHBAUM, PAULA                      ROTHE, JAY                            ROTHE, JOLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHE, LISA                          ROTHENBERG, ALEX                      ROTHENBERG, JAAN UMRU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHENBERG, LISA                     ROTHENBERG, STUART                    ROTHENBERGER, DAYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHENBERGER, LEONARDO               ROTHENBERGER, PAUL                    ROTHENBERGER, RANDI AND SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHER, ROBYN                        ROTHERHAM, ANGELICA                   ROTHERMEL, JACELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROTHERMEL, KATHERINE Case 22-11238-LSS    Doc REBECCA
                                    ROTHERMEL, 2 Filed 11/30/22       Page 4258 ofBRYANA
                                                                           ROTHEY, 5495
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROTHFELD, LORI                       ROTHFIELD, LINDSAY                    ROTHHAAR, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHLIN, TIFFANY                     ROTHMAN, BARBARA                      ROTHMAN, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHMAN, KELLY                       ROTHMAN, KIM                          ROTHMAN, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHMEL, ADAM                        ROTHRAUFF, CHRISTINE                  ROTHROCK, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHROCK, MARGARET                   ROTHSCHILD, DIANE                     ROTHSCHILD, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHWEILER, ZACH                     ROTHWELL, JENNIFER                    ROTHWELL, POLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTHWELL, SHAWN                      ROTI, CHRISTINE                       ROTOLONI, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTONDI, AMY                         ROTONDO JR, VINCENT                   ROTONDO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROTONDO, KATIE                       ROTRUCK, SARAH                        ROTSUKON GULIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROTT, KRISTIN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROTT, RACHEL                     Page 4259 of 5495
                                                                           ROTTENBERG, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROTTER, CHARLES                      ROTTER, JESSICA                        ROTTER, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROTTERS, ALISON                      ROTTET                                 ROTTET, VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROTTINO, LAUREN                      ROTTLER, ASHLEY                        ROTTMAN, HEIDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROTTMAN, THOMAS                      ROTTON, KYLA                           ROTUNNO, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROTUNNO, NICOLE                      ROTZ, ANGELA                           ROUBAL, ROGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROUBIQUE, RACHELLE                   ROUBO, CHRISTINE                       ROUCH, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROUDI, TARA                          ROUDKOVSKI, MELANIE                    ROUGEAU, JARRETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROUGHGARDEN, EDWARD                  ROUGHGARDEN, PATRICIA                  ROUGHSEDGE, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROUGHTON, TIMOTHY                    ROUGIER, LISA                          ROUIN, CAROLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROULHAC, TAELOR       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




ROUNDS, JAMES                        ROUNDS, MELISSA                       ROUNDS, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUNDS, TIFFANY                      ROUNDTREE, IFETAYO                    ROUNDY, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUNDY, ROBERT                       ROUNSOVILLE, DJAMEAL                  ROUNTREE, AMANDA
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ROUNTREE, AMANDA                     ROUNTREE, BAKISA                      ROUNTREE, BRYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUNTREE, CAELIN                     ROUNTREE, CHELSEY                     ROUNTREE, LORRETTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUPE, DONALD                        ROURICK, MARIE                        ROURICK-JOHNSTON, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROURK, BATEY                         ROURKE, ALLYSON                       ROURKE, DARLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROURKE, JENNIFER                     ROURKE, MEGAN                         ROURKE, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSCH, ELIZABETH                    ROUSE, BRITTANY                       ROUSE, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROUSE, DANE           Case 22-11238-LSS
                                     ROUSE, Doc  2 Filed 11/30/22
                                            JACKELYN                  Page 4261
                                                                           ROUSE,of 5495
                                                                                  JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSE, KATRINA                       ROUSE, KERRI                          ROUSE, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSE, MOLLY                         ROUSE, NAOMI                          ROUSE, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSEY, AMANDA                       ROUSH, HOLLIS                         ROUSH, SHAWNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSH, TERRI                         ROUSSEAU, ASTRID                      ROUSSEAU, DERBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSSEAU, JEFF                       ROUSSEAU, MIYA                        ROUSSEAU, RHETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSSEAU, SHEILINA                   ROUSSEL, ALEXA                        ROUSSEL, CARLYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSSEL, EMMANUELLE                  ROUSSEL, LAURIE                       ROUSSELL, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUSSELL, JENNIFER                   ROUSSET, SARAH                        ROUT, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUTH, CASSIDY                       ROUTH, DEBORAH                        ROUTHIER, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROUTLY, SANDY         Case 22-11238-LSS    Doc
                                     ROUTON,    2 Filed 11/30/22
                                             ASHLEY                   Page 4262 of 5495
                                                                           ROUTSON, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROUX, CHRISTINE                      ROUX, MATTHEW                         ROUZER, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROVA, ANDREW                         ROVAK, CORRIE                         ROVANG, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROVEDA, GRACIE                       ROVEDO, JUSTINE                       ROVENKO, TOWANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROVENSKAYA, MARGARITA                ROVENTINI, CHRISTINE                  ROVERSI, MARILU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROVIG, ANTONIA                       ROVIG, ANTONIA                        ROVIRA, TRACIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROVNER, HARRIETTE                    ROVNER, HOPE                          ROVNIAK, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROWAN, ANGELA                        ROWAN, BARRY                          ROWAN, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROWAN, ELWYN                         ROWAN, JOAN                           ROWAN, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROWAN, MICHAEL                       ROWAN, PATRICK                        ROWAN, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROWAN, RICKI          Case 22-11238-LSS
                                     ROWAN,Doc
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                                                                           ROWBOTTOM, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWBOTTOM, JOSHUA                    ROWDEN, NIKKI                          ROWE JR, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWE, ABIGAIL                        ROWE, AMANDA                           ROWE, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWE, AMY                            ROWE, ANDREA                           ROWE, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWE, CAROLYNNE                      ROWE, CRAIG                            ROWE, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWE, DANIELLE                       ROWE, DONALD                           ROWE, DONDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWE, ED                             ROWE, ELI                              ROWE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWE, EMILY                          ROWE, HILARY                           ROWE, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWE, JASON                          ROWE, JASON                            ROWE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ROWE, JENNIFER                       ROWE, JENNIFER                         ROWE, JESSE D.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROWE, JESSICA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROWE, JESSICA                    Page 4264
                                                                           ROWE, of 5495
                                                                                 KARIMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROWE, KATHERINE                      ROWE, KELLY                           ROWE, KENDAL
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ROWE, KRISTEN                        ROWE, LANAE                           ROWE, LINDA
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ROWE, LINDSIE                        ROWE, LORIE                           ROWE, MARC
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ROWE, MARGARET                       ROWE, MARY                            ROWE, MEGHAN
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ROWE, MORGAN                         ROWE, MORGAN                          ROWE, NANCY
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ROWE, QUINTRELL                      ROWE, ROBERT J                        ROWE, ROBYN
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ROWE, SAMANTHA                       ROWE, TAMEIKA                         ROWE, TAYLOR
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ROWE, THOMAS                         ROWE, ZOE                             ROWELL, JENNIFER
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ROWELL, LEAH                         ROWELL, LESLIE                        ROWELL, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROWEN, DANIELLE       Case 22-11238-LSS
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                                                                           ROWLAND, ADONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROWLAND, ANEETRAI                    ROWLAND, CHARLENE                     ROWLAND, COURTNEY
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ROWLAND, EDWARD                      ROWLAND, HOLLY                        ROWLAND, JULIE
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ROWLAND, KARA                        ROWLAND, KAREN                        ROWLAND, KATHLEEN
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ROWLAND, KELSEY                      ROWLAND, LINDA                        ROWLAND, LUCY
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ROWLAND, MARSHA                      ROWLAND, ROGER                        ROWLAND, SARAH
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ROWLAND, SARAH                       ROWLAND, SUSAN                        ROWLAND, TRACY
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ROWLAND, TRACY                       ROWLEDGE, DIANE                       ROWLES, KARLYE
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ROWLES, LAUREN                       ROWLES, MARY                          ROWLES, REA
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ROWLEY, CAROLINE                     ROWLEY, DAVID                         ROWLEY, JOYCE
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ROWLEY, KRYSTAL       Case 22-11238-LSS    Doc
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                                                                           ROWSELL, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROWSER, VERN                         ROXANA GARCIA                         ROXANA HASTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROXANN PRICE                         ROXANN, RIZZUTO,                      ROXANNE PRINCIPE
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ROXANNE WENSLEY                      ROXANNE, EMILY                        ROXAS, LAURA
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ROXAS, MELISSA                       ROXAS, SHELLEY                        ROXBERRY, JENNI
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ROXSTROM, ANNA                       ROY BRYAN STOKER                      ROY GLASS
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ROY HULL                             ROY JAMES PERRITT JR                  ROY LUNA
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ROY MORALY                           ROY PERRY GREENE                      ROY, ALEXANDRIA
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ROY, ALICIA                          ROY, ANGELICA                         ROY, ANNA
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ROY, AYAN                            ROY, BRIDGET                          ROY, BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROY, CAITLIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROY, CATHERINE                     Page 4267  of 5495
                                                                             ROY, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROY, CHARLES                         ROY, CLARE                              ROY, CLENNAN
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ROY, COURTNEY                        ROY, DEREK                              ROY, DONNA
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ROY, ECHO                            ROY, ELIZABETH                          ROY, ERIN
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ROY, HARRIET                         ROY, HEIDI                              ROY, JANICE
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ROY, JESSICA                         ROY, KRISTIAN                           ROY, LAUREN
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ROY, NIKITA                          ROY, NOELLE                             ROY, RACHEL
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ROY, REBECCA                         ROY, ROBERT                             ROY, SHANNON
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ROY, SHASHANK                        ROY, SHUVO                              ROY, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ROYAL BRAUN, LLC                     ROYAL COPEHAGEN INN                     ROYAL DESIGN GROUP
7510 W. SUNSET BLVD. 1406            ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
LOS ANGELES, CA 90046
ROYAL, ANDREA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                                 DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROYAL, ELAINE                        ROYAL, SARAH                          ROYALTY, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROYCE, AMY                           ROYCE, LINDY                          ROYCE, RACHAL
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ROYCE, ROSEMARIE                     ROYCROFT, NOEL                        ROYE, PETER
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ROYE, SALLY                          ROYER, ASHLEY                         ROYER, ELIZABETH
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ROYER, HANNAH                        ROYER, JAMIE                          ROYER, JESSICA
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ROYER, OLIVIA                        ROYER, RICHARD                        ROYER, WHITNEY
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ROYKO, ANN F                         ROYKO-ADKINS, FRANK                   ROYSE, ELIZABETH
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ROYSELAND, KRISTIN                   ROYSTER, FELICIA                      ROYSTER, VENUS
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ROYSTER-SHIELDS, TRACIE              ROZA, JANINE                          ROZANSKI, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROZDILSKY, SANDRA     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ROZE, GRAYSON                    Page 4269 of 5495
                                                                           ROZEBOOM, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROZEK, KALEIGH                       ROZELLE, KATIE                        ROZELLE, ROBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROZELLE, STEFANIE                    ROZELLE-MURPHY, AUSTIN                ROZEN, STU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROZENA ABDIN                         ROZENBERG, FEDERICO                   ROZENCWAIG, KAREN
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ROZIC, JOE                           ROZICK, KELLY                         ROZIER, JESSICA
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ROZIER, STACY                        ROZINA, TAMARA                        ROZMAN, KIRA
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ROZNOVAK, JERI                       ROZO, GEORGE                          ROZO, NICOLE
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ROZON, MICHELINE                     ROZRAN, MEAGAN                        ROZYCKI, BOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ROZYCKI, ELIZABETH                   ROZYCKI, LINDSAY                      ROZYCKI, STEPHANIE
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ROZYNSKI, MARGARET                   ROZZA, NICHOLAS                       ROZZI, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROZZI, BRIANNA        Case 22-11238-LSS
                                     ROZZISI,Doc 2 Filed 11/30/22
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                                                                             ROZZONI, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RP & ASSOCIATES, INC.                RPM PARKING                             RR DONNELLY LOGISTICS SERVICES
2205 PACIFIC COAST HIGHWAY           ADDRESS UNAVAILABLE AT TIME OF FILING   WORLDWIDE, INC
HERMOSA BEACH, CA 90254                                                      PO BOX 932721
                                                                             CLEVELAND, OH 44193




RSL HOLDINGS, LLC (DBA LIPMAN        RUAN, OLIVIA                            RUANO, DIANA
BROTHERS, LLC)                       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
2815 BRICK CHURCH PIKE
NASHVILLE, TN 37207




RUANO, FRANCIS                       RUANOVA, DENNIS                         RUARK, CHRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUBACH, KRISTIN                      RUBACK, ROSE                            RUBAII, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUBALCABA, JOANNA                    RUBALCABA, RUDY                         RUBALCAVA, CRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUBALCAVA, EILEEN                    RUBANO, CHARLENE                        RUBATINO, MARILANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUBBELKE, MELLISSA                   RUBBERSTAMPS NET                        RUBE, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




RUBEGA, BOB                          RUBEK, JENNIE                           RUBEL, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUBEN ACOSTA                         RUBEN, ANDREW                           RUBENACKER, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
RUBENDUNST, ANNIE     Case 22-11238-LSS
                                     RUBENS,Doc  2 Filed 11/30/22
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                                                                           RUBENSTEIN, HARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBENSTEIN, HILLARY                  RUBENSTEIN, LIZZIE                     RUBENSTEIN, REBEKAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBESNE, KAREN                       RUBEY, JOHN                            RUBICON TALENT, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         69 PINE GROVE
                                                                            SUMMIT, NJ 07902




RUBIN, ALEX                          RUBIN, ALYSE                           RUBIN, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIN, ANNA                          RUBIN, CAROLINE                        RUBIN, DANNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIN, DAVID                         RUBIN, DAVID                           RUBIN, EVIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIN, JAYNA                         RUBIN, JENNIFER                        RUBIN, JODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIN, JULIE                         RUBIN, KENNETH                         RUBIN, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIN, LAUREN                        RUBIN, LINDSAY                         RUBIN, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIN, SAMANTHA                      RUBIN, SAMUEL                          RUBIN, SHELLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RUBIN, STEPHANIE      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RUBIN, STEVE                     Page 4272  of 5495
                                                                           RUBINELLI, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBINO, ADELINE                      RUBINO, ANTHONY                        RUBINO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBINO, ELIZABETH                    RUBINO, JOSEPH                         RUBINO, MALENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBINO, MARIA                        RUBINO, NICOLE                         RUBINO, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBINO-BRADWAY, CAITLEN              RUBINOW, AMANDA                        RUBINOWITZ, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBINSKY, SCOTT                      RUBINSTEIN, CASSIE                     RUBINSTEIN, ELAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBINSTEIN, MABEL                    RUBINSTEIN, MICHELLE                   RUBIO, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIO, CONNIE                        RUBIO, DEVIN                           RUBIO, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIO, LEONARDO                      RUBIO, TARYN                           RUBIO, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUBIO, VERONICA                      RUBIO-LANDEROS, JOANNA                 RUBIS, SABRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RUBISH, NORA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RUBLE, MAMIE                     Page 4273
                                                                           RUBLE, of 5495
                                                                                  MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUBLE, NICHOLAS                      RUBLE, REBEKAH                        RUBLEE, HAYLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUBNER, BETSY                        RUBOTTOM, JAY                         RUBSTELLO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUBTSOVA, SVETLANA                   RUBY BANIPAL                          RUBY THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUBY, ANDREA                         RUBY, JODIE                           RUCCIO, NIKELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUCH, BETHANY                        RUCH, MELISSA                         RUCHEFSKY, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUCHIKA, FNU                         RUCHLICKI, BRITTANY                   RUCHLICKI, JESSIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUCHTE, ASHLEY                       RUCINSKI, JENNIFER                    RUCINSKY, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUCINSKY, THOMAS                     RUCK, ERIC                            RUCK, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUCKER, JEAN                         RUCKER, JOHN                          RUCKER, JULIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUCKER, KADIE         Case 22-11238-LSS
                                     RUCKER,Doc 2 Filed 11/30/22
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                                                                           RUCKER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUCKER, NEGEST                       RUCKER, REBECCA                       RUCKER, ROBYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUCKER, TALIA                        RUCKER, TODD                          RUCKER-VIEIRA, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUCKMAN, MEGAN                       RUCKS, CHARLES                        RUD, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDA, BRYAN                          RUDA, ERIK                            RUDA, NADIIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDAR, MOLLY                         RUDAS, CARLOS                         RUDASILL, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDAY, JESSICA                       RUDD, CAIT                            RUDD, CAIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDD, EMILIE                         RUDD, EMMABELLA                       RUDD, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDD, REANNE                         RUDD, ROBIN                           RUDD, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDD, SHARON                         RUDDER, NANCY                         RUDDER, VICKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUDD-GREGORY, MARIE   Case 22-11238-LSS    Doc
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                                                                           RUDDY,of 5495
                                                                                  ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDDY, BETSY                         RUDDY, KAITLIN                        RUDDY, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDDY, PAIGE                         RUDE, BRYAN                           RUDE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDE, KAYLA                          RUDE, TIM                             RUDEEN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDELIS, ALYSSA                      RUDENAUER, KRISTEN                    RUDENICK, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDENKO, OKSANA                      RUDENKO, OKSANA                       RUDER - MOKRAUER, TOM & NANCIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDER, CHRIS                         RUDER, ELIZA                          RUDIN, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDINO, MANOAH                       RUDISEL, LISA                         RUDISH, CINDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDISILL, KELSEY                     RUDMAN, ELLIS                         RUDNIANYN, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUDNIANYN, TODD                      RUDNICK, JENNIFER                     RUDNICKI, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUDOI, STANISLAV      Case 22-11238-LSS
                                     RUDOLF,Doc  2 Filed 11/30/22
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                                                                           RUDOLPH   MAGNUSON III
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUDOLPH J GRAY III                   RUDOLPH TOMONORI VALENTA               RUDOLPH, ART
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUDOLPH, BIANCA                      RUDOLPH, BROOKS                        RUDOLPH, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUDOLPH, FREDERICK                   RUDOLPH, GABE                          RUDOLPH, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUDOLPH, LEXI                        RUDOLPH, LINDA                         RUDOLPH, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUDOLPH, MICHELLE                    RUDOLPH, NASHEENA                      RUDOLPH, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUDOLPH, ROCHELLE                    RUDOLPH, SADIE                         RUDOWITZ, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUDY, MARIANNE                       RUDY, MELISSA                          RUDY, MELODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUDY, MICHELLE                       RUDYM, LANA AND VLAD                   RUDZINSKI, CHRISTINE
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RUDZONIS, ROBERT                     RUE, RYAN                              RUEBLE, REBECCA
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RUEBUSCH, BOB         Case 22-11238-LSS    Doc
                                     RUECKER,    2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUEDA, ROSCIO                        RUEDA, TERESA                         RUEDLINGER, NICK
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RUEFENACHT, STEPHANIE                RUEFLE, PATTY                         RUEGAMER, MARY
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RUEGGE, KRISTIN                      RUEGGER, EMMA                         RUEGGER, KIMBERLY
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RUEHLE, KRISTIN                      RUEL, KRISTEN                         RUEL, MICHAEL
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RUELAN, KEITH                        RUENES, MARCELA                       RUESCH, AMANDA
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RUESCH, HAILEY                       RUESCH, KEVIN                         RUESCH, MEG
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RUESCH, MEGHAN                       RUESINK, CAROL                        RUESTMAN, TRACY
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RUETH, EMILY                         RUF, CYNTHIA                          RUFA, ANNE
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RUFARO, NKENGE                       RUFENER, KARA                         RUFF, ANALISA
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RUFF, CAILIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RUFF, CARLA                      Page 4278   of 5495
                                                                           RUFF, KELLY
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RUFF, KRISTY                         RUFF, LAUREN                          RUFF, MADELYNE
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RUFF, MARY                           RUFF, TARA                            RUFFATTI, DAWN
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RUFFCORN, TYLER                      RUFFIN, JESSICA                       RUFFIN, JYOTI
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RUFFIN, RASHIDA                      RUFFIN, SHANIESE                      RUFFING, CHRISTINE
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RUFFING, JARED                       RUFFKESS, ABBY                        RUFFNER, SEAN
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RUFFRAGE, CHRISTINE                  RUFINA HERNANDEZ                      RUFUS JENNINGS
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RUFUS, RACHEL                        RUGART, PAULINA                       RUGE, KATE
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RUGER, ARLETTY                       RUGGERI, BRUCE                        RUGGERI, CHRISTINE
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RUGGERI, ERI                         RUGGERI, JEANINE                      RUGGERI, NATALIE
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RUGGERI, RENEE        Case 22-11238-LSS    Doc
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RUGGIERI, GINA                       RUGGIERI, MADISON                     RUGGIERI, MARISSA
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RUGGIERO, ADAM                       RUGGIERO, BRIAN                       RUGGIERO, LISA
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RUGGIERO, LOUIS                      RUGGIERO, MARISA                      RUGGIERO, MARISSA
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RUGGIERO, MARYELLEN                  RUGGIERO, MEGAN                       RUGGIERO, NICOLE
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RUGGIERO, TINA                       RUGGLES, BRITTANY                     RUGGLES, JORDAN
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RUGGLES, KRISTA                      RUGGLES, LEIGHANN                     RUGGLES, SUZANNE
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RUGGLES, TAYLOR                      RUGLOSKI, AMANDA                      RUGOVA, ADRIAN
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RUH, SARAH                           RUHALTER, PERNILLE                    RUHBUSCH, ASHLEY
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RUHE, EMILY                          RUHLAND, SARAH                        RUHLMAN, JILL
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RUHLMAN, MEGAN        Case 22-11238-LSS
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                                                                           RUHUMURIZA, SETH
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RUI COUTO                            RUI COUTO                             RUIBAL, SAMANTHA
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RUIVIVAR, YVONNE                     RUIZ MARTINEZ, SILVIA                 RUIZ, ABIGAIL
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RUIZ, ALEJANDRA                      RUIZ, ANA                             RUIZ, ANABEL
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RUIZ, ANABELA                        RUIZ, ANGELA                          RUIZ, ANTO
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RUIZ, ASHLEY                         RUIZ, ASHLEY                          RUIZ, CATHLEEN
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RUIZ, CHARLENE                       RUIZ, CHRISTINA                       RUIZ, CLAIRE
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RUIZ, DAFNE                          RUIZ, EDWIN                           RUIZ, ELDA
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RUIZ, ENRIQUE                        RUIZ, ETHAN                           RUIZ, FABIOLA
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RUIZ, FRANCISCO                      RUIZ, HERMES                          RUIZ, ISABELLA
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RUIZ, JENNIFER        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     RUIZ, JENNIFER                   Page 4281   of 5495
                                                                           RUIZ, JESSICA
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RUIZ, JUAN                           RUIZ, KARINA                          RUIZ, KARLA
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RUIZ, KELLY                          RUIZ, LAUREN                          RUIZ, LAYKEN
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RUIZ, MABEL                          RUIZ, MAELING                         RUIZ, MALENA
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RUIZ, MARIE                          RUIZ, MARILYN                         RUIZ, MCKENZIE
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RUIZ, NATALIE                        RUIZ, NICOLAS                         RUIZ, NICOLE
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RUIZ, OSCAR                          RUIZ, PAULETTE                        RUIZ, PETER
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RUIZ, ROBERTO                        RUIZ, SERGIO                          RUIZ, SHARON
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RUIZ, SHARON                         RUIZ, STEFANY                         RUIZ, STEPHANIE
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RUIZ, STEPHANIE                      RUIZ, STEPHANIE                       RUIZ, THERESA
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RUIZ, VANESSA         Case 22-11238-LSS     DocMARIELA
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RULE, AMIE                           RULE, KELSEY                          RULE, LEXI
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RULE, MELISSA                        RULE, NICOLE                          RULETTE MAPP
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RULEY, MARGARET                      RULIS, KYLE                           RULLAN, JOSEPHINE
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RULLAN, MARIO                        RULLI, MEGAN                          RULLO, MIRELLA
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RULON, DENINE                        RUM, ELYSE                            RUMA ASHWIN MCCOURT
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RUMAGE, SHANNON                      RUMAKER, COLLEEN                      RUMBAITIS, ARVID
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RUMBAUGH, ANDREA                     RUMBAUGH, HEATHER                     RUMBAUGH, INGRID
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RUMBECK, TREVA                       RUMBELOW, HANNAH                      RUMBERGER, PAIGE
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RUMBIAK, SERLI                       RUMBLE, DANAH                         RUMBLES, MINDI
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RUMERY, ASHLEY        Case 22-11238-LSS    Doc
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                                                                           RUMINSKI, BRIANNA
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RUMINSKI, ROXANNE                    RUMLEY, MICHELLE                       RUMMAGE, JOHN
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RUMMEL, KATIE                        RUMMEL, KATIE                          RUMMELL, JUDY
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RUMMELL, JULIANNE                    RUMORO, SHEA                           RUMP, SHAWNIE
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RUMPCA, OLIVIA                       RUMPF, JACOB                           RUMPH, SHEKA
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RUMSEY, BRIANA                       RUMSEY, LYNDON                         RUMSEY, TAYLOR
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RUMSKI, KATHLEEN                     RUNA, KIRSTIN                          RUNCKEL, ALISHA
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RUNDBERG-VILLA, MOLLY                RUNDE, ELIZABETH                       RUNDE, KIM
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RUNDE, MISSY                         RUNDELL, JOHN                          RUNDLE, BRIAN
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RUNDLE, KATLYNE                      RUNDLES, MEGEN                         RUNES, MAXWELL
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RUNEVITCH, JAMIE      Case 22-11238-LSS
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RUNION, MINDY                        RUNION, PRISCILLA                     RUNK, ANDREA
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RUNKEL, KATIE                        RUNNELS, RATONIA                      RUNNELS, TERRENCE
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RUNNELS, TRAVIS                      RUNNER, JUSTIN                        RUNNING, ELISE
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RUNOLFSDOTTIR, RENEE                 RUNOLFSSON, SAMIR                     RUNQUIST JOSEPH, KARLA
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RUNQUIST, JANE                       RUNQUIST, JAY                         RUNTAS, KAILEY
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RUNTSCH, ANN                         RUNYAN, ADAM                          RUNYAN, CHRISTINA
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RUNYAN, DEBRA                        RUNYAN, JERRY                         RUNYAN, KATIE
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RUNYARD, ALEXANDRA                   RUNYON, AMANDA                        RUNYON, CATHERINE
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RUNYON, RENATE                       RUNYON, SANDY                         RUO, OLIVER
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RUOCCO, KATE          Case 22-11238-LSS
                                     RUOKIS,Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUOTOLO, BRANDON                     RUOTOLO, GINA                          RUP, DYLAN
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RUPANI, NATASHA                      RUPARELIA, AJAI                        RUPELLI, DEANNA
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RUPERT, KAREN                        RUPIPER, ANN                           RUPNICK, SADIE
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RUPP, CHRISTA                        RUPP, CHRISTINA                        RUPP, COLLEEN
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RUPP, DEBRA                          RUPP, DIANA                            RUPP, ERICHA
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RUPP, JOHN                           RUPPE, CYNDI                           RUPPECK, JESSICA
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RUPPEL, BRYAN                        RUPPENTHAL, VERONICA                   RUPPERT, JULIA
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RUPPERT, KASEY                       RUPPERT, LAUREN                        RUPPERT, NICKI
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RUPRECHT, KAITLIN                    RUPRECHT, ROBERT                       RUPSCH, KELSEY
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RURANGWA, RAISSA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RUSAY, DANIELLE                    Page 4286
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RUSCH, CANDICE                       RUSCHELL, BARBARA                       RUSCHELL, JENIFER
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RUSCHELL, KYLE                       RUSCHIONI, JANEAN                       RUSCH-MICHENER, LORRAINE
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RUSCIANO, BRYAN                      RUSCITTI, TULLIO                        RUSCITTI, VINNIE
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RUSCITTO, ASHLEY                     RUSCKOWSKI, ROBYN                       RUSEK, DAWN
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RUSEN, SUSAN                         RUSH STREET                             RUSH WINES
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                                                                             WEST IRONDALE BIRMINGHAM, AL 35210




RUSH, ALEXANDRA                      RUSH, ALEXIS                            RUSH, ALLISON
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RUSH, ANDREA                         RUSH, BETTY ANN                         RUSH, CEDAR
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RUSH, CLAIRE                         RUSH, DEBORAH                           RUSH, EMILY
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RUSH, JAMES                          RUSH, JESSICA                           RUSH, JESSICA
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RUSH, KAYLA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RUSH, KYLE                       Page 4287  of 5495
                                                                           RUSH, KYNNDRA
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RUSH, LIZA                           RUSH, MCKINLEY                        RUSH, MELISSA
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RUSH, MIRANDA                        RUSH, MISTY                           RUSH, NANCY
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RUSH, SHARITA                        RUSH, STEPHANIE                       RUSH, WINTER ROSE
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RUSH-DE ANDA, KRISTEN                RUSHEFSKI, RENEE                      RUSHER, ELIZABETH
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RUSHIN, MORGAN                       RUSHING, DILLON                       RUSHING, ELIZABETH
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RUSHING, ERIN                        RUSHING, LINDSEY                      RUSHING, MOLLIE
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RUSHING, OSULA                       RUSHMAN, KELLY                        RUSHNOCK, LILLIAN
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RUSHTON, DAX                         RUSHTON, KRYSTAL                      RUSIAN, RACHEL
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RUSIGNUOLO, MARYANN                  RUSIN, KARA                           RUSINCOVITCH, CYNTHIA
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RUSKA, JD             Case 22-11238-LSS
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RUSKIN, DINA                         RUSMISELL, JOY                        RUSNACK, KELSEY
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RUSNAK, ROBERT                       RUSNELL, ALEXANDRIA                   RUSS, ABEL
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RUSS, ALEXIS                         RUSS, ANNE                            RUSS, BELINDA
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RUSS, CAROL                          RUSS, KYLEIGH                         RUSS, NAPOLEON
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RUSS, SARAH                          RUSSAKOW, JAIME                       RUSSCO
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RUSSEL LEE MANN III                  RUSSEL SAFRAN                         RUSSEL, KAMMIE
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RUSSEL, MAKAYLA                      RUSSELL ALLEN PARR                    RUSSELL BROWN, TAMAR
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RUSSELL GRAF                         RUSSELL J GRAF                        RUSSELL JOHN FLOYD
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RUSSELL JOHN GOLISH                  RUSSELL K OKU                         RUSSELL S COCHRAN
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RUSSELL ZAGER         Case 22-11238-LSS    Doc
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RUSSELL, AMANDA                      RUSSELL, AMANDA                       RUSSELL, AMY
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RUSSELL, AMY                         RUSSELL, ANDREW                       RUSSELL, ANTOINE
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RUSSELL, ARYCK                       RUSSELL, BARRY                        RUSSELL, BELINDA
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RUSSELL, BEN                         RUSSELL, BETHANY                      RUSSELL, BRANDI
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RUSSELL, BREE                        RUSSELL, BRITTANY                     RUSSELL, BRITTANY
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RUSSELL, CARLEY                      RUSSELL, CHERI                        RUSSELL, CHERYL
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RUSSELL, CHLOE                       RUSSELL, CHRISTINE                    RUSSELL, CONEE
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RUSSELL, CONEE                       RUSSELL, CORDELIA                     RUSSELL, DANIEL
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RUSSELL, DAWN                        RUSSELL, DEBRA                        RUSSELL, DESSARAE
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RUSSELL, E. ANNIE     Case 22-11238-LSS    Doc
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RUSSELL, ELSBETH                     RUSSELL, EMILY                        RUSSELL, ERICKA
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RUSSELL, HALEY                       RUSSELL, IDA                          RUSSELL, JAIME
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RUSSELL, JAIMI                       RUSSELL, JEANNETTA                    RUSSELL, JENNA
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RUSSELL, JENNI                       RUSSELL, JENNIFER                     RUSSELL, JENNIFER
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RUSSELL, JENNIFER                    RUSSELL, JENNIFER                     RUSSELL, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, JETTA                       RUSSELL, JOSEPH                       RUSSELL, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, JUSTINE                     RUSSELL, KAREN                        RUSSELL, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, KATRINA                     RUSSELL, KEANNETTE                    RUSSELL, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, KIM                         RUSSELL, KRISTEN                      RUSSELL, LANH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUSSELL, LAURA        Case 22-11238-LSS    Doc
                                     RUSSELL,    2 Filed 11/30/22
                                              LAUREN                  Page 4291 of LISA
                                                                           RUSSELL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, LORNA                       RUSSELL, LYN                          RUSSELL, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, MACKENSIE                   RUSSELL, MADELINE                     RUSSELL, MARSHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, MARTHA                      RUSSELL, MARY                         RUSSELL, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, MEGHAN                      RUSSELL, MELLISA                      RUSSELL, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, MICHAELA                    RUSSELL, MICHELLE                     RUSSELL, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, MORGAN                      RUSSELL, NATALIE                      RUSSELL, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, PAIGE                       RUSSELL, PAT                          RUSSELL, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, PERIAN                      RUSSELL, ROBIN                        RUSSELL, RUTH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSELL, SARAH                       RUSSELL, SCOTT                        RUSSELL, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUSSELL, SHEILA       Case 22-11238-LSS    Doc
                                     RUSSELL,    2 Filed 11/30/22
                                              SHELLEY                   Page 4292 of T.G.
                                                                             RUSSELL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUSSELL, TAYLOR                      RUSSELL, TYLER                          RUSSELL, VILARDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUSSELL, WENDY                       RUSSELL, WHITNEY                        RUSSELL, WYATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUSSELL, ZACHARY                     RUSSELL-BENOIT, ETHAN                   RUSSETT, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUSSETTE, KATHRYN                    RUSSI - FRANK MARESCA, ALEJANDRA        RUSSIAN RIVER BREWING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




RUSSIN, DORIS                        RUSSIN, KAYLA                           RUSSO, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUSSO, ALLISON                       RUSSO, ALPHONSE                         RUSSO, ALYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUSSO, ANGEL                         RUSSO, ANNA                             RUSSO, ART
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUSSO, ASHLEY                        RUSSO, ATHENA                           RUSSO, BMR36CAM.AC.UK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUSSO, CARMELA                       RUSSO, CHERYL                           RUSSO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
RUSSO, CHRISTINE      Case 22-11238-LSS
                                     RUSSO, Doc
                                            DANA 2   Filed 11/30/22   Page 4293
                                                                           RUSSO,of 5495
                                                                                  DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO, EVAN                          RUSSO, GEENA                          RUSSO, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO, HEATHER                       RUSSO, JACQUELINE                     RUSSO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO, JESSICA                       RUSSO, KAREN                          RUSSO, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO, LISA                          RUSSO, LUCIANO                        RUSSO, MADELEINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO, MARGOT                        RUSSO, MARIA                          RUSSO, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO, MELISSA                       RUSSO, MICHAEL AND SUSAN              RUSSO, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO, MICHAEL                       RUSSO, NICOLE                         RUSSO, NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO, ROBBIE                        RUSSO, SARAH                          RUSSO, STEFANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSSO-ALESI, ROBIN                   RUSSO-AMARAL, MARIA                   RUSSONIELLO, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUSSO-PITSTICK, CARMELACase 22-11238-LSS    Doc 2 ALEXANDRA
                                      RUSS-STEFANCIC, Filed 11/30/22     Page 4294   of 5495
                                                                              RUST, COURTNEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




RUST, DENISE                            RUST, ELAINE                          RUST, GAIL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUST, JAMEE                             RUST, JULIE                           RUST, KERSTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUST, MEGAN                             RUST, MICHAEL                         RUST, WILLIAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSTAD, BRITTANY                        RUSTAD, LYNNE                         RUSTAM, RHONDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSTIC INN                              RUSTIGAN, JACCI                       RUSTIN JOHN PARTOW
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSTIN, BRIN                            RUSTUM, AHREEA                        RUSZ, CHANTEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUSZEL, ANGELA                          RUT, STEPHEN                          RUTAN, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTAN, VALERIE                          RUTECKI, JARED                        RUTENBAR, ANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTH LARGAESPADA                        RUTH MCGUIRE                          RUTH, CAROL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUTH, CASSANDRA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RUTH, DANIEL                     Page 4295   of 5495
                                                                           RUTH, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTH, JERRY                          RUTH, KIRK                            RUTH, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTH, LUCAS                          RUTH, MELISSA                         RUTH, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTH, PEGGY                          RUTH, TORI                            RUTH, TRISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTHARDT, TAYLOR                     RUTHART, CHELSEA                      RUTHENBERG, ALVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTHER, KENNETH                      RUTHERFORD, AMANDA                    RUTHERFORD, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTHERFORD, ARIANA                   RUTHERFORD, BRIDGET                   RUTHERFORD, DAILYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTHERFORD, DANIELLE                 RUTHERFORD, GYIMIL                    RUTHERFORD, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTHERFORD, KELLY                    RUTHERFORD, LAUREN                    RUTHERFORD, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTHERFORD, MATT                     RUTHERFORD, PAIGE                     RUTHERFORD, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUTHERFORD, VALERIE   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RUTHIE JOYNER                       Page 4296 of 5495
                                                                              RUTHMAN, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




RUTIGLIANO, JIM                         RUTKOFSKE, LONNIE                     RUTKOWSKI, JOANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTLAND, HARLEE                         RUTLEDGE, ESTHER                      RUTLEDGE, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTLEDGE, ROB                           RUTLEDGE, SKYE                        RUTLEDGE, SYDNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTLEDGE, TIA                           RUTLEY, CLAUDIA                       RUTSCHMAN, ECHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTSCHMAN, KELLY                        RUTT, CHARLES                         RUTT, NEVIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTTA, TANYA                            RUTTE, RUTH                           RUTTEN, KYLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTTER, CHELSEA                         RUTTER, COURTNEY                      RUTTER, JAYME
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTTER, MADDY                           RUTTI, KAITLIN                        RUTTLE, ROBIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RUTTS CATERING                          RUTZ, LEAH                            RUTZLER, ASHLEY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RUVALCABA, CHRISTINA  Case 22-11238-LSS    DocCHRISTINA
                                     RUVALCABA, 2 Filed 11/30/22      Page 4297 of 5495
                                                                           RUVALCABA, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUVALCABA, OSCAR                     RUVALCABA, OSCAR                       RUVO, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUVOLO, TRACEY                       RUX, LEXY                              RUYACK, LANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUYLE, ELIZABETH                     RUYS, GAIL                             RUZANNA AVAKYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUZEK, MARIE                         RUZIC, LONNIE                          RUZIC, RONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RUZICKA, CHUCK                       RUZIECKI, MORGAN                       RWARAMBA, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RWI LOGISTICS LLC                    RWI LOGISTICS LLC                      RYAL, MOLLY
8 PLUM STREET                        P.O. BOX 638717                        ADDRESS AVAILABLE UPON REQUEST
WILDER, KY 41076                     CINCINNATI, OH 45263




RYALS, ARLINDA                       RYALS, KARINA                          RYAN A JONES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RYAN ALAN NOLAN                      RYAN BROWN                             RYAN CASAO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




RYAN CHRISTOPHER HEITZ               RYAN CROW                              RYAN D HOLT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
RYAN DALEY            Case 22-11238-LSS    DocWILSON
                                     RYAN DAVID 2 Filed 11/30/22      Page 4298  of 5495
                                                                           RYAN DOLOR GARAYGAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN FRANZER                         RYAN HANSON                           RYAN HEGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN HENRY                           RYAN HOPPE                            RYAN JONES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN KYLE MCCRIMMON                  RYAN LAPERLE                          RYAN LEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN LOCKE                           RYAN LYK                              RYAN LYNCH, BAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN LYTLE                           RYAN MACGAVIN                         RYAN MCFARLANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN MCGURL                          RYAN MCKINSTRIE                       RYAN MICHAEL COHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN MURRAY MCIVOR                   RYAN OVERHISER                        RYAN PATRICK MURPHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN REUSCH                          RYAN RIKIO UYEHARA                    RYAN SHEFFIELD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN SHERIDAN                        RYAN SMITH                            RYAN SONNTAG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RYAN VALLELUNGA       Case 22-11238-LSS    Doc BRINKERHOFF
                                     RYAN VANCE 2 Filed 11/30/22      Page 4299  of 5495
                                                                           RYAN VET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN W GIERTZ                        RYAN WAYNE WINTERS                    RYAN WELLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN WHITE                           RYAN YUKIO NAKAIMA                    RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, AIDAN                          RYAN, ALAYNA                          RYAN, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, ALLISON                        RYAN, ALLISON                         RYAN, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, AMY                            RYAN, ANNA                            RYAN, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, ASHLEY                         RYAN, AVERY                           RYAN, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, BETSY                          RYAN, BETTY                           RYAN, BRADLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, BRIDGET                        RYAN, BRITTNEY                        RYAN, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, BROOKE                         RYAN, CAITLIN                         RYAN, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RYAN, CAROLINE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RYAN, CARRIE                     Page 4300  of 5495
                                                                           RYAN, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, CHRISTINE                      RYAN, COLLEEN                         RYAN, CONNOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, CONOR                          RYAN, CONSTANCE                       RYAN, COTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, DANA                           RYAN, DANIELLE                        RYAN, DANNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, DEB                            RYAN, DEBRA                           RYAN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, ELIZABETH                      RYAN, EMMA                            RYAN, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, FALLON                         RYAN, FRANCIS                         RYAN, GEORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, GERILYN                        RYAN, GLEN                            RYAN, GRADY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, HALLIE                         RYAN, JACK                            RYAN, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, JACOB                          RYAN, JAIME                           RYAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RYAN, JENNIFER        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RYAN, JESSICA                    Page 4301   of 5495
                                                                           RYAN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, JESSICA                        RYAN, JOHN                            RYAN, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, JULIE                          RYAN, JULIE                           RYAN, KARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, KATE                           RYAN, KATHERINE                       RYAN, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, KATHLEEN                       RYAN, KATHREEN                        RYAN, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, KATIE                          RYAN, KELLY                           RYAN, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, KIM                            RYAN, KYLE                            RYAN, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, LAURA                          RYAN, LAUREN                          RYAN, LEWIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, LINDSAY                        RYAN, LINDSAY                         RYAN, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, MARGARET                       RYAN, MARISSA                         RYAN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RYAN, MARYKAY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RYAN, MATT                       Page 4302  of 5495
                                                                           RYAN, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, MEGAN                          RYAN, MEGAN                           RYAN, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, MELISSA                        RYAN, MICHAEL                         RYAN, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, NAT                            RYAN, NATALIE                         RYAN, NATHALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, NICOLA                         RYAN, PAMELA                          RYAN, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, PATRICK                        RYAN, PAULINE                         RYAN, PEYTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, RACHAEL                        RYAN, RACQUEL                         RYAN, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, ROBERT                         RYAN, RONAN                           RYAN, ROSEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, SANDRA                         RYAN, SARAH                           RYAN, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, SEBASTIAN                      RYAN, SHAWNA                          RYAN, SOCORRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RYAN, SPENCER         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RYAN, STEPHEN                    Page 4303  of 5495
                                                                           RYAN, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, TEONNA                         RYAN, TIM                             RYAN, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, TRACEY                         RYAN, TRACI                           RYAN, TRISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN, WILLIAM                        RYAN-DURSO, TIFFANY                   RYAN-HART, KERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYAN-MOSLEY, TATE                    RYANN HENDRICKSON                     RYBA, CODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYBACKI, LEANNA                      RYBAKOVA, MARIA                       RYBALKO, IVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYBCZYNSKI, KAITLYN                  RYBECK, SHOSHANA                      RYBERG, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYBERG, ROBEN                        RYBICKI, JANICE                       RYBICKI, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYCHCIK, ELIZABETH                   RYCHELE CARPENTER                     RYCHLEWSKI, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYCHLICKI, MATT                      RYCROFT, ROBERT                       RYCROFT, ROXANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RYCZEK, BILL          Case 22-11238-LSS
                                     RYCZEK,Doc  2 Filed 11/30/22
                                             NATHALIE                 Page 4304 of KOURTNI
                                                                           RYDALCH, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYDAROWSKI, DEBRA                    RYDEEN, JAMES & JUDY                  RYDEEN, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYDEEN, MATT                         RYDER, ANDREW                         RYDER, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYDER, DONNA                         RYDER, JAMES                          RYDER, KENDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYDER, MAUREEN                       RYDER, ROBERT                         RYDZA, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYDZEWSKI, ZOE                       RYE, CHELSEA                          RYE, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYE, PAYTON                          RYERSON, ANDEE                        RYERSON, FAUNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYERSON-PEAKE, DIANE                 RYF, LIANA                            RYGER-WASSERMAN, CARLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYKER, ASHLEY                        RYKER, CRYSTAL                        RYLA SIMMONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYLANCE, KATY                        RYLANDER, VERONICA                    RYLE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RYLE, RHONDA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     RYLL, MATT                       Page 4305
                                                                           RYLOV,of 5495
                                                                                 GERMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYMAN, ERIN                          RYME & VERSE                          RYME
ADDRESS AVAILABLE UPON REQUEST       PO BOX 80                             PO BOX 11106
                                     HEALDSBURG, CA 95448                  OAKLAND, CA 94611




RYMER, KRIS                          RYMUT, COLLEEN                        RYNCARZ, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYND, COURTNEY                       RYND, KRISTIN                         RYNDERS, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYNKIEWICZ 317, PATRICIA             RYNKIEWICZ, ANDREW                    RYON, JENNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




RYOU, CHRIS                          RYPIEN, MARIE                         RYPKA, DANI
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RYS, CHRIS                           RYSER, JENNIFER                       RYSKIN, ALLA
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RYSS, KRISTINA                       RYT, MARK                             RYTHER, TALIA
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RYU, HONG                            RYUN, CANDICE                         RZEMPOLUCH, ALEXIS
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RZENTKOWSKI, APRIL                   RZESZUTKO, PATRICIA                   RZEZNIK, NICOLE
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RZUCIDLO, MARY        Case 22-11238-LSS    Doc 2 LEILA
                                     RZYSKA-FILIPEK, Filed 11/30/22   Page 4306  of 5495
                                                                           S ATHREYA, JAYADEV
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S COLLINS, MARCIA                    S ERKSON, ANDREW                       S F COUNTY CLERK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




S JAPPINEN, BRIAN                    S JOHNSON, PAMELA                      S KIMN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




S LINKOW, ALEX                       S MCNEELY, STEFANIE                    S RODRIGUEZ, MARIANNE
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S, A                                 S, ABHISHEK                            S, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




S, AYE                               S, BRANDON                             S, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




S, FRANCHECA                         S, HAN                                 S, JANIS
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S, JENNIE                            S, JEREMY                              S, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




S, KATIE                             S, KAYE                                S, L
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




S, LEAH                              S, LYUBOV                              S, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
S, TINA               Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     S, UMMER                         Page 4307
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




S., CHRIS                            S., GENE                              S., KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




S., RUTU                             S.A. OF WINES & BOUTIQUE INC.         S.A.S. HELICHROM
ADDRESS AVAILABLE UPON REQUEST       SUNNY ACRES, CASTRIES                 71, ROUTE DES VIGNOBLES
                                     P.O. BOX CP5430                       CRECHES SUR SAONE 71680
                                     ST. LUCIA                             FRANCE




S.S. SKIKOS, INC.                    SA, MISO                              SAAD, DIMIANA
1289 SEBASTOPOL RD.                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA ROSA, CA 95407




SAAD, MEHTAJ                         SAAD, NASTASSYA                       SAADATI, NAZANIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAAFIR, HANAN                        SAAKE, KAREN                          SAAKUAN, AGARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAALMANN, KELSEY                     SAALMULLER, KIM                       SAAM, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAAM, ELIZABETH                      SAANA INGRAM                          SAAR, ANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAARELA, KJERSTIN                    SAARI, MARJORIE                       SAAS, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAAT FAMILY TRUST                    SAATZER, RIC                          SAAV APPLIANCE INSTALLERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        SAUL QUINTERO SAMANO
                                                                           14628 POLK STREET
                                                                           SYLMAR, CA 91342
SAAVEDRA, COURTNEY    Case 22-11238-LSS    DocJOSE
                                     SAAVEDRA,  2 Filed 11/30/22      Page 4308 of 5495
                                                                           SAAVEDRA, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAAVEDRA, MELISSA                    SAAVEDRA, NATALIA                     SABA, ALIX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SABA, ALLISON                        SABA, DANNY                           SABA, JAVIER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SABANDAL, JOHN                       SABARI, KADEEM                        SABAT, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SABATAITIS, CAMILLE                  SABATE, CHEYENNE                      SABATE, MARIEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SABATELLA PITKO, LINDA               SABATELLO, NICOLE                     SABATELLO, RAYNE
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SABATES, MONICA                      SABATINI, JENNA                       SABATINI, JENNA
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SABATINO, COLLEEN                    SABATINO, DOVIANA                     SABATINO, JAMIE
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SABATOS, KATIE                       SABATTINI, JULIE                      SABEAN, STEVEN
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SABEL, KELLY                         SABELKO, AMANDA                       SABELLI, MICHAEL
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SABER ASKARI          Case 22-11238-LSS
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                                                                           SABESKY, 5495
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SABHERWAL, JUSLEEN                   SABIA, MATTHEW                        SABILIA, CINDY
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SABIN, ASHLEY                        SABIN, JAY                            SABIN, MICHAEL
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SABINA TAJIBAEV                      SABINE, MEGAN                         SABINI, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SABINO, BRIANNE                      SABIR, SIMON                          SABLE, KATHERINE
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SABLICH, ANNE                        SABLON, CRYSTAL                       SABNANI, MANISHA
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SABNIS, RUJUTA                       SABNIS, SHOBHAN                       SABO, ANNA
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SABO, CHEVI                          SABO, COURTNEY                        SABO, JANA
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SABO, JEFFREY                        SABO, JESSICA                         SABO, KATIE
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SABOE, TOM                           SABOGAL, MAURICIO                     SABOL, ALYCIA ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SABOL, ALYCIA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SABOL, AMY                          Page 4310
                                                                              SABOL, of 5495
                                                                                     BRITTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SABOL, LEE                              SABOT, ALEX                            SABOTKA, RITA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SABRA FISH GRILL                        SABRAM, TOM                            SABRINA GREGORY TURNER
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SABROWSKI, PAMELA                       SABROWSKI, SHELBY                      SABRY, KADY
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SACAWA, BRIAN                           SACCENTE, VINCENT                      SACCHETTI, JOANNE
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SACCHI, VERONICA                        SACCO, CHRIS                           SACCO, CRISTINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SACCO, FLAVIA                           SACCO, SARAH                           SACCO, SYDNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SACCOCCIO, SALVATORE                    SACH, BRIE                             SACHAN, YAMINI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SACHDEV, SACHIT                         SACHDEVA, MINAL                        SACHET, MICHELLE
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SACHETI, ROHIT                          SACHIN NATARAJ                         SACHLEBEN, PIA
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SACHS, AMANDA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           SACHS,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SACHS, JOSEPH                        SACHS, KATHERINE                      SACHS, MICHELLE
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SACHS, MICHELLE                      SACHS, NAOMI                          SACHSE, ERICA
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SACHSE, KATE                         SACHTLEBEN, KELCEE                    SACIKARA, EGE
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SACK, ELIZABETH                      SACK, LAUREN                          SACK, LEEANN
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SACK, LUCI                           SACK, RYAN                            SACKETT, CANDACE
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SACKETT, CANDACE                     SACKPASEUTH, KEVIN                    SACKS, ALLISON
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SACKS, DYANN                         SACKS, HEATHER                        SACKS, JOHN OR VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SACRISTE, KATHARINE                  SACULLA, ANNETTE                      SADAK, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SADANG, KEVIN                        SADDIK, YVETTE                        SADDLER, AFRICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SADDLER, AMY          Case 22-11238-LSS    Doc 2 JANET
                                     SADDLER-SUREL,  Filed 11/30/22   Page 4312 of SETARE
                                                                           SADEGHI, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SADEK, ENGY                          SADEK, MANNY                          SADETSKY, DANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SADIE ANN HOOKER                     SADIK, DREW                           SADIK, HIRADEAN
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SADIQ, NAIMA                         SADLEK, KASSANDRA                     SADLER, ANNA
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SADLER, BRIAN                        SADLER, CARRIE                        SADLER, ERICA
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SADLER, KAT                          SADLER, KELLI                         SADLER, KELLY
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SADLER, KERRIE                       SADLER, LEIGHA                        SADLER, SARAH
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SADLER, STACEY                       SADLER, TERRI                         SADLER, WILLIAM
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SADLOWSKI, MICHELLE                  SADOCK, AARON                         SADOVA, ANYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SADOVSKY, NETTA                      SADOWL, REILLY                        SADOWSKI, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SADOWSKI, ALISON      Case 22-11238-LSS    DocKAITLIN
                                     SADOWSKI,  2 Filed 11/30/22           Page 4313 of 5495
                                                                                SADOWSKY, KARLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




SADRI, AMIR                             SAEED, HEATHER                          SAEEDI, LENA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SAEKS, RANDY                            SAELENS, AUBREY                         SAELI, AMBER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SAENGER, CARL                           SAENZ, BEATRIZ                          SAENZ, CASSANDRA
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SAENZ, DANI                             SAENZ, JAN                              SAENZ, JOHANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SAENZ, MICHAEL                          SAENZ, SAM                              SAENZ, VALERIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SAEZ, SAINA                             SAFA, JULIE                             SAFADI, AMANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SAFANE, NINA                            SAFARI, STEPHIE                         SAFER, MARIANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SAFEWAY STORE                           SAFEWAY                                 SAFFAR, FARINOUSH
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SAFFEL, JOYCE                           SAFFELLE, MICHELE                       SAFFER, CHUCK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SAFFERT, JOSEPHINE    Case 22-11238-LSS    Doc
                                     SAFFERT,    2 Filed 11/30/22
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                                                                           SAFFIRE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAFFLE, BROOKE                       SAFFORD, AVERY                        SAFFORD, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAFFORD, MATTHEW                     SAFFRON, HENRIETTE                    SAFIANO, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAFIEDDINE, AMIRAH                   SAFIN, IREK                           SAFIRA, AYA
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SAFRAN, DAVID                        SAFRON, KATE                          SAGADA, LACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGALCHIK, CAROLINE                  SAGAN, MICHAEL                        SAGAR, KARTHIK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGAR, SONAM                         SAGARAL, POLICARPO                    SAGBAKKEN, JAKOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGE, BEVERLY                        SAGE, DAVID                           SAGE, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGE, IAN                            SAGE, KATE                            SAGE, LORRAINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGE, RACHEL                         SAGEN, REBEKAH                        SAGER, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAGER, CHELSEA        Case 22-11238-LSS
                                     SAGER, Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGER, ISAIAH                        SAGER, JESSICA                        SAGER, RON
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SAGER, SUSAN                         SAGER, VICTORIA                       SAGGIO, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGHINI, STACY                       SAGIANIS, ALEXANDRA                   SAGIL, JODI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGIL, JODI                          SAGIN,, MICHAEL                       SAGLAM, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAGLE, JENNIFER                      SAGRERA, RAPHAEL                      SAGSVEEN, MURRAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAHA, KANOKBHORN                     SAHAGUN, GENESIS                      SAHAI, VIVEK
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SAHAKIAN, CAROL                      SAHAR ESMAEELI                        SAHARSKY, PRESLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAHATDJIAN, RENEE                    SAHIBUL, ANISAH                       SAHL, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAHLI, TARA                          SAHM, MELISSA                         SAHNI, RASLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAHR, JENNIFER        Case 22-11238-LSS
                                     SAHRA SDoc  2 Filed 11/30/22
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                                                                           SAHRON  5495TTEE WEISENBERGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        SPOUSAL
                                                                           ADDRESS AVAILABLE UPON REQUEST




SAHU, PRIITI                         SAHU, PRIITI                          SAI SAMPURNA KOMERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAIA, DIANE PONTE                    SAIB, ALICIA                          SAID, MONA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAIERS, SHANNON                      SAIEWITZ, AMANDA                      SAIGAL, ADYA
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SAIKHON, TIANA                       SAILE, HEIDI                          SAILER, RACHEL
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SAILESH PAUL JOSEPH PERINGATT        SAILMAN, GINA                         SAILORS, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAILORS, JILL                        SAILTHRU INC                          SAIN, BRANDI
ADDRESS AVAILABLE UPON REQUEST       160 VARICK ST. 12TH FLOOR             ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10013




SAINS, AMANDA                        SAINT JAMES, CHELSEA                  SAINT VIL, TAYISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAINT, FELICE                        SAINT, MIKE                           SAINTE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAINTILUS-ALCE, MIRIELLE             SAINTILUS-ALCE, MIRIELLE              SAINT-JACQUES, KORALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAINT-LOUIS, LAUREN   Case 22-11238-LSS     Doc RUDJY
                                     SAINTPHARD, 2 Filed 11/30/22     Page 4317   of 5495
                                                                           SAINZ, BLAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAIONZKOWSKI, ROBIN                  SAIRAM MANDALIKA                      SAIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SAISI, STEPHEN                       SAITO, BRENDA                         SAITO, SHIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAITTA, MACKENZIE                    SAIZ, ISABELLA                        SAIZ, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAIZAN, AUTUMN                       SAJDAK, KARA                          SAJESKI, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAJEWSKI, GAIL                       SAJONIA, ISABELLE                     SAJOVEC, SOPHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAK, VALERIE                         SAKAI, TERESA                         SAKAKEENY, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAKAL, DAVID                         SAKAMOTO, APRIL                       SAKAMOTO, HANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAKAS, ZOE                           SAKAYAN, ANNIE                        SAKAYAN, SONA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAKDALAN, ASHLEY                     SAKDALAN, MATT                        SAKER, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAKHAI, THYDA         Case 22-11238-LSS    DocRICHARD
                                     SAKHAROFF, 2 Filed    11/30/22
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                                                                           SAKI, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAKOFS, ROBIN                        SAKS, MEGAN                            SAKS, SHARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAKSA, TAMELA                        SAKSEN, ALEXANDER                      SAKSENA, MRIGANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAKSON, EMMA                         SAKYI, ERNEST                          SALA, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALA, ELIZABETH                      SALA, KELLY                            SALA, KRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALAAL INVESTMENT NO. 1 LP           SALAAM, CHRISTINA                      SALADINO, KRISTEN
4910 EDNA RD                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SAN LUIS OBISPO, CA 93401




SALADINO, STEPHANIE                  SALAHAIEVA, ALISA                      SALAHSHOOR, HOSSEIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALAHSHURIAN, ERIN                   SALAI, ALEXANDRA                       SALAK, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALAK, RONALD                        SALAMACHA, MICHELLE                    SALAMANCA, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALAMANCA, CHANTELLE                 SALAMONE, ANNA                         SALAMONE, FRED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SALAMONSKA, JOANNA    Case 22-11238-LSS    Doc 2 HANNAH
                                     SALAMUNOVICH,   Filed 11/30/22   Page 4319  ofJACKIE
                                                                           SALAND,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAND, JACKIE                       SALARDA, ASTRID                       SALARY, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAS, AMBER                         SALAS, ANA                            SALAS, ANNAMARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAS, BRIANA                        SALAS, DANIELA                        SALAS, DESTINEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAS, EVELINA                       SALAS, EYLIN                          SALAS, JACOBO
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SALAS, JESSE                         SALAS, JESSICA                        SALAS, JESSIE
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SALAS, KHOOSHEH                      SALAS, LUIS                           SALAS, MADELINE
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SALAS, MICHAEL                       SALAS, MICHELLE                       SALAS, NICK
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SALAS, SANDRA                        SALAS, SCOTT                          SALAS, SHELBY
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SALAS, SUZANNE                       SALAS, YVETTE                         SALATINO PAYNE, CHLOE
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SALATINO, DIANE       Case 22-11238-LSS     Doc
                                     SALATINO,    2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAVERRIA, MARIA                    SALAWU, TOLULOPE                      SALAY, LAUREN
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SALAZAR                              SALAZAR, ARACELI                      SALAZAR, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAZAR, BRENDA                      SALAZAR, CRISTINA                     SALAZAR, ETHEL
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SALAZAR, FELICIA                     SALAZAR, FERNANDO                     SALAZAR, HALANA
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SALAZAR, INIGO                       SALAZAR, JENNIFER                     SALAZAR, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAZAR, JOSE                        SALAZAR, JOSELYN                      SALAZAR, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAZAR, JP                          SALAZAR, JUAN                         SALAZAR, KATHIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAZAR, KRUSHENKA                   SALAZAR, LAURA                        SALAZAR, LAUREN
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SALAZAR, LEANDRO                     SALAZAR, LINDSEY                      SALAZAR, LUIS
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SALAZAR, MAGGIE       Case 22-11238-LSS    Doc
                                     SALAZAR,    2 Filed 11/30/22
                                              MARIANA                 Page 4321  of MARIO
                                                                           SALAZAR, 5495
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SALAZAR, MERCEDES                    SALAZAR, NICK                         SALAZAR, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAZAR, RAVEN                       SALAZAR, RYAN                         SALAZAR, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAZAR, TERESA                      SALAZAR, VANESSA                      SALAZAR, VIVIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAZAR, WENDY                       SALAZAR, WENDY                        SALAZAR, XOCHITL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALAZAR-GARZA, DAISY                 SALCE, KATY                           SALCEDO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALCEDO, HECTOR                      SALCEDO, ILIADYS                      SALCEDO, LESLIE T.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALCEDO, MARISELA                    SALCEDO, OSWALDO                      SALCEDO, PATRICIA & LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALCIDO, ELIZABETH                   SALCIDO, KLYSNMAN                     SALCIDO, SONJA
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SALCIN, ALIJA                        SALDAMANDO, IRIS                      SALDANA, ALEANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SALDANA, GENA         Case 22-11238-LSS    Doc
                                     SALDANA, LILIA2 Filed 11/30/22   Page 4322  of MELANIE
                                                                           SALDANA, 5495
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SALDANA, STACY                       SALDANA, STEPHANIE                     SALDANA, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALDANA, TAKISHA                     SALDANHA, BRIAN                        SALDANHA, LILLIAN R.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALDARRIAGA, LAURA                   SALDEN, JAZMIN                         SALDIN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALDIVAR, AMANDA                     SALDIVAR, CARLOS                       SALDIVAR, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALDIVAR, SILVIA                     SALDIVAR, VRENDA                       SALDO, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALE, JAMES                          SALE, LINDSAY                          SALEH, MERIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALEH, NADIA                         SALEK, DAVID                           SALEM A GEORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALEM, JENNIFER                      SALEM, PAUL CHUNKY BEAR                SALEMI, LORENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALEMME, KERI                        SALEMO, REGINA                         SALEN, ELISABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SALERNO, ANN          Case 22-11238-LSS    Doc
                                     SALERNO,   2 Filed 11/30/22
                                              CHRISTOPHER             Page 4323  of 5495
                                                                           SALERNO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALERNO, JENNIFER                    SALERNO, SARAH                         SALES, EDUARDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALES, LANICE                        SALES, MELISSA                         SALES, SIERRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALESFORCE.COM                       SALESFORCE.COM                         SALESFORCE.COM
DBA TABLEAU SOFTWARE, LLC            DBA TABLEAU SOFTWARE, LLC              DBA TABLEAU SOFTWARE, LLC
1621 N 34TH ST                       P.O. BOX 203141                        THE LANDMARK
SEATTLE, WA 98103                    DALLAS, TX 75320-3141                  ONE MARKET STREET SUITE 300
                                                                            SAN FRANCISCO, CA 94105



SALETIS, BOZENA                      SALGADO, BIRTHDAY BOI BRANDON          SALGADO, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALGADO, CAROL                       SALGADO, CRISTIAN                      SALGADO, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALGADO, RONA                        SALGADO, SARAH                         SALGE, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALGER, SANDY                        SALGUERO, BETHANY                      SALGUERO, ELSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALGUERO, KARINA                     SALGUERO, KARINA                       SALIBA, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALIBA, MEGHAN                       SALIBA, SERENE                         SALIDO, ADRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SALIDO, VICTORIA      Case 22-11238-LSS     Doc
                                     SALIERNO,   2 Filed 11/30/22
                                               CHRIS                  Page 4324   of 5495
                                                                           SALIH, ZAK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALIM JACKSON                        SALIMAN, STEWART                      SALIN, KAYLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALINA LOPEZ                         SALINA WASHINGTON                     SALINARO, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALINAS LAND COMPANY                 SALINAS, ANAHI                        SALINAS, ANDRES
PO BOX 686                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KING CITY, CA 93930




SALINAS, BARBARA                     SALINAS, BECKY                        SALINAS, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALINAS, DELILAH                     SALINAS, DENIS                        SALINAS, DYVETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALINAS, EDDIE                       SALINAS, FRANK                        SALINAS, JESSICA
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SALINAS, JESUS                       SALINAS, JULLIA                       SALINAS, MEGAN
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SALINAS, OSIRIS                      SALINAS, THALIA                       SALINAS, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALINAS, YESLIE                      SALING, BRIAN                         SALINGER, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SALIPIDIS, LORI       Case 22-11238-LSS     Doc
                                     SALISA K.     2 Filed 11/30/22
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                                                                           SALISBURY, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALISBURY, CINDY                     SALISBURY, COURTNEY                    SALISBURY, ELORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALISBURY, JAMES                     SALISBURY, MASON                       SALISZ, JAY
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SALITURE, TOM                        SALK, MARCI                            SALKIN, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALKOUTSAN, ELENA                    SALKY, ELLIE                           SALLADE, LAUREN
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SALLARD, BRYTON                      SALLAS, SHERRY                         SALLEE, CAROL ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALLEE, DEBBIE                       SALLEE, DONALD                         SALLEE, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALLEE, MICHELLE                     SALLERSON, HELENE                      SALLET, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALLEY, SHANNON                      SALLEY, STEVEN                         SALLING, RAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SALLION, STEVE                       SALLMANN, SARAH                        SALLOT, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SALLOUM, TARA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SALLY KANDEL                     Page 4326  of 5495
                                                                           SALLY MCGUIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALLY PERKINS                        SALM, BONITA                          SALM, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALM, MATTHEW                        SALMAN, PAULINE                       SALMON, ALISHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALMON, ALYSON                       SALMON, AMANDA                        SALMON, ANGIE
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SALMON, BEN                          SALMON, JESSICA                       SALMON, JOAN
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SALMON, KAREN                        SALMON, KELLY ANN                     SALMON, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALMON, MONICA                       SALMON, STACEY                        SALMONS, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALMONS, TERRA                       SALNIKOFF, NICHOLAS                   SALO, ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALO, KEITH                          SALOIS, ALYCE                         SALOIS, RACHEL
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SALOMON, EMMANUEL                    SALOMON, JESSICA                      SALOMON, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SALOMON, THOMAS       Case 22-11238-LSS    Doc 2DAVID
                                     SALOMONSKY,     Filed 11/30/22     Page 4327 ofALLEAH
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SALONICH, PAIGE                      SALOP, MARGARET                         SALOWITZ, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SALPIETRA, DOMENIC                   SALS, ALEXANDRA                         SALSBERG, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SALSBERY, KELSEY                     SALSBURY, BRIANNA                       SALSBURY, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SALSTROM, MADISON                    SALT & PEPPER GIFTS, INC.               SALT AIR
ADDRESS AVAILABLE UPON REQUEST       6040 CENTER DRIVE, SUITE 520            ADDRESS UNAVAILABLE AT TIME OF FILING
                                     LOS ANGELES, CA 90045




SALT HOUSE, LLC                      SALT MARINA DEL REY                     SALTER, AMANDA
135 N 11TH ST, STE 3J                ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
BROOKLYN, NY 11249




SALTER, DES                          SALTER, DESTINY                         SALTER, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SALTER, MELANIE                      SALTER, MELANIE                         SALTER, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SALTER, ZOE                          SALTO, AMANI                            SALTON, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SALTS CURE                           SALTSMAN, CASSANDRA                     SALTWORKS, INC.
7494 SANTA MONICA BLVD               ADDRESS AVAILABLE UPON REQUEST          16240 WOODINVLILLE REDMOND ROAD NE
WEST HOLLYWOOD, CA 90046                                                     WOODINVILLE, WA 98072
SALTYSIAK, PARKER     Case 22-11238-LSS    DocEVAN
                                     SALTZBERG, 2 Filed 11/30/22      Page 4328  of 5495LYNN
                                                                           SALTZGUEBER,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALTZMAN, PATTY                      SALTZMAN, VIRGINIA                    SALTZMAN-YOUNG, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALUGA, MARCIA                       SALUJA, REEMA                         SALUMBRE, ELEANOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALUTE, KATE                         SALUTE, MADDIE                        SALVA, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVADOR CHAVEZ-HOLZMAN              SALVADOR GONZALEZ                     SALVADOR, CARLOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVADOR, CURT                       SALVADOR, DORA                        SALVADOR, MAGHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVADORI, ANNA                      SALVAGGIO, GEMA                       SALVARAS, FAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVATI, BREIANNA                    SALVATI, KATHLEEN                     SALVATIERRA, SORAIDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVATIN, JENNA                      SALVATO, DARIO                        SALVATO, GIUSEPPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVATORE, CHELSEA                   SALVATORE, JENNA                      SALVATORE, KATRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SALVATORI, RACHEL     Case 22-11238-LSS    Doc
                                     SALVEMINI,   2 Filed 11/30/22
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                                                                           SALVESEN, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVESON, HALEY                      SALVI, EMILY                          SALVI, SATYAJEET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVI, SOPHIA                        SALVIETTI, CATHERINE                  SALVINI, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVO, JODI                          SALVO, KARA                           SALVOCH, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALVONI, JANET & FRANK               SALVUCCI, AARON                       SALVUCCI, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALYER, ANGELA                       SALZBERG, ARI                         SALZBERG, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALZGEBER, ELISABETH                 SALZL, TREY                           SALZMAN, ILANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SALZMANN, ANDREAS                    SAM HOLLOWAY                          SAM, EILEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAM, LONG                            SAMA, KATHLEEN                        SAMADDAR, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAMANIEGO, EVELYN                    SAMANIEGO, JOEL                       SAMANIEGO, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAMANIEGO, MARISA     Case 22-11238-LSS    Doc
                                     SAMANO,     2 Filed 11/30/22
                                             JULISSA                   Page 4330 of 5495
                                                                            SAMANTHA ARNOLD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMANTHA ARNSTADT                    SAMANTHA BENNS                         SAMANTHA BISSON
13206 DEWEY ST                       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90066




SAMANTHA COXE                        SAMANTHA ELIZONDO                      SAMANTHA GWAZDAUSKAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMANTHA HARGROVE                    SAMANTHA HOECHERL DESIGNS LLC          SAMANTHA HUGO
ADDRESS AVAILABLE UPON REQUEST       2455 HAMPTON BRIDGE RD                 ADDRESS AVAILABLE UPON REQUEST
                                     DELRAY BEACH, FL 11222




SAMANTHA HULL                        SAMANTHA J LEVIN                       SAMANTHA KRAHLING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMANTHA KUHN                        SAMANTHA LILES                         SAMANTHA MCCUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMANTHA PICKING                     SAMANTHA SCHLESSEL                     SAMANTHA SCHMIDT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMANTHA SPIWAK                      SAMANTHA SPIWAK                        SAMANTHA ZINK (DBA ZINK TALENT)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         13603 MARINA POINTE DR B636
                                                                            MARINA DEL REY, CA 90292




SAMANTHA ZINK (DBA ZINK TALENT)      SAMANTHA ZINK (DBA ZINK TALENT)        SAMANTHA
200 WATER STREET 3005                425 WYTHE AVE UNIT 3                   ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10038                   BROOKLYN, NY 11249




SAMANTHA, ANDREA                     SAMAR, AURORA                          SAMAR, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SAMARA, NADIR         Case 22-11238-LSS    Doc KATEY
                                     SAMARDZIJA, 2 Filed 11/30/22     Page 4331 of 5495
                                                                           SAMARJIAN, ANAHIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMAROO, ANIEL                       SAMAROO, ORISSA                        SAMAROV, MAX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMATEX LUXE HOMES INC               SAMBATARO, JENNIFER                    SAMBDMAN, JOELMA
2156 AVENIDA DEL MAR                 ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
HSE LANCASTER, CA 93535




SAMBIT MISRA                         SAMBOL, CORY                           SAMBUCO, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMBUCO, MATTHEW                     SAMCHALK, ROSS                         SAMEER GHAZNAVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMEER RAGHUVEER GUDAL               SAMEER VARUN K KOTAGIRI                SAMEK, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMELA, EMILY                        SAMELIA BROOKS                         SAMELIA YVONNE BROOKS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMELLAS, CHRISTINA                  SAMELSTAD, AMANDA                      SAMELSTAD, MANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SAMENFELD, MELISSA                   SAMERJAN, ELIZABETH                    SAMESHIMA, JEFFREY
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SAMET, JONATHAN                      SAMET, JULIA                           SAMFORD, SHELBY
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SAMI H KHALIL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SAMIMIFAR, GOLNAZ                    SAMINGOEN MOORE, TIANI                SAMIR BHATIANI
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SAMIR MEJIA                          SAMIRAN SIGDEL                        SAMIT, MARISSA
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SAMIYA BYRD                          SAMKHANG, TENZIN                      SAMLER, STEVEN
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SAMMAN, SHAKER                       SAMMARTANO, SANDRA                    SAMMIN, CHRISTIE
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SAMMON, ROGER                        SAMMONS, TIFFANY                      SAMMS, RENEE
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SAMOLEWICZ, ANNA                     SAMOLYK, JENNIFER                     SAMONCIK, LINDA
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SAMOUCE, ALLY                        SAMOUR, TONY                          SAMP, VICTORIA
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SAMPADIAN, LO                        SAMPATH, ANJALI                       SAMPILO, JORDAN
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SAMPLE, BRITTANY                     SAMPLE, CHELSEA                       SAMPLE, ELIZABETH
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SAMPLE, GLEN          Case 22-11238-LSS
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                                                                           SAMPLE, 5495
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SAMPLE, STEPHANIE                    SAMPLES, BROOKE                       SAMPLES, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAMPLES.COM, LLC                     SAMPOGNA, MARIA                       SAMPSEL, RUTH
925 B. STREET 5TH FLOOR              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN DIEGO, CA 92101




SAMPSELL, NATALIE                    SAMPSON, AARON                        SAMPSON, ALARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAMPSON, GREG                        SAMPSON, KENNETH                      SAMPSON, KOURTNI
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SAMPSON, KRISTY                      SAMPSON, LAUREN                       SAMPSON, LAURIE
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SAMPSON, REBECCA                     SAMPSON, TOSHA                        SAMPSON, WANDA
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SAMPSON, YVETTE                      SAMRA, KATHRYN                        SAMRA, ROY
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SAMRAO, NICOLE                       SAMS, CLAIRE                          SAMS, COURTNEY
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SAMS, DEEPTHI                        SAMS, NICOLE                          SAMS, REBECCA
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SAMS, STACEY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SAMSON, HENRY                        SAMSON, JILL                             SAMSON, JOSEPH
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SAMSON, LISA                         SAMSON, SARAH                            SAMSON-HARTZ, SHANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SAMSUNG ELECTRONICS AMERICA, INC.    SAMSUNG ELECTRONICS AMERICA, INC.        SAMUEL BOYCE
85 CHALLENGER ROAD                   REMITTANCE                               ADDRESS AVAILABLE UPON REQUEST
RIDGEFIELD PARK, NJ 07660            8482 COLLECTION CENTER DR
                                     CHICAGO, IL 60693-0084




SAMUEL CARL KING                     SAMUEL CASTRO                            SAMUEL CLAYTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SAMUEL EASTWOOD                      SAMUEL FORESTE                           SAMUEL FRISHMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SAMUEL GERBER                        SAMUEL JOSHUA ELKIN                      SAMUEL S SHIELDS
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SAMUEL SNYDER                        SAMUEL THIEME                            SAMUEL WARE EHRLICH
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SAMUEL WHEELWRIGHT PERKINS           SAMUEL, GENEICE                          SAMUEL, LUCY
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SAMUEL, MATHEW                       SAMUEL, NICOLE                           SAMUEL, TESS
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SAMUEL, TREASURE      Case 22-11238-LSS    DocCHRISTINE
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                                                                                     SAMUELS, ELISABETH
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SAMUELS, EYDA                           SAMUELS, JUSTIN                               SAMUELS, KATHARINE
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SAMUELS, KATIE                          SAMUELS, LYNDSEY                              SAMUELS, MARY
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SAMUELS, RENESHA                        SAMUELSEN, KRISTIN                            SAMUELSON, AMBER
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SAMUELSON, ANNIKA                       SAMUELSON, KEVIN                              SAMUELSON, RENEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




SAMULSKI, CASEY                         SAMULSKI, ERIC                                SAMYS CAMERA, INC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST                12636 BEATRICE ST
                                                                                      LOS ANGELES, CA 90066




SAN FRANCISCO CHRONICLE                 SAN FRANCISCO TAX COLLECTOR                   SAN GABINO, MICHAEL
901 MISSION STREET                      P.O. BOX 7425                                 ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94103                 SAN FRANCISCO, CA 94120-7425




SAN ISIDRO                              SAN ISIDRO, S.C.C.L.M - BODEGAS LATUE         SAN JOSE, JENNY
ADDRESS UNAVAILABLE AT TIME OF FILING   LATUE CAMINO DE LA ESPERILLA                  ADDRESS AVAILABLE UPON REQUEST
                                        45 45810 VILLANUEVA DE ALCARDETE
                                        TOLEDO
                                        SPAIN



SAN JUAN LORIE, CARMEN                  SAN LUIS PAPER & JANITORIAL                   SAN LUIS PAPER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING         ADDRESS UNAVAILABLE AT TIME OF FILING




SAN MARCO COFFEE                        SAN MARTIN, KARMIN                            SAN MIGUEL, CINDY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST
SAN, JOHN             Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SANABIA, JENNIFER                    SANABRIA, DANIEL                       SANABRIA, JESSICA
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SANABRIA, JORDAN                     SANABRIA, SARA                         SANASAC, SARAH
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SANASAC, SETH                        SANAT SHRESTHA                         SANBERG, SARAH
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SANBORN, ERICA                       SANBORN, HALEY                         SANBORN, JOLEE
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SANBORN, JORDAN                      SANBORN, NATALIE                       SANBORN, TODD
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SANBURN, MICHAEL                     SANCARRANCO, NATHAN                    SANCHAYEETA MITRA
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SANCHEZ CASTRO, OSCAR                SANCHEZ DEL CAMPO, ADRIAN              SANCHEZ JR., ARMANDO
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SANCHEZ PANTOJA, NERAIDA             SANCHEZ ROCCA, MARYANGELA              SANCHEZ, AD
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SANCHEZ, ADRIANA                     SANCHEZ, AGNIESZKA                     SANCHEZ, ALBA
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SANCHEZ, ALEXIA       Case 22-11238-LSS    Doc
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SANCHEZ, ANA                         SANCHEZ, ANDREA                       SANCHEZ, ANDREA
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SANCHEZ, ANDREA                      SANCHEZ, ANDREA                       SANCHEZ, ANDREW
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SANCHEZ, ANGEL                       SANCHEZ, ANGELA                       SANCHEZ, ANTHONY
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SANCHEZ, ARELY                       SANCHEZ, ARIANA                       SANCHEZ, AUBRY
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SANCHEZ, BARBARA                     SANCHEZ, BERNICE                      SANCHEZ, BRENDALYN
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SANCHEZ, BRIANNA                     SANCHEZ, BRIDGET                      SANCHEZ, CARLOS
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SANCHEZ, CARLOS                      SANCHEZ, CARLOS                       SANCHEZ, CATHERINE
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SANCHEZ, CHELSEA                     SANCHEZ, CHRIS                        SANCHEZ, CLARE
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SANCHEZ, CLAUDIO                     SANCHEZ, CRISTIAN                     SANCHEZ, CRISTINA
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SANCHEZ, DAISY        Case 22-11238-LSS    Doc
                                     SANCHEZ,    2 Filed 11/30/22
                                              DANIEL                  Page 4338 of 5495
                                                                           SANCHEZ, DANIEL
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SANCHEZ, DEBBIE                      SANCHEZ, DERRICK                       SANCHEZ, DIANA
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SANCHEZ, DINORA                      SANCHEZ, DONNA                         SANCHEZ, ELIZABETH
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SANCHEZ, ELIZABETH                   SANCHEZ, ELLEN                         SANCHEZ, ELLIE
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SANCHEZ, ELVIRA                      SANCHEZ, ELYNN                         SANCHEZ, EMILY
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SANCHEZ, ERICA                       SANCHEZ, ERIKA                         SANCHEZ, ERIN
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SANCHEZ, ERIN                        SANCHEZ, FERNANDO                      SANCHEZ, FLORENCIO
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SANCHEZ, FRANCISCO                   SANCHEZ, FRANK                         SANCHEZ, GABRIEL
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SANCHEZ, GLORIA                      SANCHEZ, GUADALUPE                     SANCHEZ, HECTOR A
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SANCHEZ, ISAAC                       SANCHEZ, ISABELLA                      SANCHEZ, IVY
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SANCHEZ, JANET        Case 22-11238-LSS    Doc
                                     SANCHEZ,    2 Filed 11/30/22
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SANCHEZ, JEFF                        SANCHEZ, JENNIFER                     SANCHEZ, JENNIFER
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SANCHEZ, JOE                         SANCHEZ, JOHANNA                      SANCHEZ, JOSE
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SANCHEZ, JOSE                        SANCHEZ, JOSE                         SANCHEZ, JOSELYN
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SANCHEZ, JUAN                        SANCHEZ, JUAN                         SANCHEZ, JUDE
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SANCHEZ, KAITLYN                     SANCHEZ, KAREN                        SANCHEZ, KATHERINE
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SANCHEZ, KELLY                       SANCHEZ, KIMBERLY                     SANCHEZ, KRISTEN
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SANCHEZ, KRISTEN                     SANCHEZ, KRISTIN                      SANCHEZ, LAYLE
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SANCHEZ, LESLEY                      SANCHEZ, LESLIE                       SANCHEZ, LINALIZ
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SANCHEZ, LORIBETH                    SANCHEZ, LUZ                          SANCHEZ, LYNETTE
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SANCHEZ, MAGLENYS     Case 22-11238-LSS    Doc
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                                              MARCIA                  Page 4340 of 5495
                                                                           SANCHEZ, MARCY
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SANCHEZ, MARIA FERNANDA              SANCHEZ, MARIA                        SANCHEZ, MARISOL
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SANCHEZ, MARISOL                     SANCHEZ, MARY                         SANCHEZ, MAYDEL
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SANCHEZ, MAYRA                       SANCHEZ, MAYTE                        SANCHEZ, MONICA
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SANCHEZ, NAIMA                       SANCHEZ, NATALIE                      SANCHEZ, NATALIE
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SANCHEZ, NATALIE                     SANCHEZ, NICOLE                       SANCHEZ, NIDIA
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SANCHEZ, OLIVIA                      SANCHEZ, ORIANA                       SANCHEZ, OSCAR
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SANCHEZ, OTHON                       SANCHEZ, PATRICIA                     SANCHEZ, RACHEL
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SANCHEZ, RACQUEL                     SANCHEZ, REBECCA                      SANCHEZ, REYES
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SANCHEZ, RICARDO                     SANCHEZ, ROBERTO                      SANCHEZ, ROLANDO
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SANCHEZ, ROSIE        Case 22-11238-LSS    Doc
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                                                                           SANCHEZ, SABRINA
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SANCHEZ, SANDRA                      SANCHEZ, SARA                          SANCHEZ, SELOMITH
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SANCHEZ, SHEILA                      SANCHEZ, SHEYLA                        SANCHEZ, SONIA
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SANCHEZ, STEPHANIE                   SANCHEZ, STEPHANIE                     SANCHEZ, STEVEN
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SANCHEZ, TARRYN                      SANCHEZ, TONY                          SANCHEZ, TRISHA
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SANCHEZ, TYLER                       SANCHEZ, VANESSA                       SANCHEZ, VERONICA
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SANCHEZ, YOMAYRA                     SANCHEZ-GODIN, TAMARA                  SANCHONG, BYRON
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SANCHOYERTO, ISABEL                  SANCTORUM, KRISTEN                     SANCZEL, CHRISTIE
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SAND, EMMA                           SAND, JENNIFER                         SAND, JENNIFER
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SAND, SAMANTHA                       SAND, SYDNEY                           SANDA, HABIBA
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SANDA, JOAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SANDA, MORGAN                    Page 4342 of HEATHER
                                                                           SANDAHL, 5495
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SANDALO, SABRINA                     SANDAN, JICELLE                       SANDBACH, LAUREN
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SANDBECK, MONIQUE                    SANDBERG, HALEY                       SANDBERG, NANCY
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SANDBULTE, SAMANTHA                  SANDE, ALLISON                        SANDEEN, ZACH
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SANDEEP KUMAR KOLIBAILU BELLIAPPA    SANDEEP LUKE                          SANDEFUR, DIANE
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SANDELSON, JASMIN                    SANDEMAN, ROY                         SANDEN, MONICA
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SANDER, ALYSON                       SANDER, CAROL                         SANDER, EMMY
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SANDER, JENNA                        SANDER, LAURIE                        SANDER, SUMMER
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SANDER, SUSIE                        SANDERFORD, RHONDA                    SANDERLING, KRISZTINA
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SANDERS MCAULEY, CINDY               SANDERS, ALESIA                       SANDERS, AMIE
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SANDERS, ANDREW       Case 22-11238-LSS    Doc
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                                                                           SANDERS, ANNETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SANDERS, BRITNY                      SANDERS, CATHERINE                    SANDERS, CHARLOTTE
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SANDERS, CHRIS                       SANDERS, CHRYSSA                      SANDERS, DABRCEE
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SANDERS, DAVID                       SANDERS, DAVIN                        SANDERS, DEBBIE
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SANDERS, DIANA                       SANDERS, DIANE                        SANDERS, DIXIE
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SANDERS, DOMINIQUE                   SANDERS, DON                          SANDERS, DONALD
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SANDERS, ELIZABETH                   SANDERS, ERICA                        SANDERS, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SANDERS, ERIN                        SANDERS, HANNAH                       SANDERS, HEATHER
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SANDERS, HELEN                       SANDERS, HOLLIS                       SANDERS, JAMAAL
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SANDERS, JENNIFER                    SANDERS, JENNIFER                     SANDERS, JESSI
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SANDERS, JESSICA      Case 22-11238-LSS    Doc
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                                              JOHANNA                 Page 4344 of 5495
                                                                           SANDERS, JULIA
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SANDERS, JULIE                       SANDERS, KANDICE                      SANDERS, KATHY
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SANDERS, KATY                        SANDERS, KEIKO                        SANDERS, KELSEY
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SANDERS, KIMBERLY                    SANDERS, LEAH                         SANDERS, LESLEY
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SANDERS, LILLIANA                    SANDERS, MARRAH                       SANDERS, MATTHEW
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SANDERS, MEGAN                       SANDERS, MICHAEL                      SANDERS, MORGAINE
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SANDERS, NICOLE                      SANDERS, NICOLE                       SANDERS, RALPH
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SANDERS, REBEKAH                     SANDERS, ROBIN                        SANDERS, RON
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SANDERS, SAMUEL                      SANDERS, SHELLY                       SANDERS, SHERMAINE
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SANDERS, SIERRA                      SANDERS, TAJUAN                       SANDERS, TAMAIRA
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SANDERS, THALISHA     Case 22-11238-LSS    Doc
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                                                                           SANDERS, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SANDERS, VANESSA                     SANDERS, WANDA                         SANDERSAPPEL, MARY
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SANDERSON, ABIGAIL                   SANDERSON, ADAM                        SANDERSON, AMY
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SANDERSON, ANA                       SANDERSON, ASHLEY                      SANDERSON, CHRIS
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SANDERSON, CHRISTINE                 SANDERSON, REBECCA                     SANDERS-SMITH, TIA
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SANDFORD, THOMAS                     SANDHAUS, KATE                         SANDHEINRICH, JOEL
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SANDHI WINES                         SANDHOFF, KAELI                        SANDHU, RAMANPREET
PO BOX 11106                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
OAKLAND, CA 94611




SANDHU, RAVNEET                      SANDHU, ROMMY                          SANDHU, SAHIBA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SANDHU, SIMRAN                       SANDHURST, KIMBERLY                    SANDIFER, CATHERINE
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SANDIFER, KRIS                       SANDIFORD, HAYLEY                      SANDINO, ALYSE
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SANDLER, CATHLIN                     SANDLER, NICOLE                        SANDLER, ZIPPORAH
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SANDLIN, CHRISTY                     SANDLIN, JOSIE                         SANDLIN, MALLORY
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SANDLIN, MONTANA                     SANDLIN, SARAH                         SANDMAN, DONNA
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SANDNER, JESSICA                     SANDONATO, ASHLEY                      SANDONATO, DANA
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SANDONATO, DANA                      SANDONATO, MARY                        SANDONATO, MEGHAN
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SANDONATO, TARA                      SANDONE, BETHANY                       SANDOR, CHRISTINA
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SANDOR, JACOB                        SANDOR, MACKENZIE                      SANDOR, YVONNE
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SANDOUKAS, GEORGE                    SANDOVAL FLORES, MARIA                 SANDOVAL VILLALTA, TANYA
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SANDOVAL, ALEJANDRA                  SANDOVAL, ANTHONY                      SANDOVAL, ARIANNA
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SANDOVAL, BRITTANY                   SANDOVAL, CHELSIE                     SANDOVAL, CONSTANCE
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SANDOVAL, CRYSTAL                    SANDOVAL, CYNDI                       SANDOVAL, ELYSE
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SANDOVAL, ERENDIRA                   SANDOVAL, ERIKA                       SANDOVAL, GABRIEL
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SANDOVAL, GRACIELA                   SANDOVAL, GRECIA                      SANDOVAL, HANNAH
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SANDOVAL, JENNIFER                   SANDOVAL, JENNIFER                    SANDOVAL, JENNIFER
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SANDOVAL, KADELLYN                   SANDOVAL, KATHERINE                   SANDOVAL, KATIE
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SANDOVAL, LINDA                      SANDOVAL, LINETTE                     SANDOVAL, LISSETTE
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SANDOVAL, MONICA                     SANDOVAL, NITA                        SANDOVAL, PATRICIA
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SANDOVAL, PAULINA                    SANDOVAL, ROBERT                      SANDOVAL, ROSIE
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SANDOVAL, VANESSA                    SANDOVAL-PEDROZA, NORMA                  SANDOZ, SIERRA
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SANDRA C'DEBACA                      SANDRA CORBIN                            SANDRA ELIZABETH HAUGEN
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SANDRA HUTCHINSON                    SANDRA MATHENA                           SANDRA MCCONNELL SARA TRUONG TTEE
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SANDRA RUSINKO                       SANDRA SALAS                             SANDRA SAW
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SANDRA SNOW KOPACZ                   SANDRA SOPHIE GORDON SARA TRUONG         SANDREY, ILONA
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SANDRIDGE, ABIGAIL                   SANDRU, LARISA                           SANDRU, LARISA
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SANDS, ANN-MARIE                     SANDS, BRANDI                            SANDS, CATHY
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SANDS, CHARIE                        SANDS, CHRISTINE                         SANDS, MICHAEL
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SANDS, MICHELLE                      SANDS, MICHELLE                          SANDS, MONICA
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SANDSTROM, NICOLAS                      SANDSTROM, SHANNON                    SANDUSKY, LEE
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SANDVIG, DANA                           SANDY SCHUETTE                        SANDY SHAW SLATER
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SANDY, LINDSIE                          SANDY, SANDRA                         SANDYS, SARA
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SANDZA, KRYSTAL                         SANEL, AMY                            SANEL, AVA
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SANER, SAMANTHA                         SANET CIVIL                           SANFELICE, ELAYNE
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SANFILIPPO, LARA                        SANFILIPPO, MARK                      SANFILLIPPO, ALICIA
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SANFORD BRANDS                          SANFORD HELMUTH                       SANFORD, AMANDA
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SANFORD, AMANDA                         SANFORD, ANNE                         SANFORD, ASHLEY
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SANFORD, BLAKE                          SANFORD, ELIZABETH                    SANFORD, ETHAN
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SANFORD, KARL                        SANFORD, KRISTINE                      SANFORD, KRYSTEL
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SANFORD, LAVERNE                     SANFORD, LINDSEY                       SANFORD, MARCEY
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SANFORD, MARCIA                      SANFORD, MARGARET                      SANFORD, MCCANNE
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SANFORD, MELISSA                     SANFORD, NICHOLAS                      SANFORD, PATRICIA
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SANFORD, SCOTT                       SANFORD, WILLIAM                       SANG PARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1312 N CURSON AVE. 13
                                                                            LOS ANGELES, CA 90046




SANG, KIM                            SANGALANG, MAL                         SANGAMA, ENRIQUE
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SANGANG, CYNTHIA                     SANGAR, MANSI                          SANGEETA GAUTAM
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SANGEETA R PATEL                     SANGER, LIZ                            SANGHA, RUMNEEK
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SANGHAVI, PRIANKA                    SANGHRAJKA, AAYUSH                     SANGHVI, NILAM
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                                                                           SANGILLO, MICHAELA
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SANGITA KRISHNAKANT PATEL            SANGLERAT, ZOE                         SANGMEISTER, ABBEY
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SANGREE, WILL                        SANGSTER, SHARI-LIANE                  SANGUEDOLCE, RACHEL
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SANGUINETTI, FLAVIO                  SANI, KATRINA                          SANIN(A), ANNA AND EUGENE
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SANIN, ANIKA                         SANJA MYLONAS                          SANJAY KUMAR MOTILAL
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SANJAY RAMCHANDANI                   SANJAY, AEVIN                          SANJEEV, PRADEEP
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SANJEEVA REDDY DANTU                 SANJIV KUMAR                           SANJIV M PATEL
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SANK, ANDREW                         SANKALIS-BITEMAN, RUTA                 SANKAR, POOJA
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SANKAR, R RAJAGANAPATHY              SANKARA NAVEEN PORUMAMILLA             SANKARAN, SAMIRA
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SANKARANTHI, MAHESH                  SANKEY, L. JEAN                        SANKEY, LANAJA
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SANKOVITCH, HELENE                   SANLEY, LAUREN                          SANNASARDO, DEBRA
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SANNER, CATHERINE                    SANNER, KAITLIN                         SANO, LORI
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SANOJ DHAMINDRANATH                  SANSALONE, CAROL                        SANSALONE, ELEANOR
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SANSAVATH, KHAMLA                    SANSBURY, BRACKEN                       SANSBURY, STACY
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SANSBURY, TAYLER                     SANSONE, AMY                            SANSONE, GREG
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SANSONE, VINCENT                     SANSOSTI, BRITTNEY                      SANT, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SANT, VISHAKHA                       SANTA BARBARA ADVENTURE COMPANY         SANTA BARBARA ADVENTURE COMPANY
ADDRESS AVAILABLE UPON REQUEST       32 EAST HALEY ST.                       32 EAST HALEY ST.
                                     SANTA BARBARA, CA 93101                 SANTA BARBARA, CA 93101-2316




SANTA BARBARA COUNTY CLERK           SANTA BARBARA HIGHLANDS VINEYARD        SANTA BARBARA HIGHLANDS VINEYARD,
RECORDER                             C/O VITCOMP INC.                        INC.
PO BOX 159                           ATTN: LINO BOZZANO                      LAETITIA VINEYARD & WINERY, INC
SANTA BARBARA, CA 93102-159          405 TRAFFIC WAY, UNIT A                 1150 PALM STREET
                                     ARROYO GRANDE, CA 93420                 SAN LUIS OBISPO, CA 93401



SANTA BARBARA HIGHLANDS VINEYARD,    SANTA BARBARA NEWS-PRESS                SANTA MARIA JETTY
INC.                                 PO BOX 1359/                            ADDRESS UNAVAILABLE AT TIME OF FILING
LAETITIA VINEYARD & WINERY, INC      DE LA GUERRA PLAZA SANTA BARBARA, CA
453 LAETITIA VINEYARD DRIVE          93102-1359
ARROYO GRANDE, CA 93420
SANTA MARIA RADISSON Case 22-11238-LSS       Doc 2AUGUSTINE
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                                                                                SANTA MONICA CHAMBER
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST            ADDRESS UNAVAILABLE AT TIME OF FILING




SANTA MONICA EXPRESS                    SANTA MONICA PARKING                    SANTA YNEZ BARREL RECYCLING
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   8053 CAMP CHAFFEE RD.
                                                                                VENTURA, CA 93001




SANTA YNEZ VACATION RENT                SANTA YNEZ VINEYARDS LLC                SANTA, BROOKE
ADDRESS UNAVAILABLE AT TIME OF FILING   4 EMBARCADERO CENTER, SUITE 3620        ADDRESS AVAILABLE UPON REQUEST
                                        SAN FRANCISCO, CA 94111




SANTA, COURTNEY                         SANTACAPITA, EVA                        SANTACATERINA GONZALEZ, BRI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SANTACROCE, DIANA                       SANTACROSE, MARIA                       SANTALOVA, MARINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SANTAMARIA, JOSE                        SANTA-MARIA, KATIE                      SANTAMARIA, LESLIE
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SANTAMARINA, EMILY                      SANTANA CORREA, SULEICA                 SANTANA, ADRIANA
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SANTANA, ANA GABRIELA                   SANTANA, ANTHONY                        SANTANA, ANTHONY
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SANTANA, AUDREY                         SANTANA, CARLA                          SANTANA, DENISE
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SANTANA, ERIKA                          SANTANA, FABIANA                        SANTANA, KELLY
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SANTANA, NINA                        SANTANA, NOELIA                       SANTANA, STEPHANIE
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SANTANA, SUSAN                       SANTANA, TELIMA                       SANTANA, TONI
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SANTANA, TONI                        SANTANA, VERONICA                     SANTANA, YANI
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SANTANA, ZANETA                      SANTANDER, LAUREN                     SANTANGELO, CHRIS
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SANTANGELO, GINA                     SANTANGELO, JACQUELINE                SANTANGELO, KATIE
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SANTANGELO, MARIA                    SANTARELLI, ERICA                     SANTARPIA, NINA
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SANTAVICCA, LEANNE                   SANTE, RUDY                           SANTEE, LINDA
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SANTEIRO, TIFFANY                    SANTELICES, MANNY                     SANTELLA, KELLY
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SANTERO, VELINDA                     SANTI, CELIA                          SANTIAGO, ALBERT
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                                                                           SANTIAGO, ARIANA
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SANTIAGO, CLARIBEL                   SANTIAGO, CYNTHIA                      SANTIAGO, CYNTHIA
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SANTIAGO, DANIELLE                   SANTIAGO, EDWIN                        SANTIAGO, EDWIN
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SANTIAGO, ELIQUEWA                   SANTIAGO, ENID                         SANTIAGO, EPHRAIM
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SANTIAGO, EUSTAQUIO                  SANTIAGO, FALLON                       SANTIAGO, GABRIELLE
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SANTIAGO, GIOVANNI                   SANTIAGO, GLADYS                       SANTIAGO, ISAAC
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SANTIAGO, JACQUELINE                 SANTIAGO, JEROMY                       SANTIAGO, JODY
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SANTIAGO, JOSE LUIS                  SANTIAGO, KAYLA                        SANTIAGO, LAUREN
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SANTIAGO, LAUREN                     SANTIAGO, LEONARD D.                   SANTIAGO, LISA
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SANTIAGO, LIZ                        SANTIAGO, LUIS                         SANTIAGO, LUZ
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SANTIAGO, MEGAN       Case 22-11238-LSS     Doc
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SANTIAGO, MILLENA                    SANTIAGO, NANCY                        SANTIAGO, NICOLE
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SANTIAGO, RACHEL                     SANTIAGO, REBECCA                      SANTIAGO, SHERA
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SANTIAGO, TRAVIS                     SANTIAGO, VANESSA                      SANTIAGO, VICTORIA
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SANTIAGO, VIMARIES                   SANTIAGO, VIVIAN                       SANTIBANEZ, JHONY
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SANTIEMMO, HEATHER                   SANTILLA, MALIA                        SANTILLO, NICK
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SANTILLO, SHELBI                     SANTIMANO, DAVINIA                     SANTIN, DIANE
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SANTINI, ELIZABETH                   SANTINI, TONY                          SANTISO, NICK
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SANTITORO, BROOKE                    SANTOGROSSI, MACKENZIE                 SANTOLERI, ANGELA
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SANTOLERI, JILLIAN                   SANTOLLI, BRIANNA                      SANTOMASSIMO, VINCENT
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SANTOMAURO, BO        Case 22-11238-LSS    Doc 2KIM Filed 11/30/22
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                                                                           SANTONE, MELISSA
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SANTORA, JACINDA                     SANTORA, KARA                          SANTORA, STEPHANIE
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SANTORE, FRED                        SANTORE, KATHERINE                     SANTORI, DANIELLE
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SANTORIELLO, GENNA                   SANTORO, ANTONIA                       SANTORO, CHRISTINA
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SANTORO, GENISIS                     SANTORO, HEATHER                       SANTORO, JONATHAN
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SANTORO, MARY JO                     SANTORO, ROSEANN                       SANTOS, AMANDA
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SANTOS, ANADIS                       SANTOS, ANNEL                          SANTOS, ANNELISE
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SANTOS, ATHENA                       SANTOS, AUGUSTO                        SANTOS, AURORA
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SANTOS, BERNADETTE                   SANTOS, BRIANNA                        SANTOS, DANILO
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SANTOS, DELANEY                      SANTOS, DORIS                          SANTOS, EDWIN
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SANTOS, FILIPE                       SANTOS, GUS                           SANTOS, HALEY
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SANTOS, JACINTA                      SANTOS, JAUSTINA                      SANTOS, JENRRY
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SANTOS, JOCELYN                      SANTOS, JOEL                          SANTOS, JORGE
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SANTOS, KRISTEN                      SANTOS, LAURA                         SANTOS, LORI
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SANTOS, MARIA                        SANTOS, MARISOL                       SANTOS, MELANIE
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SANTOS, MICHAEL                      SANTOS, MICHELLE                      SANTOS, MIRIAM
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SANTOS, MONTSERRAT                   SANTOS, NICKY                         SANTOS, RICO
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SANTOS, ROY                          SANTOS, SAMANTHA                      SANTOS, TAMARA
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SANTOS, TAYLOR                       SANTOS, TIMOTHY                       SANTOS, TINA
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SANTOSH VISHWANATHAN                 SANTOSUOSSO, MOLLY                    SANTOVENA, JOSE MANUEL
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SANTOWASSO, MEREDITH                 SANTOY, JOAQUIN                       SANTRY, CANDACE
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SANTRY, HEATHER                      SANTUCCI, CHERYL                      SANTUCCI, DOMINIQUE
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SANTUCCI, LAUREN                     SANTUCCI, STEPHEN                     SANTUCCI, SYDNEY
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SANTULLI, MARITZEL                   SANTUS, REX                           SANVILLE, TODD
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SANWO, JOY                           SANYA DEVORE                          SANZ DE ACEDO, TONY
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SANZARI, JULIANNA                    SANZO, EMMA                           SAOUD, RANA
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SAP, KATHERINE                       SAPAN, ESTHER                         SAPANARO, JILLIAN
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SAPANERO, MORGAN                     SAPER, JUSTIN                         SAPICHINO, LISA
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SAPIEN, JOSHUA        Case 22-11238-LSS     Doc
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SAPIENZA, MICHALA                    SAPIENZA, TERESA                       SAPIRO, NAOMI
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SAPIRSTEIN, AMY                      SAPITRO, JAMES                         SAPLICKI, BRIAN
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SAPOFF, ROBERT                       SAPONARO, KELLY                        SAPORITO, MAUREEN
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SAPORITO, STACY                      SAPORTA, ROSE                          SAPOSNIK, BRANDON
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SAPP, ABIGAIL                        SAPP, BROOKE                           SAPP, JAMIE
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SAPP, JOANNE                         SAPP, JODY                             SAPP, MARSHA
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SAPP, MELISSA                        SAPP, MICHAEL                          SAPP, PHYLLISANN
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SAPP, RACHEL                         SAPP, ROCHELLE                         SAPP, SOPHIA
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SAPP, TAYLOR                         SAPPA, UMA SHANKAR                     SAPP-GOODING, LACHANZE
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ADDRESS AVAILABLE UPON REQUEST       15058 HAMLIN ST.                     ADDRESS AVAILABLE UPON REQUEST
                                     VAN NUYS, CA 91411




SARA ANN ROLFES                     SARA AVISON                           SARA BERGER
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SARA DEAN                           SARA DELARONDE                        SARA FONTAINE
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SARA FORD                           SARA G TORO                           SARA GANIM CEVALLOS
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SARA GRIMSHAW                       SARA HUTT                             SARA KOVAC
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SARA LAPIERRE                       SARA LARKIN                           SARA MELDRUM
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SARA NEWTON-SMITH                   SARA PARIBELLO                        SARA SHISSLER
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SARA TAYLOR                         SARA, DRAUGHON,                       SARABIA, AMANDA
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SARABJEET SINGH                     SARAC, SAMANTHA                       SARAC, TAYLOR
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SARACO, ALEXIS                      SARACO, MINDY                         SARADAR, CHERENE
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SARAH AIELLO                         SARAH AKBARY                          SARAH ALLISON
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SARAH ANTOLINI                       SARAH BECKER                          SARAH BERGERON
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SARAH BRIELLE UNDERWOOD              SARAH BUCK                            SARAH BUCKMILLER
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SARAH C HARRISON                     SARAH C YUNG                          SARAH CHRISTIAN
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SARAH CREAGAN                        SARAH CROSAT                          SARAH DAVIS
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SARAH ELIZABETH TINANA QAISER        SARAH FINKE                           SARAH GARGAGLIANO PHILLPS
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SARAH HERMAN                         SARAH HEYBORNE                        SARAH HOFMEISTER
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SARAH HOTT                           SARAH J BARBER                        SARAH JACKSON
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SARAH JANE CHAPMAN                   SARAH JOHNSON                         SARAH JOY BLOG
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SARAH KAYFUS          Case 22-11238-LSS    Doc 2 Filed 11/30/22
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SARAH MAYHUE                         SARAH MCDONALD                        SARAH MCNEIL
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SARAH PHIPPS                         SARAH PROEBSTING                      SARAH R STORM-WILSON
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SARAH RING                           SARAH SCHLEY                          SARAH SCHONGAR
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SARAH SCHUTES                        SARAH SCHUTZ                          SARAH SCOPEL
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SARAH SIMMS                          SARAH SWITZER                         SARAH TAVARES
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SARAH TUNOA                          SARAH VANESSA PEREZ                   SARAH WIEHE
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SARAH WUNDT                          SARAH ZDOBNIKOW                       SARAH, CARLSON,
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SARAH, FOX                           SARAH, JOHNNY                         SARAH, MIRANDA
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SARAH, REV.                          SARAI, KALYN                          SARAIVA, KATIE
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2591 DALLAS PARKWAY SUITE 300        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRISCO, TX 75034




SARAN, ISH                           SARAN, LINDSAY                        SARANDOS, DAWN
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SARANTEAS, JAMES                     SARANTOPOULOS, CHLOE                  SARAOGI, SHIPRA
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SARAPU, LESLIE                       SARASIN, CHERYL                       SARASIN, ELIZABETH
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SARASVATI, SID                       SARATHY, SUHAS                        SARAUER, COURTNEY
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SARAUER, JENN                        SARAVANAN, PRANAV                     SARAVAY, JENNIFER
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SARAVIA, DANNY                       SARBACKER, LIZ                        SARBORA, RUSS
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SARCINELLA, NATALIE                  SARCONA, DANA                         SARDA, CHANDNI
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SARDA, JEFF                          SARDAK, ANDREA                        SARDANA, PRAKRITI
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SARDANO, CHRISTEN                    SARDELLA, KATIE                       SARDINA, ASHLEY
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SARDONE, DAN                         SARDONE, DANIELLE                     SARDONE, SAMANTHA
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SARDUY, LETICIA                      SARDUY, NICOLE                        SAREEN, SAVAR
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SARELI, CANDICE                      SARENDRANAUTH, DEANNA                 SARFAN, STEPHANIE
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SARFF, BRYAN                         SARFO, ABENA                          SARGEANT, EDWYNA
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SARGEANT, GEORGE                     SARGEANT, JEN                         SARGEANT, KIMBERLY
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SARGEANT, MATTHEW                    SARGENT, AMANDA                       SARGENT, ANJELA
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SARGENT, DAVID                       SARGENT, LESLIE                       SARGENT, LORI
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SARGENT, PETER                       SARGENT, SOPHIA                       SARGENT, VICKY
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SARGIOUS, AMY                        SARGUS, SARAH                         SARHAN, NICOLE
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SARIA, ZANE           Case 22-11238-LSS     Doc 2AYKUT
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SARICH, LINDSAY                      SARIDAKIS, PETER                      SARIKAS, LILLY
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SARINANA, ALYSSA                     SARINANA, ANGELICA                    SARINE, DOUGLAS
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SARITA, MELANIE                      SARITAS, SULTANA                      SARIYA, CLAUDETTE
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SARJEANT, CHERYL                     SARK METHOD                           SARKEY, NOAH
ADDRESS AVAILABLE UPON REQUEST       505 WEST 100 SOUTH 277                ADDRESS AVAILABLE UPON REQUEST
                                     SALT LAKE CITY, UT 84101




SARKIS GRIGORYAN                     SARKIS, JACQUELINE                    SARKISIAN, MARIA
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SARKISIAN, NICOLE                    SARKUS, GINTARAS                      SARL CHATEAU BEAUBOIS
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SARL DANIEL PETIT ET FILS            SARMER, NICOLE                        SARMIR, DAVID
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FRANCE




SARNA, KERRY                         SARNAGLIA, MAURA                      SARNECKY, JOHN
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SARNER, MADDI                        SARNEY, ROB                           SARNO, AMY
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SARNO, JOEY           Case 22-11238-LSS
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SARONI, LUKE                         SARPAS, AHMAD                         SARPONG, KOJO
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SARRAF, GABRIELLA                    SARRANTONIO, DAN                      SARRIA, JOSHUA
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SARSIDHARAN, ALOK                    SARSON, LYDIA                         SARTENA, YARDEN
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SARTIN, KERI                         SARTIN, LIZZY                         SARTOR, CASEY
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SARTOR, CHELSEA                      SARTOR, LARRY                         SARTORELLI, ROBERT
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SARTORI, JOE                         SARTORI, NICOLE                       SARTORIUS, ELIZABETH
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SARTWELL, DESTINY                    SARUK, MICHAEL                        SARUMOVA, ELEONORA
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SARUP, SHAINEEL                      SARVER, ALLIE                         SARVER, ANTHONY
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SARVER, BECCA                        SARVER, CHERYL                        SARVER, JAKE
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SARVER, SHARI         Case 22-11238-LSS
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SAS ALB WINE INTERNATIONAL           SAS RAYMOND VFI                       SAS, ANTHONY
LAGAROLE                             3 LIEU-DIT LAGARDE                    ADDRESS AVAILABLE UPON REQUEST
SAINT-LAURENT-DU-BOIS 33540          SAINT LAURENT DU BOIS 33540
FRANCE                               FRANCE




SASEEN, ALEX                         SASEK, CASEY                          SASENA, JENNIFER
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SASHA COPE                           SASHA R GOODMAN                       SASHA SERNA
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SASINOWSKI, SUZANNE                  SASLAW, ALEX                          SASLAW, MAE
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SASO, PATRICIA                       SASS, KEVIN                           SASS, NICOLE
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SASS, RAVEN                          SASS, RAVEN                           SASSANO, MAYRA
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SASSANO, REBECCA                     SASSER, BRIAN                         SASSER, SANDRA
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SASSER, SIERRA                       SASSET, LINDA                         SASSEVILLE, NANCY
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SASSO, MARIA                         SASSO, MARIE                          SASSO, RENE
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SASTRY, ANURADHA                     SASTRY, SAALINI                       SASUK, BRANDY
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SATARAIN, ED                         SATCHELL, MICHELLE                    SATCHELL, WARREN
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SATEESH KADIYALA                     SATELL, CASEY                         SATELLITE OFFICE INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3717 N. RAVENSWOOD AVE, STE 238
                                                                           CHICAGO, IL 60613




SATHAM, ABHISHEK                     SATHER, DEAN                          SATHER, MAGGIE
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SATHER, MEGAN                        SATHER, STACEY                        SATHER, TANYA
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SATHISH IYER                         SATHYAKUMAR, SANDHYA                  SATINDER KAUR AJRAWAT
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SATINOVER, BRITTANY                  SATISHKUMAR, NIDHI                    SATKA, AMANDA
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SATKOVICH, LEO                       SATLOW, DAN                           SATO, GAVAN
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SATO, SHANE                          SATO, TERI                            SATOW, RACHEL
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SATRIANO, GIANNA                        SATRIANO, LISA                        SATTAN, SHARI
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SATTAR, SHAHID                          SATTAYATAM, KRISTIN                   SATTER, CHRISTY
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SATTER, SCENA                           SATTERFIELD, ASHLEY                   SATTERFIELD, JUSTIN
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SATTERFIELD, KAITLYN                    SATTERFIELD, MOLLY                    SATTERLEE, JOHN
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SATTERLY, PAIGE                         SATTIZAHN, ANGELA                     SATTLER, ABIGAIL
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SATTLER, ASHLEY                         SATTLER, MAEMEE                       SATTLER, SUZANNE
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SATURDAYS SURF NEW YORK                 SATURIA, ANASTASIA                    SATYANARAYAN, ARVIND
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SAU, CAITLIN                            SAUBERT, RACHAEL                      SAUCEDA ROMO, MARISA
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SAUCEDA, PAMELA                         SAUCEDO, ALICIA                       SAUCEDO, ENRRIQUE
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SAUCEDO, KELLY        Case 22-11238-LSS    Doc
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SAUCIER, DANIELLE                    SAUCIER, NERMINA                      SAUCIER, ZACH
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SAUCIUNAITE, GRETA                   SAUER, CLAUDIA                        SAUER, ELIZABETH
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SAUER, HALEY                         SAUER, HEIDI                          SAUER, JULIANNA
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SAUER, JULIE                         SAUER, KATE                           SAUER, LAUREN
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SAUER, LAUREN                        SAUER, MARK                           SAUER, MARK
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SAUER, NANETTE                       SAUER, STEPHANIE                      SAUER, ZOE
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SAUERLAND, MARY                      SAUERS, JODIE                         SAUGAT GHIMIRE
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SAUL, BENJAMIN                       SAUL, CARLY                           SAUL, HOLLY
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SAUL, JESSICA                        SAUL, NICOLE                          SAULINO, ANGELA
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SAULK, KEVIN          Case 22-11238-LSS    Doc
                                     SAULMON,   2 Filed 11/30/22
                                              JONATHAN                Page 4372  of 5495
                                                                           SAULNIER, CONNER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAULS, CHARLES                       SAULS, SHERYL                         SAULS, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAULS, TERI                          SAULSBERRY, WHITNEY                   SAULTS, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAUL-ZERBY, AMY                      SAUNDERS, AKEISHA                     SAUNDERS, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAUNDERS, ANDREA MADONNA             SAUNDERS, AUDREY                      SAUNDERS, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAUNDERS, CHANTY                     SAUNDERS, CHELSEA                     SAUNDERS, CHRISTINE
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SAUNDERS, DANIELLE                   SAUNDERS, ELIZABETH                   SAUNDERS, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAUNDERS, ENGLISH                    SAUNDERS, GERALDINE                   SAUNDERS, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAUNDERS, HEATH                      SAUNDERS, HEATHER                     SAUNDERS, JEVON
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SAUNDERS, JUAN                       SAUNDERS, KENNETH                     SAUNDERS, KEVIN
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SAUNDERS, KIRA        Case 22-11238-LSS    DocKRISTEN
                                     SAUNDERS,  2 Filed 11/30/22      Page 4373 of 5495
                                                                           SAUNDERS, LACEY
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SAUNDERS, LANDON                     SAUNDERS, LAURA                       SAUNDERS, MARGARET
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SAUNDERS, MARY                       SAUNDERS, MARYANNE                    SAUNDERS, MEGHAN
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SAUNDERS, OLIVIA                     SAUNDERS, PAIGE                       SAUNDERS, PATRICK
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SAUNDERS, PEYTON                     SAUNDERS, SAMUEL                      SAUNDERS, SOPHIE
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SAUNDERS, STEVEN                     SAUNDERS, TANNER                      SAUNDERS, TAYLOR
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SAUNDERS, TRACY                      SAUNDERSON, ILLYANA                   SAUNDERSON, SIOBHAN
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SAUNIER, BRITANNY                    SAURABH SACHDEVA                      SAURINA, LAURA
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SAURINI, CHRISTINA                   SAURMAN-MOORE, JESSICA                SAUSEN, KRISTIN
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SAUSEN, KRISTIN                      SAUSER, JESSICA                       SAUSER, RICH
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SAUSLEY, JESSICA      Case 22-11238-LSS    Doc
                                     SAUSSER,   2 Filed 11/30/22
                                              CHRISTY                 Page 4374 of 5495
                                                                           SAUSSER, SIENA
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SAUTER, BOB AND BELINDA              SAUTER, CHEYANNE                      SAUTHER, TERESA
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SAUTNER, SANDRA                      SAUTNER, SANDRA                       SAUVAGEAU, ANGELA
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SAUVAGEAU, RACHEL                    SAUVE, KELLY                          SAUVEY, BRIAN
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SAUVIE, CHERYL                       SAVAGE KUNTZ, SUNNY AND BJ            SAVAGE SR, KEVIN
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SAVAGE, ABIGAIL                      SAVAGE, ALEXANDRIA                    SAVAGE, AMY
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SAVAGE, ANDREW                       SAVAGE, ANN                           SAVAGE, ANNE
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SAVAGE, APRIL                        SAVAGE, BARBARA                       SAVAGE, BRANDY
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SAVAGE, CAROL                        SAVAGE, CHARLENE                      SAVAGE, CHERYL
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SAVAGE, CHRISTIAN                    SAVAGE, CLARISSA                      SAVAGE, COLLEEN
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SAVAGE, DAVID         Case 22-11238-LSS
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                                                                           SAVAGE, 5495
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SAVAGE, JASON                        SAVAGE, KATE                          SAVAGE, KATHRYN
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SAVAGE, KYLE                         SAVAGE, LAUREN                        SAVAGE, MARIAH
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SAVAGE, MARIANNE                     SAVAGE, MEGAN                         SAVAGE, MICHELLE
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SAVAGE, PETE                         SAVAGE, RACHAEL                       SAVAGE, RAIA
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SAVAGE, REBECCA                      SAVAGE, ROBERT                        SAVAGE, SARA
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SAVAGE, SARAH                        SAVAGE, WIL                           SAVAGE,JR, ROBERT
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SAVAGLIO, AMY                        SAVAGLIO, ANGELA                      SAVAGO, NICOLE
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SAVALIA, RAJ                         SAVANI, SHAILY                        SAVANI, VISHAL
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SAVANNA MAZUR                        SAVANNAH JUDAH                        SAVARD, QUINN
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SAVARESE, ANTONIA     Case 22-11238-LSS     Doc
                                     SAVARIA,    2 Filed 11/30/22
                                              BRENDA                  Page 4376 of 5495
                                                                           SAVCHUK, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAVEL, SAMANTHA                      SAVELL, AMIE                          SAVELYEVA, ANNA
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SAVERCOOL, JOHN                      SAVERINO, TOM                         SAVERSKY, PAMELA
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SAVERY, DICK                         SAVERY, ELIZABETH                     SAVERY, ELIZABETH
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SAVERY, LAUREN                       SAVIC, ALEKSANDRA                     SAVICH, DANIELLE
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SAVICKAS, PATRICK                    SAVIDGE, DAWN                         SAVIDGE, LORRAINE
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SAVIDGE, WALKER                      SAVIDIS, IGA                          SAVILLA, PHILIP
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SAVILLE, KAREN                       SAVILLE, MADELINE                     SAVILLE, TALIA
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SAVIN, ANDREI                        SAVIN, LAUREN                         SAVINO, CAROLYN
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SAVINO, DIANA                        SAVINO, KATIE                         SAVINO, NATALIE
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SAVINO, THOMAS        Case 22-11238-LSS    Doc GIOVANNI
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SAVIO, LINDA                         SAVITSKI, BROOKE                       SAVITT, DANIEL
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SAVITT, RICK                         SAVITZ, PAUL                           SAVNIK, GERARD
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SAVOIA, SYDNEY                       SAVOIE, CASEY                          SAVOIE, HANNAH
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SAVOLAINEN, MOLLY                    SAVON, DONNA                           SAVONA, KAITLIN
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SAVOSH, VICTORIA                     SAVOY, BECKY                           SAVOY, COURTNEY
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SAVOY, QUIANNA                       SAVOY, SCOTT                           SAVOY, SCOUT
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SAVYON, MEIRAV                       SAWAH, DECONTEE                        SAWAI, KYLE
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SAWAMUKAI, LARA                      SAWAYA, MELANIE                        SAWCHUK, JULIE
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SAWCHUK, SUSANNE                     SAWDEY, CAROL                          SAWELSON, AARON
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SAWHILL, BLAIR        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SAWI, MUSTAPHA                   Page 4378  ofLEAH
                                                                           SAWICK,  5495
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SAWICKI, ANNA                        SAWICKI, PENNY                        SAWICKI, STEVE
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SAWINSKI, MICAH                      SAWKA, JEFF                           SAWLSVILLE, AMANDA
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SAWTELLE, GENEVIEVE                  SAWTELLE, JENNY                       SAWVEL, DEBORAH
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SAWYER PERRY                         SAWYER, AMY                           SAWYER, AMY
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SAWYER, AYINDE                       SAWYER, BRANDON                       SAWYER, BRUCE
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SAWYER, BUFFI                        SAWYER, CARLIE                        SAWYER, CORTNEY
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SAWYER, GRETCHEN                     SAWYER, JACKIE                        SAWYER, JESSICA
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SAWYER, JULIANNE                     SAWYER, KRYSTYNA                      SAWYER, LAUREN
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SAWYER, MALLORY                      SAWYER, MARK                          SAWYER, MEGAN
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SAWYER, RACHEL        Case 22-11238-LSS    Doc
                                     SAWYER,    2 Filed 11/30/22
                                             SAMANTHA                    Page 4379 ofSAMANTHA
                                                                              SAWYER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SAWYER, SARAH                           SAWYER, SCOTT                         SAWYER, SHAVONDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAWYER, STEPHANIE                       SAWYER, TERRY                         SAWYERS, ALLISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAWYERS, CORINNE                        SAX, MEGAN                            SAXBY, KATHRYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAXCO INTERNATIONAL, LLC                SAXE, DENISE                          SAXE, JENNIE
1855 GATEWAY BLVD., STE 400             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CONCORD, CA 94520




SAXE, JESSICA                           SAXEN, JANET                          SAXENA, RUPAL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAXENA, SHIVANJALI                      SAXENA, SWASTI                        SAXINGER, SUSAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAXON PAROLE                            SAXON, ANN                            SAXON, ANNIE
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SAXON, AUBREY                           SAXON, BETH                           SAXON, HANNA
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SAXON, HAVOLYNNE                        SAXON, JOANIE                         SAXON, LEE
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SAXON, MAURA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SAXON, MIKELA                    Page 4380
                                                                           SAXON,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAXTON SIOBHAN                       SAXTON, ALISON                        SAXTON, ANDREW
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SAXTON, DEWAYNE                      SAXTON, JULIA                         SAXTON, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAY TECHNOLOGIES LLC                 SAYABOVORN, THANITA                   SAYDAK, DANA
85 WILLOW ROAD                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MENLO PARK, CA 94025




SAYDYK, JOHN                         SAYE, KELLY                           SAYED, SAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SAYED, SHAHEERA                      SAYEN, JASON                          SAYERS, ALLISON
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SAYERS, ANNE                         SAYERS, MARY                          SAYERS, TAMMY
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SAYLER, CHRISTINE                    SAYLES, COREY                         SAYLES, DEBBIE
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SAYLES, MEGHANN                      SAYLOR, ANGIE                         SAYLOR, BENJAMIN
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SAYLOR, CRYSTAL                      SAYLOR, LONI                          SAYLOR, NATALIE
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SAYLOR, SALLY         Case 22-11238-LSS
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                                                                                SAYLOR, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




SAYOUR, KATHRYN                         SAYRE, ANAMARIA                         SAYRE, BRENDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SAYRE, HEATHER                          SAYRE, SCOTT                            SAZAN LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          402A WEST PALM VALLEY BLVD 343
                                                                                ROUND ROCK, TX 78664




SB FITNESS TOURS                        SB RECORDER                             SBARRA, DIANE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SBARROS                                 SBERRO, MELISSA                         SBERT, BRANDON
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SBERT, GRISEL                           SBORDY, BARRY                           SBROGNA, TRACEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SC DEPARTMENT OF REVENUE                SCA VINOVALIE                           SCACALOSSI, ALEXANDRA
PO BOX 100153                           ZA LES PORTES DU TARN                   ADDRESS AVAILABLE UPON REQUEST
COLUMBIA, SC 29202                      SAINT SULPICE 81370




SCACCHITTI, JULIA                       SCACCO, ANDREW                          SCAFF, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SCAFFIDI, KRISTEN                       SCAFIDE, GINA                           SCAFURO, SARA
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SCAGGS, RACHEL                          SCAGLIONE, CAROLINE                     SCAGLIONE, PATRICIA
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SCAHILL, KATHLEEN     Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCALA, KAREN                         SCALAPINO, CARLA                      SCALERA, PATRICIA
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SCALES, JAMES                        SCALES, LAURA                         SCALES, LEA ANN
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SCALESE, GABRIELLE                   SCALETTAR, CASSIE                     SCALIA, ABBEY
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SCALIA, KAREN                        SCALIA, NICOLE                        SCALICI, ANNE
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SCALING, BEVERLY                     SCALISE, FRANK                        SCALISE, SHARIYAH
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SCALLY, GENEA                        SCALONE, AMANDA                       SCALORA, CYNTHIA
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SCALVINO, PAULINE                    SCALZI, DANIEL                        SCALZO, ROSEMARIE
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SCALZO, SHERYL                       SCALZO, WENDY                         SCAMMACCA, PAUL
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SCAMMON, HEIDI                       SCAMPOLINO, MARC                      SCANGA, VINNIE
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SCANGARELLA, LAUREN   Case 22-11238-LSS    Doc
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SCANLAN, JOHN                        SCANLAN, LORELEI                      SCANLAN, MARIE
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SCANLIN, ERIKA                       SCANLON, BRIDGET                      SCANLON, BRIDGET
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SCANLON, CANDACE                     SCANLON, CONOR                        SCANLON, EMILY
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SCANLON, EMILY                       SCANLON, JENNIFER                     SCANLON, SARAH
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SCANNAPIECO, LINDSEY                 SCANNELL, CAITLIN                     SCANNELL, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCANNELL, NED                        SCANNICCHIO, MARCIA                   SCANTLEBURY, JOSEPH
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SCARAMELLINO, DANIELLE               SCARAMUCCI, GABRIELLA                 SCARAMUCCI, JESSICA
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SCARBERRY, LANE                      SCARBORO, TRACY                       SCARBOROUGH, ASHLEY
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SCARBOROUGH, CHARLIE                 SCARBOROUGH, KATHERINE                SCARBOROUGH, MARIELLE
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SCARBROUGH, KAIESHA Case 22-11238-LSS    Doc 2KARA
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                                                                          SCARBROUGH, LESLIE
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SCARBROUGH, STEVE                   SCARCELLA, ANDREA                      SCARCELLA, GIUSEPPE
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SCARCELLA, SHERRY                   SCARCELLO, MARIE                       SCARCHILLI, ABBY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCARDINO, CHRISTINA                 SCARETTA, JOSEPH                       SCARFO, MARIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCARFONE, FRANK                     SCARINZI, ALLISON                      SCARLETT FOLTZ
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SCARLETTE, BOSTON                   SCARNATO, KIMBERLY                     SCARPA, JESSICA
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SCARPA, LOYANE                      SCARPACE, BECKY                        SCARPACI, ALEXANDRIA
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SCARPATI, LAUREN                    SCARPELLI, MARGARET                    SCARPELLI, MARTHA
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SCARRONE, DANIELLE                  SCARSELLA, VALERIE                     SCARZONE, RON
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCATA, LAURA                        SCATTON, KRISTEN                       SCATURO, JACLYN
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SCAUZILLO, MATT       Case 22-11238-LSS    Doc
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                                                                           SCAVONE, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCAVONE, DIANA                       SCAVOTTO, NICK                         SCAVUZZO, MARIA
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SCEARCE, CHRISTINE                   SCELFO, ERIKA                          SCEPANSKY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCEPURA, LISA                        SCERBO, KAITLIN                        SCHAACK, LAURA
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SCHAAF, ANNA                         SCHAAF, KAILA                          SCHAAF, KRISTOPHER
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SCHAAF, LYNN                         SCHAAP, ANNA                           SCHAAR, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHAB, ROBBIE                        SCHABACKER, DEANNA                     SCHABACKER, PJ
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SCHACHMAN, SARAH                     SCHACHT, CELIA                         SCHACHTEL, MEAGHAN
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SCHACHTELE, ROSANNA                  SCHACHTSCHNEIDER, AMY                  SCHACTER, ELIZABETH
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SCHAD, BRENDA                        SCHAD, KERRY                           SCHADDEL, KATHLEEN
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SCHADE, ANITA         Case 22-11238-LSS
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SCHADE, SCOTT                        SCHADEN, SUSANA                       SCHAEBERLE, CAROLYN
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SCHAEDEL, MARIANA                    SCHAEFER II, GILBERT                  SCHAEFER, ABIGAIL
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SCHAEFER, ANNA                       SCHAEFER, CAITLIN                     SCHAEFER, DANIELLE
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SCHAEFER, DARLENE                    SCHAEFER, ELYSE                       SCHAEFER, EMILY
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SCHAEFER, JAMES                      SCHAEFER, JERRY                       SCHAEFER, JOE
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SCHAEFER, JORDAN                     SCHAEFER, KATHERINE                   SCHAEFER, KRISTEN
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SCHAEFER, KRISTEN                    SCHAEFER, LISA                        SCHAEFER, MADISON
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SCHAEFER, MELISSA                    SCHAEFER, PAM                         SCHAEFER, RICK
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SCHAEFER, ROBYN                      SCHAEFER, SARA                        SCHAEFER, SHANDACE
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SCHAEFER, SHARON      Case 22-11238-LSS    DocSUSAN
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                                                                           SCHAEFERS, MATTHEW
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SCHAEFFER, AMANDA LYN                SCHAEFFER, CALVIN                     SCHAEFFER, CARA
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SCHAEFFER, CLAIRE                    SCHAEFFER, EVELYN                     SCHAEFFER, MAHERLY
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SCHAEFFER, RACHEL                    SCHAEFFLER, JULIA                     SCHAER, HEIDI
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SCHAER, JOSH                         SCHAER, JOYCR                         SCHAFENBERG, TREY
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SCHAFER CLAUDIA                      SCHAFER, ALEXA                        SCHAFER, BAILEY
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SCHAFER, BRENDAN                     SCHAFER, BRITTINI                     SCHAFER, COLTON
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SCHAFER, COREY                       SCHAFER, JANICE                       SCHAFER, MARY BETH
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SCHAFER, MICHAEL                     SCHAFER, OLIVIA                       SCHAFER, PAIGE
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SCHAFER, SARAH                       SCHAFER, TODD                         SCHAFF, JOHNSON
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SCHAFF, KATHRYN       Case 22-11238-LSS    DocALANNA
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                                                                           SCHAFFER, LESLIE
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SCHAFFER, LEXI                       SCHAFFER, LEXI                         SCHAFFER, SARAH
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SCHAFFER, SUE                        SCHAFFER, YNESHA                       SCHAFFHAUSER, LORI
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SCHAFFNER, JOE                       SCHAFFNER, LUKE                        SCHAFFNER, SARAH
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SCHAFFRICK, ALYSON                   SCHAFFRICK, LINDSEY                    SCHAFHAUSER-WRIGHT, SARA
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SCHAFTEL, SAGE                       SCHAG, THERESE                         SCHAIBLE, CAITLYN
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SCHAIBLE-SAMPICA, ELMA               SCHAKE, ERIC                           SCHALICK, MEREDITH
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SCHALK, AMBER                        SCHALK, KATRIN                         SCHALLER, COURTNEY
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SCHALLER, SCOTT                      SCHALLERT, CASSANDRA                   SCHALLES, JENYN
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SCHALLOM, DAVID                      SCHALUTIN, JEFIM                       SCHAMBERGER, GAIL
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SCHAMBERS, ERIN       Case 22-11238-LSS    Doc
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                                              REBECCA                 Page 4389 of 5495
                                                                           SCHAMMEL, LUKE
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SCHAMP, BETHANY                      SCHANDING, MICHAEL                    SCHANER, BETHANY
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SCHANKS, KIMBERLY                    SCHANTZ, BRITTNEY                     SCHANTZ, ROBIN
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SCHANZ, AMBER                        SCHANZ, JOHN                          SCHAP, JULIE
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SCHAPER, SHAWNTAE                    SCHAPIRA, CASEY                       SCHAPPERT, JANE
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SCHAR, MICHELE                       SCHARBER, CHRISTY                     SCHARBER, LAURY
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SCHARCHBURG, RICHARD                 SCHARDT, LOWELL                       SCHARF, ALEX
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SCHARF, MOLLY                        SCHARF, NICOLE                        SCHARFF, JENNIFER
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SCHARL, KRISTIN                      SCHARMANN, JANIECE                    SCHARN, LYNNE
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SCHARNOTT, MICHELLE                  SCHARNOW, ALLY                        SCHARON, KRYSTAL
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SCHARPE, BREANN       Case 22-11238-LSS    Doc
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SCHARWATH, ALEX                      SCHAS, ERNA                           SCHASSE, VANGIE
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SCHASZBERGER, KELLY                  SCHATTELES, DENISE                    SCHATTI, TAYLOR
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SCHATTNER, YAARA                     SCHATTNER, YAARA                      SCHATZ, ALEXANDRA
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SCHATZ, JENNY                        SCHATZ, KELSEY                        SCHATZ, LESLIE
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SCHATZ, RACHEL                       SCHATZ, SAMSON                        SCHATZ, SARAH
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SCHATZ, TINE                         SCHATZEL, MADISON                     SCHATZMAN, SARAH
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SCHAU, CHELSEA                       SCHAUB, ERIN                          SCHAUB, KRYSTLE
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SCHAUB, PATRICIA                     SCHAUBERT, JARED                      SCHAUER, ADAM
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SCHAUER, DEBORAH                     SCHAUER, DICEY                        SCHAUER, KATIE
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SCHAUGH, MARY                           SCHAULS, KYLE                         SCHAUM, RUSSELL
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SCHAUM, SUSANNA                         SCHAUMLEFFEL, JAMES                   SCHAUNAMAN, MICHELE
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SCHECHTER, JAMIE                        SCHECHTMAN, ADAM                      SCHECK, GARY
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SCHECK, LINDA                           SCHECK, MIRANDA                       SCHECKEL, ASHLEY
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SCHEDLER, MARISSA                       SCHEDLER, REBECCA                     SCHEDULEGRAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SCHEDULEONCE, LLC                       SCHEEL, JENNIFER                      SCHEELER, KATLYN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHEELER, KIM                           SCHEELINE, MELISSA                    SCHEER, CHARLENE
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SCHEER, KIM                             SCHEER, LIZ                           SCHEER, MATTHEW
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SCHEESE, TAYLOR                         SCHEETZ, ADRIENNE                     SCHEETZ, DARCY
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SCHEETZ, SUSAN        Case 22-11238-LSS    Doc 2 ALICIA
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SCHEFFENACKER, CARRIE                SCHEFFER, KELSEY                      SCHEFFLER-PLOETZ, SAMANTHA
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SCHEFFNER, NIKKI                     SCHEFLEN, ABBEY                       SCHEIB, MONICA
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SCHEIBELER, AMANDA                   SCHEIBER, SIMONA                      SCHEIBLE, SONYA
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SCHEICH, ADAM M.                     SCHEID VINEYARDS, INC                 SCHEID, SARA
ADDRESS AVAILABLE UPON REQUEST       305 HILLTOWN ROAD                     ADDRESS AVAILABLE UPON REQUEST
                                     SALINAS, CA 93908




SCHEIDBACH, ALEXANDER                SCHEIDEGGER, JILLIAN                  SCHEIDEGGER, TERESA
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SCHEIDELL, SARAH                     SCHEIDEMANN, CLAIRE                   SCHEIDER, BRITTANY
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SCHEIDT, AMANDA                      SCHEIDT, KRISTEN                      SCHEIER, DAVID
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SCHEIFELE, CATI                      SCHEIMAN, JEFFREY                     SCHEINER, MARC
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SCHEINER, SUELLEN                    SCHEINTAUB, ARIEL                     SCHEINTHAL, GABRIEL
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SCHEIRMAN, JOAN       Case 22-11238-LSS    Doc
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                                                                           SCHELBLE, KATIE
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SCHELICH, MEGAN                      SCHELKUN, ANDREA                       SCHELL, CHELSEA
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SCHELL, CHELSIE                      SCHELL, HILARY                         SCHELL, JACQUELINE
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SCHELL, JENNIFER                     SCHELL, JOHN                           SCHELL, LEA
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SCHELL, RICHARD                      SCHELL, SUZANNE                        SCHELLER C/0 EDLEN, LISA
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SCHELLER, DIANE                      SCHELLER, KATHY                        SCHELLER, MELISSA
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SCHELLERUP, MARK                     SCHELLHAMMER, MEGHAN                   SCHELLINGER, STACI
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SCHELLINGER, TRICIA                  SCHELLY, SAM                           SCHEMBRE, LOUIS
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SCHEMEL, ALYSSA                      SCHEMEL, LAURA                         SCHEMENAUER, TAYLOR
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SCHEMMEL, GERALYN                    SCHEMMER, JACOB                        SCHEMSTAD, ANNA
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SCHENCK, HUNTER       Case 22-11238-LSS    Doc
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                                                                           SCHENCK, KURT
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SCHENCK, NICHOLAS                    SCHENCK, VIRGINIA                     SCHENDEL, APRIL
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SCHENDZELOS, SARAH                   SCHENEMAN, ANGELA                     SCHENENDORF, LEANNE
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SCHENEWERK, LEIGH                    SCHENK, AMANDA                        SCHENK, ANNA
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SCHENK, ANNELIESE                    SCHENK, JACLYN                        SCHENK, JENNIFER
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SCHENK, JESSICA                      SCHENK, KATI                          SCHENK, MONICA
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SCHENK, RACHEL                       SCHENK, ROBERT                        SCHENK, SARAH
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SCHENK, SHARON                       SCHENKE, JEFF                         SCHENKEL, HANNA
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SCHENKEL, JOSHUA                     SCHENKEL, KATHERINE                   SCHENKEL, PAUL
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SCHENKER, ANNA                       SCHENKER, RACHEL                      SCHEON, EILEEN
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SCHEPERS, EMILY       Case 22-11238-LSS    DocJESSICA
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SCHEPP, EMILY                        SCHEPP, LANA                           SCHEPP, LAUREN
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SCHEPP, RICHARD                      SCHEPPERLEY, DANIELLE                  SCHER, GABRIEL
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SCHER, RACHEL                        SCHERBER, JANE                         SCHERBER, RYAN
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SCHERER, HEATHER                     SCHERER, JENNIFER                      SCHERER, KATHLEEN
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SCHERER, KATIE                       SCHERER, MARK                          SCHERER, MICHELLE
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SCHERER, PAUL                        SCHERER, REBECCA                       SCHERF, MARYBETH
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SCHERLER, ANDREA                     SCHERLIN, AMANDA                       SCHERPELZ, TAYLOR
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SCHERPENBERG, CHELSEA                SCHERRER, LEA                          SCHERRY, KATIE
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SCHERSCHEL, SARAH                    SCHERTZ, LAUREN                        SCHERTZER, SOPHIA
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SCHERWITZL, RAOUL     Case 22-11238-LSS    DocOLIVIA
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                                                                           SCHETTER, JESSICA
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SCHETTER, MICHELLE                   SCHETTINO, ANTONIETA                   SCHETTINO, MICHELLE
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SCHETZ, KAREN                        SCHEU, PETER                           SCHEUBER, ASHLEE
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SCHEUER, JESSICA                     SCHEUER, REBECCA                       SCHEUERLE, KATIE
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SCHEUERMANN, JILL                    SCHEULER, OLIVIA                       SCHEVING, WILLIAM
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SCHEY, HEATHER                       SCHIANO, DEB                           SCHIANO, SAMANTHA
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SCHIAPPA, MIKE                       SCHIAVO, CRAIG                         SCHIAVO, JOHN
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SCHIAVONE, ALICIA                    SCHIAVONI, JOANNA                      SCHIAZZA, DEIDRE
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SCHIBI, HANNAH                       SCHICK, LIZ                            SCHICK, VICTORIA
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SCHICKEL, CECILIA                    SCHICKER, MICHELE                      SCHICKLER, BARBARA
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SCHIEBER, SHAWN       Case 22-11238-LSS    Doc
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SCHIEDEL, KYLE                       SCHIEFER, GRACE                        SCHIEFER, SHANNON
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SCHIEFFER, CHARLES                   SCHIEGNER, KAYLEIGH                    SCHIELDROP, CATHERINE AND DAVID
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SCHIELDS, TOM                        SCHIELE, NATALIE                       SCHIELER, CHARLES
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SCHIELER, KAREN                      SCHIELI, SOPHIE                        SCHIELS, JEAN
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SCHIEMAN, KATYEE                     SCHIENKE, ERICH                        SCHIER, COLLEEN
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SCHIER, MARY                         SCHIERBEEK, GINA                       SCHIERBROCK, JOE
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SCHIERHOLZ, ORVAL                    SCHIESER, ANN                          SCHIETRUM, KRISTIN
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SCHIETZELT, JEFFREY                  SCHIEVE, KEGAN                         SCHIFANO, CHRISTINA
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SCHIFF, CHELSEA                      SCHIFF, DAVID                          SCHIFF, JILL
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SCHIFFER, COLLEEN                    SCHIFFER, LESLIE                      SCHIFFER, LORI
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SCHIFFER, MEGANN                     SCHIFFHAUER, LIESEL                   SCHIFFNER, JANIS
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SCHILD, NORA                         SCHILD, NORA                          SCHILDERINK, WES
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SCHILDKRAUT, ERIC                    SCHILDKRET, LIZ                       SCHILDT, SARAH
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SCHILDWACHTER, KRISTIN               SCHILL, AMIE                          SCHILL, ANNA
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SCHILL, KATHERINE                    SCHILL, KAYLEE                        SCHILL, KAYLEE
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SCHILL, LEAH                         SCHILLACE, JENNIFER                   SCHILLACI, SOPHIE
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SCHILLER, BENJAMIN                   SCHILLER, JULIA                       SCHILLER, LUIZ
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SCHILLER, MAXINE                     SCHILLER, ROBIN                       SCHILLER, STEPHANIE
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SCHILLI, TASHA        Case 22-11238-LSS     Doc
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SCHILLING, DEREK                     SCHILLING, DEREK                       SCHILLING, JOLINE
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SCHILLING, JOSEPH                    SCHILLING, JUDY                        SCHILLING, LISA
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SCHILLING, NANCY                     SCHILLING, RICHARD                     SCHILLING, RICHARD
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SCHILLING, SCOTT                     SCHILLING, SHELBY                      SCHILLINGER, AMY
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SCHILLO, MORGAN                      SCHILLO, PAYTON                        SCHILPEROORT, MICHAEL
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SCHILY, MICKI                        SCHIMBERG, VIVIAN                      SCHIMMEL, DANA
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SCHIMMEL, HOLLY                      SCHIMMER, HAYLEY                       SCHIMMOELLER, HANNAH
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SCHIMMOLLER, HOWARD                  SCHIMMOLLER, KELLI                     SCHIMPF, CARA
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SCHINDEL, JEAN                       SCHINDEL, SHANNON                      SCHINDELE, DANAE
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SCHINDERLE, NICOLE    Case 22-11238-LSS    Doc 2 AMYFiled 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHINDLER II, T R                    SCHINDLER, CATHERINE                  SCHINDLER, CHERYL
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SCHINDLER, ELISE                     SCHINDLER, GRETA                      SCHINDLER, HEIDI
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SCHINDLER, KOREN                     SCHINDLER, RACHEL                     SCHINDLER, SARA
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SCHINGECK, STEPHANIE                 SCHINO, JENNIFER                      SCHINTZIUS, JULIE
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SCHINZEL, JESSICA                    SCHIOPPO, DAVIA                       SCHIORRING, EVA
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SCHIPHORST, LORI                     SCHIPPEL, ANNETTE                     SCHIPPER, AMBER
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SCHIPPER, JESSICA                    SCHIPULL, SAMANTHA                    SCHIRALDI, MARIA
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SCHIRALDI, MISS                      SCHIRATO, CHRISTINE                   SCHIRICK, ELIZABETH
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SCHIRK, CLAUS                        SCHIRMER, JANEE                       SCHIRO, MISTY
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SCHISLER, EMMA        Case 22-11238-LSS     DocBRITTANY
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                                                                           SCHISSLER, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHISSLER, SARAH                     SCHITTIG, SEAN                         SCHITTINO, AMANDA
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SCHJANG, GILISSA                     SCHLABACH, DAVID                       SCHLABACH, GAYLE
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SCHLABACH, JULIA                     SCHLABS, TERRI                         SCHLACHTER, AMY
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SCHLACHTER, JERICA                   SCHLACHTER, MADISON                    SCHLACTER, REBECCA
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SCHLAFF, NATALIE                     SCHLAGEL, EMILEE                       SCHLAGETER, KRISTIN
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SCHLAGHECK, KARI                     SCHLAICH, TYLER                        SCHLAIKOWSKI, CORINN
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SCHLAKMAN, ERIC                      SCHLAMME, JOE                          SCHLANGER, CRAIG
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SCHLAPPI, ALLISON                    SCHLATHER, TERRI                       SCHLAU, NICOLE
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SCHLAUCH, ERIN                       SCHLAUD, JODI                          SCHLAUFMAN, VANESSA
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SCHLAUTMAN, HEATHER Case 22-11238-LSS
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                                                                          SCHLEBECKER,
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SCHLECHT, KENDRA                    SCHLECHTRIEM, CAROL                    SCHLECKSER, PATTI
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SCHLEE, JANENE                      SCHLEE, KRISTEN                        SCHLEETER, RYAN
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SCHLEGEL, CHRISTINA                 SCHLEGEL, MEGAN                        SCHLEGEL, MICHAEL
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SCHLEGEL, MIKE                      SCHLEICH, HAILEY                       SCHLEICH, RACHAEL
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SCHLEIERMACHER, KATHERINE           SCHLEIFER, EVAN                        SCHLEIFSTEIN, NATALIE
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SCHLEIG, CHAD                       SCHLEMME, GABRIELLE                    SCHLEMMER, DONNA
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SCHLEMMER, KRISTEN                  SCHLEMMER, MERRITT                     SCHLENGER, SARAH
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SCHLENKER, GEORGE                   SCHLESINGER, FREDRIC                   SCHLESINGER, JAMES
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SCHLESINGER, ROBIN                  SCHLESSEL, SAMANTHA                    SCHLESSMAN, MATT
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SCHLETT, ARTHUR       Case 22-11238-LSS    Doc TARYN
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SCHLEY, SANDRA                       SCHLEYER, STEPHANIE                   SCHLICHTER, NICOLE
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SCHLICHTING, DARRELL                 SCHLICHTING, MARLEE                   SCHLICHTING, SAM
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SCHLIEPER, KRISTEN                   SCHLIMM, SARA                         SCHLIPMANN, JACKIE
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SCHLITT, MATT                        SCHLITTENHART, RUTH                   SCHLOEMER, JENIFER
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SCHLOENDORN, THOMAS                  SCHLONSKI, PENNY                      SCHLOSNAGLE, JARED
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SCHLOSS, JENN & LEE                  SCHLOSS, LESLIE                       SCHLOSS, STEPHANIE
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SCHLOSSBERG, AMANDA                  SCHLOSSER, CHRISTINE                  SCHLOSSER, JENNIFER
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SCHLOSSER, JUSTIN                    SCHLOSSER, KRISTIN                    SCHLOSSER, SARAH
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SCHLOSSER, TAMALYNN                  SCHLOTT, ARIN                         SCHLOTT, OLIVIA
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                                                                           SCHLOUGH, CAROLYN
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SCHLUDE, MAGGIE                      SCHLUENDER, NICOHLE                   SCHLUEP, DARIN
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SCHLUETER, CHELSEA                   SCHLUETER, CHRIS                      SCHLUETER, MITZIE
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SCHLUNEGER, STEVEN                   SCHLUP, JACLYN                        SCHLUPP, ANDREA
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SCHLUSSER, EMILY                     SCHLUTER, TARA LAUREN                 SCHLUTZ, KELLY
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SCHMAIZL, MANNY                      SCHMALE, JEFF                         SCHMALING, KAREN
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SCHMALL, KIERSTEN                    SCHMALTZ, ELIDA                       SCHMALTZ, EMMA
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SCHMALZ, DINA                        SCHMALZRIED, AMANDA                   SCHMAUS, JENNIFER
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SCHMECK, KACIE                       SCHMEDDING, FLOYD                     SCHMEICHEL, JACQUELYN
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SCHMEISER, KELLY                     SCHMELKIN, ADAM                       SCHMELTER, MCKENNA
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SCHMELTZ, AUDREY      Case 22-11238-LSS    DocJAIKOB
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SCHMERMUND, MANDEE                   SCHMICK, CHRISTIN                     SCHMICKER, BRAD
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SCHMID, JESSE                        SCHMID, JULIET                        SCHMID, KATIE
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SCHMID, LORI                         SCHMID, MAEVE                         SCHMID, RYAN
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SCHMID, SARAH                        SCHMIDA, DAVID                        SCHMIDBERGER, KAREN
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SCHMIDER, YOLANDA                    SCHMIDGALL, KATE                      SCHMIDGALL, ROBIN
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SCHMIDHAMER, ALLYS                   SCHMIDLIN, AMANDA                     SCHMIDT, ALEX
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SCHMIDT, ALEXANDRA                   SCHMIDT, ALI                          SCHMIDT, ALLEN
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SCHMIDT, ALLIE                       SCHMIDT, ALYSSA                       SCHMIDT, AMANDA
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SCHMIDT, AMANDA                      SCHMIDT, ASHLEY                       SCHMIDT, BETH
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SCHMIDT, BROOKE       Case 22-11238-LSS    Doc
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SCHMIDT, CATHERINE                   SCHMIDT, CATHY                         SCHMIDT, CHELSIE
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SCHMIDT, CLAIRE                      SCHMIDT, COLLEEN                       SCHMIDT, CRYSTAL
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SCHMIDT, DANIEL                      SCHMIDT, DANIELA                       SCHMIDT, DARCY
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SCHMIDT, DEREK                       SCHMIDT, DEVAN                         SCHMIDT, ELAINE
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SCHMIDT, ELIZABETH                   SCHMIDT, ELIZABETH                     SCHMIDT, ELLEN
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SCHMIDT, EMILY                       SCHMIDT, ERICA                         SCHMIDT, ERIN
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SCHMIDT, ERIN                        SCHMIDT, GRACE                         SCHMIDT, HANNAH
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SCHMIDT, HEATHER                     SCHMIDT, HILLARY                       SCHMIDT, JASON
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SCHMIDT, JENNA                       SCHMIDT, JESSICA                       SCHMIDT, JOCELYN
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SCHMIDT, JOHN         Case 22-11238-LSS    Doc
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SCHMIDT, KARLEE                      SCHMIDT, KATE                         SCHMIDT, KATIE
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SCHMIDT, KATIE                       SCHMIDT, KELSEY                       SCHMIDT, KERRY
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SCHMIDT, KIM                         SCHMIDT, KRISTINA                     SCHMIDT, LAURA
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SCHMIDT, LEIGH ANNE                  SCHMIDT, LISA                         SCHMIDT, LORRI
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SCHMIDT, LUKE                        SCHMIDT, LYNNE                        SCHMIDT, MAGGIE
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SCHMIDT, MARK                        SCHMIDT, MARY                         SCHMIDT, MARY
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SCHMIDT, MATTHEW                     SCHMIDT, MEGAN                        SCHMIDT, MOLLY
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SCHMIDT, REBECCA                     SCHMIDT, RUTH                         SCHMIDT, SABENA
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SCHMIDT, SALLY                       SCHMIDT, SAM                          SCHMIDT, SAM
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SCHMIDT, SANDY        Case 22-11238-LSS    Doc
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SCHMIDT, SHARI                       SCHMIDT, SHARON                       SCHMIDT, SYDNEY
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SCHMIDT, TAYLOR                      SCHMIDT, TAYLOR                       SCHMIDT, THOMAS
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SCHMIDT, WAYNE                       SCHMIDT, WHITNEY                      SCHMIEDER, ALLYSON
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SCHMIEDER, GARY                      SCHMIEDER, KATLIN                     SCHMIEGEL, LUKE
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SCHMIER, DAVE                        SCHMIG, JANE                          SCHMINCKE, DON
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SCHMIT, ARDI                         SCHMIT, JENNY                         SCHMIT, OLIVIA
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SCHMITGEN, ASHLYN                    SCHMITT STACY                         SCHMITT, ADAM
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SCHMITT, ANDREA                      SCHMITT, CASAUNDRA                    SCHMITT, COLBY
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SCHMITT, CONNIE                      SCHMITT, ERIKA                        SCHMITT, ERIN
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SCHMITT, HANNAH       Case 22-11238-LSS    Doc
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SCHMITT, KATIE                       SCHMITT, KLAUS                         SCHMITT, MADISON
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SCHMITT, MARTA                       SCHMITT, MEGAN                         SCHMITT, MICHELLE
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SCHMITT, NATHAN                      SCHMITT, NOELLE                        SCHMITT, PATRICIA SCHMITT
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SCHMITT, REBECCA                     SCHMITT, SARA                          SCHMITT, SETH
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SCHMITT, THOMAS                      SCHMITTAU, LAUREN                      SCHMITTAU, LAUREN
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SCHMITTENBERG, HALLI                 SCHMITTGENS JR, EUGENE P               SCHMITTLING, MARK
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SCHMITZ, ARLENE                      SCHMITZ, BILL “POPPY”                  SCHMITZ, BOB
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SCHMITZ, CLARA                       SCHMITZ, COLLEEN                       SCHMITZ, DEBBIE
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SCHMITZ, JESSICA                     SCHMITZ, JODY                          SCHMITZ, MARTY
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SCHMITZ, MEGAN        Case 22-11238-LSS    Doc
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SCHMITZ, NEIL                        SCHMITZ, ROB                             SCHMITZ, RUDOLF
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SCHMITZ, SARAH                       SCHMITZ, SHARON                          SCHMITZ, ZAC
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SCHMOEGER, JUDY                      SCHMOK, DOROTHY                          SCHMOLDT, ANNA
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SCHMOLL, ELIZABETH                   SCHMOLL, ERIN                            SCHMOLL, LISA
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SCHMOYER, JOBETH                     SCHMUHL, DOROTHY                         SCHNAARS, ERIC
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SCHNABEL, ASHLEY                     SCHNAIDT, RENEE                          SCHNAKE, GRETA
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SCHNAKE, ROB                         SCHNAPP, ALEXANDRA                       SCHNARE, MEGHAN
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SCHNAUBELT, DR. MARY                 SCHNEBLY, SARAH                          SCHNEEBERGER, NICOLE
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SCHNEEWEIS, HALEY                    SCHNEIDER NATIONAL CARRIERS, INC.        SCHNEIDER, ALEX
ADDRESS AVAILABLE UPON REQUEST       (SCHNEIDER TRANSPORTATION                ADDRESS AVAILABLE UPON REQUEST
                                     MANAGEMENT)
                                     PO BOX 2545
                                     GREEN BAY, WI 54306
SCHNEIDER, ANNA       Case 22-11238-LSS    DocANNA
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                                                                           SCHNEIDER, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHNEIDER, ANTONIA                   SCHNEIDER, APRIL                       SCHNEIDER, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHNEIDER, BRYNNE                    SCHNEIDER, CHRISTINE                   SCHNEIDER, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHNEIDER, DALENA                    SCHNEIDER, DIAN                        SCHNEIDER, DORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHNEIDER, EDITH                     SCHNEIDER, EMILY                       SCHNEIDER, GEORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHNEIDER, HEATHER                   SCHNEIDER, JAMES                       SCHNEIDER, JAROD
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SCHNEIDER, JASON                     SCHNEIDER, JASON                       SCHNEIDER, JENNIFER
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SCHNEIDER, JOANNA                    SCHNEIDER, JORDAN                      SCHNEIDER, JULIA
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SCHNEIDER, JULIE                     SCHNEIDER, KARSEE                      SCHNEIDER, KATHERINE
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SCHNEIDER, KELLIE                    SCHNEIDER, KIRSTEN                     SCHNEIDER, LAURA
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SCHNEIDER, MEGHANN                   SCHNEIDER, MELISSA                    SCHNEIDER, MICHAEL
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SCHNEIDER, MORGAN                    SCHNEIDER, NATALIE                    SCHNEIDER, NICOLE
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SCHNEIDER, OWEN                      SCHNEIDER, PAMELA                     SCHNEIDER, PATRICIA
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SCHNEIDER, REBECCA                   SCHNEIDER, RYAN                       SCHNEIDER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHNEIDER, SOREN                     SCHNEIDER, SUSAN                      SCHNEIDER, SYDNEY
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SCHNEIDER, TAYLOR                    SCHNEIDER, TIFFANY                    SCHNEIDER, TRACEY
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SCHNEIDER, TRISH                     SCHNEIDER, WHITNEY                    SCHNEIDER, ZACH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHNEIDER-GREEN, EMMY                SCHNEIDER-GREEN, EMMY                 SCHNEIDERMAN, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHNEIDERMAN, ANDREA                 SCHNEIDERMAN, CATE                    SCHNEIDERWIND, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SCHNEIER, JOSEPH      Case 22-11238-LSS    DocCALLI
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SCHNELL, LAURA                       SCHNELLE, NICK                        SCHNELLER, ALIZA
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SCHNEPF, HEATHER                     SCHNEPF, MOLLIE                       SCHNEPP, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHNETZER, OWEN                      SCHNICKE, BRIAN                       SCHNIEDERS, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHNIEDERS, JONES                    SCHNIER, ELLEN                        SCHNIERLE, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHNIPKE, BRENT                      SCHNIPKE, SHERRI                      SCHNITTGER, DOUG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHNITTKER, MADELEINE                SCHNOOR, AMIE                         SCHNOOR, TORI
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SCHNUERER, ADRIENNE                  SCHNUGG, STEPHANIE                    SCHNURE, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHNURR, VANESSA                     SCHNYDERITE, PATRICIA                 SCHOBER, ALEXANDER
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SCHOBER, GLENN                       SCHOBER, LISA                         SCHOBER, SONYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SCHOBER, VINCE        Case 22-11238-LSS    Doc
                                     SCHOCH,    2 Filed 11/30/22
                                             BRENDAN                  Page 4414 ofDANA
                                                                           SCHOCH, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOCH, MATT                         SCHOCHET, RANDI                       SCHOCK, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOCK, BRIDGET                      SCHOCK, MIKALA                        SCHOCK, MINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOCKETT, JENNIFER                  SCHODT, KEVIN                         SCHOEBERLEIN, CHRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOEDLER, SCOTT                     SCHOEFFLER, JUDITH                    SCHOELEN, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOELLER, MARCIA                    SCHOEMAKER, JENNIFER                  SCHOEMAN, CLIFFORD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOEN, ANNE                         SCHOEN, CLARISSA                      SCHOEN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOEN, HANNAH                       SCHOEN, JENNIFER                      SCHOEN, MAX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOEN, RHONDA                       SCHOENBAECHLER, BROOKE                SCHOENBERG, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOENBERG, KIMBERLY                 SCHOENBERGER, JACK                    SCHOENBERGER, TORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SCHOENDORF, BRIDGET Case 22-11238-LSS    Doc
                                   SCHOENE,   2 Filed 11/30/22
                                            BARBARA                  Page 4415 of 5495
                                                                          SCHOENE, PATIENCE
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SCHOENEBERGER, PAT                  SCHOENECKER, ABIGAIL                   SCHOENECKER, DANIELLE
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SCHOENEMAN, HANNAH                  SCHOENEMAN, KORI                       SCHOENEMANN, AMBER
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SCHOENFELD, CRAIG                   SCHOENFELDER, KIMBERLY                 SCHOENFELDER, MAIA
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SCHOENFELDER, MOLLY                 SCHOENHERR, MELISSA                    SCHOENHOLZ, KENZIE
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SCHOENI, CHELSEA                    SCHOENING, CHRISTINE                   SCHOENING, PETER
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SCHOENKE, ISABELA                   SCHOENLEBER, NANCY                     SCHOENMANN, CATHERINE
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SCHOENST, MANDY                     SCHOENSTEIN, KAITLYN                   SCHOENTHAL, HEATHER
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SCHOENTHALER, CLAUDIA               SCHOEPFLIN, CARLY                      SCHOEPFLIN, JESSICA
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SCHOETTINGER, JOHN                  SCHOETTLE, DANA                        SCHOETTLER, AMANDA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SCHOETTLER, CATHERINE Case 22-11238-LSS
                                     SCHOF, Doc
                                            HENRY2   Filed 11/30/22   Page 4416 of 5495
                                                                           SCHOFDING, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHOFFMAN, BRIANA                    SCHOFIELD, AUDREY                      SCHOFIELD, BETSY
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SCHOFIELD, CAPRI                     SCHOFIELD, CARLY                       SCHOFIELD, EMILY
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SCHOFIELD, EMILY                     SCHOFIELD, PATRICIA                    SCHOFIELD, RACHAEL
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SCHOFIELD, RAE                       SCHOFIELD, RICHARD                     SCHOLEM, AUNDREA
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SCHOLER, IAN                         SCHOLER, SUSAN                         SCHOLES, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SCHOLES, DAVID                       SCHOLFIELD, DANIELLE                   SCHOLIUM PROJECT LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         PO BOX 11106
                                                                            OAKLAND, CA 94611




SCHOLL, AARON                        SCHOLL, JULIE                          SCHOLL, MICHELLE
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SCHOLLA, CRAIG                       SCHOLLE, BRYAN                         SCHOLL-MARVEL, ALEXANDRA
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SCHOLTEN, ERIN                       SCHOLTEN, HEIDI                        SCHOLTEN, KARLA
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SCHOLTEN, KATHERINE   Case 22-11238-LSS    DocKODY
                                     SCHOLTEN,  2 Filed 11/30/22      Page 4417 of 5495
                                                                           SCHOLTEN, PATRICIA
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SCHOLTES, KATE                       SCHOLTING, EMILY                       SCHOLTZ, KARA
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SCHOLWINSKI, MICHELE                 SCHOLZ, PAIGE                          SCHOLZ, ROSALEE
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SCHOLZ, SHANEL                       SCHOLZ, TERI                           SCHOMAKER, JEFF
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SCHOMAKER, SARAH                     SCHOMBURG, MEREDITH                    SCHOMMER, SHEILA
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SCHON, ANDREW                        SCHON, GISELA                          SCHONAUER, STEPHANIE
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SCHONBERG, KAREN                     SCHONBERGER, ZACHARY                   SCHONBRUN, JACKY
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SCHONE, CARLOTA                      SCHONEBERGER, BLAKE                    SCHONEWOLF, KATIE
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SCHONGAR, GLENN                      SCHONHARDT, LAURA                      SCHONING, LINDSEY
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SCHONS, ALYSIA                       SCHONSTAL, JOSHUA                      SCHOOF, BRITTANY
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SCHOOL PILATES, OLD   Case 22-11238-LSS
                                     SCHOOL,Doc  2 Filed 11/30/22
                                             JEREMY                   Page 4418 of 5495
                                                                           SCHOOLAR, GEOFFREY
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SCHOOLEY, DANA                       SCHOOLEY, DUSTIN                      SCHOOLEY, NIKKI
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SCHOOLFIELD, JASON                   SCHOOLMAN, JULIE                      SCHOOLMASTER, ELIZABETH
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SCHOOLS, AMY                         SCHOONOVER, KARA                      SCHOONOVER, PAUL
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SCHOONOVER, TAYA                     SCHOOTER, TRAVIS                      SCHOPF, CHRISSY
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SCHOPPA, ALEX                        SCHOPPE, DANA                         SCHOPPEL, BRIAN
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SCHOR, JESSICA                       SCHOREDER, TERESA                     SCHORR, CELINA
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SCHORR, CLIFF                        SCHORR, DANIEL                        SCHORR, JENNIFER
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SCHORR, KENNEDY                      SCHORR, KEVIN                         SCHORR, SAMANTHA
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SCHOTT, ADELE                        SCHOTT, ALORA                         SCHOTT, ELIZABETH
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SCHOTT, KATHERINE     Case 22-11238-LSS
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                                                                           SCHOTT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHOTT, MATT                         SCHOTT, SHANNON                       SCHOTTEN, LAUREN
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SCHOTTERS, PAYSON                    SCHOTZKO, SHAYLA                      SCHOUNARD, ELIZABETH
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SCHOUTEN, ABBY                       SCHOUTEN, MICHAEL                     SCHOVANEC, BRETT
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SCHOW, GRETCHEN                      SCHOWE, ANNA                          SCHPAK, ANDREW
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SCHRADE, MELISSA                     SCHRADER, ANNA                        SCHRADER, JEN
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SCHRADER, JENNIFER                   SCHRADER, LYNN                        SCHRADER, MAGGIE
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SCHRADER, MICHAEL                    SCHRADER, NATALIE                     SCHRADER, ROGER
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SCHRADER, TRISHA                     SCHRAER, AMY                          SCHRAFFENBERGER, DONNA
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SCHRAG, BOBBY                        SCHRAG, SAMANTHA                      SCHRAIBMAN, CAROLINE
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SCHRAM, GALEN         Case 22-11238-LSS    Doc
                                     SCHRAM,    2 Filed 11/30/22
                                             KATHLEEN                 Page 4420 ofKRISTIN
                                                                           SCHRAM, 5495
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SCHRAM, MICHAEL                      SCHRAMM, ERIC                         SCHRAMM, JAKE
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SCHRAMM, JONATHAN                    SCHRAMM, JOSEPHINE                    SCHRAMM, KATHLEEN
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SCHRAMM, LINCOLN                     SCHRAMM, LUKE                         SCHRAMM, MIGUEL
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SCHRAMM, RACHEL                      SCHRAMM, SARINA                       SCHRAMM, SARINA
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SCHRANDT, ALLAN                      SCHRANTZ, LARRY                       SCHRATZ, REBECCA
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SCHRAUTH, DEBBIE                     SCHRAUTH, RENEE                       SCHRAY, JENA
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SCHRECK, MARY ANN                    SCHRECKENGOST, CLINTON                SCHRECKENGOST, JILEENA
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SCHREGER, SEAN                       SCHREIBER, CORALY                     SCHREIBER, EMMA
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SCHREIBER, ERIN                      SCHREIBER, J.P.                       SCHREIBER, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SCHREIBER, JOHN       Case 22-11238-LSS    DocKATHLEEN
                                     SCHREIBER, 2 Filed 11/30/22      Page 4421  of 5495
                                                                           SCHREIBER, SEYMOUR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHREIBER, WILLIAM                   SCHREIBERG, ERIN                      SCHREIBMAN, SARAH
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SCHREIBSTEIN, WENDY                  SCHREIDER, JUDITH                     SCHREIER, KERRI
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SCHREINER, ASHLYN                    SCHREINER, BLAKE                      SCHREINER, RANDEHL
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SCHREINER, SARA                      SCHREINER, TAYLOR                     SCHREMMER, MADELINE
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SCHREYER, JESSE                      SCHRIBMAN, JACOB                      SCHRICKER, JUDY
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SCHRIEVER, KAREN                     SCHRIEVER, SHEENA                     SCHRIMPER, MICHELLE
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SCHRINER, SHANNON                    SCHRIVER, DANIELLE                    SCHRIVER, MARY
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SCHRODE, MARC                        SCHRODER, AMANDA                      SCHRODER, MELISSA
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SCHROEDER, ALEXIS                    SCHROEDER, ANDIE                      SCHROEDER, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SCHROEDER, ASHLEY     Case 22-11238-LSS    Doc ASHLEY
                                     SCHROEDER, 2 Filed 11/30/22      Page 4422 of 5495
                                                                           SCHROEDER, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHROEDER, CYNTHIA                   SCHROEDER, DIANE                      SCHROEDER, EMILY
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SCHROEDER, ERIN                      SCHROEDER, FRANCESCA                  SCHROEDER, HOLLY
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SCHROEDER, JAMIN                     SCHROEDER, JANETTE                    SCHROEDER, JEFF
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SCHROEDER, JENNA                     SCHROEDER, JENNIFER                   SCHROEDER, JESSICA
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SCHROEDER, JUDITH                    SCHROEDER, KATEY                      SCHROEDER, KATIE
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SCHROEDER, KEVIN                     SCHROEDER, KRISTEN                    SCHROEDER, KRISTIE
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SCHROEDER, LAUREL                    SCHROEDER, LAUREN                     SCHROEDER, LAUREN
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SCHROEDER, LEE                       SCHROEDER, LINDSAY                    SCHROEDER, LOGAN
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SCHROEDER, MARIE                     SCHROEDER, MARK                       SCHROEDER, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SCHROEDER, MEGAN      Case 22-11238-LSS    Doc MICHELLE
                                     SCHROEDER, 2 Filed 11/30/22      Page 4423 of 5495
                                                                           SCHROEDER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHROEDER, NICOLE                    SCHROEDER, ROBERT                     SCHROEDER, RYAN
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SCHROEDER, SAMUEL                    SCHROEDER, SARA                       SCHROEDER, SARAH
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SCHROEDER, SCOTT                     SCHROEDER, SHANNON                    SCHROEDER, SHAWNACI
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SCHROEDER, TODD                      SCHROER, ELIZABETH                    SCHROER, GRETCHEN
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SCHROER, LEIGH                       SCHROER, MARY                         SCHROETER, ALISON
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SCHROETER, ANI                       SCHROETTINGER, ERIN                   SCHROFF, MONIQUE
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SCHROKER, ANDREW                     SCHROLL, TASSI                        SCHROM, MIAYA
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SCHROTH, RON                         SCHROTT, KELLY                        SCHROYER, ANGELA
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SCHRUBEN, PATRICK                    SCHRUM, STEPHEN                       SCHRUMP, SUZANNE
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SCHRUMPF, LEVI        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SCHU, FRANCESCA                  Page 4424 of 5495
                                                                           SCHUBAUER, LINDA
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SCHUBBE, ALEY                        SCHUBERT, CHRISTINA                    SCHUBERT, HANNAH
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SCHUBERT, ISELA                      SCHUBERT, MADISON                      SCHUBERT, MELISSA
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SCHUBERT, PAUL                       SCHUBERT, PRISCILLA                    SCHUBERT, STEVEN
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SCHUBERT, SUSAN                      SCHUBIGER, CHELSEA                     SCHUCHARD, KAYLA
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SCHUCHART, ANGELA                    SCHUCK, JAIME                          SCHUCK, JAMIE
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SCHUCK, JENN                         SCHUCK, MADELINE                       SCHUCK, MARY
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SCHUCK, MATT                         SCHUCK, STACY                          SCHUDY, HEATHER
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SCHUELE, ALLYSON                     SCHUELLER, CHELSEY                     SCHUELLER, OLIVIA
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SCHUELLER, SARAH                     SCHUEMANN, KENNETH                     SCHUENEMAN, LAURA
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SCHUENEMAN, LISA      Case 22-11238-LSS    Doc 2LUCAS
                                     SCHUESSLER,     Filed 11/30/22   Page 4425 of GINA
                                                                           SCHUETT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHUETT, MEGAN                       SCHUETTENBERG, DANIEL                 SCHUETZ, DANIEL
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SCHUETZ, MORGAN                      SCHUFT, AMANDA                        SCHUG, BRIAN
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SCHUG, HANNAH                        SCHUG, LAURA                          SCHUG, ROBERT
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SCHUGEL, KELLY                       SCHUH, CAITLIN                        SCHUH, KENDRA
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SCHUH, KENNEDY                       SCHUITEMA, ANNIE                      SCHUITT, STEPHANIE
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SCHULD, HADLEY                       SCHULER IV, GEORGE                    SCHULER, ANNA
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SCHULER, CARLYE                      SCHULER, CAROLINE                     SCHULER, CODY
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SCHULER, ELIZABETH                   SCHULER, JENNIFER                     SCHULER, JOANNA
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SCHULER, JOLISSE                     SCHULER, MARY                         SCHULER, MONICA
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SCHULER, MORGAN       Case 22-11238-LSS    Doc
                                     SCHULER,    2 Filed 11/30/22
                                              VICTORIA                Page 4426  of 5495
                                                                           SCHULIST, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCHULKE, C.PATRICK                   SCHULLER, HOLLY                       SCHULLSTROM, SARAH
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SCHULMAN, CRISTINA                   SCHULMAN, DINA                        SCHULMAN, MELISSA
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SCHULMAN, MICHELE                    SCHULMEISTER, KATELYN                 SCHULSINGER, KARI
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SCHULT, ASHLEY                       SCHULTE, AMY                          SCHULTE, BETH
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SCHULTE, ELIZABETH                   SCHULTE, ERICA                        SCHULTE, HANNAH
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SCHULTE, HILARY                      SCHULTE, KIM                          SCHULTE, KRISTEN
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SCHULTE, LINDA                       SCHULTE, MICHAEL                      SCHULTE, RICKY
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SCHULTE, WILLIAM                     SCHULTES, ANNA                        SCHULTES, CHARLES
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SCHULTHEIS, ASHLEY                   SCHULTHEIS, COURTNEY                  SCHULTHEIS, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SCHULTHEIS, MELINDA   Case 22-11238-LSS    DocTHOMAS
                                     SCHULTICE, 2 Filed 11/30/22      Page 4427 of 5495
                                                                           SCHULTIS, LAWRENCE
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SCHULTZ, ALLISON                     SCHULTZ, AMY                          SCHULTZ, AMY
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SCHULTZ, ANDREA                      SCHULTZ, ASHLEY                       SCHULTZ, BRIANNE
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SCHULTZ, BRUCE                       SCHULTZ, CHARLENE                     SCHULTZ, CHRISTA
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SCHULTZ, CLAIRE                      SCHULTZ, CLARICE                      SCHULTZ, DANIELLE
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SCHULTZ, DAVENA                      SCHULTZ, DAVID                        SCHULTZ, DENISE
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SCHULTZ, DEREK                       SCHULTZ, DIANE                        SCHULTZ, ELIZABETH
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SCHULTZ, EMILY                       SCHULTZ, EMILY                        SCHULTZ, ERIC
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SCHULTZ, HILAREE                     SCHULTZ, HOWARD                       SCHULTZ, JAMI
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SCHULTZ, JEN                         SCHULTZ, JUSTIN                       SCHULTZ, KRISTEN
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SCHULTZ, MARA                        SCHULTZ, MARCY                        SCHULTZ, MARGARET
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SCHULTZ, MARY                        SCHULTZ, MEG                          SCHULTZ, MELISSA
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SCHULTZ, MICHAEL                     SCHULTZ, MONTE                        SCHULTZ, NANCY
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SCHULTZ, NICHOLAS                    SCHULTZ, R STEPHEN                    SCHULTZ, RALPH AND DOROTHY
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SCHULTZ, RICHARD                     SCHULTZ, ROBERT                       SCHULTZ, SAMANTHA
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SCHULTZ, SARAH                       SCHULTZ, TAMMY                        SCHULTZ, VIRGINIA
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SCHULTZ, WENDY                       SCHULTZE, JULIE                       SCHULTZEL, MELISSA
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SCHULZ, ALEXANDRIA                   SCHULZ, ANDERSON                      SCHULZ, CASSANDRA
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SCHULZ, DAVID                        SCHULZ, DEANNA                        SCHULZ, EVAN
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SCHULZ, JOHN                         SCHULZ, KEELEY                        SCHULZ, KRISTEN
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SCHULZ, LAURIE                       SCHULZ, SHARON                        SCHULZ, SHERRI
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SCHULZ, STACEY                       SCHULZ, VALERIE                       SCHULZE, ANDREA
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SCHUMACHER, CINDY                    SCHUMACHER, DAVID                     SCHUMACHER, DEBRA
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SCHUMACHER, SARAH     Case 22-11238-LSS    Doc 2SUSAN
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SCHUMAKER, DANA                      SCHUMAKER, NICK                       SCHUMAN, CARRIE
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SCHUMAN, EMILY                       SCHUMANN MOREIRA, CAROLINA            SCHUMANN, CAYLI
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SCHUMANN, DAVID                      SCHUMANN, LEXIE                       SCHUMANN, TAYLOR
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SCHUMMERS, DAVID                     SCHUNK, GREG                          SCHUNK, JASON
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SCHUPACK, CHARLES                    SCHUPACK, CHARLES                     SCHUPP STAR, CAROL
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SCHUPP, LINDSEY                      SCHUPPE, KARYSSA                      SCHURHAMMER, SAMANTHA
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SCHURICK, AIMEE                      SCHURPF, VALOREE                      SCHUSCHU, JESSE
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SCHUSS, PHILIP                       SCHUSSELE, SAMANTHAT                  SCHUSSLER, SUSAN
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SCHUSTER, ALYSSA      Case 22-11238-LSS    DocCHRIS
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                                                                           SCHUSTER, CLAIRE
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SCHUSTER, CONSTANCE                  SCHUSTER, KATHERINE                    SCHUSTER, KIM
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SCHUSTER, MICHAEL                    SCHUSTER, MICHELLE                     SCHUSTER, PAIGE
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SCHUSTER, TARYN                      SCHUSTER, TONEY                        SCHUT, ASHLEY
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SCHUT, CHRISTINE                     SCHUTROP, MARTIN                       SCHUTTA, RACHEL
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SCHUTTE, CARA                        SCHUTTE, CARL                          SCHUTTE, CHRISTY
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SCHUTTE, HERB                        SCHUTTER, CASSANDRA                    SCHUTTEVAER, BASTIAAN
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SCHUTZ, ASHLEY                       SCHUTZ, GINA                           SCHUTZ, PHILLIP
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SCHUYLER, KELSEY                     SCHWAAB, AMBER                         SCHWAB, AMRAM
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SCHWAB, ANDREW                       SCHWAB, ARIANA                         SCHWAB, ASHLEY
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SCHWAB, BARBARA       Case 22-11238-LSS    Doc
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SCHWAB, KELLE                        SCHWAB, RACHEL                        SCHWAB, SHANE
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SCHWAB, STEPHANIE                    SCHWAB, TAYLOR                        SCHWABE, COOPER
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SCHWABE, JORDANA                     SCHWABE, LAURIE                       SCHWAB-GALINDO, ANDREA
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SCHWALBE, EMILY                      SCHWALBE, SARA                        SCHWALLER, WILLIAM
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SCHWALM, CYNTHIA                     SCHWANDT, KIMBERLY                    SCHWANEMANN, SARA
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SCHWANKE, ROBERT                     SCHWANTES, CINDY                      SCHWANTES, ELEANOR
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SCHWANZ, REBECCA                     SCHWARBERG, SHANNON                   SCHWARTE, PATRICIA
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SCHWARTING, TAYLOR                   SCHWARTZ, ALESSANTRINA                SCHWARTZ, ALEX
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SCHWARTZ, ALEXANDER                  SCHWARTZ, ALISON                      SCHWARTZ, ALLIE
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SCHWARTZ, BECKY                      SCHWARTZ, BETH                        SCHWARTZ, BRANDON
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SCHWARTZ, BRIANNA                    SCHWARTZ, BRITTNAY                    SCHWARTZ, BRYANNA
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SCHWARTZ, CATHY                      SCHWARTZ, CHARLENE                    SCHWARTZ, CHARLIE
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SCHWARTZ, CHELSEA                    SCHWARTZ, CINDY                       SCHWARTZ, COURTNEY
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SCHWARTZ, ELLEN                      SCHWARTZ, ERIC                        SCHWARTZ, EVAN
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SCHWARTZ, HEIDI                      SCHWARTZ, JACQUELINE                  SCHWARTZ, JADE
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SCHWARTZ, JANE                       SCHWARTZ, JAY                         SCHWARTZ, JENNIFER
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SCHWARTZ, JERRY                      SCHWARTZ, JESSICA                     SCHWARTZ, JOSEPH
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SCHWARTZ, JULIE                      SCHWARTZ, KELSIE                      SCHWARTZ, KEN
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                                                                           SCHWARTZ, LINDA
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SCHWARTZ, LINDA                      SCHWARTZ, LINDSEY                      SCHWARTZ, LORRAINE
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SCHWARTZ, MARIANA                    SCHWARTZ, MATTHEW                      SCHWARTZ, MATTHEW
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SCHWARTZ, MATTHEW                    SCHWARTZ, MICHELLE                     SCHWARTZ, NICHOLE
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SCHWARTZ, RACHAEL                    SCHWARTZ, REBECCA                      SCHWARTZ, ROBERT
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SCHWARTZ, ROBIN                      SCHWARTZ, ROBYN                        SCHWARTZ, RYAN
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SCHWARTZ, SANDRA                     SCHWARTZ, SANDY                        SCHWARTZ, SARAH
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SCHWARTZ, SARAH                      SCHWARTZ, STEPHANIE                    SCHWARTZ, TAYLOR
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SCHWARTZ, TAYLOR                     SCHWARTZ, TERESA                       SCHWARTZ, TERI
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SCHWARTZ, VALERIE                    SCHWARTZ, WENDY                        SCHWARTZBARD, AMY
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                                                                           SCHWARZ, CAITLYN
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SCHWARZ, ERIN                        SCHWARZ, IAN                          SCHWARZ, KAITLIN
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SCHWARZ, KATHLEEN                    SCHWARZ, MADISON                      SCHWARZ, MELISSA
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SCHWARZ, SARAH                       SCHWARZ, TYLER                        SCHWARZENBACHER, CHRISTINE
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SCHWARZENBART, DANIELLE              SCHWARZMANN, SARAH                    SCHWARZTRAUBER, ROBERT
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SCHWEBACH, ADRINA                    SCHWEICKART, COURTNEY                 SCHWEID, LEAH
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SCHWEIGER, SARAH                     SCHWEIGERT, LETICIA                   SCHWEIGHOFFER, LAUREN
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SCHWEIHOFER, RENEE                   SCHWEIKERT, KAITLYN                   SCHWEINHART, CLAIRE
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SCHWEINZGER, ROBIN                   SCHWEIR, ETHAN                        SCHWEISS, ALLIE
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SCHWEISS, ERIN                       SCHWEISS, SARAH                       SCHWEISTHAL, LINDSEY
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SCHWEITZER, HAYDEN    Case 22-11238-LSS    Doc 2NICOLE
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                                                                           SCHWEITZER, RICKY
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SCHWEIZER, JULIE                     SCHWELLENBACH, JORDAN                  SCHWELLER, LARA
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SCHWENK, ASHLEY                      SCHWENKER, DANA                        SCHWEON, JOSEPH
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SCHWER, CARLA                        SCHWER, CHRISTINE                      SCHWERDT, TRACI
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SCHWERHA, KIMBERLY                   SCHWERS, ALEXA                         SCHWERSENSKA, MATTHEW
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SCHWERY, DEVON                       SCHWIER, NATASHA                       SCHWIERS, DEBRA
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SCHWIERSKE, ELLA                     SCHWIETERMAN, AMANDA                   SCHWIETERMAN, KATRINA
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SCHWIETZ, APRIL                      SCHWIN, BARBARA                        SCHWIND, SUSAN
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SCHWINDT, DUWAYNE                    SCHWINGHAMMER, DAWN                    SCHWINN, SHARMAN
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SCHWINN, SONJA                       SCHWISTER, NICHO                       SCHWOBEL, LADONNA
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SCHWOERER, KEITH      Case 22-11238-LSS     Doc 2MYA Filed 11/30/22
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SCIACCA, PAMELA                      SCIACCHETANO, LOUIS                    SCIALABBA, LILY
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SCIALINO, MARIANA                    SCIAMBI, SARA                          SCIANDRA, ALI
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SCIARA, CAROLE                       SCIARRA, RHONDA                        SCIARRETTA, DANIELLE
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SCIARRETTI, ASHLEY                   SCIARRINO, ISABELLA                    SCIARRONE, GAIL
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SCIASCIA, ARIANA                     SCIBA, ANDREA                          SCIBA, ANDREW
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SCIBELLI, ALLISON                    SCIBELLI, MATISSE                      SCILIGO, AMBER
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SCILLEY, NOELLE                      SCIMECA, DANA                          SCIMIA, EDWARD
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SCIMIA, KATIE                        SCIMIA, MARYBETH                       SCINTA, EMILY
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SCIPIO, TAMARA                       SCIPIO, TAMARA                         SCIPIONE, NICOLE
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SCIPIONE, SAMANTHA    Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SCIRE, GIUSEPPE                  Page 4438  of 5495
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SCIULLI, MARC                        SCIULLI, MEGAN                         SCLAFANI, FRANK
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SCOBBO, JULIA                        SCOBEL, LAIN                           SCOBLE, KELLEY
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SCOBLE, TESSA                        SCOCCA, LAURA                          SCOCCO, ELLEN
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SCOFIELD, HEIDI                      SCOFIELD, JOHN                         SCOFIELD, KATIE
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SCOFIELD, MARY CAROLINE              SCOGGIN, ANGELA                        SCOGGIN, RYAN
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SCOGGINS, BARRETT                    SCOGGINS, BRITTANY                     SCOGGINS, GAIL
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SCOGGINS, KRISTIN                    SCOGIN, ERIN                           SCOGIN, MACHELLE
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SCOGLIO, ARIELLE                     SCOLA, COURTNEY                        SCOLA, JOSEPH
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SCOLARO, ALEXANDRA                   SCOLARO, CHRISTY                       SCOLARO, JULIANA
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SCOLES, MOLLY         Case 22-11238-LSS    Doc
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SCONCE, NATALIE                         SCONYERS, COLTON                        SCOON, BENEDICT
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SCOPA                                   SCOPEL, SARAH                           SCOPINO, DEANNA
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SCOPO, JEN                              SCORDATO, LARISSA                       SCORE, KYLIE
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SCORZA, JOHN                            SCORZO, DIDI                            SCORZO, STEFANIE
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SCOT A BENDERSKY                        SCOT GREGORY BOWMAN                     SCOT HAGENBURGER
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SCOT MICHAEL BLOOMQUIST                 SCOTIA CAPITAL /CDS (5011)              SCOTNICKI, KATHERINE
ADDRESS AVAILABLE UPON REQUEST          ATTN EVELYN PANDE OR PROXY DEPT         ADDRESS AVAILABLE UPON REQUEST
                                        SCOTIA PLAZA
                                        40 KING ST W, 23RD FL
                                        TORONTO, ON M5H 1H1 CANADA



SCOTT ALEXANDER SMITH                   SCOTT ALLAN LENAU                       SCOTT ASHER PERKINS
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SCOTT B DAY                             SCOTT BARNES                            SCOTT BARRY
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SCOTT BARRY                             SCOTT BOWMAN                            SCOTT BREITKOPF
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SCOTT E GUTHRIE                      SCOTT EBERT HARRISON                    SCOTT F. STODDART, DR.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SCOTT GEOFFREY SCHROEDER             SCOTT HEMMING LIVING TRUST              SCOTT HOWARD SHEARER
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SCOTT KAPLAN                         SCOTT KING                              SCOTT LABORATORIES, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          PO BOX 398198
                                                                             SAN FRANCISCO, CA 94139-8198




SCOTT M CRESAP                       SCOTT MATHISON                          SCOTT MEREDITH DAWSON
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SCOTT MILLER COLLINS                 SCOTT PONIEWAZ                          SCOTT PRENTICE
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SCOTT RANJIT MAHANTY                 SCOTT RAYMOND KRAUSE                    SCOTT REABE
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SCOTT ROSS DRAKE                     SCOTT SHARPLES                          SCOTT STEARNS, ROBERTA
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SCOTT STEINBERG                      SCOTT STEVENS                           SCOTT STRUM
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SCOTT TUCKER YATES                   SCOTT TYLER WALLACE                     SCOTT W BLAKE
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SCOTT, ALEXANDRA                     SCOTT, ALEXANDRA                      SCOTT, ALFRED
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SCOTT, ALFREDA                       SCOTT, ALI                            SCOTT, ALISHA
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SCOTT, ALLISON                       SCOTT, ALLISON                        SCOTT, ALYSIA
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SCOTT, AMANDA                        SCOTT, AMANDA                         SCOTT, AMBER
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SCOTT, AMBER                         SCOTT, AMY                            SCOTT, ANDREA
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SCOTT, ANDY                          SCOTT, ANDY                           SCOTT, ANGELA
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SCOTT, ANNA                          SCOTT, AVIS                           SCOTT, BETHANY
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SCOTT, BEVERLY                       SCOTT, BRANDON                        SCOTT, BRENDAN
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SCOTT, BRETT                         SCOTT, BRITTANY                       SCOTT, BRUCE
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SCOTT, CARA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SCOTT, CHARLES                       SCOTT, CHELSEA                        SCOTT, CHRISTIAN
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SCOTT, CHRISTINA                     SCOTT, CHRISTINE                      SCOTT, CHRISTOPHER
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SCOTT, CHRISTOPHER                   SCOTT, CLAYTON                        SCOTT, DANA
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SCOTT, DANIEL                        SCOTT, DANIELLE                       SCOTT, DASIA
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SCOTT, DEBBIE                        SCOTT, DENICE                         SCOTT, DENISE
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SCOTT, DILON                         SCOTT, DOUG                           SCOTT, DOUG
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SCOTT, ELIZABETH                     SCOTT, ELLEN                          SCOTT, EMILY
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SCOTT, EMMA                          SCOTT, EMMA                           SCOTT, ERICA
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SCOTT, ERIKA                         SCOTT, ERIN                           SCOTT, FELICIA
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SCOTT, GABRIELLA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SCOTT, HEATHER                       SCOTT, HELEN                          SCOTT, HOLLIS
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SCOTT, HUNTER                        SCOTT, IDA                            SCOTT, JACQUE
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SCOTT, JACQUELINE                    SCOTT, JACQUELINE                     SCOTT, JAMES
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SCOTT, JAMES                         SCOTT, JANE                           SCOTT, JASMYN
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SCOTT, JASON                         SCOTT, JENNA                          SCOTT, JENNIE
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SCOTT, JENNIFER                      SCOTT, JENNIFER                       SCOTT, JESSE
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SCOTT, JESSICA                       SCOTT, JESSICA                        SCOTT, JESSICA
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SCOTT, JESSICA                       SCOTT, JESSICA                        SCOTT, JOAN
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SCOTT, JOHN                          SCOTT, JORDAN                         SCOTT, JOSEE
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SCOTT, JOSEPH         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SCOTT, JULIE                         SCOTT, KAREN                          SCOTT, KAROLE
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SCOTT, KATHLEEN                      SCOTT, KATIE                          SCOTT, KATIE
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SCOTT, KELCIE                        SCOTT, KELLY H                        SCOTT, KELSEY
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SCOTT, KENZY                         SCOTT, KESSIAH                        SCOTT, KEVIN
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SCOTT, KINTESHIA                     SCOTT, KORI                           SCOTT, KRISTEN
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SCOTT, KRISTI                        SCOTT, LAURA                          SCOTT, LAUREN
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SCOTT, LINDSAY                       SCOTT, LISA                           SCOTT, LUAN
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SCOTT, MADELINE                      SCOTT, MARCELLA                       SCOTT, MARGARITE
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SCOTT, MARIE                         SCOTT, MARILYN                        SCOTT, MARK
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SCOTT, MARSHA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SCOTT, MATTHEW                       SCOTT, MAUREEN                        SCOTT, MEGAN
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SCOTT, MEGAN                         SCOTT, MELANIE                        SCOTT, MELISSA
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SCOTT, MELISSA                       SCOTT, MELISSA                        SCOTT, MEREDITH
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SCOTT, MICHELLE                      SCOTT, MICHELLE                       SCOTT, MIKEISHA
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SCOTT, MOLLIE                        SCOTT, MORGAN                         SCOTT, NATHAN
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SCOTT, NICHOLAS                      SCOTT, NICOLE                         SCOTT, NOAH
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SCOTT, OKSANA                        SCOTT, PAUL                           SCOTT, PHILIP
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SCOTT, RACHEL                        SCOTT, RACHEL                         SCOTT, RAQUEL
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SCOTT, REBECA                        SCOTT, REBECCA                        SCOTT, REYNA
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SCOTT, ROBERT         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SCOTT, SAM                           SCOTT, SAMANTHA                       SCOTT, SAMANTHA
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SCOTT, SAMUEL                        SCOTT, SARAH                          SCOTT, SARAH
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SCOTT, SARAH                         SCOTT, SAVANNAH                       SCOTT, SHANDRA
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SCOTT, SHARON                        SCOTT, SHAWANA                        SCOTT, SHELBY
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SCOTT, SHELLI                        SCOTT, SOMMER                         SCOTT, STEFANIE
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SCOTT, STEPHANIE                     SCOTT, STEPHANIE                      SCOTT, STEPHANIE
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SCOTT, STEPHANIE                     SCOTT, STEVE                          SCOTT, STEVEN
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SCOTT, SUE                           SCOTT, SUSAN                          SCOTT, SUSAN
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SCOTT, SWAYNE                        SCOTT, TASHANA                        SCOTT, TERRY
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SCOTT, TIFFANY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SCOTT, TURHAN                        SCOTT, VALERIE                        SCOTT, VERNONA
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SCOTT, VIRGINIA                      SCOTT, W                              SCOTT, WALTER
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SCOTT, WENDY                         SCOTT, WILLIAM                        SCOTT, WILLIAM
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SCOTT-DONEY, MELISSA                 SCOTT-FEMENELLA, RENEE                SCOTT-FEMENELLA, RENEE
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SCOTTI, ADRIENNE                     SCOTTIE TATE                          SCOTTO, JENNIFER
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SCOTTO, VINCENT                      SCOTT-ROY, KAYE                       SCOTTY JOHNSON
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SCOUTEN, ERIN                        SCOUTEN, PATRICIA                     SCOVILLE, HELEN
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SCOVILLE, PATRICIA                   SCOVITCH, KARA                        SCOWCROFT, BRENDA
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SCOWDEN, STEFANIE                    SCOWDEN, TRACIE                       SCOZ, EDUARDO
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SCOZZARO, BRIANA      Case 22-11238-LSS    DocPETER
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SCRAVER, SHELLEY                     SCREECHOWL, KATY                      SCRIBBICK, VICTORIA
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SCRIBE WINERY                        SCRIBNER, JULIA                       SCRIFFINY, MARK
PO BOX 11106                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OAKLAND, CA 94611




SCRIMSHIRE, JESSICA                  SCRIPP, LAURA                         SCRIPTURE, JARED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SCRIVEN, ANDREW                      SCROGGINS, CHASSITY                   SCROGGINS, CYNTHIA
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SCROGGINS, ERIN                      SCROGGINS, TANA                       SCROGGS, TYLER
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SCROGHAM, ZACHARY                    SCRUGGS, HANNAH                       SCRUGGS, KAYLEY
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SCRUGGS, KYLIE                       SCRUGGS, LATASHA                      SCRUGGS, LEA ZORA
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SCRUGGS, MORGAN                      SCRUGGS, SARAH                        SCRUGGS, TASHA
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SCS MARKETING TEAM, STACEY           SCUDDDER, MARC                        SCUDDER, BOB
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SCUDDER, DEBRA        Case 22-11238-LSS    Doc
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                                                                           SCUDDER, SHARI
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SCUDDER, SHELBY                      SCULARK, ALEXIS                       SCULLEY, EMMA
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SCULLIN, SARA                        SCULLION, MOLLY                       SCULLY, BRIAN
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SCULLY, JAMIE                        SCULLY, KAREN                         SCULLY, KIMBERLI
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SCULLY, LAUREN                       SCUMACI, MARY                         SCURA, BILLIE
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SCURLARK, GABRIELLE                  SCURLOCK, RICHARD                     SCYDICK, ERIN
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SCYTHES, HEIDI                       SD DEPT OF REVENUE                    SDS ELECTRIC & PLUMBING
ADDRESS AVAILABLE UPON REQUEST       1520 HAINES AVE 3                     1200 S BRAND BLVD 167
                                     RAPID CITY, SD 57701                  GLENDALE, CA 91204




SDS ELECTRIC & PLUMBING              SEA CHEN                              SEA GREEN CAFE
506 W BROADWAY, UNIT 222             ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
GLENDALE, CA 91204




SEA, BRAD                            SEABERG, EMILY                        SEABLOOM, ADRIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEABOLDT, SAMANTHA                   SEABOLT ESPARZA, ELIZABETH            SEABORN, DIANNE
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SEABROOK, BETH        Case 22-11238-LSS    DocEMMA
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                                                                           SEABROOK-RUSH,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEABURY, JACOB                       SEACORD, JAMES                        SEACRIST, DENISE
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SEADLER, MARISA                      SEAFORD, ELIZABETH                    SEAGER, LARA BETH
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SEAGER, LYDIA                        SEAGER, REVA                          SEAGRAVES, DAVID
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SEAL, CHRISTOPHER                    SEAL, ERIN                            SEAL, LAURA
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SEAL, NICK                           SEALE, AMBER                          SEALE, JENNIFER
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SEALL, KATHRYN                       SEALL, LAURIE                         SEALOVER, JEFF
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SEALS, COURTNEY                      SEALUND, NANCY                        SEALY, COLLEEN
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SEALY, JANELLE                       SEAMAN, AARON                         SEAMAN, ALLISON
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SEAMAN, BRITTANY                     SEAMAN, CHRIS AND ALEX                SEAMAN, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEAMAN, CHRISTOPHER Case 22-11238-LSS
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SEAMAN, KELLI                       SEAMAN, KRISTIN                       SEAMAN, LISA
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SEAMAN, MICHAEL                     SEAMAN, SAMANTHA                      SEAMAN, SANDRA
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SEAMAN-BALDARO, FRANK               SEAMANS, ELIZABETH                    SEAMANS, HEATHER
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SEAMON, GWEN                        SEAMON, JUDY                          SEAMOUR, LAUREN
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SEAMS, BRENNA                       SEAN BANCROFT JUDKINS-BOERI           SEAN BRASSMAN
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SEAN BUCKLEY                        SEAN DOUGLAS STEPHENS                 SEAN FRANK
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SEAN MCELRATH, TIMOTHY              SEAN MERRIWEATHER                     SEAN MULVENA
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SEAN OHARE                          SEAN PAUL NOZEWSKI                    SEAN ROGERS
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SEANGER, ALI                        SEANNA, ANNI                          SEARA, KAREN
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SEARAIN, SUSAN        Case 22-11238-LSS
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                                                                           SEARCY, 5495
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SEARCY, KIM                          SEARCY, MARJORIE                      SEARCY, NIA
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SEARER, KIRSTEN                      SEARIGHT, ANN                         SEARL, STEVEN
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SEARLE, JESSICA                      SEARLE, NANCY                         SEARLE, SUSAN
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SEARLES, ALAINE                      SEARLES, ERIN                         SEARLES, KELSEY
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SEARLES, NANCY                       SEAROCK, JEFF                         SEARS
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SEARS, ADELINE                       SEARS, ANN                            SEARS, ARES
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SEARS, ARTHUR                        SEARS, CHRIS                          SEARS, DIANE
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SEARS, EDWARD                        SEARS, EMILY                          SEARS, GRACE
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SEARS, JAIME                         SEARS, JOSHUA                         SEARS, JULIA
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SEARS, KATIE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SEARS, LESLIE                        SEARS, LINDA                          SEARS, MERISSA
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SEARS, MOIRA                         SEARS, SOFIA                          SEARS, TERI
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SEARS, TWYLA                         SEASE, DAVE                           SEASE, MELISSA
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SEASHELL CELLARS LLC                 SEASTONE, DEVIN                       SEASTROM, TRISHA
1 WATERSIDE TERRACE                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ENGLEWOOD, CO 80113




SEATER, MIKE                         SEATON, CHARLES                       SEATON, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEAVER, KELLY                        SEAVER, SHARON                        SEAVER, TRACY
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SEAVEY, JUSTIN                       SEAVEYS, THE                          SEAWAGORDA@YAHOO.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEAWELL, ESTHER                      SEAWOOD, DEITRA                       SEAY, CALEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEAY, MORIAH                         SEAY, SARAH                           SEAY, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEBA, ANGELA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SEBASTIAN ANDERSON THOMAS            SEBASTIAN AROKYA, STALIN              SEBASTIAN GONZALEZ
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SEBASTIAN ISAZA VILLEGAS             SEBASTIAN LENA                        SEBASTIAN POWESKA
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SEBASTIAN RAVINET                    SEBASTIAN, ELIZABETH                  SEBASTIAN, JAMIE
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SEBASTIAN, KAVYA                     SEBASTIAN, PEDRO                      SEBASTIAN, STEPHEN
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SEBASTIANO, CARLIE                   SEBASTIANO, DENISE                    SEBASTIEN BROUSTRA
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SEBBEN, SABRINA                      SEBESTA, LAUREN                       SEBGHATI, SORAYA
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SEBUNIA, JOSEPH                      SEBUNNYA, ANNA                        SEBUNNYA, JULIET
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SECARAS, JOHN                        SECCARECCIA, MAIA & NICK              SECCHIARI, CARISSA
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SECCO SQUARED LLC                    SECHLER, CHRISTA                      SECHLER, SOPHIA
255 WEST 36TH ST., STE 1501          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10018
SECHLER, VAU          Case 22-11238-LSS    DocVICTORIA
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                                                                                SECHRIST, CARISSA
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SECHTEM, JORAN                          SECKMAN WATTS, ALYSE                     SECKMAN, SARAH
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SECKY, MALLORY                          SECO, KYLE                               SECOR, LANDO
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SECOR, TONIE                            SECORD, TYLER                            SECOSKY, PAIGE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SECREST, SUMMER                         SECRET, SEVERINE                         SECRETARY OF STATE- INDIANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           INDIANA SECURITIES DIVISION
                                                                                 302 WEST WASHINGTON STREET, ROOM
                                                                                 E111
                                                                                 INDIANAPOLIS, IN 46204



SECRETARY OF STATE                      SECRETARY OF TREASURY OF PUERTO          SECRIST, DAVID
DIVISION OF CORPORATIONS                RICO                                     ADDRESS AVAILABLE UPON REQUEST
FRANCHISE TAX                           COMMISSIONER OF FINANCIAL
PO BOX 898                              INSTITUTIONS
DOVER, DE 19903                         PO BOX 11855
                                        SAN JUAN, PR 00910-3855

SECUE, TARA                             SECURITIES & EXCHANGE COMMISSION         SECURITIES & EXCHANGE COMM-NY OFFICE
ADDRESS AVAILABLE UPON REQUEST          100 F ST, NE                             ATTN BANKRUPTCY DEPARTMENT
                                        WASHINGTON, DC 20549                     200 VESEY ST, STE 400
                                                                                 NEW YORK, NY 10281




SECURITIES & EXCHANGE COMM-PHILA        SECURITIES AND EXCHANGE COMMISSION       SECURITIES AND EXCHANGE COMMISSION
OFFICE                                  LOS ANGELES REGIONAL OFFICE              PHILADELPHIA REGIONAL OFFICE
ATTN BANKRUPTCY DEPARTMENT              ATTN: MICHELE WEIN LAYNE, REGIONAL DIR   ATTN: G. JEFFREY BOUJOUKOS, REG. DIR
1 PENN CTR                              LOS ANGELES, CA 90071                    PHILADELPHIA, PA 19103
1617 JFK BLVD, STE 520
PHILADELPHIA, PA 19103

SECURITIES AND EXCHANGE COMMISSION      SECURITIES AND EXCHANGE COMMISSION       SECURITY METRICS
SAN FRANCISCO REGIONAL OFFICE           SEC HEADQUARTERS                         ADDRESS UNAVAILABLE AT TIME OF FILING
ATTN: JINA CHOI, REGIONAL DIR           100 F STREET, NE
SAN FRANCISCO, CA 94104                 WASHINGTON, DC 20549




SECURITY SIGNAL DEVICES                 SECUYA, DANIEL                           SEDA ABREEZA
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SEDA, CHRISTIAN       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SEDA, JENNIFER                   Page 4456   of 5495
                                                                           SEDA, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEDA, TUNISIA                        SEDAGHAT, ASHLEY                      SEDBERRY, JEFF
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SEDDON, MELANIE                      SEDENO, DANILO                        SEDER, KATHY
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SEDERBERG, AUDREY                    SEDGEWICK, LINDA                      SEDGWICK, AMY
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SEDIGHI, SHERRY                      SEDLACEK, JILL                        SEDLAK, ROBERT
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SEDLER, LIZ                          SEDLEY, DENNIS                        SEDLOCK, JOE
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SEDOR-GEORGE, SARAH                  SEDOV, DMITRI                         SEDTAL, KAREN
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SEE ANNA JANE LLC                    SEE, JERMAINE                         SEE, JESSIKA
955 VERNON AVE                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINNETKA, IL 60093




SEE, STEPHEN                         SEE, SUSAN                            SEEBACH, CHELSEY
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SEEBACH, ELIZABETH                   SEEBER, MELISSA                       SEEBOHM, JANET
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SEEKFIRD, MICHELLE                    SEEKINGS, JESSICA                     SEEKINGS, JOSHUA
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SEEL, ABBY                            SEEL, GINA                            SEEL, MADELINE
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SEELAUS, ANN                          SEELEY, ERIN                          SEELEY, KATIE
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SEELEY, LAUREN                        SEELEY, MONIQUE                       SEELEY, RYAN
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SEELHAMMMER, CYNTHIA                  SEELIG, MARLA                         SEELKE, JOHN
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SEELOCHAN, SARAH                      SEELY, DEBRA                          SEELY, ERIN
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SEELY, GLENDA                         SEELY, KATHRYN                        SEELYE, STEPHEN
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SEEMAN, RUSSELL                       SEEMAN, SARAH                         SEENEY, MOLLY
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SEERGY, CAROLYN                       SEERLEY, HOLLY                        SEERLEY, KAREEN
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SEESEMANN, SHANA                     SEEWALD, ALICIA                       SEEWALD, STEPHANI
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SEFCIK, KATIE                        SEFFERT, SUZANNE                      SEFRIED, RON
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SEFTON, MEGHAN                       SEGAL, ALEXANDRA                      SEGAL, AUDREY
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SEGAL, JEFF                          SEGAL, JOANNA                         SEGAL, JOANNA
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SEGAL, KATHERINE                     SEGAL, LAURA                          SEGAL, RACHEL
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SEGAL, SARAH                         SEGARRA, TAMI                         SEGARRA, VICTOR
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SEGARS, ANDREW                       SEGARS, ANGELA                        SEGARS, MARY
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SEGEBRE, PAT                         SEGEE, CASSANDRA                      SEGELL, KELI
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SEGER, AYLI                          SEGER, BRIAN                          SEGER, CATHERINE
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SEGER, KATHLEEN       Case 22-11238-LSS
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SEGERHOLM, CHRISTINA                 SEGGELKE, JONATHAN                    SEGGELKE, MELISSA
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SEGGERMAN, TERESA                    SEGIEL, KRISTIN                       SEGLEM, CINDY
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SEGLER, STEPHANIE                    SEGLIN, SHANNON                       SEGNA, JORDAN
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SEGNERE, JENNIFER                    SEGO, KRISTINA                        SEGOVIA, BRENDA
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SEGOVIA, JOEE                        SEGOVIA, MARIA                        SEGRAVES, GARRETT
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SEGREST, JOHN                        SEGREST, MIRANDA                      SEGREST, SARAH
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SEGREST, SHERILYN                    SEGRETTO, ANTHONY                     SEGRO, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEGUIN MOREAU NAPA COOPERAGE, INC.   SEGUIN, MATTHEW                       SEGUINOT, EMILY
(FINE NORTHERN OAK)                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
151 CAMINO DORADO
NAPA, CA 94558




SEGUITI, JACLYN                      SEGURA, ALEJANDRO                     SEGURA, KATHYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEGURA, MARY          Case 22-11238-LSS
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                                                                           SEGURA, 5495
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SEGURA, SHEILA                       SEGURA, TONY                          SEGURA, VERONICA
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SEHIC, MONIKA                        SEHNAL, HANNAH                        SEHORN, JASON
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SEIB, ANDREA                         SEIB, SANDRA                          SEIBEL, ANGELA
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SEIBEL, JAMIE                        SEIBEL, NICHOLE                       SEIBERT, AMANDA
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SEIBERT, CATHERINE                   SEIBERT, JASON                        SEIBERT, JESSICA
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SEIBLER, JENNIFER                    SEICHRIST, PIPPA                      SEICHTER, SHEILA
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SEID, DAVID                          SEID, SARA                            SEIDE, BLAKE
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SEIDE, CLAUDE M                      SEIDEL, BRITTANY                      SEIDEL, CHRISTINE
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SEIDEL, CORDELIA                     SEIDEL, CRIS                          SEIDEL, ELIAN
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SEIDEL, MARY          Case 22-11238-LSS
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SEIDEN, HENRY                        SEIDENSTEIN, KENNETH                  SEIDENSTUCKER, STACEY
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SEIDERS, JENNIFER                    SEIDL, BRITTANY                       SEIDL, BRITTANY
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SEIDL, DELORES                       SEIDL, LAURA                          SEIDLECK, JESSICA
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SEIDLER, JOE                         SEIDLER, KATY                         SEIDLING, ANGELA
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SEIDNER, AMY                         SEIELSTAD, MORGAN                     SEIER, ASHLEY
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SEIER, VERONICA                      SEIF, ELIZABETH                       SEIF, LAUREN
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SEIF, SAMANTHA                       SEIF, SAMMY                           SEIFEN, NICOLAUS
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SEIFER, HELENE                       SEIFERAS, MOLLIE                      SEIFERT, ABBY
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SEIFERT, DEBIE                       SEIFERT, JORDANN                      SEIFERT, KAYLA
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SEIFERT, LOUISA       Case 22-11238-LSS
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SEIGH, REBECCA                          SEIGLER, ALLISON                      SEIGLER, LAUREN
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SEIGLER, NOAH                           SEIGLER, SARAH                        SEIJIDO, GLORIA
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SEIKEL, KATE                            SEILER, CHARLOTTE                     SEILER, CHRISTINE
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SEILER, DATASERV: ATTN - EMMI           SEILER, KATIE                         SEILER, KJIRSTEN
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SEILER, PHILIPPE                        SEILER, PHOEBE                        SEILER, SARAH
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SEILER, SHANNON                         SEILER, STEVEN                        SEILER, VIRGINIA
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SEILER, WILL                            SEIPEL, JEFF                          SEIPEL, MICHAEL
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SEIPEL, WESLEY                          SEIPP, MICHAEL                        SEIS, BONNIE
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SEISMIC AUDIO                           SEISS, JENNY                          SEITER, ERIN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEITZ, COURTNEY       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SEITZ, HAILEY                    Page 4463    of 5495
                                                                           SEITZ, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEITZ, JULIE                         SEITZ, KATHY                           SEITZ, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEITZ, LINDSAY                       SEITZ, LINDSEY                         SEITZINGER, CORINNE
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SEIVERS, EMILY                       SEIZYS, DAWN                           SEJBA, ANDREA
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SEJNA, EMILY                         SEKAR, KUMARA                          SEKI, MICHAEL
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SEKINE, EMILY                        SEKOCH, ROY                            SEKULA, ROBERT
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SEKULICH, KRISTIN                    SEKULO, PAT                            SEKURA, DIANA
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SELBERG, ROBIN                       SELBY, ANDREA                          SELBY, DEE DEE
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SELBY, JOSEPH                        SELBY, LEAH                            SELBY, MARY
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SELBY, TAMMY                         SELCHOW, SHAWN                         SELCUKLU, DUYGU
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SELDE, MARIA          Case 22-11238-LSS
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                                                                           SELDEN,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SELDERS, BECKY                       SELDON JR, WENDELL L                   SELECT MANAGEMENT GROUP, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         1640 S SEPULVEDA BLVD, STE 300
                                                                            LOS ANGELES, CA 90025




SELECT MANAGEMENT GROUP, LLC         SELECT STAFFING                        SELECT STAFFING
6100 WILSHIRE BLVD., STE 400         3820 STATE STREET                      EMPLOYBRIDGE HOLDING COMPANY
LOS ANGELES, CA 90048                SANTA BARBARA, CA 93105                1040 CROWN POINTE PARKWAY, SUITE 1040
                                                                            ATLANTA, GA 30338




SELECT STAFFING                      SELENIS, MEGAN                         SELF, AMELIA
SELECT TEMPORARY SERVICES            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
PO BOX 512007
LOS ANGELES, CA 90051-0007




SELF, ASTRID                         SELF, HOLLIE                           SELF, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SELF, KELLI                          SELF, REBECCA                          SELF, REGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SELF, SHAYLA                         SELF, TONI                             SELFA, LANCE
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SELGRATH, SARAH                      SELIG, ALEKA                           SELIG, LAUREN
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SELIGA, HEATHER                      SELIGMAN, CHRISTINE                    SELIGMANN, BRENDA
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SELIM, MEG                           SELIMANOVIC, SUADA                     SELIN, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SELINA, ANNA          Case 22-11238-LSS     DocOLEG
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                                                                           SELKOVITS, SHIRA
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SELKOWITZ, IMELDA                    SELKOWITZ, JED                         SELL, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SELL, JESSICA                        SELL, JULIE                            SELL, LESLEE
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SELL, MELISSA                        SELLAR, JENNIFER                       SELLARS, CORTNEY
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SELLARS, WHITNEY                     SELLE, SARAH                           SELLECK, KAREN
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SELLECK, KATELIN                     SELLECK, MARTHA                        SELLER, KATHARINE
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SELLERS, AMBER                       SELLERS, ANSLEY                        SELLERS, BARBARA
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SELLERS, CHAZ                        SELLERS, CHRISTOPHER                   SELLERS, CODY
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SELLERS, DENISE                      SELLERS, JAMIE                         SELLERS, JENNIFER
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SELLERS, JILLIAN                     SELLERS, JOELY                         SELLERS, KALLI
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SELLERS, KATHERINE    Case 22-11238-LSS    Doc
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SELLFORS, HANNAH                     SELLING, MARIAH                        SELLINGER, PRESTON
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SELLIRIS, ALLY                       SELLITTO, KATHLEEN                     SELLITTO, SUSAN
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SELLMAN, CANDACE                     SELLMAN, DEBORAH                       SELLMAN, LEE
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SELLNER, DANA                        SELLNER, LAURA                         SELLS, CHLOE
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SELLS, LAURA                         SELLS, MADELAINE                       SELLSTONE, RACHEL
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SELMAN, MADI                         SELMON, WILLIAM                        SELNER, KYRA
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SELOFF, JACOB                        SELOVER, VICTORIA                      SELPH, MIKE
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SELSOR, MATT                         SELTZ, THOMAS                          SELTZER, DANI
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SELTZER, JUSTIN                      SELTZER, KAT                           SELTZER, TIFFANY
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SELVA, CARLOS         Case 22-11238-LSS    Doc 2ASSUMPTA
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                                                                           SELVAGGI, CORRINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SELVAGGI, JULIE                      SELVAGGIO, TONY                        SELVARAJ, RADHA
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SELVER, KATELYN                      SELVER, MAX                            SELWAY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SELWOOD, AMY                         SELWYN, JASON                          SELWYN, KERI
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SELWYN, LORI                         SELWYN, NAOMI                          SELYUKOVA, EMILIA
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SELZER, ALAN                         SELZER, JAMIE                          SELZER, KATIE
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SEM, KRISTA                          SEM, ROZALIA                           SEMAAN, KATRINA
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SEMALL, JASON                        SEMALL, PAUL                           SEMAN, ANN
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SEMANA, EDA                          SEMANISIN, ALLIE                       SEMATI, HAMED
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SEMB, TARA                           SEMBER, MIA                            SEMBER, REBECCA
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SEMBLANTES, EDUARDO Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEMENETZ, AMY                       SEMENIKHINA, EVELINA                  SEMENOVA, YELENA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEMERAN, GABRIELLA                  SEMERJIAN, CARLY                      SEMFLE MILISDE, GENESIS
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEMIAN, ALETHEA                     SEMIEN, TAYLOR                        SEMIENS, SHERI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEMIN, SERGEY                       SEMINARIO, ANGELA                     SEMINARIO, LINDA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEMKE, BRENDA                       SEMLER, PHILIP                        SEMLESS, SAIRA
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SEMON, KARA                         SEMONSKI, LINDSEY                     SEMP, KATHLEEN
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SEMPER, MABLE                       SEMPLE THOMAS, TIFFANY                SEMPLE, DEBORAH
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEMPSROTT, CHRISTINA                SEMRICK, AMANDA                       SEMROC, SUZAN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEMWAGA, TETA NATASHA               SEN, AMANDA                           SEN, KAREN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEN, NOOPUR           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SEN, RONOJOY                     Page 4469   of 5495
                                                                           SEN, SUPARNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENA SOSA, ELVER                     SENA, EMILY                           SENA, KRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENA, LAURA                          SENA, LORI                            SENA, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENAPATI, SONA                       SENDA, RACHEL                         SENDELBACH, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENDER, LEONARD                      SENDER, NANCY                         SENDLER, TARYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENDOR, ERIN                         SENDT, ALEX                           SENECA, DOMINIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENECA, KAYLA                        SENECAL, CAROLINE                     SENELSBERGER, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENENFELDER, ALICIA                  SENESE, CAROLE                        SENESE, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENFT, JENNIFER                      SENFT, TERRY                          SENG, ESI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENG, SOLINA                         SENGCO, DEWILKA                       SENGEN LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1130 CREEKSIDE PKWY 110381
                                                                           NAPLES, FL 34108
SENGOOBA, ARNOLD      Case 22-11238-LSS    Doc 2 Filed
                                     SENGTHONGPHET,  AMBER11/30/22       Page 4470 of 5495
                                                                              SENGUPTA, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SENGUPTA, RWIK                          SENIER, JACK                          SENIFF, KALLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENINI, KATHERINE                       SENIOR, OSCAR                         SENISE, ZOE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENKEWICZ, AMBER                        SENKO, ANGIE                          SENN, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENN, COURTNEY                          SENN, EMMA                            SENN, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENN, LISA                              SENNE, LINDSAY                        SENNETT, JENNY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENNOTT, MATTHEW                        SENOGLES, MACKENZIE                   SENOR GS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SENORITA BONITAS                        SENORS, THE                           SENRA, LOUISE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENS, MATTHEW                           SENSEMAN, SCOTT                       SENSENICH, JAMIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SENSER, CHANCE                          SENSI, DENILE                         SENSIBAUGH, DANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SENSIUS, LUCAS        Case 22-11238-LSS
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                                                                                SENSTAD, 5495
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SENTELL, KRISTOL                        SENTEMENTES, DESPINA                    SENTER, MEREDITH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SENTER, TROY                            SENTERFITT, JUSTIN                      SENTHIL POOSHAPPAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SENTHIRAJAH, SURESH                     SENTIENT SOLUTIONS LIMITED              SENTMAN, JILL
ADDRESS AVAILABLE UPON REQUEST          (SCOREBUDDY)                            ADDRESS AVAILABLE UPON REQUEST
                                        GUINNESS ENTERPRISE CENTRE
                                        TAYLORS LANE, SUITE 45
                                        DUBLIN 8
                                        IRELAND

SENYK, CATHERINE                        SEO, (JOSH) KYUNG                       SEO, LILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SEO, YOOBIN                             SEOMOZ                                  SEOW, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SEPE, ALICIA                            SEPEHRAR, KIAN                          SEPEL, KARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SEPHORA                                 SEPICH, KYLIE                           SEPIELLI, ALEXIS
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SEPIELLI, RUSSELL                       SEPIOL, ALEX                            SEPKOWITZ, ISABEL
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SEPKOWITZ, SONJA                        SEPLER, FRAN                            SEPNIESKI, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SEPPI, CASSANDRA      Case 22-11238-LSS
                                     SEPSEY,Doc  2 Filed 11/30/22
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                                                                           SEPULVEDA, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEPULVEDA, DIANE                     SEPULVEDA, EMMA                       SEPULVEDA, FLORENCIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEPULVEDA, JANA                      SEPULVEDA, MICHELLE                   SEQUENZIA, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERAFIMOVICH, TATYANA                SERAFIN, DANA                         SERAFINE, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERAFINI, KELLY                      SERAFINO, CAROLINE                    SERAFY, CLAYTON
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SERAIKAS, BETH                       SERAJI, SHADI                         SERANGELI, KATHLEEN
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SERAPHIN, AUDREY                     SERAPHINE, KENDRA                     SERATI, CLAIRE
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SERATTE, SYDNEY                      SERBAN, JENNIFER                      SERBANTEZ, JACOB
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SERBIN, KATHERINE                    SERBINA, NATALYA                      SERDENGECTI, SOFIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEREDNICKI, CHRISTINA                SERENA, DALE                          SERENDIPITY WINES (CALIFORNIA)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        RALEYS DISTRIBUTION SHIPPING
                                                                           4061 GATEWAY PARK BLVD
                                                                           SACRAMENTO, CA 95834
                       Case 22-11238-LSS
SERENDIPITY WINES WC, LLC                    Doc WINES,
                                      SERENDIPITY  2 Filed
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                                                                                     DEE STORSLETT
114 NEW MOHAWK, D                     2314 RUTLAND DRIVE SUITE 120            ADDRESS AVAILABLE UPON REQUEST
NEVADA CITY, CA 95959                 AUSTIN, TX 78758




SERENE, TANYA                          SERFASS, ANNEMARIE                     SERFASS, EMILY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SERFASS, NICHOLAS                      SERFONTEIN, CELINA                     SERGEANT, DANIELLE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SERGELEN, NADIA                        SERGENT, KAMIKA                        SERGENT, WILLIAM
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SERGEYENKO, ARTEM                      SERGEYEV, IVAN                         SERGI, CARLEY
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SERGIO ANTONIO FRANKLIN RAIMOND        SERGIO MONCADA                         SERGIO TRUJILLO
KEDILHAC VIESCA                        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ADDRESS AVAILABLE UPON REQUEST




SERGOTICK, THERESA                     SERIEUX, NYO                           SERI-LEVI, EITAN
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SERIN, CALEY                           SERION, SARAH                          SERLETH, DAVID
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SERLING, HANNAH                        SERLS, JARVIS                          SERLUCO, JANET
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SERMERSHEIM, CAMILLE                   SERMONS, AMANDA                        SERMONS, LINDA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SERNA, ALEJANDRA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SERNA, ANA                       Page 4474
                                                                           SERNA,of 5495
                                                                                 JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERNA, KERRY                         SERNA, LISBETH                        SERNIK, MARGIE
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SEROS, AMBER                         SEROTA, DYLAN                         SEROTA, LARRY
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SEROY, JOSEPH                        SERPA, SANDRA                         SERPE, ADRIENNE
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SERRA, JOHN                          SERRA, MONIQUE                        SERRA, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRALDE, REBECCA                    SERRANO, AIDAN                        SERRANO, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRANO, ALFREDO                     SERRANO, ALIDA                        SERRANO, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRANO, ANA                         SERRANO, DAVID                        SERRANO, DESTINIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRANO, FRANCINE                    SERRANO, GERALDINE                    SERRANO, JASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRANO, KEVIN                       SERRANO, LESLIE                       SERRANO, NICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SERRANO, NICOLE       Case 22-11238-LSS    Doc
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                                                                           SERRANT, ALTHEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRARO, JILLIAN                     SERRATO, LAURA                        SERRATT, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRELL-WATTS, SEBASTIAN             SERRES, MARINE                        SERRES, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRIAN, SEANA                       SERRIDGE, SCOTT                       SERRIOZ, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERRY, MARY JANE                     SERVANIE, JONATHAN                    SERVEDIO, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERVIAS, LAUREN                      SERVICE INNOVATIONS, INC              SERVICE, MONTGOMERY
ADDRESS AVAILABLE UPON REQUEST       PO BOX 1649                           ADDRESS AVAILABLE UPON REQUEST
                                     MURPHYS, CA 95247




SERVIN, JANE                         SERVOSS, JEFFREY                      SERWE-BEHNKE, ALISHEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SERWINSKI, ALYSSA                    SESAC , INC                           SESCO, TINA
ADDRESS AVAILABLE UPON REQUEST       55 MUSIC SQUARE                       ADDRESS AVAILABLE UPON REQUEST
                                     EAST NASHVILLE, TN 03203




SESE, JOCELYN                        SESEMANN, LAUREN                      SESHADRI, MAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SESKI, ANDREW                        SESSA, CORINNE                        SESSANTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
SESSION, DAWN         Case 22-11238-LSS    Doc
                                     SESSIONS,   2 Filed 11/30/22
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                                                                           SESSIONS, COLBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SESSLER, SHAWN                       SESSOMS, JULIA                         SESSOMS, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SESSUM, LAKECIA                      SESTANOVICH, BOBBI                     SETA, KELLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SETAR, EJ                            SETCHFIELD, TERRY                      SETH ACHARYA AND GAREEMA BAJGAIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SETH BEARD                           SETH LOY, STEPHANIE                    SETH NOONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SETH SHOEMAKER                       SETH SORENSEN                          SETH WILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SETH                                 SETH, ALLISON                          SETH, ARJUN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SETH, KAITLYN                        SETH, KELCEY                           SETH, SANJANA
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SETHI, MANDIRA                       SETHI, SARAL                           SETHI, SHAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SETHI, SHIVANI                       SETHI, SIMRAN                          SETHI, SONALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SETHNESS, HENRY       Case 22-11238-LSS    Doc
                                     SETIAWAN,   2 Filed 11/30/22
                                               MEDDELIN               Page 4477
                                                                           SETON,of 5495
                                                                                 SHANEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SETTEDUCATO, MARY                    SETTEMBRINO, JIM                      SETTICASI, LEXI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SETTJE, MIKE AND CINDY               SETTLE, DANI                          SETTLE, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SETTLE, KRISTIN                      SETTLE, LINDEY                        SETTLES, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SETTLES, SHERRI                      SETTOON, MERTILE                      SETTY, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SETZER, CHELIE                       SETZER, DENISE                        SETZER, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SETZER, SIDNEY                       SETZER, TESSA                         SEU, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEUBERT, JOSEPH                      SEUFERER, SYDNEY                      SEUFERT, CALEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEUFFERT, LIZ                        SEUIS, DANIELLE                       SEUNG LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEUSING, JOY                         SEUSS, DAVID                          SEUZENEAU, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEVAJIAN, LISA        Case 22-11238-LSS
                                     SEVCIK, Doc  2 Filed 11/30/22
                                             BRIANNA                  Page 4478
                                                                           SEVEN of 5495
                                                                                 HILLS WINERY LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         212 NORTH 3RD AVE
                                                                            WALLA WALLA, WA 99362




SEVENFIFTY TECHNOLOGIES, INC.        SEVENTKO, MELISSA                      SEVER, ADAM
27 WEST 20TH STREET SUITE 900        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10011




SEVER, CAROLYN                       SEVER, SAMANTHA                        SEVERE, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVERE, VIVIANE                      SEVERIN, KAYLA                         SEVERINO, JULIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVERINO, LORI                       SEVERINS, LACEY                        SEVERSEN, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVERSON, ALEX                       SEVERSON, AMY                          SEVERSON, GRIFFIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVERSON, MEGAN                      SEVERSON, RACHEL                       SEVERT, ELIZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVERUD, SHAWN                       SEVIAN, LAUREN                         SEVIER, GRADY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVIGNEY, TIA                        SEVIGNY, HOLLI                         SEVIGNY, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVIGNY, KEVIN                       SEVILLA, EDILIA                        SEVILLA, KRISSIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SEVILLA, LORENA       Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVIOUR, DYLAN                       SEVIOUR, ELIZABETH                     SEVIYA, GABRIELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEVO, KSENIJA                        SEVOIAN, MELISSA                       SEVUK, ELA
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SEVY, JENNIFER                       SEWALISH, EVE                          SEWALT, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEWARD, CAITLIN                      SEWARD, ERICKA                         SEWARD, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEWARD, ROSA                         SEWELL, AMBER                          SEWELL, AMY LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEWELL, AUBREY                       SEWELL, DIANE                          SEWELL, FRANCES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEWELL, GREG                         SEWELL, JIMMY                          SEWELL, KERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SEWELL, LUCINDA                      SEWELL, MARY                           SEWELL, RACHEL
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SEWELL, SHAMRI                       SEWELL, SHERRINA                       SEWELL, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SEWELL, TRIPP         Case 22-11238-LSS    Doc 2ELISSA
                                     SEWERYNIAK,     Filed 11/30/22   Page 4480 of 5495
                                                                           SEWRIGHT, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEXSON, COREY                        SEXTON, ALEXIS                        SEXTON, CARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEXTON, CAROLINE                     SEXTON, GORDON                        SEXTON, HEATHER
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SEXTON, JAMES                        SEXTON, KATIE                         SEXTON, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEXTON, KRISTIN                      SEXTON, KYLIE                         SEXTON, LA’SHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEXTON, LAUREN                       SEXTON, LAUREN                        SEXTON, MADALEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEXTON, MAGNOLIA                     SEXTON, MARIA                         SEXTON, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEXTON, SAGE                         SEYBOLD, KATE                         SEYBOLD, STEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEYCHEL, CHRISTINE                   SEYFARTH, SONJA                       SEYFERT, TODD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SEYLAZ, LAURA                        SEYMORE, DAMAURYA                     SEYMORE, HEIDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SEYMORE, NESSY        Case 22-11238-LSS    Doc
                                     SEYMOUR,   2 Filed 11/30/22
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                                                                                SEYMOUR, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




SEYMOUR, CAITLIN                        SEYMOUR, CYNTHIA                        SEYMOUR, DAMON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SEYMOUR, EMILY                          SEYMOUR, HORACE                         SEYMOUR, JONATHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SEYMOUR, KAYLEE                         SEYMOUR, LAURIE                         SEYMOUR, MALLORIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SEYMOUR, MELISSA                        SEYMOUR, NATALIE                        SEYMOUR, PEGGY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SEYMOUR, REBECCA                        SEYMOUR, ROBERTA                        SF CHRONICLE COMPETITION.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




SF TAX COLLECTOR                        SF UNCORKD                              SFCDO.COM
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




SFEIR, KATHERINE                        SFERRA, MARY                            SFO ANCHOR STEAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




SGALIPPI, DEANINE                       SGALL II RD LLC                         SGARIOTO, MICHAEL P.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SGORBATI, RICHARD                       SGOUROS, ALEXIS                         SGRICCIA, EVELYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SGRILLO, TINA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SGRO, SARAH                         Page 4482 of 5495
                                                                              SGUEGLIA, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SGUEGLIA, JESSICA                       SGUEGLIA, SAMANTHA                    SHA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAADI.COM                              SHAAK, RYAN                           SHAAR, MAYA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHABAZZ, CHRISTA                        SHABAZZ, RAHSHEEM                     SHABAZZ, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHABEN, ZACH                            SHABINAW, KASEY                       SHABOVTA, ILONA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHACKELFORD, AVIS                       SHACKELFORD, AVIS                     SHACKELFORD, DARLENE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHACKELFORD, ELIZABETH                  SHACKELFORD, ELLIE                    SHACKELFORD, GRACE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHACKELFORD, VANESSA                    SHACKLES, HANNAH                      SHACKLES, JAMIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHACKLETON, MEGAN                       SHAD HALL                             SHADDAY, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHADDOCK, SARAH                         SHADDOX, JULIE                        SHADDOX, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHADE HOTEL RESTAURA Case 22-11238-LSS       Doc 2 Filed 11/30/22
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                                                                            SHADE,of 5495
                                                                                  JEFFREY
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHADE, JESSICA                        SHADE, RALPH                          SHADE, STEVEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHADE, WAYNE                          SHADEED, MINKHA                       SHADI AMMOURI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHADI MALEK                           SHADID, CLAIRE                        SHADID, LEENA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHADIX, JESSICA                       SHADOW, MARILYNNE                     SHADRACH, EMMA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHADRICK, DAN                         SHADRICK, JENNIFER                    SHADRUNOVA, TATIANA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHADWICK, LARRY                       SHAEFFER, BRANDY                      SHAEFFER, BRENT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAEFFER, KRISTEN                     SHAFER, ALEXANDRIA                    SHAFER, ANDREA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAFER, ANGIE                         SHAFER, CAROL                         SHAFER, COURTNEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAFER, ELIZABETH                     SHAFER, JACOB                         SHAFER, KARI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHAFER, NATALIE       Case 22-11238-LSS
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                                                                           SHAFER, 5495
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SHAFER, PAM                          SHAFER, PHILIP                        SHAFER, RYAN
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SHAFER, SARA                         SHAFFALO, ROBERT                      SHAFFAR, KYLE
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SHAFFER, ALISON                      SHAFFER, AMANDA                       SHAFFER, AMY
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SHAFFER, AMY                         SHAFFER, BETHANY                      SHAFFER, BREANNA
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SHAFFER, BRIDGET                     SHAFFER, BRITTANY                     SHAFFER, BRYAN
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SHAFFER, CHRISTOPHER                 SHAFFER, DANISE                       SHAFFER, DEBRA
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SHAFFER, EARL                        SHAFFER, ELENA                        SHAFFER, ERIN
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SHAFFER, ISOBEL                      SHAFFER, JENNA                        SHAFFER, KAREN
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SHAFFER, KELLY                       SHAFFER, LARRY                        SHAFFER, LAUREN
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SHAFFER, LENSEY       Case 22-11238-LSS    Doc
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                                                                              SHAFFER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHAFFER, LIZ                         SHAFFER, MATTHEW                         SHAFFER, MICHELLE
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SHAFFER, RAMI                        SHAFFER, RYAN                            SHAFFER, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHAFFER, SHASTA                      SHAFFER, SUSAN                           SHAFFER, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHAFFERY, DANIELLE                   SHAFFNER, PAMELA                         SHAFFRON, DARLENE
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SHAFIE, LAYA                         SHAFII, ALLISON                          SHAFOROSTOV, IRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHAFRIN, FRED                        SHAGOTHAMAN (THE BADDEST B), NEHA        SHAH, AASHMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHAH, ALKA                           SHAH, AMOLA                              SHAH, ANUM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHAH, ANUMEHA                        SHAH, ASHLEY                             SHAH, AVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHAH, CHANDNI                        SHAH, CHIRAG                             SHAH, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
SHAH, EVANI           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SHAH, GEENA                      Page 4486  of 5495
                                                                           SHAH, HENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAH, JHILL                          SHAH, KAMINI                          SHAH, KAYA
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SHAH, KETAN                          SHAH, MALINI                          SHAH, MANUEL
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SHAH, MAYA                           SHAH, MEERA                           SHAH, MEGHAL
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SHAH, MIKKO                          SHAH, MINTU                           SHAH, MIRAI
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SHAH, MISHA                          SHAH, MITESH                          SHAH, NATASHA
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SHAH, NEIL                           SHAH, NIRALEE                         SHAH, NISHITA
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SHAH, PALAK                          SHAH, PALLAVI                         SHAH, PINKI
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SHAH, PRIYA                          SHAH, RAHUL                           SHAH, RAVINDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAH, RISHABH                        SHAH, ROHUN                           SHAH, SACHIN
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SHAH, SARIKA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SHAH, SAUMYA                     Page 4487  of 5495
                                                                           SHAH, SEEMA
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SHAH, SHAISHAV                       SHAH, SHAURINKUMAR                    SHAH, SHEENA
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SHAH, SHIRALI                        SHAH, SUBIR                           SHAH, TEJAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAH, TULSI                          SHAH, VIPUL                           SHAH, YESHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAHABI, NIKOO                       SHAHALI, KAJAL                        SHAHAN, MICHAEL
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SHAHAR, DANA                         SHAHAR, JENNIFER                      SHAHEEN, RACHEL
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SHAHEEN, SARAH                       SHAHID INSAF                          SHAHIN, SHIRIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAHLAPOUR, ZAHRA                    SHAHNAZARI, ROYA                      SHAHZADA, OWAIS
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SHAI EYNAV                           SHAI LIVNE                            SHAI SCHVARZMAN
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SHAIBOON, TIERNEY                    SHAIDA, NEHA                          SHAIKH, SARAH
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SHAILESHKUMAR DAVE    Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SHAILI SHAH                         Page 4488   of 5495
                                                                              SHAIN, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHAIN, NATASHA                          SHAINEEL SARUP                        SHAINKER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAJARI, BRIAN                          SHAKED LAW GROUP, P.C.                SHAKEEL ABDUL
ADDRESS AVAILABLE UPON REQUEST          14 HARWOOD COURT, STE 415             ADDRESS AVAILABLE UPON REQUEST
                                        SCARSDALE, NY 10583




SHAKER, MARK                            SHAKER, TED                           SHAKERA ELRINGTON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAKIRA GERALD                          SHAKRA, ALI                           SHAKUR, HAKIM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHALAPIN, MEGHAN                        SHALEV, ZIV                           SHALHOOB MEAT CO. INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SHALIMAR RESTAURANT                     SHALK, KELLY                          SHALLCROSS, JANICE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHALLCROSS, MARISSA                     SHALLER, REBECCA                      SHALLO, SUSAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHALLOW, REBECCA                        SHALOO, KELLY                         SHALOSKY, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAM, DUNCAN                            SHAM, WINNIE                          SHAMAR COWAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHAMBANNAGARI, MANOHARCase  22-11238-LSS
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                                                                            SHAMBLIN, JORDAN
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SHAMBROOK, KIM                        SHAMBURGER, ASHLEY                     SHAMIS, YULIA
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SHAMLEY, TONDALEYA                    SHAMP, KATHERINE                       SHAMPAIN, RICHARD
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHAMPANSKY, DIANA                     SHAMPINE, KAYLEE                       SHAMS, REGINA
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SHAMS, SANJUKTA                       SHAMUS D HARMON                        SHAMUS, ASHLEY
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SHAN, GRACE                           SHANAFELT, ALEXANDRE                   SHANAHAN, AMANDA
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SHANAHAN, BRENDAN                     SHANAHAN, JAMIE                        SHANAHAN, LISA
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SHANAHAN, MARLLORY                    SHANAHAN, MEGHAN                       SHANAHAN, RACHEL
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SHANAHAN, ROBERT                      SHANAHAN, SEAN                         SHANAHAN, TRAVIS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHAND, HAILEY                         SHAND, VANESSA B.                      SHANDA BIGELOW
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHANE ADAIR           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SHANE LILLY                      Page 4490
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SHANE, DIANE                         SHANE, KYLE                           SHANE, LAUREN
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SHANE, LISA                          SHANE, PATRICIA                       SHANE, SHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHANEN, IRMA                         SHANER, KATIE                         SHANER, MEGAN
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SHANER, SAM                          SHANG, BO                             SHANG, XIANHAN
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SHANGARI, NINA                       SHANHOLTZER, ANGIE                    SHANHOLTZER, CRISTA
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SHANICE ALISHA                       SHANICKA SCARBROUGH                   SHANIF DHANANI
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SHANK, CLAYTON                       SHANK, JUSTINE                        SHANK, RYAN
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SHANKAR, JAISHRI                     SHANKAR, RASSHMI                      SHANKAR, SWATHI
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SHANKARRAM VENKAT                    SHANKLE, BREANNAH                     SHANKLIN, ABRAHAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHANKLIN, ABRAHAM     Case 22-11238-LSS    Doc
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                                                                           SHANKLIN, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHANKMAN, JADE                       SHANKMAN, LESLIE                       SHANKS, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHANKS, LEIA                         SHANKS, MARTINA                        SHANLEY, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHANLEY, SETH                        SHANMUGASUNDARAM, KANNAN               SHANMUGHAM, SANTHOSH KUMAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHANNA HAMLETT                       SHANNAHAN, GRACIE                      SHANNN, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHANNON CUNNINGHAM                   SHANNON DAVIS                          SHANNON FALLACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         5513 GRAYLOG ST
                                                                            RANCHO PALOS VERDE, CA 90275




SHANNON KATHLEEN WILSON              SHANNON KETELSEN                       SHANNON LEBLANC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHANNON LOUGHEAD                     SHANNON MATTHEWS                       SHANNON MELTON
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SHANNON MICHAEL                      SHANNON MITCHELL                       SHANNON ROBERTS
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SHANNON SANDERSON                    SHANNON SINGLETON                      SHANNON SMITH
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SHANNON SULLIVAN      Case 22-11238-LSS    Doc
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SHANNON YAEDE                        SHANNON, AMY                          SHANNON, AUTUMN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHANNON, BRIANNA                     SHANNON, CINDY                        SHANNON, CYNTHIA
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SHANNON, DANIEL                      SHANNON, DR ERIN                      SHANNON, DR ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHANNON, EVELYN                      SHANNON, JOHNNY                       SHANNON, KAREN
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SHANNON, KARLY                       SHANNON, KEVIN                        SHANNON, KIMBLERLY
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SHANNON, LAURA                       SHANNON, LAURA                        SHANNON, LINDA
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SHANNON, MARSHALL/NAN                SHANNON, MELISSA                      SHANNON, MICHELA
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SHANNON, MORGAN                      SHANNON, NICOLE                       SHANNON, RANYA
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SHANNON, SARAH                       SHANNON, SHEREE                       SHANNON, STEPHANIE
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SHANNON, SUE          Case 22-11238-LSS    Doc
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SHANSHORY, SOPHIE                    SHANTA, LAURA                         SHANTLE, MONIQUE
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SHANUS, SUSAN                        SHAOJIE DAI                           SHAPARD, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAPARENKO, BENYAH                   SHAPELOW, YVONNE                      SHAPIRO, ANDREA
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SHAPIRO, BARRY                       SHAPIRO, DANIELLE                     SHAPIRO, DAVID
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SHAPIRO, DAWN                        SHAPIRO, DONNA                        SHAPIRO, EDWARD
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SHAPIRO, EVAN                        SHAPIRO, FRAN                         SHAPIRO, HANNAH
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SHAPIRO, HOLLY                       SHAPIRO, JOAN                         SHAPIRO, KAM
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SHAPIRO, KATHERINE                   SHAPIRO, KATHLEEN                     SHAPIRO, LAUREN
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SHAPIRO, MARISSA                     SHAPIRO, MARIYA                       SHAPIRO, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHAPIRO, MEREDITH     Case 22-11238-LSS    Doc
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                                                                           SHAPIRO, 5495
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SHAPIRO, MORGAN                      SHAPIRO, RITA                         SHAPIRO, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAPIRO, SABINA                      SHAPIRO, SARAH                        SHAPIRO, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAPIRO, SHOSHANA                    SHAPIRO, TARA                         SHAPIRO, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAPIRO, WENDY                       SHAPIRO, WENDY                        SHAPIRO, ZACHARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAPIRO-KLINE, JUSTINE               SHAPLAND, JAMISON                     SHAPLEY-BOX, DIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAPOLSKY, IAN                       SHAR, DANIEL                          SHARABBA, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARAF, MEGAN                        SHARAR, KENDAL                        SHARATH RANGA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARBER, RACHAEL                     SHARBUTT, HILLARY                     SHARE LOCAL MEDIA INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        40 EXCHANGE PLACE, STE 900
                                                                           NEW YORK, NY 10005




SHARE LOCAL MEDIA INC.               SHARE, JENNIFER                       SHARE, MARZETTA
45 BOND STREET 5TH FLOOR             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10012
SHAREASALE.COM, INC.     Case 22-11238-LSS    Doc
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                                                                              SHAREK, 5495
15 W. HUBBARD, SUITE 500                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60654




SHAREN PARKER                          SHARER, KATHLEEN                       SHARFF, EMILY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHARI KUHN                             SHARI, BRATHWAITE,                     SHARIATI, KATHERINE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHARIE SMITH                           SHARIE, BRANDON                        SHARIF, YAMINAH
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHARIFF, HASSAN                        SHARIN, GREGORY                        SHARK PIG, LLC
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         4514 N FIGUEROA ST
                                                                              LOS ANGELES, CA 90065




SHARKA, ZACHARY                        SHARKEY, ARLENE                        SHARKEY, BRE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHARKEY, BRIANNA                       SHARKEY, CHRIS                         SHARKEY, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHARKEY, LIAM                          SHARKEY, MARY                          SHARKEY, MEGAN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHARKEY, MIA                           SHARKEY, VICTORIA                      SHAR-LEANN CLARK REVOCABLE LIVING
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         TRUST
                                                                              ADDRESS AVAILABLE UPON REQUEST




SHAR-LEANN CLARK                       SHARMA, AJAY                           SHARMA, ANIKET
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHARMA, ANUVA         Case 22-11238-LSS    Doc
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                                                                           SHARMA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARMA, DAVID                        SHARMA, GUNEEV                        SHARMA, HEENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARMA, HEMANEE                      SHARMA, KSHITIJ                       SHARMA, MALVEEKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARMA, MALVIKA                      SHARMA, MIHIR                         SHARMA, MRINALINI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARMA, NAMITA                       SHARMA, NEHA                          SHARMA, NIKITA
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SHARMA, RAM                          SHARMA, RIA                           SHARMA, RUSS
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SHARMA, SHAAN                        SHARMA, SHIVANE                       SHARMA, SHRUTHI
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SHARMA, SONIA                        SHARMA, SWETA                         SHARMA, TANYA
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SHARMA, TAVISHI                      SHARMA, VANISHA                       SHARMA, VIDHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARON ANN SELL                      SHARON ATKINS                         SHARON BROOKES
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SHARON CRUTCHER YOH Case 22-11238-LSS
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SHARON KENT                         SHARON LEONARD                        SHARON SCHMIDT
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SHARON SHEMTOV                      SHARON SMITH                          SHARON SWEEDE SBROCCO
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARON WALLACE                      SHARON, BOBBIE JO                     SHARON, GARY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARON, SELINA                      SHARONLIN BHARDWAJ                    SHAROT, SCOTT
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SHARP, AL                           SHARP, AMANDA                         SHARP, BECCA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARP, BRITT                        SHARP, BRITTNEY                       SHARP, CHAD
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARP, CHRISTOPHER                  SHARP, DAWN                           SHARP, GABRIELLE
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SHARP, HEIDI                        SHARP, HOLLY                          SHARP, HOPE
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SHARP, JOSH                         SHARP, JOSHUA                         SHARP, KARI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHARP, KEN            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SHARP, LOGAN                     Page 4498
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHARP, MEGAN                         SHARP, MIKAYLA                        SHARP, NATALIE
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SHARP, QUINN                         SHARP, ROBERT                         SHARP, SARA
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SHARP, SARA                          SHARP, SARAH                          SHARP, SCOTT
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SHARP, SHARON                        SHARP, SOPHIA                         SHARP, TAYLOR
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SHARP, TAYLOR                        SHARP, WILLIAM                        SHARP, ZANDER
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SHARPE, ALEXA                        SHARPE, AUTUMN                        SHARPE, CHRISTY
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SHARPE, ELLISE                       SHARPE, EMILY                         SHARPE, ENGELICA
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SHARPE, GOLDA                        SHARPE, GRACE                         SHARPE, HOLLY
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SHARPE, JANET                        SHARPE, JUNE                          SHARPE, LINDSAY
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SHARPE, NATALIE       Case 22-11238-LSS
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                                                                           SHARPE, 5495
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SHARPE, STEPHANIE                    SHARPE, VIRGINIA                      SHARPER, CORKY
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SHARPLEY, RACHEL                     SHARPTON, CONNOR                      SHARPTON, JOHN
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SHARRER, THILYE AND RYAN             SHARRETT, EMMA                        SHARRETTTS, JEAN
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SHARRIEF, JIHAD                      SHARROCK, AUDREY                      SHARROKY HOLLIE
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SHARROW, JESSICA                     SHARRY, MOLLY                         SHARTZER, JEN
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SHARY, ROBERT                        SHARZER, REBECCA                      SHASHI LAD
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SHASKAS, JAMES                       SHASKY, RAE                           SHASTA, MS
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SHATEK, ALEX                         SHATER, MICHAEL                       SHATKIN, LORI
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SHATOOR, SUGNESHWAR                  SHATTLE, RENEE                        SHATTUCK, CHARLES
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SHATTUCK, HALEY       Case 22-11238-LSS    DocJENNIFER
                                     SHATTUCK,  2 Filed 11/30/22      Page 4500  of 5495
                                                                           SHATTUCK, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHATZEL, CHRISTINE                   SHATZER, KIRSTIN                       SHATZER, KIRSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHATZER, SAMANTHA                    SHAUB, ALEXIS & JASON                  SHAUGH, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHAUGHNESSY, ALEXANDRA               SHAUGHNESSY, JAMIE                     SHAUGHNESSY, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHAUGHNESSY, MEGHAN                  SHAUGHNESSY, MOLLY                     SHAUGHNESSY, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHAUGHNESSY, SARAH                   SHAUGHNESSY, SARAH                     SHAUGHNESSY, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHAUL, KAROL                         SHAUL, LAUREN                          SHAULINSKI, SINDEE
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SHAULIS, BRITTANY                    SHAUN KESSLER                          SHAUN M LAFACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHAUN MICHAEL FELCHER                SHAUN S TAYLOR                         SHAUN, LA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHAURINKUMAR SHAH                    SHAVANDRA RICHARDS                     SHAVE ICE TRUCK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING
SHAVER, CHAD          Case 22-11238-LSS
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                                                                           SHAVER, 5495
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SHAVER, LAUREN                       SHAVER, MARIE                         SHAVER, NICOLA
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SHAVER, TYLER                        SHAVERDI, NICOLE                      SHAVIERS, CHASSITY
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SHAVITZ, MARC                        SHAVLIK, GREG                         SHAVONNE ADKINS
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SHAVOZ, TERI                         SHAW - VFX, ARIEL                     SHAW, AMANDA
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SHAW, AMY                            SHAW, AMY                             SHAW, ANGEANETTE
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SHAW, ANTHONY                        SHAW, ASHLEY                          SHAW, AUSHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAW, BECKY                          SHAW, BRIAN                           SHAW, BRITTANY
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SHAW, BRITTLEY                       SHAW, BROOKE                          SHAW, CAMILLA
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SHAW, CARRIE                         SHAW, CHELSEA                         SHAW, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHAW, DIANE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAW, ETHAN                          SHAW, ETHAN                           SHAW, FRANCES
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SHAW, GARY                           SHAW, GERALD                          SHAW, HAYLEY
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SHAW, HOLLY                          SHAW, JENNA                           SHAW, JENNIFER
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SHAW, JENNIFER                       SHAW, JEROME                          SHAW, JULIA
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SHAW, JULIA                          SHAW, KATHARIN                        SHAW, KELLY
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SHAW, KEVIN                          SHAW, LASHON                          SHAW, LAURA
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SHAW, LAURA                          SHAW, LAUREN                          SHAW, LIDIE
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SHAW, LINCOLN                        SHAW, LINDSAY                         SHAW, LISA
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SHAW, LISA                           SHAW, LISA                            SHAW, LORRAINE
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SHAW, MARIAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           SHAW, METRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAW, NADJA                          SHAW, NICOLE                          SHAW, NIYALA
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SHAW, OCTAVIA                        SHAW, PAM                             SHAW, PATRICIA
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SHAW, REBECCA                        SHAW, REGAN                           SHAW, RONALD
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SHAW, ROY                            SHAW, RYAN                            SHAW, RYAN
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SHAW, SAMANTHA                       SHAW, SAMANTHA                        SHAW, SARAH
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SHAW, SHARMAN                        SHAW, SHARON                          SHAW, SHARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHAW, SKYE                           SHAW, STEPHANIE                       SHAW, TRACY
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SHAW, TRACY                          SHAW, TYELER                          SHAW, VIRGINIA
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SHAW, WENDY                          SHAWAH, ASHLYN                        SHAWGER, CHRISTINE
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SHAWLEY, MARY         Case 22-11238-LSS    Doc 2 Filed 11/30/22
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SHAWN F WILDES                       SHAWN GREGORY INKS                      SHAWN HIGGINS
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SHAWN PETERS                         SHAWN THOMAS BURROWS                    SHAWNA BRUCE
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SHAWNA FAE GRAVES                    SHAWNA FOREE                            SHAWNDAE BRUZENAK
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SHAWNDRA BRYANT                      SHAWNS PUMPKIN PATCH                    SHAWSTAD, NYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SHAWVER, ANGELA                      SHAWVER, JASON                          SHAXTED, SARAH
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SHAY, ANDREW                         SHAY, DANELLE                           SHAY, EMILY
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SHAY, EMMA                           SHAY, MICHELLE                          SHAY, RACHEL
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SHAY, SAMANTHA                       SHAYA MAIER                             SHAYEGAN, MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SHAYKO, NATALIA                      SHAYLA KING                             SHAYLA MARIE KING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SHAYNA FASANELLA      Case 22-11238-LSS    Doc 2 ELIZAVETA
                                     SHCHERBAKOVA,   Filed 11/30/22   Page 4505   of 5495
                                                                           SHEA, ALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEA, ALLYSON                        SHEA, AMY                             SHEA, ANNAROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEA, BETH                           SHEA, BRIAN                           SHEA, CAITLIN
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SHEA, CARLEEN                        SHEA, CAROLINE                        SHEA, ELIZABETH
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SHEA, EMILY                          SHEA, ERIN                            SHEA, ERIN
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SHEA, JACLYN                         SHEA, JAYNE                           SHEA, KATHLEEN
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SHEA, KELSEY                         SHEA, KRISTINA                        SHEA, LAURA
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SHEA, MARIE                          SHEA, MEGHAN                          SHEA, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEA, PEYTON                         SHEA, SARAH                           SHEA, STACIA
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SHEA, THERESA                        SHEAD, AVERY                          SHEAD, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHEADY, KAREN         Case 22-11238-LSS    Doc
                                     SHEAFFER,   2 Filed 11/30/22
                                               DAWN                   Page 4506 of 5495
                                                                           SHEAFOR, BRADFORD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEAH, JULIE                         SHEAHAN, ANDREA                       SHEAHAN, COREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEALEY, MISSIE                      SHEALY, ANGIE                         SHEAN, TAYLOR
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SHEAR, DAVID                         SHEARBURN, EMILY                      SHEARE, JEFFREY
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SHEAREN, JOEY                        SHEARER, CHARSI                       SHEARER, DESARAE
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SHEARER, DOUGLAS                     SHEARER, FIONA                        SHEARER, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEARER, JEREMY                      SHEARER, LAURA                        SHEARER, LISA
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SHEARER, MEGHAN                      SHEARER, MR AND MRS                   SHEARER, RACHEL
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SHEARER, SARAH                       SHEARHOD, TIFFANY                     SHEARIN, ANDREA
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SHEARIN, CHRISTINA                   SHEARIN, JERELL                       SHEARIN, KELLY
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SHEARMAN, CAT         Case 22-11238-LSS
                                     SHEARN,Doc 2 Filed 11/30/22
                                             BRENDAN                  Page 4507 of 5495
                                                                           SHEARON, GRACESHOUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEARRON, MILES                      SHEARS, SHIRLENE                      SHEBANIE, MICHAEL
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SHEBBY, SARAH                        SHEBBY, SEAN                          SHECKLER, STEPHANIE
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SHED, SARAH                          SHEDD, REBECCA                        SHEDIVY, ANN
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SHEDLER, ANDREA                      SHEDRICK, MORGAN                      SHEE, LORI
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SHEEDER, NORA                        SHEEDER, SUZANNE                      SHEEDY, COURTNEY
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SHEEDY, DANA                         SHEEDY, MARK                          SHEEDY, TINA
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SHEEHAN, AMBERLEE                    SHEEHAN, BECCA                        SHEEHAN, BILL
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SHEEHAN, BRIAN                       SHEEHAN, CAITLIN                      SHEEHAN, DEBORAH
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SHEEHAN, ERIN                        SHEEHAN, JACKY                        SHEEHAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHEEHAN, JOHN         Case 22-11238-LSS    Doc
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                                              JOSHUA                  Page 4508 of 5495
                                                                           SHEEHAN, JULIANNE
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SHEEHAN, KARA                        SHEEHAN, KELSEY                        SHEEHAN, LUKE
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SHEEHAN, MALLORY ANNE                SHEEHAN, MEGAN                         SHEEHAN, MICHAEL
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SHEEHAN, PATRICIA                    SHEEHAN, ROB                           SHEEHAN, SHANNON
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SHEEHY, BRENDAN                      SHEEHY, CATHERINE                      SHEEHY, EILEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHEEKEY, STEPHANY                    SHEEKS, MOLLY                          SHEELY, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHEELY, KAYLA                        SHEEN LI LIN                           SHEEN, KELLEY
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SHEENA, SKYE                         SHEENAH MUSCO                          SHEERAN, JOHN
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SHEERIN, KIMBERLY                    SHEETS, CANDICE                        SHEETS, CASSIDIE
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SHEETS, CHRISTINE                    SHEETS, COURTNEY                       SHEETS, HANNAH
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SHEETS, KELSEY        Case 22-11238-LSS
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                                                                              SHEETS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SHEETZ                                  SHEFALI SHAH                          SHEFFELS, JODIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEFFEY, ATUL                           SHEFFEY, MICHAEL                      SHEFFIELD, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEFFIELD, KYLIE                        SHEFFIELD, MISTY                      SHEFFIELD, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEFFIELD, SHANTIL                      SHEFFLER, JANE                        SHEFINDS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        33 RIVERSIDE DR. SUITE 5E
                                                                              NEW YORK, NY 10023




SHEFRIN, ZACH                           SHEGDA, KIMBERLY                      SHEHAN, CAROLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEHAN, CAROLA                          SHEHAN, ERIN                          SHEHATA, GEORGE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEHATA, MARC                           SHEIBLEY, DANIELLE                    SHEIKH, NADIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEIKH, SAIDO                           SHEIKH, TARA                          SHEIL, TRINITY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEILA BOWIE                            SHEILA BURKE                          SHEILA BYSTRAK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHEILA HARTWIG, SHEILA Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                      SHEILA HERMAN                    Page 4510
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                                                                                   SCZEPANIK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHEILA SEGURSON                       SHEILA, BROWN,                         SHEIL-HOPPER, CATHLEEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHEKELL, DOROTHY                      SHEKEM, NATHANIEL                      SHELAT, ALYSSA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELATZ, LISA                         SHELBIE MILES                          SHELBORNE-BARFIELD, LYNETTE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELBOURN, ALISHA                     SHELBURNE, ERIKA                       SHELBURNE, JORDAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELBY E L PRUETT                     SHELBY HOWARD                          SHELBY PEREZ
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELBY ROBINSON                       SHELBY SCHEBILSKI                      SHELBY, APRIL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELBY, CHRISTINA                     SHELBY, DUSTYN                         SHELBY, NIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELBY, VANDONSEL                     SHELDON COHN                           SHELDON FINANCIAL LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELDON HILLS VINEYARDS, LLC          SHELDON, JESSICA                       SHELDON, KELLI
20204 ATKINS ROAD                     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LODI, CA 95240
SHELDON, LISA         Case 22-11238-LSS    Doc
                                     SHELDON,   2 Filed 11/30/22
                                              MARY                    Page 4511 of 5495
                                                                           SHELDON, NORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHELDON, ROBIN                       SHELDON, ROBIN                        SHELDON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHELDON, SHERRY                      SHELDON, STEVE                        SHELHAMER, KYLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHELIA COOKBEY                       SHELIST, MADISON                      SHELL OIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2164 S BROADWAY
                                                                           SANTA MARIA, CA 93454




SHELL, CHRISTOPHER                   SHELL, KYLEIGH                        SHELL, NED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHELL, SHAWNA                        SHELL, THERESE                        SHELLBACK TAVERN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SHELLBERG, AN                        SHELLER, ANDREA                       SHELLEY DEHART
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHELLEY STARNER                      SHELLEY, ANDREA                       SHELLEY, CAMBRIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHELLEY, CHERYL                      SHELLEY, JUSTIN                       SHELLEY, LAURA
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SHELLEY, MASON                       SHELLEY, SHARON                       SHELLHORN, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHELLIE, ISAKSON      Case 22-11238-LSS     Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELLOW, ROBERT                      SHELLY, ELISA                          SHELLY, TOBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELMAN, FAITH                       SHELOR, KATIE                          SHELOR, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELQUIST, CONNOR                    SHELSTROM, TIFFANY                     SHELTER POINT LIFE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         PO BOX 9340
                                                                            GARDEN CITY, NY 11530




SHELTON, AMI                         SHELTON, CALEB                         SHELTON, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHELTON, CHASITY                     SHELTON, DEBBIE                        SHELTON, GERALDINE
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SHELTON, JAMIE                       SHELTON, JEANETTE                      SHELTON, JERRY
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SHELTON, JESSICA                     SHELTON, JO LYNN                       SHELTON, JUDY
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SHELTON, KAT                         SHELTON, KENISHA                       SHELTON, LEIGH
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SHELTON, LINDA                       SHELTON, MARGARET                      SHELTON, MARK
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SHELTON, MICHAEL      Case 22-11238-LSS    Doc
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SHELTON, RASHANDA                    SHELTON, REBECCA                      SHELTON, SABRINA
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SHELTON, SAMANTHA                    SHELTON, SARAH                        SHELTON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHELTON, SONORA                      SHELTON, STACIE                       SHELTON, STEPHANIE
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SHELTON, TERESA’S                    SHELTON, TODD                         SHELTON, WILLIAM
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SHELUS, MARY/STEVE                   SHELVY, CYNTHIA                       SHEMANSKY, DANIELLE
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SHEMELYA, J ALAN                     SHEMESH, MAAYAN                       SHEMO, EMMA
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SHEMPP, DEBORAH                      SHEMTOV, MICHAEL                      SHEN, ANDREW
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SHEN, EVELYN                         SHEN, IVY                             SHEN, JANE
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SHEN, JERRY                          SHEN, JOAN                            SHEN, SAMANTHA
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SHEN, YI              Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SHENK, EMMA                          SHENK, PETRA                          SHENK, SARAH
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SHENKEL, JESSICA                     SHENOY, DEVYANI                       SHENOY, SHREYA
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SHEP HOFFMAN                         SHEPARD, AISHA                        SHEPARD, AMY
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SHEPARD, CAROLE                      SHEPARD, CATHERINE                    SHEPARD, CATHERINE
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SHEPARD, HALEY                       SHEPARD, KATE                         SHEPARD, KAYZHA
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SHEPARD, LAUREN                      SHEPARD, LINDA                        SHEPARD, LINDSAY
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SHEPARD, MEGAN                       SHEPARD, ROBERT                       SHEPARD, SIERRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEPARDSON, EMMA                     SHEPARDSON, SUSAN                     SHEPHARD, CARRIE
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SHEPHARD, CHRISTINA                  SHEPHARD, HILARY                      SHEPHEARD, MORGAN
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SHEPHER RANCH, LLC.     Case 22-11238-LSS
                                       SHEPHER Doc  2 LLC.
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                                                                              SHEPHERD MATSONGONI
16027 VENTURA BLVD, 400                24232 LONG VALLEY RD.                  ADDRESS AVAILABLE UPON REQUEST
ENCINO, CA 91436                       HIDDEN HILLS, CA 91302




SHEPHERD, ANALIESE                     SHEPHERD, BROOKE                       SHEPHERD, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHEPHERD, HANNAH                       SHEPHERD, HOLLY                        SHEPHERD, JENNIFER
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SHEPHERD, JOHN                         SHEPHERD, LEAH                         SHEPHERD, LESLIE
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SHEPHERD, MARY-ANN                     SHEPHERD, MELISSA                      SHEPHERD, MOLLY
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SHEPHERD, NATALIE                      SHEPHERD, PHYLLIS                      SHEPHERD, SHERIDAN
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SHEPHERD, SUZANNE                      SHEPHERD-HAUCK, ANNE                   SHEPLEY, KEVIN
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SHEPPARD MULLIN RICHTER & HAMPTON      SHEPPARD, ABIGAIL                      SHEPPARD, ALEXANDRA
LLP                                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
333 SOUTH HOPE STREET, 43RD FLOOR
LOS ANGELES, CA 90071-1422




SHEPPARD, ALLISON                      SHEPPARD, BRENNAN                      SHEPPARD, JEANNINE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHEPPARD, JOHN                         SHEPPARD, KATE                         SHEPPARD, KERRY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHEPPARD, MAGGIE      Case 22-11238-LSS    DocMEGAN
                                     SHEPPARD,  2 Filed 11/30/22      Page 4516 of 5495
                                                                           SHEPPARD, MILDRED
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SHEPPARD, MORGAN                     SHEPPARD, PATRICK                     SHEPPARD, REAGAN
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SHEPPARD, SAIDAH                     SHEPPARD, SAMANTHA                    SHEPPARD, SUZANNE
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SHEPTOSKI, MEGAN                     SHER, DUSTIN                          SHER, JONATHAN
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SHERA, ABBY                          SHERARD, NIKITA                       SHERATON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SHERBON, CHERIE                      SHERBON, MICHELLE                     SHERBONDY, LEAH
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SHERBURNE, JUNEMARIE                 SHERE, JOSH                           SHERF, AMANDA
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SHERFY, MARGARET                     SHERI HARDWICK KEDILHAC VIESCA        SHERI KEMPF
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SHERI KNEPPER                        SHERI LYNN DWYER                      SHERICK, GENEVIEVE
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SHERIDAN JOHNSON                     SHERIDAN, BRANDI                      SHERIDAN, BRIAN
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SHERIDAN, CARYN       Case 22-11238-LSS    Doc
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                                               EMILY                  Page 4517  of 5495
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SHERIDAN, JEFF                       SHERIDAN, JOEY                        SHERIDAN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHERIDAN, KELLY                      SHERIDAN, KELLY                       SHERIDAN, LAUREN
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SHERIDAN, LISA                       SHERIDAN, LISA                        SHERIDAN, MARIE
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SHERIDAN, MEAGHAN                    SHERIDAN, SHAYNA                      SHERIDAN, SUZANNE
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SHERIE FORD                          SHERIN, NANCY                         SHERK, KIMBERLY
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SHERLOCK, ABIGAIL                    SHERLOCK, KYLIE                       SHERLOCK, NICOLE
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SHERLOCK, RACHEL                     SHERLOCK, WESLEY                      SHERMAN DEBORAH
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SHERMAN FARR JR                      SHERMAN REID                          SHERMAN, ALICEROSE
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SHERMAN, ALLI                        SHERMAN, BARBARA                      SHERMAN, BETTY
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SHERMAN, BLAKE        Case 22-11238-LSS    Doc
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                                              BRIDGET                 Page 4518 of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHERMAN, BRODIE & MADDY              SHERMAN, BRUCE                         SHERMAN, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHERMAN, CHRISTINA                   SHERMAN, DANIELLE                      SHERMAN, DAVID
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SHERMAN, DAVID                       SHERMAN, DEVIN                         SHERMAN, ELLEN
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SHERMAN, EMILY                       SHERMAN, JUSTIN                        SHERMAN, KATE
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SHERMAN, KEITH                       SHERMAN, KRISTIN                       SHERMAN, KYLE
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SHERMAN, MADISON                     SHERMAN, MARA                          SHERMAN, MARISSA
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SHERMAN, MATTHEW                     SHERMAN, MERCEDITA                     SHERMAN, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHERMAN, PETER                       SHERMAN, RACHEL                        SHERMAN, RACHEL
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SHERMAN, REBECCA                     SHERMAN, REBECCA                       SHERMAN, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHERMAN, SAMANTHA     Case 22-11238-LSS    Doc
                                     SHERMAN,   2 Filed 11/30/22
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                                                                           SHERMAN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHERMAN, SARAH                       SHERMAN, SAVANNAH                     SHERMAN, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHERMAN, TRICIA                      SHERMANS TRAVEL LLC                   SHERMOCK, TRACY
ADDRESS AVAILABLE UPON REQUEST       112 W 34TH ST SUITE 2110              ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10120




SHERMOEN, CHRISTINA                  SHERNALEE STEPHENSON                  SHEROD, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHEROD, CHRISTOPHER                  SHERRARD-ALVAREZ, BARBARA             SHERRATT, REGINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHERREL, JENNY                       SHERREL, LAUREN                       SHERRER, TRACY
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SHERRIE DEANS                        SHERRIE LYNNE GOLDSTEIN               SHERRIER, SALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHERRILL, CHERRI                     SHERRILL, KAYCEE                      SHERRILL, KAYLEE
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SHERRILL, LAUREN                     SHERRIN, WILLIAM                      SHERRITT, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHERROD, EDEN                        SHERROD, JAMIE                        SHERROD, KEVIN
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SHERROD, MALIA        Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHERRON, DIANNE                      SHERRY BUCKLES                        SHERRY OLSON, SHERRY
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SHERRY PIPCHOK                       SHERRY, JANE                          SHERRY, JERI ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHERRY, JULIA                        SHERRY, LESLIE                        SHERRY, MICHAEL
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SHERRY, NICOLE                       SHERRY, PATRICIA                      SHERRY, TAYLOR
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SHERVEN, JACOB                       SHERWIN, CASSANDRA                    SHERWIN, DEBORAH
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SHERWIN, JESSICA                     SHERWIN, KATIE                        SHERWIN, KIELEY
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SHERWOOD KLEIN JR                    SHERWOOD, CALEB                       SHERWOOD, ELIZABETH
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SHERWOOD, KATHERYN                   SHERWOOD, KELLY                       SHERWOOD, LACEY
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SHERWOOD, LISA                       SHERWOOD, MELANIE                     SHERWOOD, RAEGAN
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SHERYL, EWING                        SHERYLL CASUGA                         SHESH, HOPE
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SHETH, ANUP                          SHETH, NIDHI                           SHETH, NIMESH
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SHETH, RUPAL                         SHETLER, SOMER                         SHETLEY, JO
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SHETSKY, MICHAEL                     SHETTLESWORTH, CINDY                   SHETTY, DHIREN
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SHEVARDNADZE, NANOULI                SHEVEL, KATY                           SHEVLIN, BRIAN
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SHEVLIN, JENNIFER                    SHEVLIN, NICOLE                        SHEW, BRADLEY
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SHEW, JESSICA                        SHEW, KIRSTIN                          SHEWAN, BRYNN
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SHEWEET YOHANNES                     SHEWFELT, HALEY                        SHEY, BARBARA
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SHI, AMY                             SHI, JANE                              SHI, JENNIFER
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SHI, KEJIAN           Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SHIAO, AMANDA                        SHIARELLA, RICHARD                    SHIBLEY, ASHLEY
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SHIBUSAWA, QUINTEN                   SHICODIE ROSS                         SHIDER, LINDA
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SHIEBLER, RACHAEL                    SHIELD, MARK                          SHIELD, SIERRA
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SHIELDS BROKERAGE, STACY SHILL       SHIELDS, AMBER                        SHIELDS, BRENT
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SHIELDS, BRIDGET                     SHIELDS, BRITTNEY                     SHIELDS, CARTER
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SHIELDS, CASSANDRA                   SHIELDS, CHERYL                       SHIELDS, CHRISSY
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SHIELDS, CHRISTOPHER                 SHIELDS, COURTNEY                     SHIELDS, COURTNEY
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SHIELDS, DEANNA                      SHIELDS, DUSTIN                       SHIELDS, EMILY
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SHIELDS, EMILY                       SHIELDS, EMILY                        SHIELDS, ERIN
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SHIELDS, ERIN         Case 22-11238-LSS     Doc
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                                                                           SHIELDS, 5495
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SHIELDS, GUS AND ALI                 SHIELDS, JAMIE                        SHIELDS, JOE ANNE
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SHIELDS, KATHRYN                     SHIELDS, KAYLA                        SHIELDS, KEELEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHIELDS, KELLY                       SHIELDS, KIMBERLY                     SHIELDS, LEN
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SHIELDS, MICAELA                     SHIELDS, MICHAEL                      SHIELDS, MOLLY
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SHIELDS, NATALIE                     SHIELDS, PHILIP                       SHIELDS, SUSAN
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SHIELDS, TANNER                      SHIELDS, ZAVIER                       SHIER, NANCY
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SHIFFLETT, BLAKE                     SHIFFMAN, SARA                        SHIFLET, MOLLY
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SHIFLEY, BK                          SHIGEMASA, BRITTANY                   SHIGENO, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHIH, FREYA                          SHIH, JANET                           SHIH, KARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHIIKI, SARAH         Case 22-11238-LSS    Doc
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                                              TAKA                       Page 4524  of 5495
                                                                              SHIKHMAN, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SHIKO, THOMAS                           SHIKOFF, MADLYN                        SHIKORA, MIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHIKORA, MINDY                          SHILA WATTAMWAR                        SHILDNECK, FAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHILEY, ANNE CELINE                     SHILKOFSKI, JOE                        SHILKRUT, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHILLABEER, NICOLE                      SHILLIETO, ELIZA                       SHILLING, DEBBIE
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SHILLING, DENICE                        SHILLING, KYLE                         SHILLINGTON, SEAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHILMAN, BELLA                          SHILOH J GRAY                          SHILSHTUT, LYUDMILA
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SHIM, JEAN                              SHIM, KATHLEEN                         SHIM, LEAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHIMA                                   SHIMBORSKE, JUSTIN                     SHIME, VERONIKA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHIMEK, KERI                            SHIMEK, MEGHAN                         SHIMKOSKI, JEFFREY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHIMODA, MATTHEW      Case 22-11238-LSS    Doc
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SHIMSHI, AMIT                        SHIN ONO                              SHIN, CHONG
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SHIN, CHRISTINA                      SHIN, IRIS                            SHIN, JIYEN
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SHIN, JUNGWON                        SHIN, SALLY                           SHINAULT, KYLE
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SHINDE, PRATIK                       SHINDELL, LAURA                       SHINDLEDECKER, TINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHINDLER, SANDRA                     SHINE INFLUENCERS                     SHINE, ALISON
ADDRESS AVAILABLE UPON REQUEST       750 SAN VICENTE BLVD. STE. 800        ADDRESS AVAILABLE UPON REQUEST
                                     W LOS ANGELES, CA 90069




SHINE, ASYA                          SHINE, DENNIS                         SHINE, JUDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHINE, KEELY                         SHINEFLEW, STEPHANIE                  SHINELDECKER, SHARLENE
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SHINER, OLIVIA                       SHINER, SUSAN                         SHINER, VALERIE
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SHINGLETON, CARIE                    SHINHOLSTER, LAUREN                   SHINHOLSTER, ROSE
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SHINING CAPITAL GP    Case 22-11238-LSS
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INTERTRUST CORP SERVICES(CAYMAN)LTD  INTERTRUST CORP SERVICES(CAYMAN)LTD    ADDRESS AVAILABLE UPON REQUEST
ONE NEXUS WAY CAMANA BAY             ONE NEXUS WAY CAMANA BAY
GRAND CAYMAN KY1-9005                GRAND CAYMAN KY1-9005
CAYMAN ISLANDS                       CAYMAN ISLANDS



SHINN, CONNOR                         SHINN, ERIN                           SHINN, JUSTIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHINN, KIM                            SHINNAMON, JAIME                      SHINSKY, MICHELLE S
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHINTANI, MIKE                        SHIOHAMA, DEE                         SHIP COMPLIANT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        1877 BROADWAY SR, STE 703
                                                                            BOULDER, CO 80302




SHIP COMPLIANT                        SHIPARSKI, STEVE                      SHIPE, ALICIA
1877 BROADWAY ST. STE 703             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BOULDER, CO 80302




SHIPE, CONSTANCE                      SHIPLEY, ABIGAIL                      SHIPLEY, ANALIZA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHIPLEY, ANDREA                       SHIPLEY, ANGIE                        SHIPLEY, BROOKE
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SHIPLEY, JOHN                         SHIPLEY, JORDAN                       SHIPLEY, KENDRA
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SHIPLEY, MICHELLE                     SHIPLEY, SAMUEL                       SHIPLEY, SHELBY
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SHIPLEY, SHELBY                       SHIPMAN, AMBER                        SHIPMAN, CAROLINE
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SHIPP, DUSTY                         SHIPP, KAITLYN                         SHIPP, KAITLYN
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SHIPP, KATIE                         SHIPP, PARIS                           SHIPP, RICKY
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SHIPPY, SAUMYA                       SHIPRAK, DAVID                         SHIPSTEAD, PAUL
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SHIPTON, BRIAN                       SHIRAH, KELS                           SHIRAS, EMMETT
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SHIRAZI, ROSHAN                      SHIRE, MATTHEW                         SHIRES, KACI
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SHIRES, SHANNON                      SHIREY, JANNINE                        SHIREY, KAELYN
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SHIRIKJIAN, MARIANNE                 SHIRK, KENDRA                          SHIRK, KRYSTAL
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SHIRK, NICOLE                        SHIRKE, AVANTI                         SHIRKE, NITIN
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SHIRKE, TANVI                        SHIRKEY, SHELLY                        SHIRLEY ANN HAYDE
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SHIRLEY JEFFERSON     Case 22-11238-LSS
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SHIRLEY, JEN                         SHIRLEY, JESSICA                      SHIRLEY, JOY
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SHIRLEY, LAKISSA                     SHIRLEY, LAUREN                       SHIRLEY, LINDA
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SHIRLEY, LORETTA                     SHIRLEY, NICHOLAS                     SHIRLEY, RACHEL
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SHIRLEY, STEPHANIE                   SHIRLEY, THOMAS                       SHIRLS, JAY
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SHIRMEDOV, ORAZMAMED                 SHIRVAN, LEILA                        SHISHA, JILL
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SHISHA, SARAH                        SHISHIDO, HISANOBU                    SHISHIR KANE
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SHISLER, JOSH                        SHITHIL, EIKRA                        SHIU, PAT
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SHIVAKUMAR VANAM                     SHIVANI, SUHITH                       SHIVE, BROOKE
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SHIVE, STEPHANIE                     SHIVELL-SAUFLEY, MATTHEW              SHIVELY, ARICKA
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SHIVELY, JEFFERY      Case 22-11238-LSS
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SHIVELY, MADDISON                    SHIVELY, PAULA                        SHIVELY, PETER
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SHIVELY, STEPHEN                     SHIVER, JOHN                          SHIVERS, BRIGID
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SHIVERS, CYNTHIA                     SHIVERS, GLEN                         SHIVERS, KELSIE
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SHIVLEY, MADELYN                     SHIVNARAINE, SHOMATTIE                SHIWNATH, KELVIN
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SHIWRATAN, MONICA                    SHJERVEN, SUSAN                       SHKOLNIK, LISA
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SHKURTI, ANAMARIA                    SHKURTI, JULA                         SHKURTI, TONY
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SHLIAPIN, ANDREI                     SHLOMO, DANIELLE                      SHLOSBERG, MATT
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SHLUTZ, HEATHER                      SHMERLING, LAURA                      SHMUKLER, BECCA
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SHMUKLER, JACOB                      SHNAIDMAN, ARIELLE                    SHNITZER, DAVID
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SHOAFF, MARK          Case 22-11238-LSS
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SHOBAMOWO, SHOLA                     SHOBER, CHRISTEN                      SHOBOWALE, OLUBUKOLA
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SHOCK, JENNIFER                      SHOCKET, DAVID                        SHOCKEY, DANIELLE
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SHOCKEY, SUSIE                       SHOCKLEY, JOYCE                       SHOCKLEY, KAILYN
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SHOCKLEY, KELLYN                     SHOCKLEY, TODD                        SHOCKLEY, ZANE
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SHOCKRO, MEGAN                       SHODEN, KRISTEN                       SHOEMAKE, ADRIEN
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SHOEMAKER, ALY                       SHOEMAKER, AMANDA                     SHOEMAKER, ANA
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SHOEMAKER, ASHLEY                    SHOEMAKER, BEVERLY                    SHOEMAKER, CRAIG
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SHOEMAKER, DESEREA                   SHOEMAKER, JULIE                      SHOEMAKER, KAREN
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SHOEMAKER, KATIE                     SHOEMAKER, LAUREN                     SHOEMAKER, LESLIE
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SHOEMAKER, LINDSEY    Case 22-11238-LSS    Doc MEREDITH
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SHOEMAKER, RILEY                     SHOEMAKER, SARAH                       SHOEMAKER, STEPH
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SHOEMAN, ANNA                        SHOEMATE, ALI                          SHOEN, MAGGIE
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SHOENFELT, VANESSA                   SHOER, MICHAEL                         SHOFFLER, DAVID
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SHOFFNER, LAUREN                     SHOFFNER, SAMANTHA                     SHOFFSTALL, JASON
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SHOFNER, BOBBI                       SHOFNER, ERIN                          SHOGER, KARSEN
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SHOGREN, JACOB                       SHOGRY, THEODORE                       SHOJAEE, BEHNAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHOJI SHUKURI                        SHOK, EMILY                            SHOKRIAN VINEYARDS AT CAT CANYON LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         7095 HOLLYWOOD BLVD N 604
                                                                            HOLLYWOOD, CA 90028-8912




SHOLD, KATE                          SHOLL, MOLLIE                          SHOLL, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SHOM, LYNNE                          SHOMBERG, MINDY                        SHOME, PRIYANKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SHONA DUNCAN          Case 22-11238-LSS
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SHONE, JOANNE                        SHONES, LYNDSAY                         SHONK, AARON
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SHONK, ROBERTA                       SHONKA, KATHRYN                         SHON-SANTANA, LUCIA
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SHOOK, ALEXA                         SHOOK, ANDRIA                           SHOOK, MEGHAN
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SHOOK, NICOLE                        SHOOK, PAOLA                            SHOOK, RON
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SHOOP, SUZANNE                       SHOOV, EMILY                            SHOP, NR
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SHOPE, AMY                           SHOPE, CORI                             SHOPE, NELLA
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SHOPHER MEDIA                        SHOPIFY PLUS                            SHOPIFY
5130 NORTH FEDERAL HWY 10            ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
FORT LAUDERDALE, FL 33308




SHOPPA, CLAYTON                      SHOPPER, GUEST                          SHOPRITE BRANDWINE 1
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




SHOPTAGR LTD                         SHOPTIQUES, INC.                        SHORB, TAYLOR
SHOPTAGR                             40 WEST 25 STREET 8TH FLOOR             ADDRESS AVAILABLE UPON REQUEST
TEL AVIV                             NEW YORK, NY 10010
ISRAEL
SHORE, APRIL          Case 22-11238-LSS
                                     SHORE, Doc 2 Filed 11/30/22
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SHORE, JORDAN                        SHORE, KELSEY                         SHORE, MADELYN
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SHORE, REMI                          SHORE, ZARA                           SHOREBAR
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SHORES, RACHEL                       SHORR, JESSICA                        SHORROCK, WILLIAM
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SHORT, ALEXANDER                     SHORT, AMANDA                         SHORT, AMBER
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SHORT, ASHLEY                        SHORT, CARMEN                         SHORT, CAROL
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SHORT, CLYDE AND CHARLOTTE           SHORT, DANA                           SHORT, DONELL
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SHORT, ELIZABETH                     SHORT, ERIN                           SHORT, FREDERICK
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SHORT, JACKIE                        SHORT, JEFFERY W                      SHORT, JEFFREY
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SHORT, JOHN                          SHORT, JORDYN                         SHORT, LINDSAY
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SHORT, LISA           Case 22-11238-LSS
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SHORT, MATTHEW                       SHORT, MEGHAN                             SHORT, MELANIE
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SHORT, MICHAEL                       SHORT, NATALIE                            SHORT, NICHOLAS
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SHORT, SARAH                         SHORT, SHERRI                             SHORT, SIERRA
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SHORTER, JOCELYN                     SHORTMAN, NICHOLE                         SHORTRIDGE, CASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SHORTS, MARGARET                     SHOSEY, MELISSA                           SHOSTAK, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SHOSTAK, JOANNE                      SHOT GLASS                                SHOTTES, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       SHOWREEL INTERNATIONAL, INC. 22431        ADDRESS AVAILABLE UPON REQUEST
                                     MIRANDA ST.
                                     WOODLAND HILLS, CA 91367




SHOTWELL, CORRIE BETH                SHOTWELL, KATHY                           SHOTWELL, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SHOULTS, MEAGAN                      SHOULTS, NICHOLE                          SHOULTZ, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SHOUP, ANDREA                        SHOUP, JULIA                              SHOUP, LOGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
SHOUP, NIKKI          Case 22-11238-LSS    Doc
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SHOVLIN, REBECCA                     SHOVLIN, SHEA                         SHOWALTER, HELEN
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SHOWALTER, KRISTIN                   SHOWEL, MARGARET                      SHOWERS, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHOWERS, LISA                        SHOWFIELDS FL 1 LLC                   SHOWUNMI, REBECCA
ADDRESS AVAILABLE UPON REQUEST       530 LINCOLN RD                        ADDRESS AVAILABLE UPON REQUEST
                                     MIAMI BEACH, FL 33139




SHPANSKAYA, KATIE                    SHPEEN, BENJAMIN                      SHPORER, AVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHRADER, DEREK                       SHRADER, HARLIE                       SHRADER, JUDITH
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SHRADER, ROBERT                      SHRAYER, NINA                         SHRECK, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHRED-IT USA INC                     SHRED-IT USA INC                      SHREEVE, SARA
11101 FRANKLIN AVENUE SUITE 100      SHRED-IT USA, LLC                     ADDRESS AVAILABLE UPON REQUEST
FRANKLIN PARK, IL 60131-1403         P.O BOX 101007
                                     PASADENA, CA 91189-1007




SHREFFLER, JULIE                     SHREFFLER, TRAVIS                     SHRESTHA, ANUJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHRESTHA, KRITY                      SHRESTHA, REBIKA                      SHRESTHA, REVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SHREVE, PATRICIA      Case 22-11238-LSS
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SHREVES, DARCEE                      SHREVES, LACY                          SHREVES, SAVANNAH
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SHREYA GOPAL                         SHREYAS AHIR                           SHREYASH S NAYAK
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SHRIANE, KAYLA                       SHRIFTER, STEVE                        SHRIKHANDE, TARINI
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SHRINER, ALLISON                     SHRINER, BENJAMIN                      SHRIVER, JOSIE
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SHRIVER, MADISEN                     SHRIVER, MEGHAN                        SHRODER, EMILY
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SHROEGER, NICHOLAS                   SHROFF, ANISH                          SHROFF, AVANTI
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SHROFF, PRIYANK                      SHROFF, SANAYA                         SHRONK, DAVID
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SHROY, JENNIFER                      SHROY, KATHLEEN                        SHROYER, PAM
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SHRUM, KAYLA                         SHRUM, MORIAH                          SHTAYNBERGER, DAVID
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SHTERBAN, AMY         Case 22-11238-LSS
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SHU, MARY                            SHU, PETER                            SHU, ROBIN
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SHUBA, CHARLENE                      SHUBIN, LUDA                          SHUBIN, NESS
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SHUBROOKS, CHIARA                    SHUCET, PHILIP                        SHUCK, KIMBERLY
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SHUCK, PATTY                         SHUCK, TAYLOR                         SHUDER, RENEE
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SHUE, CINDY                          SHUE, COURTNEY                        SHUE, ELIZABETH
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SHUE, VICKIE                         SHUEY, DAVID                          SHUFELT, GLORIA
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SHUFF, ANDREW                        SHUFFIELD, CHARLIE                    SHUFFIELD, CLOIE
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SHUFFIELD, PAIGE                     SHUFFLEBARGER, WENDI                  SHUFORD, JAMIE
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SHUFORD-PAVLICH, DAWN                SHUGARS, CAROL                        SHUGERT, JEN
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SHUGG, ERICA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           SHUKLA,  5495
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SHUKLA, GEETA                        SHUKLA, PANJRI                        SHUKLA, URMIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SHUKLA, YOGENDRA                     SHUKOSKI, VERN                        SHUKRUN, GINGER
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SHULBERG, VICTORIA                   SHULER, AUDREY                        SHULER, EDWINA
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SHULER, JACKIE                       SHULER, MADISON                       SHULER, MICHELLE
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SHULER, SONJA                        SHULER, STACY                         SHULER, SUSAN
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SHULEVA, BEN                         SHULI, MARY                           SHULL, ARLENE
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SHULL, CATHERINE                     SHULL, CHRISTINA                      SHULL, LAUREN
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SHULL, MICHAEL                       SHULMAN, ALI                          SHULMAN, JAMIE
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SHULMAN, JOSHUA                      SHULMAN, STEPHANIE                    SHULT, RUAN
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SHULTIS, KIRSTEN      Case 22-11238-LSS
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SHULTZ, EMILY                        SHULTZ, JAIME                         SHULTZ, JENN
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SHULTZ, JOHN                         SHULTZ, KAITLIN                       SHULTZ, NICK
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SHULTZ, SELINA                       SHUM, ARTHUR                          SHUM, NANCY
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SHUMAKER, MARIAH                     SHUMAKER, VANESSA                     SHUMAN, CANDACE
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SHUMAN, ROBERT                       SHUMAN, TONYA                         SHUMATE, JILL
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SHUMPERT, AMY                        SHUMWAY, EMILY                        SHUMWAY, JOSH
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SHUMWAY, SONYA                       SHUMWAY, SUSAN                        SHUNAN WANG
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SHUNICHI MIZUNUMA                    SHUNNARAH, SALEM                      SHUPE, KATE
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SHUPE, MEGAN                         SHUPE, WESLEY                         SHUPERT, MARY ELLEN
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SHUPIK, JESSICA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           SHURALEFF, GREGORY
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SHURBAJI, JANA                       SHURDUT, GUSTA                        SHURE, MAUREEN
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SHURGOTT, NICOLE                     SHURIN, STEPHANIE                     SHURINA, MICHEL
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SHURKHAY, VIKTORIYA                  SHURLEY, CRYSTAL                      SHURTS, COURTNEY
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SHURTS, KAREN                        SHURTS, KATELYN                       SHUSSETT, JESSE
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SHUST, BRENDEN                       SHUSTED, COLE                         SHUSTER, ALLISON
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SHUSTER, BENJAMIN                    SHUSTER, HEATHER                      SHUSTER, JACOB
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SHUSTERMAN, JOSEPH                   SHUTACK, BRIDGET                      SHUTE, JENNIFER
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SHUTE, NATALIE                       SHUTE, VERONICA                       SHUTE, WILLIAM
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SHUTEK, CAROLANN                     SHUTER, AMANDA                        SHUTIKA, MEGAN
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SHUTSKE, ALEXANDRA    Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SHUTT, CLAIRE                         Page 4541
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SHUTTERS PEDALS CAFE                    SHUTTERSTOCK                            SHUTTLESWORTH, CARLY
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SHUTTLESWORTH, MOLLY                    SHUTTLEWORTH, PETER                     SHUTTS, EVA
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SHUTTY, EDWARD                          SHUVALOVA, ANNA                         SHVARTZ, ELANA
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SHWEKY, DANNA                           SHWU-MIN HWANG                          SHY, KELSIE
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SHYKEN, IRVING                          SHYKH, NAZAR                            SHYMANSKI, JILL
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SHYMANSKY, JENNA                        SHYP                                    SHYPKOSKI, HAYLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SHYSHKO, ALEXANDRA                      SHYU, NATALIE                           SI SECURITIES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          116 W HOUSTON ST 6TH FLOOR
                                                                                NEW YORK, NY 10012




SI SECURITIES, LLC                      SIA, JANEL                              SIA, STUART
123 WILLIAM ST                          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10038




SIABANIS, OURANIA                       SIADOR, CHANTELLE                       SIAN NAGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          1234 WEST 37TH
                                                                                DENVER, CO 80211
SIANO, AURORE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SIAO, CHRIS                      Page 4542    of 5495
                                                                           SIASI, JENA
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SIATKOWSKI, DAVID                    SIATKOWSKI, JOANNA                     SIAURUSAITIS, MOLLY
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SIAVELIS, BRANDIE                    SIAZON, MONICA                         SIBAJA SALINAS, IRMA A
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SIBAL, JENNA                         SIBANI, MIRANDA                        SIBBERT, MEGAN
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SIBBITT, TINA                        SIBBLE, MAUREEN                        SIBEL, LINDSEY
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SIBERELL, ANDREA                     SIBERINE, KELLY                        SIBILIA, SARA
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SIBILLE, PJ                          SIBLEY, EMILY                          SIBLEY, KAREN
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SIBLEY, MELISSA                      SIBLEY, SARA                           SIBOL, NICOLE
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SIBREL, MICHAEL                      SIBRIAN, EUNICE                        SIBURG, TANJA
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SIC, KATHLEEN                        SICA, AMY                              SICA, SAM
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SICARD, CHANELLE      Case 22-11238-LSS
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SICES, TRANETTA                      SICHELMAN, JAMES                      SICHER, LEXIE
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SICHERMAN, HANNAH                    SICIGNANO, JULLIAN                    SICILE, KATHIE
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SICILIANO, STELLA                    SICKELS, SHAVAUGHN                    SICKELS, WENDY
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SICKING, GINA                        SICKLE, KRISTIN                       SICKLER, CHARLENE
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SICKLER, EMILY                       SICKLER, RANDALL                      SICKLES, CATHY
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SICKLES, KAITLYN                     SICKLES, MEREDITH                     SICKLES, MONA
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SICKLES, RACHAEL                     SICKLES, ROXANNE                      SICKMAN, EVELYN
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SICKORA, CINDY                       SICTOR, JENNIFER                      SIDARENKA, ILONA
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SIDDALL, LAUREN                      SIDDIQI, KAREN                        SIDDIQUI, MENNA
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SIDDIQUI, SARA        Case 22-11238-LSS     Doc
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SIDEBAR PROMOTIONS LLC               SIDECAR DOUGHNUTS                       SIDELNIKOV, KLIM
11403 W 163RD COURT                  ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
OVERLAND PARK, KS 66221




SIDEN, MATTHEW                       SIDER, ASHLEY                           SIDERA, SUNNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SIDERAS, MARIA                       SIDERIS, AILEEN                         SIDERIS, KAITLYN
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SIDEROFF, MARC                       SIDERS, TAYLOR                          SIDERSKIY, ALLA
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SIDERYS, JULIANNE                    SIDES, BRETT                            SIDES, CARLI
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SIDES, ELLIE                         SIDES, JENNY                            SIDES, RENEE
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SIDES, TAYLOR                        SIDES, WESLEY                           SIDES-WALSH, MINDY
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SIDHU, AMANPREET                     SIDHU, RESH                             SIDI, KATHERINE
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SIDICK, KELSEY                       SIDIROGLOU-DOUSKOS, STELIOS             SIDLES, MARISA
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SIDLINGER, GREGORY    Case 22-11238-LSS     DocMARK
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SIDNEY, JOSHUA                        SIDOCK, REBECCA                       SIDON, TAYLOR
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SIDONE, JENNIFER                      SIDOROWICZ, MEGAN                     SIDORYUK, IRINA
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SIDOTI, JENNIFER                      SIDOTI, MELANIE                       SIEASA COPPEDGE
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SIEBENALER, JAIME                     SIEBENALER, LINDSAY                   SIEBENEICHER, CHRISTINA
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SIEBER, ELIZABETH                     SIEBER, JON                           SIEBERKROB, JAMES
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SIEBERT, AISHA                        SIEBERT, CELIA                        SIEBERT, DANIELLE
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SIEBERT, GINA                         SIEBERT, JEN                          SIEBERT, KRISTEN
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SIEBERT, STEPHEN                      SIEBOLD, JASON                        SIEBORG, TAYLOR
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SIECK, LINDSEY                        SIECKMAN, LAURA                       SIEDER, BENJAMIN
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SIEDZIK, RYANN        Case 22-11238-LSS
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SIEFERT, MORGAN                      SIEFFERT, JASON SIEFFERT               SIEGAL, NORA
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SIEGA-RIZ, ANNA                      SIEGEL, ALEXANDRA                      SIEGEL, ALLIE
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SIEGEL, BENJAMIN                     SIEGEL, BENNETT                        SIEGEL, CIARA
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SIEGEL, CONOR                        SIEGEL, DAWN                           SIEGEL, GAYLE
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SIEGEL, HAYLEY                       SIEGEL, INA                            SIEGEL, JACOB
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SIEGEL, JENNIFER                     SIEGEL, JESSIE                         SIEGEL, JOYCE
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SIEGEL, KAREN                        SIEGEL, KATHY                          SIEGEL, KIM
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SIEGEL, LIZ                          SIEGEL, MATTHEW                        SIEGEL, MAX
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SIEGEL, MELISSA                      SIEGEL, RACHEL                         SIEGEL, RAECHAL
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SIEGEL, REBECCA       Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIEGEL, SOPHIA                       SIEGEL, SUSAN                         SIEGEL, SUSAN
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SIEGEL, SYLVANA                      SIEGEL, TOMMIE                        SIEGEL, VIRGINIA
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SIEGENTHALER, EMILY                  SIEGER, ALYSON                        SIEGER, CAROLINE
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SIEGERT, MARIKO                      SIEGFRIED, HANNAH                     SIEGFRIED, JACQUELINE
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SIEGFRIED, KELSEY                    SIEGLER, MARY                         SIEGMANN, ERICA
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SIEGRIST, LORENNA                    SIEGRIST, MIRANDA                     SIEKE, JOHN
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SIELEMAN, STEWART                    SIELER, CHRISTY                       SIEMANN, SARAH
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SIEMBAB, CAITLYN                     SIEMBIDA, TOMMY                       SIEME, GREG
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SIEMEK, MICHELE                      SIEMER VENTURES II LP                 SIEMIATKOSKI, KAYLEY
ADDRESS AVAILABLE UPON REQUEST       (D/B/A WAVEMAKER PARTNERS II)         ADDRESS AVAILABLE UPON REQUEST
                                     1438 9TH ST
                                     SANTA MONICA, CA 90404
SIEMIATKOWSKI, BRIAN  Case 22-11238-LSS
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                                                                             SIENKIEWICZ, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SIENKO, JOANNA                       SIEPMANN, HANNAH                         SIERGIEJ, ELIZA
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SIERRA CONYERS                       SIERRA EXPRESS DELIVERY                  SIERRA MITCHELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




SIERRA ROSENBOOM                     SIERRA, ALBA                             SIERRA, AMY
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SIERRA, BREANNA                      SIERRA, DEYANIRA                         SIERRA, JACOB
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SIERRA, JULIE                        SIERRA, KAREN                            SIERRA, LAURA
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SIERRA, LAUREN                       SIERRA, LEILA                            SIERRA, MARISA
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SIERRA, SANDRA                       SIERRA, TALIA                            SIERRA-DAVIDSON, KAILAN
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SIERRA-DAVIDSON, NIA                 SIERRAS, SHAVAUGN                        SIERS, ALLISON
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SIESENNOP, DEBORAH                   SIEVEKING, MRS                           SIEVER, BECKY
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SIEVERDING, ROBYN     Case 22-11238-LSS     Doc
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SIEVERS, MADISON                     SIEVEWRIGHT, BOB                      SIEVEWRIGHT, KENDALL
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SIEVEWRIGHT, MARK                    SIEWERT, EMMA                         SIEWERT, SHEREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIEWERT, WANDA                       SIFERS, MANDIE                        SIFFERMANN, THOMAS
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SIFFERT, COURTNEY                    SIFFERT, DEBRA                        SIFFORD, CHRISTOPHER
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SIFRE, YOJAIRA                       SIFUENTES, JESSICA                    SIGADEL, CORY
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SIGAFOOS, KELLEY                     SIGAL, AMY                            SIGALA, ESTHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIGALA, JUAN                         SIGELBAUM, HARVEY                     SIGG, KAYLEE
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SIGGINS, PETER                       SIGH, WILL                            SIGHTGLASS COFFEE
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SIGISMONDI, CHRISTINA                SIGLER, CORRI                         SIGLER, ERIC
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SIGLER, GEORGE        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SIGLER, LESLIE                          SIGLER, MONICA                        SIGLER, TJ
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SIGLER, VALERIE                         SIGLOW, BENJAMIN                      SIGMAN, KASEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIGMAN, LAURA                           SIGMON, BELINDA                       SIGMON, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIGMUND, JENNIFER                       SIGN DEMENSIONS                       SIGNAGE NETWORK, INC
ADDRESS AVAILABLE UPON REQUEST          1726 TANEN STREET                     301 ARIZONA AVE, SUITE 250
                                        NAPA, CA 94559                        SANTA MONICA, CA 90401




SIGNES, KIJANA                          SIGNOR, PATRICIA                      SIGNORELLI, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIGNORELLI, MARY LOU                    SIGNORI, PABLO                        SIGNS PLUS INC.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        PO BOX 560
                                                                              3 TURKEY HILLS ROAD
                                                                              EAST GRANBY, CT 06026




SIGNS.COM                               SIGUENZA, MICHELLE                    SIGURDSON, JENNIFER
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIGWALT, DANY                           SIGWORTH, SHERI                       SIIKANEN, KIM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIKA, DANIELLE                          SIKAND, KABIR                         SIKAR, REBECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SIKDER, UTSARGA       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           SIKES, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIKES, ELLE                          SIKES, JACOB                          SIKES, JAIME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIKES, MALLORY                       SIKES, MELISSA                        SIKKELEE, ZACH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIKKINK, PAMELA                      SIKLICH, WALTER                       SIKMA, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIKOLAS, MARIAELENA                  SIKORA, KATI                          SIKORSKI, CHET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIKORSKI, JASON                      SIL, SHARMILA                         SILAG STEARNS, ELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SILAGHI, WENDY                       SILAR, D                              SILBER, ALYCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SILBER, FELICIA                      SILBERBERG, BRIAN                     SILBERG, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SILBERMAN, ALLISON                   SILBERMAN, CASEY                      SILBERMAN, JEFFREY
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SILBERSHER, EMILY                    SILBOVITZ, JULIE                      SILCOX, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SILEO, RACHEL         Case 22-11238-LSS     Doc JORDAN
                                     SILER ROMIE, 2 Filed 11/30/22    Page 4552   of 5495
                                                                           SILER, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SILER, HEATHER                       SILER, JENNIFER                       SILER, KRISTA
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SILGHIGIAN, ADRIAN                   SILHAN, SUSAN                         SILICON VALLEY BANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SILITCH, JACQUELYN                   SILKER, JESS                          SILK-HILL, LOREDA
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SILL, LARRY                          SILLA, IVY                            SILLARI, MARIA
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SILLER, ALEXANDRIA                   SILLER, VINNY                         SILLIVENT, BRADLEY
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SILLONA, CAMILLE                     SILLONA, KATHRINA MAE                 SILLS, AMANDA
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SILLS, JESSICA                       SILLS, NICHOLE                        SILLS, TRISHA
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SILLS, VERONICA                      SILONE, JAMES                         SILVA JIMENEZ, CAMILA
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SILVA, ADAM                          SILVA, ADRIAN                         SILVA, AMELIA
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SILVA, ASHLEE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SILVA, BEATRICE                  Page 4553   of 5495
                                                                           SILVA, CESAR
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SILVA, CHRIS                         SILVA, DAVID                          SILVA, EDDIE
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SILVA, EDUARDO                       SILVA, EDUARDO                        SILVA, ETHAN
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SILVA, FRANCES                       SILVA, GABRIEL                        SILVA, GABRIELA
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SILVA, GABRIELA                      SILVA, GUSTAVO                        SILVA, HECTOR
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SILVA, ISABEL                        SILVA, ISABEL                         SILVA, JACKIE
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SILVA, JENNIFER                      SILVA, JENNY                          SILVA, JESSICA
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SILVA, KELLY                         SILVA, KRISTINA                       SILVA, LARA
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SILVA, LAURA                         SILVA, LESLEY                         SILVA, LUIS
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SILVA, LUIS                          SILVA, MARCELA                        SILVA, MARINA
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SILVA, MARK           Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           SILVA, MEGAN
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SILVA, MELISSA                       SILVA, MIA                            SILVA, MIRNA
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SILVA, MYRDEOMAR                     SILVA, NALINI                         SILVA, PATRICK
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SILVA, PHIL                          SILVA, RAUL                           SILVA, ROSEY
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SILVA, SHERI                         SILVA, SONJA                          SILVA, STEPHANIE
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SILVA, TRISHA                        SILVA, VERONICA                       SILVA-DUFFY, TIMOTHY
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SILVASI, MAGGIE                      SILVASY, RANDALL                      SILVEIRA, KARI
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SILVEIRA, MANUEL                     SILVEIRA, VANESSA                     SILVER THIMBLE CORP.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        28 PINE GROVE
                                                                           AMHERST, MA 01002




SILVER, AMANDA                       SILVER, AMANDA                        SILVER, AMANDA
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SILVER, AMANDA                       SILVER, ASHLEY                        SILVER, BETH
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SILVER, CARA          Case 22-11238-LSS
                                     SILVER, Doc  2 Filed 11/30/22
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SILVER, GEOFF                           SILVER, HANNAH                           SILVER, JACOB
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SILVER, JASMINE                         SILVER, JOELLE                           SILVER, KELSEY
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SILVER, LAURA                           SILVER, LINDSEY                          SILVER, LORI
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SILVER, MAYA                            SILVER, MELODY                           SILVER, MITCHELL
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SILVER, NICOLE                          SILVER, SARAH                            SILVER, YOSEF
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SILVERA, TAYLOR                         SILVERADO WINEGROWERS, LLC               SILVERBERG, KATHRYN
ADDRESS AVAILABLE UPON REQUEST          (SWG PASO VINEYARD, LLC)                 ADDRESS AVAILABLE UPON REQUEST
                                        855 BORDEAUX WAY, STE 100
                                        NAPA, CA 94558




SILVERCAR INC                           SILVERCAR, INC                           SILVERI, AMY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




SILVERIO, FANNY                         SILVERLAND, EVAN                         SILVERMAN, AMY
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SILVERMAN, BENJAMIN                     SILVERMAN, CLAIRE                        SILVERMAN, CRAIG
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SILVERMAN, EMILY      Case 22-11238-LSS     DocGARRETTE
                                     SILVERMAN, 2 Filed 11/30/22      Page 4556  of 5495
                                                                           SILVERMAN, JAMES
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SILVERMAN, JONATHAN                  SILVERMAN, KALINA                      SILVERMAN, KENNETH
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SILVERMAN, MORGAN                    SILVERMAN, PAUL                        SILVERMAN, STEVE
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SILVERNALE, CARLY                    SILVERNALE, CASEY                      SILVERS, ASHLEY
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SILVERS, DEBORAH                     SILVERS, LAWRENCE                      SILVERS, VICTORIA
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SILVERSTEIN, ALICE                   SILVERSTEIN, EMILY                     SILVERSTEIN, JEFF
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SILVERSTEIN, LEE                     SILVERSTEIN, SAMARA                    SILVERSTEIN, WILL
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SILVERSTON, ELIZABETH                SILVERSTON, KATHRYN                    SILVERTEIN, LINDSAY
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SILVERTHORN, DEREK                   SILVERTHORNE, HAYLEY                   SILVESTRE, BRITTANY
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SILVESTRI, MATTHEW                   SILVESTRI, STEVEN                      SILVESTRI, SUSAN
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SILVESTRINI, MARJORIE Case 22-11238-LSS
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SILVEY-STINER, MELODY                SILVIA, JANA                          SILVIO DOBRY
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SILVIO, BRIANNA                      SILVIS, DANIEL                        SILVIS, JESSICA
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SILVIS, ROSE                         SILVIS, VALERIE                       SIM, KENNETH
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SIM, LANI                            SIM, TAMI                             SIMA, NANCY
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SIMA, STEPHANIE                      SIMANI, HEATHER                       SIMANTEL, EMILY
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SIMANTON, JENNIFER                   SIMARD, GEOFFREY                      SIMARD, MELISSA
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SIMAS TAYLOR LLP                     SIMAS, CECILIA                        SIMBALA, LORRAINE
6465 NURSERY WAY                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN LUIS OBISPO, CA 93405




SIMBOLI, NANCY                       SIMBRIC, STEFFANI                     SIMBURGER, ALIZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMCOX, ROBERT                       SIMCOX, SARAH                         SIME, PETER
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SIMENAS, SHAINA       Case 22-11238-LSS
                                     SIMENS,Doc  2 Filed 11/30/22
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SIMEON, KELSEY                       SIMEON, MIKHAILA                       SIMEON-COX, HANNAH
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SIMEONE, CHRIS                       SIMEONOVA, MARIA                       SIMH, ANJALI
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SIMI, CARRIE                         SIMIC, AMANDA                          SIMIC, TOM
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SIMICH, CLAUDIA SOFIA                SIMICH, REBECCA                        SIMILARWEB.COM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         50 WEST 17TH STREET
                                                                            NEW YORK, NY 10011




SIMINERIO, ERIN                      SIMINGTON, ERIC                        SIMINSKI, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SIMION, ELIZABETH                    SIMISON-ROE, SAMANTHA                  SIMKINS, CRYSTAL
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SIMKINS, SARAH                       SIMKO, JOHN                            SIMKO, MALLORY
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SIMKOW, KATIE                        SIMMERING, MORGAN                      SIMMERMAKER, BETHANY
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SIMMERMAN, TRICIA                    SIMMERS, KATHERINE                     SIMMERSON, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SIMMI TAYLOR          Case 22-11238-LSS
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                                                                           SIMMONDS, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMMONDS, HANNAH                     SIMMONDS, KELLY                       SIMMONDS, LAUREN
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SIMMONDS, LINDSEY                    SIMMONDS, WREN                        SIMMONS, ALEXIS
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SIMMONS, ALLISON                     SIMMONS, AMBER                        SIMMONS, ANDREA
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SIMMONS, ANDREA                      SIMMONS, ARTHUR                       SIMMONS, ASHLEY
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SIMMONS, BRANDON                     SIMMONS, BRIAN & BETSY                SIMMONS, BRITT
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SIMMONS, CATHLEEN                    SIMMONS, CHARLES                      SIMMONS, CHELSEA
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SIMMONS, CHELSI                      SIMMONS, CHIA-LIN                     SIMMONS, CHRIS
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SIMMONS, DAPHNE                      SIMMONS, DAVID                        SIMMONS, ELENA
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SIMMONS, ELLIOT                      SIMMONS, EMILY                        SIMMONS, EMILY
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SIMMONS, EMILY        Case 22-11238-LSS    Doc
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                                                                           SIMMONS, 5495
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SIMMONS, H M                         SIMMONS, HAROLD                       SIMMONS, IMAN
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SIMMONS, JASON                       SIMMONS, JENNIFER                     SIMMONS, JESSICA
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SIMMONS, JUDI                        SIMMONS, KARA                         SIMMONS, KAREN
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SIMMONS, KATE                        SIMMONS, KATHERINE                    SIMMONS, KATHLEEN
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SIMMONS, KATHY                       SIMMONS, KELLY                        SIMMONS, KELLY
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SIMMONS, KEVIN                       SIMMONS, KRISTIN                      SIMMONS, LAURA
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SIMMONS, LAUREN                      SIMMONS, LETA                         SIMMONS, LEZLIE
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SIMMONS, LILLY                       SIMMONS, LINDY                        SIMMONS, MARCUS
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SIMMONS, MARGARET                    SIMMONS, MERCEEDES                    SIMMONS, MICAH
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SIMMONS, MICHELLE     Case 22-11238-LSS    Doc
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                                                                           SIMMONS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMMONS, RACHEL                      SIMMONS, ROBERT                       SIMMONS, RYLEY
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SIMMONS, SARAH                       SIMMONS, SARITA                       SIMMONS, SHANELLE
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SIMMONS, SHAWN                       SIMMONS, SHELBY                       SIMMONS, STEPHANIE
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SIMMONS, STEPHANIE                   SIMMONS, STEVE                        SIMMONS, SYDNEY
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SIMMONS, TANA                        SIMMONS, TERRI                        SIMMONS, VICTORIA
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SIMMONS, VIRGINIA                    SIMMONS, VONNA                        SIMMONS-DUKE, RONNISHA
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SIMMS, BETHANY                       SIMMS, CLARE                          SIMMS, ELIZABETH
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SIMMS, KIM                           SIMMS, LUKE                           SIMMS, SHAKONNAH
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SIMMS, STEVEN                        SIMMS, TREVOR                         SIMMS, WILLIAM
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SIMMZYS               Case 22-11238-LSS
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                                                                            SIMO, JESSICA
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMOES, RODRIGO                       SIMON AMAT                            SIMON CASTELLUCIO
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SIMON SKINNER                         SIMON, ALBERTO                        SIMON, AMANDA
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SIMON, AMBER                          SIMON, AMBER                          SIMON, BARBARA
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SIMON, BRITTANY                       SIMON, CAMILLA                        SIMON, CAROLINE
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SIMON, CHARLOTTE                      SIMON, CINDY                          SIMON, CLARISSA
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SIMON, COURTNEY                       SIMON, ELI                            SIMON, ELISE
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SIMON, ELLEN                          SIMON, HOLDEN                         SIMON, JACQUELYN
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SIMON, JENNIFER                       SIMON, JENNIFER                       SIMON, JODY
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SIMON, JULIE                          SIMON, KATALIN                        SIMON, KELLY
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SIMON, KELSEY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SIMON, MELANIE                       SIMON, MICHELLE                       SIMON, MIRANDA
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SIMON, MISTI                         SIMON, MOLLY                          SIMON, NICOLETTE
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SIMON, REBEKAH                       SIMON, RENARD                         SIMON, ROBERT
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SIMON, RUCKER                        SIMON, SAMANTHA                       SIMON, SARA
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SIMON, SCOTT                         SIMON, SHERA                          SIMON, SIANNA
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SIMON, SIERRA                        SIMON, SOPHIA                         SIMON, STEPHANIE
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SIMON, TAMMY                         SIMON, TOM                            SIMON, VICTORIA
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SIMON, YULI                          SIMON, ZOE                            SIMONCINI, TRACY
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SIMONDS, ALEENA                      SIMONDS, CLAIRE                       SIMONDS, JARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SIMONDS, PATRICIA     Case 22-11238-LSS    Doc
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                                                                             SIMONDS, 5495
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SIMONE BUNSEN                        SIMONE                                  SIMONE, ANNA
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SIMONE, ANNAMARIA                    SIMONE, DANIELLE                        SIMONE, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SIMONE, JORDAN                       SIMONE, LAUREN                          SIMONE, MARIA
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SIMONE, MARISA                       SIMONE, THOMAS                          SIMONEAU, CRAIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SIMONEAUX, SAMANTHA                  SIMONELLI, AMANDA                       SIMONELLI, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SIMONELLI, MICHELE                   SIMONETTI, BETH                         SIMONETTI, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SIMONETTI, GABBY                     SIMONETTI, LOU AND JUDY                 SIMONIAN, SEVAHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SIMONIE, JANENE                      SIMONIS, MATTHEW                        SIMONIS, RUSTY
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SIMONPUR, KSENIYA                    SIMONRAJ, MOREEN                        SIMONS, ALYCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SIMONS, CARRIE        Case 22-11238-LSS
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                                                                           SIMONS,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMONS, EMILY                        SIMONS, HANNAH                        SIMONS, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMONS, JENNIFER                     SIMONS, JULI                          SIMONS, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMONS, JUNE                         SIMONS, JUSTIN                        SIMONS, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMONS, PATRICIA                     SIMONS, PHILIP                        SIMONS, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SIMONS, SONYA                        SIMONS, ZACHARY                       SIMONSON, ANDREW
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SIMONSON, JAN                        SIMONSON, JESSICA                     SIMONSON, KIANA
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SIMONTACCHI, CHRISTINE               SIMONTON, JEREMY                      SIMONTON, LESLIE
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SIMONTON, MATTHEW                    SIMONTON, MICHAEL                     SIMOTA, ALEXANDRA
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SIMPACTFUL LLC                       SIMPER, KARLITA                       SIMPERS, TARNNA
301 HARTZ AVENUE SUITE 225           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DANVILLE, CA 94526
SIMPHOUKHAM, ARI      Case 22-11238-LSS
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                                                                             SIMPKINS, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SIMPKINS, KRISTIN                    SIMPKINS, WHITNIE                        SIMPLE LIVING PROPERTY SOLUTIONS 401K
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           FBO JONATHAN RUMMEY
                                                                              2675 W ROUTE F
                                                                              CLARK, MO 65243




SIMPLER, GILLIAN                     SIMPLICIANO, KELLY                       SIMPLY HIRED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




SIMPLY SPACED, LLC                   SIMPLY STAMPS                            SIMPSON, ALEXANDRA
1149 ARCADIA AVE, UNITE 4            ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
ARCADIA, CA 91007




SIMPSON, AMY                         SIMPSON, ANGELA                          SIMPSON, APRIL
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SIMPSON, ARIA                        SIMPSON, ASHLEY                          SIMPSON, ASHLEY
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SIMPSON, BRITTNEY                    SIMPSON, CARESS                          SIMPSON, CAREY
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SIMPSON, CAROL                       SIMPSON, CAROLINE                        SIMPSON, CAROLINE
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SIMPSON, CAROLYN                     SIMPSON, CHARLES                         SIMPSON, CHRISTINA
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SIMPSON, CHRISTINA                   SIMPSON, COURTNEY                        SIMPSON, CURTIZ
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SIMPSON, DEBRA        Case 22-11238-LSS    Doc
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SIMPSON, EMILY                       SIMPSON, FAYE VICTORIA                SIMPSON, HANNAH
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SIMPSON, HAYLEY                      SIMPSON, HILLARY                      SIMPSON, JACI
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SIMPSON, JAY                         SIMPSON, JENNIFER                     SIMPSON, JESSICA
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SIMPSON, JOE                         SIMPSON, JORY                         SIMPSON, JOSHUA
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SIMPSON, KATELYNN                    SIMPSON, KATHLEEN                     SIMPSON, KATHRYN
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SIMPSON, KATHY                       SIMPSON, KAYLA                        SIMPSON, KAYLEE
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SIMPSON, KELLY                       SIMPSON, KEVIN                        SIMPSON, KIMBERLYANN
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SIMPSON, KRISTEN                     SIMPSON, LESLIE                       SIMPSON, LIZETTE
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SIMPSON, LUCAS                       SIMPSON, MATTHEW                      SIMPSON, MCKENNA
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SIMPSON, MEGAN        Case 22-11238-LSS    Doc
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SIMPSON, NINA                        SIMPSON, PATTI                         SIMPSON, PETA-GAYE
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SIMPSON, RILEY                       SIMPSON, ROSHAWNDA                     SIMPSON, RUTH
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SIMPSON, SAMANTHA                    SIMPSON, SARAH                         SIMPSON, SEAN
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SIMPSON, SHERI                       SIMPSON, SIMMONE                       SIMPSON, SOMERSET
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SIMPSON, SUE                         SIMPSON, TAI                           SIMPSON, TAMARA
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SIMPSON, TIFFANY                     SIMPSON, TRECE                         SIMPSON, VANESSA
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SIMPSON, VICTORIA                    SIMS, ALLY                             SIMS, ASHUNTI
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SIMS, BREINA                         SIMS, BRUCE                            SIMS, CAITLIN
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SIMS, CHELSEA                        SIMS, CHRISTAN                         SIMS, CHRISTINA
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SIMS, COREEN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SIMS, DAKOTA                     Page 4569   of 5495
                                                                           SIMS, DARYL
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SIMS, DEDRA                          SIMS, ELIZABETH                       SIMS, ELIZABETH
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SIMS, EMILY                          SIMS, EMMALEE                         SIMS, GRETCHEN
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SIMS, HANNAH                         SIMS, JENNIFER                        SIMS, JOSHUA
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SIMS, JW                             SIMS, KATE                            SIMS, KATHRYN
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SIMS, KERRY                          SIMS, KRISTA                          SIMS, LESLIE
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SIMS, LINDSAY                        SIMS, MICHELLE                        SIMS, NATALIE
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SIMS, REBECCA                        SIMS, RYAN                            SIMS, SHAKIA
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SIMS, SHANNON                        SIMS, SHENTAL                         SIMS, SONJA
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SIMS, STACY                          SIMS, STEPHANIE                       SIMS, SUSAN
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SIMS, TARA            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SIMS, TIA                        Page 4570  of 5495
                                                                           SIMS-MARTIN, HALLEY
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SIMSON, ASHLEY                       SIMUN PAULI HANSEN                     SIN ALCOHOL S.L.
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                                                                            VALBUENA DE DUERO
                                                                            VALLADOLID
                                                                            SPAIN



SIN, CLEMENT                         SINAGRA, BRITTANY                      SINAGRA, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SINBACK, MATT                        SINCBOX MEDIA INC.                     SINCERBEAUX, JACKSON
ADDRESS AVAILABLE UPON REQUEST       12100 WILSHIRE BLVD SUITE 705          ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90025




SINCH, BARRY                         SINCLAIR, BRANDI                       SINCLAIR, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SINCLAIR, CHRISTEN                   SINCLAIR, ELIJAH                       SINCLAIR, JESSI
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SINCLAIR, JOHN                       SINCLAIR, KATIE                        SINCLAIR, KELLY
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SINCLAIR, LISA                       SINCLAIR, MARIA                        SINCLAIR, MELANIE
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SINCLAIR, REBECCA                    SINCLAIR, SARAH                        SINCLAIR, SARAH
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SINCLAIR, SHAUNA                     SINCLAIR, WILSON                       SINDEN, RENEE
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SINDEWALD, LAUREL     Case 22-11238-LSS
                                     SINDLE, Doc 2 Filed 11/30/22
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SINE, ROBERT                         SINE, SHERI                            SINEAD ROBAN
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SINELL, VERONICA                     SINELOV, ANDREW                        SINES, COURTNEY
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SINETTE, ASHLEY                      SINEX, JUDI                            SING TIING WONG
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SINGA MAXIME                         SINGAL, ASHOK                          SINGAL, SAMANTHA
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SINGALEWITCH, SUSAN                  SINGELAIS, JESSICA                     SINGER, CHARITY
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SINGER, CHRISTINE                    SINGER, CYNTHIA                        SINGER, ELYSSA
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SINGER, JESSICA                      SINGER, JORDAN                         SINGER, KRISSY
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SINGER, LEIGH                        SINGER, LISA                           SINGER, LLORA
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SINGER, LYNN                         SINGER, MAX                            SINGER, NIKOLE
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SINGER, RACHEL        Case 22-11238-LSS
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SINGER, SOPHIA                       SINGER, STEPHANIE                     SINGFIELD, BRITTANIE
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SINGH THAKUR, VISHESH                SINGH, ADITI                          SINGH, AMIT
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SINGH, ANAND                         SINGH, ANGAD                          SINGH, ANUJ
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SINGH, CARL                          SINGH, DEVIN                          SINGH, EMILY
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SINGH, HARBIR                        SINGH, HARKIRET                       SINGH, ISHTPREET
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SINGH, JAI                           SINGH, JASPREET                       SINGH, JESSICA
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SINGH, KAYA                          SINGH, KIRAN                          SINGH, KRITI
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SINGH, LISA                          SINGH, MANJULA                        SINGH, MARYAM
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SINGH, MELINDA                       SINGH, MICHAEL                        SINGH, NAVJOT
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SINGH, NICOLE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           SINGH, of 5495
                                                                                  NIKHITA
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SINGH, NINA                          SINGH, NIRMALA                        SINGH, PARAMJIT
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SINGH, PRIYA                         SINGH, RASHI                          SINGH, RAYMATTIE
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SINGH, REHANA                        SINGH, SACHIN                         SINGH, SARABJEET
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SINGH, SERENE                        SINGH, SONIKA                         SINGH, SUMMER
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SINGH, SWARNIMA                      SINGH, VISHESH                        SINGHAL, HANNAH
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SINGLA, PUNIT                        SINGLER, DYLAN                        SINGLER, JANAE
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SINGLER, KRIS                        SINGLETARY, BRANDON                   SINGLETARY, DIANIANA
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SINGLETARY, KEVIN                    SINGLETARY, MEAGHAN                   SINGLETARY, MELISSA
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SINGLETERRY, ELIZABETH               SINGLETON, BRIANA                     SINGLETON, CALVIN
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SINGLETON, CYNTHIA    Case 22-11238-LSS     DocEMILY
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                                                                           SINGLETON, GWEN
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SINGLETON, JENNIFER                  SINGLETON, JENNIFER                   SINGLETON, KATRINA
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SINGLETON, LACEY                     SINGLETON, MICHAEL ANN                SINGLETON, MICHELLE
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SINGLETON, NHANDI                    SINGLETON, PEGGY                      SINGLETON, RAENITA
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SINGLETON, REBEKAH                   SINGLETON, REGINA                     SINGLETON, REID
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SINGLETON, TIFFANY                   SINGLETON, TONY                       SINGLEY, NICHOLE
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SINGLEY, NICHOLE                     SINGSHEIM, NICOLE                     SINHA, ANISHA
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SINHA, ANUPAM                        SINHA, ASHISH                         SINHA, ASHLEY
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SINHA, HARUN                         SINHA, JENNIFER                       SINHA, MALLIKA
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SINHA, NATASHA                       SINHA, PRASHANT                       SINHASANE, SHAILENDRA
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SINI, DAVID           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SINIA LEWIS                      Page 4575  ofKYLE
                                                                           SINIARD, 5495
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SINICIN, EVAN                        SINICIN, RUSSELL                      SINICROPE, JASON
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SINIGH, MELLISSA                     SINISI, VINCENZO                      SINK, SUSAN
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SINKHORN, MORIAH                     SINKS, MICHAEL                        SINKULA, CINDI
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SINKULA, KIMBERLY                    SINNES, JESSICA                       SINNETT, STEPHANIE
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SINNOCK, KIMMIE                      SINNOTT, MARGARET                     SINNOTT, PATRICK
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SINOCCHI, JAMES                      SINOVICH, SAMANTHA                    SINOWITZ, WHITNEY
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SINRAM, SARAH                        SINSHEIMER, LUCY                      SINTON, CHRISTOPHER
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SINTON, WILLIAM                      SINTUVAT, CONNIE                      SIO, CARLY
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SIO, ELMARAEYA                       SIOMACCO, JULIE                       SIOMKIN, ALEXANDRA
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SIOR, ERIN            Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           SIPE, ASPEN
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SIPE, KATHLEEN                       SIPE, REBEKAH                         SIPES, BECKY
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SIPES, LEE                           SIPES, MEGHAN                         SIPES, MELINDA
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SIPES, ROSE                          SIPES, SEAN                           SIPLAK, JACK
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SIPOS, TAYLOR                        SIPOWICZ, SUZANNE                     SIPP, KENDRICK
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SIPP, SCOTT                          SIPPEL, BRITTANY                      SIPPEL, BRITTANY
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SIPPEL, KRISTA                       SIPPLES, KELLY                        SIQUEIRA, LEANDRO
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SIQUEIRA, MARIANA                    SIQUEIROS, BEN                        SIQUEIROS, ESTELA
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SIQUEORA, JENNIFER                   SIR, JILLIAN                          SIRACUSA, SHANEE
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SIRAVO, NICHOLAS                     SIRBU, RALUCA                         SIRCY, VIRGINIA
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SIRECI, LANIE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SIRENA ROBERTS                   Page 4577  of 5495
                                                                           SIREYJOL, BLANDINE
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SIRGI, YASMINA                       SIRIANNI, PIPER                        SIRINEK, PORTIA
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SIRIPONG, MARIA                      SIRIPRABRYDHI, ALYSSA                  SIRK, KRISTEN
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SIRKAR, RHEA                         SIRKOCH, JANE                          SIRLS, HANNAH
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SIRMANS, AMBER                       SIRMANS, MICHELE                       SIRMONS, JENNIFER
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SIROIS, ALICIA                       SIROIS, CARRIE                         SIROIS, EMILEE
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SIROTA, EDWARD                       SIROTA, VANESSA                        SIROW, RICHARD
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SIRQUEIRA, ALESSANDRA                SIRULL, ELLEN                          SIS, LUBA
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SIS, LUBA                            SISAY, ADDIS                           SISCA, SAMANTHA
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SISCO, J. LENAE                      SISCO, KATE                            SISCO, MORGAN
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SISCO, RAVEN          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SISE, ALLISON                    Page 4578  of 5495
                                                                           SISEMORE, JANICE
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SISEMORE, VANESSA                    SISINNI, ILIA                          SISK, ALEX
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SISK, DAENA                          SISK, JACKI                            SISK, JENNIFER
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SISK, KATIE                          SISK, NIKKI                            SISK, SAMANTHA
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SISK, SONIA                          SISK, TED                              SISKIN, JORDAN
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SISKIND, KEIKO                       SISKO, CHELSEY                         SISLEN, BENJAMIN
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SISLER, ANDREW                       SISLER, LAUREN                         SISLEY, REBECCA
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SISLEY, STACI                        SISLOW, SEDKARIA                       SISNEROS, ASHLEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SISNEROS, DILLAN                     SISNEROS, HEATHER                      SISNEROS, HEATHER
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SISNIEGA, ROSA                       SISON, ABIGAIL                         SISSOM, CASSANDRA
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SISSOM, SAMUEL        Case 22-11238-LSS
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                                                                              SISSON,of 5495
                                                                                      CRAIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SISSON, JODI                            SISSON, JOENAH                        SISSON, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SISSON, LIBBY                           SISSON, THERESA                       SISSON, WENDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SISSON, WILLIAM                         SISTEK, SUSAN                         SISTO, FRED
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SITCHERAN, ERIC                         SITE, WALTER                          SITEK, EMMA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SITES, VERDA                            SITHER, KARA                          SITIWATJANA, N
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SITKA AND SPRUCE RESTAURANT             SITKIEWICZ, HENRY                     SITKO, KELLY
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SITKOWSKI, RODERICK                     SITNER, SVETLANA                      SITNICK, ELOISE
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SITOKI MCDONALD                         SITORIUS, JANE                        SITOU, KIT
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SITRON, SANDRA                          SITT, SAMANTHA                        SITTEL, ROBERTA
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SITTERLY, ALEXANDRIA  Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SITTON, RICHARD                      SITU, JENNIE                          SITU, KIM
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SITU, SHUXIAN                        SITZMANN, MEGAN                       SIU, JESSICA
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SIU, STEPHANIE                       SIUTA, GERRY                          SIVAN, INBAL
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SIVANANTHAN, KIMBERLY                SIVARAMAN, VEENA                      SIVER, MOLLY
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SIVILLI, MONICA                      SIVITS, CLARE                         SIVON, MAGGIE
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SIVWRIGHT, HANNAH                    SIWEK, DIANA                          SIWINSKI, JENNIFER
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SIXBURY, KIM                         SIXSMITH, LAUREN                      SIY, JOSEPH
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SIYANI, MICHAEL                      SIZE, KRISTIN                         SIZELOVE, AMY
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SIZEMORE COLOR STUDIOS LLC           SIZEMORE, AMBER                       SIZEMORE, DYLAN AND ASHLEY
400 WEST 47TH STREET APT 1A          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10036
SIZEMORE, KRISTEN     Case 22-11238-LSS    Doc
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SJERVEN, CONNIE                      SJJX, MOFL                             SJOBERG, HELAYNA
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SJOBERG, PAUL                        SJODEN, HENRIK                         SJOLANDER, DEANNA
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SJOSTROM, SAVANNAH                   SJULIN, MEGAN                          SJURSEN, ELIZABETH
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SJURSON, MARIAH                      SJW INNOVATIVE SOLUTIONS LLC           SKAALEVIK, NOEL
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                                     SOMERVILLE, MA 02143




SKAAR, MARGARET                      SKAGGS, AMBER                          SKAGGS, ERIN
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SKAGGS, ERIN                         SKAGGS, HEATHER                        SKAGGS, JADE
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SKAGGS, MARISELA                     SKAGGS, MOLLIE                         SKAIFE, KATHLEEN
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SKALA, ELIZABETH                     SKALA, JULIE                           SKALA, KIRSTEN
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SKALA, TRACY                         SKALAK, HAVIRD                         SKALISKY, JENA
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SKALL, TIFFANY        Case 22-11238-LSS
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SKARECKY, SUSAN                      SKARI, KIMBERLY                       SKARI, OLIVIA
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SKARIN, LAWRENCE                     SKARJUNE, DOLORES                     SKARPNESS, NICOLE
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SKARRA, DANALEA                      SKATCHKE, CHRISTINE                   SKATTUM, KIMBERLE
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SKAU, MAUREEN                        SKAUG, VIRGINIA                       SKAUGEN, MALORY
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SKAUGRUD, KAARI                      SKAUGRUD, KELSEY                      SKAUGSET, JANET
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SKAZA, VANESSSA                      SKEELE, LIZ                           SKEELS, KATIE
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SKEELS, PETER                        SKEEN, MARK                           SKEENS, MICAH
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SKEENS, TAYLOR                       SKEETE, ANDRE                         SKEHAN, CATHERINE
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SKEIE, ERIC AND JENNIFER             SKELLETT, AMY                         SKELLEY, KAREN
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SKELLS, NICOLE        Case 22-11238-LSS
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SKELLY, STACY                        SKELLY, THOMAS                        SKELLY, TRACY
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SKELTON, AOIFE                       SKELTON, BRONAGH                      SKELTON, CLAIRE
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SKELTON, ELIZABETH                   SKELTON, HEATHER                      SKELTON, PATRICIA
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SKELTON, SAMANTHA                    SKELTON, SHELLY                       SKELTON, TASHA
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SKENANDORE, SAMANTHA                 SKENDERIAN, MELISSA                   SKENE LAW FIRM, P.C.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2614 ROUTE 516 OLD
                                                                           BRIDGE, NJ 08857




SKENE, ASHLEY                        SKERJANEC, ROSE                       SKERKAVICH, HOLLYANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SKERLETTS, KAITLIN                   SKERPAC, VALENE                       SKERSIS, PAUL
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SKESAVAGE, LAUREN                    SKETCH, PETE                          SKEWES, BONNIE RAE
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SKEWES, IAN                          SKIBA, ALICE                          SKIBBE, KRISTEN
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SKIBIAK, MATTHEW      Case 22-11238-LSS     Doc
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SKIDGEL, TRISHA                         SKIDMORE, ASHLEY                       SKIDMORE, ELIZABETH
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SKIDMORE, LINDSEY                       SKIDMORE, MEGHAN                       SKIDMORE, PIPPA
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SKIDMORE, SALLY                         SKIFF, COLLEEN                         SKIFTERI, ERION
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SKILES-WADKINS, BRIANA                  SKILJO, MARGARET                       SKILLESTAD, KARLY
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SKILLINGBERG, DIXIE                     SKILLMAN, BEN                          SKILLMAN, KAYLA
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SKILLPATH                               SKINGLE, JOANNE                        SKINKIS, MAIJA
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SKINNER VINEYARDS                       SKINNER, ALYSON                        SKINNER, AUDRIAL
11030 SANTA MONICA BLVD SUITE 207       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90025




SKINNER, BRYCE                          SKINNER, CANDACE                       SKINNER, CAROLINE
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SKINNER, CHARLES                        SKINNER, CORRI                         SKINNER, COURTNEY
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SKINNER, DANIEL       Case 22-11238-LSS    Doc
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SKINNER, ELIZABETH                   SKINNER, EMILY                         SKINNER, EMMIE
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SKINNER, HAYLEY                      SKINNER, JACKI                         SKINNER, JANICE
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SKINNER, JASON                       SKINNER, JOANN                         SKINNER, LISA
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SKINNER, MARGARET                    SKINNER, MEREDITH                      SKINNER, MICHELLE
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SKINNER, ROBERT                      SKINNER, ROGER                         SKINNER, SAMANTHA
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SKINNER, SAMANTHA                    SKINNER, SHIRLEY                       SKINNER, SIMON
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SKINNER, SUZANNE                     SKINNER, TEHISA                        SKIO
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SKIPPER, KERRI                       SKIPPER, LEXIE                         SKIPPER, MINDY
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SKIPPER, ROBERT                      SKIPPER, VICTORIA                      SKIPWITH, SHANNON
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SKIPWORTH, CHRISTINA Case 22-11238-LSS
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SKITKA, MARY                         SKLADANUK, BARBARA                    SKLAR KIRSH, LLP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1880 CENTURY PARK EAST, SUITE 300
                                                                           LOS ANGELES, CA 90067




SKLAR, ELLEN                         SKLAR, SARAH                          SKLAR, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SKOCH, CHRISTINA                     SKOCH, SAVANNAH                       SKOCIK, CYNTHIA
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SKOCZYLAS, KYLA                      SKOFF, ALYSSA                         SKOGEN, BLAKE
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SKOGMAN, ADDISON                     SKOGSETH, KAITLYN                     SKOK, NATASHA
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SKONIECZNY, AMY                      SKONY, FRANCIS                        SKOPINSKI, CHRISTINE
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SKOPP, WESLEY                        SKORCH, ERIN                          SKORIC, HOPE
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SKORKA, GILLIAN                      SKORSKI, KEITH                        SKORUPSKI, CHERYL
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SKORUPSKI, JESSICA                   SKORYNA, NINA                         SKOU, DEBRA A
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SKOWRONEK, CHERYL     Case 22-11238-LSS    Doc 2JILLIAN
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SKRABANEK, ASHLEY                    SKRAMSTAD, KATHY                       SKRANDEL, KAYLEIGH
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SKREPTACH, DANIEL                    SKRIPAK, RYAN                          SKROBARCZYK, JACOB
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SKROCKI, GREGORY                     SKRYPCZUK, MICHAEL                     SKRZYPEK, JAKE
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SKUDARNOV, MAX                       SKUDLAREK, EMILY                       SKULE, KEVIN
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SKUPIEN, THOMAS                      SKURA, EMMA                            SKURATON, ALEXANDRA
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SKURKY, THOMAS                       SKVARIL, DAWN                          SKVIRSKY, TAMARA
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SKWIOT, JEFFREY                      SKY HIGGINS                            SKYBERG, WINTER
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SKYE HOUGHTON                        SKYE MOYER                             SKYE, MARY
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SKYLAR DAMMERS                       SKYLIGHT BOOKS                         SKYPE
ADDRESS AVAILABLE UPON REQUEST       1818 N VERMONT AVE                     ADDRESS UNAVAILABLE AT TIME OF FILING
                                     LOS ANGELES, CA 90027
SKYTTA, RACHEL        Case 22-11238-LSS     Doc 2LLCFiled 11/30/22
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                                                                              SLABAUGH, DENNIS
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SLABAUGH, LIZ                           SLABOTSKY, NOAH                        SLACK TECHNOLOGIES
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SLACK                                   SLACK, ANDREW                          SLACK, ARIELLE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SLACK, CAITLIN                          SLACK, CARLY                           SLACK, CLAUDIA
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SLACK, JENNIE                           SLACK, JORDAN                          SLACK, KELLY
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SLACK, KIM                              SLACK, MELISSA                         SLACK, STEPHANIE
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SLACUM, HANNAH                          SLADE, ERIC                            SLADE, LAUREN
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SLADE, LISA                             SLADE, MATT                            SLADE, MEGAN
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SLADE, OLIVIA                           SLADE, ROBERT                          SLADE, SARAH
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SLADE, STEPHANIE                        SLADEK, MICHAEL                        SLADEK, REBECCA
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SLADEK, THERESA       Case 22-11238-LSS    DocJENNIFER
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SLAGEL, KATHERINE                    SLAGERMAN, CECILE                      SLAGLE, AMANDA
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SLAGLE, JOANNA                       SLAGLE, LAUREL                         SLAGLE, MEGAN
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SLAGTER, STEPHANIE                   SLAGTER, WENDY                         SLAIMAN, MAX
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SLAK, CHRISTINA                      SLAKER, LISA                           SLAMA, FABIENNE
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SLAMA, SAMANTHA                      SLAMA, SIDRA                           SLAN, TONNET
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SLANE, RACHEL                        SLAPAK, SARAH                          SLAPINSKY, GRETCHEN
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SLAPSYS, TREVOR                      SLATE, ALLIE                           SLATE, JONATHAN
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SLATER, ALEXANDRA                    SLATER, AMANDA                         SLATER, ANNE
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SLATER, BRITTANY                     SLATER, CLAIRE                         SLATER, ERIN
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SLATER, KELLI                        SLATER, KELLY                         SLATER, MARIDEE
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SLATER, MARTIN                       SLATER, MEAGHAN                       SLATER, MELISSA
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SLATER, SANDRA                       SLATER, SCOTT                         SLATER, STACY
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SLATER, VANESSA                      SLATER, ZACHARY                       SLATIN, ANDREW
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SLATON, ASHLEY                       SLATTEN, ANDREA                       SLATTEN, SHELBY
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SLATTENGREN, EMILIE                  SLATTERY, ALLISON                     SLATTERY, AMADEE AND MIKE
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SLATTERY, ANNA                       SLATTERY, CAITLIN                     SLATTERY, CAITLIN
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SLATTERY, CAROLINE                   SLATTERY, FRANCES                     SLATTERY, KAYLA
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SLATTERY, LAUREN                     SLATTERY, MICHAEL                     SLATTERY, MICHAEL
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SLATTERY, TESS        Case 22-11238-LSS    Doc 2ALYSSA
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                                                                           SLAUGHTER, ALLISON
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SLAUGHTER, CALLAN                    SLAUGHTER, CRYSTAL                     SLAUGHTER, DAWN
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SLAUGHTER, EVIDANE                   SLAUGHTER, FELICIA                     SLAUGHTER, JACK
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SLAUGHTER, KAREN                     SLAUGHTER, KAYLA                       SLAUGHTER, KEVIN
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SLAUGHTER, MEGAN                     SLAUGHTER, NADIRAH                     SLAUGHTER, SARAH
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SLAUGHTER, SARAH                     SLAUSON, TOM                           SLAVICK, JANELLE
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SLAVIK, ZORAIDA                      SLAVIN, ERICA                          SLAVIN, SUE-ANN
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SLAVINSKY, ABIGAIL                   SLAY, GRANT                            SLAY, LAUREN
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SLAY, MAREN                          SLAYTON, DIYA                          SLECHTA, GENA
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SLECHTA, JANNA                       SLEDD, JULIE                           SLEDGE, CARLA
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SLEDGE, DONISHA       Case 22-11238-LSS
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SLEEPER, LARISSA                     SLEEPER, MEGAN                        SLEEPER, WILL
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SLEIGHT, KAITLIN                     SLEIGHT, ROB                          SLEITER, WHITNEY
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SLEMAKER, AMANDA                     SLENYS, LINA                          SLEPECKY, ANGELA
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SLEPOY, MYRA                         SLESINSKI, GRACE                      SLESSINGER, KATIE
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SLETTE, ELLIE                        SLETTELAND, AMY                       SLETTEN, MELINDA
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SLEVIN ROBERTS, NIAMH                SLEVIN, ALISA                         SLEVIN, EMMA
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SLEZAK, LIZ                          SLEZEWICK, KATIE                      SLIBA, ERICKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SLICK, AUNT MARY JO                  SLICKDEALS LLC                        SLIDER, CHARLES
ADDRESS AVAILABLE UPON REQUEST       6010 S. DURANGO DRIVE, STE 200        ADDRESS AVAILABLE UPON REQUEST
                                     LAS VEGAS, NV 89113




SLIDER, VALERIE                      SLIFER, JOSIAH                        SLIFFE, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SLIFKIN, ANNA         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SLIGER, SOPHIE                       SLIGH, CAREY                             SLIM, SHAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SLIMMER, KRISTEN                     SLIMMER, MARY                            SLINEY, ROB
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SLINGER, FELISE                      SLINGERLAND, AIMEE                       SLINKARD, KRISTIN
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SLIPAKOFF, JENNIFER                  SLIPE, MARY                              SLIPER, ALLISON
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SLIPKOVICH, DAN                      SLIVA, ANNA                              SLIVAWYNNE, AUSTIN
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SLIVENSKY, JENNIFER                  SLIVKA, JACQUELINE                       SLIVKA, MALLORY
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SLIWA, KINGA                         SLIWIAK, GEORGE                          SLIWINSKI, MARTHA
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SLIWOWSKI, KATHRYN                   SLO AIRPORT PARKING                      SLOAN, ANTWAN
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SLOAN, ARYANA                        SLOAN, CAITLIN                           SLOAN, DAVE
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SLOAN, JACKSON        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                                 JOHN & DEANNA
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SLOAN, KATIE                         SLOAN, KATIE                          SLOAN, LINNEA
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SLOAN, MADISON                       SLOAN, MICHELLE                       SLOAN, NATE
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SLOAN, PAMELA                        SLOAN, ROBYN                          SLOAN, RONALD
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SLOAN, STEPHANIE                     SLOAN, STEPHEN                        SLOAN, STEVE
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SLOAN, TANJA                         SLOAN, ZETDI                          SLOANE, DANIELLA
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SLOANE, RONALD                       SLOAT, DONALD                         SLOAT, RACHEL
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SLOATE, STEVE                        SLOBODIAN, RHIANNON                   SLOBODNJAK, DREW
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SLOBODNJAK, JEAN                     SLOBODYANYK, I’M IGOR                 SLOBOTKIN, CHLOE
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SLOCKI, DANI                         SLOCUM & SONS                         SLOCUM & SONS
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                                     NORTH HAVEN, CT 06473                 30 CORPORATE DRIVE
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SLOCUM, BONNIE        Case 22-11238-LSS
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SLOCUM, MARTHA                       SLOCUMB, RACHEL                       SLOMINSKI, ALYSSA
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SLOMINSKI, DEVAN                     SLOMINSKI, GABRIELLE                  SLOMKA, CATHERINE
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SLOMKOWSKI, HANNAH                   SLOMKOWSKI, KATE                      SLONE, JOSH
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SLONE, MCKENNA                       SLOSARIK, JENNIFER                    SLOSS, JOHN
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SLOSS, KERRY                         SLOT, TRACI                           SLOTA, ALEX
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SLOTA, MARCELINA                     SLOTE, LAURA                          SLOTH, BRANDON
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SLOTHOWER, BEAR                      SLOTNICK, ANDREW                      SLOTTEN, ELISABETH
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SLOTTERBACK, JAMIE                   SLOTTERBACK, JENNIFER                 SLOUGH, LEANN
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SLOULIN, ABBEY                       SLOVEN, HEATHER                       SLOWEY, JULIA
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SLOWIAK, SARAH        Case 22-11238-LSS
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SLUSS, LISA                          SLUSSER, EMILY                         SLUZEWICZ, MELANIE
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SMAIL, ALEXA                         SMAIL, CHARLOTTE                       SMALL LOT MN, LLC
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                                                                            MINNEAPOLIS, MN 55405




SMALL LOT MN, LLC                    SMALL LOT WINE MINNESOTA               SMALL, ALYSSA
LOCK BOX 7625, PO BOX 9438           323 WASHINGTON AVE N SUITE 200         ADDRESS AVAILABLE UPON REQUEST
MINNEAPOLIS, MN 55440-9438           MINNEAPOLIS, MN 55401




SMALL, ANNE                          SMALL, ARIEL                           SMALL, BETHANY
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SMALL, CARLIE                        SMALL, CASSANDRA                       SMALL, DANIELLE
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SMALL, DOUGLAS        Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SMALL, HOLLY                         SMALL, ISAMAR                         SMALL, JAMES
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SMALL, JASON                         SMALL, JENNIFER                       SMALL, JESI
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SMALL, JULIA                         SMALL, KIMBERLY                       SMALL, KRISTIN
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SMALL, LAUREN                        SMALL, LINDA                          SMALL, MADELINE
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SMALL, MERCEDES                      SMALL, MIKE AND CARIN                 SMALL, NICOLE
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SMALL, RACHEL                        SMALL, ROBERT                         SMALL, SANDRA
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SMALL, SHANNON                       SMALL-BESS, ELAINE                    SMALL-BUTERA, LINDSAY
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SMALLEY, C’ANNE                      SMALLEY, CARTER                       SMALLEY, ERIN
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SMALLEY, GREGORY                     SMALLEY, JEANINE M                    SMALLEY, ZORAYA
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SMALLING, NIKKI                         SMALLS, ANITA                          SMALLS, LATESHA
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SMALLS, SOFIA                           SMALLSHAW, SUZANNE                     SMALLWOOD, KATINA
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SMALLWOOD, MELANIE J.                   SMALLWOOD, MITCHELL                    SMALLWOOD, TY
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SMARGIASSO, CRAIG                       SMARRO, BRIANNA                        SMARSIK, STEPHANIE
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SMART AND FINAL                         SMART, ABIGAIL                         SMART, ANDREW
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SMART, CARISSA                          SMART, CRISTINA                        SMART, DANIELLE
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SMART, DANIELLE                         SMART, DR. TIM B.                      SMART, EMILY
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SMART, KATHERINE                        SMART, KERRY                           SMART, KRISTN
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SMARTT, GRACE                        SMASAL, KATRINA                         SMATHERS, KEVIN
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SMEDEMA, TROYCE                      SMEDLEY-WILSON, LINDA                   SMEERIN, JAYNIE
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SMELKO, RAY                          SMELTZER, LAURA                         SMERGLINOLO, STEPHANIE
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SMERO, LORI                          SMESTAD, KATIE                          SMETAK, HEATHER
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SMETEK, AMBER                        SMETHERS, BLAKE                         SMEUREANU, BOGDAN
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SMIALEK, BROOK                       SMIALEK, KRISTIN                        SMIALEK, RANDALL
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SMIDT, GRAHAM                        SMIECH, JESSICA                         SMIEGAL, CAROLINE
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SMITH AND MILLS                         SMITH III, WAYNE                      SMITH JR, WILLIAM
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SMITH MECHANICAL-ELECTRICAL-PLUMBING    SMITH ST PAUL, SHANNON                SMITH, AARON
1340 W. BETTERAVIA ROAD                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA MARIA, CA 93455




SMITH, ABBEY                            SMITH, ABBIE                          SMITH, ABBIE
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SMITH, ABBY                             SMITH, ABBY                           SMITH, ABBYGAIL
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SMITH, ALFREDA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SMITH, ANDRE                         SMITH, ANDREW                         SMITH, ANDREYA
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SMITH, ANGIE                         SMITH, ANN                            SMITH, ANN
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SMITH, ANNE LAWRENCE                 SMITH, ANNE                           SMITH, ANTHONY
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SMITH, ANTIONE                       SMITH, APRIL                          SMITH, APRIL
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SMITH, ARCHER                        SMITH, ARIEL                          SMITH, ARIES
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SMITH, ASHLEY                        SMITH, ASHLEY                         SMITH, ASHLEY
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SMITH, AUSTIN                        SMITH, AUTUMN                         SMITH, BAILEY
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SMITH, BARBARA                       SMITH, BASIL                          SMITH, BECKY
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SMITH, BONNIE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SMITH, BRIANNE                       SMITH, BRIDGETT                       SMITH, BRIENNA
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SMITH, BRIGETTE                      SMITH, BRITNEY                        SMITH, BRITTANY
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SMITH, BROOKE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SMITH, BRYAN                         SMITH, BRYNN                          SMITH, CAILI
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SMITH, CAROL                         SMITH, CAROLINE                       SMITH, CAROLINE
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SMITH, CAROLYN                       SMITH, CAROLYN                        SMITH, CARRIE
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SMITH, CARRIE                        SMITH, CARRIE                         SMITH, CARRIE
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SMITH, CASEY                         SMITH, CASEY                          SMITH, CASSANDRA
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SMITH, CASSIDY                       SMITH, CATHERINE                      SMITH, CATHERINE
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SMITH, CATHY                         SMITH, CATHY                          SMITH, CATIE
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SMITH, CHARLES Q.                    SMITH, CHARLES                        SMITH, CHARLES
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SMITH, CHARLIE                       SMITH, CHARLOTTE                      SMITH, CHASE
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SMITH, CHASE                         SMITH, CHASITY                        SMITH, CHASITY
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SMITH, CHELSEA                       SMITH, CHELSEA                        SMITH, CHELSEA
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SMITH, CHERYL                        SMITH, CHEYENNE                       SMITH, CHEYENNE
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SMITH, CHLOE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, CHRIS                     Page 4608   of 5495
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SMITH, CHRISTA                       SMITH, CHRISTIAN                      SMITH, CHRISTIAN
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SMITH, CHRISTIN                      SMITH, CHRISTINA                      SMITH, CHRISTINE
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SMITH, CHRISTOPHER                   SMITH, CHRISTOPHER                    SMITH, CHRISTY
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SMITH, CLAELE                        SMITH, CLAIRE                         SMITH, CLAUDIA
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SMITH, CLIFFORD                      SMITH, CODIE                          SMITH, CODY
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SMITH, CODY                          SMITH, COLETTE                        SMITH, COLLEEN
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SMITH, COLLEEN                       SMITH, COLLEEN                        SMITH, CONNIE
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SMITH, CONNOR                        SMITH, CONNOR                         SMITH, CONSTANCE
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SMITH, COREY                         SMITH, CORI                           SMITH, CORRYN
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SMITH, CORTNEE        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, COURTNEY                  Page 4609   of 5495
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SMITH, COURTNEY                      SMITH, COURTNEY                       SMITH, COURTNEY
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SMITH, COURTNEY                      SMITH, COURTNEY                       SMITH, CRYSTAL
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SMITH, CRYSTAL                       SMITH, CRYSTAL                        SMITH, CRYSTAL
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SMITH, CRYSTAL                       SMITH, CYNTHIA                        SMITH, CYNTHIA
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SMITH, CYNTHIA                       SMITH, DAIJA                          SMITH, DALE
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SMITH, D-AN                          SMITH, DANIEL                         SMITH, DANIEL
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SMITH, DANIEL                        SMITH, DANIELLE                       SMITH, DANIELLE
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SMITH, DANIELLE                      SMITH, DANIELLE                       SMITH, DANIELLE
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SMITH, DANIELLE                      SMITH, DARBIE                         SMITH, DARBY
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SMITH, DARYN          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, DAVID                     Page 4610   of 5495
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SMITH, DAVID                         SMITH, DAVID                          SMITH, DAVID
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SMITH, DAWN                          SMITH, DEAN                           SMITH, DEANNA
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SMITH, DEANTONY                      SMITH, DEBBIE                         SMITH, DEBRA
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SMITH, DEDRA                         SMITH, DEONTE                         SMITH, DEREK
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SMITH, DESTINY                       SMITH, DEZARE                         SMITH, DIANE
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SMITH, DIANE                         SMITH, DION                           SMITH, DOLORES
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SMITH, DONA                          SMITH, DONALD                         SMITH, DONNIE AND LESLIE
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SMITH, DR. JULIANNE                  SMITH, DREW                           SMITH, DREW
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SMITH, DREWE                         SMITH, DYLAN                          SMITH, ELAINA
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SMITH, ELERSON        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, ELIZABETH                 Page 4611   of 5495
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SMITH, ELIZABETH                     SMITH, ELLIE                           SMITH, ELYSHIA
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SMITH, EMILY KD                      SMITH, EMILY                           SMITH, EMILY
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SMITH, EMILY                         SMITH, EMILY                           SMITH, EMILY
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SMITH, EMILY                         SMITH, EMILY                           SMITH, EMMA
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SMITH, EMMA                          SMITH, ERIC                            SMITH, ERIC
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SMITH, ERICA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, ERICA                     Page 4612   of 5495
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SMITH, ERIK                          SMITH, ERIK                           SMITH, ERIK
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SMITH, ERIN                          SMITH, ERIN                           SMITH, ERIN
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SMITH, ERIN                          SMITH, ERIN                           SMITH, ESTHER
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SMITH, ETHAN                         SMITH, ETHEN                          SMITH, EUGENE
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SMITH, EVAN                          SMITH, FAITH                          SMITH, FLOYD
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SMITH, GABE                          SMITH, GAIL                           SMITH, GENESSA
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SMITH, GENEVIEVE                     SMITH, GENNA                          SMITH, GEORGE
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SMITH, GERARD                        SMITH, GERRY                          SMITH, GILLIAN
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SMITH, GINA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SMITH, GINA                      Page 4613   of 5495
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SMITH, GLORIA                        SMITH, GRACE                          SMITH, GRACE
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SMITH, GRACIE                        SMITH, GRANT                          SMITH, GREG
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SMITH, GREG                          SMITH, GREGORY                        SMITH, GREGORY
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SMITH, GREGORY                       SMITH, GREGORY                        SMITH, HAGEN
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SMITH, HAIDEN                        SMITH, HALEY                          SMITH, HALIE
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SMITH, HALLIE                        SMITH, HANNAH                         SMITH, HANNAH
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SMITH, HANNAH                        SMITH, HANNAH                         SMITH, HAYLEE
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SMITH, HEATH                         SMITH, HEATHER                        SMITH, HEATHER
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SMITH, HEATHER                       SMITH, HEATHER                        SMITH, HEIDI
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SMITH, HELEN          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, HELENA                    Page 4614   of 5495
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SMITH, HILARY                        SMITH, HILLARY                        SMITH, HOLLAND
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SMITH, HOPE                          SMITH, HUNTER                         SMITH, HUNTER
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SMITH, IRENE                         SMITH, ISAAC                          SMITH, JACKIE
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SMITH, JACLYN                        SMITH, JACLYN                         SMITH, JACLYN
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SMITH, JACOB                         SMITH, JACOB                          SMITH, JACOB
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SMITH, JACQUELINE                    SMITH, JACQUELYN                      SMITH, JAKE
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SMITH, JAKE                          SMITH, JAMEELAH                       SMITH, JAMES
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SMITH, JAMEY                         SMITH, JAMIE                          SMITH, JAMIE
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SMITH, JAMY                          SMITH, JANE                           SMITH, JANEL
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SMITH, JANESSA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, JANICE                    Page 4615   of 5495
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SMITH, JANIELLE                      SMITH, JANINA                          SMITH, JARED
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SMITH, JARED                         SMITH, JARED                           SMITH, JARED
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SMITH, JARRETT                       SMITH, JASON                           SMITH, JASON
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SMITH, JASON                         SMITH, JASON                           SMITH, JAY
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SMITH, JAYSON                        SMITH, JEAN                            SMITH, JEANETTE
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SMITH, JEANNETTE                     SMITH, JEFF                            SMITH, JEFF
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SMITH, JEFFREY                       SMITH, JENN                            SMITH, JENNA
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SMITH, JENNIFER                      SMITH, JENNIFER                        SMITH, JENNIFER
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SMITH, JENNIFER                      SMITH, JENNIFER                        SMITH, JENNIFER
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                                     SMITH, JENNIFER                  Page 4616   of 5495
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SMITH, JENNIFER                      SMITH, JENNIFER                        SMITH, JENNIFER
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SMITH, JENNIFER                      SMITH, JESS                            SMITH, JESSE
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SMITH, JESSICA                       SMITH, JESSICA                         SMITH, JESSICA
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SMITH, JESSICA                       SMITH, JESSICA                         SMITH, JESSICA
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SMITH, JESSICA                       SMITH, JESSICA                         SMITH, JESSICA
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SMITH, JESSICA                       SMITH, JIM                             SMITH, JOANNA
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SMITH, JOANNA                        SMITH, JOANNA                          SMITH, JOANNA
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SMITH, JOCELYNE                      SMITH, JODEE                           SMITH, JOEL
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SMITH, JOHN                          SMITH, JOLENE                          SMITH, JONAH
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SMITH, JORDAN         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, JORDAN                    Page 4617   of 5495
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SMITH, JORDAN                        SMITH, JORDYN                         SMITH, JORDYN
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SMITH, JOSEPH                        SMITH, JOSEPH                         SMITH, JOSEPH
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SMITH, JOSH                          SMITH, JOSHUA                         SMITH, JOSHUA
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SMITH, JOSLYN                        SMITH, JULIA                          SMITH, JULIA
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SMITH, JULIAN                        SMITH, JULIE                          SMITH, JULIE
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SMITH, JULIE                         SMITH, JULIE                          SMITH, JULIE
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SMITH, JULIE                         SMITH, JULIE                          SMITH, JULIE
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SMITH, JULIE                         SMITH, JULIE                          SMITH, JUSTIN
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SMITH, JUSTIN                        SMITH, JUSTINA                        SMITH, KAILYN
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SMITH, KAITLIN        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, KAITLIN                   Page 4618   of 5495
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SMITH, KALEAH                        SMITH, KAREN                          SMITH, KAREN
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SMITH, KAREN                         SMITH, KARI                           SMITH, KARISSA
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SMITH, KARL                          SMITH, KASSI                          SMITH, KATE
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SMITH, KATE                          SMITH, KATE                           SMITH, KATELYN
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SMITH, KATELYN                       SMITH, KATHERINE                      SMITH, KATHLEEN
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SMITH, KATHRYN                       SMITH, KATHRYN                        SMITH, KATHRYN
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SMITH, KATHRYN                       SMITH, KATHY                          SMITH, KATHY
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SMITH, KATIE                         SMITH, KATIE                          SMITH, KATIE
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SMITH, KATIE                         SMITH, KAY                            SMITH, KAYCE
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SMITH, KAYLA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, KAYLEE                    Page 4619   of 5495
                                                                           SMITH, KEIANA
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SMITH, KEITH                         SMITH, KEITH                          SMITH, KELLEY
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SMITH, KELLI                         SMITH, KELLI                          SMITH, KELLY
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SMITH, KELLY                         SMITH, KELLY                          SMITH, KELLY
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SMITH, KELLY                         SMITH, KELSEY                         SMITH, KELSEY
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SMITH, KELSEY                        SMITH, KELSIE                         SMITH, KENDAL
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SMITH, KENISHA                       SMITH, KENNETH F                      SMITH, KENT
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SMITH, KERBI                         SMITH, KEVIN                          SMITH, KEVIN
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SMITH, KIERSTEN                      SMITH, KIM                            SMITH, KIMBERLEY
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SMITH, KIMBERLY       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, KIMBERLY                  Page 4620   of 5495
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SMITH, KIMBERLY                      SMITH, KIMBERLY                        SMITH, KIMBERLY
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SMITH, KIMBERY                       SMITH, KIRSTEN                         SMITH, KOBI
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SMITH, KOURTNEE                      SMITH, KOURTNEY                        SMITH, KRISTA
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SMITH, KRISTA                        SMITH, KRISTA                          SMITH, KRISTEL
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SMITH, KRISTEN                       SMITH, KRISTEN                         SMITH, KRISTIN
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SMITH, KRISTIN                       SMITH, KRISTINA                        SMITH, KRISTINA
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SMITH, KRISTINE                      SMITH, KYLE                            SMITH, KYLE
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SMITH, KYLIE                         SMITH, LACY                            SMITH, LAKEIA
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SMITH, LANA                          SMITH, LAQUAN                          SMITH, LARNESSA
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SMITH, LARRY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, LARRY                     Page 4621   of 5495
                                                                           SMITH, LATASHIA
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SMITH, LATISHA                       SMITH, LATRICIA                        SMITH, LAURA
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SMITH, LAURA                         SMITH, LAUREL                          SMITH, LAUREN
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SMITH, LAUREN                        SMITH, LAUREN                          SMITH, LAUREN
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SMITH, LAUREN                        SMITH, LAUREN                          SMITH, LAUREN
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SMITH, LAUREN                        SMITH, LAUREN                          SMITH, LEAH
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SMITH, LEAH                          SMITH, LEAH                            SMITH, LEAH
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SMITH, LEANNE                        SMITH, LEE                             SMITH, LENA
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SMITH, LEONA                         SMITH, LES                             SMITH, LESLIE
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SMITH, LESLIE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SMITH, LILY                          SMITH, LINDA                          SMITH, LINDA
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SMITH, LINDA                         SMITH, LINDA                          SMITH, LINDSAY
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SMITH, LINDSAY                       SMITH, LINDSEY                        SMITH, LINDSEY
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SMITH, LINDSEY                       SMITH, LINDSEY                        SMITH, LINDSEY
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SMITH, LINDSEY                       SMITH, LINDSEY                        SMITH, LINDY
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SMITH, LINNEA                        SMITH, LISA                           SMITH, LISA
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SMITH, LISA                          SMITH, LIZA                           SMITH, LOGAN
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SMITH, LORA                          SMITH, LORAH                          SMITH, LORI
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SMITH, LORI                          SMITH, LORI                           SMITH, LORIE
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SMITH, LUCILLE        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           SMITH, LYDIA
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SMITH, LYNDSEY                       SMITH, LYNN                           SMITH, MACIE
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SMITH, MADISON                       SMITH, MAEGAN                         SMITH, MAGGIE
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SMITH, MAGGIE                        SMITH, MAGGIE                         SMITH, MAGGIE
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SMITH, MAGGIE                        SMITH, MAGGIE                         SMITH, MARCIA
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SMITH, MARCY                         SMITH, MARGARET                       SMITH, MARGARET
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SMITH, MARGIE                        SMITH, MARIAH                         SMITH, MARILYN
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SMITH, MARISA                        SMITH, MARISA                         SMITH, MARJORIE
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SMITH, MARK                          SMITH, MARK                           SMITH, MARTHA
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SMITH, MARTHA                        SMITH, MARTHA                         SMITH, MARY & RICHARD
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SMITH, MARY CLAIRE    Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SMITH, MARY                          SMITH, MARY                           SMITH, MARY
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SMITH, MARY                          SMITH, MARYANN                        SMITH, MARYBETH
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SMITH, MATISHA                       SMITH, MATTHEW                        SMITH, MATTHEW
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SMITH, MAUREEN                       SMITH, MAUREEN                        SMITH, MAXIMILIAN
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SMITH, MCCALL                        SMITH, MCGEE                          SMITH, MEAGHAN
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SMITH, MEAGHAN                       SMITH, MEGAN                          SMITH, MEGAN
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SMITH, MEGHAN                        SMITH, MEGHAN                         SMITH, MELANIE
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SMITH, MELANIE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SMITH, MELANIE                   Page 4625   of 5495
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SMITH, MOLLY                         SMITH, MOLLY                          SMITH, MOLLY
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SMITH, MONICA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           SMITH, MS.RENEE
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SMITH, MUTOPE                        SMITH, NAKITA                          SMITH, NAKITA
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                                     SMITH, NOEMI                     Page 4627   of 5495
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SMITH, OLGA                          SMITH, OLIVIA JANE                    SMITH, PAIGE
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SMITH, PATRICIA                      SMITH, PATRICK                        SMITH, PAUL
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SMITH, PEGGY                         SMITH, PENNY                          SMITH, PETER
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SMITH, PHILIP                        SMITH, PHILIP                         SMITH, PRESTON
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SMITH, PRICILLA                      SMITH, QUIANA                         SMITH, QUINN
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SMITH, R JEFF                        SMITH, RACHAEL                        SMITH, RACHEL
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SMITH, RACHEL         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, RACHEL                    Page 4628   of 5495
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SMITH, RACHEL                        SMITH, RACHELLE                       SMITH, RALP
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SMITH, RAVEN                         SMITH, RAYMOND                        SMITH, REBECCA
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SMITH, REBECCA                       SMITH, REGINA MARIE                   SMITH, REGINA
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SMITH, REGINA                        SMITH, REILLY                         SMITH, RENE
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SMITH, RENEE                         SMITH, REYKA                          SMITH, RHIANDA
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SMITH, RHONDA                        SMITH, RILEY                          SMITH, RITA
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SMITH, RO                            SMITH, ROBIN                          SMITH, ROBIN
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                                     SMITH, RODNEY                    Page 4629   of 5495
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SMITH, RONALD                        SMITH, ROXANNE                        SMITH, ROXANNE
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SMITH, RUTHIE                        SMITH, RYAN                           SMITH, RYAN
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SMITH, RYAN                          SMITH, RYANN                          SMITH, RYLEY
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SMITH, SALLY                         SMITH, SAMAMTHA                       SMITH, SAMANTHA
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SMITH, SANDRA                        SMITH, SANDRA                         SMITH, SARA
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SMITH, SARAH                         SMITH, SARAH                          SMITH, SARAH
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SMITH, SARAH          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, SARAH                     Page 4630   of 5495
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SMITH, SATOYA                        SMITH, SAVANNAH                       SMITH, SAVANNAH
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SMITH, SAVANNAH                      SMITH, SAVANNAH                       SMITH, SCOTT
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SMITH, SCOTT                         SMITH, SEAN                           SMITH, SEAN
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SMITH, SEAN                          SMITH, SERENA                         SMITH, SETH
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SMITH, SHANELLE                      SMITH, SHANNON                        SMITH, SHANNON
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SMITH, SHARYNNE                      SMITH, SHEA                           SMITH, SHEILA
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SMITH, SHEILA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, SHELBY                    Page 4631   of 5495
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SMITH, SHELLEY                       SMITH, SHERI                          SMITH, SHERI
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SMITH, SHERRY                        SMITH, SHERRY                         SMITH, SHERYL
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SMITH, SID                           SMITH, SIERRA                         SMITH, SILVIA
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SMITH, SIMEON                        SMITH, SKY                            SMITH, SOLVEIG
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SMITH, SONIA                         SMITH, SONJA                          SMITH, SONJA
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SMITH, SOPHIE                        SMITH, SOPHIE                         SMITH, SOPHIE
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SMITH, STACY                         SMITH, STACY                          SMITH, STEPHANIE
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SMITH, STEPHANIE      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, STEPHANIE                 Page 4632   of 5495
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SMITH, STEPHANY                      SMITH, STEPHEN                         SMITH, STEPHEN
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SMITH, STEVEN                        SMITH, STEVEN                          SMITH, SUSAN
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SMITH, SYDNIE                        SMITH, TAAJ                            SMITH, TABITHA
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SMITH, TALYA                         SMITH, TAMEKA                          SMITH, TANDRA
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SMITH, TANYA                         SMITH, TANYA                           SMITH, TANYSHA
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SMITH, TARA                          SMITH, TARA                            SMITH, TARA
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SMITH, TATIANA                       SMITH, TAYLOR                          SMITH, TAYLOR
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SMITH, TAYLOR                        SMITH, TAYLOR                          SMITH, TEMIAH
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SMITH, TERRI                         SMITH, TESSA                           SMITH, THOMAS
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SMITH, THOR           Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SMITH, TIERNEY                       SMITH, TIFFANY                        SMITH, TIFFANY
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SMITH, TIFFANY                       SMITH, TIFFANY                        SMITH, TIM
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SMITH, TIMOTHY                       SMITH, TINA                           SMITH, TINSLEY
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SMITH, TJ                            SMITH, TOLAINA                        SMITH, TRACEY
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SMITH, VALERIE                       SMITH, VALERIE                        SMITH, VALERIE
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SMITH, VICTORIA       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SMITH, VICTORIA                  Page 4634   of 5495
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SMITH, VICTORIA                      SMITH, VINNIE                          SMITH, VIRGINIA
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SMITH, W. CODY                       SMITH, WAYNE                           SMITH, WENDY
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SMITH, WHITLEY                       SMITH, WILLIAM                         SMITH, YARLETTA
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SMITH, YOLANDA                       SMITH, YONA                            SMITH, ZACH
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SMITH-BENJAMIN, HANNA                SMITH-BLACK, LAURA                     SMITH-COPPES, JOHN
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SMITH-DENGLER, TRACY                 SMITHEM, RYAN                          SMITHER, CAYLA
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SMITH-HOWARD, KENDRA                 SMITHING, JULIA                        SMITH-KANZE, JAMILYAH
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SMITH-MOORE, DETUAN                   SMITHSON, JUSTIN                       SMITHSON, MARTIN
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SMITH-SREEN, TANYA                    SMITH-STROS, DEBORA                    SMITHTON, DEBORAH
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SMITH-WILDER, VIVIETTE                SMITLEY, AMBERLY                       SMITS, CHRISTY
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SMITS, LEXINE                         SMITS, MAIRA                           SMITTER, ERIC
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SMOLTZ, CARLY                         SMOOKLER, ALAN                         SMOOT, ALEX
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SMOOT, BRYAN                          SMOOT, CARMIN                          SMOOT, WILL
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SMOTHERMON, SARAH                    SMOTHERS, KATHLEEN                    SMOTHERS, PAMELA
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SMOUSE, ALLIE                        SMOUSE, KIRSTI                        SMOYER, COURTNEY
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SMRT, HANAH                          SMTH, MARGARET                        SMUDE, ERIN
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SMULIN, HARRIS                       SMULL, BRENDA                         SMURR WALTERS, LISA
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SMURTHWAITE, TRICIA                  SMUSZKIEWICZ, JENNIFER                SMUSZKIEWICZ, JENNIFER
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SMUTZ, ANNA                          SMYDER, TAYLOR                        SMYKLE, LAUREN
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SMYL, FALLON                         SMYRE, ERIN                           SMYSER, MICHAEL
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SMYTH, ALLYSON                       SMYTH, COURTNEY                       SMYTH, EMILY
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SMYTH, JACQUELYN                     SMYTH, JEFF                           SMYTH, KELLY
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SMYTHE, SARAH                        SN, SOFIA                               SNABLE, KATIE
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SNACKNATION                          SNAGAJOB                                SNAP INC.
3534 HAYDEN AVE.                     ADDRESS UNAVAILABLE AT TIME OF FILING   3000 31ST STREET
CULVER CITY, CA 90232                                                        SANTA MONICA, CA 90405




SNAP INC.                            SNAPE, MARIA                            SNAPENGAGE
SNAPCHAT INC                         ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING
2772 DONALD DOUGLAS LOOP NORTH
SANTA MONICA, CA 90405




SNAPP FORD, HEIDI                    SNAPP, STACEY                           SNARE, HALEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SNAVELY, ALLISON                     SNAVELY, LINDSEY                        SNAVELY, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SNAY, KAREN                          SNAZELLE, TYLER                         SNEAD, JESSICA
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SNEAD, LORRAINE                      SNEAD, MEGHAN                           SNEADE, LINDA
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SNEDDON, HUGH                        SNEDDON, LEAH                           SNEDDON, REBECCA
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SNEDDON, SONJA                       SNEDEGAR, HOLLY                         SNEDEKER, ALEXIS
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SNEDEKER, GINA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SNEED, KRISTI                    Page 4638
                                                                           SNEED,of 5495
                                                                                 LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SNEED, MATT                          SNEERINGER, MARGARET                  SNEIDER, SAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SNELDERS, JENNIFER                   SNELL, CAROLINE                       SNELL, REBECCA
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SNELLENBERGER, JOANA                 SNELLING, CHRISTIE                    SNELLING, MELISSA
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SNELLING, SYDNEY                     SNETHEN, CERRISA                      SNIDE, HEATHER
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SNIDER, ADAM                         SNIDER, ALISON                        SNIDER, AMANDA
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SNIDER, AMY                          SNIDER, ANDREA                        SNIDER, ANNA
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SNIDER, ERICH                        SNIDER, HILLARY                       SNIDER, JENA
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SNIDER, JULIE                        SNIDER, KELLIE                        SNIDER, KIM
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SNIDER, MICHELLE                     SNIDER, PAIGE                         SNIDER, PAMELA
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SNIDER, SARAH         Case 22-11238-LSS
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                                            STEVEN                      Page 4639   of 5495
                                                                             SNIFF, KATHRYN
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SNIFF, LUKE                          SNIGUR, LANA                            SNINCHAK, KINSEY
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SNIPE, KRISTY                        SNITH, MELODY                           SNITKER, AUNDREA
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SNIZEK, ANN                          SNOBERGER, SAM                          SNODE, CLAIRE
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SNODGRASS, DIANE                     SNODGRASS, ERYN                         SNODGRASS, JULIE
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SNODGRASS, LARRY                     SNODGRASS, MATISYN                      SNODGRASS, PHIL
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SNODGRASS, SAMANTHA                  SNOOK, KAELINN                          SNOOK, KRISTEN
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SNOOK, SHELLY                        SNOOZE DENVER                           SNOPKOWSKI, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SNORTON, REALE                       SNOW ALLEN, TRACY                       SNOW COSMETICS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          4602 E ELWOOD STREET SUITE 16
                                                                             PHOENIX, AZ 85040




SNOW, ABBIE                          SNOW, CAITRIN                           SNOW, CATHERINE L
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SNOW, DALE            Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     SNOW, DEBORAH                    Page 4640
                                                                           SNOW, of 5495
                                                                                 EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SNOW, JANE                           SNOW, JENIFER                         SNOW, JULIA
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SNOW, MARGARET                       SNOW, NIKKI                           SNOW, NIKKI
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SNOW, NORI                           SNOW, SHERY                           SNOW, THOMAS
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SNOW, TROUPER                        SNOW, TYESHA                          SNOW, WALTER
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SNOWDEN, DOUG                        SNOWDEN, JOHN                         SNOWDEN, LARRY
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SNOWDEN, STARASIA                    SNOWDEN, SYDNEY                       SNOWDEN-IKE, CHRISTINA CLAUDINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SNOWDON, KIMBERLY                    SNOWEE WOOD                           SNOWEE WOOD
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SNOWFLAKE INC                        SNOWFLAKE INC                         SNOXELL, HARRY
106 EAST BABCOCK STREET SUITE 3A     450 CONCAR DRIVE                      ADDRESS AVAILABLE UPON REQUEST
BOZEMAN, MT 59715                    SAN MATEO, CA 94402




SNUFFER, CHRISTOPHER                 SNYDER, ALICIA                        SNYDER, ALIX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SNYDER, ALLI          Case 22-11238-LSS
                                     SNYDER,Doc 2 Filed 11/30/22
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                                                                           SNYDER, 5495
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SNYDER, ANN                          SNYDER, ANNA                          SNYDER, ASHLEY
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SNYDER, AURORA                       SNYDER, BARBARA                       SNYDER, BOWEN
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SNYDER, BRET                         SNYDER, BRIDGET                       SNYDER, CATHE
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SNYDER, CHELSEA                      SNYDER, CHERIE                        SNYDER, CHRIS
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SNYDER, CHRISTINA                    SNYDER, CHRISTINE                     SNYDER, CHRISTINE
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SNYDER, CHRISTOPHER                  SNYDER, CINDY                         SNYDER, DANAE
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SNYDER, DARBY                        SNYDER, DEBBI                         SNYDER, ELIZABETH
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SNYDER, EMILY                        SNYDER, EMSLEY                        SNYDER, ERIC
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SNYDER, GARRETT                      SNYDER, GREG & JERI                   SNYDER, HANNAH
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SNYDER, JACK          Case 22-11238-LSS
                                     SNYDER,Doc  2 Filed 11/30/22
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                                                                           SNYDER, 5495
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SNYDER, JANE                         SNYDER, JASON                         SNYDER, JENN
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SNYDER, JENNEANE                     SNYDER, JENNIFER                      SNYDER, JENNIFER
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SNYDER, JL                           SNYDER, JOHANNA                       SNYDER, JUDY
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SNYDER, KAERN                        SNYDER, KARALEE                       SNYDER, KATHRYN
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SNYDER, KATHRYN                      SNYDER, KELLY                         SNYDER, KELLY
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SNYDER, KYLA                         SNYDER, LAUREN                        SNYDER, LEON
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SNYDER, LINDSEY                      SNYDER, LINDSEY                       SNYDER, LISA
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SNYDER, LISA                         SNYDER, LLOYD                         SNYDER, LORI
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SNYDER, LYNN                         SNYDER, MADELINE                      SNYDER, MADIE
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SNYDER, MAGGIE        Case 22-11238-LSS
                                     SNYDER,Doc  2 Filed 11/30/22
                                             MARIAH                   Page 4643 ofMELINDA
                                                                           SNYDER, 5495
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SNYDER, MESHELLE                     SNYDER, MIKA                          SNYDER, MOLLY
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SNYDER, NATHANIEL                    SNYDER, NICKI                         SNYDER, NICKY
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SNYDER, PATTY                        SNYDER, RAGAN                         SNYDER, RENEE
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SNYDER, ROBERT                       SNYDER, RODNEY                        SNYDER, ROSE
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SNYDER, SAMANTHA                     SNYDER, SARA                          SNYDER, SARA
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SNYDER, SARA                         SNYDER, SARA                          SNYDER, SARA
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SNYDER, SCOTT                        SNYDER, STEPHANIE                     SNYDER, SUSAN
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SNYDER, TAMMY                        SNYDER, TRISHA                        SNYDER, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SNYDERMAN, JANET                     SO CAL DRAFT BEER SERVICE INC         SO, BRYAN
ADDRESS AVAILABLE UPON REQUEST       504 MAIN ST 690                       ADDRESS AVAILABLE UPON REQUEST
                                     NEWPORT BEACH, CA 92661
SO, ERIC              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SO, JENN                         Page 4644   of 5495
                                                                           SO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SO, LEXY                             SO, PHILIP                            SO, STEVE
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SOAFER, KYLIE                        SOAFT, LUCY                           SOARES, ARYLA
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SOARES, JENNIFER                     SOARES, JESSICA                       SOARES, MELISA
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SOARES, NATALIE                      SOARES, STEVEN                        SOBCZAK, RACHEL
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SOBCZAK, STACEY                      SOBCZAK, TIM                          SOBEK, LUNDY
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SOBEL, JENNIFER                      SOBEL, KATIE                          SOBEL, LEAH
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SOBERALSKI, MELISSA                  SOBERG, ERIC                          SOBERS, CASSIE
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SOBERS-ASSUE, ALECSANDER             SOBHA, TAYLOR                         SOBHAN, KAMRAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOBIC, DANIELA                       SOBIESKI, DAN                         SOBLE, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SOBO, ED              Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SOBO, ROBERT                      Page 4645 of 5495
                                                                            SOBODASH, MOM AND DAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOBOL, LESLEY                         SOBOLEWSKA, MARIA                     SOBOLIK, JESSICA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOBOLIK-WILLIAMS, LINDSEY AND JAMES   SOBON, STEVE                          SOBONYA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOBONYA, STUNNING STEVE               SOBOSLAI, ASHLEY                      SOBOTA, CAROL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOBOTA, KATHARINE                     SOBULO, LAILLA                        SOBY, LAURA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOBYLAK, CANDICE                      SOCCIO, ANTONIA                       SOCHA, ALEXIS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOCHA, KAYLA                          SOCHA, SAMANTHA                       SOCIAL DEVLABS, INC. DBA SOCIAL METHOD
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        1201 WILSON BLVD, STE 28-111
                                                                            ARLINGTON, VA 22209




SOCIALYTE LLC                         SOCIETY FOR CORPORATE GOVERNANCE      SOCIETY6 LLC
110 GREENE STREET, STE 600            240 W 35TH ST, STE 400                ADDRESS UNAVAILABLE AT TIME OF FILING
NEW YORK, NY 10012                    NEW YORK, NY 10001




SOCK, JACK                            SOCKWELL, VICTORIA                    SOCOLEAN, VERONICA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOCOLOFSKY, BENJAMIN                  SODANI, ADALBERTO                     SODER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SODERBERG, LISA       Case 22-11238-LSS    Doc LUKAS
                                     SODERBERG, 2 Filed 11/30/22        Page 4646 of 5495
                                                                             SODERBERG, MARTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SODERBERG, ROBERT                    SODERSTROM, FELICA                      SODERSTROM, RONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SODERSTRUM, MCKINZIE                 SODEXO- HOLLYWOOD BOWL                  SODEXO-HOLLYWOOD BOWL
ADDRESS AVAILABLE UPON REQUEST       ATTN: ACCOUNTS PAYABLE, JOANNE          2301 N. HIGHLAND AVE LOT B
                                     PO BOX 352                              PURCHASING/RECEIVING
                                     BUFFALO, NY 14240                       LOS ANGELES, CA 90068




SODHI, CHANDANDEEP                   SODL, KATELYN                           SOEGAARD, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SOEHLKE, JESSICA                     SOENDKER, JERILEE                       SOENEN, KAYDEN
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SOERYADJAYA, AUGUSTA                 SOESMAN, DANIELLE                       SOEUN, SARVONG
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SOFALA, AUBRIE                       SOFALA-JONES, HALI                      SOFER, MIRANDA
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SOFFEL, EVA                          SOFFIAN, GREG                           SOFFIO, NATHAN
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SOFIA MEDVEDEV                       SOFIA, TABLADA                          SOFIANOS, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SOFRANKO, SARA                       SOFTWAREONE, INC.                       SOGORKA, EMILY
ADDRESS AVAILABLE UPON REQUEST       20875 CROSSROADS CIRCLE, SUITE 1        ADDRESS AVAILABLE UPON REQUEST
                                     WAUKESHA, WI 53186
SOHAM BHATIA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SOHL, DANA                          Page 4647   of 5495
                                                                              SOHL, EVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SOHN, JENNIFER                          SOHN, LISA                            SOHN, YUNA
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SOHO COFFEE POT                         SOHRE, ADAM                           SOILAIR
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SOILEAU, AMY                            SOINSKI, STACEY                       SOISTMANN, BETTINA
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SOJAK, LYNN                             SOJDA, TINA                           SOKAL-BORLAND, CATHERINE
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SOKALSKY, THOMAS                        SOKHEY, ANAND                         SOKLEY, PATRICK
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SOKOL, ALEXANDER                        SOKOL, ANA                            SOKOL, JULIA
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SOKOL, KAT                              SOKOLOVSKA, ANNA                      SOKOLOWER, HEATHER
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SOKOLOWSKI, ANDREA                      SOKOLOWSKI, GEOFF                     SOKOLOWSKI, JASON
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SOKOLOWSKI, JONATHAN                    SOKOLOWSKI, MARIE                     SOKOLSKY, ERIC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SOKULSKI, JANROB      Case 22-11238-LSS      Doc 2 Filed 11/30/22 Page 4648
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SOLAIMANIAN, ELIZABETH               SOLAK, ANNA                           SOLANA, ANA
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SOLANA, MAYELA                       SOLAND, SIERRA                        SOLANICS, ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOLANO, ALEXANDRIA                   SOLANO, KARINA                        SOLANO, KYRSTLE
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SOLANO, LORNA                        SOLANO, MARIAH                        SOLANO, STEPHANIE
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SOLANO-ELENA, ROSY                   SOLAR, LORI                           SOLAREK, MITCHELL
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SOLARES, AMILCAR                     SOLARES, MARIA                        SOLARI, JOSH
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SOLARO, HUNTER                       SOLARTE, RICHARD                      SOLARZ-FERLEY, DIANNE
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SOLA-SANTIAGO, FRANCES               SOLAZZO, GRACE                        SOLAZZO, LINDSEY
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SOLBERG, ALLISON                     SOLBERG, AMBER                        SOLBERG, ELISA
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SOLDEVILLA, KYLE      Case 22-11238-LSS
                                     SOLDO, Doc
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                                                                           SOLDO,of 5495
                                                                                 WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOLE BICYCLE CO.                     SOLEIMANY, NAZANIN                    SOLEM, HOLLY
1330 MAIN ST                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VENICE, CA 90291




SOLENSKY, LINDSAY                    SOLER, BECKY                          SOLER, FERNANDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOLER, LEYDIS                        SOLERA NATIONAL BANK FBO AL LHOMME    SOLES, ASHLI
ADDRESS AVAILABLE UPON REQUEST       106 CHRISTENBURY LN                   ADDRESS AVAILABLE UPON REQUEST
                                     CARY, NC 27511




SOLES, KELSEY SOLES                  SOLES, KRISTEN                        SOLETA, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOLH, OMAR                           SOLHJEM, TROY                         SOLI, SANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOLICH, ABBEY                        SOLIDUM, KRISTINA                     SOLIMINE, MEREDITH
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SOLIMINE, PATTY                      SOLIMINI, ROSA                        SOLIN, JENNIFER
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SOLINSKI, JULIE                      SOLIS, AILEEN                         SOLIS, ALEJANDRA
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SOLIS, CALEB                         SOLIS, CLAUDIA                        SOLIS, GERARDO
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SOLIS, GISELLE        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SOLIS, HUPP                      Page 4650   of 5495
                                                                           SOLIS, KATY
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SOLIS, MARTHA                        SOLIS, ORLANDO                        SOLIS, OSCAR
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SOLIS, TONY                          SOLIS, VICTORIA                       SOLITAR, NICKI
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SOLITO, CHELSEA                      SOLIZ, LAURA                          SOLIZ, RUDY
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SOLKY, KARYN                         SOLL, NICOLE                          SOLLARS, FASEE
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SOLLARS, TANAIHA                     SOLLBERGER, ALEXANDRA                 SOLLECITO, PETER
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SOLLENBERGER, LAURA                  SOLLER, KATHERINE                     SOLLER, VICTORIA
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SOLLERS, JILLIAN                     SOLLMANN, GRACYN                      SOLLY, SARAH
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SOLLY, SARAH                         SOLNIK, FANNY                         SOLNIT, ANITA
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SOLOMBRINO, SARAH                    SOLOMON REDA                          SOLOMON, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SOLOMON, ARIELLE      Case 22-11238-LSS    Doc
                                     SOLOMON,   2 Filed 11/30/22
                                              DANIEL                  Page 4651 of 5495
                                                                           SOLOMON, ERIN
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SOLOMON, GLENN                       SOLOMON, ISABEL                       SOLOMON, JENNIFER
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SOLOMON, JESSICA                     SOLOMON, JOHN                         SOLOMON, JONATHAN
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SOLOMON, KATHLEEN                    SOLOMON, KELLEY                       SOLOMON, KRISTEN
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SOLOMON, MANDI                       SOLOMON, MARC                         SOLOMON, MARGARET
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SOLOMON, MARK                        SOLOMON, MARY                         SOLOMON, NITA
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SOLOMON, RACHEL                      SOLOMON, RAYMOND                      SOLOMON, RICHARD
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SOLOMON, RON                         SOLOMON, SHIRA                        SOLOMON, STEPHEN
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SOLOMON, TAMARA                      SOLOMON, TIA                          SOLOMON, VANESSA
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SOLOMONOV, OLGA                      SOLOMOS, CONSTANTINE                  SOLON, ELIZABETH
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SOLON, JESSICA        Case 22-11238-LSS    Doc
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                                                                           SOLORIO, 5495
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SOLORIO, PAOLA                       SOLORZANO, PATRICE                     SOLORZANO-FERREE, LUISA
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SOLOS, ANNA                          SOLOVEY, LISA                          SOLOVYEV, SERGEY
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SOLOW, SOPHIE                        SOLOWAY, COURTNEY                      SOLOWAY, MIKE
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SOLT, SHANNON                        SOLT, TOBEY                            SOLTER PLASTICS
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SOLTER, REBECCA                      SOLTERO, JULISSA                       SOLTERO, REBEKAH
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SOLTES, RYAN                         SOLTIS, LEWIS                          SOLTOW, BETH
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SOLTYS, MARY                         SOLTYSIK, MARISSA                      SOLVANG TRANSPORTATION
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SOLVERSON, LAURA                     SOMANA, MARIA GABRIELA PRADA           SOMANCHI, VAISHNAVI
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SOMARRIBAS, SARAH                    SOMASCHINI, VITTORIA                   SOMER LOEN
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                                                                           SOMERS, 5495
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SOMERS, ALTHEA                       SOMERS, ANDREA                        SOMERS, ASHLEY
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SOMERS, CAROL                        SOMERS, CAROLINE                      SOMERS, HAYLEY
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SOMERS, HEATHER                      SOMERS, HEIDI                         SOMERS, JAY
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SOMERS, JULIA                        SOMERS, KIMBERLY                      SOMERS, SHARON
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SOMERVILLE, DEBORAH                  SOMERVILLE, MONIQUE                   SOMEWHERE LATELY LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        184 SOUTH GATE LANE
                                                                           SOUTHPORT, CT 06890




SOMIL BHARGAVA                       SOMMA, JAYNA                          SOMMER, BREANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOMMER, CLAIRE                       SOMMER, ELIZABETH                     SOMMER, JUSTIN
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SOMMER, LAUREN                       SOMMER, LISA                          SOMMER, NANCY
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SOMMER, RYAN                         SOMMERFELD, MARY                      SOMMERFELD, NICOLE
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SOMMERS, CATHERINE    Case 22-11238-LSS    Doc
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                                                                           SOMMERS, JOSIAH
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SOMMERS, KIMBERLY                    SOMMERS, LANA                         SOMMERS, NATHAN
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SOMMERS, STEVEN                      SOMMESE, JARED                        SOMOLINOS, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOMPO INTERNATIONAL                  SOMTAKOUNE, CHRISTINA                 SON HAN
C/O US COMMERICAL MANAGEMENT         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LIABILITY
303 W MADISON, STE 1800
CHICAGO, IL 60606



SON HYONG HAN                        SON, JAY                              SON, MINJUNG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SON, MOAH                            SON, NAOMI                            SON, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SON, YUNHEE                          SONARA, ARNAV                         SONDAK, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SONDEJ, BARBARA                      SONDER EDITS, INC.                    SONDER, ELSA
ADDRESS AVAILABLE UPON REQUEST       4139 VIA MARINA 405                   ADDRESS AVAILABLE UPON REQUEST
                                     MARINA DEL REY, CA 90292




SONDGERATH, JULIE                    SONDHEIMER, ELIZABETH                 SONDREAL, EARL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SONE, PHYO                           SONEFELD, LAURA                       SONES, PETER
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SONESON, KIRK         Case 22-11238-LSS    Doc
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SONG, ANGELA                         SONG, CHARLES                         SONG, CHRISTINA
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SONG, CHRISTY                        SONG, DAVID                           SONG, EUNHYE
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SONG, JANET                          SONG, JULIA                           SONG, KEVIN
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SONG, KRISTIN                        SONG, PATRICIA                        SONG, REBECCA
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SONG, SAMANTHA                       SONG, TAE                             SONG, TIFFANY
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SONG, TONY                           SONG, XIAOWEN                         SONG, XW
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SONG-CARROLL, MIYOUNG                SONGER, ALAN                          SONGER, AMANDA
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SONGERNELSON, LIESL                  SONIA BOSS                            SONIA RUTH AVIV
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SONIA SHAH                           SONILAL, CHERYL                       SONITA BARUA-RELIFORD
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SONITA BARUA-RELIFORD Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SONNEMAN, SOPHIE                     SONNENBERG, THEA                      SONNEY, KEVIN
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SONNICHSEN, AMY                      SONNICKSEN, KAYLA                     SONNIER, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SONNIKSEN, KRISTEN                   SONNTAG, KATIE                        SONNTAG, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SONNTAG, RYAN                        SONNTAG, RYAN                         SONNY DIONISIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SONOMA BEVERAGE WORKS (SONOMA        SONOMA BEVERAGE WORKS (SONOMA         SONOMA CREEK LAND & FARMING, INC.
CIDER)                               CIDER)                                23355 MILLERICK ROAD
1451 GROVE STREET                    44 MILL ST                            SONOMA, CA 95476
HEALDSBURG, CA 95448                 HEALDSBURG, CA 95448




SONOMA WINE COMPANY, LLC             SONORA MINDWERL                       SONS, BETH
(PURPLE WINE CO, LLC)                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
9119 GRATON ROAD
GRATON, CA 95444




SONS, SIERA                          SONTAG, JENNIFER                      SONTAGH, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SONTAN, TOMI                         SONU UPADHYAY                         SONY THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SONYA GENESIUS                       SOO, TORI E.                          SOOD, ANKIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SOOD, KATHERINE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SOOD, SHWETA                     Page 4657 of 5495
                                                                           SOODEEN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOOGANTHY NADARAJAH                  SOOHOO, DARREN                         SOOKLAL, TESHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOONATTRAKUL, PARPHAN                SOON-CHYE NG                           SOOS, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOOTER, MADISON                      SOOTKOOS, JENNIFER                     SOPAPONG, DEE
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SOPAPUNTA, JANE                      SOPELAK, ALEXANDRA                     SOPER, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOPHA, JODIE                         SOPHER, JUDITH                         SOPHIA ORNELAS
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SOPHIA RISPOLI                       SOPHIE CHEN                            SOPHIE DE LAMER
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SOPKO, DIANE                         SOPKO, NICOLE                          SOPOTNICK, ASHLEY
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SOPRIS, TYLER                        SORAGHAN, KATIE                        SORAH, KATHERINE
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SORAIDA SALVATIERRA                  SORAL, RAJESHWAR                       SORBARO, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SORBELLO, ELIZABETH   Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORBITO, ALEJANDRO                   SORBY, KARSON                         SORCE, THOMAS J
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORDEN, DANIELLE                     SORELLE, ADAM                         SORENSEN, AIMEE
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SORENSEN, ALI                        SORENSEN, ANGELA                      SORENSEN, BROOKLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORENSEN, CASEY                      SORENSEN, DAWN                        SORENSEN, HAILEY
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SORENSEN, JAMES                      SORENSEN, JENNA                       SORENSEN, JESSICA
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SORENSEN, JOHN                       SORENSEN, KATHERINE                   SORENSEN, KATIE
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SORENSEN, MATT                       SORENSEN, NICOLE                      SORENSEN, ROBERT
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SORENSEN, SARAH                      SORENSEN, TAYLOR                      SORENSEN, TIMOTHY
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SORENSON, ALICIA                     SORENSON, BRADLEY                     SORENSON, CASSIDY
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SORENSON, CLAUDIA     Case 22-11238-LSS    DocDAVID
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                                                                           SORENSON, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORENSON, ERIK                       SORENSON, KEEGAN                      SORENSON, LEE
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SORENSON, MARA                       SORENSON, MARI                        SORENSON, MARY
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SORENSON, SANDRA                     SOREY, RACHEL                         SORG, KATIE
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SORGE, CASSY                         SORGE, KAREN                          SORGENFREI, KATE
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SORGENFREY, BRITANI                  SORGI, JACOB                          SORGMAN, JENNIFER
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SORIA, BERNARDO                      SORIA, CASSIE                         SORIA, ROCIO
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SORIA, STEPHANY                      SORIANO, BRITTNEY                     SORIANO, CYNTHIA
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SORIANO, ERIC                        SORIANO, EVELIO                       SORIANO, GRACE
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SORIANO, MARIA                       SORIANO, MONIQUE                      SORICH, C
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SORICHETTI, ALFONSO   Case 22-11238-LSS    Doc
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                                                                                   HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORKIN, LAUREN                       SORNE, ANNETTE                        SORNIA, DENISE
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SOROCKETT, DANIELLE                  SOROKA, JACKIE                        SOROKA, MARY
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SOROOSHYARI, NAHID                   SORRELL, LAUREN                       SORRELL, TAYLOR
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SORRELL, WILLIAM                     SORRELLS, ALLISON                     SORRELLS, LOU ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORRELLS, PRENTISS                   SORRELS, KARI                         SORRENTINO JR., VINCENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORRENTINO, ANDREA                   SORRENTINO, ANGELA                    SORRENTINO, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORRENTINO, COURTNEY                 SORRENTINO, JULIANA                   SORRENTINO, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORRENTINO, MARY SHAWN               SORRENTO, MEGHAN                      SORRICK, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SORSHER, ALEX                        SORTINO, ANN                          SORTINO, MALLORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SORVALIS, SARA        Case 22-11238-LSS    Doc 2 Filed
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING




SOS, CHARITY                           SOSA, ALEJANDRA                        SOSA, DANIELA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOSA, GABRIEL                          SOSA, JENNI                            SOSA, JENNIFER
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOSA, MICHELLE                         SOSA, P.                               SOSA, SONIA
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SOSA, YVONNE                           SOSBY, MICHEALA                        SOSEBEE, BRIAN
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SOSEBEE, MEGAN                         SOSINSKI, ANNA                         SOSINSKI, MARALENA
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SOSINSKI, PETER                        SOSKIN, JENNIFER                       SOSNICK, RAQUEL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOSNICKA, ANNA                         SOSNICKA, ANNA                         SOSNOWICZ, STASHA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOSNOWSKI, JULIE                       SOSNOWSKI, KRISTIE                     SOSSEN, IAN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SOTA, TOBY                             SOTELO, JENIFER                        SOTELO, LISA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SOTERAS, CARLY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SOTO, ANDREA                     Page 4662  of 5495
                                                                           SOTO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOTO, CAITLIN                        SOTO, CARLOS                          SOTO, DALIA
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SOTO, DANIELA                        SOTO, DAVID                           SOTO, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOTO, ELLIOTT                        SOTO, EVELYN                          SOTO, FELIX
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SOTO, FERNANDO                       SOTO, JESSICA                         SOTO, JOSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOTO, JOSEFINA                       SOTO, KALET                           SOTO, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOTO, LAWRENCE                       SOTO, LEEMARIE                        SOTO, LUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOTO, MARCO                          SOTO, MARIEL                          SOTO, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOTO, MONIQUE                        SOTO, MORRISSA                        SOTO, PAOLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOTO, SABRINA                        SOTO, SHANNON                         SOTO, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SOTO, VANESSA         Case 22-11238-LSS    Doc BEN
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                                                                             SOTOMAYOR, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SOTOMAYOR, MARISSA                   SOTOMAYOR, STACEY                       SOTTO, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SOTTONG, SUZY                        SOUARE, MAMADOU C.                      SOUCIE-PORTER, TANAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SOUCY, MARISSA                       SOUDER, JENNIFER                        SOUDER, MANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SOUEID, SARA                         SOUEN                                   SOUFFRANT, YAMILE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SOUL JOEL PRODUCTIONS                SOUL JOEL PRODUCTIONS                   SOULA POULAKIS
155 RAILROAD PLAZA                   2133 HARBOUR DRIVE                      ADDRESS AVAILABLE UPON REQUEST
ROYERSFORD, PA 19468                 PALMYRA, NJ 08065




SOULE, BLAKE                         SOULE, KATHRYN                          SOULES, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SOUNTAS, KAREN                       SOURCE KNOWLEDGE INC.                   SOURCE KNOWLEDGE INC.
ADDRESS AVAILABLE UPON REQUEST       12655 W. JEFFERSON BLVD.                3003 W. OLYMPIC BLVD. STE 106-1042
                                     LOS ANGELES, CA 90066                   LOS ANGELES, CA 90006




SOURDELLIA, TAYLOR                   SOURGEON, TY                            SOURS, JOANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SOUSA, JEFFREY                       SOUSA, JENNIFER                         SOUSA, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SOUSA, MARCI          Case 22-11238-LSS
                                     SOUSA, Doc  2 Filed 11/30/22
                                            MARIANA                       Page 4664
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SOUSLEY, TAMMY                           SOUTER, COURTNEY                      SOUTER, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUTH BAY GARDENS                        SOUTH CAROLINA DEPARTMENT OF          SOUTH CAROLINA DEPARTMENT OF
2501 MANHATTAN BEACH BLVD.               REVENUE & TAXATION                    CONSUMER AFFAIRS
REDONDO BEACH, CA 90278                  SOUTH CAROLINA DEPARTMENT OF          2221 DEVINE ST
                                         REVENUE ATTN: DIRECTOR                STE 200
                                         PO BOX 125                            COLUMBIA, SC 29205-2418
                                         COLUMBIA, SC 29214-0505

SOUTH CAROLINA DEPT OF LABOR,            SOUTH CAROLINA DEPT OF REVENUE        SOUTH CAROLINA SECRETARY OF STATE
LICENSING AND REGULATION                 300A OUTLET POINTE BOULEVARD          1205 PENDLTON ST SUITE 525
1550 GADSDEN STREET                      COLUMBIA, SC 29210                    COLUMBIA, SC 29201
PO BOX 995
COLUMBIA, SC 29202



SOUTH CAROLINA SECURITIES                SOUTH CAROLINA SECURITIES             SOUTH CONGRESS HOTEL
COMMISSIONER                             PO BOX 11549                          ADDRESS UNAVAILABLE AT TIME OF FILING
SOUTH CAROLINA OFFICE OF THE             COLUMBIA, SC 29211-1549
ATTORNEY GENERAL
SECURITIES DIVISION ATTN: LAURA CHURCH
1000 ASSEMBLY ST., 5TH FLOOR
COLUMBIA, SC 29201

SOUTH DAKOTA DEPARTMENT OF REVENUE       SOUTH DAKOTA DEPT OF LABOR            SOUTH DAKOTA DEPT OF REVENUE
445 E CAPITOL AVENUE                     123 W MISSOURI AVE                    445 E CAPITOL AVE
PIERRE, SD 57501                         PIERRE, SD 57501-0405                 PIERRE, SD 57501




SOUTH DAKOTA DIVISION OF INSURANCE       SOUTH, MICHAEL                        SOUTH, MICHELLE
SECURITIES REGULATION                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
124 S. EUCLID AVENUE, 2ND FLOOR
PIERRE, SD 57501




SOUTH, REBEKAH                           SOUTH, SHANNON                        SOUTHALL, JENNIFER
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUTHALL, MARY                           SOUTHALL, REBECCA                     SOUTHAM, RACHAEL
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUTHARD, ANDREW                         SOUTHARD, ASHLEY                      SOUTHARD, CARSON
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SOUTHARD, ELSA        Case 22-11238-LSS    Doc
                                     SOUTHER,   2 Filed 11/30/22
                                              KAYLEE                         Page 4665 of 5495
                                                                                  SOUTHER, MARYKATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST               ADDRESS AVAILABLE UPON REQUEST




SOUTHER, TIMOTHY                        SOUTHERLAND, GREGORY                      SOUTHERLAND, MARCIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SOUTHERN ADVERTISING, INC.              SOUTHERN BABE BOUTIQUE, WHITNEY           SOUTHERN CALIFORNIA EDISON COMPANY
ADDRESS UNAVAILABLE AT TIME OF FILING   ROSS                                      2205 FARADAY AVE, SUITE A
                                        ADDRESS AVAILABLE UPON REQUEST            CARLSBAD, CA 92008




SOUTHERN CALIFORNIA EDISON COMPANY      SOUTHERN CALIFORNIA EDISON COMPANY        SOUTHERN CALIFORNIA MESSENGERS
2244 WALNUT GROVE AVE                   P.O. BOX 6400                             5757 WILSHIRE BLVD, STE 210
ROSEMEAD, CA 91770                      RANCHO CUCAMONGA, CA 91729                LOS ANGELES, CA 90036-3682




SOUTHERN DISTRICT OF CALIFORNIA         SOUTHERN DISTRICT OF CALIFORNIA           SOUTHERN GLAZER’S OF ARKANSAS
880 FRONT ST, ROOM 6293                 IMPERIAL COUNTY OFFICE                    11101 SMITTY LANE
SAN DIEGO, CA 92101-8893                516 INDUSTRY WAY, STE C                   NORTH LITTLE ROCK, AR 72117
                                        IMPERIAL, CA 92251-7501




SOUTHERN GLAZERS WINE & SPIRITS -       SOUTHERN GLAZERS WINE & SPIRITS OF        SOUTHERN GLAZERS WINE & SPIRITS OF
ARIZONA                                 LOUISIANA, LLC                            OHIO
2375 SOUTH 45TH AVE                     1600 NW 163RD STREET                      4800 POTH RD
PHOENIX, AZ 85043                       MIAMI, FL 33169                           COLUMBUS, OH 43213




SOUTHERN GLAZERS WINE & SPIRITS OF      SOUTHERN GLAZERS WINE AND SPIRITS,        SOUTHERN GLAZERS WINE AND SPIRITS,
TENNESSEE                               LLC                                       LLC
6290 SHELBY VIEW                        1600 NW 163RD STREET                      2375 S 45TH AVENUE
MEMPHIS, TN 38134                       MIAMI, FL 33169                           PHOENIX, AZ 85043




SOUTHERN STARZ, INC                     SOUTHERN, ALISON                          SOUTHERN, BRIANNA
5973 ENGINEER DRIVE                     ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
HUNTINGTON BEACH, CA 92649




SOUTHERN, MARIE                         SOUTHERN, SOPHIE                          SOUTHERN, THERESA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SOUTHERS, BROOKE                        SOUTHERTON, MARY                          SOUTHGATE, GINNY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
SOUTHGATE, NICK       Case 22-11238-LSS
                                     SOUTHI,Doc 2 Filed 11/30/22
                                            KATHLEEN                  Page 4666 of 5495
                                                                           SOUTHREN, PAULA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUTHWELL, AUBREY                    SOUTHWELL, MIRANDA                    SOUTHWEST AIRLINES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SOUTHWICK, KEELY                     SOUTTER, KYMBERLI                     SOUTTER, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUVA, LUCAS                         SOUVANNASOTH, MARA                    SOUVANNAVONG, VEOTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUVERAIN, WIDLINE                   SOUVIGNIER, CLARA                     SOUZA, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUZA, GABE                          SOUZA, JOANA                          SOUZA, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUZA, KIMBERLY                      SOUZA, LISA                           SOUZA, MADELEINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOUZA, MELANIE                       SOVACOOL, HANNAH                      SOVAE, JEANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOVDI, ARIEL                         SOVELL, MEGHAN                        SOVEN, LUCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOVEREIGN, DANIELLE                  SOVINO, ESTEFANIA                     SOVOS COMPLIANCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        200 BALLARDVALE ST BUILDING 1, 4TH
                                                                           FLOOR
                                                                           WILMINGTON, MA 01887
SOVULEWSKI, HALEY     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SOWA, HOLLY                      Page 4667  of 5495
                                                                           SOWA, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOWA, MICHAEL                        SOWA, OLIVIA                          SOWARD, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOWARDS, SARAH                       SOWDER, SANDRA                        SOWDERS, JOEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOWDERS, KIMBERLY                    SOWELL, ANISHA                        SOWELL, BOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOWELL, CHARLOTTE                    SOWELL, EILEEN                        SOWERS, MELODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOWERS, MORGAN                       SOWERSBY, MATTHEW                     SOWETO BOOKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOWINSKI, ERIC                       SOWUL, GOSIA AND MAREK                SOYFER, SASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SOYKA, DANIELLE                      SOYKA, PAMELA                         SP COMINO, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        635 BROADWAY 2ND FLOOR
                                                                           SONOMA, CA 95476




SP COMINO, LLC                       SP COMINO, LLC                        SPACCIO, CHRISSY
855 BORDEAUX WAY                     ATTN: MATT TURRENTINE                 ADDRESS AVAILABLE UPON REQUEST
STE 210                              P.O. BOX 12958
NAPA, CA 94558-7568                  SAN LUIS OBISPO, CA 93406




SPACE, KARLI                         SPACEK, ALEXANDRA                     SPACH, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SPACHNER, AMY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SPADA, JENNIFER                    Page 4668
                                                                             SPADA,of 5495
                                                                                   JONNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPADACCIA, DENISE                    SPADAFINO, DONNA                        SPADAFORA, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPADAFORA, GWEN                      SPADARO, CARA                           SPADARO, JIMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPADEA, NICOLE                       SPADER, CHRISTINE                       SPADGENSKE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPADIER, LINDSEY                     SPADO, SCOTT                            SPADY, DEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPAETH, DANIELLE                     SPAETH, FRED & KAREN                    SPAETH, LOUIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPAETH, MELISSA                      SPAETH, MOLLY                           SPAETH, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPAFFORD, GEORGIA                    SPAFINDER                               SPAGG, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SPAGNOLA, MARIA                      SPAGNOLI, MICHELLE                      SPAGNOLO, DOMINIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPAHN, SUSAN                         SPAHR, DENISE                           SPAHR, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SPAID, JACOB          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     SPAID, SHELL                     Page 4669   of 5495
                                                                           SPAIN, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPAIN, REBECCA                       SPAIN, SHANYCE                        SPAIN, WESLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPAK, CHRIS                          SPAKE, GAETAN                         SPAKE, GARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPAKOWSKI, DAWN                      SPALDING, AMY                         SPALDING, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPALDING, JENNIE                     SPALDING, MICHAEL                     SPALDING, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPALLA, LAWRENCE                     SPALLA, SUSAN                         SPALLER, IVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPAMER, LAURA                        SPAMER, SHELLI                        SPAN, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPANDE, ALYSSA                       SPANDET, JULIE                        SPANDIER, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPANGLER, ABIGAIL                    SPANGLER, ABIGAIL                     SPANGLER, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPANGLER, BRAD                       SPANGLER, CAROLE                      SPANGLER, HAYDEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SPANGLER, SANDRA      Case 22-11238-LSS     Doc
                                     SPANIER,    2 Filed 11/30/22
                                              BROOKE                  Page 4670
                                                                           SPANN,of 5495
                                                                                 CLAYTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPANN, JAN                           SPANN-WILLIAMS, ROCHELLE              SPANO, ASHLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPANO, CHRIS                         SPANO, DEIDRA                         SPANO, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPANO, MICHAEL                       SPANOS, BRITTANY                      SPANOS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPANOS, LISA                         SPARACINO, MARY                       SPARACIO, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARACO, JOHN                        SPARBER, MANDY                        SPARBER, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARER, ANNA                         SPARGUR, HALEY                        SPARK TALENT GROUP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8024 STRECKER LANE
                                                                           PLANO, TX 75025




SPARKLE CORPORATION                  SPARKMAN, STEPHANIE                   SPARKS, ADAM
5023 GENESTA AVE                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ENCINO, CA 91316




SPARKS, AUDRIANNA                    SPARKS, BELLE                         SPARKS, BETSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARKS, BRANDON                      SPARKS, CHRIS                         SPARKS, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SPARKS, DAVID         Case 22-11238-LSS
                                     SPARKS,Doc  2 Filed 11/30/22
                                             DEBBRA                   Page 4671 ofELIZABETH
                                                                           SPARKS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARKS, ERIN                         SPARKS, JEFF                          SPARKS, JODIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARKS, KATHRYN                      SPARKS, KELSEY                        SPARKS, KIRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARKS, MICHELLE                     SPARKS, MICHELLE                      SPARKS, NELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARKS, PAT                          SPARKS, PENNY                         SPARKS, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARKS, SUNSHINE                     SPARKS, SUSANNE                       SPARKS, TONJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARLING, JORDAN                     SPARR, MARY                           SPARRER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARROW II, WAYNE                    SPARROW, DESTINY                      SPARROW, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARROW, MICKEY                      SPARROW, SYDNEY                       SPARROW, WAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPARTAN CAPITAL SECURITIES LLC       SPARZAK, TIIA                         SPASSOVA, TSVETELINA
45 BROADWAY, 19TH FLOOR              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10006
SPATACCO, SAMANTHA    Case 22-11238-LSS    DocANNA
                                     SPATAFORA, 2 Filed 11/30/22      Page 4672  of MOLLY
                                                                           SPATARA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPATARELLA, DENISE                   SPATARO, JAIME &                      SPATCHER-LEBLANC, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPATH, DEBRA                         SPATHIAS, RUTH                        SPATOLA, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPATT, MAEVE                         SPATZ, BRIANNA                        SPAULDING, BLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPAULDING, BRENDA                    SPAULDING, BRITTANY                   SPAULDING, DESIREE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPAULDING, JOE                       SPAULDING, KATIE                      SPAULDING, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPAULDING, SAMANTHA                  SPAUSE, TRACEY                        SPAVEN, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPAZIANO, KACEE                      SPAZIANO, SHERRIE                     SPEACHT, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEAKER GUY                          SPEAKER, MONICA                       SPEAKMAN, CHRISTY
28364 S WESTERN AVE STE 140          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
RANCHO PALOS VERDES, CA 90275




SPEAKS, NICOLE                       SPEAR, ERIN                           SPEAR, HAYLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SPEAR, KIMI           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SPEAR, RANDALL                   Page 4673
                                                                           SPEAR,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEARMAN, CORTNI                     SPEARMAN, HOWARD                      SPEARMAN, JAWANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEARMAN, JEN                        SPEARMAN, MEGAN                       SPEARS, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEARS, AMY                          SPEARS, CAROLYN                       SPEARS, CHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEARS, ERIN                         SPEARS, JACKIE                        SPEARS, KAYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEARS, LAUREN                       SPEARS, SABRINA                       SPEARS, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEARS, SAMANTHA                     SPEARS, SAVANNA                       SPEARS, SYLVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEARS, TABATHA                      SPEARS, VICTORIA                      SPEASE, MCKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPECHT, ABBY                         SPECHT, ERIN                          SPECHT, IAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPECHT, JASON                        SPECHT, JENNI                         SPECHT, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SPECHT, MATHEW        Case 22-11238-LSS     Doc
                                     SPECIALE,    2 Filed 11/30/22
                                               ISABELLA                 Page 4674  of 5495
                                                                             SPECIALTY IMPORTS INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           4119 INGRA ST
                                                                              ANCHORAGE, AK 99503




SPECIALTY IMPORTS, INC               SPECK, DENNIS                            SPECK, MAGGIE
4119 INGRA STREET                    ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
ANCHORAGE, AK 99503




SPECKMAN, KAITLYN                    SPECTER, DONNA                           SPECTOR, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPECTOR, COURTNEY                    SPECTOR, DAVID                           SPECTOR, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPECTOR, HENRY                       SPECTOR, JENNIFER                        SPECTOR, JESSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPECTOR, LAURA                       SPECTOR, OLIVIA                          SPECTOR, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPECTOR, TAMIR                       SPECTRUM IN SANTA MONICA, CA             SPECTRUM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




SPEDALE, JOE                         SPEED, ISABELLE                          SPEED, JIMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPEEDY, STEPHANIE                    SPEEGLE, JILLIAN                         SPEEGLE, KRYSS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPEEGLE, SARAH                       SPEELMAN, KALA                           SPEER, CODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
SPEER, COLETTE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SPEER, JEN                       Page 4675
                                                                           SPEER,of 5495
                                                                                 KENDAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEER, LINDSEY                       SPEER, MACKENZIE                      SPEHAR, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEICH, JOSIE                        SPEIDEL, LINDSEY                      SPEIER, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEIGHT, KELSI                       SPEIGHT, SUSAN                        SPEIKES, DEJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEIR, CHERYL                        SPEIR, REGINALD                       SPEISER, ALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEISER, HEATHER                     SPEISMAN, RENA                        SPEKE, RACHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPEKTOR, RONALD                      SPELL, DEANN                          SPELLACY, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPELLANE-NEWMAN, MARY                SPELLER, KIRSTEN                      SPELLER, NASHIMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPELLICY, BRIAN                      SPELLINGS, ANNE                       SPELLINGS, HILARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPELLMAN, ASHLEY                     SPELLMAN, MORGAN                      SPELMAN, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SPELTZ, MADISON       Case 22-11238-LSS
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                                                                             SPENCE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SPENCE, ALAYNA                        SPENCE, ALEXIS                         SPENCE, AMANDA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPENCE, AMIE                          SPENCE, BOBBY                          SPENCE, BRIDGETTE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPENCE, CARIE                         SPENCE, DAVID                          SPENCE, DUANE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPENCE, ELIZABETH                     SPENCE, EMILY                          SPENCE, EVAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPENCE, GALE                          SPENCE, GRACE                          SPENCE, JESSICA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPENCE, JOHN                          SPENCE, JOHN                           SPENCE, KRISTI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPENCE, LAURA                         SPENCE, LESLIE                         SPENCE, MARYANNE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPENCE, NATORI                        SPENCE, REGINALD                       SPENCE, STACY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPENCE, SUE                           SPENCE, WILLIAM                        SPENCER EVERETT LARAMIE JR
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SPENCER HILL          Case 22-11238-LSS    Doc
                                     SPENCER HILL2   Filed 11/30/22   Page 4677 of KUHN
                                                                           SPENCER 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER SCOTT BULLARD                SPENCER, AKILAH                       SPENCER, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, AMBER                       SPENCER, ANASTACIA                    SPENCER, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, ANGELA                      SPENCER, AUSTIN                       SPENCER, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, BRIAN                       SPENCER, CHARLIE                      SPENCER, CHARLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, CHRISTINE                   SPENCER, CINDY                        SPENCER, CYNTIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, DOMINIQUE                   SPENCER, EMILY                        SPENCER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, EMMA                        SPENCER, ERICA                        SPENCER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, ERIN                        SPENCER, FARAH                        SPENCER, FRANCINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, GABRIELLE                   SPENCER, GINA                         SPENCER, GLYNIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SPENCER, HOLLY        Case 22-11238-LSS    Doc
                                     SPENCER,    2 Filed 11/30/22
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                                                                           SPENCER, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, JEANNETTE                   SPENCER, JENN                         SPENCER, JOSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, JOSHUA                      SPENCER, JULIANNE                     SPENCER, KACIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, KATHERINE                   SPENCER, KATIE                        SPENCER, KAYLEEN
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SPENCER, KELLY                       SPENCER, KRISTIN                      SPENCER, LAUREN
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SPENCER, LINDA                       SPENCER, LUIZA                        SPENCER, MARIA
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SPENCER, MARINA                      SPENCER, MCKENNA                      SPENCER, MEAGAN
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SPENCER, MONTANA                     SPENCER, NATALIE                      SPENCER, NICK
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SPENCER, NICKI                       SPENCER, OLIVIA                       SPENCER, RANDALL
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SPENCER, REED                        SPENCER, SARAH                        SPENCER, SHARON
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SPENCER, SORAYA       Case 22-11238-LSS    Doc
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                                                                           SPENCER, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPENCER, VICTORIA                    SPENCER, WILL                         SPENCERS FRESH MARKET
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SPENSLEY, KENZIE                     SPENSLEY, SARA                        SPERANZA, CAROL
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SPERBER, BRITTANY                    SPERBER, MARIE                        SPERBER, SARAH
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SPERBER, ZOE                         SPERIN, CYNTHIA                       SPERLING, CORIANN
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SPERLING, DAVID                      SPERMAN, NICOLE                       SPEROS, MELISSA
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SPEROW, ELISABETH                    SPERR, GRACE                          SPERRAZZA, ANGIE
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SPERRY, JEFFREY                      SPERRY, JOHN                          SPERRY, LISA
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SPERRY, NICHOLE                      SPERRY, SARAH                         SPESHOCK, SHANNON
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SPETH, ALANA                         SPETH, LYNETTE                        SPEZIALE, JOSEPH
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SPICA, SAMANTHA       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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SPICER, AUTUMN                       SPICER, BRITTANY                      SPICER, DIANA
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SPICER, DREW                         SPICER, ELISABETH                     SPICK, JASON
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SPICOLA, ERNEST                      SPIEGEL, BRANDON                      SPIEGEL, BRIAN
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SPIEGEL, ELANA                       SPIEGEL, JAMES                        SPIEGEL, MADELINE
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SPIEGEL, MEGAN                       SPIEGEL, MICHELLE                     SPIEGEL, RACHEL
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SPIEKERMAN, ALLIE                    SPIEKERMANN, ELAINA                   SPIEL, AVERY
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SPIELER, MARTY                       SPIELMAN, LAUREN                      SPIER, AMANDA
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SPIER, CLARA                         SPIERING, DIANE                       SPIES, ASHLEY
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SPIES, ERIC                          SPIES, JENNIFER                       SPIESS, JOEL
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SPIESS, NATALIE       Case 22-11238-LSS     Doc
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SPIEZIA, JOHN                        SPIEZIO, THALIA LEA                   SPIKA, KATIE
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SPIKER, LONI                         SPIKER, RACHAEL                       SPIKER, ROBIN
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SPIKER-DEWEY, BEN                    SPIKES, CHRISTINE                     SPIKES, JAMES
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SPIKES, LATORIA                      SPIKES, MONAI                         SPIKNER, EXAVIER
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SPILKER, ERIKA                       SPILKER, SARA                         SPILLANE, AMY
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SPILLANE, CALLIE                     SPILLANE, NUALA                       SPILLAR, BECKY
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SPILLAR, MEGAN                       SPILLER, SAVANNAH BLISS               SPILLER, SHERISE
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SPILLERS, DUSTIN                     SPILLERS, STACEY                      SPILLMANN, SOPHIE
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SPILMAN, ROBERT                      SPINA, ELENA                          SPINA, MARC
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SPINALE, STEVEN       Case 22-11238-LSS     Doc
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                                                                             SPINDLER, KRISTA
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SPINDLER, PAUL                       SPINDLER-RANTA, COLLEEN                  SPINELLA, AMANDA
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SPINELLA, STACY                      SPINELLI, CARLA                          SPINELLI, CHRISTINA
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SPINELLI, DIANA                      SPINELLI, LOUIS                          SPINELLI, LYNNETTE
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SPINELLI, MICHELLE                   SPINELLO, MEGAN                          SPINK, CHANDLER
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SPINK, SERAFINA                      SPINKS, NATHANAEL                        SPINKS, TRINITY
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SPINNATO, ALLISON                    SPINNER, CINDY                           SPINNER, MADELINE
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SPINNER, MEL                         SPINOSA, CHRISTINE                       SPINOSA, ROSEANN
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SPIOTTA, BETHANN                     SPIOTTA, DOROTHY                         SPIRER, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPIRES, MEGAN                        SPIRIT AIRLINES                          SPIRIT ANIMAL COOPERATIVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    7011 BONNAFAIR DR
                                                                              HERMITAGE, TN 37076
SPIRIT HALLOWEEN      Case 22-11238-LSS     Doc
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SPIROPOULOS, GINA                     SPISAK, LINDSEY                       SPISHAK, MAGGIE
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SPISHOCK, EMILY                       SPITALE, CAROL                        SPITALERI, MATTHEW
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SPITALETTO, CHRISTOPHER               SPITERI, LAUREN                       SPITLER, KATHRYN
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SPITNALE, LISA                        SPITTLER, JESSICA                     SPITZ, JILL
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SPITZ, LAUREN                         SPITZACK, MELISSA                     SPITZENBERGER, ROBIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPITZER, ADAM                         SPITZER, DAN                          SPITZER, M
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SPITZFADEN, CHARLOTTE                 SPITZNOGLE, SARAH                     SPITZNOGLE, STEPHANIE
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SPIVA, JOSHUA                         SPIVACK, CAROLYN                      SPIVACK, ERIKA
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SPIVAK, ALLA                          SPIVAK, JASON                         SPIVAK, NICOLE
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SPIVEY, AMY           Case 22-11238-LSS
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SPIVEY, BLAINE                          SPIVEY, BROOKE                        SPIVEY, GEOFFREY
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SPIVEY, JILL                            SPIVEY, KATE                          SPIVEY, LEIGH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPIVEY, MARIECHEN                       SPIVEY, NICK                          SPIVEY, OLIVIA
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SPIVEY, ROWAN                           SPIVEY, RUSTY                         SPIVEY, SARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPL PACKAGES                            SPLAIN, AMY                           SPLAINE, JACK
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SPLAN, ALEXANDRA                        SPLET, CHRISTOPHER                    SPLITEK, MELINDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPLITTORFF, ERIN                        SPOEHR, EMMA                          SPOEHR, JEAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPOELKER, PHILIP                        SPOFFORD, LOUISA                      SPOHN, JILL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPOHR, SARAH                            SPOILED MEDIA                         SPOILED MEDIA
ADDRESS AVAILABLE UPON REQUEST          115 W 18TH ST. 2004                   135 MADISON AVENUE, 5TH FLOOR
                                        NEW YORK, NY 10011                    NEW YORK, NY 10016
                         Case 22-11238-LSS
SPOILS MEDIA, INC. (STELLASPOILS)             DocJESSICA
                                        SPOLARICH, 2 Filed 11/30/22      Page 4685  of 5495
                                                                              SPOLJORIC, MADELAINE
SPOILS MEDIA, INC.                      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
50 GRAND STREET, 4F
NEW YORK, NY 10013




SPOLLEN, BRIAN                          SPOMER, COLTON                         SPONAUGLE, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPONG, LISA                             SPONHEIM, KATELYN                      SPONSELLER, DEBRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPONSELLER, MICHAEL                     SPOON, JENNIFER                        SPOON, MATTHEW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPOON, TRISH                            SPOONER, KATIE                         SPOONER, MARGARET
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SPOONIRE, MICAELA                       SPORCIC, DIANNA                        SPORE, TED
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SPORLEDER, KELSEY                       SPORLEDER, MICHELLE                    SPORRE, MEGHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPORT CHALET                            SPORTMAN, SARAH                        SPOSATO, CHARLES
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPOSATO, MEGHAN                         SPOSETO, JENNIFER                      SPOSITO, SALLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPOTA, TODD                             SPOTIFY USA INC.                       SPOTIFY USA INC.
ADDRESS AVAILABLE UPON REQUEST          45 WEST 18TH STREET, 7TH FLOOR         DEPT CH 16773
                                        NEW YORK, NY 10011                     PALATINE, IL 60055-6773
SPOTLESON, CARL       Case 22-11238-LSS
                                     SPOTO, Doc  2 Filed 11/30/22
                                            ELIZABETH                 Page 4686 of 5495
                                                                           SPOTTECK, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPOTTS, AMY                          SPOTTS, JENNIFER                      SPOTTSWOOD, SAVOLIA
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SPRADLIN, HALLIE                     SPRADLIN, KYRA                        SPRADLIN, LAUREN
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SPRADLIN, RICHARD                    SPRADLIN, SARA                        SPRADLING, ALY
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SPRADLING, KATHARINE                 SPRADLING, LEIA                       SPRADLING, MARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRAGUE, AMBER                       SPRAGUE, DONNA                        SPRAGUE, EILEEN
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SPRAGUE, GRISSELLE                   SPRAGUE, JESSICA                      SPRAGUE, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRAGUE, KATHERINE                   SPRAGUE, KENDRA                       SPRAGUE, LAURENCE
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SPRAGUE, MARGEUX                     SPRAGUE, MARK                         SPRAGUE, MELISSA
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SPRAGUE, RACHEL                      SPRAGUE, SHERI                        SPRAGUE, UNIQUE
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SPRAGUE, ZACH         Case 22-11238-LSS    Doc
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                                                                           SPRANGER, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRATFORD, SABRINA                   SPRATLING, ROBIN                      SPRATT, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRATTE, KATY                        SPRAY, JOSIE                          SPREHE, KEVIN
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SPRENGEL, JENN                       SPRESSART, SHELBY                     SPRIGGS, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRIGGS, ANGELINA                    SPRIGGS, COURTNEY                     SPRIGGS, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRIGGS, SHAWNA                      SPRING MOUNTAIN VINEYARD, INC.        SPRING, CASSIDY
ADDRESS AVAILABLE UPON REQUEST       2805 SPRING MOUNTAIN ROAD             ADDRESS AVAILABLE UPON REQUEST
                                     SAINT HELENA, CA 94574




SPRING, HEIDI                        SPRING, HENRY                         SPRING, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRING, LEANNE                       SPRING, MARY                          SPRING, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRINGATE, MEG                       SPRINGBORN, ANDRES                    SPRINGER, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SPRINGER, ALYSSA                     SPRINGER, ANTIGONE                    SPRINGER, BIANCA
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SPRINGER, CHRISTINE   Case 22-11238-LSS    Doc
                                     SPRINGER,   2 Filed 11/30/22
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                                                                             SPRINGER, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPRINGER, JAMES                      SPRINGER, JENNIFER                       SPRINGER, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPRINGER, SHAWN                      SPRINGER, SONIA                          SPRINGETT, CHRISTAL OR TED
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SPRINGFIELD, SUSAN                   SPRINGMAN, HILARY                        SPRINGSGUTH, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SPRINGSTEEN, HOWARD                  SPRINKLE, EMILY                          SPRINKLE, ERIN
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SPRINKLE, WILLIAM                    SPROCKETT, DANIELLE                      SPROED, BRANDON
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SPROLE, MADISON                      SPROLES, LAUREN                          SPROTT, MELANIE
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SPROUL, KALYN                        SPROUL, REBECCA                          SPROULL, AMY
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SPROULL, EMILY                       SPROUSE, BARBARA                         SPROUSE, ELIZABETH
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SPROUSE, SAMANTHA                    SPROUT CAFE                              SPROUTS FARMERS MARKET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING
SPROWAL, SHALIKA      Case 22-11238-LSS
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                                             MEDIA,                     Page 4689 of HANNAH
                                                                             SPRUELL, 5495
ADDRESS AVAILABLE UPON REQUEST       75 REMITTANCE DRIVE SUITE 6520          ADDRESS AVAILABLE UPON REQUEST
                                     CHICAGO, IL 60675-6520




SPRUILL, DONNA                        SPRUILL, KIRSTEN                       SPRUILL, MARY-VAUGHAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPRUILL’S, ALTHEA N                   SPRUNGMAN, ROBERT                      SPRY, COURTNEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPRY, JACLYN                          SPRY, KATHLEEN                         SPRY, KIM
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SPRY, LINDA                           SPRYGADA, PETER                        SPRYNCZYNATYK, LYNETTE
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SPUDIC, KEVIN                         SPULER, AMANDA                         SPUNG, TAYLOR
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SPURGEON, BRIANA                      SPURGEON, DEBBIE                       SPURGEON, JAMIE
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SPURGEON, KOURTNEY                    SPURGIN, COOPER                        SPURGIN, DAVID
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SPURGIN, KATIE                        SPURKELAND, SONJA                      SPURLIN, JESSICA
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SPURLING, DENAYE                      SPURLING, HEATHER                      SPURLOCK, GENA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




SPURLOCK, SYDNEY                        SPURRELL, JUDITH                           SPYGLASS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS UNAVAILABLE AT TIME OF FILING




SPYKER, UYEN                            SPYRES, ERICA                              SQ CALIFORNIA JUICE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS UNAVAILABLE AT TIME OF FILING




SQ CULINARY CAFE                        SQUAR MILNER LLP                           SQUARCIAFICO, MARY
ADDRESS UNAVAILABLE AT TIME OF FILING   4100 NEWPORT PLACE DRIVE, SUITE 100        ADDRESS AVAILABLE UPON REQUEST
                                        NEWPORT BEACH, CA 92660




SQUARE ONE BANK                         SQUARESPACE (FINKES)                       SQUARESPACE (RUZA)
406 BLACKWELL STREET SUITE 240          ADDRESS UNAVAILABLE AT TIME OF FILING      ADDRESS UNAVAILABLE AT TIME OF FILING
DURHAM, NC 27701




SQUARESPACE, INC.                       SQUEGLIA, AMARILYS                         SQUEGLIA, EDITH
8 CLARKSON ST                           ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10014




SQUIBB, DENISE                          SQUIER, KATE                               SQUIER, MEGHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




SQUIERS, NICOLE                         SQUILLACOTE, ROSA                          SQUILLANTE, KIMBERLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




SQUILLARIO, VALERIE                     SQUIRE, AZIA                               SQUIRE, KAYLEY
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SQUIRES, BECKY                          SQUIRES, CHANDLER                          SQUIRES, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
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SQUIRES, TODD                           SQUIRES-HENRY, KAMALA                  SQUYRES, AJ
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SR METERS                               SRAIN, JARON                           SREBNICK, LEE
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SREBNICK, TAYLOR                        SREEDASYAM, MAHESH                     SREENATHA PALNATI
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SREENIVASAN, SAI                        SREENIVASREDDY MUDUGANTI               SREERAM, BHAVANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SREJMA, VINCE                           SRENG, RYANN                           SRIDHARAMURTHY, ROHAN
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SRIGLEY, THOMAS                         SRIHA, MOHAMED                         SRIKANTH R KUNAPARAJU
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SRIKANTH RAJU                           SRINIVAS, NIVEDITA                     SRINIVASAN NARAYANAN
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SRINIVASAN, JARED                       SRINIVASAN, MEGHANA                    SRINIVASAN, ROSHINI GOVINDARAJ
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SRINIVASAN, VARADARAJA                  SRINIVASULU, PERURI                    SRIRAM KANNAN
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SRIRAM, SHRUTHI       Case 22-11238-LSS
                                     SRIRAM,Doc 2 Filed 11/30/22
                                            SMRUTHI                      Page 4692  of 5495
                                                                              SRIVASTAVA, ANIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SRIVASTAVA, ASHISH                      SRIVASTAVA, DHRUV                      SRIVASTAVA, GAURI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SRIVASTAVA, INDRAJIT                    SRIVASTAVA, RICHA                      SRIVASTAVA, RISHABH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SRIVASTAVA, SHERYL                      SRIVATANA, DEE                         SRIVATHSAN, BHARGAVI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SRK HOSPITALITY LLC                     SRODA, RACHAEL                         SROLOVITZ, JOSHUA
814 NORTH 26TH STREET                   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
MILWAUKEE, WI 53233




SROUFE, CHERYL                          SROUJI, DONNA                          SROUJI, JUSTINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SROUR, ALLISON                          SROUR, MARY                            SSMITH-PARKER, LUCILLE
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SSR SOUND SYSTEM                        ST AMANT, KIRA                         ST CIN, PAUL
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ST CLAIR, ASHLEY                        ST CLAIR, STEPHANIE                    ST GEORGE, CINDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST GEORGE, KATHERINE                    ST GOURDIN, MARC                       ST HOLMES, RHONDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ST JOHN, COLIN        Case 22-11238-LSS     Doc
                                     ST JOHN,     2 Filed 11/30/22
                                              ELIZABETH               Page 4693  ofJENNIFER
                                                                           ST JOHN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST JOHN, LAUREN                      ST JOHN, MICHAEL                       ST JOHN, SHONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST LEDGER, LAUREN                    ST LOUIS, CHRISTIAN                    ST MARKS COFFEE HOUSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




ST PIERRE, DIANA                     ST, CHRIS                              ST, GERTRUDE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST, JAMES                            ST. AMOUR, MARK                        ST. CLAIR, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST. CLAIR, MICHAEL                   ST. CLAIR, NICOLAS                     ST. CLAIR, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST. COEUR, KELLEY                    ST. CYR, MICHELLE-LACY                 ST. GERMAIN, SIDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST. HELEN, BOB                       ST. JAMES, KERRY                       ST. JARRE, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST. JEAN, LEVINIA                    ST. JOHN, ISAAC                        ST. JOHN, JANELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST. JOHN, KELLEY                     ST. LUCIA, CARLEY                      ST. MARIE, TANYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ST. ONGE, DEBBIE      Case 22-11238-LSS     Doc
                                     ST. PETER,   2 Filed 11/30/22
                                                KRISTEN                  Page 4694   of 5495
                                                                              ST. PETER, LYNDSEY
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ST. PIERRE, BEN                         ST. PIERRE, PAUL                       ST. REGIS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




ST. VINCENT TAVERN                      ST. VINCENT, AMBER                     ST., CRYSTAL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST., LAUREN                             ST.CLAIR, CHEYENNE                     ST.CLAIR, PEGGY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ST.JAMES, DOUG                          ST.ONGE, JESSICA                       ST.ONGE, KRISTEN
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STA ANA, JOAN                           STAAB, BRYAN                           STAAF, JULIE
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STAAL, TAISIA                           STAAR, MEGAN                           STAATS, ALEXANDRA
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STAATS, DYLAN                           STAATS, ETHAN                          STAATS, JULIE
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STABEL, MELISSA                         STABELL, JENNY                         STABILE, CHERI
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STABILE, GRACIELA                       STABILE, MORGAN                        STABILE, PATRICIA
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STABILE, SHARON       Case 22-11238-LSS     Doc
                                     STABINER,    2 Filed 11/30/22
                                               JASON                  Page 4695  of 5495
                                                                           STABLEIN, MICHELE
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STABOSZ, CASEY                       STACEY BOGART                          STACEY CRUMRINE
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STACEY JOHNSTON                      STACEY LEWIS                           STACEY NOUNNAN
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STACEY THAYER                        STACEY, ELIZABETH                      STACEY, LESLIE
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STACEY, LOREN                        STACEY, ROSE                           STACH, TODD
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STACHEL, ANNA                        STACHELEK, NELA                        STACHOKUS, RACHEL
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STACHOWIAK, KADY                     STACHOWIAK, KIERA                      STACHURA, AMANDA
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STACHURA, DANIEL                     STACIA PARKER                          STACIA SCHUELE
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STACIE LAGATTUTA                     STACK COMMERCE                         STACK EXCHANGE
ADDRESS AVAILABLE UPON REQUEST       21 MARKET STREET                       ADDRESS UNAVAILABLE AT TIME OF FILING
                                     VENICE, CA 90291




STACK, ALYSSA                        STACK, AMBER                           STACK, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STACK, DAVID          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     STACK, KRISTIN                   Page 4696
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STACK, LAURE                         STACK, LINDA                          STACK, MIKE
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STACK, SHANNON                       STACK, TERESA                         STACK, TRACY
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STACK, VERONICA                      STACKHOUSE, JAMES                     STACKHOUSE, LACEY
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STACKHOUSE, SUZANNE                  STACKMAN, ERIC                        STACKMAN, TINA
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STACY BAGLEY                         STACY CAMPBELL                        STACY HOENIGMANN
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STACY HORTON                         STACY SHAHLA                          STACY WELLE
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STACY, BRIAN                         STACY, BRYANT                         STACY, ERIN
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STACY, FOX                           STACY, JAIME                          STACY, JESSICA
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STACY, KELLY                         STACY, LAURA                          STACY, SHEILA
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STACY, ZACH           Case 22-11238-LSS    DocMARY
                                     STADELMAN, 2 Filed 11/30/22      Page 4697  of 5495
                                                                           STADELMAN, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STADHEIM, EMILY                      STADHEIM, KATIE                        STADLEN, TAMI
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STADLER, DREW                        STADLER, HOPE                          STADLER, JESSIE
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STADLER, KRISTOPHER                  STADLER, MONTSERRAT                    STADNIK, LILY
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STADOLNIK, ANN                       STADTERMAN, DAVE                       STADTMUELLER, AMIE
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STADTMUELLER, AMIE                   STADTMUELLER, LYNDSEY                  STADUM, JOE
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STAEBEN, ERIN                        STAELEN, DANIELLE                      STAELENS, MARIAH
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STAFF, BETSY                         STAFFIERI, ESTELLE                     STAFFIERI, KIMBERLEE
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STAFFIERI, MICHELLE                  STAFFORD, ANDREW                       STAFFORD, AUSTIN
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STAFFORD, CARLY                      STAFFORD, CERIDWYN                     STAFFORD, COLLEEN
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STAFFORD, ELIZABETH   Case 22-11238-LSS    DocERIN
                                     STAFFORD,  2 Filed 11/30/22        Page 4698  of 5495
                                                                             STAFFORD, ERIN
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STAFFORD, GEORGE                     STAFFORD, JOSEPH                        STAFFORD, KAREN
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STAFFORD, LATOYA                     STAFFORD, LILIANA                       STAFFORD, MARGARET
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STAFFORD, MARY ANN                   STAFFORD, MARY                          STAFFORD, MICHALYN
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STAFFORD, MONA                       STAFFORD, RITA                          STAFFORD, SARA
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STAFFORD, SARA                       STAFFORD, SHARON                        STAFFORD, STEPHANIE
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STAFFORD, TARA                       STAFFORD, TONYA                         STAFFORD-MATTHEWS, BARBARA
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STAGE, MONIQUE                       STAGECOACH                              STAGER, GARRETT
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STAGER, KARLI                        STAGG, ALEXANDER                        STAGG, ANGELA
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STAGG, BILL                          STAGG, HEATHER                          STAGG, WINSTON
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STAGGS, AMY           Case 22-11238-LSS
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                                                                           STAGICH, 5495
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STAGNER, KAYCEE                      STAGNER, MARCY                        STAGNITTA, TALIA
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STAHL, ANN                           STAHL, ANNA                           STAHL, BRINLEE
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STAHL, DAVID                         STAHL, JAMEE                          STAHL, KAYLA
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STAHL, MOLLY                         STAHL, PATRICIA                       STAHL, SIERRA
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STAHL, STEPHANIE                     STAHL, TERRY                          STAHL, TRACY
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STAHL, TYLER                         STAHL, ZACH                           STAHLER, BRIAN
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STAHLEY, SOPHIE                      STAHLKUPPE, TAYLER                    STAHLMANN, BRIANNA
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STAHMER, ERIC                        STAHN, MACKENZIE                      STAHURSKI, DAVID
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STAIB, JUDITH                        STAIGLE, AMBER                        STAINBACK, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STAINBROOK, DIANNA    Case 22-11238-LSS
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                                                                           STAINER, 5495
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STAINS, JONNI                        STAIR, TERRI                          STAIR, TODD
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STAIRS, LAURA                        STAJEK, GABRIELA                      STAKELUM, BRITTANY
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STAKELY, ELLEN                       STAKER, MEGAN                         STAKIAS, TESS
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STAKOR, CAITLIN                      STAL, DANIELLE                        STALAZS, RAITIS
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STALBAUM, NORM                       STALBERGER, ALLISON                   STALCUP, CHRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STALETOVIC, NATALIJA                 STALEY, CAROLYN                       STALEY, DORIS
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STALEY, GERALDINE                    STALEY, JESSICA                       STALEY, JESSICA
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STALEY, KEVIN                        STALEY, KRYSTAL                       STALEY, SHATEISHA
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STALEY, TIM                          STALFORD, BRITTANY                    STALFORT, MAGGIE
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STALICA, JUDY         Case 22-11238-LSS    Doc
                                     STALKER,    2 Filed 11/30/22
                                              TIMOTHY                 Page 4701   of 5495
                                                                           STALL, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STALLARD, CARRYE                     STALLARD, SETH                        STALLARD, STEPHANIE
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STALLBAUMER, LAUREN                  STALLCUP, ELLEN                       STALLCUP, SARA
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STALLER, LAUREN                      STALLING, DANA                        STALLING, MIKE
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STALLINGS, ERIKA                     STALLINGS, GEORGE BRENT               STALLINGS, KATHY
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STALLINGS, LINDSAY                   STALLINGS, MAGGIE                     STALLINGS, MELANIE
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STALLINGS, TAYLOR                    STALLMANN, ANNA                       STALLON, ROBIN
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STALLSMITH, MARY                     STALLWORTH, CHANDEL                   STALLWORTH, TRACY
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STALNAKER, LESLIE                    STALNAKER, RIDGE                      STALONS, MOLLY
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STALOWY, KATELYN                     STALTERI, DOMENIC                     STALVEY, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STALVEY, CAROLINE     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     STAM, JESSICA                    Page 4702 of 5495
                                                                           STAMARIS, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMAS, TIFFANEY                     STAMATIOU, ALEXANDRIA                  STAMATIS, ANGELIA
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STAMATIS, KRISTEN & JUSTIN           STAMATO, CATHERINE                     STAMATOPOULOS, TIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMATOYANNAKIS, PATRICIA            STAMBAUGH, ALEXIS                      STAMBAUGH, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMBAUGH, JESSICA                   STAMBAUGH, KALLIE                      STAMBAUGH, TIFFANIE
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STAMBORSKI, KATHARINE                STAMERJOHN, ELLIE                      STAMM, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMM, JAMIE                         STAMM, RACHEL                          STAMM, SANJANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMMBERGER, JEN                     STAMMEN, KATRINA                       STAMOS, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMOS, JENNIFER                     STAMOULIS, SPIROS                      STAMP, BECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMP, CHRISTANNA                    STAMP, KAYLA                           STAMP, KENZIE
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STAMPED.IO            Case 22-11238-LSS     Doc
                                      STAMPER,    2 Filed 11/30/22
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                                                                            STAMPER, VICTORIA
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMPFLI, DAVE                        STAMPKE, AMIE                          STAMPKE, PATRICK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAMPS.COM                            STAN, MAX                              STAN, VITO
PO BOX 202928                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DALLAS, TX 75320-2928




STANBACH, TRISHA                      STANBERRY, MATTHEW                     STANBERY, LANI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STANCIL JR, GLENWOOD                  STANCIL, BRIAN                         STANCIL, CAROLINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STANCILL, JENNIFER                    STANCZYK, ALEXIS                       STANCZYK, STEPHANIE
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STANDARD, JESSE                       STANDARD, TYLER                        STANDEFER, KATHERINE
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STANDEN, ERIN                         STANDIFER, BRINLEY                     STANDIFER, CAITLIN
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STANDIFER, CHRIS                      STANDIFER, TONI                        STANDING, THOMAS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STANDISH, STEFFANIE                   STANDISH, TYLER                        STANDLEY MURRAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STANDLEY, DANIELLE    Case 22-11238-LSS    Doc
                                     STANDLEY,   2 Filed 11/30/22
                                               MICHAEL                Page 4704 of 5495
                                                                           STANDRIDGE, CATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STANEK, JUDI                         STANEK, MELANIE                        STANEK, MICHAEL
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STANEK, MICHELLE                     STANEK, RACHAEL                        STANFIELD, CARRIE
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STANFIELD, GAYLE                     STANFIELD, GREG                        STANFIELD, JOSEPH
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STANFIELD, NICOLE                    STANFILL, ELLEN                        STANFILL, SYDNEY
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STANFORD, AMBER                      STANFORD, HOLLI                        STANFORD, KALEIGH
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STANFORD, KATHLEEN                   STANFORD, KERREY                       STANFORD, KIM
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STANFORD, LA SHAWN                   STANFORD, LINDSEY                      STANFORD, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STANFORD, SHANNON                    STANFORD, WENDY                        STANG, MACKENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STANGE, BENJAMIN                     STANGE, JACQUELYN                      STANGE, KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STANGE, KEN           Case 22-11238-LSS
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                                                                           STANGEBYE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANGEL, TRACY                       STANGEL, WHITNEY                      STANGER, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANGER, STEVE                       STANGER, VIVIAN                       STANGL, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANGL, KRISTIN                      STANGLE, SEAN                         STANGLIN, SANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANGRET, DIANNA                     STANINGER, SUNSARA                    STANISLAUS, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANISLAV RUDOI                      STANISLAW, BABULA                     STANISLAW, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANISZEWSKI, LAUREN                 STANIZZI, JONATHAN                    STANKE, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANKEY, ANDREW                      STANKIEWICZ, SARAH                    STANKOSKI, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANKOVICH, DONALD                   STANKOWSKI, HEATHER                   STANKUS, JANINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLAND, MEGAN                      STANLEY BLACK & DECKER, DAVID         STANLEY DAVID
ADDRESS AVAILABLE UPON REQUEST       JACKSON - SYSTEMS                     ADDRESS AVAILABLE UPON REQUEST
                                     ADDRESS AVAILABLE UPON REQUEST
STANLEY G RABALAIS JR Case 22-11238-LSS    Doc
                                     STANLEY    2 Filed 11/30/22
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                                                                           STANLEY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, BERNICE                     STANLEY, CASSANDRA                    STANLEY, CODY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, CRISTIN                     STANLEY, DANIELLE                     STANLEY, DINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, EMMA                        STANLEY, HUNTER J.                    STANLEY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, JENNIFER                    STANLEY, JENNIFER                     STANLEY, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, KAREN                       STANLEY, KRISTA                       STANLEY, KRISTAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, KYLA                        STANLEY, LAURA                        STANLEY, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, MADISON                     STANLEY, MATTHEW                      STANLEY, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, MEGAN                       STANLEY, NANETTE                      STANLEY, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANLEY, ROBIN                       STANLEY, TANISHA                      STANLEY, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STANLEY, TRAVIS       Case 22-11238-LSS    Doc
                                     STANLEY,    2 Filed 11/30/22
                                              WILLIAM                 Page 4707  of 5495 TRINITY
                                                                           STANLEY-SKABLA,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANMYER, HILARY                     STANNARD, JAN                         STANNER, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANOCH, JOSEPH                      STANOSZ, JAMEY                        STANSBARGER, MINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANSBERRY, JENNIFER                 STANSBERRY, KAREN                     STANSBURY, GABRIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANSBURY, KULLEN                    STANSBURY, TODD                       STANSBURY, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANSELL, ALEXANDRIA                 STANSELL, JACKIE                      STANSFIELD, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANTON, ANGELA                      STANTON, ASHLEY                       STANTON, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANTON, ELLYN                       STANTON, EMMA                         STANTON, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANTON, JOYCE                       STANTON, KEATON                       STANTON, KENADY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANTON, MARY                        STANTON, MEGAN                        STANTON, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STANTON, MOIRA        Case 22-11238-LSS    Doc
                                     STANTON,    2 Filed 11/30/22
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                                                                           STANTON, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANULA, NICKI                       STANULEWICH, CASEY                    STANUSH, SHERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANZAK, JAIME                       STANZIANI, SARA                       STANZIONE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STANZIONE, GIANPIERO                 STAPELMANN, DAYLE                     STAPLEFORD, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STAPLES ADVANTAGE                    STAPLES                               STAPLES, DIANA
DEPT LA PO BOX 83689                 500 STAPLES DRIVE                     ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60696-3689               FRAMINGHAM, MA 01702




STAPLES, ERIN                        STAPLES, KIM                          STAPLES, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STAPLES, LEAH                        STAPLES, MEGAN                        STAPLES, SIERRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STAPLES, SUSAN                       STAPLES, YOLANDA                      STAPLES-BWSC
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STAPLETON, ALBA                      STAPLETON, ANDRIA                     STAPLETON, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STAPLETON, COURTNEY                  STAPLETON, ERICA                      STAPLETON, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STAPLETON, KAREN      Case 22-11238-LSS    DocLISA
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                                                                              STAPLETON, MARIE
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STAPLETON, ROYSTON                      STAPLETON, TREVOR                      STAPLEY, PAULA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAPP, KAT                              STAPPARD, JULIETTE                     STAPPERT, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAR LANE AND DIERBERG VINEYARDS, LLC   STAR, ALEX                             STAR, AMANDA
2121 ALISOS RD                          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SANTA YNEZ, CA 93460




STARBLE, KATIE                          STARBUCK, KARINA                       STARBUCKS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




STARCEVICH, KYLE                        STARCEVICH, MICHELLE                   STARCHER, MAEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STARCHER, SHERRI                        STARCK, ROBIN                          STAREK, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STAREK, STEPHANIE                       STARESINIC, MICHAEL                    STARGHILL, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STARIE, STEPHANIE                       STARIN, JARED                          STARINSKY, ALYSSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STARK HERNANDEZ, KELLY                  STARK SOMMERS, SARAH                   STARK WINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         441 HEALDSBURG AVE.
                                                                               HEALDSBURG, CA 95448
STARK, AMY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     STARK, ANDREA                    Page 4710
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARK, CAITLIN                       STARK, CHRIS                          STARK, CHRIS
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STARK, CHRISTOPHER                   STARK, COURTNEY                       STARK, DESIREE
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STARK, EDEN                          STARK, FATIMA                         STARK, HALEY
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STARK, JEANETTE                      STARK, JENNIFER                       STARK, JENNY
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STARK, JESSICA                       STARK, KATE                           STARK, KATYA
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STARK, KIM                           STARK, KRISTI                         STARK, LAUREN
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STARK, MEG                           STARK, MIKE                           STARK, NATALIE
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STARK, NICHOLAS                      STARK, NINA                           STARK, RIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARK, SAMANTHA                      STARK, SHELBY                         STARK, SHERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STARK, SUZANNE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     STARK, SYDNEY                     Page 4711
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                                                                                   VICTORIA
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STARK, WES                           STARK, WILLIAM                          STARKE, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STARKE, HANNAH                       STARKE, LINDSEY                         STARKE, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STARKEL, KELLY                       STARKEL, SHEENA                         STARKENBURG, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STARKER, ELIZABETH                   STARKER, GERE                           STARKEY, CYNTHIA
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STARKEY, EDWARD                      STARKEY, JESSICA                        STARKEY, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STARKEY, SANDRA                      STARKS, ALEX                            STARKS, ALVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STARKS, ELIZABETH                    STARKS, ERIN                            STARKS, JAYLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STARKS, REBECCA                      STARKS, SAM                             STARKS, WAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STARKWEATHER, CATHY                  STARLIGHT IGUANA                        STARLING, AMBER
ADDRESS AVAILABLE UPON REQUEST       972 E CALIFORNIA BLVD, UNIT 105         ADDRESS AVAILABLE UPON REQUEST
                                     PASADENA, CA 91106
STARLING, HEGE        Case 22-11238-LSS     Doc
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                                               MICHELLE               Page 4712 of BETTY
                                                                           STARNES, 5495 LOU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARNES, JENNIFER                    STARNES, JILL                         STARNES, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARNES, LINDSEY                     STARNES, LORI                         STARNES, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARNES, SHANNA                      STAROSCIAK, ANGELA                    STAROSCIK, JAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STAROSTA, MARIA                      STARR, AARON                          STARR, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARR, ALLEGRA                       STARR, ASHLEE                         STARR, BENJAMIN
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STARR, BRIDGETTE                     STARR, BRITTANY                       STARR, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARR, CATHERINE                     STARR, CHERYL                         STARR, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARR, DAVID                         STARR, GARY                           STARR, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STARR, REBECCA                       STARR, RUTH                           STARRETT, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STARRETT, STEPHANIE   Case 22-11238-LSS    Doc 2RACHEL
                                     STARR-GLASS,    Filed 11/30/22      Page 4713 ofSHELLY
                                                                              STARRY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




START ELEVATOR, KAREN MAGUIRE         START, SARAH                            STARTZ, ELOISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STARUSZKIEWICZ, SABINA                STARY, NICKIE                           STARYNSKI, LISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STAS, JOCELYN                         STASEK, ALBIE                           STASH, JULIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STASIAK, JACOB                        STASIK, ELISSA                          STASIK, MORGAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STASKO, JOSHUA                        STASKUNAS, ANNIE                        STASNY, CATHERINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STASNY, HANNAH                        STASTNY, KAT                            STASTNY, MICHAEL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STASZAK, ROSS                         STASZCZAK, MARGARET                     STASZCZAK, PAMELA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STATE OF ALABAMA ATTORNEY GENERAL     STATE OF ALABAMA ATTORNEY GENERAL       STATE OF ALASKA ATTORNEY GENERAL
501 WASHINGTON AVE                    PO BOX 300152                           1031 W 4TH AVE, STE 200
MONTGOMERY, AL 36104                  MONTGOMERY, AL 36130-0152               ANCHORAGE, AK 99501




STATE OF AMERICAN SAMOA ATTORNEY      STATE OF ARIZONA - DEPARTMENT OF        STATE OF ARIZONA ATTORNEY GENERAL
GENERAL                               LIQUOR LICENSES                         2005 NORTH CENTRAL AVENUE
AMERICAN SAMOA GOVT, EXEC OFC BLDG    AND CONTROL                             PHOENIX, AZ 85004
UTULEI, TERRITORY OF AMERICAN SAMOA   800 W. WASHINGTON 5TH FLOOR
PAGO PAGO, AS 96799                   ARIZONA, AZ 85007
                         Case 22-11238-LSS
STATE OF ARKANSAS - ALCOHOLIC           STATE OFDoc  2 Filed
                                                 ARKANSAS       11/30/22
                                                            ATTORNEY       Page 4714
                                                                     GENERAL    STATE OFof CALIFORNIA
                                                                                            5495      ATTORNEY GENERAL
BEVERAGE CONTROL DIVISION               323 CENTER ST, STE 200                  1300 I ST, STE 1740
1515 WEST 7TH STREET, SUITE 503         LITTLE ROCK, AR 72201-2610              SACRAMENTO, CA 95814
LITTLE ROCK, AR 72201-3953




STATE OF CALIFORNIA ATTORNEY GENERAL    STATE OF CALIFORNIA FRANCHISE TAX        STATE OF CALIFORNIA LABOR AND
ATTN: ROB BONTA                         BOARD                                    WORKFORCE DEVELOPMENT AGENCY
1300 I ST, STE 1740                     PO BOX 942857                            800 CAPITOL MALL
SACRAMENTO, CA 95814-2919               SACRAMENTO, CA 94257-0511                MIC 55
                                                                                 SACRAMENTO, CA 95814



STATE OF COLORADO ATTORNEY GENERAL      STATE OF CONNECTICUT ATTORNEY            STATE OF CONNECTICUT
RALPH L CARR COLORADO JUDICIAL BLDG     GENERAL                                  ADDRESS UNAVAILABLE AT TIME OF FILING
1300 BROADWAY, 10TH FL                  55 ELM ST
DENVER, CO 80203                        HARTFORD, CT 06106




STATE OF DELAWARE ATTORNEY GENERAL      STATE OF DELAWARE                        STATE OF FLORIDA ATTORNEY GENERAL
CARVEL STATE OFFICE BLDG                DELAWARE INVESTOR PROTECTION UNIT        THE CAPITOL, PL 01
820 N FRENCH ST                         820 NORTH FRENCH STREET, 5TH FLOOR       TALLAHASSEE, FL 32399-1050
WILMINGTON, DE 19801                    WILMINGTON, DE 19801




STATE OF GEORGIA ATTORNEY GENERAL       STATE OF HAWAII ATTORNEY GENERAL         STATE OF IDAHO ATTORNEY GENERAL
40 CAPITOL SQUARE, SW                   425 QUEEN ST                             700 W JEFFERSON ST, STE 210
ATLANTA, GA 30334                       HONOLULU, HI 96813                       PO BOX 83720
                                                                                 BOISE, ID 83720-0010




STATE OF IDAHO                          STATE OF IDAHO                           STATE OF ILLINOIS ATTORNEY GENERAL
IDAHO STATE POLICE- ALCOHOL BEVERAGE    IDAHO STATE TAX COMMISSION               100 W RANDOLPH ST
CONTROL                                 PO BOX 76                                CHICAGO, IL 60601
700 S STRATFORD DR STE 115              BOISE, ID 83707-0076
MERIDIAN, ID 83642



STATE OF INDIANA ATTORNEY GENERAL       STATE OF IOWA ATTORNEY GENERAL           STATE OF KANSAS ATTORNEY GENERAL
INDIANA GOVERNMENT CENTER SOUTH         BANKRUPTCY UNIT                          120 SW 10TH AVE, 2ND FL
302 W WASHINGTON ST, 5TH FL             1305 E WALNUT                            TOPEKA, KS 66612
INDIANAPOLIS, IN 46204                  DES MOINES, IA 50319




STATE OF KENTUCKY ATTORNEY GENERAL      STATE OF LOUISIANA ATTORNEY GENERAL      STATE OF LOUISIANA ATTORNEY GENERAL
700 CAPITOL AVE, STE 118                1885 N THIRD ST                          PO BOX 94005
FRANKFORT, KY 40601-3449                BATON ROUGE, LA 70802                    BATON ROUGE, LA 70804




STATE OF MAINE ATTORNEY GENERAL         STATE OF MARYLAND ATTORNEY GENERAL       STATE OF MASSACHUSETTS ATTORNEY
6 STATE HOUSE STATION                   200 ST PAUL PLACE                        GENERAL
AUGUSTA, ME 04333                       BALTIMORE, MD 21202                      1 ASHBURTON PLACE
                                                                                 BOSTON, MA 02108-1518




STATE OF MICHIGAN ATTORNEY GENERAL      STATE OF MICHIGAN                        STATE OF MINNESOTA ATTORNEY GENERAL
G. MENNEN WILLIAMS BLDG                 DEPARTMENT OF LICENSING &                455 MINNESOTA ST, STE 1400
525 W OTTAWA ST - PO BOX 30212          REGULATORY AFFAIRS                       ST. PAUL, MN 55101-2131
LANSING, MI 48909                       CORPORATIONS, SECURITIES, &
                                        COMMERICAL LICENSING BUREAU
                                        2407 N. GRAND RIVER AVENUE
                                        LANSING, MI 48906
                        Case GENERAL
STATE OF MISSISSIPPI ATTORNEY 22-11238-LSS     Doc
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                                                              ATTORNEY      Page 4715
                                                                       GENERAL         of MISSOURI
                                                                                 STATE OF 5495 ATTORNEY GENERAL
PO BOX 220                              WALTER SILLERS BLDG                      SUPREME CT BLDG, 207 W HIGH ST
JACKSON, MS 39205                       550 HIGH ST, STE 1200                    PO BOX 899
                                        JACKSON, MS 39201                        JEFFERSON CITY, MO 65102




STATE OF MONTANA ATTORNEY GENERAL     STATE OF MONTANA                        STATE OF NEBRASKA ATTORNEY GENERAL
JUSTICE BLDG                          ADDRESS UNAVAILABLE AT TIME OF FILING   2115 STATE CAPITOL
215 N SANDERS                                                                 PO BOX 98920
HELENA, MT 59620-1401                                                         LINCOLN, NE 68509




STATE OF NEVADA ATTORNEY GENERAL      STATE OF NEW HAMPSHIRE ATTORNEY         STATE OF NEW HAMPSHIRE LIQUOR
100 N CARSON ST                       GENERAL                                 COMMISSION
CARSON CITY, NV 89701                 NH DEPT OF JUSTICE                      DIVISION OF ENFORCEMENT & LICENSING
                                      33 CAPITOL ST                           DIRECT SHIPPING
                                      CONCORD, NH 03301                       PO BOX 1795
                                                                              CONCORD, NH 03302-1795

STATE OF NEW HAMPSHIRE                STATE OF NEW JERSEY ATTORNEY            STATE OF NEW JERSEY
BUREAU OF SECURITIES DIVISION         GENERAL                                 PO BOX 929
107 NORTH MAIN STREET 204             RJ HUGHES JUSTICE COMPLEX               TRENTON, NJ 08646-0929
CONCORD, NH 03301-4989                25 MARKET ST - BOX 080
                                      TRENTON, NJ 08625-0080



STATE OF NEW MEXICO - NEW MEXICO      STATE OF NEW MEXICO ATTORNEY            STATE OF NEW MEXICO ATTORNEY
DEPARTMENT OF WORKFORCE SOLUTIONS     GENERAL                                 GENERAL
PO BOX 1928                           408 GALISTEO ST                         PO DRAWER 1508
ALBUQUERQUE, NM 87103                 VILLAGRA BLDG                           SANTA FE, NM 87504-1508
                                      SANTA FE, NM 87501



STATE OF NEW YORK ATTORNEY GENERAL    STATE OF NEW YORK- CLUB W               STATE OF NEW YORK
THE CAPITOL                           ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
ALBANY, NY 12224-0341




STATE OF NORTH CAROLINA ATTORNEY      STATE OF NORTH DAKOTA ATTORNEY          STATE OF NY WORKERS COMPENSATION
GENERAL                               GENERAL                                 BOARD
9001 MAIL SERVICE CTR                 600 E BLVD AVE                          328 STATE STREET
RALEIGH, NC 27699-9001                DEPT 125                                FINANCE UNIT SCHENECTADY, NY 12305
                                      BISMARCK, ND 58505



STATE OF OHIO ATTORNEY GENERAL        STATE OF OKLAHOMA ATTORNEY GENERAL      STATE OF OREGON ATTORNEY GENERAL
30 E BROAD ST, 14TH FL                313 NE 21ST ST                          1162 COURT ST, NE
COLUMBUS, OH 43215                    OKLAHOMA CITY, OK 73105                 SALEM, OR 97301




STATE OF OREGON                       STATE OF PENNSYLVANIA ATTORNEY          STATE OF PENNSYLVANIA ATTORNEY
DEPARTMENT OF CONSUMER AND            GENERAL                                 GENERAL
BUSINESS SERVICES                     16TH FL, STRAWBERRY SQ                  ATTN: JOSH SHAPIRO
DIVISION OF FINANCE AND CORPORATE     HARRISBURG, PA 17120                    16TH FL, STRAWBERRY SQ
SECURITIES                                                                    HARRISBURG, PA 17120
350 WINTER STREET NE ROOM 410
SALEM, OR 97301-3881

STATE OF RHODE ISLAND ATTORNEY        STATE OF SOUTH CAROLINA ATTORNEY        STATE OF SOUTH CAROLINA ATTORNEY
GENERAL                               GENERAL                                 GENERAL
150 S MAIN ST                         PO BOX 11549                            REMBERT DENNIS OFFICE BLDG
PROVIDENCE, RI 02903                  COLUMBIA, SC 29211-1549                 1000 ASSEMBLY ST, ROOM 519
                                                                              COLUMBIA, SC 29201
                        Case 22-11238-LSS
STATE OF SOUTH DAKOTA ATTORNEY                Doc
                                       STATE OF    2 DAKOTA
                                                SOUTH Filed 11/30/22 Page 4716     of TENNESSEE
                                                                             STATE OF 5495        ATTORNEY GENERAL
GENERAL                                ADDRESS UNAVAILABLE AT TIME OF FILING PO BOX 20207
1302 EAST HIGHWAY 14, STE 1                                                  NASHVILLE, TN 37202-0207
PIERRE, SD 57501-8501




STATE OF TEXAS ATTORNEY GENERAL         STATE OF TEXAS ATTORNEY GENERAL       STATE OF UTAH ATTORNEY GENERAL
300 W 15TH ST                           PO BOX 12548                          350 N STATE ST, STE 230
AUSTIN, TX 78701                        AUSTIN, TX 78711-2548                 SALT LAKE CITY, UT 84114-2320




STATE OF VERMONT - BWSC                 STATE OF VERMONT ATTORNEY GENERAL     STATE OF VIRGIN ISLANDS ATTORNEY
ADDRESS UNAVAILABLE AT TIME OF FILING   109 STATE ST                          GENERAL
                                        MONTPELIER, VT 05609-1001             34-38 KRONPRINDSENS GADE
                                                                              GERS BLDG, 2ND FL
                                                                              ST. THOMAS, VI 00802



STATE OF VIRGINIA ATTORNEY GENERAL      STATE OF WASHINGTON ATTORNEY          STATE OF WASHINGTON LIQUOR CONTROL
202 N 9TH ST                            GENERAL                               BOARD
RICHMOND, VA 23219                      1125 WASHINGTON ST SE                 ADDRESS UNAVAILABLE AT TIME OF FILING
                                        PO BOX 40100
                                        OLYMPIA, WA 98504-0100



STATE OF WEST VIRGINIA ATTORNEY         STATE OF WISCONSIN ATTORNEY GENERAL   STATE OF WYOMING ATTORNEY GENERAL
GENERAL                                 WISCONSIN DEPARTMENT OF JUSTICE       2320 CAPITOL AVE
STATE CAPITOL COMPLEX                   17 W MAIN ST - PO BOX 7857            CHEYENNE, WY 82002
BLDG 1, ROOM E-26                       MADISON, WI 53703-7857
CHARLESTON, WV 25305



STATE ST (0997, 2399)                   STATE TAX GROUP, LLC                  STATE TREASURER- OREGON
ATTN PROXY DEPT                         4099 MCEWEN 568                       ADDRESS UNAVAILABLE AT TIME OF FILING
1776 HERITAGE DR                        DALLAS, TX 75244
NORTH QUINCY, MA 02171




STATELY, BROOKE                         STATEN, ARIELE                        STATEN, MARISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STATERBROS                              STATES, LINDSEY                       STATES, NICOLE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STATESIDE RESTAURANT                    STATHAKIS DUBER, ANASTACIA            STATHAM, JODIE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STATHAM, KELLY                          STATHAS, JULIA                        STATHES, TAMARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STATHIS, JOHN-PATRICK Case 22-11238-LSS
                                     STATIA, Doc  2 Filed 11/30/22
                                             DANIELLE                 Page 4717  ofTAMOIL
                                                                           STATION  5495
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STATLER, HANNAH                      STATOM, KELSEY                        STATON, COLLINE
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STATON, DANIELLE                     STATON, KATERINA                      STATON, MOLLY
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STATON, SANDRA                       STATSENKO, IGOR                       STATZ, ELSA
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STATZER, TAWNY                       STAUB, ALICIA                         STAUB, AMANDA
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STAUB, AMY                           STAUB, DAMON                          STAUB, JAMIE
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STAUB, MATTHEW                       STAUCH, THERESE                       STAUDACHER, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STAUDACHER, WHITNEY                  STAUDENMAIER, MEAGHAN                 STAUDER, SALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STAUDT                               STAUDT, ERIN                          STAUDT, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STAUDT, JENNIFER                     STAUFFENEKER, SONIA                   STAUFFER, ANNDEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STAUFFER, DELROY      Case 22-11238-LSS    Doc
                                     STAUFFER,   2 Filed 11/30/22
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                                                                             STAUFFER, KRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




STAUFFER, LILY                       STAUFFER, MADDISON                       STAUFFER, NEIL
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STAUFFER, SANDY                      STAUFFER, SHANNON                        STAUFFER, STACIE
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STAUFFER, SYDNEY                     STAUFFER, TARA                           STAUFFFER, WILLIAM
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STAUNTON, BRIEDA                     STAURSKY, KAREN                          STAUTER, GINGER
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STAVENS, DAWN                        STAVER, MOLLY                            STAVIN INCORPORATED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           PO BOX 1693
                                                                              SAUSALITO, CA 94966-1693




STAVITZ, BRITTANY                    STAVNEZER, AMY JO                        STAVOS, MEGAN
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STAVRON, SAM                         STAVROS, ALEXIS                          STAVROS, MATTHEW
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STAWARZ, ERIN                        STAY ASPEN SNOWMASS                      STAYE, MARIAN
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STAYROOK, CAITLIN                    STCLAIR, GARY                            STDICK, JEAN
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STEADHAM, SARAH       Case 22-11238-LSS    DocJENNIFER
                                     STEADMAN,  2 Filed 11/30/22      Page 4719 of 5495
                                                                           STEADMAN, MADISON
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STEADMAN, MARTHA                     STEADMAN, RICHARD                     STEADMAN, SYDNI
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STEAKLEY, PAULA                      STEALEY, CAITLIN                      STEAMERS
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STEAN, MONICA                        STEARNES, TIFFANY                     STEARNS, ANNA
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STEARNS, ASHLEE                      STEARNS, BRYANNA                      STEARNS, COREY
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STEARNS, DEENA                       STEARNS, GREG                         STEARNS, HEATHER
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STEARNS, IVY                         STEARNS, JENNA                        STEARNS, LORRAINE
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STEARNS, VALERIE                     STEARNS, WILLIAM                      STEATES, SAMANTHA
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STEAVE ONYUNDO, SEKAI                STEBBINS, ALEX                        STEBBINS, CAROL
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STEBBINS, CHARITY                    STEBBINS, HILARIE                     STEBBINS, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                       Case 22-11238-LSS
STEBBINS, JEREMY & HANNAH                    Doc
                                      STEBBINS,   2 Filed 11/30/22
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                                                                            STEBER,  5495
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STEBILA, CARLY                        STEC, ANNMARIE                         STEC, BLAIR
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STEC, MEGAN                           STEC, SAMANTHA                         STECH, DAVID
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STECHER, BARBARA                      STECHER, KAIT                          STECHSCHULTE, DEANA
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STECK, ABBY                           STECK, SHARON                          STECKEL, SCOTT
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STECKER, MARIA                        STECKER, SYDNEY                        STECKLEIN, SHANNON
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STECKLER, DARRELL                     STECKLER, SARAH                        STECKLER, VICKI
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STECKLINE, BROCK                      STECKMAN, BRIAN                        STECKY, NYDIA
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STECYK, NATASHA                       STEDMAN, EMILY                         STEDMAN, JACQUELYNNE
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STEDMAN, MADELINE                     STEED, ANNA                            STEED, JESSICA
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STEED, THERESA        Case 22-11238-LSS
                                     STEEDE,Doc
                                            ALLY 2   Filed 11/30/22   Page 4721 ofMARY
                                                                           STEEGE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEEHLER, KEVIN                      STEEKE, MICHAEL                       STEEL HOUSE, INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3644 EASTHAM DR
                                                                           CULVER CITY, CA 90232




STEEL, BEVERLY                       STEEL, DANIELLE                       STEEL, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEEL, MS.GRAHAM                     STEELBERG, ANNA                       STEELCASE INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




STEELE, AARON                        STEELE, ADAIRA                        STEELE, ALEXANDRIA
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STEELE, AMY ALLISON                  STEELE, AMY                           STEELE, ANDREA
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STEELE, ANDREW                       STEELE, CAROL                         STEELE, CHRIS
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STEELE, CODY                         STEELE, DONNA                         STEELE, ELIZABETH
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STEELE, ELIZABETH                    STEELE, EMILY                         STEELE, EVONNE
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STEELE, GREGORY                      STEELE, HALEY                         STEELE, JEANNA
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STEELE, JENN          Case 22-11238-LSS
                                     STEELE,Doc 2 Filed 11/30/22
                                            JENNIFER                  Page 4722
                                                                           STEELE,of 5495
                                                                                   JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEELE, JODY                         STEELE, JOHN                          STEELE, KARA
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STEELE, KATELYN                      STEELE, KATLYN                        STEELE, KELSEY
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STEELE, LAUREN                       STEELE, LAUREN                        STEELE, LINDSEY
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STEELE, LISA                         STEELE, LISA                          STEELE, MITCHELL
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STEELE, MOLLY                        STEELE, PAIGE                         STEELE, PAULA
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STEELE, ROSEMARIE                    STEELE, SHANNON                       STEELE, SHELLY
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STEELE, SHERRY                       STEELE, STEWART                       STEELE, SULLIVAN
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STEELE, SYDNEY                       STEELE, TIFFANI                       STEELEY, RACHEL
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STEELEY, RACHEL                      STEELMAN, ALISON                      STEELMAN, HANNAH
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STEELMAN, KIM         Case 22-11238-LSS    DocMEGAN
                                     STEELMAN,  2 Filed 11/30/22      Page 4723
                                                                           STEELY,of 5495
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STEEN, EMILY                         STEEN, FELICIA                        STEEN, HANNAH
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STEEN, HANNAH                        STEEN, HARALD                         STEEN, JANET
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STEEN, JESSICA                       STEEN, KENDRA                         STEEN, KERRI
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STEEN, KRISTEN                       STEEN, PATRICIA                       STEEN, TRUDY
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STEENKAMP, SAMANTHA                  STEENSLAND, BEN                       STEEVES, ARLEN
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STEEVES, LYNN                        STEEVES, NALLY                        STEEVES, STEPHANIE
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STEFAN KURSAWE                       STEFAN RUSSELL                        STEFAN THOMPSON
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STEFAN, ANNA                         STEFAN, BOGDAN                        STEFAN, EMILY
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STEFANELLI, MONICA                   STEFANI, ANDA                         STEFANI, ATEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STEFANICH, KATIE      Case 22-11238-LSS    Doc ERIKA
                                     STEFANIDES, 2 Filed 11/30/22     Page 4724  of CULLEN
                                                                           STEFANIE 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEFANIE HERSHGORDON                 STEFANIE MCCAHON                       STEFANIE SCOWDEN
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STEFANIE SLACK                       STEFANIE STEWART                       STEFANIK, EDWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEFANIK, KAY                        STEFANIK, ROBERT                       STEFANO MONGARDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEFANO RUMI                         STEFEK, EMILY                          STEFEK, KYLE
1321 S. BERENDO ST                   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90006




STEFENCAVAGE, ARIANNA                STEFFAN, JACKIE                        STEFFAN, THEODORE
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STEFFANINA, LAURA                    STEFFEK, JAMIE                         STEFFEN BOEHM
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STEFFEN, ANDREW                      STEFFEN, ANNA-CLAIRE                   STEFFEN, BETHANY
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STEFFEN, DOMINIQUE                   STEFFEN, JENNIFER                      STEFFEN, JESSE
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STEFFENS, CATHERINE                  STEFFENS, CHARLIE                      STEFFENS, JANE
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STEFFENS, MEGHAN      Case 22-11238-LSS    Doc
                                     STEFFENS,   2 Filed 11/30/22
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                                                                           STEFFENS, TARA
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STEFFENSMEIER, CHRISTA               STEFFENSMEIER, LAUREN                 STEFFENSMEIER, SARA
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STEFFES, ADAM                        STEFFES, MARTHA                       STEFFI L TSAI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        690 BUSHWICK AVE 2B
                                                                           BROOKLYN, NY 11221




STEFFIE, MARGARET                    STEFFNEY, KATHERINE                   STEFOI-SILVER, ANAMARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEGALL, KATE                        STEGALL, NOELL                        STEGELAND, ALLISON
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STEGEMANN, KATHI                     STEGER, KYLEAN                        STEGGS, TOBY
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STEGING, RYANN                       STEGMAN, ALEX                         STEGMAN, EMILY
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STEGNER, MADELINE                    STEHLE, DIANA                         STEHLE, HOLLY
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STEHLIK, AMANDA                      STEHLIK, CHAR                         STEHN, MOLLY
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STEHR, BONNIE                        STEHR, DANA                           STEICHEN, DANYELLE
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STEIDL, CATHERINE     Case 22-11238-LSS    DocTIMOTHY
                                     STEIGENGA, 2 Filed 11/30/22      Page 4726  of BRANDON
                                                                           STEIGER,  5495
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STEIGER, COLE                        STEIGER, EMILY                        STEIGER, JACOB
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STEIGER, KATE                        STEIGER, KRISTINA                     STEIGER, MEAGHAN
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STEIGER, MEGAN                       STEIGER, PATRICIA                     STEIGERWALD, JANINE
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STEIGERWALD, JODI                    STEIGERWALD, LAURA                    STEIGERWALT, MARY
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STEIGERWALT, MEGAN                   STEIGHNER, JESSICA                    STEIGLEDER, MEGAN
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STEIJLEN, KARA                       STEILEN, ANEESSA                      STEIM, KRISTI
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STEIN, ALEXIA                        STEIN, ALLISON                        STEIN, AMANDA
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STEIN, ANDREA                        STEIN, AUDREY                         STEIN, BETH
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STEIN, BRUCE                         STEIN, CARLY                          STEIN, DEANNA
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STEIN, DEBBIE         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     STEIN, EMILY                     Page 4727   of 5495
                                                                           STEIN, ERIN
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STEIN, GEORGIA                       STEIN, GINGER                         STEIN, JOANNE
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STEIN, JUSTIN                        STEIN, KENNETH                        STEIN, KRISTEN
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STEIN, KRISTINA                      STEIN, LAURA                          STEIN, LINDSEY
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STEIN, LINDY                         STEIN, MADISON                        STEIN, MELANIE
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STEIN, NANCY                         STEIN, NATALIE                        STEIN, REBECCA
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STEIN, RENEE                         STEIN, ROBERT & RITA                  STEIN, ROBERT
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STEIN, SHERI                         STEIN, STEPHANIE                      STEIN, TABITHA
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STEIN, TAMARA                        STEIN, YOAV                           STEINACKER, JESSICA
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STEINARD, JASON                      STEINAT, JESSICA                      STEINBACH, BRITTANY
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STEINBACH, JUDITH     Case 22-11238-LSS     DocKATHERINE
                                     STEINBACH, 2 Filed 11/30/22      Page 4728  of 5495
                                                                           STEINBACH, KELSEY
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STEINBAUER, SARAH                    STEINBECK VINEYARDS 1 LLC              STEINBERG, AVERY
ADDRESS AVAILABLE UPON REQUEST       5940 UNION ROAD                        ADDRESS AVAILABLE UPON REQUEST
                                     PASO ROBLES, CA 93446




STEINBERG, CHRISTOPHER               STEINBERG, CORRINA                     STEINBERG, ELIZABETH
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STEINBERG, JILL                      STEINBERG, JORDAN                      STEINBERG, LAURA
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STEINBERG, LAUREN                    STEINBERG, MIKE                        STEINBERG, RACHEL
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STEINBERG, SHEA                      STEINBERG, SOPHIA                      STEINBERGER, HOLLY
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STEINBICKER, EMILY                   STEINBISER, JAMIE                      STEINBRECHER, ERIC
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STEINBRENNER, DANIELLE               STEINBRUGGE, PIA                       STEINCAMP, REGINA
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STEINEL, RICH                        STEINER, ASHLEY                        STEINER, DANA
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STEINER, HELEN                       STEINER, KATIE                         STEINER, KAYLA
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STEINER, LARA         Case 22-11238-LSS     Doc
                                     STEINER,     2 Filed 11/30/22
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                                                                           STEINER, 5495
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STEINER, MICHAEL                     STEINER, NICHOLAS                     STEINER, SAMANTHA
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STEINER, SAMANTHA                    STEINER, TINA                         STEINER, VINCENT
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STEINERT, CHRISTY                    STEINES, FIA                          STEINHARDT, DAVID
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STEINHART, SUZANNE                   STEINHAUS, CATHY                      STEINHAUS, CORBIN
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STEINHAUS, LAUREN                    STEINHAUSE, TYLER                     STEINHAUSER, BARBARA
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STEINHAUSER, COURTNEY                STEINHEBER, KATHRYN                   STEINHILBER, REMY
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STEINHOFF, BECKY                     STEINHOFF, BOBBI                      STEINHOFF, JAN
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STEINICKE, GRACE                     STEININGER, DAVID                     STEINKAMP, KRISTINA
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STEINKE, AMANDA                      STEINKE, CARRIE                       STEINKER, JENNIFER
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STEINKRAUS, SHARON    Case 22-11238-LSS     Doc 2CHRIS
                                     STEINKRAUSS,    Filed 11/30/22   Page 4730  of 5495
                                                                           STEINMAIER, DENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEINMETZ, CHELSEA                   STEINMETZ, KATE                        STEINMETZ, MICHELE
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STEINMETZ, RACHEL                    STEINNAGEL, KATHERINE                  STEINWANDEL, BECKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEINWEG, ASHLEY                     STEISSLINGER, LISA                     STEL, KARYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STELICK, JOSHUA                      STELITANO, CASY                        STELLA CONNECT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         STELLA SERVICE, INC
                                                                            75 BROAD STREET, SUITE 1010 10FL
                                                                            NEW YORK, NY 10004




STELLA DEFOREST, MELISSA             STELLA SOHL                            STELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




STELLA, CHRISTINE                    STELLARDO, GILLES                      STELLE, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STELLE, LEAH                         STELLER, ANN                           STELLI, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STELLING GURNETT, DONNA              STELLING, CATHERINE                    STELLING, MARIA ALEJANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STELLMACHER, MICHELLE                STELLMAKER, KIRSTEN                    STELLMON, LILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STELLPFLUG, SARA      Case 22-11238-LSS    Doc
                                     STELLUTI,    2 Filed 11/30/22
                                               CHRIS                  Page 4731  of 5495
                                                                           STELLUTO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STELMACK, MORGAN                     STELZER, CHASE                         STELZER, SAVANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STELZER, SHYANE                      STEM, ALEXA                            STEMEN, MEG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEMKOWSKI, CHRISTIAN                STEMLER, SIERRA                        STEMM, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEMMER, LISA                        STEMPKA, KRISTA                        STENBERG, KAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STENCLIK, NICOLE                     STENERSEN, MAKAYLA                     STENGEL, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STENGEL, MICHELLE                    STENGER, CASEY                         STENGER, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STENGER, ROB                         STENLUND, TERESA                       STENLUND, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STENNER, JORDAN                      STENNIE, LAUREN                        STENQUIST, MITCHELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STENSLAND, ALISON                    STENSLAND, JEFFREY                     STENSLER, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STENSLIEN, ANNETTE    Case 22-11238-LSS    Doc
                                     STENSON,    2 Filed 11/30/22
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                                                                           STENSRUD, CHRISTIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STENSRUD, KRISTA                     STENTA, KATRINA                        STENZ, PAULA
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STENZEL, CAROL                       STENZEL, JOHN                          STEPANCHENKO, EDWARD
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STEPANEK, MARY                       STEPANIAK, SOPHIA                      STEPANIUK, JORDAN
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STEPANOVA, LARISA                    STEPANOVA, VALERIE                     STEPANOVA, VALERIE
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STEPCHUK, PEGGY                      STEPH                                  STEPH, REBECCA
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STEPHAN MAHONEY                      STEPHAN, ARIELLE                       STEPHAN, ELIZABETH
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STEPHAN, KELLY                       STEPHAN, PRISCILLA                     STEPHAN, ROMAN
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STEPHANE BOURGAIN                    STEPHANI, LISA                         STEPHANI, MACY
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STEPHANIA THEODORE                   STEPHANIDES, NINA                      STEPHANIE A KOLAKOWSKY-HAYNER
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STEPHANIE AEBI        Case 22-11238-LSS    DocBELL
                                     STEPHANIE  2 Filed 11/30/22      Page 4733 of 5495
                                                                           STEPHANIE C MEREDITH
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STEPHANIE COOK                       STEPHANIE DEJESUS                      STEPHANIE DESIR-JEAN
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STEPHANIE FREAS                      STEPHANIE GUESTELLA                    STEPHANIE HESS
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STEPHANIE HILL-DRAUGHN               STEPHANIE JAVEL                        STEPHANIE JEAN-PIERRE
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STEPHANIE JOHNDROW                   STEPHANIE KLING                        STEPHANIE KUGA
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STEPHANIE LAINE GREER                STEPHANIE LOVE                         STEPHANIE MARSHALL
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STEPHANIE MEREDITH                   STEPHANIE MEREDITH                     STEPHANIE OGE
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STEPHANIE ROSENBERG                  STEPHANIE SFERRINO                     STEPHANIE SIONS
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STEPHANIE SOO YOON                   STEPHANIE TURCIOS, STEPHANIE           STEPHANIE WARD
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STEPHANIE WRIGHT                     STEPHANIE WU LINGLE                    STEPHANIE YAUCH
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STEPHANIE YU          Case 22-11238-LSS    DocEZEKIEL
                                     STEPHANIE, 2 Filed 11/30/22      Page 4734 of 5495
                                                                           STEPHANO, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHANOU, ALEXANDRA                 STEPHANOU, ANNETTE                    STEPHANY UTLEY
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STEPHEN ANDREW CRUZ                  STEPHEN BEAUMONT                      STEPHEN BIONDI
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STEPHEN BLANEY                       STEPHEN BORGES                        STEPHEN BRUCE TEW
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STEPHEN C THURLOW                    STEPHEN CHRISTOPHER CLARKE            STEPHEN CLARKE
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STEPHEN DAILY                        STEPHEN DALEAS                        STEPHEN DAUGHERTY F/B/O JONATHAN
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                                                                           ADDRESS AVAILABLE UPON REQUEST




STEPHEN DAUGHERTY                    STEPHEN DAWS                          STEPHEN DEMPSEY-CHIAM
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STEPHEN E BAKER                      STEPHEN ELLIOTT                       STEPHEN FORREST WELLER
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STEPHEN FREDERICO                    STEPHEN FUGES                         STEPHEN GIBBS
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STEPHEN GOZDAN                       STEPHEN GREGORY BUDD                  STEPHEN HERBERT
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STEPHEN INGKAVET      Case 22-11238-LSS    Doc
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STEPHEN JAY KNYSH                    STEPHEN JOHN GRAY                     STEPHEN JOSEPH PERROT
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STEPHEN JOSEPH                       STEPHEN KINGSTON                      STEPHEN L BROOKS
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STEPHEN LEMBO                        STEPHEN MATTHEW SCHARES               STEPHEN MAZZERA
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STEPHEN MILLER                       STEPHEN ODELL HOFFARTH                STEPHEN P STOCKER
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STEPHEN R PALMER                     STEPHEN REGNIER                       STEPHEN SECAUR
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STEPHEN SNYDER                       STEPHEN WISSINK                       STEPHEN WOOLVERTON
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STEPHEN YOSKOWITZ                    STEPHEN                               STEPHEN, ALESHIRE
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STEPHEN, DENISE                      STEPHEN, EATHAN                       STEPHEN, GWEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHEN, GWENDOLYN                   STEPHEN, JOHN                         STEPHEN, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STEPHEN, SCOTT        Case 22-11238-LSS    DocALEXANDRA
                                     STEPHENS,  2 Filed 11/30/22      Page 4736 of 5495
                                                                           STEPHENS, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEPHENS, ALYCIA                     STEPHENS, ALYSHA                       STEPHENS, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEPHENS, ANNAN                      STEPHENS, ARIANA                       STEPHENS, ASHLY
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STEPHENS, AUSAR                      STEPHENS, BARCLAY                      STEPHENS, BETH
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STEPHENS, CATHERINE                  STEPHENS, CAYLEE                       STEPHENS, CHARLES
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STEPHENS, CHELSEA                    STEPHENS, CHELSEA                      STEPHENS, CHUCK
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STEPHENS, CINDY                      STEPHENS, DIANA                        STEPHENS, DOUG
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STEPHENS, DYLAN                      STEPHENS, ELIZABETH                    STEPHENS, ENFINITI
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STEPHENS, ERIN                       STEPHENS, ERIN                         STEPHENS, GRACE
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STEPHENS, HANK                       STEPHENS, HANNAH                       STEPHENS, JAMIE
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STEPHENS, JAMMIE      Case 22-11238-LSS    DocJENNIFER
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                                                                           STEPHENS, JESIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEPHENS, JOAN                       STEPHENS, JOANNE OR DENNIS             STEPHENS, JOANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEPHENS, JOHN                       STEPHENS, JORDAN                       STEPHENS, JORDAN
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STEPHENS, KARIS                      STEPHENS, KATE                         STEPHENS, KATHLEEN
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STEPHENS, KELLY                      STEPHENS, KRISTA                       STEPHENS, LAUREL
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STEPHENS, LAUREN                     STEPHENS, LEIGH                        STEPHENS, LEXI
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STEPHENS, LINDSAY                    STEPHENS, LUKE                         STEPHENS, LYDIA
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STEPHENS, MAEGAN                     STEPHENS, MAGGIE                       STEPHENS, MARIAH
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STEPHENS, MARJON                     STEPHENS, MARK                         STEPHENS, MARY
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STEPHENS, MCKENNA                    STEPHENS, MEGHAN                       STEPHENS, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STEPHENS, MICHELLE    Case 22-11238-LSS    DocMITCHELL
                                     STEPHENS,  2 Filed 11/30/22      Page 4738 of 5495
                                                                           STEPHENS, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENS, NATHANIEL                  STEPHENS, NATHLIE                     STEPHENS, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENS, PAM                        STEPHENS, PHILLIP                     STEPHENS, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENS, RENA                       STEPHENS, ROSSIE                      STEPHENS, SAMANTHA
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STEPHENS, SAMANTHA                   STEPHENS, SARAH                       STEPHENS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENS, SAVANNAH                   STEPHENS, SCOTT                       STEPHENS, SHERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENS, SHERRI                     STEPHENS, SYMANTHA                    STEPHENS, TANERELLE
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STEPHENS, TAYLOR                     STEPHENS, TERRI                       STEPHENS, TODD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENS, TREK                       STEPHENSON, ANDREW                    STEPHENSON, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENSON, BAILEY                   STEPHENSON, BLAIR                     STEPHENSON, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STEPHENSON, CHRISTY   Case 22-11238-LSS    Doc 2CRAIG
                                     STEPHENSON,     Filed 11/30/22   Page 4739 of 5495
                                                                           STEPHENSON, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENSON, DAVID                    STEPHENSON, EMMA                      STEPHENSON, FORBES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENSON, HEATHER                  STEPHENSON, JAMIE                     STEPHENSON, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENSON, KANDACE                  STEPHENSON, KEVIN                     STEPHENSON, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENSON, MARSHON                  STEPHENSON, PHIL                      STEPHENSON, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENSON, RYAN                     STEPHENSON, SHARA                     STEPHENSON, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPHENSON, STEPHANIE                STEPHENSON, SYDNEY                    STEPHENSON, TAYLOR
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STEPHENSON, TAYLOR                   STEPHENSON, TESSA                     STEPHEY, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPKA, ABIGAIL                      STEPNEY, RENEE                        STEPP, D
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPP, JEFFREY                       STEPP, KATHLEEN                       STEPP, KEITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STEPP, MICHAEL        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     STEPP, REBECCA                   Page 4740
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEPP, TERESA                        STERANKO, JASON                       STERBA, SUNNY
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STERCHI, CHARLES                     STERCHI, KAREN                        STERCULA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STERCZALA, MEGAN                     STERCZEWSKI, AARON E.                 STERIN-LIPMAN, SAMANTHA
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STERK, KIM                           STERK, KIMBERLY                       STERLIN, ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STERLING ADMINISTRATION              STERLING, CAYLIN                      STERLING, COURTNEY
1000 BROADWAY, SUITE 250             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
OAKLAND, CA 94607




STERLING, DELANEY                    STERLING, DION                        STERLING, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STERLING, HOLLY                      STERLING, JEANINE                     STERLING, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STERLING, RACHEL                     STERLING, RIVER                       STERLING, SAMANTHA
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STERLING, VERONICA                   STERLING-LYNCH, TANYA                 STERMAN, KIMBERLEE
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STERMER, ROBERT       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STERN, BEVERLY                       STERN, CAROLYN                        STERN, DAVID
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STERN, DIANE                         STERN, EMMILEY                        STERN, GAIL
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STERN, GREG                          STERN, JOCELYN                        STERN, KIMBERLEE
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STERN, LISA                          STERN, MICHAEL                        STERN, PAULA
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STERN, RACHEL                        STERN, ROBYN                          STERN, SALLY
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STERN, STEPHEN                       STERN, SYDNEY                         STERNAU, KATY
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STERNBACH, KATHLEEN                  STERNBERG, MIRIAM                     STERNECK, KENDRA
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STERNER, ALISHA                      STERNER, ALYSSA                       STERNER, CAITY
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STERNER, ELIZABETH                   STERNER, JAMES                        STERNER, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STERNER, WILLIAM      Case 22-11238-LSS    DocSAM
                                     STERNFELD, 2 Filed 11/30/22           Page 4742 of 5495
                                                                                STERNHELL, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




STERNI, MORGAN                          STERNKOPF, JESSICA                       STERNS, KATHERINE
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STERNS, KATHI                           STERNS, PEYTON                           STERRETT, BILLIE
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STERRETT, GAYLE                         STERRETT, HELEN                          STERRETT, RUTHIE
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STERRY, WILLIAM                         STERVINOU, CHARLES                       STERWALD, JENNIFER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




STERWALD, KAITLIN                       STERZIK, COURTENAY                       STERZINGER, ELIZABETH
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STESHYN, LETTA                          STESSNEY, TAYLOR                         STETLER, DEB
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STETSON, CLARISSA                       STETSON, JIM                             STETSON, KYLE
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STETTLER-ENO, SOPHIE                    STETZ, JAY                               STETZEL, KATIE
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STEUBENS TRUCK                          STEUBENS                                 STEUER, DAVID
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
STEUERT, MATT         Case 22-11238-LSS    Doc 2JENNA
                                     STEUERWALD,     Filed 11/30/22   Page 4743 of 5495
                                                                           STEURER-LOPICCOLO, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEURNAGEL, JIM                      STEVAN RODRIGUEZ II                    STEVANOVICH, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEVE COSBY                          STEVE KILLAM                           STEVE LOURENCO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEVE MILES SELECTIONS               STEVE ODONNELL                         STEVE SALERNO, ALEXA CARSON &
200 QUEBEC ST BUILDING 300-111-9     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80230




STEVE SHEPHEARD                      STEVE SLOATE                           STEVE, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEVEN A ENGEL                       STEVEN ANDREW BERO                     STEVEN ANTHONY QUEVEDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEVEN B BRICKER                     STEVEN BERE SULLIVAN                   STEVEN BERO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEVEN BERRY                         STEVEN BLOOMFIELD                      STEVEN BROTHERS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEVEN BRYAN                         STEVEN BURNS                           STEVEN CHARLES SIKKEMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEVEN CRANDALL HEWETT               STEVEN D COX                           STEVEN D JOEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STEVEN D KRETSCHMAR Case 22-11238-LSS
                                   STEVEN Doc 2 CARLSON
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                                                                          STEVENof 5495BROWN
                                                                                 DWIGHT
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STEVEN ETZEL                        STEVEN F CHILD                        STEVEN G BECKER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEVEN GILBERT                      STEVEN GOLDSMITH                      STEVEN H GIFIS
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STEVEN HIGLEY                       STEVEN HOOK                           STEVEN J BENTLER
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STEVEN J STEWART                    STEVEN JAMES VAN ZEELAND              STEVEN JOHN MARTIN
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STEVEN KENDALL                      STEVEN KNUDSEN                        STEVEN MARSHALL
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STEVEN MEANS                        STEVEN MESSINGER                      STEVEN MICHAEL BAUM
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STEVEN NICHOLAS VENDOLA             STEVEN P MARTIN                       STEVEN P SNYDER
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STEVEN PERZIA                       STEVEN POLLOCK                        STEVEN RABE
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STEVEN RICHTER                      STEVEN RUGG                           STEVEN SCOTT LEVENSON
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STEVEN SEIFRIED       Case 22-11238-LSS
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STEVEN STRATHDEE                     STEVEN TODD BALLARD                   STEVEN TODD BULLARD
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STEVEN TOINTON                       STEVEN W SMITH                        STEVEN WANDEL
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STEVEN WARREN JOHNSON                STEVEN WEBER                          STEVEN, AMANDA
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STEVEN, MARK                         STEVENOR, JOSH                        STEVENS, ABBY
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STEVENS, ADJORA                      STEVENS, AKILAH                       STEVENS, ALLISON
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STEVENS, AMI                         STEVENS, ANDREA                       STEVENS, ANDREW
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STEVENS, ASHLEY                      STEVENS, BARBARA                      STEVENS, BONNIE
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STEVENS, BRAD                        STEVENS, BRITTNEY                     STEVENS, CAIT
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STEVENS, CATHY                       STEVENS, CHRISTINA                    STEVENS, CIARA
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STEVENS, DEBORAH                     STEVENS, ELIZABETH (JODY)             STEVENS, ELIZABETH
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STEVENS, ELIZABETH                   STEVENS, HANNAH                       STEVENS, JACKSON
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STEVENS, JAMES                       STEVENS, JAMES                        STEVENS, JAY
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STEVENS, JENNIFER                    STEVENS, JESSICA                      STEVENS, JESSICA
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STEVENS, JESSICA                     STEVENS, JOANNE                       STEVENS, JOHN
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STEVENS, JOHN                        STEVENS, JUBILEE                      STEVENS, KAT
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STEVENS, KATIE                       STEVENS, KELLY                        STEVENS, KENDALL
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STEVENS, KENYA                       STEVENS, KIM                          STEVENS, KRISTA
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STEVENS, LAURIE                      STEVENS, LISA                         STEVENS, LYNN
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STEVENS, MARIE                       STEVENS, MATTHEW                      STEVENS, MEGAN
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STEVENS, MEGAN                       STEVENS, MELISSA                      STEVENS, MELISSA
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STEVENS, RACHEL                      STEVENS, RACHEL                       STEVENS, RACHEL
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STEVENS, RHONDA                      STEVENS, SANDRA                       STEVENS, SHELLY
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STEVENS, SOPHIA                      STEVENS, STEFANI                      STEVENS, TAYLOR
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STEVENS, TAYLOR       Case 22-11238-LSS    Doc
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STEVENS, VIVIANA                     STEVENSON, AMY                         STEVENSON, ANNE MARIE
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STEVENSON, ANNE                      STEVENSON, ARIEL                       STEVENSON, ASHLEY
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STEVENSON, BEREZ                     STEVENSON, BRAD                        STEVENSON, BROOKE
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STEVENSON, CALEIGH                   STEVENSON, CLARA                       STEVENSON, CLAUDETTE
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STEVENSON, ERICA                     STEVENSON, GEORGE                      STEVENSON, HALEY
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STEVENSON, HALEY                     STEVENSON, HEATHER                     STEVENSON, JACE
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STEVENSON, LASHAUNDA                 STEVENSON, LISA                        STEVENSON, LORI
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STEVENSON, MADDY      Case 22-11238-LSS    Doc MARY
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STEVENSON, MICHELLE                  STEVENSON, MORGAN                      STEVENSON, NYRA
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STEVENSON, SARAH                     STEVENSON, SONYA                       STEVENSON-FLOM, LAURA
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STEVER, NICOLE                       STEVERDING, BETHANY                    STEVERMAN, CAROLINE
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STEVERMER, LISA                      STEVERS, KATHERINE                     STEVERSON, SARAH
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STEVES, MICHELE                      STEVESON, ANDREA                       STEVQUOAH, SCIATTA
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STEWARD, AMANDA                      STEWARD, AMBER                         STEWARD, ELIZABETH
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STEWARD, ERIN                        STEWARD, ROB                           STEWARD-SCOTT, ELLENA
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STEWART DALE MORCOM                  STEWART HA, ROBIN                      STEWART HILL
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STEWART, ABBY                        STEWART, ABIGAIL                       STEWART, ADELE
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STEWART, ALEX         Case 22-11238-LSS    Doc
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STEWART, AMANDA                      STEWART, ANDREA                        STEWART, ANGIE
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STEWART, ANNE                        STEWART, ASHLEIGH                      STEWART, ASHLEY
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STEWART, AUDREY                      STEWART, AVRIL                         STEWART, BECKY
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STEWART, BONNIE                      STEWART, BRANDI                        STEWART, BRETT
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STEWART, BRIAN                       STEWART, BRITTANY                      STEWART, BRITTANY
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STEWART, BRITTANY                    STEWART, BRITTANY                      STEWART, CAROL
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STEWART, CATHLEEN                    STEWART, CATHLEEN                      STEWART, CHARLES
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STEWART, CHELSEA                     STEWART, CHELSEY                       STEWART, CHEYENNE
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STEWART, CHRISTINA    Case 22-11238-LSS    Doc
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STEWART, DANIELLE                    STEWART, DARREN                        STEWART, DAVID
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STEWART, DAWN                        STEWART, DENISE                        STEWART, DINA
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STEWART, DLYNN                       STEWART, DONNA                         STEWART, DORIAN
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STEWART, ELIZABETH                   STEWART, EMILY                         STEWART, EMMA
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STEWART, ERIN                        STEWART, ERIN                          STEWART, ESTELLE
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STEWART, FLORA                       STEWART, GEORGE                        STEWART, GERALD
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STEWART, ISMAELA                     STEWART, JACLYN                        STEWART, JAMES
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STEWART, JAMIE                       STEWART, JAMIE                         STEWART, JANA
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STEWART, JEFFREY                     STEWART, JENNIFER                      STEWART, JODI
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STEWART, JOELLE       Case 22-11238-LSS    Doc
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                                                                           STEWART, JOHN
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STEWART, JOHN                        STEWART, JOHN                         STEWART, JONATHA
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STEWART, JOY                         STEWART, JUDI                         STEWART, JULIE
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STEWART, KATHERINE                   STEWART, KATHRYN                      STEWART, KAY
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STEWART, KELLEY                      STEWART, KELLY                        STEWART, KELLY
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STEWART, KELSEY                      STEWART, KEVIN                        STEWART, KIM
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STEWART, KIMBERLY                    STEWART, KIMBERLY                     STEWART, KITRIA
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STEWART, KRISTIN                     STEWART, KRISTINE                     STEWART, LAUREN
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STEWART, LAUREN                      STEWART, LAURIE                       STEWART, LINDSAY
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STEWART, LINDSAY                     STEWART, LISA                         STEWART, LIZ
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STEWART, LOGAN        Case 22-11238-LSS    Doc
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STEWART, MACIE                       STEWART, MARCIA                       STEWART, MARISA
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STEWART, MARTHA                      STEWART, MASON                        STEWART, MEAZA
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STEWART, MEGAN                       STEWART, MEGAN                        STEWART, MELISSA
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STEWART, MEREDITH                    STEWART, MICHAEL                      STEWART, MICHELLE
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STEWART, MICHELLE                    STEWART, MICHELLE                     STEWART, MORGAN
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STEWART, MORGAN                      STEWART, NAKEISHA                     STEWART, NICOLE
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STEWART, PATRICIA                    STEWART, PAUL                         STEWART, QUIN
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STEWART, RACHEL                      STEWART, RACHEL                       STEWART, REBECCA
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STEWART, REBECCA                     STEWART, RICHARD                      STEWART, SALLY
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STEWART, SARA         Case 22-11238-LSS    Doc
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                                                                           STEWART, SARA
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STEWART, SARAH                       STEWART, SARAH                        STEWART, SARAH
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STEWART, SARAH                       STEWART, SCOTT                        STEWART, SHANI
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STEWART, SHANNON                     STEWART, SHANNON                      STEWART, SHANNON
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STEWART, SHAQUANA                    STEWART, SHAZ                         STEWART, STACEE
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STEWART, STACI                       STEWART, STEFANIE                     STEWART, STEPHANIE
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STEWART, STEPHANIE                   STEWART, SUSAN                        STEWART, SUZY
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STEWART, TAYLOR                      STEWART, TIFFANY                      STEWART, TINA
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STEWART, TRACY                       STEWART, TRICIA                       STEWART, ZALIKA
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STEWART-DUNHAM, ALISON               STEWART-PENNOCK, LAURA                STEYER, LAUREN
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STHANKI, MANISH       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                                STIB, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




STIBAL, NICOLE                          STIBICH, LAURA                          STICCO, KRISTIN
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STICE, BROOKLYN                         STICE, SHAUN                            STICHA, JACK
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STICHTER, ALYSON                        STICHTER, KRISTOFER                     STICK IT TO ME
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STICK, SHELLY                           STICKEL, ERIN                           STICKEL, JILL
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STICKEL, JOE                            STICKELS, RACHEL                        STICKELS, SHELBIE
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STICKER MULE                            STICKERGIANT.COM INC                    STICKLE, PAIGE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




STICKLEY, DEBORAH                       STICKNEY, KELLY                         STIDHAM, OLIVIA
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STIDHAM, SAMUEL                         STIEB, BEAU                             STIEB, NIKKI
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STIEBEL, CANDIS                         STIEF, BRIAN                            STIEF, ELIZABETH
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STIEFEL, ROBERT                      STIEFFEL, ADRIANA                     STIEG, TANA
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STIEGLER, ARI                        STIEGLER, SAMANTHA                    STIEGLITZ, ERIN
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STIEGLITZ, GRAHAM                    STIEGLITZ, KELLI                      STIEH, KATHERINE
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STIEHL, FREDERICK                    STIELOW, MICHAEL                      STIEPER, KATE
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STIER, BRIDGET                       STIER, CHRISTOPHER                    STIERS, JORDAN
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STIERS, KATHRYN                      STIEVE, JOHN                          STIEVE, SOFIA
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STIFEL NICOLAUS & CO. (0793)         STIFF, CLARISSA                       STIFF, JENNIFER
ATTN CHRIS WIEGAND OR PROXY DEPT     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
C/O MEDIANT COMMUNCATIONS
501 N. BRDWAY
ST. LOUIS, MO 63102



STIFF, KIRSTEN                       STIFF, LAUREN                         STIFF, MACKENZIE
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STIFFLEMIRE, ASHLEY                  STIFLE, IAN                           STIFTER, AMBER
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STIFTER, REBECCA      Case 22-11238-LSS      Doc 2 Filed 11/30/22
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STIGALL, TARA                        STIGILE, KATIE                          STIGLER, MARIQ
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STIGLIANO, STEPHEN                   STIKEROBOT                              STIKO, DREW
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STILEA, ORLA                         STILES, ADAM                            STILES, ANGEL
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STILES, ASHLYN                       STILES, CHRISTIN                        STILES, ELISABETH
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STILES, ELIZABETH                    STILES, GRACE                           STILES, JESSE
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STILES, JOANNE                       STILES, KATHLEEN                        STILES, KAY
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STILES, KRISTIN                      STILES, MAYA                            STILES, MEG
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STILES, NANCY                        STILES, ROBIN                           STILES, RODNEY
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STILES, SAMANTHA                     STILEY, VANJA                           STILKEY, ANDREW
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STILL, ALLIE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
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STILL, CAITLIN                       STILL, CAROLINE                        STILL, GEOFF
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STILL, GEOFFREY                      STILL, JAMES                           STILL, MAGGIE
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STILL, MARY                          STILL, ROBERT                          STILLE, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STILLER, JAKE                        STILLEY, ALYSSA                        STILLINGS, KACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STILLINGS, MYKHALA                   STILLINGS, NADENE                      STILLION, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STILLMAKER, TASHINA                  STILLMAN, LAUREN                       STILLMAN, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STILLMAN, NATASHA                    STILLMAN, YONNI                        STILLO, BRUNO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STILLO, DEBORAH                      STILLPASS, ALEX                        STILLS, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STILLSON, DEIREANN                   STILLWELL, DIANA                       STILLWELL, JENIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STILLWELL, KAITLYN    Case 22-11238-LSS     DocPATRICIA
                                     STILLWELL,  2 Filed 11/30/22     Page 4759  ofASHLEE
                                                                           STILSON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STILTNER, HANNAH                     STILTNER, STEPHANIE                   STILWELL, ANGELINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STILWELL, ANGELINA                   STILWELL, LESLIE                      STILWELL, LISABETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STILWELL, TRICIA                     STIMELY, MARY                         STIMMEL, DEBBIE
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STINCHCOMB, VIVIAN                   STINE, ALISON                         STINE, AMBIE
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STINE, BETH                          STINE, KIMBERLI                       STINE, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STINE, TRACY                         STINEBAUGH, ABBY                      STINER, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STINES, ROBERT                       STINGL, JENNIFER                      STINKYS GRILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




STINNER, RONALD                      STINNER, SYDNEY                       STINNETT, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STINNETT, CONNIE                     STINNETT, COURTNEY                    STINNETT, HALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STINNETT, JOSHUA      Case 22-11238-LSS     Doc
                                     STINNETT,    2 Filed 11/30/22
                                               JULIE                  Page 4760  of 5495
                                                                           STINNETT, KARLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STINNETT, LEIGH                      STINNETT, MECHILLE                     STINSON, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STINSON, CHARLES                     STINSON, EMMA                          STINSON, JENNIFER
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STINSON, JESSICA                     STINSON, JULI                          STINSON, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STINSON, LESLIE                      STINSON, LIONEL                        STINSON, MATSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STINSON, RHET                        STINSON, VICTORIA                      STIPAN, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STIPEK, PETER                        STIPICEVIC, ALEMKA                     STIR MARKET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




STIRLING, LISA                       STIRLING, RACHEL                       STIRM WINE CO., LLC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         2520 FELT ST.
                                                                            SANTA CRUZ, CA 95062




STIRN, ELIZABETH                     STIRPE, ANTHONY                        STITES, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STITES, LESLIE                       STITH, JACKIE                          STITH, JORDYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STITH, KEELI          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     STITH, RONALD                       Page 4761   of 5495
                                                                              STITH, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




STITH, ZENA                             STITHAM, JANE                          STITSINGER, DONALD
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STITT, BREE                             STITT, ELAINE                          STITT, JESSICA
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STITT, KIM                              STITT, MARY                            STITTLEBURG, MELISSA
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STITTS, JENNIFER                        STITZEL, CLAIRE                        STIVALA, JORDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STIVER, CARRIE                          STIVER, LEANN                          STIVERS, GRANT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STIVERS, KIM                            STIVERS, MELISSA                       STIVERSON, JULIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STIX AND STRAWS                         STIXROOD, BRIDGET                      STJUSTE, JILL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOBER, AMYCSTOBERGMAIL.COM             STOBO, KATHRYN                         STOCHL, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOCK, AVERY                            STOCK, JANET                           STOCKDALE, KAREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STOCKDALE, LUCY       Case 22-11238-LSS    Doc 2ANDREA
                                     STOCKELMAN,     Filed 11/30/22     Page 4762 of 5495
                                                                             STOCKER, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STOCKER, CAMERON                     STOCKER, CRAIG                          STOCKER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STOCKER, KATE                        STOCKER, LORI                           STOCKER, TAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STOCKER, WILLIAM                     STOCKERL, KRISTA                        STOCKHAUSEN, GRETCHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STOCKHOFF, SHILOH                    STOCKINGER, SABINE                      STOCKMAL, XELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STOCKMAN, JOE                        STOCKMAN, RYAN                          STOCKMANN, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STOCKO, VIVIAN                       STOCKSDALE, LEAH                        STOCKSTELL, CAITY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STOCKSTILL, SELMA                    STOCKSY.COM                             STOCKTON, CORRINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




STOCKTON, DAWN                       STOCKTON, SAVANNAH                      STOCKTON, SHELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




STOCKTON, TOMMY                      STOCKWELL, BRYCE                        STOCKWELL, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
STOCKWELL, SANDRA     Case 22-11238-LSS    DocHOLLY
                                     STODDARD,  2 Filed 11/30/22      Page 4763 of 5495
                                                                           STODDARD, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STODDARD, KELLEY                     STODDARD, LUCILLE                     STODDARD, STRESSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STODDARD, STRESSON                   STODDARD, STRESSON                    STODDARD, SYLVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STODDARD, TRACIE                     STODGHILL, CHARLES                    STODOLSKI, JEAN-MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOEBERLEIN, KRISTIAN                STOECKER, THERESA                     STOECKLE, LARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOECKLEIN, BERNARD                  STOEHR, ASHLEY                        STOEHR, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOEHR, HEATHER                      STOEHR, JOHN                          STOEHR, MITCHELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOELTING, HEATHER                   STOERMER, CODY                        STOES, TIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOFER, JENNY                        STOFER, NICOLE                        STOFFAN, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOFFEL, NOELLE                      STOFFEL, PAM                          STOFFEL, RENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STOFFEL, RYAN         Case 22-11238-LSS    Doc 2PIA Filed 11/30/22
                                     STOFFERAHN,                      Page 4764  of 5495
                                                                           STOFFLER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOFIK, JOHN                         STOFKO, ALEXANDRA                      STOGO, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOGSDILL, BRYAN                     STOHRY, CAROL                          STOIA, ASHLEIGH
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STOIAN, FLAVIA                       STOICA, ABBY                           STOICA, JACKIE
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STOILAS, AFRODITE                    STOILKOVIC, JESSICA                    STOJAK, JACKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOJKA, KELLY                        STOJSAVLJEVIC, JELENA                  STOKAS, EVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOKE, JANIE                         STOKER, AMANDA                         STOKER, HANNAH
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STOKER, JOSEPH                       STOKER, LINDA                          STOKER, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOKES CARR, ROBYN                   STOKES EQUIPMENT COMPANY               STOKES, AMANDA
ADDRESS AVAILABLE UPON REQUEST       1001 HORSHAM ROAD PO BOX 289           ADDRESS AVAILABLE UPON REQUEST
                                     HORSHAM, PA 19044




STOKES, ANDRE                        STOKES, ANDRINA                        STOKES, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STOKES, ANNE C        Case 22-11238-LSS
                                     STOKES,Doc 2 Filed 11/30/22
                                             AWANA                    Page 4765 ofBETH
                                                                           STOKES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOKES, BRYAN                        STOKES, CRAIG                         STOKES, CRISTINA
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STOKES, DENISE                       STOKES, DIANNE                        STOKES, ELAINA
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STOKES, HOLLY                        STOKES, JEANNINE                      STOKES, JENNIFER
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STOKES, KAILA                        STOKES, KATE                          STOKES, KATHY
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STOKES, KELLY                        STOKES, KIERSTEN                      STOKES, KIMBERLY
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STOKES, KIMBERLY                     STOKES, LAUREN                        STOKES, LOYD
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STOKES, LYNN                         STOKES, OLIVER                        STOKES, PATRICIA
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STOKES, REBECCA                      STOKES, REECE                         STOKES, SHANTON
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STOKES, SUTTON                       STOKES, TANIKA                        STOKES, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STOKES, TERRANCE      Case 22-11238-LSS
                                     STOKEY,Doc  2 Filed 11/30/22
                                             LAUREL                   Page 4766  of 5495
                                                                           STOKINGER, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOKKA, JEREMIAH                     STOKKE, MEGAN                          STOKLEY, LANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOKLOSA, SAM                        STOKOSKI, BETHANY                      STOLARSKI, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOLARSKI, CARRIE                    STOLARSKY, MELODY                      STOLL, ALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOLL, DARYL                         STOLL, DARYL                           STOLL, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOLL, MICHELLE                      STOLL, MRS                             STOLL, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOLLE, HEATHER                      STOLLE, NICOLE                         STOLLER, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOLLER, DANI                        STOLTE, HALLIE                         STOLTE, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOLTE, LISSA                        STOLTENBERG, CHRISTOPHER               STOLTENBERG, MANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STOLTENBERG, NICOLE                  STOLTING, KATIE                        STOLTZ, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STOLTZ, CHRISSY       Case 22-11238-LSS
                                     STOLTZ,Doc  2 Filed 11/30/22
                                            ELIZABETH                    Page 4767
                                                                              STOLTZ,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




STOLTZFOOS, PHILIP                      STOLTZFUS, HANNAH                     STOLTZFUS, MARIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOLZ, ANNE                             STOLZ, SARAH                          STOLZMAN, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOMBAUGH, KRISTIN                      STONE BREWING CO                      STONE CANDLES
ADDRESS AVAILABLE UPON REQUEST          2865 EXECUTIVE PLACE                  ADDRESS UNAVAILABLE AT TIME OF FILING
                                        ESCONDIDO, CA 92029




STONE DISTRIBUTING                      STONE HERMERDING, KELLY AND MATTHEW   STONE, AARON
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, ABBEY                            STONE, ABIGAIL                        STONE, ALY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, ANGIE                            STONE, ANNETTE                        STONE, BRENDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, BRIANNA                          STONE, BRITTANY                       STONE, BRYAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, CARLA                            STONE, CAROL                          STONE, CAROLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, CAROLINE                         STONE, CORTNEY                        STONE, DAVE AND DEBBIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STONE, DONNA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     STONE, ELIZABETH                 Page 4768
                                                                           STONE,of 5495
                                                                                 EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, EMMA                          STONE, ERIC                           STONE, ERIK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, ERIN                          STONE, FALLON                         STONE, GABBY
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STONE, GABRIELLE                     STONE, HANNAH                         STONE, HANNAH
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STONE, HANNAH                        STONE, HANNAH                         STONE, HANNAH
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STONE, HEATHER                       STONE, HEIDI AND BOB                  STONE, HELENA
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STONE, JANET                         STONE, JENN                           STONE, JENNIFER
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STONE, JENNIFER                      STONE, JONATHAN                       STONE, JOSANA
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STONE, JOYCE                         STONE, JULIA                          STONE, K. NABORS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, KARA                          STONE, KAREN                          STONE, LATASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STONE, LAURA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     STONE, LINNEA                    Page 4769
                                                                           STONE,of 5495
                                                                                 MADDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONE, MADELINE                      STONE, MADISON                        STONE, MARTHA
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STONE, MARY                          STONE, MARYELLEN                      STONE, MAX
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STONE, MEAGHAN                       STONE, MEGAN                          STONE, MICHAEL
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STONE, MICHAEL                       STONE, NATALIE                        STONE, PAIGE
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STONE, PAULA                         STONE, ROBERT                         STONE, RON
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STONE, SAM                           STONE, SARAH                          STONE, SONJA
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STONE, STEFANIE                      STONE, STEPHANIE                      STONE, TIFFANY
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STONE, TODD                          STONE, VICTORIA                       STONE, WYATT
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STONE, ZAWADI                        STONEBURNER, MADISON                  STONEHAM, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STONEHAMS, THE        Case 22-11238-LSS    Doc 2 AUSTIN
                                     STONEHOCKER,    Filed 11/30/22      Page 4770 of 5495
                                                                              STONEHOUSE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




STONEKING, JACLYN                       STONEKING, MADISON                    STONEKING, SHANNON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONEMAN, SANDY                         STONE-MYERS, MADELAINE                STONER, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONER, JOE                             STONER, KELSEY                        STONER, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONER, MOLLY                           STONER, SHARON                        STONES, AMBER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STONEY, JAMES                           STOOPS, BEN                           STOPA, MELISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOPP, COURTNEY                         STORAR, JIM                           STORCH, DOUGLAS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORCH, ILIANA                          STORCH, KENNETH                       STORCK, ALAINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORCK, BROOKE                          STORDAL, DARLENE                      STOREPOINT APP
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




STOREPOINT                              STORER, ERIC                          STORER, KRYSTA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STORES, DEBRA         Case 22-11238-LSS
                                     STOREY,Doc 2 Filed 11/30/22
                                             HANNAH                   Page 4771 ofJANE
                                                                           STOREY, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STOREY, MARK                         STOREY, SHANNON                       STORINGE, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORINO, JENNY                       STORK, ABBY                           STORK, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORK, LUYI                          STORK, RYAN                           STORM, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORM, CADANCE                       STORM, CARLEY                         STORM, HANNAH
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STORM, JAMES                         STORM, JENNIFER                       STORM, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORM, MARY JO                       STORM, SHELBY                         STORME, TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORMENT, CAITLIN                    STORMENT, DIANE                       STORMER, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORMONT, KIRBY                      STORMS, MARISSA                       STORMS, PAULETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORONOWICZ, PAWEL                   STOROZUK, EMILY                       STOROZYNSKI, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STORRER, BROOKLYN     Case 22-11238-LSS
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                                                                           STORRS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORRS, MASON                        STORTI, CLAIRE                        STORTZ, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORTZ, ROGER                        STORY, CHUCK                          STORY, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORY, JAMIE                         STORY, JENNIFER                       STORY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STORY, KAILI                         STORY, KYMBERLYNN                     STORY, NICHOLE
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STORY, SARAH                         STORY, TOMIKA                         STORYVILLE CENTER FOR THE SPOKEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        WORD, INC
                                                                           (DBA THE MOTH)
                                                                           75 BROAD STREET, STE 2601
                                                                           NEW YORK, NY 10004



STORZ, GARTH                         STORZ, PEYTON                         STOS, MISSY
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STOSKOPF, EVAN                       STOTLER, CHARLES                      STOTT, KRISTEN
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STOTT, LAURA                         STOTT, NANCY                          STOTTLEMYER, KIMBERLY
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STOTTLEMYRE, MARILYN                 STOTTLER, JENNIFER                    STOTTS, ERICA
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STOTTS, SHANNA        Case 22-11238-LSS
                                     STOTTS,Doc 2 Filed 11/30/22
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STOUFFER, RYAN                       STOUGHTON, ALEXANDRA                  STOUGHTON, CLARA
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STOUGHTON, MICHELLE                  STOUP, DAVID                          STOUP, NATALIE
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STOUPPE, REBECCA                     STOUT, AMY                            STOUT, AMY
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STOUT, AUTUMN                        STOUT, BECKY                          STOUT, CATHERINE
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STOUT, JAMES                         STOUT, JAMES                          STOUT, JENNIFER
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STOUT, JENNIFER                      STOUT, JUSTIN                         STOUT, KENDALL
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STOUT, KRISTEN                       STOUT, KRISTIN                        STOUT, LAUREN
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STOUT, LYDIA                         STOUT, MICHELLE                       STOUT, MORRIS
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STOUT, NATALIE                       STOUT, PATRICIA                       STOUT, RAE
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STOUT, RENE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     STOUT, STEPHANIE                 Page 4774
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STOUT, WENDY                         STOUTAMYER, HANNAH                    STOUT-SMITH, KARI
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STOVALL, ANGELA                      STOVALL, ASHLEY                       STOVALL, AUSTIN
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STOVALL, CAITLYN                     STOVALL, CLAUDIA                      STOVALL, COREY
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STOVALL, ERIN                        STOVALL, ERIN                         STOVALL, KAREN
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STOVALL, SEAN                        STOVALL, SHANNON                      STOVCSIK, ELAINE
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STOVENOUR, REAGAN                    STOVER, BRITTANY                      STOVER, CHANILLE
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STOVER, CHRISTOPHER                  STOVER, DOREEN                        STOVER, GIGI
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STOVER, JESSICA                      STOVER, JESSICA                       STOVER, JULIE
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STOVER, KATELYNN                     STOVER, MELISSA                       STOVER, PATRICK
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STOVER, PM            Case 22-11238-LSS
                                     STOVER,Doc 2 Filed 11/30/22
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                                                                           STOVER, 5495
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STOWE, AARON                         STOWE, AMELIA                         STOWE, DENNIS
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STOWE, JACQUELINE                    STOWE, MAKENSIE                       STOWE, SHERRI
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STOWE, STEPHANIE                     STOWE, TERRI                          STOWELL, AARON
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STOWELL, AIDAN                       STOWELL, JUSTIN                       STOWELL, KATE
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STOWELL, KATE                        STOWELL, KELSEY                       STOWELL, STAN
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STOWELL, STEPHANIE                   STOWERS, AMANDA                       STOWERS, CASEY
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STOWERS, KELSEY                      STOWERS, MARTA                        STOY, RITA
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STOYO MEDIA UG                       STOYTCHEVA, IANA                      STPETER, CAROL
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BERLIN
GERMANY




STRABER, SUSAN                       STRACENER, APRIL                      STRACENER, ELIZABETH
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STRACENER, MELANIE    Case 22-11238-LSS    DocSARAH
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STRACHAM, CASSIE                     STRACHAN, CHRIS                       STRACHE, ANGELIKA
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STRACK, CATHLEEN                     STRACK, WILL                          STRACKA, KRISTA
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STRACKBEIN, ALEXAS                   STRADA, ELISABETH                     STRADER, BRYAN
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STRADER, ERIN                        STRADER, MAGGIE                       STRADER, SHAY
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STRADERGISTICS LLC                   STRADINS, EMILIJA                     STRADLING, BETH
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STRAESSLE, PENNY                     STRAGA, GREG                          STRAGNELL, GREGORY
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STRAHAN, ANNA                        STRAHAN, DOLLY                        STRAHIJA, ANITA
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STRAHLENDORF, MINDI                  STRAHM, CHLOE                         STRAHM, KAYCE
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STRAHM, MICHELLE                     STRAIGHT, DONNA                       STRAIGHT, MATTHEW
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                        Case 22-11238-LSS
STRAILEY-TILTON, WINIFRED              STRAIN, Doc 2 Filed 11/30/22
                                               BARBARA                  Page 4777
                                                                             STRAIN,of 5495
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STRAIN, MATTHEW                       STRAIT, BRIDGID                         STRAIT, MAGGIE
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STRAKA, BARB                          STRAKA, CHARLES                         STRAKA, KELLY
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STRALEY, AILIA                        STRALEY, NICK                           STRAM, DAVE
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STRAMA, KAT                           STRAMANDINOLI, MICHELANGELO             STRAN, WILLIAM
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STRAND, AINSLEY                       STRAND, AMY                             STRAND, BARB
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STRAND, DANICA                        STRAND, GARY                            STRAND, KAREN
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STRAND, KARL                          STRAND, LINDSEY                         STRAND, MATTHEW
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STRAND, SARAH                         STRANDELL, SONI                         STRANDT, MARY KAY
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STRANG, ANNA                          STRANG, MICHELLE                        STRANGE, ALEXANDER
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STRANGE, DAVID        Case 22-11238-LSS    Doc
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                                              HANNA                   Page 4778 of 5495
                                                                           STRANGE, HEATHER
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STRANGE, JACK                        STRANGE, JOHN                         STRANGE, PATRICIA
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STRANGE, SARAH                       STRANGE, STACEY                       STRANGE, TAYLOR
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STRANGE, VIRGINIA                    STRANGIA, CHARLEE                     STRANGIO, ROCCO
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STRANTZ, HUNTER                      STRASBURG, JENNIFER                   STRASBURGER, DAVID
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STRASBURGER, MEGAN                   STRASBURGER, REBECCA                  STRASNICK, ALYSON
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STRASSBURG, DELMAR                   STRASSENREITER, KERRY                 STRASSHEIM, MICHAEL
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STRASSHEIM, MICHAEL                  STRASSMAN, LAURIE                     STRASSNER, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STRASSNER, SARA                      STRATA TRUST COMPANY CUSTODIAN        STRATEGIC LAW PARTNERS, LLP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        500 SOUTH GRAND AVENUE SUITE 2050
                                                                           LOS ANGELES, CA 90071




STRATON, ALEXANDRA                   STRATT, MARA                          STRATTON, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STRATTON, CHRIS       Case 22-11238-LSS    DocHALEY
                                     STRATTON,  2 Filed 11/30/22      Page 4779  of 5495
                                                                           STRATTON, JACQUELINE
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STRATTON, JANELL                     STRATTON, JILL                         STRATTON, JODI
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STRATTON, KATRINA                    STRATTON, LINDSAY                      STRATTON, MELISSA
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STRATTON, RENEE                      STRATTON, TERRY                        STRATTON-JORDAN, ANGELIQUE
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STRATZ, ANNE MARIE                   STRAUB, DANELL                         STRAUB, DAVID
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STRAUB, KARLEY                       STRAUB, KYLE                           STRAUB, SHARON
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STRAUB, TR                           STRAUBEL, NICK & MEAGHAN               STRAUBINGER, KATHI
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STRAUCH, HEATHER                     STRAUCH, LAURA                         STRAUCH, MICHAEL
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STRAUS, AVI                          STRAUS, FRANCES                        STRAUSS, BARRY
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STRAUSS, CAROLINE                    STRAUSS, CHERYL                        STRAUSS, CRISSA
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STRAUSS, DONALD       Case 22-11238-LSS    Doc
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                                                                           STRAUSS, 5495
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STRAUSS, KRISTEN                     STRAUSS, LAUREN                       STRAUSS, LAUREN
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STRAUSS, SPENCER                     STRAUSS, STEVEN                       STRAUTMAN, MARTHA
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STRAVA, JUSTIN                       STRAW, HILARY                         STRAW, JENNIFER
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STRAWN, ALEX                         STRAWN, ELIZABETH                     STRAWSER, CHRIS
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STRAWSER, KALA                       STRAWTHER, TERESA                     STRAYHORN, VERNON
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STRAZZERI, MARK                      STRBO, ELLIE                          STREAHLE, JACLYN
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STREAMO, LINDA                       STREAMS, CANDACE                      STREB, MARIA
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STREB, MICHAEL                       STREBE, JOSHUA                        STREBER, SACHA
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STRECKERT, SHEILA                    STREEPER, KATHERINE                   STREEPER, MONICA
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STREET AUTHORITY LLC Case 22-11238-LSS
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                                                                           STREET,  5495
4601 SPICEWOOD SPRINGS RD, 3-100    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
AUSTIN, TX 78759-7844




STREET, SAMANTHA                     STREET, SYDNEY                        STREETER, AIMEE
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STREETER, CAROLINE                   STREETER, CHRISTOPHER                 STREETER, CORTNEY
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STREETER, KAILEY                     STREETER, LUKE                        STREETER, MARIA
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STREETER, NANCY                      STREETER, REBEKAH                     STREETER, TAYLOR
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STREETMAN, ANNIE                     STREETS, TANNA                        STREFF, CARYL
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STREFF, STEVE                        STREFLING, JASON                      STREHLER, BROOKE
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STREHLOW, SAVANNAH                   STREICH, ASHLEY                       STREICH, DANIELLE
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STREICH, JOHN                        STREICH, JUSTEEN                      STREID, LAURYN
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STREIFERD, TIFFANY                   STREILEIN, JULIA                      STREISAND, GORDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
STREISAND, JILL       Case 22-11238-LSS
                                     STREIT, Doc 2 Filed 11/30/22
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                                                                           STREITFELD, EVYAN
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STREJLAU, KERI                       STRELEC, CHRISTINE                     STRELINGER, KATIE
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STRELLISH, ROBERT                    STREMLAU, ELISSA                       STREMSTERFER, STEVE
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STRENGARI, LISA                      STRENING, BRIAN                        STRESZOFF, RUTH
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STRETCH, BROOKE                      STRETCHER, SANDY                       STRETZ, MEGHANN
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STREVER, GAIL                        STREY, ANN                             STREY, JOSH
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STRIANO, BERNADETTE                  STRIANO, MARISA                        STRIBLING, LORRAINE
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STRICHERZ, RAINI                     STRICKBERGER, SARAH                    STRICKER, AUSTIN
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STRICKER, BETHANY                    STRICKER, KELLY                        STRICKER, RYAN
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STRICKLAND, ALYSSA                   STRICKLAND, AMBER                      STRICKLAND, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STRICKLAND, ANNA      Case 22-11238-LSS     Doc CECIL
                                     STRICKLAND, 2 Filed 11/30/22     Page 4783  of 5495
                                                                           STRICKLAND, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STRICKLAND, DAN                      STRICKLAND, DAWN                       STRICKLAND, DEBRA
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STRICKLAND, EMILY                    STRICKLAND, EMILY                      STRICKLAND, JACKIE
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STRICKLAND, JAMES                    STRICKLAND, JUSTIN                     STRICKLAND, KELLY
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STRICKLAND, KELSEY                   STRICKLAND, KRISTEN                    STRICKLAND, LOGAN
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STRICKLAND, MALLORY                  STRICKLAND, MARGARET                   STRICKLAND, MARY
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STRICKLAND, MEGHAN                   STRICKLAND, MELISSA                    STRICKLAND, MELISSA
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STRICKLAND, SIDNEY                   STRICKLAND, STACIE                     STRICKLAND, TAYLOR
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STRICKLAND, TAYLOR                   STRICKLAND, TAYLOR                     STRICKLAND, TRAVIS
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STRICKLAND, TRAVIS                   STRICKLAND, VICTORIA                   STRICKLER, ALISON
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STRICKLER, KELLY JO   Case 22-11238-LSS     DocMARIE
                                     STRICKLER, 2 Filed 11/30/22         Page 4784  of 5495
                                                                              STRICKLER, NATALIE
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STRICKLIN, KYLE                         STRICKLIN, SONJA                       STRICKLING, HAYLEY
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STRICKULIS, JAMES                       STRID, SHANE                           STRIEGEL, LAINE
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STRIGHT, NICHOLE                        STRIKER, KIMBERLY                      STRINER, SAMANTHA
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STRING, SARAH                           STRINGER, ALYSSA                       STRINGER, DENISA
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STRINGER, ELIZABETH                     STRINGER, ERIN                         STRINGER, HANNA
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STRINGER, JILL                          STRINGER, LINDSAY                      STRINGFIELD, JOHN
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STRINGHAM, ANGELA                       STRINGHAM, JIM                         STRINGINI, ROBERT
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STRIPE                                  STRIPE-A-LOT                           STRIPENS, RYAN
ADDRESS UNAVAILABLE AT TIME OF FILING   1419 KANSAS CIR                        ADDRESS AVAILABLE UPON REQUEST
                                        CONCORD, CA 94521




STRIPLING, CASEY                        STRIPLING, THOMAS                      STRISSEL, KELLI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
STRITCH, CAITLIN      Case 22-11238-LSS     Doc 2 JANE
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STRMAC, MEREDITH                     STRNAD, LISA                          STROBACH, KATHRYN
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STROBBE (TITHOF), ANN                STROBING, ISABEL                      STROBING, JULIE
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STROBING, NICOLETTE                  STROBO, JOBY                          STROCK, LEAH
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STROCK, MELISSA                      STROCKBINE, VALERIE                   STRODE, CARYN
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STRODE, TIVEY                        STROEBEL, KYLIE                       STROEMER, HANNA
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STROEMPLE, DREW                      STROH, ALECIA                         STROH, ALICE
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STROH, JESICA                        STROHL, TODD                          STROHM, SETH
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STROHMAN, NICOLE                     STROHMAYER, ASHLEY                    STROHMENGER, RICHARD
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STROHMEYER, SHERRY                   STROHSCHEIN, AMY                      STROK, DENILAE
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STROKER, ALANA        Case 22-11238-LSS
                                     STROM, Doc 2 Filed 11/30/22
                                            CAROLINE                  Page 4786
                                                                           STROM,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STROM, DONNA                         STROM, ELIZABETH                       STROM, KARIN
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STROM, KELSEY                        STROM, LAUREN                          STROM, RACHEL
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STROM, SHANNON                       STROM, SUSAN                           STROMAN, LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STROMBECK, AMANDA                    STROMBERGER, RYAN                      STROME, MANDY
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STROMER, JAIME                       STROMERT, DANIELLE                     STROMINGER, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STROMIRE, TERRY                      STROMME, DALLAS                        STROMME, DARLA
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STROMME, NICHOLAI                    STROMSKI, STEVE                        STRONG, AMANDA
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STRONG, BRANDON                      STRONG, BRITTANY                       STRONG, CATHERINE
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STRONG, CHRISTIN                     STRONG, DIANE                          STRONG, DOMINIQUE
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STRONG, GWENDOLYN     Case 22-11238-LSS    Doc
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                                                                              STRONG, 5495
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STRONG, JO                              STRONG, KATE                          STRONG, KELCEY
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STRONG, KRISTY                          STRONG, LARISSA                       STRONG, LAURA
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STRONG, LINZI                           STRONG, MADELINE                      STRONG, MALLORY
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STRONG, MORGAN                          STRONG, NICOLE                        STRONG, PAUL
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STRONG, PAYTON                          STRONG, ROCHELLE                      STRONG, STEPHANIE
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STRONG, TERRI                           STRONG, TRICIA                        STRONG, VERONICA
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STRONGPROJECT INC                       STROPE, DARIN                         STROPE, JENNIFER
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STROPE, LEVI                            STROSCHEIN, SYDNEY                    STROSTER, LIANNA
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STROTH, JULIA                           STROTHER, AYANA                       STROTHER, KALI
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STROTHER, RACHEL      Case 22-11238-LSS    DocWAQIBA
                                     STROTHER,  2 Filed 11/30/22      Page 4788 of 5495
                                                                           STROTHERS, JULIA
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STROTHERS, MARKISHA                  STROTKAMP, TANESSA                     STROUD, DENISE
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STROUD, DONNY & MARDI                STROUD, KATHY                          STROUD, MAGGIE
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STROUD, MELISSA                      STROUD, MIKE                           STROUD, TETIA
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STROUGH, KRISTY                      STROUMBOS, NICOLE                      STROUMBOS, NIKKI
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STROUP, CHERI                        STROUP, EMILIE                         STROUP, JENN
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STROUP, JESSICA                      STROUSE, MORGAN                        STROUSS, MIKE
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STROYNY, TRISHA                      STROZIER, MICHELLE                     STROZIER, PHILLIP
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STRROMBERG, KIRSTEN                  STRUB, CHRIS                           STRUB, SUSAN
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STRUBE, HALEY                        STRUBE-WHITE, JESSICA                  STRUBLE, MATTHEW
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STRUCKMANN, ELIZABETH Case 22-11238-LSS    Doc
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                                                                            STRUDWICK, MARGARET
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STRUEBING, JEAN                      STRUM MEDIA INC.                       STRUM, MACIE
ADDRESS AVAILABLE UPON REQUEST       200 SUMMIT LAKE DRIVE 4TH FLOOR        ADDRESS AVAILABLE UPON REQUEST
                                     VALHALLA, NY 10595




STRUM, SCOTT                         STRUMBOS, LUCY                         STRUMINGER, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STRUMOR, MEREDITH                    STRUMWASSER, KATHY                     STRUNJAS, SASHA
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STRUNK, BLANCHE                      STRUNK, LYNN                           STRUNK, MAEGAN
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STRUNK, MARISA                       STRUTHER WHITE                         STRUTTON, KATHRYN
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STRUTZ COMPANY LTD                   STRUTZ, ELIZABETH                      STRUTZEL, RACHEL
1401 S SANTA FE AVE STE 6            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90021




STRUXNESS, HALEY                     STRYBOS, JORDAN                        STRYJAK, NIKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




STRYKER, CHLOE                       STRYKER, SAMANTHA                      STRYKOWSKY, MICHELE
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STRYS, PATRICA                       STRYSKO, MAUREEN                       STRZELCZYK, KYRA
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STRZEMPKO, MONICA     Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1432 N. VISTA ST. 2
                                                                           LOS ANGELES, CA 90046




STUART EDGERLY                       STUART I BARNEY                       STUART MCCALLA
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STUART MITCHELL                      STUART R RUSSELL                      STUART THOMPSON
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STUART, BLAINE                       STUART, CORI                          STUART, DAVID
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STUART, DENISE                       STUART, EDEN                          STUART, EMMA
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STUART, JAYDON                       STUART, JENNIFER                      STUART, JESSICA
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STUART, JONI                         STUART, KATHLEEN                      STUART, KIM
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STUART, NICOLA                       STUART, SARAH                         STUART, STACEY
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STUART, TAMI                         STUART, THEOMAR                       STUBBART, JEFFERY
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STUBBE, KAYLA                        STUBBLEFIELD, ASHLEY                  STUBBLEFIELD, DENISE
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STUBBLEFIELD, MADISON Case 22-11238-LSS    Doc 2MARGARET
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STUBBS, CHRISTOPHER                  STUBBS, MARISSA                         STUBBS, MEGHAN
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STUBBS, SARAH GRACE                  STUBBS, SHAENEN                         STUBBS, SHAENEN
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STUBEN, PHIL                         STUBER, REBECCA                         STUBER, VICTOR
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STUBERG, JESSICA                     STUBHUB.COM                             STUCCHIO, EMELIO
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STUCCHIO, RONALD                     STUCHLIK, DEREK                         STUCKART, ANNA
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STUCKE, DENNIS                       STUCKEL, HAYLEY                         STUCKENBERG, KRISTEN
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STUCKER, SEANSI                      STUCKEY, AMANDA                         STUCKEY, CONNIE
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STUCKEY, KRISTEN                     STUCKEY, MELANIE                        STUCKEY, PAIGE
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STUCKO, MARY                         STUDDARD, BYRON                         STUDENT, RYAN
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STUDER, SARAH         Case 22-11238-LSS
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                                                                           STUDHALTER, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STUDHOLME, NORA                      STUDIE, DELANNA                       STUDIO CENTER CORPORATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        161 BUSINESS PARK DRIVE
                                                                           VIRGINIA BEACH, VA 23462




STUDIO MAST LLC                      STUDIO PROPER                         STUDIOS, BINYAN
1934 W 33RD AVE.                     WINDSOR                               ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80211                     AUSTRALIA




STUDWELL, IRENE                      STUECKLE, KIMBERLY                    STUEHRK, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




STUEMPFIG, ALEXANDER C.              STUEMPFIG, MEGAN                      STUEMPFLE, PAULINE
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STUESSE, CAREY                       STUESSER, MEAGAN                      STUESSI, PEGGY
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STUESSY, CHRISTOPHER                 STUEVE, JESSICA                       STUEWE, ELIZABETH
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STUFFLE, LINDSAY                     STUFFLEBEAN, JENIFER                  STUFFLEBEAN, MADISYN
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STUFFLEBEAN, WESTIN                  STUFFT, MAKAELA                       STUHLMAN, JESSICA
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STUHLTRAGER, JENN                    STUHM, LINDSEY                        STUHR, KELLI
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STULBERG, SARAH       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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STULL, ANI                           STULL, ASHLEY                         STULL, CASEY
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STULL, KATHLEEN                      STULL, MICHAEL                        ST-ULME, BENJAMIN
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STULTS, JARED                        STULTS, MARY                          STULTZ, STACY
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STUMLER, ASHLEIGH                    STUMP, CHRISTIAN                      STUMP, RENEE
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STUMP, RICHARD                       STUMP, SARAH                          STUMPF, AMANDA
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STUMPF, ANNIE                        STUMPF, DIANE                         STUMVOLL, BRITTANY
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STUMVOLL, RYAN                       STUPKA, RENEE                         STURDEVAN, HIROKO
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STURDEVANT, GISELLE                  STURDY, LAYNE                         STURGE-ADAMS, JILLMARIE
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STURGELL, KATIE                      STURGEON, ABBY                        STURGEON, AMY
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STURGEON, ANN         Case 22-11238-LSS    DocHOLLY
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                                                                           STURGEON, SARAH
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STURGES, BRYA                        STURGES, THERESE                      STURGES, THOMAS
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STURGES-PERRY, SARAH                 STURGESS, JOHN                        STURGILL, CATHERINE
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STURGILL, KYRA                       STURGIS, KATHRYN                      STURGIS, SARAH
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STURIALE, MATT                       STURLAUGSON, RYAN                     STURM, MIKE
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STURM, TERESA                        STURMAN, LILY                         STURMER, CHERYL
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STURNIOLO, JENNIFER                  STURONAS, MEGAN                       STURROCK, DEBBIE
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STURSA, ROBIN                        STURTECKY, RONALD                     STURTEVANT, DENNIS
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STURTEVANT, MYCA                     STURTZ, JULIA                         STURTZ, LOUANNE
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STURTZ, MARIA                        STURTZ, REBECCA                       STURZ, JARED
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STURZL, TRAVIS        Case 22-11238-LSS     Doc
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                                                                           STUTSMAN, ALYSIA
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STUTZ, BRIAN                         STUTZ, JULIA                           STUTZ, SAMANTHA
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STUTZ, STEPHANIE                     STUTZMAN, ALYSSA                       STUTZMAN, BRYCE
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STUTZMAN, DAWN                       STUTZMAN, JODY                         STUTZMAN, NATALIE
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STUVEL, MICHELE                      STUVER, KAROLYN                        STVAN, DEBBIE
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STVARTAK, MICHAEL                    STYBR, EMILY                           STYER, CHRISTINA
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STYER-CAWTHORNE, MADELINE            STYGA, TYLERE                          STYLE D., LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         C/O WEINTRAUB TOBIN
                                                                            10250 CONSTELLATION BLVD., STE 2900
                                                                            LOS ANGELES, CA 90067




STYLES, GRACE                        STYLES, NICOLE                         STYMACKS, SEAN
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STYRON, ASHLEY                       STYVE, JULIE                           STYX, RACHEL
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SU, BINH                             SU, KAROLYN                            SU, NANCY
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SU, PAIFANG           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SU, SOPHIA                       Page 4796   of 5495
                                                                           SU, ZUBIN
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SUARDINI, ANTHONY                    SUARES, JENNY                         SUAREZ, ALINA
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SUAREZ, ANA                          SUAREZ, BERNARDO                      SUAREZ, CAMILO
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SUAREZ, CAROL AND TED                SUAREZ, CHRISTINE                     SUAREZ, CORINTH
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SUAREZ, CRYSTAL                      SUAREZ, EVELYN                        SUAREZ, FATIMA
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SUAREZ, GABRIELA                     SUAREZ, GISSELLE                      SUAREZ, HECTOR
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SUAREZ, ISABEL                       SUAREZ, JAMES                         SUAREZ, JAMIE
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SUAREZ, JODIE                        SUAREZ, JULIZZA                       SUAREZ, KASSANDRA
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SUAREZ, KYLE                         SUAREZ, LISA                          SUAREZ, LUIS
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SUAREZ, LUIS                         SUAREZ, LUIS                          SUAREZ, LUZ
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SUAREZ, LYDA          Case 22-11238-LSS
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SUAREZ, MARIA                        SUAREZ, MARYANNE                      SUAREZ, MELISSA
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SUAREZ, NATHAN                       SUAREZ, PAUL                          SUAREZ, SARAH
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SUAREZ, SHAWNA                       SUAREZ, STEPH                         SUAREZ, STEPHANY
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SUAREZ, YOLANDA                      SUAREZ, ZAIMA                         SUAREZ, ZAIRA
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SUAREZ-MARILL, BRENDA                SUAREZ-SARMIENTO, ALEXANDRA           SUASTE, JASSIBI
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SUASTEGUI, CHARLES                   SUAYAN, ANASTASIA                     SUAZO, BOB
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SUAZO, CHRIS                         SUAZO, JONATHAN                       SUBACH, MARA
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SUBAITIS, DANIELLE                   SUBAK, LAURA                          SUBEDI, ANGELA
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SUBHAS K MUKHOPADKYAY                SUBICH, SHERRISE                      SUBIDO, MARLY
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SUBOTNICK, JACOB                     SUBRAHMANYA SAI KIRAN KANTE             SUBRAMANIAM, TANESHA
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SUBRAMANIAN, ANURADHA                SUBRAMANYAM, ANUSHA                     SUBRATI, NASEEMA
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SUBRIZI, STEVIE                      SUBWAY                                  SUCAPANI, ERIN
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SUCCURO, JERRY                       SUCGANG, LAURIE                         SUCH, KYLE
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SUCH, MELODY                         SUCHAI GUMTRONTIP                       SUCHAIRE, ANTOINETTE
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SUCHAN, MARYLYNN                     SUCHER, ALANNA                          SUCHER, BLAIR
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SUCHER, GINA                         SUCHETSKI, MIRELLA                      SUCHLA-DOYLE, COLETTE
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SUCHMA, CHRISTOPHER                  SUCHOV, REBECCA                         SUCHY, ELIZABETH
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SUCILLA, MAX                         SUCKLING, KATRINA                       SUD, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SUD, VIJAY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUDARSAN, VIVEK                      SUDDARTH, MELISSA                     SUDDARTH, SARAH
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SUDDERTH, SHANNA                     SUDDLESON, GEOFFREY                   SUDDUTH, JAMES
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SUDELA, KRISTEN                      SUDERS, DANIEL                        SUDHA MICHAELS
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SUDHAKAR LINGINENI                   SUDJIAN, TORI                         SUDLER, NICOLE
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SUDOL, JUSTIN                        SUE ANN PHILIPPBAR                    SUE BERGER
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SUE ELLEN PAGE                       SUE MCFARLANE                         SUE, HANNAH
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SUE, MOMMA                           SUEHR, SHANE                          SUEL, KATIE
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SUELLENTROP, KALIE                   SUEN, LONNIE                          SUENAGA, LEIGHA
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SUEPKE, CHELSEA                      SUER, GARY                            SUERMANN, DAWN
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SUERO, JESSE          Case 22-11238-LSS    Doc 2 Filed
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SUERTH, KELLY                        SUESKIND, JESSICA                       SUESS, NICHOLAS
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SUEYOSHI, LIA                        SUEZ, MICHELLE                          SUFAK, JACQUELIN
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SUFFICOOL, MAKENZY                   SUFFREDINI, KEVIN                       SUFI MEDALLION TAXI
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SUFLETA, MARIE                       SUGALOU, PDX                            SUGAR PAPER
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SUGARFINA, LLC.                      SUGARFISH                               SUGASAWA, TAKAYUKI
3915 W. 102ND STREET                 ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
INGLEWOOD, CA 90303




SUGEID RENDON                        SUGERIK, MARLANA                        SUGG, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SUGG, KIM                            SUGGETT, ALMA                           SUGGETT, MATTHEW
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SUGGS, LAUREL                        SUGGS, MAURA                            SUGGS, MICHAEL
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SUGGS, TANA                          SUGGS, WILLIAM                          SUGIUCHI, DIANA
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SUGRIM, PEGGY         Case 22-11238-LSS    Doc
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SUGRUE, MEAGHAN                      SUGRUE, MEGAN                         SUGU, NELLY
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SUH, LAURA                           SUH, STEVEN                           SUH, VANESSA
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SUHADI, KIKI                         SUHAKA, CASSANDRA                     SUHEIL KHURI
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SUHER, LORI FORAMY                   SUHEY, JOSEPH                         SUHITA GOSWAMI
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SUHNASKA, IRYNA                      SUI SHEN                              SUING, KACEY
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SUING, MIKE                          SUISKIND, BEN                         SUISSA, ANDRE
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SUISSA, BELKIS                       SUIT, AMY                             SUITE RENOVATION, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 571825
                                                                           TARZANA, CA 91357




SUITER, ELIZABETH                    SUITERS, KATHERINE                    SUITS, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUITTS, JASON                        SUITY, MORGAN                         SUJAL SHAH
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SUKENIC, DEBBIE                      SUKENICK, AMANDA                       SUKHU, JAZMIN
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SUKIMOTO, CAROL                      SUKIS, DANIELLE                        SUKO, KRISTINA
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SUKSOMSONG, SHALIGA                  SUKURS, ANGELA                         SULAIMANEE, HUSEINA
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SULAK, HEIDI                         SULARZ, WESLEY                         SULAVA, LAUREN
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SULC, DEREK                          SULC, ELIZABETH                        SULCA, JOHANNA
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SULECKI, JESSICA                     SULEIMANYAN, ASTINE                    SULEJEWSKI, CYNTHIA
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SULIE OBER                           SULIK, JEANNE                          SULIMAN, JOSEPHINE
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SULISCALLEJA, DONNA                  SULISTIO, ANDREW                       SULKES, JOSHUA
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SULKY, KAYTE                         SULLENDER, KATHY                       SULLENGER, ASHLEY
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SULLINGER, ALYSSA                    SULLINS, MATTHEW                       SULLINS, REAGAN
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SULLIVAN BROWN, LINDSEY              SULLIVAN ROEMIG, MARGARET              SULLIVAN, ADAM
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SULLIVAN, AELISH                     SULLIVAN, ALEXANDRA                    SULLIVAN, ALLISON
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SULLIVAN, AMANDA                     SULLIVAN, AMANDA                       SULLIVAN, ANDREW
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SULLIVAN, ANNA                       SULLIVAN, ASHLEY                       SULLIVAN, BARBARA
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SULLIVAN, COLLEEN                    SULLIVAN, CONNOR                       SULLIVAN, CONNOR
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SULLIVAN, COREY                      SULLIVAN, COURTNEY                     SULLIVAN, CURT AND CARRIE
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SULLIVAN, CYNTHIA                    SULLIVAN, DARYL                        SULLIVAN, DAWN
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SULLIVAN, EMILY                      SULLIVAN, EMILY                        SULLIVAN, ERICA
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SULLIVAN, JACLYN                     SULLIVAN, JAIRA                        SULLIVAN, JASMINE
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SULLIVAN, JOHN                       SULLIVAN, JOSEPH                       SULLIVAN, JOSEPH
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SULLIVAN, KATE                       SULLIVAN, KATHERINE                    SULLIVAN, KATHLEEN
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SULLIVAN, KATHRYN                    SULLIVAN, KATIE                        SULLIVAN, KELLEY
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SULLIVAN, KERRIANNE                  SULLIVAN, KERRY                        SULLIVAN, KERRY
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SULLIVAN, KERRY                      SULLIVAN, KEVIN                        SULLIVAN, KIM
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SULLIVAN, KIMBERLY                   SULLIVAN, KRISTEN                      SULLIVAN, KRISTIN
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SULLIVAN, LAUREN                     SULLIVAN, LAUREN                       SULLIVAN, LESLIE
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SULLIVAN, LINDSAY                    SULLIVAN, LINDSAY                      SULLIVAN, LINDSEY
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SULLIVAN, MALLORY                    SULLIVAN, MARGARET                     SULLIVAN, MARGARET
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SULLIVAN, MARY                       SULLIVAN, MARY                         SULLIVAN, MATT
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SULLIVAN, MATTHEW                    SULLIVAN, MAUREEN                      SULLIVAN, MAUREEN
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SULLIVAN, MAUREEN                    SULLIVAN, MAX                          SULLIVAN, MEAGAN
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SULLIVAN, MELISSA                    SULLIVAN, MELISSA                      SULLIVAN, MICHELLE
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SULLIVAN, MIKE                       SULLIVAN, MOLLY                        SULLIVAN, NATALIE
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SULLIVAN, NICHOLE                    SULLIVAN, PATRICIA                     SULLIVAN, PATRICK
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SULLIVAN, PATRICK                    SULLIVAN, PAUL                         SULLIVAN, PAUL
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SULLIVAN, RILEY                      SULLIVAN, RILEY                        SULLIVAN, ROBERT
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SULLIVAN, SARA                       SULLIVAN, SARA                         SULLIVAN, SARA
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SULLIVAN, SARAH                      SULLIVAN, SARINA                       SULLIVAN, SEAN
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SULLIVAN, SEAN                       SULLIVAN, SEAN                         SULLIVAN, SEAN
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SULLIVAN, SEAN                       SULLIVAN, SHANNON                      SULLIVAN, SHEVONNE
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SULLIVAN, STACEY                     SULLIVAN, STEVEN                       SULLIVAN, SUSAN
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SULLIVAN, SUSAN                      SULLIVAN, SUSAN                        SULLIVAN, SUZANN
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SULLIVAN, SUZANNE                    SULLIVAN, TAEGH                        SULLIVAN, TARA
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SULLIVAN, TRAVIS                      SULLIVAN, TRICIA                       SULLIVAN, VERONICA
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SULLIVAN, VERONICA                    SULLIVAN, WILLIAM                      SULLIVAN, YVONNE
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SULLIVAN, ZOILA                       SULLIVAN-BROWN, JESSICA                SULLIVAN-COVERT, TRACEY
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SULLIVANT, TORI                       SULLO, GARY                            SULLOWAY, ELEONORE
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SULLY, NANCY                          SULSER, CAROLE                         SULTAN GARDNER, SHERESE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SULTANI, NIZAR                        SULZER, ZAYDA                          SUMA, EMILY
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SUMA, SUNDJATA                        SUMANG, ALEXANDRA                      SUMAOANG, SHAWNNA
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SUMIDA, BRITNI                        SUMIGRAY, WILLIAM                      SUMIKO T REIMER
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SUMIT KUMAR                           SUMIT PANJABI                          SUMITA MULLICK
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SUMLER, HEATHER       Case 22-11238-LSS
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                                                                           SUMMARS, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUMMAY, STANTON D                    SUMME, VIRGINIA                       SUMMER BENFORD
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SUMMER XU                            SUMMER, TARA                          SUMMERFIELD, KRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUMMERHILL, LAURA                    SUMMERLAND WINE BRANDS                SUMMERLAND WINE BRANDS, LLC
ADDRESS AVAILABLE UPON REQUEST       35 INDUSTRIAL WAY                     DBA TERRAVANT WINE COMPANY, LLC
                                     BUELTON, CA 93427                     ATTN: GENERAL COUNSEL
                                                                           35 INDUSTRIAL WAY
                                                                           BUELLTON, CA 93427



SUMMERLIN, CHARLES                   SUMMERLIN, LINDA                      SUMMERLIN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUMMERS TROIANELLO, EMMA             SUMMERS, ADELE                        SUMMERS, ALVETA
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SUMMERS, ANNE                        SUMMERS, ASHLEY                       SUMMERS, BETH
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SUMMERS, BRENT                       SUMMERS, BROOKE                       SUMMERS, CRAIG
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SUMMERS, EMILY                       SUMMERS, GARY                         SUMMERS, GARY
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SUMMERS, GENEVIEVE                   SUMMERS, JOCELYN                      SUMMERS, JORDAN
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                                                                            SUMMERS, LAWANNA
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SUMMERS, LEIGH                       SUMMERS, LONNI                          SUMMERS, PETER
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SUMMERS, PHILIP                      SUMMERS, SARAH                          SUMMERS, SARKA
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SUMMERS, STACEY                      SUMMERS, SUSAN                          SUMMERS, TAYLOR
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SUMMERS, TERESA                      SUMMERVILLE, JONATHAN                   SUMMERVILLE, NATALIE
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SUMMIT RETAIL SOLUTIONS, INC.        SUMMIT SECURITY SERVICES INC.           SUMMIT SERIES
84 GIFFORD ST.                       390 RXR PLAZA, WEST TOWER LOBBY LEVEL   ADDRESS UNAVAILABLE AT TIME OF FILING
NEW BEDFORD, MA 02744                UNIONDALE, NY 11556




SUMNER, ANGELA                       SUMNER, CARA                            SUMNER, JAMIE
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SUMNER, JENNIFER                     SUMNER, JESSICA                         SUMNER, JON
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SUMNER, JUDITH                       SUMNER, KATHERINE                       SUMNER, LAUREN
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SUMNER, LORI                         SUMNER, MEGAN                           SUMNER, PAIGE
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SUMNER-PRITCHARD, DANA               SUMNERS, LINSEY                       SUMP, JACKSON
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SUMPTER, CHRISTIAN                   SUMRALL, MICHELLE                     SUMRALL, TARA
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SUMSKY, KEN                          SUMSTAD, KRISTIN                      SUMUKH PAIANGLE
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SUN, GUANGYU                         SUN, JERRY                            SUN, KATHERINE
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SUN, LESLEY                          SUN, RYAN                             SUN, SIRUI
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SUN, SUZANNE                         SUN, THOMAS                           SUN, VICTORIA
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SUN, WAYNE                           SUN, XIAOSEN                          SUN, YUQI
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SUN, YU-TING                         SUNARYO, ALICIA Y.                    SUND, SCOTT
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SUNDARARAJAN, KRIPA                  SUNDARESAN SUBRAMANIAM                SUNDAY, CHRIS
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SUNDBACK, CHRIS                      SUNDBERG, KRISTEN                     SUNDBERG, KRISTIN
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SUNDBERG, VAL                        SUNDE, STEPHANIE                      SUNDEEP SHAH
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SUNDELL, OLIVIA                      SUNDERAJAN, TRISHA                    SUNDERLAND, ROBERT
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SUNDERMAN, NOELLE                    SUNDHAR SEKHAR                        SUNDQUIST, ANTHONY
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SUNDQUIST, DEVIN                     SUNDQUIST, LEAH                       SUNDSTEDT, SAMANTHA
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SUNDSTROM, HAYLEIGH                  SUNDSTROM, JON                        SUNDSTROM, MARYELLEN
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SUNDSTROM, NATALIE                   SUNDSVOLD, KELLY                      SUNDWALL, BEN
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SUNG YUN LEE                         SUNG, JENNIFER                        SUNG, OSCAR
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SUNGHOON KIM                         SUNIER, CONNOR                        SUNIGA, JANNILIZ
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                                                                              SUNKING  5495
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SUNNENBERG, SCOTT                     SUNNY SPOT                              SUNOO, HYE RIM
ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




SUNSANEEVITHAYAKUL, JATUPHAT          SUNSERI, ERICA                          SUNSERI, MARIANNE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SUNSERI, SHANNA                       SUNSERI, STEVE                          SUNSET RIDGE GOLF
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




SUNSET SOCIAL, INC.                   SUNSHINE AGRICULTURE                    SUNSHINE, STEPH
1671 ORANGE BLOSSOM WAY               7108 N. FRESNO STREET SUITE 401         ADDRESS AVAILABLE UPON REQUEST
ENCINITAS, CA 92024                   FRESNO, CA 93720




SUNTHA, SETH                          SUO, TINA                               SUOZZO, CHRISTIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SUP DOLL LTD                          SUPAN, ALEJANDRA                        SUPAN, CARA
64 NEW CAVENDISH STREET               ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
LONDON W1G8TB
UNITED KINGDOM




SUPAN, DIANE                          SUPENSKI, SARAH                         SUPER G FUNDING, LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          1655 NORTH FORT MYER DRIVE, SUITE 700
                                                                              ARLINGTON, VA 22209




SUPER G FUNDING, LLC                  SUPERBA FOOD BREADVENICE                SUPERIOR BP
23 CORPORATE PLAZA DRIVE, SUITE 101   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
NEWPORT BEACH, CA 92660




SUPINKA, CHELSEA                      SUPLER, CAROL                           SUPLICY BATISTA, MARIANA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SUPPA, LINDSAY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SUPPA, TANYA                          Page 4815
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




SUPPES, DAVID                           SUPPES, DEBBIE                          SUPPLE, MAGGIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SUPPLIESOUTLET.COM                      SUPPLYGEEKS.COM                         SUPPORTFOURSQUARE.COM
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




SUPRAK, DANIEL                          SUPYK, DANIELLE                         SUQUE, JONATHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SUR LA TABLE                            SURACE-AGUIRRE, VICTORIA                SURAK, JESSICA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SURALEIGH, LEMUEL                       SURAMPUDI, VIJAYA                       SURAPANENI, RUSHIL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SURAPANENI, SAHITI                      SURATT, KATHLEEN                        SURDOVEL, KATHRYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SUREL, HASIM                            SURESH CHETTY                           SURESH SHARMA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SURESH, GOPINATH                        SURESH, SHWETHA                         SURESH, SONIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




SURESHCHANDRA PATEL                     SURETTE, ALLISON                        SURETTE, GREGORY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SURETTE, JEANNE       Case 22-11238-LSS    Doc
                                     SURETTE,    2 Filed 11/30/22
                                              RACHEL                  Page 4816
                                                                           SURETYof 5495 INSURANCE SERVICES,
                                                                                  SOLUTIONS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        INC.
                                                                           ADDRESS UNAVAILABLE AT TIME OF FILING




SURFACE, COLLIN                      SURFACE, JEREMIAH                     SURFACE, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SURFACE, SAMANTHA                    SURFACE, TORI                         SURFAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




SURFRIDER FOUNDATION                 SURFUS, NATALIE                       SURGEON, WILLIAM
PO BOX 73550                         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN CLEMENTE, CA 92673




SURI, DIVYA                          SURI, GUNITA                          SURI, PALAK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SURIEL, GEINIRIS                     SURKUS INC.                           SURMACZ, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       3232 NEBRASKA AVE                     ADDRESS AVAILABLE UPON REQUEST
                                     SANTA MONICA, CA 90404




SURMEIER, MEGAN                      SUROM, DANIEL                         SUROVIK, MACIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUROWITZ, KRISTEN                    SURPRISE, JENNIFER                    SURPRISE, VICTORIA FRANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SURRATT, MELODIE                     SURREY, BARBARA                       SURRY, KIRK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SURUJBHAN, SUNITA                    SURUN, ZARIAH                         SURUN, ZARIAH
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SURVANT, ERIN         Case 22-11238-LSS
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                                                                           SURVILLION, JALEESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




SURYK, RICK                          SURYK, RICK                           SUSALLA C/O MARY TOOMEY, RO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUSAN CLAIRE THOMPSON                SUSAN CONSIDINE                       SUSAN DAWN MERREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUSAN DE JACKMO                      SUSAN DELAO                           SUSAN DEVITO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUSAN DONNELL                        SUSAN E STUVER                        SUSAN HYNES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUSAN J HYNSON                       SUSAN KAY CHIDDIX                     SUSAN L MEANS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUSAN LATHAM                         SUSAN LEE EBNOTHER DICKINSON          SUSAN MARIE LOOMIS WILSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUSAN MEES                           SUSAN PRATT                           SUSAN SMITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUSAN T ROMITO                       SUSAN TROTTER                         SUSAN WILFORD
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SUSAN, BICKFORD                      SUSAN, MARY                           SUSANNE CLAUDETTE LUNDE
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SUSANNE EHRENSTEIN    Case 22-11238-LSS
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SUSHI AKATORA                           SUSICK, THEODORE                        SUSIE BUNTING
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SUSIE Q                                 SUSIECAKES                              SUSINI, GINNY
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SUSINO, ALEXANDRA                       SUSKO, DAWN                             SUSKO, RJ
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SUSLAK, JASON                           SUSMAN, KATHLEEN                        SUSNER, NATALIE
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SUSPENSKI, CHARLOTTE                    SUSPENSKI, JENNIFER                     SUSS, ERIN
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SUSSKIND, PAIGE                         SUSSMAN, CRAIG                          SUSSMAN, DANIEL
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SUSSMAN, EVAN                           SUSSMAN, FRANCESCA                      SUSSMAN, KINNERET
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SUSSMAN, SCOTT                          SUSSWEIN, ASHER                         SUSTAETA, ANGEL
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SUSTAITA KRYSTAL                        SUSTEK, ERIN                            SUTARIA, YASH
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SUTEDJA, EMILY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     SUTER, DAVID                     Page 4819
                                                                           SUTER,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUTER, JOHN                          SUTER, JULIE                          SUTER, TATUM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUTERA, GILLIAN                      SUTERA, MARC                          SUTERS, DANA
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SUTHARD, JESSICA                     SUTHER, ALEXIS                        SUTHERBURG, CIARA
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SUTHERLAND, ALICE                    SUTHERLAND, BRI                       SUTHERLAND, CARA
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SUTHERLAND, CLAUDIA                  SUTHERLAND, CLAUDIA                   SUTHERLAND, DOROTHY
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SUTHERLAND, JALAIS                   SUTHERLAND, JEN                       SUTHERLAND, JOHN
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SUTHERLAND, KATHERINE                SUTHERLAND, KATHLEEN                  SUTHERLAND, KATHRYN
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SUTHERLAND, KELSEY                   SUTHERLAND, LARRY                     SUTHERLAND, LAUREN AND DANIELLE
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SUTHERLAND, LEAH                     SUTHERLAND, LYNDA                     SUTHERLAND, MARILYN
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SUTHERLAND, NICHOL    Case 22-11238-LSS    Doc 2OLIVIA
                                     SUTHERLAND,     Filed 11/30/22      Page 4820 of 5495
                                                                              SUTHERLAND, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SUTHERLAND, ROSS                     SUTHERLAND, WENDY                        SUTHERLEN, LETITIA
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SUTKUS, LAUREN                       SUTLIEF, SARA                            SUTLIFF, GANENE
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SUTLIFF, JENNIFER                    SUTLIFF, JESSICA                         SUTNER, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SUTO, ENA                            SUTPHEN, CHRIS                           SUTPHEN, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SUTPHEN, ERIC                        SUTPHIN, KACY                            SUTPHIN, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SUTRADHAR, INDORICA                  SUTSON, ANGELINA                         SUTTATI, TUSHAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SUTTEN, BRANDI                       SUTTER HOME WINERY, INC.                 SUTTER, DANA
ADDRESS AVAILABLE UPON REQUEST       (TRINCHERO FAMILY ESTATES)               ADDRESS AVAILABLE UPON REQUEST
                                     100 ST. HELENA HWY (HWY 29) SOUTH
                                     ST. HELENA, CA 94574




SUTTER, KATHLEEN                     SUTTER, RON AND JANIE                    SUTTER, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




SUTTIE, AMANDA                       SUTTLE, CICELY                           SUTTLE, GENEVE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
SUTTLES, BRANDI       Case 22-11238-LSS    Doc
                                     SUTTLES,    2 Filed 11/30/22
                                              JAMIE                   Page 4821  of LINDSEY
                                                                           SUTTLES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SUTTNER, JENNIFER                    SUTTON, ALANNA                         SUTTON, AMBER
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SUTTON, ANDREA                       SUTTON, ANNE                           SUTTON, ARIEL
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SUTTON, BRITTANY                     SUTTON, CAROLYN                        SUTTON, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SUTTON, CHANDRA                      SUTTON, CHRISTIE                       SUTTON, DEISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SUTTON, DIONNE                       SUTTON, FAITH                          SUTTON, GINA
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SUTTON, GREG                         SUTTON, GREG                           SUTTON, HILLARY
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SUTTON, HOLLIE                       SUTTON, JENNA                          SUTTON, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SUTTON, JULIE                        SUTTON, KATHERINE                      SUTTON, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SUTTON, KAYLA                        SUTTON, LEE                            SUTTON, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SUTTON, LINDSEY       Case 22-11238-LSS
                                     SUTTON,Doc 2 Filed 11/30/22
                                             MAEGAN                   Page 4822 ofMARIA
                                                                           SUTTON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUTTON, MARYNELL                     SUTTON, MARYSA                        SUTTON, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUTTON, MORGAN                       SUTTON, PATT                          SUTTON, RALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUTTON, REBECCA                      SUTTON, ROBIN                         SUTTON, SOPHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUTTON, STEPHANIE                    SUTTON, SUSAN                         SUTTON, SYDNEY
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SUTTON, TERRI                        SUTTON, THERESA                       SUTTON, ZANELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUTYAK, ANDREA                       SUTYAK, KATHY                         SUYDAM, BARRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUYDAM, TRACEY                       SUYKO, AIMEE                          SUZANNE CHAPMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUZANNE GAINEY                       SUZANNE LATAPIE                       SUZANNE LEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUZETH SOTO                          SUZETTE JAMES                         SUZIE BOLOZKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SUZIE, HANDLEY,       Case 22-11238-LSS    DocLEIGH
                                     SUZNOVICH, 2 Filed 11/30/22      Page 4823   of 5495
                                                                           SUZSI, MATEZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUZUKA, ANDREW                       SUZUKI, JUNEVE                        SUZUKI, MOSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SUZUKI, SHUNSUKE                     SUZUKI, STACY                         SUZY AND MICHY, DR.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SVAGERKO, JAMES                      SVARCZKOPF, DANIELLE                  SVASTISALEE, DEJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SVATEK, MARLOW                       SVATOPOLSKY, SUSAN                    SVATOS, JEANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SVB ANALYTICS                        SVEC, TATIANA                         SVEEN, JESSICA
MAILSTOP HF 256                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
3003 TASMAN DRIVE
SANTA CLARA, CA 95054




SVENDSEN, JON                        SVERADA, ANN                          SVERDLOVA, RITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SVERDRUP, SASHA                      SVETICH, TYLER                        SVETIEV, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SVIBA, TRACEY                        SVIHEL, DAN                           SVILAR, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SVITELSKA, OLGA                      SVITITSKAYA, AVELINA                  SVOBODA, JOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SVONAVEC, MICHELLE    Case 22-11238-LSS
                                     SVRCEK,Doc 2 Filed 11/30/22
                                             SAMANTHA                    Page 4824
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




SWABB, NATALIE                          SWADLEY, NATALIE                      SWAFFORD, BRANDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWAFFORD, ELIZABETH                     SWAFFORD, LARRY                       SWAFFORD, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWAFFORD, SARAH                         SWAGLER, GARY                         SWAGO, LAUREN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWAHILI                                 SWAHL, JUDY                           SWAILES, EVE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWAIM, TRACIE                           SWAIN, BRANDON                        SWAIN, FRANK
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SWAIN, JESSICA                          SWAIN, KEIKO                          SWAIN, KRISTEN
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SWAIN, KRYSTAL                          SWAIN, MARY                           SWAIN, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWAIN-ENG, REBECCA                      SWAIT II, QUINCY                      SWAIT, CAROLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWAKOPF, RACHEL                         SWALE, TOM                            SWALL, MICAELA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SWALLOW, AUSTIN       Case 22-11238-LSS
                                     SWALM, Doc
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                                                                           SWALWELL, FRANCESCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWAN CENDEJAS, NANCY                 SWAN, ASHLEY                          SWAN, BREANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWAN, CHERIE                         SWAN, DEMMY                           SWAN, DEXTER
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SWAN, JANAE                          SWAN, KIERA                           SWAN, KRISTINA
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SWAN, MADELINE                       SWAN, MEGAN                           SWAN, TAMARA
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SWAN, WAYNE                          SWANBERG, RENEE                       SWANDER, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANDER, SCOTT                       SWANE, COLBY                          SWANEK, SARAH
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SWANEY, ARLINGTON                    SWANGER, KYMBERLYN                    SWANGER, SARAH
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SWANGER, SHAUN                       SWANGO, ANDREW                        SWANHOLM, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANI, JOANNA                        SWANK, BRIAN                          SWANK, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SWANK, DESTINEE       Case 22-11238-LSS
                                     SWANK, Doc 2 Filed 11/30/22
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                                                                           SWANK,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANLUND, CALLIE                     SWANN, BECKY                          SWANN, DANIELLE
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SWANN, SAMANTHA                      SWANNER, EMMA                         SWANNER, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANNIE, ROBERT                      SWANSEN, DENISE                       SWANSIGER, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANSON WILLLIAMS, SUNRISE           SWANSON, ALEXANDRA                    SWANSON, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANSON, ASHLEY                      SWANSON, ASHLEY                       SWANSON, ASHLEY
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SWANSON, BRIAN                       SWANSON, BRIAN                        SWANSON, BRIANNA
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SWANSON, CLAIRE                      SWANSON, CLAY                         SWANSON, DEVON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANSON, DIANE                       SWANSON, ELIZABETH                    SWANSON, ERIK
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SWANSON, ERIN                        SWANSON, ERYN                         SWANSON, ESTHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SWANSON, HANNAH       Case 22-11238-LSS    Doc
                                     SWANSON,   2 Filed 11/30/22
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                                                                           SWANSON, IAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANSON, JEFF                        SWANSON, JESSICA                      SWANSON, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANSON, KATHERINE                   SWANSON, KATHRYN                      SWANSON, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANSON, KELSEY                      SWANSON, KELSIE                       SWANSON, KENDALL
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SWANSON, KRISTEN                     SWANSON, KRISTEN                      SWANSON, MADELEINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANSON, MARISA                      SWANSON, MCKENZIE                     SWANSON, MIRANDA
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SWANSON, NIKKOLE                     SWANSON, PAM                          SWANSON, RENEE
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SWANSON, RON                         SWANSON, SAMANTHA                     SWANSON, SAMANTHA
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SWANSON, SHAVON                      SWANSON, SHAYNA                       SWANSON, STEPHEN
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SWANSON, TARA                        SWANSON, TRACY                        SWANSON, WESLEY
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SWANSON, WILLIAM      Case 22-11238-LSS    Doc
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                                                                           SWANTEK, HAYLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SWANTON, AMANDA                      SWAPAN KUMAR CHATTOPADHYAY            SWAPNA GHANTA
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SWARA MEHTA                          SWARNER, KIM                          SWART, CATHERINE
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SWART, ROBYN                         SWARTLEY, MELISSA                     SWARTOUT, KATIE
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SWARTS, MELISSA                      SWARTWOOD, KAITLIN                    SWARTZ, ALYSSA
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SWARTZ, ANDREW                       SWARTZ, AUSTYN                        SWARTZ, AVERY
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SWARTZ, BRIAN                        SWARTZ, DANYELL                       SWARTZ, GEORGEANN
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SWARTZ, JACOB                        SWARTZ, JENNIFER                      SWARTZ, KRISTY
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SWARTZ, LAURA                        SWARTZ, LESLEY                        SWARTZ, MICHAEL
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SWARTZ, RACHAEL                      SWARTZ, RENEE                         SWARTZ, ROBERTA
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SWATKINS, MELANIE                    SWAVELY, LYNN                         SWAYZE, EMMA
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SWEANY, ERICA                        SWEARINGEN, JUSTIN                    SWEARINGEN, SIMONE
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SWEASY, DEBRA                        SWEAT, ANGIE                          SWEAT, LEXIE
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SWEATT, OLIVIA                       SWEAZEA, CALI                         SWEAZEY, RYAN
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SWEDARSKY, DAVID                     SWEDBERG, JESSICA                     SWEDBERG, KIM
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SWEDBERG07, KAREN                    SWEDICK, JAMI                         SWEDIN, TAD
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SWEDISH, JAN                         SWEDISH, TYNE                         SWEDLER, ALLYSON
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SWEENEY, ABBIE                       SWEENEY, ALEX                         SWEENEY, AMANDA
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SWEENEY, AMANDA                      SWEENEY, ANNE-MARIE                   SWEENEY, ARIANA
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SWEENEY, COLLEEN                     SWEENEY, DAN                          SWEENEY, DANIELLE
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SWEENEY, DARYL                       SWEENEY, ED                           SWEENEY, EILEEN
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SWEENEY, EMILY                       SWEENEY, ERIN                         SWEENEY, ERIN
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SWEENEY, FAY                         SWEENEY, HADLEY                       SWEENEY, JAMES
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SWEENEY, JAMES                       SWEENEY, JASHUA                       SWEENEY, JESSICA
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SWEENEY, JOHN                        SWEENEY, JULIA                        SWEENEY, KAITLYN
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SWEENEY, KAJI                        SWEENEY, KAREN                        SWEENEY, KATE
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SWEENEY, KIMBERLY                    SWEENEY, LANDRA                       SWEENEY, LEIGHANN
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SWEENEY, LINDSAY                     SWEENEY, LISA                         SWEENEY, LYN
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SWEENEY, MARY BETH    Case 22-11238-LSS    Doc
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                                                                              SWEENEY, MICHAEL
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SWEENEY, MIKE                           SWEENEY, PAMELA                       SWEENEY, REGINA
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SWEENEY, ROBERT                         SWEENEY, RYAN                         SWEENEY, RYAN
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SWEENEY, SAMANTHA                       SWEENEY, SEAN                         SWEENEY, SHERMAN
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SWEENEY, TERESA                         SWEENEY, VALERIE                      SWEENEY, VERNA
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SWEENEY-MORROW, ERIN                    SWEENY, BETH                          SWEENY, JAMES
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SWEENY, JILL                            SWEEPE, KYLLI                         SWEERS, COREY
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SWEET, ASA                              SWEET, CAROL                          SWEET, CECILY
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SWEET, DAVE                             SWEET, HANNA                          SWEET, JAMIE
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SWEET, JEAN           Case 22-11238-LSS
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                                                                             SWEET,of 5495
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SWEET, KAYLA                         SWEET, KIKI                             SWEET, KYLIE
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SWEET, MADISON                       SWEET, MARY                             SWEET, MARY
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SWEET, MICHELLE                      SWEET, OLIVIA                           SWEET, RACHEL
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SWEET, RAE                           SWEET, SAVANNAH                         SWEET, TIM
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SWEET, TOM                           SWEET, YOLANDA                          SWEETEN, WAYNE
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SWEETERMAN, MARK                     SWEETFISH SUSHI BAR                     SWEETIN, MACKENZIE
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SWEETING, LISA                       SWEETLAND, ARIEL                        SWEETMAN, ANGELO
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SWEETMAN, EDA                        SWEETNAM, EMILY                         SWEETS, DONNA
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SWEETSER, ADRIENNE                   SWEEZY, KRISTIN                         SWEIGARD, YULIYA
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SWEIGART, MEAGAN      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SWEITZER, APRIL                      SWEITZER, LAURA                       SWEITZER, SANDRA
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SWELLANDER, STEPHEN                  SWENDEMAM, KELLY                      SWENDRAK, MELINDA
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SWENO, JESSICA                       SWENOR, CARMELA                       SWENSEN, KATHY
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SWENSEN, MICHAEL                     SWENSON, AARON                        SWENSON, DAWN
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SWENSON, GREG                        SWENSON, JILL                         SWENSON, JOELY
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SWENSON, JOSH                        SWENSON, KATHRYN                      SWENSON, KYLE
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SWENSON, LAURA                       SWENSON, LINDSEY                      SWENSON, MARY LOU
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SWENSON, MORGAN                      SWENSON, NILS                         SWENSON, STEPHANIE
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SWENSON, TESSA                       SWENSON, WHITNEY                      SWERTFAGER, SARA
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SWETAVAGE, KYLE       Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ATTN: DOUG WILSON
                                                                            855 BORDEAUX WAY, SUITE 200
                                                                            NAPA, CA 94558




SWIADAS, STASIA                      SWIADEK, KIM                           SWIANTEK, KRISTINA
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SWIAT, SARAH                         SWICK, CASEY                           SWICK, CASEY
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SWICK, CHELSEA                       SWIDE, EMILY                           SWIDER, CINDY
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SWIDER, DEBBIE                       SWIDER, SAMANTHA                       SWIDRAK, KEN
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SWIERK, JEFF                         SWIERK, SARA                           SWIERSKI, THOMAS
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SWIERSTOK, OLIWIA                    SWIFT TODD, EVONNE                     SWIFT, COURTNEY
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SWIFT, DORIS                         SWIFT, EMILY                           SWIFT, HANNAH
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SWIFT, JASON                         SWIFT, JENNIFER                        SWIFT, LAUREN
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SWIFT, PATRICIA                      SWIFT, ROSEMARY                        SWIFT, SONJA
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                                     SWIFT, THOMAS                    Page 4835 of KATIE
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SWIGART, LINDSEY                     SWIGGUM, LAINA                        SWIGLER, KELLY
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SWIHART, SUSANNAH                    SWIHART, TOM                          SWILLEY, MANDY
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SWILLUM, CAILIE                      SWIM, JESSICA                         SWIMMER, JILLIAN
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SWINDELL, DEBORAH                    SWINDELL, MARISSA                     SWINDLE, CANDACE
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SWINDLE, ROBERT                      SWINDLE, TARYN                        SWINEA, HANNAH
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SWINEFORD, MIRANDA                   SWINEHART, KRISTEN                    SWINEY, ALIVIA
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SWINFORD, JONALYN                    SWINFORD, K. SUNSHINE                 SWINFORD, KIMBERLY
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SWING, SHANNON                       SWINGLE, HAILE                        SWINGLE, LAUREN
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SWINGLE, SAMANTHA                    SWINGLE, STACIE                       SWINGLE, TENEE
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SWINIUCH, JULIE       Case 22-11238-LSS     Doc
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SWINNEY GARRISON, CRISTINA           SWINNEY, EMMETT                         SWINNEY, KAYLEE
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SWINNEY, MARY                        SWINNEY, MEREDITH                       SWINSON, APRIL
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SWIRES, DONIELLE                     SWIRES, GLORIA                          SWIRLED INC
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                                                                             IB NEWPORT NEWS, VA 23606




SWIRSKY, SARAH                       SWISHER, JILLIAN                        SWISHER, JOHN
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SWISHER, OLIVIA                      SWISHER, RYAN                           SWISHER, STEPHENIE
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SWISSHELM, ERIN                      SWISSOTEL DUESSELDORNEUSS               SWISTAK, KATARZYNA
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SWITALSKI, EMILY                     SWITALSKI, REBECCA                      SWITCH.COM
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SWITSER, MICHELL                     SWITZER, CHAD                           SWITZER, DALE
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SWITZER, JENNIFER                    SWITZER, JILL                           SWITZER, LACEY
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SWITZER, LUCY         Case 22-11238-LSS    Doc
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                                                                             SWOBODA, KATHRYN
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SWOBODA, TIMMEKA                     SWOFFORD, CAITLIN                       SWOFFORD, MATHEW
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SWOGGER, CORINNE                     SWOISH, NIKKI                           SWONKE, LARRY
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SWOPE, ALLYSON                       SWOPE, ANN                              SWOPE, DANIELLE
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SWOPE, DEE                           SWOPE, KRISTIN                          SWOPE, TAYLOR
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SWORDS, KRISTI                       SWOROB, PAUL                            SWYDEN, BAILEY
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SY, JANELLE                          SYAL, RUDRAKSH                          SYAM SUNDAR DEVARASETTY
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SYARBAINI, LUTHFIA                   SYCAMORE                                SYCHANTHA, TIFFANY
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SYCHIQUITA STOKES                    SYDLIK, LUISA                           SYDNEY BALUSEK
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SYDNEY DEHAVEN                       SYDNEY MUCCITELLI                       SYDNEY MUNTEANU
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SYDNOR, CHARLENE                     SYED, AASIM                           SYED, ANAM
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SYED, AZHA                           SYED, NATASHA                         SYED, RABAHUDDIN
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SYGIDA, LARISSA                      SYKES, BERNARD                        SYKES, CHRISTOPHER
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SYKES, DANIEL                        SYKES, JAMES                          SYKES, JORDAN
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SYKES, SHANA                         SYKES, STEPHANIE                      SYKORA, MARY
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SYKORA, SANDRA                       SYLTIE JOHNSON, JENNIFER              SYLVERA, LERBY
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SYLVESTER, DARNELL                   SYLVESTER, JENIFFER                   SYLVESTER, JOHN
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SYLVESTER, REBECCA                   SYLVESTER, ROCKY                      SYLVESTER, SHARON
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SYLVESTER, TYLER                     SYLVESTER, VICTORIA                   SYLVESTER-COOK, BETH
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SYLVESTRE, COLLEEN    Case 22-11238-LSS     Doc 2 Filed 11/30/22
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SYLVIA, BETSY                        SYLVIA, EMMIE JEAN                     SYLVIA, KRISTEN
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SYLVIE, GARZA -ORTEGA                SYLVIS, SARA                           SYMANSKI, ASHLEE
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SYMINGTON, THOMAS                    SYMISTER, KARLA                        SYMMETRY, BLIND
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SYMOLON, WILLIAM                     SYMOND, BRITTANY                       SYMONDS, COLEEN
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SYMONS, TERRY                        SYMONS, TREVOR                         SYMS, MARK
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SYNDIE GERMAIN                       SYNERGY FLAVORS INNOVA LLC             SYNERGY FLAVORS, INC.
ADDRESS AVAILABLE UPON REQUEST       SYNERGY FLAVORS INNOVA LLC 1500        1500 SYNERGY DRIVE
                                     SYNERGY DRIVE                          WAUCONDA, IL 60084-1073
                                     WAUCONDA, IL 60084




SYNERGY FLAVORS, INC.                SYNERGY NA                             SYNERGY NORTH AMERICA INC.
PO BOX 4543                          UNIT 10B, SILLS ROAD                   10901 W. 120TH AVENUE, SUITE 240
CAROL STREAM, IL 60122-4543          WILLOW FARM BUSINESS PARK              BROOMFIELD, CO 80021
                                     CASTLE DONINGTON
                                     DERBYSHIRE DE74 2US UNITED KINGDOM



SYNERGY NORTH AMERICA INC.           SYNERGY NORTH AMERICA INC.             SYNERGY NORTH AMERICA INC.
174 E. BAY STREET, SUITE 300 C       ATTN: MANAGER                          SYDNEY MUNTEANU
CHARLESTON, SC 29401                 11001 W 120TH AVE, STE 400             11001 W 120TH AVE, STE 400
                                     BROOMFIELD, CO 80021                   BROOMFIELD, CO 80021




SYNNESTVEDT, NATALIE                 SYNNESTVEDT, NINA                      SYNOR, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SYNSTELIEN, COURTNEY Case 22-11238-LSS
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SYPRZAK, ASHLEE                      SYPULA, TRACY                         SYREETA, GORCZANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SYREETA, HERBERT,                    SYRON, LINDA                          SYROP, RANDY
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SYRSTAD, MARK                        SYSKA, ANIA                           SYSOL, ALEXANDRA
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SYSSAU, KIM                          SYSYN, JOHN                           SYTA, MEAGAN
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SYTNIKOVA, YULIYA                    SYTSMA, PRESLEY                       SYTY, OLEG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




SZABO, JESSICA                       SZABO, KRYSTAL                        SZABO, LAUREN
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SZABO, RYAN                          SZABO, SABRINA                        SZABO, SAM
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SZAFAROWICZ, JOSEPH                  SZAFRAN, MARY                         SZALA, DEBORAH
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SZALKOWSKI, MICHAEL                  SZAMATULSKI, JULIE                    SZAMOTA, STEPHANIE
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                                                                           SZATKOWSKI, ASHLEY
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SZCZECHOWSKI, TRACI                  SZCZEPANIAK, RAY                       SZCZERBA, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZCZERBIAK, WENDY                    SZCZUBELEK, STEPHEN                    SZCZUCKI, CHESTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZCZYGIEL, JAMIE                     SZCZYGIEL, KAITLYN                     SZCZYPKA, JOLANTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZEKELY, ERIKA                       SZEKELY, MATTHEW                       SZEKERES, KIRAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZELES, HILARY                       SZELIGOWSKA, EMILIA                    SZELUGA, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZEMETT, NICOLE                      SZENDER, EDINA                         SZERBAT, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZERBIAK, CHELSEA                    SZEREMETA, SUSAN                       SZESZOL, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZEWCOW, GABRIELA                    SZEWCZAK, KAMIL                        SZEWCZYK, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZILAGYI, ABRAHAM                    SZILAGYI, MELINDA Z.                   SZILAGYI, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SZILVA, ASHLYN        Case 22-11238-LSS
                                     SZIVOS, Doc  2 Filed 11/30/22
                                             WILLIAM                  Page 4842  of 5495
                                                                           SZKLARSKI, PENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZLACHTA, EMILY                      SZLACHTA, EMILY                        SZLAG, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZMIGIEL, KLAUDIA                    SZOKE, AMANDA                          SZOKE, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZOKE, KAREN                         SZOPO, SYDNEY                          SZOSTAK, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZPARA, TAYLOR                       SZUBERT, MEGAN                         SZUBSKI, HAYDEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZUCH, JON                           SZUCH, LORI                            SZUHAY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZULCZEWSKI, KENNY                   SZUMAN, NIKKIANNE                      SZUMOWSKI, JACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZUTER, CHRISTINE                    SZWAJKOWSKI, CAS                       SZWAJKOWSKI, ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZWEADA, JAMIE                       SZWEZ, MARYELLEN                       SZYCHLINSKI, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




SZYMANIK, AGGIE                      SZYMANOWSKI, ALEXA                     SZYMANSKI, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
SZYMANSKI, DAYLE      Case 22-11238-LSS    DocJAKE
                                     SZYMANSKI, 2 Filed 11/30/22         Page 4843 of 5495
                                                                              SZYMANSKI, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SZYMANSKI, RACHEL                    SZYMANSKI, TAYLOR                         SZYMASZEK, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SZYMASZEK, MELISSA                   SZYMCZAK, CHRISTI                         SZYMIALIS, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




SZYSZKA, KATE                        T BROWNING, REBECCA                       T DURAN, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




T ELENTENY (TRAMONTE & SONS, LLC.)   T ELENTENY IMPORTS ( ADVINTAGE            T ELENTENY IMPORTS (ADVINTAGE
OHIO                                 DISTRIBUTING) TENNESSEE - VINTAGE         DISTRIBUTING) NORTH CAROLINA
285 WEST BROADWAY SUITE 500          PURSUITS, LLC                             285 WEST BROADWAY SUITE 500
NEW YORK, NY 10013                   305 SEABOARD LANE SUITE 322               NEW YORK, NY 10013
                                     FRANKLIN, TN 37067



T ELENTENY IMPORTS (ADVINTAGE        T ELENTENY IMPORTS (BREAKTHRU             T ELENTENY IMPORTS (CRUSH DIST.) NEW
DISTRIBUTING) SOUTH CAROLINA         BEVERAGE) MISSOURI                        HAMPSHIRE
285 WEST BROADWAY SUITE 500          6701 SOUTHWEST AVE                        63 MOUNTAIN DRIVE
NEW YORK, NY 10013                   SAINT LOUIS, MO 63143                     GILFORD, NH 03249




T ELENTENY IMPORTS (DIONYSOS         T ELENTENY IMPORTS (FAVORITE BRANDS)      T ELENTENY IMPORTS (FAVORITE BRANDS)
IMPORTS, INC) VIRGINIA               NEW MEXICO                                TEXAS
7170 W. 43RD STREET, STE 250A        2500 SOLANO DRIVE NE                      301 VISTA RIDGE DRIVE SUITE 400
HOUSTON, TX 77092                    ALBUQUERQUE, NM 87110                     KYLE, TX 78640




T ELENTENY IMPORTS (GEORGES          T ELENTENY IMPORTS (GREAT LAKES WINE      T ELENTENY IMPORTS (HAYDEN BEVERAGE
DISTRIBUTING) MONTANA                & SPIRITS LLC) MICHIGAN                   COMPANY) IDAHO
2710 BROADWATER AVE                  MICHIGAN 373 VICTOR AVE                   2910 E. AMITY ROAD
HELENA, MT 59602                     HIGHLAND PARK, MI 48203                   BOISE, ID 83716




T ELENTENY IMPORTS (HEIDELBERG       T ELENTENY IMPORTS (HORIZON               T ELENTENY IMPORTS (JOHNSON
DISTRIBUTING) KENTUCKY               BEVERAGE COMPANY) RHODE ISLAND            BROTHERS) MINNESOTA
2245 PROGRESS DRIVE                  285 W. BROADWAY SUITE 500                 1999 SHEPARD ROAD
HEBRON, KY 41048                     NEW YORK, NY 10013                        ST.PAUL, MN 55116




T ELENTENY IMPORTS (JOHNSON          T ELENTENY IMPORTS (LANTERNA              T ELENTENY IMPORTS (MAJOR BRANDS)
BROTHERS) NORTH CAROLINA             DISTRIBUTORS, INC.) MARYLAND              MISSOURI
2233 CAPITAL BLVD, SUITE A           7223 AMBASSADOR DRIVE                     6701 SOUTHWEST AVE
RALEIGH, NC 27604                    WINDSOR MILL, MD 21244                    SAINT LOUIS, MO 63143
T ELENTENY IMPORTS (NEWCase
                        YORK)22-11238-LSS     DocIMPORTS
                                       T ELENTENY   2 Filed   11/30/22
                                                          (PRIME WINE &     Page 4844  of 5495
                                                                                 T ELENTENY IMPORTS (RNDC) SOUTH
285 WEST BROADWAY SUITE 500            SPIRITS) GEORGIA                           CAROLINA
NEW YORK, NY 10013                     285 WEST BROADWAY SUITE 500                285 WEST BROADWAY SUITE 500
                                       NEW YORK, NY 10013                         NEW YORK, NY 10013




T ELENTENY IMPORTS (RNDC) VIRGINIA      T ELENTENY IMPORTS (SERENDIPITY) TEXAS    T ELENTENY IMPORTS (SMALL LOT WINE)
14038 WASHINGTON HIGHWAY                7170 W. 43RD STREET SUITE 250A            MINNESOTA
AHSLAND, VA 23005                       HOUSTON, TX 77092                         2110 LYNDALE AVE S SUITE A
                                                                                  MINNEAPOLIS, MN 55405




T ELENTENY IMPORTS (SOUTHERN            T ELENTENY IMPORTS (VERITAS WINE          T ELENTENY IMPORTS (VINTEGRITY LLC)
GLAZER’S WINE & SPIRITS) SOUTH          SELECTIONS) MISSOURI                      KANSAS
CAROLINA                                3150 MERCIER ST. SUITE 270                14314 W 100TH ST
7600 RICHARD ST.                        KANSAS CITY, MO 64111                     LENEXA, KS 66215
COLUMBIA, SC 29209



T ELENTENY IMPORTS (VINTEGRITY LLC)     T ELENTENY IMPORTS : T ELENTENY (NDC -    T ELENTENY IMPORTS
MISSOURI                                ATL)                                      66 WEST BROADWAY, SUITE 301
285 WEST BROADWAY SUITE 500             ONE NATIONAL DR, SW                       NEW YORK, NY 10007
NEW YORK, NY 10013                      ATLANTA, GA 30134




T FORD, NOAH                            T GARCIA, JACKLYN                         T HICKEY, ANDREW
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




T LIPP, SARAH                           T LIU, D.                                 T MOBILE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS UNAVAILABLE AT TIME OF FILING




T, ALMA                                 T, ANDREA                                 T, KERRY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




T, MAHEW                                T, PAUL                                   T. ELENTENY HOLDINGS LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            D/B/A T ELENTENY IMPORTS
                                                                                  ATTN CHIEF EXECUTIVE OFFICER
                                                                                  66 W BROADWAY, STE 301
                                                                                  NEW YORK, NY 10007



T. ELENTENY HOLDINGS LLC                T., LAUREN                                T.A.B.C
D/B/A T ELENTENY IMPORTS                ADDRESS AVAILABLE UPON REQUEST            ADDRESS UNAVAILABLE AT TIME OF FILING
ATTN CHIEF EXECUTIVE OFFICER
66 W BROADWAY, STE 301
NEW YORK, NY 10013



T.V., NATHALIE                          TA, SARAH                                 TA, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
TA, THY               Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TA, TRACY                          Page 4845
                                                                             TAAFFE,of 5495
                                                                                     JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TAAPOPI, NIINA                       TAATJES, NORMA                           TABACHNICK, LEXIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TABACZYNSKI, ALLISON                 TABAK, ADAM                              TABAKA, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TABAR, CORY                          TABARES, ANA                             TABARES, JOVANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TABASCO, AMANDA                      TABASKO, ELIZABETH                       TABASSO, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TABBS, LANA                          TABER, AMBER                             TABER, CELESTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TABER, TINA                          TABERNA, MIGUEL                          TABIB, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TABINOWSKI, KATRINA                  TABIT, LUKE                              TABLA, YOEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TABLANTE, MARY                       TABLE 6                                  TABLE ROCK MANAGEMENT, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    31706 S. COAST HIGHWAY, 4TH FLOOR
                                                                              LAGUNA BEACH, CA 92651




TABLEAU SOFTWARE, LLC                TABLEAU SOFTWARE, LLC                    TABOOLA, INC
1621 N 34TH ST                       1621 N 34TH ST.                          28 WEST 23RD STREET, 5TH FLOOR
SEATTLE, WA 98103                    SEATTLE, WA 98103                        NEW YORK, NY 10010
TABOR, ALLISON        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TABOR, AMY                       Page 4846
                                                                           TABOR,of 5495
                                                                                 KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TABOR, KELLI                         TABOR, KELSAY                         TABOR, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TABOR, LAUREN                        TABOR, MATT                           TABOR, SHERI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TABOR, STACI                         TABORDA, CATY                         TABREEZ ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TABS, NANCY                          TACCONELLI, OLIVIA                    TACHENY, CARRI-RIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TACHIBANA, KENTO                     TACILAUSKAS, PATRICIA                 TACK, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TACKABURY, SARAH                     TACKBARY, HUNT                        TACKBARY, HUNT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TACKEFF, MARYANNE                    TACKETT, JEAN                         TACKETT, KENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TACKETT, MARY                        TACKETT, NATALIA                      TACKETT, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TACK-HOOPER, RYAN                    TACLIAD, FRANCES                      TACO BELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
TACO RANCHERO         Case 22-11238-LSS      Doc 2 Filed 11/30/22 Page 4847
                                      TACO TECA                                  of 5495
                                                                            TACOMIENDO
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING




TACONI, ANNA                           TACOPINO, BRITTANY                     TACURI, NORMA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TADDEI, EMILY                          TADDER, BOBBI                          TADESSE, YAMROT
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TADINI, LUCAS                          TADIO, MEGHAN                          TADLER, KATHRYN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TADMOR, ADA                            TADOKORO, KRISTEN                      TADROS, DAVID
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TADYCH, CYDNEY                         TADYCH, DANIELLE                       TAEGE, ASHLYN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAEKO KIMURA                           TAETZ, AMANDA                          TAFAZZOLI, FARSHID
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAFFE, KEYANA                          TAFFEL, JEREMY                         TAFOYA, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAFOYA, HECTOR                         TAFOYA, JAMIE                          TAFOYA, JUSTIN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAFOYA, RICHARD                        TAFOYA, VICTORIA                       TAFT, CARLY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TAFT, DAVID           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TAFT, SARAH                         Page 4848  of 5495 INC.
                                                                              TAG MANAGEMENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           1227 PROSPECT ST. SUITE 200
                                                                              LA JOLLA, CA 92037




TAGA, KELLY                             TAGADAMEDIA LLC                       TAGARELLI, KAITLYN
ADDRESS AVAILABLE UPON REQUEST          350 LINCOLN ROAD                      ADDRESS AVAILABLE UPON REQUEST
                                        MIAMI BEACH, FL 33139




TAGBOARD.COM                            TAGGART, EMILY                        TAGGART, LAUREN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAGGART, MARGARET                       TAGGART, MCKENZIE                     TAGGART, ROBYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAGGART, RONALD                         TAGHAVIAN, NAZ                        TAGHI, JOANN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAGLIAFERRE, KASEY                      TAGLIAFERRI, COURTNEY                 TAGLIAFERRO, ALICIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAGLIAFERRO, ERIKA                      TAGLIAFERRO, THERESA                  TAGLIATI, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAGOE, HAILLIE                          TAGPRINTS, LLC                        TAGUCHI, TARA
ADDRESS AVAILABLE UPON REQUEST          320 W OHIO ST., 3W                    ADDRESS AVAILABLE UPON REQUEST
                                        CHICAGO, IL 60654




TAGUE, ANNIE                            TAGUE, JACQUELINE                     TAGUE, MADELINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAGUE, MIKAYLA                          TAGUIAM, KRISTEL                      TAHAL, MAYON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TAHERI, CAMERON       Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     TAHIRI, MEHDI                    Page 4849   of 5495
                                                                           TAHY, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAI LIP FATT                         TAIBI, SAMANTHA                       TAICLET, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAINSH, BRENNA                       TAISONG JING                          TAIT, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAIT, ANNETTE K                      TAIT, DAVID                           TAIT, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAIT, NATHAN                         TAIT-ENRIGY, ALLISON                  TAITT, NAJEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAIWO AKINWUNMI                      TAJ, HOPE                             TAJIK, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAJNAI, LAUREN                       TAKACS, JULIANNA                      TAKACS, SHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAKAHASHI, DANA                      TAKAHASHI, JESSIE                     TAKAHASHI, MIHOKO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAKAHASHI, YUNA                      TAKAHASHI-ROSALES, PAOLA              TAKAKJIAN, KATIE A.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAKAKURA, VERA                       TAKASH, ELIZABETH                     TAKATORI, COLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TAKAVITZ, ALLISON     Case 22-11238-LSS    DocAMY
                                     TAKAYAMA,  2 Filed 11/30/22      Page 4850  of OTA
                                                                           TAKAYUKI 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAKE, FUJIKO                         TAKEDA, MIKAELE                       TAKEMOTO, TAMRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAKERIAN, ELLEN                      TAKEUCHI, ANNIE                       TAKIARA BULLOCK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAKISHITA, CHRISTINE                 TAKMAKOV, PAVEL                       TAKSEY, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAL, AMY                             TALALAI, AMANDA                       TALANIA, MARLYS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALARCEK, JILLIAN                    TALARICO, FRANK                       TALARICO-LOSE, ALYSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALBERT, BEN                         TALBERT, CATHY                        TALBERT, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALBOT, CRYSTAL                      TALBOT, CYNTHIA                       TALBOT, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALBOT, NATALIE                      TALBOT, SHEENA                        TALBOT, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALBOT, TESS                         TALBOT, VICKIE                        TALBOTT, ALINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TALBOTT, AMBER        Case 22-11238-LSS    Doc
                                     TALBOTT,    2 Filed 11/30/22
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                                                                           TALBOTT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TALBOTT, RENA                        TALBOTT, TAYLOR                        TALCOTT, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TALCOTT, LAUREN                      TALCOTT, LAUREN                        TALEFF, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TALENT DIRECT AGENCY                 TALENTI, TAYLOR                        TALENTO, LINDA
5301 FEDERAL HWY                     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
BOCA RATON, FL 33487




TALESE, ELENA                        TALESNICK, LILLIAN                     TALHAME, FABIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TALHOUK, AKRAM                       TALIA ALEXANDER                        TALIA HAWLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TALIAFERRO, BRIAN                    TALIAFERRO, JOSHUA                     TALIAFERRO, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TALIMDZIOSKI, BLAGOJA                TALIPAN, RICHARD                       TALIS MADELIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TALIS, JENNIFER                      TALKDESK, INC                          TALKS, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       655 W.EVELYN AVE SUITE 2               ADDRESS AVAILABLE UPON REQUEST
                                     MOUNTAIN VIEW, CA 94041




TALLANT, KIMBERLY                    TALLANY, STUART                        TALLENT, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TALLENT, TAMMY        Case 22-11238-LSS    Doc
                                     TALLENT,    2 Filed 11/30/22
                                              TAMMY                   Page 4852
                                                                           TALLEY,of 5495
                                                                                   ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALLEY, AMY                          TALLEY, CHRISTOPHER                   TALLEY, DEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALLEY, DESTINY                      TALLEY, NANCY                         TALLEY, SHAUNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALLIS, RACHEL                       TALLMAN, ALYSSA                       TALLMAN, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALLMAN, JACKLYN                     TALLMAN, KAYLA                        TALLMAN, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALLMAN, LAURA                       TALLMAN, MELISSA                      TALLMAN, TODD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALLMER, RUTH T                      TALLMER, RUTH                         TALLON, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALLY, BRIAN                         TALMAGE, MEGHAN                       TALMO, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALOR, SHERI                         TALSMA, WENDI                         TALSO, TAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALT, MADELINE                       TALTON, CAROLINE                      TALTON, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TALTON, HANNAH        Case 22-11238-LSS
                                     TALTON,Doc 2 Filed 11/30/22
                                            THERESA                   Page 4853
                                                                           TALTY, of 5495
                                                                                  AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TALTY, KIV                           TALUS, ALLISON                        TALWAR, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAM OROS                             TAM, ANSON                            TAM, IRENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAM, JACQUELINE                      TAM, JUSTIN                           TAMADDON, INES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMANAHA, SARAH                      TAMAR SEKAYAN                         TAMARA BIGGS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMARA C SCOTT                       TAMARA LE                             TAMARA OLSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMARA POLLEN                        TAMARA S POST                         TAMAREZ, GABRIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMAROFF, JACLYN                     TAMASITIS, ANNA                       TAMAYNE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMAYO, ANA                          TAMAYO, BRITTNEY                      TAMAYO, DWIGHT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMAYO, JANET                        TAMAYO, JEN                           TAMAYO, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TAMAYO, LUIS          Case 22-11238-LSS    DocFRANK
                                     TAMBASCO,  2 Filed 11/30/22         Page 4854  of STACEY
                                                                              TAMBLYN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TAMBOIA, JAYNE                          TAMBOLI, ALICIA                       TAMBONE, BRIANNE
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TAMBURRI, JOSEPH                        TAMBURRINO, ERIN                      TAMETRIA JONES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMEZ, AZUCENA                          TAMHAINAMCHIN, HAILAMTRUONG           TAMHANE, JAEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMHANKAR, PARNAVI                      TAMI REARWIN                          TAMIETTI, STEVE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMIMI, NICHOLAS                        TAMKIN, ELIZABETH                     TAMKIN, TRICIA
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TAMKUS, GRETA                           TAMMANA, NEHA                         TAMMARA SOUZA HENDRICKS
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TAMMARO, MARY                           TAMMI FROST                           TAMMIE MITCHELL-STEPHENS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMMONE, ROXANNE                        TAMMY MIHALCHIK                       TAMMY, WILKINSON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAMON                                   TAMONDONG, HENRY                      TAMPAS-WILLIAMS, CHRISTIANA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TAMSEN, KAREN         Case 22-11238-LSS
                                     TAMULA,Doc  2 Filed 11/30/22
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                                                                           TAN, CHOR  SING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAN, DAISY                           TAN, DANIELLE                          TAN, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAN, HENDRA                          TAN, ISABELLE                          TAN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAN, LANDON                          TAN, MARYANN                           TAN, MELODY
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TAN, NELLIE                          TAN, NORA                              TAN, PATRICK
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TAN, PEI SHAN                        TAN, SIHAN                             TAN, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAN, YUI                             TANABE, MATTHEW                        TANAKA, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TANAKA, MANATSU                      TANAKA, SO                             TANAMACHI, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TANASSE, GISELE                      TANATRA, SARAH                         TANCREDI, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TANDE-WENTZ, LORI                    TANDRUP, ELIZABETH                     TANEJA, AKSHITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TANESHU COLLIER       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TANEY, DANIEL                    Page 4856  of 5495
                                                                           TANG, ALICIA
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TANG, APRICOT                        TANG, CATHY                           TANG, CATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANG, CINDY                          TANG, DEMY                            TANG, EDY
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TANG, JACQUELINE                     TANG, JENNY                           TANG, JESSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANG, KATIE                          TANG, KATIE                           TANG, LEWIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANG, LILAN                          TANG, LYDIA                           TANG, MIN CHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANG, PEIYAO                         TANG, XIAOYUAN                        TANGARO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANGELDER, STACY                     TANGEN, KRISTEN                       TANGEN, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANGHERLINI, LATISE                  TANGNEY, ALLESANDRA                   TANGNEY, KAMRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANGNEY, KEVIN                       TANGO PUBLISHING CORP                 TANGO PUBLISHING CORP
ADDRESS AVAILABLE UPON REQUEST       236 W. 27TH STREET FLOOR 8            TANGO MEDIA
                                     NEW YORK, NY 10001                    101 W. 79TH STREET SUITE 2A
                                                                           NEW YORK, NY 10024
TANGO RUMBA RESTAURANTCase 22-11238-LSS     Doc
                                      TANGUAY,    2 Filed 11/30/22
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ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANGUMA, GRANT                        TANGVALD, COLLEEN                     TANHOUSER, MCKENZIE
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TANHOUSER, MCKENZIE                   TANIK, MUGE                           TANIS, ANDREA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANISHA PERRY                         TANK, JENNIFER                        TANKE, BETH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANKERSLEY, ASHLEY                    TANKERSLEY, MELINDA                   TANKERSLEY, REBECCA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANKERSLEY, SANTANA                   TANKSLEY, JOSHUA                      TANKSLEY, MICHAEL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANLEY, JAMES                         TANNACORE, JEANETTE                   TANNEHILL, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANNEN, DONNA                         TANNENBAUM CONSULTING, INC            TANNENBAUM, COURTNEY
ADDRESS AVAILABLE UPON REQUEST        578 WASHINGTON BLVD. 455              ADDRESS AVAILABLE UPON REQUEST
                                      MARINA DEL REY, CA 90292




TANNENBAUM, JACQUELINE                TANNENWALD, SKYLAR                    TANNENWALD, SKYLAR
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANNER C/O WALGREENS FED EX, WENDY    TANNER, CARA                          TANNER, CARL
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TANNER, CINDY         Case 22-11238-LSS
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TANNER, DANIEL                       TANNER, DANNY                         TANNER, DEBORAH
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TANNER, DIANE                        TANNER, DONALD                        TANNER, GAIL
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TANNER, HAILEY                       TANNER, JAMI                          TANNER, JEFF
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TANNER, KACY                         TANNER, LOGAN                         TANNER, MARY KAY
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TANNER, SASHA                        TANNER, TRACEY                        TANNER, TRACY
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TANNER, ULI                          TANNEY, SUE                           TANNOUS, AMY
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TANNOUS, LEAH                        TANOWITZ, ESTHER                      TANSEY, LEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TANSEY, NINA                         TANSING, HALLE                        TANSKI, JAZMYN
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TANT, JENNIFER                       TANTALO, JAMES                        TANTAROS, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TANTARUNA, MELISSA    Case 22-11238-LSS
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                                                                                TANTI, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




TANTILLO, BARBARA                       TANTY, GERALD                            TANUDIBROTO, RICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TANURE VELOSO, PEDRO                    TANUWIDJAJA, TIFFANY                     TANYA CHRISTIANSEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TANYA MILLER                            TANYA, REED                              TANZER, JUDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TAO                                     TAO, ADAM                                TAO, CHARLES
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TAO, YE                                 TAORMINA, BRIANNE                        TAORMINA, MADISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TAOUK, JOSEPH                           TAP YOUR KEG, LLC.                       TAPA THE WORLD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




TAPER, CHEDEE                           TAPFWD                                   TAPHANDLES LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    1424 4TH AVE. STE 201
                                                                                 SEATTLE, WA 98101




TAPHORN, JENNA                          TAPHOUSE, JENNY                          TAPIA, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TAPIA, ANGEL                            TAPIA, ARIEL                             TAPIA, AZUCENA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
TAPIA, ERICKA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     TAPIA, FRANCISCO                 Page 4860    of 5495
                                                                           TAPIA, IVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAPIA, IVETTE                        TAPIA, KEVIN                           TAPIA, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAPIA, MARCO                         TAPIA, MICHAEL                         TAPIA, PAOLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAPIA, SANDRA                        TAPJOY, INC.                           TAPLEY, JIM
ADDRESS AVAILABLE UPON REQUEST       111 SUTTER STREET, 12TH FLOOR          ADDRESS AVAILABLE UPON REQUEST
                                     SAN FRANCISCO, CA 94104




TAPLEY, KIRK                         TAPLIN, KATE                           TAPOE, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAPOLCAI, REBEKAH                    TAPP LABEL COMPANY, LLC                TAPP, CAROLE
ADDRESS AVAILABLE UPON REQUEST       (INGENIOUS PACKAGING GROUP)            ADDRESS AVAILABLE UPON REQUEST
                                     580 GATEWAY DRIVE
                                     NAPA, CA 94558




TAPPAN COLLECTIVE LLC                TAPPANA, LAUREN                        TAPPEN, BETH
1525 S BROADWAY, 4TH FLOOR           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90015




TAPPER, HELEN                        TAPPER, MELISSA                        TAPPER, NATEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TAPPER, PETER                        TAQUE, VICTORIA                        TAR, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TARA BUTLER                          TARA CARLTON                           TARA CORRIGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TARA KEEGAN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TARA LAFERRARA                     Page 4861  of 5495
                                                                             TARA MCGUIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARA MCLAUGHLIN                        TARA SCHWETZ                          TARA SPINNANGER
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARA THOMPSON                          TARA                                  TARA, MATHIAS,
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARAE MAYE                             TARAH PRATER-BURKHART                 TARAJI, SAMIM
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARALUNGA ANDREEA ELENA PFA            TARAMONA, CARLY                       TARANI ARUNACHALAM
B-DUL ION C. BRU0103TIANU, BLOC        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
D6 ETAJ PARTER PITEU0219TI ARGEU0219
ROMANIA




TARANJIT LOTEY                         TARANOUCHTCHENKO, CHRISTINA           TARANOUCHTCHENKO, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARANTINO, ANNA                        TARANTINO, CLAIRE                     TARANTINO, JULIA
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TARANTO, SARAH                         TARANTO, SIMON                        TARANTOLA, ALISSA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARANTOLA, HOLLY                       TARAPCHAK, FALLON                     TARASOV, NIKOLAI
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARATKO, PHILLIP                       TARATUNIO, JILL                       TARATUSKI, ALEX
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TARBELL, NICOLE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                             TARCZA,  5495
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TARDANICO, ANGELA                    TARDANICO, LAUREN                       TARDIF, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARDIF, RAYMOND                      TARDIF, SUZETTE                         TARDIF-DOUGLIN, ANINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARDIFF, JENNA                       TARDY, SHELBY                           TAREEN, SARAH
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TAREEN, TASKINA                      TARGET                                  TARGONI, CAITLIN
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TARIK VON TREXLER FOLMER JOHNSON     TARIN, GABRIEL                          TARITERO, JOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARKENTON, ADRIENNE                  TARKENTON, TAVISTY                      TARKER, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARKINGTON, SUZANNAH                 TARLEY, SALLY                           TARLO, ALI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARLTON, JAMES                       TARNATE-STRAUSS, AMANDA                 TARNEY, HEATHER
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TARNEY, PAUL                         TARNOW, DENNIS                          TAROWSKY, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
TARPINIAN, JENNIFER   Case 22-11238-LSS    Doc
                                     TARPLEY,     2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARPY, PATRICK                       TARR, ADAM                            TARR, JUSTIN
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TARR, KIM                            TARR, MARJEE                          TARR, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARRANT, AMELIA                      TARRICONE, ANGELA                     TARRILLION, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARRO, DANIELLE                      TARROZA, CHRISTINE                    TARRY, ALICIA
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TARRY, WILL                          TARSILA MACHADO                       TART, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TART, KRISTIN                        TART, REBECCA                         TARTAGLIA, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARTAK, CAITLIN                      TARTAR, DANIELLE                      TARTE, CONRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TARTE, ERIKA                         TARTERA, TAYLOR                       TARTONI, KEN
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TARUN ELDHO ALIAS                    TARVER, AUDREY                        TARVER, CHAUN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TARVER, JESSE         Case 22-11238-LSS
                                     TARVER,Doc  2 Filed 11/30/22
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                                                                             TARVES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARWATER, CASEY                      TARWATER, LINDSAY                       TARWATER, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARYN BURNS                          TARYN FIELDER                           TARYN FILIPOW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TARYN HANLEY                         TARYN RUDOLPH                           TASC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          (TOTAL ADMINISTRATIVE SERVICES CORP)
                                                                             PO BOX 88278
                                                                             MILWAUKEE, WI 53288-001




TASCA, ELIZABETH                     TASCA, MONA                             TASCONE, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TASEL, OZLEM                         TASH, CONNIE                            TASH, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TASHA WALKER                         TASHA WILSON F/B/O SHARON G ENRIGHT     TASHAA HARRIS
ADDRESS AVAILABLE UPON REQUEST       IRA                                     ADDRESS AVAILABLE UPON REQUEST
                                     ADDRESS AVAILABLE UPON REQUEST




TASHAE STERLING                      TASI, AMANDA                            TASICH-KOYANI, MALINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TASKAR, PRANALI                      TASKER, ARJUN                           TASKER, HEIDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TASKER, RACHEL                       TASKRABBIT                              TASLER, EMILI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
TASLITT, DIANE        Case 22-11238-LSS    Doc
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                                                                              TASSAKIS, HELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




TASSET, TIFFANY                         TASSIA, JONO                           TASSINARI, SHERI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TASSIO, NICOLE                          TASSIS, ELISABET                       TASSO, SWELLEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TASSO, YOLANDA                          TASSONE, CARMELA                       TASSOUL, JOAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TASSY, ONEIKA                           TAST, REBECCA                          TASTE MELROSE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




TASTE OF CAROLINA                       TASTEMADE                              TASTING PANEL MAGAZINE, INC.
ADDRESS UNAVAILABLE AT TIME OF FILING   3019 OLYMPIC BLVS.                     6345 BALBOA BLVD. STE 111
                                        STAGE C SANTA MONICA, CA 90404         ENCINO, CA 91316




TASTO, ERICA                            TASZAREK, MICHAEL                      TATA, MADHURI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TATAREK, ELIZABETHANN                   TATAREK, RACHEL                        TATARKO, ANDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TATE, ASHLEY                            TATE, BOBBY                            TATE, CALLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TATE, CARLTON                           TATE, CORINNA                          TATE, DAILYNN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TATE, DANIELLE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TATE, GENE                       Page 4866   of 5495
                                                                           TATE, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATE, HOLLY                          TATE, LORI                            TATE, MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATE, NATHAN                         TATE, RIPLEY                          TATE, SONYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATE, SUSAN                          TATE, SYDNEY                          TATE, VALORIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATE-LESLIE, REGINA                  TATEM, CARYL                          TATEM, CARYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATEM, JOANNE                        TATEM, KEISHA                         TATEM, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATHWELL, RYAN                       TATIANA MOON                          TATIANA VARGAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATIS, WENDY                         TATLEY, ALICIA                        TATMAN, HARDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATMAN, JENNIFER                     TATMAN, LIANNA                        TATNEY, SHANTEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TATRAI, NATASHA                      TATRO, KELSEY                         TATSCH, SARA
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TATSIANA NIARONAVA    Case 22-11238-LSS    Doc 2KATHY
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TATTOLI, STEFANIA                    TATTON, MARGARET                      TATUM BANDY
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TATUM, ALAINA                        TATUM, ALAINA                         TATUM, AMANDA
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TATUM, EMILY                         TATUM, JEAN                           TATUM, JONATHAN
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TATUM, STEVE                         TATUM, SYDNEY                         TATUM-CARLSON, BRENDA
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TAUAEFA, JOSIAH                      TAUB, BECCA                           TAUB, BRIAN
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TAUB, EMILY                          TAUB, JESSICA                         TAUBER, ALYX
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TAUBER, HAYES                        TAUBERT, ALIZABETH                    TAUBERT, BYRON
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TAUBNER, EMMA                        TAUER, JENNIFER                       TAUGHER, MICHAELLA
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TAURENCE, JULIA                      TAURIAINEN, VELMA                     TAUSAN, BRAD
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TAUSANOVITCH, NATALYA                TAUSS, JOAN                           TAUSTINE, REBECCA
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TAUSZKY, KATRINA                     TAUTHONG, TANYA                       TAUZIN, ANNA
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TAVAKOLI, AZADEH                     TAVAKOLI, SHAHDE                      TAVARES, JERICHA
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TAVARES, LARISSA                     TAVARES, MARJORIE                     TAVARES, SARAH
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TAVAREZ, JOSE                        TAVAREZ, MIGDALIA                     TAVAREZ, PAMELA
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TAVAREZ, YAMILEX                     TAVARY, KIRRA                         TAVASLIOGLU, ONUR
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TAVASSOLI, SIMONE                    TAVCAR, MADELEINE                     TAVERAS, HECTOR
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TAVERAS, JEDAYA                      TAVERN BEVERAGE REFRIGERATION         TAVERN CRAFT LLC
ADDRESS AVAILABLE UPON REQUEST       TAVERN SERVICE COMPANY VALLEY         1775 DEMING WAY
                                     CARBONIC                              SPARKS, NV 89431
                                     18203 PARTHENIA ST. UNIT C
                                     NORTHRIDGE, CA 91325-3391
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TAWADROUS, PAUL                         TAWATER, KATIE                          TAWIAH, LARRY
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TAXI CREDIT CARD                        TAXI DEMIRBAS                           TAY, TONY
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TAYERLE, MARIAH                         TAYLLOR, DHYANA                         TAYLOE, KYLE
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TAYLOR ATTAH, KIERSTEN                  TAYLOR BROWN (DBA THE STYLED PRESS,     TAYLOR CLARK KESSEL
ADDRESS AVAILABLE UPON REQUEST          LLC)                                    ADDRESS AVAILABLE UPON REQUEST
                                        14937 50TH ST. NE
                                        SAINT MICHAEL, MN 55376
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TAYLOR GREEN, ANDREA                 TAYLOR HASELER, FLANKY                TAYLOR ISRAEL
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TAYLOR JACOB HAMON                   TAYLOR LOGAN, KIMBERLY                TAYLOR MCGINNIS, MAMA BEAR
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TAYLOR MUNDY                         TAYLOR OFFERMAN                       TAYLOR ORCI
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TAYLOR PECK                          TAYLOR ROBINSON                       TAYLOR SCHOCK
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TAYLOR SPELMAN                       TAYLOR THOMSON                        TAYLOR WOLFE
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TAYLOR, ADAM                         TAYLOR, ADELA                         TAYLOR, ALAN
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TAYLOR, ALAN                         TAYLOR, ALAYNA                        TAYLOR, ALEX
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TAYLOR, ALEXIS                       TAYLOR, ALICIA                        TAYLOR, ALICIA
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TAYLOR, ALICIA                       TAYLOR, ALISHA                        TAYLOR, ALISHA
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TAYLOR, AMANDA                       TAYLOR, AMBER                         TAYLOR, AMELIA
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TAYLOR, AMELIA                       TAYLOR, AMY                           TAYLOR, AMY
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TAYLOR, AMY                          TAYLOR, ANDREA                        TAYLOR, ANDREW
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TAYLOR, ANGEL                        TAYLOR, ANGELA                        TAYLOR, ANGELA
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TAYLOR, ANGELICA                     TAYLOR, ANN                           TAYLOR, ANN
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TAYLOR, ANNA                         TAYLOR, ANNIE                         TAYLOR, ARKEESHA
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TAYLOR, ASHLEIGH                     TAYLOR, ASHLEY                        TAYLOR, ASHLEY
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TAYLOR, ASHLEY                       TAYLOR, ASHLEY                        TAYLOR, ASHLEY
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TAYLOR, ASHLEY                       TAYLOR, AUDRA                         TAYLOR, BECKY
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TAYLOR, BRE                          TAYLOR, BREANNE                       TAYLOR, BRIANNA
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TAYLOR, BRIANNA                      TAYLOR, BRITT                         TAYLOR, BRITTANY
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TAYLOR, BRITTANY                     TAYLOR, BROOKE                        TAYLOR, BROOKE
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TAYLOR, CAERIE                       TAYLOR, CAITLIN                       TAYLOR, CALLIE
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TAYLOR, CARLOS                       TAYLOR, CAROLE ANN                    TAYLOR, CAROLE
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TAYLOR, CARSANDRA                    TAYLOR, CASSIDY                       TAYLOR, CASSIE
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TAYLOR, CATE                         TAYLOR, CATHERINE                     TAYLOR, CATHERINE
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TAYLOR, CATHERINE                    TAYLOR, CATIE                         TAYLOR, CELINA
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TAYLOR, CHELSEA                      TAYLOR, CHEYENNE                       TAYLOR, CHLOE
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TAYLOR, CHRIS                        TAYLOR, CHRISTINE                      TAYLOR, CHRISTINE
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TAYLOR, CHRISTINE                    TAYLOR, CHRISTOPHER                    TAYLOR, CICELY
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TAYLOR, CINDEE                       TAYLOR, CINDY                          TAYLOR, CINDY
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TAYLOR, CLAIRE                       TAYLOR, COLLEEN                        TAYLOR, CONSTANCE
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TAYLOR, CYNTHIA                      TAYLOR, DAMIAN                         TAYLOR, DANIEL
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TAYLOR, DANIELLE                     TAYLOR, DANIELLE                       TAYLOR, DANIELLE
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TAYLOR, DARCEE                       TAYLOR, DAVID                          TAYLOR, DAVID
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TAYLOR, DAWN                         TAYLOR, DEANNA                         TAYLOR, DEBORAH
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TAYLOR, DEIDRA                       TAYLOR, DELANE                        TAYLOR, DEMETRIUS
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TAYLOR, DEONNA                       TAYLOR, DESTINY                       TAYLOR, DEVONET
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TAYLOR, DIANE                        TAYLOR, DIONCE                        TAYLOR, DONNA
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TAYLOR, DREVONTE                     TAYLOR, DREW                          TAYLOR, ELISE
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TAYLOR, ELIZABETH                    TAYLOR, ELIZABETH                     TAYLOR, ELIZABETH
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TAYLOR, ELLEN                        TAYLOR, EMILY                         TAYLOR, ERIC
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TAYLOR, ERIC                         TAYLOR, ERIC                          TAYLOR, ERIN
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TAYLOR, ERIN                         TAYLOR, ERIN                          TAYLOR, FELICIA
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TAYLOR, FISHER                       TAYLOR, FRANCES                       TAYLOR, FRANCIS
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TAYLOR, HANNAH                       TAYLOR, HANNAH                        TAYLOR, HARMONY
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TAYLOR, HARVEY                       TAYLOR, HEATHER                       TAYLOR, HEATHER
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TAYLOR, HOLLY                        TAYLOR, INGRID                        TAYLOR, JACQUELYN
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TAYLOR, JAIME                        TAYLOR, JAIMEE                        TAYLOR, JAMAKEA
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TAYLOR, JAMIE                        TAYLOR, JAMIE                         TAYLOR, JAMIE
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TAYLOR, JANE                         TAYLOR, JANELLE                       TAYLOR, JASMIN
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TAYLOR, JASMINE                      TAYLOR, JASON                         TAYLOR, JAYE
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TAYLOR, JENNE                        TAYLOR, JENNIFER                      TAYLOR, JENNIFER
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TAYLOR, JENNIFER                     TAYLOR, JENNY                         TAYLOR, JESSICA
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TAYLOR, JESSICA                      TAYLOR, JESSICA                        TAYLOR, JEVON
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TAYLOR, JILLIAN                      TAYLOR, JIM                            TAYLOR, JOANN
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TAYLOR, JOE                          TAYLOR, JOEY                           TAYLOR, JOHN
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TAYLOR, JOHN                         TAYLOR, JOHN                           TAYLOR, JOHN
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TAYLOR, JONATHAN                     TAYLOR, JORDAN                         TAYLOR, JULIA
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TAYLOR, JUSTIN                       TAYLOR, KAILEIGH                       TAYLOR, KALIE
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TAYLOR, KANEI                        TAYLOR, KAREN                          TAYLOR, KAREN
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TAYLOR, KARIE                        TAYLOR, KATE                           TAYLOR, KATHERINE
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TAYLOR, KATHERINE                    TAYLOR, KATHERINE                      TAYLOR, KATHERINE
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TAYLOR, KATHLEEN                     TAYLOR, KATHRYN                        TAYLOR, KATHRYN
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TAYLOR, KATIE                        TAYLOR, KATIE                          TAYLOR, KATIE
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TAYLOR, KATY                         TAYLOR, KATY                           TAYLOR, KAYLA
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TAYLOR, KAYLA                        TAYLOR, KELLEY                         TAYLOR, KELLY
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TAYLOR, KELSEY                       TAYLOR, KELSEY                         TAYLOR, KELSEY
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TAYLOR, KIM                          TAYLOR, KIM                            TAYLOR, KIMBERLY
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TAYLOR, KIMBERLY                     TAYLOR, KIRSTIE                        TAYLOR, KOREY
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TAYLOR, KRIS                         TAYLOR, KRISTIE                        TAYLOR, KRISTIN
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TAYLOR, KRISTINA                     TAYLOR, KRISTYN                        TAYLOR, KYMBER
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TAYLOR, LAURA                        TAYLOR, LAUREN                        TAYLOR, LEAH
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TAYLOR, LINDSAY                      TAYLOR, LINDSAY                       TAYLOR, LIONEL
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TAYLOR, LISA                         TAYLOR, LISA                          TAYLOR, LISA
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TAYLOR, LISA                         TAYLOR, LYNZY                         TAYLOR, MACKENZIE
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TAYLOR, MADELINE                     TAYLOR, MADISON                       TAYLOR, MAGGIE
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TAYLOR, MAGGIE                       TAYLOR, MALLORY                       TAYLOR, MARGARET
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TAYLOR, MARIA                        TAYLOR, MARIAH                        TAYLOR, MARIAN
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TAYLOR, MARIANNA                     TAYLOR, MARK                          TAYLOR, MARLA
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TAYLOR, MARY                         TAYLOR, MAUREEN                       TAYLOR, MCKENZIE
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TAYLOR, MEG                          TAYLOR, MEGAN                         TAYLOR, MEREDITH
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TAYLOR, MICHAEL                      TAYLOR, MICHELLE                      TAYLOR, MICHELLE
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TAYLOR, MING-TOY                     TAYLOR, MIRANDA                       TAYLOR, MONIQUE
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TAYLOR, MORGAN                       TAYLOR, NATALIE                       TAYLOR, NATEISHA
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TAYLOR, NICHOLAS                     TAYLOR, NICK                          TAYLOR, NICOLE
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TAYLOR, NIKI                         TAYLOR, NOELLE                        TAYLOR, NORDICA
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TAYLOR, PALMER                       TAYLOR, PATRICIA                      TAYLOR, PSASHA
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TAYLOR, RACHAEL                      TAYLOR, RACHEL & DAVID                TAYLOR, RACHEL
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TAYLOR, REBECCA                      TAYLOR, RENATA                        TAYLOR, RICHARD
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TAYLOR, RICHARD                      TAYLOR, ROBERT M                      TAYLOR, ROBERT
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TAYLOR, ROBERT                       TAYLOR, ROBYN                         TAYLOR, SAMANTHA
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TAYLOR, SARA                         TAYLOR, SARA                          TAYLOR, SARAH
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TAYLOR, SARAH                        TAYLOR, SARAH                         TAYLOR, SARAH
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TAYLOR, SARAH                        TAYLOR, SHAE                          TAYLOR, SHANEL
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TAYLOR, SHANNON                      TAYLOR, SHARI                         TAYLOR, SHIRLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, STARRICKA                    TAYLOR, STEPHANIE                     TAYLOR, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, STEPHANIE                    TAYLOR, STEPHANIE                     TAYLOR, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TAYLOR, STEVE         Case 22-11238-LSS
                                     TAYLOR,Doc 2 Filed 11/30/22
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                                                                           TAYLOR,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, SUSAN                        TAYLOR, SUSAN                         TAYLOR, SUZANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, SUZANNE                      TAYLOR, TANYA                         TAYLOR, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, TARA                         TAYLOR, TARYN                         TAYLOR, TERESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, THOMAS                       TAYLOR, TIFFANY                       TAYLOR, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, TIFFANY                      TAYLOR, TIFFANY                       TAYLOR, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, TIMOTHY                      TAYLOR, TINA                          TAYLOR, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, TRAVIS                       TAYLOR, TRISH                         TAYLOR, TYREZE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, WANDA SHARLENE               TAYLOR, WHITNEY                       TAYLOR, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TAYLOR, WILLIAM                      TAYLOR, WILLIAM                       TAYLOR, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TAYLOR, WILLIAMS,     Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




TAYLOR, ZACHARY                         TAYLOR-CLOUD, KIMBERLY                     TAYLOR-GOODE, KIMBREANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




TAYLOR-JORGENSEN, REBECCA               TAYLOR-NEAL, GLORIA                        TAYNTON, HEIDI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




TCHAGALIDZE, CHRISTINA                  TCHAINIKOVA, ELENA                         TCHELEPI, HISHAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




TCHETCHETKINE, TASHA                    TCHONG, ALEXANDRA                          TCHOTCHEV, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




TCHOUJAN, CECILE                        TCHUISSE, MONIQUE                          TCSEHEOPE, BRIAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




TCT ANDERSONS                           TD AMERITRADE CLEARING, INC. (0188)        TD AMERITRADE CUST FBO LEO P GARCIA
ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN MANDI FOSTER OR PROXY MGR             IRA
                                        200 S. 108TH AVE                           200 S 108TH AVENUE
                                        OMAHA, NE 68154                            OMAHA, NE 68154




TD WATERHOUSE CANADA INC/CDS (5036)     TE STROETE, JESEE                          TEA, THE CORPORATE
ATTN YOUSUF AHMED OR PROXY MGR          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
77 BLOOR ST WEST
3RD FL
TORONTO, ON M4Y 2T1 CANADA



TEABOUT, SYDNEY                         TEACHMAN, KIM                              TEACHOUT, VANESSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




TEAGARDEN, ANNA                         TEAGARDEN, MIKE                            TEAGUE, ANN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
TEAGUE, AUSTIN        Case 22-11238-LSS
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                                                                           TEAGUE, 5495
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TEAGUE, COLIN                        TEAGUE, DESTINY                       TEAGUE, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEAGUE, JENNA                        TEAGUE, JENNIFER                      TEAGUE, KARRAH
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TEAGUE, LAUREN                       TEAGUE, LAUREN                        TEAGUE, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEAGUE, LORIANNE                     TEAGUE, MARIAH                        TEAGUE, MARIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEAGUE, PAULA                        TEAGUE, RYAN                          TEAGUE, SOMMER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEAGUE, TEDDY                        TEAGUE, TIFFANY                       TEAKWAREHOUSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2653 MANHATTAN BEACH BLVD.
                                                                           REDONDO BEACH, CA 90278




TEAL, ANDREA                         TEAL, MONIQUE                         TEAL, SABRINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEALA                                TEALE, KELLY                          TEALEY, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEAM PLAYER PRODUCTIONS, INC.        TEAS, KORI                            TEASDALE, KIRSTEN
3457 RINGSBY COURT, STE 107          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DENVER, CO 80216
TEASLEY, ALEXIS       Case 22-11238-LSS    Doc
                                     TEASLEY, JODI2  Filed 11/30/22   Page 4884  of ZACK
                                                                           TEASLEY, 5495
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TEATOM, JESSICA                      TEATS, WAYNE                          TEBBE, BRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEBBEN, JENNA                        TEBBEN, JUDY                          TEBEAU, LEANNA
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TEBEDO, JEFFREY                      TEBO, KYLE                            TECH-EVENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




TECHNOLOGIES, ODESSA                 TECKST, INC.                          TECZA, DANA
ADDRESS AVAILABLE UPON REQUEST       25 WEST 39TH STREET                   ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10018




TED ALEXAKOS                         TED BLUME                             TED MALLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEDD LYNLEY MORGAN                   TEDDER, DONNA                         TEDDER, DORIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEDDER, EMILY                        TEDDER, JOHN                          TEDDY WEBSTER
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TEDDY, JILLIAN                       TEDESCHI, DANA                        TEDESCHI, JESS
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TEDESCHI, LAUREN                     TEDESCO, AMANDA                       TEDESCO, CHRISTINE
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TEDESCO, DEBORAH      Case 22-11238-LSS    Doc
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                                                                              TEDESCO, FRANK
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TEDESCO, LAUREN                         TEDESCO, LEILA                        TEDESCO, LIANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEDESKI, RON                            TEDFORD, ELLEN                        TEDFORD, JAMIE
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TEDRICK, BRENDA                         TEE, CHARLES                          TEE, NATALIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEEBAGY, SARAH                          TEEGAN, ELIZABETH                     TEEGARDEN, MEGHAN
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TEEGARDEN, TIFFANY                      TEEHAN, DEIRDRE                       TEEL, MEGAN
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TEEM TECHNOLOGIES                       TEEN, JAZZY                           TEEN, MARK
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TEEPEN, LINDSAY                         TEEPLES, MAGGIE                       TEES, PATRICK
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TEES, SHANNON                           TEESDALE, TRISHA                      TEETER, ANNA
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TEETER, FELICIA                         TEETERS, MICHELLE                     TEETS, LINDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TEFELSKE, CARL        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEGANO, RACHEL                       TEGEN, SARAH                          TEGLER, SHANNON
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TEGTMEYER, JOY                       TEH, JUSTIN                           TEH, MS. NGUM-AZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEHRANI, EMMA                        TEHRANI, MARJAN                       TEICH, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEICHER, MCCALL                      TEICHHOLZ, MAURICE                    TEICHROEB, BOBBY
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TEICHROEB, DAVID                     TEICHROEB, NANCY                      TEICHROEB, YOLANDA
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TEICKENSON, JESSICA                  TEIFELD, TAMAR                        TEIGEN, JEANETTE
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TEIGEN, JESSICA                      TEIRLINCK, FLORENCE                   TEITELBAUM, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEITELBAUM, JORDAN                   TEIXEIRA, BELA                        TEIXEIRA, RICARDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEJA, KRISHNA                        TEJA, RANJIT                          TEJADA VINEYARD COMPANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1326 DEVONSHIRE DRIVE
                                                                           EL CERRITO, CA 94530
TEJADA, EMELY         Case 22-11238-LSS
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TEJEDA, MONICA                          TEJEDA, STEPHANIE                     TEJKL, REBECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEJUS KULKARNI                          TEJWANI, ANKITA                       TEKA, CHRISTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEKA, MAHDER                            TEKESTE, SIYE                         TEKIEN, DAVID
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEKTEGRITY INC.                         TEKWORKS INC.                         TELAIREUS HERRIN
ADDRESS UNAVAILABLE AT TIME OF FILING   13000 GREGG ST                        ADDRESS AVAILABLE UPON REQUEST
                                        POWAY, CA 92064




TELECHARGE THEATRE                      TELEMAQUE, JESSICA                    TELEMAQUE, TIFFANY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TELFER, ERIN                            TELFORD, BARRETT                      TELFORD, ROXANNE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TELFORT, COURTNEY                       TELGARSKY, VIVIAN                     TELGOTE, SAMEER
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TELISHA CLARK                           TELL, STEPHANIE                       TELLAKAT, MURALIDHAR
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TELLE, CARSON                           TELLEFSEN, TRICIA                     TELLEKSON, KARLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TELLEKSON-FLASH, WILLA Case 22-11238-LSS
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TELLEZ, ALEJANDRA                     TELLEZ, AMANDA                        TELLEZ, AMANDA
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TELLEZ, INES                          TELLEZ, LAURA                         TELLIER, DAVID
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TELLIER, HEATHER                      TELLIER, MARY                         TELLO, JENNIFER
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TELLO, LAURA                          TELLO, RODNEY                         TELON, DEB
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TELYCZKA, ROXANNE                     TEMAS, DANIEL                         TEMBI, NATE
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TEMIZER, ROSE                         TEMME, ELISSA                         TEMOL, JENNIFER
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TEMPERA, KRISTEN                      TEMPERLEY, AMY                        TEMPICH, RYAN
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TEMPLE, BONITA                        TEMPLE, EBONI                         TEMPLE, HOLLY
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TEMPLE, MACY                          TEMPLE, MEGAN                         TEMPLE, SARAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TEMPLE, SARAH         Case 22-11238-LSS
                                     TEMPLE,Doc 2 Filed 11/30/22
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                                                                           TEMPLEMAN, ELIZABETH
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TEMPLES, JANELLE                     TEMPLETON, AMY                         TEMPLETON, ANN
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TEMPLETON, DALE                      TEMPLETON, ERIKA                       TEMPLETON, GEORGIA
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TEMPLETON, JENNY                     TEMPLETON, JOHN                        TEMPLETON, MARY
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TEMPLETON, MYRHIAH                   TEMPLETON, NICHOLAS                    TEMPLETON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TEMPLE-WOOD, EMILY                   TEMPLIN, CAITLIN                       TEMPLIN, CHANDLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TEMPLIN, KATIE                       TEMPRO, JOEL                           TEMPSON, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TEMUULEN JARGALSAIKHAN               TEN ACRE WINERY                        TEN DOLLAR FONTS
ADDRESS AVAILABLE UPON REQUEST       9711 WEST DRY CREEK                    ADDRESS UNAVAILABLE AT TIME OF FILING
                                     HEADLSBURG, CA 95448




TEN EYCK, AIMEE                      TEN EYCK, ANITA                        TEN EYCK, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TENA STONE                           TENAGLIA, SCOTT                        TENBRINK, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TENBRINK, CALVIN      Case 22-11238-LSS    DocDIANE
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TENCH, KATHERINE                     TENCHO PARICHKOV                        TENDER GREENS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




TENDERICH, ALINA                     TENDU                                   TENENBAUM, MELISSA
ADDRESS AVAILABLE UPON REQUEST       PO BOX 11106                            ADDRESS AVAILABLE UPON REQUEST
                                     OAKLAND, CA 94611




TENER, MYRA                          TENEYCK, JESSICA                        TENEYCK, MEG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENEYCK, NICOLE                      TENGAN, ALLISON                         TENI SARKISIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENIA, FENTON                        TENNANT, ALEXANDER                      TENNANT, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENNANT, EDWARD                      TENNANT, KATIE                          TENNANT, SAWYER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENNANT, TERRYLYNN                   TENNEN, LINDSEY                         TENNENT, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENNERMANN, MEGAN                    TENNESSEE ALCOHOLIC BEVERAGE            TENNESSEE ALCOHOLIC BEVERAGE
ADDRESS AVAILABLE UPON REQUEST       COMMISSION                              COMMISSION
                                     ADDRESS UNAVAILABLE AT TIME OF FILING   TENNESSEE ALCOHOLIC
                                                                             BEVERAGE COMMISSION
                                                                             500 JAMES ROBERTSON PARKWAY
                                                                             NASHVILLE, TN 37243

TENNESSEE DEPARTMENT OF COMMERCE     TENNESSEE DEPARTMENT OF COMMERCE        TENNESSEE DEPARTMENT OF REVENUE
& INSURANCE                          AND INSURANCE                           TAX ENFORCEMENT DIVISION
TENNESSEE SECURITIES DIVISION        DIVISION OF CONSUMER AFFAIRS            PO BOX 190665
500 JAMES ROBERTSON PARKWAY, 8TH     500 JAMES ROBERTSON PKWY 12TH FL        NASHVILE, TN 37219-0665
FLOOR                                NASHVILLE, TN 37243-0600
NASHVILLE, TN 37243
TENNESSEE DEPT OF LABORCase
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                                                                              TENNESSEE SECURITIES DIVISION
WORKFORCE DEVELOPMENT                  500 DEADERICK ST                        500 JAMES ROBERTSON PARKWAY
220 FRENCH LANDING DRIVE               ANDREW JACKSON BLDG                     NASHVILLE, TN 37243-0575
NASHVILLE, TX 37243                    NASHVILLE, TN 37242




TENNEY, FAITH                          TENNEY, VICTORIA                        TENNIKAIT, JANET
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENNILLE LUGINBILL                     TENNILLE SCOTT                          TENNIS, BRENDA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENNIS, GAROLD                         TENNIS, WM                              TENNISON, VICTORIA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENNY, ELIZABETH                       TENNY, JESSICA                          TENNYSON, LISA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENORE, CHRISTINE                      TENORIO, ASHLEA                         TENORIO, SHANE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TENPAS, PEYTON                         TENRY, KEIMY                            TENTCRAFT, INC.
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          2662 CASS RD.
                                                                               TRAVERSE CITY, MI 49684




TENTEN WILSHIRE, LLC                   TENTOEA, STACIA                         TENUTA, CHRISTINA
370 CONVENTION WAY                     ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
REDWOOD CITY, CA 94063




TENUTE, LINDA                          TENZA, RACHAEL                          TENZER, CARAH
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TEODORO, MARVYN                        TEODOROVICH, ELENA                      TEODROS, LOZA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
TEPEYAC, LIZ          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TEPPER, JENNIFER                        TEPPER, MARY TAYLOR                   TEPPER, SHELLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TER KUILE-MILLER, MAYA                  TER, MICHAEL                          TERBERG, ALEC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERBORG, CAITLIN                        TERCEK, MARGO                         TERCEK, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERCERO WINES                           TEREK, KAYLA                          TERENIAK, OLIVIA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERENTEV, MIKHAIL                       TERESA CAIN                           TERESA DAVISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERESA DUNCAN                           TERESA G RIUS                         TERESA HOSTMANN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERESA KNAACK                           TERESA MARTIN                         TERESA ROBINSON
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TERESA THORSON                          TERESA VILLEGAS                       TERESA YU
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERESA, ADKINS                          TERESA, MARIA                         TERESA, TYLER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TERESE ODETTE         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERHUNE, ELIZABETH                   TERHUNE, SUSAN                        TERICH, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERINONI, STEPHANIE                  TERISA O’GORMAN                       TERJANIAN, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERJESON, CHRISTENA                  TERKELSEN, CAROLYN                    TERKOSKI, LIZA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERLINDEN, GINA                      TERLIZZI, NATALIE                     TERMAAT, CLARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERMINE, TAYLOR                      TERMINEL, BEATRIZ                     TERNER, JILL
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TERNES, JAMIE                        TERNES, VANESSA                       TERPENING, NATHANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERPILOWSKI, RONIE                   TERPSTRA, ASHLEY                      TERPSTRA, MARTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERRA, RICARDO                       TERRAGENICS, LLC.                     TERRANCE EDWARD BROWN
ADDRESS AVAILABLE UPON REQUEST       599 RIDGECREST CIRCLE                 ADDRESS AVAILABLE UPON REQUEST
                                     LIVERMORE, CA 94551




TERRANCE, BRITAINE                   TERRANCE, KRISTINE                    TERRANCE, SELISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TERRANO, TAMERA       Case 22-11238-LSS    Doc ANNE
                                     TERRANOVA, 2 Filed 11/30/22      Page 4894 of 5495
                                                                           TERRANOVA, JOELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRAVANT WINE CO LLC                TERRAVANT/SUMMERLAND - BWSC            TERRAVANT/SUMMERLAND - BWSC
ATTN: GENERAL COUNSEL/LEGAL          70 INDUSTRIAL WAY                      ACF FINCO I LP FBO TERRAVANT WINE
35 INDUSTRIAL WAY                    BUELLTON, CA 93427                     COMPANY TERRAVANT WINE COMPANY
BUELLTON, CA 93427                                                          BWSC P.O. BOX 845658
                                                                            LOS ANGELES, CA 90084-5658



TERRAVANT/SUMMERLAND                 TERRAVANT/SUMMERLAND                   TERRAVINO, INC.
ACF FINCO I LP FBO TERRAVANT WINE    TERRAVANT WINE COMPANY                 PO BOX 11462
COMPANY                              35 INDUSTRIAL WAY                      BEVERLY HILLS, CA 90213
P.O. BOX 845658                      BUELLTON, CA 93427
LOS ANGELES, CA 90084-5658



TERRAZAS, BOBBIE                     TERRAZAS, LAUREN                       TERREAULT-BULPETT, TRISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRELL, BRANDY                      TERRELL, BRIAN                         TERRELL, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRELL, EMILY                       TERRELL, HASSAN                        TERRELL, HELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRELL, JORDON                      TERRELL, KATHERINE                     TERRELL, KIRSTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRELL, LATANYA                     TERRELL, MARCUS                        TERRELL, MCKEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRELL, MICHAEL                     TERRELL, SONJA                         TERRELL, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRELL, TORAZEKE                    TERRENCE, MARGOT                       TERRERO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TERRI A WOLD          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TERRI BOZARTH                    Page 4895   of 5495
                                                                           TERRI FREEMAN-KLAJA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRI KIELE                          TERRIBERRY, TRACY                      TERRIE DREWRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRILL, MARK                        TERRILL, PHYLLIS                       TERRILL, STEFANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRIT, KJIRSTEN                     TERRITO, KELLY                         TERRITO, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERROIR CSS, LLC                     TERROIRS DU SUD                        TERRONES, KATE
5 FINANCIAL PLAZA SUITE 224          501 A CHEMIN DE BOUZIGUES              ADDRESS AVAILABLE UPON REQUEST
NAPA, CA 94558                       POUSSAN 34560
                                     FRANCE




TERRONI, BETH                        TERRUSA, JOHN                          TERRY BANKS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRY DUNN                           TERRY ELWING                           TERRY HARPER TRUST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRY HARRIS                         TERRY L NEELY                          TERRY LOU TURNER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRY M OGILVIE                      TERRY PARRILL                          TERRY POPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TERRY RICE                           TERRY VANDERSCHUUR                     TERRY, AMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TERRY, BOBBI          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TERRY, BRULE                     Page 4896
                                                                           TERRY,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERRY, DREW                          TERRY, ERIN                           TERRY, FRENCESCA
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TERRY, HANNAH                        TERRY, JAMIE                          TERRY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERRY, JUDY                          TERRY, KATHERINE                      TERRY, KEIRA-AILEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERRY, KELSEY                        TERRY, LAURA                          TERRY, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERRY, MONICA                        TERRY, RICH                           TERRY, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERRY, SARAH                         TERRY, TAMMI                          TERRY, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERRY, VANESSA                       TERRY, ZACHARY                        TERRYL BRONSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERSAK, ANGELINA                     TERSTEGGE, DAMON                      TERSTRIEP, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERTELING, LAURIE                    TERWELP, EMILY                        TERWILLIGER, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TERWILLIGER, ERIN     Case 22-11238-LSS    Doc 2KATHERINE
                                     TERWILLIGER,    Filed 11/30/22   Page 4897
                                                                           TERZA, of 5495
                                                                                  TANYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TERZI, KRISTINE                      TESALONA, GLENDA                      TESCH, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESCHER, CADY                        TESCHLER, CHRIS                       TESCHNER, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESFASELASSIE, SEWIT                 TESH, DAINA                           TESH, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESHY INC                            TESIERO, TAMMY                        TESINI, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESKE, KRISTA                        TESNOHLIDEK, JENNIFER                 TESORIERO, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESORO, SAMANTHA                     TESSA MCKILLOP                        TESSA QUITTNER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESSAR, KRIS                         TESSER, BRIAN                         TESSIER, CRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESSIER, MONICA                      TESSIN, ABRAHAM                       TESSLER, GREER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESTA, ASHLEY                        TESTA, CATHERINE                      TESTA, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TESTA, PETER          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TESTA, RACHAEL                   Page 4898
                                                                           TESTA, of 5495
                                                                                  TRACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESTAGROSSA, DENNIS                  TESTANEY, INC.                        TESTANEY, INC.
ADDRESS AVAILABLE UPON REQUEST       1490 DOVE MEADOW RD                   5905 ELKHORN LN.
                                     SOLVANG, CA 93463                     SANTA MARIA, CA 93455




TESTANEY, INC.                       TESTANI, DIANE                        TESTAROSSA WINERY
ATTN: MIKE TESTA                     ADDRESS AVAILABLE UPON REQUEST        P.O. BOX 969
PO BOX 741                                                                 LOS GATOS, CA 95031-0969
LOS ALAMOS, CA 93440




TESTERMAN, BRYAN                     TESTO, ELSA                           TESTO, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TESZNER, ANNEMARIE                   TETEN, JOHN                           TETER, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TETER, DESIREE                       TETERS, JOANNA                        TETOR, FREDERICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TETRAULT, ELIZABETH                  TETRAULT, KIMBERLY                    TETREAULT, ASH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TETREAULT, CARLY                     TETREAULT, LAURA                      TETRICK, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TETTA, JEAN                          TETTEY, MATTHEW                       TETZLAFF, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TETZLAFF, JR                         TETZLAFF, KRISTIN                     TEU, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TEUBER, SARAH         Case 22-11238-LSS    DocKATHIE
                                     TEUSCHER,  2 Filed 11/30/22       Page 4899 of 5495
                                                                            TEUSCHER, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TEUTON, SAM                          TEUTSCHER, DONNA                        TEVEROVSKY, DORAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TEVES, SARA                          TEVIS, JAMES                            TEW, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TEW, CAROLINE                        TEW, LIZ                                TEW, MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TEWANI, RAJ                          TEWELDEMEDHIN, TSEGAZEAB                TEWES, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TEWES, JAMES                         TEWES, MEGAN                            TEWEY, BONNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TEWKESBURY, ANNE                     TEWKESBURY, ANNE                        TEWODROSE, DOUGMAWI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TEWOLDE, NICOLE                      TEXAS ALCOHOLIC BEVERAGE COMMISSION     TEXAS ALCOHOLIC BEVERAGE COMMISSION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   PO BOX 13127
                                                                             AUSTIN, TX 78711




TEXAS COMPTROLLER OF PUBLIC          TEXAS COMPTROLLER OF PUBLIC             TEXAS STATE COMPTROLLER
ACCOUNTS                             ACCOUNTS                                LOS ANGELES AUDIT OFFICE
LYNDON B JOHNSON STATE OFFICE BLDG   PO BOX 13528                            17777 CENTER COURT DR. N., STE 700
111 E 17TH ST                        CAPITOL STATION                         CERRITOS, CA 90703-9356
AUSTIN, TX 78774                     AUSTIN, TX 78711-3528



TEXAS STATE SECURITIES BOARD         TEXAS STATE SECURITIES BOARD            TEXAS WORKFORCE COMMISSION
PO BOX 13167                         THOMAS JEFFERSON RUSK STATE OFFICE      101 E 15TH ST
AUSTIN, TX 78711                     BDLG                                    RM 122
                                     208 E 10TH ST                           AUSTIN, TX 78778-0001
                                     AUSTIN, TX 78701
TEXAS, IRYNA KALYTA   Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TEXER, APRIL                     Page 4900  ofSUMMER
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TEYEMA, GRETCHEN                     TEYES, MARIA                          TEZA, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THACH, JOHN                          THACH, KHANNA                         THACKER, BRANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THACKER, CAROLYN                     THACKER, ESTHER                       THACKER, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THACKER, LAURA MARIE                 THACLER, GABRIELLE                    THADASINA, MEENAL
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THADDIUS WATSON                      THAGARD, LAUREN                       THAI TALAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




THAI, ASHLEY                         THAI, ELAINE                          THAI, TRUNG-QUAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THAI, YIN                            THAI-JACOMET, AIMY                    THAISS, COLLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THAKAR, SHUBHANKAR                   THAKER, SHAILAJA                      THAKKALAPALLY, PRUTHVISH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THAKKAR, RAJ                         THAKKAR, REEMA                        THAKKER, MILAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
THAKORE, JILLIAN      Case 22-11238-LSS
                                     THAKUR,Doc 2 Filed 11/30/22
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                                                                           THAKUR, 5495
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THAL, TARA                           THALER, DESTINY                        THALER, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THALER, OLIVIA                       THALER, STEPHANIE                      THALHEIMER, ELISABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THALHUBER, CHRISTINA                 THALKEN, BRANDI                        THALLEN JANIECE BRASSEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THALLNER, BRYNN                      THALMANN, ANNE                         THAMBI, MATHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THAMES, ASHLEY                       THAMES, KELLY                          THAMES, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THAMMOVONGSA, ANNA                   THANADPA, KANCHISA                     THANKAPPAN, MANU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THAO, ADA                            THAO, AMANDA                           THAO, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THAO-VANG, AH                        THARP, ALEXIS                          THARP, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THARP, ERIN                          THARP, JESSICA                         THARP, KALAVATHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
THARP, LAUREN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     THARP, MAGGIE                    Page 4902
                                                                           THARP,of 5495
                                                                                 TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THARPE, DON                          THARPE, SHERRIONAE                    THARPE, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THARRINGTON, DOROTHY                 THATCHER, AMANDA                      THATCHER, ANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THATCHER, JENNIFER                   THATCHER, KAITLINN                    THATCHER, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THATCHER, RYAN                       THATE, NICHOLAS                       THAYER, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THAYER, ASHLEY                       THAYER, DALLAS                        THAYER, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THAYER, ELEANOR                      THAYER, GAIL                          THAYER, GRIFFIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THAYER, JAMES                        THAYER, JO                            THAYER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THAYER, SHELLEY                      THAYER, VICKI                         THE ACE HOTEL PALM SPRINGS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        701 E PALM CANYON DR.
                                                                           PALM SPRINGS, CA 92264




THE AGENCY ARIZONA                   THE ANZA A CALABASAS HOTEL            THE BACCHUS GROUP INC.
4626 EAST INDIAN SCHOOL ROAD         23627 CALABASAS RD                    100-565 GREAT NORTHERN WAY
PHOENIX, AZ 85018                    CALABASAS, CA 91302-1502              VANCOUVER, BC V5T OH8
                                                                           CANADA
THE BACCHUS GROUP INC. Case 22-11238-LSS     Doc
                                      THE BACK    2 Filed 11/30/22 Page 4903
                                               PORCH                              of 5495
                                                                            THE BAGEL FACTORY
ATTN: GEN MGR                         ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING
500-887 GREAT NORTHERN WAY
VANCOUVER, BC V5T 4T5
CANADA



THE BATTLE FAMILY TRUST                 THE BEEKMAN, A THOMPSON HOTEL          THE BELAMAR HOTEL
ADDRESS AVAILABLE UPON REQUEST          123 NASSAU STREET                      ADDRESS UNAVAILABLE AT TIME OF FILING
                                        NEW YORK, NY 10038




THE BENCHMARK COMPANY LLC               THE BHATHAL FAMILY TRUST               THE BIMALOGIC GROUP, LLC
150 EAST 58TH ST., 17TH FLOOR           ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING
NEW YORK, NY 10155




THE BOMB SOMMELIER, LLC                 THE BOSCO BOOTH LLC                    THE BOTTLE MEISTER INC.
P.O. BOX 10248                          1182 FLUSHING AVENUE, SUITE 308        PO BOX 15457
JACKSON, WY 83002                       BROOKLYN, NY 11237-1747                SAN LUIS OBISPO, CA 93406




THE BOUQS.COM                           THE BRAULT LIVING TRUST                THE BRESLIN BAR & GRILL
THE BOUQS COMPANY                       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING
4766 ADMIRALTY WAY UNIT 12007
MARINA DEL REY, CA 90292




THE BRIG                                THE BRUCE WILLIAM EDGAR LIVING TRUST   THE BUFFALO CLUB
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




THE BUTLER DID IT PRODUCTIONS           THE CAN VAN LLC                        THE CARBON UNDERGROUND
SUSIE MEISTER                           814 STRIKER AVE SUITE A                8800 VENICE BLVD SUITE 322
4733 TORRANCE BLVD. 317                 SACRAMENTO, CA 95834                   LOS ANGELES, CA 90034
TORRANCE, CA 90503




THE CATERING CARNIVAL                   THE CATHOLIC CHARITIES OF THE          THE CLARK AND KAY NEWBY TRUST
ADDRESS UNAVAILABLE AT TIME OF FILING   ARCHDIOCESE                            ADDRESS AVAILABLE UPON REQUEST
                                        OF CHICAGO
                                        721 N LASALLE ST
                                        CHICAGO, IL 60654



THE CLEAN EATING COUPLE LLC             THE CLEAN TEAM                         THE CONNAUGHT HOTEL
474 FAIRWAY ROAD                        13101 WASHINGTON BLVD SUITE 235        ADDRESS UNAVAILABLE AT TIME OF FILING
ORANGE, CT 06477                        LOS ANGELES, CA 90066




THE CONTAINER STORE                     THE CONTINENTAL INSURANCE COMPANY      THE CONTINENTAL
ADDRESS UNAVAILABLE AT TIME OF FILING   2 PARK PLAZA, SUITE 400                ADDRESS UNAVAILABLE AT TIME OF FILING
                                        IRVINE, CA 92614
THE COUNTER           Case 22-11238-LSS       Doc
                                      THE DAILY    2 Filed
                                                DISTILLER     11/30/22
                                                          (ROBERT SAMUELS)Page 4904   of 5495
                                                                               THE DEFINED DISH, LLC
ADDRESS UNAVAILABLE AT TIME OF FILING 2600 MISSION STREET SUITE 201            11234 SHELTERWOOD CIRCLE
                                      SAN MARINO, CA 91108                     DALLAS, TX 75229




THE DELECTABLE EGG                      THE DERYA AND ZEHRA LIVING TRUST        THE DIELINE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




THE DIGMAR TRUST                        THE DILLON SILVER LAKE                  THE DONUM ESTATE
ADDRESS AVAILABLE UPON REQUEST          617 N. DILLON 101                       P.O. BOX 154
                                        LOS ANGELES, CA 90026                   SONOMA, CA 95476




THE DORIS T WATT LIVING TRUST           THE DUDES BREWING                       THE DUTCH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




THE EMPLOYEE NETWORK                    THE ENTRUST GROUP INC FBO PATRICIA      THE EVERYGIRL MEDIA GROUP LLC
136 W. ORION ST. SUITE D-9              CLARK IRA                               845 W FULTON MARKET 2
TEMPE, AZ 85283                         555 12 TH STREET SUITE 900              CHICAGO, IL 60607
                                        OAKLAND, CA 94607




THE FAIRMONT                            THE FLORENTINE                          THE FOWLER FAMILY TRUST
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




THE FULLEST LLC                         THE GEM SHOP                            THE GENEN GROUP
2711 E COAST HWY, STE 202               ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
CORONA DEL MAR, CA 92625




THE GIRLS, LLC                          THE GOOD VIBE MEDIA, LLC                THE GREENWICH HOTEL
104 MALLARD POINTE                      4602 E THOMAS RD N6                     ADDRESS UNAVAILABLE AT TIME OF FILING
LEBANON, TN 37087                       PHOENIX, AZ 85018




THE GREGG AND AMY BOGOST JOINT          THE GREGG AND AMY BOGOST JOINT          THE GUARDIAN LIFE INSURANCE CO OF
ADDRESS AVAILABLE UPON REQUEST          REVOCABLE TRUST                         AMERICA
                                        6203 S HIGHLANDS AVE                    P.O. BOX 826486
                                        MADISON, WI 53705                       PHILADELPHIA, PA 19182-6486




THE HART & THE HUNTER                   THE HARTFORD                            THE HOME DEPOT
ADDRESS UNAVAILABLE AT TIME OF FILING   PO BOX 660916                           ADDRESS UNAVAILABLE AT TIME OF FILING
                                        DALLAS, TX 75266-0916
THE HOTEL JUNE          Case 22-11238-LSS    DocSOLUTION
                                       THE HUMAN 2 Filed 11/30/22           Page 4905  of 5495
                                                                                 THE HUMMUS FACTORY
8639 LINCOLN BLVD                        ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
LOS ANGELES, CA 90045




THE IDEALISTS, LLC                       THE IVY                                 THE IZAKAYA
231 S. CITRUS AVENUE                     ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
LOS ANGELES, CA 90036




THE JUICY LEAF                           THE KAO WANG AND YENCHE TIOANDA         THE KETTLE
ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST          1138 HIGHLAND AVE
                                                                                 MANHATTAN BEACH, CA 90266




THE KETTLE                               THE KINNEY FAMILY TRUST                 THE KINNEY
ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




THE KITCHEN                              THE KITCHEN-CLUB W                      THE KRAZY COUPON LADY
ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING   12426 W. EXPLORER DR. STE 250
                                                                                 BOLSE, ID 83713




THE LACH FAMILY TRUST DTD APRIL 1 1999   THE LARK                                THE LAST BOOKSTORE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING   453 S. SPRING ST.
                                                                                 LOS ANGELES, CA 90013




THE LAW OFFICES OF JOHN P. OCONNELL      THE LAW OFFICES OF NANCY SOLOMON        THE LITTLE GOAT
43434 BUSINESS PARK DR.                  1875 CENTURY PARK EAST STE 700          ADDRESS UNAVAILABLE AT TIME OF FILING
TEMECULA, CA 92590                       LOS ANGELES, CA 90025




THE LIVING CHRISTMAS COMPANY             THE LO AND BEHOLD GROUP PTE LTD         THE LOCAL MOMS NETWORK
ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




THE LOCAL YOLK                           THE LOUD CLOUD LLC                      THE MADERA GROUP : TOCAYA (LA JOLLA)
ADDRESS UNAVAILABLE AT TIME OF FILING    4143 HOWE ST                            8720 SUNSET BLVD.
                                         OAKLAND, CA 94611                       WEST HOLLYWOOD, CA 90069




THE MEGHAN JONES                         THE MIDROLL                             THE MIKE AND JOYCE ASSAR LIVING TRUST
4109 STATE ST. 4109                      ANDREW WALKER                           ADDRESS AVAILABLE UPON REQUEST
DALLAS, TX 75204                         5815 WEST SUNSET BLVD SUITE 404
                                         LOS ANGELES, CA 90028
THE MISFIT            Case 22-11238-LSS      DocINC.
                                      THE MNDFL   2 Filed 11/30/22         Page 4906  of 5495
                                                                                THE MODEL BAKERY
ADDRESS UNAVAILABLE AT TIME OF FILING 8373 ROSEWOOD AVE., 203                   ADDRESS UNAVAILABLE AT TIME OF FILING
                                      WEST HOLLYWOOD, CA 90048




THE NASDAQ PRIVATE MARKET LLC           THE NASDAQ PRIVATE MARKET LLC           THE NEW PAPER LLC
C/O WELLS FARGO BANK LOCKBOX 41700      ONE LIBERTY PLAZA 49FL                  40 REDWOOD DRIVE
PO BOX 8500                             NEW YORK, NY 10006                      OCEAN, NJ 07712
PHILADELPHIA, PA 19178-0700




THE NEWSETTE                            THE NICE GUY                            THE NOUN PROJECT
180 BROOKLINE APT 1401                  ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
BOSTON, MA 02215




THE OAKS GOURMET                        THE OCEAN CLEANUP PROJECTS BV           THE OKLAHOMA TAX COMMISSION
ADDRESS UNAVAILABLE AT TIME OF FILING   BATAVIERENSTRAAT 15, LEVEL 4-7          OKLAHOMA TAX COMMISSION
                                        ROTTERDAM 3014 JH                       OKLAHOMA CITY, OK 73194
                                        THE NETHERLANDS




THE OLD & RARE WINE COMPANY, LLC.       THE OLIVE GARDEN                        THE ONLY AGENCY, INC
(JAMES YOBSKI)                          ADDRESS UNAVAILABLE AT TIME OF FILING   20 WEST 22ND STREET SUITE 701
1518 HARVARD ST. 6                                                              NEW YORK, NY 10010
SANTA MONICA, CA 90404




THE ORIGINAL TACO-MAN LLC               THE PANTRY ON PARK INC.                 THE PANTRY
PO BOX 1483                             ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
TORRANCE, CA 90505




THE PITNEY BOWES BANK INC               THE PITNEY BOWES BANK INC               THE PLATT TRUST
PITNEY BOWES INC                        PURCHASE POWER                          ADDRESS AVAILABLE UPON REQUEST
1245 EAST BRICKYARD ROAD, SUITE 250     PO BOX 371874
SALT LAKE CITY, UT 84106-4278           PITTSBURGH, PA 15250-7874




THE PLAZA CP, LLC                       THE PROGRESS                            THE RANGA MEDIA COMPANY
2041 ROSECRANS AVENUE SUITE 200         ADDRESS UNAVAILABLE AT TIME OF FILING   ANA ORTIZ
EL SEGUNDO, CA 90245                                                            5 ISLAND AVE., APT 11H
                                                                                MIAMI BEACH, FL 33139-1327




THE RAZORSTORE                          THE RICHMARK COMPANY (RICHMARK          THE RICHMARK COMPANY- CLUB W
ADDRESS UNAVAILABLE AT TIME OF FILING   LABEL)                                  ADDRESS UNAVAILABLE AT TIME OF FILING
                                        1110 EAST PINE STREET
                                        SEATTLE, WA 98122




THE RIDGE WALLET, LLC                   THE RITZ CARLTON MARINA DEL REY         THE RIVETER
28632 ROADSIDE DRIVE, STE 265           ADDRESS UNAVAILABLE AT TIME OF FILING   1517 12TH AVE, SUITE 101
AGOURA HILLS, CA 91301                                                          SEATTLE, WA 98122
THE ROOM RING, LLC      Case 22-11238-LSS     Doc
                                       THE SAMI     2 COMPANY
                                                & MIKE Filed 11/30/22          Page 4907  of 5495
                                                                                    THE SANTA BARBARA INDEPENDENT
53 WARREN AVENUE 2                      450 30TH STREET                              ADDRESS UNAVAILABLE AT TIME OF FILING
BOSTON, MA 02116                        HERMOSA BEACH, CA 90254




THE SHALLOW END LLC                     THE SHOPPER                                  THE SHORT JOINT REVOCABLE LIVING
1525 GLENCOE AVE                        ADDRESS UNAVAILABLE AT TIME OF FILING        TRUST
VENICE, CA 90291                                                                     ADDRESS AVAILABLE UPON REQUEST




THE SILVER DOLLAR                       THE SISTER STUDIO INC.                       THE SMILE RESTAURANT
ADDRESS UNAVAILABLE AT TIME OF FILING   415 KINGS LANDING                            ADDRESS UNAVAILABLE AT TIME OF FILING
                                        ROCKWALL, TX 75032




THE SNOW LEOPARD 2015 CHARITABLE        THE SOURCE                                   THE SPECIALIST WORKS EM LLC
TRUST                                   2060-D E. AVENIDA DE LOS ARBOLES 306         2451 CUMBERLAND PKWY STE 3867
ADDRESS AVAILABLE UPON REQUEST          THOUSAND OAKS, CA 91362                      ATLANTA, GA 30339




THE STAMPMAKER                          THE SWISS RESTAURANT                         THE TASTING KITCHEN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING        ADDRESS UNAVAILABLE AT TIME OF FILING




THE THADDEUS B ZALESKI AND ELIZABETH    THE TRAVELERS INDEMNITY COMPANY              THE TRAVELERS INDEMNITY COMPANY
B ZALESKI                               ATTN SCOTT L GLOWNER                         ONE TOWER SQUARE 10CGM
ADDRESS AVAILABLE UPON REQUEST          PO BOX 64094                                 HARTFORD, CT 06183
                                        ST PAUL, MN 55102-0094




THE TRAVELING BOARD                     THE TRIPEL                                   THE TRIPLE
1010 ELKGROVE AVE., APT 3               ADDRESS UNAVAILABLE AT TIME OF FILING        ADDRESS UNAVAILABLE AT TIME OF FILING
VENICE, CA 90291




THE UNIVERSITY CLUB                     THE UPPER HOUSE                              THE UPS STORE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING        4712 ADMIRALTY WAY
                                                                                     MARINA DEL REY, CA 90292




THE VAULT, ELIZABETH A WIDEL            THE VEGGIE GRILL                             THE VERMONT WINE MERCHANTS COMPANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING        255 SO. CHAMPLAIN ST
                                                                                     BURLINGTON, VT 05401




THE VERMONT WINE MERCHANTS              THE VINE COLLECTIVE                          THE VINTNER VAULT
240 BATTERY ST                          330 WEST 38TH ST STE 1600                    ADDRESS UNAVAILABLE AT TIME OF FILING
BURLINGTON, VT 05401                    NEW YORK, NY 10018
THE WALLACE           Case 22-11238-LSS     Doc 2 Filed 11/30/22 Page 4908
                                      THE WARWICK                                 of 5495
                                                                            THE WATERFRONT
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING 205 OCEAN FRONT WALK
                                                                            VENICE, CA 90291




THE WEBSTAURANT STORE                   THE WESTIN                              THE WHITE MANSION
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




THE WINE HOUSE                          THE WOODHOUSE WINE ESTATES              THE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




THEAD, ELIZABETH                        THEADO, ANDREW                          THEAMA, ANITA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




THEANCHAI, KRIS                         THEANCHAI, TANALEE                      THEARLE, REGINALD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




THEBAUT, JAY                            THEDE, CARRIE                           THEDER, RICK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




THEE, KRISTEN                           THEES, MONIQUE                          THEIBERT, TERRI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




THEIL JR, RICHARD                       THEIL, SARAH                            THEILE REID, SARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




THEILIG, ASHLEY                         THEILING, TERESA                        THEIS, CATHERINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




THEIS, EMMA                             THEIS, JACQUELINE                       THEIS, JULIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
THEIS, JULIE          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     THEIS, KAREN                     Page 4909   of 5495
                                                                           THEIS, KRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THEIS, MACHELLE                      THEIS, MELANIE                         THEIS, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THEIS, SAMANTHA                      THEIS, WENDY                           THEISEN, KERSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THEISEN, MARIA                       THEISS, ERIN                           THEISS, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THEISS, TRICIA                       THELANDER, ANDY                        THELEN, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THELEN, CINDY                        THELEN, GREG                           THELEN, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THELEN, KERRY                        THELEN, KRISTEN                        THELEN, MATTHEW A.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THELEN, THOMAS                       THELUSCA, PATRICK                      THEN, MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THEN, SUNDAY                         THENEXT2SHINE LLC                      THENO, EMILEE
ADDRESS AVAILABLE UPON REQUEST       363 CARLISLE CROSSING                  ADDRESS AVAILABLE UPON REQUEST
                                     ST LAS VEGAS, NV 89138




THEOBALD, DIANA                      THEOBALD, NICHOL                       THEOBALD, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
THEOBALD, THOMAS      Case 22-11238-LSS    DocLISA
                                     THEOBOLD,  2 Filed 11/30/22      Page 4910 of 5495
                                                                           THEOCHAROPOULOS, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THEODORE CHARLES BRAY                THEODORE DEREMER                      THEODORE ORWIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THEODORE S NASPINSKI                 THEODORE, ALEX                        THEODORE, BYRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THEODORE, MARY                       THEODOROPOULOS, STEPHANIE             THEODOROU, HAROULA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THEOHARIDIS, ALEX                    THEOPHILUS R NIX JR                   THERESA ADAIR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THERESA COGSWELL                     THERESE J WYMAN                       THERIAC, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THERIAULT, DANIELLE                  THERIAULT, ELAN                       THERIAULT, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THERING, KRISTI                      THERING, KRISTI                       THERKELSEN, MIRANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THERNES, MATHIAS                     THEROUX, ALEXANDRA                    THEROUX, SHELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THERRIAULT, JEANNINE                 THERRIEN, ALBERT                      THERRIEN, CYNDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
THERRIEN, ELIJAH      Case 22-11238-LSS    Doc
                                     THERRIEN,   2 Filed 11/30/22
                                               HOLLY                  Page 4911  of 5495
                                                                           THERRIEN, RON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THERRIEN, ROZZLYNN                   THESKIMM, INC.                        THEUERKAUF, NICOLE
ADDRESS AVAILABLE UPON REQUEST       PO BOX 392607                         ADDRESS AVAILABLE UPON REQUEST
                                     PITTSBURGH, PA 15251-9607




THEVENET, KIMBERLY                   THEWS, PATTY                          THIBAUD, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THIBAULT, AMBER                      THIBAULT, KELSIE                      THIBAULT, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THIBAULT, VALERIE                    THIBEAULT, BRIDGET                    THIBEAULT, ISABELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THIBEAULT, JILL                      THIBEDEAU, KASSANDRA                  THIBERT, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THIBERT, JILL                        THIBODAUX, ANDY                       THIBODAUX, MARCIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THIBODAUX, NICOLE                    THIBODEAU, ASHLEY                     THIBODEAU, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THIBODEAU, CHRISTINE                 THIBODEAU, EILEEN                     THIBODEAU, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THIBODEAU, JON-MARC                  THIBODEAU, KRISTY                     THIBODEAUX, ARIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
THIBODEAUX, LYNDI     Case 22-11238-LSS     Doc
                                     THICKLIN,    2 Filed 11/30/22
                                               TASIA                  Page 4912
                                                                           THIEDE,of 5495
                                                                                   MEREDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIEKEN, PAUL                        THIEL, AMY                             THIEL, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIEL, CARLEE                        THIEL, EMILY                           THIEL, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIEL, KELLI                         THIEL, STEVE                           THIELE, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIELEMAN, CRISTY                    THIELEMAN, DENISE                      THIELEMANN, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIELEN, BETH                        THIELEN, REBECCA                       THIELGES PHOENIX, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIELGES, CLARK                      THIELKE, ALYVIA                        THIEMAN, JACQUELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIEMAN, KENT                        THIEMANN, NORA                         THIEME, KATARZYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIEN HA REVOCABLE LIVING TRUST      THIERMANN, RICHARD                     THIERY, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIES, ANDREA                        THIES, PAMALA                          THIESEN, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
THIESFELD, RILEY      Case 22-11238-LSS    Doc MIRANDA
                                     THIESMEYER, 2 Filed 11/30/22     Page 4913  of 5495
                                                                           THIESSEN, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIGPEN, ANGELA                      THIGPEN, CASSIE                        THIGPEN, COTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIGPEN, MICHELLE                    THIGPENN, JENNIFER                     THILGES, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THILL, JUSTIN                        THILL, KIM                             THILL, MARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THILLEN, JIM                         THIMMAYYA, AMANDA                      THING, MARY PAT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIRAKUL, ROBIN                      THIRDLOVE (MECOMMERCE INC.)            THIROS, MADISON
ADDRESS AVAILABLE UPON REQUEST       2325 3RD STREET, SUITE 215             ADDRESS AVAILABLE UPON REQUEST
                                     SAN FRANCISCO, CA 94107




THIRTLE, RYAN                        THIRU R SRINIVASAN                     THIRUMANI, MAHESH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THIS REPRESENTS LLC                  THISTLE, PATTY                         THISTLEWOOD, KAYLEE
12931 VENICE BLVD                    ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90066




THODE, MANDY                         THODE, MANDY                           THODEY, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOELE, SARAH                        THOELKE, WILLIAM                       THOEMMES, DOMINIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
THOEN, ANSEL          Case 22-11238-LSS
                                     THOEN, Doc
                                            KATE 2   Filed 11/30/22   Page 4914 of 5495
                                                                           THOENELT, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOENSEN, ERIN                       THOLE, TOM                             THOLEN, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOLMER, MARIANNE                    THOM, ANDREW                           THOM, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOM, JOHN                           THOMA, HAILEYROSE                      THOMA, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMA, KELI                          THOMA, SERENA                          THOMAD, TRISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAE, L                            THOMAN, CHARICE                        THOMAS A MILLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS A STEELE                      THOMAS ALLYN GANDEE                    THOMAS BRUSKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS BURNS                         THOMAS CHRISTOFFERSEN                  THOMAS CHRISTOPHER ARMATO STURGES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS CUMMINGS COUGHLIN             THOMAS DELLAMONICA                     THOMAS DYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS E BOCCIA                      THOMAS E WALTER                        THOMAS ELLIOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
THOMAS EUGENE ROGERS Case 22-11238-LSS
                                    THOMASDoc  2 Filed 11/30/22
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                                                                             THOMAS   5495
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




THOMAS FITZSIMMONS                    THOMAS FRANCO                          THOMAS FRANKLIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS GREGORY COMPTON                THOMAS HAMMER                          THOMAS HEINZEROTH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS HILSABECK                      THOMAS JACOB                           THOMAS JAMES GILMORE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS JOHN PASTORE                   THOMAS JOHN VIOLANTE                   THOMAS JOHN VIOLANTE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS JULIAN STRICKLAND              THOMAS KISH                            THOMAS KNUTSEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS KOZLOWSKI                      THOMAS L KAY JR                        THOMAS M DODDS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS M VAN PAASSEN                  THOMAS MARIOT                          THOMAS MARK ROWLAND
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS MARYNIK                        THOMAS MCGEE                           THOMAS MCGUFFIN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS MICHAEL MCMAHON FAMILY TRUST   THOMAS MICHAEL VIOLANTE FAMILY TRUST   THOMAS MICHAEL VIOLANTE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
THOMAS MINDY          Case 22-11238-LSS
                                     THOMASDoc  2 Filed 11/30/22
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                                                                                THOMAS  5495 BASS
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THOMAS NOVAK                             THOMAS OTT                             THOMAS P MCJOYNT-GRIFFITH
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS P NOVAK                           THOMAS QUICK                           THOMAS R EVANS III LIVING TRUST
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS R EVANS III REVOCABLE TRUST       THOMAS R STAUTZ REVOCABLE TRUST        THOMAS RELERFORD
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS ROBERT GRABOWSKI REVOCABLE        THOMAS RYAN ILEY                       THOMAS SCHWANHAEUSER
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS STERLING WALKER JR APRIL 1 1999   THOMAS SWIERSKI                        THOMAS SYMINGTON
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS T EASTER                          THOMAS TUCKER                          THOMAS WELLS
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS WETHERALD                         THOMAS WILLIAM ANDREW REVOCABLE        THOMAS WILLIAM ANDREW
ADDRESS AVAILABLE UPON REQUEST           LIVING TRUST                           ADDRESS AVAILABLE UPON REQUEST
                                         ADDRESS AVAILABLE UPON REQUEST




THOMAS WOLFE                             THOMAS ZAJKOWSKI                       THOMAS, ABBIE
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




THOMAS, ABBY                             THOMAS, ADAM                           THOMAS, AJADA
ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
THOMAS, ALEXA         Case 22-11238-LSS    Doc
                                     THOMAS,     2 Filed 11/30/22
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                                                                           THOMAS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, ALIXANDRIA                   THOMAS, ALLEN                         THOMAS, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, ALLYSON                      THOMAS, ALLYSON                       THOMAS, ALTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, ALYSSA                       THOMAS, AMANDA                        THOMAS, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, AMY                          THOMAS, ANDREA                        THOMAS, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, ANGELINE                     THOMAS, ANISSA                        THOMAS, ANITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, ANNIE                        THOMAS, ANTON                         THOMAS, ARIANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, ARLETTE                      THOMAS, ARUN                          THOMAS, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, ASHLEY                       THOMAS, ASHLEY                        THOMAS, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, AVERY                        THOMAS, BECKY                         THOMAS, BELINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
THOMAS, BENJAMIN      Case 22-11238-LSS    Doc
                                     THOMAS,    2 Filed 11/30/22
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                                                                           THOMAS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, BOBETTE                      THOMAS, BRANDI                        THOMAS, BRANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, BRIAN                        THOMAS, BRIAN                         THOMAS, BRIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, BRITTANY                     THOMAS, BRITTANY                      THOMAS, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, BYRON                        THOMAS, C                             THOMAS, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, CALLI                        THOMAS, CANDACE                       THOMAS, CANDICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, CANDY                        THOMAS, CAREY                         THOMAS, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, CAROL                        THOMAS, CAROL                         THOMAS, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, CAROLINE                     THOMAS, CAROLYN                       THOMAS, CARRITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMAS, CARSON                       THOMAS, CHANTEL                       THOMAS, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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THOMAS, CHELSEA                      THOMAS, CHIARA                        THOMAS, CHISHALA
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THOMAS, CHRIS                        THOMAS, CHRIS                         THOMAS, CHRISTEN
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THOMAS, CHRISTINE                    THOMAS, COREY                         THOMAS, CORLI
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THOMAS, COURTNEY                     THOMAS, COURTNEY                      THOMAS, COURTNEY
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THOMAS, COURTNEY                     THOMAS, CRAIG                         THOMAS, CRYSTAL
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THOMAS, CYNTHIA                      THOMAS, CYRIL                         THOMAS, DAKOTA
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THOMAS, DALTON                       THOMAS, DANA                          THOMAS, DANIEL
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THOMAS, DANIELLE                     THOMAS, DARYN                         THOMAS, DAVID
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THOMAS, DEBORAH                      THOMAS, DEBORAH                       THOMAS, DEBRA
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THOMAS, DEVON FAY                    THOMAS, DOROTHY                       THOMAS, ELISHA
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THOMAS, ELIZABETH                    THOMAS, ELLIE                         THOMAS, ELOISE
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THOMAS, EMILY                        THOMAS, EMILY                         THOMAS, EMILY
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THOMAS, ERIN                         THOMAS, EVERETT                       THOMAS, EVETTE
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THOMAS, FONTAI                       THOMAS, GABRIELLA                     THOMAS, GAIL
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THOMAS, GAIL                         THOMAS, GEORGE                        THOMAS, GLORIA
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THOMAS, GRACE                        THOMAS, GRETCHEN                      THOMAS, HALEY
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THOMAS, HALEY                        THOMAS, HALEY                         THOMAS, HANNAH
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THOMAS, IAN                          THOMAS, ILIA                          THOMAS, ISAIAH
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THOMAS, JACK                         THOMAS, JAIMIE                        THOMAS, JAKE
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THOMAS, JAKE                         THOMAS, JAMAAL                        THOMAS, JAMES
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THOMAS, JAMIE                        THOMAS, JAMIE                         THOMAS, JANE
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THOMAS, JANELLE                      THOMAS, JANICE                        THOMAS, JEANNA
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THOMAS, JEFFERY                      THOMAS, JENNA                         THOMAS, JENNIFA
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THOMAS, JESSI JUNE                   THOMAS, JESSICA                       THOMAS, JESSICA
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THOMAS, JESSICA                      THOMAS, JESSICA                       THOMAS, JESSICA
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THOMAS, JONATHAN                     THOMAS, JONNA                         THOMAS, JONNETTA
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THOMAS, JORDAN                       THOMAS, JORDAN                        THOMAS, JORDAN
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THOMAS, JORDIN                       THOMAS, JOSEPH                        THOMAS, JOSEPH
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THOMAS, JOSEPH                       THOMAS, JUDITH                        THOMAS, JULIA
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THOMAS, KATHERINE                    THOMAS, KATHERINE                     THOMAS, KATHRYN
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THOMAS, KATHY                        THOMAS, KATHY                         THOMAS, KAY
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THOMAS, KELSEY                       THOMAS, KERI                          THOMAS, KIA
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                                     THOMAS,    2 Filed 11/30/22
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THOMAS, LAPORSCHE                    THOMAS, LARISSA                       THOMAS, LAURA
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THOMAS, LAUREN                       THOMAS, LAUREN                        THOMAS, LEALA
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THOMAS, LINDA                        THOMAS, LINDSAY                       THOMAS, LINDSEY
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THOMAS, LINDSEY                      THOMAS, LIVIA                         THOMAS, LONNIE
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THOMAS, LORIE                        THOMAS, MADELEINE                     THOMAS, MADISON
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THOMAS, MAEI                         THOMAS, MALLORY                       THOMAS, MARIA
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THOMAS, MARIAH                       THOMAS, MARILYN                       THOMAS, MARK
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THOMAS, MATT                         THOMAS, MAXIMUS SKATES                THOMAS, MCKENZIE
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THOMAS, MEAGEN                       THOMAS, MEGAN                         THOMAS, MELANIE
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THOMAS, MELODY                       THOMAS, MEREDITH                      THOMAS, MIA
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THOMAS, MICHELLE                     THOMAS, MICHELLE                      THOMAS, MICHELLE
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THOMAS, MIGNON                       THOMAS, MIKAELLA                      THOMAS, MIKE
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THOMAS, MONICA                       THOMAS, MONTANA                       THOMAS, MORGAN
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THOMAS, NATALIE                      THOMAS, NICK                          THOMAS, NICOLE
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THOMAS, NICOLE                       THOMAS, NORADA                        THOMAS, ONEIL
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                                     THOMAS,    2 Filed 11/30/22
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THOMAS, PETER                        THOMAS, PHYLLIS                       THOMAS, PRESTON
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THOMAS, RACHEL                       THOMAS, RACHEL                        THOMAS, RACHEL
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THOMAS, RACHEL                       THOMAS, RACUMYAH                      THOMAS, RALPH
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THOMAS, RAYMOND                      THOMAS, REBECCA                       THOMAS, REBECCA
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THOMAS, REBECCA                      THOMAS, REGGINALD                     THOMAS, RESHEENA
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THOMAS, RICH                         THOMAS, ROBERT                        THOMAS, ROBERT
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THOMAS, ROBERT                       THOMAS, ROBIN                         THOMAS, ROBIN
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THOMAS, ROBY                         THOMAS, RODNEY                        THOMAS, RONDA
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THOMAS, ROSLYN                       THOMAS, ROSLYN                        THOMAS, RYAN
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THOMAS, S NOELLE      Case 22-11238-LSS    Doc
                                     THOMAS,     2 Filed 11/30/22
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THOMAS, SAMUEL                       THOMAS, SANDY                         THOMAS, SANILA
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THOMAS, SARA                         THOMAS, SARAH                         THOMAS, SARAH
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THOMAS, SAUNDRA                      THOMAS, SCOTT                         THOMAS, SCOTT
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THOMAS, SEBASTIAN                    THOMAS, SEYAN                         THOMAS, SHANNON
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THOMAS, SHANNON                      THOMAS, SHANNON                       THOMAS, SHARON
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THOMAS, SHAYNA                       THOMAS, STACIE                        THOMAS, STAFFORD
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THOMAS, STEFANIE                     THOMAS, STEPHEN                       THOMAS, SUE
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THOMAS, SUSAN                        THOMAS, SUSAN                         THOMAS, SUSIE
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THOMAS, SUZANNE                      THOMAS, SYMONE                        THOMAS, TALAYA
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THOMAS, TANISHA       Case 22-11238-LSS    Doc
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THOMAS, TIERNEY                      THOMAS, TIFFANIE                      THOMAS, TIFFANY
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THOMAS, TIFFANY                      THOMAS, TIFFANY                       THOMAS, TIM
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THOMAS, TIM                          THOMAS, TODD                          THOMAS, TRACEY
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THOMAS, TRACY                        THOMAS, TRACY                         THOMAS, TYLOR
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THOMAS, VERA                         THOMAS, WILL                          THOMAS, WILLA
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THOMAS, WILLIAM                      THOMASCH, MICHELLE                    THOMASON, APRIL
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THOMASON, CHARLES                    THOMASON, COURTNEY                    THOMASON, HOLLY
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THOMASON, JENNEVA                    THOMASON, KATIE                       THOMASON, LAUREN
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THOMASON, MICHAEL                    THOMASON, RUSSELL                     THOMASON, SCOTT
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THOMASSIAN, TALIN     Case 22-11238-LSS    Doc ARWIN
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THOMAS-WILSON, VANESSA               THOME, ABBY                           THOME, ELOISE
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THOME, ELOISE                        THOMEIER, SARAH                       THOMEN, MARYCRUZ
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THOMES, KATHERINE                    THOMETZ, MATTHEW                      THOMFORDE, JENNA
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THOMKA, CANDACE                      THOMKE, ERICA                         THOMMEN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




THOMMES, NICOLE                      THOMPKINS, RAMONA                     THOMPSON PINNACLE HOLDINGS INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        (PINNACLE IMPORTS)
                                                                           3075 MORGAN ROAD
                                                                           BESSEMER, AL 35022




THOMPSON PINNACLE HOLDINGS INC.      THOMPSON, ABIGAIL                     THOMPSON, ADAM
(PINNACLE IMPORTS)                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
3075 MORGAN ROAD
BESSEMER, AL 35022




THOMPSON, ALAYSIA                    THOMPSON, ALBERT                      THOMPSON, ALEXANDER
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THOMPSON, ALEXANDRA                  THOMPSON, ALEXANDRIA                  THOMPSON, ALLISON
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THOMPSON, ALLISON                    THOMPSON, ALLYSON                     THOMPSON, ALONIA
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                                                                           THOMPSON, AMBER
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THOMPSON, AMELIA                     THOMPSON, AMELIA                      THOMPSON, AMY
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THOMPSON, ANDREA                     THOMPSON, ANDREA                      THOMPSON, ANDREA
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THOMPSON, ANDREW                     THOMPSON, ANNA                        THOMPSON, ANNE
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THOMPSON, ANNE                       THOMPSON, ARIENNE                     THOMPSON, ASHLEE
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THOMPSON, ASHLEIGH                   THOMPSON, ASHLEY                      THOMPSON, ASHLEY
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THOMPSON, ASHLEY                     THOMPSON, AUDREY                      THOMPSON, AUSTIN
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THOMPSON, AVONNE                     THOMPSON, BAILEY                      THOMPSON, BARBARA
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THOMPSON, BARBARA                    THOMPSON, BRANDI                      THOMPSON, BRENDA
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THOMPSON, BRIANNA                    THOMPSON, BRITTANY                    THOMPSON, BRITTANY
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THOMPSON, BRITTANY    Case 22-11238-LSS    DocBRITTANY
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                                                                           THOMPSON, BROOKE
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THOMPSON, CAITLIN                    THOMPSON, CAMARRA                     THOMPSON, CAROLE
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THOMPSON, CAROLINE                   THOMPSON, CAROLINE                    THOMPSON, CAROLYN
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THOMPSON, CAROLYN                    THOMPSON, CASEY                       THOMPSON, CASSIE
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THOMPSON, CATHERINE                  THOMPSON, CHAQUETTA                   THOMPSON, CHASE
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THOMPSON, CHELSEA                    THOMPSON, CHELSEA                     THOMPSON, CHRIS
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THOMPSON, CHRIS                      THOMPSON, CHRISTINA                   THOMPSON, CHRISTINA
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THOMPSON, CHRISTY                    THOMPSON, CLAIRE                      THOMPSON, CLARENCE
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THOMPSON, CLAUDE                     THOMPSON, COLE                        THOMPSON, COURTNEY
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THOMPSON, COURTNEY                   THOMPSON, CURTIS                      THOMPSON, DANA
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THOMPSON, DANIEL      Case 22-11238-LSS    DocDANIEL
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THOMPSON, DEBORAH                    THOMPSON, DEBRA                       THOMPSON, DEREK
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THOMPSON, DEREK                      THOMPSON, DESTINY                     THOMPSON, DEWEY
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THOMPSON, ED                         THOMPSON, ELISHA                      THOMPSON, ELIZABETH
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THOMPSON, ELIZABETH                  THOMPSON, ELIZABETH                   THOMPSON, ELIZABETH
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THOMPSON, ELIZABETH                  THOMPSON, EMELIA                      THOMPSON, EMILY
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THOMPSON, EMMA                       THOMPSON, ERICA                       THOMPSON, ERIN
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THOMPSON, FANCHETTE                  THOMPSON, FELEECIA                    THOMPSON, FELICIA
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THOMPSON, GEORGE                     THOMPSON, GREGG                       THOMPSON, GREGORY
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THOMPSON, GRETCHEN                   THOMPSON, GUINEVERE                   THOMPSON, HAILEY
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THOMPSON, HAILEY                     THOMPSON, HALEY                       THOMPSON, HAYLI
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THOMPSON, HEATHER                    THOMPSON, HELLE                       THOMPSON, HUNTER
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THOMPSON, JACKIE                     THOMPSON, JACLYN                      THOMPSON, JAMES
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THOMPSON, JAMES                      THOMPSON, JAMIE                       THOMPSON, JAMIE
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THOMPSON, JANEANE                    THOMPSON, JANELL                      THOMPSON, JANIE
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THOMPSON, JARED       Case 22-11238-LSS    DocJAS
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                                                                           THOMPSON, JASMINE
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THOMPSON, JASON                      THOMPSON, JASON                       THOMPSON, JENA
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THOMPSON, JENNIFER                   THOMPSON, JENNIFER                    THOMPSON, JENNIFER
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THOMPSON, JESSICA                    THOMPSON, JESSICA                     THOMPSON, JESSICA
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THOMPSON, JESSICA                    THOMPSON, JILLIAN                     THOMPSON, JIMMY
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THOMPSON, JOEL                       THOMPSON, JOHN                        THOMPSON, JOHN
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THOMPSON, JOHN                       THOMPSON, JOI                         THOMPSON, JONATHAN
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THOMPSON, JORDAN                     THOMPSON, JOSHUA                      THOMPSON, JOYCE
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THOMPSON, JUDY                       THOMPSON, JULIA                       THOMPSON, JULIA
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THOMPSON, JULIE       Case 22-11238-LSS    DocKAITLIN
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THOMPSON, KATE                       THOMPSON, KATE                        THOMPSON, KATHERINE
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THOMPSON, KATHERINE                  THOMPSON, KATHERINE                   THOMPSON, KATHERINE
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THOMPSON, KATHLEEN                   THOMPSON, KATIE                       THOMPSON, KATIE
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THOMPSON, KATRINA                    THOMPSON, KAYLA                       THOMPSON, KELLI
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THOMPSON, KELSEY                     THOMPSON, KENNETH                     THOMPSON, KENZIE
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THOMPSON, KEVIN                      THOMPSON, KIARA                       THOMPSON, KIRA
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THOMPSON, KORDA                      THOMPSON, KRISTEN                     THOMPSON, LARRY
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THOMPSON, LATASHA                    THOMPSON, LAUREN                      THOMPSON, LEA
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THOMPSON, LEANDRA                    THOMPSON, LEE                         THOMPSON, LEONARD
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THOMPSON, LEONARD     Case 22-11238-LSS    DocLINDA
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THOMPSON, LORI                       THOMPSON, LORI                        THOMPSON, LOUISE
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THOMPSON, MADELINE                   THOMPSON, MAGGIE                      THOMPSON, MAISHA
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THOMPSON, MARANDA                    THOMPSON, MARCIA                      THOMPSON, MARCIE
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THOMPSON, MARGARET                   THOMPSON, MARIAN                      THOMPSON, MARILYN
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THOMPSON, MARISA                     THOMPSON, MARK 120774                 THOMPSON, MARQUITTA
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THOMPSON, MATT                       THOMPSON, MATT                        THOMPSON, MATTHEW
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THOMPSON, MAX                        THOMPSON, MEGAN                       THOMPSON, MEGAN
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THOMPSON, MEGHAN                     THOMPSON, MEGHAN                      THOMPSON, MELINDA
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THOMPSON, MELISSA                    THOMPSON, MELISSA                     THOMPSON, MELISSA
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THOMPSON, MICHAEL     Case 22-11238-LSS    DocMICHAEL
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THOMPSON, MICHELLE                   THOMPSON, MOIRA                       THOMPSON, MONICA
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THOMPSON, MORGAN                     THOMPSON, MORGAN                      THOMPSON, MORGAN
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THOMPSON, NATALIE                    THOMPSON, NATALIE                     THOMPSON, NATALIE
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THOMPSON, NATHANIEL                  THOMPSON, NICHOLAS                    THOMPSON, NOELLE
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THOMPSON, OMNIKA                     THOMPSON, PATRICIA                    THOMPSON, PHILLIP
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THOMPSON, PHILLIP                    THOMPSON, PHYLLIS                     THOMPSON, RANDI
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THOMPSON, RAVEN                      THOMPSON, RAYMOND                     THOMPSON, REBECCA
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THOMPSON, REBECCA     Case 22-11238-LSS    DocREBECCA
                                     THOMPSON,  2 Filed 11/30/22      Page 4937 of 5495
                                                                           THOMPSON, RENEA
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THOMPSON, RHEABECKAH                 THOMPSON, ROBERT                      THOMPSON, ROBERT
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THOMPSON, RONALD                     THOMPSON, ROSALIND                    THOMPSON, ROSE
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THOMPSON, ROSEMARIE                  THOMPSON, RUTH                        THOMPSON, SAKIYNA
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THOMPSON, SAMANTHA                   THOMPSON, SAMANTHA                    THOMPSON, SAMANTHA
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THOMPSON, SAMONE                     THOMPSON, SARA                        THOMPSON, SARAH
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THOMPSON, SARAH                      THOMPSON, SARAH                       THOMPSON, SARAH
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THOMPSON, SCOTT                      THOMPSON, SHAINE                      THOMPSON, SHEILA
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THOMPSON, SHELBY                     THOMPSON, SHERYL                      THOMPSON, SHEYANNA
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THOMPSON, SHOLA                      THOMPSON, SKYE                        THOMPSON, SONIA
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THOMPSON, SOPHIE      Case 22-11238-LSS    DocSOPHIE
                                     THOMPSON,  2 Filed 11/30/22      Page 4938 of 5495
                                                                           THOMPSON, STEFAN
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THOMPSON, STEFFI                     THOMPSON, STEPHANIE                   THOMPSON, STEPHANIE
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THOMPSON, STUART                     THOMPSON, SUSAN                       THOMPSON, SUSETTE
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THOMPSON, SUZANNA                    THOMPSON, SUZANNE                     THOMPSON, SYLVIE
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THOMPSON, SYMONE                     THOMPSON, TAMARA                      THOMPSON, TAMMY
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THOMPSON, TARA                       THOMPSON, TERESA                      THOMPSON, TERRENCE
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THOMPSON, TIFFANIE: JEREMY           THOMPSON, TSNYA                       THOMPSON, VERONICA
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THOMPSON, VICTORIA                   THOMPSON, VIRGINIA                    THOMPSON, WENDY
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THOMPSON, WILLA                      THOMPSON, WILLIAM                     THOMPSON, WILLIAM
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THOMPSON, ZACH                       THOMPSON-BADU, NECO                   THOMPSON-DREW, CORLISS
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THOMPSON-SEVCIK, TRAVISCase 22-11238-LSS    Doc 2 Filed
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THOMS, JULIE                          THOMSD, JENNIFER                       THOMSEN, EMMA
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THOMSEN, HELGA                        THOMSEN, JORDON                        THOMSEN, LYNN & AMY
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THOMSEN, WILLIAM                      THOMSON REUTERS (TAX & ACCOUNTING)     THOMSON REUTERS
ADDRESS AVAILABLE UPON REQUEST        INC.                                   P.O. BOX 71687
                                      2395 MIDWAY ROAD                       CHICAGO, IL 60694-1687
                                      CARROLLTON, TX 75006-2521




THOMSON, CAMERON                      THOMSON, CHELSEA                       THOMSON, CLAIRE
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THOMSON, GEORGINA                     THOMSON, JENNIFER                      THOMSON, KATHLEEN
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THOMSON, MARC                         THOMSON, NICOLE                        THOMSON, PAUL
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THOMSON, SAMANTHA                     THOMSON, TAYLOR                        THOMSON, TERRI
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THOMTON, AMY                          THON, CHRISTOPHER                      THON, HALEY
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THONI, ANNA                           THORELL, MEGHAN                        THOREN, LINDA
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THORESON, ASHLEY      Case 22-11238-LSS    Doc 2TORIFiled 11/30/22
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THORLAKSON, AUBREY                   THORLAKSSON, NIELS                    THORMAN, DANIEL
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THORMAN, MIRANDA                     THORMAN, RACHEL                       THORMAN, SADIE
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THORN, CHARLES                       THORN, KATHRYN                        THORN, LORI
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THORN, SARAH                         THORN, TAYLOR                         THORNAL, KAITLIN
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THORNBERRY, TARA                     THORNBERRY, TAYLER                    THORNBURG, AUDRA
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THORNBURG, KRISTEN                   THORNBURG, LANA                       THORNBURG, RJ
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THORNBURG, SARAH                     THORNDIKE, VICTORIA                   THORNE, ANNA
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THORNE, LOREEN                       THORNE, LORI                          THORNE, ROBYN
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THORNE, SHAUNA                       THORNE, SIERRA                        THORNE, TAYLOR
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THORNE, TAYLOR        Case 22-11238-LSS    DocJOYCE
                                     THORNHILL, 2 Filed 11/30/22      Page 4941 of 5495
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THORNHILL, LASHAWNDA                 THORNHILL, REBECCA                     THORNSBERRY, HOWARD
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THORNTON, AMANDA                     THORNTON, ASHLEY                       THORNTON, BETSY
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THORNTON, CARRIE                     THORNTON, CHRISTINA                    THORNTON, COURTNEY
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THORNTON, ELIZABETH                  THORNTON, ELIZABETH                    THORNTON, EMILY
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THORNTON, EMMA                       THORNTON, ERIN                         THORNTON, GINNY
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THORNTON, HOLLEY                     THORNTON, ISLA                         THORNTON, JENNIFER
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THORNTON, JERRY                      THORNTON, JILLIAN                      THORNTON, JOANNE
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THORNTON, LUCY                       THORNTON, MARY KATHRYN                 THORNTON, MICHAELA
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THORNTON, MIRANDA                    THORNTON, NICOLE                       THORNTON, PATRICE
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THORNTON, PATRICK     Case 22-11238-LSS    DocRACHEL
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                                                                           THORNTON, RENAY
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THORNTON, RITA                       THORNTON, SABRINA                     THORNTON, SUSANNA
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THORNTON, THARON                     THORNTON-HODGES, CHRISTINA            THORNTON-KENNEDY, HAYLEY
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THORNTON-SAUNDERS, ISIS              THORP, MATTHEW                        THORPE, AMANDA
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THORPE, ANDREW                       THORPE, ELLA                          THORPE, EMORY
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THORPE, FIONA                        THORPE, HANNAH                        THORPE, JENNIFER
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THORPE, KIMBERLY                     THORPE, KRYSTAL                       THORPE, MICHAEL
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THORPE, NICOLE                       THORPE, SHERIKA                       THORPE, TYE
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THORPE, VANESSA                      THORPE-KLINSKY, WHITNEY               THORSEN, SUSAN
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THORSNES, ANDREA                     THORSON, AUDREY                       THORSON, JANET
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THORSON, KATIE        Case 22-11238-LSS    Doc
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THOTA, AKHILA                        THOUIN, AMY                             THRALL, BECKY
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THRALL, NATALIE                      THRANE, SCOTT                           THRASH, BRANDY
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THRASHER, GABRIELLE                  THRASHER, JULIA                         THRASHER, MADELINE
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THRASHER, RACHEL                     THREAD, TRACY                           THREADGILL, ASHONTE
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THREADGILL, DAVID                    THREET, GAIL                            THRELKELD, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




THRELKELD, KERRYE                    THRIVE MARKET                           THRIVE MARKET, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN: LEGAL DEPARTMENT
                                                                             4509 GLENCOE AVE.
                                                                             MARINA DEL REY, CA 90293




THRIVE MARKET, INC.                  THRIVE MEDIA, INC.                      THROCKMORTON, AMANDA
C/O RUTAN & TUCKER LLP               31 RUEDES PEUPLIERS                     ADDRESS AVAILABLE UPON REQUEST
ATTN: TONI AGAJANIAN                 SEPTEUIL 78790
18575 JAMBOREE RD., SUITE 900        FRANCE
IRVINE, CA 92612



THROCKMORTON, HILLARY                THROGMORTON, DEBRA                      THROM, MAXWELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




THRONDSEN, JOY                       THRONEBERRY, AMBER                      THRONEBERRY, MARIBETH
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THRONER, SCOTT        Case 22-11238-LSS    Doc
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                                              LAUREN                  Page 4944 of 5495
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THROW-SWANK, JENNA                   THRUSH, SAMANTHA                      THRUSHR, RACHEL
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THUECKS, RYAN                        THUMLERT, KRISTIN                     THUMM, CORINNE
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THUNSTROM, BRITTNEY                  THUO, WANGECHI                        THURBER, BENJAMIN
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THURER, SELINA                       THURINGER, AARON                      THURMAN, ALI
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THURMAN, ASHLEY                      THURMAN, FLORENCE                     THURMAN, GREG
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THURMAN, ISABEL                      THURMAN, LAUREN                       THURMAN, REANNA
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THURMAN, RYAN                        THURMAN, SHELBY                       THURMON, WADE
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THURMOND, BRITTANIE                  THURMOND, DEANNA                      THURNBECK, LEVI
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THURNER, EMILY                       THURNHERR, SHANNON                    THURO, LAUREN
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THURSAM, EMILY        Case 22-11238-LSS    Doc
                                     THURSBY,   2 Filed 11/30/22
                                              GEOFF                   Page 4945 of 5495
                                                                           THURSTON, ASHLEY
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THURSTON, BRYAN                      THURSTON, CHARLOTTE                   THURSTON, DAVID
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THURSTON, IRENE                      THURSTON, MELISSA                     THURSTON, SUSAN
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THURTLE, KAMLA                       THUT, KATHY                           THWAITES, MICHELE
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THWIN, AYE AYE                       THYSENS, SHELLEY                      TIA STEWART
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TIAMPO, MATTHEW                      TIAMSIC, STACEY                       TIAN, VICKY
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TIANTIAN, TARA                       TIARA AUSTIN                          TIAUNA M SAUNDERS
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TIBALDI, BRYAN                       TIBBETS, DON                          TIBBETTS, ERICA
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TIBBETTS, EVAN                       TIBBETTS, ISABEL                      TIBBETTS, KATHLEEN
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TIBBETTS, ROBERT                     TIBBITS, CHERYL                       TIBBITS, HEATHER
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                                     TIBBS, ELLEN                     Page 4946
                                                                           TIBERI, of 5495
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TIBERIO, DOMINIC                     TIBERIO, KATHLEEN                      TIBERT, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TIBI, THONYROSE                      TIBREWALA, SHASHANK                    TICAR, MARTIN
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TICE, AURORA                         TICE, CHRISTOPHER                      TICE, COURTNEY
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TICE, ERIN                           TICE, JOJO                             TICE, MELISSA
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TICE, SALLY                          TICE, TAYLOR                           TICHANSKY, HANNAH
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TICHAUN WILLIAMS                     TICHENOR, ALLISON                      TICHENOR, AMY
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TICHININ, CHRISTINE                  TICHNER, CASSIDY                       TICKETMASTER
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TICKNER, HEATHER                     TICKNOR, DEBBIE                        TIDD, CAROLYN
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TIDD, SARA                           TIDEN LEE                              TIDRICK, EMILY
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TIDWELL, AUDRA        Case 22-11238-LSS    Doc
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TIDWELL, KERI                        TIDWELL, MARK                          TIDWELL, MICHELLE
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TIDWELL, RYAN                        TIDWELL, WHITNEY                       TIECHE, JENNIFER
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TIEDE, CRAIG                         TIEDE, JACQUELINE                      TIEDEMANN, KAREN
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TIEDEMANN, TIM                       TIEDT, NATHAN                          TIEDT, TRICIA
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TIEKEN, BRITTANY                     TIEMAN, BENJAMIN                       TIEMANN, GABRIELA
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TIENG, KELLY                         TIEPELMAN, WILLIAM                     TIERA KARNES
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TIERK, GRACE                         TIERNAN GOUGH                          TIERNAN, AMY
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TIERNAN, KATHERINE                   TIERNAN, MEGHAN                        TIERNEY, ALLISON
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TIERNEY, AMANDA                      TIERNEY, CAITLIN                       TIERNEY, FR. JOSEPH
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TIERNEY, JAMIE        Case 22-11238-LSS     Doc
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TIERNEY, KAYLA                       TIERNEY, LAUREN                         TIERNEY, MADELEINE
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TIERNEY, MARK                        TIERNEY, MARY                           TIERNEY, MATTHEW
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TIERNEY, PAMELA                      TIERNEY, SHANNON                        TIERNEY, SUE
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TIERNEY, TREVOR                      TIERRA NEW YORK                         TIERRA, JULIA
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TIERS, PAUL                          TIESO, MADISON                          TIETJEN, ALLISON
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TIETJEN, BRETT                       TIETJEN, CARRIE                         TIETJEN, JOANNE
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TIEU, KIMBERLY                       TIEUVAN PHAN                            TIFFANY BOUN
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TIFFANY CAMPBELL                     TIFFANY GEBEL                           TIFFANY HEVNER
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TIFFANY MONIQUE YIZAR                TIFFANY SHEMANSKI                       TIFFANY TASSET
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TIFFANY, TERRI                          TIFFIN, THOMAS                        TIFFORD, GAIL
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TIFT, DENISE                            TIFT, NESRIN                          TIGBAO, KENDY
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TIGELAAR, ROBERT                        TIGER, BEVERLY                        TIGER, STEFANIE
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TIGHE, ISABELLA                         TIGHE, KATHERINE                      TIGHE, MARY
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TIGHE, MATT                             TIGHE, ROSIE                          TIGHT, COURTNEY
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TIGNANELLI, ANGELA                      TIGNER, JAMIE                         TIGNER, MONIQUE
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TIGNOR, KRISTEN                         TIGUE, ALYSSA                         TIKELLIS, ALEXANDRA
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TIKI MERMAID                            TIKKA, RAVEN                          TILDEN, ALEXA
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TILGHMAN, TANYA                         TILKER, PAIGE                         TILKIN, ABBY
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TILL, SAMANTHA        Case 22-11238-LSS     Doc KELLEY
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TILLER, JOCELYN                      TILLER, KORAH                         TILLER, RUANN
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TILLERSON, JENNIFER                  TILLERY, ADAM                         TILLERY, KATIE
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TILLERY, MELISSA                     TILLETT, BOBBY                        TILLEY, AMANDA
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TILLEY, AMANDA                       TILLEY, CHRISTA                       TILLEY, KENDIDA
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TILLEY, TARA                         TILLEY, TERESA                        TILLIES CAFE
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TILLISON, AMY                        TILLISTRAND, MICHAEL                  TILLMAN, ASHLEIGH
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TILLMAN, CAITLIN                     TILLMAN, CHEYANNE                     TILLMAN, ERIN
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TILLMAN, FREDERIC                    TILLMAN, HALEY                        TILLMAN, INDIA
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TILLMAN, LISA                        TILLMAN, PATRICIA                     TILLMAN, SANDRA
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TILLMAN, SANDRA       Case 22-11238-LSS
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TILLOTSON, ERIN                      TILLOTSON, REES                        TILLSON, JENNIFER
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TILLSON, TOM                         TILMAN, LAURA                          TILMAN, NAOMI
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TILSON, AUTUMN                       TILSON, LEAH                           TILTON, KAYLEIGH
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TILY, PETER                          TILY, STEPHEN                          TILYOU, MOLLY
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TILZER, ANN                          TILZER, JESSICA                        TIM ANH LE
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TIM GLOYD                            TIM RHOENISCH                          TIM RHOENISCH
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TIM ROGERS, TIM                      TIM SIMON                              TIM STEMA
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TIM WILBURN                          TIMAEUS, SARAH                         TIMAN, RACHEL
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TIMBANG, EDUARDO                     TIMBERLAKE, KHALIF                     TIMBERLAKE, LUCAS
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TIMBERMAN, AMBER      Case 22-11238-LSS
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TIMBS, LEIGHANN                      TIMBUK2                                 TIME WARNER CABLE (SPECTRUM
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                                                                             CITY OF INDUSTRY, CA 91716-0074




TIMEKA BEARD, TIMEKA                 TIMIRGALIEVA, OLGA                      TIMKO, JOSH
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TIMKO, RICHARD                       TIMM, CARI                              TIMM, COLTON
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TIMM, KERRY                          TIMM, PAMELA                            TIMM, SHANE
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TIMM, TRISTINA                       TIMME, LINDA                            TIMMENEY, PAYTON
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TIMMER, RICHARD                      TIMMERMAN, BAILEY                       TIMMERMAN, BRENNOR
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TIMMERMAN, LAURA                     TIMMERMANN, JOURDAN                     TIMMINS, LAUREN
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TIMMINS, WILLIAM                     TIMMONS, AMBER                          TIMMONS, CORRIE
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TIMMONS, MARYBETH                    TIMMONS, ZEB                            TIMNEY, KERIANN
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TIMOCHENKO, LOUANN    Case 22-11238-LSS      Doc 2 Filed 11/30/22
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TIMORIE WILKE                        TIMOSHENKO, MARY                       TIMOTHY & TAMARA JOHNSON LIVING
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                                                                            ADDRESS AVAILABLE UPON REQUEST




TIMOTHY ABBOTT                       TIMOTHY ANSBERRY                       TIMOTHY CHARLES DICKENS
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TIMOTHY DAVID FEENEY                 TIMOTHY EYRING                         TIMOTHY GARVEY GANCER
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TIMOTHY H DAVIES                     TIMOTHY HALLIGAN                       TIMOTHY HUSTED
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TIMOTHY J SHELTON                    TIMOTHY JAMES MORGAN                   TIMOTHY JOHNSON LIVING TRUST
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         2620 PACIFIC AVE B
                                                                            VENICE, CA 90291




TIMOTHY K JOHNSON                    TIMOTHY KUO                            TIMOTHY LO
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TIMOTHY M PARIS                      TIMOTHY MANLEY                         TIMOTHY MORSA
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TIMOTHY ONEILL                       TIMOTHY PARK                           TIMOTHY REITERMAN
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TIMOTHY ROBINSON                     TIMOTHY THOMSON-HOHL                   TIMOTHY VICTOR ALLAN JONES
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TIMOTHY WAYNE BROWN Case 22-11238-LSS
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                                                                                TIMOTHY, 5495
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TIMPANI, ROBERT                         TIMPE, ZACH                              TIMPKO, JENNIFER
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TIMPSON, ALYSSA                         TIMS, BETHANY-JO                         TIMS, ERICA
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TIMS, I DAWNIECE                        TIMS, JUSTIN                             TIMS, TONY
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TIMUR DIKEC                             TIMUR SHAKIROV                           TIMUR SHAKIROV
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TIN, WAI                                TINA COLLEEN MCQUISTON                   TINA COLLETTA
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TINA CONNAN                             TINA DEMARIANO                           TINA FEHIL
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TINA HAUCK                              TINA ICE                                 TINA JOHNSON
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TINA MEDINA                             TINA ROWELL                              TINA SIBLEY VANDERWARF
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TINA TRAN             Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           TINA WADE-HAIRSTON-HAIRSTON
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TINA Y CHOI                          TINA, ANDERSON                         TINAJERO, RAFAEL
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TINARI, JOSEPH                       TINAY, KRISTINA                        TINCH, BRITTANY
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TINCH, JOANNA                        TINCHER, BETHANY                       TINCOO, TANNER
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TINDALL, ANDREW                      TINDALL, MICHELLE                      TINDLE, ALEXANDRA
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TINELLI, MEAGHAN                     TING, MICHAEL                          TINGLE, DONNA
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TINGSTAD, GABRIELLE                  TINITIGAN, TRISH                       TINJACA, CHLOE
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TINJUM, CLARISSA                     TINJUM, VICTORIA                       TINKER, VICTORIA
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TINKHAM, CATHERINE                   TINN, BEVERLY                          TINNEL, REBECCA
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TINNELLY, JOANN                      TINNENY, DAN                           TINNENY, JOELENE
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TINNEY, ANNETTE       Case 22-11238-LSS
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TINNISWOOD, KRYSTAL                     TINO, CAROLINE                           TINO, CAROLINE
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TINOCO VALENCIA, ANTONIO                TINOVA, MARINA                           TINSLEY, ABBY
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TINSLEY, BRUCE                          TINSLEY, CARRIE                          TINSLEY, KARIN
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TINSLEY, KATIE                          TINSLEY, MICHAEL                         TINSLEY, MORGAN
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TINSLEY, SASHA                          TINSLEY, TERRY                           TINSMAN, SPENCER
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TINTES SCHIWAL, EMILY                   TINTJER, MICAELA                         TINTOCALIS, STACY
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TINUS, AMALIE                           TINY IMAGE                               TINYS AND THE BAR
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TIPPER, BRAD                            TIPPET, GINA                             TIPPETT, CANDICE
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TIPPETT, KATHRYN                        TIPPIE, ASHLEY                        TIPPIN, JOANNE
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TIPPIT, TONYA                           TIPPS, ELIZABETH                      TIPPS, JESS
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TIPPS, TIFFANY                          TIPPY, CAITLIN                        TIPS, MARY
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TIPSY SCOOP                             TIPTON, AMY                           TIPTON, BRANDY
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TIPTON, CLAIRE                          TIPTON, DENA                          TIPTON, EMIL
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TIPTON, GRACE                           TIPTON, HEATHER                       TIPTON, LESLI
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TIPTON, MARY                            TIPTON, TAKEISHA                      TIPTON, THERESA
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TIRADO JR, JACK A.                      TIRADO PAZOS, JORGE                   TIRADO, YASMIN
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TIRADOEGAS, MACY                        TIRALOSI, CHRISTINA                   TIRALOSI, CHRISTINA
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TIREN, ALYSSA         Case 22-11238-LSS
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TIRONE, MELISSA                      TIRONE, MICHAEL                       TIROSH ESTATE LTD.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        BRUCE FORLONG 3579 STATE HWY 63
                                                                           BLENHEIM 7271
                                                                           NEW ZEALAND




TISA, ANTOINETTE                     TISCARENO, ASHLEY                     TISCH, JAMES
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TISCHAUSER, LANCE                    TISCHER, KRISTIN                      TISCHLER, DAN
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TISCHLER, NANCY                      TISCHLER, PATRICIA                    TISDALE, ALICIA
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TISDALE, AMANDA                      TISDALE, BRETT                        TISDALE, LISA
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TISDALE, WHITNEY                     TISDEL, ERIN                          TISDEL, JENNIFER
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TISHEY, TEGAN                        TISHMAN, JILL                         TISHMAN, JULIA
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TISINGER, JANET                      TISINGER, SUSAN                       TISLJAR, LAUREN
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TISON, JUSTIN                        TISONE, CHRISTINE                     TISOT, VICTORIA
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TISSOT, KIMBERLY                     TISZAI, SYDNEY                        TITH, KATHARINE
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TITINGER, GABBY                      TITLER, RENEE                         TITMAN, BETHANY
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TITOR, ANGELICA                      TITTLE, AMANDA                        TITTLE, MATTHEW
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TITUS RODRIGUEZ                      TITUS, ALYSSA                         TITUS, ALYSSA
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TITUS, AMELIA                        TITUS, ANDREA                         TITUS, CALVIN
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TITUS, DARA                          TITUS, DARA                           TITUS, HALEY
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TITUS, JULIE                         TITUS, KATE                           TITUS, KATHY
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TITUS, PEGGY                         TIU, DANIELLE                         TIURNIKOVA, SVETLANA
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TIVENAN, CHRISTINA                   TIVOLI, MARIEL                        TIWARI, BHAWESH
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TIWARI, SAMEER        Case 22-11238-LSS
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TJ MAX                                  TJADEN, MELISSA                         TJARDS, LINDSEY
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TJEPKES, INESE                          TJOE, GLORIA                            TJUGUM, AARIKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TKACH, JAMIE                            TKACHEV, ALEXANDER                      TKACHYK, CATHERINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TKATCH, SHANNEN                         TLATELPA, DIANA                         TMG MULTIPLEX
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




TMMER, JENN                             T-MOBILE                                TN DEPT OF REVENUE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   500 DEADERICK ST
                                                                                NASHVILLE, TN 37242




TNT USA INC                             TO, EVAN                                TO, KENNETH
68 SOUTH SERVICE ROAD, SUITE 340        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MELVILLE, NY 11747




TOADER, LIVIU                           TOALE, KAYLA                            TOAN KIM HOANG
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TOBACCOWALA, ROHINI                     TOBAR, MEREDITH                         TOBE, DEBRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TOBER, LACEY                            TOBEY, CHRIS                            TOBEY, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
TOBEY, KATELYNN       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TOBEY, RAYMOND                   Page 4961   of 5495
                                                                           TOBIA, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOBIAS BERENS                        TOBIAS WELO                            TOBIAS, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOBIAS, JANELLE                      TOBIAS, KIRSTYN                        TOBIAS, NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOBIASON, CALLIE                     TOBIE, ANNA MARIE                      TOBIN, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOBIN, BRIELLE                       TOBIN, CAITRIONA                       TOBIN, CULLIN
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TOBIN, HANNAH                        TOBIN, JACLYN                          TOBIN, JASON
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TOBIN, KEVIN                         TOBIN, KIM                             TOBIN, RORIC
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TOBIN, ROYA                          TOBIN, THOMAS                          TOBISKA, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOBITT, ALLYSSA                      TOBLER, LAURA                          TOBON, CRISTINA
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TOBON, JENNIFER                      TOBON, LUZ                             TOBY MEUSBURGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TOBY WREN             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TOBY, SARAH                      Page 4962  of 5495
                                                                           TOCATLIAN, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOCAYA ORGANICA, LLC                 TOCCHIO, JOSEPH                        TOCCI, DANIELLE
1201 W 5TH STREET SUITE T-400        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90017




TOCCI, LAURA                         TOCH, LEO                              TOCHELLI, MAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOCXO, MELANIE                       TOCZYLOWSKI, HANK                      TOD, SUSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TODD ALAN SCHIRMER                   TODD EDWARD STUBBLEFIELD               TODD EMERSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TODD FERNANDEZ & ASSOCIATES          TODD FOLKMAN                           TODD GILLIS
(REBARREL)                           ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
900 ACACIA LANE
SANTA ROSA, CA 95409




TODD HIGGINS                         TODD HRICKO                            TODD JOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TODD KENT AINSWORTH                  TODD LARUE FULCHER                     TODD OMOHUNDRO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TODD S GREENBERG                     TODD S SMITH                           TODD SKETCHLEY
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TODD, ALICIA                         TODD, ALISON                           TODD, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TODD, ANDREW          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TODD, ANN                        Page 4963  of 5495
                                                                           TODD, ANTHONY
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TODD, ASHLEY                         TODD, BETH                            TODD, CHERYL
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TODD, DAVID                          TODD, DIANE                           TODD, ELISA
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TODD, EMILY                          TODD, HAYLEY                          TODD, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TODD, JANE                           TODD, JARED                           TODD, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TODD, JENNIFER                       TODD, JESSICA                         TODD, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TODD, JULIAN                         TODD, KAREN                           TODD, KATHERINE
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TODD, LAUREN                         TODD, MICHAELA                        TODD, NATASHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TODD, NICOLE                         TODD, RACHEL                          TODD, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TODD, ROBIN                          TODD, SAMUEL                          TODD, SHELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TODD, TAYLOR          Case 22-11238-LSS
                                     TODELA,Doc 2 Filed 11/30/22
                                            ADRIENNE                  Page 4964  of DEBORAH
                                                                           TODERIC, 5495
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TODISCO, LISA                        TODOROVIC, ANDRIANA                   TODRYK, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TODRYK, MIKE                         TODT, JESSICA                         TODTMAN, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOEBES, CHRIS                        TOELLNER, KRISTIN                     TOENNIES, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOENNIS, FALON                       TOEVS, HEIDI                          TOEWS, EMILY
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TOEWS, HANNAH                        TOEWS, SAMANTHA                       TOEWS, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOFANELLI, KRISTIN                   TOFANI, ALEXANDRA                     TOFANI, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOFANI, GABRIELLE                    TOFT, KATHERIN                        TOFT, KATI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOFTE, KAREN LOVELACE JAMES          TOGASHI, ALLYSON                      TOGBA-DOYA, CALANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOGNETTI, JENNY                      TOGNOLI, FREDERICK                    TOGOS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
TOHAR, LYNDA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     TOHIR, EMILY                     Page 4965  of 5495
                                                                           TOHO, NARUMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOICH, MARGARET                      TOILLION, JENNIFER                    TOIMIL, RYAN
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TOJO, JENNA                          TOKARCZYK, CRYSTAL                    TOKAREVA, SVETLANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOKARSKI, ALI                        TOKARSKI, ALLAN                       TOKARSKI, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOKARSKI, FRANK                      TOKARSKI, MINDY                       TOKARSKY, LAUREN
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TOKARZ, JOAN                         TOKARZ, TONI                          TOKE, LEENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOKHI- FLICKINGER, SHAHEEN           TOKHI, MARVA                          TOKIC, MELISSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOKISHI, TARRAH                      TOLAN, CHRISTINE                      TOLAND, RYANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLBERT, AMANDA                      TOLBERT, CARLY                        TOLBERT, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLBERT, JR                          TOLBERT, LINNEA                       TOLBERT, NADIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TOLCHIN, JULIA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TOLDT, JONATHAN                  Page 4966 ofCOURTNEY
                                                                           TOLEDO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLEDO, DEBRAJO                      TOLEDO, EDUARDO                       TOLEDO, GABRIELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLEDO, LAUREN                       TOLEDO, MAGDY                         TOLEDO, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLEDO, SILVIA                       TOLEDO-TOVAR, ABRAHAM                 TOLER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLER, KYLE                          TOLER, MARCI                          TOLER, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLES JR, JESSIE                     TOLES, VINCENT                        TOLIAS, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLIN, PHILIP                        TOLIOS, VALEREE                       TOLIUSZIS, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLIVER, SHARON                      TOLKACH, RUSLANA                      TOLKSDORF, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLL, MAL                            TOLLE, SHERON                         TOLLEFSON, GREG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOLLEFSON, NIKKI                     TOLLERSON, IRINA                      TOLLES, AMBER
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TOLLESON, BRITTANY    Case 22-11238-LSS    Doc
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TOLLIFSON, JULIE                     TOLLIVER, KIAH                         TOLLIVER, KRYSTAL
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TOLLIVER, LAUREN                     TOLLIVER, MORIAH                       TOLLIVER, PEARL
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TOLLIVER, SHARON                     TOLLIVER, TAISHA                       TOLLS, JENNA
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TOLLY, SAVANNAH                      TOLLY, TRISHA                          TOLMAN, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOLMAN, LAURA                        TOLMAN, SARAH                          TOLMAN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOLOKONSKY, LINDA                    TOLOMEO, TILIA                         TOLSDORF, WESLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOLSMA, HEATHER                      TOLSMA, SUE                            TOLSTOY, EKATERINA
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TOLSTUNOV, STANISLAV                 TOLVSTAD, LYNNE                        TOM KOEHLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOM, AMANDA                          TOM, CALEB                             TOM, CAROLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TOM, ELENA            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TOM, HAILEY                      Page 4968   of 5495
                                                                           TOM, LENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOM, LISA                            TOM, WHITTNEY                         TOMA, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMAINO, CHRISTINA                   TOMAINO, HEATHER                      TOMAK, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMALONIS, ERIN                      TOMALONIS, GINNA                      TOMAN, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMANOVICH, LESLIE                   TOMANOVICH, SHANNON                   TOMAR, PRADEEP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMAR, RUSSELL                       TOMAR, SHILPI                         TOMASCH, MEGAN
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TOMASCHESKI, DAN                     TOMASCHKO, SARAH                      TOMASDOTTIR, TINNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMASEK, EDWARD                      TOMASEK, ROBERT                       TOMASELLO, JIM AND MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMASELLO, JULIA                     TOMASHCHUK, VIKTORIIA                 TOMASIC, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMASINI, ALEXANDRIA                 TOMASINI, ELSA                        TOMASINO, SANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TOMASKO, VANESSA      Case 22-11238-LSS    Doc
                                     TOMASSI,    2 Filed 11/30/22
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                                                                           TOMASSINI, ANTONIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMASSINI, JASON                     TOMASULO, MIKAELA                      TOMASZEK, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMASZEK, JIM                        TOMASZEWSKI, AMANDA                    TOMASZEWSKI, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMASZEWSKI, JESSICA                 TOMASZEWSKI, JESSICA                   TOMB, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMBERG, RYAN                        TOMBLEY, DAWN                          TOMBLIN, KRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMBS, JULIE                         TOMCZAK, KELLY                         TOMCZAK, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMEO, RICHARD                       TOMEO, SOPHIE                          TOMER, HAGAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMER, SYDNEY N.                     TOMES, DANIEL                          TOMESKI, ANTHONY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMIC, ANDREW                        TOMICH-DUFRENE, NICOLEDAVE             TOMINAGA, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMISLAV BAKSA                       TOMITSA, ALIONA                        TOMIZAWA, KINUKO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TOMJACK, MARY         Case 22-11238-LSS    Doc
                                     TOMKINS,    2 Filed 11/30/22
                                              AMANDA                  Page 4970  of TRISHA
                                                                           TOMKINS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMKO, CAITLIN                       TOMKOVICZ, HANNAH                      TOMLIN, CAYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMLIN, SUE                          TOMLIN, TRACY                          TOMLINSON, CLAIRE
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TOMLINSON, DANIEL                    TOMLINSON, DEVI                        TOMLINSON, JAMES
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TOMLINSON, JAMIE                     TOMLINSON, SUSAN                       TOMMASINI, ANGELA
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TOMMASINI, CHRIS                     TOMMASINO, LISA                        TOMMELL, KRISTA
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TOMMEY, CAROL                        TOMMY VIOLANTE                         TOMOKO SCHMIDT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMOSOVICH, CHAD                     TOMP, HANNAH                           TOMPKINS, ALICIA
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TOMPKINS, ASHLEY                     TOMPKINS, BRUCE                        TOMPKINS, DAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TOMPKINS, DESTIN                     TOMPKINS, ELIZABETH                    TOMPKINS, JODI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TOMPKINS, MATT        Case 22-11238-LSS    Doc
                                     TOMPKINS,   2 Filed 11/30/22
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                                                                           TOMPKINS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMPKINS, STEVE                      TOMPKINS, TASHA                       TOMPKINS-SOLAN, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMS MORGAN, COURTNEY                TOMS, ASHLEY                          TOMSETH, CASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOMSHA, MOLLY                        TOMSHECK, SATYN                       TOMSICK, LAURA
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TOMSON, SCOTT                        TOMTEN, KATIE                         TON, COLBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TON, JENNY                           TONDA, FARIDA                         TONDI, ALEXA
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TONDI, STEVEN                        TONDREAU C/O SWEENY, CLAIRE           TONDREAU, MARY
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TONE, HEATHER                        TONE, TAMMY                           TONE-BIENER, TONYA
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TONER, GREGORY                       TONER, JULIE                          TONER, MAURA
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TONEY, AMANDA                        TONEY, ANDREA                         TONEY, BRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TONEY, DAVID          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TONEY, JOYLETTE                  Page 4972
                                                                           TONEY,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONEY, LAUREL                        TONEY, LOLITA                         TONEY, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONG LI                              TONG, MICHAEL                         TONG, NAROU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONG, OLIVIA                         TONG, PATRICIA                        TONG, WAIKEI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONG, YI                             TONGCO, CAITLIN                       TONGE, NORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONGE, TAMI                          TONI NUNEZ                            TONIE SECOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONINI, ANGELA                       TONINI, THOMAS                        TONKIN, MARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONNE, CHARLES                       TONNELLERIE BEL AIR                   TONNELLERIE RADOUX USA, INC.
ADDRESS AVAILABLE UPON REQUEST       42 ROUTE DE CREON                     (TONNELLERIE RADOUX USA)
                                     CENAC 33360                           480 AVIATION BLVD
                                     FRANCE                                SANTA ROSA, CA 95403




TONNELLERIE REMOND                   TONNELLERIE ROUSSEAU                  TONNELLERIES BOURGOGNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONNESON, JOYCE                      TONORE, BAILEY                        TON-THAT, BAO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TONX COFFEE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                      TONY COTTEN                        Page 4973  of 5495
                                                                              TONY DEBLAUWE
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TONY J CASTELLUCCI                      TONY NAVAS                            TONY PHILIP
ADDRESS AVAILABLE UPON REQUEST          BEACH CITIES MOVING & DELIVERY        ADDRESS AVAILABLE UPON REQUEST
                                        409 N PACIFIC COAST HWY 168
                                        REDONDO BEACH, CA 90277




TONY THANH NGUYEN                       TONY TUR, LAURA TUR                   TONY, ANJU
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TONY, HEIDI                             TONYA RAINS-LOVE                      TONYS VALLEY EXPRESS, LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        PO BOX 10133
                                                                              AMERICAN CANYON, CA 94503




TOOHEY, LILLIAN                         TOOHEY, MIMI                          TOOHIG, LISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOOHILL, BRIAN                          TOOKER, JUDITH                        TOOKER, LEIGH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOOKEY, MICHAEL                         TOOKMANIAN, JOSEPH                    TOOLAN, KIRBY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOOLBOX WINE COMPANY                    TOOLE, EDWARD                         TOOLE, JIM
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOOLE, MADELINE                         TOOLE, PAM                            TOOLE, STEPHANIE
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TOOLEY, THOMAS                          TOOLIN, LAURA                         TOOMAJIAN, VICTORIA
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TOOMBS, AYNSLEY                      TOOMBS, LAMBERT                       TOOMBS, W
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TOOMER, ASHLEY                       TOOMER, RACHEL                        TOOMER, RAYMOND
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TOOMEY, AMANDA                       TOOMEY, LINDA                         TOOMEY, SHANNON
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TOON, RACHEL                         TOP HAT VENTURES                      TOP IT OFF BOTTLING, LLC
ADDRESS AVAILABLE UPON REQUEST       18 SOUTH VENICE BLVD, SUITE C         2747 NAPA VALLEY CORPORATE DR
                                     VENICE, CA 90291                      NAPA, CA 94558




TOP NOTCH CORPORATE EVENT            TOPACIO, CARRIE                       TOPAL, JESSE
MANAGEMENT                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
3010 AVENIDA
IMPERIAL SAN CLEMENTE, CA 92673




TOPAL, SARAH                         TOPALIAN, KATHRYN                     TOPCZEWSKI, VANESSA
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TOPJIAN, BRITTNEY                    TOPKA, JULIE                          TOPKINS, KERI
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TOPOLSKI, JOSH                       TOPOLSKI, SOFIA                       TOPOR, DREW
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TOPOREK, STACI                       TOPP, LINDA                           TOPPAN MERRILL USA INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        747 THIRD AVENUE, 7TH FLOOR
                                                                           NEW YORK, NY 10017
TOPPER, TAYLOR        Case 22-11238-LSS
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                                                                           TOPPING, 5495
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TOPPING, MERRIJEAN                   TOPPING, RACHEL                        TOPPINO, NATALIE
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TOPPS, DIONNA                        TOPPS, KRISTIN                         TOPPS, MELVIN
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TOPSCHER, BRYAN                      TOPTAL, LLC                            TOQUINTO, CANDICE
ADDRESS AVAILABLE UPON REQUEST       2810 N. CHURCH ST. 36879               ADDRESS AVAILABLE UPON REQUEST
                                     WILMINGTON, DE 19802-4447




TOR, NEKABARI                        TORABPOUR, CAMILLE                     TORAIN, KARLA
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TORAIN-VENEY, RJ                     TORALBA, MIRANDA                       TORAN, CATHERINE
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TORBAN, ALLISON                      TORBECK, BECKY                         TORBICA, JANA
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TORCELLINI, STEPHANIE                TORCHE, HELEN                          TORCHE, JEN
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TORCHIANA, ASHLEIGH                  TORCINO, JOY                           TORCIVIA, MAUREEN
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TOREN, SAMUEL                        TORENLI, UNAL                          TORETTIS FAMILY VINEYARD
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TOREY HERBERT CO      Case 22-11238-LSS
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                                                                           TORGERSON, ALLISON
5217 N MAYHEW RD                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SPOKANE VALLEY, WA 99216




TORGERSON, LORI                      TORGERSON, RENAY                      TORGERSON, TYLER
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TORGESEN, ANN                        TORGRIMSON, KYLE                      TORI NEAL
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TORILLI, SARAH                       TORINO LTD                            TORINO, MARIA
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TORKELSON, LINDA                     TORLUCCI, NICOLE                      TORMES, DEREK
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TORMEY, MADELINE                     TORMOHLEN, CINDY                      TORNESE, MATTHEW
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TORNTORE, MATT                       TORO, ANDREA                          TORO, NACHO
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TORO, NICKI                          TORO, SARA                            TOROITICH, JACKSON
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TOROK, KATE                          TOROLA, JANICE TOROLA                 TORO-ROSA, GABBY
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TORR, LAUREN                         TORRABA, MARYBETH                     TORRACO, NIC
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TORRADO, RENATA                      TORRALES, ROBERT                      TORRALVA, STEPHANIE
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TORRANCE PAIGE                       TORRANCE, TRENEA                      TORRE, CAROLINE
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TORREANCE, MEGAN                     TORRECILLA, TAMALYN                   TORREGROSSA, LISA
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TORREJON, MONICA                     TORRELLI, STEPHANIE                   TORRENCE, COSHANDA
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TORRENCE, LEE                        TORRENCE, LEE                         TORRENCE, TARIN
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TORRENCE, TIM                        TORRENTO, CHRISTINE                   TORRES BAATZ, YVONNE
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TORRES CORDERO, GISELLE MARIE        TORRES CORRALES, ALMA                 TORRES, ALBERTA
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TORRES, ALLANNISSE                   TORRES, ALMA                          TORRES, AMBER
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TORRES, BETSY                        TORRES, BLAS                          TORRES, CAROL
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TORRES, CESAR                        TORRES, CHELSEA                       TORRES, CHRISTOPHER
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TORRES, CLINT                        TORRES, CODY                          TORRES, CRISTINA
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TORRES, CRISTINA                     TORRES, DAVID                         TORRES, DEBORAH
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TORRES, DEBRA                        TORRES, DERIC                         TORRES, DOLORES
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TORRES, EDMUNDO                      TORRES, ELVIRA                        TORRES, ENRIQUE
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TORRES, FE                           TORRES, FLAVIA                        TORRES, GABRIEL
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TORRES, GLORYLEE                     TORRES, HAYDEE                        TORRES, HECTOR
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TORRES, HORTENCIA                    TORRES, HUGO                          TORRES, JAHIRA
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TORRES, JUAN                         TORRES, JULIO                         TORRES, KARLA
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TORRES, KATHERINE                    TORRES, KEYKO                         TORRES, KIMBERLY
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TORRES, KRISTINE                     TORRES, KRYSTAL                       TORRES, LAURA
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TORRES, LINDSEY                      TORRES, LIZ                           TORRES, LORENA
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TORRES, LUCIANA                      TORRES, MARIA                         TORRES, MARILYN
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TORRES, MARIO                        TORRES, MARITZA                       TORRES, MARITZA
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TORRES, MARY                         TORRES, MAYRA                         TORRES, MEDAYA
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TORRES, MEREDITH                     TORRES, MICHELLE                      TORRES, MICHELLE
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TORRES, MIRIAM                       TORRES, NAIBELYS                      TORRES, NICOLE
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TORRES, PATRICIA L.                  TORRES, REBECA                        TORRES, REGINA
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TORRES, ROSANNA                      TORRES, RUBEN                         TORRES, SANDY
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TORRES, SARA                         TORRES, SHANNON                       TORRES, SUMMER
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TORRES, TAMARA                       TORRES, TANYA                         TORRES, TIMOTHY
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TORRES, VANESSA                      TORRES, VICENTE                       TORRES, VICTOR
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TORRES, YVETTE                       TORRES-CASTRO, CECIL                  TORRES-DARLINGTON, RITA
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TORRETTA, ALEXIS                     TORRETTA, NICOLE                      TORRETTA, RUTH
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TORREY, MICHELE                      TORREZ, CHANCE                        TORREZ, LYDIA
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TORRICE, NOELLE       Case 22-11238-LSS
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TORRIS, KATIE                        TORRISI, MAYLON                       TORSTENSON, KAREN AND ROGER
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TORTIS, DIANE                        TORTO, DEBBIE                         TORTORA, ADRIANA
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TORTORA, PAUL                        TORTORELLA, MICHAEL                   TORTORETI, SARAH
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TORTORICE, KRISTIN                   TORUNO, JORGE                         TORY, SUVI
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TOSADO, JOSE                         TOSCA, LINDSIE                        TOSCANO, ANGELA
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TOSCANO, FRANCESCA                   TOSCANO, SAMANTHA                     TOSCANO, TERRA
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TOSCH, KAYSIE                        TOSCHI, CRISTIN                       TOSCHIK, DONNA
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TOSI, LIZA                           TOSIC, MIHAJLO                        TOSKA, RUDINA
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TOSKY-RICHEY, ALICIA                 TOSO, ALEXANDRA                       TOSO, SOFIA
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TOSSELL, SANDI        Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                              TOSSMAN, CAROLE
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TOSSWARE                                TOSTADO, ARACELI                      TOSTE, CARLOS
12925 B MARLAY AVE                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FONTANA, CA 92337




TOSTE, ERICA                            TOSTE, MARJORIE                       TOSTEVIN, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOSTI, CRISTINA                         TOSTO, ANA                            TOSTON, DAVID M.
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOTAL QUALITY LOGISTICS, LLC            TOTAL QUALITY LOGISTICS, LLC          TOTAL QUALITY LOGISTICS, LLC
4289 IVY POINTE BLVD                    PO BOX 799                            PO BOX 799
CINCINNATI, OH 45245                    KERRY BYRNE, PRESIDENT                MILFORD, OH 45150
                                        MILFORD, OH 45150




TOTALLY PROMOTIONAL                     TOTARO, KAREN                         TOTARO, VICTORIA
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TOTH, APRIL                             TOTH, CAROL                           TOTH, DEREK
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TOTH, FRANCES CARR                      TOTH, KRISTINE                        TOTH, MARY
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TOTH, MELISSA                           TOTH, MERCY                           TOTI, APRIL
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TOTIN, JENNIFER                         TOTKA, ELYSE                          TOTO ENTERTAINMENT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        23901 CALASBASSAS RD., SUITE 2018
                                                                              CALABASAS, CA 91302
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TOTTEN, BRIAN                        TOTTEN, JANET                         TOTTEN, KAYLEIGH
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TOTTEN, LAUREN                       TOUCHARD, KARINA                      TOUCHE, DELIA
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TOUCHET, ERIC                        TOUCHET, ZACHARY                      TOUCHSTONE, MJ
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TOUFALI, ALLISON                     TOUFAS, ELIZABETH                     TOUHEY, MARTIN
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TOUHEY, SUSAN                        TOUHY, KELLEY                         TOUMA, LISA
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TOUPIN, LISA                         TOUPIN, ROSALIE                       TOUPS, BILLY
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TOUPS, HOLLY                         TOUPS, JENNIFER                       TOURE, JASMINE
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TOURIGNY, DENISE                     TOURNEY, BOBBY                        TOURVILLE, TRAVIS
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TOUSSAINT, MAYRA                     TOUSSAINT, SAMARA                     TOUSSAINT-GUNN, MICHAEL
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TOUSSANT, MOLLY       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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TOUZIEN, NICOLE                      TOVA BOPP                             TOVA HERMAN
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TOVAR, ANITA                         TOVAR, DILLON                         TOVAR, FELIPE
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TOVAR, ROCIO                         TOVAR, TAYLOR                         TOVAR, XIOMARA
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TOVE-WHITE, AARON                    TOVEY, DEBORAH                        TOW, JENNIFER
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TOW, MICHELLE                        TOWE, DENIELLE                        TOWER VALET PARKING
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TOWER, MICHAEL                       TOWERS, LEAH                          TOWERY, ALISON
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TOWEY, MAURA                         TOWEY, MAUREEN                        TOWK, CRISTINA
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TOWLE, ELIZABETH                     TOWLE, JOYCE                          TOWLER, HAROLD
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TOWLER, PATRICK                      TOWN, CATHERINE                       TOWNE & COUNTRY CAFE
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TOWNE, IAN            Case 22-11238-LSS
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TOWNER, COURTNEY                     TOWNLEY, BRENNA                       TOWNLEY, KATIE
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TOWNLEY, MADISON                     TOWNS, LORI                           TOWNSEL, LINDSEY
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TOWNSEND DOHNER, CARA                TOWNSEND JULIE                        TOWNSEND, ALBA
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TOWNSEND, AMY                        TOWNSEND, ANNA                        TOWNSEND, ASHLEY
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TOWNSEND, CAITLIN                    TOWNSEND, CAROL                       TOWNSEND, CHRISTINE
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TOWNSEND, CORY                       TOWNSEND, EMILY                       TOWNSEND, FRANCES
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TOWNSEND, GARY                       TOWNSEND, JEFF                        TOWNSEND, JOYCE
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TOWNSEND, JULIE                      TOWNSEND, JULIE                       TOWNSEND, JUSTIN
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TOWNSEND, KARHA                      TOWNSEND, KARMEN                      TOWNSEND, KATHLEEN
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TOWNSEND, MAURICE                    TOWNSEND, NOVELLA                     TOWNSEND, PATRICIA
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TOWNSEND, RHONDA                     TOWNSEND, ROBERT                      TOWNSEND, ROSS
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TOWNSEND, SANDRA                     TOWNSEND, SHEILA                      TOWNSEND, TAREK
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TOWNSHEND-ALSTON, LAURA              TOWNSLEY, SARAH                       TOWNSON, AMANDA
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TOWNSON, ERICA                       TOWSON, CARLA                         TOY, BRIDGET
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TOY, KYLE                            TOYE, GABRIELLA                       TOYE, PATRICIA M.
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TOYE, THOMAS                         TOYER-THOMPSON, SHELLY                TOYMIL, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TOYNE, LISA                          TOYOS, ALEX                           TOYOTA LIFT NORTHEAST LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        200 SCHELL LANE
                                                                           PHOENIXVILLE, PA 19460




TOZER, EMILY                         TOZER, MELISSA                        TOZIER, MARIANNE
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TRAASETH, MATTHEW                    TRABAND, LESTER                        TRABILCY, CASSIDY
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TRABKE, DAN & PEG                    TRABOLD, SARAH                         TRABUCCO, DIANA
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TRACEY BAKUN                         TRACEY ANNE CONNOLLY                   TRACEY BAKUN
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TRACEY LOOS                          TRACEY MATTOCH                         TRACEY MCCREATH
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TRACEY PARTIN                        TRACEY PORTER                          TRACEY, DIANE
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TRACEY, FLORINDA                     TRACEY, JENNIFER                       TRACEY, KERRY
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TRACHSEL, KAYLA                      TRACHSEL, LINDSAY                      TRACHT, JOEIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACHTMAN, LUAN                      TRACHUK, POLINA                        TRACI LYNN THOMAS CLAUGHTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACI MARIE KREUN                    TRACIE DEMAINE PARRY                   TRACIE PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TRACIE YONAN MILLER   Case 22-11238-LSS     Doc 2 Filed 11/30/22 Page 4988
                                     TRACK 1099                                   of 5495
                                                                           TRACSION, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING 8391 BEVERLY BLVD. SUITE 586
                                                                           LOS ANGELES, CA 90048




TRACY DUNN, SHIRLEY                    TRACY GENESEN                          TRACY JUECHTER
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACY LARIVEE                          TRACY LYNN HAMILTON                    TRACY NOUR
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACY THOLE                            TRACY TUONG                            TRACY, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACY, ALEXANDRA                       TRACY, ALISON                          TRACY, AMY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACY, EILEEN                          TRACY, ELISABETH                       TRACY, EMMALEE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACY, JENNIFER                        TRACY, KAREN                           TRACY, KATRINA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACY, KRISTINE                        TRACY, LAUREN                          TRACY, MELISSA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACY, MICHAELA                        TRACY, PAM                             TRACY, RAY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRACY, RENEE                           TRACY, SARA AND JOSEPH                 TRACY, SHANNON
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TRACY, SIOBHAN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TRACY, TASHA                        Page 4989   of 5495
                                                                              TRAD, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRADER JOES                             TRADER, JESSICA                       TRADESTATION SECS (0271)
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ATTN CORPORATE ACTIONS
                                                                              8050 SW 10TH ST, STE 2000
                                                                              PLANTATION, FL 33324




TRADEWELL, AMY                          TRADO, BRANDON                        TRAEGER, LIBBY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAENKLE, JUSTIN                        TRAETOW, CARRIE                       TRAFAS, VANESSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAFECANTE, EMILY                       TRAFFAS, ALYSSA                       TRAFFIC JAM MEDIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        100 N. BRAND BI 405
                                                                              GLENDALE, CA 91203




TRAFFORD, CANDACE                       TRAFICANTE, ANIURKA                   TRAFT, SHANNON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAFTON, KATIE                          TRAGESSER, MELISSA                    TRAHAN, DARLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAHAN, HOLLIE                          TRAHAN, LISA                          TRAHAN, LIV
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAHAN, MADELINE                        TRAHAN, SHARON                        TRAHANT, BRITNY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAHANT, JENNIE                         TRAIL, BARBARA                        TRAIL, CATHY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TRAIN, LAUREN         Case 22-11238-LSS
                                     TRAINA, Doc 2 Filed 11/30/22
                                             CLAUDIA                    Page 4990
                                                                             TRAINA,of 5495
                                                                                     LADONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAINER, KITTY                       TRAINER, MEGAN                           TRAINES, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAINI, ANNA                         TRAINING CONNECTION                      TRAINO, NIKKI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




TRAINOR, ALICE                       TRAINOR, CHELSEA                         TRAINOR, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAINOR, MADDIE                      TRAINOR, MARY                            TRAINOR, MICHAELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAINOR, MIKE                        TRAINOR, NATALIE                         TRAINOR, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAINOR, TIFFANY                     TRAISMAN, MAYA                           TRAJKOVIC, GEORGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAKOSHIS, ANGELA                    TRAKTOVENKO, GREG                        TRALE, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAM, MATTHEW                        TRAMA, DEBORAH                           TRAMBLEY, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAME, KELLY                         TRAMEL, CHERYL                           TRAMELL, CLAUDIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
TRAMMELL EQUIPMENT CO.Case 22-11238-LSS     DocAUDRIS
                                      TRAMMELL,  2 Filed 11/30/22      Page 4991 of 5495
                                                                            TRAMMELL, CARLEY
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAMMELL, KAREN                       TRAMMELL, KELSEY                      TRAMONTE & SONS, LLC.
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        3850 WELDEN DR
                                                                            LEBANON, OH 45036




TRAMONTE & SONS, LLC.                 TRAMUTOLA, MARGARET                   TRAN, AMY
3850 WELDEN DRIVE                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LEBANON, OH 45036




TRAN, AMY                             TRAN, ANDISON                         TRAN, ANDY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAN, ANGELINA                        TRAN, CHRIS                           TRAN, HAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAN, HONGXUAN                        TRAN, JACOB                           TRAN, JENNIFER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAN, JILL                            TRAN, JILLIAN                         TRAN, KAREN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAN, KATHERINE                       TRAN, KIMMY                           TRAN, KRISTEN AND EMILE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAN, LAUREY                          TRAN, LIEM                            TRAN, MARYANN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAN, MEAGAN                          TRAN, MEI                             TRAN, MICHELLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TRAN, PAUL            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TRAN, PHI                             Page 4992   of 5495
                                                                                TRAN, RANDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




TRAN, ROBBIE                          TRAN, TAM                                 TRAN, THANH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




TRAN, THERESA                         TRAN, THI MY KIEU                         TRAN, TIFFANY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




TRAN, TOMMY                           TRAN, VIET                                TRAN, VIET
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




TRAN, VINH                            TRAN, VINH                                TRAN, WENDY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




TRAN, YVONNE                          TRANCE, ANNIE                             TRANCHINA, SHANON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




TRANEL, TESS                          TRANER, ASHLEEANN                         TRANG ENDEAVOR LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            3022 ROSECREEK DR
                                                                                SAN JOSE, CA 95148




TRANI, ARIANE                         TRANI, LORI                               TRANI, LUIGI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




TRANKINA, JOSEPH                      TRAN-LAM, KATIE                           TRANQUELLINO, LYNN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




TRANS OCEAN BULK LOGISTICS            TRANS OCEAN BULK LOGISTICS                TRANS OCEAN BULK LOGISTICS
(DBA HILLEBRAND BULK LIQUIDS, INC)    (DBA HILLEBRAND BULK LIQUIDS, INC)        (DBA HILLEBRAND BULK LIQUIDS, INC)
14950 HEATHROW FOREST PARKWAY SUITE   3027 MARINA BAY DRIVE SUITE 301           P.O. BOX 654062
500                                   LEAGUE CITY, TX 77573                     DALLAS, TX 75265-4062
HOUSTON, TX 77032
                        Case 22-11238-LSS
TRANS OCEAN BULK LOGISTICS                    Doc 2BULKFiled
                                       TRANS OCEAN             11/30/22
                                                          LOGISTICS       Page 4993 of 5495
                                                                               TRANSAMERICA
(DBA HILLEBRAND BULK LIQUIDS, INC)     3027 MARINA BAY DRIVE, SUITE 301        P.O. BOX 742504
PO BOX 536411                          LEAGUE CITY, TX 77573                   CINCINNATI, OH 45274-2504
PITTSBURGH, PA 15253-5906




TRANSON, MICHAEL                        TRANSPORTATION INSURANCE COMPANY       TRANSUE, TODD
ADDRESS AVAILABLE UPON REQUEST          333 SOUTH WABASH                       ADDRESS AVAILABLE UPON REQUEST
                                        CHICAGO, IL 60606




TRANTHAM, JAN                           TRANTHAM, MIKE                         TRAPANI, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRAPANI, KAILA                          TRAPP, CAROLYN                         TRAPP, JALEESA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRAPP, KATHLEEN                         TRAPP, KATY                            TRAPP, MELISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRAPP, RYAN                             TRAPUZZANO, AMANDA                     TRASACCO, GINA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRASADA, PHUMELELE                      TRASATTI, ANTHONY                      TRASK, KRYSTAL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRASK, NICHOLAS                         TRATOS, ELIZABETH                      TRAUFFER, NICOLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRAUGOTT, ALICE                         TRAUN, JASMINE                         TRAUNER, CAROLYN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRAUSCH, ANGIE                          TRAUSCHWEIZER, INGO                    TRAUT, DARCY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TRAUT, JUSTIN         Case 22-11238-LSS    DocNATALIE
                                     TRAUTMAN,  2 Filed 11/30/22           Page 4994 of 5495
                                                                                TRAUTMAN, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




TRAUTSCH, TIFFANY                       TRAUTWEIN, JANET                         TRAVAGLINI, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAVASOS, DOROTHY                       TRAVEL INSURANCE                         TRAVEL ZOO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    800 WEST EL CAMINO REAL SUITE 275
                                                                                 MOUNTAIN VIEW, CA 94040




TRAVELERS CASUALTY AND SURETY           TRAVELERS                                TRAVELINE, CLAIRE
COMPANY OF AMERICA                      CL REMITTANCE CENTER                     ADDRESS AVAILABLE UPON REQUEST
ATTN SCOTT L GLOWNER                    PO BOX 660317
PO BOX 64094                            DALLAS, TX 75266-0317
ST PAUL, MN 55102-0094



TRAVELING PHOTO BOOTH                   TRAVELOCITY                              TRAVELODGE
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




TRAVERS, ALLISON                        TRAVERS, ALLY                            TRAVERS, CATHERINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAVERS, KENDRA                         TRAVERS, MICHAEL                         TRAVERS, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAVERS, MIKAYLA                        TRAVERS, PATRICIA                        TRAVERS, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAVERSE, NYSHAUNA                      TRAVIS ARDELL                            TRAVIS GEPPERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TRAVIS MOSLEY                           TRAVIS ONOFRIO                           TRAVIS SMITH
3148 N. SPRINGDALE DR 291               ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LONG BEACH, CA 90810
TRAVIS TASTROM        Case 22-11238-LSS     Doc 2BEARD
                                     TRAVIS WAYNE    Filed 11/30/22   Page 4995
                                                                           TRAVIS,of 5495
                                                                                   AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAVIS, ASHLEY                       TRAVIS, CAROLINE                      TRAVIS, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAVIS, JANET                        TRAVIS, JEFFREY                       TRAVIS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAVIS, JOYCE                        TRAVIS, KATIE                         TRAVIS, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAVIS, RICHARD                      TRAVIS, SANDY                         TRAVIS, TRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAVIS, VALERIE                      TRAVIS, VERONE                        TRAWICK, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAWICK, RASHIDA                     TRAYLOR, ALLISON                      TRAYLOR, CHERYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAYLOR, STEPHANIE                   TRAYNER, REBECCA                      TRAYNOR, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAYNOR, JAMES                       TRAYNOR, JOHN                         TRAYNOR, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRAYNOR-GRIMES, TARA                 TRAZZI, LESLIE                        TRBOVICH, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TRBOVICH, KATHLEEN    Case 22-11238-LSS
                                     TREACE,Doc  2 Filed 11/30/22
                                             GINNY                       Page 4996 of 5495
                                                                              TREADAWAY, JOURDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TREADWAY, HOLLIE                        TREADWAY, LISA                        TREADWELL, BRITTANI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREADWELL, JADE                         TREADWELL, KEN                        TREADWELL, MONICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREADWELL, ROBIN                        TREADWELL, TREY                       TREAS, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREASE, RACHEL                          TREASTER, JENNY                       TREASURER OF VIRGINIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        DIVISION OF SECURITIES AND RETAIL
                                                                              FRANCHISING
                                                                              PO BOX 1197
                                                                              RICHMOND, VA 23218



TREASURER STATE OF CT                   TREASURER, CO UNEMPLOYMENT            TREASURER, STATE OF MAINE
ADDRESS UNAVAILABLE AT TIME OF FILING   INSURANCE                             DEPT OF PROFESSIONAL & FINANCIAL
                                        TAX ADMINISTRATION                    REGULATION
                                                                              OFFICE OF SECURITIES
                                                                              121 STATE HOUSE STATION
                                                                              AUGUSTA, ME 04333

TREAT, APRIL                            TREAT, CARRY                          TREAT, HAILEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREAT, JAMES                            TREAT, JASON                          TREBAOL, ALIX
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREBINO, LAUREN                         TREBITZ, DONNA                        TREBLE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREBLE, WURAOLA                         TRECEK VOLKENS, DEBBIE                TREDENNICK, ALICIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TREDO, CHRISTINE      Case 22-11238-LSS    Doc
                                     TREDWAY,   2 Filed 11/30/22
                                              ASHLEY                  Page 4997 of 5495
                                                                           TREDWAY, SHARIDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREDWAY, TOM                         TREEHOUSE MEDIA SERVICES              TREEHOUSE MEDIA SERVICES
ADDRESS AVAILABLE UPON REQUEST       75 SECOND AVE, SUITE 720              EXTREME REACH DIRECT RESPONSE
                                     NEEDHAM, MA 02494                     P.O. BOX 951276
                                                                           DALLAS, TX 75395-1276




TREES, JODI                          TREESON, ZOE                          TREFETHEN, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREFFILETTI, AIMEE                   TREFFILETTI, CORY                     TREFFRY, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREFLER, SARAH                       TREFZ, GRETCHEN                       TREFZ, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREGAY, BOBBIE JO                    TREGERMAN, GWEN                       TREGILLUS, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREGRE, AMY                          TREHAN, GINA                          TREHY, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREIBER, JOAN                        TREIBER, MARISSA                      TREIBER, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREINEN, JOHN                        TREINEN, LAURA                        TREINISH, LIBBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREJO, ARANTZA                       TREJO, EDUARDO                        TREJO, EDUARDO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TREJO, EVELYN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TREJO, JACQUELINE                  Page 4998
                                                                             TREJO, of 5495
                                                                                    JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




TREJO, MAURO                           TREJO-FLORES, OCTAVIO                  TRELA, JESSICA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRELA, KENNETH                         TRELAUN, JESSICA                       TRELEAVEN, DARRAH
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRELIA HEISE                           TRELL, LAURIE                          TRELLES, OSCAR
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TRELLIS WINE GROUP, INC. DBA TRELLIS   TREM, ROBYN                            TREMAIN, CAROLINE
WINE & SPIRITS                         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
19201 SONOMA HWY 255
SONOMA, CA 95476




TREMAINE, MATT                         TREMATORE, ANDREA                      TREMBLAY, AUSTIN
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TREMBLAY, CHELSEA                      TREMBLAY, GARY                         TREMBLAY, HOLLY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TREMBLAY, LINDA                        TREMBLAY, MARY ANN                     TREMBLAY, NATALIE
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TREMBLAY, P.                           TREMBLAY, PHIL                         TREMBLAY, SAVANNA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TREMBLY, BETTY                         TREMBLY, LYNN                          TREMEL, MICHAEL
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
TREMELLING, BRITTANY  Case 22-11238-LSS    Doc
                                     TREMMEL,    2 Filed 11/30/22
                                              KELLY                    Page 4999 of 5495
                                                                            TREMONTE, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TREMPE, RACHEL                       TREMPER, AARON                          TREMPY, DAYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRENAMAN, ALY                        TRENARY, PEARCE                         TRENCHARD, ALISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TREND MANAGEMENT LLC                 TREND MANAGEMENT LLC                    TREND MANAGEMENT LLC
16107 KENSINGTON DR NUM 198          3040 POST OAK BLVD STE 1800-117         INFLUENCER NARRATIVE, LLC
SUGAR LAND, TX 77479                 HOUSTON, TX 77056                       2700 POST OAK BLVD., FL 21
                                                                             HOUSTON, TX 77056




TRENDING EQUITIES                    TRENGA, VONDA                           TRENK, MELISSA
32615 SOUTH FRASER WAY, STE 304      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
ABBOTSFORD, BC V2T 1X8
CANADA




TRENKLER, JOSEPHINE                  TRENT LANZ PHOTOGRAPHY                  TRENT RICHARD SMOCK
ADDRESS AVAILABLE UPON REQUEST       1016 N AVON ST                          ADDRESS AVAILABLE UPON REQUEST
                                     BURBANK, CA 91505




TRENT, BRIDGET                       TRENT, MELANIE                          TRENT, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRENT, VICKY                         TRENTACOSTE, JESSICA                    TRENTADUE, LOU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRENTHEM, JANIE                      TRENTMAN, DIANNE                        TRENTO, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TREPAGNIER, ALYSSA                   TREPEL, KIMBERLY                        TREPICCIONE, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
TREPPER, NICOLE       Case 22-11238-LSS    DocKARINA
                                     TREPPNER,  2 Filed 11/30/22      Page 5000  ofHOWARD
                                                                           TRERICE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRESGALLOS, MARISSA                  TRESSLER CORINNA                      TRESSLER, CARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRESSLER, JESSICA                    TRESTYN, ALEX                         TRETHEWEY, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREVA JOY RUMBECK                    TREVINO, ANA                          TREVINO, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREVINO, BRANDIE                     TREVINO, COURTNEY                     TREVINO, DEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREVINO, DIANA                       TREVINO, EVONNE                       TREVINO, GENESIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREVINO, JOEY                        TREVINO, JUAN                         TREVINO, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREVINO, OLIVIA                      TREVINO, TAYLAR                       TREVINO, XELHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TREVIZAN, HIGOR                      TREVIZAN, MADISON                     TREVOR BEGG
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TREVOR BROWNE                        TREVOR FRAUHIGER                      TREVOR FRITH
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TREVOR TODD                          TREVOR WAYNE GHYLIN                    TREVOR WELLS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TREVOR, BARBARA                      TREVOR, CARRIE                         TREW, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TREW, DIANE                          TREWICK, SYDNEY                        TREY SCHMECKPEPER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TREYBIG, KRISTINA                    TREZZI, PAOLA                          TRIADEX SERVICES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         5334 PRIMROSE LAKE CIRCLE, SUITE B
                                                                            TAMPA, FL 33647




TRIANA, JULIANA                      TRIANO, LAUREN                         TRIANTAFILLIDIS, MICHELE
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TRIASSI, NICHOLAS                    TRIBBEY, KELLIE                        TRIBBITT, EVELYN
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TRIBBLE, ASPEN                       TRIBBLE, MICHAEL                       TRIBIANO, BRENNA
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TRICARICO, DONNA                     TRICARICO, KATHRYN                     TRICASO, SYDNEY
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TRICE, TONI                          TRICIA, RISSMANN                       TRICK DOG
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TRICORBRAUN INC           Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                               TRIEBEL, 5495
6 CITYPLACE DRIVE, 1000                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAINT LOUIS, MO 63141




TRIEBWASSER, KELLY                       TRIECE, MICHAEL                       TRIER, KENDRA
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TRIET NGUYEN                             TRIEU, CATHERINE                      TRIEZENBERG, HEIDI
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TRIF, ROMEO                              TRIFARI, LINDA                        TRIFFO, TAYLOR
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TRIFOGLIO, DANIELLE                      TRIFONE, MELANIE                      TRIFONE, PATRICIA
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TRIFONE, SARAH                           TRIFONOV, ALEXANDR                    TRIFUNOVIC, KRISTINA
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TRIGG, ABBY                              TRIGG, DOROTHY                        TRIGG, EBONI
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TRIGG, KATHARINE                         TRIGG, REBECCA                        TRIGGS, HAYLEY
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TRIGGS, JOHN                             TRIGIANO, BEN                         TRIIN HAWKINS
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TRIKI, REBECCA                           TRILLA, SARAH                         TRILLHAASE, KIERSTEN
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TRILLING, ERIN        Case 22-11238-LSS
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TRIMARCHI, CHRISTINA                 TRIMARCHI, LINDSEY                    TRIMARCHI, ROBERT
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TRIMBACH, MARTHA                     TRIMBLE, CAITLYN                      TRIMBLE, CHALEE
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TRIMBLE, JOSHUA                      TRIMBLE, LAUREN                       TRIMBLE, VICTORIA
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TRIMBLE, WESLEY W.                   TRIMBLE-ROBOTIS, GABRIELLE            TRIMBORN, JASON
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TRIMM, ELIZABETH                     TRIMM, GEORGIA                        TRIMMER, STACEY
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TRINA PULLIAM                        TRINDADE, JOANNA                      TRINDL, IRENE
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TRINGALI, AL                         TRINH, ABBEY                          TRINH, CHELSEA
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TRINH, CRISTINA                      TRINH, DANIEL                         TRINH, PHUNG
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TRINIDAD, AIMEE                      TRINIDAD, KAREN                       TRININ, MEREDITH
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                                                                                      ROAD INC (US WINE TRANSPORT)
83 LINCOLN AVE                         50 FALLON AVE                           5905 GOLDEN VALLEY ROAD, STE 218
QUINCY, MA 02170                       SEAFORD, DE 19973                       GOLDEN VALLEY, MN 55422




TRINKA, AMANDA                        TRINKAUS, CASEY                          TRINKAUS-RANDALL, JENNIFER
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TRINKER, ALFREDO                      TRINKLE, CAMERON                         TRIOLA, LAURA
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TRIPATHI, AJAY                        TRIPATHI, ESHA                           TRIPATHI, SANSRITI
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TRIPEPI, THOMAS                       TRIPI, CYNTHIA                           TRIPICCHIO, CARA
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TRIPLET, CLAUDIA                      TRIPLETT, HEATHER                        TRIPLETT, JESSICA
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TRIPLETT, KIM                         TRIPLETT, LAUREN                         TRIPLETT, MATT
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TRIPLETTE, EVERETT                    TRIPLEWHALE                              TRIPLI-KIT
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TRIPLITT, HEATH                       TRIPODI, ERIC                            TRIPODI, OLIVIA
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TRIPOLI, MADISON                      TRIPOLI, VALEEN                          TRIPOLSKY, SHARON
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TRIPP, ALICIA         Case 22-11238-LSS      Doc 2 Filed 11/30/22
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TRIPP, LINDSAY                       TRIPP, NATALIE                        TRIPP, NICOLE
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TRIPP, O                             TRIPP, SHANE                          TRIPP, YASMEEN
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TRIPPE, SARAH                        TRIPPIEDI, CECILIA                    TRIPPIER, TAYLOR
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TRIPSAS, MATTHEW                     TRISH DILDY                           TRISKAR TRUST FBO LYNDSAY JONES
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TRISTA ENGLE                         TRISTAN ALLEYNE                       TRISTAN PETRIE
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TRISTAN PETRIE                       TRISTAN, COLBY                        TRISTAN, ERIKA
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TRISTANI, TINA                       TRITES ROLLE, JESSICA                 TRITON, PHAEDRA
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TRITT, KRISTIN                       TRITTEN, RANDY                        TRITTO, DANNY
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TRITZ, JENNIFER                      TRIVANDRUM RAJAM, MURALI              TRIVEDI MEENA
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TRIVEDI, HARNISH      Case 22-11238-LSS
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TRIVEDI, KRUPA                       TRIVEDI, KRUTI                        TRIVEDI, NOEL
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TRIVELLI, DANIELLA                   TRIVELLI, MEGAN                       TRIVENETA CERTIFICAZIONI S.R.L.
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TRIVETT, BRYAN                       TRIVETT, KAREN                        TRIVETTE, LEIGH
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TRIVINO, GISELLE                     TRN, BRITTANY                         TRNAVSKY, TERRENCE
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TRNKA, JORDAN                        TROBY, HAYLEY                         TROCCHIO, JOSEPH
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TROCCOLO, CARLY                      TROCHE, LOUIS                         TROCHER, BRITTANY
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TROCHESSET, ANDIE                    TROCHINSKI, AMBRY                     TROCHU, CYNTHIA
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TROEGER, RITA                        TROELLER, MEGAN                       TROENDLE, LISA
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TROESCHER, TYLER                     TROESTER, JAMES                       TROGE, KAI
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TROGUS, MICHAEL       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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TROIANO, REBECCA                     TROIANO, STEPHANIE                     TROILO, ADRIANNE
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TROJANO, TARA                        TROJANO, WILLIAM                       TROJANOV, CAROL
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TROJANOWSKI, ERIN                    TROJANOWSKI, KELLY                     TROJIAN, NATHANIEL
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TROLINGER, COURTNEY                  TROLL, JAMIE                           TROLLINGER, EMMA GRACE
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TROLLINGER, SARAH                    TROMBINO, GARY                         TROMBINO, JOHN
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TROMBITAS, EVAN                      TROMBLEY, EVE ELLEN                    TROMBLEY, JACLYN
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TROMBLEY, JULIANNA                   TROMBLEY, LINDSEY                      TROMBLEY, SHERRI
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TROMBLY, BRIANA                      TROMELLO, KATHERINE                    TROMMATER, EMILY
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TRONCONE, MATTHEW                    TRONDSON, TROY                         TRONICK, NADIA
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TRONNES, CATHERINE    Case 22-11238-LSS    Doc CADY
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TRONSEN, SUSAN                       TRONSON, JESSICA                        TRONTVET, TOBY
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TROON, CELESTE                       TROOP, DOUGLAS                          TROPEANO, KERRY
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TROPER, DANIEL                       TROPHYMASTERS                           TROPP, KAREN
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TROPP, LAURA                         TROPP, ZACHARY                          TROPPMAN, AMY
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TROSCLAIR, ALICE                     TROSCLAIR, EMILY                        TROST, COURTNEY
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TROST, ELIZABETH L                   TROST, KARINA                           TROST, KAYLEE
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TROSTERUD, GENE                      TROTMAN, KARA                           TROTMAN, KIM
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TROTS, DEE                           TROTSENKO, MARINA                       TROTT, HANNAH
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TROTTA, CHRISTINE                    TROTTA, FRANK                           TROTTA, FRANK
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TROTTA, LILY          Case 22-11238-LSS
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TROTTA, THOMAS                       TROTTER, AMELIA                       TROTTER, BAILEY
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TROTTER, BREANN                      TROTTER, CHRIS                        TROTTER, JILL
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TROTTER, KENNETH                     TROTTER, KIM                          TROTTER, RON
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TROTTER, SUSAN                       TROTTER, TANASIA                      TROTTER, TAYLOR
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TROTTER, THOMAS                      TROTTIER, AIMEE                       TROUB, MADI
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TROUBA, ALEX                         TROUBLEFIELD, PAIGE                   TROUCHEN, JOY
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TROUDT, LINDSAY                      TROUILLARD, PAULINE                   TROUNCE-MERCER, URIAH
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TROUP, CARA                          TROUPE, ELIZABETH                     TROUT, ANNIE
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TROUT, CORTNE                        TROUT, LAUREN                         TROUT, VICTORIA
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TROUTMAN, AMBER       Case 22-11238-LSS    DocAMY
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                                                                           TROUTMAN, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TROUTMAN, JODI                       TROUTMAN, KALE                        TROUTMAN, KEN
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TROUTMAN, LAURA                      TROUTMAN, THOMAS                      TROUTWINE, NATHANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TROUY, MARY                          TROVATO, ANNAMARIE                    TROVATO, JASON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TROVATO, STEPHANIE                   TROVATTEN, TAMMY                      TROWELL, ANDRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TROXEL, MADELINE                     TROXELL, NATALIE                      TROXELL, RAYMOND
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TROY HARRIS                          TROY RIEMER                           TROY SOLOMON
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TROY, BRANDON                        TROY, CASSIDY                         TROY, CHRISTINA
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TROY, KIM                            TROY, KYLIE                           TROY, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TROY, PATRICK                        TROYAN, KERRI                         TROYE, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TROYER, ALISSA        Case 22-11238-LSS
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                                                                           TROYER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TROYER, ROSEMARY                     TROYER, VERNON                        TRS FOCUSED LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        8004 WEST POINT DR
                                                                           SPRINGFIELD, VA 22153




TRU HR SOLUTIONS                     TRUBEE, JACLYN                        TRUBIANO, MARTIN
2913 EL CAMINO REAL 141              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TUSTIN, CA 92782




TRUBILOVA, KATYA                     TRUBISKY, PATRICIA                    TRUC, FRANCOIS-MARC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRUCANO, MEGAN                       TRUCCO, MEGHAN                        TRUCK INS XCH
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TRUCKENBROD, CHELSI                  TRUCKENBROD, HANNAH                   TRUDE, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRUDEAU, DANIELLE                    TRUDEAU, ELLIE                        TRUDEAU, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRUDEAU, KEDINE                      TRUDEAU, RACHEL                       TRUDEL, PAM
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TRUDELL, ANNA                        TRUDGEON, MARA                        TRUDO, HAILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRUDO, MINERVA                       TRUDRUNG ARNOLD, KATHERINE            TRUE NATIVE MEDIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2250 HEMLOCK AVE.
                                                                           MORRO BAY, CA 93442
TRUE, ERIC            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     TRUE, KIMBERLY                     Page 5012   of 5495
                                                                             TRUE, NICKOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUEBLOOD, BECKY                     TRUEBREW OUTFITTERS (TRADECRAFT)        TRUED, ASTRID
ADDRESS AVAILABLE UPON REQUEST       2155 S. CARPENTER                       ADDRESS AVAILABLE UPON REQUEST
                                     CHICAGO, IL 60608




TRUEFLUENCE, INC.                    TRUEHARDT, BRITTIS                      TRUELOVE, KELLI
650 DELANCEY STREET, UNIT 424        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94107




TRUEMPER, SARAH                      TRUESDALE, CHALISSA                     TRUESDALE, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUESDELL, ELIZABETH                 TRUESDELL, WILLIAM                      TRUETT, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUETT, SUSAN                        TRUETT, WAYLON                          TRUEX, ALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUFFER, RACHEL                      TRUFFL VENTURES LLC                     TRUGLIO, JENNA
ADDRESS AVAILABLE UPON REQUEST       8421 CLINTON AVE, SUITE 205             ADDRESS AVAILABLE UPON REQUEST
                                     WEST HOLLYWOOD, CA 90069




TRUHAN, VALERIE                      TRUHART, DANAE                          TRUHLAR, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUITT, BLAKE                        TRUITT, BOB                             TRUITT, BOBBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUITT, EMILY                        TRUITT, KATE                            TRUITT, KRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
TRUITT, LESLIE        Case 22-11238-LSS
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TRUITT, REILLY                       TRUJILLO, ALISHA                      TRUJILLO, ANA
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TRUJILLO, BARBARA                    TRUJILLO, BRIDGETT                    TRUJILLO, CAMILLE
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TRUJILLO, CARRIE                     TRUJILLO, CHARLIE                     TRUJILLO, CHELZIE
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TRUJILLO, CHRISTINE                  TRUJILLO, DACIA                       TRUJILLO, DAVID
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TRUJILLO, DIANA                      TRUJILLO, ESTEBAN                     TRUJILLO, HILARY
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TRUJILLO, JACQUELINE                 TRUJILLO, JOHN                        TRUJILLO, JULIE
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TRUJILLO, LORETTA                    TRUJILLO, NATASHA                     TRUJILLO, NICK
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TRUJILLO, WILLIAM                    TRUJILLO-ORTEGA, ARIANA               TRULEAR, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TRULL, MIKAYLA                       TRULSON, TED                          TRULUCK, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TRUMAN, BENJAMIN      Case 22-11238-LSS
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TRUMAN, HEATHER                      TRUMAN, KALEY                           TRUMAN, KELLY
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TRUMAN, TIFFANY                      TRUMAN, TIMOTHY                         TRUMBLE, KRISITN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUMBLE, LISA                        TRUMBOWER, CATHY                        TRUMP, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUMP, DANA                          TRUMP, JESSICA                          TRUMP, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUNFIO, NICOLE                      TRUNK CLUB                              TRUNNELL, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




TRUNNELL, MARCIA                     TRUONG, ALBERT                          TRUONG, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUONG, ELIZABETH                    TRUONG, HILARY                          TRUONG, ISABELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUONG, JENNIFER                     TRUONG, KIMMIE                          TRUONG, SANG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUONG, THAO                         TRUONG, TU                              TRUSCHEL, LOREN
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TRUSHENSKI, SARAH     Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUSKOLASKI, M                       TRUSLOW, JENNIFER                       TRUSSELL, HILLARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUSSELL, VANESSA                    TRUST FBO CLUB W INC                    TRUSTEY, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




TRUSTY, MADISON                      TRUTER, AMY                             TRUTT, VANESSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRUTTMAN, PENNY                      TRUTTSCHEL, PAYTON                      TRUXON, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TRYBA, CAROLINE                      TRYBUS, ALYSSA                          TRYDER, CHELSEA
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TRYNISKI, KENDRA                     TRYSAVATH, AVELINE                      TRZASKA, ALLIE
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TRZASKA, KIM                         TRZASKA, SUZIE                          TRZESZKOWSKI, HENRY
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TSAI, FRANK                          TSAI, JEHAN                             TSAI, STEPHANIE
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TSAI, SU                             TSAI, YUEH CHUN                         TSALICKIS, MACKENZIE
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TSALICKIS, POPI       Case 22-11238-LSS    Doc 2
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TSANG, DARREN                        TSANG, DIANE                          TSANG, KELLY
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TSANGARIS, ML                        TSANTES, ALYSSA                       TSAPENKO, EVELINA
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TSARDOUNIS, SAMUEL                   TSAREVA, EKATERINA                    TSATOURIAN, KARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TSAY, CHARLIE                        TSAY, DAVID                           TSCHATSCHULA, TINA
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TSCHETTER, LINSEY                    TSCHETTER, REBECCA                    TSCHIDA, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TSCHINKEL, BETH                      TSCHIRGI, ROGER                       TSCHUDI, ALEAH
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TSCHUDY, CHRYSTAL                    TSCHUDY, MERELENE                     TSCHUMPER, DYLAN
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TSE, ANTHONY                         TSE, JAMES                            TSE, SERENA
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TSE, TERRY                           TSEGAYE, BETENAS                      TSEGELETOS, OLIVIA
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TSELEVICH, ANNA       Case 22-11238-LSS    Doc
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                                                                           TSICOURIS, MARISSA
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TSIKATA, ELIKEM                      TSIKERDANOS, SCOTT                     TSILFIDES, ELENI
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TSIM, STEPHANIE                      TSINTZAS, MADELYN                      TSIPENYUK, FAINA
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TSITOS, DIANE                        TSITOS, VIRGINIA                       TSIVKA, MARYANA
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TSOGBE, KODJO                        TSOI, OLGA                             TSOKA, RASHIDA
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TSOLINAS, ANNE                       TSONETOKOY, LISA                       TSONGRANIS, ALEXA
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TSONTAKIS, JACKIE                    TSOODLE, SARA                          TSOTSIS, ALEXIA
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TSOUKALAS, GAIL                      TSOW, DOROTHY                          TSUCHIYA, GORDON
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TSUI, ALEXANDRA                      TSUI, MAGGIE                           TSUJII, TARYN
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TSUKADA, WENDI                       TSUKAMOTO, SCOTT                       TSUR, ASAF
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TSUTSUMI, MASAO       Case 22-11238-LSS    Doc STEPHANIE
                                     TSUYEMURA, 2 Filed 11/30/22      Page 5018 of 5495
                                                                           TSYMBALIST, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TU PAPA OITE, JOMAR                  TUAN, PO-JU LULU                       TUATY, MARLO
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TUAZON, DENEY                        TUAZON, REYNALDO                       TUBB, ANGELA
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TUBBS, ALYSSA                        TUBBS, JOSH                            TUBBS, KATRINA
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TUBBS, SARA                          TUBESING, LAUREN                       TUBRE, JACLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TUC, ERIM E.                         TUCCI, JOHN                            TUCCIARONE, DORIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TUCCIARONE, VALERIE                  TUCCILLO, DAISY                        TUCEK, SKY
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TUCH, DAVID                          TUCHMAN, ALEXANDER                     TUCHMAN, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TUCHTENHAGEN, JOHN                   TUCK, DENICE                           TUCK, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TUCK, SHANTEL                        TUCKER ARENSBERG, P.C.                 TUCKER BUDZYN LLC
ADDRESS AVAILABLE UPON REQUEST       1500 ONE PPG PLACE                     71823 SARAH DRIVE
                                     PITTSBURGH, PA 15222                   BRUCE TOWNSHIP, MI 48065
TUCKER WITTE          Case 22-11238-LSS
                                     TUCKER,Doc
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                                                                           TUCKER, 5495
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TUCKER, ALEXIS                       TUCKER, ALIYA                         TUCKER, AMANDA
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TUCKER, ANJA                         TUCKER, ANNE                          TUCKER, ANNEKE
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TUCKER, ANTHONY                      TUCKER, AUBREY                        TUCKER, BETH
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TUCKER, BRIAN                        TUCKER, BRIAN                         TUCKER, BRIAN
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TUCKER, CALLIE                       TUCKER, CANDICE                       TUCKER, CAROLYN
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TUCKER, CHRISTINA                    TUCKER, CHRISTINE                     TUCKER, CINTHIA
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TUCKER, COLLEEN                      TUCKER, COURTNEY                      TUCKER, DENISE
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TUCKER, DEVON                        TUCKER, DONNA                         TUCKER, EMILY
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TUCKER, GENA                         TUCKER, HANNAH                        TUCKER, IRIS
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TUCKER, JANICE        Case 22-11238-LSS
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                                                                           TUCKER, 5495
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TUCKER, JOHN                         TUCKER, JOSEPH                        TUCKER, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TUCKER, JULI                         TUCKER, KARA                          TUCKER, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TUCKER, KATHERINE                    TUCKER, KATHLEEN                      TUCKER, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TUCKER, KATIE AND JEREMY             TUCKER, KATLIN                        TUCKER, KELBIE
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TUCKER, KENNETH                      TUCKER, KEVIN                         TUCKER, LAUREN
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TUCKER, LEOTA                        TUCKER, MACKENZIE                     TUCKER, MAGGIE
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TUCKER, MARIA                        TUCKER, MARIA                         TUCKER, MARY
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TUCKER, MARY                         TUCKER, MARYANN                       TUCKER, MATTHEW
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TUCKER, MEGAN                        TUCKER, MICHELLE                      TUCKER, NATE
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TUCKER, NICOLE        Case 22-11238-LSS
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TUCKER, RYAN                         TUCKER, SANDI                         TUCKER, SEAN
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TUCKER, SHANNON                      TUCKER, STEPHANIE                     TUCKER, SUSAN
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TUCKER, SUSIE                        TUCKER, TAYLOR                        TUCKER, TEELA
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TUCKER, TERESA                       TUCKER, TRACI                         TUCKER, VALERIE
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TUCKER, ZACHARY                      TUCKER-BARISANO, KAREN                TUCKETT, ANGIE
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TUCKFIELD, HEATHER                   TUCKMAN, TANYA                        TUCZAI, EVA
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TUDDENHAM, STACEY                    TUDELA, MARIA JOSE                    TUDELA, RIVANITA
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TUDHOPE, CAMERON                     TUDISCO, EMILY                        TUDOR, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TUDOR, EMILIA                        TUEL, JENNIFER                        TUELL, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TUELL, LORETTA        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     TUELL, TIANA                     Page 5022 of 5495
                                                                           TUERACK, DANIELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TUERK, JENNIFER                      TUERPE, JOSH                           TUERS, KARY
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TUESCHER, HALEY                      TUETKEN, TERESA                        TUFFS, CHIMDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TUFFY, AUDREY B.                     TUFFY, TARA                            TUFTS VALDEZ, MARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TUFTS, BREA                          TUGAI, EVGENII                         TUGGLE, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




TUGGLE, KATY                         TUGGLE, TAYA                           TUGGLE, ZACHARY
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TUGMAN, LAUREN                       TUHAKE, HOLLY                          TUHAN, ANDREW
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TUIASOSOPO, JAYNA                    TUINSTRA, JULIE                        TUIONE, EMMA
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TUITT, JASMINE                       TULAUSKAS, DAVID                       TULIEBITZ, ERIN
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TULIN, DEBRA                         TULIN, NADIA                           TULION, KYLEEN
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TULIP, CHELSEY        Case 22-11238-LSS     Doc 2KYLEE
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TULLEMANS, CHANTELLE                 TULLER, MIKE/LORI                     TULLER, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TULLEY, AMANDA                       TULLEY, TELISA                        TULLIS, MADISON
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TULLIS, NANCY                        TULLIS, SARI                          TULLIS, SHANAN
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TULLOS, FRED                         TULLOS, MEG                           TULLOS, TARA
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TULLY, AMY                           TULLY, CORNELIA                       TULLY, DIRK
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TULLY, DONALD                        TULLY, ERIN                           TULLY, KIM
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TULLY, LISA                          TULLY, MICHAEL & KIM                  TULLY, MORGAN
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TULLY, NICOLE                        TULLY, TAYLOR                         TULLY, WAYNE, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TULSI RAMANUJAM                      TUMAMBING, CLIFFORD                   TUMANENG, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TUMBAGA, DANA         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TUMENIUK, TATIANA                    TUMILTY, CINDY                        TUMMINELLO, KAITLYN
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TUNA, AVO                            TUNE, KATHLEEN                        TUNELL, JOHN
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TUNG, LIA                            TUNGATURTHI, SASHANK                  TUNGGAL, HERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TUNGSETH, SHARON                     TUNIS, JULIA                          TUNKEL, LAURIE
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TUNNELL, CATHERINE                   TUNNEY, COLEEN                        TUNOA, SARAH
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TUNSTALL, INDIA                      TUNSTALL, PAM                         TUNSTALL, ROBERTA
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TUOHEY, CATHLEEN                     TUOHEY, DIANE                         TUOHY, KATIE
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TUOHY, SARAH                         TUOR, SUSANNE                         TUOSTO, LAUREN
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TUOZZO, JENNIFER                     TUOZZOLO, MELISSA                     TUPLE, HANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TUPLING-ZWEIGLE, PAMELACase 22-11238-LSS     Doc 2 Filed
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TUPYCHAK, KASIA                       TURANO, CHERYL                        TURANO, DAWN
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TURANSKY, THOMAS                      TURAS, CINDY                          TURAY, DEVON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURAY, HOLLY                          TURAY, VICTORIA                       TURBAK, RITA
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TURBENSON, JOHN                       TURBES, CORINNA                       TURBEVILLE, CARRIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURBO CHILLED AIR CONDITIONING INC.   TURCENO, IRENE                        TURCHAN, TYLER
7231 ATOLL AVENUE                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NORTH HOLLYWOOD, CA 91605




TURCIOS, CARLOS                       TURCIOS, KRISSIA                      TURCIOS, LEONEL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURCO, GLENN                          TURCO, LINDSAY                        TURCO, LISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURCONI, JEFFREY                      TURCOOS, GILMA                        TURCOTTE, ANNALYSA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURCOTTE, JOSIANNE                    TURCOTTE, LUCIE                       TURCOTTE, PAT
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TURCOTTE-BIXBY, ALLIE Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TUREK, MORIAH                        TURENNE, ITHAMAR                      TURGEON, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURI, STEPHANIE                      TURI, STEVEN                          TURIANO, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURIN, ELISE                         TURINAS, ADAM                         TURINO, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURIS, CHANAH                        TURJMAN, BIANCA                       TURK, DANIELLE
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TURK, ERIN                           TURK, GEORGINE                        TURK, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURKE, CAROLYN                       TURKHIA, RIA                          TURKIYA, YEKATERINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURLEY, AMY                          TURLEY, COLLEEN                       TURLEY, ISABEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURLEY, JENNIFER                     TURLEY, KRISTEN                       TURLEY, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURLINGTON, MARY                     TURMAN, ANN                           TURN KEY WINE BRANDS LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        132 EAST CARRILLO STREET
                                                                           SANTA BARBARA, CA 93101
                       Case 22-11238-LSS
TURN KEY WINE BRANDS LLC                    Doc
                                      TURNAGE,    2 Filed 11/30/22
                                               JOHN                    Page 5027 of 5495
                                                                            TURNAGE, LAUREN
PO BOX 1181                           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SANTA BARBARA, CA 93102




TURNBAUGH, BROOKE                     TURNBOUGH, A                          TURNBOUGH, DENNIS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURNBOUGH, JEFF                       TURNBOUGH, ZEDRICK                    TURNBULL, CHAD
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURNBULL, KATHLEEN                    TURNBULL, MATT                        TURNBULL, PAULA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURNBULL, STACEY                      TURNBULL, STEPHANIE                   TURNBULL, TABITHA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURNBULL, TRUDI                       TURNBULL, WHITNEY                     TURNER PR
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        44 COOK ST. SUITE 650
                                                                            DENVER, CO 80206




TURNER SR, ANDREE                     TURNER WILLIAMS                       TURNER, AISHA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURNER, ALFRED                        TURNER, ALICE                         TURNER, AMY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURNER, ANGELICA                      TURNER, ANNA-MARIE                    TURNER, APRIL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TURNER, ARWEN                         TURNER, BAILEY                        TURNER, BETH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TURNER, BETHANY       Case 22-11238-LSS
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TURNER, BRENT                        TURNER, BRENT                         TURNER, BRIONNA
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TURNER, BRITTANY                     TURNER, BRITTANY                      TURNER, BROOKS
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TURNER, CAITLIN                      TURNER, CAROL                         TURNER, CASIE
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TURNER, CASSIDY                      TURNER, CERI                          TURNER, CHRIS
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TURNER, CHRISTINE                    TURNER, CHRISTINE                     TURNER, CHRISTINE
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TURNER, CINDY                        TURNER, COLETTE                       TURNER, CYNDI
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TURNER, DANIEL                       TURNER, DARIEN                        TURNER, DAVID
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TURNER, DEEPIKA                      TURNER, DELIGHT                       TURNER, DILLON
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TURNER, DUSTIN                       TURNER, EARL                          TURNER, ELAINE
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TURNER, ELISHA        Case 22-11238-LSS
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TURNER, ELIZABETH                    TURNER, EMILY                         TURNER, ERICA
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TURNER, ERICAH                       TURNER, EVAN                          TURNER, FLOYD
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TURNER, GRACE                        TURNER, GWENNAN                       TURNER, HALLIE
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TURNER, HANNAH                       TURNER, HANNAH                        TURNER, HEATHER
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TURNER, HEATHER                      TURNER, HEIDI                         TURNER, ISABEL
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TURNER, JACLYN                       TURNER, JACLYN                        TURNER, JACQUANA
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TURNER, JAMIEKA                      TURNER, JANET                         TURNER, JENNIFER
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TURNER, JESSIKA                      TURNER, JILLIAN                       TURNER, JUDITH
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TURNER, KAI                          TURNER, KAITLYN                       TURNER, KAREN
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TURNER, KAYTLIN                      TURNER, KERRY                         TURNER, KYLE
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TURNER, LAURA                        TURNER, LAURA                         TURNER, LAUREN
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TURNER, LAURIE                       TURNER, LEDEIDRE                      TURNER, LESLIE
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TURNER, LINDA                        TURNER, LINDSEY                       TURNER, LISA
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TURNER, LOUISE                       TURNER, MADELINE                      TURNER, MALLORY
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TURNER, MARIEKA                      TURNER, MARIEL                        TURNER, MARK
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TURNER, MARTHA                       TURNER, MATTHEW                       TURNER, MEGAN
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TURNER, MEGAN                        TURNER, MELISSA                       TURNER, MERLE
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TURNER, MICHAEL                      TURNER, MICHELLE                      TURNER, MICHELLE
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TURNER, MORGAN        Case 22-11238-LSS
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TURNER, RACHEL                       TURNER, RACHEL                        TURNER, REAGAN
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TURNER, REBECCA                      TURNER, ROBERT                        TURNER, ROMAYNE
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TURNER, SAMANTHA                     TURNER, SAMUEL                        TURNER, SARA
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TURNER, SARA                         TURNER, SCOTT                         TURNER, SHANE
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TURNER, SHAWNDA                      TURNER, SHELBY                        TURNER, STEPHANIE
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TURNER, SUMMER                       TURNER, SYLVIE                        TURNER, TASMIN
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TURNER, TATUN                        TURNER, TAVARI                        TURNER, TERRELL
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TURNER, TERRI                        TURNER, THOMAS JONATHAN               TURNER, TRACI
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TURNER, VANESSA       Case 22-11238-LSS
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TURNEY, KIMBERLY                     TURNIER, BRUCE                        TURNS, CHELSEA
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TURNURE, JOAN                        TUROCY, JESSICA                       TURON-DIAZ, NICOLE
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TUROWSKI, LANNON                     TURP, KELSEY                          TURPEN, ADAM
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TURPIN, HANNAH                       TURPIN, JASON                         TURRELL, BROOKE
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TURRENTINE, STEFANIE                 TURRENTINE, TRENTON                   TURRILL, MACKENZIE
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TURTON, JANE                         TURTON, MARGARET                      TURTZ, AMY
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TURVER, JESSICA                      TURVIN, ANNA                          TUSA, EVA
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TUSAVITZ, JOCELYN                    TUSCHEN, WINIFRED                     TUSCIUK, CHRISTOPHER
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TUSHAR SUBHASH SUTTATI               TUSHAR VIG                            TUSHUP, LYNN
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TUSSEY, BRANDEN       Case 22-11238-LSS     Doc 2 Filed 11/30/22
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TUTELA, KATHERINE                    TUTER, SUSAN                          TUTEWILER, JULIE
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TUTIVEN, KRISTINA                    TUTIVEN, LORENA                       TUTKO, MARIE
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TUTOR, TIMOTHY                       TUTT, BETH                            TUTT, PAIGE
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TUTT, ROBERT                         TUTTELMAN, ILYSSA                     TUTTLE, BETHANY
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TUTTLE, BILL                         TUTTLE, CLAIRE                        TUTTLE, DEK
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TUTTLE, JOSHUA                       TUTTLE, KELSEY                        TUTTLE, KIMBERLY
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TUTTLE, RICKEY ANNE                  TUTTLE, RYAN                          TUTTON, JENNIFER
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TUTUNJIAN, LIZA                      TUUK, EMILY                           TUWANDA SPINKS
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TUYA, ALEJANDRA                      TUZ, ANDREA                           TUZHILIN, ALIYA
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TVEIDT, AMANDA        Case 22-11238-LSS
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                                            MICHELLE                    Page 5034
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          5340 ALLA ROAD STE 100
                                                                             LOS ANGELES, CA 90066




TVRDIK, JACQUELINE                   TW TELECOM                              TW TELECOM
ADDRESS AVAILABLE UPON REQUEST       1025 ELDORADO BLVD                      PO BOX 172567
                                     BROOMFIELD, CO 80021                    DENVER, CO 80217-2567




TWADDELL, KENZIE                     TWADDLE, JOSH                           TWAIT, KRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TWAITES, ROBIN                       TWEDT, ADAM                             TWEED, MICHELLE
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TWEEDIE, JUDY                        TWEEDT, ALI                             TWEEDY, JAMES
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TWEEDY, MARSHA                       TWEET, MICHAEL                          TWEHOUS, DEBRA
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TWEHOUS, JESSICA                     TWEHUS, SARAH                           TWELLMAN, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




TWENTY-ONE WINE & SPIRITS            TWERBERG, GORDON                        TWIBELL, MARCI
6916 NE 4TH AVE                      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
MIAMI, FL 33138




TWIGG, CATHERINE                     TWILIO                                  TWILLEY, HELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




TWILLEY, SHELLEY                     TWILLMAN, HANNAH                        TWINING, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
TWINNING, EILEEN      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     TWINSPIRATIONAL                 Page 5035
                                                                          TWISS, of 5495
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ADDRESS AVAILABLE UPON REQUEST       225 5TH AVENUE APT 5H                ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10010




TWIST, MICHAEL                      TWITTER, INC                          TWO MANAGEMENT
ADDRESS AVAILABLE UPON REQUEST      1355 MARKET ST STE 900                8438 MELROSE PL. 2ND FLOOR
                                    SAN FRANCISCO, CA 94103               LOS ANGELES, CA 90069




TWO NIL, LLC                        TWO PARTS                             TWOMBLY, ALEXANDRA
5510 LINCOLN BLVD, SUITE 410        2400 CURTIS ST. STUDIO 6              ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90094               DENVER, CO 80205-2630




TWOMBLY, COREY                      TWOMBLY, RACHAEL                      TWOMEY, JENNIFER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




TWOREK, ANGELICA                    TWORKOWSKI, HOLLY                     TX ALCOHOLIC BEVERAGE COMMISSION
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        427 W 20TH ST 600
                                                                          HOUSTON, TX 77008




TX COMPTROLLER OF PUBLIC ACCOUNTS   TY, ROSE                              TYAGI, AARTI
P.O. BOX 149348                     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
AUSTIN, TX 78714-9348




TYAGI, ARTI                         TYAGI, CHIRANSHI                      TYAGUR, TARAS
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TYBURSKI, ELIZABETH                 TYBURSKI, ROBERTA                     TYCHOLIZ, SCOTT
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TYE, EMMA                           TYE, KRISTINE                         TYE, PATRICIA
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TYER, DEBBIE                        TYESSEN SMITH                         TYHANIC, CYNTHIA
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TYHOSKY, LYNDSEY      Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           TYLER BARNETT
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TYLER BRUCE MCKIBBEN                 TYLER COX                             TYLER EVERT
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TYLER GALLAUDET                      TYLER GREENFIELD                      TYLER JOHN WILFLEY
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TYLER JOHNSON                        TYLER LEVEY                           TYLER MARVIN
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TYLER MAYO                           TYLER MCGREEVEY                       TYLER SPANGLER
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TYLER STANLEY KIMBALL                TYLER WASMAN                          TYLER, AMANDA
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TYLER, ARIANA                        TYLER, BAILEE                         TYLER, BRYTTANY
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TYLER, CAITLIN                       TYLER, CHARITY                        TYLER, CHELSEA
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TYLER, CHRIS                         TYLER, CHRIS                          TYLER, CJ
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TYLER, DENISE                        TYLER, DIANE                          TYLER, HANNAH
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TYLER, MARY                          TYLER, MCKENZIE                       TYLER, MORGAN
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TYLER, NICOL                         TYLER, NICOLE                         TYLER, WHITNEY
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TYLICKI, ALEXANDRA                   TYLINSKI, ALEYA                       TYLIPAKIS, GEORGE
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TYLKI, DANIELE                       TYLLER KERRIGAN-NICHOLS               TYMA, JACKIE
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TYMAN, TANIA                         TYNAN, KATIE                          TYNAN, KRISTEN
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TYNAN, PAUL                          TYNDALL, PRINCE LLC. KINGSLEY         TYNE, PATIENCE
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TYNER, MARGARET                      TYNER, SARA                           TYO, ABBY
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TYRAN, NATALIE                       TYREE PETTY-WILLIAMS                  TYREE, ASHLEY
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TYREE, ELAINA                        TYREE, HEATHER                        TYREE, KRISTI
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TYREE, TAMMY          Case 22-11238-LSS
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TYROWN WAIGANA                       TYRRELL, BRENDA                       TYRRELL, CONNOR
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TYRRELL, CRAIG                       TYRRELL, KAITLIN                      TYRRELL, LIZ
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TYRRELL, MELISSA                     TYRRELL, SAMANTHA                     TYRRELL, TRISTEN
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TYSER, BECKY                         TYSKA, MATTHEW                        TYSON FRENCH
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TYSON, BARBARA                       TYSON, DIALLO                         TYSON, JANET
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TYSON, JESSICA                       TYSON, KATIE                          TYSON, NYROBI
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TYSON, PILAR                         TYSON, SHALYCE                        TYTARENKO, ALEX
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TYUS, SHIRLEY                        TZAIG, GUY                            TZENKOVA, ANNA
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TZINARES, THEODORA                   TZOTZOLAS, VIRGINIA                   TZOURIS, TALIA
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                                                                                U.S. DEPT OF STATE
ADDRESS UNAVAILABLE AT TIME OF FILING 200 INDEPENDENCE AVE, SW                   DIRECTORATE OF DEFENCE TRADE
                                      WASHINGTON, DC 20201                       CONTROLS
                                                                                 COMPLIANCE & REGISTRATION DIV
                                                                                 WASHINGTON, DC 20522-0112



U.S. CONSUMER PRODUCT SAFETY           U.S. CUSTOMS AND BORDER PROTECTION        U.S. DEPARTMENT OF AGRICULTURE
COMMISSION                             1300 PENNSYLVANIA AVENUE, NW              1400 INDEPENDENCE AVENUE, S.W.
4330 EAST WEST HIGHWAY                 WASHINGTON, DC 20229                      WASHINGTON, DC 20250
BETHESDA, MD 20814




U.S. DEPARTMENT OF JUSTICE             U.S. DEPARTMENT OF TREASURY               U.S. ENVIRONMENTAL PROTECTION AGENCY
950 PENNSYLVANIA AVENUE, NW            ALCOHOL AND TOBACCO TAX AND TRADE         OFFICE OF GENERAL COUNSEL 2310A
WASHINGTON, DC 20530-0001              BUREAU                                    1200 PENNSYLVANIA AVENUE, NW
                                       1310 G STREET NW, BOX 12                  WASHINGTON, DC 20460
                                       WASHINGTON, DC 20005



U.S. FOOD AND DRUG ADMINISTRATION      U25 VENTURES GMBH                         UANINO, DANIELLE
10903 NEW HAMPSHIRE AVE                ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
SILVER SPRING, MD 20993




UBALDO, CASSIE                         UBER FREIGHT LLC                          UBER TECHNOLOGIES, INC.
ADDRESS AVAILABLE UPON REQUEST         555 MARKET STREET                         1455 MARKET ST. 4TH FLOOR
                                       SAN FRANCISCO, CA 94105                   SAN FRANCISCO, CA 94103




UBER                                   UBERCONFERENCE                            UBHAYAKER, RIDHI
1455 MARKET ST. 4TH FLOOR              ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94103




UBIDE, ANGEL                           UBILLA, REBECA                            UBINA, MARIA ELENA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




UBS FIN SVCS LLC (0221)                UBS SECS LLC (0642)                       UCCELLO, PAULINE
ATTN PROXY DEPT - JANE FLOOD           ATTN MICHAEL HALLET OR PROXY MGR          ADDRESS AVAILABLE UPON REQUEST
1000 HARBOR BLVD                       PROXY DEPT
WEEHAWKEN, NJ 07086                    315 DEADRICK ST
                                       NASHVILLE, TN 37238



UCCIFERRI, JACK                        UCDAVIS                                   UCEDA, SANDRA
ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS AVAILABLE UPON REQUEST




UCHE, CHARLES                          UCHECHUKWU CHINEDU NNAMDI                 UCHI, PATRICIA
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UDANI, JAISON         Case 22-11238-LSS    DocRISUN
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




UDDIN, SHAKIL                        UDE, DIANE                               UDEH, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




UDELHOVEN, VENESSA                   UDELL, BRUCE                             UDELL, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




UDELL, ROBIN                         UDEMY.COM                                UDEN, ANNA
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UDESH, RESHMI                        UDIJOHN, ALYSSA                          UDIS
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UDLER, LEA                           UDOH, BEATRICE                           UDONI, KARISSA
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UDOYE, FERDINAND                     UDRIJA, EMINA                            UDSTRAND, GRANT
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UDVARI, SUSANNE                      UEBBING, EMILY                           UECKE, TATUM
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UECKER-FLINK, DIANE                  UEHARA, KAHEALANI                        UEHLING, JOHN
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UEKI, TAKAKO                         UELAND, MADELYN                          UEMURA, YURI
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UFER, BEV                            UFER, ELIZABETH                         UFERT, BAILEE
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UFFELMAN, MOLLY                      UFFMAN, CALLIE                          UFFORD, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UGARPH, CINDY                        UGARTE, KATHERINE                       UGARTE, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UGEL, BOB                            UGGOWITZER, ROBIN                       UGIS STRAUSS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UGLAND, ANDREA                       UGONABO, NKEMJIKA                       UGORETZ, KAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UHAS, BETHANY                        U-HAUL OF WILMINGTON                    UHAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




UHER, JARED                          UHER, VICTORIA                          UHL, ASTRID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UHL, IAN                             UHL, MICHAEL                            UHLAND, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UHLENHAKE, MEGAN                     UHLENKOTT, KAYLEE                       UHLER, CATHARINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
UHLICH, JULIENNE      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     UHLIR, LAURA                     Page 5042 of 5495
                                                                           UHLMEYER, CAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




UHLS, ANN BEHREND-                   UHM, ANDREW                           UHR, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




UHRICH, GINA                         UHRICH, MARGARET                      UHRMACHER, BRIAN
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UJCICH, MICHAEL                      UKEILEY, HEATHER                      UKI, HISAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




UKIAH WINE CACHE LLC                 UKO, EMEM                             ULAN, SAMANTHA
160 PARDUCCI ROAD                    ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
UKIAH, CA 95482




ULATE, DAVID                         ULBRICH, ABRIELLE                     ULBRICH, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ULDRICH, CINDY                       ULDRICH, LINDSAY                      ULEN, GREGA
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ULF, ABBY                            ULFIG, LINDSAY                        ULFSRUD, MACKENZIE
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ULICSNI, EMILIE                      ULIN, ALICIA                          ULINE, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        12575 ULIINE DRIVE
                                                                           PLEASANT PRAIRIE, WI 53158




ULINE, INC.                          ULIVI, MARIA                          ULKINS, DOUG
ULINE SHIPPING SUPPLIES              ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
PO BOX 88741
CHICAGO, IL 60680-1741
ULLAH, BRITTANY       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ULLAH, NEIKI                     Page 5043   of 5495
                                                                           ULLAL, SEEMA
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ULLER, ELLEN                         ULLMAN, MICHAEL                       ULLMAN, SOPHIE
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ULLOA, JOHANNA                       ULLOA, LARISSA                        ULLOA, PETERJOHN
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ULLOA, ROSA                          ULLOA, YADIRA                         ULLOM, CAMBRIA
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ULLRICH, LINDA                       ULLRICH, MALLORY                      ULLUM, DOUGLAS
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ULMER, CLAIRE                        ULMER, LINDSEY                        ULMER, ROB
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ULRICH ANGELL, SUSAN                 ULRICH, ALEXANDRIA                    ULRICH, ALI
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ULRICH, CASEY                        ULRICH, DENISE                        ULRICH, JAMES
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ULRICH, JORDAN                       ULRICH, KATHY                         ULRICH, MORGAN
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ULRICH, OLIVIA                       ULRICH, PAM                           ULSH, JUDITH
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ULSH, MARY            Case 22-11238-LSS
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                                                                           ULSTAD,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ULTIMATE STAFFING SERVICES           ULTIMATE STAFFING SERVICES            ULTIMATE STAFFING SERVICES
333 CITY BLVD SUITE 100              P.O BOX 848761                        P.O. BOX 60003
ORANGE, CA 92868                     LOS ANGELES, CA 90084-8761            ANAHEIM, CA 92812




ULTRAFINA, INC.                      ULTRESS INC                           ULUDAG, ARDA
340 S. LEMON AVE. 1735               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WALNUT, CA 91789




ULUSOY, EMRE                         ULVI, DARCIE                          ULVILA, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ULYICSNI, JOSHUA                     ULZII, LILLY                          UM, TINA
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UMALI, MARI-JO                       UMALI, PJ                             UMAN, DEAN
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UMANA, EDGAR                         UMANA, ROBERTO                        UMANOFF, NICOLE
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UMANSKY, EMILY                       UMAR, ZAFAR                           UMBEL, CHESSY
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UMBERGER, KAYLA                      UMBLE, MAURA                          UMEH, GAVIN-KEITH
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UMEH, JOSIE                          UMEMOTO, JANELL                       UMHOLTZ, JAKE
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UMHOLTZ, NGAIRE       Case 22-11238-LSS
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UMSCHWEIF, GALI                         UMSTATTD COPE, VICTORIA                 UMSTEAD, NICOLE
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UMSTEAD, SARAH                          UN, KIT                                 UN, RAPHAEL
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UNANGST, ELIZABETH                      UNBOUNCE                                UNCAPHER, MELINA
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UNCLE BILLS PANCAKE HOUSE               UNCRATE LLC                             UNCRATE LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   448 W NATIONWIDE BLVD SUITE 301         577 CEDAR ALLEY
                                        COLUMBUS, OH 43215                      COLUMBUS, OH 43206




UNDER ARMOUR CONNECTED FITNESS, INC.    UNDER ARMOUR CONNECTED FITNESS, INC.    UNDERBERG, R
1020 HULL STREET                        211 WALTER SEAHOLM DR. STE 200          ADDRESS AVAILABLE UPON REQUEST
BALTIMORE, MD 21230                     AUSTIN, TX 78701




UNDERHILL, CAROLINE                     UNDERHILL, JAYNETTE                     UNDERHILL, KENDYL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UNDERHILL, MIRANDA                      UNDERHILL, RACHAEL                      UNDERHILL, SARA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UNDERKOFFLER, GUY                       UNDERRINER, KATY                        UNDERWOOD, ALLISON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UNDERWOOD, AMY                          UNDERWOOD, BILLY                        UNDERWOOD, CHANTEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
UNDERWOOD, CHARLES Case 22-11238-LSS    Doc 2DURINDA
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ADDRESS AVAILABLE UPON REQUEST    ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




UNDERWOOD, ESTHER                   UNDERWOOD, HEATHER                    UNDERWOOD, KATHLEEN
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UNDERWOOD, KATHRYN                  UNDERWOOD, KIMBERLEY                  UNDERWOOD, KOURTNEY
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UNDERWOOD, LAURA                    UNDERWOOD, LORI                       UNDERWOOD, PAUL
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




UNDERWOOD, REBECCA                  UNDERWOOD, RYAN                       UNDERWOOD, RYAN
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UNDERWOOD, RYAN                     UNDERWOOD, SARA                       UNDERWOOD, SHAWN
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UNDERWOOD, SOFEE                    UNDERWOOD, WYATT                      UNG, TEUNG
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UNGAR, STACY                        UNGARO, ALEXANDRA                     UNGARO, NATALINA
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UNGER, ALLYSE                       UNGER, CHRISTOPHER                    UNGER, DANIEL
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UNGER, JEFFREY                      UNGER, JESI                           UNGER, JULIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
UNGER, LACEY          Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




UNGER, PAULA                            UNGER, SHARON                            UNGRU, LEAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




UNICK, SHANNON                          UNIGLICHT, TIFFANY                       UNIKEWICZ, ELIZABETH B
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




UNIKEWICZ, W & J.                       UNIQUES, DES                             UNITED AIRLINES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




UNITED EXPRESS MESSENGERS, INC.         UNITED HEALTHCARE INSURANCE COMPANY      UNITED HEALTHCARE INSURANCE COMPANY
2029 CENTURY PARK EAST SUITE 1150       CORPORATE TAX MN008-T390                 KAY JACOBSON UNITED HEALTH CARE LISI
LOS ANGELES, CA 90067                   9900 BREN RD. E                          2677 N. MAIN STREET, SUITE 350
                                        MINNETONKA, MN 55343                     SANTA ANA, CA 92705




UNITED HEALTHCARE INSURANCE COMPANY     UNITED HEALTHCARE INSURANCE COMPANY      UNITED HEALTHCARE INSURANCE COMPANY
UHIC UNITEDHEALTHCARE OF CA             UHS PREMIUM BILLING                      UNITED HEALTH CARE DEPT. 846940
P.O. BOX 843118                         PO BOX 94017                             LOS ANGELES, CA 90084-6940
LOS ANGELES, CA 90084-3118              PALATINE, IL 60094-4017




UNITED RENTALS NORTHWEST, INC           UNITED RENTALS NORTHWEST, INC            UNITED STATES DEPT OF LABOR
FILE 51122                              FIVE GREENWICH OFFICE PARK               200 CONSTITUTION AVE NW
LOS ANGELES, CA 90074-1122              GREENWICH, CT 06831-5180                 WASHINGTON, DC 20210




UNITED STATES PLASTIC CORPORATION       UNITED STATES PLASTIC CORPORATION        UNITED STATES TREASURY
1390 NEUBRECHT ROAD                     1390 NEUBRECHT ROAD                      OFFICE OF THE TREASURER
LIMA, OH 45801-3120907                  LIMA, OH 45801-3196                      1500 PENNSYLVANIA AVENUE, NW
                                                                                 WASHINGTON, DC 20220




UNITED STATES TREASURY                  UNITED TALENT AGENCY, LLC                UNITED WITH LOVE BLOG, LLC.
TREASURY P.O. BOX 932700                9336 CIVIC CENTER DRIVE                  13144 SCOTTISH HUNT LANE
LOUISVILLE, KY 40293-2700               BEVERLY HILLS, CA 90210                  BRISTOW, VA 20136




UNITED                                  UNITRANS INTERNATIONAL CORPORATIONS      UNIVERSAL STUDIOS
ADDRESS UNAVAILABLE AT TIME OF FILING   709 SOUTH HINDRY AVE.                    ADDRESS UNAVAILABLE AT TIME OF FILING
                                        INGLEWOOD, CA 90301
UNIVERSITY OF BEER    Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                              UNNIKRISHNAN,
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UNRUH, AMY                            UNRUH, ASHLEY                            UNRUH, JOHN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




UNRUH, KATIE                          UNRUH, LEAH                              UNSWORTH, NATASHA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




UNTERBRINK, MAUREEN                   UNTHANK, MATT                            UNTITLED ERA LLC
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           1 PIER 76, 408 12TH AVE
                                                                               NEW YORK CITY, NY 10018




UNVERDRUSS, TJ                        UNVERFERTH, KENNETH                      UNVERRICH, JACKIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




UNVERZAGT, HEATHER                    UONG, AUDREY                             UP TO STATEMENT
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UP, GREEN                             UPADHYA, VIMAL                           UPADHYAY, KIRAN
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UPADHYAYA, RADHIKA                    UPCHURCH, BETH                           UPCHURCH, LAURA
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UPCHURCH, LEEA                        UPCURVE CLOUD                            UPDIKE, JERRY
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UPDIKE, SAM                           UPHAUS, ROBERT                           UPHOFF, SARA
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UPHOLD, AMANDA        Case 22-11238-LSS    Doc
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UPPALAPATI, AKHIL                       UPPALLURI, MURALI                     UPPERMAN, SARAH
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UPPSTROM, TYLER                         UPPULURI, NISHA                       UPRINTING.COM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




UPS SUPPLY CHAIN SOLUTIONS, INC.        UPS                                   UPSHAW, KAITLYN
28013 NETWORK PLACE                     PO BOX 894820                         ADDRESS AVAILABLE UPON REQUEST
CHICAGO, IL 60673-1280                  LOS ANGELES, CA 90189-4820




UPSHAW, VERANICKY                       UPSHUR, DEANGLEO                      UPSON, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




UPSON, VALERIE                          UPSPUN, LLC (BOTTLESPARK)             UPSTACK TECHNOLOGIES, INC.
ADDRESS AVAILABLE UPON REQUEST          2533 MT ROYAL DR                      26 BROADWAY, 8TH FLOOR
                                        CASTLE ROCK, CO 80104                 NEW YORK, NY 11225




UPSTAIRS MARKETING                      UPTON, ANGELICA                       UPTON, CARL
675 LINCOLN AVE.                        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
TEMPLETON, CA 93465




UPTON, CHRIS                            UPTON, CRISTINA                       UPTON, HEATHER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




UPTON, KELLY                            UPTON, LINDSEY                        UPTON, SKYLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




UPWORK                                  URALSKY, LILIA                        URANGA, LEIGH
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URANICH, DAVID        Case 22-11238-LSS    Doc
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                                                                              URBACH, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




URBAEZ, ERIKA                           URBAITES, JUSTINE                     URBAN DADDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        900 BROADWAY SUITE 900
                                                                              NEW YORK, NY 10003




URBAN PLATES RUNWAY                     URBAN UNITY LLC                       URBAN, BILLY
ADDRESS UNAVAILABLE AT TIME OF FILING   5550 HOLLYWOOD BLVD, 642              ADDRESS AVAILABLE UPON REQUEST
                                        LOS ANGELES, CA 90028




URBAN, CHRISTINA                        URBAN, DEBORAH                        URBAN, DIANE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URBAN, KATHERINE                        URBAN, KIKI                           URBAN, KIMBERLEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URBAN, LAURA                            URBAN, LORI                           URBAN, MANUEL
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URBAN, MATTHEW                          URBAN, RYAN                           URBANCIC, HILLARY
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URBANEK, JENNA                          URBANEK, MICAH                        URBANELLI, CAROLINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URBANIAK, ALLISON                       URBANIAK, DAVID                       URBANIC, CARRIE
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URBANO, KATHERINE                       URBANO, KRISTY                        URBAN-OUTFITTERS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
URBANOWSKI, THOMAS    Case 22-11238-LSS    Doc
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URBANSKI, ELIZABETH                  URBANSKI, EMA                          URBANSKI, RACHEL
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URBANSKY, DAVID                      URBANY, MORGAN                         URBAY, JOE
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URBIETIS, SIMON                      URBINA, DANIELLE                       URBINA, DANIELLE
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URBINA, MIGUEL                       URBINA, VALERIA                        URBONIENE, ELENA
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URCIULLO, DANIELLE                   URCIUOLI, KATHLEEN                     UREKE, ELINA
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URENA, JOSE                          URENA, SHAYLA                          URENA, SUSAN
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URENA, VIRNALISA                     URENECK, LIANNE                        URESTE, HADLY
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URESTI, CANDACE                      URETA, CHRISTINA                       URFER, KELLY
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URH, LINDSEY                         URI WASSERTZUG                         URIA, ALKAPTON
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URIAN, JOY            Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                           URIARTE, 5495
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URIARTE, SULVANA                     URIAS, CINDY                          URIAS, JANET
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URIAS, KATY                          URIBE SILVESTRE, JUAN                 URIBE, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URIBE, GRISEL                        URIBE, MELANIE                        URIBE, VICTOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URICH, JAMES                         URIEGAS, PABLO                        URIETA, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URITUS, ERIN                         URKOSKI, DANIELLE                     URNESS, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URNESS, NIKKI                        URO, GABRIELA                         UROSEVICH, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URQUHART, DANIEL                     URQUHART, JEANNINE                    URQUHART, JENISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URQUHART, NATALIE                    URQUIDEZ, SARA                        URQUIZA, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




URQUIZO FLORES, JOHN                 URQUIZU, CASEY                        URREA, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
URRUTIA, HENRY        Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




URSERY, ROBERT                          URSINI, JAMES                           URSINY, MONIKA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




URSO, HEATHER                           URSULA BERTRAND HINZ                    URTEAGA, AJ
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




URTH CAFE                               URUENA, MARIA                           URVASHI JONEJA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




URZUA, VICTOR                           US AIRWAYS                              US CUSTOMS & BORDER PATROL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




US DEPARTMENT OF LABOR                  US STOP SHOP MOBILE                     US TRUSTEE
S-2521                                  ADDRESS UNAVAILABLE AT TIME OF FILING   ATTN: JANE LEAMY
200 CONSITUTION AVE, NW                                                         844 KING STREET, SUITE 2207
WASHINGTON, DC 20210                                                            WILMINGTON, DE 19801




USA REPAIRS                             USA WINE WEST, LLC                      USCHOLD, ERIKA
ADDRESS UNAVAILABLE AT TIME OF FILING   3030 BRIDGEWAY, SUITE 127               ADDRESS AVAILABLE UPON REQUEST
                                        SAUSALITO, CA 94965




USDAN, AMY                              USEFOF, ABIGAIL                         USELMAN, AMI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




USEN, DASSI                             USER TESTING, INC.                      USHAKOV, ERIN
ADDRESS AVAILABLE UPON REQUEST          2672 BAYSHORE PARKWAY 703               ADDRESS AVAILABLE UPON REQUEST
                                        MOUNTAIN VIEW, CA 94043-1023




USHAKOVA, EKATERINA                     USHARANI GADEY                          USHER, CHARISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
USHER, KATHY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     USMA, LAUREN                        Page 5054 of 5495
                                                                              USMANOVA, FARZONA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




USNER, JANAE                            USORO, ANDREW                         USORO, REBECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




USPS                                    USTJANAUSKAS, JESSICA                 UTAH DEPARTMENT OF ALCOHOLIC
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        BEVERAGE CONTROL
                                                                              P.O. BOX 30408
                                                                              SALT LAKE CITY, UT 84130-0408




UTAH DEPARTMENT OF COMMERCE             UTAH DIVISION OF SECURITIES           UTAH DIVISION OF SECURITIES
DIVISION OF CONSUMER PROTECTION         160 EAST 300 SOUTH                    PO BOX 146760
160 E 300 S 2ND FL                      2ND FLOOR                             SALT LAKE CITY, UT 84114-6760
PO BOX 146704                           SALT LAKE CITY, UT 84111
SALT LAKE CITY, UT 84114-6704



UTAH LABOR COMMISSION                   UTAH STATE TAX COMMISSION             UTC VENTURE GROUP LLC
160 EAST 300 SOUTH                      210 N 1950 W                          ADDRESS AVAILABLE UPON REQUEST
3RD FLOOR                               SALT LAKE CITY, UT 84134
SALT LAKE CITY, UT 84114-6600




UTECHT, BRANDI                          UTENDAHL, MALIK                       UTENDAHL, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




UTER, MEGAN                             UTGAARD, CLARICE                      UTHMAN, DEBBIE
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UTLEY, ABBY                             UTLEY, DANELLE                        UTLEY, ELAYNA
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UTLEY, ILLYSSA                          UTLEY, KAREN                          UTLEY, TRACY
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UTOMO, PATRICIA                         UTRECHT, ADAM                         UTSCH, RACHEL
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UTSLER, CATHERINE     Case 22-11238-LSS
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UTTER, ANTHONY                       UTTER, JOSHUA                         UTTER, WARD
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UTTERBERG, CHRISTINE                 UTTON, RICHARD                        UTUPO, JOCELYN
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UTVICH, JORDAN                       UTZ, ANDREW                           UTZ, JAMIE
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UTZ, SARAH                           UTZIG, CHRIS                          UVA, NICOLE
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UWE PASCHKE                          UY, KATRINA                           UY, KYLA
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UY, MARIA                            UYEDA, JAMES                          UYEDA, TAKU
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UYENO, NATALIE                       UZAR, EMILY                           UZAR, PATTY
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UZCATEGUI, MELANIE                   UZDEJCZYK, CHRISTINE                  UZELAC, KERSTIN
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UZER, ABDULLAH OZGUN                 UZER, ABDULLAH                        UZETA, ERIC
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UZLIK, SARAH          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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V CANNISTRARO, DANIEL                V STAR BUFFET                         V SUAREZ & CO INC.
ADDRESS AVAILABLE UPON REQUEST       1451 S BWY                            INDUSTRIAL LUCHETTI 300 CARRETERA 5
                                     SANTA MARIA, CA 93454                 BAYAMON, PR 00961




V WILLS, JASMINE                     V, ANNE                               V, REGINA
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VA ALCOHOLIC BEVERAGE CONTROL        VA DEPT OF TAXATION                   VACA, SKARLETT
AUTHORITY                            1957 WESTMORELAND ST                  ADDRESS AVAILABLE UPON REQUEST
7450 FREIGHT WAY                     RICHMOND, VA 23230
MECHANICSVILLE, VA 23116




VACANTI, ALLISON                     VACCA, HILLARY                        VACCA, KARA
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VACCA, MELISSA                       VACCARELLA, ROBERTO                   VACCARELLI, KATIE ANN
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VACCARO, BRENDA                      VACCARO, JENNA                        VACCARO, KATIE
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VACCARO, LAUREN                      VACCARO, PATRICIA                     VACEK, KARI
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VACEK, KASEY                         VACHE, MAXWELL                        VACHRIS, ALISON
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VADAKAN, PAMELA                      VADALA, KATHLEEN                      VADASSERRIL, MELISSA
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VADEN, JORDON                        VADER, ALEXANDRA                      VADILLO, LAURA
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VADNAIS, STEVE                       VADNEY, MARY                          VAERNES, CAMILLA
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VAETH, JIMMY                         VAETH, SARAH                          VAFIADIS, ALISSA
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VAFIADIS, NOEL                       VAGEN, GWEN                           VAGNER, ANNA
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VAHEY, PATRICK                       VAHIDI, SAEID                         VAIBHAV JAIN
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VAIDYA, MEERA                        VAIDYA, PARTH                         VAIDYA, ROHAN
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VAIL, ABIGAIL                        VAIL, ALLIE                           VAIL, ANDREW
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VAIL, ANNETTE                        VAIL, JAIME                           VAIL, JAN
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VAIL, SARAH                          VAIL, STEVE                           VAILLANCOURT, KASEY
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VAILLANCOURT, RYAN    Case 22-11238-LSS     Doc
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                                                                           VAILS, BROOKE
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VAILS, KELLY                         VAIL-STENCEL, JENNY                   VAINBLAT, ERIN
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VAIO, KRISTINA                       VAISH, ESHA                           VAISHAMPAYAN, ADITYA
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VAITKUS, NEDAS                       VAITSI, MELPOMENI                     VAITUKAITIS, LAUREN
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VAJDA, ALLISON                       VAKARELSKA, DIANA                     VAKILZADEH, JADE
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VAKSER, VLAD                         VALACE, MARILYN                       VALACHOVIC, ALYSSA
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VALADEZ, JESLYN                      VALADEZ, JULIA                        VALADEZ, LINDA
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VALADEZ, MIGUEL                      VALADEZ, RAY                          VALADEZ, SIDNEY
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VALADEZ, VICTORIA                    VALADEZ, YADIRA                       VALADO, ED
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VALANCE, KELSEA                      VALANE, JEFF                          VALANJU, ABHISHEK
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VALAVANIS, GEORGE                    VALBUENA, GREENY                       VALCARCEL, TONY
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VALCHAR, NATE                        VALCIN, GERALDA                        VALCOURT, EMILY
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VALDERRAMA, ALEXANDRA                VALDERRAMA, MARXIS                     VALDES, ALLISON
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VALDES, ASHLEY                       VALDES, BETH                           VALDES, CAMILLA
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VALDES, CARMEN                       VALDES, CHRISTINA                      VALDES, EDUARDO
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VALDES, EMILY                        VALDES, JACQUELINE                     VALDES, JESSICA
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VALDES, JULIA                        VALDES, LEON                           VALDES, LUIS
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VALDES, MARISOL                      VALDES, ORLANDO                        VALDES, RICARDO
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VALDES, ROBERT                       VALDES, SAMANTHA                       VALDES, SUSANNA
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VALDEZ, ALEXA         Case 22-11238-LSS
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VALDEZ, ELAINE                       VALDEZ, EMILY                          VALDEZ, EMILY
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VALDEZ, FRANCELA                     VALDEZ, GINA                           VALDEZ, JENNY
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VALDEZ, LUCIEN                       VALDEZ, LUIS                           VALDEZ, LYNDSIE
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VALDEZ, MARIA                        VALDEZ, MARTHA                         VALDEZ, MELECIA
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VALDEZ, MONICA                       VALDEZ, MONICA                         VALDEZ, NANCY
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VALDEZ, PABLO                        VALDEZ, PATRICK                        VALDEZ, RONNEE
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VALDEZ, SOPHIA                       VALDEZZ, DENISE                        VALDILLEZ, KALVIN
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VALDINA, ALAINA                      VALDINI-HERMAN, SUSAN                  VALDISERA, JANICE
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VALDIVIA, A                          VALDIVIA, CRISTIAN                     VALDIVIA, JACQUI
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VALDIVIA, RUBY                       VALDIVIA, TERESA                      VALDIVIESO, WENDY
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VALDOVINOS, KAREN                    VALDOVINOS, KAREN                     VALDRIGHI, CHARLES
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VALE, ELISABETH                      VALECHA, LEENA                        VALEHHZU, BENYAH
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VALEK, SAUNDRA                       VALENCI, JESUS                        VALENCIA TIBBITTS, CORINA
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VALENCIA, ALEXANDRA                  VALENCIA, ANDREW                      VALENCIA, ANTHONELLA
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VALENCIA, ARLENE                     VALENCIA, BIANCA                      VALENCIA, BRITTNEY
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VALENCIA, BRYN                       VALENCIA, CONNIE                      VALENCIA, EMILY
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VALENCIA, JOHNNY                     VALENCIA, KARLA                       VALENCIA, KIMBERLY
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VALENCIA, MICHELLE                   VALENCIA, NICO                        VALENCIA, PATRICIA
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VALENCIA, ROCIO       Case 22-11238-LSS    Doc
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                                                                           VALENCIA, STEPHANIE
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VALENCIANO, HEAVEN                   VALENCIC, ANTHONY                      VALENS, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VALENTA, AILEEN                      VALENTA, ROSE                          VALENTE, ASHLEY
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VALENTE, CYNTHIA                     VALENTE, ELIZABETH                     VALENTE, ERIN
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VALENTE, JENNIFER                    VALENTE, LAUREN                        VALENTE, MICHAEL
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VALENTI HUFF, DARBIE                 VALENTI, CHRISTINE                     VALENTI, JANET
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VALENTI, NATALIE                     VALENTI, NEISSA                        VALENTI, STEPHANIE
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VALENTIM, MARIE                      VALENTIN, DESIRAE                      VALENTIN, LETIZIA
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VALENTIN, LINDSEY                    VALENTIN, LOUE                         VALENTIN, MARCELLIS
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VALENTIN, MARIA                      VALENTIN, MARIBEL                      VALENTIN, MIKE
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VALENTIN, PATRICIA    Case 22-11238-LSS     Doc
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VALENTIN, SHANICA                    VALENTIN, STEPHEN                      VALENTIN, TAYLOR
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VALENTINA HARPER                     VALENTINA SHERSHNEVSKY                 VALENTINE, AMY
1020 BATTLEFIELD DR                  ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
NASHVILLE, TN 37204




VALENTINE, ANGELA                    VALENTINE, CAITLIN                     VALENTINE, CAROL
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VALENTINE, DEBBIE                    VALENTINE, ELLA                        VALENTINE, ERICA
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VALENTINE, GABRIELLA                 VALENTINE, JEN                         VALENTINE, JIM
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VALENTINE, KALEN                     VALENTINE, MARILYN                     VALENTINE, MICHELLE
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VALENTINE, NICK                      VALENTINO, DANIELLE                    VALENTINO, JENNIFER
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VALENTINO, KRISTEN                   VALENTINO, MICHAEL                     VALENTINO, REBECCA
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VALENTINO, SARA                      VALENTOUR, LEONA                       VALENTY, CASEY
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VALENZANO, GISELLE    Case 22-11238-LSS     Doc ROBERT
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                                                                           VALENZUELA, AMBER
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VALENZUELA, ANTHONY                  VALENZUELA, BRADLY                    VALENZUELA, JACQUELYN
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VALENZUELA, JULIA                    VALENZUELA, LA VIDA                   VALENZUELA, LINDA
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VALENZUELA, LORENA                   VALENZUELA, MARIA                     VALENZUELA, NIKOLAS
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VALENZUELA, PATTY                    VALENZUELA, RAQUEL                    VALERI, JACINTA
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VALERI, JONATHAN                     VALERIA GAIL COLLIER-VICK             VALERIAN, MAGDA
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VALERIE ANN RITACCO                  VALERIE BORDELON                      VALERIE COLQUITT
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VALERIE DANA TARANGELO               VALERIE DUVAL                         VALERIE ELLS
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VALERIE MELENDEZ                     VALERIE NAZIMEK                       VALERIE QUERNS
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VALERIE RENEE CLOUD                  VALERIE SAENZ                         VALERIE SEMERAN
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VALERIE WARD          Case 22-11238-LSS
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VALERIO, ASHLEY                      VALERIO, BEN                             VALERIO, CARLOS
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VALERIO, CHRISTINA                   VALERIO, EMIL                            VALERIO, JESSICA
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VALERIUS, ADELE                      VALERO DE NAVARRO, LILIANA               VALERO, MICHAEL
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VALEROS, RUDEMIL                     VALERY PARHAM                            VALERY SEPULVEDA WELCKER
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VALERY, BRANDON                      VALET                                    VALEZ JR, PEDRO
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VALHUERDI, CAMELIA                   VALIENTE, CELESTINA                      VALIENTE, DALIA
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VALIENTE, ERICA                      VALIM, JAIME                             VALIM, ROSEMARIE
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VALIN, JESSICA                       VALINO, PATRICIA                         VALINSKY, NATALIA
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VALIOTIS, CHRISTINA                  VALIPLACKAL, DREXELL                     VALJEE, SHRUTI
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VALLADARES, ROLANDO                  VALLAIRE, KIM                          VALLALA, VEDO
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VALLARTA, KATHLEEN                   VALLASTER, ANDREW                      VALLAT, BRYANT
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VALLDEJULI, GIOVANNI                 VALLE, ANA                             VALLE, CHARLENE
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VALLE, MATTHEW                       VALLE, MAYRA                           VALLE, ROXY
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VALLE, SUMMER                        VALLE, TANIA                           VALLE, VIVIEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VALLEAU, ANTHONY                     VALLEAU, KIMBERLY                      VALLEAU, PETER
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VALLEE, CAITLIN                      VALLEE, CHRISTINE                      VALLEE, CONNIE
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VALLEE, PASCALE                      VALLEJO, ANNA                          VALLEJO, CHANEL
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VALLEJO, CLAUDIA                     VALLEJO-RODRIGUEZ, DENISE              VALLEJOS, JOEL
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VALLELONG, LAUREN     Case 22-11238-LSS     Doc
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                                                                             VALLENARI, KARA
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VALLER, MEAGHAN                      VALLEROY, MELODY                         VALLES, BETSY
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VALLES, JESSICA                      VALLES, VIANEY                           VALLESE, MARIA
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VALLESE, MICHAEL                     VALLEY BREWERS                           VALLEY FORGE INSURANCE COMPANY
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                                                                              BALA CYNWYD, PA 19004




VALLEY, HEATHER                      VALLEY, JANE                             VALLEY, JORDAN
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VALLEY, MADELEINE                    VALLEY, SHARI                            VALLICROSA, HELENA
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VALLIE GERL                          VALLINA, JORGE E                         VALLO, MICHELLE
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VALLONE, DANIELLE                    VALLONE, LENNY                           VALLOPPILLIL, SINDHYA
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VALLOSIO, ERICA                      VALLS, NICOLE                            VALLUZZO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VALME, MARGOT                        VALOIS, DIANE                            VALONE JR, KENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
VALOR INTL            Case 22-11238-LSS       Doc 2 Filed 11/30/22
                                      VALORITALIA                     Page 5068
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ADDRESS UNAVAILABLE AT TIME OF FILING VIA PIAVE 24 00187                   ADDRESS AVAILABLE UPON REQUEST
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                                      ITALY




VALPAK DIRECT MARKETING SYSTEMS      VALREE, LENI                          VALTIERRA, ABBY
805 EXECUTIVE CENTER DR W, STE 100   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ST. PETERSBURG, FL 33702




VALTIERRA, AVIANA                    VALUSDIRECT, LLC                      VALVANO, JESSICA
ADDRESS AVAILABLE UPON REQUEST       855 VILLAGE CENTER DRIVE NORTH        ADDRESS AVAILABLE UPON REQUEST
                                     OAKS, MN 55127




VALVERDE, ROBINSON                   VALVERDE, YESENIA                     VALVERI, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VALVO, EMILY                         VALZANIA, MICHAEL                     VAMBURKAR, MEENAL
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VAMSI KRISHNA GADDIPATI              VAN ACKER, WIM                        VAN ALLEN, CAMERON
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VAN ALSTEN, LAURA                    VAN AMAN, MIKE                        VAN ANDEN, JENNIFER
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VAN ANTWERP, COURTNEY                VAN AUKEN, KIAH                       VAN BATAVIA, STEPHANIE
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VAN BEEK, DEVON                      VAN BERGH, CARLI                      VAN BERGH, VERA
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VAN BERKEL (OSULLIVAN), TAMERA       VAN BEUSICHEM, BILL                   VAN BEVEREN, HEIDI
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VAN BRACKEL, HEATHER Case 22-11238-LSS    Doc 2 MARK
                                    VAN BROCKLIN,   Filed 11/30/22    Page 5069  of 5495 RENE
                                                                           VAN BRONKHORST,
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VAN BRUNT, OLIVIA                    VAN BRUNT, ROB                        VAN BUREN, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAN BUREN, KATIE                     VAN BUREN, MCKENZIE                   VAN BUSKIRK, DOUGLAS
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VAN CAMP, JAMIE                      VAN CAMP, LAURA                       VAN CISE, LARA
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VAN CLEAVE, MARK                     VAN CLEVE, MARGARET                   VAN DAALEN WETTERS, SARAH
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VAN DAM, KATIE                       VAN DAMME, AMANDA                     VAN DECKER, KYLE
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VAN DEE, JOYCE                       VAN DEN AARSSEN, AMY                  VAN DEN AVOND, MARY
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VAN DEN BOSCH, ASHLEY                VAN DEN BOSCH, MICHAEL                VAN DEN BROEKE, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAN DEN HENDE, JULIA                 VAN DEN HOUT, SARAH                   VAN DER HILST, EMILE
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VAN DER HORST, MORGAN                VAN DER KLOOT, NIELS                  VAN DER LAAN, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                      Case 22-11238-LSS
VAN DER MERWE, CHRISTINA             VAN DERDoc  2 EMMETT
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VAN DER WALT, SELENE                 VAN DER WESTHUIZEN, GERT               VAN DER WURFF, MARCEL
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VAN DEURSEN, JILLIAN                 VAN DEURSEN, TARAH                     VAN DEVENDER, ANNA
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VAN DIJK, ESTHER                     VAN DINE, AMI                          VAN DOMELEN, JESSICA
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VAN DONGEN, MALLORY                  VAN DOREN, LEDA & VINCENT              VAN DRIEL, JAY
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VAN DUYNE, ARTHINE                   VAN DUYNE, CRISTINA                    VAN DYKE, KAYTLEN
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VAN EDEMA, ASHLEY                    VAN EPPS, KRISTIN                      VAN ESS, CORNELIUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN ESS, DAYLE                       VAN ESS, EDEN                          VAN ETTEN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN EVIN POWELL                      VAN EYCK, CAROLINE                     VAN FLEET, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN FOSSEN, RACHAEL                  VAN GAASBECK, RICHARD                  VAN GELDER, MARCUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VAN GORDER, TRESA     Case 22-11238-LSS    Doc 2 CHERYL
                                     VAN GRUNSVEN,   Filed 11/30/22   Page 5071  of 5495
                                                                           VAN HALL, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN HALSEMA, EMMA                    VAN HANDEL, ABBEY                      VAN HART, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN HEE, NATALIE                     VAN HEEL, KASI                         VAN HERSETT, DAVID
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VAN HOEK, LIZ                        VAN HOFF, KRYSTAL                      VAN HOLST PELLEKAAN, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN HOOK, KELSEY                     VAN HOOSER, SUSAN                      VAN HORN, AVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN HORN, DUANE                      VAN HORN, KAYDEN                       VAN HORN, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN HORN, SETH                       VAN HORN, VINCENT                      VAN HOUSEN, KELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN HOUT, LAMBERT                    VAN HOUTEN, CASSIDY                    VAN HOUTEN, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN HUBEN, CHRISTOPHER               VAN K THARP                            VAN KAMPEN, DERREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN KAMPEN, TANYA                    VAN KIRK, JOSEPH                       VAN KLOMPENBERG, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VAN LAAR, AMANDA      Case 22-11238-LSS     Doc 2DENISE
                                     VAN LEEMPUT,    Filed 11/30/22   Page 5072  of 5495
                                                                           VAN LENTEN, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN LONE, SARAH                      VAN LOON, TERRI                        VAN LOOZEN, CORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN LOVEREN VINEYARDS PTY LTD        VAN LUE, STEPHANIE                     VAN LUYK, CAITLIN
P.O. BOX 19                          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
R317 BETWEEN ROBERTSON AND
BONNIEVALE KLAASVOOGDS
WESTERN CAPE 6706
SOUTH AFRICA

VAN MALE, NICHOLAS                   VAN METER, DARCI                       VAN METER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN METER, EMILY                     VAN METER, JENNIFER                    VAN METER, LINSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN METER, TIMOTHY                   VAN MIEGHEM, JOHN                      VAN NESS, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN NESTE, GARRETT                   VAN NIEULANDE, ERIN                    VAN NIEUWENHUIZE, BRIAN
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VAN NOORT, HILARY                    VAN NORTWICK, MAGGIE                   VAN NOSTRAN, ABBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN NOSTRAND, DONALD                 VAN NOSTRAND, SARAH                    VAN NOTE, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN NULAND, JESS                     VAN NUTT, DIANA                        VAN OLLEFEN, DALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VAN OOYEN, ALEXIS     Case 22-11238-LSS    Doc
                                     VAN ORNE,   2 Filed 11/30/22
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                                                                           VAN PATTEN, LATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN PELT, ASHLEY                     VAN PELT, DEBORAH                      VAN PELT, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN PELT, STEFANIE                   VAN POLEN, JEFF                        VAN RENSBURG, ELISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN RENSBURG, SHAUN                  VAN ROEKEL, REBECCA                    VAN ROOYEN, ALONYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN SANDT, JEANNINE                  VAN SANT, KRISTIN                      VAN SAUN, ATLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN SCHAACK, ALLI                    VAN SCOTT, JULIE                       VAN SCYOC, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN SEVENTER, SOPHIE                 VAN SICKEL, ANGELA                     VAN SICKLE, JAMIE
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VAN SKYHAWK, WENDY                   VAN SLYKE, HEATHER                     VAN SLYKE, KRISTEN
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VAN SPANKEREN, GRAICE                VAN SPRANG, DIANE                      VAN STEEN, FRANS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN STEENBERG, MONICA                VAN STEENWYK, HALEY                    VAN STIPHOUT, YVONNE
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VAN STOCKUM, CASSANDRACase 22-11238-LSS     Doc 2 KATE
                                     VAN STRATTON,   Filed 11/30/22   Page 5074  of 5495
                                                                           VAN TASSEL, GABRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN THOURNOUT, MEGHAN                VAN TILBURG, KRISTEN                   VAN TOL, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN TONDER, JACQUES                  VAN VACTOR, ERIN                       VAN VLIET, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN VLIET, JOHN                      VAN VONDEREN, LORI                     VAN VOORHIS, GRETCHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN WAGNER, REID                     VAN WAIJENBURG, MARLOUS                VAN WECHEL, LYNNDEL
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VAN WEST, KATELYN                    VAN WIE, ANDREA                        VAN WINKLE, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN WINKLE, PETER OR EMMA            VAN WINKLE, TRISHA                     VAN WINKLE, TSCHARNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN WOERKOM, MINDY                   VAN WORMER, ALIX                       VAN WORMER, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN WORMER, GREG                     VAN ZANT, KATRINA                      VAN ZANT, STACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAN ZEELAND, STEVEN                  VAN ZEYL, BIANCA                       VAN ZYL, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VAN, ABIGAIL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VAN, BETH                        Page 5075   of 5495
                                                                           VAN, BRANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAN, BRENT                           VAN, BRIDGET                          VAN, BRIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAN, CATHERINE                       VAN, DEDEANNA                         VAN, DOUGLAS
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VAN, ELIZABETH                       VAN, GAIL                             VAN, GRETCHEN
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VAN, HEATHER                         VAN, JESSICA                          VAN, JOHN
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VAN, JORDANNE                        VAN, KIMBERLY                         VAN, LALIQUE
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VAN, LAUREN                          VAN, LINDA                            VAN, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAN, LORI                            VAN, MICOLE                           VAN, PAIGE
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VAN, PATRICIA                        VAN, REBECCA                          VAN, RON
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VAN, RUTGER                          VAN, TAYLER                           VAN, TINA
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VAN, TONYA            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VAN, VALERIE                        Page 5076   of 5495
                                                                              VANA, KARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VANADORE, JASMINE                       VANAGS, NATHAN                        VANALLEN, JORDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANAMCO.COM                             VANARSDALE, JAMMIE                    VANARSDALE, SHERYL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANAUSDAL, KRISTIN                      VANBEMDEN, CRISTINA                   VANBIBBER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANBLARICON, TARA                       VANBUSKIRK, ALICIA                    VANBUSKIRK, ALISHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANBUSKIRK, BONNIE                      VANBUSKIRK, COURTNEY                  VANCE JR, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANCE, ANDREW                           VANCE, ARIANNE                        VANCE, BRITTANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANCE, CONNIE                           VANCE, DIANA                          VANCE, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANCE, EMILY                            VANCE, GABRIELLE                      VANCE, KATIE
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VANCE, KRIZIA                           VANCE, LARRY                          VANCE, LEAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VANCE, MELISE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VANCE, PENNY                     Page 5077
                                                                           VANCE,of 5495
                                                                                 REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANCE, RENEE                         VANCIEL, MELANIE                      VANCLEAVE, JOLIE
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VANCLEVE, ARLEEN                     VANCLEVE, PAUL                        VANCURA, KRYSTLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANDAHLEN, GRACIE                    VANDAL, GLADYS                        VANDAM, THERESE
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VANDANA KULKARNI                     VANDE HEI, SCOTT                      VANDE VREDE, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANDE, KYLEE                         VANDEBURG, CHRISTY                    VANDEGRIFT, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANDEHOEF, CYNDI                     VANDELINDER, TERESA                   VANDEN BERG, GRETCHEN
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VANDEN BOSCH, MINDI                  VANDEN HEUVEL, MICHAEL                VANDENBERG, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANDENBERG, HEIDI                    VANDENBERG, KELLY                     VANDENBERG, RHEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANDENBERGHE, LAUREN                 VANDENBOSCH, JAMES                    VANDENDRIESSCHE, CARLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VANDENDYSSEL, KAMI    Case 22-11238-LSS
                                     VANDERDoc  2 JANE
                                           BROOK,    Filed 11/30/22   Page 5078
                                                                           VANDERofLAAN,
                                                                                    5495 BOBINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANDER MEULEN, ERIN                  VANDER PLAATS, JEN                     VANDER STELT, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANDER VLIET, TAMERA                 VANDER VORST, MYR                      VANDER WIELE, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANDER, JENNA                        VANDER, MELISSA                        VANDERBERRY, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANDERBILT MATHEWS, MARIE            VANDERBILT, CHRISTA                    VANDERBLOOMEN, TAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANDERBOEGH, LORI                    VANDERBOOM, KALEA                      VANDERBURG, KIJANNA
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VANDERBURG, SUSAN                    VANDERBUSH, KYLE                       VANDERGRIFT, VICTORIA
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VANDERHAGEN, HEIDI                   VANDER-HEYDEN, SABIA                   VANDERHOEF, KIMBERLY
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VANDERHOEF, LILY                     VANDERHOFF, JENNIFER                   VANDERHOFF, NICHOLE
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VANDERHOOF, EMILY                    VANDERHOUWEN, KANDACE                  VANDERLAN, BECKY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VANDERLIP, TARA       Case 22-11238-LSS    Doc 2MICHELLE
                                     VANDERMAAS,     Filed 11/30/22   Page 5079 of 5495HILLARY
                                                                           VANDERMOLEN,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANDERPLOEG, ANGELA                  VANDERPLUIJM, ROBERT                  VANDERPOOL, ARTIE
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VANDERPOOL, DUSTIN                   VANDERPOOL, TERESA                    VANDERSLICE, MAUREEN
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VANDERSNICK, CINDY                   VANDERSNICK, MEGAN                    VANDERSTAY, NATHALIE
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VANDERVEEN, ANNELIES                 VANDERVEEN, BRITTANY                  VANDERVEEN, KASEY
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VANDERVEEN, LIESEL                   VANDERVEEN, SARAH                     VANDERVEER, CASEY
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VANDERVORT, DOTT                     VANDERVORT, KONNER                    VANDERVORT, WILLA
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VANDERWALKER, KIM                    VANDERWALL, KYLE                      VANDERWALL, RACHEL
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VANDERWALL, REBECCA                  VANDERWARF, SCOTT                     VANDERWERKER, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANDERWIERE, CONNIE                  VANDERWOUDE, CHELSEA                  VANDERWOUDE, JANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VANDERWOUDE, MONICA Case 22-11238-LSS    DocBRITTNEY
                                   VANDERZEE, 2 Filed 11/30/22         Page 5080 of 5495CHRISTINE
                                                                            VANDERZYDEN,
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VANDETTA, AJ                        VANDEVELDE, KAILIN                      VANDEVEN, KRISTIN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VANDEVENTER, JAMESD                 VANDEVENTER, ROBERTA                    VANDEVENTER, TAMI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VANDEVENTER, WENDY                  VANDEWARK, AURORA                       VANDEWATER, LAUREN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VANDIVER, KAREN                     VANDIVER, MERRILY                       VANDIVER, ROSE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VANDIVERE, CHRISTINA                VANDIVERT, EMILY                        VANDRILLA, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VANDUYN, AMY                        VANDYGRIFF, VICKY                       VANECEK, TERENCE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VANEGAS, CRISTIAN                   VANEGMOND, JILL                         VANEPPS, JANET
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VANEPS, MIKKI                       VANESSA BENNETT                         VANESSA C GRUBER
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VANESSA HELENE KRYSTEK              VANESSA KROMBEEN (DBA THE CHEEKY        VANESSA PRICE
ADDRESS AVAILABLE UPON REQUEST      BEEN, LLC)                              ADDRESS AVAILABLE UPON REQUEST
                                    3218 MAYMONT PLACE
                                    CHARLOTTE, NC 28205
VANESSA RAMOS         Case 22-11238-LSS    Doc
                                     VANESSA    2 Filed 11/30/22
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                                                                           VANESSA 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANESSA, PACHECO,                    VANETTI, BRIDGET                      VANFOSSEN, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANFOSSEN, KENNETH                   VANG, GAODOV                          VANG, HUSHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANG, JULIE                          VANG, NOUCHEE                         VANG, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANG, TONY                           VANGAASBEEK, JON                      VANGALA, MADHURI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANGE, CASEY                         VANGEL, AMY                           VANGEL, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANGELS, STEPHANIE                   VANGEN, AMBER                         VANGIERI, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANGIESEN, NICOLE                    VANGILDER, CAROLINA                   VANGO GRAPHICS, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1371 S. INCA. ST.
                                                                           DENVER, CO 80223




VANGOETHEM, KATELYN                  VANGORDER, ROBIN                      VANGRINSVEN, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANGUARD MARKETING CORP (0062)       VANHAERENTS, ERICA                    VANHEEST, CAROL
ATTN BEN BEGUIN OR PROXY MGR         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
14321 N. NORTHSIGHT BLVD
SCOTTSDALE, AZ 85260
VANHOECKE, CHELSEA    Case 22-11238-LSS    Doc VALERIE
                                     VANHOESEN, 2 Filed 11/30/22      Page 5082 of 5495
                                                                           VANHOEVE, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANHOOSER, TARA                      VANHORN, DAVID AND VICTORIA           VANHORN, GERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANHORN, LUCINDA                     VANHORNE, CLEIDE                      VANHUIS, BALEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANISCHAK, SUSAN                     VANKAT, MICHELLE                      VANKIRK, HEATH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANKIRK, SHANNON                     VANKLEY, BRANDON                      VANLANDINGHAM, KATHARINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANLANDINGHAM, SARAH                 VANLANDINGHAM, SARAH                  VANLEER, JODI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANLIGTEN, DENA                      VAN-LOW, RYAN                         VANLUVEN, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANMOORLEGHEM, KARIN                 VANN BEAN, KAITLYN                    VANN, EDDIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANN, KARRIE                         VANN, KIMBERLY                        VANN, NICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VANN, VICTORIA                       VANNATTA, SEAN                        VANNATTA, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VANNESS, MARISA       Case 22-11238-LSS    Doc
                                     VANNETTA,   2 Filed 11/30/22
                                               JENNIFER               Page 5083   of 5495
                                                                           VANNI, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANNONI, GREG                        VANNORMAN, SUZANNE                     VANNOSTRAND, JILLIAN
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VANNUCK, KATIE                       VANOHLEN, ALEXIE                       VANOPDORP, MELANIE
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VANORE, JENNIFER                     VANORMAN, AMY                          VANORTWICK, SHANNON
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VANOUDENHAEGEN, AMY                  VANOURNEY, JESSICA                     VANPARREREN, SUZANNE
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VANPELT, DENI                        VANPELT, JULIE                         VANPELT, MEGAN
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VANRIEL, CHRISTIAN                   VANRIPER, TREVOR                       VANROO, SHELBY
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VANROYCE, SARAH                      VANSANDT, HANNAH                       VANSANT, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANSANT, JULIE                       VANSCHELVEN, MICHELLE                  VANSCHOIACK, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANSCHOICK, VICTORIA                 VANSICKEL, ALYSSA                      VANSICKLE, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VANSICKLE, SAM        Case 22-11238-LSS    Doc
                                     VANSLEET,   2 Filed 11/30/22
                                               KATHLEEN               Page 5084  of 5495
                                                                           VANSNICK, ADALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANSTEENKISTE, DANIELLA              VANSTORY, KRISTIN                      VANSUCH, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANTAGE FBO EDWARD C FRIEBERG        VANTAGE POINT ADVISORS, INC.           VANTINE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       11455 EL CAMINO REAL, STE 450          ADDRESS AVAILABLE UPON REQUEST
                                     SAN DIEGO, CA 92130




VANVALKENBURG, KALEY                 VANVALKENBURGH, LAURA                  VANVLEET, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANVOORHEES, CAILEIGH                VANWAGONER, EMILY                      VANWART, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANWIE, TALITHA                      VANWIJK, DAN                           VANWINGERDEN, AMY
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VANWINGERDEN, KAYLIE                 VANWINGERDEN, NORA                     VANWORMER, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VANZANDT, KYLE                       VANZUYLEN, RYAN                        VANZYL, ADRIAAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAQUERANO, DIANE                     VARA, JEREMY                           VARA, MOLLY
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VARA, ROSY                           VARABKANICH, MATTHEW                   VARANO, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VARANO, SARA          Case 22-11238-LSS
                                     VARAO, Doc 2 Filed 11/30/22
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                                                                           VARBEL, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARBERG, HEIDI                       VARCE, AMY                            VARCOE, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARDA, TYLER                         VARDAMAN, BECKY                       VARDARO, JULIE
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VARDHE, DIPEN                        VARDI, ORI                            VARELA, CHELSEY
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VARELA, FRANCESCA                    VARELA, JESSIKA                       VARELA, LAURA
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VARELA, LESLIE                       VARELA, MARY                          VARELA, PAMELA
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VARELA, SANDRA                       VARELLA, ROXANA                       VARGA, CHELSIE
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VARGA, CHRISTOPHER                   VARGA, TERRI                          VARGAS CAMPUZANO, NATALIA
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VARGAS MARTORELLET, ALVARO LUIS      VARGAS, ADRIANA                       VARGAS, ALAINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARGAS, AMRAH                        VARGAS, ANGELA                        VARGAS, AUDREY
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VARGAS, CLAUDIA       Case 22-11238-LSS
                                     VARGAS,Doc  2 Filed 11/30/22
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                                                                           VARGAS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARGAS, DENISE                       VARGAS, FRANCISCO                     VARGAS, FRANCISCO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARGAS, GLENN                        VARGAS, GLORIA                        VARGAS, HERSON
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VARGAS, JASMINE                      VARGAS, JOELYN                        VARGAS, JUAN
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VARGAS, KAMILLE                      VARGAS, LISBETH                       VARGAS, MANDY
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VARGAS, MARIA                        VARGAS, MELINA                        VARGAS, MICHELLE
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VARGAS, MONICA                       VARGAS, MORGANA                       VARGAS, NICOLE
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VARGAS, OLGA                         VARGAS, PAMELA                        VARGAS, RENEE
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VARGAS, RENEE                        VARGAS, RICARDO                       VARGAS, ROSSY
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VARGAS, ROYLENE                      VARGAS, SERGIO                        VARGAS, STEPHANIE
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VARGAS, TAMARA        Case 22-11238-LSS
                                     VARGAS,Doc  2 Filed 11/30/22
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                                                                           VARGAS, 5495
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VARGAS, VANESSA                      VARGAS, VICTORIA                      VARGO, JULIANNE
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VARHEGYI, NIKOLE                     VARIALI, MARLENE                      VARIDESK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




VARIE, JESSICA                       VARING, TYLER                         VARIPATIS, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARJABEDIAN, LIANA                   VARJAS, EMILY                         VARKER, SHARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARKEY, CHUTEI                       VARLEY, DANIEL                        VARMA, RATHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARMA, SWAPNA                        VARMA, TANVI                          VARNAY, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARNEDOE, DANIELLE AND STEVE         VARNEDOE, SARAH                       VARNEDOE, ZACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARNER, CATHERINE                    VARNER, EMMY                          VARNER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARNER, HEATHER                      VARNER, KELSEA                        VARNER, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VARNER, MELISSA       Case 22-11238-LSS
                                     VARNER,Doc  2 Filed 11/30/22
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                                                                           VARNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARNER, VALERIE                      VARNER-SMITH, MICHELLE                VARNEY, ADRIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARNEY, ANGELA                       VARNEY, BROOKE                        VARNEY, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARNEY, KATI                         VARNSON, EILEEN                       VARON, SOPHIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARON, SOPHIE                        VARRIANO, JORDAN                      VARRIELLO, JOHN
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VARSHAVSKY, MICHAEL                  VARSHENY, ANKUR                       VARSHNEY, ANEETA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARSHNEY, NEHA                       VARTAN, GREG                          VARTANIAN, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARTANIAN, JACQUELYN                 VARUDHINI, DIVYA                      VARUN VINODKUMAR GUPTA
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VARVAK, YURI                         VARVARA, LAUREN                       VARVEL, ASHLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VARVOGLIS, ALEXANDRA                 VARYU, TERRY                          VASANTH NALAM
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VASBINDER, KARI       Case 22-11238-LSS
                                     VASCO, Doc  2 Filed 11/30/22
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                                                                           VASCONCELLOS,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASEK, PAULA                         VASHER, TIM                           VASHI, NIKUNJ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASICHEK, AMIE                       VASICHKO, PAULA                       VASILCA, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASILCA, ELIZABETH                   VASILEVA, VERA                        VASILIADIS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASILIAUSKAS, EVELINA                VASILIC, DANIEL                       VASILIOU, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASILOPOULOS, ILIA                   VASIREDDY, LEELA PRATYUSH             VASKO, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASKO, JOHN                          VASKOVIC, RAYCHEL                     VASQUEZ, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, ALEXANDRA                   VASQUEZ, ALEXANDRA                    VASQUEZ, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, ANA                         VASQUEZ, ANDREA                       VASQUEZ, ANGEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, BARBARA                     VASQUEZ, CARLOS                       VASQUEZ, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VASQUEZ, DANIEL       Case 22-11238-LSS    Doc
                                     VASQUEZ,    2 Filed 11/30/22
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                                                                           VASQUEZ, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, ELIZABETH                   VASQUEZ, ERICA                         VASQUEZ, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, GABRIELLA                   VASQUEZ, ISABELLA                      VASQUEZ, ISRAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, JAMES                       VASQUEZ, JENNIFER                      VASQUEZ, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, JOHN                        VASQUEZ, JOY                           VASQUEZ, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, LAUREN                      VASQUEZ, MARIA                         VASQUEZ, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, MELANY                      VASQUEZ, MICHELE                       VASQUEZ, MIDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, PA-C, RAQUEL                VASQUEZ, PHILIP                        VASQUEZ, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, SERAYA                      VASQUEZ, SHILOH                        VASQUEZ, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASQUEZ, TERRY                       VASQUEZ, THOMAS                        VASQUEZ-OLVERA, KARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
                       Case 22-11238-LSS
VASQUEZ-TRIMPE, PATRICIA                    Doc
                                      VASSALLO,   2 Filed 11/30/22
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                                                                            VASSALLO, JASON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASSAR, MATT                          VASSAUR, KIM                           VASSER, BRIANA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASSER, JEFF                          VASSILAS, BRENNA                       VASSILEV, LISA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASSILIO, MELISSA                     VASTA, ENRICA                          VASTANO, JOE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VASTCAST MEDIA, INC.                  VASU, JOSH                             VASUDEVA, NEIL
8820 W. RUSSELL RD., 110              ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
LAS VEGAS, NV 89148




VATANKHAH, TARA                       VATER, GREGORY                         VATH, MARNI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VATIER, SARAH                         VATTELANA, HANNAH                      VATTEROTT, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAUGHAN, AMY                          VAUGHAN, ANNA                          VAUGHAN, BILL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAUGHAN, BRADY                        VAUGHAN, DENISE                        VAUGHAN, EMILY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VAUGHAN, FREDA                        VAUGHAN, KATIE                         VAUGHAN, KELLY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VAUGHAN, KYLIE        Case 22-11238-LSS    Doc
                                     VAUGHAN,    2 Filed 11/30/22
                                              LAURA                   Page 5092 of 5495
                                                                           VAUGHAN, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGHAN, MALINDA OR JIM              VAUGHAN, MARIAH                       VAUGHAN, MARNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGHAN, MEGHAN                      VAUGHAN, MORGAN                       VAUGHAN, ROGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGHAN, SARA                        VAUGHAN, SARAH                        VAUGHAN, THERESA
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VAUGHAN, YVONNE                      VAUGHN, ALLISON                       VAUGHN, AMANDA
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VAUGHN, AMIE                         VAUGHN, ASHLEY                        VAUGHN, BRYCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGHN, CAIT                         VAUGHN, CARRIE                        VAUGHN, CHERYL
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VAUGHN, CHRISTOPHER                  VAUGHN, CODY                          VAUGHN, DEANNA
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VAUGHN, DENZIL                       VAUGHN, ELLEN                         VAUGHN, IAN
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VAUGHN, JAHNA                        VAUGHN, JENNIFER                      VAUGHN, JUANELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VAUGHN, KATELIN       Case 22-11238-LSS    Doc
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                                                                           VAUGHN, 5495
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VAUGHN, LAURA                        VAUGHN, LUCAS                         VAUGHN, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGHN, MICHAL                       VAUGHN, MIRANDA                       VAUGHN, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGHN, RACHEL                       VAUGHN, RENEE                         VAUGHN, SOPHIA
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VAUGHN, STEPHEN                      VAUGHN, TAYLOR                        VAUGHN, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGHN, VAL                          VAUGHN, WHITNEY                       VAUGHN, ZACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGHNS, LAURA                       VAUGHT, ALYSON                        VAUGHT, CALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAUGIER, AMBER                       VAUSE, ERIC                           VAVALA, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAVASIS, CINDY                       VAVERE, KATRINA                       VAVILAVA, DARYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAVRA, MAUREEN                       VAVRA, TOM                            VAVRINAK, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VAWTER, LISA          Case 22-11238-LSS    Doc
                                     VAWTER,    2 Filed 11/30/22
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                                                                                  TAL5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAYDIK, BRYN                         VAYE, SASKIA                          VAYN, LEONID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAYSBEYN, ELINA                      VAZ, MARY                             VAZ, RAYMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAZIR, MOHIT                         VAZIRI, MASSOUD                       VAZQUEZ CANAS, INGRID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAZQUEZ, ALICIA                      VAZQUEZ, AMY                          VAZQUEZ, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAZQUEZ, ARNULFO                     VAZQUEZ, BETHANY                      VAZQUEZ, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAZQUEZ, DAN                         VAZQUEZ, ELIZABETH                    VAZQUEZ, ENRIQUE
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VAZQUEZ, FARRAH                      VAZQUEZ, GABRIEL                      VAZQUEZ, ILIANA
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VAZQUEZ, JOCELYN                     VAZQUEZ, KATIE                        VAZQUEZ, KRISTEN
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VAZQUEZ, MARILYN                     VAZQUEZ, RAMON                        VAZQUEZ, REBEKAH
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VAZQUEZ, RICARDO      Case 22-11238-LSS    Doc
                                     VAZQUEZ,    2 Filed 11/30/22
                                              SALOME                  Page 5095 of 5495SAMUEL
                                                                           VAZQUEZ-MILAN,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VAZQUEZ-TREJO, VALERIA               VB, TITA                              VEACH, JUDITH
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VEACH, REBEKAH                       VEAL, CHRISTINE                       VEAL, MACKENZIE
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VEAL, TAYLOR                         VEALE, SHANEKA                        VEALS, JOHNICE
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VEASEY, EVELYN                       VEASEY, LEE                           VEASLEY, HENRY
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VEASY, ERIN                          VEATCH, CHARLES                       VEAZEY, COURTNEY
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VEAZEY, SERENA                       VEAZIE, CAROLINE                      VEBBER, ELLEN
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VECCHIO, BRITTANY                    VECCHIO, DANETTE                      VECCHIO, GAYLE
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VECCHIONE, CASSIE                    VECCHIONE, LEAH                       VECCIA, CAROLYN
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VECERA, JESSICA                      VECERE, GINA                          VECKMAN, LANIE
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VEDDER, LORI          Case 22-11238-LSS
                                     VEDDER,Doc 2 Filed 11/30/22
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                                                                           VEDDER, 5495
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VEDHEREY, NIHARIKA                   VEDIS, CAMARIE                        VEDRENNE, ALEXANDRA
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VEDUCCIO, ERIKA                      VEEAN, SOHINI                         VEENENDAAL, JACLYN
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VEENINGEN, DAAN                      VEER, MAGGIE                          VEERARAGHAVAN VENKATACHALAM
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VEEVERS, PAUL                        VEG OUT MEDIA LLC                     VEGA, ALEJANDRA
ADDRESS AVAILABLE UPON REQUEST       90 VANTIS DR 4033                     ADDRESS AVAILABLE UPON REQUEST
                                     ALISO VIEJO, CA 92656




VEGA, AMANDA                         VEGA, ASHLEY                          VEGA, BETTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VEGA, CRISTINA                       VEGA, CRYSTAL                         VEGA, EVA
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VEGA, GABRIELA                       VEGA, JOHNSON                         VEGA, JOSE MANUEL
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VEGA, JUAN                           VEGA, JUANITA                         VEGA, KATHIA
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VEGA, KRISTY                         VEGA, LUIS                            VEGA, MARIANA
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VEGA, MARTHA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VEGA, MAYRA                      Page 5097  of 5495
                                                                           VEGA, MELISSA
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VEGA, MICHAEL                        VEGA, PABLO                           VEGA, RACHAEL
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VEGA, VANESSA                        VEGA, VIRGINIA                        VEGA, YOLANDA
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VEGA-ROSAS, ALEJANDRA                VEGAS, MARIA                          VEGA-VIDALES, MARIA
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VEHSLAGE, SHELBY                     VEID, AMY                             VEIGA, BIANCA
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VEIGELT, ASHLEY                      VEILLION, MEAGAN                      VEIRAM, VINCE
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VEIRS, JAMIE                         VEIT, KATIE                           VEIT, SHELBY
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VEITH, MCKENZIE                      VEITIA, REBEKAH                       VEJAR, NIKKI
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VEJARANO, DAVID                      VELA, AMANDA                          VELA, BENJAMIN
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VELA, CATHY                          VELA, ELIZABETH                       VELA, ROMEO
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VELA, SHELBY          Case 22-11238-LSS    Doc SANDHYA
                                     VELAGAPUDI, 2 Filed 11/30/22     Page 5098  of ANNA
                                                                           VELARDE, 5495
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VELARDE, DANIELLE                    VELARDE, SARA                         VELARDO, CARI
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VELASCO, ANDREA                      VELASCO, APRIL                        VELASCO, BETHANY
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VELASCO, CARLOS                      VELASCO, DAVID                        VELASCO, EDMUND
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VELASCO, KRYSTYNA                    VELASQUEZ BANEGAS, NADIA              VELASQUEZ, ALVARO
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VELASQUEZ, ASHLEE                    VELASQUEZ, BRITTANY                   VELASQUEZ, CAROLINA
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VELASQUEZ, CHRISTIAN                 VELASQUEZ, CHRISTINA                  VELASQUEZ, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VELASQUEZ, EVA                       VELASQUEZ, FATIMA                     VELASQUEZ, IRIS
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VELASQUEZ, LEXY                      VELASQUEZ, LUCAS                      VELASQUEZ, LUIS
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VELASQUEZ, MAGGIE                    VELASQUEZ, MARISA                     VELASQUEZ, MELISSA
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VELASQUEZ, NATHALIA   Case 22-11238-LSS    DocRITA
                                     VELASQUEZ, 2 Filed 11/30/22      Page 5099  of 5495
                                                                           VELASQUEZ, RODRIGO
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VELASQUEZ, ROZANA                    VELASQUEZ, RYAN                       VELASQUEZ, SARA
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VELASQUEZ, XAVIER                    VELATI, ASHLEY                        VELAYO, CARLO
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VELAZCO, ADNER                       VELAZCO, VALERIE                      VELAZQUEZ, ALFREDO
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VELAZQUEZ, ALI                       VELAZQUEZ, FRANCISCO                  VELAZQUEZ, KIRA
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VELAZQUEZ, LEIDA                     VELAZQUEZ, SAMLA                      VELAZQUEZ, TANIA
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VELAZQUEZ, VENTURA                   VELBOVETS, ANDREA                     VELCHURU, MAHENDRA
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VELDERMAN, AMY                       VELDHUIZEN, KAITLIN                   VELDT, COLLEEN
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VELEHOSKI, KAREN                     VELEZ LLORENS, MARIANA                VELEZ, ALEXANDRA
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VELEZ, ASHLIE                        VELEZ, AUSTIN                         VELEZ, ESTEBAN
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VELEZ, GABRIELA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VELEZ, HENRY                     Page 5100
                                                                           VELEZ, of 5495
                                                                                  JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VELEZ, JENNIFER                      VELEZ, KELSEY                          VELEZ, MARITZA
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VELEZ, NARITHA                       VELEZ, NONITA                          VELEZ, OSCAR
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VELEZ, VANELIE                       VELEZ, VANESSA                         VELEZ, VIMARIE
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VELEZ, YVETTE                        VELI, ASHLEY                           VELICHETI, TATIANA
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VELICKOVICH, ALEXA                   VELIE, KIMBERLY                        VELIE, MEGAN
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VELIZ, BETTY                         VELKER, TRISHA                         VELLA, MELANIE
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VELLA, ROBERT                        VELLA-BURTON, JENELLE                  VELLANTE, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VELLANTE, KENDRA                     VELLECA, AUBRIE                        VELLIQUETTE, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VELLTURO, MADELINE                   VELLUZZI, MICHELE                      VELO CORPORATION OF AMERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         267 W 17TH ST, 3RD FLOOR
                                                                            NEW YORK, NY 10011-5300
VELOIRA, JOE          Case 22-11238-LSS    Doc
                                     VELOTTA, JILL 2 Filed 11/30/22   Page 5101  of 5495 LLC (3856)
                                                                           VELOX CLEARING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ATTN PROXY MGR
                                                                            2400 E. KATELLA AVE
                                                                            STE 725
                                                                            ANAHEIM, CA 92806



VELQSCO, MAYRA                       VELTHOVEN, AMY                         VELTIDI, SALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VELTMAN, GRACE                       VELTMAN, GRANT                         VELTRE, DENNIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VELTRE, KRISTYN                      VELTRI, ASHLEY                         VELYKIS, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VEMAN, ALICIA                        VEMLIN, VESA                           VEMURI, NAVINA
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VENABLE, AMY                         VENABLE, ANNA                          VENABLE, CRYSTAL
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VENABLE, YVONNE                      VENABLES, COLLEEN                      VENABLES, LAURA
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VENAGLIA, KATHLEEN                   VENARD, GERALD                         VENBERG, JOHN
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VENCZEL, LINDA                       VENDEMIA, CARLY                        VENDETTI, DON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VENDETTI, RANDALL                    VENDETTI, RUAN                         VENDOLA, JOSLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VENDOLA, JOSLYN       Case 22-11238-LSS    Doc
                                     VENDOLA,    2 Filed 11/30/22
                                              KEVIN                      Page 5102 of 5495
                                                                              VENDOLA, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VENDURO, JOSEPH                         VENECIA, MHARLO                       VENEDAM, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENEDIKTOV, ANTON                       VENEGAS, GONZALO                      VENEGAS, HEIDI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENEGAS, LAURA                          VENEGAS, MARIBEL                      VENEGONI, MARY
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VENELL, MAGGIE                          VENEMA, JENIFER                       VENERE, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENESKEY, GWEN                          VENESSA STRONG                        VENEZIA, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENEZIA, BROOKE                         VENEZIANO, MARY                       VENEZIANO, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENGEL, FRANCESCA                       VENGHAUS, MANDY                       VENICE ARTS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        1702 LINCOLN BLVD.
                                                                              VENICE, CA 90291




VENICE WHALER                           VENIER, SAVANNA                       VENKATA ALLADI
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENKATA CHEKURI                         VENKATA DIDUGU                        VENKATACHALAM, MANIKANDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VENKATACHALAM, SNEHA Case 22-11238-LSS    Doc 2 HARISH
                                    VENKATARAMANI,  Filed 11/30/22    Page 5103 of 5495 BUDUMA
                                                                           VENKATESHWAR
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VENN, RICHARD                        VENNARE, ALLISON                      VENNERI, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENOSA, ALEXANDRA                    VENOSH, WILLIAM                       VENTEICHER, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENTIGAN, LORELEI                    VENTIMIGLIA, AMY                      VENTIMIGLIA, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENTO, ELIZABETH                     VENTO, PETER                          VENTOLA, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENTRESS, KEENAN                     VENTRIS, ASHLYN                       VENTURA COASTAL LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2325 VISTA DEL MAR DRIVE
                                                                           VENTURA, CA 93002




VENTURA, AMELIA                      VENTURA, BECCA                        VENTURA, DARVINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENTURA, ERIC                        VENTURA, GENESIS                      VENTURA, JEROME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENTURA, KATELYN                     VENTURA, MATILDE                      VENTURA, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VENTURA, STEPHANIE                   VENTURA, TONY                         VENTURA, WENDOLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VENTUREHACK           Case 22-11238-LSS     Doc 2
                                      VENTURELLA,     Filed 11/30/22
                                                  KIMBERLEY            Page 5104 of 5495
                                                                            VENTURELLI, SAMANTHA
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VENTURINI, JOE                        VENTURINO, STEFANIE                    VENUS ALVAREZ
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VENUTI, MARY                          VEPURI, DIVYA                          VER HALEN, JON
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VER HELST, JANAE                      VER, KURT                              VERA TIJERINA, BERTHA
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VERA GAER                             VERA IWAOFF                            VERA NOWAK
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERA, AMANDA                          VERA, GABRIEL                          VERA, GABRIELA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERA, JEFF                            VERA, JORGE                            VERA, KARLY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERA, MARIA FERNANDA                  VERA, MARTIN                           VERA, RITA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERA-COLLINS, CYNDI                   VERAISON BEVERAGE DISTRIBUTORS         VERAISON BEVERAGE DISTRIBUTORS
ADDRESS AVAILABLE UPON REQUEST        (COLORADO)                             P.O. BOX 9872
                                      410 RED FOX PO BOX 239                 DENVER, CO 80209
                                      GYPSUM, CO 81637




VERAISON BEVERAGE DISTRIBUTORS        VERAS, DARLENE                         VERAS, JODDY
PO BOX 239                            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
GYPSUM, CO 81637
VERBA, ADRIANNE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VERBA, ALLY                      Page 5105 of 5495
                                                                           VERBANAC, KILEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERBANO, KATIE                       VERBECK, ANNIE                         VERBEL, BRYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERBI, VALERIE                       VERBIER SP PARTNERSHIP L P             VERBOFSKY, BRYAN
ADDRESS AVAILABLE UPON REQUEST       PO BOX 931                             ADDRESS AVAILABLE UPON REQUEST
                                     RENO, NV 89504




VERBOSH, DANA                        VERBOUT, ASHLEY                        VERBRACKEN, CATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERBUG, WAYNE                        VERBURGT, KELLY                        VERCELLINO, JESSICA
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VERCH, CASSANDRA                     VERCILLO, HELENA                       VERCLER, CRISTINA
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VERCRUYSSE-JONES, AMY                VERDECCHIO, DARIA                      VERDEJA, ESABELLE
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VERDELL ANN SCHAEFER                 VERDERESE, DANIELLE                    VERDI, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERDICCHIO, JESSICA                  VERDICK, JENNIFER                      VERDIN, SARAH
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VERDINE, DAVID                       VERDIS, NICK                           VERDONE, CATHY
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VERDONI, JON          Case 22-11238-LSS    Doc
                                     VERDOW,    2 Filed 11/30/22
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                                                                           VERDU,of 5495
                                                                                 CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERDUCCI, SHELLEY                    VERDUN-ANTHONY, TINA                  VEREA, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VEREB, CHRIS                         VEREGIN, MARIA                        VERELINE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERGA, CLAY                          VERGA, EMILY                          VERGANTINO, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERGARA, MARLLEL                     VERGARA, VINCENT                      VERGES, AMELIA
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VERGIS, NIKO                         VERGONA, MICHELLE                     VERGOS, YORGO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERHAGE, GABRIEL                     VERHASSELT, CAITLYN                   VERHOEFF, BETSY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERHOFF, BRIGID                      VERHOFF, JESSICA                      VERHULST, ISABELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERINI, NOREEN                       VERINO-DIAZ, IRMA                     VERITAS WINE SELECTIONS (KANSAS)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1035 E 23RD ST STE 1
                                                                           LAWRENCE, KS 66046




VERITAS WINE SELECTIONS              VERITIV OPERATING COMPANY             VERITIV OPERATING COMPANY
2426 LAZY BROOK LN                   (ALL AMERICAN CONTAINER)              (ALL AMERICAN CONTAINER)
LAWRENCE, KS 66047                   3300 N. LAUGHLIN                      9330 NW 110TH AVENUE
                                     SANTA ROSA, CA 95403                  MIAMI, FL 33178
VERITY WINE, LLC.    Case 22-11238-LSS     Doc 2LLC Filed 11/30/22
                                    VERITY WINES                      Page 5107
                                                                           VERITY of 5495
                                                                                  WINES LLC
P.O. BOX 1826                        148 MADISON AVE, 12TH FLOOR            148 MADISON AVE. 12TH FLOOR
NEW YORK, NY 10156                   NEW YORK, NY 10016                     NEW YORK, NY 10016




VERITY, ANDREA                       VERITY, CHRISTOPHER                    VERITY, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERITY, VICTORIA                     VERIZON                                VERIZON
ADDRESS AVAILABLE UPON REQUEST       P.O. BOX 15043                         P.O. BOX 660794
                                     ALBANY, NY 12212-5043                  DALLAS, TX 75266-0794




VERKAMP, KIP                         VERKE, ANNE                            VERKUILEN, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERLANIC, CHRIS                      VERMA, AMY                             VERMA, ANKUSH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERMA, ARCHNA                        VERMA, ASHA                            VERMA, CHAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERMA, MANISH                        VERMA, NAMITA                          VERMA, PUPUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERMA, RAJ                           VERMA, RAJEEV                          VERMA, REEMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERMA, SHWETA                        VERMAAK, JESSICA                       VERMAIRE, MIKELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VERMEER, AMY                         VERMEERSCH, KATHLEEN                   VERMEJAN, AL OR ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VERMEULEN, JACOB      Case 22-11238-LSS     DocLAUREN
                                     VERMILION,  2 Filed 11/30/22       Page 5108  of 5495
                                                                             VERMILLION, DERRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERMILLION, KAILEIGH                 VERMILLION, KAITLIN                      VERMILLION, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERMILLION, PAYSON                   VERMONT AGENCY OF AGRICULTURE, FOOD      VERMONT DEPARTMENT OF FINANCIAL
ADDRESS AVAILABLE UPON REQUEST       AND MARKETS                              REGULATION
                                     FOOD SAFETY AND CONSUMER                 SECURITIES DIVISION
                                     PROTECTION                               89 MAIN STREET
                                     116 STATE ST                             MONTPELIER, VT 05602
                                     MONTPELIER, VT 05620

VERMONT DEPARTMENT OF LIQUOR AND     VERMONT DEPT OF LABOR AND INDUSTRY       VERMONT DEPT OF LIQUOR CONTROL
LOTTERY                              5 GREEN MOUNTAIN DRIVE                   ADDRESS UNAVAILABLE AT TIME OF FILING
WENDY KNIGHT, COMMISSIONER 1311 US   PO BOX 488
ROUTE 302, SUITE 100                 MONTPELIER, VT 05601-0488
BARRE, VT 05641



VERMONT DEPT OF TAXES                VERMONT DEPT. OF TAXES                   VERMONT INFORMATION PROCESSING, INC.
133 STATE ST                         ADDRESS UNAVAILABLE AT TIME OF FILING    402 WATERTOWER CIRCLE
MONTPELIER, VT 05633-1401                                                     COLCHESTER, VT 05446




VERMONT SECURITIES DIVISION          VERMONT, MARIA                           VERN J WEGLEITNER
89 MAIN STREET                       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
MONTPELIER, VT 05620-3101




VERNA MARIE VINES                    VERNAGALLO, CHELSEA                      VERNENGO, JUAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERNER, ASHLEY                       VERNER, KAREN                            VERNER, LEVI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERNICK, PAMELA                      VERNIER, MELISSA                         VERNON MOWBRAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           3206 WEST 2ND ST. APT J8
                                                                              WILMINGTON, DE 19805




VERNON P MONTOYA                     VERNON TROY ROSS                         VERNON, CAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
VERNON, HOPE          Case 22-11238-LSS    Doc
                                     VERNON,    2 Filed 11/30/22
                                             JEWELLE                  Page 5109 ofMACKENZIE
                                                                           VERNON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERNON, MARIL                        VERNON, MARLO                         VERNON, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERNON, TAWNYA                       VERON CRUZ, MONELISSA                 VERONA, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERONA, COOPER                       VERONA, LEAHY,                        VERONICA BALLARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERONICA COSBY                       VERONICA DEVALL                       VERONICA MODINI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERONICA VILLANUEVA                  VERONICA, MARIA                       VERONICO, DOMINIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERONIE, FELINDA                     VERONIKA JONES                        VERONIQUE LOZA, VERONIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERONNEAU, KYLE                      VEROSKO, MICHELLE                     VEROST, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VEROSTEK, CHERYL                     VERPLAETSE, ANDREA                    VERRAN, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VERRECCHIA, LISA                     VERRECCHIA, TIFFANIE                  VERRENGIA, CRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VERRET, DANIEL        Case 22-11238-LSS    Doc
                                     VERRETTE,   2 Filed 11/30/22
                                               KELIN                       Page 5110  of 5495
                                                                                VERRICHIA, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




VERRICO, BRAD                           VERRICO, MORGAN                          VERRILL, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERRILLI, STEPHEN                       VERROS, DEANA                            VERRYDEN, ERIK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERSACE, LAURIE                         VERSAILLES, STACY                        VERSAN BORA HAMAMCIOGLU
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERSFELT, SUSAN                         VERSICAL, BETHANY                        VERSPOOR, ROY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERSSEN, KIRA                           VERSTEEG, COURTNEY                       VERTEFEUILLE, CHRISTA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERTES, RYLEIGH                         VERTICAL SEARCH WORKS                    VERTICAL WINE BISTRO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




VERTICAL, CLIFF                         VERTICCHIO, TOM                          VERTIN, CALLAHAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERTIZ, ALEXANDRA                       VERTUDEZ, LESTER                         VERUCHI, VINCENT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VERVE COFFEE ROASTER                    VERVE DIRECT LIMITED                     VERVELDE, KATE
ADDRESS UNAVAILABLE AT TIME OF FILING   SUITE 2305 23/F OFFICE TOWER             ADDRESS AVAILABLE UPON REQUEST
                                        CONVENTION PLAZA,
                                        1 HABOR RD
                                        WANCHAI
VERVERIS, NICHOLAS    Case 22-11238-LSS    Doc
                                     VERWIJST,   2 Filed 11/30/22
                                               ANTON                  Page 5111  of 5495
                                                                           VERYPINK KNITS (VERYPINK)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         VERY PINK KNITS PO BOX 152442
                                                                            AUSTIN, TX 78715-2442




VERZELLA, DIANE                      VERZOSA, COURTNEY                      VESCERA, LIZZETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VESCIO, ELIZABETH                    VESCOVI, ALMA                          VESCOVI, LUCA & NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VESCOVI, MEGAN                       VESELY, BEAU                           VESELY, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VESELY, MICHELLE                     VESEY, JEN                             VESLING, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VESPER, DEBRA                        VESPER, KAITLIN                        VESPIA, MAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VESSELS, CALLAN                      VESSEY, DEVON                          VESSEY, JUDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VESSILLO, EVAN                       VEST, ASHLEY                           VEST, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VEST, TINA                           VEST, VICTORIA                         VESTAL, TABITHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VESTLE, MICHELLE                     VESTMAN, KAMI                          VESTRI, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VET, RYAN             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VETEK, ASHLEY                    Page 5112
                                                                           VETOR,of 5495
                                                                                 EVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VETRANO, DOUGLAS                     VETRANO, MARISSA                      VETRANO, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VETRO, CHRISTINE                     VETRO, KATHY                          VETROVEC, ALYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VETTEL, TODD                         VETTER, ALEXANDER                     VETTER, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VETTER, ANN                          VETTER, ASHLEY                        VETTER, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VETTER, JOE                          VETTER, MADDIE                        VETTER, TARYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VETTER, VALERIE                      VETTESE, MICHAEL                      VETTRAINO, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VEUM, D                              VEUM, DAVID                           VEUM, DESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VEUM, WARREN                         VEURINK, ERIKA                        VEYAN, SHELENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VEYSEY, LIAT                         VEYTS, ILYA                           VEZINA, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VEZZA, CECELIA        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VEZZA, JOSH                      Page 5113  of CHRISTOPHER
                                                                           VEZZUTO, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIA, JUSTIN                          VIA, NICK                             VIAFORE, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIAFORE, LAUREN                      VIALPANDO, MICHAEL                    VIALVA, ROSLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIANA IRISARRI, STEPHANIE            VIANA, DANIELLE                       VIANA, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIANCOURT, KATHERINE                 VIANE, ANGELA                         VIANI, MARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIANNA LOPEZ                         VIANO, SAMANTHA                       VIATOR, CRAIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIAU, RACHEL                         VIAVID BROADCASTING CORP.             VIC GERDES
ADDRESS AVAILABLE UPON REQUEST       PO BOX 93074                          ADDRESS AVAILABLE UPON REQUEST
                                     CAULFEILD VILLAGE WEST
                                     VANCOUVER, BC V7W 3G4
                                     CANADA



VICARIO, ERICA                       VICE, ALISON                          VICE, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICE, MOLLY                          VICENCIO, LEAH                        VICENTE APARICIO JR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICENTE, AMANDA                      VICENTE, CHELLA                       VICENTE, JEFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VICEROY HOTEL         Case 22-11238-LSS      Doc
                                      VICE-VAN    2 ANNABELLA
                                               HEYDE, Filed 11/30/22   Page 5114   of 5495
                                                                            VICHE, JEANIE
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICHITCHOLCHAI, ANNA                  VICINI, KANDY                         VICINIE, JENNIE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICINO, JENNY                         VICINO, KATLYN                        VICK LEROY NEWSOM
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICK, BLAIR                           VICK, JESS                            VICK, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICKERS, AIMEE                        VICKERS, CANDICE                      VICKERS, DEBRA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICKERS, ERIKA                        VICKERS, GEORGINA                     VICKERS, JAMES
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICKERS, JODY                         VICKERS, POTSO                        VICKERSON, JOSH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICKERY, BETTY                        VICKERY, HARPER                       VICKERY, TARI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICKERY, ZACH                         VICKI YORK                            VICK-MCGILL, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VICKREY, BECKY                        VICKREY, KELSEY                       VICKY LEUNG
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VICKY R SAGEHORN      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VICKY WANG                       Page 5115  ofLINDSEY
                                                                           VICORIA, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTOR BARRERA                       VICTOR FAM KUO                         VICTOR HAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTOR LUM                           VICTOR MANDARICH                       VICTOR MAXIMUS ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTOR NGUYEN                        VICTOR PANNU                           VICTOR PUCHI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTOR RACETTE                       VICTOR RENDON                          VICTOR RICHARDSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTOR W MCLAUGHLIN                  VICTOR, ALENA                          VICTOR, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTOR, JOHN                         VICTOR, JUSTIN                         VICTOR, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTOR, MADISON                      VICTORIA A HORAN                       VICTORIA BUI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTORIA DEL CAMPO                   VICTORIA FIELDING                      VICTORIA HOLMES SEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VICTORIA LARSON                      VICTORIA MACEY INC.                    VICTORIA MORALES
ADDRESS AVAILABLE UPON REQUEST       246 N. BEACHWOOD DRIVE                 ADDRESS AVAILABLE UPON REQUEST
                                     LOS ANGELES, CA 90004
VICTORIA PARTENOPE    Case 22-11238-LSS     Doc
                                     VICTORIA    2 (VICTOR
                                              REESE   Filed GROUP
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                                                                  LA)   Page 5116  of SHULBERG
                                                                             VICTORIA 5495
ADDRESS AVAILABLE UPON REQUEST       19351 MAGNOTIA PKWY                      ADDRESS AVAILABLE UPON REQUEST
                                     SARTHFIELD, MI 48075




VICTORIA VANEYCK, VICTORIA            VICTORIA YEAGER                         VICTORIA YUAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VICTORIA, BRIDGETT                    VICTORIA, KARI                          VICTORIA, TODD
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VICTORIA, VANESSA                     VICTORIA-DELGADO, ANYA MONICA           VICTORY TAILGATE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




VIDA, KEVIN                           VIDA, ROB                               VIDAEFF, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VIDAK, RACHEL                         VIDAL, BROGAN                           VIDAL, DANIELLE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VIDAL, KRISTINE                       VIDAL, LILIANA                          VIDAL, LORENNA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VIDAL, MALEAH                         VIDAL, PERLA                            VIDAL, REBEKKAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VIDAL, SHELISA LEAH                   VIDAL, STEPHANIE                        VIDAL, VANESSA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VIDAL, YVONNE                         VIDALES, BAILEY                         VIDALINA PUBILL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
VIDAMO, AJ            Case 22-11238-LSS    Doc
                                     VIDAURRE,   2 Filed 11/30/22
                                               DANIELLE               Page 5117  of 5495
                                                                           VIDAURRI, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIDEEN, ELIZABETH                    VIDEKA, MICHAELLA                      VIDETTO, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIDHEECHAROEN, NICHOLE               VIDINICH, CODY                         VIDMAR, ELEANOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIDMAR, STAN                         VIDOVIC, TYLER                         VIDRINE, CARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIDRINE, CHARLES                     VIDRINE, ELIZABETH                     VIDRO, GABRIELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIDUGIRYTE, AUSTEJA                  VIEGELAHN, MARY                        VIEHMAN, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIEHWEGER, ASHTON                    VIEIRA VERCOSA, FABIOLA                VIEIRA, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIEIRA, ERIN                         VIEIRA, JOANNIE                        VIEIRA, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIEIRA, MONICA                       VIEL, LINDSEY                          VIENUP, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIERCK, PAUL                         VIERLING, CHUCK                        VIERRA, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VIERRA, KRISTINA      Case 22-11238-LSS
                                     VIERRA, Doc
                                             SARA 2  Filed 11/30/22   Page 5118   of 5495
                                                                           VIERS, META
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIERSE, DAVID                        VIET HAI HOANG                        VIETHS, MARIT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIETOR, NICK                         VIETS, KELSEY                         VIETS, RHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIETZ, BRIAN                         VIEW, THE                             VIG, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIGEANT, NIKI                        VIGEANT, PHILLIP                      VIGEN, CATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIGEN, DANE                          VIGGIANO, COLETTE                     VIGGIANO, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIGGIANO, JESSICA                    VIGGIANO, KRISTEN                     VIGH, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIGIL, ARIEL                         VIGIL, CARLOS                         VIGIL, CHANTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIGIL, ELISEO                        VIGIL, JAZMINE                        VIGIL, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIGIL, JUANITA                       VIGIL, KATHERINE                      VIGIL, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VIGIL, LILLI          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     VIGIL, MARIA                     Page 5119    of 5495
                                                                           VIGIL, MONIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIGIL, ROSE                          VIGIL, ZARAH                           VIGILANTE-SOTO, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIGILETTI, MICHELE                   VIGILIA, LORENZO                       VIGLIANTE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIGLIOTTA MONT, ALESSANDRA           VIGLIOTTI, AARON                       VIGLIOTTI, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIGLIOTTI, MARK                      VIGLIOTTI, RACHEL                      VIGNA, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIGNA, KATIE                         VIGNEAULT, DANIELLE                    VIGNEAULT, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIGNERON, JODI                       VIGNESWARAN, JEN                       VIGNETTE LOUNGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




VIGNOLA, MATT                        VIGNONE, DOMENICK                      VIGNONE, DOMENICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIGNONE, JOSEPH                      VIGNOS, MEGAN                          VIGNOVICH, KYLEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIGOA, MAYLEEN                       VIGOUROUX, JULIAN                      VIGREN, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VIHINEN, CINDY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VIJAY BASIREDDY                    Page 5120   of 5495REDDY GADDAM
                                                                             VIJAY BHASKAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIJAY DESIRAJU                       VIJAY, DESI                              VIJAYA KUPPA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIJAYAKUMAR, KEERTHI                 VIJAYKUMAR, ANKITA                       VIJJESWARAPU, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIK JAIN                             VIK, CASSANDRA                           VIKAN, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIKAS UNNAVA                         VIKASH PATEL                             VIKOR, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIKRAM DAYAL                         VIKRAM GOLLAKOTA                         VIKRAM MUTHYALA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIKRAM RAGHAVAN                      VIKRAM SINGH                             VIKRAM, AHALYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIKRAM, GITA                         VIKTOR BENES MARINA                      VIKTORIN, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST




VILAIROJ, ALYSSA                     VILANDRE, TONI                           VILAPLANA, TALIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VILAR, SOFIA                         VILAYVANH, SOU                           VILCEK, KELSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
VILCHERREZ, LAURA     Case 22-11238-LSS
                                     VILCHIS,Doc
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                                                                                  VILD, MICHAEL
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VILD, REBEKAH                             VILELA, NATALIA                         VILES, LUAN
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VILETA, BRANDON                           VILK, IGOR                              VILKAITIS, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VILLA CREEK, INC. (VILLA CREEK CELLARS)   VILLA FIK                               VILLA PIZZA
5995 PEACHY CYN. RD                       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
PASO ROBLES, CA 93446




VILLA, AMANDA                             VILLA, ASHLEY                           VILLA, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VILLA, GERARDO                            VILLA, JULIEANN                         VILLA, LOURDES
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VILLA, SAVANAH                            VILLA, VALIN                            VILLA, XAVIER
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VILLACIS, KATIE                           VILLACORTA, SANDRA                      VILLADA, SHERLYS
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VILLADEMOROS, DAVID                       VILLADIEGO, SUSAN                       VILLADOLID, JAMIE
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




VILLAFAN, BENJAMIN                        VILLAFANA, RAYMOND                      VILLAFANE, MIGDALIA
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
VILLAFLOR, ELIZABETH  Case 22-11238-LSS     Doc
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                                                                           VILLAGOMEZ, JULIE
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VILLAGOMEZ, MAYRA                    VILLAGOMEZ, NIKKI                      VILLAGONZALO, CARLI
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VILLAGRAN, CYNTHIA                   VILLAGRAN, MICHELLE                    VILLALBA, ELIZABETH
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VILLALBA, MARISA                     VILLALBA, WILLIAM                      VILLALOBO, MARIA
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VILLALOBOS, BEATRIZ                  VILLALOBOS, IVAN M                     VILLALOBOS, KATIE
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VILLALOBOS, KIARA                    VILLA-LOBOS, LAUREN                    VILLALOBOS, LUCIA
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VILLALOBOS, LUZ                      VILLALOBOS, MICHELE                    VILLALOBOS-GRIGGS, VIRNA
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VILLALON, TERRY                      VILLALONA, CLAUDIA                     VILLALONA, FRANKLIN
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VILLALONA, JONATHAN                  VILLALOVOS, MELINDA                    VILLALOVOZ, ADAIR
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VILLALPANDO, FERMIN                  VILLAMIL, FABIOLA                      VILLAMOR, BRIDGETTE
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VILLAMOR, JEFFREY     Case 22-11238-LSS     DocSTARR
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VILLANI, ANNA                        VILLANI, GEORGINA                      VILLANI, LAURA
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VILLANO, JADE                        VILLANOVA DAILEY, CAROL                VILLANOVA, KYLE
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VILLANUEVA, ABNER                    VILLANUEVA, ANJELICA                   VILLANUEVA, ANNIE
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VILLANUEVA, BRIAN                    VILLANUEVA, DIONNE                     VILLANUEVA, DOMINIQUE
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VILLANUEVA, ERIN                     VILLANUEVA, HOLLY D                    VILLANUEVA, ISABEL
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VILLANUEVA, JEFFREY                  VILLANUEVA, KARA MIA                   VILLANUEVA, KATY
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VILLANY, KATIE                       VILLANYI, CHRISTIAN                    VILLAOBOS, BIANCA
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VILLAPIANO, NICHOLAS                 VILLAR, MAYA                           VILLARAN, ROSEMARY
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VILLARAN, ROSEMARY                   VILLARANTE, ADELINA                    VILLARASA, PRISCILLA
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VILLARET, ELISE       Case 22-11238-LSS
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VILLARREAL POWELL, LYNNE             VILLARREAL, ALY                       VILLARREAL, ANDREA
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VILLARREAL, ANGELICA                 VILLARREAL, BONNIE                    VILLARREAL, CARLOS
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VILLARREAL, CHRISTOPHER              VILLARREAL, DAWN                      VILLARREAL, DIANA
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VILLARREAL, DIANNE                   VILLARREAL, IMARA                     VILLARREAL, LAURA
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VILLARREAL, LAUREN                   VILLARREAL, MICHELLE                  VILLARREAL, SOFIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VILLARREAL, STEPHANIE                VILLARRIAL, SPRING                    VILLARRUEL, AMALIA
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VILLASANA, VICTORIA                  VILLASANTE, ROBERTO                   VILLASENOR, LETICIA
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VILLASENOR, SHAUNA                   VILLATORO, ANGEL                      VILLATORO, OLVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VILLAVICENCIO, KAMERON               VILLAVICENCIO, MAGGIE                 VILLAVICENCIO, MICHAEL
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VILLAVICENCIO, RENZO  Case 22-11238-LSS      Doc 2 Filed 11/30/22
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VILLEGAS, ALESSANDRA                 VILLEGAS, ANGELA                      VILLEGAS, BRENDA
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VILLEGAS, CARLOS                     VILLEGAS, DAMARIS                     VILLEGAS, DULCE
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VILLEGAS, JANETTE                    VILLEGAS, JESSICA                     VILLEGAS, NINA
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VILLEGAS, ROSEANN                    VILLELA, MARISSA                      VILLELLAS, VIOLET
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VILLEMAIRE, JANETTE                  VILLENEUVE, PAUL                      VILLETA, DIOSMERY
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VILLEZCAS, CARLOS                    VILLIERS, LAURA                       VILLIERS, THOMAS
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VILLIG, KYLIE                        VILLNAVE, LINDSAY                     VILLWOCK, ELIZABETH
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VILLYARD, JENNIFER                   VILMA MEDINA                          VILORIA, JASMIN
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VILSMEYER, CHRISTINA                 VILSOET, RICHARD                      VILVEN, BLAKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VIMALANANDA, SAMSON Case 22-11238-LSS     Doc 2 Filed 11/30/22 Page 5126
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VIMINI, MOLLY                         VIMMERSTEDT, SUSAN                    VINA KOYLE S.A.
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ISIDORA GOYENECHEA 3600, OFFICE 1101
                                                                            LAS CONDES
                                                                            CHILE




VINA PUNTI FERRER LIMITADA            VINAS, JULIO                          VINAY SINGH
LOTE 28B, PC CHOAPINOS,               ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ROSARIO RENGO
CHILE




VINAY TIRUPATI                        VINCE, DONNA                          VINCE, LILLIAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VINCE, MICHELE                        VINCE, SCOTT                          VINCEK, STEVEN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VINCELET, JENNIFER                    VINCELLI, KARA                        VINCENT BICKHART
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VINCENT CHRISTOPHER MACE              VINCENT LEE LUCERO-BENDAWALD          VINCENT LEE LUCERO-BENDAWALD
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VINCENT LI                            VINCENT MACH                          VINCENT ORTOLANI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VINCENT TAN                           VINCENT                               VINCENT, BARBARA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VINCENT, BERNADETTE                   VINCENT, BRIAN                        VINCENT, CAMILA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VINCENT, CHRISTINE    Case 22-11238-LSS    Doc
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VINCENT, GENE                        VINCENT, GREGORIO                      VINCENT, HUNTER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINCENT, JESSICA                     VINCENT, JOEL                          VINCENT, JULIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINCENT, LARA                        VINCENT, LAURA                         VINCENT, LEAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINCENT, LINDSAY                     VINCENT, LISA                          VINCENT, LOGAN
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VINCENT, MADDIE                      VINCENT, MADISON                       VINCENT, MARION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINCENT, MEGAN                       VINCENT, MONICA                        VINCENT, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINCENT, REBECCA                     VINCENT, SHEA                          VINCENT, WAGNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINCENTY, ANDRE                      VINCENZO LARICH                        VINCI, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINCI, CAMERON                       VINCI, HANNAH                          VINCI, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VINCI, KATHY          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     VINCK, KRIZIA                    Page 5128   of 5495
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VINE, BRITTANY                       VINE, HANNAH                           VINE, LUZDIVINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINEBURG, LLC                        VINEOAKS, LLC (ROBLAR WINERY)          VINEOAKS, LLC (ROBLAR WINERY)
GUNDLACH BUNDSCHU WINERY             3010 ROBLAR AVENUE                     4155 WINE CREEK RD
PO BOX 1                             SANTA YNEZ, CA 93460                   HEALDSBURG, CA 95448
VINEBURG, CA 95487




VINES, MARIE                         VINES, WILIAM                          VINES, ZINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINETT, CASEY                        VINEYARD TEAM                          VINEYARD, JOHN
ADDRESS AVAILABLE UPON REQUEST       5915 EL CAMINO REAL                    ADDRESS AVAILABLE UPON REQUEST
                                     ATASCADERO, CA 93422




VINEYARD, VICTORIA                   VINGER, KATIE                          VIN-GLOBAL LLP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         4501 MANATEE AVE W SUITE 314
                                                                            BRADENTON, FL 34209




VIN-GO, LLC                          VINGOE, CHELSEA                        VINIFERA IMPORTS, CALIFORNIA
119 ROCKLAND CENTER SUITE 392        ADDRESS AVAILABLE UPON REQUEST         13273 BARTON CIRCLE
NANUET, NY 10954                                                            WHITTIER, CA 90605




VINING, AMANDA                       VINING, HANNAH                         VINING, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINING, JOHN                         VINISH MANCHANDA                       VINK, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VINK, PAULINA                        VINNECE, RICHARD                       VINOD KUMAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VINOD MOHAN           Case 22-11238-LSS    Doc 2CAMILLE
                                     VINOGRADOV,     Filed 11/30/22          Page 5129  of JONATHAN
                                                                                  VINOKUR, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




VINOKUR, VADIM                       VINOS CON SENTIDOS SAC                        VINOS UNICO INC.
ADDRESS AVAILABLE UPON REQUEST       AV. MANUEL DE MENDIBURU 1028, PISO 2,         16 TOP OF THE RIDGE
                                     INT B                                         MAMARONECK, NY 10543
                                     MIRAFLORES
                                     PERU



VINOUS SINS                          VINPERFECT, INC                               VINQUIRY, INC.
120 BELLE COURT                      831 LATOUR COURT, SUITE B1                    7795 BELL ROAD
MADISON, MS 39110                    NAPA, CA 94558                                WINDSOR, CA 95492




VINSON, BEN                          VINSON, CHRISTA                               VINSON, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




VINSON, CHRISTINE                    VINSON, CHRISTOPHER                           VINSON, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




VINSON, KELLY                        VINSON, LISA                                  VINSON, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




VINSON, NATALIE                      VINSON, NEVELLE                               VINSON, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




VINSON, TAMI                         VINSON, TARA                                  VINT BLACKBURN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                ADDRESS AVAILABLE UPON REQUEST




VINTAGE WINE ESTATES, INC.           VINTEGRITY KANSAS, LLC                        VINTEGRITY KANSAS, LLC
205 CONCOURSE BOULEVARD              14314 W 100TH ST                              8059 FLINT ST.
SANTA ROSA, CA 95403                 LENEXA, KS 66215                              LENEXA, KS 66214




VINTEGRITY LLC KANSAS                VINTEGRITY, LLC.                              VINTON, CARLIE
8059 FLINT ST BUILDING 19            1689 N. TOPPING AVE.                          ADDRESS AVAILABLE UPON REQUEST
LENEXA, KS 66214                     KANSAS CITY, MO 64120
VINTON, TORI          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VINUM CELLARS                     Page 5130   of 5495
                                                                            VINX2 WINERY SOFTWARE, INC
ADDRESS AVAILABLE UPON REQUEST       CHRIS CONDOS                            548 MARKET ST 62071
                                     135 CAMINO DORADO SUITE 6               SAN FRANCISCO, CA 94104
                                     NAPA, CA 94558




VINYL MOON                          VIOLA, ANTHONY                           VIOLA, CHRISTINA
3105 ARVIA ST                       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90065




VIOLA, ELIJAH                       VIOLA, SKYE                              VIOLANTE, ANTONIA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIOLANTE, ANTONIA                   VIOLANTE, SUZETTE                        VIOLET, DR.
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIOLETA MORAN                       VIOLETA SANDOVAL                         VIOLETT, DAN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VIOLETTE, AMY                       VIOLETTE, ANNE                           VIOLETTE, JAMIE
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VIORST, MARLA                       VIOS, AILEEN                             VIOS, DANIELLE
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VIOTTI, HENRIQUE                    VIPIN CHANDEKAR                          VIPOND, AMBER
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VIPPERMAN, AMANDA                   VIRA, LIAN                               VIRAJ PATEL
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VIRAK, ELISABETH                    VIRAL SWEEP                              VIRAMONTES, MARISABEL
ADDRESS AVAILABLE UPON REQUEST      ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS AVAILABLE UPON REQUEST
VIRAMONTES, MICHAEL   Case 22-11238-LSS    Doc 2
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                                                                                    VIRAPHONG, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                  ADDRESS AVAILABLE UPON REQUEST




VIRAPONGSE, ANUNTA                        VIRDEN, ALEXANDER                          VIRDI, PAVAN
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




VIRDONE, MARIA                            VIRE, SERENA                               VIRENE, NANCY
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




VIRGA, CHRISTINE                          VIRGEN-SILVA, PERLA                        VIRGIL STEWART
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




VIRGIL, BRIA                              VIRGIL, SHAQUAN                            VIRGILIO AVANZADO
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




VIRGIN AMERICA                            VIRGIN ISLANDS DEPARTMENT OF               VIRGIN ISLANDS DEPT OF LABOR
ADDRESS UNAVAILABLE AT TIME OF FILING     LICENSING                                  2353 KRONPRINDSENS GADE
                                          AND CONSUMER AFFAIRS                       STE 1
                                          3000 GOLDEN ROCK SHOPPING CTR STE 9        ST THOMAS, VI 00802
                                          ST CROIX, VI 00820



VIRGIN ISLANDS DEPT OF LABOR              VIRGIN, JJ                                 VIRGIN, LAUREN
4401 SION FARM                            ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST
STE 1
CHRISTIANSTED, VI 00820-4245




VIRGINIA ALCOHOLIC BEVERAGE CONTROL       VIRGINIA DEPARTMENT OF ALCOHOLIC           VIRGINIA DEPARTMENT OF TAXATION
AUTHORITY                                 BEVERAGE CONTROL                           ADDRESS UNAVAILABLE AT TIME OF FILING
P.O. BOX 3250                             ADDRESS UNAVAILABLE AT TIME OF FILING
MECHANICSVILLE, VA 23116-9998




VIRGINIA DEPT OF TAXATION                 VIRGINIA DEPT OF TAXATION                  VIRGINIA DIVISION OF LABOR AND INDUSTRY
1957 WESTMORELAND STREET                  PO BOX 1115                                13 SOUTH THIRTEENTH STREET
RICHMOND, VA 23230                        RICHMOND, VA 23218-1115                    RICHMOND, VA 23219-4101




VIRGINIA DIVISION OF LABOR AND INDUSTRY   VIRGINIA DIVISION OF SECURITIES & RETAIL   VIRGINIA ENGLERT
600 EAST MAIN STREET                      FRANCHISING                                ADDRESS AVAILABLE UPON REQUEST
SUITE 207                                 TYLER BUILDING
RICHMOND, VA 23219                        1300 E. MAIN ST.
                                          9TH FLOOR
                                          RICHMOND, VA 23219
VIRGINIA MAE HUNTER   Case 22-11238-LSS
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                                                                           VIRGL, RENAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIRGONA, NICOLE                      VIRK, HARJOT                          VIRKELYST, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIRKKULA, PETRI                      VIRNIG, PAMELA                        VIROK, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIRREIRA, MELANIE                    VIRTER M MARCELO                      VIRTUOSO SELECTIONS, LLC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        2101 E. ST. ELMORD STE 340
                                                                           AUSTIN, TX 78744




VIRTUOSO, KAROL                      VIRUEGAS, MARY                        VIRUET, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VIRUET, GRACIE                       VISCARDI, MARC                        VISCARELLO, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VISCIO, CAROLINA                     VISCO, MARY                           VISCO, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VISCO, SUSAN                         VISCONTI, JENNA                       VISCOSI, PAULINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VISCOUNTY, CLAIRE                    VISCUSI, DANA                         VISCUSO, LAURA
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VISE, LAURI                          VISEUR, KELLY                         VISHAL GUJRAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VISHAL WADHVANI       Case 22-11238-LSS
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VISHNIAC, JORDAN                     VISHVESH VIJAY MULAY                     VISHWANAT, BALAJI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VISHWESH SANKHOLKAR                  VISICHIO, DANIELLE                       VISION FIN MKTS LLC (0595)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ATTN OPS DEPT
                                                                              120 LONG RIDGE RD, 3 NORTH
                                                                              STAMFORD, CT 06902




VISKOCHIL, KATHRYN                   VISKOVIC, HEATHER                        VISLOSKY, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VISNIESKI, THOMAS                    VISORIA, LAUREN                          VISPERAS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VISSER, DEBORAH                      VISSER, ERICA                            VISSER, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




VISSER, JUAN                         VISSER, MALIE                            VISSERING, THOMAS
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VISTA GRANDE VINEYARDS HOLDING LP    VISTA GRANDE VINEYARDS HOLDING LP        VISTA PRINT
160 FEDERAL STREET                   P.O. BOX 789                             ADDRESS UNAVAILABLE AT TIME OF FILING
BOSTON, MA 02110                     TEMPLETON, CA 93465




VISTA PRINT                          VISTA PRINT                              VISUAL PAK LOGISTICS LLC
FILE 53102                           PO BOX 679307                            1909 S. WAUKEGAN ROAD
LOS ANGELES, CA 90074-3102           DALLAS, TX 75267-9307                    WAUKEGAN, IL 60085




VISWANADHAM MANCHU                   VISWANATH, SHIVALI                       VISWANATHAN, KAVITHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
VISWANATHAN, MALVIKA Case 22-11238-LSS    Doc 2VINDHYA
                                    VISWANATHAN,    Filed 11/30/22    Page 5134  of 5495
                                                                           VISWESWARA, ARUNA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VITA, GIANFRANCO                     VITALE PRODUCTIONS LLC                VITALE, ALEX
ADDRESS AVAILABLE UPON REQUEST       C/O WME ENTERTAINMENT                 ADDRESS AVAILABLE UPON REQUEST
                                     9601 WILSHIRE BLVD. 3RD FLOOR
                                     BEVERLY HILLS, CA 90210




VITALE, ALEXIS                       VITALE, ANGELICA                      VITALE, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VITALE, DANA                         VITALE, JOHN                          VITALE, MELISSA
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VITALE, NICOLE                       VITALE, RACHAEL                       VITALE, TARA
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VITALE, TESSA                        VITALI, GIORGIA                       VITANZA PEITZ, LISA
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VITELA, KATHERINE                    VITELLI, KARLY                        VITELLI, MACKENZIE
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VITELLO, BREANNA                     VITELLO, CLAUDIA                      VITELLO, RONDA
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VITERETTO, CAROLINE                  VITIELLO, MICHELE                     VITIELLO, SUE
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VITIER, JESSYE                       VITOLA, AMANDA                        VITOLO, CARA
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VITOR, SVJETLANA      Case 22-11238-LSS     Doc
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                                                                                   KATERINA
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VITOVSKY, MATTHEW                    VITRANO, AMANDA                        VITRANO, DEREK
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VITRINEL, BURCU                      VITS, LEONIE                           VITTEK, JULIA
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VITTENGL, JULIE                      VITTER, DAVID                          VITTI, CHRIS
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VITTI-LYONS, REGINA                  VITTO, JOLENE                          VITTORIO TEDESCO ZAMMARANO
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VITTORIO, CHRISTINA                  VITTU, JULIEN                          VITULLO, MITCHELL
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VITUS, RICK                          VIVEK BHATNAGAR                        VIVEK DIXIT
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VIVEK KUMAR AGARWAL                  VIVENZIO, JESSICA                      VIVERETTE, CURTIS
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VIVERETTE, DEVONTAE                  VIVERITO, ALLISON                      VIVERO, ELIZABETH
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VIVEROS, ANTIOCO                     VIVIAN, ANNE                           VIVIAN, MARGARET
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VIVIANA CAMPUZANO     Case 22-11238-LSS     Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            470 DEERHURTS, AVE
                                                                               CAMARILLO, CA 93012




VIVIANO, ANTHONY                        VIVID EDGE MEDIA GROUP, INC.           VIVID SEATS
ADDRESS AVAILABLE UPON REQUEST          67 KEMBLE ST. SUITE 3.5                ADDRESS UNAVAILABLE AT TIME OF FILING
                                        BOSTON, MA 02119




VIVLAMORE, BILL                         VIXAISACK, MARIE                       VIXAMAR, JOAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VIZCARRA, KRISTA                        VIZCONDE, STEPHANIE                    VIZENOR, KATIE
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VIZENTS, COLLEEN                        VIZZA, MATTHEW                         VIZZONE, SANDY
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VIZZONI, LISA                           VIZZUSI, TAYLOR                        VK, MARGARET
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VLACIC, NICK                            VLADIMIR KUSHNIR                       VLADIMIR, JULIA
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VLADYSLAV PODOLIAKO                     VLAHAKIS, MEREDITH                     VLASTARAKIS, GEORGIOS
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VLCHEK, KATE                            VLIEK, RYAN                            VLIEM, JESSE
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VMWARE                                  VO, CHRIS                              VO, GINA
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VO, JENNIFER          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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VO, THANG                            VO, THUY                              VO, TRACY
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VO, TRANG                            VO, TRI                               VOCA, IOAN
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VOCATURO, KAREN                      VOCHATZER, MEGAN                      VODA, SHANE
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VODAR, MEGAN                         VODOPIJA, SHELLY                      VOECKS, JUDI
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VOEGELE, JENNA                       VOEKS, JAIME                          VOELK, BRIGITTE
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VOELKEL, EMILY                       VOELKEL, JOANNE                       VOELKER, REBECCA
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VOELKER, RYAN                        VOELTZ, BREANNE                       VOELZ, JOULE
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VOERSTER, MARLANA                    VOET, EMILEE                          VOETSCH, CATHERINE
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VOGDS, BRENDA                        VOGEL, AMANDA                         VOGEL, AMY
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VOGEL, ARIEL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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VOGEL, DYLAN                         VOGEL, HOLLY                          VOGEL, JEFFREY
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VOGEL, JEN                           VOGEL, JONATHAN                       VOGEL, JOSH
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VOGEL, KAYLA                         VOGEL, KRIS                           VOGEL, LIZ
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VOGEL, MICHAEL                       VOGEL, NICOLE                         VOGEL, PAIGE
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VOGEL, SAMANTHA                      VOGEL, SARA                           VOGEL, STEPHANIE
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VOGEL, STEVEN                        VOGEL, VALERIE                        VOGEL, ZACHARY
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VOGEL, ZACHARY                       VOGELSANG, KATE                       VOGELTANZ, TARA
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VOGG, MADELINE                       VOGL, KELLY                           VOGL, MONIKA
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VOGLER, CARRIE                       VOGRICH, ALLISON                      VOGT, AIMEE
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VOGT, CHAD            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VOGT, CORTNEY                    Page 5139  of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VOGT, DORIS                          VOGT, ERIN                            VOGT, LAUREN
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VOGT, SARA                           VOGT, WHITNEY                         VOGTMAN, HOLLY
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VOGTMAN, JULIE                       VOGTNER, LISA                         VOGUS, HEATHER
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VOHIES, LUKE                         VOICU, ANDREI                         VOIGHT, ADAM
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VOIGT, CHRISTINE                     VOIGT, NANCY                          VOIGTLANDER, JOSH
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VOIGTMAN, SARAH                      VOIN, AMBER                           VOINOVA, KATERYNA
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VOIRIN, JESSICA                      VOISINE, JENNIFER                     VOISINE, KERRI
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VOJKOVSKA, MARIE                     VOJVODIC, ALEKSANDRA                  VOJVODIC, IVAN
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VOLANSKY, KIRSTEN                    VOLBEDA, ERIN                         VOLBERDING, DONNA
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VOLBERT, ANNIKA       Case 22-11238-LSS    DocLEON
                                     VOLCHYOK,  2 Filed 11/30/22      Page 5140   of 5495
                                                                           VOLD, ALYSHA
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VOLDNESS, DONNA                      VOLESKY, CHRISTINA                    VOLF, NELLIE
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VOLIK, VLADISLAV                     VOLIVA, SALLY                         VOLK, ANNA
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VOLK, BRITTANY                       VOLK, COURTNEY                        VOLK, KAILEY
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VOLK, KAYLEEN                        VOLKER LUTZ                           VOLKERT, JUDY
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VOLKHEIMER, CASSANDRA                VOLKLE, ALLYSON                       VOLKMANN, JACKIE
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VOLKMANN, MICHAEL                    VOLKMOR, JULIE                        VOLKOV, ALEX
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VOLKOVA, NATALIA                     VOLL, SARAH                           VOLLARO, MARY
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VOLLARO, MICHAEL                     VOLLBRECHT, VALERIE                   VOLLMAR, JUDITH
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VOLLMER, ADRIENNE                    VOLLMER, CHELSEA                      VOLLMER, JOYCE
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VOLLMER, KELLY        Case 22-11238-LSS    Doc
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                                                                           VOLMAR, 5495
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VOLNEY GUZMAN                        VOLOKONSKYI, PAVLO                    VOLONTE, LARISSA
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VOLOSO, GERALD                       VOLPE, ADRIANA                        VOLPE, AVA
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VOLPE, CELIA                         VOLPE, DEEVY                          VOLPE, DENNIS
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VOLPE, DORIAN                        VOLPE, EMMA                           VOLPE, JAMIE
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VOLPE, KELLI                         VOLPE, MARILYN                        VOLPE, MATTHEW
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VOLPE, MATTHEW                       VOLPE, ROCCO                          VOLPE, SAIDA
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VOLPENHEIN, ASHLEY                   VOLPENHEIN, KATY                      VOLPERT, LESLIE
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VOLPICELLI, NATALIE                  VOLQUARTSEN, HANNAH                   VOLT MANAGEMENT CORP.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        FILE 53102
                                                                           LOS ANGELES, CA 90074-3102




VOLTAGGIO, LAUREN                    VOLTAIRE, GETO                        VOLTIN, JAMISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VOLTOLINE, JAMES      Case 22-11238-LSS    Doc
                                     VOLTURO,    2 Filed 11/30/22
                                              JOHN                    Page 5142 ofJOSH
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VOLZ, DIANA                          VOLZ, JOANNE                          VOLZ, MALORI
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VOMVAS, EMILY                        VON BEHREN, BRITTANY                  VON BRANDENBURG, KRICKET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VON DER LINDEN, KYLE                 VON DER MEHDEN, ELISE                 VON EUW, EM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VON FAHNESTOCK, SAMANTHA             VON HERBULIS, CAROL                   VON LINSOWE, TINA
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VON MOLTKE, LISA                     VON PELET, FLORENCE                   VON RAESFELD, NICOLE
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VON ROTHSTEIN / CARE OF MAC          VON SCHACK, MIMI                      VON SCHRADER, CAROLINE
PROPERTIES, KRISTIN                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ADDRESS AVAILABLE UPON REQUEST




VON STAA TOLEDO, MELANIE             VON STEIN, GAYLE                      VON STRIVER, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VON STROLLEY, ARIELLE                VON SUMMER, SAMANTHA LOU              VON ZUP, MELISSA
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VON, KLARA                           VON, MICHELLE                         VONA, BRITTANY
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VONA, TARA            Case 22-11238-LSS    DocV2RAEFiled 11/30/22
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                                                                              VONBENKEN, MARY
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VONBERGE, JODI                          VONDAL, BROOKE                        VONDER HAAR, NATHAN
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VONDERHAAR, MICHELLE                    VONDERHOYA, KAREN                     VONDRAK, RACHEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VONDRAK, RYAN                           VONDRAN, CHRISTINE                    VONDRAS, EDWARD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VONESCH, CHRISTOPHER                    VONETTA JONES                         VONG BOUSSA
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VONGKESONE, MARY                        VONHOF, HEATHER                       VONK, DAVISS
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VONK, LOTTE                             VONLEHMDEN, ANNIE                     VONRUDEN, ADAM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VONS                                    VONSEGGERN, VICTORIA                  VONSTEIN, GLORIA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VONTERSCH, BRYCE                        VOOGD, AMY                            VOON PANG GOH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VOORDE, BRIAN                           VOORHEES, BRANDI                      VOORHEES, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VOORHEES, COLE        Case 22-11238-LSS    DocSHAWNY
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VOORHES, MORGAN                      VOOTKUR, SHILPA                        VORA, KAJAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VORELL, LISA                         VOREYER, RYAN                          VORHEES, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VORHIES, KAREN                       VORIS, MONICA                          VORIS, MONICA
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VORNDAM, ELIZABETH                   VORNDRAN, ERICA                        VORNDRAN, HEIDI
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VORNHOLT, SUSAN                      VOROBEK, CHRISTOPHER                   VORONEC, ABIGAIL
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VOROUS, EMILY                        VORPAHL, AMELIA                        VORRASI, JANIE
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VORSE, KIMBERLY                      VORTOLOMEI, NICOLE                     VORVIS, ELENI
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VORWERCK, MOLLY                      VORWERK, ANDERSON                      VORWERK, AVERY
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VOS, CAROLINE                        VOS, JESSICA                           VOS, MAKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
VOS, STACIE           Case 22-11238-LSS    Doc
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                                                                           VOSBURG, TAMMIE
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VOSHAGE, BRIT                        VOSHELL, KATHY                        VOSMERA-MITCHELL, ASHLEY
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VOSS, ABIGALE                        VOSS, AMANDA                          VOSS, ASHLEY
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VOSS, BRENDON                        VOSS, ERIN                            VOSS, HEATHER
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VOSS, IRMGARD                        VOSS, JARAD                           VOSS, MAYA
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VOSS, MINDY                          VOSS, PHAELON                         VOSS, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VOSS, SHAUNAMANANA                   VOSS, VINITA                          VOSSLER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VOSU-CRAMER, CHRISTINA               VOSWINKEL, VALERIE                    VOTAW, ADRIENNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VOTH, JENNIFER                       VOTH, NICOLE                          VOTH, TAYLER
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VOTTA, AMANDA                        VOTTA, KIM                            VOTTO, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VOU, THOMPSON         Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VOULGARIS, HALLIE                    VOUTSAS, MARY                         VOVCHOK, NATALYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VOWELL, CHANDLER                     VOWELS, SHANE                         VOXPOP COMMUNITIES, INC. (INFLUENCE)
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        435 HUDSON STREET, SUITE 400
                                                                           NEW YORK, NY 10014




VOYAGE MOBILE, INC.                  VOYLES, JENNIFER                      VOYTEK, MOLLY
3962 MCLAUGHLIN AVE                  ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90066




VOZAR, ANNIE                         VOZZELLA, MICHELE                     VOZZOLO, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VOZZY, ELIZABETH                     VRABEL, LAUREN                        VRABEL, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VRABEL, MEGAN                        VRABEL, VANESSA                       VRABEL, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VRABELY, ASHLEY                      VRAGOVICH, AMANDA                     VRAI DIGITAL LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        MOLLY TRACY
                                                                           706 WEST BARRY AVENUE 2B
                                                                           CHICAGO, IL 60657




VRAI MEDIA LLC (THE GOOD TRADE)      VRANAS, ELIZABETH                     VRANCKEN, SUZANNE
THE GOOD TRADE (AMY ANN CADWELL)     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
1519 ECHO PARK AVE
LOS ANGELES, CA 90026




VRANICH, KELLY                       VRANKEN, BRUCE                        VRATIL, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VRBKA, AMY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     VRCEK, IVAN                      Page 5147 of 5495AZUREA
                                                                           VREDENBURGH,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VREELAND, LINDSEY                    VREEMAN, RACHEL                       VRINTEN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VROMAN, ALISA                        VROOM, ERIN                           VROTNY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VRTACHNIK, YOLANDA                   VRTCAL MARKETS, INC.                  VRUWINK, MADELEINE
ADDRESS AVAILABLE UPON REQUEST       10 E YANONALI STREET                  ADDRESS AVAILABLE UPON REQUEST
                                     SANTA BARBARA, CA 93101




VRYHOF, JILLIAN                      VS, SOPHIE                            VU, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VU, CHRISTINA                        VU, DUC                               VU, DUYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VU, KAT                              VU, MICHELLE                          VU, SEINPHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VU, TRAM                             VUCCI, ANNIKA                         VUCHETICH, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VUCOVICH, EMILY                      VUE, NUJSAUBNUSI                      VUELING AIRLINES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




VUJOVICH, PETE                       VUK, ZAURE                            VUKOTA, DRAGO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
VULGAMORE, SAVANNAH Case 22-11238-LSS     Doc
                                   VULJANIC,    2 Filed 11/30/22
                                             ASHLEY                  Page 5148
                                                                          VULLO, of 5495
                                                                                 RICHARD
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




VULPO, MIKE                         VULTAGGIO, ANTHONY                    VULTAGGIO, V. WILLIAM
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VUNGLE, INC.                        VUONA, LISA                           VUONG, ANGELINE
185 CLARA ST. SUITE 100             ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94107




VUONG, DIANA                        VUONG, SARAH                          VUONG, SUZIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VUORI, STEPHANIE                    VUOTTO, GINA                          VUPER, AILIE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VURRO, MELANIE                      VUYLSTEKE, JOANNE                     VV1515 LLC
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        1 BELMONT AVENUE, SUITE 520
                                                                          BALA CYNWYD, PA 19004




VWS MO LLC                          VY CUNNINGHAM                         VYAS, ARUNDHATI
1501 W. 31ST ST., STE 270           ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
KANSAS CITY, MO 64111




VYAS, GOVINDA                       VYAS, KAAJAL                          VYAS, NITI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VYAS, SHIVAM                        VYMYSLICKY, ERIC                      VYSMA, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




VYSOTSKAYA, HANNA                   VYVERBERG, JOSEPH                     VYVERBERG, RYLEY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
W ALLEN, CHAD         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           W LARKIN, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




W, BRITTA                            W, CATHERINE                          W, CHRIS
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W, J                                 W, JAMES                              W, JEANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




W, JOSH                              W, KARA                               W, KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




W, M                                 W, MICHAEL                            W, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




W, MIKE                              W, NICK                               W, PARIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




W, SHANNON                           W, THOMAS                             W. REMBERT, FRANCES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




W., NEWTON                           WA STATE DEPT OF REVENUE              WA STATE LIQUOR CONTROL BOARD
ADDRESS AVAILABLE UPON REQUEST       P.O. BOX 47478                        1025 UNION AVE SE
                                     OLYMPIA, WA 98504-7478                OLYMPIA, WA 98501




WAAGE, KRISMAR                       WAANABA, AMANDA AND BARRY             WAATAJA, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WABAUNSEE, KIMBERLY                  WABISZEWSKI, MARGARET                 WABUGE, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WACH, EMILIE          Case 22-11238-LSS
                                     WACHA,Doc
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                                                                              WACHHOLTZ, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WACHIRA, NAOMI                          WACHSMUTH, ALINE                      WACHSPRESS, HOWARD
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WACHTEL, JACQUELINE                     WACHTEL, JONATHAN                     WACHTER, DAVID
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WACHTER, ERYN                           WACIK, MICHELLE                       WACKER, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WACKER, EMILY                           WACKER, KASEY                         WACKER, TATIANA
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WACKERMAN, REGINA                       WACKLER, MATTHEW                      WACKNOV, STACEY
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WACKYBUTTONS                            WACLAWSKI, JESSICA                    WACOM TECHNOLOGY CORP
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




WADDELL, ALLAN                          WADDELL, ASHLEY                       WADDELL, CHASSITY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADDELL, EUGENE                         WADDELL, JULIE                        WADDELL, LISA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADDELL, REID                           WADDELL, SAMANTHA                     WADDILL, LAURI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WADDLER, TAMARA       Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WADE BREITZKE                    Page 5151  of 5495
                                                                           WADE BURRELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE M BOSWELL LLC                   WADE, ABBIE                           WADE, ADRIENNE
109 N ESSEX AVENUE                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BALTIMORE, MD 21221




WADE, ADRIENNE                       WADE, ASHLEIGH                        WADE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, BRET                           WADE, BRET                            WADE, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, BROOKS                         WADE, CAROLINE                        WADE, CAROLINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, CASSANDRA                      WADE, CHARLENE                        WADE, CHRISTINE
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WADE, CHRISTY                        WADE, COURTNEY                        WADE, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, DARWIN                         WADE, ELLI                            WADE, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, GEORGEANNA                     WADE, JALENCIA                        WADE, KAITLIN
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WADE, KENYATTA                       WADE, LAURA                           WADE, LORI
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WADE, LOVELL          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WADE, MADDIE                     Page 5152  of 5495
                                                                           WADE, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, MARSHA                         WADE, MARY                            WADE, MICHAELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, MOLLY                          WADE, NAJERAH                         WADE, NINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, RACHEL                         WADE, ROBERT                          WADE, SANKOFA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE, SAVANNA                        WADE, SHANAY                          WADE, SHANNON
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WADE, STELLA                         WADE, SUSANAH                         WADE, TENITA
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WADE, TERRI                          WADE, TONI                            WADE, TROYAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADE-BROADHEAD, LYNETTE              WADE-HAIRSTON, TINA                   WADEMAN, AIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADHVANI, VISHAL                     WADLEIGH, LINDSAY                     WADLEIGH, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WADLEY, DEVIN                        WADLOW, JONNEE                        WADMAN, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WADOOD, AUDREY        Case 22-11238-LSS    Doc 2AMBER
                                     WADSWORTH,      Filed 11/30/22   Page 5153 of 5495
                                                                           WADSWORTH, DAESHAUNDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAESCHE, BRIANNA                     WAFELBAKKER, TESS                     WAFFORD, DARYL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAFIQ MUSALLAM                       WAGAMAN, ANITA                        WAGASKY, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGENAAR, TINA                       WAGENBACH, BECKY                      WAGENBACH, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGENSCHUTZ, CYSTINE                 WAGER, ALISA                          WAGER, ALLYSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGER, JOHN                          WAGER, NICOLE                         WAGER, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGER, STEPHANIE                     WAGERS, CHRISTINA                     WAGERS, KAMRON
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WAGES, JEFFREY                       WAGES, LYNELLE                        WAGES, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGEWORKS, INC                       WAGEWORKS, INC                        WAGGENSPACK, BRIAN
1100 PARK PLACE 4TH FLOOR            PO BOX 870725                         ADDRESS AVAILABLE UPON REQUEST
SAN MATEO, CA 94403                  KANSAS CITY, MO 64187-0725




WAGGONER, CLAIRE                     WAGGONER, DEBRA                       WAGGONER, GRANT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WAGGONER, JENNY       Case 22-11238-LSS    DocJOSEPH
                                     WAGGONER,  2 Filed 11/30/22      Page 5154 of 5495
                                                                           WAGGONER, JOSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGGONER, STAN                       WAGGONER, WENDEY                      WAGGY, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGHER, EMMA                         WAGLE, SABIN                          WAGLIARDO, TAYLOR
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WAGMAN, ALLAN                        WAGMAN, JULIA                         WAGNER VON HOFF, CHRISTOPH
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WAGNER, AARON                        WAGNER, ANDREA                        WAGNER, ANGELA
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WAGNER, ARYANNA                      WAGNER, ASHLEY                        WAGNER, BARBARA
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WAGNER, BECKY                        WAGNER, BEN                           WAGNER, BLAIR
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WAGNER, CHELSEY                      WAGNER, CHIMEORA                      WAGNER, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, CHRISTINE                    WAGNER, CHRISTOPHER                   WAGNER, CLAUDETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, CLINT                        WAGNER, DARCY                         WAGNER, DEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WAGNER, EILEEN        Case 22-11238-LSS    Doc
                                     WAGNER,     2 Filed 11/30/22
                                             ELISABETH                Page 5155 of ELYSSE
                                                                           WAGNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, EMILY                        WAGNER, EMMA                          WAGNER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, GERIT                        WAGNER, GILLIAN                       WAGNER, GRACE
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WAGNER, HOLLY                        WAGNER, JAMES                         WAGNER, JANICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, JASON                        WAGNER, JEAN                          WAGNER, JILL
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WAGNER, JILL                         WAGNER, JILL                          WAGNER, JOANNA
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WAGNER, JULIE                        WAGNER, KAITLYN                       WAGNER, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, KATHRYN                      WAGNER, KATIE                         WAGNER, KATIE
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WAGNER, KAY                          WAGNER, KAYLEE                        WAGNER, KELLY
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WAGNER, KELSEY                       WAGNER, KRISTIN                       WAGNER, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WAGNER, KYNDAL        Case 22-11238-LSS    Doc
                                     WAGNER,    2 Filed 11/30/22
                                             LAURA                    Page 5156 of LAURA
                                                                           WAGNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, LAURA                        WAGNER, LAUREN                        WAGNER, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, LUKE                         WAGNER, MARGARET                      WAGNER, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, MEGAN                        WAGNER, MELISSA                       WAGNER, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, MICHAEL                      WAGNER, MICHELLE                      WAGNER, MONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, NANCY                        WAGNER, NATALIE                       WAGNER, NATHAN
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WAGNER, NATHAN                       WAGNER, NICHOLE                       WAGNER, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, PAM                          WAGNER, PATRICIA                      WAGNER, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, PATTY                        WAGNER, PAUL                          WAGNER, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, ROBERT                       WAGNER, ROBIN                         WAGNER, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WAGNER, SAMANTHA      Case 22-11238-LSS    Doc
                                     WAGNER,    2 Filed 11/30/22
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                                                                           WAGNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, SARAH                        WAGNER, SARAH                         WAGNER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, SCOTT                        WAGNER, STEPHANIE                     WAGNER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, SUSAN                        WAGNER, TAMIKO                        WAGNER, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, TINA                         WAGNER, TYLER                         WAGNER, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGNER, WHITNEY                      WAGNER, WILLIAM                       WAGNON, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGONER, ASHLEY                      WAGONER, DAVID                        WAGONER, FELICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGONER, JEANNA                      WAGONER, LINDSAY                      WAGONER, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGONER, NELLIE                      WAGONER, SARAH                        WAGONER, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAGSTAFF, DANIELLE                   WAH, ALBERT                           WAHAB, YASMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WAHED, ANNAFI         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WAHID, KHIZAR                      Page 5158  of 5495
                                                                             WAHL, CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAHL, DARCY                          WAHL, HEATHER                           WAHL, KYNDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAHL, SHANNON                        WAHL, STACIE                            WAHLBERG, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAHLERT, DEANNA                      WAHLKE, SIERRA                          WAHLSTROM, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAHNER, JACLYN                       WAHOOS FISH                             WAHOOWA VENTURES LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   535 MIDDLEFIELD ROAD SUITE 245
                                                                             MENLO PARK, CA 94025




WAI SHENG TAN                        WAI, DENNIS                             WAI, HNIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAIBEL, BREANNA                      WAIBEL, CARLIE                          WAIBEL, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAID, AUDREY                         WAID, EMMA                              WAIDELL, CARL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAIER, AMANDA                        WAIER, CYNTHIA                          WAILUS, RHEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAINE, BETSY                         WAINER, ANDREA                          WAINER, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WAINFORD, BRYANNE     Case 22-11238-LSS    DocCARLA
                                     WAINRIGHT, 2 Filed 11/30/22      Page 5159  of 5495
                                                                           WAINRIGHT, CHRISTIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WAINSCOTT6, SANDRAW                  WAINWRIGHT, CATHERINE                  WAINWRIGHT, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WAINWRIGHT, LAUREL                   WAINWRIGHT, SEAN                       WAINWRIGHT, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WAISANEN, ANGELA                     WAIT, HALEY                            WAIT, SARAH
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WAIT, TAYLOR                         WAITE, ANNMARIE                        WAITE, CHANDLER
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WAITE, CORINNE                       WAITE, HANNAH                          WAITE, KARA
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WAITE, KATHERINE                     WAITE, MARGO                           WAITE, MICHELLE
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WAITE, PAMELA                        WAITE, SCOTT                           WAITE, SIDNEY
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WAITE, STEPHANIE                     WAITES, MIRIAM                         WAITES, PATRICIA
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WAITHE, KEVIN                        WAITZ, AVIVA                           WAJER, MICHAEL
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WAJERT, AMANDA        Case 22-11238-LSS    DocEWA
                                     WAJNBERG,  2 Filed 11/30/22      Page 5160  of 5495
                                                                           WAKE, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAKE, CARLA                          WAKE, NICOLA                          WAKEFIELD NEGVESKY, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAKEFIELD, BEN                       WAKEFIELD, JOSH                       WAKEFIELD, SAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAKELAND, COURTNEY                   WAKELEE, DREW                         WAKELING, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAKELING, MOLLY                      WAKELY, KRISTYN                       WAKELY, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAKI, JANA                           WAKILPOOR, MOLLY                      WAKNITZ, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAKUT, LYLA                          WALABAI, GLORIA                       WALAG, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALAINIS, KIMBERLY                   WALAS, KATHY                          WALAS, KATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALAVALKAR, ADITYA                   WALBERG, DEBBI                        WALBERG, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALBERRY, MADISON                    WALBERT, KAREN                        WALBERT, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WALBERT, REBEKAH      Case 22-11238-LSS    Doc
                                     WALBON,    2 Filed 11/30/22
                                             CALEB                    Page 5161 of 5495
                                                                           WALBORNN, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALBRIDGE, ELIZABETH                 WALBRIDGE, GARY                       WALBRIDGE, LISA
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WALBURN, ASHLEY                      WALBURN, KAYLA                        WALCH, JUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALCH, LAURA                         WALCH, SAMANTHA                       WALCHER, DAWN
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WALCHER, ELIZABETH                   WALCK, JANE                           WALCO, ALEXANDRA
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WALCOFF, CAROL                       WALCOME, ALECTRA                      WALCZAK, TIM
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WALD, HANNAH                         WALD, KRISTINA                        WALD, LAUREN
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WALDBY, KEN                          WALDEN, BRAD                          WALDEN, BRITTNEY
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WALDEN, EMILY                        WALDEN, KATHY                         WALDEN, MARTHALEE
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WALDEN, MARTY                        WALDEN, NICHOLAS                      WALDEN, NICOLE
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WALDEN, REBA          Case 22-11238-LSS    Doc
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                                                                           WALDEN, 5495
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WALDEN, SITI                         WALDEN, TERRI                         WALDEN, THERESA
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WALDEN, VANESSA                      WALDIN, MARK                          WALDMAN, ALEXANDRA
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WALDMAN, ERIC                        WALDMAN, ESTHER                       WALDMAN, LAURA
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WALDMAN, LAUREN                      WALDMAN, RYANN                        WALDMAN, WENDY
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WALDMAN, ZOE                         WALDNER, HEIDI                        WALDO, EMMA
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WALDO, JULIAN                        WALDO, TENAYE                         WALDOCH, BRIANNA
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WALDOCH, KATHERINE                   WALDON, ALICIA                        WALDON, GEORGE
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WALDREF, ROBERT                      WALDREN, JULIE                        WALDRON, ADAM
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WALDRON, ANDREA                      WALDRON, CHRISTOPHER                  WALDRON, JENNIFER
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WALDRON, JILLIAN      Case 22-11238-LSS    Doc
                                     WALDRON,   2 Filed 11/30/22
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                                                                           WALDRON, MELISSA
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WALDRON, SHAWN                       WALDRON, STEVE                        WALDRON, TONI
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WALDROP, CARLEIGH                    WALDROP, HEATHER                      WALDRUP, KATIE
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WALDSCHMIDT, MARIMACKENZIE           WALDSMAYATE, ELIZABETH                WALDSTEIN, HILLARY
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WALEGA, KELSEY                       WALEN, SCOTT                          WALENTIK, ANJA
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WALENTYNOWICZ, KACPER                WALES, BROOKE                         WALES, ELIZABETH
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WALES, JEFF                          WALESIEWICZ, ELEANOR                  WALFIELD, KRISTEN
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WALFORD, ARLANA                      WALGREEN, CHARIS                      WALGREENS
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WALGREN, APRIL                       WALHEIM, KRISTEN                      WALHEIM, LAUREN
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WALICZEK, CLAIRE                     WALIGROSKI, GARRETT                   WALIGUR, APRIL
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WALISCH, WYATT        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WALJE, BRIGID                    Page 5164  of 5495
                                                                           WALK, HUNTER
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WALK, MADISON                        WALKA, KASSANDRA                      WALKE, KATHLEEN
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WALKER PARKS SAVIDGE                 WALKER REPLOGLE, BARBARA              WALKER
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WALKER, 1                            WALKER, AARON                         WALKER, ALICIA
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WALKER, ALICIA                       WALKER, ALINA                         WALKER, ALISHA
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WALKER, ALLISON                      WALKER, AMANDA                        WALKER, AMANDA
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WALKER, AMBER                        WALKER, AMEENA                        WALKER, AMORIS
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WALKER, AMY                          WALKER, AMY                           WALKER, ANDREA
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WALKER, ANDREA                       WALKER, ANNA                          WALKER, ANNE
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WALKER, ASHLEY                       WALKER, AUSTIN                        WALKER, BARBARA
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WALKER, BRAD          Case 22-11238-LSS    Doc
                                     WALKER,    2 Filed 11/30/22
                                             BRANDI                   Page 5165 ofBRANDI
                                                                           WALKER, 5495
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WALKER, BRANDON                      WALKER, BRENDA                        WALKER, BRIANNA
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WALKER, BRITTANY                     WALKER, BRITTANY                      WALKER, BROCK
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WALKER, BROOKE                       WALKER, CAITLIN                       WALKER, CALEE
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WALKER, CALLIE                       WALKER, CARISSA                       WALKER, CARLEY
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WALKER, CAROLYN                      WALKER, CARRIE                        WALKER, CARRIE
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WALKER, CARRIEANNE                   WALKER, CASEY                         WALKER, CASSIE
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WALKER, CHARLES                      WALKER, CHLOE                         WALKER, CHLOE
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WALKER, CHRIS                        WALKER, CIERA                         WALKER, CINDI
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WALKER, CINDY                        WALKER, CINDY                         WALKER, CLAIRE
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WALKER, CODY          Case 22-11238-LSS    Doc
                                     WALKER,    2 Filed 11/30/22
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WALKER, COURTNEY                     WALKER, CURRY                         WALKER, CYNTHIA
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WALKER, DANA                         WALKER, DANIELLE                      WALKER, DAVID
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WALKER, DAVID                        WALKER, DAVIS                         WALKER, DEBRA
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WALKER, DERREK                       WALKER, DEVIN                         WALKER, DOMINIQUE
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WALKER, DOUG                         WALKER, DRAGON                        WALKER, DUSTIN
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WALKER, DYLAN                        WALKER, ELIZABETH                     WALKER, ELIZABETH
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WALKER, ELIZABETH                    WALKER, ELLE                          WALKER, ELLEN
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WALKER, ELMA                         WALKER, EMILY                         WALKER, EMMA
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WALKER, ERIC                         WALKER, ERIC                          WALKER, ERICA
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WALKER, FAITH         Case 22-11238-LSS    Doc
                                     WALKER,     2 Filed 11/30/22
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                                                                           WALKER, 5495
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WALKER, FRANCES                      WALKER, GARRETT                       WALKER, GENESIS
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WALKER, GEOFFREY                     WALKER, GEORGINA                      WALKER, GINGER
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WALKER, GITANYA                      WALKER, GREG                          WALKER, GREGORY
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WALKER, HAILY                        WALKER, HANLY                         WALKER, HANNAH
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WALKER, HEATHER                      WALKER, HEATHER                       WALKER, HOLLY
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WALKER, HOLLY                        WALKER, JACI                          WALKER, JACKSON
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WALKER, JACOB                        WALKER, JASMINE SKY                   WALKER, JASON
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WALKER, JEFFREY                      WALKER, JERRY                         WALKER, JESSE
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WALKER, JESSICA                      WALKER, JESSICA                       WALKER, JESSICA
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WALKER, JIM           Case 22-11238-LSS    Doc
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WALKER, JOHN                         WALKER, JORDAN                        WALKER, JORDAN
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WALKER, JORDYN                       WALKER, JULISSA                       WALKER, JUSTIN
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WALKER, JUSTIN                       WALKER, KARA                          WALKER, KATELYNN
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WALKER, KATHERINE                    WALKER, KATHLEEN                      WALKER, KATHLEEN
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WALKER, KATIE                        WALKER, KAYLEE                        WALKER, KEVIN
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WALKER, KIMBERLEE                    WALKER, KIMBERLY                      WALKER, KIMBERLY
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WALKER, KIMBERLY                     WALKER, KRISTIN                       WALKER, LAURA
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WALKER, LAYLA                        WALKER, LEIGHANNE                     WALKER, LESLIE
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WALKER, LILY                         WALKER, LINDA                         WALKER, LINDSAY
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WALKER, LISA          Case 22-11238-LSS    Doc
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                                                                           WALKER, 5495
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WALKER, LONNIE                       WALKER, LORI                          WALKER, MADISON
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WALKER, MANDI                        WALKER, MARGARET                      WALKER, MARK
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WALKER, MARY                         WALKER, MARY                          WALKER, MASON
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WALKER, MATTHEW                      WALKER, MAURA                         WALKER, MEGAN
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WALKER, MEGHAN                       WALKER, MELISSA                       WALKER, MELISSA
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WALKER, MELISSA                      WALKER, MELISSA                       WALKER, MELISSA
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WALKER, MICHAEL                      WALKER, MICHAELA                      WALKER, MICHELLE
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WALKER, MINDY                        WALKER, MORGAN                        WALKER, MORIAH
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WALKER, NATASHA                      WALKER, NICOLE                        WALKER, NICOLE
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WALKER, NICOLE        Case 22-11238-LSS    Doc
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WALKER, PAIGE                        WALKER, PAM                           WALKER, PATRICE
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WALKER, PATRICK                      WALKER, PAUL                          WALKER, PAUL
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WALKER, PAULANNE                     WALKER, PEGGY                         WALKER, PIERRE
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WALKER, RACHEL                       WALKER, RACHEL                        WALKER, RALPH
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WALKER, REBECCA                      WALKER, REGGIE                        WALKER, RENEE
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WALKER, RENEE                        WALKER, RENEE                         WALKER, RITA
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WALKER, ROBERT                       WALKER, ROBIN                         WALKER, ROSE
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WALKER, SAM                          WALKER, SAMUEL                        WALKER, SAMUEL
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WALKER, SARAH                        WALKER, SARAH                         WALKER, SARAH
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WALKER, SERITA        Case 22-11238-LSS    Doc
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WALKER, SHANAH                       WALKER, SHANNA                        WALKER, SHANNON
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WALKER, SHARON                       WALKER, SLOANE                        WALKER, STEPHANIE
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WALKER, STEPHANIE                    WALKER, STEVEN                        WALKER, SUMMER
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WALKER, SYDNEY                       WALKER, TAMMI                         WALKER, TANIA
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WALKER, THOMAS                       WALKER, TIAMARA                       WALKER, TIFFANY
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WALKER, TIFFANY                      WALKER, TOM                           WALKER, TONYA
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WALKER, TRACY                        WALKER, TRENTON                       WALKER, TROY
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WALKER, TYLER                        WALKER, TYSHEME                       WALKER, UNDRAE
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WALKER, VALERIE                      WALKER, VALERIE                       WALKER, VANESSA
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WALKER, VERONICA      Case 22-11238-LSS    Doc
                                     WALKER,     2 Filed 11/30/22
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WALKER, WHITNEY                      WALKER, WILLIAM                       WALKER, XYLINA
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WALKLING, JENNIFER                   WALKOVICH, KATHLEEN                   WALKUP, BRIANNA
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WALKUP, JOY                          WALKUP, KATIE                         WALL, ALEX
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WALL, AMANDA                         WALL, ANA                             WALL, ANGIE
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WALL, BLAKELY                        WALL, CALEN                           WALL, CONNOR
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WALL, DAVID                          WALL, DIANNA                          WALL, FURMAN
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WALL, GRACE                          WALL, JANE                            WALL, JANELLE
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WALL, JUDI                           WALL, KAITLYN                         WALL, KARA
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WALL, KATIE                          WALL, KELLY                           WALL, LANGLEY
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WALL, LAUREN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WALL, LESLIE                     Page 5173   of 5495
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WALL, LOUISE                         WALL, MAGGIE                          WALL, MELISSA
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WALL, MOLLY                          WALL, NICOLE                          WALL, OLIVIA
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WALL, PEYTON                         WALL, REBEKAH                         WALL, RODGER
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WALL, SAVANNAH                       WALLACE LLL, JOHNNY                   WALLACE, AJA
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WALLACE, ALEXI                       WALLACE, ALICIA                       WALLACE, ALYSSA
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WALLACE, ANAYA                       WALLACE, ANDI                         WALLACE, ANDREW
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WALLACE, AUBREY                      WALLACE, BECKY                        WALLACE, BRANDON
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WALLACE, BRANDON                     WALLACE, C                            WALLACE, CANDACE
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WALLACE, CARLITA                     WALLACE, CARMEN                       WALLACE, CAROL
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WALLACE, CATHERINE    Case 22-11238-LSS    Doc
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                                              CAYLA                   Page 5174 of 5495
                                                                           WALLACE, CHARLES
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WALLACE, CHRIS                       WALLACE, CLAIRE                       WALLACE, COLIN
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WALLACE, DAN                         WALLACE, DEBBIE                       WALLACE, DIANE
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WALLACE, DOMINIQUE                   WALLACE, DONNA                        WALLACE, ED
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WALLACE, EDWARD                      WALLACE, ELIZABETH                    WALLACE, EMILY
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WALLACE, ESMA                        WALLACE, EVERETT                      WALLACE, IRMA
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WALLACE, JAN                         WALLACE, JENNY                        WALLACE, JERRY
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WALLACE, JESSICA                     WALLACE, JOHN                         WALLACE, JOHNNY
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WALLACE, JONATHAN                    WALLACE, KAREN                        WALLACE, KATHERINE
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WALLACE, KATHLEEN                    WALLACE, KATHLEEN                     WALLACE, KATRINA
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WALLACE, KELLY        Case 22-11238-LSS    Doc
                                     WALLACE, KEN2   Filed 11/30/22   Page 5175 of 5495
                                                                           WALLACE, KEVIN
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WALLACE, KIM                         WALLACE, KRISTINE                     WALLACE, LAPORTSIA
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WALLACE, LARK                        WALLACE, LAUREN                       WALLACE, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLACE, LINDSAY                     WALLACE, LINDSAY                      WALLACE, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLACE, LORRIE                      WALLACE, LOUISE                       WALLACE, MARIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLACE, MARIAH                      WALLACE, MARIE                        WALLACE, MARLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLACE, MEGAN                       WALLACE, MELINDA                      WALLACE, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLACE, NADINE                      WALLACE, NANCY                        WALLACE, NATALIA
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WALLACE, NICOLE                      WALLACE, PAUL                         WALLACE, PHYLLIS
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WALLACE, RACHAEL                     WALLACE, RACHEL                       WALLACE, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WALLACE, RICHARD      Case 22-11238-LSS    Doc
                                     WALLACE,   2 Filed
                                              ROBERT G    11/30/22    Page 5176 of 5495
                                                                           WALLACE, RODRIANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLACE, SALLY                       WALLACE, SARAH                        WALLACE, SAVANNAH
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WALLACE, STEFANI                     WALLACE, SUEMOY                       WALLACE, TAMMY
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WALLACE, VANESSA                     WALLACE, ZACHARY                      WALLACE-AGBENYEGAH, TIWANNA
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WALLACH, DORYN                       WALLACHY, PAIGE                       WALLACK, SARAH
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WALLAND, KELLY                       WALLBRETT, MICHELE                    WALLEN, CHRISTINE
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WALLEN, DEBRA                        WALLEN, KENDRA                        WALLENBERG, ALEXANDRA
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WALLENHORST, JESSICA                 WALLER, ABIGAIL                       WALLER, ANGELA
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WALLER, ANTAEUS                      WALLER, CAROLINE                      WALLER, DANIELLE
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WALLER, DAVE                         WALLER, DEKOTA                        WALLER, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WALLER, FRANK         Case 22-11238-LSS
                                     WALLER,Doc 2 Filed 11/30/22
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                                                                           WALLER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLER, LAUREN                       WALLER, MARCIA                        WALLER, MEGAN
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WALLER, REBECCA                      WALLER, VINCENT                       WALLERICH, SAMANTHA
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WALLERSON, BRYAN                     WALLEY, CHRISTINA                     WALLEY, EMILY
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WALLEY, KAITLYN                      WALLEY, KELLYANN                      WALLEY, REBECCA
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WALLICK, BECKY                       WALLICK, RACHEL                       WALLIN, ANDREW
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WALLING, ELEANOR                     WALLIS, AMANDA                        WALLIS, ANNIE
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WALLIS, CHE                          WALLIS, JANET                         WALLIS, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLIS, KELSEY                       WALLIS, MARGARET                      WALLIS, NEIL
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WALLIS, RACHEL                       WALLIS, VERONICA                      WALLISCH, ANNA
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                        Case 22-11238-LSS
WALL-LOUCK, CHRISTI & ALEX                   Doc
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                                                                             WALLOCH, GREGORY
ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALLOP, ALTHEA                        WALLRICH-NUNNS, CAMBRIA                WALLS, AIRABELLA
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WALLS, ALEXA                          WALLS, AMBER                           WALLS, ANDREA
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WALLS, ANDREA                         WALLS, AUDRA                           WALLS, BRANDY
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WALLS, CATHERINE                      WALLS, CINDY                           WALLS, COURTNEY
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WALLS, DELLA                          WALLS, EVANGELINE                      WALLS, GREGORY
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WALLS, JARED                          WALLS, KARLYE                          WALLS, RACHEL
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WALLS, SHAWN                          WALLS, SYDNEY                          WALLS, TRACEE
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WALLS, TRACY                          WALLS, TRYSHA                          WALLS, VALERIE
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WALLSCHLAEGER, MARENA                 WALLSTEIN, GARRET                      WALLY FAYE WELLS
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WALLY, NERMINE        Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




WALMSLEY, ELISE                      WALMSLEY, MAGGIE                      WALN, KATE
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WALP, JENNA                          WALP, NANCY                           WALPOLE, LEAH
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WALPOOL, DEBORAH                     WALRATH, JOCELYN                      WALRATH, MELISSA
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WALRATH, RENEE                       WALRAVEN, CALLIE                      WALRAVEN, HALEY
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WALROD, AMANDA                       WALROD, DIANE                         WALSER, DIANE
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WALSER, REBECCA                      WALSER, TATUM                         WALSH PIO, KAREN
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WALSH, ABBY                          WALSH, ABBY                           WALSH, ALLEN
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WALSH, ALLISON                       WALSH, AMANDA                         WALSH, AMBER
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WALSH, ANGELA                        WALSH, ANN                            WALSH, ANN
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WALSH, ANNA           Case 22-11238-LSS
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WALSH, BILL                          WALSH, BRENDA                         WALSH, BRI
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WALSH, BRITTANY                      WALSH, BROOKE                         WALSH, BRYAN
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WALSH, CAITLIN                       WALSH, CAITLIN                        WALSH, CALLAN
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WALSH, CAROLINE                      WALSH, CAROLINE                       WALSH, CATHERINE
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WALSH, CHARLENE                      WALSH, CHARLOTTE                      WALSH, CHRISTOPHER
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WALSH, CLAIRE                        WALSH, CLAIRE                         WALSH, DANIELLE
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WALSH, DAVID                         WALSH, DEBORAH                        WALSH, DEIRDRE
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WALSH, DIANE                         WALSH, DILLON                         WALSH, ED
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WALSH, ELIZABETH                     WALSH, ELIZABETH                      WALSH, ELIZABETH
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WALSH, EMILEE         Case 22-11238-LSS
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WALSH, FRANCIS                       WALSH, FRANCIS                        WALSH, GRACIE
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WALSH, HOLLIE                        WALSH, JACK                           WALSH, JACQUELINE
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WALSH, JAIN                          WALSH, JENIS                          WALSH, JENNI
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WALSH, JENNIFER                      WALSH, JENNIFER                       WALSH, JILL
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WALSH, JOHN OR LAURA                 WALSH, JOHN                           WALSH, JOHNNY
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WALSH, JOSEPH                        WALSH, JULIE                          WALSH, JULIE
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WALSH, KAILEY                        WALSH, KARA                           WALSH, KARA
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WALSH, KATE                          WALSH, KATHERINE                      WALSH, KATHLEEN
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WALSH, KATHRIN                       WALSH, KELLY                          WALSH, KELLY
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WALSH, KELLY          Case 22-11238-LSS
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WALSH, KRISTA                        WALSH, LAUREN                         WALSH, LAUREN
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WALSH, LESLIE                        WALSH, LILY                           WALSH, LILY
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WALSH, LINDSAY                       WALSH, MACAYLA                        WALSH, MARY
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WALSH, MARY                          WALSH, MARYBETH                       WALSH, MATTHEW
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WALSH, MAURA                         WALSH, MEGAN                          WALSH, MEGAN
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WALSH, MICHELE                       WALSH, MITCHELL                       WALSH, NANCY
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WALSH, NATASHA                       WALSH, NATASHA                        WALSH, NATHAN
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WALSH, PAMELA                        WALSH, RENEE                          WALSH, ROSE
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WALSH, RUTH                          WALSH, SARA                           WALSH, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WALSH, SARAH          Case 22-11238-LSS
                                     WALSH, Doc 2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALSH, SUSAN                         WALSH, SUSANNAH                       WALSH, SUZANNE
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WALSH, TAMMY                         WALSH, TANISHA                        WALSH, TERESA
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WALSH, TOM                           WALSH, TRACY                          WALSH, VANESSA
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WALSH, WENDY                         WALSH, WILLIAM                        WALSH, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALSKA, PAULINA                      WALSKI, BRAD                          WALSTON, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALSTON, DEEANN                      WALSTON, WENDY                        WALSTROM, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALSTRUM, JOY                        WALSWORTH, MARIELLA                   WALT DISNEY WORLD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




WALT L COSBY                         WALTER BROWNING                       WALTER CHANDLER MARTIN JR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALTER KIERNAN                       WALTER MOORA                          WALTER MOORE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WALTER PISARY         Case 22-11238-LSS
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                                                                           WALTER  5495SMITH
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WALTER, ALEXIS                       WALTER, ALEXIS                        WALTER, ALLISON
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WALTER, ANNE                         WALTER, ARIA                          WALTER, ARIELLE
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WALTER, BRAD                         WALTER, CLAIRE                        WALTER, DEARDRE
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WALTER, ERIN                         WALTER, ESTHER                        WALTER, JESSICA
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WALTER, JOSHUA                       WALTER, JULIE                         WALTER, KENDALL
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WALTER, KIMBERLY                     WALTER, LINDSAY                       WALTER, MEGAN
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WALTER, REBECCA                      WALTER, ROBERT                        WALTER, SCHUYLER
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WALTER, VALERIE                      WALTER, WILLIAM                       WALTERS, ALEX
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WALTERS, ALLISON                     WALTERS, ANDREW                       WALTERS, ANGEL
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WALTERS, ANN          Case 22-11238-LSS    Doc
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                                                                           WALTERS, BEVERLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALTERS, BROOKLYN                    WALTERS, CASY                         WALTERS, CATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WALTERS, CATHY                       WALTERS, CHELSEA                      WALTERS, CHRISTOPHER
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WALTERS, DAISY                       WALTERS, EDWARD                       WALTERS, ERICA
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WALTERS, ERIN                        WALTERS, HELEN                        WALTERS, JACK
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WALTERS, JACQUE                      WALTERS, JASON                        WALTERS, JESSICA
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WALTERS, JESSIE                      WALTERS, JODI                         WALTERS, KALEY
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WALTERS, KATHLEEN                    WALTERS, KATIE                        WALTERS, KELLY
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WALTERS, KERRI                       WALTERS, LAUREN                       WALTERS, LAUREN
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WALTERS, LISA                        WALTERS, LYNIQUE                      WALTERS, MARIANA
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WALTERS, OCTAVIA                     WALTERS, PAMELA                        WALTERS, PENNY
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WALTERS, QUINN                       WALTERS, RACHEL                        WALTERS, REBECCA
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WALTERS, RISSA                       WALTERS, SHAUN                         WALTERS, SUZANNE
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WALTERS, TAYLOR                      WALTERS, VERNITTA                      WALTERSCHEID, BRITTANY
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WALTERSCHEID, PAMELA                 WALTERSDORFF, JESSICA                  WALTERS-KARASIEWICZ, DEBBIE
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WALTHALL, MARY CAIT                  WALTHER, MEGAN                         WALTHER, R
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WALTMAN, KATHERINE                   WALTMAN, LINDSEY                       WALTON, ALASHIA
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WALTON, ALYSA                        WALTON, CAMERON                        WALTON, CARRIE
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WALTON, COLBY                        WALTON, DAWN                           WALTON, GEORGE
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WALTON, HEATHER       Case 22-11238-LSS    Doc
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WALTON, JOE                          WALTON, KAREN                         WALTON, KATE
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WALTON, KATIE                        WALTON, LESLIE                        WALTON, MARISSA
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WALTON, NICOLE                       WALTON, NIKKI                         WALTON, PAMELA
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WALTON, PHILLIP                      WALTON, RICHARD                       WALTON, RONA
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WALTON, SADIE                        WALTON, TANYA                         WALTON, TAYLOR
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WALTON, TJ                           WALTON, TRICIA                        WALTON, TYLER
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WALTS, GAY                           WALTZ, ANAKATRINA                     WALTZ, BROOKE
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WALTZMAN, DANA                       WALUKAS, JULIE                        WALVOORD, JAX
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WALWYN, JULI                         WALYUN, AMANDA                        WALZ, JESSICA
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WALZ, JESSICA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WALZ, KIMBERLY                   Page 5188 ofROBERT
                                                                           WALZER, 5495
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WALZER, TANIA                        WALZTONI, TERRY                       WAMACK, CASEY
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WAMBACH, JUSTINE                     WAMBACH, WILLIAM                      WAMBACK, ANNA
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WAMBEKE, CORINNE                     WAMBLE, MARISSA                       WAMBOLD, KELLIE
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WAMELINK, JOHN                       WAMPLER, MEGAN                        WAMPLER, RACHAEL
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WAMSLEY, LAUREN                      WAN, BONNIE                           WAN, CAITLYN
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WAN, LESLIE                          WAN, MICHELLE                         WAN, TONY
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WAN, YAO                             WANAGILL, CATHERINE                   WANAMAKER, CHRISTIE
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WANAT, TRAVIS AND CHRISTINE          WANBERG, TOM                          WANDA INGLESE
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WANDA SWAIN                          WANDA TORRENCE                        WANDERLUST MARRIAGE TRAVEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
WANEK, JULIE          Case 22-11238-LSS    Doc 2 Filed 11/30/22
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WANG, BETTY                          WANG, CAI LING                        WANG, CHENYU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, CHLOE                          WANG, CHRISTINE                       WANG, CINDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, CJ                             WANG, CLAIRE                          WANG, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, DENNIS                         WANG, DERUI                           WANG, ELISABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, FELICIA                        WANG, GEORGINA                        WANG, GRACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, IRIS                           WANG, JASMINE                         WANG, JAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, JENNIFER                       WANG, JHOANNA                         WANG, JIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, JILL                           WANG, JING                            WANG, JING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, KAO                            WANG, KAREN                           WANG, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WANG, KEN             Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WANG, LEXI                       Page 5190
                                                                           WANG, of
                                                                                 LI 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, LILLIAN                        WANG, LITING                          WANG, LIYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, MENGQI                         WANG, MIAOXI                          WANG, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, MO                             WANG, MONAH                           WANG, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, PEARL                          WANG, PHILIP                          WANG, QIANYUAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, RAN                            WANG, REBECCA AND JESSE               WANG, RUI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, SAM                            WANG, SELINA                          WANG, SHIYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, STANLEY                        WANG, TIMOTHY                         WANG, WEIEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, XIN                            WANG, XUEQING                         WANG, YIMAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, YIMENG                         WANG, YING                            WANG, YINGXUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WANG, YUCHEN          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WANG, YUEZHEN                    Page 5191
                                                                           WANG, of 5495
                                                                                 YUJIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, YUN ELISABETH                  WANG, ZHE                             WANG, ZIJING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANG, ZIWEI                          WANGER, ALYSA                         WANGER, DAISY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANGER, WALTER                       WANGERIN, KRYSTAL                     WANICHKO, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANKA, EVELYN                        WANKE, AMY                            WANLESS, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANN, COURTNEY                       WANN, TRENT                           WANNER, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANOUS, SHAILA                       WANSER, ALYSSA                        WANT, MADELEINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANTA, KODIAK                        WANTA, SANDI                          WANTZ, KASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WANZEK, JULIE                        WARA, MINDY                           WARBURTON, GRACEANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARBURTON, KATHRYN                   WARBURTON, ROBERT                     WARBY PARKER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARCHOL, MONIKA       Case 22-11238-LSS    Doc 2 KEYTHE
                                     WARD AGUILAR,   Filed 11/30/22   Page 5192  of 5495
                                                                           WARD, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, ALEXANDRIA                     WARD, ALLISON                         WARD, ANNE MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, APRIL                          WARD, ASHLEY                          WARD, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, BARAK                          WARD, BETH                            WARD, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, BRANDY                         WARD, BREANNA                         WARD, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, CAITLIN                        WARD, CAITLIN                         WARD, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, CAITLIN                        WARD, CAITLIN                         WARD, CALEB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, CAROLINE                       WARD, CAROLYN                         WARD, CASSANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, CATHERINE                      WARD, CATHERINE                       WARD, CECILIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, CHASITY                        WARD, CHELSEA                         WARD, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARD, CHRISTINE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WARD, CHRISTY                    Page 5193  of 5495
                                                                           WARD, CONNOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, DARCY                          WARD, DARCY                           WARD, DARIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, DARREN                         WARD, DAVID                           WARD, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, DEBBIE                         WARD, DEBBY                           WARD, DEIRDRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, DILLON                         WARD, DONNA                           WARD, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, EMILY                          WARD, ERIC & NNEKA                    WARD, ERIC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, ERICA                          WARD, ERIN                            WARD, FIONA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, GABRIELLE                      WARD, GARY AND BETSY                  WARD, GRIFFIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, GWYNN                          WARD, HANNA                           WARD, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, HEATHER                        WARD, HEATHER                         WARD, ISABELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARD, JAMES           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WARD, JASON                      Page 5194  of 5495
                                                                           WARD, JAZMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, JESSIE                         WARD, JOEY                            WARD, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, JR., STEPHEN                   WARD, JUANITA                         WARD, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, KAELA                          WARD, KASSANDRA                       WARD, KATHERYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, KATHRYN                        WARD, KATHRYN                         WARD, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, KATIE LYNN                     WARD, KAYLA                           WARD, KELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, KELLY                          WARD, KELSEY                          WARD, KIMBELY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, KIMBERLY                       WARD, KIREN                           WARD, KIRSTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, KRISTEN                        WARD, LARA                            WARD, LATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, LAURA                          WARD, LAURA                           WARD, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARD, LEIGHANNA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WARD, LEILA                      Page 5195  of 5495
                                                                           WARD, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, LISA                           WARD, MAGGIE                          WARD, MAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, MARGE                          WARD, MARISA                          WARD, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, MASON                          WARD, MATTHEW                         WARD, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, MELISSA                        WARD, MELISSA                         WARD, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, MICHAEL                        WARD, MICHELANGELO                    WARD, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, MIRANDA                        WARD, MOLLEIGH                        WARD, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, NATHAN                         WARD, PATRICIA                        WARD, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, PATTI                          WARD, PAULA                           WARD, PAULA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, RAJANI                         WARD, REBECCA                         WARD, RHONDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARD, RICHARD         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WARD, ROBIN                      Page 5196  of 5495
                                                                           WARD, ROBIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, ROSEMARIE                      WARD, RUTH E.                         WARD, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, RYAN                           WARD, SABRINA                         WARD, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, SHELBY                         WARD, SHERIDEN                        WARD, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, TERENCE                        WARD, TERESA                          WARD, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, TIMOTHY                        WARD, TIMOTHY                         WARD, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, TYLER                          WARD, VANESSA                         WARD, VICKIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, VICTORIA                       WARD, WANDA                           WARD, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, WHITNEY                        WARD, WILL                            WARD, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARD, WILLIAM                        WARDELL, TANYA                        WARDEN, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARDEN, JENNIFER      Case 22-11238-LSS    Doc
                                     WARDEN,    2 Filed 11/30/22
                                             JESSICA                  Page 5197 of JOANNA
                                                                           WARDEN,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARDEN, KAREN                        WARDEN, KARY                          WARDEN, MARIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARDEN, TEDD                         WARDER, DYLAN                         WARDIAN, JANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARDLAW, MAXWELL                     WARDREP, BILL                         WARDWELL, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARDWELL, LAURA                      WARDWELL, ROBERT                      WARDY, PATTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARE, ANASTASIA                      WARE, ANIKA                           WARE, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARE, HAILEY                         WARE, JENNIFER                        WARE, LINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARE, LISA                           WARE, MARIE                           WARE, MORIAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARE, PAIGE                          WARE, REBECCA                         WARE, RONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARE, SARAH                          WARE, SOPHIA                          WARE, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WAREHAM, BLAIR        Case 22-11238-LSS    Doc
                                     WAREHAM,   2 Filed 11/30/22
                                              KELSEY                  Page 5198 of 5495
                                                                           WAREHOUSE SYSTEMS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        4646 EAST JENSEN AVENUE
                                                                           FRESNO, CA 93725




WAREHOUSE SYSTEMS                    WARENDH, MOLLY                        WARF, DREW
P.O. BOX 2808                        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FRESNO, CA 93745




WARFEL, BRIAN                        WARFIELD, VALERIE                     WARFORD, ALISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARFORD, JORDAN                      WARFORD, MARCELLA                     WARGA, ELLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARGO, MARY                          WARGO, MATT                           WARGO, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARGO, RYLIE                         WARHEIT, PETER                        WARHOL, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARHOLIC, MADELINE                   WARING, LAURA                         WARING, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARING, THOMAS                       WARINGA, CAROLINE                     WARISCHALK, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARK, ANN                            WARK, LINDA                           WARKENTIN, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARLICK, JAMES                       WARLICK, JASON                        WARLICK, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARM’S, KERRI         Case 22-11238-LSS    Doc
                                     WARMACK,   2 Filed 11/30/22
                                              JENNIFER                Page 5199 of ANGELA
                                                                           WARMAN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARMAN, HEATHER                      WARMAN, KAIT                          WARMBROD, LANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARME, KARA                          WARMOLTS, PEGGY                       WARMOTH, CLINTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARMOUTH, CORY                       WARNE, BRENDA                         WARNE, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNECKE, KATIE                      WARNECKI, CINDY & MARK                WARNER, ADAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, AMANDA                       WARNER, ANGEL                         WARNER, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, AUDREY                       WARNER, AVERY                         WARNER, BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, BRIAN                        WARNER, CALLISTO                      WARNER, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, CISSY                        WARNER, CRYSTAL                       WARNER, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, DANIEL                       WARNER, DANIELLE                      WARNER, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARNER, DANIELLE      Case 22-11238-LSS    Doc
                                     WARNER,    2 Filed 11/30/22
                                             DONNA                    Page 5200 of DONNA
                                                                           WARNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, ELLEN                        WARNER, EMMA                          WARNER, ESTELLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, HAYLEY                       WARNER, JARED                         WARNER, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, JESSIE                       WARNER, JOHN                          WARNER, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, JUSTIN                       WARNER, KATRINA                       WARNER, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, KIRBY                        WARNER, NATALIE                       WARNER, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, REBECCA                      WARNER, RICHARD                       WARNER, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, SARA                         WARNER, TAWNIA                        WARNER, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNER, WENDY                        WARNICK, CAITLIN                      WARNICK, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNICK, KIM                         WARNICK, RUSSELL                      WARNING, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARNKE, GEORGIA       Case 22-11238-LSS    Doc
                                     WARNKE,    2 Filed 11/30/22
                                             LAURIE                   Page 5201 of MARCIE
                                                                           WARNKE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNKE, MELISSA                      WARNKE, SAMANTHA                      WARNKEN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNOCK, ALI                         WARNOCK, KENDRA                       WARNOCK, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARNOCK, PAUL                        WARNOCK, SCOTT                        WARNOCK, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARPOOL, JASON                       WARR, DEE DEE                         WARRAYAT, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN DASH                          WARREN LOUI                           WARREN, ALICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, ALICIA                       WARREN, ANGELA                        WARREN, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, ANNE                         WARREN, ANNE                          WARREN, ASHLEIGH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, AUDREY                       WARREN, AVERY                         WARREN, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, BRIAN                        WARREN, BRIANNE                       WARREN, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARREN, CALEB         Case 22-11238-LSS    Doc
                                     WARREN,    2 Filed 11/30/22
                                             CAMILLA                  Page 5202 of CATHERINE
                                                                           WARREN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, CATHERINE                    WARREN, CHELSEA                       WARREN, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, CHRISTINE                    WARREN, CHRISTOPHER                   WARREN, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, DAVIDA                       WARREN, DEXTER                        WARREN, ELINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, HILARY                       WARREN, JACQUELINE                    WARREN, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, JAN                          WARREN, JELANI                        WARREN, JEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, JENNIFER                     WARREN, JEREMY                        WARREN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, JORDAN                       WARREN, JUSTIN                        WARREN, KAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, KAREN                        WARREN, KATHERINE                     WARREN, KAVON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, KAYE                         WARREN, KC                            WARREN, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARREN, LAUREN        Case 22-11238-LSS    Doc
                                     WARREN,     2 Filed 11/30/22
                                             LIANNA                   Page 5203 of MADDIE
                                                                           WARREN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, MELISSA                      WARREN, MYLORANNE                     WARREN, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, NICOLE                       WARREN, NICOLE                        WARREN, RAYMOND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, ROBERT                       WARREN, ROBERT                        WARREN, SETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, SHARDE                       WARREN, SHERAE                        WARREN, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, STEPHANIE                    WARREN, SUSANNE                       WARREN, THOMAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, TIFFANY                      WARREN, TRISH                         WARREN, VERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, VICKI                        WARREN, VICTORIA                      WARREN, WILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN, YOLANDA                      WARREN, YOLANDA                       WARRENFELTZ, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WARREN-HERNANDEZ, MAREA              WARRICK, BRANDON                      WARRICK, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WARRICK, TIMOTHY      Case 22-11238-LSS    DocCASSIE
                                     WARRINER,  2 Filed 11/30/22      Page 5204 of 5495
                                                                           WARRINER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WARRIOR, TOBY                        WARRIOR, TOBY                          WARRWN, MARISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WARSHANY, SAMANTHA                   WARSHAVSKY, MELISSA                    WARSHAW, SARAH
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WARSHAWSKY, BLAIRE                   WARSHAWSKY, STEPHANIE                  WARSOP, DONALD
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WARTAK, JOSIAH                       WARTEN, KEVIN                          WARTENBERG, SARAH
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WARTH, DREW                          WARTH, TINA                            WARTMAN, KATHERINE
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WARWICK, ASHLEY                      WARWICK, FELIZ                         WARWICK, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WARYASZ, STEPHANIE                   WARYCHA, DAVID                         WARZECHA, CRYSTAL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WARZECHA, KATIE                      WARZECHA, KATY                         WARZEWSKA, KATERINA
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WARZYNSKI, CLINT                     WASAN, BRENNAN                         WASCISIN, KATHERINE
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WASDICK, CHRISTINE    Case 22-11238-LSS
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                                                                             WASEEM  5495MATHEWS
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WASHAM, BRIAN                        WASHAM, JESSICA                         WASHBOURNE, JEFFREY
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WASHBURN, ARA                        WASHBURN, BRYSON                        WASHBURN, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WASHBURN, CHRISTINA                  WASHBURN, DEANNA                        WASHBURN, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WASHBURN, JESSAMY                    WASHBURN, JULIA                         WASHBURN, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WASHBURN, LAWRENCE                   WASHBURN, LISA                          WASHBURN, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WASHBURN, SAVANNAH                   WASHCOVICK, EMILY                       WASHER, DEBRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WASHICK, SALLY                       WASHINGTON DEPARTMENT OF REVENUE        WASHINGTON DEPARTMENT OF REVENUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   WASHINGTON STATE DEPARTMENT OF
                                                                             REVENUE
                                                                             ATTN: BANKRUPTCY UNIT 2101 4TH AVE,
                                                                             SUITE 1400
                                                                             SEATTLE, WA 98121

WASHINGTON DEPT OF LABOR AND         WASHINGTON DEPT OF LABOR AND            WASHINGTON SECURITIES DIVISION
INDUSTRIES                           INDUSTRIES                              PO BOX 9033
7273 LINDERSON WAY SW                PO BOX 44000                            OLYMPIA, WA 98507-9033
TUMWATER, WA 98501-5414              TUMWATER, WA 98501-5414




WASHINGTON STATE DEPT OF REVENUE     WASHINGTON STATE DEPT OF REVENUE        WASHINGTON STATE LIQUOR AND
PO BOX 47476                         PO BOX 47478                            CANNABIS BOARD
OLYMPIA, WA 98504-7476               OLYMPIA, WA 98504-7478                  PO BOX 43080
                                                                             OLYMPIA, WA 98504
                        Case 22-11238-LSS
WASHINGTON STATE TREASURER                   Doc 2ANGELA
                                       WASHINGTON,     Filed 11/30/22   Page 5206 of 5495
                                                                             WASHINGTON, ANITRA
STATE OF WASHINGTON DEPT OF            ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
FINANCIAL
INSTITUTIONS SECURITIES DIVISION
PO BOX 9033
OLYMPIA, WA 98507-9033

WASHINGTON, CECELIA                   WASHINGTON, CELESTE                     WASHINGTON, CHARLES
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WASHINGTON, CHELLY                    WASHINGTON, CHERLOTTE                   WASHINGTON, CHRISTAL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WASHINGTON, DANILLE                   WASHINGTON, DEANNA                      WASHINGTON, DOMINICK
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WASHINGTON, ELLA                      WASHINGTON, ERIN                        WASHINGTON, EUNIQUA
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WASHINGTON, JAMILLAH                  WASHINGTON, JARAEL                      WASHINGTON, JESSICA
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WASHINGTON, JEWELZ                    WASHINGTON, JON-MICHAEL                 WASHINGTON, JORLENNY
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WASHINGTON, KALEIL                    WASHINGTON, LAUREN                      WASHINGTON, MICHELLE LYNN
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WASHINGTON, PAMELA                    WASHINGTON, REGGIE                      WASHINGTON, RYAN
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WASHINGTON, SARAH                     WASHINGTON, SHELLY                      WASHINGTON, SHERIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WASHINGTON, TINA      Case 22-11238-LSS    Doc 2TISHAIRRA
                                     WASHINGTON,     Filed 11/30/22   Page 5207 of 5495
                                                                           WASHINGTON, TYRONE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WASHINGTON, WILLIAM                  WASHINGTON-THOMAS, JAMES              WASHOK, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WASHUTA, HARRISON                    WASIK, SHAUNDA                        WASILENKO, PAMELA
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WASILESKI, REAGAN                    WASILEWSKI, KRISTEN                   WASILEWSKI, MELANIE
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WASILKOFF, PETRA                     WASIM, ANNA                           WASINGER, LEXIE
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WASITOWSKI, MARIAN                   WASIUK, SUZI                          WASKAS, STEPHEN
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WASKIEWICZ, ANA                      WASKIEWICZ, ASHLEY                    WASKIN, KAREN
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WASKOWITZ, SAMANTHA                  WASMAN, TYLER                         WASMUND, DINA
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WASMUND, JESSICA                     WASMUND, PAUL G                       WASOWICZ, TESS
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WASS, JESSIKA                        WASS, SUSAN                           WASSEL, CATIE
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WASSEL, MARLENA       Case 22-11238-LSS
                                     WASSEL,Doc 2 Filed 11/30/22
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                                                                           WASSELL, GWENDOLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WASSELL, MICHAEL                     WASSENAAR, DAVID                      WASSER, MIRIAM
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WASSER, TERRY                        WASSERMAN, ALEX                       WASSERMAN, CAITLYN
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WASSERMAN, LEAH                      WASSILY, ABRAM                        WASSILY, BARI
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WASSON, DAVID                        WASSON, JILL                          WASSON, KATE
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WASSON, KATHY                        WASSON, MEG                           WASSON, MONIQUE
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WASSON, SARAH                        WASSUNG, LORI                         WASSUTA, KARYN
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WASTE MANAGEMENT OF PENNSYLVANIA,    WASTE MANAGEMENT OF PENNSYLVANIA,     WASUNA, EMILY
INC.                                 INC.                                  ADDRESS AVAILABLE UPON REQUEST
1001 FANNIN SUITE 4000               PO BOX 13648
HOUSTON, TX 77002                    PHILADELPHIA, PA 19101-3648




WASYLK, TAYLOR                       WASYLYSZYN, DEBRA                     WASZAK, DOUG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATANABE-GASTEL, ZACHARY             WATANASIRI, CHIUKWAN                  WATARU TAMURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WATER FOR PEOPLE      Case 22-11238-LSS     Doc 2 Filed 11/30/22 Page 5209
                                      WATER GRILL                                of 5495
                                                                            WATERBURY, EMILY
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




WATERBURY, SUSANNA                    WATERHOUSE, BRYAN                     WATERHOUSE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATERHOUSE, LEWELLYN                  WATERHOUSE, SYDNEY                    WATERKOTTE, TINA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATERLAND, KEVIN                      WATERLOO CONTAINER COMPANY            WATERMAN, ASHLYNN
ADDRESS AVAILABLE UPON REQUEST        2311 STATE ROUTE 414                  ADDRESS AVAILABLE UPON REQUEST
                                      WATERLOO, NY 13165




WATERMAN, BLAIRE                      WATERMAN, ELIZABETH                   WATERMAN, KENDALL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATERMAN, KRISTEN                     WATERMAN, MEGAN                       WATERMAN, NOAH
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATERMEIER, PENNY                     WATERS, ABIGAIL                       WATERS, ADDISON
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WATERS, AMANDA                        WATERS, AMY                           WATERS, AMY
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WATERS, CODY                          WATERS, DEBRA                         WATERS, DENNETTE
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WATERS, EMILY                         WATERS, ERIN                          WATERS, GABRIELLA
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WATERS, HANNAH        Case 22-11238-LSS    Doc
                                     WATERS,    2 Filed 11/30/22
                                             HEATHER                  Page 5210 ofHEATHER
                                                                           WATERS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATERS, JANN                         WATERS, JESSICA                       WATERS, JODY
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WATERS, JOSIE                        WATERS, JUDY                          WATERS, JULIA
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WATERS, KAREN                        WATERS, KATIE                         WATERS, KAYLA
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WATERS, KEVIN                        WATERS, KRISTEN                       WATERS, LAURA
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WATERS, LAURA                        WATERS, LAURIE                        WATERS, MALINDA
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WATERS, MATTHEW                      WATERS, MOISES                        WATERS, NICOLE
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WATERS, SYDNEY                       WATERS, YOLANDA                       WATKINS, ADRIENNE
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WATKINS, ALEX                        WATKINS, ALLISON                      WATKINS, AMANDA
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WATKINS, AMERE                       WATKINS, BRENDAN                      WATKINS, CHAM
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WATKINS, CHRISTINA    Case 22-11238-LSS    Doc
                                     WATKINS,    2 Filed 11/30/22
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                                                                           WATKINS, 5495
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WATKINS, DIXIE                       WATKINS, DONNA                        WATKINS, DUSTY
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WATKINS, ELLAINE                     WATKINS, EMILY                        WATKINS, GERRAKA
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WATKINS, HEATHER                     WATKINS, JAMES                        WATKINS, JESSICA
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WATKINS, JOHN                        WATKINS, JOHN                         WATKINS, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATKINS, KAITLYN                     WATKINS, KAREN                        WATKINS, KAREN
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WATKINS, KATHRYN                     WATKINS, KRISTIN                      WATKINS, KRISTIN
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WATKINS, KYLER                       WATKINS, LAURA                        WATKINS, LAUREN
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WATKINS, LAUREN                      WATKINS, LAURYN                       WATKINS, LIBBY
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WATKINS, LINDSEY                     WATKINS, LORETTA                      WATKINS, LYNDSAY
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WATKINS, MARY         Case 22-11238-LSS    Doc
                                     WATKINS,    2 Filed 11/30/22
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATKINS, MELINDA                     WATKINS, MELISSA                      WATKINS, MESCHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATKINS, MIKE                        WATKINS, RHYDDID                      WATKINS, ROBBIE
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WATKINS, RYAN                        WATKINS, RYAN                         WATKINS, TARA
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WATKINS, VICTORIA                    WATKINS, WILLIAM                      WATKINSON, ELISHA
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WATKO, ELIZABETH                     WATLER, BLAIR                         WATLINGTON, JACQUELYN
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WATLINGTON, LEIKO                    WATOR, JAMES                          WATRAS, MATT
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WATROUS, KELLY                       WATSKY, MARCY                         WATSON JR, HENRY
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WATSON, AARON                        WATSON, ALYSSA                        WATSON, AMANDA
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WATSON, ANGELIA                      WATSON, ANNA                          WATSON, ANTHONY
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WATSON, ARNITA        Case 22-11238-LSS    Doc
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                                                                           WATSON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, BRANDY                       WATSON, BRENYCE                       WATSON, BRIA
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WATSON, BRIAN                        WATSON, BRITNEY                       WATSON, CATHERINE
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WATSON, COLE                         WATSON, COLLEEN                       WATSON, DANIELLE
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WATSON, DAVID                        WATSON, DEBRA                         WATSON, DEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, DIANA                        WATSON, DON                           WATSON, DONNA
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WATSON, DWIGHT                       WATSON, ELIZABETH                     WATSON, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, ELIZABETH                    WATSON, EMILY                         WATSON, ERIKA
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WATSON, ERIN                         WATSON, ERIN                          WATSON, ERWIN
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WATSON, EUNA                         WATSON, EVAN                          WATSON, GARTH
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WATSON, GRACE         Case 22-11238-LSS    Doc
                                     WATSON,    2 Filed 11/30/22
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                                                                           WATSON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, GREGORY                      WATSON, GREGORY                       WATSON, GREGORY
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WATSON, HANNAH                       WATSON, HEATHER                       WATSON, IAN
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WATSON, ISAIAH                       WATSON, JACKIE                        WATSON, JACOB
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WATSON, JACQUELYN                    WATSON, JAMES                         WATSON, JASMINE
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WATSON, JASON                        WATSON, JENI                          WATSON, JERONICA
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WATSON, JESSIE                       WATSON, JOE                           WATSON, JOYCE
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WATSON, JULIE                        WATSON, KASSIE                        WATSON, KATE
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WATSON, KATHARINE                    WATSON, KELLY                         WATSON, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, KIT                          WATSON, KYANI                         WATSON, LEONARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WATSON, LORRAYNE      Case 22-11238-LSS    Doc
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                                                                           WATSON, 5495
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WATSON, MADELINE                     WATSON, MARIAN                        WATSON, MARIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, MARK                         WATSON, MARK                          WATSON, MARYANN
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WATSON, MAUREEN                      WATSON, MEGAN                         WATSON, MELISSA
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WATSON, MIA                          WATSON, MICHAELA                      WATSON, MICHELLE
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WATSON, MINDY                        WATSON, MIRANDA                       WATSON, MOM AND DAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, NOAH                         WATSON, OLIVIA                        WATSON, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, PATRICK                      WATSON, PHILIP                        WATSON, RAY
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WATSON, REBECCA                      WATSON, REGINALD                      WATSON, RENE
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WATSON, RICHARD                      WATSON, ROCK                          WATSON, ROSE
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WATSON, RYAN          Case 22-11238-LSS    Doc
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                                                                           WATSON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, SALEM                        WATSON, SARA                          WATSON, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATSON, SCOTT                        WATSON, SHANTAI                       WATSON, SHERYL
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WATSON, STEPHANIE                    WATSON, SUSAN                         WATSON, SUSAN
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WATSON, SUZANNE                      WATSON, TAYLOR                        WATSON, TAYLOR
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WATSON, TAYLOR                       WATSON, TED                           WATSON, TODD
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WATSON, VANESSA                      WATSON, YANIQUE                       WATSON-JONES, JOAN
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WATT, BROOKE                         WATT, CARLY                           WATT, DEBORAH
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WATT, ELLIE                          WATT, JUSTIN                          WATT, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATT, LAURYN                         WATT, MAURICA                         WATT, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WATT, RONALD          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WATT, TIM                        Page 5217 of 5495
                                                                           WATTAMWAR, SHILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTANASAK, RACHAEL                  WATTERS, AMBER                        WATTERS, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTERS, BARBARA                     WATTERS, CAROL                        WATTERS, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTERS, ELIZABETH                   WATTERS, GARY                         WATTERS, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTERS, HAYLEY                      WATTERS, KRISTIN                      WATTERS, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTERS, NATHAN                      WATTERSON, GLORIA                     WATTLEWORTH, DOROTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTO, EMILY                         WATTON, CHLOE                         WATTS, ALEXANDER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTS, ALEXANDRA                     WATTS, ALLYSON                        WATTS, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTS, ANDREW                        WATTS, BETH                           WATTS, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




–WATTS, BUFFY                        WATTS, CHANDLER                       WATTS, CHARDAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WATTS, CHRIS          Case 22-11238-LSS
                                     WATTS, Doc  2 Filed 11/30/22
                                            CHRISTINE                    Page 5218
                                                                              WATTS,of 5495
                                                                                     CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WATTS, DANIELLE                         WATTS, HEATHER                        WATTS, JAMIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTS, JESSICA                          WATTS, JODI                           WATTS, JUDITH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTS, JULIA                            WATTS, KATHLEEN                       WATTS, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTS, MEGHAN                           WATTS, MELISSA                        WATTS, PAUL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTS, POLLY                            WATTS, REBECCA                        WATTS, STACEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTS, TAMMY                            WATTS, TAMMY                          WATTS, TAYLOR
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WATTS, WILLIAM                          WATTS, WILLIAM                        WATTS-COX, JACY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAUGH CELLARS DISTRIBUTION              WAUGH, ALEX                           WAUGH, ALIDA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAUGH, ALLISON                          WAUGH, EMILY                          WAUGH, EMMA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WAUGH, FAITH          Case 22-11238-LSS
                                     WAUGH,Doc  2 Filed 11/30/22
                                           JENNIFER                     Page 5219
                                                                             WAUGH,ofJOSEPH
                                                                                       5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAUGH, KAYLA                         WAUGH, MADELEINE                        WAUGH, SYDNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAUHOB, JENNIFER                     WAUSON, STEPHANIE                       WAUSON, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAVEMAKER GLOBAL SELECT LLC          WAVEMAKER PARTNERS V LP                 WAVEMAKER
175 GREENWICH ST                     175 GREENWICH ST                        ADDRESS UNAVAILABLE AT TIME OF FILING
NEW YORK, NY 10007                   NEW YORK, NY 10007




WAVERS, KRISTIE                      WAWA                                    WAWRONOWICZ, MARGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




WAWRZYNEK, MELISSA                   WAWRZYNIAK, FRANCIS                     WAWRZYNIAK, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAWRZYNIAKOWSKI, ANGELINA            WAX, AMBER                              WAX, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAX, TERESA                          WAXMAN, ROBERT                          WAY, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAY, EDEN                            WAY, JULIA                              WAY, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WAY, ZJAUN                           WAYASHE, JESSICA                        WAYBRIGHT, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WAYCHOFF, KRISTIN     Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WAYE, AMANDA                        Page 5220
                                                                              WAYER,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WAYFAIR                                 WAYLAND, CATHERINE                    WAYLETT, ANDREW
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAYMAN, AMANDA                          WAYMAN, BONNY                         WAYMAN, SPENCER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAYMAN, TAYLOR                          WAYMIRE, ELLEN                        WAYNE A SIMPSON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAYNE AKEY                              WAYNE CHAPMAN                         WAYNE DION STARKS
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAYNE KUHN BUSINESS VENTURES            WAYNE KUHN BUSINESS VENTURES          WAYNE LAZARUS
DBA WINETASTERS CHOICE                  DBA WINETASTERS CHOICE                ADDRESS AVAILABLE UPON REQUEST
118 BELMONT RD.                         3400 COIT RD 261241
BOERNE, TX 78006                        PLANO, TX 75075




WAYNE M SCHULTZ                         WAYNE W SIEMENS                       WAYNE WALKER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAYNE WHETMAN                           WAYNE, ALLIE                          WAYNE, AMBRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAYNE, ANNA                             WAYNE, CAROLINE                       WAYNE, KATHERINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WAYNE, RACHEL                           WAYSON, JESSE                         WAYTON, MINDY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                      Case 22-11238-LSS
WAZMAKY ELIZABETH CHARLWOOD          WAZNY, Doc
                                            FANE 2   Filed 11/30/22      Page 5221 of 5495
                                                                              WB PROMOTION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




WCTV NETWORK LLC                        WDGECOMB, GAIL                        WE CUPCAKE
2033 NORTH MILWAUKEE AVENUE SUITE 300   ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
RIVERWOODS, IL 60015




WE WORE WHAT, LLC                       WEA, DANNIE                           WEACER, TRACY
209 E 31ST STREET                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10016




WEADOCK, CORINNE                        WEAGEL, MONICA                        WEAGRAFF, MELISSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAH, ROSE                              WEAKLAND, SARA                        WEAKLEY, STEFANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEALE, MIKE                             WEAR, ALEXIS                          WEAR, DANIELLE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAR, MELISSA                           WEATHERALL, JENNIFER                  WEATHERBEE, ASHLEIGH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEATHERBEE, LISA                        WEATHERBY-WEBB, JERR                  WEATHERFORD, AMELIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEATHERFORD, DEVAN                      WEATHERFORD, KEITH                    WEATHERFORD, KIM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEATHERHOLT, MICHELLE                   WEATHERINGTON, BEKAH                  WEATHERLY, ASHLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEATHERLY, KRISTEN    Case 22-11238-LSS    Doc RACHEL
                                     WEATHERLY, 2 Filed 11/30/22      Page 5222 of 5495
                                                                           WEATHERS, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEATHERS, CORNELIA                   WEATHERS, COURTNEY                    WEATHERS, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEATHERS, JAMIE                      WEATHERS, SAMMIE                      WEATHERS, SHAREE
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WEAVER, ABRA                         WEAVER, ALICIA                        WEAVER, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, ALLISON                      WEAVER, ALYX                          WEAVER, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, AMY                          WEAVER, ARIELLE                       WEAVER, ASHLEY
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WEAVER, BAILEY                       WEAVER, BETH                          WEAVER, BRIANNA
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WEAVER, BRITTANY & TIM               WEAVER, BRITTNEY                      WEAVER, CELIA
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WEAVER, CHARLYNN                     WEAVER, CHASE                         WEAVER, COLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, CYNTHIA                      WEAVER, DENNIS                        WEAVER, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEAVER, ERIC          Case 22-11238-LSS    Doc
                                     WEAVER, ERIN2   Filed 11/30/22   Page 5223 ofGARRISON
                                                                           WEAVER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, GRANT                        WEAVER, HEATHER                       WEAVER, HEIDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, JACKIE                       WEAVER, JAMES                         WEAVER, JAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, JEFF                         WEAVER, JENELL                        WEAVER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, JESSICA                      WEAVER, JOSEPH                        WEAVER, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, KATHERINE                    WEAVER, KAYLA                         WEAVER, KINI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, KRISTIE                      WEAVER, LEIGHTON                      WEAVER, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, LINDSAY                      WEAVER, LINDSAY                       WEAVER, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, LINDSEY                      WEAVER, LINDSEY                       WEAVER, LOGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, LYNDSEY                      WEAVER, LYNETTE                       WEAVER, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEAVER, MICHELLE      Case 22-11238-LSS    Doc
                                     WEAVER,    2 Filed 11/30/22
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                                                                           WEAVER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, PAUL                         WEAVER, RACHEL                        WEAVER, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, SAMANTHA                     WEAVER, SAMANTHA                      WEAVER, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, SHELBY                       WEAVER, SHON                          WEAVER, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEAVER, TARA                         WEAVER, TASHI                         WEAVER, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEB COMMERCE LLC                     WEBB, AARON                           WEBB, ADELINE
177 WEBSTER ST 380                   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
MONTEREY, CA 93940




WEBB, ANDREA                         WEBB, ANNE                            WEBB, AUDREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, BAILEY                         WEBB, BEN                             WEBB, CAMERON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, CASEY                          WEBB, CORINNE                         WEBB, DANI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, DANIEL                         WEBB, DAVID                           WEBB, DELYSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEBB, DIANE AND JOHN  Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WEBB, EARL                       Page 5225  of 5495
                                                                           WEBB, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, ELIZABETH                      WEBB, ERICA                            WEBB, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, GENEVIEVE                      WEBB, HOOMAN                           WEBB, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, JERE                           WEBB, JESSICA                          WEBB, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, JOHN                           WEBB, JOSHUA                           WEBB, JUDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, KARLEE                         WEBB, KATHERINE                        WEBB, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, KATIE                          WEBB, KRIS                             WEBB, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, LUCIA                          WEBB, MADISON                          WEBB, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, MARK                           WEBB, MARSHALL                         WEBB, MCKENZIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEBB, MEGAN                          WEBB, MICHELLE                         WEBB, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WEBB, NADEJDA         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WEBB, NATASHA                    Page 5226  of 5495
                                                                           WEBB, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, PATRICK                        WEBB, PENNY                           WEBB, PENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, RACHEL                         WEBB, RICHARD                         WEBB, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, SAMANTHA                       WEBB, SARAH                           WEBB, SHANNON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, SHELBY                         WEBB, SHELIA                          WEBB, SHELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, SUSAN                          WEBB, TAMARA                          WEBB, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, TIFFANY                        WEBB, VICKI                           WEBB, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBB, WILLIAM                        WEBBER MEEKS, CINDY                   WEBBER, ALTHEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBBER, AMANDA                       WEBBER, AUDRA                         WEBBER, CARLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBBER, CHRISTINE                    WEBBER, ELIZABETH                     WEBBER, KANDACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEBBER, KRISTA        Case 22-11238-LSS    Doc
                                     WEBBER, LIZ 2   Filed 11/30/22   Page 5227 ofMEGAN
                                                                           WEBBER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBBER, RACHEL                       WEBBER, RENEE                         WEBBER, STEPHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBBERSON, AMANDA                    WEBBY AWARDS                          WEBEL, JULIE
ADDRESS AVAILABLE UPON REQUEST       ATTN: BONNI POTTER                    ADDRESS AVAILABLE UPON REQUEST
                                     2000 ASHLAND DR, STE 100
                                     ASHLAND, KY 41101




WEBER (WHITE), REBECCA               WEBER, ADAM                           WEBER, ALANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, ALEX                          WEBER, AMANDA                         WEBER, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, ANGEL-ROSE                    WEBER, ANN                            WEBER, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, ASHLEY                        WEBER, AUBREY                         WEBER, AUDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, AUDREY                        WEBER, BAILEY                         WEBER, BEATRICE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, BRANDEN                       WEBER, CAMILLE                        WEBER, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, CHELSEY                       WEBER, CHRIS                          WEBER, CHRISTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEBER, CHRISTOL       Case 22-11238-LSS
                                     WEBER, Doc  2 Filed 11/30/22
                                            CLAIRE                    Page 5228
                                                                           WEBER,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, COREY                         WEBER, DARCY                          WEBER, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, DOUGLAS                       WEBER, ELIE                           WEBER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, ERIN                          WEBER, GRETCHEN                       WEBER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, HANNAH                        WEBER, HEATHER                        WEBER, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, JEN                           WEBER, JENNIFER                       WEBER, JUDITH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, KATE                          WEBER, KATHY AND PHIL                 WEBER, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, KIMBERLY                      WEBER, KRISTINE                       WEBER, KRYSLINN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, KURT                          WEBER, LAURA                          WEBER, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, LAUREN                        WEBER, LEEANNA                        WEBER, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEBER, MARIA          Case 22-11238-LSS
                                     WEBER, Doc
                                            MARIL2   Filed 11/30/22   Page 5229
                                                                           WEBER,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, MICHAEL                       WEBER, NATASHA                        WEBER, PAIGE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, PAUL                          WEBER, PENELOPE                       WEBER, PETER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, RACHEL                        WEBER, SAMANTHA                       WEBER, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, SHELBY                        WEBER, SIMONE                         WEBER, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBER, TAMARA                        WEBER, TIFFANY                        WEBER, VICTORIA
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WEBERDING, MARK                      WEBERG, LACY                          WEBER-KNIGHT, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBLEY, KIRK                         WEBNER, ARAE                          WEBORG, AUSTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBORG, AUSTIN                       WEBQUEST, ERIC                        WEBSTAURANTSTORE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




WEBSTER, ALEXANDRA                   WEBSTER, ALEXIS                       WEBSTER, ALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEBSTER, ALTHEA       Case 22-11238-LSS    Doc
                                     WEBSTER,    2R Filed 11/30/22
                                              BILL                    Page 5230 of 5495
                                                                           WEBSTER, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBSTER, CARLY                       WEBSTER, CHELSEA                      WEBSTER, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBSTER, DANIELLE                    WEBSTER, DARYL                        WEBSTER, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBSTER, DENNISE                     WEBSTER, EARL                         WEBSTER, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBSTER, EMILY                       WEBSTER, EMMA                         WEBSTER, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBSTER, ETHAN                       WEBSTER, EVAN                         WEBSTER, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBSTER, HANNA                       WEBSTER, HEATHER                      WEBSTER, HOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEBSTER, JANICE                      WEBSTER, JESSE                        WEBSTER, JOHNNY
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WEBSTER, JORDAN                      WEBSTER, JULIE                        WEBSTER, KAREN
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WEBSTER, KATE                        WEBSTER, KELLY                        WEBSTER, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEBSTER, KRISTEN      Case 22-11238-LSS    Doc
                                     WEBSTER,   2 Filed 11/30/22
                                              LEAH                          Page 5231 of 5495
                                                                                 WEBSTER, LELAND
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




WEBSTER, MERIT                          WEBSTER, MICHELLE                        WEBSTER, PAIGE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEBSTER, RACHEL                         WEBSTER, RALPH                           WEBSTER, RYANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEBSTER, SARA                           WEBSTER, STACEY                          WEBSTER, TED
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEBSTER, WARREN                         WEBSTER-GRAVES, IAN                      WECH, BILLIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WECHSLER, KATI                          WECHSLER, MONICA                         WECHSLER, SAMUEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WECHSLER, THOMAS                        WECHTER, CASEY                           WECKER, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WECKER, KELLY                           WECKMAN, ANGIE                           WECKMAN, MARLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEDAM, SHARON                           WEDBUSH MORGAN SECS, INC. (0103, 8199)   WEDDE, EVELYN
ADDRESS AVAILABLE UPON REQUEST          ATTN ALAN FERREIRA OR PROXY MGR          ADDRESS AVAILABLE UPON REQUEST
                                        1000 WILSHIRE BLVD., STE 850
                                        LOS ANGELES, CA 90030




WEDDING PAGES                           WEDDING, ELIZABETH                       WEDDING, LORI
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
WEDDING, PATRICIA     Case 22-11238-LSS    Doc 2 Filed 11/30/22 Page 5232
                                     WEDDINGFAVO                                ofCALLY
                                                                           WEDDLE, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




WEDDLE, CONDA                        WEDDLE, RACHEL                        WEDEEN, TERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEDEKEMPER, PAMELA                   WEDEKIN, ANNA                         WEDEL, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEDEMEYER, BETSY                     WEDEMEYER, HOLLY                      WEDEMEYER, KAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEDER, ANNIKA                        WEDEWER, ABIGAEL                      WEDGE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEDGEWOOD, ED                        WEDGEWORTH, KRISTI                    WEDIG, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEDIG, GARY                          WEDVICK, KATIE                        WEE, LILIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEECH, MICHELLE                      WEED, ALLISON                         WEED, CARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEED, COLLEEN                        WEED, RACHEL                          WEED, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEED, TERRA                          WEEDE, NICOLE                         WEEDEN, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEEDEN, BREE          Case 22-11238-LSS    Doc
                                     WEEDEN,     2 Filed 11/30/22
                                             RILEY                      Page 5233 of WILLIAM
                                                                             WEEDEN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEEDON, MATT                         WEEKENDALMANAC.COM                       WEEKENDS, LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING    3014 CASTLE ST
                                                                              LOS ANGELES, CA 90039




WEEKES, BRIAN & PAMELA               WEEKES, JEFF                             WEEKES, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEEKLEY, KIM                         WEEKLEY, MELISSA                         WEEKS MURPHY, LILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEEKS, ALEC & ALLIE                  WEEKS, BETH                              WEEKS, CAROLINA & HOWARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEEKS, CATE                          WEEKS, CHRISTOPHER                       WEEKS, DEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEEKS, ELIZABETH                     WEEKS, IZA                               WEEKS, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEEKS, KYIA                          WEEKS, MATILDA                           WEEKS, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEEKS, PAIGE                         WEEKS, WILLIAM                           WEEKS-GLODDY, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEEL, JENNIFER                       WEEMS, CRISTY                            WEEMS, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
WEEMS, JORDAN         Case 22-11238-LSS    Doc 2 SATHYA
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                                                                           WEERES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEESE, EMMA                          WEESE, KIRBY                          WEETIEABLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEFEL, FLORENCE                      WEGEMER, SAVANNAH                     WEGENAST, AMANDA
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WEGENDT, BENJAMIN                    WEGENER, HAGY                         WEGENER, RENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEGER, ALEX                          WEGERER, ANDREW                       WEGFAHRT, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEGHORST, TINA                       WEGHORST, TINA                        WEGLARZ, LIBBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEGLEITNER, KAYLA                    WEGMAN, WEDGE                         WEGMILLER, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEGNER, BARB                         WEGNER, EMMA                          WEGNER, SARAH
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WEGRZYN, ERICA                       WEHAGE, JOHN                          WEHBA, CASSADY
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WEHINGER, SHARON                     WEHLAGE, KEVIN                        WEHLING, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEHLING, OLIVIA       Case 22-11238-LSS    DocABRAM
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                                                                                 WEHNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




WEHNER, SHYLOH                          WEHNES, KATHERINE                        WEHO BISTRO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           1040 N LA CIENEGA BLVD,
                                                                                 WEST HOLLYWOOD, CA 90069




WEHO PARKING                            WEHREN, PAIGE                            WEHRHEIM, WILLIAM J
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEHRI, SAMANTHA                         WEHRLY, SPENCER                          WEHRY, CAITLIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEH-THULIN, MICHELLE                    WEHUNT, JENNIFER                         WEI, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEI, GABRIELLE                          WEI, XIAO                                WEI, YUHAO
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEIAND, KATJA                           WEIBEL FAMILY VINEYARD AND WINERY        WEIBEL INC
ADDRESS AVAILABLE UPON REQUEST          1 WINEMASTER WAY                         1 WINEMASTER WAY, SUITE D
                                        LODI, CA 95240                           LODI, CA 95240




WEIBEL, ALEXA                           WEIBEL, BARBARA                          WEIBEL, BONNIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEIBEL, BRIENNA                         WEIBEL, JOSHUA                           WEIBLE, ANNA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEIBLE, RYAN                            WEIBRING, STEPHANIE                      WEIBULL, ERIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
WEICH, LYDIA          Case 22-11238-LSS    Doc
                                     WEICHEL,    2 Filed 11/30/22
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                                                                           WEICHER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEICHHAND, STEVE                     WEICHLER, KARA                        WEICHMAN, JANELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEICHSEL, KAITLIN                    WEICKER, NOELLE                       WEICKERT, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEICKGENANT, BEVERLY                 WEICKMANN, LINDEE                     WEIDA, STACY
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WEIDAW, JOHANNA                      WEIDEMAN, HANNAH                      WEIDEMANN, JESSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEIDEN, MAEVE                        WEIDENDORF, KELLY                     WEIDER/GAENZLER, MARYANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEIDLING, CARA                       WEIDNER, CHRISTINE                    WEIDNER, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEIDNER, JOEL                        WEIDNER, KYLE                         WEIDNER, LORING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEIERS, GRACE                        WEIGAND, JENNIFER                     WEIGAND, KATIE
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WEIGAND, SAMANTHA                    WEIGAND, WHITNEY                      WEIGAND, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEIGEL, KELSEY        Case 22-11238-LSS
                                     WEIGEL,Doc 2 Filed 11/30/22
                                            MARIAH                    Page 5237  of 5495
                                                                           WEIGELT-MACFARLANE, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEIGHT, HAIDYN                       WEIGHT, JORDAN                         WEIGHTMAN, EVAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEIGLEIN, JENNIFER                   WEIGLEIN, JENNY                        WEIGLEY, ARLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEIGOLD, AMY                         WEIGOLD, LAUREN                        WEIGOLD, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEIGOLD, NORA                        WEIGT, TIFFANIE                        WEIHN, ASHLEY
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WEIHRICH, CHERYL                     WEIHRICH, JASON                        WEIKEL, CHRIS
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WEIKEL, SABRINA                      WEIKERT, MADISON                       WEIKS, MCKENNA
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WEIL, KEDDIE                         WEIL, ROBERT                           WEIL, SUSANNA
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WEILACHER, JEROD                     WEILAND, BARBARA                       WEILAND, LAURA
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WEILER, ELIZABETH                    WEILER, EMILIE                         WEILER, KAREN
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WEILER, KATE          Case 22-11238-LSS
                                     WEILER,Doc 2 Filed 11/30/22
                                            MANANA                    Page 5238
                                                                           WEILER,ofNATALIE
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEILER, SASHA                        WEILER, SIDNEY                         WEILER, SUSAN
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WEIMER, HEATHER                      WEIMER, KAYLA                          WEIMER, PAMELA
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WEIMER, STORM                        WEIMER-LANG, LINSEY                    WEIMERS, CLAYTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEIN, HEATHER                        WEINBAUM, PAUL                         WEINBAUM, STACEY
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WEINBERG, ANTHONY                    WEINBERG, ARI                          WEINBERG, ASHLEY
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WEINBERG, LINDSAY                    WEINBERG, SUMMER                       WEINBERGER, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEINBRECHT, BELINDA                  WEINE, LAUREN                          WEINER, ARIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEINER, DANIEL                       WEINER, GARY                           WEINER, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEINER, LINDSAY                      WEINER, MARK                           WEINER, MARTHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WEINER, MICHAEL       Case 22-11238-LSS
                                     WEINER,Doc  2 Filed 11/30/22
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                                                                           WEINER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINER, RACHEL                       WEINER, ROBERT                        WEINER, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINER, SUSAN                        WEINER, TOBIE                         WEINER, WENDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINERT, MYCHAL                      WEINFELD, ANDREW                      WEINFELD, CYNTHIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINGART, BRIAN                      WEINGART, DALE                        WEINGARTEN, BERNADETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINGARTEN, DANA                     WEINGARTNER, JOANNA                   WEINGUT GEORG WEINWURM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        HAUPTSTRASSE 65
                                                                           DOBERMANNSDORF 2181
                                                                           AUSTRIA




WEINHOFER, ROBERT                    WEINHOLD, MEGAN                       WEINING, ALICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINMAN, LISA                        WEINMAN, MATTHEW                      WEINMANN, DEBBIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINPEL, JARETT                      WEINRAUB, BERNARD                     WEINREB, ADDISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINREB, CARLY                       WEINREB, JORDAN                       WEINREBER, SKYLAR
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WEINREICH, CAMERON    Case 22-11238-LSS    DocHANNAH
                                     WEINREICH, 2 Filed 11/30/22      Page 5240  of 5495
                                                                           WEINRICH, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINSCHENK, AARON                    WEINSIEDER, RICHARD                   WEINSTEIN, ALEXANDER
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WEINSTEIN, ALYSSA                    WEINSTEIN, AMANDA                     WEINSTEIN, ARIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINSTEIN, BRITANIA                  WEINSTEIN, CALEY                      WEINSTEIN, DANIEL
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WEINSTEIN, DAVID                     WEINSTEIN, EMMA                       WEINSTEIN, JEFFREY
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WEINSTEIN, JENNA                     WEINSTEIN, JESSE                      WEINSTEIN, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINSTEIN, MATTHEW                   WEINSTEIN, MICHELE                    WEINSTEIN, NAOMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINSTEIN, NATALIE                   WEINSTEIN, NICOLE                     WEINSTEIN, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINSTEIN, RYLEE                     WEINSTEIN, SARA                       WEINSTEIN, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEINSTOCK, IRWIN                     WEINSTOCK-GALLAGHER, HANNAH           WEINSTOCK-GALLAGHER, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEINTRAUB SKLAR, ABBEYCase 22-11238-LSS    DocJULIE
                                     WEINTRAUB, 2 Filed 11/30/22      Page 5241  of 5495
                                                                           WEINTRAUB, KAREN
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WEINTRAUB, SCOTTI                    WEINTRUAB, LAUREN                     WEINTZ, AMY
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WEINZIERL, ELIZABETH                 WEIR, ANNIE                           WEIR, BILL
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WEIR, JAMES                          WEIR, KATE                            WEIR, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEIR, LINDA                          WEIR, MARNIE                          WEIR, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEIR, MAXINE                         WEIR, MICKEY                          WEIR, NICHOLAS
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WEIR, WANDA                          WEIR, WENDY                           WEIRAN DENG
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WEIRATH, CHRISTINE                   WEIRATHER, BRANDON                    WEIRBACH, JULIA
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WEIRICH, ADAM                        WEIRICH, JESSICA                      WEIRICK, ANNA
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WEIS, ABIGAIL                        WEIS, DUANE                           WEIS, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEISBAND, RYAN        Case 22-11238-LSS    DocDANIELLE
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                                                                           WEISBERG, DORENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISBERG, JACOB                      WEISBERG, MOLLY                       WEISBERG, NEIL
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WEISBRUCH, TED AND MARY              WEISE, BILLIE                         WEISE, BONNIE
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WEISE, DOOTHY                        WEISE, RACHEL                         WEISE, SARAH
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WEISEL, KEVIN                        WEISEL, REBECCA                       WEISENBACH, CARLY
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WEISENBERGER, AL                     WEISENBORN, ELIZABETH                 WEISENFELD, ALLISON
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WEISENSEL, KRISTINA                  WEISER, HANNAH                        WEISER, MARK
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WEISHAUPT, GINA                      WEISHEIT, AMANDA                      WEISHEIT, DEBORAH
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WEISIGER, MARSHALL                   WEISING, JUDY                         WEISKOPF, MARGARET
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WEISKOTTEN, KERRI                    WEISLER, LAUREN                       WEISMAN, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEISMAN, KATHERINE    Case 22-11238-LSS    Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISMANTLE, ENE                      WEISNER, SERENA                       WEISS ADLER, NOREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISS, ALLY                          WEISS, AMANDA                         WEISS, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISS, ANDREA                        WEISS, ANGIE                          WEISS, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISS, BARRY                         WEISS, BENJAMIN                       WEISS, COREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISS, DONNA                         WEISS, DOUGLAS                        WEISS, ELIZABETH
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WEISS, EMMA                          WEISS, GAIL                           WEISS, GEOFFREY
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WEISS, GWEN                          WEISS, HIEN                           WEISS, JAMI
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WEISS, JARED                         WEISS, JENNIFER                       WEISS, JESSE
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WEISS, JESSICA                       WEISS, JUSTINE                        WEISS, KATE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEISS, KELLY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           WEISS, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISS, LAURA                         WEISS, LAURA                          WEISS, LYN
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WEISS, MACKENZIE                     WEISS, MELISSA                        WEISS, MORGAN
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WEISS, NAOMI                         WEISS, PHIL                           WEISS, RACHEL
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WEISS, REBECCA                       WEISS, ROSE                           WEISS, SAMANTHA
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WEISS, SARAH                         WEISS, SCOTT                          WEISS, SHERI
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WEISS, STACY                         WEISS, STUART                         WEISSER, DAMON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISSERT, ABIGAIL                    WEISSHAAR, REBECCA                    WEISSLER, JEREMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEISSMAN III, WILLIAM                WEISSMAN, ANDREW                      WEISSMUELLER, MARY BETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEIST, CHRISTINA                     WEIST, CINDY                          WEISZ, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEITZ, BRIAN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WEITZ, DAELYN                    Page 5245  ofBAILIE
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WEITZEL, ERIN                        WEITZEL, JAMESON                      WEITZEL, LESLIE
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WEITZMAN, ARIELLE                    WEITZMAN, ELIZABETH                   WEIZER, ELIZABETH
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WELBES, KORI                         WELBORN, CYNTHIA                      WELBORN, LAURIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELBORN, TAYLOR                      WELBY, ELIZABETH                      WELCH LUTTRELL, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH LUTTRELL, RYAN                 WELCH, ALICIA                         WELCH, ALISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, AMANDA                        WELCH, AMANDA                         WELCH, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, BLAKE                         WELCH, BRENDAN                        WELCH, CARLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, CASEY                         WELCH, CHRISTI                        WELCH, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, DAWN                          WELCH, DELPFINE                       WELCH, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WELCH, DIANA          Case 22-11238-LSS
                                     WELCH, Doc  2 Filed 11/30/22
                                            ELISABETH                 Page 5246
                                                                           WELCH,of 5495
                                                                                  ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, EMILY                         WELCH, EMMA                           WELCH, FRANCECA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, GABRIELA                      WELCH, GENA                           WELCH, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, HEIDI                         WELCH, JAIME                          WELCH, JAIMEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, JAMES                         WELCH, JEN                            WELCH, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, JILLIAN                       WELCH, KAYLA                          WELCH, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, KELLEY                        WELCH, KELLY                          WELCH, KENDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, KRISTIE                       WELCH, LEIF                           WELCH, LENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, LISA                          WELCH, LORENZO                        WELCH, LYNDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, MARISSA                       WELCH, MARY BETH                      WELCH, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WELCH, MARY           Case 22-11238-LSS
                                     WELCH, Doc 2 Filed 11/30/22
                                            MATTHEW                   Page 5247
                                                                           WELCH,of 5495
                                                                                  MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, MICHAELA                      WELCH, MICHELLE                       WELCH, MONIQUE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, MORGAN                        WELCH, NATALIE                        WELCH, NATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, OLIVIA                        WELCH, REBECCA                        WELCH, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, SARA                          WELCH, SARAH                          WELCH, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, SAVANNAH                      WELCH, SCOTT                          WELCH, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, SUSAN                         WELCH, TRUDY                          WELCH, TYRESE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCH, WHITNEY                       WELCHER, CAROLYN                      WELCHER, DEAHNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELCOME HOME GREENBERGS, BRETT &     WELCOME, KELLY                        WELDE, HANNAH
KOREY                                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ADDRESS AVAILABLE UPON REQUEST




WELDIN, JODI                         WELDING, CAITLIN                      WELDON, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WELDON, CASSIE        Case 22-11238-LSS    Doc
                                     WELDON,    2 Filed 11/30/22
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                                                                           WELDON,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELDON, KERRY                        WELDON, LAUREN                        WELDON, LISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELDON, MARVIN                       WELDON, SISSY                         WELDY, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELFORD, SARAH                       WELHOUSE, KATHY                       WELIEVER, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELIN, JOSEFINA                      WELK, MARK                            WELKER, BRANDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELKER, EMMA                         WELKER, JORDAN                        WELKER, MATT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELKER, REBECCA ROSE                 WELKER, VI                            WELKNER, WAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLAGE, EMILY                       WELLBORN, KIM                         WELLE, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLENDORF, ERIN                     WELLENER, CARLY                       WELLER, ALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLER, CARLY                        WELLER, JAIME                         WELLER, JERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WELLER, MATTHEW       Case 22-11238-LSS
                                     WELLER,Doc  2 Filed 11/30/22
                                             MELISSA                        Page 5249 ofMICHELE
                                                                                 WELLER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




WELLER, STEPHEN                         WELLES, KORIE                            WELLES, MORGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WELLFED                                 WELLFORD, REBECCA                        WELLING, ADAM
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WELLING, EMILY                          WELLING, JOSH                            WELLING, KELSEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WELLING, ROB                            WELLINGTON BIESCHKE, ASHLEY              WELLINGTON, AISHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WELLINGTON, JUD                         WELLINGTON, MARITZA                      WELLMAN, KRISTA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WELLMAN, MARCIE                         WELLMAN, TAMI                            WELLMANN, CHANDLER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WELLNER, MARLO                          WELLNER, MARY K                          WELLNITZ, SKYLER
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WELLONS, CHRISTINE                      WELLS FARGO BANK, N.A./SIG (2072)        WELLS FARGO CLEARING SVCS (0141)
ADDRESS AVAILABLE UPON REQUEST          ATTN SCOTT NELLIS OR PROXY MGR           ATTN PROXY DEPT
                                        1525 W T HARRIS BLVD                     H0006-08N
                                        1ST FL                                   2801 MARKET ST
                                        CHARLOTTE, NC 28262-8522                 ST. LOUIS, MO 63103



WELLS FARGO                             WELLS, AARON                             WELLS, ADAM
BANKS ACCOUNT ANALYSIS                  ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
NW 7091 PO BOX 1450
MINNEAPOLIS, MN 55485
WELLS, AIMEE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WELLS, AMBER                     Page 5250
                                                                           WELLS,of
                                                                                 AMY5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, ANDREA                        WELLS, ANDREW                         WELLS, ANN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, ANNE                          WELLS, ANNIE                          WELLS, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, BRIDGET                       WELLS, BRIONNA                        WELLS, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, CAITLIN                       WELLS, CARRIE                         WELLS, CARRIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, CATHY                         WELLS, CHEREE                         WELLS, CHERISSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, CHRISTINA                     WELLS, CHRISTINE                      WELLS, CHRISTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, CHRISTINE                     WELLS, DAVID                          WELLS, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, DENNIS                        WELLS, ELISSA                         WELLS, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, ERIC                          WELLS, GAIL                           WELLS, GAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WELLS, GREGORY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WELLS, HANNAH                    Page 5251
                                                                           WELLS,of 5495
                                                                                 HILARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, HOLLY                         WELLS, JAMES                          WELLS, JOSHUA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, JULIA                         WELLS, JUSTIN                         WELLS, KAREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, KATELYN                       WELLS, KATIE                          WELLS, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, KAYLA                         WELLS, KELLY                          WELLS, LANAE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, LASHAWN                       WELLS, LAURA                          WELLS, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, LINDA                         WELLS, LIZZIE                         WELLS, MARIKA
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WELLS, MARINA                        WELLS, MARY                           WELLS, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, MEGAN                         WELLS, MELISSA                        WELLS, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, MIKE                          WELLS, MISHAEL                        WELLS, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WELLS, NOREEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WELLS, PAT                       Page 5252
                                                                           WELLS,of 5495
                                                                                 PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, PETER                         WELLS, REBECCA                        WELLS, ROY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, SARA                          WELLS, SARAH                          WELLS, SHARRIA
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WELLS, STACY                         WELLS, TAYA                           WELLS, TERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, THOMAS                        WELLS, TIMOTHY                        WELLS, TOM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS, VALERIE                       WELLS, VICTORIA                       WELLS, WALLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELLS-BLOCKER, DIMITRI               WELLY, BRETT                          WELNIAK, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELNICKI, MARYSIA                    WELO, KRISTIN                         WELP, BETHANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELSBACHER, MICHELLE                 WELSCH, ANNIE                         WELSCH, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELSEY, KAITLIN                      WELSH, APRIL                          WELSH, BRIDGET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WELSH, BRITTANY       Case 22-11238-LSS
                                     WELSH, Doc 2 Filed 11/30/22
                                            CAROLINE                  Page 5253
                                                                           WELSH,of 5495
                                                                                  EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELSH, ERIN                          WELSH, HALEY                          WELSH, JAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELSH, KATIE                         WELSH, KAYLEEN                        WELSH, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELSH, LISA                          WELSH, MARGARET                       WELSH, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELSH, NICHOLAS                      WELSH, ROSETTA                        WELSH, ROSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELSH, SARA                          WELSH, TANNER                         WELSH, TERESA
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WELSH, TRAVIS                        WELSHOFF, ALEXANDRA                   WELSTED, REGINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELT, ALAN                           WELT, DEREK                           WELT, THERESA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELT, TIFFANY                        WELTE, LYNDA                          WELTER, VALERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELTER, WHITNEY                      WELTHA, ALEAH                         WELTON, ANJALE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WELTON, CYNTHIA       Case 22-11238-LSS    Doc
                                     WELTON,    2 Filed 11/30/22
                                             KAREN                    Page 5254 ofMEGAN
                                                                           WELTON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELTY, DANIELLE                      WELTY, KATY                           WELTY, KATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELTY, SUSANNAH                      WELTY, THERESA                        WELTZ, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WELTZER, CATHERINE                   WEMHOENER, AMBER                      WEMHOENER, HEATHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEMPE, ERIN                          WEMPLE, NICOLE                        WEN LIEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEN, ERIC                            WEN, IRIS                             WEN, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEN, JOANNA                          WEND, DARCI                           WENDEBORN, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDEL, ADRIANNA                     WENDEL, SARA                          WENDELKEN, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDELL, ABIGAIL                     WENDELL, CHRISTA                      WENDELL, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDELL, JACOB                       WENDELL, JACOB                        WENDELL, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WENDI VANN, WENDI     Case 22-11238-LSS
                                     WENDL, Doc 2 Filed 11/30/22
                                            SUSAN                     Page 5255 of 5495
                                                                           WENDLAND, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDLAND, STACI                      WENDLER, SHARON                       WENDLICK, JILL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDLING, KEELY                      WENDLING, RYAN                        WENDORF, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDORF, KALEY                       WENDT, ARIANNA                        WENDT, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDT, ASHLEY                        WENDT, CASSIE                         WENDT, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDT, KATIE                         WENDT, KILEY                          WENDT, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDT, MEREDITH                      WENDT, NICOLE                         WENDTE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDTH, ALLISON                      WENDY BENTLEY                         WENDY COLLINS
ADDRESS AVAILABLE UPON REQUEST       24517 BROAD CREEK DR.                 ADDRESS AVAILABLE UPON REQUEST
                                     HOLLYWOOD, MD 20636




WENDY DEMICHELE                      WENDY FARR                            WENDY J STACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENDY KELLY                          WENDY LYNN TIGHE                      WENDY NESS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WENDY NIELSEN         Case 22-11238-LSS    Doc 2 Filed
                                     WENDY PENELOPE  OMNES11/30/22    Page 5256
                                                                           WENDYof 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENG, DIANA                          WENGER, BARBARA                       WENGER, HEIDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENGER, KATIE                        WENGER, MELISSA                       WENGER, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENGRZYNEK, BARBARA                  WENIG, ALEXANDRIA                     WENINGER, MELINDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENK, CATHERINE                      WENKER, THERESA                       WENNER, MARGARET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENNER, TAYLOR                       WENNERSTRUM, JAIMESON                 WENNIGER, MARY DEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENOS, HALEY                         WENSING, STEPHANIE                    WENSLAU, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENSLEY, JOEL                        WENTE FAMILY VINEYARDS                WENTE FAMILY VINEYARDS
ADDRESS AVAILABLE UPON REQUEST       5050 ARROYO ROAD                      5656 TESLA ROAD
                                     LIVERMORE, CA 94550                   LIVERMORE, CA 94550




WENTE VINEYARD                       WENTINK, CRAWFORD                     WENTRCEK, MARCUS
5656 TESLA ROAD                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LIVERMORE, CA 94550




WENTWORTH, ALLYSON                   WENTWORTH, ANDI                       WENTWORTH, BEVERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WENTWORTH, GRETCHEN Case 22-11238-LSS    Doc 2HEIDE
                                   WENTWORTH,      Filed 11/30/22    Page 5257 of 5495
                                                                          WENTWORTH, HEIDE
ADDRESS AVAILABLE UPON REQUEST     ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WENTWORTH, JOHN                     WENTZ, BEVERLY                        WENTZ, BRITANY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENTZ, BROOKLYN                     WENTZ, HELEN                          WENTZ, MEGAN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENTZ, MEREDITH                     WENTZ, SHANNA                         WENTZEL, CANDACE
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENTZEL, JOSH                       WENTZEL, MELINDA                      WENTZKY, TORI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENUM, ANGIE                        WENYE XIAO                            WENZ, BRIAN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENZ, CRISTA                        WENZEL, ABBY                          WENZEL, ANNA
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENZEL, BRENNA                      WENZEL, ELIZABETH                     WENZEL, HEIDI
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENZEL, JILLIAN                     WENZEL, JONATHON                      WENZEL, KELSEY
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WENZELL, ALISHIA                    WENZLER, ERIKA                        WENZLICK, JACQULINN
ADDRESS AVAILABLE UPON REQUEST      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEOSSNER, QUINN       Case 22-11238-LSS    DocANDREW
                                     WEPRINSKY, 2 Filed 11/30/22      Page 5258 of 5495
                                                                           WERBOWSKY, GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERCHOLUK, MARY                      WERCHOWSKI, ODESSA                    WERCKMAN, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERFELMAN, JILLIAN                   WERHANE, JOELLYN                      WERHNER, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERKLEY, MARGARET                    WERKSMAN, ELYSE                       WERLE, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERLE, PETER                         WERLEIN, MARIAH                       WERLING, NIKITA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERLING, PAULA                       WERLINGER, LELLAH                     WERMUTH, GRETCHEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNECKE, EDWARD                     WERNER HOFFMANN                       WERNER, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNER, ALLISON                      WERNER, ANDREW                        WERNER, DANIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNER, EMORY                        WERNER, ERIN                          WERNER, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNER, JODY                         WERNER, JOSEPH                        WERNER, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WERNER, KELLY         Case 22-11238-LSS    Doc
                                     WERNER,    2 Filed 11/30/22
                                             KERRY                    Page 5259 of KRISTEN
                                                                           WERNER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNER, KRISTIN                      WERNER, KYLE                          WERNER, LAYNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNER, LINDSEY                      WERNER, LISA                          WERNER, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNER, NANCY                        WERNER, NICHOLAS                      WERNER, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNER, RACHEL                       WERNER, REBECCA                       WERNER, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNER, SARAH                        WERNER, TARA                          WERNER, TAYLOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNET, HELEN                        WERNETTE, BRANDON                     WERNICK, ARIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNICK, CARRIE                      WERNIG, ANNE                          WERNIMONT, KAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERNOVSKY, JENNA                     WERON, IVY                            WERR, BENJAMIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERRE, JOY                           WERSEN, ALEX                          WERSHBALE, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WERST, DEBBIE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WERT, JOLENE                     Page 5260  of 5495
                                                                           WERT, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERT, MOLLY                          WERT, RUSSELL                         WERTAN, KATELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERTH, ARMAN                         WERTH, EMILY                          WERTH, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERTHAISER, NOAH                     WERTHEIM, JILL                        WERTHEIMER, MATTHEW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERTHER, CAROL                       WERTHMANN, DANIELLE                   WERTLIEB, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERTMAN, ASHLEY                      WERTMAN, DANIEL                       WERTZ, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WERTZ, CASEY                         WERTZ, ERINN                          WERTZ, KIRSTEN
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WERTZ, MEREDITH                      WERTZ, ROBIN                          WERTZ, STEVE
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WERZEN, SHANNON                      WESAMBA, ELLE                         WESCOTT, JACQUELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESCOTT, JENNIFER                    WESCOTT, RHIANNON                     WESELOH, KAITLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WESELOH, MARY         Case 22-11238-LSS    Doc 2
                                     WESENBERG,      Filed 11/30/22
                                                CYNTHIA               Page 5261 of 5495
                                                                           WESHNAK, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESIERSKI, SCOTT                     WESIG, LISA                           WESLANDER, LAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESLEY CONNOR LINDENMUTH             WESLEY KIMBLE                         WESLEY, BOBBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESLEY, MARY                         WESLEY, ROY                           WESLEY, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESLEY, TREVEN                       WESLEY, ZOE                           WESLTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESNER, BEVERLY                      WESNER, HADLEY                        WESOLKO, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESSEL, ERICA                        WESSEL, JENNIFER                      WESSEL, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESSELER, HEATHER                    WESSELHOFF, LEXI                      WESSELINK, KYLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESSELL, JAY                         WESSELMANN, KATHLEEN                  WESSELS, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESSELS, KELSIE                      WESSELS, TAYLOR                       WESSELS, TRUDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
                      Case 22-11238-LSS
WESSELSCHMIDT, ASHLEIGH                    Doc
                                     WESSING,    2 Filed 11/30/22
                                              LAURA                       Page 5262 of 5495
                                                                               WESSLING, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WESSNER, ABBY                           WESSON, BARRY                          WESSON, JADY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEST COAST NOTARY SCHOOL                WEST COAST WINE MERCHANTS              WEST ELM
ADDRESS UNAVAILABLE AT TIME OF FILING   2 COMMERCE DRIVE SUITE 3               ADDRESS UNAVAILABLE AT TIME OF FILING
                                        MOORESTOWN, NJ 08057




WEST GEARY, EMILY                       WEST LA ALLA COMMONWEALTH LLC          WEST LA ELECTRICAL, INC.
ADDRESS AVAILABLE UPON REQUEST          (WEST LA ALLA COMMONWEALTH LLC)        3211 S. BARRINGTON AVE. H
                                        PO BOX 741167                          LOS ANGELES, CA 90066
                                        LOS ANGELES, CA 90074-1167




WEST LA VENTURE COMMONWEALTH LLC        WEST LA VENTURE COMMONWEALTH LLC       WEST LA VENTURE COMMONWEALTH LLC
(WEST LA ALLA COMMONWEALTH LLC)         (WEST LA ALLA COMMONWEALTH LLC)        C/O LASALLE INVESTMENT MANAGEMENT,
11777 SAN VICENTE BLVD., 650            333 WEST WACKER DRIVE, STE 2300        LLC
LOS ANGELES, CA 90049                   CHICAGO, IL 60606                      PO BOX 741167
                                                                               LOS ANGELES, CA 90074-1167



WEST NET CABLE SERVICE                  WEST TENNESSEE CROWN DISTRIBUTING      WEST VIRGINIA ALCOHOL BEVERAGE
PO BOX 2601                             CO                                     CONTROL COMMISSION ENFORCEMENT &
REDONDO BEACH, CA 90278                 3485 TCHULATECH DRIVE                  LICENSING DIVISION
                                        MEMPHIS, TN 38118                      WV ALCOHOL BEVERAGE CONTROL
                                                                               ADMINISTRATION
                                                                               900 PENNSYLVANIA AVE., 4TH FLOOR
                                                                               CHARLESTON, WV 25302

WEST VIRGINIA DIVISION OF LABOR         WEST VIRGINIA DIVISION OF LABOR        WEST VIRGINIA SECURITIES COMMISSION
1900 KANAWHA EAST                       STATE CAPITOL COMPLEX                  1900 KANAWHA BLVD EAST
749 B BULDING 6                         BLD 3, ROOM 200                        STATE CAPITOL COMPLEX
CHARLESTON, WV 25305                    CHARLESTON, WV 25305                   BUILDING 1 ROOM W-100
                                                                               CHARLESTON, WV 25305



WEST VIRGINIA STATE TAX DEPARTMENT      WEST VIRGINIA STATE TAX DEPT           WEST, ABBY
ADDRESS UNAVAILABLE AT TIME OF FILING   1001 LEE ST                            ADDRESS AVAILABLE UPON REQUEST
                                        CHARLESTON, WV 25301




WEST, AKINO                             WEST, ALICIA                           WEST, ALMA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WEST, ANNE                              WEST, ASPEN                            WEST, BRENDAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WEST, BRIANA          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WEST, BRIDGETTE                  Page 5263  of 5495
                                                                           WEST, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, CAITLIN                        WEST, CAITLIN                         WEST, CARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, CHELSEA                        WEST, CHRISSY                         WEST, CHRISTY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, CINDY                          WEST, CYBILL                          WEST, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, DEBRA                          WEST, DONALD                          WEST, DONNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, DONNA                          WEST, DOUGLAS                         WEST, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, EMILY                          WEST, EMILY                           WEST, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, ERYKA                          WEST, GARY                            WEST, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, HARRISON                       WEST, HEATHER                         WEST, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, JAMIE                          WEST, JANET                           WEST, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEST, JENNIFER        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WEST, JODIE                      Page 5264  of 5495
                                                                           WEST, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, JOHN                           WEST, JOLIE                           WEST, JUSTINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, KASEY                          WEST, KATE                            WEST, KATHLEEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, KELLY                          WEST, KIM                             WEST, KORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, KRISTIN                        WEST, LAUREN                          WEST, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, MARK                           WEST, MARY                            WEST, MAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, MEG                            WEST, MEGAN                           WEST, MORGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, MORGAN                         WEST, NANCY KAY                       WEST, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, PATRICK                        WEST, PAUL                            WEST, PENELOPE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, PHEANNAH                       WEST, RACHEL                          WEST, REBEKAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEST, ROBERT          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WEST, ROBERT                     Page 5265  of 5495
                                                                           WEST, SHELBY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, STACY                          WEST, TANNER                          WEST, TANNER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, TARA                           WEST, TONI                            WEST, TYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEST, VIKKI                          WEST, WALKER                          WEST, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTAR COMPLIANCE - BWSC             WESTAR COMPLIANCE                     WESTBROCK, DANIELLE
10130 COMMERCIAL AVE                 10130 COMMERCIAL AVE                  ADDRESS AVAILABLE UPON REQUEST
PENN VALLEY, CA 95946                PENN VALLEY, CA 95946




WESTBROOK, ENID                      WESTBROOK, HEATHER                    WESTBROOK, KEVIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTBROOK, LAUREL                    WESTBROOK, NAKEISHA                   WESTBROOK, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTBY, KRISTA                       WESTBY, LEANNE                        WESTBY, MARC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTCOM, ALAYNA                      WESTCOTT, ALISON                      WESTCOTT, GINGER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTCOTT, JONATHAN                   WESTDYKE, BRITTANY                    WESTENDORF, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WESTENDORF, AMY       Case 22-11238-LSS    Doc 2DIANA
                                     WESTENDORF,     Filed 11/30/22     Page 5266 of 5495
                                                                             WESTENDORF, SHEILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTENHAVER, DON                     WESTENKIRCHNER, CINDY                   WESTENSKOW, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTER, ERIN                         WESTER, KATHRYN                         WESTER, THURE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTERBERG, COLEY                    WESTERCAMP, TWILLA                      WESTERFIELD, DEREK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTERGAARD, BRITTANY                WESTERHOF, KRIS                         WESTERLING, BRANDON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTERLUND, ERICA                    WESTERLY ESTATE, LLC                    WESTERMAN, NICOLE
ADDRESS AVAILABLE UPON REQUEST       C/O C & D LLP                           ADDRESS AVAILABLE UPON REQUEST
                                     690 ALAMO PINTADO ROAD
                                     SOLVANG, CA 93463




WESTERMAN, SHAWN                     WESTERMANN, ADAM                        WESTERN ALLIANCE BANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          1 EAST WASHINGTON ST
                                                                             PHOENIX, AZ 85004




WESTERN ALLIANCE BANK                WESTERN ALLIANCE BANK                   WESTERN DISTRICT OF PENNSYLVANIA
55 ALMADEN BLVD, STE 100             AN ARIZONA CORPORATION                  FEDERAL COURTHOUS, ROOM A330
SAN JOSE, CA 95113                   55 ALMADEN BLVD                         17 S PARK ROW
                                     SAN JOSE, CA 95113                      ERIE, PA 16501-1158




WESTERN DISTRICT OF PENNSYLVANIA     WESTERN DISTRICT OF PENNSYLVANIA        WESTERN SQUARE INDUSTRIES
PENN TRAFFIC BLDG, STE 200           US POST OFFICE & COURTHOUSE             ADDRESS UNAVAILABLE AT TIME OF FILING
319 WASHINGTON ST                    700 GRANT ST, STE 4000
JOHNSTOWN, PA 15901                  PITTSBURGH, PA 15219




WESTERN, MICHAEL                     WESTERVELT, MARLA                       WESTERVELT, VIRGINIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WESTFALL, ELLIE       Case 22-11238-LSS    Doc
                                     WESTFALL,    2 Filed 11/30/22
                                               JILL                     Page 5267 of 5495
                                                                             WESTFALL, KAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTFIELD, JULIAN                    WESTFIELD, RICHARD                      WESTFIELD, RYAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTFIELD, SARAH                     WEST-GARLINGTON, SAMANTHA               WESTGATE, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTHOFF, STEVE                      WESTIN                                  WESTINGHOUSE, JEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




WESTLEY, ATRICE                      WESTLEY, GLENN                          WESTLEY, LILLIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTLING, ANDREA                     WESTLUND, ABIGAIL                       WESTLUND, RON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTLUND, RYAN                       WESTMAAS, ELISA                         WESTMAN, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WEST-MOORE, HARRIET                  WESTMORELAND, CASEY                     WESTMORELAND, KATHERINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTMORELAND, LAURIE                 WESTMORELAND, TRAVIS                    WESTOG, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WESTON HEADLEY                       WESTON WILLEKES                         WESTON, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WESTON, CARI          Case 22-11238-LSS    Doc
                                     WESTON,    2 Filed 11/30/22
                                             CHRISTINA                   Page 5268 of CYNTHIA
                                                                              WESTON, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WESTON, DANIEL                          WESTON, DIANE                         WESTON, EDELIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTON, ERIN                            WESTON, HOPE                          WESTON, JAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTON, JENNIFER                        WESTON, MEGAN                         WESTON, PEYTON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTON, ROB                             WESTON, STEPHEN                       WESTON, VICTORIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTON, VICTORIA                        WESTOVER, ALYSSA                      WESTOVER, CALENE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTOVER, JANICE                        WESTPHAL, CYNTHIA                     WESTPHAL, LAURA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTPHAL, MELISSA                       WESTPORT, 76 FRISBIE WAY              WESTRATE, ROBERT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WESTSIDE RENTALS                        WESTWOOD, MARGARET                    WESTWORD
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




WESTWRIGHT, JESICA                      WETHERALD, THOMAS                     WETHERELL, ASHLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WETHERILL, KELLY      Case 22-11238-LSS    Doc 2 CHERYL
                                     WETHERINGTON,   Filed 11/30/22   Page 5269 of 5495 LYNDSEY
                                                                           WETHERINGTON,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WETMORE, JASON                       WETSCHKA, MARK                        WETSCHKA, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WETSELL, MARIA                       WETTER, ALAN                          WETTER, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WETTERICH, MCKENZIE                  WETTJE, JENNIFER                      WETTSTEIN, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WETTSTEIN, DAWN                      WETZEL, BENJAMIN                      WETZEL, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WETZEL, ELIZABETH                    WETZEL, GRETA                         WETZEL, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WETZEL, RICK                         WETZEL, STEPHANIE                     WETZIG, ELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEULE, ANDREA                        WEWE, SHASTA                          WEX BANK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




WEX HEALTH, INC                      WEXELL, ANNIE                         WEXLER, TED
4321 20TH AVE S                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
FARGO, ND 58103




WEY, ERIKA                           WEY, PAIGE                            WEYANDT, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WEYBRET, JULIET       Case 22-11238-LSS
                                     WEYER, Doc  2 Filed 11/30/22
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                                                                              WEYERS, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WEYERS, KIA                             WEYERS-ZUBOR, JANELLE                 WEYFORTH, KATY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEYLAND, HOLLY                          WEYMANN, ALYSSA                       WEYMOUTH, LINDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WEYRAUCH, PAIGE                         WEYRICH, STEVE                        WEYRICK, KRISTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WH ONSTREET PBCELL                      WHALE, BRUCE                          WHALEN, APRIL
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALEN, AUDA                            WHALEN, BRIAN                         WHALEN, CATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALEN, CHARLOTTE                       WHALEN, COURTNEY                      WHALEN, DIANE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALEN, ELIZABETH                       WHALEN, GARRED                        WHALEN, JEANETTE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALEN, KAILEE                          WHALEN, KATE                          WHALEN, KRISTEN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALEN, KRISTIN                         WHALEN, LAURA                         WHALEN, LEXI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHALEN, LINDSEY       Case 22-11238-LSS    Doc
                                     WHALEN,    2 Filed 11/30/22
                                             MARIELLE                 Page 5271 ofSAMANTHA
                                                                           WHALEN, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALEN, SHAINA                       WHALEN, STEPHANIE                     WHALEN-KIELBACK, MEAGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALEY, DAVID                        WHALEY, JESSICA                       WHALEY, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALEY, MELISSA                      WHALEY, SCOTT                         WHALEY, TONI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHALING, MELISSA                     WHALL, ALLISON                        WHAM, KASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHAN, PAUL                           WHANG, SHINWHA                        WHANN, BRENDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHARRIE, PAT                         WHARRY, ARIEL                         WHARTON, ANTOINETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHARTON, GWYNNE                      WHARTON, KATHLEEN                     WHARTON, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHARTON, MARY                        WHARTON, MEREDITH                     WHARTON, MIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHARTON, WHITNEY                     WHARTON, WILL                         WHATLEY, ABIGAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHATLEY, HAYLEY       Case 22-11238-LSS    Doc
                                     WHATLEY,   2 Filed 11/30/22
                                              KAYLA                   Page 5272 of 5495
                                                                           WHATLEY, TYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEADON, STEPHEN                     WHEALE, BRIAN                         WHEALE, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEARTY, KARY                        WHEARTY, ROBERT                       WHEAT, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEAT, CODY                          WHEAT, KAITLYN                        WHEAT, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEAT, MARY                          WHEAT, MICAH                          WHEATCROFT, ALEX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEATLEY, CHRISTOPHER                WHEATLEY, DENISE                      WHEATLEY, HANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEATLEY, JANA                       WHEATLEY, KELLY                       WHEATLEY, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEATLEY, SAMANTHA                   WHEATLY, TIRSHA                       WHEATON, ERIKA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEATON, GREGORY                     WHEATON, LEW                          WHEATON, SCOTT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEATON, SUMMER                      WHEBY, RAQUEL                         WHEEL HOUSE CHEESE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING
WHEEL, EIGHTEEN       Case 22-11238-LSS    Doc
                                     WHEELEF,   2 Filed 11/30/22
                                              MELANIE                 Page 5273 of 5495
                                                                           WHEELER, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, ALTHERIA                    WHEELER, AMANDA                       WHEELER, AMBER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, AMY                         WHEELER, ANAIS                        WHEELER, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, ANNALIV                     WHEELER, ANNE                         WHEELER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, ASHLEY                      WHEELER, ASHLEY                       WHEELER, ASHLYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, BECCA                       WHEELER, BILLIE                       WHEELER, CANDACE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, CASSIE                      WHEELER, CATHERINE                    WHEELER, CHRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, COLLEEN                     WHEELER, CYNTHIA                      WHEELER, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, DEBRA                       WHEELER, DIANNE                       WHEELER, FELICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHEELER, HANNAH                      WHEELER, JACKSON                      WHEELER, JANET
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WHEELER, JENALITY     Case 22-11238-LSS    Doc
                                     WHEELER,    2 Filed 11/30/22
                                              JENNIFER                Page 5274 of 5495
                                                                           WHEELER, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHEELER, JESSICA                     WHEELER, JOHANNA                       WHEELER, KELLI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHEELER, KENNETH                     WHEELER, KIMBERLY                      WHEELER, KOBY
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WHEELER, KRIS                        WHEELER, KRISTEN                       WHEELER, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHEELER, KRISTEN                     WHEELER, KRISTIN                       WHEELER, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHEELER, LEIGH                       WHEELER, LISA                          WHEELER, MCKENSEY
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WHEELER, MICAH                       WHEELER, MICHAE                        WHEELER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHEELER, NICOLE                      WHEELER, NICOLE                        WHEELER, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHEELER, RACHELL                     WHEELER, REBECCA                       WHEELER, RITA
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WHEELER, SHANNON                     WHEELER, STEPHANIE                     WHEELER, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WHEELER, TOM          Case 22-11238-LSS    Doc
                                     WHEELER,    2 Filed 11/30/22
                                              WILLIAM                   Page 5275 of 5495
                                                                             WHEELESS, TANYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHEELIN, KARIN                       WHEELING SR, ED                         WHEELIS, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHEELOCK, KANE                       WHEELUS, AMELIA                         WHEETLEY, CHANDRA
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WHELAN, CHRIS                        WHELAN, EVA                             WHELAN, HILARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHELAN, IAN                          WHELAN, JACQUELINE                      WHELAN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHELAN, KERRY                        WHELAN, LISA                            WHELAN, SC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHELAN, VICTORIA                     WHELCHEL, BRITTANY                      WHELEHAN, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHELTON, CAITLIN                     WHETSELL, LYNDSAY                       WHETSTINE, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHETSTONE WINES, LLC                 WHETSTONE, ASHLEY                       WHETSTONE, HANNAH
1075 ATLAS PEAK RD.                  ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NAPA, CA 94558




WHETSTONE, TAYLOR                    WHICH WHICH                             WHICHER, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
WHICHER, TIFFANI      Case 22-11238-LSS    Doc
                                     WHIDDEN,   2 Filed 11/30/22
                                              SAMANTHA                Page 5276 of 5495
                                                                           WHIDDEN, TAMARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHIGHAM-BARR, KIMBERLY               WHINERY, AMY                          WHINFREY, KARMEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHIPKEY, KRISTY                      WHIPP, LAUREN                         WHIPPLE, ALESSANDRA
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WHIPPLE, CARA                        WHIPPLE, ELEESA                       WHIPPLE, KRISTEN
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WHIPPLE, LAUREN                      WHIRE, MELINDA                        WHISENTON LUMOR, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHISLER, AUSTIN                      WHISLER, JOHN                         WHISLER, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHISMAN, AMANDA                      WHISMAN, CAROL                        WHISMAN, KYLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHISNANT, AMBER                      WHISNANT, MARY                        WHISNANT, NATHALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHISNANT, PHILLIP                    WHISNANT, SANDRA                      WHISTED, JAIME
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHISTIN, HEATHER                     WHISTLER, REBECCA                     WHITACRE, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITACRE, KATHERINE   Case 22-11238-LSS    Doc
                                     WHITACRE,   2 Filed 11/30/22
                                               SARAH                  Page 5277  of 5495
                                                                           WHITACRE, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITAKER, ABBIE                      WHITAKER, ANNA                         WHITAKER, ASHLEY
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WHITAKER, CAITLIN                    WHITAKER, CASEY                        WHITAKER, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITAKER, DARIUS                     WHITAKER, ELIZABETH                    WHITAKER, JANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITAKER, JESSICA                    WHITAKER, JOHN                         WHITAKER, JON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITAKER, KAIT                       WHITAKER, KATIE                        WHITAKER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITAKER, MICHAEL                    WHITAKER, MICHELLE                     WHITAKER, MIKALA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITAKER, NANCY                      WHITAKER, TAYLOR                       WHITAKER, TERRYE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITAKER, TY                         WHITBY, KATHLEEN                       WHITBY, MALISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITCHER, SHERRI                     WHITCOMB, APRIL                        WHITCOMB, CASEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WHITCOMB, MATTHEW     Case 22-11238-LSS    DocREBECCA
                                     WHITCOMB,  2 Filed 11/30/22      Page 5278 of 5495
                                                                           WHITCOMB, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITCOMBE, SOFIA                     WHITCRAFT, RACHEL                      WHITE AND BLUE GROUP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS UNAVAILABLE AT TIME OF FILING




WHITE BISHOP, SARA                   WHITE BUFFALO LLC                      WHITE DITTMAR, WHITNEY
ADDRESS AVAILABLE UPON REQUEST       2186 BUFFALO DRIVE                     ADDRESS AVAILABLE UPON REQUEST
                                     GRAND JUNCTION, CO 81507




WHITE FIN MANAGEMENT LLC             WHITE, AARON                           WHITE, ABIGAIL
2207 HAMLET CIRCLE                   ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
ROUND ROCK, TX 78664




WHITE, ADAM                          WHITE, ALEXANDRA                       WHITE, ALEXANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, ALEXIS                        WHITE, ALEXIS                          WHITE, ALFRED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, ALICE                         WHITE, ALISON                          WHITE, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, ALTRINA                       WHITE, AMANDA                          WHITE, AMANDA
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WHITE, AMBER                         WHITE, AMBER                           WHITE, AMY
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WHITE, ANDREW                        WHITE, ANDRITA                         WHITE, ANGELA
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WHITE, ARLENE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, ASHLEY                    Page 5279
                                                                           WHITE, of 5495
                                                                                  ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, ASHLEY                        WHITE, ASHLEY                         WHITE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, AUTUMN                        WHITE, BARBARA                        WHITE, BERNADETTE
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WHITE, BLAIRE                        WHITE, BLAKE                          WHITE, BLAKE
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WHITE, BRENDA                        WHITE, BRETT                          WHITE, BRIDGET
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WHITE, BRITTANY                      WHITE, BRITTANY                       WHITE, BRITTANY
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WHITE, BRITTNEY                      WHITE, BROOKE                         WHITE, CAITLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, CAMILLE                       WHITE, CANDACE                        WHITE, CAROLANN
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WHITE, CAROLINE                      WHITE, CAROLYN                        WHITE, CASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, CECILIA                       WHITE, CHERE                          WHITE, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITE, CHRISTIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, CHRISTOFER                Page 5280
                                                                           WHITE, of 5495
                                                                                  CHRISTOPHER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, CHRISTY                       WHITE, CLARKE                          WHITE, COLETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, COREY                         WHITE, COURTNEY                        WHITE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, COURTNEY                      WHITE, CRISTIN                         WHITE, CYNDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, CYNTHIA                       WHITE, DAMIAN                          WHITE, DANA
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WHITE, DANELLE                       WHITE, DANIEL                          WHITE, DANIELE
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WHITE, DARCY                         WHITE, DARREN                          WHITE, DAVE
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WHITE, DAVID                         WHITE, DAVID                           WHITE, DEANNE
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WHITE, DENISHA                       WHITE, DONNA                           WHITE, DYLAN
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WHITE, EBONEY                        WHITE, ELISA                           WHITE, ELISE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WHITE, ELIZABETH      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, ELIZABETH                 Page 5281
                                                                           WHITE, of 5495
                                                                                  ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, ELLEN                         WHITE, ELLIOTT                         WHITE, EMILIE
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WHITE, EMILY                         WHITE, EMILY                           WHITE, EMMA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, ERIC                          WHITE, ERICA                           WHITE, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, ERICA                         WHITE, ERIN                            WHITE, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WHITE, ETHEL                         WHITE, EVERETT                         WHITE, FAYE
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WHITE, GARY                          WHITE, GERARD                          WHITE, HALEY
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WHITE, HALEY                         WHITE, HANNAH                          WHITE, HEATHER
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WHITE, HEATHER                       WHITE, HEATHER                         WHITE, HEATHER
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WHITE, HEATHER                       WHITE, HEIDI                           WHITE, JACLYN
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WHITE, JACOB          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, JAMIE                     Page 5282
                                                                           WHITE, of 5495
                                                                                  JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, JARAD                         WHITE, JEFF                           WHITE, JEFFREY
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WHITE, JENNETTE                      WHITE, JENNIFER                       WHITE, JENNIFER
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WHITE, JENNIFER                      WHITE, JENNY                          WHITE, JESSICA
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WHITE, JESSICA                       WHITE, JESSICA                        WHITE, JESSICA
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WHITE, JESSICA                       WHITE, JESSIE                         WHITE, JILL
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WHITE, JILLIAN                       WHITE, JIM                            WHITE, JOAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, JOE & LINDA                   WHITE, JOEL                           WHITE, JOHN G.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, JOHN                          WHITE, JORDAN                         WHITE, JORDAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, JORDAN                        WHITE, JORDAN                         WHITE, JOSH
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WHITE, JOYCE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, JUDITH                    Page 5283
                                                                           WHITE, of 5495
                                                                                  JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, JULIE                         WHITE, JUSTIN                         WHITE, KANDACE
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WHITE, KANDIS                        WHITE, KARA                           WHITE, KAREN
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WHITE, KARLA                         WHITE, KASSIDY                        WHITE, KATE
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WHITE, KATHLEEN                      WHITE, KATHY                          WHITE, KATIE
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WHITE, KATIE                         WHITE, KATRINA                        WHITE, KAYLA
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WHITE, KAYLEE                        WHITE, KEELEY                         WHITE, KEELY
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WHITE, KEENA                         WHITE, KELLI                          WHITE, KELLIE
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WHITE, KELLY                         WHITE, KELLY                          WHITE, KELSEY
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WHITE, KELSI                         WHITE, KEN AND TRACEY                 WHITE, KENDAL
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WHITE, KENNETH        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, KENNETH                   Page 5284
                                                                           WHITE, of 5495
                                                                                  KERRIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, KEVIN                         WHITE, KEVIN                          WHITE, KIANA
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WHITE, KIM                           WHITE, KIM                            WHITE, KIMBERLY
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WHITE, KIP                           WHITE, KIRSTEN                        WHITE, KOLBY
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WHITE, KRISTINA                      WHITE, KYLIE                          WHITE, LADONNA
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WHITE, LARUSHELL                     WHITE, LAUREN                         WHITE, LAUREN
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WHITE, LAUREN                        WHITE, LAURIE-LEIGH                   WHITE, LEAH
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WHITE, LINDSEY                       WHITE, LINDSEY                        WHITE, LINDSEY
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WHITE, LISA                          WHITE, MAGGIE                         WHITE, MAGGIE
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WHITE, MALLORY                       WHITE, MARA                           WHITE, MARC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITE, MARCI          Case 22-11238-LSS     Doc C.
                                     WHITE, MARK 2 Filed 11/30/22     Page 5285
                                                                           WHITE, of 5495
                                                                                  MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, MARY                          WHITE, MARY                           WHITE, MASHAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, MATTHEW                       WHITE, MATTHEW                        WHITE, MAURA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, MEAGAN                        WHITE, MEGAN                          WHITE, MELANIE
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WHITE, MELISSA                       WHITE, MELISSA                        WHITE, MEREDITH
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WHITE, MICHELLE                      WHITE, MINDY                          WHITE, MIRANDA
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WHITE, MISHA                         WHITE, MONICA                         WHITE, MORGAN
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WHITE, NANCY                         WHITE, NATALIE                        WHITE, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, NICHOLAS                      WHITE, NICOLE                         WHITE, NICOLE
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WHITE, NICOLE                        WHITE, NICOLE                         WHITE, NICOLE
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WHITE, NICOLE         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, NIKKI                     Page 5286
                                                                           WHITE, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, OLIVIA                        WHITE, PAIGE                          WHITE, PATRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, PATRICK                       WHITE, PAULA                          WHITE, PAYDEN
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WHITE, PENNY                         WHITE, PETER                          WHITE, PHILLIP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, PHYLLIS                       WHITE, PIPER                          WHITE, PRECIOUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, RACHAEL                       WHITE, RACHEL                         WHITE, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, RALPH                         WHITE, RANDY                          WHITE, RASHEED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, RAY AND ADRIA                 WHITE, REBECCA                        WHITE, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, REINA                         WHITE, RIANNA                         WHITE, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, ROBBIE                        WHITE, ROBERT                         WHITE, ROBERT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITE, ROBERT         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, ROLAND                    Page 5287
                                                                           WHITE, of 5495
                                                                                  RUTH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, SAM                           WHITE, SAMANTHA                       WHITE, SAMUEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, SARA                          WHITE, SARA                           WHITE, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, SARAH                         WHITE, SARAH                          WHITE, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, SARAH                         WHITE, SELIHAH                        WHITE, SERA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, SHAMEIKA                      WHITE, SHELLY                         WHITE, SIERRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, SIERRA                        WHITE, SIOBHAN                        WHITE, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, STEPHANIE                     WHITE, STEPHEN                        WHITE, STEVEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, SUSAN                         WHITE, SUSAN                          WHITE, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, TABETHA                       WHITE, TENISHA                        WHITE, TERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITE, THERESE        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WHITE, TIFFANY                   Page 5288
                                                                           WHITE, of
                                                                                  TIM5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, TIM                           WHITE, TONIKA                         WHITE, TRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, TSHECA                        WHITE, TYHEERAH                       WHITE, VALLERIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, VIRGINIA                      WHITE, WALTER                         WHITE, WANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE, ZACHARY                       WHITE, ZENOBIA                        WHITEBREAD, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITECAVAGE, HANNAH                  WHITECOTTON, SARA                     WHITED, NATALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITED, STEVE                        WHITEFIELD, ALYSON                    WHITEFORD, ALLISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITEFORD, AMANDA                    WHITEHAIR, MOLLY                      WHITEHALL, KYMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITEHEAD, AMANDA                    WHITEHEAD, AMANDA                     WHITEHEAD, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITEHEAD, BAYLEE                    WHITEHEAD, BRANDON                    WHITEHEAD, BRUCE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITEHEAD, DANIELLE   Case 22-11238-LSS    DocHANNAH
                                     WHITEHEAD, 2 Filed 11/30/22      Page 5289  of 5495
                                                                           WHITEHEAD, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITEHEAD, JESSICA                   WHITEHEAD, KENNETH                    WHITEHEAD, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITEHEAD, KRYSTA                    WHITEHEAD, MICHELLE                   WHITEHEAD, PAULA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITEHEAD, QUINN                     WHITEHILL, MARISSA ALICE              WHITEHILL, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITEHOUSE, ANNAKA                   WHITEHOUSE, BENJAMIN                  WHITEHURST, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITELAVICH, EMILY                   WHITELAW, BREANN                      WHITELAW, KATHRYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITELEATHER, BLAKE                  WHITELEY, BRITTANI                    WHITELEY, LAJON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITELEY, TAYLOR                     WHITELOCK, MEGAN                      WHITELOCK, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITELOCK, SHANA                     WHITEMAN, ASHLEY                      WHITEMAN, JEFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITEMAN, JILL                       WHITEMAN, KURT                        WHITEMAN, NICHOLAS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITEMAN, STACY       Case 22-11238-LSS    Doc
                                     WHITENER,   2 Filed 11/30/22
                                               KIMBERLY               Page 5290  of 5495
                                                                           WHITENER, WADE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE-ROACH, LOUISE                  WHITESELL, LISA                       WHITESELL, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITESIDE, ALEXIS                    WHITESIDE, DAMON                      WHITESIDE, DENNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITESIDE, GRIFFIN                   WHITESIDE, HOLLY                      WHITESIDE, JEFF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITESIDE, KATHY                     WHITESIDE, KRISTA                     WHITESIDES, TARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITE-THOMPSO, PATRICIA              WHITFIELD, ASHLEIGH                   WHITFIELD, BRETT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITFIELD, BROOKE                    WHITFIELD, BRYAN                      WHITFIELD, CHLOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITFIELD, COLLINS                   WHITFIELD, DENISE                     WHITFIELD, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITFIELD, HANNAH                    WHITFIELD, JILL                       WHITFIELD, KATIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITFIELD, KELLI                     WHITFIELD, LAUREN                     WHITFIELD, LORI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITFIELD, TIERNEY    Case 22-11238-LSS    DocSAMANTHA
                                     WHITFORD,  2 Filed 11/30/22      Page 5291  of 5495
                                                                           WHITHAM, CRAIG
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITHAM, KELLEY                      WHITING, AMANDA                       WHITING, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITING, CARA                        WHITING, DEBORAH                      WHITING, JEANETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITING, MCKENNA                     WHITING, MELISSA                      WHITING, SANESTRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITING, VALARIE                     WHITISH, JACOB                        WHITLEDGE, LISBETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITLEY, ANGELA                      WHITLEY, CHRISTINE                    WHITLEY, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITLEY, JOSHUA                      WHITLEY, KATHLEEN                     WHITLEY, KRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITLEY, LAURA                       WHITLEY, LAUREN                       WHITLEY, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITLING, JENNIFER                   WHITLOCK, CARRIE                      WHITLOCK, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITLOCK, DONNA                      WHITLOCK, EVELYN                      WHITLOCK, HILLARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITLOCK, JENNIFER    Case 22-11238-LSS    Doc
                                     WHITLOCK,   2 Filed 11/30/22
                                               KRISTIN                Page 5292  of 5495
                                                                           WHITLOCK, LEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITLOW, JAMIE                       WHITLOW, JEFFREY                      WHITLOW, MACKENZIE
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WHITLOW, SAUNDRA                     WHITLOW, WHITNEY                      WHITMAN LAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITMAN, ALEXIS                      WHITMAN, BYRON                        WHITMAN, BYRON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITMAN, CHRISTINE                   WHITMAN, HANNAH                       WHITMAN, MELISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITMAN, MEREDITH                    WHITMAN, STEPHANIE                    WHITMAN-BARR, CHARLENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITMER, ANNEJULIE                   WHITMILL, ERICAH                      WHITMIRE, JENNY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITMIRE, KATIE                      WHITMIRE, KELLY                       WHITMIRE, SHAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITMORE, ABBY                       WHITMORE, ALEIGHA                     WHITMORE, HARRIET L.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITMORE, KATIE                      WHITMORE, KATIE                       WHITMORE, LAYNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITMORE, SARAH       Case 22-11238-LSS    DocSOPHIA
                                     WHITMORE,  2 Filed 11/30/22      Page 5293 of 5495
                                                                           WHITMOYER, ASHTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITMYRE, BRUCE                      WHITNEE HAWTHORNE                     WHITNER, PATTI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITNEY BRUNER                       WHITNEY FOSTER                        WHITNEY JOHNSEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITNEY L ADAMS                      WHITNEY M FOSTER                      WHITNEY WALDEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITNEY, ALLISON                     WHITNEY, BRIAN                        WHITNEY, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITNEY, CHRISTINA                   WHITNEY, EMILY                        WHITNEY, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITNEY, GREG                        WHITNEY, GRETCHEN AND DAVE            WHITNEY, JENNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITNEY, KATHERINE                   WHITNEY, KATIE                        WHITNEY, KRYSTLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITNEY, LEILANI                     WHITNEY, MICHAEL                      WHITNEY, NEVILLE,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITSEL, BRAD                        WHITSETT, ELIZABETH                   WHITSETT, JANIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITSITT, TERESSA     Case 22-11238-LSS    Doc
                                     WHITSON,    2 Filed 11/30/22
                                              AUDRIANNA               Page 5294  of 5495
                                                                           WHITSON, AURORA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITSON, JESSICA                     WHITSON, JIOVONE                      WHITSON, JO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITSON, JULIE                       WHITSON, NORAH                        WHITSON, RICHARD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITSON, ROSEMARY                    WHITT, GLEN                           WHITT, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITT, LANITA                        WHITT, MADELYN                        WHITT, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITT, STEVE                         WHITTAKER, BRITTANY                   WHITTAKER, CARSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTAKER, COLLIN                    WHITTAKER, ERIN                       WHITTAKER, KARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTAKER, MARVY                     WHITTAKER, MARY                       WHITTAKER, MELANGLL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTAKER, MICHELLE                  WHITTAKER, MICHELLE                   WHITTAKER, OLIVIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTAKER, ROBERT                    WHITTAKER, SANDRA                     WHITTAKER, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITTAKER, TRACY      Case 22-11238-LSS    DocWESLEYNE
                                     WHITTAKER, 2 Filed 11/30/22      Page 5295  of 5495
                                                                           WHITTAKER, ZOE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTED, KRYSTALYNN                  WHITTED, PATTY                        WHITTEKIND, ALEXA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTELSEY, SARAH                    WHITTEMORE, KAILEN                    WHITTEMORE, KELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTEN, DAWN                        WHITTEN, DEB                          WHITTEN, MECHELLEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTEN, MORGAN                      WHITTEN, RACHEL                       WHITTEN, SAVANNAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTENBERG, KYLA                    WHITTIER, AMANDA                      WHITTIER, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTIER, KENNETH                    WHITTIER, SEVERINE                    WHITTINGTON, APRIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTINGTON, BRANDICE                WHITTINGTON, JESSICA                  WHITTINGTON, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTINGTON, VIVIAN                  WHITTLE JR, GEORGE                    WHITTLE, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WHITTLE, MICHAEL                     WHITTNEY DAVIS                        WHITWORTH, ALIX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WHITWORTH, EMILY      Case 22-11238-LSS    Doc KALEY
                                     WHITWORTH, 2 Filed 11/30/22         Page 5296 of 5495
                                                                              WHITWORTH, KRISTIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WHITWORTH, SAM                       WHITWORTH, SAMUEL                         WHOBREY, EUGENE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WHOLE FOODS (MALIBU)                 WHOLE FOODS MARKET (IRVINE)               WHOLE FOODS MARKET 43 (VENICE)
23401 CIVIC CENTER WAY               8525 IRVINE CENTER DRIVE                  225 LINCOLN BLVD
MALIBU, CA 90265                     IRVINE, CA 92620                          VENICE, CA 90291




WHOLE FOODS MARKET (BREA)            WHOLE FOODS MARKET 64 (LAGUNA             WHOLE FOODS MARKET 69 (PLAYA VISTA)
3301 E. IMPERIAL HIGHWAY             NIGUEL)                                   12746 JEFFERSON BLVD.
BREA, CA 92823                       23932 ALISO CREEK ROAD                    PLAYA VISTA, CA 90094
                                     LAGUNA NIGUEL, CA 92677




WHOLE FOODS MARKET LBR 10701 (LONG   WHOLE FOODS MARKET NEWPORT 65             WHOLE FOODS MARKET PASADENA 17
BEACH)                               415 NEWPORT CENTER DR.                    3751 E- FOOTHILL BLVD
6400 E. PACIFIC COAST HWY            NEWPORT BEACH, CA 92660                   PASADENA, CA 91107
LONG BEACH, CA 90803




WHOLE FOODS MARKET (BURBANK)         WHOLE FOODS MARKET (DOWNTOWN LA)          WHOLE FOODS MARKET (PORTER RANCH)
3401 WEST OLIVE                      6350 W. 3RD ST.                           20209 W. RINALDI STREET
BURBANK, CA 91505                    LOS ANGELES, CA 90036                     PORTER RANCH, CA 91326




WHOLE FOODS MARKET 11 (WEST LA)      WHOLE FOODS MARKET 13 (HILLCREST)         WHOLE FOODS MARKET 14 (BRENTWOOD)
11666 NATIONAL BLVD                  711 UNIVERSITY AVE                        11737 SAN VICENTE BLVD
LOS ANGELES, CA 90064                SAN DIEGO, CA 92103                       LOS ANGELES, CA 90049




WHOLE FOODS MARKET 16 ( WOODLAND     WHOLE FOODS MARKET 20 (WEST               WHOLE FOODS MARKET 23 (SANTA MONICA)
HILLS)                               HOLLYWOOD)                                2201 WILSHIRE BLVD
21347 VENTURA BLVD                   7871 SANTA MONICA BLVD                    SANTA MONICA, CA 90403
WOODLAND HILLS, CA 91364             LOS ANGELES, CA 90046




WHOLE FOODS MARKET 26 (FAIRFAX)      WHOLE FOODS MARKET 27 ( WESTWOOD)         WHOLE FOODS MARKET 34 (PCH)
6350 W. 3RD ST.                      1050 S- GAYLEY                            760 SOUTH SEPULVEDA BLVD
LOS ANGELES, CA 90036                LOS ANGELES, CA 90024                     EL SEGUNDO, CA 90245




WHOLE FOODS MARKET 36 (SANTA         WHOLE FOODS MARKET 365 (SILVER LAKE)      WHOLE FOODS MARKET 37 (ARROYO)
BARBARA)                             2520 GLENDALE BLVD                        465 S- ARROYO PARKWAY
3761 STATE STREET                    LOS ANGELES, CA 90039                     PASADENA, CA 91105-2529
SANTA BARBARA, CA 93105
WHOLE FOODS MARKET 42 Case  22-11238-LSS
                      ( OXNARD)               Doc 2MARKET
                                      WHOLE FOODS     Filed4511/30/22    Page 5297
                                                              (PALM DESERT)   WHOLEof   5495
                                                                                     FOODS MARKET 60(HUNTINGTON
650 TOWN CENTER DR.                   44-459 TOWN CENTER WAY                  BEACH)
OXNARD, CA 93036                      PALM DESERT, CA 92260                   7881 ERDINGER AVE
                                                                              HUNTINGTON BEACH, CA 92647




WHOLE FOODS MARKET GLENDALE 29          WHOLE FOODS MARKET SAN LUIS OBISPO      WHOLE FOODS
331 N GLENDALE AVE                      76                                      ADDRESS UNAVAILABLE AT TIME OF FILING
GLENDALE, CA 91206                      1531 FROOM RANCH WAY
                                        SAN LUIS OBISPO, CA 93405




WHOLEY, DIANE                           WHOOLEY, TYLER                          WHORTON, ALICIA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHOSELEY, DANIEL                        W-HOTEL                                 WHYMS, MICHAEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST




WHYNOT COFFEE                           WHYTE, AMY                              WHYTE, COURTNEY
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WHYTE, ERIC                             WHYTE, SARAH                            WI DEPT OF REVENUE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          2135 RIMROCK RD
                                                                                MADISON, WI 53708




WIAND, MALLORY                          WIARD, LINDSAY                          WIAZ, HALEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WIAZ, HALEY                             WIBBEN, NANCY                           WIBBEN, SARAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WIBBENMEYER, JENNIFER                   WIBRACHT, JESSICA                       WICHERS, KAYLA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WICHERT, JASON                          WICHLEI, NICOLE                         WICHTOWSKI, MACKENZIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WICK, CHLOE           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WICK, MATTHEW                    Page 5298   of 5495
                                                                           WICK, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKAM, MELISSA                      WICKE, DUSTIN                         WICKENHEISER, MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKENHEISSER, LYNNE                 WICKENS, CARLIE                       WICKENS, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKENS, PAGE                        WICKER, JANET                         WICKER, MADELYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKER, STEPHANIE                    WICKERSHAM, ELIZABETH                 WICKERSHAM, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKERT, ANGELINA                    WICKERT, JONATHON                     WICKES, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKHAM, NATALY                      WICKLAND, ASHLEY                      WICKLAS, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKLINE, EMILY                      WICKLUND, SIERRA                      WICKMAN, CARINNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKMAN, LEAH                        WICKS, INTISAR                        WICKSTROM, HEIDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WICKWIRE, LAUREN                     WIDDIFIELD, KELLI                     WIDDIS, LESLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WIDDOWSON, LAUREN     Case 22-11238-LSS    Doc 2DANIELLE
                                     WIDECRANTZ,     Filed 11/30/22   Page 5299 of BAILEY
                                                                           WIDENER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIDENER, MICHELLE                    WIDENER, SARA                         WIDENER, SHURANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIDERGREN, JEANNETTE                 WIDGER, JOHANNA                       WIDIGER, DEENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIDIKER, KIM                         WIDJAJA, MICHAEL                      WIDLANSKY, JANET
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIDMAR, JAIME                        WIDMER, CHAD                          WIDMER, JANELL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIDMIER, AMBER                       WIDNER, LINDSEY                       WIDNER, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIDNER, STEVE                        WIDSETH, MARK                         WIEBE, DERRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIEBE, ERICA                         WIEBE, STEPHANIE                      WIEBER, AMELIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIECK, AMANDA                        WIECZOREK, KAYLEE                     WIECZOREK, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIED, MEAGAN                         WIEDEMANN, HARDEN                     WIEDEMANN, JAMES
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WIEDEMEIER, LAURA     Case 22-11238-LSS    Doc 2 ELIZABETH
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                                                                           WIEDENMAYER,
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WIEDMEIER, LAURA                     WIEGAND, AMBER                        WIEGAND, JAMI
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WIEGAND, KATHLEEN                    WIEGER, AMBER                         WIEGERT, JENNIFER
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WIEGMAN, VANESSA                     WIELENGA, CHRISTIE                    WIELER, MICHELLE
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WIELK, AMANDA                        WIELKOSZEWSKI, HOLLY                  WIEMAN, ESTHER
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WIEMERS, AUBREY                      WIEMILLER, MEGAN                      WIENCEK, IRMA
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WIENCKEN, SARA                       WIENER, VIVIAN                        WIENKE, NALISSA
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WIENS, STEPHANIE                     WIERCINSKI, EMILY                     WIERLEMANN, ELIZABETH
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WIERMAN, EMILY                       WIERNASZ, PETER                       WIERNIK, AARON
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WIERSEMA, CINDA                      WIERSMA, ASHLEY                       WIERSMA, JESSICA
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WIERSMA, KAITLIN      Case 22-11238-LSS    Doc
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WIERZBICKI, ALEXANDREA               WIERZBICKI, MALLORY                   WIERZBIENIEC, ANDREW
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WIES, CLAUDIA                        WIESBROCK, AMY                        WIESBROCK, KATIE
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WIESBROCK, MICHAL                    WIESE, BROOKE                         WIESE, CANDACE
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WIESE, DONNA                         WIESE, HANNAH                         WIESE, JEAN
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WIESE, LAURA                         WIESE, MICHELLE                       WIESE, MIKAYLA
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WIESELER, ANN                        WIESELER, JESSICA                     WIESENTHAL, BRIANNA
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WIESER, JULIE                        WIESER, MAGGIE                        WIESNER, JUSTIN
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WIESSNER, GRETA                      WIEST, SARAH                          WIESZCHOLEK, MEGAN
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WIETA, KELLY                         WIETECHA, AMY                         WIETFELD, MEGAN
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WIETZEL, PAIGE        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     WIFE, VICKY                      Page 5302
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WIGG, ELIZABETH                      WIGGANS, JUSTINE                       WIGGIN, BIZZ
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WIGGIN, CASEY                        WIGGIN, JENNIFER                       WIGGINS, AARON
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WIGGINS, ALEXIS                      WIGGINS, AMANDA                        WIGGINS, C MICHEL
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WIGGINS, CARMELA B                   WIGGINS, COLIN                         WIGGINS, LOUISE
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WIGGINS, MALGORZATA                  WIGGINS, NICHOLE                       WIGGINS, RACHEL
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WIGGINS, RHEE                        WIGGINS, SARAH                         WIGGINS, SARAN
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WIGGINS, SHANNON                     WIGGINS, SHELBY                        WIGGINS, TITIANNA
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WIGGINTON, CONOR                     WIGGINTON, MATTHEW                     WIGGLE LTD
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WIGGS, CHARLEE                       WIGHT, CONSTANCE                       WIGHT, DUSTIN
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WIGHTMAN, MASON       Case 22-11238-LSS    DocPATRICIA
                                     WIGHTMAN,  2 Filed 11/30/22      Page 5303  of 5495
                                                                           WIGINTON, BILLY
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WIGLER, JOSHUA                       WIGLEY, KYLE                           WIGNALL, KAROLINA
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WIGNALL, KATE                        WIGNES, MARY                           WIHREN, MARIA
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WIK, KATHLEEN                        WIKANDER, JACKIE                       WIKE, BETH
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WIKE, ELLEN                          WIKE, TAYLOR                           WIKOFF, TARA
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WIKTORCHIK, BRIAN                    WILAND, KIMBERLY                       WILBANKS, ALLISON
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WILBANKS, CRYSTAL                    WILBANKS, CRYSTAL                      WILBER, PAIGE
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WILBER, SHENNA                       WILBERDING, MADELINE                   WILBERT, JUNITHA
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WILBERT, MANDY                       WILBON, KRISTEN                        WILBON, KYMBERLY
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WILBORN, HEATHER                     WILBOURN, ABBY                         WILBOURN, LEIGH
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WILBUR, GARRETT       Case 22-11238-LSS    Doc
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                                              CLAIRE                  Page 5304  of 5495
                                                                           WILCHECK, CATIE
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WILCHEK, ASHLEE                      WILCHER, MEGAN                         WILCHER, NIKOL
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WILCHER, ZACH                        WILCINSKI, AMANDA                      WILCOCK, LILY
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WILCOCK, LOUANN                      WILCOTS, AMBER                         WILCOX, ANDREW
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WILCOX, CARLEY                       WILCOX, CASEY                          WILCOX, CYNTHIA M
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WILCOX, DANIEL                       WILCOX, DYLAN                          WILCOX, ELAINE
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WILCOX, GINA                         WILCOX, HALEY                          WILCOX, HANNAH
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WILCOX, JANE                         WILCOX, JENNIFER                       WILCOX, JESSICA
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WILCOX, JOHANNA                      WILCOX, LISA                           WILCOX, MACKENZIE
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WILCOX, QUINN                        WILCOX, RACHEL                         WILCOX, REGINA
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WILCOX, SABRINA       Case 22-11238-LSS
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WILCOXEN, JACQUELYN                  WILCOXON, CHLOE                       WILCOXSON, PATRICIA
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WILCUTT, ANDREW                      WILCZEK, HILARY                       WILCZEWSKI, KAITLIN
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WILCZEWSKI, SARAH                    WILCZYK, KIM                          WILCZYNSKA, JOANNA
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WILCZYNSKI, AMBER                    WILCZYNSKI, EMILY                     WILD JOY STUDIO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        350 MANHATTAN AVE 304
                                                                           BROOKLYN, NY 11211




WILD, ERIKA                          WILD, FERNANDO                        WILD, LINDSAY
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WILD, PATTI                          WILDASIN, KIMBERLY                    WILDASON, MARGIE
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WILDE, AUDREY                        WILDE, CATHERINE                      WILDE, DAYNA
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WILDE, GARY                          WILDE, GREG                           WILDE, KIM
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WILDE, SAMANTHA                      WILDE, TONIA                          WILDEMAN, SARAH
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WILDEMANN, FRANK      Case 22-11238-LSS
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                                                                              WILDER,  5495
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WILDER, BENJAMIN                        WILDER, BILL                          WILDER, CAROLYN
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WILDER, CATHY                           WILDER, DEBBIE                        WILDER, DIANE
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WILDER, LEANA                           WILDER, MARTHA                        WILDER, NICK
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WILDER, PELHAM                          WILDER, STEPHANIE                     WILDERMAN, JILLIAN
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WILDERMUTH, PAMELA                      WILDES, CHARLES                       WILDFEUER, SUSAN
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WILDFLOWER BREAD                        WILDING, ANN MARIE                    WILDMAN, ALLISON
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WILDMAN, BEN                            WILDMAN, KAYDION                      WILDMAN, RACHEL
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WILDS, PATRICIA                         WILE, TIM                             WILEMAN, SAM
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WILEN, LAURIE                           WILENSKY, HEATHER                     WILER, ASHLEY
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WILES, AMY            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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WILES, IRENE                         WILES, KATIE                          WILES, STEVE
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WILES, SUSAN                         WILEY, BRANDON                        WILEY, DOROTHY
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WILEY, ERIC                          WILEY, GRACE                          WILEY, GRAYSON
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WILEY, JAY                           WILEY, JENNIFER                       WILEY, JENNIFER
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WILEY, JORDAN A.                     WILEY, KAREN                          WILEY, KELSEY
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WILEY, KERRY                         WILEY, LAUREN                         WILEY, MANDI
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WILEY, MEGAN                         WILEY, RHIANNON                       WILEY, SETH
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WILEY, SHEY                          WILEY, TAYLOR                         WILEY, THOMAS
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WILFONG, BAILEY                      WILFONG, SOPHIE                       WILFREDO A MELENDEZ
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WILFRID JEAN-FRANCOIS Case 22-11238-LSS     Doc 2 Filed 11/30/22
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WILHELM, ALEXANDRA                   WILHELM, AMY                          WILHELM, AUSTIN
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WILHELM, BRIDGET                     WILHELM, ELISA                        WILHELM, ELISABETH
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WILHELM, ERICH                       WILHELM, JAMIE                        WILHELM, JOHN
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WILHELM, KATELYN                     WILHELM, KATELYN                      WILHELM, KERI
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WILHELM, NICHOLAS                    WILHELMI, EMILY                       WILHELMSEN, MELISSA
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WILHIDE, MIKE                        WILHITE, MARJORIE                     WILHOIT, EMILY
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WILIAMS, CHARLOTTE                   WILINSKI, JEANETTE                    WILK, JILL
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WILK, JOSEPH                         WILK, JULIE                           WILKE, ALYSSA
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WILKE, KRISTEN                       WILKEN, EMILY                         WILKEN, REBECCA
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WILKEN, SARAH         Case 22-11238-LSS
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                                                                           WILKENING, DAVIE
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WILKENS, BECKA                       WILKENS, BROOKE                        WILKER, CHRIS
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WILKERSON, AMBER                     WILKERSON, BECKY                       WILKERSON, CARISSA
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WILKERSON, CHRISTINE                 WILKERSON, CRYSTAL                     WILKERSON, DOMINIQUE
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WILKERSON, ELLEN                     WILKERSON, EMILY                       WILKERSON, ISIAH
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WILKERSON, KATHERINE                 WILKERSON, LAURA                       WILKERSON, MALLORY
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WILKERSON, MARK                      WILKERSON, SABRINA                     WILKERSON, THOMAS
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WILKES, AMY                          WILKES, ANDREW                         WILKES, DARIA
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WILKES, KATHERINE                    WILKES, LAKYNDRA                       WILKES, LISA
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WILKES, SHAMEKA                      WILKES, SHELLY                         WILKESON, SUSAN
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WILKEY, MARY JANE     Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     WILKIE, BARBARA                  Page 5310
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WILKIE, JESSICA                      WILKIE, KAREN                         WILKIE, LORRAINE
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WILKIE, MARK                         WILKIE, SUMMER                        WILKINS HICKMAN, JENNIFER
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WILKINS, ALEXANDER                   WILKINS, ANNE                         WILKINS, BEN
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WILKINS, COLBY                       WILKINS, DEANNE                       WILKINS, GAYLE
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WILKINS, HILLARY                     WILKINS, JENNIFER                     WILKINS, JESSICA
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WILKINS, JESSICA                     WILKINS, KENDRA                       WILKINS, LAUREN
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WILKINS, LAUREN                      WILKINS, MARLICIA                     WILKINS, MAUREEN
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WILKINS, NANETTE                     WILKINS, NICOLE                       WILKINS, PORSCHE
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WILKINS, PRISCILLA                   WILKINS, ROBERT                       WILKINS, SCOTT
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WILKINS, SHEENA       Case 22-11238-LSS
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                                                                           WILKINS, 5495
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WILKINS, TRACY                       WILKINS, VANESSA                      WILKINS, YOLANDA
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WILKINS, ZAIRE                       WILKINSON, AMANDA                     WILKINSON, BRIDGET
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WILKINSON, CASSANDRA                 WILKINSON, CATHERINE                  WILKINSON, CHELSEA
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WILKINSON, CHRISTINE                 WILKINSON, COLIN                      WILKINSON, COLLEEN
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WILKINSON, CORY                      WILKINSON, ELIZABETH                  WILKINSON, ELIZABETH
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WILKINSON, EMILIE                    WILKINSON, HAGAR                      WILKINSON, HAYDEN
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WILKINSON, HEATHER                   WILKINSON, JEANNETTE                  WILKINSON, JENNIFER
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WILKINSON, JOSH                      WILKINSON, KAITLYN                    WILKINSON, KATHLEEN
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WILKINSON, KATIE                     WILKINSON, LINDSAY                    WILKINSON, LINDSAY
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WILKINSON, MANDY      Case 22-11238-LSS     DocMEGAN
                                     WILKINSON, 2 Filed 11/30/22      Page 5312  of 5495
                                                                           WILKINSON, MORGAN
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WILKINSON, NATALIE                   WILKINSON, OLIVIA                     WILKINSON, RACHELLE
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WILKINSON, RICK                      WILKINSON, SHANNON                    WILKINSON, TESSA
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WILKINSON, WILLAIM                   WILKINSON, WYATT                      WILKMAN, KAMERON
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WILKOS, JOYCE                        WILKOWITZ, CHELSEA                    WILKOWSKI, NANCY
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WILKOWSKI, SHEILA                    WILKS, BRANDON                        WILKS, DIANA
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WILKS, SAPHIRA                       WILL ESSEN                            WILL JOHNSON
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WILL, AMANDA                         WILL, COURTNEY                        WILL, HELEN
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WILL, JESSICA                        WILL, JILLYAN                         WILL, LARA
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WILL, LUTHER                         WILL, MICHAEL                         WILL, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WILLA TELLEKSON-FLASH Case 22-11238-LSS    DocLAURA
                                     WILLACKER, 2 Filed 11/30/22      Page 5313  of 5495
                                                                           WILLAIMS, STACY
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WILLARD, ALICIA                      WILLARD, ALYSSA                        WILLARD, AMANDA
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WILLARD, BETH                        WILLARD, CAITLIN                       WILLARD, GAIL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILLAREDT, CHRISTA                   WILLAT, WENDELL                        WILLBANKS, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILLBORN, LISA                       WILLCOT, MALIK                         WILLCUTS, RENEE
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WILLCUTTS, KAREN                     WILLDEN, SETH                          WILLE, BARBARA
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WILLE, KATRINA                       WILLE, KIMLA                           WILLEFORD, CARLIE
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WILLEFORD, TRISTA                    WILLEMIN, LISA                         WILLEMINE MARIE YVES BLAISE SULLY
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WILLEN, PHILIP                       WILLENBRING, AMBER                     WILLENS, KEVIN
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WILLER, HEATHER                      WILLER, MEGAN                          WILLERT, BRIA
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WILLERTZ, JAKE                       WILLET, WILLIAM                       WILLETT, ANDEE
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WILLETT, GREGORY                     WILLETT, HELLEN                       WILLETT, RICHARD
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WILLETTE, SCOTT                      WILLETTS, CHRISTINA                   WILLEY PRINTING CO., INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1405 10TH STREET
                                                                           MODESTO, CA 95354




WILLEY, AMANDA                       WILLEY, ANGELA                        WILLEY, DESIREE
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WILLEY, ERICA                        WILLEY, JACQUELINE                    WILLEY, MARTHA
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WILLHOFT, ROD                        WILLHOIT, CASSIE                      WILLHOIT, JANINE
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WILLIAM A KINNER JR                  WILLIAM A LACHANCE                    WILLIAM ALEXANDER LUNN
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WILLIAM ANDREW BENNETT               WILLIAM ARNOLD COMBS                  WILLIAM BARBATO
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WILLIAM BATES BEINBRINK              WILLIAM BATYSKE                       WILLIAM BOYNES JR
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WILLIAM C ADES                        WILLIAM CAMPBELL                       WILLIAM CHUPEK
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WILLIAM COPPEDGE EPSP 401K (ROTH)     WILLIAM COVERT                         WILLIAM D WOODS
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WILLIAM DALE PENMAN                   WILLIAM DONALD JEPSON III              WILLIAM E MITCHELL
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WILLIAM EARL ROSEVEARE II             WILLIAM EDWARD WOMAC                   WILLIAM F ZIMMERER
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WILLIAM FRANCIS BROCHARD              WILLIAM GRASWICH                       WILLIAM GUSTIN JR
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WILLIAM H CAMPBELL                    WILLIAM H MACINNIS                     WILLIAM HALL
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WILLIAM HANCOCK                       WILLIAM HERTZ                          WILLIAM HORN
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WILLIAM J ADAMS                       WILLIAM J BARNES III                   WILLIAM J TOMAN
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WILLIAM JACOBSON                      WILLIAM JOSEPH MARION                  WILLIAM KNOX
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WILLIAM LAROE                        WILLIAM LOGAN THORE                    WILLIAM LUSE
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WILLIAM M QUANE                      WILLIAM MAHER                          WILLIAM MICHAEL STEVENS
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WILLIAM MITCHELL                     WILLIAM MORRIS ENDEAVOR                WILLIAM MORRIS
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WILLIAM MUNRO                        WILLIAM NICKISON                       WILLIAM NIRO
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WILLIAM NOAH TRIPLETT                WILLIAM OATES                          WILLIAM PERRY MCKENZIE
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WILLIAM PIERCE REIDWAY               WILLIAM POOT                           WILLIAM R / LINDA V OTIS
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WILLIAM R HUGHES                     WILLIAM RANKIN                         WILLIAM RAYMOND MARTHENS
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WILLIAM ROBERT HUGHES                WILLIAM ROBERT ROSENBERG               WILLIAM S FINK
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WILLIAM SAUNDERS                     WILLIAM SCOTT IRWIN                    WILLIAM SEELIG
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WILLIAM T DIETRICH                   WILLIAM T WINTER                         WILLIAM TYLER
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WILLIAM UNDERWOOD III                WILLIAM VALE HOSPITALITY                 WILLIAM VREELAND
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WILLIAM WARREN H RUDD                WILLIAM ZEMBRICKI                        WILLIAMS & SELYEM LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           7227 WESTSIDE ROAD
                                                                              HEALDSBURG, CA 95448




WILLIAMS III, FRANK E.               WILLIAMS JR, LASHON                      WILLIAMS JR, VICTOR
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WILLIAMS PHYNES, DIANE               WILLIAMS TRIPP, AMBER                    WILLIAMS, AARYN
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                                               ALEXIS                 Page 5318  of 5495
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                                               BRANNA                 Page 5320  of 5495
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WILLIAMS, CATRICE                    WILLIAMS, CECILY                       WILLIAMS, CHAD
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WILLIAMS, CHARITIANNE                WILLIAMS, CHARLIE                      WILLIAMS, CHASE
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WILLIAMS, CHRIS                      WILLIAMS, CHRIS                        WILLIAMS, CHRIS
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WILLIAMS, CJ                         WILLIAMS, CLAIRE                       WILLIAMS, CLAIRE
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WILLIAMS, CLAIRE                     WILLIAMS, CLARENCE                     WILLIAMS, CLAUDIA
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WILLIAMS, COURTNEY                   WILLIAMS, COURTNEY                     WILLIAMS, COURTNEY
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WILLIAMS, CRYSTAL                    WILLIAMS, CRYSTAL                      WILLIAMS, CRYSTAL
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WILLIAMS, CUNEY                      WILLIAMS, CYNTHIA                      WILLIAMS, CYRIL
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WILLIAMS, DANA                       WILLIAMS, DANIEL                       WILLIAMS, DANIEL
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WILLIAMS, DANIELLE                   WILLIAMS, DANNY                        WILLIAMS, DAPHYNE
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WILLIAMS, DAVID                      WILLIAMS, DAVID                        WILLIAMS, DAVID
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WILLIAMS, DAVID                      WILLIAMS, DAWN                         WILLIAMS, DAWN
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WILLIAMS, DEANNA                     WILLIAMS, DEBBIE                       WILLIAMS, DEBBIE
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WILLIAMS, DEKESHA                    WILLIAMS, DENISE                       WILLIAMS, DENISE
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WILLIAMS, DIANA                      WILLIAMS, DIANA                        WILLIAMS, DIANE
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WILLIAMS, DORNELL                    WILLIAMS, DOROTHY                      WILLIAMS, DOROTHY
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WILLIAMS, ELIZABETH                  WILLIAMS, ELIZABETH                    WILLIAMS, ELIZABETH
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WILLIAMS, ERICA                      WILLIAMS, ERIKA                        WILLIAMS, ERIKA
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WILLIAMS, ERIN                       WILLIAMS, ERMALEE                      WILLIAMS, EVAN
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WILLIAMS, JACOB                      WILLIAMS, JACQUELINE                   WILLIAMS, JACQUELINE
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WILLIAMS, JALAYA                     WILLIAMS, JAMES                        WILLIAMS, JAMES
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WILLIAMS, JAY         Case 22-11238-LSS     Doc
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WILLIAMS, JENNIFER                   WILLIAMS, JEREMY                       WILLIAMS, JERROD
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WILLIAMS, JESSICA RAE                WILLIAMS, JESSICA                      WILLIAMS, JESSICA
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WILLIAMS, JESSICA                    WILLIAMS, JESSICA                      WILLIAMS, JESSICA
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WILLIAMS, JOANN                      WILLIAMS, JOHN                         WILLIAMS, JOHN
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                                               JULIA                  Page 5327  of 5495
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WILLIAMS, JULIE                      WILLIAMS, JULIE                        WILLIAMS, JULIETTE
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WILLIAMS, JUSTIN                     WILLIAMS, KAILYN                       WILLIAMS, KAITLYN
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WILLIAMS, KAITLYN                    WILLIAMS, KAITLYN                      WILLIAMS, KALI
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WILLIAMS, KAMEI                      WILLIAMS, KANDIS                       WILLIAMS, KANIAUA
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WILLIAMS, KAREN                      WILLIAMS, KAREN                        WILLIAMS, KARI
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WILLIAMS, KARLYN                     WILLIAMS, KASSANDRA                    WILLIAMS, KATE
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WILLIAMS, KATE                       WILLIAMS, KATE                         WILLIAMS, KATELYN
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WILLIAMS, KATHERINE                  WILLIAMS, KATHLEEN                     WILLIAMS, KATHY
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WILLIAMS, KATIE                      WILLIAMS, KATIE                        WILLIAMS, KAYA
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WILLIAMS, KAYLA       Case 22-11238-LSS     Doc
                                     WILLIAMS,    2 Filed 11/30/22
                                               KAYLA                  Page 5328  of 5495
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WILLIAMS, KELLEY                     WILLIAMS, KELLEY                       WILLIAMS, KELLI
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WILLIAMS, KELLY                      WILLIAMS, KELLY                        WILLIAMS, KELLY
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WILLIAMS, KENDRA                     WILLIAMS, KEONNA                       WILLIAMS, KERENSA
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WILLIAMS, KIMMON                     WILLIAMS, KIRSTEN                      WILLIAMS, KORI
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                                     WILLIAMS,    2 Filed 11/30/22
                                               KRISTEN                Page 5329  of 5495
                                                                           WILLIAMS, KYLA
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WILLIAMS, KYLA                       WILLIAMS, KYLIE                       WILLIAMS, LACEY
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WILLIAMS, LAWRENCE                   WILLIAMS, LEE                         WILLIAMS, LEWIS
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WILLIAMS, LINDA                      WILLIAMS, LINDA                       WILLIAMS, LINDSAY
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                                     WILLIAMS,    2 Filed 11/30/22
                                               LINDSAY                Page 5330  of 5495
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WILLIAMS, LINDSAY                    WILLIAMS, LINDSEY                      WILLIAMS, LISA
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WILLIAMS, LISA                       WILLIAMS, LIZZI                        WILLIAMS, LOIS
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WILLIAMS, LOISANNE                   WILLIAMS, LORI                         WILLIAMS, LOTTIE
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WILLIAMS, MARGARET                   WILLIAMS, MARIAH                       WILLIAMS, MARISSA
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WILLIAMS, MARK                       WILLIAMS, MARLENE                      WILLIAMS, MARY KATE
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WILLIAMS, MARY        Case 22-11238-LSS     Doc
                                     WILLIAMS,   2 Filed 11/30/22
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WILLIAMS, MARY                       WILLIAMS, MARY                        WILLIAMS, MARY
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WILLIAMS, MARY                       WILLIAMS, MASON                       WILLIAMS, MATT
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WILLIAMS, MATTHEW                    WILLIAMS, MATTHEW                     WILLIAMS, MATTHEW
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                                     WILLIAMS,    2 Filed 11/30/22
                                               MICHELLE               Page 5332  of 5495
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WILLIAMS, MICHELLE                   WILLIAMS, MIESHIEA                     WILLIAMS, MIKHAIL
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WILLIAMS, MIKI                       WILLIAMS, MILDRED                      WILLIAMS, MIYA
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WILLIAMS, MOLLY                      WILLIAMS, MONICA                       WILLIAMS, MONICA
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WILLIAMS, MONIK                      WILLIAMS, MORGAN                       WILLIAMS, MORGAN
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WILLIAMS, MYSTI                      WILLIAMS, NANCY                        WILLIAMS, NANCY
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WILLIAMS, NANCY                      WILLIAMS, NANETTE                      WILLIAMS, NATALIA
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WILLIAMS, NATHAN                     WILLIAMS, NEAL & SARAH                 WILLIAMS, NICHOLAS
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WILLIAMS, NICKY                      WILLIAMS, NICOLE                       WILLIAMS, NICOLE
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                                     WILLIAMS,    2 Filed 11/30/22
                                               NINA                   Page 5333  of 5495
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WILLIAMS, OLIVIA                     WILLIAMS, PAIGE                        WILLIAMS, PAIGE
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WILLIAMS, PAISLEY                    WILLIAMS, PATRICK                      WILLIAMS, PATTI & MARK
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WILLIAMS, PAYTAN                     WILLIAMS, PEDDYLEE                     WILLIAMS, PETER
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WILLIAMS, PORSHA                     WILLIAMS, PRISCILLA                    WILLIAMS, QINGYING
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WILLIAMS, QUENISHA                   WILLIAMS, RACHEL                       WILLIAMS, RACHEL
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WILLIAMS, RALPH                      WILLIAMS, RAQUELLE                     WILLIAMS, RAYMOND
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WILLIAMS, RAYNESHA                   WILLIAMS, REBECCA                      WILLIAMS, REECE
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WILLIAMS, REMI                       WILLIAMS, RHYS                         WILLIAMS, RICHARD
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WILLIAMS, RILEY                      WILLIAMS, ROCHELLE                     WILLIAMS, ROD
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WILLIAMS, ROLLSHEL    Case 22-11238-LSS     Doc
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WILLIAMS, RYAN                       WILLIAMS, RYAN                         WILLIAMS, SABRINA
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WILLIAMS, SABRINA                    WILLIAMS, SABRINA                      WILLIAMS, SADREIKA
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WILLIAMS, SALLY                      WILLIAMS, SAMANTHA                     WILLIAMS, SAMANTHA
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WILLIAMS, SAMANTHA                   WILLIAMS, SAMUEL                       WILLIAMS, SARA
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WILLIAMS, SARAH                      WILLIAMS, SARAH                        WILLIAMS, SARAH
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WILLIAMS, SARAH                      WILLIAMS, SAVANNAH                     WILLIAMS, SCOTT
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WILLIAMS, SCOTT                      WILLIAMS, SCOTT                        WILLIAMS, SETH
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WILLIAMS, SHANA                      WILLIAMS, SHANICE                      WILLIAMS, SHANTEL
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WILLIAMS, SHARON      Case 22-11238-LSS     Doc
                                     WILLIAMS,   2 Filed 11/30/22
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WILLIAMS, SHONTA                     WILLIAMS, SIERRA                       WILLIAMS, SKYLER
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WILLIAMS, STACIE                     WILLIAMS, STEPHANIE                    WILLIAMS, STEPHANIE
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WILLIAMS, STEVEN                     WILLIAMS, STORMEE                      WILLIAMS, SUSAN
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WILLIAMS, SUSAN                      WILLIAMS, SUSAN                        WILLIAMS, SUSIE
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WILLIAMS, SYDNEY                     WILLIAMS, SYDNEY                       WILLIAMS, SYREETA
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WILLIAMS, TAMI                       WILLIAMS, TAMMY                        WILLIAMS, TANAYA
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WILLIAMS, TANISHA                    WILLIAMS, TANISHIA                     WILLIAMS, TANYA
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WILLIAMS, TAQUANA                    WILLIAMS, TARA                         WILLIAMS, TASHA
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WILLIAMS, TASHAYLA                   WILLIAMS, TAYA                         WILLIAMS, TAYLOR
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WILLIAMS, TAYLOR      Case 22-11238-LSS     Doc
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                                                                           WILLIAMS, TENELLIA
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WILLIAMS, TERESA                     WILLIAMS, TERESA                       WILLIAMS, TERESA
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WILLIAMS, TESS                       WILLIAMS, THOMAS                       WILLIAMS, THOMAS
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WILLIAMS, TIARA                      WILLIAMS, TIFFANY                      WILLIAMS, TIFFANY
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WILLIAMS, TOMECKIA                   WILLIAMS, TRACY                        WILLIAMS, TRAVIS
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WILLIAMS, TRINA                      WILLIAMS, TROY                         WILLIAMS, TYLER
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WILLIAMS, TYLER                      WILLIAMS, VANESSA                      WILLIAMS, VICTORIA
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WILLIAMS, WHITNEY                    WILLIAMS, WILLIAM                      WILLIAMS, WILLIAM
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WILLIAMS, ZACH                       WILLIAMS/ROBERTSON, ANTHONY/ROBERT     WILLIAMS-BROWN, D’SEAN
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WILLIAMSBURG PIZZA    Case 22-11238-LSS      Doc 2 DIANA
                                      WILLIAMSBURKE,  Filed 11/30/22   Page 5337  of 5495 YULANDA
                                                                            WILLIAMSCOATS,
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WILLIAMS-GAY, LAURIE                  WILLIAMS-JONES, SHAKIMA               WILLIAMSON, ABIGAIL
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WILLIAMSON, AGNES                     WILLIAMSON, AJ                        WILLIAMSON, ALICE
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WILLIAMSON, ALYSSA                    WILLIAMSON, AMANDA                    WILLIAMSON, ANDREW
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WILLIAMSON, ANDREW                    WILLIAMSON, ANDREW                    WILLIAMSON, ASHLEY
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WILLIAMSON, BECS                      WILLIAMSON, BEN                       WILLIAMSON, BETH
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WILLIAMSON, CHELSEA                   WILLIAMSON, COLLIN P.                 WILLIAMSON, COLLIN
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WILLIAMSON, DEBRA                     WILLIAMSON, ELISABETH                 WILLIAMSON, EMILY
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WILLIAMSON, ERIN                      WILLIAMSON, GREG                      WILLIAMSON, JEFF
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WILLIAMSON, JEFFREY                   WILLIAMSON, JESSE                     WILLIAMSON, JULIA
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WILLIAMSON, KATE      Case 22-11238-LSS     Doc KATELYN
                                     WILLIAMSON, 2 Filed 11/30/22        Page 5338  of 5495
                                                                              WILLIAMSON, KATHERINE
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WILLIAMSON, KATHERINE                   WILLIAMSON, KATHERINE                  WILLIAMSON, KIRSTEN
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WILLIAMSON, KRISTA                      WILLIAMSON, LAUREN                     WILLIAMSON, LEE ANN
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WILLIAMSON, LISA                        WILLIAMSON, MAGGIE                     WILLIAMSON, MARISSA
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WILLIAMSON, MEGAN                       WILLIAMSON, MELANIE                    WILLIAMSON, MICHAEL
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WILLIAMSON, MR MICHAEL D.               WILLIAMSON, RHONDA                     WILLIAMSON, SABRINA
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WILLIAMSON, SANDRA                      WILLIAMSON, SONYA                      WILLIAMSON, SUSAN
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WILLIAMSON, TAMESHA                     WILLIAMSON, TIANA                      WILLIAMS-RIVERA, DANIELLE
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WILLIAMS-SONOMA                         WILLIAMS-WATSON, EDEN                  WILLIARD, ANGIE
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WILLIARD, JACOB                         WILLIE JANE                            WILLIE JULIO PIMENTEL
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WILLIE, MICHELAN      Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     WILLIE, SHERLANDA                Page 5339   of 5495
                                                                           WILLIFORD, EDELLA
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WILLIFORD, FERMAN                    WILLIFORD, KATHERINE                   WILLIG, SAMANTHA
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WILLIGEROTH, SOREN                   WILLIN, SAMANTHA                       WILLING, DANIELLE
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WILLING, ELIZABETH                   WILLING, KALA                          WILLINGER, STEVEN
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WILLINGER, TESS                      WILLINGHAM, CATRINA                    WILLINGHAM, CHRISTY
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WILLINGHAM, KATHERINE                WILLINGHAM, MICHELE                    WILLIS OF COLORADO INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         62877 COLLECTIONS CENTER DRIVE
                                                                            CHICAGO, IL 60693-0828




WILLIS, AIDEN                        WILLIS, ALAINE                         WILLIS, AMRIS
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WILLIS, BEATRISS                     WILLIS, BROOKE                         WILLIS, BROOKLYN
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WILLIS, CAMRYN                       WILLIS, CARMEN                         WILLIS, CATHY
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WILLIS, CONIKKA                      WILLIS, DANIEL                         WILLIS, EMMA IS
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WILLIS, GINA          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     WILLIS, HALLEE                   Page 5340
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WILLIS, JAMES                        WILLIS, JENNIFER                       WILLIS, JESSICA
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WILLIS, JOSH                         WILLIS, JUSTIN                         WILLIS, KAREN
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WILLIS, KATE                         WILLIS, KATIE                          WILLIS, KIMBERLY
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WILLIS, KYLE                         WILLIS, LINDA                          WILLIS, LINDSAY
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WILLIS, MALIA                        WILLIS, MARISA                         WILLIS, MEGHAN
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WILLIS, MELISSA                      WILLIS, NIA                            WILLIS, NICOLE
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WILLIS, PAMELA                       WILLIS, RAVANA                         WILLIS, ROBERT
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WILLIS, SAVANNAH                     WILLIS, SHANYN                         WILLIS, STACI
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WILLIS, SUMMER                       WILLIS, SUSAN                          WILLIS, TYLER
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WILLKENS, BENJAMIN    Case 22-11238-LSS    DocANJA
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WILLMAN, DANIEL                         WILLMOTT, RUTHIE                      WILLMS, MATTHEW
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WILLNER, ISABEL                         WILLOUGHBY CAHALAN, CRYSTAL           WILLOUGHBY DESIGN, LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        602 WESTPORT ROAD
                                                                              KANSAS CITY, MO 64111




WILLOUGHBY, AMANDA                      WILLOUGHBY, AMBER                     WILLOUGHBY, CHARLES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WILLOUGHBY, CHRISSY                     WILLOUGHBY, JAMIE                     WILLOUGHBY, JENNIFER
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WILLOUGHBY, JUSTIN                      WILLOUGHBY, MICHELLE                  WILLOUGHBY, MITCHELL
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WILLOUGHBY, PAUL                        WILLOUGHBY, TANYA                     WILLOW CREEK RANCH
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                                                                              SOLVANG, CA 93463




WILLPRINT                               WILLS, ADAM                           WILLS, ASHLEY
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WILLS, BRANDON                          WILLS, BRITTANEY                      WILLS, CANDICE
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WILLS, CARLA                            WILLS, CHARAUN                        WILLS, DAWN
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WILLS, KAYLA                            WILLS, LAURA                          WILLS, LESLIE
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WILLS, PATTIE                           WILLS, SEAN                           WILLS, TARA
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WILLSEY, MORGAN                         WILLSHIRE, ANTHONY                    WILLSON, ANDREW
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WILLSON, CASEY                          WILLSON, CIRA                         WILLUMSON, JULIE
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WILLY, DAUREEN                          WILMER TORO                           WILMES, ALLIE
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WILMES, JENNIFER                        WILMES, KRISTI                        WILMORE, VANESSA
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WILMOT, JAMES                           WILMOT, MEGAN                         WILMOT, THOMAS
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WILSON, ELLEN                        WILSON, EMILY ZANE                     WILSON, EMILY
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WILSON, GREGORY                      WILSON, GUY AND DOTTIE                 WILSON, HANNAH
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WILSON, HANNAH                       WILSON, HAROLD                         WILSON, HAYLEY
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WILSON, HEATHER                      WILSON, HEATHER                        WILSON, HELEN
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WILSON, JENNIFER-KYLE                WILSON, JENNY                         WILSON, JERELYN
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WILSON, JILL                         WILSON, JOSEPH                         WILSON, JOSHUA
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WILSON, JOSIE                        WILSON, JUDY                           WILSON, JULIA
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WILSON, JULIANNE                     WILSON, JULIANNE                       WILSON, JULIE
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WILSON, KAITLIN                      WILSON, KAITLIN                        WILSON, KATHERINE
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WILSON, KELLY                        WILSON, KELLY                          WILSON, KELLY
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WILSON, KENDRA                       WILSON, KENDRA                        WILSON, KENYA
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WILSON, KEVIN                        WILSON, KEVIN                         WILSON, KEVIN
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WILSON, KIM                          WILSON, KIMBERLY                      WILSON, KIMBERLY
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WILSON, KIMBERLY                     WILSON, KORI                          WILSON, KRISTINE
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WILSON, KRISTY                       WILSON, KYLE                          WILSON, LACEY
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WILSON, LANA                         WILSON, LASHONDA                      WILSON, LAURA
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WILSON, LAURA                        WILSON, LAURA                         WILSON, LAURA
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WILSON, LAUREN                       WILSON, LEAH                          WILSON, LENA
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WILSON, LESLIE                       WILSON, LESLIE                        WILSON, LETHA
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WILSON, LIAM                         WILSON, LIBBY                         WILSON, LINDA
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WILSON, LORNA                        WILSON, LORRAINE                      WILSON, LYNETTE
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WILSON, MADISON                      WILSON, MADISON                       WILSON, MAGGIE
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WILSON, MARCIA                       WILSON, MARISSA                       WILSON, MARJORIE
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WILSON, MARK                         WILSON, MARLA                         WILSON, MARY
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WILSON, MARY                         WILSON, MARY                          WILSON, MARYBETH
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WILSON, MEGAN                        WILSON, MEGAN                          WILSON, MELISSA
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WILSON, MEREDITH                     WILSON, MICHAEL                        WILSON, MICHELE
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WILSON, PAMALA                       WILSON, PATIENCE                      WILSON, PATRICIA
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WILSON, RILEY                        WILSON, RILEY                         WILSON, ROBERT
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WILSON, SAMANTHA                     WILSON, SARA                          WILSON, SARAH
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WILSON, SUZANNE                      WILSON, TANNER                        WILSON, TAYLOR
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WILSON, TERESA                       WILSON, TERICA                        WILSON, THOMAS
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WILSON, TIFFANY                      WILSON, TIJUAN                        WILSON, TILER
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WILSON, TIM                          WILSON, TOM                           WILSON, TOM
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WILSON, TRACY                        WILSON, TRACY                         WILSON, TRUDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WILSON, TYLER                        WILSON, V.                            WILSON, VALENCIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WILSON, VALERIE                      WILSON, VICKI                         WILSON, VICTORIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WILSON, WANDA         Case 22-11238-LSS
                                     WILSON,Doc 2 Filed 11/30/22
                                            WANETTA                   Page 5355  ofWHITNEY
                                                                           WILSON,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILSON, WHITNEY                      WILSON, WILL                           WILSON, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILSON, WILLIAM                      WILSON, WYLENE                         WILSON-MIYOSHI, MIKAILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILSON-RAINE, ERIQ                   WILSON-SHROYER, CANDACE                WILSON-WEBB, CARLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILSON-WOLFE, ROBYN                  WILSTED, RILEY                         WILT, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILT, ANDREW                         WILT, DAVID                            WILT, HAYDEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILT, MAGGIE                         WILT, WILLIAM                          WILTBERGER-BURTON, JULIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILTFONG, LAURA                      WILTON, BRIANA                         WILTON, DARREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILTON, ERIN                         WILTROUT, JILL                         WILTS, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WILTSHIRE, DUSTIN                    WILTSHIRE, TIANA                       WILTSIE, JIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WILTZ, FELICIA        Case 22-11238-LSS    Doc 2FAITHFiled 11/30/22
                                     WILWERDING,                      Page 5356 of 5495
                                                                           WILWERT, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIM DE CRAECKER                      WIM VAN ESPEN                         WIMBERLEY, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIMBERLY, DAVE                       WIMBERLY, LILLY                       WIMBERLY, MIKALA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIMBERLY, TABITHA                    WIMBISH, RICHARD                      WIMMER, KIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIMMER, KIMBERLY                     WIMMER, MADISON                       WIMMER, MICALAH
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WIMMER, WESTON                       WIMMER-HAMAN, ZACKARY                 WIMS, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WIN, JAMES                           WIN, KHAING                           WIN, OANH
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WINANS, CHASE                        WINANS, THOMAS                        WINANS, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINANT, LAUREN                       WINANT, MARYALYCE                     WINBERG, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINBORNE, NAN                        WINBORNE, PAT                         WINBORNE, TASHAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINBURN, EMMALI       Case 22-11238-LSS    Doc
                                     WINBURN,    2 Filed 11/30/22
                                              SARA                    Page 5357  of 5495SAMPLES
                                                                           WINC PRODUCT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        10202 W. WASHINGTON BLVD.
                                                                           POITIER BUILDING, SUITE 3111
                                                                           CULVER CITY, CA 90232




WINC, BETH                           WINCHELL, KRISTA                      WINCHESTER, ALETHEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINCHESTER, BRANDI                   WINCHESTER, CARRIE                    WINCHESTER, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINCHESTER, TAMMY                    WINCHESTER, ZACH                      WINCHURCH, NORA
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WINCKLHOFER, HANNAH                  WINCZE, ALISA                         WINCZEWSKI, KELLY
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WIND, ALEX                           WIND, JANE                            WIND, RACHEL
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WIND, TODD                           WIND, TYLER                           WINDELER, SUSANNE
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WINDELL, ALEA                        WINDELL, PAYTON                       WINDER, MICHELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINDER, ROSE                         WINDERLICH, ALYSSA                    WINDERMAN, KERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINDERS, CAMERON                     WINDFELDER, THOMAS                    WINDHAM, DEANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINDHAM, VINCENT      Case 22-11238-LSS    Doc AMANDA
                                     WINDHORST, 2 Filed 11/30/22            Page 5358 of 5495
                                                                                 WINDHORST, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




WINDISCHMAN, KAI                        WINDLE, BRAD                             WINDLE, LAUREN
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WINDLE, PAIGE                           WINDLEY, MORGAN                          WINDON, KATIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WINDREM, SAMANTHA                       WINDSCHITL, CHAD                         WINDSOR AT THE GANSE NEW YORK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS UNAVAILABLE AT TIME OF FILING




WINDSOR, DANIELLE                       WINDSOR, LIZ                             WINDSOR, VANESSA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WINDSPERGER, AFTON                      WINDY BALLOON COMPANY                    WINE & SPIRITS MAGAZINE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING    ADDRESS UNAVAILABLE AT TIME OF FILING




WINE AND CRIME PODCAST, LLC             WINE AND CRIME PODCAST, LLC              WINE AUSTRALIA
1421 JEFFERSON AVE. 1                   2400 W 102ND STREET 227                  PO BOX 2733
MINNEAPOLIS, MN 55413                   BLOOMINGTON, MN 55431                    KENT TOWN SA 5071
                                                                                 AUSTRALIA




WINE CLUB GUIDE                         WINE COUNTY TRANSIT                      WINE DIRECT
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING    1190 AIRPORT BLVD
                                                                                 NAPA, CA 94558




WINE DIRECT                             WINE DUCK CO., LTD                       WINE ENTHUSIAST
PO BOX 49190                            102 1F, 62, OLYMPIC-RO77GIL,GANGDONG-    ADDRESS UNAVAILABLE AT TIME OF FILING
SAN JOSE, CA 95161                      GU
                                        SEOUL 05245
                                        KOREA, REPUBLIC OF



WINE GUY LLC (DBA LA LUMIERE            WINE INSTITUTE                           WINE MASTER CELLAR
SELECTIONS)                             425 MARKET STREET, STE. 1000             ADDRESS UNAVAILABLE AT TIME OF FILING
213 HUNTING HILL LANE WEST              SAN FRANCISCO, CA 94105
CHESTER, PA 19832
WINE RACK LONDON      Case 22-11238-LSS      Doc 2 Filed 11/30/22 Page 5359
                                      WINE SALES                                   of 5495
                                                                            WINE SHIPPING
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS UNAVAILABLE AT TIME OF FILING 21481 8TH ST EAST 15C
                                                                            SONOMA, CA 95476




WINE SPECTATOR                          WINE WAREHOUSE                          WINE WISE LLC
ADDRESS UNAVAILABLE AT TIME OF FILING   PO BOX 910900                           5655 COLLEGE AVE
                                        LOS ANGELES, CA 90091-0900              OAKLAND, CA 94618




WINE, DONNA                             WINE, MEGAN                             WINE, WOMEN, AND WORDS PODCAST
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          13615 ANKERTON ST
                                                                                WHITTIER, CA 90601




WINEBRENNER, BRYCE                      WINEBRINNER, BOBBY                      WINEBURG, JANALEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WINEBUSINESS.COM                        WINEDERLUSTING LLC                      WINEGAR, DOORLY
ADDRESS UNAVAILABLE AT TIME OF FILING   235 SW 7TH ST                           ADDRESS AVAILABLE UPON REQUEST
                                        POMPANO BEACH, FL 33060




WINEGARDNER, MASON                      WINEINGER, MARY                         WINEJUDGING.COM
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING




WINELAB LTD                             WINEMBERG, ALYSON                       WINEOPENERS.COM
CLANE IND. EST. UNIT 5, THOMPSON ENT.   ADDRESS AVAILABLE UPON REQUEST          2370 MARKET STREET 400
CTR CLANE, CO.                                                                  SAN FRANCISCO, CA 94114
KILDARE W91XYC8
IRELAND



WINERY EXCHANGE INC. DBA WX BRANDS      WINERY                                  WINES UNLIMITED - LOUISIANA
500 REDWOOD BLVD. SUITE 200             ADDRESS UNAVAILABLE AT TIME OF FILING   4221 BIENVILLE STREET
NOVATO, CA 94947                                                                NEW ORLEANS, LA 70119




WINES UNLIMITED                         WINES VINES                             WINES, ALISON
4221 BIENVILLE STREET                   ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST
NEW ORLEANS, LA 70119




WINES, BILL                             WINES, LESLIE                           WINES, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WINES, SAMANTHA       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WINES, SARAH                     Page 5360
                                                                           WINEY, of 5495
                                                                                  GREGORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINFIELD, OLIVIA                     WINFREY, CHRISTIANA                   WINFREY, RICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WING, HALEY                          WING, SHALOMIE                        WING, ZAIKWAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINGARD, SARAH                       WINGATE, KATHLEEN                     WINGATE, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINGATE, MEGAN                       WINGEART, JESSICA                     WINGENROTH, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINGER, DAN                          WINGER, JYLLIAN                       WINGER, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINGERATH-SCHLANGER, SARA            WINGERT, LAUREN                       WINGERTER, CORY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINGERTER, MARGARET                  WINGFIELD, ABIGAIL                    WINGFIELD, MARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINGFIELD, PAUL                      WINGFIELD, TORLAND                    WINGIFY SOFTWARE PRIVATE LIMITED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1104, 11TH FLOOR KLJ TOWER NORTH B-5
                                                                           NETAJI SHUBHASH PLACE PITAMPURA
                                                                           DELHI 10034
                                                                           INDIA



WINGLER, CINDY                       WINGLER, DUSTIN                       WINGLER, TRACY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINGO, JESS           Case 22-11238-LSS
                                     WINGO, Doc  2 Filed 11/30/22
                                            PATRICK                   Page 5361 of 5495
                                                                           WINGSTOP
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




WINGY, COURTNEY                      WINICK, BLAKE                         WINIGER, HALEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINIGRAD, JOSHUA                     WININGHAM, ANGELA                     WINJE, DERRICK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINK, KRISTYN                        WINK, STEPHANIE                       WINKEL, DANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINKEL, GAVIN                        WINKEL, KRISTA                        WINKELMAN, BRIAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINKELMAN, CRYSTAL                   WINKELMAN, SEJAL                      WINKELMANN, AARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINKELMANN, ABBIE                    WINKELSAS, AMANDA                     WINKELSTEIN, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINKFIELD, JOSLYN                    WINKLEMAN, AMANDA                     WINKLER, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINKLER, CHRIS                       WINKLER, DANIELLE                     WINKLER, DARCIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINKLER, ELISABETH                   WINKLER, GABE                         WINKLER, GEOFFREY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINKLER, HAYLIE       Case 22-11238-LSS    Doc
                                     WINKLER,     2 Filed 11/30/22
                                              LINDA                      Page 5362  of LINDA
                                                                              WINKLER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WINKLER, MARY & DALE                    WINKLER, MOLLY                        WINKLER, ROMAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINKLER, SUMMER                         WINKLER-WATTS, HEATHER                WINKLES, KASEY BROOKE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINLAND, DANA                           WINN, ASHLEY                          WINN, CASIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINN, KALON                             WINN, KYMBERLY                        WINN, MARLA
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WINN, MICHELE                           WINN, MIRANDA                         WINNE, JESS
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WINNEN, AMY                             WINNER, CHRISTAN                      WINNER, JAMES
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WINNERS GARAGE                          WINNESHIEK, TAYLOR                    WINNEY, MIKE
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WINNICKI, KARI                          WINNIE YUEN FUNG HIGGS                WINNIE, ASHLEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINNIFRED HEBERT                        WINNING, JAMES                        WINRICH, NACELLE R
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINSBY, CLAUDIA       Case 22-11238-LSS    Doc
                                     WINSCHEL,   2 Filed 11/30/22
                                               DANIEL                 Page 5363 of 5495
                                                                           WINSCHUH, KRISTEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WINSECK, MICHELLE                    WINSETT, SHANNON                       WINSEY, JEMILA
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WINSHIP, JOAN & JAMES                WINSKI, BETH                           WINSKIE, STACEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WINSLEY, LAKRYSHA                    WINSLOW, DELANEY                       WINSLOW, DENISE
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WINSLOW, KATHERINE                   WINSLOW, STEPHANIE                     WINSMAN, MICHELLE
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WINSON, TULIE                        WINSOR, BRYCE                          WINSPER, JENNIE
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WINSTEAD, ALAN                       WINSTEAD, AMANDA                       WINSTEAD, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WINSTEAD, NICHOLAS                   WINSTEAD, SHELBI                       WINSTON, GINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WINSTON, JESSICA                     WINSTON, MARK                          WINSTON, PAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WINSTON, RACHEL                      WINT, HTET A.                          WINT, JACOB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WINT, MR. PETER A     Case 22-11238-LSS
                                     WINTCH,Doc  2 Filed 11/30/22
                                             JACKIE                   Page 5364
                                                                           WINTERof 5495 INC.
                                                                                  MARKETING,
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        3618 154TH STREET
                                                                           SURREY, BC V3Z 0H3
                                                                           CANADA




WINTER, AMANDA                       WINTER, ANDREA                        WINTER, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTER, CRYSTAL                      WINTER, DANIEL                        WINTER, GINNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTER, GREG                         WINTER, HEATHER                       WINTER, JANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTER, JOHN                         WINTER, JONATHON                      WINTER, JUDY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTER, KATHERINE                    WINTER, LAURA                         WINTER, MIKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTER, MONICA                       WINTER, RACHEL                        WINTER, RICHARD
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WINTER, STACEY                       WINTER, TAMEEKA                       WINTER, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERBOTTOM, ALICIA                 WINTERBOTTOM, KATHERINE               WINTERBOTTOM, REBECCA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERKORN, LARA                     WINTERLAND, AMANDA                    WINTERMYER, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINTERNITZ, EMILY     Case 22-11238-LSS    Doc 2 LESLIE
                                     WINTERRROWD,    Filed 11/30/22   Page 5365  of AIDAN
                                                                           WINTERS, 5495
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WINTERS, AMY                         WINTERS, ANGELA                       WINTERS, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERS, ASHLEY                      WINTERS, CASEY                        WINTERS, CHRIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERS, DUSTIN                      WINTERS, ED                           WINTERS, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERS, ERIN                        WINTERS, HATTIE                       WINTERS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERS, JEREMY                      WINTERS, JOHN                         WINTERS, KAREN
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WINTERS, KASEY                       WINTERS, LINDSEY                      WINTERS, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERS, LYNNETTE                    WINTERS, MANALI                       WINTERS, MARILYN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERS, MATTHEW                     WINTERS, NANCY                        WINTERS, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WINTERS, ROBERT                      WINTERS, SHAVENOR                     WINTERS, SHEILA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WINTERS, TYLER        Case 22-11238-LSS    Doc
                                     WINTERS,    2 Filed 11/30/22
                                              WILLIAM                      Page 5366  of CANDACE
                                                                                WINTHER, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST             ADDRESS AVAILABLE UPON REQUEST




WINTHER, TY                             WINTHROP, KIMBERLY                      WINTI, REBECCA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WINTJEN, MICHELLE                       WINTLE, KATHERINE                       WINTNER, KRISTIN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WINTON, AJYA                            WINTON, KYLE                            WINTON, WHITNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WINTRINGER, LINDA                       WINTRODE, CARLA                         WINTZ, ELIZABETH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WINTZ, JENNIFER                         WINWARD, ELLIE                          WINZELER, SIDNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WINZEN, CHRISTOPHER                     WINZER, KATIE                           WIOREK, SAMUEL
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WIPF, HOLLIE                            WIPPEL, BRITTANY                        WIPPLINGER, KYLEIGH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WIRBICK, TIM                            WIRE OUT ALEXANDER                      WIRE OUT DBC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING




WIRELESS XCESSORIES GROUP               WIRICK, LAUREN                          WIRTA, REBECCA
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WIRTANEN, GRAY        Case 22-11238-LSS    Doc
                                     WIRTANEN,    2 Filed 11/30/22
                                               JILL                         Page 5367
                                                                                 WIRTH, of 5495
                                                                                        CAROLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST              ADDRESS AVAILABLE UPON REQUEST




WIRTH, LINDA                            WIRTH, MATTHEW                           WIRTH, MEGAN
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WIRTH, ROBBIN                           WIRTH, TAYLOR                            WIRTHEIM, EMILIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WIRTHLIN, CHELSEA                       WIRTZ, MOLLY                             WIRTZFELD, JASON
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WISCONSIN ALCOHOL & TOBACCO             WISCONSIN ALCOHOL & TOBACCO              WISCONSIN DEPARTMENT OF AGRICULTURE
ENFORCEMENT                             ENFORCEMENT                              BUREAU OF CONSUMER PROTECTION
2135 RIMROCK RD                         MAIL STOP 6-107 P.O. BOX 8900            2811 AGRICULTURE DR
MADISON, WI 53708                       MADISON, WI 53708-8900                   PO BOX 8911
                                                                                 MADISON, WI 53708-8911



WISCONSIN DEPARTMENT OF REVENUE         WISCONSIN DEPT OF REVENUE                WISCONSIN DEPT OF WORKFORCE
ADDRESS UNAVAILABLE AT TIME OF FILING   2135 RIMROCK RD                          DEVELOPMENT
                                        MADISON, WI 53713                        201 E WASHINGTON AVENUE
                                                                                 MASION, WI 53703




WISCONSIN DEPT OF WORKFORCE             WISCONSIN DFI- DIVISION OF SECURITIES    WISCONSIN DIVISION OF SECURITIES
DEVELOPMENT                             201 W WASHINGTON AVE                     PO BOX 1768
PO BOX 7946                             MADISON, WI 53703                        MADISON, WI 53701-1768
MASION, WI 53707-7946




WISDOM, CARRIE                          WISDOM, CARRIE                           WISDOM, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WISE, AMY                               WISE, ANDREA                             WISE, ANDREW
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WISE, BRIDGET                           WISE, COURTNEY                           WISE, DEB
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
WISE, HOPE            Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     WISE, JANET                      Page 5368   of 5495
                                                                           WISE, JANICE
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WISE, JESSICA                        WISE, JOSH                            WISE, JUSTIN
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WISE, KELLY                          WISE, KIRSTEN                         WISE, MELODY
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WISE, MICHELLE                       WISE, MORGAN                          WISE, PATSY
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WISE, RACHEL                         WISE, RAVEN                           WISE, RICHARD
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WISE, SEAN                           WISE, SHANNON                         WISE, SHELBY
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WISE, SHELLY                         WISE, SUMMER                          WISE, TERRY
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WISE, TYLER-MARIE                    WISECARVER, SARAH                     WISEMAN, ASHLEY
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WISEMAN, BRIAN                       WISEMAN, DAMIEN                       WISEMAN, JANE
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WISEMAN, MEGAN                       WISEMAN, NATALIE                      WISEMAN, RYANN
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WISEMAN, SHELBY       Case 22-11238-LSS    Doc
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WISH, BOB                            WISH, MARY                              WISHARD, KATHLEEN
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WISHBOW, WAYNE                       WISHIHADTHA                             WISHING, ZELINE
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WISHNER, ELIZABETH                   WISHNER, REBECCA                        WISHNESKI, CECILIA
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WISHNEW, DAVID                       WISHNICK, AARON                         WISHNICK, BENJAMIN
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WISLER, NICO                         WISMAR, AUDREY                          WISMER, PETER
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WISNER, CAROLINE                     WISNIA, AVI                             WISNIEVITZ, MAYA
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WISNIEWSKI, GABRIELLA                WISNIEWSKI, JAIME                       WISNIEWSKI, MITCH
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WISNIEWSKI, ZACH                     WISNISKI, JESSICA                       WISNOSKI, VANESSA
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WISOR, JONATHAN                      WISOTZKY, JENNIFER                      WISOWATY, KATIE
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WISSEMANN, RICHIE     Case 22-11238-LSS    Doc 2RODNEY
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WISSER, JAMES                        WISSING, AMBER                        WISSINK, ALI
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WISSINK, TRAVIS                      WISSLER, JESSICA                      WISSMAN, JAN
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WISTED, MORGAN                       WISTRAND, LAURA                       WISTRICH, MEGHANN
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WISTUBA, ANDREA                      WISWALL, KATIE                        WISWALL, LISA
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WISZ, DEBORAH                        WISZ, DEBORAH                         WIT & DELIGHT LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        80 MISSISSIPPI RIVER BLVD NORTH
                                                                           SAINT PAUL, MN 55104




WITBECK, JAMIE                       WITCHER, KANISHA                      WITCHER, NAEISHA
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WITCZAK, JAIME                       WITH SKYLER MEDIA, INC.               WITHAM, BILL
ADDRESS AVAILABLE UPON REQUEST       C/O A3 ARTISTS AGENCY                 ADDRESS AVAILABLE UPON REQUEST
                                     350 FIFTH AVENUE 38TH FLOOR
                                     NEW YORK, NY 10118




WITHEE, ALANNA                       WITHEE, THERESA                       WITHERELL, TAMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WITHERS, DAVID                       WITHERS, JEAN                         WITHERS, JENNIFER
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WITHERS, LESLEY       Case 22-11238-LSS    Doc
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WITHERSPOON, OMAR                    WITHERSPOON, REBECCA                   WITHERSPOON, TERRI
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WITHEY, LORRAINE                     WITHEY, SUSAN                          WITHKOWSKI, CIERRA
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WITHROW, ASHLEY                      WITHROW, ELIZABETH                     WITHROW, KIMBERLY
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WITHROW, MISTY                       WITHUSKI, ALEXIS                       WITIKKO, VERONICA
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WITKOWSKI, HANNAH                    WITKOWSKI, LISA                        WITMER, JADE
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WITMER, STEVEN                       WITMOND, TOM                           WITT WELLFORD, RACHEL
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WITT, ALLISON                        WITT, ANNA                             WITT, ANTOINETTE
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WITT, BRIAN                          WITT, BRITTANY                         WITT, DONNA
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WITT, JACKIE                         WITT, JESSICA                          WITT, JOHN
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WITT, LAURA           Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WITT, NATALIE                    Page 5372   of 5495
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WITT, SHARON                         WITTE, ABBY                           WITTE, ANDREA
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WITTE, HEATHER                       WITTE, JOANNA                         WITTE, LISA
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WITTEK, COURTNEY                     WITTEK, DAVID                         WITTEKIND, KATIE
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WITTEN, LIBBY                        WITTENBERG, JOHN                      WITTENBERG, PETER
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WITTENBROOK, CHERISH                 WITTENHAGEN, LINDSEY                  WITTER, ARIELLE
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WITTER, CHRISTINE                    WITTER, JOEL                          WITTER, KHORI
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WITTER, LESLIE                       WITTEVEEN, JAKE                       WITTHAUT, MARKUS
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WITTHUHN, JESSICA                    WITTIG, KRISTA                        WITTIG, MARTHA
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WITTIG, SHANNON                      WITTMAN, CAROLE KILDRON               WITTMER, ANDREA
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WITTMER, ANDREA       Case 22-11238-LSS    Doc
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WITTROCK, ASHLEY                     WITTRY, GRETCHEN                        WITTWER, ERIN
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WITZIG, TYLER                        WITZKE, ANDREW                          WIXOM, RAE
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WIXON, CHRISTA                       WIX-SCHILLACE, JULIA                    WIXSON, JOEL
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WIXTED, ERIN                         WIZA, CALEB                             WIZA, GEORGIANA
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WIZIKOWSKI, HEATHER                  WLADIS, JACQUELINE                      WLAZELEK, BRIAN
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WLSON, LAURA                         WM SUPERCENTER                          WME ENTERTAINMENT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   9601 WILSHIRE BOULEVARD 3D FLOOR
                                                                             BEVERLY HILLS, CA 90210




WNEK, JOSIE                          WNETRZAK, SHARON                        WNOROWSKI, MAGGIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WNUK, CAROLINE                       WNYC RADIO (THE GOTHAMIST)              WOBBEMA, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       GOTHAMIST 160 VARICK STREET             ADDRESS AVAILABLE UPON REQUEST
                                     NEW YORK, NY 10013




WOC, CARLOS                          WOCHASKI, KRISTIN                       WOCHINSKE, KELLY
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WODARCZYK, KATIE      Case 22-11238-LSS    Doc
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                                                                           WODDAIL, 5495
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WODKA, ALLISON                       WODKOWSKI, AMANDA                     WODOME, BLADA
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WODRASKA, BRITTANY                   WODRASKA, BRITTANY                    WODZYNSKI, JOANNA
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WOEBSE, ERICA                        WOECKNER, PAIGE                       WOEHLECKE, CAMILLE
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WOEHRLE, JENNIFER                    WOELFEL, VICKI                        WOERTH, AMY
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WOERTHER, LINDSEY                    WOERTHER, MEGHAN                      WOESSNER, KELLY
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WOFFICE LLC                          WOFFORD, HANNAH                       WOFFORD, JEANNIE
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WOFFORD, JENNIFER                    WOHLEB, KELLY                         WOHLFEIL, PATTI
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WOHLFELD, MICHAEL                    WOHLFORD, JUSTIN                      WOHLGEMUTH, MARYANN
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WOHLGEMUTH, TOM                      WOHLNER, JORDAN                       WOHLSTATTAR, KATRIEN
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WOIDAT, EMILY         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WOIK, HANAH                      Page 5375  of 5495
                                                                           WOISLAW, JARED
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WOISNET, MATTHEW                     WOITYNEK, JOLENE                      WOJCIECHOWICZ, REBECCA
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WOJCIECHOWSKI, ALFRED                WOJCIECHOWSKI, BETSY                  WOJCIECHOWSKI, JACKSON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOJCIECHOWSKI, KYLE                  WOJCIECHOWSKI, MARK                   WOJCIECHOWSKI, SARA
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WOJCIESZAK, ZUZANNA                  WOJCIK, BRENNA                        WOJCIK, CURTIS
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WOJCIK, MATTIE                       WOJCIK, OLIVIA                        WOJCIK, TRACI
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WOJDA, KELLY                         WOJDACZ, JENNA                        WOJEWODA, KIM
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WOJNAR, JULIE                        WOJNAR, SHELBY                        WOJNICZ, SAMANTHA
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WOJNO, MOLLY                         WOJOSKI, DAN                          WOJTKIEWICZ, TIFFANY
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WOJTKO, DONNAMARIE                   WOJTKOWSKI, ANDREW                    WOJTKOWSKI, CZESLAWA
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WOJTKUN, MEGAN        Case 22-11238-LSS    Doc ALEXIS
                                     WOJTOWICZ, 2 Filed 11/30/22       Page 5376 of 5495
                                                                            WOJTOWICZ, EVE
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WOLAK, AJ                            WOLAK, SCOTT                           WOLANSKY, ALISON
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WOLANZYK, MATTHEW                    WOLCOTT, COLLIER                       WOLCOTT, LAUREN
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WOLCOTT, STEVEN                      WOLCZYNSKI, JUSTIN                     WOLD, ALEXANDRA
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WOLD, CHERYL                         WOLD, DIANE                            WOLD, JAMES
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WOLD, MARIE                          WOLD, STEPHANIE                        WOLDEN, KELLYN
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WOLDT, KELLY                         WOLENS, ARIELLA                        WOLENSKY, JENNIFER
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WOLETZ, ESTHER                       WOLF RIFKIN SHAPIRO SCHULMAN &         WOLF, A.J.
ADDRESS AVAILABLE UPON REQUEST       RABKIN LLP                             ADDRESS AVAILABLE UPON REQUEST
                                     11400 W OLYMPIC, BLVD 9TH FLOOR
                                     LOS ANGELES, CA 90064




WOLF, ABIGAIL                        WOLF, ALICIA                           WOLF, ALLISON
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WOLF, AMANDA                         WOLF, AMY                              WOLF, ANGELA
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WOLF, CAITLILN        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WOLF, CAMILLA                    Page 5377  of 5495
                                                                           WOLF, CANDICE
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WOLF, CAROLINE                       WOLF, CAROLINEGUERRA                  WOLF, CAYLEE
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WOLF, CYNDI                          WOLF, CYNTHIA                         WOLF, DONNA
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WOLF, ELIOT                          WOLF, GAIL                            WOLF, HELEN
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WOLF, HOPE                           WOLF, JESSICA                         WOLF, JESSIE
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WOLF, JON                            WOLF, JOOYOUNG                        WOLF, JUSTIN
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WOLF, KIMBERLY                       WOLF, KIMBERLY                        WOLF, KRISTEN
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WOLF, KRISTYN                        WOLF, LEAH                            WOLF, LESLIE
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WOLF, LETICIA                        WOLF, LORRAINE                        WOLF, MARISSA
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WOLF, MELISSA                        WOLF, MICHAEL                         WOLF, MICHAEL
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WOLF, MICHAEL         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           WOLF, MOLLY
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WOLF, NANCY                          WOLF, NANCY                           WOLF, NATALIE
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WOLF, NICHOLAS                       WOLF, NICOLE                          WOLF, NICOLE
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WOLF, PATRICK                        WOLF, PAULA                           WOLF, RENEE
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WOLF, SAMANTHA                       WOLF, SARAH                           WOLF, TERESA
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WOLF, TRISTRAM                       WOLFANGER, KATHLEEN                   WOLF-BOCHUD, NICHOLAS
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WOLFE, ADAM                          WOLFE, ALYSSA                         WOLFE, AMANDA
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WOLFE, AMBER                         WOLFE, AMY                            WOLFE, BRIAN
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WOLFE, BRYAN                         WOLFE, CAROL                          WOLFE, CASEY
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WOLFE, CATHLEEN                      WOLFE, COURTNEY                       WOLFE, DEBBIE
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WOLFE, DREW           Case 22-11238-LSS
                                     WOLFE, Doc 2 Filed 11/30/22
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                                                                                  EMILY
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WOLFE, ERIN                          WOLFE, HANNAH                         WOLFE, HANNAH
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WOLFE, JESSICA                       WOLFE, JILL                           WOLFE, JOHN
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WOLFE, JOSHUA                        WOLFE, JOSSELYN                       WOLFE, JULIA
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WOLFE, KRISTEN                       WOLFE, KRISTIN                        WOLFE, LEAH
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WOLFE, LOGAN                         WOLFE, LOGAN                          WOLFE, LOGAN
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WOLFE, LOIS                          WOLFE, LUKE                           WOLFE, LYNNE
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WOLFE, MADISON                       WOLFE, MARIE                          WOLFE, MICHAEL
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WOLFE, MICHELLE                      WOLFE, NATALIE                        WOLFE, NIKOLA
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WOLFE, PAIGE                         WOLFE, REBECCA                        WOLFE, RHODA
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WOLFE, ROSEMARY       Case 22-11238-LSS
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WOLFE, SCHAROME                      WOLFE, SHELDON                        WOLFE, STEPHANIE
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WOLFE, SUSAN                         WOLFE, TAYLAR                         WOLFE, THOMAS
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WOLFEIL, MELINDA                     WOLFENBARGER, SYDNEY                  WOLFENSBERGER, LINDSAY
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WOLFERT, JAIMIE                      WOLFF, ADAM                           WOLFF, ALLY
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WOLFF, ANDREA                        WOLFF, DIANA                          WOLFF, DYLAN AND ALEX
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WOLFF, ERIC                          WOLFF, EVE                            WOLFF, HANA
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WOLFF, HANNAH AND JESSE              WOLFF, JEFF                           WOLFF, MARSHA
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WOLFF, MARYANNE                      WOLFF, MEGAN                          WOLFF, REBECCA
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WOLFFBRANDT, ADAM                    WOLFFORD, TYLER                       WOLFGANG, REX
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WOLFGANG, VICTORIA    Case 22-11238-LSS    DocALLIE
                                     WOLFGRAM,  2 Filed 11/30/22      Page 5381 of 5495
                                                                           WOLFGRAM, VICKIE
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WOLFGRUBER, HAYLEY                   WOLFHEIMER, RACHEL                     WOLFINGER, CYDNI
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WOLFINGTON, KELSEY                   WOLFKILL, ELIZABETH                    WOLFORD, JESSICA
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WOLFORD, SARAH                       WOLFORD, THERESE                       WOLFRADT, JAMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WOLFRAM, RODGER                      WOLFRED, MARGARET                      WOLFS, ELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WOLFSHEIMER, JENNIFER                WOLFSHOHL, JENN                        WOLFSON, DONALD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WOLFSON, DONNA                       WOLFSON, TAYLOR                        WOLGEL, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WOLINSKI, BARBARA                    WOLINSKY, SUSAN                        WOLITZER, MICHAEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WOLK, ALEXIS                         WOLK, GRACE                            WOLKEN, CHARLOTTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




WOLKOFF, DANELLE                     WOLKOWITZ, MICHAEL                     WOLL, HALIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WOLLACK, CAITLIN      Case 22-11238-LSS    Doc
                                     WOLLAM,    2 Filed 11/30/22
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                                                                           WOLLAM, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOLLENBERG, JONATHAN                 WOLLENMAN, CASEY                      WOLLENMANN, COLLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOLLENZIN, MICHELLE                  WOLLERMAN, MEAGAN                     WOLLERMAN, SUMER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOLLIN, CHERYL                       WOLLIN, MICHAEL                       WOLLITZ, HAYLIE
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WOLLMERINGER, BRITNEY                WOLLNEY, EASTON                       WOLLWERTH, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOLMETZ, LILLIAN                     WOLNAK, JULIANA                       WOLNICKI, DIANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOLO, MICHAEL                        WOLOCH, BLAKE                         WOLODKIEWICZ, ANNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOLODKIEWICZ, SHANNON                WOLONS, JILLIAN                       WOLOSIEWICZ, AMY
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WOLOSIN, CORRIE                      WOLOSKY, MOLLY                        WOLOSZ, VANESSA
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WOLOWIC, CAROL                       WOLPERT, RYAN                         WOLPIN, ALYSSA
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WOLSKE, MELISSA       Case 22-11238-LSS
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                                                                           WOLSKY, 5495
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WOLSLEGEL, CHRIS                     WOLSTENCROFT, ERIN                    WOLSTENHOLM, JACK
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WOLTER, CHRISTINE                    WOLTER, DANIELLE                      WOLTER, KATELYN
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WOLTER, MELISSA                      WOLTER, TONYA                         WOLTER, TYLER
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WOLTERING6, ASTRID                   WOLTERMAN, ERIC                       WOLTERS, CHANTEL
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WOLTERS, CYNTHIA                     WOLTERS, HALEY                        WOLTERS, KARA
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WOLTHUSEN, SHANNON                   WOLTJER, CARRIE                       WOLTMAN, JENNA
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WOLTZ, GABBY                         WOLUCHEM, MALAIKA                     WOLUJEWICZ, KARLY
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WOLVERTON, THERESA                   WOLYNIEC, PAULA                       WOLZ, MICHELLE
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WOLZ, OLIVIA                         WOMACK, CARLIS                        WOMACK, COLLEEN
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WOMACK, DARCI         Case 22-11238-LSS    Doc
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                                                                           WOMACK, 5495
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WOMAS, KOKOU                         WOMBLE, BLAIR                         WOMBLE, SKYLER
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WOMBOLDT, DANIELLE                   WOMELDORPH, CARISSA                   WOMEN WHO LOVE WINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        4435 SUNSET DRIVE
                                                                           CHARLOTTESVILLE, VA 22911




WOMEN WHO LOVE WINE                  WOMER, KIMBERLY                       WON, CHARLES
ASHLEY V HULL                        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
2176 SILK WOOD CT
CHARLOTTESVILLE, VA 22911




WON, DANIEL                          WON, SAMUEL                           WONDERWILD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        13400 SUNSHINE CIR.
                                                                           BENNET, NE 68317




WONDRA, JOANNE                       WONDRELY, JEFFREY                     WONG SOLARES, SHANA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WONG, ABIGAIL                        WONG, ALEXANDER                       WONG, ALYSSA
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WONG, AMY                            WONG, ANTONIA                         WONG, ARTHUR
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WONG, ASHLEY                         WONG, ASHLEY                          WONG, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WONG, CHRISTIE                       WONG, CORTNEY                         WONG, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WONG, EDWINA          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WONG, ERIC                       Page 5385
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                                                                                 GABRIEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WONG, GREGORY                        WONG, HENRY                           WONG, JASMINE
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WONG, JEAN                           WONG, JEFFREY                         WONG, JOANNE
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WONG, JOE                            WONG, JONATHAN                        WONG, JORDAN
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WONG, JOSHUA                         WONG, JULIA                           WONG, KARENA
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WONG, KATHERINE                      WONG, KELLIE                          WONG, KIM
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WONG, KRISTEN                        WONG, LESLIE                          WONG, LYNDA
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WONG, MANDY                          WONG, MELISSA                         WONG, NICOLE
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WONG, PAMELA                         WONG, PRISCILLA                       WONG, RACHEL
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WONG, REBECCA                        WONG, RENEE                           WONG, ROBIN
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WONG, SAMANTHA        Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WONG, TAMARA                        Page 5386
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WONG, TING TING                         WONG, VAN                             WONG, VIVIAN
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WONG, YU SAN                            WONG-LAWSON, MICHELLE                 WONN, BRENDAN
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WONOLO INC.                             WONS, OLIVIA                          WONSOCK, DESIREE
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WONTROP, RACHAEL                        WONYU, ALEXANDRA                      WOO COLLINS, ANNY
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WOO, CELINE                             WOO, CHER                             WOO, CHRISTIAN
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WOO, MICHELLE                           WOO, NELSON                           WOO, SUNG
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOOD WEBSTER, HOLLY                     WOOD, ALANIE                          WOOD, ALLAN
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WOOD, ALLISON                           WOOD, ALLISON                         WOOD, AMANDA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOOD, AMBER                             WOOD, AMBER                           WOOD, ANA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOOD, ANDREA          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WOOD, ANDY                       Page 5387
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WOOD, ASHLEY                         WOOD, ASHLEY                          WOOD, ASHLEY
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WOOD, BENJAMIN                       WOOD, BLAKE                           WOOD, BONNIE
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WOOD, BRENDAN                        WOOD, BRITTANY                        WOOD, BROOK
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WOOD, BROOKE                         WOOD, BRYAN                           WOOD, CAITLIN
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WOOD, CAROL                          WOOD, CATHERINE                       WOOD, CHANDLER
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WOOD, CHRISTIE                       WOOD, CHRISTINA                       WOOD, CHRISTINE
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WOOD, CLAIRE                         WOOD, CLAUDIA                         WOOD, COLLEEN
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WOOD, COLTON                         WOOD, CORAL                           WOOD, COURTNEY
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WOOD, CRAIG                          WOOD, DANA                            WOOD, DANIEL
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WOOD, DANIEL          Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WOOD, DANIELLE                   Page 5388
                                                                           WOOD, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOOD, DAVID                          WOOD, DAVID                           WOOD, DAVID
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WOOD, DEANA                          WOOD, DENNY                           WOOD, ELAINE
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WOOD, ELIZABETH                      WOOD, ELLA                            WOOD, ELLEN
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WOOD, EVE                            WOOD, GLENDA                          WOOD, GLORIA
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WOOD, HANNAH                         WOOD, HANNAH                          WOOD, HAVALAH
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WOOD, HEATHER                        WOOD, HOLLE                           WOOD, JACK
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WOOD, JACQUELINE                     WOOD, JAMES                           WOOD, JENNIFER
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WOOD, JENNIFER                       WOOD, JENNIFER                        WOOD, JEREMY
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WOOD, JESSICA                        WOOD, JESSICA                         WOOD, JOANNE
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WOOD, JOY             Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WOOD, JUDITH                     Page 5389
                                                                           WOOD, of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOOD, JULIE                          WOOD, KARINA                          WOOD, KATE
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WOOD, KATIE                          WOOD, KAYLEY                          WOOD, KELLY
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WOOD, KELSEY                         WOOD, KINSEY                          WOOD, KYLE
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WOOD, KYLE                           WOOD, KYLIE                           WOOD, KYRA
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WOOD, LAURA                          WOOD, LAUREN                          WOOD, LEIGHTON
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WOOD, LESLIE                         WOOD, LINDSAY                         WOOD, LINDSEY
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WOOD, LOGAN                          WOOD, LORELEI                         WOOD, LYNN
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WOOD, MADISON                        WOOD, MARILYN                         WOOD, MARK
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WOOD, MARLO                          WOOD, MARY                            WOOD, MAX
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOOD, MEAGHAN         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WOOD, MEGAN                      Page 5390
                                                                           WOOD, of 5495
                                                                                 MEGHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOOD, MELISSA                        WOOD, MELISSA                         WOOD, MELISSA
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WOOD, MICHAEL                        WOOD, MICHAEL                         WOOD, MICHAEL
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WOOD, MICHELE                        WOOD, MIKE                            WOOD, MONICA
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WOOD, NANCY                          WOOD, NATHAN                          WOOD, NICOLE
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WOOD, NOELLE                         WOOD, OLIVIA                          WOOD, PAM
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WOOD, PATRICIA                       WOOD, PATRICIA                        WOOD, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOOD, PHILIPPA                       WOOD, RACHAEL                         WOOD, RACHELLE
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WOOD, RAEANN                         WOOD, REBECCA                         WOOD, REBECCA
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WOOD, RONALD                         WOOD, RONNIE                          WOOD, SAMMI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOOD, SARAH           Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WOOD, SEAN                       Page 5391
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOOD, SHELLEY                        WOOD, SHELLY                          WOOD, SUE
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WOOD, TALIA                          WOOD, TARYN                           WOOD, TARYN
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WOOD, TAYLOR                         WOOD, TAYLOR                          WOOD, TAYLOR
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WOOD, TINA                           WOOD, TRINI                           WOOD, TRISH & Y
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WOOD, TYE                            WOOD, VALERIE                         WOOD, VICTOR
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WOOD, WILBUR                         WOOD, ZOE                             WOODALL, ALISA
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WOODALL, ASHLEY                      WOODALL, DORINDA                      WOODALL, EDYTHE
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WOODALL, HEATHER                     WOODALL, MEAGAN                       WOODARD, CALLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODARD, CRYSTAL                     WOODARD, D J                          WOODARD, JOSHUA
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WOODARD, KATHY        Case 22-11238-LSS    Doc
                                     WOODARD,   2 Filed 11/30/22
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                                                                           WOODARD, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODARD, MAKAILA                     WOODARD, MEKA                         WOODARD, MICHELE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODARD, PAMELA                      WOODARD, PETER                        WOODARD, TIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODBERRY, BRIAN                     WOODBERRY, RUDYEA                     WOODBRIDGE, TRAVIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODBRIDGE, WHITNEY                  WOODBURY, AMANDA                      WOODBURY, BETH
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WOODBURY, LORI                       WOODBURY, MELISSA                     WOODBY, LEIA
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WOODCOCK, CATHY                      WOODCOCK, LINDSAY                     WOODCOCK, VICTORIA
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WOODCOCK, ZACHARY                    WOODDELL, JAMES                       WOODEN, JENNIFER
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WOODEN, KELSEY                       WOODFIELD, JULIE                      WOODFIELD, SANDRA
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WOODFIN, HALLE                       WOODFIN, KAREN                        WOODFORD, MARLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOODHALL, DIANE       Case 22-11238-LSS    DocEMMA
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                                                                           WOODHAM, JAMES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODHOUSE, ALEXANDRA                 WOODHOUSE, BREANNA                    WOODHOUSE, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODHOUSE, EVAN                      WOODHOUSE, GINA                       WOODHULL, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODIE, JOSHUA                       WOODIWISS, JESSICA                    WOODLAND DIRECT
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




WOODLEE, TIMOTHY                     WOODMAN, ASHLEY                       WOODMAN, BRADLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODMAN, MELISSA                     WOODMAN, ROBIN                        WOODMAN, WESLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODRICK, ABBY                       WOODRICK, TONI                        WOODRING, RENEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODRING, VICTORIA                   WOODROOF, AUBREY                      WOODROOF, WILL
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WOODROW, BERRY                       WOODROW, LAUREN                       WOODRUFF, ADAM
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WOODRUFF, AMY                        WOODRUFF, CALVIN                      WOODRUFF, CHARLES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOODRUFF, CHRISTINE   Case 22-11238-LSS    DocDESIRAE
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                                                                           WOODRUFF, HOLLIE
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WOODRUFF, JAIME                      WOODRUFF, JANEL                       WOODRUFF, JESSICA
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WOODRUFF, JULIAN                     WOODRUFF, LAURA                       WOODRUFF, LAURA
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WOODRUFF, MELINDA                    WOODRUFF, MORGANN                     WOODRUFF, ROSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODRUFF-SAWYER & CO.                WOODRUM, DAWN                         WOODRUM, MARISA
50 CALIFORNIA STREET, 12TH FLOOR     ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
SAN FRANCISCO, CA 94111




WOODS, ADONIS                        WOODS, ALEX                           WOODS, ALEXIS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, ALLISON                       WOODS, AMY                            WOODS, ANITRA
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WOODS, ASHLEY                        WOODS, ASHLEY                         WOODS, ASHLEY
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WOODS, BREYONA                       WOODS, BRIANNA                        WOODS, BRITTANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, BURGUNDY                      WOODS, CAROL                          WOODS, CATHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOODS, CHARLINE       Case 22-11238-LSS
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                                                                           WOODS,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, CORRIN                        WOODS, DAVID                          WOODS, DECHANE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, EMREE                         WOODS, ERIN                           WOODS, ERIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, HEATHER                       WOODS, HEATHER                        WOODS, JASON
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WOODS, JEFFREY                       WOODS, JENN                           WOODS, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, JESSIE                        WOODS, JOANNE 1                       WOODS, JONATHAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, JORDAN                        WOODS, KAITLYN                        WOODS, KARLA
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WOODS, KATIE                         WOODS, KELLI                          WOODS, KELLY
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WOODS, KENYA                         WOODS, KIM                            WOODS, KRYSTAL
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WOODS, LESLI                         WOODS, LISA                           WOODS, LORELEI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOODS, MADDIE         Case 22-11238-LSS
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                                           MARIA2 Filed 11/30/22      Page 5396 ofMARY
                                                                           WOODS,  5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, MECCA                         WOODS, MEGAN                          WOODS, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, MICHAEL                       WOODS, MICHELLE                       WOODS, NEKIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, NICOLE                        WOODS, QUINCI                         WOODS, RIVER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, ROBERT                        WOODS, SARA                           WOODS, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, SARAH                         WOODS, SARAH                          WOODS, SHATIRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, STEPHANIE                     WOODS, STEPHANIE                      WOODS, TAMRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, TASHA                         WOODS, THOMI                          WOODS, TIFFANY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, TRAVIS                        WOODS, TYRANNY                        WOODS, VERONICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODS, VIRGINIA                      WOODS, WILLIAM                        WOODSIDE, ZACK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOODSON, CARNIECE     Case 22-11238-LSS    DocCONNOR
                                     WOODSON,   2 Filed 11/30/22      Page 5397 of 5495
                                                                           WOODSON, CONNOR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODSON, GWENDOLYN                   WOODSON, HOPE                         WOODSON, KELSY
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WOODSON, KELSY                       WOODSON, TAMARA                       WOODWARD, ALEXA
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WOODWARD, ALEXANDRA                  WOODWARD, ALISSA                      WOODWARD, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODWARD, BETSY                      WOODWARD, CHASE                       WOODWARD, DAWN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODWARD, DENISE                     WOODWARD, ERIN                        WOODWARD, JERRY
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WOODWARD, JUSTIN                     WOODWARD, KIMBERLY                    WOODWARD, LANCE
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WOODWARD, LINDA                      WOODWARD, MELISSA                     WOODWARD, MICHAEL
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WOODWARD, MORGAN                     WOODWARD, SARA                        WOODWARD, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODWARD, SHIRLEY JEAN               WOODWARD, SUZANNE                     WOODWARD, SYRENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOODWARD, VALERIE     Case 22-11238-LSS    Doc 2AMANDA
                                     WOODWORTH,      Filed 11/30/22   Page 5398 of 5495
                                                                           WOODWORTH, AMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOODWORTH, MARK                      WOODWORTH, REBECCA                    WOODWORTH, SARA
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WOODWORTH, SHANNON                   WOODWORTH, SHELBY                     WOODY, DENISE
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WOODY, KEELIE                        WOODY, MICHAEL                        WOODY, TAMARA
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WOODYARD, GABRIELLE                  WOODYARD, TARA                        WOODYARD, VERONICA
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WOOG, STROTHER                       WOOKEY, EMMA                          WOOLARD, KAITLYN
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WOOLARD, LAUREN                      WOOLARD, MISTY                        WOOLARD, MORGAN
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WOOLARD, TERI                        WOOLBERT, ELIZABETH                   WOOLBRIGHT, CHARISMA
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WOOLCOTT, BRAM                       WOOLDRIDGE, BRITTNEE                  WOOLDRIDGE, CHRISTOPHER
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WOOLDRIDGE, DEMETRIA                 WOOLDRIDGE, SHANNAN                   WOOLES, KRISTA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WOOLET, CYNTHIA       Case 22-11238-LSS    Doc
                                     WOOLEY,    2 Filed 11/30/22
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                                                                           WOOLEY,  5495
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WOOLEY, NATALIE                      WOOLF, MARIA                          WOOLFOLK, ALIYAH
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WOOLFOLK, ERIKKA                     WOOLFOLK, JASON                       WOOLFOLK, SHAVON
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WOOLFORD, KIMM                       WOOLIVER, RICK                        WOOLLEY, MICHELLE
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WOOLMAN, CARMEN                      WOOLMAN, SCOTT                        WOOLRIDGE, ZACH
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WOOLSEY, SALLY                       WOOLSTENCROFT, ANDREW                 WOOLVERTON, STEPHEN
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WOOLWINE, GWYNETH                    WOOSTER, TARA                         WOOTAN, CARMELA
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WOOTAN, LEANNA                       WOOTEN, CALYN                         WOOTEN, DEREK
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WOOTEN, EMILY                        WOOTEN, GRAHAM                        WOOTEN, JOURDAN
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WOOTEN, KEN                          WOOTEN, LACY                          WOOTEN, LUKE
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WOOTEN, MARTHA        Case 22-11238-LSS    Doc
                                     WOOTTEN,   2 Filed 11/30/22
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                                                                           WOOTTON, CAROL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOOTTON, CHELSEA                     WOPAT, MARIA                          WOPINSKY, BILL
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WORBINGTON, LAUREN                   WORBY, ASHLEY                         WORBY, COLLEEN
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WORCESTER, KENNA                     WORCZAK, STACY                        WORCZAK, STACY
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WORD OF MOUTH PARTNERS, LLC.         WORD, BRANDY                          WORD, JUDAH
98 15TH STREET APT 3                 ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
BROOKLYN, NY 11215




WORD, LEAH                           WORDEN, MATT                          WORDEN, SARAH
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WORDEN, TAYLOR                       WORDES, LANIE                         WORDHAM, DEBORAH
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WORDHAM, GARY                        WORDLAW, ALETHIA                      WOREK, MOLLY
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WOREL, LACEY                         WORJOLOH-CLEMENS, AYABA               WORK, HANNAH
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WORK, MARGEATE                       WORK, MEGAN                           WORKERS COMPENSATION BOARD OF
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        NEW YORK STATE
                                                                           FINANCE UNIT 328 STATE STREET
                                                                           SCHENECTADY, NY 12305
WORKIE, DAWIT         Case 22-11238-LSS    Doc 2 Filed 11/30/22 Page 5401
                                     WORKINGNOTWORKING.COM                      of 5495
                                                                           WORKMAN, BROOKE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




WORKMAN, FRED                        WORKMAN, GABRIELLE                      WORKMAN, HUNTER
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WORKMAN, JENN                        WORKMAN, KATIMARI                       WORKMAN, KELLY
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WORKMAN, MARLENE                     WORKMAN, OLIVIA                         WORKMAN, ROBBIE
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WORKMAN, SARAH                       WORKMAN, SARAH                          WORKMAN, TED
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WORKS, ELAN                          WORKS, KEVIN                            WORKS, MICHAELA
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WORKU, SELAM                         WORLDWIDE BUSINESS RESEARCH             WORLEY, AMY
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WORLEY, ANNALISE                     WORLEY, BRADI                           WORLEY, BRENDA
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WORLEY, EMILY                        WORLEY, HEATHER                         WORLEY, JONATHAN
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WORLEY, KIMBERLY                     WORLEY, KYLE                            WORLEY, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WORLEY, SHAWN         Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WORM, JENNIFER                   Page 5402 of 5495
                                                                           WORMACK, KAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WORMSER, TOM                         WORNER, APRIL                         WOROBEY, MEGAN
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WORONIAK, THOMAS                     WOROSHER, LAURA                       WOROSZ, PAUL
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WORRELL, ALYSSA                      WORRILL, BROOKE                       WORSEK, JAMIE
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WORSHAM, JEANNE                      WORSHAM, SANDRA                       WORSLEY, MELISSA
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WORSNIP, ABIGAIL                     WORSTER, LAUREN                       WORST-MCGREGOR, ROILYN
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WORTH, CAITLIN                       WORTH, CHRISTINE                      WORTH, HOLLY
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WORTH, JANICE                        WORTH, MAUREEN                        WORTH, MICHAEL
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WORTHAM, CHRISTINE                   WORTHAM, DONALD                       WORTHAM, KEVIN
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WORTHAM, SANDRA                      WORTHINGTON, ALLISON                  WORTHINGTON, AMANDA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WORTHINGTON, AMY      Case 22-11238-LSS    Doc 2 HOPE
                                     WORTHINGTON,    Filed 11/30/22   Page 5403 of 5495JEANETTE
                                                                           WORTHINGTON,
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WORTHINGTON, JENNIFER                WORTHINGTON, MEGAN                    WORTHINGTON, MELISSA
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WORTHINGTON, MICHELLE                WORTHINGTON, NOAH                     WORTHINGTON, SIMONE
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WORTHINGTON, SIMONE                  WORTHLEY WRIGHT, DAWN                 WORTHMAN, GAIL
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WORTHMAN, KYLE                       WORTHMAN, TINA                        WORTHY, CHRISTINA
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WORTHY, RACHEL                       WORTHY, VIRGINIA                      WORTMAN, DOUGLAS
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WORTMAN, GARY                        WORTON, SHANNON                       WORTSMAN, JENIFER
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WORYK, LARISSA                       WORZELLA, ADAM                        WOS, KRISTINA
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WOSKOB, ALEXANDER                    WOSSUM, EMILY                         WOULFE, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WOULFE, HEATHER                      WOUTERS, ALLIE                        WOVE TECHNOLOGIES, INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        47 MAIDEN LANE, 2ND FLOOR
                                                                           SAN FRANCISCO, CA 94108
WOWS J CORPORATION    Case 22-11238-LSS     Doc
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WOYTOVICH, KELSI                      WOYTOWICH, DENNIS                        WOYWOD, JUSTINE
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WOZNIAK, AMIE                         WOZNIAK, DANIELLE                        WOZNIAK, DEBRA
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WOZNIAK, DOROTEYA                     WOZNIAK, JAMIE                           WOZNIAK, JENNIFER
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WOZNIAK, KAITLYN                      WOZNIAK, LAUREN                          WOZNIAK, SAMANTHA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WOZNICKI, AMANDA                      WP ELECTRIC & COMMUNICATIONS INC.        WRAGGE
ADDRESS AVAILABLE UPON REQUEST        14198 ALBERS WAY                         ADDRESS AVAILABLE UPON REQUEST
                                      CHINO, CA 91710




WRATH, JESSICA                        WRAY, BETH                               WRAY, CHRIS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WRAY, CONNOR                          WRAY, JESSIE                             WRAY, KAITLYN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WRAY, STEVEN                          WRAY, TAYLOR                             WRAY, WILLY ANN
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WREATH, KATHERINE                     WREDE, CHRISTINE                         WREN, AMELIA
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST
WREN, COURTNEY        Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WREN, ERIN                       Page 5405  of 5495
                                                                           WREN, HELEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WREN, JACOB                          WREN, REAGAN                          WREN, RIPLEY
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WRENN, JOE                           WRENN, SCOTT                          WRENN, SHANI
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WRENSHALL, SARAH                     WRESTLING, ISLIP                      WREYFORD, CHRISTINA
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WRIGGELSWORTH, CHAD                  WRIGGLESWORTH, ANGELA                 WRIGGLESWORTH, CRAIG
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WRIGHT FREED, COURTNEY               WRIGHT, ABIGAIL                       WRIGHT, ADDISON
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WRIGHT, ADELE                        WRIGHT, ADRIANE                       WRIGHT, ADRIANE
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WRIGHT, ALISON                       WRIGHT, ALISON                        WRIGHT, ALLISON
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WRIGHT, ALLISON                      WRIGHT, ALLISON                       WRIGHT, ALLISON
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WRIGHT, ALYSHA                       WRIGHT, ALYSSIA                       WRIGHT, AMANDA
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WRIGHT, AMANDA        Case 22-11238-LSS
                                     WRIGHT,Doc 2 Filed 11/30/22
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                                                                           WRIGHT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WRIGHT, AMY                          WRIGHT, ANESIA                        WRIGHT, ANGELA
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WRIGHT, ANNA GRACE                   WRIGHT, ANTHONY                       WRIGHT, ANTHONY
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WRIGHT, ARIEL                        WRIGHT, ASHLEY                        WRIGHT, AUGUSTUS
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WRIGHT, BARBARA                      WRIGHT, BERKLEIGH                     WRIGHT, BETH
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WRIGHT, BRANDON                      WRIGHT, BRANDY                        WRIGHT, BREANNA
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WRIGHT, BRETT                        WRIGHT, BRI                           WRIGHT, BRIAN
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WRIGHT, BRIDGET                      WRIGHT, CAMBRIA                       WRIGHT, CAROL
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WRIGHT, CASSIE                       WRIGHT, CHELSEY                       WRIGHT, CHRIS
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WRIGHT, CHRISTOPHER                  WRIGHT, CHRISTY                       WRIGHT, CLAIRE
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WRIGHT, CLAUDIA       Case 22-11238-LSS
                                     WRIGHT,Doc 2 Filed 11/30/22
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                                                                           WRIGHT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WRIGHT, COREY                        WRIGHT, CORRIE                        WRIGHT, CORY
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WRIGHT, CRAIG                        WRIGHT, CRYSTAL                       WRIGHT, DAMONIQUE
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WRIGHT, DANA                         WRIGHT, DANIEL                        WRIGHT, DANIELLE
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WRIGHT, DAREN                        WRIGHT, DEBBIE                        WRIGHT, DEBORAH
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WRIGHT, DELIA                        WRIGHT, DEMETRIA                      WRIGHT, DESTINEE
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WRIGHT, DEVAN                        WRIGHT, DOUGLASS                      WRIGHT, DYLAN
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WRIGHT, EDWARD                       WRIGHT, ELISABETH                     WRIGHT, ELLAN
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WRIGHT, EMILY                        WRIGHT, EMILY                         WRIGHT, EMILY
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WRIGHT, EMILY                        WRIGHT, ERICA                         WRIGHT, ERIN
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WRIGHT, FIONNUALA     Case 22-11238-LSS
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                                                                           WRIGHT, 5495
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WRIGHT, GRACE                        WRIGHT, GREGORY                       WRIGHT, GRIFFIN
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WRIGHT, GWENDOLYN                    WRIGHT, HALEY                         WRIGHT, HAYLEY
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WRIGHT, HEATHER                      WRIGHT, HENRY                         WRIGHT, JACQUELINE
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WRIGHT, JAMESON                      WRIGHT, JAMIE                         WRIGHT, JAMILLA
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WRIGHT, JASMIN                       WRIGHT, JAY                           WRIGHT, JEANNINE
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WRIGHT, JENNIFER                     WRIGHT, JESSICA                       WRIGHT, JESSICA
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WRIGHT, JESSICA                      WRIGHT, JOAN                          WRIGHT, JOE
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WRIGHT, JOE                          WRIGHT, JOHN                          WRIGHT, JOHN
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WRIGHT, JORDAN                       WRIGHT, JOY                           WRIGHT, KATHERINE
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WRIGHT, KATHLEEN      Case 22-11238-LSS
                                     WRIGHT,Doc  2 Filed 11/30/22
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WRIGHT, KAYLA                        WRIGHT, KELLIE                        WRIGHT, KENZIE
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WRIGHT, KEVIN                        WRIGHT, KIMBERLY                      WRIGHT, KIRSTEN
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WRIGHT, KRISTEN                      WRIGHT, KRISTEN                       WRIGHT, KRISTI
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WRIGHT, KRISTIN                      WRIGHT, KYLA                          WRIGHT, KYLE
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WRIGHT, LAURA                        WRIGHT, LAUREN                        WRIGHT, LEA
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WRIGHT, LEE                          WRIGHT, LEEANN                        WRIGHT, LEILA
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WRIGHT, LESLIE                       WRIGHT, LESLIE                        WRIGHT, LISA
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WRIGHT, LISA                         WRIGHT, LOREEN                        WRIGHT, LORI
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WRIGHT, LUCY                         WRIGHT, MADI                          WRIGHT, MADISON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WRIGHT, MADISON       Case 22-11238-LSS
                                     WRIGHT,Doc  2 Filed 11/30/22
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                                                                           WRIGHT, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WRIGHT, MATTHEW                      WRIGHT, MEGAN                         WRIGHT, MEGAN
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WRIGHT, MEGHAN                       WRIGHT, MELISSA                       WRIGHT, MELISSA
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WRIGHT, MICHAEL                      WRIGHT, MICHAEL                       WRIGHT, MICHELLE
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WRIGHT, MICHELLE                     WRIGHT, MICHELLE                      WRIGHT, MICHELLE
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WRIGHT, MOLLY                        WRIGHT, MORGAN                        WRIGHT, MORRIS
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WRIGHT, NADIA                        WRIGHT, NATALIE                       WRIGHT, NATASHA
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WRIGHT, NATHAN                       WRIGHT, NATHAN                        WRIGHT, ORVIN
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WRIGHT, PAT                          WRIGHT, PENNY                         WRIGHT, RACHEL
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WRIGHT, RACHEL                       WRIGHT, RACHEL                        WRIGHT, RANDALL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WRIGHT, REBEKAH       Case 22-11238-LSS
                                     WRIGHT,Doc 2 Filed 11/30/22
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                                                                           WRIGHT, 5495
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WRIGHT, ROBERT                       WRIGHT, ROLAND & JUDY                 WRIGHT, SAMANTHA
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WRIGHT, SARA                         WRIGHT, SAUL                          WRIGHT, SEAN
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WRIGHT, SHAMMARA                     WRIGHT, SHANNON                       WRIGHT, SHARONNE
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WRIGHT, SHAWNA                       WRIGHT, SHELBY                        WRIGHT, SHERINE
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WRIGHT, STACIA                       WRIGHT, STORMY                        WRIGHT, SUE
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WRIGHT, SUSAN                        WRIGHT, TAMIKA                        WRIGHT, THERESA
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WRIGHT, TIFFANY                      WRIGHT, TINA                          WRIGHT, TINA
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WRIGHT, TREVOR                       WRIGHT, VICTORIA                      WRIGHT, VONTISHA
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WRIGHT, WAYNE                        WRIGHT, YVONNE                        WRIGHT-LEGG, RAINY
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WRIGLEY ENTERPRISES   Case 22-11238-LSS     Doc
                                      WRIGLEY,    2 Filed 11/30/22
                                               JENNIFER                Page 5412  of QUINN
                                                                            WRIGLEY, 5495
ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WRIGLEY, VICTORIA                     WROBEL, AMANDA                        WROBEL, MITCHEL
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WROBEL, RACHEL                        WROBEL, TERRI                         WROBLESKI, CRAIG
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WROBLESKI, KYLE                       WROBLEWSKI, JIM                       WROBLEWSKI, SHANNON
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WRONA, JACQUELINE                     WRONIAK, NINA                         WROTH, OLIVIA
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WRUBLE, ZOE                           WRUCK, CRAIG                          WSLCB
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WU, ALLIE                             WU, ALLY                              WU, ANNIE
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WU, BOHAN                             WU, CARRIE                            WU, DI
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WU, DILLON                            WU, DONGZHEN                          WU, DUNGHUAN
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WU, FANNY                             WU, FELIX                             WU, GENGJIN
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WU, GINA              Case 22-11238-LSS    Doc 2 Filed 11/30/22
                                     WU, HAOSHENG                     Page 5413  of 5495
                                                                           WU, HAYLEY
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WU, JAMIE                            WU, JENNIFER                          WU, JENNY
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WU, JENNY                            WU, JUNCHI                            WU, JUSTINE
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WU, LIANG                            WU, MICHAEL                           WU, NANCY
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WU, PAUL                             WU, RENEE                             WU, REX YOU
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WU, TIFFANY                          WU, TONGTONG                          WU, VIVIAN
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WU, VIVIAN                           WU, YIQUN                             WU, ZHUOYANG
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WUAN, BILY                           WUBBENHORST, KATHLEEN                 WUCHER, SUSAN
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WUCKOWITSCH, SUSAN                   WUELFING, JANIS                       WUENNE, KRISTINE
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WUENSCHE, KINSEY                     WUEPPER, KEVIN                        WUERFFEL, KELLI
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WUEST, GREG           Case 22-11238-LSS    Doc
                                     WUESTE,    2 Filed 11/30/22
                                             SAMANTHA                 Page 5414 of 5495
                                                                           WUESTHOFF, STEPHANIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WUESTMAN, RYAN                       WUHRER, DONNA                         WUITE, SKYLAR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WUJCIK, TRUDY                        WUKAWITZ, STEPHANIE                   WULF, LOGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WULF, TIMOTHY                        WULFF, JOHN                           WULFF, LAUREN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WULFMAN, CARRIE                      WULFSON, SIERRA                       WULSTEIN, KATARINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WULW, VICTORIA                       WUMMER, CHRISTOPHER                   WUNDERKIND CORPORATION
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ONE WORLD TRADE CENTER, FLOOR 74
                                                                           NEW YORK, NY 10007




WUNDERLICH LLC                       WUNDERLICH, HEATHER                   WUNDERLICH, KARLIE
333 HUDSON ST STE 907                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10013




WUNDERLICH, KRISTA                   WUNDERLICH, MARIANNE                  WUNSCH, BONNIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WUNSCH, JESSICA                      WURM, ALLYSON                         WURMAN, CHAYA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WURMBRAND, RACHEL                    WURMS, CHARLES                        WURSTER, BRAD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WURSTER, JULIE        Case 22-11238-LSS    Doc 2 Filed 11/30/22 Page 5415
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING ADDRESS AVAILABLE UPON REQUEST




WURTS MONIQUE                           WURZEL, CATHERINE                       WUSSOW, MARIAH
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WUTKOWSKI, JERRY                        WUTTIG, KRISTEN                         WUYCHECK, TORY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WV ABC                                  WV ALCOHOL BEVERAGE CONTROL ADM         WV SECRETARY OF STATE
ATTN WINE LIC.                          ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS UNAVAILABLE AT TIME OF FILING
900 PENNSYLVANIA AVE
CHARLESTON, WV 25302




WV STATE TAX DEPT                       WW, ROBERT                              WWW.COCKTAILCOURIER.COM
1124 SMITH ST                           ADDRESS AVAILABLE UPON REQUEST          ADDRESS UNAVAILABLE AT TIME OF FILING
CHARLESTON, WV 25301




WWW.VPNSECURE.ME                        WY DEPT OF REVENUE                      WY LIQUOR DIVISION
ADDRESS UNAVAILABLE AT TIME OF FILING   122 WEST 25TH STREET, SUITE E301        6601 CAMPSTOOL RD
                                        HERSCHLER BUILDING EAST                 CHEYENNE, WY 82001
                                        CHEYENNE, WY 82002




WYAN, SARAH                             WYANT, LAUREN                           WYANT, MARY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WYANT, REBECCA                          WYATT, ANGEL                            WYATT, ATOSHA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WYATT, CHARLES                          WYATT, ELYSE                            WYATT, EMILY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




WYATT, JAMIE                            WYATT, JOAN                             WYATT, JULIA
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WYATT, KELLEY         Case 22-11238-LSS
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                                                                           WYATT,of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYATT, KRISTIN                       WYATT, MICHAEL                        WYATT, NANCY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYATT, NOEL                          WYATT, SAMANTHA                       WYATT, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYATT, STEPHANIE                     WYATT, TERI                           WYBENGA, ARTHUR
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYBLE, BROOKE AND AMY                WYBLE, MEGAN                          WYCALL, LIZ
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYCHE, STORM                         WYCHOR, MINDY                         WYCHULIS, CARLIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYCKOFF, ADRIANNE                    WYCKOFF, HALLIE                       WYCKOFF, JESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYCKOFF, MELANIE                     WYCKOFF, PAUL                         WYCKOFF, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYCKOFF, ZACHARY                     WYCOFF, AMANDA                        WYDERKO, JESSICA
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WYDMAN, EMMY                         WYDNER, SUSAN                         WYDRA, MINDI
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WYE, MELISSA          Case 22-11238-LSS    Doc
                                     WYGONIK,   2 Filed 11/30/22
                                              ASHLEY                     Page 5417  of 5495
                                                                              WYHS, SUZETTE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




WYKES, RYAN                             WYKOWSKI, JOE                         WYLDER, RENEE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYLIE LUO                               WYLIE, CATHERINE                      WYLIE, COURTNEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYLIE, DEREK                            WYLIE, HEATHER                        WYLIE, MARCY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYLIE, SARAH                            WYLIE, SCOTT                          WYLIE, THERESA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYLLIE, ASHLEY                          WYLLIE, BETTY                         WYMAN, DEREK
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYMAN, MIRANDA                          WYMAN, SHANNON                        WYMER, ABBEY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYMER, CATHERINE                        WYMER, JO                             WYMER, RAY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYMORE, KAMI                            WYNANDS, JOSEPH                       WYNAR, JESSICA
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYNDHAM                                 WYNDHAM, ALAYA                        WYNE, MEGAN
ADDRESS UNAVAILABLE AT TIME OF FILING   ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
WYNKOOP, KELLY        Case 22-11238-LSS    Doc
                                     WYNKOOP,   2 Filed 11/30/22
                                              NICOLE                      Page 5418  of 5495
                                                                               WYNN, CHELSEA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WYNN, DEANGELO                       WYNN, JESSICA                             WYNN, KERRY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WYNN, MICHAEL                        WYNN, NICOLE                              WYNN, NICOLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WYNN, SHARON                         WYNN, TRACI                               WYNNE, ANDREW
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WYNNE, KELLY                         WYNNE, STEPHANIE                          WYNNE, STEPHANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WYNNE, TIFFANY                       WYNNS, MAGDALENA                          WYNNYCKYJ, KIM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




WYOMING COMPLIANCE DIVISION          WYOMING DEPARTMENT OF REVENUE             WYOMING DEPT OF REVENUE
2020 CAREY AVE                       122 W 25TH ST                             122 WEST 25TH STREET, 2ND FLOOR WEST
SUITE 700                            CHEYENNE, WY 82001                        CHEYENNE, WY 82002-0110
CHEYENNE, WY 82002-0020




WYOMING DEPT OF WORKFORCE SERVICES   WYOMING LIQUOR COMMISSION                 WYOMING LIQUOR DIVISION
1510 EAST PERSHING BLVD              6601 CAMPSTOOL RD                         1520 E 5TH ST
WEST WING                            CHEYENNE, WY 82001                        CHEYENNE, WY 82007
CHEYENNE, WY 82002




WYOMING LIQUOR DIVISION              WYOMING SECRETARY OF STATE                WYREBEK, DEBBIE
6601 CAMPSTOOL ROAD                  COMPLIANCE DIVISION                       ADDRESS AVAILABLE UPON REQUEST
CHEYENNE, WY 82002-0110              ATTN: PRINCIPAL COMPLIANCE AUDITOR
                                     2020 CAREY AVENUE, STE 700
                                     CHEYENNE, WY 82009



WYRICK, CHELSEA                      WYRICK, DANE                              WYROBEK, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
WYRRICK, SHARON       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     WYSE, MICHELE                    Page 5419 of 5495
                                                                           WYSOCKI, ALYSSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYSOCKI, BRYAN                       WYSOCKI, CARMEN                       WYSOGLAD, LYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYSONG, TONI                         WYSS, JESSE                           WYSS, KAYLEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




WYSS, REBECCA                        WYTIU, AMETHYST                       X
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X, NKOSI                             X, R                                  XANDER OXMAN
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XANTUS, BIBORKA                      XAVIER A GONZALEZ                     XAVIER MORSE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




XAYAVONG, ATLANTA                    XAYKOSY, VIENGMANIVONE                XAYKOSY-BOULANY, DEE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




XEROX CORPORATION                    XHILONE, KYLE                         XI, MING
P.O. BOX 202882                      ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
DALLAS, TX 75320-2882




XI, ZOE                              XIA, JIAMING                          XIA, KELLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




XIAN, SANDY                          XIAO, ALLISON                         XIAO, WEI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
XIAO, WENYE           Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     XIAO, XUE                                Page 5420   of 5495
                                                                                   XIAO, YAO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST                 ADDRESS AVAILABLE UPON REQUEST




XIE, HUIHUA                               XIE, HUXIAO                               XIE, JIACHI
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




XIE, ZHENCHANG                            XING, MONICA                              XINTONG YUAN
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




XIOMARA ALCALDE                           XIONG, FRANCINE                           XIONG, JIAZHENG
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




XIONG, JUY                                XIONG, LAO                                XIONG, PANYIA
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XLMEDIA FINANCE LTD. (MONEYBLOGS, LLC.)   XLMEDIA FINANCE LTD. (MONEYBLOGS, LLC.)   XO GROUP INC.
10 FOREST FALLS DR. STE. 9B               WIRE 6 AGIAS MARINAS STREET               11106 MOCKINGBIRD DR
YARMOUTH, ME 04096                        4044 YERMASOGIA                           OMAHA, NE 68137
                                          LIMASSOL
                                          CYPRUS



XPO LOGISTICS                             XU, ALYVIA                                XU, EVEREST
ADDRESS UNAVAILABLE AT TIME OF FILING     ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




XU, HANDAN                                XU, JESSIE                                XU, JING
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




XU, JONATHAN                              XU, KAILAI                                XU, PANG PANG
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




XU, RAN                                   XU, SHERRY                                XU, STAR
ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST
XU, SUMMER            Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     XU, SUMMER                       Page 5421   of 5495
                                                                           XU, TIANRUI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




XU, XIAOPEI                          XU, XIN                               XU, XINDI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




XU, XINLING                          XU, YIJIE JOANNA                      XU, YING
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




XU, YONG                             XU, ZHIYU                             XUAN, LUCIUS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




XUE, ERICA                           XUE, LEWIN                            XUYING ZHAO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




XYTHALIS, RAINA                      Y KIM                                 Y, FRISHHHHHHHHHHH
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Y, KIM                               Y, SHARON                             YAARY, SHARON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YABLOCHNIKOV, ILYA                   YABLONSKY, ALEXANDRA                  YABLONSKY, FRANCENE
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YABOR, KRYSTAL                       YABOR, MARY                           YABROW, SAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YABS, MARGO                          YABS, MELANIE                         YACAMAN, MARIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
YACAPIN, JEN AND EMMY Case 22-11238-LSS    DocKATHLEEN
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                                                                           YACHES, 5495
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YACKLE, BILL                         YACKOWSKI, LAUREN                     YACOVACCI, JULIANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YACOVELLI, ANTONIO                   YACOVINO, SCOTT                       YACUA, GENESYS
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YACUZZO, LISA                        YADAIE, ARIEL                         YADAO, RUBEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YADAV, MUKUL                         YADAV, REKHA                          YADIRA, YESSICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YADLOSKY, BEVERLY                    YADON, LINDSEY                        YADUSH, JOHN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YAEGER, BAILEE                       YAEGER, ELISA                         YAFFE, PAUL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YAGER, KRISTEN                       YAGER, MEGAN                          YAGER, PEYTON
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YAGGIE, JANET                        YAGGY, GARY                           YAGHMAIE, AVA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YAGHOUBI, MOHAMMAD                   YAGHOUBI, NAZELI                      YAGHOUBIAN, SARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
YAGOOBIAN, CRYSTAL    Case 22-11238-LSS    Doc
                                     YAGOUB, AMEL2   Filed 11/30/22   Page 5423  of 5495
                                                                           YAHN, ANGELA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YAHN, CHRISTINE                      YAHNE, AMANDA                         YAHOO AD TECH LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        VERIZON MEDIA INC.
                                                                           770 BROADWAY
                                                                           NEW YORK, NY 10003




YAHOO INC.                           YAJAIRA RUIZ                          YAJJIMA, SEIKO
PO BOX 89-4147                       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
LOS ANGELES, CA 90189-4147




YAKABOSKI, BRENDA                    YAKALIS, SAMANTHA                     YAKE, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YAKE, KELLY                          YAKES, MICHAEL                        YAKICH, KRISTIN
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YAKIN, TUNC                          YAKLIN, JUELS                         YAKOUBEK, MARK
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YAKOVLEV, VICTOR                     YAKOWICZ, EVAN                        YAKSCOE, CYNDI
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YAKSCOE, KELLY & STEVE               YAKSICH, MIKE                         YAKUPZACK, KATHRYN
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YALACKI, KAYLA                       YALE, CLAUDIA                         YALEY, NACHOLE
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YALLUP, MARK                         YALTA, KAROL                          YAM, RUSSELL
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YAM, VERONICA         Case 22-11238-LSS
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YAMAGUCHI, MANA                      YAMAGUCHI, RIA                        YAMAGUCHI, USA
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YAMAK, KASSEM                        YAMAKAWA, LISA                        YAMAKAWA, RIE
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YAMAMOTO, DOUG                       YAMAMOTO, KEIKO                       YAMAMOTO, KERRI
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YAMAMOTO, RAYNA                      YAMANAKA, ALAN                        YAMANAKA, JASON
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YAMANE, EMILY Y.                     YAMANE, GRACE                         YAMASHITA, BRADLEY
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YAMATO-COLVILL, HAPI                 YAMBEM, GAYATRI                       YAMRON, EMILY
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YAN                                  YAN, CLAIRE                           YAN, JOANNA
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YAN, MINGYUE                         YAN, ROSE                             YAN, YIXIN
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YAN, ZHIMIN                          YANA GLEMAUD                          YANA IMBERG
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YANAGI SUSHI AND GRILL Case 22-11238-LSS     Doc 2 Filed 11/30/22
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YANARO, JEANNE                        YANCEY, CHARLES                       YANCEY, COLLEEN
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YANCEY, HUNTER                        YANCEY, KATIE                         YANCHAK, DENNIS
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YANCY, BRENDA                         YANCY, SAMANTHA                       YANCY, TIM
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YANCY-TAYLOR, PAMELA                  YANDALL, ELIZABETH                    YANES, MICHELLE
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YANEY, LEXIANA                        YANEZ, ANNE                           YANEZ, CAROLINA
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YANEZ, CLAUDIA                        YANEZ, EMILY                          YANEZ, GIZZEL
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YANEZ, MARTHA                         YANEZ, MITCHELL                       YANEZ, PABLO
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YANEZ, VALENCIA                       YANG (AIRBNB), ELAINE                 YANG CHOW
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YANG                                  YANG, ANDREW                          YANG, BECKY
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YANG, CHIEN           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           YANG, EMMA
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YANG, EUGENE                         YANG, EVE                             YANG, GAO IA
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YANG, HAE                            YANG, HAO                             YANG, ISABELLE
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YANG, JAEYOUNG                       YANG, JEFFREY                         YANG, JINGXUAN
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YANG, JOCELYN                        YANG, JOHNNY                          YANG, JUN
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YANG, KATHERINE                      YANG, KATHERINE                       YANG, KELSEY
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YANG, KEXIN                          YANG, LIHSIN                          YANG, MENGNA
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YANG, MICHAEL                        YANG, MINJEONG                        YANG, REBECCA
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YANG, RICHARD                        YANG, SALLY                           YANG, SHAO-WEN
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YANG, SHUJUN                         YANG, SONG                            YANG, STEPHANIE
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YANG, WEILIN          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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YANGZHOU SHANJING                       YANICH, ASHER                           YANK, ANDREA
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YANK, JONATHAN                          YANKEE PIER                             YANKEE, APRIL
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YANKELEVICH, ALEX                       YANKELEVICH, BECCA                      YANKEY, CASSANDRA
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YANKOSKI, NICOLE                        YANKOVA, GERGANA                        YANKOVA, MILA
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YANKOVEC, KATIE                         YANKOWSKY, DANIELLE                     YANKOWSKY, STACI
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YANKULOV, MARIAN                        YANN ZELLER                             YANNACCONE, ALEXANDRIA
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YANNARELLA, KARI                        YANNELLO, JO-ANN                        YANNI, ELIZABETH
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YANNICK FORBES                          YANNIELLO, CHRISTINE                    YANNITELLO, PAMELA
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YANNUZZI, MICHELLE                      YANOK, JULIANA                          YANOSKI, JANINE
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YANOVSKI, JOHANNA     Case 22-11238-LSS    DocMELISSA
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YANSHINA, ANYA                       YANSKA, MICHAEL                       YANSKI, ANGELA
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YANTZI, PAULA                        YANUK, KEVIN                          YAO FAMILY WINES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        824A HEALDSBURG AVENUE
                                                                           HEALDSBURG, CA 95448




YAO, DAPHNE                          YAO, HELEN                            YAO, MARI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YAO, MENGDI                          YAP, ANNE                             YAP, AUBREY
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YAP, SHIELLA                         YAPALATER, LAUREN                     YAPALATER, LAUREN
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YAPANA, LENELLE                      YAPUR, ANA                            YAQUBIE, FRISH
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YARBOROUGH, ALEXANDRIA               YARBROUGH, AMELIA                     YARBROUGH, DANETTE
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YARBROUGH, HELENA                    YARBROUGH, JEWEL                      YARBROUGH, LATORIA
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YARBROUGH, LESLEY                    YARBROUGH, LORI                       YARBROUGH, LOWELL
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YARBROUGH, MASON      Case 22-11238-LSS    Doc MICHELLE
                                     YARBROUGH, 2 Filed 11/30/22           Page 5429 of 5495
                                                                                YARBROUGH, STACIE
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YARBROUGH, SUSIE                        YARD, JACOB                             YARDAN, SHANNA
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YARDHOUSE                               YARDLEY, BRITTANY                       YARDLEY, ROSEMARY
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YAREL, OHAD                             YARGAWON, WANDA                         YARGER, DAN
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YARIA, DANIELLE                         YARLEQUE, ADRIANA                       YARLOTT, KIMBERLY
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YARNES, LAUREN                          YARNO, KRISTOFER                        YARNO, LILLY
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YARNOT, ELIZABETH                       YARRINGTON, COURTNEY                    YARROWS, CASSIDY
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YARSIN, REBECCA                         YARST, NIKOLAY                          YARTSEVA, VIKTORIYA
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YARUSSO, TRACEY                         YAS FITNESS CENTERS                     YASGUR, JENNA
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YASH, GEORGE                            YASHEKA POWELL                          YASHESH MAZUMDAR
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YASIN, BEATRICE       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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YASMINE CADET                        YASMINE ESTRADA, YASMINE              YASSERI, YASSI
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YASTER, SUZY                         YATASSAYE, FATOU                      YATCO, SARAH
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YATER, SARA                          YATES, ALLISON                        YATES, ANNABEL
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YATES, CATHERINE                     YATES, CHRIS                          YATES, ERICA
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YATES, ERIN                          YATES, ERIN                           YATES, GINA
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YATES, JAMES                         YATES, JAN                            YATES, JEREL
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YATES, JOE AND CYNTHIA               YATES, KEVIN                          YATES, LINDA
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YATES, LINDSAY                       YATES, MARGARET                       YATES, MEL
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YATES, NASHYRA                       YATES, PATRICIA                       YATES, PETE
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YATES, SCOTT          Case 22-11238-LSS     Doc 2 Filed 11/30/22
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YATES, TESS                             YATINKUMAR SHIYANI                    YATSKO, ELIZABETH
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YAU, DAVID                              YAU, RITA                             YAUSSI, DANIEL
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YAVAGAL, DEEPAK                         YAVIL, ANDREW                         YAVORSKI, HALEY
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YAWAND-WOSSEN, MELISA                   YAWN, JACQUELINE                      YAWN, JAMES
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YAWN, STEVEN                            YAYING PU                             YAZDGERDI, SASHA
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YAZGI, COLLEEN                          YAZZIE, KYLE                          YBARRA, ERIK
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YBARRA, JOSHUA                          YBARRA, STEPHANIE                     YBURAN, AEILLYNE
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YE, DONNA S.                            YEADON, KRISTIN                       YEAFOLI, EMILY
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YEAGER, ALLIE         Case 22-11238-LSS
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YEAGER, DREW                         YEAGER, EMMA                          YEAGER, EVELYNN
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YEAGER, GILLIAN                      YEAGER, JESSICA                       YEAGER, JOSH
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YEAGER, JOSHUA                       YEAGER, LAURA                         YEAGER, MARIA
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YEAGER-LITTLE, KIM                   YEAGLEY, CJ                           YEAGLEY, SARA
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YEALY, CARLYLE                       YEALY, D                              YEARBY, ARNIE
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YEARGIN, NINA                        YEARIAN, CONNER                       YEARICK, BRANDON
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YEARLEY, ALISON                      YEARWOOD, CHANTELLE                   YEARWOOD, THOMASINA
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YEATES, CARA                         YEATON, LUCINDA                       YEATTS, SETH
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YEAZELL, MONIQUE                     YEAZELL, MONIQUE                      YEAZELL, MONIQUE
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YEBBA, ELIZABETH      Case 22-11238-LSS
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                                                                           YECHOOR, SIVA
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YEDIGAROV, ELENA                     YEDLAPATI, MADHURI                    YEDLOWSKI JR, JOHN
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YEDNOCK, KEELY                       YEDNOCK, LILY                         YEE, BRIAN
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YEE, CINDY                           YEE, EDMIND                           YEE, JESSICA
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YEE, KEVIN                           YEE, LAURA                            YEE, LISA
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YEE, RICHARD                         YEE, TRICIA                           YEGANEH, JOHN
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YEGIDIS, DAVID                       YEGIKYAN, NAIRA                       YEGOROV, IRINA
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YEH, BRENDA                          YEH, JOHNSON CHIA MING                YEH, KENG-LUN
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YEH, SOPHIA                          YEISER-GARCIA, EVA                    YEKESHA FREDERICK
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YELDANDI, SARITA                     YELDELL, ANNE                         YELDELL, MICHAEL
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YELDELL, STACIE       Case 22-11238-LSS
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                                                                               YELESWARAPU,
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YELIN, SCOTT                            YELINEK, CAITLIN                       YELISEYEV, POLINA
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YELLE, RAYMOND                          YELLEN, SARAH                          YELLIN, AMANDA
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YELLOW CARD SERVICES                    YELLOW UMBRELLA VENTURES II LLC        YELLOWHAMMER MEDIA GROUP INC.
ADDRESS UNAVAILABLE AT TIME OF FILING   2520 BLUEBONNET LANE UNIT 52 52        44 WEST 28TH STREET FLOOR 4
                                        AUSTIN, TX 78704                       NEW YORK, NY 10001




YELLOWHORSE, NESBAH                     YELMENE, MICHELE                       YELNICK, JULI
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




YELTON, CLINTON                         YELTON, LORI                           YELVERTON, CHARLES
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




YELVINGTON, TRAVIS BECKY                YEN, LAWRENCE                          YEN, SIMONE
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YEN, TIA                                YENAL, KRYSTELE                        YENDES, ANNA
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YENEABAT, RAEY                          YENIS, BETH                            YENOVKIAN, VSEM
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YENTER, CHRIS                           YENTZ, MCKAYLA                         YEO, ALICIA
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YEOSOCK, OLIVIA       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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YEPEZ, AMANDA                        YEPEZ, DULCE                            YEPEZ, HECTOR
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YERGEY, NANCY                        YERK, MARA                              YERKES, CAROLINE
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YERKES, NEAL                         YERKEY, CASEY                           YERMOLENKO, NATALIYA
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YERNYE, MADELYN                      YERRAM, NIKITHA                         YERRAPOTU, VENKATESH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




YES WAY ROSE                         YESALAVICH, LYNN                        YESENCHAK, RYAN
112 SUFFOLK ST. 4B                   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10002




YESENIA BOSQUEZ, YESENIA             YESENIA PERDUE                          YESENKO, ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




YESHIDAGNE, EMERALD                  YESKE, EMILY                            YESNER, NATALIE
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YESSENIA VIDA SALGADO                YESWARE SERVICE                         YETTER, RILEY
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YETURU, SRUTHI                       YEUNG, AMY                              YEUNG, AMY
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YEUNG, CHI HO         Case 22-11238-LSS
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YEWELL, MAZIE                        YEZER, ANDREA                         YEZZI, RACHEL
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YEZZO, ANGELA                        YI WEI DARREN QUEK                    YI, ANDREA
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YI, ANGELA                           YI, DR. MIN                           YI, HONGTAO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YI, PETER                            YIALLOURIDES, MICHAEL                 YIDI, MARIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YIELDMO, INC                         YIELDMO, INC                          YILMA, MEDAN
218 WEST 18TH STREET, 2ND FLOOR      33 WEST 17TH ST., SUITE 201           ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10011                   NEW YORK, NY 10011




YILMAZ, BESTE                        YIM, ALI                              YIM, CHI HIU
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YIM, MICHAEL                         YIN, ANDREW                           YIN, BEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YIN, HANG                            YING LIU 401K (ROTH)                  YINGER, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




YINGER, SANDY                        YINGLING, AMANDA                      YINGLING, TIMOTHY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
YINGXIANG CHENG       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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                                                                             YIP, ERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




YIP, IRENE                           YIP, KELLY                              YIP, TAMMY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




YIPIT, INC                           YIWEN HE                                YIWU YADAN STATIONARY COMMODITY CO
22 WEST 19TH ST. 7TH FLOOR           ADDRESS AVAILABLE UPON REQUEST          LTD
NEW YORK, NY 10011                                                           NO 12 CHAOYANG ROAD
                                                                             SHANXI TOWN TOY BASE 322000




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YLISMAA, MELINDA                     YM&U ENTERTAINMENT INC                  YNAYA, JO
ADDRESS AVAILABLE UPON REQUEST       9100 WILSHIRE BLVD SUITE 100W           ADDRESS AVAILABLE UPON REQUEST
                                     BEVERLY HILLS, CA 90212




YNOA, MAYLEN                         YNTEMA, ASHLEY                          YOAV SION
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YOB, TAYLOR                          YOCHEM-PIKE, CRAIG-CARL                 YOCHIM, NENA
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YOCHUM, KATHLEEN                     YOCKEY, JASON                           YOCKUS, CONNOR
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YOCUM, DAVID                         YOCUM, JULLI                            YOCUPICIO, GUADALUPE
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YODELFRI RUIZ                        YODER, ABIGAIL                          YODER, AMY
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YODER, CHRISTINE                        YODER, DEVON                          YODER, GERALD
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YODER, JEREMY                           YODER, JONATHON                       YODER, LISA
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YODER, MATTHEW                          YODER, MICHAEL                        YODER, NICOLE
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YODER, RACHEL                           YODER, VELMA                          YODER, WAYNE
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YODIS, ERIN                             YOE, MELINDA                          YOE, WILLIAM
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YOEST, ALLISON                          YOGA LIFESTYLES, LLC                  YOGEN FRUZ
ADDRESS AVAILABLE UPON REQUEST          2910 MAGUIRE ROAD, SUITE 2010         ADDRESS AVAILABLE UPON REQUEST
                                        OCOEE, FL 34761




YOGENDRA GOYAL                          YOGENDRA PRADEEP BUDDHARAJU           YOGENDRA SHUKLA
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YOGESH MAURYA                           YOGESH SHETTY                         YOGESH VIROJA
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YOGIS ANONYMOUS                         YOHANNES, SHEWEET                     YOHE, REBEKAH
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YOHMAN, KAI           Case 22-11238-LSS    Doc
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YOKLEY, BRITTANY                     YOKO GIBO                             YOKOYAMA, AKIKO
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YOKOYAMA, NARUMI                     YOKUM, KADY                           YOLANDA AYALA
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YOLANDA BASS                         YOLANDA HOSKIE                        YOLANDA MERCADO
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YON, LYDIA                           YONAN, CHARLES                        YONCE, KARLA
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YONEDA, NANCY                        YONES, CHRIS                          YONG, LAM
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YONGUE, ELLA                         YONISKI, KAIT                         YONKE, STEPHEN
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YONKER, ANDY                         YONKER, GARY                          YONKIN, PAM
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YONO, ROBIN                          YONVIKAI, TANACHOTE                   YOO, ANNA
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YOO, CAROLYN                         YOO, DON                              YOO, GRACE
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YOO, KYUNGJIN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     YOO, LAURA                       Page 5440  of 5495
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YOO, STEPHEN                         YOON KWAK                             YOON, ALEX
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YOON, CONNIE                         YOON, DAVE                            YOON, HYEONG JAE
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YOON, JENNIFER                       YOON, JI HEE                          YOON, KIMOON
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YOON, MIKE                           YOON, SE-YOUNG                        YOON, SOOJIN
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YOON, YOUNGJUNG                      YOORI SHIN                            YOORI SHIN
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YOPCHICK, ALICIA                     YOPP, ANNALISE                        YOPP, BABS
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YOPP, HEATHER                        YOQUINTO, KATHERINE                   YORGER, CRYSTAL
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YORK HOLMES CONSULTING               YORK, AMBER                           YORK, AMELIA
P.O. BOX 1278                        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
HERMOSA BEACH, CA 90254
YORK, AMIE            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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YORK, CRISTABEL                      YORK, DAN                             YORK, DANIEL
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YORK, EMILY                          YORK, HALEY                           YORK, HILARY
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YORK, KIM                            YORK, LAURA                           YORK, LOUIS
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YORK, MELISSA                        YORK, NATALIE                         YORK, PATRICK
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YORK, ROSE                           YORK, RYAN                            YORKE, CAROLE
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YORKE, JOHN                          YORTON, TROY                          YOSEPH, KRYSTAL
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YOSHA, ALLON                         YOSHIDA, NINA                         YOSHIE HOZUMI
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YOSHIKAWA, JESSIKA                   YOSHINAGA, AMY                        YOSHINARI, MARY ANN
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YOSHIO ISMAEL BLANCO                 YOST, ANDY                            YOST, BRIAN
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YOST, PHILIP                         YOST, SAMANTHA                          YOSUICO, EMILY
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YOTTER, HOLLY                        YOU GOV PROFILES                        YOU SHOULD WEAR THAT LTD
ADDRESS AVAILABLE UPON REQUEST       ADDRESS UNAVAILABLE AT TIME OF FILING   1847 HEDGE ROSE DRIVE NORTHEAST
                                                                             ATLANTA, GA 30324




YOU, FUCK                            YOU, KEYA                               YOUGOV AMERICA INC.
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          999 MAIN STREET STE 101
                                                                             REDWOOD CITY, CA 94063




YOUHANA, ESTHER                      YOULAND, DAVE                           YOULE, ALICE
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YOUMAN, SANDY                        YOUMANS, LAUREN                         YOUN, LISA
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YOUN, SAMUEL                         YOUNAI, ARIANA                          YOUNCE, MICHELLE
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YOUNES, DANNY                        YOUNES, LINCOLN                         YOUNG JOON CHO
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YOUNG RICHARDSON, PAMELA             YOUNG, AARON                            YOUNG, ABBY
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YOUNG, ADRIAN                        YOUNG, ALI                              YOUNG, ALISON
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                                     YOUNG, Doc  2 Filed 11/30/22
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YOUNG, AMANDA                        YOUNG, AMBER                          YOUNG, AMY
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YOUNG, ANTHONY                       YOUNG, ARENDA                         YOUNG, ARISTINE
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YOUNG, AVERY                         YOUNG, BENJAMIN                       YOUNG, BETSY
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YOUNG, CAITLIN                       YOUNG, CALLAN                         YOUNG, CANDACE
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YOUNG, CARLEY                        YOUNG, CARLY                          YOUNG, CARMEN
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YOUNG, CAROL                         YOUNG, CARRICK                        YOUNG, CASEY
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YOUNG, CASEY                         YOUNG, CATHERINE                      YOUNG, CHANDRA
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YOUNG, CHARLENE                      YOUNG, CHARLOTTE                      YOUNG, CHARLOTTE
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YOUNG, CHELSEA                       YOUNG, CHINA                          YOUNG, CHRIS
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YOUNG, CHRISTY                       YOUNG, CINDY                          YOUNG, CJ
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YOUNG, CRYSTAL                       YOUNG, DANIELLE                       YOUNG, DAVID
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YOUNG, DAVID                         YOUNG, DAVID                          YOUNG, DAWN
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YOUNG, DAWN                          YOUNG, DEBBIE                         YOUNG, DEBORAH
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YOUNG, DENISE                        YOUNG, DJUANA                         YOUNG, DONDRE
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YOUNG, EMILY                         YOUNG, EMMA                           YOUNG, ERIC
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YOUNG, ERICA                         YOUNG, ERICA                          YOUNG, FAITH
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YOUNG, FERGUSON                      YOUNG, GABRIELLE                      YOUNG, GARY
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                                     YOUNG, Doc 2 Filed 11/30/22
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YOUNG, HEATHER                       YOUNG, HOLLY                          YOUNG, HOLLY
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YOUNG, IAN                           YOUNG, INDYA                          YOUNG, JACEY
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YOUNG, JACQUELINE                    YOUNG, JADE                           YOUNG, JAIME
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YOUNG, JAKE                          YOUNG, JAMIE                          YOUNG, JANINE
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YOUNG, JELANI                        YOUNG, JENNIFER                       YOUNG, JENNIFER
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YOUNG, JOSHUA                        YOUNG, JUANINA                        YOUNG, JULIA
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YOUNG, JULIA                         YOUNG, JULIA                          YOUNG, JULIE
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YOUNG, JUSTIN                        YOUNG, KARYN                          YOUNG, KATE
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YOUNG, KAYLA                         YOUNG, KELLY                          YOUNG, KELLY
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YOUNG, KELSEY                        YOUNG, KENDRA                         YOUNG, KENDRA
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YOUNG, KENDRICK                      YOUNG, KILEY                          YOUNG, KIM
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YOUNG, KIMBERLY                      YOUNG, KIMBERLY                       YOUNG, KRISSY
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                                     YOUNG, Doc  2 Filed 11/30/22
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YOUNG, LACEY                         YOUNG, LATOYA                         YOUNG, LAUREN
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YOUNG, LINAVE                        YOUNG, LINDSAY                        YOUNG, LISA
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YOUNG, MALLORY                       YOUNG, MARGARET                       YOUNG, MARGOT
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YOUNG, MARIAH                        YOUNG, MARIAH                         YOUNG, MARIS
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YOUNG, MARTHA                        YOUNG, MARY                           YOUNG, MATTY
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YOUNG, MAX                           YOUNG, MEGAN                          YOUNG, MEGAN
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                                     YOUNG, Doc 2 Filed 11/30/22
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YOUNG, MICHELLE                      YOUNG, MIRANDA                        YOUNG, MIRANDA
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YOUNG, MOLLY                         YOUNG, MONICA                         YOUNG, MONICA
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YOUNG, MORGAN                        YOUNG, MORISSA                        YOUNG, NATALIE
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YOUNG, NATALIE                       YOUNG, NICOLE                         YOUNG, PALMER
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YOUNG, PAMELA                        YOUNG, PATRICIA                       YOUNG, PEGGY
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YOUNG, PRESLEY                       YOUNG, RACHEL                         YOUNG, ROB
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YOUNG, ROBERT                        YOUNG, ROBERT                         YOUNG, RONALD
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YOUNG, SAMANTHA                      YOUNG, SARAH                          YOUNG, SARAH
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YOUNG, SASHA          Case 22-11238-LSS
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YOUNG, SHARON                        YOUNG, SHAWN                          YOUNG, SHEILA
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YOUNG, SHELBY                        YOUNG, SHELLY                         YOUNG, SHERLYN
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YOUNG, SR                            YOUNG, STEPHANIE                      YOUNG, STEPHANIE
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YOUNG, STEVE                         YOUNG, STEVE                          YOUNG, SUZANNE
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YOUNG, TAYLOR                        YOUNG, TIMEJA                         YOUNG, TOM
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YOUNG, TOMANECA                      YOUNG, TYLER                          YOUNG, VERONICA
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YOUNG, VICTORIA                      YOUNG, WILLIAM                        YOUNGBAUER, STEVE
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YOUNGBERG, CASSIE                    YOUNGBERG, SHAWN                      YOUNGBLOOD, AMIE
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YOUNGBLOOD, CAMILLE                  YOUNGBLOOD, CARL                      YOUNGBLOOD, HELOISE
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YOUNGBLOOD, RO                          YOUNGBLOOD, SARAH                        YOUNG-ELEAZAR, JESSICA
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YOUNGER, DIANE                          YOUNGER, EMILY                           YOUNGER, STACEY
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YOUNGER, WEAVER                         YOUNGHANS, ERIC                          YOUNG-HYMAN, TREVOR
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YOUNGMAN, ARIANA                        YOUNGMAN, ERIN                           YOUNGQUIST, ADAM
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YOUNGQUIST, STEFANI                     YOUNGREN, LATHA                          YOUNGS MARKET COMPANY LLC
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           94-501 KAU ST
                                                                                 WAIPAHU, HI 96797




YOUNGS MARKET COMPANY LLC               YOUNGS MARKET COMPANY LLC                YOUNGS MARKET HAWAII
C/O REPUBLIC NATL DISTRIBUTING CO LLC   C/O REPUBLIC NATL DISTRIBUTING CO LLC    94-501 KAU ST.
ATTN H ALAN ROSENBERG, GEN COUNSEL      ATTN PRESIDENT                           WAIPIO, HI 96797
1 NATIONAL DR                           809 JEFFERSON HWY
ATLANTA, GA 30336                       NEW ORLEANS, LA 70121



YOUNGS, DUSTIN                          YOUNGS, ERIN                             YOUNGSON, PAT
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST           ADDRESS AVAILABLE UPON REQUEST




YOUNGWIRTH, NICOLE                      YOUNIS, BASIM                            YOUNIS, JULIE
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YOUNIS, MARWA                           YOUNKEN, DENY                            YOUNKER, DIANE
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YOUNKER, MEGAN        Case 22-11238-LSS    Doc
                                     YOUNKER,   2 Filed 11/30/22
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                                                                             YOUNKINS, ROB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




YOUNT MILL VINEYARDS, INC            YOUNT, ALISON                           YOUNT, CHRISTINE
P.O. BOX 434                         ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
OAKVILLE, CA 94562




YOUNT, CINDY                         YOUNT, RAVEN                            YOUNT, SOPHIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




YOUNTS, DANA                         YOURBOXSOLUTION                         YOURISH, JENNA
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YOURKOWSKI, ASHLEY                   YOUSEF, FARZIN                          YOUSSEF, YOUSTINA
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YOUSSEFIA, JESSICA                   YOUST, JEREMY                           YOUTH, MARIA
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YOUTSOS, ALEXIS                      YOUWORKFORTHEM, INC                     YOVCHEVA, MAYA
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YOVINO, KELLY                        YOWEK, RAQUEL                           YPMA, JOE
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YRUETA, LESLIE                       YSABEL LLC                              YSLAS, STEPHEN
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YTKIN, MARJORIE                      YTTRI, MIMI                             YU BHIN CHANG
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YU BING YI            Case 22-11238-LSS     Doc 2 Filed 11/30/22
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                                                                           YU, ALFRED
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YU, ALICE                            YU, ANNIE                             YU, CHIEN
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YU, CHRIS                            YU, DAN                               YU, ESTELLA
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YU, JANE                             YU, JENNIE                            YU, MAY
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YU, QIAN                             YU, TENGYUAN                          YU, THUONG
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YU, VICTORIA                         YU, WAN-LING                          YU, WENFEI
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YU, YANCHEN                          YU, YANG                              YU, ZIYANG
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YUAN YUAN                            YUAN, AMBER                           YUAN, ASHLEY
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YUAN, GAOXIANG                       YUAN, HAN                             YUAN, JUSTIN
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YUAN, MONET                          YUAN, SANDY                           YUAN, VICTOR
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YUAN, XINTONG         Case 22-11238-LSS
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                                                                           YU-CROWLEY, ANGELITA
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YUCUS, EMMA                          YUDIN, JESSICA                         YUE, ARIEL
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YUE, GANG                            YUE, OCEANE                            YUE, STANLEY
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YUE, TANG                            YUELYS, JOANNA                         YUELYS, MARGARITE
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YUEN, JENNIE                         YUEN, JULIA                            YUEN, KENN
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YUEN, MELISSA-ANN                    YUFTCZAK, TARA                         YUHAS, ALLYSON
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YUIN-PRICKETT, AISLINN               YUKIYAMA, HIROSHI                      YULE, AMY
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YULE, CAITLYN                        YULE, JENNIFER                         YULIANTO, ELIZABETH
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YULIYA GALUSHKA                      YUMET, ANA                             YUMMY FOOD
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YUN MIN KANG                         YUND, BRIANNA                          YUNECKO, GEORGE
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YUNG, SHELLY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     YUNK, BRIANNE                    Page 5455 ofJESSICA
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YUNO, CARLTON                        YUPANGCO, LAUREN                      YUQI WANG
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YURAN, LIZZY                         YURASITS, LAUREN                      YURCHAK, AMY
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YURCHAK, ANDREA                      YURCHAK, JACLYN                       YURCIK, ROBERT
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YURESKO, ALAINA                      YURGEVICH, RENATA                     YURI CATALDO
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YURIANA, BELMONT,                    YURIK, MONICA                         YURIY MATVIYENKA
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YURKA, MIKE                          YURKSCHATT, KAITLYN                   YURMAN, KATHRYN
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YUSEN LOGISTICS (AMERICAS) INC       YUSEN LOGISTICS (AMERICAS) INC        YUSEN LOGISTICS (AMERICAS) INC
1900 CHARLES BRYAN RD 2ND FLOOR      300 LIGHTING WAY 6TH FLOOR            DEPT AT 952154
CORDOVA, TN 38016                    SECAUCUS, NJ 07094                    ATLANTA, GA 31192-2154




YUSKO, GINA                          YUST, MARIE                           YU-TING CHIEN
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YUTZY, JESSICA                       YUVARAJ, MONISHA                      YUVRAJSINH VAGHELA
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YVES HENRI SINNER     Case 22-11238-LSS
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YVONNE PURPORA                        YVONNE TNT PHOTOGRAPHY                  YVONNE, MISS
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Z LIFESTYLE LLC                       Z, DIANA                                Z, DR ARTHURINE
250 S. AUSTRALIAN AVENUE SUITE 1600   ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST
WEST PALM BEACH, FL 33401




Z, TRACY                              Z1967 LIMITED                           ZABALA VINEYARDS
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          39745 LOS COCHES RD
                                                                              SOLEDAD, CA 93960




ZABAR, ANN                            ZABAWA, STEVI                           ZABEL, C. MICHAEL
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST




ZABEL, DAVID                          ZABEL, KIM AND MATT                     ZABEL, MATT
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ZABEL, NYSSA                          ZABLACKAS, BILL                         ZABLOCKI, KATHERINE
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ZABON, LINDA                          ZABOW, BECCA                            ZABOWSKI, LAFE
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ZABRESKY, KARINA                      ZABROCKA, BETTY                         ZABRODSKY, KRISTY
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ZABROWSKI, KATE                       ZAC MUNCY                               ZACARIAS, MOISES
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ZACCAGNINI, ERICA     Case 22-11238-LSS    Doc
                                     ZACCARDI,   2 Filed 11/30/22
                                               JOSEPH                 Page 5457 of 5495
                                                                           ZACCARDI, KELEE
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ZACCARIA, SHANNON                    ZACEK, SHANA                           ZACH VITALE
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ZACH WILSON                          ZACH, JESSICA                          ZACHAR, LINDA
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ZACHARA, JOHN                        ZACHARCZYK, ANNNMARIE                  ZACHARIA-ALI JAMAL TURMININI
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ZACHARIAH, LEAH                      ZACHARIAS, ANGELA                      ZACHARY ADAMS
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ZACHARY AKER                         ZACHARY BARKER                         ZACHARY BREHM
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ZACHARY C THOMPSON                   ZACHARY DE RAAD                        ZACHARY DEN ADEL
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ZACHARY HORNE                        ZACHARY JOHNS                          ZACHARY KUTA
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ZACHARY LEE BREHM                    ZACHARY MORITZ                         ZACHARY RYAN LOVATO
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ZACHARY UMETANI                      ZACHARY WEISS EISENBERG                ZACHARY WILSON
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ZACHARY WILSON        Case 22-11238-LSS    Doc
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                                             ZWEIG                    Page 5458 of 5495
                                                                           ZACHARY, ANITA
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ZACHARY, CHRISTOPHER                 ZACHARY, HEATHER                      ZACHARY, S
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ZACHARY, SHELLE                      ZACHENSKY, KATIE                      ZACHER, HEIDI
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ZACHER, SAMANTHA                     ZACK, BRITTNEY                        ZACK, TIM
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ZACKOWSKI, ALEXA                     ZACKOWSKI, WILLIAM                    ZACUTO
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ZACZEK, ELIZABETH                    ZACZYK, ANDREA                        ZADE, VICTORIA
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ZADEL, JENNIFER                      ZADIE, MOOJ                           ZADRAN, ZULAIKHA
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ZADRIMA, ERIN                        ZADROZNY, APRIL                       ZADROZNY, GINA
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ZAFFERANI, MICHELA                   ZAFFORONI, GRETA                      ZAFFUTO, CHERYL
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ZAFIR, LINDSA                        ZAGAJA, GRACE                         ZAGALIS, NICK
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ZAGARI, NATALIE       Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ZAGEL, ELIZABETH                 Page 5459
                                                                           ZAGER,of 5495
                                                                                 ELIZABETH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZAGER, RACHEL                        ZAGORAC, GRADY                        ZAGYI, KRISZTINA
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ZAHARIS, LIZ                         ZAHARKO, MANYA                        ZAHID, CHRISTINA
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ZAHKA, FRANCES                       ZAHN FINANCIAL LLC                    ZAHN, ALLISON
ADDRESS AVAILABLE UPON REQUEST       1310 BROADRIDGE DR                    ADDRESS AVAILABLE UPON REQUEST
                                     EAGLE MOUNTAIN, UT 63755




ZAHN, BRIDGET                        ZAHN, ERIN                            ZAHN, KIMBERLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZAHN, LEIGH                          ZAHN, LORI                            ZAHN, NICOLE
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ZAHNER, MELISSA                      ZAHNER, RICARA                        ZAHORBENSKI, JENNIFER
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ZAHORSKY, MEEGHAN                    ZAHTILA, JOSEPH                       ZAIFF, BROOKE
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ZAIMAN, GRACE                        ZAINAB ALI                            ZAINAB B ADIO-SAKA
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ZAINAH, HANADY                       ZAINAL, IDHAM                         ZAINO, NICOLE
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ZAINO, RICHARD        Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ZAISS, TYLER                     Page 5460
                                                                           ZAJAC, of 5495
                                                                                  ALEXANDRA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZAJAC, ALEXANDRA                     ZAJAC, ERIN                            ZAJAC, JASON
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ZAJAC, KATHERINE                     ZAJACZKOWSKI, LAUREN                   ZAJKOWSKI, GLORIA
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ZAK, ANGIE                           ZAK, ELIZABETH                         ZAKARIAN, ARA
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ZAKARIN, RUTH                        ZAKERY, GEORGENE                       ZAKHARCHUCK, YEVGENIYA
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ZAKHARENKO, OLGA                     ZAKHARY, SUZAN                         ZAKIYA DIXON
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ZAKOSCIELNA, KAROLINA                ZAKOVERYA, YULIA                       ZAKRAJSEK, JESSICA
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ZAKRISON, TANYA                      ZAKRZEWSKI, JACOB                      ZAKS, ADAM
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ZALABAK, ASHLEIGH                    ZALABOWSKI, RAY                        ZALANGA, PATIENCE
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ZALANTS, VALEN                       ZALAR, ERICA                           ZALASKI, SUSAN
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ZALDIVAR, SYLVIA      Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ZALE, CORY                       Page 5461   of 5495
                                                                           ZALE, CORY
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ZALENKO, LISA                        ZALENSKI, EMILY                       ZALENSKI, MARGARET
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ZALESKI, KERRY                       ZALESKI, MAGGIE                       ZALESKI, SAMANTHA
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ZALEWA, WANDA                        ZALEWSKI, CHRISTOPHER                 ZALEY, PAMELA
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ZALIHA, DANIELLE & DANI              ZALISK, RACHEL                        ZALLA, CAROLINE
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ZALLES, LAURA                        ZALMAI, NATALIE                       ZALUD, LAWRENCE
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ZALUDEK, MICHELLE                    ZAMA, ELENA                           ZAMANI, MAXX
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ZAMANIAN, CAMERON                    ZAMARELLI, JOY P                      ZAMARRON, MARELY
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ZAMARRON, VALERIA                    ZAMBO, ROBERT                         ZAMBONE, ALANA
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ZAMBONE, JENNIFER                    ZAMBRANA, DARWIN                      ZAMBRANA, DIANA
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ZAMBRANO, DIKRA       Case 22-11238-LSS    DocMICHELLE
                                     ZAMBRANO,  2 Filed 11/30/22      Page 5462 of 5495
                                                                           ZAMBROTTA, LINDSAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZAMEK, ERIKA                         ZAMILPA, SASHA                         ZAMIRA, ALIDA
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ZAMIROUSKAYA, TATSIANA               ZAMIS, AMANDA                          ZAMLICH, AMBER
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ZAMMIT, CHARLES                      ZAMMITTI, KELLY                        ZAMOLODCHIKOV, BORIS
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ZAMOR, MARIE                         ZAMORA, ADELINE                        ZAMORA, ALONDRA
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ZAMORA, BLADIR                       ZAMORA, CATHERINE                      ZAMORA, CHELSEA
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ZAMORA, CRISTINA                     ZAMORA, DEANNA                         ZAMORA, DEVON
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ZAMORA, ELIZABETH                    ZAMORA, EMMANUEL                       ZAMORA, EMMANUEL
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ZAMORA, ERIN                         ZAMORA, GABRIELA                       ZAMORA, JASMIN
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ZAMORA, JAVIER                       ZAMORA, LAURA                          ZAMORA, LISA
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ZAMORA, MADELIN       Case 22-11238-LSS    Doc
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                                                                           ZAMORA, 5495
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ZAMORA, OMARIS                       ZAMORA, SONIA                         ZAMORANO, ERICA
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ZAMORANO, NICOLE                     ZAMORA-WILLIAMS, MIRANDA              ZAMPI, ALESSANDRO
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ZAMPI, NICOLE                        ZAMPINO, JENNIFER                     ZAMUDIO, ALYSSA
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ZANCHUK, REBECCA                     ZANDER, ADAM                          ZANDER, MARIANA
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ZANDERS, EMILIE                      ZANDVLIET, ROSANNE                    ZANEDIS, MATTHEW
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ZANELLA-LITKE, CATHERINE             ZANELLI, EMILIA                       ZANETICH, THOMAS
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ZANETTI, REBECCA                     ZANEY, JACK                           ZANG, HANNAH
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ZANGER, NINA                         ZANGUI, MAHTAB                        ZANIC-ALCALDE, JACQUELYN
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ZANIDES, ASHLEY                      ZANINOVICH, KIM                       ZANJANI, JANICE
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ZANJANIAN, SHERWIN    Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ZANK, CHRYSTAL                      Page 5464   of 5495
                                                                              ZANK, JANE
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ZANKO, MARCIA                           ZANN, ROBERT                          ZANNETTI, MARY
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ZANOFF, MARIA                           ZANON, VICKY                          ZANONI, MARK
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ZANOTELLI, LAUREN                       ZANOTTI, CLAUDIA                      ZANT, KATE
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ZANTO, MANDI                            ZAPAKIN, ALLIE                        ZAPALAC, KIM
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ZAPATA RAMIREZ, MARIANA                 ZAPATA, ALFONSO                       ZAPATA, ALYSSA
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ZAPATA, CORAL                           ZAPATA, ELIZABETH                     ZAPATA, ESTEBAN
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ZAPATA, HAILEE                          ZAPATA, OLGA                          ZAPATA, STEFANIA
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ZAPATA, TIFFANY                         ZAPF, KAYLEIGH                        ZAPIECKI, ADAM
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ZAPIER                                  ZAPPA, ALEXANDRA                      ZAPPIA, LAUREN
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ZAPPOS INSIGHT        Case 22-11238-LSS     DocJACKIE
                                      ZAPRZALKA, 2 Filed 11/30/22      Page 5465  of 5495
                                                                            ZARA CHAMPS ELYSEES
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ZARAGOZA, JAIME                       ZARATE, CHERYL                        ZARAZUA, LEONEL
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ZARBAF, MONIQUE                       ZARCARO, NATHAN                       ZARCHAN, EVAN
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZARCONE, JACQUELINE                   ZAREEFA FLENER                        ZAREMBA, LORI
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ZAREMBA, PAIGE                        ZAREMBA, SUSAN                        ZARGHAM, GABRIELLA
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ZARGO, MAURA                          ZARIANOVA, ANNA                       ZARICK, ANDREW
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ZARIN, MATT                           ZARIN, MILEEN                         ZARKIN, DOUG
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ZARLE, KARA                           ZARLENGO, KRISTINA                    ZARLINSKI, RACHAEL
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ZARN, MELISSA                         ZARNFALLER, STEVEN                    ZAROUK, BENJAMIN
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ZARRABAL, MAYRA                       ZARRILLI, MICHELE                     ZARRINKHAT, AUDREY
ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ZARROW, AMY           Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ZARUTSKIE, HOLLY                     ZARZECKI, BRIAN                       ZARZYCKA, KATIE
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ZASADA, MEGHAN                       ZASADNY, JILL                         ZASIL ZEPEDA
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ZASLAV, PHOEBE                       ZASLOFSKY, BARBARA                    ZASTROW, CLETE
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ZASTROW, MARK                        ZASTUDIL, CYNTHIA                     ZATKOVICH, SARAH
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ZATTERSTROM, EMILY                   ZATUCHNI, ROBIN                       ZATZ, GLEN
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ZAUBER, KELLY                        ZAUCHA, PATRICIA                      ZAUCHE, ALEXANDRA
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ZAUGG, TARA                          ZAUNBRECHER, NICOLE                   ZAUNER, RACHEL
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ZAVADA, MIKE                         ZAVALA, ANDREA                        ZAVALA, BIANCA
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ZAVALA, CRYSTAL                      ZAVALA, EDITH                         ZAVALA, FRANK
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ZAVALA, GEORGE        Case 22-11238-LSS
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ZAVALA, VALENTINA                    ZAVALA-GARCIA, LOURDES                ZAVALETA, LAUREN
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ZAVATSKY, ELLEN                      ZAVATTERO, HOLLY                      ZAVERI, ADITI
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ZAVODNYIK, MARK                      ZAVORAL, JIM                          ZAVORKA, TESSA
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ZAVORSKAS, NATALIE                   ZAVORSKI, RACHEL                      ZAW MIN OO
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ZAW, FRED                            ZAWACKI, ZOE                          ZAWADA, ALEXANDRA
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ZAWADSKI, MARY LEE                   ZAWORSKI, CATHERINE                   ZAYAS, CARY
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ZAYAS, JESSENIA                      ZAYAS, KARA                           ZAYAS, LISSETTE
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ZAYAS, ROSA                          ZAYAS-BAZAN, DELAINE                  ZAYCHENKO, ANNA
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ZAYTOUN, MARY MARTHA                 ZAZA, DEVON                           ZAZZARO, VERONICA
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ZAZZLE                Case 22-11238-LSS      Doc
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                                                                              ZBORALSKE, AMY
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ZBORIL, EMILY                           ZBRANEK, LYNA                         ZBRZESKI, MALGORZATA
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ZBYTNIEWSKI, BROOKE                     ZDATNY, ISABELLE                      ZDINAK, PAUL
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ZDROYKOWSKI, BETSY                      ZDUN, LINDSAY                         ZDUNCZYK, GALE
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ZDUNIAK, MARIUSZ                        ZEA, MICHELLE                         ZEAGLER, JEFF
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ZEARFOSS, KRISTEN                       ZEBULSKE, MICHAEL                     ZECCHINI, THOMAS
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ZECH WARD                               ZECH, MAUREEN                         ZECH, OLIVIA
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ZECHELLO, KRISTEN                       ZECHES, MELISSA                       ZECK, PAIGE
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ZEDAR, ANNA                             ZEDICK, MARK                          ZEDOSKY, JAMES
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ZEE, JADE                               ZEE, KATIE                            ZEFFIRO, JESSICA
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ZEGA, CHRIS           Case 22-11238-LSS    Doc
                                     ZEGARRA,   2 Filed 11/30/22
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                                                                           ZEH COLLINS, SUSAN M
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZEH, LYDIA                           ZEHENTBAUER, ELAINA                    ZEHENTBAUER, VINCENT
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ZEHER, REBECCA                       ZEHNBAUER, DONNA                       ZEHNDER, AMANDA
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ZEHNDER, ANNA                        ZEHR, COLLEEN                          ZEHR, SAMARA
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ZEHREN, CORTNEY                      ZEHTABAN, AMIN                         ZEID, KATHERYN
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ZEIDERS, JODI                        ZEIDLER, CLAUDIA                       ZEIDLER, KATHERINE
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ZEIDLER, LYNNE                       ZEIDLER, SARI                          ZEIER, JULIE
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ZEIGLER, AMANDA                      ZEIGLER, CLAIRE                        ZEIGLER, DANIELLE
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ZEIGLER, KELLY                       ZEIGLER, KRISTEN                       ZEIGLER, LAUREN
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ZEIGLER, MACHAEL                     ZEIGLER, TERESA                        ZEIGLER, ZACHARY
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ZEIMET, CAROLINE      Case 22-11238-LSS     Doc
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ZEISES, RICH                         ZEITEL, AMANDA                         ZEITZ, JULIE
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ZEKO, LUNGOWE                        ZEKOFF, JEFF                           ZEKONIS, EMILY
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ZELASKO, MEGAN                       ZELAYA, ELISEO                         ZELAZNY, ELISE
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ZELCER, ALEXANDRA                    ZELCER, JULIE                          ZELCH, ERIN
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ZELEEN ROBINSON                      ZELENKA, EMILY                         ZELENKA, ERIC
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ZELENSKIY, VITALIY                   ZELENYK, EUGENE                        ZELEZNAK, JOHN
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ZELFEL, SAMANTHA                     ZELHART, KOURTNEY                      ZELIGZON, BRIELLE
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ZELINSKI, DANIEL                     ZELINSKY, MARY                         ZELKIND, ZOYA
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ZELKO, RANDALL                       ZELL, BRIANNA                          ZELL, JESSICA
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ZELL, KIRSTIN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ZELLER, ALEXA                           ZELLER, ED                            ZELLER, JUDITH
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ZELLER, KRISTIN                         ZELLER, NATOSHIA                      ZELLER, SYDNEY
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ZELLEY, BARBARA                         ZELLMAN, EUGENE                       ZELLMAN, JACQUELINE
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ZELLMAN, JUNE                           ZELLMER, CATIE                        ZELLMER, LACEY
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ZELLNER, ANN                            ZELM, ROB                             ZELNAR, ROYCE
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ZELNOSKY, KRISTEN                       ZELT, LAUREN                          ZEMAITAITIS, ZIVILE
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ZEMAITIS, SANDRA                        ZEMBOWER, DENNIS                      ZEMEN, CAROL
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ZEMLACHENKO, EMILY                      ZENDA-JOHNSON, KATARINA               ZENDEJAS, VALERIE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZENDESK TALK                            ZENDESK, INC                          ZENERT, MAGGIE
ADDRESS UNAVAILABLE AT TIME OF FILING   1019 MARKET STREET                    ADDRESS AVAILABLE UPON REQUEST
                                        SAN FRANCISCO, CA 94103
ZENES, KERRY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ZENG, KAREN                         Page 5472   of 5495
                                                                              ZENG, LIUCHUNLIN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST            ADDRESS AVAILABLE UPON REQUEST




ZENG, LUSHI                             ZENG, YUZHANG                          ZENG, ZOE
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZENHUB                                  ZENITH INSURANCE COMPANY               ZENK, DEREK
ADDRESS UNAVAILABLE AT TIME OF FILING   21255 CALIFA STREET                    ADDRESS AVAILABLE UPON REQUEST
                                        WOODLAND HILLS, CA 91367




ZENK, MELISSA                           ZENKER, GLENN                          ZENNA, WANG,
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZENNAMO, JOSEPH                         ZENO, EBONYE                           ZENO, TIFFANY
ADDRESS AVAILABLE UPON REQUEST          ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZENOBI, SHELBY                          ZENOBIA WALJI                          ZENOBIA, ELLEN
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ZENOR, ADAM                             ZENSEN, CARLA                          ZENTELIS, ENID
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ZENTENO, ISABELLA                       ZENTGRAF, JANAY                        ZENTGRAF, KATRINA
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ZENTKO, KERI                            ZENTNER, LEONA                         ZEOLI, DONNA
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ZEOLLA, ERIC                            ZEPEDA, ALEXA                          ZEPEDA, FERNANDO
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ZEPEDA, MILY          Case 22-11238-LSS     Doc
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZEPHIRIN, ASA-MARI                   ZEPHYR EXPRESS                         ZEPHYR EXPRESS
ADDRESS AVAILABLE UPON REQUEST       4325 INDUSTRIAL WAY                    PO BOX 844251
                                     BENICIA, CA 94510                      LOS ANGELES, CA 90084-4251




ZEPHYR, TRICIA                       ZEPP, ERICA                            ZEPP, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZEPPENFELD, KATHLEEN                 ZEPPENFELD, NATALIE                    ZEPPIERI, CARMINE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZEPSA, PETER                         ZERAFA, MICHELE                        ZERANTE, NORA
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ZERANTE, SYDNEY                      ZERBABIEL, SESINOS                     ZERBINI, ANDREA
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ZERBY, JACOB                         ZERCK, KAYLA                           ZERCOE, MARCIA
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ZEREN, SHARON                        ZERILLA, RACHEL                        ZERILLE, KATHERINE
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ZERINGER, LINDA                      ZERINGUE, BAYLEE                       ZERINGUE, RHONDA
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ZERMENO, AITANA                      ZERNO, JANET                           ZERO ZERO
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ZERO, SARAH           Case 22-11238-LSS      DocINC
                                     ZEROCATER,   2 Filed 11/30/22    Page 5474   of 5495
                                                                           ZERR, GERALD
ADDRESS AVAILABLE UPON REQUEST       115 STILLMAN ST.                      ADDRESS AVAILABLE UPON REQUEST
                                     SAN FRANCISCO, CA 94107




ZERTUCHE, MARINA                     ZERVOS, BRITTANY                      ZERZAN, BARBARA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZESKIND, MIRIAM                      ZEST CATERING, SHAWN CAMPBELL         ZETINA, FABIAN
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ZETINA, WHITLEY                      ZETLIN, JULIE                         ZETTERBAUM, MARK
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ZETTERLIND, VIRGIL                   ZETTLE, AMY                           ZETTLE, CHUCK
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ZETTLER, JOAN                        ZETTLER, LINDA                        ZETTWOCH, LAURIE
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ZEUNER, LINDSI                       ZEVALLOS, LYDIA                       ZEVENBERGEN, LINDSEY
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ZEWE, COLLEEN                        ZEWE, JOSEPH                          ZEZZA, SARA
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ZHAI, JUANNA                         ZHAN, FANGJING                        ZHANEL, HANNAH
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ZHANG / GD, CHRISTINE                ZHANG, AIYING                         ZHANG, ALEX ZHIWEI
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ZHANG, ANQI                          ZHANG, BILLY                          ZHANG, CHI
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ZHANG, DAVID                         ZHANG, DORIS                          ZHANG, DORIS
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ZHANG, ED                            ZHANG, EILEEN                         ZHANG, FENG
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ZHANG, GLORIA                        ZHANG, HAONAN                         ZHANG, HEATHER
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ZHANG, HELANA                        ZHANG, HELENA                         ZHANG, HUIZI
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ZHANG, JACKIE                        ZHANG, JERRY                          ZHANG, JESSICA
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ZHANG, JIE                           ZHANG, JING                           ZHANG, JUDY
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ZHANG, JUSTIN                        ZHANG, KAO                            ZHANG, KARY
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ZHANG, KATHERINE                     ZHANG, LIMEI                          ZHANG, LINDSEY
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ZHANG, LISA           Case 22-11238-LSS
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ZHANG, MELISSA                       ZHANG, MICHELLE                       ZHANG, MINGZE
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ZHANG, NEIL                          ZHANG, PATRICK                        ZHANG, QIN
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ZHANG, QINGYUE                       ZHANG, RICHARD                        ZHANG, RUIWEI
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ZHANG, RUIWEN                        ZHANG, RUIXUE                         ZHANG, SHISHUANG
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ZHANG, SHIWEI                        ZHANG, SINA                           ZHANG, SIYU
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ZHANG, TENNY                         ZHANG, WANCHEN                        ZHANG, WENJIN
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ZHANG, XINGYUE                       ZHANG, YAOHUA                         ZHANG, YIYUE
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ZHANG, YOU                           ZHANG, ZHENNING                       ZHANG, ZIYI
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ZHAO, ANNA                           ZHAO, CHRISTINA                       ZHAO, EMILY
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ZHAO, LINXIAO         Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ZHAO, RACHEL                     Page 5477  of 5495
                                                                           ZHAO, SHANNON
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ZHAO, TONGJIE                        ZHAO, WENLONG                         ZHAO, WILSON
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ZHAO, XIANGZHEN                      ZHAO, YUECHEN                         ZHAO, YUFEN
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ZHAO, ZIDONG                         ZHE, ELIZABETH                        ZHEN YANG
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ZHEN, ZIXUAN                         ZHENG, AMY                            ZHENG, BRANDON
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ZHENG, JIN                           ZHENG, KAREN                          ZHENG, LIHUA
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ZHENG, MEIXIAN                       ZHENG, MIN                            ZHENG, VINKY
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ZHENNING ZHANG                       ZHENYU TENG                           ZHOU, GRACE
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ZHOU, HARLEY                         ZHOU, HENGYI                          ZHOU, JIE
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ZHOU, JUNPEI                         ZHOU, KENNY                           ZHOU, MAY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ZHOU, MENGHE          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ZHOU, MUNI                       Page 5478  of 5495
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZHOU, RUI                            ZHOU, STACEY                          ZHOU, TAO
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ZHOU, XIAORONG                       ZHOU, YAN                             ZHOU, YINGXUE
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ZHU, ALEXANDER                       ZHU, ISABEL                           ZHU, JANE
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ZHU, JIE                             ZHU, JINGLY                           ZHU, LI
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ZHU, SIQI                            ZHU, STEPHEN                          ZHU, YILE
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ZHU, ZIYE                            ZHUBI, ERANDA                         ZHUO, XUEQIN
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ZHURAVLEV, PAVEL                     ZHURDA, EDLIRA                        ZI JUN DOMINIC FEI
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ZIA, SEAN                            ZIATS, MARK                           ZIC, LAURIE
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ZICCARELLI, NICOLE                   ZICK-CASTRO, EMILY                    ZICKEFOOSE, NANCY
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ZICKER, ALLYSON       Case 22-11238-LSS
                                     ZICKER, Doc 2 Filed 11/30/22
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ZICKERT, NICOLE                      ZICKLER, ERIN                         ZICKWOLF, KAYLEE
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ZIDAR, CATHERINE                     ZIDAR, KAITLIN                        ZIDE, JORDAN
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ZIDE, MERIDETH                       ZIDZIK, COLLETTE                      ZIE OUATTARA
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ZIEBART, JUDI                        ZIEBEL, ELIZABETH                     ZIEBEL, ZACHARY
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ZIECIK, COOPER                       ZIEGELMAN, ASHLEY                     ZIEGENBEIN, AMANDA
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ZIEGENBEIN, LAUREN                   ZIEGENFUS, BETH                       ZIEGENFUSS, GREGORY
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ZIEGERT, ERICA                       ZIEGLER, ALLISON                      ZIEGLER, CELIA
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ZIEGLER, CHRIS                       ZIEGLER, CORONDA                      ZIEGLER, HAYLEY
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ZIEGLER, JESSICA                     ZIEGLER, KATHY                        ZIEGLER, LAURA
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ZIEGLER, MACKENZIE    Case 22-11238-LSS     Doc
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ZIEGLER, MICHELE                     ZIEGLER, SHERRY                       ZIEHNERT, RACHEL
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ZIELAZNICKI, KAITLIN                 ZIELEWICZ, ELIZABETH                  ZIELINSKI, KAITLYN
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ZIELINSKI, KATHLEEN                  ZIELINSKI, STEPHANIE                  ZIELINSKI, THOMAS
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ZIELINSKI, TIMOTHY                   ZIELKE, SARAH                         ZIELONKA, WENDY
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ZIELS, SOPHIE                        ZIELSKE, ELIZABETH                    ZIEMAK, MERRI
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ZIEMANN, ELIZABETH                   ZIEMBA, DONNA                         ZIEMBA, LAUREN
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ZIEMER, CLINT                        ZIEMER, JUSTINE                       ZIEMINICK, JENNIFER
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ZIEMLAK, NICOLE                      ZIER, WESTON                          ZIERDEN, MATTHEW
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ZIERER, MATT                         ZIERING, JAKE                         ZIERMANN, BRENNA
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ZIESING, WHITNEY      Case 22-11238-LSS
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ZIETARA, JOANNA                      ZIETSMAN, MICHAEL                      ZIEVE, HILLARY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZIFCAK, CHRISTINA                    ZIFF DAVIS, LLC                        ZIFF DAVIS, LLC
ADDRESS AVAILABLE UPON REQUEST       28 EAST 28TH STREET 11TH FLOOR         P.O. BOX 415433
                                     NEW YORK, NY 10016                     BOSTON, MA 02241-5433




ZIFF, ABIGAIL                        ZIFKIN-SWETT, GABRIELLE                ZIGLER, DEBORAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST




ZIHLMAN, LACY                        ZILA, JEN                              ZILBERBERG, MORIA
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ZILBERMAN, MICHAEL                   ZILIC, MARETTA                         ZILINSKI, NATALYA
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ZILINSKI, STEPHANIE                  ZILIOX, EMILY                          ZILKA, DAVID
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ZILKA, NINA                          ZILLA-BA, ROSE                         ZILLI, STEPHANIE
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ZILLIONAIRE INVESTMENT CLUB LLC      ZILLIOUX, CHAD                         ZILLIOX, KIM
2707 E SHAW BUTTE DRIVE              ADDRESS AVAILABLE UPON REQUEST         ADDRESS AVAILABLE UPON REQUEST
WHITEFISH, MT 85028




ZILLMER, SHERI                       ZIMAN, CECELIA                         ZIMAROWSKI, CLAUDIA
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ZIMBELMAN, ROBERT     Case 22-11238-LSS    Doc
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ZIMDARS, NICHOLL                     ZIMERMAN, DANIEL                      ZIMLICH, JESS
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ZIMMEL, KATHERINE                    ZIMMER, AUSTIN                        ZIMMER, ERIC
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ZIMMER, ERIC                         ZIMMER, JEFF                          ZIMMER, KATELYN
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ZIMMER, LORA                         ZIMMER, MARK                          ZIMMER, PAUL
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ZIMMER, RYAN                         ZIMMER, RYAN                          ZIMMER, SAMI
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ZIMMER, SEAN                         ZIMMER, TERRY                         ZIMMERER, MELINDA
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ZIMMERLY, GEOFFREY                   ZIMMERLY, JOSH                        ZIMMERMAN, ABIGAIL
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ZIMMERMAN, ANGELA                    ZIMMERMAN, ANNIE                      ZIMMERMAN, APRIL
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ZIMMERMAN, ARRON                     ZIMMERMAN, AUDREY                     ZIMMERMAN, AVA
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ZIMMERMAN, BARBARA    Case 22-11238-LSS    DocBRIANNE
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ZIMMERMAN, CHRISTINA                 ZIMMERMAN, CINDY                       ZIMMERMAN, CORRIN
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ZIMMERMAN, DANIELLE                  ZIMMERMAN, DARNELLE                    ZIMMERMAN, DENNIS
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ZIMMERMAN, ELIZABETH                 ZIMMERMAN, EMILY                       ZIMMERMAN, EMILY
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ZIMMERMAN, GREGORY                   ZIMMERMAN, GRETA                       ZIMMERMAN, HANNAH
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ZIMMERMAN, HERB                      ZIMMERMAN, JASON                       ZIMMERMAN, JEFF
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ZIMMERMAN, JEREMY                    ZIMMERMAN, JONATHAN                    ZIMMERMAN, JONI
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ZIMMERMAN, KATHRYN                   ZIMMERMAN, KATIE                       ZIMMERMAN, KIRA
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ZIMMERMAN, KYLE                      ZIMMERMAN, LAURIE                      ZIMMERMAN, LINDSEY
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ZIMMERMAN, MAUREEN                   ZIMMERMAN, MICHAEL                     ZIMMERMAN, NICOLETTE
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ZIMMERMAN, OLIVIA     Case 22-11238-LSS    DocPATRICIA
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                                                                           ZIMMERMAN, RILEY
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ZIMMERMAN, SABRINA                   ZIMMERMAN, SAMANTHA                    ZIMMERMAN, SARAH
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ZIMMERMAN, SCOTT                     ZIMMERMAN, STEFANIA                    ZIMMERMAN, TAMMY
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ZIMMERMAN, TARA                      ZIMMERMAN, VERA                        ZIMMERMAN, VICKTERY
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ZIMMERMAN, VICTORIA                  ZIMMERMAN, ZACH                        ZIMMERMAN-DUNNETT, GRETCHEN
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ZIMMERMANN, ALEXA                    ZIMMERMANN, HIEDI                      ZIMMERMANN, KARA
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ZIMMERMANN, LILY                     ZIMMERMANN, LYNN                       ZIMMERMANN, ROBERT
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ZIMMERMANN, SULINA                   ZIMMERMANN, TRACY                      ZIMMET, CAROLINE
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ZIMMET, MARISSA                      ZIMNOCH, POLLEY                        ZIMO, JESSICA
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ZIMPRICH, KIM                        ZIMPRICH, ROB                          ZINCHUK, SAMANTHA
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ZINDEL, ALEX          Case 22-11238-LSS      Doc 2 Filed 11/30/22
                                     ZINES, DELANEY                   Page 5485  of 5495
                                                                           ZINGARELLI, MARIAH
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ZINGRAF, LYNN                        ZINICOLA, SILVIO                       ZINK, ALYSSA
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ZINK, AMANDA                         ZINK, KENTON                           ZINK, STEPHANIE L
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ZINK, TAMMY                          ZINKE, LAURYN                          ZINKE, SIERRA
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ZINKOW, MAYA                         ZINKOW, YAEL                           ZINN, ANDREW
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ZINNA, KRISTINE                      ZINN-DISAVINO, NANCY                   ZINNEL, SAMANTHA
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ZINNEL, WILLIAM                      ZINNER, KIM                            ZINNGRABE, MADELINE
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ZINNI, EMALIE                        ZINNO, LISA                            ZINQUE
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ZINTSMASTER, MELANIE                 ZINTZ, SCOTT                           ZIOBRO, RICHARD
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ZIOGAS, ANGELA                       ZIOLKO, JACLYN                         ZIOLKOWSKI, LINDA
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ZIOLKOWSKI, SHARON    Case 22-11238-LSS    Doc 2
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ZIONS C/O FURTSCH, BERNARD           ZIOUANI, LAURA                        ZIPFWORKS INC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1601 CLOVERFIELD BLVD STE 1050N
                                                                           SANTA MONICA, CA 90404




ZIPPERER, WILL                       ZIPPORAH BURMAN                       ZIRBES, CLAIRE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZIRKELBACH, LIZ                      ZIRKLE, BRIAN                         ZIRKLE, ELIZABETH
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ZIRKLE, SUSAN                        ZIRKLE, WALTER                        ZIRKO, MARGARET
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ZIRPOLO, MATT                        ZISKA, CASSAUNDRA                     ZISLER, JENNIFER
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ZISSIS, KATIE                        ZITELLI, CAMILA                       ZITER, SUSAN
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ZITKO, PEG                           ZITNER, MARCI                         ZITO, CHRISTINA
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ZITO, DANIEL                         ZITO, DEREK                           ZITO, DIANA
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ZITO, ENI                            ZITO, ERIK                            ZITO, LAURA
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ZITOMER, MICHAEL      Case 22-11238-LSS
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ZITZ, JOSEPH                         ZITZKE, DEBBIE                        ZIVIELLO, JUDY
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ZIVNEY, MCKENNLEY                    ZIZELMANN, JON                        ZIZUMBO, KARINA
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ZIZZA, AMANDA                        ZIZZO, MIKE                           ZIZZO, STEPHANIE
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ZLATANOFF, GABRIELLA                 ZLATOS, JACKIE                        ZMIGRODSKI, AUDRA
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ZMIJEWSKI, MARY                      ZMIKLY, ADAM                          ZMODDYNAMICS LLC
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        28210 EMERALD CREEK LN
                                                                           FULSHEAR, TX 77441




ZMOLEK, LINCOLN                      ZMOLIK, ASHLEY                        ZNACHKO, SEAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOA, CHRISTELLE                      ZOAS, MARIA                           ZOBACK, MARK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOBEL, BLAIR                         ZOBIAN, SHIRLEYANN M.                 ZOCCHI, JESSICA
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ZOCCHIA, TIFFANY                     ZOCH, KAREN                           ZOCH, MAUREEN
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ZOCH, MAUREEN         Case 22-11238-LSS     Doc 2 Filed 11/30/22
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ZOELLNER, ALYSSA                     ZOELLNER, ANDREA                      ZOELLNER, CASSIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOEPHEL, MELINDA                     ZOFCIN, DEBBIE                        ZOGAL, STEPHANIE
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ZOGAS, JASMINE                       ZOGHBY, CAITLIN                       ZOHA, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOIA, ABBY                           ZOIS, MICHELLE                        ZOKY, RACHEL
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOLA, INC.                           ZOLA, JANET                           ZOLA, SAMMI
150 BROADWAY FLOOR 19                ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
NEW YORK, NY 10038




ZOLET, MORRIS                        ZOLLARS, KRISTY                       ZOLLER, KAITLYNN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOLLINGER, BROOKE                    ZOLLINGER, COURTNEY                   ZOLLO, MOLLY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOLMAN, DR. JENNIFER                 ZOLNA, JUSTINE                        ZOLNER, SHIRLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOLNO, ALLISON                       ZOLNOWSKI, IAN                        ZOLOTNITSKY, DANIELLE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ZOLTAK, HEATHER       Case 22-11238-LSS
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOMPERO ARAUJO, MARIANA              ZONA, ANA                             ZONA, DEREK
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZONA, KATE                           ZONA, NICOLE                          ZONDAG, MARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZONDER, STU                          ZONIN, ARTHUR                         ZOOK-HOWELL, DENA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOOM INFORMATION INC.                ZOOM                                  ZORI BISTRO
307 WAVERLY OAKS ROAD, SUITE 405     55 ALMADEN BLVD., 6TH FLOOR           ADDRESS UNAVAILABLE AT TIME OF FILING
WALTHAM, MA 02452                    SAN JOSE, CA 95113




ZORKO, LAURA                         ZORMAN, CHRIS                         ZORN, DAVID
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZORN, HALEIGH                        ZORNES, JEANNIE                       ZOROMSKI, MCKAYLA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZORRILLA, JUAN                       ZORRILLA, YEXENIA                     ZOTOVICH WINE ENTERPRISES
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        1201 DOVE STREET 650
                                                                           NEWPORT BEACH, CA 92660




ZOTOVICH, RYAN D.                    ZOTT, AUBREY                          ZOTTS, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZOU, EVAN                            ZOU, IRENE                            ZOU, XIAOGUANG
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ZOZAYA, KALLEEN       Case 22-11238-LSS      Doc 2 Filed 11/30/22
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ZSCHIESCHE, EMILY                    ZSCHOCHED, DRAKEH                     ZSOLT SZALKAI
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ZSULA, MARIA                         ZSUPPON, JACOB                        ZUA, MENE
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ZUANICH, KALIE                       ZUARO, LISA                           ZUBA, SAMANTHA
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ZUBAER MALIK                         ZUBAH, RAM                            ZUBAK, MARILYN
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ZUBAUGH, ALYCIA                      ZUBCHEVICH, MARY                      ZUBEL, BAILY
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ZUBER, ADAM                          ZUBER, AMBER                          ZUBER, ELIZABETH
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ZUBER, PAM                           ZUBER, SAMIA                          ZUBIATE, PHILLIP
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ZUBKOW, SARAH                        ZUBLICK, JUSTIN                       ZUCAL, LINDA
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ZUCATTI, MARGARET                    ZUCCARELLO, CALLAWAY                  ZUCCARO, JENNIFER
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ZUCCARO, MARY         Case 22-11238-LSS
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ZUCKER, CHRISTINE                    ZUCKER, DANIEL                        ZUCKER, JONATHAN
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ZUCKER, LAURA                        ZUCKER, LEWIS                         ZUCKER, SHIRA
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ZUCKERMAN, ABE                       ZUCKERMAN, COREY                      ZUCKERMAN, DONNA
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ZUCKERMAN, ESTHER                    ZUER, JULIE                           ZUERCHER, GREG
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ZUFALL, ALISA                        ZUFELT, KAT                           ZUG, CLAY
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ZUGAI, OLIVIA                        ZUGEL, EDEN                           ZUGGER, KELLIE
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ZUHN, LISA                           ZUIDEMA, LINDSAY                      ZUK, ANNE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUKAUF, ELIZABETH                    ZUKER, JANA                           ZUKOWSKI, CARISSA
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ZUKOWSKI, TORI                       ZUKOWSKI, TRAVIS                      ZUKOWSKY, WILLIAM
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
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ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZULETA, TITO                         ZULETA-ACOSTA, SARA                   ZULICK, CLARISSA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZULKOSKI, PAUL                       ZULKOSKY, CHRISTINE                   ZULLO, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZULLO, JENNA                         ZULLO, LEIGH BLICKLEY                 ZULLO, MEGAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZULLO, RACHAEL                       ZULU, GERTRUDE                        ZUMBAHLEN, ANNA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUMBRUNNEN, MIKE                     ZUMPANO, LAUREN                       ZUMSEE LIMITED
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS UNAVAILABLE AT TIME OF FILING




ZUNA, JENNIFER                       ZUNIC, JENNIFER                       ZUNIGA, CHRISTINA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUNIGA, CRYSTAL                      ZUNIGA, DIANA                         ZUNIGA, DYLAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUNIGA, EMMA                         ZUNINO, GINO                          ZUNIS, COURTNEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUNNER, STEPHANIE                    ZUPA, JACQUELINE                      ZUPAN, PATRICIA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ZUPANC, MARY          Case 22-11238-LSS     Doc 2 Filed 11/30/22
                                     ZUPKO, DANA                      Page 5493
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                                                                                 TENEISHA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUPNIK, KAREN                        ZUPO, MARIE                           ZURASHVILI, ZURAB
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZURAT, TERRI                         ZURAW, PAUL                           ZURAWSKI, SHERRI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZURCHER, JESSICA                     ZUREICH, JACQUELYN                    ZUREK, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZURELL, SARAH                        ZURHELLEN, HANNAH                     ZURICH NORTH AMERICA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        PO BOX 4666
                                                                           CAROL STREAM, IL 60197-4666




ZURIEL TEQUIANES ARMIJO              ZURMUEHLEN, JILLIAN                   ZURMUHLEN, MELANIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZURN, ERIN                           ZURN, JORDAN                          ZURN, SKYLER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUROVCHAK, LINDSEY                   ZUSMAN, AMY                           ZUSTOVICH, ASHLEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUSY, CAITLIN                        ZUTAVERN, RORY                        ZUTLER, ANDREA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZUVICH, CARLEEN                      ZUWIALA, MARIA                        ZUZA ALVARADO
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ZVACEK, KYLE          Case 22-11238-LSS    Doc
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                                                                           ZWAAGSTRA, KASSIDY
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ZWAAN, AMY                           ZWACH, MAXWELL                        ZWAGERMAN, LISA
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZWAHL, ALEX                          ZWAHR, JULIA L                        ZWECKER, LINDSEY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZWEIBACK, MEGAN                      ZWEIBON, MICHELLE                     ZWEIG, KATY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZWEMKE, INGRID                       ZWETTLER, KRISTINA                    ZWICK, JOSEPH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZWICK, LINDY                         ZWICKLER, CINDEE                      ZWIEG, GABI
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZWIER, DARCY                         ZWIER, DEAN                           ZWIERZCHOWSKI, EMILY
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZWILLIM, JACQUELINE                  ZWIRN, COURTNEY                       ZWOLINSKI, SARAH
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZYBOWSKI, DAVID                      ZYCH, CASSANDRA                       ZYCH, SUSAN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZYDOWICZ, LIANNE                     ZYDYK, MARGOT                         ZYGLIS, MAUREEN
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST
ZYGMUNT, PAMELA       Case 22-11238-LSS    Doc
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ZYLBERMAN, RACHAEL                   ZYRA, TIFFANY                         ZYSERMANN, NOEMIE
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST        ADDRESS AVAILABLE UPON REQUEST




ZYSKOWSKI, TINA                      ZYTKO, JENNIFER
ADDRESS AVAILABLE UPON REQUEST       ADDRESS AVAILABLE UPON REQUEST




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